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                    EXHIBIT 1
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Unique CMI Telephone Calls
 Line Number Telephone Number    Telephone Call Date     Telephone Call Time
1             2012066060        3/25/2011              9:14:57
2             2012069332        1/13/2014              7:06:59
3             2012070562        7/30/2012              13:32:22
4             2012083200        5/18/2012              11:58:58
5             2012083406        7/7/2012               10:01:09
6             2012088614        4/6/2012               15:38:48
7             2012185820        4/3/2012               16:05:09
8             2012201916        12/9/2011              7:52:41
9             2012202381        11/16/2011             11:16:17
10            2012324102        9/13/2011              17:40:15
11            2012333048        9/19/2011              19:38:18
12            2012341991        4/1/2012               16:37:10
13            2012342720        12/26/2011             9:18:40
14            2012381350        11/27/2011             15:26:41
15            2012381350        12/14/2011             17:56:26
16            2012385197        12/27/2011             13:31:27
17            2012388635        3/26/2011              10:44:56
18            2012431067        8/17/2012              7:13:49
19            2012438188        10/5/2012              18:27:59
20            2012452626        5/21/2012              17:31:15
21            2012454123        5/15/2012              18:57:56
22            2012479382        5/14/2012              15:31:00
23            2012537999        12/23/2011             15:43:40
24            2012591185        9/26/2011              8:48:16
25            2012592454        9/10/2011              8:42:29
26            2012800338        11/12/2011             9:18:53
27            2012815425        6/21/2012              10:08:57
28            2012832076        2/1/2012               8:08:14
29            2012834512        7/15/2011              7:54:29
30            2012840096        4/4/2012               19:01:34
31            2012848407        8/29/2011              13:10:55
32            2012849434        5/12/2012              8:42:32
33            2012849434        5/21/2012              7:07:11
34            2012866686        8/25/2011              16:28:42
35            2012901587        11/11/2011             13:30:23
36            2012904587        3/31/2012              8:02:56
37            2012904677        10/1/2011              10:26:45
38            2013032257        1/23/2012              19:12:36
39            2013041798        7/3/2012               19:30:09
40            2013045132        3/10/2012              8:26:49
41            2013068721        11/17/2011             15:13:01
42            2013140474        4/12/2012              18:05:44
43            2013171873        4/25/2011              11:37:36
44            2013203394        12/27/2011             14:31:13
45            2013203394        5/21/2012              7:23:32
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46            2013209350       10/20/2012      8:02:25
47            2013210603       10/1/2011       10:35:34
48            2013210603       10/4/2011       13:07:21
49            2013210735       11/29/2011      15:22:20
50            2013214316       10/7/2011       7:26:53
51            2013215078       9/13/2011       17:36:21
52            2013216055       10/25/2011      15:10:20
53            2013411801       9/12/2011       14:03:50
54            2013415278       11/17/2011      16:44:34
55            2013415794       10/25/2011      16:07:45
56            2013418091       6/2/2011        11:15:31
57            2013443683       9/17/2012       7:34:35
58            2013443683       9/24/2012       18:59:27
59            2013444450       10/8/2011       11:16:04
60            2013444677       1/27/2012       7:26:51
61            2013447561       9/20/2011       16:40:49
62            2013447561       10/6/2011       16:25:09
63            2013448893       3/7/2012        18:36:18
64            2013449084       12/23/2011      14:31:24
65            2013491422       10/15/2011      9:10:52
66            2013556880       3/18/2011       9:06:37
67            2013592121       11/18/2011      12:14:27
68            2013601685       11/9/2011       7:26:58
69            2013626818       10/5/2011       14:02:01
70            2013678110       6/6/2012        7:20:45
71            2013678110       6/8/2012        7:28:52
72            2013701304       10/11/2012      7:52:31
73            2013701304       10/19/2012      19:02:36
74            2013703520       3/12/2012       19:05:23
75            2013703520       3/19/2012       19:13:24
76            2013762345       9/22/2012       9:05:33
77            2013778631       5/7/2012        7:08:40
78            2013883970       5/6/2011        15:42:55
79            2013887368       6/14/2012       7:08:02
80            2013905524       10/22/2011      12:55:46
81            2013906377       8/13/2011       11:33:13
82            2013948650       5/23/2012       16:46:28
83            2013967274       12/20/2011      11:55:30
84            2013983758       8/20/2012       18:41:50
85            2014000503       2/17/2012       18:20:50
86            2014003486       3/2/2012        18:39:54
87            2014013535       10/6/2011       16:08:51
88            2014014537       3/28/2012       18:11:07
89            2014033516       9/27/2012       16:24:17
90            2014038198       11/18/2011      13:29:31
91            2014061420       1/9/2012        18:28:28
92            2014062206       12/6/2011       7:32:14
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93         2014064913       10/7/2011       7:09:14
94         2014066175       9/14/2012       7:09:01
95         2014066624       11/11/2013      10:10:18
96         2014067971       12/17/2011      11:26:27
97         2014070456       6/20/2012       16:56:06
98         2014071741       9/23/2011       18:38:17
99         2014074757       11/4/2011       7:12:14
100        2014100321       5/31/2012       14:59:48
101        2014106513       12/29/2011      18:47:50
102        2014173049       9/21/2011       11:22:48
103        2014231915       8/23/2012       11:58:02
104        2014241286       2/13/2012       7:10:49
105        2014284084       1/4/2012        11:03:07
106        2014469137       10/14/2011      13:18:03
107        2014505393       2/3/2012        7:10:30
108        2014567878       8/31/2012       16:36:13
109        2014583356       2/14/2012       13:20:55
110        2014630416       7/28/2012       8:54:09
111        2014631338       10/1/2011       10:30:03
112        2014633586       4/18/2012       7:11:26
113        2014638617       3/1/2012        11:46:50
114        2014671117       8/16/2012       7:45:40
115        2014671802       12/21/2011      10:45:44
116        2014695976       4/15/2012       16:29:52
117        2014695976       5/21/2012       7:06:12
118        2014695976       5/21/2012       7:31:22
119        2014780769       10/25/2012      12:12:08
120        2014815325       2/17/2012       18:10:32
121        2014815817       9/28/2011       10:51:00
122        2014914038       10/16/2012      7:27:50
123        2014916461       10/13/2011      7:30:32
124        2014927084       4/21/2012       8:07:12
125        2014960701       6/12/2012       7:18:53
126        2014960728       3/10/2011       16:04:20
127        2015150730       9/29/2013       12:05:20
128        2015195092       7/7/2012        10:18:46
129        2015275118       7/18/2012       18:27:29
130        2015325295       10/2/2012       7:35:11
131        2015388895       12/27/2011      14:13:36
132        2015396650       9/17/2011       10:11:42
133        2015608773       10/2/2012       12:50:01
134        2015726660       4/24/2012       11:54:20
135        2015752730       1/18/2012       10:05:28
136        2015757878       8/25/2012       8:30:31
137        2015776492       3/7/2012        18:36:42
138        2015880005       3/14/2012       7:02:21
139        2015971083       11/15/2011      16:17:00
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140        2015981079       6/21/2012       18:17:30
141        2015981503       5/15/2012       19:09:04
142        2015981503       5/21/2012       7:34:01
143        2015983449       5/2/2012        13:36:33
144        2015983817       12/21/2011      10:05:15
145        2015983899       4/3/2012        10:11:31
146        2016005789       6/21/2012       18:43:18
147        2016022220       9/26/2011       8:45:18
148        2016023989       9/21/2011       19:29:16
149        2016157286       10/15/2011      9:15:22
150        2016162828       6/12/2012       7:14:48
151        2016166849       1/12/2012       14:24:33
152        2016181989       10/21/2011      12:21:31
153        2016379599       10/4/2011       13:43:02
154        2016402073       11/29/2011      16:22:21
155        2016403620       3/23/2012       19:47:49
156        2016403789       7/28/2012       9:03:40
157        2016404090       4/9/2012        17:57:50
158        2016404184       4/23/2011       10:15:51
159        2016406312       12/6/2011       7:19:15
160        2016406973       3/21/2012       13:39:31
161        2016407004       3/17/2012       8:19:21
162        2016408961       2/21/2012       17:38:34
163        2016472704       9/27/2011       18:33:42
164        2016545368       2/14/2012       13:02:28
165        2016580033       4/5/2012        16:01:25
166        2016584475       5/25/2012       8:12:19
167        2016586444       10/15/2012      16:09:30
168        2016605005       8/31/2011       11:17:19
169        2016670280       7/9/2012        18:57:19
170        2016673531       5/23/2012       16:23:29
171        2016678650       1/23/2012       19:08:32
172        2016680911       8/15/2011       9:24:42
173        2016687199       12/7/2011       13:23:21
174        2016696520       7/3/2012        13:04:37
175        2016733369       5/3/2012        7:02:34
176        2016751661       3/14/2012       7:10:03
177        2016792421       6/19/2012       15:47:35
178        2016793146       9/4/2012        15:43:43
179        2016797853       10/19/2012      19:02:31
180        2016799932       3/26/2012       18:25:21
181        2016811299       8/16/2012       19:52:01
182        2016811863       10/20/2011      15:15:45
183        2016818603       12/20/2011      17:16:29
184        2016818603       5/22/2012       18:25:57
185        2016820235       10/24/2011      7:16:17
186        2016820397       8/8/2011        15:05:18
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187        2016820771       9/13/2011       17:34:42
188        2016825041       3/7/2012        18:47:39
189        2016828486       11/29/2011      16:08:31
190        2016868820       12/20/2011      19:35:13
191        2016873801       10/10/2012      12:46:08
192        2016970481       6/14/2012       16:02:31
193        2016970567       12/9/2011       7:47:45
194        2016977190       2/14/2012       9:59:23
195        2016998345       9/26/2012       7:08:58
196        2016999200       11/22/2011      19:02:48
197        2016999300       12/26/2011      9:02:48
198        2017027448       12/17/2011      11:54:46
199        2017048296       12/7/2011       13:21:12
200        2017058630       9/22/2011       15:45:27
201        2017061728       1/18/2012       16:48:47
202        2017084025       6/12/2012       7:12:31
203        2017231783       6/19/2012       15:41:06
204        2017241015       9/21/2012       15:27:36
205        2017247704       11/21/2011      7:13:03
206        2017248385       9/8/2011        19:25:01
207        2017249775       5/19/2012       15:52:26
208        2017250637       7/10/2012       7:31:20
209        2017262263       3/25/2011       8:09:03
210        2017364703       5/24/2012       7:15:13
211        2017369140       10/11/2011      16:03:46
212        2017370007       7/16/2012       19:45:25
213        2017370517       11/23/2011      14:50:03
214        2017371202       9/21/2012       15:27:20
215        2017371455       8/7/2012        17:48:51
216        2017371455       10/20/2012      8:11:27
217        2017371966       10/5/2012       12:36:05
218        2017374334       10/3/2011       7:51:04
219        2017374334       10/11/2011      17:13:11
220        2017377320       10/25/2012      19:44:11
221        2017379204       1/11/2012       7:48:20
222        2017411486       2/28/2012       15:50:26
223        2017411486       4/3/2012        18:10:36
224        2017414016       9/19/2011       19:11:13
225        2017423000       11/5/2011       11:03:17
226        2017447042       10/23/2012      10:44:24
227        2017555002       6/16/2012       15:12:41
228        2017593122       7/27/2012       12:39:23
229        2017619916       9/24/2012       18:45:24
230        2017722439       11/2/2011       7:22:51
231        2017790005       1/27/2012       17:56:18
232        2017799046       9/20/2011       16:50:39
233        2017804923       4/21/2012       8:35:15
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234        2017902126       9/29/2012       9:48:29
235        2017904107       6/21/2012       18:48:41
236        2018051511       4/6/2012        15:53:46
237        2018197161       2/11/2012       10:41:26
238        2018350112       9/23/2011       11:18:27
239        2018350310       9/19/2011       7:11:40
240        2018353659       11/27/2011      15:30:58
241        2018387888       9/6/2012        12:22:23
242        2018388915       10/17/2011      7:58:52
243        2018442130       8/20/2011       9:52:29
244        2018443019       7/21/2012       10:18:43
245        2018444668       9/21/2012       15:27:21
246        2018500516       1/24/2014       19:00:32
247        2018502057       10/8/2011       11:09:50
248        2018523243       10/12/2011      7:47:42
249        2018524177       9/27/2011       18:37:10
250        2018526494       9/8/2011        18:32:23
251        2018730485       1/12/2012       14:04:20
252        2018730664       5/14/2012       15:28:44
253        2018733347       1/10/2012       18:11:23
254        2018737612       10/23/2012      15:59:05
255        2018781019       12/30/2011      7:11:38
256        2018922963       12/20/2011      7:11:04
257        2018925018       9/8/2011        19:45:30
258        2018927359       2/9/2012        7:11:46
259        2018928023       9/22/2011       15:43:51
260        2018931822       9/28/2012       14:25:16
261        2018936701       12/9/2011       15:15:44
262        2018984666       10/8/2011       10:55:16
263        2019064443       7/13/2012       11:16:09
264        2019142480       11/18/2011      12:45:24
265        2019143754       9/10/2011       9:01:40
266        2019166402       3/30/2012       16:13:07
267        2019180883       5/18/2012       15:43:22
268        2019187243       10/19/2012      19:02:32
269        2019200208       12/3/2011       9:50:31
270        2019203589       11/17/2011      16:45:23
271        2019203627       3/7/2012        18:31:47
272        2019203865       12/23/2011      14:43:56
273        2019205832       9/11/2012       7:46:55
274        2019205871       1/6/2012        14:48:43
275        2019207939       9/21/2011       19:32:20
276        2019208201       7/20/2012       14:53:56
277        2019208866       3/16/2012       15:50:38
278        2019209673       10/10/2011      11:41:18
279        2019212707       11/28/2011      16:54:19
280        2019217558       6/13/2012       7:06:07
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281        2019219821       4/25/2011       10:06:44
282        2019233832       6/1/2012        8:55:27
283        2019238875       12/8/2011       19:44:50
284        2019263417       4/28/2012       8:08:09
285        2019267250       3/7/2012        18:27:20
286        2019267286       9/1/2012        8:49:07
287        2019274509       5/25/2011       17:18:43
288        2019274509       9/21/2011       19:29:17
289        2019360071       6/25/2012       13:36:00
290        2019361499       7/15/2011       7:06:29
291        2019363679       12/20/2011      19:22:41
292        2019366530       5/15/2012       19:04:52
293        2019368163       12/10/2011      14:24:58
294        2019379329       9/27/2012       16:25:48
295        2019515486       7/9/2012        7:17:18
296        2019517296       3/14/2012       19:24:31
297        2019519133       1/10/2012       18:08:58
298        2019530021       8/10/2011       18:30:10
299        2019544531       9/30/2011       10:11:54
300        2019560793       10/31/2011      8:50:00
301        2019608536       10/10/2012      19:11:47
302        2019626162       7/26/2011       7:09:36
303        2019687346       3/8/2012        7:08:56
304        2019781202       3/24/2012       10:24:44
305        2019782206       11/22/2011      19:31:17
306        2019826336       2/20/2012       17:02:08
307        2019829915       3/31/2012       8:03:59
308        2019880777       9/19/2011       19:08:18
309        2019930520       6/5/2012        7:06:05
310        2019931714       1/16/2012       7:10:03
311        2019934995       1/3/2012        16:36:16
312        2019947086       9/13/2011       7:04:51
313        2019947975       8/12/2013       19:33:08
314        2022005415       10/26/2013      15:05:17
315        2022009678       12/9/2011       15:36:51
316        2022076892       4/21/2012       17:01:05
317        2022077251       12/10/2011      13:04:30
318        2022101398       7/6/2012        14:57:59
319        2022103680       8/2/2011        18:10:09
320        2022135836       10/15/2011      10:18:16
321        2022157732       3/17/2012       8:37:13
322        2022368872       10/10/2011      12:17:00
323        2022368872       10/17/2011      7:09:51
324        2022460093       4/16/2012       7:05:40
325        2022460625       3/3/2012        8:45:42
326        2022464568       9/30/2011       10:15:44
327        2022465782       10/10/2012      19:06:47
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328        2022466240       9/19/2011       19:05:43
329        2022468374       6/20/2012       17:04:41
330        2022500353       9/26/2011       8:37:08
331        2022512605       3/30/2012       16:13:09
332        2022512605       4/11/2012       13:18:56
333        2022517504       6/19/2012       7:58:36
334        2022532805       5/14/2012       15:15:24
335        2022537319       9/12/2012       7:40:53
336        2022554272       5/20/2011       17:37:30
337        2022556753       12/6/2011       14:23:13
338        2022564602       3/28/2012       14:33:25
339        2022565388       9/21/2013       16:17:29
340        2022566667       11/5/2011       9:43:35
341        2022571667       9/21/2011       19:32:27
342        2022578563       10/10/2011      11:48:36
343        2022588241       3/6/2012        15:45:52
344        2022589301       3/23/2012       19:58:21
345        2022628978       11/9/2011       7:25:37
346        2022700136       6/28/2012       7:10:19
347        2022702175       10/10/2011      12:16:15
348        2022704229       10/5/2011       14:31:48
349        2022705140       3/22/2012       7:47:58
350        2022705620       10/21/2011      12:23:46
351        2022708810       5/24/2012       7:06:56
352        2022709871       2/6/2012        7:15:34
353        2022710502       11/30/2011      15:18:54
354        2022713831       8/28/2012       7:24:12
355        2022717041       3/23/2012       19:49:57
356        2022760495       1/19/2012       7:43:00
357        2022766240       9/12/2012       7:39:34
358        2022777990       3/2/2012        18:56:58
359        2022809032       11/30/2011      7:16:07
360        2022814952       10/1/2011       10:28:42
361        2022857220       10/11/2012      7:54:17
362        2022860551       1/8/2012        12:44:54
363        2022864772       5/26/2012       14:19:30
364        2022864864       4/12/2012       12:24:36
365        2022867240       12/1/2011       8:12:51
366        2022867244       11/1/2011       8:23:32
367        2022867866       10/4/2011       13:06:52
368        2022905934       7/19/2012       17:43:42
369        2022905934       7/28/2012       8:35:54
370        2022941962       9/21/2011       19:33:00
371        2022941962       1/29/2012       16:26:30
372        2022946253       1/18/2012       16:36:30
373        2022946958       8/6/2012        16:21:31
374        2022947629       9/15/2011       7:48:45
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375       2022947693       3/14/2012        19:44:23
376       2022957774       3/8/2012         7:19:47
377       2022957774       5/21/2012        8:45:17
378       2023020735       10/13/2011       7:17:20
379       2023060689       3/6/2012         15:46:40
380       2023091996       9/8/2011         19:40:21
381       2023099499       9/30/2011        10:22:36
382       2023158606       11/21/2011       7:39:11
383       2023159312       3/18/2011        9:16:59
384       2023163707       8/10/2013        16:38:09
385       2023207632       11/29/2011       16:17:22
386       2023209458       7/19/2012        17:36:44
387       2023217147       8/14/2012        11:46:37
388       2023306999       8/6/2011         8:23:47
389       2023400142       2/13/2012        7:24:23
390       2023400833       3/14/2011        16:59:17
391       2023401889       8/23/2012        19:06:52
392       2023412535       10/1/2011        9:23:34
393       2023412683       7/20/2012        14:54:13
394       2023414106       9/14/2011        9:26:44
395       2023414106       5/3/2012         7:17:33
396       2023447100       11/27/2011       15:24:22
397       2023454681       3/20/2012        9:14:02
398       2023455570       10/8/2011        9:36:36
399       2023513664       7/21/2011        7:26:37
400       2023523598       1/4/2012         11:01:06
401       2023523842       11/17/2011       16:39:41
402       2023524186       8/25/2012        11:02:11
403       2023555112       3/11/2011        16:23:05
404       2023593022       3/7/2012         7:11:34
405       2023595175       4/5/2012         15:59:47
406       2023611315       11/26/2011       12:38:00
407       2023653446       5/22/2012        16:18:31
408       2023657851       1/16/2012        17:20:41
409       2023670441       9/12/2011        13:50:53
410       2023675272       2/1/2012         8:06:31
411       2023682888       8/20/2012        7:55:20
412       2023787283       10/18/2011       7:18:05
413       2023787283       3/12/2012        7:16:31
414       2023787996       1/20/2012        11:24:26
415       2023788563       4/12/2012        17:54:54
416       2023842667       2/6/2012         7:12:42
417       2023849424       2/9/2012         7:12:17
418       2023860065       6/30/2012        15:40:23
419       2023860065       7/23/2012        13:14:35
420       2023863311       3/2/2012         9:32:47
421       2023868728       6/18/2011        15:19:59
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422       2023903088       8/11/2012        9:38:32
423       2023917311       7/9/2012         7:15:50
424       2024034340       3/16/2012        15:49:49
425       2024037426       10/12/2011       11:36:29
426       2024093414       10/3/2011        7:12:55
427       2024121377       12/10/2011       14:34:36
428       2024139405       9/8/2011         19:46:02
429       2024152581       10/16/2012       7:28:52
430       2024156968       9/13/2011        18:37:40
431       2024158935       9/28/2012        16:56:21
432       2024213051       7/19/2012        17:31:10
433       2024224946       4/22/2012        15:04:19
434       2024224946       4/23/2012        7:10:15
435       2024227037       10/15/2012       16:17:24
436       2024231065       5/27/2011        8:52:09
437       2024238041       3/14/2012        19:29:26
438       2024239677       10/9/2012        7:41:26
439       2024251664       7/3/2012         19:30:11
440       2024254018       8/3/2012         16:20:59
441       2024259243       9/24/2012        14:36:19
442       2024312446       2/2/2012         7:15:30
443       2024361580       1/20/2012        11:27:53
444       2024361580       1/29/2012        16:54:30
445       2024370500       2/25/2012        10:27:02
446       2024381773       2/13/2014        7:14:31
447       2024384164       12/16/2011       15:55:52
448       2024385499       7/7/2012         9:58:52
449       2024412263       10/25/2011       15:14:24
450       2024450241       11/8/2011        14:16:52
451       2024450241       5/21/2012        7:02:11
452       2024467471       7/30/2012        18:37:28
453       2024492207       3/27/2012        14:52:50
454       2024508282       8/22/2012        11:10:11
455       2024553442       3/5/2012         7:49:41
456       2024591773       12/28/2011       7:02:20
457       2024603151       9/13/2012        7:37:07
458       2024605432       8/16/2012        7:48:14
459       2024680270       7/2/2012         15:24:56
460       2024681596       10/28/2011       14:13:57
461       2024681596       5/8/2012         9:31:46
462       2024688011       1/18/2012        10:32:42
463       2024699279       5/1/2012         17:53:42
464       2024760880       10/17/2011       7:36:38
465       2024760880       10/24/2011       7:04:03
466       2024804170       3/13/2012        16:36:25
467       2024860513       4/12/2012        12:29:45
468       2024863247       5/23/2012        15:28:30
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469       2024866854       6/23/2012        8:28:51
470       2024868657       9/21/2011        19:31:59
471       2024869544       6/26/2012        7:58:28
472       2024876076       7/7/2012         10:21:54
473       2024879243       8/21/2012        13:47:14
474       2024891849       3/19/2012        7:12:27
475       2024915831       10/11/2011       17:08:14
476       2024917821       3/27/2012        15:32:49
477       2024920726       9/21/2012        15:59:37
478       2024922736       6/23/2012        15:56:39
479       2024924693       9/13/2012        7:34:14
480       2024925849       9/21/2011        19:43:06
481       2024928641       8/15/2012        7:52:25
482       2024941192       4/25/2012        9:25:59
483       2024975607       8/9/2011         13:35:55
484       2024981536       7/13/2012        18:52:36
485       2024983801       7/13/2012        18:33:43
486       2024985986       10/17/2011       7:42:41
487       2024988722       4/12/2012        12:24:42
488       2024988722       5/21/2012        7:31:13
489       2025030329       10/29/2011       11:28:37
490       2025036848       1/14/2012        11:47:56
491       2025094357       10/10/2012       12:32:27
492       2025200701       9/8/2012         11:19:05
493       2025278889       10/24/2012       14:46:24
494       2025282746       11/20/2011       11:05:25
495       2025284244       3/25/2012        11:41:54
496       2025312108       6/30/2012        8:13:53
497       2025314332       5/24/2012        7:05:02
498       2025381001       5/11/2012        18:08:48
499       2025383007       10/8/2012        7:09:16
500       2025383022       11/19/2011       8:41:10
501       2025492802       1/6/2012         14:46:11
502       2025492887       5/23/2012        16:34:29
503       2025500669       5/26/2012        14:21:37
504       2025534008       12/10/2011       12:39:05
505       2025534079       1/20/2012        11:43:16
506       2025536056       2/6/2012         17:07:03
507       2025536986       12/26/2011       9:22:07
508       2025538717       9/14/2011        11:43:09
509       2025569014       8/15/2012        7:49:58
510       2025603460       7/20/2012        15:03:50
511       2025609188       2/6/2012         16:58:52
512       2025609956       5/1/2012         8:06:03
513       2025609956       5/21/2012        7:06:40
514       2025691504       12/31/2011       12:00:14
515       2025798443       6/19/2012        15:43:44
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516       2025803285       7/7/2012         10:20:54
517       2025804448       3/16/2012        15:48:48
518       2025804565       4/17/2012        9:34:40
519       2025804565       5/21/2012        7:31:36
520       2025804565       6/7/2012         7:06:07
521       2025904038       5/3/2012         7:23:48
522       2025904318       4/9/2012         18:09:17
523       2026092685       10/6/2012        8:28:49
524       2026154786       8/20/2011        9:42:16
525       2026296291       9/18/2012        14:17:23
526       2026317509       10/8/2011        9:29:19
527       2026400060       10/11/2011       15:43:21
528       2026400060       5/2/2012         13:32:08
529       2026403878       9/14/2012        7:05:17
530       2026412576       12/7/2011        15:12:48
531       2026414944       10/11/2011       16:10:07
532       2026504599       9/21/2012        15:27:25
533       2026508343       7/26/2012        11:52:17
534       2026510028       1/6/2012         7:02:56
535       2026527553       10/22/2011       12:52:58
536       2026646937       10/7/2011        7:08:13
537       2026744587       10/22/2012       17:53:40
538       2026745300       2/19/2012        19:16:06
539       2026746771       12/14/2011       13:01:38
540       2026770235       11/28/2011       11:48:43
541       2026808371       11/9/2011        7:30:17
542       2026808676       6/27/2012        12:11:15
543       2026835239       8/3/2012         12:44:34
544       2026840009       1/21/2012        8:23:00
545       2026840099       12/29/2011       9:57:37
546       2027016000       10/17/2012       18:27:55
547       2027017256       11/28/2011       12:22:05
548       2027018208       4/11/2012        10:43:11
549       2027027191       4/11/2012        7:08:45
550       2027027466       9/27/2012        16:22:31
551       2027027963       3/25/2012        11:30:45
552       2027048266       6/26/2012        8:00:42
553       2027048680       10/23/2012       10:47:11
554       2027049229       12/9/2011        14:38:42
555       2027050264       12/29/2011       19:20:39
556       2027052644       4/12/2012        12:15:44
557       2027054091       1/6/2012         14:37:06
558       2027058138       5/12/2012        10:55:05
559       2027106392       12/14/2011       17:50:32
560       2027109996       10/12/2012       16:36:43
561       2027133760       1/7/2012         8:38:04
562       2027147601       9/24/2011        9:12:03
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563       2027171003       11/23/2011       9:58:10
564       2027173805       9/22/2012        8:52:21
565       2027189972       10/5/2011        14:28:39
566       2027189972       10/8/2011        9:13:50
567       2027260084       12/21/2011       19:00:23
568       2027305261       9/18/2012        14:25:54
569       2027311429       11/15/2011       16:15:06
570       2027386059       8/3/2013         11:40:55
571       2027586009       10/3/2012        7:05:31
572       2029046702       10/10/2011       11:35:05
573       2029048961       3/10/2011        15:27:56
574       2029051910       8/27/2011        9:52:52
575       2029055076       9/22/2012        9:35:12
576       2029056296       10/10/2011       12:11:46
577       2029057638       8/6/2012         14:28:30
578       2029069324       12/7/2011        13:36:45
579       2029073950       9/10/2011        8:52:01
580       2029573229       10/15/2011       8:48:42
581       2029579377       9/27/2012        7:33:03
582       2029972635       11/10/2011       7:25:12
583       2029973110       2/20/2012        17:07:52
584       2032132361       4/7/2012         9:39:35
585       2032134501       10/17/2011       8:25:12
586       2032177457       9/20/2011        17:45:23
587       2032179081       4/15/2012        16:49:31
588       2032280280       4/20/2012        14:41:55
589       2032286387       8/8/2012         16:09:55
590       2032335998       10/12/2011       7:35:17
591       2032400934       7/29/2011        7:06:32
592       2032412486       10/19/2011       8:19:47
593       2032413169       12/12/2011       12:17:27
594       2032432732       11/16/2011       9:19:16
595       2032436225       10/18/2011       7:18:49
596       2032436697       6/27/2012        17:49:20
597       2032439739       2/13/2012        7:13:32
598       2032473978       4/10/2012        11:38:22
599       2032476286       8/30/2012        7:03:52
600       2032490319       4/6/2012         15:48:03
601       2032538856       5/21/2012        7:34:06
602       2032584660       11/17/2011       16:42:13
603       2032585415       10/17/2011       7:13:29
604       2032608404       1/7/2012         9:17:02
605       2032608404       5/21/2012        7:23:42
606       2032780902       7/17/2012        12:26:00
607       2032787856       9/24/2012        12:47:05
608       2032960216       9/14/2011        7:09:04
609       2032977485       1/14/2012        8:16:22
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610       2033001762       9/20/2012        7:07:44
611       2033098272       4/4/2012         7:02:24
612       2033134252       10/15/2011       10:21:41
613       2033601882       12/18/2011       16:17:10
614       2033601948       6/28/2012        7:07:25
615       2033605899       10/22/2012       17:56:42
616       2033824093       1/12/2012        14:02:45
617       2033824411       12/2/2011        7:34:49
618       2033830846       3/19/2012        7:22:44
619       2033938344       4/12/2012        12:25:07
620       2033947399       8/20/2012        18:51:57
621       2034019135       12/8/2011        9:56:03
622       2034079484       10/17/2012       18:34:57
623       2034143057       3/9/2012         7:05:59
624       2034155001       6/20/2012        7:51:08
625       2034197492       11/19/2011       8:33:19
626       2034249485       8/13/2012        7:31:02
627       2034277784       10/5/2012        18:23:15
628       2034347642       1/25/2012        9:30:40
629       2034487750       3/7/2012         18:27:46
630       2034492431       12/6/2011        14:05:21
631       2034496349       10/8/2011        9:16:22
632       2034496821       9/12/2012        7:48:09
633       2034500245       4/2/2012         16:48:29
634       2034556922       10/23/2012       10:48:09
635       2034641049       11/18/2011       12:52:31
636       2034659588       7/6/2012         16:49:55
637       2034702548       10/18/2011       12:49:22
638       2034792526       3/28/2012        7:18:26
639       2034822436       10/20/2011       16:10:13
640       2034942967       9/7/2012         15:53:22
641       2034944253       5/24/2012        11:53:17
642       2035009605       1/10/2012        18:06:06
643       2035016495       8/25/2012        8:08:25
644       2035023279       11/3/2011        17:33:56
645       2035029038       2/24/2012        17:09:50
646       2035029850       4/17/2012        9:39:55
647       2035054702       10/6/2011        16:30:43
648       2035066561       3/29/2012        17:17:40
649       2035069355       10/6/2011        17:32:38
650       2035070899       9/8/2011         17:59:14
651       2035070899       9/21/2011        11:46:26
652       2035075444       7/21/2012        10:42:25
653       2035083499       9/13/2011        15:01:51
654       2035083633       3/28/2012        14:33:26
655       2035150499       9/23/2011        8:32:12
656       2035156963       3/22/2012        14:09:04
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657       2035157961       1/19/2012        18:38:29
658       2035178829       9/14/2012        7:05:20
659       2035191023       6/23/2012        16:11:37
660       2035218914       10/11/2011       15:48:01
661       2035227029       3/7/2012         18:26:59
662       2035243256       5/1/2012         17:57:10
663       2035253974       10/3/2011        7:25:28
664       2035259135       8/7/2012         17:32:54
665       2035262764       1/9/2012         18:34:02
666       2035265319       5/15/2012        7:49:46
667       2035266595       1/23/2012        19:06:53
668       2035267548       6/16/2012        15:06:22
669       2035349673       11/19/2011       8:06:59
670       2035359447       1/27/2012        17:56:40
671       2035363367       12/7/2011        18:10:02
672       2035378841       10/13/2011       7:22:51
673       2035401817       7/30/2011        8:28:20
674       2035402450       6/27/2012        17:51:30
675       2035409809       11/14/2011       14:20:56
676       2035437630       10/10/2011       12:21:11
677       2035437753       6/5/2012         13:59:31
678       2035438906       3/30/2012        7:01:50
679       2035438906       5/21/2012        7:30:07
680       2035439674       9/28/2012        16:39:37
681       2035458570       9/14/2012        7:03:35
682       2035503901       9/13/2012        7:34:02
683       2035504856       3/10/2012        8:46:15
684       2035505820       4/2/2012         17:37:58
685       2035510191       11/22/2011       18:29:28
686       2035510787       10/11/2011       16:58:34
687       2035510966       12/24/2011       7:07:35
688       2035510966       4/3/2012         18:11:44
689       2035511198       10/17/2012       18:29:26
690       2035542150       1/6/2012         7:15:30
691       2035567358       9/21/2012        15:27:13
692       2035582589       1/4/2012         10:57:50
693       2035582972       9/26/2011        8:47:50
694       2035582972       10/21/2011       12:35:11
695       2035587771       10/8/2011        11:25:31
696       2035595949       3/29/2012        12:05:12
697       2035595949       5/14/2012        15:29:23
698       2035600307       5/17/2012        7:05:35
699       2035601301       7/30/2012        13:33:55
700       2035606654       9/12/2012        7:42:35
701       2035607203       1/29/2012        16:34:07
702       2035611218       10/4/2011        13:08:39
703       2035615138       10/10/2011       11:45:59
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704       2035655621       9/8/2011         18:40:29
705       2035658615       9/10/2011        8:53:46
706       2035724171       6/20/2012        7:55:54
707       2035813200       5/26/2012        14:33:15
708       2035814748       9/26/2011        8:47:23
709       2035835614       10/11/2012       7:58:34
710       2035835654       6/9/2012         11:10:11
711       2035924020       10/8/2011        11:04:11
712       2035924086       12/16/2011       15:29:35
713       2035928152       2/2/2012         7:12:11
714       2035989955       9/16/2011        14:18:37
715       2036000313       5/1/2012         17:42:49
716       2036004123       8/20/2012        18:53:54
717       2036052142       12/20/2011       19:34:31
718       2036067127       12/3/2011        9:01:04
719       2036091343       1/10/2012        15:28:29
720       2036175924       4/22/2012        15:03:06
721       2036175924       10/10/2012       19:10:14
722       2036214346       2/14/2012        16:48:43
723       2036235205       3/20/2012        17:45:09
724       2036312799       12/27/2011       14:27:04
725       2036408195       8/10/2012        7:28:51
726       2036409677       5/17/2012        16:46:15
727       2036412791       11/16/2011       8:55:04
728       2036413640       6/20/2012        16:51:40
729       2036453833       3/13/2012        18:37:45
730       2036454215       2/21/2012        17:44:54
731       2036488280       12/20/2011       9:31:10
732       2036488915       6/20/2012        16:50:31
733       2036488924       10/18/2012       7:19:49
734       2036502602       2/11/2012        10:37:22
735       2036541347       3/10/2012        8:24:30
736       2036670405       11/23/2011       14:37:10
737       2036672071       8/2/2012         11:36:28
738       2036679371       8/26/2011        17:41:55
739       2036679460       9/10/2011        8:42:49
740       2036684101       4/16/2012        7:11:41
741       2036685406       12/1/2011        8:16:13
742       2036688289       1/19/2012        18:37:04
743       2036737450       3/7/2012         9:56:42
744       2036756218       8/1/2012         8:24:57
745       2036757989       11/19/2011       8:09:54
746       2036760838       9/19/2012        7:52:51
747       2036762259       2/28/2012        13:25:05
748       2036851085       4/4/2012         18:33:36
749       2036851551       6/3/2011         7:20:02
750       2036855574       7/30/2012        13:11:43
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751       2036857275       6/26/2012        16:13:42
752       2036859338       9/29/2011        9:05:18
753       2036873318       2/1/2012         18:29:52
754       2036879338       12/30/2011       7:07:47
755       2036879338       1/5/2012         11:56:34
756       2036951556       11/28/2011       16:34:35
757       2036951645       12/23/2011       13:42:03
758       2037065922       12/26/2011       9:01:46
759       2037150750       11/14/2011       14:05:35
760       2037215335       2/20/2012        17:03:53
761       2037215939       9/19/2011        19:24:34
762       2037276142       6/8/2012         16:58:55
763       2037276209       1/6/2012         14:37:00
764       2037336089       3/29/2012        17:17:53
765       2037470284       10/8/2011        10:35:27
766       2037474282       9/11/2012        7:45:48
767       2037475302       9/26/2012        14:35:33
768       2037479146       10/16/2012       20:32:21
769       2037479694       9/8/2011         19:42:15
770       2037526051       11/17/2011       16:41:29
771       2037640375       10/3/2012        19:46:25
772       2037676687       9/13/2011        13:46:36
773       2037680237       10/3/2012        7:13:13
774       2037680237       10/15/2012       16:06:01
775       2037688067       2/15/2012        12:18:42
776       2037708389       4/4/2012         18:41:29
777       2038020903       1/5/2012         12:09:28
778       2038020911       11/18/2011       13:29:04
779       2038036428       9/13/2011        7:07:36
780       2038046278       10/13/2011       7:14:56
781       2038046278       6/29/2012        17:47:13
782       2038071321       9/21/2012        18:51:51
783       2038080777       9/28/2012        16:42:12
784       2038090798       4/27/2012        7:12:35
785       2038090822       12/28/2011       8:52:07
786       2038142438       10/8/2011        9:22:13
787       2038145327       10/20/2011       16:06:46
788       2038146821       11/18/2011       12:19:11
789       2038154697       1/27/2012        17:56:59
790       2038360224       8/9/2012         14:06:13
791       2038415004       9/6/2011         12:06:18
792       2038416420       9/14/2011        16:19:12
793       2038434166       4/12/2012        12:26:27
794       2038501488       8/10/2012        7:35:41
795       2038503834       2/18/2012        8:52:14
796       2038504323       3/5/2012         13:11:54
797       2038585472       6/2/2012         12:56:58
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798       2038869082       6/11/2012        7:13:41
799       2038869586       9/8/2011         17:48:43
800       2038875723       10/1/2012        8:17:48
801       2038878291       9/9/2011         7:28:26
802       2038932022       10/19/2011       7:22:33
803       2038933389       5/4/2012         7:33:29
804       2038936055       2/18/2012        8:56:40
805       2039012344       10/19/2011       7:44:02
806       2039033612       3/20/2012        8:57:26
807       2039037668       2/13/2012        7:13:14
808       2039060793       8/18/2012        8:26:52
809       2039060793       9/1/2012         8:48:58
810       2039087537       10/4/2011        13:15:54
811       2039099122       1/12/2012        7:10:54
812       2039104302       10/14/2011       13:06:31
813       2039107434       7/12/2012        20:01:11
814       2039129187       9/9/2011         7:49:59
815       2039130411       10/25/2011       15:19:16
816       2039133672       11/30/2011       7:17:25
817       2039150086       3/15/2012        18:52:24
818       2039156463       12/20/2011       19:29:59
819       2039181072       2/2/2012         7:12:15
820       2039181702       3/22/2012        17:50:19
821       2039185267       4/16/2012        7:18:27
822       2039222393       4/28/2012        8:38:38
823       2039280007       11/18/2011       13:24:17
824       2039288601       1/23/2012        7:13:21
825       2039425899       2/6/2012         17:14:09
826       2039426748       4/6/2012         15:39:07
827       2039426748       6/4/2012         8:23:51
828       2039475015       1/18/2012        9:58:53
829       2039479114       10/20/2012       16:36:54
830       2039527238       4/11/2012        19:35:30
831       2039548802       1/11/2012        7:23:17
832       2039548802       5/21/2012        7:23:34
833       2039799132       2/7/2012         7:15:09
834       2039823917       1/23/2012        19:41:14
835       2039825974       7/26/2012        19:17:48
836       2039826647       10/14/2011       13:13:29
837       2039826647       11/4/2011        7:07:17
838       2039827768       7/30/2012        13:14:56
839       2039931667       3/3/2012         8:15:25
840       2039931667       6/9/2012         15:00:29
841       2039960005       10/13/2011       7:15:12
842       2039963985       10/25/2012       19:35:46
843       2039965111       1/19/2012        18:36:29
844       2039969947       6/11/2012        7:08:02
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845       2052003946       9/14/2012        8:08:15
846       2052013295       2/13/2012        18:28:05
847       2052018195       2/7/2012         8:10:41
848       2052101737       12/16/2011       16:18:25
849       2052106592       12/9/2011        15:35:52
850       2052128384       12/20/2011       12:02:55
851       2052131677       3/29/2012        12:25:58
852       2052134840       8/8/2011         15:29:09
853       2052151836       1/27/2012        18:00:18
854       2052151836       10/8/2012        8:09:37
855       2052152088       10/15/2011       10:40:58
856       2052157119       10/18/2012       8:04:06
857       2052158432       5/9/2012         8:50:15
858       2052158865       7/2/2012         15:05:26
859       2052158865       10/13/2012       9:13:33
860       2052159326       10/16/2012       16:44:02
861       2052170263       10/8/2012        20:02:32
862       2052173603       5/14/2012        15:29:20
863       2052173603       6/4/2012         8:11:54
864       2052175668       9/10/2011        9:10:43
865       2052185454       4/23/2012        20:40:24
866       2052186065       9/27/2011        18:47:15
867       2052187071       9/1/2012         9:01:16
868       2052220897       4/30/2012        15:06:26
869       2052222297       1/19/2012        18:30:37
870       2052236054       7/21/2011        13:36:01
871       2052238981       9/17/2011        9:45:03
872       2052289073       8/19/2011        12:00:48
873       2052289087       9/19/2011        8:19:41
874       2052289087       10/7/2011        8:10:47
875       2052289316       2/25/2012        11:01:14
876       2052289787       3/12/2012        19:25:41
877       2052291054       5/14/2012        15:22:29
878       2052293034       7/20/2011        13:47:44
879       2052293034       9/24/2011        9:19:39
880       2052294868       11/8/2011        14:37:13
881       2052295460       12/23/2011       15:03:24
882       2052296779       9/20/2011        20:30:52
883       2052297794       2/6/2012         17:02:20
884       2052298516       3/28/2012        17:18:15
885       2052305776       12/7/2011        15:15:13
886       2052308743       7/25/2012        20:45:54
887       2052331722       9/9/2011         18:12:19
888       2052332688       9/26/2011        9:32:45
889       2052370341       7/25/2012        11:59:01
890       2052374706       3/30/2012        16:17:00
891       2052380063       1/24/2012        10:14:03
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892       2052380520       11/23/2011       14:57:42
893       2052384595       12/9/2011        13:07:02
894       2052390565       9/8/2011         19:47:54
895       2052390708       2/20/2012        8:43:06
896       2052396689       7/3/2012         13:27:11
897       2052401281       4/23/2012        8:18:55
898       2052403765       11/5/2011        10:03:17
899       2052407359       10/8/2011        11:36:51
900       2052409870       5/9/2011         17:18:17
901       2052420102       11/7/2011        9:37:20
902       2052421638       6/5/2012         14:43:03
903       2052424827       12/7/2011        14:25:29
904       2052428594       7/10/2012        7:32:44
905       2052429808       3/28/2012        18:14:42
906       2052430347       10/23/2012       16:23:12
907       2052430618       12/17/2011       12:11:14
908       2052432360       12/8/2011        19:47:47
909       2052433677       4/27/2012        12:18:08
910       2052434942       3/25/2012        12:08:20
911       2052435923       11/14/2011       14:44:41
912       2052438965       11/14/2011       17:17:29
913       2052439294       11/11/2011       19:59:15
914       2052463404       6/16/2012        15:07:00
915       2052465539       10/20/2011       16:26:08
916       2052493077       11/17/2011       14:37:45
917       2052495870       11/29/2011       15:38:45
918       2052498224       11/4/2011        9:06:50
919       2052499733       5/2/2011         18:08:19
920       2052499741       12/18/2011       16:52:20
921       2052530043       2/17/2012        9:15:17
922       2052534115       11/17/2011       16:30:14
923       2052535491       10/23/2012       10:31:24
924       2052536143       7/29/2011        20:18:53
925       2052586223       10/26/2011       13:08:02
926       2052589083       10/6/2011        16:55:49
927       2052602008       12/28/2011       13:55:35
928       2052604810       9/23/2011        11:16:02
929       2052609563       3/9/2012         15:47:42
930       2052612080       10/14/2011       13:26:14
931       2052650259       4/26/2012        8:06:24
932       2052650259       5/4/2012         18:13:06
933       2052650259       5/29/2012        10:55:40
934       2052666022       12/6/2011        14:15:51
935       2052666331       2/2/2012         16:39:50
936       2052668019       10/12/2011       8:38:01
937       2052690366       9/30/2011        10:01:46
938       2052692491       4/15/2012        17:12:32
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939       2052693020       11/5/2011        11:34:09
940       2052696154       10/20/2012       8:19:24
941       2052697121       12/21/2011       19:55:00
942       2052697588       12/6/2011        13:24:58
943       2052699360       9/23/2011        19:03:26
944       2052701176       11/18/2011       12:57:49
945       2052703377       1/6/2012         14:32:53
946       2052708820       2/11/2012        15:44:26
947       2052721247       5/14/2012        15:38:40
948       2052722783       9/12/2012        14:57:03
949       2052722802       5/27/2012        14:01:59
950       2052747253       9/30/2011        10:03:12
951       2052751090       12/10/2011       12:22:36
952       2052755854       9/29/2011        15:23:38
953       2052755854       10/7/2011        8:10:46
954       2052758403       3/29/2012        11:33:37
955       2052761238       8/24/2012        11:02:42
956       2052761336       5/5/2012         8:33:41
957       2052762779       4/29/2012        17:36:32
958       2052764133       10/6/2012        8:37:07
959       2052764458       9/13/2011        13:34:30
960       2052800250       12/29/2011       10:50:47
961       2052808748       1/18/2012        16:43:27
962       2052815885       6/21/2012        18:52:47
963       2052818057       5/2/2012         13:45:07
964       2052819894       10/24/2012       14:44:25
965       2052833343       10/22/2011       12:35:05
966       2052833399       12/28/2011       20:44:28
967       2052837714       9/10/2011        9:11:36
968       2052871142       9/8/2011         19:31:06
969       2052873188       2/28/2012        13:18:23
970       2052881402       10/29/2011       10:53:57
971       2052940265       10/13/2012       9:14:07
972       2052941086       9/28/2011        10:27:44
973       2052941086       10/5/2011        14:39:30
974       2052992442       10/12/2011       12:12:24
975       2052994781       1/5/2012         12:02:59
976       2052999073       12/21/2011       18:54:02
977       2053003046       5/23/2012        15:18:35
978       2053004185       5/15/2012        19:10:39
979       2053005385       9/29/2011        15:20:37
980       2053005554       9/7/2011         14:30:42
981       2053005726       9/21/2011        11:31:35
982       2053028930       10/5/2011        14:39:32
983       2053055905       9/9/2011         18:12:17
984       2053056112       9/20/2011        16:51:11
985       2053056112       10/4/2011        13:22:26
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986       2053065522       7/23/2011        14:02:29
987       2053066026       3/2/2012         9:24:09
988       2053066026       5/21/2012        8:16:34
989       2053068257       8/10/2012        8:20:10
990       2053078308       9/15/2011        8:36:52
991       2053079220       10/6/2011        16:49:05
992       2053103805       5/23/2011        15:57:20
993       2053106644       9/21/2011        11:59:37
994       2053106644       10/12/2011       8:17:59
995       2053106742       11/17/2011       15:46:59
996       2053108808       4/11/2012        11:12:52
997       2053121321       9/10/2012        8:47:05
998       2053160105       6/18/2011        15:24:54
999       2053172992       10/4/2011        13:46:07
1000      2053174416       3/8/2012         20:39:17
1001      2053174469       2/9/2012         9:31:34
1002      2053176455       4/25/2012        9:47:59
1003      2053298211       12/30/2011       9:00:29
1004      2053310794       11/10/2011       8:07:13
1005      2053311268       12/20/2011       19:25:28
1006      2053318308       12/10/2011       14:26:35
1007      2053318456       7/13/2012        18:36:11
1008      2053325132       9/29/2011        15:45:54
1009      2053354183       10/19/2011       12:15:09
1010      2053355075       9/14/2011        16:42:53
1011      2053355624       2/24/2012        17:38:50
1012      2053357826       11/23/2011       9:40:19
1013      2053359095       5/1/2012         17:28:13
1014      2053375688       4/10/2012        15:50:21
1015      2053403334       4/16/2012        15:42:04
1016      2053442695       6/7/2011         18:06:33
1017      2053443184       11/7/2011        9:30:58
1018      2053443590       10/5/2011        14:17:41
1019      2053499222       10/13/2011       8:26:05
1020      2053535271       7/3/2012         19:36:35
1021      2053536911       10/29/2011       11:42:23
1022      2053538264       1/30/2012        8:02:28
1023      2053543321       10/20/2012       16:32:05
1024      2053564842       3/7/2012         18:31:37
1025      2053564961       6/1/2011         12:12:36
1026      2053565776       2/18/2012        8:46:51
1027      2053567789       2/16/2012        8:34:26
1028      2053590306       9/24/2011        9:41:48
1029      2053612012       11/15/2011       20:08:34
1030      2053612582       10/28/2011       13:40:52
1031      2053612582       11/14/2011       17:22:37
1032      2053627763       9/24/2011        9:25:43
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1033      2053630654       12/21/2011       11:35:13
1034      2053656050       10/31/2011       8:13:04
1035      2053656896       9/29/2011        15:30:49
1036      2053656896       1/10/2012        15:25:54
1037      2053658530       10/22/2012       18:00:54
1038      2053681226       5/21/2012        17:51:45
1039      2053691681       11/30/2013       16:47:49
1040      2053694900       1/16/2012        8:30:23
1041      2053694900       5/9/2012         9:00:20
1042      2053694900       6/25/2012        13:26:25
1043      2053701057       10/20/2011       16:20:46
1044      2053701331       10/29/2011       11:49:01
1045      2053703162       12/10/2011       14:45:12
1046      2053704955       10/3/2011        8:11:55
1047      2053707005       5/10/2012        15:03:44
1048      2053707092       11/22/2011       18:41:28
1049      2053707388       4/2/2012         8:58:46
1050      2053709891       6/5/2012         19:54:15
1051      2053727308       3/2/2012         9:14:09
1052      2053811245       12/14/2011       13:00:03
1053      2053811277       12/13/2011       18:42:29
1054      2053811607       10/5/2011        14:39:40
1055      2053819860       11/22/2011       19:38:02
1056      2053822573       8/20/2012        18:48:54
1057      2053822993       10/12/2012       16:55:04
1058      2053825537       8/8/2012         8:16:04
1059      2053836699       5/8/2012         17:37:33
1060      2053880915       7/19/2011        16:49:17
1061      2053881577       9/23/2011        11:17:17
1062      2053887626       10/20/2011       15:39:23
1063      2053889463       9/16/2011        13:04:26
1064      2053891333       2/9/2012         9:30:36
1065      2053891880       9/30/2011        10:04:18
1066      2053895375       1/18/2012        16:43:06
1067      2053895375       2/6/2012         17:20:59
1068      2053895375       4/18/2012        17:51:52
1069      2053897708       10/20/2011       15:37:49
1070      2053931231       6/10/2011        8:22:33
1071      2053931776       9/28/2011        10:28:20
1072      2053932227       6/16/2012        8:48:14
1073      2053934345       7/13/2012        18:52:25
1074      2053938686       8/14/2013        17:26:38
1075      2053941190       9/17/2011        9:34:56
1076      2053964368       9/8/2011         18:55:14
1077      2053990275       3/28/2012        18:23:46
1078      2053992891       3/12/2012        11:08:22
1079      2053993108       3/12/2012        19:38:22
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1080      2053994626       3/29/2012        17:39:44
1081      2053995357       8/31/2012        16:30:47
1082      2053995549       10/12/2012       16:54:18
1083      2053996027       10/28/2011       14:19:45
1084      2053996651       9/15/2012        8:24:08
1085      2053996878       1/9/2012         8:12:06
1086      2053996988       9/19/2011        19:15:38
1087      2054010629       9/10/2012        8:42:30
1088      2054011224       8/23/2012        11:46:29
1089      2054011997       1/20/2012        14:22:03
1090      2054012035       9/20/2011        16:50:44
1091      2054016071       5/29/2012        14:26:58
1092      2054017663       11/8/2011        14:01:17
1093      2054017991       7/16/2012        19:50:24
1094      2054051629       8/24/2012        11:06:40
1095      2054052487       6/18/2012        8:05:18
1096      2054054356       12/13/2011       18:36:43
1097      2054056565       10/24/2011       8:05:42
1098      2054058214       9/20/2011        16:49:42
1099      2054106042       8/29/2012        11:03:57
1100      2054109457       10/5/2012        18:25:47
1101      2054124388       11/18/2011       13:02:05
1102      2054124388       12/17/2011       11:36:08
1103      2054124791       4/1/2012         17:09:43
1104      2054125897       7/14/2011        16:39:43
1105      2054125970       10/15/2011       9:26:00
1106      2054126243       9/26/2012        14:42:10
1107      2054127018       11/19/2011       8:56:08
1108      2054127668       11/21/2011       8:37:43
1109      2054127668       1/19/2012        18:10:31
1110      2054128867       3/29/2012        11:21:20
1111      2054129471       6/25/2012        13:46:53
1112      2054129975       9/27/2011        18:13:25
1113      2054133415       1/8/2012         13:12:39
1114      2054139950       5/9/2012         8:56:43
1115      2054152100       11/1/2011        8:49:44
1116      2054173784       3/24/2012        10:00:20
1117      2054173784       3/30/2012        16:07:34
1118      2054200326       10/28/2011       14:40:19
1119      2054200620       8/13/2011        12:07:26
1120      2054213346       2/18/2012        9:07:30
1121      2054216089       4/3/2012         16:12:11
1122      2054216089       5/1/2012         17:44:22
1123      2054222570       10/3/2012        10:32:51
1124      2054223320       2/9/2012         9:33:17
1125      2054276419       3/2/2012         9:12:49
1126      2054276710       12/29/2011       10:55:35
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1127      2054279289       4/23/2012        8:12:24
1128      2054316784       2/11/2012        15:09:23
1129      2054333623       8/16/2012        9:26:50
1130      2054350330       8/9/2011         12:57:32
1131      2054350894       8/29/2012        20:17:23
1132      2054351393       5/21/2011        10:54:36
1133      2054351984       5/11/2012        12:25:35
1134      2054351984       5/21/2012        8:04:17
1135      2054355461       5/29/2012        10:51:08
1136      2054410770       3/14/2012        14:20:21
1137      2054416074       9/7/2012         15:42:21
1138      2054423035       3/25/2012        11:31:40
1139      2054425150       7/5/2012         15:31:07
1140      2054425855       8/20/2012        10:08:57
1141      2054426680       9/17/2012        8:36:29
1142      2054453861       12/10/2011       12:27:05
1143      2054459223       11/23/2011       9:44:31
1144      2054461372       9/26/2011        9:53:33
1145      2054473310       1/6/2012         15:56:04
1146      2054474446       12/26/2011       9:05:21
1147      2054474749       4/20/2011        19:59:55
1148      2054477033       4/1/2011         12:38:47
1149      2054477444       7/31/2012        15:47:40
1150      2054477444       9/28/2012        17:04:19
1151      2054513030       9/28/2011        11:19:27
1152      2054513408       1/13/2012        17:42:55
1153      2054515309       10/17/2012       9:32:24
1154      2054517368       3/2/2012         9:09:39
1155      2054548616       3/2/2012         9:14:12
1156      2054549357       9/12/2011        14:13:03
1157      2054578172       8/16/2012        19:47:18
1158      2054702588       1/17/2012        17:07:00
1159      2054702950       4/29/2012        18:24:29
1160      2054706658       5/4/2012         18:13:54
1161      2054708423       9/24/2012        19:12:12
1162      2054708423       9/28/2012        16:44:24
1163      2054709212       5/7/2011         15:01:15
1164      2054710258       6/16/2012        8:52:53
1165      2054712768       3/23/2012        11:29:23
1166      2054713215       11/7/2011        8:07:01
1167      2054713418       10/15/2011       10:36:16
1168      2054713659       10/10/2011       11:51:58
1169      2054716485       5/11/2012        18:10:38
1170      2054751872       9/24/2011        9:40:09
1171      2054754920       5/21/2012        8:17:10
1172      2054756743       10/24/2011       8:13:39
1173      2054756743       11/15/2011       16:26:29
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1174      2054757976       8/13/2012        20:57:53
1175      2054787378       5/23/2012        16:30:53
1176      2054787519       4/3/2014         12:59:38
1177      2054820405       4/14/2012        8:59:46
1178      2054824578       2/20/2012        8:52:01
1179      2054828738       11/1/2011        8:52:08
1180      2054854050       5/14/2012        15:42:57
1181      2054854050       7/27/2012        20:37:51
1182      2054854223       2/13/2012        18:31:07
1183      2054899380       3/16/2012        10:03:28
1184      2054919508       11/18/2011       12:54:12
1185      2054922028       9/23/2011        11:15:45
1186      2054923421       10/4/2011        13:51:35
1187      2054924037       1/28/2012        9:44:48
1188      2054945386       5/14/2012        8:11:21
1189      2054952051       5/5/2012         8:30:20
1190      2054952616       1/4/2012         11:26:00
1191      2054955363       9/14/2011        12:09:35
1192      2054959120       11/22/2011       19:37:02
1193      2054960042       12/20/2011       19:38:52
1194      2054960042       1/12/2012        8:05:16
1195      2054960120       8/10/2011        19:22:45
1196      2054960969       9/15/2012        8:06:55
1197      2054962182       11/21/2011       8:30:23
1198      2054962226       6/7/2012         18:36:32
1199      2054963280       4/16/2012        16:04:43
1200      2054991467       11/25/2011       18:30:15
1201      2054994560       11/7/2011        8:09:30
1202      2054995253       12/3/2011        9:26:23
1203      2054999367       9/14/2011        9:43:24
1204      2054999472       2/9/2012         9:31:26
1205      2054999982       12/29/2011       10:05:00
1206      2055030468       1/10/2012        15:32:42
1207      2055042559       9/28/2011        10:35:18
1208      2055059948       6/25/2012        13:43:29
1209      2055141374       12/9/2011        16:03:22
1210      2055142619       12/21/2011       10:24:38
1211      2055156055       3/22/2012        14:05:19
1212      2055162233       10/23/2012       16:23:53
1213      2055163089       8/25/2012        10:56:23
1214      2055163646       10/22/2011       12:41:52
1215      2055164925       11/8/2011        14:27:39
1216      2055226385       3/7/2012         18:42:40
1217      2055227366       1/23/2012        8:33:58
1218      2055227471       7/19/2012        17:45:09
1219      2055227553       2/13/2012        8:07:19
1220      2055231049       9/10/2011        9:13:55
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1221      2055231339       12/1/2011        15:26:45
1222      2055232345       1/2/2012         8:16:39
1223      2055232821       11/18/2011       13:02:39
1224      2055298520       3/29/2012        16:32:49
1225      2055310141       12/30/2011       8:41:41
1226      2055310365       2/21/2012        20:53:55
1227      2055313454       2/20/2012        8:57:08
1228      2055321736       2/15/2012        8:15:39
1229      2055326508       12/12/2011       16:36:17
1230      2055327757       6/12/2012        17:07:02
1231      2055330595       11/16/2011       20:02:19
1232      2055331285       10/12/2011       8:12:07
1233      2055331285       10/24/2011       8:07:48
1234      2055331285       2/17/2012        9:36:24
1235      2055335171       11/16/2011       20:06:54
1236      2055340909       12/29/2011       18:59:01
1237      2055355818       10/8/2011        11:48:35
1238      2055356571       12/8/2011        12:14:36
1239      2055359155       2/2/2014         11:36:35
1240      2055386641       2/14/2012        13:20:47
1241      2055402788       12/15/2011       8:54:06
1242      2055407753       12/10/2011       14:48:51
1243      2055411520       10/6/2011        16:44:30
1244      2055411520       10/27/2011       16:46:33
1245      2055423456       6/19/2012        8:01:36
1246      2055424647       12/12/2011       16:38:59
1247      2055440025       3/16/2012        15:54:53
1248      2055447971       3/1/2012         12:28:55
1249      2055448651       11/29/2011       15:02:24
1250      2055449059       2/13/2012        18:29:36
1251      2055524637       4/6/2012         16:05:43
1252      2055618117       8/2/2012         18:49:21
1253      2055631874       10/18/2012       8:05:42
1254      2055632121       2/21/2012        11:19:35
1255      2055632549       1/23/2012        13:58:07
1256      2055633753       1/13/2012        12:30:00
1257      2055634644       1/20/2012        14:37:12
1258      2055636320       12/15/2011       8:40:03
1259      2055636835       9/13/2011        16:00:21
1260      2055662141       3/2/2014         15:35:27
1261      2055666798       10/7/2011        8:14:46
1262      2055666817       3/3/2012         8:51:33
1263      2055668257       6/25/2012        13:46:58
1264      2055668841       9/21/2011        19:34:53
1265      2055669496       5/1/2012         8:21:49
1266      2055671826       10/10/2012       19:13:33
1267      2055673383       3/14/2012        19:37:37
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1268      2055675785       11/5/2011        11:31:39
1269      2055676253       2/21/2012        9:34:40
1270      2055683213       1/18/2012        16:52:18
1271      2055686086       4/23/2012        8:22:00
1272      2055700723       5/15/2012        19:15:34
1273      2055701057       6/4/2012         9:38:43
1274      2055721732       3/1/2012         12:30:08
1275      2055777542       3/17/2012        8:59:36
1276      2055850425       11/29/2011       15:10:11
1277      2055850425       2/10/2012        20:39:34
1278      2055852905       10/19/2011       8:06:37
1279      2055857084       9/21/2011        11:35:22
1280      2055862223       10/15/2011       10:49:54
1281      2055864193       8/29/2012        11:02:26
1282      2055864222       9/28/2012        9:04:40
1283      2055864347       8/1/2012         8:36:00
1284      2055866951       11/8/2011        13:54:39
1285      2055870209       9/19/2012        8:03:08
1286      2055871979       10/10/2011       12:48:19
1287      2056015058       3/6/2012         20:25:10
1288      2056027898       10/24/2011       8:18:59
1289      2056029501       1/16/2012        17:33:41
1290      2056029816       8/18/2011        8:06:04
1291      2056081155       10/10/2011       12:38:57
1292      2056090382       7/12/2012        19:54:03
1293      2056121985       9/30/2011        10:04:27
1294      2056122635       10/20/2011       16:19:09
1295      2056122835       9/15/2011        8:55:28
1296      2056127003       3/13/2012        18:40:37
1297      2056127003       3/27/2012        10:42:46
1298      2056128171       9/12/2011        13:19:36
1299      2056130380       10/17/2011       8:16:23
1300      2056130380       11/16/2011       8:34:41
1301      2056131225       3/26/2012        14:33:44
1302      2056131727       9/9/2011         18:24:32
1303      2056133740       11/23/2011       14:40:58
1304      2056140413       12/23/2011       14:59:43
1305      2056140832       9/20/2011        16:50:07
1306      2056164814       1/8/2012         13:18:35
1307      2056167633       1/25/2012        9:21:55
1308      2056177234       9/14/2011        9:57:51
1309      2056392616       2/9/2012         9:35:17
1310      2056396541       11/29/2011       15:44:46
1311      2056397711       4/2/2012         17:34:12
1312      2056397881       11/14/2011       15:07:54
1313      2056399519       5/30/2012        9:20:25
1314      2056419558       9/12/2011        14:21:06
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1315      2056430022       3/28/2012        17:11:06
1316      2056430415       10/28/2011       13:35:24
1317      2056570553       11/16/2011       20:10:04
1318      2056572804       10/1/2011        10:39:13
1319      2056576776       5/21/2012        17:49:08
1320      2056576777       2/20/2012        17:11:02
1321      2056577054       6/18/2012        15:28:34
1322      2056756260       9/21/2011        11:30:41
1323      2056814112       12/5/2011        18:39:15
1324      2056886004       9/3/2012         14:47:47
1325      2056886004       9/8/2012         11:08:12
1326      2057052115       11/8/2011        14:18:50
1327      2057066373       12/29/2011       18:46:11
1328      2057068085       9/24/2012        18:55:52
1329      2057174430       6/28/2012        8:08:15
1330      2057176910       3/14/2012        14:38:27
1331      2057180702       3/8/2012         20:27:14
1332      2057189479       9/1/2011         8:45:42
1333      2057394041       11/29/2011       15:08:07
1334      2057466401       10/15/2011       10:22:35
1335      2057478980       11/22/2011       18:49:41
1336      2057572178       3/30/2012        9:55:08
1337      2057644392       5/22/2012        11:20:11
1338      2057648235       6/8/2012         8:08:15
1339      2057652206       3/2/2012         9:22:45
1340      2057672963       6/22/2012        10:43:18
1341      2057674626       9/20/2012        8:43:54
1342      2057674726       10/24/2011       8:07:41
1343      2057692133       1/13/2012        8:13:15
1344      2057895618       5/24/2012        11:50:05
1345      2057898457       10/15/2012       16:21:23
1346      2057899840       11/26/2011       13:22:25
1347      2057904711       7/10/2012        11:53:21
1348      2057905146       9/20/2011        20:35:52
1349      2057990744       9/19/2011        19:32:24
1350      2057994314       2/9/2012         20:32:40
1351      2057997297       9/8/2011         19:33:44
1352      2057999631       10/15/2011       9:37:26
1353      2058072980       3/29/2012        17:44:57
1354      2058075332       9/17/2011        9:40:16
1355      2058076612       4/15/2012        17:15:13
1356      2058077550       5/14/2012        8:16:31
1357      2058157203       12/30/2011       8:41:13
1358      2058217514       9/15/2011        8:43:39
1359      2058260285       10/14/2011       12:58:17
1360      2058261330       4/30/2012        14:52:10
1361      2058261330       5/21/2012        8:18:15
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1362      2058261669       9/8/2011         19:49:00
1363      2058262067       10/15/2011       10:38:48
1364      2058345254       11/15/2011       20:06:36
1365      2058352003       11/9/2011        8:21:01
1366      2058354742       5/13/2012        17:47:19
1367      2058373757       10/9/2012        11:36:55
1368      2058440022       12/3/2011        10:18:15
1369      2058624999       7/27/2012        20:34:53
1370      2058625270       11/7/2011        9:32:10
1371      2058630257       2/1/2012         8:43:59
1372      2058630468       3/6/2012         15:49:10
1373      2058637081       4/20/2012        14:28:50
1374      2058639004       10/6/2011        16:52:49
1375      2058639004       11/29/2011       15:42:41
1376      2058730009       9/5/2012         15:21:14
1377      2058863667       10/9/2012        20:01:08
1378      2058863782       12/20/2011       19:24:49
1379      2058865222       6/29/2012        9:40:46
1380      2058865689       11/17/2011       14:19:36
1381      2058868617       10/18/2011       19:02:21
1382      2058869015       11/17/2011       14:13:46
1383      2058870333       5/19/2012        8:15:13
1384      2058870949       9/29/2012        9:52:05
1385      2058872127       7/3/2012         19:32:46
1386      2059011852       10/7/2011        8:17:50
1387      2059016144       3/12/2012        11:20:55
1388      2059025921       7/19/2012        8:30:17
1389      2059026366       1/30/2012        8:07:44
1390      2059034386       12/14/2011       18:02:42
1391      2059070758       9/21/2011        11:34:02
1392      2059071299       3/27/2012        10:35:34
1393      2059078905       9/19/2011        8:30:58
1394      2059087686       6/15/2012        16:37:27
1395      2059101151       5/6/2011         15:51:19
1396      2059101295       7/10/2012        12:03:14
1397      2059130220       11/17/2011       16:28:34
1398      2059134844       7/11/2012        17:22:34
1399      2059135500       3/7/2012         9:34:05
1400      2059139792       7/30/2012        13:18:00
1401      2059190254       11/28/2011       17:01:43
1402      2059190684       5/30/2012        16:48:18
1403      2059191197       3/7/2012         9:41:38
1404      2059191248       4/10/2012        16:19:22
1405      2059192130       9/24/2011        9:21:41
1406      2059281776       8/13/2012        8:30:32
1407      2059282089       12/16/2013       13:22:42
1408      2059282235       12/26/2011       15:24:14
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1409      2059369782       7/18/2012        18:32:15
1410      2059372281       5/10/2012        15:04:26
1411      2059373654       1/3/2012         16:28:05
1412      2059379253       10/3/2011        8:24:43
1413      2059379853       3/3/2012         8:31:52
1414      2059483133       12/23/2011       14:05:51
1415      2059486390       5/31/2012        8:05:42
1416      2059487134       12/24/2011       12:00:31
1417      2059651446       9/19/2012        8:03:19
1418      2059652915       11/28/2011       12:19:34
1419      2059652915       2/10/2012        20:41:42
1420      2059655060       1/20/2012        14:40:57
1421      2059655063       2/17/2012        9:37:20
1422      2059656478       11/17/2011       14:32:42
1423      2059665061       7/9/2012         8:57:28
1424      2059665061       7/12/2012        13:10:29
1425      2059666561       4/2/2012         9:01:14
1426      2059798461       6/7/2011         18:08:08
1427      2059940730       7/20/2011        14:00:29
1428      2059944894       10/1/2011        10:45:14
1429      2059944894       11/30/2011       15:25:47
1430      2059993676       2/19/2012        20:20:47
1431      2059993853       10/11/2011       16:19:25
1432      2062251689       2/20/2012        17:16:06
1433      2062260385       6/26/2012        16:21:13
1434      2062284867       9/9/2011         18:08:26
1435      2062290793       10/3/2011        7:47:36
1436      2062347955       7/11/2011        12:38:08
1437      2062348915       5/1/2012         17:52:29
1438      2062353392       3/19/2012        19:39:58
1439      2062353913       10/19/2011       16:28:24
1440      2062409011       11/8/2011        14:07:13
1441      2062409318       8/11/2012        12:27:15
1442      2062450803       10/1/2011        10:55:20
1443      2062491423       1/17/2012        20:51:01
1444      2062515191       2/20/2012        14:00:12
1445      2062578897       10/10/2011       12:03:06
1446      2062611492       11/10/2011       14:26:13
1447      2062717537       5/23/2012        16:31:58
1448      2062764546       3/23/2012        14:53:24
1449      2062903279       11/25/2011       17:57:00
1450      2062905413       8/2/2012         18:56:00
1451      2062909272       3/7/2014         12:14:29
1452      2062909719       8/7/2012         21:41:50
1453      2062932740       10/9/2012        11:38:15
1454      2062933033       3/2/2012         18:55:02
1455      2062935482       4/29/2011        20:35:37
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1456      2062939811       12/27/2011       14:24:10
1457      2063003413       10/7/2011        10:28:49
1458      2063003413       10/12/2011       11:39:10
1459      2063009060       2/9/2012         20:46:16
1460      2063046346       10/11/2012       18:35:09
1461      2063277532       11/9/2011        10:29:34
1462      2063305265       6/28/2012        12:36:48
1463      2063317225       8/3/2012         16:25:43
1464      2063353874       4/18/2012        10:08:02
1465      2063495087       9/20/2011        17:05:37
1466      2063532251       3/20/2012        20:00:09
1467      2063533023       2/6/2012         17:25:34
1468      2063542152       1/23/2012        19:21:00
1469      2063558328       1/13/2012        17:18:51
1470      2063591017       12/31/2011       12:16:46
1471      2063693948       7/3/2012         16:00:43
1472      2063699307       10/7/2011        10:14:39
1473      2063717056       2/16/2012        11:23:59
1474      2063717056       3/15/2012        18:59:49
1475      2063721338       10/19/2012       19:06:02
1476      2063725431       5/17/2011        10:35:17
1477      2063754224       11/29/2011       15:14:23
1478      2063779969       5/19/2012        10:59:10
1479      2063805867       9/16/2011        13:09:31
1480      2063837391       10/5/2012        18:35:36
1481      2063838750       6/3/2011         17:09:00
1482      2063919801       10/20/2011       16:35:45
1483      2064075260       2/20/2012        13:58:21
1484      2064075260       2/24/2012        20:57:34
1485      2064095389       4/7/2012         12:15:29
1486      2064096677       10/13/2011       10:33:45
1487      2064188310       5/29/2012        10:58:26
1488      2064188310       6/12/2012        17:15:34
1489      2064320232       3/19/2012        19:26:23
1490      2064341598       8/24/2012        21:04:40
1491      2064376584       6/30/2011        10:45:25
1492      2064378004       12/9/2011        12:52:48
1493      2064458740       4/5/2012         21:48:00
1494      2064553839       7/21/2012        10:33:35
1495      2064554221       1/18/2012        21:20:43
1496      2064580889       10/25/2011       16:38:07
1497      2064583288       1/18/2012        10:14:16
1498      2064595077       10/10/2011       12:03:34
1499      2064783786       8/25/2012        11:20:53
1500      2064992407       5/10/2012        14:52:04
1501      2065100628       3/19/2012        11:48:29
1502      2065106717       10/27/2011       16:11:20
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1503      2065506928       10/13/2011       10:33:04
1504      2065518185       11/11/2011       13:24:47
1505      2065525742       6/16/2012        10:06:47
1506      2065713035       11/3/2011        18:03:44
1507      2065713035       11/15/2011       16:41:59
1508      2065715214       5/9/2012         21:04:59
1509      2065715214       7/9/2012         19:03:01
1510      2065716592       12/26/2011       20:40:26
1511      2065717720       11/3/2011        17:29:01
1512      2065790894       3/21/2011        11:43:53
1513      2065955124       1/19/2012        18:42:11
1514      2066010119       9/24/2011        10:01:54
1515      2066043182       8/14/2012        11:48:44
1516      2066171876       11/26/2011       12:05:13
1517      2066503370       7/18/2012        14:48:13
1518      2066505090       8/6/2012         15:35:50
1519      2066516249       3/9/2012         15:49:06
1520      2066603277       10/15/2011       11:05:08
1521      2066603277       1/9/2012         18:46:58
1522      2066762219       8/10/2011        19:36:56
1523      2066794465       2/20/2012        17:17:52
1524      2066838036       9/9/2011         18:06:40
1525      2066943518       3/28/2012        18:16:38
1526      2066964856       11/14/2011       17:36:41
1527      2066969962       1/13/2012        17:18:50
1528      2066973091       12/16/2011       16:37:19
1529      2067072366       3/26/2012        14:49:00
1530      2067089350       12/7/2011        16:33:41
1531      2067154736       10/5/2011        14:20:41
1532      2067183783       5/5/2012         12:28:48
1533      2067192312       7/13/2012        18:30:55
1534      2067242715       4/5/2012         21:48:34
1535      2067245102       10/22/2011       13:17:01
1536      2067245102       2/8/2012         13:13:19
1537      2067319063       10/25/2011       15:44:28
1538      2067319063       11/16/2011       10:03:37
1539      2067791335       12/26/2011       20:38:15
1540      2067887743       3/13/2012        18:51:32
1541      2067990756       3/18/2011        10:53:48
1542      2067990756       10/10/2011       12:59:26
1543      2067996145       10/6/2011        17:57:33
1544      2067996145       11/3/2011        18:08:50
1545      2068187306       7/27/2012        21:53:23
1546      2068197831       4/13/2012        20:41:54
1547      2068308145       7/27/2012        15:31:10
1548      2068308659       3/1/2012         17:36:30
1549      2068326514       8/10/2012        10:26:25
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1550      2068416049       11/26/2011       13:53:14
1551      2068522151       11/9/2011        10:15:16
1552      2068532935       10/14/2011       14:50:00
1553      2068548650       2/8/2012         13:15:06
1554      2068831444       6/5/2012         18:00:28
1555      2068980338       12/23/2011       13:31:59
1556      2069157138       8/20/2012        21:33:05
1557      2069301528       2/1/2012         18:44:02
1558      2069312284       2/17/2012        10:47:15
1559      2069317512       10/24/2012       15:05:58
1560      2069319007       8/12/2011        11:40:07
1561      2069414424       2/24/2011        14:02:18
1562      2069481569       1/16/2012        17:17:39
1563      2069650383       9/17/2012        10:05:53
1564      2069650383       9/20/2012        21:01:52
1565      2069923737       1/18/2012        10:02:02
1566      2069926583       4/26/2012        11:23:51
1567      2069994395       11/15/2011       15:51:17
1568      2072051494       7/8/2012         13:31:52
1569      2072062885       2/11/2012        15:21:23
1570      2072064594       7/30/2012        18:44:14
1571      2072064671       11/23/2011       14:49:53
1572      2072065811       9/28/2011        10:04:30
1573      2072089832       10/1/2011        10:23:18
1574      2072109117       6/18/2012        7:54:42
1575      2072122975       11/23/2011       14:34:57
1576      2072123184       9/26/2011        8:32:58
1577      2072124866       8/20/2011        8:37:37
1578      2072126241       4/15/2012        19:57:26
1579      2072126457       3/23/2012        7:06:16
1580      2072144731       10/8/2011        9:07:11
1581      2072145224       6/18/2011        15:21:13
1582      2072152721       11/21/2011       7:21:22
1583      2072152721       12/30/2011       7:16:23
1584      2072152721       4/4/2012         19:02:18
1585      2072159356       3/27/2012        15:00:10
1586      2072173121       4/12/2012        13:06:24
1587      2072174551       10/10/2011       12:14:29
1588      2072270242       11/30/2011       15:09:22
1589      2072271728       12/20/2011       11:47:58
1590      2072271830       7/11/2011        7:22:39
1591      2072272697       5/30/2012        12:47:35
1592      2072276423       4/25/2012        9:33:36
1593      2072277601       1/19/2012        17:58:25
1594      2072277601       2/20/2012        16:48:32
1595      2072277942       9/14/2011        11:45:09
1596      2072321894       3/15/2012        19:28:57
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1597      2072408349       9/14/2012        7:08:35
1598      2072422086       8/10/2011        18:27:59
1599      2072426028       3/25/2011        8:07:44
1600      2072513065       11/18/2011       12:49:45
1601      2072518873       9/1/2012         9:21:02
1602      2072528329       10/25/2011       16:04:08
1603      2072567967       1/17/2012        17:08:53
1604      2072567967       2/7/2012         7:06:17
1605      2072661292       10/3/2012        7:09:50
1606      2072662290       12/28/2011       7:05:50
1607      2072663385       3/14/2012        7:02:07
1608      2072665684       11/29/2011       16:15:05
1609      2072666991       9/14/2011        16:28:27
1610      2072670547       5/21/2012        17:35:44
1611      2072671788       12/31/2011       12:02:44
1612      2072671788       7/13/2012        17:04:26
1613      2072703452       3/28/2012        10:15:05
1614      2072864727       9/22/2011        15:05:41
1615      2072903201       10/15/2012       9:59:47
1616      2072905482       10/13/2011       7:09:36
1617      2072942720       7/19/2012        17:31:56
1618      2072992361       10/12/2011       7:37:31
1619      2073124787       8/23/2012        11:50:17
1620      2073129872       3/31/2012        8:02:24
1621      2073134976       3/25/2012        11:44:33
1622      2073136171       10/27/2011       16:27:54
1623      2073138606       7/2/2012         15:15:27
1624      2073139142       9/26/2012        15:22:10
1625      2073142739       10/17/2011       7:33:47
1626      2073142739       5/21/2012        7:22:11
1627      2073148175       5/16/2012        17:00:55
1628      2073163166       2/28/2012        15:59:50
1629      2073168708       2/14/2012        13:03:58
1630      2073177103       4/10/2012        15:26:36
1631      2073177572       3/20/2012        8:59:48
1632      2073187073       9/27/2012        7:42:46
1633      2073203179       9/27/2011        18:11:41
1634      2073203727       11/30/2011       7:24:55
1635      2073211724       1/11/2012        7:48:15
1636      2073219431       7/13/2012        16:49:23
1637      2073223150       9/19/2011        7:09:54
1638      2073225622       1/3/2012         10:57:51
1639      2073225622       1/10/2012        15:25:58
1640      2073225622       8/20/2012        18:48:27
1641      2073225622       8/25/2012        11:01:55
1642      2073232670       5/17/2012        16:43:52
1643      2073233357       10/1/2012        8:14:06
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1644      2073233589       3/1/2012         8:44:48
1645      2073239085       10/18/2012       16:29:23
1646      2073299879       7/19/2012        17:45:55
1647      2073309192       3/13/2012        11:02:37
1648      2073321091       8/29/2012        10:57:11
1649      2073325321       9/21/2012        18:44:21
1650      2073326815       8/13/2011        9:53:40
1651      2073331595       11/5/2011        11:10:42
1652      2073338057       9/19/2011        7:22:35
1653      2073338409       6/11/2011        8:15:47
1654      2073412839       6/21/2012        10:00:11
1655      2073431700       11/18/2011       13:31:12
1656      2073434355       1/18/2012        10:01:01
1657      2073445779       5/22/2012        11:28:44
1658      2073447690       5/15/2012        19:00:48
1659      2073447690       5/21/2012        7:33:47
1660      2073448327       11/25/2011       18:17:23
1661      2073448385       10/13/2011       7:18:19
1662      2073568949       12/5/2011        9:06:16
1663      2073576013       11/4/2011        7:19:57
1664      2073577909       6/18/2012        7:51:23
1665      2073738086       6/8/2012         7:27:00
1666      2073801711       10/12/2011       11:34:34
1667      2073805325       12/2/2011        7:30:20
1668      2073805684       10/5/2011        14:26:14
1669      2073857061       11/8/2011        14:15:26
1670      2073999819       7/23/2011        11:43:09
1671      2074006644       7/23/2012        13:29:18
1672      2074041315       8/19/2012        12:01:28
1673      2074061061       10/11/2011       15:46:27
1674      2074093199       5/22/2012        18:34:56
1675      2074093837       12/10/2011       12:49:39
1676      2074094737       8/16/2012        9:27:37
1677      2074152209       9/17/2012        8:35:30
1678      2074165595       10/13/2011       10:35:50
1679      2074166700       10/31/2011       10:16:43
1680      2074232408       10/8/2011        10:50:59
1681      2074234153       10/18/2012       16:34:22
1682      2074235313       10/19/2012       19:03:23
1683      2074311735       10/18/2012       7:00:58
1684      2074313076       12/21/2011       10:03:53
1685      2074313965       9/7/2012         15:48:09
1686      2074313991       8/3/2012         7:51:58
1687      2074315241       9/1/2012         8:37:18
1688      2074315677       10/14/2011       12:42:27
1689      2074318957       10/26/2011       11:49:21
1690      2074410106       11/28/2011       11:59:03
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1691      2074411116       11/18/2011       13:27:26
1692      2074411839       12/20/2011       19:33:22
1693      2074412347       9/27/2012        7:29:34
1694      2074419306       10/19/2012       19:09:06
1695      2074465500       10/22/2011       12:29:35
1696      2074466746       2/9/2012         7:24:38
1697      2074467597       2/2/2012         18:55:30
1698      2074500509       9/19/2011        19:09:21
1699      2074504474       7/14/2012        8:04:52
1700      2074580146       8/21/2012        13:48:25
1701      2074585239       2/28/2012        15:59:15
1702      2074590150       10/11/2011       16:01:34
1703      2074602305       8/13/2012        7:42:48
1704      2074624466       12/23/2011       15:39:14
1705      2074655425       7/2/2012         15:01:49
1706      2074655432       9/26/2011        8:35:55
1707      2074655727       12/20/2011       11:47:00
1708      2074780698       3/2/2012         7:01:43
1709      2074784754       9/21/2011        11:42:59
1710      2074788136       11/16/2011       7:46:44
1711      2074793964       1/12/2012        14:24:29
1712      2074795063       11/26/2011       12:25:05
1713      2074796662       11/1/2011        8:24:16
1714      2074797272       1/6/2012         10:00:41
1715      2074857471       2/28/2012        15:57:41
1716      2074910456       9/21/2011        11:41:57
1717      2074913948       3/20/2012        17:37:49
1718      2074914979       5/3/2012         7:27:13
1719      2074914979       6/27/2012        12:26:09
1720      2074915313       11/12/2011       10:15:54
1721      2074917255       2/10/2012        7:04:41
1722      2075020183       9/9/2011         7:20:42
1723      2075022072       2/14/2012        15:20:29
1724      2075041933       7/20/2011        13:34:56
1725      2075042569       10/13/2011       7:06:14
1726      2075120827       5/18/2012        12:07:18
1727      2075144292       2/21/2012        17:37:55
1728      2075145232       10/29/2011       10:28:58
1729      2075180051       10/26/2011       12:03:44
1730      2075180051       11/21/2011       7:18:32
1731      2075180051       1/13/2012        17:23:54
1732      2075222758       8/16/2012        19:46:57
1733      2075223855       11/3/2011        17:41:30
1734      2075227753       9/13/2012        7:38:10
1735      2075386144       12/6/2011        13:30:18
1736      2075388550       9/8/2011         17:48:03
1737      2075420073       9/14/2012        7:09:02
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1738      2075421586       11/28/2011       16:30:54
1739      2075425468       9/20/2011        17:38:14
1740      2075513167       6/13/2012        20:00:29
1741      2075516797       9/24/2011        9:10:37
1742      2075516946       3/6/2012         12:53:58
1743      2075571452       12/18/2011       16:35:14
1744      2075610414       9/27/2011        18:04:15
1745      2075706789       3/9/2012         7:09:26
1746      2075708417       5/24/2012        12:04:25
1747      2075772473       4/25/2012        15:48:05
1748      2075774314       9/13/2011        7:19:41
1749      2075782257       5/29/2012        17:10:07
1750      2075904877       11/11/2011       7:53:10
1751      2075950448       8/30/2011        17:12:50
1752      2075950448       3/13/2012        11:14:53
1753      2075951540       9/10/2013        19:32:19
1754      2075963008       8/30/2012        7:05:42
1755      2075986283       5/2/2012         13:23:52
1756      2075986556       9/27/2012        7:31:32
1757      2075986806       12/8/2011        9:52:29
1758      2075988329       1/24/2012        17:15:19
1759      2075988835       2/13/2012        18:37:33
1760      2076029476       9/8/2012         11:07:38
1761      2076082355       12/26/2011       8:55:50
1762      2076082355       4/6/2012         16:07:42
1763      2076083857       10/3/2011        7:47:43
1764      2076103770       10/12/2012       17:19:38
1765      2076103879       5/6/2012         17:31:24
1766      2076152147       3/28/2012        7:29:09
1767      2076153526       5/16/2012        17:03:13
1768      2076154857       12/22/2011       9:19:18
1769      2076156473       4/19/2012        7:34:06
1770      2076204843       2/1/2012         8:17:05
1771      2076322112       9/21/2011        11:22:51
1772      2076327695       8/30/2012        17:39:50
1773      2076328861       10/11/2012       11:58:41
1774      2076360460       9/13/2011        7:19:10
1775      2076366130       9/8/2011         19:24:06
1776      2076366906       2/6/2012         7:11:15
1777      2076495075       12/27/2011       14:14:35
1778      2076499514       9/9/2011         7:21:08
1779      2076515122       10/12/2011       8:00:35
1780      2076515857       9/26/2012        15:20:44
1781      2076516445       3/7/2012         18:28:54
1782      2076590354       9/15/2011        7:34:38
1783      2076595982       7/9/2012         12:27:40
1784      2076602684       3/31/2012        17:29:47
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1785      2076602835       12/1/2011        14:49:19
1786      2076605637       6/5/2012         7:09:53
1787      2076607695       6/2/2012         12:36:15
1788      2076714572       3/3/2012         8:43:18
1789      2076714861       5/23/2012        14:50:03
1790      2076800020       10/3/2011        7:26:59
1791      2076894864       6/29/2011        16:40:30
1792      2076915559       9/20/2012        7:01:21
1793      2076916285       9/27/2011        18:22:02
1794      2076919097       8/20/2012        18:52:39
1795      2076924637       4/1/2012         16:10:44
1796      2076924676       3/28/2012        18:08:12
1797      2076943520       1/20/2012        11:38:15
1798      2076997702       12/30/2011       7:10:58
1799      2076997702       5/21/2012        7:02:57
1800      2077011796       8/25/2011        16:29:28
1801      2077011796       9/20/2011        16:36:43
1802      2077017464       9/23/2011        18:41:09
1803      2077103237       1/5/2012         13:55:48
1804      2077103237       1/14/2012        8:02:15
1805      2077104482       7/20/2011        14:54:56
1806      2077104482       9/21/2011        11:30:20
1807      2077130098       7/30/2011        8:26:22
1808      2077132606       2/11/2012        15:23:39
1809      2077133116       6/24/2011        11:21:24
1810      2077135113       1/11/2012        7:40:37
1811      2077138528       11/27/2011       15:29:43
1812      2077174970       1/4/2012         11:12:36
1813      2077177752       10/29/2011       11:26:50
1814      2077200065       6/11/2012        17:46:09
1815      2077317227       9/30/2011        10:12:10
1816      2077358473       4/11/2012        7:14:07
1817      2077390759       8/22/2012        11:11:19
1818      2077390759       9/10/2012        7:42:27
1819      2077400105       9/19/2011        19:23:33
1820      2077401611       3/21/2012        13:45:45
1821      2077401611       5/21/2012        7:05:01
1822      2077401611       5/21/2012        7:21:22
1823      2077401611       5/21/2012        7:29:39
1824      2077401611       9/4/2012         15:36:43
1825      2077406804       10/2/2012        7:29:34
1826      2077406906       12/18/2011       16:47:59
1827      2077455757       10/28/2011       14:10:18
1828      2077492364       10/15/2011       9:56:13
1829      2077495814       10/7/2011        7:22:40
1830      2077541154       10/18/2012       7:10:26
1831      2077551017       12/2/2011        7:39:19
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1832      2077551045       10/6/2011        16:15:00
1833      2077668874       6/22/2012        7:13:10
1834      2077688021       9/20/2011        17:14:24
1835      2077688021       5/18/2012        11:53:02
1836      2077761530       9/26/2012        15:16:38
1837      2077761530       10/25/2012       19:32:40
1838      2077781613       9/21/2012        16:17:22
1839      2077796929       11/14/2011       16:56:37
1840      2077797461       3/15/2012        7:06:34
1841      2077797549       9/15/2011        7:29:55
1842      2077798277       3/2/2012         18:42:07
1843      2077980687       1/11/2012        7:41:48
1844      2078318875       9/18/2012        14:23:01
1845      2078321274       5/27/2012        13:57:39
1846      2078375258       7/6/2012         16:50:54
1847      2078411005       9/8/2011         19:27:53
1848      2078413398       9/14/2011        9:28:40
1849      2078413776       4/18/2012        7:06:54
1850      2078416141       12/23/2011       7:09:37
1851      2078417680       10/20/2011       15:27:24
1852      2078417680       11/18/2011       13:23:40
1853      2078500679       3/16/2012        11:09:58
1854      2078521114       8/31/2011        11:14:06
1855      2078528777       4/4/2012         7:04:33
1856      2078583225       9/27/2011        18:24:33
1857      2078608180       10/19/2011       7:45:15
1858      2078612192       9/20/2011        16:35:26
1859      2078847869       12/18/2011       17:11:23
1860      2078901608       9/21/2012        18:44:51
1861      2078904165       10/14/2011       13:17:36
1862      2078918226       8/27/2011        9:54:04
1863      2078978235       6/14/2012        7:08:23
1864      2078996348       9/16/2011        14:28:18
1865      2078997078       12/17/2011       11:19:53
1866      2079024650       11/22/2011       19:04:37
1867      2079029432       10/19/2012       12:50:47
1868      2079047558       10/13/2012       9:15:31
1869      2079047883       7/27/2012        15:20:42
1870      2079078515       7/19/2011        16:35:52
1871      2079240143       9/7/2012         15:49:51
1872      2079396307       1/2/2012         7:20:30
1873      2079396470       1/9/2012         18:34:55
1874      2079441497       9/8/2011         17:40:13
1875      2079442244       1/6/2012         7:08:25
1876      2079444071       9/28/2011        10:52:15
1877      2079490787       11/27/2011       15:30:21
1878      2079493080       10/7/2011        7:17:47
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1879      2079655122       4/16/2012        15:44:34
1880      2079749196       11/18/2011       12:41:29
1881      2079759023       10/21/2011       13:21:20
1882      2079759023       1/10/2012        12:29:21
1883      2079914884       3/21/2012        13:43:19
1884      2079918921       6/6/2012         7:22:54
1885      2079999386       9/26/2012        7:09:28
1886      2082000980       2/4/2012         13:15:36
1887      2082014307       11/12/2011       10:50:48
1888      2082018911       5/16/2012        16:58:10
1889      2082060857       3/6/2012         13:26:48
1890      2082069630       12/12/2011       12:28:36
1891      2082150974       1/17/2012        18:37:29
1892      2082158675       5/27/2012        13:49:39
1893      2082190143       11/15/2011       16:54:12
1894      2082203707       2/15/2012        11:18:56
1895      2082203707       2/25/2012        11:10:56
1896      2082214577       8/29/2012        11:04:07
1897      2082238707       1/27/2012        18:06:18
1898      2082303008       8/31/2012        16:39:57
1899      2082377469       12/27/2011       13:41:59
1900      2082404847       9/28/2011        9:30:34
1901      2082413167       1/21/2012        9:04:11
1902      2082426033       12/21/2011       18:55:00
1903      2082426188       5/14/2011        12:10:45
1904      2082427696       10/3/2011        10:39:20
1905      2082491594       4/12/2012        18:08:44
1906      2082494599       11/26/2011       13:43:57
1907      2082778334       12/19/2011       11:17:27
1908      2082802600       3/16/2012        16:05:16
1909      2082831388       3/5/2012         10:58:42
1910      2082837601       2/13/2012        18:32:01
1911      2082849703       4/26/2012        17:41:05
1912      2082849703       5/21/2012        9:04:08
1913      2082865041       11/11/2011       13:23:30
1914      2082866455       5/5/2012         12:19:20
1915      2082868009       11/18/2011       13:06:18
1916      2082903908       11/28/2011       18:10:30
1917      2083013825       10/10/2011       12:03:24
1918      2083045142       10/22/2012       18:02:28
1919      2083049494       2/7/2012         16:37:02
1920      2083057105       9/3/2012         14:52:43
1921      2083082896       9/15/2011        9:20:30
1922      2083134077       3/13/2012        18:52:14
1923      2083136434       12/24/2011       9:17:41
1924      2083150334       9/18/2012        14:20:21
1925      2083150334       9/27/2012        16:33:07
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1926      2083163499       2/6/2012         17:04:14
1927      2083183389       10/18/2012       9:03:53
1928      2083184010       1/6/2012         12:51:37
1929      2083196388       11/22/2011       19:43:57
1930      2083196388       2/21/2012        18:06:48
1931      2083196513       6/22/2012        10:41:29
1932      2083200171       9/21/2012        16:16:52
1933      2083201810       5/16/2012        16:51:06
1934      2083204319       12/10/2013       18:59:20
1935      2083208597       12/21/2011       19:51:48
1936      2083394683       10/10/2011       12:57:41
1937      2083402595       9/24/2011        9:27:07
1938      2083461731       12/18/2011       16:59:29
1939      2083500924       7/30/2012        13:20:57
1940      2083516480       4/13/2012        13:41:03
1941      2083532383       10/7/2011        9:48:14
1942      2083534671       3/21/2012        9:11:39
1943      2083537793       1/17/2012        16:53:07
1944      2083537861       10/18/2011       12:32:33
1945      2083539840       12/26/2011       20:08:16
1946      2083576537       1/10/2012        12:29:49
1947      2083580197       9/26/2011        13:20:05
1948      2083580755       11/29/2011       16:12:28
1949      2083583638       12/18/2011       17:32:24
1950      2083607142       9/21/2012        18:50:04
1951      2083607534       7/18/2011        11:14:27
1952      2083691551       9/15/2011        9:05:16
1953      2083696660       1/4/2012         11:26:53
1954      2083696726       10/8/2012        20:03:02
1955      2083698971       10/19/2012       10:00:47
1956      2083713111       7/19/2012        17:39:47
1957      2083713999       9/10/2011        9:18:50
1958      2083800218       9/24/2011        10:09:39
1959      2083800218       10/19/2011       12:05:57
1960      2083920699       4/26/2011        20:23:49
1961      2083927739       1/16/2012        20:20:30
1962      2083928130       10/23/2012       16:10:16
1963      2084016322       5/7/2012         21:42:43
1964      2084023870       1/10/2012        15:21:48
1965      2084034142       9/22/2011        16:15:31
1966      2084037303       10/11/2012       18:48:55
1967      2084041300       6/7/2012         16:09:12
1968      2084041363       3/23/2011        20:17:30
1969      2084044472       10/3/2011        10:39:30
1970      2084044853       8/14/2012        11:52:55
1971      2084044853       10/22/2012       17:52:15
1972      2084053185       11/14/2011       15:19:28
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1973      2084058451       9/19/2011        19:35:16
1974      2084059154       7/16/2012        19:43:54
1975      2084069110       2/3/2012         14:27:23
1976      2084069244       11/12/2011       10:46:02
1977      2084069417       1/31/2012        10:11:32
1978      2084069417       8/19/2012        11:52:58
1979      2084069639       10/20/2012       10:35:53
1980      2084069693       2/28/2012        16:20:56
1981      2084091214       12/17/2011       12:14:34
1982      2084095026       1/19/2012        18:32:12
1983      2084097339       10/10/2011       12:01:21
1984      2084103821       11/22/2011       19:43:15
1985      2084105291       7/13/2012        20:52:29
1986      2084123126       10/19/2012       19:11:38
1987      2084124711       10/22/2011       12:46:34
1988      2084128229       4/19/2012        14:46:30
1989      2084132890       11/29/2011       15:18:57
1990      2084132969       12/20/2011       20:55:52
1991      2084133017       2/20/2012        14:02:31
1992      2084202394       7/13/2012        20:52:31
1993      2084204357       10/11/2011       16:32:32
1994      2084214003       9/8/2011         19:54:10
1995      2084214750       11/11/2011       13:22:31
1996      2084215085       9/17/2012        9:02:10
1997      2084217718       2/17/2012        18:37:36
1998      2084301685       7/20/2011        13:58:35
1999      2084316655       9/20/2011        20:48:14
2000      2084401375       1/19/2012        13:51:44
2001      2084405033       9/3/2012         14:40:34
2002      2084405568       12/8/2011        19:37:18
2003      2084406611       1/3/2012         19:51:36
2004      2084422974       10/20/2012       16:33:35
2005      2084464128       6/14/2012        20:48:44
2006      2084468834       1/14/2012        13:32:11
2007      2084477951       11/8/2011        14:02:29
2008      2084509330       10/23/2012       16:02:18
2009      2084791110       10/17/2011       9:09:57
2010      2084811148       12/16/2011       16:33:35
2011      2085039478       10/16/2012       20:33:05
2012      2085127494       4/27/2012        11:47:43
2013      2085149492       1/6/2012         15:03:53
2014      2085150028       10/8/2011        12:10:43
2015      2085155091       3/14/2012        19:47:49
2016      2085155417       4/19/2012        20:17:56
2017      2085155558       3/10/2012        9:32:58
2018      2085158600       2/24/2012        20:57:24
2019      2085204777       1/18/2012        16:44:35
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2020      2085214395       10/28/2011       13:44:25
2021      2085234014       10/20/2011       16:34:00
2022      2085293071       8/2/2012         11:31:33
2023      2085293848       9/19/2011        19:18:47
2024      2085364698       6/15/2012        16:38:39
2025      2085364698       7/27/2012        15:26:19
2026      2085390455       9/13/2011        18:07:55
2027      2085393203       2/8/2012         12:59:44
2028      2085402373       8/2/2012         18:51:41
2029      2085591329       5/12/2011        10:34:20
2030      2085595896       9/16/2011        13:36:52
2031      2085596288       11/22/2013       12:59:53
2032      2085691347       11/5/2011        10:27:17
2033      2085691769       9/8/2011         19:35:18
2034      2085697084       10/1/2011        10:54:43
2035      2085701124       12/5/2011        9:01:50
2036      2085702911       11/15/2011       20:10:23
2037      2085703161       3/15/2011        12:08:05
2038      2085704705       7/10/2012        11:59:53
2039      2085707673       2/10/2012        16:56:58
2040      2085713497       7/16/2012        19:26:31
2041      2085718513       3/22/2012        14:05:16
2042      2085719028       12/5/2011        9:47:30
2043      2085736395       3/16/2012        11:53:46
2044      2085736680       10/17/2012       12:54:55
2045      2085770911       10/3/2011        10:38:55
2046      2085777312       12/28/2011       11:06:17
2047      2085822510       7/5/2012         15:29:32
2048      2085854108       7/31/2012        15:42:15
2049      2085902528       3/6/2012         20:26:19
2050      2085903141       5/17/2012        7:01:52
2051      2085904986       10/8/2012        9:14:35
2052      2085968811       3/13/2012        18:51:51
2053      2085974172       3/9/2012         15:49:34
2054      2085974428       1/13/2012        10:43:09
2055      2085975411       1/19/2012        10:19:50
2056      2085990716       5/20/2012        15:51:06
2057      2085993716       11/11/2011       13:48:19
2058      2086020891       11/11/2011       17:03:30
2059      2086021164       11/11/2011       20:11:45
2060      2086022236       9/13/2012        15:18:00
2061      2086023220       10/17/2012       9:46:23
2062      2086023555       9/20/2011        16:54:31
2063      2086024744       9/22/2011        16:13:58
2064      2086028721       8/9/2012         14:04:09
2065      2086029721       1/6/2012         13:05:54
2066      2086029731       9/22/2011        16:15:47
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2067      2086042433       9/21/2011        19:36:07
2068      2086045547       6/15/2012        9:08:49
2069      2086104630       6/27/2012        12:26:37
2070      2086104939       2/10/2012        20:42:46
2071      2086108648       3/10/2011        18:04:42
2072      2086250607       11/16/2011       10:17:02
2073      2086250781       5/18/2012        12:18:34
2074      2086250916       9/20/2011        16:57:00
2075      2086315030       10/8/2011        10:11:52
2076      2086315031       10/15/2011       11:02:27
2077      2086370466       1/27/2012        18:06:05
2078      2086509853       10/18/2012       16:51:18
2079      2086510376       11/18/2011       13:15:27
2080      2086518091       9/22/2011        15:35:57
2081      2086518091       10/5/2011        14:52:33
2082      2086518091       10/13/2011       10:36:56
2083      2086595622       12/9/2011        15:46:08
2084      2086599667       10/20/2011       16:41:26
2085      2086609928       2/29/2012        17:36:03
2086      2086618321       6/7/2012         18:25:37
2087      2086701743       1/6/2012         13:08:16
2088      2086703434       9/17/2011        9:48:54
2089      2086801941       1/3/2012         11:23:55
2090      2086808259       10/25/2011       16:35:19
2091      2086808259       12/23/2011       15:12:53
2092      2086808269       11/7/2011        9:06:42
2093      2086810187       5/15/2012        19:13:00
2094      2086817566       3/6/2012         13:26:56
2095      2086820977       4/26/2012        11:41:55
2096      2086971974       3/12/2012        11:23:16
2097      2086972854       6/25/2012        13:49:28
2098      2086972946       10/3/2011        10:41:04
2099      2086977735       9/13/2011        13:33:59
2100      2086994848       2/8/2012         13:16:22
2101      2086995071       9/20/2011        18:58:05
2102      2086997407       2/6/2012         17:27:34
2103      2086997654       6/23/2012        16:31:27
2104      2087030319       1/16/2012        17:36:54
2105      2087031537       8/25/2011        17:05:52
2106      2087031689       9/28/2011        9:30:52
2107      2087034097       3/2/2012         19:18:00
2108      2087034621       10/9/2012        20:01:59
2109      2087038347       5/10/2012        16:10:36
2110      2087038347       6/19/2012        15:07:13
2111      2087038416       9/19/2011        14:51:56
2112      2087038416       9/27/2011        15:32:58
2113      2087039481       2/6/2012         10:03:31
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2114      2087039481       3/7/2012         18:34:55
2115      2087039708       1/23/2012        19:19:18
2116      2087039708       2/9/2012         20:32:51
2117      2087039834       10/13/2011       9:37:48
2118      2087040000       2/10/2012        20:43:46
2119      2087041907       11/23/2011       14:46:46
2120      2087045542       11/26/2011       13:54:44
2121      2087048399       12/9/2011        13:38:48
2122      2087053748       10/8/2011        12:05:42
2123      2087054891       5/23/2012        15:22:18
2124      2087056402       9/17/2012        9:00:53
2125      2087057321       9/9/2011         18:28:37
2126      2087090442       1/13/2014        9:02:48
2127      2087132251       4/12/2012        18:26:00
2128      2087132443       5/10/2012        14:51:49
2129      2087135568       9/20/2011        20:37:09
2130      2087135829       3/29/2012        16:29:06
2131      2087136829       3/13/2012        18:52:34
2132      2087137384       10/15/2011       11:00:48
2133      2087137832       12/2/2011        14:29:45
2134      2087207539       12/21/2011       20:00:15
2135      2087244042       10/20/2012       16:24:19
2136      2087244290       1/13/2012        17:29:45
2137      2087248979       2/17/2012        18:13:16
2138      2087391085       12/23/2011       14:22:24
2139      2087397070       9/10/2011        9:02:52
2140      2087397870       4/11/2012        13:17:53
2141      2087397870       4/23/2012        13:18:17
2142      2087404217       9/8/2011         18:13:01
2143      2087404866       12/15/2011       9:03:14
2144      2087404866       5/31/2012        15:10:06
2145      2087409160       5/1/2012         17:50:45
2146      2087552619       3/14/2011        17:32:34
2147      2087558735       7/20/2012        11:22:07
2148      2087559912       12/16/2011       16:43:49
2149      2087571336       11/9/2011        9:22:30
2150      2087572034       1/4/2012         20:18:02
2151      2087573944       11/23/2011       10:42:34
2152      2087663358       10/18/2012       16:32:15
2153      2087713712       10/22/2012       18:05:30
2154      2087919710       12/1/2011        10:36:53
2155      2087940298       6/16/2012        10:12:19
2156      2087947492       2/25/2012        11:09:34
2157      2087949551       5/7/2012         21:41:30
2158      2088163099       3/21/2012        18:40:49
2159      2088168179       7/11/2012        17:16:18
2160      2088180303       12/14/2011       18:04:47
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2161      2088180526       7/19/2012        17:34:13
2162      2088181205       9/23/2011        19:06:17
2163      2088182629       5/30/2012        12:58:34
2164      2088183355       3/28/2012        18:17:25
2165      2088183355       6/5/2012         17:50:20
2166      2088195262       10/7/2012        13:15:42
2167      2088212704       10/7/2011        8:12:16
2168      2088271000       12/5/2011        18:19:15
2169      2088300291       7/31/2012        15:42:05
2170      2088300813       5/8/2012         10:03:19
2171      2088307094       10/5/2011        14:10:01
2172      2088308399       4/10/2012        15:52:56
2173      2088411056       11/18/2011       13:18:41
2174      2088413768       2/3/2012         14:38:41
2175      2088417790       9/12/2011        14:40:39
2176      2088503637       3/30/2012        16:14:34
2177      2088504321       6/8/2011         19:02:57
2178      2088507882       2/11/2012        15:19:01
2179      2088591777       9/30/2013        20:21:51
2180      2088594959       3/29/2012        11:42:55
2181      2088596551       1/3/2012         11:09:53
2182      2088597390       9/17/2011        10:26:00
2183      2088605969       1/4/2012         11:27:22
2184      2088614144       7/7/2012         10:28:46
2185      2088615807       3/12/2012        16:52:13
2186      2088630120       3/2/2012         19:04:23
2187      2088632847       5/21/2012        9:03:46
2188      2088660966       12/22/2011       9:56:59
2189      2088663264       10/8/2011        10:08:12
2190      2088668867       12/12/2011       16:25:23
2191      2088673987       5/2/2012         13:18:23
2192      2088699213       8/3/2012         12:35:35
2193      2088699236       10/6/2011        17:07:09
2194      2088703179       5/16/2012        16:58:27
2195      2088704913       12/18/2011       16:39:40
2196      2088710043       2/15/2012        11:19:51
2197      2088808034       12/5/2011        18:17:59
2198      2088818585       10/27/2011       16:57:45
2199      2088903088       3/14/2012        20:01:43
2200      2088993900       3/13/2012        18:52:28
2201      2088995417       11/15/2011       16:39:22
2202      2088995891       4/12/2012        12:23:24
2203      2089082891       12/24/2011       9:19:20
2204      2089088770       9/21/2011        12:02:32
2205      2089088798       11/15/2011       15:53:45
2206      2089088798       12/2/2011        14:42:49
2207      2089089367       9/13/2011        16:30:58
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2208      2089140833       10/8/2011        12:16:52
2209      2089148638       5/21/2012        17:03:17
2210      2089148782       10/8/2011        10:09:57
2211      2089190063       6/5/2012         17:54:32
2212      2089190499       9/21/2011        19:36:01
2213      2089190891       11/14/2011       15:20:45
2214      2089197548       12/12/2011       16:40:56
2215      2089219482       9/11/2012        15:16:09
2216      2089220578       1/19/2012        13:51:20
2217      2089358029       6/12/2012        17:18:16
2218      2089401890       5/21/2012        9:06:54
2219      2089460792       9/19/2011        14:48:46
2220      2089463600       9/23/2011        11:22:55
2221      2089467339       1/9/2012         18:48:39
2222      2089467905       3/16/2012        10:09:53
2223      2089496880       9/22/2011        16:15:18
2224      2089541316       10/6/2011        18:02:34
2225      2089640558       11/16/2011       11:05:26
2226      2089641658       6/22/2012        10:38:29
2227      2089642299       9/20/2011        16:53:19
2228      2089642500       3/10/2011        18:01:41
2229      2089642529       2/18/2012        10:15:40
2230      2089643847       7/19/2012        17:40:51
2231      2089646291       3/26/2012        18:48:09
2232      2089653736       7/11/2012        15:55:09
2233      2089656342       3/26/2011        12:35:38
2234      2089688514       9/27/2012        13:23:11
2235      2089690081       9/28/2011        9:32:10
2236      2089690081       10/7/2011        9:48:27
2237      2089870111       6/27/2012        12:28:30
2238      2089891181       2/18/2012        9:13:52
2239      2089918079       11/23/2011       14:58:36
2240      2089930474       1/27/2012        11:53:58
2241      2092003399       10/14/2011       13:33:08
2242      2092014219       11/7/2011        11:12:24
2243      2092014219       3/22/2012        14:31:15
2244      2092014728       8/17/2012        21:23:58
2245      2092016018       8/2/2012         18:58:57
2246      2092016726       9/22/2011        16:21:31
2247      2092017147       7/21/2011        14:31:45
2248      2092022596       9/20/2012        14:43:18
2249      2092026514       5/7/2012         21:40:05
2250      2092027537       9/21/2012        15:31:27
2251      2092028267       4/30/2012        14:40:16
2252      2092028267       5/6/2012         21:10:19
2253      2092029013       11/16/2011       20:03:27
2254      2092042136       11/9/2011        10:28:43
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2255      2092043783       10/12/2011       11:50:22
2256      2092046208       1/7/2012         10:21:31
2257      2092047712       2/13/2012        18:33:16
2258      2092048620       11/7/2011        11:03:01
2259      2092048986       10/11/2011       17:41:05
2260      2092058256       9/16/2011        14:10:23
2261      2092060252       7/30/2012        13:21:14
2262      2092071412       12/7/2011        14:21:52
2263      2092140121       6/11/2012        17:41:33
2264      2092140977       9/5/2012         15:22:25
2265      2092141167       9/20/2011        20:51:47
2266      2092141453       7/27/2011        17:46:21
2267      2092142095       10/11/2012       18:42:37
2268      2092142788       11/18/2011       13:26:33
2269      2092142929       3/19/2012        19:27:10
2270      2092143621       3/21/2012        18:38:25
2271      2092145603       2/14/2012        10:03:32
2272      2092166782       6/2/2012         13:10:50
2273      2092211487       3/20/2012        20:02:44
2274      2092212804       9/14/2011        12:40:04
2275      2092241606       6/19/2012        13:17:14
2276      2092247399       4/27/2012        21:05:14
2277      2092290448       11/28/2011       12:27:28
2278      2092300622       4/3/2012         20:13:54
2279      2092303128       9/10/2011        12:42:43
2280      2092304091       3/5/2012         10:59:25
2281      2092306166       9/29/2011        15:26:11
2282      2092410574       3/25/2012        12:16:24
2283      2092424992       7/11/2011        12:36:30
2284      2092445147       10/10/2011       12:58:19
2285      2092445316       10/7/2011        17:44:25
2286      2092446411       8/21/2012        14:04:49
2287      2092446784       1/20/2012        20:36:35
2288      2092448657       8/30/2012        10:50:32
2289      2092561724       9/20/2011        20:38:13
2290      2092564305       5/5/2012         12:20:43
2291      2092564614       10/6/2011        17:56:51
2292      2092564614       12/12/2011       16:25:24
2293      2092613093       5/14/2012        15:42:38
2294      2092613652       9/14/2011        12:40:38
2295      2092638519       9/22/2011        16:20:16
2296      2092638664       11/12/2011       11:05:33
2297      2092710666       8/5/2011         18:18:41
2298      2092710856       11/18/2011       13:35:00
2299      2092712133       1/11/2012        10:57:15
2300      2092712475       10/8/2012        12:48:27
2301      2092712475       10/20/2012       16:25:07
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2302      2092713287       10/22/2011       13:20:09
2303      2092713456       5/3/2012         21:16:34
2304      2092713980       9/10/2012        10:26:20
2305      2092714049       3/2/2012         19:05:25
2306      2092715033       3/26/2012        15:05:17
2307      2092715033       3/29/2012        16:36:34
2308      2092715890       5/1/2012         17:31:08
2309      2092715890       6/5/2012         18:01:23
2310      2092717201       7/19/2012        17:35:04
2311      2092719464       9/4/2012         21:51:50
2312      2092755402       11/25/2011       18:37:56
2313      2092771591       9/10/2012        10:26:15
2314      2092777997       10/24/2012       14:51:36
2315      2092778177       9/20/2012        14:44:24
2316      2092980305       3/7/2012         19:00:22
2317      2092989651       10/1/2011        10:10:13
2318      2093031224       10/14/2011       19:30:45
2319      2093038022       10/10/2011       13:04:04
2320      2093041177       8/28/2012        21:56:07
2321      2093047546       10/5/2012        18:36:28
2322      2093211677       10/10/2011       13:02:03
2323      2093212397       9/9/2011         18:37:20
2324      2093218538       3/25/2012        12:16:25
2325      2093243775       10/6/2011        17:09:22
2326      2093243852       8/23/2011        19:34:38
2327      2093245196       7/11/2011        12:34:13
2328      2093245196       9/14/2011        21:32:31
2329      2093271239       1/12/2012        14:10:22
2330      2093272771       2/15/2012        21:03:14
2331      2093274223       4/10/2012        12:02:40
2332      2093375643       9/10/2011        12:45:25
2333      2093375894       2/28/2012        13:40:10
2334      2093394908       2/18/2012        10:21:06
2335      2093419490       1/25/2012        20:28:36
2336      2093451090       2/28/2012        13:21:33
2337      2093451348       8/23/2012        21:06:40
2338      2093459807       5/29/2012        10:58:51
2339      2093465278       2/10/2012        20:36:46
2340      2093469825       12/28/2011       21:11:16
2341      2093469825       5/8/2012         10:07:08
2342      2093498212       7/16/2012        19:26:32
2343      2093511117       9/24/2011        10:03:28
2344      2093511242       7/13/2012        18:31:00
2345      2093512200       10/12/2011       11:42:05
2346      2093514430       12/19/2011       11:20:59
2347      2093515444       6/2/2012         12:52:25
2348      2093528708       6/26/2012        21:14:19
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2349      2093540115       9/28/2012        14:17:08
2350      2093568605       9/18/2012        14:29:48
2351      2093663122       1/18/2012        10:13:49
2352      2093730833       11/11/2011       13:26:15
2353      2093800387       10/7/2011        10:39:11
2354      2093805544       9/21/2011        11:38:57
2355      2093806008       10/18/2012       16:39:40
2356      2093808635       4/24/2012        12:13:41
2357      2093862199       10/20/2012       16:34:49
2358      2093863701       1/4/2012         11:11:08
2359      2093902372       11/26/2011       12:09:10
2360      2093903175       8/8/2013         15:39:22
2361      2094017201       12/27/2011       14:22:31
2362      2094022176       5/7/2012         14:58:19
2363      2094029519       10/13/2011       10:40:02
2364      2094053197       4/25/2012        21:22:46
2365      2094057258       6/25/2012        21:53:00
2366      2094057624       12/24/2011       11:31:08
2367      2094058514       4/14/2012        10:20:04
2368      2094061233       11/23/2011       14:46:24
2369      2094061841       3/26/2012        15:05:43
2370      2094061841       4/4/2012         14:00:44
2371      2094061841       4/25/2012        21:24:26
2372      2094065177       9/14/2011        21:25:07
2373      2094082274       5/19/2012        16:08:08
2374      2094082274       5/30/2012        16:57:48
2375      2094083135       4/24/2012        12:00:51
2376      2094084193       8/29/2012        11:16:25
2377      2094084282       4/4/2012         14:22:48
2378      2094085200       5/8/2012         21:08:36
2379      2094086006       9/14/2011        21:24:58
2380      2094087984       12/1/2011        15:11:40
2381      2094089171       3/12/2012        19:33:42
2382      2094089593       12/14/2011       18:05:35
2383      2094091568       7/16/2012        19:53:48
2384      2094095464       10/21/2011       13:39:24
2385      2094097702       10/20/2011       20:56:20
2386      2094099665       9/9/2011         18:10:13
2387      2094101734       12/20/2011       19:41:09
2388      2094102034       12/18/2011       16:52:23
2389      2094102344       2/3/2012         14:28:19
2390      2094102344       10/18/2012       16:32:58
2391      2094103406       9/21/2011        12:03:05
2392      2094103998       6/1/2012         10:51:53
2393      2094104997       9/22/2011        16:20:08
2394      2094161465       10/4/2011        13:59:20
2395      2094161806       10/17/2012       12:45:42
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2396      2094161857       8/28/2012        12:02:06
2397      2094168068       9/26/2012        14:43:44
2398      2094185235       5/19/2012        11:05:07
2399      2094191436       10/1/2011        10:08:11
2400      2094232637       8/24/2012        21:03:02
2401      2094233813       10/22/2011       13:23:57
2402      2094234447       6/13/2012        20:00:35
2403      2094239109       7/3/2012         19:33:05
2404      2094301784       10/8/2011        10:14:03
2405      2094302460       11/11/2011       13:26:21
2406      2094303097       9/1/2012         11:50:44
2407      2094303953       4/24/2012        21:04:34
2408      2094304062       6/21/2012        18:54:14
2409      2094305553       9/19/2011        14:58:06
2410      2094500404       1/9/2012         18:19:02
2411      2094500578       2/20/2012        17:16:34
2412      2094500871       1/12/2012        10:10:28
2413      2094502863       4/9/2012         13:40:48
2414      2094502906       9/14/2011        21:37:02
2415      2094502977       11/11/2011       20:15:50
2416      2094503669       9/10/2011        12:44:33
2417      2094517425       8/21/2012        14:05:38
2418      2094517744       5/23/2012        15:03:45
2419      2094518467       9/21/2011        11:39:46
2420      2094562728       10/1/2011        11:00:50
2421      2094562728       10/26/2011       13:24:11
2422      2094700320       12/27/2011       14:24:36
2423      2094702549       3/27/2012        15:08:30
2424      2094704354       10/18/2012       14:33:59
2425      2094704354       10/23/2012       16:23:15
2426      2094715477       3/19/2012        11:48:43
2427      2094798127       3/15/2012        19:00:29
2428      2094799448       6/6/2012         21:17:57
2429      2094811786       10/24/2012       21:11:52
2430      2094819556       12/27/2011       14:25:58
2431      2094821089       9/18/2012        21:30:03
2432      2094826434       9/20/2011        16:59:40
2433      2094826434       9/30/2011        10:11:36
2434      2094828877       10/1/2012        13:53:14
2435      2094844453       12/1/2011        15:33:02
2436      2094850282       2/28/2012        16:09:44
2437      2094851014       1/18/2012        16:55:34
2438      2094855917       9/13/2011        18:21:44
2439      2094858297       7/10/2012        21:13:24
2440      2094858628       4/7/2012         12:19:43
2441      2094890635       5/20/2012        15:55:25
2442      2094895025       9/7/2012         15:58:09
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2443      2094895988       1/23/2012        8:31:11
2444      2094952560       4/4/2012         14:09:12
2445      2094954084       2/20/2012        12:59:16
2446      2094954969       5/15/2012        11:12:18
2447      2094956653       7/12/2012        20:02:07
2448      2094960581       12/12/2011       11:58:21
2449      2094961465       4/28/2012        10:20:29
2450      2094966493       12/18/2011       17:44:58
2451      2094968187       10/24/2011       14:28:46
2452      2094990309       11/8/2011        14:43:34
2453      2094991041       4/23/2012        20:45:24
2454      2094996057       1/16/2012        17:38:15
2455      2095051408       6/5/2012         17:49:59
2456      2095051408       6/20/2012        17:03:58
2457      2095056448       9/28/2012        14:17:02
2458      2095058833       9/10/2011        12:38:04
2459      2095076565       1/12/2012        10:08:16
2460      2095076669       4/26/2012        21:11:50
2461      2095079187       4/11/2012        21:50:14
2462      2095079662       3/31/2012        22:36:24
2463      2095095351       11/2/2011        14:34:04
2464      2095097769       7/6/2012         14:43:40
2465      2095131226       10/1/2011        10:53:52
2466      2095132965       10/11/2011       16:37:19
2467      2095138651       3/5/2012         11:06:01
2468      2095180295       7/28/2012        11:13:26
2469      2095183870       4/12/2012        18:23:34
2470      2095186395       12/7/2011        18:03:30
2471      2095187427       10/14/2011       14:50:18
2472      2095188778       5/28/2012        10:10:28
2473      2095189910       7/16/2012        14:29:03
2474      2095315232       5/17/2012        17:04:14
2475      2095340187       9/12/2011        14:36:11
2476      2095342610       6/22/2012        21:01:41
2477      2095343524       4/24/2012        21:05:47
2478      2095343989       6/28/2012        14:17:05
2479      2095345848       5/4/2012         15:32:01
2480      2095347203       8/19/2012        12:06:38
2481      2095348069       5/15/2012        19:03:32
2482      2095349466       12/7/2011        14:21:38
2483      2095349466       8/24/2012        21:04:27
2484      2095350150       2/2/2012         16:44:49
2485      2095375039       3/1/2012         17:36:56
2486      2095378867       11/19/2011       10:43:38
2487      2095416916       6/26/2012        16:17:27
2488      2095432824       5/28/2012        10:48:38
2489      2095562720       3/1/2012         17:33:53
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2490      2095567336       11/15/2011       20:11:56
2491      2095596789       6/28/2012        14:17:45
2492      2095663503       1/27/2012        17:50:56
2493      2095680626       5/18/2012        16:05:12
2494      2095685159       5/30/2012        12:59:11
2495      2095686017       9/2/2011         13:21:02
2496      2095689176       10/19/2012       19:13:16
2497      2095689602       1/27/2012        21:55:53
2498      2095701330       2/21/2012        16:22:23
2499      2095701373       11/19/2011       10:44:57
2500      2095701600       5/8/2012         21:07:53
2501      2095707752       12/21/2011       10:01:33
2502      2095708023       2/28/2012        15:56:45
2503      2095708454       10/18/2012       16:33:03
2504      2095709689       12/14/2011       21:54:19
2505      2095730623       8/16/2012        19:49:59
2506      2095765072       5/8/2012         12:37:36
2507      2095794479       5/12/2012        10:55:52
2508      2095818064       10/16/2012       16:30:43
2509      2095818064       10/25/2012       19:40:56
2510      2095818519       8/11/2012        12:26:23
2511      2095895047       9/11/2012        21:25:42
2512      2095896326       11/25/2011       17:59:43
2513      2095945183       11/22/2011       18:56:51
2514      2095945211       1/5/2012         14:10:10
2515      2095945310       4/19/2012        20:18:26
2516      2095947055       1/12/2012        14:10:29
2517      2095952633       1/16/2012        17:39:02
2518      2095957248       9/19/2011        19:36:17
2519      2095957930       10/1/2011        11:02:08
2520      2095965565       3/18/2012        12:27:26
2521      2095967752       12/10/2011       12:32:11
2522      2095968551       10/6/2011        17:25:16
2523      2095972447       2/28/2012        13:10:41
2524      2095974674       1/6/2012         14:43:35
2525      2095980150       3/20/2012        20:01:34
2526      2095981061       4/11/2012        13:14:02
2527      2095983086       7/26/2013        21:18:29
2528      2095988013       10/31/2011       10:20:13
2529      2096021478       12/7/2011        13:51:39
2530      2096022173       5/26/2012        14:44:50
2531      2096022745       2/3/2012         14:31:24
2532      2096034255       12/28/2011       21:13:20
2533      2096036052       4/7/2012         12:20:01
2534      2096041459       8/31/2012        16:41:36
2535      2096042882       11/9/2011        10:24:12
2536      2096045208       3/2/2012         15:32:53
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2537      2096049544       4/25/2012        21:26:47
2538      2096052463       10/17/2011       10:58:52
2539      2096053485       6/21/2012        10:07:54
2540      2096053607       10/24/2011       14:55:44
2541      2096054668       12/21/2011       19:57:48
2542      2096055299       10/12/2011       11:55:22
2543      2096063964       8/10/2011        18:08:07
2544      2096066273       1/5/2012         12:08:56
2545      2096066273       5/8/2012         21:29:08
2546      2096069923       11/15/2011       20:16:50
2547      2096082340       1/3/2012         19:46:05
2548      2096092340       9/8/2011         19:54:52
2549      2096105576       5/9/2012         14:38:06
2550      2096131952       2/1/2012         18:44:23
2551      2096141230       10/14/2011       13:36:38
2552      2096141347       1/17/2012        17:15:32
2553      2096147202       8/15/2012        21:43:31
2554      2096172639       8/8/2011         16:09:33
2555      2096172659       7/2/2012         17:29:43
2556      2096176349       3/9/2012         15:48:48
2557      2096201615       1/5/2012         14:08:45
2558      2096226742       8/11/2012        12:25:42
2559      2096226914       9/16/2011        13:09:35
2560      2096227691       9/30/2011        12:42:50
2561      2096237122       7/18/2012        18:33:39
2562      2096238783       3/5/2012         13:51:23
2563      2096238783       4/4/2012         14:11:05
2564      2096238865       12/22/2011       10:04:59
2565      2096239113       9/8/2011         18:22:42
2566      2096257762       7/2/2012         17:12:03
2567      2096277269       10/22/2011       12:50:36
2568      2096280579       10/10/2012       12:50:12
2569      2096281239       6/21/2012        18:56:33
2570      2096281462       10/19/2012       19:06:41
2571      2096286213       3/30/2012        16:11:09
2572      2096291182       4/20/2012        20:49:49
2573      2096311433       5/5/2012         12:32:40
2574      2096311948       2/13/2012        18:33:31
2575      2096315874       3/19/2012        19:40:09
2576      2096317337       6/25/2012        21:48:06
2577      2096317575       10/6/2011        18:02:40
2578      2096395023       8/19/2011        12:29:40
2579      2096400696       7/25/2012        12:14:01
2580      2096400696       7/28/2012        11:09:44
2581      2096401975       8/23/2011        19:29:18
2582      2096405269       11/7/2011        11:15:52
2583      2096405819       1/3/2012         19:45:36
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2584      2096406366       5/26/2012        14:43:00
2585      2096406646       6/14/2012        20:48:29
2586      2096407674       11/16/2011       11:10:16
2587      2096422729       9/28/2011        10:42:44
2588      2096480131       11/16/2011       20:10:43
2589      2096484366       10/10/2011       12:06:52
2590      2096486891       10/26/2011       13:19:57
2591      2096486891       12/14/2011       18:05:18
2592      2096580053       12/15/2011       10:20:04
2593      2096580281       2/17/2012        18:25:18
2594      2096581717       10/19/2012       11:33:25
2595      2096583632       2/4/2012         13:20:06
2596      2096584950       4/25/2012        18:42:08
2597      2096630349       2/16/2012        11:24:36
2598      2096633370       7/5/2012         10:46:02
2599      2096636010       12/8/2011        20:51:28
2600      2096639662       10/12/2011       11:51:38
2601      2096689184       10/26/2011       13:34:25
2602      2096704944       2/9/2012         14:38:17
2603      2096751507       10/12/2012       17:01:27
2604      2096755932       10/20/2011       21:11:36
2605      2096756930       3/13/2012        12:54:13
2606      2096760796       6/5/2012         17:55:23
2607      2096761257       9/29/2012        10:10:49
2608      2096761996       4/11/2012        19:38:45
2609      2096761996       5/6/2012         21:08:53
2610      2096784375       7/12/2011        12:33:50
2611      2096786745       1/26/2012        10:05:23
2612      2096793609       9/14/2012        10:52:11
2613      2096799166       2/11/2012        11:24:57
2614      2096799678       1/8/2012         16:48:05
2615      2096812495       4/7/2012         12:21:59
2616      2096815721       10/14/2011       13:35:31
2617      2096816716       3/12/2012        11:14:28
2618      2096817815       12/11/2011       11:53:09
2619      2096818500       5/3/2012         10:06:44
2620      2096846500       3/16/2012        10:25:50
2621      2096881292       9/29/2011        15:59:04
2622      2096882024       12/20/2011       15:07:16
2623      2096882029       11/20/2011       11:11:29
2624      2096882944       1/20/2012        11:35:48
2625      2096883043       3/31/2012        22:33:41
2626      2096883043       7/27/2012        21:12:32
2627      2096883704       12/8/2011        20:48:22
2628      2096885836       8/9/2012         22:00:46
2629      2096886641       10/1/2012        21:35:44
2630      2096887010       10/15/2011       11:11:28
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2631      2096887271       7/28/2012        11:16:11
2632      2096887399       8/20/2012        10:17:04
2633      2096887424       11/16/2011       20:02:34
2634      2096887471       4/27/2012        11:46:45
2635      2096887916       9/29/2011        15:59:11
2636      2096889366       6/25/2012        21:51:54
2637      2096889701       6/15/2012        16:53:46
2638      2097107025       7/6/2012         14:53:54
2639      2097107025       7/26/2012        19:24:33
2640      2097123696       10/20/2011       20:55:15
2641      2097126596       4/26/2012        11:44:06
2642      2097129027       9/19/2012        16:26:18
2643      2097206409       9/3/2012         14:44:01
2644      2097284666       10/18/2011       13:10:40
2645      2097358481       9/19/2012        16:26:09
2646      2097358902       9/1/2012         11:51:15
2647      2097359350       8/7/2012         17:46:00
2648      2097359720       3/8/2012         20:36:24
2649      2097431666       10/1/2012        21:35:24
2650      2097434009       5/4/2012         15:30:19
2651      2097471846       11/2/2011        14:33:52
2652      2097474817       9/26/2011        13:29:38
2653      2097475775       11/17/2011       16:35:23
2654      2097479201       11/4/2011        10:17:41
2655      2097521072       3/28/2012        12:40:44
2656      2097521178       1/20/2012        20:31:39
2657      2097521185       12/18/2011       17:00:51
2658      2097521642       12/2/2011        15:36:25
2659      2097521665       10/8/2011        12:24:00
2660      2097522206       9/20/2011        20:38:54
2661      2097522307       1/12/2012        14:37:05
2662      2097522353       9/24/2011        10:09:50
2663      2097522353       10/11/2011       16:35:17
2664      2097564299       4/24/2012        21:02:15
2665      2097568167       9/8/2011         19:38:21
2666      2097569466       10/22/2012       18:05:52
2667      2097655012       11/11/2011       20:16:29
2668      2097655726       3/27/2012        10:33:15
2669      2097655726       4/15/2012        17:55:42
2670      2097655726       5/5/2012         12:27:14
2671      2097656267       7/28/2012        11:08:54
2672      2097657839       12/9/2011        14:03:06
2673      2097681399       10/14/2011       14:50:03
2674      2097681399       10/20/2011       15:50:33
2675      2097687878       2/11/2012        15:19:45
2676      2097692807       9/10/2012        10:25:41
2677      2097694929       9/21/2011        12:03:36
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2678      2097706090       6/15/2012        16:23:43
2679      2097775873       5/17/2012        16:36:47
2680      2097777772       7/30/2012        13:43:11
2681      2097777882       9/20/2012        8:47:49
2682      2097815987       4/15/2012        17:47:39
2683      2098081487       2/13/2012        18:34:56
2684      2098081488       11/26/2011       13:52:24
2685      2098082732       4/19/2012        20:18:46
2686      2098082926       9/9/2011         18:40:12
2687      2098082936       11/18/2011       12:32:08
2688      2098082936       1/23/2012        10:19:28
2689      2098083262       5/4/2012         20:56:54
2690      2098083397       8/21/2012        21:48:44
2691      2098084005       10/25/2011       15:44:58
2692      2098084615       11/3/2011        18:06:42
2693      2098084849       9/24/2011        10:04:24
2694      2098084964       6/8/2012         10:14:11
2695      2098086045       10/3/2011        10:49:14
2696      2098088114       7/10/2012        21:11:26
2697      2098088354       2/1/2012         18:42:51
2698      2098101994       7/27/2012        21:56:10
2699      2098129260       12/29/2011       19:42:00
2700      2098177860       12/9/2011        16:11:57
2701      2098182436       7/22/2012        16:00:55
2702      2098182722       12/15/2011       10:18:46
2703      2098183358       10/27/2011       17:03:31
2704      2098183642       10/26/2011       13:34:40
2705      2098184090       9/26/2011        13:19:52
2706      2098184090       10/5/2011        14:51:12
2707      2098186220       9/4/2012         16:11:12
2708      2098191221       4/29/2012        18:08:23
2709      2098191221       6/9/2012         15:10:02
2710      2098199539       9/12/2011        14:34:24
2711      2098292767       10/25/2012       19:53:00
2712      2098292801       7/31/2012        15:45:43
2713      2098299755       4/27/2012        21:54:39
2714      2098344608       9/9/2011         18:10:14
2715      2098556830       2/20/2012        17:15:52
2716      2098728036       12/7/2011        14:26:37
2717      2098728214       8/5/2011         18:13:04
2718      2098745063       9/25/2012        15:00:19
2719      2098745996       6/6/2011         17:37:34
2720      2098887743       10/18/2011       13:10:41
2721      2098966635       5/2/2012         13:54:33
2722      2098984002       9/14/2011        21:31:26
2723      2098985912       10/22/2011       12:50:31
2724      2099102397       11/11/2011       20:29:09
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2725      2099128246       8/10/2012        10:24:55
2726      2099140215       6/5/2012         17:50:17
2727      2099147974       11/11/2011       14:36:48
2728      2099153098       5/26/2012        10:11:55
2729      2099156358       2/21/2012        16:18:57
2730      2099181469       3/9/2012         15:49:24
2731      2099181729       10/2/2012        13:01:23
2732      2099221090       1/25/2012        18:22:01
2733      2099221812       10/14/2011       13:33:11
2734      2099223128       7/13/2012        12:18:57
2735      2099224449       9/29/2012        10:19:40
2736      2099224792       2/3/2012         14:39:17
2737      2099225782       8/20/2012        10:15:01
2738      2099225916       2/12/2012        16:04:02
2739      2099226189       10/17/2011       11:05:16
2740      2099226899       3/12/2012        19:14:07
2741      2099227390       11/27/2011       15:36:44
2742      2099228973       11/17/2011       14:48:11
2743      2099229257       12/28/2011       11:08:18
2744      2099229844       11/15/2011       16:42:26
2745      2099470864       10/28/2011       14:37:47
2746      2099474399       12/5/2011        10:12:16
2747      2099477027       7/20/2012        19:51:22
2748      2099477987       6/18/2011        15:37:20
2749      2099478586       8/30/2012        10:52:09
2750      2099478827       7/12/2012        19:54:31
2751      2099542262       1/23/2012        19:23:13
2752      2099680677       12/8/2011        21:11:22
2753      2099688899       5/2/2012         13:55:22
2754      2099811283       10/12/2012       17:12:23
2755      2099811627       5/7/2011         15:29:39
2756      2099816093       11/17/2011       14:59:31
2757      2099818337       9/13/2012        21:29:10
2758      2099868957       10/19/2012       19:06:18
2759      2099880594       2/4/2012         13:17:44
2760      2099886245       4/3/2012         20:17:41
2761      2099887491       9/13/2011        13:45:43
2762      2099926147       9/13/2011        17:09:41
2763      2099929371       2/6/2012         17:24:56
2764      2099939119       10/5/2011        14:52:20
2765      2099961492       5/9/2011         17:43:40
2766      2099964841       10/22/2011       13:22:21
2767      2099968531       9/20/2011        20:40:17
2768      2099969690       5/25/2012        11:56:56
2769      2102044610       3/21/2012        13:50:10
2770      2102046174       6/22/2012        8:12:20
2771      2102046213       10/11/2011       17:30:25
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2772      2102046213       10/27/2011       16:52:49
2773      2102046213       11/21/2011       8:37:09
2774      2102046550       3/31/2012        8:17:41
2775      2102046550       4/16/2012        16:04:07
2776      2102048509       9/22/2011        16:06:38
2777      2102090580       3/23/2012        20:04:25
2778      2102090586       10/29/2011       11:40:11
2779      2102091355       9/30/2011        10:06:49
2780      2102091515       8/11/2012        9:43:11
2781      2102092573       9/19/2011        19:33:35
2782      2102092687       3/30/2012        16:16:53
2783      2102094202       1/14/2012        13:30:08
2784      2102094798       9/6/2011         12:53:46
2785      2102094842       10/10/2012       12:56:08
2786      2102095722       7/3/2012         12:21:30
2787      2102096261       6/29/2012        17:51:19
2788      2102096612       10/27/2011       16:48:43
2789      2102097049       10/18/2011       12:26:49
2790      2102097466       9/17/2011        10:21:47
2791      2102097736       10/6/2011        16:47:40
2792      2102130612       10/7/2011        8:11:28
2793      2102130616       11/29/2011       16:20:03
2794      2102134279       9/9/2011         18:26:37
2795      2102141016       10/11/2011       16:16:35
2796      2102141367       10/3/2011        8:17:31
2797      2102141806       12/7/2011        15:18:16
2798      2102141898       2/3/2012         20:03:04
2799      2102142202       12/20/2011       19:32:52
2800      2102142782       8/20/2012        18:44:01
2801      2102145174       4/14/2012        13:51:29
2802      2102147579       7/13/2012        14:03:36
2803      2102147669       11/9/2011        8:39:06
2804      2102149046       11/11/2011       13:45:12
2805      2102149732       12/17/2011       11:53:41
2806      2102149835       9/10/2011        8:34:08
2807      2102154481       10/17/2011       8:34:41
2808      2102166105       4/20/2012        14:32:36
2809      2102166446       9/10/2011        9:12:40
2810      2102167519       10/5/2011        14:43:29
2811      2102188738       3/30/2012        16:10:05
2812      2102193182       8/23/2011        19:16:25
2813      2102193665       8/29/2012        11:01:38
2814      2102320477       10/29/2011       11:36:22
2815      2102325869       7/18/2012        8:34:29
2816      2102329955       1/9/2012         18:45:15
2817      2102370669       10/19/2012       19:15:57
2818      2102373323       4/23/2012        20:39:34
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2819      2102376006       1/11/2012        9:01:45
2820      2102377276       3/6/2012         12:59:28
2821      2102377276       5/21/2012        8:02:32
2822      2102379454       9/17/2011        9:37:57
2823      2102405659       2/12/2012        15:48:14
2824      2102405659       5/4/2012         18:22:20
2825      2102408671       7/9/2012         8:51:25
2826      2102412924       10/17/2012       9:33:40
2827      2102413283       11/7/2011        9:24:01
2828      2102414273       12/28/2011       8:43:30
2829      2102416244       6/2/2012         12:46:11
2830      2102462199       8/24/2012        11:01:06
2831      2102462306       10/5/2012        18:19:05
2832      2102485356       11/18/2011       13:32:44
2833      2102511030       3/6/2012         7:53:51
2834      2102511030       10/22/2012       8:11:32
2835      2102511554       9/12/2011        13:19:59
2836      2102516248       12/26/2011       20:01:25
2837      2102518729       5/25/2012        8:17:51
2838      2102518831       7/18/2012        18:25:18
2839      2102542154       11/28/2011       12:09:35
2840      2102545569       7/30/2012        13:17:29
2841      2102559108       8/7/2012         17:53:34
2842      2102591018       5/3/2012         8:10:18
2843      2102597386       6/11/2012        8:20:33
2844      2102603653       2/25/2012        10:41:40
2845      2102604105       6/12/2012        10:31:47
2846      2102608933       8/1/2012         20:12:48
2847      2102623235       2/20/2012        8:44:13
2848      2102640799       4/16/2012        8:04:02
2849      2102641389       11/14/2011       14:49:59
2850      2102641389       1/4/2012         11:45:14
2851      2102649078       7/27/2012        15:41:18
2852      2102659623       8/6/2012         16:25:03
2853      2102659623       8/20/2012        18:55:02
2854      2102659623       10/3/2012        19:55:30
2855      2102677371       10/16/2012       20:31:18
2856      2102677373       3/16/2012        16:04:23
2857      2102686415       5/9/2012         8:39:04
2858      2102692728       11/15/2011       15:45:03
2859      2102692728       11/26/2011       13:36:35
2860      2102692922       2/28/2012        13:34:54
2861      2102694954       9/28/2011        10:30:00
2862      2102694954       5/17/2012        16:53:21
2863      2102695063       10/5/2012        18:24:00
2864      2102695473       10/8/2012        20:04:59
2865      2102699127       3/16/2012        15:52:03
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2866      2102699283       10/3/2012        20:02:45
2867      2102731174       9/10/2011        9:13:55
2868      2102732170       10/1/2012        13:47:12
2869      2102734877       8/10/2012        8:22:31
2870      2102741230       3/25/2012        12:05:59
2871      2102745500       8/7/2012         18:00:20
2872      2102749183       2/24/2012        20:54:24
2873      2102749913       10/11/2012       11:53:29
2874      2102750799       11/5/2011        11:31:19
2875      2102790002       12/6/2011        13:30:49
2876      2102794831       8/29/2012        11:24:12
2877      2102795029       9/10/2011        9:12:27
2878      2102799789       10/18/2011       13:06:46
2879      2102845024       11/1/2011        8:09:44
2880      2102866452       1/9/2012         18:43:23
2881      2102870440       7/26/2012        19:22:41
2882      2102873648       12/23/2011       13:27:42
2883      2102884571       5/13/2011        11:32:13
2884      2102890581       3/12/2012        11:17:03
2885      2102890838       10/5/2011        14:41:16
2886      2102890838       10/18/2011       14:35:45
2887      2102890838       11/15/2011       15:33:25
2888      2102890838       11/28/2011       17:55:38
2889      2102891141       10/7/2012        12:45:12
2890      2102891402       10/11/2011       17:21:00
2891      2102899795       9/10/2011        8:41:21
2892      2102900171       12/15/2011       8:06:14
2893      2102900171       4/5/2012         13:56:45
2894      2102900171       5/21/2012        8:17:37
2895      2102900175       1/13/2012        17:39:41
2896      2102900308       5/7/2011         15:07:31
2897      2102905237       10/20/2011       16:18:24
2898      2102907779       9/20/2011        18:30:50
2899      2102910588       11/11/2011       13:20:15
2900      2102911181       8/20/2012        20:51:32
2901      2102911684       7/25/2012        20:39:00
2902      2102911692       10/15/2011       9:32:33
2903      2102911988       7/11/2012        9:31:28
2904      2102913601       8/29/2012        11:01:20
2905      2102914151       6/27/2012        17:52:27
2906      2102916564       9/13/2011        18:04:46
2907      2103002604       7/18/2012        8:33:24
2908      2103002815       5/17/2011        9:38:52
2909      2103003362       12/9/2011        16:03:06
2910      2103007880       5/7/2011         15:12:31
2911      2103008807       6/5/2012         17:57:20
2912      2103022070       8/5/2011         18:46:25
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2913      2103022070       10/1/2011        9:57:02
2914      2103030887       5/15/2012        19:14:55
2915      2103034860       9/21/2011        11:35:32
2916      2103037384       1/9/2012         8:08:28
2917      2103049043       7/9/2012         8:49:37
2918      2103049261       10/1/2011        10:50:34
2919      2103049261       10/11/2011       16:29:07
2920      2103092675       10/22/2011       13:16:43
2921      2103092675       11/22/2011       18:44:58
2922      2103093497       7/23/2012        13:07:31
2923      2103094019       1/9/2012         8:04:12
2924      2103094890       9/27/2011        18:39:19
2925      2103094890       4/4/2012         8:08:05
2926      2103097219       12/27/2011       14:36:07
2927      2103097453       8/9/2011         12:55:10
2928      2103098802       8/21/2012        13:52:16
2929      2103099630       1/31/2012        10:03:44
2930      2103104198       9/12/2011        14:21:40
2931      2103104399       4/19/2012        14:33:28
2932      2103104453       9/24/2011        9:47:00
2933      2103104453       2/15/2012        12:35:52
2934      2103104453       3/2/2012         9:09:59
2935      2103105831       10/4/2011        13:53:42
2936      2103108279       9/19/2011        19:14:13
2937      2103130554       7/10/2012        11:58:13
2938      2103134663       8/14/2012        11:49:49
2939      2103136061       3/2/2012         9:16:37
2940      2103139111       11/9/2011        8:01:48
2941      2103150710       1/4/2012         20:13:19
2942      2103154786       4/18/2012        8:11:24
2943      2103159728       3/18/2011        9:49:51
2944      2103160543       11/15/2011       15:35:20
2945      2103160688       1/12/2012        8:19:55
2946      2103168592       12/23/2011       13:23:31
2947      2103168592       4/2/2012         9:05:49
2948      2103168875       11/11/2011       13:40:41
2949      2103169450       10/12/2011       8:16:30
2950      2103174554       6/27/2011        7:18:56
2951      2103220542       9/24/2011        9:18:30
2952      2103221898       12/5/2011        18:33:53
2953      2103222132       1/11/2012        8:49:10
2954      2103222132       6/12/2012        17:13:27
2955      2103223439       5/25/2011        17:41:35
2956      2103223751       10/3/2011        8:08:47
2957      2103223760       9/27/2012        16:23:59
2958      2103228679       9/24/2012        19:10:41
2959      2103229491       1/18/2012        16:41:08
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2960      2103229491       2/3/2012         20:02:07
2961      2103229844       8/13/2011        11:54:51
2962      2103231164       9/17/2012        8:37:45
2963      2103242773       10/17/2012       18:38:13
2964      2103245597       1/16/2012        17:33:25
2965      2103245611       7/30/2012        13:45:28
2966      2103246964       10/14/2011       13:27:36
2967      2103247526       1/28/2012        9:46:33
2968      2103249024       2/7/2012         20:25:05
2969      2103249024       3/7/2012         18:33:56
2970      2103254490       9/22/2011        16:03:47
2971      2103255463       8/28/2012        11:59:29
2972      2103255602       9/22/2011        15:28:38
2973      2103258418       6/23/2012        16:14:09
2974      2103259234       7/28/2012        8:38:14
2975      2103262812       10/7/2011        8:11:25
2976      2103266384       11/22/2011       18:49:02
2977      2103269474       1/10/2012        15:18:13
2978      2103286850       9/21/2012        15:55:42
2979      2103300035       1/31/2012        10:17:12
2980      2103310044       11/14/2011       17:02:53
2981      2103322835       11/1/2011        8:12:49
2982      2103328830       8/31/2012        16:29:50
2983      2103341605       9/8/2011         19:30:22
2984      2103347626       11/25/2011       17:49:06
2985      2103348008       10/22/2011       12:36:39
2986      2103349396       8/14/2012        11:37:39
2987      2103415823       1/6/2012         12:54:53
2988      2103418637       9/19/2011        19:17:17
2989      2103430500       3/15/2012        13:47:16
2990      2103471030       1/13/2012        12:42:26
2991      2103479709       8/23/2011        19:09:55
2992      2103551780       9/23/2011        11:18:02
2993      2103552325       10/18/2012       7:01:45
2994      2103553284       9/20/2011        16:45:25
2995      2103555626       2/4/2012         8:12:12
2996      2103620645       10/4/2011        13:49:47
2997      2103624389       12/5/2011        18:35:19
2998      2103630083       10/16/2012       8:46:13
2999      2103630492       10/22/2011       12:32:19
3000      2103630558       10/5/2011        14:44:18
3001      2103632287       10/10/2011       12:50:20
3002      2103632454       7/31/2012        15:36:21
3003      2103634083       2/17/2012        18:10:35
3004      2103639206       9/17/2012        8:36:58
3005      2103646946       9/23/2011        11:18:27
3006      2103650095       12/10/2011       14:47:10
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3007      2103651406       9/13/2011        14:40:14
3008      2103656613       10/3/2012        10:26:42
3009      2103658598       5/4/2012         20:54:00
3010      2103670205       9/11/2012        15:14:52
3011      2103670461       12/10/2011       12:16:45
3012      2103671591       11/2/2011        14:13:33
3013      2103671761       4/2/2012         17:14:43
3014      2103673301       9/30/2011        10:00:58
3015      2103673737       11/3/2011        18:00:34
3016      2103674094       10/1/2011        10:46:15
3017      2103675242       7/23/2011        14:04:11
3018      2103678115       12/29/2011       10:05:15
3019      2103686068       11/9/2011        8:28:56
3020      2103711718       10/5/2011        14:15:47
3021      2103712542       9/19/2011        19:13:12
3022      2103713428       10/25/2012       19:48:12
3023      2103714069       6/16/2012        15:14:50
3024      2103717458       10/1/2011        10:35:32
3025      2103719053       9/28/2011        11:13:21
3026      2103731358       5/5/2012         8:35:26
3027      2103731618       10/12/2011       8:32:46
3028      2103736432       12/17/2011       12:12:18
3029      2103736618       10/14/2011       13:26:57
3030      2103737549       11/3/2011        17:57:38
3031      2103740368       2/14/2012        10:07:43
3032      2103741622       9/30/2011        10:21:20
3033      2103742436       1/3/2012         11:21:30
3034      2103742743       10/15/2011       10:43:44
3035      2103743136       5/11/2012        18:10:42
3036      2103746073       1/14/2012        13:28:53
3037      2103746073       1/26/2012        10:10:33
3038      2103746312       9/26/2011        9:44:44
3039      2103746423       9/20/2011        20:30:44
3040      2103780082       6/21/2012        18:43:50
3041      2103780210       1/4/2012         11:21:38
3042      2103787910       3/7/2012         18:32:35
3043      2103790131       10/19/2011       12:22:14
3044      2103790295       9/19/2012        8:02:07
3045      2103791042       12/7/2011        15:20:08
3046      2103791390       5/22/2012        18:30:10
3047      2103792968       9/4/2012         16:07:48
3048      2103792968       9/21/2012        18:46:37
3049      2103798013       5/1/2012         8:10:47
3050      2103798013       9/28/2012        16:49:48
3051      2103803482       10/6/2011        17:49:38
3052      2103808598       5/30/2012        12:53:55
3053      2103814576       10/12/2011       8:33:58
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3054      2103816892       9/19/2011        19:33:34
3055      2103818764       11/4/2011        8:38:51
3056      2103819065       11/19/2011       8:23:23
3057      2103825422       5/23/2012        16:30:29
3058      2103833224       9/26/2011        9:46:39
3059      2103833855       10/6/2012        8:32:24
3060      2103836749       8/2/2012         11:38:19
3061      2103862356       5/5/2012         8:33:14
3062      2103871282       1/24/2012        17:06:52
3063      2103872551       9/27/2011        18:16:38
3064      2103872551       10/10/2011       12:52:38
3065      2103872551       12/10/2011       13:45:46
3066      2103873810       10/3/2012        19:52:34
3067      2103878111       5/29/2012        17:15:37
3068      2103879050       9/8/2011         19:30:52
3069      2103895780       5/28/2012        8:58:01
3070      2103910322       2/25/2012        11:01:18
3071      2103910550       9/8/2011         17:59:21
3072      2103912144       2/24/2012        20:52:27
3073      2103912221       1/11/2012        8:52:50
3074      2103920746       5/6/2012         18:08:05
3075      2103921615       8/23/2012        11:53:53
3076      2103921615       10/5/2012        18:16:45
3077      2103923191       4/13/2012        13:37:09
3078      2103923191       6/23/2012        16:14:35
3079      2103925182       11/18/2011       12:57:28
3080      2103925813       6/6/2012         8:19:02
3081      2103927752       11/2/2011        14:02:25
3082      2103928077       4/18/2012        18:03:20
3083      2103929730       3/2/2012         18:47:45
3084      2103930437       10/2/2012        8:36:19
3085      2103930479       5/16/2011        12:36:57
3086      2103930627       2/8/2012         13:08:48
3087      2103931412       9/25/2012        14:45:29
3088      2103933308       7/24/2012        14:46:54
3089      2103936725       3/17/2012        8:36:06
3090      2103936725       3/24/2012        10:06:31
3091      2103937409       4/19/2012        20:09:08
3092      2103937436       9/20/2011        16:45:26
3093      2103937583       2/9/2012         9:44:58
3094      2103939513       9/22/2011        15:28:04
3095      2103943721       10/8/2011        11:49:53
3096      2103944049       7/11/2012        17:22:21
3097      2103947281       12/27/2011       14:38:10
3098      2103949451       6/20/2012        9:06:52
3099      2103961354       10/8/2011        11:26:32
3100      2103962163       10/22/2011       13:07:53
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3101      2103962279       7/2/2012         17:29:52
3102      2103962581       7/25/2012        20:45:02
3103      2103963672       10/25/2011       16:24:38
3104      2103968483       9/21/2011        19:35:08
3105      2103969650       9/21/2011        11:56:49
3106      2103969803       9/19/2011        8:27:46
3107      2103969803       1/8/2012         13:15:44
3108      2104000607       2/6/2012         9:58:33
3109      2104001603       7/26/2011        10:36:39
3110      2104002323       8/14/2012        11:37:41
3111      2104008461       2/21/2012        11:16:49
3112      2104008461       5/11/2012        12:19:07
3113      2104008656       2/16/2012        8:31:56
3114      2104008866       8/30/2012        17:41:07
3115      2104008866       9/14/2012        8:09:13
3116      2104090409       1/4/2012         11:07:38
3117      2104090409       1/16/2012        17:15:28
3118      2104091162       10/5/2011        14:29:09
3119      2104091281       1/3/2012         11:22:29
3120      2104092312       8/29/2011        17:01:14
3121      2104092704       3/30/2012        17:03:22
3122      2104096455       8/25/2011        16:57:52
3123      2104097089       5/9/2011         17:07:59
3124      2104098840       1/26/2012        10:07:29
3125      2104098958       2/28/2012        13:18:44
3126      2104101627       2/14/2012        16:50:04
3127      2104102047       7/27/2012        13:11:07
3128      2104102636       9/19/2011        19:31:58
3129      2104104554       3/20/2012        9:31:47
3130      2104120627       11/15/2011       20:09:29
3131      2104120848       4/7/2012         9:35:41
3132      2104123368       12/2/2011        15:08:28
3133      2104125116       11/3/2011        17:58:31
3134      2104126972       11/4/2011        8:38:33
3135      2104132070       12/9/2011        16:03:37
3136      2104137070       11/5/2011        11:31:46
3137      2104139800       11/23/2011       14:38:22
3138      2104139840       7/22/2011        13:44:38
3139      2104140662       11/15/2011       20:14:21
3140      2104148223       3/6/2012         16:03:32
3141      2104148243       9/8/2011         18:09:02
3142      2104148584       9/22/2011        16:00:52
3143      2104149303       4/23/2012        20:34:20
3144      2104154198       2/9/2012         20:44:27
3145      2104156144       2/28/2012        16:05:10
3146      2104166725       11/28/2011       12:14:36
3147      2104189595       4/5/2012         14:35:17
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3148      2104200987       9/11/2012        15:13:28
3149      2104200987       10/15/2012       10:06:06
3150      2104201969       7/30/2012        13:17:36
3151      2104203569       9/23/2011        8:45:51
3152      2104204582       7/16/2012        19:39:14
3153      2104206933       5/21/2012        8:57:42
3154      2104207428       1/3/2012         11:05:10
3155      2104208257       6/9/2011         10:45:20
3156      2104212254       5/13/2012        17:34:56
3157      2104212593       10/5/2011        14:39:15
3158      2104216438       12/7/2011        13:58:37
3159      2104216518       9/25/2012        14:46:05
3160      2104223834       4/19/2012        14:45:43
3161      2104223834       5/1/2012         17:47:54
3162      2104225594       10/24/2011       8:12:10
3163      2104227774       11/29/2011       15:01:31
3164      2104227774       1/27/2012        18:01:17
3165      2104250314       3/20/2012        9:29:41
3166      2104254763       10/17/2011       8:35:53
3167      2104254941       9/15/2012        8:22:59
3168      2104256033       9/15/2011        8:44:38
3169      2104259540       9/17/2012        8:29:15
3170      2104259540       10/15/2012       9:52:57
3171      2104272786       3/12/2012        19:35:53
3172      2104273147       4/21/2012        16:18:02
3173      2104273720       9/25/2012        14:44:55
3174      2104280452       7/11/2012        17:26:12
3175      2104288787       12/29/2011       19:35:59
3176      2104290012       6/9/2012         10:56:12
3177      2104290625       10/12/2011       8:05:37
3178      2104293806       10/15/2011       10:41:54
3179      2104294331       11/28/2011       12:07:15
3180      2104300881       9/24/2011        9:48:11
3181      2104301270       11/14/2011       17:14:23
3182      2104301306       5/1/2012         8:24:36
3183      2104301583       12/8/2011        12:21:01
3184      2104301709       4/1/2012         17:04:43
3185      2104302404       2/6/2012         16:59:46
3186      2104302910       12/23/2011       15:52:10
3187      2104303039       12/13/2011       18:06:52
3188      2104304338       9/27/2011        18:41:43
3189      2104305018       4/11/2012        20:42:22
3190      2104305546       2/7/2012         17:04:15
3191      2104305567       1/20/2012        19:31:13
3192      2104305640       5/12/2012        10:37:46
3193      2104305942       1/12/2012        14:07:51
3194      2104308053       4/5/2012         15:44:17
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3195      2104308664       9/25/2012        14:54:53
3196      2104387122       11/26/2011       13:34:22
3197      2104405717       3/6/2012         13:14:49
3198      2104427432       8/22/2012        11:21:16
3199      2104427912       5/9/2012         8:49:52
3200      2104450096       12/23/2011       14:18:38
3201      2104450096       1/9/2012         18:42:12
3202      2104450658       4/3/2012         16:13:44
3203      2104452309       9/23/2011        11:46:02
3204      2104457528       12/21/2011       19:53:50
3205      2104457528       6/16/2012        15:15:33
3206      2104458923       3/19/2012        19:23:24
3207      2104459117       9/7/2012         15:42:22
3208      2104490552       1/18/2012        16:41:19
3209      2104491360       9/30/2011        10:19:44
3210      2104491632       2/7/2012         20:25:40
3211      2104491632       8/3/2012         16:24:22
3212      2104491956       1/27/2012        9:45:15
3213      2104492521       5/22/2012        16:19:39
3214      2104492678       9/21/2012        18:51:44
3215      2104492800       1/10/2012        15:20:59
3216      2104493595       7/2/2012         17:24:21
3217      2104493909       12/5/2011        9:36:44
3218      2104493986       3/30/2012        16:08:13
3219      2104494497       9/8/2011         19:32:47
3220      2104494696       1/18/2012        20:22:30
3221      2104496296       3/21/2012        13:40:40
3222      2104497063       11/28/2011       16:57:17
3223      2104499322       1/11/2012        16:22:22
3224      2104520560       1/14/2012        8:24:25
3225      2104520783       12/28/2011       8:43:33
3226      2104528333       1/3/2012         10:42:45
3227      2104540495       9/3/2012         15:03:30
3228      2104543085       11/2/2011        14:13:54
3229      2104545188       9/21/2011        19:34:56
3230      2104545861       9/8/2011         19:32:38
3231      2104549832       4/5/2012         13:59:54
3232      2104549834       5/22/2012        18:22:23
3233      2104591714       3/6/2012         16:05:50
3234      2104592227       3/13/2012        18:31:58
3235      2104592567       2/8/2012         12:50:23
3236      2104593514       3/13/2012        12:45:14
3237      2104594441       1/25/2012        9:41:48
3238      2104595052       10/2/2012        8:38:10
3239      2104595110       3/30/2012        16:16:47
3240      2104595422       3/13/2012        18:40:51
3241      2104595655       12/29/2011       10:47:19
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3242      2104596121       5/21/2011        10:58:06
3243      2104596760       2/19/2012        19:39:19
3244      2104597735       4/4/2012         8:09:45
3245      2104599071       3/15/2012        13:57:40
3246      2104599071       3/22/2012        14:21:52
3247      2104599162       10/5/2011        14:38:57
3248      2104599480       11/29/2011       15:38:10
3249      2104611940       12/8/2011        12:14:41
3250      2104614091       10/8/2011        12:02:11
3251      2104626069       12/11/2011       12:23:49
3252      2104643865       2/8/2012         13:00:31
3253      2104648045       9/8/2011         18:08:54
3254      2104672707       4/9/2012         13:48:12
3255      2104689469       7/23/2012        15:21:51
3256      2104711074       9/21/2011        19:30:40
3257      2104711843       2/21/2012        9:46:57
3258      2104711843       4/23/2012        8:15:27
3259      2104719784       10/8/2011        9:47:14
3260      2104734378       7/5/2012         10:42:39
3261      2104735080       9/30/2011        10:03:46
3262      2104736475       4/20/2012        14:08:27
3263      2104751904       1/9/2012         18:15:45
3264      2104782560       10/15/2012       10:11:25
3265      2104788081       5/4/2012         20:56:01
3266      2104802133       11/14/2011       17:12:16
3267      2104802133       12/27/2011       14:20:20
3268      2104807988       5/22/2012        11:20:10
3269      2104807988       5/30/2012        12:40:50
3270      2104808010       12/20/2011       19:24:31
3271      2104829607       9/21/2012        18:51:44
3272      2104829933       4/30/2012        8:21:31
3273      2104878975       7/2/2012         17:30:44
3274      2104880579       6/18/2012        9:24:18
3275      2104884832       3/14/2012        14:46:57
3276      2104888654       1/23/2012        19:16:13
3277      2104890351       9/13/2012        15:15:23
3278      2105082379       3/23/2012        19:53:06
3279      2105087944       5/12/2012        10:20:47
3280      2105089271       1/30/2012        8:11:31
3281      2105281040       6/11/2011        9:17:16
3282      2105350313       10/10/2011       12:41:32
3283      2105354228       3/19/2012        19:23:11
3284      2105354597       5/28/2011        10:31:13
3285      2105355169       10/21/2011       12:43:43
3286      2105355874       10/27/2011       16:53:21
3287      2105356720       1/19/2012        18:43:00
3288      2105357519       3/25/2012        12:05:06
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3289      2105358665       5/26/2012        14:22:19
3290      2105358665       7/30/2012        18:45:49
3291      2105359607       7/24/2012        14:44:45
3292      2105359628       1/18/2012        16:40:56
3293      2105359660       4/2/2012         17:32:56
3294      2105420977       11/28/2011       17:54:13
3295      2105421608       11/25/2011       18:29:37
3296      2105423226       10/27/2013       13:23:02
3297      2105426660       10/8/2012        8:11:18
3298      2105427370       8/17/2012        8:27:17
3299      2105429296       12/6/2011        13:26:56
3300      2105429878       3/23/2012        14:42:34
3301      2105429925       8/31/2011        10:47:07
3302      2105442084       3/14/2012        14:11:56
3303      2105442861       9/27/2011        18:14:20
3304      2105442861       10/1/2011        10:03:52
3305      2105446399       10/3/2012        8:06:59
3306      2105447212       10/24/2012       15:15:03
3307      2105448979       11/18/2011       13:32:37
3308      2105449064       4/5/2012         14:36:38
3309      2105449064       6/21/2012        10:04:38
3310      2105449064       10/8/2012        20:02:08
3311      2105449120       11/29/2011       15:46:31
3312      2105449456       10/21/2011       12:41:10
3313      2105480494       11/3/2011        17:22:20
3314      2105482982       10/22/2012       18:04:36
3315      2105484916       3/15/2012        13:50:51
3316      2105489219       2/24/2012        17:29:51
3317      2105489832       6/28/2012        8:04:55
3318      2105489832       9/24/2012        19:07:21
3319      2105500152       3/29/2012        16:32:09
3320      2105500152       4/4/2012         18:44:45
3321      2105507315       10/29/2011       10:46:30
3322      2105597876       11/25/2011       18:26:52
3323      2105632402       7/23/2012        11:55:18
3324      2105632402       7/27/2012        15:41:23
3325      2105632778       7/11/2012        17:16:10
3326      2105733382       3/6/2012         16:02:52
3327      2105734460       4/11/2012        20:37:41
3328      2105734750       9/20/2011        16:48:31
3329      2105736386       1/16/2012        12:10:53
3330      2105736728       8/8/2011         15:37:37
3331      2105737001       12/2/2011        15:22:53
3332      2105737005       12/6/2011        13:38:31
3333      2105737629       8/1/2012         8:36:33
3334      2105771171       6/19/2012        15:00:51
3335      2105777676       6/9/2012         14:43:53
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3336      2105778886       8/13/2012        20:59:07
3337      2105779327       9/20/2011        18:30:08
3338      2105841084       10/13/2011       8:20:52
3339      2105841411       3/15/2012        19:09:31
3340      2105842093       10/18/2011       14:35:30
3341      2105842093       1/31/2012        10:16:18
3342      2105842510       10/6/2011        17:46:12
3343      2105842539       10/8/2012        20:10:00
3344      2105842746       7/10/2012        11:52:44
3345      2105844970       10/23/2012       10:31:10
3346      2105845659       5/4/2012         20:54:42
3347      2105845679       10/10/2012       12:43:55
3348      2105846080       10/11/2012       11:49:29
3349      2105846111       10/24/2011       8:06:15
3350      2105846516       11/7/2011        8:08:44
3351      2105846979       10/4/2011        13:46:39
3352      2105847038       3/21/2011        10:34:35
3353      2105847109       3/8/2012         20:39:22
3354      2105891055       2/10/2012        16:51:39
3355      2105891344       12/20/2011       19:36:09
3356      2105892601       8/24/2012        11:04:40
3357      2105892874       8/5/2011         18:00:58
3358      2105894489       10/7/2011        8:03:58
3359      2105898401       10/3/2011        8:19:48
3360      2105898731       12/9/2013        19:06:08
3361      2106010255       10/25/2011       16:27:00
3362      2106010795       3/12/2012        11:07:44
3363      2106014775       8/15/2011        8:47:54
3364      2106014992       3/4/2012         12:35:46
3365      2106019547       10/22/2011       12:37:35
3366      2106020319       8/9/2011         12:58:35
3367      2106020874       9/16/2011        13:25:42
3368      2106023985       7/16/2011        8:30:11
3369      2106027292       11/29/2011       16:11:19
3370      2106052131       9/24/2012        18:55:35
3371      2106053638       2/10/2012        9:21:43
3372      2106055174       11/15/2011       20:14:32
3373      2106057289       4/10/2012        11:54:09
3374      2106057289       5/4/2012         20:58:15
3375      2106058455       1/31/2012        10:00:35
3376      2106066250       8/3/2012         12:38:24
3377      2106071094       9/20/2012        8:46:28
3378      2106072105       9/29/2012        9:50:15
3379      2106072526       8/19/2011        12:24:35
3380      2106072707       10/25/2011       15:28:00
3381      2106072876       5/7/2012         8:16:34
3382      2106072876       5/21/2012        8:19:03
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3383      2106073581       11/16/2011       9:59:44
3384      2106073611       9/27/2011        18:44:48
3385      2106073611       10/6/2011        16:49:31
3386      2106099184       9/26/2012        15:16:11
3387      2106161953       9/21/2012        15:55:01
3388      2106166513       10/18/2011       13:02:46
3389      2106182377       9/14/2011        10:07:11
3390      2106183728       11/5/2011        11:42:33
3391      2106183728       11/21/2011       8:23:58
3392      2106183942       2/7/2012         20:27:53
3393      2106183958       10/31/2011       10:19:59
3394      2106183958       2/20/2012        17:16:01
3395      2106193027       10/14/2012       15:11:48
3396      2106196738       2/11/2012        15:09:21
3397      2106214212       2/1/2012         8:29:54
3398      2106227032       9/10/2011        9:12:56
3399      2106230321       9/20/2011        16:45:26
3400      2106250874       2/11/2012        15:12:29
3401      2106251556       9/23/2011        11:45:47
3402      2106252199       9/6/2011         12:56:36
3403      2106252376       12/7/2011        14:08:41
3404      2106252547       8/2/2012         11:31:26
3405      2106252927       9/13/2011        13:37:10
3406      2106273477       11/16/2011       19:54:22
3407      2106275852       9/27/2011        18:03:11
3408      2106291491       11/26/2011       11:59:22
3409      2106292592       10/12/2011       12:13:48
3410      2106294331       8/8/2012         16:07:47
3411      2106297134       5/5/2012         8:30:11
3412      2106301171       11/10/2011       8:10:42
3413      2106302988       8/30/2012        17:44:08
3414      2106303052       9/24/2012        12:53:17
3415      2106303294       8/16/2012        9:27:56
3416      2106305592       10/26/2011       13:12:05
3417      2106307206       8/3/2012         12:43:47
3418      2106307699       4/5/2012         14:26:42
3419      2106307813       6/16/2012        15:07:27
3420      2106320047       11/14/2011       17:18:22
3421      2106322380       10/9/2012        11:37:47
3422      2106322648       10/14/2011       13:21:51
3423      2106328295       12/21/2011       10:14:24
3424      2106334928       9/21/2011        19:30:05
3425      2106380733       5/4/2012         14:52:17
3426      2106380739       10/22/2011       13:13:47
3427      2106380762       1/3/2012         19:49:18
3428      2106381912       12/21/2011       19:56:20
3429      2106390445       12/12/2011       16:36:33
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3430      2106392072       9/2/2012         11:54:09
3431      2106392402       3/23/2012        20:07:43
3432      2106394008       9/16/2011        13:35:09
3433      2106395286       8/7/2012         17:43:02
3434      2106397116       6/11/2012        8:12:33
3435      2106432988       10/15/2011       10:54:18
3436      2106433548       12/22/2011       9:09:57
3437      2106433728       12/17/2011       12:06:58
3438      2106433809       2/7/2012         8:06:28
3439      2106434544       2/3/2012         20:04:31
3440      2106435917       8/15/2012        12:29:01
3441      2106436260       4/22/2012        15:25:18
3442      2106439423       9/3/2012         14:35:02
3443      2106439543       3/17/2012        8:53:26
3444      2106495323       12/30/2011       17:03:21
3445      2106495697       9/22/2011        16:04:36
3446      2106495707       10/7/2011        8:14:18
3447      2106495707       10/12/2011       8:01:31
3448      2106496756       9/9/2011         18:18:52
3449      2106498533       5/2/2012         13:14:31
3450      2106630363       9/16/2011        13:09:43
3451      2106631031       11/9/2011        8:47:28
3452      2106631458       3/19/2012        11:45:59
3453      2106632447       11/17/2011       15:29:28
3454      2106632447       12/29/2011       11:12:43
3455      2106633860       11/18/2011       13:25:22
3456      2106636000       9/26/2011        9:48:15
3457      2106636763       9/13/2011        13:48:49
3458      2106636784       7/15/2011        17:43:04
3459      2106699631       11/17/2011       15:45:59
3460      2106772101       10/17/2011       8:07:32
3461      2106830476       9/23/2011        11:46:41
3462      2106830550       5/12/2012        13:52:18
3463      2106830550       5/21/2012        8:04:39
3464      2106835805       9/20/2012        21:00:59
3465      2106836191       1/20/2012        11:48:09
3466      2106837082       9/28/2011        11:20:09
3467      2106837243       2/17/2012        9:33:10
3468      2106857101       10/19/2012       19:03:55
3469      2106857372       10/24/2011       8:18:37
3470      2106873134       11/5/2011        11:36:17
3471      2106874400       6/23/2012        15:56:17
3472      2106877669       3/29/2012        16:33:53
3473      2106890252       7/23/2011        11:54:25
3474      2106890289       9/26/2012        14:40:53
3475      2106890939       8/30/2012        17:44:02
3476      2106892727       6/17/2011        15:28:19
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3477      2106893504       10/11/2012       12:07:00
3478      2106893610       10/31/2011       9:13:58
3479      2106893637       2/1/2012         18:37:16
3480      2106895067       9/29/2011        15:49:41
3481      2106897199       4/26/2012        17:27:27
3482      2106898153       9/27/2011        18:30:58
3483      2106898153       11/2/2011        14:02:29
3484      2106898370       3/17/2012        8:31:19
3485      2106898672       1/5/2012         14:03:03
3486      2106899258       3/16/2012        16:03:06
3487      2106934501       9/21/2011        11:59:38
3488      2106937252       5/8/2012         9:56:44
3489      2107016345       5/8/2012         17:18:28
3490      2107050832       11/26/2011       13:11:15
3491      2107054021       3/19/2012        11:45:54
3492      2107054741       10/10/2011       11:54:40
3493      2107059245       9/19/2011        19:14:27
3494      2107059267       12/20/2011       9:23:36
3495      2107070724       3/14/2011        17:14:05
3496      2107071817       4/15/2012        17:12:27
3497      2107072166       10/29/2011       10:47:53
3498      2107077483       1/23/2012        19:18:43
3499      2107106948       10/10/2011       12:40:18
3500      2107108357       7/3/2012         15:58:34
3501      2107109461       1/11/2012        9:00:08
3502      2107223711       7/14/2011        16:30:20
3503      2107225933       10/18/2012       7:04:56
3504      2107228419       11/22/2011       19:31:29
3505      2107233142       10/3/2012        19:56:32
3506      2107234169       8/13/2011        12:14:16
3507      2107234393       3/19/2012        11:47:12
3508      2107234393       4/1/2012         17:29:36
3509      2107234393       5/21/2012        8:03:12
3510      2107234521       9/21/2012        16:09:18
3511      2107236393       11/12/2011       10:25:41
3512      2107236892       10/12/2011       8:41:09
3513      2107236892       10/25/2011       15:34:38
3514      2107237491       5/26/2012        8:58:17
3515      2107239526       12/23/2011       15:50:00
3516      2107239897       9/23/2011        19:01:21
3517      2107241674       11/16/2011       20:06:25
3518      2107242828       9/11/2012        15:14:49
3519      2107246341       12/3/2011        9:27:32
3520      2107249969       1/31/2012        10:21:39
3521      2107253231       9/10/2011        9:17:17
3522      2107253888       10/15/2011       10:48:05
3523      2107255480       1/12/2012        7:03:27
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3524      2107258198       10/6/2011        16:53:49
3525      2107441073       2/7/2012         8:07:10
3526      2107443351       9/8/2011         17:59:24
3527      2107444308       1/5/2012         12:04:10
3528      2107447474       9/8/2012         11:42:39
3529      2107448034       9/28/2011        10:24:15
3530      2107448515       7/3/2012         12:25:29
3531      2107480419       12/12/2011       12:27:21
3532      2107480419       5/21/2012        8:01:22
3533      2107480659       9/26/2011        9:31:37
3534      2107480976       11/12/2011       9:31:29
3535      2107482794       10/22/2012       17:58:09
3536      2107486786       10/11/2011       16:23:33
3537      2107488887       3/1/2012         12:32:07
3538      2107712533       11/17/2011       15:33:36
3539      2107713056       7/21/2012        10:29:59
3540      2107713314       6/16/2012        15:32:18
3541      2107714622       3/22/2012        8:07:23
3542      2107720884       3/10/2011        16:36:19
3543      2107723080       4/5/2012         14:25:28
3544      2107723080       6/18/2012        10:37:49
3545      2107723151       5/1/2012         18:10:40
3546      2107723634       4/28/2012        8:12:50
3547      2107724140       11/11/2011       20:24:52
3548      2107726156       8/18/2011        8:02:33
3549      2107726796       7/30/2012        13:35:56
3550      2107727131       11/30/2011       8:14:18
3551      2107729674       8/16/2011        16:50:19
3552      2107771337       1/11/2012        16:37:18
3553      2107773508       7/2/2012         15:23:48
3554      2107773708       11/28/2011       12:07:48
3555      2107773708       1/10/2012        15:17:42
3556      2107774470       5/18/2012        11:46:00
3557      2107778425       9/23/2011        18:49:01
3558      2107778781       5/21/2012        17:48:39
3559      2107785040       9/29/2011        15:46:02
3560      2107791405       9/11/2012        15:15:33
3561      2107792693       10/29/2011       11:44:37
3562      2107796050       3/14/2011        17:12:22
3563      2107796883       10/15/2011       9:32:56
3564      2107797599       7/18/2012        8:35:05
3565      2107798958       1/9/2012         8:23:44
3566      2107810090       3/4/2012         12:33:50
3567      2107810134       8/29/2012        20:18:38
3568      2107810962       10/6/2011        16:34:20
3569      2107811298       3/21/2011        11:06:53
3570      2107811316       12/7/2011        14:26:41
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3571      2107811583       5/10/2012        16:08:56
3572      2107811820       1/18/2012        9:54:54
3573      2107812400       4/25/2012        18:36:07
3574      2107816057       12/6/2011        14:39:56
3575      2107816459       8/1/2012         20:11:03
3576      2107817062       11/12/2011       9:29:01
3577      2107820624       9/26/2011        9:44:08
3578      2107820624       10/15/2011       9:23:02
3579      2107822222       1/4/2012         11:21:33
3580      2107822465       9/26/2011        9:33:05
3581      2107824347       2/6/2012         17:02:49
3582      2107825867       12/2/2011        8:16:39
3583      2107826455       11/16/2011       10:38:16
3584      2107870099       9/11/2012        15:15:32
3585      2107870978       5/25/2012        8:17:47
3586      2107879535       9/12/2011        13:17:34
3587      2107882774       3/14/2012        19:47:44
3588      2107886342       2/9/2012         9:40:07
3589      2107889935       3/27/2012        14:53:14
3590      2107891449       5/4/2012         18:21:00
3591      2107891645       5/12/2012        10:20:30
3592      2107892388       9/14/2011        19:41:20
3593      2107892582       3/24/2012        10:33:18
3594      2107894941       1/14/2012        13:29:35
3595      2107923313       6/7/2012         12:38:39
3596      2107970746       3/21/2012        9:13:56
3597      2107975705       7/30/2011        8:34:28
3598      2107978036       4/9/2012         17:53:49
3599      2107979943       5/25/2012        8:25:10
3600      2107998297       2/20/2012        16:53:10
3601      2108071680       9/6/2011         12:54:24
3602      2108151909       6/8/2012         17:00:54
3603      2108152493       12/8/2011        10:11:26
3604      2108152493       12/20/2011       17:00:11
3605      2108152715       2/12/2012        15:42:08
3606      2108152715       6/22/2012        21:00:29
3607      2108152728       3/9/2012         9:10:52
3608      2108154293       7/6/2012         16:58:37
3609      2108155268       3/7/2012         10:08:16
3610      2108155935       10/4/2011        13:47:29
3611      2108157772       9/17/2011        9:37:08
3612      2108159925       12/12/2011       8:22:29
3613      2108180918       12/10/2011       13:24:35
3614      2108181730       4/20/2012        13:45:43
3615      2108183605       11/7/2011        8:04:17
3616      2108187326       9/2/2011         11:41:36
3617      2108189362       8/20/2011        8:47:23
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3618      2108189362       9/14/2011        12:11:46
3619      2108189362       4/11/2012        13:06:12
3620      2108231698       9/21/2011        11:32:18
3621      2108235861       12/21/2011       10:28:45
3622      2108259531       6/7/2012         18:21:24
3623      2108272060       12/12/2011       11:53:17
3624      2108273176       10/4/2011        13:22:20
3625      2108278043       4/18/2012        17:49:51
3626      2108278714       1/13/2012        8:07:19
3627      2108310602       11/12/2011       9:28:41
3628      2108310668       3/12/2012        11:10:39
3629      2108313448       7/9/2012         8:51:01
3630      2108315377       10/10/2012       12:43:57
3631      2108315377       10/24/2012       15:03:16
3632      2108315999       11/5/2011        11:47:13
3633      2108331231       11/18/2011       13:00:16
3634      2108332814       8/30/2012        17:33:50
3635      2108334200       5/1/2012         18:12:15
3636      2108335082       12/5/2011        10:25:49
3637      2108339476       5/23/2012        14:59:55
3638      2108340348       8/29/2012        20:19:33
3639      2108342185       1/3/2012         16:44:52
3640      2108342968       12/16/2011       16:28:16
3641      2108345489       9/24/2011        9:19:42
3642      2108349634       10/11/2011       17:25:23
3643      2108355673       12/2/2011        8:09:53
3644      2108355964       7/2/2011         9:17:11
3645      2108357017       9/9/2011         17:57:21
3646      2108368075       9/26/2011        9:29:23
3647      2108368075       9/29/2011        15:47:18
3648      2108380283       12/1/2011        15:29:36
3649      2108383108       4/22/2012        15:28:16
3650      2108383108       4/23/2012        20:40:30
3651      2108383108       8/14/2012        20:45:25
3652      2108387205       7/19/2012        17:38:56
3653      2108387285       10/24/2011       8:05:20
3654      2108420721       10/26/2011       13:12:26
3655      2108424949       9/23/2011        18:47:37
3656      2108432120       5/4/2012         18:20:44
3657      2108434682       12/24/2011       8:03:04
3658      2108435976       12/6/2011        14:36:36
3659      2108436482       11/26/2011       11:46:17
3660      2108436823       9/21/2011        19:30:16
3661      2108438608       1/4/2012         20:21:54
3662      2108440500       9/2/2011         13:22:06
3663      2108441317       2/15/2012        8:03:03
3664      2108444853       4/13/2012        13:41:09
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3665      2108452110       7/30/2011        8:57:43
3666      2108456737       12/22/2011       8:40:35
3667      2108464054       1/27/2012        18:05:21
3668      2108468577       9/8/2011         19:34:51
3669      2108490868       4/2/2012         17:34:23
3670      2108492018       9/9/2011         18:23:45
3671      2108492078       11/11/2011       20:21:01
3672      2108493350       10/20/2012       16:30:30
3673      2108493356       7/24/2012        14:38:47
3674      2108494198       9/9/2011         18:22:20
3675      2108495187       3/8/2012         20:31:41
3676      2108496921       6/17/2012        12:26:18
3677      2108498942       5/22/2012        16:19:42
3678      2108498946       3/28/2012        11:04:40
3679      2108521473       10/10/2011       11:52:32
3680      2108523823       11/3/2011        17:16:25
3681      2108527926       12/1/2011        8:22:01
3682      2108528682       1/6/2012         12:22:02
3683      2108536035       12/7/2011        15:16:29
3684      2108543986       3/26/2011        12:24:41
3685      2108547841       10/3/2012        19:52:15
3686      2108549538       9/10/2011        8:36:19
3687      2108549777       7/16/2012        9:28:21
3688      2108572762       10/7/2012        13:00:51
3689      2108573740       10/1/2012        8:22:30
3690      2108573740       1/22/2014        14:08:46
3691      2108574337       10/6/2011        17:38:49
3692      2108575830       8/13/2012        8:30:09
3693      2108577802       2/17/2012        9:04:02
3694      2108579842       3/28/2012        18:14:31
3695      2108591277       10/19/2011       8:05:51
3696      2108592374       10/11/2011       16:25:44
3697      2108600051       5/23/2012        16:37:31
3698      2108603537       11/19/2011       9:05:44
3699      2108604661       12/20/2011       17:50:15
3700      2108604926       10/19/2011       8:01:44
3701      2108612004       10/3/2012        19:56:24
3702      2108612865       12/10/2011       14:27:14
3703      2108616105       6/7/2011         18:08:50
3704      2108626107       6/27/2011        8:17:38
3705      2108626107       12/23/2011       15:58:28
3706      2108626445       12/5/2011        8:43:22
3707      2108632432       12/21/2011       9:57:00
3708      2108635491       2/17/2012        18:13:15
3709      2108635491       3/15/2012        19:09:19
3710      2108637164       10/8/2011        11:34:59
3711      2108654771       1/9/2012         18:12:50
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3712      2108655211       11/30/2011       14:52:56
3713      2108659343       9/19/2011        8:10:26
3714      2108672893       1/6/2012         15:02:14
3715      2108675050       3/6/2012         20:24:23
3716      2108678004       9/20/2011        20:32:30
3717      2108679054       9/1/2012         9:23:09
3718      2108703793       9/26/2011        9:44:04
3719      2108704150       11/8/2011        14:36:47
3720      2108722415       4/3/2012         15:59:33
3721      2108723209       5/3/2012         8:12:54
3722      2108729823       7/6/2012         16:53:52
3723      2108753256       4/2/2012         20:07:58
3724      2108754405       9/6/2012         12:33:11
3725      2108754405       9/24/2012        13:10:11
3726      2108754978       8/2/2012         18:54:16
3727      2108757739       8/8/2012         8:16:03
3728      2108787029       9/17/2011        10:25:05
3729      2108787892       2/13/2012        8:14:51
3730      2108789290       3/7/2012         18:33:58
3731      2108789850       11/26/2011       13:33:26
3732      2108789907       1/5/2012         15:08:50
3733      2108827112       10/15/2012       16:12:58
3734      2108841739       1/4/2012         11:25:07
3735      2108841814       9/21/2012        15:34:38
3736      2108841814       10/3/2012        19:53:12
3737      2108842308       9/21/2011        11:33:43
3738      2108848928       2/10/2012        20:37:39
3739      2108853153       10/10/2011       12:49:42
3740      2108871132       4/7/2012         9:37:33
3741      2108871333       10/20/2011       15:46:12
3742      2108878284       1/14/2012        13:21:52
3743      2108879619       2/28/2012        15:54:05
3744      2108879930       3/19/2012        18:03:00
3745      2108891130       8/7/2012         17:44:26
3746      2108896511       5/9/2012         8:49:35
3747      2108896511       5/21/2012        8:04:20
3748      2108897880       3/11/2011        16:42:40
3749      2108964615       5/10/2012        16:09:09
3750      2108964846       8/7/2012         17:52:18
3751      2108969353       3/11/2011        16:45:30
3752      2108969797       1/10/2012        15:18:07
3753      2108975660       10/27/2011       16:05:37
3754      2108975660       11/15/2011       20:15:04
3755      2109020019       1/8/2012         13:13:40
3756      2109027087       7/25/2012        20:45:22
3757      2109029411       4/29/2011        20:13:23
3758      2109082501       4/16/2011        15:24:01
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3759      2109091070       5/8/2012         17:20:49
3760      2109095661       9/21/2012        16:08:56
3761      2109095727       3/20/2012        17:50:21
3762      2109097760       10/21/2011       13:26:48
3763      2109098315       4/24/2012        12:09:27
3764      2109124922       3/21/2011        10:54:53
3765      2109125125       6/9/2011         10:39:29
3766      2109132529       9/12/2011        14:26:27
3767      2109180273       1/5/2012         17:29:04
3768      2109180635       12/22/2011       9:46:03
3769      2109700215       4/19/2012        15:04:27
3770      2109700215       8/19/2012        12:04:39
3771      2109703560       9/24/2011        9:23:01
3772      2109707570       8/3/2012         12:41:57
3773      2109707570       8/13/2012        20:53:19
3774      2109707570       8/20/2012        18:56:24
3775      2109786101       9/26/2012        8:09:06
3776      2109806266       6/23/2012        8:35:34
3777      2109904379       9/19/2011        8:11:34
3778      2109950585       8/3/2012         16:31:44
3779      2109951834       10/7/2012        13:09:12
3780      2109955151       12/28/2011       13:30:31
3781      2109955252       9/26/2011        9:36:03
3782      2109956071       6/27/2012        12:21:13
3783      2109999401       11/23/2011       14:55:38
3784      2109999781       11/11/2011       20:21:56
3785      2123682370       10/22/2011       12:59:02
3786      2126710000       8/7/2012         17:49:25
3787      2127296433       9/15/2011        7:35:02
3788      2129200919       5/1/2012         17:34:03
3789      2129458269       5/21/2012        7:40:21
3790      2129458269       5/21/2012        8:37:08
3791      2132008450       10/24/2011       14:23:50
3792      2132103146       12/18/2011       16:53:24
3793      2132105383       11/11/2011       13:50:04
3794      2132150737       5/17/2012        16:43:54
3795      2132152450       4/21/2012        16:47:17
3796      2132152471       7/25/2012        20:40:22
3797      2132156987       10/11/2011       16:44:31
3798      2132157060       2/2/2012         16:43:47
3799      2132165783       8/13/2012        11:03:07
3800      2132204780       12/20/2011       15:12:49
3801      2132205661       9/8/2011         19:36:21
3802      2132394646       1/8/2012         16:47:03
3803      2132455428       1/13/2012        17:30:16
3804      2132456181       10/17/2011       11:03:04
3805      2132456874       5/31/2012        15:01:41
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3806      2132459305       9/22/2012        12:17:54
3807      2132472569       11/4/2011        10:33:23
3808      2132490568       7/30/2013        16:25:29
3809      2132492699       9/4/2012         16:01:41
3810      2132497879       10/5/2011        14:54:01
3811      2132547866       9/8/2011         19:36:16
3812      2132565522       10/8/2012        12:51:05
3813      2132566152       8/1/2011         19:29:05
3814      2132588438       6/23/2012        16:30:53
3815      2132652935       4/20/2012        14:43:37
3816      2132688006       9/29/2011        15:27:22
3817      2132689094       10/16/2012       16:40:47
3818      2132703770       4/3/2012         16:10:21
3819      2132704585       8/17/2012        10:05:18
3820      2132710933       5/7/2012         21:39:11
3821      2132715174       9/14/2011        19:46:05
3822      2132716757       11/12/2011       11:00:13
3823      2132728307       9/16/2011        13:39:00
3824      2132784050       7/18/2012        18:27:46
3825      2132784332       6/28/2012        12:35:09
3826      2132787505       7/2/2012         15:08:32
3827      2132787505       8/29/2012        20:23:09
3828      2132811299       3/21/2011        11:45:13
3829      2132812851       4/11/2012        11:32:35
3830      2132907470       1/12/2012        7:15:44
3831      2133003305       9/8/2011         19:08:20
3832      2133005110       8/1/2011         19:47:38
3833      2133008881       3/7/2012         18:34:48
3834      2133047605       6/26/2012        16:20:33
3835      2133051621       11/25/2011       18:33:58
3836      2133055816       8/10/2012        10:25:56
3837      2133056716       11/21/2011       10:44:58
3838      2133058398       11/7/2011        10:59:39
3839      2133059814       11/11/2011       14:36:57
3840      2133084991       9/16/2011        13:42:52
3841      2133095665       8/24/2012        11:06:16
3842      2133217299       4/16/2011        15:44:38
3843      2133274157       1/12/2012        10:08:45
3844      2133278700       7/24/2012        14:43:31
3845      2133448082       12/26/2011       20:37:12
3846      2133449173       5/9/2012         16:08:46
3847      2133449692       10/27/2011       17:02:49
3848      2133475061       8/13/2012        11:01:56
3849      2133611116       10/12/2012       21:27:08
3850      2133613976       8/2/2012         11:31:52
3851      2133698288       6/1/2012         10:40:10
3852      2133813827       6/16/2012        10:15:06
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3853      2133927361       6/11/2012        17:41:01
3854      2133934985       8/15/2012        21:42:45
3855      2133939699       1/9/2012         18:19:53
3856      2134000513       10/12/2011       11:39:27
3857      2134000910       8/14/2012        20:53:43
3858      2134001532       5/22/2012        18:46:48
3859      2134015421       9/22/2012        12:18:17
3860      2134072500       5/7/2012         15:01:21
3861      2134077189       6/27/2012        12:22:49
3862      2134341463       9/14/2011        21:39:36
3863      2134343782       9/7/2012         15:44:51
3864      2134357033       8/8/2011         13:18:33
3865      2134462056       11/18/2011       13:10:14
3866      2134464243       10/5/2011        14:24:35
3867      2134464595       10/11/2011       16:40:06
3868      2134466794       8/2/2012         18:58:15
3869      2134472447       2/1/2012         13:39:26
3870      2134472447       2/9/2012         14:34:17
3871      2134473304       3/9/2012         15:49:58
3872      2134486139       9/19/2011        15:01:01
3873      2134792979       5/19/2011        8:19:52
3874      2135052443       10/10/2011       13:02:09
3875      2135052940       8/20/2012        21:33:51
3876      2135054723       1/6/2012         14:44:31
3877      2135071309       10/10/2011       13:06:02
3878      2135071721       5/3/2012         10:09:11
3879      2135093652       12/7/2011        15:22:35
3880      2135506034       1/13/2012        10:39:54
3881      2135704457       1/23/2012        10:11:49
3882      2135704457       6/6/2012         10:20:11
3883      2135705889       9/4/2012         21:49:27
3884      2135872799       6/18/2012        15:08:07
3885      2135959856       6/28/2012        14:16:36
3886      2136041884       11/10/2011       15:03:34
3887      2136041938       9/12/2011        13:36:49
3888      2136168324       5/25/2012        17:15:53
3889      2137002795       1/11/2012        10:59:42
3890      2137005767       11/21/2011       10:41:42
3891      2137006821       11/19/2011       10:44:20
3892      2137009955       12/28/2011       11:08:00
3893      2137032383       10/11/2011       17:39:25
3894      2137094070       10/6/2011        17:57:03
3895      2137180096       12/23/2011       15:21:17
3896      2137390730       8/7/2012         20:15:32
3897      2137612557       7/18/2012        14:52:45
3898      2138040498       3/29/2012        11:45:54
3899      2138043182       4/12/2012        18:10:06
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3900      2138044072       2/10/2012        20:43:10
3901      2138044501       7/2/2012         17:27:48
3902      2138046898       3/11/2012        16:08:27
3903      2138049729       3/7/2012         10:03:50
3904      2138074034       2/21/2012        21:26:54
3905      2138074681       4/18/2012        18:03:26
3906      2138075566       2/17/2012        18:24:04
3907      2138148322       9/10/2011        12:46:51
3908      2138194778       11/22/2011       19:47:59
3909      2138204620       1/24/2012        17:08:48
3910      2138357473       3/24/2012        10:09:11
3911      2138357926       4/15/2012        17:51:44
3912      2138402095       4/28/2012        10:20:17
3913      2138410045       5/7/2012         21:37:11
3914      2138413772       10/4/2011        13:28:27
3915      2138416490       1/27/2012        12:04:03
3916      2138416550       11/29/2011       16:22:02
3917      2138419144       1/12/2012        14:20:11
3918      2138422844       3/21/2012        18:37:56
3919      2138423873       9/14/2011        21:39:06
3920      2138424317       1/5/2012         21:25:53
3921      2138424445       4/10/2012        21:59:39
3922      2138425586       10/5/2012        12:45:43
3923      2138427225       7/26/2011        9:33:08
3924      2138582343       5/18/2012        16:10:35
3925      2138582822       1/24/2012        17:26:54
3926      2138586008       6/1/2012         10:43:40
3927      2138589673       5/26/2012        14:43:19
3928      2138645557       3/19/2012        11:50:38
3929      2138649192       4/26/2012        17:44:05
3930      2138840149       10/10/2012       12:52:32
3931      2138843496       8/20/2012        21:32:02
3932      2138843506       10/9/2012        20:02:34
3933      2138843530       12/19/2011       11:23:13
3934      2138845056       10/12/2011       12:15:46
3935      2138845056       11/22/2011       18:56:07
3936      2138845056       2/29/2012        17:37:09
3937      2138847243       9/27/2012        13:28:28
3938      2138847732       10/8/2011        12:22:09
3939      2139083495       10/3/2011        10:36:03
3940      2139084838       1/3/2012         11:08:50
3941      2139088312       10/15/2011       10:06:18
3942      2139088431       5/3/2012         10:12:51
3943      2139088464       10/14/2013       15:10:26
3944      2139091129       10/29/2011       12:01:00
3945      2139091415       9/10/2011        12:33:20
3946      2139091620       9/21/2011        12:04:14
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3947      2139093576       6/30/2012        15:58:04
3948      2139093640       4/14/2012        10:20:28
3949      2139095837       4/3/2012         20:18:07
3950      2139096786       5/9/2012         16:07:44
3951      2139097411       10/24/2011       14:20:46
3952      2139097411       11/18/2011       13:10:43
3953      2139098502       11/2/2011        14:33:49
3954      2139098723       1/14/2012        13:31:44
3955      2139151758       10/16/2012       20:33:45
3956      2139157491       4/5/2012         14:29:04
3957      2139231039       11/22/2011       18:57:41
3958      2139237922       5/31/2012        10:09:07
3959      2139242590       5/11/2011        17:05:22
3960      2139246144       9/22/2012        12:21:29
3961      2139251617       2/20/2012        12:59:42
3962      2139253147       1/16/2012        12:14:11
3963      2139255433       12/22/2011       10:12:15
3964      2139258413       8/21/2012        14:05:26
3965      2139260772       6/18/2012        10:43:01
3966      2139263412       10/14/2011       14:50:22
3967      2139264158       9/21/2012        18:58:56
3968      2139264263       11/22/2011       18:56:17
3969      2139266404       7/2/2012         17:26:59
3970      2139266615       7/3/2012         12:26:47
3971      2139485479       2/13/2012        18:51:57
3972      2139492719       5/18/2012        11:55:24
3973      2139494733       7/5/2012         15:27:50
3974      2139846448       6/16/2012        10:14:10
3975      2139855165       8/25/2012        11:21:22
3976      2139990046       9/3/2012         14:40:24
3977      2139992318       4/2/2012         17:36:19
3978      2142001751       4/18/2012        8:16:40
3979      2142021469       1/12/2012        14:17:16
3980      2142024022       9/10/2011        8:40:16
3981      2142024849       5/2/2012         13:26:26
3982      2142028569       8/28/2012        11:58:33
3983      2142051381       12/23/2011       20:45:51
3984      2142054130       8/8/2011         15:39:45
3985      2142054150       6/21/2012        18:44:06
3986      2142055974       12/18/2011       16:34:14
3987      2142056942       12/26/2011       20:01:13
3988      2142058880       3/26/2011        12:23:43
3989      2142058966       7/12/2012        19:53:31
3990      2142066373       4/3/2012         20:09:50
3991      2142070637       12/9/2011        8:11:04
3992      2142071414       10/31/2011       9:33:44
3993      2142071430       10/18/2012       8:06:13
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3994      2142075107       11/1/2011        8:10:46
3995      2142075107       11/11/2011       20:04:50
3996      2142076328       9/9/2012         11:16:02
3997      2142083644       9/8/2011         19:34:55
3998      2142088214       11/12/2011       9:39:53
3999      2142088868       6/28/2012        14:26:58
4000      2142088952       5/4/2012         18:11:26
4001      2142121043       5/29/2012        10:54:17
4002      2142121672       11/9/2011        8:16:28
4003      2142123602       11/21/2011       8:38:06
4004      2142124402       5/23/2012        15:29:02
4005      2142129361       7/14/2011        16:40:45
4006      2142137401       12/18/2011       16:29:19
4007      2142137940       9/20/2011        20:31:32
4008      2142139246       5/23/2012        16:49:27
4009      2142150988       11/25/2011       18:30:16
4010      2142151905       11/2/2011        10:17:17
4011      2142153701       9/28/2011        11:13:04
4012      2142155259       8/2/2011         18:44:31
4013      2142157961       9/12/2012        15:19:14
4014      2142157961       9/26/2012        14:42:38
4015      2142159914       2/17/2012        18:36:31
4016      2142186879       3/10/2011        17:56:04
4017      2142232379       3/16/2012        15:56:59
4018      2142236421       12/31/2011       12:03:59
4019      2142261743       5/23/2012        14:46:08
4020      2142264001       10/17/2011       8:29:56
4021      2142265611       4/15/2012        17:23:23
4022      2142266267       3/23/2012        20:07:48
4023      2142281332       2/10/2012        20:40:22
4024      2142281812       7/26/2012        19:21:25
4025      2142284907       10/13/2012       8:57:40
4026      2142293945       8/14/2012        20:52:09
4027      2142294360       8/30/2012        17:41:29
4028      2142294781       10/17/2011       8:28:51
4029      2142295295       9/8/2011         19:48:43
4030      2142296169       12/9/2011        8:19:55
4031      2142296174       7/27/2012        20:43:20
4032      2142296174       10/9/2012        11:45:47
4033      2142296584       11/14/2011       17:08:13
4034      2142296852       1/27/2012        17:46:05
4035      2142297154       9/13/2011        13:31:19
4036      2142298817       6/24/2011        11:31:43
4037      2142320765       10/22/2011       13:10:33
4038      2142324473       5/11/2012        18:11:38
4039      2142326581       8/18/2011        8:08:01
4040      2142326581       9/23/2011        18:47:27
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4041      2142327728       1/13/2012        17:17:01
4042      2142346748       10/16/2012       20:29:42
4043      2142358058       5/2/2011         18:08:45
4044      2142358929       8/29/2012        20:17:39
4045      2142367798       1/9/2012         18:16:27
4046      2142368776       1/13/2012        17:17:18
4047      2142400407       10/8/2011        9:54:56
4048      2142402254       10/27/2011       16:48:08
4049      2142408102       5/30/2012        16:48:42
4050      2142409394       9/27/2011        15:29:05
4051      2142412526       4/21/2012        16:44:58
4052      2142435709       5/23/2012        14:59:46
4053      2142438278       6/4/2012         8:18:27
4054      2142448414       1/16/2012        17:14:05
4055      2142452267       9/10/2011        9:11:18
4056      2142458892       1/8/2012         13:12:50
4057      2142516339       4/2/2012         17:13:33
4058      2142516552       12/27/2011       14:20:22
4059      2142516552       4/16/2012        16:04:51
4060      2142533891       5/6/2012         18:16:12
4061      2142538676       11/1/2011        8:38:31
4062      2142541295       8/25/2012        11:13:34
4063      2142546024       5/2/2012         13:46:39
4064      2142546154       9/21/2011        11:33:58
4065      2142583109       12/5/2011        9:36:12
4066      2142583898       6/7/2012         15:16:50
4067      2142583898       7/9/2012         19:11:34
4068      2142583898       10/3/2012        19:55:10
4069      2142588725       6/5/2012         17:54:30
4070      2142596346       12/16/2011       15:44:10
4071      2142631168       9/27/2011        18:46:55
4072      2142634733       10/12/2011       8:32:42
4073      2142638335       4/2/2012         12:55:13
4074      2142639738       10/25/2011       15:34:23
4075      2142647800       3/23/2012        19:51:56
4076      2142707653       4/20/2012        20:47:44
4077      2142707653       10/17/2012       18:42:10
4078      2142727228       6/23/2012        8:50:57
4079      2142742463       10/24/2012       15:10:49
4080      2142746255       3/23/2012        20:12:36
4081      2142746255       4/12/2012        18:23:11
4082      2142746498       10/22/2011       13:07:56
4083      2142747714       1/12/2012        8:18:43
4084      2142749816       7/9/2011         8:19:41
4085      2142762450       10/4/2011        13:48:17
4086      2142763160       4/18/2012        8:10:09
4087      2142764681       8/10/2011        18:51:14
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4088      2142772655       9/30/2011        10:20:49
4089      2142774229       1/13/2012        8:01:59
4090      2142801230       2/17/2012        9:17:26
4091      2142801612       10/5/2012        18:33:44
4092      2142803157       9/3/2012         14:57:16
4093      2142805069       4/19/2012        14:40:07
4094      2142808248       11/7/2011        9:36:08
4095      2142809397       9/17/2012        12:08:19
4096      2142810215       1/23/2012        19:16:52
4097      2142810256       3/10/2011        16:37:06
4098      2142810798       11/22/2011       19:36:36
4099      2142811979       7/16/2012        9:27:15
4100      2142812731       10/4/2011        13:48:10
4101      2142812812       6/23/2012        8:24:06
4102      2142817003       11/11/2011       20:22:29
4103      2142825856       9/24/2011        9:19:54
4104      2142826509       10/19/2011       12:16:05
4105      2142827694       2/12/2012        15:50:11
4106      2142827694       5/12/2012        10:45:57
4107      2142828318       10/6/2012        8:51:37
4108      2142828621       2/10/2012        20:34:01
4109      2142830810       5/11/2012        10:41:35
4110      2142843640       4/27/2012        12:13:58
4111      2142846185       10/31/2011       9:10:58
4112      2142847386       5/1/2012         8:24:25
4113      2142870051       11/30/2011       8:09:02
4114      2142875183       10/16/2012       20:26:34
4115      2142876206       8/9/2012         14:02:29
4116      2142878750       11/15/2011       16:25:27
4117      2142880797       5/18/2012        15:39:39
4118      2142882837       9/19/2011        8:29:26
4119      2142882875       11/28/2011       17:58:10
4120      2142882888       10/24/2011       8:07:36
4121      2142883696       1/16/2012        20:19:24
4122      2142884661       11/30/2011       15:20:48
4123      2142890528       9/8/2011         19:02:27
4124      2142892619       9/15/2011        10:40:26
4125      2142894500       9/19/2011        8:29:45
4126      2142895355       4/14/2012        9:28:51
4127      2142902192       6/29/2012        9:42:54
4128      2142902719       3/26/2012        14:59:53
4129      2142903207       12/21/2011       10:29:26
4130      2142903260       6/4/2012         9:55:18
4131      2142903647       6/7/2012         18:31:13
4132      2142931919       8/11/2011        9:31:45
4133      2142967985       12/5/2011        8:46:11
4134      2142980192       3/2/2012         19:00:15
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4135      2142985305       1/4/2012         11:07:33
4136      2142987367       11/26/2011       13:30:46
4137      2142988864       7/15/2011        8:18:28
4138      2142990132       12/16/2011       16:18:43
4139      2142990205       8/16/2012        9:28:15
4140      2142990234       2/17/2012        9:32:44
4141      2142992003       12/27/2011       14:19:14
4142      2142992003       4/4/2012         8:13:46
4143      2142993596       6/20/2011        14:16:02
4144      2143001273       9/19/2011        8:27:25
4145      2143001273       10/10/2011       11:52:52
4146      2143001703       4/2/2012         7:18:31
4147      2143037739       4/5/2012         14:26:05
4148      2143063640       1/4/2012         20:20:55
4149      2143098557       5/24/2012        20:06:11
4150      2143150636       9/12/2011        13:52:07
4151      2143153277       2/16/2012        8:31:19
4152      2143153565       10/13/2011       8:42:37
4153      2143155082       9/9/2011         17:57:42
4154      2143159816       5/19/2011        8:16:11
4155      2143165519       1/20/2012        11:36:02
4156      2143166171       7/24/2012        14:38:40
4157      2143168852       9/14/2011        16:33:08
4158      2143175197       1/13/2012        8:06:32
4159      2143175197       5/11/2012        12:24:16
4160      2143175638       9/13/2011        13:49:47
4161      2143179921       1/12/2012        8:16:29
4162      2143179921       4/12/2012        13:12:35
4163      2143262627       3/16/2012        15:52:08
4164      2143263164       9/18/2012        14:13:46
4165      2143341851       12/26/2011       20:01:29
4166      2143347012       10/2/2012        8:41:22
4167      2143349671       9/12/2011        14:26:28
4168      2143350030       4/13/2012        13:39:57
4169      2143350228       6/15/2011        11:22:27
4170      2143352633       1/9/2012         18:43:45
4171      2143357878       8/6/2011         9:43:23
4172      2143358434       6/14/2012        12:39:28
4173      2143361756       2/14/2012        9:49:19
4174      2143364953       4/1/2012         17:28:33
4175      2143472955       6/29/2011        16:49:51
4176      2143541469       11/14/2011       14:47:11
4177      2143544428       8/25/2012        11:16:48
4178      2143544428       9/24/2012        19:12:53
4179      2143549625       9/19/2011        19:15:11
4180      2143550498       6/6/2012         10:19:10
4181      2143567468       9/10/2013        19:29:38
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4182      2143641701       8/10/2012        8:24:38
4183      2143644012       9/22/2011        15:26:27
4184      2143645180       10/6/2011        16:48:55
4185      2143645180       12/31/2011       12:15:30
4186      2143646463       11/12/2011       9:31:44
4187      2143649576       11/23/2011       10:40:10
4188      2143711159       9/14/2012        8:04:51
4189      2143821105       9/20/2011        20:43:07
4190      2143821867       10/10/2012       12:56:22
4191      2143826769       3/5/2012         8:07:15
4192      2143828836       4/15/2012        17:18:14
4193      2143843051       12/13/2011       18:17:29
4194      2143845938       10/5/2012        12:28:50
4195      2143846864       6/16/2012        8:39:41
4196      2143847815       7/11/2011        8:09:55
4197      2143858503       10/2/2012        12:57:58
4198      2143858507       4/13/2012        20:41:01
4199      2143913978       3/29/2012        16:44:54
4200      2143913978       5/21/2012        8:17:20
4201      2143924497       9/19/2011        19:12:31
4202      2143925884       7/15/2011        8:15:31
4203      2143926609       2/10/2012        9:24:28
4204      2143940258       5/8/2012         9:48:35
4205      2143943068       11/18/2011       13:31:45
4206      2143944860       1/27/2012        9:26:10
4207      2143945150       6/9/2012         15:38:30
4208      2143953463       7/30/2012        13:38:00
4209      2143972602       5/14/2012        15:39:39
4210      2143975495       10/19/2011       8:01:26
4211      2143979194       11/22/2011       19:34:29
4212      2143979272       10/31/2011       8:30:02
4213      2143979497       12/9/2011        8:16:31
4214      2143979656       11/23/2011       10:36:18
4215      2143979723       12/16/2011       16:20:41
4216      2143990048       1/19/2012        18:39:22
4217      2143990218       11/22/2011       19:40:26
4218      2143996745       9/19/2011        8:32:53
4219      2143996745       10/4/2011        13:24:08
4220      2144004076       3/15/2012        14:10:52
4221      2144023051       3/8/2012         20:32:05
4222      2144027922       9/19/2011        19:34:33
4223      2144029167       10/12/2011       12:17:55
4224      2144030369       9/3/2012         14:49:46
4225      2144031266       10/21/2011       12:47:23
4226      2144033355       4/16/2011        15:08:25
4227      2144036047       10/24/2011       14:55:30
4228      2144040860       9/30/2011        10:05:49
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4229      2144042587       10/3/2011        8:07:58
4230      2144042587       10/11/2011       16:17:55
4231      2144043024       5/4/2012         20:54:11
4232      2144046178       12/29/2011       10:05:17
4233      2144046530       9/12/2011        14:18:32
4234      2144047978       8/1/2011         19:21:14
4235      2144047978       8/2/2011         18:40:34
4236      2144048249       5/3/2012         8:11:57
4237      2144049339       5/3/2012         8:06:25
4238      2144051987       12/30/2011       8:37:41
4239      2144054643       5/11/2012        12:28:20
4240      2144055091       1/6/2012         12:46:21
4241      2144055345       10/29/2011       10:48:52
4242      2144055496       11/17/2011       14:26:38
4243      2144070076       1/31/2012        10:18:59
4244      2144070341       6/22/2012        8:09:58
4245      2144070472       12/5/2011        8:49:36
4246      2144070973       9/20/2011        16:45:21
4247      2144072382       9/21/2012        18:41:31
4248      2144073506       6/10/2011        8:18:09
4249      2144125035       1/2/2012         8:16:34
4250      2144139440       5/26/2012        8:25:40
4251      2144145601       12/21/2011       19:54:34
4252      2144146232       1/13/2012        12:25:46
4253      2144146797       7/17/2012        12:29:19
4254      2144147125       1/9/2012         18:39:10
4255      2144148651       7/12/2012        13:20:39
4256      2144151502       10/3/2011        8:15:39
4257      2144153378       9/11/2012        21:25:39
4258      2144156172       12/3/2011        9:15:12
4259      2144157605       10/17/2011       8:37:23
4260      2144157939       9/25/2012        14:55:17
4261      2144165956       5/23/2012        16:56:11
4262      2144167380       9/26/2012        14:34:40
4263      2144170763       6/2/2012         12:48:39
4264      2144172519       9/20/2011        20:34:31
4265      2144172874       9/10/2011        8:38:47
4266      2144174046       12/28/2011       8:41:31
4267      2144175508       3/6/2012         15:51:25
4268      2144175783       10/22/2011       12:43:12
4269      2144177176       9/12/2011        14:12:48
4270      2144177233       3/25/2012        12:09:04
4271      2144177708       9/22/2013        12:43:58
4272      2144179640       12/5/2011        18:34:20
4273      2144181027       10/8/2011        11:51:15
4274      2144183155       10/10/2011       11:59:13
4275      2144187321       9/23/2011        11:47:30
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4276      2144220037       9/1/2011         8:39:13
4277      2144291373       10/16/2012       12:03:46
4278      2144298623       9/6/2012         12:33:12
4279      2144317919       10/10/2012       12:36:47
4280      2144319514       4/25/2011        14:57:54
4281      2144342195       3/8/2012         20:27:42
4282      2144342464       3/8/2012         9:11:00
4283      2144343109       7/3/2012         12:20:21
4284      2144343161       10/25/2011       15:32:01
4285      2144344291       8/21/2012        14:02:39
4286      2144344492       10/7/2012        13:04:33
4287      2144345154       9/22/2011        16:01:27
4288      2144346318       1/23/2012        8:23:39
4289      2144347594       1/11/2012        16:23:19
4290      2144348314       12/2/2011        15:24:29
4291      2144348375       7/11/2011        8:13:54
4292      2144348378       5/22/2012        11:31:57
4293      2144348587       10/19/2012       19:16:05
4294      2144348934       4/1/2012         16:10:54
4295      2144352827       11/12/2011       10:40:50
4296      2144359748       11/29/2011       15:09:37
4297      2144363107       11/9/2011        8:07:12
4298      2144373638       4/29/2011        20:12:02
4299      2144387010       1/17/2012        18:33:49
4300      2144387257       5/7/2012         8:13:53
4301      2144387427       12/21/2011       19:54:11
4302      2144387636       9/19/2012        8:05:29
4303      2144406884       10/22/2012       8:07:37
4304      2144407441       12/1/2011        8:06:42
4305      2144408328       12/29/2011       14:45:06
4306      2144408742       3/31/2012        17:45:55
4307      2144408744       9/9/2011         18:28:17
4308      2144409017       11/15/2011       20:08:33
4309      2144423295       8/16/2011        17:59:39
4310      2144423295       11/2/2011        14:18:07
4311      2144423417       8/2/2012         18:57:35
4312      2144480806       1/4/2012         11:07:37
4313      2144480806       1/23/2012        19:16:41
4314      2144481828       10/19/2011       8:03:50
4315      2144486700       3/10/2012        8:32:10
4316      2144486868       1/19/2012        18:30:30
4317      2144486868       5/17/2012        16:40:36
4318      2144487174       9/20/2011        16:45:55
4319      2144487372       10/19/2012       9:48:44
4320      2144488168       7/17/2012        12:24:37
4321      2144489895       2/24/2012        20:55:07
4322      2144500392       9/19/2011        8:13:10
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4323      2144500727       7/5/2012         15:39:43
4324      2144501928       3/6/2012         20:29:10
4325      2144502562       8/20/2011        9:50:57
4326      2144504085       3/3/2012         8:28:53
4327      2144505764       8/6/2012         16:37:05
4328      2144506579       4/6/2012         15:17:32
4329      2144506917       1/19/2012        8:06:51
4330      2144506917       5/21/2012        8:15:54
4331      2144539394       4/4/2012         8:06:17
4332      2144540007       11/27/2011       15:33:53
4333      2144540377       11/29/2011       15:11:04
4334      2144541031       10/1/2011        10:36:13
4335      2144548656       1/3/2012         17:14:39
4336      2144548741       12/16/2011       16:32:13
4337      2144548741       4/19/2012        15:07:39
4338      2144553151       9/30/2011        10:02:04
4339      2144553595       9/13/2011        13:34:13
4340      2144557958       10/8/2012        20:04:23
4341      2144557958       10/24/2012       14:56:51
4342      2144577953       6/16/2012        8:48:54
4343      2144580913       6/27/2011        8:18:46
4344      2144586875       9/17/2011        10:23:56
4345      2144597113       6/5/2012         19:48:56
4346      2144597113       8/20/2012        18:54:29
4347      2144601459       5/21/2012        17:50:04
4348      2144601459       5/25/2012        17:10:03
4349      2144607109       9/14/2011        12:24:28
4350      2144609657       5/28/2011        10:23:29
4351      2144620255       7/11/2012        19:16:57
4352      2144620340       5/30/2012        16:58:39
4353      2144620875       3/30/2012        9:57:40
4354      2144622776       6/4/2011         10:21:46
4355      2144630515       3/29/2012        16:46:53
4356      2144630663       9/14/2011        12:34:13
4357      2144633327       10/25/2012       12:27:13
4358      2144669782       11/7/2011        9:35:11
4359      2144695266       11/26/2011       13:13:42
4360      2144695347       10/7/2012        13:06:02
4361      2144696213       9/26/2011        9:48:49
4362      2144698876       9/27/2011        18:44:46
4363      2144750936       10/15/2011       10:56:57
4364      2144750955       12/5/2011        9:33:27
4365      2144753151       1/7/2012         9:42:05
4366      2144753492       6/18/2012        15:28:04
4367      2144756778       6/17/2012        12:24:31
4368      2144763596       9/16/2011        13:28:04
4369      2144768923       5/5/2011         13:18:57
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4370      2144770424       11/16/2011       8:30:53
4371      2144771503       10/11/2012       11:49:28
4372      2144777053       12/29/2011       10:04:22
4373      2144783717       9/8/2012         11:10:23
4374      2144860142       3/30/2012        16:14:16
4375      2144860142       4/13/2012        20:39:19
4376      2144899845       8/24/2012        11:12:45
4377      2144909793       10/5/2011        14:13:00
4378      2144912103       11/15/2011       20:07:13
4379      2144918886       1/19/2012        18:30:13
4380      2144919729       6/14/2012        20:53:58
4381      2144923009       3/6/2012         20:30:09
4382      2144930946       1/6/2012         14:39:31
4383      2144935023       8/3/2012         12:36:37
4384      2144936882       11/19/2011       8:54:32
4385      2144937094       10/8/2011        10:02:13
4386      2144938969       3/14/2011        17:14:33
4387      2144939803       12/28/2011       14:04:40
4388      2144971794       5/22/2012        12:01:15
4389      2144972469       8/18/2012        8:41:29
4390      2144978164       9/21/2011        11:33:26
4391      2144978164       3/28/2012        17:07:52
4392      2144979741       3/10/2011        16:35:03
4393      2144979997       8/13/2012        20:52:48
4394      2144985028       11/25/2011       18:29:57
4395      2144986941       5/11/2012        12:27:09
4396      2144989738       12/1/2011        8:21:06
4397      2144990629       10/5/2011        14:14:21
4398      2144991263       9/23/2011        11:43:55
4399      2144991942       1/5/2012         17:29:26
4400      2144992165       3/23/2011        20:16:10
4401      2144996741       9/16/2011        13:01:37
4402      2144997711       12/2/2011        8:30:43
4403      2144997711       7/6/2012         16:47:10
4404      2145001323       2/1/2012         8:29:29
4405      2145003949       10/22/2011       12:40:00
4406      2145005035       10/19/2012       19:10:25
4407      2145005057       11/16/2011       20:05:09
4408      2145007380       1/9/2012         8:33:10
4409      2145008823       10/1/2012        13:47:14
4410      2145020126       1/24/2012        17:19:02
4411      2145045062       6/27/2012        18:05:33
4412      2145052019       9/14/2011        12:37:07
4413      2145054454       5/19/2012        9:32:45
4414      2145054521       1/18/2012        16:53:59
4415      2145056764       10/1/2012        8:15:31
4416      2145058464       12/21/2011       10:15:59
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4417      2145071111       9/15/2011        8:40:50
4418      2145073694       11/28/2011       18:02:58
4419      2145073821       1/20/2012        11:51:36
4420      2145073821       10/5/2012        18:34:40
4421      2145074231       9/24/2012        19:08:16
4422      2145077580       7/3/2012         19:38:12
4423      2145077810       11/3/2011        17:59:26
4424      2145078158       7/24/2012        14:42:33
4425      2145078933       1/14/2012        13:28:38
4426      2145142989       10/20/2012       8:07:40
4427      2145158729       8/29/2012        20:25:43
4428      2145161063       10/15/2012       16:22:09
4429      2145168761       9/21/2011        11:52:32
4430      2145170924       8/13/2012        20:52:45
4431      2145172706       9/20/2011        20:32:36
4432      2145172782       10/20/2012       16:25:00
4433      2145174075       11/11/2011       13:40:55
4434      2145176724       2/11/2012        10:48:01
4435      2145177202       1/10/2012        12:25:26
4436      2145177202       1/12/2012        14:17:21
4437      2145177666       2/1/2012         18:37:18
4438      2145183267       5/30/2012        16:50:16
4439      2145184003       10/10/2011       12:17:45
4440      2145184272       4/19/2012        15:07:45
4441      2145184575       7/10/2012        11:58:28
4442      2145184909       9/20/2011        20:30:24
4443      2145185970       10/6/2011        17:39:06
4444      2145188249       10/19/2011       12:15:53
4445      2145188249       12/2/2011        8:26:11
4446      2145188844       1/25/2012        20:29:44
4447      2145191075       9/8/2011         19:34:27
4448      2145241301       5/23/2012        16:30:34
4449      2145241912       12/19/2011       8:07:04
4450      2145244708       7/23/2012        13:08:05
4451      2145248248       1/29/2012        18:07:19
4452      2145248801       10/17/2011       8:35:27
4453      2145249629       1/3/2012         11:12:26
4454      2145276433       10/14/2011       12:51:40
4455      2145278088       11/11/2011       20:00:23
4456      2145290292       10/31/2011       8:15:00
4457      2145291380       10/7/2011        8:03:30
4458      2145293164       10/12/2011       12:07:26
4459      2145295445       3/28/2012        8:16:13
4460      2145295817       9/27/2011        18:44:15
4461      2145301889       10/24/2012       14:56:50
4462      2145306252       2/24/2011        11:57:10
4463      2145307102       11/16/2011       20:06:09
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4464      2145307479       1/3/2012         19:50:27
4465      2145307584       7/27/2013        9:42:33
4466      2145321875       10/8/2011        11:52:24
4467      2145324020       3/14/2012        19:45:25
4468      2145330538       7/24/2012        14:42:22
4469      2145344888       9/21/2011        19:30:03
4470      2145345389       12/21/2011       11:00:56
4471      2145346750       11/11/2011       20:01:34
4472      2145347738       3/29/2012        11:18:40
4473      2145350686       3/27/2012        15:04:38
4474      2145360191       1/8/2012         13:24:48
4475      2145360700       10/3/2012        20:02:33
4476      2145363340       10/28/2011       14:32:15
4477      2145363711       6/3/2011         8:15:16
4478      2145365652       11/14/2011       17:13:36
4479      2145372982       7/2/2011         8:32:26
4480      2145375340       6/6/2011         17:21:44
4481      2145377936       10/15/2011       9:30:39
4482      2145378964       9/9/2011         17:55:01
4483      2145382035       9/20/2011        20:47:48
4484      2145387337       1/17/2012        9:47:17
4485      2145388600       6/9/2012         11:09:21
4486      2145389101       10/20/2012       16:37:30
4487      2145414298       11/17/2011       15:31:03
4488      2145417379       10/22/2012       17:58:32
4489      2145417776       9/10/2011        9:15:37
4490      2145418192       9/28/2011        11:12:34
4491      2145426282       6/18/2012        15:27:26
4492      2145426651       5/23/2012        16:56:48
4493      2145428196       9/12/2012        14:57:05
4494      2145435007       6/19/2012        8:37:23
4495      2145435007       7/5/2012         15:35:51
4496      2145454589       8/25/2012        10:56:01
4497      2145454589       10/17/2012       18:45:34
4498      2145454676       9/15/2011        9:14:14
4499      2145458947       4/16/2012        16:03:39
4500      2145460825       12/9/2011        8:23:31
4501      2145467093       10/12/2011       8:34:06
4502      2145469845       9/27/2013        19:26:53
4503      2145489347       3/19/2012        11:59:49
4504      2145491367       9/20/2012        20:58:27
4505      2145494393       9/20/2011        20:32:15
4506      2145520719       3/22/2012        17:57:41
4507      2145525059       12/18/2011       17:20:04
4508      2145529267       3/28/2012        10:56:19
4509      2145542415       10/24/2012       15:10:50
4510      2145544015       10/3/2011        8:16:58
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4511      2145548471       7/18/2011        11:08:27
4512      2145548749       8/29/2012        11:02:35
4513      2145578007       12/30/2011       8:35:11
4514      2145607357       9/23/2011        11:47:41
4515      2145622667       12/18/2011       17:35:44
4516      2145623724       3/30/2012        16:08:39
4517      2145624351       4/1/2012         16:40:30
4518      2145632811       4/12/2012        18:06:09
4519      2145633100       10/6/2011        16:37:12
4520      2145636648       1/3/2012         19:42:58
4521      2145638406       5/31/2012        15:01:21
4522      2145642171       4/10/2012        11:53:30
4523      2145642538       3/1/2012         8:50:05
4524      2145660156       5/21/2012        8:30:06
4525      2145667735       11/16/2011       10:28:20
4526      2145667735       3/6/2012         20:29:53
4527      2145667846       7/3/2012         12:20:35
4528      2145718103       12/5/2011        18:38:10
4529      2145718562       9/16/2011        13:04:28
4530      2145718599       4/3/2012         15:59:31
4531      2145733528       7/30/2011        8:36:55
4532      2145733569       1/14/2012        13:29:14
4533      2145746967       10/27/2011       15:57:34
4534      2145746968       9/27/2011        18:37:38
4535      2145748537       7/20/2012        15:03:36
4536      2145749150       2/21/2012        20:48:51
4537      2145749233       9/8/2011         19:30:53
4538      2145766464       10/11/2012       18:35:55
4539      2145773792       3/12/2012        19:09:00
4540      2145773872       1/27/2014        13:16:34
4541      2145778037       3/11/2012        15:28:05
4542      2145780067       4/13/2012        20:48:07
4543      2145780303       3/28/2012        18:25:25
4544      2145781713       12/6/2011        13:34:30
4545      2145781993       8/25/2011        18:17:09
4546      2145783245       11/28/2011       11:24:07
4547      2145787412       10/13/2011       8:21:38
4548      2145790079       10/7/2011        7:19:13
4549      2145790099       5/31/2012        15:09:09
4550      2145794263       9/4/2012         15:43:47
4551      2145795296       11/1/2011        8:12:56
4552      2145806326       10/14/2011       12:56:39
4553      2145837612       2/28/2012        13:13:38
4554      2145837612       3/8/2012         20:27:16
4555      2145844725       9/13/2012        15:16:40
4556      2145848879       3/27/2012        14:56:06
4557      2145853006       5/22/2012        11:51:15
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4558      2145857131       4/6/2012         16:17:29
4559      2145857131       5/7/2012         8:21:56
4560      2145858262       12/7/2011        14:11:24
4561      2145859112       10/6/2011        17:41:24
4562      2145863297       3/11/2012        15:28:41
4563      2145863839       11/17/2011       16:26:10
4564      2145865239       10/23/2012       16:23:06
4565      2145867219       9/30/2012        15:13:14
4566      2145868351       11/23/2011       10:28:47
4567      2145868701       5/23/2012        16:30:57
4568      2145869145       3/29/2012        16:43:07
4569      2145869480       4/22/2012        15:33:02
4570      2145869509       9/19/2011        8:14:04
4571      2145870064       10/21/2011       13:23:06
4572      2145872064       11/11/2011       20:19:45
4573      2145872528       10/22/2011       13:07:52
4574      2145877580       10/16/2012       8:44:02
4575      2145879084       11/16/2011       19:58:29
4576      2145879084       6/30/2012        8:09:54
4577      2145925047       8/16/2012        9:32:41
4578      2145925325       4/10/2012        16:14:58
4579      2145971700       11/16/2011       20:06:40
4580      2145974810       12/2/2011        15:26:33
4581      2145975012       12/21/2011       10:18:24
4582      2146003551       3/21/2012        13:41:38
4583      2146013606       4/9/2012         13:36:45
4584      2146017195       10/21/2011       16:03:25
4585      2146032085       10/10/2012       19:12:30
4586      2146036777       2/11/2012        15:42:05
4587      2146042459       9/15/2011        9:17:15
4588      2146043744       6/14/2012        20:47:46
4589      2146043808       12/29/2011       10:04:36
4590      2146045012       9/12/2011        13:20:57
4591      2146046914       8/16/2012        19:53:40
4592      2146049983       5/28/2012        8:02:20
4593      2146056150       6/15/2012        17:52:59
4594      2146064950       12/20/2011       17:26:23
4595      2146065676       10/10/2012       13:00:19
4596      2146066527       9/13/2011        17:51:41
4597      2146073605       12/11/2011       12:23:40
4598      2146075364       10/6/2011        17:39:49
4599      2146075981       9/20/2011        16:38:21
4600      2146076924       3/23/2012        20:09:00
4601      2146077166       9/8/2011         19:32:59
4602      2146077215       7/26/2011        9:44:07
4603      2146078734       10/12/2011       8:35:07
4604      2146090443       9/27/2011        18:40:56
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4605       2146093786       2/20/2012       16:53:58
4606       2146093789       5/21/2012       8:13:41
4607       2146097321       8/3/2012        12:38:33
4608       2146099822       12/27/2011      14:20:45
4609       2146166766       10/27/2011      16:48:43
4610       2146204574       9/20/2012       8:45:52
4611       2146208368       2/21/2012       20:48:58
4612       2146214384       7/11/2011       8:20:47
4613       2146216971       12/23/2011      14:12:37
4614       2146219209       12/9/2011       8:04:08
4615       2146220781       4/6/2012        15:17:36
4616       2146220933       4/22/2012       15:49:20
4617       2146221502       5/22/2012       18:22:49
4618       2146222515       5/8/2012        17:16:08
4619       2146223022       9/10/2011       9:09:09
4620       2146223913       10/12/2011      8:12:11
4621       2146237310       2/11/2012       15:11:22
4622       2146248596       8/18/2012       8:59:51
4623       2146251158       11/22/2011      19:39:03
4624       2146296912       9/17/2011       9:47:13
4625       2146297004       7/22/2011       12:54:32
4626       2146298926       10/14/2011      13:23:54
4627       2146320809       9/20/2011       19:29:11
4628       2146323046       2/2/2012        16:37:20
4629       2146323046       4/11/2012       11:26:40
4630       2146367589       2/9/2012        14:30:26
4631       2146369086       4/16/2012       16:07:28
4632       2146413369       8/8/2011        15:29:38
4633       2146414674       10/24/2011      8:13:01
4634       2146415900       5/2/2011        18:09:15
4635       2146417943       2/14/2012       10:07:29
4636       2146421354       12/28/2011      21:12:20
4637       2146423063       11/17/2011      15:39:24
4638       2146426533       10/20/2012      16:31:51
4639       2146430076       5/18/2012       15:39:49
4640       2146430514       10/3/2011       8:24:46
4641       2146439024       9/12/2013       16:37:12
4642       2146467042       9/9/2011        17:56:47
4643       2146495027       9/24/2012       12:54:21
4644       2146496465       1/27/2012       12:01:16
4645       2146498193       10/20/2012      8:17:45
4646       2146502044       10/4/2011       13:20:52
4647       2146504732       1/11/2012       8:49:15
4648       2146505173       1/13/2012       17:26:38
4649       2146505173       3/2/2012        18:47:48
4650       2146505191       10/28/2011      14:15:32
4651       2146506057       9/15/2011       9:19:05
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4652       2146507637       2/17/2012       9:14:55
4653       2146508523       7/14/2012       8:27:19
4654       2146508559       8/28/2012       11:58:33
4655       2146509600       2/14/2012       16:50:44
4656       2146606645       9/21/2012       18:53:00
4657       2146610515       7/13/2012       13:56:45
4658       2146610895       4/20/2012       14:43:30
4659       2146626328       10/17/2011      8:44:45
4660       2146628779       12/27/2011      13:31:26
4661       2146630719       12/9/2011       7:47:53
4662       2146630994       1/28/2012       8:18:53
4663       2146631077       8/16/2011       18:05:22
4664       2146633190       6/4/2012        8:43:50
4665       2146634361       12/31/2011      12:04:36
4666       2146634860       8/2/2012        18:54:15
4667       2146639468       10/18/2012      16:36:28
4668       2146639478       11/19/2011      8:31:48
4669       2146640112       8/5/2011        18:48:18
4670       2146640817       11/16/2011      20:03:58
4671       2146641186       1/3/2012        16:24:43
4672       2146641189       9/26/2012       14:42:24
4673       2146641942       9/27/2011       18:43:34
4674       2146641942       10/27/2011      16:50:11
4675       2146642648       11/26/2011      13:10:53
4676       2146643384       9/1/2012        9:04:21
4677       2146643790       12/28/2011      8:47:37
4678       2146643790       3/8/2012        20:28:17
4679       2146643917       5/11/2012       18:35:54
4680       2146643917       5/20/2012       15:48:31
4681       2146645512       3/3/2012        17:34:18
4682       2146646152       10/25/2011      16:26:56
4683       2146646529       2/17/2012       18:38:19
4684       2146681825       11/8/2011       14:01:15
4685       2146682295       10/20/2011      15:45:03
4686       2146702100       12/20/2011      19:25:53
4687       2146702100       1/4/2012        11:24:55
4688       2146702311       10/29/2011      10:51:15
4689       2146743462       5/18/2012       11:47:52
4690       2146746064       7/19/2011       17:26:00
4691       2146755495       10/14/2011      12:51:34
4692       2146756542       7/27/2011       17:39:01
4693       2146762271       9/22/2011       16:08:06
4694       2146763411       12/26/2011      9:25:59
4695       2146765113       2/8/2012        13:07:15
4696       2146765550       10/5/2011       14:39:20
4697       2146766054       12/10/2011      13:23:56
4698       2146766054       2/10/2012       16:51:02
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4699       2146769648       9/8/2011        19:49:50
4700       2146772183       9/20/2011       18:32:12
4701       2146790641       9/1/2012        9:28:19
4702       2146796698       3/13/2012       18:41:05
4703       2146798117       9/8/2011        19:52:36
4704       2146802090       9/10/2011       8:38:29
4705       2146802466       11/17/2011      16:31:10
4706       2146804132       9/20/2011       16:46:42
4707       2146804144       3/26/2011       12:29:52
4708       2146807500       3/12/2012       19:08:56
4709       2146816466       12/8/2011       19:35:50
4710       2146823562       10/3/2011       8:17:03
4711       2146826393       9/13/2011       13:48:29
4712       2146826393       9/23/2011       11:47:37
4713       2146827065       11/30/2011      8:11:52
4714       2146827819       9/19/2011       19:34:00
4715       2146831407       4/6/2012        15:56:28
4716       2146838999       11/17/2011      16:26:04
4717       2146845352       11/29/2011      16:19:28
4718       2146845543       10/6/2012       8:34:16
4719       2146866005       2/3/2012        20:04:29
4720       2146869920       7/6/2012        14:51:51
4721       2146878025       4/1/2012        17:22:40
4722       2146878114       9/28/2011       10:37:04
4723       2146900213       4/29/2011       20:26:42
4724       2146933949       12/7/2011       13:31:51
4725       2146934707       11/29/2011      15:45:14
4726       2146936666       10/5/2011       14:45:10
4727       2146936666       12/1/2011       8:18:28
4728       2146940418       10/28/2011      13:47:50
4729       2146940814       9/20/2011       20:33:47
4730       2146940814       10/1/2011       9:58:12
4731       2146941411       11/16/2011      9:55:24
4732       2146943003       10/5/2012       18:33:02
4733       2146943455       9/24/2011       9:24:00
4734       2146943800       5/13/2012       17:39:57
4735       2146944488       10/13/2011      8:32:10
4736       2146944770       10/5/2011       14:38:56
4737       2146946494       1/31/2012       10:03:19
4738       2146948608       9/23/2011       11:42:57
4739       2146953887       9/26/2011       9:36:27
4740       2146957588       10/12/2011      7:54:19
4741       2146974739       11/28/2011      11:27:25
4742       2146974739       2/9/2012        9:46:00
4743       2146974739       5/21/2012       8:02:23
4744       2146975299       11/28/2011      17:52:53
4745       2146977168       2/28/2012       13:03:38
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4746       2146977168       3/8/2012        20:34:08
4747       2146978779       9/14/2011       12:35:59
4748       2147012285       5/5/2012        8:32:45
4749       2147015307       9/20/2012       14:44:29
4750       2147042177       9/19/2011       19:17:07
4751       2147042324       11/12/2011      10:33:45
4752       2147044682       9/12/2012       15:00:52
4753       2147045444       12/18/2011      17:36:22
4754       2147048816       5/14/2012       15:44:32
4755       2147054239       8/18/2011       8:38:18
4756       2147055004       4/11/2012       19:38:13
4757       2147055088       10/2/2012       12:58:00
4758       2147055137       5/3/2012        8:13:44
4759       2147055313       8/22/2012       11:22:50
4760       2147055419       10/18/2011      12:24:24
4761       2147055483       2/24/2012       20:50:45
4762       2147055766       12/13/2011      16:55:34
4763       2147055787       12/26/2011      20:25:58
4764       2147070900       11/10/2011      8:15:24
4765       2147073213       6/6/2012        8:19:47
4766       2147073610       9/30/2011       10:02:19
4767       2147074895       1/7/2012        9:56:37
4768       2147077017       10/1/2011       10:45:06
4769       2147077017       10/5/2011       14:11:16
4770       2147078259       2/10/2012       9:21:40
4771       2147079259       10/23/2012      16:09:36
4772       2147083730       11/9/2011       8:02:30
4773       2147084157       12/3/2011       9:26:22
4774       2147094345       8/31/2012       16:38:32
4775       2147094458       12/20/2011      17:33:44
4776       2147094877       7/25/2012       12:07:40
4777       2147100191       2/6/2012        17:22:18
4778       2147106255       10/23/2012      10:52:49
4779       2147107228       9/13/2011       13:53:56
4780       2147107228       10/8/2011       9:55:01
4781       2147108034       10/5/2012       18:16:39
4782       2147108825       7/22/2012       12:15:25
4783       2147141405       2/8/2012        12:59:04
4784       2147142319       12/21/2011      11:19:23
4785       2147148857       5/4/2012        20:57:41
4786       2147152517       8/2/2012        18:57:33
4787       2147153083       10/18/2012      16:46:40
4788       2147154545       6/16/2012       8:32:08
4789       2147154545       7/2/2012        17:29:40
4790       2147154605       6/13/2012       8:06:07
4791       2147155577       10/7/2011       8:13:35
4792       2147158166       4/14/2012       9:23:27
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4793       2147179378       9/17/2011       9:38:49
4794       2147180956       11/2/2011       14:17:51
4795       2147181599       11/8/2011       14:37:38
4796       2147183057       11/10/2011      8:14:57
4797       2147183302       11/18/2011      13:33:59
4798       2147183459       12/5/2011       9:46:56
4799       2147184575       9/20/2012       8:48:21
4800       2147186939       4/10/2012       15:45:24
4801       2147189894       12/27/2011      14:41:05
4802       2147230454       2/10/2012       9:28:58
4803       2147230611       9/9/2011        18:00:58
4804       2147231273       5/6/2011        15:52:59
4805       2147231368       1/6/2012        14:50:36
4806       2147231368       4/5/2012        13:57:22
4807       2147232726       2/6/2012        10:13:38
4808       2147233969       10/10/2011      12:42:23
4809       2147234684       5/11/2012       18:34:59
4810       2147238118       10/25/2011      15:38:27
4811       2147238648       1/13/2012       12:32:48
4812       2147239150       5/18/2012       15:40:45
4813       2147241166       7/23/2011       13:09:01
4814       2147244007       8/3/2012        12:31:39
4815       2147254910       5/7/2012        8:19:41
4816       2147265114       12/3/2011       9:14:42
4817       2147270195       10/1/2012       13:49:27
4818       2147274212       6/13/2011       8:30:13
4819       2147275362       11/19/2011      8:32:12
4820       2147275742       12/9/2011       14:29:20
4821       2147279921       3/7/2012        9:40:46
4822       2147279982       9/20/2011       18:29:21
4823       2147279982       11/1/2011       8:47:41
4824       2147279982       12/6/2011       14:11:07
4825       2147280219       1/9/2012        8:21:33
4826       2147287470       3/23/2012       19:52:00
4827       2147287470       5/6/2012        18:08:41
4828       2147289722       7/27/2011       17:29:38
4829       2147289965       12/26/2011      20:02:54
4830       2147297511       10/6/2011       16:40:25
4831       2147298866       4/10/2012       16:14:49
4832       2147302590       7/31/2012       15:47:26
4833       2147329053       10/6/2011       17:45:50
4834       2147333540       7/17/2012       12:29:55
4835       2147334021       10/10/2011      12:52:57
4836       2147336362       10/10/2012      19:22:37
4837       2147336564       2/28/2012       13:11:14
4838       2147340499       8/18/2012       8:43:49
4839       2147341107       10/3/2011       8:19:43
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4840       2147342470       4/11/2012       11:33:00
4841       2147345869       11/14/2011      17:21:30
4842       2147347910       5/24/2012       11:51:45
4843       2147366642       10/6/2011       17:42:44
4844       2147366677       12/24/2011      8:07:07
4845       2147388006       1/26/2012       10:00:25
4846       2147459441       7/9/2012        19:12:20
4847       2147498425       3/30/2012       16:17:40
4848       2147498609       9/10/2011       8:39:17
4849       2147533156       10/29/2011      10:50:09
4850       2147533227       10/25/2012      19:49:10
4851       2147533292       10/8/2012       20:06:21
4852       2147533484       11/17/2011      16:28:20
4853       2147533506       8/20/2011       10:27:08
4854       2147536422       4/11/2012       11:27:02
4855       2147536744       8/13/2012       20:56:05
4856       2147536771       4/13/2012       20:44:59
4857       2147536991       9/27/2011       18:38:10
4858       2147537629       3/2/2012        19:03:28
4859       2147539757       4/17/2012       9:23:28
4860       2147553238       8/2/2011        17:13:18
4861       2147554671       1/7/2012        9:20:31
4862       2147555815       10/8/2011       10:04:20
4863       2147559802       10/5/2011       14:23:33
4864       2147560097       12/7/2011       14:09:18
4865       2147579782       10/3/2011       8:14:11
4866       2147600083       12/10/2011      13:26:24
4867       2147600106       12/6/2011       13:29:52
4868       2147600884       12/21/2011      19:54:33
4869       2147625580       10/14/2011      13:26:37
4870       2147630367       10/29/2011      10:56:46
4871       2147637782       6/24/2012       11:33:42
4872       2147662558       10/25/2011      15:43:32
4873       2147667505       9/23/2011       11:17:50
4874       2147697754       12/20/2011      17:49:38
4875       2147697999       10/11/2011      16:25:24
4876       2147702927       4/1/2011        11:39:24
4877       2147706714       6/6/2012        8:19:38
4878       2147707471       1/13/2012       17:26:56
4879       2147715821       2/11/2012       11:12:36
4880       2147715821       2/18/2012       9:05:22
4881       2147721785       6/16/2012       15:31:30
4882       2147723256       11/22/2011      18:42:42
4883       2147727351       9/13/2011       13:37:07
4884       2147738276       10/29/2011      11:38:08
4885       2147738276       12/26/2011      15:18:01
4886       2147747149       3/29/2012       12:27:22
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4887       2147747356       3/7/2012        18:54:44
4888       2147747580       10/12/2011      8:03:22
4889       2147772809       11/26/2011      13:48:06
4890       2147773454       1/18/2012       16:51:48
4891       2147773672       9/27/2011       18:39:00
4892       2147773672       5/5/2012        8:38:39
4893       2147787185       4/3/2012        16:00:37
4894       2147787240       1/5/2012        12:07:31
4895       2147787821       1/3/2012        16:30:12
4896       2147790079       6/19/2012       15:43:19
4897       2147791766       5/25/2012       17:03:16
4898       2147791766       8/29/2012       20:17:40
4899       2147791781       11/16/2011      10:01:05
4900       2147791781       11/25/2011      17:49:02
4901       2147793738       10/17/2011      8:08:29
4902       2147794726       9/20/2011       20:43:41
4903       2147796709       10/7/2012       13:10:51
4904       2147796832       5/22/2012       11:34:18
4905       2147796983       7/21/2012       10:29:32
4906       2147797108       1/17/2012       9:44:39
4907       2147797108       6/16/2012       15:30:31
4908       2147797363       10/20/2012      16:21:42
4909       2147797748       2/10/2012       20:39:22
4910       2147798058       1/26/2012       9:59:45
4911       2147798058       2/6/2012        17:02:02
4912       2147806062       2/24/2012       17:29:44
4913       2147806651       5/5/2011        13:17:54
4914       2147807444       9/13/2011       17:55:01
4915       2147834483       11/29/2011      15:38:26
4916       2147842209       7/11/2012       17:21:38
4917       2147899335       10/15/2011      9:32:42
4918       2147904744       1/12/2012       14:16:29
4919       2147904774       7/13/2012       18:34:48
4920       2147912512       10/15/2011      10:36:51
4921       2147914002       10/7/2011       8:06:04
4922       2147914020       9/22/2011       16:01:57
4923       2147915238       7/26/2012       19:19:53
4924       2147916886       9/28/2011       10:24:27
4925       2147917550       5/23/2012       15:18:27
4926       2147918347       2/25/2012       11:07:21
4927       2147931479       8/30/2012       17:42:51
4928       2147931563       8/2/2012        11:43:39
4929       2147934745       12/13/2011      17:20:57
4930       2147942321       5/14/2012       15:21:24
4931       2147944115       11/2/2011       14:14:48
4932       2147944422       9/20/2011       18:15:32
4933       2147944473       3/2/2012        9:16:42
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4934       2147945234       2/9/2012        20:36:52
4935       2147945706       9/8/2011        18:04:57
4936       2147962569       7/20/2012       8:50:19
4937       2147963782       3/29/2012       12:27:36
4938       2147964850       6/17/2012       12:27:00
4939       2147965751       6/12/2012       8:31:55
4940       2147965846       1/3/2012        11:18:39
4941       2147966685       4/11/2012       19:37:27
4942       2147979259       8/13/2012       8:31:09
4943       2147979259       8/30/2012       17:33:03
4944       2148011175       5/24/2012       12:16:52
4945       2148013923       4/19/2012       20:28:13
4946       2148029474       1/9/2012        18:17:05
4947       2148039291       11/18/2011      13:31:55
4948       2148039520       8/24/2011       12:33:35
4949       2148086170       2/10/2012       20:40:23
4950       2148091707       7/18/2012       18:32:27
4951       2148092079       1/4/2012        11:03:56
4952       2148092079       1/17/2012       18:46:05
4953       2148094522       9/27/2012       16:30:22
4954       2148150268       10/14/2011      13:24:38
4955       2148150278       7/13/2012       18:28:28
4956       2148150316       9/17/2011       9:45:08
4957       2148150600       7/14/2012       8:02:12
4958       2148150780       11/7/2011       9:37:51
4959       2148153720       5/18/2012       12:07:37
4960       2148153990       3/16/2012       15:53:06
4961       2148154109       9/30/2011       10:04:37
4962       2148154228       1/13/2012       12:43:09
4963       2148155594       10/24/2011      8:06:13
4964       2148155815       4/2/2012        17:42:22
4965       2148158948       11/28/2011      12:05:48
4966       2148159488       2/8/2012        13:06:39
4967       2148159593       4/2/2012        9:03:41
4968       2148306610       5/22/2012       18:28:23
4969       2148378949       10/7/2011       8:12:32
4970       2148409201       8/2/2012        18:50:44
4971       2148409249       3/23/2012       19:50:25
4972       2148409589       5/30/2012       16:49:21
4973       2148421702       12/12/2011      12:06:49
4974       2148421702       1/23/2012       7:15:51
4975       2148450014       9/16/2011       13:28:18
4976       2148451441       6/5/2012        17:47:47
4977       2148451748       12/15/2011      8:41:39
4978       2148509269       2/21/2012       11:23:56
4979       2148530134       1/11/2012       16:38:54
4980       2148532804       4/26/2011       20:20:51
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4981       2148540314       12/5/2011       18:34:07
4982       2148545285       11/15/2011      20:06:25
4983       2148545765       12/26/2011      20:04:00
4984       2148546378       6/1/2012        9:12:25
4985       2148546378       6/8/2012        8:06:57
4986       2148547004       5/11/2012       18:34:39
4987       2148547230       3/29/2012       12:52:01
4988       2148548419       9/8/2011        19:52:12
4989       2148549850       12/29/2011      18:17:12
4990       2148569374       1/13/2012       17:39:18
4991       2148593013       11/5/2011       11:32:16
4992       2148597253       10/17/2011      8:38:43
4993       2148598028       6/11/2012       18:02:44
4994       2148598028       6/23/2012       16:28:38
4995       2148615139       10/16/2012      20:29:47
4996       2148615168       7/26/2012       19:27:22
4997       2148616602       5/16/2012       8:05:29
4998       2148624925       5/3/2012        8:10:42
4999       2148626549       10/19/2011      12:16:38
5000       2148627193       10/22/2011      12:44:20
5001       2148627255       2/10/2012       9:30:35
5002       2148638497       11/10/2011      8:06:19
5003       2148638497       11/22/2011      18:46:12
5004       2148642034       10/1/2011       10:44:31
5005       2148643850       5/29/2014       8:24:04
5006       2148646740       9/6/2013        14:42:59
5007       2148665652       10/12/2011      12:12:42
5008       2148665970       10/6/2011       17:44:38
5009       2148669060       11/16/2011      19:59:35
5010       2148669341       1/6/2012        15:00:24
5011       2148687060       9/28/2011       11:22:49
5012       2148688453       10/20/2011      16:26:36
5013       2148689796       9/9/2011        17:57:44
5014       2148695448       1/27/2012       18:09:55
5015       2148720108       12/6/2011       14:25:40
5016       2148743042       12/3/2011       9:22:07
5017       2148743599       9/19/2011       19:30:57
5018       2148745575       6/9/2012        10:36:42
5019       2148750398       5/23/2012       15:00:49
5020       2148750477       4/23/2011       10:35:10
5021       2148757586       10/4/2011       13:23:25
5022       2148766331       8/18/2011       8:02:49
5023       2148810110       3/26/2012       18:30:38
5024       2148811238       5/11/2011       16:58:03
5025       2148811390       10/20/2012      16:32:58
5026       2148811667       6/19/2012       8:35:03
5027       2148811962       11/29/2011      15:02:39
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5028       2148811988       10/1/2011       9:52:08
5029       2148812023       7/11/2012       17:21:33
5030       2148812138       1/10/2012       15:34:15
5031       2148813078       10/2/2012       12:58:24
5032       2148814654       9/13/2011       14:06:14
5033       2148815423       5/30/2012       16:56:07
5034       2148817890       3/25/2012       12:02:23
5035       2148817923       9/8/2011        19:52:35
5036       2148818495       2/10/2012       9:29:20
5037       2148818525       9/28/2011       11:20:54
5038       2148819139       7/20/2011       13:46:03
5039       2148819903       8/19/2011       12:05:44
5040       2148822105       7/19/2012       8:29:11
5041       2148823983       2/9/2012        9:45:20
5042       2148829813       10/4/2011       13:52:07
5043       2148838221       3/15/2012       14:10:15
5044       2148932704       1/4/2012        11:46:40
5045       2149004585       9/4/2012        16:07:53
5046       2149009080       7/30/2012       13:17:08
5047       2149010685       1/9/2012        18:13:33
5048       2149010721       9/3/2011        10:55:37
5049       2149011341       10/25/2011      15:31:39
5050       2149012855       3/6/2012        16:05:56
5051       2149014834       3/16/2012       10:30:50
5052       2149014834       3/21/2012       13:49:52
5053       2149015851       4/9/2012        13:38:00
5054       2149015851       5/21/2012       8:03:32
5055       2149064633       10/19/2011      8:14:08
5056       2149066081       11/17/2011      16:29:19
5057       2149067116       8/14/2012       20:58:03
5058       2149068691       7/7/2012        10:53:29
5059       2149070452       6/7/2012        12:44:53
5060       2149083985       10/19/2011      12:17:24
5061       2149086244       10/15/2013      7:17:27
5062       2149089532       9/23/2011       19:02:39
5063       2149090096       7/19/2011       16:52:53
5064       2149092900       5/23/2012       16:55:37
5065       2149093759       10/12/2011      12:10:18
5066       2149096231       6/17/2011       15:22:05
5067       2149099070       5/23/2012       15:15:01
5068       2149099500       1/27/2012       11:57:24
5069       2149143310       10/19/2011      12:10:22
5070       2149143720       11/10/2011      8:10:40
5071       2149143722       9/13/2011       16:19:00
5072       2149144519       2/9/2012        20:34:51
5073       2149144743       9/20/2012       8:46:21
5074       2149160008       6/6/2011        17:15:21
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5075       2149160411       5/6/2011        15:56:04
5076       2149161067       12/1/2011       8:02:08
5077       2149161269       9/4/2012        15:59:40
5078       2149161418       9/26/2011       9:41:50
5079       2149161418       12/10/2011      12:31:48
5080       2149161486       1/27/2012       17:46:12
5081       2149161530       9/21/2011       13:33:20
5082       2149161636       9/26/2012       8:11:39
5083       2149167305       2/21/2012       20:48:30
5084       2149167907       7/27/2011       17:37:41
5085       2149168635       4/10/2012       16:14:35
5086       2149169057       1/26/2012       10:31:00
5087       2149169699       8/2/2012        11:37:09
5088       2149169954       11/28/2011      12:15:14
5089       2149234745       9/27/2011       18:41:02
5090       2149234745       10/14/2011      12:54:47
5091       2149234745       11/7/2011       8:07:38
5092       2149234745       4/10/2012       15:38:46
5093       2149235371       10/29/2011      10:46:57
5094       2149242613       9/19/2012       16:23:03
5095       2149245893       10/18/2012      8:04:31
5096       2149248715       3/29/2012       16:46:49
5097       2149248926       9/20/2011       16:44:26
5098       2149263056       9/28/2011       11:13:26
5099       2149272045       10/23/2012      10:40:43
5100       2149291899       7/18/2012       8:33:22
5101       2149297454       5/7/2012        8:15:15
5102       2149314027       12/23/2011      15:54:37
5103       2149318683       5/13/2012       17:46:45
5104       2149347878       6/8/2012        17:00:27
5105       2149349459       5/25/2011       17:43:16
5106       2149349627       7/26/2011       9:48:40
5107       2149380026       5/6/2012        18:10:15
5108       2149382079       11/2/2011       14:19:05
5109       2149389804       1/23/2012       19:15:52
5110       2149492527       5/29/2012       17:06:13
5111       2149497435       5/24/2012       11:56:19
5112       2149520112       8/6/2011        9:23:48
5113       2149521949       9/3/2011        10:55:58
5114       2149522976       3/7/2012        18:42:23
5115       2149529042       1/16/2012       12:07:00
5116       2149600331       11/12/2011      10:25:27
5117       2149606704       6/11/2012       17:39:21
5118       2149607500       10/6/2011       17:42:35
5119       2149608105       3/24/2012       10:26:51
5120       2149609748       9/20/2011       16:44:54
5121       2149620878       7/23/2012       13:07:46
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5122       2149624402       11/11/2011      13:16:56
5123       2149624402       11/29/2011      16:11:53
5124       2149626937       9/10/2012       8:47:43
5125       2149626977       12/30/2011      17:08:41
5126       2149628910       5/29/2012       17:24:32
5127       2149661492       1/7/2012        9:39:47
5128       2149663697       9/12/2011       13:23:40
5129       2149665401       12/27/2011      14:22:44
5130       2149666323       2/13/2012       8:11:46
5131       2149669847       2/14/2012       13:32:05
5132       2149787522       1/6/2012        12:19:45
5133       2149800296       1/16/2012       16:09:35
5134       2149821408       5/7/2012        9:08:57
5135       2149852059       5/19/2012       16:08:27
5136       2149865834       3/20/2012       17:42:02
5137       2149867408       9/19/2012       8:04:08
5138       2149895142       11/3/2011       17:05:23
5139       2149895154       12/7/2011       14:17:47
5140       2149895154       8/13/2012       20:59:09
5141       2149898141       2/14/2012       15:25:43
5142       2149914078       7/26/2012       12:26:43
5143       2149914730       12/18/2011      16:54:37
5144       2149915444       10/26/2011      12:09:37
5145       2149918961       12/26/2011      20:20:17
5146       2149948532       9/12/2011       14:16:19
5147       2149948594       8/9/2011        13:48:57
5148       2149949280       1/23/2012       8:31:41
5149       2149949521       11/4/2011       9:04:56
5150       2149958444       3/13/2012       12:48:36
5151       2149985994       2/11/2012       10:51:09
5152       2149986060       3/23/2012       19:49:53
5153       2149986645       10/14/2011      13:25:57
5154       2152001354       5/10/2012       14:46:59
5155       2152007676       7/26/2011       9:33:46
5156       2152008510       7/25/2012       12:01:19
5157       2152056460       6/12/2012       17:11:57
5158       2152065803       9/8/2011        19:38:55
5159       2152076428       3/12/2012       7:29:17
5160       2152099021       1/4/2012        11:12:15
5161       2152188492       3/15/2011       11:13:18
5162       2152193680       10/19/2012      19:03:01
5163       2152194364       1/6/2012        7:05:34
5164       2152196362       11/5/2011       10:42:27
5165       2152214414       3/24/2012       10:19:42
5166       2152214414       5/1/2012        17:37:38
5167       2152377089       3/29/2012       16:36:27
5168       2152397308       10/6/2011       16:01:42
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5169       2152398057       12/15/2011      8:26:56
5170       2152398057       12/29/2011      10:53:24
5171       2152398057       3/12/2012       7:12:27
5172       2152398957       4/16/2012       7:23:12
5173       2152409680       1/3/2012        11:12:13
5174       2152518857       8/17/2013       14:45:18
5175       2152520678       3/12/2012       7:22:35
5176       2152520678       3/15/2012       18:53:16
5177       2152539071       10/8/2011       10:33:34
5178       2152539220       11/16/2011      8:47:38
5179       2152544508       9/21/2011       11:23:27
5180       2152544684       10/11/2011      15:46:12
5181       2152544684       11/15/2011      16:01:30
5182       2152549015       9/18/2012       14:22:45
5183       2152602482       11/28/2011      11:08:45
5184       2152607298       11/17/2011      15:25:43
5185       2152608890       9/4/2012        15:37:16
5186       2152621533       8/4/2011        7:40:02
5187       2152627921       12/18/2011      16:57:12
5188       2152642279       5/25/2012       12:03:55
5189       2152644358       3/16/2012       11:09:24
5190       2152668701       5/11/2012       12:13:57
5191       2152688730       12/12/2011      12:01:46
5192       2152756319       10/29/2011      11:18:42
5193       2152756319       1/9/2012        18:09:53
5194       2152758947       6/28/2012       14:14:03
5195       2152790453       11/26/2011      13:04:32
5196       2152790453       2/28/2012       7:51:55
5197       2152790453       7/16/2012       19:47:59
5198       2152808924       11/16/2011      9:09:21
5199       2152816870       7/15/2012       10:39:35
5200       2152818504       5/2/2012        13:24:38
5201       2152845154       5/30/2012       16:43:42
5202       2152851043       12/7/2011       13:18:23
5203       2152851043       1/19/2012       18:25:29
5204       2152854464       10/15/2011      9:57:49
5205       2152872086       4/9/2012        17:48:16
5206       2152906262       9/28/2011       10:47:55
5207       2152927296       9/20/2011       16:31:27
5208       2152940121       3/21/2012       13:43:12
5209       2152940648       10/3/2011       7:44:45
5210       2152940838       4/30/2012       14:29:26
5211       2152940892       9/19/2011       7:05:38
5212       2152940892       9/29/2011       15:10:02
5213       2152947912       10/27/2011      15:08:41
5214       2152947912       2/14/2012       16:36:30
5215       2153000078       11/28/2011      11:47:26
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5216       2153000355       1/9/2012        18:27:52
5217       2153003294       9/13/2011       17:47:42
5218       2153003999       10/20/2012      16:27:50
5219       2153005189       4/21/2012       8:17:13
5220       2153005292       10/14/2011      12:45:45
5221       2153010711       5/24/2012       12:00:27
5222       2153010969       8/20/2012       18:40:19
5223       2153015545       1/10/2012       15:14:10
5224       2153017688       12/9/2011       16:02:11
5225       2153018401       1/5/2012        17:26:22
5226       2153019617       6/18/2012       7:57:08
5227       2153030788       7/28/2012       8:54:55
5228       2153031332       4/11/2012       7:11:14
5229       2153032139       3/15/2012       18:52:41
5230       2153032340       3/21/2012       13:55:03
5231       2153032382       10/19/2011      7:26:28
5232       2153032382       12/15/2011      7:25:59
5233       2153032414       9/29/2011       15:08:08
5234       2153032414       10/22/2011      12:33:23
5235       2153032522       2/9/2012        7:17:52
5236       2153034308       5/23/2012       14:42:26
5237       2153034526       1/12/2012       14:11:59
5238       2153034767       9/21/2012       19:01:45
5239       2153035373       11/2/2011       7:07:54
5240       2153036718       8/13/2012       7:34:24
5241       2153036777       10/7/2012       12:47:37
5242       2153037173       10/10/2012      12:41:49
5243       2153038366       1/28/2012       8:05:55
5244       2153038366       2/21/2012       10:46:34
5245       2153039167       12/2/2011       15:07:20
5246       2153039276       2/2/2012        10:55:17
5247       2153039276       7/19/2012       7:51:41
5248       2153039299       9/19/2011       7:21:53
5249       2153039330       12/29/2011      19:12:39
5250       2153039462       7/21/2011       14:04:01
5251       2153052365       6/19/2012       15:24:17
5252       2153052495       7/23/2012       13:11:47
5253       2153077425       10/4/2011       13:41:24
5254       2153130783       7/19/2012       17:44:04
5255       2153131201       1/26/2012       7:27:48
5256       2153131201       7/6/2012        16:44:20
5257       2153134462       6/5/2012        7:09:04
5258       2153160183       7/5/2012        7:50:44
5259       2153167107       5/6/2012        17:20:23
5260       2153167107       5/21/2012       7:32:27
5261       2153173585       11/26/2011      12:38:15
5262       2153273057       5/23/2012       15:28:16
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5263       2153273366       3/7/2012        18:35:41
5264       2153274833       11/15/2011      15:17:13
5265       2153278394       11/17/2011      15:24:24
5266       2153278394       12/21/2011      9:53:42
5267       2153278394       2/14/2012       13:37:49
5268       2153279375       1/13/2012       17:15:00
5269       2153331747       10/11/2011      16:06:03
5270       2153490027       2/15/2012       8:02:28
5271       2153490897       8/31/2011       10:40:55
5272       2153530340       12/1/2011       14:51:19
5273       2153533303       12/18/2011      18:00:09
5274       2153561216       5/23/2012       14:43:56
5275       2153565562       5/23/2012       15:28:13
5276       2153567911       11/25/2011      17:33:47
5277       2153597373       12/10/2011      11:59:34
5278       2153604189       10/11/2012      7:55:40
5279       2153604922       2/17/2012       9:11:36
5280       2153606818       10/13/2011      7:10:05
5281       2153752194       3/14/2012       19:27:23
5282       2153785011       1/24/2012       9:59:04
5283       2153805847       1/5/2012        14:02:26
5284       2153805847       2/4/2012        8:32:27
5285       2153805847       3/13/2012       18:39:21
5286       2153809944       1/5/2012        13:56:24
5287       2153844265       6/18/2012       15:20:48
5288       2153854253       5/11/2012       18:39:27
5289       2153854670       10/13/2011      7:25:28
5290       2153854896       5/25/2011       17:18:43
5291       2153907681       10/5/2011       14:38:48
5292       2153912520       1/11/2012       7:35:28
5293       2153913545       5/9/2012        7:35:27
5294       2153915602       10/16/2012      7:27:20
5295       2153918384       10/17/2012      18:33:20
5296       2153919695       8/1/2012        8:32:13
5297       2153970063       5/25/2012       12:01:42
5298       2153971127       12/14/2011      17:59:43
5299       2153971221       8/20/2011       8:41:22
5300       2153975010       3/23/2012       19:47:45
5301       2153975023       9/21/2012       18:40:56
5302       2153975602       12/3/2011       8:56:41
5303       2153976200       11/17/2011      16:21:28
5304       2153996496       1/11/2012       7:31:59
5305       2154070870       8/30/2012       7:04:33
5306       2154074724       3/20/2012       9:14:09
5307       2154101385       8/3/2012        7:52:25
5308       2154160269       3/26/2012       18:20:22
5309       2154164488       1/19/2012       18:29:07
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5310       2154164988       9/15/2012       8:05:31
5311       2154213329       11/5/2011       9:09:10
5312       2154216592       12/7/2011       13:24:27
5313       2154222641       9/17/2011       9:18:27
5314       2154262816       11/15/2011      16:03:01
5315       2154293761       4/7/2012        9:19:56
5316       2154295409       9/8/2011        19:46:51
5317       2154310101       4/12/2012       14:54:30
5318       2154323397       12/9/2011       15:23:21
5319       2154325492       4/7/2012        9:40:37
5320       2154353766       3/4/2012        12:28:44
5321       2154365430       6/21/2012       18:19:14
5322       2154390391       8/30/2011       17:10:24
5323       2154392512       5/25/2012       17:09:41
5324       2154393055       9/15/2011       7:41:52
5325       2154394343       10/27/2011      15:11:28
5326       2154398586       4/4/2012        7:29:05
5327       2154591875       9/19/2011       19:28:24
5328       2154597650       10/7/2011       7:13:40
5329       2154598813       6/22/2012       7:08:04
5330       2154750204       5/4/2012        14:23:09
5331       2154751892       4/2/2012        7:51:10
5332       2154752413       11/17/2011      13:42:18
5333       2154757126       1/10/2012       15:10:10
5334       2154796578       9/13/2011       17:45:25
5335       2154802575       9/14/2011       9:26:10
5336       2154851166       11/30/2011      7:16:23
5337       2154900868       11/28/2011      12:03:57
5338       2154902559       9/19/2011       19:25:09
5339       2154906723       3/2/2012        18:58:52
5340       2154907818       4/9/2012        7:18:53
5341       2154908391       2/25/2012       10:48:35
5342       2154948272       9/28/2011       10:23:00
5343       2154948272       1/28/2012       9:41:48
5344       2154948696       4/25/2011       8:54:38
5345       2154988353       11/5/2011       9:02:19
5346       2154993787       7/23/2012       13:16:21
5347       2155000515       3/3/2012        8:43:17
5348       2155000729       10/15/2012      10:23:09
5349       2155002382       3/26/2012       18:53:44
5350       2155003580       12/30/2011      7:17:02
5351       2155007229       7/11/2012       9:33:29
5352       2155007229       8/8/2012        16:11:35
5353       2155009819       5/14/2012       15:27:48
5354       2155013731       1/5/2012        13:57:53
5355       2155016311       11/8/2011       13:42:41
5356       2155016511       4/30/2012       14:45:26
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5357       2155016511       6/21/2012       18:48:58
5358       2155016559       9/29/2011       15:32:42
5359       2155016559       10/13/2011      7:21:21
5360       2155016940       11/19/2011      8:07:21
5361       2155107783       10/1/2011       10:12:46
5362       2155140474       4/20/2012       14:04:34
5363       2155140474       5/21/2012       7:31:48
5364       2155143008       3/29/2012       16:40:29
5365       2155143338       3/27/2012       14:54:24
5366       2155144195       9/27/2011       18:04:08
5367       2155149373       11/5/2011       10:42:12
5368       2155184589       12/17/2011      11:53:52
5369       2155184590       12/19/2011      7:33:35
5370       2155188485       10/10/2011      11:36:47
5371       2155190386       9/30/2011       9:50:31
5372       2155193304       9/20/2011       17:13:32
5373       2155195337       3/1/2012        8:41:57
5374       2155195947       1/6/2012        14:47:10
5375       2155202301       10/8/2011       10:45:29
5376       2155206481       1/17/2012       17:33:54
5377       2155207681       12/12/2011      7:15:01
5378       2155208122       3/27/2012       14:53:00
5379       2155261454       7/15/2011       7:51:36
5380       2155264949       9/12/2011       13:51:46
5381       2155280380       9/13/2011       7:06:24
5382       2155287525       9/25/2012       14:41:53
5383       2155287525       10/24/2012      14:53:56
5384       2155289654       3/1/2012        8:31:36
5385       2155311669       10/14/2011      12:43:27
5386       2155312675       11/29/2011      15:31:35
5387       2155312765       3/14/2012       7:13:23
5388       2155357767       1/11/2012       7:36:21
5389       2155434355       3/10/2011       16:31:26
5390       2155484311       9/19/2011       19:26:38
5391       2155547576       8/23/2012       11:35:40
5392       2155547808       10/10/2012      12:46:25
5393       2155700190       8/25/2012       11:09:46
5394       2155715860       10/18/2012      16:34:41
5395       2155715893       2/17/2012       18:15:55
5396       2155715893       3/15/2012       18:53:35
5397       2155719958       7/11/2012       17:18:09
5398       2155845602       2/17/2012       18:28:34
5399       2155889506       12/21/2011      18:43:52
5400       2155895805       12/23/2011      7:03:47
5401       2155899277       12/5/2011       18:24:13
5402       2156005078       12/26/2011      9:10:50
5403       2156008944       2/10/2012       16:59:30
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5404       2156008944       2/17/2012       8:55:27
5405       2156009125       7/8/2012        13:31:01
5406       2156053057       9/30/2011       12:19:20
5407       2156053662       11/5/2011       9:58:21
5408       2156059610       4/6/2012        15:48:16
5409       2156068209       2/20/2012       17:00:26
5410       2156095150       11/14/2011      14:23:16
5411       2156096537       6/18/2012       15:08:57
5412       2156096621       5/2/2012        13:09:59
5413       2156098227       9/21/2011       11:30:05
5414       2156098363       12/14/2011      17:50:07
5415       2156098977       11/14/2011      14:27:25
5416       2156099716       9/20/2012       7:08:18
5417       2156201502       7/19/2012       17:37:43
5418       2156207123       11/28/2011      11:59:36
5419       2156209172       4/14/2012       9:02:34
5420       2156261072       7/26/2012       19:17:38
5421       2156261170       12/9/2011       15:58:30
5422       2156261825       10/8/2011       9:09:42
5423       2156262320       3/3/2012        8:32:05
5424       2156262486       10/21/2011      13:18:58
5425       2156262512       1/28/2012       8:25:34
5426       2156262533       3/13/2012       18:29:41
5427       2156262533       5/7/2012        7:19:54
5428       2156262533       5/21/2012       7:32:46
5429       2156262533       9/25/2012       15:14:35
5430       2156263991       2/3/2012        7:02:04
5431       2156263991       2/21/2012       9:26:52
5432       2156263991       5/21/2012       7:25:04
5433       2156264607       5/29/2012       14:28:20
5434       2156264836       6/4/2012        7:38:36
5435       2156264851       11/3/2011       17:08:39
5436       2156266018       7/16/2012       19:46:22
5437       2156266980       2/11/2012       15:25:22
5438       2156267152       12/7/2011       13:55:23
5439       2156267152       3/14/2012       19:26:59
5440       2156267614       11/4/2011       7:13:21
5441       2156267614       11/16/2011      8:00:27
5442       2156267614       3/19/2012       19:10:08
5443       2156268407       12/3/2011       9:48:24
5444       2156302742       10/6/2012       8:26:58
5445       2156302742       10/15/2012      9:56:48
5446       2156511664       5/21/2012       7:01:37
5447       2156511664       6/8/2012        7:25:06
5448       2156513561       5/14/2012       7:16:05
5449       2156514737       11/17/2011      14:06:56
5450       2156514745       11/19/2011      8:33:09
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5451       2156518114       10/27/2011      15:06:07
5452       2156661621       11/10/2011      17:22:22
5453       2156670895       10/10/2011      12:15:02
5454       2156670895       4/4/2012        18:58:01
5455       2156680185       12/10/2011      12:06:38
5456       2156680679       4/21/2011       10:13:05
5457       2156681358       10/17/2011      7:23:46
5458       2156682278       11/28/2011      17:39:25
5459       2156682711       10/26/2011      11:59:19
5460       2156682835       3/13/2012       10:52:29
5461       2156684785       6/9/2012        11:10:04
5462       2156687635       3/13/2012       18:38:33
5463       2156695327       7/12/2012       7:09:10
5464       2156696809       12/12/2011      12:02:15
5465       2156697195       12/16/2011      15:36:19
5466       2156804081       11/7/2011       8:02:00
5467       2156807448       8/18/2012       8:31:12
5468       2156808135       3/16/2012       15:59:49
5469       2156813428       11/10/2011      7:19:03
5470       2156815783       10/12/2011      7:56:24
5471       2156816964       9/27/2011       18:23:25
5472       2156818978       6/8/2012        7:26:48
5473       2156849345       1/25/2012       9:12:06
5474       2156875621       12/21/2011      11:28:35
5475       2156878106       6/16/2012       15:07:39
5476       2156878323       12/10/2011      12:51:50
5477       2156878585       7/12/2012       7:07:23
5478       2156880073       12/27/2011      14:30:13
5479       2156882925       10/11/2012      7:52:13
5480       2156886311       6/29/2011       16:28:09
5481       2157042083       7/31/2012       7:12:16
5482       2157043708       3/14/2012       19:27:22
5483       2157044706       4/16/2012       7:22:35
5484       2157044706       4/21/2012       8:36:12
5485       2157045221       4/17/2012       9:19:42
5486       2157135400       10/24/2012      14:41:16
5487       2157135924       1/3/2012        16:32:06
5488       2157153996       7/6/2012        16:49:58
5489       2157157678       10/11/2012      18:35:16
5490       2157157692       10/31/2011      7:26:53
5491       2157157692       12/1/2011       8:16:43
5492       2157183421       6/30/2012       15:42:43
5493       2157183421       7/6/2012        16:44:19
5494       2157301851       11/2/2011       7:18:41
5495       2157307521       3/15/2012       18:54:02
5496       2157329090       2/15/2012       8:12:54
5497       2157383111       8/16/2012       19:46:42
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5498       2157402635       9/13/2011       17:38:38
5499       2157402729       2/11/2012       10:39:43
5500       2157404646       9/24/2012       19:05:35
5501       2157409901       8/8/2011        15:03:45
5502       2157490810       6/12/2012       7:22:04
5503       2157561831       9/23/2011       18:41:04
5504       2157581754       2/28/2012       7:51:42
5505       2157581833       6/5/2014        8:00:02
5506       2157583694       9/14/2011       16:13:12
5507       2157584002       1/30/2012       7:03:59
5508       2157584551       10/11/2011      15:43:16
5509       2157585336       2/11/2012       10:42:38
5510       2157585336       6/16/2012       8:42:56
5511       2157585336       10/19/2012      19:13:25
5512       2157585458       9/22/2011       15:03:24
5513       2157585530       9/22/2011       15:51:46
5514       2157586137       12/6/2011       14:24:23
5515       2157605245       10/17/2011      7:27:39
5516       2157608821       7/6/2012        16:49:34
5517       2157645005       10/6/2012       8:32:12
5518       2157671743       10/9/2012       7:32:49
5519       2157683999       10/3/2011       7:20:21
5520       2157684662       9/15/2011       7:52:04
5521       2157685849       11/28/2011      11:09:06
5522       2157764805       7/13/2012       7:43:48
5523       2157766123       10/9/2012       7:34:07
5524       2157766901       8/8/2011        14:54:45
5525       2157782450       8/15/2012       7:52:51
5526       2157789940       7/20/2012       14:56:45
5527       2157831142       11/12/2011      9:06:10
5528       2157831727       6/20/2011       14:13:56
5529       2157836549       9/17/2011       9:52:02
5530       2157877163       3/15/2012       7:24:16
5531       2157891908       10/17/2011      7:14:59
5532       2157915166       3/20/2012       9:21:12
5533       2157961113       6/22/2012       7:08:36
5534       2157964276       3/28/2012       7:19:41
5535       2157964276       4/1/2012        16:35:50
5536       2157964276       5/21/2012       7:30:22
5537       2157964566       9/13/2012       7:35:57
5538       2157965362       12/1/2011       15:18:48
5539       2157967205       3/30/2011       9:49:32
5540       2157967205       10/29/2011      10:13:33
5541       2158019998       6/8/2011        18:28:43
5542       2158060337       1/11/2012       16:26:54
5543       2158062862       10/10/2011      12:32:27
5544       2158065222       3/16/2012       10:11:49
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5545       2158079984       12/17/2011      11:22:43
5546       2158084324       6/27/2012       17:51:25
5547       2158084563       9/22/2013       12:43:12
5548       2158152221       9/22/2012       9:34:53
5549       2158172009       10/5/2011       14:27:45
5550       2158202180       1/11/2012       7:39:46
5551       2158207778       9/21/2011       11:40:38
5552       2158208730       3/7/2012        18:29:30
5553       2158209591       9/26/2011       7:48:49
5554       2158214509       9/28/2012       7:38:06
5555       2158215458       3/12/2012       7:06:21
5556       2158281435       9/26/2011       8:17:26
5557       2158282703       12/20/2011      17:28:24
5558       2158283139       12/6/2011       14:04:13
5559       2158285787       5/30/2012       12:48:24
5560       2158285787       6/15/2012       8:51:35
5561       2158331533       5/4/2012        7:33:11
5562       2158333216       9/8/2012        11:19:22
5563       2158334327       10/3/2012       19:54:55
5564       2158335305       9/26/2012       15:25:26
5565       2158341378       12/1/2011       7:48:27
5566       2158342782       10/3/2012       7:01:15
5567       2158349546       3/2/2012        18:57:36
5568       2158349547       1/23/2012       18:52:26
5569       2158371992       3/28/2012       18:11:43
5570       2158372099       8/11/2012       9:38:33
5571       2158392633       9/21/2012       15:36:06
5572       2158392812       8/3/2012        16:22:20
5573       2158394304       10/10/2011      12:12:55
5574       2158394416       3/19/2012       7:12:15
5575       2158394742       5/17/2011       9:23:17
5576       2158394791       9/19/2011       19:24:53
5577       2158395284       9/22/2011       15:55:37
5578       2158395922       10/5/2011       14:29:39
5579       2158401410       4/16/2012       15:55:27
5580       2158404370       11/5/2011       9:45:35
5581       2158404577       5/25/2012       17:01:16
5582       2158409914       9/13/2011       17:26:44
5583       2158472111       10/10/2011      11:42:14
5584       2158500033       11/15/2011      20:11:53
5585       2158500405       1/30/2012       7:11:15
5586       2158500621       11/30/2011      15:05:18
5587       2158500753       10/12/2011      8:00:14
5588       2158501036       6/21/2012       18:17:47
5589       2158501520       9/22/2011       15:02:14
5590       2158509490       10/17/2012      18:35:17
5591       2158521679       11/12/2011      9:14:59
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5592       2158522980       1/7/2012        9:48:29
5593       2158528959       9/30/2011       9:56:38
5594       2158585858       12/6/2011       14:10:04
5595       2158589303       10/4/2011       13:14:07
5596       2158637548       11/30/2011      15:10:23
5597       2158667058       9/19/2011       7:18:18
5598       2158667058       9/23/2011       8:33:44
5599       2158667058       10/10/2011      12:34:41
5600       2158667856       3/18/2011       9:09:27
5601       2158668703       3/7/2012        18:50:40
5602       2158681738       10/11/2011      15:51:26
5603       2158681738       8/13/2012       7:35:19
5604       2158682408       9/8/2011        18:42:28
5605       2158682792       10/6/2011       17:30:29
5606       2158684041       1/19/2012       7:49:58
5607       2158684484       4/2/2012        17:29:33
5608       2158684575       10/20/2011      16:02:08
5609       2158686473       12/28/2011      17:48:22
5610       2158687260       6/11/2012       7:09:10
5611       2158689599       9/3/2012        14:44:41
5612       2158698511       3/20/2012       17:44:47
5613       2158698511       4/2/2012        17:37:24
5614       2158707433       12/16/2011      15:35:08
5615       2158707433       1/25/2012       9:03:34
5616       2158707433       4/12/2012       18:04:49
5617       2158708873       2/6/2012        16:45:10
5618       2158722364       3/26/2012       18:52:15
5619       2158767983       1/26/2012       7:27:09
5620       2158767983       9/19/2012       7:56:19
5621       2158805545       10/4/2011       13:39:47
5622       2158813121       3/20/2012       17:44:33
5623       2158813206       9/12/2011       13:12:40
5624       2158813318       11/8/2011       14:17:17
5625       2158813589       1/19/2012       7:14:21
5626       2158815611       7/2/2012        17:18:05
5627       2158815909       1/3/2012        19:38:53
5628       2158821445       9/21/2012       18:41:02
5629       2158822130       9/19/2011       19:29:19
5630       2158823736       12/10/2011      12:07:59
5631       2158882952       5/21/2011       10:44:16
5632       2158884109       3/29/2012       11:26:40
5633       2158884208       1/23/2012       7:13:48
5634       2158884284       7/13/2012       16:58:32
5635       2158886415       9/28/2012       7:43:28
5636       2158887765       10/14/2011      13:10:44
5637       2158888310       10/25/2012      19:34:24
5638       2158888819       7/5/2012        15:34:08
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5639       2158962336       9/2/2011        12:46:38
5640       2158962336       5/21/2012       7:21:32
5641       2159002622       11/21/2011      7:04:29
5642       2159002622       4/22/2012       15:04:50
5643       2159002901       3/13/2012       18:36:45
5644       2159003223       2/4/2012        8:16:47
5645       2159004405       9/21/2011       19:29:17
5646       2159006559       6/26/2012       8:00:18
5647       2159018079       3/14/2012       7:06:57
5648       2159064019       12/3/2011       9:03:43
5649       2159064608       3/2/2012        19:11:07
5650       2159067492       9/30/2011       9:53:15
5651       2159081099       3/7/2012        18:41:21
5652       2159082471       10/21/2011      13:08:57
5653       2159082719       9/20/2011       16:31:59
5654       2159082719       11/17/2011      16:19:00
5655       2159087491       11/8/2011       14:14:42
5656       2159087837       3/10/2011       16:27:00
5657       2159087837       10/10/2011      12:19:33
5658       2159089023       9/10/2012       7:42:13
5659       2159091322       1/28/2012       8:04:11
5660       2159091338       9/17/2012       7:47:55
5661       2159135791       12/7/2011       15:10:44
5662       2159158660       11/26/2011      12:26:28
5663       2159170760       5/4/2012        7:30:05
5664       2159178785       6/28/2012       7:08:02
5665       2159178827       3/12/2012       19:07:44
5666       2159178965       10/7/2011       7:01:54
5667       2159179817       6/14/2012       15:57:59
5668       2159210489       10/5/2012       12:25:06
5669       2159211556       5/24/2012       7:05:15
5670       2159218720       7/3/2012        7:10:10
5671       2159328666       9/24/2012       13:03:25
5672       2159328667       9/20/2011       16:31:30
5673       2159390260       7/9/2012        18:59:32
5674       2159392317       9/28/2012       16:39:17
5675       2159393093       10/29/2011      11:13:40
5676       2159394384       11/7/2011       7:22:44
5677       2159410012       3/13/2012       18:58:10
5678       2159410408       1/20/2012       11:24:31
5679       2159410530       11/8/2011       13:48:46
5680       2159410951       2/18/2012       8:52:48
5681       2159414685       11/26/2011      11:33:17
5682       2159541322       8/13/2012       7:40:40
5683       2159541680       1/6/2012        14:32:14
5684       2159542777       3/16/2012       10:11:29
5685       2159543313       12/5/2011       8:56:14
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5686       2159543827       1/23/2012       7:07:31
5687       2159544606       4/18/2012       7:03:45
5688       2159544606       5/1/2012        17:36:45
5689       2159545875       10/8/2011       9:24:59
5690       2159545915       3/24/2012       9:46:15
5691       2159546269       9/4/2012        15:41:55
5692       2159620286       7/11/2012       9:27:58
5693       2159620666       10/23/2012      15:52:00
5694       2159620709       10/24/2012      14:41:50
5695       2159623648       9/24/2012       13:00:48
5696       2159623648       10/17/2012      18:28:38
5697       2159623973       10/6/2011       16:29:04
5698       2159624516       4/15/2012       16:52:41
5699       2159625262       9/9/2011        7:21:33
5700       2159626374       9/8/2011        19:26:29
5701       2159640833       9/19/2011       19:30:18
5702       2159641804       12/21/2011      9:49:34
5703       2159642769       9/10/2011       9:02:40
5704       2159662688       8/25/2011       17:43:29
5705       2159662688       10/8/2011       10:45:44
5706       2159662996       9/27/2012       16:18:11
5707       2159710032       10/29/2011      10:25:41
5708       2159713330       8/2/2011        16:51:41
5709       2159714471       1/23/2012       18:53:27
5710       2159831452       7/3/2012        7:06:12
5711       2159831737       9/29/2011       15:35:36
5712       2159831737       12/7/2011       14:47:52
5713       2159835379       11/7/2011       7:26:53
5714       2159891090       10/24/2011      7:28:29
5715       2159899483       1/27/2012       17:33:22
5716       2159901260       10/21/2011      12:21:48
5717       2159906957       12/5/2011       10:02:49
5718       2159922912       11/9/2011       7:30:11
5719       2162011289       12/12/2011      12:09:39
5720       2162100019       7/13/2012       7:45:56
5721       2162102345       9/17/2011       9:52:21
5722       2162105685       3/28/2012       7:22:45
5723       2162124030       9/24/2012       19:16:04
5724       2162126700       11/16/2011      7:51:48
5725       2162139242       11/22/2011      19:14:27
5726       2162144100       7/16/2012       19:44:37
5727       2162144100       9/11/2012       7:47:36
5728       2162145991       11/10/2011      7:19:31
5729       2162156434       10/12/2011      11:56:17
5730       2162156647       6/29/2011       17:06:40
5731       2162182886       9/8/2011        17:57:01
5732       2162190075       10/14/2011      13:12:34
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5733       2162190661       8/18/2012       8:58:00
5734       2162245058       7/11/2011       7:23:35
5735       2162245946       4/29/2011       20:32:02
5736       2162246744       6/7/2012        7:04:27
5737       2162251875       8/1/2012        8:27:00
5738       2162253605       9/28/2011       10:18:25
5739       2162258857       8/1/2011        19:13:46
5740       2162332790       3/10/2011       17:30:59
5741       2162333585       9/24/2012       18:51:56
5742       2162350509       10/4/2011       13:33:12
5743       2162350650       9/8/2011        19:28:32
5744       2162350652       12/23/2011      14:58:57
5745       2162355045       5/20/2011       17:37:48
5746       2162358064       5/23/2012       14:41:26
5747       2162403640       12/18/2011      16:52:31
5748       2162403640       5/25/2012       17:04:59
5749       2162404202       9/15/2011       7:36:34
5750       2162405751       11/4/2011       7:02:50
5751       2162407859       5/25/2012       17:14:41
5752       2162441769       12/6/2011       7:38:49
5753       2162446242       10/11/2011      17:15:15
5754       2162448632       3/30/2012       16:12:27
5755       2162461090       5/23/2012       14:43:00
5756       2162461739       2/17/2012       18:06:21
5757       2162463711       9/24/2011       9:37:54
5758       2162464700       9/19/2011       19:25:20
5759       2162467005       12/17/2011      11:57:51
5760       2162468885       12/17/2011      11:45:42
5761       2162530564       10/22/2011      12:27:25
5762       2162531156       9/13/2011       17:38:36
5763       2162531692       10/12/2011      8:00:12
5764       2162533690       11/16/2011      9:38:17
5765       2162533690       11/21/2011      7:23:29
5766       2162536763       2/10/2012       7:12:49
5767       2162537269       9/30/2011       10:17:57
5768       2162539971       4/9/2012        7:08:00
5769       2162540495       5/23/2012       14:41:03
5770       2162540495       6/19/2012       15:39:34
5771       2162540495       7/30/2012       13:23:53
5772       2162541021       9/19/2011       7:07:43
5773       2162541021       10/3/2011       7:08:45
5774       2162541046       8/15/2012       7:49:38
5775       2162541101       8/22/2012       11:18:48
5776       2162541101       9/7/2012        15:48:43
5777       2162541101       10/3/2012       19:53:01
5778       2162543137       9/24/2012       19:02:03
5779       2162543612       1/6/2012        14:48:46
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5780       2162546250       10/15/2011      9:02:40
5781       2162547281       2/6/2012        16:44:27
5782       2162548599       12/10/2011      14:21:01
5783       2162550121       1/9/2012        7:11:58
5784       2162551956       3/10/2012       8:38:02
5785       2162558530       1/16/2012       17:21:12
5786       2162564434       9/28/2011       10:49:52
5787       2162568186       3/3/2012        8:46:57
5788       2162568186       5/21/2012       7:04:31
5789       2162581732       11/18/2011      12:42:32
5790       2162582626       10/12/2011      7:35:54
5791       2162583850       12/2/2011       15:19:35
5792       2162585034       8/13/2011       10:55:39
5793       2162585587       1/31/2012       7:11:02
5794       2162586125       12/7/2011       13:11:11
5795       2162586175       11/14/2011      14:23:05
5796       2162586494       4/24/2012       18:07:51
5797       2162587933       5/14/2012       7:20:37
5798       2162589778       8/2/2012        18:54:16
5799       2162624931       11/29/2011      15:31:04
5800       2162626353       10/11/2011      16:01:15
5801       2162628132       2/25/2012       10:32:44
5802       2162689938       10/14/2011      13:15:39
5803       2162694027       4/11/2012       19:28:49
5804       2162695711       12/1/2011       8:14:08
5805       2162696081       3/10/2011       16:48:01
5806       2162696162       11/23/2011      9:57:46
5807       2162696162       3/13/2012       18:27:06
5808       2162697122       5/25/2012       17:14:48
5809       2162697627       12/15/2011      7:35:38
5810       2162699457       4/4/2011        12:46:52
5811       2162699595       10/10/2012      12:46:19
5812       2162724083       6/8/2012        7:26:08
5813       2162724158       5/10/2012       14:45:34
5814       2162760262       7/10/2012       12:39:53
5815       2162769027       11/8/2011       14:10:29
5816       2162803202       1/16/2012       7:27:25
5817       2162807476       11/12/2011      9:22:50
5818       2162808376       12/12/2011      12:13:17
5819       2162809110       1/6/2012        14:45:46
5820       2162870762       5/21/2012       8:41:41
5821       2162873121       11/30/2011      15:08:13
5822       2162873519       1/3/2012        16:38:12
5823       2162877360       11/11/2011      20:01:35
5824       2162881337       7/13/2012       18:27:27
5825       2162882726       3/15/2012       7:24:01
5826       2162883273       9/25/2012       15:00:42
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5827       2162886998       8/2/2012        18:55:38
5828       2162887983       12/5/2011       18:06:19
5829       2162966728       12/1/2011       7:53:42
5830       2162983741       9/19/2011       19:04:35
5831       2162996146       9/8/2012        11:20:13
5832       2163085086       1/13/2012       17:20:17
5833       2163089159       3/15/2012       19:04:42
5834       2163131644       12/31/2011      11:56:02
5835       2163131858       3/29/2012       16:36:54
5836       2163152983       1/5/2012        17:26:21
5837       2163152983       3/12/2012       7:06:11
5838       2163152983       5/5/2012        8:17:44
5839       2163162498       11/25/2011      17:34:56
5840       2163199229       3/16/2012       15:58:55
5841       2163199911       10/3/2012       19:54:11
5842       2163220278       11/18/2011      13:30:03
5843       2163222613       10/11/2011      17:03:46
5844       2163223725       11/12/2011      9:05:59
5845       2163224378       12/23/2011      14:46:00
5846       2163224464       9/22/2011       8:51:08
5847       2163224996       8/29/2012       11:15:37
5848       2163225744       8/1/2012        8:30:21
5849       2163227077       8/21/2012       13:48:38
5850       2163228329       12/23/2011      14:01:36
5851       2163228465       9/8/2011        19:45:50
5852       2163229654       12/16/2011      16:01:04
5853       2163232154       6/27/2012       12:04:26
5854       2163232542       4/10/2012       11:52:53
5855       2163233431       8/9/2011        12:36:41
5856       2163236732       4/24/2012       12:17:37
5857       2163236815       5/8/2012        7:09:51
5858       2163236815       6/25/2012       13:33:21
5859       2163236815       7/30/2012       13:25:28
5860       2163238718       2/25/2012       10:50:01
5861       2163238962       1/6/2012        11:40:23
5862       2163239105       10/3/2012       7:07:59
5863       2163239585       11/14/2011      15:54:29
5864       2163239666       8/30/2012       7:03:50
5865       2163242544       4/15/2012       16:53:36
5866       2163244151       10/7/2011       10:33:52
5867       2163244369       1/7/2012        9:09:31
5868       2163244369       3/16/2012       16:18:12
5869       2163244633       12/14/2011      14:43:44
5870       2163245385       9/30/2011       10:18:30
5871       2163246699       3/31/2012       8:14:51
5872       2163249596       10/25/2011      15:11:11
5873       2163252794       5/9/2012        7:33:08
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5874       2163254270       12/5/2011       8:27:07
5875       2163262400       3/3/2012        8:32:03
5876       2163262689       9/12/2011       13:52:11
5877       2163263170       11/28/2011      11:44:06
5878       2163263401       8/1/2012        8:28:15
5879       2163263515       3/14/2011       17:09:15
5880       2163263743       6/18/2012       8:00:14
5881       2163264196       9/12/2011       13:00:29
5882       2163266034       9/24/2012       19:04:18
5883       2163267554       11/23/2011      9:07:59
5884       2163332933       11/3/2011       17:10:15
5885       2163343131       3/6/2012        12:57:20
5886       2163344799       6/30/2012       15:42:15
5887       2163349136       1/10/2012       15:24:21
5888       2163349335       12/30/2011      16:53:18
5889       2163376209       12/17/2011      11:23:31
5890       2163377384       12/7/2011       13:21:12
5891       2163380284       10/23/2012      16:04:48
5892       2163385672       3/6/2012        16:04:53
5893       2163396184       11/5/2011       9:38:40
5894       2163396330       9/13/2012       7:33:55
5895       2163552682       5/8/2012        9:22:20
5896       2163552984       10/11/2012      18:38:31
5897       2163553057       6/7/2012        18:26:22
5898       2163553591       9/16/2011       14:06:41
5899       2163558248       12/7/2011       14:04:47
5900       2163558476       10/17/2011      11:35:02
5901       2163558870       4/21/2012       16:13:21
5902       2163570954       10/18/2011      12:47:02
5903       2163571707       3/7/2012        18:40:30
5904       2163722517       9/10/2011       8:15:08
5905       2163742060       1/6/2012        7:11:29
5906       2163744253       7/29/2011       7:09:06
5907       2163750990       10/29/2011      11:29:22
5908       2163751090       10/17/2011      7:57:07
5909       2163751090       11/18/2011      12:40:44
5910       2163754981       1/5/2012        11:57:16
5911       2163756647       5/2/2012        13:24:32
5912       2163760348       12/29/2011      19:18:29
5913       2163761650       10/4/2011       13:33:52
5914       2163762263       7/7/2012        10:13:52
5915       2163763049       11/23/2011      10:22:21
5916       2163765100       12/21/2011      9:51:22
5917       2163765236       9/26/2011       8:42:27
5918       2163765853       3/10/2011       15:28:06
5919       2163766362       1/8/2012        12:48:35
5920       2163767306       9/10/2011       8:07:53
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5921       2163768163       6/8/2012        7:29:13
5922       2163769174       9/27/2011       18:05:37
5923       2163769926       10/13/2011      7:13:39
5924       2163855171       9/22/2011       15:09:08
5925       2163856604       1/23/2012       8:21:47
5926       2163857151       9/7/2011        14:38:01
5927       2163858584       12/28/2011      7:02:08
5928       2163858584       2/4/2012        7:22:26
5929       2163860992       2/10/2012       16:50:06
5930       2163863489       7/20/2012       7:30:13
5931       2163863589       3/12/2012       7:19:55
5932       2163863589       3/26/2012       7:19:56
5933       2163863589       7/3/2012        7:12:32
5934       2163864443       8/29/2012       11:08:46
5935       2163869232       10/9/2012       19:58:27
5936       2163873157       11/23/2011      9:58:09
5937       2163922089       1/12/2012       7:08:55
5938       2163922089       6/16/2012       7:38:28
5939       2163922377       7/23/2012       15:29:42
5940       2163941570       12/26/2011      9:17:06
5941       2163945174       11/11/2011      13:30:34
5942       2163949805       3/14/2012       19:28:48
5943       2164014959       12/29/2011      18:10:05
5944       2164016350       11/10/2011      17:30:15
5945       2164018979       10/8/2011       10:50:31
5946       2164025964       6/21/2012       10:08:16
5947       2164028405       5/9/2012        8:55:55
5948       2164031259       2/29/2012       7:07:51
5949       2164032514       11/28/2011      11:59:50
5950       2164046175       10/12/2011      7:49:54
5951       2164060710       9/13/2012       7:42:05
5952       2164060710       9/26/2012       14:31:22
5953       2164081312       1/11/2012       7:25:26
5954       2164081873       7/14/2012       7:59:57
5955       2164081889       11/28/2011      11:15:34
5956       2164081889       5/21/2012       7:02:16
5957       2164082783       10/21/2011      12:24:27
5958       2164082783       12/12/2011      12:14:42
5959       2164085914       9/4/2012        15:36:45
5960       2164093337       10/26/2011      12:43:01
5961       2164099556       6/27/2012       12:10:50
5962       2164100824       12/27/2011      13:29:55
5963       2164104805       9/29/2011       15:40:48
5964       2164561516       4/10/2012       12:05:21
5965       2164564716       12/29/2011      19:14:26
5966       2164566200       6/16/2012       15:05:59
5967       2164567418       9/17/2011       9:52:59
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5968       2164661560       10/20/2011      16:07:26
5969       2164664798       9/13/2011       15:00:52
5970       2164665415       3/6/2012        17:03:07
5971       2164665597       11/4/2011       7:07:26
5972       2164665954       10/31/2011      7:32:33
5973       2164665954       11/26/2011      11:23:58
5974       2164690021       10/1/2011       10:47:23
5975       2164690021       6/8/2012        17:00:54
5976       2164695635       8/25/2012       8:31:04
5977       2164695654       7/17/2012       7:10:04
5978       2164697686       7/30/2011       8:21:12
5979       2164704740       12/24/2011      7:01:59
5980       2164821755       7/10/2012       7:28:26
5981       2164825005       3/29/2012       16:36:31
5982       2164825005       10/17/2012      18:49:08
5983       2164826032       10/14/2011      13:14:06
5984       2164826881       4/26/2012       7:58:40
5985       2164829109       8/16/2011       17:35:15
5986       2164829788       3/6/2012        15:55:03
5987       2164961113       6/15/2012       8:37:55
5988       2164965928       1/10/2012       18:10:02
5989       2164966500       10/4/2011       13:52:25
5990       2164969212       6/13/2012       7:14:51
5991       2165020076       6/12/2012       7:18:30
5992       2165095945       3/25/2012       11:38:51
5993       2165096130       9/2/2011        12:47:08
5994       2165098456       8/20/2012       18:53:26
5995       2165133603       8/3/2012        16:21:17
5996       2165133997       9/30/2011       9:53:56
5997       2165134103       6/20/2012       7:50:17
5998       2165134748       5/21/2012       7:32:49
5999       2165261063       12/30/2011      7:14:23
6000       2165263848       1/18/2012       16:48:18
6001       2165265778       10/12/2012      17:05:12
6002       2165266945       10/10/2011      12:13:22
6003       2165273051       7/16/2012       7:12:19
6004       2165273285       6/11/2012       17:38:52
6005       2165273285       9/27/2012       13:25:40
6006       2165273528       4/7/2012        9:23:49
6007       2165274852       9/26/2011       8:29:59
6008       2165277620       2/28/2012       13:27:31
6009       2165277958       6/23/2012       16:21:04
6010       2165338114       12/10/2011      14:38:32
6011       2165340458       10/18/2011      11:57:54
6012       2165340969       8/23/2011       17:44:29
6013       2165341234       3/11/2011       16:30:35
6014       2165343108       12/14/2011      14:12:36
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6015       2165343905       10/11/2011      17:14:25
6016       2165347859       9/20/2011       16:44:08
6017       2165368730       12/29/2011      18:49:53
6018       2165368730       1/19/2012       7:15:59
6019       2165388137       11/9/2011       7:34:48
6020       2165432534       11/19/2011      8:33:23
6021       2165433490       1/16/2012       17:21:13
6022       2165433974       4/3/2012        16:10:09
6023       2165437082       7/20/2012       15:01:20
6024       2165440097       3/14/2012       14:15:20
6025       2165443876       9/19/2011       19:26:53
6026       2165445432       6/4/2012        8:20:21
6027       2165445545       11/15/2011      15:05:35
6028       2165480333       3/2/2012        19:00:02
6029       2165483131       4/16/2012       16:02:43
6030       2165486263       4/2/2012        17:32:05
6031       2165486996       12/17/2011      11:57:42
6032       2165511181       1/12/2012       7:01:16
6033       2165511677       5/31/2012       15:02:44
6034       2165514901       6/15/2012       16:42:58
6035       2165515036       2/16/2012       7:09:28
6036       2165515581       9/30/2011       9:50:50
6037       2165700926       11/18/2011      12:37:23
6038       2165702877       9/21/2011       19:32:23
6039       2165709985       12/2/2011       7:54:39
6040       2165711904       10/11/2011      15:58:10
6041       2165714597       5/30/2012       9:19:09
6042       2165773498       9/17/2011       9:23:40
6043       2165777003       3/14/2011       16:55:52
6044       2165779310       5/4/2012        14:14:50
6045       2166241881       9/19/2011       7:12:51
6046       2166241891       2/1/2012        8:03:59
6047       2166243617       1/23/2012       19:08:55
6048       2166246408       6/14/2012       16:02:36
6049       2166247025       9/8/2011        18:38:12
6050       2166248968       1/23/2012       19:08:33
6051       2166249226       12/7/2011       13:11:46
6052       2166305687       8/19/2011       11:51:18
6053       2166307283       8/24/2011       11:43:46
6054       2166307470       3/15/2012       19:04:19
6055       2166309409       4/11/2012       19:29:15
6056       2166309409       5/17/2012       16:48:20
6057       2166322483       3/23/2012       19:45:21
6058       2166331514       1/8/2012        13:01:20
6059       2166331514       5/14/2012       7:06:44
6060       2166332397       9/17/2011       9:29:43
6061       2166332823       6/4/2011        9:48:06
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6062       2166333828       9/5/2012        7:11:18
6063       2166336526       12/7/2011       13:29:25
6064       2166403439       9/29/2011       15:09:27
6065       2166404910       10/8/2011       9:12:45
6066       2166443315       4/21/2012       16:12:37
6067       2166447166       9/25/2012       14:50:11
6068       2166448200       5/1/2012        8:14:11
6069       2166449841       9/19/2011       7:25:20
6070       2166453102       7/5/2012        15:28:37
6071       2166453102       7/20/2012       15:00:40
6072       2166457795       1/13/2012       7:16:33
6073       2166471968       2/11/2012       10:59:30
6074       2166475572       5/29/2012       17:13:11
6075       2166476202       11/9/2011       7:58:12
6076       2166476202       5/12/2012       13:37:52
6077       2166476202       5/26/2012       14:36:54
6078       2166476320       9/19/2011       19:05:12
6079       2166500144       9/22/2012       9:32:03
6080       2166500330       11/12/2011      9:27:43
6081       2166502031       10/10/2012      19:09:33
6082       2166502188       11/4/2011       7:03:01
6083       2166507786       9/19/2011       19:03:44
6084       2166590806       2/2/2012        7:09:13
6085       2166592879       9/23/2011       7:06:38
6086       2166594514       9/27/2012       16:26:55
6087       2166595679       2/28/2012       7:47:15
6088       2166730220       1/16/2012       17:08:37
6089       2166733144       3/21/2012       13:54:34
6090       2166736414       5/4/2012        14:21:29
6091       2166737540       2/17/2012       8:59:09
6092       2166738619       6/27/2012       17:54:55
6093       2166825040       11/10/2011      7:05:35
6094       2166825040       12/1/2011       15:18:46
6095       2166886713       8/24/2012       7:37:34
6096       2167011924       9/19/2011       19:11:35
6097       2167012003       12/9/2011       14:29:18
6098       2167015553       7/6/2012        16:50:34
6099       2167022288       4/18/2012       17:56:44
6100       2167023866       9/29/2011       15:03:33
6101       2167026055       8/17/2012       7:12:50
6102       2167027181       12/5/2011       8:58:42
6103       2167027803       3/2/2012        19:14:51
6104       2167045089       10/8/2011       9:20:44
6105       2167045152       10/28/2011      13:22:02
6106       2167045152       1/19/2012       18:36:44
6107       2167049672       10/12/2011      7:35:11
6108       2167444362       11/16/2011      9:42:51
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6109       2167444362       11/28/2011      11:17:33
6110       2167444362       12/6/2011       14:08:26
6111       2167444396       5/11/2012       12:07:46
6112       2167730229       1/17/2012       18:29:30
6113       2167801605       10/28/2011      13:30:16
6114       2167980242       4/24/2012       12:05:29
6115       2167983009       9/16/2011       12:52:07
6116       2167983451       9/29/2011       15:09:22
6117       2167991800       10/18/2011      12:49:42
6118       2167993156       12/15/2011      8:36:56
6119       2167994897       11/28/2011      16:28:28
6120       2167995905       8/9/2011        13:32:14
6121       2167997554       8/3/2012        7:52:07
6122       2167997634       4/15/2012       16:40:59
6123       2167999343       5/21/2011       10:35:59
6124       2168201351       7/21/2012       10:16:41
6125       2168201351       7/26/2012       19:17:53
6126       2168203959       9/21/2011       13:03:31
6127       2168205547       10/31/2011      7:31:43
6128       2168322098       8/26/2011       18:12:32
6129       2168323092       9/14/2011       16:19:37
6130       2168324133       12/17/2011      11:19:55
6131       2168328002       9/13/2011       18:36:24
6132       2168328070       11/22/2011      19:13:04
6133       2168329209       8/23/2012       19:06:09
6134       2168329598       3/2/2012        19:11:48
6135       2168350310       10/1/2011       10:15:45
6136       2168350310       10/22/2011      12:33:18
6137       2168355160       2/6/2012        16:47:20
6138       2168359160       1/9/2012        7:19:57
6139       2168492165       9/19/2012       7:56:03
6140       2168492768       6/9/2012        14:40:07
6141       2168495137       9/8/2011        18:26:15
6142       2168541744       10/12/2011      11:34:18
6143       2168541744       1/31/2012       7:19:26
6144       2168541744       2/20/2012       7:25:55
6145       2168542256       3/12/2012       19:23:23
6146       2168543837       5/23/2012       16:34:15
6147       2168544120       3/28/2012       18:13:24
6148       2168550144       6/13/2012       7:08:10
6149       2168550144       7/11/2012       17:15:08
6150       2168551166       9/11/2012       7:47:23
6151       2168551166       10/7/2012       12:46:22
6152       2168701084       7/27/2011       17:28:12
6153       2168703982       9/16/2011       12:56:50
6154       2168709556       11/26/2011      11:26:55
6155       2168826638       10/17/2012      12:57:36
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6156       2168829398       8/16/2012       7:51:57
6157       2168940914       10/20/2011      15:16:28
6158       2169039760       5/10/2012       14:56:34
6159       2169042214       11/28/2011      11:14:06
6160       2169044416       9/15/2012       8:17:03
6161       2169059704       10/19/2012      19:09:31
6162       2169059764       10/18/2012      16:28:45
6163       2169062241       8/22/2012       11:10:02
6164       2169062241       10/17/2012      18:28:38
6165       2169065946       3/14/2011       17:01:35
6166       2169243163       5/23/2012       15:04:33
6167       2169246769       10/1/2011       9:43:49
6168       2169247945       9/3/2012        14:30:47
6169       2169247945       10/20/2012      16:29:14
6170       2169249113       8/25/2012       11:08:47
6171       2169252566       10/11/2011      16:10:39
6172       2169253298       3/8/2012        9:25:33
6173       2169262205       2/20/2012       17:03:59
6174       2169264194       3/15/2011       11:26:04
6175       2169266818       2/20/2012       7:04:01
6176       2169269494       5/8/2012        7:09:15
6177       2169520320       1/13/2012       17:22:38
6178       2169521636       10/26/2011      12:59:30
6179       2169526758       9/26/2011       8:51:33
6180       2169526943       9/28/2011       11:07:53
6181       2169565999       1/6/2012        10:00:05
6182       2169568371       10/4/2011       13:09:36
6183       2169568371       2/28/2012       15:49:19
6184       2169654358       5/7/2012        7:09:42
6185       2169654559       7/30/2011       8:41:27
6186       2169658716       8/1/2012        8:29:59
6187       2169659149       11/28/2011      16:34:08
6188       2169707500       8/15/2012       7:52:50
6189       2169709348       6/15/2012       16:33:17
6190       2169732847       12/2/2011       7:31:47
6191       2169733496       1/20/2012       14:16:10
6192       2169785085       9/8/2011        18:33:54
6193       2169786476       9/22/2012       9:21:01
6194       2169788426       10/15/2011      10:14:11
6195       2169904097       10/20/2012      16:19:15
6196       2169905421       11/10/2011      7:01:05
6197       2169913914       12/6/2011       7:36:02
6198       2172011214       1/4/2012        11:04:23
6199       2172022786       2/2/2012        19:03:51
6200       2172045877       9/19/2011       19:14:04
6201       2172065263       12/30/2011      8:36:17
6202       2172065496       10/22/2011      12:43:36
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6203       2172134518       8/25/2012       11:16:30
6204       2172134672       10/1/2011       9:51:27
6205       2172138159       5/21/2012       8:16:11
6206       2172200113       10/18/2012      16:31:28
6207       2172201570       6/24/2011       11:26:35
6208       2172204870       12/16/2011      16:28:00
6209       2172207209       7/6/2013        16:34:36
6210       2172469484       5/23/2012       16:48:14
6211       2172480848       9/13/2011       13:29:05
6212       2172481499       1/27/2012       18:05:01
6213       2172481895       10/12/2011      8:08:34
6214       2172482657       3/16/2012       11:12:18
6215       2172487085       9/3/2012        14:32:40
6216       2172487942       6/20/2012       16:53:20
6217       2172489633       3/13/2012       18:40:31
6218       2172513604       12/15/2011      8:39:22
6219       2172571574       10/7/2011       8:14:04
6220       2172643681       5/21/2012       8:10:36
6221       2172643681       5/21/2012       8:29:32
6222       2172645942       8/7/2012        17:43:21
6223       2172737870       4/5/2012        14:27:01
6224       2172746302       9/28/2011       11:12:05
6225       2173041849       2/11/2012       11:20:05
6226       2173068748       12/20/2011      9:22:28
6227       2173135099       9/19/2011       19:14:14
6228       2173135710       4/5/2012        15:43:10
6229       2173160597       12/27/2011      14:19:11
6230       2173161988       12/29/2011      10:47:00
6231       2173162986       1/20/2012       11:32:13
6232       2173164097       1/8/2012        13:11:25
6233       2173169282       11/29/2011      15:46:36
6234       2173169282       2/6/2012        10:03:02
6235       2173201229       10/5/2011       14:12:50
6236       2173202018       2/13/2012       18:43:21
6237       2173202826       5/14/2012       15:47:34
6238       2173205574       7/5/2012        15:31:25
6239       2173205936       10/7/2011       8:08:16
6240       2173294218       6/6/2012        8:16:56
6241       2173298870       9/20/2012       21:00:48
6242       2173301136       5/12/2012       10:38:32
6243       2173414900       10/4/2011       13:17:00
6244       2173571417       5/16/2012       16:50:36
6245       2173611105       11/7/2011       9:18:10
6246       2173611105       11/16/2011      20:03:43
6247       2173616159       3/6/2012        20:33:43
6248       2173695501       3/20/2012       9:31:43
6249       2173710173       11/3/2011       12:00:04
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6250       2173716973       9/21/2011       11:55:49
6251       2173717553       2/28/2012       13:18:48
6252       2173717736       9/21/2011       11:30:45
6253       2173718825       10/1/2011       9:54:51
6254       2173720703       10/16/2012      8:46:44
6255       2173776942       10/15/2011      9:31:17
6256       2173778996       3/14/2012       14:46:30
6257       2173791942       12/21/2011      9:57:14
6258       2173815376       10/18/2011      13:03:28
6259       2173815958       10/15/2011      9:35:34
6260       2173817422       6/22/2012       8:11:00
6261       2173817671       5/15/2012       8:48:40
6262       2173817671       5/23/2012       15:28:56
6263       2173819274       2/29/2012       17:32:12
6264       2173819274       3/5/2012        8:07:12
6265       2173905567       9/9/2011        17:59:36
6266       2174120451       10/6/2011       17:02:24
6267       2174131804       6/9/2012        10:57:03
6268       2174139976       9/12/2011       14:15:48
6269       2174143128       12/14/2011      17:53:17
6270       2174145518       11/15/2011      15:42:55
6271       2174160286       10/3/2012       19:48:53
6272       2174160506       5/2/2011        18:05:58
6273       2174161536       7/27/2012       20:37:48
6274       2174162242       5/29/2012       10:49:42
6275       2174165970       12/6/2011       12:43:43
6276       2174167077       1/7/2012        8:29:45
6277       2174173647       3/2/2012        19:03:29
6278       2174181334       10/19/2011      12:17:16
6279       2174191639       9/9/2011        18:25:26
6280       2174194544       5/21/2012       8:15:19
6281       2174220519       12/5/2011       8:50:25
6282       2174309648       11/11/2011      20:05:00
6283       2174400565       9/29/2012       10:01:14
6284       2174404481       2/20/2012       17:08:47
6285       2174404481       9/21/2012       19:03:40
6286       2174541272       12/10/2011      13:56:20
6287       2174544113       10/1/2011       10:55:13
6288       2174544210       10/31/2011      10:05:52
6289       2174544565       10/21/2011      13:33:01
6290       2174547755       1/7/2012        8:35:29
6291       2174548918       10/20/2011      15:35:07
6292       2174592383       5/28/2012       8:58:39
6293       2174682207       2/29/2012       17:34:46
6294       2174730538       9/19/2011       19:17:07
6295       2174743462       7/23/2011       14:02:50
6296       2174745232       9/29/2011       15:16:11
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6297       2174914862       5/7/2011        14:52:26
6298       2174916512       3/20/2012       17:41:04
6299       2174917431       1/6/2012        12:21:35
6300       2174917662       10/2/2012       12:56:17
6301       2174917771       11/26/2011      13:23:24
6302       2174918271       10/20/2011      15:35:01
6303       2174944846       11/22/2011      19:41:54
6304       2174971148       10/20/2011      16:24:55
6305       2174971148       4/4/2012        19:03:34
6306       2175029313       10/29/2011      11:37:38
6307       2175045157       11/30/2011      15:40:29
6308       2175045202       9/27/2011       18:15:10
6309       2175084080       12/26/2011      20:20:35
6310       2175129324       1/23/2012       14:26:00
6311       2175190296       9/12/2012       15:00:47
6312       2175194330       12/8/2011       19:45:59
6313       2175200310       3/13/2012       18:31:14
6314       2175207896       9/17/2011       9:44:15
6315       2175208654       11/10/2011      8:04:43
6316       2175208721       12/23/2011      13:21:34
6317       2175209666       7/23/2012       15:21:11
6318       2175215729       11/17/2011      16:30:37
6319       2175306056       7/2/2012        15:21:06
6320       2175490186       8/17/2012       8:27:46
6321       2175490501       12/12/2011      16:37:58
6322       2175493820       10/11/2011      17:26:33
6323       2175497247       9/26/2011       9:53:35
6324       2175520833       4/24/2012       12:37:53
6325       2175525424       6/29/2011       17:41:44
6326       2175527053       11/29/2011      15:41:54
6327       2175539320       4/23/2012       8:12:11
6328       2175650013       1/18/2012       10:34:37
6329       2175773648       12/5/2011       18:15:11
6330       2175970834       6/7/2012        15:23:09
6331       2175973491       9/22/2011       16:23:20
6332       2176173406       10/7/2011       8:12:32
6333       2176175800       3/29/2012       16:43:47
6334       2176202283       11/25/2011      17:42:12
6335       2176204485       5/25/2011       17:45:41
6336       2176210115       6/23/2012       16:25:14
6337       2176212286       4/9/2012        13:48:52
6338       2176215161       12/10/2011      14:44:37
6339       2176216718       1/8/2012        13:16:32
6340       2176229710       10/6/2011       17:52:58
6341       2176370069       9/20/2011       16:48:41
6342       2176370969       11/30/2011      14:54:21
6343       2176383521       5/22/2012       18:21:20
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6344       2176385222       9/12/2012       15:01:00
6345       2176495843       12/16/2011      16:24:29
6346       2176496337       6/1/2012        9:00:57
6347       2176520197       10/19/2011      12:16:03
6348       2176523181       5/17/2011       9:41:05
6349       2176523638       9/30/2011       10:05:18
6350       2176534295       10/9/2012       11:37:25
6351       2176537558       10/13/2011      8:24:53
6352       2176606019       10/12/2011      12:04:23
6353       2176606035       1/17/2012       18:33:18
6354       2176630008       7/9/2012        18:50:15
6355       2176634154       2/17/2012       9:01:04
6356       2176637243       8/17/2012       8:25:32
6357       2176713334       8/31/2012       16:32:37
6358       2176716027       2/13/2012       8:14:00
6359       2176717719       1/17/2012       20:24:32
6360       2176717719       4/5/2012        14:35:38
6361       2176717719       4/6/2012        15:42:35
6362       2176852640       3/13/2012       11:26:30
6363       2176853168       8/23/2012       11:39:43
6364       2176856943       8/6/2012        13:17:01
6365       2176903611       4/29/2011       20:24:58
6366       2176916231       12/1/2011       15:02:36
6367       2176917236       4/23/2012       20:38:44
6368       2176917236       5/21/2012       8:18:13
6369       2176931773       3/13/2012       14:06:06
6370       2177100055       12/21/2011      10:18:25
6371       2177103831       10/8/2012       8:11:48
6372       2177105083       10/13/2011      8:32:45
6373       2177105968       2/28/2012       13:11:15
6374       2177107732       3/10/2012       8:54:51
6375       2177108968       3/26/2012       18:27:50
6376       2177109691       11/19/2011      8:57:41
6377       2177142465       9/13/2011       18:06:30
6378       2177142953       10/15/2011      10:43:56
6379       2177145822       12/23/2011      14:11:44
6380       2177147385       9/28/2012       16:47:29
6381       2177190921       5/30/2012       12:52:24
6382       2177200464       9/26/2011       9:32:50
6383       2177207049       11/17/2011      14:38:56
6384       2177213745       10/7/2011       8:12:17
6385       2177219768       10/19/2011      12:14:53
6386       2177220531       8/26/2011       18:22:31
6387       2177221219       10/1/2011       9:51:30
6388       2177225819       9/16/2011       13:28:20
6389       2177227694       8/12/2011       11:04:39
6390       2177256433       3/14/2012       19:32:16
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6391       2177258778       3/1/2012        8:41:09
6392       2177370591       9/1/2012        8:56:30
6393       2177370870       6/27/2012       12:16:33
6394       2177373817       9/27/2011       18:16:01
6395       2177376117       11/18/2011      13:25:00
6396       2177376930       9/13/2012       15:15:11
6397       2177404121       4/1/2012        17:20:28
6398       2177404518       2/3/2012        8:42:25
6399       2177413498       11/21/2011      8:13:52
6400       2177414978       10/5/2011       14:11:33
6401       2177418150       9/14/2011       12:07:25
6402       2177501516       10/22/2012      17:50:43
6403       2177661548       1/20/2012       20:35:18
6404       2177668379       10/5/2011       14:40:49
6405       2177721730       6/16/2012       8:54:18
6406       2177721730       7/28/2012       9:01:00
6407       2177721731       6/15/2012       16:38:01
6408       2177732251       11/14/2011      14:41:49
6409       2177794213       12/23/2011      14:26:28
6410       2177910088       9/23/2011       19:01:08
6411       2177911269       4/5/2012        14:00:13
6412       2177914270       10/18/2012      8:08:17
6413       2177917029       8/20/2012       18:44:31
6414       2177919653       8/31/2012       16:37:30
6415       2177997764       12/20/2011      19:24:31
6416       2178011564       1/7/2012        9:21:02
6417       2178017853       12/24/2011      8:03:33
6418       2178080160       1/18/2012       16:52:38
6419       2178167290       10/22/2012      8:08:18
6420       2178196495       9/22/2011       15:18:56
6421       2178198895       8/20/2012       18:43:38
6422       2178200317       8/13/2012       7:43:43
6423       2178200317       8/22/2012       11:11:17
6424       2178200317       9/26/2012       14:39:27
6425       2178200780       7/26/2012       19:19:54
6426       2178200784       10/14/2011      13:28:33
6427       2178200784       10/22/2011      13:14:25
6428       2178201071       9/12/2011       14:21:45
6429       2178201379       7/17/2012       12:34:34
6430       2178201379       8/1/2012        9:08:17
6431       2178207825       5/22/2012       18:30:07
6432       2178208847       9/19/2012       8:03:22
6433       2178209793       10/31/2011      9:26:45
6434       2178210024       2/21/2012       20:54:53
6435       2178210024       3/6/2012        20:29:20
6436       2178213416       5/22/2012       11:23:46
6437       2178213850       4/13/2012       20:44:59
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6438       2178216560       12/12/2011      16:17:18
6439       2178230216       9/15/2011       7:38:55
6440       2178232964       3/20/2012       17:48:47
6441       2178255460       10/22/2011      13:07:50
6442       2178259449       12/18/2011      16:48:14
6443       2178279174       2/6/2012        10:13:34
6444       2178280071       11/14/2011      14:45:31
6445       2178362908       9/15/2011       7:40:36
6446       2178415795       12/19/2011      8:05:49
6447       2178415795       1/27/2012       19:47:22
6448       2178416773       8/30/2012       17:41:00
6449       2178513373       9/8/2011        19:53:29
6450       2178515681       12/24/2011      8:19:15
6451       2178530986       4/25/2012       9:49:01
6452       2178537623       4/9/2012        18:14:35
6453       2178538333       1/18/2012       9:43:51
6454       2178555182       9/22/2011       16:03:19
6455       2178712410       10/12/2012      16:47:08
6456       2178718235       7/26/2012       19:21:20
6457       2178830266       4/3/2012        10:25:51
6458       2178831964       9/13/2011       13:51:14
6459       2178837309       8/9/2012        14:10:40
6460       2178838537       3/8/2012        9:15:56
6461       2178910045       5/11/2011       16:58:26
6462       2178910689       9/16/2011       13:04:49
6463       2178915702       10/20/2011      15:34:37
6464       2178917781       10/20/2011      16:19:00
6465       2178980866       7/9/2012        19:12:12
6466       2178993000       9/21/2011       11:30:47
6467       2178997840       3/13/2012       12:48:21
6468       2178999281       12/9/2011       13:38:04
6469       2179186312       4/14/2012       9:25:11
6470       2179720933       2/7/2012        17:05:36
6471       2179721781       9/8/2011        18:10:15
6472       2179729799       9/13/2011       14:11:36
6473       2179943673       9/26/2011       9:28:56
6474       2182132553       10/2/2012       12:57:37
6475       2182135861       9/23/2011       18:59:21
6476       2182405554       12/2/2013       12:19:20
6477       2182550823       7/23/2011       12:30:28
6478       2182598011       2/14/2012       13:23:44
6479       2182695934       10/7/2011       8:15:31
6480       2182809301       9/14/2011       16:56:13
6481       2183104877       10/13/2012      9:11:11
6482       2183433724       2/20/2012       8:45:24
6483       2183498925       12/20/2011      14:58:09
6484       2183550929       12/19/2011      8:19:02
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6485       2184280060       6/25/2012       13:44:37
6486       2185300173       9/6/2011        12:14:53
6487       2185907478       2/14/2012       9:48:34
6488       2187919546       6/2/2011        11:00:03
6489       2188385183       12/12/2011      16:38:08
6490       2188492359       10/3/2011       10:40:34
6491       2189404169       8/6/2013        15:25:31
6492       2192901916       4/2/2012        8:55:22
6493       2193105350       7/13/2012       11:08:06
6494       2193139076       2/21/2012       9:48:06
6495       2193139076       3/16/2012       16:03:47
6496       2193817307       10/8/2011       12:08:52
6497       2193817307       1/6/2012        15:00:04
6498       2194765637       12/20/2011      19:21:58
6499       2194849755       6/5/2012        17:59:39
6500       2194884704       11/28/2011      17:41:02
6501       2195062521       7/3/2012        13:27:17
6502       2195120176       3/30/2012       9:50:14
6503       2195120176       4/23/2012       20:42:29
6504       2195126142       2/18/2012       8:42:38
6505       2195128187       12/13/2011      17:17:54
6506       2196148403       2/10/2012       20:40:19
6507       2196299473       1/17/2012       17:03:30
6508       2196449685       10/5/2012       18:32:14
6509       2196710678       10/15/2011      9:32:46
6510       2196716473       9/25/2012       14:42:14
6511       2197072635       10/25/2011      16:50:26
6512       2197760059       8/25/2012       11:18:08
6513       2197791463       5/18/2012       12:13:31
6514       2198010743       11/30/2011      13:02:11
6515       2198083230       6/6/2011        17:17:31
6516       2198510521       10/20/2012      8:14:40
6517       2198806238       3/7/2012        18:30:29
6518       2199738240       12/6/2011       7:19:35
6519       2242004432       9/13/2011       18:12:28
6520       2242007409       6/1/2011        12:08:48
6521       2242008560       2/9/2012        20:34:54
6522       2242012576       10/22/2011      13:14:25
6523       2242014126       1/9/2012        8:19:11
6524       2242207959       2/8/2012        12:53:54
6525       2242230229       10/25/2011      16:27:43
6526       2242329551       12/6/2011       13:31:05
6527       2242389275       10/21/2011      12:37:57
6528       2242771138       6/9/2012        11:09:13
6529       2242800464       12/28/2011      16:55:41
6530       2242805169       3/19/2012       17:42:11
6531       2242806188       10/17/2012      12:55:13
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6532       2243050568       10/11/2011      16:20:32
6533       2243051321       1/13/2012       17:27:44
6534       2243051712       8/7/2012        19:53:26
6535       2243055066       2/21/2012       20:50:34
6536       2243300580       5/3/2012        8:10:47
6537       2243439714       9/13/2011       17:57:46
6538       2243777755       8/16/2012       9:26:17
6539       2243812355       7/2/2012        14:55:40
6540       2243813239       8/20/2012       10:07:53
6541       2243876140       1/10/2012       15:20:34
6542       2243880771       6/27/2012       17:52:59
6543       2243882215       8/19/2012       12:06:12
6544       2243889141       4/11/2012       11:33:24
6545       2243924214       4/10/2012       12:04:51
6546       2243925814       9/21/2011       19:35:05
6547       2243929326       8/8/2012        16:12:20
6548       2244008580       9/22/2011       16:10:55
6549       2244020974       1/23/2012       18:57:10
6550       2244029716       3/25/2012       11:58:21
6551       2244029716       4/12/2012       18:20:53
6552       2244064350       2/17/2012       9:35:41
6553       2244200186       12/27/2011      13:43:16
6554       2244256440       2/2/2012        11:33:26
6555       2244333979       10/11/2011      17:30:35
6556       2244334255       10/11/2011      17:24:48
6557       2244400558       1/11/2012       8:56:36
6558       2244400558       5/21/2012       8:15:38
6559       2244402208       4/2/2012        17:34:10
6560       2244411307       10/17/2012      18:36:24
6561       2244657324       5/22/2012       11:53:19
6562       2244891040       12/29/2011      19:34:08
6563       2244895889       11/8/2011       14:01:17
6564       2244898074       7/7/2012        10:24:59
6565       2244898097       8/20/2012       10:00:00
6566       2245220338       5/13/2012       17:32:33
6567       2245221887       2/3/2012        20:09:50
6568       2245318521       7/17/2012       12:28:01
6569       2245321146       10/27/2011      16:48:55
6570       2245381482       12/7/2011       15:19:42
6571       2245420264       9/9/2011        18:26:25
6572       2245580602       5/2/2012        13:46:17
6573       2245583216       5/8/2012        17:17:31
6574       2245652162       10/21/2011      12:39:48
6575       2245723483       6/14/2012       15:56:56
6576       2245775827       10/23/2012      16:23:07
6577       2245781979       11/17/2011      16:48:09
6578       2245950061       11/3/2011       17:50:28
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6579       2245959033       9/14/2011       9:56:57
6580       2246106140       9/11/2012       15:14:06
6581       2246106140       9/17/2012       8:37:14
6582       2246121720       10/22/2011      12:37:06
6583       2246121720       11/15/2011      15:30:12
6584       2246160085       9/8/2011        19:48:18
6585       2246233079       1/3/2012        19:43:04
6586       2246233578       10/17/2011      8:16:28
6587       2246237019       3/10/2011       16:36:30
6588       2246250634       7/14/2011       8:14:58
6589       2246272709       9/13/2011       13:35:25
6590       2246273832       10/19/2011      8:10:59
6591       2246274216       12/2/2011       14:52:15
6592       2246279280       9/13/2011       16:16:35
6593       2246279782       12/13/2011      18:53:50
6594       2246360281       10/29/2011      10:58:45
6595       2246360340       8/2/2012        18:56:44
6596       2246360694       6/30/2011       8:26:42
6597       2246500417       8/17/2012       8:28:06
6598       2246560018       11/11/2011      20:02:33
6599       2246561585       11/5/2011       11:42:05
6600       2246561585       11/17/2011      16:56:34
6601       2246563009       10/12/2011      8:14:47
6602       2246598974       10/10/2011      11:59:12
6603       2246783679       5/15/2012       8:43:24
6604       2246783679       6/21/2012       18:44:27
6605       2247250308       10/7/2012       13:01:02
6606       2247300554       8/20/2012       18:45:41
6607       2247309317       5/1/2012        17:43:53
6608       2247309884       9/2/2012        11:54:34
6609       2247334020       11/4/2013       14:53:40
6610       2247724866       8/1/2012        8:29:37
6611       2247899491       12/24/2011      7:01:26
6612       2248288924       3/26/2012       18:29:43
6613       2248294166       6/7/2012        18:30:58
6614       2248560477       6/7/2012        18:30:47
6615       2248750509       1/7/2012        9:23:09
6616       2249441540       9/24/2011       9:50:04
6617       2249441540       10/14/2011      19:26:18
6618       2249448410       12/19/2011      8:20:59
6619       2249448410       3/14/2012       14:20:46
6620       2252024051       2/21/2012       20:50:25
6621       2252231606       10/12/2011      7:41:34
6622       2252238364       2/17/2012       9:13:23
6623       2252238364       3/9/2012        7:06:23
6624       2252410023       10/22/2011      12:43:26
6625       2252445040       5/30/2012       12:53:49
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6626       2252452741       12/21/2011      11:21:59
6627       2252525480       6/23/2012       16:13:27
6628       2252704069       4/4/2012        18:44:42
6629       2252704069       7/30/2012       13:38:57
6630       2252747136       5/2/2012        13:29:33
6631       2252767849       6/16/2012       15:27:44
6632       2252888143       9/13/2011       17:38:22
6633       2252889872       4/18/2012       17:59:37
6634       2253041203       2/6/2012        17:21:41
6635       2253041204       11/16/2011      20:06:37
6636       2253056438       6/28/2012       14:22:16
6637       2253231877       9/13/2011       16:25:10
6638       2253419000       1/25/2012       9:18:58
6639       2253576630       10/5/2011       14:16:36
6640       2253719818       8/1/2012        8:30:43
6641       2253853726       6/16/2012       15:28:47
6642       2254134506       9/21/2012       15:36:42
6643       2254392909       8/30/2012       7:02:16
6644       2254547729       3/15/2012       14:00:49
6645       2254561913       2/24/2012       20:55:46
6646       2255713337       5/21/2012       17:27:23
6647       2255713526       7/14/2012       8:06:53
6648       2255735733       2/2/2012        10:57:13
6649       2256107203       8/8/2012        16:12:27
6650       2257184363       6/19/2012       15:48:48
6651       2257185079       6/12/2012       17:06:33
6652       2257760266       10/14/2011      13:19:12
6653       2257765052       9/21/2011       11:28:28
6654       2257884884       9/8/2011        19:48:20
6655       2259395359       6/18/2012       15:22:44
6656       2259751345       10/5/2011       14:44:09
6657       2282130361       11/2/2011       14:01:23
6658       2282156437       10/15/2011      10:44:50
6659       2282160606       3/15/2012       19:07:47
6660       2282162752       10/17/2011      8:03:34
6661       2282164919       9/20/2011       18:19:20
6662       2282165801       12/26/2011      20:00:48
6663       2282166498       10/24/2011      8:05:36
6664       2282167220       9/6/2011        12:17:35
6665       2282169014       4/1/2012        17:11:46
6666       2282169214       9/12/2012       15:10:51
6667       2282169675       3/17/2012       8:54:35
6668       2282169891       5/11/2012       18:34:58
6669       2282175966       3/23/2012       11:33:59
6670       2282178670       10/18/2011      12:59:57
6671       2282178707       9/28/2011       11:19:30
6672       2282180706       3/8/2012        9:40:50
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6673       2282183645       9/13/2012       15:21:31
6674       2282183645       9/21/2012       18:45:27
6675       2282184098       12/8/2011       19:48:01
6676       2282186130       7/29/2011       20:22:50
6677       2282186314       5/20/2012       15:41:23
6678       2282187510       11/16/2011      19:54:51
6679       2282190459       9/10/2011       9:09:57
6680       2282190478       7/3/2012        15:58:49
6681       2282195156       9/10/2011       9:11:21
6682       2282221030       6/19/2012       15:47:27
6683       2282228448       3/27/2012       15:06:37
6684       2282235637       4/18/2012       8:16:32
6685       2282235637       4/29/2012       18:24:31
6686       2282235705       10/8/2011       11:51:01
6687       2282235705       11/20/2011      11:10:29
6688       2282235705       11/23/2011      10:54:51
6689       2282236227       3/9/2012        9:10:50
6690       2282238722       10/25/2011      15:31:27
6691       2282247435       9/23/2011       11:40:35
6692       2282296501       9/26/2011       9:43:23
6693       2282297938       3/24/2012       10:02:22
6694       2282334498       9/4/2012        16:08:55
6695       2282336641       3/29/2012       17:36:23
6696       2282340594       4/4/2012        8:07:54
6697       2282343011       8/2/2012        11:43:38
6698       2282347520       5/16/2012       20:31:52
6699       2282347885       11/16/2011      8:08:06
6700       2282348862       3/14/2012       14:17:00
6701       2282348862       3/19/2012       19:02:55
6702       2282349050       12/9/2011       8:26:34
6703       2282349333       8/4/2012        8:08:36
6704       2282349771       8/13/2011       11:54:09
6705       2282354172       10/10/2012      12:38:44
6706       2282354705       9/29/2012       10:00:12
6707       2282356252       1/25/2012       20:30:23
6708       2282357284       11/3/2011       17:52:36
6709       2282359122       11/14/2011      14:16:06
6710       2282364442       12/20/2011      19:35:36
6711       2282380434       10/27/2011      15:15:16
6712       2282385801       10/27/2011      16:53:36
6713       2282386629       2/20/2012       17:12:22
6714       2282387028       2/11/2012       10:49:41
6715       2282389400       1/6/2012        14:39:46
6716       2282390349       1/25/2012       20:25:10
6717       2282393435       3/12/2012       19:38:15
6718       2282393435       3/20/2012       9:20:17
6719       2282398915       10/21/2011      12:44:00
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6720       2282490357       10/10/2012      19:10:03
6721       2282492965       1/9/2012        18:22:44
6722       2282494488       12/16/2011      15:39:37
6723       2282495048       6/5/2012        17:49:24
6724       2282540012       5/21/2012       8:21:13
6725       2282540012       5/21/2012       8:59:27
6726       2282540012       6/11/2012       18:00:03
6727       2282572193       7/12/2012       19:53:27
6728       2282572676       4/24/2012       11:58:17
6729       2282576635       10/15/2011      9:20:54
6730       2282617970       10/10/2012      12:48:01
6731       2282630071       3/10/2012       8:50:54
6732       2282652618       6/29/2012       9:32:00
6733       2282653358       7/21/2012       10:44:17
6734       2282825338       3/23/2012       14:51:10
6735       2282825467       10/22/2011      12:37:28
6736       2282971457       2/4/2012        8:35:14
6737       2282971582       12/3/2011       10:19:05
6738       2282973782       2/29/2012       17:31:57
6739       2282976063       7/23/2012       15:30:53
6740       2282976236       4/18/2012       17:58:31
6741       2282978023       10/15/2011      10:55:14
6742       2282979959       4/18/2012       9:07:57
6743       2283130147       5/17/2012       11:45:50
6744       2283130682       2/10/2012       9:21:25
6745       2283132194       3/26/2012       14:57:20
6746       2283132627       1/11/2012       8:51:28
6747       2283140540       5/20/2012       15:40:18
6748       2283248169       2/6/2012        10:01:29
6749       2283248169       2/16/2012       8:30:10
6750       2283248574       1/18/2012       9:52:45
6751       2283248574       1/31/2012       10:07:14
6752       2283248574       5/21/2012       8:02:11
6753       2283260851       11/28/2011      18:01:02
6754       2283278884       11/15/2011      15:38:07
6755       2283278884       5/7/2012        8:17:28
6756       2283421769       7/13/2012       11:38:22
6757       2283422382       10/17/2011      8:37:48
6758       2283422562       7/26/2011       10:36:17
6759       2283423211       7/18/2011       8:16:52
6760       2283423237       4/28/2012       9:15:59
6761       2283423783       10/4/2011       13:22:37
6762       2283426904       1/6/2012        7:09:26
6763       2283431982       1/27/2012       9:50:47
6764       2283433820       3/19/2012       7:00:49
6765       2283435333       2/10/2012       9:25:44
6766       2283481071       12/27/2011      13:44:06
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6767       2283481398       10/18/2011      12:31:03
6768       2283483599       4/3/2012        17:56:56
6769       2283571695       3/2/2012        9:11:14
6770       2283630467       1/3/2012        19:49:23
6771       2283633082       12/7/2011       14:13:27
6772       2283634758       9/25/2012       14:56:11
6773       2283650790       12/3/2011       10:23:41
6774       2283650790       1/5/2012        12:05:35
6775       2283650790       7/12/2012       19:59:08
6776       2283696528       3/12/2012       19:26:52
6777       2283724628       11/26/2011      13:08:37
6778       2283822566       5/11/2012       18:35:10
6779       2283822566       5/26/2012       14:38:59
6780       2283827465       7/11/2012       9:38:14
6781       2283828298       5/17/2012       12:21:31
6782       2283831639       3/6/2012        20:34:26
6783       2283834123       11/21/2011      8:08:24
6784       2284245639       2/11/2012       11:14:00
6785       2284656004       5/10/2012       14:50:02
6786       2284656453       11/21/2011      8:36:52
6787       2284931434       9/13/2011       17:59:21
6788       2284936000       2/21/2012       11:31:01
6789       2285390213       9/10/2012       8:42:52
6790       2285471234       10/25/2012      12:23:20
6791       2285471525       8/1/2012        8:37:12
6792       2285473601       10/19/2011      12:10:16
6793       2285478571       8/10/2012       8:21:23
6794       2286230405       11/18/2011      12:35:55
6795       2286232115       3/13/2012       12:49:08
6796       2286234989       12/18/2011      16:51:01
6797       2286236111       5/12/2011       9:44:53
6798       2286237317       1/3/2012        11:13:57
6799       2286237317       1/9/2012        18:38:43
6800       2286239428       5/3/2012        7:01:50
6801       2286271242       3/6/2012        10:26:18
6802       2286271956       10/7/2011       8:12:58
6803       2286277816       5/21/2012       8:22:29
6804       2286279254       10/10/2011      11:58:53
6805       2286690889       3/16/2012       16:32:38
6806       2286695547       9/19/2011       19:17:43
6807       2286696783       12/18/2011      17:54:54
6808       2286697962       8/8/2012        8:19:54
6809       2286698863       11/23/2011      14:57:02
6810       2286698863       12/15/2011      8:37:34
6811       2286970090       12/29/2011      10:04:52
6812       2286975693       9/21/2012       15:30:20
6813       2287310323       9/27/2011       18:14:33
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6814       2288062612       4/2/2012        9:04:13
6815       2288064670       10/26/2011      12:14:52
6816       2288064670       1/11/2012       16:22:56
6817       2288326130       11/19/2011      8:20:45
6818       2288605937       9/23/2011       19:05:51
6819       2288606305       6/25/2011       8:38:24
6820       2288606305       9/10/2011       9:14:01
6821       2288610148       10/1/2011       9:53:12
6822       2288611198       11/26/2011      11:45:13
6823       2288611350       2/6/2012        10:02:17
6824       2288611350       5/21/2012       8:16:04
6825       2288613787       10/3/2011       8:12:12
6826       2288616385       4/7/2012        9:14:54
6827       2288962226       2/15/2012       13:26:43
6828       2289902439       3/27/2012       14:56:06
6829       2289902633       11/28/2011      17:53:44
6830       2289904185       9/13/2012       15:15:08
6831       2289904737       3/29/2012       17:15:08
6832       2289905284       11/3/2011       17:50:19
6833       2289905711       12/16/2011      15:39:36
6834       2289906336       9/21/2012       15:27:32
6835       2289907946       11/19/2011      8:54:58
6836       2289907971       3/6/2012        17:14:56
6837       2292000821       8/8/2012        16:11:59
6838       2292020561       7/28/2012       8:57:09
6839       2292062668       11/23/2011      14:30:05
6840       2292062896       6/5/2012        7:05:48
6841       2292062896       6/12/2012       17:10:30
6842       2292202074       11/18/2011      12:46:06
6843       2292202968       8/31/2012       16:26:02
6844       2292204135       5/30/2012       9:03:05
6845       2292205579       7/13/2012       11:08:04
6846       2292206672       1/26/2012       7:33:05
6847       2292209905       2/15/2012       8:13:16
6848       2292209905       3/7/2012        7:10:20
6849       2292209905       5/21/2012       7:25:33
6850       2292209905       10/18/2012      16:35:54
6851       2292212790       9/21/2012       15:25:58
6852       2292214158       9/28/2011       9:09:51
6853       2292217910       4/14/2012       8:51:33
6854       2292219162       9/21/2011       11:21:42
6855       2292246064       7/26/2012       11:50:32
6856       2292327911       3/15/2012       18:53:43
6857       2292327911       4/21/2012       8:19:02
6858       2292375497       12/1/2011       8:00:11
6859       2292379698       9/8/2011        18:43:45
6860       2292511741       9/22/2011       15:39:47
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6861       2292512605       3/13/2012       18:36:03
6862       2292513228       7/28/2012       8:42:27
6863       2292514888       4/13/2012       13:36:05
6864       2292540768       9/19/2011       19:25:39
6865       2292541069       12/23/2011      14:29:07
6866       2292541662       9/19/2012       7:52:55
6867       2292543555       12/27/2011      14:15:28
6868       2292545738       12/21/2011      18:47:31
6869       2292549212       11/1/2011       7:59:53
6870       2292549850       9/22/2011       15:44:48
6871       2292551376       5/10/2012       13:10:40
6872       2292551830       5/10/2011       19:18:04
6873       2292695966       4/15/2012       16:54:35
6874       2292696154       12/14/2011      14:41:57
6875       2292697774       4/21/2012       8:36:20
6876       2292699279       11/25/2011      17:27:44
6877       2292880776       4/21/2012       16:29:42
6878       2292914946       5/5/2012        8:17:18
6879       2292924178       5/16/2012       7:15:02
6880       2292960441       5/5/2012        12:32:16
6881       2292960885       7/27/2012       15:30:09
6882       2292969989       8/8/2011        14:53:55
6883       2293000375       10/4/2011       13:09:12
6884       2293006045       7/11/2011       7:19:37
6885       2293009084       8/1/2012        11:01:22
6886       2293009696       8/30/2012       7:49:37
6887       2293081480       2/16/2012       7:17:41
6888       2293081581       10/7/2011       7:10:35
6889       2293083931       10/26/2011      12:45:42
6890       2293084021       11/17/2011      16:48:18
6891       2293084518       10/10/2011      12:18:44
6892       2293087425       11/17/2011      13:44:34
6893       2293087628       10/10/2011      11:39:11
6894       2293088253       9/13/2011       18:37:01
6895       2293099329       11/28/2011      11:46:13
6896       2293100054       2/15/2012       8:06:56
6897       2293100922       10/22/2011      12:28:08
6898       2293101104       8/31/2012       16:35:10
6899       2293103383       3/19/2012       19:11:09
6900       2293103641       5/13/2012       16:51:44
6901       2293139772       2/2/2012        19:10:31
6902       2293140006       11/23/2011      14:30:51
6903       2293141882       3/8/2012        7:03:55
6904       2293141882       10/11/2012      18:51:13
6905       2293142681       1/9/2012        7:34:35
6906       2293149668       9/20/2011       16:31:52
6907       2293154730       9/24/2012       13:01:23
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6908       2293155567       2/20/2012       16:48:06
6909       2293190869       12/20/2011      11:56:03
6910       2293192523       6/16/2012       7:46:44
6911       2293193851       9/21/2012       18:43:48
6912       2293211033       9/24/2011       9:32:22
6913       2293220435       10/11/2012      18:41:23
6914       2293220957       3/24/2012       9:47:12
6915       2293223741       9/21/2012       19:03:54
6916       2293225544       3/5/2012        7:53:34
6917       2293227346       10/10/2012      12:59:23
6918       2293227819       2/1/2012        8:05:20
6919       2293228385       10/4/2011       13:15:09
6920       2293229576       10/4/2011       13:36:50
6921       2293229576       10/25/2011      15:12:43
6922       2293229576       5/21/2012       7:22:02
6923       2293252212       11/22/2011      19:02:55
6924       2293256708       3/31/2012       8:10:13
6925       2293259118       9/22/2012       9:31:35
6926       2293259425       4/1/2012        16:20:33
6927       2293260313       7/14/2011       15:49:56
6928       2293265738       6/18/2012       15:06:33
6929       2293272149       2/17/2012       18:08:41
6930       2293287166       10/5/2011       14:07:43
6931       2293288885       7/2/2011        8:07:05
6932       2293320300       11/8/2011       14:09:15
6933       2293433362       4/16/2012       15:58:23
6934       2293478348       4/3/2012        16:10:23
6935       2293478884       10/24/2011      7:13:02
6936       2293494393       11/12/2011      10:09:53
6937       2293590396       10/7/2011       7:18:11
6938       2293590397       10/24/2011      7:03:05
6939       2293642424       10/19/2012      19:02:23
6940       2293648218       10/11/2011      16:56:51
6941       2293648218       12/12/2011      16:29:57
6942       2293649374       12/1/2011       8:14:56
6943       2293660760       9/16/2011       13:13:43
6944       2293660760       4/2/2012        7:05:12
6945       2293751139       7/28/2012       8:45:23
6946       2293751447       12/5/2011       18:25:05
6947       2293751566       11/3/2011       17:01:46
6948       2293751667       10/5/2011       14:02:33
6949       2293752094       12/31/2011      12:01:06
6950       2293752351       10/11/2012      18:34:50
6951       2293753619       11/19/2011      8:43:04
6952       2293758548       3/2/2012        18:41:11
6953       2293761525       10/11/2011      16:01:52
6954       2293768472       1/27/2012       7:19:21
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6955       2293771371       1/6/2012        7:14:49
6956       2293771371       3/6/2012        16:00:24
6957       2293791013       11/26/2011      11:32:54
6958       2293925765       2/16/2012       7:26:25
6959       2293926527       6/14/2012       15:58:46
6960       2293928109       3/19/2012       7:17:50
6961       2293934673       3/13/2012       18:29:25
6962       2293934673       3/26/2012       18:38:45
6963       2294002382       11/28/2011      11:46:52
6964       2294028209       3/16/2012       10:20:16
6965       2294031346       10/19/2011      7:25:43
6966       2294036835       10/15/2012      16:07:55
6967       2294069782       1/26/2012       7:19:35
6968       2294070805       9/5/2012        7:16:48
6969       2294123464       3/27/2012       15:36:16
6970       2294124398       7/9/2012        7:08:30
6971       2294125578       9/21/2011       11:51:50
6972       2294155185       11/21/2011      7:36:30
6973       2294250765       6/4/2012        8:12:04
6974       2294252567       4/14/2012       9:14:17
6975       2294255039       9/17/2011       9:58:45
6976       2294256914       8/3/2012        19:55:02
6977       2294258356       2/17/2012       9:11:26
6978       2294440493       11/29/2011      16:08:44
6979       2294442002       9/21/2011       11:45:03
6980       2294443022       10/5/2011       14:07:37
6981       2294443022       1/17/2012       17:28:06
6982       2294444608       1/5/2012        12:03:02
6983       2294494986       7/12/2012       7:09:17
6984       2294496975       9/26/2011       8:02:41
6985       2294501904       1/29/2012       16:21:11
6986       2294538059       12/17/2011      11:37:04
6987       2294565727       1/6/2012        7:07:07
6988       2294572436       3/7/2012        18:29:01
6989       2294600123       9/21/2011       11:44:59
6990       2294605254       8/6/2012        14:49:18
6991       2294607263       4/5/2012        7:03:36
6992       2295069915       9/22/2011       15:18:05
6993       2295076218       9/15/2012       8:15:20
6994       2295078249       12/3/2011       9:40:02
6995       2295160804       11/29/2011      15:20:36
6996       2295188586       8/2/2011        18:10:37
6997       2295201781       3/5/2014        7:05:47
6998       2295209438       11/12/2011      10:14:43
6999       2295242658       3/27/2012       7:05:43
7000       2295393244       4/13/2012       13:17:39
7001       2295480459       12/13/2011      19:15:51
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7002       2295601439       3/21/2012       13:38:03
7003       2295604221       8/14/2012       11:48:54
7004       2295604221       9/12/2012       7:44:11
7005       2295605683       5/23/2012       16:24:20
7006       2295606057       9/17/2011       9:54:16
7007       2295611705       3/25/2011       8:16:20
7008       2295631486       10/5/2011       13:58:38
7009       2295635736       6/30/2012       8:15:59
7010       2295690788       2/13/2012       18:24:54
7011       2295695462       10/3/2011       7:16:36
7012       2295880912       10/10/2011      12:27:53
7013       2295885186       7/13/2012       7:39:05
7014       2295890994       6/20/2012       7:54:00
7015       2295899113       11/25/2011      18:08:35
7016       2295899886       9/19/2011       19:28:56
7017       2295919265       12/20/2011      19:22:05
7018       2295919526       9/21/2012       18:53:11
7019       2296460485       4/24/2012       12:16:50
7020       2296691969       10/15/2012      16:18:54
7021       2296695690       12/16/2011      15:55:55
7022       2296697209       6/21/2012       18:19:01
7023       2296697712       8/8/2012        7:09:07
7024       2296699967       3/2/2012        19:11:13
7025       2296994684       1/23/2012       14:25:27
7026       2297129023       10/4/2011       13:40:39
7027       2297129023       10/18/2011      12:53:51
7028       2297129023       12/23/2011      14:38:27
7029       2297263551       10/11/2011      15:47:07
7030       2297264332       9/22/2012       9:05:02
7031       2297267374       10/20/2012      16:36:38
7032       2297267677       4/3/2012        10:25:20
7033       2297268279       6/14/2012       7:07:52
7034       2297400400       6/14/2012       15:57:55
7035       2297405339       8/7/2012        19:37:58
7036       2297408641       5/22/2012       11:19:01
7037       2297985387       12/17/2011      11:59:05
7038       2298053102       6/23/2012       16:10:28
7039       2298090803       9/21/2011       11:50:08
7040       2298150039       9/23/2011       18:58:49
7041       2298150650       2/21/2012       9:27:17
7042       2298152754       1/8/2012        12:58:13
7043       2298153980       9/23/2011       11:27:02
7044       2298154945       10/20/2012      16:36:28
7045       2298156713       2/3/2012        7:09:28
7046       2298159856       12/8/2011       10:11:29
7047       2298481638       11/10/2011      7:19:35
7048       2298482866       11/22/2011      19:29:20
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7049       2298482866       11/29/2011      16:09:08
7050       2298483398       3/23/2012       14:53:52
7051       2298485871       9/24/2012       12:47:23
7052       2298540469       3/19/2012       19:11:24
7053       2298540469       4/11/2012       19:29:11
7054       2298546774       2/17/2012       18:08:36
7055       2298548827       2/24/2011       11:27:09
7056       2298600686       10/18/2012      16:48:38
7057       2298692649       10/18/2012      16:40:46
7058       2298694831       6/18/2012       15:20:25
7059       2298698049       4/18/2012       7:04:25
7060       2298698286       10/20/2012      16:20:01
7061       2298699279       11/10/2011      7:13:28
7062       2298811156       10/5/2011       14:00:49
7063       2298814537       4/14/2012       8:49:05
7064       2298815850       5/18/2012       7:02:49
7065       2298819956       9/19/2011       19:25:38
7066       2298861498       9/18/2012       14:21:43
7067       2298869199       10/14/2011      13:06:58
7068       2298880841       7/27/2011       17:29:10
7069       2298940299       10/24/2011      7:12:11
7070       2299380278       8/19/2011       11:59:43
7071       2299382237       10/17/2011      7:10:18
7072       2299383619       10/6/2011       16:28:09
7073       2299384945       10/12/2011      8:00:22
7074       2299425119       9/14/2011       16:25:58
7075       2299425692       7/30/2011       8:25:32
7076       2299428809       2/1/2012        8:16:32
7077       2299428959       6/11/2012       7:20:36
7078       2299428959       6/23/2012       15:56:11
7079       2299443029       3/20/2012       17:45:41
7080       2299470012       8/8/2012        7:09:44
7081       2299772097       9/29/2011       15:35:13
7082       2299777548       9/22/2012       9:33:02
7083       2312061762       10/28/2011      13:28:26
7084       2312155705       12/5/2011       18:23:12
7085       2312155848       8/8/2012        16:06:42
7086       2312189211       10/15/2011      8:27:36
7087       2312205528       9/26/2012       14:34:19
7088       2312335219       12/14/2011      14:02:41
7089       2312339864       7/25/2012       12:11:03
7090       2312453591       11/22/2011      19:25:34
7091       2312504770       3/14/2012       19:52:50
7092       2312860091       10/1/2011       10:20:26
7093       2312860654       11/7/2011       7:31:33
7094       2312864871       3/26/2012       18:21:54
7095       2312866249       9/15/2011       7:16:16
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7096       2312869791       2/6/2012        17:06:53
7097       2312877261       11/16/2011      9:29:38
7098       2312882502       7/19/2012       17:30:07
7099       2312883834       1/8/2012        13:01:27
7100       2312886064       10/8/2011       9:24:42
7101       2312889589       1/26/2012       7:34:33
7102       2313011364       9/18/2012       14:25:08
7103       2313011364       9/21/2012       18:40:22
7104       2313130259       3/14/2012       7:02:43
7105       2313137555       12/30/2011      9:14:13
7106       2313271336       10/11/2012      18:33:13
7107       2313302094       2/13/2012       18:23:18
7108       2313400010       4/30/2012       14:25:31
7109       2313432462       1/17/2012       18:44:13
7110       2313490554       11/9/2011       7:43:00
7111       2313490554       12/10/2011      13:18:21
7112       2313490554       1/27/2012       17:57:30
7113       2313491046       9/28/2012       16:37:33
7114       2313572467       12/23/2011      15:42:02
7115       2313608718       12/27/2011      9:29:15
7116       2313730392       9/23/2011       11:34:18
7117       2313832546       1/31/2012       10:18:55
7118       2313841191       6/21/2012       15:30:51
7119       2313845077       6/18/2012       9:23:25
7120       2313880240       8/22/2012       11:16:06
7121       2313880307       7/23/2011       11:30:29
7122       2313881669       10/19/2012      19:07:57
7123       2313883635       8/1/2012        8:32:08
7124       2313885380       11/30/2011      7:09:06
7125       2313924704       6/12/2012       17:07:19
7126       2313924757       5/29/2012       17:02:13
7127       2313924757       6/16/2012       8:45:16
7128       2313987751       12/29/2011      14:15:18
7129       2313988934       3/2/2012        18:40:49
7130       2314096892       5/25/2012       8:05:24
7131       2314203495       7/26/2012       19:18:08
7132       2314204764       9/5/2012        7:13:49
7133       2314256686       10/3/2011       7:11:52
7134       2314256686       10/10/2011      12:21:43
7135       2314256686       11/18/2011      13:23:16
7136       2314292174       12/13/2011      18:10:20
7137       2314294618       9/23/2011       11:37:51
7138       2314503375       2/11/2012       11:00:04
7139       2314573472       12/23/2011      14:40:34
7140       2314576956       7/26/2012       11:52:47
7141       2314578002       8/20/2012       18:49:05
7142       2314578046       12/20/2011      7:14:30
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7143       2314578389       3/16/2012       10:20:03
7144       2314636168       7/7/2012        10:11:10
7145       2314681031       3/27/2012       8:41:23
7146       2314925063       9/21/2011       12:02:04
7147       2314926467       9/26/2012       14:43:58
7148       2315190013       10/8/2011       9:43:15
7149       2315194783       12/2/2011       7:42:25
7150       2315194783       1/13/2012       17:22:55
7151       2315362301       8/24/2012       11:02:16
7152       2315472678       10/8/2011       11:43:15
7153       2315570359       11/10/2011      7:13:20
7154       2315575457       12/27/2011      13:53:19
7155       2315640456       2/24/2012       17:15:42
7156       2315702308       4/28/2012       8:11:23
7157       2315710918       10/15/2011      10:20:24
7158       2315717509       9/28/2012       7:32:50
7159       2315784719       9/20/2011       19:25:30
7160       2315786878       1/23/2012       7:14:44
7161       2315786878       3/12/2012       7:16:07
7162       2315809598       9/30/2011       10:16:17
7163       2315856772       10/17/2011      8:23:11
7164       2315903699       10/13/2011      7:06:46
7165       2315909684       12/27/2011      14:01:34
7166       2315976727       12/20/2011      12:41:44
7167       2316299172       2/28/2012       7:41:13
7168       2316310933       8/31/2011       10:20:59
7169       2316310933       12/23/2011      14:34:22
7170       2316311222       9/17/2012       7:34:04
7171       2316331003       7/5/2012        7:47:10
7172       2316331003       7/17/2012       7:06:56
7173       2316333822       1/4/2012        11:19:45
7174       2316380011       9/15/2012       8:06:39
7175       2316382418       10/21/2011      13:10:04
7176       2316387481       8/15/2012       7:48:57
7177       2316387500       3/2/2012        18:45:27
7178       2316490714       9/17/2012       7:36:00
7179       2316490714       10/3/2012       7:02:52
7180       2316519137       5/26/2012       14:24:29
7181       2316519691       3/6/2012        17:05:14
7182       2316602885       9/25/2012       15:01:17
7183       2316603349       10/25/2011      15:17:49
7184       2316670478       11/18/2011      13:28:49
7185       2316682995       10/7/2012       12:46:16
7186       2316683287       2/7/2012        7:18:09
7187       2316683885       12/16/2011      15:27:33
7188       2316702287       10/8/2011       11:09:04
7189       2316707428       6/5/2012        13:57:53
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7190       2316707749       11/4/2011       15:29:50
7191       2316709094       10/19/2011      7:32:13
7192       2316792408       6/21/2012       15:27:00
7193       2316837528       10/24/2012      14:52:55
7194       2316907926       5/23/2012       16:23:35
7195       2317240130       9/27/2012       7:30:02
7196       2317301083       10/7/2011       10:28:45
7197       2317368332       2/20/2012       7:09:58
7198       2317368332       3/27/2012       15:03:06
7199       2317475827       10/4/2011       13:39:50
7200       2317506075       12/6/2011       14:06:05
7201       2317607794       4/29/2012       16:39:57
7202       2317662457       12/18/2011      18:08:40
7203       2317696758       6/11/2012       17:46:11
7204       2317947021       8/16/2012       19:45:39
7205       2317947415       12/29/2011      10:02:26
7206       2317947415       1/12/2012       7:14:09
7207       2317947415       1/27/2012       17:57:48
7208       2317949612       10/8/2011       9:10:53
7209       2318180383       10/22/2011      13:18:48
7210       2318180883       6/15/2012       8:50:51
7211       2318180889       6/29/2012       17:49:22
7212       2318180966       9/28/2012       7:39:20
7213       2318189552       3/22/2012       7:47:15
7214       2318324729       10/19/2013      8:29:55
7215       2318381108       1/23/2012       18:52:07
7216       2318381906       11/4/2011       7:05:22
7217       2318382736       8/20/2012       18:52:01
7218       2318396279       10/12/2012      16:53:18
7219       2318445029       11/20/2011      11:05:52
7220       2318460064       2/20/2012       16:49:37
7221       2318553678       10/22/2011      12:27:25
7222       2318729153       1/16/2012       7:24:19
7223       2318729203       11/14/2011      16:34:10
7224       2318734809       8/30/2012       17:38:57
7225       2318782980       11/26/2011      11:36:34
7226       2318783736       5/20/2012       15:34:00
7227       2318783736       5/21/2012       17:37:02
7228       2318827970       10/24/2011      7:02:52
7229       2318844389       8/3/2012        16:36:28
7230       2318844483       2/28/2012       13:30:34
7231       2319031056       12/29/2011      10:56:47
7232       2319033691       3/13/2012       10:55:16
7233       2319120360       3/31/2012       17:01:46
7234       2319202059       12/14/2011      14:56:49
7235       2319202996       1/10/2012       18:13:40
7236       2319207956       10/10/2012      12:36:22
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7237       2319429548       9/19/2011       19:29:56
7238       2319550058       10/27/2011      16:24:14
7239       2319550172       7/19/2012       17:37:38
7240       2319812069       9/28/2011       14:33:17
7241       2342009406       10/26/2011      11:48:40
7242       2345210712       3/3/2012        8:37:20
7243       2345211986       10/24/2011      7:13:36
7244       2345213935       8/21/2012       13:47:39
7245       2345215059       4/3/2012        10:16:12
7246       2345429429       3/2/2012        9:28:55
7247       2345645861       9/16/2011       14:08:41
7248       2345675954       6/6/2012        7:10:31
7249       2345676014       8/22/2012       11:08:43
7250       2347880423       12/16/2011      15:37:50
7251       2347880678       12/20/2011      12:30:28
7252       2347882212       5/17/2012       7:09:34
7253       2347887694       2/4/2012        8:19:27
7254       2348555133       10/12/2012      16:33:37
7255       2348555157       1/26/2012       7:30:48
7256       2348555398       9/29/2011       15:12:01
7257       2348559750       6/6/2012        7:20:27
7258       2392002851       9/24/2011       9:13:07
7259       2392002953       2/29/2012       7:10:43
7260       2392003740       10/25/2012      19:47:17
7261       2392004916       3/28/2012       18:09:16
7262       2392005364       7/13/2012       18:26:43
7263       2392008850       3/22/2012       7:58:52
7264       2392009093       12/29/2011      18:07:26
7265       2392009308       4/12/2012       12:57:51
7266       2392009363       7/23/2011       12:44:04
7267       2392079278       11/10/2011      7:19:59
7268       2392091688       10/13/2011      7:17:33
7269       2392096554       2/20/2012       17:10:14
7270       2392186206       3/21/2012       13:48:50
7271       2392189630       9/13/2011       7:13:55
7272       2392189874       2/28/2012       16:00:03
7273       2392223838       10/22/2011      12:21:44
7274       2392226050       1/27/2012       17:55:54
7275       2392227839       1/4/2012        11:11:33
7276       2392230261       3/26/2012       18:37:36
7277       2392238468       10/4/2011       13:35:21
7278       2392296084       9/14/2011       15:09:44
7279       2392331838       2/26/2012       13:14:38
7280       2392340123       9/30/2011       10:14:28
7281       2392340616       1/28/2012       9:39:04
7282       2392349783       5/30/2012       16:52:03
7283       2392400267       7/25/2012       12:04:00
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7284       2392400278       6/7/2012        18:24:35
7285       2392400437       10/22/2012      7:18:43
7286       2392409171       10/20/2012      12:51:10
7287       2392432877       12/3/2011       10:15:00
7288       2392434544       11/29/2011      15:34:05
7289       2392434544       7/18/2012       18:29:03
7290       2392437837       2/24/2011       14:14:12
7291       2392446126       12/28/2011      13:24:03
7292       2392447986       12/16/2011      15:56:01
7293       2392450128       2/29/2012       17:42:44
7294       2392450292       11/9/2011       7:38:03
7295       2392450708       1/4/2012        10:59:19
7296       2392450873       1/23/2012       7:19:03
7297       2392450963       8/23/2012       21:06:47
7298       2392450963       8/29/2012       20:23:15
7299       2392451219       5/12/2012       10:26:20
7300       2392451366       1/27/2012       17:45:20
7301       2392451366       2/9/2012        7:14:24
7302       2392451366       9/24/2012       19:01:32
7303       2392452519       8/25/2012       11:10:27
7304       2392453116       12/21/2011      10:07:28
7305       2392454239       4/2/2012        7:14:49
7306       2392454455       11/7/2011       7:47:42
7307       2392468124       10/19/2011      7:23:44
7308       2392470532       3/14/2011       16:58:54
7309       2392476496       12/12/2011      16:34:40
7310       2392486598       10/25/2011      15:10:02
7311       2392499417       11/15/2011      16:09:45
7312       2392585216       3/26/2012       18:34:47
7313       2392585543       8/17/2011       19:00:07
7314       2392586018       6/23/2012       15:56:56
7315       2392586450       1/9/2012        18:27:49
7316       2392589649       2/6/2012        16:45:01
7317       2392651148       3/10/2012       8:48:43
7318       2392651148       3/21/2012       7:06:50
7319       2392652637       5/12/2012       8:45:33
7320       2392652741       10/4/2011       13:10:04
7321       2392652974       6/4/2012        8:10:12
7322       2392654791       6/14/2012       15:56:48
7323       2392655848       12/20/2011      19:30:46
7324       2392656551       12/8/2011       19:35:34
7325       2392718460       9/26/2012       17:14:22
7326       2392738524       2/18/2012       8:50:32
7327       2392739299       12/20/2011      19:33:28
7328       2392739987       5/25/2011       17:10:21
7329       2392809656       3/1/2012        8:37:56
7330       2392816011       8/30/2011       16:23:36
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7331       2392818086       1/5/2012        17:26:59
7332       2392850711       12/10/2011      14:40:29
7333       2392871429       7/23/2012       13:14:27
7334       2392871703       9/17/2012       7:36:31
7335       2392874472       5/12/2012       10:33:26
7336       2392890484       1/3/2012        11:01:11
7337       2392894796       9/29/2011       15:31:32
7338       2392921259       5/16/2012       16:54:37
7339       2392931412       12/14/2011      14:19:55
7340       2392931446       10/9/2012       7:31:50
7341       2392933083       10/13/2012      8:46:07
7342       2392936873       1/10/2012       18:03:19
7343       2392970917       3/3/2012        9:05:24
7344       2392971242       11/12/2011      10:18:38
7345       2392972010       4/27/2012       7:03:30
7346       2392974202       3/18/2011       9:59:03
7347       2392975887       9/27/2012       7:38:43
7348       2392976925       5/1/2012        8:14:38
7349       2392984475       1/4/2012        11:03:22
7350       2392989933       7/12/2012       7:03:19
7351       2393130325       9/10/2011       9:00:09
7352       2393211363       12/20/2011      19:20:31
7353       2393213089       11/14/2011      16:04:30
7354       2393213567       10/4/2011       13:32:44
7355       2393214790       8/19/2011       12:17:14
7356       2393214953       9/15/2011       7:21:26
7357       2393219080       10/24/2012      15:13:17
7358       2393219813       10/6/2011       17:22:04
7359       2393227497       12/18/2011      17:56:39
7360       2393227497       2/26/2012       13:17:57
7361       2393241559       10/8/2011       10:51:24
7362       2393242359       10/7/2011       7:20:44
7363       2393242523       4/29/2012       18:16:23
7364       2393300635       9/24/2012       13:04:42
7365       2393320710       5/6/2012        17:34:18
7366       2393337599       3/11/2011       16:21:58
7367       2393338032       3/23/2012       7:04:13
7368       2393338478       12/23/2011      7:14:20
7369       2393339596       11/4/2011       7:11:35
7370       2393339803       10/4/2011       13:40:48
7371       2393339885       10/10/2011      11:39:25
7372       2393388010       2/29/2012       17:32:28
7373       2393401320       5/18/2012       15:44:36
7374       2393409649       10/25/2012      19:35:23
7375       2393577211       10/10/2012      12:43:28
7376       2393577459       3/28/2012       18:20:20
7377       2393578921       8/8/2012        7:07:49
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7378       2393578968       11/23/2011      14:51:31
7379       2393624123       1/18/2012       9:46:01
7380       2393626540       12/20/2011      11:52:39
7381       2393627825       2/20/2012       7:03:20
7382       2393627949       1/21/2012       8:21:37
7383       2393840911       12/27/2011      14:30:46
7384       2393843330       5/30/2012       12:40:02
7385       2393985710       7/6/2012        16:49:42
7386       2393986241       12/7/2011       13:26:27
7387       2394381230       8/8/2012        7:05:31
7388       2394400097       5/11/2012       7:08:26
7389       2394400790       5/16/2012       7:15:37
7390       2394401047       1/3/2012        11:17:16
7391       2394401047       8/4/2012        7:35:07
7392       2394401885       2/1/2012        18:28:44
7393       2394403024       9/8/2011        19:46:12
7394       2394403707       1/20/2012       19:37:21
7395       2394403957       4/21/2012       16:29:39
7396       2394404723       2/11/2012       10:39:20
7397       2394405815       9/15/2012       8:19:42
7398       2394405946       3/21/2012       13:48:25
7399       2394407114       10/5/2011       14:31:17
7400       2394407114       2/17/2012       18:28:21
7401       2394582434       9/26/2012       14:46:05
7402       2394629048       6/11/2012       17:47:57
7403       2394629248       11/5/2011       11:03:32
7404       2394629738       5/1/2012        8:06:50
7405       2394629738       5/21/2012       7:32:17
7406       2394645881       9/23/2011       18:44:49
7407       2394651446       2/6/2012        17:11:26
7408       2394652592       1/17/2012       17:09:09
7409       2394655240       12/20/2011      19:30:45
7410       2394655350       11/11/2011      7:46:05
7411       2394656217       10/19/2011      7:54:30
7412       2394656237       3/6/2012        16:57:35
7413       2394656823       2/16/2012       7:16:24
7414       2394657243       1/26/2012       7:29:52
7415       2394657370       5/15/2012       19:05:06
7416       2394658081       2/20/2012       16:49:07
7417       2394659088       1/18/2012       9:48:46
7418       2394700040       4/10/2012       11:37:48
7419       2394700323       4/30/2012       14:51:41
7420       2394700323       5/21/2012       7:32:11
7421       2394703824       12/23/2011      14:38:00
7422       2394716618       7/6/2012        14:36:48
7423       2394718149       10/17/2011      7:03:56
7424       2395030366       10/6/2012       8:31:53
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7425       2395031465       12/21/2011      18:53:31
7426       2395038997       12/26/2011      9:14:43
7427       2395372611       10/12/2011      12:12:14
7428       2395377234       12/23/2011      15:24:47
7429       2395377780       2/7/2012        7:11:40
7430       2395606363       8/1/2012        8:27:13
7431       2395606747       2/29/2012       17:36:51
7432       2395608400       11/28/2011      11:09:07
7433       2395654031       7/23/2012       15:29:22
7434       2395721099       5/18/2012       15:55:11
7435       2395807539       9/26/2011       8:26:02
7436       2395952737       8/24/2012       7:27:28
7437       2395952737       8/25/2012       11:11:22
7438       2395953813       12/23/2011      13:43:10
7439       2396010078       7/12/2012       7:05:29
7440       2396010319       3/23/2012       19:10:19
7441       2396012200       8/8/2012        16:04:59
7442       2396013491       12/1/2011       7:49:22
7443       2396014459       10/18/2011      12:43:35
7444       2396014724       9/30/2011       10:00:37
7445       2396016354       9/8/2011        19:30:14
7446       2396016614       10/7/2013       7:07:50
7447       2396017129       1/30/2012       7:16:34
7448       2396033016       12/16/2011      16:22:50
7449       2396034947       10/8/2011       10:48:47
7450       2396282394       6/20/2012       17:03:15
7451       2396288774       4/9/2012        17:47:05
7452       2396333298       8/2/2012        11:33:31
7453       2396348325       10/17/2011      7:10:28
7454       2396451214       12/6/2011       7:16:52
7455       2396451279       4/11/2012       7:09:20
7456       2396451415       12/2/2011       7:31:10
7457       2396451937       7/30/2012       13:27:45
7458       2396452094       9/8/2011        19:43:48
7459       2396452382       10/8/2011       11:22:21
7460       2396452382       10/25/2011      16:14:17
7461       2396452916       9/8/2011        19:43:21
7462       2396455202       12/2/2011       15:21:52
7463       2396455595       1/30/2012       7:19:07
7464       2396456110       12/6/2011       14:29:06
7465       2396456936       1/25/2012       9:31:41
7466       2396459598       8/31/2012       16:37:06
7467       2396715561       3/26/2012       7:16:33
7468       2396729729       9/19/2011       7:08:27
7469       2396778012       3/25/2011       9:15:36
7470       2396779489       9/14/2011       7:03:20
7471       2396917434       12/28/2011      13:24:07
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7472       2396919744       12/15/2011      7:28:53
7473       2396921011       4/15/2012       16:38:18
7474       2396923078       3/24/2012       9:54:31
7475       2396923741       2/20/2012       17:06:19
7476       2396924740       12/15/2011      8:26:47
7477       2396924801       10/4/2011       13:35:39
7478       2396926088       7/26/2011       10:23:18
7479       2396926557       12/27/2011      14:23:03
7480       2396927259       8/23/2012       19:07:12
7481       2396927507       9/13/2011       18:32:24
7482       2396991688       3/14/2012       19:27:06
7483       2396993904       2/20/2012       17:19:17
7484       2396993958       10/8/2011       9:31:26
7485       2396996362       9/15/2011       7:16:34
7486       2396996984       4/12/2012       18:13:04
7487       2396997016       10/22/2011      12:25:03
7488       2397340844       2/1/2012        8:01:53
7489       2397383433       8/25/2012       10:58:44
7490       2397384590       5/8/2012        7:16:21
7491       2397389017       10/17/2012      18:34:54
7492       2397450214       10/8/2011       9:43:09
7493       2397450239       3/6/2012        15:55:08
7494       2397452276       9/14/2011       9:29:30
7495       2397452492       11/29/2011      15:24:30
7496       2397452995       10/11/2012      18:35:32
7497       2397457281       2/20/2012       7:04:07
7498       2397458953       10/15/2011      9:50:18
7499       2397458981       9/8/2011        17:43:25
7500       2397459186       12/26/2011      9:20:17
7501       2397459186       2/20/2012       17:04:46
7502       2397701062       6/8/2012        7:37:59
7503       2397723434       1/5/2012        12:10:04
7504       2397723434       6/12/2012       7:19:27
7505       2397769150       5/15/2012       7:43:49
7506       2397769150       5/21/2012       7:07:27
7507       2397895050       3/7/2012        18:29:47
7508       2397897519       1/6/2012        14:49:33
7509       2397897951       12/18/2011      17:15:29
7510       2398104875       9/5/2012        7:09:50
7511       2398212254       11/28/2011      17:10:14
7512       2398212447       9/27/2012       16:24:14
7513       2398222334       3/18/2012       12:26:27
7514       2398222334       10/12/2012      17:21:17
7515       2398225562       7/13/2012       18:33:22
7516       2398225562       7/26/2012       11:52:42
7517       2398225562       8/6/2012        16:01:21
7518       2398227055       3/29/2012       11:30:03
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7519       2398230654       11/22/2011      19:28:39
7520       2398238364       1/6/2012        14:38:56
7521       2398238364       2/25/2012       10:35:35
7522       2398239495       11/28/2011      17:40:32
7523       2398259424       10/5/2011       14:04:43
7524       2398265799       4/27/2012       7:09:50
7525       2398399507       10/6/2012       8:46:42
7526       2398417182       5/14/2012       15:30:06
7527       2398485966       9/8/2011        19:47:04
7528       2398487166       11/12/2011      10:24:41
7529       2398493071       11/16/2011      7:50:30
7530       2398496505       8/20/2012       7:56:38
7531       2398498485       9/24/2012       12:48:14
7532       2398498485       10/14/2012      15:11:07
7533       2398500073       11/9/2011       8:15:05
7534       2398601197       3/28/2012       7:28:46
7535       2398671567       6/27/2012       18:04:20
7536       2398671951       4/15/2012       16:29:17
7537       2398677630       5/1/2012        17:57:27
7538       2398725826       12/15/2011      7:31:31
7539       2398777016       4/2/2012        7:07:43
7540       2398779842       4/28/2012       8:05:18
7541       2398781388       2/14/2012       15:12:38
7542       2398781670       6/27/2012       17:49:57
7543       2398782284       9/13/2011       7:08:44
7544       2398782284       12/7/2011       14:40:41
7545       2398782828       12/20/2011      11:49:37
7546       2398784581       4/2/2012        7:11:22
7547       2398787615       8/29/2011       11:42:36
7548       2398787709       5/14/2012       15:18:24
7549       2398787709       6/5/2012        7:08:04
7550       2398787709       8/15/2012       7:52:10
7551       2398788203       9/28/2011       10:20:12
7552       2398877249       12/9/2011       15:56:52
7553       2398877270       2/6/2012        17:01:03
7554       2398877270       2/21/2012       9:42:06
7555       2398952349       6/9/2012        10:45:38
7556       2398953818       11/18/2011      13:30:06
7557       2398953963       9/19/2011       19:04:16
7558       2398954055       10/18/2012      16:34:28
7559       2398955270       5/22/2012       18:26:49
7560       2398957716       2/16/2012       7:19:47
7561       2398958855       8/2/2012        11:36:25
7562       2398982670       8/6/2012        16:23:43
7563       2399087576       10/18/2012      16:33:36
7564       2399197240       9/22/2011       15:49:53
7565       2399197240       10/5/2011       14:00:40
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7566       2399197240       2/20/2012       16:47:01
7567       2399359689       1/3/2012        16:29:49
7568       2399385545       5/17/2011       9:24:25
7569       2399404103       2/21/2012       9:40:40
7570       2399611827       9/23/2011       18:58:20
7571       2399804524       3/27/2012       15:01:32
7572       2399891139       4/29/2011       19:57:00
7573       2399940870       1/7/2012        8:38:50
7574       2399941980       4/30/2012       14:30:00
7575       2402050715       12/19/2011      7:32:30
7576       2402100813       11/11/2011      7:55:50
7577       2402100813       12/10/2011      13:08:32
7578       2402101108       3/24/2012       10:13:09
7579       2402102929       8/16/2012       7:51:26
7580       2402106434       12/21/2011      10:27:46
7581       2402170281       7/16/2012       19:36:05
7582       2402171604       3/1/2012        8:37:04
7583       2402172755       11/23/2011      14:31:57
7584       2402174756       3/20/2012       9:12:52
7585       2402177047       5/22/2012       18:32:39
7586       2402179803       11/5/2011       10:43:23
7587       2402370089       11/17/2011      16:41:40
7588       2402375156       11/23/2011      9:58:08
7589       2402375934       5/8/2012        16:57:53
7590       2402377079       7/7/2012        10:18:25
7591       2402562195       10/17/2012      9:41:23
7592       2402647992       10/1/2011       10:14:15
7593       2402712731       11/23/2011      9:25:02
7594       2402714097       10/10/2012      12:42:41
7595       2402715371       5/21/2012       7:58:58
7596       2402770820       2/7/2012        7:17:17
7597       2402775446       10/6/2011       17:17:20
7598       2402777845       9/30/2011       9:59:23
7599       2402778073       3/7/2012        18:38:09
7600       2402778073       5/21/2012       7:04:29
7601       2402805288       7/9/2012        19:08:06
7602       2402819979       9/16/2011       13:19:16
7603       2402854780       10/21/2011      13:07:14
7604       2402863493       10/24/2011      7:06:04
7605       2402911354       11/29/2011      15:23:22
7606       2402913963       2/15/2012       8:12:23
7607       2402914756       5/14/2012       7:12:10
7608       2402914756       5/21/2012       7:33:19
7609       2402915661       9/17/2011       10:15:42
7610       2402915661       10/14/2011      19:15:39
7611       2402917139       9/16/2011       12:55:54
7612       2402918050       6/8/2012        16:58:15
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7613       2402918109       11/28/2011      11:50:56
7614       2402918495       3/14/2012       7:06:37
7615       2402983675       9/21/2012       15:17:23
7616       2402988094       10/29/2011      11:15:49
7617       2402992173       11/17/2011      16:02:30
7618       2402995495       8/9/2012        14:06:17
7619       2403006003       11/5/2011       10:00:21
7620       2403044377       4/14/2012       9:14:57
7621       2403045603       12/1/2011       14:28:39
7622       2403046489       12/6/2011       7:33:17
7623       2403105565       10/31/2011      7:59:09
7624       2403106005       10/11/2011      16:06:40
7625       2403153384       11/20/2011      11:07:18
7626       2403154213       11/25/2011      17:40:36
7627       2403154497       1/31/2012       7:04:23
7628       2403162919       4/28/2012       8:06:33
7629       2403190396       8/4/2012        7:59:56
7630       2403213044       3/19/2012       17:39:35
7631       2403213044       10/5/2012       18:30:55
7632       2403214243       3/11/2012       15:10:20
7633       2403287916       12/14/2011      13:29:20
7634       2403298959       5/1/2012        17:24:31
7635       2403383110       7/13/2012       17:03:23
7636       2403385902       2/29/2012       7:07:19
7637       2403443385       2/11/2012       15:08:29
7638       2403465339       10/7/2012       12:51:25
7639       2403466939       12/24/2011      7:13:28
7640       2403468110       2/9/2012        7:28:15
7641       2403468513       12/29/2011      18:52:17
7642       2403468579       9/8/2011        18:43:31
7643       2403501429       1/29/2012       16:37:43
7644       2403501429       6/6/2012        7:14:30
7645       2403501429       9/21/2012       18:50:08
7646       2403502888       9/21/2011       13:16:54
7647       2403504573       7/12/2011       12:10:27
7648       2403504899       1/10/2012       15:24:53
7649       2403508709       7/3/2012        19:33:46
7650       2403509028       3/11/2011       16:31:55
7651       2403509874       12/6/2011       14:08:25
7652       2403511390       2/2/2012        7:05:40
7653       2403511710       9/29/2011       15:13:05
7654       2403514177       5/10/2011       18:52:24
7655       2403515164       6/25/2012       13:42:08
7656       2403533431       7/21/2012       10:41:25
7657       2403535415       5/15/2012       7:46:02
7658       2403536285       9/3/2012        14:28:19
7659       2403536799       11/15/2011      15:23:16
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7660       2403537611       3/9/2012        7:12:57
7661       2403538435       9/13/2012       7:36:59
7662       2403539828       8/29/2011       13:23:17
7663       2403541021       7/19/2011       17:47:21
7664       2403543070       12/20/2011      17:19:31
7665       2403544532       1/8/2012        13:04:43
7666       2403547104       11/12/2011      9:25:49
7667       2403548575       9/21/2011       11:26:47
7668       2403548575       10/4/2011       13:39:08
7669       2403552849       9/27/2012       7:32:39
7670       2403556011       11/14/2011      15:48:00
7671       2403556683       4/13/2012       13:36:08
7672       2403557880       8/9/2011        7:11:19
7673       2403577706       8/4/2012        8:00:17
7674       2403578866       1/7/2012        8:25:19
7675       2403623194       4/2/2012        17:38:58
7676       2403624874       9/15/2011       7:17:05
7677       2403700512       9/24/2011       9:10:02
7678       2403705196       2/4/2012        8:10:11
7679       2403709602       9/23/2011       18:40:55
7680       2403721189       12/13/2011      17:56:20
7681       2403728352       5/23/2012       16:24:55
7682       2403743700       9/24/2012       19:06:25
7683       2403748167       3/13/2012       18:35:22
7684       2403748354       4/30/2012       14:28:32
7685       2403755220       6/15/2012       16:44:26
7686       2403755457       5/9/2011        17:07:28
7687       2403771522       8/3/2012        16:29:48
7688       2403800992       10/17/2011      8:25:56
7689       2403805563       6/23/2012       16:10:39
7690       2403810003       1/16/2012       17:11:16
7691       2403813533       10/4/2011       13:39:26
7692       2403837722       9/22/2011       15:02:33
7693       2403869434       3/16/2012       10:21:48
7694       2403880094       10/13/2011      7:18:26
7695       2403880412       9/12/2013       7:16:53
7696       2403885416       7/14/2011       15:51:49
7697       2403887372       8/23/2012       11:47:08
7698       2403980480       8/8/2012        7:05:10
7699       2403984694       2/11/2012       15:21:09
7700       2403986565       12/6/2011       7:37:38
7701       2404014320       6/21/2012       18:49:05
7702       2404060898       3/23/2012       10:46:07
7703       2404095425       10/21/2011      12:58:56
7704       2404095428       2/6/2012        7:22:48
7705       2404096053       8/4/2012        7:29:26
7706       2404128015       11/8/2011       13:45:54
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7707       2404128971       1/28/2012       8:26:15
7708       2404130499       12/21/2011      10:03:30
7709       2404135629       6/25/2011       8:36:34
7710       2404138938       4/18/2012       17:47:56
7711       2404162643       12/19/2011      7:21:03
7712       2404173437       6/26/2012       16:20:46
7713       2404175399       9/19/2011       19:06:23
7714       2404182839       2/16/2012       7:09:25
7715       2404194642       9/19/2011       19:03:23
7716       2404217894       12/6/2011       14:47:10
7717       2404224211       9/13/2011       17:36:55
7718       2404226763       2/2/2012        19:03:32
7719       2404227569       9/8/2011        17:55:34
7720       2404230579       6/6/2012        7:16:55
7721       2404232981       10/25/2011      16:13:26
7722       2404234005       2/5/2014        7:03:34
7723       2404237008       3/1/2012        11:50:56
7724       2404237009       10/12/2011      12:09:37
7725       2404239544       5/24/2012       12:04:51
7726       2404248048       3/25/2012       11:48:38
7727       2404248734       8/23/2012       11:38:11
7728       2404261872       5/28/2012       8:47:21
7729       2404268310       9/27/2011       18:37:16
7730       2404268310       10/12/2011      7:21:24
7731       2404292701       5/24/2012       7:11:35
7732       2404311082       4/3/2012        18:01:51
7733       2404317638       9/24/2011       9:37:02
7734       2404317638       10/6/2011       16:19:28
7735       2404318854       3/9/2012        7:05:47
7736       2404318868       12/31/2011      11:43:32
7737       2404318868       1/5/2012        17:25:30
7738       2404319891       7/13/2012       11:24:09
7739       2404321755       10/9/2012       7:29:29
7740       2404322697       9/14/2011       16:21:54
7741       2404328558       12/20/2011      7:15:55
7742       2404345971       10/22/2011      13:05:23
7743       2404381338       10/18/2012      7:16:57
7744       2404395898       10/13/2012      9:01:49
7745       2404397262       10/25/2012      19:33:37
7746       2404400741       9/25/2012       14:51:30
7747       2404401555       9/14/2011       11:09:31
7748       2404413385       9/20/2011       15:09:47
7749       2404414481       11/10/2011      15:03:40
7750       2404414481       3/15/2012       19:38:32
7751       2404414481       5/21/2012       17:20:08
7752       2404415818       8/31/2011       10:21:19
7753       2404417413       5/2/2012        13:12:15
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7754       2404475273       2/3/2012        7:19:43
7755       2404496348       3/2/2012        7:13:07
7756       2404497117       11/16/2011      10:07:54
7757       2404499154       4/4/2012        7:15:04
7758       2404552086       3/23/2012       19:11:21
7759       2404558589       8/3/2012        7:48:03
7760       2404601456       3/19/2012       19:39:32
7761       2404616979       3/14/2012       7:04:53
7762       2404619006       3/29/2012       11:32:53
7763       2404626995       4/25/2012       15:58:32
7764       2404629624       10/27/2011      16:28:07
7765       2404637067       3/22/2012       7:54:15
7766       2404637957       1/18/2012       16:38:14
7767       2404682293       4/4/2012        18:43:39
7768       2404689678       5/30/2012       16:46:08
7769       2404690007       11/25/2011      17:34:29
7770       2404721484       1/11/2012       7:25:38
7771       2404724609       9/26/2011       8:31:43
7772       2404724609       10/19/2011      7:46:41
7773       2404755583       10/6/2011       16:21:53
7774       2404755583       10/11/2011      16:47:45
7775       2404760921       3/23/2012       19:11:58
7776       2404765074       9/1/2012        9:19:24
7777       2404772049       12/22/2011      9:19:22
7778       2404790066       10/3/2012       9:20:53
7779       2404813408       10/25/2011      15:13:03
7780       2404817625       7/21/2012       10:44:16
7781       2404817969       7/22/2012       15:57:55
7782       2404831882       9/30/2011       9:51:18
7783       2404837356       4/20/2012       14:26:39
7784       2404837356       6/18/2012       7:50:37
7785       2404838295       3/1/2012        12:00:31
7786       2404862820       1/12/2012       14:02:31
7787       2404866895       9/19/2012       7:55:27
7788       2404869650       7/30/2011       8:52:59
7789       2404911298       7/13/2012       18:33:29
7790       2404911578       3/30/2012       7:16:12
7791       2404911897       8/11/2012       9:36:20
7792       2404916590       1/3/2012        19:38:37
7793       2404917263       10/22/2012      7:05:07
7794       2405019619       11/29/2011      7:30:38
7795       2405050068       12/17/2011      11:28:33
7796       2405053477       1/7/2012        8:37:58
7797       2405057462       11/23/2011      14:34:43
7798       2405057607       2/20/2012       17:06:40
7799       2405064441       3/15/2012       19:28:55
7800       2405065789       8/16/2011       17:34:31
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7801       2405068983       3/27/2012       15:01:44
7802       2405155934       11/3/2011       17:43:29
7803       2405158548       1/8/2012        13:01:35
7804       2405159856       11/29/2011      16:06:38
7805       2405204716       3/21/2011       9:55:06
7806       2405207044       3/14/2012       19:41:59
7807       2405222044       9/24/2012       12:48:18
7808       2405223598       10/19/2012      9:47:14
7809       2405229010       4/12/2012       17:54:11
7810       2405271487       9/8/2011        19:23:46
7811       2405275956       4/13/2012       13:34:24
7812       2405280443       9/14/2011       7:05:00
7813       2405294630       9/28/2012       16:55:31
7814       2405336556       10/15/2011      10:23:30
7815       2405337139       12/14/2011      17:57:11
7816       2405350090       6/7/2012        18:20:59
7817       2405351832       11/14/2011      14:21:15
7818       2405356119       3/7/2012        7:18:05
7819       2405359213       9/23/2011       18:42:52
7820       2405431140       1/3/2012        11:14:28
7821       2405478192       5/6/2012        18:05:44
7822       2405507382       8/26/2013       19:59:51
7823       2405510264       2/14/2012       15:27:49
7824       2405611832       11/29/2011      15:26:01
7825       2405613656       11/11/2011      13:37:45
7826       2405653353       4/9/2012        7:15:55
7827       2405654944       2/9/2012        7:18:55
7828       2405659293       10/29/2011      10:21:19
7829       2405668222       11/23/2011      14:31:24
7830       2405750848       12/31/2011      11:46:07
7831       2405754868       12/7/2011       13:59:29
7832       2405758979       1/16/2012       17:26:55
7833       2405775841       12/27/2011      13:35:38
7834       2405778187       1/5/2012        17:20:07
7835       2405861605       10/14/2011      13:18:14
7836       2405862498       9/22/2012       9:29:31
7837       2405869744       9/19/2011       19:11:09
7838       2405930773       11/3/2011       17:44:15
7839       2405930773       5/3/2012        7:03:04
7840       2405931244       7/25/2012       12:13:25
7841       2405931409       12/31/2011      12:00:09
7842       2405938655       8/15/2012       7:51:55
7843       2405939541       1/26/2012       7:27:54
7844       2405953055       10/4/2011       13:37:02
7845       2406013997       2/28/2012       15:58:15
7846       2406018532       7/19/2012       7:48:28
7847       2406023827       10/5/2011       14:31:57
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7848       2406026597       2/29/2012       7:16:54
7849       2406032320       10/1/2011       9:41:43
7850       2406038559       7/30/2012       13:11:39
7851       2406038697       10/5/2011       14:09:33
7852       2406043058       7/6/2012        14:49:09
7853       2406060838       7/3/2012        7:12:23
7854       2406065726       9/28/2012       16:42:27
7855       2406190829       2/1/2014        15:14:56
7856       2406252272       5/21/2012       17:21:53
7857       2406257816       9/29/2012       9:53:22
7858       2406258401       7/23/2012       15:28:43
7859       2406258401       8/20/2012       18:51:56
7860       2406261041       10/22/2012      7:14:04
7861       2406263646       7/11/2012       9:30:08
7862       2406266184       8/13/2011       12:15:18
7863       2406268785       9/16/2011       14:16:50
7864       2406269651       6/14/2012       16:19:22
7865       2406401487       7/12/2012       7:01:48
7866       2406439347       5/22/2012       18:26:21
7867       2406442295       1/13/2012       17:35:45
7868       2406447621       10/20/2011      15:25:45
7869       2406455907       2/11/2012       10:44:31
7870       2406717042       9/14/2011       9:35:27
7871       2406721504       2/15/2012       8:07:07
7872       2406740614       10/12/2011      7:21:04
7873       2406744444       6/27/2012       12:01:37
7874       2406749521       7/21/2012       10:37:56
7875       2406765855       10/3/2012       19:53:59
7876       2406784238       11/22/2011      18:40:07
7877       2406786277       11/18/2011      13:27:59
7878       2406787890       10/17/2012      18:28:56
7879       2406824159       3/25/2012       11:55:51
7880       2406824159       5/21/2012       7:05:09
7881       2406824159       5/21/2012       7:30:08
7882       2406829848       12/20/2011      17:11:12
7883       2406883340       8/26/2011       17:43:21
7884       2406884169       12/10/2011      12:38:49
7885       2406917048       4/4/2012        18:42:36
7886       2406917048       4/10/2012       16:07:11
7887       2406919743       4/26/2012       8:00:31
7888       2406919743       7/20/2012       14:52:52
7889       2407050346       2/15/2012       8:10:27
7890       2407050693       9/21/2012       15:27:42
7891       2407066560       8/11/2011       11:41:00
7892       2407066911       3/13/2012       18:58:21
7893       2407158267       1/31/2012       7:14:14
7894       2407238737       11/18/2011      12:42:43
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7895       2407271337       1/28/2012       9:42:09
7896       2407277074       3/28/2011       15:21:36
7897       2407278360       10/19/2012      19:08:25
7898       2407312272       11/11/2011      7:46:21
7899       2407516167       1/8/2012        13:06:53
7900       2407553122       6/25/2011       8:29:52
7901       2407654024       11/18/2011      12:50:28
7902       2407659132       10/8/2011       9:29:06
7903       2407840824       10/29/2011      11:31:46
7904       2408185307       10/15/2012      16:10:00
7905       2408188923       8/24/2012       7:29:06
7906       2408321206       4/29/2012       16:56:22
7907       2408321446       6/27/2012       12:13:51
7908       2408386897       11/18/2011      12:35:27
7909       2408484274       9/7/2011        14:25:28
7910       2408486880       2/2/2012        11:32:25
7911       2408553502       11/3/2011       17:46:09
7912       2408558289       9/12/2012       14:54:26
7913       2408762915       8/15/2012       7:50:47
7914       2408768905       12/13/2011      17:45:35
7915       2408821785       2/16/2012       7:02:36
7916       2408823081       9/13/2011       17:40:05
7917       2408828304       9/12/2011       13:55:24
7918       2408880405       10/11/2012      11:58:44
7919       2408884191       9/24/2012       12:49:57
7920       2408884191       10/20/2012      16:20:01
7921       2408886012       11/12/2011      9:45:28
7922       2408889024       4/2/2012        7:04:31
7923       2408889024       10/5/2012       18:28:55
7924       2408937426       5/8/2012        7:10:05
7925       2408939559       6/9/2012        15:11:12
7926       2408985036       4/10/2012       16:10:13
7927       2408985202       2/17/2012       9:06:44
7928       2408987533       10/5/2012       18:15:40
7929       2408998369       11/3/2011       18:06:38
7930       2408999686       3/1/2012        8:43:16
7931       2408999686       3/6/2012        12:32:15
7932       2409251246       10/1/2011       9:36:16
7933       2409253042       5/13/2012       17:30:59
7934       2409255372       7/18/2011       10:53:39
7935       2409380341       3/9/2012        7:09:26
7936       2409380412       1/23/2012       19:08:26
7937       2409383374       10/6/2012       8:30:44
7938       2409387572       8/25/2012       8:31:05
7939       2409388348       9/13/2011       7:07:58
7940       2409885136       11/5/2011       11:02:27
7941       2409885244       5/22/2012       18:48:21
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7942       2409939466       1/19/2012       18:36:06
7943       2482029686       10/22/2011      12:38:47
7944       2482109013       9/24/2012       19:00:58
7945       2482109031       8/20/2012       18:50:09
7946       2482124565       6/18/2012       15:08:19
7947       2482129904       1/6/2012        15:55:35
7948       2482140592       6/16/2012       15:24:54
7949       2482142202       2/17/2012       18:18:30
7950       2482144462       10/9/2012       19:58:48
7951       2482192222       10/9/2012       19:58:48
7952       2482241552       10/29/2011      11:22:26
7953       2482258827       6/21/2011       13:55:12
7954       2482279077       10/12/2012      16:34:35
7955       2482284616       1/23/2012       7:18:47
7956       2482385432       5/21/2012       8:46:59
7957       2482387175       2/25/2012       10:36:52
7958       2482401206       1/26/2012       7:26:52
7959       2482401355       11/14/2011      16:30:27
7960       2482403999       9/13/2011       7:08:50
7961       2482405498       10/8/2011       11:19:07
7962       2482408341       3/15/2012       19:05:24
7963       2482420005       12/20/2011      9:25:59
7964       2482420674       6/7/2012        7:04:37
7965       2482421118       2/6/2012        17:07:19
7966       2482502869       7/12/2011       11:27:44
7967       2482504049       1/6/2012        12:51:00
7968       2482504049       2/20/2012       17:12:20
7969       2482504564       1/5/2012        14:07:01
7970       2482527050       10/23/2012      10:49:23
7971       2482542237       9/29/2011       15:30:18
7972       2482754466       3/30/2012       16:29:39
7973       2482754837       3/29/2012       16:30:14
7974       2482921224       8/9/2012        13:57:46
7975       2483182449       9/21/2011       11:45:56
7976       2483189469       10/8/2012       7:10:18
7977       2483189717       9/3/2011        10:48:11
7978       2483203232       2/24/2011       11:09:22
7979       2483203992       9/10/2011       8:47:22
7980       2483300857       1/3/2012        19:39:41
7981       2483313785       5/11/2012       18:25:19
7982       2483420943       8/31/2011       7:15:31
7983       2483421177       2/22/2012       7:01:37
7984       2483421380       12/10/2011      14:38:16
7985       2483426007       12/27/2011      14:13:56
7986       2483427544       6/6/2012        7:17:07
7987       2483429864       5/22/2012       18:32:34
7988       2483519477       1/10/2012       15:16:49
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7989       2483618000       9/29/2011       15:12:26
7990       2483962781       2/25/2012       10:51:54
7991       2483964535       3/24/2012       9:59:09
7992       2484032054       3/13/2012       18:37:01
7993       2484039181       3/14/2012       19:55:06
7994       2484085279       8/1/2012        8:27:10
7995       2484086993       1/25/2012       9:02:14
7996       2484163102       3/29/2012       16:39:47
7997       2484166933       10/20/2012      8:12:07
7998       2484167848       10/11/2011      15:57:12
7999       2484181094       1/20/2012       19:27:08
8000       2484204700       11/17/2011      15:19:36
8001       2484210597       8/2/2012        19:12:46
8002       2484255922       9/8/2012        11:07:41
8003       2484460410       8/16/2012       19:52:28
8004       2484592664       10/4/2011       13:15:24
8005       2484624005       12/10/2011      12:38:52
8006       2484641410       10/10/2011      12:44:47
8007       2484641646       5/17/2012       7:05:15
8008       2484702202       9/21/2012       18:52:25
8009       2484702988       10/10/2011      11:35:00
8010       2484703338       3/23/2012       10:53:03
8011       2484707691       1/3/2012        19:38:35
8012       2484709657       3/3/2012        8:51:16
8013       2484941712       8/15/2012       7:47:53
8014       2484942046       3/29/2012       11:16:12
8015       2484950456       6/11/2011       8:20:35
8016       2484992121       4/3/2012        15:57:05
8017       2484992252       9/8/2011        19:23:21
8018       2484993286       3/16/2012       10:32:06
8019       2484993636       9/19/2011       19:10:47
8020       2484993858       9/24/2012       13:01:29
8021       2485049803       11/22/2011      18:37:58
8022       2485050098       11/4/2011       7:19:10
8023       2485065548       1/13/2012       17:32:52
8024       2485082229       10/2/2012       7:28:58
8025       2485083259       10/5/2011       14:05:09
8026       2485083598       6/15/2012       8:49:29
8027       2485083603       10/22/2011      12:28:40
8028       2485154245       12/1/2011       15:37:06
8029       2485200182       11/17/2011      15:23:30
8030       2485200797       6/30/2012       8:18:59
8031       2485207910       6/7/2011        17:58:06
8032       2485255289       5/13/2012       16:50:02
8033       2485255289       5/15/2012       7:51:08
8034       2485343521       9/21/2011       11:46:22
8035       2485343521       10/24/2011      7:06:24
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8036       2485349515       5/3/2012        7:21:43
8037       2485356563       4/6/2012        15:44:51
8038       2485444646       12/5/2011       10:23:46
8039       2485616032       3/24/2012       9:59:58
8040       2485635659       12/17/2011      14:00:57
8041       2485656561       11/3/2011       17:27:45
8042       2485793494       1/4/2012        11:11:30
8043       2485793495       10/23/2012      15:52:08
8044       2485952925       3/16/2012       16:00:21
8045       2486320817       2/8/2012        7:33:23
8046       2486320980       6/29/2012       17:44:08
8047       2486322447       3/29/2012       11:45:45
8048       2486326352       9/20/2011       16:32:51
8049       2486327523       1/30/2012       7:03:02
8050       2486327523       3/17/2012       8:37:29
8051       2486353576       10/6/2011       16:21:16
8052       2486360519       8/31/2011       10:21:18
8053       2486363032       5/31/2012       15:06:17
8054       2486365206       9/13/2011       18:32:20
8055       2486365635       4/10/2012       16:19:26
8056       2486592597       1/12/2012       14:12:48
8057       2486602255       7/17/2012       7:03:02
8058       2486602275       4/14/2012       8:48:25
8059       2486602304       9/27/2011       18:24:18
8060       2486606343       9/19/2011       19:29:24
8061       2486607330       4/13/2012       13:30:30
8062       2486671272       10/5/2011       14:04:05
8063       2486704263       10/6/2011       16:19:15
8064       2486704555       9/7/2012        15:45:42
8065       2486724544       3/21/2012       18:36:50
8066       2486782838       6/16/2012       7:29:31
8067       2486782998       9/26/2011       7:53:55
8068       2486782998       10/3/2011       7:25:23
8069       2486783756       12/7/2011       17:52:58
8070       2486784094       10/8/2011       9:14:09
8071       2486784644       10/5/2012       12:23:44
8072       2486784644       10/10/2012      19:04:26
8073       2486882080       10/15/2012      9:57:19
8074       2486885298       3/15/2012       19:04:17
8075       2486941129       9/8/2011        18:23:18
8076       2487033296       5/18/2012       15:38:31
8077       2487051919       12/16/2011      16:05:21
8078       2487054293       3/16/2012       10:24:07
8079       2487054293       5/14/2012       7:17:05
8080       2487058837       12/16/2011      15:37:51
8081       2487070927       1/12/2012       14:02:20
8082       2487079467       1/29/2012       16:22:55
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8083       2487091131       11/1/2011       8:15:23
8084       2487215753       2/6/2012        17:09:24
8085       2487221846       8/22/2012       21:45:45
8086       2487228806       6/8/2011        18:39:38
8087       2487293115       2/28/2012       7:42:26
8088       2487361940       10/29/2011      11:15:24
8089       2487361940       12/27/2011      14:34:04
8090       2487363791       4/7/2012        9:21:13
8091       2487565770       8/10/2011       18:23:57
8092       2487613802       10/10/2011      11:34:38
8093       2487613802       10/15/2011      9:45:55
8094       2487638196       9/17/2012       7:43:26
8095       2487640116       6/22/2012       10:38:17
8096       2487652630       10/10/2011      12:26:27
8097       2487664817       5/19/2012       8:20:43
8098       2487666636       9/30/2011       12:17:34
8099       2487671378       9/30/2011       9:53:48
8100       2487676953       7/26/2012       11:59:16
8101       2487705033       4/4/2012        18:33:54
8102       2487707506       2/10/2012       7:13:06
8103       2487707506       3/8/2012        7:13:23
8104       2487731166       6/3/2011        7:20:05
8105       2487732155       5/25/2012       17:07:35
8106       2487900131       6/29/2012       17:43:31
8107       2487943086       3/21/2011       9:44:37
8108       2487953570       12/18/2011      16:55:10
8109       2487961024       11/10/2011      7:20:37
8110       2487961374       10/5/2012       18:19:51
8111       2487961569       5/31/2012       14:57:21
8112       2487961648       10/5/2011       14:33:04
8113       2487962890       7/6/2012        14:45:23
8114       2487976554       5/12/2012       13:49:06
8115       2487976554       5/21/2012       8:47:48
8116       2487979408       10/5/2011       14:31:16
8117       2487985569       6/12/2012       7:15:31
8118       2488024178       10/14/2011      12:39:09
8119       2488089254       9/8/2011        19:45:02
8120       2488089482       9/27/2011       18:05:37
8121       2488126338       5/12/2012       13:26:27
8122       2488126886       9/24/2011       9:35:20
8123       2488127118       6/11/2012       16:58:57
8124       2488127274       12/21/2011      10:25:12
8125       2488181185       1/8/2012        12:49:06
8126       2488181188       10/24/2012      14:44:10
8127       2488181723       9/24/2012       19:03:12
8128       2488184410       2/17/2012       9:12:06
8129       2488184781       8/21/2012       13:47:58
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8130       2488186659       5/15/2012       19:00:05
8131       2488190725       2/17/2012       8:56:44
8132       2488201312       5/1/2012        18:01:41
8133       2488201534       9/19/2011       7:22:51
8134       2488202747       12/20/2011      19:30:10
8135       2488203192       7/27/2012       12:39:34
8136       2488217258       12/1/2011       15:22:02
8137       2488300257       7/20/2011       14:53:12
8138       2488352418       3/15/2012       7:23:39
8139       2488357833       2/18/2012       8:55:00
8140       2488368398       10/18/2012      16:40:25
8141       2488370577       12/10/2011      12:43:15
8142       2488375937       7/9/2012        18:56:46
8143       2488401939       12/18/2011      17:06:17
8144       2488543203       7/9/2012        19:07:35
8145       2488628668       12/2/2013       12:16:01
8146       2488668084       2/29/2012       7:10:18
8147       2488722065       10/3/2012       7:06:15
8148       2488725295       10/26/2011      11:50:50
8149       2488755020       6/7/2012        18:21:23
8150       2488779972       10/18/2012      7:14:43
8151       2488811161       6/2/2011        11:12:49
8152       2488818807       7/3/2012        19:29:30
8153       2488820308       11/5/2011       11:06:23
8154       2488821784       3/21/2012       13:47:08
8155       2488821784       5/1/2012        14:07:13
8156       2488823380       4/10/2012       16:01:01
8157       2488859964       2/20/2012       16:48:53
8158       2488901143       6/21/2012       15:30:56
8159       2488944613       2/20/2012       7:16:24
8160       2488946272       6/25/2011       8:29:43
8161       2488949451       9/29/2011       15:36:12
8162       2488950639       10/25/2011      15:24:47
8163       2489044631       1/10/2012       12:27:03
8164       2489069616       4/26/2012       11:37:11
8165       2489104725       9/10/2011       9:00:51
8166       2489105311       10/5/2012       18:20:06
8167       2489107579       12/24/2011      7:29:09
8168       2489128053       10/19/2011      8:01:59
8169       2489144226       12/1/2011       14:56:09
8170       2489147257       10/7/2011       17:29:25
8171       2489150419       3/12/2012       19:38:10
8172       2489173435       3/28/2012       10:24:46
8173       2489213876       4/21/2012       8:19:36
8174       2489259362       5/28/2012       8:39:38
8175       2489291103       10/16/2012      16:35:09
8176       2489292366       4/10/2012       15:35:58
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8177       2489311433       1/13/2012       17:11:46
8178       2489331475       3/20/2012       9:23:24
8179       2489461001       6/27/2011       18:37:05
8180       2489612506       3/21/2012       13:48:11
8181       2489743693       9/25/2012       15:10:45
8182       2489770995       1/30/2012       7:03:26
8183       2489782473       4/10/2012       16:10:57
8184       2489782473       4/16/2012       16:00:29
8185       2489785425       1/23/2012       19:07:16
8186       2489788857       3/25/2012       11:50:38
8187       2489790405       10/10/2011      11:38:42
8188       2489790405       10/29/2011      11:16:53
8189       2489790443       5/14/2012       15:27:49
8190       2489792283       7/9/2012        19:04:55
8191       2489827625       1/11/2012       7:46:48
8192       2489917174       3/2/2012        19:07:11
8193       2489963764       2/25/2012       10:27:54
8194       2489964671       6/2/2012        12:55:58
8195       2512006198       2/29/2012       17:35:27
8196       2512021254       3/31/2012       8:22:54
8197       2512092467       8/22/2012       11:22:15
8198       2512092623       10/8/2011       9:48:54
8199       2512105124       11/3/2011       17:02:39
8200       2512134828       3/24/2012       10:29:29
8201       2512137608       1/17/2012       9:42:18
8202       2512138868       6/16/2012       15:16:39
8203       2512141304       3/14/2012       14:46:33
8204       2512141389       5/18/2012       11:45:40
8205       2512142127       10/7/2011       8:14:46
8206       2512146263       5/1/2012        8:20:09
8207       2512146369       1/9/2012        18:39:36
8208       2512149332       2/28/2012       13:04:31
8209       2512222517       11/16/2011      20:04:43
8210       2512228819       3/28/2012       17:05:11
8211       2512251582       12/7/2011       15:15:28
8212       2512255306       4/20/2012       14:31:23
8213       2512271404       8/2/2012        11:37:16
8214       2512282539       12/5/2011       8:46:29
8215       2512290411       3/7/2012        18:33:30
8216       2512290696       9/21/2011       11:32:35
8217       2512290696       10/5/2011       14:13:57
8218       2512291379       12/2/2011       15:24:55
8219       2512291764       10/10/2011      11:51:05
8220       2512295192       11/29/2011      15:38:36
8221       2512299740       1/17/2012       17:31:26
8222       2512325358       3/8/2012        20:45:55
8223       2512325659       11/17/2011      16:46:11
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8224       2512328207       1/25/2012       9:38:39
8225       2512330646       4/15/2012       17:22:47
8226       2512332349       1/11/2012       16:22:17
8227       2512336487       4/7/2012        9:14:03
8228       2512337424       11/19/2011      9:01:13
8229       2512341549       2/3/2012        20:04:16
8230       2512347997       1/4/2012        20:15:59
8231       2512348760       5/21/2012       17:51:19
8232       2512348760       5/26/2012       14:26:09
8233       2512349501       2/29/2012       17:52:44
8234       2512421966       5/15/2012       18:58:56
8235       2512436469       12/20/2011      9:24:13
8236       2512438495       8/21/2012       13:52:22
8237       2512532123       9/20/2012       21:01:03
8238       2512533158       12/18/2011      16:47:48
8239       2512534020       3/30/2012       10:03:30
8240       2512618101       7/11/2012       17:21:40
8241       2512690775       5/16/2012       20:31:51
8242       2512692359       11/18/2011      13:03:00
8243       2512693310       11/8/2011       14:51:32
8244       2512693310       11/21/2011      8:12:04
8245       2512693406       6/27/2012       17:52:59
8246       2512726119       12/16/2011      16:24:41
8247       2512814167       2/14/2012       13:26:53
8248       2512815253       6/8/2012        17:00:30
8249       2512843026       5/16/2012       9:25:15
8250       2512940018       3/17/2012       8:56:46
8251       2512954224       5/21/2012       8:14:38
8252       2512955539       9/20/2011       16:47:12
8253       2513000004       6/20/2012       9:11:46
8254       2513000004       10/3/2012       10:32:59
8255       2513000584       2/6/2012        17:17:10
8256       2513000976       5/11/2012       18:27:29
8257       2513000978       1/26/2012       10:02:12
8258       2513275381       10/5/2011       14:43:02
8259       2513620470       1/17/2012       18:46:04
8260       2513620744       4/23/2012       20:41:41
8261       2513621098       6/8/2012        8:07:41
8262       2513622178       11/15/2011      20:14:20
8263       2513624327       10/10/2011      11:56:50
8264       2513624378       5/7/2012        8:19:06
8265       2513626663       3/30/2012       16:10:01
8266       2513627669       8/23/2011       19:08:53
8267       2513629226       1/6/2012        12:18:07
8268       2513632456       10/10/2011      12:48:19
8269       2513634593       3/29/2011       16:09:52
8270       2513636540       4/20/2012       20:52:29
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8271       2513636904       8/5/2011        18:06:10
8272       2513661009       11/25/2011      18:30:36
8273       2513662881       9/16/2011       13:33:48
8274       2513663085       4/9/2012        17:52:48
8275       2513665628       9/30/2011       10:01:00
8276       2513666253       1/17/2012       9:49:24
8277       2513666601       10/9/2012       20:04:10
8278       2513676942       3/16/2012       16:33:11
8279       2513770440       10/8/2012       8:08:33
8280       2513772474       3/14/2012       14:37:36
8281       2513773823       1/17/2012       18:47:22
8282       2513773823       2/9/2012        9:32:54
8283       2513773823       5/29/2012       17:06:55
8284       2513777703       10/7/2011       8:16:57
8285       2513781096       11/2/2011       13:56:17
8286       2513827028       11/17/2011      15:31:55
8287       2513870069       12/29/2011      11:15:44
8288       2513910322       9/24/2012       19:14:04
8289       2513911691       10/7/2012       13:05:36
8290       2513911886       3/6/2012        12:36:03
8291       2513911886       3/15/2012       7:17:50
8292       2513911886       7/16/2012       7:11:13
8293       2513915259       4/10/2012       11:53:29
8294       2513916478       7/29/2013       20:40:28
8295       2513916640       10/5/2012       12:28:51
8296       2513917633       10/15/2011      10:58:08
8297       2514010300       5/16/2011       12:56:56
8298       2514013607       12/28/2011      17:45:33
8299       2514013724       12/3/2011       10:24:20
8300       2514013929       10/22/2011      13:15:00
8301       2514021477       12/3/2011       10:13:27
8302       2514021496       6/2/2011        11:23:40
8303       2514040128       8/1/2011        19:22:05
8304       2514042622       10/28/2011      14:27:26
8305       2514048788       5/13/2012       17:35:56
8306       2514048879       9/8/2011        19:53:25
8307       2514069820       9/23/2011       18:49:03
8308       2514210415       3/21/2012       13:51:32
8309       2514216590       11/3/2011       17:16:22
8310       2514223268       6/23/2012       8:48:48
8311       2514244305       4/16/2012       16:03:59
8312       2514245907       8/20/2011       8:59:27
8313       2514425145       9/3/2011        10:54:09
8314       2514427992       9/21/2012       15:29:15
8315       2514471055       12/19/2011      8:14:42
8316       2514471706       4/3/2012        10:37:03
8317       2514540252       4/25/2012       9:46:48
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8318       2514540539       8/17/2011       19:15:44
8319       2514543065       9/13/2011       14:09:45
8320       2514543401       10/12/2011      8:05:15
8321       2514544998       12/15/2011      8:22:21
8322       2514546430       4/25/2012       16:06:35
8323       2514554866       11/17/2011      16:39:21
8324       2514558532       4/5/2012        18:28:54
8325       2514558684       1/21/2012       8:43:40
8326       2514580281       9/29/2012       10:01:07
8327       2514580670       5/25/2012       12:04:40
8328       2514582004       3/26/2012       14:34:09
8329       2514582085       2/2/2012        18:56:59
8330       2514585752       1/20/2012       11:45:34
8331       2514585876       10/14/2011      12:56:28
8332       2514588693       10/24/2013      8:16:08
8333       2514589210       9/20/2011       18:16:42
8334       2514589606       9/19/2011       8:29:48
8335       2514591594       3/26/2012       18:43:08
8336       2514591796       10/8/2012       8:08:37
8337       2514594430       3/16/2012       10:05:19
8338       2514595104       3/20/2012       17:50:53
8339       2514632045       8/9/2012        14:02:15
8340       2514638087       10/12/2011      8:01:02
8341       2514725496       9/20/2012       8:46:28
8342       2514902486       12/21/2011      10:16:40
8343       2514905383       5/25/2011       17:30:56
8344       2514906363       5/2/2011        18:03:18
8345       2514909611       9/15/2011       9:13:28
8346       2514909976       5/9/2011        17:17:10
8347       2515044247       4/10/2012       15:52:21
8348       2515045166       10/9/2012       20:06:31
8349       2515080227       11/28/2011      11:27:36
8350       2515080666       3/3/2012        8:29:44
8351       2515081855       11/22/2011      18:45:00
8352       2515093456       2/15/2012       13:20:02
8353       2515098003       3/5/2012        11:03:55
8354       2515098003       7/6/2012        16:47:21
8355       2515098801       9/15/2011       9:15:26
8356       2515099808       10/16/2012      8:44:11
8357       2515104260       10/8/2012       20:01:24
8358       2515104525       11/4/2011       8:50:49
8359       2515105266       11/9/2011       8:17:58
8360       2515188187       9/10/2011       9:15:23
8361       2515335498       12/15/2011      8:51:02
8362       2515336488       11/4/2011       8:57:24
8363       2515386150       9/19/2011       19:32:57
8364       2515455995       9/19/2012       8:04:02
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8365       2515544369       2/25/2012       11:09:35
8366       2515547353       1/11/2012       16:30:58
8367       2515549714       11/18/2011      12:54:54
8368       2515641010       2/20/2012       17:11:39
8369       2515641019       9/10/2011       8:37:53
8370       2515641408       10/10/2012      19:13:18
8371       2515647231       10/12/2011      8:13:19
8372       2515781160       9/12/2012       14:58:11
8373       2515814883       6/16/2012       15:15:02
8374       2515830987       7/13/2012       18:29:46
8375       2515834437       1/31/2012       10:10:59
8376       2515834437       2/13/2012       8:08:14
8377       2515861048       11/14/2011      17:16:57
8378       2515861757       4/11/2012       11:28:51
8379       2515861757       6/28/2012       14:20:58
8380       2515864575       10/9/2012       11:47:04
8381       2515890058       1/14/2012       13:22:49
8382       2515893217       5/31/2012       8:14:10
8383       2515899480       9/13/2011       17:50:42
8384       2515899525       10/8/2011       11:45:20
8385       2515914444       9/19/2011       19:13:41
8386       2515916157       5/21/2012       8:08:36
8387       2515919589       1/20/2012       20:29:22
8388       2515931049       7/3/2012        12:25:53
8389       2515931682       2/2/2012        16:42:06
8390       2515935221       9/29/2011       15:22:24
8391       2515937234       7/14/2011       9:32:50
8392       2515939112       11/12/2011      9:38:45
8393       2515972782       11/5/2011       11:33:21
8394       2515972782       3/19/2012       11:54:07
8395       2515977768       10/15/2011      9:21:10
8396       2515978445       9/12/2011       13:24:32
8397       2515990035       8/2/2012        11:31:05
8398       2515990711       9/14/2011       16:40:29
8399       2515993425       10/24/2012      15:11:13
8400       2515993982       10/17/2012      9:44:53
8401       2515995637       3/30/2012       16:07:31
8402       2515996772       11/8/2011       14:27:17
8403       2515999907       9/1/2011        8:44:31
8404       2516040919       10/10/2011      12:44:29
8405       2516043486       5/14/2012       15:22:30
8406       2516047455       3/12/2012       11:19:36
8407       2516052323       2/7/2012        20:19:56
8408       2516057741       12/24/2011      8:08:46
8409       2516058626       12/2/2011       8:24:32
8410       2516101206       1/9/2012        8:50:20
8411       2516105288       7/26/2011       10:42:20
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8412       2516109435       10/11/2011      16:14:58
8413       2516109837       11/5/2011       11:40:31
8414       2516210232       4/11/2012       11:35:24
8415       2516210232       5/21/2012       8:17:40
8416       2516222468       10/6/2011       16:53:32
8417       2516227455       2/18/2012       9:06:58
8418       2516232226       8/12/2011       11:06:13
8419       2516234124       4/30/2012       14:55:29
8420       2516234413       12/10/2011      14:46:11
8421       2516234524       3/13/2012       18:40:44
8422       2516239161       1/14/2012       13:28:57
8423       2516239431       10/27/2011      16:28:20
8424       2516357547       3/6/2012        16:02:47
8425       2516358028       3/30/2012       16:21:25
8426       2516432683       9/7/2012        15:43:04
8427       2516432683       9/21/2012       15:29:48
8428       2516432683       10/8/2012       8:11:37
8429       2516433956       8/29/2012       11:01:22
8430       2516435065       12/31/2011      11:48:34
8431       2516435065       2/11/2012       15:11:19
8432       2516435201       4/21/2012       16:19:25
8433       2516438280       8/20/2011       10:28:05
8434       2516481233       2/20/2012       17:08:38
8435       2516487784       10/7/2012       12:48:18
8436       2516547633       6/7/2012        12:38:20
8437       2516547962       1/18/2012       20:20:52
8438       2516561906       6/7/2012        15:48:01
8439       2516562696       3/29/2012       16:32:56
8440       2516564401       12/9/2011       8:18:37
8441       2516567490       2/25/2012       11:07:08
8442       2516751846       7/13/2011       11:46:54
8443       2516803406       5/22/2012       18:22:19
8444       2516890559       10/11/2011      17:24:11
8445       2516890628       2/9/2012        9:34:29
8446       2516890628       2/28/2012       13:02:58
8447       2516893276       11/5/2011       11:26:03
8448       2516894986       6/3/2011        8:15:30
8449       2516898990       11/8/2011       14:32:11
8450       2517090734       8/3/2012        16:23:40
8451       2517093522       3/13/2012       12:43:09
8452       2517098803       5/11/2012       18:36:19
8453       2517099018       3/4/2012        12:33:42
8454       2517099097       1/24/2012       17:19:13
8455       2517099201       5/8/2012        9:05:02
8456       2517252420       10/12/2011      8:10:25
8457       2517441024       10/28/2011      13:56:02
8458       2517442605       6/27/2012       18:01:14
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8459       2517446054       9/23/2011       11:19:05
8460       2517472347       4/29/2011       20:01:13
8461       2517511903       10/20/2011      15:42:41
8462       2517512642       9/14/2011       10:07:14
8463       2517517204       3/7/2012        9:59:32
8464       2517517204       4/10/2012       16:13:02
8465       2517517799       11/18/2011      13:31:55
8466       2517524478       10/7/2011       8:17:05
8467       2517526772       5/4/2012        15:09:52
8468       2517529149       8/17/2011       18:45:17
8469       2517539275       2/16/2012       8:34:03
8470       2517671793       9/12/2012       14:55:20
8471       2517672406       3/14/2012       20:04:28
8472       2517672904       3/9/2012        15:44:48
8473       2517675294       10/3/2012       8:09:57
8474       2517675835       12/18/2011      17:09:06
8475       2517677478       12/7/2011       14:11:13
8476       2517692668       1/9/2012        18:17:03
8477       2517694878       3/27/2012       10:34:54
8478       2517694878       4/10/2012       11:57:29
8479       2517698284       7/27/2012       15:24:22
8480       2517699152       7/22/2012       15:59:46
8481       2517768725       3/28/2012       18:13:46
8482       2517860303       12/22/2011      9:12:31
8483       2517861739       11/12/2011      10:37:12
8484       2517862903       10/27/2011      16:53:24
8485       2517868183       12/29/2011      19:04:19
8486       2518028305       3/19/2012       17:41:58
8487       2518677749       9/13/2012       15:22:11
8488       2518950595       11/17/2011      15:32:54
8489       2518951896       3/27/2012       8:40:55
8490       2518952776       1/11/2014       15:41:34
8491       2518953569       9/27/2011       18:38:47
8492       2518958889       11/30/2011      15:22:43
8493       2519427323       7/16/2011       9:09:26
8494       2519786818       4/10/2012       11:59:52
8495       2519788792       9/21/2011       19:35:30
8496       2519794933       11/3/2011       17:54:01
8497       2519796076       9/3/2012        14:34:18
8498       2519796975       3/6/2012        13:12:56
8499       2522023125       12/7/2011       15:04:21
8500       2522024787       5/10/2011       18:52:07
8501       2522028123       12/23/2011      15:23:30
8502       2522029208       12/27/2011      14:26:24
8503       2522029369       9/28/2011       11:06:55
8504       2522040460       9/3/2012        14:46:45
8505       2522042266       10/22/2011      12:29:44
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8506       2522045221       11/25/2011      18:12:05
8507       2522045949       9/21/2012       18:40:24
8508       2522052118       10/22/2011      12:58:04
8509       2522094460       5/23/2012       16:34:28
8510       2522094700       9/22/2011       15:40:06
8511       2522097087       6/27/2012       17:55:33
8512       2522097273       9/20/2011       16:40:29
8513       2522097273       10/25/2011      16:07:43
8514       2522097273       2/6/2012        16:47:09
8515       2522131379       3/3/2012        8:15:12
8516       2522131379       3/14/2012       19:42:03
8517       2522131379       5/21/2012       7:25:59
8518       2522133336       1/8/2012        12:45:18
8519       2522133538       9/7/2012        15:39:26
8520       2522133727       10/6/2011       17:34:52
8521       2522138188       9/8/2012        11:14:47
8522       2522160022       8/30/2012       17:37:40
8523       2522170200       9/23/2011       7:09:40
8524       2522171166       4/23/2012       7:05:01
8525       2522171220       11/12/2011      9:19:20
8526       2522171450       10/10/2012      12:41:05
8527       2522171486       4/4/2012        18:34:20
8528       2522173877       10/18/2011      12:44:08
8529       2522173877       5/21/2012       7:22:01
8530       2522173877       5/21/2012       7:38:11
8531       2522174020       9/16/2011       13:23:06
8532       2522174528       10/29/2011      11:31:48
8533       2522174614       12/6/2011       7:15:26
8534       2522174625       11/28/2011      11:47:49
8535       2522177534       5/30/2012       12:45:29
8536       2522177961       5/17/2012       16:32:32
8537       2522178518       2/19/2012       19:15:36
8538       2522178853       2/3/2012        7:13:32
8539       2522178853       6/27/2012       17:57:42
8540       2522189770       4/4/2012        18:46:49
8541       2522262775       9/19/2011       7:08:10
8542       2522272865       1/18/2012       16:46:09
8543       2522273142       10/22/2012      17:48:39
8544       2522273857       3/21/2012       13:48:07
8545       2522278430       7/26/2012       11:50:24
8546       2522279185       1/16/2012       17:21:09
8547       2522290696       10/5/2011       14:31:33
8548       2522290913       12/24/2011      7:05:01
8549       2522290968       3/26/2012       18:25:10
8550       2522291167       9/25/2012       14:40:21
8551       2522291167       10/17/2012      9:33:24
8552       2522291884       12/18/2011      17:37:13
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8553       2522295534       9/14/2011       7:02:56
8554       2522296085       12/19/2011      7:41:26
8555       2522299214       5/19/2012       8:17:56
8556       2522300512       3/15/2011       12:14:15
8557       2522305138       9/10/2011       8:24:27
8558       2522361969       9/8/2011        19:27:34
8559       2522368221       12/19/2011      7:30:26
8560       2522409088       1/13/2012       12:28:23
8561       2522410453       3/27/2012       14:58:42
8562       2522411061       12/10/2011      12:53:49
8563       2522450969       3/26/2012       18:24:54
8564       2522452759       11/22/2011      19:09:07
8565       2522452889       1/10/2012       15:29:10
8566       2522454818       9/24/2011       9:40:51
8567       2522558332       3/13/2012       18:35:01
8568       2522560710       11/8/2011       13:44:33
8569       2522560710       12/5/2011       18:25:32
8570       2522576634       3/23/2012       7:15:10
8571       2522587227       1/23/2012       7:18:23
8572       2522590053       12/18/2011      16:54:22
8573       2522594413       3/10/2012       8:39:38
8574       2522594517       4/11/2012       19:34:54
8575       2522595547       7/18/2012       7:05:58
8576       2522597073       7/13/2012       18:52:46
8577       2522661764       9/26/2012       14:36:29
8578       2522662906       1/13/2012       12:23:08
8579       2522668348       4/6/2012        15:38:59
8580       2522668831       1/28/2012       8:22:15
8581       2522673331       12/18/2011      18:03:59
8582       2522673579       12/21/2011      10:11:46
8583       2522676089       2/29/2012       7:18:10
8584       2522679905       9/26/2012       14:35:20
8585       2522679905       10/3/2012       19:53:03
8586       2522682447       1/5/2012        14:00:13
8587       2522686424       8/18/2012       8:37:31
8588       2522688260       3/26/2012       18:35:30
8589       2522689071       1/7/2012        8:42:39
8590       2522690147       10/5/2012       12:20:53
8591       2522694309       9/10/2011       8:27:30
8592       2522699082       1/5/2012        17:20:44
8593       2522861006       10/19/2012      19:03:44
8594       2522865022       11/17/2011      16:42:47
8595       2522866335       5/2/2012        13:23:24
8596       2522868001       8/23/2012       11:37:43
8597       2522868106       3/22/2012       14:14:38
8598       2522869077       8/11/2012       9:37:25
8599       2522869367       7/23/2012       13:17:59
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8600       2522869525       11/14/2011      14:17:23
8601       2522870122       1/23/2012       19:07:43
8602       2522870131       8/11/2012       9:35:34
8603       2522870446       10/16/2012      7:25:46
8604       2522870569       3/22/2012       14:12:05
8605       2522871267       12/13/2011      17:18:41
8606       2522871503       4/27/2012       7:06:42
8607       2522871503       5/21/2012       7:32:08
8608       2522871689       9/21/2011       11:21:44
8609       2522872228       9/19/2011       19:03:15
8610       2522872783       2/4/2012        8:18:34
8611       2522872944       7/30/2012       13:13:50
8612       2522872992       11/2/2011       7:22:01
8613       2522875115       1/10/2012       15:29:41
8614       2522876348       10/5/2011       14:04:41
8615       2522876398       10/10/2012      13:00:20
8616       2522877403       9/5/2012        7:17:43
8617       2522878261       10/11/2012      18:46:42
8618       2522878851       9/9/2011        7:31:53
8619       2522879860       9/24/2011       9:17:08
8620       2522879860       10/3/2011       7:47:35
8621       2522898654       10/27/2011      15:07:57
8622       2522925075       5/21/2012       7:22:12
8623       2522925922       6/25/2012       13:36:28
8624       2522996401       12/28/2011      18:15:04
8625       2522996909       10/24/2012      14:44:25
8626       2523050162       1/8/2012        12:52:17
8627       2523052247       9/30/2011       9:51:16
8628       2523082365       12/28/2011      7:03:48
8629       2523120724       9/12/2012       7:45:25
8630       2523121511       6/3/2011        7:19:55
8631       2523121592       5/30/2012       12:46:33
8632       2523124958       12/22/2011      8:58:44
8633       2523125473       10/4/2011       13:11:37
8634       2523142346       12/17/2011      11:22:19
8635       2523143655       11/11/2011      7:54:28
8636       2523144469       10/10/2011      12:18:20
8637       2523147572       1/9/2012        18:08:11
8638       2523148136       3/19/2012       19:10:23
8639       2523150426       8/6/2012        14:41:58
8640       2523150426       9/27/2012       16:29:01
8641       2523151608       7/18/2012       18:22:45
8642       2523152069       2/25/2012       10:57:49
8643       2523154275       3/26/2012       18:25:08
8644       2523156468       12/22/2011      8:49:24
8645       2523201346       3/21/2012       13:47:51
8646       2523202103       6/23/2012       15:56:11
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8647       2523202636       8/5/2011        17:46:19
8648       2523202702       9/5/2012        15:30:28
8649       2523202905       7/25/2012       11:52:32
8650       2523203222       10/9/2012       7:40:42
8651       2523203681       11/26/2011      12:56:45
8652       2523250614       5/19/2012       8:04:21
8653       2523251500       3/10/2011       17:24:45
8654       2523253030       11/18/2011      13:23:21
8655       2523253714       7/30/2012       13:32:18
8656       2523254890       3/27/2012       8:00:01
8657       2523263019       3/7/2014        8:02:30
8658       2523271302       5/6/2012        17:21:27
8659       2523339036       9/23/2011       7:09:55
8660       2523339944       3/29/2012       11:14:14
8661       2523339944       4/11/2012       7:14:40
8662       2523339944       5/21/2012       7:46:19
8663       2523347167       12/17/2011      11:59:54
8664       2523347189       10/22/2012      7:10:45
8665       2523375236       1/14/2012       8:20:24
8666       2523391009       1/16/2012       17:26:18
8667       2523391009       6/22/2012       7:14:19
8668       2523392002       3/28/2012       16:50:07
8669       2523392002       5/21/2012       7:29:51
8670       2523392344       12/13/2011      17:08:23
8671       2523397653       6/6/2012        13:31:11
8672       2523399515       1/8/2012        13:00:06
8673       2523418703       5/14/2012       7:04:03
8674       2523422148       9/21/2012       18:39:57
8675       2523427181       6/16/2012       15:11:22
8676       2523428283       11/30/2011      7:05:50
8677       2523439228       5/14/2012       7:01:47
8678       2523472064       12/30/2011      7:05:40
8679       2523472858       5/9/2012        16:10:51
8680       2523473003       9/16/2011       13:17:42
8681       2523476689       6/7/2012        14:34:11
8682       2523491920       4/21/2012       16:29:58
8683       2523492249       4/12/2012       12:16:42
8684       2523492249       4/22/2012       15:05:42
8685       2523606830       10/19/2012      19:09:06
8686       2523627939       10/10/2011      11:48:03
8687       2523630285       10/12/2012      16:35:07
8688       2523631096       11/28/2011      16:29:23
8689       2523632051       8/15/2012       7:48:42
8690       2523632353       8/6/2011        8:20:50
8691       2523637016       4/11/2012       19:34:34
8692       2523650693       10/3/2011       7:50:29
8693       2523651002       2/15/2012       12:01:00
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8694       2523661391       11/18/2011      12:17:47
8695       2523665404       10/17/2012      12:50:46
8696       2523671445       2/11/2012       15:08:04
8697       2523673337       4/9/2012        17:46:34
8698       2523677577       9/24/2012       12:58:18
8699       2523678631       1/11/2012       7:33:43
8700       2523700802       10/24/2011      7:04:47
8701       2523700853       12/18/2011      16:23:03
8702       2523706602       6/23/2012       8:31:12
8703       2523706602       7/20/2012       15:01:27
8704       2523707976       8/1/2012        8:25:45
8705       2523731611       3/15/2012       19:28:13
8706       2523733564       12/14/2011      17:50:52
8707       2523737117       2/6/2012        17:06:58
8708       2523944038       4/21/2012       16:34:23
8709       2523945730       3/22/2012       7:58:49
8710       2523950795       12/27/2011      14:31:42
8711       2523950795       3/20/2012       17:37:41
8712       2523958074       9/8/2011        19:40:00
8713       2523961512       6/25/2012       13:22:56
8714       2523965247       10/1/2012       8:15:14
8715       2523965532       3/27/2012       7:01:18
8716       2523965663       2/21/2012       17:38:29
8717       2523982060       6/8/2012        7:30:56
8718       2523982204       2/1/2012        8:10:13
8719       2524020028       1/3/2012        11:00:39
8720       2524021970       1/18/2012       16:49:37
8721       2524022007       4/22/2012       15:04:12
8722       2524022007       5/21/2012       7:31:49
8723       2524022228       12/21/2011      10:07:29
8724       2524025639       10/7/2011       7:08:49
8725       2524026293       3/6/2012        12:53:10
8726       2524026416       12/23/2011      15:40:42
8727       2524027772       3/12/2012       16:52:27
8728       2524027772       4/18/2012       7:15:13
8729       2524027975       10/8/2011       11:17:12
8730       2524028935       8/20/2012       7:51:07
8731       2524063616       8/8/2011        12:07:04
8732       2524125147       3/14/2012       19:52:14
8733       2524138487       12/2/2011       7:45:27
8734       2524138740       12/12/2011      12:08:38
8735       2524139621       10/28/2011      14:04:25
8736       2524140000       3/3/2012        8:11:49
8737       2524140602       5/19/2012       9:30:24
8738       2524140602       5/21/2012       7:08:52
8739       2524140602       7/9/2012        8:49:13
8740       2524145275       6/11/2012       18:15:24
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8741       2524148685       11/22/2011      18:24:47
8742       2524220799       12/17/2011      11:49:24
8743       2524220799       1/21/2012       8:03:45
8744       2524288118       11/26/2011      12:46:45
8745       2524288526       8/10/2012       7:31:11
8746       2524288562       4/12/2012       18:02:16
8747       2524304366       10/11/2011      15:41:48
8748       2524326338       9/17/2011       9:57:28
8749       2524357827       8/20/2012       18:40:56
8750       2524500071       9/12/2011       12:58:09
8751       2524521529       3/14/2012       19:45:11
8752       2524522172       6/11/2012       17:53:55
8753       2524523174       10/5/2012       18:20:57
8754       2524528389       6/4/2011        10:15:30
8755       2524550808       3/16/2012       10:51:46
8756       2524551117       1/13/2012       17:23:46
8757       2524583558       11/4/2011       7:03:12
8758       2524690717       11/3/2011       17:44:51
8759       2524690956       12/28/2011      13:18:31
8760       2524692142       4/5/2012        15:48:38
8761       2524697830       10/7/2011       7:11:02
8762       2524699692       10/8/2012       7:11:57
8763       2524741194       12/23/2011      13:54:13
8764       2524744679       7/2/2012        17:19:08
8765       2524747536       10/19/2012      9:43:24
8766       2524811588       5/11/2012       18:23:57
8767       2524827370       7/13/2012       18:33:26
8768       2524899383       11/28/2011      17:48:18
8769       2524953165       9/17/2011       9:56:46
8770       2525031918       4/5/2012        14:21:03
8771       2525033070       5/24/2012       12:05:52
8772       2525052761       5/23/2012       14:41:15
8773       2525061778       2/11/2012       15:03:30
8774       2525085872       9/30/2011       9:54:03
8775       2525211368       5/2/2012        13:22:39
8776       2525211368       5/21/2012       7:32:18
8777       2525213145       10/8/2011       10:49:52
8778       2525213680       10/26/2011      12:48:33
8779       2525214120       8/2/2011        16:49:14
8780       2525253464       5/23/2012       15:26:53
8781       2525259241       11/8/2011       14:20:23
8782       2525280224       1/18/2012       9:58:17
8783       2525295476       1/9/2012        7:07:51
8784       2525298642       9/23/2011       11:32:46
8785       2525299240       2/6/2012        17:16:01
8786       2525314943       3/30/2012       16:15:36
8787       2525317726       12/20/2011      19:19:30
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8788       2525318678       5/10/2012       14:47:38
8789       2525326026       12/28/2011      7:06:21
8790       2525351412       6/9/2012        10:45:02
8791       2525368423       2/13/2012       18:25:38
8792       2525368567       10/15/2012      16:19:49
8793       2525375362       10/10/2011      12:10:28
8794       2525381146       9/26/2011       7:51:29
8795       2525381952       9/2/2011        12:40:29
8796       2525382198       10/10/2012      12:31:30
8797       2525382753       5/26/2012       8:35:51
8798       2525420320       12/19/2011      7:34:24
8799       2525420392       12/10/2011      14:20:25
8800       2525420832       4/12/2012       18:31:31
8801       2525429127       11/23/2011      14:31:53
8802       2525440061       11/19/2011      8:17:59
8803       2525440399       12/20/2011      19:22:23
8804       2525441142       4/14/2012       9:14:09
8805       2525441166       1/7/2012        8:19:35
8806       2525441166       1/12/2012       14:11:12
8807       2525441207       10/15/2012      16:08:32
8808       2525446194       1/5/2012        17:18:59
8809       2525446555       9/8/2011        17:56:19
8810       2525481315       1/10/2012       15:27:56
8811       2525481673       11/28/2011      11:14:49
8812       2525482290       9/26/2012       14:31:13
8813       2525482495       12/27/2011      14:30:23
8814       2525482898       1/5/2012        11:58:50
8815       2525489386       12/14/2011      17:51:20
8816       2525590357       6/28/2012       7:11:30
8817       2525599647       2/4/2012        7:23:24
8818       2525603747       5/2/2012        13:09:30
8819       2525603879       9/12/2011       13:04:41
8820       2525606841       10/14/2011      12:51:03
8821       2525607601       8/13/2011       11:25:57
8822       2525608223       1/24/2012       17:16:01
8823       2525609618       10/22/2011      13:02:28
8824       2525624173       2/2/2012        7:12:04
8825       2525624538       3/16/2012       15:48:11
8826       2525624538       5/22/2012       18:25:30
8827       2525624933       8/13/2012       7:32:45
8828       2525624933       8/21/2012       13:51:25
8829       2525624933       10/6/2012       8:32:21
8830       2525625552       3/2/2012        19:11:11
8831       2525670114       12/18/2011      17:16:06
8832       2525670324       2/10/2012       17:03:20
8833       2525670995       2/21/2012       9:26:44
8834       2525671170       6/13/2012       19:59:48
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8835       2525671434       10/3/2012       7:04:03
8836       2525672899       10/6/2011       17:31:45
8837       2525673372       1/8/2012        13:06:10
8838       2525673988       11/30/2011      14:48:19
8839       2525674743       9/20/2011       17:12:23
8840       2525675862       10/15/2012      9:48:18
8841       2525676933       2/20/2012       17:01:55
8842       2525677395       10/13/2012      9:02:25
8843       2525712458       9/1/2012        8:53:51
8844       2525712464       9/20/2011       16:32:22
8845       2525714023       12/9/2011       7:54:20
8846       2525780980       11/9/2011       7:50:11
8847       2525781113       8/20/2012       7:39:17
8848       2525782510       12/23/2011      15:42:30
8849       2525782856       12/29/2011      18:48:04
8850       2525784818       1/27/2012       7:21:08
8851       2525787856       7/26/2012       19:14:07
8852       2525787905       7/22/2011       12:44:09
8853       2525788896       2/6/2012        17:01:11
8854       2525789079       10/3/2012       7:09:39
8855       2526190051       4/18/2011       19:39:02
8856       2526197191       1/11/2012       16:21:29
8857       2526198843       8/20/2011       8:14:40
8858       2526220097       10/10/2011      12:23:22
8859       2526222054       3/15/2012       19:02:44
8860       2526222527       3/15/2012       7:14:56
8861       2526222527       5/21/2012       7:25:58
8862       2526228446       9/6/2012        12:20:17
8863       2526229056       3/1/2012        11:52:55
8864       2526248211       3/29/2012       12:03:01
8865       2526262013       1/18/2012       16:49:52
8866       2526266199       1/21/2012       8:04:05
8867       2526266574       9/14/2011       10:51:26
8868       2526267840       2/1/2012        18:44:45
8869       2526422879       8/23/2011       17:43:05
8870       2526423977       1/25/2012       20:26:40
8871       2526423977       3/16/2012       16:02:08
8872       2526467038       9/21/2012       18:40:46
8873       2526468822       4/30/2012       7:40:21
8874       2526469421       11/29/2011      7:24:53
8875       2526578682       10/25/2011      16:11:31
8876       2526578834       2/7/2012        7:12:58
8877       2526580677       2/28/2012       7:44:58
8878       2526613524       9/18/2012       14:21:53
8879       2526616616       5/21/2012       7:52:48
8880       2526617553       3/13/2012       11:16:42
8881       2526617793       1/3/2012        10:57:03
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8882       2526650735       11/17/2011      15:16:36
8883       2526653370       10/22/2011      13:20:05
8884       2526680345       1/4/2012        12:09:46
8885       2526700128       6/2/2011        10:58:27
8886       2526704712       12/18/2011      17:39:45
8887       2526705308       9/10/2011       8:59:46
8888       2526706133       3/12/2012       19:06:19
8889       2526709730       12/3/2011       9:28:45
8890       2526711009       7/6/2012        16:44:21
8891       2526712470       1/9/2012        18:10:19
8892       2526716145       3/20/2012       9:22:53
8893       2526717317       9/21/2011       11:43:15
8894       2526733154       12/10/2011      12:46:14
8895       2526733908       5/6/2012        18:00:39
8896       2526735109       6/11/2012       7:11:48
8897       2526739593       7/7/2012        10:13:31
8898       2526757533       9/13/2011       13:47:35
8899       2526761724       9/24/2011       9:09:14
8900       2526761724       10/6/2011       16:19:53
8901       2526763164       10/17/2011      11:06:04
8902       2526763164       11/15/2011      16:05:27
8903       2526764910       2/28/2012       7:46:32
8904       2526782474       10/11/2011      16:58:21
8905       2526782832       5/9/2011        16:40:07
8906       2526796059       9/21/2011       11:57:07
8907       2527021308       9/7/2012        15:41:18
8908       2527028444       1/2/2012        7:07:10
8909       2527029932       7/13/2012       11:10:51
8910       2527141865       4/21/2011       9:09:37
8911       2527142407       12/20/2011      17:42:36
8912       2527144688       9/19/2011       19:02:34
8913       2527148374       7/11/2012       9:33:54
8914       2527148374       7/14/2012       8:05:00
8915       2527148795       11/7/2011       7:51:49
8916       2527170641       2/20/2012       16:51:54
8917       2527171916       3/5/2012        13:08:23
8918       2527172684       4/11/2012       7:08:08
8919       2527173004       11/5/2011       9:33:13
8920       2527173748       5/15/2012       18:59:47
8921       2527173748       5/21/2012       7:23:28
8922       2527174838       5/25/2012       8:03:38
8923       2527175511       3/3/2012        8:38:14
8924       2527179967       9/16/2011       13:11:11
8925       2527221526       10/7/2011       7:22:21
8926       2527225891       5/8/2012        7:03:54
8927       2527225904       2/28/2012       16:02:05
8928       2527324019       11/26/2011      12:19:43
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8929       2527466353       12/28/2011      7:20:49
8930       2527623167       9/11/2012       7:47:31
8931       2527670953       12/17/2011      11:53:09
8932       2527671863       1/12/2012       14:13:42
8933       2527671937       10/6/2011       17:16:40
8934       2527673536       9/22/2011       15:57:00
8935       2527673538       10/3/2011       7:16:36
8936       2527679648       11/18/2011      12:12:53
8937       2527722112       9/24/2012       18:49:42
8938       2527999795       5/17/2011       15:44:31
8939       2528016344       12/20/2011      17:33:21
8940       2528019811       8/8/2011        14:56:35
8941       2528092722       9/1/2011        8:03:22
8942       2528092887       9/20/2011       16:32:24
8943       2528132125       11/4/2011       7:13:35
8944       2528135447       9/26/2012       14:46:07
8945       2528135865       8/20/2012       18:53:19
8946       2528140168       9/13/2011       15:41:07
8947       2528140264       3/29/2012       11:33:19
8948       2528140509       6/23/2012       8:32:17
8949       2528140773       4/17/2012       9:28:42
8950       2528141757       4/26/2012       13:36:15
8951       2528143224       1/12/2012       14:22:28
8952       2528144257       1/11/2012       7:32:46
8953       2528145337       8/20/2012       18:48:21
8954       2528148657       9/23/2011       18:56:28
8955       2528223852       12/12/2011      12:02:02
8956       2528382258       5/8/2012        16:59:24
8957       2528626073       3/13/2012       18:34:44
8958       2528627029       8/20/2012       7:53:34
8959       2528830161       6/7/2012        7:04:28
8960       2528830837       2/13/2012       7:12:36
8961       2528830837       5/21/2012       7:24:54
8962       2528831599       7/5/2012        15:41:29
8963       2528831820       10/1/2011       10:21:42
8964       2528831820       2/25/2012       10:28:28
8965       2528832202       12/20/2013      9:52:12
8966       2528837604       12/17/2011      11:56:33
8967       2528839502       11/23/2011      14:34:46
8968       2528857103       1/16/2012       17:09:07
8969       2528859875       12/9/2011       13:20:57
8970       2529024154       11/5/2011       9:31:27
8971       2529028872       9/22/2011       15:48:36
8972       2529029101       1/28/2012       8:11:29
8973       2529046540       3/29/2012       11:44:58
8974       2529047884       8/2/2012        11:33:02
8975       2529047884       8/15/2012       7:49:40
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8976       2529070062       12/19/2011      7:39:20
8977       2529071108       12/22/2011      8:48:37
8978       2529072883       3/25/2012       11:41:18
8979       2529073169       6/1/2012        8:59:26
8980       2529073287       10/10/2012      12:31:29
8981       2529073287       10/23/2012      10:38:40
8982       2529073655       9/19/2011       19:28:23
8983       2529073840       4/1/2012        16:13:19
8984       2529074091       4/25/2012       18:36:36
8985       2529074544       10/1/2011       10:24:31
8986       2529074544       3/15/2012       18:54:14
8987       2529074592       7/11/2012       9:34:16
8988       2529074746       10/10/2011      12:13:05
8989       2529075080       3/23/2012       19:48:05
8990       2529075455       6/25/2012       13:34:49
8991       2529155647       2/13/2012       18:34:03
8992       2529157292       9/25/2012       14:44:53
8993       2529160361       5/3/2012        7:19:56
8994       2529171047       8/8/2012        8:16:45
8995       2529331245       2/17/2012       9:01:43
8996       2529334700       6/16/2012       15:23:37
8997       2529336181       10/23/2012      16:04:29
8998       2529339530       3/26/2012       18:23:39
8999       2529390000       3/6/2012        17:09:30
9000       2529391932       8/16/2012       7:51:47
9001       2529391932       9/5/2012        7:15:56
9002       2529395710       1/12/2012       14:11:11
9003       2529443265       1/26/2012       7:27:25
9004       2529453889       3/15/2012       19:29:35
9005       2529454220       2/25/2012       10:54:45
9006       2529454485       12/17/2011      11:53:28
9007       2529454485       2/11/2012       15:26:12
9008       2529454831       7/15/2011       17:25:49
9009       2529454898       12/20/2011      7:11:20
9010       2529455574       10/10/2011      11:49:53
9011       2529455945       10/25/2011      16:16:12
9012       2529455945       6/27/2012       17:55:41
9013       2529457100       9/17/2011       9:20:49
9014       2529458039       1/13/2012       7:18:09
9015       2529459765       10/15/2012      16:26:28
9016       2529554060       10/18/2012      16:43:22
9017       2529555498       12/5/2011       9:57:17
9018       2529556396       11/8/2011       14:15:44
9019       2529556396       10/3/2012       7:07:09
9020       2529556396       10/8/2012       7:07:41
9021       2529960239       1/12/2012       7:16:34
9022       2532020135       8/28/2012       11:56:14
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9023       2532023078       10/5/2011       14:50:02
9024       2532027908       4/14/2012       10:54:06
9025       2532034122       9/2/2011        13:22:51
9026       2532038945       9/21/2011       12:03:56
9027       2532051615       1/13/2012       17:29:44
9028       2532185024       7/29/2011       20:30:02
9029       2532185036       4/4/2012        18:40:10
9030       2532198005       3/2/2012        15:26:09
9031       2532220267       1/17/2012       20:51:28
9032       2532231398       7/14/2012       10:12:59
9033       2532232756       7/2/2012        15:27:39
9034       2532236699       5/15/2012       19:11:54
9035       2532238951       11/30/2011      15:15:29
9036       2532241364       2/15/2012       21:02:17
9037       2532246814       8/2/2012        18:52:03
9038       2532246933       1/8/2012        13:18:31
9039       2532250391       2/24/2011       13:59:30
9040       2532267935       3/29/2012       16:49:30
9041       2532269468       9/12/2011       13:53:16
9042       2532411498       6/13/2012       20:03:18
9043       2532416372       7/6/2012        14:43:41
9044       2532458141       7/6/2012        14:37:11
9045       2532491661       9/20/2011       15:40:12
9046       2532507537       7/6/2012        16:58:52
9047       2532550569       10/18/2012      14:31:54
9048       2532558578       10/22/2011      13:19:11
9049       2532617060       1/10/2012       21:33:17
9050       2532660267       11/10/2011      14:53:02
9051       2532671805       12/22/2011      9:35:52
9052       2532672530       9/14/2011       10:46:01
9053       2532672530       10/6/2011       17:05:51
9054       2532679643       5/28/2012       10:44:54
9055       2532737915       1/3/2012        16:22:32
9056       2532792469       12/30/2011      12:51:06
9057       2532798977       7/7/2012        10:30:28
9058       2532820305       1/12/2012       14:10:33
9059       2532823136       7/2/2012        17:09:58
9060       2532823136       7/12/2012       20:01:26
9061       2532823156       10/20/2012      10:33:36
9062       2532927195       5/2/2011        18:20:40
9063       2532974480       9/23/2011       10:09:04
9064       2532980363       2/25/2014       13:36:45
9065       2532980714       2/11/2012       15:10:25
9066       2532980714       2/17/2012       18:11:55
9067       2532980799       10/31/2011      9:31:15
9068       2532985024       1/10/2012       21:33:04
9069       2532986408       11/26/2011      13:49:18
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9070       2532987242       7/18/2011       10:15:06
9071       2532989006       11/2/2011       7:26:54
9072       2533019224       1/3/2012        16:22:31
9073       2533020014       11/11/2011      13:29:31
9074       2533020014       12/20/2011      19:40:04
9075       2533026007       11/17/2011      14:51:57
9076       2533026624       10/8/2011       11:19:25
9077       2533027907       12/16/2011      16:40:32
9078       2533049127       6/4/2012        10:04:55
9079       2533065769       10/26/2011      12:28:33
9080       2533067112       9/29/2012       10:19:39
9081       2533067112       10/18/2012      14:31:49
9082       2533077502       2/14/2012       10:02:17
9083       2533105126       11/2/2011       14:07:42
9084       2533147669       8/21/2012       13:55:16
9085       2533159165       9/13/2012       15:18:18
9086       2533159569       6/25/2012       21:49:03
9087       2533200306       1/11/2012       16:32:01
9088       2533241760       9/29/2011       15:25:49
9089       2533247610       12/17/2011      12:14:07
9090       2533248158       8/11/2012       12:31:09
9091       2533262435       7/13/2012       14:05:09
9092       2533302736       10/5/2011       14:21:59
9093       2533307086       11/5/2011       12:01:22
9094       2533340353       11/30/2011      13:06:46
9095       2533345948       3/15/2012       19:36:05
9096       2533449300       8/21/2012       13:57:12
9097       2533449912       12/3/2011       10:01:59
9098       2533531557       4/25/2012       21:22:09
9099       2533533902       10/4/2011       13:57:23
9100       2533535170       2/3/2012        20:12:11
9101       2533590610       11/7/2011       11:16:26
9102       2533592283       12/9/2011       13:40:22
9103       2533593509       6/5/2012        18:00:42
9104       2533633163       9/8/2011        19:13:25
9105       2533636887       10/15/2011      10:04:12
9106       2533650488       12/15/2011      8:19:58
9107       2533760119       9/12/2011       14:36:48
9108       2533760119       9/26/2011       13:21:56
9109       2533762186       4/12/2012       18:29:22
9110       2533764510       9/13/2011       14:21:40
9111       2533765589       10/14/2011      13:33:18
9112       2533767954       4/2/2012        17:45:53
9113       2533774122       9/27/2012       16:42:52
9114       2533777217       9/19/2011       14:44:36
9115       2533807965       11/3/2011       18:08:25
9116       2533811390       2/28/2012       16:20:55
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9117       2533813564       9/2/2011        13:13:05
9118       2533814100       3/26/2011       11:14:21
9119       2533819708       10/25/2011      16:41:14
9120       2533819787       10/3/2011       10:48:27
9121       2533891076       9/24/2012       19:15:11
9122       2533893752       10/12/2011      11:57:01
9123       2533948234       3/15/2012       19:36:02
9124       2534053971       9/6/2012        12:25:45
9125       2534058040       1/14/2012       10:59:18
9126       2534142700       9/29/2011       15:59:51
9127       2534145016       4/3/2012        15:18:40
9128       2534148142       3/29/2012       18:54:12
9129       2534319419       10/25/2011      16:38:00
9130       2534411355       2/6/2012        17:17:04
9131       2534419105       11/21/2011      8:21:32
9132       2534682206       2/9/2012        14:30:49
9133       2534868300       10/17/2012      12:53:29
9134       2535070332       2/15/2012       11:16:11
9135       2535082862       9/7/2012        15:54:34
9136       2535345051       2/11/2012       11:26:39
9137       2535484627       10/26/2011      12:28:56
9138       2535695970       3/6/2012        20:31:07
9139       2535797422       9/12/2012       14:59:43
9140       2535797806       5/30/2012       16:54:48
9141       2535799029       1/30/2012       13:37:01
9142       2535920517       9/28/2012       16:40:07
9143       2535920589       7/28/2012       11:14:39
9144       2535927991       9/24/2012       12:56:29
9145       2535928508       8/16/2012       14:29:32
9146       2536175696       11/30/2011      13:05:15
9147       2536320004       7/22/2011       13:10:56
9148       2536510721       5/10/2012       21:29:45
9149       2536531382       11/2/2011       7:13:29
9150       2536531738       1/31/2012       10:12:36
9151       2536532838       11/14/2011      17:51:54
9152       2536771750       8/24/2012       11:06:09
9153       2536784663       3/30/2012       16:11:12
9154       2536784663       7/23/2012       15:26:56
9155       2536788348       11/11/2011      13:24:41
9156       2536789791       10/19/2011      12:27:28
9157       2536789791       12/28/2011      11:14:57
9158       2536917644       4/13/2012       13:42:49
9159       2537099608       10/16/2012      20:31:20
9160       2537200490       3/14/2011       17:30:03
9161       2537206949       1/18/2012       21:20:38
9162       2537324220       6/18/2012       15:30:16
9163       2537377575       10/1/2011       10:06:25
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9164       2537407433       10/11/2012      18:42:42
9165       2537538567       10/24/2012      21:12:50
9166       2537772737       11/2/2011       14:31:08
9167       2537775857       9/6/2012        12:25:43
9168       2537779226       11/26/2011      12:07:43
9169       2538202148       8/30/2012       17:44:39
9170       2538202548       12/12/2011      12:30:22
9171       2538614954       3/23/2012       14:28:38
9172       2538765322       1/10/2012       21:33:18
9173       2538808637       9/24/2011       10:02:11
9174       2538824742       7/23/2011       13:23:07
9175       2538826590       7/25/2011       15:37:31
9176       2538827610       5/12/2012       10:47:47
9177       2538860211       6/15/2012       16:39:34
9178       2539294071       12/12/2011      11:58:04
9179       2539513270       4/14/2012       10:27:28
9180       2539611999       7/19/2012       17:31:29
9181       2539613471       4/22/2012       15:42:00
9182       2539613471       4/23/2012       13:06:52
9183       2539614219       12/28/2011      21:13:01
9184       2539736550       1/14/2012       13:22:58
9185       2539853468       10/5/2011       14:49:06
9186       2539855368       1/2/2012        10:04:48
9187       2539855881       6/28/2012       12:36:24
9188       2542030369       10/24/2012      15:01:09
9189       2542034178       10/18/2012      16:37:05
9190       2542051663       7/12/2012       19:59:49
9191       2542054647       3/27/2012       15:04:36
9192       2542055617       10/15/2012      10:18:06
9193       2542056596       11/5/2011       10:07:10
9194       2542057671       10/17/2012      12:53:00
9195       2542058080       3/23/2012       20:03:08
9196       2542059474       4/4/2012        18:49:06
9197       2542140892       12/23/2011      14:06:12
9198       2542142276       5/16/2012       17:03:28
9199       2542142822       2/10/2012       9:19:30
9200       2542142822       6/18/2012       15:22:40
9201       2542144139       9/27/2012       16:25:24
9202       2542146268       2/14/2012       16:51:07
9203       2542146400       11/26/2011      13:29:56
9204       2542147887       2/6/2012        9:57:35
9205       2542149023       1/6/2012        12:20:22
9206       2542160568       7/30/2012       18:45:46
9207       2542161341       9/8/2011        19:33:52
9208       2542161403       6/21/2012       18:51:36
9209       2542163306       12/10/2011      13:30:08
9210       2542171939       11/5/2011       10:12:43
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9211       2542200097       3/14/2012       19:41:10
9212       2542200586       2/29/2012       17:26:43
9213       2542207778       11/26/2011      11:48:53
9214       2542208797       10/17/2011      7:44:24
9215       2542209152       3/21/2012       13:40:15
9216       2542209173       10/11/2011      16:35:32
9217       2542234404       6/6/2012        14:02:38
9218       2542247816       2/13/2012       18:48:35
9219       2542271084       3/25/2012       12:01:23
9220       2542283287       1/18/2012       20:24:19
9221       2542283716       3/14/2012       14:46:49
9222       2542291981       1/19/2012       18:39:26
9223       2542291981       5/21/2012       8:02:06
9224       2542294824       8/8/2012        8:17:29
9225       2542311757       10/25/2011      15:29:14
9226       2542312628       9/14/2011       9:48:54
9227       2542316875       5/11/2012       18:27:26
9228       2542381548       11/12/2011      10:40:42
9229       2542382631       5/6/2012        18:18:48
9230       2542383875       5/2/2012        13:06:23
9231       2542451178       10/18/2012      16:31:09
9232       2542452481       11/25/2011      17:44:28
9233       2542452562       8/3/2011        11:54:05
9234       2542453210       11/28/2011      17:31:02
9235       2542455126       6/25/2011       15:44:43
9236       2542455925       10/20/2012      16:26:38
9237       2542456525       11/3/2011       17:55:06
9238       2542456525       3/6/2012        20:28:29
9239       2542457508       10/15/2011      10:34:55
9240       2542460746       8/16/2012       9:28:07
9241       2542462072       11/18/2011      12:54:52
9242       2542477440       1/11/2012       9:05:06
9243       2542487837       3/12/2012       19:30:30
9244       2542511166       7/2/2012        17:05:01
9245       2542589282       2/14/2012       16:41:12
9246       2542650438       12/18/2011      17:11:18
9247       2542654454       10/13/2011      8:25:28
9248       2542655273       6/20/2012       17:04:19
9249       2542660211       12/10/2011      13:33:06
9250       2542660664       9/29/2011       15:19:04
9251       2542851315       2/9/2012        9:30:44
9252       2542851335       11/19/2011      8:55:48
9253       2542858189       3/22/2012       14:00:41
9254       2542891821       10/8/2012       20:02:42
9255       2542892922       12/21/2011      10:51:41
9256       2542895330       12/27/2011      14:21:09
9257       2542899047       4/5/2012        13:49:29
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9258       2542900458       10/11/2011      17:24:37
9259       2542900514       1/27/2012       9:38:11
9260       2542900514       4/20/2012       20:56:25
9261       2542900708       3/14/2012       14:06:25
9262       2542900738       7/18/2012       18:31:40
9263       2542901287       9/13/2011       15:50:55
9264       2542903233       2/21/2012       11:19:57
9265       2542903309       1/20/2012       11:50:41
9266       2542906971       3/16/2012       10:19:20
9267       2542913379       12/29/2011      19:03:36
9268       2542918201       4/26/2012       11:35:38
9269       2542922478       10/10/2012      19:07:21
9270       2543150476       3/25/2011       8:46:54
9271       2543158276       1/14/2012       9:05:12
9272       2543159215       12/27/2011      14:35:48
9273       2543159525       2/25/2012       10:36:50
9274       2543171454       10/10/2011      12:39:30
9275       2543173794       11/26/2011      13:38:16
9276       2543173794       4/9/2012        18:13:57
9277       2543173794       4/13/2012       20:44:03
9278       2543174544       9/9/2011        18:00:33
9279       2543175114       10/5/2011       14:39:07
9280       2543176277       11/15/2011      20:07:39
9281       2543191464       2/24/2012       20:56:53
9282       2543191464       3/7/2012        18:44:24
9283       2543197572       10/22/2012      8:07:19
9284       2543371195       2/24/2012       20:54:07
9285       2543381120       12/15/2011      8:10:46
9286       2543382446       12/3/2011       9:23:50
9287       2543385600       10/11/2011      17:20:46
9288       2543386168       3/27/2012       8:02:28
9289       2543389804       11/30/2011      15:20:59
9290       2543393380       10/8/2012       20:02:07
9291       2543393770       10/25/2011      15:31:56
9292       2543394753       5/26/2012       14:23:20
9293       2543396047       12/28/2011      13:11:59
9294       2543490659       10/18/2011      13:02:51
9295       2543490659       11/17/2011      16:48:36
9296       2543490914       9/9/2011        17:57:37
9297       2543490914       11/22/2011      18:41:25
9298       2543493053       1/24/2012       17:07:25
9299       2543493286       12/9/2011       13:09:50
9300       2543494824       9/10/2011       9:15:58
9301       2543500979       6/23/2012       16:15:18
9302       2543662211       10/10/2011      12:41:25
9303       2543663785       2/14/2012       16:42:02
9304       2543665166       9/20/2011       20:35:02
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9305       2543666601       3/19/2012       11:51:35
9306       2543668755       10/8/2011       11:38:10
9307       2543680540       9/12/2011       14:19:18
9308       2543688886       4/15/2012       17:32:10
9309       2543712735       1/27/2012       11:59:24
9310       2543712735       2/13/2012       18:29:00
9311       2543713692       7/6/2012        14:50:25
9312       2543716734       1/11/2012       16:20:59
9313       2543830583       12/17/2011      11:39:13
9314       2543832324       7/13/2012       13:57:49
9315       2543832404       5/11/2012       10:00:02
9316       2543833607       1/6/2012        7:05:30
9317       2543834336       9/14/2011       16:32:08
9318       2543834584       12/19/2011      8:03:23
9319       2543834584       8/11/2012       9:19:54
9320       2543834797       9/22/2011       15:21:15
9321       2543834886       3/26/2012       18:30:49
9322       2543838844       12/22/2011      8:30:29
9323       2543920002       11/18/2011      12:54:00
9324       2543942383       7/9/2012        19:14:38
9325       2543963551       4/11/2012       11:35:03
9326       2543964221       12/8/2011       10:19:49
9327       2543964326       1/25/2012       20:24:26
9328       2543965186       11/16/2011      8:01:24
9329       2544130736       10/4/2011       13:54:34
9330       2544151955       2/28/2012       13:06:26
9331       2544155048       9/14/2011       16:00:57
9332       2544210321       9/24/2011       9:19:37
9333       2544210321       11/15/2011      20:13:08
9334       2544230505       1/4/2012        11:22:11
9335       2544232845       8/13/2011       12:01:21
9336       2544241831       11/17/2011      14:22:17
9337       2544242480       5/15/2012       8:40:03
9338       2544244934       3/30/2012       16:08:33
9339       2544248064       10/27/2011      16:50:15
9340       2544331277       10/8/2011       10:10:18
9341       2544339535       11/19/2011      8:23:18
9342       2544341848       7/3/2012        19:37:08
9343       2544360006       12/18/2011      16:28:12
9344       2544470844       3/19/2012       11:51:27
9345       2544471651       1/3/2012        11:19:58
9346       2544492606       12/10/2011      12:38:29
9347       2544492606       1/27/2012       18:02:44
9348       2544493329       10/27/2011      16:07:59
9349       2544495881       8/13/2012       20:51:19
9350       2544581143       9/29/2011       15:20:16
9351       2544582137       11/2/2011       14:13:34
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9352       2544582752       1/27/2012       19:44:24
9353       2544584752       10/19/2012      19:05:25
9354       2544585595       10/25/2012      12:26:46
9355       2544587826       9/19/2011       19:33:43
9356       2544587902       1/27/2012       11:50:25
9357       2544621013       11/2/2011       14:22:26
9358       2544621249       11/5/2011       11:46:07
9359       2544621249       1/12/2012       10:15:15
9360       2544622674       5/18/2012       15:40:47
9361       2544661243       9/30/2011       10:24:21
9362       2544661652       8/30/2012       17:42:47
9363       2544663384       5/1/2012        8:22:50
9364       2544663384       5/18/2012       15:40:37
9365       2544820358       4/25/2012       9:29:02
9366       2544851260       10/12/2011      8:34:06
9367       2544854366       10/25/2012      19:48:15
9368       2544858280       12/12/2011      12:26:46
9369       2544858866       9/21/2011       19:30:25
9370       2544882466       10/12/2011      12:07:38
9371       2544882466       11/23/2011      10:32:31
9372       2544882466       12/26/2011      20:01:05
9373       2544930552       12/20/2011      17:19:05
9374       2544936085       7/30/2012       18:38:55
9375       2544955507       5/24/2012       11:56:48
9376       2544955912       5/21/2012       17:43:37
9377       2544955912       6/8/2012        8:04:32
9378       2544957057       2/29/2012       17:23:51
9379       2544981536       12/20/2011      12:35:31
9380       2544985303       3/20/2012       17:42:59
9381       2544986795       4/1/2012        17:10:36
9382       2544988413       11/27/2011      15:31:23
9383       2544989558       11/22/2011      18:40:51
9384       2545222525       5/6/2012        18:14:12
9385       2545351383       10/10/2012      19:21:43
9386       2545352501       8/29/2012       20:21:11
9387       2545352501       9/24/2012       19:09:45
9388       2545354168       4/17/2012       9:38:22
9389       2545354808       7/30/2012       18:47:39
9390       2545416178       3/14/2012       19:45:09
9391       2545481351       2/8/2012        12:58:29
9392       2545484427       7/26/2012       19:21:53
9393       2545484938       3/21/2011       11:43:46
9394       2545590614       12/13/2011      18:30:59
9395       2545594101       4/19/2012       14:34:38
9396       2545594204       9/13/2012       15:26:01
9397       2545631941       9/13/2012       15:21:19
9398       2545632382       3/10/2012       8:55:31
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9399       2545634564       12/10/2011      13:32:45
9400       2545634564       12/20/2011      19:37:36
9401       2545635039       12/5/2011       9:34:43
9402       2545635039       3/28/2012       17:06:48
9403       2545637016       4/5/2012        14:36:53
9404       2545637583       4/3/2012        16:12:09
9405       2545803205       10/9/2012       11:41:13
9406       2545808435       12/7/2011       15:13:34
9407       2545808435       6/5/2012        14:47:44
9408       2545921245       11/16/2011      9:46:16
9409       2545921898       7/2/2011        9:20:45
9410       2545925975       12/9/2011       16:06:46
9411       2545950546       5/10/2011       19:36:48
9412       2545950670       9/8/2011        19:32:16
9413       2545988248       11/26/2011      13:23:56
9414       2545989196       9/19/2011       19:20:41
9415       2546160092       12/15/2011      8:14:59
9416       2546245952       9/29/2011       15:50:36
9417       2546246015       1/17/2012       18:32:55
9418       2546247843       12/26/2011      20:22:44
9419       2546279542       1/8/2012        13:17:01
9420       2546302098       10/31/2011      8:18:24
9421       2546302728       8/3/2011        12:29:40
9422       2546304486       7/5/2012        15:35:38
9423       2546304788       3/27/2012       10:42:39
9424       2546309973       8/4/2012        8:08:16
9425       2546316687       10/1/2011       10:44:34
9426       2546317779       9/8/2011        19:51:53
9427       2546401471       8/25/2011       16:58:13
9428       2546401811       7/18/2012       8:37:43
9429       2546401849       3/10/2012       8:51:51
9430       2546403759       3/13/2012       18:40:42
9431       2546405233       11/23/2011      14:55:18
9432       2546450335       5/23/2011       15:53:56
9433       2546544132       8/25/2012       8:21:58
9434       2546544509       5/14/2012       10:21:02
9435       2546628426       3/28/2012       18:24:59
9436       2546628450       10/8/2011       12:30:26
9437       2546690264       5/14/2012       15:19:48
9438       2546690344       2/21/2012       17:54:16
9439       2546690344       2/24/2012       20:54:16
9440       2546691131       12/30/2011      8:38:47
9441       2546691131       5/26/2012       14:23:06
9442       2546814240       5/5/2012        8:10:17
9443       2547022053       2/13/2012       18:29:07
9444       2547022198       10/24/2011      8:05:14
9445       2547027065       2/28/2012       13:18:33
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9446       2547070353       8/28/2012       11:58:44
9447       2547072973       3/13/2012       12:52:14
9448       2547092124       11/9/2011       8:30:56
9449       2547092393       12/21/2011      19:54:02
9450       2547093515       5/29/2012       10:50:43
9451       2547154011       9/17/2012       8:35:05
9452       2547154504       10/4/2011       13:48:44
9453       2547155534       4/2/2012        8:55:01
9454       2547161158       5/17/2012       16:35:32
9455       2547161527       10/26/2011      13:02:05
9456       2547164231       4/15/2012       17:13:49
9457       2547164374       8/22/2012       11:14:23
9458       2547169977       7/2/2012        17:30:43
9459       2547171728       2/17/2012       9:16:14
9460       2547171728       6/21/2012       18:43:32
9461       2547174393       3/16/2012       16:32:19
9462       2547178695       9/12/2011       13:26:05
9463       2547178742       3/21/2012       8:07:22
9464       2547180853       4/26/2012       11:39:16
9465       2547181842       12/2/2011       15:23:18
9466       2547185036       6/2/2012        12:44:36
9467       2547185525       9/4/2012        16:08:13
9468       2547215466       5/16/2012       8:05:05
9469       2547216675       2/17/2012       18:20:40
9470       2547220890       4/26/2012       11:35:43
9471       2547229793       6/14/2012       16:09:12
9472       2547234996       9/19/2011       8:22:15
9473       2547238108       12/29/2011      11:07:19
9474       2547238676       8/29/2012       20:21:52
9475       2547335574       3/30/2012       9:49:05
9476       2547336796       12/6/2011       12:54:02
9477       2547337711       11/23/2011      15:03:01
9478       2547443677       11/14/2011      17:19:14
9479       2547446308       3/20/2012       17:50:13
9480       2547470033       2/14/2012       15:29:22
9481       2547470283       3/29/2012       17:36:23
9482       2547605200       8/22/2012       11:13:57
9483       2547609810       12/2/2011       8:07:14
9484       2547609967       1/20/2012       11:46:25
9485       2547686168       7/11/2012       9:32:18
9486       2547686168       7/24/2012       20:31:40
9487       2547686664       7/10/2012       11:53:14
9488       2547689039       10/15/2012      10:06:32
9489       2548130744       4/20/2012       20:56:18
9490       2548131834       9/13/2011       13:32:45
9491       2548133155       11/9/2011       8:53:51
9492       2548134229       4/27/2012       9:47:05
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9493       2548134287       11/28/2011      12:11:28
9494       2548135199       8/6/2011        9:38:23
9495       2548135246       9/4/2012        16:07:46
9496       2548135434       8/13/2011       11:59:48
9497       2548135628       2/6/2012        17:02:09
9498       2548135755       7/6/2012        14:50:57
9499       2548136797       9/28/2011       10:32:19
9500       2548136910       9/13/2011       16:23:38
9501       2548137017       2/21/2012       9:44:42
9502       2548330597       2/18/2012       8:45:38
9503       2548330905       4/1/2012        17:07:01
9504       2548331481       6/23/2012       8:53:26
9505       2548552363       10/4/2011       13:54:01
9506       2548555793       3/16/2012       16:02:03
9507       2548559907       2/13/2012       8:04:12
9508       2548995581       6/2/2012        12:44:38
9509       2548995721       9/20/2012       8:46:10
9510       2548995942       7/2/2012        17:21:18
9511       2549132875       5/15/2012       19:10:15
9512       2549134617       10/5/2011       14:10:41
9513       2549138152       9/27/2011       18:37:37
9514       2549772124       11/23/2011      9:48:21
9515       2549772124       3/22/2012       14:24:07
9516       2549772739       5/4/2012        20:53:49
9517       2549774026       9/14/2011       12:22:22
9518       2549780054       4/30/2012       14:37:09
9519       2549780054       5/21/2012       8:04:06
9520       2549791121       5/16/2012       9:26:19
9521       2549795210       9/8/2012        11:49:14
9522       2549810270       10/6/2011       16:51:05
9523       2549980411       10/5/2011       14:12:07
9524       2562002044       8/23/2011       19:02:26
9525       2562005823       9/14/2011       12:13:53
9526       2562060938       9/6/2012        12:38:24
9527       2562064418       6/10/2012       14:37:01
9528       2562065442       10/23/2012      10:28:17
9529       2562136136       10/9/2012       20:03:05
9530       2562142941       1/27/2012       19:46:36
9531       2562173015       5/26/2012       14:38:59
9532       2562232163       4/18/2011       19:45:05
9533       2562232952       6/18/2012       9:23:54
9534       2562232952       7/23/2012       11:55:01
9535       2562236460       12/30/2011      8:41:12
9536       2562252225       11/12/2011      10:28:10
9537       2562253455       9/27/2012       16:36:36
9538       2562256102       10/15/2011      9:35:06
9539       2562256281       9/19/2011       19:14:08
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9540       2562257220       10/16/2012      8:46:06
9541       2562260233       5/22/2012       18:28:54
9542       2562261249       9/19/2011       8:11:18
9543       2562261408       10/25/2012      12:14:44
9544       2562262376       5/16/2012       16:57:09
9545       2562262652       9/11/2012       15:15:52
9546       2562265680       10/19/2011      12:18:20
9547       2562272565       11/25/2011      18:29:43
9548       2562274622       9/9/2011        18:19:43
9549       2562276282       12/14/2011      14:45:31
9550       2562277530       4/29/2012       17:26:50
9551       2562277728       6/14/2012       15:59:22
9552       2562277728       6/25/2012       13:46:24
9553       2562277728       7/24/2012       14:46:18
9554       2562278477       3/27/2012       19:26:33
9555       2562305405       11/2/2011       14:13:44
9556       2562383429       3/4/2012        12:35:39
9557       2562383470       12/7/2011       18:05:07
9558       2562391664       12/29/2011      10:46:49
9559       2562391831       1/19/2012       18:29:51
9560       2562392256       9/13/2011       17:57:34
9561       2562396447       4/29/2012       17:18:23
9562       2562396447       4/30/2012       14:54:06
9563       2562399526       10/10/2011      12:51:46
9564       2562440152       12/21/2011      19:12:38
9565       2562442183       5/9/2011        17:22:55
9566       2562443768       10/24/2011      8:10:50
9567       2562472332       5/31/2012       15:07:32
9568       2562492444       9/30/2011       10:20:43
9569       2562510137       9/8/2011        18:54:49
9570       2562528711       10/6/2012       8:54:28
9571       2562529045       6/23/2012       16:26:11
9572       2562639720       10/18/2012      8:14:31
9573       2562644707       2/11/2012       11:14:52
9574       2562663030       5/7/2011        14:56:18
9575       2562664444       10/11/2011      16:28:20
9576       2562672297       5/16/2012       16:56:13
9577       2562672434       10/5/2011       14:39:39
9578       2562761247       1/27/2012       20:07:23
9579       2562761247       2/16/2012       8:33:16
9580       2562761247       6/16/2012       15:16:43
9581       2562761984       10/22/2011      12:38:34
9582       2562764477       9/8/2011        19:49:17
9583       2562768590       4/9/2012        19:32:53
9584       2562789365       4/29/2011       20:24:21
9585       2562824527       11/28/2011      11:28:21
9586       2562825343       2/10/2012       9:22:09
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9587       2562827576       4/9/2012        13:43:34
9588       2562827576       6/11/2012       17:03:18
9589       2562830350       12/28/2011      17:55:39
9590       2562833664       11/2/2011       14:25:49
9591       2562836881       1/17/2014       19:51:27
9592       2562837195       10/12/2012      16:40:24
9593       2562893198       6/2/2012        13:06:50
9594       2562932844       2/6/2012        17:02:52
9595       2562932844       2/21/2012       9:48:02
9596       2562937602       12/28/2011      18:17:38
9597       2562950683       3/21/2012       8:03:36
9598       2562951309       7/19/2011       16:51:58
9599       2562954170       12/14/2011      13:49:41
9600       2562955450       10/26/2011      12:12:01
9601       2562956799       12/6/2011       13:26:53
9602       2563021549       12/10/2011      13:37:17
9603       2563024804       12/21/2011      19:16:38
9604       2563036627       3/23/2012       14:36:30
9605       2563038266       10/21/2011      13:25:18
9606       2563038606       4/3/2012        18:21:41
9607       2563039665       10/18/2011      12:30:32
9608       2563072416       4/20/2012       14:08:29
9609       2563075082       9/17/2011       9:43:12
9610       2563077710       9/29/2011       15:49:28
9611       2563106668       10/8/2011       11:41:36
9612       2563108903       9/29/2011       15:16:37
9613       2563120090       12/3/2011       9:26:30
9614       2563120654       10/13/2011      8:35:59
9615       2563126960       6/12/2012       8:01:14
9616       2563129799       8/26/2011       17:51:13
9617       2563181575       9/21/2011       11:57:48
9618       2563181675       9/22/2012       9:40:01
9619       2563181675       9/28/2012       16:56:19
9620       2563203620       2/24/2012       20:56:24
9621       2563215026       8/24/2012       11:04:57
9622       2563221813       6/12/2012       8:32:45
9623       2563231356       10/17/2011      8:48:47
9624       2563256448       9/8/2011        18:04:02
9625       2563280854       10/5/2011       14:15:31
9626       2563282199       9/14/2012       8:05:05
9627       2563283206       9/15/2011       9:15:23
9628       2563284196       2/16/2012       8:35:23
9629       2563284291       4/3/2012        20:14:12
9630       2563284291       5/13/2012       17:34:24
9631       2563350862       6/20/2012       9:08:29
9632       2563351905       4/14/2012       9:01:16
9633       2563354782       10/14/2011      12:56:27
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9634       2563374962       7/15/2011       8:11:00
9635       2563375922       9/27/2012       16:18:30
9636       2563378289       12/29/2011      19:46:23
9637       2563378366       9/24/2012       19:13:49
9638       2563380236       9/19/2011       19:31:16
9639       2563381033       3/27/2012       14:55:30
9640       2563388343       12/24/2011      8:16:31
9641       2563389614       9/16/2011       13:31:41
9642       2563390276       3/21/2011       10:37:46
9643       2563390945       8/30/2012       17:44:07
9644       2563392711       12/17/2011      11:31:59
9645       2563392745       11/25/2011      17:51:27
9646       2563394164       3/8/2012        20:36:54
9647       2563394884       11/17/2011      14:30:43
9648       2563396712       12/23/2011      14:22:58
9649       2563397509       10/11/2012      18:41:20
9650       2563427026       9/21/2011       19:34:30
9651       2563430355       9/15/2011       8:39:03
9652       2563433370       5/25/2011       17:45:25
9653       2563433827       11/8/2011       14:32:10
9654       2563451998       5/21/2012       8:01:07
9655       2563454614       10/9/2012       12:44:34
9656       2563455273       12/26/2011      9:33:51
9657       2563459886       7/26/2012       12:17:49
9658       2563472679       3/14/2012       14:06:46
9659       2563472679       3/21/2012       8:09:52
9660       2563472679       8/1/2012        20:13:19
9661       2563474486       5/12/2012       8:47:13
9662       2563475060       12/12/2011      11:53:24
9663       2563477566       12/18/2011      16:22:37
9664       2563478256       8/28/2012       11:58:32
9665       2563485182       7/13/2012       18:33:21
9666       2563485388       6/9/2012        15:38:38
9667       2563486345       9/24/2012       19:00:15
9668       2563489060       9/27/2011       18:14:11
9669       2563493044       9/7/2012        15:51:06
9670       2563499386       9/14/2012       8:05:48
9671       2563499386       10/9/2012       20:03:21
9672       2563640070       9/12/2011       13:20:00
9673       2563646272       9/12/2012       15:10:54
9674       2563650179       3/7/2012        7:11:33
9675       2563650433       11/21/2011      8:32:27
9676       2563665634       9/24/2011       9:43:23
9677       2563669409       5/19/2012       8:13:00
9678       2563681348       6/29/2012       9:42:27
9679       2563742108       9/8/2011        19:48:43
9680       2563742712       10/5/2011       14:44:23
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9681       2563742912       12/23/2011      14:35:49
9682       2563744302       3/30/2012       9:47:49
9683       2563748004       9/13/2011       16:24:09
9684       2563749530       7/9/2011        8:46:10
9685       2563752613       3/19/2012       19:23:28
9686       2563756554       4/14/2012       9:25:12
9687       2563756554       5/21/2012       8:03:26
9688       2563759067       7/6/2012        16:54:02
9689       2563889145       1/3/2012        11:03:30
9690       2563900069       8/15/2011       10:22:44
9691       2563907338       9/17/2012       8:37:25
9692       2563908355       1/19/2012       18:39:26
9693       2563908451       3/14/2012       19:59:32
9694       2563916923       3/6/2012        20:28:15
9695       2563935224       9/20/2011       20:44:23
9696       2563935937       2/10/2012       17:04:53
9697       2563936099       1/14/2012       8:25:37
9698       2563937865       7/27/2012       15:39:36
9699       2563938885       8/17/2012       8:18:33
9700       2563940284       1/4/2012        11:25:08
9701       2563940892       5/22/2012       11:53:09
9702       2563941669       9/25/2012       14:56:54
9703       2563943144       7/12/2012       15:51:50
9704       2563946375       12/20/2011      19:24:27
9705       2563947418       7/10/2012       13:20:18
9706       2563980328       10/13/2012      8:57:43
9707       2563991094       3/27/2012       14:56:03
9708       2563992462       11/15/2011      16:26:45
9709       2563995931       8/2/2012        18:50:15
9710       2563997762       5/13/2012       17:47:35
9711       2564006068       2/13/2012       7:16:09
9712       2564043347       11/25/2011      17:49:56
9713       2564043753       6/14/2012       16:08:01
9714       2564044591       9/12/2011       13:20:04
9715       2564044648       3/23/2012       20:08:58
9716       2564044737       9/29/2011       15:48:03
9717       2564049496       1/17/2012       18:34:22
9718       2564053054       9/7/2012        15:42:20
9719       2564055069       9/27/2012       16:32:43
9720       2564057785       5/15/2012       18:58:29
9721       2564124887       12/31/2011      11:50:17
9722       2564125346       3/7/2012        9:41:40
9723       2564127812       8/25/2012       11:17:29
9724       2564150260       3/25/2011       8:52:51
9725       2564150260       9/8/2011        19:49:36
9726       2564171910       8/9/2013        11:55:01
9727       2564178670       5/4/2012        14:56:33
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9728       2564179874       12/14/2011      14:02:33
9729       2564185587       5/21/2012       17:51:41
9730       2564185595       3/8/2012        20:25:35
9731       2564193291       4/5/2012        13:51:07
9732       2564193938       8/14/2012       20:45:12
9733       2564193938       10/9/2012       20:00:56
9734       2564241858       5/28/2012       8:12:22
9735       2564252731       2/29/2012       17:34:17
9736       2564258779       1/24/2012       17:04:41
9737       2564260728       11/25/2011      17:46:42
9738       2564261036       8/8/2011        15:32:41
9739       2564265138       12/29/2011      10:05:09
9740       2564266829       3/3/2012        8:30:55
9741       2564310399       9/23/2011       18:47:06
9742       2564310464       10/4/2011       13:49:03
9743       2564311535       8/1/2012        8:28:34
9744       2564311862       7/11/2012       17:21:58
9745       2564313000       12/29/2011      11:12:32
9746       2564313549       1/11/2012       16:22:08
9747       2564313549       1/25/2012       20:26:28
9748       2564314997       9/12/2011       13:28:29
9749       2564315885       5/2/2012        13:16:08
9750       2564360154       12/23/2011      13:14:20
9751       2564360749       4/2/2012        9:06:43
9752       2564364140       10/24/2011      8:12:52
9753       2564366590       2/6/2012        17:18:02
9754       2564366981       5/20/2012       16:01:18
9755       2564378735       6/26/2012       8:02:36
9756       2564380718       2/17/2012       18:11:17
9757       2564383824       9/6/2011        12:08:11
9758       2564389081       6/7/2012        18:23:25
9759       2564410985       5/2/2011        18:05:40
9760       2564412036       6/5/2012        17:54:04
9761       2564430347       9/9/2011        18:00:47
9762       2564430371       10/20/2011      15:44:28
9763       2564431671       1/12/2012       14:32:48
9764       2564431731       8/3/2012        16:32:15
9765       2564432954       4/19/2012       20:16:55
9766       2564434374       8/17/2011       19:16:58
9767       2564438036       10/4/2011       13:18:01
9768       2564438311       4/21/2012       16:44:58
9769       2564528407       1/4/2012        12:16:37
9770       2564529571       3/10/2012       9:00:58
9771       2564531306       11/22/2011      19:39:51
9772       2564535713       1/18/2012       10:09:07
9773       2564537153       2/7/2012        20:25:31
9774       2564538676       12/18/2011      17:43:21
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9775       2564540888       3/2/2012        19:03:28
9776       2564541122       9/13/2012       15:16:29
9777       2564544662       8/7/2012        17:54:02
9778       2564546208       5/12/2012       10:20:19
9779       2564547904       9/23/2011       11:19:12
9780       2564575926       6/28/2012       14:15:56
9781       2564579569       9/9/2011        17:57:33
9782       2564580398       5/26/2012       8:39:53
9783       2564581897       11/7/2011       8:14:44
9784       2564582348       11/29/2011      15:38:45
9785       2564582601       2/17/2012       18:12:33
9786       2564582752       9/21/2011       11:31:46
9787       2564583893       10/8/2011       12:01:13
9788       2564586456       2/17/2012       18:16:27
9789       2564586591       5/1/2012        17:28:28
9790       2564588210       1/27/2012       18:04:00
9791       2564588961       7/16/2012       9:26:25
9792       2564600873       7/12/2012       19:53:22
9793       2564600873       8/3/2012        16:24:12
9794       2564601335       9/8/2011        18:11:15
9795       2564601345       11/18/2011      13:33:02
9796       2564651139       6/8/2012        8:06:17
9797       2564661853       12/27/2011      14:22:55
9798       2564665934       1/13/2012       8:12:53
9799       2564666445       10/3/2011       8:28:25
9800       2564666998       11/19/2011      8:59:03
9801       2564668282       2/15/2012       8:16:04
9802       2564680424       7/13/2012       18:35:37
9803       2564684830       1/24/2012       10:31:36
9804       2564686733       6/28/2012       14:25:36
9805       2564689131       11/22/2011      19:34:16
9806       2564694571       7/7/2012        10:27:40
9807       2564756646       10/21/2011      13:25:51
9808       2564760825       9/28/2011       10:35:58
9809       2564762429       11/4/2011       8:52:47
9810       2564764863       10/1/2011       10:51:00
9811       2564775933       5/1/2012        8:26:39
9812       2564775933       6/19/2012       15:38:58
9813       2564792130       8/7/2012        17:54:33
9814       2564794994       7/23/2012       15:20:57
9815       2564832950       12/16/2011      15:47:58
9816       2564839992       9/8/2012        11:41:21
9817       2564852050       4/7/2012        9:14:11
9818       2564865853       6/11/2012       18:01:31
9819       2564867364       6/14/2012       16:19:23
9820       2564900692       12/28/2011      18:02:50
9821       2564901637       10/1/2011       9:59:46
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9822       2564903186       4/16/2012       8:04:17
9823       2564904262       11/9/2011       8:29:12
9824       2564906735       5/21/2012       8:22:54
9825       2564932662       12/26/2011      9:28:44
9826       2564934503       9/28/2012       14:30:42
9827       2564935358       4/3/2012        16:11:05
9828       2564936044       11/17/2011      16:27:18
9829       2564962734       2/6/2012        17:16:55
9830       2564970555       6/9/2012        10:36:22
9831       2564970555       6/23/2012       8:36:52
9832       2564971908       10/5/2012       18:16:45
9833       2564975930       4/25/2011       13:34:09
9834       2564990134       3/13/2012       18:40:25
9835       2564992304       3/11/2012       15:28:41
9836       2564992304       3/14/2012       14:46:28
9837       2564992721       12/9/2011       8:16:24
9838       2564994547       5/16/2012       16:50:36
9839       2564994638       10/3/2012       8:08:20
9840       2564995167       8/20/2011       9:00:14
9841       2565020370       4/24/2012       18:15:07
9842       2565041030       12/23/2011      13:27:03
9843       2565043318       4/21/2012       8:35:55
9844       2565043351       6/9/2012        15:11:28
9845       2565044965       5/26/2012       8:27:12
9846       2565049981       5/7/2012        8:16:41
9847       2565057290       9/26/2012       8:11:12
9848       2565061019       11/5/2011       11:23:03
9849       2565063275       11/8/2011       13:58:29
9850       2565063500       6/25/2012       13:26:50
9851       2565064693       11/15/2011      16:29:14
9852       2565064693       11/28/2011      11:24:38
9853       2565064707       5/30/2012       12:51:41
9854       2565064908       4/5/2012        13:58:17
9855       2565071774       9/13/2011       13:32:18
9856       2565073064       10/22/2011      13:12:06
9857       2565073302       5/11/2012       18:39:52
9858       2565074678       11/14/2011      17:12:14
9859       2565074678       11/18/2011      13:31:55
9860       2565152765       9/12/2011       14:17:51
9861       2565152766       11/18/2011      12:54:59
9862       2565200244       9/19/2011       19:15:49
9863       2565207013       9/15/2011       8:37:55
9864       2565207294       2/13/2012       8:05:32
9865       2565213415       1/2/2012        12:01:13
9866       2565213433       5/5/2012        8:27:41
9867       2565223572       9/27/2012       16:22:25
9868       2565250262       9/20/2011       18:21:33
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9869       2565251713       9/22/2011       15:39:41
9870       2565255218       4/29/2012       17:23:50
9871       2565255278       9/9/2011        17:59:55
9872       2565255696       2/20/2012       17:11:34
9873       2565272411       1/23/2012       8:25:46
9874       2565279010       10/3/2011       8:11:04
9875       2565279010       10/29/2011      11:47:00
9876       2565290044       1/10/2012       15:18:27
9877       2565290044       2/14/2012       15:25:45
9878       2565313690       1/4/2012        11:24:16
9879       2565318131       9/28/2012       16:57:23
9880       2565318551       5/22/2012       18:29:04
9881       2565412541       12/13/2011      18:08:35
9882       2565414056       1/27/2012       18:05:23
9883       2565418864       8/9/2012        14:17:01
9884       2565500390       10/4/2011       13:18:19
9885       2565500705       3/31/2012       17:46:02
9886       2565501112       5/21/2011       10:56:14
9887       2565530541       6/25/2012       13:19:48
9888       2565539743       2/6/2012        17:17:01
9889       2565573337       3/30/2012       17:00:31
9890       2565573847       10/24/2011      8:14:08
9891       2565576196       12/19/2011      7:22:57
9892       2565584937       9/22/2011       15:18:52
9893       2565586239       11/19/2011      8:20:25
9894       2565587110       2/10/2012       9:30:09
9895       2565652182       3/23/2012       11:16:28
9896       2565655572       1/2/2012        8:17:44
9897       2565658062       12/30/2011      8:38:08
9898       2565662678       1/28/2012       9:45:46
9899       2565663479       10/22/2011      12:22:31
9900       2565667534       1/17/2012       18:39:56
9901       2565668808       11/4/2011       8:42:29
9902       2565720696       9/18/2012       14:27:34
9903       2565725113       10/20/2011      15:43:18
9904       2565726425       1/27/2012       18:00:26
9905       2565728897       7/13/2012       14:04:38
9906       2565729918       10/6/2011       16:47:15
9907       2565770174       6/11/2012       18:16:17
9908       2565770347       12/15/2011      8:37:32
9909       2565770505       10/7/2011       8:10:04
9910       2565773733       11/11/2011      13:18:04
9911       2565773733       5/21/2012       8:14:18
9912       2565774877       10/24/2011      8:16:02
9913       2565775237       3/17/2012       8:35:16
9914       2565776443       11/15/2011      16:34:40
9915       2565776445       10/10/2011      12:51:37
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9916       2565776445       11/16/2011      8:34:35
9917       2565854050       10/25/2011      16:52:32
9918       2565896502       7/11/2012       9:32:46
9919       2565905232       9/21/2011       13:29:37
9920       2565905364       2/21/2012       11:23:41
9921       2565905716       10/20/2012      8:06:54
9922       2565906186       12/2/2011       8:28:32
9923       2565907171       8/29/2011       9:19:48
9924       2565908675       3/9/2012        9:18:12
9925       2565908675       3/20/2012       9:19:46
9926       2565909298       10/14/2011      12:59:06
9927       2565911941       9/27/2011       18:42:11
9928       2565911941       11/9/2011       8:09:12
9929       2565917989       9/24/2011       9:46:12
9930       2565918555       1/31/2012       10:09:14
9931       2565992200       12/19/2011      8:06:33
9932       2565992264       11/22/2011      19:34:33
9933       2566010140       5/24/2012       20:06:27
9934       2566011703       12/10/2011      13:23:24
9935       2566016623       11/22/2011      18:48:15
9936       2566017927       11/18/2011      13:32:22
9937       2566017989       12/29/2011      14:09:03
9938       2566030417       6/21/2012       10:04:15
9939       2566033572       6/5/2012        14:41:02
9940       2566038663       11/23/2011      14:38:59
9941       2566040416       10/11/2011      17:26:18
9942       2566041404       6/27/2012       17:59:55
9943       2566042135       7/19/2012       8:31:59
9944       2566043774       8/14/2012       11:50:53
9945       2566050516       4/23/2012       20:33:50
9946       2566051002       5/20/2012       15:37:37
9947       2566053290       10/15/2012      9:55:02
9948       2566054530       10/10/2012      12:44:13
9949       2566055269       11/23/2011      9:45:37
9950       2566056047       9/12/2011       14:24:29
9951       2566057791       6/9/2012        11:00:40
9952       2566062461       11/14/2011      15:10:30
9953       2566063383       6/14/2012       20:47:24
9954       2566066131       6/4/2011        10:45:49
9955       2566068575       6/1/2012        9:07:37
9956       2566088050       7/30/2012       13:18:11
9957       2566088714       10/11/2011      16:20:09
9958       2566090688       4/11/2012       11:28:11
9959       2566091167       9/19/2011       8:25:46
9960       2566091339       5/1/2012        17:46:25
9961       2566092326       10/25/2011      15:31:20
9962       2566093990       10/7/2011       8:10:37
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9963       2566095867       11/21/2011      8:36:19
9964       2566097575       11/19/2011      8:21:38
9965       2566098947       3/23/2012       14:44:04
9966       2566099867       11/8/2011       14:27:08
9967       2566104022       4/3/2012        16:12:18
9968       2566127444       9/13/2011       18:03:10
9969       2566128039       7/2/2012        15:04:22
9970       2566130718       3/26/2012       18:43:17
9971       2566137493       7/3/2012        12:20:38
9972       2566162647       10/13/2012      8:44:49
9973       2566164264       9/20/2012       20:58:35
9974       2566224073       1/27/2012       17:45:27
9975       2566259170       11/25/2011      17:45:10
9976       2566260026       11/28/2011      17:03:28
9977       2566262442       10/11/2011      17:34:08
9978       2566262562       4/19/2012       15:06:58
9979       2566262562       7/30/2012       13:35:47
9980       2566274968       9/4/2012        16:07:26
9981       2566278261       10/5/2012       18:33:11
9982       2566279278       8/1/2012        17:24:08
9983       2566280277       2/25/2012       10:41:40
9984       2566280277       3/6/2012        20:25:16
9985       2566281411       4/19/2012       20:10:50
9986       2566303377       6/13/2012       8:06:23
9987       2566304217       11/16/2011      8:02:06
9988       2566304840       4/19/2012       14:42:14
9989       2566315789       9/22/2011       16:05:47
9990       2566360238       1/8/2012        13:09:48
9991       2566360838       11/22/2011      19:35:32
9992       2566361436       5/14/2011       12:03:22
9993       2566361957       9/6/2011        12:12:20
9994       2566361994       9/30/2011       10:21:47
9995       2566362254       8/29/2011       17:04:55
9996       2566365106       12/20/2011      17:13:53
9997       2566366873       2/29/2012       17:26:28
9998       2566406684       10/14/2011      13:23:25
9999       2566406780       5/6/2012        18:21:20
10000      2566421789       3/21/2012       13:40:16
10001      2566486990       5/12/2011       10:22:03
10002      2566490310       10/6/2011       16:38:17
10003      2566511755       10/20/2011      15:20:14
10004      2566512065       5/19/2012       9:35:18
10005      2566519959       11/19/2011      8:25:06
10006      2566520381       2/14/2012       16:44:57
10007      2566524471       8/13/2012       20:59:10
10008      2566524471       9/26/2012       14:41:56
10009      2566524628       9/29/2011       15:46:00
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10010      2566528628       3/16/2012       10:25:47
10011      2566529544       10/8/2011       11:08:08
10012      2566530720       11/21/2011      8:27:44
10013      2566530770       12/14/2011      13:24:49
10014      2566536411       9/11/2012       15:15:21
10015      2566542313       9/26/2011       9:50:30
10016      2566542367       10/3/2011       8:25:55
10017      2566543545       12/18/2011      17:42:26
10018      2566560714       4/2/2012        17:34:44
10019      2566562243       9/14/2013       15:36:18
10020      2566580822       11/23/2011      10:38:44
10021      2566581750       5/19/2012       8:13:23
10022      2566582429       7/27/2012       20:41:04
10023      2566588891       10/3/2012       10:30:26
10024      2566654242       10/22/2011      12:39:01
10025      2566654411       10/19/2012      19:11:23
10026      2566654632       4/20/2012       13:47:44
10027      2566657744       7/13/2012       14:04:02
10028      2566680401       3/1/2012        12:41:15
10029      2566680727       4/26/2012       17:29:18
10030      2566680999       10/6/2011       17:46:01
10031      2566680999       10/22/2011      13:13:42
10032      2566684944       6/28/2012       8:06:17
10033      2566731477       12/31/2011      12:08:25
10034      2566735925       7/24/2012       14:45:02
10035      2566793192       2/7/2012        20:25:06
10036      2566794960       9/8/2011        18:58:55
10037      2566820182       10/15/2011      10:45:49
10038      2566824221       10/14/2011      19:25:48
10039      2566836512       10/7/2011       8:11:03
10040      2566841351       4/20/2012       13:46:48
10041      2566842140       1/27/2012       7:13:35
10042      2566846261       7/31/2012       15:36:53
10043      2566846852       5/16/2012       16:55:58
10044      2566890466       10/8/2011       12:00:03
10045      2566891213       10/11/2012      18:49:35
10046      2566895589       1/27/2012       18:00:12
10047      2566897151       7/28/2012       8:47:53
10048      2566898741       7/9/2012        8:56:58
10049      2566941749       9/3/2011        10:55:40
10050      2566944814       5/22/2012       18:39:33
10051      2566945244       1/16/2012       17:14:49
10052      2566948226       2/3/2012        20:10:32
10053      2566948668       6/7/2011        18:08:25
10054      2566985176       7/9/2012        19:02:18
10055      2566989941       12/1/2011       8:21:18
10056      2567020349       5/20/2012       15:45:56
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10057      2567021100       2/11/2012       15:11:11
10058      2567023891       4/11/2012       11:34:33
10059      2567026100       10/25/2011      15:36:53
10060      2567028513       3/20/2012       17:50:42
10061      2567028513       7/30/2012       13:14:32
10062      2567061447       10/15/2012      10:06:57
10063      2567101644       11/19/2011      8:55:50
10064      2567105574       3/6/2012        13:06:12
10065      2567106088       8/15/2012       12:24:03
10066      2567106088       9/7/2012        15:53:41
10067      2567143116       12/15/2011      8:15:49
10068      2567143116       1/16/2012       17:14:54
10069      2567143832       8/14/2012       8:02:05
10070      2567173403       4/30/2012       14:33:46
10071      2567177536       7/26/2011       10:42:39
10072      2567177536       12/11/2011      11:54:44
10073      2567186845       2/9/2012        20:40:23
10074      2567242144       6/5/2012        13:56:44
10075      2567356746       6/24/2012       13:57:37
10076      2567385159       2/7/2012        8:02:58
10077      2567386299       4/22/2012       15:31:09
10078      2567387854       2/8/2012        12:53:40
10079      2567444473       5/14/2012       8:08:19
10080      2567491249       9/22/2011       16:08:19
10081      2567492504       3/29/2012       11:18:42
10082      2567501276       6/2/2012        12:47:42
10083      2567501536       1/25/2012       20:28:20
10084      2567507131       1/27/2012       18:03:49
10085      2567556348       9/8/2011        18:11:08
10086      2567575835       2/10/2012       9:22:22
10087      2567581500       2/7/2012        8:04:47
10088      2567590554       12/19/2011      8:07:06
10089      2567591916       4/12/2012       12:32:12
10090      2567621175       9/19/2011       8:21:48
10091      2567624215       12/26/2011      9:29:45
10092      2567627131       12/21/2011      19:59:26
10093      2567627753       11/11/2011      13:18:32
10094      2567701591       10/14/2011      13:26:39
10095      2567713394       11/16/2011      10:29:44
10096      2567775797       7/3/2012        12:20:37
10097      2567779678       7/12/2012       19:59:01
10098      2567834443       9/20/2012       8:43:56
10099      2567836047       1/20/2012       11:46:35
10100      2567860715       10/14/2011      13:38:04
10101      2567942374       10/10/2011      11:54:32
10102      2567965025       10/28/2011      13:36:59
10103      2567967389       10/18/2012      16:45:27
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10104      2567971747       9/20/2011       20:44:57
10105      2568101824       7/16/2012       19:50:05
10106      2568563338       9/19/2011       19:13:19
10107      2568565329       1/6/2012        14:42:41
10108      2568567355       1/3/2012        19:44:36
10109      2568567355       4/1/2012        17:29:32
10110      2568567355       4/22/2012       15:35:44
10111      2568567355       4/23/2012       20:42:53
10112      2568610281       8/3/2011        12:28:27
10113      2568740087       1/25/2012       20:37:30
10114      2568743507       8/20/2012       18:54:08
10115      2568747970       10/17/2011      8:11:22
10116      2569149135       12/15/2011      8:38:14
10117      2569276076       9/24/2011       9:43:00
10118      2569609251       12/12/2011      11:55:54
10119      2569609654       10/2/2012       8:40:48
10120      2569609654       10/10/2012      12:46:56
10121      2569623405       7/30/2012       13:39:09
10122      2569624812       9/8/2011        19:30:24
10123      2569755268       10/6/2011       17:39:03
10124      2569758966       9/8/2011        19:33:35
10125      2569908232       3/15/2012       7:09:04
10126      2569960242       9/21/2011       19:42:57
10127      2569962624       9/27/2011       18:15:45
10128      2569969198       2/6/2012        17:03:45
10129      2569977036       10/15/2011      10:41:35
10130      2602238611       3/10/2012       8:36:31
10131      2603014017       5/4/2012        7:27:38
10132      2603441037       5/17/2011       9:37:37
10133      2604179463       11/1/2011       11:08:22
10134      2604189694       10/29/2011      11:40:38
10135      2605030366       4/1/2012        17:08:16
10136      2605034975       10/21/2011      13:22:17
10137      2605806984       6/11/2012       18:08:17
10138      2622206885       1/26/2012       10:06:14
10139      2622250454       9/6/2012        12:33:06
10140      2623036117       6/23/2012       16:14:14
10141      2623058025       10/4/2011       13:49:52
10142      2623084408       11/12/2011      9:05:46
10143      2623084408       3/2/2012        7:17:46
10144      2623097595       10/19/2012      19:05:31
10145      2623138121       4/19/2012       20:16:22
10146      2623239337       6/11/2012       8:18:59
10147      2623250745       4/4/2012        18:53:00
10148      2623257412       5/28/2011       10:31:50
10149      2623258567       7/23/2011       11:55:56
10150      2623273777       12/5/2011       9:51:05
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10151      2623274200       10/14/2011      13:22:55
10152      2623391160       4/27/2012       9:40:41
10153      2623396587       3/12/2012       19:09:02
10154      2623399634       1/4/2012        11:23:09
10155      2623441975       9/12/2011       13:27:28
10156      2623441975       9/20/2011       20:46:49
10157      2623442705       2/24/2012       17:29:41
10158      2623444515       4/2/2012        17:12:25
10159      2623444730       12/26/2011      20:29:46
10160      2623446109       9/19/2011       19:31:21
10161      2623486772       9/14/2011       12:13:07
10162      2623488777       9/8/2011        19:48:43
10163      2623545120       9/15/2012       8:10:02
10164      2623555228       10/7/2012       13:08:24
10165      2623583110       2/10/2012       20:33:48
10166      2623648075       1/17/2012       9:35:48
10167      2623749245       3/12/2012       19:09:12
10168      2623749245       3/19/2012       19:19:44
10169      2623854698       11/18/2011      12:25:41
10170      2623884189       12/6/2011       13:12:30
10171      2623911274       5/18/2012       16:11:16
10172      2624121865       9/27/2011       18:12:47
10173      2624123076       10/16/2012      16:44:25
10174      2624127042       5/16/2012       16:50:43
10175      2624847628       12/27/2011      14:37:06
10176      2624880428       2/6/2012        10:10:56
10177      2624884847       12/29/2011      10:51:03
10178      2624921790       9/14/2011       16:36:25
10179      2624983577       10/14/2011      13:21:47
10180      2624983577       11/14/2011      17:03:00
10181      2624983580       10/8/2011       11:37:53
10182      2625018325       11/22/2011      19:41:33
10183      2625107933       9/24/2011       9:49:54
10184      2625270002       12/21/2011      19:12:05
10185      2625273758       12/26/2011      9:08:00
10186      2625737397       10/4/2011       13:51:50
10187      2626070622       11/23/2011      10:29:17
10188      2626616782       10/11/2012      11:55:38
10189      2626643040       10/8/2012       8:07:36
10190      2626729910       3/20/2012       20:03:07
10191      2627051951       3/2/2012        9:12:51
10192      2627164140       11/5/2011       11:41:37
10193      2627451809       12/16/2011      15:46:04
10194      2627453320       11/21/2011      8:37:08
10195      2627453320       5/21/2012       8:14:37
10196      2627456712       8/29/2012       11:19:55
10197      2627458017       6/13/2012       8:11:13
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10198      2627483158       8/4/2012        8:06:14
10199      2627491482       10/24/2011      8:12:30
10200      2627516460       9/20/2011       20:47:04
10201      2628040120       1/26/2012       10:00:36
10202      2628186223       9/24/2011       9:22:59
10203      2628225160       7/2/2012        17:30:47
10204      2628447084       7/21/2011       13:48:22
10205      2628447084       7/22/2011       13:47:56
10206      2628803396       6/22/2012       21:01:02
10207      2628807609       12/21/2011      19:49:43
10208      2628917251       1/25/2012       9:05:13
10209      2628917591       10/18/2011      13:07:20
10210      2628937980       2/13/2012       18:28:29
10211      2628940336       5/21/2012       8:55:57
10212      2629030980       9/30/2011       10:22:59
10213      2629037422       9/17/2012       8:37:28
10214      2629098655       12/27/2011      14:10:40
10215      2629146254       12/20/2011      11:48:32
10216      2629230644       5/27/2011       9:06:52
10217      2629395568       10/23/2012      18:50:06
10218      2629494523       1/9/2012        8:20:18
10219      2629495312       3/26/2012       18:26:44
10220      2629495547       7/28/2012       9:02:21
10221      2629496319       4/3/2012        16:11:00
10222      2629603840       3/12/2012       11:08:52
10223      2629603840       5/21/2012       8:02:47
10224      2629605988       9/8/2012        11:22:51
10225      2629932565       10/5/2011       14:43:37
10226      2629935226       7/11/2012       9:42:43
10227      2672022675       5/7/2011        14:35:45
10228      2672023909       10/11/2011      17:13:36
10229      2672023909       1/8/2012        13:06:14
10230      2672052963       12/11/2011      12:19:07
10231      2672053070       1/16/2012       17:20:55
10232      2672053468       10/8/2011       10:58:34
10233      2672053650       6/8/2012        12:33:58
10234      2672055704       7/12/2012       13:08:45
10235      2672056406       9/8/2011        19:28:05
10236      2672057099       1/4/2012        11:01:26
10237      2672057163       5/4/2012        14:32:41
10238      2672058354       8/20/2012       18:51:38
10239      2672058677       3/12/2012       7:09:08
10240      2672060265       5/8/2012        9:06:44
10241      2672065811       9/11/2012       7:42:23
10242      2672066799       10/8/2011       10:59:38
10243      2672070392       2/18/2012       8:42:06
10244      2672070652       11/11/2011      7:55:49
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10245      2672070870       12/27/2011      14:13:22
10246      2672075664       2/9/2012        7:03:15
10247      2672079668       9/16/2011       12:55:26
10248      2672100192       3/14/2012       19:37:23
10249      2672105289       12/6/2011       7:28:51
10250      2672106050       12/23/2011      14:48:40
10251      2672106521       9/20/2011       18:29:38
10252      2672164717       8/20/2012       18:47:53
10253      2672164717       10/11/2012      18:33:05
10254      2672164877       2/11/2012       15:05:29
10255      2672166355       9/30/2011       10:12:46
10256      2672166546       3/26/2012       7:13:13
10257      2672166546       5/21/2012       7:30:11
10258      2672181213       2/11/2012       15:29:43
10259      2672210825       9/24/2012       12:59:55
10260      2672211041       8/2/2012        11:44:46
10261      2672212517       8/21/2012       13:48:55
10262      2672261106       4/1/2012        16:02:53
10263      2672261106       4/21/2012       16:31:45
10264      2672262536       4/19/2012       7:34:18
10265      2672264362       11/19/2011      8:15:09
10266      2672266553       3/14/2012       19:31:42
10267      2672283735       10/18/2012      16:30:48
10268      2672300696       12/27/2011      14:33:34
10269      2672300696       1/6/2012        14:45:44
10270      2672303029       3/13/2012       16:53:10
10271      2672304209       4/29/2012       16:58:53
10272      2672304667       10/18/2012      7:02:35
10273      2672305524       3/13/2012       7:06:34
10274      2672306660       12/6/2011       7:20:47
10275      2672307741       9/21/2012       18:52:08
10276      2672307881       9/22/2011       15:40:42
10277      2672308876       10/31/2011      7:13:05
10278      2672318238       10/3/2012       7:07:29
10279      2672338251       8/29/2011       7:42:14
10280      2672342385       12/18/2011      16:52:44
10281      2672342771       3/16/2012       15:48:27
10282      2672345168       9/14/2011       7:03:16
10283      2672345168       9/29/2011       15:33:27
10284      2672351033       10/17/2011      11:05:00
10285      2672352514       5/22/2012       18:36:13
10286      2672352887       10/12/2011      11:48:08
10287      2672355254       12/5/2011       8:56:33
10288      2672355906       11/21/2011      7:18:14
10289      2672356163       10/6/2011       17:11:31
10290      2672356736       1/14/2012       8:04:58
10291      2672357909       12/18/2011      16:57:40
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10292      2672357909       7/21/2012       10:36:39
10293      2672359244       1/11/2012       7:32:44
10294      2672359248       9/23/2011       11:34:32
10295      2672373469       2/29/2012       7:14:53
10296      2672373469       3/12/2012       7:19:39
10297      2672373469       5/21/2012       7:04:40
10298      2672377131       10/29/2011      11:30:58
10299      2672377894       3/21/2012       13:42:52
10300      2672378221       10/24/2012      14:53:40
10301      2672397033       10/12/2011      7:34:14
10302      2672400764       1/13/2012       17:34:52
10303      2672404359       10/11/2011      17:00:59
10304      2672405451       10/25/2011      15:05:38
10305      2672408616       10/10/2012      12:42:05
10306      2672411195       10/17/2012      18:27:24
10307      2672411980       12/14/2011      13:43:59
10308      2672415597       5/23/2012       14:53:05
10309      2672415737       10/29/2011      10:17:09
10310      2672417056       10/6/2012       8:56:09
10311      2672417655       9/19/2011       7:27:11
10312      2672417655       10/7/2011       7:22:01
10313      2672417733       10/17/2012      18:47:59
10314      2672425577       12/12/2011      12:10:32
10315      2672426901       12/30/2011      7:56:50
10316      2672427864       10/6/2011       17:15:39
10317      2672430354       9/8/2011        19:29:44
10318      2672430774       7/26/2012       11:52:58
10319      2672433362       10/15/2012      16:10:50
10320      2672434532       11/12/2011      10:15:21
10321      2672434648       9/22/2012       9:25:11
10322      2672434985       3/20/2012       17:48:53
10323      2672435364       5/26/2012       8:26:08
10324      2672437419       4/19/2012       7:22:52
10325      2672438573       10/15/2011      9:55:56
10326      2672439298       5/26/2012       8:45:06
10327      2672487773       5/26/2012       8:34:53
10328      2672500070       9/20/2011       17:59:23
10329      2672501998       10/5/2011       14:36:23
10330      2672502502       3/29/2012       11:15:04
10331      2672502502       5/21/2012       7:30:11
10332      2672502554       10/18/2011      12:02:57
10333      2672506004       3/19/2012       7:10:06
10334      2672506663       11/17/2011      13:40:14
10335      2672511201       1/30/2012       7:04:21
10336      2672512656       9/12/2011       13:49:27
10337      2672513891       8/3/2011        11:18:57
10338      2672520602       10/5/2011       14:10:33
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10339      2672521386       5/8/2012        9:15:53
10340      2672522376       10/8/2011       10:42:08
10341      2672523535       11/28/2011      11:17:00
10342      2672525125       9/21/2011       11:51:56
10343      2672525719       3/6/2012        15:56:00
10344      2672525848       7/28/2012       9:00:00
10345      2672526341       2/24/2011       11:34:50
10346      2672527577       9/12/2011       14:07:19
10347      2672531976       5/31/2012       7:12:43
10348      2672533791       11/22/2011      19:02:24
10349      2672537212       5/25/2011       17:23:37
10350      2672537455       2/25/2012       10:33:44
10351      2672541842       3/18/2011       9:10:46
10352      2672543839       9/26/2012       14:32:55
10353      2672552971       3/1/2014        15:09:26
10354      2672553102       10/17/2012      9:37:56
10355      2672554777       4/28/2012       8:19:29
10356      2672556502       12/5/2011       9:20:06
10357      2672570135       8/1/2011        19:12:13
10358      2672570135       8/2/2011        18:03:25
10359      2672571522       2/17/2012       18:32:07
10360      2672572769       9/21/2012       16:04:45
10361      2672575637       4/10/2012       15:28:09
10362      2672576775       10/25/2012      19:45:21
10363      2672577446       3/21/2012       7:10:08
10364      2672579203       9/23/2011       11:11:19
10365      2672579800       9/8/2012        11:07:24
10366      2672580723       2/15/2012       11:36:46
10367      2672582738       12/30/2011      16:56:11
10368      2672583797       3/23/2012       10:54:56
10369      2672585389       11/18/2011      13:28:44
10370      2672586954       8/11/2012       9:28:43
10371      2672587733       5/19/2012       9:26:10
10372      2672588009       10/21/2011      12:58:55
10373      2672588786       9/12/2012       7:46:11
10374      2672589270       12/22/2011      7:08:19
10375      2672590073       1/27/2012       7:15:58
10376      2672590254       1/10/2012       15:16:43
10377      2672590946       11/26/2011      12:39:50
10378      2672593002       11/1/2011       7:54:54
10379      2672593449       12/29/2011      18:11:00
10380      2672594004       11/23/2011      14:29:16
10381      2672594355       5/14/2012       15:19:07
10382      2672595193       9/21/2012       15:27:13
10383      2672595816       1/18/2012       16:49:57
10384      2672596191       11/9/2011       7:35:07
10385      2672598503       8/23/2012       19:06:32
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10386      2672599305       10/15/2012      16:09:51
10387      2672614351       3/8/2012        7:06:35
10388      2672650890       9/16/2011       13:15:57
10389      2672654532       1/11/2012       16:26:45
10390      2672655927       9/28/2011       10:03:54
10391      2672656106       2/6/2012        17:07:40
10392      2672662191       12/13/2011      18:37:45
10393      2672662720       11/14/2011      16:33:49
10394      2672662775       10/22/2011      12:25:03
10395      2672665083       2/1/2012        8:00:58
10396      2672665152       10/14/2011      12:42:23
10397      2672665657       4/23/2014       11:17:45
10398      2672665657       5/23/2014       10:34:04
10399      2672669925       6/19/2012       15:35:52
10400      2672690881       2/17/2012       18:16:16
10401      2672692779       3/15/2012       7:20:21
10402      2672692779       4/30/2012       14:45:07
10403      2672697696       9/14/2012       7:01:43
10404      2672698163       5/8/2012        7:05:24
10405      2672698306       3/7/2012        18:37:07
10406      2672700952       10/24/2011      7:01:55
10407      2672701755       1/6/2012        14:32:37
10408      2672707338       6/5/2012        7:05:46
10409      2672713442       9/27/2012       7:29:43
10410      2672716559       2/20/2012       16:48:40
10411      2672748412       1/19/2012       7:07:16
10412      2672756375       3/20/2012       17:47:03
10413      2672788499       12/26/2011      9:13:59
10414      2672835760       9/1/2012        9:07:40
10415      2672857763       10/22/2012      7:07:52
10416      2672887028       2/26/2012       13:14:25
10417      2672887028       3/15/2012       19:21:55
10418      2672907438       9/17/2012       7:41:49
10419      2672908348       8/8/2012        7:03:33
10420      2672909356       10/9/2012       7:33:56
10421      2672909749       7/16/2012       19:45:40
10422      2672909970       11/22/2011      18:33:06
10423      2672909970       1/5/2012        12:00:11
10424      2672960212       10/17/2011      7:30:40
10425      2672962229       2/3/2012        7:00:57
10426      2672962273       2/6/2012        17:06:45
10427      2672962273       2/18/2012       8:51:06
10428      2672979883       10/8/2012       7:10:02
10429      2672980700       5/26/2012       14:20:09
10430      2673030601       1/16/2012       17:27:15
10431      2673040015       10/12/2011      7:22:53
10432      2673042522       9/22/2011       15:53:16
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10433      2673045381       9/26/2011       8:30:02
10434      2673049832       10/18/2012      16:33:56
10435      2673070619       12/5/2011       8:32:36
10436      2673121519       9/20/2011       17:46:09
10437      2673122918       12/11/2011      12:20:03
10438      2673125886       12/6/2011       14:20:26
10439      2673127046       10/19/2011      7:27:58
10440      2673129403       9/22/2011       15:57:15
10441      2673129403       10/4/2011       13:41:52
10442      2673158897       9/30/2011       12:43:09
10443      2673176066       9/16/2011       12:57:43
10444      2673200661       5/17/2012       16:48:03
10445      2673203184       9/28/2012       16:36:04
10446      2673204183       10/13/2011      7:21:45
10447      2673205407       9/20/2012       7:07:50
10448      2673208186       10/11/2011      17:10:29
10449      2673244833       5/15/2012       7:54:37
10450      2673259449       12/18/2011      16:31:27
10451      2673287081       3/13/2012       18:37:02
10452      2673310153       8/23/2012       19:06:35
10453      2673311951       4/21/2012       16:13:23
10454      2673330558       8/20/2012       18:49:09
10455      2673330748       4/11/2012       7:11:43
10456      2673330968       1/12/2012       14:02:10
10457      2673331940       11/7/2011       7:38:12
10458      2673332121       5/2/2012        13:32:21
10459      2673332784       4/16/2012       15:56:22
10460      2673334389       5/21/2012       7:57:41
10461      2673336655       8/3/2012        7:54:36
10462      2673340885       9/24/2012       13:02:50
10463      2673341445       12/29/2011      9:57:36
10464      2673349851       1/23/2012       7:12:06
10465      2673356354       9/25/2012       14:51:02
10466      2673373323       12/12/2011      12:02:37
10467      2673375593       3/26/2012       18:21:35
10468      2673385083       11/18/2011      13:23:13
10469      2673386075       9/24/2011       9:35:57
10470      2673387040       10/31/2011      9:06:27
10471      2673391752       8/24/2011       11:43:19
10472      2673392448       1/4/2012        11:15:09
10473      2673394195       5/8/2012        7:14:28
10474      2673394667       12/6/2011       7:39:18
10475      2673394667       12/20/2011      19:32:58
10476      2673395132       11/29/2011      16:17:54
10477      2673395725       2/11/2012       10:36:26
10478      2673398870       5/22/2012       16:18:58
10479      2673398870       10/18/2012      16:51:56
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10480      2673407047       3/12/2012       19:38:15
10481      2673408099       12/13/2011      19:04:06
10482      2673421816       12/7/2011       13:12:46
10483      2673453112       5/10/2012       16:09:28
10484      2673453112       5/17/2012       17:03:20
10485      2673453453       2/17/2012       18:06:14
10486      2673453524       11/9/2013       9:34:14
10487      2673453658       5/10/2012       14:59:37
10488      2673464797       9/12/2012       14:54:23
10489      2673486190       5/21/2012       7:03:27
10490      2673493385       9/14/2011       16:16:27
10491      2673497058       11/26/2011      12:21:56
10492      2673510035       12/26/2011      8:53:27
10493      2673576728       10/15/2011      9:44:11
10494      2673577903       4/9/2012        19:07:55
10495      2673579976       11/29/2011      16:15:14
10496      2673710006       7/13/2012       7:42:34
10497      2673712617       10/24/2012      14:44:50
10498      2673724158       1/23/2012       19:08:59
10499      2673724158       3/12/2012       19:04:42
10500      2673738266       9/7/2011        14:25:11
10501      2673850191       5/23/2012       15:08:50
10502      2673919109       6/9/2012        10:42:38
10503      2674012719       9/30/2011       9:54:20
10504      2674012719       10/10/2011      11:36:24
10505      2674019273       9/21/2011       11:42:29
10506      2674020378       9/21/2011       11:49:31
10507      2674075998       7/30/2012       18:43:31
10508      2674076212       10/15/2011      8:38:08
10509      2674076785       9/2/2013        16:15:38
10510      2674143328       4/7/2012        9:26:14
10511      2674147007       3/14/2012       14:46:53
10512      2674148562       5/14/2012       15:14:54
10513      2674216631       11/14/2011      16:02:58
10514      2674321622       1/31/2012       7:13:49
10515      2674391208       6/12/2012       7:18:15
10516      2674391253       11/7/2011       8:28:56
10517      2674395168       9/30/2011       10:04:00
10518      2674395241       9/24/2011       9:36:19
10519      2674396680       9/19/2011       7:04:23
10520      2674397853       9/8/2012        11:48:34
10521      2674399288       2/4/2012        8:31:54
10522      2674428219       11/5/2011       10:59:19
10523      2674428483       9/2/2011        12:48:28
10524      2674440448       9/26/2011       7:50:43
10525      2674440734       2/8/2012        7:35:12
10526      2674440812       11/17/2011      16:40:34
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10527      2674441102       3/12/2012       19:05:16
10528      2674441943       5/1/2014        7:14:46
10529      2674443487       9/8/2011        19:40:26
10530      2674444346       9/23/2011       11:33:55
10531      2674445431       9/21/2012       18:44:58
10532      2674445945       11/28/2011      11:42:54
10533      2674445966       4/21/2012       8:36:21
10534      2674448527       11/7/2013       7:03:38
10535      2674449025       6/4/2012        8:06:55
10536      2674460598       1/4/2012        11:33:36
10537      2674460598       2/16/2012       7:18:41
10538      2674551140       12/10/2011      11:58:30
10539      2674552212       5/13/2011       11:16:52
10540      2674557785       7/11/2012       9:33:32
10541      2674557785       8/21/2012       13:49:01
10542      2674559928       2/20/2012       7:24:17
10543      2674560102       9/24/2012       19:02:24
10544      2674560600       8/15/2012       7:49:59
10545      2674561492       9/21/2011       11:48:54
10546      2674561535       12/2/2011       15:30:23
10547      2674562431       10/13/2011      7:13:50
10548      2674562646       1/16/2012       7:13:32
10549      2674563366       6/16/2012       15:06:24
10550      2674564573       11/30/2011      7:08:07
10551      2674568356       8/30/2012       17:31:15
10552      2674569887       12/26/2011      9:11:44
10553      2674638304       9/8/2012        11:19:34
10554      2674638348       4/21/2012       16:13:49
10555      2674638836       9/19/2011       19:04:48
10556      2674670516       11/18/2011      12:48:33
10557      2674671565       4/29/2012       16:59:41
10558      2674674156       10/15/2011      8:41:37
10559      2674677313       12/10/2011      12:45:01
10560      2674710134       10/27/2011      16:34:49
10561      2674710198       1/27/2012       7:19:20
10562      2674710463       4/21/2011       8:36:44
10563      2674711365       4/10/2012       15:56:59
10564      2674711641       5/31/2012       15:13:32
10565      2674715100       5/8/2012        7:15:20
10566      2674717346       8/23/2012       12:00:46
10567      2674717567       2/17/2012       18:19:17
10568      2674717954       7/16/2012       19:43:59
10569      2674718590       9/29/2012       9:47:32
10570      2674740302       9/8/2011        19:27:00
10571      2674742459       5/30/2012       12:47:58
10572      2674747877       5/1/2012        17:26:31
10573      2674748867       6/11/2012       7:21:17
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10574      2674752635       10/31/2011      7:31:25
10575      2674753162       10/20/2011      15:21:33
10576      2674754250       4/9/2012        18:06:31
10577      2674754816       9/8/2012        11:20:02
10578      2674963263       3/16/2012       16:01:31
10579      2674963263       6/19/2012       15:23:31
10580      2674967811       5/8/2012        16:58:10
10581      2674997142       2/10/2012       7:11:35
10582      2674997390       2/13/2012       18:34:19
10583      2674997496       11/28/2011      17:11:32
10584      2674997532       1/5/2012        13:57:04
10585      2675055041       8/9/2012        13:58:42
10586      2675059727       2/11/2012       15:21:46
10587      2675060502       1/12/2012       14:06:50
10588      2675064281       9/19/2011       7:24:49
10589      2675065983       3/14/2012       19:41:23
10590      2675066906       9/21/2011       19:32:28
10591      2675078723       12/28/2011      7:31:29
10592      2675161161       9/21/2011       11:29:47
10593      2675165956       10/20/2011      16:17:11
10594      2675285154       11/28/2011      11:10:40
10595      2675318028       10/26/2013      15:00:54
10596      2675318072       6/29/2012       17:43:01
10597      2675351801       5/12/2012       8:44:20
10598      2675397432       6/19/2012       13:18:02
10599      2675492796       9/27/2011       18:37:21
10600      2675494671       9/16/2011       14:07:03
10601      2675496891       9/5/2012        7:18:48
10602      2675497410       9/8/2011        18:44:08
10603      2675497410       1/14/2012       13:26:34
10604      2675497410       5/23/2012       16:42:35
10605      2675602324       9/9/2011        7:45:34
10606      2675603706       1/6/2012        14:57:22
10607      2675622973       9/13/2011       17:27:44
10608      2675674400       4/10/2012       11:48:32
10609      2675674400       6/8/2012        16:54:51
10610      2675741170       9/19/2011       19:12:11
10611      2675745310       10/25/2012      19:32:58
10612      2675751334       5/23/2012       14:50:33
10613      2675751949       6/9/2012        10:26:05
10614      2675756712       12/22/2011      9:19:22
10615      2675770880       10/13/2011      7:24:23
10616      2675796078       10/12/2012      16:44:54
10617      2675796537       5/21/2012       7:02:11
10618      2675811531       9/27/2012       16:27:10
10619      2675812066       9/10/2011       8:07:55
10620      2675815507       9/26/2011       8:22:35
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10621      2675818489       10/31/2011      7:18:18
10622      2675822525       10/29/2011      11:11:24
10623      2675822663       2/25/2012       10:57:11
10624      2675824947       12/31/2011      11:43:04
10625      2675825440       3/20/2012       8:56:56
10626      2675826340       7/20/2012       14:57:25
10627      2675827400       10/5/2011       14:00:17
10628      2675840959       10/31/2011      7:08:03
10629      2675840959       11/28/2011      17:11:19
10630      2675842024       10/1/2011       10:17:35
10631      2675842520       5/21/2012       7:25:13
10632      2675842934       12/12/2011      16:27:51
10633      2675844390       10/13/2011      7:24:22
10634      2675845265       2/29/2012       7:18:18
10635      2675845745       9/20/2011       16:37:06
10636      2675847016       6/8/2012        16:55:54
10637      2675848980       10/5/2011       10:40:04
10638      2675860576       6/13/2012       7:12:41
10639      2675861036       5/26/2012       8:42:16
10640      2675861061       11/18/2011      12:36:46
10641      2675861351       11/12/2011      9:44:38
10642      2675863514       9/14/2012       7:10:15
10643      2675864623       8/31/2012       16:24:47
10644      2675864623       10/23/2012      10:35:45
10645      2675865404       10/24/2011      7:06:23
10646      2675867412       9/7/2012        15:49:36
10647      2675880557       5/23/2012       14:50:16
10648      2675883023       2/26/2012       13:14:08
10649      2675885877       3/1/2012        8:34:05
10650      2675888095       8/20/2012       7:47:32
10651      2675889120       3/2/2012        19:10:48
10652      2675889932       1/4/2012        11:13:44
10653      2675910387       6/25/2011       8:31:05
10654      2675912811       7/30/2012       13:15:07
10655      2675916416       12/16/2011      16:03:34
10656      2675919070       12/3/2011       9:50:31
10657      2675919070       1/14/2012       13:25:55
10658      2675921432       8/16/2012       7:52:52
10659      2675921632       12/24/2011      7:23:19
10660      2675928617       3/26/2012       7:14:47
10661      2675929839       9/4/2012        15:43:52
10662      2675930846       11/18/2011      12:48:53
10663      2675932217       3/7/2012        18:40:50
10664      2675936125       12/29/2011      9:57:30
10665      2675937117       12/12/2011      16:35:02
10666      2675937490       9/26/2012       7:09:32
10667      2675953313       10/6/2011       16:17:39
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10668      2675959011       10/1/2011       10:21:36
10669      2675960608       7/15/2011       7:52:14
10670      2675962178       10/10/2011      12:10:19
10671      2675963706       10/3/2011       7:05:02
10672      2675963706       6/24/2012       11:29:52
10673      2675970427       10/3/2011       7:36:02
10674      2675970840       12/12/2011      16:34:41
10675      2675977297       8/23/2012       11:36:01
10676      2675977317       9/23/2011       11:38:20
10677      2675977505       4/12/2012       14:55:09
10678      2675979517       5/21/2012       7:31:11
10679      2676002047       10/4/2011       13:11:06
10680      2676002047       11/12/2011      9:54:41
10681      2676002047       2/1/2012        18:31:29
10682      2676002173       6/14/2012       16:01:32
10683      2676002357       1/12/2014       16:15:47
10684      2676002831       5/2/2012        13:09:27
10685      2676006534       9/25/2012       15:00:43
10686      2676008810       3/14/2012       19:42:03
10687      2676008810       3/29/2012       11:18:23
10688      2676009265       3/15/2012       18:53:37
10689      2676013643       10/5/2011       14:04:34
10690      2676026592       11/23/2011      10:16:43
10691      2676029236       5/29/2012       15:15:16
10692      2676142262       9/26/2011       8:27:30
10693      2676142262       12/20/2011      19:19:23
10694      2676157370       6/19/2012       13:15:45
10695      2676220650       9/29/2011       15:06:15
10696      2676250529       10/25/2011      15:54:30
10697      2676250529       11/18/2011      13:28:44
10698      2676253337       10/19/2011      7:34:43
10699      2676254509       3/5/2012        7:09:00
10700      2676322166       3/7/2012        7:15:31
10701      2676323279       9/19/2011       7:26:45
10702      2676323939       5/4/2012        14:26:18
10703      2676325674       11/28/2011      11:16:01
10704      2676325779       2/11/2012       15:32:59
10705      2676326421       10/20/2011      15:58:07
10706      2676327319       3/13/2012       18:35:26
10707      2676362171       10/28/2011      14:06:06
10708      2676362419       3/13/2012       16:52:54
10709      2676363247       6/4/2012        8:10:54
10710      2676363950       4/24/2012       18:00:22
10711      2676388520       9/8/2011        17:51:16
10712      2676487401       1/20/2012       11:42:02
10713      2676501846       9/21/2012       16:14:24
10714      2676505659       6/27/2012       12:10:12
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10715      2676507063       10/12/2011      7:27:50
10716      2676508433       11/17/2011      13:57:18
10717      2676508551       2/29/2012       7:06:50
10718      2676641591       12/27/2011      14:33:39
10719      2676641591       1/12/2012       14:14:52
10720      2676643798       10/21/2011      12:35:11
10721      2676704001       7/31/2012       7:05:11
10722      2676712273       11/18/2011      13:30:49
10723      2676848252       8/7/2013        9:01:01
10724      2676849304       12/29/2011      19:10:44
10725      2676881865       10/5/2011       14:27:13
10726      2676881865       10/17/2011      11:02:31
10727      2676900091       7/25/2012       11:53:23
10728      2676906155       7/2/2012        17:03:54
10729      2676944395       3/16/2012       15:48:34
10730      2676944395       5/2/2012        13:06:53
10731      2676996041       1/5/2012        12:00:54
10732      2677011952       4/12/2012       18:13:55
10733      2677027031       4/15/2012       16:23:57
10734      2677028651       3/14/2011       16:54:09
10735      2677029464       10/10/2011      11:36:18
10736      2677073884       11/4/2011       7:07:22
10737      2677077981       11/7/2011       8:31:08
10738      2677078099       2/20/2012       17:00:32
10739      2677090688       3/14/2012       19:32:00
10740      2677091418       2/14/2012       13:24:37
10741      2677094540       1/9/2012        7:15:30
10742      2677163707       8/18/2012       8:28:51
10743      2677338179       1/7/2012        9:20:05
10744      2677367661       10/17/2011      7:13:03
10745      2677453802       12/29/2011      19:16:21
10746      2677455115       1/31/2012       7:23:01
10747      2677467782       10/11/2012      18:35:44
10748      2677519215       12/23/2011      15:26:52
10749      2677563254       5/25/2012       16:59:39
10750      2677618888       1/9/2012        18:29:49
10751      2677675662       9/9/2011        7:44:35
10752      2677676136       10/10/2011      12:17:23
10753      2677678224       5/5/2012        8:13:23
10754      2677678224       5/21/2012       7:06:42
10755      2677700027       7/24/2012       7:31:57
10756      2677700306       9/9/2011        7:51:32
10757      2677700306       10/22/2011      12:26:59
10758      2677700495       5/16/2012       16:46:24
10759      2677702323       12/2/2011       7:46:54
10760      2677703619       2/14/2012       16:37:55
10761      2677704659       11/18/2011      13:29:09
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10762      2677705590       5/30/2012       16:54:22
10763      2677706385       9/21/2011       19:33:19
10764      2677706490       9/13/2011       17:25:34
10765      2677706748       9/29/2011       15:37:37
10766      2677706748       2/28/2012       15:57:56
10767      2677706934       3/14/2012       19:24:40
10768      2677707049       9/25/2012       15:00:59
10769      2677708212       11/30/2011      14:44:01
10770      2677708432       12/2/2011       7:48:30
10771      2677709608       2/28/2012       16:01:05
10772      2677721275       9/27/2012       16:34:59
10773      2677761167       1/21/2012       8:02:26
10774      2677761713       3/8/2012        7:05:24
10775      2677763322       11/2/2011       7:05:25
10776      2677769168       4/16/2012       15:48:37
10777      2677770535       1/23/2012       18:52:44
10778      2677770826       6/28/2012       14:17:52
10779      2677770926       4/5/2012        18:28:43
10780      2677770926       10/6/2012       9:00:01
10781      2677794499       1/19/2012       18:33:58
10782      2677794839       9/8/2011        17:41:30
10783      2677840641       10/8/2011       10:41:19
10784      2677843044       10/11/2012      18:39:14
10785      2677848432       9/21/2011       11:42:16
10786      2678083137       9/24/2011       9:03:42
10787      2678086276       9/21/2011       11:52:17
10788      2678086276       9/30/2011       9:56:16
10789      2678086276       5/21/2012       7:21:48
10790      2678090707       1/25/2012       9:13:48
10791      2678093670       10/18/2012      7:13:38
10792      2678093926       12/31/2011      11:42:28
10793      2678164232       11/14/2011      14:27:37
10794      2678165531       9/22/2011       15:05:11
10795      2678165914       9/21/2011       11:24:33
10796      2678180193       12/1/2011       7:57:59
10797      2678194125       8/15/2011       8:00:21
10798      2678254441       11/23/2011      10:27:32
10799      2678501245       10/10/2011      11:43:47
10800      2678504776       1/3/2012        16:23:48
10801      2678647169       8/6/2011        8:24:08
10802      2678648248       12/23/2011      13:59:23
10803      2678794389       10/18/2012      16:29:41
10804      2678823840       1/31/2012       7:06:35
10805      2678825239       2/14/2012       16:35:48
10806      2678844893       12/2/2011       7:57:42
10807      2678866933       10/18/2011      12:05:44
10808      2678867682       6/11/2012       17:55:54
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10809      2678880695       12/26/2011      9:11:25
10810      2678880859       7/5/2012        15:28:53
10811      2679020450       3/2/2012        18:42:08
10812      2679020747       4/29/2012       16:58:43
10813      2679020747       6/15/2012       16:36:24
10814      2679021763       9/8/2011        18:38:26
10815      2679023813       1/10/2012       18:03:12
10816      2679090749       10/21/2011      13:08:17
10817      2679125619       4/6/2012        16:07:50
10818      2679129678       9/22/2011       15:40:42
10819      2679180159       9/26/2012       7:12:45
10820      2679188441       10/2/2012       7:30:27
10821      2679188941       3/22/2012       7:58:53
10822      2679349863       5/13/2012       17:16:08
10823      2679390598       11/23/2011      9:28:23
10824      2679390598       1/13/2012       7:30:03
10825      2679393655       7/11/2011       7:08:07
10826      2679496009       10/15/2012      16:15:41
10827      2679496009       10/25/2012      19:42:32
10828      2679496044       7/19/2012       17:31:44
10829      2679497882       5/14/2012       15:17:06
10830      2679680875       1/18/2012       16:35:56
10831      2679680875       1/27/2012       7:20:59
10832      2679687070       6/4/2011        10:01:50
10833      2679688887       1/8/2012        16:46:06
10834      2679688887       1/17/2012       18:50:02
10835      2679703927       4/15/2014       10:33:35
10836      2679704782       6/29/2011       17:07:02
10837      2679706808       1/9/2012        18:05:10
10838      2679708982       1/6/2012        12:54:37
10839      2679708982       2/10/2012       20:42:59
10840      2679710666       7/23/2012       13:19:34
10841      2679711288       4/7/2012        9:04:50
10842      2679712975       9/30/2011       10:16:32
10843      2679713518       9/19/2012       8:00:42
10844      2679715340       3/13/2012       18:39:05
10845      2679715537       10/11/2011      15:57:30
10846      2679717466       5/18/2012       11:53:58
10847      2679717638       8/11/2012       9:20:12
10848      2679717750       8/8/2012        7:01:56
10849      2679718352       5/19/2012       9:38:17
10850      2679720367       11/17/2011      15:24:30
10851      2679722323       10/16/2012      20:31:16
10852      2679725199       1/5/2012        13:58:37
10853      2679726612       11/9/2011       7:36:16
10854      2679727207       4/11/2012       13:17:16
10855      2679728870       10/18/2012      16:41:09
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10856      2679730200       6/6/2012        7:15:03
10857      2679731978       6/30/2012       8:14:43
10858      2679736771       5/14/2012       7:03:59
10859      2679736771       5/21/2012       7:33:12
10860      2679739475       8/16/2012       19:46:39
10861      2679742872       2/10/2012       16:50:47
10862      2679742872       6/19/2012       15:23:42
10863      2679743684       3/11/2011       16:38:44
10864      2679744281       10/22/2011      12:55:41
10865      2679746287       9/19/2011       19:25:31
10866      2679748320       11/9/2011       7:54:27
10867      2679748950       7/22/2012       12:15:01
10868      2679749829       10/1/2011       10:14:42
10869      2679752077       7/9/2012        7:05:49
10870      2679754260       5/18/2012       12:05:08
10871      2679755489       3/25/2012       11:46:50
10872      2679755489       7/9/2012        18:57:50
10873      2679758062       11/17/2011      16:20:47
10874      2679759302       12/1/2011       15:17:32
10875      2679770082       6/16/2012       7:38:47
10876      2679770951       12/16/2011      16:06:26
10877      2679771282       3/14/2012       7:04:03
10878      2679772271       9/19/2011       19:02:29
10879      2679773186       11/17/2011      16:40:32
10880      2679776072       2/26/2012       13:14:47
10881      2679777109       4/12/2012       18:17:43
10882      2679782450       8/2/2012        18:48:15
10883      2679782812       8/29/2011       13:00:30
10884      2679783210       5/23/2012       16:34:28
10885      2679783679       7/14/2011       8:05:34
10886      2679784942       9/21/2011       19:32:16
10887      2679785013       8/2/2012        11:33:58
10888      2679786031       5/18/2012       15:44:30
10889      2679791737       12/6/2011       7:28:47
10890      2679792060       8/30/2012       17:40:38
10891      2679796915       10/17/2011      7:11:43
10892      2679798797       9/24/2011       9:30:24
10893      2679802763       10/27/2011      16:33:14
10894      2679807527       7/14/2011       15:51:53
10895      2679809759       6/27/2012       17:49:24
10896      2679809759       7/12/2012       19:56:17
10897      2679810246       3/15/2012       19:05:51
10898      2679813580       12/7/2011       13:14:29
10899      2679815034       7/3/2012        13:04:54
10900      2679847766       11/29/2011      15:20:36
10901      2679849613       9/3/2012        14:41:48
10902      2679871326       9/20/2011       19:27:15
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10903      2679871327       10/4/2011       13:45:00
10904      2679871431       11/19/2011      8:11:25
10905      2679877963       4/16/2012       15:42:46
10906      2679878804       1/10/2012       15:13:46
10907      2679878804       4/15/2012       16:39:06
10908      2679885144       4/5/2012        14:23:00
10909      2679912057       11/7/2011       7:27:01
10910      2679912258       9/23/2011       8:17:56
10911      2679913907       7/23/2011       11:45:05
10912      2679914592       9/21/2011       13:19:30
10913      2679914592       10/6/2011       9:27:07
10914      2679921490       11/28/2011      17:39:24
10915      2679926926       8/2/2011        18:08:55
10916      2679926981       10/27/2011      15:16:16
10917      2679941715       8/19/2012       12:04:10
10918      2679944389       2/17/2012       9:20:22
10919      2679971428       10/4/2011       13:33:54
10920      2679976243       3/26/2012       18:19:43
10921      2679976345       8/18/2011       7:44:22
10922      2679978635       5/11/2012       12:09:40
10923      2692080826       12/7/2011       17:50:59
10924      2692087761       5/2/2012        13:09:16
10925      2692093986       7/2/2012        17:30:20
10926      2692096676       7/18/2012       18:24:21
10927      2692098541       7/5/2012        7:49:49
10928      2692098541       8/28/2012       7:32:16
10929      2692098581       10/4/2011       13:33:13
10930      2692134005       9/30/2011       12:15:08
10931      2692141657       5/19/2012       16:03:22
10932      2692142411       6/21/2012       18:18:54
10933      2692142929       1/16/2012       17:29:19
10934      2692144213       1/4/2012        11:32:57
10935      2692146069       9/28/2011       10:03:38
10936      2692146078       1/17/2012       17:36:56
10937      2692146078       3/16/2012       10:16:40
10938      2692171591       11/21/2011      7:23:24
10939      2692174922       10/14/2011      12:47:57
10940      2692219841       10/22/2012      17:56:07
10941      2692230662       9/19/2011       19:08:15
10942      2692233020       4/3/2012        7:01:42
10943      2692233034       11/30/2011      7:11:56
10944      2692233197       11/25/2011      18:05:03
10945      2692233229       7/26/2012       12:01:11
10946      2692233774       3/13/2012       18:58:11
10947      2692234613       3/16/2012       16:08:01
10948      2692280189       7/28/2011       10:04:13
10949      2692401341       4/25/2012       15:47:27
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10950      2692482249       11/1/2013       18:46:41
10951      2692510091       11/19/2011      8:35:35
10952      2692517713       11/30/2011      7:03:44
10953      2692672913       9/22/2011       15:05:44
10954      2692709632       1/20/2012       14:26:11
10955      2692744553       9/12/2012       7:49:16
10956      2692748978       1/10/2012       15:26:54
10957      2692749245       5/22/2012       11:18:02
10958      2692753922       12/20/2011      19:31:08
10959      2692753922       1/13/2012       17:22:22
10960      2692771673       12/26/2011      9:23:09
10961      2692909728       10/26/2011      11:57:36
10962      2693034879       12/1/2011       14:49:18
10963      2693260727       2/17/2012       8:56:03
10964      2693260727       5/15/2012       19:04:53
10965      2693520119       4/5/2012        15:48:51
10966      2693524975       1/9/2012        18:26:20
10967      2693526412       4/23/2014       11:41:09
10968      2693527441       9/27/2012       16:23:14
10969      2693527464       11/4/2011       7:22:44
10970      2693529964       12/27/2011      13:36:59
10971      2693636854       1/4/2012        10:59:26
10972      2693652034       9/14/2011       11:10:51
10973      2693665366       10/10/2012      12:41:59
10974      2693692609       1/24/2012       17:15:14
10975      2693694523       8/2/2012        18:50:49
10976      2693885913       11/17/2011      16:43:46
10977      2694193445       6/30/2012       16:00:45
10978      2694198602       7/23/2012       13:19:49
10979      2694205732       12/20/2011      19:34:15
10980      2694252598       1/23/2012       19:37:37
10981      2694252598       5/1/2012        17:56:38
10982      2694252985       8/18/2012       8:30:26
10983      2694260533       4/9/2012        13:49:10
10984      2694558128       11/15/2011      16:14:20
10985      2694649338       7/2/2012        14:58:42
10986      2694701449       8/24/2012       7:37:56
10987      2694707134       10/4/2011       13:34:27
10988      2694844271       11/29/2011      16:22:25
10989      2694870489       10/1/2011       10:34:03
10990      2694870489       3/6/2012        17:10:00
10991      2694877214       6/8/2012        19:43:11
10992      2694892243       4/28/2012       8:28:38
10993      2695010878       9/28/2011       10:05:17
10994      2695061234       8/6/2011        9:15:56
10995      2695068972       7/7/2012        10:11:04
10996      2695097749       1/20/2012       14:41:32
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10997      2695193414       6/19/2012       15:48:10
10998      2695198487       9/16/2011       13:36:08
10999      2695350494       11/29/2011      16:09:34
11000      2695472405       12/29/2011      10:01:35
11001      2695893475       3/16/2012       15:51:03
11002      2695899785       1/11/2012       7:27:28
11003      2695911485       3/6/2012        15:55:17
11004      2695982279       11/18/2011      12:47:09
11005      2695991571       4/17/2012       9:28:49
11006      2695992526       3/25/2012       11:55:05
11007      2695999984       5/22/2012       11:16:09
11008      2696053011       4/1/2012        16:26:45
11009      2696057202       12/14/2011      14:46:22
11010      2696059421       4/3/2012        18:03:37
11011      2696159150       9/21/2012       18:51:35
11012      2696252672       11/17/2011      16:45:37
11013      2696554638       10/17/2011      7:57:36
11014      2696557490       11/28/2011      11:12:28
11015      2696729175       8/29/2011       13:21:19
11016      2696899367       10/17/2012      9:41:33
11017      2697187088       5/14/2012       15:36:50
11018      2697187088       5/21/2012       7:07:29
11019      2697188322       9/22/2011       15:58:48
11020      2697188536       1/13/2012       17:23:36
11021      2697205052       1/2/2012        7:23:19
11022      2697206595       10/8/2011       9:32:03
11023      2697207418       11/23/2011      9:14:14
11024      2697207723       10/25/2011      15:07:56
11025      2697533273       5/31/2012       7:15:14
11026      2697533923       12/20/2011      17:47:20
11027      2697602589       2/6/2012        17:14:09
11028      2697620315       10/13/2011      7:12:29
11029      2697796167       8/8/2012        16:10:00
11030      2697884037       6/2/2011        11:00:52
11031      2697885649       3/22/2012       14:18:40
11032      2698062299       9/17/2012       7:41:23
11033      2698062299       9/24/2012       12:47:43
11034      2698160903       12/18/2011      16:31:26
11035      2698161243       3/3/2012        8:38:36
11036      2698233777       2/10/2012       7:11:20
11037      2698304047       7/27/2012       13:03:42
11038      2698304818       4/11/2012       19:30:10
11039      2698304818       4/15/2012       16:53:20
11040      2698307074       9/14/2013       15:31:00
11041      2698329498       7/10/2012       7:25:46
11042      2698381675       10/15/2011      8:59:50
11043      2698383927       9/22/2011       15:41:28
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11044      2698410371       10/26/2011      11:58:29
11045      2698457153       9/20/2011       16:34:28
11046      2698613016       10/11/2011      17:03:58
11047      2698619350       2/4/2012        8:23:33
11048      2698732519       2/13/2012       18:42:04
11049      2698732715       2/29/2012       17:43:59
11050      2698735785       9/30/2011       9:55:44
11051      2698735785       10/12/2011      8:00:38
11052      2698769463       10/24/2011      7:07:16
11053      2699132139       9/27/2011       18:24:19
11054      2699244375       10/12/2011      7:29:30
11055      2699248631       9/13/2011       7:17:59
11056      2699290323       3/12/2012       19:05:04
11057      2699291770       9/9/2011        7:29:05
11058      2699292486       11/22/2011      19:08:58
11059      2699483158       10/6/2011       16:32:31
11060      2699488905       10/14/2011      12:48:35
11061      2699860672       5/12/2012       8:42:44
11062      2699862741       10/20/2011      15:33:44
11063      2702000182       9/8/2012        11:22:55
11064      2702020226       9/5/2012        15:26:09
11065      2702024822       9/20/2011       20:43:19
11066      2702103934       3/14/2012       20:04:48
11067      2702173000       12/18/2011      16:43:10
11068      2702176441       9/19/2011       8:09:46
11069      2702176441       9/22/2011       16:03:05
11070      2702230611       1/7/2012        9:23:29
11071      2702250835       7/27/2012       20:39:17
11072      2702258639       8/11/2012       9:38:35
11073      2702263555       3/1/2012        8:53:28
11074      2702263776       10/27/2011      16:46:41
11075      2702305337       9/27/2011       18:39:56
11076      2702305675       1/11/2012       8:47:34
11077      2702306090       2/7/2012        17:10:56
11078      2702306090       7/22/2012       15:59:38
11079      2702312593       11/28/2011      17:53:09
11080      2702312595       1/17/2012       17:04:03
11081      2702316064       9/23/2011       18:47:46
11082      2702344452       7/3/2012        13:00:34
11083      2702440593       9/29/2011       15:50:16
11084      2702460580       5/11/2011       17:00:32
11085      2702460868       4/4/2012        8:12:23
11086      2702502292       9/8/2011        18:59:49
11087      2702504704       5/23/2012       16:50:40
11088      2702540845       4/11/2012       12:57:29
11089      2702546183       6/20/2011       14:19:00
11090      2702551008       9/10/2012       8:40:52
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11091      2702551009       8/29/2012       20:17:58
11092      2702560228       9/13/2011       17:50:11
11093      2702560372       9/20/2012       8:44:45
11094      2702561593       11/17/2011      14:13:35
11095      2702563336       9/9/2011        7:48:33
11096      2702564926       6/23/2012       16:15:49
11097      2702567695       10/26/2011      12:59:51
11098      2702568400       11/11/2011      13:45:27
11099      2702569104       1/31/2012       10:06:44
11100      2702569760       2/17/2012       9:14:51
11101      2702685212       6/7/2012        15:10:47
11102      2702685368       12/31/2011      11:49:59
11103      2702686902       9/8/2011        19:50:51
11104      2702871773       3/15/2012       18:57:50
11105      2702873211       9/10/2012       8:46:36
11106      2702873464       11/3/2011       17:54:46
11107      2702873565       11/25/2011      18:29:38
11108      2702930575       2/28/2012       13:16:05
11109      2702934382       10/25/2011      15:26:54
11110      2702934959       4/18/2012       17:59:25
11111      2702938323       9/11/2012       15:15:33
11112      2702996314       5/29/2012       17:14:25
11113      2703028497       3/26/2012       18:44:06
11114      2703029413       10/6/2011       16:48:22
11115      2703047604       7/2/2012        17:00:27
11116      2703051837       9/19/2012       16:22:51
11117      2703052684       1/26/2012       10:07:42
11118      2703052935       11/23/2011      9:46:38
11119      2703056062       6/30/2011       8:55:36
11120      2703081879       8/14/2012       20:56:41
11121      2703081899       10/17/2012      12:55:11
11122      2703123101       10/19/2011      7:22:09
11123      2703126540       10/25/2012      19:33:31
11124      2703126576       9/22/2011       15:42:07
11125      2703129647       10/6/2011       16:15:54
11126      2703130490       9/10/2011       9:12:43
11127      2703130731       3/21/2012       13:50:09
11128      2703131757       12/7/2011       14:14:25
11129      2703131757       12/20/2011      19:24:13
11130      2703131868       11/3/2011       17:24:29
11131      2703133341       6/22/2012       20:59:47
11132      2703134033       7/20/2011       13:45:59
11133      2703138367       11/3/2011       17:54:40
11134      2703140881       6/16/2012       15:31:07
11135      2703141223       4/30/2012       14:33:26
11136      2703144119       3/30/2012       10:07:02
11137      2703144554       7/25/2012       20:41:19
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11138      2703151524       2/24/2012       17:29:29
11139      2703151974       1/9/2012        18:40:22
11140      2703155323       6/9/2011        10:57:34
11141      2703155323       10/4/2011       13:21:11
11142      2703155722       9/26/2011       9:34:11
11143      2703157783       6/9/2012        10:34:24
11144      2703163650       12/26/2011      19:59:12
11145      2703164284       6/1/2011        12:13:25
11146      2703164440       1/27/2012       20:07:32
11147      2703166823       11/30/2011      8:04:33
11148      2703171559       9/6/2012        12:31:56
11149      2703171845       10/22/2011      13:00:22
11150      2703174032       9/22/2011       15:41:42
11151      2703175168       2/13/2012       7:06:35
11152      2703180040       10/5/2011       14:15:21
11153      2703180600       10/15/2011      9:36:23
11154      2703191396       10/10/2011      11:47:04
11155      2703193335       12/20/2011      17:49:52
11156      2703193858       12/21/2011      9:47:47
11157      2703201424       8/6/2012        16:28:57
11158      2703201500       10/10/2011      12:00:48
11159      2703201944       10/15/2011      9:40:50
11160      2703204743       9/24/2011       9:23:42
11161      2703204743       10/22/2011      12:41:28
11162      2703204812       9/8/2011        19:51:07
11163      2703206143       9/16/2011       13:00:56
11164      2703207497       1/15/2014       11:47:27
11165      2703311078       10/22/2011      13:10:20
11166      2703312058       7/18/2012       8:32:02
11167      2703384568       12/2/2011       8:19:50
11168      2703391645       7/19/2011       17:59:47
11169      2703392105       7/23/2012       15:31:26
11170      2703393843       7/2/2012        15:21:53
11171      2703397315       3/28/2011       15:32:21
11172      2703397315       9/20/2011       18:25:31
11173      2703398154       10/6/2012       8:37:00
11174      2703481976       11/30/2011      15:21:04
11175      2703484407       7/13/2012       18:29:38
11176      2703486039       12/24/2011      8:10:18
11177      2703493003       12/21/2011      9:59:13
11178      2703493385       2/21/2012       11:25:32
11179      2703505835       9/14/2011       12:09:40
11180      2703505985       5/23/2011       16:02:58
11181      2703506166       1/13/2012       17:39:22
11182      2703508213       10/22/2011      13:10:25
11183      2703560305       1/4/2012        11:21:00
11184      2703560529       3/2/2012        18:46:48
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11185      2703566626       12/21/2011      19:51:27
11186      2703631152       1/5/2012        14:02:57
11187      2703633325       12/22/2011      9:39:56
11188      2703651158       10/24/2011      8:13:42
11189      2703664802       1/11/2012       8:56:10
11190      2703925681       7/23/2011       13:00:03
11191      2704013436       10/4/2011       13:31:23
11192      2704018771       10/8/2011       9:34:41
11193      2704021162       4/5/2012        15:48:22
11194      2704021162       4/11/2012       10:42:39
11195      2704025677       10/1/2011       10:11:40
11196      2704033314       8/13/2011       11:33:07
11197      2704041390       7/15/2011       17:42:30
11198      2704043893       3/20/2012       9:28:21
11199      2704056505       10/17/2011      8:10:37
11200      2704056607       3/16/2012       10:17:36
11201      2704057017       10/15/2011      10:24:55
11202      2704073337       7/13/2012       13:59:54
11203      2704078597       9/21/2011       11:58:48
11204      2704079003       1/8/2012        13:15:36
11205      2704079608       9/29/2011       15:48:58
11206      2704079944       11/19/2011      8:31:52
11207      2704386293       7/3/2012        12:23:25
11208      2704389615       1/26/2012       9:57:49
11209      2704540524       8/17/2011       18:48:36
11210      2704541618       7/13/2012       16:51:44
11211      2704544622       1/6/2012        15:56:02
11212      2704590498       9/10/2011       8:39:00
11213      2704592544       1/10/2012       15:18:24
11214      2704695791       9/23/2011       18:57:56
11215      2704698338       10/22/2012      7:11:01
11216      2704845733       3/15/2012       14:00:22
11217      2704852074       8/30/2012       17:43:51
11218      2704985425       8/20/2012       18:45:27
11219      2704986342       9/19/2012       7:56:04
11220      2704986418       10/24/2012      15:01:16
11221      2705010020       6/9/2012        14:43:42
11222      2705195504       12/2/2011       8:27:37
11223      2705197817       9/6/2012        12:33:08
11224      2705354196       9/14/2012       8:08:40
11225      2705358259       10/31/2011      8:30:45
11226      2705434345       4/3/2012        20:15:06
11227      2705434565       11/14/2011      17:00:05
11228      2705438255       11/11/2011      13:43:05
11229      2705438693       3/1/2012        12:22:53
11230      2705562085       5/17/2012       11:42:57
11231      2705565355       10/15/2011      9:38:26
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11232      2705566710       7/13/2012       17:07:19
11233      2705592796       10/7/2012       12:42:00
11234      2705595387       12/10/2011      12:16:25
11235      2705640847       11/12/2011      10:43:28
11236      2705642858       11/10/2011      8:12:41
11237      2705643933       10/15/2011      9:34:37
11238      2705643995       12/20/2011      19:37:58
11239      2705645159       9/20/2011       16:49:59
11240      2705647333       10/5/2011       14:42:42
11241      2705647333       11/5/2011       11:33:55
11242      2705648389       5/15/2012       8:43:48
11243      2705648946       9/25/2012       14:45:15
11244      2705661305       2/9/2012        9:34:29
11245      2705662305       9/26/2011       9:44:27
11246      2705662990       9/4/2013        18:04:39
11247      2705663945       12/28/2011      13:12:38
11248      2705664138       10/7/2011       8:07:42
11249      2705664486       10/6/2011       17:44:35
11250      2705721022       10/1/2011       10:30:12
11251      2705726968       9/22/2011       16:02:59
11252      2705761014       10/29/2011      11:43:15
11253      2705767240       11/8/2011       14:33:40
11254      2705768129       3/20/2012       9:20:12
11255      2705768129       3/29/2012       16:44:13
11256      2705770787       9/22/2012       9:38:26
11257      2705775432       10/19/2012      19:09:48
11258      2705776043       5/16/2012       8:04:49
11259      2705777701       3/23/2012       19:52:35
11260      2705843045       11/5/2011       11:18:16
11261      2705844654       1/6/2012        14:57:40
11262      2705853297       6/26/2012       7:58:19
11263      2705859200       1/18/2012       9:56:04
11264      2705894253       11/7/2011       9:25:18
11265      2705899244       1/11/2012       8:48:14
11266      2705902118       3/15/2011       13:05:51
11267      2705902938       10/3/2012       19:55:57
11268      2706011399       10/5/2011       14:44:51
11269      2706013922       12/6/2011       12:58:13
11270      2706040991       6/14/2012       15:54:15
11271      2706043549       11/25/2011      18:23:09
11272      2706045040       2/11/2012       15:10:51
11273      2706081255       2/17/2012       9:03:40
11274      2706081255       3/15/2012       18:58:15
11275      2706081763       3/12/2012       11:08:31
11276      2706081848       9/10/2011       9:16:55
11277      2706084655       3/21/2012       13:51:26
11278      2706084655       3/29/2012       16:34:18
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11279      2706084695       10/11/2012      18:41:31
11280      2706085031       10/12/2012      16:54:34
11281      2706085462       8/4/2012        8:03:34
11282      2706174477       9/3/2011        10:56:25
11283      2706191881       2/6/2012        17:20:44
11284      2706250161       4/25/2012       9:33:43
11285      2706253598       10/13/2011      8:25:52
11286      2706254040       11/7/2011       9:23:57
11287      2706259462       4/9/2012        14:02:51
11288      2706273799       5/21/2012       17:41:28
11289      2706342686       2/17/2012       9:14:58
11290      2706351943       9/23/2011       11:47:26
11291      2706352206       3/20/2012       17:40:18
11292      2706352644       2/9/2012        20:30:22
11293      2706352644       2/17/2012       18:12:31
11294      2706353041       12/6/2011       12:51:43
11295      2706355654       11/1/2011       8:10:52
11296      2706928315       11/28/2011      11:46:31
11297      2707031200       7/20/2011       14:08:09
11298      2707033145       7/2/2012        15:34:56
11299      2707037088       10/27/2011      16:51:26
11300      2707040790       10/14/2011      12:56:57
11301      2707045191       3/12/2012       19:29:34
11302      2707045454       9/17/2011       10:24:23
11303      2707045969       12/28/2011      8:43:35
11304      2707051494       9/9/2011        18:16:11
11305      2707051707       5/20/2011       18:07:54
11306      2707242781       2/20/2012       8:50:40
11307      2707340267       10/24/2011      7:05:56
11308      2707352352       8/5/2011        17:28:40
11309      2707352376       3/5/2012        7:12:11
11310      2707485153       10/4/2011       13:10:16
11311      2707637582       6/19/2012       14:11:40
11312      2707667124       1/11/2012       7:33:45
11313      2707669161       1/12/2012       14:11:49
11314      2707698670       3/1/2012        8:44:13
11315      2707721058       9/29/2011       15:53:44
11316      2707721058       10/6/2011       17:38:32
11317      2707721796       11/3/2011       17:22:14
11318      2707722381       4/13/2012       20:45:30
11319      2707723027       1/21/2012       8:59:44
11320      2707755089       9/18/2012       14:18:35
11321      2707760978       9/4/2013        18:18:15
11322      2707761009       6/10/2011       8:22:31
11323      2707762939       2/21/2012       20:53:23
11324      2707762939       8/6/2012        16:24:56
11325      2707766466       7/11/2012       17:26:21
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11326      2707841176       9/21/2011       13:32:09
11327      2707842467       5/19/2012       9:44:33
11328      2707849535       8/16/2011       16:52:07
11329      2707849576       5/13/2012       17:40:08
11330      2707910024       7/10/2012       11:59:41
11331      2707912515       12/10/2011      12:16:40
11332      2707915297       1/3/2012        10:21:04
11333      2707915481       1/25/2012       20:26:13
11334      2707922120       10/13/2012      9:12:21
11335      2707922479       10/11/2012      18:31:46
11336      2707923781       4/25/2012       9:29:52
11337      2707924645       2/25/2012       11:04:30
11338      2707929802       5/20/2011       17:57:02
11339      2707992702       3/8/2012        20:25:53
11340      2707992741       10/28/2011      14:22:05
11341      2707993514       2/24/2012       20:52:14
11342      2707994969       7/30/2012       13:40:00
11343      2707997113       9/10/2011       8:30:45
11344      2707997957       10/5/2011       14:16:01
11345      2707998141       10/5/2012       12:16:08
11346      2707998141       10/15/2012      16:10:50
11347      2707998219       4/28/2012       8:12:22
11348      2708017354       10/3/2012       19:46:55
11349      2708040532       6/26/2012       16:21:31
11350      2708040969       12/20/2011      15:09:52
11351      2708048799       9/28/2012       16:48:16
11352      2708048826       9/20/2011       18:18:01
11353      2708162075       12/13/2011      18:00:59
11354      2708163412       3/25/2012       12:01:07
11355      2708163412       9/26/2012       14:41:16
11356      2708164720       11/14/2011      17:03:46
11357      2708165531       7/31/2012       15:40:09
11358      2708165854       2/12/2012       15:43:34
11359      2708167724       5/11/2012       10:42:20
11360      2708168847       3/8/2012        9:20:47
11361      2708310351       3/17/2012       10:50:44
11362      2708310384       11/1/2011       8:13:38
11363      2708349152       3/27/2012       15:04:26
11364      2708363654       6/5/2012        14:48:28
11365      2708365156       11/30/2011      8:07:58
11366      2708366163       5/11/2012       10:41:58
11367      2708390320       3/6/2012        20:27:47
11368      2708442059       8/13/2012       20:51:27
11369      2708472154       3/12/2012       11:19:08
11370      2708475301       12/18/2011      17:23:59
11371      2708476693       9/13/2011       16:06:38
11372      2708479655       10/20/2011      15:40:46
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11373      2708495468       6/29/2012       9:45:32
11374      2708495779       9/27/2011       18:05:08
11375      2708495779       10/10/2011      12:14:33
11376      2708495779       10/15/2011      9:45:59
11377      2708497995       9/23/2011       18:41:32
11378      2708551208       2/29/2012       17:26:07
11379      2708551208       6/7/2012        15:50:49
11380      2708695006       11/17/2011      14:13:43
11381      2708710674       8/13/2012       20:56:04
11382      2708711731       1/10/2012       15:32:28
11383      2708713136       10/7/2011       8:05:10
11384      2708713136       10/25/2011      15:35:45
11385      2708713136       12/5/2011       9:53:55
11386      2708715724       11/14/2011      17:12:19
11387      2708718108       6/14/2012       20:55:32
11388      2708718662       12/10/2011      13:22:09
11389      2708727156       2/15/2012       11:41:07
11390      2708729198       11/2/2011       7:13:13
11391      2708747431       7/16/2012       9:39:54
11392      2708756052       10/7/2012       13:04:32
11393      2708810627       9/17/2011       10:19:29
11394      2708817503       10/12/2011      8:44:04
11395      2708817796       6/4/2012        8:38:18
11396      2708931965       10/4/2011       13:53:22
11397      2708931965       12/6/2011       13:08:29
11398      2708932448       9/22/2012       9:05:48
11399      2708932979       1/24/2012       10:27:19
11400      2708939012       6/9/2011        10:49:24
11401      2708990718       7/20/2011       13:52:23
11402      2709019695       10/9/2012       11:40:33
11403      2709030340       12/29/2011      10:59:28
11404      2709030340       2/6/2012        16:45:21
11405      2709030340       3/15/2012       19:03:49
11406      2709032162       3/13/2012       12:49:08
11407      2709033001       9/26/2012       14:33:06
11408      2709033502       9/22/2011       15:19:09
11409      2709035499       5/8/2012        12:32:11
11410      2709038975       1/3/2012        19:47:40
11411      2709038975       1/10/2012       15:18:13
11412      2709038975       1/23/2012       18:59:57
11413      2709063018       6/17/2012       12:26:45
11414      2709065487       5/28/2011       10:34:11
11415      2709227766       6/17/2012       12:26:31
11416      2709254100       3/26/2012       14:34:58
11417      2709255650       10/9/2012       20:01:55
11418      2709256167       3/28/2012       18:14:42
11419      2709297088       2/13/2012       18:31:33
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11420      2709297664       10/16/2012      8:47:44
11421      2709332738       8/16/2012       19:47:22
11422      2709336181       6/9/2012        14:52:59
11423      2709400127       1/21/2012       8:22:50
11424      2709400127       2/11/2012       10:39:47
11425      2709452241       11/8/2011       13:58:24
11426      2709459216       1/12/2012       14:00:36
11427      2709520568       5/29/2012       17:06:54
11428      2709524185       9/7/2012        15:42:53
11429      2709526168       1/7/2012        9:43:19
11430      2709631675       5/11/2012       12:27:40
11431      2709705054       12/23/2011      14:21:29
11432      2709707047       9/21/2011       11:53:18
11433      2709776302       8/20/2012       18:43:56
11434      2709776808       7/19/2011       16:46:12
11435      2709777779       5/21/2012       17:40:57
11436      2709782541       1/3/2012        11:18:31
11437      2709782542       1/5/2012        17:30:08
11438      2709802233       5/21/2012       7:09:50
11439      2709802233       5/21/2012       8:00:11
11440      2709853238       3/31/2012       17:50:52
11441      2709853777       11/4/2011       8:57:34
11442      2709871102       9/13/2011       14:01:17
11443      2709872554       7/12/2012       19:53:56
11444      2709872748       9/22/2012       9:38:09
11445      2709919159       6/8/2012        17:00:24
11446      2709919398       9/7/2013        16:43:11
11447      2709948861       11/21/2011      8:36:52
11448      2709949944       10/10/2012      12:44:14
11449      2709959887       12/20/2011      12:40:23
11450      2709970314       2/7/2012        8:07:19
11451      2709991073       2/7/2012        8:09:24
11452      2709994068       3/28/2012       18:22:54
11453      2709994753       11/26/2011      13:23:36
11454      2709994753       2/20/2012       17:09:52
11455      2709995317       4/14/2012       9:22:11
11456      2709996823       12/26/2011      20:20:48
11457      2762022275       11/21/2011      7:26:45
11458      2762024063       10/5/2012       12:14:35
11459      2762027276       11/26/2011      12:59:26
11460      2762061219       7/27/2012       15:29:32
11461      2762063739       11/3/2011       17:19:57
11462      2762063740       10/12/2011      12:07:31
11463      2762107948       9/15/2012       8:14:23
11464      2762180128       4/10/2012       15:27:55
11465      2762190209       5/29/2012       7:11:27
11466      2762191770       12/31/2011      11:46:20
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11467      2762195459       2/2/2012        7:17:46
11468      2762242939       10/14/2011      12:44:37
11469      2762243241       8/8/2012        7:09:02
11470      2762246269       4/9/2012        18:06:59
11471      2762331234       9/24/2011       9:11:21
11472      2762332761       9/13/2011       7:02:44
11473      2762334221       10/27/2011      15:15:44
11474      2762334614       9/16/2011       13:18:50
11475      2762335223       9/21/2011       11:40:21
11476      2762335705       6/9/2012        14:59:25
11477      2762336383       9/21/2012       15:26:30
11478      2762337264       10/8/2011       11:00:23
11479      2762339684       4/4/2011        12:46:28
11480      2762350038       10/11/2011      17:10:48
11481      2762351252       9/17/2011       9:19:47
11482      2762373364       1/21/2012       8:17:53
11483      2762373519       12/21/2011      10:03:22
11484      2762373859       9/15/2011       7:24:20
11485      2762374058       10/10/2011      12:25:15
11486      2762374387       4/19/2012       7:16:25
11487      2762375344       6/19/2012       15:43:41
11488      2762376031       11/23/2011      9:25:03
11489      2762450114       12/2/2011       7:51:58
11490      2762450203       4/2/2012        7:12:22
11491      2762455129       9/21/2012       15:25:48
11492      2762458197       7/27/2012       15:28:06
11493      2762528271       10/9/2012       20:00:16
11494      2762745980       3/19/2012       19:11:00
11495      2763360774       9/19/2011       19:03:48
11496      2763404463       1/4/2012        11:15:31
11497      2763451194       5/21/2012       8:45:56
11498      2763453895       7/26/2011       7:09:17
11499      2763463466       8/14/2012       11:47:36
11500      2763463890       9/21/2012       18:39:45
11501      2763581163       8/15/2012       7:48:11
11502      2763582423       8/20/2012       18:50:44
11503      2763654899       8/12/2011       11:19:44
11504      2763853147       7/13/2012       17:03:54
11505      2763950400       3/24/2012       10:16:32
11506      2764928615       11/14/2011      16:07:37
11507      2764943294       9/30/2011       10:14:58
11508      2764945009       1/10/2012       15:16:14
11509      2764945009       6/11/2012       17:56:20
11510      2764945070       12/16/2011      15:55:55
11511      2764945359       10/11/2011      16:51:31
11512      2764945498       7/20/2011       13:27:16
11513      2764948935       1/20/2012       14:21:33
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11514      2765255657       11/4/2011       7:25:06
11515      2765916990       10/8/2011       11:20:41
11516      2765940560       3/6/2012        15:41:46
11517      2765946964       3/8/2012        9:26:44
11518      2765948705       5/19/2012       16:03:46
11519      2765969075       10/11/2011      16:46:03
11520      2766086384       11/29/2011      15:35:43
11521      2766088130       5/23/2011       15:32:50
11522      2766134039       10/16/2012      7:24:47
11523      2766145991       11/28/2011      11:19:55
11524      2766170549       10/9/2012       19:59:43
11525      2766180361       11/15/2011      16:09:22
11526      2766182173       8/15/2012       7:49:18
11527      2766182173       8/25/2012       8:25:43
11528      2766182207       9/28/2011       10:47:41
11529      2766191699       7/29/2011       7:15:02
11530      2766207830       1/29/2012       16:50:57
11531      2766209969       9/1/2012        8:52:23
11532      2766347368       9/24/2012       19:02:06
11533      2766390320       6/14/2012       16:03:24
11534      2766853410       10/22/2011      12:20:10
11535      2766927247       10/6/2011       17:33:34
11536      2767015220       4/30/2012       14:28:06
11537      2767329782       9/4/2012        16:04:07
11538      2767330757       10/3/2012       19:55:06
11539      2767331440       10/4/2011       13:31:24
11540      2767333166       3/28/2012       7:18:43
11541      2767333903       11/11/2011      13:31:13
11542      2767341249       10/25/2012      19:42:27
11543      2767344010       12/12/2011      16:29:49
11544      2767689602       7/23/2012       13:15:57
11545      2767800461       1/14/2012       12:30:27
11546      2767800697       1/5/2012        13:57:56
11547      2767801892       5/8/2012        12:39:50
11548      2767807368       10/31/2011      9:08:07
11549      2767809498       2/9/2012        7:03:28
11550      2767820386       4/1/2012        16:27:08
11551      2767820386       4/9/2012        17:46:46
11552      2767910697       3/31/2012       8:11:15
11553      2767913117       4/24/2012       12:20:44
11554      2767919377       10/19/2012      19:08:58
11555      2768060021       2/16/2012       7:07:48
11556      2768062117       9/8/2012        11:07:50
11557      2768063101       12/20/2011      17:28:48
11558      2768064183       5/6/2011        15:45:00
11559      2768067331       6/6/2012        7:13:11
11560      2768068248       9/12/2011       12:59:10
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11561      2768702844       10/6/2011       16:30:31
11562      2768705021       9/19/2011       7:23:20
11563      2768705594       7/27/2012       15:30:42
11564      2768707571       2/17/2012       9:07:11
11565      2769708953       5/4/2012        18:17:52
11566      2769710715       5/23/2012       16:47:22
11567      2769712195       10/6/2012       8:29:27
11568      2769714821       9/22/2012       8:58:14
11569      2769716607       8/29/2012       11:16:06
11570      2769796378       11/5/2011       10:52:43
11571      2812017149       10/2/2012       8:41:05
11572      2812017676       11/28/2011      11:28:22
11573      2812021377       9/24/2012       18:54:21
11574      2812025971       5/3/2012        8:19:11
11575      2812039023       6/21/2012       10:17:19
11576      2812039185       10/14/2011      13:30:03
11577      2812043666       5/9/2012        8:46:37
11578      2812043793       8/10/2011       19:25:26
11579      2812047964       5/26/2012       8:56:45
11580      2812104974       3/8/2012        20:27:09
11581      2812109069       10/1/2011       10:37:42
11582      2812127882       10/21/2011      12:43:49
11583      2812161374       1/13/2012       17:29:00
11584      2812162781       11/30/2011      8:06:36
11585      2812164057       4/22/2012       15:29:11
11586      2812165019       3/8/2012        9:17:03
11587      2812165270       5/30/2012       12:53:23
11588      2812166225       6/27/2012       17:59:40
11589      2812169837       10/4/2011       13:18:39
11590      2812178724       7/13/2012       7:36:41
11591      2812209161       8/3/2011        12:24:11
11592      2812210103       1/3/2012        19:51:03
11593      2812211664       10/5/2011       14:41:45
11594      2812213600       10/8/2011       10:05:30
11595      2812215971       10/6/2011       16:48:39
11596      2812218103       4/9/2012        18:18:06
11597      2812223352       10/26/2011      12:18:30
11598      2812223362       10/11/2011      17:26:08
11599      2812223362       11/30/2011      8:14:19
11600      2812223799       9/10/2011       9:13:51
11601      2812228832       1/16/2012       17:14:38
11602      2812242333       1/13/2012       17:16:50
11603      2812247797       5/22/2012       18:29:51
11604      2812293897       9/26/2012       14:37:55
11605      2812298497       1/13/2012       12:42:59
11606      2812350525       10/5/2011       14:43:58
11607      2812351977       7/30/2012       13:40:06
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11608      2812355314       9/29/2011       15:50:11
11609      2812356005       6/13/2011       8:31:06
11610      2812357019       4/10/2012       16:02:55
11611      2812362253       2/3/2012        20:19:21
11612      2812363402       11/23/2011      14:43:08
11613      2812368207       11/7/2011       8:04:54
11614      2812368581       2/16/2012       8:31:24
11615      2812457692       2/9/2012        9:30:39
11616      2812501538       10/26/2011      12:09:38
11617      2812502161       1/16/2012       17:13:43
11618      2812504203       11/17/2011      15:45:28
11619      2812504856       5/18/2012       15:48:17
11620      2812507093       11/21/2011      10:45:56
11621      2812532442       9/10/2012       8:45:23
11622      2812534340       2/26/2012       13:18:54
11623      2812538198       11/1/2011       8:44:10
11624      2812562287       11/15/2011      20:08:47
11625      2812571165       3/1/2014        15:08:09
11626      2812723042       5/20/2012       15:41:31
11627      2812723523       11/28/2011      11:25:58
11628      2812867777       11/17/2011      14:26:34
11629      2812885466       7/21/2011       14:14:22
11630      2812992808       11/21/2011      8:14:13
11631      2812998629       11/17/2011      16:49:38
11632      2813000919       9/16/2011       13:02:16
11633      2813004744       1/28/2012       9:44:02
11634      2813005494       2/14/2012       9:59:14
11635      2813006173       1/17/2012       9:36:55
11636      2813009109       4/25/2011       14:10:37
11637      2813014754       9/27/2011       18:48:10
11638      2813028136       10/18/2011      12:59:53
11639      2813028834       11/18/2011      13:18:23
11640      2813029325       12/21/2011      19:56:15
11641      2813031295       10/17/2011      8:05:20
11642      2813036102       1/24/2012       10:31:20
11643      2813097047       3/25/2011       8:45:55
11644      2813098771       9/20/2011       20:31:35
11645      2813129334       9/19/2011       19:34:09
11646      2813188253       12/7/2011       14:08:38
11647      2813188412       8/10/2012       8:21:16
11648      2813189696       3/3/2012        8:52:19
11649      2813235790       12/30/2011      8:40:33
11650      2813301014       5/27/2012       13:56:44
11651      2813302282       4/11/2012       11:28:50
11652      2813486348       5/7/2012        14:53:49
11653      2813486503       4/23/2011       10:27:11
11654      2813811843       10/12/2011      8:19:48
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11655      2813813212       9/19/2011       19:34:34
11656      2813820587       3/7/2012        10:11:07
11657      2813825055       8/30/2012       9:48:07
11658      2813826364       1/12/2012       8:21:41
11659      2813828484       5/15/2012       8:43:40
11660      2813846862       4/19/2012       20:27:53
11661      2813862059       1/4/2012        20:11:19
11662      2813876728       1/13/2012       17:17:31
11663      2813878926       11/5/2011       9:59:50
11664      2813890228       8/31/2012       16:38:18
11665      2814085049       10/29/2011      11:45:03
11666      2814086075       10/4/2011       13:46:34
11667      2814089344       2/3/2012        20:03:25
11668      2814098523       12/26/2011      9:30:59
11669      2814131527       9/21/2012       19:02:31
11670      2814139008       4/12/2012       14:55:07
11671      2814139008       6/29/2012       9:45:39
11672      2814145940       10/3/2011       8:23:10
11673      2814147268       10/12/2011      8:10:16
11674      2814151445       9/21/2011       19:30:15
11675      2814258916       9/13/2011       16:15:27
11676      2814331103       9/22/2011       16:12:11
11677      2814332965       2/21/2012       17:56:45
11678      2814334878       8/16/2011       17:45:19
11679      2814336196       10/5/2011       14:17:28
11680      2814336733       4/4/2012        18:38:52
11681      2814337540       9/28/2011       11:25:02
11682      2814338436       10/18/2012      8:08:33
11683      2814339295       12/12/2011      12:21:55
11684      2814339295       5/21/2012       8:14:38
11685      2814354867       9/8/2011        19:34:24
11686      2814356144       11/5/2011       11:24:47
11687      2814356506       6/29/2011       17:38:57
11688      2814357011       12/20/2011      17:29:31
11689      2814403879       2/29/2012       17:31:59
11690      2814501135       12/6/2011       14:36:51
11691      2814509745       9/12/2011       14:23:45
11692      2814513922       7/23/2011       13:08:13
11693      2814514637       10/8/2011       11:39:21
11694      2814515347       3/6/2012        16:02:07
11695      2814516094       12/15/2011      8:23:17
11696      2814517902       3/13/2012       18:31:56
11697      2814518708       10/7/2011       8:17:09
11698      2814519739       2/24/2012       17:18:36
11699      2814550693       10/10/2012      19:12:29
11700      2814553303       9/29/2011       15:51:35
11701      2814554624       5/16/2011       12:46:19
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11702      2814554790       9/8/2011        18:10:39
11703      2814557647       9/26/2011       9:50:54
11704      2814557684       10/15/2011      9:38:52
11705      2814557997       3/13/2012       12:52:01
11706      2814602224       10/10/2011      12:40:29
11707      2814603671       11/15/2011      20:13:21
11708      2814667028       3/12/2012       19:13:27
11709      2814673214       7/12/2011       12:28:10
11710      2814675010       3/8/2012        20:25:50
11711      2814675010       5/21/2012       8:16:38
11712      2814675154       9/30/2011       10:23:41
11713      2814676581       9/8/2011        18:59:36
11714      2814676783       9/21/2011       11:53:11
11715      2814678307       10/5/2011       14:42:41
11716      2814680620       10/21/2011      16:02:13
11717      2814685100       4/20/2012       20:52:44
11718      2814686007       4/21/2011       11:17:47
11719      2814686007       12/3/2011       10:13:07
11720      2814689372       9/28/2011       11:25:50
11721      2814753570       2/6/2012        10:09:30
11722      2815070518       4/13/2012       20:39:56
11723      2815070518       5/31/2012       15:01:19
11724      2815075747       3/19/2012       19:21:54
11725      2815077713       10/15/2011      8:59:33
11726      2815081216       10/25/2012      12:15:54
11727      2815081835       2/6/2012        17:21:54
11728      2815083040       2/10/2012       9:26:18
11729      2815083076       8/28/2013       17:17:27
11730      2815084307       5/11/2011       16:56:00
11731      2815085219       11/28/2011      16:55:48
11732      2815097315       12/23/2011      14:34:16
11733      2815130607       10/5/2011       14:41:50
11734      2815130607       11/17/2011      16:46:24
11735      2815133354       12/11/2011      12:25:20
11736      2815133354       1/11/2012       16:39:03
11737      2815136983       10/12/2012      16:36:33
11738      2815150940       10/16/2012      20:27:15
11739      2815150962       3/13/2012       12:49:04
11740      2815155266       11/23/2011      9:50:53
11741      2815156359       11/15/2011      15:45:10
11742      2815156806       9/28/2011       11:13:16
11743      2815156967       3/12/2012       16:52:26
11744      2815157199       4/7/2012        9:36:26
11745      2815158613       9/19/2011       8:12:13
11746      2815158613       4/14/2012       13:54:45
11747      2815158672       8/14/2012       20:58:33
11748      2815201652       10/18/2012      8:05:17
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11749      2815207219       4/20/2012       14:07:51
11750      2815365986       5/18/2012       16:03:15
11751      2815368561       4/2/2012        9:03:15
11752      2815412257       11/11/2011      20:08:13
11753      2815416096       4/15/2012       17:38:04
11754      2815433126       3/26/2012       18:45:19
11755      2815433126       5/21/2012       8:17:34
11756      2815461602       3/23/2012       14:43:50
11757      2815466362       10/3/2011       8:09:45
11758      2815467234       8/7/2012        17:55:15
11759      2815467598       2/3/2012        20:01:59
11760      2815703638       11/23/2011      9:40:37
11761      2815705069       8/17/2011       19:16:38
11762      2815707376       10/25/2012      19:50:09
11763      2815707506       11/7/2011       9:29:07
11764      2815707854       10/17/2011      8:35:31
11765      2815708185       2/9/2012        20:31:49
11766      2815708822       11/14/2011      17:00:07
11767      2815709136       12/30/2011      17:21:58
11768      2815758579       10/22/2011      12:36:04
11769      2815949659       4/10/2012       11:57:32
11770      2815949659       6/20/2012       16:53:09
11771      2816015781       4/10/2012       16:12:15
11772      2816050041       9/16/2011       14:42:50
11773      2816058767       3/21/2011       12:08:59
11774      2816083226       9/14/2011       16:42:47
11775      2816085053       2/14/2012       9:50:44
11776      2816089770       9/2/2011        13:04:29
11777      2816089965       8/28/2012       11:54:29
11778      2816089965       10/11/2012      18:52:08
11779      2816100212       7/6/2012        14:41:20
11780      2816104015       4/2/2012        9:02:04
11781      2816104226       9/22/2011       15:19:09
11782      2816104226       10/6/2011       16:50:50
11783      2816104226       1/19/2012       8:26:20
11784      2816104626       10/12/2011      8:01:14
11785      2816105276       11/8/2011       13:59:54
11786      2816106480       9/10/2011       9:15:49
11787      2816109105       8/31/2011       10:06:26
11788      2816176386       7/25/2012       20:41:14
11789      2816190139       7/23/2012       15:14:49
11790      2816209204       9/6/2011        12:17:34
11791      2816225485       5/20/2012       15:37:14
11792      2816225485       6/14/2012       20:47:24
11793      2816229023       1/5/2012        17:23:15
11794      2816229750       1/3/2012        11:06:29
11795      2816283167       9/19/2011       19:32:25
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11796      2816302672       3/23/2012       19:41:17
11797      2816302672       3/28/2012       18:22:58
11798      2816303025       6/19/2012       15:42:34
11799      2816304804       2/6/2012        10:08:26
11800      2816352220       10/5/2011       14:16:01
11801      2816353839       7/25/2012       20:45:59
11802      2816355986       3/30/2012       9:45:48
11803      2816357800       8/18/2011       8:27:17
11804      2816358616       10/31/2011      8:37:35
11805      2816358842       7/3/2012        12:20:55
11806      2816359208       9/1/2012        9:24:02
11807      2816361394       2/16/2012       8:42:43
11808      2816362432       10/17/2011      8:38:51
11809      2816363319       12/20/2011      19:36:34
11810      2816366393       8/1/2012        8:29:03
11811      2816366973       10/20/2011      15:35:52
11812      2816368434       2/10/2012       9:25:35
11813      2816392747       6/6/2012        8:18:31
11814      2816395965       10/25/2012      19:38:54
11815      2816398681       11/5/2011       11:26:16
11816      2816420297       9/13/2011       13:35:09
11817      2816422806       12/22/2011      9:04:26
11818      2816422812       4/24/2012       18:11:56
11819      2816423146       10/19/2012      9:50:13
11820      2816425344       5/1/2012        8:26:35
11821      2816425344       9/27/2012       8:46:02
11822      2816426332       5/2/2012        13:25:45
11823      2816428342       3/9/2012        15:47:33
11824      2816506424       11/18/2011      12:54:18
11825      2816506909       10/21/2011      13:31:58
11826      2816507217       11/15/2011      16:31:01
11827      2816509279       10/11/2011      17:21:33
11828      2816583524       4/25/2012       9:45:48
11829      2816584219       11/17/2011      15:29:15
11830      2816586360       9/20/2011       20:36:19
11831      2816587225       3/27/2012       14:55:30
11832      2816587929       1/12/2012       8:04:26
11833      2816589921       10/6/2011       16:39:33
11834      2816594768       10/14/2011      12:56:39
11835      2816596289       9/26/2011       9:41:48
11836      2816596289       10/5/2011       14:40:51
11837      2816597907       12/23/2011      15:01:53
11838      2816602986       12/17/2011      11:34:14
11839      2816602986       4/3/2012        18:15:46
11840      2816603023       7/10/2012       11:59:02
11841      2816603666       1/16/2012       17:33:40
11842      2816604583       3/16/2012       16:03:27
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11843      2816604583       3/23/2012       14:27:29
11844      2816604602       9/29/2011       15:51:11
11845      2816604602       10/18/2011      12:25:21
11846      2816604602       10/31/2011      9:18:28
11847      2816604602       3/26/2012       18:28:27
11848      2816607456       12/20/2011      15:05:09
11849      2816607456       12/29/2011      19:32:36
11850      2816739591       12/14/2011      14:47:33
11851      2816787334       4/23/2012       20:35:51
11852      2816789101       2/20/2012       8:49:37
11853      2816833173       10/25/2011      16:19:57
11854      2816836493       10/25/2011      16:31:32
11855      2816837160       8/20/2012       18:45:20
11856      2816837876       9/24/2012       18:53:43
11857      2816851670       10/31/2013      9:43:27
11858      2816853321       6/11/2012       18:02:57
11859      2816858790       12/17/2011      11:32:08
11860      2816859098       11/7/2011       8:19:32
11861      2816859835       2/17/2012       18:13:11
11862      2816864352       11/30/2011      15:21:58
11863      2816865593       3/9/2012        9:18:16
11864      2816866556       3/27/2012       15:06:40
11865      2816867884       9/20/2011       16:52:58
11866      2816869020       9/30/2011       10:23:31
11867      2816871309       6/11/2012       18:06:13
11868      2816871309       10/17/2012      18:45:31
11869      2816871713       9/8/2011        18:04:28
11870      2816873809       1/25/2012       9:40:41
11871      2816874822       8/22/2012       11:21:17
11872      2816879604       4/4/2012        18:50:05
11873      2816902778       9/30/2011       10:21:55
11874      2816903186       2/3/2012        8:31:45
11875      2816906172       1/28/2012       8:21:06
11876      2816909607       4/4/2012        8:06:42
11877      2816909774       9/22/2011       15:19:02
11878      2816910474       12/14/2011      17:53:06
11879      2816911150       10/5/2012       18:16:19
11880      2816911971       6/27/2012       12:07:21
11881      2816917699       12/22/2011      9:15:58
11882      2817010379       4/22/2012       15:49:20
11883      2817014028       9/8/2011        19:33:01
11884      2817014470       8/9/2011        13:49:19
11885      2817014916       3/3/2012        17:22:03
11886      2817015029       3/12/2012       19:38:19
11887      2817015332       10/24/2011      8:09:00
11888      2817016413       10/29/2011      10:54:19
11889      2817027766       8/9/2012        14:11:48
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11890      2817031501       4/19/2012       20:21:19
11891      2817033187       11/15/2011      20:13:48
11892      2817034264       9/17/2012       8:33:10
11893      2817039004       5/21/2012       8:15:24
11894      2817041541       7/10/2012       11:56:42
11895      2817043219       10/5/2012       18:34:22
11896      2817043558       1/10/2012       18:05:23
11897      2817044886       9/14/2011       10:05:22
11898      2817045702       12/30/2011      16:59:18
11899      2817047133       10/6/2011       17:44:30
11900      2817051853       10/15/2011      10:43:41
11901      2817051944       10/19/2011      7:21:26
11902      2817055181       10/18/2011      14:34:22
11903      2817056189       12/10/2011      12:23:44
11904      2817060180       5/13/2011       11:32:30
11905      2817060479       9/21/2011       19:30:25
11906      2817060994       1/7/2012        8:33:21
11907      2817066700       1/12/2012       8:18:43
11908      2817067589       1/9/2012        18:42:03
11909      2817067885       5/21/2012       8:13:45
11910      2817147840       9/8/2011        19:51:51
11911      2817162798       5/3/2012        8:12:25
11912      2817238453       10/1/2011       10:41:02
11913      2817239772       6/24/2011       12:08:19
11914      2817254999       9/1/2012        9:05:16
11915      2817267255       6/2/2011        11:18:28
11916      2817268686       6/26/2012       8:03:37
11917      2817276492       6/8/2011        19:01:14
11918      2817280262       7/12/2012       13:23:32
11919      2817280451       10/23/2012      10:51:54
11920      2817314237       2/25/2012       10:40:08
11921      2817321332       5/3/2012        8:12:59
11922      2817324142       5/17/2012       11:47:13
11923      2817328698       10/14/2011      12:57:35
11924      2817334599       9/25/2012       15:18:47
11925      2817348930       9/23/2011       11:18:13
11926      2817349584       3/10/2011       16:27:28
11927      2817362735       3/28/2012       14:33:05
11928      2817363170       3/12/2012       19:29:46
11929      2817365757       9/8/2011        17:59:37
11930      2817365757       10/27/2011      16:48:01
11931      2817365757       1/13/2012       12:33:02
11932      2817366124       2/13/2012       18:46:36
11933      2817368790       9/22/2012       9:38:41
11934      2817368790       10/5/2012       18:17:02
11935      2817369757       12/7/2011       15:17:50
11936      2817391653       6/4/2012        8:15:01
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11937      2817394299       5/14/2011       11:55:46
11938      2817394772       10/13/2011      8:24:00
11939      2817396732       3/5/2012        10:55:52
11940      2817397284       10/8/2011       9:45:18
11941      2817397379       7/12/2011       12:21:04
11942      2817402690       5/16/2012       16:56:04
11943      2817406521       8/28/2012       11:58:40
11944      2817430369       7/31/2012       15:40:05
11945      2817430942       11/26/2011      11:59:05
11946      2817433110       1/25/2012       9:21:56
11947      2817433130       9/15/2011       8:45:14
11948      2817435191       9/9/2011        17:49:57
11949      2817439886       5/1/2012        17:45:16
11950      2817440394       10/21/2011      13:21:33
11951      2817451331       11/18/2011      12:28:08
11952      2817454028       2/29/2012       17:33:21
11953      2817458837       2/12/2012       15:42:02
11954      2817465087       1/12/2012       8:10:02
11955      2817481097       12/6/2011       12:50:57
11956      2817482096       5/24/2012       12:35:12
11957      2817483499       8/1/2011        19:19:06
11958      2817488483       5/30/2012       16:49:46
11959      2817489318       10/13/2011      7:06:52
11960      2817489855       9/13/2011       18:33:32
11961      2817535200       2/17/2012       18:10:52
11962      2817550056       2/8/2012        12:51:53
11963      2817552072       6/28/2012       8:07:53
11964      2817557004       11/17/2011      16:30:12
11965      2817571997       7/13/2011       11:08:01
11966      2817607505       10/11/2011      17:19:37
11967      2817607505       12/2/2011       8:08:08
11968      2817608833       10/13/2012      9:10:03
11969      2817611400       3/19/2012       19:18:45
11970      2817611811       4/18/2012       8:08:11
11971      2817613065       6/14/2012       16:08:06
11972      2817613438       2/20/2012       16:53:08
11973      2817618106       9/20/2011       20:45:49
11974      2817619060       9/20/2011       18:17:05
11975      2817619060       2/1/2012        18:36:20
11976      2817619640       5/18/2012       12:10:59
11977      2817634368       6/5/2012        17:56:41
11978      2817681780       11/19/2011      8:53:52
11979      2817681780       5/21/2012       8:14:35
11980      2817681993       4/25/2012       16:07:19
11981      2817705382       4/26/2011       20:01:53
11982      2817707580       6/8/2012        8:05:50
11983      2817720137       10/10/2011      12:42:02
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11984      2817725957       10/5/2011       14:31:57
11985      2817726539       12/18/2011      16:09:45
11986      2817732786       4/20/2011       19:32:47
11987      2817734658       11/23/2011      10:40:33
11988      2817738775       9/26/2011       9:31:54
11989      2817770172       8/9/2011        12:54:10
11990      2817772374       3/7/2012        18:43:01
11991      2817773010       5/20/2012       15:38:52
11992      2817774524       9/30/2011       12:32:55
11993      2817775007       10/12/2012      17:20:28
11994      2817776048       11/14/2011      14:40:43
11995      2817776845       2/10/2012       9:24:35
11996      2817778829       10/20/2011      16:22:37
11997      2817793829       10/9/2012       20:03:41
11998      2817799204       12/8/2011       19:47:08
11999      2817801414       9/21/2012       19:03:11
12000      2817805420       8/7/2012        17:54:22
12001      2817808034       10/29/2011      10:57:07
12002      2817808920       8/23/2011       19:19:34
12003      2817815989       10/18/2011      12:58:55
12004      2817823099       10/11/2011      17:39:26
12005      2817825887       3/29/2012       18:54:04
12006      2817828722       5/24/2012       12:12:13
12007      2817851551       11/14/2011      17:05:11
12008      2817868302       3/20/2012       17:42:19
12009      2817868302       3/26/2012       18:28:45
12010      2817870112       7/16/2012       19:26:21
12011      2817875652       12/1/2011       15:03:48
12012      2817877930       10/13/2011      8:21:14
12013      2817879031       9/24/2012       18:56:13
12014      2817880752       5/23/2012       16:36:57
12015      2817881437       7/6/2012        16:57:33
12016      2817881713       1/9/2012        7:05:46
12017      2817884070       10/5/2012       12:42:38
12018      2817887856       1/6/2012        14:33:02
12019      2817888884       8/13/2011       11:57:48
12020      2817930769       5/19/2012       16:07:02
12021      2817933895       3/21/2012       13:49:30
12022      2817943554       11/22/2011      18:43:58
12023      2817955798       2/2/2012        16:30:28
12024      2817969302       9/22/2012       9:09:54
12025      2817970205       9/20/2011       16:45:15
12026      2817979097       11/26/2011      13:22:02
12027      2817984101       1/27/2012       11:50:47
12028      2817991101       6/7/2012        12:37:54
12029      2817992769       6/10/2011       8:24:52
12030      2817994758       2/11/2012       15:10:15
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12031      2817998795       4/26/2012       17:28:55
12032      2817999271       2/11/2012       15:33:55
12033      2818020254       4/23/2011       10:29:59
12034      2818025472       1/21/2012       8:38:08
12035      2818041190       5/12/2012       10:42:32
12036      2818043859       2/18/2012       9:11:46
12037      2818045441       2/9/2012        9:31:03
12038      2818048198       7/16/2012       9:32:23
12039      2818062856       11/18/2011      12:59:12
12040      2818066673       9/23/2011       19:03:52
12041      2818080825       10/11/2011      16:23:25
12042      2818081402       8/11/2012       9:26:41
12043      2818081826       4/4/2011        14:34:47
12044      2818084078       5/7/2011        15:08:24
12045      2818089754       9/14/2011       9:48:08
12046      2818130522       3/3/2012        8:45:35
12047      2818134956       5/25/2012       8:22:32
12048      2818134956       6/9/2012        10:58:58
12049      2818137116       1/11/2012       8:50:12
12050      2818147969       9/15/2011       8:57:12
12051      2818181561       3/15/2012       19:31:00
12052      2818183734       9/18/2012       14:27:49
12053      2818187649       1/6/2012        14:42:41
12054      2818189005       3/7/2012        18:42:45
12055      2818252369       4/2/2012        8:56:30
12056      2818256884       10/20/2011      16:27:25
12057      2818270149       5/3/2012        8:19:18
12058      2818274587       9/19/2011       19:13:24
12059      2818276721       4/26/2011       20:03:07
12060      2818276779       12/23/2011      14:27:07
12061      2818277465       1/4/2012        11:52:30
12062      2818277626       10/6/2012       8:51:31
12063      2818278357       1/12/2012       14:31:41
12064      2818279933       11/5/2011       11:40:26
12065      2818305140       5/4/2012        20:53:48
12066      2818315828       11/21/2011      8:19:01
12067      2818316840       5/25/2011       17:39:04
12068      2818317591       9/19/2012       8:07:55
12069      2818319114       1/20/2012       20:29:35
12070      2818323065       5/3/2012        8:17:41
12071      2818323256       4/12/2012       18:32:17
12072      2818324064       12/14/2011      18:01:41
12073      2818382012       1/9/2012        8:08:54
12074      2818382226       10/8/2012       8:07:21
12075      2818384599       2/14/2012       9:47:47
12076      2818387536       1/13/2012       17:40:06
12077      2818399477       8/16/2011       18:01:35
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12078      2818407565       11/16/2011      8:06:31
12079      2818408695       3/13/2012       14:05:19
12080      2818408695       6/2/2012        13:18:06
12081      2818408854       9/22/2011       16:01:09
12082      2818409235       1/3/2012        19:50:44
12083      2818410591       10/10/2011      12:44:25
12084      2818411860       2/13/2012       18:48:52
12085      2818418734       11/4/2011       8:38:42
12086      2818419476       10/22/2012      17:50:21
12087      2818441017       11/14/2011      17:27:28
12088      2818441017       5/21/2012       8:14:27
12089      2818444078       11/26/2011      11:59:08
12090      2818488036       10/6/2012       8:48:28
12091      2818503853       11/4/2011       9:09:30
12092      2818505555       2/3/2012        20:04:23
12093      2818505928       10/27/2011      16:47:44
12094      2818515299       10/28/2011      13:41:42
12095      2818535592       12/17/2011      12:09:01
12096      2818545121       9/12/2011       14:25:40
12097      2818545349       5/7/2012        8:14:31
12098      2818545797       5/27/2012       13:56:04
12099      2818547300       10/22/2012      8:02:02
12100      2818570354       11/3/2011       17:16:07
12101      2818570939       1/18/2012       9:52:02
12102      2818572204       5/18/2012       12:07:13
12103      2818572446       7/29/2011       20:24:00
12104      2818588193       12/7/2011       14:11:43
12105      2818652331       1/14/2012       13:28:36
12106      2818657349       11/12/2011      10:34:32
12107      2818710160       1/7/2012        9:29:34
12108      2818710568       9/8/2011        18:09:07
12109      2818711675       11/5/2011       10:10:05
12110      2818718893       9/29/2011       15:16:04
12111      2818719191       3/14/2012       19:32:08
12112      2818719191       7/6/2012        16:46:43
12113      2818719191       10/24/2012      15:10:34
12114      2818719304       3/12/2012       19:29:53
12115      2818767985       7/23/2012       15:32:04
12116      2818811016       11/14/2011      17:06:53
12117      2818812295       3/19/2012       19:05:11
12118      2818815819       9/9/2011        18:20:09
12119      2818816323       10/23/2012      16:10:08
12120      2818832781       11/5/2011       10:08:12
12121      2818837130       11/19/2011      8:23:59
12122      2818837454       11/14/2011      17:13:50
12123      2818837808       6/26/2012       16:16:17
12124      2818838256       8/8/2012        8:18:18
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12125      2818890980       11/17/2011      16:27:39
12126      2818891236       9/10/2011       9:09:14
12127      2818965696       9/13/2012       15:26:25
12128      2818966172       10/8/2011       11:27:07
12129      2818968289       4/9/2012        18:16:55
12130      2818981687       11/17/2011      14:13:27
12131      2819001983       6/20/2011       14:16:10
12132      2819002490       7/10/2012       11:52:55
12133      2819002490       8/14/2012       11:50:24
12134      2819003685       7/18/2011       11:05:17
12135      2819004081       3/19/2012       19:19:15
12136      2819006421       5/24/2012       20:06:41
12137      2819006520       11/10/2011      8:00:50
12138      2819008279       12/1/2011       8:18:14
12139      2819012323       9/20/2012       20:57:49
12140      2819022227       11/18/2011      12:54:45
12141      2819027382       10/18/2011      13:02:50
12142      2819027382       11/26/2011      11:53:15
12143      2819029665       12/6/2011       13:32:08
12144      2819036000       6/18/2011       15:08:31
12145      2819036104       9/29/2011       15:49:31
12146      2819036104       2/1/2012        8:31:24
12147      2819036767       5/6/2012        18:20:57
12148      2819036792       9/9/2011        18:24:11
12149      2819036833       1/16/2012       8:19:29
12150      2819044248       5/16/2012       16:49:40
12151      2819044277       1/20/2012       20:32:39
12152      2819044601       9/8/2011        18:09:24
12153      2819045164       11/14/2011      17:23:17
12154      2819047601       2/13/2012       7:18:54
12155      2819053577       12/17/2011      12:04:50
12156      2819053660       8/2/2011        18:19:52
12157      2819054129       3/31/2012       8:07:03
12158      2819073484       1/6/2012        12:50:01
12159      2819100018       5/18/2012       11:45:55
12160      2819103286       11/16/2011      19:55:36
12161      2819107727       12/23/2011      14:13:00
12162      2819109394       9/27/2011       15:29:44
12163      2819141529       5/6/2012        18:13:12
12164      2819147532       9/20/2011       20:43:15
12165      2819147826       12/20/2011      19:25:47
12166      2819147939       9/12/2011       14:20:10
12167      2819147962       3/26/2012       14:57:59
12168      2819148084       10/5/2011       14:39:15
12169      2819170792       3/10/2011       17:43:55
12170      2819173434       5/21/2012       8:15:20
12171      2819173434       6/23/2012       16:14:11
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12172      2819174496       9/21/2012       18:45:11
12173      2819196969       9/20/2011       18:14:24
12174      2819197850       2/7/2012        20:18:08
12175      2819198329       9/8/2011        18:01:33
12176      2819199530       12/20/2011      12:11:57
12177      2819199584       8/14/2012       11:50:04
12178      2819230279       3/8/2012        9:40:04
12179      2819230544       10/23/2012      20:19:20
12180      2819237845       1/3/2012        16:39:38
12181      2819237849       10/28/2011      14:15:28
12182      2819320244       9/16/2011       13:27:44
12183      2819322455       1/12/2012       8:18:19
12184      2819322455       1/19/2012       8:11:16
12185      2819350735       1/6/2012        16:45:23
12186      2819350953       5/14/2012       15:38:06
12187      2819351295       11/7/2011       7:57:26
12188      2819351498       9/21/2012       16:17:02
12189      2819354324       12/9/2011       8:16:29
12190      2819357040       8/8/2011        12:15:28
12191      2819359125       12/10/2011      13:24:29
12192      2819359537       1/3/2012        19:48:14
12193      2819434424       7/23/2012       15:32:39
12194      2819434776       10/16/2012      20:28:52
12195      2819434776       10/22/2012      17:59:41
12196      2819480582       9/26/2011       9:30:23
12197      2819481728       11/12/2011      10:33:07
12198      2819489841       4/2/2012        9:08:41
12199      2819541809       9/19/2011       19:13:34
12200      2819606230       11/26/2011      13:09:00
12201      2819610791       11/11/2011      20:04:07
12202      2819612377       10/13/2011      8:34:25
12203      2819613743       12/5/2011       18:54:10
12204      2819615125       1/3/2012        19:48:05
12205      2819616599       12/1/2011       15:25:54
12206      2819618387       10/29/2011      11:46:42
12207      2819649161       5/29/2012       17:14:04
12208      2819649665       6/11/2012       8:13:21
12209      2819747181       2/10/2012       9:23:02
12210      2819758273       10/5/2012       12:26:48
12211      2819758536       10/4/2011       13:54:12
12212      2819758536       2/11/2012       11:20:56
12213      2819793775       1/11/2012       8:52:58
12214      2819895104       1/27/2012       9:58:28
12215      2819896956       10/13/2011      8:30:45
12216      2819897755       11/29/2011      15:43:55
12217      2819950281       4/12/2012       17:59:25
12218      2819951869       11/22/2011      19:39:29
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12219      2819952775       9/15/2011       8:51:10
12220      2819955195       10/8/2011       11:58:14
12221      2819956007       1/8/2012        13:21:39
12222      2819957039       8/14/2012       11:38:01
12223      2819957390       5/3/2012        8:18:28
12224      2819958506       1/18/2012       10:12:02
12225      2819959209       6/20/2012       17:04:13
12226      2819959209       8/13/2012       8:20:03
12227      2819959231       10/29/2011      11:49:38
12228      3012041564       9/9/2011        7:40:26
12229      3012041777       11/17/2011      16:55:25
12230      3012133389       10/24/2011      7:08:22
12231      3012133944       9/1/2012        8:52:06
12232      3012135469       11/11/2011      7:45:57
12233      3012135469       5/21/2012       7:02:10
12234      3012193234       6/21/2012       10:02:35
12235      3012194797       1/4/2012        10:59:17
12236      3012216702       12/27/2011      14:26:29
12237      3012339567       4/4/2012        18:45:48
12238      3012370550       3/21/2012       7:00:54
12239      3012371356       10/5/2011       14:38:15
12240      3012379575       8/25/2012       11:12:16
12241      3012472050       5/1/2012        8:39:00
12242      3012472525       11/17/2011      16:29:28
12243      3012472823       2/17/2012       18:18:44
12244      3012542446       7/3/2012        7:12:53
12245      3012544647       9/24/2011       9:14:30
12246      3012545452       12/10/2011      12:47:34
12247      3012546419       5/6/2012        18:05:08
12248      3012549160       8/31/2011       7:16:32
12249      3012549348       3/27/2012       7:15:28
12250      3012549348       5/17/2012       7:14:59
12251      3012549348       10/11/2012      18:57:28
12252      3012567841       8/29/2011       7:39:29
12253      3012570463       9/26/2011       8:25:05
12254      3012575354       10/20/2011      16:54:09
12255      3012635816       6/27/2012       19:51:14
12256      3012662555       3/26/2012       18:24:39
12257      3012669484       11/23/2011      10:26:36
12258      3012684158       11/17/2011      16:19:46
12259      3012724772       12/8/2011       11:51:58
12260      3012727598       12/7/2011       14:16:40
12261      3012756256       9/8/2011        19:24:50
12262      3012813745       6/19/2012       7:54:37
12263      3012838803       1/29/2012       16:22:19
12264      3013006532       4/26/2012       8:12:01
12265      3013021350       9/30/2011       10:15:04
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12266      3013054270       5/12/2012       8:38:11
12267      3013055506       1/12/2012       7:23:22
12268      3013055506       5/29/2012       17:09:22
12269      3013057386       9/27/2011       18:25:46
12270      3013058610       3/23/2012       14:53:45
12271      3013188795       9/7/2012        15:49:00
12272      3013235748       7/21/2011       7:02:06
12273      3013235748       7/22/2011       13:30:19
12274      3013252815       10/31/2011      7:09:37
12275      3013267744       6/14/2012       15:51:38
12276      3013313162       2/7/2012        7:15:30
12277      3013314698       3/6/2012        15:55:10
12278      3013318771       7/23/2012       15:25:56
12279      3013319317       10/13/2011      7:15:26
12280      3013319826       10/25/2012      12:10:13
12281      3013322394       10/5/2011       14:09:17
12282      3013326323       12/21/2011      18:57:15
12283      3013434347       12/8/2011       10:22:35
12284      3013438447       3/8/2012        7:09:03
12285      3013438565       2/11/2012       11:07:58
12286      3013492597       6/15/2012       16:41:24
12287      3013511326       7/30/2011       8:06:49
12288      3013515865       11/29/2011      7:38:25
12289      3013560637       2/24/2011       11:24:48
12290      3013564992       9/23/2011       18:56:07
12291      3013566827       2/10/2012       20:42:23
12292      3013567280       12/3/2011       9:03:14
12293      3013668929       6/7/2012        14:30:33
12294      3013676820       10/10/2011      11:38:08
12295      3013676820       11/14/2011      16:13:10
12296      3013703356       2/11/2012       15:26:32
12297      3013790195       3/12/2012       19:02:59
12298      3013793059       9/21/2011       19:33:31
12299      3013797292       1/9/2012        18:33:12
12300      3013797698       10/22/2012      7:06:22
12301      3013798831       9/20/2011       17:16:59
12302      3013855638       9/17/2011       9:31:00
12303      3013858296       1/9/2012        7:47:20
12304      3013956890       4/5/2012        7:11:15
12305      3013956890       8/30/2012       17:30:36
12306      3013958611       3/14/2012       19:41:59
12307      3013959082       7/5/2012        7:46:19
12308      3013990759       2/1/2012        8:16:18
12309      3013999572       1/14/2012       8:20:34
12310      3014018808       9/10/2011       8:18:04
12311      3014042830       11/2/2011       7:11:50
12312      3014044090       7/14/2012       10:10:22
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12313      3014044096       8/14/2012       21:01:26
12314      3014046852       2/19/2012       19:13:12
12315      3014089980       9/12/2011       13:56:33
12316      3014120086       1/13/2012       17:15:41
12317      3014122530       10/20/2011      15:16:27
12318      3014180105       1/21/2012       8:16:08
12319      3014183586       3/16/2012       10:32:11
12320      3014332102       1/14/2012       8:07:52
12321      3014371177       11/9/2011       7:27:45
12322      3014375388       6/16/2012       15:27:03
12323      3014405617       4/2/2012        17:40:45
12324      3014405617       5/21/2012       7:05:32
12325      3014405617       5/21/2012       7:30:24
12326      3014421645       3/30/2012       16:16:36
12327      3014423809       11/1/2011       8:03:35
12328      3014482624       11/5/2011       10:40:38
12329      3014526394       11/12/2011      9:58:54
12330      3014528475       3/5/2012        7:08:10
12331      3014550078       12/10/2011      14:32:03
12332      3014556096       8/15/2011       8:04:28
12333      3014559310       4/14/2012       9:33:35
12334      3014663063       3/26/2012       7:19:47
12335      3014717391       1/13/2012       17:23:44
12336      3014811578       11/22/2011      18:33:26
12337      3015011191       8/29/2011       13:23:19
12338      3015011244       3/14/2012       19:52:15
12339      3015022462       3/6/2012        12:47:23
12340      3015025746       12/5/2011       18:28:38
12341      3015034048       8/13/2012       7:43:51
12342      3015035732       5/5/2012        8:38:10
12343      3015092101       3/10/2012       8:38:45
12344      3015140734       5/6/2012        18:03:11
12345      3015141116       9/12/2011       13:49:17
12346      3015141219       10/14/2011      12:40:47
12347      3015143398       8/23/2011       18:59:02
12348      3015145342       7/14/2011       15:53:20
12349      3015180193       7/11/2011       8:22:05
12350      3015246575       10/11/2012      12:06:44
12351      3015257046       6/26/2012       21:17:34
12352      3015260480       3/19/2012       19:39:25
12353      3015292690       8/17/2011       19:08:49
12354      3015336119       3/29/2012       11:13:53
12355      3015356211       2/20/2012       17:03:48
12356      3015361585       10/14/2011      12:39:44
12357      3015363118       1/13/2012       17:36:03
12358      3015364833       11/7/2011       9:12:57
12359      3015368692       3/23/2012       19:09:48
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12360      3015380811       2/25/2012       11:10:52
12361      3015423331       1/17/2012       18:30:35
12362      3015566093       5/15/2012       19:00:39
12363      3015566640       7/20/2011       14:40:05
12364      3015568023       2/14/2012       13:32:01
12365      3015568737       9/7/2012        15:49:26
12366      3015732858       1/12/2012       7:25:29
12367      3015735213       11/10/2011      14:26:02
12368      3015754439       10/31/2011      7:17:31
12369      3015808369       7/14/2011       15:54:12
12370      3015927768       5/29/2012       7:05:50
12371      3016027732       5/15/2012       19:08:13
12372      3016029285       5/27/2011       8:49:19
12373      3016062738       11/12/2011      9:50:17
12374      3016090553       6/11/2011       9:27:06
12375      3016130543       8/9/2011        12:37:52
12376      3016132676       12/23/2011      13:43:35
12377      3016132676       1/9/2012        18:06:01
12378      3016137137       3/27/2012       15:03:03
12379      3016137971       5/16/2012       7:06:16
12380      3016137971       6/14/2012       16:03:34
12381      3016138962       3/30/2012       7:20:23
12382      3016160651       2/20/2012       16:51:03
12383      3016168987       3/14/2012       20:01:21
12384      3016286990       10/3/2012       19:52:44
12385      3016338873       3/17/2012       8:42:25
12386      3016399423       10/6/2011       17:19:04
12387      3016399423       12/18/2011      16:36:36
12388      3016401305       10/9/2012       7:32:43
12389      3016410282       10/20/2011      16:15:25
12390      3016421689       9/10/2011       8:50:24
12391      3016428489       8/15/2011       9:59:04
12392      3016531086       10/6/2011       16:09:46
12393      3016539758       9/27/2011       18:30:12
12394      3016552404       2/21/2012       9:43:41
12395      3016600059       9/21/2011       11:43:36
12396      3016601185       9/15/2011       7:28:39
12397      3016728199       9/17/2011       9:16:36
12398      3016745363       2/28/2012       7:43:31
12399      3016934446       9/8/2011        19:23:24
12400      3016976265       3/7/2012        7:17:13
12401      3016978101       12/18/2011      16:39:26
12402      3017047387       1/25/2012       9:00:50
12403      3017060852       8/8/2011        14:53:33
12404      3017063038       9/19/2011       19:11:00
12405      3017067719       9/26/2012       14:32:10
12406      3017068097       2/20/2012       16:49:48
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12407      3017068279       6/13/2012       7:15:28
12408      3017079775       2/26/2012       13:24:55
12409      3017120036       12/20/2011      19:31:31
12410      3017126905       11/18/2011      12:46:57
12411      3017176474       6/29/2011       16:32:35
12412      3017283859       2/2/2012        19:12:42
12413      3017287084       5/28/2011       10:09:19
12414      3017287084       10/10/2011      11:41:15
12415      3017404559       8/30/2012       17:48:16
12416      3017411837       10/11/2011      15:47:36
12417      3017411879       5/23/2012       15:28:19
12418      3017413155       9/26/2011       8:48:11
12419      3017413214       10/17/2011      7:04:51
12420      3017423806       8/16/2012       19:50:13
12421      3017516380       9/18/2012       14:23:54
12422      3017518117       12/17/2011      12:00:46
12423      3017518580       9/8/2011        19:41:45
12424      3017527467       4/12/2012       18:02:14
12425      3017553076       5/1/2012        17:42:08
12426      3017553076       5/26/2012       14:25:46
12427      3017557566       5/2/2012        13:07:18
12428      3017580085       7/12/2012       15:51:38
12429      3017580851       10/31/2011      7:20:42
12430      3017580851       11/17/2011      16:43:54
12431      3017606617       9/11/2012       15:12:31
12432      3017606915       11/29/2011      15:53:32
12433      3017609148       2/26/2012       13:26:21
12434      3017680322       6/18/2012       15:07:53
12435      3017846151       12/17/2011      11:47:57
12436      3017870300       12/18/2011      16:22:39
12437      3017877546       1/31/2012       7:06:37
12438      3017877952       4/2/2012        17:30:55
12439      3017882889       8/31/2011       10:21:00
12440      3017883918       6/18/2012       15:10:51
12441      3017923808       8/6/2012        16:13:43
12442      3017936746       11/23/2011      14:30:23
12443      3018011384       12/17/2011      11:23:27
12444      3018012244       8/8/2012        7:02:46
12445      3018016487       9/4/2012        15:43:18
12446      3018016487       9/21/2012       18:54:32
12447      3018019311       8/4/2012        8:12:34
12448      3018060258       12/26/2011      9:01:01
12449      3018062494       12/19/2011      8:11:39
12450      3018065542       6/15/2012       16:43:47
12451      3018068992       1/18/2012       10:07:00
12452      3018076416       8/30/2011       16:16:02
12453      3018148888       9/6/2013        14:45:22
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12454      3018252209       1/23/2012       19:05:38
12455      3018254665       8/22/2012       11:21:02
12456      3018256900       7/30/2012       13:11:49
12457      3018320371       9/8/2012        11:04:01
12458      3018480177       10/22/2011      12:52:41
12459      3018487119       7/19/2012       17:55:42
12460      3018488299       1/3/2012        17:22:26
12461      3018521100       10/6/2012       8:52:29
12462      3018733000       10/13/2011      10:38:24
12463      3018752256       3/23/2012       19:49:57
12464      3018755546       9/13/2011       13:46:01
12465      3018757620       5/23/2012       16:46:45
12466      3018761972       2/2/2012        7:08:48
12467      3018763149       9/28/2011       10:10:30
12468      3018763886       9/29/2012       9:56:07
12469      3018768025       7/12/2011       12:08:44
12470      3019043096       11/29/2011      15:32:07
12471      3019047376       1/6/2012        14:48:26
12472      3019047680       7/23/2012       15:29:06
12473      3019052680       3/2/2012        19:09:39
12474      3019085545       10/21/2011      13:03:38
12475      3019088053       11/23/2011      14:33:45
12476      3019105078       4/24/2012       18:09:22
12477      3019105477       3/20/2012       9:02:00
12478      3019155647       6/27/2011       7:44:10
12479      3019156118       3/28/2012       7:20:36
12480      3019156118       5/21/2012       7:30:16
12481      3019192718       1/23/2012       18:53:53
12482      3019192924       11/17/2011      13:52:45
12483      3019223213       1/3/2012        16:40:55
12484      3019227339       5/10/2012       14:46:34
12485      3019381793       11/20/2011      11:05:20
12486      3019387731       11/17/2011      16:20:46
12487      3019747395       1/11/2012       7:31:41
12488      3019792891       1/24/2012       10:16:20
12489      3019805888       2/13/2012       18:23:26
12490      3019881574       10/10/2012      19:08:52
12491      3019888132       9/24/2011       9:09:03
12492      3019910097       9/17/2011       9:17:26
12493      3019910167       11/9/2011       7:27:00
12494      3019914078       10/20/2011      15:26:57
12495      3019916266       10/21/2011      12:58:16
12496      3019919031       10/5/2011       14:05:33
12497      3019925585       10/12/2011      7:58:57
12498      3019925832       12/29/2011      14:14:04
12499      3019925841       6/12/2012       17:19:19
12500      3019925841       6/19/2012       13:18:01
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12501      3019927811       3/23/2012       7:04:52
12502      3019928061       4/21/2012       8:06:42
12503      3019962804       4/2/2012        17:30:56
12504      3019965391       5/3/2012        7:22:38
12505      3022221364       10/22/2012      7:02:17
12506      3022222996       3/25/2011       9:15:51
12507      3022280529       1/25/2012       9:11:11
12508      3022281719       10/4/2011       13:42:54
12509      3022293416       10/7/2011       7:13:17
12510      3022293824       10/29/2011      10:37:06
12511      3022295992       7/23/2012       15:19:10
12512      3022295992       8/8/2012        16:06:35
12513      3022299338       5/29/2012       7:11:37
12514      3022306193       9/17/2012       12:07:28
12515      3022338637       7/2/2012        17:12:45
12516      3022411052       4/6/2012        15:52:39
12517      3022416050       10/20/2012      16:20:37
12518      3022416279       11/5/2011       11:00:15
12519      3022416279       11/14/2011      15:58:52
12520      3022418332       12/5/2011       11:52:02
12521      3022419042       9/8/2011        19:41:01
12522      3022424481       2/11/2012       10:58:36
12523      3022425894       11/11/2011      7:48:17
12524      3022426230       11/18/2011      13:31:34
12525      3022451581       7/21/2011       7:38:49
12526      3022452041       7/16/2012       19:42:52
12527      3022453511       7/19/2012       17:31:20
12528      3022453591       6/29/2012       9:39:22
12529      3022453591       7/9/2012        19:09:02
12530      3022455225       1/8/2012        13:01:00
12531      3022456161       10/18/2012      7:08:14
12532      3022458178       11/2/2011       7:21:18
12533      3022507398       11/1/2011       8:24:51
12534      3022508069       10/5/2011       10:45:32
12535      3022509804       4/20/2012       14:25:11
12536      3022509804       5/30/2012       12:36:56
12537      3022527670       11/28/2011      11:41:55
12538      3022528601       6/14/2012       16:18:38
12539      3022606098       5/23/2012       14:51:59
12540      3022606098       6/12/2012       7:17:31
12541      3022641001       11/30/2011      15:17:43
12542      3022750205       3/15/2012       18:52:39
12543      3022751403       10/13/2011      7:15:22
12544      3022754725       8/22/2012       11:16:18
12545      3022754725       8/25/2012       8:22:28
12546      3022767185       11/11/2011      13:35:23
12547      3022767185       11/23/2011      9:17:21
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12548      3022767185       6/29/2012       17:48:44
12549      3022790612       8/16/2011       17:33:31
12550      3022872593       9/20/2011       16:42:21
12551      3022872683       6/11/2012       7:12:52
12552      3022903682       10/20/2011      16:12:12
12553      3022905051       10/26/2011      12:39:47
12554      3022905052       11/17/2011      15:09:35
12555      3022908163       9/14/2011       16:22:37
12556      3022931407       12/16/2011      16:15:13
12557      3022937512       10/18/2011      7:15:50
12558      3022968799       10/18/2012      16:29:10
12559      3022992088       6/2/2012        12:53:46
12560      3023124117       9/26/2012       14:32:35
12561      3023125702       6/9/2012        11:08:27
12562      3023127300       9/19/2011       19:28:17
12563      3023311271       4/9/2012        18:22:23
12564      3023311415       1/9/2012        7:04:06
12565      3023314059       3/17/2012       8:45:53
12566      3023316760       1/26/2012       10:15:58
12567      3023321814       8/20/2012       18:40:17
12568      3023330247       10/12/2011      7:38:03
12569      3023331710       9/12/2011       13:48:06
12570      3023390615       4/4/2012        18:35:55
12571      3023391021       3/26/2012       18:19:35
12572      3023395900       8/21/2012       13:56:02
12573      3023440206       6/5/2012        19:45:10
12574      3023440206       6/10/2012       14:35:26
12575      3023444797       1/13/2012       17:32:18
12576      3023445700       3/26/2012       18:22:56
12577      3023448261       6/27/2012       17:56:48
12578      3023455053       7/10/2012       7:26:50
12579      3023456966       10/21/2011      13:18:15
12580      3023459601       9/24/2011       9:11:33
12581      3023459911       9/24/2012       12:47:48
12582      3023459937       2/6/2012        7:30:14
12583      3023459937       7/5/2012        15:30:34
12584      3023546642       5/14/2012       15:29:04
12585      3023570172       12/12/2011      12:03:37
12586      3023572254       10/17/2011      7:34:57
12587      3023572297       9/1/2012        8:24:18
12588      3023574014       9/8/2011        17:46:01
12589      3023574816       8/23/2012       11:45:13
12590      3023575437       9/20/2012       7:01:23
12591      3023576870       10/4/2011       13:06:09
12592      3023578293       10/15/2011      10:21:48
12593      3023585116       12/11/2013      9:13:26
12594      3023585499       10/1/2011       9:47:16
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12595      3023587222       3/14/2012       14:46:51
12596      3023591517       10/8/2012       8:07:19
12597      3023596906       9/16/2011       12:56:19
12598      3023631523       2/2/2012        10:58:15
12599      3023675728       6/3/2011        7:02:46
12600      3023734246       7/19/2012       7:50:51
12601      3023734284       11/7/2011       8:27:56
12602      3023736559       6/11/2012       17:54:59
12603      3023770330       11/29/2011      7:32:58
12604      3023775380       9/26/2012       7:10:52
12605      3023776055       12/9/2011       15:17:15
12606      3023778296       7/13/2012       7:35:42
12607      3023778909       6/11/2012       7:04:16
12608      3023810132       5/21/2012       8:47:11
12609      3023813371       9/16/2011       12:56:37
12610      3023813503       2/17/2012       18:19:53
12611      3023817437       11/22/2011      19:16:22
12612      3023817437       12/1/2011       15:21:44
12613      3023817778       9/19/2011       7:27:06
12614      3023820425       10/25/2011      16:05:09
12615      3023820425       11/18/2011      12:47:27
12616      3023822532       9/20/2011       16:37:40
12617      3023833790       9/21/2012       18:46:14
12618      3023838076       3/10/2011       16:48:06
12619      3023842172       9/13/2011       18:08:19
12620      3023843278       6/16/2012       15:26:50
12621      3023843468       10/12/2011      11:44:54
12622      3023843568       6/13/2012       7:07:11
12623      3023843913       11/7/2011       7:49:16
12624      3023845531       10/18/2011      7:11:40
12625      3023882079       11/16/2011      9:21:41
12626      3023931554       11/26/2011      11:40:31
12627      3023936069       4/3/2012        18:02:04
12628      3023991306       2/14/2012       15:20:29
12629      3023994809       12/29/2011      18:40:10
12630      3023997899       3/31/2012       17:12:49
12631      3024196107       6/28/2012       7:03:21
12632      3024198140       2/25/2012       10:26:48
12633      3024204787       9/29/2011       9:12:48
12634      3024236250       10/7/2011       7:15:24
12635      3024237636       10/12/2011      8:00:32
12636      3024301150       12/18/2011      16:08:16
12637      3024381363       5/23/2012       16:44:44
12638      3024382497       5/23/2012       16:31:42
12639      3024389330       11/26/2011      12:34:33
12640      3024421354       9/22/2011       15:15:04
12641      3024421354       10/28/2011      13:27:08
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12642      3024421554       12/23/2011      13:59:59
12643      3024425456       12/27/2011      14:13:00
12644      3024425711       10/17/2011      7:54:18
12645      3024441627       9/19/2011       19:25:52
12646      3024447160       9/27/2012       16:26:48
12647      3024508358       5/14/2012       7:07:08
12648      3024508888       10/13/2011      7:14:05
12649      3024620820       4/21/2012       16:33:34
12650      3024626856       12/20/2011      19:30:38
12651      3024627306       8/20/2012       18:41:49
12652      3024652791       8/27/2011       11:37:01
12653      3024653060       7/9/2012        19:05:43
12654      3024654052       5/1/2012        18:05:55
12655      3024655210       10/10/2012      12:53:59
12656      3024655955       9/8/2011        19:46:33
12657      3024761224       10/15/2012      16:20:02
12658      3024827857       8/22/2012       11:09:59
12659      3024827857       10/5/2012       18:14:32
12660      3024829731       9/19/2011       7:07:25
12661      3024941718       7/13/2012       12:09:24
12662      3024941746       7/3/2012        19:36:30
12663      3024941746       7/11/2012       17:19:09
12664      3024942463       11/17/2011      13:51:51
12665      3024949139       12/6/2011       14:25:42
12666      3025070022       10/1/2012       13:42:44
12667      3025074191       10/4/2011       13:10:48
12668      3025190156       5/23/2011       15:32:22
12669      3025194109       2/1/2012        18:28:53
12670      3025213578       10/3/2012       19:47:40
12671      3025217946       9/19/2011       7:20:24
12672      3025304019       12/21/2011      10:11:48
12673      3025315316       4/10/2012       16:02:17
12674      3025316076       8/30/2012       17:41:59
12675      3025317962       11/9/2011       7:35:47
12676      3025350876       2/16/2012       7:03:32
12677      3025350876       5/21/2012       7:24:50
12678      3025353300       11/26/2011      11:20:22
12679      3025354356       11/4/2011       7:02:40
12680      3025404631       10/5/2011       14:09:51
12681      3025421835       11/17/2011      16:22:52
12682      3025425405       10/7/2011       7:23:45
12683      3025426124       10/5/2011       14:05:04
12684      3025455221       9/16/2011       14:31:40
12685      3025597319       10/24/2011      7:29:19
12686      3025614141       10/3/2011       7:29:39
12687      3025657351       12/16/2011      16:01:52
12688      3025690014       7/18/2012       18:23:22
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12689      3025848972       11/4/2011       7:13:14
12690      3025886229       9/1/2012        8:55:05
12691      3025886855       9/24/2012       18:51:30
12692      3025888892       10/17/2011      7:14:36
12693      3025932189       11/7/2011       8:37:10
12694      3025935780       4/6/2012        15:37:05
12695      3025984224       12/21/2011      11:45:00
12696      3025988064       8/10/2012       7:24:55
12697      3026023151       10/4/2011       13:14:52
12698      3026138222       9/23/2011       18:58:30
12699      3026322327       7/2/2012        17:29:20
12700      3026505970       3/2/2012        7:14:39
12701      3026505970       4/21/2012       16:15:10
12702      3026538795       4/9/2012        18:11:23
12703      3026684142       6/11/2012       17:57:30
12704      3026695714       12/1/2011       7:53:42
12705      3026695753       10/13/2011      7:06:33
12706      3026697082       4/11/2012       13:18:47
12707      3026697537       9/19/2012       7:58:29
12708      3026697641       10/10/2011      12:21:09
12709      3026698436       9/27/2012       16:22:39
12710      3026701295       3/2/2012        19:16:34
12711      3026824206       9/26/2011       8:24:16
12712      3026854737       7/12/2012       7:05:29
12713      3026859545       2/21/2012       10:45:31
12714      3026903898       4/1/2011        11:15:47
12715      3026906420       5/23/2012       15:14:07
12716      3026908311       9/8/2011        19:56:03
12717      3027405828       9/19/2011       19:02:38
12718      3027406135       10/13/2011      7:24:15
12719      3027432433       4/20/2012       13:44:42
12720      3027439909       6/9/2012        14:40:56
12721      3027450418       8/31/2012       16:26:23
12722      3027453334       10/3/2012       19:46:53
12723      3027455470       8/23/2012       11:34:28
12724      3027470200       9/8/2011        19:44:17
12725      3027476200       9/8/2011        19:42:46
12726      3027503319       8/4/2012        7:34:43
12727      3027503321       7/31/2012       7:09:54
12728      3027503321       10/24/2012      15:10:51
12729      3027505355       10/15/2011      9:48:37
12730      3027505607       9/24/2011       9:12:25
12731      3027532015       5/22/2012       11:28:37
12732      3027533946       1/4/2012        11:13:14
12733      3027534745       1/9/2012        18:37:49
12734      3027574420       11/22/2011      19:30:50
12735      3027576380       11/9/2011       7:36:21
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12736      3027610037       10/5/2011       14:28:05
12737      3027610254       9/25/2012       14:40:49
12738      3027610572       9/14/2011       9:30:00
12739      3027610572       9/27/2011       18:04:57
12740      3027610776       10/4/2011       13:06:54
12741      3027658259       9/13/2011       7:09:12
12742      3027845157       9/8/2011        17:43:04
12743      3028410224       11/12/2011      9:52:14
12744      3028410395       10/1/2011       9:27:30
12745      3028412305       5/8/2012        12:39:05
12746      3028415838       3/24/2012       10:17:36
12747      3028418028       11/16/2011      8:38:41
12748      3028419999       10/25/2013      7:11:13
12749      3028586377       10/12/2011      11:42:21
12750      3028587453       2/21/2012       17:32:05
12751      3028588835       6/2/2012        13:02:49
12752      3028589421       2/4/2012        8:29:16
12753      3028831005       9/1/2012        8:50:11
12754      3028834942       10/10/2011      12:22:23
12755      3028931163       1/21/2012       8:01:25
12756      3028970460       12/28/2011      7:24:49
12757      3028979646       12/2/2011       7:29:52
12758      3028981751       5/29/2012       17:13:30
12759      3028983469       2/17/2012       18:16:17
12760      3028983671       9/26/2011       8:33:36
12761      3028988920       10/25/2012      19:42:15
12762      3029433212       12/16/2011      16:10:39
12763      3029438693       5/26/2012       14:21:23
12764      3029814849       1/16/2012       17:11:15
12765      3029815948       4/7/2012        9:29:28
12766      3029818855       10/24/2012      14:54:53
12767      3029830728       5/9/2012        16:13:05
12768      3029831176       7/22/2011       13:30:34
12769      3029833114       10/5/2012       18:21:40
12770      3029936030       2/17/2012       18:17:02
12771      3032044229       1/8/2012        15:21:41
12772      3032102848       10/27/2011      16:58:53
12773      3032107523       8/25/2011       18:22:38
12774      3032297789       9/21/2011       11:56:16
12775      3032426645       8/16/2012       9:27:31
12776      3032427901       9/8/2011        18:13:50
12777      3032464486       9/20/2012       14:44:48
12778      3032492970       9/29/2011       15:24:07
12779      3032509479       4/3/2012        16:02:37
12780      3032532237       6/27/2012       17:53:41
12781      3032532523       5/3/2012        9:54:21
12782      3032570698       7/29/2011       20:12:28
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12783      3032571858       7/30/2012       13:40:47
12784      3032571858       8/13/2012       20:54:10
12785      3032572171       10/21/2011      14:49:24
12786      3032573050       2/21/2012       9:50:22
12787      3032573551       9/19/2011       14:52:08
12788      3032574298       12/29/2011      11:13:41
12789      3032616846       9/20/2012       21:01:11
12790      3033015012       9/14/2011       21:35:47
12791      3033015151       2/6/2012        17:04:07
12792      3033042108       9/26/2011       9:14:57
12793      3033244714       4/25/2012       21:26:44
12794      3033246124       4/1/2012        17:33:46
12795      3033249408       2/7/2012        20:25:47
12796      3033249995       9/19/2011       19:35:52
12797      3033256974       11/10/2011      14:39:13
12798      3033305904       8/29/2012       11:14:09
12799      3033327567       3/13/2012       18:52:25
12800      3033356645       10/12/2011      12:14:40
12801      3033455578       9/9/2011        18:04:41
12802      3033458640       2/26/2012       13:21:51
12803      3033495984       2/9/2012        20:46:21
12804      3033497500       1/12/2012       10:10:41
12805      3033594024       12/18/2011      17:44:33
12806      3033598118       8/30/2012       9:45:51
12807      3033644332       11/30/2011      13:03:17
12808      3033744740       3/16/2012       16:47:26
12809      3033784824       11/25/2011      18:33:14
12810      3033853031       8/29/2013       17:55:43
12811      3033963539       3/21/2011       12:15:05
12812      3033964046       4/9/2012        13:37:58
12813      3034061393       3/15/2012       19:34:51
12814      3034068050       10/10/2011      12:55:02
12815      3034195758       12/7/2011       15:15:00
12816      3034370304       2/7/2012        20:21:39
12817      3034371561       4/8/2011        18:59:16
12818      3034372518       2/28/2012       15:55:12
12819      3034376568       11/7/2011       9:41:55
12820      3034556426       7/19/2012       17:39:44
12821      3034723793       7/10/2012       21:10:42
12822      3034756656       3/29/2012       17:47:11
12823      3034763800       9/25/2012       14:58:25
12824      3034781311       11/18/2011      12:31:14
12825      3034781904       1/16/2012       17:17:18
12826      3034831523       7/19/2012       9:09:18
12827      3034894541       3/19/2012       11:59:28
12828      3034894541       4/16/2012       16:07:53
12829      3034895388       4/25/2011       14:58:06
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12830      3034959842       1/24/2012       17:23:45
12831      3035002626       1/18/2012       10:46:33
12832      3035013334       10/5/2012       12:41:47
12833      3035035756       5/26/2012       14:42:05
12834      3035062027       9/14/2011       12:37:15
12835      3035068952       10/3/2011       10:39:22
12836      3035070467       3/19/2012       19:24:48
12837      3035072487       1/16/2012       12:08:35
12838      3035123878       2/18/2012       9:12:24
12839      3035123878       3/13/2012       18:52:08
12840      3035143057       1/9/2012        9:44:22
12841      3035174840       7/19/2012       9:08:41
12842      3035181733       12/15/2011      9:08:55
12843      3035182443       7/30/2012       13:20:08
12844      3035186778       10/18/2012      9:02:58
12845      3035204102       11/15/2011      15:48:20
12846      3035217540       8/5/2011        18:10:28
12847      3035228972       6/22/2012       20:58:11
12848      3035237732       9/19/2011       8:20:54
12849      3035259660       9/22/2011       16:15:01
12850      3035268602       7/6/2012        14:52:35
12851      3035329358       1/12/2012       14:35:37
12852      3035475433       4/9/2012        18:18:31
12853      3035475433       5/21/2012       9:03:57
12854      3035478674       12/16/2011      15:45:24
12855      3035478674       1/12/2012       14:17:52
12856      3035478674       5/30/2012       12:43:12
12857      3035480867       8/31/2011       11:04:55
12858      3035488367       10/11/2011      17:17:53
12859      3035489277       10/29/2011      11:57:10
12860      3035500522       10/7/2011       17:41:17
12861      3035503487       12/5/2011       11:04:00
12862      3035508245       1/5/2012        17:30:57
12863      3035513791       2/14/2012       15:19:48
12864      3035527989       10/11/2011      16:31:12
12865      3035578233       11/17/2011      14:39:00
12866      3035578233       5/21/2012       9:03:41
12867      3035624826       1/25/2012       20:31:58
12868      3035626606       1/3/2012        17:06:38
12869      3035639334       1/27/2012       19:50:17
12870      3035657813       6/27/2012       12:28:09
12871      3035703730       9/15/2011       9:03:04
12872      3035705985       12/21/2011      10:22:31
12873      3035824286       10/1/2011       10:04:42
12874      3035824295       11/15/2011      16:38:01
12875      3035871997       2/16/2012       9:22:39
12876      3035884255       8/31/2012       16:33:03
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12877      3035884255       10/3/2012       19:46:28
12878      3035966963       10/29/2011      11:35:17
12879      3035983885       10/17/2012      18:37:58
12880      3036010609       10/3/2011       10:41:22
12881      3036010609       11/17/2011      16:56:55
12882      3036011092       10/2/2012       12:59:53
12883      3036018498       5/21/2012       9:04:07
12884      3036184926       2/17/2012       8:56:12
12885      3036193846       6/13/2012       20:00:25
12886      3036195476       7/9/2012        19:15:59
12887      3036212715       4/23/2012       13:05:56
12888      3036216868       8/3/2012        16:30:23
12889      3036387986       4/5/2012        14:01:13
12890      3036388439       7/31/2012       21:05:05
12891      3036481318       8/23/2012       21:07:21
12892      3036568332       10/7/2012       13:12:31
12893      3036679293       4/21/2012       16:27:07
12894      3036679293       6/14/2012       20:48:01
12895      3036683083       6/8/2012        9:15:55
12896      3036817500       9/22/2011       15:30:50
12897      3036818229       3/19/2012       11:45:46
12898      3037170110       6/18/2012       9:23:03
12899      3037173567       3/27/2012       10:32:10
12900      3037176876       12/6/2011       13:41:04
12901      3037255687       7/27/2012       14:01:55
12902      3037257375       11/7/2011       9:42:44
12903      3037284182       9/30/2011       12:08:38
12904      3037317384       10/18/2011      13:09:24
12905      3037467106       9/28/2011       9:31:51
12906      3037480569       12/10/2011      12:29:43
12907      3037486175       12/16/2011      15:48:41
12908      3037486319       6/18/2012       9:13:44
12909      3037669851       9/8/2011        19:06:39
12910      3037757917       9/13/2011       18:08:50
12911      3037759545       5/14/2012       15:39:32
12912      3038038851       12/12/2011      12:29:49
12913      3038078326       9/23/2011       11:48:33
12914      3038081719       10/5/2011       14:20:34
12915      3038085040       9/26/2012       13:03:53
12916      3038085877       5/27/2012       13:49:39
12917      3038086598       8/13/2011       10:37:42
12918      3038088491       2/10/2012       20:42:32
12919      3038092638       6/11/2012       18:16:22
12920      3038097462       3/29/2012       18:54:07
12921      3038097462       4/12/2012       18:09:16
12922      3038100760       3/26/2011       12:47:22
12923      3038103941       8/9/2011        13:09:17
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12924      3038153654       5/11/2012       10:46:45
12925      3038153660       5/24/2012       12:33:27
12926      3038154497       5/18/2012       16:07:42
12927      3038156001       3/20/2012       9:32:23
12928      3038158301       4/26/2012       17:40:59
12929      3038178865       7/19/2011       17:08:49
12930      3038189163       4/10/2012       11:59:18
12931      3038294111       6/23/2012       10:38:23
12932      3038429050       1/5/2012        17:23:54
12933      3038477240       12/3/2011       9:32:18
12934      3038477240       1/20/2012       20:35:52
12935      3038478994       10/24/2012      21:14:37
12936      3038593332       11/16/2011      10:42:15
12937      3038595495       3/8/2012        9:43:49
12938      3038620336       10/28/2011      14:30:04
12939      3038680109       11/30/2011      12:52:44
12940      3038701700       12/28/2011      20:46:18
12941      3038757935       2/24/2012       20:56:57
12942      3038770656       12/7/2011       14:19:51
12943      3038805203       1/25/2012       20:27:26
12944      3038809302       4/21/2012       16:46:35
12945      3038809302       5/13/2012       18:03:04
12946      3038813135       8/10/2012       9:32:38
12947      3038817387       11/5/2011       10:22:05
12948      3038830169       5/9/2011        17:34:43
12949      3038836229       3/21/2012       9:12:03
12950      3038836229       4/13/2012       20:46:51
12951      3038839385       5/5/2011        13:24:19
12952      3038853560       12/24/2011      8:13:15
12953      3038865256       5/17/2012       17:04:21
12954      3038872472       4/6/2012        16:22:48
12955      3038873986       10/22/2011      12:46:48
12956      3038887719       6/4/2012        21:13:08
12957      3038957632       11/28/2011      11:30:41
12958      3038959916       12/28/2011      11:06:12
12959      3038959916       1/11/2012       9:02:41
12960      3038980765       11/17/2011      15:51:32
12961      3038982190       2/17/2012       9:20:20
12962      3038984802       4/25/2012       18:37:11
12963      3038989784       12/23/2011      14:24:03
12964      3039014853       3/23/2012       19:54:10
12965      3039015104       12/2/2011       15:29:32
12966      3039015660       12/2/2011       14:30:41
12967      3039027681       3/8/2012        9:23:40
12968      3039056033       9/13/2011       13:39:52
12969      3039065271       12/26/2011      9:35:56
12970      3039069085       1/25/2012       9:42:58
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12971      3039069704       5/13/2012       18:03:33
12972      3039090929       12/5/2011       18:17:17
12973      3039091239       9/2/2011        13:13:35
12974      3039096312       11/18/2011      13:35:03
12975      3039102677       3/16/2012       16:05:10
12976      3039123546       4/7/2012        9:38:38
12977      3039123546       4/23/2012       13:14:56
12978      3039129830       10/27/2011      16:10:08
12979      3039133490       11/9/2011       9:17:42
12980      3039157249       4/25/2011       15:45:48
12981      3039158909       5/5/2011        13:23:04
12982      3039174359       9/9/2011        18:36:45
12983      3039184464       3/26/2012       14:41:49
12984      3039189010       9/24/2011       9:27:16
12985      3039189245       3/27/2012       15:53:58
12986      3039192571       4/5/2012        14:00:52
12987      3039195796       2/9/2012        9:48:06
12988      3039211669       12/14/2011      17:55:23
12989      3039291989       11/22/2011      19:44:09
12990      3039450294       1/20/2012       20:36:10
12991      3039463799       3/16/2012       10:27:00
12992      3039468652       1/13/2012       17:28:57
12993      3039469286       5/21/2012       9:03:27
12994      3039473354       6/12/2012       10:29:44
12995      3039477878       9/30/2011       10:24:38
12996      3039560040       11/12/2011      9:43:26
12997      3039563074       7/25/2012       11:59:21
12998      3039565995       3/12/2012       19:27:05
12999      3039576203       11/3/2011       17:43:33
13000      3039604855       4/2/2012        17:25:44
13001      3039610303       6/23/2012       10:34:52
13002      3039617262       1/27/2012       12:02:31
13003      3039684379       1/16/2012       12:11:23
13004      3039687933       5/24/2012       11:52:08
13005      3039689157       5/21/2012       9:03:36
13006      3039740528       4/25/2012       16:26:01
13007      3039810775       2/9/2012        20:43:04
13008      3039814337       11/11/2011      13:53:31
13009      3039815248       10/28/2011      14:32:37
13010      3039956111       1/10/2012       15:37:02
13011      3039959847       8/13/2012       9:07:58
13012      3039995910       10/20/2011      16:35:00
13013      3039998850       12/5/2011       9:49:28
13014      3042030026       3/14/2012       19:41:14
13015      3042030129       3/21/2012       13:36:49
13016      3042032059       1/5/2012        17:20:04
13017      3042071200       10/19/2011      12:09:33
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13018      3042082758       3/6/2012        15:41:29
13019      3042084725       10/8/2011       9:11:23
13020      3042085345       8/24/2013       12:43:58
13021      3042086921       7/19/2011       16:50:46
13022      3042099470       5/26/2012       14:27:32
13023      3042107122       5/9/2012        7:36:18
13024      3042164083       9/1/2012        9:16:56
13025      3042164214       8/29/2012       11:15:36
13026      3042181179       4/29/2012       18:16:28
13027      3042188336       12/21/2011      10:08:58
13028      3042188445       2/29/2012       7:10:58
13029      3042221121       12/30/2011      7:06:49
13030      3042221571       12/30/2011      7:12:23
13031      3042221571       3/15/2012       19:21:44
13032      3042223568       10/4/2011       13:32:00
13033      3042226124       10/23/2012      10:50:38
13034      3042226142       10/17/2011      7:04:18
13035      3042228482       8/13/2012       7:37:32
13036      3042228809       5/8/2012        7:06:21
13037      3042248060       11/19/2011      8:39:25
13038      3042249471       12/10/2011      12:55:13
13039      3042285510       7/12/2011       12:08:54
13040      3042285510       9/27/2011       15:18:00
13041      3042285510       11/29/2011      15:53:31
13042      3042287175       10/6/2011       17:29:16
13043      3042289650       3/29/2012       11:28:48
13044      3042317002       4/9/2012        7:04:40
13045      3042317962       3/7/2012        18:41:29
13046      3042370729       9/22/2011       15:06:26
13047      3042375093       10/15/2011      10:16:24
13048      3042378318       10/8/2011       10:38:42
13049      3042388663       12/28/2011      18:09:29
13050      3042578634       10/15/2011      10:24:34
13051      3042618978       10/28/2011      7:02:16
13052      3042664784       9/24/2012       14:36:59
13053      3042665880       11/16/2011      9:42:53
13054      3042665880       12/14/2011      17:56:28
13055      3042666153       11/15/2011      15:09:46
13056      3042682350       1/23/2012       19:10:44
13057      3042688397       10/11/2012      7:57:29
13058      3042700272       9/29/2011       15:37:52
13059      3042706224       6/9/2012        11:00:18
13060      3042707271       12/28/2011      17:59:01
13061      3042707849       10/12/2012      16:59:21
13062      3042762022       12/5/2011       9:15:50
13063      3042793914       1/14/2012       12:30:29
13064      3042795165       9/20/2011       19:24:47
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13065      3042796556       12/19/2011      7:27:17
13066      3042799824       1/6/2012        14:48:54
13067      3042804799       11/12/2011      10:12:32
13068      3042812581       4/9/2012        17:47:44
13069      3042815639       9/14/2011       16:18:00
13070      3042818763       6/11/2012       7:03:45
13071      3042821440       7/30/2012       13:29:31
13072      3042830445       8/25/2012       8:29:48
13073      3042831474       12/7/2011       13:57:33
13074      3042838420       5/11/2011       16:53:47
13075      3042839215       9/28/2011       10:14:11
13076      3042885278       4/6/2012        15:37:27
13077      3042888364       4/10/2012       16:19:55
13078      3042900256       1/5/2012        14:00:55
13079      3042902030       6/11/2011       8:27:37
13080      3042902030       11/12/2011      9:13:10
13081      3042903150       1/18/2012       9:49:26
13082      3042903977       12/28/2011      14:07:19
13083      3042906577       10/11/2011      16:59:04
13084      3042906577       11/10/2011      7:21:12
13085      3042906577       12/1/2011       7:54:23
13086      3042906577       12/7/2011       14:34:42
13087      3042908978       10/27/2011      15:12:44
13088      3042908978       1/3/2012        19:40:16
13089      3042990023       12/7/2011       13:16:27
13090      3042990230       5/26/2012       8:49:17
13091      3043085353       3/15/2012       19:26:56
13092      3043124136       9/21/2012       18:44:34
13093      3043125337       10/1/2011       10:13:46
13094      3043129125       10/12/2011      7:40:47
13095      3043129979       9/1/2012        9:20:44
13096      3043190191       11/8/2011       13:44:01
13097      3043190958       8/3/2012        12:43:50
13098      3043191621       4/29/2012       16:48:05
13099      3043191621       4/30/2012       14:46:02
13100      3043196322       5/31/2012       14:59:44
13101      3043205400       4/21/2012       16:12:05
13102      3043207634       9/13/2011       14:57:45
13103      3043207769       4/27/2012       8:02:13
13104      3043208417       9/24/2011       9:15:50
13105      3043208654       12/18/2011      17:18:16
13106      3043209302       2/14/2012       9:39:56
13107      3043220269       12/16/2011      16:13:46
13108      3043604196       11/18/2011      12:16:01
13109      3043652768       9/12/2011       13:51:46
13110      3043652768       9/26/2011       8:36:16
13111      3043735567       9/26/2012       7:06:50
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13112      3043736795       12/7/2011       13:13:25
13113      3043742053       4/28/2012       8:09:07
13114      3043760930       4/12/2012       18:12:23
13115      3043762107       3/1/2012        8:32:15
13116      3043769001       1/10/2012       15:11:38
13117      3043770073       10/3/2011       7:05:00
13118      3043776045       7/13/2012       18:27:34
13119      3043808270       4/21/2012       16:30:06
13120      3043825765       10/17/2013      8:16:30
13121      3043826264       4/9/2012        17:47:26
13122      3043826496       9/10/2012       7:33:16
13123      3043829272       5/1/2012        8:12:28
13124      3043829272       5/21/2012       7:06:40
13125      3043829272       5/21/2012       7:32:13
13126      3043829272       9/1/2012        9:14:20
13127      3043892295       10/6/2011       16:33:29
13128      3043893874       9/13/2011       15:31:37
13129      3043950027       3/28/2012       18:10:19
13130      3043953470       4/24/2012       11:51:33
13131      3043954184       7/20/2011       13:35:41
13132      3043954488       10/10/2012      12:46:35
13133      3043954950       3/6/2012        17:06:30
13134      3043955686       5/13/2012       17:15:10
13135      3043957967       10/11/2011      16:46:10
13136      3043958085       8/1/2011        19:12:01
13137      3043959162       3/14/2012       19:54:03
13138      3043959672       9/19/2011       19:09:31
13139      3044101560       4/16/2012       15:56:50
13140      3044102141       3/20/2012       17:38:48
13141      3044102141       4/22/2012       15:19:13
13142      3044123077       9/21/2012       15:35:57
13143      3044123800       3/6/2012        15:56:53
13144      3044126214       9/19/2011       7:12:00
13145      3044126214       10/3/2011       7:13:47
13146      3044127020       3/17/2012       8:23:16
13147      3044127831       7/13/2012       11:12:23
13148      3044128090       9/7/2011        14:38:24
13149      3044129026       10/11/2012      12:09:18
13150      3044129806       9/17/2011       10:12:41
13151      3044154974       10/11/2012      18:44:39
13152      3044170475       10/6/2011       17:15:11
13153      3044170551       9/3/2011        10:45:49
13154      3044171023       12/20/2011      19:23:10
13155      3044171565       2/11/2012       15:30:02
13156      3044190279       3/29/2012       16:37:48
13157      3044191058       9/22/2011       16:00:16
13158      3044192514       3/26/2012       18:22:16
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13159      3044192574       9/1/2012        9:07:34
13160      3044192788       3/24/2012       9:46:30
13161      3044212227       1/13/2012       17:12:24
13162      3044335699       9/18/2012       14:24:39
13163      3044373051       3/15/2011       11:38:02
13164      3044373421       12/10/2011      14:42:06
13165      3044374936       12/13/2011      16:54:57
13166      3044391146       4/26/2012       13:40:59
13167      3044396300       3/7/2012        7:16:44
13168      3044444192       6/11/2012       18:15:48
13169      3044444444       9/12/2011       13:02:36
13170      3044444444       1/13/2012       17:32:32
13171      3044761492       10/22/2011      13:02:38
13172      3044763386       1/4/2012        12:26:08
13173      3044763571       10/5/2011       14:29:33
13174      3044763571       1/11/2012       16:34:16
13175      3044809890       12/7/2011       13:19:22
13176      3044816065       1/5/2012        17:19:08
13177      3044817392       8/31/2011       10:21:20
13178      3044817392       9/26/2011       8:42:58
13179      3044825522       3/24/2012       9:56:11
13180      3044826857       9/18/2012       14:16:49
13181      3044826949       9/13/2012       7:43:03
13182      3044827941       10/1/2011       9:42:20
13183      3044830500       12/20/2011      15:00:22
13184      3044832917       8/10/2011       7:01:49
13185      3044886366       4/24/2012       12:31:19
13186      3045173305       2/28/2012       15:51:14
13187      3045174299       8/6/2012        16:22:20
13188      3045175262       2/21/2012       10:45:01
13189      3045178733       9/27/2011       18:23:15
13190      3045189136       4/14/2012       9:21:30
13191      3045189136       5/21/2012       8:47:36
13192      3045189694       3/16/2012       10:16:39
13193      3045213230       2/1/2012        18:30:25
13194      3045218478       2/20/2012       7:17:34
13195      3045316389       2/20/2012       16:46:09
13196      3045316981       3/19/2012       7:13:08
13197      3045318936       11/12/2011      10:13:35
13198      3045319220       3/2/2012        18:42:26
13199      3045319229       8/23/2012       11:48:28
13200      3045319822       10/3/2012       19:51:41
13201      3045321181       10/4/2011       13:13:27
13202      3045323170       4/17/2012       9:29:31
13203      3045323170       5/7/2012        7:12:42
13204      3045325772       3/13/2012       7:07:45
13205      3045326336       3/14/2012       7:11:59
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13206      3045327449       2/17/2012       18:08:40
13207      3045329578       7/13/2012       11:22:20
13208      3045336061       10/19/2012      9:47:48
13209      3045412018       9/30/2011       9:59:43
13210      3045412290       9/28/2012       17:05:37
13211      3045414881       8/12/2011       9:43:31
13212      3045419725       7/11/2012       17:14:09
13213      3045424498       10/3/2011       7:47:48
13214      3045436632       12/6/2011       7:32:29
13215      3045447661       12/20/2011      11:54:37
13216      3045451498       12/31/2011      11:58:17
13217      3045452934       10/4/2011       13:10:23
13218      3045453756       9/27/2012       16:25:35
13219      3045454152       6/11/2012       17:52:35
13220      3045465904       7/13/2012       18:51:58
13221      3045467413       9/8/2011        17:55:10
13222      3045492473       3/10/2012       8:30:54
13223      3045492473       5/21/2012       7:25:38
13224      3045503003       8/20/2011       8:39:45
13225      3045511441       4/12/2012       14:53:45
13226      3045521657       10/25/2012      19:42:31
13227      3045523718       3/19/2012       17:36:01
13228      3045524701       10/10/2011      12:15:36
13229      3045528632       9/13/2011       17:20:20
13230      3045534176       2/4/2012        8:16:37
13231      3045535101       10/20/2011      16:01:23
13232      3045539770       3/19/2012       7:26:12
13233      3045614668       4/10/2012       11:40:56
13234      3045643309       4/15/2012       17:02:49
13235      3045732295       3/11/2012       15:08:15
13236      3045732295       5/21/2012       7:25:42
13237      3045753100       8/2/2012        18:47:47
13238      3045757269       9/21/2011       19:32:56
13239      3045759605       12/1/2011       7:53:37
13240      3045780300       3/6/2012        15:57:42
13241      3045787998       5/16/2012       16:49:13
13242      3045795189       1/24/2012       17:12:05
13243      3045795189       2/14/2012       15:20:40
13244      3045820488       9/20/2011       17:05:22
13245      3045822019       10/15/2011      8:56:54
13246      3045823614       1/13/2012       17:13:33
13247      3045883721       11/7/2011       8:24:09
13248      3045884083       10/10/2011      12:14:16
13249      3045884404       9/24/2011       9:36:09
13250      3045886831       10/15/2011      9:15:34
13251      3045901544       9/21/2011       19:28:39
13252      3045935332       5/17/2012       7:11:31
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13253      3045938726       1/25/2012       9:18:33
13254      3045938726       3/23/2012       19:44:25
13255      3045967327       10/17/2012      9:31:39
13256      3046101022       4/10/2012       11:34:05
13257      3046108633       7/30/2012       13:29:37
13258      3046108743       9/23/2011       18:53:40
13259      3046121982       12/5/2011       18:28:28
13260      3046124495       10/10/2012      12:43:33
13261      3046124495       10/16/2012      7:30:39
13262      3046124546       11/23/2011      14:53:34
13263      3046139692       10/25/2011      15:14:39
13264      3046140177       12/3/2011       9:00:31
13265      3046140703       5/14/2011       11:41:18
13266      3046143876       6/30/2012       8:15:22
13267      3046145644       2/28/2012       16:15:44
13268      3046145644       3/4/2012        12:40:49
13269      3046148558       8/1/2012        8:25:36
13270      3046148558       9/18/2012       14:14:56
13271      3046154092       10/22/2011      12:23:57
13272      3046154272       5/11/2012       12:16:11
13273      3046155861       1/18/2012       16:34:53
13274      3046157805       10/11/2011      15:53:23
13275      3046160414       3/16/2012       10:40:04
13276      3046166644       6/16/2012       7:34:36
13277      3046178710       3/30/2011       9:36:24
13278      3046190392       9/21/2011       11:23:07
13279      3046202403       9/26/2012       14:34:52
13280      3046260352       10/21/2011      13:06:20
13281      3046260352       12/29/2011      18:03:22
13282      3046290900       12/2/2011       15:21:54
13283      3046292058       10/5/2012       18:30:34
13284      3046295631       5/21/2012       8:01:41
13285      3046296839       10/15/2011      10:01:04
13286      3046297590       10/25/2011      16:15:11
13287      3046336651       12/27/2011      14:33:33
13288      3046343262       7/15/2011       17:09:00
13289      3046346600       7/3/2012        13:03:44
13290      3046390420       9/6/2011        12:41:13
13291      3046391235       7/20/2011       13:30:47
13292      3046393247       2/25/2012       10:53:39
13293      3046401259       9/21/2011       11:25:40
13294      3046402897       10/10/2011      11:37:00
13295      3046404542       1/13/2012       17:21:21
13296      3046410029       9/21/2011       11:23:31
13297      3046410577       9/16/2011       13:57:42
13298      3046412818       5/17/2011       9:18:06
13299      3046440859       10/17/2011      9:15:59
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13300      3046441948       12/12/2011      12:14:01
13301      3046441948       12/19/2011      7:26:00
13302      3046460103       3/27/2012       7:04:07
13303      3046460703       10/6/2011       16:37:25
13304      3046510337       9/12/2011       13:57:13
13305      3046516263       10/7/2011       7:14:04
13306      3046517417       10/5/2012       18:19:35
13307      3046519283       11/30/2011      15:15:33
13308      3046519973       7/26/2012       12:00:27
13309      3046540008       5/9/2012        7:39:41
13310      3046540008       5/14/2012       7:07:47
13311      3046540008       5/21/2012       7:48:39
13312      3046543980       12/9/2011       7:53:31
13313      3046544944       2/14/2012       16:37:08
13314      3046546124       9/1/2012        8:48:53
13315      3046558922       10/3/2012       7:09:54
13316      3046571408       1/11/2012       7:24:16
13317      3046577174       9/14/2012       7:11:41
13318      3046577392       10/19/2011      7:51:15
13319      3046577658       7/23/2012       15:26:29
13320      3046612289       9/22/2011       15:10:32
13321      3046616188       1/16/2012       17:07:53
13322      3046616188       1/19/2012       18:35:05
13323      3046632720       3/11/2012       15:08:33
13324      3046632720       3/19/2012       7:01:51
13325      3046632720       5/21/2012       7:04:52
13326      3046632720       5/21/2012       7:29:28
13327      3046639107       10/5/2011       14:25:58
13328      3046639108       11/1/2011       8:04:00
13329      3046676894       11/18/2011      13:29:07
13330      3046679838       11/30/2011      7:15:11
13331      3046680232       10/6/2012       8:29:53
13332      3046681079       1/6/2012        14:49:39
13333      3046681287       9/10/2011       8:10:37
13334      3046683821       6/24/2011       11:45:28
13335      3046684971       4/19/2012       14:58:40
13336      3046684972       1/11/2012       16:18:50
13337      3046694631       2/28/2012       16:15:08
13338      3046695204       9/16/2011       13:17:52
13339      3046702247       3/16/2012       10:30:13
13340      3046704639       12/17/2011      11:45:35
13341      3046707278       10/10/2011      11:47:13
13342      3046707278       12/9/2011       7:50:26
13343      3046710000       8/3/2011        11:37:03
13344      3046712438       5/5/2012        8:26:43
13345      3046713027       9/28/2011       10:04:18
13346      3046720066       11/18/2011      12:14:47
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13347      3046725328       3/29/2012       16:40:20
13348      3046731426       8/29/2011       11:39:28
13349      3046731608       4/5/2012        14:31:31
13350      3046732172       6/28/2012       14:20:16
13351      3046732269       3/20/2012       9:25:36
13352      3046732312       3/26/2012       7:14:35
13353      3046736960       2/8/2012        7:49:05
13354      3046746299       9/8/2011        17:59:19
13355      3046761687       4/22/2012       15:09:17
13356      3046765585       9/12/2012       7:45:25
13357      3046767280       7/20/2012       7:32:16
13358      3046768160       6/26/2012       8:01:23
13359      3046768641       12/17/2011      11:55:37
13360      3046785041       11/16/2011      8:38:27
13361      3046785527       3/16/2012       15:50:17
13362      3046789484       12/14/2011      17:57:32
13363      3046800414       12/5/2011       8:25:54
13364      3046802382       10/31/2011      8:50:14
13365      3046802741       9/17/2011       9:15:43
13366      3046802741       12/9/2011       15:50:31
13367      3046803931       10/3/2012       10:32:21
13368      3046807261       12/6/2011       7:21:25
13369      3046807866       1/12/2012       14:25:34
13370      3046852451       11/28/2011      11:12:50
13371      3046853683       9/8/2011        19:50:15
13372      3046855775       8/18/2011       7:44:58
13373      3046856024       9/14/2011       16:06:33
13374      3046856407       9/3/2012        14:47:10
13375      3046873432       10/10/2011      11:42:16
13376      3046873865       9/19/2012       7:54:34
13377      3046881370       10/15/2011      9:47:49
13378      3046881551       3/7/2012        18:29:37
13379      3046882313       5/30/2012       9:19:07
13380      3046882564       11/30/2011      7:21:06
13381      3046885754       5/26/2012       14:30:23
13382      3046887617       1/16/2012       17:23:59
13383      3046888026       10/7/2011       7:15:27
13384      3046901033       12/27/2011      14:33:17
13385      3046905358       3/29/2012       17:27:06
13386      3046925205       9/13/2011       17:34:19
13387      3046929045       9/22/2011       15:01:03
13388      3046929922       6/17/2011       15:02:23
13389      3046941505       11/29/2011      16:06:36
13390      3046944118       6/30/2012       8:26:59
13391      3046947755       8/31/2012       16:33:34
13392      3046950387       10/8/2011       11:12:45
13393      3046951554       12/23/2011      15:28:54
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13394      3046953177       3/7/2012        9:49:49
13395      3046953456       9/20/2011       18:11:50
13396      3046958484       10/4/2011       13:06:16
13397      3046981930       6/5/2012        19:48:21
13398      3046988323       8/16/2011       16:34:31
13399      3046988323       11/28/2011      17:13:35
13400      3046989395       3/14/2012       19:40:24
13401      3046989488       1/24/2012       10:00:35
13402      3047010083       3/7/2012        18:38:23
13403      3047020843       4/25/2012       9:33:42
13404      3047031965       3/7/2012        7:09:50
13405      3047043254       9/15/2011       7:23:52
13406      3047045578       12/21/2011      10:25:29
13407      3047046243       11/14/2011      16:26:18
13408      3047046243       11/29/2011      7:30:06
13409      3047046634       9/27/2011       18:28:12
13410      3047074319       2/25/2012       10:49:32
13411      3047075788       8/3/2012        16:23:39
13412      3047077838       4/30/2012       14:45:40
13413      3047078134       10/12/2012      16:38:37
13414      3047092252       12/17/2011      11:31:41
13415      3047092252       3/8/2012        9:34:55
13416      3047092276       12/16/2011      15:55:42
13417      3047101445       5/23/2012       15:04:43
13418      3047104342       8/13/2012       7:45:01
13419      3047109017       5/17/2012       12:05:51
13420      3047125765       11/5/2011       9:29:13
13421      3047128279       5/26/2012       14:29:18
13422      3047166451       5/25/2011       17:06:16
13423      3047191640       3/15/2012       19:06:08
13424      3047198103       5/14/2012       15:18:24
13425      3047213034       9/27/2011       18:22:05
13426      3047213157       10/25/2011      16:01:38
13427      3047213157       11/18/2011      12:45:29
13428      3047238154       5/22/2012       11:43:44
13429      3047238168       9/24/2012       14:35:07
13430      3047300026       5/23/2012       14:50:02
13431      3047300529       2/14/2012       9:51:59
13432      3047302848       8/5/2011        17:46:46
13433      3047303606       6/27/2012       12:13:37
13434      3047304188       10/2/2013       9:01:09
13435      3047361299       5/14/2012       15:19:04
13436      3047365824       9/8/2011        17:51:30
13437      3047595015       10/22/2012      7:01:42
13438      3047631265       4/27/2012       7:57:57
13439      3047631265       5/17/2012       16:48:08
13440      3047631265       6/23/2012       8:39:29
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13441      3047670620       2/15/2012       8:08:36
13442      3047675559       11/10/2011      7:15:55
13443      3047678888       9/10/2011       8:28:55
13444      3047710642       11/22/2011      19:15:33
13445      3047710830       9/16/2011       13:54:01
13446      3047715119       12/5/2011       8:22:03
13447      3047770850       12/10/2011      12:47:12
13448      3047805373       3/28/2012       18:10:11
13449      3047805373       4/2/2012        7:03:29
13450      3047841293       6/12/2012       7:16:20
13451      3047844446       2/11/2012       15:22:56
13452      3047845585       9/26/2011       8:33:20
13453      3047852518       9/4/2013        18:25:51
13454      3047853339       10/1/2011       10:25:58
13455      3047859533       9/13/2011       14:53:31
13456      3047902511       10/17/2012      9:41:22
13457      3047903036       9/27/2011       18:05:46
13458      3047903134       9/20/2012       7:02:45
13459      3047903431       9/3/2012        14:46:19
13460      3047909167       9/21/2012       15:36:30
13461      3048071181       10/15/2011      9:44:42
13462      3048071200       11/12/2011      10:22:23
13463      3048077270       12/2/2011       15:06:01
13464      3048120763       7/15/2011       17:24:41
13465      3048124690       11/10/2011      7:11:19
13466      3048124690       12/6/2011       7:24:21
13467      3048126100       11/20/2011      11:06:43
13468      3048130967       9/6/2012        12:19:03
13469      3048131020       11/15/2011      15:08:21
13470      3048131020       2/20/2012       7:15:54
13471      3048131020       3/10/2012       8:39:47
13472      3048135334       7/14/2012       8:09:03
13473      3048135943       5/26/2012       16:27:35
13474      3048136137       9/19/2011       7:07:21
13475      3048136137       10/17/2011      11:10:08
13476      3048136219       2/28/2012       7:50:26
13477      3048138839       11/15/2011      15:08:28
13478      3048166921       4/18/2012       7:12:29
13479      3048202096       5/16/2012       16:47:07
13480      3048204639       4/5/2012        14:32:30
13481      3048206864       10/29/2011      10:09:34
13482      3048206864       12/27/2011      13:31:26
13483      3048208930       7/15/2011       17:21:06
13484      3048303807       10/20/2012      16:21:29
13485      3048340256       10/9/2012       19:59:03
13486      3048345444       3/16/2012       10:40:00
13487      3048348236       3/12/2012       7:12:16
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13488      3048380375       3/21/2011       10:53:39
13489      3048383055       4/25/2011       8:45:31
13490      3048391934       1/6/2012        14:50:09
13491      3048395188       2/11/2012       15:05:17
13492      3048396491       2/3/2012        7:13:06
13493      3048403229       10/26/2011      11:49:47
13494      3048403229       11/9/2011       7:47:14
13495      3048405225       5/29/2012       17:18:49
13496      3048407909       12/21/2011      10:03:48
13497      3048413944       11/16/2011      7:48:43
13498      3048440133       2/28/2012       15:58:21
13499      3048510057       3/12/2012       19:03:19
13500      3048510453       10/4/2011       13:39:37
13501      3048515266       4/21/2012       16:33:41
13502      3048516320       3/14/2012       14:46:46
13503      3048572009       10/22/2012      7:11:56
13504      3048806080       9/28/2011       10:51:52
13505      3048808044       4/15/2012       16:59:06
13506      3048808044       5/21/2012       7:31:10
13507      3048808607       3/19/2012       17:40:28
13508      3048815080       12/1/2011       14:55:02
13509      3048815486       10/7/2011       7:22:38
13510      3048819769       12/7/2011       13:16:52
13511      3048862727       5/11/2012       18:31:47
13512      3048863323       10/10/2011      12:23:41
13513      3048864312       12/5/2011       8:56:21
13514      3048864521       9/29/2012       10:12:47
13515      3048866016       1/8/2012        13:06:08
13516      3048866794       2/8/2012        7:39:31
13517      3048867494       1/31/2012       7:06:18
13518      3048867494       6/4/2012        8:36:08
13519      3048868404       9/12/2011       13:06:30
13520      3048868665       10/10/2012      12:35:12
13521      3048872133       9/10/2011       8:42:05
13522      3048884697       6/26/2012       8:00:50
13523      3048903372       12/1/2011       8:12:10
13524      3048906575       2/8/2012        7:31:43
13525      3048907033       8/30/2012       17:44:19
13526      3048932360       10/10/2011      11:48:31
13527      3048942306       10/3/2011       7:17:41
13528      3049048122       8/28/2012       7:27:04
13529      3049053120       10/13/2012      9:07:44
13530      3049053121       9/24/2012       19:04:43
13531      3049054016       10/10/2012      19:10:14
13532      3049102530       10/13/2012      8:52:27
13533      3049102954       12/20/2011      19:32:01
13534      3049102954       12/27/2011      14:15:44
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13535      3049141230       10/28/2011      7:04:25
13536      3049141628       3/23/2012       19:47:20
13537      3049145592       5/14/2012       7:21:39
13538      3049149335       10/4/2011       13:39:25
13539      3049149833       1/19/2012       7:42:59
13540      3049190105       5/18/2012       15:54:58
13541      3049193359       10/29/2011      10:31:53
13542      3049193359       12/10/2011      11:57:06
13543      3049204067       1/17/2012       18:39:01
13544      3049205189       10/1/2011       10:23:41
13545      3049206666       7/13/2011       10:58:48
13546      3049208711       2/10/2012       7:05:12
13547      3049208881       2/14/2012       16:49:02
13548      3049222044       9/6/2011        12:42:19
13549      3049224204       2/8/2012        7:28:19
13550      3049230504       10/22/2012      17:53:49
13551      3049230514       10/19/2012      19:04:05
13552      3049232703       10/3/2011       7:29:44
13553      3049235697       8/23/2011       18:03:15
13554      3049281768       3/14/2012       19:24:32
13555      3049325371       3/16/2012       16:12:36
13556      3049326122       1/8/2012        12:51:25
13557      3049326122       2/17/2012       18:25:24
13558      3049329433       8/23/2012       11:47:11
13559      3049329782       2/21/2012       9:31:09
13560      3049401893       10/1/2011       10:14:20
13561      3049401893       10/8/2011       10:28:17
13562      3049405398       10/3/2012       7:03:50
13563      3049415740       2/10/2012       17:14:02
13564      3049415757       12/6/2011       14:10:00
13565      3049426984       3/25/2012       11:42:27
13566      3049465807       10/13/2012      8:59:53
13567      3049510790       12/9/2011       8:00:01
13568      3049523160       9/24/2011       9:08:50
13569      3049526310       11/22/2011      19:11:14
13570      3049539683       10/26/2011      11:50:21
13571      3049622202       3/21/2012       13:43:05
13572      3049622202       4/9/2012        17:47:02
13573      3049622202       5/21/2012       7:05:44
13574      3049626020       2/17/2012       18:09:38
13575      3049626020       2/28/2012       16:00:02
13576      3049626020       6/23/2012       16:22:21
13577      3049626554       2/14/2012       16:36:37
13578      3049626837       8/1/2012        8:30:28
13579      3049627820       3/30/2012       7:02:26
13580      3049640573       6/18/2011       15:12:12
13581      3049722565       2/1/2012        8:16:04
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13582      3049725312       12/21/2011      10:15:37
13583      3049725312       2/16/2012       7:07:55
13584      3049726594       4/6/2012        15:38:08
13585      3049821665       10/15/2011      10:21:34
13586      3049821904       7/21/2012       10:34:10
13587      3049822506       2/7/2012        16:55:15
13588      3049823776       6/27/2011       7:13:34
13589      3049829548       6/30/2012       8:05:46
13590      3049890147       6/16/2012       7:50:04
13591      3049891415       12/18/2011      17:56:00
13592      3049892765       10/8/2011       11:25:36
13593      3049892765       10/25/2011      15:26:17
13594      3049895502       9/8/2011        18:37:54
13595      3049899069       3/11/2012       14:59:52
13596      3049899208       3/18/2011       9:11:25
13597      3049911102       12/16/2011      16:17:16
13598      3049921713       2/16/2012       7:11:43
13599      3049930318       3/21/2012       13:36:02
13600      3049932155       9/26/2012       14:35:34
13601      3049936178       2/20/2012       16:48:03
13602      3049937598       9/22/2011       15:09:41
13603      3049938466       10/7/2012       12:52:41
13604      3049940556       6/21/2012       10:08:40
13605      3049955703       8/15/2012       7:53:05
13606      3049959723       9/29/2012       10:15:37
13607      3049975077       12/27/2011      14:16:58
13608      3052006696       10/21/2011      12:23:11
13609      3052009537       1/23/2012       7:20:09
13610      3052024332       10/13/2011      7:13:00
13611      3052052106       9/21/2012       18:44:11
13612      3052053664       11/17/2011      15:43:37
13613      3052054477       8/29/2011       9:09:29
13614      3052055062       9/8/2011        19:44:23
13615      3052058097       11/5/2011       10:53:33
13616      3052061166       10/8/2011       11:24:06
13617      3052061575       10/27/2011      15:01:47
13618      3052062261       2/17/2012       18:16:26
13619      3052062344       8/15/2011       9:32:57
13620      3052064939       1/17/2012       7:20:47
13621      3052135224       10/1/2011       10:24:27
13622      3052155765       5/21/2011       10:41:34
13623      3052158961       11/30/2011      15:16:42
13624      3052169281       7/28/2012       8:53:41
13625      3052180331       7/16/2012       19:32:50
13626      3052180531       6/19/2012       15:41:03
13627      3052188182       3/6/2012        7:53:51
13628      3052192023       10/12/2011      8:28:35
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13629      3052193581       9/10/2011       8:53:18
13630      3052199006       9/23/2011       11:27:27
13631      3052216767       11/9/2011       7:43:27
13632      3052242930       3/14/2012       14:28:24
13633      3052243218       5/26/2012       8:54:32
13634      3052308292       12/6/2011       13:18:51
13635      3052308506       8/4/2011        7:54:08
13636      3052322540       12/6/2013       15:18:28
13637      3052402218       3/2/2012        19:12:52
13638      3052408089       3/23/2012       7:03:34
13639      3052426969       12/30/2011      7:05:35
13640      3052440208       11/10/2011      7:16:33
13641      3052443020       11/26/2011      11:14:39
13642      3052444642       6/15/2012       16:33:15
13643      3052445168       1/5/2012        13:59:48
13644      3052446242       2/14/2012       13:31:59
13645      3052447875       7/2/2012        14:57:26
13646      3052448116       5/25/2012       8:15:51
13647      3052448429       2/1/2012        18:35:23
13648      3052489561       2/25/2012       11:01:00
13649      3052552340       4/20/2012       14:04:31
13650      3052630028       4/29/2012       18:16:35
13651      3052810147       5/16/2012       16:53:47
13652      3052814645       9/8/2011        19:08:07
13653      3052815564       3/26/2012       7:24:13
13654      3052817852       11/16/2011      8:00:38
13655      3052818767       1/18/2012       16:39:59
13656      3052820036       11/17/2011      16:40:15
13657      3052827881       1/19/2012       18:21:16
13658      3052832388       7/14/2011       15:44:02
13659      3052834830       9/10/2011       9:04:33
13660      3052834830       9/21/2011       19:30:27
13661      3052835297       5/27/2012       13:54:16
13662      3052835297       6/11/2012       17:55:54
13663      3052835631       6/8/2012        16:59:19
13664      3052838245       12/23/2011      14:52:05
13665      3052839310       3/28/2012       18:19:19
13666      3052970820       3/7/2012        7:13:37
13667      3052971616       5/24/2012       7:07:43
13668      3052979002       5/10/2012       14:46:25
13669      3052979002       7/17/2012       7:06:02
13670      3052988512       2/16/2012       7:02:20
13671      3052996628       9/14/2011       9:26:18
13672      3052998787       11/21/2011      7:43:32
13673      3053000583       4/9/2012        7:13:34
13674      3053000583       6/19/2012       15:41:32
13675      3053001420       8/6/2011        9:15:28
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13676      3053001873       3/20/2012       9:12:58
13677      3053002148       5/22/2012       18:26:32
13678      3053002198       5/27/2012       13:48:06
13679      3053002428       10/19/2012      19:06:31
13680      3053002524       1/20/2012       11:41:48
13681      3053003571       11/30/2011      7:11:51
13682      3053004163       11/16/2011      7:48:10
13683      3053004303       1/27/2012       7:18:03
13684      3053004463       10/22/2012      7:06:22
13685      3053004554       4/29/2012       18:17:23
13686      3053007206       1/27/2012       18:00:07
13687      3053009623       5/22/2012       18:20:44
13688      3053011971       1/14/2012       8:18:44
13689      3053013029       11/5/2011       10:40:51
13690      3053014094       8/23/2012       19:05:25
13691      3053014094       10/5/2012       12:22:54
13692      3053017012       9/16/2011       14:17:04
13693      3053017012       5/19/2012       8:11:01
13694      3053024064       1/8/2012        13:02:54
13695      3053027391       10/4/2011       13:09:03
13696      3053029757       9/1/2012        8:33:33
13697      3053030072       1/19/2012       18:37:15
13698      3053031943       10/1/2012       8:21:34
13699      3053032094       9/3/2011        11:03:30
13700      3053032519       12/17/2011      11:57:16
13701      3053033358       5/8/2012        16:59:14
13702      3053035278       8/1/2011        19:14:35
13703      3053038807       3/21/2012       7:12:41
13704      3053039429       9/8/2011        18:27:07
13705      3053039969       2/28/2012       13:42:29
13706      3053043088       12/21/2011      10:13:16
13707      3053045360       7/26/2012       19:26:00
13708      3053046765       9/19/2011       19:10:19
13709      3053050009       12/12/2011      12:16:07
13710      3053051095       3/29/2012       16:29:04
13711      3053051178       12/18/2011      17:35:36
13712      3053051319       6/17/2011       15:12:41
13713      3053053706       4/4/2012        7:09:22
13714      3053053933       12/6/2011       14:10:11
13715      3053055005       7/16/2012       19:37:08
13716      3053055625       1/28/2012       8:14:52
13717      3053055625       6/16/2012       15:24:27
13718      3053056507       11/18/2011      13:30:51
13719      3053056898       1/27/2012       17:59:45
13720      3053056956       10/7/2011       7:16:13
13721      3053057755       9/19/2011       19:04:18
13722      3053058060       8/2/2011        16:52:34
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13723      3053058200       9/9/2011        7:35:42
13724      3053058532       4/19/2012       7:33:05
13725      3053058532       5/2/2012        13:07:17
13726      3053059433       9/2/2011        12:40:46
13727      3053059711       3/30/2012       16:04:12
13728      3053080207       4/29/2012       16:46:53
13729      3053082540       1/13/2012       12:28:13
13730      3053082540       5/23/2012       15:14:06
13731      3053083179       8/8/2012        7:09:54
13732      3053084530       10/13/2011      7:15:44
13733      3053084702       10/3/2011       7:12:45
13734      3053085050       12/21/2011      10:03:32
13735      3053085050       4/22/2012       15:06:52
13736      3053085050       4/23/2012       7:11:36
13737      3053087711       9/11/2012       7:43:45
13738      3053088117       2/18/2012       8:40:29
13739      3053089367       4/19/2012       14:55:45
13740      3053102449       7/3/2012        15:59:36
13741      3053103198       3/24/2012       9:53:27
13742      3053103519       4/1/2012        16:59:16
13743      3053105902       6/18/2012       8:06:45
13744      3053108250       11/21/2011      7:09:19
13745      3053109384       7/27/2012       15:41:53
13746      3053161676       2/24/2011       11:24:00
13747      3053162172       10/12/2011      7:52:45
13748      3053163794       10/3/2012       7:01:45
13749      3053164668       10/11/2011      16:09:14
13750      3053164754       2/10/2012       16:22:25
13751      3053164786       12/10/2011      12:00:06
13752      3053164787       2/22/2012       7:07:00
13753      3053164787       3/6/2012        16:01:07
13754      3053165458       12/9/2011       13:34:40
13755      3053166188       4/15/2012       16:33:09
13756      3053166188       5/21/2012       7:06:12
13757      3053167166       11/18/2011      13:23:36
13758      3053167757       10/14/2011      13:14:15
13759      3053169508       11/29/2011      16:15:34
13760      3053182319       9/14/2011       9:26:21
13761      3053182365       2/29/2012       7:11:05
13762      3053182368       9/24/2012       12:52:29
13763      3053184199       9/8/2012        11:18:39
13764      3053187179       11/16/2011      7:54:05
13765      3053187713       11/9/2011       7:43:15
13766      3053188014       8/20/2012       7:43:35
13767      3053189191       9/10/2012       7:44:03
13768      3053189261       11/30/2011      15:18:40
13769      3053213976       12/20/2011      17:11:30
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13770      3053215110       9/23/2011       8:24:24
13771      3053215110       11/8/2011       13:45:43
13772      3053215169       4/15/2012       19:58:05
13773      3053217328       5/15/2012       7:50:25
13774      3053221179       12/17/2011      11:23:26
13775      3053222052       1/21/2012       8:27:27
13776      3053238786       12/29/2011      18:53:33
13777      3053314478       3/2/2012        7:04:12
13778      3053316416       3/29/2012       16:40:12
13779      3053317166       12/24/2011      7:13:05
13780      3053317666       12/7/2011       17:46:11
13781      3053317905       6/4/2012        10:03:09
13782      3053322385       10/11/2011      17:14:02
13783      3053326935       8/13/2012       7:45:53
13784      3053328108       10/7/2012       12:48:25
13785      3053328108       10/15/2012      9:48:25
13786      3053329912       12/9/2011       7:59:37
13787      3053330226       10/3/2012       19:51:07
13788      3053333945       7/14/2012       8:19:44
13789      3053335810       11/22/2011      19:26:01
13790      3053336491       12/2/2011       7:53:18
13791      3053337015       10/1/2011       10:34:33
13792      3053338985       8/31/2011       7:14:28
13793      3053339932       6/19/2012       15:40:58
13794      3053352991       10/8/2011       10:34:19
13795      3053355150       8/18/2011       7:44:58
13796      3053363900       7/23/2012       15:26:51
13797      3053364366       9/21/2011       19:45:15
13798      3053364637       8/6/2012        14:33:19
13799      3053365946       11/11/2011      7:55:44
13800      3053380090       9/20/2011       16:33:32
13801      3053380136       4/4/2012        18:57:08
13802      3053385121       8/7/2012        17:50:35
13803      3053388923       8/9/2012        13:59:47
13804      3053422087       10/5/2011       14:31:08
13805      3053422087       12/29/2011      19:16:30
13806      3053423189       1/9/2012        18:24:57
13807      3053426399       3/7/2012        7:19:03
13808      3053427874       11/9/2011       7:27:24
13809      3053427874       12/10/2011      14:32:19
13810      3053434459       2/16/2012       7:26:08
13811      3053439614       10/1/2012       13:41:08
13812      3053439622       9/8/2012        11:06:15
13813      3053453552       1/5/2012        17:19:09
13814      3053456309       1/10/2014       7:05:22
13815      3053457504       8/15/2012       7:54:23
13816      3053457996       5/2/2012        13:09:07
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13817      3053459815       10/15/2011      10:23:23
13818      3053516325       12/23/2011      13:53:39
13819      3053516325       5/14/2012       15:20:03
13820      3053516997       10/28/2011      14:03:58
13821      3053702814       9/29/2012       10:10:34
13822      3053702986       2/20/2012       7:15:16
13823      3053704455       11/17/2011      16:15:51
13824      3053708557       2/7/2012        7:06:23
13825      3053708557       6/18/2012       15:08:12
13826      3053709287       4/12/2012       12:12:56
13827      3053721037       4/19/2012       7:28:04
13828      3053848044       8/10/2012       7:30:48
13829      3053848197       4/6/2012        15:42:06
13830      3053848225       3/13/2012       16:36:52
13831      3053894990       4/17/2012       9:19:01
13832      3053898258       9/29/2011       15:44:49
13833      3053947348       3/10/2011       17:39:18
13834      3053951373       4/20/2012       13:43:58
13835      3053951373       5/26/2012       14:35:15
13836      3053973730       10/26/2011      12:58:20
13837      3053976324       5/18/2012       7:06:01
13838      3054010756       5/25/2011       17:03:47
13839      3054012400       7/25/2011       16:50:45
13840      3054014291       5/13/2012       17:29:40
13841      3054019082       9/28/2011       10:11:48
13842      3054090801       9/29/2011       15:07:12
13843      3054091123       4/21/2012       16:11:42
13844      3054095498       10/26/2011      8:14:19
13845      3054095498       11/12/2011      9:45:25
13846      3054096619       4/4/2012        18:46:56
13847      3054099466       10/1/2011       10:35:27
13848      3054143605       1/23/2012       7:03:15
13849      3054164752       3/21/2012       13:40:08
13850      3054310796       12/14/2011      17:59:41
13851      3054315024       11/17/2011      16:14:19
13852      3054317726       10/5/2011       14:30:05
13853      3054318789       10/7/2011       7:21:00
13854      3054319381       10/15/2011      8:45:33
13855      3054388571       3/30/2012       16:15:21
13856      3054390934       8/28/2012       7:25:49
13857      3054392279       12/31/2011      12:03:33
13858      3054393064       10/26/2011      13:30:23
13859      3054393200       4/20/2012       14:04:37
13860      3054393200       6/16/2012       15:13:35
13861      3054501800       11/30/2011      7:05:12
13862      3054502276       6/27/2012       17:58:02
13863      3054505586       12/3/2011       9:08:02
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13864      3054506013       3/28/2011       15:17:43
13865      3054506013       9/8/2011        18:40:51
13866      3054506013       10/5/2011       14:05:47
13867      3054506725       7/5/2012        7:47:35
13868      3054507316       4/30/2012       14:43:24
13869      3054507488       10/1/2012       13:40:58
13870      3054543887       8/25/2011       16:29:37
13871      3054572333       6/23/2012       16:11:06
13872      3054572495       6/21/2012       10:03:09
13873      3054572495       6/26/2012       7:59:04
13874      3054576018       10/25/2011      15:13:46
13875      3054581297       10/27/2013      13:25:48
13876      3054581411       11/14/2011      16:43:53
13877      3054581411       12/1/2011       7:56:50
13878      3054585488       6/11/2012       7:13:04
13879      3054587288       1/26/2012       7:22:07
13880      3054589936       4/11/2012       7:16:15
13881      3054670313       10/5/2011       13:59:16
13882      3054671024       8/6/2011        9:17:17
13883      3054673363       7/10/2012       7:27:51
13884      3054676751       1/10/2012       15:24:24
13885      3054677842       4/6/2012        15:41:04
13886      3054678858       5/21/2012       7:30:48
13887      3054691171       3/10/2011       15:27:42
13888      3054691171       3/28/2011       15:08:27
13889      3054691171       9/17/2011       9:53:33
13890      3054691468       1/27/2012       7:26:08
13891      3054693504       5/23/2012       16:46:57
13892      3054790696       12/21/2011      10:59:03
13893      3054793566       12/22/2011      7:13:05
13894      3054795316       9/12/2011       14:05:03
13895      3054797164       12/14/2011      12:50:13
13896      3054797879       9/21/2012       16:14:40
13897      3054818368       8/15/2011       9:23:46
13898      3054844454       1/25/2012       9:30:02
13899      3054844780       10/4/2011       13:39:47
13900      3054901171       8/2/2012        11:33:00
13901      3054901915       8/20/2012       7:46:53
13902      3054906440       11/19/2011      8:35:29
13903      3054909200       1/12/2012       14:15:53
13904      3054909918       6/2/2012        12:36:13
13905      3054910189       10/23/2012      16:01:21
13906      3054929152       9/19/2011       19:05:12
13907      3054929920       6/5/2012        17:48:35
13908      3054943080       5/8/2012        17:02:33
13909      3054944877       1/16/2012       17:08:51
13910      3054945121       8/8/2012        7:09:10
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13911      3054946053       8/26/2011       18:08:45
13912      3054952123       2/28/2012       15:52:48
13913      3054952719       12/23/2011      14:32:09
13914      3054952741       4/4/2012        18:41:33
13915      3054952832       10/1/2011       10:32:21
13916      3054954475       10/17/2012      9:46:51
13917      3054954475       10/25/2012      19:32:17
13918      3054961106       5/8/2012        7:04:49
13919      3054965496       10/12/2011      7:21:11
13920      3054967018       7/30/2011       8:26:56
13921      3054981667       4/29/2012       18:18:04
13922      3054985654       12/5/2011       18:31:37
13923      3054986653       10/19/2011      7:37:45
13924      3054989313       6/6/2012        7:11:53
13925      3055020936       8/4/2013        10:10:02
13926      3055050328       12/21/2011      10:41:04
13927      3055054748       4/4/2011        12:29:43
13928      3055059448       12/22/2011      9:37:39
13929      3055059448       1/13/2012       17:24:46
13930      3055059448       8/3/2012        16:27:33
13931      3055080214       11/18/2011      13:29:23
13932      3055080561       5/1/2012        17:53:33
13933      3055080561       5/5/2012        12:30:43
13934      3055088030       12/20/2011      7:03:06
13935      3055091530       5/21/2012       17:20:48
13936      3055092402       7/26/2012       19:13:29
13937      3055105537       5/23/2012       15:05:48
13938      3055105549       10/15/2012      9:49:21
13939      3055190049       1/9/2012        18:29:34
13940      3055190594       10/11/2011      17:38:38
13941      3055190634       9/12/2011       14:01:15
13942      3055190650       1/20/2012       11:29:02
13943      3055191587       5/11/2011       16:45:18
13944      3055195647       7/20/2011       13:10:39
13945      3055199836       2/25/2012       10:49:03
13946      3055199836       4/11/2012       19:34:11
13947      3055223657       12/10/2011      12:02:47
13948      3055223868       9/8/2012        11:21:27
13949      3055251442       11/21/2011      7:45:31
13950      3055253557       9/20/2012       7:01:42
13951      3055274307       6/26/2012       7:58:09
13952      3055282540       10/4/2011       13:06:32
13953      3055283818       9/22/2011       15:38:46
13954      3055285562       4/30/2012       14:26:22
13955      3055285562       5/11/2012       18:30:43
13956      3055378988       9/25/2012       14:57:44
13957      3055423914       12/6/2011       7:46:16
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13958      3055428155       2/6/2012        17:07:19
13959      3055466323       11/1/2011       8:36:10
13960      3055468846       9/21/2012       18:54:01
13961      3055510505       11/17/2011      13:53:32
13962      3055567711       11/14/2011      15:52:19
13963      3055622302       5/22/2012       18:27:25
13964      3055622302       10/5/2012       18:31:05
13965      3055625560       2/13/2012       18:25:49
13966      3055626767       10/17/2011      11:17:29
13967      3055626851       10/5/2011       13:59:24
13968      3055825590       1/19/2012       18:35:38
13969      3055825861       10/18/2011      12:57:39
13970      3055860299       2/11/2012       10:41:17
13971      3055860938       3/13/2012       18:35:12
13972      3055861436       2/26/2012       13:18:47
13973      3055862951       9/27/2011       18:22:44
13974      3055879827       12/7/2011       13:45:12
13975      3056007159       2/14/2012       13:03:56
13976      3056008238       6/12/2012       17:17:27
13977      3056068311       8/18/2012       8:49:55
13978      3056073774       10/2/2012       7:33:33
13979      3056083166       10/9/2012       7:35:50
13980      3056085646       11/1/2011       8:33:04
13981      3056087558       8/9/2012        13:58:09
13982      3056089168       6/13/2012       20:00:20
13983      3056093211       2/11/2012       11:06:54
13984      3056099761       12/10/2011      13:10:25
13985      3056104496       10/12/2011      7:29:35
13986      3056105827       5/28/2012       9:02:12
13987      3056106144       12/22/2011      9:30:49
13988      3056106980       8/20/2012       18:50:44
13989      3056390846       2/11/2012       15:06:53
13990      3056478110       11/18/2011      12:48:00
13991      3056478110       2/10/2012       7:16:17
13992      3056478237       11/18/2011      13:23:02
13993      3056478683       12/18/2011      16:48:12
13994      3057102108       5/7/2012        7:06:29
13995      3057103421       11/15/2011      16:06:05
13996      3057178733       11/16/2011      8:41:04
13997      3057203577       11/9/2011       7:25:58
13998      3057204388       3/13/2012       18:40:04
13999      3057204741       5/26/2012       8:50:55
14000      3057205321       12/26/2011      9:00:05
14001      3057205531       11/12/2011      10:15:07
14002      3057205531       12/17/2011      11:25:53
14003      3057208588       8/10/2011       18:20:05
14004      3057214396       10/19/2012      19:13:25
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14005      3057216167       12/26/2011      9:13:02
14006      3057246778       7/15/2011       17:18:46
14007      3057250335       2/17/2012       18:16:30
14008      3057254220       5/22/2012       18:48:10
14009      3057254220       5/25/2012       17:15:08
14010      3057256901       1/3/2012        10:57:43
14011      3057261951       6/18/2012       15:09:25
14012      3057265311       2/17/2012       18:15:45
14013      3057265647       9/22/2011       15:06:51
14014      3057313148       10/6/2011       16:21:29
14015      3057313584       11/5/2011       9:48:12
14016      3057330621       9/19/2011       19:25:02
14017      3057331148       7/30/2012       13:31:39
14018      3057332397       12/30/2011      7:17:22
14019      3057332397       3/26/2012       18:21:44
14020      3057334513       9/22/2011       15:43:57
14021      3057334521       10/4/2011       13:12:24
14022      3057411952       7/13/2011       11:41:06
14023      3057419111       1/8/2012        12:47:46
14024      3057425603       9/12/2011       14:02:26
14025      3057426517       10/1/2011       10:32:13
14026      3057428927       10/4/2011       13:35:17
14027      3057429216       9/24/2011       9:16:54
14028      3057460755       12/14/2011      14:50:36
14029      3057466059       10/11/2011      16:01:18
14030      3057473950       11/4/2011       7:10:29
14031      3057476612       3/1/2012        8:49:52
14032      3057476612       7/2/2012        17:22:49
14033      3057478477       11/8/2011       14:18:45
14034      3057480660       8/23/2012       11:47:13
14035      3057487726       7/14/2012       8:13:16
14036      3057531671       10/3/2011       7:23:11
14037      3057533757       7/6/2012        14:55:50
14038      3057536493       5/25/2012       8:02:48
14039      3057614935       1/19/2012       18:33:59
14040      3057618925       1/30/2012       7:15:04
14041      3057622075       1/31/2012       7:16:01
14042      3057631535       12/26/2011      8:52:30
14043      3057634139       7/25/2012       12:04:10
14044      3057634927       10/4/2011       13:38:31
14045      3057637454       1/13/2012       12:34:32
14046      3057641329       10/11/2011      16:47:37
14047      3057645850       8/30/2011       16:19:25
14048      3057649841       12/23/2011      14:40:55
14049      3057649890       10/3/2011       7:44:27
14050      3057661115       10/17/2011      11:41:17
14051      3057661909       12/31/2011      11:57:49
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14052      3057675869       9/8/2011        19:30:15
14053      3057676744       4/3/2012        7:01:32
14054      3057720613       9/24/2011       9:31:54
14055      3057721243       9/12/2011       14:07:54
14056      3057725077       10/7/2011       7:12:28
14057      3057727626       6/21/2012       18:42:15
14058      3057729091       9/29/2012       10:00:19
14059      3057734658       12/19/2011      7:33:34
14060      3057751465       12/10/2011      13:03:56
14061      3057754957       8/6/2011        9:23:10
14062      3057759315       11/5/2011       10:25:46
14063      3057759614       10/3/2012       19:51:18
14064      3057760388       12/16/2011      16:07:47
14065      3057762223       3/6/2012        16:00:11
14066      3057765581       10/20/2011      15:16:01
14067      3057765884       5/18/2012       15:37:24
14068      3057766538       1/11/2012       16:25:47
14069      3057767259       7/25/2012       12:01:58
14070      3057769406       7/6/2012        14:39:54
14071      3057782811       7/14/2011       15:35:10
14072      3057783153       12/28/2011      13:43:21
14073      3057787431       10/24/2011      7:04:40
14074      3057789424       8/2/2011        16:51:09
14075      3057789862       10/6/2011       16:22:15
14076      3057812200       7/11/2012       9:38:01
14077      3057812666       10/1/2012       8:12:28
14078      3057817513       8/11/2012       9:20:49
14079      3057852137       9/14/2012       7:09:24
14080      3057854815       2/16/2012       7:09:14
14081      3057858527       10/8/2011       10:39:59
14082      3057881101       9/24/2011       9:15:23
14083      3057887780       8/20/2012       18:41:28
14084      3057902463       2/1/2012        8:23:02
14085      3057905474       12/29/2011      19:27:23
14086      3057906675       3/5/2012        7:51:09
14087      3057909090       3/15/2012       19:26:29
14088      3057931805       9/12/2011       13:59:03
14089      3057933145       7/26/2012       11:58:19
14090      3057936182       4/12/2012       12:30:45
14091      3057936605       10/31/2011      8:15:10
14092      3057945604       10/14/2011      12:41:50
14093      3057946936       2/21/2012       9:28:19
14094      3057949863       9/23/2011       18:43:01
14095      3057949888       10/14/2013      8:42:13
14096      3057950526       2/17/2012       18:28:01
14097      3057961270       10/4/2011       13:37:47
14098      3057966065       11/12/2011      9:48:05
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14099      3057969109       10/24/2012      15:02:37
14100      3057969275       7/23/2012       13:16:50
14101      3057969447       9/21/2011       19:33:40
14102      3057971707       12/23/2011      15:36:21
14103      3057973333       12/1/2011       15:14:37
14104      3057978370       10/5/2012       12:17:00
14105      3057980051       12/30/2011      8:43:12
14106      3057980171       11/7/2011       7:58:50
14107      3057981509       5/5/2012        8:13:30
14108      3057988335       10/13/2011      7:10:54
14109      3057990422       10/4/2011       13:14:17
14110      3057994542       1/6/2012        14:38:37
14111      3057997364       3/29/2011       17:09:08
14112      3057997785       11/22/2011      19:16:39
14113      3058013982       12/2/2011       15:20:35
14114      3058014445       3/15/2012       7:14:14
14115      3058015213       4/3/2012        16:06:52
14116      3058019026       7/18/2012       18:24:53
14117      3058031770       10/19/2012      19:16:48
14118      3058035883       4/21/2012       16:15:24
14119      3058036806       1/17/2012       7:17:53
14120      3058039628       7/6/2012        14:47:10
14121      3058042451       5/31/2012       7:07:32
14122      3058043552       1/20/2012       11:45:59
14123      3058043747       10/29/2011      11:23:04
14124      3058044647       4/2/2012        17:30:35
14125      3058045652       9/8/2011        19:44:49
14126      3058046975       10/5/2011       14:27:08
14127      3058047188       6/16/2012       15:09:32
14128      3058047188       9/7/2012        15:49:42
14129      3058071110       10/4/2011       13:15:11
14130      3058071700       5/6/2011        15:35:29
14131      3058074363       12/7/2011       15:06:24
14132      3058077569       5/23/2012       14:45:12
14133      3058077694       9/20/2011       16:41:49
14134      3058077694       1/9/2012        18:34:17
14135      3058120511       10/8/2011       10:51:00
14136      3058124828       7/12/2011       12:12:12
14137      3058152160       5/30/2012       12:47:05
14138      3058206808       10/29/2011      10:25:51
14139      3058341137       3/28/2012       10:21:21
14140      3058345164       4/2/2012        7:22:54
14141      3058346233       10/12/2012      17:00:20
14142      3058491984       10/22/2012      7:13:06
14143      3058511415       1/20/2012       19:25:36
14144      3058733798       7/27/2012       15:27:56
14145      3058733813       1/30/2012       7:20:24
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14146      3058770274       10/20/2011      16:04:03
14147      3058779729       1/11/2012       7:34:48
14148      3058779729       1/17/2012       18:40:18
14149      3058780071       1/5/2012        17:20:41
14150      3058781316       12/2/2011       15:04:46
14151      3058784860       1/3/2012        11:14:36
14152      3058786377       10/31/2011      8:47:28
14153      3058786377       11/30/2011      15:14:43
14154      3058790326       10/12/2011      11:32:40
14155      3058790473       9/8/2011        19:43:42
14156      3058793302       2/2/2012        7:18:15
14157      3058793372       3/6/2012        15:46:31
14158      3058793603       9/8/2011        19:24:15
14159      3058794654       9/20/2011       16:39:41
14160      3058794654       10/21/2011      12:31:17
14161      3058794921       5/19/2012       16:05:42
14162      3058797053       11/22/2011      19:02:15
14163      3058797844       11/29/2011      16:06:24
14164      3058799554       10/8/2012       12:47:58
14165      3058904841       3/2/2012        18:45:10
14166      3058907275       9/20/2011       17:52:00
14167      3058908793       10/7/2012       12:58:35
14168      3058909004       2/21/2012       9:42:47
14169      3058909004       2/28/2012       15:48:43
14170      3058917435       10/10/2011      12:14:58
14171      3058960092       5/19/2012       9:44:27
14172      3058960092       5/29/2012       17:26:09
14173      3058963152       6/8/2011        18:39:00
14174      3058963258       1/10/2012       18:08:59
14175      3058964465       8/13/2011       9:52:56
14176      3058967716       4/23/2012       7:04:42
14177      3058968427       9/13/2011       17:26:57
14178      3058969151       7/2/2012        17:30:37
14179      3058969401       4/7/2012        9:08:00
14180      3058981261       10/21/2011      12:31:13
14181      3058981677       9/13/2011       17:47:14
14182      3058981710       11/29/2011      16:16:37
14183      3058986161       3/28/2012       18:17:45
14184      3058988112       10/12/2011      7:38:35
14185      3058989103       11/30/2011      14:48:09
14186      3058989736       9/20/2011       18:11:49
14187      3059030103       3/22/2012       8:10:17
14188      3059033933       12/3/2011       10:00:16
14189      3059033933       2/13/2012       7:15:56
14190      3059034183       7/11/2011       7:10:35
14191      3059034247       9/23/2011       11:37:26
14192      3059037805       9/21/2011       11:49:37
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14193      3059041363       3/29/2012       16:30:48
14194      3059049841       2/17/2012       18:18:15
14195      3059058875       12/7/2011       14:35:56
14196      3059059223       9/28/2011       10:48:34
14197      3059095074       1/5/2012        17:27:46
14198      3059095939       1/4/2012        12:42:07
14199      3059101153       10/29/2011      10:30:13
14200      3059103178       3/14/2012       7:10:01
14201      3059104125       3/16/2012       15:46:30
14202      3059104636       5/20/2012       15:23:21
14203      3059106815       11/11/2011      7:52:25
14204      3059107883       6/4/2012        8:28:01
14205      3059108368       3/19/2012       7:12:49
14206      3059109462       10/8/2011       9:07:05
14207      3059150317       5/18/2012       7:10:00
14208      3059150317       5/21/2012       7:34:34
14209      3059153803       4/13/2012       13:29:12
14210      3059154866       12/5/2011       18:11:27
14211      3059157682       4/16/2011       15:02:45
14212      3059159255       10/10/2012      19:04:46
14213      3059159255       10/22/2012      17:48:27
14214      3059173724       4/10/2012       12:05:37
14215      3059173724       8/3/2012        11:53:43
14216      3059175594       5/21/2012       7:25:52
14217      3059236246       9/20/2011       18:04:24
14218      3059237417       10/23/2012      15:59:19
14219      3059239001       10/10/2011      12:15:40
14220      3059239198       7/22/2012       15:59:15
14221      3059239641       1/12/2012       7:04:28
14222      3059241206       12/26/2011      9:00:00
14223      3059242460       12/30/2011      7:04:50
14224      3059260759       4/26/2011       19:57:30
14225      3059263195       9/28/2011       10:51:26
14226      3059268000       9/21/2011       13:06:56
14227      3059340017       10/5/2011       14:25:44
14228      3059340017       10/17/2011      7:51:10
14229      3059347718       12/18/2011      16:59:17
14230      3059347718       1/13/2012       17:13:06
14231      3059349362       9/13/2011       7:19:39
14232      3059513625       7/26/2012       19:12:25
14233      3059514828       10/8/2011       10:49:06
14234      3059514828       12/1/2011       7:49:45
14235      3059516609       10/5/2011       14:31:01
14236      3059516609       10/21/2011      13:10:05
14237      3059516707       10/28/2011      13:58:50
14238      3059517616       4/6/2012        15:41:13
14239      3059620343       11/5/2011       11:04:21
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14240      3059621840       10/13/2012      9:08:04
14241      3059623856       3/9/2012        7:06:10
14242      3059627800       12/7/2011       13:54:15
14243      3059628575       2/16/2012       7:25:16
14244      3059629294       1/3/2012        19:40:58
14245      3059629294       3/26/2012       18:38:53
14246      3059629421       11/16/2011      7:51:33
14247      3059652767       7/26/2012       19:13:51
14248      3059653561       10/31/2011      7:39:56
14249      3059654073       9/13/2011       18:39:51
14250      3059671687       1/27/2012       17:40:42
14251      3059671896       1/16/2012       17:10:56
14252      3059671896       2/6/2012        17:12:32
14253      3059672284       1/16/2012       17:27:31
14254      3059672331       5/7/2012        7:17:22
14255      3059674317       5/2/2012        13:35:50
14256      3059681991       3/16/2012       10:03:07
14257      3059683003       1/8/2012        12:49:31
14258      3059700947       3/9/2012        7:07:27
14259      3059700947       5/21/2012       7:53:53
14260      3059703102       12/28/2011      7:19:20
14261      3059721044       9/16/2011       13:10:26
14262      3059724414       11/3/2011       17:15:13
14263      3059724414       3/7/2012        18:28:09
14264      3059724707       4/6/2012        15:52:12
14265      3059726563       9/29/2011       15:04:25
14266      3059729330       10/18/2011      12:55:57
14267      3059750994       9/17/2011       10:19:26
14268      3059754746       2/21/2012       9:30:49
14269      3059780061       3/1/2012        8:47:56
14270      3059781617       9/27/2011       18:22:30
14271      3059783580       11/30/2011      7:19:41
14272      3059785528       10/10/2011      11:45:26
14273      3059786648       10/17/2011      7:41:43
14274      3059786782       9/5/2012        7:09:51
14275      3059787975       3/17/2012       8:43:36
14276      3059796505       4/18/2012       7:02:24
14277      3059840229       12/3/2011       8:56:22
14278      3059840326       10/10/2011      12:34:34
14279      3059840416       8/27/2011       11:29:00
14280      3059846570       10/24/2011      7:23:58
14281      3059848914       10/3/2011       7:20:23
14282      3059848914       10/25/2011      15:25:07
14283      3059849997       8/27/2011       11:32:27
14284      3059860901       8/31/2011       10:21:38
14285      3059865956       5/2/2012        13:19:47
14286      3059866753       11/25/2011      18:16:02
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14287      3059868233       3/19/2012       7:23:43
14288      3059874574       10/24/2011      7:10:26
14289      3059890528       6/24/2011       12:02:43
14290      3059892508       10/7/2011       7:21:42
14291      3059897490       1/3/2012        10:59:27
14292      3059898898       6/23/2012       8:42:43
14293      3059920219       8/16/2012       7:52:18
14294      3059920862       10/19/2011      7:38:15
14295      3059922171       9/23/2011       18:57:09
14296      3059922378       12/16/2011      15:37:56
14297      3059922800       1/10/2012       12:35:13
14298      3072140207       4/9/2012        17:54:26
14299      3072201031       6/29/2011       17:43:29
14300      3072201610       7/19/2012       17:43:30
14301      3072401440       4/26/2011       20:29:22
14302      3072471966       6/8/2012        17:01:21
14303      3072474944       6/16/2012       15:17:36
14304      3072481552       1/27/2012       9:26:04
14305      3072501476       9/26/2011       9:15:36
14306      3072514404       3/2/2012        19:04:39
14307      3072514606       9/20/2012       14:45:32
14308      3072538966       1/10/2012       15:37:49
14309      3072564276       9/23/2011       11:49:16
14310      3072564276       11/12/2011      9:39:00
14311      3072566794       2/2/2012        19:02:07
14312      3072569680       9/6/2012        21:14:23
14313      3072628271       10/8/2011       10:10:45
14314      3072747044       2/17/2012       18:38:08
14315      3072771623       11/19/2011      9:12:43
14316      3072867426       9/12/2011       13:01:21
14317      3072872334       4/21/2012       9:06:20
14318      3072873249       7/27/2012       21:12:41
14319      3072874415       5/15/2012       11:09:58
14320      3072874557       9/21/2011       11:36:05
14321      3072879240       9/13/2011       13:38:10
14322      3073212311       10/24/2013      9:06:44
14323      3073218044       9/17/2012       9:00:51
14324      3073490208       8/16/2012       19:48:47
14325      3073490862       5/18/2012       11:47:26
14326      3073492973       9/24/2012       18:51:18
14327      3073513035       9/11/2012       21:23:40
14328      3073590497       9/30/2011       12:37:39
14329      3073700811       12/2/2011       14:29:12
14330      3073712035       2/11/2012       15:13:18
14331      3073713090       9/13/2012       21:30:05
14332      3073714041       11/23/2011      10:18:44
14333      3073718564       9/15/2012       11:23:04
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14334      3073719060       8/29/2012       11:11:46
14335      3073719773       5/2/2012        21:03:35
14336      3073893071       9/24/2012       12:56:06
14337      3073894478       12/23/2011      16:05:20
14338      3073896029       3/26/2012       18:47:16
14339      3073896029       5/21/2012       9:03:58
14340      3073899634       10/12/2012      16:55:14
14341      3073990955       11/11/2011      20:27:07
14342      3073994451       6/2/2011        11:29:09
14343      3074130078       10/6/2011       17:54:39
14344      3074130078       11/8/2011       14:51:46
14345      3074213956       4/23/2012       13:09:32
14346      3074219723       8/5/2011        18:51:59
14347      3074312750       5/21/2012       9:03:54
14348      3075751647       7/9/2012        19:03:18
14349      3075754274       10/12/2012      16:54:01
14350      3075759391       9/3/2011        10:58:51
14351      3076313169       10/12/2011      9:10:31
14352      3076600225       12/7/2011       15:21:13
14353      3076700594       10/8/2011       12:12:30
14354      3076701933       1/26/2012       10:02:43
14355      3076770967       2/20/2012       16:56:56
14356      3076771425       2/24/2012       20:56:27
14357      3076771855       4/18/2012       17:52:23
14358      3076773522       2/10/2012       20:36:11
14359      3076773700       6/26/2012       21:14:04
14360      3076809849       10/10/2011      12:00:58
14361      3076895044       12/12/2011      12:20:00
14362      3076895044       3/9/2012        9:11:42
14363      3076897767       9/19/2011       14:54:04
14364      3076898284       1/16/2012       17:14:07
14365      3076992530       1/17/2012       9:38:32
14366      3076993696       10/5/2011       14:48:31
14367      3076994968       10/6/2011       17:01:06
14368      3077138412       12/14/2011      14:07:00
14369      3077288505       6/27/2012       12:14:18
14370      3077519171       9/22/2012       12:18:14
14371      3077603823       9/8/2011        19:54:15
14372      3077609113       9/14/2011       12:38:03
14373      3077633377       8/18/2012       9:01:18
14374      3078515189       2/2/2012        16:43:18
14375      3078515555       7/2/2012        15:06:05
14376      3078519465       3/31/2012       9:41:45
14377      3078715833       3/27/2012       11:08:43
14378      3078716554       12/22/2011      9:54:27
14379      3078716805       3/23/2012       19:42:31
14380      3078717755       3/13/2012       18:35:18
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14381      3079221689       9/23/2011       18:39:04
14382      3079221960       11/17/2011      16:47:01
14383      3079222576       10/1/2012       21:35:39
14384      3079222999       9/27/2012       16:33:27
14385      3079224541       9/18/2012       14:20:32
14386      3082244610       8/14/2012       20:59:31
14387      3082245178       9/25/2012       14:57:38
14388      3082270279       9/20/2011       20:45:07
14389      3082271928       3/23/2012       11:25:52
14390      3082791410       8/30/2012       17:33:08
14391      3082800181       7/6/2012        14:52:29
14392      3083250174       12/20/2011      17:30:51
14393      3083258222       9/12/2011       14:15:07
14394      3083402241       2/1/2012        8:41:16
14395      3083402544       3/1/2012        8:52:20
14396      3083406722       8/15/2012       12:22:11
14397      3083408604       6/15/2011       11:22:43
14398      3083408883       10/1/2011       10:48:30
14399      3083700919       10/18/2012      16:48:49
14400      3083798689       6/10/2011       8:20:57
14401      3083802657       3/21/2012       13:40:47
14402      3083830445       2/1/2012        18:38:14
14403      3083833067       11/22/2011      18:44:50
14404      3083833067       1/11/2012       16:37:40
14405      3083833654       9/20/2011       16:44:52
14406      3083833710       12/21/2011      19:08:23
14407      3083834193       2/2/2012        16:37:16
14408      3083835785       3/29/2012       11:37:00
14409      3083835785       4/20/2012       20:57:29
14410      3083835818       3/5/2012        8:10:54
14411      3083836369       2/13/2012       18:47:34
14412      3083838339       4/13/2012       13:42:19
14413      3083838881       8/7/2012        17:44:21
14414      3083839931       10/20/2012      16:23:28
14415      3083903544       1/27/2012       17:45:39
14416      3083906734       9/21/2011       11:54:22
14417      3083907787       10/16/2012      20:31:09
14418      3083910516       7/26/2011       10:36:44
14419      3084303134       4/18/2012       9:09:37
14420      3084700643       8/30/2012       9:44:43
14421      3085201036       12/6/2011       14:40:18
14422      3085204438       9/9/2011        17:58:43
14423      3085207000       2/3/2012        8:35:56
14424      3085292725       4/9/2012        14:01:32
14425      3085300398       7/30/2012       15:12:30
14426      3085306028       8/20/2011       9:01:50
14427      3085392335       10/1/2011       9:51:19
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14428      3085393790       2/9/2012        9:30:37
14429      3086275934       9/21/2012       18:41:37
14430      3086275937       9/25/2012       14:47:03
14431      3086310230       6/17/2011       15:45:27
14432      3086415034       10/15/2011      10:59:13
14433      3086500511       3/4/2012        12:43:25
14434      3086500530       11/15/2011      20:15:39
14435      3086600293       2/20/2012       17:08:06
14436      3086601111       10/23/2012      18:50:02
14437      3086723485       1/16/2012       8:15:24
14438      3086727428       3/22/2012       14:05:48
14439      3087460843       7/3/2012        12:24:51
14440      3087462432       9/3/2012        14:33:04
14441      3087500104       8/10/2011       17:47:59
14442      3087503299       9/19/2011       8:11:00
14443      3087600866       9/27/2011       18:45:32
14444      3088501455       7/2/2012        17:06:27
14445      3088508391       12/10/2011      14:26:04
14446      3088704785       9/18/2012       14:17:58
14447      3092021897       4/13/2012       13:38:07
14448      3092024515       11/19/2011      8:21:38
14449      3092027604       6/12/2012       8:31:19
14450      3092081463       10/5/2011       14:39:56
14451      3092085273       10/11/2011      17:15:43
14452      3092089027       1/4/2012        11:20:41
14453      3092089196       4/16/2012       16:04:11
14454      3092101665       9/21/2012       15:57:07
14455      3092192031       9/30/2011       10:20:32
14456      3092192502       10/5/2011       14:11:10
14457      3092192502       10/8/2011       11:37:38
14458      3092193699       3/6/2012        20:24:49
14459      3092194339       3/20/2012       9:16:54
14460      3092220113       10/20/2011      15:34:10
14461      3092240505       9/10/2011       12:33:36
14462      3092242638       1/4/2012        11:34:24
14463      3092247546       11/9/2011       8:08:25
14464      3092290755       9/27/2011       18:43:36
14465      3092290755       10/3/2011       8:21:08
14466      3092307737       11/21/2011      8:09:16
14467      3092307737       12/23/2011      15:54:45
14468      3092309430       9/17/2011       9:41:00
14469      3092309620       10/15/2011      9:29:53
14470      3092313081       12/11/2011      12:24:35
14471      3092314461       9/27/2011       18:05:30
14472      3092316037       10/5/2012       12:39:45
14473      3092316832       5/20/2012       15:58:37
14474      3092324036       9/30/2011       10:00:47
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14475      3092326297       8/31/2012       16:38:41
14476      3092329310       3/2/2012        18:47:35
14477      3092350550       9/8/2012        11:11:23
14478      3092350550       9/12/2012       14:57:17
14479      3092362093       12/29/2011      18:31:26
14480      3092365380       10/27/2011      16:40:09
14481      3092422367       12/12/2011      12:18:50
14482      3092422367       4/4/2012        18:49:20
14483      3092427188       7/16/2012       19:39:09
14484      3092511412       9/10/2011       9:11:44
14485      3092532474       12/21/2011      19:55:37
14486      3092554688       7/25/2012       20:41:50
14487      3092582323       10/12/2011      8:19:09
14488      3092587376       9/13/2012       15:19:47
14489      3092626901       12/6/2011       14:11:50
14490      3092628080       10/1/2011       10:24:07
14491      3092645893       10/19/2011      12:17:42
14492      3092646858       9/12/2011       13:21:14
14493      3092647537       11/15/2011      15:46:35
14494      3092655523       1/8/2012        13:18:17
14495      3092655523       1/17/2012       18:46:32
14496      3092657445       11/14/2011      14:48:18
14497      3092671428       3/30/2012       16:19:14
14498      3092673227       3/2/2012        18:49:47
14499      3092695415       10/17/2011      10:31:40
14500      3092696518       10/8/2011       11:47:50
14501      3092752848       4/13/2012       20:38:44
14502      3092752848       4/30/2012       14:52:12
14503      3092754099       2/17/2012       9:00:23
14504      3092759749       7/18/2012       18:30:56
14505      3092787688       6/27/2012       12:21:32
14506      3092874267       9/27/2011       18:13:32
14507      3092878583       11/11/2011      13:16:45
14508      3092927118       1/24/2012       20:10:58
14509      3092970948       12/20/2011      19:35:31
14510      3092991166       1/17/2012       17:12:46
14511      3092993454       1/3/2012        17:20:38
14512      3092997410       9/9/2011        18:25:13
14513      3092997869       8/30/2011       17:25:39
14514      3093120248       6/7/2012        12:38:13
14515      3093131288       9/20/2011       18:22:11
14516      3093134912       3/27/2012       15:50:14
14517      3093142407       10/25/2011      15:15:10
14518      3093144512       9/14/2011       9:46:42
14519      3093146112       12/7/2011       18:08:34
14520      3093194375       10/11/2011      16:15:51
14521      3093313698       3/10/2011       17:55:05
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14522      3093314923       11/10/2011      8:16:27
14523      3093339602       10/24/2011      8:05:33
14524      3093352524       10/5/2011       14:11:26
14525      3093381882       3/26/2012       14:56:56
14526      3093381882       5/21/2012       8:02:54
14527      3093383103       7/3/2012        16:00:33
14528      3093383160       3/1/2012        8:51:23
14529      3093385578       6/23/2012       16:29:03
14530      3093388568       10/19/2011      8:04:08
14531      3093392858       12/24/2011      8:05:40
14532      3093394061       2/2/2012        16:32:45
14533      3093395174       8/25/2012       10:55:16
14534      3093513580       10/12/2011      8:06:31
14535      3093515778       1/25/2012       9:06:34
14536      3093572188       11/25/2011      18:24:17
14537      3093572634       9/11/2012       15:02:34
14538      3093573914       2/2/2012        10:50:06
14539      3093603675       3/14/2012       14:11:57
14540      3093607358       8/25/2012       11:17:17
14541      3093607853       9/24/2011       9:18:05
14542      3093608635       11/4/2011       9:17:20
14543      3093614278       9/19/2011       19:29:18
14544      3093615011       7/12/2012       15:51:28
14545      3093681335       9/14/2011       16:29:34
14546      3093684544       10/24/2011      8:05:23
14547      3093693934       5/28/2011       10:32:07
14548      3093695599       11/7/2011       9:20:39
14549      3093702638       11/30/2011      8:10:06
14550      3093704485       6/29/2012       17:45:27
14551      3093713204       9/14/2011       19:41:24
14552      3093713253       8/30/2012       9:43:21
14553      3093713916       10/20/2011      16:19:04
14554      3093716405       1/31/2012       10:09:29
14555      3093717316       9/17/2011       10:28:32
14556      3093719284       2/6/2012        17:16:36
14557      3093733317       8/29/2011       17:04:48
14558      3093733596       9/28/2011       10:30:22
14559      3093739050       12/10/2011      12:17:15
14560      3093972092       5/10/2012       14:51:12
14561      3094287719       3/1/2012        17:39:35
14562      3094288021       3/28/2012       10:54:08
14563      3094534007       9/14/2011       16:09:49
14564      3094534007       10/28/2011      13:56:56
14565      3094722384       3/23/2012       19:11:41
14566      3094722964       3/18/2011       9:38:46
14567      3094722964       9/28/2011       11:19:45
14568      3095029769       6/20/2012       17:00:27
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14569      3095091832       2/21/2012       20:49:14
14570      3095250469       7/30/2012       13:38:58
14571      3095255170       5/16/2012       16:55:42
14572      3095303379       1/19/2012       8:24:15
14573      3095305700       10/12/2011      8:34:12
14574      3095314052       5/11/2012       18:12:15
14575      3095321716       5/31/2012       17:48:08
14576      3095327645       8/31/2012       16:28:49
14577      3095334304       9/8/2011        19:53:09
14578      3095506486       5/5/2012        12:31:12
14579      3095584346       10/23/2012      16:08:52
14580      3095587400       7/19/2011       16:49:07
14581      3095731467       1/3/2012        19:48:27
14582      3095731479       3/17/2012       8:53:05
14583      3095733711       9/3/2012        14:35:36
14584      3095738394       7/18/2012       8:33:45
14585      3095740266       10/7/2012       13:08:25
14586      3095855273       1/13/2012       8:04:03
14587      3096130317       11/28/2011      17:57:59
14588      3096130331       4/21/2011       11:16:40
14589      3096135216       2/2/2012        10:50:29
14590      3096203340       6/30/2012       8:22:31
14591      3096311726       6/16/2012       15:28:41
14592      3096314052       7/13/2012       11:34:57
14593      3096317115       9/13/2011       16:22:38
14594      3096317139       11/16/2011      19:53:40
14595      3096317777       9/20/2011       18:37:35
14596      3096346522       12/15/2011      8:39:46
14597      3096349829       10/5/2011       14:45:39
14598      3096351385       2/14/2012       10:00:09
14599      3096353566       3/17/2012       8:54:17
14600      3096424801       9/29/2011       15:48:47
14601      3096429045       11/21/2011      8:02:12
14602      3096432110       6/15/2012       8:44:29
14603      3096435206       4/29/2011       20:08:36
14604      3096435421       5/16/2012       17:02:57
14605      3096439719       3/16/2012       11:14:28
14606      3096450391       9/6/2011        12:53:06
14607      3096450495       9/16/2011       14:50:05
14608      3096451295       12/7/2011       17:45:22
14609      3096452173       10/29/2011      11:41:18
14610      3096452180       1/12/2012       14:06:16
14611      3096483995       9/13/2011       17:23:36
14612      3096487181       9/29/2012       10:16:14
14613      3096489022       11/22/2011      19:34:16
14614      3096489472       9/27/2012       8:43:07
14615      3096570221       9/16/2011       13:01:17
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14616      3096602090       11/17/2011      16:50:00
14617      3096606630       10/19/2011      8:08:29
14618      3096698852       2/8/2012        13:07:45
14619      3096732088       8/31/2012       16:29:58
14620      3096780813       6/2/2012        12:47:34
14621      3096784589       8/9/2012        14:02:10
14622      3096785378       2/14/2012       15:21:22
14623      3096785527       9/20/2011       16:49:30
14624      3096961666       2/21/2012       17:56:22
14625      3096963656       8/16/2011       18:04:48
14626      3096966077       7/21/2012       10:29:17
14627      3096967697       4/18/2011       19:43:53
14628      3096967945       4/11/2012       11:33:13
14629      3096969003       9/26/2011       9:30:28
14630      3097061356       12/29/2011      11:09:10
14631      3097061451       11/23/2011      9:40:23
14632      3097068757       12/9/2011       15:33:02
14633      3097069331       9/12/2012       14:58:15
14634      3097122222       3/29/2012       12:28:53
14635      3097141400       11/19/2011      9:00:33
14636      3097164600       3/8/2012        20:33:13
14637      3097212136       5/5/2012        8:27:28
14638      3097374887       10/28/2011      14:22:47
14639      3097377683       9/28/2011       10:23:14
14640      3097385736       1/23/2012       19:17:10
14641      3097385736       2/6/2012        17:20:06
14642      3097386409       4/28/2012       8:38:10
14643      3097502505       1/5/2012        12:05:08
14644      3097504224       9/30/2011       10:20:45
14645      3097567273       10/1/2012       8:15:36
14646      3097816538       2/9/2012        14:29:32
14647      3097818526       9/13/2011       7:13:27
14648      3097984645       12/21/2011      19:56:17
14649      3097987115       12/1/2011       10:33:38
14650      3097988261       11/4/2011       8:38:38
14651      3098247696       10/3/2011       8:09:25
14652      3098247696       12/5/2011       18:35:53
14653      3098257071       1/23/2012       19:14:35
14654      3098263835       4/11/2012       11:35:13
14655      3098315761       9/14/2012       8:07:04
14656      3098383697       6/14/2012       16:08:17
14657      3098400502       9/22/2011       16:13:13
14658      3098402710       1/27/2012       18:04:47
14659      3098403626       10/11/2011      15:29:59
14660      3098463976       9/19/2011       8:13:04
14661      3098540907       3/3/2012        8:59:12
14662      3098542353       12/29/2011      19:47:14
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14663      3098832828       5/18/2012       15:48:34
14664      3098835471       11/14/2011      17:05:57
14665      3099123247       12/7/2011       18:11:13
14666      3099222222       10/17/2011      8:10:38
14667      3099897148       6/16/2012       15:27:38
14668      3102006112       2/18/2012       10:23:31
14669      3102108543       9/21/2011       19:31:21
14670      3102130570       12/10/2011      14:04:06
14671      3102132112       7/27/2011       17:07:00
14672      3102132286       3/13/2012       12:48:11
14673      3102136958       11/29/2011      16:22:21
14674      3102139249       8/1/2012        20:11:41
14675      3102139676       12/5/2011       10:24:25
14676      3102183203       6/16/2012       15:07:32
14677      3102186170       11/9/2011       10:29:33
14678      3102201296       11/3/2011       18:06:50
14679      3102212884       3/28/2012       18:26:43
14680      3102271975       10/14/2011      13:01:57
14681      3102272017       5/9/2012        21:05:01
14682      3102272017       5/25/2012       17:13:36
14683      3102280673       1/16/2012       17:24:05
14684      3102287762       1/23/2012       10:18:50
14685      3102423097       7/16/2012       19:40:38
14686      3102423618       12/18/2011      18:00:27
14687      3102427310       7/9/2012        12:07:58
14688      3102455153       1/25/2012       18:26:07
14689      3102480523       11/30/2011      15:34:51
14690      3102513110       11/9/2011       10:18:14
14691      3102513853       3/29/2012       16:35:16
14692      3102517566       10/8/2011       10:17:37
14693      3102544007       12/28/2011      20:50:34
14694      3102545990       11/3/2011       17:28:17
14695      3102567104       3/23/2012       19:42:28
14696      3102567831       12/18/2011      16:21:19
14697      3102568097       4/29/2012       18:00:57
14698      3102569742       9/14/2011       12:43:19
14699      3102590826       7/3/2012        12:28:12
14700      3102596709       7/15/2011       10:34:37
14701      3102598037       4/27/2012       11:44:47
14702      3102598037       10/18/2012      14:36:28
14703      3102599847       10/8/2011       12:26:46
14704      3102663170       10/7/2011       10:21:30
14705      3102665062       1/11/2012       10:55:45
14706      3102669715       2/10/2012       10:37:50
14707      3102700262       3/14/2012       19:48:42
14708      3102702524       9/7/2012        15:56:00
14709      3102705136       10/3/2012       19:50:20
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14710      3102759382       1/7/2012        10:27:43
14711      3102798098       10/22/2011      13:21:00
14712      3102836066       2/6/2012        17:04:23
14713      3102836614       11/16/2011      11:01:47
14714      3102837463       1/17/2012       13:33:17
14715      3102914267       9/12/2011       14:37:59
14716      3102924990       12/29/2011      11:17:56
14717      3102930563       2/3/2012        14:40:17
14718      3102934060       8/29/2011       17:38:36
14719      3102936294       9/28/2011       11:28:34
14720      3102970031       3/22/2012       14:33:54
14721      3103080588       11/22/2011      19:45:26
14722      3103081418       12/10/2011      12:31:31
14723      3103084191       4/3/2012        15:18:35
14724      3103084984       3/10/2011       18:02:59
14725      3103088194       10/12/2011      11:52:45
14726      3103109837       10/18/2011      12:42:13
14727      3103184769       5/14/2012       15:43:30
14728      3103184834       8/7/2012        21:54:27
14729      3103390093       11/10/2011      14:29:38
14730      3103395796       10/24/2011      14:21:13
14731      3103399531       11/17/2011      16:34:14
14732      3103433638       10/8/2012       12:50:37
14733      3103433995       10/6/2011       16:52:06
14734      3103435060       9/13/2011       17:40:45
14735      3103441675       12/28/2011      21:13:36
14736      3103442067       6/28/2012       21:48:30
14737      3103446850       12/18/2011      16:57:15
14738      3103447668       11/7/2011       11:19:37
14739      3103447900       11/14/2011      15:40:05
14740      3103448301       5/22/2012       18:46:59
14741      3103462353       10/4/2011       14:02:11
14742      3103463140       10/17/2011      11:04:08
14743      3103466498       10/13/2012      11:43:04
14744      3103469005       7/6/2012        16:58:49
14745      3103472954       7/28/2011       10:11:17
14746      3103475689       12/24/2011      11:33:12
14747      3103477248       2/8/2012        12:56:40
14748      3103502554       8/10/2012       10:25:40
14749      3103506111       6/28/2011       18:27:36
14750      3103506874       10/19/2011      12:26:48
14751      3103506928       11/17/2011      16:36:12
14752      3103512890       5/15/2012       19:04:08
14753      3103576379       12/28/2013      14:58:06
14754      3103578116       12/5/2011       18:18:58
14755      3103579221       7/27/2011       17:47:42
14756      3103579740       10/17/2011      10:56:43
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14757      3103631451       11/15/2011      16:40:37
14758      3103631451       2/13/2012       11:38:53
14759      3103650610       9/10/2011       9:04:26
14760      3103657002       12/10/2011      14:55:19
14761      3103819469       12/10/2011      14:07:34
14762      3103835588       10/26/2011      13:27:31
14763      3103836644       7/18/2012       14:50:38
14764      3103837986       10/17/2011      10:42:58
14765      3103840102       1/13/2012       12:27:37
14766      3103843415       7/2/2012        17:29:46
14767      3103846007       5/17/2012       16:43:45
14768      3103847713       11/16/2011      11:04:27
14769      3103862816       11/26/2011      13:59:00
14770      3103867375       1/21/2012       11:14:56
14771      3103868039       9/14/2011       21:25:49
14772      3104004200       1/12/2012       14:00:31
14773      3104009654       10/12/2011      11:51:45
14774      3104009662       1/25/2012       20:41:18
14775      3104026949       4/12/2012       12:24:45
14776      3104030940       8/21/2012       21:48:52
14777      3104034036       12/23/2011      16:13:35
14778      3104036088       4/12/2012       18:00:21
14779      3104037649       5/4/2012        18:16:13
14780      3104037928       2/9/2012        14:34:36
14781      3104039546       1/9/2012        18:15:33
14782      3104044610       2/7/2012        20:26:37
14783      3104045929       7/30/2012       18:50:16
14784      3104045929       9/1/2012        11:51:56
14785      3104045929       9/13/2012       21:30:02
14786      3104048861       1/13/2012       10:42:18
14787      3104064486       11/11/2011      13:28:08
14788      3104066097       9/20/2011       16:56:13
14789      3104085128       5/17/2012       11:48:43
14790      3104095669       10/8/2012       12:50:01
14791      3104133943       1/16/2012       17:37:11
14792      3104138966       9/21/2011       12:06:49
14793      3104153763       7/13/2011       12:03:16
14794      3104153815       9/10/2011       12:38:14
14795      3104154841       11/30/2011      13:09:14
14796      3104154841       12/26/2011      20:35:04
14797      3104157199       3/9/2012        15:50:11
14798      3104159968       6/16/2012       10:10:56
14799      3104185675       3/14/2012       14:13:52
14800      3104206915       1/10/2012       20:54:27
14801      3104208464       10/10/2011      12:05:36
14802      3104209618       12/23/2013      16:52:00
14803      3104217257       9/21/2012       16:13:30
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14804      3104220878       10/10/2011      13:21:55
14805      3104223409       7/16/2012       14:30:46
14806      3104229540       8/20/2012       10:16:25
14807      3104259915       12/12/2011      16:25:52
14808      3104259943       9/19/2011       14:51:09
14809      3104264081       10/10/2011      13:00:02
14810      3104272923       2/13/2012       11:41:11
14811      3104275513       3/19/2012       19:26:21
14812      3104275576       9/8/2011        19:37:28
14813      3104279373       1/10/2012       15:22:59
14814      3104279893       6/14/2012       21:30:17
14815      3104283948       2/6/2012        17:02:39
14816      3104292974       6/29/2012       17:41:09
14817      3104293561       1/23/2012       19:21:57
14818      3104296189       10/12/2012      21:30:03
14819      3104302237       10/3/2011       7:49:33
14820      3104302749       4/19/2012       15:15:28
14821      3104303904       9/19/2011       14:43:37
14822      3104315898       3/12/2012       19:34:13
14823      3104316036       6/21/2012       18:56:58
14824      3104317012       11/2/2011       14:09:45
14825      3104317721       1/9/2012        10:30:17
14826      3104335509       11/29/2011      16:13:28
14827      3104338999       9/19/2012       16:25:01
14828      3104351186       6/5/2012        19:54:49
14829      3104359000       9/21/2012       18:52:23
14830      3104380054       4/4/2011        14:51:18
14831      3104380866       3/2/2012        18:52:16
14832      3104380881       9/27/2012       16:33:05
14833      3104471729       7/13/2012       18:37:15
14834      3104564520       9/9/2011        7:32:17
14835      3104619638       2/24/2012       21:46:28
14836      3104621123       4/16/2011       15:37:19
14837      3104621123       12/10/2011      14:52:14
14838      3104621889       10/5/2011       14:21:49
14839      3104622717       11/2/2011       14:09:48
14840      3104623293       10/31/2011      10:10:04
14841      3104624977       12/22/2011      10:13:23
14842      3104625061       1/26/2012       10:33:32
14843      3104625812       10/28/2011      13:51:32
14844      3104630128       8/2/2012        19:13:08
14845      3104630128       10/15/2012      16:06:46
14846      3104653992       6/9/2012        11:09:48
14847      3104653992       8/1/2012        20:30:46
14848      3104654613       10/15/2011      11:12:27
14849      3104663350       2/13/2012       18:52:05
14850      3104679415       9/24/2011       10:02:51
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14851      3104803573       9/15/2011       10:44:42
14852      3104807954       9/12/2011       13:35:11
14853      3104807954       9/21/2011       19:36:45
14854      3104808742       10/10/2011      12:03:56
14855      3104821898       4/20/2012       14:10:44
14856      3104833215       11/4/2011       10:14:18
14857      3104838289       3/26/2012       18:50:33
14858      3104839883       5/30/2012       16:50:44
14859      3104844583       8/1/2012        20:15:03
14860      3104867661       9/29/2011       15:26:09
14861      3104868740       10/11/2011      17:44:27
14862      3104870195       3/26/2012       15:07:28
14863      3104871148       4/13/2012       20:48:32
14864      3104871156       6/6/2012        10:23:07
14865      3104884909       9/8/2012        11:46:51
14866      3104886652       8/24/2011       12:02:13
14867      3104889109       10/24/2012      21:14:05
14868      3104895561       12/17/2011      11:42:25
14869      3104897552       10/10/2011      12:05:56
14870      3104900706       12/15/2011      21:46:43
14871      3104905593       10/12/2012      21:27:34
14872      3104914047       9/22/2011       16:20:38
14873      3104930188       5/24/2012       11:52:54
14874      3104935028       10/8/2011       10:25:22
14875      3104937238       12/12/2011      12:30:42
14876      3104937279       3/25/2012       12:15:46
14877      3104937467       12/5/2011       10:13:24
14878      3104941788       11/28/2011      12:26:54
14879      3104971567       7/2/2011        13:53:58
14880      3104972042       10/29/2011      11:58:59
14881      3104978458       8/1/2012        20:11:48
14882      3104985210       10/23/2012      10:47:13
14883      3104996273       12/15/2011      21:46:49
14884      3105022947       12/1/2011       10:25:06
14885      3105056574       11/7/2011       11:02:21
14886      3105056646       4/25/2012       18:37:14
14887      3105073063       10/8/2012       20:08:44
14888      3105073367       5/8/2012        21:07:17
14889      3105074068       7/3/2012        19:38:43
14890      3105074663       1/18/2012       10:02:09
14891      3105083913       7/14/2011       16:58:32
14892      3105146517       5/7/2012        21:40:59
14893      3105146676       1/26/2012       10:04:10
14894      3105147402       1/8/2012        16:54:29
14895      3105254269       6/17/2012       12:27:43
14896      3105280388       9/9/2011        18:10:09
14897      3105282428       9/14/2011       21:31:16
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14898      3105286167       1/8/2012        16:47:08
14899      3105291390       2/9/2012        20:34:03
14900      3105314137       8/13/2012       10:57:09
14901      3105316421       6/18/2012       13:55:22
14902      3105366619       8/1/2012        20:14:51
14903      3105366797       3/13/2012       14:06:22
14904      3105366907       11/2/2011       14:35:48
14905      3105381937       10/4/2011       13:29:08
14906      3105394006       6/1/2011        12:23:43
14907      3105477962       9/13/2011       14:21:17
14908      3105608980       8/30/2011       17:41:54
14909      3105613552       12/5/2011       11:06:52
14910      3105624860       1/3/2012        20:59:11
14911      3105626463       9/26/2011       13:23:17
14912      3105693883       8/13/2012       11:04:17
14913      3105705316       6/16/2012       15:33:26
14914      3105705877       10/21/2011      12:52:48
14915      3105795788       6/9/2011        11:19:48
14916      3105900561       9/14/2011       21:39:37
14917      3105900661       7/20/2012       15:00:40
14918      3105908482       2/15/2012       21:04:21
14919      3105919720       1/20/2012       20:36:13
14920      3105944019       9/29/2011       16:00:31
14921      3105944602       10/5/2012       12:20:01
14922      3105944631       10/5/2011       14:53:44
14923      3105949591       10/5/2011       14:22:18
14924      3105954574       12/2/2011       15:11:34
14925      3105955556       6/7/2012        18:26:11
14926      3105979578       8/18/2012       10:52:32
14927      3106002593       4/9/2012        18:21:34
14928      3106006004       11/5/2011       10:39:37
14929      3106010036       2/28/2012       16:09:21
14930      3106132277       10/18/2011      12:40:57
14931      3106134160       9/8/2011        19:56:47
14932      3106138798       10/25/2011      16:44:28
14933      3106142086       4/18/2011       19:58:28
14934      3106142447       9/20/2011       19:02:37
14935      3106142447       12/5/2011       10:31:49
14936      3106149042       10/5/2011       14:50:02
14937      3106190112       8/1/2012        20:11:53
14938      3106191689       12/5/2011       18:42:28
14939      3106194442       8/10/2011       19:47:33
14940      3106197476       3/15/2012       19:21:01
14941      3106198414       10/10/2011      12:04:17
14942      3106213425       9/25/2012       15:20:39
14943      3106215833       11/15/2011      20:10:56
14944      3106216412       9/22/2011       15:37:33
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14945      3106218417       10/1/2012       13:38:00
14946      3106219614       4/21/2012       16:28:22
14947      3106222812       1/12/2012       14:38:52
14948      3106230983       1/18/2012       16:56:53
14949      3106254882       5/11/2012       12:33:31
14950      3106262659       10/14/2011      13:35:46
14951      3106263794       5/4/2012        18:23:50
14952      3106309899       7/27/2012       15:26:44
14953      3106344862       3/12/2012       19:13:29
14954      3106345967       10/4/2011       14:01:15
14955      3106480346       12/16/2011      15:53:39
14956      3106480346       1/5/2012        12:07:46
14957      3106480904       6/11/2012       7:15:08
14958      3106484091       9/26/2011       13:29:34
14959      3106504225       4/8/2011        19:02:45
14960      3106514776       10/25/2011      16:40:41
14961      3106517018       12/9/2011       14:24:40
14962      3106541504       10/11/2011      17:43:46
14963      3106541504       11/8/2011       14:44:51
14964      3106542182       12/6/2011       14:50:16
14965      3106546453       1/6/2012        14:43:31
14966      3106547645       10/15/2011      10:07:48
14967      3106547677       8/28/2012       21:55:28
14968      3106548589       10/31/2011      10:23:40
14969      3106548589       7/2/2012        17:26:29
14970      3106548881       10/4/2011       13:58:57
14971      3106580224       3/2/2012        19:06:07
14972      3106580940       1/31/2012       10:15:08
14973      3106581194       10/3/2011       10:37:03
14974      3106582062       9/6/2013        14:37:18
14975      3106587104       12/21/2011      19:57:45
14976      3106587446       7/7/2012        10:30:36
14977      3106589178       3/26/2011       12:47:22
14978      3106621477       2/25/2012       11:15:32
14979      3106630078       7/16/2012       14:23:31
14980      3106630078       7/31/2012       15:47:10
14981      3106637135       10/16/2012      20:30:34
14982      3106669932       9/14/2011       17:02:39
14983      3106671378       11/21/2011      10:55:22
14984      3106784034       7/11/2011       12:13:11
14985      3106784809       9/19/2011       14:46:57
14986      3106784809       9/29/2011       10:05:31
14987      3106787037       6/26/2012       16:17:58
14988      3106846627       10/18/2012      14:36:34
14989      3106849878       10/10/2012      19:15:08
14990      3106861890       10/31/2011      10:20:18
14991      3106864471       9/22/2012       12:20:57
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14992      3106865332       1/11/2012       16:32:22
14993      3106913375       10/10/2011      13:03:36
14994      3106914394       9/26/2011       13:28:24
14995      3106923475       2/17/2012       18:39:01
14996      3106924663       12/30/2013      17:08:47
14997      3106926653       1/19/2012       18:44:28
14998      3106927030       7/20/2012       15:04:53
14999      3106941543       7/31/2012       15:45:11
15000      3106969740       12/1/2011       10:24:52
15001      3106972335       12/12/2011      16:25:53
15002      3106976729       11/22/2011      19:00:38
15003      3106992733       10/3/2012       10:20:55
15004      3106993286       1/25/2012       20:32:55
15005      3107013103       10/29/2011      11:10:26
15006      3107014883       12/20/2011      19:40:40
15007      3107016272       10/7/2011       10:16:14
15008      3107017803       6/27/2012       12:22:12
15009      3107025981       1/20/2012       11:38:04
15010      3107028108       5/9/2012        16:06:15
15011      3107038175       3/27/2012       14:57:37
15012      3107039066       10/1/2011       11:00:26
15013      3107039893       7/27/2012       15:26:52
15014      3107045989       9/28/2011       10:03:33
15015      3107046967       9/15/2011       10:41:06
15016      3107049970       4/19/2012       14:39:39
15017      3107061407       12/21/2011      10:21:22
15018      3107067823       2/10/2012       10:41:16
15019      3107068140       9/13/2012       21:29:38
15020      3107068643       11/18/2011      12:35:15
15021      3107076044       6/5/2012        18:01:43
15022      3107076128       10/29/2011      11:58:25
15023      3107098885       4/10/2012       11:42:46
15024      3107105076       1/11/2012       10:56:49
15025      3107132333       9/21/2012       16:15:17
15026      3107139075       6/2/2012        13:13:08
15027      3107141387       8/24/2013       12:38:36
15028      3107144360       1/6/2012        15:06:27
15029      3107145219       9/28/2012       14:34:05
15030      3107149147       5/26/2011       10:23:46
15031      3107149862       4/8/2011        19:04:41
15032      3107207119       1/9/2012        10:29:09
15033      3107207449       1/14/2012       13:23:45
15034      3107207555       9/30/2011       12:08:59
15035      3107208475       5/25/2012       11:57:09
15036      3107209765       3/2/2012        18:52:50
15037      3107213749       12/29/2011      18:15:46
15038      3107215691       10/5/2012       18:21:47
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15039      3107218544       11/11/2011      20:30:56
15040      3107220329       7/17/2012       21:55:19
15041      3107221451       8/23/2012       11:58:47
15042      3107223090       9/20/2011       18:50:20
15043      3107224252       9/5/2012        15:28:04
15044      3107224449       10/14/2011      13:35:57
15045      3107224946       8/6/2011        12:41:13
15046      3107225450       1/21/2012       11:16:03
15047      3107285509       9/13/2011       16:58:18
15048      3107285850       4/21/2012       10:06:16
15049      3107294395       10/10/2011      13:03:15
15050      3107296283       8/16/2011       18:22:58
15051      3107353315       11/3/2011       18:03:22
15052      3107353315       11/18/2011      13:35:01
15053      3107355037       7/20/2012       14:51:09
15054      3107355380       2/24/2011       13:59:26
15055      3107355919       9/5/2012        15:28:11
15056      3107360683       12/20/2011      19:39:57
15057      3107360683       5/2/2012        13:52:16
15058      3107367190       11/10/2011      14:25:47
15059      3107396668       9/25/2012       15:00:10
15060      3107432564       3/25/2012       11:42:28
15061      3107450125       1/4/2012        11:29:33
15062      3107480749       4/1/2011        12:43:18
15063      3107481199       10/11/2011      17:46:13
15064      3107481199       10/14/2011      14:50:20
15065      3107483335       5/11/2012       18:28:30
15066      3107484507       10/4/2011       14:01:18
15067      3107487340       9/14/2011       21:27:31
15068      3107490389       4/9/2012        13:54:44
15069      3107507793       3/1/2012        17:36:46
15070      3107535584       6/19/2012       15:46:20
15071      3107540099       9/24/2012       13:15:19
15072      3107563227       4/15/2012       19:58:07
15073      3107563227       6/27/2012       12:28:50
15074      3107565708       4/15/2012       17:51:14
15075      3107569813       8/30/2012       10:50:23
15076      3107601414       6/18/2011       15:37:10
15077      3107601816       2/4/2012        13:20:27
15078      3107661416       10/25/2011      16:35:52
15079      3107661895       12/26/2011      20:12:38
15080      3107666140       1/16/2012       12:17:03
15081      3107666635       7/17/2012       12:27:14
15082      3107666689       10/8/2012       12:47:41
15083      3107667108       12/28/2011      11:12:54
15084      3107668073       6/4/2012        21:07:12
15085      3107668451       9/2/2011        13:23:47
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15086      3107668471       8/22/2012       21:45:06
15087      3107669686       10/22/2011      12:50:30
15088      3107701468       10/26/2011      13:27:53
15089      3107708156       1/13/2012       12:48:09
15090      3107709117       6/2/2012        13:12:15
15091      3107709839       3/17/2012       11:51:44
15092      3107741259       11/4/2011       10:26:53
15093      3107746786       11/11/2011      13:28:50
15094      3107790180       8/26/2011       17:54:26
15095      3107792534       9/8/2011        19:57:08
15096      3107795464       3/2/2012        15:25:52
15097      3107804659       1/21/2012       11:11:11
15098      3107804659       1/27/2012       17:50:55
15099      3107806003       10/19/2011      12:03:07
15100      3107825922       12/10/2011      14:31:32
15101      3107830522       4/21/2012       16:29:44
15102      3107951161       4/26/2012       11:42:17
15103      3107966014       12/9/2011       21:56:50
15104      3108000143       10/25/2011      16:40:23
15105      3108000239       4/19/2012       14:48:03
15106      3108006367       5/29/2012       14:27:34
15107      3108008018       7/18/2012       18:27:46
15108      3108016222       2/15/2012       21:02:29
15109      3108016407       10/20/2011      20:56:31
15110      3108018000       2/18/2012       10:19:21
15111      3108018150       8/11/2011       10:29:29
15112      3108018872       8/11/2012       12:28:20
15113      3108036710       9/1/2012        11:50:24
15114      3108062586       3/15/2012       19:37:28
15115      3108063477       10/12/2012      21:30:11
15116      3108065722       2/13/2012       21:00:31
15117      3108065878       4/25/2012       16:27:20
15118      3108080404       10/12/2012      16:55:25
15119      3108094016       5/28/2012       10:48:48
15120      3108099246       1/7/2012        10:29:50
15121      3108099291       1/5/2012        14:11:05
15122      3108179244       9/21/2011       19:31:24
15123      3108186236       9/20/2011       20:38:46
15124      3108189098       2/6/2012        10:05:26
15125      3108218228       7/9/2012        19:18:43
15126      3108444248       3/21/2012       18:37:07
15127      3108448024       3/27/2012       15:10:38
15128      3108448603       8/31/2012       16:32:19
15129      3108449094       5/20/2012       15:53:46
15130      3108449094       5/21/2012       17:58:15
15131      3108470368       3/19/2012       12:06:48
15132      3108480021       7/26/2012       19:16:02
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15133      3108480265       7/6/2012        16:48:52
15134      3108502806       2/10/2012       10:40:09
15135      3108505934       12/3/2011       10:36:31
15136      3108505934       12/29/2011      19:43:36
15137      3108549619       9/13/2011       18:11:24
15138      3108647182       9/24/2012       13:15:15
15139      3108648794       4/24/2012       12:13:14
15140      3108649301       10/12/2011      11:44:10
15141      3108661307       9/19/2011       15:02:11
15142      3108662397       2/1/2012        13:36:29
15143      3108667771       3/28/2012       12:38:54
15144      3108675666       11/16/2011      10:58:22
15145      3108697849       10/1/2011       10:53:18
15146      3108726482       3/6/2012        20:27:28
15147      3108740456       2/10/2012       20:44:03
15148      3108765368       11/28/2011      11:36:31
15149      3108769677       8/24/2012       21:06:01
15150      3108778949       9/30/2011       10:10:56
15151      3108804795       10/1/2011       11:03:10
15152      3108805543       7/26/2011       10:12:36
15153      3108805595       12/1/2011       10:26:15
15154      3108806701       1/27/2012       20:07:12
15155      3108808883       10/13/2011      10:33:13
15156      3108869082       3/12/2012       19:34:36
15157      3108869575       9/14/2011       11:55:55
15158      3108900379       9/6/2012        21:54:30
15159      3108903424       8/25/2012       11:19:05
15160      3108908669       2/2/2012        7:05:15
15161      3108920465       10/15/2011      10:09:07
15162      3108921482       10/5/2011       14:54:09
15163      3108922924       9/22/2011       16:21:34
15164      3108926177       1/24/2012       17:24:45
15165      3108943290       1/13/2012       17:18:48
15166      3109014980       10/5/2011       14:52:04
15167      3109020418       8/23/2012       21:07:33
15168      3109023042       9/13/2011       13:41:51
15169      3109023755       9/19/2012       21:29:24
15170      3109025195       9/9/2011        18:05:12
15171      3109030120       4/5/2012        18:28:36
15172      3109033856       10/21/2011      12:54:21
15173      3109045883       11/25/2011      17:57:36
15174      3109047522       5/3/2012        10:08:31
15175      3109047531       9/19/2011       19:21:13
15176      3109067040       11/15/2011      16:39:56
15177      3109069334       12/30/2011      12:50:00
15178      3109076170       10/5/2011       14:52:56
15179      3109076202       11/10/2011      14:47:24
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15180      3109080642       5/2/2012        21:06:25
15181      3109081406       9/16/2011       13:39:57
15182      3109081956       9/23/2011       11:52:00
15183      3109085833       3/21/2012       18:36:53
15184      3109085925       2/17/2012       18:15:00
15185      3109102223       10/11/2011      16:38:41
15186      3109102419       9/4/2012        16:00:24
15187      3109105177       7/9/2012        19:03:17
15188      3109107031       5/26/2011       10:30:20
15189      3109108908       5/9/2011        17:41:15
15190      3109135588       9/27/2011       18:57:01
15191      3109189099       4/4/2012        18:55:12
15192      3109189579       10/29/2011      11:02:29
15193      3109200146       11/28/2011      17:07:32
15194      3109200398       11/11/2011      13:51:09
15195      3109202922       4/9/2012        18:06:40
15196      3109203825       12/23/2011      13:39:25
15197      3109203948       9/12/2011       14:34:19
15198      3109205115       2/3/2012        14:37:01
15199      3109223303       3/14/2012       14:14:09
15200      3109223303       10/23/2012      16:02:44
15201      3109225137       11/17/2011      16:34:39
15202      3109244505       8/11/2011       10:47:35
15203      3109252722       7/28/2011       10:11:14
15204      3109269108       10/20/2011      16:42:26
15205      3109270461       3/6/2012        21:13:16
15206      3109270641       6/1/2011        11:52:20
15207      3109276499       12/7/2011       16:25:17
15208      3109277573       11/25/2011      17:58:09
15209      3109278607       10/3/2012       19:52:52
15210      3109279222       5/10/2012       21:34:09
15211      3109297799       10/8/2011       12:26:20
15212      3109332753       1/17/2012       20:54:29
15213      3109362613       5/18/2012       15:50:31
15214      3109363584       3/8/2012        20:35:41
15215      3109364612       1/3/2012        17:11:05
15216      3109365169       1/25/2012       18:23:31
15217      3109365169       6/27/2012       17:54:11
15218      3109365360       9/8/2011        19:57:44
15219      3109367375       8/5/2011        18:57:34
15220      3109368800       1/6/2012        12:54:34
15221      3109388964       10/14/2011      13:25:04
15222      3109409080       2/10/2012       20:58:43
15223      3109413874       7/21/2011       14:32:04
15224      3109415470       2/17/2012       10:44:22
15225      3109416869       1/30/2012       10:19:02
15226      3109456855       2/13/2012       18:32:49
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15227      3109462725       12/21/2011      19:58:35
15228      3109469341       8/29/2012       11:16:18
15229      3109476560       1/7/2012        10:22:49
15230      3109482208       6/4/2012        21:07:38
15231      3109510627       6/25/2012       13:50:47
15232      3109512130       11/7/2011       11:07:43
15233      3109512428       5/5/2012        12:21:20
15234      3109514220       3/15/2012       14:05:11
15235      3109516630       9/8/2011        19:08:06
15236      3109518698       10/26/2011      12:34:59
15237      3109529217       4/14/2012       10:29:53
15238      3109558495       5/7/2012        21:36:16
15239      3109558953       9/20/2011       18:52:54
15240      3109565233       10/3/2011       10:50:17
15241      3109565388       2/14/2012       10:11:34
15242      3109617901       1/9/2012        10:32:27
15243      3109630030       10/20/2011      20:55:17
15244      3109660934       1/3/2012        16:23:58
15245      3109667473       2/8/2012        12:57:29
15246      3109679233       11/17/2011      16:33:56
15247      3109681106       10/15/2011      11:06:24
15248      3109682165       11/21/2011      8:21:01
15249      3109718320       10/24/2011      14:27:12
15250      3109742298       2/13/2012       11:41:24
15251      3109754223       12/23/2011      15:37:35
15252      3109755634       11/11/2011      20:13:19
15253      3109771677       10/8/2011       12:27:28
15254      3109773024       10/10/2011      12:06:25
15255      3109774574       3/23/2012       19:42:42
15256      3109785207       6/27/2012       18:04:43
15257      3109823564       10/17/2011      10:37:08
15258      3109823564       11/16/2011      20:08:52
15259      3109840338       12/31/2011      11:53:47
15260      3109872279       8/2/2012        11:31:56
15261      3109875064       5/3/2012        10:12:27
15262      3109880874       4/9/2012        17:57:24
15263      3109885484       9/4/2012        16:11:14
15264      3109888835       12/14/2011      18:04:56
15265      3109889512       11/8/2011       14:43:11
15266      3109889565       9/14/2011       21:30:58
15267      3109889704       5/10/2012       15:05:56
15268      3109904094       5/14/2011       12:12:20
15269      3109905116       3/16/2012       10:03:35
15270      3109908787       1/21/2012       8:02:07
15271      3109909438       11/5/2011       11:53:59
15272      3109933571       12/19/2011      11:21:10
15273      3109939148       1/27/2012       17:49:14
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15274      3109942544       9/21/2011       19:36:49
15275      3109952018       6/7/2012        18:26:14
15276      3109954437       10/12/2011      11:56:19
15277      3109955507       2/10/2012       10:35:50
15278      3109959462       4/13/2012       20:47:08
15279      3109987557       9/22/2012       12:22:59
15280      3109994233       11/29/2011      15:47:38
15281      3122060242       10/10/2011      12:37:13
15282      3122082278       10/8/2012       7:17:30
15283      3122082299       2/2/2012        11:41:17
15284      3122086912       1/12/2012       8:16:21
15285      3122086912       3/28/2012       18:22:56
15286      3122088391       2/24/2011       14:23:18
15287      3122135792       4/13/2012       13:22:14
15288      3122135897       2/28/2012       13:11:16
15289      3122170034       10/12/2011      8:14:50
15290      3122170311       9/20/2011       20:31:21
15291      3122170392       10/13/2011      8:37:48
15292      3122171483       1/24/2012       17:05:50
15293      3122177065       9/24/2012       19:11:39
15294      3122177065       10/25/2012      19:51:20
15295      3122184365       1/18/2012       16:52:45
15296      3122186145       5/4/2012        18:14:08
15297      3122186589       9/21/2011       11:34:34
15298      3122371463       7/21/2012       10:44:37
15299      3122598666       9/27/2011       18:40:42
15300      3122598671       9/21/2011       19:30:18
15301      3122825310       3/10/2011       16:27:23
15302      3122864226       7/22/2011       13:47:16
15303      3122875400       4/2/2012        8:55:10
15304      3122875400       5/25/2012       17:02:03
15305      3122877088       12/9/2011       8:03:42
15306      3122960916       5/11/2011       16:56:06
15307      3122967676       8/8/2011        15:35:37
15308      3123010029       9/29/2011       15:46:22
15309      3123053590       10/24/2011      8:08:30
15310      3123072407       11/8/2011       13:54:38
15311      3123156529       11/4/2011       9:11:02
15312      3123169196       10/25/2012      19:36:44
15313      3123207377       11/22/2011      19:39:20
15314      3123208715       9/27/2011       18:16:49
15315      3123397988       10/17/2011      7:16:52
15316      3123423866       11/22/2011      19:38:03
15317      3123424061       8/8/2012        16:13:56
15318      3123715794       11/19/2011      8:55:13
15319      3123717637       6/24/2012       11:33:51
15320      3123750273       6/24/2011       12:13:13
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15321      3123758518       10/26/2011      12:37:50
15322      3123880060       1/4/2012        15:02:14
15323      3123880935       8/1/2012        8:35:37
15324      3123885859       7/27/2012       15:34:40
15325      3123917191       9/25/2012       14:42:38
15326      3123990183       9/15/2011       9:18:30
15327      3123993417       11/2/2011       16:22:39
15328      3123997691       10/13/2011      8:34:14
15329      3124051590       10/12/2012      16:54:09
15330      3124059343       9/27/2012       16:32:35
15331      3124152869       10/16/2012      16:37:46
15332      3124156456       3/9/2012        15:47:36
15333      3124200360       7/6/2012        16:57:24
15334      3124200360       8/2/2012        11:45:09
15335      3124202909       3/13/2012       18:31:20
15336      3124370132       11/9/2011       8:29:59
15337      3124518928       3/13/2012       12:49:14
15338      3124793475       11/17/2011      16:49:21
15339      3124797349       5/8/2012        12:42:43
15340      3124890044       3/12/2012       19:25:45
15341      3124929280       10/27/2011      16:06:59
15342      3124931650       3/17/2012       8:18:57
15343      3125027501       10/3/2012       19:56:34
15344      3125041298       4/11/2012       11:29:50
15345      3125046537       10/1/2011       9:59:29
15346      3125067134       2/16/2012       8:35:39
15347      3125067134       5/21/2012       8:16:18
15348      3125067134       6/4/2012        8:17:59
15349      3125067765       9/12/2011       14:11:27
15350      3125067765       9/19/2011       19:30:52
15351      3125139923       3/16/2012       16:02:39
15352      3125235392       9/29/2011       15:35:58
15353      3125236259       11/19/2011      8:22:01
15354      3125236293       2/17/2012       9:05:06
15355      3125324298       7/3/2012        13:24:53
15356      3125324314       9/21/2011       19:35:54
15357      3125325260       10/3/2012       8:06:55
15358      3125335305       3/16/2012       10:20:01
15359      3125337380       5/11/2012       10:48:23
15360      3125451314       10/31/2011      8:22:45
15361      3125453800       5/4/2012        14:53:48
15362      3125455748       10/6/2011       16:41:02
15363      3125458099       6/30/2012       8:28:15
15364      3125470897       1/16/2014       13:30:53
15365      3125600120       3/15/2012       19:30:52
15366      3125666482       9/13/2011       16:02:19
15367      3125666482       10/17/2011      8:31:39
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15368      3125760926       5/22/2012       18:21:52
15369      3125820876       10/17/2012      12:56:20
15370      3125932785       10/31/2011      8:35:29
15371      3125936042       9/13/2011       13:30:28
15372      3126082186       12/19/2011      8:06:39
15373      3126082186       5/21/2012       8:01:43
15374      3126138600       3/29/2012       16:33:15
15375      3126175070       5/23/2012       14:46:12
15376      3126184963       8/1/2011        19:43:34
15377      3126222110       5/15/2012       19:15:42
15378      3126225542       4/16/2012       15:41:56
15379      3126230396       10/25/2011      16:27:19
15380      3126230396       3/22/2012       14:24:05
15381      3126230447       10/11/2011      16:26:33
15382      3126232303       10/10/2012      12:38:05
15383      3126469592       10/11/2011      17:23:50
15384      3126560569       5/15/2012       8:41:00
15385      3126560569       5/21/2012       8:04:24
15386      3126560569       5/21/2012       8:19:18
15387      3126560569       9/21/2012       18:59:55
15388      3126564026       12/12/2011      11:56:19
15389      3126590703       9/18/2012       14:19:20
15390      3126590703       9/24/2012       12:54:47
15391      3126628952       11/28/2011      17:57:36
15392      3126710415       10/31/2013      9:40:51
15393      3126711986       6/5/2012        19:48:44
15394      3127149573       2/7/2012        16:50:58
15395      3127149877       3/29/2012       16:44:44
15396      3127180823       8/19/2011       12:25:42
15397      3127191318       10/6/2012       8:48:30
15398      3127192029       11/19/2011      9:06:42
15399      3127312770       6/20/2012       16:59:27
15400      3127316104       3/2/2012        18:46:55
15401      3127317053       10/29/2011      11:49:04
15402      3127353511       11/15/2011      15:32:01
15403      3127357383       9/10/2011       12:39:15
15404      3127880721       9/28/2011       10:23:12
15405      3127884851       5/22/2012       18:29:21
15406      3127990417       9/8/2011        18:04:05
15407      3128024308       3/3/2012        8:53:13
15408      3128045988       3/20/2012       9:30:25
15409      3128046052       8/13/2012       20:51:37
15410      3128062276       3/14/2012       14:40:24
15411      3128069600       1/4/2012        20:09:36
15412      3128130739       8/2/2012        11:39:24
15413      3128134450       9/12/2012       14:58:44
15414      3128235055       10/19/2011      12:20:08
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15415      3128239073       6/21/2011       14:04:24
15416      3128332550       3/8/2012        20:33:38
15417      3128336163       9/29/2011       15:47:47
15418      3128336163       11/10/2011      8:10:50
15419      3128336731       5/9/2011        17:25:13
15420      3128600471       1/11/2012       8:57:14
15421      3128604942       3/28/2012       10:43:42
15422      3128609816       2/13/2012       8:13:35
15423      3128631593       7/5/2012        15:37:29
15424      3128639994       11/29/2011      15:56:11
15425      3128823018       10/22/2011      13:08:55
15426      3128823615       5/17/2012       12:01:04
15427      3129071521       1/13/2012       7:23:16
15428      3129270304       11/25/2011      17:46:47
15429      3129271007       1/18/2012       16:53:47
15430      3129271683       4/20/2012       20:51:01
15431      3129273802       2/21/2012       17:55:51
15432      3129275447       8/30/2012       17:38:25
15433      3129275606       1/9/2012        18:44:58
15434      3129277235       3/7/2012        18:43:55
15435      3129296867       10/8/2012       20:01:04
15436      3129518450       10/13/2011      8:42:40
15437      3129520011       3/6/2012        13:06:08
15438      3129612553       11/19/2011      8:57:12
15439      3129616242       9/21/2011       19:35:57
15440      3132041490       9/10/2011       9:03:59
15441      3132045058       9/10/2011       8:20:39
15442      3132050082       11/8/2011       13:44:10
15443      3132052138       9/10/2011       8:49:58
15444      3132055254       7/27/2012       15:31:21
15445      3132070863       3/15/2012       18:55:26
15446      3132071828       11/28/2011      11:58:20
15447      3132072394       12/28/2011      17:48:35
15448      3132073366       1/11/2012       16:20:35
15449      3132080079       6/26/2012       8:00:11
15450      3132080437       4/16/2012       15:58:06
15451      3132080449       9/6/2012        12:21:16
15452      3132080728       1/21/2012       8:28:53
15453      3132081137       9/16/2011       13:58:20
15454      3132081574       11/29/2011      7:38:52
15455      3132081574       12/6/2011       14:25:29
15456      3132082616       6/5/2012        7:07:59
15457      3132083241       5/24/2012       12:04:26
15458      3132083312       8/1/2012        8:30:31
15459      3132083312       9/18/2012       14:25:28
15460      3132083871       3/29/2012       17:17:13
15461      3132083874       10/10/2011      11:37:04
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15462      3132084311       1/3/2012        10:57:15
15463      3132084818       11/14/2011      16:17:52
15464      3132085437       5/10/2012       14:53:40
15465      3132085806       7/13/2012       16:59:16
15466      3132086045       1/19/2012       7:16:09
15467      3132088660       1/7/2012        9:09:25
15468      3132088660       3/2/2012        18:41:35
15469      3132088882       5/10/2012       14:45:01
15470      3132089127       5/24/2012       12:07:26
15471      3132089431       9/1/2012        9:21:47
15472      3132120301       8/8/2012        16:04:28
15473      3132128963       6/30/2012       8:16:00
15474      3132152271       2/10/2012       7:17:35
15475      3132182001       12/12/2011      16:27:17
15476      3132200290       2/14/2012       16:45:55
15477      3132204903       4/11/2012       11:06:41
15478      3132209495       11/1/2011       8:18:18
15479      3132209495       1/9/2012        18:23:49
15480      3132210013       5/2/2012        13:10:25
15481      3132213115       5/30/2012       9:19:15
15482      3132213239       10/7/2011       7:18:04
15483      3132213515       9/19/2012       7:59:15
15484      3132213556       11/12/2011      11:08:16
15485      3132213556       11/23/2011      15:01:59
15486      3132313993       10/10/2012      19:04:35
15487      3132314692       5/1/2012        17:25:28
15488      3132434644       10/11/2012      7:57:28
15489      3132436193       2/14/2012       16:45:56
15490      3132436569       3/7/2012        18:36:07
15491      3132436600       11/14/2011      16:23:19
15492      3132436882       12/15/2011      8:27:00
15493      3132436882       2/4/2012        8:18:34
15494      3132436882       5/9/2012        21:03:16
15495      3132445853       8/7/2012        17:32:22
15496      3132447187       10/8/2011       10:42:15
15497      3132447310       1/24/2012       17:15:57
15498      3132448687       9/29/2011       9:42:21
15499      3132470842       9/9/2011        7:26:18
15500      3132473091       11/17/2011      16:19:28
15501      3132473562       9/24/2012       18:49:46
15502      3132473914       5/21/2011       10:46:16
15503      3132546047       11/12/2011      9:06:05
15504      3132581383       8/24/2012       7:34:31
15505      3132582689       3/6/2012        17:11:30
15506      3132585224       10/31/2011      7:32:07
15507      3132585312       4/15/2012       16:20:58
15508      3132585312       5/21/2012       7:31:10
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15509      3132587293       11/17/2011      16:41:48
15510      3132636984       4/2/2012        7:03:36
15511      3132685715       3/2/2012        18:41:00
15512      3132692744       4/20/2012       14:01:47
15513      3132695002       2/29/2012       17:45:31
15514      3132825104       10/17/2011      8:00:52
15515      3132825290       9/8/2011        19:38:53
15516      3132826756       10/22/2011      13:00:24
15517      3132828406       6/7/2012        18:22:39
15518      3132833796       1/26/2012       10:24:29
15519      3132834055       8/20/2012       18:40:57
15520      3132835929       4/11/2012       13:17:11
15521      3132836331       9/13/2011       17:45:39
15522      3132850268       12/6/2011       7:36:00
15523      3132850739       10/3/2011       7:27:39
15524      3132850833       5/30/2012       12:37:54
15525      3132850858       11/21/2011      7:36:49
15526      3132850858       12/31/2011      12:03:31
15527      3132854614       3/10/2012       8:37:44
15528      3132854807       11/14/2011      16:24:57
15529      3132867177       9/14/2012       7:03:01
15530      3132878899       5/4/2012        18:27:06
15531      3132895898       1/9/2012        18:03:15
15532      3132895936       3/13/2012       18:36:45
15533      3132898401       3/13/2012       18:29:40
15534      3132899468       2/20/2012       7:20:11
15535      3132930701       1/13/2012       17:13:13
15536      3132931492       7/3/2012        19:31:29
15537      3132931623       3/30/2012       16:03:32
15538      3132938150       7/18/2012       7:04:52
15539      3132939281       10/11/2011      16:53:32
15540      3133001835       6/30/2013       17:01:20
15541      3133002186       12/12/2011      12:17:02
15542      3133003191       10/21/2011      13:12:33
15543      3133005684       11/23/2011      9:59:22
15544      3133039362       10/22/2011      12:18:13
15545      3133041291       10/2/2012       12:50:31
15546      3133041504       12/31/2011      11:55:11
15547      3133042676       3/16/2012       10:11:30
15548      3133043363       5/17/2012       16:46:05
15549      3133045416       3/28/2012       18:18:17
15550      3133100408       2/18/2012       8:55:53
15551      3133102994       7/30/2012       14:43:18
15552      3133160516       1/11/2012       7:32:05
15553      3133160896       3/15/2012       19:03:51
15554      3133164451       12/22/2011      9:19:49
15555      3133169282       1/10/2012       15:10:34
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15556      3133169282       2/13/2012       18:33:44
15557      3133169282       7/9/2012        19:05:02
15558      3133188683       8/7/2012        17:46:19
15559      3133188973       3/14/2012       19:55:16
15560      3133201941       11/19/2011      8:45:21
15561      3133205464       7/9/2012        7:19:42
15562      3133206401       9/13/2011       7:10:42
15563      3133304177       9/26/2012       14:33:16
15564      3133305622       1/27/2012       7:23:43
15565      3133305950       9/24/2011       9:29:18
15566      3133330758       10/9/2012       7:38:46
15567      3133331231       4/29/2012       18:23:05
15568      3133331231       4/30/2012       15:05:39
15569      3133334292       8/26/2011       17:44:54
15570      3133335459       11/12/2011      10:11:30
15571      3133336277       12/28/2011      13:06:26
15572      3133340409       2/11/2012       11:03:30
15573      3133340894       10/12/2011      8:00:18
15574      3133341155       1/10/2012       15:25:11
15575      3133341174       5/15/2012       7:50:11
15576      3133342965       10/19/2011      7:58:39
15577      3133348856       2/8/2012        7:36:40
15578      3133349759       1/8/2012        12:47:58
15579      3133349759       1/17/2012       17:07:21
15580      3133401102       8/30/2012       17:31:21
15581      3133463102       9/23/2011       18:53:57
15582      3133463323       12/26/2011      8:58:19
15583      3133463395       3/13/2012       7:06:28
15584      3133463969       12/15/2011      8:25:04
15585      3133466095       12/20/2011      19:29:51
15586      3133467156       3/22/2012       7:56:47
15587      3133467156       4/2/2012        7:10:34
15588      3133467156       5/21/2012       7:05:40
15589      3133507441       4/2/2012        7:13:58
15590      3133585129       1/27/2012       10:15:09
15591      3133638208       1/4/2012        11:01:23
15592      3133750060       10/24/2012      15:07:14
15593      3133750305       12/11/2011      12:22:03
15594      3133771281       11/17/2011      16:14:06
15595      3133775423       9/21/2011       19:34:30
15596      3133840686       11/12/2011      9:16:27
15597      3133842767       6/13/2012       7:04:37
15598      3133843761       10/19/2011      12:09:03
15599      3133844083       9/19/2011       7:07:41
15600      3133845180       6/12/2012       17:05:04
15601      3133847668       9/22/2011       15:09:14
15602      3133849091       3/15/2012       7:01:07
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15603      3133993959       12/28/2011      13:06:06
15604      3133995503       7/28/2012       8:54:30
15605      3133996489       12/7/2011       13:57:46
15606      3133997044       2/10/2012       17:04:15
15607      3134016320       6/15/2012       8:48:01
15608      3134018909       9/24/2012       13:00:52
15609      3134020069       2/9/2012        7:08:35
15610      3134025194       6/30/2012       8:24:26
15611      3134040352       10/5/2011       14:32:20
15612      3134045304       3/14/2012       19:30:38
15613      3134053900       3/11/2012       15:07:59
15614      3134053900       8/20/2012       18:39:31
15615      3134053900       9/29/2012       9:53:23
15616      3134070225       9/26/2011       8:45:01
15617      3134070225       11/17/2011      16:44:24
15618      3134071269       12/9/2011       13:17:02
15619      3134073864       11/28/2011      11:17:18
15620      3134078817       3/13/2012       16:41:33
15621      3134080514       1/17/2012       18:29:54
15622      3134082614       2/6/2012        17:11:33
15623      3134083665       3/5/2012        7:51:22
15624      3134083665       3/16/2012       16:19:04
15625      3134084188       11/3/2011       17:08:13
15626      3134084240       6/23/2012       8:30:48
15627      3134084300       10/23/2012      15:59:43
15628      3134088287       1/23/2012       19:07:52
15629      3134090681       3/22/2012       8:09:04
15630      3134121834       11/8/2011       14:12:44
15631      3134121839       7/2/2012        14:59:46
15632      3134123615       3/22/2012       7:57:32
15633      3134124518       2/20/2012       17:02:15
15634      3134124558       5/13/2012       17:09:07
15635      3134124558       5/21/2012       7:33:13
15636      3134125494       9/21/2011       11:23:24
15637      3134125632       11/17/2011      15:28:10
15638      3134126454       4/17/2012       9:19:49
15639      3134127027       10/8/2011       9:19:11
15640      3134129031       4/15/2012       16:43:56
15641      3134129031       7/9/2012        7:14:42
15642      3134129782       9/12/2011       13:46:40
15643      3134129994       12/27/2011      14:26:25
15644      3134129996       12/7/2011       13:53:46
15645      3134140499       7/13/2012       18:51:05
15646      3134141301       5/17/2012       7:13:40
15647      3134141634       11/17/2011      16:16:52
15648      3134145988       11/25/2011      17:36:40
15649      3134147118       1/28/2012       8:05:30
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15650      3134148507       8/11/2012       9:20:46
15651      3134151299       11/11/2011      13:34:29
15652      3134153352       2/29/2012       17:42:19
15653      3134153918       3/14/2012       7:09:19
15654      3134157231       9/27/2011       18:07:09
15655      3134159110       10/18/2012      7:01:50
15656      3134207106       10/6/2011       17:31:55
15657      3134213092       11/21/2011      7:09:30
15658      3134216632       7/22/2011       13:28:16
15659      3134223157       5/17/2012       16:38:47
15660      3134223585       10/4/2011       13:40:29
15661      3134225232       11/28/2011      17:11:07
15662      3134225817       9/8/2011        19:43:49
15663      3134225998       1/24/2012       9:59:23
15664      3134240885       12/14/2011      14:49:31
15665      3134240915       12/5/2011       9:12:15
15666      3134242228       1/18/2012       9:57:17
15667      3134242574       3/29/2012       16:29:27
15668      3134242853       3/25/2012       11:51:45
15669      3134242920       5/23/2012       14:51:45
15670      3134243117       1/16/2012       17:12:08
15671      3134243445       3/30/2012       7:13:16
15672      3134243846       3/16/2012       16:19:57
15673      3134248641       4/11/2014       14:50:31
15674      3134248974       3/3/2012        8:32:19
15675      3134251015       10/19/2011      8:17:26
15676      3134251096       9/24/2011       9:09:16
15677      3134251409       10/17/2012      9:37:49
15678      3134251909       3/15/2012       19:04:38
15679      3134256292       3/29/2011       16:09:48
15680      3134274376       10/18/2011      7:11:56
15681      3134275153       5/2/2012        13:05:37
15682      3134275426       7/7/2012        10:17:44
15683      3134294002       8/3/2012        16:24:10
15684      3134335280       3/27/2012       14:51:41
15685      3134335661       1/3/2012        7:03:12
15686      3134336309       12/7/2011       13:52:57
15687      3134336583       5/20/2012       15:32:16
15688      3134339943       8/20/2012       18:39:36
15689      3134342641       11/22/2011      19:05:47
15690      3134344117       3/27/2012       14:59:13
15691      3134346290       5/18/2012       16:00:15
15692      3134347768       6/7/2012        18:22:59
15693      3134348797       5/22/2012       18:26:16
15694      3134349075       12/20/2011      16:59:13
15695      3134349499       6/25/2012       13:33:03
15696      3134349961       8/24/2012       7:28:38
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15697      3134349961       9/10/2012       7:36:24
15698      3134430907       2/11/2012       11:03:07
15699      3134431356       11/12/2011      10:15:57
15700      3134432832       5/31/2012       15:04:28
15701      3134434889       2/21/2012       9:42:03
15702      3134435560       11/2/2011       7:20:48
15703      3134450755       7/21/2011       7:26:56
15704      3134451200       3/10/2011       16:32:09
15705      3134451200       9/8/2011        19:43:56
15706      3134456682       11/17/2011      16:20:03
15707      3134477689       7/20/2012       7:33:51
15708      3134491502       1/26/2012       7:26:12
15709      3134492849       2/24/2011       11:09:17
15710      3134492999       3/15/2012       19:24:37
15711      3134520038       12/5/2011       18:21:30
15712      3134520820       10/17/2012      9:41:56
15713      3134527572       4/21/2012       8:09:18
15714      3134546083       3/12/2012       19:15:01
15715      3134546380       2/13/2012       7:02:27
15716      3134546927       3/15/2012       19:23:30
15717      3134547934       10/4/2011       13:34:49
15718      3134548787       11/8/2011       14:13:19
15719      3134549083       10/27/2011      16:38:47
15720      3134552785       5/1/2012        14:05:37
15721      3134573531       6/5/2012        14:00:10
15722      3134574520       1/23/2012       19:14:10
15723      3134581420       2/14/2012       15:21:14
15724      3134581740       12/7/2011       13:16:39
15725      3134583804       12/20/2011      19:30:06
15726      3134583855       12/12/2011      16:28:12
15727      3134591353       3/30/2012       7:10:04
15728      3134591558       10/3/2012       19:51:02
15729      3134593225       12/1/2011       8:01:19
15730      3134594223       2/13/2012       7:04:15
15731      3134594680       9/16/2011       13:25:05
15732      3134594758       8/15/2012       7:49:53
15733      3134595619       1/23/2012       18:54:41
15734      3134595724       7/26/2012       19:13:32
15735      3134599084       3/15/2012       19:23:58
15736      3134600692       2/13/2012       18:38:35
15737      3134608915       10/15/2012      16:26:27
15738      3134610079       1/10/2012       18:08:24
15739      3134612514       7/6/2012        16:44:39
15740      3134614603       12/21/2011      10:03:59
15741      3134615083       3/25/2012       11:42:02
15742      3134615846       12/15/2011      8:30:40
15743      3134616715       1/9/2012        18:27:19
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15744      3134618756       3/28/2012       7:18:38
15745      3134631069       10/17/2011      11:09:20
15746      3134638118       12/3/2011       9:01:53
15747      3134650145       1/30/2012       7:07:05
15748      3134650608       3/22/2012       7:49:41
15749      3134650964       2/17/2012       9:10:24
15750      3134652281       5/29/2012       17:09:57
15751      3134652910       2/16/2012       7:08:48
15752      3134656848       9/29/2012       9:53:24
15753      3134659068       2/21/2012       17:37:48
15754      3134659112       9/21/2012       15:24:48
15755      3134659903       12/16/2011      15:30:28
15756      3134686646       9/21/2011       11:50:24
15757      3134687375       3/20/2012       17:35:18
15758      3134692410       4/6/2012        16:07:15
15759      3134692709       5/4/2012        14:30:25
15760      3134692859       4/10/2012       11:37:17
15761      3134694089       3/10/2011       15:45:11
15762      3134695628       4/15/2012       16:32:32
15763      3134711718       9/29/2011       15:35:43
15764      3134714295       2/2/2012        7:06:48
15765      3134714295       2/11/2012       15:22:21
15766      3134714505       10/2/2012       12:48:50
15767      3134718571       9/28/2011       10:50:53
15768      3134771635       9/3/2012        14:41:17
15769      3134775072       10/25/2011      16:48:57
15770      3134782245       12/10/2011      12:58:35
15771      3134782245       5/29/2012       17:03:08
15772      3134785554       10/15/2012      16:26:25
15773      3134787026       11/5/2011       10:40:38
15774      3134787137       10/17/2012      14:02:35
15775      3134788306       10/19/2012      19:03:14
15776      3134788779       8/8/2011        14:51:15
15777      3134820661       2/16/2012       7:05:47
15778      3134832390       1/16/2012       17:08:04
15779      3134852840       9/12/2011       13:06:54
15780      3134856021       11/22/2011      19:23:17
15781      3134922270       10/17/2011      7:34:11
15782      3134925226       9/23/2011       18:43:48
15783      3134925318       8/24/2012       7:31:41
15784      3134929297       3/13/2012       18:27:09
15785      3134929297       3/28/2012       16:45:22
15786      3134984141       1/13/2012       17:34:08
15787      3135051410       3/21/2012       13:53:32
15788      3135051797       9/12/2011       14:00:43
15789      3135054833       4/4/2012        18:43:35
15790      3135066745       5/19/2012       8:09:15
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15791      3135066946       6/11/2012       17:52:23
15792      3135103706       9/23/2011       18:40:27
15793      3135109768       4/4/2012        18:42:46
15794      3135151587       5/15/2012       7:55:05
15795      3135160478       6/6/2012        7:09:25
15796      3135161002       6/4/2012        8:11:02
15797      3135164894       7/17/2012       9:18:06
15798      3135165872       10/20/2011      15:21:39
15799      3135166833       4/12/2012       18:18:03
15800      3135167961       3/2/2012        18:57:38
15801      3135169285       2/24/2011       11:33:13
15802      3135205275       5/28/2011       10:17:56
15803      3135220380       2/7/2012        16:46:31
15804      3135222059       8/3/2012        7:47:35
15805      3135229104       4/12/2012       18:03:33
15806      3135229132       3/2/2012        7:10:38
15807      3135231797       7/31/2012       7:05:23
15808      3135232309       9/26/2011       8:23:01
15809      3135232309       10/19/2011      8:20:01
15810      3135232611       4/16/2012       7:22:47
15811      3135232648       4/11/2012       7:12:06
15812      3135233005       9/9/2011        7:48:17
15813      3135233105       9/14/2011       16:11:02
15814      3135233289       6/5/2012        14:01:01
15815      3135233388       11/26/2011      11:12:30
15816      3135235411       10/21/2011      14:37:27
15817      3135237114       7/7/2012        9:58:34
15818      3135237670       4/3/2012        15:56:46
15819      3135237869       3/22/2012       7:51:17
15820      3135237869       4/5/2012        14:21:52
15821      3135237869       5/27/2012       13:59:33
15822      3135238890       1/4/2012        11:32:30
15823      3135250091       3/27/2012       15:34:15
15824      3135255275       11/22/2011      18:40:24
15825      3135255426       11/11/2011      7:52:07
15826      3135290222       11/18/2011      13:22:41
15827      3135290405       4/11/2012       7:19:30
15828      3135291111       3/24/2012       9:59:06
15829      3135296236       10/1/2012       13:58:25
15830      3135296236       10/17/2012      18:48:54
15831      3135298211       5/20/2012       15:25:24
15832      3135303356       5/2/2012        13:38:40
15833      3135303359       10/4/2011       13:12:11
15834      3135307191       12/17/2011      11:45:34
15835      3135397061       11/30/2011      7:18:09
15836      3135434479       8/17/2012       7:13:31
15837      3135440633       2/3/2012        7:17:06
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15838      3135440992       9/23/2011       11:34:06
15839      3135443108       9/21/2011       11:48:39
15840      3135443108       9/27/2011       18:02:58
15841      3135446482       2/1/2012        9:44:10
15842      3135448644       11/23/2011      14:37:04
15843      3135490807       6/19/2012       15:42:22
15844      3135492157       3/22/2012       14:09:10
15845      3135503558       10/15/2012      16:17:35
15846      3135506502       1/9/2012        18:29:54
15847      3135508562       3/29/2012       11:15:32
15848      3135509783       11/14/2011      16:54:53
15849      3135511522       11/4/2011       7:18:02
15850      3135519094       12/16/2011      15:29:20
15851      3135566015       9/25/2012       14:41:22
15852      3135566972       12/16/2011      15:30:37
15853      3135663930       10/8/2012       7:09:31
15854      3135700935       10/20/2012      16:28:38
15855      3135706936       6/2/2011        10:56:22
15856      3135734610       9/13/2011       15:10:35
15857      3135736333       2/16/2012       7:02:09
15858      3135740532       5/10/2011       19:34:56
15859      3135741284       11/5/2011       9:30:31
15860      3135741394       10/15/2012      10:04:10
15861      3135746341       12/26/2011      8:53:02
15862      3135746953       10/14/2012      15:16:35
15863      3135747996       11/11/2011      13:31:35
15864      3135748805       5/6/2012        17:13:49
15865      3135751533       3/7/2012        7:12:59
15866      3135754582       7/9/2012        19:07:44
15867      3135756128       6/5/2012        19:51:50
15868      3135766496       3/27/2012       7:13:45
15869      3135766522       1/20/2012       19:27:02
15870      3135766847       11/23/2011      14:32:08
15871      3135766870       10/1/2012       13:43:11
15872      3135766890       11/21/2011      7:35:43
15873      3135803409       1/10/2012       15:19:52
15874      3135851799       11/22/2011      19:07:53
15875      3135852310       3/25/2012       12:12:40
15876      3135852706       5/10/2012       14:44:25
15877      3135853327       6/7/2012        18:31:23
15878      3135855028       2/2/2012        18:57:51
15879      3135855142       12/21/2011      11:20:29
15880      3135857934       6/4/2012        8:21:56
15881      3135859703       9/19/2011       19:11:37
15882      3135862536       11/12/2011      9:45:13
15883      3135870000       2/3/2012        20:12:44
15884      3135870187       1/11/2012       16:19:48
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15885      3135870308       10/27/2011      15:01:19
15886      3135871694       9/24/2012       13:05:04
15887      3135874834       9/16/2011       12:55:19
15888      3135875711       6/12/2012       17:10:48
15889      3135875841       9/8/2012        11:03:45
15890      3135902779       9/21/2011       19:34:09
15891      3135950401       12/1/2011       14:50:30
15892      3135952515       8/8/2012        16:05:49
15893      3135952663       7/30/2012       14:39:49
15894      3135954564       7/12/2012       7:05:31
15895      3135954784       12/17/2011      12:00:12
15896      3135959186       3/14/2012       7:10:29
15897      3135980392       9/1/2011        8:16:49
15898      3135980549       2/13/2012       18:25:03
15899      3135981494       2/1/2012        8:19:17
15900      3135981494       4/10/2012       11:46:57
15901      3136000094       12/14/2011      13:30:36
15902      3136009480       7/11/2012       9:36:55
15903      3136100446       9/7/2013        16:41:08
15904      3136101118       3/14/2011       17:04:37
15905      3136101450       4/11/2012       7:17:39
15906      3136142713       5/9/2012        7:40:10
15907      3136142713       5/21/2012       7:13:42
15908      3136145663       10/19/2011      8:18:59
15909      3136145663       12/27/2011      14:33:27
15910      3136147289       3/21/2012       13:38:12
15911      3136170229       5/17/2011       10:35:09
15912      3136172514       7/25/2012       12:05:07
15913      3136184861       9/15/2012       8:18:08
15914      3136185641       2/28/2012       13:30:28
15915      3136223928       4/12/2012       13:02:52
15916      3136225749       2/14/2012       9:55:21
15917      3136234041       1/24/2012       17:12:28
15918      3136234433       4/24/2012       12:22:26
15919      3136235431       8/9/2012        13:59:02
15920      3136236873       7/18/2012       18:23:21
15921      3136236873       8/21/2012       13:48:09
15922      3136239833       8/15/2012       7:49:03
15923      3136245191       11/3/2011       17:41:32
15924      3136245375       1/8/2012        12:54:32
15925      3136246689       6/30/2012       15:41:29
15926      3136246908       9/19/2011       7:22:09
15927      3136246908       9/29/2011       15:34:09
15928      3136247224       10/23/2012      10:46:59
15929      3136290069       7/30/2012       13:26:37
15930      3136292030       6/5/2012        14:01:55
15931      3136294014       12/21/2013      14:11:10
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15932      3136294816       9/20/2011       16:31:29
15933      3136294976       9/27/2012       7:36:51
15934      3136295357       5/30/2012       12:50:55
15935      3136295917       10/24/2011      7:02:57
15936      3136295917       11/17/2011      16:17:53
15937      3136295937       6/30/2012       8:05:55
15938      3136298514       8/2/2012        7:32:16
15939      3136298664       7/9/2012        19:07:48
15940      3136298664       8/14/2012       8:04:04
15941      3136298767       1/27/2012       17:42:08
15942      3136299219       5/11/2012       18:23:34
15943      3136336195       5/11/2012       18:39:05
15944      3136336195       7/27/2012       15:38:51
15945      3136336341       7/30/2011       8:19:11
15946      3136337377       4/5/2012        9:32:56
15947      3136338864       12/5/2011       18:22:11
15948      3136410046       9/26/2012       14:31:05
15949      3136410046       10/10/2012      12:31:29
15950      3136412975       3/15/2012       19:28:18
15951      3136417865       12/19/2011      18:22:24
15952      3136436043       12/29/2011      19:13:13
15953      3136459605       11/12/2011      10:22:49
15954      3136461355       12/12/2011      16:28:06
15955      3136463557       9/21/2011       19:32:13
15956      3136463990       1/30/2014       7:52:14
15957      3136465919       10/20/2011      16:13:48
15958      3136468145       12/20/2011      7:14:11
15959      3136468423       6/7/2012        7:05:51
15960      3136468909       9/20/2011       16:31:11
15961      3136468909       10/10/2011      11:34:41
15962      3136484698       2/21/2012       17:34:54
15963      3136487868       10/20/2012      16:36:00
15964      3136516719       4/29/2012       16:32:08
15965      3136539150       5/21/2012       7:47:02
15966      3136539616       3/5/2012        7:49:41
15967      3136556319       10/7/2011       7:25:44
15968      3136561704       10/4/2011       13:07:01
15969      3136567049       3/16/2012       10:20:34
15970      3136568446       2/17/2012       18:30:40
15971      3136569257       3/15/2012       18:52:44
15972      3136580496       12/14/2011      13:06:55
15973      3136582079       10/6/2012       8:43:22
15974      3136582456       12/27/2011      14:29:05
15975      3136582456       1/10/2012       15:32:02
15976      3136582456       2/6/2012        7:09:36
15977      3136583379       4/19/2012       7:34:08
15978      3136583863       5/11/2012       18:40:28
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15979      3136583871       3/6/2012        16:56:58
15980      3136583939       10/19/2011      7:56:51
15981      3136584381       12/27/2011      14:26:26
15982      3136584445       11/22/2011      18:31:35
15983      3136584445       12/27/2011      14:31:49
15984      3136584874       3/6/2012        15:58:42
15985      3136598550       1/14/2012       8:13:39
15986      3136598587       11/29/2013      9:34:41
15987      3136624477       1/7/2012        8:15:16
15988      3136702609       12/18/2011      16:17:37
15989      3136710641       5/22/2012       11:50:18
15990      3136713093       9/28/2011       10:08:37
15991      3136730476       9/14/2011       16:14:27
15992      3136732043       9/19/2011       19:30:41
15993      3136734102       7/9/2012        12:08:14
15994      3136734349       8/2/2012        11:35:04
15995      3136735750       1/19/2012       7:12:42
15996      3136737476       10/18/2012      16:40:43
15997      3136738174       10/6/2011       17:16:32
15998      3136738255       8/10/2011       18:38:19
15999      3136753720       4/16/2012       7:09:07
16000      3136754385       10/18/2012      16:29:13
16001      3136763139       10/5/2012       18:25:09
16002      3136768272       3/15/2012       19:01:12
16003      3136826666       8/1/2012        8:31:00
16004      3136851582       12/28/2011      7:28:36
16005      3136852082       2/20/2012       16:46:52
16006      3136852145       10/17/2011      8:26:52
16007      3136852873       8/18/2012       8:56:21
16008      3136853399       1/23/2012       7:01:48
16009      3136853927       10/5/2011       14:29:54
16010      3136853927       11/21/2011      7:07:10
16011      3136854593       3/10/2011       15:27:26
16012      3136854868       5/19/2012       9:38:15
16013      3136868138       10/8/2012       7:09:36
16014      3136869282       3/19/2012       17:39:03
16015      3136872044       2/14/2012       10:00:21
16016      3136872269       8/18/2012       8:34:38
16017      3136872269       10/17/2012      18:28:08
16018      3136872812       10/13/2011      7:11:46
16019      3136873835       9/19/2011       7:04:36
16020      3136873891       1/14/2012       8:02:03
16021      3136891128       12/22/2011      9:20:45
16022      3136900157       5/14/2011       11:47:23
16023      3136907841       12/29/2011      18:42:52
16024      3136932659       9/25/2012       15:10:14
16025      3136936494       3/16/2012       10:20:28
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16026      3136936494       4/2/2012        7:05:43
16027      3136936944       12/10/2011      12:46:57
16028      3136945944       3/14/2012       19:41:24
16029      3136949531       7/16/2012       7:05:26
16030      3136957054       10/17/2012      18:28:22
16031      3136957367       6/29/2012       9:38:13
16032      3137019342       12/5/2011       18:28:01
16033      3137041280       10/3/2012       19:54:48
16034      3137041288       12/26/2011      9:15:09
16035      3137041515       11/5/2011       9:44:27
16036      3137042026       3/30/2012       16:03:14
16037      3137042673       9/21/2011       11:40:32
16038      3137043063       2/24/2012       17:07:49
16039      3137045129       6/21/2012       18:48:05
16040      3137045345       11/14/2011      16:39:04
16041      3137046005       3/28/2012       18:12:27
16042      3137046005       4/2/2012        7:08:27
16043      3137046368       8/23/2012       12:00:14
16044      3137047740       1/13/2012       12:28:18
16045      3137047817       10/10/2011      12:12:25
16046      3137133570       9/10/2012       7:31:26
16047      3137175631       3/17/2012       8:42:18
16048      3137175631       9/21/2012       18:51:00
16049      3137178563       11/22/2011      19:07:10
16050      3137184033       10/8/2011       9:08:32
16051      3137198500       2/17/2012       18:06:51
16052      3137202170       10/4/2011       13:41:00
16053      3137212616       3/7/2012        18:37:04
16054      3137212629       4/11/2012       10:52:44
16055      3137212930       3/21/2012       13:36:56
16056      3137212930       4/19/2012       7:28:47
16057      3137212931       3/15/2012       19:01:50
16058      3137214064       7/19/2012       17:29:38
16059      3137214473       10/3/2011       7:11:38
16060      3137215156       4/21/2012       16:13:54
16061      3137215192       11/7/2011       7:39:26
16062      3137217439       8/17/2012       7:13:21
16063      3137273379       2/21/2012       11:02:23
16064      3137280010       2/8/2012        7:27:49
16065      3137280425       1/12/2012       7:00:48
16066      3137280848       10/3/2011       7:29:26
16067      3137281750       12/2/2011       7:33:02
16068      3137281792       10/16/2012      7:26:55
16069      3137281804       11/2/2011       7:19:29
16070      3137281855       4/16/2012       15:58:10
16071      3137282087       10/26/2011      12:09:29
16072      3137282087       1/31/2012       7:17:57
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16073      3137283436       9/15/2011       7:21:00
16074      3137283436       10/4/2011       13:33:38
16075      3137284636       2/3/2012        7:14:59
16076      3137285771       1/21/2012       9:10:36
16077      3137289724       10/25/2011      15:14:44
16078      3137290006       5/1/2012        8:19:36
16079      3137295285       4/26/2012       11:22:26
16080      3137295367       11/28/2011      11:54:41
16081      3137322395       12/28/2011      17:46:53
16082      3137322395       1/12/2012       14:23:33
16083      3137328323       9/24/2012       13:00:14
16084      3137337383       10/24/2011      7:04:20
16085      3137337429       9/12/2012       7:43:08
16086      3137360156       9/10/2012       7:36:20
16087      3137360156       9/28/2012       7:38:13
16088      3137361558       2/6/2012        7:19:43
16089      3137361558       5/17/2012       7:11:38
16090      3137361605       3/15/2011       12:14:09
16091      3137362324       6/12/2012       7:21:17
16092      3137362468       8/29/2011       13:01:27
16093      3137368977       3/2/2012        18:42:05
16094      3137373300       9/20/2011       16:33:17
16095      3137379096       12/14/2011      13:01:35
16096      3137390584       10/15/2011      9:44:21
16097      3137393451       4/20/2012       14:02:52
16098      3137393498       6/27/2012       12:13:21
16099      3137393514       10/22/2012      18:07:22
16100      3137393865       10/10/2012      12:42:26
16101      3137394458       9/4/2012        16:03:33
16102      3137394459       9/21/2012       16:02:04
16103      3137394495       11/15/2011      15:13:10
16104      3137395179       8/14/2012       11:41:24
16105      3137395718       3/16/2012       15:57:35
16106      3137395718       6/18/2012       7:55:20
16107      3137397655       1/8/2012        12:51:38
16108      3137401635       1/27/2012       17:41:57
16109      3137401635       2/13/2012       7:17:30
16110      3137402352       12/16/2011      16:13:33
16111      3137402530       2/6/2012        17:14:11
16112      3137402530       2/28/2012       15:50:38
16113      3137402778       7/12/2011       12:09:44
16114      3137403713       3/29/2012       12:00:10
16115      3137403739       4/6/2012        16:05:30
16116      3137406069       10/5/2011       14:26:54
16117      3137406850       9/27/2011       18:31:55
16118      3137408406       3/19/2012       7:14:07
16119      3137408504       10/13/2011      7:11:13
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16120      3137408537       11/17/2011      16:40:46
16121      3137409735       12/21/2011      9:49:53
16122      3137421448       9/29/2011       15:05:56
16123      3137427814       4/21/2012       8:11:00
16124      3137428183       8/20/2012       18:39:35
16125      3137429664       3/12/2012       19:03:44
16126      3137431711       12/20/2011      19:22:45
16127      3137432230       7/22/2011       13:27:32
16128      3137434164       10/18/2012      16:34:27
16129      3137434663       9/13/2011       7:12:59
16130      3137482085       9/21/2012       18:43:38
16131      3137482214       5/16/2012       17:02:49
16132      3137482214       7/9/2012        12:07:14
16133      3137482513       7/15/2012       10:39:15
16134      3137483942       11/4/2011       7:20:04
16135      3137498394       9/6/2012        12:27:07
16136      3137531156       3/23/2012       7:02:19
16137      3137531789       10/3/2012       7:10:25
16138      3137531810       12/1/2011       7:51:10
16139      3137533757       12/29/2011      14:27:43
16140      3137534333       1/6/2012        14:38:00
16141      3137535451       5/3/2012        7:08:32
16142      3137587714       1/19/2012       18:28:22
16143      3137587732       10/6/2011       17:23:36
16144      3137587751       5/18/2012       15:57:20
16145      3137588278       9/21/2012       15:27:37
16146      3137588766       3/17/2012       8:22:08
16147      3137588963       10/11/2011      15:49:21
16148      3137589773       3/6/2012        12:57:33
16149      3137589883       11/29/2011      16:15:20
16150      3137591068       12/10/2011      12:02:02
16151      3137591068       1/4/2012        11:14:52
16152      3137591068       4/3/2012        17:59:48
16153      3137594084       1/6/2012        7:04:55
16154      3137594084       6/27/2012       12:01:01
16155      3137596857       2/21/2012       10:51:36
16156      3137684896       1/12/2012       7:02:50
16157      3137687116       2/9/2012        7:12:30
16158      3137687469       9/26/2012       7:10:27
16159      3137707470       4/16/2012       15:41:52
16160      3137720232       5/10/2011       19:07:10
16161      3137720366       9/3/2011        11:20:40
16162      3137720933       2/14/2012       9:59:58
16163      3137721595       1/20/2014       14:17:51
16164      3137723370       11/17/2011      15:09:19
16165      3137723370       6/25/2012       13:15:34
16166      3137723918       3/26/2012       18:19:47
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16167      3137725277       10/6/2011       17:20:52
16168      3137725365       4/2/2012        7:38:20
16169      3137725451       5/2/2012        13:09:36
16170      3137780086       9/9/2011        7:28:42
16171      3137780173       6/16/2012       15:07:44
16172      3137780468       8/31/2012       9:30:57
16173      3137781280       2/2/2012        7:18:10
16174      3137781280       9/26/2012       15:24:33
16175      3137782814       10/8/2011       10:51:35
16176      3137783272       10/22/2011      12:27:15
16177      3137783669       9/28/2012       16:41:54
16178      3137783938       10/6/2012       8:26:52
16179      3137784872       1/3/2012        7:04:05
16180      3137784981       12/29/2011      18:01:22
16181      3137786643       10/24/2011      7:16:19
16182      3137793335       11/3/2011       17:41:37
16183      3137796275       8/23/2011       18:45:30
16184      3137843259       11/23/2011      14:49:29
16185      3137844343       10/25/2012      19:24:27
16186      3137844513       10/18/2012      16:33:07
16187      3137844648       5/26/2012       8:24:55
16188      3137844804       9/23/2011       18:54:27
16189      3137846094       5/21/2012       7:31:43
16190      3137848444       10/7/2012       12:48:23
16191      3137904334       3/28/2012       10:30:40
16192      3137990204       12/21/2011      10:07:47
16193      3137991759       7/13/2012       18:33:39
16194      3137996361       9/30/2011       9:54:50
16195      3137996539       3/30/2012       16:21:02
16196      3137997157       10/14/2011      19:14:51
16197      3138060140       3/2/2012        18:44:05
16198      3138080161       9/13/2011       17:43:58
16199      3138081335       1/9/2012        7:04:00
16200      3138082418       1/6/2012        10:00:33
16201      3138084411       10/22/2011      12:23:19
16202      3138084545       10/29/2011      10:31:56
16203      3138084889       11/23/2011      9:14:00
16204      3138085171       10/10/2011      11:53:24
16205      3138085287       8/20/2012       7:41:55
16206      3138085884       10/12/2011      7:21:00
16207      3138086062       10/11/2011      16:48:59
16208      3138086559       2/11/2012       10:55:52
16209      3138086987       9/24/2012       18:49:56
16210      3138087211       9/15/2011       7:23:53
16211      3138088225       2/28/2012       15:49:54
16212      3138088242       1/8/2012        12:59:14
16213      3138088345       10/26/2011      11:50:09
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16214      3138088897       11/17/2011      16:03:10
16215      3138153220       10/18/2012      7:16:29
16216      3138153590       12/18/2011      16:56:23
16217      3138155429       12/3/2011       9:57:15
16218      3138158276       8/5/2011        17:29:34
16219      3138175817       1/21/2012       8:22:44
16220      3138191773       1/23/2012       19:12:29
16221      3138199999       7/3/2012        13:01:58
16222      3138205735       9/13/2011       17:30:36
16223      3138205773       10/14/2011      13:16:02
16224      3138254738       5/1/2012        17:57:09
16225      3138254738       5/9/2012        7:59:56
16226      3138255576       9/15/2011       7:23:06
16227      3138256053       3/15/2012       19:02:48
16228      3138259467       8/25/2012       11:01:12
16229      3138262372       12/7/2011       13:21:01
16230      3138264616       9/3/2012        14:26:58
16231      3138264860       5/14/2012       15:17:10
16232      3138265424       9/19/2012       7:52:12
16233      3138265872       1/27/2012       17:33:50
16234      3138265933       7/10/2012       7:31:19
16235      3138268015       3/16/2012       16:13:00
16236      3138269759       9/10/2012       7:37:29
16237      3138280007       7/22/2011       13:27:50
16238      3138280454       10/25/2012      19:34:02
16239      3138280974       12/27/2011      14:27:36
16240      3138280974       1/12/2012       14:02:49
16241      3138281519       5/20/2012       15:22:45
16242      3138281519       5/21/2012       7:11:36
16243      3138281686       5/26/2012       14:37:30
16244      3138284434       3/6/2012        15:44:47
16245      3138284950       1/8/2012        12:56:42
16246      3138286558       12/5/2011       18:22:48
16247      3138288944       6/25/2012       13:32:34
16248      3138289481       8/16/2012       19:45:53
16249      3138440909       7/17/2012       7:07:27
16250      3138482858       10/25/2012      19:45:03
16251      3138485131       4/3/2012        15:54:37
16252      3138502716       10/5/2012       12:36:57
16253      3138541398       11/26/2011      11:29:01
16254      3138542692       4/16/2012       7:13:51
16255      3138543864       12/14/2011      14:44:59
16256      3138544048       7/21/2011       13:34:29
16257      3138544048       7/22/2011       13:21:07
16258      3138544736       1/29/2012       16:19:19
16259      3138545390       10/1/2011       10:20:29
16260      3138545402       7/13/2012       7:44:38
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16261      3138545403       6/30/2012       15:41:58
16262      3138546241       10/8/2011       11:47:19
16263      3138546241       11/29/2011      16:18:24
16264      3138784352       3/13/2012       7:10:27
16265      3138784457       12/30/2011      17:10:09
16266      3138784646       2/13/2012       18:21:51
16267      3138788818       1/13/2012       17:12:01
16268      3138797270       12/15/2011      8:31:59
16269      3138797270       1/9/2012        18:08:30
16270      3138797530       10/14/2011      13:06:06
16271      3138797985       12/17/2011      13:48:27
16272      3138798052       2/4/2012        7:23:41
16273      3138798397       2/2/2012        18:51:36
16274      3138798615       9/17/2011       10:12:03
16275      3138799613       12/9/2011       7:35:55
16276      3138799613       1/19/2012       18:34:47
16277      3138966178       10/2/2012       7:30:00
16278      3138968060       10/18/2012      16:28:48
16279      3138981515       3/3/2012        8:14:59
16280      3138985130       9/12/2012       7:48:03
16281      3138990628       8/31/2012       16:26:41
16282      3139037215       9/28/2012       16:36:10
16283      3139105112       6/25/2011       8:20:18
16284      3139106490       1/6/2012        7:13:20
16285      3139106490       4/24/2012       18:07:16
16286      3139148119       6/11/2011       8:12:39
16287      3139148186       10/27/2011      16:17:48
16288      3139148544       8/20/2012       18:43:38
16289      3139149487       6/18/2012       15:33:58
16290      3139149487       7/7/2012        10:35:23
16291      3139149738       4/5/2012        16:07:50
16292      3139149833       12/5/2011       8:17:07
16293      3139151574       5/21/2012       17:22:05
16294      3139151575       6/19/2012       7:56:50
16295      3139157255       6/9/2012        14:38:49
16296      3139157294       5/11/2011       16:47:44
16297      3139157388       11/10/2011      7:20:37
16298      3139157388       11/29/2011      7:29:24
16299      3139158383       3/19/2012       7:11:52
16300      3139158481       7/9/2012        7:15:12
16301      3139180016       3/21/2012       7:15:25
16302      3139180804       9/22/2011       8:51:11
16303      3139182041       1/4/2012        11:15:17
16304      3139185250       8/20/2012       18:49:33
16305      3139185555       12/23/2011      14:21:50
16306      3139185756       1/3/2012        16:32:13
16307      3139187167       7/26/2012       12:01:02
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16308      3139188706       12/20/2011      17:16:54
16309      3139189363       12/26/2011      9:14:36
16310      3139189654       10/15/2011      10:15:41
16311      3139189696       4/6/2012        15:47:58
16312      3139200515       10/9/2012       7:36:07
16313      3139200748       12/7/2011       13:26:31
16314      3139201311       1/31/2012       7:21:31
16315      3139204581       2/21/2012       9:46:07
16316      3139234862       12/18/2011      17:45:52
16317      3139262316       1/6/2012        14:36:28
16318      3139262561       3/16/2012       16:10:27
16319      3139262909       10/13/2011      7:18:37
16320      3139262933       6/16/2012       7:41:56
16321      3139263670       6/9/2012        10:45:27
16322      3139263998       9/8/2011        19:24:54
16323      3139267707       12/1/2011       8:14:49
16324      3139267992       2/3/2012        20:05:13
16325      3139269914       11/4/2011       7:19:17
16326      3139269955       2/2/2012        7:17:19
16327      3139312238       9/22/2012       8:48:01
16328      3139320449       9/13/2011       7:18:15
16329      3139323381       9/24/2012       12:58:48
16330      3139326408       2/21/2012       17:47:16
16331      3139326616       12/17/2011      11:25:59
16332      3139329013       7/19/2012       17:36:43
16333      3139429903       11/18/2013      7:14:49
16334      3139480023       10/14/2011      12:51:19
16335      3139480759       6/18/2012       15:34:12
16336      3139480939       1/17/2012       18:29:28
16337      3139480966       5/5/2012        8:03:54
16338      3139480966       5/21/2012       7:32:15
16339      3139481465       3/20/2012       9:22:00
16340      3139481668       1/10/2012       12:24:41
16341      3139482909       9/29/2012       9:56:47
16342      3139482909       10/15/2012      16:18:28
16343      3139488094       8/16/2012       19:52:47
16344      3139488411       10/20/2012      8:09:02
16345      3139488963       5/7/2011        14:38:43
16346      3139489470       7/12/2012       19:52:25
16347      3139489935       1/23/2012       19:11:17
16348      3139532824       10/3/2012       16:12:59
16349      3139535279       7/21/2012       10:21:53
16350      3139571562       8/24/2011       12:05:46
16351      3139571588       3/27/2012       15:34:28
16352      3139571849       2/14/2012       15:21:30
16353      3139578348       10/20/2011      15:33:50
16354      3139579335       4/18/2012       7:05:17
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16355      3139579572       4/24/2012       12:18:03
16356      3139579623       10/1/2011       10:12:03
16357      3139579973       4/13/2012       13:14:44
16358      3139702225       10/5/2012       12:34:58
16359      3139711324       3/9/2012        7:08:13
16360      3139715888       1/10/2012       12:38:29
16361      3139719415       1/24/2012       17:13:37
16362      3139740396       10/15/2011      8:58:34
16363      3139740402       10/26/2011      12:44:10
16364      3139740665       2/6/2012        7:08:44
16365      3139740860       4/29/2011       19:59:03
16366      3139740882       2/28/2012       15:58:25
16367      3139741184       3/15/2011       11:33:04
16368      3139741216       1/27/2012       19:44:17
16369      3139741433       9/26/2011       8:10:06
16370      3139744204       12/31/2011      11:58:53
16371      3139744533       9/21/2011       11:41:47
16372      3139745499       10/8/2011       11:03:10
16373      3139748377       9/24/2012       13:02:54
16374      3139748418       1/25/2012       9:18:41
16375      3139748709       9/23/2011       11:36:18
16376      3139748709       12/29/2011      14:27:03
16377      3139749161       2/28/2012       15:57:30
16378      3139770105       10/15/2012      10:00:23
16379      3139775849       6/25/2012       13:20:20
16380      3139776495       10/29/2011      10:35:17
16381      3139780118       11/5/2011       11:03:53
16382      3139781411       8/23/2012       11:34:35
16383      3139781939       10/29/2011      10:34:46
16384      3139781959       9/19/2011       19:04:25
16385      3139782829       10/3/2012       9:21:43
16386      3139782829       10/22/2012      17:55:27
16387      3139784367       2/14/2012       16:47:11
16388      3139785491       3/21/2012       13:36:55
16389      3139785835       9/29/2012       9:52:55
16390      3139785835       10/17/2012      18:36:15
16391      3139785858       3/28/2012       18:11:12
16392      3139786340       12/19/2011      7:30:26
16393      3139822716       9/16/2011       12:53:31
16394      3139822895       6/27/2012       17:50:11
16395      3139867782       8/29/2012       11:21:55
16396      3139892195       3/5/2012        7:04:14
16397      3139892350       9/15/2011       7:21:15
16398      3139893449       12/28/2011      18:27:44
16399      3139893652       11/29/2011      15:28:53
16400      3139893661       4/5/2012        14:32:59
16401      3139893897       12/3/2011       9:02:53
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16402      3139895520       10/8/2011       11:12:09
16403      3139895584       6/11/2011       9:04:48
16404      3139896661       4/1/2012        16:02:02
16405      3139896661       9/24/2012       18:49:00
16406      3139897253       6/30/2012       8:10:43
16407      3139897617       5/14/2012       15:17:58
16408      3139950381       11/25/2011      18:11:12
16409      3139957955       2/11/2012       10:37:15
16410      3139957956       12/20/2011      19:29:41
16411      3139958520       2/17/2012       18:07:06
16412      3139969374       4/12/2012       13:06:57
16413      3139992506       5/5/2011        13:09:58
16414      3139998011       11/28/2011      17:40:37
16415      3142102633       12/6/2011       13:27:30
16416      3142156106       12/2/2011       8:22:30
16417      3142160328       9/28/2012       16:44:20
16418      3142160407       8/17/2013       14:48:07
16419      3142201391       10/18/2011      13:07:17
16420      3142210374       9/13/2011       13:32:22
16421      3142217076       2/11/2012       15:33:37
16422      3142239278       11/4/2011       8:38:20
16423      3142253125       12/5/2011       11:21:31
16424      3142256646       7/18/2011       11:05:16
16425      3142265780       3/29/2012       12:26:59
16426      3142268117       10/11/2011      17:24:12
16427      3142290580       9/30/2011       10:09:05
16428      3142295132       7/20/2012       19:51:35
16429      3142295994       10/28/2011      14:20:24
16430      3142296162       9/24/2011       9:46:01
16431      3142297655       11/7/2011       9:25:33
16432      3142299427       9/16/2011       13:00:57
16433      3142395005       2/3/2012        8:32:22
16434      3142433149       3/14/2012       14:35:23
16435      3142433424       6/19/2012       15:42:38
16436      3142434034       4/1/2012        17:14:28
16437      3142434520       11/16/2011      20:05:00
16438      3142435528       9/25/2012       14:45:13
16439      3142435528       10/14/2012      15:11:48
16440      3142436883       6/16/2012       15:28:39
16441      3142437897       9/9/2011        17:53:31
16442      3142491271       6/7/2011        18:06:58
16443      3142493908       5/5/2012        8:32:51
16444      3142494985       7/23/2012       15:22:10
16445      3142495918       11/23/2011      10:28:06
16446      3142555496       1/2/2012        8:15:11
16447      3142558274       6/18/2012       9:19:30
16448      3142583823       11/3/2011       17:53:46
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16449      3142584127       9/21/2012       15:29:33
16450      3142653059       2/20/2012       16:53:56
16451      3142659616       11/2/2011       14:27:04
16452      3142764672       11/22/2011      18:49:02
16453      3142766194       9/20/2011       18:28:55
16454      3142768799       11/5/2011       11:35:28
16455      3142776046       10/4/2011       13:54:04
16456      3142837377       12/15/2011      8:11:08
16457      3142837982       10/10/2011      11:52:53
16458      3142839021       11/15/2011      20:09:47
16459      3142855901       7/20/2012       8:49:29
16460      3142884613       5/22/2012       18:29:58
16461      3142889906       3/14/2012       14:06:47
16462      3143024560       6/10/2011       8:37:11
16463      3143032208       9/21/2011       19:35:46
16464      3143035789       8/2/2012        18:56:20
16465      3143037490       5/11/2012       10:41:51
16466      3143037490       5/18/2012       15:41:02
16467      3143037498       5/8/2012        16:57:36
16468      3143037736       11/7/2011       8:22:26
16469      3143040558       6/19/2012       13:18:20
16470      3143072616       10/8/2011       11:58:26
16471      3143076901       11/3/2011       17:20:50
16472      3143076901       12/6/2011       14:37:01
16473      3143079123       10/15/2011      10:38:49
16474      3143084863       10/23/2012      19:00:28
16475      3143137271       10/14/2011      13:23:52
16476      3143139691       10/17/2011      8:12:33
16477      3143152205       5/31/2012       15:00:48
16478      3143153033       11/25/2011      17:47:48
16479      3143222332       6/7/2012        12:37:37
16480      3143226616       9/19/2011       7:11:04
16481      3143228064       12/26/2011      20:07:39
16482      3143232032       8/11/2011       12:10:09
16483      3143232913       11/26/2011      13:22:09
16484      3143239373       3/22/2012       8:04:44
16485      3143239445       3/16/2012       16:03:35
16486      3143249315       4/1/2012        17:05:08
16487      3143276379       10/27/2011      16:01:24
16488      3143276774       9/9/2011        7:22:20
16489      3143332787       9/20/2011       16:49:07
16490      3143359029       3/24/2012       10:26:49
16491      3143359787       10/15/2011      10:55:18
16492      3143370131       5/2/2012        13:26:49
16493      3143371472       9/13/2011       16:17:14
16494      3143372874       11/23/2011      14:40:16
16495      3143373904       9/23/2011       11:40:32
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16496      3143373904       10/12/2011      8:05:37
16497      3143381649       1/7/2012        9:54:01
16498      3143381767       9/21/2012       16:08:30
16499      3143412202       11/30/2011      14:56:02
16500      3143461043       10/17/2011      8:15:00
16501      3143466971       4/1/2012        16:04:44
16502      3143481418       1/18/2012       16:41:05
16503      3143486670       4/19/2012       20:09:59
16504      3143487929       12/17/2011      12:09:29
16505      3143487929       1/6/2012        14:52:40
16506      3143592124       10/29/2011      10:49:44
16507      3143592715       1/10/2012       15:34:44
16508      3143593047       3/5/2012        8:08:26
16509      3143594877       11/11/2011      20:06:13
16510      3143595852       11/30/2011      14:58:23
16511      3143635541       12/23/2011      14:35:35
16512      3143635718       1/14/2012       8:23:21
16513      3143636276       5/11/2012       14:41:39
16514      3143638313       8/11/2011       9:37:00
16515      3143638846       5/10/2012       14:50:04
16516      3143638949       4/28/2012       8:29:06
16517      3143639309       12/3/2011       10:25:14
16518      3143681631       10/14/2011      12:52:47
16519      3143683219       12/7/2011       14:18:20
16520      3143693274       12/17/2011      11:33:54
16521      3143694600       3/10/2012       8:53:25
16522      3143698503       1/16/2012       17:33:41
16523      3143699047       10/6/2011       17:52:27
16524      3143740991       1/13/2012       17:16:39
16525      3143741576       11/11/2011      20:20:26
16526      3143746882       2/24/2011       11:47:20
16527      3143873828       9/13/2011       16:30:12
16528      3143877346       10/6/2012       8:51:20
16529      3143972655       10/6/2012       8:34:53
16530      3143973693       5/12/2012       10:41:35
16531      3143974423       7/6/2012        16:53:50
16532      3143976093       9/1/2012        8:50:45
16533      3143980907       10/19/2011      12:09:40
16534      3143982479       9/19/2011       8:07:15
16535      3143982479       9/30/2011       10:20:34
16536      3143983079       1/3/2012        11:06:10
16537      3143984485       8/13/2012       20:51:28
16538      3143985993       9/1/2012        9:26:21
16539      3143986153       9/13/2011       18:04:50
16540      3143987758       6/20/2011       14:17:09
16541      3144014640       10/12/2011      8:05:58
16542      3144018171       6/14/2012       20:47:44
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16543      3144027304       9/17/2011       9:36:03
16544      3144029243       8/2/2012        18:50:37
16545      3144062658       9/23/2011       19:02:32
16546      3144063782       10/10/2011      12:42:50
16547      3144097168       10/18/2011      12:23:41
16548      3144122397       11/9/2011       8:28:47
16549      3144132447       5/4/2012        15:20:45
16550      3144138637       6/19/2012       15:40:05
16551      3144203118       7/28/2011       10:18:01
16552      3144205615       3/13/2012       12:42:31
16553      3144220275       6/16/2012       15:17:13
16554      3144229978       10/20/2012      8:18:37
16555      3144351110       6/15/2012       16:44:30
16556      3144355946       11/29/2011      15:11:06
16557      3144356730       10/8/2012       20:01:01
16558      3144358840       6/21/2011       14:05:41
16559      3144373008       8/3/2012        16:30:52
16560      3144376779       10/3/2011       8:19:31
16561      3144378712       10/28/2011      13:34:45
16562      3144378712       11/14/2011      17:06:18
16563      3144379476       9/19/2011       19:31:08
16564      3144379692       8/9/2012        14:11:44
16565      3144379692       8/22/2012       11:13:24
16566      3144387896       10/9/2012       11:37:54
16567      3144402006       10/14/2011      12:59:03
16568      3144408087       5/4/2012        18:21:39
16569      3144409361       9/14/2011       11:59:31
16570      3144435001       9/13/2012       15:21:52
16571      3144435474       9/13/2011       13:37:49
16572      3144458721       4/12/2012       18:25:40
16573      3144459076       12/20/2011      19:35:39
16574      3144485161       10/11/2011      16:20:16
16575      3144485256       11/5/2011       11:31:17
16576      3144486933       10/15/2012      16:12:29
16577      3144487429       1/27/2012       12:00:39
16578      3144488121       9/26/2011       9:30:03
16579      3144528454       9/8/2011        19:50:32
16580      3144528916       11/19/2011      8:30:44
16581      3144563550       1/12/2012       8:18:34
16582      3144564964       3/31/2012       8:05:53
16583      3144568884       9/22/2011       15:18:31
16584      3144585586       7/16/2012       19:33:58
16585      3144711581       12/28/2011      8:38:04
16586      3144716431       5/31/2012       15:00:38
16587      3144773397       10/22/2011      13:14:04
16588      3144774194       4/9/2012        13:45:31
16589      3144778117       9/13/2011       14:11:24
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16590      3144778912       9/26/2011       9:31:50
16591      3144798526       3/15/2012       13:49:09
16592      3144799641       5/22/2012       18:39:47
16593      3144821822       5/17/2012       11:43:23
16594      3144822644       11/22/2011      19:34:26
16595      3144825300       6/19/2012       13:18:01
16596      3144829190       11/16/2011      8:29:50
16597      3144844342       11/17/2011      15:32:11
16598      3144848755       9/20/2011       16:48:35
16599      3144881150       10/20/2011      16:32:16
16600      3144886282       1/6/2012        14:53:18
16601      3144890219       10/26/2011      13:11:01
16602      3144890648       5/7/2012        8:17:04
16603      3144890648       5/21/2012       8:19:07
16604      3144890799       10/7/2011       8:16:48
16605      3144892908       11/23/2011      10:28:09
16606      3144895415       5/20/2012       15:45:50
16607      3144895415       5/21/2012       17:49:42
16608      3144896729       6/9/2012        10:35:10
16609      3144943712       7/24/2012       20:31:41
16610      3144945568       11/28/2011      12:12:17
16611      3144949525       9/26/2011       9:37:51
16612      3144955490       7/23/2012       15:30:54
16613      3144956347       3/21/2012       8:03:19
16614      3144957603       12/21/2011      19:59:54
16615      3144986981       10/12/2011      8:09:41
16616      3145031754       10/6/2011       16:34:24
16617      3145032789       12/28/2011      8:43:41
16618      3145032789       1/6/2012        14:39:45
16619      3145033068       7/11/2012       9:38:03
16620      3145033305       11/16/2011      19:54:07
16621      3145034588       1/9/2012        18:41:30
16622      3145036138       11/11/2011      20:07:33
16623      3145048766       10/14/2011      13:22:41
16624      3145171776       1/13/2012       17:41:47
16625      3145183853       10/3/2012       19:52:33
16626      3145201998       9/25/2012       14:45:01
16627      3145202397       10/1/2012       8:15:29
16628      3145323005       5/10/2012       14:49:31
16629      3145323005       6/5/2012        17:58:01
16630      3145323166       11/17/2011      16:25:43
16631      3145325332       10/3/2012       19:56:24
16632      3145329464       11/28/2011      16:30:47
16633      3145329882       12/20/2011      19:25:46
16634      3145329882       2/3/2012        20:10:34
16635      3145362480       8/24/2012       11:04:29
16636      3145362480       8/25/2012       8:35:13
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16637      3145362683       7/12/2012       15:51:44
16638      3145363676       9/13/2011       13:31:08
16639      3145372955       9/20/2012       8:48:19
16640      3145376371       11/3/2011       17:58:30
16641      3145376371       12/1/2011       8:22:13
16642      3145376371       3/29/2012       12:31:57
16643      3145407659       10/17/2011      8:13:52
16644      3145409101       11/11/2011      20:18:41
16645      3145415717       7/3/2012        19:32:34
16646      3145461765       11/27/2011      15:32:18
16647      3145462192       1/27/2012       11:51:57
16648      3145462613       9/26/2012       14:34:06
16649      3145462725       1/8/2012        13:20:24
16650      3145463217       9/20/2011       18:31:23
16651      3145463395       3/27/2012       15:05:50
16652      3145465424       11/5/2011       10:04:50
16653      3145469759       5/26/2011       17:52:09
16654      3145469927       4/11/2012       11:34:19
16655      3145509490       6/14/2012       20:47:48
16656      3145560826       4/12/2012       13:14:28
16657      3145569436       7/21/2012       10:49:15
16658      3145606975       4/20/2012       20:48:52
16659      3145620933       5/2/2012        13:14:28
16660      3145657351       2/8/2012        12:58:21
16661      3145660239       10/25/2012      19:49:43
16662      3145663064       10/21/2011      16:01:41
16663      3145665544       7/18/2012       20:48:08
16664      3145702690       1/23/2012       19:15:54
16665      3145707397       7/9/2012        19:00:33
16666      3145745980       1/19/2012       8:06:24
16667      3145783655       11/2/2011       20:19:46
16668      3145786570       8/15/2011       8:50:37
16669      3145789762       12/19/2011      8:19:12
16670      3145789982       4/4/2012        18:53:22
16671      3145809509       11/18/2011      13:24:31
16672      3145819306       12/23/2011      15:09:26
16673      3145830345       5/14/2012       15:22:20
16674      3145831594       8/13/2012       20:53:02
16675      3145832615       9/13/2011       13:52:26
16676      3145833583       3/10/2011       17:47:55
16677      3145834292       5/14/2011       12:06:50
16678      3145834706       11/16/2011      20:07:09
16679      3145839951       4/1/2012        17:14:18
16680      3145840110       1/25/2012       20:36:58
16681      3145876096       11/23/2011      10:28:24
16682      3145987807       8/3/2012        12:42:19
16683      3145988346       10/17/2012      18:36:27
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16684      3145990052       12/9/2011       8:04:19
16685      3145990881       10/1/2011       10:41:54
16686      3145991657       9/19/2011       8:24:23
16687      3145992168       5/4/2012        18:14:01
16688      3145992772       11/23/2011      15:03:26
16689      3145992962       3/7/2012        18:31:43
16690      3145995945       7/2/2012        15:32:25
16691      3145995945       10/25/2012      12:40:52
16692      3145997920       10/5/2011       14:39:12
16693      3145999273       6/15/2012       16:38:26
16694      3145999689       2/25/2012       10:42:26
16695      3145999929       11/11/2011      14:36:08
16696      3146000659       11/29/2011      16:20:18
16697      3146004993       2/6/2012        10:13:14
16698      3146004993       2/11/2012       15:11:38
16699      3146005533       11/12/2011      10:30:07
16700      3146006779       12/29/2011      19:06:16
16701      3146027946       12/21/2011      19:54:14
16702      3146033488       9/23/2011       18:45:55
16703      3146045560       9/14/2011       9:44:48
16704      3146059709       1/11/2012       8:49:39
16705      3146059709       8/4/2012        8:05:01
16706      3146061671       8/16/2012       9:31:00
16707      3146062123       3/12/2012       16:52:45
16708      3146062412       3/2/2012        9:25:07
16709      3146067398       9/12/2011       14:12:56
16710      3146079674       10/5/2011       14:44:27
16711      3146079674       11/11/2011      20:06:28
16712      3146082610       9/13/2011       13:34:38
16713      3146084945       3/9/2012        9:15:25
16714      3146084945       3/27/2012       14:55:24
16715      3146086690       5/5/2012        8:11:27
16716      3146093326       1/10/2012       15:17:34
16717      3146097824       5/22/2012       18:22:10
16718      3146167981       10/22/2011      13:16:25
16719      3146230757       5/5/2012        8:35:08
16720      3146232450       9/21/2011       11:54:44
16721      3146237274       7/14/2012       8:12:25
16722      3146251920       5/1/2012        17:43:04
16723      3146255333       8/8/2012        8:20:19
16724      3146290416       10/25/2011      15:30:32
16725      3146291575       6/16/2012       15:07:00
16726      3146291575       7/6/2012        16:57:19
16727      3146292195       4/5/2012        13:58:30
16728      3146292632       12/20/2011      12:01:59
16729      3146292729       11/25/2011      17:41:51
16730      3146293355       10/4/2011       13:54:24
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16731      3146295319       2/10/2012       20:38:54
16732      3146296096       9/7/2012        15:53:04
16733      3146296096       9/25/2012       14:56:11
16734      3146296138       2/14/2012       16:49:23
16735      3146299128       4/7/2012        9:10:42
16736      3146299491       3/19/2012       19:22:20
16737      3146303694       5/6/2011        15:51:14
16738      3146309620       9/10/2011       9:06:34
16739      3146448406       9/24/2011       9:49:23
16740      3146508484       6/30/2011       9:07:52
16741      3146510036       12/6/2011       13:30:14
16742      3146513011       9/19/2011       8:05:57
16743      3146558515       5/16/2012       9:24:24
16744      3146576435       12/22/2011      9:40:02
16745      3146578686       3/6/2012        20:33:41
16746      3146597158       11/23/2011      10:30:18
16747      3146601819       11/14/2011      17:11:52
16748      3146601819       12/6/2011       14:33:46
16749      3146623003       7/13/2012       13:59:18
16750      3146626331       9/21/2012       15:57:02
16751      3146626976       10/5/2011       14:16:18
16752      3146678080       11/1/2011       8:52:31
16753      3146770515       3/22/2012       8:06:50
16754      3146777131       10/1/2012       13:47:17
16755      3146778132       12/23/2011      14:17:12
16756      3146804977       8/6/2012        16:21:27
16757      3146808104       7/26/2011       9:48:45
16758      3146854021       3/12/2012       11:20:08
16759      3146856541       11/17/2011      15:41:12
16760      3147036473       1/25/2012       20:29:18
16761      3147046560       7/23/2012       15:33:38
16762      3147072107       3/27/2012       15:51:54
16763      3147075914       7/24/2012       20:33:05
16764      3147076766       9/20/2012       8:44:01
16765      3147077554       9/21/2011       19:35:29
16766      3147077818       8/23/2012       11:53:27
16767      3147197255       10/20/2011      16:27:10
16768      3147232242       10/16/2012      20:26:09
16769      3147237539       10/10/2012      19:06:52
16770      3147247045       9/14/2011       10:09:04
16771      3147329007       10/12/2011      8:15:27
16772      3147370572       5/7/2012        8:16:16
16773      3147409220       4/6/2012        15:42:11
16774      3147441466       3/10/2012       9:00:54
16775      3147501927       10/13/2011      8:30:10
16776      3147537819       8/3/2011        12:28:15
16777      3147570557       1/11/2012       8:50:59
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16778      3147571622       11/14/2011      14:36:41
16779      3147572717       12/9/2011       8:06:54
16780      3147572717       6/9/2012        10:35:49
16781      3147574696       8/30/2012       9:44:40
16782      3147575066       8/30/2012       9:45:31
16783      3147575090       9/4/2012        15:44:11
16784      3147575263       10/18/2012      8:11:44
16785      3147660279       10/5/2011       14:14:51
16786      3147662811       10/1/2011       10:42:50
16787      3147693114       1/13/2012       8:07:33
16788      3147694177       10/5/2011       14:44:11
16789      3147757707       12/7/2011       13:33:37
16790      3147797649       6/19/2012       15:43:43
16791      3147910350       12/9/2011       15:35:25
16792      3147911655       11/16/2011      8:20:27
16793      3147912908       11/26/2011      11:57:38
16794      3147928284       9/3/2012        14:32:52
16795      3147957078       10/25/2011      15:38:38
16796      3147990420       12/9/2011       8:16:12
16797      3147990729       11/12/2011      10:25:25
16798      3148006756       3/16/2012       11:12:28
16799      3148007377       9/21/2011       11:35:40
16800      3148009786       11/4/2011       8:38:16
16801      3148030982       8/7/2012        20:04:07
16802      3148036417       5/28/2012       8:02:53
16803      3148080617       6/14/2012       20:46:49
16804      3148081624       9/28/2011       10:27:36
16805      3148082770       3/8/2012        9:21:42
16806      3148083081       12/21/2011      19:54:44
16807      3148083782       3/15/2012       19:09:29
16808      3148092073       4/25/2011       13:49:39
16809      3148098965       7/18/2012       8:31:03
16810      3148140912       2/16/2012       8:27:16
16811      3148141166       7/25/2012       20:38:43
16812      3148193055       5/5/2011        13:18:03
16813      3148246205       3/24/2012       10:04:52
16814      3148251082       8/24/2013       12:50:39
16815      3148257197       12/6/2011       13:04:57
16816      3148277004       1/6/2012        14:51:12
16817      3148522299       9/17/2012       8:32:34
16818      3148533069       11/21/2011      8:29:38
16819      3148534775       9/6/2012        12:24:08
16820      3148696369       4/14/2012       9:26:07
16821      3148742035       4/26/2012       17:30:57
16822      3148746059       12/19/2011      8:17:06
16823      3148746059       6/1/2012        9:02:14
16824      3148823078       3/5/2012        8:16:09
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16825      3148823154       12/18/2011      16:51:05
16826      3148823181       11/11/2011      13:45:54
16827      3148825318       11/15/2011      15:45:38
16828      3149100323       6/5/2012        17:57:45
16829      3149206743       11/29/2011      15:38:20
16830      3149208539       10/20/2011      15:34:39
16831      3149222444       1/11/2012       8:48:24
16832      3149411111       5/4/2012        18:19:17
16833      3149522969       7/26/2011       10:37:16
16834      3149540122       1/6/2012        12:46:46
16835      3149542576       1/19/2012       18:31:10
16836      3149545649       6/27/2011       8:07:52
16837      3149560625       3/21/2011       10:27:04
16838      3149603913       12/15/2011      8:36:58
16839      3149609119       12/7/2011       15:19:13
16840      3149732688       12/12/2011      16:38:09
16841      3149733085       10/21/2011      13:29:22
16842      3149733111       3/29/2012       17:20:26
16843      3149734302       11/30/2011      15:41:20
16844      3149734488       7/6/2012        16:52:38
16845      3149735666       3/2/2012        9:40:08
16846      3149859660       11/29/2011      15:36:04
16847      3149859806       11/14/2011      17:25:03
16848      3152093065       10/11/2011      16:47:25
16849      3152122864       9/2/2013        16:09:24
16850      3152125045       5/5/2012        12:32:05
16851      3152129654       9/19/2011       19:24:16
16852      3152143277       9/6/2012        12:27:49
16853      3152190582       9/19/2011       7:02:05
16854      3152199076       9/20/2011       16:34:48
16855      3152224724       7/18/2012       18:28:47
16856      3152243878       7/13/2012       7:36:46
16857      3152243878       9/28/2012       17:04:03
16858      3152257475       7/25/2012       12:12:57
16859      3152378280       8/18/2012       8:45:43
16860      3152404528       1/5/2012        12:09:47
16861      3152433766       3/7/2012        18:47:34
16862      3152436200       5/25/2011       16:58:20
16863      3152449682       9/8/2011        17:40:31
16864      3152460205       1/5/2012        12:09:58
16865      3152460205       1/11/2012       7:32:44
16866      3152467929       12/1/2011       14:48:52
16867      3152468185       7/3/2012        7:09:40
16868      3152474925       1/10/2012       17:37:09
16869      3152477372       12/12/2011      16:31:34
16870      3152479326       4/26/2012       13:42:34
16871      3152525740       1/14/2012       8:02:16
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16872      3152613297       9/14/2012       7:08:03
16873      3152626424       10/10/2012      12:41:02
16874      3152645978       11/20/2011      11:04:07
16875      3152692371       9/7/2011        14:21:40
16876      3152769025       11/15/2011      15:02:19
16877      3152769025       11/22/2011      19:05:58
16878      3152784414       3/2/2012        7:01:48
16879      3152788397       5/25/2012       16:58:57
16880      3152815313       5/21/2012       7:33:51
16881      3152830377       10/5/2011       13:57:56
16882      3152833463       7/9/2011        8:42:52
16883      3152834497       5/10/2012       15:01:14
16884      3152838895       5/11/2012       12:08:55
16885      3152972041       8/29/2011       7:23:33
16886      3153133095       4/10/2012       11:45:52
16887      3153172030       2/4/2012        8:17:17
16888      3153230851       1/16/2012       7:11:36
16889      3153350138       7/22/2012       15:59:30
16890      3153355161       10/10/2011      12:09:50
16891      3153356408       4/26/2011       19:58:35
16892      3153597459       6/9/2012        10:23:33
16893      3153603854       10/7/2011       7:14:34
16894      3153603854       5/21/2012       7:16:49
16895      3153746871       12/19/2011      7:20:43
16896      3153831858       10/8/2011       10:30:39
16897      3153832426       9/12/2011       12:55:40
16898      3153952619       1/19/2012       7:07:49
16899      3153955400       10/10/2011      11:45:31
16900      3153956483       2/20/2012       7:02:54
16901      3153959028       12/6/2011       14:02:55
16902      3153968549       11/7/2011       7:44:37
16903      3154034062       5/7/2012        17:54:58
16904      3154046073       3/21/2012       13:36:32
16905      3154063372       5/16/2012       16:53:14
16906      3154084797       9/27/2011       18:59:09
16907      3154087375       9/14/2011       16:07:53
16908      3154088105       10/5/2011       13:58:40
16909      3154125031       11/17/2011      15:28:50
16910      3154125031       5/21/2012       7:02:22
16911      3154127961       1/18/2012       9:57:24
16912      3154166801       9/10/2012       7:37:14
16913      3154204481       10/1/2011       10:12:48
16914      3154293045       10/10/2012      12:39:29
16915      3154366935       2/7/2012        17:09:58
16916      3154397058       6/19/2012       15:47:22
16917      3154403351       6/7/2012        18:26:29
16918      3154405737       9/15/2011       7:33:16
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16919      3154407514       11/14/2011      14:34:39
16920      3154810887       1/11/2012       16:33:33
16921      3154811659       2/2/2012        7:12:13
16922      3154812621       12/14/2011      17:57:15
16923      3154814086       5/5/2012        12:31:43
16924      3154892028       4/5/2012        14:30:37
16925      3154892805       11/4/2011       7:08:24
16926      3154893647       10/29/2011      9:59:55
16927      3154896019       3/15/2011       12:26:30
16928      3154898678       4/19/2012       20:09:04
16929      3155079068       3/7/2012        9:53:11
16930      3155079068       5/21/2012       7:25:28
16931      3155151531       7/27/2012       15:20:50
16932      3155160293       5/21/2012       7:39:46
16933      3155162739       3/7/2012        18:27:25
16934      3155205489       10/21/2011      12:58:51
16935      3155210030       9/30/2011       10:11:57
16936      3155212055       9/4/2012        16:14:05
16937      3155212484       8/3/2011        11:30:20
16938      3155252622       11/19/2011      8:01:52
16939      3155259270       6/12/2012       17:10:15
16940      3155274725       12/1/2011       14:48:58
16941      3155280611       12/23/2011      7:02:04
16942      3155288201       11/16/2011      11:12:31
16943      3155289830       7/20/2011       14:27:59
16944      3155321529       12/29/2011      18:48:57
16945      3155323334       10/6/2011       17:13:52
16946      3155348121       2/11/2012       15:21:24
16947      3155420639       9/17/2012       7:35:52
16948      3155421239       6/27/2012       12:01:08
16949      3155424791       5/4/2012        14:16:03
16950      3155425237       5/21/2012       7:34:32
16951      3155425237       5/21/2012       8:36:09
16952      3155426681       11/17/2011      15:01:27
16953      3155428585       2/14/2012       9:52:04
16954      3155527704       11/14/2011      16:50:09
16955      3155584168       11/5/2011       9:12:30
16956      3155591496       11/25/2011      18:04:41
16957      3155602629       5/3/2012        7:01:07
16958      3155611816       9/29/2012       9:42:04
16959      3155613218       4/4/2012        18:42:47
16960      3155720839       11/12/2011      9:06:18
16961      3155726000       10/4/2011       13:06:07
16962      3155736959       12/20/2011      19:28:45
16963      3155753344       4/17/2012       9:19:58
16964      3155766461       9/21/2011       19:32:36
16965      3155766842       9/8/2011        17:43:50
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16966      3155862648       10/17/2011      7:29:00
16967      3156011376       2/22/2012       7:07:53
16968      3156015240       1/12/2012       14:11:09
16969      3156202535       11/23/2011      9:08:44
16970      3156516142       12/7/2011       15:02:08
16971      3156516602       5/16/2012       7:11:12
16972      3156516602       5/31/2012       7:06:05
16973      3156571460       12/22/2011      8:26:02
16974      3156637425       1/13/2012       10:44:38
16975      3156638035       8/25/2012       11:02:56
16976      3156645923       3/2/2012        7:01:53
16977      3156649000       5/7/2011        14:46:17
16978      3156791831       5/4/2012        14:15:56
16979      3156813158       6/4/2012        21:06:31
16980      3156990142       5/11/2011       16:54:16
16981      3157058546       5/19/2012       9:43:54
16982      3157083496       10/22/2012      18:08:41
16983      3157084015       12/7/2011       14:34:13
16984      3157099691       1/18/2012       10:01:16
16985      3157172328       1/10/2012       17:37:55
16986      3157172505       6/18/2012       15:16:45
16987      3157174091       4/21/2011       9:13:45
16988      3157174091       11/14/2011      15:48:20
16989      3157191449       10/2/2012       7:39:08
16990      3157196608       11/22/2011      19:05:04
16991      3157197679       11/7/2011       7:51:50
16992      3157276717       11/30/2011      7:01:35
16993      3157308123       7/21/2011       7:46:58
16994      3157500284       3/22/2012       14:08:54
16995      3157509030       10/1/2011       10:12:37
16996      3157515195       3/14/2012       19:40:48
16997      3157593627       1/10/2012       15:24:35
16998      3157593741       12/18/2011      16:09:59
16999      3157659718       11/16/2011      8:00:44
17000      3157834833       8/14/2012       8:26:08
17001      3157941056       12/28/2011      8:48:01
17002      3158044655       1/25/2012       9:32:17
17003      3158131859       10/3/2012       19:45:55
17004      3158134324       10/29/2011      9:58:59
17005      3158422358       12/2/2011       15:03:05
17006      3158541386       10/10/2012      19:09:31
17007      3158542406       7/7/2012        10:52:26
17008      3158544987       9/22/2011       15:06:40
17009      3158566284       2/10/2012       10:37:47
17010      3158576038       8/17/2011       18:59:48
17011      3158630839       11/10/2011      7:02:00
17012      3158632333       5/17/2012       7:14:46
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17013      3158635361       12/2/2011       7:35:27
17014      3158636906       10/11/2011      16:46:56
17015      3158638303       12/6/2011       7:28:20
17016      3158638740       11/3/2011       17:34:40
17017      3158681951       12/7/2011       14:46:18
17018      3158682997       3/15/2012       19:01:15
17019      3158716481       11/15/2011      15:02:37
17020      3158719109       3/7/2012        9:48:54
17021      3158719932       10/13/2012      8:59:45
17022      3158762706       12/3/2011       10:00:10
17023      3158763284       3/27/2012       14:58:26
17024      3158764262       3/20/2012       8:56:07
17025      3158767792       12/3/2011       9:10:49
17026      3158768263       9/12/2011       13:42:27
17027      3158770180       7/9/2012        7:08:20
17028      3158836940       4/20/2012       13:58:22
17029      3158836940       6/18/2012       15:06:48
17030      3158852121       7/2/2012        14:55:08
17031      3158861087       3/15/2012       19:23:01
17032      3159212676       3/7/2012        18:36:12
17033      3159399913       7/30/2012       13:23:20
17034      3159412836       4/30/2012       14:41:13
17035      3159417873       5/29/2012       14:27:49
17036      3159529990       10/10/2012      12:41:02
17037      3159554975       11/28/2011      18:09:13
17038      3162048946       11/10/2011      8:13:51
17039      3162083792       9/8/2011        19:54:55
17040      3162083862       5/10/2011       19:25:51
17041      3162092078       9/15/2012       8:23:01
17042      3162098127       4/24/2014       8:03:37
17043      3162103478       8/14/2012       11:50:57
17044      3162132215       10/8/2011       11:56:42
17045      3162136050       6/28/2012       14:15:38
17046      3162143135       12/10/2011      12:19:02
17047      3162151453       4/23/2012       20:42:17
17048      3162174892       10/15/2011      10:39:10
17049      3162175998       8/30/2012       17:44:09
17050      3162398522       9/24/2012       13:12:37
17051      3162507241       4/4/2011        14:49:58
17052      3162535807       6/8/2012        16:57:13
17053      3162538429       9/21/2011       11:36:25
17054      3162538742       6/1/2012        9:02:04
17055      3162584226       10/6/2011       17:45:30
17056      3162584814       1/27/2012       17:46:32
17057      3162589116       3/2/2012        18:53:40
17058      3162855202       11/8/2011       14:27:11
17059      3162936018       1/13/2012       17:17:02
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17060      3162950782       2/28/2012       16:04:07
17061      3162950995       10/10/2011      11:53:40
17062      3162957202       8/5/2012        16:52:22
17063      3162991609       7/2/2012        17:23:21
17064      3162991958       10/25/2011      15:31:09
17065      3163001755       9/14/2011       9:37:47
17066      3163006495       11/22/2011      18:44:21
17067      3163032825       9/8/2011        18:57:42
17068      3163032904       9/5/2012        15:30:06
17069      3163034365       9/20/2011       20:33:42
17070      3163047272       1/12/2012       14:08:41
17071      3163050616       3/10/2012       8:50:53
17072      3163051808       10/12/2011      12:02:54
17073      3163056961       10/27/2011      16:50:44
17074      3163056961       4/29/2012       17:28:38
17075      3163058280       3/15/2012       19:07:29
17076      3163080056       10/19/2011      12:14:01
17077      3163086928       9/23/2011       11:15:56
17078      3163120761       2/11/2012       11:16:55
17079      3163121070       3/23/2012       14:44:56
17080      3163125650       1/25/2012       9:18:43
17081      3163126679       10/16/2012      20:32:43
17082      3163127891       2/21/2012       9:44:49
17083      3163127948       5/2/2012        13:16:26
17084      3163230561       8/2/2012        11:38:28
17085      3163504064       9/13/2011       17:50:55
17086      3163505228       10/5/2011       14:39:14
17087      3163505288       9/12/2012       15:00:57
17088      3163505588       10/14/2011      12:54:29
17089      3163511492       10/20/2011      16:26:48
17090      3163513083       9/22/2011       15:25:33
17091      3163713966       10/19/2011      12:09:42
17092      3163716211       3/26/2012       18:26:23
17093      3163717907       3/16/2012       16:01:35
17094      3163900236       10/5/2012       12:27:32
17095      3163901386       10/1/2011       9:55:22
17096      3163902253       11/23/2011      10:32:41
17097      3163902996       5/27/2011       13:31:02
17098      3163904208       8/13/2012       8:37:08
17099      3163904884       4/6/2012        15:54:28
17100      3163906710       1/23/2012       19:17:44
17101      3163908203       12/29/2011      14:17:06
17102      3163931244       6/8/2012        8:09:31
17103      3163938446       7/11/2012       9:32:50
17104      3163938446       7/24/2012       20:32:55
17105      3164090281       1/31/2012       10:06:59
17106      3164091012       5/2/2012        13:27:25
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17107      3164091994       12/10/2011      12:22:32
17108      3164092044       10/23/2012      18:50:11
17109      3164092660       2/20/2012       16:52:44
17110      3164094664       11/10/2011      8:13:03
17111      3164095249       10/4/2011       13:45:34
17112      3164095351       12/7/2011       13:37:21
17113      3164097037       3/14/2012       14:40:23
17114      3164097629       9/30/2011       10:06:39
17115      3164099034       10/25/2011      16:25:08
17116      3164099034       11/28/2011      17:59:13
17117      3164099182       9/23/2011       11:51:19
17118      3164699587       7/24/2012       14:41:00
17119      3165163623       2/13/2012       8:15:38
17120      3165164582       12/18/2011      16:55:51
17121      3165164582       1/17/2012       18:45:41
17122      3165180709       4/23/2011       10:25:16
17123      3165181474       9/20/2011       20:47:39
17124      3165182410       9/13/2011       17:49:12
17125      3165183846       11/30/2011      15:01:20
17126      3165188094       10/8/2011       10:35:53
17127      3165191281       9/20/2012       20:59:12
17128      3165193901       12/10/2011      12:26:56
17129      3165195333       8/12/2011       10:38:04
17130      3165196531       5/14/2012       15:21:05
17131      3165196531       5/21/2012       8:19:23
17132      3165197921       7/26/2012       19:21:33
17133      3165197921       8/20/2012       18:45:43
17134      3165580849       10/10/2012      19:12:51
17135      3165593170       3/19/2012       19:19:49
17136      3165738157       9/22/2011       16:08:22
17137      3165738761       3/13/2012       18:32:54
17138      3166131422       1/6/2012        12:56:06
17139      3166131858       7/20/2011       14:55:04
17140      3166131858       10/6/2011       17:46:00
17141      3166165145       4/11/2012       13:17:50
17142      3166165787       11/14/2011      17:07:42
17143      3166179453       10/17/2011      8:06:49
17144      3166179453       12/14/2011      15:04:14
17145      3166191991       10/10/2012      12:44:08
17146      3166405226       1/16/2012       17:31:32
17147      3166412796       1/19/2012       18:39:23
17148      3166414368       1/17/2012       18:45:29
17149      3166414368       2/2/2012        16:39:13
17150      3166416113       4/12/2012       13:15:43
17151      3166441579       9/30/2011       10:06:04
17152      3166480758       6/23/2012       10:40:53
17153      3166488721       5/21/2011       10:51:43
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17154      3166517240       10/11/2011      17:24:25
17155      3166550708       10/4/2011       13:22:50
17156      3166702811       3/2/2014        15:35:44
17157      3166704167       11/23/2011      9:52:42
17158      3166837661       10/8/2011       9:52:29
17159      3167066782       11/7/2013       10:56:18
17160      3167089990       8/31/2011       11:00:13
17161      3167276937       10/10/2011      11:55:11
17162      3167348787       2/7/2012        20:19:55
17163      3167348787       2/21/2012       9:49:11
17164      3167373251       9/14/2011       19:37:45
17165      3167375269       11/23/2011      14:38:34
17166      3167610662       11/26/2011      11:51:31
17167      3167610662       2/14/2012       16:42:39
17168      3167611778       11/26/2011      13:23:33
17169      3167611778       5/6/2012        18:11:19
17170      3167652175       12/14/2011      12:54:22
17171      3167655363       2/9/2012        20:35:27
17172      3167680039       1/18/2012       20:20:24
17173      3167689907       4/19/2012       14:30:32
17174      3167893811       2/21/2012       11:16:36
17175      3168040045       1/25/2012       20:32:54
17176      3168049167       1/12/2012       14:17:39
17177      3168060514       9/28/2011       11:18:04
17178      3168061441       4/26/2012       11:40:47
17179      3168061556       10/31/2011      9:14:00
17180      3168064828       1/6/2012        14:57:09
17181      3168067215       10/21/2011      12:45:37
17182      3168068329       5/5/2011        13:19:55
17183      3168068494       3/27/2012       14:55:00
17184      3168071696       10/26/2011      12:14:33
17185      3168072238       12/21/2011      10:00:14
17186      3168072238       1/13/2012       17:17:01
17187      3168072916       11/20/2011      11:11:50
17188      3168073747       9/8/2011        19:47:49
17189      3168074041       8/6/2012        16:25:49
17190      3168075931       9/22/2011       16:07:13
17191      3168078298       9/26/2012       14:41:09
17192      3168330128       9/3/2012        14:56:26
17193      3168412420       11/3/2011       17:50:30
17194      3168416513       5/11/2011       16:56:06
17195      3168471275       2/10/2012       9:25:25
17196      3168711593       8/23/2011       19:16:09
17197      3168713823       5/5/2012        8:38:36
17198      3168716657       12/17/2011      12:02:35
17199      3168716657       5/21/2012       8:01:26
17200      3168717020       10/25/2011      16:51:44
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17201      3168718061       12/8/2011       19:48:41
17202      3168718758       7/13/2012       17:13:27
17203      3168719560       3/12/2012       19:29:25
17204      3168801981       9/30/2011       12:30:02
17205      3168802179       10/10/2011      12:47:54
17206      3168802674       4/23/2012       20:50:20
17207      3168803186       9/24/2012       13:10:07
17208      3168805525       9/20/2011       18:16:55
17209      3169901642       9/21/2011       11:54:13
17210      3169903287       10/5/2012       12:21:27
17211      3169903532       12/6/2011       13:42:31
17212      3169905073       7/28/2012       8:46:50
17213      3169905231       4/25/2011       14:35:41
17214      3169920885       2/13/2012       18:46:32
17215      3169930813       9/10/2012       10:24:16
17216      3169934832       1/10/2012       15:33:24
17217      3169934832       2/2/2012        16:38:37
17218      3169936957       3/22/2012       8:10:00
17219      3169937054       2/20/2012       8:53:09
17220      3172259034       6/21/2012       18:45:59
17221      3172508416       6/16/2012       15:13:31
17222      3173195980       4/21/2011       12:40:21
17223      3173641670       9/14/2013       15:35:23
17224      3173664010       1/3/2012        16:27:48
17225      3174022957       9/29/2011       15:25:45
17226      3174320664       10/10/2011      12:49:39
17227      3174350049       7/3/2012        19:30:06
17228      3174406686       12/21/2011      10:21:34
17229      3174411217       10/12/2011      8:38:57
17230      3174411217       10/15/2011      9:29:27
17231      3174504358       9/10/2011       12:34:07
17232      3174539751       2/3/2012        7:15:07
17233      3174606813       8/31/2012       16:40:03
17234      3174963884       2/7/2012        7:16:15
17235      3175137285       2/9/2012        7:14:10
17236      3175172549       10/17/2012      9:31:37
17237      3175192084       12/27/2011      14:26:28
17238      3176078914       9/22/2011       15:21:52
17239      3176079446       8/6/2012        16:29:42
17240      3176540109       2/9/2012        20:47:49
17241      3176567389       7/27/2012       15:25:44
17242      3176579096       5/23/2012       14:50:04
17243      3176586343       7/26/2012       19:26:51
17244      3176675197       3/16/2012       11:07:29
17245      3176916924       5/9/2012        8:28:09
17246      3176970683       12/6/2011       14:28:25
17247      3177286055       6/28/2012       14:25:59
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17248      3177508554       9/20/2011       16:33:23
17249      3177965534       7/5/2012        15:42:45
17250      3178402355       10/15/2011      11:16:37
17251      3178503290       11/23/2011      15:03:18
17252      3178711761       12/9/2011       15:08:11
17253      3179084496       9/16/2011       13:31:55
17254      3182196358       6/11/2012       18:02:23
17255      3182206294       1/13/2012       8:04:37
17256      3182305798       4/11/2012       11:14:12
17257      3182306411       6/16/2012       15:14:39
17258      3182350220       10/20/2011      15:27:43
17259      3182454458       10/19/2011      8:06:27
17260      3182543848       1/14/2012       15:32:34
17261      3182726301       1/25/2012       20:36:50
17262      3182784250       3/20/2012       20:03:28
17263      3182825583       3/23/2012       14:24:20
17264      3182860604       6/20/2012       16:53:08
17265      3182865004       9/21/2011       11:54:50
17266      3182867074       8/13/2012       8:29:57
17267      3182949492       12/17/2011      12:12:23
17268      3183344488       5/20/2011       17:48:12
17269      3183413782       10/18/2011      12:19:00
17270      3183413782       12/27/2011      14:35:38
17271      3183417531       11/14/2011      17:04:54
17272      3183441420       9/9/2011        7:33:05
17273      3183447614       1/23/2012       19:17:19
17274      3183447614       3/22/2012       8:03:33
17275      3183592199       9/21/2012       15:54:36
17276      3183728279       8/28/2012       12:06:09
17277      3183823521       5/29/2012       17:14:48
17278      3183920200       11/9/2011       8:55:20
17279      3183934677       11/10/2011      8:16:18
17280      3183936661       9/27/2011       18:49:31
17281      3184028089       6/7/2012        18:34:23
17282      3184181302       6/9/2012        15:00:57
17283      3184182454       7/25/2012       12:06:37
17284      3184238894       10/9/2012       20:04:08
17285      3184399213       10/23/2012      16:14:16
17286      3184525590       6/18/2012       9:18:04
17287      3184537635       9/6/2012        12:23:44
17288      3184584755       3/16/2012       10:12:13
17289      3184705715       2/18/2012       8:48:34
17290      3184705715       10/3/2012       20:05:18
17291      3185056090       10/4/2011       13:58:21
17292      3185279432       5/22/2012       18:30:11
17293      3185372441       10/8/2011       11:28:05
17294      3185507835       10/18/2011      12:27:18
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17295      3185600777       9/27/2011       18:07:48
17296      3185608858       6/18/2012       15:34:53
17297      3185640062       4/3/2012        18:14:16
17298      3185640504       5/15/2012       19:15:38
17299      3185646336       10/24/2012      15:04:26
17300      3185736683       1/10/2012       18:13:27
17301      3185780885       1/8/2012        13:12:50
17302      3186522126       11/20/2011      11:08:43
17303      3186555180       9/26/2011       9:43:19
17304      3187596101       5/26/2012       8:55:06
17305      3187716599       5/3/2012        21:16:45
17306      3187801253       11/30/2011      8:18:02
17307      3187805513       10/21/2011      13:21:52
17308      3187878003       10/10/2011      11:41:29
17309      3187878003       10/17/2011      7:49:18
17310      3187892773       12/6/2011       13:05:39
17311      3187914176       11/28/2011      12:05:30
17312      3187918449       8/4/2012        10:28:28
17313      3189180278       3/16/2012       10:30:57
17314      3192020534       4/2/2012        8:58:43
17315      3192022327       1/4/2012        11:21:16
17316      3192022839       10/10/2012      12:49:33
17317      3192026369       10/24/2011      8:07:16
17318      3192136600       10/17/2013      14:16:10
17319      3192315188       9/8/2011        18:09:38
17320      3192383711       12/12/2011      16:36:47
17321      3192393547       9/23/2011       11:41:53
17322      3192396334       10/25/2011      16:17:37
17323      3192396334       11/7/2011       8:15:29
17324      3192396334       11/18/2011      13:33:48
17325      3192397509       12/2/2011       14:51:43
17326      3192399613       10/20/2011      16:24:36
17327      3192411018       10/13/2011      8:25:36
17328      3192411495       11/29/2011      15:09:38
17329      3192411495       3/14/2012       20:00:08
17330      3192416291       3/17/2012       8:52:57
17331      3192418035       10/8/2012       20:00:44
17332      3192419464       6/5/2012        19:53:36
17333      3192904486       11/16/2011      20:06:01
17334      3193104593       12/10/2011      13:27:19
17335      3193254282       7/15/2011       8:34:26
17336      3193274166       8/7/2012        19:46:54
17337      3193301341       10/4/2011       13:51:26
17338      3193307037       10/8/2011       11:33:57
17339      3193310920       11/2/2011       20:19:41
17340      3193504550       11/14/2011      16:59:58
17341      3193522345       5/16/2012       8:05:50
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17342      3193718539       4/24/2012       12:08:18
17343      3193719736       7/18/2012       18:26:16
17344      3193768487       6/29/2012       9:32:06
17345      3194007094       9/27/2012       16:41:15
17346      3194043114       11/23/2011      14:39:04
17347      3194049243       7/21/2012       10:25:47
17348      3194154572       9/26/2011       9:28:54
17349      3194231131       9/28/2012       16:43:44
17350      3194293232       7/2/2011        8:34:34
17351      3194293232       10/18/2011      19:10:13
17352      3194305252       11/29/2011      15:02:06
17353      3194307676       10/3/2011       8:10:56
17354      3194313001       3/15/2012       13:53:29
17355      3194316817       9/19/2012       8:03:25
17356      3194321829       10/10/2011      12:38:15
17357      3194329552       7/30/2012       13:37:25
17358      3194335171       10/5/2011       14:16:14
17359      3194338470       11/16/2011      8:05:27
17360      3194571183       10/20/2012      8:17:30
17361      3194573322       9/13/2011       15:57:17
17362      3194574635       8/29/2012       20:20:53
17363      3194611882       9/21/2011       19:30:56
17364      3194613530       12/9/2011       8:31:33
17365      3194615723       8/17/2011       19:11:43
17366      3194644175       1/27/2012       19:43:17
17367      3194647216       12/23/2011      16:00:42
17368      3194647597       9/13/2012       15:15:13
17369      3194647918       10/6/2011       17:49:52
17370      3194649584       3/7/2012        9:46:08
17371      3194649951       7/13/2012       11:43:09
17372      3194700129       3/10/2012       8:50:49
17373      3194708074       5/22/2012       18:21:30
17374      3194716398       11/7/2011       9:17:49
17375      3194730010       6/8/2012        17:00:11
17376      3194730892       5/5/2012        8:30:04
17377      3194800236       12/22/2011      9:13:57
17378      3194805117       10/3/2011       8:07:44
17379      3194934474       7/26/2012       11:54:05
17380      3194935191       9/28/2011       11:21:56
17381      3195044892       11/23/2011      14:38:41
17382      3195090571       7/15/2011       17:33:22
17383      3195216288       7/24/2012       14:47:04
17384      3195307863       8/21/2012       13:52:09
17385      3195372111       11/11/2011      13:14:20
17386      3195405269       10/11/2011      16:22:57
17387      3195405975       10/17/2012      18:36:40
17388      3195586651       12/16/2011      15:44:33
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17389      3195586651       4/18/2012       17:59:04
17390      3195586956       12/6/2011       13:33:59
17391      3195587088       12/20/2011      11:44:46
17392      3195610214       1/13/2012       17:26:47
17393      3195610350       12/20/2011      19:24:25
17394      3195721700       11/3/2011       17:22:58
17395      3195721700       11/17/2011      16:49:13
17396      3195724642       9/1/2012        9:00:33
17397      3195726431       11/28/2011      12:12:08
17398      3195729176       2/13/2012       18:47:26
17399      3195736330       4/14/2012       8:57:23
17400      3195911534       9/11/2012       15:02:25
17401      3196016795       11/4/2011       9:05:46
17402      3196318072       2/20/2012       8:41:20
17403      3196401323       10/10/2012      19:13:13
17404      3196696130       9/19/2011       8:31:03
17405      3196696130       10/3/2011       8:11:37
17406      3197215448       5/8/2012        12:38:34
17407      3197435267       3/19/2012       19:18:08
17408      3197504937       12/7/2011       13:36:39
17409      3197524044       3/13/2012       18:41:34
17410      3197594698       8/31/2011       11:01:15
17411      3197594698       9/16/2011       14:47:35
17412      3197595300       4/13/2012       13:38:51
17413      3197951098       11/12/2011      10:41:28
17414      3197956541       2/7/2012        20:20:00
17415      3198210046       5/9/2012        16:13:16
17416      3198211358       12/23/2011      15:11:54
17417      3198305136       7/31/2012       15:36:33
17418      3198501587       6/27/2012       17:52:29
17419      3198835523       3/19/2012       19:02:26
17420      3198835523       5/1/2012        8:26:20
17421      3199291255       11/18/2011      12:27:42
17422      3199293836       3/22/2012       14:05:15
17423      3199301771       10/6/2011       17:43:36
17424      3199318322       2/10/2012       20:42:07
17425      3199318933       4/9/2012        13:45:26
17426      3199362668       5/14/2012       15:43:29
17427      3199362770       12/10/2011      13:47:30
17428      3199363231       1/19/2012       18:41:35
17429      3199363432       3/5/2012        8:15:06
17430      3199366938       1/12/2012       8:18:58
17431      3199366938       6/18/2012       9:14:21
17432      3199367028       12/15/2011      8:05:19
17433      3199367195       10/18/2011      12:29:27
17434      3199394232       10/11/2012      18:41:12
17435      3199399182       11/22/2011      19:38:06
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17436      3199611923       11/3/2011       17:16:16
17437      3199612512       10/29/2011      11:38:08
17438      3199613195       11/11/2011      13:40:38
17439      3199613978       12/27/2011      14:21:36
17440      3199613978       3/14/2012       19:35:45
17441      3199614879       1/30/2012       8:10:17
17442      3199616039       9/19/2011       19:16:18
17443      3199616502       11/8/2011       13:57:12
17444      3199817083       3/20/2012       17:41:20
17445      3199817083       4/13/2012       20:39:24
17446      3202916747       11/8/2011       13:53:47
17447      3203600661       7/27/2012       15:21:36
17448      3204033337       12/20/2011      17:24:30
17449      3207600153       9/26/2011       13:18:19
17450      3208944710       6/2/2012        13:12:43
17451      3212021873       6/21/2012       10:11:17
17452      3212026376       5/11/2012       18:39:14
17453      3212026376       6/8/2012        19:42:27
17454      3212026784       12/23/2011      13:41:44
17455      3212026784       1/13/2012       17:22:06
17456      3212028649       1/3/2012        11:10:10
17457      3212029428       10/25/2011      16:11:31
17458      3212053164       8/6/2011        8:23:30
17459      3212056071       6/24/2012       11:31:41
17460      3212058147       2/21/2012       9:40:54
17461      3212080948       10/17/2012      18:33:50
17462      3212081696       1/17/2012       18:44:00
17463      3212082756       5/22/2012       11:17:23
17464      3212083049       3/21/2012       13:38:33
17465      3212083719       2/3/2012        7:03:12
17466      3212083894       8/29/2011       7:31:50
17467      3212084160       5/3/2012        7:11:25
17468      3212084160       5/21/2012       7:32:16
17469      3212084205       5/3/2012        7:03:56
17470      3212128944       2/9/2012        7:04:34
17471      3212129994       12/26/2011      9:14:38
17472      3212133708       11/1/2011       7:58:01
17473      3212133967       7/25/2012       12:01:28
17474      3212158073       2/4/2012        8:10:13
17475      3212160931       7/23/2012       15:28:05
17476      3212165132       5/12/2011       9:40:06
17477      3212165390       10/14/2011      13:09:26
17478      3212165856       5/18/2012       15:38:05
17479      3212165947       2/3/2012        7:06:02
17480      3212167009       8/8/2012        7:07:46
17481      3212170378       9/17/2012       7:49:46
17482      3212171387       1/5/2012        12:02:07
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17483      3212173299       1/12/2012       7:08:46
17484      3212176012       1/13/2012       12:24:04
17485      3212179439       4/12/2012       12:17:02
17486      3212234350       8/8/2011        14:59:45
17487      3212234891       12/9/2011       16:04:05
17488      3212238453       1/4/2012        10:59:06
17489      3212250133       5/13/2012       16:58:01
17490      3212251122       1/8/2012        12:52:33
17491      3212251993       11/15/2011      16:12:06
17492      3212259020       2/2/2012        10:57:30
17493      3212288989       3/9/2012        7:05:15
17494      3212294565       9/3/2012        14:45:06
17495      3212308072       11/19/2011      8:09:16
17496      3212308072       5/5/2012        8:16:55
17497      3212315014       9/21/2011       11:23:44
17498      3212392498       9/23/2011       11:26:58
17499      3212392498       10/4/2011       13:07:24
17500      3212399318       7/2/2012        10:34:27
17501      3212430387       8/29/2011       13:00:27
17502      3212432446       5/13/2011       11:25:48
17503      3212435275       12/21/2011      10:04:04
17504      3212461387       9/12/2011       13:53:02
17505      3212461735       12/31/2011      11:59:08
17506      3212462274       5/21/2012       17:25:33
17507      3212464000       9/19/2011       19:04:11
17508      3212467753       9/20/2011       17:05:33
17509      3212467753       10/4/2011       13:35:54
17510      3212500577       10/29/2011      10:37:54
17511      3212510055       4/25/2011       9:56:18
17512      3212626117       11/10/2011      7:16:06
17513      3212628028       5/21/2012       8:43:50
17514      3212635758       3/20/2012       9:13:15
17515      3212639704       4/2/2012        7:07:32
17516      3212645980       9/26/2011       8:52:24
17517      3212665570       1/16/2012       17:23:41
17518      3212666896       5/7/2012        17:54:48
17519      3212712268       9/12/2011       13:47:30
17520      3212713644       1/18/2012       16:35:27
17521      3212764826       1/16/2012       17:39:09
17522      3212766365       7/3/2013        9:41:31
17523      3212769518       9/27/2011       15:18:46
17524      3212770434       3/15/2011       12:19:41
17525      3212771740       12/5/2011       9:12:02
17526      3212772185       2/25/2012       10:49:40
17527      3212772452       10/3/2011       7:14:07
17528      3212775991       8/16/2012       7:57:05
17529      3212776555       8/14/2012       11:49:39
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17530      3212777632       9/14/2011       7:01:54
17531      3212779330       5/23/2012       14:43:48
17532      3212785188       11/29/2011      15:22:59
17533      3212785432       5/19/2011       8:10:10
17534      3212796682       12/2/2011       15:04:30
17535      3212798927       1/27/2012       7:27:08
17536      3212799231       6/9/2012        15:00:02
17537      3212847664       11/28/2011      11:20:28
17538      3212871667       7/11/2012       9:35:50
17539      3212871799       12/22/2011      9:36:49
17540      3212874626       8/8/2011        14:45:02
17541      3212877463       12/18/2011      16:36:36
17542      3212885791       11/28/2011      16:35:35
17543      3212892464       9/14/2011       16:10:13
17544      3212897521       10/17/2011      7:10:35
17545      3212929294       7/24/2012       14:46:35
17546      3212970220       1/11/2012       7:30:47
17547      3212982355       1/4/2012        11:11:25
17548      3212982355       1/14/2012       8:17:33
17549      3212982498       10/14/2011      12:40:01
17550      3212986650       1/4/2012        12:21:30
17551      3213029145       9/17/2011       10:15:43
17552      3213031503       11/19/2011      8:47:37
17553      3213036760       7/26/2011       9:34:21
17554      3213038816       10/15/2011      9:49:09
17555      3213040266       9/18/2012       14:23:56
17556      3213040835       10/26/2013      15:05:48
17557      3213050102       3/12/2012       19:02:23
17558      3213050565       12/26/2011      20:33:05
17559      3213058779       5/24/2012       7:13:31
17560      3213228691       10/11/2011      16:45:59
17561      3213234658       5/7/2012        7:16:30
17562      3213291112       10/11/2012      18:43:39
17563      3213314730       6/26/2012       8:01:56
17564      3213316082       4/15/2012       16:54:33
17565      3213323763       9/28/2011       10:50:39
17566      3213380906       7/30/2012       18:44:26
17567      3213520167       4/22/2012       15:18:07
17568      3213522209       3/6/2012        15:44:57
17569      3213529533       5/22/2012       18:32:50
17570      3213545003       9/22/2011       15:18:09
17571      3213560044       6/16/2012       15:21:46
17572      3213560566       9/12/2011       13:05:38
17573      3213560838       10/3/2011       8:25:40
17574      3213567593       6/8/2012        7:22:46
17575      3213568053       6/8/2011        18:41:34
17576      3213568620       1/17/2012       7:24:52
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17577      3213569179       5/25/2011       17:15:27
17578      3213602307       1/13/2012       17:34:52
17579      3213602741       12/29/2011      11:14:12
17580      3213620134       11/23/2011      10:26:55
17581      3213621754       4/5/2012        14:21:12
17582      3213680271       8/2/2012        11:26:58
17583      3213682147       2/10/2012       7:07:28
17584      3213682540       2/28/2012       16:02:01
17585      3213683108       6/7/2012        18:34:24
17586      3213683917       10/5/2011       14:26:33
17587      3213688410       9/14/2011       11:35:00
17588      3213777634       2/14/2012       9:45:01
17589      3213777634       3/21/2012       13:40:20
17590      3213941153       3/30/2012       16:02:33
17591      3213941352       12/7/2011       18:18:49
17592      3213941627       12/19/2011      7:38:50
17593      3213941627       1/18/2012       16:46:34
17594      3213946222       9/29/2012       9:55:41
17595      3214036124       1/12/2012       14:29:40
17596      3214120199       8/10/2011       18:17:34
17597      3214120223       9/13/2011       17:58:56
17598      3214121016       2/17/2012       9:06:55
17599      3214123916       12/22/2011      9:39:12
17600      3214126247       10/1/2011       9:45:10
17601      3214127259       12/21/2011      10:11:40
17602      3214127556       10/27/2011      15:08:50
17603      3214203390       11/12/2011      9:44:48
17604      3214266222       1/17/2012       7:10:38
17605      3214266222       5/21/2012       7:23:39
17606      3214266968       3/20/2012       9:25:53
17607      3214270574       10/20/2011      16:11:13
17608      3214270574       12/21/2011      10:11:42
17609      3214273698       3/30/2011       8:41:13
17610      3214273698       11/22/2011      19:03:44
17611      3214278517       1/13/2012       12:38:49
17612      3214279679       10/25/2011      15:54:04
17613      3214313563       10/13/2011      7:27:52
17614      3214315202       8/20/2012       7:40:12
17615      3214322847       4/10/2012       15:59:01
17616      3214326520       2/28/2012       13:30:10
17617      3214329889       3/21/2012       13:40:39
17618      3214360812       4/18/2012       7:07:04
17619      3214364105       9/28/2012       7:37:50
17620      3214374443       9/26/2011       13:31:35
17621      3214376374       5/11/2011       17:00:02
17622      3214379691       6/6/2012        7:13:20
17623      3214383586       1/3/2012        19:40:11
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17624      3214384309       3/2/2012        19:08:48
17625      3214387528       1/10/2012       12:47:01
17626      3214393676       10/5/2011       14:25:38
17627      3214393715       5/16/2012       7:11:09
17628      3214394273       9/13/2011       15:13:26
17629      3214421625       1/24/2012       17:12:31
17630      3214424095       11/5/2011       10:53:51
17631      3214424724       8/14/2012       11:41:23
17632      3214425479       9/27/2012       16:28:53
17633      3214425688       1/13/2012       12:29:00
17634      3214426110       3/2/2012        7:10:03
17635      3214427294       9/13/2011       17:44:46
17636      3214427757       5/17/2012       7:02:01
17637      3214427757       5/21/2012       7:33:50
17638      3214430227       12/18/2011      18:01:47
17639      3214430899       8/16/2012       7:47:17
17640      3214431137       6/18/2012       15:07:35
17641      3214463541       11/2/2011       7:15:45
17642      3214580625       5/6/2012        17:13:52
17643      3214582522       5/20/2012       15:17:28
17644      3214582522       5/21/2012       17:24:59
17645      3214582733       9/10/2011       8:27:02
17646      3214583291       10/12/2011      11:59:51
17647      3214584830       7/5/2012        7:47:38
17648      3214585416       4/3/2012        15:57:49
17649      3214585839       6/14/2012       16:01:29
17650      3214586102       12/7/2011       13:25:18
17651      3214586772       9/26/2011       7:57:53
17652      3214586772       10/12/2011      7:29:43
17653      3214604306       10/28/2011      13:54:30
17654      3214606136       1/3/2012        16:29:43
17655      3214606669       6/16/2012       15:14:20
17656      3214607005       11/30/2011      14:48:48
17657      3214607490       2/6/2012        7:21:56
17658      3214743598       11/17/2011      16:14:55
17659      3214746934       2/28/2012       15:59:43
17660      3214747213       3/26/2011       10:53:50
17661      3214800954       3/19/2012       19:17:30
17662      3214822911       6/13/2012       7:09:49
17663      3214826524       5/21/2012       17:25:08
17664      3214826689       5/21/2012       17:27:24
17665      3214826689       6/16/2012       15:25:41
17666      3214827013       9/26/2012       14:40:11
17667      3214827759       6/22/2012       20:55:42
17668      3215017478       4/16/2012       7:01:06
17669      3215050095       6/25/2012       13:36:27
17670      3215056079       2/11/2012       10:37:53
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17671      3215065587       4/10/2012       11:46:02
17672      3215077938       4/18/2012       7:06:47
17673      3215082310       1/6/2012        14:32:18
17674      3215082342       4/19/2012       7:22:34
17675      3215141147       10/9/2012       11:44:13
17676      3215145318       9/23/2011       18:57:01
17677      3215251016       1/24/2012       9:59:02
17678      3215256076       7/7/2012        9:59:34
17679      3215271132       9/23/2011       11:11:08
17680      3215271144       10/2/2012       7:33:15
17681      3215271159       2/6/2012        7:09:20
17682      3215271159       2/11/2012       15:23:56
17683      3215271254       10/6/2012       8:27:07
17684      3215271694       10/15/2012      16:25:36
17685      3215276810       1/25/2012       9:14:35
17686      3215279714       8/21/2012       13:50:36
17687      3215366889       9/12/2011       13:13:32
17688      3215373780       5/15/2012       7:55:21
17689      3215373780       5/21/2012       7:33:32
17690      3215373780       5/21/2012       7:33:45
17691      3215374953       10/27/2011      16:22:02
17692      3215377853       10/15/2011      9:47:39
17693      3215432346       5/25/2012       8:17:52
17694      3215432346       6/15/2012       8:43:25
17695      3215440306       10/17/2011      7:52:33
17696      3215441368       5/8/2012        17:00:32
17697      3215444384       5/18/2012       15:57:25
17698      3215449926       10/16/2012      16:32:17
17699      3215572663       5/21/2011       10:35:58
17700      3215572710       11/26/2011      12:27:25
17701      3215572990       8/23/2011       18:04:02
17702      3215573222       12/12/2011      16:16:51
17703      3215573416       1/12/2012       7:23:41
17704      3215573791       6/27/2012       12:13:59
17705      3215574591       5/18/2012       7:08:59
17706      3215574591       8/11/2012       9:19:07
17707      3215574880       8/2/2011        16:52:29
17708      3215576419       1/3/2012        19:39:34
17709      3215576795       5/17/2011       9:15:01
17710      3215576936       8/7/2013        9:06:47
17711      3215577026       6/29/2011       16:34:02
17712      3215577026       9/19/2011       19:24:39
17713      3215577732       9/28/2011       11:06:47
17714      3215763555       10/23/2012      16:05:11
17715      3215764770       9/7/2011        14:24:55
17716      3215765305       1/20/2012       19:27:40
17717      3215767544       9/12/2011       13:48:05
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17718      3215767693       6/20/2012       16:42:36
17719      3215782103       3/3/2012        8:36:41
17720      3215782103       3/21/2012       13:45:51
17721      3215912672       9/28/2012       16:42:04
17722      3215913428       9/22/2013       12:46:37
17723      3215913670       5/1/2012        17:54:22
17724      3215913974       10/1/2011       10:17:17
17725      3215915798       6/2/2012        12:41:41
17726      3215918565       10/8/2012       7:04:39
17727      3215919624       6/26/2012       8:02:10
17728      3215943529       3/19/2012       17:35:54
17729      3215943529       10/10/2012      19:16:02
17730      3216049177       9/27/2012       7:29:24
17731      3216150145       6/18/2011       15:18:03
17732      3216154238       3/28/2012       7:22:22
17733      3216154238       5/21/2012       7:05:20
17734      3216154238       5/21/2012       7:30:02
17735      3216156770       9/20/2011       16:33:20
17736      3216158588       6/25/2012       13:40:42
17737      3216243074       8/25/2012       8:32:13
17738      3216268155       11/9/2011       7:59:34
17739      3216620867       9/3/2011        10:46:56
17740      3216624560       7/12/2011       12:16:51
17741      3216630735       1/13/2012       12:23:13
17742      3216634127       5/23/2012       15:10:10
17743      3216637154       3/16/2012       10:43:27
17744      3216820450       4/1/2012        16:12:39
17745      3216821911       9/16/2011       13:17:34
17746      3216828500       5/23/2012       14:50:05
17747      3216848146       12/17/2011      13:39:56
17748      3216849389       2/21/2012       9:37:14
17749      3216898226       11/18/2011      13:27:46
17750      3216930076       6/8/2011        18:40:48
17751      3216937540       3/23/2012       7:03:55
17752      3216957116       10/12/2012      16:48:59
17753      3216960689       6/16/2012       8:44:19
17754      3216965949       10/13/2011      7:12:13
17755      3216972202       10/8/2011       9:08:09
17756      3216987701       12/20/2011      19:21:41
17757      3216988751       1/9/2012        18:29:37
17758      3217040021       10/13/2011      7:16:56
17759      3217041787       12/24/2011      12:45:31
17760      3217042974       9/19/2011       19:30:43
17761      3217047832       11/2/2011       7:13:35
17762      3217049291       4/22/2012       15:23:10
17763      3217201867       8/9/2012        13:58:30
17764      3217205008       11/26/2011      11:14:12
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17765      3217352653       4/1/2012        16:04:29
17766      3217463575       12/12/2011      16:35:24
17767      3217465810       11/23/2011      14:53:35
17768      3217466277       5/10/2012       14:46:27
17769      3217469190       11/14/2011      14:05:50
17770      3217496439       11/7/2011       8:26:41
17771      3217504161       9/26/2011       8:21:23
17772      3217592338       5/13/2012       17:21:24
17773      3217952038       6/18/2012       7:58:32
17774      3217957058       10/1/2012       13:45:43
17775      3218050391       11/22/2011      19:09:49
17776      3218051667       10/7/2011       7:20:02
17777      3218051943       9/26/2011       8:05:43
17778      3218052349       2/11/2012       15:08:12
17779      3218052349       2/20/2012       7:23:50
17780      3218052349       10/23/2012      10:51:13
17781      3218060182       10/11/2011      17:08:46
17782      3218066220       7/9/2011        8:27:57
17783      3218069489       8/31/2011       10:38:55
17784      3218218498       2/20/2012       17:03:59
17785      3218481658       1/27/2012       19:52:27
17786      3218487334       2/1/2012        8:00:39
17787      3218630481       11/26/2011      12:22:10
17788      3218902051       9/22/2011       15:45:22
17789      3218905340       10/3/2011       7:31:54
17790      3219142537       3/28/2012       18:20:09
17791      3219145198       3/2/2012        7:06:18
17792      3219145629       5/1/2012        8:19:42
17793      3219145707       4/9/2012        18:09:42
17794      3219145714       11/12/2011      9:07:20
17795      3219145714       11/19/2011      8:39:22
17796      3219149260       3/2/2012        7:10:22
17797      3219171411       3/11/2012       15:11:52
17798      3219174133       12/26/2011      8:59:43
17799      3219177898       9/21/2012       18:43:22
17800      3219453075       6/24/2012       13:57:08
17801      3219453708       9/14/2011       19:34:49
17802      3219454090       12/1/2013       14:18:49
17803      3219461310       9/24/2011       9:35:17
17804      3219461310       10/31/2011      7:09:26
17805      3219461954       1/2/2012        12:03:35
17806      3219465445       9/23/2011       18:56:42
17807      3219468738       8/9/2012        14:06:28
17808      3219482986       11/9/2011       8:02:39
17809      3219485118       5/7/2012        14:57:30
17810      3219486746       1/28/2012       8:03:40
17811      3219601244       3/13/2012       18:39:16
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17812      3219601244       3/27/2012       14:58:11
17813      3219602473       3/1/2012        8:46:57
17814      3219603365       6/13/2012       7:08:36
17815      3219605823       1/13/2012       17:22:47
17816      3219608722       4/2/2012        17:31:08
17817      3219608722       5/16/2012       16:59:35
17818      3219612718       7/30/2012       13:30:03
17819      3219842119       11/25/2011      18:04:54
17820      3219870662       8/3/2012        11:59:58
17821      3219876160       3/16/2012       10:33:47
17822      3219877604       11/5/2011       11:13:40
17823      3219878894       9/15/2012       8:17:44
17824      3232000479       3/6/2012        20:31:34
17825      3232007397       11/2/2011       14:32:31
17826      3232023013       2/3/2012        20:14:24
17827      3232025579       8/9/2011        13:17:11
17828      3232032776       1/17/2012       20:54:14
17829      3232035486       9/20/2011       20:52:09
17830      3232038650       12/16/2011      16:45:13
17831      3232098294       9/19/2011       19:37:27
17832      3232098425       10/22/2011      12:51:00
17833      3232120943       11/28/2011      12:25:58
17834      3232135636       12/1/2011       10:25:04
17835      3232145741       1/9/2012        18:51:03
17836      3232155109       10/28/2011      14:34:49
17837      3232155999       5/3/2012        21:14:41
17838      3232156130       8/24/2012       21:02:58
17839      3232156917       9/6/2012        12:36:26
17840      3232156963       11/15/2011      20:17:30
17841      3232161656       4/12/2012       14:19:44
17842      3232161656       5/22/2012       18:31:15
17843      3232162351       6/9/2012        11:04:29
17844      3232163175       7/27/2012       15:37:36
17845      3232164761       10/19/2012      11:35:40
17846      3232166741       6/6/2012        21:20:07
17847      3232169358       6/26/2012       16:20:41
17848      3232170010       9/27/2011       18:19:06
17849      3232170116       12/16/2011      15:53:52
17850      3232170913       9/10/2011       12:43:40
17851      3232173660       6/25/2011       15:45:47
17852      3232176747       2/28/2012       13:10:59
17853      3232178260       6/1/2012        10:38:54
17854      3232178475       10/1/2012       13:38:30
17855      3232178608       5/14/2011       12:23:18
17856      3232178907       6/27/2012       12:09:03
17857      3232186599       12/21/2011      20:00:16
17858      3232187508       8/9/2011        13:20:07
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17859      3232198862       9/28/2011       10:39:03
17860      3232205241       10/17/2011      11:03:55
17861      3232280107       10/8/2011       12:20:21
17862      3232282041       2/20/2012       13:55:13
17863      3232283734       10/3/2012       20:04:08
17864      3232283810       3/14/2012       14:24:20
17865      3232286731       3/26/2012       15:05:21
17866      3232287778       2/24/2012       20:49:59
17867      3232291290       9/20/2011       18:45:41
17868      3232292609       10/29/2011      11:01:40
17869      3232293499       8/23/2011       19:28:23
17870      3232296099       12/22/2011      20:57:43
17871      3232296727       11/12/2011      11:03:29
17872      3232299059       1/7/2012        10:32:27
17873      3232340601       5/30/2012       16:43:10
17874      3232366933       10/7/2011       10:16:36
17875      3232369098       7/26/2012       19:22:41
17876      3232371442       9/21/2011       19:37:18
17877      3232374427       6/30/2012       11:11:46
17878      3232390274       4/11/2012       19:33:19
17879      3232390523       11/25/2011      18:02:08
17880      3232390754       11/17/2011      16:37:00
17881      3232391133       10/24/2012      21:12:09
17882      3232391257       4/4/2012        18:55:08
17883      3232391408       12/23/2011      16:10:35
17884      3232392085       12/6/2011       13:19:38
17885      3232392085       12/20/2011      14:58:09
17886      3232392085       1/13/2012       17:19:09
17887      3232392363       11/16/2011      20:08:31
17888      3232392499       3/22/2012       14:37:09
17889      3232392627       12/19/2011      11:17:31
17890      3232392754       4/14/2012       10:22:07
17891      3232392974       1/19/2012       18:40:42
17892      3232394044       11/4/2011       10:22:30
17893      3232394761       8/23/2012       21:06:57
17894      3232397523       5/10/2012       13:47:20
17895      3232397991       7/25/2011       15:33:47
17896      3232398062       1/13/2012       17:30:15
17897      3232404757       6/16/2012       15:34:45
17898      3232440899       3/2/2012        15:28:38
17899      3232443241       6/4/2012        10:04:03
17900      3232443241       6/19/2012       15:46:46
17901      3232445580       10/4/2011       14:01:55
17902      3232445706       9/24/2012       19:11:28
17903      3232448923       6/22/2012       21:02:09
17904      3232449699       5/4/2012        21:00:38
17905      3232449699       6/23/2012       16:16:51
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17906      3232452475       12/12/2011      21:53:16
17907      3232453697       4/9/2012        18:20:25
17908      3232454066       9/20/2011       17:04:55
17909      3232454085       4/10/2012       11:44:09
17910      3232461865       10/27/2011      16:59:44
17911      3232467644       7/10/2012       21:12:50
17912      3232467921       3/26/2012       15:11:12
17913      3232469887       2/13/2012       18:33:43
17914      3232470725       2/14/2012       16:44:07
17915      3232471330       6/11/2012       18:16:49
17916      3232513213       9/28/2012       14:18:40
17917      3232513896       7/2/2011        13:56:17
17918      3232514924       1/6/2012        14:55:06
17919      3232518218       10/1/2012       13:39:31
17920      3232518343       11/28/2011      17:05:37
17921      3232523061       12/10/2011      14:53:57
17922      3232523747       1/9/2012        18:21:21
17923      3232524632       10/10/2011      12:08:32
17924      3232526274       9/23/2011       11:25:38
17925      3232532528       10/12/2011      11:45:39
17926      3232534664       8/28/2013       16:41:19
17927      3232535588       3/25/2012       12:07:23
17928      3232536026       11/18/2011      13:27:07
17929      3232538029       4/30/2012       14:39:10
17930      3232547876       8/6/2011        13:15:21
17931      3232560168       8/23/2012       11:43:53
17932      3232628264       7/3/2012        19:38:47
17933      3232631771       2/16/2012       9:21:59
17934      3232700162       9/24/2012       18:56:56
17935      3232701219       6/8/2012        10:16:16
17936      3232701679       3/5/2012        11:06:23
17937      3232701816       5/12/2012       10:54:31
17938      3232701816       10/23/2012      11:03:56
17939      3232702118       7/30/2012       21:34:13
17940      3232702438       5/8/2012        12:46:13
17941      3232706330       1/8/2012        16:53:30
17942      3232707288       9/23/2011       18:52:08
17943      3232708843       10/21/2011      14:52:11
17944      3232719818       4/7/2012        12:20:14
17945      3232729732       3/23/2011       20:18:29
17946      3232729815       12/26/2011      20:13:10
17947      3232730132       11/16/2011      10:02:57
17948      3232730769       5/21/2012       17:56:10
17949      3232733573       2/14/2012       10:12:02
17950      3232733573       7/6/2012        16:48:34
17951      3232733573       7/23/2012       13:09:50
17952      3232735161       2/25/2012       11:14:08
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17953      3232738700       4/16/2012       15:54:32
17954      3232739353       8/20/2012       10:14:03
17955      3232745930       1/10/2012       15:38:24
17956      3232746010       1/17/2012       20:52:56
17957      3232758859       7/13/2012       14:00:25
17958      3232758997       6/16/2012       15:07:33
17959      3232820086       11/16/2011      20:03:05
17960      3232826650       1/27/2012       17:50:24
17961      3232826757       10/20/2011      20:56:59
17962      3232828399       7/6/2012        14:52:47
17963      3232829639       2/2/2012        21:00:09
17964      3232829745       9/17/2012       10:08:37
17965      3232831879       10/19/2012      11:32:08
17966      3232832239       4/30/2012       14:39:07
17967      3232836320       12/2/2011       15:29:46
17968      3232836526       9/30/2011       10:09:55
17969      3232836536       2/13/2012       18:51:53
17970      3232836612       9/19/2011       14:45:25
17971      3232861278       7/13/2012       12:15:21
17972      3232861722       3/20/2012       20:01:15
17973      3232865236       1/27/2012       18:07:37
17974      3232866294       4/20/2012       14:40:26
17975      3232866564       9/20/2012       14:44:29
17976      3232868575       4/20/2012       13:42:48
17977      3232869960       3/23/2012       19:56:42
17978      3232869985       12/16/2011      15:54:53
17979      3232891092       11/12/2011      11:05:55
17980      3232895541       6/9/2012        14:48:35
17981      3232896794       1/6/2012        13:02:16
17982      3232897836       7/13/2012       14:05:56
17983      3232915198       7/14/2011       10:19:10
17984      3232931725       6/16/2012       15:35:31
17985      3233000593       10/5/2012       12:31:08
17986      3233012929       3/13/2012       12:54:42
17987      3233015258       10/5/2012       18:27:15
17988      3233016149       3/21/2012       18:36:13
17989      3233016149       5/4/2012        18:16:00
17990      3233021483       2/13/2012       11:36:19
17991      3233021483       2/24/2012       21:48:36
17992      3233021634       1/14/2012       11:02:01
17993      3233031677       1/5/2012        14:10:21
17994      3233034770       1/6/2012        12:52:14
17995      3233038941       9/24/2012       19:11:25
17996      3233040063       4/13/2012       20:47:29
17997      3233043877       2/25/2012       10:45:12
17998      3233044344       1/21/2012       11:17:32
17999      3233046525       12/6/2011       14:45:02
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18000      3233047431       5/9/2012        14:34:34
18001      3233049850       5/5/2012        12:19:34
18002      3233080988       3/19/2012       12:04:23
18003      3233085818       10/24/2012      15:19:02
18004      3233087238       2/11/2012       10:56:07
18005      3233087811       1/9/2012        10:34:42
18006      3233088689       8/3/2011        12:29:44
18007      3233089640       8/24/2011       12:45:57
18008      3233091650       11/21/2011      10:38:33
18009      3233128433       9/22/2011       16:19:11
18010      3233128433       12/12/2011      16:44:20
18011      3233132654       9/27/2011       18:53:22
18012      3233142312       10/15/2011      11:09:55
18013      3233146951       10/7/2011       10:35:41
18014      3233167002       8/29/2012       11:17:17
18015      3233167574       11/26/2011      13:45:51
18016      3233168704       11/21/2011      10:52:38
18017      3233170003       5/20/2012       15:51:54
18018      3233170003       5/21/2012       17:59:24
18019      3233180008       2/17/2012       18:14:22
18020      3233197290       3/20/2012       17:33:01
18021      3233197290       5/2/2012        13:06:41
18022      3233262001       9/8/2012        11:46:39
18023      3233262418       12/17/2011      12:16:22
18024      3233263649       3/12/2012       19:34:27
18025      3233272726       3/19/2012       19:26:46
18026      3233272726       3/27/2012       15:08:46
18027      3233290096       3/18/2011       11:49:14
18028      3233291060       6/8/2012        19:45:27
18029      3233295273       3/13/2012       18:34:15
18030      3233307365       8/13/2011       10:45:30
18031      3233310264       10/26/2011      12:28:51
18032      3233315276       4/23/2012       13:06:33
18033      3233315559       2/24/2012       20:53:48
18034      3233315559       3/5/2012        10:58:34
18035      3233316734       1/13/2012       17:30:21
18036      3233316879       6/20/2011       14:23:19
18037      3233330391       4/3/2012        16:17:44
18038      3233333941       3/6/2012        20:28:02
18039      3233348015       8/16/2012       14:30:56
18040      3233350570       12/21/2011      10:01:10
18041      3233354607       12/3/2011       10:34:35
18042      3233361457       3/31/2012       22:35:17
18043      3233361751       5/9/2012        16:08:34
18044      3233362005       10/17/2012      18:38:39
18045      3233363374       9/14/2011       21:26:45
18046      3233363663       9/6/2012        12:35:34
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18047      3233367417       5/26/2012       14:28:46
18048      3233367593       2/6/2012        17:27:05
18049      3233381505       7/17/2012       12:34:09
18050      3233382353       6/4/2012        21:11:07
18051      3233382760       4/11/2012       11:37:45
18052      3233382807       10/16/2012      20:28:33
18053      3233388303       8/2/2012        11:38:36
18054      3233423188       12/21/2011      19:53:26
18055      3233442220       6/20/2012       11:04:56
18056      3233442227       9/2/2011        11:55:21
18057      3233457730       3/15/2012       18:59:32
18058      3233465092       1/7/2012        10:24:45
18059      3233467299       9/26/2011       13:21:55
18060      3233470888       10/20/2012      16:34:24
18061      3233475719       5/12/2012       10:22:57
18062      3233479119       9/28/2011       11:29:08
18063      3233480360       5/17/2012       12:11:27
18064      3233482541       10/17/2011      10:35:35
18065      3233487681       10/3/2012       10:25:04
18066      3233501199       7/10/2012       12:03:25
18067      3233503383       9/1/2012        11:48:46
18068      3233506416       9/12/2011       14:35:12
18069      3233510392       5/17/2012       16:36:06
18070      3233513136       3/26/2011       12:47:09
18071      3233515512       9/19/2011       14:50:13
18072      3233516980       3/8/2012        20:44:54
18073      3233519427       4/16/2012       16:08:56
18074      3233524057       10/5/2012       18:36:15
18075      3233531245       2/25/2012       11:12:38
18076      3233531245       3/8/2012        15:39:08
18077      3233535050       6/2/2012        13:18:34
18078      3233538286       3/23/2012       19:57:10
18079      3233538820       8/9/2012        21:57:41
18080      3233540062       9/22/2011       16:20:27
18081      3233540062       10/27/2011      16:12:48
18082      3233545175       4/25/2012       21:26:57
18083      3233545425       4/20/2012       14:39:29
18084      3233546187       8/11/2013       13:44:38
18085      3233546221       11/26/2011      12:09:15
18086      3233546227       5/31/2012       17:46:56
18087      3233546467       12/21/2011      19:55:52
18088      3233548110       5/2/2012        21:06:53
18089      3233560105       3/2/2012        15:26:23
18090      3233562207       10/14/2011      14:50:07
18091      3233564717       9/20/2011       16:57:06
18092      3233567196       11/15/2011      16:40:04
18093      3233572079       9/12/2011       13:39:46
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18094      3233572811       9/8/2011        19:49:36
18095      3233572986       4/29/2011       20:46:24
18096      3233590723       3/19/2011       10:45:54
18097      3233591144       3/23/2012       19:54:50
18098      3233592298       8/15/2012       21:43:38
18099      3233594196       2/6/2012        17:24:52
18100      3233594196       2/9/2012        20:47:01
18101      3233594924       9/20/2011       20:52:38
18102      3233595099       12/28/2011      11:14:41
18103      3233596040       10/10/2012      12:51:17
18104      3233596773       3/15/2011       12:14:28
18105      3233598451       5/9/2012        21:03:50
18106      3233598669       10/15/2011      11:07:29
18107      3233599424       7/10/2012       12:01:06
18108      3233599543       1/3/2012        19:45:45
18109      3233601465       3/29/2012       11:42:00
18110      3233602616       9/21/2011       12:07:32
18111      3233606894       9/28/2012       14:15:42
18112      3233607723       8/24/2012       11:14:16
18113      3233628197       5/10/2012       14:53:32
18114      3233631788       10/12/2012      21:30:17
18115      3233631803       7/27/2012       15:26:38
18116      3233632466       6/8/2012        16:57:41
18117      3233634474       6/9/2012        14:48:57
18118      3233634474       9/18/2012       21:30:34
18119      3233637619       11/18/2011      12:33:52
18120      3233654628       8/8/2012        10:04:51
18121      3233654704       7/9/2012        19:17:27
18122      3233691230       9/9/2011        18:12:09
18123      3233704565       11/10/2011      14:25:45
18124      3233705437       5/2/2012        21:04:25
18125      3233711113       4/14/2012       10:27:43
18126      3233711315       11/28/2011      17:09:25
18127      3233714989       10/6/2011       17:10:22
18128      3233719969       7/3/2012        19:33:13
18129      3233736905       10/16/2012      20:35:44
18130      3233738352       3/7/2012        10:06:01
18131      3233771283       9/19/2011       14:46:47
18132      3233772824       10/20/2012      8:16:53
18133      3233774668       11/15/2011      20:17:58
18134      3233774824       3/14/2012       14:15:40
18135      3233774824       3/27/2012       10:39:21
18136      3233775117       3/6/2012        20:26:53
18137      3233775877       4/18/2012       10:05:31
18138      3233776349       9/9/2011        18:11:35
18139      3233776454       11/25/2011      18:34:12
18140      3233779202       9/19/2011       14:43:43
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18141      3233780556       9/27/2012       16:32:14
18142      3233781340       4/21/2012       16:52:52
18143      3233782418       3/14/2012       19:48:23
18144      3233810354       2/11/2012       15:52:20
18145      3233810451       9/15/2012       8:04:55
18146      3233816328       6/27/2012       12:23:29
18147      3233822959       3/20/2012       20:04:57
18148      3233823960       3/18/2011       12:02:27
18149      3233831533       5/3/2012        10:06:19
18150      3233833843       12/12/2011      12:34:41
18151      3233833926       11/18/2011      13:35:03
18152      3233837006       1/20/2012       20:31:19
18153      3233844807       1/10/2012       21:37:59
18154      3233846318       5/16/2012       16:51:58
18155      3233852084       11/16/2011      11:03:23
18156      3233854633       1/9/2012        10:26:52
18157      3233856293       9/10/2012       21:08:11
18158      3233856612       6/6/2012        10:22:40
18159      3233857502       12/8/2011       21:12:23
18160      3233859239       12/12/2011      16:44:42
18161      3233859401       8/20/2011       10:37:22
18162      3233859571       5/23/2012       15:23:55
18163      3233878137       10/14/2011      14:50:02
18164      3233878181       6/29/2012       17:46:54
18165      3233878206       10/12/2011      11:56:45
18166      3233888793       10/1/2012       21:37:55
18167      3233889521       9/8/2011        19:41:03
18168      3233922049       6/7/2011        18:18:58
18169      3233922137       6/22/2012       21:02:08
18170      3233922717       7/11/2012       17:24:03
18171      3233935134       5/30/2012       17:00:26
18172      3233935474       6/9/2012        15:39:40
18173      3233935738       4/15/2012       17:56:13
18174      3233951411       9/30/2011       10:08:53
18175      3233958223       10/18/2012      16:52:38
18176      3233964496       5/29/2012       17:16:37
18177      3233972364       2/17/2012       10:50:01
18178      3233974713       1/13/2012       12:45:44
18179      3233977050       12/30/2011      20:55:08
18180      3233990090       5/1/2012        17:51:17
18181      3233995671       9/27/2012       16:44:07
18182      3233998106       4/4/2012        18:55:09
18183      3233998582       8/1/2012        8:35:37
18184      3234008618       6/7/2012        16:17:19
18185      3234014632       1/25/2012       18:28:22
18186      3234022657       11/22/2011      19:00:06
18187      3234023175       10/6/2012       10:53:34
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18188      3234025443       10/26/2011      13:24:24
18189      3234031863       2/14/2012       10:04:01
18190      3234033428       4/21/2012       10:03:33
18191      3234033883       8/8/2011        13:26:28
18192      3234040211       9/21/2011       12:05:58
18193      3234040211       10/8/2011       12:29:13
18194      3234040276       3/29/2011       16:40:19
18195      3234042440       10/5/2011       14:40:45
18196      3234042783       11/23/2011      10:28:49
18197      3234043387       11/10/2011      14:28:04
18198      3234044433       10/31/2011      10:09:53
18199      3234046944       2/8/2012        13:16:46
18200      3234047091       3/24/2012       10:08:13
18201      3234047676       3/2/2012        18:54:04
18202      3234048029       5/8/2012        15:51:36
18203      3234052458       12/21/2011      10:03:05
18204      3234052757       11/10/2011      14:45:33
18205      3234072001       4/3/2012        16:04:24
18206      3234188392       4/17/2013       18:48:01
18207      3234203389       11/14/2011      17:40:55
18208      3234205770       8/2/2012        19:10:29
18209      3234205933       10/22/2011      12:47:27
18210      3234221217       12/2/2011       14:19:08
18211      3234224515       5/26/2012       10:08:34
18212      3234224515       6/4/2012        21:10:28
18213      3234224515       7/21/2012       10:33:55
18214      3234224636       7/10/2012       12:04:22
18215      3234229648       10/8/2011       12:19:49
18216      3234233886       4/7/2012        12:16:23
18217      3234236235       6/9/2011        11:10:21
18218      3234236445       6/6/2012        10:23:21
18219      3234238685       3/1/2012        21:55:36
18220      3234240097       11/12/2011      10:08:32
18221      3234241047       6/27/2012       18:02:01
18222      3234241999       5/26/2012       10:09:04
18223      3234242487       2/16/2012       11:23:50
18224      3234242670       10/7/2011       10:18:24
18225      3234242727       10/17/2011      11:11:07
18226      3234242763       1/3/2012        16:53:00
18227      3234245990       6/27/2012       12:26:53
18228      3234245990       7/8/2012        13:34:52
18229      3234246039       12/15/2011      10:21:59
18230      3234246698       9/27/2011       18:19:09
18231      3234248445       9/15/2011       10:57:08
18232      3234248727       9/22/2011       15:37:25
18233      3234248727       10/29/2011      12:02:46
18234      3234283391       10/12/2012      21:27:32
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18235      3234285252       10/6/2011       18:06:02
18236      3234285525       2/24/2012       20:58:57
18237      3234343244       12/1/2011       10:37:16
18238      3234390866       1/12/2012       10:11:52
18239      3234392238       9/14/2011       16:57:14
18240      3234392238       9/26/2011       13:20:44
18241      3234392238       10/15/2011      11:11:46
18242      3234394674       8/31/2011       11:10:35
18243      3234396647       3/7/2012        19:00:47
18244      3234401387       5/31/2012       15:02:36
18245      3234401387       6/30/2012       15:57:37
18246      3234404032       10/8/2011       12:19:54
18247      3234405919       5/8/2012        21:29:53
18248      3234415004       6/4/2012        21:07:33
18249      3234450508       3/5/2012        11:06:16
18250      3234450508       4/11/2012       11:33:09
18251      3234453133       12/12/2011      11:59:24
18252      3234454790       9/20/2012       21:02:22
18253      3234456337       2/24/2012       21:49:28
18254      3234465749       12/29/2011      21:41:04
18255      3234470105       11/9/2011       10:28:35
18256      3234472883       9/9/2011        18:32:20
18257      3234474377       4/20/2012       14:38:28
18258      3234476867       3/29/2012       16:36:02
18259      3234487699       6/9/2012        15:12:59
18260      3234499149       4/5/2012        14:28:51
18261      3234499938       7/17/2012       21:56:41
18262      3234556729       7/2/2012        15:33:15
18263      3234559589       10/5/2011       14:50:51
18264      3234566884       12/24/2011      11:36:32
18265      3234594099       3/3/2012        10:40:54
18266      3234594216       4/27/2012       17:23:09
18267      3234701238       4/6/2012        15:47:28
18268      3234705716       8/6/2013        15:34:40
18269      3234709510       6/22/2012       20:58:44
18270      3234709510       7/6/2012        16:55:39
18271      3234721494       5/29/2012       17:08:46
18272      3234742004       9/13/2011       16:54:30
18273      3234742893       2/2/2012        21:01:27
18274      3234745257       12/30/2011      12:51:23
18275      3234762374       9/23/2011       18:50:19
18276      3234765225       10/17/2011      10:04:40
18277      3234765770       10/11/2012      18:50:20
18278      3234791021       5/11/2012       12:34:12
18279      3234798323       12/28/2011      20:51:47
18280      3234811775       4/1/2012        16:08:45
18281      3234812468       3/6/2012        20:31:31
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18282      3234812538       1/7/2012        10:17:58
18283      3234812538       1/12/2012       10:14:17
18284      3234812942       9/1/2011        15:37:08
18285      3234816688       10/3/2012       19:57:28
18286      3234819543       1/11/2012       11:01:17
18287      3234819809       12/10/2011      12:34:52
18288      3234822803       11/2/2011       14:30:46
18289      3234829811       5/9/2012        16:09:47
18290      3234852830       4/5/2012        14:38:56
18291      3234902166       10/6/2011       18:03:23
18292      3234902621       11/10/2011      14:34:10
18293      3234903726       4/21/2012       16:47:40
18294      3234904146       10/15/2012      10:20:04
18295      3234908204       10/28/2011      14:34:27
18296      3234908527       9/27/2012       16:19:41
18297      3234909868       9/21/2011       19:31:36
18298      3234915195       8/24/2012       11:03:50
18299      3234915195       10/1/2012       21:34:03
18300      3234926643       8/15/2012       21:43:20
18301      3234926643       8/23/2012       21:07:22
18302      3234929113       5/11/2012       18:37:40
18303      3234931884       12/1/2011       10:37:09
18304      3234933314       9/27/2011       18:56:50
18305      3234933314       3/29/2012       18:54:05
18306      3234935014       5/26/2012       10:07:14
18307      3234939856       11/30/2011      13:09:50
18308      3234940601       6/8/2012        12:36:34
18309      3234944711       1/16/2012       17:18:25
18310      3234945747       10/5/2011       14:22:38
18311      3234948896       9/20/2011       18:51:01
18312      3234948896       10/24/2011      14:49:10
18313      3234950307       3/13/2012       18:53:00
18314      3234950967       1/18/2012       16:46:02
18315      3234953240       1/27/2012       20:07:35
18316      3234953619       10/18/2011      13:12:23
18317      3234955442       10/11/2012      18:42:50
18318      3234955729       9/10/2012       21:07:42
18319      3234957519       3/7/2012        18:37:53
18320      3234958307       6/26/2012       16:13:02
18321      3234959538       12/10/2011      12:32:05
18322      3234966223       9/8/2011        19:36:45
18323      3234966691       11/7/2011       11:00:28
18324      3234973401       7/11/2013       21:20:56
18325      3235006085       10/8/2011       10:26:37
18326      3235006918       4/13/2012       13:43:35
18327      3235007720       11/17/2011      14:54:26
18328      3235008340       12/20/2011      20:55:41
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18329      3235009015       1/10/2012       20:53:58
18330      3235016627       12/5/2011       18:41:47
18331      3235018102       4/23/2012       20:48:28
18332      3235019667       12/10/2011      14:30:58
18333      3235030765       6/5/2012        19:46:10
18334      3235036073       3/27/2012       14:57:43
18335      3235038600       10/8/2011       10:25:12
18336      3235038814       4/18/2012       10:06:53
18337      3235038814       4/23/2012       20:49:09
18338      3235039044       9/12/2011       14:35:20
18339      3235039082       9/19/2011       14:48:39
18340      3235065633       10/15/2011      10:08:43
18341      3235136448       9/30/2011       10:26:38
18342      3235140396       9/20/2012       14:45:13
18343      3235140578       11/15/2011      20:18:31
18344      3235140651       9/3/2012        14:58:58
18345      3235141506       1/19/2012       18:43:48
18346      3235141539       4/26/2012       11:35:30
18347      3235142023       6/14/2012       16:06:10
18348      3235143811       5/31/2012       10:13:08
18349      3235147173       10/29/2011      12:01:05
18350      3235169405       10/17/2011      10:43:39
18351      3235169699       11/15/2011      15:52:52
18352      3235170449       9/4/2012        16:12:19
18353      3235174792       5/29/2012       17:17:28
18354      3235175397       5/3/2012        10:07:03
18355      3235175653       1/30/2012       10:17:01
18356      3235176387       3/21/2012       18:35:29
18357      3235187404       6/5/2012        18:00:57
18358      3235191542       11/18/2011      13:10:13
18359      3235196242       3/13/2012       18:34:06
18360      3235199853       10/20/2012      10:34:27
18361      3235227188       3/27/2012       14:57:31
18362      3235234997       4/23/2012       13:06:17
18363      3235236895       10/16/2012      20:33:51
18364      3235272526       10/14/2011      13:03:20
18365      3235284759       2/1/2012        13:33:30
18366      3235285806       10/17/2012      12:49:28
18367      3235322885       10/5/2011       14:21:10
18368      3235322885       10/26/2011      13:25:24
18369      3235322885       9/19/2012       16:26:55
18370      3235332344       11/28/2011      17:09:38
18371      3235332375       11/21/2011      10:43:59
18372      3235333417       12/21/2011      10:30:10
18373      3235334010       2/4/2012        13:17:44
18374      3235336008       10/8/2011       12:22:18
18375      3235336008       10/17/2011      10:40:07
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18376      3235339334       1/14/2012       13:23:43
18377      3235351183       3/27/2012       15:08:48
18378      3235351341       10/16/2012      16:40:55
18379      3235351912       10/8/2012       20:04:16
18380      3235353756       11/28/2011      12:27:05
18381      3235353941       9/4/2012        21:53:22
18382      3235355505       3/19/2011       10:46:06
18383      3235357306       7/11/2011       12:36:05
18384      3235357879       3/19/2012       19:26:52
18385      3235358142       3/6/2012        20:27:36
18386      3235358843       10/17/2012      12:45:16
18387      3235403489       8/1/2011        19:27:07
18388      3235406344       1/31/2012       10:05:24
18389      3235406860       2/21/2012       16:22:09
18390      3235422772       2/24/2012       20:53:06
18391      3235436842       11/9/2011       10:40:59
18392      3235474181       9/14/2011       16:57:32
18393      3235522845       10/8/2011       12:23:27
18394      3235572494       6/8/2012        19:45:29
18395      3235572494       9/28/2012       16:40:28
18396      3235572997       7/2/2012        17:10:38
18397      3235576251       11/25/2011      17:59:30
18398      3235577092       7/12/2011       11:57:35
18399      3235579225       6/5/2012        18:00:48
18400      3235592521       6/18/2012       10:40:47
18401      3235594632       8/27/2011       10:52:45
18402      3235595743       9/8/2011        18:16:29
18403      3235595968       10/7/2011       10:31:58
18404      3235596150       7/28/2012       11:12:41
18405      3235596169       3/14/2012       19:39:05
18406      3235630990       7/11/2011       12:04:00
18407      3235660551       12/29/2011      19:09:14
18408      3235706887       12/18/2011      17:54:53
18409      3235707646       6/16/2012       15:35:55
18410      3235707887       10/20/2012      10:34:25
18411      3235710129       10/17/2011      10:36:47
18412      3235711470       6/18/2011       15:39:43
18413      3235712057       2/3/2012        20:21:59
18414      3235712301       3/15/2012       14:05:17
18415      3235713547       3/9/2012        15:51:02
18416      3235715210       5/22/2012       18:23:45
18417      3235716767       9/20/2011       16:57:03
18418      3235716934       7/19/2012       17:45:44
18419      3235716949       5/7/2012        14:54:57
18420      3235716954       10/4/2011       13:29:22
18421      3235718006       9/16/2011       13:09:01
18422      3235720244       5/28/2012       14:51:02
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18423      3235727729       12/27/2011      14:42:52
18424      3235728972       12/20/2011      19:40:39
18425      3235729625       4/18/2012       10:06:49
18426      3235733624       6/5/2012        15:40:57
18427      3235733772       10/1/2012       13:53:25
18428      3235735690       3/2/2012        19:04:38
18429      3235740705       11/11/2011      13:29:15
18430      3235740967       10/4/2011       13:30:25
18431      3235740967       10/17/2011      10:42:12
18432      3235740967       12/23/2011      16:12:38
18433      3235772222       3/26/2011       12:41:31
18434      3235772393       4/20/2012       20:49:38
18435      3235807945       4/30/2012       21:03:28
18436      3235860450       4/9/2012        18:21:09
18437      3235875927       12/26/2011      20:11:55
18438      3235901048       7/23/2012       13:10:18
18439      3235902167       7/18/2012       18:33:07
18440      3235907865       10/2/2012       10:09:30
18441      3235907915       8/1/2012        11:00:20
18442      3235908957       4/16/2012       16:09:56
18443      3235921013       11/4/2011       10:29:19
18444      3235922747       10/5/2012       18:20:54
18445      3235924184       11/11/2011      13:27:45
18446      3235924982       4/25/2012       18:42:51
18447      3235924982       5/29/2012       17:17:32
18448      3235941012       9/10/2011       12:35:48
18449      3235949470       12/10/2011      14:53:14
18450      3235955408       6/14/2012       16:19:31
18451      3235965183       7/6/2012        14:52:45
18452      3235991228       7/28/2012       11:11:37
18453      3235993556       3/2/2012        19:19:09
18454      3235998133       7/29/2011       20:26:53
18455      3236004774       9/8/2011        19:35:56
18456      3236007022       10/21/2011      12:53:49
18457      3236014777       8/15/2012       21:43:11
18458      3236027439       12/6/2011       13:19:11
18459      3236027439       1/10/2012       15:38:28
18460      3236027576       9/8/2011        19:55:10
18461      3236027919       11/17/2011      16:11:02
18462      3236029432       1/3/2012        16:25:27
18463      3236031024       5/2/2012        21:08:04
18464      3236036346       1/8/2012        16:49:15
18465      3236037671       10/24/2011      14:54:56
18466      3236037702       12/7/2011       14:25:03
18467      3236037702       5/6/2012        21:10:12
18468      3236038449       9/23/2011       19:05:30
18469      3236053628       7/16/2012       19:42:28
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18470      3236054649       8/15/2011       10:16:16
18471      3236055818       5/20/2011       18:14:36
18472      3236059418       4/11/2012       19:38:45
18473      3236059605       10/26/2011      13:27:33
18474      3236062684       10/15/2011      10:10:04
18475      3236062831       10/8/2011       12:24:16
18476      3236063532       11/16/2011      10:53:32
18477      3236081898       1/10/2012       20:53:33
18478      3236084084       5/3/2012        10:08:55
18479      3236084308       5/29/2012       10:53:42
18480      3236102458       3/2/2012        15:31:03
18481      3236170319       11/30/2011      12:53:08
18482      3236176238       5/13/2012       18:09:40
18483      3236177443       9/11/2013       12:57:59
18484      3236201188       10/1/2011       11:02:19
18485      3236207228       1/13/2012       17:29:52
18486      3236208359       8/27/2011       12:23:35
18487      3236208691       9/28/2011       10:39:49
18488      3236209562       2/2/2012        16:35:37
18489      3236270388       10/19/2011      15:23:54
18490      3236270597       2/9/2012        20:33:17
18491      3236293032       4/30/2012       14:40:17
18492      3236293032       5/3/2012        21:15:57
18493      3236296585       2/21/2012       20:52:33
18494      3236299511       8/6/2012        14:00:13
18495      3236299790       4/4/2012        14:06:25
18496      3236301574       9/20/2012       21:02:04
18497      3236302722       10/3/2012       10:24:48
18498      3236304030       10/14/2011      13:37:08
18499      3236322198       1/25/2012       20:27:54
18500      3236322425       3/14/2012       20:04:34
18501      3236322926       8/27/2012       14:28:26
18502      3236325485       7/30/2012       18:49:30
18503      3236332244       3/20/2012       17:33:04
18504      3236332273       6/13/2012       20:01:13
18505      3236337346       4/25/2012       21:23:35
18506      3236337355       10/1/2011       10:57:52
18507      3236350766       3/19/2012       19:26:05
18508      3236353736       6/2/2012        13:13:06
18509      3236355363       8/13/2011       12:15:55
18510      3236355529       7/16/2012       14:28:36
18511      3236355760       8/27/2011       12:09:07
18512      3236355766       4/12/2012       14:21:03
18513      3236355808       9/28/2011       10:43:42
18514      3236356628       5/13/2011       11:52:19
18515      3236357987       12/18/2011      16:52:18
18516      3236358365       3/1/2012        21:39:32
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18517      3236358367       7/11/2012       15:54:09
18518      3236358367       9/22/2012       12:21:51
18519      3236361258       7/23/2011       13:16:45
18520      3236365802       8/14/2012       21:03:27
18521      3236366073       2/18/2012       10:21:04
18522      3236367712       8/17/2012       21:24:16
18523      3236370191       8/11/2011       12:34:52
18524      3236376118       12/8/2011       21:11:10
18525      3236378030       10/11/2012      18:50:46
18526      3236397950       2/20/2012       13:55:25
18527      3236402272       12/8/2011       21:11:14
18528      3236412398       4/2/2012        12:52:28
18529      3236464644       4/18/2012       17:54:03
18530      3236674841       9/23/2011       19:07:49
18531      3236675202       8/21/2012       13:56:13
18532      3236676171       12/28/2011      20:48:19
18533      3236676476       10/16/2012      16:35:22
18534      3236676732       3/18/2012       12:27:18
18535      3236710715       11/3/2011       18:06:32
18536      3236718645       9/21/2011       11:38:33
18537      3236719913       4/19/2012       20:18:31
18538      3236741224       3/3/2012        17:25:27
18539      3236741290       10/17/2011      10:38:25
18540      3236741290       11/15/2011      16:44:14
18541      3236743554       7/6/2012        14:43:43
18542      3236743724       5/13/2011       11:45:50
18543      3236744779       10/1/2012       13:39:30
18544      3236744822       12/3/2011       10:34:22
18545      3236745094       10/13/2013      18:01:53
18546      3236745288       5/7/2011        15:42:49
18547      3236746518       9/1/2012        11:47:00
18548      3236746847       1/9/2012        18:48:33
18549      3236747467       2/9/2012        14:37:39
18550      3236748102       6/25/2012       21:52:46
18551      3236748102       10/6/2012       11:04:40
18552      3236748379       11/10/2011      14:34:26
18553      3236748988       4/23/2012       13:08:41
18554      3236748988       5/22/2012       18:32:03
18555      3236749080       12/12/2011      16:26:33
18556      3236773495       8/8/2011        16:07:39
18557      3236778110       9/21/2011       12:04:01
18558      3236786472       5/4/2012        18:15:08
18559      3236795360       12/24/2011      11:34:00
18560      3236802647       9/20/2011       16:58:05
18561      3236806603       3/5/2012        11:07:22
18562      3236808228       12/21/2011      10:22:04
18563      3236811087       10/5/2011       14:50:04
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18564      3236832783       9/20/2011       20:51:27
18565      3236835444       6/18/2012       15:30:57
18566      3236847076       12/27/2011      14:42:18
18567      3236872235       9/5/2012        15:22:30
18568      3236912089       1/12/2012       14:09:53
18569      3236912469       8/6/2011        12:47:37
18570      3236916704       10/17/2011      10:38:04
18571      3236916704       10/25/2011      15:48:12
18572      3236916854       6/7/2011        18:17:49
18573      3236918123       1/5/2012        14:09:22
18574      3236918196       10/11/2011      16:45:14
18575      3236959337       12/5/2011       18:20:53
18576      3236959528       4/15/2012       19:58:06
18577      3236974391       10/29/2011      11:59:25
18578      3236975220       10/10/2012      19:08:13
18579      3237021363       12/21/2011      10:22:04
18580      3237023226       5/29/2012       10:59:45
18581      3237028829       12/20/2011      19:41:00
18582      3237046302       3/16/2012       10:28:13
18583      3237061151       2/28/2012       13:22:03
18584      3237064451       4/25/2012       18:43:12
18585      3237072403       3/12/2012       16:52:52
18586      3237078349       10/22/2011      13:23:04
18587      3237078552       7/28/2012       11:15:50
18588      3237102465       4/29/2012       18:25:01
18589      3237107098       5/7/2012        21:41:29
18590      3237109266       2/3/2012        14:38:57
18591      3237121224       4/9/2012        17:55:23
18592      3237122971       1/11/2012       10:57:28
18593      3237123019       9/18/2012       21:29:03
18594      3237123725       10/7/2011       10:36:41
18595      3237152175       5/17/2012       12:18:32
18596      3237156625       4/13/2012       20:47:15
18597      3237171122       2/3/2012        14:36:54
18598      3237172144       10/17/2011      11:00:57
18599      3237173742       5/3/2012        21:19:35
18600      3237173753       9/30/2011       10:10:33
18601      3237175563       7/17/2012       21:56:02
18602      3237175563       10/5/2012       12:45:41
18603      3237177645       11/12/2011      10:04:36
18604      3237182182       4/19/2012       20:24:47
18605      3237190000       3/12/2012       16:52:51
18606      3237190000       8/2/2012        20:49:07
18607      3237191212       9/10/2011       12:46:28
18608      3237193046       10/8/2011       12:30:51
18609      3237193493       8/24/2012       11:04:01
18610      3237199091       1/16/2012       17:19:01
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18611      3237227495       2/1/2012        13:34:05
18612      3237337263       9/21/2011       19:31:54
18613      3237426430       10/6/2011       17:57:55
18614      3237427451       3/26/2012       18:31:49
18615      3237430107       10/17/2012      18:38:11
18616      3237435042       5/13/2012       18:21:45
18617      3237437465       9/10/2011       12:46:21
18618      3237470163       12/17/2011      11:44:30
18619      3237473348       12/6/2011       13:42:35
18620      3237702721       11/11/2011      20:27:44
18621      3237702828       2/20/2012       14:01:46
18622      3237702898       12/10/2013      18:50:15
18623      3237703257       3/27/2012       10:34:02
18624      3237707782       11/23/2011      14:47:08
18625      3237725961       9/14/2011       21:30:57
18626      3237749116       9/19/2011       19:36:44
18627      3237749422       4/16/2012       10:14:37
18628      3237793974       11/29/2011      15:51:18
18629      3237814256       11/30/2011      13:05:49
18630      3237844035       11/2/2011       14:12:38
18631      3237870455       5/15/2012       19:10:55
18632      3237870488       1/3/2012        19:52:59
18633      3237871012       6/5/2012        18:02:02
18634      3237872842       10/26/2011      12:43:42
18635      3237872903       8/7/2012        17:46:04
18636      3237875621       11/18/2011      12:33:51
18637      3237879699       9/4/2012        16:12:14
18638      3237880050       3/16/2012       10:28:13
18639      3237880050       3/26/2012       18:54:10
18640      3237881321       7/28/2011       10:09:41
18641      3237883189       12/6/2011       13:46:38
18642      3237883904       2/16/2012       11:25:49
18643      3237887150       7/10/2012       12:01:45
18644      3237910075       5/14/2012       15:46:31
18645      3237919533       9/4/2012        16:12:18
18646      3237919912       11/18/2011      13:36:36
18647      3237930763       10/8/2011       10:17:27
18648      3237931248       5/29/2012       10:59:49
18649      3237931578       10/2/2012       10:09:00
18650      3237932574       3/2/2012        15:32:04
18651      3237932732       10/19/2012      11:31:17
18652      3237933834       9/30/2011       10:11:42
18653      3237986311       1/10/2012       20:54:30
18654      3237993290       8/30/2012       10:49:02
18655      3237995161       8/9/2012        21:57:28
18656      3237998064       4/26/2011       20:36:44
18657      3237998064       10/4/2011       14:00:07
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18658      3238023142       3/2/2014        15:40:00
18659      3238024918       9/8/2011        18:22:35
18660      3238038225       3/14/2012       14:13:46
18661      3238040484       2/11/2012       15:49:41
18662      3238042170       9/3/2012        14:59:47
18663      3238043545       11/17/2011      16:51:06
18664      3238043794       10/13/2012      11:45:12
18665      3238049854       10/10/2011      12:05:25
18666      3238051326       7/13/2012       14:06:51
18667      3238061149       10/11/2011      17:45:09
18668      3238062505       3/23/2012       19:56:32
18669      3238062505       4/13/2012       20:42:57
18670      3238062960       5/7/2012        21:45:10
18671      3238063847       3/12/2012       11:13:34
18672      3238070495       5/2/2012        21:06:54
18673      3238071286       1/4/2012        11:11:01
18674      3238071286       4/22/2012       15:45:32
18675      3238074458       5/11/2012       21:28:45
18676      3238074970       9/20/2011       16:56:15
18677      3238076813       7/6/2012        16:55:40
18678      3238077288       2/14/2012       17:03:07
18679      3238077288       5/3/2012        21:19:55
18680      3238093195       10/29/2011      11:09:22
18681      3238095790       10/26/2011      13:20:01
18682      3238098408       7/15/2011       17:58:13
18683      3238098690       5/1/2012        10:19:35
18684      3238099734       3/1/2012        17:33:53
18685      3238099970       11/11/2011      13:50:50
18686      3238101417       10/3/2011       10:43:33
18687      3238102656       1/4/2012        11:11:01
18688      3238103450       4/16/2012       16:11:58
18689      3238107018       1/25/2012       20:28:02
18690      3238107510       8/13/2012       21:02:05
18691      3238108306       12/27/2011      14:43:08
18692      3238120221       12/15/2011      21:40:14
18693      3238120279       4/25/2012       18:43:05
18694      3238120842       9/20/2011       20:38:39
18695      3238120860       5/6/2012        20:28:02
18696      3238122479       10/29/2011      11:05:06
18697      3238122497       10/17/2011      10:37:39
18698      3238122497       11/1/2011       11:19:06
18699      3238126417       5/6/2011        16:06:53
18700      3238126501       9/7/2011        14:53:36
18701      3238128307       2/14/2012       16:53:15
18702      3238129394       9/28/2011       10:40:19
18703      3238129394       10/17/2011      10:32:30
18704      3238163358       2/2/2012        21:00:10
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18705      3238169954       1/14/2012       15:09:55
18706      3238175126       3/21/2012       18:36:05
18707      3238175668       7/3/2012        12:22:51
18708      3238178432       10/13/2012      11:46:21
18709      3238179243       7/31/2012       21:04:20
18710      3238191791       10/5/2011       14:51:29
18711      3238197757       8/29/2012       20:23:29
18712      3238199606       8/9/2011        13:11:12
18713      3238208693       7/27/2011       17:43:04
18714      3238212969       9/20/2012       21:01:51
18715      3238226079       2/7/2012        20:27:17
18716      3238228057       9/28/2011       10:40:19
18717      3238228445       9/28/2011       11:31:11
18718      3238228867       12/23/2011      15:15:16
18719      3238230018       10/31/2011      10:24:52
18720      3238233002       3/1/2012        17:35:07
18721      3238233299       2/20/2012       17:17:49
18722      3238260377       4/16/2011       15:34:29
18723      3238260650       6/22/2012       10:39:13
18724      3238264903       9/22/2012       12:17:06
18725      3238264903       9/27/2012       13:27:20
18726      3238268054       9/19/2011       19:19:57
18727      3238284629       11/30/2011      15:32:58
18728      3238286562       9/13/2011       14:38:28
18729      3238287057       8/7/2012        17:57:01
18730      3238292085       8/9/2012        14:14:10
18731      3238295806       12/30/2011      12:46:52
18732      3238300863       8/27/2011       12:22:04
18733      3238301963       9/19/2012       16:23:46
18734      3238303257       4/25/2012       21:25:28
18735      3238303575       3/27/2012       10:40:16
18736      3238303659       5/25/2012       11:58:00
18737      3238304876       10/1/2012       13:37:58
18738      3238305222       7/26/2012       19:16:02
18739      3238305420       12/22/2011      10:13:09
18740      3238306258       7/6/2012        14:53:26
18741      3238307289       3/8/2012        15:35:21
18742      3238307435       3/17/2012       11:54:57
18743      3238309657       9/19/2011       19:36:28
18744      3238332855       2/15/2012       21:04:25
18745      3238357137       1/25/2012       20:32:54
18746      3238364688       2/24/2011       14:39:48
18747      3238393208       10/14/2011      13:34:10
18748      3238398945       9/28/2011       10:46:47
18749      3238419181       8/3/2012        16:26:13
18750      3238424371       9/26/2011       13:21:05
18751      3238452636       5/7/2012        15:01:08
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18752      3238452995       9/20/2011       20:40:37
18753      3238455160       7/26/2012       12:24:07
18754      3238455952       1/18/2012       16:56:00
18755      3238548186       4/9/2012        13:41:46
18756      3238550105       11/4/2011       10:11:50
18757      3238551244       1/11/2012       10:58:37
18758      3238556011       8/18/2012       10:54:20
18759      3238617169       5/4/2012        14:55:37
18760      3238641434       9/27/2011       18:52:28
18761      3238644055       4/1/2012        17:36:42
18762      3238647785       9/26/2011       13:29:30
18763      3238671375       4/14/2012       10:26:19
18764      3238672091       7/7/2012        10:10:33
18765      3238672670       9/8/2011        19:13:09
18766      3238681087       7/13/2012       14:06:07
18767      3238686326       11/21/2011      10:57:21
18768      3238737802       5/3/2012        10:07:53
18769      3238777530       10/3/2012       10:33:01
18770      3238930919       10/22/2012      18:03:10
18771      3238931631       9/10/2011       9:17:38
18772      3238931631       9/28/2011       11:13:12
18773      3238932686       1/26/2012       10:35:42
18774      3238937922       9/2/2011        13:21:51
18775      3238938674       8/15/2012       21:43:20
18776      3238954473       10/17/2011      10:39:05
18777      3238956956       5/10/2012       21:32:33
18778      3238962181       1/12/2012       10:11:47
18779      3238985049       4/23/2012       13:10:50
18780      3238988225       9/28/2012       16:46:12
18781      3238989928       5/11/2012       14:40:38
18782      3238990513       9/27/2012       16:34:03
18783      3239009297       10/10/2012      19:24:25
18784      3239010926       5/31/2012       10:10:39
18785      3239011133       10/20/2012      10:34:02
18786      3239012646       9/15/2012       11:27:50
18787      3239017148       12/10/2011      14:31:14
18788      3239017252       7/31/2012       21:07:49
18789      3239017445       6/1/2011        12:20:40
18790      3239017612       2/25/2012       10:46:22
18791      3239018620       11/26/2011      13:51:30
18792      3239018655       8/22/2012       21:46:04
18793      3239064194       6/6/2012        21:22:13
18794      3239064275       3/29/2012       16:49:18
18795      3239064558       5/10/2012       21:32:23
18796      3239064659       1/13/2012       17:20:24
18797      3239064826       4/3/2012        20:12:36
18798      3239065672       10/25/2012      12:17:37
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18799      3239065711       5/17/2012       12:16:03
18800      3239069314       6/24/2012       11:34:35
18801      3239073410       6/5/2012        19:46:05
18802      3239074247       7/6/2012        16:48:27
18803      3239076119       8/13/2012       20:55:12
18804      3239078745       4/1/2012        17:45:46
18805      3239153051       12/26/2011      20:40:21
18806      3239153232       5/16/2012       11:55:46
18807      3239154089       5/16/2012       17:00:42
18808      3239154337       5/9/2012        14:34:55
18809      3239154697       3/14/2012       19:37:52
18810      3239155001       4/27/2012       21:04:16
18811      3239158841       11/16/2011      10:03:33
18812      3239192203       3/13/2012       18:52:44
18813      3239192308       2/6/2012        17:27:29
18814      3239210056       10/3/2011       10:50:23
18815      3239210179       8/30/2011       16:46:11
18816      3239212142       5/15/2012       11:12:00
18817      3239212633       10/20/2011      16:42:31
18818      3239213225       12/18/2011      17:02:09
18819      3239213456       1/20/2012       20:31:09
18820      3239213490       9/15/2011       10:44:45
18821      3239213569       2/13/2012       11:40:12
18822      3239213891       10/16/2012      16:29:40
18823      3239214682       4/2/2012        12:55:58
18824      3239216379       1/25/2012       20:33:50
18825      3239216845       3/3/2012        10:39:42
18826      3239219440       2/11/2012       10:57:30
18827      3239238433       5/24/2012       20:06:43
18828      3239279954       5/26/2011       10:21:17
18829      3239280304       10/3/2012       19:57:35
18830      3239288235       10/19/2012      19:06:11
18831      3239421118       4/9/2011        14:09:09
18832      3239445072       8/8/2011        16:06:58
18833      3239445398       2/17/2012       18:24:51
18834      3239445836       6/8/2012        19:42:43
18835      3239446331       2/24/2012       20:53:06
18836      3239446723       7/2/2012        17:27:53
18837      3239446929       9/23/2011       11:54:09
18838      3239447461       10/12/2011      11:46:47
18839      3239447461       10/22/2011      12:47:40
18840      3239448517       9/19/2011       19:37:10
18841      3239448545       9/20/2011       18:51:15
18842      3239448686       5/21/2011       11:12:25
18843      3239449226       11/25/2011      18:38:35
18844      3239449754       5/10/2011       19:42:23
18845      3239449986       2/2/2012        16:35:31
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18846      3239452566       4/16/2012       15:54:03
18847      3239455648       9/29/2011       16:02:07
18848      3239457578       1/7/2012        10:29:06
18849      3239458479       6/25/2012       13:52:07
18850      3239471135       12/27/2011      14:42:31
18851      3239474113       6/13/2011       14:36:27
18852      3239474222       5/22/2012       11:25:12
18853      3239474682       5/3/2012        21:18:18
18854      3239474682       6/4/2012        21:07:11
18855      3239476207       11/11/2011      13:49:52
18856      3239476736       2/9/2012        14:33:59
18857      3239478589       11/16/2011      11:03:44
18858      3239479027       2/17/2012       18:24:53
18859      3239521822       12/24/2011      11:36:03
18860      3239630355       8/20/2012       18:45:26
18861      3239639082       9/20/2011       20:38:05
18862      3239721980       10/8/2012       20:12:58
18863      3239723041       5/24/2012       12:29:41
18864      3239723760       4/30/2012       14:39:07
18865      3239724921       4/11/2012       11:39:13
18866      3239725282       2/13/2012       11:39:35
18867      3239728456       3/21/2012       18:36:06
18868      3239729168       2/24/2011       12:07:30
18869      3239729332       4/24/2012       12:01:39
18870      3239729706       9/29/2011       15:25:54
18871      3239730541       9/29/2011       15:26:27
18872      3239736095       11/11/2011      20:16:07
18873      3239739422       3/11/2011       17:01:03
18874      3239742255       9/19/2011       19:36:16
18875      3239749782       1/16/2012       12:05:23
18876      3239792100       10/11/2012      12:12:52
18877      3239795312       7/5/2012        15:40:08
18878      3239795729       12/6/2011       13:21:16
18879      3239797778       11/19/2011      10:34:30
18880      3239799581       2/16/2012       11:28:34
18881      3239800890       9/8/2011        19:37:49
18882      3239831531       10/1/2012       13:43:31
18883      3239840906       12/12/2011      11:58:26
18884      3239842206       3/31/2012       22:33:18
18885      3239844065       9/22/2011       15:37:36
18886      3239845821       10/17/2011      10:38:53
18887      3239925714       10/7/2011       10:28:51
18888      3239975436       9/13/2011       18:22:13
18889      3239976803       11/14/2011      17:49:41
18890      3239983720       10/19/2012      11:30:08
18891      3252005526       9/28/2012       9:04:22
18892      3252005788       9/26/2011       13:18:38
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18893      3252016505       5/30/2012       12:41:34
18894      3252033516       4/3/2012        20:10:04
18895      3252033516       4/11/2012       11:28:20
18896      3252052848       9/24/2011       9:21:14
18897      3252052928       9/21/2011       19:34:35
18898      3252060996       6/9/2012        14:46:38
18899      3252072414       11/5/2011       10:00:32
18900      3252077940       9/29/2011       15:16:44
18901      3252078651       6/27/2012       18:00:54
18902      3252122172       7/19/2012       17:39:05
18903      3252122172       8/16/2012       9:30:45
18904      3252123859       5/7/2011        15:12:04
18905      3252124037       6/20/2012       17:00:18
18906      3252140003       12/24/2011      12:31:21
18907      3252147457       12/10/2011      14:44:38
18908      3252261665       9/20/2012       8:48:38
18909      3252261918       8/14/2012       20:45:49
18910      3252265453       3/14/2012       19:46:51
18911      3252270954       10/1/2011       9:57:26
18912      3252270954       11/8/2011       13:53:28
18913      3252277266       10/17/2012      9:31:56
18914      3252279992       1/23/2012       18:59:10
18915      3252324675       3/25/2012       12:02:10
18916      3252329597       11/28/2011      16:56:20
18917      3252340023       9/15/2011       8:52:55
18918      3252343132       10/2/2012       12:56:41
18919      3252343132       10/24/2012      14:49:50
18920      3252346735       1/9/2012        18:12:57
18921      3252346797       11/30/2011      8:07:10
18922      3252360367       9/18/2012       14:17:49
18923      3252362769       10/17/2012      9:37:25
18924      3252362898       11/26/2011      13:38:54
18925      3252421247       10/3/2011       8:14:08
18926      3252424771       4/26/2012       17:30:14
18927      3252455042       10/10/2011      11:54:47
18928      3252455636       9/13/2012       15:22:10
18929      3252456570       9/21/2012       18:51:14
18930      3252459334       12/23/2011      14:25:27
18931      3252484009       10/8/2012       8:18:53
18932      3252601169       6/27/2012       17:52:07
18933      3252605153       10/20/2012      16:23:38
18934      3252607286       12/5/2011       11:09:30
18935      3252608321       8/10/2011       19:14:00
18936      3252671188       9/19/2011       19:13:24
18937      3252671220       9/9/2011        17:57:51
18938      3252771681       8/9/2012        14:02:57
18939      3252776917       4/2/2012        8:58:29
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18940      3252777081       1/25/2012       20:26:35
18941      3252777701       1/18/2012       20:21:49
18942      3252801088       10/12/2011      8:19:50
18943      3252804486       2/13/2012       8:20:15
18944      3252806981       11/30/2011      8:08:44
18945      3252808382       8/30/2012       17:32:49
18946      3252808683       11/14/2011      17:05:00
18947      3253156398       8/10/2011       19:14:29
18948      3253156398       12/26/2011      20:20:13
18949      3253200063       12/8/2011       12:40:27
18950      3253201313       9/8/2011        18:54:44
18951      3253202639       9/29/2012       10:16:25
18952      3253203279       9/28/2012       16:43:47
18953      3253203544       2/16/2012       8:29:05
18954      3253300773       12/23/2011      14:02:19
18955      3253302245       10/6/2011       17:50:04
18956      3253385490       9/21/2011       11:59:38
18957      3253400462       9/13/2011       17:49:02
18958      3253477031       7/21/2012       10:29:05
18959      3253477084       11/22/2011      19:38:09
18960      3253477444       5/21/2012       8:10:32
18961      3253650020       1/16/2012       17:31:18
18962      3253742517       5/5/2011        13:19:56
18963      3253870287       12/10/2011      8:34:28
18964      3253874734       10/7/2011       8:04:05
18965      3253885789       10/13/2012      9:14:45
18966      3254231346       11/1/2011       8:07:36
18967      3254286011       6/10/2011       8:21:30
18968      3254367119       9/15/2011       8:49:13
18969      3254369368       10/27/2011      16:50:11
18970      3254391024       1/19/2012       18:08:39
18971      3254500768       4/23/2012       8:15:35
18972      3254501094       4/11/2012       13:01:45
18973      3254506234       9/21/2012       19:00:59
18974      3254507210       4/23/2012       8:08:39
18975      3254508384       11/10/2011      8:10:08
18976      3254555020       6/12/2012       17:12:50
18977      3254556351       10/5/2011       14:40:21
18978      3254561061       10/13/2012      9:17:34
18979      3254568340       9/17/2011       10:25:42
18980      3255135664       6/21/2011       13:59:37
18981      3255137599       10/8/2011       11:39:53
18982      3255137610       9/28/2011       11:18:04
18983      3255147326       12/23/2011      15:02:30
18984      3255183818       2/11/2012       11:23:27
18985      3255184843       10/5/2011       14:14:58
18986      3255185346       10/15/2011      10:36:36
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18987      3255744850       9/8/2011        18:14:44
18988      3256420941       1/11/2012       8:47:18
18989      3256424809       10/12/2011      8:42:49
18990      3256425624       5/12/2012       8:45:43
18991      3256429523       1/3/2012        16:52:23
18992      3256501762       7/27/2012       15:34:23
18993      3256502591       9/27/2011       15:28:39
18994      3256505169       8/1/2012        20:12:54
18995      3256506963       3/10/2012       8:55:47
18996      3256560123       12/23/2011      14:59:54
18997      3256560562       5/26/2012       8:54:25
18998      3256562070       2/10/2012       9:29:01
18999      3256602554       1/24/2012       17:21:50
19000      3256604922       4/22/2012       15:28:07
19001      3256652230       12/10/2011      12:22:26
19002      3256656234       1/5/2012        12:04:27
19003      3256681512       8/9/2012        14:12:41
19004      3256681512       9/20/2012       8:48:47
19005      3256684706       5/24/2012       11:54:59
19006      3256685167       7/12/2012       19:53:41
19007      3256686515       4/15/2012       17:14:25
19008      3256692718       5/3/2012        8:06:08
19009      3256694964       12/1/2011       15:02:56
19010      3257188482       3/7/2012        18:57:04
19011      3257250961       10/8/2011       11:46:28
19012      3257252604       6/9/2011        10:50:07
19013      3257254431       6/5/2012        17:57:06
19014      3257254521       5/30/2012       12:52:23
19015      3257255044       2/9/2012        20:35:44
19016      3257287000       9/21/2012       18:42:11
19017      3257334296       7/20/2012       14:57:49
19018      3257337467       10/25/2012      12:28:01
19019      3257337547       8/1/2011        19:19:34
19020      3257338962       7/12/2012       15:52:48
19021      3257631543       3/12/2012       19:25:09
19022      3257632365       7/11/2012       17:21:17
19023      3257632794       12/18/2011      16:24:01
19024      3257635060       5/25/2012       12:02:25
19025      3257635068       2/10/2012       9:19:24
19026      3258122573       4/29/2012       18:24:33
19027      3258124258       6/21/2012       18:50:58
19028      3258290677       10/8/2011       11:40:48
19029      3258291203       9/19/2011       19:33:28
19030      3258293961       2/28/2012       16:18:37
19031      3258297735       9/27/2011       18:13:32
19032      3258299320       2/29/2012       17:24:52
19033      3258646642       12/16/2011      15:41:51
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19034      3258680398       9/20/2011       16:44:29
19035      3258999007       10/5/2012       12:28:02
19036      3259330021       11/12/2011      10:30:49
19037      3259561042       9/24/2011       9:44:18
19038      3259561042       10/11/2011      16:15:10
19039      3259772077       9/10/2011       8:14:49
19040      3259981571       10/25/2011      15:39:29
19041      3259982731       10/10/2011      11:52:34
19042      3259983378       4/6/2012        15:43:37
19043      3259983635       12/26/2011      20:01:20
19044      3302013382       8/29/2012       10:55:29
19045      3302015403       1/9/2012        18:24:30
19046      3302015403       2/8/2012        7:36:25
19047      3302015403       3/13/2012       18:39:56
19048      3302037879       8/16/2011       16:41:25
19049      3302038615       7/25/2012       11:53:49
19050      3302044057       9/8/2011        17:51:23
19051      3302046946       9/16/2011       12:58:22
19052      3302061850       1/4/2012        11:16:44
19053      3302064602       9/30/2011       10:09:29
19054      3302068427       2/14/2012       16:36:04
19055      3302088024       10/11/2012      18:31:18
19056      3302090182       3/17/2012       8:44:11
19057      3302090800       10/14/2011      19:16:36
19058      3302091652       12/18/2011      18:03:44
19059      3302094865       10/22/2011      13:06:11
19060      3302097195       9/24/2011       9:30:45
19061      3302097195       12/7/2011       18:11:34
19062      3302097218       3/16/2012       10:20:25
19063      3302097218       5/3/2012        8:08:23
19064      3302097218       5/21/2012       8:04:04
19065      3302097218       5/21/2012       8:18:51
19066      3302097364       10/11/2011      16:46:11
19067      3302097754       4/30/2012       14:29:58
19068      3302098149       4/22/2012       15:19:27
19069      3302099036       6/3/2011        7:19:50
19070      3302120554       10/22/2011      12:55:26
19071      3302121330       9/13/2011       7:08:53
19072      3302126080       11/25/2011      18:05:26
19073      3302175916       11/25/2011      18:09:49
19074      3302178150       10/3/2012       9:24:49
19075      3302191778       5/2/2014        12:27:45
19076      3302192199       1/23/2012       7:23:14
19077      3302196146       1/9/2012        18:22:51
19078      3302198848       11/19/2011      8:10:26
19079      3302231057       7/6/2012        14:44:51
19080      3302245098       11/29/2011      7:31:51
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19081      3302247589       6/20/2012       16:56:44
19082      3302249194       10/17/2011      7:35:19
19083      3302312791       12/12/2011      12:18:38
19084      3302317180       5/20/2011       17:37:14
19085      3302321132       8/10/2011       7:01:19
19086      3302321132       9/19/2011       19:11:27
19087      3302332479       5/26/2012       8:28:52
19088      3302334938       3/31/2012       17:23:17
19089      3302334999       1/17/2012       18:29:31
19090      3302335392       7/2/2011        8:58:38
19091      3302401474       9/2/2011        12:42:27
19092      3302405430       1/17/2012       7:10:57
19093      3302405430       5/11/2012       18:30:50
19094      3302405612       9/16/2011       12:52:14
19095      3302407824       10/17/2011      7:34:20
19096      3302422577       11/21/2011      7:19:09
19097      3302424546       11/10/2011      7:20:03
19098      3302424546       5/21/2012       7:02:07
19099      3302425826       11/22/2011      19:13:01
19100      3302447374       1/18/2012       16:40:00
19101      3302454047       3/7/2012        18:36:47
19102      3302458102       9/3/2012        14:27:29
19103      3302459096       12/23/2011      14:56:20
19104      3302571051       9/24/2011       9:04:48
19105      3302573237       3/19/2012       7:05:13
19106      3302601682       1/11/2012       16:29:09
19107      3302614721       9/11/2012       7:41:54
19108      3302616639       11/7/2011       7:49:57
19109      3302618862       9/28/2012       16:40:16
19110      3302619604       10/6/2011       17:24:18
19111      3302651214       3/29/2012       16:37:12
19112      3302657539       6/10/2012       14:35:07
19113      3302680527       1/14/2012       8:11:31
19114      3302680701       7/27/2012       15:28:16
19115      3302680920       10/18/2011      12:50:40
19116      3302682544       9/22/2011       15:55:16
19117      3302687565       3/15/2012       7:15:29
19118      3302711530       10/8/2011       10:54:02
19119      3302721552       2/6/2012        17:07:19
19120      3302725785       11/29/2011      16:14:40
19121      3302771830       3/7/2012        7:08:33
19122      3302773038       4/22/2012       15:14:10
19123      3302802172       10/7/2012       12:45:12
19124      3302802172       10/22/2012      17:53:23
19125      3302804683       10/19/2011      7:45:30
19126      3302819263       5/16/2012       7:07:39
19127      3302819547       12/1/2011       15:00:59
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19128      3302819930       9/15/2011       7:29:32
19129      3302837211       6/13/2012       7:14:25
19130      3302855398       7/21/2012       10:43:23
19131      3302892149       4/10/2012       11:48:58
19132      3302893337       4/10/2012       11:38:48
19133      3302895187       11/15/2011      15:07:02
19134      3302898584       4/21/2012       8:25:28
19135      3302898584       7/13/2012       17:05:36
19136      3302948457       2/29/2012       7:05:35
19137      3303016628       10/11/2011      15:42:50
19138      3303038582       2/25/2012       10:30:43
19139      3303039039       1/2/2014        17:27:42
19140      3303039408       10/5/2011       13:57:54
19141      3303042613       11/30/2011      7:24:21
19142      3303046239       2/11/2012       15:21:44
19143      3303104846       3/12/2012       19:15:02
19144      3303109289       11/17/2011      16:43:26
19145      3303130543       9/22/2011       15:02:58
19146      3303163507       7/24/2012       7:29:31
19147      3303163590       10/22/2012      17:47:52
19148      3303163915       10/13/2011      7:14:36
19149      3303176151       12/7/2011       14:02:21
19150      3303179980       1/24/2012       17:12:25
19151      3303180358       8/6/2011        9:16:34
19152      3303180855       2/11/2012       10:39:17
19153      3303219792       5/29/2012       17:12:22
19154      3303234263       11/11/2011      20:09:14
19155      3303247160       3/23/2012       19:48:09
19156      3303248169       10/18/2011      16:36:18
19157      3303248727       9/13/2011       7:08:14
19158      3303274966       3/21/2012       7:07:04
19159      3303279648       10/3/2011       7:03:05
19160      3303281391       10/19/2012      19:07:54
19161      3303285788       4/12/2012       18:13:56
19162      3303294171       2/14/2012       9:53:00
19163      3303294571       5/19/2012       16:03:08
19164      3303294805       1/3/2012        11:10:06
19165      3303296467       9/24/2012       18:51:02
19166      3303300504       3/24/2012       9:54:46
19167      3303302967       10/15/2011      10:18:39
19168      3303306844       12/20/2011      9:31:41
19169      3303307592       12/1/2011       7:48:38
19170      3303308291       7/3/2012        19:34:18
19171      3303309382       10/18/2012      7:16:16
19172      3303381154       7/26/2011       10:29:50
19173      3303388851       9/3/2012        14:27:16
19174      3303390614       12/5/2011       18:07:21
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19175      3303401174       6/29/2011       17:22:43
19176      3303401669       4/3/2012        15:56:47
19177      3303474423       6/18/2011       15:08:26
19178      3303474872       2/11/2012       10:44:54
19179      3303477353       10/1/2011       9:45:50
19180      3303478283       12/3/2011       9:41:04
19181      3303502741       6/29/2012       9:39:20
19182      3303510522       9/19/2011       7:11:32
19183      3303536018       1/12/2012       14:22:31
19184      3303543215       9/26/2011       13:23:01
19185      3303545477       7/9/2012        7:20:28
19186      3303549042       10/13/2013      17:59:25
19187      3303560146       9/3/2012        14:46:44
19188      3303561082       11/15/2011      16:01:19
19189      3303561950       11/1/2011       8:18:00
19190      3303561950       12/28/2011      13:07:49
19191      3303577470       10/13/2011      7:13:19
19192      3303577654       11/22/2011      19:12:07
19193      3303579202       8/29/2012       10:58:00
19194      3303607011       3/24/2012       10:12:09
19195      3303644931       12/22/2011      8:24:25
19196      3303650465       9/14/2012       7:02:52
19197      3303656082       10/20/2012      12:51:12
19198      3303677897       3/29/2011       17:07:13
19199      3303688159       10/17/2011      7:01:49
19200      3303688159       10/25/2011      15:05:54
19201      3303711066       9/8/2011        19:23:14
19202      3303712443       6/6/2012        13:34:43
19203      3303714457       4/23/2011       10:27:30
19204      3303715609       5/1/2012        8:16:19
19205      3303715609       5/21/2012       17:30:53
19206      3303715863       3/15/2012       7:18:30
19207      3303717067       11/17/2011      16:19:12
19208      3303719872       10/29/2011      10:26:19
19209      3303725996       10/24/2012      15:03:52
19210      3303830622       8/6/2012        14:30:35
19211      3303831912       9/22/2011       15:02:59
19212      3303836053       8/7/2012        17:52:11
19213      3303836688       3/12/2012       19:06:01
19214      3303836688       3/21/2012       13:47:13
19215      3303839173       9/29/2011       15:29:53
19216      3303885118       3/23/2012       19:45:22
19217      3303886091       10/22/2011      12:53:58
19218      3303911800       11/9/2011       7:26:39
19219      3303974319       10/11/2012      18:32:30
19220      3303978718       2/28/2012       15:57:04
19221      3303978718       3/2/2012        18:40:18
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19222      3304015429       9/12/2011       13:05:22
19223      3304017883       7/21/2011       13:34:51
19224      3304017883       9/19/2011       7:25:12
19225      3304024286       10/25/2012      19:35:52
19226      3304027429       9/26/2011       9:41:13
19227      3304095768       4/14/2012       9:14:30
19228      3304100513       3/26/2012       14:31:39
19229      3304122146       2/17/2012       9:26:05
19230      3304123526       9/25/2012       14:40:42
19231      3304129379       3/20/2012       17:35:29
19232      3304129379       3/23/2012       19:44:51
19233      3304132429       7/8/2012        13:32:46
19234      3304133812       2/28/2012       15:56:33
19235      3304135207       10/5/2011       14:03:50
19236      3304143737       9/5/2012        7:13:23
19237      3304147043       11/9/2011       7:30:36
19238      3304147043       11/28/2011      11:42:15
19239      3304148885       12/12/2011      16:16:23
19240      3304149878       3/13/2012       18:34:52
19241      3304153941       5/7/2012        7:04:29
19242      3304162335       12/28/2011      17:52:16
19243      3304171541       12/7/2011       14:37:51
19244      3304174141       12/7/2011       13:53:17
19245      3304178368       9/21/2012       16:00:39
19246      3304183772       8/6/2011        9:17:56
19247      3304188164       6/1/2012        8:56:56
19248      3304190489       3/17/2012       8:47:30
19249      3304199230       3/12/2012       11:11:39
19250      3304212914       8/23/2012       11:34:25
19251      3304214971       1/19/2012       18:26:40
19252      3304216087       12/7/2011       14:42:22
19253      3304216708       12/12/2011      7:45:58
19254      3304235575       4/25/2012       9:26:09
19255      3304238766       10/10/2012      19:16:02
19256      3304280927       8/3/2012        16:29:26
19257      3304281417       10/10/2011      12:12:23
19258      3304284638       3/26/2012       7:04:28
19259      3304286251       11/5/2011       9:09:19
19260      3304291687       10/25/2011      15:02:21
19261      3304314738       9/16/2011       14:05:18
19262      3304315743       4/21/2012       16:52:19
19263      3304316248       1/4/2012        12:23:16
19264      3304322101       5/22/2012       11:30:13
19265      3304324171       7/12/2011       12:13:15
19266      3304403761       11/28/2011      11:09:00
19267      3304404313       6/5/2012        7:04:23
19268      3304404488       12/29/2011      14:30:02
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19269      3304423609       12/9/2011       15:51:44
19270      3304450744       2/29/2012       17:43:19
19271      3304470168       10/11/2012      7:58:32
19272      3304471750       10/26/2011      12:51:27
19273      3304471750       10/13/2012      8:46:11
19274      3304477699       12/15/2011      8:35:54
19275      3304477699       5/21/2012       7:23:05
19276      3304479018       12/9/2011       15:34:43
19277      3304519163       10/15/2011      8:42:20
19278      3304594716       4/2/2012        17:38:15
19279      3304598201       4/26/2012       8:09:22
19280      3304598201       5/17/2012       7:05:09
19281      3304598904       2/17/2012       9:32:25
19282      3304599113       3/16/2012       10:01:18
19283      3304599723       3/29/2012       11:33:18
19284      3304599723       4/11/2012       7:09:58
19285      3304613854       4/15/2012       16:30:41
19286      3304613854       4/26/2012       8:10:16
19287      3304645072       11/28/2011      18:10:06
19288      3304657644       10/17/2011      8:27:27
19289      3304660547       10/23/2012      16:05:36
19290      3304660603       8/20/2012       7:52:25
19291      3304661830       11/28/2011      16:31:22
19292      3304693356       10/12/2011      7:56:03
19293      3304694120       12/1/2011       14:51:45
19294      3304726132       11/8/2011       14:17:01
19295      3304729179       8/14/2012       11:41:43
19296      3304737704       3/3/2012        8:18:39
19297      3304759217       11/7/2011       7:44:07
19298      3304759975       10/23/2012      10:29:13
19299      3304780113       9/7/2012        15:38:50
19300      3304887165       11/18/2011      12:53:56
19301      3304950315       9/19/2011       19:12:06
19302      3304951116       5/26/2012       14:31:52
19303      3304959287       5/31/2012       15:05:47
19304      3305010224       2/25/2012       10:27:33
19305      3305010224       3/7/2012        9:52:09
19306      3305014275       12/26/2011      15:17:03
19307      3305015631       3/2/2012        18:55:36
19308      3305016589       7/9/2012        19:08:07
19309      3305016589       8/17/2012       7:04:29
19310      3305018766       9/13/2011       15:27:23
19311      3305025271       8/4/2012        7:31:34
19312      3305062131       9/14/2011       16:53:50
19313      3305064662       3/29/2012       18:53:46
19314      3305069278       2/17/2012       18:16:01
19315      3305069297       9/26/2011       7:48:17
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19316      3305072123       7/30/2012       13:12:23
19317      3305094148       10/5/2011       13:59:14
19318      3305182193       10/22/2012      17:53:43
19319      3305182355       12/26/2011      15:21:14
19320      3305182947       10/3/2012       7:01:23
19321      3305184512       10/3/2011       7:11:43
19322      3305184512       10/7/2011       7:02:00
19323      3305184550       6/20/2012       16:51:09
19324      3305187976       11/28/2011      16:30:46
19325      3305188678       8/25/2012       11:02:14
19326      3305196081       7/2/2012        14:59:53
19327      3305199399       8/18/2012       8:33:42
19328      3305240055       10/7/2011       7:25:49
19329      3305241124       3/14/2012       19:41:36
19330      3305242512       12/28/2011      13:03:22
19331      3305247178       9/29/2011       15:03:34
19332      3305312499       4/6/2012        15:17:07
19333      3305400399       2/11/2012       10:37:40
19334      3305413283       10/6/2011       16:25:04
19335      3305442820       1/3/2012        19:38:53
19336      3305476188       12/29/2011      14:33:27
19337      3305503374       11/18/2011      12:12:18
19338      3305533969       10/15/2012      9:46:40
19339      3305535308       12/20/2011      7:08:26
19340      3305540481       6/22/2012       7:13:46
19341      3305540907       8/18/2012       8:33:49
19342      3305549534       9/14/2011       11:32:48
19343      3305591131       8/20/2012       18:39:16
19344      3305594348       12/18/2011      17:12:53
19345      3305595296       2/14/2012       13:23:53
19346      3305595398       8/2/2012        11:27:34
19347      3305596019       5/11/2012       7:26:59
19348      3305598535       9/29/2012       10:11:34
19349      3305598958       5/21/2012       7:24:43
19350      3305653580       12/7/2011       14:47:01
19351      3305659390       10/23/2012      10:30:33
19352      3305714155       12/31/2011      11:56:42
19353      3305716042       11/8/2011       13:44:01
19354      3305731551       10/22/2011      12:32:06
19355      3305735136       7/24/2012       14:38:34
19356      3305738227       3/13/2012       17:09:55
19357      3305738227       5/13/2012       18:01:57
19358      3305754555       7/7/2012        10:35:51
19359      3305756444       3/31/2012       8:05:21
19360      3305756790       2/21/2012       9:30:34
19361      3305756790       3/3/2012        8:46:33
19362      3305756790       5/22/2012       11:44:51
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19363      3305759024       4/22/2012       15:11:01
19364      3305812170       4/16/2012       15:41:55
19365      3305813517       5/11/2012       18:33:47
19366      3305813517       5/21/2012       7:48:45
19367      3305817977       7/12/2012       7:07:51
19368      3305819081       10/12/2012      16:44:54
19369      3305819794       10/4/2011       13:32:59
19370      3305819968       8/4/2011        7:42:56
19371      3305819968       9/19/2011       7:22:21
19372      3305993472       9/21/2011       11:40:30
19373      3306033056       10/17/2011      8:03:51
19374      3306036464       10/25/2013      7:09:32
19375      3306040678       4/23/2011       10:07:28
19376      3306052721       3/4/2012        12:39:38
19377      3306053438       8/16/2011       17:10:11
19378      3306081973       10/8/2011       10:47:18
19379      3306085500       10/1/2011       9:42:18
19380      3306122317       9/23/2011       18:57:27
19381      3306141213       9/21/2011       12:03:04
19382      3306141213       10/7/2011       10:33:25
19383      3306141213       10/14/2011      13:02:13
19384      3306143754       5/31/2012       15:03:03
19385      3306148759       4/14/2012       8:54:24
19386      3306176718       3/1/2012        8:32:40
19387      3306184321       12/1/2011       15:18:21
19388      3306187147       4/10/2012       15:32:03
19389      3306221241       12/31/2011      12:02:42
19390      3306222359       2/29/2012       7:07:38
19391      3306222864       11/29/2011      15:16:31
19392      3306311093       10/10/2012      19:06:25
19393      3306344447       7/18/2012       18:29:14
19394      3306352717       11/11/2011      13:35:27
19395      3306353745       12/2/2011       15:05:59
19396      3306356106       8/26/2011       17:41:29
19397      3306393919       7/20/2012       7:32:06
19398      3306396220       12/28/2011      18:01:05
19399      3306464058       6/5/2012        17:48:46
19400      3306466142       2/19/2012       19:13:35
19401      3306469349       5/2/2012        13:34:58
19402      3306511127       2/25/2012       10:48:47
19403      3306513247       11/18/2011      12:36:24
19404      3306515000       2/13/2012       18:20:41
19405      3306633726       9/25/2012       14:42:54
19406      3306661606       6/30/2012       8:27:02
19407      3306715812       10/8/2011       9:39:48
19408      3306716537       2/7/2012        7:16:17
19409      3306717161       12/12/2011      12:10:18
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19410      3306719617       10/1/2012       8:14:15
19411      3306853270       7/9/2012        12:06:04
19412      3306872782       6/11/2012       17:49:00
19413      3306875528       12/10/2011      14:21:51
19414      3306898598       9/13/2011       7:19:48
19415      3306903772       9/3/2012        14:31:19
19416      3306908936       10/3/2012       19:51:14
19417      3306909082       3/14/2011       16:57:08
19418      3306962724       11/29/2011      16:06:01
19419      3306965074       3/6/2012        20:34:37
19420      3306965074       3/23/2012       19:43:18
19421      3306965434       1/27/2012       7:13:25
19422      3306965434       2/20/2012       7:15:03
19423      3306973875       9/10/2012       7:39:48
19424      3307010855       1/19/2012       18:34:54
19425      3307013771       10/8/2012       7:06:17
19426      3307014047       1/24/2012       17:17:03
19427      3307014572       1/7/2012        8:09:41
19428      3307015562       10/17/2011      7:52:57
19429      3307019443       5/14/2012       15:32:04
19430      3307031282       8/25/2012       11:10:29
19431      3307038794       5/17/2012       7:12:30
19432      3307041947       9/25/2012       14:40:29
19433      3307054797       10/5/2012       18:31:26
19434      3307058148       10/11/2012      7:54:16
19435      3307059101       10/6/2011       17:25:26
19436      3307076232       10/19/2012      19:02:00
19437      3307081822       12/20/2011      19:22:34
19438      3307084473       11/21/2011      7:10:46
19439      3307084539       12/10/2011      14:37:15
19440      3307089568       11/28/2011      17:49:49
19441      3307143671       2/17/2012       18:16:12
19442      3307159113       12/29/2011      19:24:12
19443      3307159151       6/18/2012       15:16:53
19444      3307180390       5/25/2012       16:59:27
19445      3307192678       2/18/2012       9:01:54
19446      3307192678       5/21/2012       7:03:57
19447      3307270578       10/6/2011       17:35:15
19448      3307270812       6/29/2012       17:49:31
19449      3307301789       8/17/2011       18:34:48
19450      3307327478       11/15/2011      15:10:45
19451      3307349760       5/13/2012       17:01:04
19452      3307456974       10/12/2011      7:52:50
19453      3307549704       1/12/2012       14:24:15
19454      3307660555       2/24/2012       17:05:29
19455      3307663920       3/29/2011       16:10:59
19456      3307666641       12/29/2011      18:51:06
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19457      3307669308       11/16/2011      7:52:46
19458      3307712319       10/4/2011       13:36:41
19459      3307712319       2/20/2012       17:03:10
19460      3307740030       7/28/2012       8:43:57
19461      3307748219       7/7/2012        10:13:08
19462      3307800020       12/21/2011      9:52:27
19463      3307801687       6/1/2012        8:58:24
19464      3307801956       1/6/2012        7:05:43
19465      3307853673       7/16/2012       19:43:26
19466      3307856061       12/2/2011       15:14:15
19467      3307872286       10/21/2011      13:12:30
19468      3307875178       5/18/2012       15:56:45
19469      3307875178       5/28/2012       8:39:15
19470      3307943828       9/24/2012       19:17:07
19471      3308012017       3/7/2012        7:18:23
19472      3308012017       3/14/2012       19:31:13
19473      3308021081       10/12/2011      12:02:01
19474      3308021081       12/23/2011      13:43:08
19475      3308071294       11/26/2011      13:02:58
19476      3308071859       4/18/2012       17:55:26
19477      3308072084       11/5/2011       11:05:43
19478      3308076163       8/19/2011       12:24:29
19479      3308080087       5/18/2012       11:53:42
19480      3308081254       11/23/2011      10:25:09
19481      3308081867       1/12/2012       14:23:21
19482      3308084537       9/3/2012        14:39:11
19483      3308089614       5/14/2012       15:15:42
19484      3308089614       5/17/2012       7:09:20
19485      3308120860       3/5/2012        7:03:59
19486      3308145549       8/18/2012       8:38:40
19487      3308147614       4/13/2012       13:18:07
19488      3308192050       11/11/2011      13:35:53
19489      3308199683       10/3/2011       7:13:14
19490      3308314529       3/3/2012        8:51:54
19491      3308318382       8/31/2011       10:39:39
19492      3308336396       7/13/2012       7:45:24
19493      3308336396       7/28/2012       8:43:41
19494      3308408106       10/18/2011      11:57:42
19495      3308432893       1/2/2012        7:10:47
19496      3308442614       2/9/2012        7:17:19
19497      3308442614       4/29/2012       17:17:35
19498      3308443888       3/4/2012        12:33:45
19499      3308533964       10/8/2011       9:20:02
19500      3308581903       11/3/2011       17:08:42
19501      3308581903       12/27/2011      14:14:28
19502      3308584151       11/14/2011      16:23:11
19503      3308587917       5/5/2012        8:27:27
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19504      3308614033       4/16/2012       7:11:04
19505      3308614033       5/21/2012       7:37:58
19506      3308688977       3/20/2012       17:48:05
19507      3308720220       5/21/2012       7:48:36
19508      3308720220       5/21/2012       17:33:01
19509      3308810741       11/12/2011      9:23:29
19510      3308812396       1/31/2012       7:02:28
19511      3308812653       3/28/2012       18:17:44
19512      3308812799       1/12/2012       14:10:53
19513      3308813078       1/23/2012       18:53:16
19514      3308814518       3/24/2012       10:12:13
19515      3308815750       11/15/2011      16:07:18
19516      3308815832       5/30/2012       16:47:37
19517      3308819165       10/22/2011      12:24:19
19518      3308819910       10/17/2012      9:46:40
19519      3308835767       6/18/2011       15:08:30
19520      3308837499       2/14/2012       13:13:05
19521      3308837671       9/27/2011       18:04:27
19522      3308839354       12/16/2011      16:01:39
19523      3309030437       5/25/2012       17:01:26
19524      3309042769       6/30/2012       8:15:53
19525      3309044166       1/14/2012       13:25:29
19526      3309044166       6/29/2012       17:48:01
19527      3309047528       9/9/2011        7:21:58
19528      3309060081       11/22/2011      19:29:34
19529      3309070207       10/17/2012      18:27:40
19530      3309073413       5/23/2012       16:43:03
19531      3309138250       5/11/2012       14:40:32
19532      3309219931       8/18/2012       8:57:29
19533      3309329017       4/23/2012       7:09:16
19534      3309332222       10/12/2011      7:57:45
19535      3309335642       10/22/2011      12:30:02
19536      3309338533       12/23/2011      15:31:09
19537      3309340637       11/18/2011      12:22:12
19538      3309422211       11/15/2011      16:05:14
19539      3309423045       10/7/2012       12:44:39
19540      3309424164       9/22/2011       15:08:38
19541      3309426775       9/8/2011        19:28:06
19542      3309428980       3/11/2012       15:08:56
19543      3309450250       4/15/2012       16:33:29
19544      3309497465       12/16/2011      15:59:07
19545      3309497465       12/30/2011      9:17:55
19546      3309497603       9/29/2011       15:39:33
19547      3309573285       5/14/2012       15:17:16
19548      3309574033       1/9/2012        7:12:03
19549      3309583705       8/2/2012        18:48:02
19550      3309622633       2/14/2012       13:23:39
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19551      3309627445       11/12/2011      9:57:26
19552      3309687455       9/26/2012       15:16:34
19553      3309744963       10/22/2012      17:55:58
19554      3309745110       12/23/2011      7:02:21
19555      3309794741       9/24/2012       18:50:37
19556      3309796837       7/22/2011       13:27:55
19557      3309804641       6/2/2011        11:05:07
19558      3309804641       10/1/2011       10:14:41
19559      3309806681       12/21/2011      10:28:25
19560      3309837909       9/17/2011       10:00:33
19561      3309883225       3/7/2012        18:53:00
19562      3309888373       9/27/2012       16:25:58
19563      3309900765       2/20/2012       16:51:44
19564      3309904274       10/11/2011      16:54:37
19565      3309904548       4/30/2012       15:05:32
19566      3309905137       10/26/2011      12:07:39
19567      3309906326       1/22/2012       16:08:46
19568      3312622260       2/3/2012        8:31:03
19569      3314250040       3/26/2012       18:43:39
19570      3314255298       10/11/2012      11:51:51
19571      3314255419       4/26/2011       20:01:40
19572      3314528313       8/9/2012        14:12:46
19573      3314729729       10/20/2012      8:06:20
19574      3315750314       9/19/2011       19:13:02
19575      3315752279       10/17/2011      8:04:38
19576      3315753947       9/8/2011        19:51:07
19577      3315756629       2/17/2012       18:11:52
19578      3316250932       1/24/2012       10:14:14
19579      3317256935       4/3/2012        20:20:07
19580      3317259976       1/20/2012       19:29:27
19581      3342010542       1/3/2012        17:00:04
19582      3342016542       7/19/2011       18:07:17
19583      3342017739       10/8/2012       20:05:26
19584      3342075004       10/22/2011      12:38:50
19585      3342076581       5/15/2012       19:05:30
19586      3342081456       3/26/2012       15:11:04
19587      3342166541       8/20/2011       9:00:10
19588      3342204959       10/16/2012      8:48:08
19589      3342206536       12/5/2011       9:51:31
19590      3342216590       5/11/2012       12:08:05
19591      3342218709       3/7/2012        18:36:50
19592      3342240529       10/24/2011      8:18:09
19593      3342310309       1/8/2012        13:19:39
19594      3342334923       11/28/2011      12:10:33
19595      3342353654       5/4/2012        14:53:03
19596      3342353655       6/5/2012        17:52:42
19597      3342357754       12/9/2011       16:07:08
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19598      3342358371       3/5/2012        8:13:08
19599      3342370536       12/22/2011      9:44:14
19600      3342373138       5/15/2012       19:10:25
19601      3342472013       10/15/2011      9:29:20
19602      3342472079       8/8/2012        8:18:18
19603      3342472158       11/23/2011      10:28:35
19604      3342489252       9/24/2011       9:26:44
19605      3342496051       11/28/2011      18:00:22
19606      3342585292       2/29/2012       17:57:03
19607      3342585688       2/17/2012       18:21:31
19608      3342671302       2/6/2012        10:16:05
19609      3342751423       9/24/2012       12:52:51
19610      3342758564       9/16/2011       14:46:39
19611      3342940984       10/18/2012      8:03:50
19612      3342944340       9/24/2011       9:49:24
19613      3342944340       10/3/2011       8:10:50
19614      3342949242       3/25/2012       11:56:07
19615      3342981234       9/23/2011       11:45:16
19616      3343003607       5/12/2011       10:01:07
19617      3343004440       8/28/2012       11:53:32
19618      3343004440       9/19/2012       16:21:51
19619      3343004802       6/12/2012       8:31:30
19620      3343009053       11/17/2011      14:34:38
19621      3343009053       5/21/2012       8:14:26
19622      3343011222       8/30/2012       17:43:09
19623      3343094025       2/24/2012       20:55:37
19624      3343094296       3/29/2012       16:42:40
19625      3343095280       7/26/2012       12:17:07
19626      3343126148       11/16/2011      9:58:46
19627      3343126148       11/18/2011      13:33:05
19628      3343180885       9/22/2011       16:08:08
19629      3343186872       2/6/2012        17:02:22
19630      3343189376       3/26/2012       18:43:13
19631      3343192145       12/8/2011       10:56:16
19632      3343220659       1/4/2012        20:11:34
19633      3343220945       10/10/2011      11:56:29
19634      3343227263       10/15/2011      10:12:13
19635      3343249241       12/7/2011       13:51:17
19636      3343330544       1/27/2012       11:52:42
19637      3343336144       9/10/2011       9:15:09
19638      3343339154       9/8/2011        19:30:27
19639      3343391249       8/1/2011        19:43:17
19640      3343391249       8/2/2011        17:11:31
19641      3343410193       7/29/2011       20:22:24
19642      3343410462       2/6/2012        17:16:18
19643      3343417747       11/7/2011       8:05:32
19644      3343432630       11/15/2011      20:14:39
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19645      3343432662       10/12/2011      12:04:25
19646      3343448427       9/24/2011       9:21:51
19647      3343543422       5/14/2012       8:16:20
19648      3343545314       8/29/2012       20:19:21
19649      3343549307       5/21/2011       11:01:17
19650      3343550963       8/11/2011       12:08:28
19651      3343551094       8/1/2011        19:41:38
19652      3343553014       3/20/2012       17:51:10
19653      3343572171       9/27/2011       15:29:36
19654      3343572672       1/20/2012       19:24:49
19655      3343601340       8/10/2011       19:11:30
19656      3343623120       1/12/2012       8:11:15
19657      3343639796       3/30/2012       16:19:06
19658      3343682171       6/28/2012       8:05:59
19659      3343682979       11/17/2011      16:50:25
19660      3343706270       1/6/2012        14:41:30
19661      3343753481       4/10/2012       15:44:07
19662      3343793286       7/13/2012       7:45:16
19663      3343806584       10/29/2011      11:44:41
19664      3343890950       4/16/2012       8:11:03
19665      3343897200       9/24/2011       9:23:01
19666      3343897200       10/19/2011      12:16:24
19667      3343910623       1/18/2012       10:11:24
19668      3343919544       1/5/2012        17:29:16
19669      3343995206       2/13/2014       14:30:09
19670      3343995206       4/11/2014       15:13:19
19671      3343995891       11/12/2011      9:33:59
19672      3343999673       10/18/2011      12:32:06
19673      3344010573       9/14/2012       8:09:29
19674      3344050015       12/7/2011       13:17:17
19675      3344057327       3/14/2012       14:17:08
19676      3344058294       2/10/2012       9:26:50
19677      3344059385       3/23/2012       19:58:26
19678      3344076906       9/20/2011       18:21:24
19679      3344078224       9/28/2011       11:11:58
19680      3344078224       10/5/2011       14:11:41
19681      3344122983       9/20/2011       20:35:48
19682      3344123435       11/16/2011      20:06:45
19683      3344131509       1/13/2012       8:02:11
19684      3344143171       11/15/2011      15:34:32
19685      3344150308       5/25/2012       17:10:51
19686      3344193740       12/24/2011      8:10:32
19687      3344194184       11/12/2011      10:26:18
19688      3344196713       2/6/2012        17:22:07
19689      3344222354       1/14/2012       8:22:56
19690      3344251895       7/23/2012       15:21:27
19691      3344300781       9/19/2011       8:23:03
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19692      3344302652       3/7/2012        9:43:08
19693      3344355822       4/1/2012        16:26:45
19694      3344360309       9/28/2011       11:26:30
19695      3344373505       3/14/2012       14:39:08
19696      3344374543       10/3/2011       8:25:54
19697      3344415637       4/24/2012       12:37:20
19698      3344419282       11/28/2011      12:06:39
19699      3344442516       5/22/2012       18:29:38
19700      3344444180       9/8/2011        19:44:06
19701      3344446808       9/9/2011        18:23:16
19702      3344503120       10/10/2012      12:57:57
19703      3344512019       12/22/2011      9:14:46
19704      3344526108       12/18/2011      17:07:40
19705      3344569153       7/31/2012       15:36:12
19706      3344569364       7/11/2012       17:19:50
19707      3344622624       11/4/2011       8:56:31
19708      3344640433       6/15/2012       16:33:24
19709      3344642784       10/8/2011       11:52:16
19710      3344682070       9/16/2011       13:01:42
19711      3344684114       10/20/2012      8:20:17
19712      3344701870       9/8/2011        18:08:18
19713      3344922995       11/28/2011      12:14:32
19714      3344970978       7/9/2012        8:55:59
19715      3344983397       9/14/2011       12:19:39
19716      3345042077       9/16/2011       13:04:00
19717      3345056600       1/17/2012       17:11:03
19718      3345059568       9/20/2011       16:50:31
19719      3345070083       1/20/2012       11:34:34
19720      3345070833       9/7/2012        15:53:15
19721      3345074944       8/15/2011       10:22:19
19722      3345077030       1/20/2012       19:31:29
19723      3345078050       10/20/2011      15:40:30
19724      3345079718       7/13/2012       18:35:50
19725      3345082443       1/16/2012       17:31:26
19726      3345241195       10/10/2012      19:07:28
19727      3345241683       12/7/2011       14:39:24
19728      3345311852       11/15/2011      16:30:28
19729      3345312059       5/15/2012       19:01:30
19730      3345385617       3/15/2011       12:56:49
19731      3345389721       3/26/2012       18:45:31
19732      3345461710       1/3/2012        11:18:27
19733      3345462027       11/28/2011      18:01:31
19734      3345466781       3/19/2012       11:58:23
19735      3345494250       4/13/2012       20:40:54
19736      3345495028       12/3/2011       10:19:01
19737      3345495805       11/22/2011      19:41:25
19738      3345497509       12/10/2011      12:19:33
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19739      3345520927       4/4/2012        8:04:07
19740      3345521422       2/3/2012        8:34:19
19741      3345583664       3/28/2012       8:17:47
19742      3345586328       5/21/2012       8:07:27
19743      3345594159       10/3/2012       20:05:16
19744      3345596552       7/2/2012        17:24:47
19745      3345612059       1/16/2012       17:32:06
19746      3345904483       6/29/2012       9:42:03
19747      3345907983       10/10/2011      12:52:40
19748      3345909747       5/25/2012       17:09:46
19749      3345953924       12/20/2011      15:00:53
19750      3345960417       3/30/2012       9:54:26
19751      3345965156       5/7/2014        15:30:48
19752      3345965841       4/3/2012        20:13:54
19753      3346142598       4/4/2012        18:39:26
19754      3346142598       5/21/2012       17:50:52
19755      3346144651       7/23/2011       14:02:28
19756      3346145492       9/4/2012        16:08:12
19757      3346146366       6/14/2012       20:47:16
19758      3346149122       9/12/2012       15:11:24
19759      3346149361       1/4/2012        11:25:12
19760      3346176944       8/31/2012       16:38:46
19761      3346180830       12/21/2011      10:16:48
19762      3346180942       5/16/2012       16:57:04
19763      3346182030       7/9/2012        19:14:12
19764      3346187363       10/25/2012      19:50:58
19765      3346188223       9/8/2011        19:30:28
19766      3346188351       9/22/2012       9:44:24
19767      3346189093       10/10/2011      12:00:23
19768      3346460252       9/21/2012       15:29:32
19769      3346462099       1/17/2012       9:41:25
19770      3346484859       11/21/2011      8:05:05
19771      3346512299       7/10/2012       11:57:37
19772      3346540683       10/21/2011      13:26:20
19773      3346540864       9/24/2012       13:07:27
19774      3346541501       10/15/2011      9:32:09
19775      3346541501       10/27/2011      16:01:14
19776      3346542031       10/29/2011      11:43:45
19777      3346579807       11/21/2011      8:13:28
19778      3346607010       8/30/2012       17:43:56
19779      3346628077       10/3/2011       8:25:00
19780      3346633929       5/21/2011       11:02:09
19781      3346635164       8/23/2012       11:39:21
19782      3346692891       10/29/2013      14:30:20
19783      3346696894       10/6/2011       16:44:01
19784      3346723430       7/2/2012        17:23:38
19785      3346850774       5/30/2012       12:40:50
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19786      3346850774       6/13/2012       8:04:36
19787      3346854106       8/27/2011       12:02:15
19788      3346856596       10/19/2011      12:10:36
19789      3346857433       7/20/2012       8:46:53
19790      3346890298       6/28/2012       17:42:24
19791      3346890938       1/20/2012       20:28:25
19792      3346890938       4/3/2012        16:00:14
19793      3346891453       10/5/2011       14:40:59
19794      3346950058       9/7/2011        14:24:52
19795      3346954417       9/13/2011       7:10:10
19796      3346956086       11/2/2011       7:07:32
19797      3346957918       11/7/2011       9:10:24
19798      3347032646       1/3/2012        16:42:16
19799      3347043049       10/11/2012      18:40:14
19800      3347044120       4/15/2012       17:15:52
19801      3347044946       2/6/2012        9:58:41
19802      3347044946       2/16/2012       8:28:23
19803      3347072111       10/15/2011      10:36:09
19804      3347074566       11/10/2011      8:05:37
19805      3347076581       3/2/2012        18:49:54
19806      3347077273       10/3/2012       10:27:08
19807      3347077578       9/26/2011       9:49:14
19808      3347140250       10/5/2011       14:16:17
19809      3347142155       7/5/2012        10:40:45
19810      3347144236       3/13/2012       12:51:44
19811      3347145768       1/12/2012       14:16:12
19812      3347184855       10/26/2011      12:19:17
19813      3347188316       7/18/2012       18:26:25
19814      3347235146       7/27/2011       17:29:26
19815      3347235830       7/20/2012       14:54:55
19816      3347260148       9/23/2011       11:42:24
19817      3347284404       8/31/2011       10:22:30
19818      3347305752       3/1/2012        8:39:28
19819      3347305752       3/16/2012       16:02:22
19820      3347336064       11/9/2011       8:06:09
19821      3347342845       6/9/2012        10:58:14
19822      3347378808       10/18/2012      16:37:09
19823      3347440642       1/8/2012        13:05:44
19824      3347505117       11/25/2011      17:47:02
19825      3347506733       1/6/2012        15:02:47
19826      3347590172       12/28/2011      18:13:03
19827      3347901005       11/1/2011       8:37:55
19828      3347904909       10/10/2011      11:54:19
19829      3347905090       11/17/2011      15:39:27
19830      3347910423       6/22/2012       8:07:51
19831      3347915035       9/20/2011       16:47:13
19832      3347968192       11/17/2011      16:49:40
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19833      3347969480       10/10/2011      11:51:27
19834      3347977428       11/4/2011       8:57:29
19835      3347991037       12/27/2011      14:20:12
19836      3347994405       1/24/2012       17:20:49
19837      3347994956       12/8/2011       12:06:10
19838      3348053306       7/28/2012       8:48:09
19839      3348064058       12/21/2011      9:56:04
19840      3348135037       2/7/2012        20:25:22
19841      3348301763       10/27/2011      16:46:35
19842      3348305324       1/25/2012       20:28:42
19843      3348305700       10/8/2011       11:50:04
19844      3348307598       12/8/2011       12:13:08
19845      3348307976       7/3/2012        12:20:09
19846      3348309071       12/12/2011      12:24:02
19847      3348501353       9/15/2011       9:12:43
19848      3348559884       3/2/2012        19:03:37
19849      3348686325       4/26/2011       20:11:37
19850      3349569205       1/9/2012        18:14:09
19851      3349910058       7/26/2012       19:14:29
19852      3362000191       5/13/2012       16:49:23
19853      3362004048       3/26/2012       18:21:36
19854      3362011136       3/15/2012       19:02:03
19855      3362025768       1/10/2012       18:04:51
19856      3362092552       12/29/2011      10:53:40
19857      3362093067       10/28/2011      13:25:11
19858      3362093683       12/20/2011      19:22:12
19859      3362099914       9/26/2012       15:26:33
19860      3362100827       1/6/2012        7:16:46
19861      3362102202       8/8/2012        7:06:40
19862      3362102324       10/14/2011      13:14:17
19863      3362130283       10/28/2011      13:58:31
19864      3362130326       3/27/2012       15:37:59
19865      3362130530       2/16/2012       7:06:04
19866      3362141174       1/5/2012        12:01:00
19867      3362142354       3/15/2011       11:44:11
19868      3362145197       11/9/2011       7:57:39
19869      3362147181       3/6/2012        15:46:54
19870      3362150570       1/17/2014       7:06:52
19871      3362153320       12/23/2011      15:23:07
19872      3362252748       10/26/2011      13:00:28
19873      3362256732       7/3/2012        19:35:14
19874      3362328294       10/9/2012       19:59:45
19875      3362394021       8/17/2012       7:06:09
19876      3362397003       10/21/2011      13:46:57
19877      3362406021       10/14/2011      12:43:28
19878      3362443601       3/15/2012       19:04:56
19879      3362444353       12/20/2011      7:01:53
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19880      3362444626       4/21/2012       16:13:35
19881      3362445767       1/11/2012       7:38:44
19882      3362515794       3/15/2012       18:56:29
19883      3362518238       5/6/2012        17:47:32
19884      3362530292       4/1/2012        16:40:51
19885      3362532660       10/11/2011      15:49:28
19886      3362534853       10/22/2012      7:18:48
19887      3362536364       9/27/2011       15:20:08
19888      3362538299       3/21/2012       13:48:59
19889      3362540519       3/17/2012       8:45:44
19890      3362541437       6/20/2012       7:47:46
19891      3362541931       1/30/2012       7:26:39
19892      3362547090       6/3/2011        7:27:28
19893      3362549622       10/7/2012       12:50:08
19894      3362549685       10/3/2011       7:39:43
19895      3362550922       1/11/2012       7:31:53
19896      3362553592       11/26/2011      11:39:48
19897      3362555319       5/25/2012       17:08:56
19898      3362556732       8/15/2012       7:49:42
19899      3362557107       12/19/2011      8:11:26
19900      3362557177       10/5/2011       14:30:13
19901      3362593970       10/20/2011      16:09:42
19902      3362596027       10/24/2011      7:24:13
19903      3362603976       1/3/2012        19:41:17
19904      3362605269       10/5/2012       18:23:10
19905      3362607418       1/10/2012       15:30:31
19906      3362618675       1/17/2012       18:28:34
19907      3362619999       1/20/2012       11:38:18
19908      3362621184       5/18/2012       16:11:23
19909      3362622361       9/11/2012       7:44:37
19910      3362622397       1/3/2012        11:17:42
19911      3362622397       1/12/2012       14:04:52
19912      3362624333       10/21/2011      13:05:43
19913      3362627586       9/8/2011        18:43:41
19914      3362627902       12/26/2011      8:55:13
19915      3362630141       4/4/2011        12:50:31
19916      3362631128       4/4/2012        18:46:00
19917      3362633771       1/10/2012       12:32:11
19918      3362637906       10/23/2012      15:51:53
19919      3362638232       8/20/2012       18:51:45
19920      3362645090       4/16/2012       15:59:47
19921      3362647970       11/16/2011      7:50:12
19922      3362662742       1/16/2012       7:20:12
19923      3362663655       12/10/2011      12:13:30
19924      3362664715       8/16/2011       17:32:50
19925      3362665273       7/12/2012       7:02:15
19926      3362665303       10/18/2012      7:09:49
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19927      3362670172       1/19/2012       18:37:08
19928      3362671026       9/19/2012       7:54:31
19929      3362671084       4/9/2012        18:07:42
19930      3362671443       2/6/2012        16:47:24
19931      3362674109       7/27/2012       15:31:54
19932      3362674339       11/1/2011       7:59:27
19933      3362677399       11/16/2011      8:35:21
19934      3362678547       9/4/2012        16:02:33
19935      3362686761       6/20/2012       16:50:49
19936      3362690328       3/12/2012       19:19:14
19937      3362692831       10/15/2011      9:54:42
19938      3362692831       2/20/2012       7:18:42
19939      3362801399       12/30/2011      7:03:37
19940      3362801890       10/19/2011      8:17:17
19941      3362805824       9/19/2011       19:01:18
19942      3362855668       6/11/2012       17:00:58
19943      3362870956       11/23/2011      14:30:28
19944      3362872657       2/25/2012       10:28:25
19945      3362872657       5/7/2012        7:10:32
19946      3362874559       10/25/2011      16:01:26
19947      3362875418       5/23/2012       15:28:39
19948      3362875418       5/30/2012       16:42:10
19949      3362876473       12/9/2011       15:55:00
19950      3362878991       12/23/2011      14:01:03
19951      3363001490       9/13/2011       17:30:51
19952      3363006652       11/17/2011      16:45:52
19953      3363013865       9/10/2011       8:05:38
19954      3363018532       4/4/2012        18:34:11
19955      3363018551       8/2/2011        18:09:56
19956      3363021946       12/29/2011      10:03:21
19957      3363025607       12/15/2011      8:26:04
19958      3363026101       9/29/2011       15:13:39
19959      3363026355       1/5/2012        12:00:22
19960      3363026821       7/30/2012       18:43:36
19961      3363032991       6/9/2012        10:44:35
19962      3363070582       5/18/2012       15:45:33
19963      3363076390       4/10/2012       16:06:19
19964      3363086930       4/11/2012       10:57:19
19965      3363120389       12/17/2011      11:56:23
19966      3363120389       1/17/2012       18:31:03
19967      3363123191       11/4/2011       7:21:45
19968      3363147763       10/15/2012      16:11:27
19969      3363148868       10/17/2012      18:28:25
19970      3363171117       7/5/2012        7:49:25
19971      3363240282       1/5/2012        12:00:21
19972      3363240283       5/6/2012        17:44:27
19973      3363246802       2/1/2012        18:30:41
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19974      3363246912       2/14/2012       16:36:24
19975      3363247639       7/2/2012        17:03:56
19976      3363248473       1/7/2012        8:24:58
19977      3363259999       9/17/2011       9:25:55
19978      3363266169       2/1/2014        15:14:53
19979      3363270048       9/23/2011       7:04:30
19980      3363270342       2/14/2012       16:49:26
19981      3363270880       2/14/2012       16:38:54
19982      3363272365       10/7/2012       12:57:26
19983      3363272969       6/21/2011       13:45:05
19984      3363273406       9/29/2011       15:30:29
19985      3363278671       9/21/2012       16:04:41
19986      3363286736       9/4/2012        16:02:53
19987      3363287088       1/13/2012       17:36:07
19988      3363287416       4/18/2012       7:01:23
19989      3363312393       10/11/2011      17:06:05
19990      3363371394       12/8/2011       12:40:04
19991      3363373290       12/10/2011      14:24:04
19992      3363381065       10/17/2012      18:34:31
19993      3363391688       2/25/2012       10:55:25
19994      3363391688       4/4/2012        7:22:26
19995      3363393678       5/28/2012       8:11:46
19996      3363394938       1/10/2012       15:13:15
19997      3363400323       3/2/2012        7:04:20
19998      3363404484       4/23/2012       7:07:14
19999      3363405515       1/18/2012       9:45:20
20000      3363405515       5/21/2012       7:24:02
20001      3363405515       7/30/2012       18:40:59
20002      3363406959       3/12/2012       7:22:19
20003      3363432599       8/2/2012        18:50:17
20004      3363432716       11/3/2011       17:02:22
20005      3363433204       10/11/2012      18:33:15
20006      3363435574       12/18/2011      17:06:57
20007      3363435574       12/29/2011      10:56:33
20008      3363439238       3/21/2012       13:47:35
20009      3363439949       10/14/2011      12:48:04
20010      3363441502       12/10/2011      14:35:47
20011      3363443316       3/19/2012       17:36:20
20012      3363446801       6/2/2012        13:03:19
20013      3363450682       10/14/2011      12:44:09
20014      3363453662       10/10/2011      12:27:58
20015      3363453662       11/28/2011      11:17:54
20016      3363458664       9/27/2011       15:18:16
20017      3363459893       11/8/2011       13:49:03
20018      3363504729       2/15/2012       8:07:17
20019      3363542111       11/22/2011      18:35:11
20020      3363545491       9/30/2011       9:56:32
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20021      3363624321       9/22/2011       15:02:55
20022      3363625934       8/13/2012       7:45:51
20023      3363627630       3/13/2012       16:50:13
20024      3363628807       1/23/2012       19:09:04
20025      3363647865       9/19/2011       19:05:20
20026      3363667519       11/14/2011      14:29:42
20027      3363667896       12/20/2011      19:22:40
20028      3363669863       5/21/2012       7:38:39
20029      3363669863       5/21/2012       8:41:23
20030      3363710249       2/11/2012       11:08:08
20031      3363719088       3/15/2012       19:03:42
20032      3363719326       7/19/2011       16:25:18
20033      3363800452       12/24/2011      7:01:22
20034      3363800928       2/3/2012        7:27:52
20035      3363806333       12/23/2011      15:23:53
20036      3363821264       2/21/2012       17:36:51
20037      3363821515       1/5/2012        13:57:27
20038      3363838773       1/9/2012        18:21:37
20039      3363850198       10/21/2011      12:22:51
20040      3363898259       2/21/2012       10:47:07
20041      3363911045       11/28/2011      11:12:34
20042      3363912694       10/22/2011      12:20:25
20043      3363914855       12/23/2011      7:13:59
20044      3363924242       9/30/2011       10:18:27
20045      3363926779       12/1/2011       15:22:31
20046      3363927440       9/23/2011       11:37:26
20047      3363928671       6/8/2011        18:44:21
20048      3363991649       1/18/2012       11:17:09
20049      3363992853       10/12/2011      11:52:06
20050      3363992958       1/21/2012       9:09:58
20051      3363993916       7/6/2012        14:44:59
20052      3363997345       3/21/2012       7:07:13
20053      3363998157       12/24/2011      7:11:29
20054      3364011330       10/10/2011      11:40:33
20055      3364011330       10/24/2011      7:07:21
20056      3364013526       12/27/2011      14:32:04
20057      3364013526       3/19/2012       19:01:47
20058      3364020243       12/15/2011      7:55:18
20059      3364024494       11/14/2011      15:50:32
20060      3364027205       11/5/2011       11:01:43
20061      3364028079       11/19/2011      8:34:16
20062      3364029596       3/13/2012       11:07:04
20063      3364033569       4/11/2012       10:48:40
20064      3364037750       12/12/2011      12:07:42
20065      3364042064       11/30/2011      15:07:59
20066      3364044037       11/26/2011      12:59:32
20067      3364044037       1/18/2012       16:38:46
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20068      3364049405       2/9/2012        7:23:49
20069      3364060133       9/8/2011        19:39:20
20070      3364066669       9/26/2011       7:52:33
20071      3364069894       8/13/2011       9:41:46
20072      3364086657       9/26/2012       14:44:20
20073      3364088700       1/25/2012       9:01:33
20074      3364088931       12/26/2011      8:52:56
20075      3364090661       12/26/2011      9:17:08
20076      3364094032       12/22/2011      8:39:48
20077      3364094933       2/11/2012       11:01:04
20078      3364095447       1/23/2012       19:40:52
20079      3364096383       7/23/2011       13:53:55
20080      3364101219       4/24/2012       18:07:31
20081      3364102126       8/15/2012       7:52:22
20082      3364102564       5/18/2011       16:03:21
20083      3364131347       1/5/2012        12:00:29
20084      3364131992       8/1/2011        19:38:54
20085      3364134313       11/8/2011       14:13:31
20086      3364140265       10/15/2011      10:26:20
20087      3364143116       12/7/2011       13:37:11
20088      3364143447       3/14/2012       19:53:24
20089      3364146058       10/10/2011      12:17:26
20090      3364148527       12/16/2011      15:34:55
20091      3364160176       1/13/2012       17:24:54
20092      3364161699       1/4/2012        11:16:38
20093      3364162716       1/6/2012        7:11:25
20094      3364167616       8/2/2012        18:47:58
20095      3364202889       12/12/2011      12:03:09
20096      3364206067       9/19/2011       19:28:47
20097      3364208224       9/23/2011       18:43:19
20098      3364209251       6/6/2012        7:17:05
20099      3364222739       1/27/2012       7:16:46
20100      3364223884       11/18/2011      12:36:15
20101      3364228479       1/20/2012       11:23:21
20102      3364231502       2/2/2012        7:05:48
20103      3364236397       10/11/2012      18:34:06
20104      3364257003       1/13/2012       12:34:43
20105      3364268212       7/30/2012       13:26:19
20106      3364285240       10/14/2011      13:06:46
20107      3364290471       1/26/2012       7:32:47
20108      3364291947       9/12/2012       7:45:13
20109      3364292141       4/28/2012       8:21:03
20110      3364296521       12/24/2011      7:04:00
20111      3364299241       10/5/2011       14:32:21
20112      3364309465       5/22/2012       18:20:19
20113      3364309591       12/3/2011       9:33:44
20114      3364326489       3/12/2012       19:22:09
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20115      3364327035       1/27/2012       9:24:58
20116      3364372470       6/12/2012       7:17:12
20117      3364372617       12/10/2011      12:11:31
20118      3364372727       9/19/2011       19:25:58
20119      3364373350       9/27/2012       16:39:29
20120      3364374191       12/26/2011      15:38:43
20121      3364375135       5/25/2012       17:00:20
20122      3364420041       9/21/2012       15:34:29
20123      3364421988       1/20/2012       11:24:55
20124      3364422880       10/1/2012       8:14:41
20125      3364425047       12/5/2011       11:31:14
20126      3364429244       10/10/2012      12:46:40
20127      3364470632       11/7/2011       7:29:54
20128      3364511448       9/22/2011       15:07:03
20129      3364514654       1/27/2012       7:12:09
20130      3364523188       12/27/2011      14:32:17
20131      3364523385       1/8/2012        12:52:31
20132      3364529495       2/29/2012       7:08:11
20133      3364534172       10/3/2011       7:14:40
20134      3364551808       11/3/2011       17:35:30
20135      3364554269       5/22/2012       11:45:49
20136      3364566764       11/27/2011      15:26:42
20137      3364571013       12/15/2011      8:25:18
20138      3364571013       8/20/2012       18:41:33
20139      3364573000       11/18/2011      12:12:26
20140      3364577773       10/22/2011      12:56:40
20141      3364579140       9/21/2011       11:25:30
20142      3364588093       10/17/2011      7:17:32
20143      3364599337       10/8/2011       10:50:37
20144      3364602000       12/23/2011      14:44:59
20145      3364603852       3/16/2012       10:23:05
20146      3364604340       3/20/2012       8:59:45
20147      3364624744       12/3/2011       9:03:28
20148      3364625267       10/19/2012      9:56:34
20149      3364626827       1/23/2012       7:24:08
20150      3364627645       11/30/2011      14:42:16
20151      3364645650       12/12/2011      12:04:47
20152      3364650506       7/14/2011       15:58:26
20153      3364651654       9/21/2011       19:33:55
20154      3364651885       3/28/2012       7:29:34
20155      3364680668       11/23/2011      10:13:27
20156      3364690198       10/5/2012       12:22:23
20157      3364692895       2/4/2012        8:22:29
20158      3364692895       6/26/2012       7:59:35
20159      3364694434       3/7/2014        8:24:51
20160      3364695405       5/30/2012       12:47:45
20161      3364698471       9/11/2012       7:45:08
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20162      3364699004       12/1/2011       7:54:41
20163      3364704392       10/11/2012      7:53:40
20164      3364704774       12/29/2011      11:02:46
20165      3364706506       11/10/2011      17:22:09
20166      3364707171       5/23/2012       16:24:42
20167      3364707382       7/18/2012       18:22:59
20168      3364709346       3/30/2011       9:30:19
20169      3364710152       2/11/2012       15:24:17
20170      3364710253       4/3/2012        16:08:04
20171      3364710473       11/2/2011       7:04:29
20172      3364711054       10/15/2011      10:15:30
20173      3364711181       2/24/2011       14:02:40
20174      3364712932       9/29/2012       10:10:09
20175      3364718033       1/13/2012       12:32:04
20176      3364719289       1/23/2012       19:07:32
20177      3364719289       5/21/2012       7:24:18
20178      3364719524       8/2/2012        11:44:55
20179      3364719655       12/20/2011      7:10:28
20180      3364719655       2/13/2012       7:20:39
20181      3364719749       10/17/2012      18:35:11
20182      3364730424       11/14/2011      14:10:17
20183      3364730424       11/28/2011      11:41:49
20184      3364734800       11/3/2011       17:08:28
20185      3364736226       2/6/2012        17:06:28
20186      3364736822       11/22/2011      18:28:33
20187      3364737026       5/10/2012       14:44:11
20188      3364737952       3/25/2012       11:50:24
20189      3364738226       12/17/2011      11:58:49
20190      3364738526       5/28/2012       8:43:34
20191      3364738695       9/13/2011       17:22:01
20192      3364738887       12/20/2011      17:15:56
20193      3364738887       1/9/2012        7:04:45
20194      3364739565       10/3/2011       7:42:37
20195      3364739565       1/16/2012       17:11:03
20196      3364787816       1/7/2012        9:48:47
20197      3364796239       1/10/2012       15:15:04
20198      3364826343       8/4/2012        8:10:15
20199      3364862519       3/26/2012       18:38:46
20200      3364910337       1/30/2012       7:17:46
20201      3364911071       1/27/2012       18:00:16
20202      3364911264       3/28/2011       15:06:28
20203      3364912882       9/8/2011        17:42:55
20204      3364913446       12/20/2011      19:21:42
20205      3364913955       5/10/2012       13:06:59
20206      3364913955       6/5/2012        14:02:44
20207      3364914338       9/8/2011        17:48:03
20208      3364914559       8/29/2012       11:07:34
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20209      3364914789       4/24/2012       11:54:13
20210      3364914789       6/9/2012        14:56:59
20211      3364915153       1/6/2012        14:48:35
20212      3364919493       3/20/2012       9:14:51
20213      3364919493       8/20/2012       7:56:54
20214      3365012825       10/9/2012       20:00:47
20215      3365016080       5/23/2012       16:34:04
20216      3365018964       12/30/2011      7:09:13
20217      3365032337       6/24/2011       11:49:05
20218      3365040110       8/16/2011       17:39:02
20219      3365043076       10/13/2012      9:02:41
20220      3365044133       12/19/2011      7:38:23
20221      3365044504       3/21/2012       13:37:22
20222      3365097739       12/29/2011      11:02:59
20223      3365122196       3/13/2012       18:34:58
20224      3365123336       11/28/2011      16:53:28
20225      3365124465       4/10/2012       11:49:36
20226      3365124848       8/26/2011       17:43:57
20227      3365124946       2/25/2012       10:50:18
20228      3365126488       12/29/2011      11:02:25
20229      3365127696       8/8/2011        12:03:59
20230      3365128021       12/26/2011      8:54:06
20231      3365128021       2/13/2012       18:37:24
20232      3365128742       12/23/2011      13:54:58
20233      3365128900       10/5/2011       14:08:56
20234      3365140824       12/9/2011       7:37:12
20235      3365146002       12/23/2011      15:39:40
20236      3365146880       9/20/2011       16:31:29
20237      3365148254       9/28/2011       11:05:14
20238      3365164251       5/3/2012        7:09:59
20239      3365165521       12/27/2011      14:30:22
20240      3365166422       12/23/2011      7:14:24
20241      3365166519       9/13/2011       7:02:45
20242      3365200762       4/18/2012       17:54:32
20243      3365200762       5/12/2012       10:26:22
20244      3365201223       4/7/2012        9:16:43
20245      3365288437       1/26/2012       7:21:35
20246      3365291132       4/18/2012       7:06:53
20247      3365297381       5/11/2012       18:04:38
20248      3365297596       10/19/2011      12:21:43
20249      3365340475       8/10/2012       7:30:51
20250      3365340475       8/30/2012       7:08:19
20251      3365434075       6/18/2012       15:24:56
20252      3365435735       4/4/2012        18:41:30
20253      3365438531       10/20/2011      16:05:28
20254      3365497457       12/23/2011      7:11:09
20255      3365497457       1/12/2012       7:13:57
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20256      3365529112       1/6/2012        7:12:00
20257      3365538161       4/5/2012        9:48:04
20258      3365540198       6/2/2011        11:00:07
20259      3365580201       3/1/2012        8:44:01
20260      3365587047       1/17/2012       18:33:00
20261      3365611069       9/29/2012       9:53:43
20262      3365611159       7/23/2012       15:19:44
20263      3365611854       3/9/2012        15:47:31
20264      3365613318       10/14/2011      19:15:59
20265      3365666576       4/1/2012        16:01:33
20266      3365668479       7/3/2012        19:30:25
20267      3365677213       2/18/2012       8:58:21
20268      3365721217       7/30/2012       13:12:53
20269      3365729096       7/18/2012       18:23:00
20270      3365751330       3/23/2012       7:02:25
20271      3365751876       9/8/2011        19:23:33
20272      3365755120       2/20/2012       16:47:27
20273      3365759547       7/7/2012        10:16:16
20274      3365759943       9/28/2012       14:21:32
20275      3365770258       9/24/2012       14:35:13
20276      3365772865       1/4/2012        11:19:07
20277      3365775540       7/3/2012        19:35:13
20278      3365803457       1/12/2012       14:12:20
20279      3365804238       9/20/2011       16:31:56
20280      3365805617       10/13/2011      7:19:38
20281      3365835350       1/4/2012        11:01:32
20282      3365836763       3/12/2012       19:06:44
20283      3365836763       5/16/2012       16:54:47
20284      3365836763       5/21/2012       7:23:37
20285      3365836814       12/24/2011      7:05:05
20286      3365838243       9/19/2011       19:02:41
20287      3365839243       11/16/2011      9:29:50
20288      3365839757       5/12/2012       10:35:37
20289      3365877630       2/25/2012       10:57:05
20290      3365878897       10/18/2011      12:58:52
20291      3365879731       1/9/2012        18:36:54
20292      3365885105       10/25/2012      12:21:17
20293      3365888765       11/11/2011      13:39:56
20294      3365889767       3/9/2012        7:10:59
20295      3365890479       7/28/2012       8:35:23
20296      3365894276       3/27/2012       7:14:04
20297      3365894731       1/3/2012        19:39:48
20298      3365898038       7/22/2011       12:44:36
20299      3365961106       12/29/2011      11:03:15
20300      3365961494       7/27/2012       15:22:35
20301      3365961896       11/17/2011      16:22:40
20302      3365964582       8/1/2012        8:32:53
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20303      3365965791       7/19/2012       7:55:08
20304      3365967898       6/15/2012       8:49:09
20305      3365968786       9/28/2011       11:11:24
20306      3366010429       4/6/2012        16:02:48
20307      3366015822       1/16/2012       7:04:37
20308      3366016033       10/17/2011      7:42:09
20309      3366017012       10/1/2011       10:14:25
20310      3366017012       11/7/2011       7:30:51
20311      3366018877       9/17/2012       7:44:01
20312      3366018877       9/24/2012       18:49:46
20313      3366020569       1/9/2012        18:26:46
20314      3366024687       9/19/2011       19:30:25
20315      3366026629       11/26/2011      13:05:45
20316      3366026662       4/25/2011       10:04:53
20317      3366028767       5/20/2012       15:23:38
20318      3366029677       10/13/2011      7:17:50
20319      3366089143       8/28/2012       7:26:05
20320      3366092737       12/5/2011       9:13:57
20321      3366093081       11/12/2011      10:17:21
20322      3366180878       10/3/2012       19:53:54
20323      3366201921       11/23/2011      9:31:15
20324      3366202857       7/20/2012       14:54:09
20325      3366243033       12/31/2011      11:59:18
20326      3366243033       1/7/2012        8:19:50
20327      3366243706       9/20/2011       16:33:45
20328      3366245561       10/12/2011      7:56:04
20329      3366247676       11/17/2011      16:40:01
20330      3366249166       10/14/2011      13:07:45
20331      3366338930       9/16/2011       13:20:52
20332      3366338955       2/14/2012       9:55:38
20333      3366338955       5/29/2012       17:12:40
20334      3366481696       9/8/2011        19:26:34
20335      3366530229       4/3/2012        18:00:37
20336      3366531996       10/10/2011      12:10:21
20337      3366536501       1/25/2012       18:20:33
20338      3366539407       2/28/2012       7:53:27
20339      3366552490       1/30/2012       7:26:02
20340      3366571424       2/6/2012        17:15:51
20341      3366615505       5/16/2012       16:55:12
20342      3366622842       3/13/2012       18:57:39
20343      3366691601       12/28/2011      18:02:12
20344      3366694506       8/9/2012        14:00:40
20345      3366710773       9/9/2011        7:35:49
20346      3366715622       12/9/2011       13:17:41
20347      3366716617       9/28/2011       10:19:57
20348      3366750503       4/22/2012       15:07:24
20349      3366753665       10/27/2011      16:36:53
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20350      3366754506       1/14/2012       8:19:04
20351      3366758203       8/23/2012       11:51:36
20352      3366817956       10/22/2011      12:33:45
20353      3366824935       12/6/2011       14:06:42
20354      3366842278       9/13/2011       15:43:45
20355      3366844824       10/23/2012      10:36:51
20356      3366847216       10/12/2012      16:48:33
20357      3366847823       3/6/2012        12:39:57
20358      3366860090       1/14/2012       8:13:58
20359      3366861056       7/13/2011       11:35:25
20360      3366870502       2/11/2012       10:42:41
20361      3366870566       10/8/2011       9:41:51
20362      3366874466       12/19/2011      7:37:07
20363      3366874466       1/23/2012       18:56:14
20364      3366884207       8/2/2012        18:47:51
20365      3366887467       12/19/2011      7:33:14
20366      3366889678       12/31/2011      12:01:16
20367      3366895478       2/11/2012       11:03:15
20368      3366920097       5/23/2012       16:55:17
20369      3366925252       8/11/2011       8:18:32
20370      3366931139       12/27/2011      13:51:42
20371      3366933525       6/12/2012       17:09:35
20372      3366934882       7/30/2012       18:41:29
20373      3366957201       10/29/2011      10:32:10
20374      3366985890       11/20/2011      11:06:27
20375      3366985893       2/9/2012        7:14:15
20376      3367050452       10/21/2011      13:08:01
20377      3367061263       5/19/2012       9:37:50
20378      3367082553       11/7/2011       9:15:53
20379      3367095164       6/16/2012       15:14:18
20380      3367103512       10/11/2011      15:50:21
20381      3367103512       12/9/2011       15:53:41
20382      3367104939       2/14/2012       16:38:04
20383      3367104949       6/8/2012        7:26:06
20384      3367229364       9/24/2012       19:00:12
20385      3367343593       11/16/2011      7:46:35
20386      3367343884       12/23/2011      7:13:56
20387      3367343884       1/18/2012       16:47:39
20388      3367361906       12/19/2011      7:27:25
20389      3367362965       4/12/2012       18:05:50
20390      3367364625       9/8/2012        11:06:21
20391      3367366996       12/7/2011       15:09:30
20392      3367367495       4/24/2012       12:25:07
20393      3367451284       10/6/2012       8:43:53
20394      3367492095       11/28/2011      11:17:43
20395      3367499726       2/10/2012       7:17:17
20396      3367558969       8/2/2011        18:16:35
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20397      3367579002       2/15/2012       8:10:53
20398      3367579002       5/25/2012       17:00:46
20399      3367601798       8/1/2011        19:06:25
20400      3367720806       9/21/2011       19:29:21
20401      3367721106       6/15/2012       16:33:15
20402      3367726942       9/19/2011       19:24:31
20403      3367767162       12/27/2011      14:26:49
20404      3367768002       3/22/2012       7:54:29
20405      3367768193       8/29/2011       13:01:35
20406      3367823711       3/7/2012        7:04:25
20407      3367829014       3/7/2012        7:05:27
20408      3367837278       10/13/2012      9:06:24
20409      3367905166       7/14/2011       15:57:27
20410      3368030325       3/14/2012       19:24:41
20411      3368030670       10/15/2011      9:16:59
20412      3368032877       8/20/2012       18:48:58
20413      3368033159       8/6/2012        14:26:53
20414      3368044520       3/17/2012       8:28:09
20415      3368162539       5/22/2012       18:32:51
20416      3368163091       7/15/2011       17:27:39
20417      3368163293       3/23/2012       10:51:55
20418      3368171054       9/28/2011       10:11:19
20419      3368171054       10/11/2011      16:56:42
20420      3368172317       1/9/2012        18:37:02
20421      3368302585       12/18/2011      17:24:49
20422      3368302608       2/21/2012       17:40:49
20423      3368304394       11/12/2011      10:14:16
20424      3368305745       2/14/2012       16:38:30
20425      3368305745       5/21/2012       7:24:38
20426      3368313741       11/14/2011      16:49:20
20427      3368313842       9/8/2011        19:38:45
20428      3368314409       8/1/2012        8:26:48
20429      3368314913       12/23/2011      13:50:07
20430      3368315733       7/5/2012        7:50:15
20431      3368375789       12/23/2011      7:14:18
20432      3368379678       10/22/2013      7:01:11
20433      3368471399       6/4/2011        10:02:19
20434      3368481876       1/8/2012        12:44:33
20435      3368484729       11/11/2011      14:34:22
20436      3368580137       4/21/2012       16:17:18
20437      3368623604       6/19/2012       13:16:58
20438      3368624724       7/16/2012       7:15:57
20439      3368626989       9/8/2012        11:20:01
20440      3368629006       6/15/2012       16:36:35
20441      3368705385       8/30/2011       17:13:00
20442      3368706598       12/20/2011      19:28:22
20443      3368708233       9/13/2012       7:39:04
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20444      3368770380       11/18/2011      13:28:40
20445      3368776208       9/16/2011       14:18:08
20446      3368800817       10/12/2011      7:40:39
20447      3368805185       9/28/2011       10:14:20
20448      3368808033       10/13/2011      7:16:49
20449      3368809929       5/27/2012       13:52:22
20450      3368809929       5/29/2012       17:11:53
20451      3368835175       12/13/2011      17:04:16
20452      3368889337       10/23/2012      10:28:14
20453      3369021239       10/5/2011       13:59:04
20454      3369024005       9/29/2011       15:30:21
20455      3369025030       4/16/2012       15:57:55
20456      3369025859       7/20/2012       14:53:53
20457      3369062024       10/10/2011      11:38:46
20458      3369062024       10/19/2011      7:53:35
20459      3369062375       9/3/2012        14:48:16
20460      3369063674       9/28/2011       11:10:22
20461      3369066126       7/27/2012       12:37:07
20462      3369084011       12/19/2011      7:18:30
20463      3369085816       10/19/2012      19:09:46
20464      3369090634       1/7/2012        8:23:22
20465      3369090634       1/11/2012       7:22:26
20466      3369091417       12/29/2011      15:01:08
20467      3369091983       2/10/2012       7:07:17
20468      3369180049       3/17/2012       8:36:00
20469      3369180778       10/19/2011      7:46:55
20470      3369180966       10/22/2011      13:02:42
20471      3369181325       12/17/2011      11:47:21
20472      3369182757       9/19/2011       7:12:56
20473      3369183087       1/18/2012       16:36:20
20474      3369183157       10/7/2011       7:05:31
20475      3369184554       9/17/2011       9:53:21
20476      3369184818       1/18/2012       9:58:53
20477      3369184849       1/13/2012       17:14:39
20478      3369184849       1/20/2012       11:43:43
20479      3369184849       5/9/2012        7:37:54
20480      3369185910       4/24/2012       12:08:14
20481      3369186174       2/13/2012       7:11:47
20482      3369187203       10/14/2011      12:40:25
20483      3369187417       7/19/2012       7:55:47
20484      3369260239       10/6/2011       16:21:02
20485      3369260397       3/16/2012       10:10:35
20486      3369261494       7/7/2012        10:20:22
20487      3369262526       11/11/2011      13:38:48
20488      3369262930       1/30/2012       7:13:52
20489      3369263135       11/8/2011       14:09:05
20490      3369263389       12/20/2011      7:05:47
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20491      3369265405       4/18/2012       7:03:47
20492      3369407104       1/11/2012       7:33:36
20493      3369444115       10/25/2011      15:04:47
20494      3369490530       9/14/2012       7:07:36
20495      3369517229       12/7/2011       13:24:58
20496      3369530290       9/22/2011       15:12:45
20497      3369540220       4/10/2012       11:37:51
20498      3369547490       9/4/2012        16:03:48
20499      3369633272       1/6/2012        14:48:42
20500      3369643225       1/19/2012       18:20:00
20501      3369651470       11/14/2011      16:21:24
20502      3369652517       5/21/2012       7:20:55
20503      3369653184       4/29/2012       16:42:42
20504      3369653184       7/11/2012       17:13:26
20505      3369653270       10/15/2011      9:05:08
20506      3369653761       12/6/2011       14:24:06
20507      3369654447       12/17/2011      11:57:56
20508      3369654997       1/6/2012        7:14:01
20509      3369656128       11/18/2011      12:21:07
20510      3369656484       10/7/2011       7:20:33
20511      3369656581       1/9/2012        18:25:37
20512      3369657606       8/27/2011       11:35:36
20513      3369657653       6/14/2012       7:07:44
20514      3369657835       10/25/2011      16:08:19
20515      3369659959       9/20/2011       16:40:54
20516      3369701374       10/5/2011       14:00:51
20517      3369707969       11/10/2011      7:10:52
20518      3369721929       1/5/2012        17:22:00
20519      3369721929       5/21/2012       7:23:40
20520      3369776303       9/24/2011       9:42:14
20521      3369776499       9/5/2012        7:11:01
20522      3369780718       1/10/2012       15:27:08
20523      3369783726       1/5/2012        14:01:49
20524      3369784919       6/1/2012        9:09:46
20525      3369789698       7/6/2012        16:46:42
20526      3369818061       6/2/2012        13:03:07
20527      3369840769       8/16/2012       19:45:32
20528      3369841858       10/16/2012      16:33:11
20529      3369860241       7/26/2012       19:18:07
20530      3369860565       1/28/2012       9:41:06
20531      3369860956       12/23/2011      15:23:53
20532      3369861311       3/10/2012       8:30:56
20533      3369861625       1/24/2012       17:14:37
20534      3369861997       1/9/2012        18:08:54
20535      3369862613       10/8/2011       11:04:57
20536      3369863216       10/17/2012      9:42:53
20537      3369864071       5/23/2012       15:28:12
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20538      3369864086       3/19/2012       7:23:54
20539      3369864353       10/22/2011      12:58:26
20540      3369865161       7/23/2012       13:11:30
20541      3369865271       12/15/2011      7:20:41
20542      3369865409       3/20/2012       8:59:49
20543      3369865599       1/6/2012        7:14:02
20544      3369870378       12/21/2011      10:11:04
20545      3369870378       12/30/2011      7:09:01
20546      3369870498       7/30/2012       18:44:15
20547      3369871001       2/24/2011       11:26:11
20548      3369871117       10/25/2011      15:12:19
20549      3369871317       10/3/2011       7:09:00
20550      3369871442       12/12/2011      16:16:35
20551      3369871817       9/15/2011       7:19:34
20552      3369873359       1/7/2012        8:38:58
20553      3369873660       2/13/2012       18:40:53
20554      3369873681       9/20/2011       17:58:23
20555      3369875667       7/14/2012       8:03:32
20556      3369876131       3/7/2012        18:29:48
20557      3369876252       8/16/2012       19:57:57
20558      3369878386       12/23/2011      15:27:00
20559      3369879485       5/8/2012        9:17:35
20560      3369879485       5/21/2012       7:33:01
20561      3369880100       12/30/2011      7:10:07
20562      3369880687       1/24/2012       17:16:35
20563      3369880944       9/20/2011       16:43:52
20564      3369880967       6/2/2012        13:03:14
20565      3369881844       5/11/2012       12:15:42
20566      3369882244       11/11/2011      13:33:18
20567      3369882613       5/26/2011       17:50:38
20568      3369882661       9/25/2012       15:12:07
20569      3369882752       1/8/2012        12:54:53
20570      3369883608       10/13/2012      9:13:39
20571      3369883752       9/11/2012       7:47:21
20572      3369884216       12/23/2011      14:17:35
20573      3369886601       10/13/2011      7:27:26
20574      3369887050       1/29/2012       16:24:53
20575      3369888997       3/10/2011       17:34:22
20576      3369889669       10/24/2012      14:55:40
20577      3369891779       5/31/2012       15:07:03
20578      3369892146       1/26/2012       7:18:07
20579      3369892323       6/28/2012       14:25:13
20580      3369893681       10/4/2011       13:41:19
20581      3369895117       2/20/2012       16:51:52
20582      3369910070       8/8/2011        15:06:12
20583      3369911127       2/28/2012       16:02:10
20584      3369911236       8/10/2012       7:29:24
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20585      3369911570       1/27/2012       17:42:28
20586      3369911678       9/10/2011       8:53:45
20587      3369912061       3/20/2012       17:45:36
20588      3369912062       12/20/2011      19:31:11
20589      3369912731       3/29/2012       11:30:52
20590      3369919183       6/17/2011       15:15:19
20591      3369919472       7/5/2012        15:41:34
20592      3369951379       1/10/2014       7:08:55
20593      3369952052       12/20/2011      19:22:00
20594      3369952845       10/15/2011      10:15:24
20595      3369952989       12/23/2011      15:32:39
20596      3369953252       9/8/2011        19:40:22
20597      3369954351       1/12/2012       7:01:47
20598      3369955085       7/17/2012       7:03:38
20599      3369955139       11/21/2011      7:36:13
20600      3369955714       11/16/2011      7:48:27
20601      3369955734       11/15/2011      15:04:20
20602      3369956139       6/24/2011       11:51:11
20603      3369957724       3/24/2012       9:55:08
20604      3369958576       2/15/2012       8:01:59
20605      3369958973       10/17/2012      9:37:55
20606      3369959101       1/3/2012        16:45:01
20607      3369959499       1/14/2012       13:24:08
20608      3369970859       12/22/2011      8:34:19
20609      3369971901       1/29/2012       16:24:55
20610      3369972588       12/23/2011      7:14:32
20611      3369973849       1/9/2012        7:24:50
20612      3369974329       12/14/2011      17:50:48
20613      3369974730       10/6/2012       9:00:10
20614      3369975140       4/16/2012       16:01:27
20615      3369977997       10/15/2011      10:28:37
20616      3372122594       1/27/2012       11:50:21
20617      3372249165       6/7/2012        18:30:15
20618      3372545596       6/19/2012       15:42:51
20619      3372635645       6/12/2012       17:12:50
20620      3372741129       10/15/2011      10:54:30
20621      3372759222       12/24/2011      8:10:02
20622      3372759223       12/26/2011      9:08:37
20623      3372807781       10/2/2013       12:30:21
20624      3372810802       7/27/2012       13:12:00
20625      3372872153       3/26/2012       18:29:00
20626      3372921357       3/27/2012       14:56:03
20627      3372929100       10/27/2011      16:30:10
20628      3372963423       5/22/2012       11:20:03
20629      3373139669       3/16/2012       16:05:00
20630      3373157445       3/29/2012       16:38:47
20631      3373312375       2/10/2012       20:33:38
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20632      3373515799       9/20/2011       17:30:40
20633      3373536205       8/13/2012       7:34:51
20634      3373538209       5/9/2012        21:44:12
20635      3373538732       9/20/2011       20:48:39
20636      3373538923       10/17/2011      7:30:40
20637      3373776001       2/21/2012       20:54:10
20638      3373963314       6/19/2012       15:42:39
20639      3373970785       7/22/2011       12:52:57
20640      3374120659       6/5/2012        17:59:47
20641      3374243159       4/11/2012       11:29:08
20642      3374668035       6/11/2012       17:02:47
20643      3374760930       7/19/2012       17:32:52
20644      3375150971       11/30/2011      8:01:15
20645      3375191823       6/23/2012       16:25:13
20646      3375195038       9/8/2011        17:57:07
20647      3375521216       11/11/2011      13:45:15
20648      3375776567       6/11/2012       17:02:35
20649      3375794094       7/12/2012       19:53:21
20650      3375802804       6/11/2012       18:04:23
20651      3376920356       10/25/2012      19:35:43
20652      3377183378       8/1/2012        9:05:56
20653      3377819574       12/28/2011      8:47:59
20654      3378312595       3/15/2012       13:51:38
20655      3378312595       5/21/2012       8:28:12
20656      3378312659       3/14/2012       14:17:07
20657      3378529494       9/13/2011       17:49:24
20658      3378846455       9/22/2012       9:40:00
20659      3379124683       6/15/2012       8:42:08
20660      3379903046       3/29/2012       16:33:24
20661      3392220248       10/20/2011      15:17:24
20662      3392360571       6/4/2012        8:07:10
20663      3399332600       4/12/2012       18:01:46
20664      3403441619       12/15/2011      7:25:35
20665      3405140785       1/9/2012        7:44:35
20666      3406260707       5/20/2011       17:37:32
20667      3409984939       11/14/2011      16:23:35
20668      3472009653       9/23/2011       18:56:19
20669      3472043564       1/11/2012       11:01:49
20670      3472043882       9/17/2011       9:42:21
20671      3472066013       7/12/2012       19:51:58
20672      3472080239       7/9/2012        19:17:15
20673      3472091423       10/10/2011      12:09:46
20674      3472134142       3/14/2012       19:26:12
20675      3472135592       1/5/2012        13:55:30
20676      3472150571       10/17/2011      7:33:06
20677      3472219710       5/17/2012       17:02:54
20678      3472285809       10/6/2011       16:11:39
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20679      3472414230       3/25/2012       11:37:33
20680      3472426223       11/28/2011      17:49:46
20681      3472511251       9/30/2011       10:12:54
20682      3472567431       6/30/2012       16:00:58
20683      3472652733       1/6/2012        14:35:46
20684      3472658926       9/27/2012       16:25:38
20685      3472662100       5/14/2012       15:29:52
20686      3472663828       3/15/2012       7:15:12
20687      3472671258       11/4/2011       7:17:01
20688      3472745604       1/23/2012       18:56:53
20689      3472779629       2/22/2012       7:01:42
20690      3472810135       3/21/2012       7:06:33
20691      3472826332       5/30/2012       12:45:44
20692      3472915259       4/10/2012       11:48:55
20693      3473145266       8/14/2012       11:39:39
20694      3473209343       12/3/2011       9:51:43
20695      3473234355       9/8/2011        19:28:58
20696      3473317709       5/19/2012       9:37:22
20697      3473342934       6/20/2011       14:18:49
20698      3473403669       10/5/2012       12:32:39
20699      3473570963       12/3/2011       9:50:13
20700      3473663962       10/10/2011      11:50:11
20701      3473668021       2/21/2012       9:28:58
20702      3473937742       6/17/2011       15:08:23
20703      3474004160       10/29/2011      11:34:40
20704      3474097448       12/7/2011       15:11:04
20705      3474157299       10/10/2012      12:41:57
20706      3474157514       4/21/2012       8:10:21
20707      3474157514       6/16/2012       15:11:53
20708      3474292272       9/21/2012       15:27:38
20709      3474323618       4/20/2012       13:46:30
20710      3474366803       1/13/2012       17:24:15
20711      3474519832       8/16/2012       14:27:46
20712      3474762388       10/19/2011      12:05:38
20713      3474784300       1/11/2012       16:34:29
20714      3474848717       8/23/2011       17:52:54
20715      3474855684       9/22/2012       8:18:07
20716      3474959577       7/2/2011        8:55:19
20717      3475104637       7/30/2012       13:23:00
20718      3475109313       9/28/2011       11:05:04
20719      3475127066       10/17/2011      7:30:26
20720      3475158982       12/27/2011      13:32:32
20721      3475173791       2/13/2012       18:47:23
20722      3475319800       10/8/2011       10:31:38
20723      3475431601       11/23/2011      9:58:41
20724      3475490200       9/19/2012       7:55:48
20725      3475586036       10/13/2011      7:16:22
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20726      3475630535       12/5/2011       18:28:26
20727      3475640925       3/23/2012       11:04:23
20728      3475738020       5/10/2012       16:08:49
20729      3475764896       5/23/2012       15:10:32
20730      3475785621       1/23/2012       19:06:05
20731      3475824155       10/15/2011      9:44:56
20732      3475943610       7/30/2012       18:41:03
20733      3475943610       8/16/2012       7:47:29
20734      3475964122       11/18/2011      13:25:08
20735      3476023046       6/21/2012       10:13:08
20736      3476148188       6/7/2012        12:47:12
20737      3476220027       9/21/2011       19:33:03
20738      3476233126       11/3/2011       17:34:18
20739      3476242120       7/19/2012       7:54:43
20740      3476243442       9/28/2011       10:56:17
20741      3476288696       1/30/2012       9:02:40
20742      3476418240       4/12/2012       12:15:33
20743      3476443292       9/12/2011       13:15:37
20744      3476613207       1/13/2012       17:13:58
20745      3476613207       5/25/2012       16:59:04
20746      3476643518       8/31/2012       16:26:20
20747      3476793231       10/20/2011      15:16:37
20748      3476832555       12/28/2011      17:58:30
20749      3477035766       5/18/2012       11:56:03
20750      3477245851       8/1/2012        8:33:27
20751      3477279042       10/4/2011       13:11:00
20752      3477279042       11/23/2011      9:21:47
20753      3477279042       4/1/2012        16:03:56
20754      3477300567       3/30/2011       9:31:30
20755      3477300567       9/12/2011       12:55:49
20756      3477315600       11/26/2011      13:08:12
20757      3477491185       9/17/2011       9:49:27
20758      3477617184       3/25/2011       8:18:13
20759      3477725807       3/21/2012       13:50:53
20760      3477726606       6/14/2012       20:54:58
20761      3477846471       12/22/2011      9:13:53
20762      3477921908       8/31/2011       7:12:34
20763      3477979428       7/23/2012       15:25:11
20764      3478062347       10/3/2012       19:47:34
20765      3478068827       1/25/2012       9:26:12
20766      3478195722       2/25/2012       10:30:47
20767      3478224644       1/28/2012       9:40:51
20768      3478403911       11/8/2011       13:54:01
20769      3478487064       12/15/2011      7:34:01
20770      3478550012       10/5/2011       14:01:50
20771      3478585473       9/17/2012       7:45:56
20772      3478651037       7/18/2012       7:08:45
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20773      3478709520       3/20/2012       17:34:33
20774      3478855384       11/30/2011      7:07:23
20775      3478932448       12/3/2011       9:05:39
20776      3479385418       1/6/2012        14:38:48
20777      3479518215       3/21/2012       7:07:14
20778      3479630522       10/13/2012      8:52:55
20779      3479854222       10/18/2011      7:18:17
20780      3479927780       11/30/2011      7:27:02
20781      3479935656       2/25/2012       10:55:13
20782      3479945310       3/23/2012       19:43:41
20783      3479945310       5/12/2012       10:27:49
20784      3479950463       9/28/2011       10:03:03
20785      3479955378       2/11/2012       18:14:18
20786      3522011320       9/11/2012       7:45:36
20787      3522014384       8/2/2011        16:55:15
20788      3522015539       7/16/2012       7:14:40
20789      3522016949       6/18/2011       15:11:30
20790      3522051576       6/1/2012        9:03:09
20791      3522053956       1/13/2012       17:22:25
20792      3522056510       5/17/2012       17:03:57
20793      3522060376       10/11/2012      7:54:13
20794      3522061780       10/25/2012      12:19:19
20795      3522075079       9/1/2012        9:22:10
20796      3522078048       3/26/2012       18:35:32
20797      3522083978       5/19/2012       9:22:30
20798      3522091911       4/23/2012       7:02:29
20799      3522100362       9/15/2011       7:32:10
20800      3522102389       3/28/2012       18:12:32
20801      3522106545       10/10/2011      12:19:31
20802      3522121582       12/5/2011       18:04:27
20803      3522131076       2/11/2012       15:26:58
20804      3522131500       9/10/2011       8:45:40
20805      3522142635       10/17/2012      9:31:40
20806      3522150461       5/10/2012       14:53:43
20807      3522152681       2/21/2012       9:44:37
20808      3522153949       9/6/2012        12:21:44
20809      3522157302       6/27/2012       17:51:36
20810      3522169363       7/20/2011       13:38:12
20811      3522172761       9/16/2011       14:20:43
20812      3522173643       6/9/2012        14:50:04
20813      3522175114       7/2/2012        17:15:47
20814      3522176462       9/20/2011       19:24:47
20815      3522176946       11/22/2011      18:40:01
20816      3522191513       5/11/2012       7:08:23
20817      3522196258       12/13/2011      17:40:40
20818      3522207283       7/26/2012       12:24:59
20819      3522211775       11/11/2011      7:48:46
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20820      3522226246       10/29/2011      10:35:03
20821      3522252299       11/10/2011      7:25:08
20822      3522256370       9/20/2011       16:38:37
20823      3522264468       7/16/2012       19:48:13
20824      3522265503       10/26/2011      11:57:10
20825      3522265503       11/15/2011      15:13:52
20826      3522277155       12/26/2011      9:12:42
20827      3522277155       1/9/2012        18:25:06
20828      3522277886       6/30/2011       8:40:11
20829      3522280239       6/2/2012        13:03:35
20830      3522287199       12/5/2011       8:36:27
20831      3522291656       12/18/2011      16:16:25
20832      3522297052       8/10/2011       18:41:15
20833      3522327955       10/24/2011      7:25:31
20834      3522333909       11/30/2011      15:38:31
20835      3522345890       1/8/2012        12:52:42
20836      3522351167       8/24/2012       7:37:30
20837      3522381234       1/18/2012       9:44:09
20838      3522386825       5/22/2012       18:35:06
20839      3522402478       10/25/2012      12:11:09
20840      3522427792       7/18/2012       18:23:58
20841      3522460284       4/3/2012        16:07:05
20842      3522501779       10/29/2011      10:34:58
20843      3522553360       9/9/2011        7:28:30
20844      3522556038       3/8/2012        9:25:11
20845      3522556863       3/12/2012       19:19:53
20846      3522556863       3/19/2012       17:38:42
20847      3522560814       2/11/2012       10:46:08
20848      3522562492       5/19/2012       16:06:42
20849      3522563283       4/2/2012        16:53:39
20850      3522564018       5/28/2012       8:09:32
20851      3522580832       5/1/2012        8:17:11
20852      3522586599       8/25/2012       11:06:08
20853      3522620683       6/6/2012        7:17:18
20854      3522623675       9/26/2011       8:22:45
20855      3522630744       10/10/2011      11:44:51
20856      3522660033       10/8/2011       10:46:15
20857      3522662140       9/13/2012       7:38:39
20858      3522666361       6/26/2012       16:21:14
20859      3522666361       6/29/2012       17:39:32
20860      3522668765       11/26/2011      12:26:51
20861      3522670733       12/18/2011      16:56:57
20862      3522670834       3/10/2011       15:25:49
20863      3522677776       12/6/2011       7:41:49
20864      3522677776       12/15/2011      8:17:37
20865      3522679483       4/5/2012        14:24:09
20866      3522744140       9/19/2011       19:23:30
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20867      3522747682       5/11/2012       18:31:50
20868      3522747682       8/6/2012        14:29:25
20869      3522772990       3/31/2012       8:11:52
20870      3522782000       11/18/2011      12:36:32
20871      3522782179       5/4/2012        18:16:35
20872      3522783229       4/28/2012       8:56:35
20873      3522783229       5/21/2012       7:31:52
20874      3522784302       12/10/2011      12:57:32
20875      3522784302       1/11/2012       7:21:32
20876      3522787158       12/11/2011      12:19:55
20877      3522810505       11/9/2011       7:53:35
20878      3522812547       8/10/2012       7:27:51
20879      3522814707       9/18/2012       14:15:17
20880      3522819190       9/10/2012       7:33:36
20881      3522832027       10/12/2011      11:54:50
20882      3522862843       7/12/2011       11:32:12
20883      3522866274       11/18/2011      12:41:24
20884      3522867266       8/18/2012       8:52:21
20885      3522867945       10/20/2011      15:30:30
20886      3522869592       10/7/2012       12:56:38
20887      3523010214       9/6/2012        12:29:03
20888      3523010631       10/1/2011       10:28:25
20889      3523011434       1/3/2012        7:07:10
20890      3523011591       1/19/2012       18:26:23
20891      3523011591       6/9/2012        10:46:35
20892      3523020655       6/26/2012       8:01:07
20893      3523022823       5/23/2012       16:55:26
20894      3523025247       9/19/2011       19:11:11
20895      3523039548       7/19/2011       16:10:26
20896      3523084495       8/1/2011        19:49:20
20897      3523089602       9/24/2012       19:03:51
20898      3523164563       1/30/2012       7:03:35
20899      3523180660       8/20/2012       18:51:16
20900      3523210288       4/2/2012        17:38:02
20901      3523211338       10/6/2011       16:13:41
20902      3523212136       11/15/2011      16:05:22
20903      3523215337       5/21/2012       7:30:25
20904      3523218389       9/19/2011       19:24:57
20905      3523281925       9/5/2012        7:17:47
20906      3523282004       10/14/2011      12:42:11
20907      3523394611       2/8/2012        7:34:57
20908      3523412027       10/6/2012       8:26:58
20909      3523420198       12/27/2011      14:17:02
20910      3523420700       2/8/2012        7:29:51
20911      3523423609       2/18/2012       8:59:43
20912      3523451675       10/7/2011       7:22:53
20913      3523455696       10/22/2011      12:26:59
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20914      3523456350       5/6/2012        17:31:22
20915      3523459290       9/21/2012       18:45:54
20916      3523461013       2/20/2012       16:45:52
20917      3523461013       3/6/2012        15:56:04
20918      3523462776       12/8/2011       12:10:12
20919      3523463862       9/13/2011       7:12:22
20920      3523482241       12/21/2011      10:11:49
20921      3523482241       1/3/2012        19:40:03
20922      3523560528       9/14/2011       9:29:28
20923      3523560528       1/11/2012       7:42:42
20924      3523608151       2/7/2012        7:14:17
20925      3523610384       4/10/2012       16:09:34
20926      3523612291       12/27/2011      14:16:04
20927      3523612485       1/18/2012       9:45:50
20928      3523612806       9/26/2011       9:41:07
20929      3523614180       8/22/2011       7:40:44
20930      3523614555       7/12/2012       19:50:54
20931      3523614602       6/8/2011        18:41:02
20932      3523618119       10/17/2012      18:34:52
20933      3523619664       12/29/2011      10:53:45
20934      3523620387       2/14/2012       9:54:23
20935      3523622715       5/30/2012       16:48:25
20936      3523629063       11/17/2011      13:35:43
20937      3523979874       8/3/2011        11:16:44
20938      3523979874       9/23/2011       11:28:26
20939      3523979874       12/20/2011      11:57:11
20940      3523986077       9/25/2012       15:00:41
20941      3523989027       3/23/2012       19:49:48
20942      3524002295       11/4/2011       7:18:22
20943      3524038031       12/21/2011      9:52:41
20944      3524087578       2/13/2012       7:12:40
20945      3524091440       3/25/2011       8:18:44
20946      3524097457       8/30/2012       17:30:57
20947      3524102777       5/5/2012        8:13:40
20948      3524102777       5/21/2012       7:32:21
20949      3524103635       3/6/2012        15:45:37
20950      3524103635       6/19/2012       15:41:56
20951      3524105529       3/20/2012       20:03:09
20952      3524109590       9/23/2011       18:58:53
20953      3524148330       2/14/2012       15:32:49
20954      3524148747       11/8/2011       14:10:49
20955      3524182992       10/17/2012      9:41:02
20956      3524223084       2/28/2012       7:42:32
20957      3524224154       12/27/2011      13:38:35
20958      3524224728       10/25/2011      15:16:01
20959      3524252914       9/19/2011       19:23:49
20960      3524260325       10/7/2012       12:57:44
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20961      3524260655       7/25/2012       12:01:15
20962      3524261383       2/16/2012       7:08:33
20963      3524262162       2/24/2012       17:11:27
20964      3524262701       10/15/2012      9:50:34
20965      3524266165       10/17/2012      18:29:38
20966      3524270215       2/17/2012       8:59:52
20967      3524276836       9/10/2011       9:01:28
20968      3524282002       4/18/2012       17:48:00
20969      3524282002       5/21/2012       7:31:06
20970      3524282002       5/21/2012       7:31:39
20971      3524285134       10/17/2012      18:31:32
20972      3524288415       2/28/2012       15:58:24
20973      3524335188       3/19/2012       17:39:20
20974      3524339095       10/4/2011       13:09:25
20975      3524370313       9/20/2011       18:06:42
20976      3524389720       8/23/2012       11:45:19
20977      3524410193       11/3/2011       17:33:48
20978      3524410304       8/8/2011        12:11:40
20979      3524410547       5/18/2012       15:43:32
20980      3524422390       6/27/2012       17:56:23
20981      3524422957       10/7/2012       12:44:58
20982      3524455201       10/28/2011      13:54:26
20983      3524455929       12/14/2011      13:57:26
20984      3524490055       4/10/2012       16:01:52
20985      3524490328       10/11/2011      17:01:04
20986      3524490704       10/3/2011       7:07:27
20987      3524544102       10/17/2012      18:28:12
20988      3524545389       12/12/2011      12:10:43
20989      3524546475       2/9/2012        20:37:25
20990      3524548533       2/21/2012       9:42:46
20991      3524553560       2/6/2012        7:20:05
20992      3524554103       9/7/2011        14:23:15
20993      3524554473       1/20/2012       11:48:26
20994      3524556161       9/22/2011       15:53:40
20995      3524556974       7/14/2011       7:55:57
20996      3524602464       12/9/2011       8:14:23
20997      3524613739       5/19/2012       16:03:36
20998      3524679975       5/6/2012        17:38:22
20999      3524705049       10/21/2011      13:47:03
21000      3524707261       12/29/2011      11:00:14
21001      3524740309       1/27/2012       17:51:49
21002      3524768554       3/14/2012       14:45:55
21003      3524786404       4/12/2012       17:57:02
21004      3524786543       10/12/2011      8:27:38
21005      3524786598       11/26/2011      13:06:11
21006      3524842442       3/21/2012       13:46:44
21007      3524844876       3/12/2014       9:42:12
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21008      3524844933       4/16/2012       15:41:54
21009      3524847747       9/20/2011       16:32:43
21010      3524847747       11/12/2011      10:14:29
21011      3524848308       9/24/2011       9:41:14
21012      3524849719       11/14/2011      14:17:40
21013      3524948594       1/14/2012       13:28:24
21014      3524972580       9/26/2012       7:07:50
21015      3524974143       3/6/2012        15:56:21
21016      3524975538       10/17/2012      9:38:51
21017      3524977060       11/29/2011      15:21:53
21018      3524979698       7/20/2012       7:31:47
21019      3525021175       5/6/2011        15:35:45
21020      3525022624       4/10/2012       16:06:55
21021      3525026390       4/30/2012       14:26:11
21022      3525026390       5/4/2012        14:22:25
21023      3525026956       5/14/2012       15:30:45
21024      3525041477       4/5/2012        7:07:27
21025      3525047418       10/22/2011      13:05:48
21026      3525048420       5/21/2012       7:22:55
21027      3525049991       11/26/2011      12:20:43
21028      3525076062       5/1/2012        17:33:52
21029      3525121189       10/19/2012      19:07:40
21030      3525121743       9/13/2011       17:41:14
21031      3525141728       12/3/2011       8:58:45
21032      3525144678       10/18/2011      12:51:24
21033      3525146440       12/12/2011      12:02:55
21034      3525166367       10/21/2011      13:07:11
21035      3525166668       9/22/2012       9:05:29
21036      3525283130       7/27/2012       20:38:44
21037      3525297328       4/13/2012       13:27:57
21038      3525297342       9/6/2012        12:28:54
21039      3525357511       10/6/2011       16:06:25
21040      3525360589       3/20/2012       17:44:39
21041      3525360649       12/16/2011      15:26:44
21042      3525367010       11/30/2011      7:03:55
21043      3525381030       5/18/2012       15:55:23
21044      3525386475       11/8/2011       14:14:01
21045      3525387709       1/12/2012       14:00:31
21046      3525441271       5/18/2012       7:09:53
21047      3525511007       10/15/2011      10:15:52
21048      3525515253       10/29/2011      11:28:57
21049      3525515253       11/18/2011      12:53:39
21050      3525533561       1/19/2012       7:58:27
21051      3525533764       12/12/2011      11:54:28
21052      3525533815       9/30/2011       9:53:02
21053      3525537044       10/18/2011      11:59:50
21054      3525537128       1/19/2012       18:21:35
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21055      3525537304       10/17/2011      7:41:36
21056      3525566304       11/23/2011      9:07:56
21057      3525568637       1/30/2012       7:05:51
21058      3525568637       3/17/2012       8:41:43
21059      3525571237       9/21/2011       11:52:54
21060      3525580768       1/4/2012        10:59:15
21061      3525584024       11/20/2011      11:08:30
21062      3525584024       11/25/2011      17:39:57
21063      3525584256       11/17/2011      15:01:14
21064      3525725465       3/8/2012        7:19:36
21065      3525755568       3/8/2012        7:03:57
21066      3525756736       5/11/2012       18:33:35
21067      3525756818       3/29/2012       11:51:10
21068      3525774350       3/13/2012       18:40:07
21069      3525840796       11/5/2011       11:01:09
21070      3525845033       4/11/2012       7:11:33
21071      3525851253       9/13/2011       15:45:40
21072      3525855611       9/28/2012       7:35:05
21073      3525865823       6/2/2011        11:13:10
21074      3525980081       8/20/2012       18:48:55
21075      3525985206       1/19/2012       7:14:15
21076      3526017766       5/28/2012       7:59:42
21077      3526020160       9/10/2011       9:16:18
21078      3526131196       7/13/2011       11:24:01
21079      3526156215       8/16/2012       19:46:23
21080      3526156215       10/9/2012       19:58:44
21081      3526156425       3/27/2012       14:59:31
21082      3526171276       4/21/2012       16:52:36
21083      3526172442       5/21/2012       17:40:44
21084      3526204856       10/8/2011       9:07:43
21085      3526205311       1/13/2012       17:13:11
21086      3526344655       7/12/2011       12:14:57
21087      3526360198       8/15/2011       9:30:52
21088      3526381738       7/12/2012       13:14:07
21089      3526383608       10/19/2011      7:33:25
21090      3526383608       11/17/2011      15:19:53
21091      3526383866       9/30/2011       9:52:52
21092      3526386551       11/23/2011      9:21:59
21093      3526388578       2/7/2012        7:05:52
21094      3526424262       10/4/2011       13:36:48
21095      3526725561       10/11/2012      12:03:31
21096      3526788140       9/21/2011       11:24:16
21097      3526821080       10/8/2011       11:12:32
21098      3526865736       10/12/2011      8:26:37
21099      3526970195       9/7/2011        14:23:36
21100      3526975283       11/11/2011      13:36:50
21101      3526975396       5/25/2012       17:05:13
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21102      3527027107       11/14/2011      16:00:05
21103      3527027107       11/22/2011      19:02:55
21104      3527924444       12/27/2011      14:39:55
21105      3528070768       4/21/2011       8:21:45
21106      3528072082       9/17/2011       9:52:45
21107      3528122272       8/7/2012        17:52:17
21108      3528170294       10/3/2012       19:55:32
21109      3528170294       10/10/2012      19:11:41
21110      3528170825       1/16/2012       7:15:26
21111      3528351436       2/15/2012       7:59:13
21112      3528356688       10/21/2011      12:33:52
21113      3528432859       9/28/2011       10:16:35
21114      3528435575       6/1/2011        11:57:41
21115      3528435582       9/15/2011       8:45:01
21116      3528484064       10/15/2011      9:07:55
21117      3528572554       8/23/2011       19:28:59
21118      3528573470       10/13/2011      7:24:06
21119      3528576754       12/14/2011      14:01:35
21120      3528579249       11/5/2011       10:40:30
21121      3528579709       7/21/2012       10:43:34
21122      3528678633       5/21/2012       7:24:22
21123      3528705601       10/26/2011      12:15:43
21124      3528712068       6/27/2012       12:05:16
21125      3528712068       8/16/2012       19:46:24
21126      3528742161       1/17/2012       7:12:06
21127      3528743919       12/5/2011       18:51:34
21128      3528750080       8/20/2011       9:39:14
21129      3528750946       10/14/2011      13:15:22
21130      3528753418       9/20/2011       16:39:14
21131      3528758533       10/3/2012       19:47:03
21132      3528758554       8/30/2012       17:45:12
21133      3528759555       4/20/2012       14:00:54
21134      3528952446       9/17/2012       7:48:17
21135      3529420319       12/5/2011       8:36:16
21136      3529421112       2/7/2012        17:05:28
21137      3529421586       6/23/2012       16:19:15
21138      3529423154       10/29/2011      10:30:55
21139      3529424322       9/17/2011       9:21:12
21140      3529425265       4/4/2012        7:07:57
21141      3529425649       11/28/2011      11:15:14
21142      3529425992       7/12/2012       19:58:19
21143      3529780199       11/18/2011      13:29:38
21144      3529783333       2/10/2012       16:53:15
21145      3602024962       11/9/2011       10:15:02
21146      3602025367       11/10/2011      15:03:29
21147      3602025721       3/14/2012       14:22:24
21148      3602028634       7/18/2012       14:47:35
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21149      3602133706       9/10/2012       21:07:15
21150      3602135057       10/6/2011       17:06:45
21151      3602135057       2/2/2012        16:44:18
21152      3602135060       8/30/2012       17:38:28
21153      3602139341       10/13/2011      10:31:14
21154      3602197298       10/16/2012      20:31:11
21155      3602205371       11/19/2011      10:40:45
21156      3602205694       5/13/2011       11:52:36
21157      3602234686       12/2/2011       14:36:50
21158      3602237414       8/19/2011       12:30:18
21159      3602245673       3/28/2012       12:35:14
21160      3602245673       5/11/2012       18:28:43
21161      3602290657       12/30/2011      12:50:04
21162      3602299772       8/24/2012       21:06:19
21163      3602396021       12/23/2011      14:28:55
21164      3602397216       10/26/2011      12:29:10
21165      3602397216       11/14/2011      17:39:00
21166      3602397216       1/12/2012       10:11:46
21167      3602411938       3/15/2012       19:37:23
21168      3602412334       10/7/2011       7:12:46
21169      3602441013       9/28/2011       10:39:29
21170      3602441061       12/28/2011      20:46:35
21171      3602445504       4/19/2012       14:50:31
21172      3602449090       1/3/2012        15:25:01
21173      3602508298       8/27/2011       12:17:20
21174      3602592386       11/8/2011       14:34:54
21175      3602599976       9/10/2011       12:40:23
21176      3602619500       5/2/2012        21:04:17
21177      3602619915       10/1/2012       21:34:14
21178      3602683579       2/1/2012        13:36:43
21179      3602691074       6/2/2011        11:37:39
21180      3602701800       1/6/2012        14:43:22
21181      3602702888       6/21/2012       15:26:02
21182      3602704208       6/5/2012        19:54:35
21183      3602707887       3/23/2012       14:47:47
21184      3602707887       8/6/2012        15:29:31
21185      3602709995       3/29/2012       11:23:19
21186      3602711151       6/27/2012       12:23:30
21187      3602810431       6/8/2012        16:58:01
21188      3602810444       9/12/2011       14:31:21
21189      3602811171       3/24/2012       10:08:22
21190      3602812759       11/10/2011      14:25:50
21191      3602819567       7/6/2012        14:54:00
21192      3602863542       12/3/2011       10:08:00
21193      3602864691       7/16/2012       19:55:05
21194      3602869244       12/29/2011      18:44:28
21195      3602925489       2/3/2012        20:12:50
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21196      3602983142       11/8/2011       14:33:51
21197      3603147644       6/11/2012       10:03:11
21198      3603148088       10/10/2011      12:01:33
21199      3603169359       10/2/2012       20:05:46
21200      3603331719       8/31/2011       11:10:45
21201      3603341291       7/12/2012       13:25:23
21202      3603392576       1/10/2012       20:55:48
21203      3603482128       12/1/2011       10:28:08
21204      3603485948       2/3/2012        14:36:15
21205      3603499116       12/18/2011      16:17:36
21206      3603507785       1/25/2012       18:24:35
21207      3603508701       5/26/2012       14:22:10
21208      3603554403       10/5/2011       14:50:04
21209      3603555893       11/30/2011      13:05:23
21210      3603555893       12/12/2011      12:32:43
21211      3603555893       1/17/2012       18:49:51
21212      3603568737       10/5/2011       14:21:02
21213      3603568737       1/6/2012        13:02:58
21214      3603590597       2/2/2012        16:36:47
21215      3603593241       9/22/2011       15:34:38
21216      3603593876       10/17/2011      11:12:40
21217      3603885289       10/27/2011      17:00:52
21218      3603887132       9/19/2011       14:47:40
21219      3603935089       12/22/2011      10:02:37
21220      3603935443       12/26/2011      20:14:10
21221      3603937266       1/25/2012       18:20:04
21222      3603938657       4/2/2012        17:36:17
21223      3604210274       1/3/2012        15:24:59
21224      3604216730       6/23/2012       15:56:41
21225      3604216730       7/27/2012       21:10:42
21226      3604218773       2/10/2012       20:36:12
21227      3604300438       11/5/2011       10:28:07
21228      3604300949       9/5/2012        15:27:57
21229      3604300949       9/10/2012       21:07:30
21230      3604305668       8/6/2012        15:37:04
21231      3604310708       3/17/2012       11:36:30
21232      3604331431       11/8/2011       14:42:56
21233      3604335944       11/26/2011      13:50:38
21234      3604383756       3/16/2012       11:53:12
21235      3604402523       8/8/2012        10:07:23
21236      3604403435       6/6/2012        10:16:53
21237      3604405522       10/5/2011       14:50:32
21238      3604412179       8/23/2011       18:31:24
21239      3604421109       5/4/2012        18:28:44
21240      3604421109       5/11/2012       19:32:27
21241      3604481593       4/7/2012        12:20:59
21242      3604481593       9/17/2012       10:08:46
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21243      3604525119       3/24/2012       10:56:35
21244      3604602224       8/6/2012        15:33:07
21245      3604608632       7/30/2012       13:45:12
21246      3604613361       7/11/2012       15:58:09
21247      3604634027       10/25/2011      16:38:11
21248      3604645482       4/21/2012       16:49:08
21249      3604645904       12/12/2011      11:55:43
21250      3604704121       9/25/2012       14:48:03
21251      3604718213       9/24/2011       9:26:33
21252      3604800469       1/18/2012       16:44:41
21253      3604808521       12/9/2011       12:53:32
21254      3604852027       12/5/2011       10:27:29
21255      3604857580       5/11/2012       12:33:18
21256      3605009733       1/25/2012       18:21:52
21257      3605076268       12/30/2011      12:48:10
21258      3605088730       5/18/2012       15:50:23
21259      3605130047       12/1/2011       10:34:47
21260      3605133977       3/5/2012        11:03:10
21261      3605134097       2/6/2012        17:23:58
21262      3605134838       3/23/2012       19:55:35
21263      3605168020       9/21/2012       18:43:10
21264      3605203884       12/26/2011      20:36:44
21265      3605204017       10/5/2011       14:23:20
21266      3605204017       10/25/2011      15:48:38
21267      3605287901       6/20/2012       9:07:52
21268      3605289446       8/23/2012       11:41:12
21269      3605369003       3/3/2012        10:39:41
21270      3605517973       11/5/2011       11:53:34
21271      3605519531       10/5/2011       14:48:32
21272      3605560788       9/8/2011        19:14:03
21273      3605601994       4/19/2012       14:50:30
21274      3605602984       10/19/2012      11:29:30
21275      3605616396       1/30/2012       8:10:19
21276      3605688749       7/23/2012       13:09:12
21277      3605827886       6/6/2012        15:22:28
21278      3605827973       9/3/2012        14:43:52
21279      3605896548       12/28/2011      20:46:01
21280      3605902508       12/29/2011      19:41:03
21281      3605916304       11/30/2011      13:06:58
21282      3605916307       4/21/2012       10:03:51
21283      3605920620       10/1/2011       10:03:56
21284      3606061645       1/13/2012       17:29:39
21285      3606070818       5/23/2011       16:19:40
21286      3606078317       2/16/2012       11:26:07
21287      3606079606       4/26/2012       17:42:36
21288      3606090631       11/22/2011      19:00:19
21289      3606105874       3/19/2012       11:48:23
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21290      3606109218       8/2/2012        11:32:54
21291      3606206279       3/29/2012       11:43:41
21292      3606206279       4/10/2012       16:16:06
21293      3606206279       6/15/2012       15:48:40
21294      3606226188       10/11/2011      16:45:25
21295      3606245718       4/11/2012       13:15:51
21296      3606281800       11/9/2011       10:29:05
21297      3606309262       3/24/2012       10:59:42
21298      3606313244       4/25/2012       18:39:23
21299      3606400207       8/29/2011       17:40:54
21300      3606497257       2/11/2012       15:49:04
21301      3606498371       5/18/2012       12:19:04
21302      3606891419       7/27/2012       14:03:46
21303      3606896930       3/2/2012        15:36:37
21304      3607010788       12/23/2011      20:42:16
21305      3607019104       12/24/2011      11:33:27
21306      3607031162       6/27/2011       18:46:22
21307      3607032053       4/18/2012       10:05:43
21308      3607086167       9/26/2011       13:18:53
21309      3607089578       4/27/2012       21:06:03
21310      3607102211       9/9/2011        18:05:58
21311      3607108350       9/27/2011       18:18:50
21312      3607133447       10/25/2011      16:38:22
21313      3607137240       9/15/2011       10:51:06
21314      3607210658       3/16/2012       16:05:00
21315      3607313479       6/29/2011       17:40:10
21316      3607473810       10/10/2011      13:09:58
21317      3607513923       10/6/2011       17:57:27
21318      3607709078       5/10/2012       14:52:05
21319      3607709078       5/29/2012       10:58:21
21320      3607713968       2/21/2012       16:21:51
21321      3607732724       1/5/2012        12:07:40
21322      3607739716       1/25/2012       20:40:01
21323      3607755151       3/2/2012        15:26:26
21324      3607916188       11/15/2011      16:40:11
21325      3608205220       4/20/2012       21:00:51
21326      3608238418       8/17/2011       18:57:54
21327      3608401244       9/30/2011       10:26:25
21328      3608406201       2/29/2012       17:27:58
21329      3608409178       3/12/2012       19:34:59
21330      3608467916       12/23/2011      15:15:16
21331      3608523671       1/18/2012       21:20:59
21332      3608687441       5/22/2012       12:00:25
21333      3608805355       9/17/2011       10:03:50
21334      3608809000       3/15/2012       13:47:33
21335      3609018423       9/19/2011       14:42:13
21336      3609041793       11/4/2011       10:32:35
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21337      3609070893       11/12/2011      10:52:24
21338      3609073624       11/12/2011      10:21:57
21339      3609088487       1/18/2012       10:01:48
21340      3609154050       6/29/2012       10:55:31
21341      3609202828       3/8/2012        20:29:57
21342      3609204552       1/18/2012       10:26:40
21343      3609207864       2/16/2012       11:23:41
21344      3609215142       3/26/2012       18:49:03
21345      3609364424       1/17/2012       17:21:43
21346      3609364486       4/13/2012       13:42:52
21347      3609364486       6/7/2012        16:13:13
21348      3609411173       10/13/2011      10:36:28
21349      3609411805       12/10/2011      13:54:48
21350      3609417091       9/19/2011       14:56:05
21351      3609513070       2/16/2012       11:28:02
21352      3609516969       6/9/2012        15:39:34
21353      3609530352       7/17/2012       21:56:35
21354      3609536356       10/12/2012      21:27:54
21355      3609704609       12/29/2011      19:39:10
21356      3609758339       11/21/2013      13:06:21
21357      3609779020       1/5/2012        21:14:51
21358      3609802941       12/23/2011      16:06:02
21359      3609806353       2/9/2012        20:38:08
21360      3609895564       5/26/2012       10:07:03
21361      3609903319       10/12/2012      21:28:14
21362      3612057447       10/20/2012      16:23:00
21363      3612074308       11/7/2011       9:23:10
21364      3612078499       8/21/2012       14:02:38
21365      3612125109       11/14/2011      17:17:59
21366      3612150485       8/19/2011       12:03:55
21367      3612151486       1/24/2012       20:11:28
21368      3612152558       1/19/2012       18:39:55
21369      3612153997       1/3/2012        11:21:09
21370      3612155226       10/12/2012      17:12:24
21371      3612156387       12/7/2011       14:09:12
21372      3612156977       7/2/2012        15:34:48
21373      3612157035       5/24/2012       11:50:08
21374      3612158059       5/20/2012       15:45:01
21375      3612158983       9/17/2012       8:32:08
21376      3612180532       10/11/2011      17:33:19
21377      3612180874       2/20/2012       17:08:59
21378      3612180887       10/20/2012      16:23:23
21379      3612182947       11/11/2011      20:23:32
21380      3612184016       7/3/2012        13:26:58
21381      3612184553       11/17/2011      15:30:31
21382      3612187444       3/20/2012       9:15:23
21383      3612188452       8/12/2011       10:45:35
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21384      3612199304       3/21/2012       13:55:11
21385      3612201510       6/21/2012       18:57:11
21386      3612201510       7/12/2012       15:51:38
21387      3612220029       10/25/2011      16:26:01
21388      3612279071       12/29/2011      18:58:52
21389      3612280695       8/29/2011       9:19:41
21390      3612282041       7/26/2012       12:19:03
21391      3612282525       2/21/2012       9:33:01
21392      3612283893       10/25/2011      15:36:45
21393      3612284306       12/1/2011       15:06:29
21394      3612286070       8/7/2012        20:01:28
21395      3612290122       9/8/2011        19:01:13
21396      3612290225       9/15/2011       9:15:18
21397      3612290496       10/13/2012      9:10:30
21398      3612291961       8/23/2012       11:53:05
21399      3612292464       10/5/2011       14:43:58
21400      3612294426       5/26/2012       15:14:38
21401      3612294531       6/5/2012        17:59:03
21402      3612295347       12/18/2011      16:59:56
21403      3612296521       5/26/2012       14:23:56
21404      3612302459       5/11/2012       10:41:41
21405      3612310887       9/27/2011       18:39:06
21406      3612310887       10/5/2011       14:11:05
21407      3612321269       6/16/2012       8:33:13
21408      3612322141       12/10/2011      14:43:36
21409      3612322872       3/11/2012       15:27:00
21410      3612323107       11/18/2011      13:37:22
21411      3612328315       10/26/2011      12:12:42
21412      3612328412       1/3/2012        10:31:13
21413      3612350845       10/27/2011      16:46:38
21414      3612351235       9/21/2011       11:57:47
21415      3612351235       9/27/2011       18:49:19
21416      3612351655       12/20/2011      15:03:07
21417      3612352725       9/22/2011       15:23:32
21418      3612370502       12/29/2011      14:07:21
21419      3612375072       1/10/2012       15:36:06
21420      3612377096       4/18/2012       17:58:22
21421      3612377270       3/21/2011       11:33:26
21422      3612378001       12/9/2011       16:03:24
21423      3612378318       1/27/2012       17:48:01
21424      3612378704       6/20/2012       17:01:09
21425      3612446170       7/13/2012       13:59:30
21426      3612492411       3/29/2012       11:35:51
21427      3612494498       10/20/2012      12:52:34
21428      3612494549       10/24/2011      8:06:15
21429      3612494931       6/20/2012       17:03:15
21430      3612754917       1/19/2012       18:31:08
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21431      3612900043       3/30/2011       10:43:41
21432      3612902804       2/11/2012       15:34:43
21433      3612907267       9/22/2012       9:38:08
21434      3613181948       8/13/2011       12:01:09
21435      3613182158       9/25/2012       15:14:48
21436      3613182755       5/21/2012       8:09:31
21437      3613182795       5/17/2012       16:35:13
21438      3613195317       11/28/2011      11:25:23
21439      3613317228       5/20/2011       18:10:36
21440      3613321491       7/7/2012        10:22:00
21441      3613322023       1/13/2012       8:08:42
21442      3613326508       10/15/2011      10:52:41
21443      3613430167       10/10/2012      12:44:09
21444      3613430167       10/15/2012      16:12:52
21445      3613430560       10/11/2011      16:12:15
21446      3613430716       5/30/2012       12:58:23
21447      3613431679       7/26/2011       9:53:25
21448      3613432127       9/12/2011       13:18:54
21449      3613432731       9/17/2011       9:35:18
21450      3613433359       9/14/2011       12:24:52
21451      3613547411       10/7/2011       8:07:36
21452      3613547519       12/15/2011      8:40:04
21453      3613550852       5/29/2012       10:55:05
21454      3613555857       2/3/2012        20:09:31
21455      3613556366       4/13/2012       13:37:09
21456      3613890698       4/5/2012        14:34:53
21457      3613891354       12/8/2011       19:43:01
21458      3613891446       9/20/2011       18:15:51
21459      3613891919       11/28/2011      17:59:47
21460      3613891959       2/28/2012       13:13:52
21461      3613892702       7/16/2012       9:34:49
21462      3613893306       12/1/2011       8:08:37
21463      3613894802       4/10/2012       16:14:49
21464      3613895212       12/27/2011      9:31:15
21465      3613896065       5/30/2012       12:53:26
21466      3613897215       10/18/2011      13:01:10
21467      3613897215       1/21/2012       8:42:10
21468      3613897215       3/26/2012       18:27:32
21469      3613898829       10/21/2011      12:41:28
21470      3613898853       12/3/2011       10:22:24
21471      3613899172       8/15/2012       12:22:52
21472      3613899684       3/19/2012       11:51:35
21473      3613963869       9/20/2011       20:32:04
21474      3613966577       10/11/2011      17:21:05
21475      3614034885       5/31/2012       8:13:57
21476      3614040402       11/23/2011      10:40:10
21477      3614067101       11/15/2011      15:36:40
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21478      3614067101       11/21/2011      8:08:42
21479      3614251177       10/12/2011      12:15:20
21480      3614251177       11/23/2011      14:55:02
21481      3614251842       9/27/2011       18:45:11
21482      3614253615       2/14/2012       16:52:15
21483      3614253858       11/30/2011      14:53:06
21484      3614257030       10/1/2011       10:12:37
21485      3614257030       10/15/2011      8:29:32
21486      3614294710       10/16/2012      16:38:19
21487      3614297030       8/13/2012       20:51:31
21488      3614331315       10/6/2011       17:47:01
21489      3614332200       11/7/2011       9:24:33
21490      3614332505       11/25/2011      18:25:16
21491      3614332557       9/12/2012       15:00:49
21492      3614333456       10/10/2011      12:38:11
21493      3614333505       3/15/2012       19:31:04
21494      3614338694       9/22/2011       15:19:56
21495      3614344943       5/14/2012       15:35:54
21496      3614423743       10/22/2011      13:10:35
21497      3614427441       9/19/2012       16:21:56
21498      3614428372       10/10/2011      12:41:32
21499      3614429304       10/31/2011      9:22:23
21500      3614434992       9/21/2012       18:46:01
21501      3614436743       8/25/2011       18:00:41
21502      3614449676       9/23/2011       11:47:42
21503      3614462437       5/21/2012       8:10:57
21504      3614462437       5/21/2012       8:29:30
21505      3614464745       12/3/2011       10:24:20
21506      3614464745       1/25/2012       20:37:55
21507      3614490093       8/13/2012       20:58:00
21508      3614495596       11/12/2011      9:35:13
21509      3614496547       11/14/2011      17:03:40
21510      3614550785       5/20/2012       15:47:05
21511      3614550785       5/21/2012       8:10:51
21512      3614552107       8/15/2012       12:24:11
21513      3614556681       2/11/2012       15:12:57
21514      3614557062       10/11/2011      17:26:07
21515      3614610136       8/9/2012        14:19:04
21516      3614612731       7/24/2012       14:46:48
21517      3614613583       1/27/2012       11:50:25
21518      3614613583       5/21/2012       8:02:10
21519      3614614204       7/28/2011       10:04:54
21520      3614615137       8/21/2012       13:55:08
21521      3614615140       7/11/2012       17:21:57
21522      3614615314       11/18/2011      13:33:53
21523      3614615338       8/7/2012        19:53:04
21524      3614616115       11/17/2011      15:32:06
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21525      3614616527       10/24/2011      8:09:35
21526      3614618887       10/10/2012      19:13:14
21527      3614618941       3/6/2012        20:23:50
21528      3614619000       1/30/2012       8:45:03
21529      3614632962       9/22/2012       9:12:31
21530      3614633776       10/22/2012      17:51:33
21531      3614638234       11/19/2011      9:08:46
21532      3614638234       1/13/2012       17:42:46
21533      3614808839       3/23/2012       11:25:36
21534      3614829482       10/5/2012       18:17:04
21535      3614842433       10/26/2011      12:12:55
21536      3614888592       5/8/2012        12:40:51
21537      3614910525       10/19/2011      12:15:58
21538      3614910723       10/6/2011       16:50:08
21539      3614911333       3/13/2012       18:41:45
21540      3614911777       1/9/2012        18:39:15
21541      3614920736       1/13/2012       12:32:49
21542      3615100220       8/19/2011       12:25:54
21543      3615100525       10/15/2011      10:46:29
21544      3615222440       11/28/2011      12:09:36
21545      3615222840       11/16/2011      10:31:46
21546      3615226313       11/3/2011       17:56:00
21547      3615228309       7/27/2012       15:26:10
21548      3615229078       1/13/2012       17:25:43
21549      3615229249       11/28/2011      12:05:42
21550      3615336156       5/24/2012       11:50:10
21551      3615371234       10/24/2011      8:08:05
21552      3615371234       11/15/2011      15:39:21
21553      3615371234       11/28/2011      12:13:43
21554      3615371234       4/4/2012        19:05:48
21555      3615371993       10/15/2011      9:36:39
21556      3615373170       10/3/2012       8:03:12
21557      3615373699       7/27/2012       13:12:13
21558      3615376388       5/21/2012       8:25:57
21559      3615377195       2/24/2012       20:50:34
21560      3615423261       11/11/2011      13:19:45
21561      3615426904       2/24/2012       20:57:11
21562      3615429827       10/26/2011      12:20:29
21563      3615437133       3/4/2012        12:33:46
21564      3615437144       2/9/2012        9:40:13
21565      3615483633       9/23/2011       11:47:11
21566      3615485263       7/14/2011       9:34:50
21567      3615486310       8/8/2012        16:07:53
21568      3615499014       1/14/2012       13:21:50
21569      3615500627       12/27/2011      14:36:49
21570      3615574745       5/16/2012       16:49:29
21571      3615580323       9/8/2011        19:31:11
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21572      3615582252       10/13/2011      8:38:49
21573      3615582252       6/1/2012        9:01:31
21574      3615582944       8/10/2012       8:22:30
21575      3615584012       5/28/2011       10:30:33
21576      3615585881       1/4/2012        11:07:36
21577      3615585986       3/20/2012       17:49:26
21578      3615585986       6/19/2012       15:39:14
21579      3615587062       11/18/2011      12:56:16
21580      3615587444       6/5/2012        17:57:01
21581      3615588173       7/16/2012       19:39:13
21582      3615589524       10/16/2012      16:38:49
21583      3615621742       7/19/2012       17:37:50
21584      3615622719       7/16/2012       19:50:26
21585      3615631961       12/9/2011       8:16:27
21586      3615637273       7/2/2012        17:23:11
21587      3615716687       3/5/2012        8:15:21
21588      3615718581       11/28/2011      12:05:33
21589      3615826131       11/16/2011      20:06:32
21590      3615843369       6/23/2012       16:15:22
21591      3615850604       10/8/2011       9:55:29
21592      3615853214       6/27/2012       12:16:30
21593      3615853426       12/28/2011      17:43:28
21594      3615855203       4/1/2012        17:13:47
21595      3616333249       10/6/2011       16:52:20
21596      3616463296       10/12/2011      8:01:44
21597      3616486746       7/2/2012        17:07:37
21598      3616523721       3/21/2012       8:11:16
21599      3616526481       11/29/2011      15:38:59
21600      3616527138       11/22/2011      18:47:03
21601      3616527138       12/20/2011      19:25:39
21602      3616550769       11/30/2011      8:01:43
21603      3616555163       6/5/2012        17:57:48
21604      3616555269       10/13/2011      8:36:45
21605      3616583628       8/25/2012       10:57:31
21606      3616586220       4/18/2012       18:03:49
21607      3616588375       11/12/2011      9:38:49
21608      3616588375       12/5/2011       18:36:42
21609      3616604237       11/28/2011      17:57:39
21610      3616737067       1/13/2012       17:25:51
21611      3616761743       9/20/2011       16:49:57
21612      3616763688       12/8/2011       10:22:09
21613      3616781146       9/8/2011        19:52:30
21614      3616781642       8/20/2012       18:54:18
21615      3616781810       10/20/2011      16:26:57
21616      3616874756       1/19/2012       8:09:19
21617      3616874978       10/17/2012      9:43:37
21618      3616876929       9/12/2011       14:23:53
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21619      3616877680       9/20/2011       18:22:37
21620      3616877680       10/3/2011       8:08:39
21621      3616877680       3/8/2012        9:42:20
21622      3616880573       10/26/2011      13:32:52
21623      3616940860       4/19/2012       15:17:35
21624      3616950333       7/5/2012        15:37:09
21625      3616960106       1/13/2012       17:17:08
21626      3617012151       10/3/2012       20:05:31
21627      3617012383       1/5/2012        17:28:55
21628      3617013738       9/23/2011       19:01:25
21629      3617017743       4/1/2012        16:07:12
21630      3617019392       2/14/2012       13:29:20
21631      3617174148       2/7/2012        17:00:49
21632      3617229146       9/20/2011       18:27:04
21633      3617262689       9/8/2012        11:10:45
21634      3617266541       10/18/2012      8:05:02
21635      3617269261       10/10/2011      12:42:17
21636      3617284628       2/11/2012       11:15:54
21637      3617371240       9/13/2011       13:30:10
21638      3617394236       10/13/2011      8:24:24
21639      3617561261       8/21/2012       13:55:08
21640      3617561327       4/10/2012       11:54:41
21641      3617563078       9/21/2011       11:53:26
21642      3617569017       2/7/2012        8:09:39
21643      3617650354       7/28/2012       8:48:11
21644      3617650556       9/10/2011       8:40:01
21645      3617651131       12/15/2011      8:38:13
21646      3617658234       7/9/2012        8:54:55
21647      3617658312       11/15/2011      15:35:57
21648      3617715248       9/21/2012       18:50:55
21649      3617720801       3/16/2012       15:53:28
21650      3617720839       12/2/2011       8:22:32
21651      3617722892       3/18/2012       12:27:07
21652      3617725289       2/29/2012       17:34:41
21653      3617744350       9/19/2011       19:32:57
21654      3617746625       8/1/2012        20:10:10
21655      3617748948       9/20/2011       16:51:24
21656      3617796804       9/14/2011       16:44:40
21657      3617799122       12/5/2011       18:33:57
21658      3617902863       4/12/2012       12:20:38
21659      3617903301       9/14/2012       8:04:21
21660      3617908100       5/8/2012        17:16:06
21661      3617908100       5/21/2012       8:04:18
21662      3617908100       5/21/2012       8:19:08
21663      3618135936       4/23/2011       10:33:21
21664      3618137191       2/10/2012       20:37:20
21665      3618139579       2/21/2012       9:47:17
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21666      3618154645       3/13/2012       12:48:27
21667      3618162227       1/14/2012       13:21:44
21668      3618162227       3/19/2012       19:18:49
21669      3618164835       12/12/2011      12:19:58
21670      3618270606       11/15/2011      16:27:28
21671      3618270736       9/20/2011       16:50:24
21672      3618341765       9/27/2011       18:38:30
21673      3618761989       1/10/2012       18:03:03
21674      3618765848       6/16/2012       15:17:02
21675      3618773491       1/13/2012       17:28:21
21676      3618778725       11/19/2011      9:10:48
21677      3618779722       11/23/2011      14:37:45
21678      3618855208       3/23/2012       19:50:55
21679      3618942465       6/29/2012       9:33:29
21680      3618949169       2/20/2012       8:43:20
21681      3619030128       4/18/2012       17:51:06
21682      3619030128       5/28/2012       8:14:25
21683      3619030128       8/25/2012       11:14:11
21684      3619032824       2/14/2012       16:50:41
21685      3619038776       9/26/2012       14:41:40
21686      3619041355       9/15/2011       9:10:14
21687      3619043720       7/26/2011       9:50:25
21688      3619043937       10/18/2011      12:01:17
21689      3619045278       11/9/2011       8:31:28
21690      3619046543       5/17/2012       16:41:16
21691      3619046543       7/7/2012        10:26:38
21692      3619067503       11/14/2011      17:06:56
21693      3619446966       10/10/2012      13:07:13
21694      3619447982       6/30/2011       8:56:42
21695      3619451634       12/12/2011      12:20:27
21696      3619455397       1/16/2012       17:14:56
21697      3619465475       7/30/2012       13:38:42
21698      3619467278       4/29/2012       17:46:34
21699      3619470825       7/21/2011       13:44:40
21700      3619470825       7/22/2011       13:43:33
21701      3619602955       12/20/2011      15:05:28
21702      3619602955       2/3/2012        20:04:09
21703      3619606126       4/3/2012        18:18:51
21704      3852325462       6/30/2012       11:07:42
21705      3852347164       9/15/2012       11:18:51
21706      3862020543       8/20/2012       18:39:21
21707      3862065420       7/13/2012       18:32:02
21708      3862088187       10/11/2011      16:08:57
21709      3862091219       10/24/2012      14:44:00
21710      3862093039       9/26/2012       7:10:51
21711      3862093286       9/17/2011       9:24:20
21712      3862094090       9/23/2011       7:05:21
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21713      3862127479       9/13/2011       17:32:44
21714      3862141333       8/6/2011        8:21:50
21715      3862141574       9/12/2011       14:06:07
21716      3862141717       9/7/2012        15:50:12
21717      3862142764       8/9/2012        14:06:14
21718      3862146947       10/14/2011      12:42:53
21719      3862152822       3/16/2012       10:11:19
21720      3862154636       5/21/2012       17:24:13
21721      3862161309       4/9/2012        18:11:41
21722      3862161931       11/1/2011       8:26:03
21723      3862168066       5/2/2012        13:33:40
21724      3862271008       11/19/2011      8:37:10
21725      3862273519       8/23/2012       19:05:42
21726      3862331664       1/12/2012       14:02:49
21727      3862331664       1/18/2012       16:46:29
21728      3862350281       9/30/2011       10:19:24
21729      3862351857       10/24/2011      7:28:35
21730      3862352356       10/8/2011       9:29:48
21731      3862353379       1/16/2012       17:11:11
21732      3862357853       5/21/2012       7:21:19
21733      3862358940       12/14/2011      13:13:40
21734      3862372827       7/26/2012       11:50:40
21735      3862491402       1/25/2014       9:14:49
21736      3862492513       3/13/2012       18:40:20
21737      3862495323       10/8/2011       11:01:42
21738      3862495581       12/2/2011       7:34:33
21739      3862652824       7/3/2012        7:09:45
21740      3862660228       11/18/2011      12:16:57
21741      3862749056       3/25/2012       11:48:01
21742      3862757247       11/7/2013       7:03:00
21743      3862884621       8/3/2012        7:48:08
21744      3862885248       3/13/2012       18:57:48
21745      3862903026       4/1/2012        16:04:48
21746      3862904060       10/26/2011      12:20:46
21747      3862904771       11/3/2011       17:39:38
21748      3862905731       12/10/2011      12:09:04
21749      3862906454       8/7/2012        17:49:30
21750      3862920811       12/20/2011      19:29:39
21751      3862920823       8/24/2011       12:21:42
21752      3862922021       9/16/2011       14:05:22
21753      3862923354       9/15/2012       8:17:58
21754      3862923354       9/22/2012       9:00:29
21755      3862925777       9/9/2011        7:46:07
21756      3862952614       9/30/2011       10:16:42
21757      3862953562       12/21/2011      9:55:20
21758      3862955201       2/6/2012        16:58:56
21759      3862955311       5/12/2012       10:28:46
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21760      3862993242       8/3/2012        7:25:59
21761      3863070454       4/25/2012       9:23:09
21762      3863072627       8/25/2012       11:09:04
21763      3863074579       5/21/2012       7:47:45
21764      3863074579       5/21/2012       17:32:41
21765      3863074579       6/23/2012       16:23:57
21766      3863074732       5/10/2012       14:46:53
21767      3863075990       9/12/2011       13:50:41
21768      3863076307       8/18/2012       8:37:52
21769      3863077260       10/11/2011      15:49:09
21770      3863077588       9/28/2011       10:50:40
21771      3863109653       10/19/2011      7:24:29
21772      3863147268       11/11/2011      13:38:30
21773      3863149355       3/22/2012       7:50:13
21774      3863150173       10/1/2012       8:19:33
21775      3863150606       5/8/2012        16:57:46
21776      3863151583       7/9/2012        12:08:14
21777      3863152409       3/28/2012       7:18:00
21778      3863160573       5/4/2012        18:26:32
21779      3863163865       2/16/2012       7:03:38
21780      3863166252       9/16/2011       12:52:14
21781      3863169008       10/17/2012      9:30:22
21782      3863342003       5/2/2012        13:40:57
21783      3863345374       10/10/2012      19:21:41
21784      3863346094       3/19/2012       19:08:52
21785      3863347545       4/17/2012       9:41:01
21786      3863347884       9/30/2011       10:00:32
21787      3863348079       4/15/2012       19:58:03
21788      3863348678       10/15/2011      9:18:29
21789      3863349458       7/26/2012       11:50:29
21790      3863360924       3/19/2012       19:12:51
21791      3863365106       2/20/2012       17:03:46
21792      3863365518       2/7/2012        7:19:06
21793      3863365934       5/25/2011       16:51:09
21794      3863366024       11/19/2011      8:06:16
21795      3863367773       5/21/2012       17:26:46
21796      3863372187       10/22/2011      13:06:12
21797      3863387903       11/14/2011      16:25:03
21798      3863412395       8/15/2011       8:12:38
21799      3863414666       1/10/2012       15:32:10
21800      3863414666       1/17/2012       18:30:19
21801      3863440411       10/10/2011      12:25:16
21802      3863441251       10/25/2011      15:57:01
21803      3863442130       11/8/2011       14:16:05
21804      3863442862       12/2/2011       7:36:28
21805      3863444306       2/14/2012       9:53:21
21806      3863448066       1/5/2012        11:55:16
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21807      3863650140       10/17/2012      18:29:06
21808      3863653838       10/3/2012       19:51:34
21809      3863657723       11/28/2011      17:49:14
21810      3863664026       5/8/2012        7:16:29
21811      3863664712       10/17/2011      8:00:51
21812      3863665876       9/12/2011       13:02:18
21813      3863830173       9/24/2011       9:40:45
21814      3863830221       11/11/2011      7:52:03
21815      3863831716       10/3/2011       7:44:23
21816      3863835246       10/29/2011      11:29:40
21817      3863835246       12/10/2011      13:05:27
21818      3863835480       4/12/2012       17:56:09
21819      3863836607       11/14/2011      16:51:51
21820      3863838788       10/15/2011      10:24:14
21821      3864021714       8/24/2011       11:51:25
21822      3864022158       12/5/2011       9:14:44
21823      3864053082       1/19/2012       7:07:36
21824      3864056563       3/21/2012       13:43:13
21825      3864057339       8/10/2012       7:28:41
21826      3864058325       10/1/2011       10:31:25
21827      3864384326       9/22/2012       8:50:24
21828      3864389002       12/17/2011      11:21:29
21829      3864389665       9/20/2011       17:10:02
21830      3864514181       4/27/2012       7:44:54
21831      3864518972       1/6/2012        14:46:26
21832      3864530299       4/25/2012       9:27:16
21833      3864530340       10/20/2011      15:16:14
21834      3864533402       3/23/2012       20:08:41
21835      3864662046       10/17/2012      18:29:18
21836      3864662533       10/19/2011      7:49:57
21837      3864666873       3/20/2012       9:21:48
21838      3864669927       7/23/2012       15:28:18
21839      3864698374       1/11/2012       7:32:11
21840      3864699193       10/5/2011       13:58:09
21841      3864788471       2/14/2012       15:34:24
21842      3864790327       1/28/2012       8:26:13
21843      3864791855       9/26/2011       8:22:07
21844      3864797054       11/3/2011       17:08:24
21845      3864797496       3/4/2012        12:31:17
21846      3864798954       11/17/2011      16:14:47
21847      3864810041       9/13/2011       7:10:23
21848      3864900740       6/20/2012       7:52:15
21849      3864902924       3/26/2012       7:18:05
21850      3864907238       6/5/2012        7:08:42
21851      3865036726       12/5/2011       18:30:49
21852      3865061136       9/13/2011       17:39:29
21853      3865272305       3/15/2012       7:03:21
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21854      3865380003       9/19/2012       7:52:31
21855      3865382794       4/24/2012       12:17:37
21856      3865382794       5/11/2012       18:39:36
21857      3865461245       11/11/2011      7:55:54
21858      3865466463       12/30/2011      7:05:51
21859      3865590748       8/31/2012       16:33:41
21860      3865591178       7/16/2012       19:46:06
21861      3865597895       11/4/2011       7:02:56
21862      3865620660       1/9/2012        18:36:51
21863      3865620660       4/16/2012       16:02:33
21864      3865624887       11/5/2011       9:43:48
21865      3865660231       9/28/2012       16:52:32
21866      3865661715       3/13/2012       7:15:37
21867      3865662030       8/10/2012       7:34:26
21868      3865663349       11/14/2011      16:46:38
21869      3865668393       4/4/2012        18:33:24
21870      3865691187       7/13/2011       10:53:28
21871      3865691291       3/7/2012        18:53:04
21872      3865695382       3/23/2012       19:45:27
21873      3865699071       1/12/2012       14:28:31
21874      3865766903       9/19/2011       7:22:26
21875      3865852852       5/11/2012       7:28:02
21876      3865869134       9/13/2011       17:38:32
21877      3865890532       9/10/2011       8:32:12
21878      3865892945       5/11/2012       7:08:15
21879      3865893239       3/20/2012       17:34:40
21880      3865893239       6/16/2012       7:47:22
21881      3865895061       10/21/2011      12:25:31
21882      3865898269       9/7/2012        15:40:22
21883      3865898524       9/14/2011       11:07:25
21884      3865902669       8/7/2012        17:42:13
21885      3865903127       3/23/2012       19:39:14
21886      3865903167       9/8/2011        19:23:53
21887      3865906303       9/2/2011        12:46:27
21888      3865906985       2/22/2012       7:05:04
21889      3865906985       4/24/2012       11:54:15
21890      3866146306       3/20/2012       17:38:02
21891      3866235826       7/13/2011       10:51:14
21892      3866237867       3/26/2012       7:10:43
21893      3866239496       12/7/2011       14:42:37
21894      3866241400       1/23/2012       8:26:43
21895      3866242522       10/5/2012       18:16:03
21896      3866271908       6/5/2012        19:47:27
21897      3866276501       2/11/2012       10:59:09
21898      3866279161       9/19/2011       19:29:07
21899      3866310528       7/6/2012        16:58:08
21900      3866313326       4/22/2012       15:09:58
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21901      3866313326       4/23/2012       7:12:46
21902      3866313611       8/14/2012       11:42:35
21903      3866752204       12/20/2011      19:19:14
21904      3866752397       1/30/2012       7:08:54
21905      3866752435       9/4/2012        15:42:59
21906      3866753646       12/15/2011      9:17:49
21907      3866755111       1/9/2012        18:07:19
21908      3866757070       10/4/2011       13:06:59
21909      3866797524       10/4/2011       13:45:32
21910      3866799249       3/29/2012       11:31:35
21911      3866799730       5/26/2012       8:50:56
21912      3866818041       11/15/2011      16:01:04
21913      3866890362       8/29/2011       7:40:20
21914      3866890362       9/19/2011       7:17:24
21915      3866891821       3/18/2012       12:26:54
21916      3866892401       9/5/2012        7:16:36
21917      3866895475       3/29/2012       16:31:04
21918      3866895904       11/3/2011       17:35:10
21919      3866896243       1/12/2012       14:13:13
21920      3866901395       10/21/2011      13:17:58
21921      3866973544       1/16/2012       17:12:05
21922      3866974702       2/7/2012        16:48:58
21923      3866975236       5/23/2012       14:42:29
21924      3866976593       9/20/2011       16:36:59
21925      3867170247       1/8/2012        12:51:42
21926      3867172500       12/29/2011      11:03:00
21927      3867173097       1/17/2012       17:07:37
21928      3867175649       5/29/2012       17:25:44
21929      3867177557       12/21/2011      9:50:48
21930      3867179903       7/18/2011       7:18:18
21931      3867470358       12/20/2011      7:15:51
21932      3867473519       9/26/2011       8:51:37
21933      3867484542       11/5/2011       11:01:20
21934      3867853903       7/5/2012        7:43:28
21935      3867933371       10/28/2011      7:04:04
21936      3867939023       8/22/2012       11:16:24
21937      3867955011       4/1/2012        16:03:32
21938      3867955011       4/16/2012       7:02:59
21939      3868017023       10/6/2012       8:48:11
21940      3868018585       3/16/2012       10:33:56
21941      3868047045       9/16/2011       12:57:55
21942      3868047145       10/5/2011       13:58:38
21943      3868049281       5/5/2011        13:13:22
21944      3868049310       11/11/2011      7:49:08
21945      3868373536       11/3/2011       17:37:43
21946      3868374278       4/13/2012       13:27:43
21947      3868377647       10/18/2012      16:29:22
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21948      3868460707       11/19/2011      8:39:06
21949      3868460959       8/1/2011        19:13:11
21950      3868466745       12/20/2011      11:37:19
21951      3868467711       5/25/2012       12:04:29
21952      3868469908       2/16/2012       7:17:32
21953      3868480104       9/23/2011       11:12:59
21954      3868482144       10/17/2011      7:02:00
21955      3868487559       1/12/2012       14:11:33
21956      3868520004       11/15/2011      15:29:08
21957      3868523519       10/1/2012       13:47:51
21958      3868552221       6/2/2012        12:52:40
21959      3868641162       9/26/2011       7:54:04
21960      3868642280       5/4/2012        14:43:53
21961      3868642600       4/16/2012       7:17:46
21962      3868649423       12/2/2011       7:34:00
21963      3868670502       5/18/2012       7:12:45
21964      3868676067       9/28/2011       10:03:43
21965      3868687223       8/3/2012        16:28:59
21966      3868688535       9/28/2011       10:14:17
21967      3868689217       10/15/2012      10:20:43
21968      3868689408       9/10/2012       7:29:21
21969      3868710154       6/1/2012        9:10:46
21970      3868710154       10/24/2012      14:41:53
21971      3868718453       3/1/2012        8:41:42
21972      3868722418       6/20/2012       7:48:19
21973      3868738602       11/12/2011      9:19:57
21974      3868823200       10/18/2011      12:08:19
21975      3868824951       11/14/2011      16:19:46
21976      3868984908       12/27/2011      14:15:00
21977      3868985890       12/29/2011      10:53:03
21978      3868988323       12/20/2011      11:41:23
21979      3869161642       11/17/2011      16:04:32
21980      3869162102       8/14/2012       8:03:56
21981      3869169184       10/3/2012       19:46:55
21982      3869311375       4/19/2012       7:27:33
21983      3869311375       5/3/2012        7:23:33
21984      3869311465       8/29/2012       11:00:35
21985      3869313754       12/27/2011      14:30:07
21986      3869379654       10/6/2011       16:07:42
21987      3869561936       11/7/2011       7:36:33
21988      3869565723       3/22/2012       14:09:12
21989      3869566692       2/17/2012       18:30:01
21990      3869567051       11/9/2011       7:37:38
21991      3869568404       2/25/2012       10:32:04
21992      3869651577       10/8/2012       7:11:29
21993      3869653144       9/25/2012       14:53:39
21994      3869653160       7/5/2012        15:33:55
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21995      3869653696       10/19/2012      19:16:29
21996      3869653961       5/11/2012       18:40:25
21997      3869656741       3/10/2012       8:22:28
21998      3869721154       9/10/2011       9:09:17
21999      3869722466       9/13/2011       15:32:23
22000      3869723623       10/8/2012       7:03:24
22001      3869729707       7/11/2011       7:20:24
22002      4012062585       11/1/2011       8:17:24
22003      4012069408       1/17/2012       18:38:56
22004      4012070316       3/20/2012       9:14:11
22005      4012070444       7/23/2012       15:25:00
22006      4012074007       11/28/2011      11:16:57
22007      4012074983       5/24/2012       7:06:37
22008      4012075786       12/9/2011       7:58:06
22009      4012078093       12/3/2011       9:04:43
22010      4012120760       12/10/2011      14:32:46
22011      4012127556       3/17/2012       8:49:03
22012      4012150171       9/29/2011       15:12:15
22013      4012261171       2/22/2012       7:07:03
22014      4012285484       10/12/2011      7:58:31
22015      4012306045       10/6/2011       16:31:13
22016      4012308426       3/23/2012       7:01:39
22017      4012410575       1/16/2012       7:05:13
22018      4012411888       3/2/2012        7:02:32
22019      4012411888       5/21/2012       7:25:19
22020      4012411888       6/7/2012        18:26:39
22021      4012413557       4/15/2012       15:14:38
22022      4012418354       2/13/2012       18:41:18
22023      4012419414       2/14/2012       13:20:16
22024      4012491582       10/11/2011      16:50:00
22025      4012535642       11/4/2011       15:30:26
22026      4012580816       9/22/2011       15:03:53
22027      4012584222       3/28/2012       18:09:19
22028      4012588335       12/14/2011      14:44:14
22029      4012610902       8/6/2012        16:11:58
22030      4012614998       7/15/2011       17:31:29
22031      4012615249       10/19/2012      19:09:06
22032      4012619349       9/24/2011       9:40:07
22033      4012659857       1/11/2012       7:32:18
22034      4012829121       11/16/2011      8:59:17
22035      4012862636       12/18/2011      16:17:39
22036      4012869947       1/11/2012       16:27:03
22037      4012888905       6/25/2011       8:06:04
22038      4013002831       9/23/2011       18:40:37
22039      4013010434       9/13/2011       13:26:56
22040      4013092235       9/21/2011       19:44:44
22041      4013095234       9/13/2011       18:31:40
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22042      4013161321       7/18/2012       7:07:45
22043      4013161958       5/9/2012        7:59:15
22044      4013233881       11/14/2011      14:19:39
22045      4013235888       10/17/2011      7:02:03
22046      4013307308       2/20/2012       7:14:41
22047      4013307948       2/20/2012       7:08:25
22048      4013312413       7/14/2011       15:55:27
22049      4013397747       5/1/2012        8:13:56
22050      4013398999       10/3/2011       7:22:11
22051      4013453645       6/11/2012       16:59:27
22052      4013454397       1/19/2012       7:07:28
22053      4013456797       9/22/2011       15:05:30
22054      4013456797       5/21/2012       7:22:01
22055      4013475560       2/11/2012       15:20:23
22056      4013549060       1/5/2012        11:55:52
22057      4013596630       7/26/2012       19:17:55
22058      4013597140       2/11/2012       18:29:47
22059      4013681633       5/26/2012       14:14:43
22060      4013696934       3/8/2012        7:05:51
22061      4013696934       7/11/2012       17:13:07
22062      4013901004       5/11/2012       12:09:12
22063      4013908793       11/14/2011      16:30:29
22064      4013908793       2/16/2012       7:23:32
22065      4013919526       12/7/2011       13:10:51
22066      4014057336       3/15/2012       18:53:24
22067      4014191210       5/24/2012       7:08:27
22068      4014193348       9/9/2011        7:31:48
22069      4014299844       10/8/2011       9:26:03
22070      4014400124       9/19/2011       7:22:05
22071      4014400124       9/27/2011       18:37:26
22072      4014404544       8/3/2012        16:30:03
22073      4014405341       6/18/2011       15:18:47
22074      4014412194       8/29/2012       10:55:33
22075      4014479542       1/26/2012       10:21:48
22076      4014501569       7/2/2012        15:01:01
22077      4014501822       2/9/2012        7:04:31
22078      4014510151       4/30/2012       14:32:55
22079      4014511435       10/17/2011      8:26:12
22080      4014511674       10/20/2011      15:19:14
22081      4014512355       10/29/2011      10:36:43
22082      4014519928       3/3/2012        8:12:50
22083      4014549201       8/8/2011        14:48:56
22084      4014578646       2/9/2012        7:05:15
22085      4014653591       9/18/2012       14:25:00
22086      4014655668       8/9/2012        14:06:21
22087      4014737376       5/3/2012        7:07:07
22088      4014770220       8/16/2012       19:46:56
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22089      4014779899       11/8/2011       14:48:35
22090      4014842255       4/30/2012       14:43:46
22091      4014861963       5/19/2012       9:22:40
22092      4014896479       10/1/2011       10:35:30
22093      4014896479       1/16/2012       7:18:07
22094      4014899879       9/22/2011       15:10:27
22095      4014899879       10/8/2011       9:28:10
22096      4014977528       6/24/2012       13:51:11
22097      4014978435       5/31/2012       15:13:19
22098      4014978485       9/17/2011       10:15:36
22099      4014978684       11/15/2011      15:05:27
22100      4014993793       12/4/2011       11:45:12
22101      4014994604       1/15/2014       7:04:55
22102      4015160224       4/4/2011        13:42:36
22103      4015161070       5/31/2012       7:11:21
22104      4015162705       8/23/2012       11:37:37
22105      4015162823       10/14/2011      13:15:13
22106      4015164459       6/9/2012        14:55:44
22107      4015164856       1/13/2012       17:13:00
22108      4015165409       8/23/2012       11:50:03
22109      4015165419       9/7/2011        14:24:39
22110      4015237731       2/8/2012        7:55:45
22111      4015245633       9/19/2011       7:13:37
22112      4015245633       10/21/2011      12:33:32
22113      4015258036       6/18/2012       15:33:39
22114      4015289225       9/12/2012       7:42:38
22115      4015291064       12/27/2011      13:47:18
22116      4015361540       8/2/2011        16:35:02
22117      4015362703       9/21/2011       19:29:27
22118      4015451430       9/16/2011       13:14:30
22119      4015452488       9/29/2012       9:57:29
22120      4015455676       2/11/2012       10:46:30
22121      4015456521       10/16/2012      7:30:27
22122      4015567570       12/10/2011      14:42:28
22123      4015698919       1/12/2012       14:03:36
22124      4015736971       8/4/2012        10:15:04
22125      4015736972       6/29/2012       9:34:59
22126      4015746578       12/10/2011      11:59:24
22127      4015759665       1/24/2012       9:56:19
22128      4015788507       3/15/2012       19:01:26
22129      4015800677       3/20/2012       17:37:31
22130      4015852671       7/20/2012       7:33:55
22131      4015880319       8/30/2011       17:05:39
22132      4015889217       4/18/2012       7:06:45
22133      4016175693       1/6/2012        10:25:42
22134      4016176874       7/3/2012        19:30:53
22135      4016177689       10/23/2012      11:02:33
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22136      4016251915       12/9/2011       13:40:03
22137      4016269766       10/17/2011      7:31:55
22138      4016323667       10/6/2011       17:35:14
22139      4016325240       9/16/2011       12:52:23
22140      4016390943       3/19/2012       7:11:02
22141      4016410207       2/17/2012       18:24:56
22142      4016444256       10/10/2011      12:19:41
22143      4016497084       3/3/2012        8:46:51
22144      4016497587       3/5/2012        7:02:37
22145      4016498439       3/28/2012       18:20:15
22146      4016499618       4/29/2012       16:40:18
22147      4016515030       5/14/2012       15:26:40
22148      4016596895       8/17/2012       7:04:41
22149      4016597255       12/16/2011      15:28:28
22150      4016597255       12/31/2011      11:56:28
22151      4016629221       8/14/2012       8:01:31
22152      4016633726       10/2/2012       7:31:40
22153      4016635369       12/30/2013      7:17:17
22154      4016638971       10/13/2011      7:28:06
22155      4016922897       4/22/2012       15:48:43
22156      4016923340       10/6/2011       17:21:37
22157      4016924425       10/28/2011      14:02:43
22158      4016924425       12/26/2011      9:11:47
22159      4016928812       3/7/2012        7:15:57
22160      4017146266       10/15/2011      9:14:29
22161      4017146699       4/3/2012        15:58:53
22162      4017413454       3/28/2012       16:48:53
22163      4017430667       7/3/2012        12:57:08
22164      4017444026       9/30/2011       9:54:37
22165      4017445114       3/25/2012       11:40:12
22166      4017493189       12/27/2011      14:15:15
22167      4017850390       12/1/2011       7:48:22
22168      4017930106       1/2/2012        11:59:34
22169      4017936364       12/20/2011      7:04:23
22170      4018082507       3/25/2012       11:35:10
22171      4018087904       10/20/2012      16:21:07
22172      4018358385       10/25/2011      15:58:47
22173      4018552640       10/5/2011       14:38:01
22174      4018552640       10/8/2011       9:16:43
22175      4018627579       10/19/2011      8:00:47
22176      4018670090       3/27/2012       14:58:36
22177      4018670333       3/14/2012       14:27:09
22178      4018680232       12/22/2011      7:08:50
22179      4018680573       10/15/2012      10:17:35
22180      4019190778       8/25/2011       16:27:25
22181      4019191636       5/10/2012       15:00:25
22182      4019191995       11/28/2011      17:37:42
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22183      4019196495       9/2/2012        11:53:05
22184      4019321898       12/9/2011       8:16:07
22185      4019521353       7/13/2012       16:56:49
22186      4019522975       10/10/2011      12:28:10
22187      4019526576       8/10/2012       7:27:34
22188      4019549753       7/30/2012       18:44:31
22189      4019652917       4/19/2012       7:23:03
22190      4019964526       9/19/2011       7:10:29
22191      4022016760       9/20/2011       20:44:20
22192      4022022517       6/20/2012       16:59:31
22193      4022022755       3/16/2012       16:31:09
22194      4022022813       3/13/2012       18:40:54
22195      4022031656       2/17/2012       18:22:22
22196      4022032963       1/18/2012       10:09:34
22197      4022032963       2/7/2012        8:11:31
22198      4022080719       4/5/2012        13:56:41
22199      4022081887       1/20/2012       19:39:40
22200      4022084013       1/19/2012       18:42:45
22201      4022085240       6/8/2012        12:37:10
22202      4022126554       10/5/2011       14:16:19
22203      4022127158       11/14/2011      15:02:47
22204      4022127541       6/11/2012       10:11:06
22205      4022128383       6/19/2012       13:18:32
22206      4022128383       6/28/2012       8:08:16
22207      4022129815       12/29/2011      19:06:49
22208      4022129815       2/28/2012       13:19:46
22209      4022137195       9/16/2011       13:00:44
22210      4022144407       2/10/2012       9:24:37
22211      4022151553       11/7/2011       8:06:55
22212      4022152672       8/8/2012        16:14:21
22213      4022168059       10/20/2011      15:42:07
22214      4022171293       1/31/2012       10:16:07
22215      4022192871       1/5/2012        12:02:40
22216      4022508094       9/16/2011       13:28:04
22217      4022537875       3/8/2012        20:38:32
22218      4022618482       12/10/2011      13:19:45
22219      4022701436       10/12/2011      8:33:08
22220      4022704038       7/15/2011       17:39:37
22221      4022704573       2/10/2012       20:39:40
22222      4022707955       11/12/2011      10:25:57
22223      4022762984       12/7/2011       18:03:43
22224      4022765867       7/6/2012        14:40:53
22225      4022781870       10/20/2012      16:33:23
22226      4022908910       11/14/2011      17:18:48
22227      4022908910       11/23/2011      9:48:20
22228      4022908910       1/25/2012       20:34:33
22229      4023012104       11/29/2011      15:01:27
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22230      4023012104       5/21/2012       8:14:59
22231      4023099970       10/8/2012       8:15:15
22232      4023106479       9/21/2012       15:28:37
22233      4023123614       7/27/2012       15:34:51
22234      4023143925       1/20/2012       20:30:18
22235      4023143933       12/2/2011       8:12:20
22236      4023147651       9/8/2011        19:47:52
22237      4023171005       10/3/2012       19:49:40
22238      4023177060       10/22/2012      18:04:54
22239      4023177232       10/11/2011      16:22:58
22240      4023196926       9/17/2011       10:19:44
22241      4023203653       3/21/2012       13:42:01
22242      4023209636       12/17/2011      12:03:19
22243      4023213591       1/14/2012       8:08:29
22244      4023268566       11/4/2011       8:50:34
22245      4023268917       10/29/2011      10:52:31
22246      4023268917       11/15/2011      20:14:04
22247      4023328268       10/8/2011       11:32:29
22248      4023350071       12/27/2011      14:38:06
22249      4023357464       9/21/2011       11:58:26
22250      4023367205       10/12/2012      16:54:26
22251      4023489728       10/8/2011       11:47:07
22252      4023504860       1/25/2012       9:23:37
22253      4023505970       12/18/2011      16:32:05
22254      4023669806       3/13/2012       18:51:04
22255      4023678571       1/8/2012        13:21:57
22256      4023694254       10/17/2011      8:48:02
22257      4023891214       10/8/2011       10:09:46
22258      4024037204       5/16/2012       16:57:24
22259      4024140012       5/24/2012       20:05:54
22260      4024151659       9/21/2011       11:55:41
22261      4024151659       10/3/2011       8:15:59
22262      4024167072       7/2/2012        15:05:52
22263      4024193607       3/13/2012       18:41:07
22264      4024462570       5/22/2012       11:51:07
22265      4024520636       5/19/2011       8:20:35
22266      4024521117       10/22/2012      8:01:29
22267      4024521239       8/10/2012       8:25:25
22268      4024521407       9/23/2011       19:04:13
22269      4024521870       5/28/2012       8:53:16
22270      4024529724       9/22/2011       15:25:58
22271      4024607490       8/11/2011       10:09:21
22272      4024671892       1/17/2012       18:35:45
22273      4024695098       11/18/2011      13:25:20
22274      4024699808       2/24/2012       20:50:25
22275      4024906017       10/6/2011       16:35:38
22276      4024909217       10/29/2011      10:52:34
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22277      4024909217       11/21/2011      8:24:31
22278      4025108072       10/13/2011      8:40:46
22279      4025108072       10/20/2011      15:44:22
22280      4025147454       8/12/2011       10:51:08
22281      4025147581       11/11/2011      13:34:20
22282      4025152289       11/15/2011      16:25:57
22283      4025154031       9/12/2011       14:12:22
22284      4025155774       3/15/2012       18:57:23
22285      4025175800       4/9/2012        13:44:39
22286      4025176394       6/11/2012       8:24:04
22287      4025190076       8/29/2011       9:20:24
22288      4025275752       12/10/2011      12:22:55
22289      4025416940       10/12/2011      8:01:40
22290      4025700336       9/20/2011       18:27:20
22291      4025735105       2/13/2012       18:29:50
22292      4025758588       11/26/2011      13:20:53
22293      4025782009       12/23/2011      14:19:08
22294      4025788475       3/10/2012       20:06:59
22295      4025803300       7/11/2012       9:33:12
22296      4025903868       10/15/2011      10:44:31
22297      4025903980       11/18/2011      12:54:09
22298      4025904979       10/21/2011      12:42:57
22299      4025919532       12/1/2011       8:03:38
22300      4025947326       9/24/2011       9:22:17
22301      4025980831       9/21/2011       11:59:11
22302      4025981321       5/17/2012       16:55:58
22303      4025986642       2/17/2012       18:13:18
22304      4025993506       3/14/2011       17:22:29
22305      4026010911       10/6/2011       16:42:02
22306      4026012392       10/13/2011      8:36:01
22307      4026013284       11/5/2011       10:06:46
22308      4026013284       3/17/2012       8:32:04
22309      4026014197       9/20/2011       18:14:28
22310      4026014244       12/3/2011       9:21:15
22311      4026014769       10/1/2011       10:42:14
22312      4026015056       1/17/2012       20:24:08
22313      4026015056       1/20/2012       20:32:34
22314      4026016570       11/16/2011      20:05:56
22315      4026016938       10/3/2012       8:03:18
22316      4026017441       8/9/2012        14:17:52
22317      4026018175       10/3/2012       19:51:49
22318      4026101534       2/3/2012        8:36:09
22319      4026105096       2/20/2012       16:54:29
22320      4026106015       5/3/2012        8:07:31
22321      4026120466       11/25/2011      17:51:53
22322      4026120939       12/7/2011       14:53:09
22323      4026122224       12/20/2011      17:25:10
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22324      4026125555       4/9/2012        18:15:40
22325      4026125806       5/6/2012        18:10:34
22326      4026131841       5/18/2012       11:47:51
22327      4026131841       6/5/2012        17:53:06
22328      4026131940       10/27/2011      16:51:20
22329      4026131940       11/21/2011      8:11:08
22330      4026137897       11/10/2011      8:14:17
22331      4026160395       9/19/2011       19:15:44
22332      4026165942       2/22/2012       7:08:07
22333      4026169480       6/9/2012        10:35:41
22334      4026170075       3/7/2012        18:56:22
22335      4026186357       5/28/2012       8:37:19
22336      4026191373       2/9/2012        9:37:33
22337      4026243505       12/29/2011      19:29:52
22338      4026317366       9/13/2011       13:32:15
22339      4026317366       9/26/2011       9:46:59
22340      4026375576       10/14/2011      12:57:02
22341      4026375795       3/21/2012       13:50:12
22342      4026377005       11/17/2011      16:31:06
22343      4026413903       7/3/2012        19:32:12
22344      4026493519       10/23/2012      16:01:44
22345      4026501893       11/23/2011      9:44:36
22346      4026501893       12/7/2011       14:48:01
22347      4026509676       9/8/2011        19:49:35
22348      4026541580       7/31/2012       21:05:19
22349      4026588261       1/19/2012       18:39:56
22350      4026608901       1/12/2012       14:19:51
22351      4026619203       11/22/2011      19:37:33
22352      4026795885       12/12/2011      16:22:09
22353      4026801632       9/21/2011       19:35:55
22354      4026810233       10/27/2011      16:40:10
22355      4026863271       4/30/2012       14:35:50
22356      4026865942       3/13/2012       16:59:55
22357      4026866310       5/8/2012        9:47:35
22358      4026866543       10/1/2011       9:52:25
22359      4026866985       9/8/2011        19:48:14
22360      4026892438       2/6/2012        17:19:52
22361      4026893860       2/3/2012        20:18:50
22362      4027050154       9/28/2012       16:36:56
22363      4027056357       10/17/2012      9:44:25
22364      4027060029       3/6/2012        20:24:30
22365      4027060234       1/11/2012       8:55:08
22366      4027060788       9/14/2011       12:37:02
22367      4027060788       8/3/2012        16:31:46
22368      4027064947       11/29/2011      15:44:28
22369      4027066192       1/21/2012       8:15:18
22370      4027066609       1/5/2012        17:30:17
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22371      4027073805       11/26/2011      11:52:21
22372      4027074149       3/28/2012       8:18:29
22373      4027075597       12/1/2011       15:07:54
22374      4027084036       10/23/2012      16:01:10
22375      4027092027       10/24/2012      15:01:12
22376      4027099120       5/26/2012       15:14:40
22377      4027103206       9/28/2012       16:45:54
22378      4027109108       12/10/2011      14:44:06
22379      4027140026       10/5/2011       14:16:32
22380      4027140305       11/23/2011      10:37:10
22381      4027140424       1/28/2012       9:49:29
22382      4027141019       5/4/2012        18:22:14
22383      4027141579       9/8/2011        18:59:00
22384      4027141989       10/20/2011      16:31:45
22385      4027142205       11/30/2011      15:29:39
22386      4027142310       12/3/2011       9:19:50
22387      4027144342       10/20/2012      8:19:11
22388      4027145311       5/16/2011       12:36:24
22389      4027146527       10/8/2011       11:44:46
22390      4027147046       8/1/2011        19:20:56
22391      4027147293       12/6/2011       13:25:54
22392      4027147931       12/13/2013      15:10:17
22393      4027148820       5/26/2012       8:59:47
22394      4027190917       5/30/2012       16:56:20
22395      4027301497       9/21/2011       19:29:49
22396      4027309358       5/5/2012        12:19:34
22397      4027460138       12/31/2011      12:15:38
22398      4027592616       3/24/2012       10:06:29
22399      4027592616       4/7/2012        9:15:43
22400      4027595111       8/12/2012       13:45:31
22401      4027681046       9/13/2012       21:30:04
22402      4027700031       3/28/2012       10:46:46
22403      4027706939       9/28/2012       9:03:50
22404      4028010854       7/9/2012        8:57:35
22405      4028019449       1/16/2012       17:14:26
22406      4028050087       1/13/2012       17:40:57
22407      4028052939       12/12/2011      16:35:50
22408      4028053828       10/12/2012      17:00:33
22409      4028058190       9/27/2011       18:38:35
22410      4028065704       11/26/2011      13:27:32
22411      4028067563       2/28/2012       13:11:14
22412      4028120383       9/12/2011       14:23:13
22413      4028123615       9/21/2012       16:08:19
22414      4028124630       1/9/2012        18:41:24
22415      4028126048       10/5/2011       14:40:05
22416      4028126989       11/22/2011      19:35:08
22417      4028128522       6/30/2011       9:01:17
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22418      4028131095       12/22/2011      9:44:12
22419      4028131987       2/28/2012       13:33:02
22420      4028132366       9/13/2011       13:31:23
22421      4028132706       5/1/2012        17:54:35
22422      4028133121       3/1/2012        8:38:15
22423      4028133144       3/20/2012       9:18:24
22424      4028133237       12/8/2011       20:49:41
22425      4028134811       11/26/2011      13:32:49
22426      4028134910       10/19/2012      11:30:53
22427      4028135286       12/26/2011      20:25:30
22428      4028136960       9/17/2011       10:21:23
22429      4028138820       3/30/2012       16:16:51
22430      4028139214       10/4/2011       13:52:31
22431      4028139518       11/5/2011       11:37:42
22432      4028217752       9/20/2011       20:33:45
22433      4028412023       12/28/2011      8:40:14
22434      4028415827       3/22/2012       8:10:41
22435      4028415827       6/5/2012        17:48:13
22436      4028417583       3/14/2012       14:20:59
22437      4028419205       12/22/2011      9:40:04
22438      4028500319       9/20/2012       20:58:05
22439      4028500614       2/7/2012        8:10:21
22440      4028504051       6/19/2012       15:42:43
22441      4028506246       10/26/2011      13:29:06
22442      4028700750       10/17/2011      10:17:18
22443      4028714036       3/15/2012       19:32:34
22444      4028740627       5/21/2012       8:14:49
22445      4028893000       10/10/2011      11:53:39
22446      4028893000       4/15/2012       17:15:23
22447      4029107034       1/18/2012       16:53:56
22448      4029107034       2/6/2012        17:02:44
22449      4029170787       3/20/2012       17:42:47
22450      4029171701       6/4/2012        8:43:45
22451      4029375304       10/15/2011      9:24:06
22452      4029537338       10/10/2012      12:43:51
22453      4029559296       3/9/2012        9:18:07
22454      4029576052       5/16/2012       16:51:01
22455      4029601475       1/23/2012       19:16:00
22456      4029601475       1/27/2012       19:37:52
22457      4029681984       1/6/2012        12:55:07
22458      4029686288       8/30/2012       17:42:13
22459      4029847502       12/12/2011      16:37:24
22460      4029876964       8/29/2011       9:20:46
22461      4029908977       8/16/2012       9:28:07
22462      4029922892       10/17/2012      9:32:22
22463      4029927756       3/10/2011       16:35:16
22464      4029928273       11/26/2011      11:49:35
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22465      4029928273       5/21/2012       8:30:30
22466      4042001706       1/16/2012       17:23:09
22467      4042001706       1/23/2012       18:54:09
22468      4042005745       2/17/2012       18:32:32
22469      4042006071       3/2/2012        9:11:11
22470      4042018245       10/4/2011       13:07:18
22471      4042018293       8/10/2012       7:32:30
22472      4042018910       9/14/2011       9:36:33
22473      4042022997       9/13/2011       17:40:32
22474      4042027894       11/12/2011      10:09:00
22475      4042028620       9/9/2011        7:41:03
22476      4042073133       12/12/2011      7:16:15
22477      4042074754       8/16/2011       17:31:58
22478      4042075279       7/19/2012       17:30:13
22479      4042077182       8/3/2012        16:23:14
22480      4042077253       7/30/2012       13:13:51
22481      4042077265       1/6/2012        14:32:24
22482      4042078089       10/7/2012       12:56:19
22483      4042078240       9/21/2011       19:32:16
22484      4042078498       9/27/2011       18:05:08
22485      4042078498       10/1/2011       10:21:07
22486      4042078498       10/15/2011      8:36:40
22487      4042078969       9/28/2012       7:42:14
22488      4042079761       7/12/2012       15:51:25
22489      4042100100       10/19/2011      7:43:21
22490      4042103616       9/23/2011       11:31:33
22491      4042103616       11/26/2011      11:40:39
22492      4042103933       7/2/2012        17:09:31
22493      4042105298       7/8/2012        13:32:59
22494      4042105298       9/3/2012        15:04:43
22495      4042131380       1/8/2012        13:06:25
22496      4042139935       5/24/2012       12:00:15
22497      4042139935       7/10/2012       7:29:32
22498      4042160417       10/6/2011       16:04:17
22499      4042162435       10/31/2011      7:17:12
22500      4042173201       1/8/2012        13:07:27
22501      4042179991       10/22/2011      13:03:05
22502      4042180364       8/20/2012       7:54:23
22503      4042184761       9/14/2012       7:07:49
22504      4042260601       8/13/2012       11:00:30
22505      4042265800       2/10/2012       7:09:48
22506      4042269476       8/20/2012       18:42:57
22507      4042277582       10/1/2011       9:39:01
22508      4042278943       1/17/2012       18:42:48
22509      4042279644       12/9/2011       13:33:59
22510      4042279728       12/31/2011      11:46:01
22511      4042296096       8/14/2012       17:03:37
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22512      4042320572       5/23/2011       15:44:09
22513      4042325990       9/8/2011        18:37:36
22514      4042343199       11/17/2011      16:16:04
22515      4042344934       7/2/2011        8:13:29
22516      4042346998       10/9/2012       7:41:26
22517      4042426614       12/20/2011      7:10:37
22518      4042427331       9/27/2011       18:24:28
22519      4042450278       11/22/2011      19:25:58
22520      4042455245       12/7/2011       14:35:43
22521      4042460193       3/15/2012       19:02:39
22522      4042460193       6/20/2012       17:04:47
22523      4042460368       10/19/2012      9:46:20
22524      4042460455       2/14/2012       16:47:17
22525      4042461293       5/9/2012        16:13:13
22526      4042461580       8/31/2012       16:25:12
22527      4042461642       6/2/2012        12:39:35
22528      4042461870       12/27/2011      14:17:39
22529      4042462238       1/14/2012       8:02:46
22530      4042463306       9/10/2011       8:51:30
22531      4042463638       8/6/2011        8:37:22
22532      4042464054       10/5/2012       12:22:33
22533      4042464146       2/15/2012       11:44:14
22534      4042464732       11/23/2011      10:23:29
22535      4042464765       6/28/2012       7:10:23
22536      4042465435       10/20/2012      16:25:49
22537      4042465493       3/1/2012        12:14:54
22538      4042465879       3/26/2011       10:33:35
22539      4042465925       9/23/2011       8:22:45
22540      4042465925       10/18/2011      12:49:58
22541      4042466073       3/30/2012       16:03:18
22542      4042466362       3/27/2012       15:37:07
22543      4042466826       3/15/2012       7:12:31
22544      4042466826       5/21/2012       7:04:33
22545      4042466826       5/21/2012       7:25:52
22546      4042469036       9/30/2011       9:57:18
22547      4042472420       1/6/2012        14:48:23
22548      4042472440       10/1/2011       9:33:27
22549      4042478061       4/18/2012       18:03:16
22550      4042481556       8/28/2012       7:26:05
22551      4042547017       10/5/2011       14:03:21
22552      4042547031       7/16/2012       19:37:08
22553      4042548070       9/24/2012       18:58:40
22554      4042590064       3/19/2012       19:14:31
22555      4042591182       11/9/2011       7:56:47
22556      4042593033       5/28/2011       10:10:57
22557      4042598697       10/10/2011      12:13:19
22558      4042598775       12/29/2011      10:57:48
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22559      4042636127       3/30/2012       16:15:27
22560      4042637245       7/30/2012       14:43:21
22561      4042700384       3/16/2012       10:20:52
22562      4042711922       10/22/2012      8:05:26
22563      4042714329       10/11/2011      16:57:59
22564      4042717351       11/15/2011      15:25:20
22565      4042718149       9/26/2011       8:21:07
22566      4042723993       11/30/2011      7:30:25
22567      4042729261       12/16/2011      16:04:45
22568      4042737660       3/27/2012       7:12:24
22569      4042741976       10/12/2011      7:32:44
22570      4042744682       2/1/2012        18:35:06
22571      4042749409       4/12/2012       18:02:28
22572      4042753653       9/24/2011       9:06:40
22573      4042753653       10/21/2011      13:06:22
22574      4042760110       10/11/2012      18:35:26
22575      4042762480       5/19/2012       9:21:51
22576      4042763121       9/15/2011       9:06:47
22577      4042768132       5/30/2012       16:43:24
22578      4042768607       8/30/2011       16:21:30
22579      4042778509       9/13/2011       15:41:20
22580      4042812311       2/3/2012        7:12:48
22581      4042813174       11/25/2011      17:41:45
22582      4042814645       12/17/2011      11:29:38
22583      4042819433       2/14/2012       15:25:44
22584      4042873000       10/28/2011      7:04:03
22585      4042873197       7/11/2012       17:13:25
22586      4042873339       7/26/2012       19:22:23
22587      4042874242       9/21/2011       11:40:58
22588      4042874827       12/1/2011       8:11:19
22589      4042874827       4/12/2012       18:01:53
22590      4042875717       4/10/2012       11:34:54
22591      4042876216       3/27/2012       14:53:29
22592      4042876426       7/18/2012       18:28:54
22593      4042876760       5/23/2012       16:35:47
22594      4042877230       11/18/2011      12:12:05
22595      4042877445       3/5/2012        7:08:15
22596      4042877635       3/29/2012       11:24:51
22597      4042877924       11/1/2011       8:00:18
22598      4042878283       9/8/2012        11:02:30
22599      4042879380       10/5/2011       14:02:54
22600      4042902813       4/30/2012       14:26:59
22601      4042938023       3/26/2012       18:52:06
22602      4042955451       4/16/2012       15:48:39
22603      4042957590       2/14/2012       9:40:12
22604      4042959378       1/6/2012        13:05:22
22605      4043040436       11/26/2011      13:01:55
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22606      4043046343       8/30/2012       7:03:47
22607      4043046343       9/13/2012       7:36:03
22608      4043046948       12/20/2011      19:34:37
22609      4043070748       2/24/2012       17:10:55
22610      4043073699       2/2/2012        11:13:58
22611      4043073975       11/17/2011      16:32:12
22612      4043080917       3/1/2012        8:37:57
22613      4043080917       5/21/2012       7:04:09
22614      4043094176       9/27/2011       18:07:04
22615      4043097816       6/16/2012       15:20:29
22616      4043099795       10/17/2012      18:28:34
22617      4043104625       9/21/2011       11:41:42
22618      4043105849       5/15/2012       7:54:33
22619      4043106106       12/7/2011       14:39:39
22620      4043122593       5/30/2012       16:51:41
22621      4043126165       2/20/2012       7:05:07
22622      4043131985       9/21/2011       11:26:45
22623      4043131985       10/26/2011      12:51:13
22624      4043131985       11/14/2011      14:20:58
22625      4043135532       6/9/2012        10:50:42
22626      4043135782       4/5/2012        14:33:12
22627      4043143459       11/16/2011      9:16:33
22628      4043143459       11/28/2011      11:50:02
22629      4043148005       9/29/2011       15:30:53
22630      4043170615       9/26/2012       7:11:55
22631      4043179160       6/8/2011        18:28:45
22632      4043179249       7/6/2012        16:50:52
22633      4043191333       5/18/2012       7:42:36
22634      4043196736       12/1/2011       8:19:14
22635      4043196750       9/12/2011       14:08:47
22636      4043196751       10/28/2011      13:46:53
22637      4043196756       5/23/2012       15:06:06
22638      4043197259       4/23/2012       13:09:09
22639      4043199925       10/17/2012      9:39:44
22640      4043225600       3/25/2012       12:02:10
22641      4043227184       11/5/2011       9:24:28
22642      4043227645       10/1/2011       10:20:01
22643      4043227645       10/15/2011      9:59:53
22644      4043227778       3/30/2012       7:11:25
22645      4043227935       10/20/2011      16:34:56
22646      4043239320       10/24/2011      7:08:14
22647      4043240240       1/9/2012        18:20:31
22648      4043240240       3/31/2012       22:34:04
22649      4043243162       7/18/2011       10:51:46
22650      4043246657       1/25/2012       20:24:28
22651      4043246867       4/21/2011       10:29:04
22652      4043246921       12/23/2011      7:04:19
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22653      4043248068       12/10/2011      14:41:31
22654      4043249613       4/4/2012        7:08:06
22655      4043262152       7/14/2011       16:04:41
22656      4043265564       12/22/2011      7:14:54
22657      4043269926       3/21/2011       10:13:52
22658      4043337191       12/5/2011       18:04:53
22659      4043337402       11/4/2011       7:18:16
22660      4043337417       11/8/2011       14:33:06
22661      4043438173       10/15/2011      10:20:20
22662      4043438315       4/16/2012       7:11:30
22663      4043438316       4/12/2012       18:11:34
22664      4043438317       4/19/2012       14:56:40
22665      4043439080       6/15/2012       8:52:48
22666      4043439344       12/18/2011      16:20:05
22667      4043439381       5/7/2011        14:32:17
22668      4043486346       10/11/2011      16:00:26
22669      4043487651       11/10/2011      7:22:38
22670      4043530048       5/22/2012       18:25:00
22671      4043532437       9/25/2012       14:42:21
22672      4043534179       12/16/2011      16:01:37
22673      4043538763       3/12/2012       16:52:24
22674      4043540131       6/9/2012        15:12:00
22675      4043542556       2/29/2012       7:14:52
22676      4043542735       1/28/2012       8:25:54
22677      4043544138       1/6/2012        7:13:17
22678      4043573152       3/18/2011       10:00:01
22679      4043577288       6/30/2012       8:20:05
22680      4043578231       10/5/2011       13:58:52
22681      4043584117       9/12/2011       13:09:39
22682      4043584767       1/5/2012        17:25:38
22683      4043588224       5/23/2011       15:28:47
22684      4043683164       3/14/2012       19:40:11
22685      4043685756       9/4/2012        15:42:52
22686      4043685953       10/26/2011      12:46:16
22687      4043721019       3/13/2012       7:08:18
22688      4043722537       4/19/2012       7:22:55
22689      4043723958       5/10/2012       21:29:45
22690      4043726285       9/26/2011       8:17:14
22691      4043729635       4/9/2012        7:30:37
22692      4043743720       8/16/2012       19:47:04
22693      4043749346       1/24/2012       9:56:39
22694      4043749444       1/5/2012        17:21:57
22695      4043749444       1/19/2012       18:27:54
22696      4043750281       12/20/2011      12:37:33
22697      4043750595       10/17/2011      7:37:20
22698      4043750829       3/31/2012       8:03:29
22699      4043751065       9/20/2011       17:07:27
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22700      4043751424       10/13/2011      7:17:30
22701      4043754269       6/24/2012       13:43:57
22702      4043754513       7/19/2011       16:35:11
22703      4043756036       12/27/2011      14:35:20
22704      4043758990       10/18/2011      12:44:26
22705      4043767665       11/30/2011      15:17:34
22706      4043791970       4/18/2012       9:07:56
22707      4043802900       1/2/2012        7:12:50
22708      4043804750       10/13/2011      7:10:01
22709      4043807867       3/30/2011       10:52:59
22710      4043809442       3/7/2014        8:18:34
22711      4043846211       11/23/2011      14:34:09
22712      4043847255       9/24/2011       9:12:48
22713      4043865844       12/21/2011      9:50:51
22714      4043877333       5/23/2012       16:40:17
22715      4043878108       12/1/2011       14:32:44
22716      4043878108       12/9/2011       15:49:10
22717      4043880168       12/17/2011      11:55:54
22718      4043880833       11/30/2011      7:28:48
22719      4043881562       5/26/2012       8:52:26
22720      4043882481       9/24/2012       19:02:43
22721      4043885933       4/24/2012       18:07:48
22722      4043887100       11/23/2011      14:51:18
22723      4043888325       10/13/2011      7:06:15
22724      4043895742       11/10/2011      7:19:56
22725      4043912927       9/23/2011       7:06:12
22726      4043914616       10/31/2011      7:10:33
22727      4043914616       11/16/2011      7:49:52
22728      4043914616       11/21/2011      7:30:16
22729      4043917653       5/11/2011       16:48:30
22730      4043918873       6/25/2012       13:56:09
22731      4043922160       9/13/2011       17:30:22
22732      4043943522       10/5/2011       14:32:06
22733      4043955867       1/30/2012       7:20:54
22734      4043962726       6/21/2012       18:49:10
22735      4043963276       10/6/2011       16:20:40
22736      4043963381       2/24/2012       17:08:34
22737      4043963948       10/28/2011      14:14:49
22738      4043964169       6/4/2011        10:12:08
22739      4043964299       4/18/2012       7:06:00
22740      4043964782       12/21/2011      10:03:29
22741      4043964834       9/26/2012       13:03:15
22742      4043974471       9/28/2011       10:48:00
22743      4043977137       3/2/2012        18:42:17
22744      4043977137       8/4/2012        7:26:32
22745      4043977253       9/3/2012        14:56:39
22746      4043979012       6/28/2012       14:26:49
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22747      4043990171       10/31/2011      8:51:50
22748      4043990411       2/2/2012        11:10:13
22749      4043991157       5/9/2012        7:42:37
22750      4043993132       10/12/2011      11:32:07
22751      4043993183       3/19/2012       19:11:25
22752      4043993474       5/16/2012       16:55:16
22753      4043993716       9/12/2011       13:10:25
22754      4043993719       9/22/2011       15:04:01
22755      4043993782       11/11/2011      13:38:07
22756      4043994167       12/17/2011      11:59:04
22757      4043994713       5/11/2012       18:32:33
22758      4043995450       5/21/2012       17:33:29
22759      4043995797       9/23/2011       18:53:40
22760      4043996621       11/20/2011      11:06:56
22761      4043997021       8/1/2012        8:25:19
22762      4043997021       9/21/2012       18:47:55
22763      4043997633       9/21/2011       19:33:03
22764      4043998233       6/29/2011       17:22:03
22765      4043998679       12/1/2011       14:52:25
22766      4043998731       8/30/2012       7:05:05
22767      4043998742       9/19/2012       7:52:35
22768      4043999673       11/11/2011      7:53:36
22769      4044014489       4/27/2012       7:04:30
22770      4044014602       8/2/2012        18:54:23
22771      4044015516       3/14/2012       20:00:51
22772      4044026737       9/28/2012       14:31:40
22773      4044029933       1/16/2012       17:08:15
22774      4044031335       2/19/2014       7:02:59
22775      4044057359       4/12/2012       17:54:37
22776      4044057629       3/13/2012       7:08:05
22777      4044058297       8/15/2012       7:53:02
22778      4044064679       9/11/2012       7:48:01
22779      4044080235       6/20/2012       16:55:14
22780      4044081194       7/3/2012        7:06:57
22781      4044081604       5/5/2011        13:09:37
22782      4044081736       11/18/2011      12:50:52
22783      4044089624       12/19/2011      7:31:08
22784      4044096218       9/21/2011       19:32:16
22785      4044140834       9/19/2011       19:03:12
22786      4044141480       2/14/2012       9:37:55
22787      4044142583       2/14/2012       9:59:25
22788      4044143124       6/19/2012       7:59:50
22789      4044144299       8/8/2012        16:09:49
22790      4044147884       3/7/2012        7:11:27
22791      4044149105       12/20/2011      9:29:49
22792      4044161389       7/30/2012       14:45:11
22793      4044166017       7/2/2012        15:12:52
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22794      4044166238       7/12/2011       12:13:40
22795      4044167442       12/9/2011       7:58:21
22796      4044169445       8/23/2012       11:36:22
22797      4044182395       7/18/2012       7:10:30
22798      4044213821       9/21/2011       11:25:50
22799      4044214027       8/9/2012        14:01:01
22800      4044215258       9/24/2011       9:02:00
22801      4044216668       1/8/2012        13:08:15
22802      4044217656       2/10/2012       7:12:35
22803      4044217754       6/7/2012        7:04:36
22804      4044222040       10/24/2011      7:21:39
22805      4044222440       5/14/2012       7:14:15
22806      4044222530       1/11/2012       7:30:20
22807      4044223130       8/1/2012        8:33:49
22808      4044226145       7/19/2012       7:48:14
22809      4044230666       1/5/2012        11:58:30
22810      4044233701       12/29/2011      10:03:44
22811      4044239020       4/26/2012       8:14:09
22812      4044239446       12/10/2011      13:08:42
22813      4044241799       10/22/2012      17:47:30
22814      4044243884       4/12/2012       12:29:58
22815      4044247206       10/27/2011      16:33:16
22816      4044256189       1/13/2012       17:25:18
22817      4044271520       8/3/2011        12:20:04
22818      4044273436       7/20/2011       14:50:40
22819      4044276085       3/23/2012       19:11:40
22820      4044276261       10/3/2012       19:53:13
22821      4044276343       4/9/2012        19:26:09
22822      4044276776       9/19/2011       19:08:28
22823      4044285701       10/12/2012      17:05:21
22824      4044286616       7/11/2011       7:10:05
22825      4044291329       4/10/2012       11:38:56
22826      4044292268       10/17/2011      7:25:21
22827      4044294045       5/25/2012       12:03:48
22828      4044297563       7/12/2012       7:01:55
22829      4044313203       9/22/2011       15:01:48
22830      4044319999       4/2/2012        17:40:54
22831      4044326253       8/6/2012        16:20:32
22832      4044337912       11/14/2011      16:53:48
22833      4044341717       9/24/2011       9:51:08
22834      4044344375       10/20/2011      16:14:38
22835      4044348253       1/27/2012       17:58:49
22836      4044348556       4/13/2012       13:48:24
22837      4044351994       11/5/2011       11:05:49
22838      4044354818       7/13/2012       7:38:28
22839      4044359121       7/30/2012       13:13:35
22840      4044359702       9/29/2011       15:02:54
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22841      4044370358       10/28/2011      13:57:19
22842      4044371445       3/17/2012       8:31:10
22843      4044372007       10/11/2011      17:00:30
22844      4044372523       9/1/2012        9:20:30
22845      4044372523       9/24/2012       18:49:48
22846      4044372664       12/12/2011      12:08:30
22847      4044372793       5/20/2011       17:49:05
22848      4044374323       10/4/2011       13:07:03
22849      4044375592       2/9/2012        7:10:11
22850      4044378239       2/14/2012       9:51:59
22851      4044380029       12/7/2011       18:07:02
22852      4044380660       9/13/2011       7:13:42
22853      4044381555       1/29/2012       17:03:42
22854      4044381888       11/5/2011       11:14:38
22855      4044382008       10/22/2012      17:47:30
22856      4044382232       3/8/2012        9:45:00
22857      4044383254       10/9/2012       7:35:48
22858      4044383647       9/27/2012       7:36:50
22859      4044384892       3/14/2012       14:27:21
22860      4044385140       11/10/2011      7:18:41
22861      4044385273       4/24/2012       11:53:52
22862      4044385278       5/17/2012       16:37:25
22863      4044386354       5/30/2012       16:52:06
22864      4044386429       3/29/2012       17:19:21
22865      4044386762       2/4/2012        8:32:19
22866      4044387041       3/16/2012       15:59:54
22867      4044387366       9/30/2011       9:54:32
22868      4044388397       9/14/2012       7:05:11
22869      4044410702       2/15/2012       7:56:13
22870      4044412837       12/19/2011      8:10:19
22871      4044412889       6/10/2012       14:32:25
22872      4044418631       12/29/2011      14:12:58
22873      4044442535       12/30/2011      7:03:18
22874      4044443082       10/12/2011      8:23:00
22875      4044444568       2/28/2012       7:47:11
22876      4044470035       9/20/2011       16:31:47
22877      4044472395       10/12/2011      7:53:24
22878      4044472549       9/23/2011       18:59:06
22879      4044473199       1/18/2012       9:56:26
22880      4044473333       7/10/2012       7:31:04
22881      4044473747       9/20/2011       16:37:31
22882      4044474031       10/28/2011      14:10:54
22883      4044474836       2/7/2012        7:13:41
22884      4044475726       3/16/2012       15:48:36
22885      4044477974       10/26/2011      12:37:32
22886      4044478747       3/26/2012       18:41:22
22887      4044499815       7/24/2012       7:36:09
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22888      4044511433       9/26/2011       7:54:47
22889      4044514086       4/9/2011        13:36:38
22890      4044515695       10/17/2012      9:46:54
22891      4044515981       7/25/2011       16:29:36
22892      4044517674       1/4/2012        11:27:54
22893      4044519304       7/15/2011       17:19:39
22894      4044523768       12/23/2011      14:47:56
22895      4044529556       10/1/2012       8:40:45
22896      4044530730       10/31/2011      8:55:27
22897      4044531154       12/5/2011       18:30:48
22898      4044531795       10/23/2012      16:04:01
22899      4044532181       9/24/2011       9:04:15
22900      4044532473       9/24/2011       9:30:05
22901      4044532629       4/25/2012       15:54:47
22902      4044533326       2/29/2012       17:31:45
22903      4044534006       3/9/2012        7:06:47
22904      4044534006       3/31/2012       8:04:51
22905      4044534500       3/20/2012       9:22:26
22906      4044537542       11/30/2011      15:13:47
22907      4044537819       8/29/2012       10:58:10
22908      4044539007       9/17/2011       9:26:10
22909      4044539817       12/5/2011       17:20:13
22910      4044540292       5/1/2012        8:05:58
22911      4044540292       9/13/2012       7:42:37
22912      4044540884       8/12/2011       9:10:41
22913      4044541048       11/28/2011      11:10:03
22914      4044541865       11/21/2011      7:37:33
22915      4044542381       9/27/2011       18:36:38
22916      4044543912       5/6/2012        17:18:53
22917      4044545205       3/26/2012       18:22:26
22918      4044545878       3/28/2012       16:58:45
22919      4044546024       1/12/2012       14:04:16
22920      4044546024       3/23/2012       19:46:10
22921      4044548404       2/11/2012       15:08:14
22922      4044548723       6/24/2012       13:44:34
22923      4044549037       5/25/2012       16:59:16
22924      4044549338       9/21/2011       19:32:04
22925      4044550352       11/30/2011      14:45:08
22926      4044557916       1/24/2012       9:58:10
22927      4044569272       7/11/2012       17:13:04
22928      4044570297       12/31/2011      12:03:36
22929      4044572600       10/6/2011       16:22:07
22930      4044572600       10/11/2011      16:47:20
22931      4044572926       12/12/2011      12:22:56
22932      4044575259       2/24/2011       11:16:54
22933      4044617393       2/29/2012       17:43:51
22934      4044618840       5/6/2012        17:28:22
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22935      4044681176       7/2/2011        8:13:48
22936      4044681269       9/8/2011        18:23:20
22937      4044681511       1/18/2012       9:44:00
22938      4044682229       2/16/2012       7:27:12
22939      4044682625       7/28/2012       8:46:08
22940      4044682894       11/14/2011      16:22:51
22941      4044683393       4/6/2012        15:50:31
22942      4044684529       9/19/2011       19:27:29
22943      4044684654       11/19/2011      8:09:06
22944      4044685022       8/13/2012       7:33:14
22945      4044686179       9/24/2011       9:14:51
22946      4044688612       3/15/2011       12:52:36
22947      4044777765       5/3/2012        7:05:07
22948      4044778420       3/11/2011       16:36:03
22949      4044778825       6/22/2012       7:11:06
22950      4044827832       10/26/2011      12:44:51
22951      4044832993       11/23/2011      14:31:57
22952      4044834617       10/19/2011      7:50:51
22953      4044836515       9/29/2011       15:11:37
22954      4044840395       7/25/2012       11:55:12
22955      4044840395       8/28/2012       7:24:09
22956      4044841212       10/17/2011      7:06:35
22957      4044842031       4/19/2012       7:28:43
22958      4044843111       1/7/2012        9:19:01
22959      4044843153       10/4/2011       13:40:47
22960      4044843672       11/30/2011      7:24:08
22961      4044843775       11/18/2011      13:17:27
22962      4044843964       11/17/2011      16:17:36
22963      4044844176       6/7/2012        18:26:45
22964      4044844241       4/11/2012       7:15:01
22965      4044844991       2/16/2012       7:07:08
22966      4044845608       12/29/2011      18:56:04
22967      4044845706       2/10/2012       16:53:26
22968      4044847505       7/20/2011       14:17:48
22969      4044847961       9/12/2012       7:44:19
22970      4044848028       4/27/2012       7:43:01
22971      4044848557       10/31/2011      7:09:39
22972      4044848596       10/15/2012      9:58:02
22973      4044848989       1/4/2012        11:17:14
22974      4044863656       8/11/2012       9:18:50
22975      4044883572       10/18/2011      7:15:37
22976      4044883572       11/5/2011       10:42:50
22977      4044889515       5/30/2012       9:19:13
22978      4044889982       6/6/2011        17:19:09
22979      4044920328       12/14/2011      14:52:27
22980      4044920408       2/28/2012       7:45:10
22981      4044921123       3/20/2012       17:46:37
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22982      4044922372       3/16/2012       16:13:35
22983      4044922494       11/14/2011      14:08:47
22984      4044923215       3/20/2012       17:47:03
22985      4044924590       10/22/2011      12:25:52
22986      4044924835       10/22/2011      13:06:44
22987      4044931027       4/18/2012       9:08:04
22988      4045020602       10/25/2011      15:54:00
22989      4045020763       4/25/2012       18:42:44
22990      4045021821       5/11/2011       16:55:12
22991      4045028684       9/21/2012       18:54:04
22992      4045033364       9/24/2012       18:51:29
22993      4045037030       1/12/2012       7:08:53
22994      4045038451       6/5/2012        17:47:26
22995      4045038488       11/10/2011      7:18:34
22996      4045090186       12/17/2011      11:29:30
22997      4045092974       4/10/2012       11:50:06
22998      4045092974       5/21/2012       7:30:47
22999      4045093628       6/24/2011       12:10:35
23000      4045095587       1/16/2012       17:12:40
23001      4045097295       3/15/2012       19:04:35
23002      4045101388       5/5/2012        8:21:02
23003      4045101981       3/13/2012       18:36:57
23004      4045102075       3/23/2012       19:45:14
23005      4045102728       6/18/2011       15:10:52
23006      4045103574       6/1/2012        8:56:11
23007      4045105458       7/27/2011       17:19:17
23008      4045106734       2/20/2012       16:51:09
23009      4045106924       9/27/2011       18:11:07
23010      4045108359       2/11/2012       15:08:25
23011      4045120080       5/25/2012       8:16:37
23012      4045121008       7/20/2012       14:53:47
23013      4045122710       7/6/2012        14:36:17
23014      4045123035       10/17/2011      7:14:20
23015      4045128531       9/29/2011       15:45:19
23016      4045128691       7/13/2011       11:37:53
23017      4045131510       3/16/2012       16:01:29
23018      4045133360       1/10/2012       15:29:36
23019      4045133635       9/30/2011       10:12:06
23020      4045134880       4/19/2012       7:23:17
23021      4045141980       10/7/2011       8:17:14
23022      4045145234       10/17/2011      7:23:18
23023      4045147657       8/16/2012       19:52:45
23024      4045147822       9/28/2011       11:10:11
23025      4045149761       4/6/2012        16:08:26
23026      4045162595       10/6/2011       16:09:08
23027      4045162595       12/21/2011      18:54:43
23028      4045166283       10/10/2011      12:28:13
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23029      4045167104       8/16/2012       19:51:35
23030      4045181044       9/22/2011       15:38:40
23031      4045184425       7/6/2012        16:51:10
23032      4045186482       12/3/2011       9:47:45
23033      4045186776       10/15/2011      8:54:41
23034      4045189132       2/9/2012        7:06:00
23035      4045190574       2/14/2012       15:33:11
23036      4045192085       2/8/2012        7:34:31
23037      4045192849       10/5/2012       18:27:14
23038      4045192901       10/21/2011      14:37:32
23039      4045194257       9/15/2011       7:42:30
23040      4045195402       2/14/2012       15:14:56
23041      4045196791       9/28/2011       10:48:41
23042      4045200265       12/2/2011       7:59:50
23043      4045205314       12/14/2011      13:18:13
23044      4045205710       12/16/2011      15:36:34
23045      4045205795       4/13/2012       13:34:39
23046      4045360935       2/28/2012       16:14:54
23047      4045382847       7/16/2013       19:27:41
23048      4045386658       3/28/2011       15:23:25
23049      4045420122       12/10/2011      12:50:34
23050      4045420122       3/2/2012        9:29:31
23051      4045420228       9/9/2011        7:29:56
23052      4045424211       7/5/2012        15:28:37
23053      4045424431       9/19/2011       7:26:38
23054      4045426688       7/28/2012       9:00:38
23055      4045426882       9/14/2011       16:19:37
23056      4045427284       9/26/2011       7:52:00
23057      4045428829       1/27/2012       17:56:36
23058      4045429177       7/19/2012       7:58:20
23059      4045430828       7/5/2012        15:25:47
23060      4045435836       3/24/2012       9:50:12
23061      4045438201       11/28/2011      16:36:00
23062      4045450238       1/16/2012       17:20:29
23063      4045454235       9/20/2012       7:05:28
23064      4045456657       9/21/2011       19:32:16
23065      4045456658       9/30/2011       9:50:57
23066      4045471125       2/11/2012       11:12:40
23067      4045471125       10/12/2012      17:08:45
23068      4045474304       4/12/2012       18:01:54
23069      4045478478       1/7/2012        8:08:28
23070      4045506401       11/25/2011      18:07:30
23071      4045508312       11/22/2011      19:13:18
23072      4045510367       10/17/2011      7:06:37
23073      4045511884       3/13/2012       18:28:09
23074      4045516159       8/11/2011       11:41:22
23075      4045516535       8/4/2012        8:00:09
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23076      4045517208       10/17/2011      7:18:46
23077      4045518815       4/12/2012       12:29:25
23078      4045521151       9/21/2011       11:44:18
23079      4045521449       1/30/2012       7:11:01
23080      4045522729       10/15/2011      9:53:20
23081      4045523222       7/23/2012       13:13:44
23082      4045523222       7/28/2012       8:52:34
23083      4045524250       12/22/2011      9:22:32
23084      4045524305       2/25/2012       10:53:40
23085      4045525250       7/13/2012       18:52:55
23086      4045525985       11/17/2011      15:15:44
23087      4045529600       9/22/2011       15:05:23
23088      4045531034       10/9/2012       19:58:54
23089      4045531141       8/15/2012       7:55:35
23090      4045531189       3/16/2012       15:48:29
23091      4045531496       9/29/2011       15:35:41
23092      4045533159       7/13/2012       18:26:17
23093      4045535037       9/6/2012        12:40:03
23094      4045535406       7/17/2012       7:07:03
23095      4045543280       6/23/2012       8:23:03
23096      4045566224       12/5/2011       8:22:14
23097      4045566224       12/9/2011       14:58:55
23098      4045569185       5/11/2012       14:41:38
23099      4045578808       10/31/2011      7:12:03
23100      4045579320       6/13/2012       20:00:45
23101      4045610171       1/27/2012       17:34:13
23102      4045614129       11/3/2011       17:07:52
23103      4045618297       2/3/2012        7:00:52
23104      4045660847       8/6/2011        8:37:12
23105      4045661150       10/5/2011       13:59:47
23106      4045661572       10/15/2011      8:38:09
23107      4045672354       1/8/2012        12:50:21
23108      4045673567       10/13/2012      9:12:00
23109      4045693259       5/25/2012       8:05:28
23110      4045694945       9/29/2011       9:08:51
23111      4045696442       10/14/2011      12:39:01
23112      4045697703       4/4/2011        11:54:08
23113      4045698044       12/10/2011      14:19:23
23114      4045731275       10/17/2011      7:33:34
23115      4045731331       5/22/2012       11:39:09
23116      4045731534       1/25/2012       8:58:48
23117      4045731632       9/17/2011       10:15:14
23118      4045731776       10/21/2011      13:21:18
23119      4045732450       2/17/2012       18:16:48
23120      4045733131       1/7/2012        9:01:13
23121      4045733399       10/26/2011      11:58:10
23122      4045736717       8/5/2011        18:51:41
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23123      4045737127       11/30/2011      15:10:27
23124      4045739510       9/8/2012        11:08:32
23125      4045743395       5/12/2012       10:36:42
23126      4045747562       11/7/2011       8:02:26
23127      4045748341       10/10/2012      19:05:41
23128      4045765929       10/15/2012      16:17:31
23129      4045780073       9/23/2011       11:28:48
23130      4045781700       2/1/2012        8:24:11
23131      4045790304       2/1/2012        8:24:30
23132      4045790307       9/19/2011       19:25:59
23133      4045791238       11/4/2011       7:09:35
23134      4045791498       6/21/2012       18:19:03
23135      4045791790       9/21/2011       19:32:40
23136      4045793007       5/13/2011       11:15:38
23137      4045794704       10/6/2011       16:29:23
23138      4045794704       10/27/2011      16:36:19
23139      4045794704       11/30/2011      15:17:53
23140      4045795406       11/2/2011       7:14:03
23141      4045798033       10/1/2011       10:34:39
23142      4045805357       9/15/2011       7:16:13
23143      4045807971       10/19/2012      19:02:07
23144      4045833251       12/21/2011      9:51:44
23145      4045833526       11/12/2011      9:28:25
23146      4045834428       8/1/2012        8:33:37
23147      4045834884       4/30/2012       14:45:39
23148      4045835666       10/1/2012       8:15:06
23149      4045837155       8/2/2011        18:14:42
23150      4045870242       7/14/2011       15:53:22
23151      4045870405       8/30/2012       17:44:04
23152      4045870572       6/29/2012       9:28:27
23153      4045870733       1/29/2014       7:06:35
23154      4045872566       10/18/2011      12:46:10
23155      4045873218       5/14/2012       7:03:19
23156      4045874437       3/14/2012       19:31:41
23157      4045874751       12/17/2011      11:48:54
23158      4045875336       3/3/2012        8:43:31
23159      4045877308       2/11/2012       11:04:25
23160      4045877308       7/30/2012       14:46:18
23161      4045878388       2/25/2012       10:35:30
23162      4045933679       10/25/2012      12:11:18
23163      4045934147       10/24/2011      7:11:36
23164      4045935512       12/18/2011      17:43:32
23165      4045935942       7/2/2011        8:16:38
23166      4045936491       10/2/2012       7:28:59
23167      4045937423       1/13/2012       17:33:30
23168      4045938548       1/10/2012       18:09:26
23169      4045939279       10/7/2011       7:22:49
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23170      4045976437       11/15/2011      15:26:57
23171      4046022149       1/13/2012       7:25:00
23172      4046041245       3/18/2012       12:26:24
23173      4046044564       3/13/2012       18:58:04
23174      4046044586       1/13/2012       17:12:47
23175      4046045838       5/23/2011       15:32:17
23176      4046046115       3/7/2012        7:15:00
23177      4046047929       1/28/2012       8:22:14
23178      4046049760       9/29/2011       15:31:14
23179      4046065510       10/24/2012      15:23:44
23180      4046066627       11/14/2011      16:36:08
23181      4046100492       7/26/2012       19:14:14
23182      4046102023       5/30/2012       16:43:38
23183      4046102023       6/8/2012        19:42:34
23184      4046105231       9/29/2011       15:42:55
23185      4046109405       2/13/2012       7:17:24
23186      4046109617       6/20/2011       14:13:50
23187      4046175862       10/12/2012      16:46:18
23188      4046255747       5/30/2012       16:52:04
23189      4046269182       1/12/2012       14:02:03
23190      4046297141       1/11/2012       16:26:26
23191      4046297428       7/23/2012       15:17:24
23192      4046303220       9/8/2011        19:23:51
23193      4046412224       3/29/2012       16:39:48
23194      4046414291       10/7/2011       7:08:25
23195      4046415018       12/18/2011      17:42:08
23196      4046415299       7/18/2012       18:33:18
23197      4046417113       8/30/2012       17:39:53
23198      4046417182       10/17/2011      11:17:02
23199      4046419555       4/29/2012       18:23:35
23200      4046421725       4/13/2012       13:30:01
23201      4046423638       8/29/2012       11:07:23
23202      4046425052       8/6/2011        9:16:01
23203      4046425324       7/20/2012       7:36:29
23204      4046425978       12/15/2011      8:29:38
23205      4046426947       5/24/2012       7:11:17
23206      4046430733       1/5/2012        17:23:36
23207      4046430733       1/9/2012        18:45:13
23208      4046432268       9/13/2011       7:13:08
23209      4046435429       11/26/2011      11:38:09
23210      4046435563       2/17/2012       18:16:34
23211      4046438187       10/7/2011       7:01:19
23212      4046444514       6/23/2012       8:22:37
23213      4046445020       3/1/2012        11:54:19
23214      4046446200       9/13/2011       17:45:21
23215      4046446300       1/12/2012       14:16:19
23216      4046452325       3/20/2012       9:00:10
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23217      4046458085       11/5/2011       9:34:08
23218      4046458919       10/5/2011       14:02:22
23219      4046459600       4/28/2012       8:23:16
23220      4046473293       12/23/2011      15:43:57
23221      4046529588       11/8/2011       14:14:55
23222      4046602803       11/26/2011      13:05:34
23223      4046602807       11/16/2011      7:57:32
23224      4046602807       11/29/2011      15:30:39
23225      4046603672       5/21/2012       7:45:05
23226      4046610860       12/7/2011       17:51:50
23227      4046611390       10/12/2011      7:20:10
23228      4046617455       6/21/2012       18:56:44
23229      4046634763       8/28/2012       7:29:22
23230      4046636486       5/14/2012       15:26:05
23231      4046636737       9/23/2011       11:28:09
23232      4046638789       9/15/2012       8:10:16
23233      4046649063       9/13/2011       7:16:16
23234      4046649070       10/20/2012      16:28:31
23235      4046649808       10/20/2011      15:58:52
23236      4046656475       11/26/2011      11:26:39
23237      4046656995       7/23/2012       13:02:21
23238      4046678369       12/27/2011      14:22:05
23239      4046679216       8/16/2011       17:33:43
23240      4046680607       11/11/2011      20:25:45
23241      4046681209       2/26/2012       13:25:28
23242      4046681468       5/21/2012       17:02:54
23243      4046681508       12/6/2011       14:31:09
23244      4046681623       9/24/2011       9:04:47
23245      4046681950       4/18/2012       17:48:37
23246      4046686260       10/29/2011      11:27:00
23247      4046710699       12/10/2011      14:21:00
23248      4046712068       10/7/2011       7:09:10
23249      4046712951       9/24/2012       12:48:49
23250      4046716752       1/23/2012       18:52:28
23251      4046803423       7/24/2012       7:33:50
23252      4046828622       10/8/2011       10:38:48
23253      4046830759       5/23/2012       16:35:19
23254      4046832688       1/20/2014       14:14:24
23255      4046832977       3/31/2012       8:08:55
23256      4046834116       10/24/2011      7:11:55
23257      4046931424       10/26/2011      12:51:49
23258      4046936840       3/20/2012       17:46:56
23259      4046936840       3/25/2012       11:49:43
23260      4046936840       3/28/2012       18:29:38
23261      4046936840       5/21/2012       7:29:46
23262      4046936840       5/21/2012       7:30:11
23263      4046937535       3/15/2012       13:47:46
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23264      4046940048       7/27/2012       15:21:25
23265      4046940471       9/20/2011       18:07:24
23266      4046942035       11/10/2011      7:07:02
23267      4046946626       9/24/2012       19:06:13
23268      4046958511       11/17/2011      16:19:37
23269      4046959751       8/2/2011        18:14:22
23270      4046975776       10/15/2012      16:25:52
23271      4046977647       9/13/2011       7:18:29
23272      4046978034       12/20/2011      7:15:59
23273      4047020949       10/20/2011      15:17:07
23274      4047023303       8/9/2012        13:57:23
23275      4047028061       7/6/2012        14:48:07
23276      4047029033       12/21/2011      9:53:06
23277      4047047755       3/16/2012       15:47:15
23278      4047070754       10/5/2012       18:18:14
23279      4047071805       3/1/2012        8:42:26
23280      4047071885       12/20/2011      7:14:38
23281      4047074731       10/23/2012      16:06:57
23282      4047075287       10/29/2011      10:40:35
23283      4047077571       9/8/2011        19:27:27
23284      4047077608       9/13/2011       7:23:05
23285      4047078294       9/25/2012       15:31:10
23286      4047078875       5/7/2012        7:03:53
23287      4047131303       2/13/2012       7:07:12
23288      4047131303       2/28/2012       7:51:32
23289      4047131303       10/17/2012      18:45:31
23290      4047132512       1/10/2012       15:28:20
23291      4047133728       3/19/2012       7:05:28
23292      4047135243       9/13/2011       17:20:55
23293      4047174679       5/1/2012        17:25:57
23294      4047177072       10/12/2012      16:44:55
23295      4047215532       10/14/2011      13:17:14
23296      4047230148       10/27/2011      15:11:03
23297      4047233172       11/12/2011      9:49:05
23298      4047238409       6/9/2012        14:58:21
23299      4047254462       3/8/2014        8:09:56
23300      4047257941       3/19/2012       17:39:02
23301      4047291428       3/7/2012        18:41:24
23302      4047295621       9/12/2011       12:59:08
23303      4047295940       6/28/2012       14:26:06
23304      4047296410       9/25/2012       14:51:27
23305      4047298764       10/31/2011      7:23:59
23306      4047311191       10/16/2012      16:34:14
23307      4047311685       1/11/2012       16:29:01
23308      4047322727       12/21/2011      9:51:28
23309      4047322745       7/27/2012       15:20:48
23310      4047326333       3/15/2012       19:02:32
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23311      4047328292       3/28/2012       18:18:54
23312      4047342066       3/13/2012       16:40:09
23313      4047342526       4/12/2012       17:57:22
23314      4047342913       11/17/2011      16:24:48
23315      4047344145       9/19/2011       19:25:41
23316      4047349573       5/22/2012       18:37:06
23317      4047356345       5/18/2012       12:06:54
23318      4047480041       8/13/2012       7:39:28
23319      4047482166       11/8/2011       13:47:02
23320      4047483425       9/10/2011       9:02:05
23321      4047483834       10/10/2012      12:31:01
23322      4047485963       5/22/2012       18:39:05
23323      4047488293       9/14/2011       7:02:46
23324      4047490169       5/11/2011       16:50:32
23325      4047490619       9/16/2011       13:23:44
23326      4047496348       2/1/2012        18:29:10
23327      4047496642       1/20/2012       11:39:04
23328      4047497863       9/26/2011       8:31:07
23329      4047516302       10/17/2011      7:29:27
23330      4047517908       9/8/2011        19:42:41
23331      4047545509       7/16/2012       19:47:05
23332      4047546957       3/25/2012       11:53:00
23333      4047548614       5/22/2012       18:20:27
23334      4047596738       9/22/2011       16:03:21
23335      4047598644       9/8/2011        18:30:52
23336      4047598644       5/2/2012        13:39:49
23337      4047692619       12/7/2011       14:40:57
23338      4047711664       9/30/2011       9:55:08
23339      4047716557       10/11/2011      17:13:18
23340      4047720117       3/16/2012       15:46:50
23341      4047725303       4/7/2012        9:07:24
23342      4047751150       4/20/2012       14:03:30
23343      4047751898       7/12/2012       13:14:27
23344      4047751898       7/31/2012       21:05:56
23345      4047752141       2/21/2012       11:03:29
23346      4047814459       3/23/2012       7:05:23
23347      4047814459       5/28/2012       8:08:31
23348      4047815589       1/8/2012        12:50:08
23349      4047817112       1/13/2012       7:23:40
23350      4047817158       1/11/2012       16:26:52
23351      4047838071       5/14/2012       7:21:44
23352      4047861765       7/2/2011        9:00:55
23353      4047862299       8/18/2011       7:51:21
23354      4047863385       6/29/2012       17:44:21
23355      4047864389       2/3/2012        7:14:57
23356      4047865151       3/15/2012       19:03:15
23357      4047868056       10/31/2011      7:59:17
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23358      4047870957       10/8/2011       10:56:44
23359      4047873364       9/28/2012       16:42:42
23360      4047875158       7/23/2012       13:15:42
23361      4047880751       3/16/2012       10:10:29
23362      4047899222       9/27/2011       18:28:05
23363      4047903124       2/13/2012       18:26:34
23364      4047906942       1/21/2012       8:31:44
23365      4047916804       1/16/2012       17:10:48
23366      4047982511       1/18/2012       11:04:54
23367      4047986030       9/19/2011       19:07:07
23368      4047986834       2/11/2012       15:04:14
23369      4047986892       9/16/2011       13:14:10
23370      4048032391       9/21/2012       16:02:04
23371      4048032623       5/11/2012       18:23:45
23372      4048032623       6/23/2012       16:09:40
23373      4048034470       4/6/2012        16:09:05
23374      4048052519       9/10/2011       8:49:47
23375      4048054299       2/2/2012        7:10:23
23376      4048083102       12/5/2011       8:30:35
23377      4048083512       2/22/2012       7:07:01
23378      4048086393       9/13/2011       7:16:00
23379      4048192301       5/26/2012       14:29:19
23380      4048194877       10/11/2012      12:19:34
23381      4048223408       8/9/2011        13:33:49
23382      4048226285       10/5/2011       14:25:38
23383      4048229082       2/28/2012       13:04:14
23384      4048229176       9/8/2011        19:26:03
23385      4048241000       4/13/2012       13:48:33
23386      4048252600       9/25/2012       15:15:20
23387      4048253198       5/14/2012       15:32:08
23388      4048256604       7/22/2011       13:25:35
23389      4048257178       9/24/2011       9:04:45
23390      4048318050       1/17/2012       20:51:38
23391      4048318954       8/28/2012       7:29:55
23392      4048380481       6/5/2012        14:01:32
23393      4048380722       9/21/2011       11:40:50
23394      4048381773       11/19/2011      8:36:07
23395      4048386984       11/18/2011      13:16:06
23396      4048389094       10/8/2012       7:03:22
23397      4048389466       5/18/2012       11:53:58
23398      4048389929       9/16/2011       13:23:29
23399      4048392080       9/13/2011       14:51:05
23400      4048392666       10/15/2011      10:23:06
23401      4048393795       6/4/2012        8:43:52
23402      4048395126       5/2/2012        13:06:21
23403      4048395255       12/27/2011      14:15:20
23404      4048398144       11/23/2011      14:34:29
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23405      4048399770       1/18/2012       9:48:18
23406      4048399770       1/24/2012       10:02:07
23407      4048399844       10/8/2011       11:17:44
23408      4048399844       10/22/2011      13:05:09
23409      4048402815       12/10/2011      14:42:17
23410      4048403922       4/3/2012        18:08:43
23411      4048404554       8/11/2012       8:01:03
23412      4048408066       11/19/2011      8:38:36
23413      4048409485       5/2/2012        13:21:22
23414      4048409846       9/9/2011        7:48:30
23415      4048448717       1/18/2012       10:00:31
23416      4048448717       2/11/2012       15:24:43
23417      4048492285       8/16/2011       16:41:41
23418      4048495829       10/11/2011      16:18:19
23419      4048527690       9/19/2011       19:03:35
23420      4048539395       9/24/2012       18:58:57
23421      4048539699       10/5/2012       12:25:44
23422      4048593466       10/16/2012      7:24:49
23423      4048599954       2/7/2012        17:14:05
23424      4048614502       5/25/2012       8:15:36
23425      4048615677       1/31/2012       7:05:36
23426      4048616617       3/16/2012       16:07:20
23427      4048618383       6/17/2011       15:09:18
23428      4048619631       10/5/2011       14:06:40
23429      4048625474       12/5/2011       18:32:09
23430      4048635468       8/21/2012       13:55:42
23431      4048636545       9/22/2011       15:29:21
23432      4048636545       11/11/2011      20:03:00
23433      4048671331       3/15/2012       19:04:29
23434      4048778282       3/12/2012       19:18:38
23435      4048798012       11/23/2013      8:04:28
23436      4048893784       3/26/2012       18:41:04
23437      4048893894       5/6/2011        15:46:54
23438      4048951083       7/7/2012        10:03:32
23439      4048958851       9/8/2012        11:07:34
23440      4048959852       10/12/2012      16:42:34
23441      4049018304       4/2/2012        17:32:16
23442      4049033795       3/6/2012        15:46:47
23443      4049034213       10/20/2012      8:11:55
23444      4049038370       11/26/2011      11:25:15
23445      4049063377       1/8/2012        13:00:07
23446      4049092549       10/14/2011      13:17:31
23447      4049092549       5/14/2012       15:29:24
23448      4049094417       9/20/2011       16:33:07
23449      4049107712       9/18/2012       14:23:46
23450      4049140678       7/2/2012        15:09:44
23451      4049141850       9/21/2011       19:43:01
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23452      4049142017       11/15/2011      15:03:03
23453      4049145059       12/27/2011      9:11:01
23454      4049145628       6/5/2012        7:06:15
23455      4049146613       1/20/2012       11:30:03
23456      4049147151       1/18/2012       16:46:21
23457      4049147475       7/13/2013       9:09:25
23458      4049151562       3/23/2012       19:43:03
23459      4049154424       11/2/2011       16:21:44
23460      4049156957       10/16/2012      7:24:31
23461      4049162235       1/18/2012       10:05:41
23462      4049165731       10/11/2012      18:43:19
23463      4049166307       6/11/2012       16:59:39
23464      4049173598       1/28/2012       9:37:17
23465      4049175455       10/12/2012      16:54:37
23466      4049177648       3/2/2012        9:16:32
23467      4049179114       12/28/2011      18:14:42
23468      4049181324       7/14/2011       15:57:24
23469      4049182006       10/14/2011      12:44:33
23470      4049188352       8/12/2011       9:18:56
23471      4049188365       3/5/2012        10:55:26
23472      4049252501       3/15/2012       7:14:27
23473      4049254151       10/28/2011      14:11:12
23474      4049254337       10/4/2011       13:38:04
23475      4049254722       7/22/2011       13:14:01
23476      4049259163       9/13/2011       14:54:00
23477      4049310639       3/26/2012       18:25:45
23478      4049314766       8/20/2012       18:48:59
23479      4049314931       3/2/2012        7:08:11
23480      4049317462       10/8/2011       11:09:00
23481      4049319047       10/25/2011      15:20:56
23482      4049319363       5/26/2012       8:53:02
23483      4049320905       5/9/2012        7:40:46
23484      4049322225       12/20/2011      7:10:57
23485      4049324718       6/29/2012       17:40:41
23486      4049325919       5/27/2011       8:52:09
23487      4049330096       5/21/2012       7:29:44
23488      4049332189       12/12/2011      16:30:05
23489      4049332653       7/5/2012        15:27:10
23490      4049334198       1/12/2012       7:07:10
23491      4049334251       8/18/2012       8:47:12
23492      4049336908       2/20/2012       7:24:45
23493      4049340653       11/1/2011       8:50:02
23494      4049342109       3/19/2012       11:42:45
23495      4049344538       10/10/2012      19:16:26
23496      4049345649       1/4/2012        11:18:17
23497      4049349691       2/13/2012       18:27:40
23498      4049352087       12/29/2011      19:25:33
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23499      4049352090       3/17/2012       8:37:08
23500      4049353604       11/28/2011      11:15:24
23501      4049353606       2/20/2012       17:07:03
23502      4049353957       1/25/2012       9:20:08
23503      4049358205       9/6/2011        12:56:18
23504      4049358547       3/11/2011       16:21:33
23505      4049360293       3/8/2012        7:19:46
23506      4049360293       8/11/2012       9:22:04
23507      4049361068       5/4/2012        18:28:12
23508      4049361068       6/5/2012        19:45:41
23509      4049365137       4/22/2012       15:08:47
23510      4049365936       11/8/2011       14:33:02
23511      4049369990       2/16/2012       7:26:23
23512      4049427012       11/8/2011       14:11:18
23513      4049427261       9/19/2011       7:27:03
23514      4049429389       1/5/2012        11:55:19
23515      4049440533       7/11/2011       7:20:30
23516      4049440548       8/2/2011        18:13:30
23517      4049443315       2/17/2012       18:06:40
23518      4049443315       3/8/2012        7:06:33
23519      4049443381       10/26/2011      11:57:34
23520      4049443381       11/14/2011      16:27:36
23521      4049443428       3/13/2012       11:04:31
23522      4049444067       5/1/2012        17:54:35
23523      4049446314       11/4/2011       7:05:37
23524      4049447837       11/19/2011      8:34:39
23525      4049513595       1/9/2012        7:18:00
23526      4049513663       7/7/2012        10:19:33
23527      4049523735       5/23/2012       15:07:47
23528      4049526390       7/30/2011       8:42:01
23529      4049526506       2/21/2012       9:37:27
23530      4049527915       2/11/2012       15:04:13
23531      4049532057       2/17/2012       18:20:29
23532      4049532753       9/16/2011       14:07:11
23533      4049550626       8/18/2011       7:44:43
23534      4049551031       11/28/2011      16:32:40
23535      4049571598       10/14/2011      19:14:32
23536      4049572349       7/18/2012       7:02:13
23537      4049572401       10/19/2012      9:54:49
23538      4049573100       10/21/2011      13:09:53
23539      4049573674       9/15/2012       8:18:54
23540      4049576457       10/19/2012      19:02:43
23541      4049576568       11/18/2011      13:28:09
23542      4049577297       3/19/2012       17:39:49
23543      4049577297       5/28/2012       8:09:46
23544      4049579112       8/16/2012       7:53:24
23545      4049579112       10/15/2012      16:18:42
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23546      4049579474       3/12/2012       16:51:46
23547      4049649200       9/15/2011       7:17:20
23548      4049662672       6/17/2012       12:26:03
23549      4049663267       9/20/2011       17:16:26
23550      4049663548       3/28/2012       7:21:40
23551      4049665619       12/17/2011      11:28:01
23552      4049666241       12/29/2011      19:17:43
23553      4049669683       4/30/2012       14:31:38
23554      4049669683       6/1/2012        8:59:01
23555      4049748277       10/15/2011      10:12:37
23556      4049748535       3/2/2012        18:45:41
23557      4049790764       1/9/2012        7:05:22
23558      4049833090       12/5/2011       9:21:27
23559      4049833592       5/4/2012        14:30:41
23560      4049833704       7/26/2012       19:13:12
23561      4049834909       3/13/2012       7:08:21
23562      4049836636       5/5/2012        8:04:09
23563      4049851515       6/28/2012       14:15:08
23564      4049852104       5/11/2011       16:51:55
23565      4049852960       8/30/2012       17:30:48
23566      4049854106       4/4/2012        7:06:11
23567      4049875076       6/22/2012       7:09:34
23568      4049881472       11/15/2011      15:38:49
23569      4049881893       5/8/2012        9:11:40
23570      4049882162       2/16/2012       7:01:51
23571      4049882233       10/13/2011      7:12:02
23572      4049885558       4/27/2012       7:05:07
23573      4049885713       8/1/2012        8:32:06
23574      4049886476       9/30/2011       10:17:41
23575      4049890004       9/17/2012       8:34:27
23576      4049890004       9/26/2012       14:40:00
23577      4049920298       10/5/2011       14:26:45
23578      4049922020       7/11/2012       9:33:28
23579      4049924024       4/27/2012       7:07:50
23580      4049925871       2/14/2012       9:39:50
23581      4049929647       8/29/2012       11:11:04
23582      4049931166       12/17/2011      11:33:00
23583      4049931325       8/16/2011       16:38:16
23584      4049932953       3/24/2012       10:22:33
23585      4049936404       10/8/2011       9:57:05
23586      4049937498       1/3/2012        11:14:03
23587      4049939191       4/19/2012       15:01:07
23588      4052005168       10/19/2011      12:15:11
23589      4052005168       12/3/2011       9:20:28
23590      4052006437       9/21/2011       19:46:27
23591      4052006688       5/11/2012       18:34:34
23592      4052011665       10/18/2011      12:21:34
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23593      4052015677       9/23/2011       11:46:47
23594      4052020669       1/26/2012       10:26:27
23595      4052021466       12/29/2011      14:12:00
23596      4052021861       6/11/2011       9:29:35
23597      4052032213       9/21/2011       11:33:45
23598      4052040186       4/16/2012       16:06:42
23599      4052040542       11/14/2011      17:17:12
23600      4052041934       10/19/2012      19:10:35
23601      4052042114       7/14/2012       8:09:55
23602      4052049907       9/21/2011       11:34:18
23603      4052057082       9/12/2011       14:14:16
23604      4052064869       12/18/2011      17:45:37
23605      4052069633       2/2/2012        16:38:01
23606      4052070093       11/26/2011      13:13:59
23607      4052074060       10/4/2011       13:16:50
23608      4052076152       8/22/2012       11:21:23
23609      4052080148       1/4/2012        12:31:47
23610      4052082571       11/22/2011      19:39:18
23611      4052089742       2/11/2012       15:10:19
23612      4052098388       11/18/2011      12:23:43
23613      4052103557       8/2/2012        11:30:59
23614      4052132069       10/10/2012      19:12:57
23615      4052136920       10/28/2011      13:33:53
23616      4052136920       12/14/2011      18:00:56
23617      4052151227       10/11/2011      16:18:54
23618      4052156121       2/18/2012       9:08:44
23619      4052191259       3/13/2012       18:59:02
23620      4052199805       10/22/2011      12:40:36
23621      4052210585       10/25/2011      16:32:30
23622      4052210585       1/10/2012       18:14:00
23623      4052229839       2/28/2012       13:04:30
23624      4052260686       9/28/2012       16:44:29
23625      4052260812       6/30/2012       8:23:42
23626      4052266001       3/24/2012       10:28:18
23627      4052268863       10/10/2011      11:51:55
23628      4052271309       12/11/2011      12:25:20
23629      4052273184       1/25/2012       9:08:33
23630      4052276151       2/17/2012       9:18:56
23631      4052295638       12/17/2011      12:03:31
23632      4052296107       6/8/2012        16:56:25
23633      4052390367       9/22/2011       16:09:26
23634      4052435808       12/27/2011      14:19:34
23635      4052436530       2/10/2012       20:41:28
23636      4052436788       9/28/2011       14:25:57
23637      4052456805       12/9/2011       13:48:11
23638      4052480134       8/10/2011       19:14:32
23639      4052481231       8/25/2011       18:11:11
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23640      4052486088       2/10/2012       20:38:21
23641      4052486743       1/20/2012       11:49:49
23642      4052497356       12/7/2011       14:08:41
23643      4052497573       11/17/2011      14:27:14
23644      4052509357       12/26/2011      20:07:52
23645      4052587519       9/20/2011       16:44:35
23646      4052682265       9/27/2012       8:38:39
23647      4052692095       12/28/2011      20:48:32
23648      4052741999       1/6/2012        14:40:43
23649      4052746779       3/23/2012       20:13:45
23650      4052749779       9/14/2011       12:33:21
23651      4052749779       10/5/2011       14:16:23
23652      4053052153       10/13/2012      9:10:47
23653      4053055981       11/29/2011      15:56:11
23654      4053060269       9/27/2011       18:14:19
23655      4053080358       10/29/2011      10:51:06
23656      4053083075       6/7/2012        18:23:57
23657      4053086673       3/18/2011       9:46:35
23658      4053086684       4/20/2012       13:46:32
23659      4053121560       8/7/2012        17:52:39
23660      4053122995       12/16/2011      15:39:14
23661      4053131012       10/22/2012      8:09:03
23662      4053135958       2/17/2012       9:00:30
23663      4053141668       12/21/2011      10:16:51
23664      4053144606       10/10/2011      12:00:21
23665      4053171044       8/7/2012        20:03:04
23666      4053172791       5/13/2011       11:41:13
23667      4053173465       10/4/2011       13:21:14
23668      4053200151       1/20/2012       20:34:14
23669      4053200151       6/7/2012        18:37:13
23670      4053237637       8/26/2011       18:29:24
23671      4053263218       8/27/2011       10:28:22
23672      4053264253       11/17/2011      14:14:32
23673      4053265488       10/7/2012       13:05:35
23674      4053265755       11/29/2011      16:11:11
23675      4053268335       2/17/2012       9:18:32
23676      4053268684       5/20/2012       15:40:21
23677      4053348360       9/27/2011       18:15:59
23678      4053430965       10/9/2012       11:37:06
23679      4053611292       6/13/2012       20:01:26
23680      4053613271       4/24/2012       12:09:19
23681      4053614262       10/27/2011      16:05:24
23682      4053615538       8/25/2012       10:55:31
23683      4053617685       3/16/2012       10:19:03
23684      4053650611       3/23/2012       19:58:26
23685      4053651651       7/30/2012       13:39:35
23686      4053658755       4/3/2012        20:15:35
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23687      4053659863       10/27/2011      15:57:49
23688      4053681303       11/28/2011      18:04:46
23689      4053703470       4/27/2012       12:12:09
23690      4053704272       2/14/2012       16:52:09
23691      4053710646       10/6/2011       17:45:36
23692      4053711858       9/5/2012        15:09:06
23693      4053712731       1/5/2012        17:22:25
23694      4053715973       12/8/2011       11:40:52
23695      4053717063       9/23/2011       18:47:08
23696      4053718005       3/14/2012       14:46:37
23697      4053802224       9/24/2012       18:53:32
23698      4053802224       9/28/2012       16:39:20
23699      4053802419       10/20/2011      17:37:12
23700      4053803380       10/20/2011      15:41:24
23701      4053807433       9/14/2011       15:21:46
23702      4053851055       10/25/2011      16:30:14
23703      4053851055       2/9/2012        9:46:36
23704      4053971125       8/15/2012       12:25:41
23705      4053971176       9/26/2011       9:32:08
23706      4054018403       10/6/2011       17:52:24
23707      4054064722       11/11/2011      20:20:36
23708      4054082215       12/29/2011      11:12:33
23709      4054082895       1/6/2012        14:51:24
23710      4054089083       9/27/2012       8:39:04
23711      4054089099       9/26/2011       9:34:23
23712      4054094214       9/28/2011       10:33:09
23713      4054101169       5/22/2012       11:57:59
23714      4054101169       7/27/2012       20:50:52
23715      4054102235       7/9/2012        8:55:24
23716      4054103454       8/1/2012        8:35:39
23717      4054105059       2/17/2012       9:15:29
23718      4054122042       11/15/2011      15:44:25
23719      4054127516       6/1/2012        9:02:10
23720      4054133228       10/25/2011      16:27:00
23721      4054138897       10/1/2011       10:46:55
23722      4054138897       3/16/2012       11:26:26
23723      4054139032       8/24/2012       11:08:07
23724      4054139314       10/25/2012      12:15:55
23725      4054143804       12/20/2011      19:36:20
23726      4054144724       1/18/2012       16:44:26
23727      4054149159       10/25/2012      12:14:08
23728      4054155102       11/27/2011      15:31:21
23729      4054171528       2/25/2012       10:37:42
23730      4054174784       9/30/2011       10:03:37
23731      4054201378       1/17/2012       18:35:19
23732      4054202973       2/14/2012       13:31:36
23733      4054204023       10/6/2011       16:47:03
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23734      4054205765       12/26/2011      20:18:55
23735      4054206410       4/22/2012       15:27:58
23736      4054207137       9/19/2012       16:21:53
23737      4054260389       10/18/2011      12:16:16
23738      4054265818       10/5/2012       18:39:29
23739      4054364902       3/29/2012       12:44:24
23740      4054365630       12/17/2011      12:10:10
23741      4054642035       5/19/2012       9:44:46
23742      4054733876       9/29/2011       15:51:54
23743      4054733876       10/8/2011       10:01:08
23744      4054738102       9/3/2012        14:53:49
23745      4054739638       2/7/2012        20:24:37
23746      4054744079       6/19/2012       15:42:43
23747      4054744907       2/11/2012       11:21:00
23748      4054746537       10/11/2011      16:27:34
23749      4054747091       12/23/2011      14:02:29
23750      4054749535       7/14/2012       8:12:53
23751      4054762393       8/22/2012       11:21:33
23752      4054768405       1/6/2012        12:55:59
23753      4054877174       8/8/2012        16:13:01
23754      4054885924       10/8/2011       9:49:36
23755      4054962263       7/16/2012       19:51:12
23756      4055012626       12/20/2011      19:37:36
23757      4055012626       1/17/2012       18:46:48
23758      4055015227       2/9/2012        9:38:03
23759      4055017082       11/8/2011       14:35:05
23760      4055031814       9/19/2012       16:22:08
23761      4055036689       10/14/2011      13:27:01
23762      4055127154       12/31/2011      12:15:35
23763      4055129121       3/2/2012        18:46:22
23764      4055129612       5/2/2011        18:06:21
23765      4055132174       11/23/2011      10:27:49
23766      4055172106       9/28/2011       11:12:41
23767      4055172279       10/8/2011       12:00:46
23768      4055177795       4/26/2012       17:31:29
23769      4055206415       10/21/2011      12:43:34
23770      4055325727       4/16/2011       15:10:30
23771      4055327793       4/23/2011       10:23:09
23772      4055350510       10/25/2012      19:49:57
23773      4055350857       4/5/2012        16:13:58
23774      4055372480       11/8/2011       14:29:25
23775      4055492469       6/9/2012        15:38:20
23776      4055504219       2/28/2012       16:04:05
23777      4055560688       12/26/2011      20:26:11
23778      4055669291       9/29/2012       10:01:18
23779      4055680897       1/6/2012        16:45:27
23780      4055700198       7/3/2012        19:38:01
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23781      4055700198       8/10/2012       8:25:00
23782      4055840045       2/14/2012       16:40:57
23783      4055841914       12/3/2011       10:17:35
23784      4055841914       3/7/2012        18:55:11
23785      4055891909       1/8/2012        13:15:43
23786      4055892107       1/17/2012       17:07:16
23787      4055896485       3/20/2012       9:20:16
23788      4055907208       7/2/2012        15:04:03
23789      4055932334       8/6/2011        9:42:57
23790      4055959180       1/18/2012       16:53:56
23791      4055969305       11/18/2011      13:23:23
23792      4056029683       1/25/2012       20:29:01
23793      4056047080       10/18/2011      19:12:21
23794      4056061614       12/3/2011       10:18:31
23795      4056069328       9/16/2011       13:02:25
23796      4056132570       5/16/2012       9:24:10
23797      4056140871       1/5/2012        12:03:57
23798      4056150041       11/16/2011      10:32:11
23799      4056180919       9/17/2011       9:41:13
23800      4056198299       10/22/2011      13:23:21
23801      4056198600       8/18/2011       8:08:49
23802      4056202951       5/4/2012        20:59:44
23803      4056233536       12/3/2011       10:21:32
23804      4056252250       6/2/2012        13:07:13
23805      4056254003       1/25/2012       9:19:23
23806      4056260618       9/26/2011       8:20:20
23807      4056262597       1/3/2012        11:18:34
23808      4056276366       10/4/2011       13:17:16
23809      4056289323       11/5/2011       11:33:15
23810      4056289323       5/21/2012       8:23:30
23811      4056380184       5/24/2012       20:06:30
23812      4056381095       4/12/2012       17:58:25
23813      4056391233       12/21/2011      10:16:51
23814      4056404732       1/4/2012        11:22:16
23815      4056404732       1/18/2012       16:52:21
23816      4056404732       6/18/2012       8:03:14
23817      4056425411       3/11/2011       16:43:58
23818      4056502160       3/23/2012       19:13:34
23819      4056507038       9/21/2011       11:55:34
23820      4056510919       10/16/2012      16:39:41
23821      4056515800       9/9/2011        18:20:33
23822      4056599118       8/10/2012       8:24:25
23823      4056643321       3/18/2012       12:27:11
23824      4056682225       6/15/2012       16:37:45
23825      4056832331       2/17/2012       18:12:40
23826      4056945647       9/8/2011        19:33:53
23827      4056947728       10/31/2011      9:14:00
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23828      4056949889       1/3/2012        11:05:23
23829      4057061204       10/11/2011      17:22:53
23830      4057063617       10/22/2012      8:09:10
23831      4057063861       1/18/2012       16:53:24
23832      4057081085       8/21/2012       14:02:11
23833      4057089532       11/17/2011      16:56:36
23834      4057121957       3/30/2012       9:48:07
23835      4057400341       8/20/2012       10:00:25
23836      4057406698       10/23/2012      10:53:39
23837      4057409575       10/14/2011      13:22:39
23838      4057603325       2/2/2012        11:34:44
23839      4057620504       10/8/2011       11:51:08
23840      4057621404       9/20/2011       20:34:23
23841      4057623727       10/5/2011       14:12:43
23842      4057791183       12/23/2011      13:28:14
23843      4057799717       8/31/2012       16:39:17
23844      4057881343       10/6/2011       17:50:52
23845      4057950919       10/1/2011       10:52:18
23846      4057954131       5/4/2012        20:54:51
23847      4058026988       1/20/2012       11:48:17
23848      4058028181       9/29/2011       15:46:01
23849      4058080834       3/2/2012        9:11:45
23850      4058084063       1/7/2012        9:22:17
23851      4058084936       8/20/2012       18:36:33
23852      4058086697       1/24/2012       17:05:36
23853      4058088539       10/6/2011       16:34:29
23854      4058088682       9/26/2011       9:44:18
23855      4058088682       10/11/2011      16:16:01
23856      4058123342       10/22/2011      13:12:36
23857      4058164624       9/24/2012       14:37:56
23858      4058164746       11/17/2011      16:47:46
23859      4058167033       9/24/2012       12:55:10
23860      4058180037       7/9/2012        19:14:31
23861      4058181266       6/14/2012       15:59:17
23862      4058181966       11/11/2011      20:23:19
23863      4058190354       8/18/2012       8:59:49
23864      4058196008       8/8/2011        12:49:36
23865      4058196519       10/20/2011      17:35:42
23866      4058204086       4/27/2012       9:40:51
23867      4058211937       1/27/2012       19:49:40
23868      4058215647       2/6/2012        17:19:29
23869      4058216026       10/1/2011       10:00:53
23870      4058216956       4/9/2012        17:51:27
23871      4058221399       10/22/2011      13:10:45
23872      4058222893       6/12/2012       17:08:01
23873      4058223561       5/13/2012       17:38:02
23874      4058245970       3/11/2011       16:43:56
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23875      4058301809       11/17/2011      14:13:19
23876      4058330901       9/25/2012       15:14:49
23877      4058348262       4/19/2012       20:11:45
23878      4058348657       10/11/2012      18:46:08
23879      4058371487       8/6/2012        15:00:45
23880      4058376588       10/11/2011      17:15:36
23881      4058377072       8/23/2011       19:16:13
23882      4058377072       1/20/2012       19:39:34
23883      4058382395       11/26/2011      13:13:30
23884      4058530307       12/5/2011       18:57:53
23885      4058802876       6/7/2012        12:40:50
23886      4058805653       12/5/2011       9:51:03
23887      4058812323       4/17/2012       11:26:12
23888      4058815237       10/8/2011       11:52:51
23889      4058815596       6/9/2011        10:39:39
23890      4058815877       2/9/2012        9:35:22
23891      4058817081       9/20/2011       20:42:17
23892      4058819251       9/19/2011       19:33:32
23893      4058820106       10/16/2012      8:46:06
23894      4058821670       11/11/2011      20:20:16
23895      4058821746       1/18/2012       16:43:19
23896      4058821921       2/10/2012       9:23:25
23897      4058824820       8/11/2012       9:26:34
23898      4058851740       3/11/2011       16:40:59
23899      4058852703       9/15/2012       8:08:16
23900      4058861735       3/15/2014       8:20:52
23901      4058864106       2/18/2012       9:04:33
23902      4058864720       9/10/2012       8:44:10
23903      4058864829       4/24/2012       18:15:12
23904      4058869510       1/25/2012       20:38:55
23905      4059050157       2/17/2014       16:44:24
23906      4059196289       12/6/2011       12:51:59
23907      4059198498       6/20/2012       9:06:51
23908      4059214607       11/15/2011      16:31:57
23909      4059220940       1/14/2012       13:29:39
23910      4059227572       10/10/2012      19:14:26
23911      4059231020       1/24/2012       10:19:27
23912      4059237767       9/26/2011       9:46:05
23913      4059238299       12/27/2011      14:36:06
23914      4059238536       4/2/2012        17:16:51
23915      4059239060       9/27/2011       18:14:30
23916      4059240790       8/5/2011        18:05:17
23917      4059248412       3/12/2012       19:25:11
23918      4059330017       3/14/2012       19:32:19
23919      4059330895       2/21/2012       17:55:40
23920      4059629100       6/19/2012       13:18:08
23921      4059629318       10/8/2011       11:38:51
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23922      4059714946       1/25/2012       20:36:31
23923      4059734403       1/25/2012       9:08:26
23924      4059734403       5/17/2012       16:58:04
23925      4059735237       10/18/2011      12:27:17
23926      4059736124       8/18/2011       8:38:56
23927      4059738468       3/20/2012       17:51:13
23928      4059900521       1/18/2012       16:52:18
23929      4059901683       2/10/2012       20:41:19
23930      4059903420       2/25/2012       10:40:10
23931      4059906393       4/22/2012       15:25:34
23932      4059906679       5/24/2012       12:14:58
23933      4062032602       5/11/2012       18:36:10
23934      4062071132       3/14/2012       14:22:05
23935      4062073024       5/15/2012       19:12:52
23936      4062073024       5/21/2012       9:04:04
23937      4062087088       5/30/2012       12:42:57
23938      4062104367       2/9/2012        20:46:03
23939      4062109527       8/29/2011       9:26:15
23940      4062149833       10/7/2011       9:50:35
23941      4062172011       9/8/2011        18:15:42
23942      4062177800       10/1/2011       10:05:18
23943      4062189942       2/15/2012       21:05:58
23944      4062236487       11/9/2011       9:18:41
23945      4062315640       3/14/2012       20:04:49
23946      4062391351       4/5/2012        14:37:54
23947      4062395921       2/20/2012       16:56:58
23948      4062405325       8/1/2012        20:29:59
23949      4062408112       5/7/2012        9:13:33
23950      4062418293       11/1/2011       11:07:24
23951      4062492756       10/26/2011      12:26:00
23952      4062497309       7/13/2012       17:22:22
23953      4062497309       8/20/2012       18:46:26
23954      4062498105       2/9/2012        9:34:22
23955      4062501393       7/13/2012       21:33:40
23956      4062503395       7/20/2011       15:03:23
23957      4062505561       6/4/2012        10:07:11
23958      4062610178       7/27/2012       15:35:57
23959      4062612809       1/25/2012       20:39:23
23960      4062744189       11/21/2011      10:34:59
23961      4062744189       5/21/2012       9:03:30
23962      4062810511       9/24/2011       9:52:06
23963      4062910240       10/25/2011      16:37:45
23964      4062912168       7/18/2012       14:49:15
23965      4062917243       10/13/2011      9:36:35
23966      4062918858       10/3/2013       20:42:11
23967      4063814001       4/23/2012       13:10:12
23968      4063900163       12/1/2011       10:23:00
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23969      4064035951       12/14/2011      14:16:41
23970      4064228304       2/4/2012        13:15:24
23971      4064250537       7/23/2012       13:27:32
23972      4064314444       3/4/2012        12:36:33
23973      4064371765       3/14/2012       14:13:19
23974      4064371766       3/10/2012       9:30:43
23975      4064512385       6/25/2012       13:29:10
23976      4064617584       9/30/2011       10:07:41
23977      4064618638       10/4/2011       13:25:48
23978      4064700664       9/11/2012       15:15:38
23979      4064700722       9/12/2012       14:59:20
23980      4064716316       11/29/2011      15:11:48
23981      4064780131       11/11/2011      13:49:22
23982      4064783500       12/17/2011      11:35:57
23983      4064904171       4/30/2012       15:05:24
23984      4064910942       7/26/2012       19:15:50
23985      4064934088       7/21/2011       13:51:16
23986      4064937546       12/14/2011      18:04:06
23987      4065335090       5/21/2012       9:02:42
23988      4065335352       10/3/2011       10:39:26
23989      4065335352       1/24/2012       10:24:26
23990      4065653613       6/2/2012        12:49:09
23991      4065706398       9/13/2011       14:40:08
23992      4065819172       10/17/2011      9:09:28
23993      4065902908       12/1/2011       10:33:01
23994      4065930450       9/13/2011       16:40:31
23995      4065990290       10/6/2012       9:47:31
23996      4066472390       10/11/2012      11:56:25
23997      4066492648       1/4/2012        11:27:42
23998      4066500446       2/11/2012       15:47:38
23999      4066502606       11/28/2011      12:23:23
24000      4066601924       12/9/2011       15:59:39
24001      4066701062       2/11/2012       15:48:52
24002      4066703228       9/15/2011       9:03:29
24003      4066709263       9/14/2012       21:09:25
24004      4066791644       6/28/2012       9:02:13
24005      4066963448       5/30/2012       16:50:12
24006      4066968216       1/6/2012        13:00:04
24007      4066974999       12/14/2011      18:03:57
24008      4066994440       1/25/2012       20:39:03
24009      4067687438       9/24/2012       19:08:31
24010      4067688900       5/14/2011       12:10:01
24011      4067880457       2/3/2012        20:05:44
24012      4068330169       9/10/2012       21:08:52
24013      4068394132       11/25/2011      17:55:36
24014      4068394133       9/21/2011       12:01:18
24015      4068503309       11/28/2011      18:09:51
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24016      4068503671       10/17/2011      9:12:15
24017      4068530921       9/21/2011       11:36:10
24018      4068602658       9/9/2011        18:31:17
24019      4068603245       5/23/2012       14:47:47
24020      4068603245       8/6/2012        16:29:23
24021      4068606011       10/4/2011       13:55:52
24022      4068608915       9/12/2011       14:30:38
24023      4068609710       9/13/2011       16:44:44
24024      4068614935       7/10/2012       21:11:08
24025      4068619998       12/14/2011      17:55:07
24026      4068683245       9/27/2011       18:51:19
24027      4068711230       9/19/2012       16:23:04
24028      4068711616       4/20/2012       14:42:30
24029      4068711616       5/4/2012        18:28:34
24030      4068715383       3/12/2012       19:12:13
24031      4068800079       9/13/2011       13:40:15
24032      4068800079       9/23/2011       11:20:48
24033      4068800149       1/13/2012       17:44:46
24034      4068800991       10/6/2012       11:01:48
24035      4068855552       12/19/2011      9:10:28
24036      4069395212       9/15/2012       11:18:43
24037      4069412095       8/9/2012        14:04:15
24038      4069891031       10/5/2011       14:20:41
24039      4072019121       9/27/2011       18:30:27
24040      4072019228       10/15/2011      9:03:50
24041      4072019882       5/10/2012       13:26:24
24042      4072095845       2/14/2012       16:45:32
24043      4072097698       10/29/2011      10:39:26
24044      4072182098       9/14/2011       16:18:25
24045      4072182462       12/1/2011       14:50:52
24046      4072191899       1/9/2012        7:25:32
24047      4072192616       2/2/2012        7:12:25
24048      4072192697       5/1/2012        8:05:13
24049      4072196025       1/9/2012        18:33:18
24050      4072196376       6/9/2012        14:37:41
24051      4072196545       5/10/2012       14:47:43
24052      4072196997       2/25/2012       10:26:29
24053      4072197733       11/22/2011      18:29:01
24054      4072210646       12/31/2011      12:09:34
24055      4072227041       11/28/2011      17:11:50
24056      4072271694       12/12/2011      16:19:30
24057      4072271872       5/11/2012       7:24:31
24058      4072271940       3/14/2012       19:45:28
24059      4072272990       5/25/2012       17:09:14
24060      4072273094       6/12/2012       17:04:13
24061      4072276000       10/11/2011      16:45:59
24062      4072300100       12/7/2011       13:31:56
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24063      4072300399       4/11/2012       7:10:07
24064      4072303038       9/8/2011        19:26:37
24065      4072303754       5/18/2012       11:53:42
24066      4072306638       10/23/2012      16:13:09
24067      4072308495       9/22/2011       15:45:41
24068      4072308495       11/7/2011       9:10:29
24069      4072320937       3/9/2012        7:09:38
24070      4072324841       11/7/2011       8:35:03
24071      4072325921       10/10/2011      11:40:43
24072      4072335210       11/16/2011      7:50:04
24073      4072335826       1/24/2012       10:22:26
24074      4072336871       12/20/2011      17:49:49
24075      4072338807       2/7/2012        7:19:03
24076      4072342896       1/28/2012       8:13:10
24077      4072344534       11/28/2011      11:18:13
24078      4072344811       9/19/2011       19:26:42
24079      4072345117       12/7/2011       15:05:25
24080      4072345550       2/28/2012       15:59:00
24081      4072345550       5/29/2012       17:03:08
24082      4072350536       5/21/2012       7:54:11
24083      4072350536       5/21/2012       17:37:46
24084      4072355337       6/13/2011       8:21:53
24085      4072358066       7/19/2012       7:56:31
24086      4072427843       11/17/2011      13:32:57
24087      4072428814       2/16/2012       7:13:26
24088      4072437487       9/21/2012       18:51:15
24089      4072446455       4/10/2012       15:31:43
24090      4072446591       9/27/2011       18:06:32
24091      4072470728       1/18/2012       10:30:31
24092      4072477515       9/6/2011        12:07:10
24093      4072521215       3/1/2012        8:41:44
24094      4072527907       1/30/2012       7:05:37
24095      4072529982       12/29/2011      19:15:58
24096      4072560944       1/13/2012       12:31:46
24097      4072566228       12/10/2011      14:34:30
24098      4072566572       11/5/2011       11:24:02
24099      4072571883       11/8/2011       13:51:34
24100      4072576989       5/21/2012       17:33:41
24101      4072578862       1/21/2012       8:17:24
24102      4072591905       8/31/2011       10:23:01
24103      4072596020       3/20/2012       9:12:55
24104      4072596333       11/17/2011      13:32:23
24105      4072598617       5/7/2011        14:12:50
24106      4072599472       2/20/2012       17:19:53
24107      4072672666       3/10/2012       8:28:26
24108      4072674633       4/4/2012        18:33:50
24109      4072716074       2/13/2012       18:26:51
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24110      4072716578       10/8/2011       11:00:07
24111      4072716701       10/21/2011      13:17:24
24112      4072720216       4/1/2012        16:03:09
24113      4072720757       12/5/2011       8:24:06
24114      4072722973       9/3/2012        14:28:50
24115      4072724562       2/11/2012       15:05:11
24116      4072724813       12/26/2011      9:19:20
24117      4072725266       9/24/2011       9:07:55
24118      4072725484       7/19/2011       17:44:41
24119      4072725484       12/17/2011      11:23:00
24120      4072727249       2/28/2012       15:51:32
24121      4072727249       4/9/2012        7:12:15
24122      4072727677       5/21/2012       7:21:21
24123      4072727874       11/1/2011       7:58:20
24124      4072729166       10/15/2011      8:52:37
24125      4072792616       12/5/2011       8:57:08
24126      4072830972       10/25/2012      19:31:59
24127      4072831014       9/30/2011       9:55:12
24128      4072831511       1/30/2012       7:14:13
24129      4072831547       12/14/2011      17:50:15
24130      4072832447       9/7/2012        15:41:05
24131      4072832660       9/2/2011        7:07:46
24132      4072833261       10/3/2011       7:38:15
24133      4072835497       10/23/2012      15:59:11
24134      4072839173       10/19/2012      9:47:20
24135      4072842152       12/28/2011      7:19:50
24136      4072851902       10/5/2011       14:28:08
24137      4072852653       12/9/2011       7:55:57
24138      4072853126       3/21/2011       9:51:13
24139      4072853167       10/5/2011       14:51:00
24140      4072853811       5/23/2012       16:34:47
24141      4072854378       3/22/2012       7:47:42
24142      4072855213       11/23/2011      9:58:32
24143      4072855484       12/22/2011      9:27:28
24144      4072858567       10/24/2012      14:54:41
24145      4072884334       12/23/2011      14:39:31
24146      4072886120       9/12/2012       7:50:12
24147      4072887551       9/25/2012       15:26:37
24148      4072887612       4/22/2012       15:16:46
24149      4072889339       3/16/2012       10:17:25
24150      4073001664       12/10/2013      7:59:38
24151      4073009215       5/13/2012       16:49:13
24152      4073013413       1/21/2012       8:39:24
24153      4073013413       2/3/2012        8:31:51
24154      4073013417       11/17/2011      16:39:29
24155      4073017692       12/6/2011       7:15:20
24156      4073046411       10/6/2011       17:10:03
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24157      4073090558       5/7/2011        14:19:28
24158      4073091245       9/19/2011       19:29:45
24159      4073103249       3/16/2012       10:10:34
24160      4073104236       1/13/2012       17:12:24
24161      4073105405       10/10/2011      11:47:29
24162      4073109314       9/24/2012       19:03:07
24163      4073122229       9/12/2011       13:07:03
24164      4073122229       11/14/2013      8:30:13
24165      4073123120       8/25/2012       11:03:24
24166      4073123177       6/25/2012       9:21:52
24167      4073125082       9/7/2012        15:45:53
24168      4073142016       12/21/2011      10:07:57
24169      4073180655       6/23/2012       16:22:24
24170      4073192734       5/28/2012       8:43:45
24171      4073193277       11/10/2011      7:13:01
24172      4073193474       3/28/2012       16:44:28
24173      4073250995       1/19/2012       18:28:23
24174      4073253838       5/28/2011       10:03:18
24175      4073253838       9/8/2011        19:39:47
24176      4073254158       9/3/2012        14:47:59
24177      4073254158       9/21/2012       16:14:23
24178      4073254629       3/19/2012       7:12:22
24179      4073258790       10/11/2012      18:49:08
24180      4073264218       5/27/2012       14:00:53
24181      4073308657       9/26/2011       7:54:36
24182      4073308657       10/4/2011       13:06:55
24183      4073343728       5/10/2012       14:53:47
24184      4073343757       10/28/2011      13:25:42
24185      4073344549       6/14/2012       15:57:56
24186      4073345591       8/20/2012       18:40:39
24187      4073345994       9/14/2012       7:05:13
24188      4073349845       5/14/2012       7:11:12
24189      4073401887       8/15/2012       7:53:04
24190      4073404572       11/30/2011      7:12:26
24191      4073405450       2/17/2012       18:20:15
24192      4073408486       4/25/2011       10:38:23
24193      4073410317       1/12/2012       14:29:52
24194      4073411348       2/13/2012       18:20:55
24195      4073415632       4/30/2012       14:50:21
24196      4073415891       9/19/2011       7:25:24
24197      4073420513       9/21/2011       11:42:07
24198      4073422229       3/18/2011       10:30:38
24199      4073423336       8/22/2012       11:19:09
24200      4073426475       2/10/2012       7:05:42
24201      4073463080       10/24/2011      7:01:13
24202      4073464746       11/12/2011      9:55:06
24203      4073468232       10/12/2012      16:44:57
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24204      4073468801       11/25/2011      18:16:01
24205      4073469133       12/27/2011      14:17:10
24206      4073469258       9/10/2011       8:15:37
24207      4073500407       10/21/2011      13:00:13
24208      4073508650       2/11/2012       15:02:59
24209      4073530518       7/2/2012        15:00:02
24210      4073531581       6/3/2011        7:24:20
24211      4073537164       12/17/2011      11:52:30
24212      4073537169       7/2/2011        8:12:46
24213      4073538862       1/13/2012       17:25:40
24214      4073538879       11/18/2011      13:29:10
24215      4073584392       11/18/2011      12:12:50
24216      4073611986       3/28/2012       10:15:49
24217      4073612875       9/14/2011       16:07:50
24218      4073614262       6/4/2011        10:12:21
24219      4073615457       10/3/2011       7:31:07
24220      4073615457       12/5/2011       18:06:17
24221      4073615584       10/8/2011       11:04:58
24222      4073615791       5/4/2012        14:48:57
24223      4073617053       5/23/2012       14:44:17
24224      4073711501       1/24/2012       9:56:06
24225      4073717526       11/5/2011       10:41:13
24226      4073718217       1/9/2012        7:17:02
24227      4073719612       10/6/2011       16:04:23
24228      4073734282       1/13/2012       12:28:17
24229      4073734314       4/22/2012       15:21:51
24230      4073734672       9/8/2011        18:43:13
24231      4073735262       12/21/2011      10:05:17
24232      4073739960       10/11/2011      15:43:01
24233      4073751265       7/26/2012       11:58:07
24234      4073752079       5/9/2014        10:16:34
24235      4073752607       7/26/2012       19:18:50
24236      4073754049       10/8/2011       11:01:37
24237      4073760283       10/8/2012       7:15:18
24238      4073763018       10/21/2011      12:22:02
24239      4073764297       5/5/2012        8:08:24
24240      4073827874       12/5/2011       8:17:33
24241      4073832287       4/11/2012       7:08:45
24242      4073839170       10/19/2011      7:31:43
24243      4073839170       11/12/2011      9:21:55
24244      4073848898       9/21/2011       19:32:29
24245      4073885401       1/27/2012       17:51:31
24246      4073885701       1/19/2012       18:34:04
24247      4073937760       9/8/2011        19:39:35
24248      4073943140       2/28/2012       13:29:19
24249      4073944692       1/5/2012        14:01:17
24250      4073946386       5/1/2012        8:39:06
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24251      4073946949       11/23/2011      14:53:19
24252      4073946959       9/13/2011       18:32:02
24253      4073948772       9/26/2012       15:18:06
24254      4073985712       2/1/2012        8:03:57
24255      4073990496       12/9/2011       7:46:16
24256      4073990496       5/4/2012        14:31:31
24257      4073999252       2/6/2012        17:01:10
24258      4074012793       8/26/2011       18:10:44
24259      4074012793       9/20/2011       16:37:13
24260      4074012793       10/12/2011      7:27:45
24261      4074016080       7/2/2012        17:30:07
24262      4074016218       6/1/2012        18:23:03
24263      4074016403       11/11/2011      7:49:59
24264      4074024985       12/5/2011       17:20:19
24265      4074025664       12/22/2011      8:25:45
24266      4074026675       7/9/2012        7:16:37
24267      4074032811       6/5/2012        13:54:02
24268      4074039384       9/10/2011       8:26:18
24269      4074039384       1/3/2012        17:13:59
24270      4074041435       10/7/2011       7:14:02
24271      4074048010       10/20/2011      16:12:53
24272      4074051227       2/2/2012        18:57:18
24273      4074054239       12/18/2011      17:01:44
24274      4074064579       4/16/2012       15:42:00
24275      4074080387       5/6/2012        17:41:26
24276      4074081117       1/23/2012       7:09:33
24277      4074086282       5/11/2012       7:03:20
24278      4074091085       7/21/2012       10:42:28
24279      4074092884       7/6/2012        14:39:24
24280      4074095200       2/28/2012       7:41:51
24281      4074107108       12/20/2011      7:10:01
24282      4074123375       8/5/2012        16:51:01
24283      4074140694       10/24/2011      7:19:18
24284      4074140901       10/17/2011      7:29:00
24285      4074147236       7/16/2012       7:13:32
24286      4074147988       12/15/2011      8:18:38
24287      4074148383       12/29/2011      9:57:28
24288      4074149422       7/19/2011       16:37:40
24289      4074154733       10/5/2011       14:08:26
24290      4074158899       3/8/2012        9:45:00
24291      4074164185       11/20/2011      11:08:30
24292      4074164357       2/20/2012       7:03:29
24293      4074166582       6/1/2012        9:08:42
24294      4074169494       11/14/2011      16:13:50
24295      4074171323       6/19/2012       13:17:32
24296      4074171701       5/31/2012       17:47:31
24297      4074211845       5/11/2012       7:05:17
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24298      4074212883       3/13/2012       14:05:32
24299      4074218333       11/14/2011      16:31:27
24300      4074218333       12/7/2011       13:42:08
24301      4074219896       8/27/2011       9:54:04
24302      4074276709       12/16/2011      15:35:50
24303      4074308145       3/10/2012       8:23:08
24304      4074309127       10/8/2012       7:06:38
24305      4074311764       2/9/2012        9:30:21
24306      4074314460       10/20/2011      15:19:44
24307      4074315227       7/6/2012        16:44:21
24308      4074317017       11/15/2011      15:08:04
24309      4074323004       6/5/2012        7:09:15
24310      4074323330       10/4/2011       13:41:11
24311      4074335179       7/19/2012       17:29:41
24312      4074336748       8/30/2012       17:37:50
24313      4074336748       9/18/2012       14:25:36
24314      4074353619       11/17/2011      16:39:00
24315      4074353891       6/20/2012       16:50:28
24316      4074355796       11/10/2011      7:25:28
24317      4074356121       9/9/2011        7:44:51
24318      4074358315       11/12/2011      9:45:18
24319      4074358511       10/28/2011      7:15:39
24320      4074362268       9/26/2012       14:39:48
24321      4074371111       8/4/2011        7:38:58
24322      4074371111       1/25/2012       9:35:39
24323      4074372224       6/27/2011       7:38:09
24324      4074373240       3/19/2012       19:13:34
24325      4074376714       9/15/2011       7:21:03
24326      4074377383       5/3/2012        7:19:42
24327      4074432841       11/28/2011      16:32:25
24328      4074433930       4/5/2012        14:31:51
24329      4074462368       6/2/2012        12:53:22
24330      4074468577       10/8/2011       9:07:22
24331      4074482390       9/24/2011       9:29:08
24332      4074482490       2/24/2011       14:06:11
24333      4074483728       10/7/2011       7:15:21
24334      4074510301       9/21/2012       18:40:35
24335      4074512355       10/24/2011      7:22:43
24336      4074513205       9/20/2011       17:08:32
24337      4074513472       11/4/2011       7:04:54
24338      4074519255       9/12/2011       13:49:38
24339      4074519596       10/18/2012      16:40:15
24340      4074522298       11/25/2011      18:03:51
24341      4074522503       5/30/2012       16:51:36
24342      4074524431       6/25/2012       13:55:55
24343      4074528370       7/28/2012       8:44:42
24344      4074530428       10/5/2011       14:33:11
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24345      4074540393       8/31/2011       10:22:27
24346      4074544238       1/11/2012       16:20:59
24347      4074551555       8/7/2012        17:42:16
24348      4074553049       1/4/2012        12:14:11
24349      4074560677       9/23/2011       18:54:52
24350      4074561555       8/1/2012        8:27:07
24351      4074569757       4/24/2012       17:59:40
24352      4074593084       11/8/2011       14:21:18
24353      4074593181       8/20/2012       18:51:19
24354      4074593197       5/1/2012        14:05:42
24355      4074595041       2/11/2012       10:40:03
24356      4074602098       10/24/2012      14:56:18
24357      4074603607       12/21/2011      18:47:59
24358      4074603942       10/13/2011      7:20:17
24359      4074603983       10/5/2011       14:36:23
24360      4074605716       8/22/2012       11:16:18
24361      4074605883       2/25/2012       11:00:36
24362      4074607772       10/6/2011       16:01:54
24363      4074609665       5/30/2012       16:52:02
24364      4074612106       12/7/2011       13:53:16
24365      4074617492       10/10/2011      12:18:46
24366      4074618345       3/16/2012       10:30:40
24367      4074618345       3/30/2012       16:07:30
24368      4074622787       12/28/2011      17:43:17
24369      4074628755       8/30/2012       17:36:56
24370      4074632226       9/14/2011       11:23:51
24371      4074633602       8/23/2012       19:05:43
24372      4074677515       5/16/2012       16:58:46
24373      4074700366       2/28/2012       16:01:41
24374      4074709068       11/8/2011       13:44:01
24375      4074709940       5/22/2012       18:39:05
24376      4074734753       4/19/2012       7:29:04
24377      4074737532       10/18/2013      16:07:04
24378      4074744668       1/21/2012       8:17:26
24379      4074800726       4/30/2012       14:27:35
24380      4074806300       6/1/2012        9:16:11
24381      4074806348       11/19/2011      8:11:36
24382      4074807274       8/25/2012       11:11:20
24383      4074808528       1/4/2012        11:04:00
24384      4074843209       12/24/2011      7:17:29
24385      4074843371       4/22/2012       15:08:08
24386      4074844206       9/21/2011       19:29:34
24387      4074846252       4/10/2012       15:32:24
24388      4074847093       12/10/2011      13:11:10
24389      4074851192       9/21/2011       19:28:50
24390      4074852007       11/14/2011      14:18:43
24391      4074853553       6/15/2012       8:56:40
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24392      4074853553       7/2/2012        15:31:46
24393      4074853982       3/2/2012        18:58:01
24394      4074853982       3/14/2012       19:29:04
24395      4074854252       2/14/2012       16:49:22
24396      4074854287       10/6/2011       16:31:24
24397      4074854778       9/29/2011       15:43:40
24398      4074860986       3/30/2012       7:02:32
24399      4074861186       9/26/2012       7:08:43
24400      4074861186       10/19/2012      19:08:21
24401      4074862448       10/29/2011      11:14:49
24402      4074863460       9/24/2011       9:04:59
24403      4074863505       10/19/2011      8:22:18
24404      4074863527       7/26/2012       19:23:00
24405      4074863856       5/22/2012       16:19:25
24406      4074864404       3/14/2012       19:28:04
24407      4074867600       9/20/2011       17:16:21
24408      4074880041       1/27/2012       17:33:32
24409      4074880041       5/21/2012       7:24:18
24410      4074885468       12/7/2011       15:02:57
24411      4074886027       6/7/2012        18:26:27
24412      4074886027       7/19/2012       7:55:53
24413      4074895141       3/13/2012       7:15:43
24414      4074895141       3/16/2012       15:47:22
24415      4074899201       1/28/2012       8:08:45
24416      4074906551       10/15/2011      10:12:41
24417      4074909167       3/28/2012       7:25:18
24418      4074917927       9/12/2011       13:09:18
24419      4074918639       12/15/2011      8:17:46
24420      4074918711       5/15/2012       19:00:01
24421      4074919090       12/27/2011      14:26:23
24422      4074920006       9/28/2011       10:57:40
24423      4074932981       1/24/2012       17:18:17
24424      4074937993       1/11/2012       16:27:34
24425      4074949983       10/5/2011       14:08:30
24426      4074950578       3/24/2012       9:49:26
24427      4075010387       3/21/2012       13:39:36
24428      4075012902       1/9/2014        18:56:15
24429      4075081121       2/14/2012       15:17:16
24430      4075081231       7/5/2012        15:30:40
24431      4075086755       1/6/2012        15:55:40
24432      4075086825       12/26/2011      20:00:47
24433      4075096901       3/13/2012       18:39:23
24434      4075098822       4/24/2012       12:31:51
24435      4075189101       9/1/2012        8:41:08
24436      4075200831       5/14/2012       7:09:20
24437      4075201040       11/23/2011      10:01:46
24438      4075207938       11/17/2011      13:37:58
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24439      4075208423       12/1/2011       8:16:56
24440      4075208423       1/6/2012        14:46:47
24441      4075209022       9/28/2011       10:05:44
24442      4075351131       3/28/2012       14:33:29
24443      4075351837       4/9/2012        19:05:15
24444      4075352690       12/1/2011       7:56:12
24445      4075355003       12/27/2011      14:34:16
24446      4075355455       8/17/2012       7:04:03
24447      4075357574       2/3/2012        7:03:25
24448      4075357637       1/27/2012       7:19:26
24449      4075359470       9/15/2011       7:15:13
24450      4075359526       6/22/2012       7:48:29
24451      4075359787       5/14/2012       7:07:28
24452      4075359880       9/13/2011       18:35:36
24453      4075360370       11/15/2011      16:12:27
24454      4075360720       4/5/2012        7:07:00
24455      4075381987       9/26/2012       14:39:49
24456      4075384978       2/16/2012       7:01:44
24457      4075386536       4/17/2012       9:28:50
24458      4075386536       5/21/2012       7:31:05
24459      4075386536       5/21/2012       7:31:32
24460      4075386536       10/22/2012      17:58:18
24461      4075388813       9/15/2011       7:21:29
24462      4075389550       11/23/2011      14:53:27
24463      4075417931       11/18/2011      12:15:11
24464      4075450257       9/22/2011       15:39:45
24465      4075451010       5/24/2012       7:07:07
24466      4075451010       7/17/2012       7:05:41
24467      4075451695       10/8/2011       9:37:48
24468      4075459692       12/24/2011      7:08:02
24469      4075459692       1/13/2012       17:13:59
24470      4075459985       9/12/2011       13:40:29
24471      4075459998       5/30/2012       16:54:41
24472      4075526880       7/18/2012       18:30:38
24473      4075527085       1/24/2012       17:08:23
24474      4075531569       5/31/2012       15:06:02
24475      4075531654       9/20/2011       17:07:04
24476      4075564253       10/11/2011      17:00:19
24477      4075564309       5/9/2012        8:23:52
24478      4075565468       3/30/2012       7:07:11
24479      4075565468       4/16/2012       7:20:44
24480      4075565972       3/21/2012       13:47:19
24481      4075565972       3/27/2012       15:03:48
24482      4075570925       12/1/2011       8:13:06
24483      4075570925       2/21/2012       10:49:40
24484      4075586549       1/17/2012       18:40:25
24485      4075650129       5/25/2011       17:18:34
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24486      4075678411       9/29/2011       15:15:47
24487      4075697679       10/12/2011      8:25:49
24488      4075740747       9/8/2011        17:49:51
24489      4075741291       9/10/2011       9:04:11
24490      4075750234       9/21/2011       19:34:24
24491      4075750618       8/31/2012       16:36:49
24492      4075751860       3/13/2012       18:28:04
24493      4075752372       9/26/2012       7:17:26
24494      4075757097       10/8/2011       9:27:53
24495      4075790190       8/21/2012       13:55:53
24496      4075800011       1/7/2012        8:38:20
24497      4075800909       5/18/2012       11:58:34
24498      4075802001       4/12/2012       17:54:36
24499      4075802929       1/25/2012       9:24:15
24500      4075804123       10/15/2012      10:01:14
24501      4075879400       5/23/2012       14:50:32
24502      4075879400       6/2/2012        13:03:27
24503      4075910437       2/24/2011       11:22:09
24504      4075911326       10/8/2011       11:06:03
24505      4075911672       12/18/2011      16:55:38
24506      4075911672       6/24/2012       11:29:55
24507      4075911745       12/20/2011      17:13:43
24508      4075911822       10/12/2011      7:29:42
24509      4075912144       12/5/2011       9:10:20
24510      4075916159       12/22/2011      8:35:46
24511      4075921954       5/8/2012        21:05:46
24512      4075924441       2/9/2012        7:10:10
24513      4075955978       9/17/2011       9:28:33
24514      4075956336       11/1/2011       8:23:13
24515      4076080972       9/24/2012       12:50:03
24516      4076089474       5/24/2012       7:15:48
24517      4076166895       9/8/2011        17:50:01
24518      4076168790       9/23/2011       11:33:48
24519      4076173936       10/8/2011       9:43:41
24520      4076177381       1/18/2012       16:51:10
24521      4076195705       10/4/2011       13:07:18
24522      4076195705       10/11/2011      16:53:28
24523      4076197256       1/17/2012       17:10:15
24524      4076197256       2/7/2012        17:03:35
24525      4076200282       12/5/2011       18:04:47
24526      4076205474       3/3/2012        8:10:44
24527      4076205526       5/15/2012       7:45:23
24528      4076211076       5/22/2012       11:42:31
24529      4076250355       11/9/2011       7:33:12
24530      4076252730       11/11/2011      14:35:06
24531      4076253806       3/16/2012       10:10:33
24532      4076254355       9/28/2011       11:07:54
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24533      4076259768       10/10/2011      11:43:43
24534      4076377815       4/9/2012        18:12:15
24535      4076377815       5/21/2012       7:05:50
24536      4076377815       7/13/2012       18:52:58
24537      4076660563       7/29/2011       7:09:37
24538      4076661726       12/28/2011      7:29:11
24539      4076661726       2/3/2012        7:13:50
24540      4076663521       4/19/2012       7:16:17
24541      4076669503       3/15/2012       7:01:50
24542      4076669503       5/21/2012       7:26:03
24543      4076681383       2/9/2012        20:42:35
24544      4076681426       7/19/2011       16:13:29
24545      4076681581       4/30/2012       14:50:02
24546      4076682510       12/5/2011       10:06:47
24547      4076682822       9/15/2011       7:30:44
24548      4076682988       4/9/2012        17:48:03
24549      4076688288       10/17/2011      11:04:55
24550      4076688346       2/18/2012       8:34:42
24551      4076688892       9/15/2011       7:17:33
24552      4076689494       9/24/2011       9:15:10
24553      4076708289       1/13/2012       17:11:56
24554      4076832758       3/12/2012       7:11:10
24555      4076839519       6/18/2012       15:19:37
24556      4076871372       5/29/2012       17:03:49
24557      4076874113       10/3/2012       19:58:16
24558      4076900554       10/23/2012      16:23:03
24559      4076901042       5/10/2011       19:23:29
24560      4076901987       3/16/2012       16:08:15
24561      4076907496       9/28/2011       11:02:01
24562      4076907496       11/25/2011      18:37:05
24563      4076907496       12/27/2011      14:42:24
24564      4076907545       1/13/2012       12:24:10
24565      4076921457       7/3/2012        19:31:33
24566      4076921457       8/3/2012        16:29:29
24567      4076921749       9/22/2011       15:48:26
24568      4076922708       10/5/2011       14:06:47
24569      4076923471       2/16/2012       7:17:25
24570      4076924514       3/27/2012       14:53:38
24571      4076926843       12/22/2011      7:19:07
24572      4076927136       3/2/2012        18:56:51
24573      4076928075       12/27/2011      13:34:48
24574      4076941375       7/10/2012       7:24:20
24575      4076941562       7/12/2011       11:28:07
24576      4076943552       11/23/2011      14:30:01
24577      4076945487       12/19/2011      7:30:28
24578      4076945487       2/6/2012        7:08:16
24579      4076970064       7/26/2012       11:58:25
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24580      4076971118       7/14/2012       8:08:48
24581      4077015837       11/15/2011      20:14:32
24582      4077023957       10/6/2011       17:19:55
24583      4077049906       11/30/2011      14:42:32
24584      4077095201       4/18/2012       17:49:02
24585      4077150163       9/29/2011       15:36:27
24586      4077150227       10/7/2011       7:24:38
24587      4077150509       2/13/2012       18:36:53
24588      4077152536       6/24/2012       11:31:29
24589      4077153780       10/18/2012      16:35:21
24590      4077154270       10/11/2011      16:02:44
24591      4077154657       5/15/2012       7:55:57
24592      4077155979       9/16/2011       13:23:32
24593      4077157353       10/19/2011      7:35:29
24594      4077157554       1/13/2012       7:26:49
24595      4077157975       11/5/2011       9:30:57
24596      4077158726       4/5/2012        14:30:08
24597      4077159001       5/29/2012       17:18:46
24598      4077159815       10/5/2011       14:26:42
24599      4077164845       11/19/2011      8:32:54
24600      4077187062       12/1/2011       15:01:10
24601      4077187099       7/26/2012       19:13:19
24602      4077195084       7/7/2012        10:51:23
24603      4077196548       8/28/2012       7:26:59
24604      4077210166       12/21/2011      10:11:16
24605      4077219742       9/23/2011       11:35:34
24606      4077220021       10/5/2011       11:10:08
24607      4077220085       10/22/2012      7:11:52
24608      4077220697       11/15/2011      15:10:53
24609      4077221006       1/5/2012        13:55:43
24610      4077290529       3/3/2012        8:32:13
24611      4077293246       1/9/2012        18:34:37
24612      4077293246       1/29/2012       17:01:51
24613      4077293246       6/16/2012       8:43:26
24614      4077296263       5/4/2012        14:16:57
24615      4077296263       5/17/2012       7:07:36
24616      4077299227       12/26/2011      8:54:14
24617      4077299576       7/31/2012       21:05:07
24618      4077312892       12/28/2011      13:16:40
24619      4077313418       5/26/2012       14:31:09
24620      4077314396       11/5/2011       9:46:34
24621      4077314692       1/12/2012       7:07:31
24622      4077315663       9/8/2011        17:42:29
24623      4077316251       10/1/2011       9:26:10
24624      4077316269       4/11/2012       13:17:45
24625      4077317658       5/7/2012        17:55:43
24626      4077319196       9/17/2011       9:16:07
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24627      4077319455       9/9/2011        7:35:46
24628      4077330924       9/8/2011        19:29:17
24629      4077332618       3/21/2012       7:07:14
24630      4077334602       1/17/2012       17:23:25
24631      4077338173       9/8/2011        19:27:19
24632      4077381034       10/24/2011      7:21:28
24633      4077381363       5/4/2012        14:25:53
24634      4077382413       10/5/2011       14:07:29
24635      4077382587       4/4/2012        18:48:48
24636      4077383747       8/25/2012       11:04:32
24637      4077385653       1/7/2012        8:08:10
24638      4077385653       4/11/2012       10:47:06
24639      4077385942       9/26/2011       8:49:19
24640      4077386004       12/1/2011       15:20:56
24641      4077388781       8/23/2011       17:41:22
24642      4077388852       2/18/2012       8:56:44
24643      4077392301       9/17/2011       9:55:27
24644      4077442482       7/9/2012        8:51:02
24645      4077442482       7/20/2012       14:52:56
24646      4077442807       4/29/2012       18:15:50
24647      4077445302       5/18/2012       15:39:18
24648      4077446305       12/10/2011      13:05:24
24649      4077457454       8/19/2011       12:16:08
24650      4077484497       3/14/2012       19:25:45
24651      4077492955       1/16/2012       17:25:47
24652      4077493330       5/23/2012       14:51:59
24653      4077494326       12/29/2011      9:57:26
24654      4077495382       2/13/2014       7:20:52
24655      4077499911       10/8/2011       9:16:59
24656      4077544962       10/23/2012      10:28:40
24657      4077564336       6/9/2012        14:39:45
24658      4077566333       2/20/2012       16:48:14
24659      4077566960       12/29/2011      9:57:26
24660      4077580549       1/17/2012       17:13:34
24661      4077581578       2/29/2012       17:47:01
24662      4077583338       3/15/2012       7:02:08
24663      4077600499       3/13/2012       16:46:54
24664      4077603424       7/16/2012       7:02:18
24665      4077605400       1/4/2012        11:15:50
24666      4077614235       4/10/2012       16:02:38
24667      4077615015       6/25/2012       13:20:56
24668      4077651716       8/19/2011       12:19:01
24669      4077661941       2/17/2012       8:59:45
24670      4077661941       4/11/2012       7:13:12
24671      4077663160       8/8/2011        14:55:34
24672      4077667711       4/4/2012        18:33:52
24673      4077703018       10/3/2011       7:26:33
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24674      4077704832       11/26/2011      12:58:02
24675      4077707321       3/15/2012       7:15:27
24676      4077708206       10/9/2012       7:33:47
24677      4077800803       7/28/2013       14:53:06
24678      4077800954       5/15/2012       7:45:29
24679      4077805611       1/12/2012       7:00:56
24680      4077809096       5/4/2012        7:28:24
24681      4077816227       9/28/2011       10:53:57
24682      4077816793       12/1/2011       15:23:03
24683      4077816931       10/5/2011       13:59:00
24684      4077817716       3/21/2012       7:09:41
24685      4077820747       9/9/2011        7:45:01
24686      4077824194       10/13/2011      7:17:11
24687      4077827864       1/5/2012        14:09:38
24688      4077828847       9/13/2011       7:09:12
24689      4077909581       3/2/2012        7:09:14
24690      4077912233       5/22/2012       11:43:21
24691      4077913336       10/23/2012      16:06:43
24692      4077913393       8/18/2012       8:59:16
24693      4077915912       4/6/2012        15:40:52
24694      4077919422       9/8/2012        11:14:45
24695      4077928657       4/9/2012        17:46:59
24696      4077929000       11/15/2011      15:32:53
24697      4078020510       1/24/2012       9:55:31
24698      4078020848       12/7/2011       14:04:40
24699      4078020848       1/5/2012        11:55:58
24700      4078029989       3/11/2012       15:12:07
24701      4078029989       3/24/2012       10:24:29
24702      4078032813       4/6/2012        15:49:16
24703      4078082567       5/21/2012       8:41:46
24704      4078088388       10/19/2012      9:50:55
24705      4078102227       6/3/2011        7:23:08
24706      4078103088       2/11/2012       11:11:21
24707      4078105160       7/20/2012       7:33:21
24708      4078105160       7/26/2012       19:12:57
24709      4078324350       5/28/2012       8:07:19
24710      4078325078       3/14/2011       17:04:29
24711      4078442301       2/17/2012       18:28:25
24712      4078442324       3/6/2012        15:42:05
24713      4078442324       3/13/2012       18:40:18
24714      4078443050       6/7/2012        18:36:09
24715      4078443413       10/15/2012      10:01:19
24716      4078444518       10/20/2012      16:26:22
24717      4078449016       1/29/2012       16:45:57
24718      4078449321       4/11/2012       19:34:37
24719      4078449413       12/31/2011      11:43:21
24720      4078449946       2/2/2012        7:06:41
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24721      4078600588       9/13/2011       17:59:07
24722      4078601286       8/3/2012        16:23:25
24723      4078601762       2/17/2012       9:06:34
24724      4078601861       12/7/2011       13:58:08
24725      4078601982       12/10/2011      11:56:55
24726      4078602896       2/14/2012       16:46:12
24727      4078603042       5/10/2011       19:12:01
24728      4078603407       8/16/2011       17:31:51
24729      4078603407       1/31/2012       7:03:11
24730      4078604997       8/9/2011        12:38:49
24731      4078605240       10/9/2012       19:59:59
24732      4078605614       12/20/2011      7:14:20
24733      4078605730       10/7/2012       12:59:17
24734      4078607934       5/22/2012       18:25:56
24735      4078609054       11/9/2011       7:46:39
24736      4078609660       8/16/2012       19:44:58
24737      4078641771       9/21/2012       15:28:18
24738      4078646990       8/30/2012       17:32:55
24739      4078651308       3/23/2012       19:09:46
24740      4078651865       10/23/2012      16:08:04
24741      4078652757       5/30/2012       16:52:02
24742      4078703161       1/13/2012       17:37:17
24743      4078730756       8/16/2012       19:47:01
24744      4078733355       4/28/2012       8:16:01
24745      4078734613       10/4/2011       13:44:41
24746      4078736754       9/15/2011       7:15:16
24747      4078789013       8/18/2012       8:44:57
24748      4078790062       10/12/2011      8:28:04
24749      4078791290       3/23/2012       19:13:10
24750      4078791406       6/21/2012       18:18:03
24751      4078791620       10/3/2012       19:54:12
24752      4078792140       3/3/2012        8:15:47
24753      4078792140       5/21/2012       7:25:34
24754      4078792140       10/11/2012      7:55:01
24755      4078796391       4/16/2012       15:57:49
24756      4078831182       11/20/2011      11:07:28
24757      4078835919       3/2/2012        18:40:17
24758      4079021612       12/27/2011      14:34:35
24759      4079026510       6/30/2012       8:17:09
24760      4079028133       8/28/2012       7:29:02
24761      4079028177       10/3/2012       7:13:09
24762      4079081848       10/6/2011       17:15:39
24763      4079082782       10/7/2011       7:19:21
24764      4079132021       10/6/2012       8:30:59
24765      4079145707       3/30/2012       16:09:18
24766      4079147116       3/15/2012       13:47:30
24767      4079147116       10/22/2012      18:09:43
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24768      4079148059       6/23/2012       8:32:45
24769      4079148059       7/3/2012        19:31:47
24770      4079149141       5/7/2011        14:45:26
24771      4079149839       5/25/2012       12:02:39
24772      4079149976       2/28/2012       15:57:06
24773      4079204609       3/28/2012       10:33:33
24774      4079205983       1/17/2012       7:10:53
24775      4079206679       10/28/2011      13:54:21
24776      4079207555       4/1/2012        16:02:56
24777      4079221828       2/16/2012       7:02:26
24778      4079224600       1/24/2012       9:57:57
24779      4079226504       1/2/2012        7:24:34
24780      4079227194       2/13/2012       18:27:49
24781      4079229452       12/12/2011      12:07:26
24782      4079231675       4/6/2012        16:08:43
24783      4079232206       10/18/2011      12:02:40
24784      4079233174       6/22/2012       7:05:32
24785      4079236076       12/14/2011      17:58:06
24786      4079238793       11/23/2011      9:18:18
24787      4079239894       3/13/2012       14:05:44
24788      4079241773       2/24/2011       11:34:48
24789      4079246244       12/26/2011      9:11:46
24790      4079251772       7/30/2012       18:35:47
24791      4079253688       8/15/2011       8:13:06
24792      4079253765       8/25/2012       8:25:44
24793      4079256563       10/15/2012      16:11:43
24794      4079257226       2/13/2012       7:03:01
24795      4079270157       5/1/2012        17:56:19
24796      4079273932       10/1/2011       10:28:53
24797      4079284179       2/20/2012       7:09:11
24798      4079285186       9/21/2011       19:32:16
24799      4079286007       11/8/2011       14:21:40
24800      4079289603       9/30/2011       10:00:40
24801      4079290493       9/15/2011       7:29:59
24802      4079297518       8/2/2011        16:58:54
24803      4079297518       9/22/2011       15:58:53
24804      4079297518       10/5/2011       14:37:53
24805      4079364388       6/27/2012       18:05:11
24806      4079364705       11/17/2011      15:09:50
24807      4079365293       9/29/2011       15:37:39
24808      4079368096       9/17/2012       7:49:56
24809      4079368630       11/8/2011       14:20:46
24810      4079474203       9/27/2011       18:25:28
24811      4079476230       11/18/2011      12:36:30
24812      4079481506       4/9/2012        7:05:03
24813      4079486210       3/28/2011       15:13:36
24814      4079494823       11/8/2011       13:44:40
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24815      4079497302       5/17/2012       7:15:15
24816      4079524868       12/17/2011      11:52:16
24817      4079525488       4/2/2012        7:07:01
24818      4079525545       10/5/2012       12:24:52
24819      4079525589       3/17/2012       10:14:46
24820      4079525672       5/4/2012        7:29:16
24821      4079525728       12/10/2011      11:53:42
24822      4079526129       9/3/2012        14:47:37
24823      4079527938       1/3/2012        10:57:37
24824      4079528182       6/23/2012       15:59:57
24825      4079528303       10/17/2011      7:35:21
24826      4079528303       11/12/2011      9:12:14
24827      4079530231       5/20/2011       17:47:23
24828      4079530509       3/6/2012        15:58:30
24829      4079530512       8/16/2011       17:31:29
24830      4079530701       10/7/2011       7:20:02
24831      4079532090       9/20/2011       17:18:54
24832      4079532125       12/26/2011      9:17:42
24833      4079533059       9/24/2011       9:09:40
24834      4079534554       7/11/2011       7:18:53
24835      4079535054       2/11/2012       15:04:12
24836      4079535294       1/31/2012       7:03:11
24837      4079538127       9/28/2011       11:04:03
24838      4079538168       12/9/2011       7:40:48
24839      4079538502       5/4/2012        20:59:58
24840      4079560744       5/3/2012        7:53:26
24841      4079625647       3/15/2012       18:54:36
24842      4079631535       6/22/2012       7:14:14
24843      4079658973       1/5/2012        13:56:24
24844      4079679410       10/11/2012      18:35:51
24845      4079684882       9/26/2011       8:01:36
24846      4079689939       6/12/2012       17:05:57
24847      4079702143       1/31/2012       7:07:31
24848      4079702143       9/24/2012       19:17:21
24849      4082021873       5/17/2012       12:15:27
24850      4082022152       12/18/2011      16:59:31
24851      4082024395       9/12/2011       14:32:03
24852      4082028244       12/28/2011      20:50:20
24853      4082030370       9/8/2011        17:53:36
24854      4082042366       12/27/2011      14:42:58
24855      4082044278       5/22/2012       18:46:49
24856      4082075368       11/8/2011       14:19:49
24857      4082107883       5/3/2012        21:18:39
24858      4082158844       10/12/2012      17:15:50
24859      4082158897       12/12/2011      11:58:02
24860      4082205279       7/12/2011       12:32:00
24861      4082205629       5/13/2012       18:10:14
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24862      4082349279       11/17/2011      14:48:14
24863      4082349279       1/4/2012        20:42:13
24864      4082424271       5/22/2012       18:23:46
24865      4082500619       12/9/2011       12:58:38
24866      4082501666       10/15/2012      16:15:07
24867      4082503835       9/13/2011       18:25:01
24868      4082504143       8/19/2012       11:57:59
24869      4082504469       1/29/2012       16:48:19
24870      4082507232       6/1/2011        12:24:55
24871      4082569138       9/28/2011       10:44:09
24872      4083066883       10/13/2011      10:31:09
24873      4083067699       1/3/2012        15:25:39
24874      4083072967       12/2/2011       14:45:11
24875      4083075425       8/22/2012       11:24:29
24876      4083091631       8/22/2012       11:30:33
24877      4083096656       7/27/2012       21:13:01
24878      4083100709       9/8/2011        19:08:53
24879      4083105858       10/15/2012      16:24:25
24880      4083106145       10/20/2011      16:35:37
24881      4083106543       1/13/2012       17:30:52
24882      4083130446       8/25/2011       17:17:28
24883      4083132346       11/17/2011      16:37:04
24884      4083144787       12/31/2011      12:10:08
24885      4083154669       10/3/2012       19:57:56
24886      4083155662       2/10/2012       10:37:42
24887      4083178656       9/29/2011       15:29:07
24888      4083290633       11/12/2011      10:56:21
24889      4083321163       11/4/2011       10:12:52
24890      4083341766       11/11/2011      20:17:41
24891      4083345644       11/23/2011      10:09:17
24892      4083482877       1/16/2012       17:39:37
24893      4083645454       10/8/2011       12:15:08
24894      4083646432       3/31/2012       22:36:10
24895      4083736975       3/7/2014        12:19:00
24896      4083755693       4/4/2011        14:23:49
24897      4083756744       8/18/2011       10:37:12
24898      4083756950       5/8/2012        12:33:09
24899      4083757941       6/4/2012        10:03:34
24900      4083759674       10/14/2011      13:38:12
24901      4083872863       3/19/2012       19:07:32
24902      4083905308       4/30/2012       15:02:35
24903      4083915885       10/8/2011       11:36:38
24904      4083915885       12/26/2011      20:07:17
24905      4083938876       11/19/2011      10:39:15
24906      4083941347       5/31/2012       15:13:32
24907      4083941960       2/9/2012        14:35:32
24908      4083947949       10/3/2012       20:04:09
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24909      4083949293       12/22/2013      10:33:20
24910      4083963058       6/7/2012        18:33:33
24911      4083965404       10/12/2012      17:15:56
24912      4083965931       10/10/2012      12:40:35
24913      4084012179       1/5/2012        14:10:20
24914      4084012691       6/18/2012       15:15:02
24915      4084013297       6/14/2012       16:09:04
24916      4084013297       6/19/2012       15:38:47
24917      4084014662       10/13/2011      10:37:53
24918      4084014662       11/10/2011      14:49:35
24919      4084014666       8/3/2012        12:33:30
24920      4084014860       1/3/2012        15:42:19
24921      4084018409       10/28/2011      14:37:59
24922      4084018584       6/4/2012        21:08:02
24923      4084018676       10/13/2012      11:45:00
24924      4084019527       10/15/2011      11:07:21
24925      4084064869       12/21/2011      10:02:42
24926      4084066174       3/15/2012       19:20:52
24927      4084101637       9/30/2011       10:26:21
24928      4084101637       6/18/2012       15:29:12
24929      4084107463       3/11/2011       17:03:03
24930      4084109905       9/8/2011        19:55:46
24931      4084138104       2/11/2012       15:50:53
24932      4084138267       7/31/2012       15:38:40
24933      4084138837       7/18/2012       14:50:06
24934      4084161484       8/28/2012       12:02:35
24935      4084168649       10/11/2011      17:40:27
24936      4084171666       10/28/2011      13:51:30
24937      4084172374       5/17/2011       10:33:12
24938      4084173513       9/19/2011       19:38:21
24939      4084177221       12/18/2011      16:16:49
24940      4084177371       5/18/2012       16:10:36
24941      4084178605       9/11/2012       21:24:55
24942      4084201503       1/6/2012        14:36:29
24943      4084208722       10/10/2011      12:55:28
24944      4084223538       2/1/2012        18:41:47
24945      4084250934       10/23/2012      16:23:06
24946      4084252988       11/23/2011      10:43:45
24947      4084274449       9/8/2011        19:15:30
24948      4084276514       3/23/2012       14:51:25
24949      4084277094       6/5/2012        17:49:56
24950      4084282860       3/8/2012        20:31:00
24951      4084293714       6/9/2012        14:50:07
24952      4084295916       7/23/2012       13:29:17
24953      4084319065       12/9/2011       16:12:39
24954      4084409479       11/5/2011       11:55:33
24955      4084490684       3/14/2012       14:23:14
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24956      4084490684       4/20/2012       14:09:50
24957      4084492365       8/11/2012       12:28:46
24958      4084492479       1/17/2012       13:34:30
24959      4084493385       9/22/2011       15:33:56
24960      4084499221       2/24/2011       14:35:59
24961      4084601023       8/6/2012        15:27:15
24962      4084609526       3/11/2011       17:01:37
24963      4084609526       9/12/2011       14:38:07
24964      4084648948       9/22/2012       12:22:57
24965      4084649861       4/1/2012        17:37:43
24966      4084649861       4/9/2012        13:52:51
24967      4084649861       9/10/2012       21:09:37
24968      4084667121       3/2/2012        19:06:13
24969      4084692449       3/4/2012        12:45:02
24970      4084692449       3/14/2012       20:04:54
24971      4084693070       10/6/2011       17:12:01
24972      4084695952       4/30/2012       21:03:02
24973      4084809134       8/20/2012       18:46:37
24974      4084825278       5/22/2012       11:41:47
24975      4084827465       11/8/2011       14:05:06
24976      4084835022       7/22/2012       12:17:09
24977      4084991136       4/2/2012        12:57:34
24978      4084995988       10/7/2011       10:18:44
24979      4084996782       1/19/2012       10:12:44
24980      4084997258       1/10/2012       20:57:00
24981      4085005867       3/26/2012       14:52:46
24982      4085040006       8/26/2013       19:48:41
24983      4085051261       10/3/2011       10:43:29
24984      4085090609       6/12/2012       10:29:51
24985      4085092365       10/22/2011      13:19:10
24986      4085094240       6/27/2012       18:02:39
24987      4085095552       10/11/2011      17:48:46
24988      4085096390       4/27/2012       21:07:08
24989      4085096867       4/22/2012       15:49:53
24990      4085098844       4/14/2012       10:21:47
24991      4085099794       9/13/2012       21:30:02
24992      4085129992       3/14/2011       17:27:28
24993      4085150244       9/8/2011        19:55:43
24994      4085151237       11/15/2011      20:11:38
24995      4085154443       4/25/2012       21:22:52
24996      4085156958       1/23/2012       19:20:58
24997      4085157329       4/13/2012       13:26:16
24998      4085189814       6/19/2012       15:38:22
24999      4085294832       1/12/2012       14:10:03
25000      4085504065       8/3/2012        16:33:25
25001      4085504065       8/14/2012       20:53:44
25002      4085610064       2/9/2012        14:33:02
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25003      4085610792       1/13/2012       17:29:48
25004      4085610850       4/5/2012        14:01:31
25005      4085611091       1/11/2012       10:57:42
25006      4085611113       6/7/2012        12:42:07
25007      4085611113       10/11/2012      18:42:11
25008      4085612444       3/1/2012        17:36:56
25009      4085613166       12/10/2011      14:11:38
25010      4085613711       7/18/2011       11:23:22
25011      4085618054       11/25/2011      17:57:51
25012      4085699764       9/21/2011       19:36:53
25013      4085806580       7/26/2012       11:56:39
25014      4085823941       6/20/2012       16:59:05
25015      4085902349       5/9/2012        14:37:06
25016      4085903520       6/13/2012       10:29:44
25017      4085908222       9/18/2012       14:30:19
25018      4085909314       12/9/2011       14:33:54
25019      4085910227       4/7/2012        12:19:55
25020      4085940272       8/8/2012        16:09:42
25021      4085940316       2/11/2012       15:54:22
25022      4085956847       9/14/2011       10:32:43
25023      4085959853       9/24/2011       10:07:53
25024      4085994469       12/16/2011      16:44:35
25025      4085994732       10/3/2012       19:50:04
25026      4086005793       9/14/2011       21:25:58
25027      4086005794       11/5/2011       11:57:11
25028      4086006059       9/27/2011       18:53:35
25029      4086006854       5/24/2011       16:23:27
25030      4086033567       1/11/2012       16:25:26
25031      4086033567       7/19/2012       10:31:38
25032      4086033899       10/12/2011      11:48:09
25033      4086033993       1/18/2012       21:22:05
25034      4086037679       9/23/2011       18:50:51
25035      4086037689       6/25/2012       21:48:02
25036      4086052658       11/17/2011      14:57:46
25037      4086054138       11/15/2011      20:17:51
25038      4086076502       5/9/2012        21:44:06
25039      4086084155       10/8/2012       20:04:05
25040      4086084527       11/12/2011      10:59:04
25041      4086139558       3/15/2012       19:20:54
25042      4086219989       4/4/2012        14:09:50
25043      4086242233       12/8/2011       21:12:01
25044      4086250474       11/27/2011      15:36:30
25045      4086250490       4/29/2011       20:41:50
25046      4086273974       2/9/2012        20:37:58
25047      4086289304       8/8/2011        16:05:01
25048      4086368079       10/24/2012      15:05:44
25049      4086398425       9/13/2011       14:39:03
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25050      4086408707       7/13/2012       21:19:32
25051      4086441546       10/12/2012      17:18:03
25052      4086469733       3/14/2012       14:13:53
25053      4086483059       10/11/2012      11:56:46
25054      4086483777       5/23/2012       16:39:51
25055      4086485223       10/21/2011      13:45:56
25056      4086486477       11/23/2011      10:07:58
25057      4086487939       12/23/2011      16:11:33
25058      4086488084       6/27/2012       12:10:10
25059      4086488968       6/27/2012       18:05:50
25060      4086566861       10/11/2011      17:41:42
25061      4086568191       4/23/2012       20:45:05
25062      4086568755       2/25/2012       11:15:26
25063      4086600997       5/22/2012       18:23:50
25064      4086609234       11/10/2011      14:37:01
25065      4086610169       9/20/2011       16:58:08
25066      4086610169       1/13/2012       12:50:58
25067      4086611242       3/31/2012       22:36:43
25068      4086616644       4/20/2012       14:42:32
25069      4086616644       8/24/2012       21:06:14
25070      4086617377       3/23/2012       19:58:17
25071      4086619440       7/17/2012       21:56:23
25072      4086651016       12/14/2011      18:05:11
25073      4086652578       3/8/2012        15:41:55
25074      4086655454       5/12/2011       10:09:07
25075      4086674972       5/23/2012       16:56:39
25076      4086742176       8/29/2012       20:19:55
25077      4086749352       1/19/2012       10:17:06
25078      4086792262       12/14/2011      17:55:45
25079      4086792645       9/19/2011       14:42:39
25080      4086878233       3/26/2012       18:32:45
25081      4086887619       7/15/2011       18:01:01
25082      4086905048       10/21/2011      13:39:09
25083      4086909197       4/5/2012        14:38:36
25084      4086913574       11/17/2011      15:57:16
25085      4086919621       2/3/2012        20:07:42
25086      4086939320       10/4/2011       13:59:00
25087      4087017967       3/29/2012       16:49:07
25088      4087056520       9/20/2011       17:01:09
25089      4087058482       1/12/2012       14:37:25
25090      4087066183       11/21/2011      10:55:28
25091      4087100375       9/14/2011       21:39:27
25092      4087222432       9/8/2011        18:16:00
25093      4087224282       7/29/2011       20:13:54
25094      4087262973       11/16/2011      11:37:52
25095      4087267972       4/18/2011       19:59:58
25096      4087285058       2/21/2012       20:52:46
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25097      4087327686       8/11/2012       12:24:33
25098      4087571451       5/13/2011       11:50:06
25099      4087572189       3/15/2012       14:16:51
25100      4087572333       9/23/2011       11:53:22
25101      4087572333       10/17/2011      10:33:35
25102      4087590202       8/8/2012        16:15:06
25103      4087592139       12/21/2011      10:06:01
25104      4087592139       4/30/2012       15:00:03
25105      4087611667       6/11/2011       11:26:39
25106      4087706490       12/7/2011       14:59:37
25107      4087706688       10/12/2012      16:43:44
25108      4087712229       8/13/2012       21:02:20
25109      4087715254       6/26/2012       21:15:26
25110      4087727422       12/24/2011      11:33:18
25111      4087750820       4/24/2012       21:03:39
25112      4087751259       1/25/2012       20:40:01
25113      4087753808       9/8/2011        19:56:43
25114      4087811920       7/26/2012       19:16:56
25115      4087814751       11/11/2011      13:40:09
25116      4087814908       3/23/2012       14:30:28
25117      4087945882       12/5/2011       18:41:28
25118      4087948003       9/20/2012       21:01:30
25119      4087962684       7/31/2012       21:04:22
25120      4087962684       9/18/2012       21:30:26
25121      4087994840       2/25/2012       10:47:19
25122      4087997348       7/26/2011       10:54:45
25123      4088021313       9/11/2012       15:16:40
25124      4088077713       4/4/2012        18:55:40
25125      4088079361       8/28/2012       11:56:32
25126      4088133157       8/2/2011        19:11:05
25127      4088214296       8/13/2012       20:54:25
25128      4088230219       11/28/2011      17:09:41
25129      4088262610       9/12/2013       21:36:40
25130      4088262750       9/21/2011       12:03:00
25131      4088280544       9/17/2011       10:06:38
25132      4088281055       10/6/2011       18:00:05
25133      4088281986       7/30/2012       13:44:42
25134      4088284795       8/29/2012       20:23:39
25135      4088292384       3/1/2012        17:35:07
25136      4088293093       6/25/2011       15:51:36
25137      4088295207       1/5/2012        17:24:33
25138      4088296649       9/21/2011       19:31:48
25139      4088306602       10/11/2012      11:53:10
25140      4088307565       5/30/2012       12:58:39
25141      4088307784       9/13/2012       21:30:52
25142      4088320774       9/14/2011       12:38:20
25143      4088327836       8/17/2011       18:58:37
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25144      4088329110       10/2/2012       10:09:32
25145      4088342509       11/18/2011      13:36:26
25146      4088363502       10/6/2011       17:09:38
25147      4088383695       2/6/2012        10:04:18
25148      4088387488       10/13/2011      10:39:39
25149      4088405538       2/14/2012       10:09:52
25150      4088405538       7/16/2012       19:53:41
25151      4088411123       3/9/2012        15:51:12
25152      4088411176       9/26/2012       13:06:02
25153      4088436599       6/8/2012        16:58:02
25154      4088438524       2/8/2012        12:56:04
25155      4088438524       8/28/2012       11:56:20
25156      4088438524       10/8/2012       12:49:35
25157      4088490372       5/23/2012       16:32:27
25158      4088490531       12/5/2011       18:20:25
25159      4088491615       8/29/2012       20:22:44
25160      4088492079       9/23/2011       11:53:05
25161      4088496385       6/16/2012       10:11:13
25162      4088497171       4/29/2012       17:56:37
25163      4088497308       9/19/2011       19:36:58
25164      4088499187       9/27/2011       18:58:04
25165      4088499420       11/23/2011      10:44:35
25166      4088499751       9/8/2011        19:55:19
25167      4088540088       10/10/2011      12:05:17
25168      4088542280       8/8/2012        16:08:38
25169      4088544957       3/14/2012       14:14:47
25170      4088549774       3/27/2012       15:07:56
25171      4088572603       10/4/2011       13:27:11
25172      4088598282       9/12/2011       13:38:50
25173      4088763620       5/23/2012       16:33:03
25174      4088763706       10/20/2011      21:10:21
25175      4088763761       12/2/2011       14:43:21
25176      4088769579       9/30/2011       10:09:21
25177      4088860000       9/8/2011        18:15:52
25178      4088872321       9/19/2011       19:38:12
25179      4088881472       7/11/2012       17:24:36
25180      4088882519       9/21/2011       12:03:23
25181      4088901289       4/11/2012       19:40:36
25182      4088914549       10/1/2011       11:01:04
25183      4088917576       1/17/2012       13:34:05
25184      4088927164       9/22/2011       15:10:05
25185      4088931281       8/23/2012       21:05:35
25186      4088936399       10/29/2011      11:02:29
25187      4088939341       9/8/2011        19:10:13
25188      4088990286       10/15/2011      11:04:40
25189      4089030999       1/3/2012        15:24:49
25190      4089035002       1/23/2012       10:17:09
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25191      4089035575       2/12/2012       16:06:27
25192      4089037539       4/15/2012       17:47:15
25193      4089049844       7/11/2012       15:55:37
25194      4089101312       8/9/2012        21:59:20
25195      4089103555       10/24/2011      14:57:37
25196      4089108700       11/9/2011       10:15:50
25197      4089123086       8/12/2011       10:13:05
25198      4089301554       5/1/2012        17:54:31
25199      4089305180       4/18/2012       17:53:46
25200      4089529969       3/23/2012       19:43:02
25201      4089605205       1/25/2012       20:33:22
25202      4089912004       8/4/2012        10:38:21
25203      4089913467       5/9/2011        17:46:12
25204      4089914175       10/8/2012       12:49:27
25205      4089921373       3/26/2012       15:10:54
25206      4092001339       2/8/2012        12:53:23
25207      4092009447       7/24/2013       9:17:26
25208      4092210449       6/14/2012       12:40:01
25209      4092215951       11/12/2011      10:31:10
25210      4092238761       4/30/2012       14:56:32
25211      4092238824       4/1/2012        17:13:26
25212      4092250492       6/14/2012       16:04:53
25213      4092251191       10/27/2011      16:44:58
25214      4092251191       12/26/2011      9:25:48
25215      4092251277       9/17/2011       10:22:29
25216      4092254066       12/5/2011       9:43:02
25217      4092254697       11/18/2011      13:24:56
25218      4092257523       5/14/2012       15:47:19
25219      4092258726       11/11/2011      20:19:30
25220      4092394290       3/19/2012       11:44:09
25221      4092561450       9/8/2012        11:10:23
25222      4092562221       11/25/2011      18:29:47
25223      4092565631       3/14/2012       14:06:41
25224      4092568256       6/5/2012        17:58:57
25225      4092568814       12/23/2011      15:03:57
25226      4092569626       3/18/2011       9:41:51
25227      4092732933       4/16/2012       8:06:17
25228      4092734896       3/18/2011       10:36:22
25229      4092735801       9/21/2012       18:51:51
25230      4092738975       12/16/2011      16:24:28
25231      4092738975       1/16/2012       17:14:27
25232      4092848041       9/19/2011       8:07:27
25233      4092848041       10/7/2011       8:04:07
25234      4092896531       1/17/2012       9:42:08
25235      4092916014       9/26/2011       9:49:05
25236      4092916014       10/15/2011      9:37:21
25237      4092919080       1/8/2012        13:15:07
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25238      4092919080       7/13/2012       14:01:55
25239      4092932623       12/27/2011      14:21:02
25240      4092932946       6/1/2011        12:09:47
25241      4092938783       12/15/2011      8:22:02
25242      4092938853       2/17/2012       9:05:30
25243      4092938868       4/11/2012       12:42:05
25244      4092996187       11/3/2011       17:55:41
25245      4093300950       2/3/2012        20:02:41
25246      4093302281       10/28/2011      14:25:07
25247      4093302700       5/3/2012        8:16:36
25248      4093305856       11/26/2011      13:09:53
25249      4093322801       9/24/2012       19:13:46
25250      4093326821       1/26/2012       10:08:37
25251      4093326821       4/24/2012       18:14:46
25252      4093327027       8/29/2012       11:11:57
25253      4093382483       11/12/2011      9:30:26
25254      4093382732       11/1/2011       8:12:59
25255      4093386614       3/17/2012       8:52:26
25256      4093440744       5/19/2012       16:07:46
25257      4093442114       12/20/2011      19:25:09
25258      4093508658       10/22/2012      17:58:53
25259      4093508834       4/9/2012        17:53:01
25260      4093509205       10/10/2012      12:37:06
25261      4093511139       9/27/2011       18:44:54
25262      4093512173       12/28/2011      20:45:28
25263      4093512262       10/20/2011      15:40:57
25264      4093541489       11/15/2011      16:30:31
25265      4093543224       10/29/2011      11:39:13
25266      4093546330       10/5/2012       12:18:30
25267      4093631982       10/25/2011      16:32:26
25268      4093632862       11/14/2011      15:06:45
25269      4093652412       7/15/2011       17:40:49
25270      4093652892       2/10/2012       20:41:07
25271      4093653454       9/23/2011       11:45:05
25272      4093657590       4/20/2012       20:58:21
25273      4093658409       11/7/2011       9:41:39
25274      4093659233       10/4/2011       13:48:02
25275      4093659261       11/12/2011      9:35:25
25276      4093700712       11/23/2011      10:33:59
25277      4093700990       12/7/2011       13:35:16
25278      4093705484       12/31/2011      12:07:31
25279      4093705957       8/10/2011       19:23:43
25280      4093773842       10/17/2012      9:44:32
25281      4093810175       11/8/2011       13:53:08
25282      4093810175       11/21/2011      8:20:11
25283      4093820210       10/6/2011       16:54:41
25284      4093834022       12/16/2011      15:43:46
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25285      4093834612       12/5/2011       18:10:21
25286      4093834745       4/10/2012       16:12:54
25287      4093923024       1/24/2012       17:04:28
25288      4093924075       1/26/2012       9:59:25
25289      4093927673       10/28/2011      13:37:20
25290      4094290498       7/26/2012       19:22:48
25291      4094294381       12/29/2011      14:12:21
25292      4094296714       10/31/2011      9:10:37
25293      4094334827       2/12/2012       15:42:11
25294      4094349400       4/12/2012       13:10:43
25295      4094434362       9/21/2011       11:31:20
25296      4094434570       10/5/2012       18:23:59
25297      4094434816       8/16/2012       19:47:16
25298      4094436779       7/10/2012       12:03:57
25299      4094437045       5/23/2012       16:29:21
25300      4094439871       9/19/2011       8:10:28
25301      4094439871       10/29/2011      10:58:25
25302      4094540206       10/18/2012      16:38:29
25303      4094542207       9/19/2011       19:32:08
25304      4094543257       3/28/2012       10:41:46
25305      4094546166       5/15/2012       18:59:05
25306      4094546268       12/29/2011      10:47:39
25307      4094546870       2/11/2012       15:10:15
25308      4094550065       4/10/2012       11:39:45
25309      4094570124       5/23/2012       16:31:41
25310      4094571955       5/11/2012       10:48:27
25311      4094572132       9/21/2011       11:53:40
25312      4094572922       9/11/2012       15:14:02
25313      4094572926       11/28/2011      12:13:05
25314      4094573387       10/6/2011       17:44:20
25315      4094575086       8/1/2012        20:10:19
25316      4094601275       9/21/2011       11:30:33
25317      4094602873       12/20/2011      19:37:15
25318      4094603450       10/25/2011      15:28:39
25319      4094604132       7/5/2012        15:28:26
25320      4094606393       9/19/2011       19:15:59
25321      4094607911       8/30/2011       16:33:41
25322      4094607963       10/6/2011       16:44:18
25323      4094607963       5/21/2012       8:13:59
25324      4094661265       12/2/2011       15:24:04
25325      4094663011       10/8/2011       11:56:05
25326      4094666964       11/3/2011       17:18:24
25327      4094666964       12/9/2011       12:55:47
25328      4094667235       9/20/2011       18:31:13
25329      4094668866       5/27/2011       8:57:16
25330      4094669370       4/12/2012       17:58:03
25331      4094669656       10/25/2011      16:19:09
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25332      4094749611       9/22/2011       16:08:46
25333      4094749611       10/17/2011      8:35:45
25334      4094895908       9/13/2011       17:56:20
25335      4094896860       11/26/2011      13:23:32
25336      4094898405       1/16/2012       17:13:54
25337      4094898476       7/20/2012       19:48:41
25338      4094898476       10/8/2012       20:07:03
25339      4094975927       10/27/2011      16:01:24
25340      4094975927       1/2/2012        8:08:08
25341      4094993646       9/24/2011       9:20:09
25342      4094993646       10/6/2011       16:43:23
25343      4094999537       9/23/2011       19:03:49
25344      4095020322       8/4/2011        8:21:34
25345      4095028483       10/10/2011      12:37:29
25346      4095044847       7/24/2012       20:33:10
25347      4095262345       9/9/2011        18:14:21
25348      4095265176       1/6/2012        14:59:57
25349      4095390068       8/31/2011       10:48:27
25350      4095390858       4/9/2012        19:32:09
25351      4095391042       8/10/2011       19:11:25
25352      4095391042       9/19/2011       19:31:23
25353      4095401173       2/6/2012        20:39:05
25354      4095401793       9/30/2011       10:00:50
25355      4095408083       1/16/2012       17:32:36
25356      4095482194       12/9/2011       15:38:52
25357      4095493392       5/3/2012        8:07:16
25358      4095493691       3/7/2012        18:44:10
25359      4095496979       10/26/2011      12:11:38
25360      4095500386       7/26/2012       12:18:40
25361      4095501892       3/16/2012       10:26:00
25362      4095502009       12/20/2011      7:14:33
25363      4095508582       10/20/2012      8:18:09
25364      4095509586       5/10/2012       15:04:29
25365      4095509586       6/13/2012       8:07:53
25366      4095509586       9/17/2012       8:41:22
25367      4095531097       3/3/2012        8:58:38
25368      4095543302       1/3/2012        19:51:11
25369      4095545046       7/2/2012        15:23:44
25370      4095710596       12/4/2013       11:38:14
25371      4095941537       2/18/2012       9:04:29
25372      4095942668       4/1/2014        12:12:44
25373      4095942673       10/10/2011      11:52:54
25374      4095944606       6/11/2012       17:34:36
25375      4095945438       9/30/2011       10:22:59
25376      4095946952       12/22/2011      10:18:01
25377      4095947001       11/1/2011       8:43:13
25378      4095947197       9/26/2011       9:32:12
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25379      4095947197       10/12/2011      8:08:48
25380      4095990304       12/20/2011      19:37:09
25381      4095992886       7/26/2011       9:44:35
25382      4095994561       9/24/2012       19:12:41
25383      4095995187       9/29/2012       9:41:57
25384      4095995749       3/13/2012       12:48:30
25385      4095996095       3/23/2012       14:27:05
25386      4095997988       6/9/2012        15:01:29
25387      4095998163       5/2/2011        18:09:56
25388      4096171418       5/26/2011       10:06:01
25389      4096173924       2/28/2012       13:11:18
25390      4096173924       4/20/2012       20:52:42
25391      4096179938       11/26/2011      11:27:55
25392      4096221357       4/26/2011       20:10:21
25393      4096512830       7/30/2012       13:18:53
25394      4096515753       4/9/2012        13:33:52
25395      4096519944       11/5/2011       11:29:21
25396      4096563358       1/5/2012        14:06:54
25397      4096563580       7/16/2012       19:39:35
25398      4096583019       1/8/2012        13:22:39
25399      4096597486       2/11/2012       11:16:50
25400      4096599588       12/23/2011      14:07:37
25401      4096599588       2/3/2012        20:09:17
25402      4096702329       3/24/2012       10:01:21
25403      4096705448       1/20/2012       20:27:46
25404      4096706792       11/14/2011      17:06:42
25405      4096731173       1/17/2012       17:02:20
25406      4096737738       9/26/2012       17:14:05
25407      4096781500       12/10/2011      12:17:01
25408      4096783309       9/19/2011       19:12:33
25409      4096791828       11/23/2011      10:28:15
25410      4096793790       9/13/2011       17:58:34
25411      4096795032       12/5/2011       18:13:54
25412      4096827711       5/5/2012        8:13:01
25413      4096827711       5/21/2012       8:04:08
25414      4096828114       5/5/2012        8:08:42
25415      4096920548       8/10/2011       17:32:40
25416      4096920548       10/20/2011      16:25:35
25417      4096929607       6/20/2012       9:04:57
25418      4096985315       4/21/2012       9:38:43
25419      4096987096       9/29/2011       15:21:42
25420      4096987096       10/25/2011      15:33:21
25421      4096987096       11/11/2011      20:23:07
25422      4096988058       10/19/2011      12:09:52
25423      4097209085       7/21/2012       10:48:24
25424      4097281121       2/28/2012       15:53:30
25425      4097281121       5/21/2012       8:16:22
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25426      4097284093       4/24/2012       12:09:00
25427      4097390848       2/20/2012       8:44:49
25428      4097392155       12/24/2011      8:17:47
25429      4097393900       2/11/2014       20:37:35
25430      4097393900       5/20/2014       14:14:28
25431      4097610078       9/20/2012       20:58:13
25432      4097699190       12/5/2011       9:34:34
25433      4097710744       9/28/2011       11:12:20
25434      4097713344       1/10/2012       18:11:04
25435      4097790344       3/19/2011       10:42:10
25436      4097791715       7/13/2012       17:07:05
25437      4097794630       9/21/2011       12:04:20
25438      4097798169       6/28/2012       14:16:09
25439      4097798949       4/15/2012       17:38:53
25440      4097799040       6/15/2012       8:55:23
25441      4097815321       2/13/2012       8:14:50
25442      4097825258       10/25/2011      15:28:52
25443      4097828082       7/21/2011       14:16:30
25444      4097904168       10/6/2011       10:26:06
25445      4097904497       11/28/2011      12:17:20
25446      4097908257       12/18/2011      17:45:19
25447      4098280319       11/12/2011      9:34:47
25448      4098281363       10/7/2011       8:17:50
25449      4098773047       1/27/2012       20:07:00
25450      4098776666       9/23/2011       11:45:16
25451      4098776666       10/3/2011       8:16:04
25452      4098778021       3/17/2012       8:52:12
25453      4098778210       1/18/2012       16:53:36
25454      4098805292       5/7/2012        8:18:24
25455      4098834118       3/20/2012       17:51:01
25456      4098932940       11/16/2011      9:24:03
25457      4099200928       11/12/2011      9:33:40
25458      4099209194       9/24/2011       9:46:10
25459      4099255390       5/4/2012        18:13:54
25460      4099255390       5/21/2012       8:04:07
25461      4099255390       5/21/2012       8:18:41
25462      4099263855       8/10/2011       19:10:27
25463      4099267535       3/15/2012       14:11:04
25464      4099390030       8/13/2012       20:56:04
25465      4099392879       1/2/2012        8:10:42
25466      4099393541       9/13/2011       17:55:59
25467      4099393843       9/14/2011       12:21:53
25468      4099398613       6/7/2011        11:58:03
25469      4099398961       8/2/2012        18:57:45
25470      4099399310       8/17/2011       18:40:08
25471      4099510828       5/17/2012       11:46:02
25472      4099519555       9/23/2011       18:47:10
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25473      4099608621       6/24/2011       11:31:14
25474      4099740179       9/16/2011       14:46:47
25475      4099883152       9/13/2011       18:00:25
25476      4099961304       3/19/2012       19:19:10
25477      4099961879       10/11/2011      17:31:46
25478      4099963317       11/4/2011       9:11:13
25479      4099982256       10/7/2011       8:13:46
25480      4099982465       2/11/2012       20:03:14
25481      4102005594       9/21/2012       18:53:17
25482      4102050608       12/10/2011      12:14:11
25483      4102061773       10/26/2011      12:47:29
25484      4102061981       9/20/2012       7:03:47
25485      4102077851       1/12/2012       14:12:15
25486      4102078498       11/17/2011      16:40:57
25487      4102099188       3/17/2012       8:50:06
25488      4102126840       11/23/2011      14:28:43
25489      4102127496       10/24/2012      15:11:45
25490      4102150126       3/15/2012       7:01:46
25491      4102150781       9/20/2011       15:00:36
25492      4102154135       4/16/2012       15:59:58
25493      4102157397       2/20/2012       17:19:00
25494      4102181786       3/11/2011       16:40:05
25495      4102270472       6/11/2012       17:50:58
25496      4102271098       8/25/2012       11:09:46
25497      4102272209       9/20/2011       16:34:49
25498      4102279555       4/25/2011       10:02:26
25499      4102367981       8/4/2012        7:36:21
25500      4102455254       9/12/2011       13:50:56
25501      4102533786       2/3/2012        14:27:45
25502      4102566824       11/25/2011      17:29:20
25503      4102583168       9/20/2011       16:32:42
25504      4102585748       3/12/2012       19:21:11
25505      4102588080       3/27/2012       10:34:16
25506      4102588080       4/2/2012        8:57:11
25507      4102589945       5/29/2012       17:11:34
25508      4102593743       11/28/2011      17:38:26
25509      4102620860       12/7/2011       17:56:21
25510      4102625300       11/23/2011      14:49:36
25511      4102625561       3/29/2011       16:11:38
25512      4102625561       9/19/2011       19:08:48
25513      4102710599       10/19/2012      9:43:55
25514      4102928432       10/6/2011       16:19:25
25515      4102947601       10/18/2012      7:06:17
25516      4102948404       9/8/2011        18:32:04
25517      4102996309       10/11/2011      15:51:13
25518      4103000268       7/9/2012        18:56:31
25519      4103002392       5/25/2011       17:18:37
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25520      4103007953       9/20/2011       16:33:06
25521      4103008976       10/3/2012       9:24:10
25522      4103027466       6/23/2012       8:45:39
25523      4103027854       3/10/2012       9:00:58
25524      4103033155       1/12/2012       14:00:37
25525      4103104226       12/9/2011       7:55:16
25526      4103106690       10/5/2011       13:59:46
25527      4103108234       5/16/2012       16:48:12
25528      4103220541       12/5/2011       9:02:02
25529      4103221904       1/18/2012       9:48:49
25530      4103309149       3/30/2012       16:04:48
25531      4103364400       9/27/2012       7:38:48
25532      4103366021       10/22/2011      12:20:03
25533      4103366123       7/11/2011       7:23:45
25534      4103402539       4/20/2012       14:04:04
25535      4103403193       4/14/2012       8:53:05
25536      4103404029       11/17/2011      16:16:26
25537      4103404302       9/17/2011       9:30:20
25538      4103404886       10/17/2011      7:14:07
25539      4103408805       11/4/2011       7:08:39
25540      4103422222       9/21/2011       11:26:35
25541      4103533772       7/23/2012       13:12:14
25542      4103610354       5/8/2012        17:03:04
25543      4103657688       8/8/2012        7:05:21
25544      4103698950       5/3/2012        7:19:37
25545      4103698951       5/5/2012        8:21:11
25546      4103698951       10/13/2012      9:05:41
25547      4103702076       5/26/2012       8:42:46
25548      4103756508       5/17/2012       7:13:05
25549      4103759589       1/6/2012        14:49:25
25550      4104024822       9/24/2011       9:32:43
25551      4104040198       3/26/2011       10:52:46
25552      4104041617       5/19/2011       7:52:08
25553      4104093205       3/20/2012       17:38:33
25554      4104193632       11/10/2011      7:26:12
25555      4104195987       9/29/2012       9:53:49
25556      4104198302       11/4/2011       15:30:09
25557      4104199431       3/10/2011       15:28:29
25558      4104206543       6/27/2011       7:35:39
25559      4104221452       3/16/2012       10:20:54
25560      4104227055       12/30/2011      17:04:13
25561      4104281619       11/10/2011      7:07:37
25562      4104281723       3/26/2012       7:13:10
25563      4104406686       11/25/2011      18:19:15
25564      4104431102       11/26/2011      12:45:09
25565      4104436263       8/13/2012       7:43:09
25566      4104561321       7/16/2012       7:05:44
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25567      4104582076       3/27/2012       14:58:34
25568      4104590561       9/20/2011       16:43:36
25569      4104590562       12/22/2011      7:47:11
25570      4104590562       1/29/2012       17:21:35
25571      4104596093       8/7/2012        17:48:31
25572      4104597370       4/1/2012        16:57:08
25573      4104633274       10/1/2011       10:15:12
25574      4104634122       9/26/2011       8:52:07
25575      4104690783       9/8/2011        18:39:22
25576      4104767467       3/30/2012       16:04:35
25577      4104767583       9/20/2011       16:34:10
25578      4104907246       1/20/2012       11:45:19
25579      4104919945       9/8/2011        19:42:45
25580      4104935780       3/10/2011       16:04:46
25581      4104937305       4/25/2012       18:35:36
25582      4104990098       10/22/2011      13:01:35
25583      4104990939       10/5/2011       14:30:49
25584      4104991784       10/10/2011      12:21:32
25585      4104994874       9/21/2011       11:30:12
25586      4104996352       7/27/2012       12:32:47
25587      4105006167       10/20/2012      8:01:53
25588      4105006865       10/17/2012      9:37:46
25589      4105006951       3/27/2012       14:52:47
25590      4105008969       3/30/2012       16:12:06
25591      4105042718       1/13/2012       17:34:42
25592      4105072628       4/21/2011       8:45:14
25593      4105077627       8/29/2012       11:11:53
25594      4105174096       12/6/2011       7:46:05
25595      4105283000       2/6/2012        17:08:46
25596      4105303720       12/11/2011      12:21:51
25597      4105309960       6/13/2012       7:08:05
25598      4105337189       6/13/2012       20:00:49
25599      4105337491       9/12/2011       13:56:20
25600      4105339518       3/14/2012       19:24:48
25601      4105434924       6/7/2012        7:04:45
25602      4105625351       12/9/2011       15:51:42
25603      4105646269       2/10/2012       7:17:55
25604      4105646567       9/27/2011       15:20:11
25605      4105646770       4/20/2012       20:48:34
25606      4105855888       10/11/2011      16:52:36
25607      4105889802       5/18/2012       15:55:15
25608      4105997670       1/3/2012        11:00:52
25609      4105997670       1/11/2012       7:28:13
25610      4106030355       2/16/2012       7:07:00
25611      4106032438       6/22/2012       7:47:52
25612      4106032958       8/20/2012       7:44:43
25613      4106037913       2/11/2012       19:34:11
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25614      4106037973       7/13/2011       11:42:20
25615      4106082407       12/1/2011       7:56:37
25616      4106089078       1/19/2012       7:56:48
25617      4106101854       10/17/2011      8:00:47
25618      4106103805       9/26/2011       8:04:45
25619      4106106859       4/2/2012        7:14:50
25620      4106107357       3/13/2012       18:58:26
25621      4106108046       2/13/2012       18:37:41
25622      4106109115       11/1/2011       8:28:55
25623      4106330875       10/17/2011      11:07:02
25624      4106436430       1/4/2012        11:16:34
25625      4106601541       11/17/2011      16:23:01
25626      4106605531       10/10/2011      12:34:10
25627      4106623294       3/17/2012       8:36:10
25628      4106623294       5/21/2012       7:04:44
25629      4106895541       5/22/2012       18:35:00
25630      4106898247       7/17/2012       7:09:33
25631      4106899004       1/16/2012       7:15:53
25632      4106932568       10/3/2011       7:24:20
25633      4106996241       5/11/2012       18:23:58
25634      4107083792       10/15/2011      10:58:17
25635      4107084348       8/13/2011       9:51:17
25636      4107102724       1/19/2012       7:08:04
25637      4107102724       1/26/2012       7:28:04
25638      4107103511       5/22/2012       18:33:46
25639      4107107697       3/13/2012       18:39:12
25640      4107108610       12/24/2011      7:06:28
25641      4107140309       9/21/2011       19:32:14
25642      4107149984       9/30/2011       9:54:56
25643      4107149986       9/21/2011       11:45:29
25644      4107250790       9/26/2011       8:30:03
25645      4107262871       1/17/2012       17:34:29
25646      4107946621       10/4/2011       13:08:24
25647      4107950475       7/28/2012       9:03:35
25648      4108006902       3/13/2012       10:52:40
25649      4108028263       11/25/2013      7:43:56
25650      4108055816       9/18/2013       14:41:45
25651      4108075780       3/5/2012        7:50:32
25652      4108120488       1/16/2012       17:22:51
25653      4108141009       9/9/2011        7:28:05
25654      4108149856       1/14/2012       13:20:54
25655      4108290899       2/3/2014        13:50:09
25656      4108291889       3/26/2012       18:39:54
25657      4108294967       4/9/2012        17:49:15
25658      4108414287       2/9/2012        7:11:26
25659      4108418271       6/7/2012        18:21:17
25660      4108456478       11/17/2011      13:38:10
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25661      4108456571       1/30/2012       7:17:45
25662      4108458621       9/23/2011       7:06:13
25663      4108459695       2/6/2012        7:25:11
25664      4108459857       10/8/2011       11:05:33
25665      4108583846       10/24/2012      15:08:13
25666      4108588887       10/21/2011      12:28:44
25667      4109000878       8/12/2011       7:23:11
25668      4109000929       12/7/2011       13:26:02
25669      4109003645       6/19/2012       13:18:47
25670      4109004747       5/10/2012       13:12:57
25671      4109005408       3/13/2012       7:09:06
25672      4109006757       6/16/2012       15:14:04
25673      4109032122       5/11/2012       18:05:13
25674      4109034129       10/1/2011       10:29:26
25675      4109034129       10/5/2011       14:05:57
25676      4109038741       9/21/2012       18:54:32
25677      4109051561       10/22/2011      12:28:32
25678      4109051682       3/29/2011       17:15:24
25679      4109052048       1/7/2012        8:12:27
25680      4109052048       3/13/2012       18:38:16
25681      4109054331       7/3/2012        7:11:50
25682      4109059682       1/30/2012       7:21:55
25683      4109059879       11/28/2011      17:52:27
25684      4109081908       1/7/2012        9:12:05
25685      4109083764       5/17/2012       7:10:25
25686      4109084671       3/10/2011       15:45:12
25687      4109084671       3/30/2011       8:49:24
25688      4109084705       5/5/2012        8:13:11
25689      4109088554       9/12/2011       13:53:57
25690      4109130960       9/15/2012       8:19:39
25691      4109133245       9/20/2011       16:31:14
25692      4109133245       10/14/2011      12:42:31
25693      4109198916       8/15/2012       7:50:02
25694      4109202266       10/18/2012      16:29:13
25695      4109206568       12/14/2011      17:51:17
25696      4109208805       9/13/2012       7:43:07
25697      4109209831       9/24/2012       18:51:30
25698      4109246018       2/15/2012       8:12:27
25699      4109250144       1/31/2014       7:06:15
25700      4109253966       4/2/2012        7:06:28
25701      4109267841       11/18/2011      12:52:10
25702      4109353665       10/25/2011      15:59:43
25703      4109372528       9/17/2011       9:58:58
25704      4109377147       11/17/2011      16:21:24
25705      4109379626       1/5/2012        17:27:17
25706      4109379626       4/12/2012       18:04:25
25707      4109379973       10/3/2011       7:14:41
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25708      4109490928       4/1/2012        16:03:13
25709      4109496532       5/6/2012        18:05:51
25710      4109600892       4/14/2012       8:48:31
25711      4109603974       5/1/2012        17:24:44
25712      4109608548       8/3/2012        7:25:26
25713      4109611957       1/27/2012       17:43:31
25714      4109614617       10/8/2011       11:13:22
25715      4109618589       10/12/2012      16:45:41
25716      4109618637       12/9/2011       13:16:18
25717      4109632145       2/21/2012       17:32:02
25718      4109638664       3/13/2012       7:04:19
25719      4109675481       3/13/2012       18:31:07
25720      4109726860       8/13/2012       7:28:22
25721      4109772150       8/23/2012       11:51:53
25722      4109776500       9/1/2011        8:02:58
25723      4109799596       5/8/2012        7:07:03
25724      4109825652       6/11/2012       17:49:14
25725      4109827087       9/7/2012        15:39:23
25726      4109827087       9/25/2012       14:40:46
25727      4109849030       2/24/2011       11:18:20
25728      4122008741       11/23/2011      10:00:44
25729      4122095324       5/11/2012       18:32:22
25730      4122095783       10/17/2012      18:33:44
25731      4122095785       4/9/2012        18:06:14
25732      4122158008       10/12/2011      7:58:14
25733      4122169880       3/22/2012       8:09:21
25734      4122249090       12/9/2011       7:53:15
25735      4122249207       2/11/2012       11:03:08
25736      4122251927       12/20/2011      19:21:25
25737      4122257285       6/20/2012       16:51:41
25738      4122513923       12/9/2011       7:57:07
25739      4122517956       4/21/2012       16:55:29
25740      4122661770       9/3/2012        14:38:27
25741      4122662577       3/7/2012        7:09:19
25742      4122738034       9/21/2012       18:43:53
25743      4122770025       2/24/2011       14:01:55
25744      4122771749       8/13/2011       9:11:08
25745      4122771749       10/10/2011      11:36:19
25746      4122771968       12/23/2011      14:54:47
25747      4122772176       9/20/2011       16:39:57
25748      4122774198       1/31/2012       7:09:08
25749      4122775141       12/20/2011      7:17:56
25750      4122775141       1/6/2012        14:35:21
25751      4122776787       12/6/2011       14:30:45
25752      4122778256       12/2/2011       15:13:19
25753      4122778873       7/3/2012        13:03:47
25754      4122925964       3/14/2012       19:24:32
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25755      4122925964       3/21/2012       7:12:25
25756      4122925964       5/13/2012       17:07:10
25757      4122927555       9/28/2011       10:53:19
25758      4122947669       9/8/2011        18:26:06
25759      4122950043       6/18/2012       7:50:54
25760      4122950661       7/20/2012       15:03:51
25761      4122952990       3/20/2012       17:34:43
25762      4122973108       6/16/2012       15:13:33
25763      4122979688       10/4/2011       13:43:36
25764      4122981637       11/28/2011      17:12:28
25765      4122984461       7/9/2012        7:05:11
25766      4123022339       10/22/2011      12:52:45
25767      4123035209       9/19/2011       19:02:28
25768      4123039530       10/21/2011      13:00:17
25769      4123044376       10/10/2011      12:10:33
25770      4123046621       6/30/2012       8:12:04
25771      4123049434       9/19/2012       7:58:53
25772      4123103132       5/24/2012       7:15:20
25773      4123105119       9/8/2011        19:28:30
25774      4123201180       10/10/2012      13:03:40
25775      4123205164       10/22/2012      17:47:54
25776      4123209422       9/26/2012       14:35:10
25777      4123272096       5/20/2011       17:37:51
25778      4123283095       3/1/2012        11:46:52
25779      4123284391       10/23/2012      15:51:49
25780      4123300053       5/11/2012       12:11:14
25781      4123351979       11/14/2011      14:13:27
25782      4123353108       9/15/2011       7:50:36
25783      4123356948       10/15/2011      9:58:52
25784      4123370357       6/7/2011        17:51:35
25785      4123522594       9/30/2011       9:51:20
25786      4123526674       9/21/2011       19:28:38
25787      4123604013       5/1/2012        8:18:29
25788      4123604013       5/23/2012       16:35:38
25789      4123770243       3/6/2012        15:56:14
25790      4123770688       5/9/2012        7:39:57
25791      4123771459       5/17/2012       7:13:38
25792      4123772799       6/1/2012        9:10:50
25793      4123772974       12/16/2011      15:26:50
25794      4123774164       2/17/2012       18:16:23
25795      4123774557       10/17/2011      7:37:52
25796      4123775198       9/15/2011       7:45:56
25797      4123775271       12/24/2011      7:20:08
25798      4123776267       1/7/2012        9:08:59
25799      4123776478       10/10/2011      12:21:00
25800      4123778182       11/11/2011      7:54:01
25801      4123778195       11/23/2011      9:28:07
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25802      4123779177       11/5/2011       9:51:49
25803      4123783291       9/21/2012       18:44:12
25804      4123783812       4/7/2012        9:04:48
25805      4123784167       7/26/2012       12:24:08
25806      4123893852       12/1/2011       15:22:41
25807      4123905358       9/12/2011       12:59:52
25808      4123980879       9/28/2011       10:06:35
25809      4123988003       9/24/2012       19:17:34
25810      4124016183       4/14/2012       9:13:39
25811      4124019023       4/4/2012        18:47:00
25812      4124019049       1/13/2012       12:30:06
25813      4124030857       10/21/2011      12:37:38
25814      4124032902       3/28/2011       15:08:29
25815      4124033226       11/29/2011      16:15:04
25816      4124035647       12/7/2011       14:03:41
25817      4124037826       11/28/2011      16:35:02
25818      4124038509       5/21/2012       7:24:58
25819      4124039865       10/3/2011       7:07:47
25820      4124141444       9/15/2011       7:21:14
25821      4124141595       2/28/2012       16:02:02
25822      4124141748       2/17/2012       18:19:59
25823      4124147395       8/13/2011       9:47:09
25824      4124147495       5/20/2011       17:40:53
25825      4124179169       10/31/2011      7:18:44
25826      4124270407       8/6/2012        11:42:25
25827      4124272023       4/26/2012       7:58:49
25828      4124273447       7/18/2012       7:13:48
25829      4124437449       10/19/2011      7:47:30
25830      4124451906       3/12/2012       19:38:13
25831      4124452781       11/5/2011       9:08:23
25832      4124452876       11/14/2011      14:16:40
25833      4124456035       10/8/2011       9:28:54
25834      4124520669       12/21/2011      10:45:06
25835      4124520758       8/29/2011       11:39:29
25836      4124521049       5/23/2012       15:04:41
25837      4124522392       6/28/2012       14:20:26
25838      4124522950       2/10/2012       7:09:14
25839      4124522950       5/2/2012        13:39:22
25840      4124523688       10/11/2011      15:50:13
25841      4124523791       8/1/2011        19:37:30
25842      4124525398       10/7/2011       7:14:03
25843      4124525564       4/13/2012       13:47:47
25844      4124525668       8/1/2011        19:15:17
25845      4124525816       10/31/2011      7:08:24
25846      4124527110       10/15/2012      16:15:40
25847      4124750051       9/21/2011       19:30:01
25848      4124751523       7/15/2011       17:07:14
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25849      4124754033       5/21/2012       7:05:20
25850      4124756303       10/6/2011       16:22:09
25851      4124785932       9/19/2011       7:08:06
25852      4124789061       3/7/2012        18:48:24
25853      4124789586       8/22/2012       11:16:06
25854      4124802895       9/24/2011       9:11:07
25855      4124804719       8/3/2012        16:35:00
25856      4124828356       3/6/2012        16:57:13
25857      4124916866       3/24/2012       10:20:20
25858      4124980278       10/15/2011      9:57:55
25859      4124984069       10/5/2012       12:24:11
25860      4125067837       1/13/2012       17:38:53
25861      4125080146       5/29/2012       17:05:00
25862      4125081112       11/18/2011      13:22:06
25863      4125121430       1/19/2012       18:29:31
25864      4125121430       8/31/2012       16:33:18
25865      4125131041       10/8/2011       10:48:20
25866      4125131041       12/8/2011       10:03:03
25867      4125131370       10/3/2011       7:24:12
25868      4125132149       3/14/2012       19:30:17
25869      4125132149       5/29/2012       17:03:01
25870      4125132562       4/16/2012       7:13:04
25871      4125137993       2/7/2012        17:06:21
25872      4125138773       6/28/2012       7:04:43
25873      4125193320       5/3/2012        7:11:03
25874      4125193781       4/25/2012       15:47:10
25875      4125194227       12/28/2011      18:18:19
25876      4125196066       11/25/2011      17:36:35
25877      4125196629       10/5/2011       14:29:02
25878      4125231823       10/4/2011       13:13:57
25879      4125266983       3/19/2012       19:39:28
25880      4125266983       3/30/2012       16:13:27
25881      4125274548       12/20/2011      12:07:57
25882      4125275560       10/3/2012       19:53:13
25883      4125370111       6/24/2011       11:50:17
25884      4125370339       4/12/2012       17:56:20
25885      4125370339       7/30/2012       13:29:54
25886      4125370470       10/8/2011       10:27:46
25887      4125371570       6/28/2012       14:19:20
25888      4125371872       5/3/2012        7:07:56
25889      4125373744       10/27/2011      16:19:15
25890      4125375117       8/16/2012       19:51:25
25891      4125375848       10/5/2011       14:28:26
25892      4125376055       9/8/2011        19:46:41
25893      4125376089       5/8/2012        17:02:42
25894      4125377710       11/28/2011      17:35:22
25895      4125377922       8/17/2011       18:35:23
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25896      4125379369       11/29/2011      16:09:27
25897      4125379746       3/30/2012       16:03:26
25898      4125379893       2/1/2012        8:03:38
25899      4125387010       10/11/2011      16:54:46
25900      4125519643       10/7/2011       7:05:03
25901      4125546327       10/7/2011       7:04:57
25902      4125766848       9/4/2012        15:37:15
25903      4125805774       11/17/2011      16:23:00
25904      4125807661       10/12/2011      7:43:13
25905      4125821155       10/13/2012      8:54:51
25906      4125830230       3/29/2012       16:32:10
25907      4125830682       10/18/2011      12:09:43
25908      4125831474       10/14/2011      13:11:04
25909      4125831655       3/19/2012       7:07:27
25910      4125831728       3/3/2012        8:43:20
25911      4125831767       11/10/2011      7:01:16
25912      4125832176       6/30/2011       8:31:36
25913      4125833765       1/10/2012       12:27:23
25914      4125835085       2/15/2012       8:00:52
25915      4125836296       10/6/2011       9:33:22
25916      4125836771       1/16/2012       17:28:10
25917      4125837839       8/16/2012       19:58:50
25918      4125839205       2/11/2012       15:02:39
25919      4125839313       10/18/2011      12:09:39
25920      4125839627       10/9/2012       7:35:32
25921      4125839758       3/12/2012       19:09:17
25922      4125839758       5/21/2012       8:18:35
25923      4125840020       3/12/2012       19:15:38
25924      4125840427       11/8/2011       14:16:51
25925      4125841874       1/11/2012       16:21:27
25926      4125848697       9/28/2011       10:03:06
25927      4125868910       2/28/2012       13:26:11
25928      4125871773       12/20/2011      19:23:25
25929      4125894272       11/14/2011      14:08:28
25930      4125898425       9/13/2012       7:41:33
25931      4125922220       8/17/2011       19:00:13
25932      4125968036       2/24/2011       11:12:57
25933      4126000276       12/17/2011      11:55:14
25934      4126004151       1/5/2012        12:01:53
25935      4126005941       1/19/2012       18:34:01
25936      4126057434       5/22/2012       18:28:20
25937      4126060022       4/4/2011        12:59:00
25938      4126061061       10/27/2011      15:12:01
25939      4126061414       5/31/2012       14:58:26
25940      4126062811       10/5/2011       14:04:57
25941      4126067917       3/26/2011       10:41:02
25942      4126075087       1/19/2012       7:51:46
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25943      4126082183       9/17/2011       9:22:17
25944      4126083011       9/14/2011       19:31:11
25945      4126088224       10/6/2011       16:20:52
25946      4126089595       2/17/2012       9:08:32
25947      4126093884       7/21/2012       10:50:18
25948      4126094651       12/27/2011      14:16:59
25949      4126094746       10/4/2011       13:05:32
25950      4126135704       11/7/2011       8:24:29
25951      4126136635       11/19/2011      8:36:45
25952      4126161069       10/1/2011       9:40:09
25953      4126164297       11/30/2011      7:29:10
25954      4126203738       7/25/2012       11:56:42
25955      4126208412       7/15/2011       7:19:45
25956      4126261996       6/2/2011        10:56:24
25957      4126268047       2/14/2012       9:56:53
25958      4126280602       2/24/2011       11:28:00
25959      4126281034       10/15/2011      10:32:46
25960      4126281149       11/12/2011      9:17:31
25961      4126281512       5/21/2012       7:23:30
25962      4126281832       11/17/2011      16:43:57
25963      4126282106       1/6/2012        7:04:04
25964      4126282318       11/1/2011       7:59:00
25965      4126282332       2/13/2012       7:14:10
25966      4126282356       10/12/2011      12:07:08
25967      4126283667       4/13/2012       13:16:18
25968      4126284369       7/18/2012       18:23:05
25969      4126284999       12/28/2011      7:19:42
25970      4126286793       7/11/2012       19:16:46
25971      4126286827       10/8/2011       9:18:07
25972      4126289715       2/1/2012        18:27:40
25973      4126294748       9/21/2011       19:34:02
25974      4126514340       10/5/2011       13:59:38
25975      4126517042       9/15/2011       7:21:36
25976      4126560221       2/1/2012        8:22:00
25977      4126572515       11/5/2011       10:40:11
25978      4126577111       7/12/2012       19:57:45
25979      4126577113       7/14/2012       8:19:18
25980      4126577290       11/15/2011      15:21:54
25981      4126681011       12/22/2011      8:24:27
25982      4126802735       8/6/2012        16:15:25
25983      4126802735       10/5/2012       18:18:22
25984      4126920565       11/14/2011      14:09:00
25985      4126921371       9/27/2012       7:33:00
25986      4126921371       10/22/2012      7:07:53
25987      4127080184       4/26/2012       8:12:06
25988      4127082348       12/20/2011      19:30:34
25989      4127082348       2/20/2012       16:46:57
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25990      4127085108       10/28/2011      7:09:53
25991      4127085108       11/17/2011      15:11:51
25992      4127087404       10/6/2011       16:24:02
25993      4127154939       11/10/2011      7:01:15
25994      4127154939       11/17/2011      16:43:23
25995      4127158665       12/27/2011      14:18:18
25996      4127166976       5/10/2011       19:14:30
25997      4127201458       5/15/2012       19:00:27
25998      4127204117       11/7/2011       7:34:27
25999      4127208584       5/21/2012       8:46:12
26000      4127219913       4/2/2012        7:13:58
26001      4127222983       9/23/2011       18:57:53
26002      4127227282       7/23/2012       13:04:00
26003      4127260065       9/14/2011       16:06:05
26004      4127260962       9/8/2011        19:23:57
26005      4127264518       8/20/2012       18:41:54
26006      4127282930       9/26/2011       8:47:31
26007      4127285643       9/5/2012        7:15:56
26008      4127288432       1/17/2012       7:18:17
26009      4127352913       3/2/2012        7:16:12
26010      4127364375       12/1/2011       14:51:59
26011      4127365401       9/19/2011       19:29:35
26012      4127580054       10/5/2012       18:16:11
26013      4127580739       3/2/2012        18:53:15
26014      4127580918       10/8/2012       7:07:26
26015      4127582331       9/26/2012       14:35:06
26016      4127582656       10/1/2011       10:12:16
26017      4127582744       10/13/2012      9:14:59
26018      4127583904       11/25/2011      18:12:22
26019      4127584061       7/9/2011        8:40:50
26020      4127584434       9/20/2011       16:36:04
26021      4127584503       12/27/2011      14:14:53
26022      4127585709       10/11/2012      18:32:47
26023      4127586605       6/17/2012       12:24:56
26024      4127587449       11/7/2011       7:44:45
26025      4127588739       9/4/2012        15:41:55
26026      4127591262       4/17/2012       9:40:02
26027      4127591262       5/29/2012       14:26:06
26028      4127592802       1/2/2012        12:03:59
26029      4127593546       12/5/2011       18:32:30
26030      4127704120       8/13/2011       9:52:43
26031      4127730096       3/13/2012       18:36:34
26032      4127730550       4/16/2012       15:41:56
26033      4127731032       3/26/2012       18:44:25
26034      4127732573       7/11/2012       9:33:43
26035      4127732668       11/5/2011       11:16:46
26036      4127732986       11/25/2011      17:55:47
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26037      4127733447       10/24/2011      7:17:14
26038      4127801822       12/27/2011      14:28:02
26039      4127994985       7/23/2012       15:25:43
26040      4128056378       9/19/2011       19:10:02
26041      4128057326       12/27/2011      14:29:25
26042      4128058555       9/8/2011        19:23:30
26043      4128058610       6/30/2012       8:03:38
26044      4128125077       12/20/2011      11:52:04
26045      4128128211       7/18/2012       18:22:41
26046      4128188173       8/8/2012        16:11:40
26047      4128411045       10/28/2011      13:29:28
26048      4128411045       11/11/2011      7:55:09
26049      4128414402       2/6/2012        16:47:16
26050      4128491080       3/6/2012        15:41:59
26051      4128499148       9/22/2011       15:39:43
26052      4128531499       10/29/2011      11:25:07
26053      4128531543       10/8/2011       10:32:47
26054      4128533936       10/11/2011      17:15:35
26055      4128534123       10/22/2011      12:32:12
26056      4128535034       10/7/2012       12:47:18
26057      4128535210       9/19/2011       7:12:49
26058      4128536298       7/13/2012       11:07:55
26059      4128536312       10/14/2011      13:14:22
26060      4128536695       10/6/2011       16:32:48
26061      4128538347       3/7/2012        18:30:27
26062      4128538730       3/14/2012       19:40:35
26063      4128550809       9/28/2011       10:51:04
26064      4128557025       10/3/2011       7:25:14
26065      4128557721       6/1/2012        8:55:14
26066      4128657990       6/14/2012       19:17:55
26067      4128675526       4/4/2012        18:36:34
26068      4128677148       3/6/2012        15:45:48
26069      4128677148       3/14/2012       19:30:40
26070      4128677840       7/2/2012        15:10:27
26071      4128679170       3/25/2012       11:44:33
26072      4128745112       11/28/2011      17:41:14
26073      4128774569       12/5/2011       9:13:52
26074      4128850504       8/13/2011       9:55:02
26075      4128920377       1/19/2012       7:14:28
26076      4128973032       1/12/2012       14:29:44
26077      4129010264       6/2/2012        12:40:05
26078      4129080913       12/17/2011      11:54:53
26079      4129080913       1/25/2012       9:03:28
26080      4129082187       5/9/2012        7:36:29
26081      4129082489       3/21/2012       13:48:27
26082      4129082490       3/28/2012       16:57:53
26083      4129135600       9/15/2011       7:35:05
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26084      4129158789       9/15/2011       7:21:12
26085      4129159819       11/11/2011      13:30:12
26086      4129161312       12/2/2011       15:14:52
26087      4129166616       5/22/2012       18:18:53
26088      4129268323       10/22/2011      12:56:38
26089      4129518517       7/12/2012       15:52:04
26090      4129561050       10/17/2012      9:30:14
26091      4129650293       1/9/2012        18:32:49
26092      4129650808       11/14/2011      16:40:43
26093      4129653351       12/21/2011      10:10:01
26094      4129690223       6/9/2012        14:55:26
26095      4129692877       12/5/2011       18:24:47
26096      4129693582       9/28/2011       10:05:11
26097      4129694729       7/11/2011       7:10:38
26098      4129695373       10/10/2012      19:09:29
26099      4129695666       6/25/2012       13:53:47
26100      4129695799       10/19/2012      19:06:47
26101      4129699110       10/20/2011      15:21:12
26102      4129730049       10/24/2011      7:11:09
26103      4129730365       3/31/2012       8:23:18
26104      4129736017       11/18/2011      13:28:15
26105      4129802045       9/29/2011       15:35:07
26106      4129806043       6/11/2012       18:16:04
26107      4129806677       4/22/2012       15:09:07
26108      4129809293       12/27/2011      14:26:23
26109      4129830451       9/2/2011        12:41:42
26110      4129927311       11/11/2011      7:50:11
26111      4129970490       11/15/2011      15:29:00
26112      4129990491       7/12/2012       20:00:15
26113      4129992490       4/1/2012        16:04:51
26114      4129994524       9/8/2011        18:28:31
26115      4129994803       5/14/2012       15:32:29
26116      4132046246       8/31/2012       16:32:34
26117      4132048845       9/14/2012       7:01:12
26118      4132049356       1/25/2012       9:10:39
26119      4132090550       3/7/2012        18:40:06
26120      4132092095       10/31/2011      7:41:09
26121      4132101061       9/29/2012       10:00:07
26122      4132104585       8/15/2012       7:47:56
26123      4132105428       2/29/2012       7:03:44
26124      4132106157       1/12/2012       14:01:00
26125      4132108097       7/26/2012       19:17:29
26126      4132108600       7/12/2012       7:05:56
26127      4132109286       2/29/2012       17:25:07
26128      4132122143       12/3/2011       8:51:19
26129      4132122143       12/31/2011      11:41:45
26130      4132126463       10/20/2011      15:58:20
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26131      4132126549       11/18/2011      13:27:20
26132      4132127986       12/17/2011      11:45:52
26133      4132129872       12/22/2011      8:27:16
26134      4132148852       5/27/2014       11:04:48
26135      4132182233       3/21/2012       13:36:28
26136      4132183355       4/6/2012        16:02:50
26137      4132187410       10/22/2011      12:23:57
26138      4132192359       9/20/2011       16:30:55
26139      4132194487       10/17/2011      8:00:18
26140      4132197392       7/30/2012       13:30:48
26141      4132198734       10/20/2012      8:09:01
26142      4132199114       12/26/2011      9:18:08
26143      4132215496       12/17/2011      11:45:29
26144      4132216110       7/14/2011       8:31:41
26145      4132222341       6/12/2012       7:22:02
26146      4132225617       12/26/2011      9:01:09
26147      4132227481       11/21/2011      7:18:04
26148      4132229855       5/1/2012        17:32:51
26149      4132304056       10/17/2011      7:38:31
26150      4132317639       2/21/2012       9:26:16
26151      4132317639       6/2/2012        12:53:31
26152      4132338851       1/18/2012       10:18:16
26153      4132371932       10/24/2012      14:42:01
26154      4132372911       3/20/2012       9:21:27
26155      4132375763       9/13/2011       17:18:16
26156      4132411850       10/6/2011       17:13:48
26157      4132414542       9/19/2011       19:07:21
26158      4132419058       8/23/2012       11:47:07
26159      4132419245       8/16/2012       7:45:39
26160      4132440747       5/30/2012       12:46:25
26161      4132441934       4/3/2012        10:00:01
26162      4132461506       10/8/2011       10:32:21
26163      4132466315       9/13/2011       17:38:30
26164      4132468608       5/4/2012        7:31:07
26165      4132500697       5/18/2012       15:51:53
26166      4132501861       4/19/2012       14:49:59
26167      4132621818       10/12/2011      7:52:39
26168      4132626489       10/12/2011      7:20:19
26169      4132653508       6/12/2012       17:09:39
26170      4132811791       3/3/2012        8:09:26
26171      4132811912       4/3/2012        15:54:02
26172      4132970614       3/29/2012       11:24:46
26173      4133069536       3/14/2012       19:41:04
26174      4133138546       1/17/2012       18:38:21
26175      4133157993       5/1/2012        8:38:24
26176      4133280525       12/29/2011      18:48:22
26177      4133281014       2/13/2012       18:40:46
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26178      4133285030       8/15/2012       7:53:07
26179      4133291924       5/30/2012       16:43:43
26180      4133292429       2/14/2012       16:45:12
26181      4133298331       6/23/2012       16:08:41
26182      4133300034       11/12/2011      9:07:43
26183      4133304495       3/2/2012        9:28:12
26184      4133305699       1/5/2012        13:55:29
26185      4133308981       11/16/2011      8:37:48
26186      4133319544       8/23/2012       19:06:43
26187      4133360421       3/26/2012       7:05:27
26188      4133360421       6/5/2012        19:50:29
26189      4133362554       10/18/2013      16:16:22
26190      4133428575       5/14/2012       15:24:36
26191      4133476755       11/17/2011      16:38:34
26192      4133482286       3/30/2012       7:00:53
26193      4133486557       10/1/2011       10:17:50
26194      4133489142       2/9/2012        7:04:02
26195      4133489585       10/5/2012       12:20:22
26196      4133580823       4/4/2012        7:02:32
26197      4133583667       3/14/2012       7:03:01
26198      4133636743       4/19/2012       14:49:01
26199      4133646326       5/11/2011       16:44:49
26200      4133646428       7/3/2012        7:06:06
26201      4133748412       7/5/2012        7:47:36
26202      4133888119       1/18/2012       10:17:49
26203      4134260508       12/1/2011       15:14:54
26204      4134291831       6/9/2012        14:38:09
26205      4134330129       10/6/2011       17:13:55
26206      4134335344       8/31/2012       16:25:02
26207      4134337468       10/5/2011       13:58:00
26208      4134337468       2/6/2012        7:10:32
26209      4134373295       10/20/2011      15:58:26
26210      4134460000       9/1/2011        8:11:27
26211      4134554030       12/5/2011       9:09:30
26212      4134593221       1/4/2012        10:58:22
26213      4134593630       12/17/2011      11:39:28
26214      4134642251       12/30/2011      7:09:12
26215      4134783388       2/16/2012       7:09:21
26216      4135120615       5/14/2012       15:18:03
26217      4135124155       11/21/2011      7:18:35
26218      4135191752       3/2/2012        18:54:57
26219      4135220469       1/4/2012        14:59:15
26220      4135227780       10/7/2011       7:14:56
26221      4135304888       10/12/2011      7:48:53
26222      4135306374       11/4/2011       7:03:07
26223      4135312501       10/14/2011      12:39:34
26224      4135375718       2/2/2012        7:05:35
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26225      4135445386       9/15/2012       8:01:42
26226      4135448037       2/16/2012       7:19:03
26227      4135484108       3/10/2012       8:36:50
26228      4135630722       3/1/2012        8:41:57
26229      4135632124       1/5/2012        12:10:01
26230      4135753182       10/20/2011      15:34:05
26231      4135753182       11/18/2011      13:27:28
26232      4136272349       11/18/2011      12:36:55
26233      4136363097       8/5/2011        17:37:27
26234      4136571610       3/14/2012       19:25:40
26235      4136572408       9/8/2012        11:15:40
26236      4136630095       6/18/2012       15:16:48
26237      4136688518       8/3/2011        11:20:13
26238      4136951238       4/12/2012       14:53:24
26239      4137772083       2/15/2012       11:29:52
26240      4137772855       7/12/2011       11:58:55
26241      4137776118       7/11/2012       9:43:29
26242      4137778231       12/14/2011      12:49:28
26243      4138137545       10/23/2012      16:23:01
26244      4138222744       7/5/2012        15:25:51
26245      4138224304       10/14/2011      13:07:06
26246      4138246075       10/11/2011      15:41:12
26247      4138411084       1/19/2012       7:24:20
26248      4138415211       4/20/2012       14:24:49
26249      4138415969       9/8/2011        19:38:47
26250      4138419687       11/8/2011       14:09:12
26251      4138543993       7/20/2012       15:03:36
26252      4138835639       9/19/2011       19:08:03
26253      4138836123       9/8/2012        11:15:00
26254      4138838227       8/18/2012       8:27:21
26255      4138838270       10/6/2011       17:14:51
26256      4138850758       8/30/2012       17:36:45
26257      4138850875       5/3/2012        7:12:09
26258      4138850942       9/10/2011       8:50:02
26259      4138851022       12/21/2011      10:03:36
26260      4138851984       5/5/2012        8:13:11
26261      4138852065       11/26/2011      12:26:15
26262      4138852337       1/5/2012        17:19:09
26263      4138854984       10/8/2011       9:09:47
26264      4138855068       12/2/2011       15:33:11
26265      4138855540       3/15/2012       19:22:23
26266      4138855738       3/29/2012       17:15:27
26267      4138855738       6/26/2012       7:58:49
26268      4138856725       10/10/2012      19:09:35
26269      4138857009       1/19/2012       18:39:10
26270      4138859340       6/6/2012        7:16:59
26271      4139493237       5/17/2012       7:07:52
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26272      4139619108       2/21/2012       10:40:28
26273      4142071320       10/13/2012      9:09:06
26274      4142171848       9/21/2012       18:41:52
26275      4142171848       10/19/2012      9:50:13
26276      4142174935       4/14/2012       9:00:18
26277      4142186913       11/28/2011      11:27:27
26278      4142189626       11/17/2011      14:28:45
26279      4142322858       10/25/2011      16:25:54
26280      4142326683       11/14/2011      15:06:08
26281      4142326683       11/19/2011      8:54:48
26282      4142341464       9/7/2012        15:51:57
26283      4142411863       12/13/2011      17:03:03
26284      4142413685       9/28/2012       16:47:18
26285      4142413685       10/12/2012      16:58:06
26286      4142415568       9/22/2011       15:23:29
26287      4142417296       4/18/2012       17:58:11
26288      4142431236       7/2/2012        15:35:04
26289      4142431568       10/20/2011      16:58:54
26290      4142432212       11/21/2011      8:39:58
26291      4142437385       8/22/2011       8:07:44
26292      4142483412       9/13/2011       14:10:56
26293      4142486561       11/14/2011      17:03:01
26294      4142541460       10/8/2011       12:24:41
26295      4142927314       6/11/2012       17:34:52
26296      4143030984       12/20/2011      15:05:21
26297      4143032475       10/1/2011       10:48:09
26298      4143032475       10/15/2011      10:53:45
26299      4143038310       9/20/2011       20:35:27
26300      4143064383       12/14/2011      17:54:12
26301      4143064925       10/10/2011      11:51:10
26302      4143087154       10/16/2012      20:26:45
26303      4143134205       4/24/2012       11:56:50
26304      4143134205       5/21/2012       8:18:08
26305      4143152697       11/16/2011      19:54:09
26306      4143159988       6/29/2011       17:39:44
26307      4143224196       10/21/2011      13:34:13
26308      4143229726       10/10/2011      12:48:17
26309      4143240649       4/1/2012        17:10:10
26310      4143240649       4/4/2012        18:45:07
26311      4143243421       11/15/2011      16:22:15
26312      4143246215       8/1/2012        8:35:23
26313      4143249708       11/11/2011      13:15:13
26314      4143249708       11/16/2011      19:53:04
26315      4143265212       11/14/2011      17:29:53
26316      4143265212       1/10/2012       18:14:32
26317      4143266955       4/6/2012        16:14:52
26318      4143267625       9/8/2011        19:50:42
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26319      4143312168       9/20/2011       20:45:38
26320      4143312280       6/9/2012        15:11:35
26321      4143312736       12/29/2011      14:24:32
26322      4143318027       10/24/2012      15:24:49
26323      4143335783       7/28/2012       8:47:35
26324      4143350869       12/7/2011       14:50:48
26325      4143352291       5/12/2012       8:49:29
26326      4143356364       12/20/2011      17:50:42
26327      4143368063       8/31/2011       10:47:36
26328      4143395008       10/27/2011      16:43:07
26329      4143399881       2/20/2012       17:08:45
26330      4143436687       10/10/2012      19:22:34
26331      4143500136       9/21/2012       15:55:30
26332      4143502526       9/26/2011       9:31:57
26333      4143505986       8/16/2012       9:31:18
26334      4143661026       1/3/2012        19:50:19
26335      4143801287       10/8/2011       9:49:26
26336      4143806995       9/28/2012       16:57:31
26337      4143973902       3/29/2012       16:46:29
26338      4143973902       4/11/2012       12:59:27
26339      4143976012       5/4/2012        14:53:31
26340      4143976619       7/26/2012       11:55:57
26341      4144064664       8/16/2011       18:00:48
26342      4144160015       9/24/2011       9:45:15
26343      4144166693       8/2/2011        17:14:16
26344      4144167374       2/21/2012       20:54:32
26345      4144168650       5/28/2012       8:50:10
26346      4144190163       12/21/2011      19:53:49
26347      4144191046       4/10/2012       16:03:48
26348      4144191068       7/7/2012        10:26:34
26349      4144192169       11/28/2011      17:02:55
26350      4144193151       3/13/2012       12:48:33
26351      4144193151       5/21/2012       8:18:32
26352      4144193256       2/9/2012        20:34:50
26353      4144198151       11/16/2011      9:49:38
26354      4144199492       3/27/2012       19:27:52
26355      4144267874       4/26/2011       20:00:45
26356      4144299858       5/23/2012       15:19:24
26357      4144606781       1/3/2012        19:43:50
26358      4144609522       7/21/2012       10:14:57
26359      4144673904       3/26/2012       18:27:44
26360      4144677719       12/20/2011      9:20:42
26361      4144679396       11/5/2011       10:14:22
26362      4144679396       2/6/2012        17:19:34
26363      4144695509       12/3/2011       10:01:44
26364      4144698113       12/23/2011      16:00:43
26365      4144778145       6/15/2012       8:37:40
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26366      4144778547       3/24/2012       10:27:05
26367      4144911308       6/30/2012       8:10:05
26368      4144917022       3/12/2012       11:08:31
26369      4144917022       5/21/2012       8:16:57
26370      4145026432       11/8/2011       14:27:04
26371      4145105805       5/16/2011       20:27:14
26372      4145109120       11/17/2011      16:55:20
26373      4145172586       11/28/2011      12:05:19
26374      4145178295       3/25/2012       12:03:46
26375      4145194485       12/17/2011      12:06:08
26376      4145199580       1/3/2012        19:47:01
26377      4145268050       8/2/2012        11:37:11
26378      4145301148       11/18/2011      13:24:44
26379      4145301319       3/20/2012       9:19:45
26380      4145311775       10/24/2011      8:12:50
26381      4145346688       3/28/2012       18:25:01
26382      4145441338       4/20/2012       20:52:33
26383      4145447727       3/20/2012       17:40:55
26384      4145503012       5/23/2012       14:59:18
26385      4145505920       5/26/2012       14:37:27
26386      4145507775       12/23/2011      15:51:55
26387      4145508617       5/9/2011        17:18:08
26388      4145513564       11/23/2011      10:28:07
26389      4145517101       11/28/2011      16:56:44
26390      4145518204       7/13/2012       13:59:17
26391      4145521738       3/12/2012       11:21:25
26392      4145525100       2/17/2012       9:32:05
26393      4145528027       12/5/2011       8:46:03
26394      4145530969       10/5/2011       14:40:38
26395      4145545114       9/7/2012        15:43:40
26396      4145736462       9/9/2011        18:23:06
26397      4145780325       11/8/2011       14:29:04
26398      4145787424       9/4/2012        16:09:06
26399      4145871000       3/14/2012       14:17:07
26400      4145871914       11/11/2011      20:02:53
26401      4145880672       10/19/2011      15:30:33
26402      4145881823       12/5/2011       8:46:27
26403      4145882345       3/26/2012       18:44:50
26404      4145887932       10/1/2011       10:41:46
26405      4146101671       1/7/2012        10:17:52
26406      4146101877       10/11/2012      12:09:12
26407      4146176980       10/5/2012       12:18:10
26408      4146177951       8/30/2012       17:43:54
26409      4146250282       1/14/2012       13:28:48
26410      4146280056       9/27/2011       18:49:09
26411      4146306310       10/12/2011      8:01:26
26412      4146400327       9/8/2011        19:50:56
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26413      4146400634       7/12/2012       13:19:07
26414      4146401175       5/31/2012       15:13:50
26415      4146401519       8/29/2012       20:21:39
26416      4146406402       9/14/2011       10:06:52
26417      4146408557       9/24/2011       9:47:32
26418      4146510478       6/5/2012        17:48:55
26419      4146593115       5/10/2012       16:08:56
26420      4146711226       10/8/2011       10:08:16
26421      4146874404       12/30/2011      9:04:04
26422      4146876076       8/13/2012       8:36:31
26423      4146877773       2/10/2012       16:49:46
26424      4146877773       2/21/2012       9:44:37
26425      4146883462       9/22/2011       15:20:22
26426      4146988084       9/27/2012       13:22:59
26427      4147043487       6/6/2012        14:01:24
26428      4147089218       5/21/2012       8:01:08
26429      4147122226       12/27/2011      14:35:15
26430      4147126701       10/9/2012       11:40:41
26431      4147216487       8/19/2012       11:52:30
26432      4147216487       10/2/2012       8:36:39
26433      4147310027       11/29/2011      15:41:23
26434      4147314090       10/6/2011       17:46:57
26435      4147321898       12/14/2011      18:03:38
26436      4147364941       1/25/2012       20:31:11
26437      4147364941       3/29/2012       12:52:37
26438      4147365267       9/12/2011       13:33:00
26439      4147366170       3/17/2012       8:55:48
26440      4147371533       1/3/2012        11:18:58
26441      4147456459       3/23/2012       19:41:46
26442      4147457915       8/26/2011       17:49:56
26443      4147458027       6/9/2012        11:02:22
26444      4147503448       9/27/2012       16:24:40
26445      4147507212       9/9/2011        18:25:04
26446      4147559702       9/26/2011       9:43:52
26447      4147559702       11/7/2011       9:22:30
26448      4147580552       2/28/2012       16:19:09
26449      4147587269       11/5/2011       10:55:47
26450      4147588024       10/1/2011       9:52:48
26451      4147598719       4/24/2012       11:57:43
26452      4147793486       1/25/2012       9:18:52
26453      4147793486       5/21/2012       8:02:04
26454      4147793928       9/19/2011       19:30:54
26455      4147794812       2/2/2012        10:59:30
26456      4147794812       3/13/2012       11:21:16
26457      4147799631       11/16/2011      8:30:49
26458      4147882242       11/4/2011       9:12:29
26459      4147930561       3/23/2012       14:24:58
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26460      4147933838       11/15/2011      20:18:41
26461      4147950703       9/19/2011       8:04:48
26462      4147955035       10/17/2011      8:35:27
26463      4148032896       10/7/2011       8:13:23
26464      4148038237       2/7/2012        8:06:09
26465      4148039995       11/23/2011      14:57:56
26466      4148079175       10/20/2011      15:45:23
26467      4148370408       2/28/2012       16:16:48
26468      4148417132       12/3/2011       10:20:31
26469      4148617504       12/18/2011      16:17:19
26470      4148700326       11/2/2011       20:20:20
26471      4148813600       10/16/2012      20:32:06
26472      4148818340       11/10/2011      17:25:34
26473      4148992811       12/7/2011       14:17:13
26474      4149157725       12/7/2011       18:04:07
26475      4149158601       10/10/2011      12:36:33
26476      4149158601       10/24/2011      8:03:23
26477      4149158601       1/17/2012       17:02:49
26478      4149400812       9/8/2011        19:31:45
26479      4149406007       9/20/2011       20:30:34
26480      4149407846       11/22/2011      18:48:11
26481      4149409977       11/8/2011       13:55:32
26482      4149756715       1/23/2012       8:34:30
26483      4149758590       10/5/2011       14:42:30
26484      4152008332       8/20/2012       21:31:22
26485      4152030683       12/10/2011      14:05:12
26486      4152030683       5/8/2012        21:07:40
26487      4152163235       10/13/2011      10:31:19
26488      4152166008       12/2/2011       15:13:00
26489      4152255225       7/17/2012       12:31:55
26490      4152255946       8/1/2011        19:29:21
26491      4152402806       4/16/2012       16:09:54
26492      4152403485       5/9/2012        21:03:22
26493      4152405866       10/14/2011      13:37:54
26494      4152407841       3/18/2011       12:03:06
26495      4152408448       5/19/2012       11:02:15
26496      4152449344       12/29/2011      10:52:14
26497      4152486041       11/7/2011       11:00:55
26498      4152503755       5/18/2012       15:51:33
26499      4152542740       9/29/2011       15:57:30
26500      4152543317       10/6/2011       17:03:40
26501      4152546407       7/27/2012       21:53:22
26502      4152611241       2/20/2012       14:01:12
26503      4152693889       2/1/2012        13:36:20
26504      4152712124       4/16/2012       15:54:02
26505      4152714891       5/3/2012        21:16:06
26506      4152714891       5/15/2012       19:11:20
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26507      4152716062       8/22/2012       21:44:57
26508      4152797726       11/4/2011       10:33:11
26509      4152797964       3/12/2012       11:16:55
26510      4152838650       12/12/2011      12:35:30
26511      4152862884       7/18/2012       18:27:41
26512      4152864533       6/26/2012       16:20:36
26513      4152900660       9/20/2011       20:40:47
26514      4152982345       8/1/2012        20:14:24
26515      4153050272       10/13/2011      10:35:20
26516      4153056077       12/30/2011      12:54:54
26517      4153061390       12/11/2011      12:27:40
26518      4153061390       12/29/2011      10:51:27
26519      4153074912       6/29/2012       10:58:18
26520      4153089354       9/13/2011       17:08:01
26521      4153097720       4/13/2012       13:49:27
26522      4153105264       7/12/2011       12:33:11
26523      4153125909       2/6/2012        10:19:35
26524      4153172990       4/30/2012       21:03:23
26525      4153172990       5/22/2012       18:23:51
26526      4153284713       5/13/2011       11:52:02
26527      4153363137       9/8/2011        19:15:35
26528      4153367894       1/6/2012        20:58:27
26529      4153491126       2/20/2012       16:59:21
26530      4153681176       11/26/2011      13:55:11
26531      4153684171       4/29/2012       17:58:34
26532      4153685673       11/2/2011       14:30:58
26533      4153704323       9/28/2012       16:45:51
26534      4153738271       1/20/2012       20:36:39
26535      4153741035       9/28/2012       14:33:02
26536      4153741699       10/3/2012       10:26:31
26537      4153744209       12/14/2011      17:55:30
26538      4153746255       9/26/2011       13:30:42
26539      4153746255       11/12/2011      10:01:45
26540      4153770439       9/21/2012       15:32:02
26541      4153775458       9/28/2011       10:40:24
26542      4153786605       9/19/2011       19:13:51
26543      4153789006       7/16/2012       19:42:21
26544      4154101239       8/3/2012        16:33:11
26545      4154101464       5/4/2012        14:14:49
26546      4154106842       4/21/2011       13:44:55
26547      4154107195       9/10/2011       12:35:54
26548      4154108972       2/1/2012        18:45:04
26549      4154125351       11/25/2011      17:57:13
26550      4154240102       10/20/2011      16:39:35
26551      4154245367       7/26/2012       19:26:31
26552      4154245759       2/15/2012       14:06:58
26553      4154247269       3/28/2012       12:38:37
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26554      4154247269       4/13/2012       13:42:56
26555      4154255835       9/17/2011       10:32:00
26556      4154501445       1/25/2012       20:40:43
26557      4154887258       1/17/2012       18:40:17
26558      4155045587       7/24/2012       14:49:15
26559      4155051715       1/11/2012       11:00:38
26560      4155162231       5/26/2012       10:05:38
26561      4155173346       9/14/2012       21:09:29
26562      4155174185       12/17/2011      12:19:29
26563      4155195714       7/18/2012       14:49:48
26564      4155199959       9/30/2011       10:11:34
26565      4155250748       7/12/2012       13:18:48
26566      4155251853       1/18/2012       21:23:17
26567      4155252348       7/31/2012       15:38:39
26568      4155327187       10/4/2011       14:00:35
26569      4155329110       1/18/2012       21:24:24
26570      4155338072       3/19/2012       11:50:49
26571      4155590645       9/19/2011       19:37:23
26572      4155592645       7/20/2012       11:28:23
26573      4155710143       10/12/2011      12:03:38
26574      4155711498       3/7/2012        10:05:14
26575      4155715881       10/3/2011       10:44:54
26576      4155719951       8/2/2012        18:51:26
26577      4155727835       10/7/2011       10:19:49
26578      4155735345       2/18/2012       10:15:27
26579      4155736070       1/6/2012        14:55:26
26580      4155738832       9/22/2011       15:33:51
26581      4155749565       5/8/2012        21:06:05
26582      4155771856       10/8/2011       12:34:05
26583      4155778253       6/20/2011       14:22:59
26584      4155950373       1/9/2012        18:48:51
26585      4155954942       12/23/2011      15:16:08
26586      4155966692       10/17/2012      18:38:20
26587      4155968236       9/17/2011       10:05:48
26588      4156062075       9/30/2011       10:27:06
26589      4156083131       12/15/2011      10:16:42
26590      4156135191       8/7/2012        20:19:37
26591      4156234217       3/2/2012        19:05:34
26592      4156278177       11/19/2011      10:40:40
26593      4156371064       7/11/2011       12:33:52
26594      4156376503       3/15/2012       13:48:36
26595      4156406365       11/19/2011      10:36:54
26596      4156453807       10/9/2012       20:02:27
26597      4156520053       2/16/2012       11:25:35
26598      4156566817       6/12/2012       17:15:44
26599      4156724936       11/16/2011      11:00:16
26600      4156727447       9/9/2011        18:10:12
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26601      4156780742       11/15/2011      16:39:44
26602      4156780742       11/28/2011      11:35:26
26603      4156780973       10/8/2011       12:16:32
26604      4156786410       5/5/2012        12:25:37
26605      4156800193       1/6/2012        14:45:34
26606      4156804855       1/20/2012       11:54:04
26607      4156806264       9/13/2011       13:43:28
26608      4156806264       9/29/2011       15:28:30
26609      4156842746       8/24/2013       12:55:02
26610      4156842746       8/25/2013       14:00:20
26611      4156845887       2/14/2012       10:09:16
26612      4156859610       3/13/2012       18:54:13
26613      4156865410       3/13/2012       18:53:00
26614      4156869510       12/28/2011      20:48:34
26615      4156915469       10/24/2011      14:37:00
26616      4156954940       10/6/2011       18:04:00
26617      4156995540       6/12/2012       17:08:51
26618      4156999747       9/30/2011       12:42:51
26619      4157027377       12/29/2011      19:07:37
26620      4157060046       12/21/2011      10:06:36
26621      4157104170       3/19/2012       12:06:38
26622      4157104970       10/6/2011       16:48:32
26623      4157172195       11/7/2011       11:07:36
26624      4157176475       5/13/2012       18:10:46
26625      4157226844       9/23/2011       18:40:14
26626      4157242234       1/25/2012       18:21:58
26627      4157243013       5/2/2012        21:06:53
26628      4157244081       5/23/2012       15:29:12
26629      4157244188       1/10/2012       15:40:27
26630      4157244965       5/15/2012       11:11:01
26631      4157246233       7/9/2012        19:03:38
26632      4157247652       10/21/2011      12:52:24
26633      4157249004       4/12/2012       18:31:27
26634      4157403335       10/6/2011       17:07:37
26635      4157476171       2/11/2012       15:20:21
26636      4157481229       6/14/2012       16:00:05
26637      4157484373       9/29/2011       15:59:55
26638      4157562924       1/23/2012       19:04:39
26639      4157563955       9/22/2012       12:17:45
26640      4157564430       11/12/2011      11:00:55
26641      4157565181       8/16/2011       17:06:27
26642      4157565438       5/6/2012        20:25:54
26643      4157565934       6/1/2011        12:21:40
26644      4157566703       2/28/2012       15:56:22
26645      4157567719       3/27/2012       15:08:17
26646      4157568241       4/4/2011        14:48:29
26647      4157605810       9/28/2012       16:45:31
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26648      4157861126       10/17/2011      11:01:26
26649      4157930791       11/18/2011      13:26:27
26650      4157941277       11/18/2011      13:12:10
26651      4158102302       9/27/2012       13:23:31
26652      4158102424       3/23/2012       19:42:55
26653      4158121892       9/14/2011       21:34:50
26654      4158122007       11/12/2011      11:06:02
26655      4158122545       10/23/2012      16:02:20
26656      4158126851       12/10/2011      12:31:04
26657      4158232840       8/6/2011        12:45:07
26658      4158271936       3/21/2012       18:35:52
26659      4158278617       5/26/2012       14:28:32
26660      4158378387       10/24/2011      15:01:28
26661      4158452123       2/7/2012        20:26:56
26662      4158458026       10/3/2011       10:46:24
26663      4158458026       10/6/2011       17:03:52
26664      4158473203       10/10/2011      12:58:50
26665      4158601716       7/3/2012        19:38:53
26666      4158750109       12/28/2011      11:11:33
26667      4158899348       11/10/2011      15:00:17
26668      4158958085       11/7/2011       11:13:10
26669      4159130259       7/26/2012       12:20:54
26670      4159130334       11/16/2011      10:14:51
26671      4159130334       6/25/2012       13:52:02
26672      4159331318       11/2/2011       14:09:55
26673      4159332616       9/28/2012       16:43:39
26674      4159469260       11/29/2011      15:18:44
26675      4159486456       10/15/2012      10:02:16
26676      4159948214       9/20/2011       17:08:03
26677      4159948214       10/10/2011      11:34:53
26678      4159998221       10/4/2011       13:29:36
26679      4172073826       12/26/2011      20:26:06
26680      4172078220       10/5/2012       18:25:04
26681      4172086743       5/14/2012       8:14:00
26682      4172087720       7/19/2012       17:37:55
26683      4172087720       7/26/2012       19:15:37
26684      4172147094       8/15/2012       12:26:52
26685      4172178225       8/1/2011        19:40:54
26686      4172241499       7/26/2012       19:15:37
26687      4172245543       12/29/2011      14:07:31
26688      4172250523       9/20/2011       20:35:07
26689      4172252424       2/15/2012       8:04:06
26690      4172252608       9/21/2012       18:45:14
26691      4172290927       10/26/2011      13:06:58
26692      4172301385       5/9/2011        17:05:34
26693      4172307012       12/18/2011      17:46:20
26694      4172316868       2/10/2012       20:33:59
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26695      4172348054       12/23/2011      15:02:32
26696      4172394134       9/30/2011       10:06:02
26697      4172410697       12/7/2011       14:09:14
26698      4172412555       9/12/2011       14:18:20
26699      4172419516       3/14/2011       17:17:54
26700      4172471124       6/19/2012       15:37:07
26701      4172471336       11/10/2011      8:06:01
26702      4172471622       12/5/2011       9:27:11
26703      4172472268       9/20/2011       16:52:20
26704      4172480044       9/10/2011       8:35:38
26705      4172490018       12/5/2011       9:34:29
26706      4172520190       3/7/2012        18:41:39
26707      4172523261       2/10/2012       20:39:52
26708      4172524600       8/29/2012       11:11:08
26709      4172553952       11/23/2011      9:49:19
26710      4172556744       5/19/2012       16:07:27
26711      4172590701       2/6/2012        9:58:10
26712      4172591091       11/16/2011      8:02:47
26713      4172601102       9/24/2012       12:54:56
26714      4172601634       9/22/2012       9:13:55
26715      4172601634       10/3/2012       19:57:23
26716      4172604276       6/9/2012        15:02:51
26717      4172604904       8/22/2012       11:12:56
26718      4172605976       2/21/2012       20:51:31
26719      4172680835       11/23/2011      14:42:58
26720      4172685118       9/8/2011        19:32:00
26721      4172700842       9/21/2011       19:30:10
26722      4172701986       9/13/2012       15:22:02
26723      4172706040       11/10/2011      8:06:09
26724      4172743464       5/8/2012        17:17:00
26725      4172746118       1/8/2012        13:21:46
26726      4172748447       8/6/2011        9:41:54
26727      4172769180       7/6/2012        19:39:09
26728      4172881369       2/10/2012       20:38:11
26729      4172888289       2/1/2012        18:40:00
26730      4172912490       9/8/2011        18:52:39
26731      4172930518       6/26/2012       16:20:13
26732      4172937008       2/29/2012       17:58:48
26733      4172940297       1/25/2012       9:19:47
26734      4172942268       2/16/2012       8:27:19
26735      4172960267       8/8/2012        16:18:08
26736      4172960854       9/22/2012       9:17:16
26737      4172964813       5/7/2012        8:17:51
26738      4172986094       12/7/2011       17:56:58
26739      4172998315       10/1/2011       10:40:55
26740      4173003050       9/13/2011       16:13:04
26741      4173090003       1/17/2012       18:46:05
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26742      4173091492       9/29/2012       9:50:35
26743      4173127424       9/24/2012       19:07:08
26744      4173154957       3/16/2012       11:14:16
26745      4173160785       10/22/2011      13:10:08
26746      4173161018       9/21/2011       19:30:14
26747      4173161083       3/27/2012       8:42:10
26748      4173163086       3/23/2012       14:43:49
26749      4173172211       10/22/2011      13:16:38
26750      4173172211       12/28/2011      18:25:29
26751      4173172632       11/23/2011      9:42:53
26752      4173172635       10/22/2011      12:40:25
26753      4173214039       3/12/2012       19:10:46
26754      4173214545       9/17/2011       10:18:52
26755      4173219114       10/13/2012      8:57:00
26756      4173421836       10/15/2012      10:07:28
26757      4173422707       10/16/2012      16:40:01
26758      4173427480       10/9/2012       20:03:35
26759      4173432132       7/14/2011       16:36:16
26760      4173432148       4/19/2012       14:45:54
26761      4173500185       10/25/2012      19:38:21
26762      4173500634       10/3/2011       8:10:44
26763      4173504062       10/9/2012       20:01:09
26764      4173538760       9/12/2012       14:57:19
26765      4173620377       12/29/2011      11:09:14
26766      4173653510       8/9/2012        14:18:05
26767      4173660393       11/19/2011      9:11:00
26768      4173720589       10/4/2011       13:23:10
26769      4173722695       7/15/2011       17:39:42
26770      4173793209       10/22/2011      13:09:25
26771      4173795614       9/19/2011       19:31:03
26772      4173796872       9/5/2012        15:25:41
26773      4173797274       10/16/2012      20:26:54
26774      4173804504       10/10/2012      12:44:10
26775      4173809556       8/31/2011       10:47:12
26776      4173857425       9/29/2011       15:49:12
26777      4173881805       8/29/2011       9:19:07
26778      4173885775       2/20/2012       16:52:34
26779      4173898503       12/21/2011      10:27:23
26780      4173939114       10/19/2011      12:14:45
26781      4173960094       7/27/2012       15:26:00
26782      4173962539       1/13/2012       8:02:42
26783      4173968362       2/10/2012       16:54:26
26784      4173991790       12/7/2011       13:22:20
26785      4173992985       2/28/2012       13:11:30
26786      4174139408       5/22/2012       11:23:46
26787      4174230648       9/22/2012       9:44:08
26788      4174250900       8/29/2011       9:18:40
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26789      4174251986       9/30/2011       10:21:48
26790      4174254709       9/7/2012        15:53:23
26791      4174293559       9/21/2012       18:48:34
26792      4174297720       7/24/2012       20:28:54
26793      4174297720       8/16/2012       19:58:32
26794      4174343917       5/12/2012       10:24:52
26795      4174343917       5/21/2012       7:33:17
26796      4174377785       9/14/2011       12:34:12
26797      4174383321       10/8/2011       11:12:35
26798      4174383321       11/1/2011       8:27:33
26799      4174383321       2/6/2012        16:46:39
26800      4174397579       8/2/2012        18:49:25
26801      4174400846       2/9/2012        20:31:01
26802      4174409311       10/7/2011       8:03:04
26803      4174592382       10/13/2012      9:11:14
26804      4174665142       11/23/2011      14:58:19
26805      4174832118       3/7/2012        18:31:04
26806      4174890301       10/23/2012      16:10:06
26807      4174894910       1/31/2012       10:03:24
26808      4174898751       3/11/2011       16:49:34
26809      4174960920       5/4/2012        18:11:37
26810      4174960920       6/23/2012       16:14:37
26811      4174990157       3/9/2012        15:47:35
26812      4174990550       8/14/2012       20:45:19
26813      4174990744       10/14/2011      13:24:33
26814      4174997131       7/20/2012       14:59:16
26815      4174999563       9/21/2012       15:55:13
26816      4175217847       3/7/2012        18:43:16
26817      4175218538       11/15/2011      15:46:33
26818      4175225806       8/29/2012       20:17:48
26819      4175226287       6/27/2012       12:21:09
26820      4175278060       10/10/2011      12:49:37
26821      4175290681       12/10/2011      14:29:03
26822      4175291558       5/4/2012        18:21:56
26823      4175292234       7/13/2012       14:04:26
26824      4175334595       9/29/2011       15:47:07
26825      4175360761       8/30/2012       9:43:44
26826      4175404469       6/23/2012       8:34:45
26827      4175405836       10/20/2011      16:24:01
26828      4175407830       2/3/2012        8:36:37
26829      4175432242       1/11/2012       8:59:36
26830      4175433433       9/12/2011       13:29:04
26831      4175451566       10/26/2011      12:09:39
26832      4175591404       2/28/2012       15:54:04
26833      4175595488       10/8/2011       11:46:10
26834      4175690679       10/17/2012      18:32:02
26835      4175693434       8/30/2011       17:25:31
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26836      4175698599       10/29/2011      11:36:27
26837      4175699253       3/31/2012       17:37:50
26838      4175699326       12/19/2011      8:19:14
26839      4175761788       9/9/2012        11:16:48
26840      4175765306       8/1/2012        8:29:11
26841      4175925565       12/5/2011       18:53:50
26842      4175937097       7/26/2012       12:19:22
26843      4175982145       5/4/2012        18:11:56
26844      4175982306       12/1/2011       15:25:09
26845      4175992069       1/3/2012        7:02:10
26846      4176164938       4/29/2012       17:44:54
26847      4176190533       9/26/2012       14:33:05
26848      4176193114       1/13/2012       8:05:11
26849      4176193114       6/16/2012       15:30:02
26850      4176193116       1/7/2012        9:37:34
26851      4176194369       4/10/2012       16:13:10
26852      4176194650       3/14/2012       19:38:54
26853      4176194864       8/31/2011       10:47:20
26854      4176196629       7/28/2012       9:02:15
26855      4176237875       9/14/2011       12:07:32
26856      4176311804       10/14/2011      13:26:53
26857      4176553580       1/13/2012       17:40:10
26858      4176586413       2/3/2012        8:42:27
26859      4176640786       10/4/2011       13:51:02
26860      4176691037       3/25/2011       8:47:28
26861      4176711465       9/4/2012        15:59:45
26862      4176711465       9/20/2012       8:45:52
26863      4176711465       10/10/2012      12:38:18
26864      4176741800       5/5/2011        13:23:02
26865      4176840882       2/7/2012        8:01:52
26866      4176841262       10/28/2011      13:34:56
26867      4176845992       10/12/2011      8:01:25
26868      4176893066       10/8/2011       9:59:39
26869      4176893766       10/1/2011       10:46:03
26870      4176894177       7/3/2012        12:23:58
26871      4176930968       11/15/2011      16:32:07
26872      4176932537       6/16/2012       8:52:42
26873      4176935777       10/29/2011      10:49:26
26874      4176991443       11/5/2011       11:19:13
26875      4176996413       9/26/2011       9:28:22
26876      4177124666       10/20/2011      17:35:09
26877      4177184338       4/15/2012       17:27:20
26878      4177184867       2/11/2012       15:11:22
26879      4177185534       10/14/2011      13:23:53
26880      4177186336       10/17/2012      18:37:36
26881      4177189123       10/17/2011      8:32:21
26882      4177630750       10/15/2012      16:20:49
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26883      4177662043       9/14/2011       12:36:29
26884      4177703359       6/20/2012       17:04:13
26885      4177738869       3/26/2012       18:48:06
26886      4177738869       4/1/2012        17:37:42
26887      4177738869       5/21/2012       8:03:09
26888      4177739335       10/10/2011      12:01:17
26889      4177739694       3/21/2012       13:49:10
26890      4177930458       10/6/2011       17:44:00
26891      4177930458       12/3/2011       10:14:14
26892      4178122179       12/5/2011       18:34:10
26893      4178184902       1/6/2012        14:52:28
26894      4178185164       10/12/2011      8:45:33
26895      4178251841       12/18/2011      17:15:45
26896      4178271895       6/9/2011        10:50:19
26897      4178273157       10/5/2011       14:47:15
26898      4178276018       8/31/2012       16:29:38
26899      4178278885       12/28/2011      8:39:50
26900      4178307943       3/10/2012       8:54:32
26901      4178404507       5/23/2012       14:47:30
26902      4178417838       11/30/2011      15:40:24
26903      4178465009       8/18/2011       8:39:59
26904      4178467389       10/10/2012      19:07:46
26905      4178487600       11/12/2011      9:31:23
26906      4178487601       1/18/2012       20:20:48
26907      4178496151       9/12/2011       14:23:14
26908      4178508513       12/19/2011      8:07:43
26909      4178508537       1/6/2012        14:41:26
26910      4178517285       11/15/2011      15:38:19
26911      4178550031       1/9/2012        18:13:40
26912      4178600349       1/25/2012       20:31:23
26913      4178603954       2/16/2012       8:27:22
26914      4178616055       3/12/2012       11:29:49
26915      4178618848       12/6/2011       14:39:35
26916      4178619483       10/18/2011      12:17:18
26917      4178809604       10/31/2011      8:14:36
26918      4179552870       7/23/2012       13:08:03
26919      4179879154       2/29/2012       17:50:16
26920      4179879730       2/29/2012       17:26:47
26921      4179885752       12/2/2011       8:29:54
26922      4179891211       8/2/2012        18:51:07
26923      4179891211       9/13/2012       15:17:10
26924      4192021521       7/15/2011       7:49:09
26925      4192024336       2/25/2012       10:49:58
26926      4192043450       5/28/2012       8:42:40
26927      4192054825       9/8/2012        11:20:36
26928      4192054825       10/23/2012      15:51:56
26929      4192058316       9/29/2011       15:04:05
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26930      4192063346       9/14/2012       7:10:24
26931      4192064472       5/21/2012       7:03:41
26932      4192066023       7/30/2012       13:46:53
26933      4192104662       1/11/2012       7:25:27
26934      4192155245       3/23/2012       14:53:37
26935      4192159367       11/22/2013      12:53:19
26936      4192170154       7/19/2012       17:37:12
26937      4192172990       4/28/2012       8:03:23
26938      4192172990       5/29/2012       17:09:33
26939      4192178284       4/7/2012        9:26:36
26940      4192246609       10/29/2011      10:38:18
26941      4192313678       10/4/2011       13:10:33
26942      4192331013       1/23/2012       7:13:34
26943      4192341692       4/30/2012       15:04:56
26944      4192351537       12/3/2011       9:00:42
26945      4192362920       8/8/2011        12:06:22
26946      4192391246       12/7/2011       13:53:14
26947      4192399774       8/18/2012       8:54:48
26948      4192458952       4/27/2012       7:46:21
26949      4192507192       8/8/2012        16:04:25
26950      4192602769       10/10/2012      12:59:24
26951      4192613003       9/28/2012       7:34:11
26952      4192625717       4/4/2012        18:37:02
26953      4192625717       5/21/2012       7:30:32
26954      4192666237       11/23/2011      14:37:16
26955      4192695411       2/26/2012       13:23:58
26956      4192714959       9/4/2012        16:04:13
26957      4192760018       2/2/2012        7:13:43
26958      4192772180       1/27/2012       9:34:00
26959      4192799460       11/4/2013       7:03:28
26960      4192833080       4/26/2012       13:41:31
26961      4192837667       9/25/2012       14:44:38
26962      4192901043       9/15/2012       8:04:24
26963      4192902866       1/12/2012       10:06:48
26964      4192909718       10/6/2011       17:23:27
26965      4192961929       10/1/2011       10:24:57
26966      4192964142       8/11/2011       9:22:31
26967      4192966837       5/14/2011       11:46:44
26968      4192971316       8/8/2011        14:57:55
26969      4192972684       11/26/2011      11:13:45
26970      4192977369       3/15/2012       19:04:53
26971      4193025161       3/30/2012       7:01:42
26972      4193030360       5/11/2012       12:13:49
26973      4193048766       2/25/2012       10:51:36
26974      4193058270       10/24/2011      8:05:30
26975      4193068512       5/17/2012       16:38:34
26976      4193068512       5/31/2012       14:58:52
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26977      4193077677       10/8/2011       9:27:21
26978      4193082091       8/19/2012       11:55:49
26979      4193092730       3/13/2012       18:36:27
26980      4193097549       10/24/2011      7:20:23
26981      4193103094       1/8/2012        12:50:26
26982      4193105213       9/17/2012       7:32:10
26983      4193109962       4/13/2012       13:31:49
26984      4193200964       10/12/2012      16:47:17
26985      4193202206       2/8/2012        7:46:55
26986      4193221255       10/10/2011      12:33:35
26987      4193221951       10/8/2012       7:13:11
26988      4193226352       3/7/2012        18:47:02
26989      4193290175       1/16/2012       17:09:04
26990      4193290175       2/13/2012       18:55:21
26991      4193410371       9/20/2012       7:03:09
26992      4193413892       4/26/2012       11:37:06
26993      4193415139       4/4/2012        18:47:06
26994      4193416789       5/18/2012       15:50:59
26995      4193436431       11/23/2011      9:09:57
26996      4193446176       2/22/2012       7:08:49
26997      4193463381       10/18/2011      12:55:46
26998      4193463381       11/15/2011      16:18:01
26999      4193463381       4/24/2012       18:09:37
27000      4193488817       5/25/2011       16:49:58
27001      4193508868       10/25/2011      16:08:28
27002      4193511872       10/24/2011      7:05:35
27003      4193515443       12/16/2011      16:26:03
27004      4193515443       5/4/2012        14:56:32
27005      4193563657       1/23/2012       7:16:06
27006      4193568244       6/18/2012       7:49:33
27007      4193601306       7/25/2011       16:25:45
27008      4193605185       7/22/2012       12:14:15
27009      4193660864       11/15/2011      16:48:47
27010      4193663092       3/31/2012       17:12:20
27011      4193674646       11/18/2011      12:35:54
27012      4193677675       1/29/2012       16:30:36
27013      4193710448       10/8/2011       11:21:20
27014      4193711969       11/2/2011       7:03:07
27015      4193717565       12/3/2011       9:08:21
27016      4193766832       11/18/2011      12:49:04
27017      4193773025       11/17/2011      16:18:27
27018      4193776832       12/31/2011      11:42:38
27019      4193778815       7/14/2012       8:17:24
27020      4193808966       9/13/2011       7:14:36
27021      4193814815       8/23/2012       11:45:10
27022      4193866007       3/22/2012       7:56:44
27023      4193869914       6/27/2012       12:12:26
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27024      4193881292       10/21/2011      12:21:10
27025      4193892958       9/7/2012        15:37:44
27026      4194070219       11/20/2011      11:06:48
27027      4194070219       5/5/2012        8:19:47
27028      4194070219       5/21/2012       7:06:45
27029      4194070277       11/7/2011       7:44:41
27030      4194070647       10/21/2011      13:12:35
27031      4194100247       6/23/2012       16:10:07
27032      4194104147       9/30/2011       9:56:05
27033      4194240971       10/12/2011      8:28:46
27034      4194385031       7/30/2012       18:40:52
27035      4194509799       7/18/2012       18:29:14
27036      4194602785       3/27/2012       7:04:12
27037      4194602785       5/17/2012       7:10:55
27038      4194637208       3/13/2012       18:39:14
27039      4194663596       9/19/2011       7:07:06
27040      4194664204       8/16/2012       19:52:20
27041      4194674009       11/19/2011      8:09:55
27042      4194767660       5/3/2012        7:06:29
27043      4194814119       11/16/2011      8:43:16
27044      4194901417       3/30/2012       7:10:14
27045      4194961078       5/19/2012       16:07:06
27046      4195081824       7/13/2012       11:16:10
27047      4195083812       11/26/2011      11:24:15
27048      4195087971       11/5/2011       10:57:13
27049      4195089896       6/28/2012       14:25:17
27050      4195090140       7/12/2012       19:51:35
27051      4195096612       3/13/2012       18:30:19
27052      4195098284       11/1/2011       7:58:39
27053      4195145517       6/26/2012       7:54:53
27054      4195146134       9/13/2011       17:30:01
27055      4195147367       10/22/2011      12:59:50
27056      4195161680       6/20/2012       7:56:27
27057      4195190347       11/22/2011      19:25:03
27058      4195439340       9/8/2012        11:05:45
27059      4195450435       2/13/2012       7:16:13
27060      4195496994       6/27/2012       19:50:57
27061      4195512378       10/5/2011       14:15:23
27062      4195516297       10/20/2011      16:35:22
27063      4195525129       11/17/2011      15:09:10
27064      4195571030       10/5/2011       14:00:09
27065      4195591690       5/11/2012       14:40:23
27066      4195591690       6/14/2012       16:18:27
27067      4195597228       1/17/2012       18:30:25
27068      4195598882       10/13/2012      8:51:14
27069      4195599035       3/12/2012       7:25:07
27070      4195605539       9/14/2012       7:04:40
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27071      4195606303       10/14/2012      15:11:02
27072      4195641336       3/15/2012       7:15:22
27073      4195649870       2/8/2012        7:38:47
27074      4195652712       1/10/2012       15:16:10
27075      4195655989       10/10/2011      11:38:56
27076      4195662277       12/7/2011       15:07:25
27077      4195662924       9/23/2011       18:59:14
27078      4195693160       12/12/2011      16:28:40
27079      4195695808       9/19/2011       7:22:52
27080      4195697815       10/8/2011       9:31:48
27081      4195697815       4/3/2012        10:11:46
27082      4195697815       6/19/2012       15:40:40
27083      4195718972       1/12/2012       7:09:04
27084      4195718972       5/21/2012       7:03:13
27085      4195742502       8/17/2011       19:10:43
27086      4195757087       9/3/2012        14:48:07
27087      4195758762       5/10/2012       16:08:16
27088      4195758762       5/15/2012       19:15:45
27089      4195811949       8/21/2012       13:48:14
27090      4196031973       1/13/2012       17:20:29
27091      4196033266       3/14/2012       19:40:34
27092      4196036592       5/8/2012        7:10:52
27093      4196036627       6/11/2012       17:47:12
27094      4196038558       6/5/2012        7:09:00
27095      4196038808       10/17/2011      7:14:11
27096      4196041133       1/6/2012        14:46:23
27097      4196052993       1/20/2012       14:30:18
27098      4196053302       6/1/2012        9:05:20
27099      4196063695       3/6/2012        16:55:58
27100      4196101875       11/25/2011      18:12:55
27101      4196103564       1/19/2012       18:35:44
27102      4196105233       11/22/2011      18:33:43
27103      4196105537       4/26/2012       13:36:25
27104      4196105547       10/31/2011      7:32:45
27105      4196109971       10/25/2011      16:01:52
27106      4196120660       9/19/2012       7:59:43
27107      4196122561       11/19/2011      8:11:04
27108      4196127523       8/18/2011       7:53:35
27109      4196150288       12/31/2011      11:43:06
27110      4196150288       3/16/2012       10:36:11
27111      4196178616       1/26/2012       7:17:59
27112      4196183519       6/19/2012       15:40:24
27113      4196187040       8/30/2012       17:39:49
27114      4196187147       6/9/2012        14:43:11
27115      4196187147       6/22/2012       7:14:22
27116      4196187147       6/27/2012       17:49:40
27117      4196190942       9/24/2012       19:06:24
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27118      4196193008       9/26/2011       8:24:26
27119      4196193008       12/20/2011      19:23:19
27120      4196194553       10/22/2011      12:32:07
27121      4196199248       8/6/2011        9:08:10
27122      4196303408       9/21/2012       15:35:44
27123      4196303408       9/28/2012       16:39:45
27124      4196310471       8/2/2012        11:36:22
27125      4196312996       10/1/2011       9:44:07
27126      4196313435       9/20/2011       18:03:55
27127      4196315078       11/28/2011      16:32:49
27128      4196319145       10/19/2012      9:46:08
27129      4196319366       2/9/2012        7:03:30
27130      4196319366       5/3/2012        7:02:24
27131      4196320220       7/11/2012       17:26:19
27132      4196513237       5/28/2012       8:45:49
27133      4196518660       4/5/2012        14:32:24
27134      4196519573       10/10/2011      12:28:28
27135      4196748236       4/21/2012       8:05:35
27136      4196773553       9/13/2011       7:06:25
27137      4196776478       1/17/2012       18:29:49
27138      4196810162       12/1/2011       15:37:43
27139      4196811457       7/12/2012       15:50:49
27140      4196812005       9/20/2011       16:31:52
27141      4196813156       10/11/2011      15:56:20
27142      4196814475       12/3/2011       9:11:22
27143      4196814873       3/7/2012        18:25:42
27144      4196815677       9/26/2011       8:20:21
27145      4196845106       11/14/2011      16:16:13
27146      4196850517       11/7/2011       7:22:18
27147      4196880906       11/30/2011      7:09:53
27148      4196881347       9/22/2011       15:59:14
27149      4196889725       12/5/2011       9:38:04
27150      4196892091       10/15/2011      9:14:40
27151      4196893415       12/5/2011       9:06:39
27152      4196990360       1/22/2014       14:15:47
27153      4196990614       10/15/2012      16:10:08
27154      4196995805       9/22/2011       15:01:01
27155      4196995806       10/8/2011       9:20:18
27156      4196999335       3/1/2012        8:42:15
27157      4197018746       11/28/2011      11:48:02
27158      4197046675       10/8/2012       7:11:51
27159      4197048037       9/26/2012       14:31:30
27160      4197049580       10/3/2011       7:26:57
27161      4197049580       10/11/2011      15:48:01
27162      4197053565       9/21/2011       11:48:12
27163      4197054091       10/29/2011      10:40:32
27164      4197060744       9/18/2012       14:15:43
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27165      4197062851       9/14/2011       16:08:25
27166      4197085095       9/8/2011        18:40:01
27167      4197094307       1/19/2012       7:16:23
27168      4197094307       2/10/2012       7:12:32
27169      4197212133       12/20/2011      19:19:16
27170      4197212133       1/18/2012       16:51:14
27171      4197213852       12/10/2011      12:38:56
27172      4197650516       3/10/2012       8:28:55
27173      4197670954       2/14/2012       9:41:37
27174      4197670954       3/6/2012        15:58:34
27175      4197719903       9/26/2011       7:58:09
27176      4197790339       7/17/2012       7:04:20
27177      4197868422       3/13/2012       18:34:42
27178      4197877071       11/15/2011      16:04:26
27179      4197878323       10/15/2012      16:11:32
27180      4197878732       5/8/2012        17:14:14
27181      4197880909       9/22/2012       9:26:26
27182      4197881692       1/3/2012        19:38:19
27183      4197881692       1/9/2012        7:01:48
27184      4197881692       2/17/2012       18:15:53
27185      4197881717       6/24/2011       11:55:55
27186      4197885611       12/3/2011       8:56:04
27187      4197890142       10/13/2012      9:04:09
27188      4197968574       10/15/2011      10:14:53
27189      4198100219       5/29/2012       7:06:57
27190      4198101193       7/18/2011       7:13:26
27191      4198102317       12/9/2011       15:48:47
27192      4198104381       2/17/2012       9:01:40
27193      4198105377       12/18/2011      16:31:43
27194      4198106919       6/28/2012       17:43:19
27195      4198345555       1/24/2012       10:00:40
27196      4198526192       6/14/2012       16:01:45
27197      4198526498       10/8/2011       9:54:46
27198      4198527761       2/28/2012       15:58:15
27199      4198529518       11/28/2011      16:34:44
27200      4198700339       6/16/2012       7:49:53
27201      4198700422       9/14/2011       16:05:56
27202      4198700492       6/14/2012       19:42:01
27203      4198701424       11/21/2011      7:28:31
27204      4198704558       4/16/2012       7:03:57
27205      4198704919       10/18/2011      7:13:59
27206      4198705135       3/25/2012       11:54:53
27207      4198707774       10/8/2011       9:44:07
27208      4198840622       7/5/2012        7:47:28
27209      4198899061       12/21/2013      8:11:37
27210      4199020263       3/16/2012       15:48:33
27211      4199028445       10/25/2011      15:58:30
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27212      4199029299       3/13/2012       7:08:11
27213      4199067315       12/18/2011      16:19:46
27214      4199088110       10/4/2011       13:15:07
27215      4199089032       12/22/2011      8:53:49
27216      4199139036       7/27/2012       12:28:06
27217      4199173465       4/5/2012        14:21:23
27218      4199174982       1/3/2012        7:03:19
27219      4199176880       12/29/2011      18:26:37
27220      4199177165       5/22/2012       11:42:07
27221      4199178020       12/6/2011       14:29:22
27222      4199178547       12/1/2011       8:12:22
27223      4199179017       3/24/2012       9:46:22
27224      4199179282       11/21/2011      7:27:04
27225      4199211461       9/26/2011       7:58:48
27226      4199321359       8/16/2012       19:45:00
27227      4199324756       9/8/2011        19:38:46
27228      4199360125       12/18/2011      17:59:01
27229      4199432793       4/21/2012       8:48:46
27230      4199443268       12/5/2011       9:53:08
27231      4199443638       1/25/2012       9:10:58
27232      4199443926       1/27/2012       17:54:42
27233      4199533418       10/5/2012       12:38:32
27234      4199534693       6/20/2012       16:57:23
27235      4199536084       11/21/2011      7:48:39
27236      4199538814       4/22/2012       15:07:09
27237      4199562512       9/24/2012       18:52:19
27238      4199570411       10/2/2012       8:39:42
27239      4199574902       5/18/2012       15:51:53
27240      4199575479       8/2/2012        18:48:56
27241      4199575741       4/7/2012        9:27:51
27242      4199615078       4/15/2012       16:44:17
27243      4199730042       11/21/2011      7:15:09
27244      4199892084       10/21/2011      13:00:37
27245      4232006138       7/2/2011        8:22:06
27246      4232008014       10/11/2012      11:58:40
27247      4232008098       4/21/2012       16:32:28
27248      4232010433       4/16/2012       7:15:39
27249      4232011243       3/7/2012        18:40:16
27250      4232133541       9/24/2011       9:32:35
27251      4232133787       9/8/2011        19:28:06
27252      4232139300       10/22/2011      12:19:54
27253      4232139572       12/9/2011       14:48:44
27254      4232151305       6/18/2012       15:17:29
27255      4232151331       7/3/2012        7:08:53
27256      4232152044       3/6/2012        12:56:51
27257      4232152761       9/9/2011        7:46:17
27258      4232153311       8/20/2011       9:51:11
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27259      4232154794       6/7/2011        17:49:59
27260      4232155375       9/7/2012        15:39:40
27261      4232179489       7/11/2012       9:29:17
27262      4232186375       10/1/2012       8:11:01
27263      4232209467       10/17/2012      18:34:02
27264      4232209676       7/14/2012       8:08:55
27265      4232230873       3/2/2012        7:06:52
27266      4232271467       1/31/2012       7:05:46
27267      4232272213       12/12/2011      16:32:36
27268      4232273944       1/24/2012       9:56:29
27269      4232277120       1/12/2012       14:03:03
27270      4232277922       10/19/2012      19:04:07
27271      4232318257       2/26/2012       13:15:03
27272      4232318835       5/11/2011       16:44:42
27273      4232319652       8/10/2011       7:08:41
27274      4232359274       6/9/2012        14:40:38
27275      4232371762       9/26/2011       8:24:26
27276      4232372789       12/27/2011      14:33:57
27277      4232379677       5/17/2012       7:09:13
27278      4232400679       3/14/2012       19:30:58
27279      4232400679       4/4/2012        7:14:58
27280      4232404145       9/6/2012        12:25:22
27281      4232404488       8/15/2012       7:57:20
27282      4232423462       2/14/2012       16:45:37
27283      4232436721       1/6/2012        14:38:48
27284      4232443703       7/11/2012       9:28:07
27285      4232443703       7/19/2012       7:51:21
27286      4232443703       9/27/2012       16:44:28
27287      4232445430       2/13/2012       18:27:16
27288      4232447256       11/14/2011      16:24:36
27289      4232447670       2/6/2012        16:44:52
27290      4232484046       8/25/2011       16:34:59
27291      4232484194       3/17/2012       8:25:05
27292      4232484590       7/14/2012       8:21:24
27293      4232484623       9/30/2011       10:15:43
27294      4232489118       11/30/2011      14:45:48
27295      4232527174       9/24/2012       13:06:05
27296      4232529285       1/17/2012       7:23:23
27297      4232534212       10/13/2012      8:50:35
27298      4232553080       10/8/2011       9:55:10
27299      4232555797       10/13/2011      7:25:35
27300      4232557260       10/6/2011       16:14:40
27301      4232586763       10/11/2011      16:47:21
27302      4232590066       1/27/2012       7:21:26
27303      4232590223       4/26/2012       8:00:08
27304      4232590223       5/1/2012        17:33:01
27305      4232601756       10/14/2013      8:42:14
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27306      4232770473       7/11/2011       7:09:50
27307      4232770710       9/26/2011       9:46:50
27308      4232771938       12/29/2011      9:59:32
27309      4232774051       10/22/2012      7:12:54
27310      4232774512       7/13/2012       16:49:25
27311      4232779573       8/3/2012        16:20:53
27312      4232806099       9/12/2011       14:12:44
27313      4232808921       9/27/2011       18:27:53
27314      4232840366       2/16/2012       7:16:42
27315      4232841865       7/20/2011       13:25:53
27316      4232843414       11/22/2011      19:27:31
27317      4232845599       11/18/2011      12:43:55
27318      4232849662       9/15/2012       8:03:29
27319      4232849845       6/16/2012       15:07:15
27320      4232852711       4/4/2012        18:33:52
27321      4232857036       12/6/2011       7:27:27
27322      4232908169       12/29/2011      19:16:52
27323      4232908169       3/10/2012       8:41:51
27324      4232908727       3/29/2012       11:13:10
27325      4232912133       5/24/2012       12:08:57
27326      4232922681       6/12/2012       7:14:56
27327      4232934105       7/20/2012       15:03:16
27328      4232939357       8/4/2012        8:11:00
27329      4232974588       2/21/2012       17:47:27
27330      4232974739       4/9/2012        18:06:32
27331      4232981443       7/19/2011       16:51:07
27332      4232987189       10/8/2011       9:16:13
27333      4233038570       11/2/2011       7:13:03
27334      4233044768       3/2/2012        18:53:33
27335      4233049591       6/18/2012       7:47:52
27336      4233058500       8/13/2012       8:37:37
27337      4233068000       9/9/2011        7:34:01
27338      4233073657       11/11/2011      14:34:59
27339      4233074122       7/26/2012       19:19:06
27340      4233092886       5/9/2012        7:34:17
27341      4233094595       8/15/2012       7:54:29
27342      4233101173       10/25/2012      19:33:29
27343      4233102211       10/19/2011      7:21:43
27344      4233120166       3/16/2012       16:00:23
27345      4233120433       9/27/2011       18:04:23
27346      4233125437       12/23/2011      15:42:37
27347      4233136969       9/14/2011       14:42:47
27348      4233139049       8/30/2012       17:41:10
27349      4233139293       4/12/2012       12:57:48
27350      4233140018       9/8/2011        19:26:37
27351      4233141934       11/12/2011      10:22:22
27352      4233146111       12/8/2011       12:38:46
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27353      4233146344       7/18/2011       7:13:29
27354      4233148171       9/28/2011       10:58:14
27355      4233150774       5/10/2012       14:53:58
27356      4233152156       11/15/2011      15:02:03
27357      4233152203       9/28/2011       10:28:16
27358      4233156182       12/7/2011       13:32:31
27359      4233156836       3/14/2012       7:14:32
27360      4233157626       6/9/2012        15:11:12
27361      4233159350       3/10/2011       16:36:26
27362      4233160335       11/19/2011      8:44:37
27363      4233163139       12/20/2011      19:20:50
27364      4233196641       3/28/2012       7:24:04
27365      4233196641       5/7/2012        7:09:37
27366      4233196976       12/7/2011       14:37:17
27367      4233202797       4/3/2012        16:05:47
27368      4233202848       9/24/2012       18:59:23
27369      4233202860       4/16/2012       7:02:19
27370      4233209086       8/19/2012       11:52:24
27371      4233209242       9/13/2011       13:49:26
27372      4233209606       9/12/2011       14:00:06
27373      4233264574       10/8/2011       10:49:27
27374      4233265886       7/11/2012       9:30:40
27375      4233291678       4/17/2012       9:28:44
27376      4233294057       10/10/2012      12:55:34
27377      4233304714       1/21/2012       8:27:04
27378      4233304795       8/11/2011       9:04:41
27379      4233310055       7/20/2011       13:34:22
27380      4233310871       3/16/2012       11:05:13
27381      4233312754       3/6/2012        15:41:36
27382      4233316879       10/2/2013       9:00:18
27383      4233318803       3/5/2012        7:08:09
27384      4233330029       2/17/2012       9:07:24
27385      4233336852       11/5/2011       11:04:55
27386      4233392783       9/27/2011       18:03:47
27387      4233417857       11/15/2011      15:13:01
27388      4233426517       9/26/2012       7:11:25
27389      4233427119       5/3/2012        7:13:03
27390      4233551107       11/12/2011      9:05:19
27391      4233552025       12/23/2011      13:46:11
27392      4233552119       12/12/2011      12:06:47
27393      4233552670       9/13/2011       14:57:35
27394      4233553055       7/14/2011       15:57:44
27395      4233553055       9/14/2011       16:19:49
27396      4233557191       10/4/2011       13:05:19
27397      4233557601       11/14/2011      16:11:34
27398      4233560050       5/15/2012       7:51:45
27399      4233560965       8/2/2012        18:54:41
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27400      4233620634       12/26/2011      20:28:48
27401      4233620933       5/5/2011        13:15:52
27402      4233664629       9/14/2012       7:01:02
27403      4233674012       1/6/2012        7:03:59
27404      4233674012       2/3/2012        7:02:48
27405      4233680357       10/17/2011      8:27:17
27406      4233680899       4/15/2012       16:48:48
27407      4233680899       5/16/2012       7:11:27
27408      4233681658       5/3/2012        7:11:07
27409      4233684742       8/4/2013        10:12:37
27410      4233711985       5/2/2014        10:51:13
27411      4233833808       9/20/2011       17:15:02
27412      4233834908       12/12/2011      12:15:42
27413      4233845750       10/19/2012      19:07:03
27414      4233888557       11/3/2011       17:46:37
27415      4233940565       9/10/2011       8:14:19
27416      4233941559       6/6/2012        13:49:32
27417      4233944985       1/9/2012        18:26:31
27418      4233945454       2/2/2012        7:05:13
27419      4233945938       7/18/2011       10:51:07
27420      4234005325       5/29/2012       14:28:16
27421      4234009175       10/5/2012       18:20:20
27422      4234041339       11/17/2011      16:20:55
27423      4234059089       11/12/2011      9:45:03
27424      4234246340       1/6/2012        21:01:04
27425      4234246979       10/25/2012      12:11:35
27426      4234260579       2/2/2012        7:15:25
27427      4234263683       5/21/2011       10:39:49
27428      4234266703       10/12/2011      11:47:18
27429      4234298428       7/2/2012        17:12:37
27430      4234320091       10/8/2011       9:20:08
27431      4234326248       9/16/2011       12:55:26
27432      4234326776       6/29/2012       17:47:53
27433      4234401894       2/11/2012       15:03:14
27434      4234435657       10/14/2011      13:26:57
27435      4234436047       8/29/2011       13:07:48
27436      4234436047       9/26/2011       8:35:52
27437      4234439321       9/29/2011       15:30:47
27438      4234570945       4/1/2012        16:01:58
27439      4234571083       11/19/2011      8:14:49
27440      4234571742       9/21/2011       19:28:30
27441      4234572540       5/13/2012       16:45:05
27442      4234573199       9/30/2011       9:55:17
27443      4234573936       6/22/2012       7:11:25
27444      4234631331       8/6/2012        15:45:41
27445      4234632155       4/6/2012        15:38:06
27446      4234640709       10/3/2011       7:29:00
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27447      4234641620       12/10/2011      12:38:49
27448      4234680884       1/3/2012        11:11:20
27449      4234701211       11/8/2011       14:13:30
27450      4234701278       10/24/2012      14:44:16
27451      4234708848       5/21/2012       7:21:41
27452      4234792775       11/19/2011      8:34:04
27453      4234833346       5/10/2012       14:55:01
27454      4234833346       10/18/2012      16:48:32
27455      4234833381       3/26/2012       18:19:00
27456      4234835006       7/16/2012       7:08:48
27457      4234835548       10/18/2012      16:33:10
27458      4234881873       10/6/2011       16:14:57
27459      4234883006       10/8/2011       11:21:57
27460      4234883032       9/17/2011       9:21:35
27461      4234885839       5/16/2012       7:04:36
27462      4234889661       3/29/2012       16:37:16
27463      4234891230       2/29/2012       17:41:55
27464      4234898052       1/12/2012       14:00:33
27465      4234898052       3/19/2012       19:17:35
27466      4234941602       1/20/2012       11:46:10
27467      4234941809       10/14/2011      13:18:55
27468      4234943101       6/9/2012        10:54:05
27469      4234946967       10/8/2011       9:32:28
27470      4234948522       1/27/2012       7:15:30
27471      4234949463       12/18/2011      16:22:43
27472      4235030529       4/5/2012        16:03:57
27473      4235030975       12/21/2011      11:21:18
27474      4235033953       12/29/2011      11:04:57
27475      4235036789       3/15/2012       7:08:05
27476      4235039875       4/9/2012        18:11:14
27477      4235041611       9/16/2011       14:11:14
27478      4235042336       11/3/2011       11:59:18
27479      4235042442       9/8/2011        19:24:10
27480      4235044201       7/14/2011       15:47:09
27481      4235052543       9/21/2011       11:40:04
27482      4235052573       11/17/2011      16:15:42
27483      4235053763       9/13/2011       17:21:16
27484      4235057618       10/10/2011      11:45:14
27485      4235060981       11/16/2011      9:20:02
27486      4235060981       1/13/2012       7:24:54
27487      4235060981       5/21/2012       7:23:42
27488      4235061288       10/8/2011       9:23:38
27489      4235061288       12/17/2011      11:23:01
27490      4235064171       4/11/2012       10:58:37
27491      4235089008       10/7/2012       12:49:48
27492      4235122382       5/10/2012       14:45:12
27493      4235190100       10/15/2012      16:09:40
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27494      4235193164       10/10/2011      11:36:18
27495      4235194403       12/8/2011       12:13:26
27496      4235194429       2/18/2012       8:55:46
27497      4235194695       9/21/2012       16:02:18
27498      4235195068       5/5/2012        8:13:33
27499      4235195527       3/20/2012       17:47:22
27500      4235197053       12/5/2011       18:26:09
27501      4235199219       9/24/2012       18:49:57
27502      4235250771       5/1/2012        17:40:46
27503      4235252444       7/6/2012        14:47:09
27504      4235252561       10/24/2012      14:56:30
27505      4235342167       9/8/2011        19:24:16
27506      4235368547       9/29/2011       15:38:32
27507      4235368788       10/17/2011      7:07:20
27508      4235390542       11/5/2011       9:29:34
27509      4235390569       11/23/2011      9:33:32
27510      4235390767       3/14/2012       14:31:47
27511      4235391320       12/21/2011      10:03:56
27512      4235440020       3/16/2012       10:40:36
27513      4235440873       11/23/2011      14:52:34
27514      4235440987       8/13/2011       11:36:37
27515      4235442370       5/2/2012        13:10:06
27516      4235443264       10/15/2011      9:59:12
27517      4235448580       12/30/2011      7:05:03
27518      4235449682       3/16/2012       10:22:37
27519      4235520155       11/29/2011      16:07:11
27520      4235521450       10/14/2011      13:17:16
27521      4235523407       10/6/2011       16:29:12
27522      4235526819       12/23/2011      14:59:12
27523      4235571925       5/11/2012       7:25:08
27524      4235573738       6/12/2012       17:11:07
27525      4235579062       3/19/2012       19:15:07
27526      4235579062       3/24/2012       9:59:39
27527      4235579062       8/9/2012        14:10:27
27528      4235780580       6/12/2012       17:11:55
27529      4235784230       8/4/2012        7:31:35
27530      4235792982       9/24/2012       13:00:50
27531      4235792982       10/2/2012       7:37:52
27532      4235796883       9/25/2012       14:40:34
27533      4235800743       10/3/2012       19:55:35
27534      4235801648       12/20/2011      11:41:30
27535      4235805236       4/10/2012       12:05:43
27536      4235805477       10/2/2012       12:49:25
27537      4235805494       10/10/2011      12:29:04
27538      4235808891       8/7/2012        19:45:37
27539      4235820665       8/25/2012       11:01:11
27540      4235920595       3/28/2012       16:59:05
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27541      4235937043       11/21/2011      7:24:22
27542      4235955421       7/11/2012       9:27:05
27543      4235956516       3/12/2012       7:15:10
27544      4235964063       9/15/2011       7:26:58
27545      4235965758       10/29/2011      11:33:05
27546      4235969910       11/20/2011      11:05:52
27547      4235980126       10/6/2011       16:33:40
27548      4235983807       1/16/2012       8:17:34
27549      4236051760       12/17/2011      12:02:33
27550      4236054194       10/28/2011      14:11:47
27551      4236057048       6/6/2011        17:19:43
27552      4236058103       6/14/2012       7:08:06
27553      4236082700       12/15/2011      8:34:17
27554      4236082868       10/26/2011      11:53:24
27555      4236083091       4/2/2012        7:18:52
27556      4236086786       5/15/2012       11:15:56
27557      4236086876       11/8/2011       14:10:38
27558      4236087466       10/1/2011       9:29:03
27559      4236088747       1/18/2012       16:35:22
27560      4236187115       5/7/2011        14:59:49
27561      4236191743       12/2/2011       15:03:29
27562      4236193373       10/5/2011       14:34:09
27563      4236194397       4/16/2012       7:19:32
27564      4236195036       1/11/2012       16:36:11
27565      4236195518       1/3/2012        10:58:53
27566      4236195571       5/7/2012        7:14:19
27567      4236198393       1/14/2012       13:21:44
27568      4236199898       3/3/2012        17:19:00
27569      4236207990       9/26/2011       7:49:55
27570      4236207990       1/8/2012        12:45:14
27571      4236311602       12/15/2011      8:17:04
27572      4236350629       3/21/2012       7:06:48
27573      4236350895       10/6/2011       17:19:20
27574      4236354861       10/17/2012      9:41:49
27575      4236358509       9/20/2011       15:14:18
27576      4236378216       4/18/2012       17:47:44
27577      4236378883       5/15/2012       18:57:37
27578      4236455584       9/13/2011       18:37:07
27579      4236455685       2/11/2012       15:04:34
27580      4236461560       1/18/2012       16:36:47
27581      4236478172       3/26/2012       7:14:38
27582      4236478175       10/11/2012      11:58:51
27583      4236501330       3/15/2012       19:25:30
27584      4236502494       4/29/2012       17:13:53
27585      4236503749       9/9/2011        7:48:14
27586      4236506329       8/8/2012        16:06:26
27587      4236506329       9/3/2012        14:31:05
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27588      4236506329       10/9/2012       19:59:49
27589      4236507764       12/7/2011       13:12:56
27590      4236508782       3/29/2012       11:25:25
27591      4236531291       1/16/2012       7:04:37
27592      4236531323       10/22/2012      17:48:23
27593      4236531503       4/21/2012       17:00:27
27594      4236532400       10/24/2011      7:06:18
27595      4236535802       4/2/2012        7:06:09
27596      4236538276       4/29/2014       10:52:48
27597      4236675057       9/20/2011       16:43:21
27598      4236933537       9/8/2012        11:07:53
27599      4237047121       10/16/2012      16:42:50
27600      4237048359       12/23/2011      15:25:24
27601      4237048618       10/17/2011      7:55:58
27602      4237075847       9/18/2012       14:22:28
27603      4237104711       7/21/2011       14:05:35
27604      4237154730       2/14/2012       16:36:26
27605      4237155136       12/17/2011      12:01:22
27606      4237158168       10/7/2011       7:14:29
27607      4237180866       4/1/2012        16:45:34
27608      4237181294       5/10/2011       19:26:18
27609      4237183021       6/21/2011       14:04:22
27610      4237184740       10/8/2011       11:31:16
27611      4237186046       9/27/2012       16:17:47
27612      4237186969       3/26/2012       7:13:15
27613      4237186969       5/21/2012       7:30:12
27614      4237186969       7/13/2012       18:33:10
27615      4237186972       9/20/2011       16:33:54
27616      4237215214       11/28/2011      11:13:35
27617      4237235219       10/15/2011      9:51:58
27618      4237360985       9/28/2012       16:53:03
27619      4237361587       9/29/2011       15:39:38
27620      4237366814       1/11/2012       7:31:37
27621      4237370694       12/1/2011       15:22:15
27622      4237372483       3/5/2014        7:03:24
27623      4237375300       3/22/2012       7:52:29
27624      4237378093       10/19/2011      7:22:10
27625      4237411915       8/10/2012       7:33:09
27626      4237412466       1/26/2012       7:27:22
27627      4237444779       9/26/2011       8:52:19
27628      4237457841       12/16/2011      15:59:50
27629      4237481494       12/14/2011      14:46:55
27630      4237486000       5/24/2012       7:05:57
27631      4237486695       7/13/2012       18:34:42
27632      4237542920       6/15/2012       8:56:14
27633      4237544254       6/26/2012       7:55:18
27634      4237545333       9/12/2011       12:58:31
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27635      4237549040       9/22/2011       15:07:48
27636      4237600477       10/21/2011      13:13:57
27637      4237601556       10/22/2011      12:27:03
27638      4237621478       12/20/2011      19:22:44
27639      4237622948       10/14/2011      12:42:04
27640      4237653921       7/21/2011       14:03:37
27641      4237743755       2/2/2012        7:05:38
27642      4237809382       2/16/2012       7:17:10
27643      4237884243       1/3/2012        7:05:38
27644      4237902054       2/25/2012       10:28:44
27645      4237902786       1/5/2012        11:59:20
27646      4237909793       6/30/2012       8:24:40
27647      4237910325       10/7/2011       7:07:59
27648      4237911080       10/4/2011       13:13:34
27649      4237947954       3/7/2012        7:11:50
27650      4237971260       11/22/2011      19:16:32
27651      4238028100       10/4/2011       13:05:17
27652      4238070810       1/2/2012        7:24:41
27653      4238171266       5/5/2012        8:07:18
27654      4238178741       12/1/2011       7:52:42
27655      4238238201       4/13/2012       13:32:32
27656      4238272693       6/26/2012       7:56:49
27657      4238272712       9/19/2011       19:29:03
27658      4238273563       7/27/2012       12:38:26
27659      4238274557       10/17/2012      18:30:14
27660      4238275250       10/20/2011      15:24:24
27661      4238275811       3/14/2012       7:13:04
27662      4238290336       10/25/2012      12:08:49
27663      4238331211       10/11/2011      16:24:53
27664      4238338234       3/6/2012        20:23:20
27665      4238343110       9/27/2012       16:25:51
27666      4238344783       8/15/2012       7:52:24
27667      4238361311       10/4/2011       13:31:25
27668      4238361438       10/14/2011      13:16:25
27669      4238363159       5/26/2012       14:14:25
27670      4238366709       11/9/2011       7:33:35
27671      4238368226       3/21/2012       13:40:19
27672      4238368441       2/13/2012       7:06:24
27673      4238380906       1/11/2012       7:48:57
27674      4238385290       10/19/2012      19:13:09
27675      4238388993       10/25/2011      16:48:40
27676      4238389114       10/29/2011      10:33:58
27677      4238389114       11/12/2011      10:09:56
27678      4238394111       7/16/2012       7:18:29
27679      4238395139       6/12/2012       17:10:30
27680      4238395142       6/9/2012        14:38:07
27681      4238631788       8/17/2011       18:39:21
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27682      4238631936       9/29/2011       15:38:33
27683      4238632451       11/9/2011       8:50:30
27684      4238635346       11/5/2011       9:10:40
27685      4238635496       3/13/2012       18:27:37
27686      4238635496       3/25/2012       11:43:08
27687      4238635496       5/21/2012       7:05:17
27688      4238635496       5/21/2012       7:29:42
27689      4238635496       5/28/2012       8:06:26
27690      4238636903       11/23/2011      14:33:56
27691      4238637895       5/10/2012       14:55:44
27692      4238830609       1/11/2012       16:29:45
27693      4238833886       12/12/2011      16:21:51
27694      4238837351       5/30/2012       16:56:57
27695      4238837351       7/5/2012        10:37:15
27696      4238950600       10/5/2011       14:08:30
27697      4238950755       9/18/2012       14:24:53
27698      4238951794       10/28/2011      14:08:44
27699      4238952619       9/8/2011        19:27:08
27700      4238952707       7/14/2012       8:00:13
27701      4238952968       3/20/2012       17:35:02
27702      4239021000       9/27/2012       7:44:02
27703      4239024523       4/30/2012       14:27:40
27704      4239026236       10/26/2011      12:37:26
27705      4239028610       9/27/2012       7:32:52
27706      4239037433       8/16/2011       17:29:24
27707      4239038650       8/3/2012        16:29:44
27708      4239072340       12/18/2011      17:32:57
27709      4239072727       9/26/2011       8:40:06
27710      4239120650       1/4/2012        11:18:14
27711      4239121321       2/17/2012       18:17:19
27712      4239121995       12/23/2011      14:30:20
27713      4239121995       1/11/2012       7:26:05
27714      4239125762       2/18/2012       8:33:03
27715      4239204688       9/8/2012        11:21:23
27716      4239204837       9/30/2011       10:16:08
27717      4239208367       9/19/2011       7:11:38
27718      4239230305       11/11/2011      13:38:04
27719      4239233543       4/5/2012        7:06:08
27720      4239235907       11/7/2011       8:00:55
27721      4239336061       1/20/2012       19:26:39
27722      4239434769       2/3/2012        7:07:39
27723      4239460347       8/29/2012       11:12:07
27724      4239464253       2/17/2012       9:08:45
27725      4239468486       3/28/2012       10:20:06
27726      4239468982       10/4/2011       13:34:33
27727      4239568507       9/24/2012       13:05:43
27728      4239570317       6/7/2011        17:49:53
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27729      4239571785       11/8/2011       14:22:35
27730      4239572155       2/14/2012       9:51:56
27731      4239631477       12/23/2011      14:30:14
27732      4239632499       9/28/2012       16:42:44
27733      4239635620       11/11/2011      14:34:40
27734      4239639247       8/18/2012       8:34:20
27735      4239671031       8/19/2011       12:18:36
27736      4239672663       7/27/2011       17:20:56
27737      4239677779       1/31/2012       7:09:34
27738      4239876641       8/13/2011       9:49:53
27739      4239914213       11/14/2011      14:35:24
27740      4239915435       11/14/2011      14:13:13
27741      4239948366       9/27/2011       15:31:01
27742      4239948987       7/26/2012       12:15:32
27743      4242001275       9/19/2012       16:24:49
27744      4242001479       10/8/2012       20:03:49
27745      4242001968       5/23/2011       16:24:04
27746      4242003603       9/26/2011       13:26:59
27747      4242003704       9/29/2012       10:08:51
27748      4242004771       12/24/2011      11:37:01
27749      4242005139       3/14/2012       19:48:20
27750      4242005984       9/21/2011       12:04:16
27751      4242007197       11/15/2011      20:17:26
27752      4242007388       2/1/2012        13:39:22
27753      4242009800       1/4/2012        11:35:45
27754      4242042889       9/14/2011       10:41:03
27755      4242052380       10/25/2011      16:42:04
27756      4242053677       11/2/2011       16:24:13
27757      4242063056       10/29/2011      11:03:50
27758      4242063589       10/20/2011      15:56:31
27759      4242070507       8/3/2012        16:33:19
27760      4242076018       9/27/2012       13:20:25
27761      4242078159       1/23/2012       19:03:40
27762      4242079857       5/9/2012        21:05:41
27763      4242152170       2/8/2012        12:55:44
27764      4242153247       10/13/2012      11:46:28
27765      4242158930       10/11/2011      16:39:03
27766      4242190257       10/25/2011      16:46:45
27767      4242194051       10/10/2011      12:58:47
27768      4242210644       4/15/2012       15:16:00
27769      4242210644       4/21/2012       16:52:59
27770      4242211064       9/16/2011       15:15:12
27771      4242213152       7/23/2012       15:36:14
27772      4242213891       3/14/2012       19:40:02
27773      4242213891       10/15/2012      16:28:29
27774      4242220356       6/23/2012       16:31:08
27775      4242220468       11/25/2011      18:01:09
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27776      4242226146       10/23/2012      16:11:46
27777      4242226565       10/6/2011       18:01:06
27778      4242226807       8/16/2012       14:30:23
27779      4242230040       12/26/2011      20:10:34
27780      4242232074       9/29/2012       10:02:55
27781      4242232074       10/9/2012       20:02:29
27782      4242238256       8/18/2011       11:03:19
27783      4242240599       10/24/2011      14:55:07
27784      4242240990       9/24/2011       10:05:16
27785      4242240990       6/6/2012        10:20:16
27786      4242241251       12/28/2011      20:47:47
27787      4242242072       2/25/2012       11:12:37
27788      4242242375       8/11/2011       15:39:24
27789      4242242582       6/6/2011        17:38:50
27790      4242243854       11/29/2011      15:18:53
27791      4242246488       11/18/2011      13:08:45
27792      4242248479       10/12/2011      11:40:36
27793      4242280216       6/13/2011       14:39:07
27794      4242280384       3/19/2012       19:26:24
27795      4242290348       2/28/2012       13:21:50
27796      4242324233       5/31/2012       15:14:54
27797      4242360209       9/1/2011        15:21:48
27798      4242370326       9/8/2011        19:54:50
27799      4242401626       4/20/2012       20:50:21
27800      4242402787       5/22/2012       18:48:36
27801      4242404901       12/5/2013       21:30:46
27802      4242415179       11/11/2011      14:36:48
27803      4242445758       9/28/2012       14:15:23
27804      4242460477       9/8/2012        11:13:44
27805      4242472050       9/23/2011       19:06:21
27806      4242490488       7/13/2012       18:50:52
27807      4242630425       9/6/2012        21:15:07
27808      4242630425       10/17/2012      18:32:29
27809      4242641325       12/21/2011      10:22:34
27810      4242644294       11/16/2011      10:55:38
27811      4242644886       9/15/2012       11:21:13
27812      4242647445       12/1/2011       10:25:00
27813      4242647632       3/13/2012       12:47:54
27814      4242648439       4/10/2012       21:59:01
27815      4242661544       9/24/2012       13:16:18
27816      4246038180       3/13/2012       18:59:06
27817      4246537862       3/21/2012       18:37:47
27818      4246669014       3/2/2012        18:52:54
27819      4246750850       1/5/2012        17:31:51
27820      4247316129       4/23/2012       20:37:23
27821      4247316560       3/21/2012       18:36:47
27822      4247447714       9/8/2011        19:36:39
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27823      4247447971       3/26/2012       18:32:29
27824      4247577044       4/12/2012       14:19:37
27825      4247577044       9/21/2012       16:12:36
27826      4247577121       5/9/2012        21:05:10
27827      4247577265       5/18/2012       11:45:00
27828      4247577762       6/1/2011        12:25:01
27829      4247890247       4/26/2012       21:18:26
27830      4247893298       9/26/2011       13:25:17
27831      4248320032       3/28/2012       12:38:52
27832      4252076242       8/8/2011        13:19:33
27833      4252107545       4/20/2012       13:48:29
27834      4252120376       9/27/2012       13:26:51
27835      4252128408       3/14/2012       19:38:30
27836      4252184390       2/3/2012        20:06:07
27837      4252186333       7/13/2012       12:12:49
27838      4252201269       11/21/2011      11:00:26
27839      4252319063       12/17/2011      11:41:20
27840      4252321222       12/29/2011      11:16:19
27841      4252466315       10/17/2011      10:34:52
27842      4252469862       6/4/2011        10:59:28
27843      4252692353       7/11/2012       15:56:07
27844      4252698379       6/12/2012       10:29:57
27845      4252731517       11/14/2011      17:44:19
27846      4252746946       4/21/2012       16:46:03
27847      4252746946       5/29/2012       17:16:02
27848      4252802917       10/8/2011       12:13:50
27849      4252839109       1/3/2012        15:25:10
27850      4253064769       3/6/2012        20:30:56
27851      4253080828       4/4/2012        14:00:26
27852      4253155639       4/26/2012       21:18:31
27853      4253182760       3/3/2012        10:40:49
27854      4253185241       7/31/2012       21:07:53
27855      4253185241       9/26/2012       17:11:58
27856      4253192374       12/31/2011      11:53:06
27857      4253299246       7/20/2012       11:20:48
27858      4253436651       1/19/2012       18:44:52
27859      4253443912       9/21/2011       11:37:06
27860      4253443912       10/28/2011      14:36:22
27861      4253449784       5/30/2012       17:00:24
27862      4253453863       10/12/2011      12:18:18
27863      4253454202       2/2/2012        21:00:19
27864      4253465151       5/29/2012       17:24:56
27865      4253466665       11/26/2011      12:07:06
27866      4253673790       3/7/2012        10:15:45
27867      4253774929       9/28/2012       14:17:08
27868      4254183828       3/29/2012       16:35:07
27869      4254188219       8/17/2011       19:19:23
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27870      4254220846       9/10/2012       10:22:14
27871      4254224232       4/20/2012       21:02:39
27872      4254227968       3/14/2012       14:13:55
27873      4254421914       3/1/2012        17:35:12
27874      4254430031       1/4/2012        11:28:23
27875      4254430118       4/12/2012       14:55:26
27876      4254430563       1/6/2012        13:01:28
27877      4254443066       1/23/2012       10:16:01
27878      4254460410       12/30/2011      12:46:09
27879      4254664005       12/21/2011      10:21:20
27880      4255122744       12/29/2011      19:39:34
27881      4255124266       9/1/2012        11:46:13
27882      4255306080       2/15/2012       21:04:28
27883      4255837255       11/25/2011      18:36:18
27884      4256382599       10/1/2011       10:10:31
27885      4256810331       2/1/2012        13:34:47
27886      4256818477       9/7/2011        14:53:39
27887      4257373690       1/16/2012       21:08:58
27888      4257600552       1/7/2012        10:34:11
27889      4257601764       9/21/2011       12:04:12
27890      4257704814       9/19/2012       21:28:57
27891      4258258188       10/6/2011       17:01:46
27892      4258305284       8/7/2012        17:56:51
27893      4258645573       11/17/2011      15:51:52
27894      4258701260       1/25/2012       18:28:25
27895      4258760655       4/25/2012       18:42:10
27896      4258763131       10/26/2011      12:00:11
27897      4258763131       12/14/2011      14:50:59
27898      4259311928       1/6/2012        14:43:15
27899      4259316899       5/12/2012       14:16:47
27900      4259884015       1/19/2012       10:18:05
27901      4259991544       12/9/2011       14:04:01
27902      4259991544       2/3/2012        20:12:24
27903      4302007638       9/16/2011       13:28:12
27904      4303425288       12/24/2011      8:03:03
27905      4303425290       1/3/2012        11:21:32
27906      4303429604       12/18/2011      16:09:25
27907      4322024287       10/20/2011      16:18:56
27908      4322024899       11/11/2011      19:59:05
27909      4322028568       11/11/2011      13:41:22
27910      4322070820       7/3/2012        13:24:55
27911      4322081398       9/19/2011       19:31:46
27912      4322082122       4/29/2011       20:26:50
27913      4322085503       10/8/2011       9:56:13
27914      4322088915       4/9/2012        13:37:24
27915      4322095972       1/27/2012       17:46:42
27916      4322097786       12/7/2013       20:17:40
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27917      4322100004       3/29/2012       11:18:59
27918      4322104656       5/23/2012       16:31:38
27919      4322121523       3/31/2012       17:58:09
27920      4322125015       12/24/2011      12:01:47
27921      4322138228       1/6/2012        12:20:58
27922      4322224100       8/2/2012        9:36:34
27923      4322224100       4/22/2014       8:50:50
27924      4322300657       9/20/2012       21:01:01
27925      4322301875       10/12/2011      8:15:53
27926      4322303703       5/1/2012        8:20:15
27927      4322307700       6/21/2011       14:03:27
27928      4322308254       8/9/2012        14:02:05
27929      4322353872       4/20/2012       20:58:26
27930      4322380164       12/17/2011      12:09:08
27931      4322384838       6/11/2012       18:06:32
27932      4322388523       9/28/2011       10:33:08
27933      4322490161       11/4/2011       8:56:56
27934      4322549779       4/3/2012        18:13:01
27935      4322601021       10/20/2011      15:49:30
27936      4322693015       9/5/2012        15:21:47
27937      4322695106       8/3/2012        16:31:49
27938      4322700417       5/30/2012       16:42:38
27939      4322703272       1/19/2012       8:02:42
27940      4322703776       9/28/2011       10:23:33
27941      4322705566       1/25/2012       9:23:09
27942      4322841828       8/19/2011       12:00:29
27943      4322887277       10/19/2011      12:21:11
27944      4322907991       1/10/2012       12:30:36
27945      4322940424       1/3/2012        11:19:44
27946      4322940424       3/7/2012        10:10:03
27947      4323363918       12/16/2011      16:30:50
27948      4323492145       10/23/2012      11:02:22
27949      4323521667       12/26/2011      20:15:43
27950      4323522379       12/18/2011      17:39:26
27951      4323524001       12/1/2011       8:08:55
27952      4323524807       9/19/2011       8:21:28
27953      4323605462       12/31/2011      12:10:09
27954      4323854365       10/29/2011      11:09:42
27955      4323854922       11/3/2011       18:00:36
27956      4323858047       10/9/2012       11:40:26
27957      4323858398       8/25/2011       18:11:24
27958      4323862904       8/27/2011       10:23:19
27959      4323866664       1/9/2012        8:22:12
27960      4323866664       2/21/2012       20:55:16
27961      4324250788       10/1/2011       10:44:16
27962      4324252510       9/29/2011       15:54:24
27963      4324254826       11/9/2011       8:06:29
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27964      4324382450       10/5/2011       14:39:56
27965      4324385309       7/12/2012       13:09:19
27966      4324385912       4/5/2012        14:26:10
27967      4324387254       9/21/2011       11:52:21
27968      4324480080       9/16/2011       14:38:28
27969      4324480268       10/28/2011      13:42:22
27970      4324481131       4/25/2012       9:46:39
27971      4324482522       11/17/2011      16:28:21
27972      4324487702       3/27/2012       8:41:10
27973      4324661366       7/11/2012       17:15:56
27974      4324663006       1/11/2012       8:55:14
27975      4324664566       10/10/2012      12:58:10
27976      4324888656       7/24/2012       14:37:34
27977      4325171152       8/6/2012        14:59:52
27978      4325172548       6/11/2012       18:16:00
27979      4325288970       9/17/2011       10:25:16
27980      4325309310       8/23/2011       19:09:34
27981      4325537855       4/21/2012       16:52:48
27982      4325561751       10/5/2011       14:11:11
27983      4325561974       9/8/2011        19:46:34
27984      4325565633       9/13/2011       13:32:16
27985      4325565746       9/23/2011       18:46:28
27986      4325567820       1/20/2012       11:30:56
27987      4325569933       6/19/2012       15:37:05
27988      4325991304       10/1/2011       9:52:19
27989      4325992200       11/4/2011       8:57:22
27990      4325992547       8/3/2011        11:41:49
27991      4325993504       7/13/2012       18:35:13
27992      4325994001       9/24/2012       18:53:20
27993      4325994018       1/16/2012       17:30:40
27994      4325995161       2/28/2012       13:11:27
27995      4325998200       10/20/2011      16:27:57
27996      4326341616       2/9/2012        20:36:08
27997      4326345579       9/20/2011       16:46:13
27998      4326389966       10/4/2011       13:20:11
27999      4326898258       1/9/2012        18:15:00
28000      4327704666       1/11/2012       9:00:01
28001      4327705587       11/19/2011      8:28:02
28002      4327705587       1/4/2012        11:24:43
28003      4327708208       11/10/2011      8:15:47
28004      4327708208       12/6/2011       13:33:06
28005      4327708208       4/9/2012        18:16:22
28006      4327881288       4/9/2012        18:15:45
28007      4328161947       9/16/2011       13:32:31
28008      4328162684       1/5/2012        14:09:10
28009      4328162979       9/21/2012       18:46:45
28010      4328163996       10/18/2011      12:24:07
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28011      4328167751       9/20/2011       16:45:33
28012      4328478484       2/10/2012       9:25:17
28013      4328534469       3/7/2012        18:31:43
28014      4328536499       10/20/2011      15:34:33
28015      4328536577       9/29/2011       15:47:50
28016      4328536577       1/13/2012       17:43:39
28017      4328539579       1/29/2012       18:13:31
28018      4328808992       12/17/2011      12:05:12
28019      4328891397       7/30/2012       13:38:02
28020      4328891397       8/20/2012       18:45:22
28021      4328895677       4/25/2012       16:16:25
28022      4328897274       8/31/2011       10:49:17
28023      4328940599       10/4/2011       13:23:25
28024      4328943389       4/6/2012        16:21:45
28025      4328946777       8/4/2012        8:04:45
28026      4329239250       4/20/2012       14:07:04
28027      4329243235       5/23/2011       16:06:42
28028      4329249241       10/27/2011      15:59:25
28029      4329249482       9/29/2011       9:45:27
28030      4329354144       3/13/2012       18:42:33
28031      4329404575       12/29/2011      19:29:35
28032      4329406690       9/15/2011       8:40:01
28033      4329781587       1/8/2012        13:18:07
28034      4329785559       11/8/2011       14:00:26
28035      4342029662       9/22/2012       9:32:58
28036      4342032172       3/2/2012        18:44:45
28037      4342036178       7/21/2012       10:35:35
28038      4342093487       3/15/2012       19:23:56
28039      4342106230       11/26/2011      12:25:52
28040      4342210139       3/21/2012       13:43:20
28041      4342211559       10/4/2011       13:12:31
28042      4342218997       10/1/2011       9:36:35
28043      4342221353       5/23/2012       16:41:59
28044      4342222368       10/1/2011       9:38:27
28045      4342225219       1/30/2014       7:55:42
28046      4342281979       5/5/2012        8:07:59
28047      4342283509       1/24/2012       17:17:55
28048      4342295931       3/21/2011       9:52:18
28049      4342297227       10/8/2011       11:04:17
28050      4342377605       1/4/2012        15:01:48
28051      4342382758       8/18/2012       8:34:47
28052      4342385907       9/21/2011       11:49:33
28053      4342392248       12/19/2011      7:37:49
28054      4342462472       12/21/2011      10:55:14
28055      4342479148       7/17/2012       7:04:53
28056      4342507954       11/18/2011      12:20:48
28057      4342509664       11/4/2011       7:14:46
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28058      4342510663       12/20/2011      9:30:22
28059      4342587294       12/29/2011      11:21:37
28060      4342587294       1/6/2012        14:35:25
28061      4342588543       2/18/2012       12:59:35
28062      4342629283       6/1/2011        11:55:12
28063      4342650748       12/18/2011      16:10:15
28064      4342941562       10/8/2011       11:00:49
28065      4342947936       9/15/2011       7:10:14
28066      4343153482       12/12/2011      12:04:30
28067      4343154471       5/9/2011        16:53:07
28068      4343164362       2/22/2012       7:02:22
28069      4343213842       12/27/2011      14:27:21
28070      4343266592       3/29/2012       17:18:56
28071      4343266592       7/28/2012       8:55:11
28072      4343278737       9/20/2012       7:08:33
28073      4343781258       2/28/2012       7:40:57
28074      4343786172       10/17/2011      7:53:38
28075      4343827492       1/21/2012       8:30:40
28076      4343828370       3/1/2012        8:33:18
28077      4343848051       9/26/2012       14:38:28
28078      4343909774       11/15/2011      15:28:48
28079      4343909774       12/11/2011      12:03:48
28080      4344011055       1/5/2012        12:00:24
28081      4344016090       10/19/2012      19:03:09
28082      4344016919       7/11/2011       7:19:54
28083      4344017669       12/16/2011      16:01:51
28084      4344094903       12/9/2011       7:49:18
28085      4344096085       10/19/2011      15:03:05
28086      4344144207       9/8/2012        11:07:51
28087      4344146554       10/26/2011      12:57:19
28088      4344148744       3/19/2012       19:15:39
28089      4344200422       3/16/2012       15:46:36
28090      4344203719       10/15/2012      9:48:57
28091      4344204220       9/21/2012       15:34:26
28092      4344205539       3/8/2012        9:44:59
28093      4344265262       10/18/2011      12:50:32
28094      4344265746       9/17/2012       7:41:55
28095      4344266034       5/12/2012       10:53:52
28096      4344268535       1/9/2012        18:08:36
28097      4344290198       3/17/2012       8:45:28
28098      4344290802       10/12/2011      8:00:37
28099      4344296761       9/29/2011       15:43:10
28100      4344299982       10/8/2011       10:55:18
28101      4344411549       10/6/2011       16:31:39
28102      4344440548       1/21/2012       8:29:04
28103      4344442759       4/10/2012       16:00:00
28104      4344446288       5/17/2012       16:32:55
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28105      4344466399       9/5/2012        7:11:00
28106      4344466399       10/2/2012       7:33:27
28107      4344466993       9/12/2012       7:45:55
28108      4344653349       5/20/2012       15:36:18
28109      4344701954       3/15/2012       7:11:47
28110      4344701954       3/21/2012       13:48:55
28111      4344701954       6/2/2012        13:00:46
28112      4344710232       8/18/2012       8:34:46
28113      4344711679       9/24/2012       19:00:35
28114      4344716162       9/21/2011       11:25:15
28115      4344718571       11/23/2011      14:31:01
28116      4344731004       8/2/2012        18:56:13
28117      4344734715       1/10/2012       15:10:51
28118      4344734715       3/2/2012        18:46:59
28119      4344735281       2/28/2012       15:58:05
28120      4344802692       12/15/2011      8:28:29
28121      4344853062       6/28/2012       7:05:00
28122      4344859176       2/17/2012       9:08:54
28123      4344859855       9/19/2011       7:15:03
28124      4344859855       11/4/2011       7:12:04
28125      4345096077       2/17/2012       9:13:37
28126      4345097323       7/12/2012       7:04:21
28127      4345099754       7/24/2012       14:37:43
28128      4345153013       5/10/2012       15:00:21
28129      4345314078       7/6/2012        16:50:02
28130      4345315804       5/8/2012        17:09:07
28131      4345327742       2/15/2012       8:06:52
28132      4345342522       9/8/2011        19:46:51
28133      4345465715       9/10/2012       7:39:11
28134      4345475769       12/27/2011      14:06:34
28135      4345478077       6/27/2011       7:09:33
28136      4345482508       10/28/2011      13:59:25
28137      4345663796       5/2/2012        13:24:11
28138      4345664689       3/8/2012        7:04:55
28139      4345794048       12/27/2011      14:33:36
28140      4345947580       12/20/2011      11:53:44
28141      4345949330       5/17/2012       7:03:23
28142      4346030976       2/2/2012        19:25:28
28143      4346070448       6/6/2011        17:05:43
28144      4346070533       10/20/2012      16:27:38
28145      4346072474       10/11/2012      7:56:55
28146      4346075476       10/29/2011      10:40:40
28147      4346075713       12/5/2011       8:16:03
28148      4346077050       3/30/2012       16:09:14
28149      4346091402       11/29/2011      7:39:33
28150      4346091402       12/14/2011      17:56:34
28151      4346091639       9/19/2011       7:03:34
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28152      4346092306       10/1/2011       9:45:35
28153      4346321437       5/21/2012       7:22:55
28154      4346321802       3/26/2011       10:40:12
28155      4346603125       8/9/2012        14:06:17
28156      4346608110       9/15/2011       7:14:30
28157      4346650327       5/1/2012        17:59:57
28158      4346650499       9/13/2011       17:46:17
28159      4346651901       11/26/2011      12:59:48
28160      4346653999       10/12/2011      7:20:22
28161      4346655483       3/15/2012       7:08:41
28162      4346655915       4/19/2012       7:30:18
28163      4346655915       5/21/2012       7:31:40
28164      4346881902       3/25/2012       11:48:27
28165      4347092295       5/25/2012       17:09:00
28166      4347095790       12/16/2011      15:31:16
28167      4347095790       8/6/2012        16:03:55
28168      4347099738       9/22/2011       15:38:46
28169      4347106802       3/31/2012       17:18:13
28170      4347132096       11/22/2011      18:38:02
28171      4347132096       12/26/2011      8:52:33
28172      4347132643       8/7/2012        18:01:25
28173      4347138156       10/25/2011      16:07:19
28174      4347280353       10/20/2012      16:28:34
28175      4347281925       4/29/2012       17:07:02
28176      4347283993       9/27/2011       18:27:00
28177      4347283993       10/20/2011      15:24:45
28178      4347284258       1/11/2012       16:20:59
28179      4347603355       10/8/2011       9:27:09
28180      4348255526       9/14/2012       7:04:54
28181      4348260019       6/5/2012        13:53:52
28182      4348411543       10/26/2011      12:58:07
28183      4348412485       5/1/2012        14:07:16
28184      4348417282       11/19/2011      8:52:13
28185      4348820081       1/9/2012        7:02:12
28186      4348820081       1/18/2012       10:08:19
28187      4349067039       9/24/2011       9:07:45
28188      4349068018       12/23/2011      14:31:40
28189      4349078737       3/26/2012       18:34:02
28190      4349275461       5/18/2012       15:55:32
28191      4349416670       12/7/2011       15:04:56
28192      4349444439       6/12/2012       17:11:59
28193      4349448964       11/17/2011      16:20:03
28194      4349450160       1/18/2012       9:49:33
28195      4349600963       12/18/2011      18:00:16
28196      4349604029       12/1/2011       7:56:57
28197      4349608299       11/7/2011       7:18:32
28198      4349620655       9/22/2011       15:50:13
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28199      4349621129       10/10/2011      12:14:55
28200      4349892557       9/23/2011       7:09:38
28201      4349898958       5/8/2012        7:13:36
28202      4349899080       8/27/2011       11:35:14
28203      4352010269       10/15/2011      9:41:54
28204      4352200132       7/20/2012       11:22:17
28205      4352244606       3/13/2012       17:09:20
28206      4352253445       2/28/2012       13:20:02
28207      4352276146       10/19/2012      9:50:23
28208      4352290408       10/21/2011      13:37:22
28209      4352290500       1/18/2012       20:24:08
28210      4352291723       10/13/2011      9:34:43
28211      4352295261       6/9/2012        15:06:23
28212      4352296020       10/6/2011       16:59:13
28213      4352297854       1/18/2012       16:43:59
28214      4352299522       3/22/2012       14:02:26
28215      4352320687       5/19/2012       9:20:37
28216      4352322904       4/9/2012        18:09:44
28217      4352327716       5/8/2012        12:43:49
28218      4352328578       12/5/2011       17:20:29
28219      4352330567       10/20/2011      16:32:24
28220      4352380169       1/6/2012        16:03:50
28221      4352380579       7/19/2011       16:59:00
28222      4352380642       1/30/2012       9:05:59
28223      4352418215       6/21/2012       15:30:27
28224      4352491290       9/5/2012        15:27:30
28225      4352530808       4/11/2012       19:32:48
28226      4352608180       11/18/2011      13:34:55
28227      4352620846       10/6/2011       17:56:39
28228      4352627432       10/28/2011      14:29:42
28229      4352797420       10/29/2011      10:59:06
28230      4353132646       10/18/2012      16:32:19
28231      4353135886       12/21/2011      10:22:46
28232      4353636352       10/11/2012      18:48:33
28233      4354180275       7/11/2011       9:12:56
28234      4354449233       12/21/2011      10:57:37
28235      4354594406       9/19/2011       19:35:52
28236      4354910345       10/25/2012      19:51:33
28237      4354960189       5/13/2012       18:03:52
28238      4355034968       9/26/2011       9:15:41
28239      4355127799       2/10/2012       9:23:38
28240      4355127799       5/21/2012       9:03:40
28241      4355132181       12/20/2011      15:06:47
28242      4355132308       4/1/2012        17:33:11
28243      4355310272       5/14/2012       10:11:19
28244      4355310418       11/7/2011       11:24:34
28245      4355313915       12/21/2011      10:05:22
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28246      4355316373       3/14/2012       14:08:48
28247      4355319630       2/29/2012       17:58:23
28248      4355580061       12/7/2011       13:30:53
28249      4355920321       10/22/2011      12:46:25
28250      4356099292       2/14/2012       10:09:08
28251      4356190995       10/16/2012      16:32:11
28252      4356300021       6/13/2012       7:08:33
28253      4356300447       2/20/2012       17:15:15
28254      4356304651       1/18/2012       16:44:14
28255      4356305906       2/15/2012       11:19:24
28256      4356305906       6/15/2012       16:38:45
28257      4356305906       10/5/2012       18:34:50
28258      4356310318       11/11/2011      13:23:12
28259      4356310435       2/19/2012       21:09:45
28260      4356320325       8/26/2011       18:28:22
28261      4356321377       3/7/2012        9:47:24
28262      4356327510       9/28/2011       9:29:04
28263      4356341392       10/24/2012      21:14:19
28264      4356403007       9/14/2011       16:53:44
28265      4356502074       8/16/2012       19:49:10
28266      4356507723       9/19/2011       19:35:27
28267      4356591160       10/29/2011      10:59:59
28268      4356591546       11/5/2011       10:23:34
28269      4356594548       1/13/2012       10:44:53
28270      4356601194       10/15/2011      11:03:49
28271      4356686446       10/31/2011      10:01:09
28272      4356800918       5/1/2012        18:30:42
28273      4356801557       9/24/2011       10:01:18
28274      4356801625       12/7/2011       14:19:53
28275      4356890243       10/4/2011       13:54:48
28276      4356891254       6/1/2011        12:15:35
28277      4357015837       11/28/2011      12:24:20
28278      4357041902       7/20/2011       14:55:41
28279      4357044619       9/16/2011       13:03:10
28280      4357053334       6/23/2012       8:30:20
28281      4357053357       4/13/2012       20:47:06
28282      4357248961       10/25/2011      16:34:39
28283      4357248961       11/22/2011      19:43:41
28284      4357304600       2/2/2012        16:35:19
28285      4357306039       3/20/2012       17:44:20
28286      4357330707       1/27/2012       18:05:42
28287      4357331838       10/7/2011       9:52:02
28288      4357331838       11/10/2011      14:25:12
28289      4357490442       12/15/2011      9:04:01
28290      4357573506       6/26/2012       16:16:54
28291      4357573506       10/20/2012      16:34:36
28292      4357605381       1/8/2012        12:51:19
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28293      4357642994       3/14/2011       17:25:22
28294      4357730110       1/19/2012       10:18:26
28295      4357730110       5/24/2012       12:30:08
28296      4357901698       10/3/2011       10:39:18
28297      4357904218       9/25/2012       15:21:37
28298      4358170103       6/11/2012       18:08:03
28299      4358170386       10/10/2011      12:53:44
28300      4358171249       10/29/2011      11:53:03
28301      4358201340       11/25/2011      18:33:22
28302      4358230222       10/11/2012      11:51:49
28303      4358306920       9/22/2012       12:23:07
28304      4358308843       10/28/2011      13:43:49
28305      4358400279       1/9/2012        9:43:31
28306      4358402660       8/23/2011       19:24:41
28307      4358492350       9/20/2011       16:54:20
28308      4358510245       4/22/2012       15:37:35
28309      4358512596       4/4/2012        18:54:10
28310      4358513215       4/20/2012       13:47:50
28311      4358625813       9/29/2012       11:28:33
28312      4358629131       6/18/2012       15:14:17
28313      4358629948       9/8/2011        19:35:28
28314      4358810013       9/14/2012       21:07:52
28315      4358814044       9/22/2011       16:17:07
28316      4358817831       11/15/2011      20:10:36
28317      4358908029       10/14/2011      13:30:48
28318      4358990478       10/27/2011      16:08:56
28319      4358990909       1/13/2012       17:30:54
28320      4358999496       5/26/2011       10:11:51
28321      4359010065       6/4/2012        9:35:36
28322      4359796045       8/16/2012       9:27:41
28323      4402121287       8/25/2011       16:27:23
28324      4402122755       5/30/2012       16:56:59
28325      4402134392       8/2/2012        18:48:29
28326      4402200688       10/11/2012      7:50:40
28327      4402212157       1/10/2012       15:36:33
28328      4402232777       2/18/2012       8:58:41
28329      4402269017       10/20/2012      16:36:30
28330      4402272037       10/11/2011      16:50:34
28331      4402273351       10/15/2012      16:20:33
28332      4402273713       1/9/2012        18:30:21
28333      4402278861       5/9/2012        8:05:13
28334      4402281003       11/12/2011      10:20:12
28335      4402282897       5/18/2012       7:13:07
28336      4402283257       6/12/2012       17:04:17
28337      4402284286       8/2/2012        11:35:40
28338      4402287897       1/3/2012        19:42:04
28339      4402313497       3/29/2012       17:18:47
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28340      4402316295       5/21/2012       7:23:12
28341      4402403476       9/24/2011       9:16:19
28342      4402404581       4/9/2012        18:12:24
28343      4402418640       6/23/2012       15:55:50
28344      4402427343       12/7/2011       13:26:50
28345      4402512307       3/19/2012       19:10:29
28346      4402515270       3/28/2012       7:26:12
28347      4402519471       11/11/2011      13:34:46
28348      4402580610       12/29/2011      14:16:09
28349      4402587318       5/7/2011        14:27:40
28350      4402589113       6/9/2012        14:52:58
28351      4402639034       1/18/2012       16:46:35
28352      4402659199       12/8/2011       19:45:13
28353      4402659621       9/29/2011       15:45:20
28354      4402927966       10/21/2011      13:17:25
28355      4403085022       10/5/2011       14:03:18
28356      4403085022       11/3/2011       17:44:18
28357      4403086769       3/15/2012       19:03:23
28358      4403098761       3/27/2012       14:52:12
28359      4403103557       6/20/2012       17:04:48
28360      4403104614       12/31/2013      7:08:50
28361      4403155003       1/4/2012        11:12:55
28362      4403159144       11/26/2011      12:16:28
28363      4403170702       2/20/2012       7:13:57
28364      4403172967       7/27/2012       15:38:49
28365      4403172967       8/29/2012       11:20:07
28366      4403173626       6/27/2012       17:54:57
28367      4403184014       3/20/2012       17:44:11
28368      4403185066       9/22/2011       15:14:52
28369      4403190482       4/30/2012       14:43:47
28370      4403197451       8/17/2011       18:34:13
28371      4403200105       6/18/2012       8:01:14
28372      4403204656       5/13/2012       17:08:52
28373      4403204656       5/21/2012       7:33:30
28374      4403205553       7/18/2012       18:29:33
28375      4403217196       9/30/2011       12:14:37
28376      4403392537       3/17/2012       8:40:02
28377      4403396039       9/13/2011       18:32:27
28378      4403397477       3/14/2012       19:40:50
28379      4403399482       2/11/2012       10:42:50
28380      4403411738       9/14/2011       16:28:10
28381      4403411752       9/8/2011        19:41:15
28382      4403415202       7/25/2011       15:59:12
28383      4403416803       11/29/2011      16:06:22
28384      4403422079       10/17/2011      8:15:45
28385      4403422427       11/4/2011       7:21:45
28386      4403423032       1/5/2012        11:57:34
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28387      4403440125       5/16/2012       16:58:26
28388      4403440125       5/21/2012       7:07:42
28389      4403440125       8/20/2012       7:53:18
28390      4403440965       2/13/2012       7:19:04
28391      4403442085       11/8/2011       14:13:34
28392      4403447688       3/23/2012       19:49:04
28393      4403611467       1/19/2012       18:34:05
28394      4403819562       10/23/2012      16:04:46
28395      4403871460       1/16/2012       17:25:38
28396      4403961407       5/11/2012       18:31:05
28397      4403965323       11/28/2011      18:01:43
28398      4404139064       11/16/2011      7:47:46
28399      4404153169       11/18/2011      12:19:04
28400      4404291081       3/30/2012       16:12:18
28401      4404522637       7/20/2012       7:41:18
28402      4404525707       10/1/2011       10:24:38
28403      4404526999       1/10/2012       15:12:12
28404      4404529908       5/15/2012       11:12:34
28405      4404530838       10/10/2012      12:57:29
28406      4404531965       11/15/2011      15:20:12
28407      4404535127       7/13/2012       11:11:41
28408      4404536504       5/5/2012        8:18:48
28409      4404581990       4/21/2012       16:32:41
28410      4404630101       11/29/2011      7:31:45
28411      4404632662       11/18/2011      13:30:05
28412      4404635015       11/12/2011      9:28:06
28413      4404637385       9/19/2011       19:07:14
28414      4404743715       10/21/2011      12:21:15
28415      4404765560       1/24/2012       9:59:49
28416      4404765560       3/20/2012       17:40:07
28417      4404779503       6/20/2012       17:03:54
28418      4404796237       1/21/2012       8:10:12
28419      4404874297       10/5/2012       12:17:12
28420      4404887083       1/6/2012        7:10:40
28421      4405061723       4/19/2012       15:04:11
28422      4405064420       12/22/2011      9:27:06
28423      4405065049       10/4/2011       13:44:42
28424      4405068569       10/1/2012       13:59:15
28425      4405202737       12/10/2011      12:53:25
28426      4405206260       9/19/2012       7:56:34
28427      4405213266       9/12/2011       12:58:42
28428      4405216149       9/8/2011        19:28:17
28429      4405225731       5/5/2011        13:09:48
28430      4405227051       4/26/2012       8:07:59
28431      4405227286       1/6/2012        14:46:23
28432      4405253772       12/2/2011       7:31:21
28433      4405362792       10/22/2011      13:02:11
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28434      4405362792       12/5/2011       9:07:00
28435      4405362794       9/26/2011       8:02:05
28436      4405362794       11/28/2011      11:46:31
28437      4405371786       9/24/2011       9:29:50
28438      4405374818       7/6/2012        14:40:14
28439      4405390081       9/19/2011       7:08:02
28440      4405390081       10/15/2011      8:41:29
28441      4405416862       1/11/2012       7:41:14
28442      4405417006       3/14/2012       7:11:54
28443      4405520502       12/7/2011       14:38:42
28444      4405526271       3/17/2012       8:45:18
28445      4405526908       10/5/2011       14:27:00
28446      4405541222       12/23/2011      13:53:22
28447      4405631277       3/27/2012       14:53:26
28448      4405706963       11/5/2011       9:19:01
28449      4405741806       9/12/2011       13:12:36
28450      4405919930       1/11/2012       16:26:24
28451      4406100191       12/17/2011      11:23:36
28452      4406101509       10/21/2011      13:01:21
28453      4406101509       11/12/2011      9:22:25
28454      4406105360       9/12/2011       13:48:22
28455      4406109911       5/21/2012       7:46:20
28456      4406222098       2/13/2012       7:10:48
28457      4406222891       10/6/2011       16:16:13
28458      4406226821       1/3/2012        19:41:18
28459      4406450097       10/7/2011       7:15:31
28460      4406459241       10/4/2011       13:39:57
28461      4406532818       2/6/2012        7:18:15
28462      4406540106       3/14/2011       17:07:04
28463      4406541453       5/9/2012        7:32:19
28464      4406541453       9/28/2012       16:47:24
28465      4406543308       5/11/2012       12:10:18
28466      4406545462       9/29/2012       10:10:37
28467      4406549061       3/29/2012       11:15:59
28468      4406551984       2/20/2012       16:45:41
28469      4406552666       2/1/2012        18:30:56
28470      4406557217       12/7/2011       13:58:48
28471      4406694202       3/2/2012        18:41:59
28472      4406698963       3/23/2012       7:13:16
28473      4406706026       12/18/2011      17:45:06
28474      4406707063       8/2/2012        18:56:05
28475      4406708153       8/29/2011       13:16:01
28476      4407144164       3/6/2012        12:48:47
28477      4407144485       10/27/2011      16:27:58
28478      4407144485       1/29/2012       16:27:28
28479      4407144485       3/27/2012       15:13:24
28480      4407148625       1/5/2012        17:21:56
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28481      4407149995       9/7/2012        15:58:34
28482      4407245718       7/13/2012       14:02:54
28483      4407249226       10/10/2011      11:37:07
28484      4407254000       2/18/2012       8:41:24
28485      4407255044       7/11/2012       17:20:22
28486      4407256615       5/26/2012       14:28:42
28487      4407481460       11/28/2011      17:37:50
28488      4407496360       2/2/2012        16:43:31
28489      4407497520       6/18/2012       9:22:21
28490      4407499063       12/22/2011      9:35:07
28491      4407529542       12/18/2011      17:02:22
28492      4407529542       2/1/2012        18:29:31
28493      4407730694       5/9/2012        16:11:05
28494      4407851526       11/22/2011      19:20:28
28495      4407852052       6/8/2011        18:36:35
28496      4407873810       7/26/2012       19:19:13
28497      4407874333       3/26/2012       19:24:59
28498      4407876068       3/12/2012       19:03:39
28499      4407895081       1/11/2012       7:33:22
28500      4407896109       12/7/2011       14:38:54
28501      4407962480       2/11/2012       10:36:51
28502      4407967960       6/19/2012       7:52:31
28503      4407993825       11/3/2011       17:01:11
28504      4408123285       11/7/2011       7:46:43
28505      4408126161       9/10/2011       8:30:44
28506      4408127009       9/29/2011       15:35:05
28507      4408129193       4/9/2012        7:20:16
28508      4408129545       10/31/2011      8:00:35
28509      4408138044       5/14/2012       15:17:03
28510      4408211929       11/2/2011       7:20:38
28511      4408212308       5/5/2012        8:22:46
28512      4408222314       7/26/2012       19:26:00
28513      4408235902       12/20/2011      7:18:38
28514      4408295858       1/9/2012        7:18:51
28515      4408402370       9/13/2011       18:35:56
28516      4408402629       5/23/2012       14:44:10
28517      4408408824       10/5/2011       13:58:33
28518      4408583309       7/2/2011        8:22:44
28519      4408620954       5/23/2012       14:43:36
28520      4408620954       6/6/2012        7:15:14
28521      4408620954       10/11/2012      7:57:38
28522      4408645955       1/27/2012       7:25:59
28523      4408645955       3/20/2012       9:02:35
28524      4408651226       1/9/2012        18:28:05
28525      4408655783       10/11/2011      16:09:22
28526      4408843909       11/3/2011       17:40:01
28527      4408979173       9/20/2011       16:31:35
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28528      4409356622       6/14/2012       16:03:18
28529      4409356622       8/21/2012       14:00:04
28530      4409693961       12/6/2011       7:47:42
28531      4409694488       8/6/2011        9:49:56
28532      4409837359       1/4/2012        11:00:24
28533      4409890206       11/4/2011       7:16:21
28534      4409940006       5/25/2012       8:11:24
28535      4432055500       12/20/2011      12:16:54
28536      4432063101       11/2/2011       7:12:28
28537      4432063101       11/17/2011      16:42:29
28538      4432063502       3/28/2012       17:00:17
28539      4432070627       10/1/2011       10:20:52
28540      4432071322       3/14/2012       7:04:25
28541      4432205922       8/31/2012       16:27:36
28542      4432208722       10/1/2011       9:49:37
28543      4432210243       2/14/2012       9:59:00
28544      4432210681       1/16/2012       17:25:18
28545      4432213247       5/26/2012       8:43:44
28546      4432244282       10/31/2011      7:12:49
28547      4432244880       10/4/2011       13:34:06
28548      4432244969       7/18/2012       7:10:59
28549      4432247410       8/9/2012        13:57:58
28550      4432248478       4/4/2011        11:59:42
28551      4432260734       4/1/2011        10:40:06
28552      4432260895       4/29/2012       16:32:12
28553      4432261541       5/8/2012        17:12:23
28554      4432261651       6/6/2011        17:09:08
28555      4432263133       8/23/2011       18:53:08
28556      4432264420       5/20/2011       17:36:13
28557      4432266249       9/23/2011       11:11:59
28558      4432268236       10/14/2011      12:51:29
28559      4432390928       7/16/2012       7:11:20
28560      4432392083       1/30/2012       7:16:26
28561      4432399937       10/5/2011       13:57:55
28562      4432432324       10/3/2011       7:52:35
28563      4432481469       3/28/2012       18:11:00
28564      4432481770       5/20/2011       17:38:22
28565      4432482814       2/8/2012        7:35:46
28566      4432483050       9/9/2011        7:24:48
28567      4432484503       10/5/2011       14:25:55
28568      4432502047       9/21/2011       11:40:05
28569      4432534949       3/10/2011       15:26:12
28570      4432534949       9/8/2011        19:29:43
28571      4432535043       11/2/2011       7:28:21
28572      4432545747       5/26/2012       14:31:33
28573      4432548955       2/11/2012       11:05:51
28574      4432550344       9/8/2011        18:24:21
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28575      4432550536       7/5/2012        15:38:52
28576      4432551221       9/21/2011       19:33:38
28577      4432558780       6/21/2012       18:48:58
28578      4432578910       6/14/2012       16:03:04
28579      4432579283       10/27/2011      16:24:50
28580      4432622262       5/1/2012        14:07:45
28581      4432622262       9/1/2012        8:40:56
28582      4432711144       5/10/2012       14:45:56
28583      4432712279       9/22/2011       15:13:28
28584      4432714021       5/24/2012       7:09:05
28585      4432715568       2/6/2012        7:20:56
28586      4432716185       12/6/2011       14:30:06
28587      4432719494       10/17/2011      7:46:19
28588      4432771890       1/19/2012       7:22:39
28589      4432772844       5/25/2011       16:50:32
28590      4432773935       5/16/2012       7:14:50
28591      4432777103       1/13/2012       17:15:08
28592      4432781243       5/16/2012       16:58:56
28593      4432785442       1/19/2012       7:14:15
28594      4432786098       9/8/2011        17:53:18
28595      4432786219       10/14/2011      13:20:14
28596      4432865381       1/4/2012        11:18:14
28597      4432866069       4/18/2012       17:56:33
28598      4433104651       7/13/2012       18:28:13
28599      4433105484       4/11/2012       19:36:17
28600      4433106002       6/16/2012       15:22:49
28601      4433107155       2/8/2012        7:26:47
28602      4433109975       4/17/2012       9:18:55
28603      4433149148       10/13/2011      7:19:43
28604      4433149985       9/21/2012       18:58:47
28605      4433156457       9/23/2011       18:43:52
28606      4433242163       11/7/2011       9:14:25
28607      4433248950       3/23/2012       19:09:58
28608      4433266377       10/12/2011      7:41:36
28609      4433363275       7/13/2012       18:31:49
28610      4433367582       8/8/2013        14:52:40
28611      4433507197       9/21/2011       19:33:55
28612      4433507405       9/12/2011       12:59:39
28613      4433561774       1/4/2012        10:59:01
28614      4433592020       3/23/2012       19:46:43
28615      4433594417       4/9/2012        17:48:41
28616      4433608738       4/15/2014       10:28:05
28617      4433608738       4/29/2014       10:33:09
28618      4433622114       3/21/2012       7:11:04
28619      4433622114       7/13/2012       11:11:53
28620      4433622389       3/20/2012       17:44:43
28621      4433650796       1/18/2012       16:39:06
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28622      4433653156       9/18/2012       14:16:27
28623      4433657509       2/26/2012       13:25:12
28624      4433660781       6/16/2012       8:46:21
28625      4433664535       7/3/2012        7:11:07
28626      4433664535       7/6/2012        16:44:40
28627      4433666384       10/28/2011      14:03:06
28628      4433715378       9/23/2011       18:31:17
28629      4433752944       5/6/2012        18:00:34
28630      4433752944       5/13/2012       16:42:14
28631      4433792021       3/19/2012       19:39:58
28632      4433869885       8/31/2012       16:28:16
28633      4433869885       9/21/2012       18:49:34
28634      4433884331       3/29/2012       11:27:21
28635      4433926053       3/11/2011       16:27:21
28636      4433977092       10/7/2012       12:49:12
28637      4433977557       9/3/2011        10:36:31
28638      4433977743       12/15/2011      7:51:49
28639      4434048320       10/14/2011      12:51:21
28640      4434049556       10/11/2012      18:32:46
28641      4434091044       1/21/2014       7:09:29
28642      4434130489       9/19/2012       7:55:31
28643      4434133631       9/26/2012       14:37:41
28644      4434134310       7/21/2012       10:24:26
28645      4434137125       9/22/2011       15:12:27
28646      4434138352       10/15/2012      10:04:01
28647      4434140392       6/15/2012       8:50:58
28648      4434143038       5/21/2011       10:23:22
28649      4434147785       10/12/2011      11:33:30
28650      4434149209       11/17/2011      16:24:43
28651      4434149602       10/5/2012       18:22:10
28652      4434149729       1/19/2012       17:59:05
28653      4434149729       1/28/2012       8:30:29
28654      4434151178       4/22/2012       15:09:03
28655      4434153442       12/12/2011      16:21:39
28656      4434154548       7/26/2012       19:17:24
28657      4434158271       12/5/2011       9:06:30
28658      4434158523       3/25/2012       11:30:48
28659      4434162866       1/21/2012       8:17:26
28660      4434163086       12/30/2011      7:09:16
28661      4434163450       4/2/2012        17:28:49
28662      4434166514       4/11/2012       7:13:47
28663      4434168159       9/9/2011        7:26:43
28664      4434180077       9/29/2012       9:56:51
28665      4434180077       10/20/2012      16:27:47
28666      4434184148       9/17/2011       10:10:47
28667      4434186825       8/31/2011       10:45:54
28668      4434187095       8/3/2011        11:19:52
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28669      4434187147       9/20/2011       16:37:37
28670      4434232010       10/10/2011      11:42:50
28671      4434232097       11/28/2011      17:58:32
28672      4434232115       3/30/2012       16:09:10
28673      4434354589       11/29/2011      15:28:39
28674      4434470385       4/30/2012       7:35:40
28675      4434471517       2/17/2012       9:00:21
28676      4434474008       5/8/2012        7:04:50
28677      4434474037       10/1/2011       9:39:01
28678      4434476183       1/12/2012       14:12:50
28679      4434490360       5/1/2012        17:33:11
28680      4434491356       9/27/2011       18:04:37
28681      4434498170       4/5/2012        15:43:10
28682      4434520994       11/19/2011      8:33:58
28683      4434520994       1/6/2012        9:41:38
28684      4434531510       9/16/2011       13:21:27
28685      4434533194       4/26/2012       13:54:33
28686      4434533194       5/18/2012       15:56:17
28687      4434534681       9/26/2012       15:19:04
28688      4434536250       1/16/2012       17:28:23
28689      4434537892       12/10/2011      13:14:28
28690      4434545564       11/16/2011      9:00:12
28691      4434550900       4/9/2012        7:05:31
28692      4434553579       9/21/2012       18:45:50
28693      4434628187       11/16/2011      9:42:52
28694      4434635040       1/9/2012        18:32:30
28695      4434652510       1/9/2012        18:27:00
28696      4434654453       10/8/2011       10:47:35
28697      4434661005       10/26/2011      11:51:56
28698      4434661324       8/29/2011       13:06:40
28699      4434661896       2/24/2012       17:09:21
28700      4434665880       10/3/2011       7:14:05
28701      4434670720       2/6/2012        16:45:12
28702      4434672352       2/14/2012       9:57:21
28703      4434677600       9/10/2012       7:39:49
28704      4434678814       1/4/2012        11:11:30
28705      4434681150       2/11/2012       15:22:39
28706      4434691510       10/17/2012      9:38:07
28707      4434693555       4/18/2012       17:47:10
28708      4434694423       3/26/2012       7:14:53
28709      4434698546       7/5/2012        15:27:17
28710      4434698866       9/20/2011       17:32:17
28711      4434699170       4/5/2012        15:58:41
28712      4434699620       10/24/2011      7:25:24
28713      4434700102       11/21/2011      7:40:54
28714      4434733728       2/3/2012        7:06:24
28715      4434734530       7/9/2012        19:05:56
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28716      4434739750       5/21/2012       8:37:46
28717      4434805141       4/21/2012       8:49:31
28718      4434809073       1/9/2012        7:22:18
28719      4434809201       5/29/2012       17:25:27
28720      4434809705       2/6/2012        17:01:04
28721      4434873980       9/20/2012       7:09:34
28722      4434960079       7/18/2012       7:08:44
28723      4434974410       10/8/2011       10:39:01
28724      4435001390       12/22/2011      10:01:06
28725      4435001390       1/6/2012        14:56:04
28726      4435005172       11/12/2011      9:53:12
28727      4435006293       10/11/2012      12:05:57
28728      4435063426       5/26/2012       14:25:26
28729      4435065036       1/27/2012       7:23:57
28730      4435069845       10/7/2011       7:10:37
28731      4435069845       11/28/2011      16:35:54
28732      4435090006       12/27/2011      14:14:51
28733      4435090006       2/6/2012        7:20:54
28734      4435090044       10/4/2011       13:08:47
28735      4435091464       9/15/2012       8:04:32
28736      4435092788       5/15/2012       19:15:36
28737      4435097849       11/9/2011       7:36:06
28738      4435109050       1/27/2012       19:44:39
28739      4435136706       11/18/2011      13:22:48
28740      4435163619       6/14/2012       15:58:56
28741      4435199688       7/14/2011       8:54:07
28742      4435204207       12/15/2011      8:17:53
28743      4435205470       9/16/2011       13:15:42
28744      4435211853       8/30/2011       17:08:07
28745      4435236186       9/29/2012       9:42:08
28746      4435250331       9/22/2012       9:04:46
28747      4435252164       10/24/2012      14:40:46
28748      4435252933       9/18/2012       14:21:51
28749      4435253761       9/28/2012       14:21:12
28750      4435256672       6/16/2012       15:14:38
28751      4435257546       3/7/2012        18:30:46
28752      4435257621       10/5/2012       18:16:00
28753      4435270777       2/24/2012       17:13:16
28754      4435276786       11/12/2011      9:45:58
28755      4435278337       4/20/2012       13:44:51
28756      4435282461       9/13/2011       17:22:59
28757      4435286594       10/13/2011      7:27:11
28758      4435287583       6/8/2012        12:33:59
28759      4435314929       5/23/2012       15:26:42
28760      4435315517       5/23/2012       16:24:41
28761      4435316034       10/25/2012      19:36:49
28762      4435317030       9/11/2012       7:47:30
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28763      4435319268       9/19/2011       7:24:09
28764      4435341668       10/15/2012      10:17:45
28765      4435344848       5/3/2012        7:08:40
28766      4435361832       10/1/2011       10:31:02
28767      4435368275       4/14/2012       8:51:01
28768      4435401504       6/25/2011       8:00:39
28769      4435406120       2/14/2012       16:47:43
28770      4435407909       11/11/2011      13:33:55
28771      4435409665       10/5/2011       14:26:06
28772      4435526923       5/2/2012        13:05:49
28773      4435526923       6/20/2012       17:04:10
28774      4435529096       2/13/2012       7:02:20
28775      4435533475       9/16/2011       12:55:26
28776      4435578428       11/19/2011      8:09:12
28777      4435578761       9/27/2011       18:24:56
28778      4435578761       10/4/2011       13:04:47
28779      4435620091       8/5/2011        18:34:09
28780      4435622446       8/25/2012       11:11:46
28781      4435623297       6/18/2011       15:08:32
28782      4435624565       12/27/2011      14:31:39
28783      4435630982       10/22/2012      7:09:26
28784      4435639009       4/27/2012       7:44:30
28785      4435642192       10/4/2011       13:43:43
28786      4435648613       3/20/2012       17:48:53
28787      4435670084       1/19/2012       18:35:49
28788      4435700563       6/8/2012        7:29:57
28789      4435701823       10/24/2011      7:03:03
28790      4435708115       4/18/2012       7:15:05
28791      4435708627       6/1/2012        9:10:07
28792      4435973336       11/14/2011      15:53:39
28793      4435976799       10/19/2012      19:02:00
28794      4436003113       6/19/2012       15:36:16
28795      4436003264       1/9/2012        18:04:11
28796      4436003495       6/27/2012       12:02:41
28797      4436006097       10/3/2011       7:44:10
28798      4436020394       3/29/2012       16:29:44
28799      4436022962       5/21/2012       7:33:08
28800      4436025548       9/27/2012       7:46:40
28801      4436109627       7/16/2012       19:43:41
28802      4436109627       8/3/2012        16:22:20
28803      4436141126       1/17/2012       18:32:38
28804      4436141126       7/19/2012       17:56:40
28805      4436151469       11/5/2011       10:58:43
28806      4436178870       1/19/2012       18:25:06
28807      4436180587       2/11/2012       15:06:03
28808      4436184186       9/21/2011       19:32:11
28809      4436186793       10/25/2011      15:23:42
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28810      4436189501       6/11/2012       17:46:20
28811      4436192739       6/23/2012       8:37:10
28812      4436210203       2/1/2012        8:25:18
28813      4436212506       10/8/2011       11:17:34
28814      4436214451       12/29/2011      14:24:13
28815      4436218965       2/28/2012       15:51:49
28816      4436220668       2/24/2011       11:25:43
28817      4436222564       9/9/2011        7:27:59
28818      4436228589       3/19/2012       7:01:18
28819      4436229835       3/24/2012       10:23:38
28820      4436235084       11/17/2011      16:54:27
28821      4436248261       1/4/2012        11:02:33
28822      4436294905       2/13/2012       7:17:31
28823      4436299869       9/14/2011       7:04:16
28824      4436351019       10/11/2012      18:33:30
28825      4436351755       9/10/2012       7:41:42
28826      4436351755       9/24/2012       19:02:20
28827      4436353164       7/28/2012       8:42:25
28828      4436356073       3/27/2012       7:06:03
28829      4436356135       7/12/2012       19:57:13
28830      4436358426       11/15/2011      15:17:54
28831      4436359267       8/23/2012       19:06:05
28832      4436427648       4/18/2012       17:55:22
28833      4436428049       10/17/2012      18:34:33
28834      4436428627       10/8/2011       11:52:26
28835      4436429730       12/21/2011      10:03:38
28836      4436522415       4/22/2012       15:04:47
28837      4436531471       4/20/2012       14:03:27
28838      4436531840       9/21/2011       11:50:09
28839      4436535365       11/22/2011      19:15:10
28840      4436535365       12/21/2011      11:51:15
28841      4436536498       12/10/2011      14:24:17
28842      4436551699       8/11/2011       11:21:44
28843      4436693413       11/14/2011      16:01:28
28844      4436694222       10/4/2011       13:08:50
28845      4436766888       6/23/2012       15:56:10
28846      4436767427       3/2/2012        18:58:08
28847      4436767788       11/23/2011      10:26:47
28848      4436778406       8/6/2012        14:25:06
28849      4436778520       11/28/2011      17:49:13
28850      4436803567       4/2/2012        7:42:25
28851      4436825149       10/11/2012      7:50:10
28852      4436831407       12/20/2011      16:59:20
28853      4436833865       10/8/2011       10:50:03
28854      4436914288       10/5/2012       18:30:45
28855      4436932608       11/12/2011      9:48:05
28856      4436952530       10/23/2012      16:24:04
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28857      4437105633       3/26/2011       10:50:41
28858      4437106415       9/22/2011       15:10:30
28859      4437171912       2/16/2012       7:10:33
28860      4437174585       4/5/2012        15:57:25
28861      4437176742       10/13/2012      8:55:30
28862      4437178021       3/23/2012       19:09:49
28863      4437220567       3/27/2012       15:11:07
28864      4437221439       8/26/2013       19:50:58
28865      4437223565       5/30/2012       16:55:11
28866      4437224368       8/23/2012       11:59:14
28867      4437228571       10/13/2012      9:16:16
28868      4437228589       7/21/2012       10:43:22
28869      4437228835       8/25/2012       8:13:29
28870      4437353616       12/7/2011       14:46:48
28871      4437390143       5/13/2012       16:45:38
28872      4437397283       9/19/2011       19:27:06
28873      4437400280       3/27/2012       15:10:55
28874      4437401107       10/4/2011       13:19:21
28875      4437406921       10/5/2011       14:28:27
28876      4437423555       1/8/2012        12:44:19
28877      4437423575       9/23/2011       18:39:58
28878      4437428772       3/30/2011       8:59:25
28879      4437448306       7/22/2012       15:58:35
28880      4437524809       5/28/2012       8:48:58
28881      4437560667       5/23/2012       15:28:43
28882      4437567444       8/16/2012       19:46:05
28883      4437568513       10/13/2011      7:28:01
28884      4437584021       6/20/2012       16:55:15
28885      4437585721       10/7/2012       13:12:34
28886      4437586545       3/20/2012       9:14:44
28887      4437600232       11/9/2011       7:51:33
28888      4437601514       1/27/2012       9:44:56
28889      4437602791       1/23/2012       19:09:25
28890      4437611743       1/19/2012       7:17:10
28891      4437619100       10/18/2012      7:07:26
28892      4437630583       8/16/2012       19:46:01
28893      4437631833       7/13/2011       11:33:02
28894      4437649838       2/24/2011       14:12:00
28895      4437662007       11/7/2011       7:56:54
28896      4437681667       1/10/2012       15:16:20
28897      4437684424       12/14/2011      17:52:33
28898      4437684820       5/24/2012       12:08:21
28899      4437688503       3/9/2012        7:07:13
28900      4437688503       3/26/2012       18:40:57
28901      4437830277       3/26/2012       18:24:07
28902      4437833406       11/19/2011      8:42:50
28903      4437838036       1/27/2012       9:48:22
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28904      4437860382       4/21/2011       10:35:53
28905      4437863012       10/18/2012      16:30:46
28906      4437894441       12/31/2011      11:46:06
28907      4437903273       9/27/2011       15:23:39
28908      4437919649       2/21/2012       9:38:11
28909      4437919649       5/21/2012       7:04:05
28910      4437919649       9/27/2012       16:22:33
28911      4437940464       7/20/2012       7:37:54
28912      4437949783       9/17/2011       9:24:15
28913      4437973088       3/16/2012       16:00:41
28914      4437995074       6/16/2012       15:06:09
28915      4437995074       7/3/2012        15:59:59
28916      4437995325       11/11/2011      13:32:14
28917      4438012445       10/4/2011       13:39:34
28918      4438017206       11/14/2011      14:25:27
28919      4438022253       1/18/2012       10:33:08
28920      4438024089       9/19/2011       19:19:03
28921      4438024748       9/8/2011        19:29:52
28922      4438025510       7/18/2012       18:24:35
28923      4438035031       10/15/2012      9:57:08
28924      4438040011       8/19/2011       11:53:00
28925      4438041815       9/29/2011       15:03:12
28926      4438043064       11/3/2011       17:12:43
28927      4438049864       9/29/2011       15:13:43
28928      4438063894       9/20/2011       16:37:43
28929      4438069406       9/10/2011       8:51:23
28930      4438074055       12/22/2011      10:16:02
28931      4438078044       3/24/2012       9:49:15
28932      4438078044       3/28/2012       18:09:21
28933      4438105241       1/30/2012       7:03:27
28934      4438133968       9/21/2012       15:59:16
28935      4438134608       1/23/2012       7:12:28
28936      4438134608       1/27/2012       19:37:48
28937      4438135076       6/25/2012       13:31:44
28938      4438137772       1/27/2012       17:53:53
28939      4438138876       10/1/2012       8:12:38
28940      4438205863       9/18/2012       14:32:44
28941      4438223438       1/9/2012        7:21:06
28942      4438229891       11/22/2011      19:14:50
28943      4438233337       12/9/2011       15:30:06
28944      4438237559       2/28/2012       7:53:54
28945      4438242526       3/6/2012        15:55:09
28946      4438243010       3/25/2012       11:44:15
28947      4438246201       10/17/2011      7:15:06
28948      4438247439       2/28/2012       15:51:34
28949      4438249217       5/4/2012        7:26:19
28950      4438249625       2/17/2012       18:08:43
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28951      4438250070       9/28/2012       7:40:07
28952      4438250952       9/27/2011       18:35:45
28953      4438250952       10/29/2011      11:33:41
28954      4438251158       10/1/2012       13:41:16
28955      4438256726       5/14/2011       11:36:34
28956      4438256835       5/16/2012       16:53:26
28957      4438256835       5/23/2012       14:50:30
28958      4438258479       5/25/2012       17:14:57
28959      4438258892       9/12/2011       13:46:40
28960      4438270009       9/21/2012       18:49:15
28961      4438277695       4/11/2012       19:29:32
28962      4438291911       11/3/2011       17:45:05
28963      4438299935       10/9/2012       7:36:50
28964      4438311032       9/20/2011       16:43:07
28965      4438311273       3/8/2012        9:34:36
28966      4438315496       11/11/2011      7:47:30
28967      4438345866       3/25/2012       11:51:48
28968      4438349251       1/20/2012       11:30:19
28969      4438357475       10/15/2012      9:48:00
28970      4438389000       10/5/2012       12:22:14
28971      4438442226       10/4/2011       13:05:52
28972      4438442333       12/5/2011       18:31:55
28973      4438449342       11/10/2011      7:27:03
28974      4438449342       11/17/2011      16:24:24
28975      4438452713       11/23/2011      14:34:12
28976      4438458869       1/11/2012       16:25:41
28977      4438471966       1/23/2012       19:09:27
28978      4438481707       2/18/2012       8:56:12
28979      4438501152       1/18/2014       15:28:07
28980      4438501967       2/18/2012       8:57:57
28981      4438503491       5/29/2012       7:04:15
28982      4438506313       10/2/2012       7:31:19
28983      4438507783       10/11/2011      16:48:22
28984      4438512138       1/13/2012       17:13:20
28985      4438513760       10/11/2012      11:59:28
28986      4438543103       9/21/2012       18:44:12
28987      4438543186       6/9/2011        10:30:05
28988      4438544115       10/5/2011       14:02:25
28989      4438544115       10/8/2011       10:48:39
28990      4438548450       1/12/2012       14:00:29
28991      4438570158       2/9/2012        7:03:56
28992      4438575682       1/18/2012       10:20:29
28993      4438577365       1/27/2012       17:41:10
28994      4438578911       5/12/2012       10:26:53
28995      4438581816       4/5/2012        7:05:04
28996      4438582683       4/2/2012        17:32:56
28997      4438582690       9/19/2011       19:29:46
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28998      4438586236       11/20/2011      11:07:53
28999      4438586458       10/15/2011      9:54:44
29000      4438587350       4/5/2012        14:32:15
29001      4438590124       12/24/2011      7:20:32
29002      4438590248       9/22/2011       15:11:28
29003      4438591779       5/19/2012       9:21:39
29004      4438595929       3/13/2012       18:35:02
29005      4438601361       11/30/2011      15:38:48
29006      4438640678       8/10/2012       7:26:41
29007      4438649322       8/14/2012       11:47:32
29008      4438657903       1/19/2012       18:38:07
29009      4438661731       9/25/2012       15:00:59
29010      4438662647       2/17/2012       18:06:45
29011      4438667051       8/23/2011       17:39:25
29012      4438667150       11/2/2011       7:10:15
29013      4438675324       10/11/2012      11:59:38
29014      4438679058       3/15/2012       18:53:52
29015      4438710686       1/24/2012       17:15:28
29016      4438718248       11/10/2011      17:23:11
29017      4438758676       10/10/2012      12:54:40
29018      4438803374       4/30/2012       14:43:16
29019      4438804604       3/3/2012        8:41:37
29020      4438890057       4/10/2012       15:33:56
29021      4438890848       12/23/2011      14:01:14
29022      4438913237       10/6/2011       17:30:49
29023      4438914758       10/15/2011      10:32:47
29024      4438982060       5/13/2012       17:29:04
29025      4438982451       4/1/2012        17:01:35
29026      4439026769       7/22/2012       12:14:23
29027      4439041392       10/25/2012      19:47:28
29028      4439044988       10/6/2012       8:54:49
29029      4439049083       11/8/2011       13:44:57
29030      4439075827       9/12/2011       13:48:13
29031      4439076190       11/16/2011      9:21:39
29032      4439076739       11/25/2011      18:16:04
29033      4439076739       12/9/2011       15:57:24
29034      4439096237       9/10/2011       8:43:12
29035      4439127084       11/11/2011      7:46:23
29036      4439127978       8/25/2012       11:10:11
29037      4439250347       3/29/2012       18:52:57
29038      4439250361       3/7/2012        18:41:38
29039      4439275000       5/25/2012       17:15:46
29040      4439284734       9/13/2011       17:40:47
29041      4439288912       3/21/2012       13:48:09
29042      4439291460       2/3/2012        7:06:00
29043      4439293686       11/14/2011      16:16:10
29044      4439295392       11/18/2011      13:28:40
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29045      4439296464       3/28/2012       16:48:55
29046      4439340822       8/22/2012       11:28:05
29047      4439349266       3/14/2012       19:27:00
29048      4439349975       11/11/2011      14:35:15
29049      4439350788       5/24/2012       12:04:20
29050      4439382663       12/9/2011       16:03:31
29051      4439383618       1/9/2012        7:15:21
29052      4439384163       3/25/2012       11:41:27
29053      4439384910       5/11/2012       18:32:54
29054      4439390831       8/2/2011        18:18:54
29055      4439394334       4/21/2012       16:34:11
29056      4439394410       3/22/2012       7:54:45
29057      4439396081       3/20/2012       17:46:31
29058      4439397531       5/21/2012       17:32:08
29059      4439397632       11/17/2011      13:59:00
29060      4439422955       2/11/2012       15:33:26
29061      4439441994       3/12/2012       16:52:29
29062      4439443769       3/19/2012       17:36:55
29063      4439443769       10/8/2012       7:16:06
29064      4439447249       3/24/2012       9:51:05
29065      4439450013       10/3/2011       7:48:27
29066      4439450013       12/6/2011       7:43:06
29067      4439450256       11/11/2011      13:37:45
29068      4439552955       8/14/2012       11:48:13
29069      4439554141       3/12/2012       16:52:43
29070      4439554997       5/6/2011        15:44:58
29071      4439559981       3/30/2012       16:15:40
29072      4439561528       11/16/2011      7:46:38
29073      4439622749       10/7/2011       7:10:28
29074      4439624206       6/30/2012       15:54:49
29075      4439624206       7/6/2012        16:44:23
29076      4439624225       11/16/2011      9:42:54
29077      4439655292       7/11/2012       9:27:00
29078      4439681624       10/3/2011       7:06:51
29079      4439740663       4/29/2012       16:57:14
29080      4439758030       5/18/2012       15:46:45
29081      4439758181       3/15/2012       13:47:34
29082      4439758181       3/26/2012       18:21:05
29083      4439771179       4/29/2012       18:23:24
29084      4439771179       6/7/2012        18:37:36
29085      4439778457       2/6/2012        17:07:43
29086      4439778596       10/8/2012       7:05:32
29087      4439832219       10/6/2011       16:16:01
29088      4439836274       3/3/2012        8:47:58
29089      4439837450       12/29/2011      14:41:22
29090      4439838373       3/29/2012       18:53:26
29091      4439863279       10/8/2011       10:39:34
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29092      4439866215       9/24/2012       18:59:06
29093      4439923694       5/23/2012       16:41:01
29094      4439965105       5/23/2012       14:52:55
29095      4692077730       9/7/2012        15:52:07
29096      4692078823       6/23/2012       16:28:16
29097      4692124121       5/31/2012       15:00:51
29098      4692197327       10/12/2011      8:40:42
29099      4692220631       11/8/2011       14:34:48
29100      4692222727       4/18/2012       17:59:26
29101      4692232157       10/11/2011      17:30:49
29102      4692232539       12/2/2011       8:11:17
29103      4692232779       3/21/2012       18:41:04
29104      4692234804       10/7/2011       8:15:43
29105      4692235393       4/12/2012       12:35:03
29106      4692235592       3/14/2012       14:08:23
29107      4692236832       3/6/2012        20:28:05
29108      4692239138       1/11/2012       8:47:18
29109      4692239138       1/19/2012       18:30:01
29110      4692239706       9/27/2011       18:12:06
29111      4692239821       3/29/2012       16:32:39
29112      4692260696       6/7/2012        12:39:10
29113      4692264014       12/30/2011      16:58:57
29114      4692264094       8/2/2012        18:56:23
29115      4692264938       3/19/2011       10:38:23
29116      4692266747       2/2/2012        11:14:34
29117      4692300116       9/14/2011       16:46:33
29118      4692302998       1/20/2014       14:44:18
29119      4692304374       7/13/2012       13:56:57
29120      4692305711       7/19/2011       17:27:47
29121      4692313933       10/3/2012       19:56:27
29122      4692315566       11/10/2011      8:13:23
29123      4692315823       2/21/2012       11:08:57
29124      4692328550       10/20/2012      16:37:56
29125      4692328878       9/20/2011       16:47:27
29126      4692331838       12/21/2011      9:59:31
29127      4692332778       10/1/2011       10:42:03
29128      4692335996       10/11/2011      16:15:06
29129      4692336372       4/12/2012       13:15:18
29130      4692337813       11/18/2011      12:29:09
29131      4692338083       9/1/2012        9:27:51
29132      4692350089       1/21/2012       8:12:06
29133      4692357491       5/4/2012        18:11:35
29134      4692358911       8/19/2011       12:02:59
29135      4692366077       9/21/2012       18:48:16
29136      4692366077       10/18/2012      16:32:03
29137      4692368496       7/14/2011       16:35:25
29138      4692375707       11/14/2013      15:32:11
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29139      4692377468       1/25/2012       20:25:43
29140      4692379155       5/18/2012       11:42:08
29141      4692379155       6/15/2012       8:43:47
29142      4692379155       8/2/2012        18:57:46
29143      4692451018       12/20/2011      15:01:52
29144      4692451112       8/13/2012       20:59:02
29145      4692451498       10/1/2012       13:52:13
29146      4692451650       1/6/2012        14:40:27
29147      4692451650       5/8/2012        9:39:18
29148      4692452211       11/15/2011      15:40:15
29149      4692452256       5/2/2012        13:46:18
29150      4692453046       4/12/2012       18:31:33
29151      4692455415       10/12/2011      8:40:35
29152      4692456102       12/23/2011      14:07:54
29153      4692456202       12/2/2011       8:22:29
29154      4692472458       11/5/2011       11:19:12
29155      4692479454       5/7/2012        8:19:27
29156      4692540122       9/22/2012       9:12:05
29157      4692541135       9/10/2011       9:17:17
29158      4692541691       10/4/2011       13:19:13
29159      4692541691       12/8/2011       12:14:57
29160      4692541872       10/4/2011       13:19:34
29161      4692542830       10/6/2011       17:46:05
29162      4692543681       3/2/2012        9:14:33
29163      4692544526       2/3/2012        20:03:47
29164      4692544533       3/29/2012       11:36:04
29165      4692544902       10/27/2011      16:05:43
29166      4692548287       12/12/2011      12:19:54
29167      4692548480       10/3/2012       19:55:07
29168      4692548650       4/12/2012       13:09:39
29169      4692580936       10/15/2011      10:36:32
29170      4692581357       11/21/2011      8:22:07
29171      4692583696       5/25/2012       12:04:50
29172      4692585867       11/23/2011      14:38:13
29173      4692587484       5/18/2012       16:03:01
29174      4692615796       3/2/2012        9:41:35
29175      4692618097       10/21/2011      12:38:30
29176      4692740351       9/23/2011       19:03:55
29177      4692741219       10/18/2011      12:30:26
29178      4692743335       3/8/2012        20:32:48
29179      4692744012       9/20/2011       18:25:21
29180      4692745619       5/5/2012        8:27:49
29181      4692793247       3/15/2012       19:09:05
29182      4692793990       5/5/2012        8:34:54
29183      4692793990       5/21/2012       8:33:20
29184      4692794141       7/8/2012        13:33:10
29185      4692794242       2/13/2012       19:09:43
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29186      4692794403       9/12/2012       15:01:03
29187      4692794486       4/25/2011       14:12:01
29188      4692794486       12/24/2011      8:20:21
29189      4692851282       5/6/2012        18:27:24
29190      4692851390       12/23/2011      15:07:56
29191      4692851796       3/28/2012       12:41:06
29192      4692853806       9/27/2012       16:43:18
29193      4692856506       5/23/2012       16:50:50
29194      4692865606       6/26/2012       20:53:53
29195      4692869545       3/6/2012        20:29:45
29196      4692880758       10/31/2011      9:15:40
29197      4692880758       11/14/2011      17:11:01
29198      4692880758       12/12/2011      12:20:36
29199      4692881270       6/3/2011        8:05:30
29200      4692881629       7/2/2011        9:08:20
29201      4692884617       2/6/2012        10:09:50
29202      4692889184       4/18/2012       8:13:15
29203      4692889184       9/21/2012       16:10:11
29204      4693071120       10/9/2012       11:38:59
29205      4693210697       8/15/2012       12:22:56
29206      4693211408       10/25/2012      12:28:04
29207      4693214343       8/1/2012        20:10:59
29208      4693219353       10/15/2011      9:41:19
29209      4693230807       6/14/2012       12:38:34
29210      4693231680       9/28/2011       10:32:12
29211      4693246262       5/4/2012        14:53:34
29212      4693246602       1/9/2012        18:17:31
29213      4693247682       12/20/2011      15:03:40
29214      4693247682       3/12/2012       11:07:21
29215      4693247682       5/21/2012       8:16:52
29216      4693247726       11/14/2011      17:27:32
29217      4693248497       7/27/2011       17:37:44
29218      4693248643       4/21/2012       9:38:13
29219      4693248899       9/7/2012        15:42:42
29220      4693280605       9/19/2011       19:33:27
29221      4693281508       2/10/2012       9:29:57
29222      4693283681       10/15/2012      16:11:59
29223      4693283910       6/30/2011       8:58:18
29224      4693285438       11/22/2011      18:44:39
29225      4693286018       10/29/2011      11:46:51
29226      4693286259       1/20/2012       11:31:38
29227      4693345006       9/13/2011       13:30:09
29228      4693349250       2/21/2012       20:48:49
29229      4693353666       3/6/2012        13:12:55
29230      4693353860       8/18/2012       8:38:53
29231      4693356022       10/11/2012      12:04:30
29232      4693356339       8/17/2011       18:49:27
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29233      4693356500       8/20/2012       18:44:46
29234      4693372538       8/29/2011       9:20:13
29235      4693373793       10/4/2011       13:50:55
29236      4693374633       12/21/2011      19:51:02
29237      4693374795       8/3/2012        16:30:51
29238      4693375700       10/10/2011      12:49:49
29239      4693376447       9/29/2011       15:19:41
29240      4693376724       11/28/2011      17:02:22
29241      4693378808       10/26/2011      13:04:14
29242      4693383318       4/28/2012       8:35:15
29243      4693388846       9/21/2012       18:41:02
29244      4693484952       9/20/2011       18:17:11
29245      4693488372       3/27/2012       10:35:32
29246      4693488372       4/21/2012       16:19:32
29247      4693554783       5/13/2012       17:41:56
29248      4693581495       10/22/2011      12:42:21
29249      4693581610       9/30/2011       10:23:14
29250      4693582893       1/5/2012        12:02:58
29251      4693590709       1/26/2012       9:58:20
29252      4693607090       9/19/2012       16:24:57
29253      4693630113       4/26/2012       17:35:08
29254      4693630910       7/3/2012        12:19:44
29255      4693631928       12/5/2011       18:32:57
29256      4693633536       10/11/2012      18:41:18
29257      4693636552       2/28/2012       15:54:20
29258      4693637445       11/12/2011      10:32:01
29259      4693638267       10/16/2012      20:26:21
29260      4693640127       12/27/2011      13:30:31
29261      4693640356       12/17/2011      12:07:09
29262      4693640631       10/8/2011       11:34:10
29263      4693640838       11/17/2011      14:21:34
29264      4693641193       7/18/2011       8:23:32
29265      4693641523       1/26/2012       10:09:30
29266      4693641533       9/20/2011       18:17:02
29267      4693641838       12/18/2011      18:05:30
29268      4693641957       12/14/2011      13:01:34
29269      4693642084       11/11/2011      13:47:51
29270      4693642110       12/17/2011      12:07:06
29271      4693710560       12/28/2011      8:43:43
29272      4693770172       11/22/2011      19:37:12
29273      4693831354       5/17/2012       16:41:39
29274      4693832033       12/1/2011       15:04:06
29275      4693832784       4/19/2012       14:40:16
29276      4693834710       12/17/2011      12:07:36
29277      4693834999       10/9/2012       13:20:14
29278      4693839973       8/13/2011       10:23:54
29279      4693860117       11/12/2011      9:41:15
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29280      4693860614       11/7/2011       9:35:29
29281      4693864268       9/28/2011       11:18:56
29282      4693864930       7/19/2012       17:46:23
29283      4693868975       3/27/2012       8:37:50
29284      4693872776       10/10/2012      19:07:10
29285      4693943732       1/10/2014       13:18:26
29286      4693963307       1/3/2012        10:26:09
29287      4693964410       1/14/2012       8:01:25
29288      4693964915       10/19/2012      9:47:46
29289      4693989015       10/15/2011      9:31:16
29290      4694016190       7/15/2013       8:37:27
29291      4694179940       9/6/2012        12:23:14
29292      4694208261       6/21/2012       18:43:38
29293      4694220057       10/17/2011      8:04:11
29294      4694223632       11/3/2011       18:00:04
29295      4694224797       10/8/2011       9:48:35
29296      4694266827       10/14/2011      12:51:38
29297      4694267181       12/12/2011      16:29:05
29298      4694267437       5/3/2012        8:08:33
29299      4694268765       4/11/2012       12:55:30
29300      4694321185       11/18/2011      13:33:07
29301      4694380090       4/2/2012        17:33:38
29302      4694380527       11/17/2011      16:46:58
29303      4694381736       10/15/2011      9:23:27
29304      4694382238       9/30/2012       15:13:27
29305      4694384243       7/3/2012        19:37:43
29306      4694384877       1/6/2012        14:42:20
29307      4694384969       11/7/2011       9:25:16
29308      4694385803       10/15/2011      10:53:38
29309      4694388310       3/30/2011       11:03:54
29310      4694388310       9/20/2011       18:26:56
29311      4694389551       3/13/2012       16:55:45
29312      4694416426       6/13/2012       20:00:23
29313      4694427576       3/25/2012       12:09:52
29314      4694432676       1/18/2012       16:41:49
29315      4694468899       5/11/2012       18:34:11
29316      4694468899       5/18/2012       15:59:46
29317      4694493999       7/30/2012       18:46:23
29318      4694494232       11/5/2011       10:12:14
29319      4694630202       8/26/2011       17:45:12
29320      4694630520       10/5/2012       12:28:53
29321      4694630917       4/16/2012       15:54:50
29322      4694633339       9/12/2011       14:14:38
29323      4694633880       5/16/2011       12:47:27
29324      4694639402       11/25/2011      18:25:00
29325      4694639566       9/9/2012        11:16:31
29326      4694711841       11/12/2011      10:25:26
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29327      4694712983       4/10/2012       16:02:47
29328      4694741753       8/16/2012       9:27:49
29329      4694744668       4/18/2012       8:13:15
29330      4694746121       10/17/2012      9:45:00
29331      4694873148       5/7/2011        14:48:46
29332      4694873366       12/28/2011      17:49:12
29333      4694875903       9/27/2012       16:31:07
29334      4695005981       4/19/2012       20:16:59
29335      4695255414       5/21/2012       8:52:18
29336      4695255414       5/21/2012       17:45:38
29337      4695255680       11/12/2011      10:28:13
29338      4695257727       3/24/2012       10:32:08
29339      4695280142       10/19/2012      19:13:51
29340      4695280285       8/15/2012       12:23:57
29341      4695280496       6/19/2012       8:33:34
29342      4695310458       4/25/2011       14:51:10
29343      4695310583       12/29/2011      19:05:03
29344      4695311266       1/18/2012       9:54:31
29345      4695319280       3/23/2012       19:52:49
29346      4695443880       3/29/2012       16:46:43
29347      4695444257       11/16/2011      19:54:40
29348      4695445482       12/14/2011      14:06:09
29349      4695446288       12/21/2011      11:20:17
29350      4695484402       10/5/2011       14:45:47
29351      4695520600       9/8/2011        19:30:25
29352      4695541489       10/10/2011      12:37:45
29353      4695546960       9/29/2011       15:21:34
29354      4695563400       10/29/2011      11:46:43
29355      4695565540       8/24/2011       11:53:23
29356      4695566586       1/5/2012        17:30:05
29357      4695639789       9/8/2011        19:49:56
29358      4695791040       10/26/2011      12:09:51
29359      4695792434       1/30/2012       7:12:14
29360      4695797651       9/24/2011       9:43:55
29361      4695799577       2/21/2012       9:36:10
29362      4695836150       3/8/2012        9:20:16
29363      4695836839       10/12/2011      8:01:11
29364      4695851979       10/21/2011      13:23:32
29365      4695853411       5/25/2012       8:07:17
29366      4695858259       10/17/2011      8:15:39
29367      4696285581       5/16/2012       16:56:56
29368      4696323226       11/22/2011      19:36:24
29369      4696323999       9/20/2011       20:36:26
29370      4696327679       10/17/2012      18:36:26
29371      4696430142       3/27/2012       8:42:40
29372      4696430460       9/24/2012       14:39:04
29373      4696440546       9/21/2011       11:33:35
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29374      4696440546       10/4/2011       13:50:43
29375      4696441682       6/29/2012       9:40:57
29376      4696441995       3/28/2012       18:23:55
29377      4696441995       5/19/2012       16:08:28
29378      4696444713       7/26/2012       19:15:37
29379      4696445027       6/18/2012       15:33:41
29380      4696446783       6/6/2012        8:20:08
29381      4696446994       10/15/2011      10:38:35
29382      4696449772       6/15/2011       11:24:06
29383      4696487179       1/17/2012       9:38:31
29384      4696487645       10/12/2011      8:07:27
29385      4696488899       10/27/2011      16:50:24
29386      4696581177       9/22/2012       9:38:31
29387      4696582554       11/8/2011       14:28:04
29388      4696585561       11/12/2011      9:35:12
29389      4696586598       12/23/2011      13:18:09
29390      4696671044       3/14/2012       19:32:01
29391      4696671255       7/18/2012       18:31:02
29392      4696672317       5/21/2012       17:44:19
29393      4696672339       4/23/2012       7:01:19
29394      4696677327       11/7/2011       8:09:55
29395      4696677919       12/29/2011      19:00:14
29396      4696679623       3/21/2012       13:52:01
29397      4696714208       12/23/2011      15:11:28
29398      4696714291       1/2/2012        8:07:48
29399      4696824020       1/12/2012       8:07:49
29400      4696826512       7/28/2013       14:55:47
29401      4696829109       12/21/2011      18:43:43
29402      4696840044       7/16/2012       19:52:10
29403      4696841644       11/19/2011      8:54:47
29404      4696842478       10/15/2012      10:09:48
29405      4696847796       1/9/2012        8:14:11
29406      4696848068       2/13/2012       18:47:38
29407      4696852873       3/23/2012       19:42:07
29408      4696854279       3/17/2012       8:34:24
29409      4696856077       1/4/2012        11:04:55
29410      4696881287       10/23/2012      16:08:04
29411      4696886881       10/12/2011      12:17:02
29412      4696887689       12/7/2011       13:32:11
29413      4696931008       7/28/2012       8:38:40
29414      4696933751       4/9/2012        13:44:53
29415      4696934649       9/27/2011       18:16:04
29416      4696938199       9/28/2011       11:12:19
29417      4696939644       8/19/2012       11:56:14
29418      4697330651       7/20/2012       14:58:33
29419      4697332754       12/28/2011      8:41:48
29420      4697333962       2/3/2012        20:11:22
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29421      4697334140       5/30/2012       16:42:17
29422      4697343877       5/4/2012        20:53:41
29423      4697346548       10/10/2012      19:20:20
29424      4697347249       5/17/2011       9:38:27
29425      4697348489       7/17/2012       12:23:59
29426      4697350026       3/13/2012       18:31:42
29427      4697350065       9/9/2011        17:54:27
29428      4697350393       8/17/2011       19:17:18
29429      4697351461       6/14/2012       16:19:31
29430      4697351892       4/13/2012       13:20:15
29431      4697352109       3/29/2012       16:45:12
29432      4697355982       6/25/2012       13:27:21
29433      4697357053       11/23/2011      14:42:10
29434      4697357784       10/29/2011      10:53:34
29435      4697357784       11/14/2011      17:11:38
29436      4697443584       1/27/2012       18:04:53
29437      4697444916       7/25/2012       11:57:05
29438      4697652270       10/12/2012      16:38:55
29439      4697654184       12/26/2011      9:32:09
29440      4697662278       9/21/2011       11:32:45
29441      4697662584       10/7/2011       8:16:58
29442      4697666303       10/21/2011      13:33:47
29443      4697673225       7/5/2012        10:40:46
29444      4697675493       4/21/2011       11:06:17
29445      4697677375       11/14/2011      15:12:58
29446      4697678711       11/4/2011       8:42:36
29447      4697743051       11/29/2011      15:41:59
29448      4697743051       5/21/2012       8:01:20
29449      4697744955       9/19/2011       8:11:37
29450      4697747971       4/1/2012        17:22:30
29451      4697748141       10/21/2011      13:32:47
29452      4697748246       8/9/2011        13:48:13
29453      4697896216       10/3/2012       8:04:34
29454      4697896216       10/8/2012       20:05:05
29455      4697896421       1/6/2012        12:24:21
29456      4697896431       5/13/2011       11:31:48
29457      4698260643       3/12/2012       19:38:34
29458      4698261078       10/7/2011       8:14:48
29459      4698312558       10/1/2012       13:50:19
29460      4698313014       7/2/2011        9:19:05
29461      4698315251       7/26/2011       10:42:34
29462      4698318880       10/13/2011      8:31:13
29463      4698341560       2/2/2012        16:32:31
29464      4698347868       10/14/2011      12:56:45
29465      4698349058       7/24/2012       14:46:38
29466      4698355013       6/4/2011        10:21:38
29467      4698357404       10/4/2011       13:52:52
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29468      4698358800       12/7/2011       13:32:46
29469      4698538040       10/26/2013      15:02:52
29470      4698550428       5/17/2012       16:57:51
29471      4698550655       1/20/2012       19:38:19
29472      4698550718       8/8/2012        16:13:59
29473      4698559055       9/16/2011       14:45:17
29474      4698653420       7/6/2012        16:47:58
29475      4698656837       1/11/2012       16:22:52
29476      4698659504       10/25/2011      16:22:04
29477      4698670173       2/29/2012       17:26:02
29478      4698674141       9/21/2011       11:35:21
29479      4698679004       9/24/2012       18:56:06
29480      4698770469       11/22/2011      18:48:09
29481      4698770712       10/4/2011       13:20:41
29482      4698770712       12/11/2011      12:23:59
29483      4698775144       10/11/2011      17:20:57
29484      4698777213       3/31/2012       17:54:04
29485      4698778341       11/18/2011      13:32:00
29486      4698781604       4/5/2012        16:10:58
29487      4698782285       1/7/2012        9:29:16
29488      4698788656       10/10/2011      11:58:10
29489      4698792263       10/18/2012      16:31:43
29490      4698793624       12/5/2011       9:39:31
29491      4698794088       9/30/2011       10:06:42
29492      4698889227       10/18/2012      16:36:23
29493      4699391001       2/29/2012       17:33:02
29494      4699391001       9/1/2012        9:01:25
29495      4699396072       4/13/2012       20:45:16
29496      4699397649       8/21/2012       13:53:48
29497      4699510586       9/14/2011       12:24:44
29498      4699520167       6/7/2012        12:38:53
29499      4699520249       10/3/2011       8:07:59
29500      4699520366       5/2/2011        18:10:41
29501      4699559430       10/13/2011      8:38:23
29502      4699641225       1/18/2012       20:20:57
29503      4699641225       3/29/2012       11:35:08
29504      4699643127       9/22/2011       15:19:03
29505      4699955067       11/23/2011      14:55:28
29506      4699955383       3/16/2012       16:36:34
29507      4699955451       8/17/2012       8:30:22
29508      4702152316       2/9/2012        9:42:28
29509      4702332667       4/6/2012        16:11:24
29510      4782010868       3/24/2012       10:16:30
29511      4782074236       12/20/2011      11:51:32
29512      4782134749       1/11/2012       7:28:27
29513      4782137401       7/28/2011       10:16:57
29514      4782280040       3/7/2012        7:12:59
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29515      4782280040       3/15/2012       7:09:49
29516      4782280823       1/13/2012       17:35:15
29517      4782280851       3/17/2012       8:24:55
29518      4782282283       6/29/2011       17:08:25
29519      4782283051       5/21/2012       7:22:55
29520      4782283519       1/8/2012        12:56:49
29521      4782283676       10/22/2011      12:23:18
29522      4782283916       7/2/2011        8:56:21
29523      4782289206       11/19/2011      8:06:49
29524      4782289206       5/23/2012       15:05:14
29525      4782301554       4/23/2012       7:08:12
29526      4782301554       5/21/2012       7:31:49
29527      4782302703       6/6/2012        13:07:16
29528      4782302969       6/13/2012       7:08:48
29529      4782306123       4/3/2012        16:07:16
29530      4782306131       11/16/2011      11:18:40
29531      4782306271       11/16/2011      9:30:23
29532      4782306321       1/17/2012       18:41:30
29533      4782308506       10/1/2011       10:20:47
29534      4782310980       12/19/2011      7:30:47
29535      4782311003       8/9/2012        14:01:19
29536      4782314949       10/11/2011      15:55:16
29537      4782316731       1/9/2012        7:04:24
29538      4782320192       2/16/2012       7:05:17
29539      4782324120       10/18/2011      12:48:46
29540      4782327619       9/8/2012        11:48:27
29541      4782330180       10/21/2011      13:06:52
29542      4782340913       6/15/2012       16:36:25
29543      4782344069       10/7/2012       12:46:10
29544      4782344069       10/10/2012      19:10:23
29545      4782350408       4/10/2012       15:29:26
29546      4782350985       2/18/2012       8:52:48
29547      4782352640       10/5/2011       14:25:53
29548      4782355261       11/29/2011      15:20:45
29549      4782356602       9/13/2011       18:36:22
29550      4782440098       9/4/2012        16:13:06
29551      4782443045       12/21/2011      10:08:06
29552      4782446299       3/19/2012       17:36:01
29553      4782448788       12/21/2011      10:45:56
29554      4782518429       5/10/2012       13:15:12
29555      4782561510       10/3/2012       19:50:58
29556      4782563327       9/30/2011       12:24:40
29557      4782568119       10/13/2012      9:03:37
29558      4782581081       11/11/2011      7:45:53
29559      4782581399       8/20/2011       8:40:23
29560      4782585794       2/6/2012        17:09:32
29561      4782681298       3/7/2012        18:40:38
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29562      4782681583       12/1/2011       8:12:03
29563      4782781152       5/4/2012        14:31:26
29564      4782781157       8/8/2011        15:05:56
29565      4782783405       1/20/2012       19:41:15
29566      4782789956       8/8/2011        14:59:05
29567      4782792296       11/4/2011       7:03:50
29568      4782795617       6/27/2012       17:56:01
29569      4782831232       9/13/2011       17:25:03
29570      4782832428       4/25/2012       9:26:34
29571      4782835501       12/5/2011       8:26:33
29572      4782838082       10/19/2012      19:13:05
29573      4782839665       12/18/2011      16:46:48
29574      4782839669       11/22/2011      19:06:26
29575      4782853817       9/3/2011        10:48:28
29576      4782860941       11/17/2011      15:14:31
29577      4782860941       3/6/2012        12:38:16
29578      4782860941       3/23/2012       19:39:35
29579      4782884224       9/12/2011       13:13:09
29580      4782884353       10/5/2011       10:33:27
29581      4782930397       1/8/2012        12:56:10
29582      4782992131       11/11/2011      13:30:09
29583      4782992148       5/12/2012       8:36:43
29584      4782993853       10/17/2011      11:52:48
29585      4782993925       1/18/2012       9:48:48
29586      4782996194       11/23/2011      10:01:30
29587      4782996194       5/21/2012       7:22:25
29588      4782996567       3/21/2012       13:44:55
29589      4782996589       11/11/2011      13:32:37
29590      4782998804       10/4/2011       13:06:43
29591      4783022555       9/22/2013       12:46:18
29592      4783081808       1/6/2012        14:32:18
29593      4783083532       10/3/2011       7:24:45
29594      4783083532       10/19/2011      7:49:38
29595      4783180869       4/18/2012       18:03:38
29596      4783181261       6/22/2012       7:47:34
29597      4783186281       1/8/2012        13:05:35
29598      4783187483       3/28/2012       7:24:34
29599      4783187483       5/2/2012        13:08:47
29600      4783190659       5/18/2012       15:53:35
29601      4783190659       5/21/2012       7:34:33
29602      4783192260       10/27/2011      16:17:16
29603      4783194433       3/15/2012       19:01:25
29604      4783199779       11/22/2011      19:03:38
29605      4783201928       1/20/2012       14:18:57
29606      4783202066       2/29/2012       7:07:05
29607      4783207031       10/10/2011      11:45:51
29608      4783207466       10/22/2011      12:29:34
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29609      4783344399       1/29/2012       17:05:08
29610      4783353758       1/13/2012       17:20:08
29611      4783357135       7/12/2012       20:00:59
29612      4783572317       8/27/2011       11:28:02
29613      4783574056       2/2/2012        7:16:10
29614      4783614800       8/16/2012       7:50:04
29615      4783630055       5/18/2012       15:38:42
29616      4783655769       1/14/2012       8:17:15
29617      4783656063       2/11/2012       15:06:12
29618      4783658787       10/15/2011      10:11:24
29619      4783659254       12/16/2011      15:27:38
29620      4783659254       1/16/2012       17:20:28
29621      4783904568       4/28/2012       8:37:53
29622      4783906980       5/22/2012       11:46:21
29623      4783910186       2/13/2012       7:05:34
29624      4783912461       1/9/2012        7:24:49
29625      4783915822       3/16/2012       16:00:39
29626      4783942093       12/10/2011      12:44:05
29627      4783943069       1/8/2012        12:58:51
29628      4783966664       9/13/2012       7:39:35
29629      4783968266       8/8/2012        16:10:56
29630      4783978086       3/27/2012       15:00:25
29631      4784100330       3/29/2011       17:13:20
29632      4784100330       9/8/2011        19:46:29
29633      4784421449       2/9/2012        7:09:51
29634      4784421449       2/20/2012       7:16:05
29635      4784424530       12/27/2011      14:30:24
29636      4784472505       10/6/2011       16:12:15
29637      4784479331       12/15/2011      7:11:29
29638      4784541732       11/26/2011      12:38:02
29639      4784560729       10/7/2011       7:01:15
29640      4784562422       8/16/2011       16:35:34
29641      4784611898       12/21/2011      10:05:00
29642      4784611972       1/18/2012       9:57:56
29643      4784613547       12/21/2011      18:46:15
29644      4784841346       1/19/2012       7:29:13
29645      4784841879       11/26/2011      12:30:00
29646      4784841918       10/3/2011       7:24:42
29647      4784841918       11/8/2011       14:14:27
29648      4784842531       2/14/2012       15:19:19
29649      4784843104       1/3/2012        16:21:02
29650      4784845025       4/12/2012       12:29:55
29651      4784846916       8/13/2011       9:59:33
29652      4784849250       3/26/2012       7:13:12
29653      4784942830       10/21/2011      12:21:48
29654      4784943150       5/21/2012       7:02:40
29655      4784946040       3/19/2012       19:16:54
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29656      4784947935       5/25/2012       12:04:04
29657      4784949696       12/28/2011      7:22:00
29658      4785017906       11/18/2011      13:22:54
29659      4785018075       2/21/2012       9:42:18
29660      4785082925       5/26/2012       14:35:44
29661      4785083454       3/16/2012       15:48:59
29662      4785089440       7/12/2012       15:51:17
29663      4785210616       9/28/2012       17:04:19
29664      4785383234       9/21/2011       11:45:26
29665      4785383494       11/28/2011      11:11:32
29666      4785386467       1/16/2012       17:23:44
29667      4785421118       7/16/2012       19:50:31
29668      4785421790       4/6/2012        15:51:10
29669      4785501237       12/21/2011      9:49:44
29670      4785502812       1/5/2012        17:25:57
29671      4785503684       9/29/2011       15:41:41
29672      4785504584       12/23/2011      15:32:34
29673      4785504692       3/19/2012       17:38:24
29674      4785506353       7/18/2012       7:12:43
29675      4785951297       5/3/2012        7:03:24
29676      4785951802       10/6/2011       16:34:02
29677      4785956697       8/21/2012       13:47:16
29678      4785957596       10/6/2011       16:32:51
29679      4786970629       10/22/2011      13:03:51
29680      4786978225       9/20/2011       14:57:23
29681      4787144107       2/6/2012        8:10:15
29682      4787145462       7/12/2012       19:57:28
29683      4787180329       9/28/2012       7:35:58
29684      4787180426       10/28/2011      14:03:45
29685      4787187862       7/2/2012        14:59:58
29686      4787310853       10/15/2011      10:24:09
29687      4787310853       11/5/2011       9:50:17
29688      4787310853       3/17/2012       8:51:49
29689      4787312575       3/16/2012       10:32:12
29690      4787317024       3/29/2012       11:24:23
29691      4787333975       4/27/2012       7:38:52
29692      4787336997       9/19/2011       19:23:47
29693      4787374721       1/20/2012       19:26:06
29694      4787379492       3/28/2012       7:17:28
29695      4787473112       8/17/2012       7:10:40
29696      4787475778       7/23/2012       15:27:39
29697      4787871033       1/29/2012       16:24:50
29698      4787871965       9/22/2011       15:05:03
29699      4788120432       9/12/2011       14:04:17
29700      4789186048       9/16/2011       14:28:59
29701      4789190015       11/29/2011      15:31:27
29702      4789191770       3/6/2012        17:03:33
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29703      4789193706       1/14/2012       8:02:20
29704      4789199827       10/1/2012       8:12:51
29705      4789513190       3/15/2012       19:24:17
29706      4789515755       2/28/2012       13:25:21
29707      4789518910       12/15/2011      8:38:22
29708      4789521671       10/3/2011       7:32:33
29709      4789521671       10/14/2011      12:45:46
29710      4789521671       10/31/2011      7:55:42
29711      4789522240       3/16/2012       10:45:16
29712      4789525916       9/28/2011       10:08:24
29713      4789540468       10/11/2012      7:54:10
29714      4789541995       3/20/2012       17:35:44
29715      4789544344       9/8/2011        19:26:15
29716      4789570543       5/18/2012       11:57:35
29717      4789575777       7/9/2012        19:05:04
29718      4789576709       10/1/2011       10:17:48
29719      4789601504       9/30/2011       10:13:27
29720      4789603211       10/19/2012      9:59:01
29721      4789609925       12/9/2011       13:08:57
29722      4789720296       9/22/2011       15:43:24
29723      4789726891       10/23/2012      10:28:13
29724      4789732186       11/5/2011       9:39:55
29725      4789734569       9/19/2011       7:09:02
29726      4789781366       12/7/2011       13:41:39
29727      4789781436       2/7/2012        16:46:30
29728      4789782048       12/9/2011       15:08:14
29729      4789782263       9/22/2011       15:04:34
29730      4789782362       5/14/2012       15:14:40
29731      4789783106       12/12/2011      16:31:49
29732      4789784083       11/21/2011      7:47:36
29733      4789785063       8/16/2012       19:51:25
29734      4789785651       8/23/2011       18:47:10
29735      4789837022       8/2/2012        11:35:04
29736      4789982883       9/23/2011       18:40:12
29737      4792001004       4/9/2012        18:16:04
29738      4792004662       12/9/2011       13:24:49
29739      4792062738       3/3/2012        8:25:30
29740      4792070116       5/26/2012       14:23:29
29741      4792074526       5/5/2012        12:31:01
29742      4792074526       6/16/2012       8:29:45
29743      4792075187       9/29/2012       9:50:08
29744      4792081077       12/12/2011      12:24:41
29745      4792091692       9/30/2011       10:01:59
29746      4792130342       2/16/2012       8:32:30
29747      4792130413       10/11/2011      17:18:20
29748      4792147557       6/8/2012        8:08:03
29749      4792160432       5/16/2012       16:49:32
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29750      4792162004       5/4/2012        20:58:14
29751      4792162398       9/21/2011       11:53:08
29752      4792164314       11/28/2011      17:00:54
29753      4792165079       1/9/2012        18:41:00
29754      4792166040       1/17/2012       9:42:20
29755      4792166040       1/24/2012       17:23:34
29756      4792166499       9/19/2011       19:04:17
29757      4792169547       10/15/2012      16:12:54
29758      4792200612       10/15/2011      10:47:40
29759      4792208811       9/26/2012       15:33:35
29760      4792210997       1/13/2012       17:26:50
29761      4792212991       9/21/2012       15:29:23
29762      4792215046       10/22/2011      13:08:23
29763      4792215174       9/27/2012       8:40:46
29764      4792231143       11/17/2011      14:18:08
29765      4792231198       9/28/2011       10:24:27
29766      4792233004       6/22/2012       20:59:47
29767      4792271509       10/23/2012      18:50:08
29768      4792281394       10/10/2012      12:55:49
29769      4792281770       10/10/2011      11:50:45
29770      4792281770       11/4/2011       9:05:23
29771      4792331932       3/20/2012       17:42:17
29772      4792348228       10/22/2012      17:51:11
29773      4792364718       10/21/2011      12:48:13
29774      4792365623       5/17/2012       16:35:03
29775      4792369643       11/3/2011       17:25:37
29776      4792440195       11/17/2011      15:40:16
29777      4792440195       3/29/2012       12:34:19
29778      4792446627       4/7/2012        9:11:55
29779      4792446911       11/8/2011       13:57:08
29780      4792520058       10/15/2012      16:12:34
29781      4792520345       3/29/2012       16:43:41
29782      4792521020       10/8/2011       9:59:49
29783      4792521021       12/27/2011      14:20:46
29784      4792521021       1/10/2012       18:08:46
29785      4792533738       2/28/2012       13:16:32
29786      4792569342       11/10/2011      17:27:00
29787      4792642705       11/23/2011      14:40:26
29788      4792643282       11/29/2011      15:01:23
29789      4792643381       11/22/2011      18:44:04
29790      4792645142       11/17/2011      16:13:59
29791      4792646922       8/1/2011        19:43:29
29792      4792646922       8/2/2011        17:12:07
29793      4792834078       4/21/2012       16:26:09
29794      4792837571       5/24/2011       16:33:39
29795      4792850458       2/26/2012       13:18:52
29796      4792872441       4/18/2012       17:57:39
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29797      4792872441       5/1/2012        17:27:28
29798      4792873000       5/21/2012       17:42:46
29799      4792873339       11/25/2011      18:24:16
29800      4792950857       3/19/2012       11:53:07
29801      4792954097       9/25/2012       14:55:28
29802      4792956098       1/8/2012        13:19:01
29803      4792956098       1/16/2012       17:33:14
29804      4792957460       5/22/2012       18:40:39
29805      4793010176       11/4/2011       9:18:29
29806      4793016285       8/6/2012        16:35:22
29807      4793017646       8/23/2012       11:34:30
29808      4793017731       8/21/2012       14:01:52
29809      4793131399       9/3/2012        14:56:44
29810      4793132109       9/23/2011       11:39:15
29811      4793133494       2/10/2012       20:33:21
29812      4793250157       5/17/2012       11:43:43
29813      4793250162       2/17/2012       9:14:54
29814      4793534369       12/3/2011       10:18:52
29815      4793534369       1/24/2012       10:21:09
29816      4793536450       4/20/2011       20:09:19
29817      4793536577       11/8/2011       14:29:05
29818      4793538678       11/5/2011       11:18:57
29819      4793538733       1/19/2012       18:42:35
29820      4793550409       5/25/2011       17:45:25
29821      4793669344       1/5/2012        14:06:48
29822      4793669658       6/25/2012       13:26:34
29823      4793669658       7/9/2012        8:50:53
29824      4793727568       3/7/2012        9:43:12
29825      4793728060       7/26/2012       19:21:15
29826      4793816298       8/18/2011       8:01:51
29827      4793817882       12/9/2011       14:47:04
29828      4793872638       11/25/2011      17:53:15
29829      4793876448       12/1/2011       15:03:16
29830      4794092973       5/20/2012       15:41:28
29831      4794093492       11/29/2011      15:02:34
29832      4794145975       12/21/2011      9:55:55
29833      4794145976       1/8/2012        13:23:25
29834      4794146375       11/12/2011      9:28:53
29835      4794189238       10/28/2011      13:48:48
29836      4794198789       1/2/2012        8:13:36
29837      4794200723       3/14/2012       14:17:04
29838      4794201823       10/7/2012       13:13:43
29839      4794205599       5/1/2012        17:54:32
29840      4794206482       12/21/2011      19:59:28
29841      4794206788       9/20/2011       20:41:43
29842      4794221196       10/11/2012      11:49:26
29843      4794221964       1/4/2012        12:21:31
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29844      4794223167       9/19/2011       19:13:28
29845      4794265760       9/13/2011       17:22:42
29846      4794276062       2/29/2012       17:33:01
29847      4794300575       9/19/2011       19:33:10
29848      4794304649       3/15/2012       13:57:19
29849      4794308723       9/19/2011       19:31:32
29850      4794308827       5/8/2012        12:40:41
29851      4794384116       4/19/2012       14:30:54
29852      4794433352       2/25/2012       11:07:41
29853      4794530041       12/21/2013      14:14:20
29854      4794536453       10/6/2011       17:44:07
29855      4794591613       10/20/2012      16:31:34
29856      4794593423       1/18/2012       16:51:50
29857      4794595679       8/7/2012        18:00:40
29858      4794615143       2/21/2012       11:38:08
29859      4794616284       9/13/2011       13:36:51
29860      4794626459       9/30/2011       10:01:13
29861      4794668409       9/1/2012        9:25:05
29862      4794668505       3/26/2012       8:21:24
29863      4794669834       12/19/2011      8:06:33
29864      4794771010       11/3/2011       18:00:46
29865      4794771010       5/5/2012        8:36:06
29866      4794959428       10/7/2012       13:00:36
29867      4795022184       3/7/2012        9:41:24
29868      4795022987       12/17/2011      12:08:35
29869      4795026999       10/5/2011       14:16:28
29870      4795182635       9/14/2011       15:19:13
29871      4795222856       9/19/2011       19:30:58
29872      4795301632       6/12/2012       8:00:51
29873      4795301632       6/15/2012       16:33:12
29874      4795304151       12/6/2011       14:12:49
29875      4795315560       5/5/2011        13:18:19
29876      4795317587       10/6/2011       17:39:39
29877      4795318714       4/3/2012        16:13:56
29878      4795318919       9/21/2012       15:29:23
29879      4795319470       3/15/2011       12:54:32
29880      4795440244       12/23/2011      13:24:31
29881      4795440853       11/4/2011       8:59:00
29882      4795441319       3/15/2012       19:33:45
29883      4795441712       3/5/2012        8:08:20
29884      4795444995       10/5/2012       12:28:36
29885      4795445763       12/7/2011       14:49:11
29886      4795498701       2/3/2012        20:19:06
29887      4795612716       3/24/2012       9:46:54
29888      4795614142       1/19/2012       8:06:37
29889      4795614305       11/26/2011      13:24:18
29890      4795615092       10/24/2011      8:03:58
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29891      4795615092       3/2/2012        9:36:23
29892      4795615266       6/18/2012       15:25:16
29893      4795616519       10/1/2011       10:51:08
29894      4795616519       11/2/2011       14:08:13
29895      4795619341       9/15/2011       8:39:03
29896      4795670373       2/14/2012       13:27:20
29897      4795674326       4/13/2012       20:44:46
29898      4795674449       3/6/2012        20:30:02
29899      4795959974       3/8/2012        20:34:08
29900      4795993523       3/15/2012       14:06:48
29901      4795993523       6/5/2012        14:42:08
29902      4795999408       11/16/2011      10:34:51
29903      4796011301       1/23/2012       8:30:58
29904      4796218742       11/12/2011      10:41:50
29905      4796220654       11/14/2011      17:04:00
29906      4796229168       12/23/2011      15:59:51
29907      4796291193       3/9/2012        9:11:42
29908      4796291193       6/20/2012       16:53:33
29909      4796295900       11/3/2011       17:18:17
29910      4796445942       11/3/2011       17:50:29
29911      4796446395       11/7/2011       9:30:17
29912      4796472608       12/28/2011      13:45:13
29913      4796476017       11/11/2011      13:19:19
29914      4796479069       10/10/2011      12:41:57
29915      4796479141       12/23/2011      13:17:48
29916      4796479141       2/28/2012       13:34:54
29917      4796479388       6/22/2012       21:00:09
29918      4796520339       10/25/2011      16:28:59
29919      4796521549       4/5/2012        14:27:22
29920      4796525392       7/21/2011       13:45:51
29921      4796575194       6/23/2012       16:26:33
29922      4796592615       3/10/2012       8:52:28
29923      4796704642       1/9/2012        18:45:17
29924      4796856516       9/19/2011       19:34:32
29925      4796929015       3/17/2012       8:57:10
29926      4796929015       7/13/2012       11:59:35
29927      4797139783       4/2/2012        9:01:37
29928      4797151554       12/23/2011      15:52:34
29929      4797151776       8/1/2012        8:29:30
29930      4797155348       10/23/2013      10:55:04
29931      4797195226       12/23/2011      14:12:31
29932      4797198332       5/19/2011       8:23:59
29933      4797212423       5/20/2012       15:42:57
29934      4797212423       5/21/2012       8:25:39
29935      4797217834       9/27/2012       8:43:51
29936      4797218595       10/10/2012      12:49:10
29937      4797394115       6/27/2012       18:01:12
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29938      4797394575       9/14/2011       10:14:05
29939      4797395086       11/16/2011      19:58:41
29940      4797397788       10/9/2012       20:01:14
29941      4797470170       5/31/2012       8:04:41
29942      4797471790       6/9/2012        14:45:39
29943      4797473821       9/9/2011        17:55:26
29944      4797475932       5/21/2012       17:41:09
29945      4797476972       10/11/2012      18:40:21
29946      4797541861       4/30/2012       15:05:23
29947      4797541861       5/7/2012        17:56:22
29948      4797745418       10/20/2012      8:07:51
29949      4797894226       2/10/2012       20:34:28
29950      4797894226       5/21/2012       8:16:01
29951      4797996743       11/3/2011       17:21:13
29952      4797996743       11/23/2011      9:41:53
29953      4797996743       1/6/2012        14:58:24
29954      4798061064       9/13/2011       13:37:23
29955      4798067193       9/29/2012       9:50:15
29956      4798313145       8/10/2012       8:25:23
29957      4798313855       11/2/2011       14:14:49
29958      4798318974       10/16/2012      20:27:35
29959      4798495023       8/8/2011        12:43:44
29960      4798495984       7/11/2012       9:39:32
29961      4798497000       5/4/2012        18:11:32
29962      4798570527       11/17/2011      14:17:38
29963      4798570527       11/29/2011      16:19:15
29964      4798571592       3/22/2012       14:01:12
29965      4798576773       11/3/2011       17:24:59
29966      4798578141       3/19/2012       11:57:51
29967      4798578231       9/13/2011       17:57:08
29968      4798579412       10/12/2011      8:45:34
29969      4798588858       10/5/2011       14:15:41
29970      4798716899       10/12/2011      8:37:37
29971      4798719304       9/22/2011       16:08:31
29972      4798792165       4/2/2012        8:50:37
29973      4798831850       6/7/2012        12:39:08
29974      4798832766       2/9/2012        20:31:59
29975      4798837772       6/3/2011        8:15:26
29976      4798838345       2/28/2012       15:52:58
29977      4798838345       6/21/2012       18:44:15
29978      4798866424       10/22/2011      12:40:08
29979      4798866424       11/22/2011      19:36:03
29980      4798901210       8/2/2011        18:36:21
29981      4798991995       4/20/2012       20:50:54
29982      4798991996       5/7/2012        8:13:17
29983      4798992240       11/14/2011      14:55:23
29984      4798993311       9/19/2011       19:32:32
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29985      4798994173       1/28/2012       8:17:12
29986      4798998258       9/15/2011       8:35:32
29987      4799261134       12/5/2011       9:49:48
29988      4799261797       8/17/2011       18:50:26
29989      4799262138       1/19/2012       18:42:27
29990      4799267620       4/12/2012       17:57:57
29991      4799350409       2/15/2012       13:03:39
29992      4799364028       11/12/2011      9:35:48
29993      4799368874       9/17/2012       8:36:51
29994      4799660406       7/21/2012       10:49:01
29995      4799661033       10/10/2011      12:46:16
29996      4799661719       1/23/2012       8:29:40
29997      4799705531       10/21/2011      13:33:13
29998      4799708101       8/22/2012       11:22:01
29999      4799795614       10/22/2012      17:59:40
30000      4799797227       1/13/2012       17:40:15
30001      4802000910       8/10/2012       21:23:27
30002      4802005010       1/10/2012       15:37:55
30003      4802006397       3/16/2012       11:54:49
30004      4802006561       10/11/2012      18:47:57
30005      4802007495       4/22/2012       15:37:02
30006      4802008615       10/12/2011      11:53:30
30007      4802022512       5/13/2012       18:04:51
30008      4802023388       6/17/2011       15:45:55
30009      4802024899       10/17/2011      10:30:48
30010      4802024899       12/31/2011      12:09:25
30011      4802036212       10/3/2011       10:40:21
30012      4802043073       12/28/2011      20:49:19
30013      4802046945       5/19/2012       10:55:41
30014      4802054200       11/28/2011      12:23:23
30015      4802054200       12/7/2011       14:56:47
30016      4802086900       10/2/2012       10:09:28
30017      4802087974       3/29/2012       16:34:29
30018      4802092003       3/6/2012        16:06:23
30019      4802123069       9/29/2012       9:52:37
30020      4802131000       7/19/2012       17:39:54
30021      4802159517       8/14/2012       21:00:53
30022      4802163883       11/17/2011      16:33:19
30023      4802170519       3/12/2012       11:11:10
30024      4802170522       1/18/2012       9:56:58
30025      4802170654       10/10/2012      12:38:57
30026      4802170663       11/30/2011      13:02:08
30027      4802171719       3/14/2011       17:26:50
30028      4802175199       4/5/2012        13:53:47
30029      4802176553       9/21/2011       19:31:17
30030      4802176583       10/20/2012      16:23:59
30031      4802176718       3/16/2012       10:07:09
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30032      4802178046       5/27/2011       17:09:49
30033      4802178212       8/4/2011        19:15:13
30034      4802178680       12/23/2011      13:31:35
30035      4802179056       1/6/2012        14:54:08
30036      4802179765       11/25/2011      18:33:26
30037      4802204998       5/26/2012       14:41:49
30038      4802253918       1/19/2012       18:42:36
30039      4802258941       9/23/2011       19:05:06
30040      4802262861       6/29/2012       17:45:40
30041      4802263394       10/12/2011      11:38:52
30042      4802270942       9/12/2011       13:27:05
30043      4802273515       1/21/2012       9:04:06
30044      4802275488       1/25/2012       20:39:08
30045      4802278185       10/17/2011      10:30:25
30046      4802279988       2/10/2012       17:14:00
30047      4802281630       11/14/2011      17:33:25
30048      4802283133       5/24/2011       16:12:42
30049      4802283305       5/8/2012        21:18:26
30050      4802283995       5/24/2011       16:15:12
30051      4802287115       9/20/2011       16:53:28
30052      4802289252       9/9/2011        17:49:28
30053      4802294051       9/14/2011       21:35:25
30054      4802294626       1/17/2012       9:39:28
30055      4802295761       1/17/2012       18:48:17
30056      4802298906       6/27/2012       12:08:20
30057      4802316507       9/13/2011       14:14:04
30058      4802322145       8/18/2011       8:17:18
30059      4802323021       2/28/2012       13:20:12
30060      4802323021       4/30/2012       21:04:18
30061      4802323491       1/18/2012       16:44:10
30062      4802323928       2/29/2012       17:58:43
30063      4802325288       10/27/2011      16:08:19
30064      4802327140       12/23/2011      15:12:14
30065      4802327579       12/9/2011       15:13:26
30066      4802327747       3/17/2012       11:52:24
30067      4802327774       7/17/2012       21:55:32
30068      4802327867       2/28/2012       13:18:22
30069      4802328411       6/4/2012        21:05:59
30070      4802328552       9/21/2012       15:57:14
30071      4802328703       4/19/2012       20:17:28
30072      4802328845       1/18/2012       10:22:53
30073      4802329611       10/8/2011       10:09:05
30074      4802330294       10/1/2011       10:53:54
30075      4802330803       1/3/2012        19:45:07
30076      4802331489       5/8/2012        21:26:31
30077      4802331762       5/23/2011       16:13:19
30078      4802332077       11/14/2011      15:19:43
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30079      4802332561       2/8/2012        12:54:30
30080      4802334444       9/29/2011       15:55:34
30081      4802336011       2/17/2012       18:37:59
30082      4802342328       8/10/2011       19:26:47
30083      4802345091       2/3/2012        20:11:58
30084      4802358483       9/30/2011       10:08:35
30085      4802366906       9/12/2011       13:29:56
30086      4802381276       10/14/2011      13:32:07
30087      4802383048       6/26/2012       16:16:50
30088      4802383635       1/20/2012       20:36:10
30089      4802383680       5/7/2011        15:26:28
30090      4802383935       12/29/2011      19:38:30
30091      4802384177       2/9/2012        20:33:13
30092      4802385066       4/27/2012       21:03:54
30093      4802385243       10/4/2011       13:55:51
30094      4802385846       2/8/2012        13:03:02
30095      4802386398       11/20/2011      11:10:36
30096      4802387958       2/24/2011       12:01:02
30097      4802389955       12/7/2011       13:32:13
30098      4802391750       3/21/2012       18:34:14
30099      4802391839       1/20/2012       19:31:26
30100      4802392706       9/14/2011       16:51:53
30101      4802396009       3/26/2011       12:36:35
30102      4802396343       3/23/2011       20:16:54
30103      4802396681       9/15/2011       10:49:58
30104      4802400165       9/27/2011       18:17:44
30105      4802414013       9/10/2011       12:39:58
30106      4802414013       9/27/2011       18:17:59
30107      4802417448       12/20/2011      11:58:45
30108      4802419045       1/6/2012        13:08:48
30109      4802422302       11/17/2011      16:33:35
30110      4802422804       2/28/2012       13:35:50
30111      4802424469       5/10/2011       19:39:37
30112      4802424469       10/11/2012      18:49:29
30113      4802425068       7/19/2011       16:59:34
30114      4802428070       10/3/2011       10:39:34
30115      4802433818       1/4/2012        20:15:48
30116      4802450608       10/11/2011      16:34:06
30117      4802458347       8/7/2012        20:05:13
30118      4802458698       9/20/2011       20:36:30
30119      4802460081       12/26/2011      20:31:13
30120      4802462707       12/18/2011      16:24:08
30121      4802465561       3/24/2012       10:06:36
30122      4802465561       4/18/2012       18:00:37
30123      4802467578       5/9/2012        21:04:51
30124      4802484952       9/26/2011       13:17:42
30125      4802485343       7/3/2012        15:58:48
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30126      4802485343       8/5/2012        16:53:10
30127      4802485343       9/11/2012       13:31:27
30128      4802501025       12/26/2011      20:32:58
30129      4802501025       3/3/2012        9:06:13
30130      4802502526       11/11/2011      20:26:19
30131      4802503335       9/8/2011        18:14:20
30132      4802507735       11/22/2011      19:43:33
30133      4802511296       10/10/2012      19:07:57
30134      4802513123       4/10/2012       16:05:17
30135      4802517342       12/18/2011      16:51:19
30136      4802517406       4/14/2012       10:19:49
30137      4802517556       1/8/2012        15:40:18
30138      4802518901       9/28/2011       11:28:34
30139      4802521294       10/19/2011      12:00:53
30140      4802525923       12/2/2011       15:12:34
30141      4802527831       10/11/2011      17:38:11
30142      4802547704       12/29/2011      19:38:56
30143      4802549638       1/5/2012        14:08:09
30144      4802550595       9/14/2011       12:37:28
30145      4802551139       6/24/2012       13:58:47
30146      4802551522       9/9/2011        18:31:11
30147      4802552527       11/11/2011      13:23:24
30148      4802555669       3/19/2012       19:05:33
30149      4802555669       3/23/2012       19:42:11
30150      4802555737       9/25/2012       14:58:45
30151      4802557656       9/13/2012       15:17:51
30152      4802559852       1/20/2012       20:35:56
30153      4802581604       2/14/2012       9:51:17
30154      4802584024       1/5/2012        14:08:43
30155      4802590063       1/14/2012       9:18:37
30156      4802590225       1/13/2012       17:18:36
30157      4802591924       12/12/2011      16:25:06
30158      4802592406       9/15/2011       10:44:38
30159      4802620831       12/9/2011       13:53:45
30160      4802620831       5/2/2012        21:07:36
30161      4802655324       9/20/2011       16:33:57
30162      4802656002       12/20/2011      19:26:21
30163      4802701785       2/4/2012        13:12:01
30164      4802730835       10/24/2011      14:37:02
30165      4802733153       1/4/2012        11:08:33
30166      4802735745       1/6/2012        14:44:38
30167      4802739065       9/19/2011       19:35:08
30168      4802740748       3/9/2012        9:18:17
30169      4802741284       8/13/2012       20:54:05
30170      4802741430       10/10/2011      12:55:44
30171      4802743569       7/31/2012       15:47:54
30172      4802745908       5/2/2011        18:14:33
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30173      4802761627       10/6/2011       16:56:14
30174      4802763844       9/23/2011       19:10:38
30175      4802767032       4/1/2012        17:33:33
30176      4802773211       3/28/2012       10:27:37
30177      4802773380       12/22/2011      9:18:34
30178      4802774798       2/8/2012        13:03:31
30179      4802778185       1/17/2012       20:25:19
30180      4802781621       11/15/2011      20:16:23
30181      4802785274       3/31/2012       22:34:17
30182      4802789041       11/22/2011      19:43:56
30183      4802789920       1/16/2012       17:17:49
30184      4802805740       11/2/2011       16:23:58
30185      4802827868       8/9/2012        21:58:36
30186      4802837630       10/24/2011      14:40:01
30187      4802849182       10/4/2011       13:26:19
30188      4802849727       12/17/2011      12:13:12
30189      4802854484       1/20/2012       19:31:25
30190      4802854685       6/11/2011       11:19:11
30191      4802855282       12/30/2011      12:49:17
30192      4802858199       12/23/2011      13:28:48
30193      4802860956       8/24/2011       12:06:24
30194      4802861092       7/3/2012        15:59:23
30195      4802863817       6/1/2012        10:40:57
30196      4802866527       1/30/2012       9:03:43
30197      4802872203       5/7/2012        21:35:10
30198      4802872203       8/25/2012       11:19:00
30199      4802873863       3/31/2012       22:34:47
30200      4802891209       5/17/2012       16:43:05
30201      4802891960       8/22/2012       21:44:54
30202      4802891960       10/3/2012       10:21:44
30203      4802900067       4/17/2012       11:26:33
30204      4802900067       4/20/2012       20:49:31
30205      4802901477       8/16/2011       18:11:26
30206      4802909288       11/29/2011      15:13:44
30207      4802912708       10/3/2011       10:40:27
30208      4802943588       2/10/2012       17:11:06
30209      4802955057       3/25/2012       12:11:16
30210      4802956850       5/12/2012       10:47:01
30211      4802963870       10/1/2011       10:05:00
30212      4802971272       12/20/2011      17:08:21
30213      4802984717       12/23/2011      16:04:57
30214      4802986999       12/29/2011      11:13:15
30215      4802987281       1/6/2012        15:18:06
30216      4802987963       9/22/2011       16:10:49
30217      4802988307       2/6/2012        17:04:16
30218      4802993528       10/19/2012      19:11:49
30219      4802993732       9/15/2011       10:44:31
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30220      4802993732       12/10/2011      12:30:21
30221      4802994121       10/20/2011      20:57:46
30222      4802994754       9/13/2011       18:06:55
30223      4803040516       8/29/2011       17:54:13
30224      4803042252       11/17/2011      14:40:53
30225      4803053060       7/16/2012       19:53:26
30226      4803061528       1/11/2012       16:31:47
30227      4803062927       11/17/2011      15:51:18
30228      4803063006       9/3/2012        14:52:50
30229      4803069021       3/13/2012       12:54:05
30230      4803071453       7/26/2012       12:25:35
30231      4803075609       11/28/2011      11:23:56
30232      4803075797       5/23/2012       16:25:24
30233      4803092968       6/28/2012       12:39:13
30234      4803098683       8/21/2012       21:47:42
30235      4803099287       8/2/2012        18:51:16
30236      4803104268       9/26/2012       14:43:12
30237      4803107584       12/7/2011       14:20:06
30238      4803107617       1/3/2012        15:27:26
30239      4803108235       2/14/2012       16:52:34
30240      4803108774       10/24/2012      15:20:49
30241      4803109095       6/13/2012       10:26:56
30242      4803132189       2/2/2012        21:01:08
30243      4803134603       9/26/2011       13:25:47
30244      4803138051       9/22/2011       15:31:11
30245      4803139942       4/10/2012       11:59:15
30246      4803161289       12/26/2011      20:07:57
30247      4803181195       9/6/2012        21:14:40
30248      4803184212       9/22/2011       16:16:12
30249      4803185674       3/6/2012        20:33:57
30250      4803192003       3/28/2012       11:09:19
30251      4803192807       12/9/2011       13:46:02
30252      4803194495       8/17/2012       21:21:32
30253      4803195119       12/2/2011       14:36:28
30254      4803208036       8/27/2011       12:10:01
30255      4803208340       8/29/2012       20:22:39
30256      4803209350       5/1/2012        17:30:35
30257      4803221971       10/20/2011      20:56:10
30258      4803235195       6/28/2012       14:16:39
30259      4803246655       8/26/2011       18:28:56
30260      4803263198       4/2/2012        15:24:50
30261      4803263765       5/21/2012       17:55:21
30262      4803263765       5/26/2012       14:41:51
30263      4803264957       12/23/2011      14:21:53
30264      4803264957       5/11/2012       12:30:54
30265      4803266593       9/29/2011       15:23:58
30266      4803268441       4/1/2012        17:32:30
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30267      4803268513       9/20/2011       16:55:00
30268      4803293880       8/22/2012       11:24:19
30269      4803296104       6/22/2012       20:55:21
30270      4803297903       10/15/2011      10:07:08
30271      4803298482       2/15/2012       14:01:31
30272      4803299719       11/11/2011      20:10:11
30273      4803303376       5/7/2011        15:29:01
30274      4803306363       4/3/2012        10:51:46
30275      4803321123       9/29/2011       15:54:47
30276      4803341264       6/29/2012       17:46:17
30277      4803342034       1/3/2012        19:45:08
30278      4803344171       8/23/2012       21:05:59
30279      4803344223       10/10/2011      12:57:11
30280      4803346840       9/29/2011       15:25:01
30281      4803347129       5/29/2012       10:57:18
30282      4803348012       4/21/2012       16:27:22
30283      4803350476       11/30/2011      15:31:38
30284      4803351087       9/27/2011       18:49:30
30285      4803356532       10/17/2012      18:38:19
30286      4803358556       8/16/2012       19:57:33
30287      4803359454       12/7/2011       14:07:24
30288      4803382453       3/15/2012       19:09:47
30289      4803383093       1/23/2012       19:02:11
30290      4803385466       4/14/2012       10:19:31
30291      4803386696       10/19/2011      7:55:12
30292      4803388232       9/20/2011       16:54:32
30293      4803399059       7/10/2012       21:10:12
30294      4803399844       3/6/2012        13:06:39
30295      4803399844       3/31/2012       17:41:39
30296      4803430630       8/8/2012        16:14:34
30297      4803430989       10/3/2011       7:34:58
30298      4803431099       10/14/2011      13:37:56
30299      4803431099       4/26/2012       21:07:19
30300      4803431620       11/30/2011      13:02:20
30301      4803432681       4/2/2012        20:07:32
30302      4803434831       12/1/2011       15:08:35
30303      4803435399       12/23/2011      13:30:33
30304      4803437137       6/12/2012       10:29:45
30305      4803437171       5/1/2012        21:41:39
30306      4803437809       12/28/2011      20:45:51
30307      4803439409       9/20/2011       16:53:56
30308      4803439637       12/29/2011      18:08:00
30309      4803439637       1/14/2012       13:23:21
30310      4803520746       5/3/2012        21:16:58
30311      4803521450       7/27/2012       13:56:53
30312      4803529610       5/19/2012       11:05:12
30313      4803538795       12/28/2011      11:09:30
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30314      4803588908       7/3/2012        13:58:44
30315      4803635633       11/3/2011       17:27:02
30316      4803691054       5/19/2012       10:55:34
30317      4803702620       1/23/2012       19:20:00
30318      4803717177       2/25/2012       10:32:39
30319      4803740922       10/24/2012      15:15:48
30320      4803750031       8/6/2011        11:38:32
30321      4803813744       2/6/2012        17:06:04
30322      4803816049       2/20/2012       17:14:18
30323      4803858309       4/26/2012       11:43:21
30324      4803858396       10/22/2012      18:01:21
30325      4803858601       9/27/2011       15:32:42
30326      4803887626       10/13/2011      9:34:46
30327      4803897544       10/5/2011       14:19:23
30328      4803897549       9/20/2011       18:38:24
30329      4803902749       1/9/2012        9:47:24
30330      4803903990       11/18/2011      13:34:56
30331      4803920863       8/3/2012        16:30:51
30332      4803921000       10/14/2012      15:14:07
30333      4803922503       10/13/2011      10:31:14
30334      4803923847       2/6/2012        17:22:53
30335      4803941015       5/7/2012        21:11:42
30336      4803954755       9/7/2012        15:44:04
30337      4803993528       9/8/2012        11:12:14
30338      4804060285       11/28/2011      17:04:22
30339      4804061802       1/13/2012       17:29:26
30340      4804062502       9/2/2011        13:13:41
30341      4804063079       12/12/2011      12:22:32
30342      4804069696       9/28/2011       11:28:24
30343      4804143154       5/11/2011       16:45:09
30344      4804159202       2/20/2012       17:14:33
30345      4804300453       5/14/2011       12:08:54
30346      4804301547       7/2/2011        13:37:07
30347      4804302000       12/17/2011      11:39:30
30348      4804303510       3/2/2012        18:51:31
30349      4804304698       7/28/2011       10:07:34
30350      4804304981       10/31/2011      10:02:15
30351      4804305201       4/26/2011       20:30:15
30352      4804305569       2/28/2012       16:08:04
30353      4804306631       12/16/2011      16:34:14
30354      4804306733       11/28/2011      18:10:41
30355      4804307099       11/17/2011      14:45:06
30356      4804307428       10/28/2011      14:32:31
30357      4804307872       4/23/2012       13:04:41
30358      4804308060       9/20/2011       15:37:41
30359      4804309644       6/6/2011        17:29:14
30360      4804309646       9/8/2011        19:35:37
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30361      4804331359       10/8/2011       10:07:28
30362      4804331779       10/11/2011      16:31:29
30363      4804339605       4/1/2012        16:08:25
30364      4804406070       8/4/2011        19:24:28
30365      4804407046       9/10/2011       12:32:47
30366      4804522329       10/29/2011      11:00:34
30367      4804522566       9/15/2011       10:40:24
30368      4804522829       2/17/2012       9:19:44
30369      4804524760       5/2/2012        13:29:09
30370      4804524970       12/31/2011      12:11:34
30371      4804526280       10/13/2011      10:30:48
30372      4804528273       12/26/2011      9:09:45
30373      4804558477       11/4/2011       10:10:41
30374      4804559096       12/12/2011      12:29:50
30375      4804579030       7/23/2011       13:13:04
30376      4804579146       10/8/2011       10:12:49
30377      4804590222       8/15/2012       12:29:30
30378      4804591051       4/16/2012       10:08:30
30379      4804615955       1/12/2012       10:06:38
30380      4804664553       7/23/2011       13:15:44
30381      4804747412       11/21/2011      10:36:11
30382      4804785269       11/2/2011       14:34:12
30383      4804950371       12/26/2011      15:03:55
30384      4804953208       4/12/2012       18:08:53
30385      4804953889       12/18/2011      17:44:30
30386      4804958055       10/5/2011       14:47:32
30387      4804958081       6/16/2012       10:12:14
30388      4805100600       3/10/2012       9:32:35
30389      4805102304       6/14/2012       20:48:34
30390      4805109175       12/9/2011       14:13:12
30391      4805109431       5/10/2012       14:51:52
30392      4805109633       4/11/2012       11:37:06
30393      4805162302       9/1/2011        15:30:16
30394      4805162795       7/15/2011       17:49:59
30395      4805163329       3/6/2012        20:26:08
30396      4805164275       4/21/2012       10:03:29
30397      4805166207       7/9/2012        19:02:50
30398      4805166353       5/28/2012       10:46:31
30399      4805167362       6/25/2011       15:44:20
30400      4805168618       8/25/2012       10:58:46
30401      4805169802       11/19/2011      9:05:20
30402      4805181916       9/26/2012       14:36:54
30403      4805224667       4/11/2012       11:31:05
30404      4805226600       8/16/2012       14:29:17
30405      4805288304       6/2/2011        11:30:19
30406      4805295322       12/14/2011      13:29:51
30407      4805296893       4/23/2012       20:36:31
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30408      4805297869       5/17/2012       17:00:49
30409      4805323275       9/27/2011       18:17:58
30410      4805443830       9/3/2012        14:52:34
30411      4805532682       8/1/2012        10:57:00
30412      4805533150       7/13/2012       14:05:04
30413      4805533150       8/31/2012       16:32:33
30414      4805597099       4/18/2011       19:55:08
30415      4805601397       9/3/2012        14:40:31
30416      4805603247       3/6/2012        16:06:13
30417      4805605545       1/11/2012       16:35:41
30418      4805606822       10/18/2012      16:32:20
30419      4805674369       10/16/2012      16:37:16
30420      4805675306       7/11/2011       11:59:56
30421      4805676251       5/28/2012       10:44:23
30422      4805709917       9/25/2012       14:58:16
30423      4805771816       5/1/2012        18:31:17
30424      4805773672       10/16/2012      16:30:01
30425      4805805542       1/5/2012        17:30:45
30426      4805806115       12/29/2011      10:50:01
30427      4805809876       3/28/2012       18:17:46
30428      4805841503       5/5/2012        12:31:13
30429      4805842848       12/5/2011       18:17:12
30430      4805848693       8/17/2011       18:52:45
30431      4805860837       11/29/2011      15:11:20
30432      4805864072       9/30/2011       10:24:59
30433      4805866757       1/4/2012        11:27:40
30434      4805866956       10/11/2011      17:37:33
30435      4805931181       3/25/2012       12:12:43
30436      4805931636       11/8/2011       14:03:09
30437      4805932313       5/31/2011       11:47:04
30438      4805932313       10/7/2011       10:12:40
30439      4805932839       5/2/2012        13:28:44
30440      4805933311       10/10/2011      12:02:58
30441      4805933898       3/15/2012       19:35:10
30442      4805934785       3/8/2012        21:08:30
30443      4805938604       4/19/2012       15:12:02
30444      4806002597       8/5/2011        18:09:57
30445      4806004672       9/10/2012       10:23:46
30446      4806005187       11/21/2011      10:35:39
30447      4806009504       1/20/2012       14:41:24
30448      4806036427       3/20/2012       20:02:56
30449      4806036427       6/23/2012       16:16:09
30450      4806124871       10/1/2011       10:51:36
30451      4806205996       11/22/2011      19:44:05
30452      4806206203       3/23/2011       20:16:36
30453      4806206725       8/4/2012        8:02:46
30454      4806208927       10/17/2011      10:31:06
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30455      4806208927       10/31/2011      10:17:13
30456      4806209429       4/11/2012       19:32:47
30457      4806210753       2/29/2012       17:23:35
30458      4806219106       9/14/2011       12:37:10
30459      4806263051       11/12/2011      10:25:22
30460      4806282710       2/10/2012       20:42:47
30461      4806284784       9/14/2011       12:38:27
30462      4806288160       10/15/2011      9:26:29
30463      4806343196       5/4/2012        18:23:41
30464      4806360739       9/16/2011       13:07:24
30465      4806366462       10/25/2011      15:01:52
30466      4806369284       1/25/2012       20:39:31
30467      4806397490       6/22/2012       20:58:11
30468      4806486380       12/8/2011       20:50:52
30469      4806486477       2/28/2012       13:20:16
30470      4806500034       2/2/2012        18:55:33
30471      4806501593       11/17/2011      15:48:27
30472      4806503086       6/18/2012       10:44:48
30473      4806504921       9/10/2011       12:38:54
30474      4806507225       4/7/2012        12:19:30
30475      4806529023       10/22/2011      13:18:25
30476      4806529113       11/16/2011      20:01:23
30477      4806529668       3/6/2012        17:29:17
30478      4806557805       1/3/2012        10:45:46
30479      4806648797       2/2/2012        16:35:09
30480      4806779159       4/1/2012        17:32:25
30481      4806780019       2/15/2012       11:18:45
30482      4806789894       5/7/2012        21:39:04
30483      4806882045       7/15/2011       17:51:50
30484      4806883930       1/11/2012       9:04:59
30485      4806948504       8/30/2012       17:32:48
30486      4806952101       12/28/2011      20:48:36
30487      4806952545       5/7/2011        15:21:37
30488      4806956576       1/17/2012       9:39:13
30489      4807033954       3/2/2012        15:28:12
30490      4807039379       2/11/2012       10:53:36
30491      4807071240       9/29/2011       15:25:17
30492      4807072129       5/10/2012       21:11:40
30493      4807078347       12/2/2011       14:33:04
30494      4807090712       2/15/2012       11:16:17
30495      4807090712       2/28/2012       16:07:50
30496      4807098203       11/11/2011      20:10:29
30497      4807100297       3/7/2012        18:34:34
30498      4807103568       4/10/2012       11:43:38
30499      4807109474       10/11/2011      16:33:01
30500      4807171071       9/13/2011       16:54:33
30501      4807204386       10/5/2011       14:20:17
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30502      4807205017       1/25/2012       20:39:22
30503      4807205644       4/4/2012        18:40:08
30504      4807207943       10/8/2012       20:12:54
30505      4807208871       2/4/2012        13:11:58
30506      4807215546       9/9/2011        18:30:15
30507      4807347466       7/25/2012       20:46:03
30508      4807347743       3/29/2012       16:34:50
30509      4807347743       4/13/2012       13:42:37
30510      4807349041       5/16/2011       13:06:17
30511      4807349651       12/26/2011      20:08:26
30512      4807351231       9/19/2011       14:36:26
30513      4807351464       1/10/2012       15:21:30
30514      4807359943       3/14/2012       14:22:06
30515      4807450223       1/13/2012       12:27:31
30516      4807480457       3/23/2012       14:28:08
30517      4807485603       9/13/2011       17:06:38
30518      4807510321       8/25/2011       17:05:44
30519      4807510809       9/28/2012       14:15:15
30520      4807517537       11/22/2011      19:42:11
30521      4807603138       4/21/2012       10:03:22
30522      4807603495       3/29/2012       16:47:06
30523      4807603495       6/8/2012        16:57:17
30524      4807605603       5/13/2012       18:04:12
30525      4807663884       11/14/2011      15:20:47
30526      4807666690       12/28/2011      17:44:55
30527      4807720914       7/17/2012       12:23:38
30528      4807723391       4/10/2012       16:16:15
30529      4807725322       1/17/2012       18:48:25
30530      4807733464       1/7/2012        9:46:22
30531      4807733464       2/15/2012       21:02:13
30532      4807891442       10/11/2011      16:31:20
30533      4807891442       11/15/2011      20:16:22
30534      4807893601       9/16/2011       15:03:19
30535      4807973850       8/6/2012        16:30:09
30536      4807975331       7/12/2012       13:18:08
30537      4807976138       10/22/2012      17:51:06
30538      4808120714       1/3/2012        19:45:08
30539      4808125753       4/19/2012       20:17:26
30540      4808181620       9/22/2012       12:17:00
30541      4808187531       10/21/2011      14:49:42
30542      4808237670       11/2/2011       14:05:48
30543      4808243116       12/30/2011      12:49:57
30544      4808243116       2/10/2012       9:32:31
30545      4808404654       5/1/2012        17:53:51
30546      4808405215       9/24/2011       10:07:09
30547      4808622208       10/20/2011      16:32:44
30548      4808625335       1/10/2012       12:37:29
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30549      4808629291       2/16/2012       9:21:33
30550      4809241678       10/20/2011      16:32:23
30551      4809452201       10/1/2011       11:03:21
30552      4809452201       10/17/2011      10:30:50
30553      4809807693       3/18/2011       10:39:18
30554      4809831330       12/24/2011      9:20:59
30555      4809872306       9/13/2011       16:40:27
30556      4809934131       10/12/2011      11:52:58
30557      4809934312       12/31/2011      11:52:36
30558      4809934312       1/10/2012       15:21:27
30559      4842010961       6/8/2012        7:25:47
30560      4842013606       3/29/2011       16:00:40
30561      4842014875       12/1/2011       7:56:35
30562      4842015563       8/2/2011        17:29:24
30563      4842017273       8/6/2011        8:37:37
30564      4842017651       1/12/2012       7:10:07
30565      4842133997       9/21/2012       18:51:17
30566      4842135714       4/11/2012       7:14:44
30567      4842137257       1/5/2012        17:26:46
30568      4842138424       11/5/2011       9:09:10
30569      4842138545       11/18/2011      13:29:30
30570      4842139211       9/22/2012       9:26:29
30571      4842194922       2/17/2012       9:11:39
30572      4842214394       9/28/2011       10:59:35
30573      4842236570       10/12/2011      11:32:30
30574      4842236588       11/14/2011      16:20:29
30575      4842236588       11/23/2011      14:37:27
30576      4842236835       2/28/2012       15:58:05
30577      4842246296       9/6/2012        12:22:38
30578      4842250514       10/31/2011      7:08:23
30579      4842263606       9/19/2012       7:52:10
30580      4842263720       10/4/2011       13:09:27
30581      4842266904       1/24/2012       9:57:34
30582      4842411791       9/13/2011       17:22:33
30583      4842418600       7/9/2012        7:20:07
30584      4842418600       7/27/2012       15:39:33
30585      4842506155       1/28/2012       8:06:17
30586      4842506155       5/21/2012       8:37:43
30587      4842506926       5/25/2012       8:15:53
30588      4842584093       7/5/2012        15:42:25
30589      4842585771       2/17/2012       18:29:21
30590      4842588268       4/4/2012        7:14:42
30591      4842588268       5/21/2012       7:05:38
30592      4842640594       10/7/2011       7:14:37
30593      4842644484       9/15/2011       7:26:31
30594      4842691034       8/2/2012        18:56:15
30595      4842694683       2/29/2012       7:10:59
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30596      4842696706       3/6/2012        15:59:07
30597      4842745240       3/17/2012       8:30:55
30598      4842745473       1/14/2012       13:19:39
30599      4842747357       5/21/2012       17:28:03
30600      4842747357       7/16/2012       19:44:49
30601      4842747357       7/26/2012       19:19:15
30602      4843000440       4/19/2012       15:01:03
30603      4843006586       3/1/2012        11:47:02
30604      4843180367       4/11/2012       19:29:42
30605      4843180367       5/21/2012       7:05:44
30606      4843189159       6/20/2012       7:53:56
30607      4843199368       8/7/2012        17:51:57
30608      4843211491       9/6/2011        12:41:01
30609      4843211491       10/4/2011       13:36:03
30610      4843211873       10/13/2011      7:12:30
30611      4843267006       3/16/2012       10:20:45
30612      4843325053       3/15/2012       19:03:56
30613      4843327416       5/11/2012       12:26:43
30614      4843341359       12/29/2011      9:58:12
30615      4843353086       5/7/2012        7:08:08
30616      4843384533       12/16/2011      15:30:41
30617      4843384533       4/14/2012       8:56:44
30618      4843385780       6/6/2012        7:14:54
30619      4843407497       7/9/2012        18:56:59
30620      4843435685       4/6/2012        15:41:15
30621      4843435934       9/26/2011       7:52:44
30622      4843451518       9/28/2011       11:09:07
30623      4843470200       9/30/2011       10:17:27
30624      4843475841       11/17/2011      16:40:18
30625      4843476527       1/17/2012       18:38:57
30626      4843478111       4/20/2012       14:12:06
30627      4843479307       3/21/2012       7:06:47
30628      4843508199       3/14/2012       19:43:06
30629      4843509656       5/14/2012       15:17:37
30630      4843543843       3/16/2012       15:49:49
30631      4843547416       9/12/2011       13:03:11
30632      4843580604       3/6/2012        17:05:21
30633      4843581257       9/21/2011       11:45:03
30634      4843581257       9/24/2011       9:02:36
30635      4843587616       11/7/2011       7:20:43
30636      4843587843       1/12/2012       14:22:52
30637      4843588621       2/29/2012       17:41:13
30638      4843589321       7/12/2012       19:50:16
30639      4843623971       2/11/2012       11:00:10
30640      4843624519       8/3/2012        7:51:38
30641      4843633776       7/3/2012        19:34:09
30642      4843646114       9/12/2011       13:45:59
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30643      4843646509       9/4/2012        16:04:06
30644      4843646545       9/20/2011       17:09:16
30645      4843663022       10/15/2013      7:13:25
30646      4843669635       6/28/2012       17:41:32
30647      4843686539       2/20/2012       17:02:22
30648      4843753060       12/29/2011      9:59:24
30649      4843754367       3/14/2012       19:56:16
30650      4844008718       2/15/2012       12:05:35
30651      4844010519       4/2/2012        17:30:20
30652      4844011220       2/28/2012       7:47:39
30653      4844011220       10/6/2012       8:48:10
30654      4844242403       4/18/2012       17:47:53
30655      4844260899       10/13/2012      9:15:01
30656      4844264006       1/21/2012       8:20:39
30657      4844290706       9/17/2011       9:51:08
30658      4844310219       9/14/2011       11:47:28
30659      4844314818       10/27/2011      16:19:44
30660      4844355037       2/16/2012       7:09:51
30661      4844641389       3/20/2012       17:36:00
30662      4844672324       10/5/2011       13:59:01
30663      4844676563       6/23/2012       15:57:25
30664      4844676810       9/22/2011       8:54:15
30665      4844679777       11/5/2011       9:32:08
30666      4844708816       5/17/2012       16:48:51
30667      4844773662       12/7/2011       18:06:35
30668      4844781127       10/11/2012      7:54:21
30669      4844800418       9/21/2011       11:40:12
30670      4844800677       7/18/2011       7:37:21
30671      4844863514       12/26/2011      8:55:15
30672      4844863514       1/18/2012       16:48:33
30673      4845150900       7/14/2012       8:01:12
30674      4845151223       8/31/2011       7:12:47
30675      4845220902       9/21/2012       16:14:27
30676      4845245777       4/1/2012        16:10:02
30677      4845245777       7/26/2012       19:26:24
30678      4845292511       12/9/2011       7:34:17
30679      4845293430       3/16/2012       15:59:43
30680      4845293667       9/28/2011       10:48:14
30681      4845296606       9/8/2012        11:50:28
30682      4845298390       9/8/2011        19:42:06
30683      4845298669       9/22/2011       15:57:07
30684      4845340636       11/29/2011      15:22:46
30685      4845381236       11/26/2011      12:15:44
30686      4845381799       2/18/2012       8:33:02
30687      4845383060       10/29/2011      10:13:37
30688      4845384414       7/9/2012        7:13:33
30689      4845385476       7/21/2011       14:03:41
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30690      4845387468       12/2/2011       15:13:15
30691      4845421684       5/13/2011       11:22:20
30692      4845426345       11/5/2011       11:17:50
30693      4845426465       9/13/2011       7:09:24
30694      4845426974       10/13/2011      7:18:32
30695      4845426974       5/17/2012       11:56:06
30696      4845441433       3/13/2012       18:28:07
30697      4845441517       10/10/2011      11:39:23
30698      4845461215       6/1/2011        11:58:18
30699      4845469521       2/14/2012       15:31:34
30700      4845474143       9/21/2012       15:26:16
30701      4845479203       1/2/2012        7:05:56
30702      4845505205       3/2/2012        18:52:38
30703      4845540393       9/19/2012       7:55:31
30704      4845544124       2/7/2012        7:14:23
30705      4845545317       7/13/2012       16:49:26
30706      4845546294       2/11/2012       11:00:47
30707      4845546791       10/20/2012      16:19:34
30708      4845547708       11/30/2011      7:13:43
30709      4845547932       7/11/2012       19:17:10
30710      4845572370       9/22/2011       15:01:37
30711      4845574354       2/20/2012       17:00:03
30712      4845578062       5/13/2012       16:55:40
30713      4845608170       10/19/2011      7:41:31
30714      4845609288       8/8/2012        7:05:16
30715      4845716351       4/23/2012       7:18:24
30716      4845746568       12/22/2011      9:38:29
30717      4845766990       3/27/2012       7:03:16
30718      4845992727       6/8/2012        7:28:33
30719      4845992727       6/22/2012       7:13:22
30720      4846021485       9/23/2011       18:54:37
30721      4846024450       6/23/2012       16:09:47
30722      4846026948       11/26/2011      12:48:57
30723      4846028126       1/20/2012       11:25:50
30724      4846028126       1/27/2012       7:27:57
30725      4846197457       11/4/2011       7:15:59
30726      4846197705       6/5/2012        19:46:47
30727      4846198104       7/20/2012       7:32:05
30728      4846198104       8/14/2012       11:46:38
30729      4846202239       9/27/2012       16:29:00
30730      4846207632       5/23/2012       16:40:11
30731      4846209042       12/7/2011       18:03:28
30732      4846316123       5/20/2011       17:38:42
30733      4846318076       10/18/2011      16:30:45
30734      4846320168       9/21/2012       15:35:57
30735      4846320203       3/17/2012       8:21:38
30736      4846329258       4/4/2012        7:13:10
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30737      4846346286       10/21/2011      12:59:22
30738      4846346692       11/18/2011      13:22:02
30739      4846413123       9/19/2011       7:19:18
30740      4846454784       4/20/2012       13:44:37
30741      4846506990       2/1/2012        8:02:50
30742      4846510840       8/20/2012       18:49:46
30743      4846513642       1/23/2012       19:06:54
30744      4846514159       6/16/2012       15:25:00
30745      4846537761       9/28/2012       16:42:14
30746      4846613209       5/29/2012       17:10:02
30747      4846613209       9/13/2012       7:34:50
30748      4846616567       12/2/2011       15:17:31
30749      4846616977       3/14/2012       19:24:21
30750      4846640253       2/20/2012       17:00:27
30751      4846677769       7/21/2011       14:03:09
30752      4846802601       12/2/2011       7:38:31
30753      4846802601       2/20/2012       7:14:26
30754      4846805145       10/3/2011       8:09:54
30755      4846826167       10/9/2012       7:35:11
30756      4846828926       3/3/2012        8:34:24
30757      4846873487       5/25/2012       17:01:07
30758      4846886457       8/30/2012       17:43:42
30759      4846951031       3/19/2012       11:58:09
30760      4846955670       9/21/2011       19:28:33
30761      4847062301       9/19/2011       19:03:59
30762      4847070315       8/9/2011        12:34:41
30763      4847070763       9/10/2011       8:56:23
30764      4847072106       9/27/2011       15:13:59
30765      4847073263       4/13/2012       13:29:10
30766      4847074976       4/27/2012       18:20:17
30767      4847077936       11/23/2011      14:51:57
30768      4847079476       7/31/2012       7:12:24
30769      4847079995       12/16/2011      15:56:14
30770      4847211552       1/21/2012       8:11:11
30771      4847448885       4/26/2012       8:00:29
30772      4847517031       2/14/2012       16:45:05
30773      4847517031       3/7/2012        18:37:00
30774      4847517273       12/20/2011      7:07:17
30775      4847693463       2/11/2012       15:27:21
30776      4847698023       10/6/2012       8:38:19
30777      4847699706       5/17/2012       16:52:21
30778      4847847701       1/6/2012        9:47:31
30779      4847863466       5/15/2012       7:58:13
30780      4847884042       3/19/2012       7:10:29
30781      4847940114       2/21/2012       10:55:51
30782      4847940284       9/5/2012        7:16:46
30783      4847940649       1/16/2012       17:27:01
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30784      4847942537       3/6/2012        20:26:06
30785      4847942806       11/12/2011      9:52:02
30786      4847943639       5/9/2012        8:12:25
30787      4847946691       10/24/2011      7:07:55
30788      4847979367       7/9/2012        7:02:59
30789      4848023234       11/17/2011      16:18:48
30790      4848093347       10/15/2012      16:10:27
30791      4848096678       9/23/2011       18:57:57
30792      4848098573       9/8/2011        17:40:13
30793      4848181244       5/13/2012       17:17:04
30794      4848216508       1/17/2012       18:42:57
30795      4848217292       12/26/2011      9:11:15
30796      4848380683       10/17/2012      9:39:50
30797      4848380683       10/23/2012      10:40:18
30798      4848440990       12/7/2011       14:43:43
30799      4848442556       12/11/2011      12:22:47
30800      4848550987       4/23/2012       7:12:41
30801      4848558191       9/29/2011       15:36:06
30802      4848558191       10/8/2011       9:23:15
30803      4848605440       11/25/2011      17:33:44
30804      4848606803       10/14/2011      13:10:51
30805      4848667755       3/20/2012       9:21:27
30806      4848859023       10/12/2011      7:19:18
30807      4848921912       11/1/2011       7:56:09
30808      4848939373       10/22/2011      13:03:08
30809      4848941813       11/17/2011      13:53:47
30810      4848944852       4/16/2011       15:33:18
30811      4848945791       5/10/2012       15:01:06
30812      4848948454       9/30/2011       10:13:26
30813      4848948554       9/19/2011       19:25:29
30814      4848960324       9/28/2012       14:18:18
30815      4848960963       3/16/2012       16:01:35
30816      4849030260       11/13/2013      7:06:50
30817      4849033175       10/5/2012       18:17:08
30818      4849033295       11/23/2011      9:19:16
30819      4849033295       2/1/2012        8:22:03
30820      4849036892       10/18/2012      16:33:56
30821      4849038461       9/5/2012        15:28:05
30822      4849051243       1/13/2012       17:12:51
30823      4849083220       3/28/2012       18:18:46
30824      4849083220       4/7/2012        9:19:38
30825      4849194201       9/22/2011       8:49:37
30826      4849411441       6/6/2012        7:11:54
30827      4849429674       3/24/2012       10:08:56
30828      4849444168       12/3/2011       9:59:41
30829      4849474309       5/21/2011       10:39:15
30830      4849480676       9/22/2011       15:50:57
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30831      4849480758       11/3/2011       11:58:34
30832      4849485585       5/3/2012        7:08:42
30833      4849486479       10/14/2011      12:41:54
30834      4849491405       11/4/2011       15:26:22
30835      4849494050       2/18/2012       8:39:02
30836      4849510099       10/7/2012       12:57:47
30837      4849510758       10/8/2012       7:08:29
30838      4849511037       5/16/2012       7:14:22
30839      4849512649       7/13/2012       18:34:28
30840      4849514234       8/8/2012        16:10:07
30841      4849514663       1/11/2012       7:30:10
30842      4849515549       5/25/2012       17:16:15
30843      4849516917       7/12/2012       7:07:23
30844      4849518639       4/18/2012       7:01:06
30845      4849554267       1/4/2012        11:03:48
30846      4849959020       5/27/2011       8:55:47
30847      5012062367       8/30/2011       17:14:24
30848      5012062427       1/17/2012       20:26:17
30849      5012067887       9/16/2011       13:29:24
30850      5012067887       9/23/2011       18:49:00
30851      5012068223       1/4/2012        11:51:22
30852      5012068858       9/22/2011       15:26:02
30853      5012071827       9/14/2011       12:16:53
30854      5012072793       10/10/2012      12:48:40
30855      5012082296       10/24/2011      8:14:29
30856      5012082926       11/11/2011      20:02:52
30857      5012156757       8/9/2011        12:55:15
30858      5012185777       11/9/2013       9:44:42
30859      5012307371       4/3/2012        20:14:15
30860      5012311942       7/10/2012       11:58:26
30861      5012312231       1/18/2012       16:43:49
30862      5012380343       9/4/2012        15:43:00
30863      5012401729       1/25/2012       9:21:06
30864      5012421335       11/9/2011       8:35:43
30865      5012460627       9/20/2011       16:44:29
30866      5012470248       2/15/2012       11:25:51
30867      5012473014       11/4/2011       8:59:43
30868      5012473309       10/6/2011       16:34:32
30869      5012498175       1/5/2012        12:03:58
30870      5012502500       7/12/2011       11:46:18
30871      5012531401       11/16/2011      20:04:32
30872      5012532795       4/4/2012        19:04:15
30873      5012538186       3/26/2012       14:26:14
30874      5012538670       4/14/2012       9:26:10
30875      5012570409       10/11/2011      17:16:52
30876      5012582838       12/11/2011      12:23:06
30877      5012590475       9/8/2011        19:04:06
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30878      5012593324       4/13/2012       13:41:14
30879      5012659041       11/15/2011      15:41:06
30880      5012659680       7/11/2012       9:40:35
30881      5012660542       11/5/2011       10:10:13
30882      5012662284       10/22/2011      12:41:50
30883      5012694114       7/13/2012       17:08:32
30884      5012694150       9/13/2011       17:54:45
30885      5012694679       7/18/2012       18:26:09
30886      5012695613       3/15/2012       18:58:03
30887      5012695613       3/29/2012       16:34:03
30888      5012698422       10/22/2012      8:08:08
30889      5012699055       5/8/2012        15:50:29
30890      5012760993       8/25/2012       11:13:43
30891      5012763955       10/1/2011       10:45:23
30892      5012764541       5/3/2014        9:17:33
30893      5012787835       10/4/2011       13:18:33
30894      5012787869       6/24/2011       12:15:55
30895      5012825223       9/8/2011        19:50:00
30896      5012828663       10/5/2012       18:25:36
30897      5012829275       9/11/2012       15:09:40
30898      5012830519       10/14/2011      12:57:16
30899      5012833085       3/6/2012        20:28:33
30900      5012834520       10/24/2012      15:01:15
30901      5012860974       3/11/2012       15:29:52
30902      5012861072       7/16/2012       9:27:18
30903      5012862725       10/21/2011      14:44:24
30904      5012880957       5/2/2012        13:16:28
30905      5012882665       9/24/2011       9:49:53
30906      5012883716       2/11/2012       10:46:57
30907      5012884930       10/14/2011      13:28:16
30908      5012885735       2/28/2012       13:16:32
30909      5012887090       5/28/2012       8:13:06
30910      5012891388       11/30/2011      15:27:37
30911      5012892017       10/15/2011      10:53:19
30912      5012919179       10/22/2011      13:07:56
30913      5012919505       9/24/2011       9:47:40
30914      5013030018       9/19/2012       8:01:24
30915      5013040912       3/2/2012        19:02:19
30916      5013040912       3/28/2012       8:20:40
30917      5013042888       5/16/2011       12:50:15
30918      5013043137       10/26/2011      12:21:30
30919      5013044364       1/27/2012       18:04:17
30920      5013051365       2/28/2012       16:19:34
30921      5013051416       11/4/2011       8:49:08
30922      5013059720       4/26/2012       17:38:14
30923      5013149518       6/24/2011       11:28:56
30924      5013194929       6/7/2011        18:06:56
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30925      5013195545       10/29/2011      10:34:45
30926      5013263004       12/28/2011      8:43:36
30927      5013263408       10/23/2012      16:10:13
30928      5013273465       3/29/2012       18:52:26
30929      5013391885       12/19/2011      8:03:07
30930      5013391885       1/17/2012       18:44:40
30931      5013394149       10/20/2012      16:23:18
30932      5013396615       4/12/2012       18:21:27
30933      5013439662       10/28/2011      14:23:32
30934      5013439662       11/9/2011       8:34:57
30935      5013439662       2/13/2012       18:44:51
30936      5013480030       2/28/2012       13:33:34
30937      5013492531       9/13/2012       15:16:11
30938      5013503561       11/18/2011      13:32:47
30939      5013507605       9/28/2012       16:38:49
30940      5013515691       3/29/2012       12:34:05
30941      5013515982       8/24/2011       12:37:36
30942      5013521175       5/21/2011       10:56:16
30943      5013521663       9/17/2012       8:38:30
30944      5013521663       9/21/2012       18:45:39
30945      5013523537       9/17/2011       10:25:34
30946      5013525531       7/23/2012       13:07:11
30947      5013527037       9/7/2012        15:41:20
30948      5013529968       3/29/2012       12:27:19
30949      5013537865       11/11/2011      13:42:45
30950      5013580667       8/16/2011       18:05:26
30951      5013661608       9/18/2012       14:34:14
30952      5013663172       9/13/2011       16:18:41
30953      5013881120       11/4/2011       15:31:32
30954      5013883602       12/20/2011      19:26:30
30955      5013885853       12/21/2011      19:47:28
30956      5013888964       10/23/2012      18:53:17
30957      5013922266       8/30/2012       9:46:38
30958      5013924748       6/11/2012       17:03:51
30959      5013927026       9/24/2012       13:12:29
30960      5013981423       10/29/2011      11:43:36
30961      5013981576       1/16/2012       17:13:20
30962      5013981937       1/11/2012       8:51:19
30963      5013984506       10/25/2012      19:47:46
30964      5013985863       3/6/2012        16:04:21
30965      5013985863       9/21/2012       16:08:19
30966      5013986332       9/14/2011       16:39:33
30967      5013988466       10/3/2011       10:39:19
30968      5013989441       8/18/2012       8:59:46
30969      5014100823       8/17/2012       8:20:25
30970      5014102128       12/30/2011      12:50:10
30971      5014105487       6/2/2012        13:18:14
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30972      5014124582       12/23/2011      14:17:46
30973      5014129042       11/1/2011       8:51:55
30974      5014134373       5/11/2012       12:28:58
30975      5014137006       5/14/2011       12:04:13
30976      5014137327       5/23/2012       15:00:21
30977      5014143902       1/8/2012        13:21:59
30978      5014147591       8/20/2012       18:45:21
30979      5014162606       10/4/2011       13:51:00
30980      5014163942       7/6/2012        14:58:06
30981      5014250130       10/10/2012      12:47:18
30982      5014254256       9/28/2012       9:05:54
30983      5014254256       10/18/2012      16:49:07
30984      5014283119       11/5/2011       11:20:58
30985      5014283407       10/25/2011      15:35:32
30986      5014340164       3/8/2012        20:39:15
30987      5014383842       7/5/2012        15:42:43
30988      5014385227       7/24/2012       14:37:20
30989      5014420329       2/14/2012       10:00:17
30990      5014421294       3/8/2012        20:44:28
30991      5014422862       1/19/2012       8:16:36
30992      5014502735       2/17/2012       18:20:52
30993      5014547070       11/5/2011       9:59:33
30994      5014670295       6/19/2012       15:47:47
30995      5014674187       5/28/2012       8:15:20
30996      5014675440       10/25/2012      12:14:55
30997      5014676833       10/8/2012       8:15:13
30998      5014705897       5/15/2012       19:10:09
30999      5014706081       9/11/2012       15:10:04
31000      5014706365       10/10/2012      12:58:09
31001      5014721637       12/3/2011       10:19:12
31002      5014724811       9/20/2011       16:51:53
31003      5014729353       11/30/2011      8:07:39
31004      5014729724       1/3/2012        11:18:58
31005      5014729724       10/8/2012       20:05:06
31006      5014731298       1/16/2012       8:29:11
31007      5014994136       9/14/2011       12:08:38
31008      5014994137       7/16/2012       19:40:02
31009      5014994654       12/10/2011      13:38:23
31010      5015141775       7/27/2012       15:33:14
31011      5015143021       4/22/2012       15:26:26
31012      5015158764       12/21/2011      19:53:51
31013      5015161053       9/14/2011       12:19:46
31014      5015165393       7/2/2011        8:24:22
31015      5015167525       12/2/2011       8:18:26
31016      5015195575       9/29/2011       15:18:25
31017      5015294466       9/28/2012       14:25:58
31018      5015300796       2/3/2012        8:37:14
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31019      5015380497       10/11/2011      17:20:30
31020      5015382663       5/21/2012       8:10:28
31021      5015385179       9/8/2011        19:51:05
31022      5015386688       7/11/2012       17:22:01
31023      5015388158       4/11/2012       11:34:42
31024      5015392564       2/13/2012       8:13:38
31025      5015411066       6/25/2012       13:43:35
31026      5015413179       6/14/2012       12:38:40
31027      5015413788       9/16/2011       14:57:45
31028      5015414795       5/11/2012       12:24:44
31029      5015416041       9/26/2011       9:34:42
31030      5015416041       10/27/2011      16:42:34
31031      5015416317       12/15/2011      8:37:39
31032      5015416527       1/9/2012        18:16:43
31033      5015417149       8/12/2011       11:06:06
31034      5015417528       5/24/2012       11:56:49
31035      5015417528       6/15/2012       16:44:30
31036      5015418058       6/10/2011       8:19:03
31037      5015451680       12/7/2011       14:46:41
31038      5015455920       2/21/2012       20:54:10
31039      5015511144       1/19/2012       18:39:26
31040      5015512727       8/9/2011        12:59:41
31041      5015541477       10/19/2012      19:10:54
31042      5015542022       11/4/2011       8:57:13
31043      5015543362       6/9/2012        15:39:44
31044      5015549178       1/16/2012       17:33:33
31045      5015630083       4/5/2012        16:10:09
31046      5015630230       12/2/2011       8:19:23
31047      5015630441       1/13/2012       17:17:51
31048      5015631684       9/29/2011       15:51:17
31049      5015632265       8/14/2012       20:45:16
31050      5015635734       4/23/2012       8:15:01
31051      5015639218       9/21/2011       19:31:03
31052      5015809908       12/12/2011      16:24:43
31053      5015815996       4/3/2012        20:09:48
31054      5015815996       5/18/2012       11:46:04
31055      5015816353       4/16/2012       15:51:32
31056      5015902296       3/18/2011       9:29:52
31057      5015902296       12/18/2011      17:26:22
31058      5015902856       12/21/2011      9:57:15
31059      5015931472       2/9/2012        9:41:38
31060      5015931849       10/12/2011      8:18:13
31061      5015936568       5/14/2011       12:07:51
31062      5015937500       2/9/2012        20:32:07
31063      5015939398       9/28/2012       9:06:32
31064      5015939821       11/28/2011      12:19:01
31065      5016052609       9/17/2012       8:32:33
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31066      5016072132       10/6/2011       16:51:02
31067      5016120785       10/18/2012      8:06:01
31068      5016121519       11/25/2011      17:52:44
31069      5016123782       6/12/2012       17:07:38
31070      5016124190       8/13/2011       12:00:53
31071      5016127581       3/14/2011       17:23:40
31072      5016131480       1/19/2012       8:04:42
31073      5016132710       12/2/2011       8:07:10
31074      5016133872       10/19/2011      12:09:37
31075      5016138499       1/9/2012        18:40:57
31076      5016139520       10/10/2011      12:45:04
31077      5016155711       4/29/2012       17:22:56
31078      5016172450       4/17/2012       9:37:43
31079      5016172819       2/14/2012       13:08:21
31080      5016176090       1/2/2012        8:15:55
31081      5016200529       12/7/2011       13:58:28
31082      5016228953       9/20/2011       18:18:53
31083      5016230100       9/21/2011       11:54:41
31084      5016250568       10/3/2012       19:49:18
31085      5016261150       10/6/2012       8:32:43
31086      5016284306       1/6/2012        14:33:04
31087      5016284512       4/2/2012        20:07:38
31088      5016500613       5/20/2011       18:00:57
31089      5016500804       2/24/2012       20:50:45
31090      5016502424       5/21/2012       8:34:27
31091      5016505095       11/15/2011      15:41:57
31092      5016505696       10/20/2012      8:07:17
31093      5016505720       3/2/2012        19:01:26
31094      5016506107       10/20/2011      16:19:30
31095      5016544041       11/17/2011      16:31:54
31096      5016551725       11/16/2011      19:59:45
31097      5016551863       10/13/2011      8:26:39
31098      5016556766       12/23/2011      15:49:59
31099      5016721455       9/21/2011       11:54:32
31100      5016761314       2/25/2012       10:40:50
31101      5016800081       10/4/2011       13:53:24
31102      5016903719       4/23/2012       20:35:23
31103      5016904257       3/16/2012       16:33:53
31104      5016913198       9/20/2012       20:58:39
31105      5016915044       10/6/2012       8:32:54
31106      5016970322       2/20/2012       8:49:24
31107      5016970614       11/15/2011      20:08:39
31108      5016971541       9/21/2012       15:28:53
31109      5016971818       10/18/2011      13:07:08
31110      5016975051       4/12/2012       18:32:03
31111      5016977544       2/13/2012       8:02:07
31112      5016978253       7/2/2012        15:12:09
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31113      5016978464       10/18/2011      13:01:35
31114      5017010029       1/25/2012       9:21:08
31115      5017010029       5/17/2012       12:05:06
31116      5017077775       3/12/2012       19:36:24
31117      5017078799       2/16/2012       8:33:25
31118      5017078985       12/10/2011      13:44:03
31119      5017085166       9/14/2012       8:04:59
31120      5017087194       7/25/2012       11:57:40
31121      5017227474       3/12/2012       19:27:48
31122      5017326565       2/10/2012       9:30:04
31123      5017330363       8/17/2011       19:16:57
31124      5017339600       1/19/2012       18:19:29
31125      5017423593       11/16/2011      9:46:53
31126      5017441164       5/18/2012       12:24:23
31127      5017441164       6/7/2012        18:37:08
31128      5017445297       10/22/2011      13:08:39
31129      5017446627       5/14/2011       12:02:33
31130      5017447478       11/21/2011      7:34:01
31131      5017449001       9/21/2012       18:52:27
31132      5017449001       10/18/2012      16:32:18
31133      5017449636       10/8/2011       11:50:57
31134      5017477028       10/6/2011       16:45:33
31135      5017490764       10/8/2012       20:04:48
31136      5017496635       4/3/2012        18:19:50
31137      5017608353       9/3/2012        14:38:09
31138      5017622510       11/5/2011       11:34:10
31139      5017623767       7/16/2012       19:50:31
31140      5017655284       4/20/2012       14:33:44
31141      5017657836       8/18/2012       9:01:48
31142      5017659794       6/9/2012        15:41:08
31143      5017659831       7/26/2012       19:14:54
31144      5017662487       3/24/2012       10:02:33
31145      5017664234       10/11/2012      18:38:52
31146      5017664994       9/9/2011        18:38:52
31147      5017667311       9/21/2011       11:53:16
31148      5017724340       3/20/2012       17:41:41
31149      5017734518       10/24/2011      8:10:55
31150      5017735548       2/13/2012       18:28:56
31151      5017794201       12/15/2011      8:24:28
31152      5017794938       3/26/2011       12:32:31
31153      5017794976       2/16/2012       8:37:16
31154      5017860513       4/10/2012       16:12:11
31155      5017861207       2/21/2012       9:47:03
31156      5017863871       3/22/2012       8:03:47
31157      5017869534       1/16/2012       8:31:41
31158      5017869534       2/21/2012       20:49:37
31159      5017947399       12/10/2011      13:19:11
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31160      5018022134       7/13/2012       18:36:05
31161      5018025728       3/6/2012        15:51:45
31162      5018026492       1/27/2012       19:50:10
31163      5018130044       3/13/2012       18:41:20
31164      5018134205       1/16/2012       8:19:00
31165      5018271291       10/17/2012      9:44:49
31166      5018273528       10/5/2011       14:15:02
31167      5018273993       9/27/2011       18:03:11
31168      5018279100       10/19/2011      12:11:22
31169      5018279585       1/13/2012       8:03:44
31170      5018373599       5/11/2012       14:40:58
31171      5018380481       9/27/2011       18:42:08
31172      5018380481       12/30/2011      16:58:42
31173      5018380632       12/2/2011       8:18:39
31174      5018380694       12/6/2011       13:34:44
31175      5018380730       9/26/2011       9:46:20
31176      5018386378       8/11/2012       9:40:44
31177      5018386738       5/2/2012        13:06:26
31178      5018388666       12/24/2011      8:04:19
31179      5018389638       4/4/2011        14:59:51
31180      5018604899       6/23/2012       16:14:32
31181      5019080462       9/17/2012       8:27:02
31182      5019083045       10/10/2012      12:47:36
31183      5019085545       11/1/2011       8:43:14
31184      5019085545       11/11/2011      13:14:35
31185      5019204030       5/21/2012       8:06:43
31186      5019418034       10/5/2011       14:11:20
31187      5019419999       5/19/2012       9:39:44
31188      5019419999       5/31/2012       8:07:33
31189      5019440439       3/20/2012       9:18:00
31190      5019447698       9/26/2011       9:37:54
31191      5019447818       11/17/2011      14:33:55
31192      5019448066       5/7/2012        8:15:31
31193      5019513763       11/11/2011      13:13:49
31194      5019515203       11/26/2011      13:37:21
31195      5019515623       2/13/2012       18:31:16
31196      5019521939       4/27/2012       12:16:35
31197      5019522041       11/11/2011      13:20:28
31198      5019524378       8/3/2012        12:30:09
31199      5019601929       1/12/2012       14:16:08
31200      5019930653       6/18/2012       8:05:54
31201      5022103235       6/9/2012        14:46:12
31202      5022169702       12/7/2011       13:43:15
31203      5022201657       7/23/2012       13:03:00
31204      5022203776       10/3/2012       7:11:05
31205      5022205218       9/8/2012        11:20:01
31206      5022206135       1/14/2012       13:19:48
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31207      5022206462       11/8/2011       14:23:43
31208      5022209749       7/5/2012        15:25:44
31209      5022210605       4/26/2012       13:48:17
31210      5022240545       10/6/2011       16:03:55
31211      5022292095       9/17/2011       9:57:05
31212      5022292529       6/4/2012        8:09:29
31213      5022295243       11/5/2011       11:09:24
31214      5022320707       11/17/2011      13:41:02
31215      5022340735       10/17/2011      7:58:03
31216      5022351875       2/10/2012       7:17:16
31217      5022355412       6/4/2012        8:43:09
31218      5022402211       7/20/2012       15:00:32
31219      5022409291       9/22/2012       9:41:31
31220      5022573420       12/1/2011       14:30:46
31221      5022573943       10/3/2012       19:46:43
31222      5022873181       8/17/2012       7:04:55
31223      5022910948       12/9/2011       13:11:59
31224      5022914112       9/11/2012       7:45:35
31225      5022917440       11/29/2011      16:06:50
31226      5022917605       10/11/2011      16:59:57
31227      5022950326       6/27/2012       17:55:34
31228      5022952498       4/12/2012       18:16:05
31229      5022955172       12/24/2011      7:20:43
31230      5022974120       9/21/2012       15:37:16
31231      5022983647       11/28/2011      11:55:02
31232      5022987806       9/30/2011       10:15:00
31233      5022989274       6/15/2012       16:36:01
31234      5022990213       12/8/2011       19:45:36
31235      5022991236       8/16/2012       19:45:18
31236      5022996651       12/20/2011      19:21:21
31237      5023035279       1/5/2012        17:25:52
31238      5023035819       9/29/2012       10:15:31
31239      5023037932       8/2/2012        18:50:43
31240      5023102024       1/9/2012        18:31:49
31241      5023142712       3/21/2012       13:48:50
31242      5023146064       5/17/2012       16:33:27
31243      5023146064       6/23/2012       16:21:39
31244      5023146907       5/20/2011       17:37:42
31245      5023163412       3/14/2011       17:03:52
31246      5023163412       10/25/2011      15:16:14
31247      5023163691       5/25/2012       17:00:42
31248      5023203311       3/20/2012       17:39:31
31249      5023210376       10/13/2011      7:30:07
31250      5023211170       4/12/2012       18:14:44
31251      5023212941       6/25/2012       13:24:09
31252      5023213345       12/5/2011       18:23:36
31253      5023215370       9/30/2011       10:15:41
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31254      5023217547       9/20/2011       17:53:30
31255      5023219740       8/28/2012       7:28:13
31256      5023222122       10/24/2012      14:41:47
31257      5023223698       1/19/2012       7:10:41
31258      5023304708       11/26/2011      12:54:15
31259      5023309055       6/6/2012        7:14:39
31260      5023311082       9/21/2011       11:42:47
31261      5023313669       7/16/2012       7:09:46
31262      5023380290       7/20/2011       14:41:10
31263      5023450693       12/31/2011      11:47:31
31264      5023457321       4/4/2012        7:09:22
31265      5023457347       12/22/2011      8:39:38
31266      5023458126       2/7/2014        9:19:02
31267      5023528038       10/17/2011      7:22:56
31268      5023560060       1/23/2012       18:54:11
31269      5023560765       6/29/2011       16:23:18
31270      5023562401       1/27/2012       7:11:58
31271      5023564390       11/17/2011      13:47:28
31272      5023564539       10/22/2011      12:19:27
31273      5023565044       2/16/2012       7:08:36
31274      5023565360       5/28/2012       8:07:19
31275      5023565360       6/8/2012        7:28:26
31276      5023566582       10/14/2011      12:41:30
31277      5023568032       9/21/2012       15:32:24
31278      5023568935       2/14/2012       16:46:34
31279      5023568935       3/19/2012       7:13:42
31280      5023568992       2/11/2012       10:36:48
31281      5023650250       6/12/2012       17:11:09
31282      5023708323       10/3/2012       19:46:32
31283      5023766798       10/13/2012      9:03:22
31284      5023771604       11/3/2011       17:07:27
31285      5023771814       11/22/2011      18:51:32
31286      5023774508       4/10/2012       16:19:17
31287      5023814043       3/15/2012       19:23:54
31288      5023815731       9/26/2012       15:20:34
31289      5023818190       12/12/2011      16:35:27
31290      5023820212       2/11/2012       11:12:46
31291      5023851754       10/9/2012       19:59:34
31292      5023860111       1/25/2012       9:29:55
31293      5023863157       8/24/2011       12:07:00
31294      5023864379       9/8/2011        17:58:23
31295      5023869147       11/19/2011      8:46:40
31296      5023870260       7/13/2012       7:39:47
31297      5023871669       10/1/2012       8:11:45
31298      5023875140       7/6/2012        16:57:24
31299      5023875746       9/26/2011       9:32:17
31300      5023879497       6/3/2011        7:28:22
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31301      5023950975       4/21/2012       8:19:55
31302      5023958875       9/3/2011        11:15:48
31303      5024033369       10/5/2011       14:09:55
31304      5024036653       3/3/2012        8:11:49
31305      5024070606       7/23/2012       15:13:15
31306      5024070974       3/12/2012       19:16:41
31307      5024072190       4/15/2012       16:23:17
31308      5024072190       5/9/2012        7:35:42
31309      5024082454       9/8/2012        11:07:10
31310      5024082909       1/12/2012       7:18:03
31311      5024085834       1/23/2012       18:54:45
31312      5024087023       3/24/2012       9:56:12
31313      5024087273       4/15/2012       16:34:38
31314      5024087273       5/10/2012       14:45:44
31315      5024089176       4/22/2012       15:48:36
31316      5024089176       5/9/2012        16:12:38
31317      5024108256       3/16/2012       15:57:29
31318      5024151241       10/8/2011       11:12:29
31319      5024153820       9/17/2011       9:58:46
31320      5024166722       8/17/2011       18:59:47
31321      5024166722       12/18/2011      16:52:41
31322      5024167185       8/20/2011       8:41:35
31323      5024187954       4/12/2012       18:12:27
31324      5024188576       1/6/2012        7:08:33
31325      5024197816       2/17/2012       8:59:04
31326      5024242345       12/26/2011      9:19:44
31327      5024245037       10/5/2012       18:17:30
31328      5024285246       8/3/2011        11:33:33
31329      5024287664       12/5/2011       18:50:50
31330      5024289446       9/28/2012       16:38:59
31331      5024289446       10/8/2012       20:01:14
31332      5024322325       11/18/2011      12:38:26
31333      5024328212       12/29/2011      19:16:43
31334      5024329905       3/2/2012        7:14:36
31335      5024355568       5/26/2012       14:32:37
31336      5024369426       8/22/2012       11:10:53
31337      5024385658       3/21/2012       13:54:42
31338      5024423830       10/4/2011       13:33:33
31339      5024425161       10/15/2011      10:38:03
31340      5024570801       4/9/2012        17:57:54
31341      5024572292       8/30/2012       17:31:12
31342      5024574635       1/23/2012       19:05:38
31343      5024578288       5/29/2012       17:02:48
31344      5024605030       1/24/2012       17:13:07
31345      5024719579       1/9/2012        18:06:13
31346      5024720752       1/25/2012       9:11:42
31347      5024729060       3/12/2012       7:12:49
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31348      5024750484       3/8/2012        7:05:24
31349      5024758288       5/19/2012       8:09:20
31350      5024758288       7/23/2012       13:11:37
31351      5024870117       6/30/2012       8:07:18
31352      5024870706       10/3/2011       7:15:59
31353      5024890090       10/15/2011      9:40:56
31354      5024929503       9/15/2011       7:21:17
31355      5024943554       7/18/2011       10:41:47
31356      5025002698       1/17/2012       18:41:00
31357      5025006569       11/23/2011      10:54:20
31358      5025098311       5/17/2012       7:10:44
31359      5025098311       5/21/2012       7:33:28
31360      5025098311       6/5/2012        7:06:05
31361      5025098668       8/30/2012       17:41:33
31362      5025098686       7/23/2012       15:18:34
31363      5025103812       10/1/2011       9:37:36
31364      5025104021       10/5/2012       18:22:25
31365      5025106701       3/7/2012        18:47:42
31366      5025107736       11/21/2011      7:19:55
31367      5025141074       3/28/2012       18:10:41
31368      5025141988       9/26/2011       7:48:31
31369      5025142406       2/28/2012       15:57:19
31370      5025142963       2/20/2012       16:51:05
31371      5025145854       10/12/2011      12:12:31
31372      5025146165       10/27/2011      15:07:01
31373      5025146663       2/25/2012       10:32:21
31374      5025172308       3/27/2012       7:10:01
31375      5025172424       1/4/2012        12:39:11
31376      5025230322       9/16/2011       13:22:25
31377      5025236480       11/18/2011      13:23:01
31378      5025253296       6/15/2012       16:34:33
31379      5025253560       10/22/2011      13:03:56
31380      5025253618       9/21/2011       11:22:24
31381      5025254567       12/17/2011      12:02:20
31382      5025254868       9/13/2011       7:05:30
31383      5025257691       10/21/2011      13:07:29
31384      5025299117       1/29/2012       16:51:12
31385      5025337242       12/12/2011      16:28:42
31386      5025338855       5/29/2012       7:04:45
31387      5025418526       8/13/2011       11:36:14
31388      5025418985       9/26/2012       14:40:02
31389      5025422503       7/27/2012       15:31:11
31390      5025422503       8/2/2012        18:53:09
31391      5025452747       11/16/2011      9:03:44
31392      5025452747       7/3/2012        13:58:29
31393      5025484476       6/22/2012       21:02:31
31394      5025502466       3/15/2012       18:54:47
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31395      5025511557       6/2/2011        10:57:00
31396      5025523622       10/6/2011       16:31:52
31397      5025523829       9/20/2011       18:10:35
31398      5025547789       2/29/2012       17:45:31
31399      5025580562       2/18/2012       9:13:30
31400      5025585522       11/23/2011      9:13:59
31401      5025720444       10/10/2012      12:31:53
31402      5025729917       2/29/2012       17:40:27
31403      5025920409       1/13/2012       17:11:47
31404      5025926407       3/26/2011       10:35:27
31405      5025930152       11/11/2011      7:49:02
31406      5025934953       10/11/2011      15:48:40
31407      5025935222       2/14/2012       15:25:21
31408      5025947376       9/29/2011       15:51:59
31409      5025981917       10/13/2011      9:37:26
31410      5025990019       12/10/2011      12:03:18
31411      5026001045       11/30/2011      15:17:07
31412      5026092077       9/22/2011       15:59:56
31413      5026096891       8/24/2011       12:15:33
31414      5026140185       3/16/2012       10:01:45
31415      5026189119       11/11/2011      13:36:15
31416      5026189119       12/3/2011       9:52:50
31417      5026192138       7/9/2012        8:50:40
31418      5026194571       9/27/2011       18:22:41
31419      5026391567       8/31/2011       10:22:48
31420      5026397002       4/11/2012       19:28:49
31421      5026397002       10/25/2012      19:33:28
31422      5026397865       5/10/2012       16:09:33
31423      5026403226       6/18/2012       15:08:13
31424      5026403332       11/25/2011      18:24:47
31425      5026408684       9/21/2012       19:00:56
31426      5026440175       12/27/2011      14:15:24
31427      5026440175       3/15/2012       19:00:36
31428      5026448093       1/10/2012       15:12:08
31429      5026448093       1/16/2012       17:09:33
31430      5026485217       10/29/2011      11:28:01
31431      5026491226       9/19/2011       7:11:36
31432      5026491995       7/18/2011       10:46:00
31433      5026501773       3/16/2012       10:10:28
31434      5026505060       9/8/2011        17:53:53
31435      5026506123       4/24/2012       12:16:15
31436      5026556030       9/24/2011       9:37:33
31437      5026556156       6/4/2011        9:54:14
31438      5026557742       11/25/2011      18:06:32
31439      5026646944       8/8/2012        7:05:19
31440      5026647051       2/2/2012        11:03:31
31441      5026692023       2/28/2012       7:51:47
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31442      5026800487       10/1/2011       10:22:29
31443      5026800487       12/28/2011      17:48:55
31444      5026801757       11/21/2011      7:06:56
31445      5026801841       4/30/2012       14:27:45
31446      5026806520       10/6/2011       16:01:59
31447      5026896699       3/2/2012        18:57:43
31448      5026896699       8/8/2012        7:05:46
31449      5026901454       9/17/2012       7:35:41
31450      5026930760       10/6/2011       17:54:21
31451      5026930760       12/11/2011      12:06:41
31452      5027060089       9/13/2011       15:43:57
31453      5027060951       12/20/2011      17:50:03
31454      5027086779       6/27/2012       12:26:13
31455      5027109379       9/10/2011       8:15:03
31456      5027109735       1/16/2012       17:24:24
31457      5027120707       12/5/2011       9:46:44
31458      5027126470       12/3/2011       9:48:02
31459      5027128405       10/22/2011      12:24:46
31460      5027128405       12/9/2011       15:51:47
31461      5027129050       11/17/2011      14:01:06
31462      5027143183       3/29/2012       11:27:31
31463      5027159067       8/1/2012        8:34:09
31464      5027160493       3/15/2011       11:23:58
31465      5027180293       1/28/2012       8:10:28
31466      5027180293       5/31/2012       7:12:27
31467      5027242286       10/26/2011      13:29:28
31468      5027248288       1/18/2012       10:59:41
31469      5027275214       1/3/2012        11:01:44
31470      5027416729       4/20/2012       13:43:26
31471      5027513653       1/16/2012       17:09:06
31472      5027513653       2/14/2012       9:54:23
31473      5027515521       10/13/2011      7:24:29
31474      5027624413       9/22/2011       15:10:00
31475      5027624413       10/5/2011       14:27:06
31476      5027673647       6/24/2011       11:50:23
31477      5027677808       10/28/2011      14:37:19
31478      5027771979       3/14/2012       19:24:25
31479      5027772537       10/8/2012       7:05:38
31480      5027772537       10/14/2012      15:11:25
31481      5027946974       3/13/2012       7:09:51
31482      5027972142       10/22/2012      18:01:12
31483      5027975166       10/12/2012      16:52:57
31484      5028028243       7/6/2012        16:43:46
31485      5028031735       12/15/2011      8:25:08
31486      5028031735       4/24/2012       12:23:15
31487      5028031735       5/21/2012       7:05:55
31488      5028077149       1/28/2012       8:14:23
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31489      5028178610       10/22/2012      7:10:53
31490      5028211128       10/4/2011       13:34:16
31491      5028211225       9/30/2011       12:08:36
31492      5028211496       5/16/2012       7:09:30
31493      5028218852       10/8/2011       11:05:13
31494      5028218869       6/1/2012        9:11:15
31495      5028270591       10/11/2012      12:03:42
31496      5028274378       11/19/2011      8:39:01
31497      5028351085       9/19/2011       19:25:45
31498      5028353657       12/29/2011      14:30:53
31499      5028359153       3/16/2012       15:47:27
31500      5028518184       1/6/2012        12:24:55
31501      5028736492       3/15/2014       8:11:20
31502      5028761633       9/21/2011       11:27:57
31503      5028762138       4/2/2012        16:55:03
31504      5028765531       11/10/2011      7:19:34
31505      5029305141       1/13/2012       17:15:52
31506      5029305141       5/21/2012       7:39:41
31507      5029317650       10/11/2011      17:08:53
31508      5029317934       6/1/2011        11:53:42
31509      5029693007       2/11/2012       15:21:49
31510      5032015351       11/5/2011       10:27:44
31511      5032080489       10/1/2012       13:37:56
31512      5032095786       6/18/2011       15:39:52
31513      5032500926       12/27/2011      14:24:02
31514      5032659850       10/24/2012      15:05:34
31515      5032670543       2/28/2012       13:08:16
31516      5032670936       5/7/2012        14:59:08
31517      5032671077       12/10/2011      12:36:27
31518      5032672579       2/14/2012       16:44:35
31519      5032677046       3/28/2012       12:36:19
31520      5032677046       5/17/2012       12:12:35
31521      5032687486       8/9/2013        12:15:12
31522      5032687659       2/17/2012       10:45:40
31523      5032690955       1/13/2012       12:47:15
31524      5032694030       5/4/2012        18:16:35
31525      5032695734       10/4/2011       14:01:14
31526      5032709764       10/20/2011      16:39:13
31527      5032778820       1/12/2012       14:09:14
31528      5032789637       3/26/2012       14:55:23
31529      5032855527       4/16/2012       10:09:43
31530      5032983773       12/1/2011       10:39:23
31531      5032988599       10/23/2012      10:35:06
31532      5033024222       4/5/2012        13:54:35
31533      5033025785       1/5/2012        17:24:55
31534      5033028054       4/27/2012       11:47:52
31535      5033028054       5/7/2012        15:01:00
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31536      5033083807       12/1/2011       10:33:09
31537      5033096458       6/5/2012        19:49:45
31538      5033096458       7/9/2012        19:16:45
31539      5033105864       4/9/2011        14:02:51
31540      5033135948       9/23/2011       18:51:12
31541      5033143016       3/6/2012        15:54:33
31542      5033171114       11/11/2011      13:25:49
31543      5033172764       10/13/2011      10:32:38
31544      5033175232       9/13/2011       13:43:12
31545      5033177834       4/1/2012        16:08:59
31546      5033188966       12/5/2011       18:18:23
31547      5033197051       11/27/2011      15:36:27
31548      5033205563       10/14/2011      13:03:31
31549      5033275467       7/2/2011        13:51:43
31550      5033291946       3/11/2011       16:57:21
31551      5033295673       12/20/2011      19:40:32
31552      5033296651       4/12/2012       14:23:53
31553      5033299972       7/21/2011       13:52:59
31554      5033302245       5/7/2012        21:37:27
31555      5033323693       1/27/2012       11:56:33
31556      5033325528       10/6/2011       17:08:51
31557      5033336237       1/24/2012       17:10:35
31558      5033347171       5/7/2012        15:01:35
31559      5033347649       12/10/2011      14:31:57
31560      5033411474       4/13/2012       20:42:23
31561      5033470507       6/9/2012        11:05:01
31562      5033482772       9/9/2011        17:49:26
31563      5033485120       8/20/2012       10:14:58
31564      5033497907       11/4/2011       10:12:12
31565      5033671259       1/12/2012       14:20:08
31566      5033672382       9/21/2012       18:42:51
31567      5033690293       10/18/2012      14:32:57
31568      5033803888       11/28/2011      12:28:08
31569      5033813951       6/9/2012        11:04:45
31570      5033834426       9/17/2011       10:29:19
31571      5033835998       2/14/2012       10:10:08
31572      5033856919       1/8/2012        13:21:21
31573      5033881628       10/5/2011       14:50:16
31574      5033881688       11/15/2011      15:56:12
31575      5033882157       5/18/2012       15:49:22
31576      5033962923       11/9/2011       10:28:59
31577      5034009463       5/17/2012       17:00:36
31578      5034009576       11/23/2011      10:09:38
31579      5034052253       9/8/2011        19:55:21
31580      5034096519       4/16/2012       15:52:37
31581      5034099206       10/21/2011      13:40:16
31582      5034101450       10/20/2011      15:51:17
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31583      5034101660       10/22/2012      18:08:17
31584      5034202031       1/17/2012       18:51:17
31585      5034210061       6/25/2012       21:49:05
31586      5034210061       8/31/2012       16:31:54
31587      5034212508       5/17/2012       16:43:24
31588      5034220006       10/6/2011       17:09:46
31589      5034282679       6/1/2012        10:42:54
31590      5034282680       5/20/2012       15:56:51
31591      5034282844       9/19/2011       19:38:32
31592      5034286297       10/12/2011      11:44:31
31593      5034311301       12/14/2011      18:04:29
31594      5034319675       9/22/2011       16:15:30
31595      5034359615       10/5/2011       14:24:04
31596      5034380662       1/11/2012       10:57:10
31597      5034407952       9/27/2011       18:57:08
31598      5034409655       11/9/2011       10:39:55
31599      5034426573       10/10/2011      12:05:34
31600      5034439999       4/2/2012        12:53:24
31601      5034460803       12/31/2011      12:12:10
31602      5034491642       7/30/2011       10:24:33
31603      5034496812       4/5/2012        18:29:06
31604      5034496812       9/28/2012       17:05:13
31605      5034534000       5/22/2012       18:24:15
31606      5034593857       6/4/2012        21:11:55
31607      5034646823       7/18/2012       18:33:01
31608      5034731093       5/25/2012       17:16:00
31609      5034733174       7/31/2012       21:04:51
31610      5034737062       10/5/2011       14:23:32
31611      5034739343       4/11/2012       13:14:25
31612      5034739948       12/7/2011       14:21:56
31613      5034747407       3/13/2012       12:54:09
31614      5034815768       10/24/2012      21:12:19
31615      5034816203       8/11/2012       12:27:12
31616      5034816283       8/22/2012       11:24:28
31617      5034816455       9/28/2012       14:35:06
31618      5034844968       10/10/2012      12:49:55
31619      5034846440       8/24/2012       21:04:35
31620      5034902423       5/26/2012       14:43:13
31621      5034908972       8/6/2012        15:39:14
31622      5035049442       3/2/2012        15:25:51
31623      5035053975       12/30/2011      20:55:08
31624      5035070757       9/16/2011       15:13:59
31625      5035073152       3/1/2012        21:55:44
31626      5035085693       5/14/2012       15:23:59
31627      5035153965       4/27/2012       21:07:17
31628      5035156538       10/21/2011      12:57:51
31629      5035157486       5/19/2012       10:57:39
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31630      5035159905       4/12/2012       18:32:01
31631      5035162490       3/19/2012       12:05:06
31632      5035164032       9/13/2011       14:36:25
31633      5035167244       4/26/2011       20:30:34
31634      5035191104       9/14/2011       21:38:12
31635      5035193146       3/14/2012       14:42:42
31636      5035198156       7/12/2011       12:38:58
31637      5035440053       10/3/2011       10:46:31
31638      5035446728       5/26/2012       14:28:17
31639      5035450437       9/20/2011       16:49:42
31640      5035473227       4/13/2012       20:47:54
31641      5035504583       2/2/2012        21:03:10
31642      5035505104       5/14/2012       15:42:24
31643      5035515473       5/26/2011       10:25:21
31644      5035592209       7/30/2012       13:21:55
31645      5035598060       12/23/2011      16:07:40
31646      5035602655       3/8/2012        20:29:49
31647      5035603460       9/14/2011       21:39:16
31648      5035693941       11/30/2011      12:58:44
31649      5035696503       9/21/2011       13:30:33
31650      5035725537       12/2/2011       15:31:39
31651      5035729009       10/5/2011       14:21:29
31652      5035760034       12/2/2011       15:12:25
31653      5035769291       5/30/2012       16:42:53
31654      5035770124       5/22/2012       18:24:25
31655      5035775273       11/20/2011      11:11:17
31656      5035800795       9/10/2012       10:21:51
31657      5035801003       12/26/2011      20:38:39
31658      5035804015       12/6/2011       13:18:35
31659      5035863638       1/10/2012       15:23:57
31660      5036021909       12/7/2011       17:46:57
31661      5036022288       3/19/2012       19:28:25
31662      5036022288       6/1/2012        10:41:26
31663      5036022288       10/10/2012      13:06:08
31664      5036214933       9/19/2011       19:37:23
31665      5036745861       4/16/2012       15:53:37
31666      5036809860       10/20/2011      15:55:36
31667      5036809860       11/23/2011      14:46:48
31668      5036861417       4/2/2012        12:57:50
31669      5036893692       12/10/2011      12:35:11
31670      5036896620       4/23/2012       20:50:33
31671      5037042284       3/19/2012       11:50:25
31672      5037047669       6/7/2012        18:33:00
31673      5037049190       3/13/2012       12:54:11
31674      5037071174       10/7/2011       10:22:48
31675      5037077105       12/26/2013      20:35:55
31676      5037084302       3/8/2012        20:41:00
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31677      5037089630       3/6/2012        20:27:55
31678      5037105279       5/8/2012        17:39:32
31679      5037105389       10/12/2011      7:22:49
31680      5037107222       2/8/2012        13:05:08
31681      5037199086       4/26/2012       21:09:39
31682      5037201314       5/3/2012        10:06:31
31683      5037247043       12/17/2011      12:15:33
31684      5037294139       3/3/2012        10:39:38
31685      5037300618       9/19/2012       16:25:54
31686      5037348137       12/31/2011      12:10:46
31687      5037348798       9/23/2011       11:54:23
31688      5037374437       9/19/2011       19:32:00
31689      5037378639       3/6/2012        15:52:12
31690      5037379158       8/10/2012       10:27:15
31691      5037400104       11/22/2011      19:51:27
31692      5037400155       2/18/2012       10:19:10
31693      5037400397       9/15/2011       10:54:00
31694      5037410563       1/29/2014       20:53:16
31695      5037410679       10/17/2012      12:50:22
31696      5037503066       10/10/2012      12:43:47
31697      5037504608       2/17/2012       18:11:50
31698      5037521725       6/4/2012        21:07:48
31699      5037527426       12/29/2011      10:55:23
31700      5037530936       9/9/2011        18:08:47
31701      5037537356       6/26/2012       21:15:47
31702      5037538712       8/27/2012       14:28:17
31703      5037545742       4/3/2012        20:12:21
31704      5037545742       4/9/2012        17:55:27
31705      5037547538       12/12/2011      12:32:20
31706      5037563758       1/27/2012       21:55:32
31707      5037566057       9/1/2012        11:51:28
31708      5037579824       10/25/2011      16:42:07
31709      5037628645       9/12/2011       13:38:04
31710      5037647462       6/21/2012       10:08:10
31711      5037648643       3/1/2012        17:34:34
31712      5037793985       1/5/2012        17:24:37
31713      5037793985       3/19/2012       19:26:17
31714      5037794322       9/19/2011       19:36:55
31715      5037796346       7/12/2011       12:40:15
31716      5037797449       6/8/2011        19:09:16
31717      5037798823       4/12/2012       14:20:47
31718      5037806640       4/13/2012       13:24:57
31719      5037808757       3/17/2012       11:53:01
31720      5037847698       10/24/2011      14:50:00
31721      5037892057       9/13/2011       13:41:39
31722      5037892975       10/28/2011      14:37:58
31723      5037910406       8/17/2012       21:25:39
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31724      5037913783       12/12/2011      12:23:09
31725      5037914076       9/18/2012       21:30:16
31726      5037914076       9/24/2012       13:14:58
31727      5037917071       7/9/2011        10:08:18
31728      5037982942       12/10/2011      16:21:33
31729      5037987865       6/15/2012       10:09:01
31730      5038011722       2/11/2012       15:19:29
31731      5038015385       11/16/2011      11:01:53
31732      5038016648       10/11/2011      16:39:21
31733      5038033516       10/12/2011      11:56:28
31734      5038055060       7/14/2011       16:58:55
31735      5038055231       10/8/2011       12:29:43
31736      5038055231       12/5/2011       18:42:53
31737      5038060352       8/3/2012        12:38:55
31738      5038071104       4/29/2012       18:04:09
31739      5038104880       10/11/2011      16:43:28
31740      5038106604       8/22/2012       11:10:33
31741      5038164346       10/11/2011      17:24:23
31742      5038167120       5/4/2012        18:25:30
31743      5038195982       11/28/2011      12:27:52
31744      5038199396       11/30/2011      15:32:20
31745      5038199720       5/9/2012        14:34:32
31746      5038201046       6/14/2012       16:20:05
31747      5038201314       12/28/2011      20:50:48
31748      5038307444       9/27/2011       17:46:40
31749      5038314663       12/17/2011      11:32:38
31750      5038390445       11/4/2011       10:27:21
31751      5038394572       10/25/2012      19:52:19
31752      5038397222       10/16/2012      16:41:15
31753      5038414092       8/14/2012       11:41:08
31754      5038419984       3/2/2012        18:52:50
31755      5038492384       10/8/2011       12:30:04
31756      5038494308       9/12/2011       13:35:42
31757      5038512959       10/8/2011       12:16:16
31758      5038516388       1/9/2012        10:33:27
31759      5038519991       6/11/2012       17:37:48
31760      5038534210       10/14/2011      13:34:45
31761      5038536178       3/15/2012       19:00:01
31762      5038572003       7/26/2012       19:16:49
31763      5038572549       3/15/2012       19:21:03
31764      5038575651       3/16/2012       10:10:42
31765      5038578063       4/13/2012       20:47:11
31766      5038606069       11/8/2011       14:42:24
31767      5038638725       8/1/2011        19:48:56
31768      5038638725       8/2/2011        17:28:17
31769      5038665498       4/3/2012        16:15:29
31770      5038665498       4/9/2012        18:20:06
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31771      5038689332       9/14/2011       21:38:34
31772      5038694653       10/5/2011       14:50:28
31773      5038756469       1/23/2012       19:22:08
31774      5038758872       10/5/2011       14:20:47
31775      5038806553       1/25/2012       18:27:02
31776      5038816137       8/7/2012        20:18:03
31777      5038831440       9/28/2012       14:34:35
31778      5038833619       3/7/2014        12:13:09
31779      5038876718       2/2/2012        21:00:21
31780      5038877525       10/6/2011       17:01:19
31781      5038877970       2/15/2012       11:16:37
31782      5038882761       7/25/2012       20:43:26
31783      5038883825       5/30/2012       16:44:42
31784      5038889478       11/28/2011      12:33:39
31785      5038896884       12/21/2011      19:52:52
31786      5038903426       1/9/2012        18:48:38
31787      5038911241       3/28/2012       12:39:45
31788      5038914216       7/2/2012        15:36:16
31789      5038916138       10/15/2011      11:11:55
31790      5038968661       12/6/2011       14:44:52
31791      5038990804       2/10/2012       10:40:25
31792      5038995373       9/12/2011       14:39:58
31793      5038998109       8/2/2011        19:09:51
31794      5039010085       4/9/2012        17:48:15
31795      5039014938       3/25/2012       12:14:06
31796      5039016422       12/29/2011      19:43:25
31797      5039017060       1/27/2012       12:06:35
31798      5039019491       10/11/2011      17:42:37
31799      5039022603       6/17/2012       12:27:23
31800      5039022603       6/21/2012       18:57:49
31801      5039060826       11/11/2011      20:28:03
31802      5039105189       1/25/2012       20:32:48
31803      5039134251       7/15/2011       10:34:17
31804      5039138595       7/30/2012       13:45:02
31805      5039147722       4/29/2012       18:22:19
31806      5039169872       4/9/2012        18:20:14
31807      5039171690       12/28/2011      20:51:45
31808      5039264724       6/29/2012       17:41:03
31809      5039279089       10/10/2012      19:23:30
31810      5039295340       10/5/2011       14:50:34
31811      5039297374       10/8/2011       11:55:41
31812      5039305206       10/8/2012       20:12:57
31813      5039305348       9/27/2011       18:20:40
31814      5039307940       2/2/2012        16:37:11
31815      5039322800       10/8/2011       12:22:31
31816      5039332637       2/9/2012        14:40:04
31817      5039335564       1/16/2012       17:19:29
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31818      5039336840       5/18/2012       15:49:44
31819      5039350998       1/26/2012       10:12:12
31820      5039351581       11/18/2011      13:35:34
31821      5039352276       3/2/2012        18:53:29
31822      5039353559       7/12/2012       19:55:16
31823      5039353679       5/16/2011       13:18:54
31824      5039354056       5/11/2011       17:05:27
31825      5039354730       12/31/2011      11:56:46
31826      5039364977       11/30/2011      15:32:25
31827      5039369563       11/11/2011      20:14:14
31828      5039395646       9/9/2011        18:37:11
31829      5039439494       5/10/2012       15:06:18
31830      5039491221       3/30/2012       16:20:02
31831      5039497800       11/22/2011      19:46:06
31832      5039530850       9/20/2011       20:38:20
31833      5039533554       12/23/2011      16:08:21
31834      5039548274       6/20/2012       11:02:17
31835      5039548643       7/2/2012        15:30:01
31836      5039548950       9/30/2011       10:25:29
31837      5039549326       11/21/2011      10:37:52
31838      5039549541       6/7/2011        18:16:48
31839      5039565112       3/19/2012       19:39:40
31840      5039567715       2/3/2012        20:05:39
31841      5039568905       7/27/2011       17:54:29
31842      5039575568       9/20/2011       16:55:12
31843      5039576970       5/31/2012       17:46:54
31844      5039578435       6/29/2012       17:49:56
31845      5039601744       8/6/2011        13:09:48
31846      5039605438       11/15/2011      15:56:23
31847      5039606170       9/20/2012       14:44:31
31848      5039607448       12/29/2011      19:42:59
31849      5039607966       9/22/2012       12:18:15
31850      5039620550       7/14/2011       10:34:29
31851      5039697393       1/26/2012       10:14:04
31852      5039752742       3/31/2012       17:10:17
31853      5039756126       11/15/2011      20:10:54
31854      5039805545       10/10/2011      13:03:25
31855      5039808358       10/16/2012      20:34:20
31856      5039842231       9/20/2012       14:46:13
31857      5039903782       2/14/2012       17:03:13
31858      5039904419       9/19/2012       16:26:00
31859      5039954272       7/23/2012       15:36:16
31860      5039955063       10/12/2012      21:29:39
31861      5039970414       1/10/2012       15:38:14
31862      5039970916       1/24/2012       17:25:36
31863      5039973388       3/8/2012        20:29:48
31864      5039975292       1/3/2012        19:52:16
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                                    #:12530

31865      5039976873       10/17/2012      12:45:01
31866      5039980467       10/23/2012      10:55:34
31867      5039983586       3/5/2012        10:59:15
31868      5039994959       11/26/2011      12:13:19
31869      5039996531       2/7/2012        16:37:58
31870      5042027666       1/23/2012       19:16:50
31871      5042357616       6/23/2012       16:25:59
31872      5042365765       11/9/2011       7:43:11
31873      5042365765       11/22/2011      19:27:13
31874      5042365765       5/21/2012       7:22:29
31875      5042368628       10/12/2012      17:03:10
31876      5042372784       4/5/2012        9:56:59
31877      5042373633       11/5/2011       11:33:09
31878      5042373633       2/29/2012       17:24:23
31879      5042486925       10/21/2011      13:23:26
31880      5042486925       12/21/2011      18:51:47
31881      5042514065       7/19/2012       8:33:24
31882      5042749349       4/29/2011       20:12:43
31883      5042879062       10/14/2011      13:17:34
31884      5042897801       3/26/2012       18:26:23
31885      5042923565       11/16/2011      19:57:51
31886      5043121892       1/26/2012       7:21:00
31887      5043194662       1/17/2012       13:32:34
31888      5043308392       9/13/2012       7:33:48
31889      5043318587       1/10/2012       15:19:31
31890      5043335843       9/22/2011       15:18:32
31891      5043358197       2/6/2012        10:18:44
31892      5043380586       6/11/2012       17:34:42
31893      5043522157       6/20/2012       16:59:27
31894      5043524484       12/15/2011      8:38:33
31895      5043829344       3/29/2012       16:43:19
31896      5043889793       7/6/2012        14:36:11
31897      5043903627       2/2/2014        11:38:23
31898      5043908998       4/24/2012       18:10:51
31899      5044191198       11/11/2011      20:21:31
31900      5044274154       6/9/2012        14:43:51
31901      5044520530       10/24/2011      8:17:16
31902      5044535279       1/31/2012       10:19:05
31903      5044608464       5/29/2012       17:14:13
31904      5044736687       12/19/2011      8:14:20
31905      5044915473       11/22/2011      19:37:39
31906      5044958181       2/17/2012       18:06:05
31907      5044967240       10/22/2011      12:54:38
31908      5045081186       9/16/2011       14:40:50
31909      5045120543       12/9/2011       8:16:37
31910      5045120543       1/5/2012        17:22:50
31911      5045356246       6/11/2012       18:03:43
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31912      5045592295       10/1/2011       9:56:23
31913      5045594249       12/7/2011       14:51:11
31914      5045643403       6/7/2012        18:28:45
31915      5045708710       3/13/2012       11:25:17
31916      5046068172       12/3/2011       9:24:08
31917      5046281825       3/13/2012       16:38:30
31918      5046382625       11/19/2011      8:26:48
31919      5046549616       9/15/2011       9:12:15
31920      5047102920       1/7/2012        9:40:14
31921      5047178787       10/24/2012      15:00:14
31922      5047587035       11/10/2011      7:10:30
31923      5047821123       7/11/2011       8:22:26
31924      5048581913       12/9/2011       8:17:45
31925      5049055173       10/3/2012       20:02:06
31926      5049098227       6/8/2012        16:57:12
31927      5049099541       6/12/2012       17:12:50
31928      5049131515       1/8/2012        13:01:51
31929      5049153954       10/5/2011       14:25:27
31930      5049159761       12/15/2011      8:38:22
31931      5049315283       5/26/2012       14:39:00
31932      5049392630       10/17/2012      9:45:55
31933      5052031849       12/20/2011      17:12:40
31934      5052032170       12/21/2011      10:25:25
31935      5052032742       4/26/2012       21:19:51
31936      5052033637       12/1/2011       10:33:30
31937      5052035675       12/5/2011       9:04:59
31938      5052035675       1/6/2012        14:44:02
31939      5052035928       2/14/2012       16:52:50
31940      5052036928       9/29/2011       15:24:48
31941      5052036928       12/15/2011      9:01:07
31942      5052037336       4/27/2012       21:05:57
31943      5052037509       10/3/2011       10:41:28
31944      5052037509       10/10/2011      12:57:15
31945      5052038865       11/3/2011       17:25:44
31946      5052039029       8/16/2012       19:54:53
31947      5052039370       8/31/2012       16:31:18
31948      5052039639       7/19/2011       16:57:37
31949      5052039836       3/19/2012       11:47:58
31950      5052042461       10/25/2011      16:34:24
31951      5052042601       3/16/2012       15:55:16
31952      5052042601       6/8/2012        9:14:56
31953      5052043696       2/28/2012       16:08:05
31954      5052049757       9/20/2012       21:01:16
31955      5052055365       9/22/2011       15:16:07
31956      5052061808       1/16/2012       12:08:33
31957      5052155782       6/16/2012       15:18:25
31958      5052156012       5/21/2012       9:01:47
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31959      5052158215       9/24/2012       12:55:48
31960      5052164015       11/19/2011      9:03:20
31961      5052178332       12/17/2011      11:39:19
31962      5052205843       10/24/2011      14:14:17
31963      5052208868       8/30/2012       17:38:22
31964      5052208868       10/10/2012      19:14:46
31965      5052254630       1/11/2012       9:07:10
31966      5052259626       8/8/2012        9:07:15
31967      5052270717       3/16/2012       15:55:33
31968      5052276150       4/12/2012       12:24:14
31969      5052279088       4/2/2014        17:27:18
31970      5052287551       8/13/2011       10:37:57
31971      5052342329       11/18/2011      13:34:44
31972      5052342721       4/30/2012       21:02:05
31973      5052352175       10/8/2012       20:03:31
31974      5052352384       2/4/2012        13:12:22
31975      5052352384       5/21/2012       9:01:49
31976      5052356814       9/21/2012       18:52:37
31977      5052359252       9/14/2011       21:29:40
31978      5052369765       5/7/2012        21:35:25
31979      5052380558       3/12/2012       16:52:52
31980      5052382531       11/14/2011      17:38:19
31981      5052382682       10/27/2011      16:55:31
31982      5052386295       12/3/2011       10:26:58
31983      5052386529       1/18/2014       15:30:06
31984      5052388054       12/19/2011      9:10:47
31985      5052400712       1/13/2012       10:39:26
31986      5052401779       1/6/2012        13:00:20
31987      5052401779       1/16/2012       17:36:36
31988      5052402076       4/4/2011        14:20:30
31989      5052500723       1/16/2012       20:09:10
31990      5052507277       12/23/2011      20:44:23
31991      5052508867       9/30/2011       9:51:24
31992      5052527199       4/30/2012       15:05:38
31993      5052590600       6/6/2011        17:28:04
31994      5052611810       4/30/2012       21:02:47
31995      5052612099       12/23/2011      15:13:34
31996      5052612207       6/25/2012       13:49:08
31997      5052615554       1/17/2012       18:36:32
31998      5052615554       3/21/2012       13:42:55
31999      5052615733       9/15/2011       9:04:10
32000      5052615979       10/1/2011       10:54:25
32001      5052615979       12/29/2011      11:24:15
32002      5052618966       10/19/2011      12:23:40
32003      5052630735       4/16/2012       9:02:42
32004      5052634346       5/26/2012       14:22:38
32005      5052636144       10/9/2012       20:04:55
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32006      5052641500       11/3/2011       17:27:02
32007      5052642245       10/14/2011      13:32:35
32008      5052646891       12/6/2011       13:53:27
32009      5052647487       8/14/2012       21:01:45
32010      5052699356       2/24/2012       20:53:00
32011      5052700366       3/6/2012        20:29:35
32012      5052701152       2/15/2012       14:05:35
32013      5052701286       9/27/2011       18:50:50
32014      5052701728       1/18/2012       10:22:40
32015      5052706809       12/26/2011      20:09:50
32016      5052707999       2/10/2012       9:24:25
32017      5052801470       9/19/2011       14:53:21
32018      5052854327       10/31/2011      9:34:17
32019      5052888911       10/17/2011      9:10:56
32020      5052889774       1/11/2012       9:04:18
32021      5052901553       9/30/2011       10:24:37
32022      5052902054       2/21/2012       11:40:10
32023      5052909055       7/21/2011       14:22:21
32024      5053016536       4/13/2012       20:41:33
32025      5053016568       1/4/2012        11:00:39
32026      5053040707       9/14/2011       21:24:03
32027      5053041034       9/23/2011       19:05:09
32028      5053042073       12/20/2011      12:10:08
32029      5053044243       9/13/2011       18:06:49
32030      5053044421       10/22/2011      13:18:13
32031      5053045617       7/11/2012       17:27:44
32032      5053049580       8/19/2011       12:26:47
32033      5053049617       11/18/2011      13:06:07
32034      5053061211       12/13/2011      16:56:06
32035      5053063352       12/26/2011      9:09:26
32036      5053063536       12/21/2011      10:13:11
32037      5053065867       11/21/2011      10:34:10
32038      5053069593       2/28/2012       16:08:25
32039      5053071289       8/16/2011       18:09:43
32040      5053075376       12/18/2011      17:18:42
32041      5053100531       10/15/2011      11:00:48
32042      5053103437       7/6/2012        14:43:08
32043      5053103819       3/13/2012       18:33:31
32044      5053104206       9/29/2011       15:54:43
32045      5053105909       9/8/2011        19:54:30
32046      5053120598       5/21/2012       9:04:14
32047      5053120598       5/21/2012       9:05:49
32048      5053120598       6/6/2012        9:13:42
32049      5053143303       10/23/2012      10:40:05
32050      5053144609       4/16/2012       16:09:16
32051      5053150853       10/10/2011      12:54:26
32052      5053151930       4/3/2012        18:29:13
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32053      5053152545       8/3/2011        11:59:32
32054      5053152869       4/25/2011       14:45:33
32055      5053154615       1/5/2012        12:06:30
32056      5053154615       1/17/2012       9:39:08
32057      5053155050       7/27/2012       21:01:50
32058      5053157117       3/12/2012       11:23:09
32059      5053158373       10/6/2011       17:55:57
32060      5053163007       4/25/2012       21:23:29
32061      5053163183       4/3/2012        16:02:58
32062      5053163847       5/16/2012       9:24:11
32063      5053166076       2/29/2012       17:27:47
32064      5053166076       5/21/2012       9:01:41
32065      5053192152       8/6/2012        16:30:21
32066      5053192938       8/23/2012       12:01:15
32067      5053193454       6/9/2011        11:03:59
32068      5053194305       10/14/2011      13:31:49
32069      5053195366       9/30/2011       12:37:54
32070      5053195572       9/20/2011       16:53:27
32071      5053197163       6/5/2012        17:50:04
32072      5053198717       10/12/2011      9:08:58
32073      5053198806       10/22/2011      13:18:11
32074      5053200373       3/19/2012       12:01:17
32075      5053208520       2/3/2012        20:12:15
32076      5053208693       10/6/2011       16:36:01
32077      5053213451       2/13/2012       9:30:46
32078      5053216200       7/2/2012        17:26:22
32079      5053216200       10/2/2012       12:59:33
32080      5053217115       2/2/2012        16:42:31
32081      5053280696       4/19/2012       15:12:08
32082      5053282021       10/12/2012      21:25:56
32083      5053286977       9/21/2011       19:36:05
32084      5053304040       10/4/2011       13:25:50
32085      5053306219       12/12/2011      12:30:14
32086      5053306541       12/20/2011      19:39:11
32087      5053306601       1/23/2012       9:06:59
32088      5053308655       11/8/2011       14:03:16
32089      5053308662       10/22/2011      13:17:15
32090      5053310687       10/10/2011      11:56:01
32091      5053310687       11/3/2011       17:22:37
32092      5053313255       4/18/2011       19:53:01
32093      5053313556       2/14/2012       15:44:44
32094      5053314087       7/21/2011       14:22:38
32095      5053318737       3/15/2012       13:51:50
32096      5053335517       10/8/2012       20:07:39
32097      5053341145       5/8/2012        12:35:45
32098      5053401742       11/29/2011      15:46:23
32099      5053404120       1/18/2012       10:22:09
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32100      5053404120       2/2/2012        18:49:41
32101      5053408864       6/4/2012        9:35:59
32102      5053486240       1/24/2012       10:33:07
32103      5053486586       3/24/2012       10:34:41
32104      5053501758       12/30/2011      9:02:41
32105      5053505991       10/13/2011      9:36:11
32106      5053505991       5/21/2012       9:01:33
32107      5053507215       10/14/2012      15:12:08
32108      5053582862       4/12/2012       14:55:12
32109      5053590304       5/21/2011       11:08:08
32110      5053590994       1/7/2012        9:02:38
32111      5053600898       8/11/2012       9:28:09
32112      5053601700       8/24/2012       21:03:27
32113      5053604330       9/14/2011       16:53:35
32114      5053605491       12/26/2011      10:24:20
32115      5053606111       10/11/2011      16:30:35
32116      5053606405       3/20/2012       9:20:36
32117      5053607491       12/29/2011      14:10:53
32118      5053607510       11/19/2011      9:13:20
32119      5053609428       10/15/2012      16:14:06
32120      5053609937       11/22/2011      19:42:29
32121      5053624960       2/24/2011       11:59:38
32122      5053631704       6/14/2012       15:55:11
32123      5053634519       10/20/2011      15:49:11
32124      5053636498       4/9/2012        13:51:48
32125      5053661381       10/17/2011      9:09:39
32126      5053779947       9/23/2011       19:04:53
32127      5053792699       12/28/2011      20:49:26
32128      5053798286       5/25/2012       17:03:49
32129      5053798803       12/2/2011       14:11:17
32130      5053821365       11/25/2011      17:56:09
32131      5053822153       9/16/2011       13:06:27
32132      5053823434       9/22/2011       15:30:28
32133      5053827221       10/20/2011      16:32:24
32134      5053828302       5/23/2011       16:12:47
32135      5053850144       8/31/2012       16:40:06
32136      5053850999       3/23/2012       14:28:06
32137      5053856101       12/9/2011       13:22:47
32138      5053857515       5/23/2012       15:02:36
32139      5053858107       11/22/2011      18:52:58
32140      5053858107       1/11/2012       9:02:17
32141      5053858107       5/21/2012       9:03:30
32142      5053859567       7/25/2012       12:08:28
32143      5054001816       7/23/2012       15:35:16
32144      5054012513       3/23/2012       20:18:40
32145      5054016049       4/28/2012       9:13:41
32146      5054025362       9/19/2011       19:19:39
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32147      5054026956       10/25/2011      16:34:23
32148      5054028876       3/10/2011       17:57:19
32149      5054029243       2/16/2012       9:23:23
32150      5054029243       5/21/2012       9:03:44
32151      5054029354       11/4/2011       9:01:22
32152      5054060842       10/25/2011      15:42:28
32153      5054062183       12/23/2011      20:45:35
32154      5054062213       1/20/2012       11:34:43
32155      5054062213       1/25/2012       20:31:30
32156      5054062316       2/28/2012       13:19:51
32157      5054063699       3/2/2012        9:42:13
32158      5054063926       9/29/2011       15:55:27
32159      5054063926       12/17/2011      12:12:45
32160      5054064574       10/12/2011      9:06:53
32161      5054065062       8/17/2012       9:31:16
32162      5054066202       7/25/2011       15:22:54
32163      5054066772       11/9/2011       9:19:48
32164      5054068129       7/11/2011       12:18:24
32165      5054068588       9/29/2011       15:55:43
32166      5054090936       1/25/2012       9:23:53
32167      5054092139       12/30/2011      12:49:29
32168      5054093130       6/30/2012       11:07:04
32169      5054094145       9/19/2012       21:27:16
32170      5054094365       4/28/2012       9:14:00
32171      5054101547       12/5/2011       9:01:33
32172      5054102738       12/17/2011      11:39:25
32173      5054102888       10/14/2011      13:32:13
32174      5054102888       11/23/2011      14:43:32
32175      5054102898       12/12/2011      16:25:29
32176      5054104032       4/26/2012       21:18:24
32177      5054105289       9/23/2011       11:21:45
32178      5054106258       11/26/2011      13:44:26
32179      5054106465       9/29/2011       15:55:59
32180      5054106465       10/10/2011      12:01:21
32181      5054108481       10/7/2012       13:11:33
32182      5054108481       10/15/2012      16:14:25
32183      5054143522       5/23/2012       16:52:00
32184      5054147882       1/30/2012       9:19:17
32185      5054170850       4/18/2012       18:00:26
32186      5054170987       10/3/2011       10:39:51
32187      5054173505       12/7/2011       13:44:10
32188      5054173510       10/27/2011      16:57:50
32189      5054174177       6/4/2012        9:35:31
32190      5054190493       8/3/2012        16:24:26
32191      5054190774       10/25/2011      15:41:40
32192      5054194307       12/23/2011      20:44:25
32193      5054257233       10/10/2012      19:14:32
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32194      5054266230       12/21/2011      10:22:12
32195      5054271577       3/13/2012       11:46:00
32196      5054295497       10/22/2012      10:29:25
32197      5054351475       4/18/2012       9:07:25
32198      5054356127       8/16/2012       9:27:38
32199      5054358157       6/5/2012        15:38:30
32200      5054401443       9/19/2011       19:18:39
32201      5054401678       12/5/2011       18:40:00
32202      5054402556       10/6/2011       16:57:15
32203      5054407089       4/21/2012       16:45:43
32204      5054407089       7/24/2012       20:33:12
32205      5054407602       11/12/2011      9:41:24
32206      5054408049       12/12/2011      16:21:22
32207      5054502122       10/1/2012       21:34:41
32208      5054527789       9/14/2011       19:41:57
32209      5054530879       12/26/2011      20:09:58
32210      5054538468       1/10/2012       20:55:29
32211      5054598673       11/17/2011      16:51:00
32212      5054634587       10/11/2011      17:35:50
32213      5054635542       3/23/2012       14:27:44
32214      5054636434       1/30/2012       9:03:12
32215      5054639590       1/11/2012       9:03:22
32216      5054702350       10/25/2011      16:35:23
32217      5054719078       7/27/2011       17:42:54
32218      5054719728       11/15/2011      16:39:55
32219      5054801114       1/9/2012        18:17:52
32220      5054807013       3/27/2012       15:53:53
32221      5054808828       6/30/2012       15:56:57
32222      5054861490       11/19/2011      9:13:46
32223      5054862218       10/14/2011      13:00:06
32224      5054883740       7/9/2012        19:02:58
32225      5054883830       6/11/2012       18:09:13
32226      5054889823       3/23/2012       11:39:19
32227      5054890574       6/18/2012       15:28:57
32228      5054891510       12/5/2011       9:48:05
32229      5054892002       5/11/2011       17:03:25
32230      5054894256       6/13/2012       20:00:59
32231      5054895590       11/28/2011      12:21:26
32232      5054899852       12/18/2011      17:20:16
32233      5054901242       10/13/2011      9:36:57
32234      5054901246       9/13/2011       13:39:05
32235      5054901246       9/27/2011       18:17:35
32236      5054901296       9/29/2011       15:25:05
32237      5054901296       5/26/2012       14:42:51
32238      5054958174       2/13/2012       9:30:44
32239      5055011637       8/9/2011        13:07:00
32240      5055012581       11/17/2011      14:44:58
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32241      5055014356       10/31/2011      9:34:19
32242      5055030482       4/10/2012       11:43:22
32243      5055043384       3/14/2012       19:37:23
32244      5055049096       1/9/2012        18:45:40
32245      5055049794       1/28/2012       9:36:05
32246      5055064081       11/22/2011      18:47:18
32247      5055072612       10/1/2012       21:39:26
32248      5055078627       12/27/2011      14:23:34
32249      5055143522       3/23/2012       19:42:13
32250      5055145919       9/19/2011       19:18:23
32251      5055151627       10/10/2011      12:56:32
32252      5055151914       12/21/2011      18:44:55
32253      5055156235       8/22/2012       11:23:54
32254      5055156351       3/23/2012       14:24:51
32255      5055158423       1/24/2012       17:19:45
32256      5055162827       11/23/2011      14:43:13
32257      5055162891       11/9/2011       9:18:19
32258      5055162891       11/17/2011      14:39:31
32259      5055501963       3/15/2012       14:01:36
32260      5055502928       4/2/2012        9:05:04
32261      5055504398       4/2/2012        9:06:14
32262      5055504398       4/6/2012        15:59:21
32263      5055505153       11/29/2011      15:57:32
32264      5055505773       11/1/2011       11:32:35
32265      5055505987       1/23/2012       9:08:36
32266      5055506526       10/20/2011      15:47:58
32267      5055506630       9/26/2011       9:16:22
32268      5055508764       3/14/2012       19:47:54
32269      5055531992       3/27/2012       15:07:14
32270      5055532923       7/5/2012        15:34:17
32271      5055532923       9/10/2012       21:06:53
32272      5055545712       10/11/2011      16:32:40
32273      5055546120       4/6/2012        15:45:30
32274      5055547722       6/22/2012       8:54:36
32275      5055674639       3/2/2012        9:26:44
32276      5055679260       3/13/2012       18:52:08
32277      5055679502       6/8/2012        9:15:44
32278      5055679626       10/18/2012      9:02:54
32279      5055679987       3/12/2012       11:23:53
32280      5055701897       11/18/2011      13:05:49
32281      5055730274       11/7/2011       9:07:51
32282      5055730361       8/25/2012       11:18:18
32283      5055733800       10/1/2012       9:48:51
32284      5055736157       12/23/2011      15:14:34
32285      5055773312       4/23/2011       10:38:41
32286      5055778139       1/19/2012       18:42:39
32287      5055778254       5/21/2012       9:03:45
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32288      5055778297       4/12/2012       18:31:19
32289      5055927366       1/18/2012       10:57:49
32290      5055932834       2/14/2012       15:17:54
32291      5055932967       2/9/2012        9:40:07
32292      5055933011       11/4/2011       9:21:25
32293      5056031167       9/17/2012       9:02:32
32294      5056046117       6/23/2012       16:16:21
32295      5056084546       10/3/2011       10:31:48
32296      5056093412       9/26/2011       9:13:56
32297      5056094639       2/10/2012       17:06:37
32298      5056100840       10/8/2011       12:07:17
32299      5056101337       3/28/2012       18:25:09
32300      5056103368       2/2/2012        16:35:02
32301      5056108166       5/10/2012       21:29:21
32302      5056120896       11/11/2011      13:39:52
32303      5056129705       3/29/2012       16:47:29
32304      5056129917       6/4/2011        10:48:39
32305      5056144836       10/4/2011       13:55:18
32306      5056144836       12/2/2011       14:30:54
32307      5056144894       2/24/2012       17:39:24
32308      5056146384       3/28/2011       15:40:38
32309      5056151514       9/9/2011        18:31:16
32310      5056152677       1/13/2012       17:28:53
32311      5056155462       10/8/2011       12:09:10
32312      5056157484       4/2/2012        17:35:35
32313      5056175195       10/4/2011       14:25:14
32314      5056204087       10/6/2011       16:59:29
32315      5056204157       11/15/2011      20:10:17
32316      5056205961       10/17/2011      9:13:25
32317      5056299594       6/9/2011        11:13:57
32318      5056358192       5/21/2012       17:20:01
32319      5056596825       7/11/2012       9:42:48
32320      5056596825       10/2/2012       10:13:44
32321      5056602886       11/15/2011      15:50:30
32322      5056603840       10/20/2011      16:32:24
32323      5056603840       1/28/2012       9:55:35
32324      5056604665       1/27/2012       19:37:19
32325      5056609108       12/23/2011      14:21:06
32326      5056700187       9/8/2011        19:04:16
32327      5056707939       5/3/2012        21:14:27
32328      5056812273       12/2/2011       15:29:20
32329      5056813949       2/1/2014        15:15:49
32330      5056861246       10/7/2011       9:47:21
32331      5056863191       12/18/2011      16:34:51
32332      5056880076       12/5/2011       9:48:10
32333      5056880199       4/21/2012       9:06:23
32334      5056881204       12/5/2011       9:54:01
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                                    #:12540

32335      5056882681       9/19/2011       19:19:30
32336      5056884097       10/27/2011      16:09:53
32337      5056885278       7/11/2012       17:23:09
32338      5056886983       10/23/2012      10:33:32
32339      5056906412       10/6/2011       16:56:10
32340      5056909038       10/18/2011      13:08:27
32341      5056909089       11/2/2011       14:29:03
32342      5056909089       1/6/2012        14:54:27
32343      5056977132       4/21/2012       9:05:34
32344      5056977132       7/24/2012       14:42:54
32345      5056978462       3/24/2012       10:34:29
32346      5056990986       9/12/2011       14:29:25
32347      5056996883       1/26/2012       10:11:39
32348      5056999706       11/23/2011      9:56:39
32349      5056999706       2/20/2012       9:17:21
32350      5056999706       7/9/2012        19:15:43
32351      5057010097       11/2/2011       14:29:46
32352      5057010097       12/28/2011      13:45:20
32353      5057010528       10/7/2011       9:49:48
32354      5057010952       12/22/2011      9:18:03
32355      5057011193       1/19/2012       18:32:12
32356      5057011700       10/16/2012      20:30:19
32357      5057015781       7/26/2012       19:21:47
32358      5057019821       3/26/2012       18:30:34
32359      5057025220       10/27/2011      16:57:24
32360      5057025689       12/29/2011      19:06:14
32361      5057029561       2/15/2012       21:02:30
32362      5057100267       12/12/2011      12:29:27
32363      5057109398       3/6/2012        20:26:06
32364      5057121580       1/30/2014       9:48:44
32365      5057124204       9/9/2011        18:03:40
32366      5057124364       3/8/2012        20:45:55
32367      5057125828       5/2/2012        13:28:57
32368      5057127565       11/15/2011      20:10:27
32369      5057127779       9/21/2011       19:36:07
32370      5057128485       4/19/2012       14:46:41
32371      5057128632       4/12/2012       13:08:05
32372      5057129144       6/8/2012        16:57:23
32373      5057129531       5/2/2011        18:14:35
32374      5057130255       7/27/2012       21:10:28
32375      5057130255       8/2/2012        16:38:47
32376      5057130605       10/25/2011      15:43:20
32377      5057130966       3/6/2012        13:26:08
32378      5057131533       9/19/2012       21:27:28
32379      5057131965       9/19/2011       14:52:44
32380      5057132057       2/11/2012       15:47:45
32381      5057132225       5/21/2012       21:18:04
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                                    #:12541

32382      5057132608       10/22/2011      13:17:43
32383      5057132641       11/8/2011       14:01:51
32384      5057132644       12/11/2011      12:26:02
32385      5057133823       8/18/2012       10:53:10
32386      5057134609       4/13/2012       13:41:50
32387      5057136196       1/9/2012        18:18:00
32388      5057136499       12/28/2011      11:09:52
32389      5057136662       3/8/2012        20:40:43
32390      5057136852       7/14/2011       9:03:31
32391      5057137272       8/10/2011       18:14:07
32392      5057137522       1/3/2012        16:27:06
32393      5057137522       2/20/2012       9:15:23
32394      5057137565       6/2/2012        13:16:55
32395      5057137591       12/21/2011      10:46:01
32396      5057138116       10/26/2011      13:16:34
32397      5057139780       10/10/2011      12:05:25
32398      5057158081       10/6/2012       9:03:36
32399      5057165035       7/19/2012       9:08:02
32400      5057165212       11/21/2011      10:35:00
32401      5057167033       12/28/2011      11:09:38
32402      5057167093       6/9/2012        15:12:56
32403      5057168861       2/16/2012       9:20:26
32404      5057179182       8/11/2012       9:43:55
32405      5057179182       8/29/2012       20:22:52
32406      5057179785       7/30/2012       13:20:33
32407      5057189101       2/16/2012       9:20:17
32408      5057201871       4/16/2012       8:05:51
32409      5057201871       5/25/2012       17:09:55
32410      5057205170       8/13/2012       20:54:03
32411      5057206922       3/28/2012       18:25:46
32412      5057209748       10/25/2011      15:41:19
32413      5057209748       11/21/2011      10:46:56
32414      5057282923       10/18/2011      13:08:43
32415      5057286411       7/5/2012        10:38:54
32416      5057300405       3/14/2012       14:40:44
32417      5057300734       10/15/2011      9:43:40
32418      5057300821       7/30/2012       13:21:01
32419      5057301317       10/31/2011      9:32:25
32420      5057306140       11/21/2011      10:47:57
32421      5057307082       9/23/2011       11:20:50
32422      5057307334       9/19/2011       14:36:08
32423      5057308167       9/19/2011       19:18:51
32424      5057308290       8/23/2012       11:40:39
32425      5057309773       9/21/2011       12:01:03
32426      5057871275       9/13/2011       18:09:07
32427      5057872528       4/14/2012       9:31:57
32428      5057873012       11/12/2011      10:48:45
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32429      5057930163       2/28/2012       16:21:09
32430      5057950023       2/13/2012       18:50:20
32431      5057953078       1/20/2012       19:28:07
32432      5057953206       9/28/2011       9:32:44
32433      5057956235       11/5/2011       11:43:31
32434      5058015312       8/29/2011       9:26:29
32435      5058015911       3/12/2012       19:11:57
32436      5058017467       3/8/2012        20:34:30
32437      5058019104       1/10/2012       20:53:09
32438      5058019250       3/20/2012       9:21:05
32439      5058031887       2/13/2012       18:32:23
32440      5058037678       3/26/2012       14:47:37
32441      5058039463       2/21/2012       9:49:48
32442      5058040493       10/13/2011      9:34:39
32443      5058042147       1/10/2012       15:21:19
32444      5058042996       11/7/2011       9:37:20
32445      5058043079       2/20/2012       9:17:42
32446      5058043483       2/16/2012       9:21:43
32447      5058044020       1/8/2012        15:26:34
32448      5058048231       10/18/2011      12:34:23
32449      5058048616       8/30/2012       9:45:50
32450      5058048947       10/5/2012       12:29:51
32451      5058099057       10/28/2011      14:31:43
32452      5058182714       2/2/2012        16:42:38
32453      5058183003       5/17/2012       12:09:21
32454      5058183316       12/20/2011      17:10:38
32455      5058184239       6/25/2012       13:57:05
32456      5058188804       8/17/2011       18:52:33
32457      5058507633       9/26/2011       9:16:52
32458      5058508349       3/13/2012       12:54:04
32459      5058508349       5/21/2012       9:03:51
32460      5058600738       5/15/2012       11:12:48
32461      5058600773       11/10/2011      14:21:42
32462      5058604235       9/14/2011       21:24:46
32463      5058604316       2/15/2012       11:19:46
32464      5058605183       10/14/2011      13:01:13
32465      5058606224       11/5/2011       11:45:47
32466      5058609747       10/5/2011       14:20:18
32467      5058621593       10/21/2011      13:37:26
32468      5058622100       3/16/2012       15:55:07
32469      5058626148       7/16/2011       9:13:08
32470      5058626171       9/23/2011       18:49:50
32471      5058702310       12/23/2011      14:20:41
32472      5058702310       3/14/2012       20:00:14
32473      5058704290       8/30/2011       17:33:17
32474      5058705767       4/2/2012        17:35:02
32475      5058706082       5/9/2012        16:07:59
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32476      5058707095       5/24/2012       12:33:39
32477      5058767120       7/21/2012       10:15:21
32478      5058790185       10/1/2011       10:04:08
32479      5058791202       1/10/2012       20:54:50
32480      5058791491       11/28/2011      12:22:03
32481      5058791885       5/21/2012       9:03:47
32482      5058791969       12/20/2011      15:05:54
32483      5058792818       9/27/2011       18:51:21
32484      5058792881       2/21/2012       9:49:36
32485      5058796201       10/6/2012       9:45:20
32486      5058796800       10/14/2011      12:39:41
32487      5058797324       9/20/2011       16:54:15
32488      5058798063       6/27/2012       18:05:46
32489      5059010100       1/13/2012       17:29:09
32490      5059011179       2/28/2012       15:55:21
32491      5059017705       11/18/2011      13:07:08
32492      5059031376       5/12/2012       10:21:02
32493      5059034266       4/5/2012        16:25:30
32494      5059061304       11/7/2011       9:06:30
32495      5059061601       7/27/2012       21:13:03
32496      5059064503       10/20/2012      10:35:47
32497      5059070674       11/16/2011      10:33:31
32498      5059070705       8/23/2012       11:40:37
32499      5059072438       9/9/2011        18:05:11
32500      5059073613       9/9/2011        18:03:45
32501      5059074489       12/26/2011      9:34:38
32502      5059074764       7/28/2011       10:10:38
32503      5059074957       10/24/2011      14:20:59
32504      5059075813       8/20/2012       10:01:54
32505      5059076995       3/7/2012        10:14:13
32506      5059077851       4/1/2012        17:33:17
32507      5059077974       12/12/2011      12:28:13
32508      5059078753       5/9/2012        21:06:53
32509      5059080078       12/10/2011      13:52:46
32510      5059084535       11/2/2011       14:27:25
32511      5059084551       11/21/2011      10:47:08
32512      5059085180       8/26/2011       18:28:49
32513      5059087485       9/15/2012       11:18:44
32514      5059088494       9/24/2012       13:13:46
32515      5059174966       5/3/2012        21:17:49
32516      5059179840       8/16/2011       18:10:54
32517      5059182825       3/9/2012        21:14:26
32518      5059185850       10/11/2012      12:09:29
32519      5059188722       9/26/2011       9:15:16
32520      5059204691       12/29/2011      18:07:47
32521      5059205903       1/8/2012        13:24:55
32522      5059207578       10/22/2012      18:01:28
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32523      5059225533       9/16/2011       13:07:25
32524      5059230433       8/14/2012       11:52:20
32525      5059270885       10/8/2012       20:10:10
32526      5059271445       12/1/2011       10:23:21
32527      5059273983       5/21/2011       11:06:12
32528      5059276069       12/28/2011      17:47:07
32529      5059276720       10/5/2011       14:48:16
32530      5059278651       10/10/2011      12:54:20
32531      5059279665       10/27/2011      16:55:52
32532      5059346256       4/30/2012       21:02:47
32533      5059346439       9/12/2011       14:30:53
32534      5059468765       7/23/2012       13:27:58
32535      5059472516       9/18/2012       21:29:55
32536      5059472852       11/12/2011      10:46:54
32537      5059477444       9/20/2011       16:54:53
32538      5059481076       9/4/2012        16:10:52
32539      5059484686       9/24/2012       19:12:05
32540      5059486252       3/29/2012       11:39:37
32541      5059486390       3/30/2012       9:46:39
32542      5059486823       10/6/2012       9:46:58
32543      5059488357       9/29/2011       9:58:43
32544      5059670576       1/21/2012       9:05:18
32545      5059672315       9/14/2011       12:37:37
32546      5059672901       9/6/2012        21:13:25
32547      5059673099       10/11/2011      16:30:51
32548      5059673900       1/10/2012       12:26:55
32549      5059678587       3/23/2012       19:54:07
32550      5059679937       3/12/2012       11:24:28
32551      5059679937       3/26/2012       18:47:35
32552      5059742119       7/27/2012       21:02:30
32553      5059742458       9/27/2011       18:17:58
32554      5059742693       10/4/2011       13:17:13
32555      5059744822       12/5/2011       18:39:27
32556      5059744931       1/3/2012        19:45:04
32557      5059752127       12/23/2011      14:21:35
32558      5059755858       1/31/2012       10:23:42
32559      5059770315       8/29/2011       9:26:24
32560      5059774138       7/15/2011       9:56:14
32561      5059774851       11/9/2011       9:21:48
32562      5059778405       11/23/2011      10:42:39
32563      5059791538       5/1/2012        18:29:59
32564      5059792186       7/20/2013       15:05:40
32565      5059792538       12/6/2011       14:16:53
32566      5059796123       11/16/2011      20:07:50
32567      5059796179       9/12/2012       14:55:35
32568      5059802494       12/23/2011      14:36:29
32569      5059836858       9/6/2012        12:34:40
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32570      5059914105       12/5/2011       18:40:40
32571      5059918838       5/16/2012       9:26:36
32572      5059918838       5/21/2012       9:02:19
32573      5059999440       9/23/2011       18:49:09
32574      5072136253       11/11/2011      13:43:44
32575      5072157600       10/29/2011      11:10:46
32576      5072265599       9/24/2011       9:47:58
32577      5072540066       5/11/2011       16:58:23
32578      5072711342       11/11/2011      13:52:09
32579      5073514535       12/2/2011       15:09:36
32580      5073515656       12/16/2011      15:44:08
32581      5073586123       7/23/2012       13:05:41
32582      5073813338       12/16/2011      16:38:31
32583      5074382563       10/14/2011      19:28:29
32584      5074690396       10/6/2012       8:53:55
32585      5074692100       11/29/2011      15:02:14
32586      5074913070       9/24/2011       9:35:13
32587      5082023960       1/25/2012       9:11:07
32588      5082030651       9/30/2011       10:15:29
32589      5082082170       9/8/2011        19:47:28
32590      5082157736       12/20/2011      19:28:39
32591      5082157736       7/11/2012       17:12:39
32592      5082159228       11/22/2011      19:04:34
32593      5082159228       3/7/2012        18:47:40
32594      5082159715       9/21/2011       19:28:07
32595      5082166707       4/14/2012       9:02:27
32596      5082213698       1/16/2012       17:19:45
32597      5082218099       5/30/2012       16:51:42
32598      5082218099       6/13/2012       7:11:36
32599      5082218099       9/1/2012        9:18:00
32600      5082237636       11/7/2011       7:51:43
32601      5082321587       6/18/2012       15:16:47
32602      5082329508       3/20/2012       9:21:30
32603      5082329619       11/22/2011      19:02:19
32604      5082410184       6/18/2011       15:08:25
32605      5082410184       10/17/2011      8:23:04
32606      5082432061       3/26/2011       10:34:39
32607      5082432080       12/6/2011       14:47:24
32608      5082447946       7/21/2012       10:38:14
32609      5082450254       9/20/2011       16:36:02
32610      5082450419       11/25/2011      17:24:19
32611      5082502403       2/28/2012       16:09:22
32612      5082504898       1/26/2012       10:15:06
32613      5082649469       2/9/2012        7:17:48
32614      5082690361       11/1/2011       7:55:03
32615      5082722318       9/19/2011       19:08:19
32616      5082736786       3/13/2012       10:52:09
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32617      5082740913       12/21/2011      10:03:22
32618      5082778992       5/11/2012       18:25:50
32619      5082806537       7/31/2012       7:06:50
32620      5082806756       6/25/2012       13:35:39
32621      5082830496       6/20/2012       16:55:45
32622      5082877662       1/9/2012        7:11:02
32623      5082878132       6/11/2012       16:58:06
32624      5082879932       10/15/2011      9:45:28
32625      5083040744       10/8/2011       10:28:46
32626      5083043828       10/13/2011      7:07:24
32627      5083045328       12/6/2011       13:12:07
32628      5083080157       11/23/2011      14:48:31
32629      5083103140       9/13/2012       7:38:54
32630      5083171949       11/9/2011       7:28:03
32631      5083173778       10/10/2011      12:17:23
32632      5083173999       3/13/2012       18:35:34
32633      5083173999       5/21/2012       7:04:37
32634      5083174334       9/26/2012       14:31:03
32635      5083177643       11/7/2011       7:42:37
32636      5083200986       12/20/2011      19:29:16
32637      5083207130       10/3/2011       7:16:44
32638      5083268813       1/25/2012       9:25:16
32639      5083286366       1/16/2012       7:11:37
32640      5083286366       5/21/2012       7:03:12
32641      5083330759       12/29/2011      19:11:25
32642      5083335206       1/7/2012        8:39:06
32643      5083351625       6/21/2012       10:01:13
32644      5083352043       9/28/2012       16:35:15
32645      5083352135       11/19/2011      8:02:35
32646      5083352976       5/7/2012        7:05:02
32647      5083406460       4/9/2012        7:02:18
32648      5083407090       3/16/2012       16:08:21
32649      5083440197       3/15/2012       7:07:44
32650      5083443235       9/19/2011       19:25:35
32651      5083445259       11/17/2011      16:02:23
32652      5083447133       11/3/2011       17:34:50
32653      5083450798       10/21/2011      12:58:30
32654      5083458416       3/10/2012       8:22:45
32655      5083531074       10/4/2011       13:04:52
32656      5083604227       10/17/2011      8:19:47
32657      5083609376       10/12/2011      11:56:05
32658      5083645661       3/16/2012       15:49:07
32659      5083645661       6/5/2012        19:51:56
32660      5083646357       12/23/2011      14:41:27
32661      5083658816       3/24/2012       9:49:38
32662      5083658816       3/28/2012       16:44:29
32663      5083673008       1/19/2012       18:34:33
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32664      5083674764       3/15/2011       11:14:05
32665      5083677666       9/6/2012        12:27:39
32666      5083690607       3/20/2012       9:21:26
32667      5083695012       9/29/2011       15:29:44
32668      5083699531       10/8/2011       9:09:31
32669      5083734018       3/7/2012        7:11:56
32670      5083734462       9/10/2011       8:02:37
32671      5083734858       5/3/2012        7:06:03
32672      5083772856       4/19/2012       14:48:59
32673      5083806581       9/16/2011       13:32:52
32674      5083806581       10/14/2011      13:30:13
32675      5083806581       11/9/2011       8:50:11
32676      5083806581       4/18/2012       8:11:41
32677      5083865520       8/3/2012        16:26:30
32678      5083956995       5/21/2012       8:46:43
32679      5083956995       6/21/2012       10:08:26
32680      5083956995       9/15/2012       8:01:28
32681      5083978243       10/5/2011       14:25:39
32682      5084001509       5/15/2012       7:58:22
32683      5084101241       1/10/2012       17:37:30
32684      5084101359       10/8/2011       10:30:51
32685      5084105013       2/8/2012        7:35:01
32686      5084106443       9/20/2011       17:05:21
32687      5084106487       10/19/2012      9:43:14
32688      5084108001       7/2/2012        14:55:07
32689      5084108464       11/15/2011      16:11:06
32690      5084130101       1/4/2012        11:11:52
32691      5084141416       1/11/2012       7:31:53
32692      5084144040       6/5/2012        19:50:41
32693      5084259675       11/10/2011      7:01:49
32694      5084283980       5/12/2012       10:24:59
32695      5084313474       3/15/2012       7:08:31
32696      5084363229       10/10/2011      12:10:37
32697      5084363338       1/27/2012       7:12:05
32698      5084418753       12/16/2013      13:34:20
32699      5084461396       3/12/2012       16:52:42
32700      5084463361       12/2/2011       7:35:19
32701      5084689701       10/16/2012      7:22:19
32702      5084930424       12/12/2011      12:16:00
32703      5084960080       1/25/2012       9:10:32
32704      5084963896       1/14/2012       8:11:31
32705      5084965219       3/15/2012       7:15:50
32706      5084965219       5/21/2012       7:26:04
32707      5084965760       10/7/2011       7:14:03
32708      5084967473       10/12/2011      7:54:13
32709      5084984772       10/20/2011      15:57:52
32710      5085090199       11/21/2011      7:09:38
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32711      5085091877       12/15/2011      8:25:52
32712      5085101454       10/6/2011       17:13:41
32713      5085107331       9/15/2012       8:01:24
32714      5085174357       9/20/2012       7:06:19
32715      5085213500       6/9/2012        14:50:28
32716      5085214771       10/18/2011      16:40:07
32717      5085251575       10/13/2011      7:18:41
32718      5085253248       12/28/2011      7:01:20
32719      5085257477       9/29/2012       9:52:49
32720      5085423840       1/24/2012       17:11:02
32721      5085425305       3/28/2012       16:44:16
32722      5085427505       10/13/2011      7:06:49
32723      5085588763       9/30/2011       9:50:59
32724      5085601035       9/25/2012       15:00:36
32725      5085620887       3/28/2012       18:08:39
32726      5085665609       10/5/2011       14:26:49
32727      5085669563       1/25/2012       9:10:45
32728      5085672696       7/9/2012        7:01:43
32729      5085672986       8/2/2012        11:33:14
32730      5085678539       3/27/2012       14:59:07
32731      5085740515       10/3/2012       19:46:22
32732      5085771235       12/3/2011       9:34:06
32733      5085774974       10/8/2011       10:29:11
32734      5085774974       10/12/2011      12:07:49
32735      5085795399       4/12/2012       18:01:33
32736      5085795706       10/22/2011      12:53:16
32737      5085796135       12/21/2011      10:03:41
32738      5085796763       7/2/2012        14:59:45
32739      5085798312       11/17/2011      13:34:16
32740      5085961576       10/18/2011      16:37:04
32741      5086126637       4/15/2012       15:14:32
32742      5086129290       9/15/2011       7:13:26
32743      5086129618       3/15/2012       18:52:23
32744      5086145505       10/9/2012       11:42:26
32745      5086151565       11/30/2011      14:42:53
32746      5086151745       12/21/2011      10:02:53
32747      5086156576       10/19/2011      7:44:48
32748      5086156655       10/6/2012       8:24:42
32749      5086157021       9/27/2011       18:03:45
32750      5086157537       2/15/2012       8:07:28
32751      5086159646       10/5/2012       18:21:06
32752      5086170371       1/4/2012        15:01:00
32753      5086171406       11/14/2011      16:02:55
32754      5086173424       5/29/2012       7:02:16
32755      5086173582       5/19/2012       9:21:11
32756      5086173813       9/20/2011       17:05:40
32757      5086176226       2/1/2012        8:01:28
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32758      5086176636       10/6/2011       16:02:43
32759      5086177073       12/5/2011       18:05:57
32760      5086177108       10/10/2012      19:09:42
32761      5086418579       10/12/2011      7:54:06
32762      5086427005       10/3/2011       7:27:59
32763      5086427383       3/22/2012       14:18:33
32764      5086486035       10/19/2011      7:21:41
32765      5086636034       6/29/2012       17:43:21
32766      5086760504       11/2/2011       7:01:34
32767      5086840006       5/21/2012       7:06:43
32768      5086840006       5/21/2012       7:32:16
32769      5086840006       6/27/2012       17:49:33
32770      5086850175       4/12/2012       17:54:40
32771      5086854547       4/25/2012       9:33:58
32772      5086855530       11/18/2011      13:30:58
32773      5086858131       10/18/2011      12:43:43
32774      5086858138       5/17/2012       16:31:41
32775      5086884701       10/10/2011      12:14:54
32776      5086887331       10/23/2012      15:51:49
32777      5086887920       12/29/2011      10:53:34
32778      5086898081       9/13/2011       17:42:24
32779      5087149333       10/11/2011      15:50:56
32780      5087149888       9/14/2011       10:46:16
32781      5087149888       2/17/2012       9:20:36
32782      5087172599       6/5/2012        19:50:31
32783      5087187055       1/11/2012       7:24:18
32784      5087188253       3/6/2012        12:31:39
32785      5087264291       10/8/2011       10:29:09
32786      5087280603       2/24/2011       14:00:00
32787      5087284596       4/9/2012        18:10:55
32788      5087334117       3/14/2012       19:26:28
32789      5087337026       11/18/2011      13:17:18
32790      5087352476       10/15/2011      9:10:12
32791      5087356406       5/26/2012       8:28:20
32792      5087358652       11/4/2011       7:13:34
32793      5087361935       8/27/2011       10:56:59
32794      5087363187       1/21/2012       8:01:47
32795      5087365800       4/5/2012        15:50:29
32796      5087367304       12/23/2011      7:14:40
32797      5087367826       3/19/2012       7:04:10
32798      5087400695       10/15/2011      9:13:46
32799      5087404043       3/29/2012       17:15:29
32800      5087470939       7/12/2012       19:49:51
32801      5087575515       10/5/2012       12:22:10
32802      5087622602       9/21/2011       11:22:00
32803      5087627901       9/27/2012       16:29:56
32804      5087628856       9/23/2011       18:57:47
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32805      5087638673       10/20/2012      8:01:19
32806      5087698783       9/21/2011       11:43:44
32807      5087833714       11/1/2011       8:15:57
32808      5087894459       1/27/2012       7:27:47
32809      5087894459       2/17/2012       9:20:42
32810      5087895179       8/1/2012        8:24:48
32811      5088012284       10/10/2012      12:41:50
32812      5088023597       10/14/2011      13:06:08
32813      5088023597       11/12/2011      9:07:57
32814      5088085106       7/14/2012       7:59:38
32815      5088134507       11/7/2011       8:32:39
32816      5088134507       11/25/2011      18:16:23
32817      5088137058       9/8/2012        11:03:03
32818      5088163111       2/6/2012        7:22:02
32819      5088163111       5/11/2012       12:08:08
32820      5088166305       10/31/2011      7:16:33
32821      5088188052       3/21/2012       13:40:12
32822      5088231647       11/30/2011      7:01:32
32823      5088253322       12/23/2011      14:41:38
32824      5088267869       10/28/2011      13:55:14
32825      5088374880       11/5/2011       10:43:19
32826      5088375581       5/18/2012       11:51:06
32827      5088380010       7/14/2011       16:00:35
32828      5088384161       11/17/2011      15:02:40
32829      5088384491       10/17/2012      18:34:36
32830      5088387975       12/31/2011      11:41:32
32831      5088388944       4/27/2012       7:39:42
32832      5088400801       2/18/2012       8:36:27
32833      5088400902       8/17/2011       19:05:27
32834      5088400902       9/21/2011       19:28:04
32835      5088401185       10/3/2012       19:46:26
32836      5088404948       10/24/2012      14:40:48
32837      5088406236       1/6/2012        7:09:16
32838      5088437441       1/12/2012       7:16:46
32839      5088474829       11/23/2011      9:34:42
32840      5088474829       12/26/2011      9:12:43
32841      5088474829       5/21/2012       7:01:18
32842      5088588279       6/18/2012       15:06:21
32843      5088588279       9/22/2012       9:23:56
32844      5088636125       12/10/2011      14:32:44
32845      5088642813       11/12/2011      9:47:25
32846      5088649347       9/6/2012        12:19:25
32847      5088683946       3/28/2012       7:16:19
32848      5088688437       10/11/2011      15:41:26
32849      5088736124       10/5/2011       13:57:49
32850      5088736146       3/1/2012        8:31:28
32851      5088736678       7/13/2012       18:31:42
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32852      5088881134       9/14/2011       9:34:49
32853      5088881134       10/5/2011       13:58:28
32854      5088894738       1/5/2012        14:02:41
32855      5089224372       4/19/2012       7:23:10
32856      5089330304       4/26/2012       8:07:32
32857      5089330304       8/3/2012        16:27:47
32858      5089330667       2/2/2012        7:05:48
32859      5089332494       11/16/2011      8:35:40
32860      5089332494       1/27/2012       7:19:16
32861      5089334263       10/7/2011       7:01:38
32862      5089422786       7/9/2012        19:10:00
32863      5089448997       12/1/2011       7:49:17
32864      5089516124       9/21/2011       19:32:43
32865      5089631276       12/24/2011      7:02:31
32866      5089636139       1/4/2012        11:00:43
32867      5089636940       3/29/2012       16:36:09
32868      5089637969       3/5/2012        13:10:26
32869      5089653896       4/11/2012       19:28:35
32870      5089658772       10/19/2011      7:22:01
32871      5089716993       7/26/2011       7:08:27
32872      5089811952       12/28/2011      7:21:39
32873      5089812691       10/16/2012      7:22:12
32874      5089819705       9/19/2011       7:18:51
32875      5092051591       12/24/2011      11:31:29
32876      5092059667       3/1/2012        21:39:59
32877      5092094718       10/18/2011      13:06:45
32878      5092150479       10/15/2011      11:04:32
32879      5092166441       6/5/2012        18:01:10
32880      5092166444       1/16/2012       12:05:17
32881      5092167149       10/23/2012      10:43:41
32882      5092168984       5/26/2012       14:42:29
32883      5092171704       8/9/2011        13:53:25
32884      5092172999       12/17/2011      12:18:06
32885      5092173428       10/4/2011       13:26:30
32886      5092173428       2/28/2012       16:21:02
32887      5092173818       7/24/2012       20:34:07
32888      5092175747       2/21/2012       20:55:59
32889      5092179218       9/26/2011       13:21:46
32890      5092180263       8/23/2012       21:08:03
32891      5092181319       11/6/2013       10:27:33
32892      5092182415       9/1/2012        11:48:53
32893      5092185508       7/5/2012        10:42:17
32894      5092185891       9/28/2011       11:31:54
32895      5092202469       6/25/2011       15:46:18
32896      5092220282       6/22/2012       21:01:42
32897      5092224317       8/29/2012       20:20:13
32898      5092250243       5/14/2012       10:12:36
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32899      5092304617       3/15/2012       14:16:44
32900      5092306735       5/11/2012       12:38:36
32901      5092308071       4/6/2012        15:59:27
32902      5092309031       9/22/2011       15:25:56
32903      5092309031       5/21/2012       8:13:57
32904      5092370657       6/29/2012       17:52:20
32905      5092503295       2/14/2012       13:35:46
32906      5092511832       6/20/2011       14:24:02
32907      5092543667       9/29/2011       15:58:49
32908      5092610030       10/20/2011      15:55:39
32909      5092611758       12/1/2011       10:34:42
32910      5092645846       6/25/2012       13:51:29
32911      5092700003       11/21/2011      11:01:18
32912      5092809118       9/27/2012       16:31:49
32913      5092942579       10/4/2011       13:26:36
32914      5092942789       3/29/2012       16:35:03
32915      5093010394       3/15/2012       14:16:21
32916      5093015593       3/1/2012        17:33:06
32917      5093025472       10/6/2011       17:04:58
32918      5093027335       12/21/2011      10:22:59
32919      5093051323       9/29/2012       10:09:24
32920      5093059117       11/18/2011      13:09:23
32921      5093071618       8/29/2012       11:16:48
32922      5093071618       9/19/2012       21:28:08
32923      5093071743       2/14/2012       16:52:58
32924      5093079078       7/25/2012       20:43:06
32925      5093082660       5/17/2012       12:10:02
32926      5093087653       6/30/2012       11:08:15
32927      5093088396       7/11/2012       15:57:36
32928      5093221570       8/10/2012       10:27:39
32929      5093449192       9/28/2012       16:45:42
32930      5093449920       8/7/2012        17:57:44
32931      5093500323       5/11/2012       14:40:14
32932      5093613047       3/1/2012        17:33:23
32933      5093618101       5/7/2012        8:16:02
32934      5093619117       5/10/2012       15:05:37
32935      5093621127       1/10/2012       21:33:13
32936      5093622767       9/25/2012       14:58:48
32937      5093626858       9/19/2012       16:26:27
32938      5093627594       5/28/2012       10:47:22
32939      5093627594       6/4/2012        21:06:47
32940      5093627706       5/29/2012       14:29:56
32941      5093628112       3/17/2012       11:40:02
32942      5093664212       6/22/2012       21:02:06
32943      5093666530       9/14/2011       10:25:26
32944      5093701515       2/1/2012        13:36:28
32945      5093747910       10/6/2011       17:57:27
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32946      5093782713       4/28/2012       10:24:18
32947      5093787327       5/6/2011        16:06:23
32948      5093808870       7/17/2012       21:55:06
32949      5093856375       10/20/2012      10:39:09
32950      5093856966       6/26/2012       16:17:09
32951      5093871795       7/27/2012       21:14:32
32952      5093881931       4/20/2012       13:57:03
32953      5093892979       2/10/2012       20:36:14
32954      5093893232       3/16/2012       16:04:59
32955      5093896467       6/20/2012       11:06:06
32956      5093915737       4/27/2012       21:09:14
32957      5093921844       12/23/2011      15:20:57
32958      5093930529       12/29/2011      19:39:07
32959      5093968546       10/6/2011       17:01:16
32960      5093983626       9/15/2011       10:45:03
32961      5093984857       1/13/2012       12:44:36
32962      5093986307       2/3/2012        14:41:22
32963      5094065094       3/27/2012       10:38:54
32964      5094289198       7/3/2012        19:32:58
32965      5094291690       2/2/2012        21:53:47
32966      5094292387       6/28/2012       17:42:41
32967      5094298338       6/29/2012       10:54:55
32968      5094318208       9/29/2011       16:00:15
32969      5094325691       7/2/2012        15:27:14
32970      5094338135       3/26/2011       11:13:04
32971      5094353113       6/25/2012       21:52:47
32972      5094357959       9/24/2011       10:09:26
32973      5094380138       12/10/2011      12:21:25
32974      5094382315       7/3/2012        12:23:09
32975      5094387709       2/11/2012       11:45:26
32976      5094439400       6/9/2012        11:03:26
32977      5094649948       9/26/2012       13:06:36
32978      5094805201       9/7/2012        15:45:31
32979      5094870037       11/5/2011       10:28:32
32980      5094942933       11/18/2011      13:12:51
32981      5094949841       8/6/2012        14:32:32
32982      5094949841       8/21/2012       13:58:06
32983      5094992381       5/24/2012       12:19:26
32984      5094994847       1/16/2012       12:10:06
32985      5095201715       9/7/2012        15:45:32
32986      5095215773       7/29/2011       20:28:15
32987      5095316110       2/29/2012       18:01:41
32988      5095391836       3/26/2011       12:44:27
32989      5095407246       2/15/2012       11:16:52
32990      5095529840       5/9/2012        16:08:54
32991      5095923738       2/17/2012       18:14:18
32992      5095923738       2/29/2012       17:27:55
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32993      5095947996       12/5/2011       10:02:12
32994      5095949328       4/26/2012       21:20:13
32995      5095995861       7/18/2012       18:33:21
32996      5095997185       1/6/2012        14:54:18
32997      5096290953       11/3/2011       17:33:15
32998      5096310635       6/13/2012       10:26:10
32999      5096540994       5/29/2012       10:52:28
33000      5096543624       12/23/2011      16:06:11
33001      5096702326       1/17/2012       13:30:53
33002      5096702326       1/24/2012       17:24:51
33003      5096704211       12/29/2011      19:43:27
33004      5096705099       9/24/2011       10:02:14
33005      5096711232       7/14/2012       10:08:28
33006      5096711824       7/26/2012       11:57:50
33007      5096717566       8/23/2012       11:51:54
33008      5096717566       9/7/2012        15:40:59
33009      5096806305       7/7/2012        10:32:56
33010      5096814383       8/11/2011       12:20:36
33011      5096883990       3/23/2012       14:51:08
33012      5096908544       12/16/2011      15:53:47
33013      5097072260       3/21/2012       18:41:02
33014      5097134675       2/9/2012        20:47:35
33015      5097136302       7/24/2012       14:37:53
33016      5097273289       2/2/2012        11:38:50
33017      5097287463       3/7/2012        10:08:37
33018      5097603066       12/20/2011      19:39:59
33019      5097609101       11/25/2011      18:34:02
33020      5097651112       10/5/2012       18:35:44
33021      5097681871       6/25/2012       13:57:21
33022      5097684483       3/20/2012       20:00:09
33023      5097685666       4/21/2012       16:47:43
33024      5097701282       10/16/2012      16:29:13
33025      5097707132       10/3/2011       10:35:39
33026      5097711905       3/8/2012        15:35:32
33027      5097711965       8/11/2011       10:32:28
33028      5097712900       8/1/2012        10:59:05
33029      5097781655       5/12/2012       14:09:45
33030      5097801475       4/26/2011       20:29:41
33031      5097801731       6/18/2012       15:29:55
33032      5097934695       10/13/2011      10:31:28
33033      5097934823       12/7/2011       14:22:36
33034      5097934823       5/26/2012       14:41:58
33035      5097936716       10/28/2011      13:46:49
33036      5097973360       9/27/2011       18:52:18
33037      5097973360       10/10/2011      12:04:54
33038      5098233412       8/6/2011        11:21:58
33039      5098310087       10/11/2011      16:35:24
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33040      5098314353       6/5/2012        18:01:11
33041      5098314603       5/7/2012        21:44:53
33042      5098315836       12/3/2011       10:02:10
33043      5098339518       10/3/2011       10:42:15
33044      5098451723       12/16/2011      15:52:40
33045      5098455051       12/5/2011       10:12:41
33046      5098456259       10/17/2011      10:48:11
33047      5098463381       5/6/2012        20:25:57
33048      5098464029       7/30/2012       15:52:13
33049      5098464152       3/15/2012       14:02:39
33050      5098479977       6/7/2012        12:48:32
33051      5098553150       12/20/2011      20:50:13
33052      5098556095       2/17/2014       14:10:43
33053      5098592952       10/20/2012      10:39:12
33054      5098635068       11/3/2011       17:29:45
33055      5098683520       6/5/2012        18:01:06
33056      5098683810       12/10/2011      13:55:13
33057      5098684870       1/10/2012       20:53:14
33058      5098697077       9/26/2012       15:30:39
33059      5098767395       4/4/2012        19:10:00
33060      5098767679       4/11/2012       13:18:29
33061      5098792140       10/11/2011      17:39:42
33062      5098792140       11/4/2011       10:23:29
33063      5098810456       8/6/2012        16:33:40
33064      5098853040       2/24/2012       20:59:04
33065      5098854703       10/5/2011       14:49:49
33066      5098995172       5/1/2012        8:14:13
33067      5098995819       3/2/2012        18:52:51
33068      5099011735       4/5/2012        21:48:07
33069      5099104246       7/18/2011       10:15:23
33070      5099107515       6/18/2012       10:45:11
33071      5099301309       3/15/2012       14:05:22
33072      5099302168       12/1/2011       10:34:44
33073      5099303240       12/29/2011      19:08:58
33074      5099307664       8/25/2012       10:59:43
33075      5099363475       1/13/2012       17:45:20
33076      5099396325       10/3/2012       19:50:00
33077      5099418800       6/27/2012       17:54:15
33078      5099445569       1/25/2012       20:27:23
33079      5099456955       10/16/2012      20:34:27
33080      5099510625       7/23/2012       13:32:15
33081      5099523620       12/20/2011      15:06:56
33082      5099528751       8/30/2012       17:32:00
33083      5099535107       5/22/2012       12:01:40
33084      5099535107       5/29/2012       10:59:45
33085      5099615300       6/21/2012       18:57:32
33086      5099690164       2/24/2012       21:48:46
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33087      5099817519       10/6/2011       17:05:44
33088      5099851093       11/29/2011      15:14:08
33089      5099851593       7/11/2012       17:17:19
33090      5099852433       9/6/2012        21:14:07
33091      5099857420       7/26/2012       12:20:45
33092      5099870006       10/7/2011       10:28:51
33093      5099891494       2/10/2012       10:35:18
33094      5099906724       10/5/2011       14:37:10
33095      5099945852       3/31/2012       22:32:29
33096      5099947103       10/4/2011       14:01:21
33097      5099955677       10/20/2011      16:39:16
33098      5099984628       10/21/2011      12:56:52
33099      5102002636       2/20/2012       16:58:55
33100      5102004611       1/25/2012       18:22:49
33101      5102006095       9/4/2012        21:50:55
33102      5102006987       2/17/2012       18:13:55
33103      5102061185       11/23/2011      14:45:58
33104      5102077815       9/19/2011       19:37:50
33105      5102092644       5/24/2012       11:57:52
33106      5102093585       11/9/2011       10:40:26
33107      5102099936       4/26/2012       21:21:04
33108      5102130391       5/30/2012       16:51:01
33109      5102135434       1/20/2012       11:36:01
33110      5102197746       11/11/2011      13:29:34
33111      5102198722       10/17/2012      12:50:11
33112      5102201532       7/5/2012        15:36:35
33113      5102205111       3/23/2012       19:42:47
33114      5102211197       6/20/2012       16:59:39
33115      5102211938       6/29/2012       17:46:52
33116      5102232993       5/17/2012       16:43:55
33117      5102240006       9/19/2011       19:22:45
33118      5102240291       11/10/2011      20:11:37
33119      5102274637       10/13/2011      10:38:58
33120      5102285829       11/27/2011      15:35:53
33121      5102286816       7/22/2011       13:58:33
33122      5102287191       9/30/2011       10:09:31
33123      5102287191       11/28/2011      18:13:12
33124      5102287836       11/7/2011       11:12:56
33125      5102287836       11/16/2011      11:37:33
33126      5102287954       5/10/2012       14:52:39
33127      5102288111       5/20/2011       18:20:23
33128      5102289815       10/25/2012      19:41:45
33129      5102290282       10/20/2012      16:34:35
33130      5102290325       12/8/2011       21:10:32
33131      5102308635       2/1/2012        13:37:45
33132      5102402619       10/18/2012      16:38:51
33133      5102489318       11/16/2011      20:09:15
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33134      5102533184       4/25/2012       18:42:34
33135      5102533481       10/22/2011      13:22:01
33136      5102534826       12/10/2011      16:11:26
33137      5102536066       12/16/2011      15:53:50
33138      5102536066       2/16/2012       12:06:21
33139      5102537099       9/27/2012       16:29:36
33140      5102537624       3/20/2012       20:02:06
33141      5102538437       3/1/2012        21:54:58
33142      5102539602       10/22/2011      13:19:10
33143      5102581148       1/4/2012        11:35:47
33144      5102584509       7/30/2012       13:43:01
33145      5102585051       2/21/2012       21:26:54
33146      5102587868       9/12/2011       13:33:15
33147      5102601165       11/8/2011       14:04:34
33148      5102601219       4/11/2012       11:39:28
33149      5102607090       3/21/2011       11:48:08
33150      5102662527       10/8/2011       10:18:52
33151      5102743094       6/23/2012       16:31:38
33152      5102776501       6/23/2012       16:32:16
33153      5102804330       9/18/2012       21:28:53
33154      5102826898       1/13/2012       12:44:34
33155      5102827583       9/14/2011       19:44:01
33156      5102829901       10/19/2011      12:07:22
33157      5102833472       11/21/2011      10:44:34
33158      5102876449       1/23/2012       10:18:00
33159      5102894200       10/26/2011      13:34:07
33160      5102895776       9/29/2011       15:25:47
33161      5102898507       12/20/2011      19:27:42
33162      5102901313       12/1/2011       15:10:29
33163      5102902973       3/14/2011       17:30:22
33164      5102907542       5/11/2012       10:43:45
33165      5102907987       5/27/2011       17:25:53
33166      5102908667       9/13/2011       13:41:13
33167      5102920167       10/15/2012      16:15:13
33168      5102920464       1/26/2012       10:05:32
33169      5103025537       9/14/2011       10:35:20
33170      5103025823       3/13/2012       18:58:08
33171      5103028324       7/17/2012       12:26:28
33172      5103029318       6/6/2012        21:17:25
33173      5103031904       11/7/2011       11:16:08
33174      5103035345       7/10/2012       12:00:11
33175      5103035345       8/27/2012       15:02:13
33176      5103036087       10/27/2011      16:59:34
33177      5103036136       10/20/2011      20:58:48
33178      5103037501       1/20/2012       11:56:01
33179      5103059856       9/22/2011       15:33:57
33180      5103063384       10/10/2011      12:08:17
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33181      5103138633       3/25/2012       12:16:59
33182      5103143152       11/15/2011      15:54:48
33183      5103146148       4/20/2012       14:11:15
33184      5103255418       10/7/2011       10:41:13
33185      5103263270       9/13/2011       18:22:32
33186      5103293020       8/17/2012       10:08:03
33187      5103293931       5/24/2012       12:32:11
33188      5103315398       10/3/2012       20:08:23
33189      5103319749       12/6/2011       13:42:08
33190      5103323974       6/15/2012       16:39:12
33191      5103325576       10/10/2011      13:10:58
33192      5103330901       2/11/2012       11:26:19
33193      5103345235       1/27/2012       17:50:28
33194      5103348380       5/1/2012        17:49:21
33195      5103348380       10/1/2012       21:37:11
33196      5103349956       6/7/2012        18:37:10
33197      5103385704       9/20/2012       14:43:10
33198      5103388348       1/3/2012        11:08:55
33199      5103552228       10/17/2011      10:55:26
33200      5103556328       8/20/2012       21:31:59
33201      5103556519       5/24/2012       11:58:55
33202      5103634138       2/29/2012       17:37:55
33203      5103664797       12/26/2011      10:25:41
33204      5103670401       4/11/2012       11:31:46
33205      5103671980       10/18/2012      14:39:22
33206      5103675391       5/11/2012       10:40:42
33207      5103675435       10/10/2011      13:03:08
33208      5103726427       2/11/2012       15:20:02
33209      5103727051       11/8/2011       14:47:10
33210      5103742311       11/29/2011      15:18:55
33211      5103742668       5/15/2012       11:15:45
33212      5103751774       7/23/2012       15:35:49
33213      5103757060       10/6/2011       17:07:47
33214      5103781942       11/9/2011       10:23:25
33215      5103781942       11/26/2011      12:11:55
33216      5103854140       12/6/2011       13:50:44
33217      5103860202       4/4/2012        14:09:37
33218      5103861707       12/30/2011      20:57:33
33219      5103867142       5/2/2012        21:05:52
33220      5103867165       10/31/2011      7:20:30
33221      5103877859       4/22/2012       15:46:23
33222      5103878047       6/18/2011       15:43:07
33223      5103887800       10/12/2011      11:55:39
33224      5103902308       9/23/2011       19:05:47
33225      5103933347       5/23/2012       15:24:37
33226      5103950725       5/23/2012       16:32:49
33227      5103951849       12/23/2011      16:13:14
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33228      5103952843       10/25/2012      19:40:39
33229      5103953188       12/27/2011      14:41:18
33230      5103955359       11/18/2011      13:15:23
33231      5103956158       9/19/2011       19:20:45
33232      5103957208       7/9/2012        19:18:35
33233      5103957958       1/31/2012       10:27:20
33234      5104017931       5/30/2012       10:13:20
33235      5104029331       1/2/2012        10:06:52
33236      5104029331       1/18/2012       10:02:17
33237      5104073972       1/25/2012       20:28:07
33238      5104074771       9/19/2011       14:48:57
33239      5104078181       2/28/2012       13:08:22
33240      5104078181       6/11/2012       17:40:12
33241      5104098944       11/12/2011      10:51:34
33242      5104099898       1/3/2012        20:59:12
33243      5104158456       5/22/2012       12:00:57
33244      5104177930       11/15/2011      20:17:21
33245      5104180581       3/16/2012       10:31:04
33246      5104180983       8/9/2012        21:58:01
33247      5104182141       3/15/2012       13:56:12
33248      5104186439       6/27/2011       18:36:13
33249      5104219542       6/25/2012       21:50:35
33250      5104324855       5/4/2012        21:01:05
33251      5104326059       10/5/2011       14:49:43
33252      5104326059       10/10/2011      12:06:15
33253      5104328837       3/18/2011       12:01:53
33254      5104356535       2/7/2012        8:09:33
33255      5104359594       11/10/2011      14:25:29
33256      5104370126       4/11/2012       11:37:27
33257      5104398257       1/17/2012       13:32:21
33258      5104497573       1/9/2012        18:28:14
33259      5104568414       11/22/2011      18:59:59
33260      5104591051       7/6/2012        14:44:10
33261      5104592506       12/23/2011      16:06:11
33262      5104598963       5/10/2011       19:47:38
33263      5104613840       10/11/2011      16:36:19
33264      5104615146       10/4/2011       13:58:18
33265      5104674829       9/19/2011       19:19:58
33266      5104675975       9/23/2011       18:50:54
33267      5104676023       5/26/2012       14:43:35
33268      5104676391       1/8/2012        16:44:19
33269      5104676699       5/1/2012        17:31:10
33270      5104677726       7/10/2012       11:56:31
33271      5104693300       9/19/2011       14:57:02
33272      5104720266       6/14/2012       21:31:54
33273      5104721721       3/12/2012       19:13:18
33274      5104721721       7/31/2012       21:04:43
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33275      5104722471       7/2/2012        17:26:25
33276      5104723631       6/27/2012       18:00:20
33277      5104724229       1/9/2012        10:32:20
33278      5104726072       5/2/2012        13:51:56
33279      5104782654       10/21/2011      14:52:17
33280      5104783153       9/23/2011       11:54:06
33281      5104783282       11/25/2011      18:03:21
33282      5104784210       6/25/2012       13:13:37
33283      5104786548       3/17/2012       11:36:31
33284      5104786604       9/20/2011       20:51:02
33285      5104787310       9/14/2011       15:44:35
33286      5104787310       9/28/2011       14:35:20
33287      5104787310       11/18/2011      13:37:40
33288      5104851989       12/7/2011       15:21:44
33289      5104852370       10/18/2012      16:37:36
33290      5104853567       5/17/2011       10:30:09
33291      5104854029       11/22/2011      19:44:20
33292      5104854029       2/11/2012       15:18:50
33293      5104854205       4/10/2012       16:16:39
33294      5104854352       12/18/2011      17:08:35
33295      5104854393       9/24/2011       10:03:06
33296      5104856321       5/23/2012       16:32:43
33297      5104856325       7/25/2012       12:09:30
33298      5104858492       8/9/2011        13:56:58
33299      5104858887       11/18/2011      13:12:41
33300      5104915859       1/11/2012       10:55:17
33301      5104917600       10/22/2012      10:31:46
33302      5104990071       9/8/2011        19:54:57
33303      5104993905       3/19/2012       12:07:10
33304      5104995877       3/7/2012        18:45:53
33305      5104999070       8/7/2012        18:02:45
33306      5105011114       1/14/2012       11:01:00
33307      5105027450       2/16/2012       11:28:44
33308      5105082847       10/1/2011       11:01:27
33309      5105083203       2/21/2012       9:47:18
33310      5105086709       9/28/2012       16:59:59
33311      5105125518       12/21/2011      19:52:29
33312      5105202838       4/3/2012        20:17:31
33313      5105411746       11/16/2011      20:04:34
33314      5105521358       3/16/2012       10:10:25
33315      5105521358       5/23/2012       16:32:31
33316      5105521912       11/25/2011      18:03:29
33317      5105526718       3/15/2012       19:20:32
33318      5105590044       1/12/2012       14:10:05
33319      5105639561       3/27/2012       10:38:30
33320      5105654740       7/30/2012       18:50:13
33321      5105669947       3/1/2012        17:34:39
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33322      5105751685       10/14/2011      13:02:40
33323      5105752715       3/31/2012       22:34:11
33324      5105754073       5/3/2012        21:18:20
33325      5105754548       10/25/2011      16:40:32
33326      5105757285       4/30/2012       15:02:48
33327      5105757792       8/1/2012        20:12:01
33328      5105846894       4/11/2012       11:38:25
33329      5105861669       5/24/2012       11:58:10
33330      5105861669       6/4/2012        10:01:41
33331      5105863585       1/17/2012       18:36:57
33332      5105865529       6/22/2012       20:55:31
33333      5105865743       5/11/2012       10:43:12
33334      5105867852       6/5/2012        19:49:59
33335      5105867852       7/31/2012       15:44:54
33336      5105890815       5/9/2012        21:41:41
33337      5105908241       12/12/2011      16:25:57
33338      5105931614       7/16/2012       14:28:41
33339      5105934459       4/12/2012       18:00:26
33340      5105995577       9/7/2012        15:55:27
33341      5105999310       8/11/2012       12:31:12
33342      5106045540       9/6/2012        12:35:50
33343      5106045560       7/23/2012       15:23:31
33344      5106045653       9/24/2011       9:37:58
33345      5106047235       9/9/2011        18:34:24
33346      5106214298       1/10/2012       15:38:41
33347      5106667810       8/2/2012        18:52:16
33348      5106720509       4/4/2012        14:11:37
33349      5106726144       12/10/2011      14:06:24
33350      5106726782       3/2/2012        19:05:21
33351      5106728707       6/27/2012       17:54:28
33352      5106736777       2/4/2012        13:22:34
33353      5106760025       4/19/2012       14:49:34
33354      5106777448       11/21/2011      10:41:47
33355      5106777788       7/9/2012        10:56:57
33356      5106779009       2/2/2012        21:00:23
33357      5106779014       11/18/2011      13:08:53
33358      5106847209       1/27/2012       21:55:32
33359      5106851442       10/4/2011       13:30:28
33360      5106853431       3/2/2012        18:52:04
33361      5106857698       5/25/2011       18:04:34
33362      5106883586       10/9/2012       20:02:26
33363      5106884445       4/9/2012        18:22:15
33364      5106885373       12/28/2011      20:46:38
33365      5106893947       10/6/2011       17:09:22
33366      5106894105       9/15/2011       10:45:08
33367      5106896179       7/21/2012       10:15:36
33368      5106899050       10/11/2011      17:47:12
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33369      5106899500       5/4/2012        15:28:08
33370      5106903040       4/3/2012        15:18:42
33371      5106904978       11/14/2011      17:50:20
33372      5106910010       3/11/2011       16:58:45
33373      5106922036       3/30/2012       16:10:44
33374      5106923511       10/1/2012       21:36:53
33375      5106926320       7/24/2012       14:49:12
33376      5106953179       9/27/2012       16:18:31
33377      5106954645       11/12/2011      10:53:36
33378      5106958910       12/21/2013      14:15:23
33379      5106959280       8/8/2012        16:15:07
33380      5107030737       9/8/2011        19:13:06
33381      5107060741       9/19/2011       14:42:14
33382      5107060881       9/20/2011       20:41:18
33383      5107065577       9/21/2011       12:04:11
33384      5107066571       10/20/2011      16:35:50
33385      5107066697       1/18/2012       10:02:28
33386      5107067400       2/1/2012        13:36:27
33387      5107068626       3/31/2012       22:37:41
33388      5107069952       9/19/2012       16:26:47
33389      5107081802       5/28/2012       10:42:36
33390      5107081802       6/26/2012       21:17:29
33391      5107099714       3/6/2012        10:26:18
33392      5107125536       3/14/2012       20:04:23
33393      5107125536       5/26/2012       14:44:17
33394      5107127395       11/21/2011      10:57:25
33395      5107128134       4/9/2012        17:55:57
33396      5107128296       1/9/2012        10:29:14
33397      5107128947       4/13/2012       13:44:22
33398      5107140041       12/1/2011       21:41:55
33399      5107146121       1/6/2012        13:01:18
33400      5107146121       1/17/2012       18:37:07
33401      5107150981       11/28/2011      18:20:29
33402      5107156930       11/15/2011      20:11:45
33403      5107170709       7/23/2012       13:31:43
33404      5107171515       3/14/2012       14:16:59
33405      5107171942       1/13/2012       17:40:46
33406      5107179123       6/25/2012       13:30:17
33407      5107191823       3/26/2012       18:32:56
33408      5107191827       9/26/2011       13:19:50
33409      5107318047       9/12/2011       13:33:56
33410      5107318633       8/29/2012       11:17:54
33411      5107347310       9/9/2011        18:34:50
33412      5107357081       10/12/2011      11:41:59
33413      5107504887       5/31/2012       15:01:44
33414      5107507588       4/5/2012        18:28:40
33415      5107556206       2/9/2012        14:32:46
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33416      5107601219       9/20/2011       20:41:04
33417      5107727062       10/27/2011      17:05:26
33418      5107730128       5/16/2012       20:32:01
33419      5107762303       6/4/2012        10:03:16
33420      5107762352       10/20/2011      20:57:18
33421      5107762637       1/6/2012        13:12:22
33422      5107763033       4/25/2012       21:24:33
33423      5107763511       1/20/2012       20:30:56
33424      5107764849       4/10/2012       16:06:36
33425      5107765984       3/12/2012       19:34:26
33426      5107767067       4/29/2012       17:54:42
33427      5107767244       10/8/2012       20:09:02
33428      5107768088       1/8/2012        16:48:16
33429      5107769007       11/21/2013      13:05:59
33430      5107769041       10/12/2011      11:51:33
33431      5107769177       4/11/2012       13:18:38
33432      5107895791       5/29/2012       17:08:10
33433      5107984610       1/30/2012       10:16:40
33434      5107987727       1/6/2012        15:07:59
33435      5107987913       8/22/2012       21:45:16
33436      5108150931       2/3/2012        20:13:27
33437      5108150979       2/17/2012       18:25:35
33438      5108151193       4/23/2012       13:12:30
33439      5108152888       1/11/2012       16:32:14
33440      5108155597       4/19/2012       20:18:55
33441      5108166960       10/7/2011       10:14:49
33442      5108253588       3/14/2012       14:16:44
33443      5108257173       12/21/2011      19:58:00
33444      5108257264       12/27/2011      14:41:24
33445      5108270404       9/8/2011        19:57:07
33446      5108270909       5/3/2012        21:17:07
33447      5108275085       8/11/2012       12:31:13
33448      5108275140       10/25/2012      12:18:10
33449      5108276798       8/9/2012        14:05:34
33450      5108279090       9/19/2011       19:21:43
33451      5108279336       4/11/2012       11:37:35
33452      5108279542       9/15/2011       10:50:41
33453      5108281316       10/22/2011      12:48:35
33454      5108284883       8/11/2012       12:29:54
33455      5108306695       1/23/2012       10:12:08
33456      5108307161       10/21/2011      13:45:10
33457      5108308075       6/28/2012       14:24:37
33458      5108308310       3/21/2012       18:38:15
33459      5108308422       4/30/2012       15:05:37
33460      5108309634       11/17/2011      16:36:37
33461      5108309976       6/27/2012       12:08:54
33462      5108375560       3/19/2012       12:07:07
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33463      5108463513       1/26/2012       10:34:18
33464      5108469190       7/18/2012       18:37:32
33465      5108476298       5/21/2012       18:01:52
33466      5108476298       6/9/2012        15:39:41
33467      5108476298       10/11/2012      18:53:23
33468      5108568781       3/5/2012        11:05:11
33469      5108572228       6/7/2012        21:23:31
33470      5108595803       8/16/2012       9:27:12
33471      5108601180       1/6/2012        15:07:40
33472      5108602809       2/10/2012       10:37:32
33473      5108603172       4/11/2012       13:14:31
33474      5108603977       7/20/2012       15:00:00
33475      5108605146       9/20/2011       20:49:55
33476      5108605796       5/21/2011       11:15:42
33477      5108607629       10/25/2011      16:40:48
33478      5108609449       2/21/2012       16:19:25
33479      5108609463       9/8/2011        18:20:36
33480      5108615073       10/8/2011       12:23:08
33481      5108617484       10/26/2011      13:28:08
33482      5108617575       5/23/2011       16:23:17
33483      5108625210       7/30/2012       13:43:05
33484      5108675699       1/27/2012       18:09:41
33485      5108753158       8/24/2012       21:04:19
33486      5108755371       1/11/2012       10:55:44
33487      5108788745       12/28/2011      20:50:20
33488      5108988255       4/4/2012        14:05:18
33489      5109042994       4/16/2012       10:13:48
33490      5109048288       9/28/2012       17:00:36
33491      5109048305       4/21/2012       16:49:49
33492      5109048651       2/24/2011       12:04:34
33493      5109090445       9/27/2011       18:59:03
33494      5109090445       11/7/2011       18:59:01
33495      5109095594       9/22/2011       15:32:27
33496      5109105677       1/17/2012       13:35:46
33497      5109148963       5/16/2012       20:32:09
33498      5109152101       9/19/2011       19:22:26
33499      5109153173       12/7/2011       17:48:17
33500      5109198129       9/21/2011       12:05:46
33501      5109217873       1/14/2014       16:30:31
33502      5109218666       4/18/2011       20:00:21
33503      5109219299       7/12/2012       13:10:50
33504      5109275454       9/3/2012        15:00:13
33505      5109275931       1/3/2012        19:53:01
33506      5109277843       8/23/2011       19:30:58
33507      5109321202       10/1/2011       10:10:05
33508      5109326580       7/22/2012       15:55:15
33509      5109326921       3/16/2012       9:54:22
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33510      5109329377       10/8/2012       20:10:13
33511      5109329718       9/19/2011       19:36:09
33512      5109387707       12/6/2011       13:18:55
33513      5109389548       11/12/2011      11:05:23
33514      5109437394       2/24/2012       20:58:36
33515      5109439907       9/24/2011       10:04:49
33516      5109621892       2/29/2012       18:01:53
33517      5109653303       2/28/2012       16:20:49
33518      5109674899       1/20/2012       11:35:39
33519      5109676549       11/19/2011      10:34:37
33520      5109780302       10/29/2011      12:01:08
33521      5109780861       1/16/2012       17:37:50
33522      5109780959       9/19/2011       19:36:10
33523      5109785381       7/31/2012       15:45:27
33524      5109785381       8/30/2012       17:43:35
33525      5109786706       2/24/2012       20:53:06
33526      5109876200       3/19/2012       19:07:58
33527      5109929031       12/20/2011      17:20:10
33528      5122030722       1/11/2012       8:52:50
33529      5122034947       2/6/2012        17:17:35
33530      5122151152       5/4/2012        15:01:35
33531      5122160514       11/23/2011      9:42:41
33532      5122160514       8/6/2012        13:12:49
33533      5122161170       3/19/2012       19:19:22
33534      5122161170       3/29/2012       16:44:31
33535      5122161678       5/15/2012       8:44:48
33536      5122163355       5/1/2012        17:29:41
33537      5122167820       2/1/2012        18:36:32
33538      5122169101       5/17/2011       9:44:13
33539      5122170000       2/28/2012       13:41:47
33540      5122172262       10/12/2011      8:20:33
33541      5122274659       5/2/2012        13:51:40
33542      5122275503       10/8/2011       11:50:38
33543      5122280761       12/1/2011       15:04:46
33544      5122289526       12/5/2011       18:38:35
33545      5122338049       2/11/2012       11:21:16
33546      5122471052       2/10/2012       9:21:32
33547      5122628195       2/17/2012       18:21:08
33548      5122693769       12/24/2011      8:06:29
33549      5122696158       4/1/2012        16:05:33
33550      5122696952       9/14/2011       12:21:01
33551      5122698190       10/5/2012       18:26:07
33552      5122764316       4/3/2012        18:12:56
33553      5122816347       11/25/2011      17:44:42
33554      5122816347       3/28/2012       18:30:09
33555      5122840243       12/21/2011      10:18:31
33556      5122840753       5/14/2012       8:13:57
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33557      5122841463       1/6/2012        12:54:58
33558      5122842903       10/24/2011      8:13:10
33559      5122843431       6/18/2012       9:17:39
33560      5122845846       9/8/2011        18:57:46
33561      5122892509       11/15/2011      15:46:41
33562      5122931198       6/27/2012       12:15:10
33563      5122931202       7/14/2011       16:43:25
33564      5122931203       6/13/2011       8:28:59
33565      5122931877       8/13/2011       12:04:16
33566      5122932079       1/19/2012       17:55:31
33567      5122934809       3/23/2012       14:53:15
33568      5122940407       9/1/2011        8:27:16
33569      5122946655       5/3/2012        8:08:22
33570      5122974773       12/5/2011       9:32:56
33571      5122974773       5/21/2012       8:01:23
33572      5122976054       4/10/2012       11:58:32
33573      5122976054       5/21/2012       8:17:52
33574      5122976160       11/10/2011      8:11:50
33575      5122976657       8/21/2012       14:01:54
33576      5122994445       7/27/2011       17:29:24
33577      5122997570       4/20/2012       20:58:18
33578      5123082664       9/15/2011       9:12:33
33579      5123172704       12/27/2011      14:19:27
33580      5123178294       6/12/2012       17:18:58
33581      5123178416       11/7/2011       9:25:00
33582      5123178416       12/19/2011      18:52:02
33583      5123181683       7/26/2012       19:20:54
33584      5123503012       8/29/2012       11:13:08
33585      5123503227       10/10/2011      11:56:59
33586      5123503227       10/24/2011      8:16:46
33587      5123505174       5/11/2012       10:41:41
33588      5123505798       7/8/2012        13:33:06
33589      5123510039       7/25/2012       20:39:31
33590      5123512177       9/29/2011       15:53:40
33591      5123545323       12/16/2011      16:18:50
33592      5123639200       8/20/2012       10:08:46
33593      5123639200       8/25/2012       8:36:20
33594      5123639504       1/20/2012       11:33:52
33595      5123639784       8/30/2012       9:50:23
33596      5123660684       12/31/2011      12:15:07
33597      5123670382       11/22/2011      19:05:36
33598      5123670637       11/28/2011      12:10:37
33599      5123670637       1/20/2012       11:31:42
33600      5123670743       12/3/2011       10:19:34
33601      5123670791       1/30/2012       8:04:55
33602      5123670923       1/8/2012        13:12:45
33603      5123679404       2/1/2012        18:39:30
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33604      5123680275       9/19/2011       8:08:29
33605      5123692156       8/23/2011       18:05:47
33606      5123692333       5/7/2011        15:16:29
33607      5124024844       12/23/2011      20:44:51
33608      5124064697       11/17/2011      14:32:11
33609      5124069505       3/6/2012        20:24:23
33610      5124154846       11/4/2011       9:16:09
33611      5124181800       1/6/2012        12:25:27
33612      5124223577       9/19/2012       16:23:01
33613      5124238219       4/9/2012        18:14:01
33614      5124261438       12/7/2011       15:19:48
33615      5124294513       3/7/2012        9:34:00
33616      5124313582       2/13/2012       8:11:44
33617      5124315689       1/13/2012       12:29:50
33618      5124357149       6/25/2012       13:45:08
33619      5124359948       12/27/2011      14:35:11
33620      5124361164       9/13/2012       15:16:51
33621      5124364271       5/20/2012       15:41:49
33622      5124364271       5/21/2012       17:45:07
33623      5124364730       12/9/2011       8:33:51
33624      5124366469       4/28/2012       8:35:56
33625      5124503674       9/17/2012       8:32:33
33626      5124503674       10/3/2012       19:48:18
33627      5124611711       6/10/2011       8:21:37
33628      5124612736       10/10/2011      11:57:14
33629      5124614748       2/3/2012        20:02:24
33630      5124617493       9/14/2011       19:38:41
33631      5124664856       10/21/2011      13:21:44
33632      5124665131       3/22/2012       8:01:32
33633      5124665131       4/12/2012       12:32:15
33634      5124667561       3/12/2012       10:59:40
33635      5124683217       9/23/2011       19:02:04
33636      5124707441       4/21/2012       16:27:02
33637      5124842213       10/20/2012      16:23:02
33638      5124844469       6/22/2012       20:55:14
33639      5124847360       1/18/2012       16:41:47
33640      5124925404       12/11/2011      12:24:06
33641      5124961027       4/21/2012       8:30:43
33642      5124966915       9/21/2012       18:41:39
33643      5124967292       7/12/2012       20:00:22
33644      5124979299       9/20/2011       18:15:35
33645      5124979299       9/29/2011       15:19:46
33646      5124979299       11/11/2011      13:42:49
33647      5125010761       3/17/2012       8:35:41
33648      5125019004       10/21/2011      12:45:02
33649      5125073096       9/22/2012       9:43:27
33650      5125073825       9/11/2012       15:12:56
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                                    #:12568

33651      5125083115       12/9/2011       13:15:46
33652      5125083475       2/28/2012       15:54:16
33653      5125083582       9/10/2011       9:16:39
33654      5125085301       9/8/2011        19:33:25
33655      5125085688       8/9/2012        14:12:25
33656      5125086411       5/11/2012       18:26:44
33657      5125171891       10/11/2011      17:18:45
33658      5125255523       5/15/2012       8:42:38
33659      5125256634       6/13/2012       8:12:56
33660      5125383337       6/6/2012        14:38:36
33661      5125389329       5/13/2011       11:41:15
33662      5125389729       10/1/2011       10:43:05
33663      5125400337       2/3/2012        8:33:32
33664      5125415527       6/11/2012       8:11:41
33665      5125520669       11/26/2011      13:37:09
33666      5125520735       4/21/2012       16:39:48
33667      5125522730       10/12/2011      8:01:20
33668      5125528092       3/8/2012        20:25:30
33669      5125528654       9/13/2011       17:18:10
33670      5125541483       12/23/2011      14:18:02
33671      5125546710       2/18/2012       9:09:41
33672      5125572965       9/30/2011       10:22:30
33673      5125573138       2/17/2012       9:35:53
33674      5125573308       11/2/2011       14:01:21
33675      5125577620       6/11/2012       18:16:38
33676      5125578152       5/13/2012       17:33:59
33677      5125605464       9/19/2011       19:33:40
33678      5125632687       7/12/2012       19:59:01
33679      5125637048       6/10/2012       14:36:08
33680      5125654145       9/24/2011       10:06:56
33681      5125657135       11/30/2011      14:58:19
33682      5125672054       6/18/2012       15:12:30
33683      5125678069       9/8/2011        19:52:38
33684      5125693893       3/15/2012       18:58:10
33685      5125733722       10/21/2011      12:41:57
33686      5125770194       11/23/2011      14:57:56
33687      5125770738       3/10/2012       8:56:38
33688      5125774133       9/1/2011        8:20:09
33689      5125775368       10/4/2011       13:18:33
33690      5125775793       10/11/2012      18:48:00
33691      5125778781       9/10/2011       9:07:10
33692      5125779366       4/29/2011       20:24:10
33693      5125779366       12/7/2011       18:13:30
33694      5125797811       9/26/2011       9:48:05
33695      5125818691       2/24/2011       14:21:54
33696      5125818935       3/6/2012        16:04:01
33697      5125845799       10/5/2011       14:42:04
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                                    #:12569

33698      5125851095       9/12/2011       14:25:20
33699      5125852470       9/22/2011       15:18:53
33700      5125852470       5/21/2012       8:13:53
33701      5125852644       4/20/2012       14:43:16
33702      5125861132       8/2/2011        17:09:22
33703      5125861549       10/20/2011      16:35:54
33704      5125864656       12/15/2011      8:40:03
33705      5125864722       3/8/2012        20:39:47
33706      5125866473       5/28/2012       8:59:08
33707      5125866596       12/12/2011      16:22:40
33708      5125873749       10/8/2011       11:45:09
33709      5125891788       4/19/2012       15:18:42
33710      5125892819       9/12/2012       15:01:30
33711      5125905896       2/11/2012       11:19:12
33712      5125909875       3/28/2012       18:24:35
33713      5125915474       11/8/2011       13:54:25
33714      5125915921       3/14/2012       19:56:58
33715      5126085464       10/12/2011      8:14:54
33716      5126181484       4/4/2012        19:06:32
33717      5126193112       9/19/2011       8:18:00
33718      5126199836       8/25/2012       11:16:50
33719      5126263273       7/27/2011       17:28:34
33720      5126272706       7/2/2012        17:31:07
33721      5126276592       9/4/2012        15:44:16
33722      5126290775       8/3/2012        16:32:03
33723      5126292930       11/21/2011      8:41:05
33724      5126298671       6/12/2012       17:06:25
33725      5126299512       9/16/2011       13:00:41
33726      5126304887       7/13/2012       13:58:00
33727      5126305392       7/19/2012       17:32:03
33728      5126306654       10/12/2011      12:13:20
33729      5126308244       11/28/2011      11:25:56
33730      5126320609       1/30/2012       8:10:12
33731      5126327663       5/17/2011       9:35:13
33732      5126347864       11/11/2011      20:07:27
33733      5126347950       3/13/2012       12:43:38
33734      5126352752       11/15/2011      16:32:18
33735      5126356268       3/25/2012       12:09:38
33736      5126362049       11/18/2011      13:24:44
33737      5126362526       3/15/2012       13:57:55
33738      5126364711       1/30/2012       8:10:42
33739      5126364711       3/8/2012        20:32:14
33740      5126367664       10/5/2011       14:39:15
33741      5126386409       3/15/2012       14:00:57
33742      5126397150       3/30/2011       10:50:52
33743      5126399319       10/1/2011       9:25:06
33744      5126441550       1/13/2012       12:25:44
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33745      5126442711       6/8/2012        8:07:40
33746      5126444450       1/16/2012       17:32:26
33747      5126444646       11/18/2011      13:04:29
33748      5126447224       5/21/2012       17:52:52
33749      5126449098       2/11/2012       10:49:52
33750      5126509760       7/26/2012       12:16:43
33751      5126532040       7/26/2012       11:57:08
33752      5126535718       10/12/2011      12:17:10
33753      5126535718       12/2/2011       8:30:58
33754      5126560407       8/3/2011        12:27:20
33755      5126563224       8/2/2012        11:38:16
33756      5126563224       8/18/2012       9:04:04
33757      5126566093       7/30/2011       8:30:28
33758      5126566093       9/12/2011       13:23:35
33759      5126568340       11/7/2011       8:07:24
33760      5126568340       11/21/2011      8:05:00
33761      5126569588       5/11/2012       18:10:44
33762      5126590810       11/14/2011      14:56:43
33763      5126591942       10/7/2011       8:07:31
33764      5126598413       3/27/2012       15:50:31
33765      5126604198       12/26/2011      20:25:16
33766      5126616281       4/26/2011       20:11:58
33767      5126624435       9/13/2011       17:59:36
33768      5126624491       3/6/2012        20:23:26
33769      5126626894       5/21/2011       10:51:41
33770      5126628025       12/19/2011      8:20:03
33771      5126629014       6/19/2012       15:43:27
33772      5126651920       12/29/2011      10:04:25
33773      5126654215       12/28/2011      13:35:10
33774      5126654630       10/15/2011      9:35:38
33775      5126655712       5/7/2014        12:50:19
33776      5126656565       9/15/2012       8:08:17
33777      5126656735       1/27/2012       18:07:37
33778      5126658281       7/21/2012       10:28:23
33779      5126692334       6/30/2012       15:56:50
33780      5126698748       12/30/2011      8:35:36
33781      5126736846       8/28/2012       11:54:38
33782      5126800094       6/4/2012        21:06:35
33783      5126802318       9/24/2011       9:25:41
33784      5126804638       3/19/2012       19:27:45
33785      5126806723       11/15/2011      20:09:57
33786      5126897465       12/23/2011      14:55:34
33787      5126903333       1/27/2012       18:01:46
33788      5126953916       8/8/2012        16:12:31
33789      5126961286       9/8/2011        19:03:20
33790      5126962746       12/17/2011      11:38:38
33791      5126963070       12/27/2011      14:22:01
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33792      5126965543       12/7/2011       15:17:42
33793      5126968365       8/8/2011        15:29:40
33794      5126969172       9/27/2011       18:14:29
33795      5126985993       10/11/2011      17:20:05
33796      5126987601       7/18/2012       8:33:24
33797      5126990083       3/12/2012       16:52:49
33798      5126995110       9/19/2011       8:08:56
33799      5127011865       1/7/2012        9:20:16
33800      5127011865       6/21/2012       10:05:07
33801      5127013739       1/31/2012       10:00:52
33802      5127013739       6/18/2012       15:11:52
33803      5127015411       12/31/2011      11:49:59
33804      5127017642       10/25/2011      16:21:56
33805      5127017642       11/17/2011      16:28:31
33806      5127017813       10/12/2011      11:36:38
33807      5127018232       4/1/2012        17:06:42
33808      5127045219       7/13/2012       14:02:15
33809      5127052731       11/17/2011      14:13:44
33810      5127056658       5/17/2012       16:53:53
33811      5127093926       10/11/2012      11:53:25
33812      5127096152       9/11/2012       15:15:19
33813      5127120379       10/3/2012       8:03:09
33814      5127120634       11/25/2011      17:47:45
33815      5127122717       9/19/2011       19:13:41
33816      5127122885       10/8/2011       11:28:23
33817      5127165738       7/18/2012       18:32:06
33818      5127182839       12/7/2011       13:52:06
33819      5127184811       9/9/2011        17:58:14
33820      5127187665       10/24/2012      14:56:47
33821      5127189454       3/2/2012        9:38:18
33822      5127313510       9/23/2011       19:00:26
33823      5127315148       8/8/2012        7:05:14
33824      5127315995       10/25/2012      12:28:17
33825      5127341190       9/10/2012       8:43:23
33826      5127360468       2/9/2012        9:30:28
33827      5127364866       8/18/2012       8:42:14
33828      5127365096       11/18/2011      12:54:09
33829      5127367285       1/23/2012       8:35:36
33830      5127367797       5/3/2012        8:09:02
33831      5127368208       5/22/2012       18:40:38
33832      5127380819       10/15/2011      9:38:14
33833      5127392004       12/2/2011       8:27:47
33834      5127401423       6/25/2012       13:27:00
33835      5127403045       9/10/2011       9:08:02
33836      5127407878       9/20/2012       8:43:49
33837      5127432153       10/10/2012      12:37:45
33838      5127434007       12/23/2011      14:07:05
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33839      5127436205       4/28/2012       8:12:10
33840      5127459897       1/26/2012       9:58:04
33841      5127459897       2/6/2012        17:20:53
33842      5127486516       10/13/2011      8:31:11
33843      5127492604       9/13/2011       18:13:23
33844      5127508688       9/26/2011       9:38:57
33845      5127515936       1/11/2012       8:59:21
33846      5127517251       6/18/2012       15:14:01
33847      5127551004       6/20/2011       14:17:30
33848      5127551608       8/7/2012        17:55:14
33849      5127552097       11/11/2013      10:01:21
33850      5127573231       10/20/2012      8:07:04
33851      5127576104       1/10/2012       15:33:19
33852      5127580368       1/13/2012       17:40:03
33853      5127589461       10/6/2011       17:47:17
33854      5127589487       9/13/2011       16:16:49
33855      5127589656       5/21/2012       8:19:07
33856      5127621578       12/20/2011      17:25:19
33857      5127621680       11/8/2011       13:57:14
33858      5127670115       5/19/2012       9:30:48
33859      5127679750       10/13/2011      8:35:44
33860      5127692607       1/22/2012       12:16:54
33861      5127694990       2/6/2012        10:09:06
33862      5127696880       10/6/2012       8:32:25
33863      5127716096       4/12/2012       18:25:26
33864      5127716264       7/9/2012        19:14:56
33865      5127735233       11/7/2011       9:35:23
33866      5127738020       9/14/2011       10:02:08
33867      5127738647       11/30/2011      8:02:36
33868      5127750193       7/14/2011       8:22:59
33869      5127753656       9/21/2011       11:30:51
33870      5127754393       7/11/2012       17:24:23
33871      5127755865       7/13/2012       18:27:13
33872      5127778047       9/21/2012       18:51:48
33873      5127792791       7/30/2011       8:54:49
33874      5127797250       1/30/2012       8:15:45
33875      5127798876       12/6/2011       14:47:13
33876      5127840294       9/1/2011        8:21:43
33877      5127843797       4/4/2012        18:48:41
33878      5127849600       11/17/2011      14:38:50
33879      5127849600       1/8/2012        13:14:20
33880      5127851264       12/10/2011      13:44:17
33881      5127854022       12/23/2011      14:26:18
33882      5127856632       1/3/2012        19:50:50
33883      5127859065       12/6/2011       12:53:45
33884      5127861692       11/23/2011      10:30:02
33885      5127861882       4/19/2012       14:33:35
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33886      5127862383       11/15/2011      15:42:17
33887      5127862383       11/28/2011      12:17:06
33888      5127864810       10/2/2012       8:38:39
33889      5127868263       10/28/2011      14:15:54
33890      5127878479       3/2/2012        9:23:24
33891      5127878754       6/18/2012       15:25:20
33892      5127882024       4/20/2012       13:47:23
33893      5127888190       9/7/2012        15:52:12
33894      5127888966       7/5/2012        10:43:25
33895      5127890459       5/25/2012       17:02:41
33896      5127896471       5/6/2011        16:09:07
33897      5127896707       4/19/2012       20:20:37
33898      5127898129       12/31/2011      11:49:34
33899      5127912591       9/28/2012       9:07:15
33900      5127915429       8/13/2012       20:53:18
33901      5127975989       10/14/2011      12:59:07
33902      5127998729       5/22/2012       18:29:37
33903      5128003601       3/19/2012       11:51:12
33904      5128012538       9/5/2012        15:25:42
33905      5128012538       9/28/2012       16:37:37
33906      5128014793       9/27/2011       18:11:51
33907      5128015958       12/6/2011       13:33:17
33908      5128030857       2/2/2012        18:52:16
33909      5128033585       11/2/2011       13:58:56
33910      5128033617       3/13/2012       12:48:53
33911      5128037393       5/11/2012       18:12:43
33912      5128048648       10/12/2011      8:08:20
33913      5128096970       10/20/2011      16:18:39
33914      5128101519       6/7/2012        18:23:24
33915      5128104282       3/16/2012       10:06:07
33916      5128104371       5/22/2012       18:31:21
33917      5128180868       4/9/2011        13:37:41
33918      5128181655       11/28/2011      12:07:32
33919      5128189252       1/19/2012       8:19:28
33920      5128189252       5/17/2012       16:40:39
33921      5128203489       1/7/2012        9:55:13
33922      5128203489       1/16/2012       20:20:10
33923      5128206804       7/15/2011       17:38:41
33924      5128208179       10/22/2011      13:09:51
33925      5128250914       3/7/2012        18:55:03
33926      5128254531       7/27/2011       17:37:20
33927      5128257380       8/1/2012        8:30:31
33928      5128258789       8/11/2011       10:11:33
33929      5128446022       4/1/2012        17:22:26
33930      5128449430       9/3/2012        14:34:24
33931      5128451521       8/4/2011        8:02:05
33932      5128456776       11/16/2011      8:11:38
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33933      5128483707       6/15/2012       16:52:01
33934      5128485313       12/5/2011       8:48:06
33935      5128487689       9/27/2012       16:36:27
33936      5128501317       5/23/2012       14:47:31
33937      5128502191       9/5/2012        15:24:26
33938      5128513074       7/17/2012       12:29:33
33939      5128517515       8/11/2012       9:41:53
33940      5128699377       5/8/2012        12:32:58
33941      5128707887       7/27/2011       17:35:31
33942      5129020666       10/5/2012       18:16:21
33943      5129022615       2/3/2012        20:19:20
33944      5129022615       4/9/2012        14:11:41
33945      5129023486       3/19/2012       19:18:20
33946      5129023772       3/21/2012       8:09:54
33947      5129023863       9/24/2012       18:53:52
33948      5129024144       4/26/2011       20:41:40
33949      5129025767       12/18/2011      17:05:19
33950      5129025767       12/26/2011      20:01:32
33951      5129025767       5/4/2012        20:58:36
33952      5129025965       12/29/2011      19:04:55
33953      5129026204       9/19/2011       19:31:48
33954      5129026371       4/24/2012       11:57:58
33955      5129028141       1/17/2012       9:36:53
33956      5129028321       1/4/2012        11:06:49
33957      5129028321       5/21/2012       8:01:41
33958      5129032306       7/18/2011       11:02:58
33959      5129033287       10/17/2011      8:03:41
33960      5129034488       3/8/2012        20:28:50
33961      5129034488       3/28/2012       18:13:59
33962      5129039218       4/13/2012       20:45:26
33963      5129055737       10/9/2012       11:43:32
33964      5129065751       9/15/2011       8:50:56
33965      5129068205       11/12/2011      10:27:35
33966      5129069336       7/9/2012        8:54:27
33967      5129092544       7/13/2012       18:36:26
33968      5129093358       6/23/2012       16:25:44
33969      5129132075       5/10/2012       14:48:32
33970      5129142029       10/15/2011      9:41:21
33971      5129144465       1/25/2012       9:39:03
33972      5129170344       5/1/2012        17:40:32
33973      5129196004       1/16/2012       17:33:10
33974      5129199267       8/30/2012       17:42:00
33975      5129213417       10/15/2011      10:37:55
33976      5129213910       3/1/2012        8:51:28
33977      5129219461       12/7/2011       14:12:10
33978      5129219461       5/26/2012       14:22:56
33979      5129223511       12/7/2011       14:53:27
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33980      5129224084       9/13/2011       17:18:42
33981      5129233166       2/11/2012       11:12:55
33982      5129243446       12/24/2011      8:04:40
33983      5129247215       3/6/2012        16:02:10
33984      5129249487       2/9/2012        9:35:38
33985      5129250972       10/8/2011       11:39:57
33986      5129252601       11/12/2011      9:33:53
33987      5129254025       10/20/2011      15:39:00
33988      5129254195       2/10/2012       20:41:22
33989      5129258416       9/21/2012       15:28:22
33990      5129343067       12/29/2011      11:23:48
33991      5129393985       2/17/2012       18:11:40
33992      5129394973       1/23/2012       8:21:40
33993      5129397250       12/26/2011      9:03:47
33994      5129397250       2/9/2012        20:34:59
33995      5129398532       8/15/2012       12:24:08
33996      5129398583       9/19/2011       19:16:27
33997      5129409997       5/11/2011       17:00:03
33998      5129429659       4/19/2012       20:25:38
33999      5129442214       11/21/2011      8:23:33
34000      5129444786       4/15/2012       17:27:50
34001      5129445915       5/30/2012       9:19:54
34002      5129446516       7/19/2011       16:46:11
34003      5129447388       12/21/2011      19:48:35
34004      5129448354       9/14/2011       16:44:39
34005      5129451293       9/21/2011       11:52:42
34006      5129455253       1/17/2012       18:45:10
34007      5129475612       1/4/2012        11:08:50
34008      5129475999       4/23/2012       20:50:24
34009      5129485200       9/17/2011       9:47:21
34010      5129485202       11/1/2011       8:52:30
34011      5129485356       11/14/2011      17:06:44
34012      5129485484       8/6/2012        13:09:48
34013      5129490394       6/2/2011        11:22:07
34014      5129497339       1/13/2012       17:40:13
34015      5129497814       6/22/2012       21:00:49
34016      5129498547       1/27/2012       11:59:53
34017      5129610450       12/17/2011      11:32:49
34018      5129634261       12/18/2011      16:48:47
34019      5129637429       11/11/2011      20:06:17
34020      5129642449       9/8/2011        19:51:49
34021      5129651995       8/1/2011        19:41:28
34022      5129656846       1/31/2012       10:02:47
34023      5129667368       9/24/2011       9:22:26
34024      5129684776       8/11/2011       10:07:15
34025      5129684776       9/13/2011       17:53:50
34026      5129705212       10/22/2011      12:35:53
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34027      5129706159       5/5/2012        8:39:11
34028      5129706724       10/14/2011      12:52:48
34029      5129711786       4/21/2012       16:53:06
34030      5129711987       10/27/2011      16:07:20
34031      5129715211       5/5/2012        8:11:15
34032      5129819254       8/9/2011        13:48:41
34033      5129925059       12/21/2011      19:51:28
34034      5129990773       3/15/2012       18:57:01
34035      5132002906       3/29/2012       12:02:26
34036      5132008247       2/10/2012       7:08:11
34037      5132031970       10/18/2011      12:11:33
34038      5132035848       11/16/2011      8:40:38
34039      5132035996       3/23/2012       10:52:05
34040      5132057775       11/23/2011      9:21:19
34041      5132064420       3/17/2012       8:44:25
34042      5132064479       1/14/2012       13:26:35
34043      5132065999       10/4/2011       13:38:51
34044      5132074514       10/11/2011      15:44:14
34045      5132074514       11/19/2011      8:42:36
34046      5132089108       5/1/2012        8:05:02
34047      5132121402       9/12/2012       7:49:26
34048      5132133769       8/30/2012       7:06:34
34049      5132135851       12/29/2011      18:24:53
34050      5132138723       1/10/2012       18:07:28
34051      5132139668       10/23/2012      16:13:03
34052      5132139732       1/8/2012        13:03:00
34053      5132187402       4/9/2012        7:01:56
34054      5132255181       11/5/2011       11:08:54
34055      5132255234       5/21/2012       7:44:14
34056      5132260037       9/19/2011       7:23:36
34057      5132261485       12/27/2011      14:16:54
34058      5132271264       3/16/2012       10:15:49
34059      5132277015       10/10/2011      12:23:07
34060      5132277339       11/14/2011      14:16:05
34061      5132277339       11/29/2011      15:26:56
34062      5132338503       3/26/2012       18:22:05
34063      5132364981       10/21/2011      13:14:30
34064      5132372581       9/29/2011       15:29:30
34065      5132373247       1/24/2012       10:33:10
34066      5132375076       2/19/2012       19:19:15
34067      5132375594       1/2/2012        12:11:23
34068      5132377078       9/17/2011       9:18:18
34069      5132381000       8/7/2012        19:41:21
34070      5132403604       11/26/2011      12:36:37
34071      5132404861       10/11/2011      15:48:27
34072      5132406009       3/20/2012       9:27:19
34073      5132408180       12/24/2011      7:08:26
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34074      5132521234       12/11/2011      12:19:49
34075      5132527646       10/10/2012      19:09:17
34076      5132533693       8/9/2012        13:59:28
34077      5132536137       2/15/2012       8:07:18
34078      5132536519       8/31/2011       9:51:30
34079      5132538850       8/24/2012       7:34:09
34080      5132538850       8/25/2012       8:26:20
34081      5132540247       9/26/2012       14:35:58
34082      5132542743       9/26/2011       8:15:15
34083      5132553850       5/27/2012       13:58:49
34084      5132554548       8/31/2012       16:40:05
34085      5132555845       4/21/2012       8:07:06
34086      5132571392       8/21/2012       13:49:09
34087      5132571437       7/16/2012       19:46:01
34088      5132588239       2/11/2012       10:40:45
34089      5132591680       10/5/2012       18:20:46
34090      5132603915       9/26/2011       8:09:32
34091      5132626202       2/6/2012        17:01:05
34092      5132627374       1/6/2012        11:17:58
34093      5132628040       5/30/2012       16:54:36
34094      5132645432       12/28/2011      7:26:58
34095      5132650885       1/12/2012       14:12:53
34096      5132660819       11/25/2011      17:31:36
34097      5132672093       9/23/2011       18:59:42
34098      5132762702       8/10/2011       7:08:47
34099      5132765946       12/30/2011      8:10:35
34100      5132767272       1/2/2012        7:24:49
34101      5132828203       3/28/2012       10:38:20
34102      5132828203       4/2/2012        7:11:08
34103      5132829744       9/29/2011       15:41:14
34104      5132834353       7/13/2012       18:31:07
34105      5132834353       7/23/2012       15:16:35
34106      5132847888       2/18/2012       8:36:46
34107      5132848621       12/10/2011      13:54:18
34108      5132890861       8/19/2011       11:56:54
34109      5132902399       3/11/2011       16:31:20
34110      5132903799       3/11/2014       13:34:09
34111      5132903838       8/15/2012       7:51:12
34112      5132903838       10/3/2012       19:54:28
34113      5132915051       2/17/2012       8:55:14
34114      5132951041       1/16/2012       17:11:02
34115      5132958448       12/10/2011      14:43:18
34116      5133008549       9/8/2011        17:51:53
34117      5133041833       10/5/2011       14:36:56
34118      5133048916       2/2/2012        16:30:22
34119      5133050116       7/23/2012       15:30:43
34120      5133051011       11/18/2011      12:52:54
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34121      5133070334       9/4/2012        16:05:29
34122      5133072998       9/14/2011       9:29:40
34123      5133078484       5/30/2012       16:51:35
34124      5133091733       11/28/2011      16:33:35
34125      5133098305       2/24/2012       17:21:08
34126      5133101136       5/11/2011       16:49:00
34127      5133101251       1/12/2012       7:14:11
34128      5133105745       11/18/2011      13:37:16
34129      5133121551       5/5/2011        13:14:06
34130      5133125436       3/24/2012       9:54:18
34131      5133135818       11/26/2011      11:37:25
34132      5133138708       9/27/2011       18:36:52
34133      5133147076       12/2/2011       7:33:47
34134      5133150675       10/4/2011       13:39:02
34135      5133150908       10/7/2011       7:21:23
34136      5133152500       9/20/2012       7:08:51
34137      5133154986       6/2/2012        12:41:17
34138      5133155541       3/26/2012       7:24:45
34139      5133160513       9/17/2011       9:14:46
34140      5133164887       10/5/2011       13:57:37
34141      5133178835       1/16/2012       17:10:49
34142      5133229244       2/17/2012       8:55:48
34143      5133250893       10/22/2012      7:03:12
34144      5133251678       3/17/2012       8:19:02
34145      5133252890       9/29/2011       15:39:15
34146      5133256655       11/1/2011       8:00:50
34147      5133288669       3/28/2012       18:20:30
34148      5133310974       10/27/2011      15:10:20
34149      5133311050       7/26/2011       10:27:34
34150      5133325491       9/16/2011       13:16:03
34151      5133352221       10/14/2011      13:16:27
34152      5133353299       12/18/2011      16:56:44
34153      5133353918       3/19/2012       19:16:00
34154      5133386364       2/21/2012       9:32:10
34155      5133442887       4/15/2012       16:36:58
34156      5133443273       2/20/2012       17:01:55
34157      5133443845       10/4/2011       13:49:01
34158      5133444707       3/20/2012       17:37:18
34159      5133448060       3/6/2012        16:00:41
34160      5133448405       10/26/2011      12:37:08
34161      5133491489       10/10/2011      12:22:42
34162      5133492677       7/12/2012       19:52:25
34163      5133494723       4/7/2012        9:29:01
34164      5133494749       7/30/2012       13:29:54
34165      5133496921       9/19/2011       7:30:32
34166      5133498466       11/3/2011       17:07:42
34167      5133620023       10/6/2012       8:45:20
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34168      5133629194       10/11/2011      16:58:31
34169      5133643170       1/13/2012       12:22:33
34170      5133646944       11/18/2011      13:23:17
34171      5133656106       10/3/2012       19:53:27
34172      5133712229       8/21/2012       13:56:07
34173      5133712429       9/14/2011       11:43:43
34174      5133713716       4/4/2012        7:06:00
34175      5133714272       3/6/2012        15:48:31
34176      5133714842       11/29/2011      16:15:10
34177      5133716402       10/28/2011      7:09:03
34178      5133716520       2/20/2012       17:05:15
34179      5133730521       10/18/2011      12:44:50
34180      5133730521       1/17/2012       18:39:14
34181      5133737072       1/3/2012        10:54:18
34182      5133744614       2/17/2012       18:17:24
34183      5133751174       5/19/2011       8:09:09
34184      5133755355       9/19/2011       19:06:05
34185      5133756911       3/6/2012        16:01:14
34186      5133762747       9/20/2011       16:35:28
34187      5133764198       4/15/2012       16:54:29
34188      5133764366       10/17/2012      18:33:08
34189      5133765300       10/23/2012      15:58:36
34190      5133781826       11/3/2011       17:41:02
34191      5133793650       10/7/2011       7:17:53
34192      5133799650       11/8/2011       14:13:27
34193      5133820552       11/28/2011      17:47:34
34194      5133821883       9/13/2011       15:24:57
34195      5133823407       6/18/2012       7:53:55
34196      5133827630       11/5/2011       9:50:10
34197      5133831586       11/4/2011       7:22:30
34198      5133831589       4/19/2012       15:00:51
34199      5133838198       9/12/2011       13:06:04
34200      5133864528       9/21/2011       11:41:41
34201      5133864656       11/21/2011      7:41:26
34202      5133902299       9/21/2011       19:43:01
34203      5133908399       10/7/2012       12:58:42
34204      5133930143       10/8/2011       10:29:44
34205      5133930436       11/3/2011       17:03:43
34206      5133931293       9/29/2012       9:46:47
34207      5133942818       2/7/2012        16:48:01
34208      5134039220       10/6/2011       17:32:50
34209      5134044538       11/17/2011      16:19:57
34210      5134054071       4/16/2012       7:07:28
34211      5134170170       10/8/2011       9:28:59
34212      5134170170       10/21/2011      13:11:47
34213      5134173033       9/2/2011        7:08:03
34214      5134177000       4/15/2012       16:24:31
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34215      5134187568       5/14/2012       15:14:42
34216      5134188469       5/15/2012       7:53:37
34217      5134221035       7/31/2012       7:10:10
34218      5134290038       10/5/2012       12:24:32
34219      5134290146       8/22/2012       11:16:18
34220      5134290443       5/2/2012        13:13:38
34221      5134321085       11/17/2011      14:05:11
34222      5134324282       6/23/2012       8:46:16
34223      5134328443       12/1/2011       7:59:23
34224      5134329008       1/17/2012       17:11:54
34225      5134350586       9/14/2011       19:28:10
34226      5134353418       5/6/2012        18:21:11
34227      5134394914       1/9/2012        18:28:27
34228      5134447266       2/10/2012       7:11:50
34229      5134532628       9/15/2011       7:53:42
34230      5134606224       1/6/2012        14:38:44
34231      5134641330       12/20/2011      9:28:24
34232      5134641330       3/14/2012       19:56:31
34233      5134650741       4/4/2012        18:41:29
34234      5134655452       3/7/2012        18:36:15
34235      5134702953       3/27/2012       15:32:38
34236      5134709349       6/25/2011       7:57:34
34237      5134735690       11/30/2011      7:22:30
34238      5134737179       8/8/2011        14:47:58
34239      5134764126       8/13/2011       11:31:56
34240      5134765324       6/26/2012       7:57:32
34241      5134777113       1/18/2012       16:40:18
34242      5134779642       10/17/2011      11:20:21
34243      5134780129       11/30/2011      15:13:05
34244      5134784165       9/24/2012       18:58:36
34245      5134785975       3/14/2012       19:28:43
34246      5134847128       8/8/2011        15:06:49
34247      5134852097       10/22/2011      13:05:21
34248      5134854535       12/9/2011       14:15:18
34249      5134856878       1/13/2012       17:25:13
34250      5134857662       11/4/2011       7:09:39
34251      5134858107       3/16/2012       15:58:59
34252      5134858139       12/18/2011      17:53:37
34253      5134858389       10/15/2011      9:10:04
34254      5134858740       10/24/2011      7:26:45
34255      5134859117       2/14/2012       9:52:38
34256      5134859117       3/1/2012        8:42:41
34257      5134883591       2/14/2012       13:09:13
34258      5134889965       11/28/2011      11:53:24
34259      5134889965       3/23/2012       11:01:38
34260      5134978117       10/5/2011       14:32:32
34261      5134981872       7/11/2012       17:20:29
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34262      5134986558       12/1/2011       8:16:55
34263      5134987690       3/27/2012       8:07:30
34264      5135021207       2/13/2012       7:26:18
34265      5135026413       9/9/2011        7:27:01
34266      5135027281       9/26/2012       14:40:25
34267      5135027374       3/23/2012       19:11:56
34268      5135027663       3/25/2012       11:45:36
34269      5135038011       10/5/2012       18:15:07
34270      5135042485       9/22/2012       8:58:08
34271      5135047441       3/14/2012       19:30:26
34272      5135054774       6/23/2012       16:23:36
34273      5135084734       1/2/2012        7:15:05
34274      5135092234       6/11/2012       17:55:38
34275      5135129071       9/28/2012       16:44:18
34276      5135152089       4/6/2012        16:02:51
34277      5135153411       1/6/2012        13:03:49
34278      5135154534       11/17/2011      14:12:37
34279      5135183017       1/13/2012       17:25:04
34280      5135185980       4/19/2012       14:57:08
34281      5135192063       12/9/2011       14:04:46
34282      5135193707       11/14/2011      16:53:55
34283      5135205829       5/30/2012       12:45:29
34284      5135208799       10/14/2011      12:39:44
34285      5135269142       10/10/2011      12:21:25
34286      5135323540       9/21/2011       19:32:53
34287      5135327679       3/6/2012        16:00:52
34288      5135350527       3/14/2012       19:27:56
34289      5135352015       10/11/2012      18:52:25
34290      5135440837       2/4/2012        8:19:34
34291      5135444971       10/25/2011      16:15:12
34292      5135449708       9/25/2012       14:49:59
34293      5135450244       10/10/2011      12:08:05
34294      5135452794       3/6/2012        12:35:16
34295      5135456363       4/3/2012        10:02:45
34296      5135456766       2/6/2012        17:08:00
34297      5135462593       8/3/2011        11:17:56
34298      5135463719       9/27/2012       16:26:50
34299      5135464844       10/15/2012      9:47:15
34300      5135465106       6/21/2012       18:19:12
34301      5135465106       7/9/2012        18:57:37
34302      5135465355       1/16/2012       17:20:22
34303      5135465355       6/16/2012       15:12:21
34304      5135465562       10/7/2012       12:45:14
34305      5135465782       9/10/2011       8:53:20
34306      5135466918       10/20/2011      16:08:43
34307      5135466918       12/9/2011       15:52:11
34308      5135504648       10/23/2012      10:48:16
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34309      5135513916       5/23/2012       14:43:03
34310      5135513916       6/5/2012        19:52:11
34311      5135518287       1/23/2012       7:01:42
34312      5135519136       12/23/2011      14:48:05
34313      5135519300       10/1/2011       10:23:40
34314      5135519300       10/8/2011       9:24:35
34315      5135604776       3/17/2012       8:49:55
34316      5135605317       9/30/2011       10:18:59
34317      5135687654       10/2/2012       7:34:00
34318      5135687988       3/14/2012       14:32:29
34319      5135692383       2/1/2012        8:07:26
34320      5135718046       5/4/2012        18:16:51
34321      5135940661       9/8/2012        11:05:54
34322      5135941997       10/18/2012      7:16:04
34323      5135945048       3/15/2012       18:52:57
34324      5135945743       7/16/2011       8:06:28
34325      5135948127       11/14/2011      16:42:03
34326      5136005305       10/1/2011       10:25:27
34327      5136005742       2/14/2012       15:21:40
34328      5136020587       11/2/2011       14:19:23
34329      5136020587       12/17/2011      11:34:23
34330      5136027341       1/7/2012        8:08:13
34331      5136028209       7/12/2012       15:50:58
34332      5136029301       9/19/2011       14:39:40
34333      5136030037       4/6/2012        15:53:46
34334      5136041269       10/11/2011      15:54:45
34335      5136045089       11/7/2011       7:40:10
34336      5136047467       1/11/2012       7:45:55
34337      5136048413       9/24/2011       9:11:25
34338      5136073064       8/3/2011        12:15:25
34339      5136145859       12/8/2011       12:31:21
34340      5136148419       12/20/2011      19:19:41
34341      5136148778       2/28/2012       15:58:21
34342      5136161764       11/2/2011       7:05:32
34343      5136161764       1/25/2012       9:29:06
34344      5136175011       11/18/2011      12:15:30
34345      5136230632       10/3/2011       10:39:56
34346      5136230632       11/28/2011      18:09:20
34347      5136231934       2/14/2012       9:51:50
34348      5136232686       10/4/2011       13:35:21
34349      5136282565       4/9/2011        13:27:58
34350      5136283294       9/27/2011       18:27:46
34351      5136283294       10/4/2011       13:09:43
34352      5136283382       12/17/2011      12:01:21
34353      5136283413       8/30/2012       17:36:46
34354      5136286347       1/12/2012       14:27:04
34355      5136288044       2/8/2014        8:27:40
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34356      5136336813       12/29/2011      18:54:03
34357      5136382568       5/10/2012       14:46:40
34358      5136490957       1/9/2012        7:17:55
34359      5136494773       5/4/2012        7:32:51
34360      5136521681       8/30/2012       17:44:51
34361      5136523370       6/28/2012       14:17:48
34362      5136525026       6/28/2012       14:13:22
34363      5136590033       10/20/2012      16:28:28
34364      5136592825       11/21/2011      7:23:26
34365      5136687149       11/16/2011      11:18:20
34366      5136757243       11/16/2011      10:53:01
34367      5136786147       4/25/2012       9:26:08
34368      5136788278       2/6/2012        7:27:50
34369      5136860099       1/30/2012       7:17:04
34370      5136860793       5/17/2012       12:05:13
34371      5136870129       11/18/2011      13:21:59
34372      5136871864       6/7/2012        7:05:50
34373      5136872732       10/29/2011      11:28:14
34374      5136877125       3/22/2012       14:13:26
34375      5136920229       9/10/2012       7:35:05
34376      5136920229       9/26/2012       14:31:32
34377      5136923637       5/11/2012       18:24:40
34378      5136926245       7/15/2011       17:06:19
34379      5136930553       1/11/2012       16:19:33
34380      5137020246       10/12/2011      7:46:05
34381      5137086150       2/10/2012       16:56:25
34382      5137092569       10/17/2011      7:44:19
34383      5137201719       10/14/2011      12:48:42
34384      5137203048       4/16/2012       7:08:15
34385      5137208875       6/29/2012       17:40:18
34386      5137376637       8/21/2012       14:00:04
34387      5137392100       11/10/2011      7:25:05
34388      5137460368       10/8/2011       9:35:32
34389      5137461054       10/22/2011      12:32:27
34390      5137469158       5/23/2012       14:50:09
34391      5137809322       6/18/2012       15:10:32
34392      5137872632       3/27/2012       14:53:35
34393      5137875251       7/2/2012        15:09:19
34394      5138052705       10/24/2012      14:44:28
34395      5138055506       5/7/2012        7:09:45
34396      5138077606       5/21/2011       10:39:03
34397      5138079404       2/8/2012        7:27:21
34398      5138235037       5/21/2012       8:37:46
34399      5138240180       11/14/2011      14:11:39
34400      5138240180       12/20/2011      19:30:34
34401      5138240685       9/21/2011       19:32:09
34402      5138241425       8/25/2012       11:12:08
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34403      5138241425       9/21/2012       15:28:20
34404      5138287370       9/27/2011       18:08:33
34405      5138288308       12/23/2011      7:15:02
34406      5138304217       9/16/2011       12:51:49
34407      5138333659       10/3/2012       19:51:41
34408      5138333841       10/3/2011       7:06:28
34409      5138333841       12/5/2011       18:04:47
34410      5138340634       11/4/2011       15:26:32
34411      5138344699       1/22/2014       13:46:34
34412      5138358795       3/26/2012       18:34:11
34413      5138391101       7/9/2011        8:26:28
34414      5138462364       10/20/2012      16:24:57
34415      5138463081       6/16/2012       15:27:53
34416      5138496200       5/29/2012       7:08:33
34417      5138496761       9/8/2011        19:38:58
34418      5138505767       10/17/2012      18:28:24
34419      5138690003       9/21/2011       19:28:31
34420      5138842259       11/17/2011      13:53:07
34421      5138842880       3/16/2012       16:25:12
34422      5138845439       3/6/2012        15:41:43
34423      5138846310       10/10/2012      12:47:27
34424      5138848552       1/19/2012       17:57:10
34425      5138854666       3/13/2012       18:38:49
34426      5138863077       10/20/2011      15:18:13
34427      5138864469       3/3/2012        8:17:25
34428      5138880873       12/21/2011      10:05:11
34429      5138896794       7/18/2012       18:30:43
34430      5139070791       12/21/2011      19:04:46
34431      5139075575       10/8/2011       11:08:03
34432      5139077187       1/6/2012        14:39:43
34433      5139079011       6/7/2012        7:07:56
34434      5139079805       2/25/2012       10:28:52
34435      5139195760       2/13/2012       7:02:27
34436      5139195760       3/23/2012       7:11:39
34437      5139196559       12/10/2011      12:53:22
34438      5139230156       10/17/2012      9:30:23
34439      5139394915       7/19/2012       17:35:12
34440      5139396681       6/29/2012       9:35:45
34441      5139396713       11/9/2011       7:50:40
34442      5139396713       11/19/2011      8:09:13
34443      5139398885       12/7/2011       13:26:08
34444      5139674735       4/2/2012        17:39:42
34445      5139691928       6/8/2012        16:54:04
34446      5152011943       9/17/2011       10:25:21
34447      5152030008       9/13/2012       15:19:49
34448      5152054314       9/17/2012       12:08:35
34449      5152055312       9/23/2011       19:03:19
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34450      5152103997       5/8/2012        9:34:57
34451      5152106813       10/17/2012      18:31:28
34452      5152120048       3/18/2011       9:48:44
34453      5152272212       2/10/2012       9:25:50
34454      5152291947       3/25/2012       12:09:55
34455      5152380282       10/5/2012       18:25:04
34456      5152382082       8/14/2012       11:51:52
34457      5152389520       10/16/2012      8:48:56
34458      5152407023       10/8/2012       8:14:49
34459      5152502465       5/21/2012       8:13:38
34460      5152693527       2/13/2012       8:14:13
34461      5152909019       9/28/2011       10:23:59
34462      5152910440       12/5/2011       18:14:05
34463      5152931098       9/8/2011        18:58:05
34464      5152931912       1/26/2012       10:10:06
34465      5152931912       5/21/2012       8:15:53
34466      5152972272       9/19/2011       19:16:55
34467      5153060775       1/31/2012       10:09:14
34468      5153063951       9/20/2011       20:35:57
34469      5153067911       1/25/2012       20:31:08
34470      5153068116       3/26/2011       12:22:35
34471      5153069644       3/8/2012        9:22:38
34472      5153140908       10/10/2012      19:22:27
34473      5153148520       7/30/2012       13:36:34
34474      5153265628       10/15/2011      10:52:29
34475      5153336967       2/20/2012       17:11:09
34476      5153339029       6/23/2012       8:29:00
34477      5153390602       3/26/2012       15:03:11
34478      5153392123       8/20/2012       10:00:20
34479      5153392123       8/31/2012       16:38:50
34480      5153392854       6/18/2012       15:12:01
34481      5153394005       3/4/2014        11:44:18
34482      5153399118       1/17/2012       18:35:19
34483      5153399118       2/3/2012        20:04:18
34484      5153399118       2/13/2012       18:49:05
34485      5153602109       9/16/2011       13:04:54
34486      5153710385       1/14/2012       8:25:52
34487      5153721260       10/13/2011      8:20:37
34488      5154023099       9/19/2011       19:32:52
34489      5154080357       9/23/2011       18:47:11
34490      5154088508       3/13/2012       11:34:22
34491      5154197101       3/24/2012       9:47:08
34492      5154198114       8/3/2012        12:38:06
34493      5154199982       9/25/2012       14:56:32
34494      5154216091       12/13/2011      17:47:11
34495      5154220640       4/10/2012       11:41:32
34496      5154226031       10/8/2011       11:34:59
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34497      5154226454       3/20/2012       17:49:27
34498      5154473703       9/21/2012       15:55:40
34499      5154478373       12/9/2011       8:25:57
34500      5154478831       12/17/2011      12:11:30
34501      5154510637       5/15/2012       19:10:38
34502      5154601954       1/3/2012        10:34:34
34503      5154650837       5/31/2012       8:08:24
34504      5154802838       9/10/2011       9:14:23
34505      5154804310       10/19/2011      12:14:41
34506      5154900207       2/21/2012       20:49:28
34507      5154902424       11/22/2011      19:40:29
34508      5154902424       12/10/2011      12:27:22
34509      5154905091       6/11/2012       17:33:40
34510      5154909412       12/23/2011      15:54:58
34511      5154941512       10/22/2012      17:51:25
34512      5154947737       9/20/2011       20:30:38
34513      5155093858       6/5/2012        17:57:52
34514      5155202155       9/13/2011       13:48:25
34515      5155328526       12/9/2011       14:44:53
34516      5155373982       8/27/2013       19:26:38
34517      5155540066       9/19/2011       8:27:19
34518      5155543349       4/8/2011        18:52:21
34519      5155564242       7/30/2012       13:37:43
34520      5155710539       1/10/2012       18:06:15
34521      5155712366       11/21/2011      8:28:59
34522      5155717659       7/28/2012       8:48:45
34523      5155778600       2/11/2012       15:10:32
34524      5156192535       10/11/2012      12:04:49
34525      5156337660       3/30/2012       9:47:32
34526      5156610609       2/16/2012       8:30:59
34527      5156640121       12/28/2011      13:04:06
34528      5156693938       9/12/2011       14:26:36
34529      5156695292       5/20/2012       15:42:37
34530      5156696665       10/12/2011      8:06:17
34531      5156812315       5/19/2012       16:07:36
34532      5156815763       10/19/2011      8:07:54
34533      5156816391       3/12/2012       11:09:09
34534      5156818758       10/27/2011      16:43:52
34535      5156893593       12/16/2011      15:44:45
34536      5156896277       10/4/2011       13:23:40
34537      5156896816       10/4/2011       13:48:40
34538      5157079941       5/19/2012       11:01:24
34539      5157085890       11/17/2011      14:14:17
34540      5157085890       5/21/2012       8:14:27
34541      5157086402       5/30/2012       16:58:15
34542      5157087307       5/14/2012       15:16:20
34543      5157090395       4/23/2012       20:33:19
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34544      5157108940       9/8/2012        11:39:34
34545      5157201491       9/23/2011       11:43:30
34546      5157202370       1/9/2012        18:31:00
34547      5157205508       5/11/2012       18:35:07
34548      5157209389       1/6/2012        12:51:03
34549      5157241799       7/31/2012       15:40:45
34550      5157243455       7/13/2012       14:03:28
34551      5157290133       12/20/2011      19:36:14
34552      5157454093       12/7/2011       18:00:14
34553      5157703668       10/1/2011       10:46:30
34554      5157704908       2/2/2012        16:31:32
34555      5157706005       12/18/2011      16:20:22
34556      5157706910       6/7/2012        18:23:41
34557      5157712628       7/9/2012        12:06:20
34558      5157713532       10/13/2011      8:37:39
34559      5157715453       12/10/2011      14:44:33
34560      5157717580       4/2/2012        9:06:04
34561      5157719794       12/1/2011       15:01:56
34562      5157719902       9/21/2012       18:48:17
34563      5157786314       3/26/2012       18:29:15
34564      5157831702       11/4/2011       7:07:49
34565      5158222597       6/4/2012        8:40:12
34566      5158648167       10/15/2011      10:48:46
34567      5158649322       7/18/2012       14:48:56
34568      5158656914       9/14/2011       11:56:35
34569      5158671521       7/18/2011       11:05:12
34570      5158677279       10/19/2011      8:01:53
34571      5158685245       4/4/2012        18:49:58
34572      5158689972       10/22/2012      8:01:12
34573      5158902175       12/16/2011      16:27:59
34574      5158978000       10/20/2011      16:31:48
34575      5158978086       12/29/2011      19:31:14
34576      5158979337       4/9/2012        13:47:40
34577      5159432606       8/20/2012       18:54:20
34578      5159750090       3/14/2012       19:45:23
34579      5159759383       5/23/2011       16:05:50
34580      5159791931       6/9/2012        11:09:18
34581      5159793735       8/2/2012        18:56:43
34582      5159794496       11/15/2011      20:13:17
34583      5159794561       8/6/2012        16:24:53
34584      5159796453       2/17/2012       9:19:10
34585      5159796453       2/28/2012       16:06:29
34586      5159881630       9/28/2011       11:26:19
34587      5159886090       11/23/2011      10:39:40
34588      5159911253       12/23/2011      15:56:19
34589      5159916996       9/30/2011       10:02:11
34590      5159962005       4/11/2012       11:33:06
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                                    #:12588

34591      5162200120       2/8/2012        7:34:54
34592      5162325540       10/8/2011       9:11:21
34593      5162349951       2/24/2012       17:02:10
34594      5162504856       4/14/2012       9:18:29
34595      5162862568       4/5/2012        15:43:40
34596      5162975359       12/20/2011      17:03:52
34597      5163122065       11/17/2011      16:14:11
34598      5163182391       10/17/2011      7:42:37
34599      5163186004       5/1/2012        8:11:58
34600      5163220384       8/8/2012        16:09:51
34601      5163228763       6/21/2012       10:00:24
34602      5163305638       11/18/2011      12:44:50
34603      5163437796       5/21/2012       8:36:10
34604      5163438682       11/16/2011      8:39:25
34605      5163518382       11/16/2011      20:00:23
34606      5163595728       10/6/2011       17:02:18
34607      5163598242       10/7/2011       10:42:33
34608      5163598242       12/20/2011      19:40:48
34609      5163604890       7/9/2012        19:04:36
34610      5163615839       7/23/2012       12:59:42
34611      5163695645       11/22/2011      18:22:55
34612      5163808446       10/27/2011      15:02:03
34613      5163820740       10/22/2011      12:50:51
34614      5164106800       9/22/2011       15:45:22
34615      5164230207       4/5/2012        14:25:47
34616      5164236267       10/11/2011      16:09:11
34617      5164236267       11/5/2011       11:16:51
34618      5164244429       1/11/2012       8:55:05
34619      5164249301       3/9/2012        7:11:30
34620      5164250900       10/10/2012      19:16:01
34621      5164285724       10/22/2011      12:30:50
34622      5164393281       11/7/2011       9:32:15
34623      5164583056       9/13/2011       13:35:47
34624      5164736869       11/17/2011      15:00:37
34625      5165025694       10/3/2011       10:30:38
34626      5165032736       12/9/2011       7:50:32
34627      5165100397       11/18/2011      13:29:42
34628      5165230204       11/23/2011      9:08:23
34629      5165372135       12/2/2011       7:32:27
34630      5165476801       1/9/2012        7:23:02
34631      5165476801       1/23/2012       7:22:10
34632      5165512821       10/10/2012      12:46:07
34633      5165577717       4/3/2012        17:59:06
34634      5165783696       9/20/2011       19:25:49
34635      5166335812       3/7/2012        7:16:54
34636      5166421731       12/20/2011      19:22:12
34637      5166506605       8/1/2012        8:24:45
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34638      5166552590       5/10/2012       15:00:22
34639      5166731416       1/4/2012        11:11:39
34640      5167079421       5/6/2011        15:36:19
34641      5167214639       10/21/2011      13:46:57
34642      5167219760       8/21/2012       14:00:03
34643      5167495000       9/27/2011       18:21:51
34644      5167543557       9/28/2011       11:31:19
34645      5167543557       10/22/2011      13:20:17
34646      5167543557       11/15/2011      16:42:36
34647      5167704548       4/16/2012       15:57:20
34648      5167904618       3/20/2012       9:21:10
34649      5168083588       5/2/2012        13:37:41
34650      5168083588       6/16/2012       15:20:34
34651      5168137309       11/28/2011      12:26:59
34652      5168483514       12/21/2011      9:48:35
34653      5168579991       7/13/2012       18:31:24
34654      5168810652       12/23/2011      14:18:14
34655      5169069211       11/10/2011      7:01:24
34656      5169455081       9/29/2012       9:53:34
34657      5169719892       3/30/2012       16:02:59
34658      5169722657       10/29/2011      10:02:48
34659      5169742077       1/3/2012        7:02:25
34660      5169832113       9/3/2012        14:45:20
34661      5169833203       10/12/2011      7:51:52
34662      5169933223       6/25/2012       13:34:54
34663      5172026198       3/14/2012       7:11:53
34664      5172029549       4/21/2011       8:30:25
34665      5172036824       9/8/2012        11:05:50
34666      5172036949       12/9/2011       7:55:46
34667      5172036949       12/29/2011      18:07:19
34668      5172038464       9/10/2011       8:50:58
34669      5172041981       8/8/2011        14:51:33
34670      5172041981       9/29/2011       9:10:04
34671      5172043665       9/27/2012       16:29:28
34672      5172044290       2/20/2012       17:07:32
34673      5172044581       5/9/2012        7:32:45
34674      5172150076       1/17/2012       7:19:46
34675      5172317355       10/17/2011      8:23:08
34676      5172319141       3/13/2012       18:36:18
34677      5172435593       4/25/2011       12:19:02
34678      5172502627       3/13/2012       11:11:00
34679      5172703600       11/17/2011      13:31:07
34680      5172822363       3/17/2012       8:19:20
34681      5172823393       1/8/2012        12:48:41
34682      5172827736       3/5/2012        7:02:58
34683      5172902223       11/17/2011      16:42:55
34684      5172903387       12/30/2011      7:07:25
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34685      5172909915       8/2/2011        18:07:56
34686      5173039973       2/28/2012       7:45:23
34687      5173044386       3/24/2012       9:51:14
34688      5173045055       2/28/2012       13:42:58
34689      5173048592       6/27/2012       18:04:10
34690      5173156001       7/26/2012       19:13:03
34691      5173173219       1/13/2012       17:34:21
34692      5173487839       4/5/2012        14:38:08
34693      5173910657       11/19/2011      8:42:45
34694      5173914516       4/4/2012        19:04:28
34695      5173923208       4/6/2012        15:48:55
34696      5173923605       9/21/2012       19:05:42
34697      5173955070       10/20/2012      8:04:24
34698      5173980046       3/10/2011       15:27:18
34699      5173981437       3/15/2012       19:26:31
34700      5173985141       10/26/2011      13:30:25
34701      5174029461       2/28/2012       15:58:22
34702      5174032167       5/6/2012        17:21:25
34703      5174041342       4/23/2011       10:15:25
34704      5174042614       11/18/2011      13:29:13
34705      5174102371       3/26/2012       18:19:15
34706      5174102371       10/18/2012      16:33:36
34707      5174108564       3/15/2012       19:20:58
34708      5174109455       10/16/2012      16:33:08
34709      5174140293       10/25/2011      15:16:49
34710      5174145686       9/27/2011       18:06:34
34711      5174147794       3/20/2012       17:44:55
34712      5174169690       3/20/2012       17:35:56
34713      5174203173       3/7/2012        18:40:24
34714      5174204018       11/18/2011      13:31:09
34715      5174258972       1/16/2012       17:29:18
34716      5174422843       11/19/2011      8:38:42
34717      5174425829       5/4/2012        14:39:28
34718      5174427687       12/7/2011       13:55:48
34719      5174428636       8/11/2012       9:32:20
34720      5174441482       10/6/2011       16:20:51
34721      5174492588       10/10/2011      12:34:54
34722      5174554399       10/23/2012      10:28:56
34723      5174584030       9/6/2011        12:42:08
34724      5174621752       11/15/2011      16:05:38
34725      5174884765       12/28/2011      13:42:39
34726      5174890777       10/17/2012      18:33:59
34727      5174900445       10/17/2011      11:10:12
34728      5174998370       10/8/2011       9:25:04
34729      5175056741       10/31/2011      7:42:35
34730      5175057152       10/8/2011       10:34:23
34731      5175077463       9/3/2012        14:27:48
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34732      5175078464       9/30/2012       15:11:59
34733      5175181606       3/20/2012       9:27:27
34734      5175226660       10/14/2011      13:09:41
34735      5175253536       10/27/2011      16:28:45
34736      5175280895       12/20/2011      11:56:00
34737      5175416371       7/5/2012        15:30:52
34738      5175741998       6/16/2012       15:08:02
34739      5175746753       5/30/2012       16:54:22
34740      5175814806       12/20/2011      11:52:12
34741      5175885110       8/20/2012       7:50:26
34742      5175992325       10/23/2012      10:34:36
34743      5175995367       5/22/2012       11:50:10
34744      5176041462       9/19/2011       7:04:08
34745      5176041462       10/7/2011       7:01:51
34746      5176051257       3/15/2012       18:53:39
34747      5176052442       9/21/2011       11:29:57
34748      5176075065       1/7/2012        8:08:41
34749      5176075202       11/18/2011      13:21:55
34750      5176120465       11/25/2011      18:19:18
34751      5176125224       10/27/2011      15:01:42
34752      5176127219       3/2/2012        18:57:10
34753      5176172925       9/26/2011       8:22:40
34754      5176172925       10/5/2011       14:35:56
34755      5176172925       3/28/2012       10:28:16
34756      5176264041       9/6/2011        12:42:17
34757      5176414858       1/21/2012       8:34:29
34758      5176433652       7/12/2012       19:52:17
34759      5176629780       11/21/2011      7:42:42
34760      5176732133       9/26/2011       8:00:36
34761      5176732311       4/9/2012        17:45:17
34762      5176735171       7/27/2012       12:42:03
34763      5177120804       1/5/2012        11:55:13
34764      5177127347       3/29/2012       11:33:16
34765      5177127347       7/30/2012       18:37:42
34766      5177127894       9/12/2012       7:42:15
34767      5177190248       4/9/2012        7:19:28
34768      5177195569       1/13/2012       12:34:43
34769      5177455952       9/22/2011       15:01:10
34770      5177456285       2/11/2012       10:58:28
34771      5177483439       10/8/2011       9:30:20
34772      5177490240       3/28/2012       18:21:36
34773      5177490664       1/6/2012        14:36:13
34774      5177494107       1/5/2012        11:55:11
34775      5177507387       11/11/2011      13:36:23
34776      5177598719       12/18/2011      16:23:42
34777      5177598979       10/20/2012      8:02:10
34778      5177633212       9/27/2011       18:24:47
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34779      5177750824       10/8/2011       11:12:49
34780      5177750824       2/17/2012       9:26:19
34781      5177751153       5/5/2012        8:25:29
34782      5178037658       10/24/2011      7:07:06
34783      5178125964       11/5/2011       9:41:09
34784      5178192769       3/20/2012       17:40:01
34785      5178195922       10/3/2011       7:47:22
34786      5178610266       10/1/2012       8:19:16
34787      5178610266       10/16/2012      7:23:32
34788      5178619837       11/23/2011      10:15:18
34789      5178624917       8/31/2012       16:28:11
34790      5178627087       8/13/2012       20:51:51
34791      5178797199       8/25/2012       8:29:56
34792      5178816236       9/16/2011       13:00:09
34793      5178944691       2/28/2012       16:17:27
34794      5178944801       2/21/2012       10:48:28
34795      5178945757       5/17/2012       11:49:51
34796      5178965036       11/2/2011       7:04:53
34797      5178966458       10/4/2011       13:09:09
34798      5178970389       9/8/2012        11:04:59
34799      5178996031       1/5/2012        13:57:18
34800      5179024151       2/11/2012       10:51:01
34801      5179027592       8/13/2012       7:32:03
34802      5179086395       3/19/2012       7:09:08
34803      5179148568       2/28/2012       15:57:19
34804      5179175012       10/8/2011       9:26:35
34805      5179183900       8/8/2011        12:03:43
34806      5179186472       4/26/2012       8:01:04
34807      5179202993       5/3/2012        7:08:32
34808      5179363685       11/30/2011      14:46:52
34809      5179440234       4/15/2012       16:26:21
34810      5179456901       10/13/2011      7:18:22
34811      5179601041       10/10/2011      12:24:00
34812      5179608077       9/21/2012       15:27:15
34813      5179740899       10/15/2011      10:26:55
34814      5179800074       9/17/2011       9:24:44
34815      5179905584       2/14/2012       13:24:45
34816      5182038283       9/21/2011       11:41:58
34817      5182038861       9/24/2012       12:59:10
34818      5182099973       4/18/2012       7:01:46
34819      5182105729       12/15/2011      8:25:53
34820      5182107178       2/11/2012       15:02:38
34821      5182210032       5/29/2012       7:07:06
34822      5182210032       8/20/2012       18:40:47
34823      5182212315       6/11/2012       7:07:42
34824      5182213393       4/14/2012       8:48:45
34825      5182222956       8/22/2012       11:16:36
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34826      5182313313       4/16/2012       15:49:14
34827      5182317006       5/17/2012       16:31:49
34828      5182323733       9/27/2012       16:22:05
34829      5182488465       9/21/2011       19:34:24
34830      5182508076       10/27/2011      15:02:32
34831      5182537082       7/16/2012       19:42:43
34832      5182537978       10/10/2012      19:10:20
34833      5182538612       12/8/2011       12:09:50
34834      5182539713       12/5/2011       8:59:02
34835      5182539713       12/18/2011      16:57:10
34836      5182539713       1/31/2012       7:03:22
34837      5182539713       3/29/2012       16:36:49
34838      5182560771       2/22/2012       9:58:56
34839      5182581521       10/14/2011      13:07:09
34840      5182657188       8/21/2012       13:55:59
34841      5183002018       9/29/2011       15:03:20
34842      5183043068       3/3/2012        8:32:26
34843      5183071553       9/9/2011        7:34:19
34844      5183082769       2/3/2012        7:00:57
34845      5183087339       1/16/2012       17:21:25
34846      5183125474       12/15/2011      8:25:53
34847      5183216588       9/21/2012       15:32:26
34848      5183218811       5/5/2012        8:01:31
34849      5183221271       10/5/2011       13:58:05
34850      5183229431       9/22/2012       8:46:03
34851      5183323137       6/11/2012       7:07:24
34852      5183340179       12/5/2011       9:48:29
34853      5183351977       11/7/2011       9:05:22
34854      5183355411       11/18/2011      12:12:16
34855      5183357506       4/27/2012       7:40:09
34856      5183358466       2/6/2012        7:15:37
34857      5183358466       4/20/2012       14:12:23
34858      5183541850       3/15/2012       18:56:54
34859      5183610110       8/3/2012        16:21:23
34860      5183611546       8/25/2012       8:17:57
34861      5183642949       1/9/2012        18:07:33
34862      5183656969       10/25/2011      15:52:39
34863      5183684039       12/20/2011      11:37:38
34864      5183690371       3/15/2012       7:02:10
34865      5183783878       3/14/2011       16:55:27
34866      5183787858       11/29/2011      15:52:58
34867      5183788387       7/21/2012       10:17:15
34868      5183908833       6/5/2012        19:46:40
34869      5184091681       8/18/2011       8:22:19
34870      5184206466       9/24/2012       18:51:53
34871      5184208936       6/24/2011       12:02:03
34872      5184219402       1/8/2012        13:06:51
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34873      5184284102       9/12/2011       13:41:50
34874      5184293132       6/23/2012       15:55:59
34875      5184293799       3/13/2012       7:08:06
34876      5184293799       9/24/2012       13:03:11
34877      5184516908       10/31/2011      7:40:19
34878      5184618694       10/17/2011      10:56:30
34879      5184703851       10/25/2011      15:52:45
34880      5184860199       5/14/2012       15:16:13
34881      5184860199       5/21/2012       7:33:14
34882      5184887249       2/16/2012       7:02:50
34883      5184950986       3/7/2012        18:53:32
34884      5184954534       11/28/2011      11:16:55
34885      5185148974       10/11/2011      15:41:20
34886      5185237267       12/17/2011      11:20:01
34887      5185283330       10/19/2011      12:25:18
34888      5185362264       12/9/2011       13:28:40
34889      5185386359       8/6/2011        9:12:48
34890      5185388115       6/16/2012       15:21:01
34891      5185679058       1/5/2012        12:01:56
34892      5185679058       3/7/2012        7:04:59
34893      5185697227       9/6/2012        12:27:48
34894      5185702810       5/17/2011       9:15:38
34895      5185720689       2/11/2012       15:02:35
34896      5185721831       10/6/2012       8:54:55
34897      5185722326       11/12/2011      9:44:44
34898      5185725182       12/27/2011      13:58:40
34899      5185726821       10/3/2011       7:46:27
34900      5185726821       1/2/2012        11:59:30
34901      5185734421       9/21/2011       11:42:13
34902      5185738266       12/29/2011      11:54:54
34903      5185738665       10/24/2011      7:07:06
34904      5185739193       10/15/2011      9:52:02
34905      5185773686       12/5/2011       9:00:03
34906      5185774851       10/14/2011      12:47:37
34907      5185774876       11/17/2011      14:01:07
34908      5185787420       9/29/2012       9:44:54
34909      5185871649       3/22/2012       14:18:10
34910      5185902141       3/19/2012       17:35:51
34911      5185905300       9/24/2012       19:02:54
34912      5185935101       12/22/2011      8:25:10
34913      5185935101       4/11/2012       7:14:18
34914      5185982775       3/13/2012       18:27:14
34915      5186050479       10/19/2011      7:45:54
34916      5186100022       4/12/2012       12:24:30
34917      5186102697       11/26/2011      12:17:17
34918      5186104333       9/29/2011       15:29:43
34919      5186187544       9/1/2012        8:38:03
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34920      5186271371       1/3/2012        10:55:55
34921      5186303292       1/6/2012        9:53:47
34922      5186418453       9/29/2011       15:04:06
34923      5186418453       11/3/2011       17:34:14
34924      5186418453       5/21/2012       7:22:18
34925      5186454306       3/14/2012       19:40:56
34926      5186511918       1/31/2012       7:08:11
34927      5186517346       9/21/2011       19:32:30
34928      5186571600       10/20/2012      8:01:00
34929      5186690405       3/26/2012       18:34:31
34930      5186695919       9/17/2012       7:42:14
34931      5186697284       1/6/2012        14:35:33
34932      5186699773       5/19/2012       10:55:38
34933      5186816296       8/1/2012        8:30:58
34934      5186816619       11/23/2011      14:28:27
34935      5186833008       9/24/2012       18:50:39
34936      5186957593       8/13/2011       10:59:33
34937      5186985478       6/27/2012       12:10:35
34938      5186989368       10/29/2011      11:12:01
34939      5187050376       11/9/2011       7:27:45
34940      5187051518       9/13/2011       7:16:04
34941      5187056412       9/13/2011       18:32:13
34942      5187084180       2/8/2012        7:26:35
34943      5187279539       10/5/2011       10:47:41
34944      5187290096       7/16/2012       19:42:31
34945      5187292857       12/20/2011      19:28:30
34946      5187742134       11/29/2011      7:24:45
34947      5187743713       9/19/2011       19:01:57
34948      5187750262       2/4/2012        7:21:39
34949      5187915829       8/31/2012       16:32:46
34950      5187918385       2/11/2012       15:26:20
34951      5187968467       12/28/2011      13:03:30
34952      5188178767       7/21/2012       10:16:50
34953      5188178767       10/5/2012       18:14:24
34954      5188210043       1/17/2012       16:49:26
34955      5188442159       4/12/2012       17:54:20
34956      5188448496       3/28/2012       7:19:28
34957      5188473007       9/20/2012       7:06:19
34958      5188475372       5/28/2012       8:04:01
34959      5188484083       9/23/2011       11:33:08
34960      5188485194       5/17/2012       7:02:17
34961      5188486197       11/17/2011      13:31:42
34962      5188486197       5/11/2012       12:08:54
34963      5188525979       4/10/2012       15:58:15
34964      5188573282       9/19/2011       7:19:26
34965      5188574209       12/5/2011       9:10:11
34966      5188576514       10/14/2011      13:09:06
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34967      5188599027       3/29/2012       11:48:49
34968      5188663770       1/18/2012       9:44:49
34969      5188664852       1/19/2012       7:07:53
34970      5188664852       5/21/2012       7:03:15
34971      5188666490       2/25/2012       10:26:36
34972      5188671892       9/8/2011        19:39:21
34973      5188677416       7/23/2012       13:11:53
34974      5188781733       10/1/2011       10:23:35
34975      5188782606       12/29/2011      10:53:14
34976      5188786993       1/9/2012        18:24:01
34977      5188793736       8/20/2012       18:35:44
34978      5188793736       8/25/2012       8:13:08
34979      5188793847       9/26/2012       7:10:48
34980      5188815347       2/19/2012       19:18:11
34981      5188922146       4/12/2012       17:56:23
34982      5188925767       12/24/2011      7:14:09
34983      5189280657       6/18/2012       9:23:14
34984      5189290510       10/20/2011      15:16:48
34985      5189326038       1/10/2012       17:37:40
34986      5189358018       2/13/2012       18:55:20
34987      5189374434       1/11/2012       16:18:58
34988      5189445308       5/17/2012       11:51:54
34989      5189510877       7/23/2012       15:27:11
34990      5189556655       9/26/2011       8:36:54
34991      5189556655       12/20/2011      11:37:46
34992      5189610948       11/23/2011      9:08:37
34993      5189659285       5/10/2012       14:53:48
34994      5189861629       4/2/2012        7:13:53
34995      5189863699       9/29/2012       9:52:51
34996      5189865031       7/30/2012       13:23:11
34997      5189865951       1/19/2012       7:14:49
34998      5189865951       2/7/2012        7:04:34
34999      5189865951       5/21/2012       7:03:38
35000      5202032632       10/10/2012      19:14:32
35001      5202043516       1/5/2012        12:06:48
35002      5202046914       11/26/2011      12:01:02
35003      5202046914       12/17/2011      12:12:50
35004      5202083713       9/27/2012       16:28:58
35005      5202193939       11/15/2011      20:10:07
35006      5202207830       2/21/2012       20:51:25
35007      5202215022       10/1/2012       13:37:46
35008      5202215610       10/2/2012       10:08:49
35009      5202231341       9/13/2011       18:08:31
35010      5202232096       2/7/2012        20:26:15
35011      5202235160       5/4/2012        18:28:35
35012      5202235445       3/27/2012       15:07:47
35013      5202237100       11/14/2011      15:47:26
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35014      5202237105       11/23/2011      10:42:34
35015      5202237576       2/21/2012       11:40:29
35016      5202257871       9/1/2012        11:45:28
35017      5202258023       5/31/2012       10:08:54
35018      5202258565       8/27/2012       14:44:31
35019      5202262347       1/27/2012       17:49:08
35020      5202265703       7/12/2011       11:47:50
35021      5202270774       9/9/2011        18:01:59
35022      5202270860       9/9/2011        18:30:32
35023      5202273673       10/3/2012       19:52:46
35024      5202275568       11/5/2011       10:23:25
35025      5202275601       9/13/2011       13:40:23
35026      5202330702       8/31/2011       10:46:41
35027      5202333343       5/29/2012       17:16:03
35028      5202338096       12/5/2011       18:39:31
35029      5202338939       11/14/2011      17:32:38
35030      5202338939       12/5/2011       18:39:38
35031      5202342113       1/27/2012       9:54:14
35032      5202346379       11/14/2011      17:38:01
35033      5202347231       11/26/2011      12:04:07
35034      5202358026       9/28/2011       11:27:06
35035      5202358026       10/6/2011       17:55:09
35036      5202361668       9/21/2011       19:36:08
35037      5202364515       8/20/2012       10:12:18
35038      5202366394       11/11/2011      13:48:09
35039      5202375047       12/14/2011      14:46:19
35040      5202377672       10/15/2012      16:05:19
35041      5202405468       2/14/2012       10:08:06
35042      5202407352       11/11/2011      20:11:37
35043      5202407972       3/1/2012        9:03:10
35044      5202409107       12/22/2011      9:17:25
35045      5202411274       3/22/2012       14:36:51
35046      5202412007       5/10/2011       19:45:26
35047      5202412007       9/14/2011       21:35:29
35048      5202413606       10/20/2011      16:34:08
35049      5202450055       12/3/2011       9:28:52
35050      5202450187       9/27/2011       18:17:15
35051      5202450513       10/3/2011       10:42:09
35052      5202451540       2/24/2011       14:33:02
35053      5202453053       8/11/2011       10:25:00
35054      5202454891       9/20/2011       16:54:37
35055      5202454957       9/30/2011       10:24:14
35056      5202454957       10/18/2011      13:08:55
35057      5202454957       12/18/2011      16:22:19
35058      5202456464       1/25/2012       20:31:53
35059      5202456469       9/12/2011       14:28:39
35060      5202456469       9/29/2011       15:24:56
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35061      5202458661       5/3/2012        21:13:58
35062      5202458825       9/13/2011       13:38:42
35063      5202473643       12/27/2011      14:23:15
35064      5202478504       5/8/2012        12:35:39
35065      5202482049       4/15/2012       19:58:06
35066      5202486474       11/25/2011      18:31:32
35067      5202488593       3/15/2012       19:19:25
35068      5202488593       4/5/2012        13:54:04
35069      5202489692       4/2/2012        9:06:28
35070      5202489901       9/20/2011       14:59:45
35071      5202491349       9/24/2011       10:06:57
35072      5202492762       10/7/2012       13:12:55
35073      5202495426       10/1/2012       21:33:41
35074      5202500113       4/20/2012       14:08:41
35075      5202501684       1/12/2012       10:06:34
35076      5202504225       1/10/2012       15:21:21
35077      5202505860       7/13/2012       14:04:43
35078      5202506840       11/21/2011      10:39:24
35079      5202508930       3/29/2012       16:35:04
35080      5202510742       12/15/2011      9:03:43
35081      5202511263       9/30/2011       10:07:58
35082      5202518259       2/8/2012        12:54:28
35083      5202518720       9/27/2011       18:17:17
35084      5202520627       7/27/2012       21:12:37
35085      5202522000       12/1/2011       15:09:12
35086      5202522259       2/11/2012       15:49:03
35087      5202525497       3/20/2012       19:59:16
35088      5202527012       8/1/2011        19:45:13
35089      5202527479       2/17/2012       21:33:35
35090      5202528499       11/15/2011      15:48:24
35091      5202529748       8/20/2012       21:31:22
35092      5202529748       8/24/2012       21:04:36
35093      5202539165       8/1/2012        20:11:16
35094      5202542981       10/17/2012      18:32:09
35095      5202564251       10/6/2011       17:56:23
35096      5202564416       9/18/2012       14:29:04
35097      5202564579       1/17/2012       18:29:40
35098      5202564579       3/7/2012        18:51:57
35099      5202567501       12/23/2011      16:05:40
35100      5202567729       11/28/2011      12:23:52
35101      5202567830       12/23/2011      16:05:54
35102      5202600551       10/7/2012       13:11:15
35103      5202601443       2/2/2012        11:24:13
35104      5202602699       10/20/2011      15:48:48
35105      5202604542       2/9/2012        9:33:40
35106      5202620351       4/9/2012        18:19:27
35107      5202648590       8/29/2012       20:19:10
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35108      5202661480       4/25/2012       18:37:06
35109      5202666197       12/2/2011       14:33:28
35110      5202690368       2/25/2012       11:10:57
35111      5202695258       8/13/2012       20:53:42
35112      5202695258       9/28/2012       14:15:13
35113      5202695648       3/14/2012       14:12:34
35114      5202698102       4/16/2012       16:08:40
35115      5202700367       8/29/2012       20:22:38
35116      5202702201       2/17/2012       18:24:15
35117      5202706488       4/1/2012        16:08:09
35118      5202707842       5/21/2012       9:04:03
35119      5202709024       10/12/2012      21:26:41
35120      5202711618       9/10/2011       12:39:30
35121      5202720761       11/23/2011      14:43:36
35122      5202720965       8/25/2012       10:58:10
35123      5202721734       3/18/2011       11:40:09
35124      5202721914       7/5/2012        10:39:17
35125      5202723961       4/12/2012       12:35:40
35126      5202724381       2/2/2012        19:18:37
35127      5202724794       10/5/2011       14:18:48
35128      5202725801       4/26/2012       11:22:50
35129      5202726239       5/29/2012       10:57:15
35130      5202726255       11/15/2011      16:44:11
35131      5202726274       10/5/2011       14:19:03
35132      5202726438       10/7/2011       10:26:31
35133      5202726575       3/1/2012        12:49:26
35134      5202727582       10/13/2011      10:35:54
35135      5202728645       10/4/2011       13:56:41
35136      5202728647       9/27/2011       18:50:51
35137      5202728747       10/4/2011       13:26:20
35138      5202729382       11/12/2011      9:41:25
35139      5202729590       3/1/2012        12:49:52
35140      5202729724       10/19/2011      12:24:33
35141      5202729818       10/24/2011      14:15:11
35142      5202729984       1/28/2012       9:55:00
35143      5202751699       8/17/2012       9:31:41
35144      5202756755       12/21/2011      10:23:26
35145      5202757040       11/9/2011       9:18:53
35146      5202758611       10/15/2011      11:02:08
35147      5202758688       6/1/2012        10:40:59
35148      5202758915       3/16/2012       10:30:55
35149      5202801834       1/24/2012       17:23:41
35150      5202803552       2/28/2012       13:08:03
35151      5202804723       8/3/2011        12:37:22
35152      5202806270       12/1/2011       10:32:34
35153      5202806400       10/21/2011      13:36:13
35154      5202809204       9/3/2012        14:35:58
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35155      5202809393       3/20/2012       20:03:20
35156      5202829203       12/17/2011      12:12:53
35157      5202829203       1/16/2012       17:35:29
35158      5202829841       5/16/2012       16:58:19
35159      5202856907       1/24/2012       17:07:23
35160      5202856907       6/14/2012       20:47:05
35161      5202882272       9/28/2012       16:39:24
35162      5202890033       9/8/2011        19:48:14
35163      5203002674       6/6/2012        21:21:26
35164      5203010560       11/11/2011      20:27:02
35165      5203011017       7/13/2012       14:04:52
35166      5203011296       5/18/2012       15:41:34
35167      5203011908       11/26/2011      13:40:40
35168      5203019673       7/21/2012       10:11:34
35169      5203019826       6/2/2011        11:28:21
35170      5203022763       10/11/2011      16:33:26
35171      5203027068       6/6/2012        21:21:25
35172      5203029889       9/27/2011       15:33:45
35173      5203040770       10/13/2011      10:35:37
35174      5203040842       11/30/2011      13:00:56
35175      5203041176       8/17/2011       19:11:38
35176      5203041257       1/20/2012       20:30:14
35177      5203041283       5/18/2012       16:04:46
35178      5203042247       10/17/2011      10:47:54
35179      5203042789       12/5/2011       9:49:27
35180      5203043429       10/3/2012       19:56:49
35181      5203043691       12/8/2011       19:37:51
35182      5203044846       7/26/2012       19:15:47
35183      5203045109       9/20/2011       20:48:45
35184      5203045492       12/3/2011       10:27:31
35185      5203046406       10/6/2011       16:58:08
35186      5203047192       10/29/2011      11:01:37
35187      5203048198       8/2/2012        18:51:10
35188      5203048591       11/8/2011       14:51:33
35189      5203049181       10/1/2011       10:53:10
35190      5203049904       11/5/2011       10:24:34
35191      5203058639       8/8/2012        16:14:21
35192      5203058973       2/17/2012       18:23:28
35193      5203067407       6/27/2012       12:21:58
35194      5203067693       11/23/2011      14:58:43
35195      5203068195       11/5/2011       10:24:07
35196      5203072679       9/8/2011        19:35:19
35197      5203096217       9/22/2011       15:32:11
35198      5203099111       2/4/2012        13:17:02
35199      5203101693       10/7/2011       10:27:26
35200      5203107266       1/9/2012        18:45:36
35201      5203107266       1/14/2012       13:23:15
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35202      5203107266       3/27/2012       15:53:48
35203      5203120439       9/10/2011       12:32:15
35204      5203121661       3/19/2012       12:01:16
35205      5203121661       5/26/2012       14:26:29
35206      5203121787       12/29/2011      14:40:04
35207      5203121811       10/10/2011      12:55:48
35208      5203122500       3/3/2012        9:01:43
35209      5203122565       2/28/2012       13:07:29
35210      5203122654       10/6/2011       16:58:12
35211      5203122667       9/21/2011       19:31:10
35212      5203122667       12/2/2011       14:12:31
35213      5203122667       1/18/2012       16:54:37
35214      5203123324       2/6/2012        17:04:34
35215      5203124103       6/11/2012       10:05:44
35216      5203125756       2/24/2011       11:59:38
35217      5203125789       4/24/2012       21:05:33
35218      5203127787       11/1/2011       11:07:46
35219      5203128504       11/3/2011       18:02:03
35220      5203128909       10/18/2012      14:33:10
35221      5203129972       10/3/2011       10:40:24
35222      5203130347       2/14/2012       16:43:07
35223      5203131233       5/9/2012        16:13:42
35224      5203131821       8/22/2012       11:14:41
35225      5203134477       5/3/2012        21:14:19
35226      5203135058       10/1/2012       21:35:57
35227      5203135867       5/13/2012       18:03:36
35228      5203135867       5/20/2012       15:51:13
35229      5203135987       9/20/2011       20:37:24
35230      5203136484       4/15/2012       17:42:17
35231      5203312981       5/14/2012       10:21:02
35232      5203313311       5/21/2011       11:09:23
35233      5203360771       2/4/2012        13:12:31
35234      5203360771       10/3/2012       19:52:12
35235      5203363083       10/8/2011       12:12:43
35236      5203365817       12/14/2011      18:03:59
35237      5203367335       5/16/2012       12:02:40
35238      5203367890       11/28/2011      18:10:45
35239      5203390775       7/22/2011       13:00:48
35240      5203391298       9/20/2012       20:59:20
35241      5203391358       9/26/2011       13:18:24
35242      5203391847       10/15/2011      11:03:18
35243      5203393386       7/18/2012       14:47:34
35244      5203394154       5/16/2012       11:55:32
35245      5203397383       5/25/2012       17:16:12
35246      5203398902       3/21/2011       11:15:46
35247      5203398956       3/3/2012        9:01:34
35248      5203399505       1/6/2012        15:04:28
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35249      5203424306       8/24/2012       21:03:37
35250      5203424660       10/12/2011      11:54:10
35251      5203430265       3/8/2012        20:34:37
35252      5203431590       1/23/2012       19:09:36
35253      5203432528       12/5/2011       18:17:04
35254      5203434674       9/27/2011       18:52:12
35255      5203434674       10/11/2011      17:39:12
35256      5203435558       9/19/2011       14:52:55
35257      5203441159       2/11/2012       10:52:27
35258      5203441744       1/14/2012       9:17:29
35259      5203441957       10/26/2013      15:07:11
35260      5203445566       10/27/2011      16:57:49
35261      5203492423       11/22/2011      18:55:02
35262      5203497652       6/16/2012       10:09:39
35263      5203497652       6/25/2012       21:49:20
35264      5203497652       8/16/2012       19:55:22
35265      5203499658       2/3/2012        20:11:56
35266      5203499687       9/29/2011       15:23:54
35267      5203499732       5/9/2012        21:03:27
35268      5203505890       10/5/2012       18:40:10
35269      5203508531       11/16/2011      9:02:21
35270      5203511126       3/15/2012       19:35:07
35271      5203519863       3/13/2012       18:33:21
35272      5203582014       11/28/2011      17:04:58
35273      5203582165       2/21/2012       9:36:50
35274      5203583398       6/30/2011       10:36:52
35275      5203585080       2/7/2012        20:26:11
35276      5203585916       3/21/2012       18:36:37
35277      5203585916       5/3/2012        21:14:00
35278      5203586332       11/18/2011      13:19:42
35279      5203586371       10/1/2011       10:04:18
35280      5203587067       1/18/2012       9:56:34
35281      5203587067       8/11/2012       12:24:16
35282      5203587336       3/23/2012       14:28:20
35283      5203587903       12/15/2011      9:04:06
35284      5203606507       9/13/2011       16:39:20
35285      5203700457       5/22/2012       18:30:54
35286      5203707592       10/13/2011      10:31:04
35287      5203710617       5/14/2012       7:07:30
35288      5203710617       7/20/2012       14:59:10
35289      5203718331       10/21/2011      13:36:12
35290      5203900584       9/20/2011       16:54:48
35291      5203900584       1/2/2012        9:10:11
35292      5203901755       2/16/2012       9:20:31
35293      5203903439       4/20/2012       13:47:46
35294      5203903499       8/8/2011        15:50:38
35295      5203904225       6/15/2012       15:43:07
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35296      5203906625       9/20/2011       20:36:44
35297      5203907394       9/27/2011       18:18:12
35298      5203907394       10/20/2011      16:35:11
35299      5203907394       12/18/2011      16:41:46
35300      5203909625       11/14/2011      17:36:51
35301      5203909840       11/18/2011      12:30:11
35302      5204000614       3/22/2012       14:37:03
35303      5204005149       12/17/2011      12:14:07
35304      5204006413       1/13/2012       17:29:26
35305      5204006587       10/3/2011       10:42:04
35306      5204006587       11/30/2011      13:04:25
35307      5204007331       9/14/2011       21:36:20
35308      5204009679       12/2/2011       15:29:47
35309      5204010868       9/17/2011       10:27:24
35310      5204012786       9/16/2011       13:38:53
35311      5204014273       11/11/2011      13:23:26
35312      5204018364       10/10/2011      12:01:37
35313      5204030370       10/7/2011       10:12:32
35314      5204039578       11/4/2011       10:20:57
35315      5204041973       9/8/2011        19:05:28
35316      5204043047       11/23/2011      10:43:11
35317      5204044057       1/19/2012       18:43:09
35318      5204047174       11/28/2011      12:21:16
35319      5204050746       6/20/2012       16:59:23
35320      5204059823       3/24/2012       10:33:57
35321      5204063752       5/4/2012        18:28:59
35322      5204064892       12/1/2011       10:23:38
35323      5204064892       4/18/2012       10:07:28
35324      5204065343       10/18/2012      14:34:49
35325      5204065630       6/21/2012       15:28:50
35326      5204066841       2/28/2012       13:20:23
35327      5204067264       1/24/2012       17:07:30
35328      5204067426       3/12/2012       19:30:29
35329      5204068093       3/19/2012       11:47:42
35330      5204069008       5/13/2012       18:04:50
35331      5204069811       9/8/2011        18:14:40
35332      5204090717       11/1/2011       11:08:43
35333      5204091157       8/24/2012       21:03:47
35334      5204091240       8/24/2012       11:08:57
35335      5204092083       10/1/2011       10:54:11
35336      5204092823       5/29/2012       17:15:44
35337      5204093320       10/5/2011       14:19:46
35338      5204093453       11/11/2011      13:22:31
35339      5204093765       10/6/2011       17:01:30
35340      5204095254       5/24/2012       11:52:31
35341      5204096257       7/27/2012       21:12:17
35342      5204097910       12/18/2011      17:19:18
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35343      5204097910       12/28/2011      11:09:58
35344      5204098057       7/27/2011       17:40:55
35345      5204099409       9/22/2011       16:15:29
35346      5204099409       11/25/2011      17:58:54
35347      5204099481       2/24/2011       11:59:41
35348      5204099641       4/13/2012       13:49:11
35349      5204140518       9/19/2011       14:37:07
35350      5204140668       6/6/2012        10:20:31
35351      5204141095       3/21/2012       18:36:36
35352      5204142756       8/19/2011       12:26:53
35353      5204143336       5/22/2012       18:43:29
35354      5204143499       9/17/2011       10:26:13
35355      5204145353       3/12/2012       19:11:48
35356      5204145758       9/8/2011        19:06:05
35357      5204148764       10/17/2011      7:12:02
35358      5204197465       4/1/2012        17:31:22
35359      5204257777       1/3/2012        19:44:55
35360      5204290219       5/25/2011       18:03:49
35361      5204290220       9/15/2011       10:50:29
35362      5204293202       7/15/2011       17:51:12
35363      5204294452       10/8/2011       12:12:11
35364      5204310110       10/4/2011       13:54:45
35365      5204314442       1/25/2012       20:31:40
35366      5204379409       10/11/2011      16:34:28
35367      5204400002       2/7/2012        20:26:09
35368      5204401670       10/24/2011      14:40:09
35369      5204406154       1/17/2012       9:46:46
35370      5204406154       1/27/2012       18:05:59
35371      5204440950       8/3/2012        16:25:14
35372      5204448979       8/22/2011       20:33:12
35373      5204450422       3/6/2012        20:33:58
35374      5204450530       2/7/2012        16:42:38
35375      5204450530       2/25/2012       10:44:28
35376      5204451970       11/8/2011       14:02:48
35377      5204452327       10/20/2011      20:57:45
35378      5204495367       10/12/2012      16:49:35
35379      5204496321       1/10/2012       15:21:51
35380      5204496322       8/30/2012       17:32:45
35381      5204497111       1/19/2012       18:02:28
35382      5204500379       12/15/2011      9:02:47
35383      5204501305       8/29/2011       17:42:57
35384      5204502374       5/15/2012       19:13:14
35385      5204509200       4/2/2012        14:53:56
35386      5204557512       3/14/2012       14:12:55
35387      5204558199       6/30/2011       10:36:56
35388      5204558773       4/7/2012        12:18:51
35389      5204617160       9/4/2012        16:10:24
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35390      5204619004       10/5/2011       14:19:19
35391      5204650508       11/11/2011      14:36:25
35392      5204656400       7/13/2012       17:22:09
35393      5204658265       10/8/2011       12:10:46
35394      5204689985       5/26/2012       14:15:35
35395      5204707590       9/19/2012       21:27:18
35396      5204713023       3/28/2012       18:25:07
35397      5204713509       11/7/2011       9:41:35
35398      5204810811       12/5/2011       18:52:40
35399      5204815822       7/27/2011       17:42:32
35400      5204816639       3/15/2011       12:08:53
35401      5204817631       5/1/2012        17:30:39
35402      5204832609       9/24/2012       13:13:30
35403      5204833296       10/10/2011      12:54:10
35404      5204835362       5/14/2012       15:46:32
35405      5204837693       6/8/2011        19:02:53
35406      5204886710       9/28/2011       10:37:28
35407      5204887179       1/9/2012        9:43:43
35408      5204889502       10/10/2012      19:14:30
35409      5204902726       9/14/2011       21:28:22
35410      5204906231       12/20/2011      12:46:34
35411      5204906822       11/25/2011      18:32:39
35412      5204910875       2/21/2012       9:37:00
35413      5204910875       3/15/2012       19:19:07
35414      5204949067       12/23/2011      13:28:47
35415      5205075708       1/11/2012       16:24:21
35416      5205083488       1/4/2012        11:28:28
35417      5205199511       5/30/2012       12:34:30
35418      5205511589       8/9/2011        13:08:00
35419      5205511853       8/18/2012       10:48:41
35420      5205512598       9/12/2011       13:29:58
35421      5205513097       12/17/2011      12:12:35
35422      5205513332       3/15/2012       14:02:35
35423      5205513840       3/9/2012        21:14:18
35424      5205515066       2/3/2012        14:30:19
35425      5205516685       12/9/2011       16:05:34
35426      5205517338       9/21/2011       19:36:06
35427      5205517562       11/8/2011       14:03:02
35428      5205518123       1/6/2014        11:08:13
35429      5205518574       9/10/2011       12:39:05
35430      5205518693       11/14/2011      17:36:54
35431      5205518926       12/24/2011      8:13:19
35432      5205519012       10/13/2012      11:44:30
35433      5205519243       9/5/2012        15:27:08
35434      5205590664       9/28/2012       14:15:21
35435      5205604848       11/16/2011      20:07:11
35436      5205606848       5/20/2012       15:49:30
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35437      5205617141       3/19/2012       12:01:09
35438      5205764309       10/24/2011      14:40:08
35439      5205764723       7/23/2012       13:27:22
35440      5205824028       9/4/2012        21:50:14
35441      5205824381       11/11/2011      13:48:07
35442      5205824381       11/28/2011      11:30:11
35443      5205824750       5/4/2012        18:14:35
35444      5205825598       3/16/2012       11:55:18
35445      5205828221       1/20/2012       20:30:25
35446      5205828261       9/21/2011       19:31:06
35447      5205917717       10/17/2011      10:30:06
35448      5206030098       10/1/2012       13:55:06
35449      5206030098       10/9/2012       11:41:33
35450      5206030627       11/5/2011       11:45:30
35451      5206036030       5/24/2012       11:52:33
35452      5206036883       10/17/2012      18:37:51
35453      5206038250       6/7/2011        18:13:13
35454      5206097620       4/3/2012        20:16:20
35455      5206244974       12/1/2011       15:32:30
35456      5206313606       12/28/2011      20:50:01
35457      5206313866       5/5/2012        12:32:33
35458      5206476640       6/6/2012        10:18:57
35459      5206610109       12/29/2011      11:10:44
35460      5206610778       6/23/2012       10:38:00
35461      5206612132       11/10/2011      14:56:30
35462      5206612190       10/7/2011       10:28:07
35463      5206612190       10/17/2011      10:31:33
35464      5206612190       6/16/2012       15:33:16
35465      5206612955       12/14/2011      18:07:39
35466      5206618369       10/28/2011      14:31:57
35467      5206618864       4/21/2012       16:34:59
35468      5206648044       6/20/2011       14:21:29
35469      5206648423       12/23/2011      20:46:09
35470      5206680153       3/16/2012       16:47:21
35471      5206685445       3/12/2012       19:30:48
35472      5206685508       8/31/2011       11:08:25
35473      5206689407       10/9/2012       11:49:28
35474      5206689924       12/23/2011      15:13:08
35475      5206780095       2/4/2012        13:11:57
35476      5206780095       2/11/2012       15:48:43
35477      5206780282       11/14/2011      16:10:07
35478      5206781611       11/18/2011      13:26:05
35479      5206785121       11/12/2011      10:48:44
35480      5206788524       3/13/2012       12:52:57
35481      5206789472       5/16/2012       17:03:01
35482      5207050365       5/18/2012       11:44:39
35483      5207053858       10/12/2011      11:37:25
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35484      5207053858       11/11/2011      20:11:21
35485      5207054187       9/24/2011       10:07:01
35486      5207054187       10/26/2011      13:18:31
35487      5207059087       8/30/2012       17:32:42
35488      5207059304       9/24/2011       10:07:18
35489      5207059806       12/29/2011      19:47:50
35490      5207090951       9/22/2011       15:31:54
35491      5207090951       3/7/2012        19:00:37
35492      5207094544       1/12/2012       10:15:38
35493      5207095412       12/20/2011      15:06:13
35494      5207095814       10/6/2011       16:59:05
35495      5207098990       9/8/2011        19:54:34
35496      5207208037       3/13/2012       18:52:58
35497      5207300100       1/16/2012       12:11:22
35498      5207300100       3/22/2012       14:05:46
35499      5207303025       8/1/2012        11:02:34
35500      5207328995       9/21/2012       16:12:01
35501      5207329364       10/20/2011      16:11:07
35502      5207801291       11/28/2011      12:24:20
35503      5207801291       12/31/2011      11:52:53
35504      5207801291       4/2/2012        17:35:36
35505      5207802718       7/12/2012       13:19:35
35506      5207806764       7/25/2012       20:42:51
35507      5207806851       7/30/2012       13:20:53
35508      5207807999       3/8/2012        20:34:27
35509      5207807999       6/20/2012       16:58:04
35510      5207843184       10/18/2012      14:35:11
35511      5207843976       3/23/2012       14:53:25
35512      5207844131       12/17/2011      11:41:12
35513      5208080406       10/17/2011      10:31:09
35514      5208080472       6/1/2012        10:40:28
35515      5208080639       7/23/2011       14:05:34
35516      5208080783       10/12/2011      11:36:03
35517      5208080961       10/14/2011      13:00:04
35518      5208080970       1/25/2012       9:23:51
35519      5208082042       12/26/2011      15:29:59
35520      5208083180       10/14/2011      13:32:35
35521      5208083565       1/12/2014       16:21:39
35522      5208084075       12/2/2011       14:34:42
35523      5208085067       10/11/2012      11:56:22
35524      5208085108       10/5/2011       14:48:38
35525      5208085634       9/30/2011       10:25:03
35526      5208085634       11/20/2011      11:10:39
35527      5208086776       9/19/2012       16:23:03
35528      5208087027       5/23/2012       16:56:34
35529      5208088946       9/10/2011       12:38:43
35530      5208201079       4/20/2012       14:35:20
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35531      5208201852       9/28/2011       11:27:43
35532      5208202586       5/30/2012       16:50:38
35533      5208206312       9/27/2011       18:51:26
35534      5208206313       10/24/2011      14:41:19
35535      5208206313       6/8/2012        10:15:57
35536      5208208810       11/8/2011       14:40:02
35537      5208208810       11/25/2011      17:55:10
35538      5208209427       1/31/2012       10:05:14
35539      5208224493       1/11/2012       16:24:29
35540      5208292067       9/24/2011       10:01:23
35541      5208292067       12/23/2011      15:13:38
35542      5208292639       5/29/2012       17:07:26
35543      5208298229       10/22/2011      13:17:22
35544      5208298846       9/9/2011        18:02:22
35545      5208298963       10/1/2011       10:54:14
35546      5208343652       11/26/2011      13:45:25
35547      5208345188       10/17/2011      10:30:25
35548      5208384420       3/26/2011       12:37:03
35549      5208384727       6/24/2012       13:58:44
35550      5208384855       1/9/2012        18:17:59
35551      5208400387       4/21/2012       16:53:32
35552      5208403193       12/6/2011       13:14:48
35553      5208406795       4/9/2012        17:54:37
35554      5208411939       11/9/2011       9:19:46
35555      5208500816       3/3/2012        9:01:43
35556      5208501430       11/14/2011      17:36:00
35557      5208503412       3/20/2012       20:03:13
35558      5208503902       8/3/2012        16:32:14
35559      5208507022       4/1/2012        16:11:24
35560      5208509302       2/3/2012        14:26:48
35561      5208509302       3/7/2012        9:48:12
35562      5208589483       7/18/2012       18:32:44
35563      5208600236       11/12/2011      9:43:48
35564      5208610935       11/7/2011       7:20:51
35565      5208612713       9/30/2011       10:08:03
35566      5208615540       10/15/2011      11:01:45
35567      5208618302       5/3/2012        10:10:03
35568      5208670023       9/26/2011       13:18:08
35569      5208670894       10/15/2011      11:13:56
35570      5208672727       12/22/2011      9:03:26
35571      5208690828       8/3/2011        11:57:24
35572      5208692799       1/10/2012       15:21:37
35573      5208693200       5/26/2012       16:27:39
35574      5208696843       11/17/2011      16:33:33
35575      5208704325       2/24/2012       20:57:34
35576      5208705274       4/12/2012       13:16:13
35577      5208707044       9/24/2012       19:18:44
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35578      5208707156       4/25/2012       21:23:45
35579      5208709283       10/15/2011      11:03:21
35580      5208738007       12/27/2011      14:40:07
35581      5208788339       5/4/2012        18:23:11
35582      5208882814       10/8/2011       10:09:14
35583      5208912516       11/5/2011       10:28:13
35584      5208913801       1/5/2012        14:08:23
35585      5208914320       5/16/2012       16:58:05
35586      5208918391       11/16/2011      20:02:21
35587      5208959565       5/26/2012       10:06:56
35588      5209010560       9/8/2011        18:49:06
35589      5209034857       4/18/2012       18:00:29
35590      5209037103       12/7/2011       18:16:56
35591      5209040828       11/15/2011      15:14:12
35592      5209042937       9/24/2011       9:48:07
35593      5209046939       8/1/2012        8:29:56
35594      5209048131       2/3/2012        14:38:34
35595      5209048879       7/24/2012       14:47:34
35596      5209070908       1/25/2012       9:23:51
35597      5209074917       11/19/2011      10:45:11
35598      5209079883       3/15/2012       19:35:32
35599      5209402653       6/27/2012       12:08:25
35600      5209402653       7/2/2012        15:06:30
35601      5209540745       1/12/2012       14:00:29
35602      5209540868       12/20/2011      15:06:08
35603      5209544360       10/5/2012       18:25:40
35604      5209546797       7/14/2012       10:08:13
35605      5209546986       9/14/2011       21:24:19
35606      5209551470       3/13/2012       12:53:03
35607      5209551912       12/16/2011      16:33:54
35608      5209553192       10/6/2011       17:57:02
35609      5209553247       9/15/2011       10:40:44
35610      5209715945       5/23/2012       16:40:06
35611      5209717426       2/9/2012        20:45:05
35612      5209752476       1/12/2012       14:09:08
35613      5209753766       12/10/2011      13:48:14
35614      5209753766       12/14/2011      18:03:51
35615      5209756248       12/29/2011      19:38:04
35616      5209757852       3/1/2012        9:04:24
35617      5209758478       9/30/2011       10:07:41
35618      5209759925       12/29/2011      10:50:27
35619      5209759925       1/6/2012        14:43:14
35620      5209770784       7/27/2012       21:10:59
35621      5209772146       10/17/2011      10:30:42
35622      5209772740       12/19/2011      9:13:44
35623      5209774808       12/3/2011       10:27:41
35624      5209778779       4/30/2012       14:37:47
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35625      5209779616       2/13/2012       18:49:29
35626      5209779827       3/26/2011       12:39:35
35627      5209791847       9/19/2011       14:36:45
35628      5209795731       9/12/2011       13:30:19
35629      5209798582       5/2/2011        18:12:51
35630      5209799807       10/19/2011      12:23:26
35631      5209806111       3/27/2012       10:36:54
35632      5209807249       10/15/2011      10:59:56
35633      5209811078       10/26/2011      12:26:22
35634      5209811106       3/23/2012       14:28:05
35635      5209816099       3/26/2012       18:31:16
35636      5209816931       4/13/2012       20:41:41
35637      5209824085       10/26/2011      13:16:30
35638      5209881288       8/10/2012       21:23:48
35639      5209881787       6/5/2012        17:50:09
35640      5209882087       9/19/2012       16:25:20
35641      5209882943       10/10/2011      12:55:48
35642      5209884819       12/21/2011      10:22:34
35643      5209905963       9/8/2011        18:15:33
35644      5209910540       10/14/2011      13:33:05
35645      5209916627       8/25/2012       11:18:25
35646      5209930536       11/23/2011      9:53:22
35647      5302043187       9/13/2011       18:31:13
35648      5302043731       7/6/2012        14:43:32
35649      5302049799       1/6/2012        14:44:14
35650      5302090367       10/10/2011      12:09:22
35651      5302090570       2/15/2012       14:37:27
35652      5302091029       9/29/2012       10:20:59
35653      5302095092       5/1/2012        10:20:54
35654      5302096001       11/18/2011      13:08:30
35655      5302099813       12/23/2011      14:25:09
35656      5302101951       9/15/2011       10:42:20
35657      5302160193       11/2/2011       14:31:37
35658      5302168186       1/13/2012       17:18:56
35659      5302168188       5/30/2012       12:34:47
35660      5302169001       10/1/2011       11:00:50
35661      5302169752       11/2/2011       14:08:27
35662      5302169752       11/21/2011      10:52:25
35663      5302182337       9/13/2011       13:30:50
35664      5302191511       7/13/2012       18:50:16
35665      5302196605       1/5/2012        14:11:16
35666      5302199290       12/29/2011      11:14:45
35667      5302213920       4/19/2012       20:17:56
35668      5302284622       1/27/2012       18:08:15
35669      5302376496       7/19/2011       18:05:32
35670      5302496200       3/14/2012       19:38:19
35671      5302497503       4/21/2012       16:28:36
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35672      5302586323       4/7/2012        12:23:19
35673      5302586323       4/12/2012       18:00:48
35674      5302624454       11/11/2011      13:53:21
35675      5302625251       1/3/2012        19:52:16
35676      5302627121       9/4/2012        21:49:47
35677      5302628145       5/20/2012       15:52:53
35678      5302628357       5/11/2012       18:37:22
35679      5302639162       9/21/2012       15:58:39
35680      5302692014       9/18/2012       14:32:25
35681      5302755222       9/27/2011       18:18:35
35682      5302761859       3/31/2011       19:54:47
35683      5302761859       8/9/2011        13:58:13
35684      5302765190       2/15/2012       14:37:39
35685      5302774455       10/5/2011       14:22:49
35686      5302820095       8/2/2011        17:25:15
35687      5302820820       12/15/2011      21:43:55
35688      5302826312       9/16/2011       13:08:11
35689      5302827856       10/11/2011      15:41:21
35690      5302880215       11/18/2011      13:14:01
35691      5303002043       9/22/2011       15:35:41
35692      5303004277       9/19/2011       19:38:10
35693      5303046753       2/9/2012        14:30:36
35694      5303051214       9/15/2011       10:44:43
35695      5303061618       9/8/2011        19:10:34
35696      5303066624       9/27/2011       18:55:26
35697      5303066624       10/19/2011      12:27:39
35698      5303066886       5/21/2012       17:56:43
35699      5303100769       9/14/2011       16:56:57
35700      5303100804       8/4/2011        19:29:29
35701      5303120295       12/17/2011      12:16:33
35702      5303150125       11/5/2011       11:56:48
35703      5303150784       3/28/2012       12:37:39
35704      5303150922       9/21/2012       15:58:45
35705      5303152138       12/1/2011       10:34:46
35706      5303152432       9/27/2012       16:33:23
35707      5303153556       8/17/2011       19:19:13
35708      5303155820       9/20/2011       19:30:15
35709      5303158527       9/26/2011       13:33:21
35710      5303181490       4/18/2012       18:00:51
35711      5303187102       4/24/2012       12:01:40
35712      5303214343       8/16/2012       19:49:54
35713      5303278114       7/18/2011       11:22:45
35714      5303296751       10/4/2011       13:58:34
35715      5303337001       3/15/2012       13:56:14
35716      5303337714       9/24/2011       10:05:18
35717      5303384078       3/17/2014       14:11:25
35718      5303390482       8/23/2012       11:55:36
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35719      5303395481       9/30/2011       10:08:24
35720      5303400143       8/14/2012       11:41:09
35721      5303540041       3/7/2012        10:05:09
35722      5303540871       6/9/2012        15:08:46
35723      5303541355       9/24/2011       10:10:25
35724      5303542074       11/14/2011      15:33:56
35725      5303543176       11/29/2011      15:52:12
35726      5303543384       4/25/2012       18:40:04
35727      5303547148       9/29/2011       15:25:46
35728      5303555054       9/8/2011        19:14:00
35729      5303661327       10/23/2012      15:58:56
35730      5303661921       9/15/2011       10:50:58
35731      5303661977       1/23/2012       19:20:39
35732      5303661977       6/20/2012       16:59:10
35733      5303662256       11/21/2011      10:40:56
35734      5303700013       12/20/2011      15:00:10
35735      5303700447       3/14/2012       19:37:56
35736      5303700447       7/30/2012       15:53:01
35737      5303703632       11/21/2011      10:54:59
35738      5303705706       12/21/2011      9:55:18
35739      5303706963       11/17/2011      14:54:17
35740      5303706963       1/8/2012        16:50:00
35741      5303831949       9/12/2011       14:38:22
35742      5303867284       10/20/2011      16:38:42
35743      5303911716       8/5/2011        17:38:57
35744      5303914644       5/11/2011       17:09:39
35745      5303915035       12/9/2011       21:53:15
35746      5303918558       3/31/2012       18:19:49
35747      5303920187       3/26/2012       18:31:25
35748      5304000118       9/20/2011       18:49:11
35749      5304012295       10/8/2011       12:33:01
35750      5304014209       6/18/2012       15:34:00
35751      5304037012       10/7/2011       10:31:04
35752      5304037914       11/7/2011       11:10:08
35753      5304039855       5/17/2012       11:40:10
35754      5304056647       10/6/2011       17:11:27
35755      5304061886       7/21/2012       10:32:21
35756      5304091607       5/23/2012       14:49:21
35757      5304097525       12/23/2011      14:30:12
35758      5304101309       2/16/2012       11:25:43
35759      5304103361       9/20/2012       14:46:00
35760      5304109199       9/21/2011       19:36:34
35761      5304109288       7/21/2012       10:31:51
35762      5304155875       7/24/2012       20:33:54
35763      5304156554       9/8/2011        19:14:37
35764      5304156554       9/13/2011       18:10:44
35765      5304158095       6/12/2012       10:31:44
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35766      5304159497       11/14/2011      15:44:18
35767      5304400990       6/5/2012        17:55:25
35768      5304483775       6/9/2011        11:23:04
35769      5305013213       9/11/2012       15:17:16
35770      5305015814       3/26/2012       18:47:58
35771      5305015957       12/10/2011      14:06:15
35772      5305035414       11/18/2011      12:32:43
35773      5305101127       7/26/2012       19:23:52
35774      5305130724       4/6/2012        19:31:49
35775      5305131529       1/23/2012       13:50:47
35776      5305131529       2/4/2012        13:15:31
35777      5305134974       6/25/2012       13:29:47
35778      5305143710       9/24/2011       10:09:53
35779      5305146076       9/8/2011        19:57:32
35780      5305150082       11/28/2011      18:14:37
35781      5305151182       10/12/2012      21:27:04
35782      5305151978       12/5/2011       18:54:02
35783      5305171085       9/20/2011       18:51:20
35784      5305171501       10/15/2012      10:13:40
35785      5305171814       2/3/2012        14:36:48
35786      5305185133       10/24/2011      14:49:48
35787      5305194779       3/17/2012       11:41:49
35788      5305209942       7/12/2011       11:57:19
35789      5305210376       10/24/2012      21:13:18
35790      5305241428       11/22/2011      19:44:25
35791      5305242871       10/27/2011      17:01:36
35792      5305242871       11/14/2011      17:38:39
35793      5305246308       5/22/2012       18:23:31
35794      5305248523       3/28/2011       15:46:47
35795      5305248830       9/8/2012        11:46:20
35796      5305268258       9/14/2011       21:25:01
35797      5305268296       12/1/2011       15:10:15
35798      5305540005       6/2/2012        13:14:24
35799      5305540112       9/8/2011        19:36:35
35800      5305540506       4/18/2012       18:00:45
35801      5305540955       12/14/2011      21:51:21
35802      5305585698       9/23/2011       11:45:32
35803      5305591199       3/1/2012        21:57:06
35804      5305662095       3/15/2012       19:20:40
35805      5305667366       11/11/2011      20:28:08
35806      5305706022       3/29/2012       11:34:36
35807      5305751117       10/5/2011       14:20:25
35808      5305751433       10/17/2011      10:43:12
35809      5305757611       8/15/2012       21:43:52
35810      5305861213       1/19/2012       18:43:50
35811      5305883014       9/14/2011       12:40:26
35812      5305884171       11/11/2011      13:17:43
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35813      5305885498       5/21/2011       11:15:19
35814      5305912243       3/13/2012       18:33:36
35815      5305912423       9/17/2012       10:09:43
35816      5305912423       10/9/2012       11:44:55
35817      5305986217       1/12/2012       14:36:59
35818      5305987167       10/24/2012      21:12:13
35819      5305987817       9/20/2011       16:55:13
35820      5306044891       10/15/2011      10:07:53
35821      5306057802       5/4/2012        18:15:38
35822      5306130544       9/8/2011        19:08:23
35823      5306139571       10/24/2011      14:29:35
35824      5306139626       11/26/2011      13:47:47
35825      5306172162       10/8/2011       10:19:10
35826      5306172304       10/8/2012       12:46:53
35827      5306247348       11/29/2011      15:57:49
35828      5306323509       9/19/2011       14:44:10
35829      5306353827       11/16/2011      10:16:07
35830      5306363761       1/26/2014       13:45:55
35831      5306458603       9/24/2011       10:04:23
35832      5306466476       1/5/2012        17:28:24
35833      5306809503       9/27/2011       18:19:02
35834      5306809503       3/8/2012        20:41:29
35835      5306812471       11/16/2011      10:06:21
35836      5306815415       12/10/2011      14:02:27
35837      5306938011       9/1/2012        11:51:05
35838      5307016860       8/7/2012        20:17:23
35839      5307120046       9/30/2011       10:25:42
35840      5307120046       1/13/2012       17:46:05
35841      5307136650       2/2/2012        20:59:47
35842      5307233230       9/13/2012       21:30:59
35843      5307361042       9/23/2011       18:52:16
35844      5307366503       12/20/2011      19:41:47
35845      5307369828       5/23/2012       16:33:23
35846      5307611150       10/11/2012      18:51:37
35847      5307747686       1/11/2012       16:32:13
35848      5307767127       8/10/2012       10:25:37
35849      5307767641       5/9/2012        14:36:25
35850      5307767922       8/5/2011        18:20:30
35851      5307768421       4/21/2012       10:04:13
35852      5307840155       7/31/2012       21:04:34
35853      5307885424       1/3/2012        11:07:55
35854      5307885860       12/23/2011      13:31:48
35855      5307886460       11/28/2011      18:17:07
35856      5308281817       6/25/2012       13:53:12
35857      5308281817       7/11/2012       17:17:52
35858      5308281817       9/1/2012        11:47:32
35859      5308284533       9/28/2011       11:29:44
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35860      5308286468       5/22/2012       18:48:18
35861      5308289831       4/19/2012       20:13:39
35862      5308380234       10/10/2011      12:05:18
35863      5308380984       11/10/2011      14:35:36
35864      5308385073       3/9/2012        15:46:40
35865      5308385073       6/19/2012       15:46:25
35866      5308385151       10/24/2011      14:47:25
35867      5308400085       3/19/2012       12:05:51
35868      5308446003       12/15/2011      10:19:00
35869      5308487264       2/29/2012       18:01:59
35870      5308633585       10/6/2011       17:03:34
35871      5308671141       9/10/2011       12:40:03
35872      5308671428       7/15/2011       17:59:12
35873      5308703194       11/29/2011      16:13:07
35874      5309020050       8/23/2012       12:02:34
35875      5309031131       9/13/2011       14:21:56
35876      5309036767       9/21/2011       12:03:11
35877      5309037659       4/20/2012       13:48:35
35878      5309066118       5/25/2012       17:04:53
35879      5309085384       3/12/2012       11:23:25
35880      5309089215       3/15/2012       14:17:55
35881      5309089215       5/4/2012        20:56:50
35882      5309135248       9/14/2011       12:42:18
35883      5309171516       1/27/2012       21:55:08
35884      5309176800       10/3/2011       10:35:19
35885      5309177957       2/28/2012       13:23:52
35886      5309193435       2/3/2012        14:38:59
35887      5309211019       10/6/2011       17:08:51
35888      5309211697       3/2/2012        19:05:51
35889      5309214739       8/1/2012        20:11:30
35890      5309235869       5/5/2012        12:33:02
35891      5309235961       4/30/2012       21:08:39
35892      5309236434       6/30/2012       15:58:45
35893      5309239398       5/18/2012       15:42:33
35894      5309259029       3/13/2012       18:59:09
35895      5309279665       7/11/2012       17:23:48
35896      5309332896       5/3/2012        21:19:51
35897      5309339928       10/20/2011      15:56:07
35898      5309344646       2/11/2012       11:25:19
35899      5309364228       10/15/2011      11:11:41
35900      5309364239       8/13/2012       20:54:52
35901      5309415152       10/6/2011       17:12:37
35902      5309457997       5/29/2012       17:09:07
35903      5309495475       9/14/2011       21:36:57
35904      5309537340       11/16/2011      19:53:23
35905      5309537499       10/31/2011      10:18:28
35906      5309539195       8/28/2012       21:54:43
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35907      5309573655       1/3/2012        19:45:27
35908      5309612758       8/8/2012        16:17:30
35909      5309667310       9/28/2012       16:40:04
35910      5309901757       10/16/2012      20:34:07
35911      5309901952       10/5/2011       14:25:26
35912      5309901980       9/8/2011        19:57:54
35913      5309902660       12/18/2011      17:21:38
35914      5309903039       1/3/2012        16:38:50
35915      5309903097       1/9/2012        18:20:10
35916      5402041625       5/9/2011        16:56:39
35917      5402046172       5/21/2012       7:23:04
35918      5402050410       1/5/2012        13:59:43
35919      5402057964       11/28/2011      11:54:30
35920      5402057964       12/20/2011      19:32:39
35921      5402057964       5/21/2012       7:03:27
35922      5402065087       12/10/2011      11:56:33
35923      5402067351       10/16/2012      16:35:07
35924      5402067370       9/26/2012       14:37:22
35925      5402069192       12/23/2011      14:48:36
35926      5402079236       1/9/2012        18:17:22
35927      5402096258       5/15/2012       18:57:27
35928      5402202481       12/9/2011       13:08:52
35929      5402206783       7/25/2012       12:03:48
35930      5402230412       9/24/2012       12:49:07
35931      5402262085       4/6/2012        15:47:56
35932      5402266619       10/17/2012      9:40:59
35933      5402296761       5/6/2012        17:46:55
35934      5402302456       5/2/2012        13:12:22
35935      5402308723       3/2/2012        18:40:46
35936      5402308723       9/27/2012       16:38:39
35937      5402348722       2/28/2012       15:50:26
35938      5402352649       9/27/2011       18:26:17
35939      5402362572       3/13/2012       18:35:08
35940      5402364143       9/30/2011       10:16:43
35941      5402368673       10/22/2011      12:57:43
35942      5402388324       11/18/2011      13:24:14
35943      5402419091       4/12/2012       17:57:37
35944      5402419114       5/26/2012       14:30:38
35945      5402464664       4/9/2012        18:06:27
35946      5402466636       11/12/2011      9:23:09
35947      5402500137       3/7/2012        7:09:11
35948      5402507108       10/13/2012      9:07:42
35949      5402557768       10/26/2011      12:56:44
35950      5402567507       10/7/2012       12:56:19
35951      5402573301       10/12/2013      9:08:20
35952      5402574045       5/8/2012        9:05:35
35953      5402576270       7/11/2012       17:20:07
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35954      5402630122       3/26/2012       18:19:02
35955      5402630172       9/2/2011        12:40:02
35956      5402632252       1/16/2012       7:14:02
35957      5402632252       1/20/2012       11:46:22
35958      5402662375       3/30/2012       16:02:26
35959      5402705525       10/3/2012       7:04:48
35960      5402707434       1/5/2012        17:26:43
35961      5402714786       8/12/2011       9:32:15
35962      5402716050       12/30/2013      16:57:44
35963      5402717313       12/29/2011      18:51:57
35964      5402783063       10/21/2011      13:15:20
35965      5402870403       7/19/2011       16:28:41
35966      5402870462       2/11/2012       15:24:06
35967      5402872213       12/26/2011      9:18:05
35968      5402872325       3/24/2012       9:49:08
35969      5402877259       12/24/2011      7:25:42
35970      5402909215       9/8/2011        17:56:58
35971      5402930547       11/19/2011      8:10:04
35972      5402931212       6/14/2012       16:02:29
35973      5402931362       11/17/2011      15:06:36
35974      5402931849       11/23/2011      14:29:52
35975      5402933306       10/6/2012       8:43:02
35976      5402934501       12/29/2011      14:55:53
35977      5402934621       9/19/2011       19:08:22
35978      5402935591       11/4/2011       7:25:27
35979      5402935595       1/10/2012       12:27:25
35980      5402938326       11/18/2011      12:53:52
35981      5402941878       12/1/2011       15:17:48
35982      5402942026       12/7/2011       13:54:22
35983      5402957860       10/4/2011       13:10:30
35984      5403030343       10/20/2011      15:29:50
35985      5403030343       12/5/2011       8:28:29
35986      5403036760       11/10/2011      7:19:23
35987      5403037473       2/26/2012       13:25:50
35988      5403055265       10/1/2012       8:19:46
35989      5403057904       7/13/2012       11:25:26
35990      5403085698       8/2/2012        11:37:03
35991      5403092091       3/23/2012       19:12:18
35992      5403121272       10/18/2011      11:57:30
35993      5403121328       3/27/2012       7:02:33
35994      5403123629       12/21/2011      10:08:34
35995      5403123629       2/13/2012       18:24:02
35996      5403123880       10/7/2011       7:09:06
35997      5403123969       9/19/2011       19:01:28
35998      5403124578       9/16/2011       13:16:54
35999      5403127600       12/18/2011      16:50:43
36000      5403128887       9/30/2011       12:13:44
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36001      5403141071       5/6/2011        15:50:58
36002      5403144537       11/8/2011       13:44:24
36003      5403145775       1/31/2012       7:09:51
36004      5403145775       5/21/2012       7:03:28
36005      5403150019       9/13/2012       7:45:45
36006      5403150083       12/29/2011      11:22:07
36007      5403150837       10/5/2012       12:16:42
36008      5403168026       8/15/2012       7:53:49
36009      5403198671       3/21/2012       7:00:43
36010      5403200596       8/25/2012       11:11:11
36011      5403202569       3/30/2012       16:27:41
36012      5403207122       6/12/2012       17:09:36
36013      5403226344       4/20/2012       14:09:06
36014      5403229068       9/4/2012        16:04:49
36015      5403252185       12/19/2011      7:36:13
36016      5403279247       5/7/2012        7:04:42
36017      5403305571       10/13/2011      7:23:50
36018      5403334251       3/6/2012        15:56:54
36019      5403356019       8/25/2012       11:11:58
36020      5403356390       9/16/2012       17:14:26
36021      5403360095       1/11/2012       7:32:05
36022      5403392811       4/9/2012        18:09:30
36023      5403530133       5/21/2012       17:03:13
36024      5403530426       1/27/2012       17:34:10
36025      5403541233       10/18/2011      12:56:57
36026      5403557448       8/25/2012       8:20:29
36027      5403571682       11/26/2011      12:42:23
36028      5403573500       10/12/2011      7:33:44
36029      5403792323       11/20/2011      11:06:55
36030      5403795145       2/13/2012       18:23:15
36031      5403795280       5/25/2012       8:14:05
36032      5403835913       12/7/2011       13:11:33
36033      5403921551       10/21/2011      12:26:28
36034      5403921680       1/12/2012       14:12:16
36035      5403923143       7/15/2011       17:18:37
36036      5403924667       3/20/2012       17:44:37
36037      5403924667       3/30/2012       16:21:39
36038      5403924830       5/23/2012       16:35:52
36039      5403924830       5/26/2012       14:19:53
36040      5403926571       8/21/2012       14:00:08
36041      5403926571       10/5/2012       12:13:17
36042      5403928652       9/13/2011       17:49:06
36043      5403970160       8/23/2012       19:07:18
36044      5403974516       10/10/2011      12:12:55
36045      5403976119       1/4/2012        11:13:55
36046      5404051871       12/10/2011      13:11:44
36047      5404067102       9/8/2011        19:24:23
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36048      5404082008       11/23/2011      10:54:47
36049      5404145415       4/18/2012       7:07:10
36050      5404192157       10/5/2011       14:04:11
36051      5404192180       7/15/2011       17:24:39
36052      5404193429       10/19/2011      8:21:05
36053      5404193429       12/20/2011      19:34:11
36054      5404205294       11/17/2011      16:24:15
36055      5404234460       9/12/2012       7:42:35
36056      5404237072       3/16/2012       15:59:49
36057      5404237236       9/1/2012        9:22:09
36058      5404242721       2/13/2012       7:20:24
36059      5404251419       7/11/2012       17:18:25
36060      5404254840       9/27/2011       15:16:35
36061      5404291142       12/29/2011      19:45:21
36062      5404292836       11/11/2011      13:37:19
36063      5404294321       2/16/2012       7:01:39
36064      5404295613       10/25/2012      19:51:16
36065      5404296520       3/6/2012        17:03:48
36066      5404350566       5/5/2012        8:06:36
36067      5404351776       8/19/2011       12:10:32
36068      5404359061       9/16/2011       13:14:20
36069      5404359682       1/16/2012       17:24:51
36070      5404464458       9/27/2011       15:24:09
36071      5404469906       7/11/2012       9:28:34
36072      5404480314       8/15/2011       9:41:52
36073      5404481734       10/21/2011      13:14:32
36074      5404487045       8/16/2012       19:45:06
36075      5404493075       5/5/2012        8:14:47
36076      5404493157       11/4/2011       7:22:48
36077      5404551062       9/20/2011       18:03:30
36078      5404553381       7/13/2012       18:33:27
36079      5404553381       7/23/2012       15:27:10
36080      5404556107       5/20/2012       15:21:33
36081      5404557858       10/8/2011       10:37:53
36082      5404604370       3/6/2012        15:43:30
36083      5404605268       12/12/2011      12:08:00
36084      5404606043       5/9/2012        16:11:11
36085      5404760886       6/15/2012       8:46:25
36086      5404763403       8/25/2012       11:09:07
36087      5404800364       10/11/2012      7:51:47
36088      5404816000       3/23/2012       19:46:41
36089      5404870074       10/11/2011      16:05:06
36090      5404936054       10/10/2011      11:47:05
36091      5404936054       11/16/2011      9:32:51
36092      5404936778       8/8/2011        12:10:32
36093      5404939442       3/9/2012        7:11:02
36094      5404939544       9/26/2012       7:13:53
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36095      5404941302       5/25/2012       17:06:19
36096      5404941302       6/5/2012        7:05:08
36097      5404971294       5/2/2012        13:11:37
36098      5404972153       3/15/2011       11:33:05
36099      5404983222       10/3/2011       7:46:44
36100      5404987757       12/5/2011       8:24:27
36101      5405053632       10/11/2012      7:50:31
36102      5405056896       1/12/2012       7:09:40
36103      5405058055       6/30/2012       8:05:38
36104      5405058055       7/16/2012       19:35:42
36105      5405143181       6/13/2011       8:23:37
36106      5405148251       10/22/2012      17:47:55
36107      5405195739       10/11/2012      18:43:08
36108      5405208666       9/14/2011       7:05:39
36109      5405212545       1/27/2012       17:56:00
36110      5405219217       9/8/2011        19:42:06
36111      5405220808       10/17/2011      8:19:44
36112      5405222751       10/3/2012       19:47:43
36113      5405223004       8/2/2011        16:55:07
36114      5405223204       10/20/2011      16:15:03
36115      5405223204       5/21/2012       7:22:09
36116      5405224525       3/6/2012        17:13:04
36117      5405224568       11/4/2011       7:19:05
36118      5405225717       1/8/2012        13:01:12
36119      5405226040       2/14/2012       16:47:45
36120      5405226400       4/14/2012       10:56:34
36121      5405227151       12/20/2011      7:10:58
36122      5405227216       9/24/2012       13:04:03
36123      5405228182       5/13/2012       16:44:17
36124      5405229733       8/16/2012       19:58:52
36125      5405251271       11/7/2011       7:33:12
36126      5405252603       3/25/2012       11:53:09
36127      5405252603       4/5/2012        14:35:01
36128      5405258569       2/9/2012        7:08:22
36129      5405259276       10/3/2011       7:17:12
36130      5405297203       9/23/2011       11:35:24
36131      5405297203       11/17/2011      16:19:59
36132      5405335888       10/28/2011      13:23:10
36133      5405336317       11/19/2011      8:07:48
36134      5405339456       9/8/2012        11:20:26
36135      5405339631       12/26/2011      20:22:47
36136      5405355329       10/5/2011       14:00:44
36137      5405355582       10/8/2011       9:40:46
36138      5405358225       12/18/2011      16:56:04
36139      5405373333       10/10/2012      12:39:46
36140      5405383890       1/10/2012       18:12:40
36141      5405385668       12/26/2011      9:11:01
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36142      5405385744       10/8/2011       9:35:32
36143      5405507564       2/18/2012       8:57:26
36144      5405536763       5/23/2012       14:42:25
36145      5405560355       9/17/2011       9:26:45
36146      5405567207       5/23/2011       15:28:51
36147      5405588026       3/15/2012       19:03:56
36148      5405602257       1/6/2012        7:09:44
36149      5405602382       5/8/2012        7:11:13
36150      5405603947       10/21/2011      13:17:34
36151      5405604633       9/27/2012       7:30:35
36152      5405605909       11/19/2011      8:42:03
36153      5405607404       4/20/2012       14:14:59
36154      5405608213       11/18/2011      13:22:30
36155      5405608370       10/21/2011      14:37:30
36156      5405772013       7/23/2012       15:28:02
36157      5405777258       6/27/2012       17:55:01
36158      5405814152       3/14/2012       19:28:58
36159      5405815483       1/25/2012       9:25:47
36160      5405882525       6/25/2012       13:36:42
36161      5405882525       9/28/2012       14:22:41
36162      5405883737       8/20/2012       18:41:26
36163      5405887270       12/9/2011       15:58:33
36164      5405890223       10/5/2011       14:04:08
36165      5405892847       5/5/2012        8:13:32
36166      5405895633       9/16/2011       14:21:01
36167      5405896064       12/10/2011      13:15:16
36168      5405980971       7/13/2012       11:28:07
36169      5405980971       9/24/2012       18:50:58
36170      5405983013       9/21/2011       19:28:28
36171      5405987070       4/2/2012        17:32:17
36172      5405990709       2/2/2012        10:52:43
36173      5405990739       10/14/2011      12:48:25
36174      5405992008       5/3/2012        7:21:35
36175      5405992008       5/21/2012       7:32:20
36176      5405995669       3/27/2012       7:06:09
36177      5406048707       11/14/2011      15:51:24
36178      5406070012       3/26/2011       11:00:27
36179      5406076962       1/27/2012       7:20:40
36180      5406076962       2/11/2012       15:08:36
36181      5406076962       5/21/2012       7:24:54
36182      5406165289       5/13/2012       17:22:21
36183      5406168165       9/14/2012       7:05:22
36184      5406168493       5/16/2012       7:14:34
36185      5406218803       5/21/2012       7:41:19
36186      5406235724       9/14/2012       7:08:36
36187      5406237241       12/14/2011      14:02:15
36188      5406237344       11/14/2011      16:31:46
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36189      5406242169       1/6/2012        14:55:53
36190      5406290324       10/27/2011      15:01:08
36191      5406291674       6/15/2012       16:36:34
36192      5406411872       6/15/2012       18:03:03
36193      5406412669       11/1/2011       7:57:40
36194      5406412833       8/7/2012        17:51:28
36195      5406413826       11/17/2011      16:18:07
36196      5406453275       4/18/2012       17:55:53
36197      5406457754       9/26/2011       8:04:35
36198      5406457754       10/17/2011      7:45:25
36199      5406459562       3/2/2012        18:46:24
36200      5406493094       3/18/2011       9:18:44
36201      5406494547       10/6/2011       17:19:42
36202      5406625004       6/17/2012       12:25:52
36203      5406644713       8/24/2011       12:22:33
36204      5406646181       2/9/2012        7:16:02
36205      5406648171       5/10/2012       13:24:46
36206      5406710117       9/18/2012       14:24:05
36207      5406713431       10/1/2011       9:42:08
36208      5406713431       10/10/2011      12:18:30
36209      5406713431       3/6/2012        15:57:33
36210      5406715763       9/8/2011        18:34:20
36211      5406791014       8/30/2012       17:38:16
36212      5406831043       4/10/2012       16:10:15
36213      5406836217       10/4/2011       13:11:01
36214      5406839127       9/28/2011       10:08:06
36215      5406839518       9/21/2011       11:22:50
36216      5406865777       5/25/2012       17:15:23
36217      5406889777       8/14/2012       8:00:48
36218      5407176125       11/23/2011      10:16:00
36219      5407180338       3/16/2012       15:48:18
36220      5407181641       6/22/2012       7:10:34
36221      5407182475       6/16/2012       15:22:08
36222      5407182932       1/4/2012        11:02:16
36223      5407291667       4/22/2012       15:23:49
36224      5407293657       3/15/2012       19:26:52
36225      5407315114       12/28/2011      7:30:47
36226      5407482252       10/12/2011      12:00:02
36227      5407482252       10/17/2011      11:07:06
36228      5407483476       3/7/2012        7:10:01
36229      5407483476       5/21/2012       7:04:17
36230      5407615186       7/6/2012        16:44:28
36231      5407617711       8/30/2011       17:13:30
36232      5407619277       11/21/2011      7:20:24
36233      5407619277       6/20/2012       16:51:44
36234      5407658079       7/19/2011       17:49:19
36235      5407843915       7/19/2012       17:32:14
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36236      5407849092       9/14/2012       7:07:24
36237      5407884368       3/5/2012        13:08:26
36238      5407930713       4/5/2012        7:06:23
36239      5407930880       11/17/2011      16:02:48
36240      5407932354       5/21/2012       7:02:12
36241      5407932959       10/5/2012       18:15:31
36242      5407935073       9/26/2011       8:33:43
36243      5407970172       12/3/2011       9:34:45
36244      5407975934       9/14/2011       11:37:42
36245      5407981343       11/30/2011      14:51:07
36246      5407986312       9/20/2011       16:33:45
36247      5407989772       9/9/2011        7:42:44
36248      5408083801       5/13/2012       16:50:25
36249      5408089860       12/30/2011      7:03:49
36250      5408089860       1/13/2012       12:25:02
36251      5408089860       2/11/2012       15:24:02
36252      5408094850       7/14/2012       8:08:15
36253      5408096789       11/22/2011      19:02:53
36254      5408096955       3/27/2012       14:52:14
36255      5408103008       9/19/2011       7:11:02
36256      5408157746       11/26/2011      12:41:22
36257      5408165370       4/26/2012       11:35:09
36258      5408170705       10/29/2011      11:31:23
36259      5408182916       5/18/2012       15:38:56
36260      5408183601       5/23/2011       15:46:20
36261      5408184202       11/14/2011      14:17:13
36262      5408185631       5/9/2011        16:53:32
36263      5408186653       10/5/2011       14:31:32
36264      5408186693       9/12/2012       7:42:06
36265      5408188816       10/20/2011      15:59:20
36266      5408190684       3/10/2011       15:28:27
36267      5408191700       12/20/2011      19:19:52
36268      5408198800       4/15/2012       16:38:34
36269      5408204354       10/17/2011      7:15:07
36270      5408277199       12/31/2011      11:58:57
36271      5408399034       9/21/2012       15:27:55
36272      5408405064       9/21/2012       18:52:54
36273      5408406225       7/2/2012        14:58:26
36274      5408408100       4/23/2011       10:13:11
36275      5408417855       7/21/2012       10:44:14
36276      5408421969       12/19/2011      7:21:23
36277      5408429606       10/5/2011       14:33:43
36278      5408429606       10/14/2011      12:47:13
36279      5408458701       2/20/2012       16:48:40
36280      5408482181       10/18/2011      12:51:53
36281      5408497074       10/5/2011       13:59:09
36282      5408499669       10/10/2011      11:47:39
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36283      5408500599       3/27/2012       15:02:02
36284      5408710943       10/16/2012      16:42:26
36285      5408721237       2/13/2012       18:40:04
36286      5408756160       6/19/2012       13:17:29
36287      5408756566       10/11/2011      16:06:59
36288      5408757262       9/13/2011       14:50:57
36289      5408757831       7/14/2011       15:33:30
36290      5408758666       1/27/2012       7:14:11
36291      5408759062       1/26/2012       7:18:04
36292      5408759062       5/21/2012       7:03:32
36293      5408779783       12/5/2011       8:58:30
36294      5408842407       5/25/2012       17:06:16
36295      5408910077       11/23/2011      9:28:05
36296      5408910077       5/21/2012       7:22:27
36297      5408920935       8/23/2011       19:01:19
36298      5408924575       10/10/2011      12:15:18
36299      5408947761       9/21/2012       15:35:54
36300      5409048005       4/5/2012        14:34:55
36301      5409048427       3/24/2012       9:54:14
36302      5409056944       7/11/2011       7:07:10
36303      5409072808       9/8/2011        19:40:58
36304      5409072878       10/11/2011      17:05:07
36305      5409081313       12/9/2011       7:57:45
36306      5409152773       7/13/2012       18:25:45
36307      5409153503       10/2/2012       12:53:33
36308      5409154994       8/23/2012       11:47:07
36309      5409222599       9/13/2011       7:18:09
36310      5409227048       9/12/2011       13:07:09
36311      5409311718       10/28/2011      14:06:17
36312      5409313309       9/17/2012       7:37:13
36313      5409318281       2/26/2012       13:50:46
36314      5409400489       10/3/2011       7:05:21
36315      5409582655       5/21/2012       7:02:40
36316      5409588174       12/26/2011      15:15:44
36317      5409600345       11/22/2011      19:11:12
36318      5409677531       11/29/2011      15:28:05
36319      5409683252       12/29/2011      17:57:07
36320      5409742272       4/24/2012       18:05:54
36321      5409745380       10/21/2011      13:07:29
36322      5409745430       7/12/2012       19:59:54
36323      5409746724       10/5/2011       14:27:22
36324      5409752392       9/19/2011       19:30:28
36325      5409753298       2/20/2012       16:47:40
36326      5409986901       2/28/2012       16:02:43
36327      5409989946       10/27/2011      15:13:26
36328      5409989946       2/1/2012        8:06:55
36329      5412052098       5/11/2012       18:29:25
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36330      5412052498       5/8/2012        15:50:34
36331      5412069498       3/19/2012       12:05:52
36332      5412069498       3/23/2012       19:55:03
36333      5412076829       9/10/2012       10:19:50
36334      5412120020       3/16/2012       10:07:00
36335      5412120744       8/26/2011       17:52:20
36336      5412121148       3/30/2012       16:14:25
36337      5412122037       1/19/2012       18:32:01
36338      5412122037       2/6/2012        17:04:07
36339      5412122037       2/16/2012       9:20:47
36340      5412125080       4/10/2012       12:05:59
36341      5412125562       10/24/2012      15:04:46
36342      5412128648       5/1/2012        9:28:43
36343      5412159085       8/9/2012        21:57:16
36344      5412161902       12/22/2011      9:17:26
36345      5412170627       10/7/2012       13:14:51
36346      5412187062       6/24/2012       13:59:19
36347      5412204959       12/15/2011      21:49:07
36348      5412210937       10/14/2011      14:51:16
36349      5412214866       11/18/2011      12:12:32
36350      5412229490       7/23/2011       13:23:11
36351      5412232112       10/15/2011      10:06:41
36352      5412273503       1/11/2012       16:32:41
36353      5412278187       5/11/2012       18:29:02
36354      5412300906       5/11/2012       12:33:23
36355      5412310572       12/26/2011      20:15:16
36356      5412320704       4/17/2012       11:24:50
36357      5412322158       10/14/2011      13:33:54
36358      5412322598       6/7/2012        18:26:18
36359      5412326979       1/5/2012        14:10:36
36360      5412326979       2/3/2012        20:07:10
36361      5412327389       7/27/2012       14:04:18
36362      5412329383       1/12/2012       14:38:25
36363      5412333816       1/20/2012       11:53:02
36364      5412336537       7/23/2012       15:23:28
36365      5412400014       6/5/2012        18:00:55
36366      5412400962       6/13/2011       14:41:52
36367      5412521975       8/28/2012       21:55:06
36368      5412602801       1/4/2012        11:31:21
36369      5412606464       3/11/2012       16:07:59
36370      5412606464       7/2/2012        17:27:36
36371      5412616080       1/16/2012       12:07:10
36372      5412618939       1/25/2012       20:27:13
36373      5412631590       11/23/2011      10:06:12
36374      5412701268       6/5/2012        17:54:19
36375      5412702528       7/20/2011       15:10:47
36376      5412721803       9/26/2011       13:19:12
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36377      5412721803       10/3/2011       10:43:08
36378      5412721803       6/14/2012       20:48:51
36379      5412722498       4/13/2012       20:42:51
36380      5412740557       6/20/2012       16:58:30
36381      5412740894       10/25/2011      16:44:34
36382      5412741404       1/13/2012       12:28:09
36383      5412741404       1/20/2012       11:55:48
36384      5412804936       2/13/2012       18:33:09
36385      5412806429       9/13/2011       14:33:56
36386      5412810904       11/26/2011      13:49:11
36387      5412811796       10/13/2011      10:33:54
36388      5412813757       4/2/2012        12:52:32
36389      5412819039       2/21/2012       20:55:43
36390      5412819751       4/19/2012       14:39:45
36391      5412823477       11/19/2011      10:40:41
36392      5412823556       12/12/2011      12:04:52
36393      5412882077       2/24/2012       20:53:01
36394      5412883463       10/7/2011       10:15:24
36395      5412900696       10/25/2012      12:18:55
36396      5412900697       10/24/2012      15:01:34
36397      5412903841       8/6/2012        15:39:29
36398      5412906743       6/4/2012        21:07:57
36399      5412909183       9/22/2011       16:18:34
36400      5412913912       7/19/2011       17:32:31
36401      5412924017       9/13/2011       13:45:45
36402      5412927331       10/22/2011      12:50:31
36403      5412943052       1/29/2014       20:55:53
36404      5412976782       4/19/2012       15:18:22
36405      5413013601       12/26/2011      10:22:37
36406      5413015577       8/3/2012        12:30:52
36407      5413015577       8/8/2012        16:15:22
36408      5413017692       12/21/2011      10:33:37
36409      5413061366       4/21/2012       16:29:15
36410      5413067469       12/18/2011      16:32:13
36411      5413068215       3/15/2012       13:56:16
36412      5413107767       8/14/2012       11:40:08
36413      5413128315       6/14/2012       15:59:47
36414      5413148410       2/12/2012       16:03:29
36415      5413151815       6/5/2012        15:44:33
36416      5413242025       8/8/2012        16:15:32
36417      5413244737       3/12/2012       11:29:42
36418      5413245131       3/21/2011       11:36:18
36419      5413246515       1/25/2012       20:41:49
36420      5413247433       3/15/2012       19:36:21
36421      5413259093       7/17/2012       21:56:28
36422      5413261276       10/17/2011      11:03:11
36423      5413314180       9/22/2012       9:40:02
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36424      5413371810       5/7/2012        21:36:20
36425      5413371810       5/11/2012       18:29:30
36426      5413371810       6/21/2012       10:19:53
36427      5413378601       12/10/2011      12:32:24
36428      5413508676       5/20/2012       15:55:05
36429      5413610204       7/14/2011       10:29:29
36430      5413785058       10/1/2011       10:56:56
36431      5413788104       12/2/2011       14:37:32
36432      5413788250       4/16/2012       16:11:12
36433      5413793899       9/22/2011       16:22:35
36434      5413799140       7/14/2011       17:00:59
36435      5413881662       7/9/2012        19:16:16
36436      5413896147       11/30/2011      15:02:06
36437      5413904387       5/22/2012       18:46:37
36438      5413906621       5/17/2012       12:13:52
36439      5413982498       9/21/2011       11:38:04
36440      5414008257       3/6/2012        15:53:51
36441      5414015638       11/11/2011      20:29:44
36442      5414030011       5/29/2012       17:16:33
36443      5414031906       10/3/2011       10:45:43
36444      5414031906       1/16/2012       12:16:47
36445      5414031966       5/17/2011       9:46:45
36446      5414034097       4/28/2012       10:17:36
36447      5414040619       8/23/2012       21:07:08
36448      5414045899       7/2/2012        15:30:21
36449      5414048271       11/30/2011      12:53:00
36450      5414052838       10/15/2011      10:10:17
36451      5414055672       6/23/2012       10:33:24
36452      5414058212       9/23/2011       11:54:02
36453      5414080180       10/1/2011       10:55:38
36454      5414080358       11/21/2011      10:38:22
36455      5414086933       3/6/2012        20:31:43
36456      5414095263       11/2/2011       16:23:59
36457      5414105135       12/20/2011      19:40:55
36458      5414106812       12/9/2011       13:34:03
36459      5414152930       10/9/2012       20:05:52
36460      5414170553       2/15/2012       14:55:06
36461      5414181397       11/21/2011      10:52:19
36462      5414190301       8/21/2012       13:55:17
36463      5414191662       8/22/2012       11:15:26
36464      5414193594       5/2/2012        13:18:54
36465      5414194076       10/18/2011      12:38:10
36466      5414201663       3/19/2012       19:28:16
36467      5414203424       6/29/2012       17:52:32
36468      5414207966       3/8/2012        15:35:31
36469      5414303702       12/15/2011      10:16:31
36470      5414307458       8/13/2012       11:02:22
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36471      5414410436       11/18/2011      12:34:31
36472      5414411605       10/20/2011      16:38:25
36473      5414411878       3/6/2012        16:08:54
36474      5414413069       3/26/2012       18:32:36
36475      5414413069       4/11/2012       11:32:26
36476      5414503632       10/7/2011       17:37:47
36477      5414601868       12/21/2011      19:59:47
36478      5414602494       1/10/2012       15:23:55
36479      5414651663       5/7/2012        21:38:11
36480      5414994906       6/11/2012       17:38:14
36481      5414995524       9/17/2011       10:30:50
36482      5415012239       2/6/2012        17:06:13
36483      5415013865       11/2/2013       15:46:29
36484      5415014259       9/8/2011        18:15:56
36485      5415088250       6/9/2012        15:08:42
36486      5415101034       5/26/2012       10:13:00
36487      5415103495       3/28/2012       12:40:06
36488      5415103564       6/14/2012       12:38:56
36489      5415105648       6/4/2011        10:50:42
36490      5415106526       3/31/2012       18:10:12
36491      5415135625       6/24/2012       13:49:58
36492      5415148226       7/21/2012       10:33:13
36493      5415153771       7/12/2012       13:26:39
36494      5415178073       4/16/2011       15:46:48
36495      5415178369       6/24/2012       13:59:35
36496      5415202593       5/9/2012        21:03:35
36497      5415208689       10/20/2011      16:35:38
36498      5415216050       7/23/2012       13:10:07
36499      5415251439       4/2/2012        12:56:08
36500      5415251747       9/21/2012       16:10:40
36501      5415254708       3/30/2012       16:11:13
36502      5415311976       10/15/2011      11:07:51
36503      5415311976       12/7/2011       16:27:41
36504      5415313796       10/22/2012      10:30:59
36505      5415315376       6/5/2012        18:02:13
36506      5415316624       9/8/2011        18:53:05
36507      5415316756       11/8/2011       14:42:17
36508      5415318255       7/21/2011       14:29:51
36509      5415380258       8/14/2012       21:02:50
36510      5415380304       8/29/2012       20:23:46
36511      5415380304       10/20/2012      16:35:15
36512      5415389814       1/6/2012        14:43:22
36513      5415430890       2/8/2012        12:55:54
36514      5415431710       5/7/2012        21:42:07
36515      5415540429       5/22/2012       18:32:27
36516      5415547103       2/17/2012       18:14:23
36517      5415564399       6/14/2012       20:48:50
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36518      5415565565       5/10/2012       21:32:13
36519      5415610168       7/25/2012       20:40:14
36520      5415611216       9/21/2011       19:48:09
36521      5415612465       7/27/2011       17:54:59
36522      5415614917       10/3/2011       10:39:31
36523      5415702833       9/21/2012       18:56:35
36524      5415702953       9/21/2011       19:36:34
36525      5415711961       2/9/2012        14:35:22
36526      5415714685       4/19/2012       14:49:35
36527      5415718645       10/1/2011       10:57:30
36528      5415719162       9/20/2012       14:46:29
36529      5415794960       4/30/2012       21:08:41
36530      5415890400       10/11/2011      17:46:26
36531      5415910764       12/23/2011      13:31:52
36532      5415913728       5/24/2012       11:58:27
36533      5415918661       3/15/2012       19:21:07
36534      5415985419       6/7/2012        21:27:28
36535      5416012195       9/10/2011       12:35:40
36536      5416017798       10/15/2011      11:15:53
36537      5416021980       12/23/2011      13:39:17
36538      5416060145       11/21/2011      10:57:06
36539      5416060671       7/31/2012       15:44:56
36540      5416062175       1/3/2012        16:44:01
36541      5416062296       9/19/2011       19:38:06
36542      5416063901       5/16/2011       13:20:26
36543      5416063920       11/17/2011      15:52:18
36544      5416064327       1/27/2012       18:08:43
36545      5416064664       10/1/2012       13:40:47
36546      5416065600       8/31/2012       16:32:16
36547      5416067281       11/22/2011      19:45:30
36548      5416069204       9/20/2012       14:45:54
36549      5416098406       11/29/2011      15:50:49
36550      5416106435       1/19/2012       18:45:00
36551      5416106838       12/26/2011      20:39:33
36552      5416109603       2/28/2012       13:44:33
36553      5416130104       3/19/2011       10:45:31
36554      5416135636       10/7/2011       8:08:35
36555      5416135907       10/4/2011       13:59:34
36556      5416213383       11/21/2011      10:44:37
36557      5416214005       9/16/2011       13:40:42
36558      5416216327       4/21/2011       18:39:10
36559      5416219414       9/23/2011       19:06:24
36560      5416263032       8/17/2012       10:06:59
36561      5416438001       11/26/2011      13:53:47
36562      5416438586       5/21/2011       11:18:20
36563      5416438819       12/18/2011      17:19:18
36564      5416439819       2/6/2012        10:21:44
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36565      5416460260       12/30/2013      17:04:19
36566      5416461638       6/9/2012        10:39:15
36567      5416478029       4/2/2012        12:51:06
36568      5416479170       2/13/2012       11:36:56
36569      5416530086       3/1/2012        17:32:57
36570      5416533436       12/18/2011      17:19:23
36571      5416534027       11/30/2011      13:14:07
36572      5416534027       2/13/2012       18:36:56
36573      5416535652       11/18/2011      13:35:09
36574      5416537083       12/10/2011      14:05:02
36575      5416590199       11/10/2011      14:48:29
36576      5416592273       11/27/2013      14:05:29
36577      5416592961       1/6/2012        14:44:20
36578      5416598057       2/4/2012        13:17:41
36579      5416604300       4/22/2012       15:45:24
36580      5416636162       11/22/2011      19:46:09
36581      5416781483       11/29/2011      16:14:18
36582      5416788070       9/23/2011       10:14:11
36583      5416788522       5/18/2012       12:08:15
36584      5416904192       5/21/2011       11:15:44
36585      5416906602       11/7/2011       11:02:26
36586      5416909037       10/20/2012      16:24:15
36587      5416933017       11/2/2011       14:35:07
36588      5416934703       1/25/2012       18:22:03
36589      5416970002       3/5/2012        11:01:55
36590      5417070218       9/15/2011       10:56:14
36591      5417090977       10/23/2012      20:19:11
36592      5417206071       4/25/2012       18:40:17
36593      5417206857       8/12/2011       11:43:30
36594      5417269276       1/23/2012       19:23:24
36595      5417287372       9/14/2012       21:07:57
36596      5417293761       2/15/2012       21:04:46
36597      5417300678       9/18/2012       14:30:23
36598      5417302386       6/11/2012       18:13:10
36599      5417332157       6/6/2011        17:35:28
36600      5417333362       10/11/2012      11:52:48
36601      5417335456       2/13/2012       11:41:24
36602      5417339077       9/21/2012       18:51:53
36603      5417366071       5/10/2012       16:09:09
36604      5417560393       3/18/2011       10:46:20
36605      5417605811       4/23/2012       20:44:55
36606      5417609432       3/4/2012        12:44:59
36607      5417610020       3/27/2012       14:57:05
36608      5417613614       3/2/2012        19:04:58
36609      5417616127       11/25/2013      16:35:43
36610      5417712142       12/21/2011      10:02:08
36611      5417712142       6/4/2012        10:03:55
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36612      5417786429       10/11/2012      18:33:49
36613      5417788028       9/12/2011       14:34:08
36614      5417789529       4/21/2012       10:17:23
36615      5417845383       1/16/2012       12:10:34
36616      5417865380       12/9/2011       13:12:29
36617      5417881035       11/28/2011      12:29:44
36618      5417882617       8/20/2012       18:46:58
36619      5417882617       10/5/2012       18:21:05
36620      5417889639       1/16/2012       17:19:27
36621      5418054217       3/7/2012        10:03:28
36622      5418058671       11/16/2011      20:08:14
36623      5418101961       2/18/2012       10:23:41
36624      5418210264       12/27/2011      14:24:36
36625      5418299807       10/10/2011      13:04:05
36626      5418401946       9/28/2012       16:37:11
36627      5418402219       7/21/2011       14:24:25
36628      5418402219       7/22/2011       13:04:44
36629      5418406535       7/20/2012       14:56:14
36630      5418444241       6/12/2012       17:18:19
36631      5418445508       10/1/2012       13:40:56
36632      5418520997       10/12/2012      21:27:28
36633      5418520997       10/18/2012      16:39:00
36634      5418525032       7/21/2012       10:51:46
36635      5418640831       6/5/2012        17:56:06
36636      5418640880       4/5/2012        21:48:43
36637      5418684835       11/8/2011       14:47:16
36638      5418900601       1/8/2012        16:52:54
36639      5418902766       11/25/2011      18:03:33
36640      5418906475       3/15/2012       19:21:09
36641      5418906557       6/14/2012       20:48:47
36642      5418907385       5/5/2011        13:24:33
36643      5418907992       11/3/2011       18:06:29
36644      5418907992       11/22/2011      19:02:09
36645      5418913259       11/19/2011      10:38:30
36646      5418913264       5/4/2012        18:14:47
36647      5418920515       12/8/2011       21:00:51
36648      5418920799       5/9/2012        21:06:36
36649      5418923019       3/14/2012       19:38:13
36650      5419051830       11/25/2011      18:35:27
36651      5419085419       6/29/2012       17:40:51
36652      5419085712       7/25/2011       18:12:47
36653      5419105090       12/17/2011      11:43:38
36654      5419135337       10/25/2011      16:18:59
36655      5419147931       3/15/2012       19:21:02
36656      5419151265       7/6/2012        16:55:54
36657      5419225843       11/12/2011      11:04:05
36658      5419362954       9/21/2011       19:37:06
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36659      5419385797       11/23/2011      15:00:22
36660      5419411131       9/24/2011       10:10:03
36661      5419413943       1/31/2012       10:25:02
36662      5419416371       6/9/2012        14:49:31
36663      5419418935       5/8/2012        12:47:45
36664      5419442453       9/24/2012       19:15:12
36665      5419511385       10/13/2011      10:33:04
36666      5419511979       5/10/2012       14:52:10
36667      5419513823       8/23/2012       11:56:57
36668      5419513824       8/24/2012       11:05:01
36669      5419516143       9/20/2011       17:04:13
36670      5419537010       10/8/2011       12:07:19
36671      5419539255       5/3/2012        21:13:48
36672      5419547343       11/11/2011      20:15:42
36673      5419686287       1/24/2012       17:10:00
36674      5419688420       4/1/2012        17:50:29
36675      5419691255       11/8/2011       14:07:07
36676      5419691894       7/30/2012       13:40:52
36677      5419694833       12/10/2013      19:01:05
36678      5419697015       12/17/2011      12:19:11
36679      5419697863       1/12/2012       14:09:25
36680      5419712837       11/14/2011      14:23:29
36681      5419715619       9/2/2011        12:10:43
36682      5419733136       5/3/2012        21:19:38
36683      5419733802       8/13/2012       20:54:42
36684      5419736686       9/12/2011       14:39:11
36685      5419739100       3/26/2011       12:44:50
36686      5419744413       6/15/2012       15:48:16
36687      5419772938       2/2/2012        16:35:27
36688      5419776444       7/26/2011       10:49:49
36689      5419776972       1/26/2012       10:13:14
36690      5419778343       9/10/2012       21:08:05
36691      5419800968       9/22/2011       16:22:54
36692      5419805927       10/8/2011       12:23:56
36693      5419809598       11/22/2011      19:44:48
36694      5419920206       8/6/2011        11:44:48
36695      5419921724       8/17/2011       18:59:23
36696      5419922292       3/2/2012        18:52:00
36697      5419925602       9/23/2013       21:31:42
36698      5419934229       12/12/2011      16:26:32
36699      5419973419       7/28/2013       15:02:23
36700      5419990000       12/27/2011      14:42:21
36701      5419991618       7/16/2012       19:33:44
36702      5419994415       12/27/2011      14:42:06
36703      5512001866       11/21/2011      7:12:38
36704      5512003498       12/23/2011      14:41:50
36705      5512007097       10/10/2012      19:04:19
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36706      5512080408       1/6/2012        14:50:27
36707      5512084847       10/8/2011       9:19:04
36708      5512088079       5/19/2012       16:04:57
36709      5512212988       11/17/2011      16:14:09
36710      5512213325       6/21/2012       18:49:24
36711      5512214858       12/2/2011       7:43:21
36712      5512658163       7/2/2011        8:36:20
36713      5513587080       9/8/2011        19:39:42
36714      5514822633       11/11/2011      20:31:22
36715      5514865143       9/12/2011       13:04:17
36716      5514973319       6/28/2012       14:19:48
36717      5515561454       5/31/2012       14:57:16
36718      5515562259       10/26/2011      12:05:30
36719      5515562259       11/8/2011       14:24:16
36720      5515568675       1/19/2012       7:12:15
36721      5515745717       5/6/2012        17:45:44
36722      5515801068       10/7/2011       8:11:07
36723      5515803204       11/8/2011       14:14:40
36724      5515803979       9/13/2011       17:37:11
36725      5515870154       9/15/2011       7:46:13
36726      5516555527       5/23/2012       16:24:09
36727      5516899737       1/14/2012       13:20:45
36728      5516972492       6/25/2011       8:27:10
36729      5516977711       4/10/2012       15:58:41
36730      5519980110       7/14/2011       15:31:49
36731      5519988048       11/7/2011       9:13:13
36732      5592025805       11/16/2011      20:02:52
36733      5592027041       10/10/2011      12:58:31
36734      5592028004       1/27/2014       13:07:16
36735      5592028046       6/27/2012       12:26:43
36736      5592101318       8/18/2012       10:53:15
36737      5592120230       11/5/2011       10:35:27
36738      5592128362       7/23/2012       15:13:39
36739      5592128895       6/24/2011       11:34:55
36740      5592130070       9/24/2012       18:57:03
36741      5592132755       1/18/2012       16:56:59
36742      5592134716       9/6/2012        12:26:11
36743      5592134807       3/8/2012        15:42:42
36744      5592135598       8/30/2011       17:43:32
36745      5592135654       9/24/2011       10:12:15
36746      5592135654       11/30/2011      13:13:51
36747      5592135756       10/23/2012      16:11:58
36748      5592136672       5/2/2012        13:29:40
36749      5592137495       9/29/2011       16:02:17
36750      5592137495       10/11/2011      17:48:59
36751      5592138412       12/20/2011      19:28:46
36752      5592138428       7/24/2012       14:48:23
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36753      5592171414       7/13/2012       18:30:38
36754      5592172819       9/19/2012       21:29:05
36755      5592178383       1/18/2012       16:44:32
36756      5592327371       9/1/2011        15:21:47
36757      5592328439       10/10/2011      12:08:13
36758      5592329129       12/19/2011      11:23:59
36759      5592329560       9/12/2011       14:35:59
36760      5592414775       2/19/2012       20:11:40
36761      5592436379       2/2/2012        21:02:10
36762      5592436610       4/27/2012       21:05:45
36763      5592463340       12/6/2011       13:48:05
36764      5592503271       4/23/2012       13:06:57
36765      5592599031       5/4/2012        18:23:44
36766      5592600229       4/10/2012       16:16:04
36767      5592607070       10/15/2011      9:20:45
36768      5592691808       4/26/2012       11:36:30
36769      5592693407       12/5/2011       10:27:59
36770      5592697949       10/6/2011       17:13:14
36771      5592698754       6/7/2012        16:37:41
36772      5592702855       11/28/2011      17:05:36
36773      5592704914       10/8/2011       12:29:38
36774      5592731665       10/4/2011       13:31:02
36775      5592733681       5/5/2012        12:27:04
36776      5592743971       6/26/2012       21:15:18
36777      5592809664       1/19/2012       18:35:34
36778      5592813356       5/12/2012       10:24:08
36779      5592816599       7/9/2012        19:04:20
36780      5592818219       10/15/2012      16:24:20
36781      5592830939       10/29/2011      12:00:38
36782      5592838626       1/18/2012       16:45:34
36783      5592839963       4/26/2012       21:09:46
36784      5592849910       9/27/2012       16:43:36
36785      5592867994       1/12/2012       14:38:50
36786      5592871606       3/16/2012       15:53:28
36787      5592874842       6/6/2012        21:17:41
36788      5592875119       10/12/2011      11:59:20
36789      5592876778       9/21/2011       12:04:47
36790      5592876918       1/17/2012       18:36:45
36791      5592880693       8/18/2012       10:52:33
36792      5592883206       2/17/2012       18:14:58
36793      5592891600       6/6/2012        10:16:37
36794      5592893768       8/2/2012        18:58:49
36795      5593000786       9/8/2011        19:13:25
36796      5593002513       1/7/2014        21:22:12
36797      5593002760       3/23/2012       19:43:11
36798      5593003496       2/15/2012       21:03:29
36799      5593003640       9/8/2011        19:38:29
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36800      5593005324       6/1/2012        10:41:16
36801      5593005456       1/31/2012       10:05:36
36802      5593006689       7/26/2012       12:24:00
36803      5593006741       7/24/2012       20:29:12
36804      5593008463       3/7/2012        19:00:46
36805      5593008682       9/30/2011       10:03:00
36806      5593014982       4/13/2012       13:43:03
36807      5593016427       9/17/2011       10:09:47
36808      5593020504       10/24/2012      15:01:33
36809      5593030117       4/20/2012       20:55:10
36810      5593030740       10/17/2011      11:06:09
36811      5593034513       6/24/2011       11:28:50
36812      5593034631       9/26/2011       13:21:56
36813      5593046373       9/19/2011       19:37:22
36814      5593050244       9/18/2012       21:29:26
36815      5593050497       12/1/2011       10:26:28
36816      5593051023       9/13/2011       16:31:43
36817      5593053970       8/15/2011       10:54:11
36818      5593055243       6/26/2012       16:20:31
36819      5593064119       2/6/2012        10:19:07
36820      5593067519       2/1/2012        8:40:50
36821      5593067519       10/10/2012      19:13:12
36822      5593072068       9/8/2011        19:12:16
36823      5593075213       10/24/2012      15:03:02
36824      5593080189       12/9/2011       13:13:48
36825      5593081043       4/2/2012        12:55:15
36826      5593081432       4/4/2012        14:08:07
36827      5593082051       8/29/2012       20:19:37
36828      5593082381       3/23/2012       19:55:47
36829      5593085757       8/2/2012        18:51:30
36830      5593086916       2/10/2012       20:44:42
36831      5593088144       3/14/2012       14:14:24
36832      5593092453       4/26/2012       21:20:57
36833      5593093272       10/8/2011       12:21:37
36834      5593093363       3/27/2012       15:07:35
36835      5593093732       12/12/2011      16:43:54
36836      5593100273       10/6/2011       17:04:30
36837      5593102217       1/27/2012       17:49:53
36838      5593128479       1/9/2012        18:48:47
36839      5593134740       5/30/2012       16:59:27
36840      5593139476       7/16/2012       19:54:53
36841      5593144721       7/25/2011       18:10:41
36842      5593186589       11/23/2011      10:11:36
36843      5593187089       11/19/2011      10:34:41
36844      5593205193       5/1/2012        17:50:02
36845      5593214070       10/6/2011       17:06:20
36846      5593214828       9/19/2011       19:21:17
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36847      5593215141       12/5/2011       10:46:16
36848      5593269159       5/5/2012        12:21:40
36849      5593329126       5/20/2012       15:56:24
36850      5593336271       2/3/2012        14:41:01
36851      5593347630       9/10/2011       12:37:58
36852      5593348874       9/24/2011       10:08:38
36853      5593410841       12/31/2011      12:12:12
36854      5593411726       8/24/2013       12:55:46
36855      5593474330       3/29/2012       16:48:58
36856      5593477422       2/6/2012        17:04:47
36857      5593478907       12/28/2011      11:08:04
36858      5593491288       6/5/2012        19:49:58
36859      5593497275       9/28/2011       10:39:50
36860      5593499140       10/21/2011      13:24:26
36861      5593524311       3/15/2012       19:09:29
36862      5593527288       10/25/2011      15:44:54
36863      5593530738       5/24/2011       16:15:47
36864      5593559342       10/11/2011      16:35:47
36865      5593560933       12/7/2011       17:54:59
36866      5593566589       2/29/2012       17:28:19
36867      5593585010       4/9/2012        17:57:08
36868      5593585788       8/30/2012       17:39:16
36869      5593595677       4/20/2012       20:49:58
36870      5593604638       9/13/2011       18:25:04
36871      5593609530       10/11/2012      18:44:04
36872      5593610311       5/15/2012       19:03:41
36873      5593612249       12/18/2011      16:21:30
36874      5593615952       6/28/2012       12:37:42
36875      5593618707       7/11/2012       15:53:33
36876      5593628645       3/3/2012        10:40:58
36877      5593631703       4/23/2012       13:08:19
36878      5593631768       10/9/2012       11:46:42
36879      5593633505       10/12/2011      11:55:46
36880      5593633901       5/29/2012       10:59:54
36881      5593634405       7/5/2012        15:38:03
36882      5593639229       10/13/2011      10:35:33
36883      5593678429       8/16/2012       19:55:39
36884      5593679633       7/20/2011       14:09:51
36885      5593750018       10/12/2012      16:47:54
36886      5593752029       8/29/2012       11:05:16
36887      5593754704       1/6/2012        15:07:16
36888      5593754705       5/10/2012       15:05:36
36889      5593755197       1/21/2012       11:17:24
36890      5593755443       4/20/2012       20:54:50
36891      5593755936       3/9/2012        15:50:08
36892      5593755936       4/23/2012       20:44:50
36893      5593756798       10/24/2012      21:12:39
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36894      5593806835       10/14/2011      19:28:44
36895      5593807232       12/6/2011       13:54:40
36896      5593812162       3/15/2012       19:21:02
36897      5593893814       4/6/2012        15:47:32
36898      5593893894       5/23/2012       14:49:54
36899      5593898177       11/9/2011       10:35:49
36900      5593898226       1/31/2012       10:14:24
36901      5593899969       12/27/2011      14:24:40
36902      5593921740       6/9/2012        14:48:18
36903      5593922243       8/29/2012       20:19:49
36904      5593928853       9/26/2011       13:19:15
36905      5593940462       2/7/2012        16:36:11
36906      5593942814       10/22/2011      13:22:05
36907      5593943718       10/29/2011      12:02:49
36908      5593943752       11/22/2011      18:57:16
36909      5593944346       7/31/2012       21:05:25
36910      5593945078       3/26/2012       14:52:04
36911      5593953266       10/7/2011       17:44:18
36912      5593953631       2/19/2012       20:10:36
36913      5593956733       9/13/2012       15:23:01
36914      5593972256       11/28/2011      11:33:01
36915      5593972710       11/28/2011      17:05:41
36916      5593973065       9/30/2011       10:27:29
36917      5593973687       7/25/2012       12:00:32
36918      5594036438       4/24/2012       12:44:59
36919      5594039581       9/13/2012       21:30:05
36920      5594039820       6/12/2012       17:18:14
36921      5594106777       1/13/2012       12:46:32
36922      5594121115       8/29/2012       20:22:49
36923      5594121625       3/24/2012       10:36:38
36924      5594121793       12/18/2011      16:37:30
36925      5594126425       9/6/2012        12:25:26
36926      5594155627       6/26/2012       21:14:37
36927      5594161393       8/20/2012       10:13:53
36928      5594161393       8/27/2012       14:45:33
36929      5594176085       9/29/2011       15:56:30
36930      5594177870       10/23/2012      10:57:12
36931      5594218827       10/10/2012      12:51:30
36932      5594291696       12/10/2011      13:55:20
36933      5594305771       4/21/2012       10:08:53
36934      5594306677       1/3/2012        16:39:13
36935      5594337000       4/14/2012       8:48:17
36936      5594486939       9/24/2012       14:40:45
36937      5594517317       5/15/2012       11:11:26
36938      5594517317       5/31/2012       10:12:33
36939      5594517498       7/11/2012       17:17:22
36940      5594553481       1/10/2012       21:34:16
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36941      5594557748       10/20/2011      16:40:20
36942      5594557836       7/19/2011       17:34:32
36943      5594581758       2/1/2012        13:34:09
36944      5594583012       10/18/2012      14:32:10
36945      5594583816       7/21/2012       10:16:00
36946      5594585321       10/5/2012       18:24:44
36947      5594586990       12/10/2011      14:00:16
36948      5594589676       9/24/2012       12:57:45
36949      5594691429       10/10/2011      13:19:35
36950      5594691673       6/19/2012       15:46:01
36951      5594696159       9/19/2011       19:36:15
36952      5594701609       5/8/2012        10:10:09
36953      5594701955       10/8/2011       10:25:36
36954      5594737210       10/18/2012      14:38:59
36955      5594737283       5/19/2012       10:57:08
36956      5594738378       1/13/2012       17:46:20
36957      5594741451       3/29/2011       16:35:43
36958      5594742988       11/18/2011      13:08:37
36959      5594746099       9/19/2011       19:37:40
36960      5594746470       9/11/2012       21:24:00
36961      5594752841       9/12/2011       13:39:31
36962      5594752868       9/9/2011        18:36:05
36963      5594753063       1/6/2012        13:01:39
36964      5594770214       5/25/2012       17:12:46
36965      5594773553       10/15/2011      11:07:53
36966      5594773918       11/19/2011      10:36:40
36967      5594773918       12/27/2011      14:42:47
36968      5594775399       1/9/2012        18:19:35
36969      5594776995       9/15/2012       11:20:46
36970      5594777745       10/12/2011      11:56:28
36971      5594778196       3/6/2012        16:07:12
36972      5594778445       6/11/2012       18:12:03
36973      5594779393       10/10/2011      13:04:33
36974      5594790135       9/27/2012       16:32:15
36975      5594930397       1/6/2012        14:54:43
36976      5594939795       5/13/2012       18:07:27
36977      5594939836       8/8/2012        16:09:35
36978      5594958459       9/8/2011        19:36:22
36979      5594969655       6/4/2012        21:10:45
36980      5595139191       4/23/2012       20:36:41
36981      5595190112       1/16/2012       17:37:01
36982      5595192274       10/16/2012      20:33:45
36983      5595195116       4/12/2012       14:19:18
36984      5595196643       11/26/2011      13:45:38
36985      5595198374       1/9/2012        18:21:25
36986      5595301008       10/11/2012      11:52:15
36987      5595535813       5/23/2012       16:54:22
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36988      5595606400       10/12/2011      12:09:05
36989      5595721306       9/19/2012       16:24:02
36990      5595721657       2/21/2012       21:28:21
36991      5595722378       7/17/2012       21:55:57
36992      5595723504       9/6/2013        14:51:07
36993      5595724120       9/12/2011       14:33:08
36994      5595725407       3/12/2012       11:28:17
36995      5595725407       3/15/2012       18:59:52
36996      5595725800       8/6/2011        13:00:48
36997      5595727341       3/16/2012       10:09:00
36998      5595778951       10/10/2012      19:08:59
36999      5595792977       5/2/2012        21:04:44
37000      5595799947       10/23/2012      16:12:17
37001      5595893429       2/3/2012        14:35:53
37002      5595895757       10/27/2011      16:59:42
37003      5595909520       3/6/2012        21:12:26
37004      5595930309       7/3/2012        19:38:57
37005      5596182370       10/1/2011       10:10:33
37006      5596231237       5/9/2011        17:46:36
37007      5596232140       2/21/2012       16:22:12
37008      5596237897       12/26/2011      20:10:46
37009      5596305019       10/20/2011      15:48:54
37010      5596330726       10/22/2012      17:52:34
37011      5596436583       11/16/2011      20:02:35
37012      5596452117       8/28/2012       21:56:14
37013      5596462496       10/1/2012       13:53:17
37014      5596474035       3/24/2012       10:08:14
37015      5596479517       3/8/2012        15:35:19
37016      5596516676       1/5/2012        17:24:36
37017      5596516676       1/10/2012       20:56:15
37018      5596625267       6/29/2012       10:54:04
37019      5596641899       1/5/2012        21:34:25
37020      5596647248       9/21/2011       19:31:37
37021      5596647341       9/19/2012       21:29:31
37022      5596647709       10/20/2011      20:59:54
37023      5596647945       5/15/2012       11:14:22
37024      5596671391       3/19/2012       12:02:36
37025      5596671391       3/23/2012       19:55:09
37026      5596671528       8/21/2012       21:48:27
37027      5596731593       7/23/2012       15:37:10
37028      5596760510       9/16/2011       13:08:00
37029      5596760704       9/20/2011       18:56:09
37030      5596769338       5/7/2012        14:55:35
37031      5596794468       10/24/2011      14:25:14
37032      5596796026       5/11/2012       14:41:58
37033      5596798660       6/22/2012       21:02:21
37034      5596799592       11/4/2011       10:29:09
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37035      5596810540       9/10/2012       21:11:28
37036      5596815796       9/6/2012        21:14:30
37037      5596816632       5/10/2012       14:53:04
37038      5596816677       1/4/2012        11:36:21
37039      5596816825       11/21/2011      10:47:36
37040      5596817004       8/29/2012       20:23:29
37041      5596818618       6/20/2012       11:04:31
37042      5596842139       4/30/2012       21:08:43
37043      5596842510       6/8/2012        10:13:09
37044      5596969643       6/12/2012       17:08:59
37045      5596977037       10/8/2011       12:25:33
37046      5596979056       5/23/2012       15:29:04
37047      5596979801       1/21/2012       11:13:13
37048      5597041734       9/26/2011       13:28:42
37049      5597043003       3/13/2012       18:53:12
37050      5597043867       3/14/2012       19:48:27
37051      5597046937       3/19/2012       12:06:11
37052      5597048328       8/2/2011        17:18:50
37053      5597049287       8/25/2012       11:21:06
37054      5597065912       5/26/2012       10:08:52
37055      5597076360       4/12/2012       18:00:20
37056      5597076584       10/20/2012      16:25:02
37057      5597080184       11/26/2011      13:59:21
37058      5597097422       4/16/2012       16:10:59
37059      5597098750       12/9/2011       21:51:31
37060      5597180336       10/8/2012       12:52:11
37061      5597189239       6/23/2012       16:30:29
37062      5597189460       8/16/2012       14:30:11
37063      5597190243       1/5/2012        14:11:05
37064      5597230343       7/27/2012       21:57:00
37065      5597230393       10/24/2012      21:17:02
37066      5597231425       2/11/2012       11:23:32
37067      5597235894       12/11/2011      11:46:58
37068      5597239629       4/16/2011       15:40:06
37069      5597239924       10/12/2011      11:49:13
37070      5597306971       5/7/2012        21:40:41
37071      5597317200       1/6/2012        14:43:51
37072      5597318120       3/24/2012       10:36:13
37073      5597326395       7/13/2012       18:30:34
37074      5597360070       10/15/2011      11:12:35
37075      5597360079       3/25/2012       12:17:42
37076      5597361260       4/30/2012       21:03:33
37077      5597362972       4/6/2012        15:59:39
37078      5597363292       9/12/2011       13:35:58
37079      5597363597       2/14/2012       17:02:51
37080      5597364531       9/20/2011       18:47:47
37081      5597364531       10/5/2011       14:21:29
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37082      5597364970       7/5/2012        15:44:19
37083      5597365850       9/19/2011       14:57:33
37084      5597365850       11/4/2011       10:26:24
37085      5597366220       4/19/2012       14:36:50
37086      5597366493       10/3/2011       10:35:22
37087      5597367884       5/9/2012        16:08:52
37088      5597378760       5/18/2012       15:42:43
37089      5597402302       2/11/2012       15:51:19
37090      5597406751       2/24/2012       21:45:41
37091      5597563226       2/13/2012       18:51:47
37092      5597564498       8/30/2011       16:46:07
37093      5597564869       6/5/2012        15:41:22
37094      5597564879       10/8/2012       20:04:06
37095      5597599425       9/18/2012       21:28:55
37096      5597602007       9/14/2011       16:55:51
37097      5597604644       9/9/2011        18:38:24
37098      5597607537       10/8/2011       12:32:03
37099      5597607537       10/13/2011      10:31:42
37100      5597609283       5/25/2011       18:13:32
37101      5597609504       5/20/2012       15:58:37
37102      5597612852       10/17/2012      12:45:47
37103      5597613787       5/9/2012        21:43:59
37104      5597615719       9/29/2012       10:10:55
37105      5597616378       11/14/2011      15:32:18
37106      5597618161       10/5/2011       14:47:03
37107      5597619705       10/20/2011      16:41:54
37108      5597655034       12/20/2011      19:41:26
37109      5597725427       11/11/2011      20:12:51
37110      5597726911       2/10/2012       10:41:04
37111      5597727499       9/8/2011        19:37:25
37112      5597729588       8/23/2011       18:27:55
37113      5597761592       11/5/2011       12:01:20
37114      5597765965       11/17/2011      15:55:55
37115      5597767614       1/5/2012        14:10:05
37116      5597767812       10/27/2011      16:12:42
37117      5597769964       10/11/2012      18:51:38
37118      5597769991       9/21/2011       13:51:38
37119      5597792186       11/12/2011      10:57:15
37120      5597796972       6/5/2012        17:55:01
37121      5597797051       1/16/2012       12:09:03
37122      5597797053       8/29/2012       20:20:03
37123      5597860797       4/18/2012       17:53:30
37124      5597863314       4/20/2012       21:01:39
37125      5597863586       10/4/2011       14:00:37
37126      5597864477       11/18/2011      13:10:41
37127      5597866042       12/14/2011      17:55:54
37128      5597867888       3/20/2012       9:32:09
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37129      5597868235       12/26/2011      20:35:06
37130      5597889979       3/28/2012       18:14:36
37131      5597891295       3/2/2012        19:05:13
37132      5597895249       8/15/2012       12:26:23
37133      5597897119       1/10/2012       21:36:52
37134      5597900003       11/15/2011      20:17:15
37135      5597901582       8/1/2011        19:29:17
37136      5597903609       1/8/2012        16:55:43
37137      5597904108       10/10/2011      12:03:56
37138      5597905680       3/15/2012       19:00:03
37139      5597907467       12/9/2011       14:24:59
37140      5597907467       12/20/2011      19:27:15
37141      5597907876       3/15/2012       14:20:19
37142      5597907876       7/3/2012        14:04:22
37143      5597908667       11/26/2011      12:09:42
37144      5597993135       2/1/2012        13:37:40
37145      5598000885       6/27/2012       12:23:01
37146      5598013731       3/29/2012       16:35:42
37147      5598014125       2/15/2012       14:39:02
37148      5598019521       11/15/2011      20:10:45
37149      5598020435       8/27/2012       15:00:41
37150      5598026111       11/5/2011       11:48:14
37151      5598027235       5/2/2012        21:05:06
37152      5598030107       1/16/2012       17:37:17
37153      5598030916       5/13/2012       18:17:45
37154      5598031853       9/24/2012       13:15:04
37155      5598031995       12/10/2011      12:35:03
37156      5598033049       9/8/2011        19:54:56
37157      5598033945       12/21/2011      19:58:10
37158      5598034377       10/3/2011       10:43:34
37159      5598034504       1/3/2012        16:24:45
37160      5598035256       9/4/2013        18:23:16
37161      5598037442       3/16/2012       10:08:22
37162      5598039158       5/22/2012       11:25:29
37163      5598046434       7/6/2012        16:57:47
37164      5598047421       10/7/2012       13:14:26
37165      5598048975       8/15/2012       12:25:21
37166      5598057105       4/6/2012        15:59:21
37167      5598160322       4/14/2012       14:14:00
37168      5598161394       3/2/2012        9:11:06
37169      5598164130       10/20/2011      20:56:21
37170      5598166000       1/31/2012       10:24:10
37171      5598169048       7/10/2012       12:01:02
37172      5598169048       8/16/2012       14:30:41
37173      5598169048       10/5/2012       18:36:00
37174      5598177553       11/25/2013      16:14:24
37175      5598270316       4/2/2012        17:45:58
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37176      5598270738       8/6/2012        15:26:41
37177      5598272738       11/17/2011      14:46:53
37178      5598360225       9/18/2012       14:21:25
37179      5598360339       9/20/2012       14:43:18
37180      5598362898       7/21/2011       14:24:30
37181      5598368466       1/14/2012       11:04:51
37182      5598405393       10/19/2011      12:31:53
37183      5598407576       5/5/2012        12:32:40
37184      5598592909       11/11/2011      17:06:56
37185      5598594177       4/14/2012       9:30:51
37186      5598627694       4/19/2012       20:19:28
37187      5598712484       10/18/2012      14:34:56
37188      5598717803       12/26/2011      20:14:46
37189      5598925971       1/20/2012       11:36:45
37190      5599014134       4/16/2012       10:13:44
37191      5599034782       3/17/2012       11:36:31
37192      5599044700       5/8/2012        21:30:08
37193      5599058172       1/24/2012       17:09:25
37194      5599060530       12/6/2011       13:42:29
37195      5599072948       1/16/2012       17:37:35
37196      5599088092       1/13/2012       17:19:13
37197      5599090054       6/4/2012        21:07:19
37198      5599091402       12/20/2011      20:57:00
37199      5599091402       1/17/2012       20:54:42
37200      5599092034       9/28/2011       10:39:24
37201      5599162386       4/3/2012        16:16:45
37202      5599162806       5/10/2011       19:42:49
37203      5599168042       7/26/2012       19:24:24
37204      5599179684       9/12/2012       15:20:22
37205      5599179684       10/20/2012      10:36:36
37206      5599202168       6/4/2012        10:06:19
37207      5599202633       1/18/2012       21:22:37
37208      5599207954       10/12/2011      12:05:47
37209      5599208343       11/29/2011      15:18:24
37210      5599308700       12/9/2011       14:28:19
37211      5599360806       2/20/2012       13:57:17
37212      5599401144       2/8/2012        13:03:40
37213      5599402507       11/11/2011      13:49:48
37214      5599402507       11/23/2011      15:00:13
37215      5599426051       10/8/2012       12:50:31
37216      5599426051       10/11/2012      18:38:10
37217      5599605656       1/3/2014        18:56:33
37218      5599670179       3/16/2012       10:08:32
37219      5599676610       3/26/2012       18:33:23
37220      5599705942       1/26/2012       10:05:29
37221      5599709431       2/8/2012        13:04:32
37222      5599722942       7/10/2012       21:47:33
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37223      5599723958       2/17/2012       10:50:04
37224      5599724852       12/7/2011       16:26:00
37225      5599726654       2/25/2012       11:12:33
37226      5599742190       9/28/2011       10:05:02
37227      5599743477       5/19/2011       10:42:32
37228      5599750043       9/25/2013       21:28:23
37229      5599756418       3/8/2012        20:30:18
37230      5599756508       9/27/2012       13:26:57
37231      5599757433       10/5/2011       14:51:36
37232      5599770544       9/8/2011        19:57:38
37233      5599771612       10/14/2011      13:06:42
37234      5599773109       2/16/2012       11:28:09
37235      5599776143       6/16/2012       15:18:28
37236      5599781785       6/20/2012       11:01:55
37237      5599782145       7/14/2011       16:57:58
37238      5599786204       9/21/2012       15:58:05
37239      5599787135       7/27/2012       15:38:12
37240      5612010258       9/2/2011        12:39:22
37241      5612011186       10/6/2011       17:21:41
37242      5612011201       10/3/2011       7:08:38
37243      5612011295       6/8/2011        18:44:10
37244      5612011772       12/12/2011      12:09:49
37245      5612012048       3/2/2012        18:58:07
37246      5612012447       9/1/2012        9:18:00
37247      5612013736       2/14/2012       9:41:05
37248      5612013736       5/26/2012       14:27:19
37249      5612014139       1/29/2012       17:00:05
37250      5612014227       4/30/2012       14:51:35
37251      5612014227       7/11/2012       17:20:47
37252      5612014493       10/22/2011      12:21:44
37253      5612017083       9/11/2012       7:44:56
37254      5612019314       12/14/2011      17:59:27
37255      5612019345       12/31/2011      11:58:45
37256      5612019345       3/30/2012       7:31:16
37257      5612019456       2/16/2012       7:15:23
37258      5612024163       9/24/2012       18:50:40
37259      5612025645       6/11/2012       17:02:01
37260      5612025646       6/20/2012       7:53:55
37261      5612027422       12/12/2011      16:21:01
37262      5612071022       11/22/2011      19:28:24
37263      5612103330       10/11/2011      16:08:55
37264      5612124872       2/24/2011       11:23:31
37265      5612133998       7/9/2012        18:56:52
37266      5612145938       6/29/2012       17:47:18
37267      5612151449       9/20/2011       17:07:15
37268      5612151717       10/10/2012      12:46:13
37269      5612152188       7/18/2012       18:29:28
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37270      5612154735       5/3/2014        10:49:13
37271      5612155769       6/16/2012       7:31:10
37272      5612155903       9/12/2011       13:07:48
37273      5612156426       10/3/2012       19:54:51
37274      5612156616       8/1/2012        9:07:48
37275      5612156755       10/1/2011       9:37:51
37276      5612221502       12/16/2011      15:38:13
37277      5612223253       4/18/2012       18:03:50
37278      5612229767       11/11/2011      13:37:35
37279      5612229878       10/7/2012       12:50:45
37280      5612340109       10/10/2011      11:46:05
37281      5612347136       3/30/2012       16:13:27
37282      5612364688       2/13/2012       7:13:40
37283      5612364688       5/9/2012        7:38:44
37284      5612366926       9/3/2012        14:28:36
37285      5612368496       4/13/2012       13:29:18
37286      5612368887       12/7/2011       13:59:01
37287      5612368887       6/16/2012       7:49:40
37288      5612392969       9/21/2012       16:00:31
37289      5612462030       1/11/2012       7:33:02
37290      5612462522       2/11/2012       10:58:39
37291      5612480556       10/4/2011       13:07:08
37292      5612482311       9/13/2011       17:39:16
37293      5612486678       8/10/2011       7:04:50
37294      5612524618       1/16/2012       17:10:17
37295      5612526069       6/29/2012       9:31:12
37296      5612534282       2/22/2012       7:00:57
37297      5612534282       10/10/2012      19:09:24
37298      5612540800       5/3/2012        7:04:14
37299      5612543578       6/16/2012       15:27:17
37300      5612546295       5/21/2012       7:07:20
37301      5612546395       7/2/2012        17:01:32
37302      5612548620       12/20/2011      19:29:52
37303      5612550168       9/27/2011       18:08:29
37304      5612550572       3/17/2012       8:36:12
37305      5612550572       5/21/2012       7:26:07
37306      5612551354       8/8/2012        16:12:41
37307      5612551993       4/18/2012       17:56:44
37308      5612552645       11/14/2011      14:29:59
37309      5612552649       10/1/2011       9:34:33
37310      5612553082       10/20/2011      16:07:40
37311      5612553124       6/15/2012       8:51:40
37312      5612554373       11/11/2011      7:55:39
37313      5612554602       9/8/2011        19:23:42
37314      5612554715       10/18/2011      12:05:03
37315      5612555519       3/23/2012       7:01:14
37316      5612555851       11/23/2011      14:54:31
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                                    #:12646

37317      5612556414       12/22/2011      9:33:37
37318      5612556486       12/1/2011       8:00:55
37319      5612557348       7/2/2012        14:59:20
37320      5612557489       1/6/2012        14:48:27
37321      5612558357       7/23/2011       11:44:37
37322      5612559009       8/15/2012       7:52:49
37323      5612559122       11/29/2011      16:06:38
37324      5612559305       10/6/2011       16:14:40
37325      5612559347       10/8/2011       10:50:21
37326      5612559919       5/11/2011       16:52:36
37327      5612615152       11/25/2011      18:07:13
37328      5612616806       9/23/2011       11:35:42
37329      5612616830       11/5/2011       9:20:05
37330      5612617276       10/8/2012       7:16:53
37331      5612617805       10/4/2011       13:09:47
37332      5612617805       11/23/2011      14:32:20
37333      5612618259       9/23/2011       11:33:51
37334      5612618911       10/4/2011       13:41:39
37335      5612619152       9/1/2012        8:45:58
37336      5612628645       1/3/2012        11:14:35
37337      5612629151       11/18/2011      13:31:33
37338      5612672333       10/1/2011       10:13:43
37339      5612674545       10/19/2011      7:52:09
37340      5612676963       9/15/2012       8:05:30
37341      5612677671       1/19/2012       7:22:36
37342      5612677970       2/29/2012       7:09:01
37343      5612714937       9/23/2011       11:11:55
37344      5612714937       10/20/2011      16:04:50
37345      5612733172       12/23/2011      7:07:04
37346      5612754352       8/10/2013       16:42:35
37347      5612770590       11/5/2011       10:56:36
37348      5612814988       12/30/2011      7:16:10
37349      5612815738       5/9/2011        17:07:49
37350      5612817536       1/23/2012       18:54:33
37351      5612817597       9/19/2011       19:25:05
37352      5612870067       10/18/2011      12:43:19
37353      5612870067       10/31/2011      7:08:20
37354      5612870067       1/4/2012        11:12:54
37355      5612896526       5/23/2012       16:24:36
37356      5612898900       11/2/2011       7:15:22
37357      5612898900       11/18/2011      12:41:57
37358      5612903730       5/7/2012        7:21:46
37359      5612903730       5/21/2012       7:32:54
37360      5612912451       11/15/2011      15:06:42
37361      5612931384       10/11/2012      7:50:41
37362      5612940355       5/19/2012       8:12:49
37363      5612940801       12/29/2011      11:02:23
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37364      5612941557       12/21/2011      10:09:57
37365      5612941593       11/19/2011      8:18:14
37366      5612943240       6/19/2012       7:53:55
37367      5612943894       1/28/2012       9:43:38
37368      5612944546       10/8/2011       10:43:29
37369      5612945699       10/10/2011      12:26:08
37370      5612946107       5/4/2012        14:35:15
37371      5612946883       6/23/2012       8:45:54
37372      5612948007       10/10/2011      12:36:22
37373      5612948696       11/15/2011      16:04:28
37374      5612998168       3/9/2012        7:08:11
37375      5613029204       11/14/2011      14:19:06
37376      5613051487       10/12/2011      7:20:25
37377      5613052320       1/6/2012        14:50:20
37378      5613052922       2/22/2012       7:07:53
37379      5613055479       10/10/2012      12:55:33
37380      5613058501       10/22/2012      18:03:39
37381      5613058706       2/13/2012       18:45:29
37382      5613059031       1/27/2012       17:53:18
37383      5613059705       5/17/2012       11:55:51
37384      5613061478       4/2/2012        17:38:15
37385      5613065458       9/24/2011       9:13:39
37386      5613065458       10/20/2011      15:30:11
37387      5613067285       8/20/2012       10:05:35
37388      5613072019       1/24/2012       17:12:50
37389      5613073775       9/7/2012        15:49:51
37390      5613075068       3/16/2012       16:03:45
37391      5613077415       10/13/2011      7:07:57
37392      5613078846       9/21/2011       19:32:17
37393      5613080474       3/2/2012        7:09:58
37394      5613081351       9/24/2011       9:10:06
37395      5613083862       5/2/2012        21:06:38
37396      5613088443       4/6/2012        16:08:41
37397      5613098376       10/15/2012      10:05:17
37398      5613102045       7/13/2012       18:33:21
37399      5613102668       11/2/2011       7:29:06
37400      5613108462       2/13/2012       18:27:19
37401      5613120524       2/14/2012       13:08:14
37402      5613120594       4/24/2012       12:07:10
37403      5613124067       3/22/2012       7:49:13
37404      5613129910       3/1/2012        8:41:52
37405      5613133346       6/5/2012        7:08:41
37406      5613151750       12/30/2011      17:20:13
37407      5613152561       8/9/2011        12:32:31
37408      5613154353       10/13/2011      7:29:54
37409      5613155997       9/8/2011        19:38:50
37410      5613176187       10/20/2012      16:27:09
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37411      5613176982       4/12/2012       12:59:04
37412      5613177108       4/30/2012       14:47:52
37413      5613177906       8/17/2011       19:05:23
37414      5613195898       6/8/2012        7:26:50
37415      5613195898       7/20/2012       14:51:15
37416      5613196013       1/30/2012       7:09:38
37417      5613196608       10/31/2011      9:17:58
37418      5613243076       3/14/2012       7:15:22
37419      5613244744       11/23/2011      14:32:02
37420      5613290422       10/6/2011       16:02:06
37421      5613293666       11/14/2011      17:13:06
37422      5613297184       10/14/2011      13:09:09
37423      5613298115       12/1/2011       7:48:43
37424      5613298586       12/13/2011      18:29:45
37425      5613370725       5/1/2012        18:04:22
37426      5613390059       4/23/2011       10:13:40
37427      5613394606       2/2/2012        7:15:34
37428      5613396266       9/24/2011       9:28:31
37429      5613398082       8/30/2012       17:40:15
37430      5613468030       10/27/2011      16:30:54
37431      5613510394       6/11/2012       17:48:17
37432      5613510660       12/12/2011      16:19:31
37433      5613511645       12/7/2011       14:47:50
37434      5613517306       7/9/2011        8:14:24
37435      5613524949       11/26/2011      11:33:05
37436      5613529057       7/18/2011       7:18:36
37437      5613529895       11/14/2011      14:09:04
37438      5613580008       11/1/2011       8:20:39
37439      5613583110       10/4/2011       13:40:11
37440      5613584723       11/12/2011      9:21:53
37441      5613586286       12/9/2011       15:17:06
37442      5613588110       11/26/2011      11:12:34
37443      5613708066       3/6/2012        15:44:05
37444      5613711373       3/23/2012       19:43:32
37445      5613718472       9/4/2012        15:42:20
37446      5613731337       11/30/2011      14:44:31
37447      5613732733       3/2/2012        18:45:44
37448      5613735599       9/12/2011       13:48:22
37449      5613737554       9/5/2012        7:20:09
37450      5613739653       11/11/2011      13:40:20
37451      5613761135       8/8/2011        12:48:40
37452      5613761797       3/15/2012       19:28:12
37453      5613767271       9/24/2011       9:39:39
37454      5613796449       2/13/2012       18:22:40
37455      5613798834       9/8/2011        19:34:38
37456      5613852421       3/26/2012       18:26:20
37457      5613858522       1/13/2012       8:03:53
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37458      5613863299       9/16/2011       14:06:39
37459      5613863631       10/17/2012      18:28:40
37460      5613890393       11/17/2011      15:27:35
37461      5613892301       8/8/2012        16:12:08
37462      5613897299       9/8/2011        19:30:01
37463      5613960658       3/21/2012       13:43:08
37464      5613963075       4/16/2012       15:41:46
37465      5613963075       7/13/2012       18:50:37
37466      5613964014       5/25/2012       17:05:51
37467      5613964035       11/11/2011      7:55:38
37468      5613964139       7/12/2012       19:52:02
37469      5613964444       10/21/2011      12:28:59
37470      5613964631       5/8/2012        7:03:57
37471      5613966128       1/2/2012        7:24:37
37472      5613966363       1/10/2012       15:25:42
37473      5613968658       3/23/2012       19:48:51
37474      5613981046       11/10/2011      7:22:29
37475      5613982404       10/6/2011       16:26:25
37476      5613983754       7/26/2012       19:12:14
37477      5613989222       3/3/2012        9:01:50
37478      5614013495       1/14/2012       13:27:11
37479      5614016217       10/18/2011      12:15:09
37480      5614017700       2/20/2012       16:59:51
37481      5614017700       5/19/2012       8:05:15
37482      5614141547       5/5/2012        12:31:53
37483      5614143469       10/22/2011      13:05:57
37484      5614145553       10/29/2011      10:36:10
37485      5614149708       5/22/2012       18:39:23
37486      5614204917       9/21/2012       16:01:24
37487      5614209565       5/23/2012       16:40:18
37488      5614241995       10/22/2011      12:57:51
37489      5614275124       11/25/2011      18:08:46
37490      5614275124       12/23/2011      14:46:32
37491      5614275203       9/14/2011       16:13:09
37492      5614278297       5/8/2012        17:17:55
37493      5614278297       6/5/2012        14:47:19
37494      5614362928       9/19/2011       19:06:31
37495      5614364395       10/17/2011      7:04:54
37496      5614368185       6/21/2012       10:03:47
37497      5614368859       8/22/2012       11:16:23
37498      5614368946       9/15/2011       7:21:31
37499      5614410087       12/12/2011      16:33:21
37500      5614410087       3/19/2012       7:09:18
37501      5614417761       2/1/2012        18:30:13
37502      5614491575       10/10/2011      12:13:17
37503      5614493247       4/19/2012       7:23:11
37504      5614499576       9/17/2011       9:25:35
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37505      5614523694       1/5/2012        13:59:46
37506      5614524653       2/2/2012        7:16:46
37507      5614524653       2/14/2012       16:47:01
37508      5614524653       4/2/2012        7:04:49
37509      5614524669       5/29/2012       17:12:38
37510      5614528696       1/4/2012        14:59:29
37511      5614528845       11/17/2011      15:28:18
37512      5614529965       10/10/2011      11:33:58
37513      5614602551       10/17/2011      8:06:42
37514      5614602856       7/2/2011        8:58:49
37515      5614604081       12/21/2011      10:03:37
37516      5614606588       4/30/2012       14:27:34
37517      5614608526       8/30/2012       17:42:16
37518      5614609655       2/9/2012        7:26:25
37519      5614796811       4/12/2012       17:54:30
37520      5615020563       12/3/2011       9:05:30
37521      5615020931       1/30/2014       9:49:06
37522      5615021215       10/10/2012      19:16:18
37523      5615021605       10/27/2011      15:10:58
37524      5615024444       3/10/2011       17:40:51
37525      5615026082       2/10/2012       17:16:46
37526      5615026231       12/5/2011       18:48:37
37527      5615026486       5/22/2012       18:25:00
37528      5615026653       3/9/2012        7:05:10
37529      5615028285       7/19/2012       17:56:58
37530      5615028287       9/30/2011       9:59:39
37531      5615029476       12/29/2011      18:36:48
37532      5615030363       10/16/2012      16:32:46
37533      5615033619       12/24/2011      7:04:00
37534      5615035225       5/14/2012       15:18:51
37535      5615035760       10/10/2011      11:47:14
37536      5615037667       5/1/2012        8:04:44
37537      5615060148       11/23/2011      9:58:11
37538      5615060598       7/16/2012       19:26:11
37539      5615061244       10/19/2011      12:09:13
37540      5615061542       10/18/2011      16:29:46
37541      5615061844       9/29/2011       15:30:03
37542      5615062051       9/24/2011       9:17:16
37543      5615062218       3/27/2012       7:15:22
37544      5615063600       6/6/2011        16:59:54
37545      5615063606       10/7/2011       7:15:22
37546      5615067003       11/14/2011      14:28:58
37547      5615067792       12/16/2011      16:15:03
37548      5615068010       10/11/2011      17:13:56
37549      5615068218       6/11/2011       8:59:50
37550      5615068348       11/7/2011       7:40:51
37551      5615094451       3/29/2012       16:30:57
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37552      5615123280       12/7/2011       15:05:44
37553      5615125098       9/19/2011       19:02:31
37554      5615125610       1/27/2012       9:35:16
37555      5615126013       11/18/2011      12:12:59
37556      5615126845       8/30/2011       16:20:17
37557      5615164774       11/23/2011      14:30:45
37558      5615231744       10/21/2011      13:18:20
37559      5615231744       12/3/2011       9:58:46
37560      5615235150       10/15/2011      9:58:53
37561      5615235554       12/6/2011       13:19:26
37562      5615239344       1/5/2012        17:26:22
37563      5615311290       10/10/2011      12:23:58
37564      5615368887       4/16/2012       7:10:00
37565      5615368966       11/18/2011      13:23:38
37566      5615411647       12/27/2011      13:32:43
37567      5615412398       8/4/2012        7:31:41
37568      5615413037       4/14/2012       9:02:13
37569      5615413073       2/11/2012       15:21:06
37570      5615413644       12/7/2011       14:37:05
37571      5615415148       6/30/2012       15:40:37
37572      5615415694       3/14/2012       19:29:06
37573      5615419969       9/15/2011       7:50:20
37574      5615420458       2/4/2012        7:22:31
37575      5615422325       10/20/2011      16:03:31
37576      5615425713       4/12/2012       12:24:39
37577      5615436000       12/24/2011      7:21:22
37578      5615586894       12/1/2011       8:13:02
37579      5615686299       7/13/2012       7:46:03
37580      5615688676       7/30/2012       13:32:52
37581      5615721080       9/28/2011       11:04:16
37582      5615721775       9/21/2011       19:32:12
37583      5615725370       9/27/2011       18:21:49
37584      5615732361       2/17/2012       18:30:10
37585      5615742047       12/5/2011       9:49:16
37586      5615742443       1/25/2012       9:17:37
37587      5615743149       12/21/2011      18:43:32
37588      5615744625       6/9/2012        14:52:32
37589      5615745795       6/4/2011        10:10:06
37590      5615746604       5/7/2011        14:36:15
37591      5615747696       9/30/2011       9:57:53
37592      5615748017       4/3/2012        15:56:24
37593      5615749178       1/6/2012        14:49:59
37594      5615771896       5/19/2012       8:10:50
37595      5615772711       12/2/2011       15:33:53
37596      5615774778       8/6/2011        8:37:55
37597      5615775289       9/27/2012       16:25:36
37598      5615776135       4/10/2012       11:49:31
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37599      5615776304       11/8/2011       13:46:30
37600      5615776308       12/7/2011       18:05:05
37601      5615776385       3/15/2012       19:02:41
37602      5615776944       7/21/2012       10:24:02
37603      5615777288       11/8/2011       8:19:29
37604      5615777795       9/19/2011       7:13:26
37605      5615778229       3/27/2012       7:15:18
37606      5615779410       7/19/2012       7:54:09
37607      5615780642       9/18/2012       14:24:05
37608      5615789587       7/19/2011       17:47:30
37609      5615840054       6/25/2012       13:15:35
37610      5615841754       1/21/2012       8:08:18
37611      5615841930       2/4/2012        8:31:16
37612      5615842307       10/29/2011      11:29:38
37613      5615842824       11/25/2011      18:13:04
37614      5615842972       5/14/2012       7:13:38
37615      5615843591       5/14/2012       7:12:55
37616      5615843695       3/8/2014        8:12:45
37617      5615960584       11/5/2011       10:56:52
37618      5615963631       9/15/2011       7:13:21
37619      5615966549       11/14/2011      14:12:26
37620      5615968517       12/22/2011      8:27:44
37621      5615968653       2/2/2012        7:18:48
37622      5615982015       12/9/2011       7:55:32
37623      5615984578       7/15/2011       7:21:59
37624      5615984800       9/27/2011       18:03:49
37625      5616012103       9/10/2011       9:11:07
37626      5616013242       10/27/2011      15:01:41
37627      5616023494       5/15/2012       19:14:36
37628      5616023494       5/25/2012       17:15:15
37629      5616028996       5/21/2012       7:55:38
37630      5616029428       10/12/2011      7:55:41
37631      5616031193       9/24/2011       9:30:05
37632      5616032076       3/2/2012        18:43:53
37633      5616032869       7/14/2011       8:10:19
37634      5616282614       12/20/2011      17:34:34
37635      5616282614       2/11/2012       11:19:12
37636      5616283695       5/14/2012       15:46:02
37637      5616284241       4/2/2012        7:23:08
37638      5616284241       5/23/2012       15:28:16
37639      5616290355       8/13/2012       7:33:16
37640      5616320330       8/1/2012        8:27:35
37641      5616320825       7/2/2012        15:19:53
37642      5616321796       9/12/2011       13:55:27
37643      5616323693       6/21/2012       10:00:18
37644      5616324464       5/5/2012        8:26:12
37645      5616325697       4/19/2012       14:57:06
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37646      5616331063       9/28/2011       10:10:48
37647      5616331063       5/21/2012       7:40:50
37648      5616331612       11/30/2011      7:10:35
37649      5616331692       7/13/2011       10:42:55
37650      5616331840       12/12/2011      12:11:29
37651      5616331847       10/7/2011       7:14:54
37652      5616331989       12/15/2011      8:25:12
37653      5616331989       12/20/2011      19:19:16
37654      5616336662       11/29/2011      7:28:44
37655      5616336857       10/2/2012       7:30:45
37656      5616337019       2/16/2012       7:02:08
37657      5616337808       5/3/2012        7:14:46
37658      5616338418       1/17/2012       18:40:14
37659      5616338418       9/1/2012        9:09:35
37660      5616338664       6/16/2012       15:06:03
37661      5616339523       5/16/2012       16:47:22
37662      5616345094       6/23/2012       16:18:05
37663      5616345709       11/12/2011      10:25:11
37664      5616345709       11/25/2011      17:35:59
37665      5616345971       10/29/2011      9:52:02
37666      5616346505       11/17/2011      13:31:55
37667      5616351985       4/30/2012       14:33:08
37668      5616351985       6/7/2012        18:23:09
37669      5616355182       11/17/2011      16:42:50
37670      5616355740       5/18/2012       15:56:14
37671      5616440410       7/18/2011       10:47:13
37672      5616445803       11/28/2011      11:18:54
37673      5616544537       3/24/2012       9:51:56
37674      5616621456       7/27/2012       15:41:03
37675      5616625081       10/23/2012      15:52:01
37676      5616627400       12/20/2011      17:26:12
37677      5616660434       3/11/2012       15:09:32
37678      5616660542       10/19/2011      7:44:47
37679      5616670145       8/21/2012       14:00:42
37680      5616670366       9/13/2011       15:14:41
37681      5616670584       9/30/2011       10:14:14
37682      5616670584       10/15/2011      10:12:01
37683      5616670913       9/21/2011       11:42:21
37684      5616672221       10/27/2011      16:19:22
37685      5616672551       10/22/2011      12:55:22
37686      5616672841       9/20/2011       17:16:59
37687      5616672902       7/11/2012       9:31:00
37688      5616674778       10/18/2012      16:39:58
37689      5616674902       9/14/2012       7:10:12
37690      5616676526       5/12/2012       8:38:04
37691      5616676546       12/20/2011      17:11:50
37692      5616677056       3/26/2012       7:28:02
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                                    #:12654

37693      5616677469       10/26/2011      12:09:58
37694      5616677691       10/1/2011       10:33:59
37695      5616678349       12/3/2011       9:41:03
37696      5616678729       10/3/2012       7:09:57
37697      5616679265       6/4/2012        8:11:50
37698      5616704349       1/17/2012       17:22:21
37699      5616704349       6/16/2012       15:20:11
37700      5616704527       6/7/2012        16:36:49
37701      5616705028       9/28/2011       10:50:57
37702      5616706004       6/26/2012       8:02:24
37703      5616707601       3/7/2012        7:11:34
37704      5616709556       3/28/2011       15:22:41
37705      5616741677       4/9/2012        17:47:25
37706      5616742634       3/2/2012        18:42:40
37707      5616745956       2/25/2012       11:01:00
37708      5616760758       5/22/2012       18:19:00
37709      5616762793       9/15/2012       8:25:27
37710      5616765760       9/28/2011       10:06:34
37711      5616855668       11/2/2011       7:21:07
37712      5616857126       11/18/2011      12:48:25
37713      5616857126       1/17/2012       7:21:30
37714      5616922216       10/19/2011      7:51:19
37715      5616922664       10/5/2011       14:29:10
37716      5616937097       3/29/2012       16:29:00
37717      5616939041       8/13/2012       7:36:26
37718      5616998446       4/11/2012       11:10:00
37719      5616998599       1/12/2012       7:07:59
37720      5617021997       8/14/2012       8:01:17
37721      5617023641       9/1/2012        8:52:26
37722      5617024311       9/26/2011       8:51:05
37723      5617024311       10/14/2011      13:12:53
37724      5617024748       3/3/2012        8:39:49
37725      5617030017       10/20/2011      16:00:12
37726      5617037559       5/25/2012       12:03:48
37727      5617040626       12/12/2011      7:56:13
37728      5617043223       10/8/2011       9:41:22
37729      5617046405       6/13/2011       8:22:56
37730      5617067121       2/13/2012       18:45:04
37731      5617070689       3/13/2012       18:30:25
37732      5617073840       10/8/2012       7:02:05
37733      5617077430       1/17/2012       7:25:17
37734      5617077485       11/16/2011      7:46:35
37735      5617135315       11/30/2011      7:27:36
37736      5617135667       5/6/2012        17:19:49
37737      5617136246       4/1/2012        16:04:10
37738      5617137050       9/28/2011       10:15:55
37739      5617137050       11/17/2011      16:21:45
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37740      5617137143       7/17/2012       18:07:20
37741      5617137322       9/26/2012       14:38:19
37742      5617139799       5/4/2012        14:29:43
37743      5617141100       9/26/2012       14:31:12
37744      5617146897       11/9/2011       7:42:53
37745      5617146897       11/21/2011      7:08:27
37746      5617146897       4/16/2012       16:03:11
37747      5617148575       10/8/2011       10:53:29
37748      5617153260       5/6/2012        17:31:45
37749      5617166463       12/1/2011       8:00:09
37750      5617166463       6/4/2012        8:08:26
37751      5617167255       12/29/2011      18:35:31
37752      5617182331       8/11/2012       9:22:59
37753      5617197607       3/17/2012       10:13:34
37754      5617198571       7/28/2013       14:59:47
37755      5617199434       3/17/2012       8:23:19
37756      5617199434       5/21/2012       7:26:07
37757      5617199965       10/19/2012      9:47:07
37758      5617215202       10/15/2011      9:07:53
37759      5617228407       11/9/2011       7:26:25
37760      5617230440       12/16/2011      15:35:33
37761      5617270147       12/16/2011      15:30:49
37762      5617270147       1/12/2012       14:12:32
37763      5617270634       10/4/2011       13:44:20
37764      5617276185       11/30/2011      7:11:26
37765      5617277141       11/22/2011      18:33:14
37766      5617292623       5/2/2012        13:45:33
37767      5617293478       5/17/2012       11:55:55
37768      5617293639       10/2/2012       12:49:53
37769      5617294688       9/19/2011       7:06:54
37770      5617295188       5/17/2012       17:03:15
37771      5617296075       8/8/2012        16:06:29
37772      5617297426       1/31/2012       7:26:38
37773      5617320027       7/25/2012       12:04:11
37774      5617526435       9/30/2011       9:50:55
37775      5617526646       11/22/2011      19:24:14
37776      5617526719       4/1/2014        12:13:35
37777      5617526755       12/1/2011       14:25:58
37778      5617533036       10/10/2011      11:37:32
37779      5617551319       7/14/2012       8:01:13
37780      5617565826       2/11/2012       11:12:12
37781      5617582046       10/11/2011      16:05:28
37782      5617671351       1/5/2012        17:26:51
37783      5617671877       9/14/2011       11:09:34
37784      5617675130       2/14/2012       16:48:03
37785      5617675130       5/20/2012       15:29:37
37786      5617675869       12/27/2011      13:42:04
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37787      5617681188       9/4/2012        15:42:27
37788      5617682812       12/10/2011      12:44:08
37789      5617683079       9/26/2012       7:10:52
37790      5617683606       2/17/2012       18:32:26
37791      5617790868       12/21/2011      19:00:46
37792      5617792468       6/29/2011       17:24:34
37793      5617892486       9/15/2011       7:47:49
37794      5617899009       9/21/2012       18:46:55
37795      5617951213       10/10/2011      12:21:59
37796      5617975559       9/17/2011       9:28:52
37797      5617976138       11/26/2011      11:26:25
37798      5617988800       3/11/2011       16:29:56
37799      5618006316       8/16/2012       7:51:34
37800      5618090729       7/17/2012       12:29:16
37801      5618091614       11/15/2011      15:19:10
37802      5618099531       10/12/2011      8:31:08
37803      5618180262       3/13/2012       18:58:04
37804      5618182002       7/18/2012       7:07:52
37805      5618182136       1/25/2012       9:14:46
37806      5618185804       1/2/2012        7:07:45
37807      5618275725       8/16/2012       19:45:05
37808      5618275725       10/15/2012      9:47:35
37809      5618278232       3/2/2012        19:07:11
37810      5618279134       11/16/2011      9:19:19
37811      5618431950       9/22/2011       15:58:08
37812      5618460315       11/14/2011      14:05:15
37813      5618460694       5/8/2012        9:21:22
37814      5618460878       7/12/2012       19:52:42
37815      5618535058       4/18/2012       7:07:28
37816      5618535248       9/22/2011       15:57:22
37817      5618535425       12/23/2013      16:26:52
37818      5618535591       10/15/2011      8:59:48
37819      5618535646       9/16/2011       13:14:03
37820      5618535944       8/4/2012        8:00:49
37821      5618560690       10/13/2011      7:09:25
37822      5618562093       11/8/2011       14:16:36
37823      5618562888       5/8/2012        7:15:45
37824      5618564211       3/11/2011       16:35:51
37825      5618564358       3/29/2012       16:39:35
37826      5618564431       12/6/2011       7:20:28
37827      5618564540       10/3/2011       10:46:30
37828      5618565047       11/8/2011       14:21:07
37829      5618566917       1/14/2012       13:21:01
37830      5618567070       10/7/2011       7:18:08
37831      5618568126       3/2/2012        7:09:49
37832      5618569835       11/11/2011      13:30:05
37833      5618597407       5/31/2012       7:02:36
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37834      5618601534       8/20/2012       7:40:41
37835      5618603463       10/23/2012      10:44:50
37836      5618606995       3/19/2012       7:17:03
37837      5618662124       9/26/2011       8:15:58
37838      5618669770       3/16/2012       11:05:41
37839      5618669770       5/17/2012       16:49:32
37840      5618764945       2/20/2012       7:20:25
37841      5618766406       1/12/2012       7:12:21
37842      5618767843       6/16/2012       15:06:35
37843      5618801474       9/29/2011       15:36:11
37844      5618891810       11/12/2011      10:16:04
37845      5618893134       10/18/2011      12:05:52
37846      5618895009       9/3/2012        14:46:38
37847      5618896556       5/8/2012        17:12:02
37848      5618898906       3/26/2012       18:22:28
37849      5618910508       1/5/2012        17:25:56
37850      5618910508       4/16/2012       15:56:03
37851      5618912812       5/6/2012        17:31:22
37852      5618913152       12/6/2011       14:30:21
37853      5618914169       5/21/2012       8:47:21
37854      5618914623       12/20/2011      17:26:54
37855      5618915242       1/7/2012        8:50:20
37856      5619014911       10/12/2011      8:00:47
37857      5619015072       7/26/2012       19:13:53
37858      5619015683       9/21/2012       15:29:52
37859      5619016367       2/29/2012       7:11:03
37860      5619027175       5/26/2012       8:26:01
37861      5619041349       8/23/2012       19:05:44
37862      5619063617       4/4/2012        18:46:51
37863      5619064284       11/21/2011      7:13:59
37864      5619098423       12/20/2011      19:34:06
37865      5619099934       6/12/2012       7:21:44
37866      5619275226       4/14/2012       9:02:31
37867      5619290118       8/9/2012        13:57:38
37868      5619292527       5/22/2012       18:19:40
37869      5619292663       12/14/2011      18:00:45
37870      5619292874       2/16/2012       7:18:35
37871      5619292903       10/15/2012      10:00:29
37872      5619294022       5/11/2012       14:41:45
37873      5619295786       9/16/2011       12:55:52
37874      5619295790       8/20/2011       8:43:07
37875      5619296302       1/24/2012       17:11:18
37876      5619296869       10/3/2011       7:03:01
37877      5619298546       9/17/2011       9:21:06
37878      5619298546       10/5/2011       14:03:35
37879      5619298784       8/20/2012       7:43:43
37880      5619299321       9/8/2011        19:25:47
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37881      5619322852       2/14/2012       9:45:49
37882      5619322903       3/2/2012        18:45:05
37883      5619323022       3/13/2012       7:07:02
37884      5619323022       3/20/2012       17:45:57
37885      5619326569       10/22/2011      12:52:49
37886      5619327239       12/26/2011      9:14:37
37887      5619327465       11/28/2011      11:53:31
37888      5619327465       12/12/2011      16:32:01
37889      5619327660       3/8/2012        7:14:34
37890      5619329641       7/30/2012       13:15:23
37891      5619357936       11/22/2011      19:10:56
37892      5619358159       2/28/2012       7:50:25
37893      5619515103       10/4/2011       13:13:26
37894      5619636810       11/10/2011      7:04:14
37895      5619831908       2/28/2012       7:53:29
37896      5619832125       10/14/2011      12:49:46
37897      5619832125       10/21/2011      13:19:21
37898      5619832445       9/5/2012        7:16:33
37899      5619833656       1/5/2012        17:27:07
37900      5619835279       12/16/2011      16:09:17
37901      5619835575       12/5/2011       18:08:00
37902      5619837191       5/17/2012       7:13:01
37903      5619837559       10/3/2011       7:51:12
37904      5622001333       7/15/2011       10:30:02
37905      5622001855       2/15/2012       11:17:36
37906      5622002327       8/26/2013       20:09:49
37907      5622002426       10/11/2013      18:30:25
37908      5622002866       2/3/2012        14:39:34
37909      5622005603       10/15/2011      11:16:10
37910      5622008782       2/2/2012        16:36:16
37911      5622009510       6/19/2012       15:46:10
37912      5622009966       7/19/2012       10:29:52
37913      5622011936       3/15/2011       12:28:07
37914      5622016561       9/8/2011        19:36:50
37915      5622018883       8/11/2011       10:25:04
37916      5622055406       3/23/2012       14:29:15
37917      5622063670       5/30/2012       17:00:08
37918      5622064508       12/18/2011      16:26:35
37919      5622065231       6/14/2012       21:30:26
37920      5622065590       11/26/2011      13:46:07
37921      5622066569       4/10/2012       21:58:53
37922      5622069369       9/29/2011       15:58:23
37923      5622081094       8/31/2012       16:32:34
37924      5622081094       9/24/2012       18:58:05
37925      5622081094       9/27/2012       16:32:08
37926      5622082030       11/8/2011       14:08:41
37927      5622082311       8/23/2011       19:38:17
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37928      5622083646       11/17/2011      14:45:21
37929      5622085261       9/8/2011        19:36:14
37930      5622085608       7/23/2012       13:11:00
37931      5622086824       11/22/2011      18:59:25
37932      5622089817       10/8/2011       10:17:53
37933      5622096257       6/16/2012       15:34:11
37934      5622096357       9/20/2012       21:02:27
37935      5622097149       3/29/2012       16:36:05
37936      5622098388       1/13/2012       17:45:32
37937      5622099262       4/28/2012       10:16:05
37938      5622122685       5/9/2012        14:34:40
37939      5622123683       10/1/2012       21:34:51
37940      5622124877       3/17/2012       11:34:47
37941      5622124898       5/23/2012       15:04:23
37942      5622125803       10/27/2011      16:14:10
37943      5622133881       7/30/2012       13:43:53
37944      5622133917       8/28/2012       12:01:26
37945      5622135013       3/23/2012       14:53:30
37946      5622137501       11/25/2011      18:36:34
37947      5622137810       10/14/2011      13:02:22
37948      5622138194       3/15/2012       13:55:33
37949      5622152335       1/19/2012       18:43:49
37950      5622157219       1/17/2012       18:50:06
37951      5622159969       2/11/2012       15:18:59
37952      5622160147       1/25/2012       18:20:06
37953      5622191985       1/10/2012       20:54:14
37954      5622196225       3/27/2012       10:40:21
37955      5622214964       5/5/2012        12:23:49
37956      5622218812       7/30/2012       18:49:41
37957      5622250054       4/11/2012       19:33:31
37958      5622255621       2/2/2012        16:35:27
37959      5622256208       7/12/2012       13:18:50
37960      5622256608       11/14/2011      17:48:19
37961      5622257425       4/12/2012       18:09:18
37962      5622257601       3/21/2012       18:40:58
37963      5622257953       7/16/2012       19:42:06
37964      5622283507       8/4/2012        10:18:18
37965      5622285266       2/3/2012        20:08:08
37966      5622286219       2/17/2012       18:25:41
37967      5622286498       7/3/2012        14:03:11
37968      5622292455       8/17/2012       21:22:03
37969      5622292455       9/19/2012       21:29:15
37970      5622296482       7/3/2012        12:26:15
37971      5622301212       12/27/2011      14:42:56
37972      5622304699       3/19/2012       19:06:37
37973      5622306844       12/12/2011      16:44:11
37974      5622308852       3/27/2012       14:57:54
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37975      5622339379       8/12/2012       13:47:45
37976      5622345521       10/1/2012       13:56:12
37977      5622346055       1/10/2012       15:38:44
37978      5622346055       1/16/2012       17:37:36
37979      5622346531       8/1/2011        19:28:54
37980      5622346531       9/21/2011       19:37:00
37981      5622346870       10/18/2011      13:13:20
37982      5622347756       9/29/2011       15:28:57
37983      5622349937       11/17/2011      14:50:22
37984      5622350337       10/22/2011      13:21:39
37985      5622352861       2/1/2012        13:34:55
37986      5622352861       4/3/2012        16:17:02
37987      5622353217       3/21/2011       11:38:39
37988      5622355476       3/6/2012        16:07:32
37989      5622356231       5/17/2011       10:28:20
37990      5622357473       1/9/2012        18:50:46
37991      5622358499       4/12/2012       14:23:24
37992      5622358658       5/2/2011        18:19:41
37993      5622437014       11/19/2011      10:37:07
37994      5622438527       9/28/2011       10:04:28
37995      5622464020       5/21/2012       17:57:36
37996      5622537174       5/26/2012       15:15:27
37997      5622538045       11/1/2011       11:13:44
37998      5622539796       8/28/2012       21:56:09
37999      5622540934       6/6/2012        10:20:55
38000      5622549147       8/16/2012       19:49:58
38001      5622564766       10/19/2011      12:04:16
38002      5622565949       9/19/2011       14:41:06
38003      5622566190       5/4/2012        15:31:18
38004      5622566376       11/30/2011      12:59:15
38005      5622566463       11/15/2011      16:39:43
38006      5622570620       7/12/2012       13:26:46
38007      5622572179       4/4/2012        14:04:38
38008      5622572179       4/16/2012       16:09:41
38009      5622600778       11/2/2011       14:12:49
38010      5622604107       9/8/2011        19:56:34
38011      5622613100       11/30/2011      15:01:54
38012      5622614685       5/31/2011       11:51:47
38013      5622617672       2/13/2012       18:53:10
38014      5622621261       9/14/2011       21:38:08
38015      5622649110       7/20/2012       15:00:22
38016      5622649236       5/2/2012        13:07:55
38017      5622649236       5/15/2012       11:15:56
38018      5622649861       5/4/2012        21:00:45
38019      5622712357       12/17/2011      12:18:00
38020      5622718957       12/24/2011      11:36:27
38021      5622718957       1/25/2012       18:27:19
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38022      5622741701       6/9/2012        15:09:20
38023      5622741701       7/19/2012       17:41:07
38024      5622743234       11/15/2011      20:07:33
38025      5622743519       10/4/2011       13:28:34
38026      5622746254       1/27/2012       17:49:43
38027      5622746377       7/28/2012       11:12:18
38028      5622746598       10/19/2012      13:27:53
38029      5622752005       8/12/2011       10:36:37
38030      5622760425       8/9/2011        13:56:47
38031      5622763691       9/20/2011       18:48:35
38032      5622768276       10/13/2011      10:31:22
38033      5622776270       12/28/2011      21:14:08
38034      5622776279       9/12/2011       14:34:39
38035      5622778445       1/12/2012       14:09:32
38036      5622778445       3/8/2012        20:30:19
38037      5622784420       5/13/2012       18:09:00
38038      5622784723       10/10/2011      12:08:06
38039      5622786336       10/1/2011       10:56:58
38040      5622795944       6/4/2011        10:56:05
38041      5622809240       11/28/2011      18:15:43
38042      5622809551       9/21/2012       15:58:31
38043      5622812996       7/30/2012       18:39:58
38044      5622858533       2/4/2012        13:13:17
38045      5622915547       9/14/2012       10:52:13
38046      5622920413       7/18/2012       18:27:19
38047      5622922672       4/16/2011       15:36:32
38048      5622923073       3/28/2012       12:38:53
38049      5622935092       9/27/2011       18:19:07
38050      5622935092       10/5/2011       14:22:21
38051      5622935092       10/12/2011      11:56:19
38052      5622980034       8/11/2012       12:25:27
38053      5622980034       10/1/2012       21:34:45
38054      5622982847       9/12/2011       13:36:50
38055      5622986097       2/9/2012        14:34:11
38056      5622993802       10/17/2011      11:00:17
38057      5622993971       7/18/2012       14:50:21
38058      5622998425       3/20/2012       20:02:05
38059      5623016506       4/30/2012       21:06:43
38060      5623019854       9/28/2011       10:40:33
38061      5623019854       12/5/2011       10:02:06
38062      5623032668       4/20/2012       14:43:46
38063      5623033300       7/21/2012       10:53:56
38064      5623033464       9/8/2011        18:19:12
38065      5623043219       6/6/2012        21:22:37
38066      5623045901       4/26/2011       20:32:39
38067      5623055004       9/13/2012       15:24:31
38068      5623056442       10/25/2011      15:49:04
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38069      5623056990       9/12/2011       13:38:33
38070      5623057113       11/29/2011      15:51:37
38071      5623071771       11/14/2011      15:41:01
38072      5623073450       6/4/2012        10:02:18
38073      5623077570       11/17/2011      16:35:56
38074      5623087666       4/30/2012       21:34:23
38075      5623087836       12/23/2011      14:34:34
38076      5623093217       4/23/2012       13:11:29
38077      5623095598       12/19/2011      11:21:48
38078      5623095598       5/1/2012        18:32:33
38079      5623097231       11/1/2011       11:42:42
38080      5623097354       3/13/2012       12:54:22
38081      5623101191       12/21/2011      10:07:07
38082      5623102337       2/15/2012       11:16:46
38083      5623107104       7/27/2012       15:38:01
38084      5623107124       12/15/2011      10:19:14
38085      5623107124       1/8/2012        16:46:37
38086      5623107246       10/5/2011       14:50:54
38087      5623107831       10/22/2011      12:48:54
38088      5623107874       9/12/2011       14:37:12
38089      5623130464       10/15/2012      16:24:35
38090      5623131822       6/18/2011       15:37:09
38091      5623131840       9/22/2011       15:34:03
38092      5623131995       9/23/2011       11:52:27
38093      5623132343       10/10/2011      12:08:17
38094      5623133139       10/14/2013      15:20:06
38095      5623133695       5/6/2012        20:25:52
38096      5623134173       9/10/2011       12:40:20
38097      5623134376       3/28/2012       18:26:02
38098      5623134444       8/25/2012       11:00:03
38099      5623137075       4/16/2011       15:45:59
38100      5623137466       11/11/2011      20:28:00
38101      5623138362       3/23/2012       14:30:13
38102      5623139518       7/31/2012       21:06:00
38103      5623139687       1/7/2012        10:22:20
38104      5623167554       9/21/2011       12:03:49
38105      5623169294       7/2/2012        15:29:04
38106      5623186017       9/24/2011       10:09:15
38107      5623187020       8/13/2011       10:42:07
38108      5623187020       9/19/2011       15:00:20
38109      5623187020       9/26/2011       13:21:46
38110      5623209652       12/10/2011      14:53:02
38111      5623210419       7/20/2012       19:49:52
38112      5623210420       7/24/2012       20:33:55
38113      5623214876       10/11/2011      17:41:31
38114      5623225626       11/14/2011      15:46:29
38115      5623225626       11/26/2011      12:14:35
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38116      5623225626       12/20/2011      19:27:24
38117      5623225626       4/16/2012       16:12:21
38118      5623226990       9/8/2011        18:18:25
38119      5623228433       5/16/2011       13:16:54
38120      5623241974       10/6/2011       17:07:56
38121      5623245640       3/6/2012        15:53:19
38122      5623245640       3/12/2012       19:13:17
38123      5623245640       4/16/2012       15:53:33
38124      5623257188       12/23/2011      15:16:04
38125      5623259681       3/17/2012       11:54:16
38126      5623260203       7/30/2012       13:45:20
38127      5623260787       7/9/2012        11:00:34
38128      5623260905       10/15/2012      16:06:48
38129      5623261235       5/3/2012        21:16:33
38130      5623261802       6/22/2012       21:02:17
38131      5623261802       7/2/2012        17:27:49
38132      5623263618       6/30/2012       11:12:34
38133      5623263618       7/18/2012       18:37:13
38134      5623266393       10/24/2011      14:21:55
38135      5623266418       3/23/2012       19:55:55
38136      5623266564       1/17/2012       18:50:11
38137      5623266925       1/8/2012        16:45:12
38138      5623266947       11/30/2011      13:17:13
38139      5623267591       9/21/2012       16:12:00
38140      5623268671       9/18/2012       21:30:19
38141      5623283229       9/10/2011       12:37:06
38142      5623283231       9/19/2011       15:01:39
38143      5623283231       11/5/2011       10:30:43
38144      5623286460       6/26/2012       21:14:15
38145      5623288716       2/9/2012        20:34:58
38146      5623316673       9/25/2012       15:23:09
38147      5623317181       3/15/2012       19:21:30
38148      5623330312       10/8/2011       10:17:37
38149      5623335323       1/5/2012        14:10:15
38150      5623335863       11/16/2011      10:10:07
38151      5623352328       2/28/2012       16:09:53
38152      5623354678       11/18/2011      13:10:29
38153      5623357593       8/9/2012        14:04:44
38154      5623386442       2/3/2012        20:07:40
38155      5623402337       9/24/2011       10:03:13
38156      5623464271       8/22/2012       21:43:58
38157      5623478025       11/20/2011      11:12:20
38158      5623479055       10/19/2011      12:06:09
38159      5623552907       8/3/2012        16:26:34
38160      5623553344       9/10/2011       12:38:34
38161      5623553377       9/9/2011        18:37:34
38162      5623557070       9/27/2011       18:19:38
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38163      5623604214       3/22/2012       14:07:11
38164      5623604214       4/3/2012        16:04:29
38165      5623606383       9/10/2011       12:35:12
38166      5623606468       10/27/2011      17:01:39
38167      5623607530       9/12/2011       13:35:30
38168      5623608433       4/25/2012       18:39:45
38169      5623612204       4/25/2012       21:37:25
38170      5623612208       10/8/2012       12:47:19
38171      5623612249       6/9/2012        14:49:03
38172      5623613015       1/3/2012        19:52:38
38173      5623613147       6/4/2012        21:08:14
38174      5623616559       4/21/2011       13:16:55
38175      5623666197       10/4/2011       14:00:41
38176      5623679886       11/25/2011      18:34:22
38177      5623706538       4/21/2012       10:09:34
38178      5623714371       1/10/2012       20:57:00
38179      5623751553       8/1/2012        10:58:03
38180      5623751711       9/14/2011       21:36:31
38181      5623751748       10/1/2011       10:57:13
38182      5623752140       12/19/2011      11:21:09
38183      5623752224       11/12/2011      10:59:26
38184      5623753924       1/11/2012       10:54:28
38185      5623755701       5/10/2012       21:30:30
38186      5623772660       11/9/2011       10:31:57
38187      5623813269       11/2/2011       14:36:44
38188      5623814493       4/30/2012       14:40:24
38189      5623814675       12/5/2011       10:16:42
38190      5623824791       11/27/2011      15:38:00
38191      5623875520       10/11/2011      16:41:21
38192      5623878298       10/24/2012      15:17:36
38193      5623878889       5/29/2012       17:17:15
38194      5623882865       9/13/2012       21:29:39
38195      5623883485       7/31/2012       15:44:44
38196      5623883485       8/14/2012       21:02:09
38197      5623922082       7/21/2011       14:24:57
38198      5623922568       2/14/2012       16:43:26
38199      5623922568       3/1/2012        21:54:29
38200      5623925076       12/28/2011      20:51:23
38201      5623942971       1/27/2012       11:57:01
38202      5623943681       7/10/2012       11:53:10
38203      5623945872       9/14/2012       21:09:40
38204      5623947109       12/12/2011      12:33:23
38205      5623948874       8/1/2012        20:11:27
38206      5623962379       9/8/2011        19:15:33
38207      5623966005       9/3/2012        14:59:03
38208      5623966374       1/25/2012       18:23:35
38209      5623967626       10/22/2011      12:50:52
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38210      5623967626       1/10/2012       21:36:02
38211      5623968889       4/2/2012        12:56:18
38212      5624005108       10/17/2012      18:32:33
38213      5624005651       10/8/2011       12:20:55
38214      5624006259       8/9/2012        21:57:39
38215      5624008709       11/28/2011      18:14:55
38216      5624094443       2/2/2012        16:44:18
38217      5624124090       11/2/2011       14:35:55
38218      5624130621       6/3/2011        17:09:55
38219      5624131991       10/7/2011       8:13:54
38220      5624134110       11/23/2011      15:00:50
38221      5624134987       8/3/2011        12:01:57
38222      5624136068       10/5/2011       14:49:42
38223      5624153165       12/30/2011      12:54:01
38224      5624153300       9/20/2012       21:02:05
38225      5624153915       7/20/2012       11:22:00
38226      5624153915       8/15/2012       12:26:17
38227      5624153982       2/20/2012       13:57:09
38228      5624154272       5/8/2012        21:09:44
38229      5624154584       3/14/2012       14:23:28
38230      5624155556       12/1/2011       20:58:49
38231      5624156033       3/2/2012        19:01:07
38232      5624156860       12/29/2011      19:08:45
38233      5624157404       6/29/2012       17:40:24
38234      5624157665       9/8/2012        11:14:05
38235      5624157978       5/21/2011       11:13:33
38236      5624165256       9/28/2012       16:55:26
38237      5624165436       7/12/2012       13:13:54
38238      5624173205       2/17/2012       10:46:34
38239      5624174300       12/24/2011      11:35:18
38240      5624176906       11/15/2011      20:12:25
38241      5624188564       10/5/2011       14:50:18
38242      5624190918       6/27/2012       12:24:29
38243      5624199059       9/13/2012       21:31:11
38244      5624199059       10/10/2012      19:09:18
38245      5624199263       5/23/2012       15:22:30
38246      5624199631       7/11/2012       19:17:52
38247      5624199867       2/9/2012        20:46:43
38248      5624367692       6/2/2011        11:36:07
38249      5624400409       2/16/2012       11:28:09
38250      5624402458       9/13/2012       21:29:13
38251      5624403669       9/12/2011       13:38:17
38252      5624404004       1/18/2012       10:03:03
38253      5624405350       2/20/2012       13:00:13
38254      5624409255       10/18/2011      13:13:37
38255      5624409255       12/2/2011       14:17:44
38256      5624409878       1/25/2012       20:41:17
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38257      5624416473       7/26/2012       19:22:53
38258      5624419186       1/21/2012       8:51:41
38259      5624419186       7/23/2012       15:33:10
38260      5624430092       8/17/2011       19:19:16
38261      5624430851       11/11/2011      20:16:20
38262      5624431206       9/14/2011       12:42:29
38263      5624456235       10/10/2011      13:04:18
38264      5624457040       9/28/2011       11:34:14
38265      5624459100       8/4/2012        10:42:55
38266      5624467644       5/30/2012       12:34:27
38267      5624470775       3/7/2012        18:46:29
38268      5624474096       7/19/2012       17:40:57
38269      5624479950       4/12/2012       18:29:39
38270      5624484333       6/20/2012       16:59:02
38271      5624499727       11/15/2011      20:17:41
38272      5624499999       3/23/2011       20:18:33
38273      5624507476       1/13/2012       17:19:30
38274      5624555256       11/3/2011       17:28:39
38275      5624558804       12/30/2011      12:47:38
38276      5624558804       2/28/2012       15:55:49
38277      5624577096       11/15/2011      16:42:21
38278      5624578716       5/3/2012        10:12:06
38279      5624578900       10/5/2011       14:52:29
38280      5624584666       10/12/2011      8:13:36
38281      5624585042       5/6/2012        21:20:59
38282      5624588680       11/11/2011      20:15:14
38283      5624647132       8/16/2012       19:55:32
38284      5624648326       7/14/2011       17:01:09
38285      5624648606       8/4/2012        10:40:12
38286      5624648807       3/6/2012        20:32:22
38287      5624698180       12/30/2011      12:54:28
38288      5624698296       1/23/2012       19:23:37
38289      5624698581       10/9/2012       20:03:26
38290      5624698935       9/8/2011        18:17:56
38291      5624727557       2/17/2012       10:45:37
38292      5624727557       7/9/2012        19:18:15
38293      5624793282       4/30/2012       15:00:54
38294      5624793553       4/26/2012       21:20:47
38295      5624795281       5/28/2012       10:48:37
38296      5624795281       6/18/2012       15:15:21
38297      5624795440       1/17/2012       13:31:22
38298      5624795440       8/13/2012       20:54:17
38299      5624795617       12/31/2011      12:10:03
38300      5624799285       5/25/2012       11:57:50
38301      5624804960       9/28/2011       10:41:23
38302      5624809800       1/3/2012        19:46:45
38303      5624814908       9/10/2011       12:46:21
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38304      5624815445       11/18/2011      13:13:04
38305      5624815879       9/9/2011        18:10:49
38306      5624818540       8/28/2012       12:02:21
38307      5624839490       6/7/2012        18:26:16
38308      5624841842       7/10/2012       21:11:44
38309      5624857108       7/22/2011       13:58:07
38310      5624857108       9/8/2011        19:09:46
38311      5624893553       4/16/2011       15:37:46
38312      5624895200       12/17/2011      11:44:05
38313      5624898295       3/29/2011       16:38:53
38314      5624929328       2/13/2012       18:51:06
38315      5625000798       2/28/2012       16:07:59
38316      5625002663       8/15/2012       21:44:00
38317      5625007710       7/22/2012       12:16:45
38318      5625009824       4/12/2012       14:54:20
38319      5625054026       4/4/2012        18:41:46
38320      5625055702       4/14/2012       10:23:41
38321      5625059598       12/20/2011      15:10:41
38322      5625066131       2/7/2012        16:36:46
38323      5625067923       5/18/2012       11:49:18
38324      5625070723       4/26/2012       11:23:06
38325      5625072880       4/19/2012       20:19:27
38326      5625074395       7/13/2012       12:11:23
38327      5625075192       10/7/2011       17:43:41
38328      5625075192       10/14/2011      19:28:42
38329      5625075792       9/6/2012        21:14:11
38330      5625076709       9/23/2011       11:52:44
38331      5625077048       10/8/2011       12:31:05
38332      5625077602       3/7/2012        18:45:36
38333      5625089755       7/15/2011       10:41:30
38334      5625089821       9/4/2012        21:53:30
38335      5625130906       6/25/2012       13:29:43
38336      5625193937       7/17/2012       12:33:17
38337      5625194036       1/9/2012        18:21:00
38338      5625229710       4/8/2011        19:02:19
38339      5625229710       10/7/2011       10:30:42
38340      5625229752       9/28/2012       14:31:12
38341      5625330776       3/23/2012       19:42:44
38342      5625337661       9/20/2011       16:56:52
38343      5625362051       11/14/2011      15:29:41
38344      5625363400       9/14/2011       16:57:36
38345      5625369971       3/6/2012        21:11:26
38346      5625372013       7/16/2012       14:25:38
38347      5625445111       4/3/2012        20:17:45
38348      5625445888       12/17/2011      12:19:41
38349      5625446148       11/15/2011      20:17:30
38350      5625474325       10/3/2011       7:46:01
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38351      5625522390       9/23/2011       11:49:49
38352      5625522390       10/19/2011      12:27:11
38353      5625525661       9/13/2012       15:18:10
38354      5625569182       5/27/2011       17:10:58
38355      5625650153       6/24/2011       12:30:09
38356      5625696308       11/11/2011      20:16:19
38357      5625698328       10/20/2011      20:56:30
38358      5625698628       9/12/2011       13:35:03
38359      5625762088       10/18/2012      14:31:51
38360      5625774314       2/20/2012       17:22:05
38361      5625775680       8/12/2011       11:51:33
38362      5625776690       6/6/2012        10:17:06
38363      5625875012       1/5/2012        14:11:03
38364      5625877290       5/10/2011       19:48:07
38365      5625877318       10/4/2011       13:27:41
38366      5625878981       12/12/2011      11:59:52
38367      5625879429       4/23/2011       10:41:15
38368      5625999115       1/5/2012        21:16:34
38369      5626064708       8/4/2011        19:19:47
38370      5626068234       3/13/2012       18:59:11
38371      5626069479       3/3/2012        9:04:55
38372      5626073945       2/2/2012        16:36:39
38373      5626085021       9/10/2012       21:06:50
38374      5626086721       7/13/2012       18:30:53
38375      5626128396       4/25/2012       21:23:55
38376      5626128980       2/9/2012        20:39:08
38377      5626162362       9/19/2011       14:48:01
38378      5626162633       10/31/2011      10:05:16
38379      5626162633       12/14/2011      17:55:23
38380      5626183842       4/11/2012       19:39:17
38381      5626184316       3/23/2011       20:18:32
38382      5626186609       9/10/2012       21:07:53
38383      5626187755       5/9/2012        14:34:53
38384      5626188406       3/12/2012       19:13:59
38385      5626188406       8/15/2012       12:25:19
38386      5626188406       10/17/2012      18:38:16
38387      5626196858       10/3/2011       10:43:07
38388      5626196858       10/17/2011      10:50:08
38389      5626376560       5/20/2011       18:14:31
38390      5626391118       3/23/2012       14:30:04
38391      5626392307       3/13/2012       12:56:40
38392      5626397478       10/3/2011       10:35:58
38393      5626398118       3/14/2012       14:47:09
38394      5626399917       4/7/2012        12:12:53
38395      5626399917       4/18/2012       18:03:48
38396      5626411050       5/23/2012       16:39:53
38397      5626440539       1/26/2012       10:02:37
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38398      5626441576       6/2/2012        13:13:35
38399      5626501116       10/23/2012      16:11:12
38400      5626504922       2/20/2012       13:56:23
38401      5626522871       5/18/2012       11:48:31
38402      5626522971       7/9/2011        10:12:45
38403      5626524588       5/23/2012       16:53:52
38404      5626585431       9/25/2012       15:25:03
38405      5626585433       8/4/2012        10:24:02
38406      5626593769       8/6/2011        13:10:06
38407      5626610970       10/5/2011       14:52:09
38408      5626613154       1/19/2012       18:44:34
38409      5626613322       11/11/2011      13:29:55
38410      5626613548       10/2/2012       10:10:30
38411      5626617412       7/30/2012       13:22:37
38412      5626617452       12/31/2011      12:11:40
38413      5626617703       2/16/2012       11:24:39
38414      5626650750       12/2/2011       14:38:26
38415      5626655506       1/17/2012       17:06:10
38416      5626657111       4/12/2012       18:27:01
38417      5626659509       7/23/2011       13:26:53
38418      5626731646       1/9/2012        21:22:52
38419      5626736612       3/29/2011       16:40:42
38420      5626746421       4/29/2011       20:39:07
38421      5626746595       12/27/2011      14:41:33
38422      5626746963       10/3/2011       10:34:45
38423      5626747055       9/25/2012       15:23:07
38424      5626747055       10/12/2012      21:30:05
38425      5626747295       7/19/2012       17:31:21
38426      5626747414       7/13/2012       14:06:06
38427      5626747514       5/3/2012        10:08:04
38428      5626747771       3/8/2012        20:35:17
38429      5626748021       1/25/2012       20:28:14
38430      5626748566       9/22/2011       15:36:29
38431      5626748965       6/5/2012        19:49:59
38432      5626765852       7/31/2012       21:07:55
38433      5626765852       8/3/2012        16:37:05
38434      5626767644       11/30/2011      13:10:42
38435      5626775946       8/13/2012       20:54:43
38436      5626826127       4/16/2012       10:17:53
38437      5626827953       2/11/2012       15:51:53
38438      5626860852       4/2/2012        17:35:28
38439      5626865889       8/11/2012       12:24:38
38440      5626867928       12/10/2011      13:18:37
38441      5626869966       10/5/2012       18:26:39
38442      5626880486       6/11/2012       18:10:39
38443      5626882446       9/14/2011       21:38:25
38444      5626883338       9/27/2012       16:32:55
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38445      5626883419       10/15/2011      11:14:40
38446      5626884032       9/28/2012       16:45:44
38447      5626884733       9/12/2012       15:19:57
38448      5626885016       6/6/2012        21:23:16
38449      5626885093       5/1/2012        18:33:48
38450      5626887237       11/18/2011      13:12:16
38451      5626888168       4/26/2012       11:23:18
38452      5626889731       11/26/2011      13:57:02
38453      5626987567       2/25/2012       11:11:48
38454      5627043194       10/6/2011       17:01:32
38455      5627043498       8/22/2012       21:44:18
38456      5627047181       7/6/2012        16:49:08
38457      5627122280       8/1/2011        19:48:01
38458      5627122409       10/4/2011       14:01:00
38459      5627123640       1/4/2012        11:11:09
38460      5627123640       1/11/2012       11:00:40
38461      5627123866       9/23/2011       19:07:46
38462      5627131142       9/26/2011       13:22:25
38463      5627144100       5/18/2012       16:08:08
38464      5627144881       12/31/2011      12:09:31
38465      5627196579       5/26/2014       11:17:19
38466      5627197015       3/13/2012       18:53:04
38467      5627260848       8/16/2012       14:28:58
38468      5627260936       2/10/2012       10:37:45
38469      5627266465       11/26/2011      12:11:46
38470      5627266888       9/22/2012       12:21:02
38471      5627266888       9/27/2012       13:25:16
38472      5627267412       5/1/2012        17:49:38
38473      5627267412       5/23/2012       15:03:09
38474      5627283452       9/19/2011       19:21:59
38475      5627455398       5/11/2012       10:46:31
38476      5627457790       7/2/2012        17:30:13
38477      5627457952       7/15/2012       10:42:06
38478      5627463717       11/16/2011      20:02:32
38479      5627468033       3/14/2012       14:22:28
38480      5627468091       10/3/2012       20:03:53
38481      5627469019       10/20/2011      15:50:20
38482      5627537485       5/4/2012        21:03:27
38483      5627540058       1/30/2012       9:19:23
38484      5627546488       10/8/2012       20:08:44
38485      5627550268       11/12/2011      11:02:39
38486      5627551106       5/3/2012        10:12:55
38487      5627552524       11/17/2011      16:36:50
38488      5627554272       11/20/2013      13:56:24
38489      5627555528       2/4/2012        13:12:35
38490      5627563133       2/14/2012       16:53:35
38491      5627585748       11/5/2011       10:35:30
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38492      5627600630       9/27/2011       18:54:47
38493      5627603836       2/1/2012        18:46:10
38494      5627606050       9/28/2012       16:43:56
38495      5627606821       10/2/2012       10:09:47
38496      5627606821       10/11/2012      18:41:59
38497      5627608748       1/18/2012       21:24:06
38498      5627612764       4/3/2012        20:13:46
38499      5627625124       6/1/2012        10:42:35
38500      5627625231       8/15/2012       21:42:03
38501      5627738032       7/19/2011       17:07:34
38502      5627746156       10/23/2012      10:38:02
38503      5627746419       3/13/2012       14:06:24
38504      5627747443       1/17/2012       18:49:38
38505      5627818858       3/7/2012        10:02:44
38506      5627863985       11/22/2011      19:49:27
38507      5627867540       9/23/2011       11:53:52
38508      5627869500       3/23/2011       20:20:40
38509      5627871829       7/19/2012       17:40:33
38510      5627875281       3/13/2012       12:48:17
38511      5627875281       6/27/2012       17:54:20
38512      5627876688       7/16/2012       19:41:01
38513      5627878224       11/11/2011      20:15:28
38514      5627878470       12/7/2011       14:23:39
38515      5627878470       4/21/2012       16:28:25
38516      5627881267       4/4/2012        18:44:49
38517      5627947906       2/13/2012       11:36:55
38518      5628053376       4/18/2012       17:54:09
38519      5628055436       11/28/2011      11:34:35
38520      5628055476       9/24/2011       10:05:29
38521      5628057994       10/25/2011      15:44:39
38522      5628100422       9/13/2011       18:30:48
38523      5628104600       9/7/2012        15:48:15
38524      5628109639       1/31/2012       10:24:13
38525      5628189249       2/28/2012       13:08:47
38526      5628240690       11/4/2011       10:12:46
38527      5628249953       1/9/2012        18:21:37
38528      5628332551       1/6/2012        14:55:34
38529      5628337482       12/20/2011      20:56:22
38530      5628435809       11/28/2011      12:31:55
38531      5628528363       12/15/2011      10:16:33
38532      5628618539       12/29/2011      19:40:52
38533      5628620928       1/7/2012        10:25:07
38534      5628794723       1/10/2012       15:24:27
38535      5628795608       10/22/2012      17:52:38
38536      5628817288       11/30/2011      15:35:52
38537      5628821888       11/17/2011      15:59:36
38538      5628834706       8/27/2013       19:31:08
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38539      5628840169       5/31/2011       11:52:19
38540      5628843604       12/31/2011      11:55:15
38541      5628847009       9/4/2012        16:01:47
38542      5628849356       5/30/2012       16:59:15
38543      5628965210       1/13/2012       10:39:45
38544      5629000828       1/30/2012       10:13:57
38545      5629000828       2/14/2012       10:04:23
38546      5629003306       10/17/2011      10:45:35
38547      5629003391       2/7/2012        16:40:07
38548      5629008179       7/9/2012        10:59:06
38549      5629009212       3/15/2011       11:13:27
38550      5629009828       9/28/2013       13:50:43
38551      5629044034       11/3/2011       17:31:20
38552      5629165886       3/2/2012        19:18:36
38553      5629222240       11/15/2011      15:54:15
38554      5629223345       9/13/2012       15:23:02
38555      5629225811       12/6/2011       14:19:09
38556      5629229292       7/9/2012        10:57:25
38557      5629229591       5/26/2012       14:44:34
38558      5629644287       8/7/2012        21:42:54
38559      5629645832       2/15/2012       14:37:22
38560      5629649454       3/23/2012       19:56:03
38561      5629651427       6/19/2012       12:05:55
38562      5629656617       5/8/2012        21:08:05
38563      5629657310       7/17/2012       21:55:28
38564      5629657469       4/3/2012        20:20:30
38565      5629657780       6/15/2012       16:53:51
38566      5629659688       7/26/2012       19:16:41
38567      5629720384       2/4/2012        13:24:03
38568      5629722912       9/18/2012       14:34:50
38569      5629724165       4/11/2012       19:41:01
38570      5629724308       6/29/2011       17:48:19
38571      5629802247       4/21/2011       13:09:25
38572      5629814217       9/19/2011       14:46:52
38573      5629910126       5/23/2012       16:32:16
38574      5629910710       4/2/2012        17:35:36
38575      5629912109       10/17/2012      12:49:36
38576      5629917249       12/12/2011      12:31:10
38577      5629917565       10/11/2011      17:42:34
38578      5629918036       12/6/2011       13:45:53
38579      5629918310       11/15/2011      16:42:23
38580      5629918370       3/22/2012       14:34:09
38581      5629918388       6/1/2012        10:42:34
38582      5632092950       7/17/2012       12:24:48
38583      5632102383       8/13/2012       8:30:39
38584      5632103760       7/25/2011       17:38:16
38585      5632120540       9/21/2011       11:30:35
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38586      5632211477       1/16/2012       15:50:57
38587      5632602635       9/21/2012       18:45:32
38588      5632606275       9/21/2011       19:30:09
38589      5632609328       9/27/2012       16:30:43
38590      5632609550       10/7/2012       13:09:56
38591      5632657499       7/9/2012        8:55:04
38592      5632711844       10/17/2011      8:37:18
38593      5632712479       10/15/2011      9:29:16
38594      5632728332       10/7/2011       8:09:58
38595      5632729028       1/2/2012        11:59:27
38596      5632995561       9/19/2011       8:13:21
38597      5633204260       5/5/2012        8:27:40
38598      5633204260       5/21/2012       8:18:52
38599      5633215905       4/12/2012       12:31:22
38600      5633491384       3/7/2012        18:31:47
38601      5633491385       2/29/2012       17:33:13
38602      5633492462       9/24/2011       9:19:32
38603      5633499883       9/22/2011       15:18:20
38604      5633703142       8/29/2012       11:11:28
38605      5633703142       10/11/2012      18:38:01
38606      5633802770       9/21/2011       11:58:18
38607      5633810914       8/31/2012       16:28:42
38608      5633817587       4/15/2012       17:26:00
38609      5633919138       9/29/2011       15:29:29
38610      5634190676       1/20/2012       11:46:38
38611      5634193574       9/5/2012        15:22:45
38612      5634198191       5/26/2012       14:37:54
38613      5634227544       9/19/2011       8:31:09
38614      5634513195       12/12/2011      11:55:45
38615      5634513195       12/27/2011      14:39:46
38616      5634516203       12/6/2011       12:49:06
38617      5634683058       4/2/2012        14:39:48
38618      5634683215       7/18/2012       7:05:42
38619      5634683215       9/20/2012       7:04:28
38620      5634951268       3/30/2012       16:10:53
38621      5634955215       5/16/2012       9:28:09
38622      5634992108       10/19/2011      12:12:48
38623      5634993503       12/29/2011      10:50:51
38624      5634994132       9/10/2011       9:08:58
38625      5634996578       12/20/2011      15:09:09
38626      5635050178       9/28/2011       10:29:44
38627      5635050178       10/14/2011      12:52:04
38628      5635050178       1/25/2012       9:38:34
38629      5635053423       9/29/2011       15:46:23
38630      5635056035       12/21/2011      19:08:11
38631      5635056510       2/28/2012       13:05:26
38632      5635059158       10/12/2011      8:05:57
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38633      5635059158       4/11/2012       11:15:20
38634      5635280442       3/10/2012       8:50:55
38635      5635281522       12/26/2011      9:27:32
38636      5635284258       3/29/2012       16:43:39
38637      5635285655       6/8/2012        8:05:03
38638      5635285816       1/17/2012       9:48:27
38639      5635285816       3/20/2012       17:40:29
38640      5635285937       3/7/2012        18:59:22
38641      5635423998       6/22/2012       8:54:10
38642      5635428184       5/5/2011        13:18:14
38643      5635429208       6/16/2012       15:06:52
38644      5635436001       11/18/2011      12:55:12
38645      5635436002       10/15/2011      10:47:22
38646      5635437280       5/24/2012       11:54:44
38647      5635540440       3/26/2012       8:12:25
38648      5635641899       10/22/2012      17:58:22
38649      5635642735       8/14/2012       20:56:54
38650      5635642735       9/21/2012       18:46:04
38651      5635701405       10/23/2012      10:52:07
38652      5635701425       10/19/2011      12:12:11
38653      5635706323       12/7/2011       13:42:41
38654      5635710318       10/25/2012      12:26:52
38655      5635710459       9/22/2012       9:43:47
38656      5635712127       9/24/2011       9:26:49
38657      5635716085       4/26/2011       20:01:10
38658      5635716300       8/29/2011       12:20:36
38659      5635716663       10/7/2011       8:03:06
38660      5635791775       9/29/2011       15:16:55
38661      5635796129       9/2/2011        13:05:15
38662      5635797854       1/20/2012       20:34:55
38663      5635799302       7/18/2011       11:03:21
38664      5635812558       10/5/2011       14:42:46
38665      5635932416       5/22/2012       11:19:52
38666      5635934774       7/9/2011        8:18:39
38667      5635934933       2/14/2012       10:07:13
38668      5635992721       1/27/2012       11:49:48
38669      5635992721       5/4/2012        14:51:57
38670      5635993496       10/1/2011       10:00:30
38671      5636050259       5/19/2011       8:19:42
38672      5636050866       10/20/2011      16:18:29
38673      5636085016       10/24/2011      8:07:11
38674      5636085016       11/18/2011      12:55:13
38675      5636087364       11/17/2011      15:29:23
38676      5636500801       3/26/2012       18:52:31
38677      5636501161       5/2/2012        13:25:14
38678      5636503727       6/8/2012        17:01:12
38679      5636509058       4/1/2012        16:11:03
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38680      5636635211       11/9/2011       8:28:51
38681      5636637797       11/21/2011      8:41:16
38682      5636637797       3/19/2012       11:54:01
38683      5636766647       9/19/2011       19:21:09
38684      5636767996       9/1/2012        9:26:24
38685      5636768570       10/5/2012       18:19:02
38686      5636769069       6/12/2012       17:14:13
38687      5637232044       3/16/2012       11:10:08
38688      5637262806       8/13/2012       20:52:08
38689      5638804804       1/23/2012       19:16:15
38690      5638806976       11/16/2011      11:24:35
38691      5638807784       1/13/2012       17:16:34
38692      5638809777       11/14/2011      17:13:44
38693      5639205506       9/21/2012       15:56:48
38694      5639407027       5/29/2012       10:50:15
38695      5639409128       10/17/2011      8:49:09
38696      5672011695       9/24/2011       9:11:17
38697      5672016128       7/16/2011       8:47:37
38698      5672016132       9/23/2011       11:28:46
38699      5672018058       2/6/2012        17:10:07
38700      5672018196       12/14/2011      17:50:38
38701      5672032707       10/15/2011      10:25:57
38702      5672032707       11/12/2011      10:19:50
38703      5672044738       4/2/2012        17:29:51
38704      5672046142       5/9/2011        16:34:10
38705      5672070899       7/5/2012        15:28:35
38706      5672081955       7/9/2012        19:06:35
38707      5672191525       6/15/2012       8:57:59
38708      5672191898       10/15/2011      10:30:43
38709      5672244125       10/12/2012      16:51:30
38710      5672244697       11/3/2011       17:34:09
38711      5672245332       1/24/2012       17:15:37
38712      5672300824       6/19/2012       15:41:23
38713      5672302269       6/19/2012       15:41:12
38714      5672304452       10/4/2011       13:40:44
38715      5672304837       10/7/2012       12:47:04
38716      5672316762       6/9/2012        10:46:07
38717      5672395033       8/24/2012       7:28:43
38718      5672497441       12/10/2011      12:08:52
38719      5672597242       3/15/2012       19:03:38
38720      5672597242       8/13/2012       7:42:13
38721      5672599908       9/29/2012       9:53:27
38722      5672774769       9/29/2012       9:44:48
38723      5672793067       9/9/2011        7:34:18
38724      5672986104       11/17/2011      15:12:23
38725      5673959211       12/29/2011      10:54:52
38726      5673959555       7/31/2012       7:04:09
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38727      5674298977       4/12/2012       18:02:14
38728      5675251521       12/26/2011      8:55:27
38729      5676443405       10/25/2012      19:44:40
38730      5676446261       9/29/2011       15:38:55
38731      5676448195       5/29/2012       17:10:10
38732      5676748648       1/24/2012       17:11:16
38733      5676866715       11/30/2011      14:43:53
38734      5676867838       9/20/2011       16:37:13
38735      5676944107       2/14/2012       9:39:20
38736      5677120024       9/8/2011        19:23:21
38737      5677123455       10/11/2011      17:05:32
38738      5677129249       5/21/2012       7:42:27
38739      5677129249       7/20/2012       19:48:55
38740      5678253513       3/28/2012       10:25:55
38741      5678686323       10/18/2011      12:50:33
38742      5702041786       8/20/2012       7:50:06
38743      5702043662       10/27/2011      16:20:43
38744      5702046878       4/10/2012       11:47:27
38745      5702050955       6/11/2012       7:20:54
38746      5702053704       4/5/2012        14:30:49
38747      5702058608       1/23/2012       7:03:43
38748      5702058608       4/2/2012        7:06:59
38749      5702058862       9/1/2012        9:07:44
38750      5702121757       11/12/2011      9:56:21
38751      5702128936       4/10/2012       11:53:23
38752      5702160340       10/14/2011      12:43:15
38753      5702161988       4/10/2012       16:06:45
38754      5702208667       10/8/2011       10:27:37
38755      5702255559       12/27/2011      14:27:02
38756      5702280361       9/29/2011       15:06:19
38757      5702332295       11/1/2011       8:29:01
38758      5702346805       10/4/2011       13:32:50
38759      5702364576       11/12/2011      9:11:33
38760      5702365643       6/20/2012       16:59:16
38761      5702366299       10/14/2011      13:13:48
38762      5702366761       5/9/2011        17:00:30
38763      5702369547       3/19/2012       19:17:39
38764      5702372856       1/5/2012        13:58:43
38765      5702392610       5/31/2012       7:07:26
38766      5702393345       3/2/2012        7:07:39
38767      5702393601       11/5/2011       9:30:45
38768      5702415646       2/1/2012        18:29:33
38769      5702420857       10/1/2011       10:32:35
38770      5702423527       5/1/2012        8:15:51
38771      5702427221       5/8/2012        16:59:00
38772      5702447956       10/22/2012      17:56:24
38773      5702448847       10/5/2012       18:27:07
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38774      5702490794       5/11/2012       18:06:54
38775      5702491024       3/7/2012        18:48:27
38776      5702503150       10/22/2011      12:54:26
38777      5702506384       10/22/2011      12:20:46
38778      5702592343       8/13/2012       7:38:03
38779      5702595191       9/15/2011       7:40:11
38780      5702624601       5/27/2011       8:47:23
38781      5702625529       11/23/2011      9:29:46
38782      5702626700       1/14/2012       12:19:33
38783      5702627289       10/29/2011      10:33:48
38784      5702691908       1/26/2012       7:20:57
38785      5702742445       5/25/2011       17:05:19
38786      5702744295       12/17/2011      13:45:42
38787      5702745727       11/19/2011      8:56:18
38788      5702806841       11/15/2011      15:27:19
38789      5702809882       4/12/2012       12:58:19
38790      5702901700       11/19/2011      8:48:06
38791      5702904412       12/7/2011       17:47:20
38792      5702922032       9/22/2011       15:40:25
38793      5702922088       3/25/2011       9:17:23
38794      5702922088       9/8/2011        19:24:58
38795      5702923727       12/16/2011      15:36:36
38796      5702928009       7/28/2011       10:16:45
38797      5702941998       10/10/2011      11:40:47
38798      5702946238       4/1/2012        17:01:42
38799      5702952935       5/18/2012       11:58:41
38800      5702955326       2/13/2012       18:26:41
38801      5702958442       10/15/2011      10:29:54
38802      5702990926       6/9/2012        14:54:11
38803      5702991629       4/13/2012       13:12:06
38804      5703012616       5/17/2011       9:25:31
38805      5703014361       8/8/2012        16:16:49
38806      5703091551       8/13/2011       9:51:20
38807      5703092999       3/12/2012       19:22:39
38808      5703094634       11/25/2011      17:27:38
38809      5703098118       9/24/2012       18:50:21
38810      5703099960       7/24/2012       14:38:27
38811      5703136161       6/27/2012       12:16:21
38812      5703169324       7/2/2012        15:17:23
38813      5703280400       3/15/2012       19:29:09
38814      5703285321       12/7/2011       13:17:10
38815      5703285851       12/12/2011      12:12:18
38816      5703323979       1/23/2012       7:19:34
38817      5703328588       9/8/2011        19:43:36
38818      5703351130       10/22/2011      12:23:55
38819      5703353328       9/18/2012       14:22:31
38820      5703353781       9/19/2011       19:03:56
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38821      5703357580       8/27/2011       11:31:41
38822      5703378611       10/8/2011       9:23:44
38823      5703393195       11/11/2011      7:53:26
38824      5703471313       9/22/2011       15:48:36
38825      5703500049       11/15/2011      16:05:05
38826      5703501972       9/29/2011       15:31:00
38827      5703512250       11/9/2011       7:28:20
38828      5703514552       3/14/2012       7:18:51
38829      5703514552       10/6/2012       8:48:13
38830      5703526458       12/27/2011      14:27:02
38831      5703562111       7/14/2011       16:02:52
38832      5703573635       3/9/2012        7:13:16
38833      5703574033       9/27/2012       16:28:01
38834      5703575842       11/9/2011       7:27:12
38835      5703601046       12/3/2011       9:47:37
38836      5703601167       4/21/2012       16:13:05
38837      5703601167       5/16/2012       16:52:47
38838      5703604057       9/25/2012       14:42:22
38839      5703621461       3/13/2012       18:34:55
38840      5703621552       5/21/2012       7:25:25
38841      5703690332       5/18/2012       15:39:04
38842      5703692067       9/13/2011       17:27:49
38843      5703698849       9/21/2012       16:05:09
38844      5703699357       11/29/2011      16:08:59
38845      5703699478       10/11/2011      15:53:00
38846      5703717811       8/20/2012       18:40:08
38847      5703718461       10/6/2011       17:24:11
38848      5703809613       10/1/2011       10:35:36
38849      5703943409       11/5/2011       10:41:17
38850      5703949589       10/19/2012      19:08:33
38851      5703961644       12/22/2011      8:34:57
38852      5703967296       3/6/2012        12:57:56
38853      5703967584       10/17/2011      7:42:34
38854      5704013301       10/4/2011       13:13:52
38855      5704048855       11/12/2011      9:19:28
38856      5704124624       5/2/2012        13:12:04
38857      5704125504       8/25/2012       11:10:40
38858      5704129394       12/16/2011      15:30:35
38859      5704177328       6/23/2012       10:37:00
38860      5704177328       7/26/2012       19:24:14
38861      5704177634       6/9/2012        14:55:12
38862      5704178266       11/30/2011      7:00:59
38863      5704178283       9/1/2012        8:53:41
38864      5704183034       5/18/2012       16:10:33
38865      5704190425       1/6/2012        14:38:40
38866      5704234083       9/3/2012        14:28:15
38867      5704282944       11/30/2011      15:04:15
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38868      5704291979       8/22/2012       11:29:27
38869      5704363245       12/7/2011       13:16:22
38870      5704363521       10/5/2011       14:10:06
38871      5704363887       10/29/2011      11:31:55
38872      5704363887       2/21/2012       17:43:38
38873      5704395433       8/8/2011        15:02:22
38874      5704416055       9/23/2011       7:09:20
38875      5704447900       2/3/2012        7:13:50
38876      5704458424       8/21/2012       13:56:04
38877      5704471413       10/1/2012       8:14:22
38878      5704471880       8/1/2011        19:36:33
38879      5704472023       12/29/2011      11:19:16
38880      5704603744       7/27/2012       12:42:51
38881      5704669937       6/8/2011        18:46:28
38882      5704669937       9/29/2011       15:08:09
38883      5704680960       12/5/2011       8:55:57
38884      5704685788       9/21/2012       15:25:55
38885      5704721468       5/11/2012       18:39:50
38886      5704722515       6/28/2012       14:18:25
38887      5704841215       9/28/2011       9:19:33
38888      5704970122       12/8/2011       12:21:00
38889      5704971962       5/21/2012       17:26:33
38890      5704979973       6/9/2012        14:38:40
38891      5704990925       5/21/2012       7:20:49
38892      5704990925       5/21/2012       7:57:15
38893      5704991650       7/23/2012       15:28:28
38894      5704991650       7/30/2012       13:15:14
38895      5704996414       2/28/2012       16:12:06
38896      5705021667       10/28/2011      13:54:57
38897      5705046566       10/6/2011       16:05:17
38898      5705065548       11/23/2011      14:53:03
38899      5705066408       12/30/2011      7:53:59
38900      5705160334       9/24/2012       18:48:41
38901      5705160335       8/30/2012       17:43:45
38902      5705163003       9/29/2012       9:53:54
38903      5705166468       6/29/2012       17:44:14
38904      5705290144       11/18/2011      12:48:46
38905      5705400597       5/28/2012       8:00:38
38906      5705400597       6/2/2012        13:17:37
38907      5705400700       7/13/2012       17:05:25
38908      5705406851       12/23/2011      7:01:35
38909      5705415486       11/11/2011      13:35:27
38910      5705415774       10/29/2011      11:32:21
38911      5705560863       3/15/2012       13:47:37
38912      5705569375       5/15/2012       7:57:00
38913      5705569477       8/20/2012       18:48:27
38914      5705569858       3/12/2012       19:17:16
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38915      5705613915       4/12/2012       14:53:51
38916      5705619021       8/13/2012       7:35:21
38917      5705730236       4/3/2012        16:05:49
38918      5705730310       3/6/2012        16:56:05
38919      5705737157       7/26/2012       12:01:10
38920      5705737313       10/14/2012      15:16:41
38921      5705738743       11/14/2011      14:19:33
38922      5705745154       10/4/2011       13:11:59
38923      5705747841       9/25/2012       15:11:52
38924      5705753760       5/5/2012        8:19:20
38925      5705781837       10/5/2011       14:09:48
38926      5705788999       12/21/2011      9:53:31
38927      5705796997       5/8/2012        7:14:56
38928      5705811837       9/24/2012       19:02:07
38929      5705820035       5/10/2012       13:06:20
38930      5705820038       10/11/2012      18:35:52
38931      5705824531       3/10/2012       8:28:18
38932      5705900690       10/14/2011      13:09:41
38933      5705902465       2/1/2012        18:35:21
38934      5705905270       9/19/2011       19:26:29
38935      5705908003       1/4/2012        11:03:49
38936      5705912951       11/11/2011      13:32:42
38937      5705923257       2/29/2012       17:46:12
38938      5705924465       9/22/2011       15:07:25
38939      5705928929       2/21/2012       10:50:46
38940      5706041438       9/20/2011       16:32:35
38941      5706045586       7/9/2012        7:15:53
38942      5706046286       10/13/2011      7:20:06
38943      5706049318       3/15/2012       19:26:23
38944      5706049872       3/6/2012        15:43:55
38945      5706061825       2/11/2012       15:27:09
38946      5706143480       5/31/2012       7:08:55
38947      5706149982       6/16/2012       8:41:45
38948      5706176219       5/18/2012       7:13:21
38949      5706177138       5/31/2012       15:13:15
38950      5706180975       10/6/2011       16:03:34
38951      5706246975       1/12/2012       14:02:44
38952      5706246975       5/21/2012       7:23:48
38953      5706373321       10/15/2011      10:25:16
38954      5706476595       10/3/2012       9:21:16
38955      5706479185       6/5/2012        7:13:59
38956      5706508557       12/2/2011       15:21:44
38957      5706556318       3/18/2011       9:12:39
38958      5706560888       9/13/2011       13:47:46
38959      5706566334       12/14/2011      17:52:15
38960      5706568177       12/5/2011       9:12:37
38961      5706601720       1/25/2012       9:01:22
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38962      5706609324       1/14/2012       8:13:37
38963      5706770170       12/15/2011      8:42:50
38964      5706770787       5/4/2012        14:18:05
38965      5706770876       7/28/2012       8:39:29
38966      5706772896       5/28/2012       8:01:05
38967      5706774133       11/2/2011       7:07:47
38968      5706871518       2/29/2012       17:40:23
38969      5706873596       10/5/2011       14:29:46
38970      5706873629       5/13/2012       16:59:14
38971      5706874731       8/15/2012       7:52:50
38972      5706876845       12/8/2011       12:32:03
38973      5706883250       6/16/2012       8:42:32
38974      5706886886       10/13/2011      8:33:02
38975      5706900351       10/14/2011      13:17:22
38976      5706900536       4/24/2012       12:05:35
38977      5706900536       5/21/2012       7:21:38
38978      5706900536       5/21/2012       7:31:46
38979      5706901901       6/9/2012        10:46:16
38980      5706904007       8/25/2012       11:01:23
38981      5706917536       1/29/2012       16:59:23
38982      5706917536       2/6/2012        17:01:09
38983      5706917599       10/15/2011      9:17:40
38984      5706917719       6/12/2012       7:21:21
38985      5707023735       2/6/2012        7:19:32
38986      5707029810       8/24/2012       7:35:09
38987      5707048767       9/20/2011       19:25:28
38988      5707061217       6/2/2012        13:15:28
38989      5707160686       10/25/2011      15:56:59
38990      5707512522       10/20/2011      15:34:00
38991      5707513473       9/28/2012       16:36:32
38992      5707518105       11/23/2011      10:19:56
38993      5707518628       9/16/2011       14:01:19
38994      5707551259       11/17/2011      15:27:39
38995      5707605688       12/12/2011      12:10:07
38996      5707622005       4/22/2012       15:20:32
38997      5707627150       5/23/2012       14:43:34
38998      5707642482       12/31/2011      11:47:07
38999      5707645733       11/1/2011       7:57:14
39000      5707651266       3/13/2012       7:07:29
39001      5707661362       9/24/2011       9:28:35
39002      5707661362       11/5/2011       10:45:07
39003      5707669832       2/11/2012       15:23:07
39004      5707720466       10/31/2011      7:31:37
39005      5707724077       1/6/2012        14:36:17
39006      5707780066       1/23/2012       7:06:43
39007      5707789888       5/25/2011       17:23:28
39008      5707804898       11/28/2011      11:11:13
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39009      5707805186       7/18/2012       18:22:51
39010      5707805186       10/11/2012      7:54:12
39011      5707807500       3/2/2012        18:56:43
39012      5707807501       3/10/2012       8:40:32
39013      5707893441       6/25/2012       13:19:21
39014      5707933033       8/24/2012       7:29:06
39015      5707933033       10/12/2012      16:43:38
39016      5708070033       2/22/2012       7:08:00
39017      5708073408       10/20/2012      8:12:51
39018      5708092676       11/5/2011       10:41:02
39019      5708093012       10/7/2011       7:13:34
39020      5708095797       7/25/2012       11:56:04
39021      5708096504       10/19/2012      19:13:13
39022      5708141808       10/12/2011      7:22:17
39023      5708144041       11/17/2011      15:17:45
39024      5708146464       3/20/2012       9:21:33
39025      5708151659       10/5/2011       14:04:32
39026      5708152948       9/23/2011       11:33:40
39027      5708154560       5/22/2012       18:47:37
39028      5708156312       1/21/2012       11:14:18
39029      5708158177       6/27/2012       12:13:27
39030      5708171353       6/11/2012       16:57:58
39031      5708173966       9/8/2011        18:42:27
39032      5708223640       9/24/2011       9:31:56
39033      5708401215       7/16/2012       19:43:51
39034      5708401621       2/14/2012       13:46:35
39035      5708408087       12/18/2011      17:28:01
39036      5708408087       2/14/2012       16:37:58
39037      5708408174       12/23/2011      15:30:06
39038      5708408174       6/4/2012        8:09:04
39039      5708470140       11/26/2011      11:14:34
39040      5708473268       5/14/2011       11:50:12
39041      5708474391       9/20/2011       16:38:26
39042      5708477429       10/9/2012       19:59:25
39043      5708500338       9/12/2011       13:02:50
39044      5708500338       9/19/2011       7:24:44
39045      5708500338       10/7/2011       7:15:29
39046      5708501152       8/2/2012        18:52:53
39047      5708521610       9/8/2011        19:47:25
39048      5708523700       11/18/2011      12:40:30
39049      5708543793       11/5/2011       10:57:39
39050      5708548594       9/8/2011        17:55:41
39051      5708555771       1/9/2012        18:27:50
39052      5708556730       8/13/2012       7:38:53
39053      5708563235       9/24/2011       9:38:33
39054      5708563235       10/1/2011       9:44:21
39055      5708563780       10/1/2011       9:23:46
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39056      5708563843       10/11/2011      15:51:44
39057      5708563843       11/5/2011       10:48:02
39058      5708564991       10/28/2011      14:13:59
39059      5708566113       10/23/2012      16:03:28
39060      5708568981       3/13/2012       18:30:13
39061      5708617303       4/2/2012        7:44:44
39062      5708623804       7/25/2012       11:54:36
39063      5708757268       2/14/2012       16:46:38
39064      5708757316       11/22/2011      19:19:24
39065      5708759973       6/18/2012       7:49:17
39066      5708759973       10/5/2012       18:30:17
39067      5708771578       8/23/2011       18:37:50
39068      5708811447       10/22/2011      12:32:15
39069      5708812336       11/5/2011       11:14:38
39070      5708816799       8/30/2012       7:50:04
39071      5708981409       10/10/2012      12:35:58
39072      5708991576       10/5/2011       14:00:26
39073      5708991576       10/21/2011      12:26:51
39074      5708991576       11/21/2011      7:30:01
39075      5708992212       9/14/2012       7:08:21
39076      5708995979       8/11/2012       9:35:46
39077      5708996162       6/28/2012       7:07:41
39078      5708997043       7/26/2012       19:12:51
39079      5709035004       3/20/2012       17:40:29
39080      5709035113       10/22/2011      12:31:56
39081      5709035609       3/25/2012       11:53:10
39082      5709035764       9/26/2012       7:11:23
39083      5709037364       3/7/2012        18:30:02
39084      5709039311       8/23/2012       11:39:01
39085      5709056995       3/5/2012        7:50:33
39086      5709061437       11/17/2011      16:22:00
39087      5709064172       7/2/2012        15:16:45
39088      5709064172       7/11/2012       17:19:48
39089      5709095362       2/17/2012       18:16:44
39090      5709096494       12/3/2011       9:07:44
39091      5709160736       1/18/2012       10:36:59
39092      5709163250       1/18/2012       16:34:48
39093      5709163782       12/3/2011       8:56:39
39094      5709261878       12/27/2011      14:34:51
39095      5709265858       7/23/2012       15:19:16
39096      5709268020       12/9/2011       7:53:58
39097      5709268440       6/23/2012       16:12:27
39098      5709320136       1/2/2012        7:17:17
39099      5709320136       1/9/2012        18:22:44
39100      5709330840       9/4/2012        15:43:50
39101      5709331527       5/19/2012       9:25:47
39102      5709335325       6/2/2012        13:16:17
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39103      5709540140       1/9/2012        18:24:19
39104      5709556491       10/11/2011      17:01:29
39105      5709564326       10/17/2011      7:13:01
39106      5709569200       7/16/2012       19:46:52
39107      5709715941       11/12/2011      9:48:16
39108      5709751345       10/7/2011       17:27:23
39109      5709757660       2/4/2012        8:44:02
39110      5709825326       7/27/2011       17:23:31
39111      5709825789       3/16/2012       10:36:56
39112      5709856436       9/15/2011       7:34:55
39113      5709918846       1/11/2012       7:34:42
39114      5709942909       1/12/2012       14:12:38
39115      5709948760       9/19/2011       19:02:29
39116      5712017542       9/14/2011       9:27:24
39117      5712089236       9/22/2011       15:53:47
39118      5712089236       5/2/2012        13:38:05
39119      5712128292       4/20/2011       19:21:12
39120      5712154407       10/15/2012      16:19:11
39121      5712156553       10/17/2012      18:34:16
39122      5712157905       4/2/2012        17:38:53
39123      5712159028       7/11/2012       17:19:06
39124      5712164628       7/26/2011       10:24:08
39125      5712171913       9/21/2012       18:44:18
39126      5712173506       9/19/2011       19:03:45
39127      5712177109       12/7/2011       14:45:09
39128      5712209274       7/18/2011       10:55:11
39129      5712217089       11/5/2011       9:38:30
39130      5712245775       3/2/2012        18:42:50
39131      5712245776       6/19/2012       7:57:51
39132      5712245843       9/17/2011       10:01:21
39133      5712246030       8/3/2012        16:26:35
39134      5712251100       7/14/2011       8:10:48
39135      5712253482       8/4/2012        7:59:48
39136      5712283150       11/29/2011      7:39:32
39137      5712292566       9/20/2011       16:42:57
39138      5712296082       1/10/2012       15:15:24
39139      5712304728       11/2/2011       7:08:08
39140      5712305373       1/10/2012       18:04:57
39141      5712323564       6/19/2012       15:47:33
39142      5712323564       6/28/2012       14:26:21
39143      5712338011       4/22/2012       15:20:32
39144      5712338033       8/5/2011        17:46:19
39145      5712343282       11/22/2011      18:36:26
39146      5712351277       3/30/2011       8:58:19
39147      5712363231       3/27/2012       7:09:20
39148      5712363552       9/24/2011       9:30:47
39149      5712366878       9/4/2012        16:05:33
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39150      5712367277       11/9/2011       7:38:46
39151      5712367277       2/6/2012        17:13:40
39152      5712380147       11/15/2011      15:26:22
39153      5712381469       9/26/2011       8:01:58
39154      5712384227       9/20/2011       16:33:56
39155      5712384241       10/1/2011       10:35:37
39156      5712396091       6/19/2012       13:19:03
39157      5712412775       11/28/2011      11:13:12
39158      5712417046       7/19/2012       17:37:22
39159      5712421130       12/18/2011      18:00:38
39160      5712421130       2/17/2012       18:19:40
39161      5712427962       9/27/2011       18:34:35
39162      5712432702       10/8/2011       9:42:23
39163      5712433352       10/5/2011       14:30:19
39164      5712436475       6/20/2012       16:55:25
39165      5712442752       9/20/2011       19:27:00
39166      5712442841       2/6/2012        17:07:41
39167      5712452638       4/21/2012       16:34:42
39168      5712452939       3/31/2012       8:13:26
39169      5712452997       1/6/2012        17:32:17
39170      5712457054       12/2/2011       15:18:34
39171      5712457524       10/20/2012      16:19:20
39172      5712457787       4/13/2012       13:14:48
39173      5712459016       12/26/2011      9:24:36
39174      5712459016       1/17/2012       18:44:15
39175      5712464151       4/11/2012       10:59:00
39176      5712472799       9/14/2011       15:09:14
39177      5712518309       1/24/2012       10:52:34
39178      5712588129       5/17/2012       7:11:53
39179      5712591239       5/10/2012       14:44:40
39180      5712639496       5/19/2012       8:05:39
39181      5712639545       10/15/2012      16:20:12
39182      5712655129       2/3/2012        7:03:15
39183      5712681396       2/3/2012        7:18:51
39184      5712686998       9/21/2012       15:27:30
39185      5712688927       2/8/2012        7:28:15
39186      5712691289       11/3/2011       17:15:04
39187      5712691925       8/30/2012       17:39:52
39188      5712693171       1/13/2012       17:23:22
39189      5712697172       12/20/2011      9:25:24
39190      5712713910       1/16/2012       17:08:26
39191      5712716929       1/27/2012       7:22:02
39192      5712744356       12/16/2011      16:09:37
39193      5712746936       9/28/2011       10:50:16
39194      5712755025       10/1/2011       10:33:26
39195      5712759035       1/11/2012       7:37:41
39196      5712761592       9/8/2011        19:40:57
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39197      5712762939       3/5/2012        7:54:24
39198      5712764558       7/18/2012       14:47:26
39199      5712765145       3/9/2012        7:02:07
39200      5712766406       3/20/2012       17:37:35
39201      5712771156       9/12/2011       13:57:18
39202      5712774832       10/13/2011      7:30:23
39203      5712776683       11/28/2011      11:08:43
39204      5712777998       10/26/2011      12:08:39
39205      5712831651       6/13/2012       7:06:20
39206      5712858210       3/16/2012       15:51:36
39207      5712889174       9/26/2012       7:10:45
39208      5712889899       3/14/2012       19:27:17
39209      5712920680       9/19/2011       19:10:29
39210      5712951407       12/29/2011      18:46:31
39211      5712990615       2/11/2012       15:08:41
39212      5713038135       7/23/2012       15:17:28
39213      5713094228       5/9/2012        7:36:40
39214      5713096062       2/7/2012        7:10:33
39215      5713096062       2/20/2012       7:22:23
39216      5713097579       12/29/2011      10:56:34
39217      5713139935       12/29/2011      10:59:41
39218      5713144303       12/31/2011      11:55:39
39219      5713152819       5/1/2012        17:58:04
39220      5713155231       10/5/2011       14:01:16
39221      5713155776       11/15/2011      16:48:40
39222      5713157142       4/2/2012        7:36:00
39223      5713158848       9/20/2011       18:08:56
39224      5713159852       11/28/2011      17:38:52
39225      5713295963       3/8/2012        7:10:05
39226      5713297233       6/29/2011       17:06:00
39227      5713301042       9/3/2011        10:48:52
39228      5713303193       10/7/2011       8:13:40
39229      5713303193       5/30/2012       16:56:12
39230      5713303607       10/11/2012      18:31:30
39231      5713304699       2/11/2012       15:22:27
39232      5713308388       8/19/2011       12:20:11
39233      5713312312       3/28/2012       16:51:16
39234      5713312391       5/9/2012        7:38:42
39235      5713315510       11/12/2011      10:16:43
39236      5713318211       2/10/2012       7:18:37
39237      5713326737       1/17/2012       18:31:29
39238      5713327695       9/27/2011       15:18:06
39239      5713327695       10/12/2011      12:08:10
39240      5713327695       11/17/2011      16:54:42
39241      5713329710       10/12/2011      7:44:53
39242      5713378765       3/19/2012       17:40:39
39243      5713380145       12/29/2011      9:57:25
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39244      5713382464       2/18/2012       8:34:07
39245      5713385466       5/6/2012        17:39:11
39246      5713404177       3/26/2012       18:22:07
39247      5713405045       2/11/2012       15:07:44
39248      5713445814       3/10/2011       17:39:50
39249      5713939494       10/16/2012      7:25:09
39250      5714058489       11/4/2011       7:18:59
39251      5714058748       10/12/2011      11:46:02
39252      5714058751       9/19/2011       7:30:03
39253      5714094242       7/26/2012       19:27:46
39254      5714266003       10/29/2011      10:41:16
39255      5714266108       11/16/2011      11:12:24
39256      5714312594       8/10/2012       7:35:07
39257      5714327283       10/10/2011      12:18:00
39258      5714327580       10/11/2011      16:08:38
39259      5714350471       12/20/2011      9:28:56
39260      5714351624       4/16/2012       7:15:12
39261      5714354010       3/21/2012       7:14:50
39262      5714354010       3/26/2012       18:23:25
39263      5714357231       9/24/2012       19:17:11
39264      5714375083       10/10/2012      19:19:31
39265      5714376138       9/12/2011       13:08:37
39266      5714376633       4/1/2011        11:09:59
39267      5714389076       4/18/2012       17:56:43
39268      5714389076       5/25/2012       16:59:06
39269      5714389472       3/16/2012       15:51:13
39270      5714513559       11/30/2011      7:29:55
39271      5714710957       9/8/2011        18:40:21
39272      5714818982       10/18/2011      12:08:12
39273      5714842792       4/12/2012       18:31:30
39274      5714843589       3/26/2012       19:22:22
39275      5714846615       9/6/2011        12:06:40
39276      5714905814       10/5/2011       14:09:28
39277      5714906966       9/19/2011       19:07:06
39278      5714992010       4/6/2012        15:53:43
39279      5715013185       3/23/2012       19:47:17
39280      5715017979       5/1/2012        17:26:14
39281      5715018620       11/21/2011      7:50:41
39282      5715053846       9/19/2011       7:18:27
39283      5715054183       8/18/2012       8:57:10
39284      5715754041       9/12/2011       14:03:47
39285      5715755646       7/27/2012       15:23:03
39286      5716417328       1/27/2012       7:22:03
39287      5716417328       4/16/2012       15:57:00
39288      5716598805       3/15/2012       7:23:20
39289      5719212454       11/19/2011      8:33:38
39290      5719217558       12/20/2011      19:30:42
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39291      5719260618       9/22/2011       15:50:49
39292      5719263474       4/25/2011       9:05:20
39293      5719690040       4/27/2012       7:47:44
39294      5719707804       1/18/2012       9:57:38
39295      5732013774       9/8/2012        11:42:33
39296      5732023991       3/31/2012       17:50:16
39297      5732025265       7/27/2011       17:30:03
39298      5732025851       1/28/2012       8:19:35
39299      5732053629       11/30/2011      8:08:19
39300      5732059281       4/27/2012       9:46:20
39301      5732080627       9/22/2012       9:02:51
39302      5732083257       11/8/2011       14:36:27
39303      5732083257       3/17/2012       8:59:04
39304      5732086513       9/24/2012       19:06:38
39305      5732100018       12/20/2011      11:49:31
39306      5732104428       10/25/2011      16:20:47
39307      5732106270       10/10/2011      12:47:35
39308      5732107760       8/15/2011       10:27:31
39309      5732160508       11/28/2011      18:01:09
39310      5732160707       11/5/2011       10:05:47
39311      5732169378       10/9/2012       20:03:01
39312      5732175992       6/27/2012       12:16:33
39313      5732179104       4/26/2012       11:40:33
39314      5732182733       1/31/2012       10:08:33
39315      5732182883       12/20/2011      19:26:35
39316      5732184218       2/18/2012       8:50:16
39317      5732202440       12/17/2011      12:12:15
39318      5732256235       4/20/2012       14:30:24
39319      5732280788       3/8/2012        20:32:51
39320      5732304087       10/28/2011      13:31:20
39321      5732309272       9/1/2012        9:25:44
39322      5732309847       3/23/2012       11:35:52
39323      5732330309       9/29/2011       15:51:48
39324      5732334417       7/24/2012       14:41:26
39325      5732336381       1/6/2012        12:22:26
39326      5732386792       7/23/2012       15:31:24
39327      5732391659       11/14/2011      14:42:22
39328      5732396750       8/10/2011       17:32:38
39329      5732411105       9/23/2011       8:46:06
39330      5732471295       6/11/2012       17:35:11
39331      5732473164       3/19/2012       11:55:19
39332      5732473602       11/4/2011       9:06:09
39333      5732474225       10/11/2011      17:26:10
39334      5732478247       9/20/2011       16:44:35
39335      5732484040       7/24/2012       20:32:46
39336      5732530096       12/14/2011      14:44:54
39337      5732539527       12/28/2011      20:45:06
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39338      5732569186       6/29/2012       17:45:33
39339      5732589596       1/20/2012       11:51:18
39340      5732592253       12/20/2011      19:37:41
39341      5732592253       4/30/2012       14:35:58
39342      5732593029       9/17/2011       10:25:45
39343      5732593029       11/26/2011      13:09:23
39344      5732595162       11/18/2011      12:58:55
39345      5732631262       2/21/2012       20:53:25
39346      5732633214       1/14/2012       8:27:12
39347      5732700167       12/23/2011      13:17:28
39348      5732700167       4/4/2012        18:51:12
39349      5732700167       9/5/2012        15:24:55
39350      5732705233       3/24/2012       10:28:09
39351      5732708406       10/24/2011      8:14:07
39352      5732711354       8/13/2012       20:58:20
39353      5732754022       11/11/2011      13:43:21
39354      5732754056       9/29/2011       15:49:43
39355      5732756162       9/27/2012       8:33:43
39356      5732767621       5/29/2012       17:26:17
39357      5732802177       5/17/2012       11:43:26
39358      5732802238       11/15/2011      15:33:17
39359      5732816049       3/19/2012       19:20:10
39360      5732818813       7/22/2011       13:40:57
39361      5732860814       6/7/2012        18:28:47
39362      5732860814       6/20/2012       9:04:36
39363      5732860851       8/24/2012       11:02:10
39364      5732862255       5/22/2012       11:34:13
39365      5732894070       9/9/2011        17:57:27
39366      5732894334       1/4/2012        20:09:32
39367      5732916574       4/29/2012       17:24:33
39368      5732982774       12/3/2011       10:24:11
39369      5732982925       11/29/2011      15:01:40
39370      5733001193       11/5/2011       10:12:04
39371      5733001613       7/9/2012        12:06:52
39372      5733005147       7/23/2011       14:00:20
39373      5733007179       9/21/2012       15:57:04
39374      5733007179       9/26/2012       14:32:54
39375      5733007529       4/12/2012       17:59:15
39376      5733019895       11/17/2011      13:32:17
39377      5733019895       3/19/2012       19:14:31
39378      5733086826       11/2/2011       14:21:05
39379      5733089690       8/3/2012        12:34:12
39380      5733101427       10/7/2011       8:09:33
39381      5733104161       2/6/2012        10:08:12
39382      5733104431       10/10/2012      19:06:45
39383      5733150327       10/15/2012      16:21:09
39384      5733151422       10/1/2011       10:44:02
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39385      5733158646       9/15/2011       9:10:45
39386      5733159026       5/1/2012        18:22:09
39387      5733185385       3/6/2012        20:24:18
39388      5733188248       6/7/2011        17:58:00
39389      5733188421       10/24/2012      15:00:52
39390      5733303848       10/8/2012       12:48:52
39391      5733306717       11/19/2011      9:11:11
39392      5733306717       5/14/2012       8:08:15
39393      5733307089       12/27/2011      14:39:56
39394      5733307938       9/17/2011       9:55:50
39395      5733308286       8/14/2012       20:45:12
39396      5733308600       10/4/2011       13:23:39
39397      5733309743       4/6/2012        15:56:18
39398      5733371143       11/17/2011      16:40:19
39399      5733388585       1/8/2012        13:22:00
39400      5733447932       11/11/2011      14:35:35
39401      5733449368       9/8/2012        11:11:08
39402      5733449544       10/6/2011       16:34:52
39403      5733449571       9/20/2012       8:46:22
39404      5733449807       4/9/2012        18:16:15
39405      5733538761       11/22/2011      18:42:56
39406      5733551526       3/15/2012       13:53:22
39407      5733554717       3/13/2012       18:40:48
39408      5733566800       11/3/2011       17:21:31
39409      5733595916       3/29/2012       17:38:46
39410      5733597810       12/16/2011      15:41:38
39411      5733598410       2/29/2012       17:32:35
39412      5733598410       8/21/2012       14:01:43
39413      5733598430       10/15/2011      10:46:15
39414      5733660442       9/8/2011        18:06:44
39415      5733665487       8/13/2012       8:37:54
39416      5733665487       9/12/2012       15:11:35
39417      5733808487       12/23/2011      16:02:23
39418      5733808987       2/3/2012        20:09:39
39419      5733913280       9/20/2011       16:44:27
39420      5734067520       3/10/2012       8:51:30
39421      5734069138       12/5/2011       9:33:18
39422      5734180131       8/16/2012       19:46:08
39423      5734180131       9/29/2012       9:45:55
39424      5734181047       12/23/2011      14:06:33
39425      5734184498       10/8/2012       20:00:55
39426      5734186884       5/3/2012        8:07:41
39427      5734186884       5/21/2012       8:18:37
39428      5734189214       11/23/2011      14:39:25
39429      5734189805       2/21/2012       9:48:03
39430      5734211388       3/6/2012        17:22:58
39431      5734212001       3/26/2012       14:40:37
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39432      5734213966       9/26/2012       8:09:21
39433      5734215672       5/4/2012        18:11:44
39434      5734215826       2/14/2012       9:47:59
39435      5734215967       1/3/2012        10:27:13
39436      5734217779       10/8/2011       11:40:50
39437      5734241169       4/15/2012       19:57:56
39438      5734246885       8/30/2011       17:23:25
39439      5734247850       1/18/2012       9:53:55
39440      5734247850       3/15/2012       19:07:16
39441      5734270440       5/21/2012       8:01:49
39442      5734270440       7/26/2012       12:17:00
39443      5734276007       8/14/2012       20:52:09
39444      5734290776       10/17/2011      8:01:31
39445      5734297278       11/21/2011      8:05:41
39446      5734340402       7/5/2012        15:27:44
39447      5734461595       10/3/2012       20:05:14
39448      5734503844       11/11/2011      20:06:48
39449      5734505649       10/25/2011      15:29:14
39450      5734521900       10/27/2011      15:57:58
39451      5734534281       1/18/2012       9:51:27
39452      5734534408       10/20/2011      15:42:45
39453      5734536795       10/4/2011       13:46:11
39454      5734536795       2/12/2012       15:42:24
39455      5734629531       6/7/2012        15:19:52
39456      5734650083       2/11/2012       15:10:56
39457      5734651165       1/3/2012        10:51:46
39458      5734651225       3/14/2012       14:20:17
39459      5734651329       12/28/2011      8:53:51
39460      5734702922       11/7/2011       8:03:38
39461      5734705134       12/29/2011      10:04:57
39462      5734705134       5/21/2012       8:15:02
39463      5734705134       7/6/2012        16:52:49
39464      5734705134       8/20/2012       10:05:45
39465      5734730059       8/6/2012        16:37:27
39466      5734736249       10/3/2011       8:06:08
39467      5734736805       2/28/2012       13:19:16
39468      5734738424       12/28/2011      8:38:30
39469      5734738424       2/7/2012        20:24:26
39470      5734750205       10/10/2011      11:56:14
39471      5734750898       9/21/2011       19:35:31
39472      5734750945       10/26/2011      13:02:06
39473      5734798969       11/18/2011      12:22:50
39474      5734804473       7/30/2012       15:11:31
39475      5734805707       7/18/2011       8:26:50
39476      5734806342       8/6/2011        8:35:02
39477      5734809916       3/29/2012       11:29:13
39478      5734893753       11/12/2011      10:38:38
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39479      5734893857       3/6/2012        13:09:29
39480      5735178847       2/28/2012       15:54:25
39481      5735184543       7/14/2011       15:44:58
39482      5735217517       1/11/2012       8:57:02
39483      5735217517       2/6/2012        17:19:58
39484      5735282587       11/5/2011       10:07:57
39485      5735284649       12/21/2011      10:19:00
39486      5735296733       3/3/2012        8:57:50
39487      5735299013       8/13/2011       11:42:08
39488      5735299339       5/24/2012       11:52:00
39489      5735414449       6/11/2011       9:23:04
39490      5735444589       12/26/2011      20:26:56
39491      5735444949       9/26/2011       9:33:18
39492      5735446042       5/19/2012       9:30:49
39493      5735446808       9/21/2012       15:29:40
39494      5735448051       12/31/2011      12:14:52
39495      5735448130       1/4/2012        20:15:16
39496      5735526999       11/25/2011      18:25:35
39497      5735594336       2/29/2012       17:24:00
39498      5735596206       12/22/2011      10:02:03
39499      5735600251       12/21/2011      18:43:40
39500      5735600953       5/29/2012       17:26:19
39501      5735602080       6/29/2012       9:33:23
39502      5735602080       7/24/2012       20:33:09
39503      5735602129       5/16/2012       8:05:15
39504      5735614427       4/10/2012       11:42:43
39505      5735616257       6/16/2012       15:15:57
39506      5735692003       3/21/2011       10:35:55
39507      5735764284       5/18/2012       12:15:27
39508      5735769749       10/8/2011       11:09:06
39509      5735783913       1/12/2012       8:08:18
39510      5735786250       9/15/2012       8:24:16
39511      5735786430       9/12/2012       14:58:40
39512      5735787067       10/5/2012       18:16:32
39513      5735789848       3/16/2012       16:08:19
39514      5735791654       10/11/2012      11:55:14
39515      5735791667       3/22/2012       8:07:15
39516      5735792359       3/7/2012        18:42:57
39517      5735797655       3/10/2011       17:49:44
39518      5735822244       10/15/2011      10:38:21
39519      5736253606       9/12/2011       14:14:45
39520      5736258768       8/2/2012        18:56:47
39521      5736259428       10/2/2012       8:38:49
39522      5736259991       6/9/2012        14:40:21
39523      5736316698       9/3/2012        14:32:26
39524      5736390094       1/25/2012       20:25:30
39525      5736452098       9/12/2012       14:56:52
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39526      5736452255       9/21/2011       11:55:11
39527      5736456991       11/17/2011      16:31:04
39528      5736458831       8/20/2012       18:43:55
39529      5736600176       9/8/2011        18:58:11
39530      5736805152       4/18/2012       8:11:08
39531      5736820682       7/9/2012        19:11:47
39532      5736824851       4/3/2012        16:10:59
39533      5736830890       4/10/2012       16:15:14
39534      5736917520       10/8/2011       9:49:01
39535      5736921511       3/22/2012       14:01:48
39536      5736924021       10/18/2011      13:02:15
39537      5736938513       9/20/2011       20:32:03
39538      5736944958       2/9/2012        20:37:23
39539      5737012573       5/13/2012       17:40:22
39540      5737013631       6/5/2012        17:54:09
39541      5737015475       9/21/2011       11:54:30
39542      5737034201       11/8/2011       13:57:05
39543      5737034608       5/25/2012       17:02:12
39544      5737035928       11/19/2011      8:24:41
39545      5737036528       2/6/2012        9:59:38
39546      5737037230       9/19/2011       19:13:55
39547      5737128790       11/3/2011       17:56:36
39548      5737142325       4/9/2012        13:33:29
39549      5737146353       1/18/2012       20:21:01
39550      5737148886       9/20/2011       20:42:52
39551      5737180388       11/3/2011       17:16:04
39552      5737185785       11/7/2011       9:19:56
39553      5737232541       12/3/2011       10:20:54
39554      5737273661       9/21/2012       15:54:55
39555      5737476249       7/25/2012       20:40:58
39556      5737480672       9/20/2011       16:44:51
39557      5737480688       11/16/2011      8:01:38
39558      5737542278       10/17/2012      18:31:00
39559      5737604800       9/27/2011       18:46:08
39560      5737605642       10/8/2011       10:04:07
39561      5737680959       3/13/2012       12:43:29
39562      5737680959       3/25/2012       12:03:36
39563      5737685061       7/23/2012       15:32:34
39564      5737689661       10/1/2011       10:00:02
39565      5737763286       11/26/2011      11:56:28
39566      5737765377       4/19/2012       20:11:46
39567      5737768974       4/12/2012       12:34:58
39568      5737768974       5/21/2012       8:03:29
39569      5737772777       10/26/2011      13:01:38
39570      5737786625       5/9/2012        8:49:07
39571      5737831459       9/22/2012       8:44:55
39572      5737952943       12/15/2011      8:19:59
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39573      5737957353       10/16/2012      20:34:18
39574      5737979148       3/13/2012       18:33:08
39575      5738038664       12/17/2011      11:34:07
39576      5738039225       9/20/2011       20:30:35
39577      5738039225       11/26/2011      13:38:13
39578      5738191747       4/16/2012       16:05:14
39579      5738201493       11/8/2011       14:35:53
39580      5738205737       9/12/2011       14:16:36
39581      5738210727       12/26/2011      20:05:52
39582      5738211309       7/27/2012       13:10:45
39583      5738212642       3/13/2012       16:54:39
39584      5738216364       9/20/2011       16:45:44
39585      5738216941       2/20/2012       8:48:17
39586      5738224149       10/28/2011      13:33:40
39587      5738229848       2/11/2012       15:34:30
39588      5738236936       3/20/2012       17:41:29
39589      5738239010       3/22/2012       7:51:03
39590      5738239010       3/28/2012       18:09:05
39591      5738239194       10/9/2012       11:39:20
39592      5738261228       5/14/2012       15:43:13
39593      5738261228       5/21/2012       8:04:27
39594      5738261942       9/24/2011       9:48:22
39595      5738265070       7/15/2011       17:42:43
39596      5738268109       5/15/2012       19:09:32
39597      5738268398       9/8/2011        18:57:29
39598      5738360128       5/17/2012       17:03:42
39599      5738360848       7/25/2012       20:38:33
39600      5738379694       8/6/2012        14:58:35
39601      5738388851       1/7/2012        9:28:58
39602      5738404117       3/15/2012       18:57:46
39603      5738428324       12/21/2011      10:14:48
39604      5738428377       10/7/2011       8:06:37
39605      5738541995       10/1/2012       13:49:51
39606      5738551086       10/19/2011      7:32:00
39607      5738552629       9/9/2011        18:25:42
39608      5738554664       2/29/2012       17:32:32
39609      5738554664       7/14/2012       8:23:24
39610      5738608182       12/15/2011      8:14:38
39611      5738640609       9/3/2012        14:51:07
39612      5738648164       9/21/2011       19:36:01
39613      5738648540       9/29/2012       10:03:35
39614      5738700088       9/27/2011       18:43:10
39615      5738700088       6/29/2012       9:40:38
39616      5738701000       10/17/2011      8:28:42
39617      5738734044       9/30/2011       10:02:22
39618      5738801247       9/23/2011       11:12:20
39619      5738802434       10/15/2012      10:16:31
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39620      5738803454       10/6/2011       16:42:16
39621      5738803454       10/22/2011      13:11:47
39622      5738899028       10/7/2012       13:04:03
39623      5739150307       8/28/2012       11:57:52
39624      5739153070       11/28/2011      12:06:00
39625      5739154900       5/21/2012       8:56:27
39626      5739311035       3/14/2012       19:45:27
39627      5739319535       9/24/2012       18:54:08
39628      5739530225       1/16/2012       8:22:22
39629      5739531583       1/3/2012        16:56:08
39630      5739829114       9/14/2011       12:21:40
39631      5739868177       4/21/2012       16:26:39
39632      5739902558       4/25/2011       13:33:58
39633      5739990719       9/29/2011       15:21:07
39634      5739993085       3/21/2012       8:07:12
39635      5739994481       5/7/2012        8:20:58
39636      5739994481       5/21/2012       8:04:19
39637      5742262264       6/9/2012        10:28:28
39638      5742618264       4/23/2011       10:48:20
39639      5742778403       1/6/2012        14:56:10
39640      5742974452       1/4/2012        11:06:34
39641      5743024152       9/17/2011       10:15:45
39642      5743039043       3/5/2012        7:52:04
39643      5743039043       3/10/2012       8:45:20
39644      5743039043       7/14/2012       8:05:42
39645      5743156350       10/31/2011      7:14:27
39646      5743158704       11/23/2011      14:46:36
39647      5743359410       8/1/2012        8:30:34
39648      5743392621       2/6/2012        17:02:38
39649      5743508171       6/2/2012        12:46:46
39650      5743542096       8/24/2011       11:47:06
39651      5743702134       4/18/2012       17:50:00
39652      5743709184       12/18/2011      16:31:59
39653      5743709464       11/14/2011      14:38:21
39654      5745200253       12/18/2011      17:37:38
39655      5745755286       7/5/2012        15:40:12
39656      5746127267       7/6/2012        16:51:41
39657      5746531761       7/18/2012       7:09:02
39658      5747472429       4/14/2012       8:57:48
39659      5747726014       11/25/2011      18:10:08
39660      5748501910       8/14/2012       11:49:41
39661      5748704432       10/10/2011      12:19:00
39662      5749030881       2/17/2012       18:17:42
39663      5749045849       11/25/2011      18:05:02
39664      5749526719       4/25/2012       15:51:21
39665      5752005567       10/7/2011       9:51:15
39666      5752005567       11/9/2011       9:19:36
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39667      5752009087       8/1/2012        9:05:45
39668      5752018086       8/15/2012       21:41:41
39669      5752021494       2/11/2012       15:12:49
39670      5752026424       2/9/2012        20:32:53
39671      5752028798       10/8/2011       12:04:48
39672      5752075664       10/29/2011      11:51:17
39673      5752076902       6/24/2011       12:19:27
39674      5752182511       11/29/2011      15:45:24
39675      5752185340       5/21/2012       9:06:50
39676      5752186048       9/24/2012       13:20:11
39677      5752191430       10/5/2011       14:47:39
39678      5752195583       5/18/2012       11:50:18
39679      5753021967       3/22/2012       8:04:12
39680      5753027720       3/15/2012       14:01:37
39681      5753027906       5/21/2012       9:01:37
39682      5753028161       3/19/2012       12:06:04
39683      5753028161       4/1/2012        17:51:48
39684      5753091473       12/27/2011      14:40:04
39685      5753094837       4/15/2012       17:42:18
39686      5753120934       3/8/2012        20:29:47
39687      5753123868       2/6/2012        17:22:57
39688      5753125865       11/2/2013       15:46:09
39689      5753126260       10/5/2011       14:19:22
39690      5753129495       11/2/2011       14:27:50
39691      5753130587       9/24/2011       9:52:31
39692      5753170539       1/16/2012       12:03:18
39693      5753173724       9/28/2011       9:31:40
39694      5753173724       10/28/2011      14:29:36
39695      5753174290       8/24/2012       21:03:31
39696      5753177596       1/4/2012        20:21:41
39697      5753189237       9/13/2012       15:22:30
39698      5753654035       9/29/2011       15:24:06
39699      5753735454       9/23/2011       11:20:53
39700      5753735529       3/17/2012       9:03:26
39701      5753737415       9/17/2011       10:26:09
39702      5753861941       10/8/2011       12:09:29
39703      5753861978       2/21/2012       20:50:47
39704      5753861978       4/26/2012       21:19:53
39705      5753863630       11/28/2011      18:08:25
39706      5753866416       10/5/2011       14:48:18
39707      5754035531       8/3/2011        11:59:16
39708      5754037370       1/6/2012        13:08:48
39709      5754037373       9/8/2011        19:04:06
39710      5754151064       1/2/2012        9:10:54
39711      5754158341       2/24/2012       20:52:38
39712      5754158885       11/16/2011      20:07:16
39713      5754181479       10/15/2011      11:01:15
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39714      5754181493       8/3/2012        12:32:35
39715      5754181592       10/4/2011       13:54:42
39716      5754185021       5/24/2012       12:28:51
39717      5754185429       5/11/2012       10:45:37
39718      5754187655       6/12/2012       17:14:45
39719      5754187655       6/15/2012       16:38:53
39720      5754201640       4/16/2012       16:08:53
39721      5754205677       9/25/2012       14:47:32
39722      5754207143       6/7/2014        9:02:56
39723      5754309234       1/19/2012       18:32:04
39724      5754462803       10/24/2012      21:14:06
39725      5754912407       9/29/2011       15:23:55
39726      5754912565       11/15/2011      16:21:45
39727      5754914513       3/8/2012        20:44:52
39728      5754914736       4/12/2012       12:35:41
39729      5754914736       6/16/2012       9:28:24
39730      5754915090       12/18/2011      16:22:23
39731      5754916484       1/16/2012       12:08:31
39732      5754916948       4/7/2012        9:38:24
39733      5754940015       10/8/2011       10:10:36
39734      5754941234       5/31/2012       15:01:52
39735      5754944121       12/3/2011       9:31:08
39736      5754959389       8/15/2012       21:43:00
39737      5754961772       7/18/2011       11:15:46
39738      5754962194       10/2/2012       10:07:55
39739      5754993045       7/23/2012       15:35:22
39740      5754997890       3/19/2012       19:05:28
39741      5754998057       6/28/2012       14:16:30
39742      5755132200       8/25/2012       11:08:57
39743      5755206562       8/8/2012        16:14:22
39744      5755209081       9/8/2011        19:10:59
39745      5755237785       5/10/2012       15:05:33
39746      5755288492       1/20/2012       20:35:37
39747      5755288621       10/6/2011       16:56:12
39748      5755289836       8/25/2011       18:22:52
39749      5755381648       10/6/2011       16:57:56
39750      5755452716       1/18/2012       20:28:03
39751      5755514174       8/24/2012       18:14:42
39752      5755516787       1/31/2012       10:12:02
39753      5755564073       4/22/2012       15:38:10
39754      5755715231       3/27/2012       14:56:40
39755      5755716955       12/26/2011      9:35:38
39756      5755717800       10/14/2011      13:00:47
39757      5755742362       5/5/2012        12:22:53
39758      5755747119       10/4/2011       13:28:51
39759      5756029196       7/26/2011       10:44:16
39760      5756053640       9/26/2011       9:15:25
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39761      5756053640       10/10/2011      12:53:54
39762      5756078320       9/30/2011       10:07:48
39763      5756130272       10/5/2011       14:48:43
39764      5756130784       10/15/2011      9:43:32
39765      5756132378       9/8/2011        19:53:48
39766      5756133824       1/4/2012        20:11:53
39767      5756135122       3/27/2012       10:36:59
39768      5756135660       9/8/2011        18:14:51
39769      5756135745       6/26/2012       21:13:36
39770      5756135745       6/29/2012       17:51:55
39771      5756135944       8/9/2012        22:00:54
39772      5756210597       12/7/2011       13:49:47
39773      5756211017       12/21/2011      10:05:36
39774      5756212100       2/9/2012        20:32:52
39775      5756212100       5/21/2012       9:01:42
39776      5756212100       5/21/2012       9:03:45
39777      5756214105       9/21/2011       12:01:30
39778      5756214409       3/23/2012       14:28:19
39779      5756315959       1/17/2012       18:48:31
39780      5756316857       6/14/2012       21:16:09
39781      5756352127       11/21/2011      10:46:54
39782      5756353314       8/23/2012       21:05:30
39783      5756357047       5/16/2012       9:29:07
39784      5756360453       2/13/2012       18:31:38
39785      5756363822       2/2/2012        20:59:25
39786      5756364041       1/12/2012       14:08:49
39787      5756364390       12/27/2011      13:30:34
39788      5756364452       3/16/2012       16:47:03
39789      5756379767       9/28/2011       9:30:16
39790      5756391999       9/10/2011       8:02:29
39791      5756392862       11/28/2011      18:08:56
39792      5756402809       1/10/2012       20:55:20
39793      5756408883       5/16/2012       9:26:51
39794      5756409578       4/25/2012       9:49:36
39795      5756422400       2/16/2012       9:22:25
39796      5756423564       10/17/2012      9:46:34
39797      5756424964       9/11/2012       21:24:56
39798      5756435673       8/5/2011        18:09:18
39799      5756441500       12/21/2011      10:01:02
39800      5756447256       4/2/2012        17:25:07
39801      5756491443       9/24/2011       9:27:51
39802      5756493190       3/20/2012       9:21:04
39803      5756493190       4/2/2012        9:06:17
39804      5756493190       5/21/2012       9:01:48
39805      5756493190       5/21/2012       9:03:53
39806      5756500882       11/30/2011      13:01:02
39807      5756501137       7/24/2012       14:47:19
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39808      5756501137       8/22/2012       21:43:50
39809      5756501311       1/26/2012       7:21:38
39810      5756501448       2/10/2012       20:36:07
39811      5756504424       7/25/2012       20:39:42
39812      5756545121       6/9/2012        10:38:21
39813      5756545552       3/2/2012        19:03:58
39814      5756800035       10/12/2012      17:14:18
39815      5756800376       9/10/2011       9:03:41
39816      5756933023       3/19/2012       12:01:34
39817      5756934299       5/26/2012       14:42:09
39818      5756940133       5/21/2012       9:01:41
39819      5756945433       2/17/2012       18:23:35
39820      5757063392       12/7/2011       13:24:27
39821      5757067804       10/20/2012      16:33:41
39822      5757070119       1/24/2012       17:07:40
39823      5757070317       4/3/2012        20:16:48
39824      5757073414       10/10/2011      12:55:16
39825      5757078509       1/20/2012       20:30:33
39826      5757250035       11/22/2011      19:42:06
39827      5757250035       12/23/2011      16:03:19
39828      5757254320       11/18/2011      13:05:57
39829      5757257178       2/14/2012       15:29:46
39830      5757403869       8/27/2012       9:19:04
39831      5757467309       10/5/2011       14:48:25
39832      5757602526       5/20/2012       16:01:29
39833      5757703722       4/13/2012       20:41:16
39834      5757705525       6/12/2012       17:15:08
39835      5757707409       1/13/2012       17:29:08
39836      5757790368       2/29/2012       17:35:50
39837      5757798837       4/26/2012       21:18:31
39838      5758023254       2/2/2012        11:10:00
39839      5758025887       8/16/2012       19:55:02
39840      5758050045       1/20/2012       11:34:51
39841      5758050222       5/26/2012       9:02:02
39842      5758052962       8/6/2012        15:20:44
39843      5758053792       9/12/2011       13:32:21
39844      5758053989       9/29/2011       15:24:50
39845      5758054971       1/19/2012       13:52:19
39846      5758055651       8/7/2012        21:41:21
39847      5758056311       3/17/2012       10:59:15
39848      5758056610       4/25/2012       21:21:58
39849      5758057581       10/11/2011      17:36:48
39850      5758059739       9/14/2011       21:35:24
39851      5758059939       10/19/2011      12:22:47
39852      5758081420       11/26/2011      12:03:48
39853      5758150258       5/23/2012       14:48:06
39854      5758159372       12/26/2011      20:08:25
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39855      5758351410       7/19/2012       9:08:39
39856      5758404496       4/11/2012       13:05:42
39857      5758409486       12/17/2011      12:12:35
39858      5759100507       1/28/2012       8:20:54
39859      5759100843       9/23/2011       11:49:48
39860      5759101942       12/28/2011      13:31:05
39861      5759106553       1/19/2012       10:15:51
39862      5759150221       8/16/2012       9:31:51
39863      5759155417       9/22/2011       16:15:50
39864      5759212459       10/12/2011      9:06:12
39865      5759213790       9/24/2012       13:13:16
39866      5759218496       9/21/2011       11:36:28
39867      5759329002       7/23/2011       13:10:18
39868      5759329096       3/17/2012       9:03:25
39869      5759329096       8/6/2012        13:56:01
39870      5759329362       3/7/2012        18:34:50
39871      5759367999       4/5/2012        14:37:40
39872      5759375873       5/21/2012       9:01:37
39873      5759376260       4/6/2012        15:45:35
39874      5759732756       11/14/2011      17:32:58
39875      5759733054       10/14/2011      13:00:55
39876      5759733619       8/30/2012       17:32:48
39877      5759733769       11/3/2011       17:26:36
39878      5759737326       2/6/2012        10:16:35
39879      5759930157       10/15/2012      16:13:21
39880      5759932906       12/21/2011      18:46:02
39881      5759939083       2/13/2012       9:34:21
39882      5802120336       4/27/2012       12:12:03
39883      5802122472       10/19/2011      12:17:28
39884      5802129036       10/10/2011      11:57:49
39885      5802129122       12/17/2011      12:10:02
39886      5802129948       6/21/2012       18:52:29
39887      5802140913       2/11/2012       11:18:58
39888      5802160148       9/24/2011       9:51:37
39889      5802160894       12/16/2011      15:39:43
39890      5802161398       7/29/2011       20:23:08
39891      5802162619       12/22/2011      9:04:32
39892      5802165764       9/20/2011       20:33:45
39893      5802221358       9/26/2011       9:50:36
39894      5802225080       12/22/2011      9:46:19
39895      5802225454       12/6/2011       13:36:22
39896      5802225663       2/21/2012       9:35:40
39897      5802226463       5/4/2012        20:53:55
39898      5802226604       12/20/2011      17:27:23
39899      5802227524       10/14/2011      13:30:18
39900      5802241630       9/30/2011       10:03:25
39901      5802275200       9/16/2011       14:40:55
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39902      5802310137       3/7/2012        9:33:58
39903      5802355648       8/3/2012        12:38:07
39904      5802355730       7/19/2012       8:28:39
39905      5802357585       9/24/2011       9:20:22
39906      5802358359       9/17/2011       9:42:59
39907      5802358952       5/8/2012        17:16:07
39908      5802359537       12/26/2011      20:24:14
39909      5802360134       1/17/2012       18:34:45
39910      5802360134       4/26/2012       11:39:55
39911      5802362882       3/19/2012       17:42:05
39912      5802364004       11/11/2011      13:13:51
39913      5802364119       12/29/2011      18:45:22
39914      5802391744       10/27/2013      13:27:35
39915      5802392802       4/21/2011       11:14:41
39916      5802470468       3/15/2012       13:53:11
39917      5802475346       7/2/2012        17:21:22
39918      5802588015       7/25/2012       20:42:02
39919      5802638408       12/20/2011      15:02:55
39920      5802638968       6/7/2012        18:23:43
39921      5802710315       5/17/2011       9:44:30
39922      5802710330       1/20/2012       11:47:16
39923      5802711470       8/14/2012       20:56:53
39924      5802711635       8/1/2011        19:49:27
39925      5802711644       7/7/2012        10:53:36
39926      5802727194       9/14/2011       12:03:52
39927      5802728016       9/10/2011       9:08:31
39928      5802733062       8/15/2012       12:28:02
39929      5802766652       1/8/2012        13:21:59
39930      5802794606       9/10/2012       8:44:58
39931      5802810140       12/5/2011       18:48:13
39932      5802842594       9/12/2011       14:17:43
39933      5802842705       10/20/2011      15:56:49
39934      5802844352       7/23/2012       15:31:16
39935      5802849414       5/17/2011       9:34:09
39936      5803010041       5/2/2011        18:03:13
39937      5803013833       3/29/2012       16:32:43
39938      5803013833       10/3/2012       20:05:22
39939      5803030281       9/23/2011       11:19:52
39940      5803094682       8/2/2012        18:50:23
39941      5803097769       7/23/2012       15:20:36
39942      5803097769       7/30/2012       13:34:54
39943      5803173504       10/6/2011       16:51:45
39944      5803198318       4/20/2012       14:29:53
39945      5803205584       1/6/2012        14:54:43
39946      5803277205       11/12/2011      10:47:01
39947      5803300100       11/26/2011      13:18:03
39948      5803300541       7/25/2012       20:38:25
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39949      5803302743       9/9/2011        17:58:06
39950      5803302743       9/22/2011       16:07:25
39951      5803303325       1/17/2012       9:41:59
39952      5803317026       9/22/2011       15:26:05
39953      5803341286       11/17/2011      16:18:55
39954      5803344049       7/28/2011       10:27:16
39955      5803346334       9/26/2011       9:46:32
39956      5803351356       10/22/2011      13:11:57
39957      5803351356       3/28/2012       10:39:09
39958      5803391910       9/8/2011        18:53:52
39959      5803418072       10/21/2011      16:02:31
39960      5803418072       12/7/2011       17:59:38
39961      5803517514       8/6/2012        16:37:57
39962      5803528768       7/6/2012        14:51:02
39963      5803643422       8/20/2011       9:58:33
39964      5803670312       8/18/2011       8:05:41
39965      5803691592       5/8/2012        17:17:24
39966      5803691926       3/13/2012       18:32:56
39967      5803715316       10/18/2011      13:03:24
39968      5803720845       9/8/2011        18:08:08
39969      5803721230       2/9/2012        9:33:10
39970      5803721941       7/31/2012       15:40:59
39971      5803721941       8/14/2012       11:52:19
39972      5803723869       12/23/2011      13:18:41
39973      5803806121       4/5/2012        13:49:16
39974      5803950147       5/4/2012        20:53:54
39975      5803995322       12/3/2011       10:12:25
39976      5803996233       12/26/2011      9:26:01
39977      5803998878       10/6/2011       17:40:48
39978      5804215617       4/29/2012       17:47:29
39979      5804215617       4/30/2012       14:37:29
39980      5804251057       3/16/2012       16:04:20
39981      5804369372       12/21/2011      10:18:16
39982      5804581252       9/19/2012       8:03:14
39983      5804581460       7/18/2012       8:31:58
39984      5804587235       11/14/2011      17:27:44
39985      5804612941       9/21/2011       19:36:00
39986      5804619443       3/28/2012       10:46:18
39987      5804650053       3/6/2012        20:24:09
39988      5804650627       2/28/2012       16:03:43
39989      5804657843       1/20/2012       20:29:45
39990      5804658636       12/17/2011      12:06:29
39991      5804674593       12/20/2011      19:25:13
39992      5804714109       3/14/2012       20:03:43
39993      5804716225       2/17/2012       9:19:13
39994      5804718124       6/9/2012        10:55:45
39995      5804752487       12/21/2011      9:55:38
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39996      5804782185       2/26/2012       13:19:09
39997      5804782185       3/26/2012       18:26:32
39998      5804783973       3/13/2012       11:21:15
39999      5804786992       3/12/2012       11:18:00
40000      5804810208       1/17/2012       18:46:09
40001      5804818782       7/17/2012       21:56:00
40002      5804831713       9/25/2012       14:45:32
40003      5804834800       4/2/2012        17:43:23
40004      5804840560       3/14/2012       20:03:56
40005      5804840880       10/22/2011      12:42:54
40006      5804842818       11/22/2011      19:36:36
40007      5805040927       11/27/2013      8:58:37
40008      5805041416       10/2/2012       8:35:56
40009      5805041416       10/6/2012       8:37:05
40010      5805130044       8/12/2012       13:45:59
40011      5805130686       8/18/2011       8:27:00
40012      5805132050       6/23/2012       8:35:19
40013      5805132052       6/15/2012       8:42:06
40014      5805151199       9/28/2011       14:24:59
40015      5805415184       7/2/2012        17:24:55
40016      5805421333       10/5/2012       18:21:07
40017      5805479801       10/20/2012      8:08:21
40018      5805486808       11/18/2013      8:38:50
40019      5805487708       11/25/2011      18:25:36
40020      5805519767       10/22/2011      13:08:58
40021      5805593254       10/4/2011       13:20:01
40022      5805593267       2/17/2012       18:21:38
40023      5805599925       6/7/2012        18:36:28
40024      5805650365       5/22/2012       18:41:08
40025      5805652038       3/19/2012       19:20:22
40026      5806032884       3/6/2012        16:03:32
40027      5806032884       7/11/2012       17:21:58
40028      5806033067       3/7/2012        18:32:52
40029      5806068206       9/19/2012       16:23:02
40030      5806068206       10/10/2012      12:47:55
40031      5806068543       8/21/2012       13:55:16
40032      5806181156       11/17/2011      14:13:27
40033      5806183275       9/18/2012       14:26:35
40034      5806184540       1/20/2012       20:32:35
40035      5806280287       9/21/2012       15:30:08
40036      5806411671       5/20/2011       17:58:22
40037      5806411943       3/26/2012       18:29:46
40038      5806472882       11/19/2011      8:20:51
40039      5806472932       10/5/2012       12:20:26
40040      5806476010       12/10/2011      13:32:49
40041      5806491361       10/22/2011      12:39:38
40042      5806497981       9/24/2011       9:43:20
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40043      5806560474       12/8/2011       12:15:05
40044      5806561005       4/13/2012       13:19:22
40045      5806567116       10/6/2011       16:36:32
40046      5806567691       9/20/2011       18:25:23
40047      5806580388       5/19/2012       9:29:22
40048      5806781028       2/6/2012        16:59:59
40049      5806786006       9/27/2012       16:24:34
40050      5806786006       10/13/2012      8:56:50
40051      5806951236       11/22/2011      19:35:00
40052      5807132490       11/28/2011      12:18:14
40053      5807430169       1/19/2012       8:08:14
40054      5807473930       6/5/2012        17:57:26
40055      5807490080       2/16/2012       12:05:36
40056      5807614116       9/10/2012       8:47:44
40057      5807614705       10/19/2011      12:22:31
40058      5807748505       2/14/2012       16:40:10
40059      5807750965       11/5/2011       10:16:04
40060      5807757788       9/27/2011       18:39:17
40061      5807757954       12/7/2013       20:16:16
40062      5807891832       8/24/2012       11:05:54
40063      5807911528       5/23/2012       16:31:31
40064      5807990098       12/26/2011      20:23:27
40065      5808210170       1/24/2012       17:20:59
40066      5808214608       10/5/2011       14:17:29
40067      5808216512       9/20/2011       18:32:35
40068      5808217061       6/20/2012       9:08:28
40069      5808865378       9/10/2011       9:25:44
40070      5809160270       8/10/2012       8:21:22
40071      5809160514       6/20/2011       14:19:19
40072      5809165359       9/22/2011       16:11:10
40073      5809168967       4/25/2011       12:59:24
40074      5809173588       8/31/2012       16:28:40
40075      5809174424       12/29/2011      11:15:48
40076      5809174735       6/5/2012        18:00:38
40077      5809174735       6/8/2012        16:57:37
40078      5809175166       11/28/2011      16:58:55
40079      5809191898       11/12/2011      9:28:42
40080      5809270343       3/27/2012       10:35:37
40081      5809276173       4/9/2012        17:52:30
40082      5809317591       10/11/2012      12:04:08
40083      5809800205       3/30/2012       16:07:40
40084      5852021528       3/10/2012       8:22:37
40085      5852023440       12/29/2011      19:11:00
40086      5852087241       2/7/2012        16:45:29
40087      5852171770       9/8/2012        11:16:18
40088      5852301545       9/27/2012       16:22:01
40089      5852304949       2/11/2012       10:49:00
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40090      5852432381       9/27/2012       7:28:58
40091      5852601933       11/11/2011      16:39:13
40092      5852617772       9/13/2011       13:40:55
40093      5852670175       8/4/2013        10:12:39
40094      5852690064       10/4/2011       13:19:39
40095      5852784964       10/11/2011      16:46:55
40096      5852785889       2/16/2012       7:05:40
40097      5852817306       3/28/2012       18:17:42
40098      5852842266       3/29/2012       11:45:33
40099      5852842465       11/23/2011      10:01:14
40100      5852843126       10/11/2012      7:54:39
40101      5852843870       8/11/2011       10:55:35
40102      5852844523       4/4/2012        7:08:20
40103      5852844523       5/29/2012       7:06:37
40104      5852844789       10/14/2011      12:39:27
40105      5852845231       3/14/2012       19:26:00
40106      5852846011       10/10/2011      12:16:25
40107      5852847148       3/1/2012        8:32:17
40108      5852847370       2/21/2012       17:32:24
40109      5852848273       3/21/2012       7:07:38
40110      5852851085       6/21/2011       13:51:26
40111      5852852059       9/19/2011       19:23:22
40112      5852853524       12/3/2011       9:34:47
40113      5852853685       11/26/2011      11:12:50
40114      5852853927       4/20/2012       13:58:00
40115      5852856295       12/26/2011      8:54:21
40116      5852857297       12/1/2011       8:00:33
40117      5852857901       11/2/2011       16:20:44
40118      5852859290       1/6/2012        14:35:11
40119      5852860478       6/4/2012        8:07:08
40120      5852877532       5/17/2012       16:44:53
40121      5852877805       11/26/2011      12:22:23
40122      5852970789       9/8/2011        19:45:29
40123      5852977265       2/28/2012       13:24:21
40124      5852977600       7/2/2012        17:00:24
40125      5852988047       7/19/2012       17:34:58
40126      5853009019       10/29/2011      9:56:06
40127      5853037917       2/17/2012       8:54:29
40128      5853037917       8/13/2012       7:32:52
40129      5853142119       5/4/2012        7:26:04
40130      5853147642       10/4/2011       13:31:48
40131      5853153688       9/5/2012        7:09:50
40132      5853155345       10/10/2011      12:24:56
40133      5853172373       9/22/2012       8:59:40
40134      5853176581       3/1/2012        12:04:26
40135      5853197429       9/24/2011       9:28:27
40136      5853220945       10/15/2011      8:32:30
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40137      5853298831       10/6/2012       8:39:06
40138      5853332054       7/30/2012       13:27:19
40139      5853506434       9/27/2011       18:24:25
40140      5853540254       10/27/2011      16:16:51
40141      5853546735       6/5/2012        13:53:14
40142      5853562636       9/21/2012       15:24:34
40143      5853569899       3/13/2012       16:47:51
40144      5853602569       11/8/2011       14:11:39
40145      5853606090       2/1/2012        8:16:49
40146      5853653474       2/6/2012        17:12:26
40147      5854023809       10/12/2012      16:59:29
40148      5854031216       10/5/2011       10:46:05
40149      5854031570       11/3/2011       17:35:08
40150      5854064495       11/7/2011       7:17:03
40151      5854066656       10/29/2011      10:01:00
40152      5854090273       12/29/2011      19:44:32
40153      5854107427       11/15/2011      15:02:02
40154      5854138130       12/28/2011      8:48:55
40155      5854140259       1/6/2012        13:03:07
40156      5854144263       1/4/2012        11:11:11
40157      5854149230       2/22/2012       7:08:16
40158      5854151816       1/4/2012        11:11:41
40159      5854155788       10/2/2012       7:33:24
40160      5854156750       10/8/2012       7:02:23
40161      5854470277       6/21/2012       10:08:35
40162      5854472824       10/1/2011       10:13:13
40163      5854473557       5/1/2012        8:11:55
40164      5854551348       7/18/2011       10:46:57
40165      5854651225       2/21/2012       17:32:24
40166      5854654089       3/22/2012       14:18:10
40167      5854661531       1/19/2012       7:14:44
40168      5854745173       4/11/2012       11:10:19
40169      5854897303       7/27/2012       15:20:49
40170      5854902820       6/4/2012        8:19:22
40171      5854905733       4/5/2012        9:27:13
40172      5854906784       3/29/2012       11:48:48
40173      5854976004       9/13/2011       13:58:28
40174      5855038635       5/1/2012        8:11:53
40175      5855191713       6/19/2012       15:22:53
40176      5855195161       9/6/2012        12:27:06
40177      5855204654       8/10/2011       18:25:53
40178      5855765112       7/9/2012        19:04:26
40179      5856106144       11/9/2011       7:43:10
40180      5856108156       6/12/2012       7:09:53
40181      5856150579       11/30/2011      14:42:53
40182      5856156788       7/2/2012        14:54:58
40183      5856158727       9/21/2012       15:32:40
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40184      5856834205       7/2/2012        17:00:02
40185      5856947451       7/21/2011       14:01:21
40186      5856984775       1/27/2012       17:33:31
40187      5857275293       12/19/2011      7:38:34
40188      5857324542       4/28/2012       8:16:29
40189      5857344757       3/6/2012        15:40:59
40190      5857394092       5/16/2012       11:57:38
40191      5857436729       6/19/2012       7:51:00
40192      5857497829       8/23/2012       11:57:33
40193      5857505390       3/8/2012        9:23:29
40194      5857522662       3/23/2012       19:43:24
40195      5857527079       8/23/2012       11:46:59
40196      5857540366       3/3/2012        8:32:28
40197      5857542220       4/4/2012        18:41:28
40198      5857558513       12/5/2011       8:15:56
40199      5857640204       9/3/2012        14:44:45
40200      5857731011       1/11/2012       16:26:09
40201      5857751260       1/4/2012        11:11:39
40202      5857752442       9/28/2012       7:34:01
40203      5857756101       10/23/2012      16:03:58
40204      5857756861       10/22/2012      17:54:28
40205      5857862513       6/12/2012       17:09:43
40206      5858021701       11/17/2011      13:31:35
40207      5858024544       6/5/2012        7:08:29
40208      5858028811       6/18/2012       7:57:55
40209      5858081553       8/4/2013        10:12:40
40210      5858084214       1/19/2012       18:34:25
40211      5858089553       5/21/2012       7:05:09
40212      5858131792       12/10/2011      14:19:45
40213      5858135457       3/30/2012       16:02:30
40214      5858137003       2/9/2012        7:04:02
40215      5858153610       7/26/2012       19:17:37
40216      5858155085       9/29/2012       9:53:03
40217      5858207946       1/18/2012       16:34:57
40218      5858317327       5/17/2012       16:37:50
40219      5858514084       12/24/2011      7:02:21
40220      5858572475       9/26/2011       7:47:14
40221      5858806661       4/5/2012        14:29:37
40222      5858806709       12/10/2011      14:20:16
40223      5859440542       12/29/2011      18:48:08
40224      5859531415       2/11/2012       15:20:53
40225      5859810262       9/28/2012       7:37:59
40226      5859931066       5/3/2012        7:01:20
40227      5862096107       1/3/2012        11:12:40
40228      5862098056       12/8/2011       11:15:34
40229      5862121878       10/9/2012       7:33:31
40230      5862154450       10/17/2011      7:31:13
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40231      5862191462       1/31/2012       7:40:49
40232      5862221854       1/5/2012        17:19:38
40233      5862221854       6/6/2012        13:03:35
40234      5862223105       11/28/2011      16:29:54
40235      5862223209       10/20/2012      16:20:39
40236      5862224691       11/23/2011      10:12:36
40237      5862225319       3/12/2012       19:22:32
40238      5862225347       9/23/2011       7:05:54
40239      5862225347       10/3/2011       7:09:31
40240      5862226175       10/17/2011      7:42:47
40241      5862226194       1/4/2012        10:59:56
40242      5862226337       1/17/2012       18:28:06
40243      5862227184       5/11/2012       18:30:40
40244      5862228200       11/16/2011      11:15:13
40245      5862228526       3/3/2012        8:21:05
40246      5862228526       3/12/2012       19:21:54
40247      5862228751       11/18/2011      13:16:19
40248      5862229271       8/30/2012       7:08:25
40249      5862229413       12/15/2011      8:27:23
40250      5862229480       9/22/2011       15:09:15
40251      5862423220       6/11/2012       7:15:56
40252      5862428662       5/23/2012       16:33:48
40253      5862433399       2/28/2012       15:59:02
40254      5862439482       11/14/2011      14:38:40
40255      5862449203       3/2/2012        9:29:46
40256      5862449203       5/18/2012       15:53:26
40257      5862481099       3/4/2012        12:38:57
40258      5862481099       4/16/2012       15:58:21
40259      5862555545       5/7/2011        13:58:47
40260      5862586968       4/13/2012       13:14:23
40261      5862586968       5/14/2012       15:30:13
40262      5862601957       9/26/2012       14:31:26
40263      5862759443       3/7/2012        7:17:37
40264      5862759443       4/18/2012       7:12:06
40265      5862913075       10/20/2011      15:21:34
40266      5863371039       7/21/2012       10:24:10
40267      5863371039       8/30/2012       17:38:08
40268      5863371112       1/7/2012        9:50:15
40269      5863390300       10/22/2011      12:23:00
40270      5863390448       1/21/2012       8:02:43
40271      5863392954       7/26/2012       19:26:39
40272      5863394398       3/23/2012       10:56:37
40273      5863395802       12/9/2011       13:17:35
40274      5863395928       10/24/2011      7:06:04
40275      5863398982       9/12/2011       13:58:33
40276      5863441089       10/19/2011      15:07:09
40277      5863444191       4/9/2012        17:47:47
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40278      5863501079       7/6/2012        14:37:56
40279      5863547037       5/9/2012        8:25:59
40280      5863548555       8/30/2012       17:45:18
40281      5863600732       3/15/2012       19:03:32
40282      5863620232       11/17/2011      13:31:50
40283      5863628327       5/21/2012       7:36:48
40284      5863628327       5/21/2012       7:59:37
40285      5863658389       2/15/2012       8:02:51
40286      5863659099       9/13/2011       17:28:44
40287      5863725337       7/19/2012       10:31:43
40288      5863725337       8/16/2012       19:55:53
40289      5864191803       9/11/2012       7:41:40
40290      5864191803       10/9/2012       7:29:55
40291      5864200290       6/23/2012       16:22:51
40292      5864200905       10/13/2011      7:18:24
40293      5864276651       11/18/2011      13:17:29
40294      5864398187       7/14/2012       8:19:22
40295      5864398681       2/25/2012       10:49:54
40296      5864398839       2/14/2012       9:52:15
40297      5864412466       1/12/2012       14:00:29
40298      5864430136       11/23/2011      10:00:34
40299      5864431356       5/23/2012       16:43:53
40300      5864438423       5/12/2012       10:54:58
40301      5864438468       10/12/2012      16:48:09
40302      5864439423       10/25/2011      15:57:08
40303      5864439423       12/20/2011      17:10:14
40304      5864532429       10/23/2012      16:05:58
40305      5864536087       10/10/2012      12:32:00
40306      5864647396       1/16/2012       17:20:25
40307      5864775461       10/8/2011       10:27:53
40308      5864775581       6/24/2012       13:44:39
40309      5864842254       10/6/2011       16:19:22
40310      5864842254       3/1/2012        11:51:29
40311      5864890020       12/20/2011      19:32:13
40312      5864950058       6/12/2012       17:04:32
40313      5864950755       11/9/2011       7:42:53
40314      5865302721       9/20/2011       16:45:38
40315      5865317248       10/7/2012       12:59:21
40316      5865491247       9/7/2011        14:23:07
40317      5865561131       12/7/2011       13:22:20
40318      5865562288       9/14/2011       14:51:35
40319      5865575778       10/6/2011       16:23:34
40320      5865630081       5/17/2011       9:16:54
40321      5865630335       10/18/2012      16:30:20
40322      5865630337       10/20/2012      8:05:39
40323      5865633529       12/20/2011      19:20:54
40324      5865636935       11/15/2011      16:06:40
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40325      5865639217       10/28/2013      7:05:21
40326      5865671952       1/9/2012        7:04:08
40327      5865961496       12/17/2011      11:47:01
40328      5866040614       9/28/2012       14:18:40
40329      5866042833       9/27/2012       16:44:37
40330      5866043788       3/20/2012       8:58:57
40331      5866046549       3/13/2012       18:34:56
40332      5866046778       5/25/2011       17:27:31
40333      5866101371       8/29/2012       11:09:25
40334      5866109080       7/23/2012       15:27:16
40335      5866120603       10/20/2011      16:24:02
40336      5866252638       2/11/2012       15:05:22
40337      5866252974       1/20/2012       19:31:37
40338      5866341645       8/15/2012       7:53:01
40339      5866341725       1/18/2012       16:38:43
40340      5866460859       8/16/2012       7:51:48
40341      5866680830       7/23/2013       9:14:42
40342      5867098474       12/1/2011       7:49:10
40343      5867135388       3/15/2012       19:22:25
40344      5867276240       10/25/2012      19:46:42
40345      5867468256       10/11/2011      15:50:29
40346      5867469102       2/18/2012       8:53:56
40347      5867469102       3/22/2012       7:57:44
40348      5867475304       5/4/2012        14:28:54
40349      5867478349       7/13/2012       18:33:22
40350      5867849883       12/14/2011      14:56:47
40351      5868012088       10/29/2011      11:21:38
40352      5868019530       12/9/2011       7:53:37
40353      5868193025       11/18/2011      12:53:54
40354      5868193025       3/14/2012       14:28:21
40355      5868226764       6/13/2012       7:12:29
40356      5868438297       12/18/2011      16:58:54
40357      5868640002       11/17/2011      13:36:53
40358      5868721824       2/20/2012       7:15:23
40359      5868727587       9/20/2011       17:19:53
40360      5868733974       10/17/2011      7:46:54
40361      5868763731       10/6/2011       16:20:37
40362      5868830877       5/19/2012       9:23:02
40363      5868991312       8/1/2012        8:30:27
40364      5868998956       9/15/2012       8:01:07
40365      5869093602       9/6/2012        12:20:16
40366      5869302701       1/9/2012        7:03:10
40367      5869327108       7/16/2011       8:51:02
40368      5869328018       12/20/2011      7:14:48
40369      5869328352       4/10/2012       11:50:53
40370      5869328680       10/19/2012      19:09:14
40371      5869337783       6/8/2011        18:33:59
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40372      5869352915       2/17/2012       8:56:19
40373      5869431983       2/6/2012        17:08:38
40374      5869444785       11/28/2011      11:30:43
40375      5869940604       9/15/2012       8:15:25
40376      6012011046       2/18/2012       9:11:00
40377      6012015106       3/19/2011       10:38:51
40378      6012015589       9/19/2011       8:18:47
40379      6012091009       12/17/2011      12:03:03
40380      6012092731       12/1/2011       15:01:09
40381      6012094266       3/9/2012        9:12:59
40382      6012095552       3/19/2012       11:56:29
40383      6012096049       11/23/2011      14:42:07
40384      6012096865       4/2/2012        9:07:02
40385      6012097521       9/15/2011       7:39:55
40386      6012097731       4/24/2012       12:10:10
40387      6012121874       12/12/2011      12:18:26
40388      6012121940       1/7/2012        9:35:22
40389      6012124116       6/9/2011        11:00:28
40390      6012124625       12/16/2011      16:18:38
40391      6012124818       9/26/2012       14:36:46
40392      6012125496       2/14/2012       15:39:30
40393      6012125791       9/20/2011       20:45:04
40394      6012127542       9/8/2011        18:56:11
40395      6012127588       8/3/2012        12:31:31
40396      6012128132       9/14/2011       16:45:10
40397      6012128353       7/19/2012       8:31:29
40398      6012128353       8/20/2012       18:43:57
40399      6012138230       11/15/2011      20:11:08
40400      6012140316       9/15/2012       8:23:48
40401      6012140497       5/30/2012       16:57:37
40402      6012140704       5/11/2012       18:12:41
40403      6012141050       9/21/2011       19:35:26
40404      6012141603       11/28/2011      12:19:36
40405      6012148512       6/20/2011       14:18:33
40406      6012149973       10/20/2012      8:18:45
40407      6012180081       11/11/2011      13:41:37
40408      6012180081       1/19/2012       18:30:00
40409      6012180209       12/2/2011       14:53:33
40410      6012181367       11/23/2011      14:57:10
40411      6012181379       2/6/2012        9:58:48
40412      6012182774       9/21/2011       11:52:36
40413      6012182947       7/14/2011       16:21:05
40414      6012184963       9/27/2011       18:42:50
40415      6012185399       10/15/2011      9:27:20
40416      6012187021       5/5/2012        8:27:40
40417      6012187130       10/4/2011       13:20:04
40418      6012189148       9/23/2011       11:46:43
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40419      6012481591       5/22/2012       11:22:39
40420      6012483899       1/25/2012       20:24:28
40421      6012488992       9/24/2011       9:25:46
40422      6012497563       3/2/2012        18:49:54
40423      6012591497       10/10/2012      13:01:15
40424      6012593714       1/27/2012       12:00:05
40425      6012601088       12/17/2011      12:08:27
40426      6012602194       9/21/2011       13:42:56
40427      6012602583       10/17/2012      18:31:04
40428      6012604775       8/11/2012       9:39:01
40429      6012604927       11/15/2011      20:09:29
40430      6012608547       2/16/2012       11:28:57
40431      6012609157       3/13/2012       12:52:06
40432      6012609618       3/14/2012       19:33:18
40433      6012700785       10/9/2012       20:03:46
40434      6012703660       8/24/2012       11:05:38
40435      6012704501       2/13/2012       18:28:31
40436      6012705970       5/20/2011       18:04:04
40437      6012706701       9/10/2011       8:41:18
40438      6012707274       9/14/2011       12:36:48
40439      6012707324       10/10/2011      12:46:00
40440      6012709124       12/23/2011      15:05:58
40441      6012738008       1/13/2012       17:43:55
40442      6012741666       2/28/2012       15:53:07
40443      6012747737       9/12/2012       15:01:08
40444      6012747831       9/12/2011       14:24:52
40445      6012781222       8/1/2012        8:29:18
40446      6012781781       8/8/2012        8:16:45
40447      6012788899       3/20/2012       9:31:48
40448      6012789565       4/25/2011       13:02:56
40449      6012810005       8/10/2012       8:27:43
40450      6012870245       10/13/2011      8:40:07
40451      6012910384       9/20/2011       16:51:49
40452      6012911454       9/17/2011       9:34:51
40453      6012918764       9/8/2012        11:40:58
40454      6012970721       3/1/2012        17:43:18
40455      6012975895       12/15/2011      8:37:25
40456      6012978043       10/6/2012       8:57:48
40457      6012993177       9/29/2011       15:45:52
40458      6013010533       9/10/2011       8:33:17
40459      6013030224       9/17/2011       10:24:45
40460      6013036139       8/29/2011       17:05:22
40461      6013070131       11/1/2011       8:46:47
40462      6013071353       6/26/2012       16:14:48
40463      6013072499       9/14/2011       12:36:37
40464      6013072664       10/31/2011      9:26:54
40465      6013073057       2/21/2012       20:50:19
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40466      6013073057       3/8/2012        20:27:46
40467      6013073057       3/16/2012       15:53:51
40468      6013076071       4/4/2012        8:12:50
40469      6013076568       12/16/2011      15:39:36
40470      6013076746       11/14/2011      14:57:10
40471      6013079524       11/5/2011       10:45:43
40472      6013101808       12/17/2011      12:06:38
40473      6013103164       10/4/2011       13:18:30
40474      6013105662       3/23/2012       14:53:15
40475      6013105868       10/20/2011      16:31:42
40476      6013106620       9/14/2011       11:58:00
40477      6013107024       10/6/2011       16:41:10
40478      6013109658       4/11/2012       11:29:53
40479      6013160686       7/30/2012       13:18:22
40480      6013167120       9/23/2011       19:03:52
40481      6013170634       4/9/2012        13:33:42
40482      6013171062       12/21/2011      9:59:54
40483      6013171062       5/21/2012       8:01:46
40484      6013193023       11/29/2011      15:04:32
40485      6013193703       12/27/2011      9:11:00
40486      6013194173       2/7/2012        8:11:27
40487      6013194992       2/24/2011       14:24:09
40488      6013196978       10/16/2012      20:35:10
40489      6013197904       9/8/2011        18:48:23
40490      6013199345       10/23/2012      15:59:56
40491      6013199493       12/20/2011      11:52:19
40492      6013199685       6/15/2012       16:44:43
40493      6013199936       1/19/2012       8:11:16
40494      6013203387       9/16/2011       13:00:45
40495      6013204957       12/2/2011       8:13:46
40496      6013230922       9/6/2012        12:34:08
40497      6013231703       4/5/2012        13:56:55
40498      6013236022       3/26/2012       14:39:12
40499      6013251544       11/2/2011       14:24:38
40500      6013251660       10/6/2011       17:19:02
40501      6013253697       1/23/2012       19:18:52
40502      6013254106       10/8/2011       9:44:14
40503      6013254376       7/9/2012        19:01:21
40504      6013255197       1/17/2014       19:55:33
40505      6013256343       1/21/2012       8:57:21
40506      6013257398       3/25/2012       11:56:11
40507      6013258084       12/7/2011       14:08:36
40508      6013315425       1/24/2012       10:24:56
40509      6013317372       7/30/2012       18:46:16
40510      6013340372       10/14/2011      12:58:27
40511      6013341442       10/6/2011       16:43:33
40512      6013345258       5/21/2012       8:14:13
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40513      6013351211       4/26/2011       20:17:00
40514      6013352249       10/13/2011      8:33:31
40515      6013352397       10/25/2012      19:38:49
40516      6013353526       11/23/2011      9:35:36
40517      6013354475       5/9/2012        8:38:54
40518      6013413463       2/11/2012       10:51:05
40519      6013416434       12/26/2011      9:07:28
40520      6013416434       4/24/2012       11:59:27
40521      6013419230       11/12/2011      10:45:03
40522      6013449053       8/6/2012        15:18:58
40523      6013473678       12/9/2011       15:37:10
40524      6013474945       2/3/2012        8:31:10
40525      6013475118       3/10/2011       16:37:01
40526      6013475944       2/6/2012        10:09:56
40527      6013476080       11/16/2011      20:06:39
40528      6013810681       5/14/2012       8:08:12
40529      6013810681       5/21/2012       8:19:21
40530      6013810681       6/14/2012       20:54:26
40531      6013822698       9/21/2011       11:33:04
40532      6013822698       10/4/2011       13:49:24
40533      6013824151       10/22/2012      18:00:10
40534      6013824545       10/18/2012      16:37:05
40535      6013824695       2/13/2012       18:29:57
40536      6013825477       9/28/2011       10:29:14
40537      6013826479       4/22/2012       15:31:06
40538      6013826991       1/27/2012       10:02:48
40539      6013827268       9/23/2011       18:49:04
40540      6013828709       9/5/2012        15:24:39
40541      6013829893       1/4/2012        20:16:39
40542      6013832445       8/25/2012       11:15:07
40543      6013833613       9/23/2011       18:47:42
40544      6013923724       3/3/2012        8:53:11
40545      6013924479       6/5/2012        17:56:37
40546      6013926751       9/21/2011       19:30:48
40547      6013947155       9/10/2011       8:30:48
40548      6013947986       11/18/2011      12:58:34
40549      6013949682       12/17/2011      12:11:37
40550      6013949807       9/10/2011       9:10:29
40551      6013952648       2/21/2012       20:54:15
40552      6013952648       4/27/2012       9:47:26
40553      6013956567       8/7/2012        17:44:24
40554      6013970415       12/29/2011      19:34:05
40555      6013986079       4/3/2012        20:09:57
40556      6013986973       8/13/2012       20:59:30
40557      6014023123       10/6/2011       17:48:19
40558      6014052554       11/14/2011      14:48:08
40559      6014056349       1/25/2012       20:28:57
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40560      6014059010       12/16/2011      15:39:04
40561      6014059774       8/25/2012       10:55:24
40562      6014084173       5/21/2012       17:49:55
40563      6014084304       1/13/2012       8:03:07
40564      6014084305       1/17/2012       9:38:04
40565      6014085255       12/14/2011      14:48:07
40566      6014087207       9/21/2012       18:51:12
40567      6014100565       3/12/2012       19:24:44
40568      6014101088       8/2/2011        18:45:38
40569      6014103560       6/28/2011       9:44:08
40570      6014103599       11/4/2011       9:15:36
40571      6014103599       11/16/2011      20:06:33
40572      6014103672       6/26/2012       8:00:56
40573      6014104102       11/2/2011       14:23:38
40574      6014104470       12/15/2011      8:37:35
40575      6014105610       11/5/2011       11:32:52
40576      6014107164       7/6/2012        16:47:36
40577      6014107557       11/22/2011      19:39:07
40578      6014107878       3/8/2012        9:16:00
40579      6014109856       11/22/2011      19:38:46
40580      6014109898       12/21/2011      19:49:53
40581      6014109898       3/2/2012        9:12:04
40582      6014151579       2/12/2012       15:43:47
40583      6014151579       2/17/2012       18:21:14
40584      6014152926       10/23/2012      10:52:10
40585      6014155266       3/28/2012       10:47:13
40586      6014155608       3/20/2012       9:30:11
40587      6014156347       12/31/2011      12:04:05
40588      6014156780       9/7/2011        14:30:52
40589      6014157836       10/25/2011      15:34:18
40590      6014165056       11/18/2011      13:32:08
40591      6014211488       5/9/2012        16:12:02
40592      6014213943       9/28/2011       10:28:14
40593      6014227808       10/13/2011      8:27:37
40594      6014310915       10/1/2011       10:45:04
40595      6014314308       4/18/2012       18:03:21
40596      6014331066       9/8/2012        11:11:32
40597      6014338079       3/31/2012       17:37:58
40598      6014341056       7/19/2011       17:46:05
40599      6014341313       3/14/2012       14:11:42
40600      6014341543       6/11/2012       17:34:58
40601      6014410047       10/5/2011       14:39:49
40602      6014410848       1/11/2012       8:58:00
40603      6014411599       10/4/2011       13:20:20
40604      6014412186       12/17/2011      12:11:07
40605      6014413070       9/27/2011       18:37:31
40606      6014413710       5/9/2012        8:41:35
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40607      6014414141       10/17/2011      8:08:10
40608      6014414162       11/18/2011      12:26:58
40609      6014414822       10/8/2011       11:32:35
40610      6014416656       12/29/2011      11:15:25
40611      6014417585       8/25/2012       11:18:09
40612      6014425978       9/21/2011       11:54:09
40613      6014433717       10/18/2012      16:38:09
40614      6014476242       4/25/2011       13:26:36
40615      6014476242       10/15/2011      10:36:11
40616      6014478416       9/9/2011        18:18:00
40617      6014543435       9/23/2011       11:43:46
40618      6014547060       9/12/2011       14:21:27
40619      6014547422       5/4/2012        20:59:18
40620      6014547557       1/11/2012       8:51:29
40621      6014547557       1/20/2012       20:35:21
40622      6014548075       6/4/2012        8:43:30
40623      6014549186       12/15/2011      8:38:12
40624      6014629187       5/16/2011       12:40:00
40625      6014629275       12/3/2011       9:19:24
40626      6014630003       1/9/2012        8:11:58
40627      6014631188       10/3/2012       19:56:23
40628      6014661623       7/15/2011       17:44:33
40629      6014661677       9/22/2011       16:10:33
40630      6014664112       10/5/2012       12:38:56
40631      6014666244       5/30/2012       12:42:51
40632      6014667079       12/10/2011      13:18:34
40633      6014667494       8/31/2012       16:39:21
40634      6014667887       9/21/2011       19:35:11
40635      6014670163       7/13/2012       11:12:58
40636      6014672838       12/10/2011      12:18:18
40637      6014672858       11/8/2011       14:31:28
40638      6014674721       12/22/2011      9:05:27
40639      6014675028       2/3/2012        20:03:10
40640      6014677580       2/16/2012       8:27:32
40641      6014679375       3/7/2012        9:33:53
40642      6014793166       12/12/2011      12:20:54
40643      6014793430       11/26/2011      13:08:40
40644      6014798044       12/16/2011      15:39:07
40645      6014802693       12/21/2011      18:47:52
40646      6014803137       7/13/2012       14:03:06
40647      6014805117       9/21/2011       11:30:30
40648      6014805451       10/9/2012       11:45:17
40649      6014806261       4/9/2012        13:47:41
40650      6014806763       11/16/2011      19:59:57
40651      6014808344       12/3/2011       9:22:24
40652      6014808546       8/2/2012        18:57:31
40653      6014863374       11/30/2011      8:13:03
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40654      6014930674       3/13/2012       18:40:20
40655      6014933399       1/4/2012        11:24:07
40656      6014933953       5/22/2012       11:22:27
40657      6014934861       9/6/2012        12:32:03
40658      6014970048       10/10/2011      11:58:07
40659      6014970633       1/12/2012       8:07:25
40660      6014972113       4/4/2011        14:23:26
40661      6014973962       2/7/2012        20:24:53
40662      6014982497       12/17/2011      12:07:39
40663      6014983631       3/19/2012       19:22:16
40664      6014983691       7/29/2011       20:21:05
40665      6014984478       4/21/2012       8:11:34
40666      6014984814       10/19/2011      12:10:45
40667      6014986506       1/3/2014        17:38:59
40668      6014987411       1/18/2012       16:42:51
40669      6015000113       9/27/2012       16:44:47
40670      6015000662       10/31/2011      9:23:26
40671      6015001403       10/12/2011      8:20:39
40672      6015024919       4/12/2012       14:53:53
40673      6015026072       11/28/2011      16:57:28
40674      6015030431       10/5/2011       14:46:24
40675      6015033059       10/12/2012      17:11:37
40676      6015036378       1/18/2012       16:41:55
40677      6015040160       8/8/2012        16:13:34
40678      6015047467       9/19/2011       8:31:37
40679      6015061449       4/9/2012        18:18:25
40680      6015062827       5/4/2012        20:55:35
40681      6015065859       1/10/2012       18:11:22
40682      6015071749       1/10/2012       18:10:15
40683      6015071889       9/22/2011       16:13:41
40684      6015074759       12/18/2011      16:18:53
40685      6015074916       8/31/2012       16:29:30
40686      6015076455       9/8/2011        19:50:05
40687      6015077648       4/12/2012       18:24:21
40688      6015078484       1/23/2012       8:24:17
40689      6015079727       1/8/2012        13:12:48
40690      6015080029       4/20/2012       20:52:53
40691      6015082342       11/30/2011      8:04:12
40692      6015082547       10/20/2011      15:47:18
40693      6015083307       4/13/2012       20:41:06
40694      6015083524       11/26/2011      13:26:33
40695      6015083720       8/16/2011       17:44:33
40696      6015083874       4/7/2012        9:34:44
40697      6015083874       6/22/2012       21:00:53
40698      6015084869       9/24/2012       19:09:44
40699      6015085077       9/14/2011       16:47:12
40700      6015085920       2/20/2012       17:20:51
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40701      6015087107       9/29/2011       15:53:51
40702      6015087725       5/14/2012       8:06:05
40703      6015087991       10/19/2011      12:11:08
40704      6015088738       8/29/2012       20:20:30
40705      6015131969       11/12/2011      10:33:00
40706      6015132115       5/22/2012       18:21:33
40707      6015133137       11/7/2011       9:54:04
40708      6015133588       3/13/2012       18:31:40
40709      6015137792       5/2/2012        13:14:32
40710      6015170077       1/14/2012       8:22:16
40711      6015172068       5/25/2012       8:09:22
40712      6015174401       10/10/2011      12:52:11
40713      6015175660       7/9/2012        8:51:53
40714      6015191154       12/15/2011      8:38:37
40715      6015191860       7/20/2011       14:59:10
40716      6015193812       9/4/2012        16:07:54
40717      6015196209       10/23/2012      18:50:04
40718      6015196742       9/20/2012       20:58:57
40719      6015198482       7/30/2012       18:38:41
40720      6015201139       1/23/2012       19:17:57
40721      6015202071       2/14/2012       15:38:34
40722      6015202166       11/1/2011       8:12:32
40723      6015202937       11/17/2011      16:47:15
40724      6015204054       11/14/2011      17:09:39
40725      6015204054       12/16/2011      16:23:00
40726      6015220332       1/12/2012       8:13:30
40727      6015271794       8/7/2012        19:49:16
40728      6015273141       10/11/2011      16:25:36
40729      6015273949       12/17/2011      12:03:06
40730      6015275287       7/3/2012        12:25:17
40731      6015277314       11/28/2011      17:01:38
40732      6015280913       11/30/2011      8:07:01
40733      6015281772       10/21/2011      13:33:13
40734      6015282377       12/18/2011      18:08:03
40735      6015282798       9/13/2011       17:50:26
40736      6015283341       11/9/2011       8:30:43
40737      6015283741       4/2/2012        17:33:16
40738      6015283741       5/21/2012       8:17:48
40739      6015291149       9/29/2011       15:03:23
40740      6015291149       5/3/2012        7:19:29
40741      6015293556       1/18/2012       16:43:22
40742      6015294221       11/15/2011      16:26:59
40743      6015295017       10/12/2012      17:09:04
40744      6015295974       10/15/2011      10:43:36
40745      6015296842       8/3/2012        16:31:28
40746      6015298857       11/30/2011      14:55:04
40747      6015299085       9/9/2011        18:21:32
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40748      6015303179       12/15/2011      8:58:52
40749      6015401285       12/18/2011      16:56:27
40750      6015402091       7/26/2012       12:16:39
40751      6015406033       4/2/2012        8:58:16
40752      6015407032       11/23/2011      9:46:26
40753      6015408692       2/2/2012        18:58:06
40754      6015435013       8/9/2012        14:03:47
40755      6015437366       2/7/2012        8:03:59
40756      6015490430       3/22/2012       14:24:02
40757      6015490627       5/19/2012       9:31:34
40758      6015490718       5/23/2011       16:00:21
40759      6015511220       12/15/2011      8:43:32
40760      6015511976       3/16/2012       16:01:49
40761      6015519006       9/22/2011       16:01:05
40762      6015519106       4/11/2012       11:27:02
40763      6015594589       2/6/2012        10:10:17
40764      6015595663       6/19/2012       8:34:52
40765      6015596822       3/20/2012       17:50:08
40766      6015596995       11/11/2011      20:22:29
40767      6015620747       3/10/2011       17:42:51
40768      6015628082       5/19/2012       9:40:25
40769      6015628222       9/1/2011        8:20:37
40770      6015660599       4/11/2012       12:44:38
40771      6015663690       1/27/2012       17:47:17
40772      6015692545       10/10/2011      12:49:58
40773      6015693140       11/26/2011      13:35:43
40774      6015694844       4/25/2011       13:08:43
40775      6015732426       2/20/2012       17:11:35
40776      6015734708       11/28/2011      12:07:23
40777      6015734708       12/21/2011      9:56:44
40778      6015735185       7/27/2012       13:10:10
40779      6015735187       12/23/2011      14:32:03
40780      6015735190       2/28/2012       13:41:08
40781      6015736091       2/13/2012       18:27:48
40782      6015736362       5/29/2012       17:06:05
40783      6015736558       12/15/2011      8:37:19
40784      6015736886       12/9/2011       13:44:23
40785      6015739357       3/15/2012       19:07:02
40786      6015751513       9/27/2011       18:12:06
40787      6015752434       12/16/2011      15:40:21
40788      6015756455       4/28/2012       8:39:24
40789      6015759001       7/19/2012       8:29:16
40790      6015800342       12/15/2011      8:39:21
40791      6015802709       9/13/2012       15:22:04
40792      6015804075       1/11/2012       8:46:29
40793      6015808852       11/21/2011      8:35:46
40794      6015900284       10/24/2012      15:01:13
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40795      6015901920       12/12/2011      11:54:01
40796      6015901966       1/13/2012       8:09:45
40797      6015902669       8/30/2012       9:46:03
40798      6015940655       1/9/2012        18:14:27
40799      6015941319       6/16/2012       8:33:04
40800      6015942196       2/7/2012        20:23:51
40801      6015948850       12/7/2011       14:42:21
40802      6015962048       2/11/2012       11:12:47
40803      6015962429       1/13/2012       17:17:03
40804      6015962996       6/21/2012       18:44:25
40805      6015963634       2/4/2012        8:41:51
40806      6015963989       5/6/2012        18:17:44
40807      6015963989       8/13/2012       20:57:32
40808      6015967188       8/15/2011       10:29:18
40809      6015967658       3/21/2012       13:41:22
40810      6015973693       9/28/2011       10:25:00
40811      6015976085       9/12/2011       14:26:37
40812      6016044863       6/30/2011       9:17:02
40813      6016046522       3/3/2012        8:55:42
40814      6016047372       1/3/2012        16:25:00
40815      6016047379       9/23/2011       11:40:25
40816      6016047558       5/14/2012       15:41:51
40817      6016060550       8/3/2012        12:43:22
40818      6016062830       7/7/2012        10:28:34
40819      6016066288       10/18/2011      12:31:25
40820      6016066288       10/24/2011      8:11:05
40821      6016067100       11/15/2011      20:13:12
40822      6016068662       2/11/2012       11:13:01
40823      6016069416       10/24/2011      8:08:09
40824      6016069811       7/6/2012        14:41:00
40825      6016090905       1/5/2012        17:30:07
40826      6016093653       11/7/2011       9:26:36
40827      6016094390       5/20/2012       15:39:05
40828      6016094390       5/21/2012       17:42:59
40829      6016094429       11/11/2011      13:14:29
40830      6016130344       10/3/2011       8:21:30
40831      6016132103       9/9/2012        11:16:01
40832      6016133125       9/26/2011       9:54:11
40833      6016135681       7/17/2012       12:24:56
40834      6016139415       9/13/2011       18:00:01
40835      6016163812       11/5/2011       11:18:49
40836      6016167906       12/16/2011      15:39:26
40837      6016168942       10/6/2011       17:53:22
40838      6016183783       1/19/2012       18:30:19
40839      6016184558       10/12/2011      8:08:04
40840      6016185539       9/20/2011       20:32:20
40841      6016186262       11/15/2011      15:41:48
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40842      6016188151       11/22/2011      19:36:01
40843      6016188713       7/2/2012        17:08:48
40844      6016189461       3/15/2012       13:49:01
40845      6016189565       11/2/2011       14:20:04
40846      6016225168       12/17/2011      12:11:17
40847      6016225857       10/27/2011      16:41:13
40848      6016227163       3/21/2012       8:06:36
40849      6016227163       3/28/2012       18:23:54
40850      6016227163       5/21/2012       8:03:11
40851      6016227510       12/15/2011      8:38:23
40852      6016242776       12/17/2011      12:11:54
40853      6016243341       10/7/2011       8:05:44
40854      6016245875       1/5/2012        12:04:49
40855      6016246194       1/20/2012       20:29:39
40856      6016246229       2/11/2012       19:53:41
40857      6016248431       12/27/2011      14:39:35
40858      6016248998       10/25/2012      12:13:07
40859      6016249194       10/29/2011      10:43:34
40860      6016249586       3/13/2012       11:31:20
40861      6016305428       8/28/2012       11:54:24
40862      6016305853       10/16/2012      20:32:27
40863      6016306015       11/15/2011      20:14:04
40864      6016306744       9/29/2012       9:51:22
40865      6016307957       8/6/2011        9:46:36
40866      6016310974       10/5/2011       14:39:12
40867      6016565317       3/26/2012       14:40:16
40868      6016648591       5/21/2012       8:21:05
40869      6016648924       2/29/2012       17:32:28
40870      6016651009       9/7/2011        14:31:47
40871      6016656867       1/25/2012       20:30:27
40872      6016687201       2/9/2012        9:30:15
40873      6016694662       6/2/2012        13:08:06
40874      6016696099       3/16/2012       16:40:20
40875      6016696444       7/12/2012       13:23:01
40876      6016703351       4/28/2012       8:36:25
40877      6016720714       9/19/2011       8:23:52
40878      6016721100       3/30/2012       9:44:48
40879      6016723909       10/4/2011       13:27:34
40880      6016725177       10/8/2011       11:45:36
40881      6016729838       2/17/2012       9:01:07
40882      6016740380       12/13/2011      17:15:30
40883      6016785242       9/16/2011       13:27:58
40884      6016788398       3/16/2012       10:25:41
40885      6016789568       10/4/2011       13:16:43
40886      6016924144       11/11/2011      13:47:30
40887      6016926465       9/16/2011       13:01:48
40888      6016927866       7/26/2012       11:54:11
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40889      6016952680       12/30/2011      8:34:40
40890      6016952680       2/21/2012       20:52:49
40891      6016956125       12/29/2011      19:36:34
40892      6016979105       9/20/2011       16:48:22
40893      6016992111       2/7/2012        8:09:07
40894      6017014257       6/8/2012        17:00:07
40895      6017015787       10/12/2012      16:56:39
40896      6017017237       12/23/2011      14:03:29
40897      6017018393       6/28/2012       14:15:38
40898      6017161379       12/21/2011      10:18:59
40899      6017164413       10/28/2011      14:22:53
40900      6017165126       1/27/2012       18:00:13
40901      6017170264       1/28/2012       9:49:04
40902      6017187974       8/18/2012       8:58:05
40903      6017202833       10/12/2011      8:43:04
40904      6017202833       1/13/2012       17:42:48
40905      6017203086       8/24/2012       11:04:34
40906      6017203086       9/26/2012       8:11:21
40907      6017203086       10/16/2012      20:36:06
40908      6017205801       10/24/2011      8:08:09
40909      6017207152       12/7/2011       14:00:23
40910      6017280242       2/16/2012       8:35:14
40911      6017280690       1/23/2012       19:16:01
40912      6017281580       3/23/2012       14:45:51
40913      6017302320       3/14/2011       17:12:24
40914      6017310095       5/16/2012       20:33:33
40915      6017314727       12/21/2011      19:49:18
40916      6017314727       12/27/2011      14:20:50
40917      6017318598       7/11/2012       17:21:39
40918      6017446397       10/6/2011       10:09:24
40919      6017446774       7/16/2011       8:56:55
40920      6017446992       12/7/2011       13:34:51
40921      6017459264       10/7/2011       8:12:22
40922      6017466014       9/9/2011        17:55:24
40923      6017501063       7/13/2012       14:03:46
40924      6017501955       10/25/2012      12:16:05
40925      6017505739       10/5/2011       14:23:34
40926      6017508299       11/23/2011      9:36:39
40927      6017542811       2/6/2012        17:02:50
40928      6017543177       5/12/2012       8:49:56
40929      6017546185       11/10/2011      8:19:17
40930      6017546729       9/21/2012       15:29:54
40931      6017547701       11/29/2011      15:07:40
40932      6017548332       1/20/2012       20:35:03
40933      6017549617       8/25/2011       16:42:13
40934      6017550048       10/15/2012      10:06:50
40935      6017561990       12/23/2011      15:48:34
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40936      6017570410       6/25/2011       8:36:33
40937      6017573562       11/30/2011      8:05:00
40938      6017573562       12/10/2011      12:27:45
40939      6017575300       10/8/2011       10:02:25
40940      6017576346       7/14/2011       16:39:46
40941      6017577275       2/17/2012       18:12:51
40942      6017577534       9/19/2011       19:31:09
40943      6017577645       1/12/2012       8:04:30
40944      6017577876       4/21/2012       8:35:56
40945      6017611855       4/16/2012       16:05:21
40946      6017647267       8/17/2011       19:14:22
40947      6017648126       6/12/2012       8:31:03
40948      6017665051       8/9/2012        14:10:53
40949      6017665338       12/7/2011       13:34:28
40950      6017665388       10/10/2011      11:56:14
40951      6017810999       9/8/2011        19:00:59
40952      6017861238       12/17/2011      12:06:07
40953      6017861628       4/11/2012       11:29:10
40954      6017861705       3/10/2012       8:31:48
40955      6017867045       10/10/2011      12:41:45
40956      6017887593       9/8/2011        18:06:54
40957      6017910773       2/13/2012       18:49:23
40958      6017955874       11/30/2011      15:23:47
40959      6017998180       3/20/2012       17:50:42
40960      6017998181       4/5/2012        14:37:05
40961      6017998181       7/23/2012       13:26:11
40962      6018070648       9/21/2011       12:00:46
40963      6018076080       1/5/2012        14:03:19
40964      6018078657       1/9/2012        8:17:32
40965      6018078970       10/8/2012       8:10:16
40966      6018078970       10/25/2012      12:28:17
40967      6018100481       5/11/2011       17:03:05
40968      6018104872       11/19/2011      9:07:49
40969      6018134252       10/14/2011      19:26:44
40970      6018134880       7/22/2011       12:55:20
40971      6018135939       5/22/2012       18:39:36
40972      6018136476       5/28/2012       8:35:07
40973      6018136869       2/13/2012       18:46:04
40974      6018180551       10/22/2011      13:15:32
40975      6018184224       10/10/2012      19:21:35
40976      6018184911       4/11/2012       20:42:28
40977      6018261939       2/24/2011       11:55:20
40978      6018262891       6/10/2011       8:24:41
40979      6018265038       8/31/2011       10:48:14
40980      6018265617       4/30/2012       14:37:15
40981      6018266689       6/3/2014        17:38:26
40982      6018310051       9/19/2012       16:26:29
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40983      6018312301       6/13/2012       8:05:21
40984      6018315053       4/3/2012        18:20:38
40985      6018316518       10/6/2012       8:48:35
40986      6018316539       10/4/2011       13:46:32
40987      6018321872       1/19/2012       18:32:02
40988      6018322246       7/13/2011       11:12:08
40989      6018324678       11/23/2011      15:03:33
40990      6018326132       3/12/2012       11:30:51
40991      6018327275       2/16/2012       8:39:48
40992      6018328881       9/21/2012       15:29:42
40993      6018420742       11/16/2011      8:07:20
40994      6018424828       4/26/2011       20:02:14
40995      6018425989       6/14/2012       20:46:31
40996      6018506977       3/1/2012        12:44:14
40997      6018507149       5/25/2012       12:03:49
40998      6018546039       9/13/2011       14:04:56
40999      6018574108       1/27/2012       17:45:22
41000      6018620622       8/25/2012       10:56:36
41001      6018639049       10/3/2012       8:06:35
41002      6018701949       7/25/2011       17:30:11
41003      6018704292       10/5/2011       14:10:50
41004      6018740776       9/8/2011        19:50:38
41005      6018801131       7/25/2011       17:23:17
41006      6018809166       6/5/2012        19:53:43
41007      6018880010       10/4/2011       13:53:11
41008      6019008527       10/19/2011      8:02:20
41009      6019008912       7/27/2012       13:30:42
41010      6019062744       8/2/2012        18:50:47
41011      6019062813       9/12/2011       14:17:53
41012      6019063303       6/10/2012       14:35:38
41013      6019064727       12/27/2011      14:39:41
41014      6019065645       3/29/2012       11:18:35
41015      6019065645       4/5/2012        14:35:33
41016      6019069205       4/5/2012        16:13:15
41017      6019069258       2/20/2012       17:10:31
41018      6019069472       10/19/2011      8:01:29
41019      6019069807       12/7/2011       14:46:28
41020      6019160090       4/4/2011        13:40:46
41021      6019177090       10/10/2011      12:38:35
41022      6019177328       10/17/2012      9:44:22
41023      6019274369       8/21/2012       13:52:38
41024      6019276364       3/29/2012       12:54:20
41025      6019278101       10/11/2011      17:29:03
41026      6019288408       4/15/2012       15:15:34
41027      6019288408       5/11/2012       14:41:38
41028      6019350221       12/26/2011      20:15:31
41029      6019351016       9/24/2012       19:12:17
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41030      6019351133       11/7/2011       9:28:37
41031      6019385777       8/6/2012        15:19:24
41032      6019405188       12/18/2011      17:49:28
41033      6019406373       10/1/2011       10:36:31
41034      6019408309       12/16/2011      15:39:47
41035      6019409467       8/3/2011        11:41:27
41036      6019411171       6/29/2011       17:28:49
41037      6019412469       6/25/2012       13:24:54
41038      6019413559       12/29/2011      10:55:40
41039      6019414402       1/12/2012       14:07:06
41040      6019416826       3/25/2012       12:06:08
41041      6019418676       10/17/2011      8:32:35
41042      6019428218       12/10/2011      13:21:33
41043      6019460362       3/28/2012       18:14:14
41044      6019461642       11/23/2011      9:38:21
41045      6019463310       12/6/2011       14:12:54
41046      6019464186       5/30/2012       12:53:24
41047      6019466623       12/16/2011      15:40:07
41048      6019470845       7/16/2012       9:38:18
41049      6019470849       6/7/2012        18:24:51
41050      6019475529       2/13/2012       8:03:21
41051      6019475923       1/27/2012       11:54:01
41052      6019510528       6/7/2011        18:04:40
41053      6019511664       3/10/2012       9:01:17
41054      6019512534       12/3/2011       10:23:07
41055      6019514001       10/22/2011      13:09:56
41056      6019517536       11/5/2011       11:18:42
41057      6019531399       11/8/2011       14:31:33
41058      6019532262       12/17/2011      12:12:12
41059      6019532605       4/24/2012       12:39:41
41060      6019540194       10/1/2012       8:17:23
41061      6019542497       11/14/2011      17:29:38
41062      6019543455       11/18/2011      13:34:18
41063      6019546266       12/15/2011      8:37:29
41064      6019548817       9/8/2011        18:58:57
41065      6019553234       1/10/2012       12:39:17
41066      6019557017       7/23/2011       11:53:19
41067      6019663648       7/2/2012        17:09:15
41068      6019859205       10/3/2012       19:49:30
41069      6019883398       2/14/2012       15:42:32
41070      6022004521       3/26/2011       12:35:13
41071      6022140678       3/12/2012       11:11:41
41072      6022141307       4/16/2012       16:09:44
41073      6022147195       1/12/2012       14:12:40
41074      6022148367       2/7/2012        16:35:35
41075      6022181825       11/11/2011      13:24:03
41076      6022281877       7/30/2012       18:49:00
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41077      6022450216       9/10/2011       12:39:44
41078      6022453193       2/2/2012        16:42:34
41079      6022471295       11/12/2011      10:46:03
41080      6022810113       9/19/2011       14:36:22
41081      6022815038       4/9/2012        18:18:59
41082      6022841859       1/24/2012       20:15:05
41083      6022849146       10/8/2011       12:13:06
41084      6022902176       9/10/2012       21:08:56
41085      6022904327       3/23/2012       20:18:13
41086      6022904399       1/23/2012       19:19:33
41087      6022907010       5/11/2012       10:45:52
41088      6022907010       5/21/2012       9:02:11
41089      6022919868       1/22/2014       13:54:54
41090      6022924263       8/29/2012       20:22:48
41091      6022937086       12/29/2011      14:11:42
41092      6022950282       11/14/2011      17:36:20
41093      6022952531       1/23/2012       19:14:50
41094      6022952984       11/15/2011      16:38:21
41095      6022958580       5/23/2012       16:54:20
41096      6022968546       7/27/2012       15:26:06
41097      6022969646       1/27/2012       10:01:41
41098      6022977042       5/13/2012       16:52:14
41099      6022977200       2/8/2012        13:02:27
41100      6022990684       8/1/2011        19:24:42
41101      6022991065       9/12/2012       14:58:50
41102      6022991254       3/16/2012       16:04:43
41103      6022991613       10/1/2011       10:51:11
41104      6022992374       8/5/2011        18:51:28
41105      6022994904       5/9/2011        17:34:40
41106      6022994904       11/11/2011      13:22:10
41107      6022995020       1/8/2012        15:32:08
41108      6022995333       1/6/2012        14:55:47
41109      6022995545       1/6/2012        14:59:41
41110      6022995735       10/31/2011      10:16:43
41111      6022995873       10/10/2012      19:08:06
41112      6022996767       2/24/2012       20:57:06
41113      6022997504       7/19/2011       17:29:20
41114      6022998123       8/13/2011       12:13:15
41115      6022998123       12/27/2011      13:31:01
41116      6022998203       8/13/2011       12:08:43
41117      6022998520       10/17/2011      10:45:39
41118      6022998675       9/27/2011       18:51:30
41119      6023001497       3/23/2012       14:47:14
41120      6023002476       9/8/2011        19:54:19
41121      6023007306       3/24/2012       10:07:39
41122      6023011530       1/6/2012        14:54:13
41123      6023012078       12/19/2011      9:10:50
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41124      6023014038       4/19/2012       20:24:06
41125      6023016517       10/31/2011      10:16:45
41126      6023019513       9/16/2011       13:36:43
41127      6023036117       9/20/2012       14:42:42
41128      6023089265       9/22/2011       15:32:07
41129      6023090785       9/14/2011       12:37:26
41130      6023092641       7/22/2011       13:51:46
41131      6023095821       12/20/2011      17:15:20
41132      6023095855       6/30/2011       10:35:58
41133      6023097102       9/30/2011       10:08:20
41134      6023097102       10/29/2011      11:02:16
41135      6023097102       11/17/2011      16:51:31
41136      6023098525       3/27/2012       14:56:46
41137      6023098525       4/2/2012        12:54:43
41138      6023098835       9/10/2011       12:32:59
41139      6023124388       10/3/2011       10:41:52
41140      6023125355       10/4/2011       14:00:49
41141      6023128611       9/30/2011       10:06:58
41142      6023129806       2/29/2012       17:36:25
41143      6023140782       9/21/2011       11:36:29
41144      6023150139       7/3/2012        14:00:06
41145      6023155828       12/18/2011      16:25:39
41146      6023158884       5/1/2012        18:29:53
41147      6023161317       6/15/2012       16:43:18
41148      6023163036       1/20/2012       11:52:16
41149      6023163716       4/3/2012        20:11:46
41150      6023166309       10/24/2011      14:37:53
41151      6023167792       10/8/2011       12:05:16
41152      6023174835       5/14/2012       15:41:13
41153      6023176340       4/10/2012       11:59:24
41154      6023177190       6/30/2012       11:12:07
41155      6023177190       7/7/2012        10:51:44
41156      6023180011       4/12/2012       13:15:30
41157      6023182348       9/23/2011       11:22:13
41158      6023182489       2/18/2012       9:03:09
41159      6023187096       12/17/2011      11:40:59
41160      6023188681       12/7/2011       14:56:37
41161      6023189102       7/20/2011       13:58:28
41162      6023201098       10/5/2011       14:18:47
41163      6023201208       8/16/2012       19:48:51
41164      6023204993       5/9/2011        17:34:45
41165      6023210528       2/13/2012       18:55:16
41166      6023213798       3/2/2012        19:18:09
41167      6023217016       3/22/2012       14:05:17
41168      6023219583       3/2/2012        9:43:11
41169      6023234943       11/10/2011      14:20:38
41170      6023236628       3/6/2012        13:26:38
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41171      6023237200       2/15/2012       14:01:08
41172      6023237515       11/10/2011      14:38:03
41173      6023237722       10/10/2011      12:54:40
41174      6023237722       3/10/2012       9:30:52
41175      6023265199       11/17/2011      14:40:03
41176      6023268679       9/27/2013       19:42:01
41177      6023270030       4/21/2012       16:46:48
41178      6023270349       2/6/2012        10:18:23
41179      6023270349       2/25/2012       11:10:57
41180      6023270349       5/21/2012       17:55:35
41181      6023274095       4/19/2012       20:16:52
41182      6023276466       11/12/2011      9:42:42
41183      6023279231       10/1/2012       21:35:21
41184      6023287128       3/2/2012        18:50:29
41185      6023300009       11/25/2011      17:54:06
41186      6023301177       9/19/2011       14:37:37
41187      6023301431       4/16/2012       16:08:33
41188      6023305706       5/1/2012        21:42:16
41189      6023305736       1/3/2012        19:51:21
41190      6023307708       11/5/2011       10:25:50
41191      6023309550       11/15/2011      20:18:07
41192      6023322665       10/12/2012      16:55:07
41193      6023326517       11/17/2011      16:50:44
41194      6023327235       3/11/2011       16:57:01
41195      6023327454       2/28/2012       13:20:39
41196      6023327985       1/8/2012        15:24:03
41197      6023340414       10/14/2011      13:00:52
41198      6023340639       3/8/2012        20:29:18
41199      6023346420       10/12/2011      11:38:05
41200      6023349184       5/8/2012        21:05:51
41201      6023394416       8/27/2012       14:44:32
41202      6023480670       4/10/2012       21:57:33
41203      6023481377       4/30/2012       21:04:23
41204      6023482363       11/3/2011       17:27:29
41205      6023482687       9/10/2012       10:23:40
41206      6023482687       10/5/2012       12:19:32
41207      6023483742       4/7/2012        12:19:23
41208      6023484754       10/1/2012       21:34:21
41209      6023485105       9/15/2011       10:44:25
41210      6023485341       4/23/2012       13:05:53
41211      6023486108       11/20/2011      11:11:04
41212      6023486241       8/17/2012       21:22:56
41213      6023486264       9/3/2011        11:41:09
41214      6023486739       12/29/2011      19:38:30
41215      6023487215       10/11/2011      17:37:06
41216      6023488311       1/10/2012       15:21:24
41217      6023488791       2/13/2012       18:50:10
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41218      6023488926       3/16/2012       10:26:34
41219      6023489658       5/29/2012       10:58:04
41220      6023489658       6/15/2012       16:39:04
41221      6023495859       10/10/2011      12:56:24
41222      6023496763       12/7/2011       14:19:36
41223      6023498188       11/16/2011      20:07:46
41224      6023501465       7/16/2012       14:23:06
41225      6023502940       3/15/2012       19:09:20
41226      6023504691       8/24/2012       11:03:31
41227      6023504691       8/25/2012       11:18:57
41228      6023509576       5/22/2012       18:23:08
41229      6023541006       12/9/2011       13:42:40
41230      6023546906       11/23/2011      9:56:12
41231      6023581846       8/13/2011       12:08:55
41232      6023583813       10/11/2011      17:37:08
41233      6023583825       9/9/2011        18:28:25
41234      6023584137       12/5/2011       9:54:34
41235      6023590160       7/13/2011       12:02:21
41236      6023590160       10/21/2011      14:50:58
41237      6023618249       5/16/2011       13:02:53
41238      6023669630       10/16/2012      16:37:27
41239      6023669775       6/4/2011        10:49:06
41240      6023670659       3/7/2012        9:48:05
41241      6023671097       11/2/2011       14:29:41
41242      6023671968       9/13/2011       16:42:51
41243      6023672221       3/21/2012       18:34:18
41244      6023672733       2/8/2012        13:02:58
41245      6023673150       11/29/2011      16:12:14
41246      6023677790       10/3/2011       10:31:02
41247      6023677826       11/21/2011      10:47:41
41248      6023679917       1/18/2012       20:24:36
41249      6023690866       9/24/2011       10:07:06
41250      6023694676       11/29/2011      15:12:28
41251      6023695670       11/29/2011      15:46:01
41252      6023696313       7/13/2012       18:37:07
41253      6023698649       12/12/2011      16:26:32
41254      6023700498       11/26/2011      12:04:05
41255      6023701945       5/30/2012       13:00:03
41256      6023736379       4/1/2012        17:34:41
41257      6023740610       7/18/2012       14:47:10
41258      6023770052       1/14/2012       9:17:56
41259      6023770599       9/27/2011       18:28:51
41260      6023776799       11/16/2011      20:07:42
41261      6023802219       6/18/2011       15:36:23
41262      6023804252       6/14/2012       20:47:49
41263      6023804592       5/24/2011       16:14:22
41264      6023805740       5/11/2012       10:40:11
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41265      6023805939       9/26/2012       13:02:59
41266      6023809459       11/16/2011      9:05:13
41267      6023834385       10/14/2011      13:30:40
41268      6023840913       2/3/2012        14:26:43
41269      6023840913       3/12/2012       11:23:05
41270      6023847383       9/8/2011        19:54:42
41271      6023860371       3/12/2012       11:11:32
41272      6023860403       9/19/2011       19:19:37
41273      6023869191       2/7/2012        20:26:26
41274      6023883026       1/14/2012       9:15:59
41275      6023885577       12/5/2011       9:45:40
41276      6023910760       9/15/2011       10:49:47
41277      6023916655       11/8/2011       14:39:12
41278      6023917157       12/1/2011       15:09:33
41279      6023917720       8/10/2012       10:23:16
41280      6023966369       9/6/2012        12:34:36
41281      6024000668       7/19/2011       16:58:49
41282      6024005518       8/30/2012       17:38:08
41283      6024005975       3/27/2012       15:07:09
41284      6024008142       1/6/2012        15:03:38
41285      6024024921       12/1/2011       15:31:59
41286      6024027522       3/16/2012       10:30:57
41287      6024027921       10/29/2011      11:53:59
41288      6024031429       6/5/2012        17:48:42
41289      6024035441       11/25/2011      18:33:20
41290      6024038578       8/2/2012        16:59:43
41291      6024038938       9/8/2011        19:54:29
41292      6024052369       1/27/2012       19:48:56
41293      6024053101       10/23/2012      10:46:24
41294      6024054336       12/7/2011       15:07:08
41295      6024054747       9/18/2012       14:28:58
41296      6024056167       1/6/2012        15:03:32
41297      6024056412       10/15/2011      10:02:36
41298      6024058322       7/20/2011       13:50:01
41299      6024101288       10/11/2012      11:56:25
41300      6024102134       10/24/2012      14:50:13
41301      6024102315       7/6/2012        16:48:05
41302      6024102667       12/1/2011       15:31:31
41303      6024105766       10/12/2011      11:56:43
41304      6024106820       10/14/2011      13:32:08
41305      6024108645       6/30/2012       11:12:50
41306      6024108716       5/3/2012        10:05:26
41307      6024127894       6/3/2011        17:00:57
41308      6024131641       12/20/2011      19:26:56
41309      6024133443       12/21/2011      10:23:25
41310      6024135210       5/10/2012       14:51:55
41311      6024135373       7/19/2012       17:33:13
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41312      6024180034       10/15/2011      10:58:25
41313      6024184239       6/4/2012        21:09:14
41314      6024189542       10/12/2011      11:36:10
41315      6024212539       1/3/2012        10:31:58
41316      6024215640       10/20/2011      20:55:16
41317      6024219225       3/23/2012       19:54:09
41318      6024230135       3/21/2012       18:40:52
41319      6024231301       9/9/2011        18:30:29
41320      6024231716       9/12/2011       14:30:31
41321      6024232407       4/23/2011       10:37:34
41322      6024232825       8/15/2012       14:46:33
41323      6024233900       9/18/2012       21:28:46
41324      6024234183       12/7/2011       14:56:15
41325      6024234722       5/2/2012        13:29:47
41326      6024236044       2/18/2012       9:02:35
41327      6024237283       9/23/2011       18:49:20
41328      6024237757       11/3/2011       18:00:51
41329      6024238376       7/22/2011       13:48:44
41330      6024238614       5/11/2011       17:03:27
41331      6024238867       5/20/2012       15:49:40
41332      6024277506       12/26/2011      20:14:17
41333      6024300728       3/6/2012        20:30:27
41334      6024326463       4/30/2012       14:58:38
41335      6024327147       2/25/2012       10:43:48
41336      6024340090       1/25/2012       20:39:49
41337      6024340099       12/20/2011      19:39:57
41338      6024340845       3/14/2012       19:37:36
41339      6024342914       3/28/2012       12:34:19
41340      6024342914       5/26/2012       14:41:24
41341      6024342966       9/8/2011        18:13:47
41342      6024343514       9/13/2011       18:08:06
41343      6024343850       3/23/2012       15:00:39
41344      6024344270       9/16/2011       15:02:03
41345      6024344371       1/3/2012        19:50:03
41346      6024344371       2/13/2012       18:50:21
41347      6024344397       10/1/2011       10:05:21
41348      6024344502       10/11/2012      11:51:53
41349      6024344566       3/6/2012        20:26:17
41350      6024345820       1/16/2012       17:36:10
41351      6024346046       2/4/2012        13:16:50
41352      6024346770       10/25/2011      16:37:25
41353      6024347047       4/13/2012       13:49:27
41354      6024347132       11/1/2011       12:01:49
41355      6024347612       6/6/2012        21:21:37
41356      6024349396       9/12/2011       13:31:30
41357      6024350104       2/20/2012       17:14:29
41358      6024351506       10/22/2011      13:18:08
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41359      6024351744       10/8/2011       12:09:23
41360      6024352028       8/10/2011       19:35:10
41361      6024352299       1/9/2012        18:17:38
41362      6024354600       10/20/2011      16:32:29
41363      6024354986       9/21/2011       19:36:15
41364      6024355390       9/21/2012       15:57:37
41365      6024355514       12/10/2011      13:48:38
41366      6024358096       2/8/2012        13:13:43
41367      6024358346       10/12/2012      17:08:57
41368      6024359024       9/13/2011       16:42:54
41369      6024359152       8/18/2011       10:36:57
41370      6024359381       10/7/2011       17:42:29
41371      6024359856       1/21/2012       9:05:52
41372      6024359973       5/26/2011       10:14:51
41373      6024417549       5/26/2012       14:41:25
41374      6024460202       9/12/2011       13:31:11
41375      6024460950       10/15/2011      11:00:40
41376      6024461973       9/20/2011       20:48:11
41377      6024463926       1/27/2012       11:54:03
41378      6024465296       5/2/2011        18:14:27
41379      6024465666       7/29/2011       20:26:10
41380      6024466460       11/7/2011       9:41:17
41381      6024466889       9/26/2011       13:18:20
41382      6024467621       10/6/2011       16:56:53
41383      6024467713       1/20/2012       14:24:26
41384      6024485547       11/7/2011       9:44:13
41385      6024486611       1/13/2012       12:32:23
41386      6024487782       10/4/2011       13:24:55
41387      6024487950       6/6/2012        21:19:50
41388      6024489607       1/11/2012       9:02:48
41389      6024511326       2/6/2012        17:23:18
41390      6024512566       7/28/2012       11:10:24
41391      6024514086       5/11/2012       18:39:38
41392      6024514770       5/10/2012       14:51:38
41393      6024519510       5/7/2012        14:56:15
41394      6024591686       2/2/2012        16:43:12
41395      6024593364       3/23/2012       20:17:50
41396      6024594762       7/18/2012       18:32:59
41397      6024595119       10/6/2011       10:29:39
41398      6024600986       9/24/2011       10:06:52
41399      6024600988       12/3/2011       9:29:08
41400      6024606785       9/25/2012       14:58:41
41401      6024606980       4/27/2012       21:51:07
41402      6024631913       1/19/2012       18:43:03
41403      6024632796       8/13/2012       10:59:05
41404      6024633594       6/8/2011        19:04:14
41405      6024650808       2/7/2012        16:39:01
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41406      6024651833       4/3/2012        18:28:36
41407      6024652359       10/15/2011      11:04:23
41408      6024652850       8/1/2012        20:13:36
41409      6024653354       1/10/2012       20:52:38
41410      6024653679       1/26/2012       10:11:06
41411      6024653741       10/8/2011       12:06:39
41412      6024655553       10/7/2011       10:26:20
41413      6024655593       6/20/2012       16:53:39
41414      6024656329       10/11/2011      16:30:51
41415      6024656329       1/9/2012        9:47:10
41416      6024656360       10/5/2011       14:48:20
41417      6024656815       6/27/2012       18:01:20
41418      6024656815       8/23/2012       11:46:33
41419      6024657135       3/5/2012        11:01:03
41420      6024657482       10/5/2011       14:19:29
41421      6024658804       9/7/2013        16:44:08
41422      6024659053       10/5/2011       14:49:15
41423      6024665056       10/8/2012       20:02:59
41424      6024665665       4/16/2012       10:08:37
41425      6024668320       8/16/2012       14:28:59
41426      6024691938       9/22/2011       15:32:05
41427      6024691938       12/12/2011      16:42:10
41428      6024693400       10/7/2011       10:12:55
41429      6024710521       4/13/2012       20:47:10
41430      6024716220       6/7/2012        21:18:41
41431      6024717561       10/11/2012      18:36:22
41432      6024720982       11/17/2011      14:42:39
41433      6024724087       12/18/2011      17:00:44
41434      6024724347       8/6/2012        15:24:03
41435      6024725386       3/3/2012        9:06:24
41436      6024725999       11/9/2011       9:18:48
41437      6024726646       7/29/2011       20:16:08
41438      6024728175       10/6/2011       17:00:48
41439      6024729849       11/15/2011      16:38:09
41440      6024729881       6/26/2012       21:14:12
41441      6024750328       1/3/2012        19:45:06
41442      6024750351       11/30/2011      12:50:17
41443      6024750412       5/23/2012       15:27:47
41444      6024750531       1/6/2012        14:44:44
41445      6024750796       4/8/2011        18:58:14
41446      6024754335       5/3/2012        9:51:42
41447      6024754519       3/7/2012        18:45:06
41448      6024757221       1/8/2012        15:24:07
41449      6024758513       3/8/2012        20:34:44
41450      6024763573       1/4/2012        11:51:32
41451      6024769464       9/12/2011       14:30:41
41452      6024779885       4/1/2012        17:32:24
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41453      6024787629       2/20/2014       21:20:04
41454      6024787825       5/10/2011       19:38:56
41455      6024812437       3/20/2012       19:59:45
41456      6024815472       5/5/2012        12:18:36
41457      6024818151       3/13/2012       18:52:11
41458      6024818537       10/18/2012      14:35:18
41459      6024860658       2/3/2012        14:27:20
41460      6024865432       1/7/2012        9:04:37
41461      6024865929       1/12/2012       14:19:28
41462      6024867660       5/9/2012        21:04:54
41463      6024870147       6/30/2011       10:27:25
41464      6024871936       6/9/2011        11:08:09
41465      6024872714       12/10/2011      13:54:07
41466      6024873286       1/11/2012       16:25:04
41467      6024873667       10/24/2011      14:16:48
41468      6024874181       12/20/2011      12:02:04
41469      6024877471       10/24/2011      14:13:32
41470      6024878079       5/14/2012       10:15:20
41471      6024878165       6/29/2012       10:53:30
41472      6024879345       1/18/2012       16:44:34
41473      6024879936       9/20/2012       14:44:52
41474      6024879936       10/5/2012       18:18:57
41475      6024879941       1/9/2012        21:23:16
41476      6024880951       7/30/2012       13:20:38
41477      6024881163       8/9/2012        21:57:15
41478      6024881185       7/14/2012       10:08:19
41479      6024881207       1/3/2012        19:51:30
41480      6024881261       11/12/2011      9:44:22
41481      6024881966       12/5/2011       9:46:32
41482      6024883088       6/12/2012       10:27:50
41483      6024883180       9/26/2011       13:18:45
41484      6024883600       9/28/2011       10:37:56
41485      6024886537       10/8/2011       12:10:32
41486      6024887152       7/26/2012       19:21:56
41487      6024887922       10/27/2011      16:58:05
41488      6024899225       10/25/2012      19:40:35
41489      6024920513       2/29/2012       17:27:21
41490      6024991646       4/20/2012       13:48:24
41491      6025016083       1/24/2012       17:08:01
41492      6025019893       8/26/2011       18:28:56
41493      6025021148       3/6/2012        17:26:27
41494      6025030310       1/18/2012       10:31:59
41495      6025030592       9/10/2011       12:40:03
41496      6025030597       6/19/2012       12:05:47
41497      6025030865       10/8/2011       12:06:48
41498      6025031946       5/14/2012       15:40:20
41499      6025032493       4/12/2012       12:24:19
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41500      6025032659       12/23/2011      14:21:57
41501      6025035754       2/16/2012       9:21:44
41502      6025036388       5/19/2011       10:27:40
41503      6025036537       1/27/2012       12:03:57
41504      6025036537       2/25/2012       10:44:03
41505      6025036746       10/22/2011      12:45:10
41506      6025036746       1/23/2012       19:38:29
41507      6025037026       4/11/2012       11:30:31
41508      6025038290       9/14/2011       19:42:31
41509      6025052144       12/30/2011      12:49:02
41510      6025055182       5/4/2012        21:00:16
41511      6025071959       10/31/2011      10:01:31
41512      6025071959       6/25/2012       21:47:46
41513      6025072705       6/21/2012       18:53:12
41514      6025072789       2/24/2012       21:47:36
41515      6025094505       3/12/2012       19:31:15
41516      6025094753       3/15/2012       18:59:40
41517      6025096919       11/26/2011      13:43:59
41518      6025097015       7/11/2012       17:16:56
41519      6025101969       8/13/2011       10:37:05
41520      6025103013       8/25/2012       11:19:02
41521      6025104703       9/30/2011       10:24:19
41522      6025104703       12/12/2011      16:24:57
41523      6025106436       11/29/2011      15:12:50
41524      6025106607       8/30/2012       10:52:14
41525      6025106770       11/15/2011      20:16:30
41526      6025125612       3/3/2012        9:01:20
41527      6025125624       9/8/2011        19:30:08
41528      6025130497       9/30/2011       10:24:26
41529      6025139947       12/26/2011      9:36:27
41530      6025151308       12/24/2011      9:18:48
41531      6025152714       9/23/2011       11:51:23
41532      6025159638       9/20/2011       18:37:09
41533      6025162144       3/1/2012        12:50:05
41534      6025162396       5/24/2012       11:52:26
41535      6025162396       5/26/2012       14:27:08
41536      6025164439       9/14/2011       15:35:53
41537      6025168216       10/13/2012      11:44:36
41538      6025169538       3/21/2012       18:36:19
41539      6025181905       2/28/2012       13:19:58
41540      6025182315       3/14/2012       19:37:09
41541      6025182842       11/26/2011      13:55:03
41542      6025184572       10/18/2011      13:08:52
41543      6025185696       1/17/2012       9:39:17
41544      6025187416       1/20/2012       20:35:48
41545      6025187519       12/20/2011      17:22:01
41546      6025253057       6/1/2011        12:16:51
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41547      6025315878       10/3/2011       10:40:48
41548      6025316843       1/2/2014        16:44:58
41549      6025356700       5/23/2012       15:08:28
41550      6025359161       2/11/2012       11:21:37
41551      6025359852       12/20/2011      19:39:55
41552      6025405491       4/11/2012       19:38:25
41553      6025405585       9/26/2011       13:18:45
41554      6025409059       7/22/2011       13:49:06
41555      6025414540       6/27/2012       18:06:02
41556      6025416270       2/17/2012       18:13:34
41557      6025446585       9/23/2011       18:49:32
41558      6025446785       12/5/2011       9:46:22
41559      6025449224       10/29/2011      11:00:53
41560      6025495978       2/4/2012        13:17:26
41561      6025500180       10/24/2011      14:38:50
41562      6025500356       2/29/2012       17:27:43
41563      6025505339       8/2/2011        17:18:26
41564      6025505802       10/1/2012       13:53:09
41565      6025611043       11/19/2011      9:14:34
41566      6025612834       3/13/2012       18:33:13
41567      6025613514       1/19/2012       10:16:55
41568      6025613664       11/21/2011      10:49:40
41569      6025615362       10/8/2011       10:12:20
41570      6025616145       7/23/2011       13:10:54
41571      6025652287       6/6/2012        21:21:14
41572      6025659168       7/17/2012       21:57:33
41573      6025659811       8/13/2012       20:54:28
41574      6025687969       4/9/2012        18:18:22
41575      6025700555       9/8/2011        19:06:40
41576      6025701452       6/29/2012       10:55:51
41577      6025702680       8/13/2011       12:15:07
41578      6025703743       10/10/2011      12:09:19
41579      6025708560       3/29/2012       11:46:35
41580      6025708836       9/20/2011       20:49:15
41581      6025709334       1/26/2012       10:02:13
41582      6025709334       2/2/2012        16:42:42
41583      6025717985       6/5/2012        17:49:45
41584      6025719131       9/28/2011       11:27:52
41585      6025731119       12/13/2011      18:36:20
41586      6025733051       1/3/2012        19:52:08
41587      6025733838       12/14/2011      15:02:17
41588      6025736996       10/3/2011       10:39:30
41589      6025736996       11/4/2011       10:20:16
41590      6025742002       10/7/2011       7:20:45
41591      6025748226       1/4/2012        11:08:41
41592      6025749467       3/2/2012        9:41:16
41593      6025750619       10/25/2011      16:35:06
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41594      6025753706       2/15/2012       11:16:31
41595      6025756316       12/20/2011      15:09:44
41596      6025756410       10/24/2011      14:18:45
41597      6025756933       4/20/2011       20:14:07
41598      6025757441       6/15/2012       15:43:40
41599      6025757957       3/15/2012       19:19:22
41600      6025758585       9/8/2011        19:50:44
41601      6025759156       11/15/2011      16:38:36
41602      6025759156       11/29/2011      15:12:45
41603      6025759404       5/30/2012       12:43:34
41604      6025759404       6/19/2012       15:40:41
41605      6025759460       10/5/2011       14:49:12
41606      6025759962       8/18/2011       10:48:13
41607      6025763479       5/24/2012       11:52:10
41608      6025764153       12/23/2011      16:04:17
41609      6025768232       10/11/2011      17:37:28
41610      6025773800       12/15/2011      7:39:28
41611      6025785783       7/23/2012       13:28:55
41612      6025787281       10/3/2011       10:41:53
41613      6025788520       9/19/2012       16:25:24
41614      6025790147       9/10/2012       10:23:54
41615      6025793232       12/15/2011      9:02:32
41616      6025860617       9/14/2011       16:49:09
41617      6025860803       9/27/2011       18:17:56
41618      6025866122       10/24/2011      14:40:31
41619      6025866397       9/6/2011        12:20:15
41620      6025866698       12/20/2011      15:05:58
41621      6025869159       3/15/2012       19:19:08
41622      6025869342       2/21/2012       20:55:18
41623      6025869434       6/18/2012       15:35:02
41624      6025959082       12/16/2011      16:36:36
41625      6026140848       10/21/2011      12:50:41
41626      6026142335       5/29/2012       10:57:38
41627      6026142335       6/15/2012       16:52:26
41628      6026143871       9/13/2011       18:08:57
41629      6026146270       12/26/2011      20:36:34
41630      6026155651       11/18/2011      13:06:25
41631      6026164699       12/24/2011      11:30:29
41632      6026168008       3/14/2012       19:47:57
41633      6026168256       1/21/2012       9:11:17
41634      6026168677       11/11/2011      13:47:51
41635      6026180575       11/29/2011      15:12:21
41636      6026181886       4/19/2012       14:46:15
41637      6026183991       8/3/2011        11:56:08
41638      6026202767       9/27/2011       18:18:08
41639      6026210905       8/5/2011        18:07:31
41640      6026212405       6/9/2012        15:07:00
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41641      6026212676       9/24/2012       19:09:11
41642      6026215360       9/17/2011       10:27:51
41643      6026216584       10/7/2011       10:11:49
41644      6026216747       10/17/2011      10:45:42
41645      6026219743       5/24/2012       11:52:34
41646      6026221416       9/23/2011       19:05:18
41647      6026221676       3/23/2012       19:54:06
41648      6026250612       9/30/2011       10:24:26
41649      6026250612       10/12/2011      11:54:06
41650      6026251707       9/21/2011       19:36:06
41651      6026260608       3/29/2012       17:47:31
41652      6026264051       3/14/2012       14:13:12
41653      6026264956       9/18/2012       21:29:55
41654      6026283792       6/22/2012       21:00:53
41655      6026283827       11/17/2011      16:33:39
41656      6026285932       10/8/2012       12:48:41
41657      6026285947       1/25/2012       20:38:32
41658      6026286172       3/2/2012        9:32:42
41659      6026288246       12/5/2011       9:50:49
41660      6026358144       5/1/2012        21:39:32
41661      6026391745       9/27/2011       18:52:15
41662      6026435502       3/5/2012        10:57:07
41663      6026436665       1/16/2012       12:11:24
41664      6026436665       4/26/2012       17:41:21
41665      6026438564       4/15/2012       17:41:27
41666      6026438685       12/10/2011      14:56:00
41667      6026470545       10/13/2011      10:30:45
41668      6026531910       4/24/2012       12:12:43
41669      6026531927       7/28/2012       11:10:26
41670      6026533211       3/21/2012       18:34:21
41671      6026533211       6/6/2012        15:06:59
41672      6026534453       9/21/2011       19:36:12
41673      6026538475       12/21/2011      11:37:38
41674      6026631735       9/23/2011       18:49:37
41675      6026701669       5/15/2012       19:11:49
41676      6026703627       3/19/2012       12:01:38
41677      6026728877       2/20/2012       14:00:10
41678      6026773039       11/2/2011       14:06:52
41679      6026774729       9/9/2011        18:30:07
41680      6026776888       10/1/2011       10:54:34
41681      6026800739       2/3/2012        20:12:14
41682      6026872945       12/9/2011       13:43:31
41683      6026890358       1/8/2012        13:24:58
41684      6026890515       5/10/2012       21:31:37
41685      6026892665       11/7/2011       9:06:45
41686      6026920837       3/22/2012       14:05:51
41687      6026954039       11/15/2011      20:16:13
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41688      6026966918       1/16/2012       12:02:19
41689      6026969320       3/25/2012       12:13:13
41690      6026971615       5/29/2012       17:15:51
41691      6026978944       10/8/2011       12:20:23
41692      6027027660       7/5/2012        15:29:40
41693      6027030259       11/18/2011      13:15:32
41694      6027034074       10/8/2011       10:13:24
41695      6027080489       1/8/2012        15:36:07
41696      6027081822       10/20/2011      15:49:54
41697      6027081900       10/1/2012       13:39:25
41698      6027086217       9/29/2011       15:25:26
41699      6027100997       10/20/2011      20:56:03
41700      6027103724       9/14/2011       12:37:40
41701      6027103724       10/1/2011       10:53:02
41702      6027105061       12/22/2011      9:56:50
41703      6027105896       8/20/2012       21:29:42
41704      6027106363       10/12/2011      11:53:04
41705      6027106722       12/29/2011      19:47:40
41706      6027108930       9/19/2011       19:20:15
41707      6027109504       10/10/2012      12:49:53
41708      6027140672       11/25/2011      17:56:55
41709      6027161131       1/25/2012       20:26:37
41710      6027171835       10/5/2011       14:20:40
41711      6027176026       4/19/2012       14:46:45
41712      6027180157       6/13/2012       10:27:06
41713      6027180157       6/25/2012       21:49:47
41714      6027182916       10/8/2012       20:07:38
41715      6027184330       1/13/2012       17:44:42
41716      6027184661       3/28/2012       18:25:03
41717      6027186703       10/10/2011      12:02:20
41718      6027186703       12/10/2011      13:52:11
41719      6027187082       3/26/2012       18:47:22
41720      6027188216       2/3/2012        14:26:40
41721      6027216590       1/13/2012       17:18:21
41722      6027219587       12/14/2011      13:00:13
41723      6027228792       12/27/2011      13:41:49
41724      6027228792       1/27/2012       10:22:24
41725      6027229479       2/20/2012       17:15:29
41726      6027232928       4/24/2012       12:13:07
41727      6027233670       8/13/2011       10:36:25
41728      6027235047       3/12/2012       16:52:49
41729      6027256363       4/18/2012       18:00:32
41730      6027320142       1/5/2012        14:09:07
41731      6027381204       12/5/2011       8:52:36
41732      6027388263       5/31/2011       11:47:32
41733      6027406464       1/23/2012       19:19:34
41734      6027418362       11/23/2011      9:54:59
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41735      6027418660       9/13/2011       14:20:08
41736      6027433097       5/9/2012        16:12:05
41737      6027435534       7/17/2012       21:55:08
41738      6027480384       10/15/2011      10:02:47
41739      6027483488       1/10/2012       20:55:17
41740      6027485164       5/24/2012       20:06:41
41741      6027486031       10/5/2012       18:25:58
41742      6027488258       11/19/2011      9:04:59
41743      6027489968       1/23/2012       19:20:16
41744      6027500118       4/9/2011        14:10:51
41745      6027501374       1/19/2012       18:22:17
41746      6027501699       11/30/2011      12:51:49
41747      6027507372       7/23/2012       13:28:14
41748      6027508872       1/11/2012       9:20:31
41749      6027509083       1/26/2012       10:03:11
41750      6027510984       2/11/2012       11:26:10
41751      6027540377       1/28/2012       9:53:39
41752      6027542073       2/7/2012        20:21:12
41753      6027542666       10/6/2011       17:56:50
41754      6027542812       3/3/2012        9:05:37
41755      6027546194       10/1/2011       10:54:08
41756      6027546194       11/4/2011       10:21:52
41757      6027546627       1/23/2012       9:06:50
41758      6027547080       8/17/2012       10:06:42
41759      6027547581       9/9/2011        7:46:48
41760      6027548254       10/14/2011      13:32:16
41761      6027548257       9/23/2011       19:04:28
41762      6027548551       1/20/2012       19:51:19
41763      6027548678       12/28/2011      17:45:32
41764      6027548970       8/2/2012        18:58:11
41765      6027549465       7/21/2011       14:23:56
41766      6027549667       9/13/2011       14:18:39
41767      6027574357       12/14/2011      18:07:32
41768      6027576915       4/28/2012       10:19:02
41769      6027587811       2/14/2012       16:43:06
41770      6027607389       2/1/2012        9:43:40
41771      6027607479       11/30/2011      12:53:02
41772      6027607662       1/17/2012       18:36:04
41773      6027607668       12/23/2011      16:03:31
41774      6027607825       10/11/2011      17:38:05
41775      6027608567       11/15/2011      20:10:57
41776      6027609227       3/19/2012       19:24:48
41777      6027620350       5/17/2012       17:01:01
41778      6027681351       3/23/2012       14:28:05
41779      6027681406       9/20/2012       20:59:41
41780      6027687646       1/9/2012        9:46:05
41781      6027691078       10/6/2012       10:49:55
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41782      6027697683       10/6/2011       17:53:47
41783      6027697683       11/14/2011      17:36:13
41784      6027697683       11/18/2011      12:29:53
41785      6027701574       12/31/2011      12:09:39
41786      6027702555       11/8/2011       14:15:08
41787      6027705251       4/25/2012       18:39:03
41788      6027707360       10/10/2011      12:02:23
41789      6027707997       4/13/2012       20:46:41
41790      6027708232       11/14/2011      15:25:38
41791      6027721020       12/9/2011       13:48:33
41792      6027726927       7/27/2011       17:43:01
41793      6027727581       10/15/2012      16:23:58
41794      6027900481       5/9/2012        16:07:13
41795      6027900574       10/27/2011      16:57:52
41796      6027900574       11/18/2011      13:07:35
41797      6027901806       2/11/2012       15:47:15
41798      6027901867       9/20/2011       20:35:22
41799      6027910382       11/17/2011      15:59:20
41800      6027914409       8/8/2012        16:14:27
41801      6027915797       8/30/2012       17:38:44
41802      6027917869       8/30/2011       17:09:53
41803      6027918479       9/8/2011        18:14:43
41804      6027931159       11/16/2011      10:42:30
41805      6027934112       9/9/2011        18:03:44
41806      6027937286       2/10/2012       9:30:00
41807      6027947845       6/20/2012       11:03:05
41808      6027961022       6/27/2011       18:30:36
41809      6027995953       9/26/2011       13:25:47
41810      6028032169       11/14/2011      17:36:01
41811      6028032957       5/13/2012       18:02:27
41812      6028033050       7/30/2012       13:40:11
41813      6028100616       10/10/2011      12:53:51
41814      6028103489       12/26/2011      9:03:30
41815      6028105700       11/4/2011       10:20:27
41816      6028109037       6/25/2012       21:47:51
41817      6028109037       7/19/2012       17:39:50
41818      6028109550       4/2/2012        12:49:58
41819      6028109550       5/9/2012        21:03:09
41820      6028109910       10/10/2011      12:09:37
41821      6028109927       12/26/2011      20:31:24
41822      6028184787       2/14/2012       9:51:08
41823      6028196667       10/29/2011      10:59:14
41824      6028206097       5/9/2012        21:04:43
41825      6028207328       3/24/2012       10:07:22
41826      6028260901       11/17/2011      16:10:45
41827      6028262436       9/25/2012       14:47:40
41828      6028280561       3/22/2012       14:02:41
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41829      6028281345       10/24/2012      21:16:39
41830      6028282916       10/1/2012       21:34:41
41831      6028283401       2/21/2012       11:41:55
41832      6028599251       9/1/2011        13:14:35
41833      6028813513       8/31/2012       16:40:09
41834      6028815884       8/30/2012       17:38:44
41835      6028822731       1/19/2012       17:48:33
41836      6028823631       10/20/2011      16:33:47
41837      6028824241       8/15/2012       21:41:41
41838      6028825919       10/15/2012      16:14:23
41839      6028828032       7/25/2012       20:39:35
41840      6028829570       8/4/2012        10:28:37
41841      6028854427       10/5/2011       14:47:40
41842      6028857698       11/16/2011      11:36:20
41843      6029038124       3/16/2012       15:55:11
41844      6029039077       9/8/2011        19:35:12
41845      6029039721       7/27/2012       21:01:15
41846      6029049832       8/6/2012        16:29:48
41847      6029084124       5/15/2012       19:13:15
41848      6029084234       10/20/2011      16:29:20
41849      6029086994       10/17/2012      18:38:12
41850      6029086995       10/25/2012      19:51:33
41851      6029088417       12/29/2011      14:31:06
41852      6029088417       2/3/2012        20:20:50
41853      6029091415       1/20/2012       20:36:26
41854      6029101382       9/28/2011       10:37:45
41855      6029101382       11/15/2011      20:16:23
41856      6029108560       4/16/2011       15:28:06
41857      6029183174       4/11/2012       13:05:12
41858      6029191610       10/8/2011       12:11:24
41859      6029197550       2/27/2014       9:02:47
41860      6029201994       2/28/2012       16:09:12
41861      6029202079       3/27/2012       15:07:11
41862      6029202785       12/30/2011      12:49:32
41863      6029204850       9/8/2011        19:07:11
41864      6029205749       10/29/2011      11:00:33
41865      6029206858       9/23/2011       18:50:08
41866      6029208156       1/24/2012       20:12:06
41867      6029302920       10/5/2012       12:42:11
41868      6029307334       12/30/2011      17:22:14
41869      6029311376       8/16/2012       14:29:07
41870      6029318195       10/5/2011       14:18:59
41871      6029319383       1/16/2012       17:36:23
41872      6029893398       3/19/2012       12:00:19
41873      6029971999       2/6/2012        17:23:45
41874      6029990010       10/3/2011       10:33:01
41875      6029994661       9/8/2011        19:54:07
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41876      6029997905       4/24/2012       21:01:24
41877      6029999304       9/13/2012       21:31:00
41878      6032053098       3/16/2012       15:48:48
41879      6032093344       10/10/2011      12:31:29
41880      6032095604       3/20/2012       17:37:44
41881      6032167094       8/21/2012       14:00:01
41882      6032198849       12/24/2011      12:37:49
41883      6032199628       8/22/2012       11:19:24
41884      6032332539       10/10/2011      12:12:36
41885      6032336694       10/4/2011       13:48:38
41886      6032336694       10/21/2011      12:43:35
41887      6032343683       4/9/2012        18:13:38
41888      6032353193       11/17/2011      16:14:31
41889      6032355020       1/19/2012       7:15:00
41890      6032423601       12/20/2011      19:28:59
41891      6032476950       10/1/2011       9:37:59
41892      6032478460       3/19/2012       7:16:37
41893      6032648725       6/9/2012        10:23:13
41894      6032751110       7/11/2012       9:27:07
41895      6032758847       12/7/2011       14:05:50
41896      6032769016       9/29/2011       15:05:42
41897      6032838897       8/5/2011        17:43:02
41898      6032852451       12/9/2011       15:54:56
41899      6032892324       10/7/2011       7:18:17
41900      6032898925       7/5/2012        15:34:23
41901      6032946214       9/14/2011       14:50:40
41902      6032946976       12/3/2011       10:38:41
41903      6033030622       4/26/2012       7:58:30
41904      6033030622       6/19/2012       7:51:05
41905      6033054338       3/23/2012       19:11:20
41906      6033058671       2/25/2012       10:57:33
41907      6033058870       10/29/2011      10:32:14
41908      6033126781       2/9/2012        7:03:53
41909      6033126781       5/21/2012       7:24:53
41910      6033135868       3/5/2012        13:03:19
41911      6033203470       1/16/2012       17:11:05
41912      6033208168       3/26/2012       18:24:26
41913      6033214343       11/7/2011       7:55:48
41914      6033219638       6/16/2012       8:46:03
41915      6033253455       3/22/2014       17:34:32
41916      6033390748       11/8/2011       14:11:14
41917      6033395365       12/5/2011       9:20:54
41918      6033410027       9/20/2011       16:31:53
41919      6033437979       1/25/2012       9:14:25
41920      6033438551       9/17/2011       9:19:02
41921      6033487087       11/4/2011       7:18:26
41922      6033557646       5/30/2012       12:48:24
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41923      6033557684       1/29/2012       16:48:39
41924      6033617683       1/17/2012       18:38:12
41925      6033617683       5/17/2012       11:49:57
41926      6033650075       11/9/2011       7:28:20
41927      6033691790       3/21/2012       13:35:51
41928      6033691790       3/27/2012       14:54:19
41929      6033911430       2/11/2012       15:22:30
41930      6033912565       7/27/2012       15:30:40
41931      6033917802       8/3/2012        7:26:56
41932      6033932551       9/28/2012       17:05:35
41933      6033935035       9/26/2012       14:35:32
41934      6033937149       7/26/2012       19:12:49
41935      6033962938       10/13/2011      7:29:44
41936      6034012702       11/17/2011      16:06:40
41937      6034014903       7/20/2012       7:37:54
41938      6034107397       7/20/2011       14:20:57
41939      6034389005       9/27/2011       18:08:34
41940      6034528200       3/7/2012        18:35:46
41941      6034544416       10/7/2011       17:27:35
41942      6034552330       1/20/2012       11:38:08
41943      6034552548       5/9/2012        16:12:34
41944      6034552548       6/26/2012       16:20:43
41945      6034595664       11/5/2011       11:11:03
41946      6034778200       6/27/2011       7:37:54
41947      6034793296       3/2/2014        10:46:14
41948      6034796961       5/15/2012       19:04:43
41949      6034853931       11/26/2011      13:08:16
41950      6034853931       12/2/2011       15:13:20
41951      6034864066       9/29/2011       15:09:08
41952      6034913030       9/8/2011        19:25:48
41953      6034918552       12/3/2011       8:53:21
41954      6034937858       12/31/2011      12:03:47
41955      6034937858       1/12/2012       14:15:20
41956      6034942339       10/7/2012       12:48:27
41957      6034943350       10/24/2011      7:15:13
41958      6034944992       8/22/2012       11:21:25
41959      6034985472       8/29/2012       11:15:47
41960      6035020402       11/17/2011      13:42:08
41961      6035050512       9/20/2011       16:41:24
41962      6035126973       7/3/2012        19:36:01
41963      6035319664       9/14/2011       7:07:47
41964      6035340673       1/6/2012        15:01:57
41965      6035403070       1/25/2012       9:16:41
41966      6035458045       10/10/2012      12:31:14
41967      6035458737       8/2/2011        17:29:56
41968      6035458737       1/8/2012        13:06:32
41969      6035532797       8/1/2011        19:12:59
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41970      6035583253       3/25/2012       11:52:29
41971      6035583407       10/8/2011       9:18:29
41972      6035626405       8/15/2011       9:40:46
41973      6035627363       9/24/2011       9:40:15
41974      6035833202       5/22/2012       11:15:39
41975      6036202105       12/23/2011      14:29:10
41976      6036202525       12/23/2011      15:43:21
41977      6036305891       8/9/2012        14:07:26
41978      6036570391       11/4/2011       7:12:32
41979      6036578037       11/22/2011      18:35:32
41980      6036612365       3/3/2012        8:18:24
41981      6036612365       8/25/2012       8:22:32
41982      6036749335       3/7/2012        7:11:46
41983      6036772892       7/26/2011       10:22:32
41984      6036801893       11/3/2011       17:38:18
41985      6036827059       8/1/2012        8:30:30
41986      6036827059       8/15/2012       7:55:54
41987      6036898847       10/17/2011      7:43:44
41988      6037035695       7/30/2011       8:25:27
41989      6037071523       2/28/2012       16:02:26
41990      6037078508       3/10/2011       15:25:27
41991      6037161608       4/9/2012        7:08:08
41992      6037174622       3/13/2012       16:36:06
41993      6037178886       4/4/2012        7:07:52
41994      6037189847       5/15/2012       19:09:38
41995      6037212057       12/4/2011       11:40:52
41996      6037216317       12/22/2011      21:06:10
41997      6037219571       3/27/2012       15:34:26
41998      6037489874       9/13/2011       14:58:57
41999      6037551323       7/27/2012       12:55:58
42000      6037593517       7/3/2012        7:14:17
42001      6037594773       11/10/2011      7:01:51
42002      6037597609       5/11/2012       12:19:27
42003      6037597846       9/26/2011       7:56:24
42004      6037621100       10/17/2011      7:10:39
42005      6037623336       3/24/2012       10:18:13
42006      6037657465       4/16/2012       15:48:06
42007      6037671505       9/29/2011       15:14:28
42008      6037699021       6/14/2012       15:49:37
42009      6037813283       1/16/2012       17:29:27
42010      6037851081       2/14/2012       13:44:34
42011      6037851531       9/16/2011       14:29:45
42012      6037852672       10/21/2011      13:02:21
42013      6037857282       4/17/2012       9:41:02
42014      6037931067       11/17/2011      16:40:08
42015      6038091841       4/10/2012       11:46:17
42016      6038092679       8/11/2012       8:03:40
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42017      6038097814       1/3/2012        16:26:08
42018      6038170107       10/19/2011      7:44:06
42019      6038177749       3/30/2011       10:08:52
42020      6038178457       4/11/2012       7:18:34
42021      6038200175       3/21/2012       13:45:34
42022      6038310754       10/17/2011      7:39:37
42023      6038313137       10/13/2011      8:42:13
42024      6038313432       8/14/2012       11:46:43
42025      6038335527       9/21/2012       15:17:23
42026      6038336350       10/5/2011       14:01:13
42027      6038337095       1/10/2012       12:36:10
42028      6038561924       5/10/2012       14:56:26
42029      6038566833       7/12/2011       11:32:18
42030      6038580705       3/13/2012       11:00:30
42031      6038582574       8/26/2011       18:12:00
42032      6038664989       12/16/2011      15:30:38
42033      6038669406       1/12/2012       14:12:50
42034      6038675593       12/23/2011      13:57:26
42035      6038923510       5/15/2012       19:04:39
42036      6038929120       7/28/2012       8:43:59
42037      6038929328       9/3/2011        10:48:43
42038      6039180947       9/21/2011       19:34:28
42039      6039188308       12/23/2011      14:00:50
42040      6039211099       10/5/2011       14:38:26
42041      6039231069       3/12/2012       19:15:22
42042      6039302993       4/12/2012       18:11:19
42043      6039330717       10/10/2011      12:00:26
42044      6039431330       11/22/2011      19:40:53
42045      6039439994       1/27/2012       17:57:22
42046      6039537254       4/21/2012       8:34:57
42047      6039698789       9/13/2011       7:20:59
42048      6039698997       8/6/2012        11:41:58
42049      6039733474       8/20/2011       8:39:59
42050      6039734814       6/23/2012       16:09:42
42051      6039780606       7/15/2011       17:21:53
42052      6039787289       10/28/2011      14:08:49
42053      6039863631       9/19/2011       7:15:26
42054      6039882367       10/12/2011      12:09:34
42055      6039889190       8/20/2012       18:42:26
42056      6039914906       9/22/2012       8:46:38
42057      6039915978       11/28/2011      11:13:34
42058      6039982211       11/25/2011      18:10:49
42059      6052001634       5/6/2012        18:37:21
42060      6052092869       6/6/2012        9:14:12
42061      6052094990       2/17/2012       18:13:52
42062      6052120259       12/12/2011      16:22:39
42063      6052128789       3/23/2012       11:16:07
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42064      6052144273       4/2/2012        9:01:05
42065      6052144549       4/13/2012       20:44:28
42066      6052154814       9/20/2011       20:34:48
42067      6052280328       1/12/2012       7:19:47
42068      6052282264       2/4/2012        8:11:49
42069      6052285735       5/19/2011       8:16:07
42070      6052285735       12/28/2011      16:31:10
42071      6052286046       8/9/2011        12:55:29
42072      6052286046       3/3/2012        8:24:25
42073      6052375075       8/15/2012       12:24:49
42074      6052510190       4/5/2012        9:37:08
42075      6052522379       6/22/2012       8:11:50
42076      6052542470       5/16/2012       16:49:21
42077      6052707999       10/6/2011       16:42:46
42078      6052806004       10/24/2011      14:13:25
42079      6052810059       1/10/2012       18:06:21
42080      6052901257       5/18/2012       15:42:52
42081      6052909538       11/15/2011      16:30:24
42082      6053103141       4/20/2012       13:45:12
42083      6053237403       2/6/2012        10:08:25
42084      6053320777       4/11/2012       20:18:57
42085      6053504427       3/5/2012        8:10:56
42086      6053504993       6/18/2012       9:22:43
42087      6053517427       4/24/2012       12:11:30
42088      6053534825       3/26/2012       14:36:00
42089      6053543620       11/3/2011       17:57:34
42090      6053598482       7/16/2012       19:39:35
42091      6053600141       4/7/2012        9:36:29
42092      6053609403       10/17/2011      8:41:45
42093      6053661359       1/7/2012        9:37:07
42094      6053669354       1/8/2012        13:15:14
42095      6053669354       1/19/2012       18:40:54
42096      6053707291       10/17/2012      18:43:12
42097      6053707502       5/17/2012       16:55:16
42098      6053708699       9/19/2011       19:14:12
42099      6053716037       4/6/2012        16:15:18
42100      6053716879       9/28/2011       11:12:08
42101      6053762306       5/20/2012       15:41:24
42102      6053763092       2/16/2012       8:32:55
42103      6053764628       2/29/2012       17:35:30
42104      6053769063       4/11/2012       11:29:36
42105      6053769989       1/27/2012       11:52:50
42106      6053801909       4/15/2012       17:15:33
42107      6053805132       12/15/2011      8:38:24
42108      6053892074       9/20/2012       20:57:43
42109      6053905980       3/27/2012       14:58:41
42110      6053909196       1/9/2012        18:47:45
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42111      6054001066       3/2/2012        9:24:36
42112      6054136588       1/9/2012        18:39:27
42113      6054156911       8/13/2012       20:54:21
42114      6054158231       9/22/2011       16:02:09
42115      6054301006       10/11/2011      16:33:49
42116      6054316928       6/12/2012       9:03:41
42117      6054411814       6/27/2012       12:08:24
42118      6054412090       10/23/2012      16:10:14
42119      6054417963       12/20/2011      19:38:59
42120      6054417963       5/21/2012       9:03:33
42121      6054418102       6/21/2012       18:44:39
42122      6054618650       11/4/2011       9:09:05
42123      6054801682       11/16/2011      11:24:08
42124      6054911065       8/17/2012       8:25:06
42125      6054912505       1/8/2012        13:17:44
42126      6054912505       5/21/2012       8:01:48
42127      6054912505       5/26/2012       14:22:51
42128      6054916662       12/3/2011       10:20:26
42129      6054999643       11/18/2011      13:23:08
42130      6055170006       7/25/2012       20:42:48
42131      6055204923       5/15/2012       19:10:56
42132      6055211320       9/20/2011       18:36:48
42133      6055215046       7/9/2012        8:56:26
42134      6055215046       7/26/2012       19:15:56
42135      6055451409       11/26/2011      12:00:50
42136      6055537672       11/18/2011      13:24:48
42137      6055690452       4/18/2012       17:52:36
42138      6055954524       10/24/2011      14:38:39
42139      6055955243       8/25/2012       11:16:49
42140      6055955423       4/25/2011       13:19:44
42141      6056105935       10/10/2011      12:43:26
42142      6056309495       7/28/2012       9:00:42
42143      6056510276       6/11/2012       8:21:02
42144      6056594024       8/31/2012       16:29:34
42145      6056601478       1/26/2012       19:45:56
42146      6056603470       10/20/2011      15:43:41
42147      6056603921       11/23/2011      14:40:27
42148      6056604759       1/10/2012       15:35:53
42149      6056615020       10/8/2011       10:09:50
42150      6056911265       8/5/2011        18:44:31
42151      6057281125       3/27/2012       14:56:10
42152      6057281125       3/30/2012       16:17:16
42153      6057285269       11/15/2011      15:42:02
42154      6057303195       2/3/2012        8:33:41
42155      6057303195       2/9/2012        20:30:52
42156      6057316174       9/24/2011       10:07:40
42157      6057500214       12/10/2011      12:14:42
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42158      6057607237       3/23/2012       14:25:37
42159      6057708724       7/26/2012       11:54:14
42160      6057864435       7/8/2012        13:34:16
42161      6057864435       7/15/2012       10:41:29
42162      6057872597       11/27/2011      15:34:57
42163      6058283470       7/27/2012       15:34:10
42164      6058287182       9/16/2011       13:06:06
42165      6058300482       1/10/2012       15:18:51
42166      6058385379       10/1/2011       10:46:38
42167      6058385779       1/16/2012       17:08:58
42168      6058388454       12/23/2011      14:17:28
42169      6058481026       10/3/2011       10:41:46
42170      6058481324       9/20/2011       16:54:38
42171      6058589816       8/16/2012       19:54:47
42172      6058632274       3/24/2012       10:25:50
42173      6058641240       1/17/2012       9:35:28
42174      6058681506       3/6/2012        20:30:24
42175      6058919896       9/19/2011       19:18:42
42176      6059294311       12/3/2011       10:22:30
42177      6059295037       1/20/2012       11:46:37
42178      6059295101       3/8/2012        20:28:07
42179      6059296151       8/6/2012        13:08:54
42180      6059298277       11/28/2011      16:59:27
42181      6059331170       7/21/2011       13:53:01
42182      6059339119       1/13/2012       12:32:57
42183      6059401847       11/18/2011      12:23:27
42184      6059406718       5/22/2012       11:33:01
42185      6059410741       11/21/2011      8:29:09
42186      6059513584       8/13/2012       8:31:49
42187      6059514439       1/16/2014       13:12:49
42188      6059514845       11/28/2011      17:53:10
42189      6059516173       1/20/2012       11:32:45
42190      6059518356       3/23/2012       14:24:57
42191      6059566066       10/17/2012      18:31:01
42192      6059991727       1/6/2012        14:53:30
42193      6062050069       11/7/2011       7:49:33
42194      6062050069       11/28/2011      12:02:46
42195      6062051779       12/20/2011      19:32:23
42196      6062055416       11/23/2011      14:36:39
42197      6062056467       9/29/2011       15:40:04
42198      6062056467       10/27/2011      15:12:56
42199      6062070183       10/5/2011       14:07:34
42200      6062070669       1/21/2012       8:17:40
42201      6062091665       3/28/2012       16:52:03
42202      6062100532       3/24/2012       9:58:14
42203      6062130938       5/7/2012        17:56:05
42204      6062135138       8/20/2012       18:48:42
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42205      6062151968       2/2/2012        11:42:32
42206      6062154155       7/11/2012       17:13:33
42207      6062159052       10/11/2011      15:48:17
42208      6062159926       10/6/2011       17:24:07
42209      6062161481       1/2/2012        7:08:39
42210      6062161481       1/17/2012       7:13:49
42211      6062162336       1/16/2012       17:21:09
42212      6062162796       10/10/2012      19:04:20
42213      6062196392       10/27/2011      16:30:05
42214      6062242414       1/19/2012       7:55:08
42215      6062242762       9/27/2011       18:25:29
42216      6062243483       9/15/2011       7:18:34
42217      6062262104       3/15/2011       12:32:37
42218      6062263495       11/9/2011       7:47:45
42219      6062263961       3/11/2012       15:09:04
42220      6062265381       2/6/2012        16:47:20
42221      6062265829       12/18/2011      16:59:11
42222      6062314582       2/17/2012       18:20:13
42223      6062315712       12/30/2011      7:02:52
42224      6062320323       10/26/2011      8:14:33
42225      6062329547       9/19/2011       19:11:43
42226      6062538459       3/23/2012       7:13:43
42227      6062538459       5/17/2012       7:04:58
42228      6062539429       10/24/2012      15:09:01
42229      6062556848       1/27/2012       17:45:00
42230      6062690467       5/19/2011       8:02:43
42231      6062690849       12/19/2011      7:34:10
42232      6062712482       11/28/2011      16:28:56
42233      6062718872       11/12/2011      10:31:47
42234      6062720571       10/1/2012       8:13:15
42235      6062721683       11/26/2011      12:43:07
42236      6062724134       4/24/2012       12:23:53
42237      6062732549       1/3/2012        10:58:29
42238      6062750534       9/14/2011       16:12:51
42239      6062752463       10/19/2011      7:26:20
42240      6062759208       11/23/2011      9:28:15
42241      6062759250       11/10/2011      7:25:13
42242      6062760312       3/13/2012       7:02:20
42243      6062760968       4/10/2012       11:33:53
42244      6062782574       5/5/2012        8:23:01
42245      6062783049       2/10/2012       20:33:26
42246      6062784272       5/1/2012        17:43:33
42247      6062784390       9/20/2011       16:53:00
42248      6062784390       9/29/2011       15:48:39
42249      6062784390       10/15/2011      10:33:49
42250      6062784810       8/3/2011        11:54:05
42251      6062785145       4/22/2012       15:31:05
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42252      6062800737       4/7/2012        9:23:26
42253      6062805139       2/10/2012       16:53:25
42254      6062823406       11/14/2011      16:48:26
42255      6063030263       12/14/2011      12:57:22
42256      6063031027       11/16/2011      9:26:06
42257      6063031825       11/7/2011       7:58:43
42258      6063041918       4/11/2012       19:31:21
42259      6063045454       5/14/2012       15:36:32
42260      6063047288       10/12/2011      11:30:50
42261      6063048668       11/12/2011      10:18:28
42262      6063050017       11/30/2011      7:13:55
42263      6063050234       1/19/2012       18:39:14
42264      6063055113       3/25/2012       11:47:33
42265      6063061189       1/3/2012        19:50:51
42266      6063072098       3/25/2011       8:45:47
42267      6063076175       12/3/2011       10:14:38
42268      6063082537       4/28/2012       8:04:36
42269      6063083707       5/12/2012       10:25:06
42270      6063089867       10/25/2011      15:04:54
42271      6063093767       3/19/2012       17:37:23
42272      6063101976       9/29/2012       9:49:02
42273      6063104161       10/10/2011      12:13:51
42274      6063150111       9/30/2011       10:16:10
42275      6063151671       9/25/2012       14:49:10
42276      6063153122       3/23/2012       19:12:24
42277      6063156792       10/22/2011      12:24:02
42278      6063163732       9/23/2011       11:27:11
42279      6063350749       4/23/2012       7:01:52
42280      6063355955       12/10/2011      12:58:31
42281      6063361821       7/21/2012       10:23:54
42282      6063364368       10/10/2011      11:36:32
42283      6063366040       8/26/2011       17:41:31
42284      6063366040       9/23/2011       18:53:34
42285      6063396104       9/26/2011       7:53:37
42286      6063442895       10/4/2011       13:31:16
42287      6063443203       10/4/2011       13:43:45
42288      6063444391       7/25/2012       12:01:20
42289      6063445318       12/8/2011       12:30:54
42290      6063448534       11/28/2011      12:03:10
42291      6063560188       3/19/2012       7:21:06
42292      6063560188       4/7/2012        9:08:37
42293      6063566839       7/22/2012       12:14:06
42294      6063569264       10/8/2011       10:57:33
42295      6063569601       4/11/2012       7:16:21
42296      6063627704       12/14/2011      12:53:54
42297      6063629079       10/10/2012      12:31:34
42298      6063671882       5/17/2014       8:43:31
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42299      6063672449       1/8/2012        12:50:10
42300      6063674137       12/18/2011      17:27:06
42301      6063690167       4/18/2012       17:56:45
42302      6063693017       10/3/2012       19:53:58
42303      6063696721       1/11/2012       16:36:00
42304      6063697308       9/27/2012       16:26:40
42305      6063712287       10/17/2012      12:50:56
42306      6063717408       3/21/2012       7:07:13
42307      6063750200       3/23/2012       14:43:30
42308      6063752320       10/17/2012      18:27:40
42309      6063833608       11/23/2011      14:35:34
42310      6063919469       12/13/2011      18:09:38
42311      6063929312       9/5/2012        7:20:24
42312      6064040384       9/15/2011       7:15:40
42313      6064070719       10/10/2013      8:15:44
42314      6064160357       12/17/2011      11:51:48
42315      6064161546       11/4/2011       7:05:07
42316      6064163360       1/5/2012        14:00:09
42317      6064163903       12/17/2011      11:30:04
42318      6064167300       11/29/2011      15:28:49
42319      6064221554       8/12/2011       9:33:22
42320      6064227199       10/17/2011      7:37:13
42321      6064251697       5/29/2012       14:25:57
42322      6064259043       11/22/2011      19:09:46
42323      6064343500       11/29/2011      7:27:48
42324      6064349143       3/27/2012       14:58:04
42325      6064349225       9/10/2012       7:30:40
42326      6064657894       3/23/2012       19:43:52
42327      6064811971       8/14/2012       11:47:48
42328      6064812310       9/26/2012       14:38:20
42329      6064819184       7/31/2012       7:03:24
42330      6064830832       4/22/2012       15:19:56
42331      6064966050       1/19/2012       18:33:39
42332      6064978015       11/15/2011      16:10:28
42333      6064994355       6/25/2012       13:39:15
42334      6064994355       10/5/2012       18:31:10
42335      6064996694       9/13/2011       17:22:23
42336      6065055742       10/12/2011      7:18:22
42337      6065057988       3/15/2012       19:23:54
42338      6065103511       10/31/2011      9:08:15
42339      6065157153       5/11/2012       14:39:26
42340      6065212457       12/21/2011      10:48:32
42341      6065212598       10/13/2011      7:12:37
42342      6065212659       12/23/2011      7:09:03
42343      6065216274       9/10/2011       8:14:50
42344      6065218027       1/28/2012       8:09:30
42345      6065410130       3/26/2012       7:23:17
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42346      6065411912       9/22/2011       15:15:09
42347      6065413398       8/18/2012       8:37:02
42348      6065414135       11/26/2011      12:20:54
42349      6065414714       11/18/2011      12:44:38
42350      6065452951       3/16/2012       9:54:57
42351      6065475953       7/10/2012       7:28:03
42352      6065476678       8/10/2012       7:27:13
42353      6065480461       4/16/2012       15:57:59
42354      6065601034       10/22/2011      12:21:35
42355      6065603314       6/11/2012       17:01:47
42356      6065688198       5/25/2012       17:05:07
42357      6065710394       12/21/2011      10:16:10
42358      6065718429       7/11/2012       17:12:32
42359      6065844570       5/6/2012        18:03:18
42360      6065844721       12/16/2011      16:10:55
42361      6065846869       11/5/2011       11:33:00
42362      6065847894       1/6/2012        14:47:38
42363      6065947824       6/28/2012       7:10:21
42364      6066152043       5/12/2012       8:39:13
42365      6066152043       6/11/2012       16:59:56
42366      6066154878       5/16/2012       16:56:45
42367      6066154878       5/21/2012       8:19:17
42368      6066223844       11/26/2011      12:31:06
42369      6066259291       8/22/2012       11:19:51
42370      6066265558       5/11/2012       18:30:25
42371      6066270832       5/4/2012        7:32:06
42372      6066340167       11/3/2011       17:03:38
42373      6066343216       12/2/2011       15:22:46
42374      6066345800       1/5/2012        11:57:43
42375      6066346097       11/17/2011      16:40:40
42376      6066346231       9/21/2011       11:23:05
42377      6066349691       1/13/2012       17:25:23
42378      6066435070       1/6/2012        14:36:42
42379      6066690017       1/6/2012        14:46:51
42380      6066690345       8/11/2011       11:31:41
42381      6066690744       9/26/2012       7:10:51
42382      6066691432       6/14/2012       15:48:52
42383      6066692482       1/18/2012       10:02:16
42384      6066693751       5/16/2012       16:59:19
42385      6066694627       10/27/2011      15:15:43
42386      6066694631       12/7/2011       13:53:18
42387      6066694631       12/18/2011      16:10:05
42388      6066698673       9/19/2011       19:04:36
42389      6066707415       2/25/2012       10:34:00
42390      6066708519       12/27/2011      14:30:33
42391      6066710387       10/22/2012      17:57:49
42392      6066880489       11/23/2011      14:54:49
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42393      6066881520       8/7/2012        17:55:16
42394      6066882587       5/21/2012       8:02:54
42395      6066882587       5/21/2012       8:17:18
42396      6066885409       10/12/2011      8:20:00
42397      6066885518       10/18/2011      13:01:52
42398      6066940254       4/9/2012        17:47:04
42399      6066940836       12/22/2011      8:25:29
42400      6066943526       9/24/2012       13:04:51
42401      6066945513       12/6/2011       14:20:41
42402      6067065348       9/21/2011       11:43:51
42403      6067066103       7/18/2012       18:30:01
42404      6067339055       9/28/2011       11:22:41
42405      6067484612       2/14/2012       9:44:26
42406      6067487538       12/23/2011      13:52:14
42407      6067761590       4/11/2012       7:18:11
42408      6067766301       2/11/2012       10:38:16
42409      6067822934       9/26/2011       8:35:50
42410      6067822969       11/4/2011       7:11:06
42411      6067910740       11/5/2011       9:36:30
42412      6067916681       10/31/2011      7:22:46
42413      6067916681       11/16/2011      7:56:39
42414      6067925060       5/13/2012       16:55:17
42415      6067930552       10/3/2012       19:51:50
42416      6067933847       10/2/2012       7:36:43
42417      6068136377       12/10/2011      12:49:52
42418      6068219559       10/10/2011      11:36:02
42419      6068751049       11/21/2011      7:14:24
42420      6068752357       10/22/2011      12:29:29
42421      6068752357       3/26/2012       18:38:16
42422      6068752985       8/23/2012       19:06:55
42423      6068755084       3/17/2012       8:19:26
42424      6068759277       12/10/2011      14:42:07
42425      6068791138       12/17/2011      13:36:33
42426      6068792319       10/9/2012       19:58:49
42427      6068792484       4/26/2012       11:37:18
42428      6068798279       12/21/2011      18:43:10
42429      6069091029       10/2/2012       8:42:42
42430      6069228115       5/21/2012       8:01:21
42431      6069228212       12/24/2011      7:13:10
42432      6069230189       4/21/2012       16:12:58
42433      6069232439       9/19/2011       19:28:48
42434      6069239145       7/11/2012       17:21:05
42435      6069239164       7/6/2012        14:36:17
42436      6069239981       6/8/2012        7:26:38
42437      6069753942       9/17/2012       7:35:24
42438      6069753942       9/21/2012       18:39:50
42439      6069755611       9/21/2012       15:26:53
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42440      6072016100       2/6/2012        17:06:29
42441      6072052091       9/19/2011       7:19:55
42442      6072072112       1/4/2012        11:37:38
42443      6072075138       6/18/2012       15:20:29
42444      6072156657       8/6/2011        8:37:17
42445      6072159541       12/15/2011      8:25:46
42446      6072208175       5/21/2012       7:08:18
42447      6072208701       11/28/2011      16:33:22
42448      6072212348       6/25/2012       13:15:08
42449      6072214445       4/13/2012       13:27:46
42450      6072261244       12/30/2011      7:09:58
42451      6072263318       11/3/2011       17:09:06
42452      6072270206       3/14/2012       14:16:50
42453      6072270206       4/3/2012        20:13:49
42454      6072270993       3/12/2012       7:21:17
42455      6072276894       1/13/2012       7:14:52
42456      6072277132       5/23/2012       16:56:31
42457      6072280140       2/14/2012       12:52:32
42458      6072280569       1/27/2012       19:38:29
42459      6072296229       12/17/2011      11:50:59
42460      6072323722       9/6/2012        12:19:08
42461      6072392664       4/5/2012        14:20:08
42462      6072392664       6/5/2012        19:50:21
42463      6072399276       5/12/2012       10:32:03
42464      6072423566       1/9/2012        8:51:54
42465      6072429417       4/28/2012       8:11:35
42466      6072442776       10/12/2011      8:01:08
42467      6072448395       1/4/2012        10:57:49
42468      6072590308       1/12/2012       14:21:44
42469      6072593533       9/23/2011       11:33:04
42470      6072599684       4/27/2012       7:08:18
42471      6072673709       5/11/2012       18:29:28
42472      6072675303       1/26/2012       7:27:18
42473      6072793675       3/27/2012       7:06:09
42474      6072798052       8/15/2011       8:20:08
42475      6072870762       8/3/2011        11:20:13
42476      6072877668       1/5/2012        12:10:15
42477      6073211570       11/30/2011      15:07:11
42478      6073213144       3/22/2012       14:09:04
42479      6073213144       9/1/2012        9:09:44
42480      6073213576       9/23/2011       7:07:07
42481      6073294669       1/7/2012        8:38:39
42482      6073297007       11/14/2011      16:39:41
42483      6073370956       11/28/2011      16:34:49
42484      6073420936       6/15/2012       16:40:51
42485      6073453583       10/15/2011      9:46:25
42486      6073457875       4/13/2012       13:24:23
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42487      6073466675       8/17/2011       19:07:33
42488      6073491303       10/26/2011      8:14:47
42489      6073511822       2/21/2012       9:26:34
42490      6073688305       11/1/2011       7:55:17
42491      6073725023       10/22/2011      12:19:35
42492      6073725054       9/8/2011        17:46:34
42493      6073776323       10/5/2011       13:58:17
42494      6073988500       4/6/2012        15:37:11
42495      6074252365       7/23/2012       13:02:41
42496      6074276415       10/26/2011      8:15:04
42497      6074277349       1/4/2012        10:57:22
42498      6074351376       8/18/2012       8:26:52
42499      6074814499       9/28/2011       10:04:13
42500      6074814499       10/19/2011      7:46:45
42501      6074814499       11/26/2011      12:18:04
42502      6074815452       10/20/2012      16:30:25
42503      6074831478       10/14/2011      12:53:24
42504      6075421039       3/18/2011       9:20:06
42505      6075421364       1/6/2012        14:56:03
42506      6075430762       6/28/2012       7:04:50
42507      6075430762       9/28/2012       16:48:04
42508      6075647611       7/26/2012       19:16:50
42509      6075652120       5/29/2012       7:07:07
42510      6075914219       12/16/2011      15:56:29
42511      6075915422       3/23/2012       19:49:52
42512      6075920739       10/20/2011      15:57:58
42513      6076248481       1/9/2012        7:19:17
42514      6076389205       8/8/2012        7:11:20
42515      6076432691       12/12/2011      12:01:25
42516      6076444672       11/4/2011       7:14:45
42517      6076517834       6/21/2011       13:56:18
42518      6076613208       11/2/2011       7:29:17
42519      6076615432       1/7/2012        8:46:45
42520      6076616811       11/18/2011      12:35:56
42521      6076617995       5/11/2012       18:04:09
42522      6076618245       10/13/2011      7:07:20
42523      6076847047       7/3/2012        12:58:02
42524      6076848829       11/18/2011      12:16:13
42525      6076848992       9/22/2011       15:50:01
42526      6076848992       11/8/2011       13:42:34
42527      6077270744       10/20/2012      16:25:34
42528      6077274860       6/11/2012       17:43:02
42529      6077312850       1/5/2012        12:09:59
42530      6077317740       2/17/2012       8:54:46
42531      6077380616       11/23/2011      10:26:11
42532      6077386188       10/9/2012       19:58:46
42533      6077432861       10/20/2012      16:18:21
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42534      6077592448       2/28/2012       16:10:41
42535      6077608473       11/5/2011       9:07:09
42536      6077612332       2/8/2012        7:45:43
42537      6077684283       5/5/2012        8:18:44
42538      6077933275       4/16/2012       15:44:03
42539      6078571009       5/5/2012        8:15:47
42540      6078573611       10/15/2011      9:54:11
42541      6078575654       11/28/2011      11:09:18
42542      6078576285       10/8/2011       10:30:47
42543      6082017305       12/30/2011      17:01:24
42544      6082057177       5/26/2012       8:39:49
42545      6082109925       11/21/2011      10:48:29
42546      6082126693       10/13/2011      8:29:25
42547      6082128119       1/13/2012       8:04:54
42548      6082130420       10/3/2012       20:01:22
42549      6082133944       10/17/2011      8:16:26
42550      6082146393       11/21/2011      8:14:09
42551      6082146393       12/7/2011       13:39:00
42552      6082146393       12/10/2011      14:44:04
42553      6082174800       12/9/2011       15:33:33
42554      6082175145       3/14/2012       14:08:21
42555      6082193044       10/21/2011      13:31:57
42556      6082193044       5/21/2012       8:14:11
42557      6082203549       3/7/2012        18:55:55
42558      6082281264       5/10/2012       15:02:59
42559      6082284263       2/2/2012        16:37:20
42560      6082288665       4/11/2012       7:12:50
42561      6082289233       3/13/2012       12:42:06
42562      6082351184       10/5/2011       14:43:42
42563      6082358138       11/19/2011      8:20:01
42564      6082474545       10/7/2011       8:13:55
42565      6082791933       10/29/2011      11:53:36
42566      6082794446       8/24/2013       12:51:12
42567      6082798872       9/3/2011        10:56:29
42568      6082798872       10/4/2011       13:51:54
42569      6082801332       9/24/2012       13:08:16
42570      6082899546       3/27/2012       10:35:39
42571      6082902705       12/29/2011      11:06:59
42572      6082902705       5/26/2012       14:36:43
42573      6082909876       10/1/2012       8:21:58
42574      6082951718       3/26/2012       15:11:04
42575      6082954729       8/3/2012        16:31:49
42576      6082955020       4/5/2012        13:49:58
42577      6082955020       7/16/2012       19:49:35
42578      6082959503       9/8/2011        19:33:54
42579      6083084420       12/10/2011      13:41:12
42580      6083088022       9/24/2012       18:46:42
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42581      6083121469       4/18/2012       18:00:15
42582      6083123733       1/4/2012        11:07:22
42583      6083145506       12/31/2011      12:10:21
42584      6083165483       10/10/2012      19:20:24
42585      6083209355       2/18/2012       9:09:03
42586      6083223267       1/20/2012       19:36:18
42587      6083226027       3/21/2012       13:50:11
42588      6083301036       10/14/2011      12:55:55
42589      6083334220       3/25/2011       8:47:31
42590      6083348705       10/18/2011      13:05:14
42591      6083356615       11/16/2011      9:53:46
42592      6083417592       11/8/2011       14:27:20
42593      6083436691       1/18/2012       10:49:38
42594      6083438966       10/20/2012      16:30:53
42595      6083453777       9/20/2011       18:24:46
42596      6083454916       5/23/2012       14:59:23
42597      6083582334       6/9/2012        15:01:09
42598      6083591414       10/8/2012       8:14:44
42599      6083591681       11/30/2011      8:19:05
42600      6083595907       10/31/2011      8:15:10
42601      6083691813       8/9/2011        13:33:31
42602      6083856688       9/13/2011       17:58:31
42603      6083861352       9/29/2011       15:54:02
42604      6083864357       9/22/2012       9:37:50
42605      6083870083       9/16/2011       13:26:31
42606      6083874411       10/11/2012      18:38:23
42607      6083874424       2/21/2012       17:57:59
42608      6083930181       12/6/2011       13:28:04
42609      6083931030       10/4/2011       13:19:29
42610      6083975338       4/13/2012       20:43:39
42611      6084120279       10/1/2011       10:45:23
42612      6084260110       5/3/2012        8:11:57
42613      6084261009       12/3/2011       9:25:24
42614      6084261956       12/15/2011      8:05:10
42615      6084321189       1/4/2012        20:15:45
42616      6084323917       9/27/2011       18:40:03
42617      6084323917       3/12/2012       19:25:55
42618      6084343349       10/18/2011      12:52:22
42619      6084361231       8/4/2012        8:09:15
42620      6084363246       9/5/2012        15:26:53
42621      6084389009       4/18/2012       17:55:33
42622      6084441120       1/6/2012        15:56:58
42623      6084451014       6/11/2012       18:18:09
42624      6084458782       4/18/2012       17:58:26
42625      6084460946       10/13/2011      8:21:20
42626      6084464222       10/20/2011      15:42:52
42627      6084488914       10/15/2012      16:20:57
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42628      6084489708       6/15/2012       16:45:14
42629      6084590085       11/27/2011      15:33:29
42630      6084692140       11/16/2011      8:42:35
42631      6084753528       10/20/2012      8:17:00
42632      6084759504       8/5/2011        17:54:24
42633      6084778170       1/29/2012       16:20:52
42634      6084812141       10/10/2011      12:51:50
42635      6084812141       10/20/2011      16:31:17
42636      6084823091       9/3/2012        14:53:38
42637      6084823600       12/24/2011      8:12:27
42638      6084871478       8/8/2012        16:17:36
42639      6084874280       11/21/2011      8:05:33
42640      6084874280       12/21/2011      9:57:08
42641      6084877300       2/9/2012        20:30:27
42642      6084951410       10/20/2011      15:44:58
42643      6084952887       9/28/2012       17:02:49
42644      6085095556       8/14/2012       11:51:14
42645      6085129036       3/23/2012       11:30:27
42646      6085153836       4/16/2012       15:41:58
42647      6085160008       10/11/2011      17:27:29
42648      6085165442       1/25/2012       20:36:59
42649      6085165447       11/14/2011      17:10:27
42650      6085420068       3/6/2012        13:11:39
42651      6085470448       11/25/2011      17:36:15
42652      6085474868       5/18/2012       11:44:18
42653      6085476660       5/22/2012       8:03:08
42654      6085477553       11/7/2011       7:35:40
42655      6085478800       8/23/2011       19:05:57
42656      6085481044       2/18/2012       9:04:33
42657      6085483697       7/25/2012       12:13:24
42658      6085484799       9/8/2011        19:56:41
42659      6085532177       3/13/2012       11:21:12
42660      6085561118       9/23/2011       11:15:33
42661      6085561118       10/6/2011       17:53:38
42662      6085561153       3/15/2012       19:07:09
42663      6085561810       5/2/2012        13:26:38
42664      6085581633       2/6/2012        17:03:21
42665      6085589940       5/8/2012        9:49:15
42666      6085663100       7/8/2012        13:33:07
42667      6085663100       7/15/2012       10:40:22
42668      6085663100       8/6/2012        16:37:14
42669      6085663540       7/30/2011       8:57:25
42670      6085746308       6/9/2012        14:45:43
42671      6085746308       7/13/2012       17:16:33
42672      6085754723       11/4/2011       8:59:11
42673      6085758358       9/24/2011       9:43:58
42674      6085761139       2/24/2011       11:48:10
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42675      6085884176       1/14/2012       13:29:17
42676      6085884176       2/9/2012        20:35:14
42677      6086044074       12/6/2011       13:32:04
42678      6086048559       11/29/2011      16:10:04
42679      6086176475       1/19/2012       18:41:20
42680      6086225555       1/6/2012        14:52:37
42681      6086283212       10/4/2011       13:21:54
42682      6086283546       11/21/2011      8:28:26
42683      6086285153       3/25/2012       11:31:29
42684      6086331797       3/27/2012       21:55:01
42685      6086336743       12/18/2011      16:18:03
42686      6086581367       6/18/2012       15:25:58
42687      6086585737       4/15/2012       17:10:59
42688      6086694493       10/17/2011      8:46:58
42689      6086698537       10/15/2012      9:56:08
42690      6086781366       8/9/2012        14:10:46
42691      6086952221       9/20/2011       20:41:52
42692      6086976389       7/27/2012       20:39:18
42693      6086983545       7/14/2012       8:01:47
42694      6087120025       10/11/2011      16:26:46
42695      6087124810       4/10/2012       11:54:50
42696      6087126204       6/22/2012       8:54:00
42697      6087239495       3/29/2012       12:30:53
42698      6087260172       6/19/2012       15:42:28
42699      6087260194       9/20/2011       20:30:33
42700      6087261394       9/13/2011       16:15:37
42701      6087324038       9/14/2011       11:56:35
42702      6087325262       4/26/2012       8:04:59
42703      6087327341       3/15/2012       13:53:12
42704      6087383744       11/2/2011       14:14:36
42705      6087392305       2/2/2012        16:30:40
42706      6087392363       3/12/2012       19:38:36
42707      6087514883       1/11/2012       8:57:40
42708      6087516635       1/8/2012        13:13:39
42709      6087702347       9/13/2011       14:08:32
42710      6087722783       3/25/2012       12:03:17
42711      6087804486       7/12/2011       12:26:50
42712      6087907981       7/13/2012       13:56:50
42713      6087920100       11/15/2011      20:16:00
42714      6087922415       5/16/2012       16:57:27
42715      6087925203       8/31/2012       16:29:47
42716      6087972662       1/13/2012       17:27:40
42717      6087975952       8/15/2011       8:42:21
42718      6087995358       6/1/2012        9:02:00
42719      6087995358       6/26/2012       16:15:10
42720      6088225334       10/15/2012      16:11:59
42721      6088435102       6/25/2011       8:41:50
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42722      6088449223       11/16/2011      20:06:24
42723      6088530761       1/23/2012       19:17:06
42724      6089068993       11/4/2011       9:12:34
42725      6089310689       11/14/2011      17:18:04
42726      6089314985       2/20/2012       17:10:55
42727      6089315492       1/23/2012       19:15:30
42728      6089315492       2/11/2012       15:10:02
42729      6089316259       1/25/2012       20:29:34
42730      6089317417       7/3/2012        12:21:00
42731      6089319355       10/12/2012      16:58:24
42732      6089319475       11/22/2011      19:31:44
42733      6089635483       9/22/2012       9:06:32
42734      6092020268       9/28/2011       10:07:37
42735      6092024956       10/11/2011      17:06:44
42736      6092038077       10/14/2011      13:18:14
42737      6092039099       9/6/2011        12:06:35
42738      6092047896       1/7/2012        8:10:05
42739      6092049240       11/17/2011      15:19:37
42740      6092078332       3/6/2012        12:46:31
42741      6092094268       3/15/2012       19:24:12
42742      6092143190       11/23/2011      9:59:53
42743      6092145706       11/5/2011       9:41:33
42744      6092145710       6/27/2012       19:50:15
42745      6092146569       8/9/2011        13:34:10
42746      6092147955       3/19/2012       18:03:12
42747      6092179671       3/13/2012       18:35:44
42748      6092188104       4/26/2012       7:58:29
42749      6092188252       6/2/2011        11:12:34
42750      6092220998       7/18/2012       18:29:06
42751      6092223076       9/26/2012       7:11:30
42752      6092244354       6/7/2012        18:32:05
42753      6092250955       9/17/2011       9:23:23
42754      6092311394       10/7/2012       12:56:05
42755      6092314610       2/14/2012       9:44:27
42756      6092330769       2/22/2012       7:02:56
42757      6092332874       10/19/2011      12:09:10
42758      6092333535       9/12/2011       13:01:54
42759      6092336295       11/3/2011       17:08:25
42760      6092338414       1/18/2012       10:12:47
42761      6092338622       10/12/2011      8:29:37
42762      6092339027       2/17/2012       9:24:24
42763      6092473861       10/5/2011       14:25:38
42764      6092541355       10/5/2011       14:00:31
42765      6092710897       1/6/2012        14:55:39
42766      6092716217       5/18/2012       7:09:02
42767      6092717248       11/25/2011      18:15:21
42768      6092717483       10/19/2012      19:01:24
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42769      6092718860       10/17/2011      8:23:15
42770      6092718860       12/20/2011      19:34:48
42771      6092719635       1/17/2012       18:28:14
42772      6092845933       12/15/2011      7:47:41
42773      6092872541       12/27/2011      14:18:01
42774      6092880808       9/21/2011       19:32:11
42775      6092897302       4/11/2012       7:18:39
42776      6092903245       10/12/2011      7:18:22
42777      6092909539       5/29/2012       17:04:26
42778      6093043468       12/7/2011       13:20:23
42779      6093061396       12/8/2011       19:38:03
42780      6093108892       2/16/2012       7:09:23
42781      6093121862       3/6/2012        17:02:06
42782      6093123011       10/24/2011      7:23:03
42783      6093134651       5/8/2012        17:01:00
42784      6093141390       1/16/2012       17:29:28
42785      6093170894       1/3/2012        16:33:18
42786      6093198646       4/11/2012       7:19:29
42787      6093203958       11/7/2011       7:21:34
42788      6093209824       11/23/2011      9:26:47
42789      6093280553       9/30/2011       9:55:21
42790      6093286597       12/23/2011      14:34:38
42791      6093313791       11/30/2011      15:11:59
42792      6093316683       9/27/2012       7:35:29
42793      6093320364       10/14/2011      13:12:39
42794      6093322568       12/20/2011      17:46:03
42795      6093323639       12/7/2011       18:01:29
42796      6093342925       10/5/2011       14:35:54
42797      6093344943       12/3/2011       9:50:50
42798      6093346869       6/5/2012        17:47:32
42799      6093347406       7/12/2012       19:58:30
42800      6093349697       3/6/2012        12:54:10
42801      6093352135       1/20/2012       11:25:24
42802      6093382203       11/22/2011      19:02:53
42803      6093386920       3/2/2012        18:43:11
42804      6093396207       8/30/2011       16:21:09
42805      6093410529       4/2/2012        7:10:50
42806      6093410595       2/7/2012        17:02:47
42807      6093460867       5/26/2012       8:42:34
42808      6093460867       7/16/2012       19:43:49
42809      6093461245       9/2/2011        7:07:51
42810      6093461943       5/10/2012       13:10:24
42811      6093461943       7/13/2012       16:50:08
42812      6093464888       12/10/2011      14:34:15
42813      6093468649       1/21/2012       8:21:17
42814      6093469214       7/27/2012       15:22:01
42815      6093503316       9/18/2012       14:14:52
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42816      6093504021       7/6/2012        14:40:08
42817      6093521614       8/30/2012       7:04:50
42818      6093525574       10/6/2011       7:59:18
42819      6093566700       11/12/2011      9:13:17
42820      6093694288       11/26/2011      12:44:59
42821      6093699508       5/23/2012       16:33:28
42822      6093741646       12/20/2011      19:30:48
42823      6093755205       10/16/2012      7:23:59
42824      6093755556       11/11/2011      7:48:25
42825      6093756549       10/17/2011      7:26:08
42826      6093799677       10/23/2012      10:28:47
42827      6093811188       12/27/2011      13:30:49
42828      6093814829       1/8/2012        12:59:48
42829      6093817766       1/11/2012       7:21:21
42830      6093841288       4/21/2012       16:16:45
42831      6093844527       12/18/2011      17:16:11
42832      6093846154       3/29/2012       16:30:04
42833      6093846894       8/18/2012       8:54:03
42834      6094081178       10/21/2011      13:04:20
42835      6094085181       6/26/2012       8:00:53
42836      6094089174       9/27/2011       18:25:33
42837      6094100271       4/5/2012        14:21:30
42838      6094100271       5/17/2012       16:33:31
42839      6094103626       1/13/2012       17:38:53
42840      6094129522       4/19/2012       7:23:01
42841      6094235113       3/10/2012       8:28:37
42842      6094252237       10/6/2011       16:25:17
42843      6094253698       9/28/2011       10:15:25
42844      6094255515       3/13/2012       10:56:23
42845      6094285170       1/28/2012       8:27:12
42846      6094322244       10/8/2011       11:24:11
42847      6094323087       3/26/2012       18:36:52
42848      6094323089       10/13/2011      7:25:04
42849      6094326294       1/7/2012        9:07:32
42850      6094329599       11/2/2013       15:45:12
42851      6094332096       11/5/2011       10:57:40
42852      6094332919       2/18/2012       8:52:36
42853      6094339976       7/12/2013       10:30:33
42854      6094393056       6/22/2012       7:48:41
42855      6094398878       9/18/2012       14:25:05
42856      6094423371       5/20/2012       15:33:43
42857      6094423472       11/17/2011      13:51:05
42858      6094449707       3/24/2012       10:23:26
42859      6094562671       6/15/2012       8:50:05
42860      6094563938       3/2/2012        18:50:55
42861      6094566554       11/18/2011      13:28:48
42862      6094571700       10/17/2011      11:33:58
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42863      6094584506       11/1/2011       8:35:05
42864      6094585112       9/22/2011       15:04:12
42865      6094591024       7/16/2012       7:13:18
42866      6094641920       9/17/2011       9:58:53
42867      6094680643       11/28/2011      11:42:19
42868      6094681329       10/17/2011      7:22:49
42869      6094700131       5/24/2012       7:15:32
42870      6094711538       5/11/2012       18:33:19
42871      6094752634       2/13/2012       18:21:57
42872      6094771312       10/1/2011       10:21:10
42873      6094880760       5/10/2012       15:01:00
42874      6094880798       10/5/2011       14:35:16
42875      6094891302       2/21/2012       17:43:06
42876      6094968735       10/8/2011       10:32:55
42877      6094982395       10/29/2011      10:25:22
42878      6094988898       4/18/2012       17:49:00
42879      6095020504       10/3/2011       7:49:53
42880      6095025602       9/13/2011       7:08:22
42881      6095028721       6/29/2011       17:06:37
42882      6095030641       12/19/2011      8:11:23
42883      6095052665       3/21/2012       7:13:47
42884      6095052665       4/16/2012       16:01:20
42885      6095060255       8/21/2012       13:59:59
42886      6095108053       6/6/2012        13:30:05
42887      6095178825       5/11/2012       7:05:57
42888      6095196506       9/16/2011       12:57:25
42889      6095216216       11/28/2011      17:45:11
42890      6095217784       3/16/2012       10:12:12
42891      6095296825       10/10/2012      19:06:03
42892      6095315748       12/13/2011      18:11:18
42893      6095320708       1/27/2014       7:03:04
42894      6095323013       5/30/2012       12:45:34
42895      6095328112       11/17/2011      16:19:21
42896      6095360058       9/15/2011       7:43:11
42897      6095403178       9/11/2012       7:44:43
42898      6095484848       10/11/2011      16:00:15
42899      6095531034       9/21/2011       19:28:12
42900      6095531615       11/8/2011       13:44:09
42901      6095533500       10/11/2011      17:13:49
42902      6095535337       12/31/2011      11:59:35
42903      6095536506       9/21/2011       19:29:58
42904      6095536839       11/8/2011       14:14:03
42905      6095564735       5/6/2012        17:42:57
42906      6095569469       11/21/2011      7:35:00
42907      6095716378       1/6/2012        14:40:23
42908      6095754038       10/10/2012      12:32:55
42909      6095759144       1/19/2012       18:27:28
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42910      6095769701       3/13/2012       18:58:11
42911      6095799866       3/16/2012       16:07:33
42912      6096053919       12/15/2011      7:48:42
42913      6096105387       9/15/2011       7:48:40
42914      6096107747       10/6/2011       16:21:46
42915      6096170564       9/22/2011       15:50:01
42916      6096170881       9/19/2011       19:24:16
42917      6096170904       12/5/2011       8:20:33
42918      6096178308       1/29/2012       17:22:32
42919      6096182663       10/17/2011      11:46:30
42920      6096250469       5/14/2012       7:14:32
42921      6096344072       7/20/2011       14:41:21
42922      6096381541       10/15/2012      9:52:31
42923      6096386505       1/10/2012       15:16:12
42924      6096387375       10/23/2012      15:51:58
42925      6096387723       7/30/2012       14:47:56
42926      6096388530       3/20/2012       17:39:58
42927      6096468336       12/27/2011      14:14:38
42928      6096614657       12/18/2011      16:31:50
42929      6096655432       4/23/2012       7:22:49
42930      6096722917       10/10/2011      11:36:02
42931      6096727075       1/4/2012        10:58:48
42932      6096743586       10/29/2011      11:30:43
42933      6096751764       2/2/2012        7:12:15
42934      6096751764       5/21/2012       7:24:30
42935      6096800331       8/26/2011       18:10:28
42936      6096809928       5/3/2012        7:09:58
42937      6096943325       11/26/2011      11:12:12
42938      6096944361       7/26/2012       19:19:02
42939      6096946746       5/21/2012       7:22:10
42940      6097032620       9/26/2011       8:02:42
42941      6097039694       5/17/2012       16:51:04
42942      6097053794       10/7/2011       7:14:00
42943      6097135279       9/15/2011       7:35:25
42944      6097410160       10/27/2011      16:31:45
42945      6097425402       6/6/2012        7:13:10
42946      6097425402       6/15/2012       16:43:11
42947      6097426086       9/6/2011        12:42:08
42948      6097430276       5/30/2012       16:53:46
42949      6097431568       3/10/2011       15:45:37
42950      6097441281       5/21/2012       7:47:07
42951      6097604443       8/30/2012       7:02:22
42952      6097747591       12/19/2011      7:24:35
42953      6097811218       12/21/2011      9:50:00
42954      6097843869       12/5/2011       18:29:53
42955      6097844105       9/19/2011       7:21:19
42956      6097846642       11/28/2011      16:52:43
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42957      6097921397       9/21/2011       19:42:59
42958      6097923051       9/1/2012        9:17:53
42959      6098021404       10/14/2011      12:50:37
42960      6098021515       9/19/2011       19:30:07
42961      6098029118       7/23/2012       15:17:18
42962      6098055335       11/18/2011      13:30:01
42963      6098154583       10/5/2011       14:30:01
42964      6098162438       12/10/2011      13:09:50
42965      6098162438       1/14/2012       8:08:00
42966      6098162438       6/18/2012       15:10:28
42967      6098163350       4/6/2012        15:17:24
42968      6098165885       4/18/2012       18:03:35
42969      6098166932       3/13/2012       18:35:30
42970      6098169282       11/18/2011      12:47:37
42971      6098169282       3/20/2012       17:46:49
42972      6098173215       6/9/2012        14:38:24
42973      6098204495       11/12/2011      10:22:24
42974      6098285495       10/5/2012       18:23:40
42975      6098464023       12/21/2011      10:14:20
42976      6098464216       9/26/2011       8:24:12
42977      6098464216       10/21/2011      14:38:05
42978      6098464394       10/17/2011      7:34:27
42979      6098464716       10/11/2011      17:00:12
42980      6098466593       9/21/2011       19:44:15
42981      6098474066       10/6/2011       9:39:53
42982      6098474859       5/21/2012       7:59:08
42983      6098483099       10/14/2011      12:40:25
42984      6098497007       11/28/2011      11:46:47
42985      6098511373       6/21/2012       18:18:39
42986      6098514271       6/6/2011        17:04:59
42987      6098517077       5/16/2012       7:01:50
42988      6098654811       10/6/2011       16:25:43
42989      6098803450       8/8/2011        14:46:46
42990      6098803450       9/21/2011       19:32:58
42991      6098803535       10/4/2011       13:10:28
42992      6098804835       9/19/2011       7:12:54
42993      6098805131       10/5/2012       12:15:50
42994      6098805589       1/12/2012       7:06:59
42995      6098805818       10/3/2012       7:03:23
42996      6098920935       11/14/2011      16:23:22
42997      6098921116       3/19/2012       7:20:14
42998      6098924056       10/8/2011       9:20:45
42999      6098924945       9/8/2011        19:39:05
43000      6098925681       1/3/2012        11:15:48
43001      6098927919       3/15/2012       13:48:01
43002      6099031861       3/14/2012       19:24:29
43003      6099031861       5/1/2012        8:08:16
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43004      6099031861       5/21/2012       7:06:37
43005      6099145846       1/29/2012       16:23:43
43006      6099154637       9/14/2011       19:26:04
43007      6099156681       5/11/2012       14:40:34
43008      6099237133       11/12/2011      9:44:45
43009      6099237688       9/28/2011       10:48:47
43010      6099238178       10/14/2011      12:43:16
43011      6099299014       7/13/2012       16:51:32
43012      6099325561       9/18/2012       14:23:44
43013      6099339055       1/24/2012       10:26:26
43014      6099546423       10/4/2011       13:19:42
43015      6099648478       11/29/2011      15:34:15
43016      6099648705       12/31/2011      12:12:40
43017      6099680467       10/3/2012       19:57:58
43018      6099692138       5/11/2012       7:05:08
43019      6099701067       9/21/2011       11:25:19
43020      6099704652       9/8/2011        19:46:14
43021      6099723881       12/29/2011      10:02:02
43022      6099724407       7/21/2012       10:23:07
43023      6099773511       9/28/2012       16:38:21
43024      6099777230       1/20/2012       14:33:22
43025      6099921267       10/12/2011      7:42:01
43026      6099923725       7/23/2012       15:30:18
43027      6099942443       9/22/2011       15:50:03
43028      6099942443       10/24/2011      7:19:12
43029      6099944938       8/29/2012       11:15:39
43030      6102020705       10/15/2012      10:16:28
43031      6102027229       6/9/2012        14:53:28
43032      6102032913       11/21/2011      7:28:55
43033      6102032913       3/26/2012       7:14:24
43034      6102034449       12/31/2011      12:12:48
43035      6102121304       6/3/2011        7:22:47
43036      6102167391       3/19/2012       19:12:43
43037      6102174474       3/23/2012       7:07:17
43038      6102174808       7/14/2012       8:06:02
43039      6102174808       8/4/2012        7:37:25
43040      6102357637       11/23/2011      14:32:21
43041      6102469465       10/8/2011       9:30:00
43042      6102470374       5/8/2012        17:04:28
43043      6102479252       5/17/2012       7:07:37
43044      6102479252       6/5/2012        7:08:08
43045      6102486977       1/21/2012       8:20:57
43046      6102486977       3/21/2012       13:45:14
43047      6102487764       8/16/2012       7:49:40
43048      6102777182       4/4/2012        18:45:52
43049      6102912964       7/6/2012        14:40:23
43050      6102913485       10/1/2011       9:32:02
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43051      6102914710       9/13/2011       17:46:01
43052      6102917755       9/28/2012       7:41:40
43053      6102957496       9/13/2012       7:38:07
43054      6102991000       10/4/2011       13:43:36
43055      6102992837       8/29/2012       11:00:55
43056      6102997343       5/6/2012        18:03:54
43057      6103064110       5/30/2012       12:37:07
43058      6103064110       7/26/2012       19:22:56
43059      6103080758       1/20/2012       11:27:03
43060      6103080758       5/31/2012       15:06:16
43061      6103105657       10/13/2011      7:15:21
43062      6103161168       10/20/2011      15:15:35
43063      6103165757       11/11/2011      14:34:50
43064      6103168704       5/28/2012       8:11:15
43065      6103224675       6/20/2012       7:52:49
43066      6103233204       12/5/2011       18:27:53
43067      6103238905       1/3/2012        7:27:36
43068      6103296736       9/21/2012       18:48:40
43069      6103298109       11/5/2011       11:16:50
43070      6103313900       3/4/2012        12:29:22
43071      6103340542       1/21/2012       8:17:38
43072      6103483363       6/27/2012       12:03:58
43073      6103487885       10/15/2011      9:58:10
43074      6103489080       7/26/2011       9:37:50
43075      6103579529       9/27/2011       18:21:57
43076      6103600428       1/6/2012        14:47:44
43077      6103604322       9/21/2011       11:21:32
43078      6103606654       10/1/2011       10:27:11
43079      6103609421       9/19/2011       19:27:00
43080      6103635454       5/22/2012       11:16:31
43081      6103635454       6/18/2012       15:19:32
43082      6103680949       10/8/2011       10:35:12
43083      6103776074       3/31/2012       8:14:05
43084      6103891689       2/6/2012        16:44:50
43085      6103894283       10/11/2011      15:06:53
43086      6103901348       6/21/2011       14:06:50
43087      6103908799       4/21/2012       16:32:06
43088      6103920243       11/18/2011      13:27:42
43089      6103920747       9/8/2011        19:26:50
43090      6103927009       1/29/2012       16:31:57
43091      6104004168       3/19/2012       19:09:14
43092      6104004474       4/29/2012       16:48:09
43093      6104007780       6/30/2012       8:23:10
43094      6104016111       4/2/2012        7:07:34
43095      6104051769       4/11/2012       10:52:16
43096      6104052073       11/10/2011      7:25:45
43097      6104161430       7/9/2012        7:08:32
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43098      6104170736       12/22/2011      8:58:18
43099      6104178626       9/26/2012       14:38:04
43100      6104179201       11/18/2011      12:51:36
43101      6104179988       10/8/2011       9:07:21
43102      6104282616       9/20/2011       18:05:33
43103      6104289548       11/7/2011       8:00:41
43104      6104412908       4/18/2012       7:14:02
43105      6104412908       7/5/2012        10:46:19
43106      6104413534       8/15/2012       7:53:49
43107      6104415143       2/11/2012       11:03:36
43108      6104421003       11/5/2011       11:07:59
43109      6104517420       2/11/2012       15:21:06
43110      6104518132       1/20/2012       11:23:21
43111      6104638354       9/13/2011       17:39:45
43112      6104682065       9/19/2011       7:23:28
43113      6104683308       10/26/2011      11:54:21
43114      6104684450       11/29/2011      15:32:59
43115      6104703351       4/13/2012       13:15:05
43116      6104768677       10/21/2011      12:21:52
43117      6105040094       2/2/2012        7:16:24
43118      6105042855       4/21/2012       8:17:02
43119      6105043600       3/30/2012       16:11:26
43120      6105047693       2/17/2012       18:09:24
43121      6105047693       3/14/2012       19:30:07
43122      6105047800       3/2/2012        7:10:20
43123      6105066596       7/22/2011       13:43:05
43124      6105069189       5/10/2012       13:09:53
43125      6105071884       9/17/2011       9:16:23
43126      6105075746       12/7/2011       15:07:42
43127      6105090270       10/12/2011      7:58:45
43128      6105092394       1/2/2012        7:06:28
43129      6105097081       3/21/2012       7:06:10
43130      6105097948       10/10/2012      12:46:13
43131      6105098160       1/5/2012        14:01:19
43132      6105171044       4/1/2011        10:54:22
43133      6105331094       10/12/2011      12:10:53
43134      6105335919       1/12/2012       14:24:45
43135      6105519201       11/8/2011       14:16:29
43136      6105546619       5/11/2012       18:23:38
43137      6105546634       5/22/2012       18:34:20
43138      6105633673       11/2/2011       16:22:01
43139      6105636811       10/6/2011       16:10:15
43140      6105636886       9/21/2012       15:25:48
43141      6105680154       9/21/2012       15:26:44
43142      6105686021       8/31/2012       16:27:49
43143      6105701934       9/17/2011       10:15:46
43144      6105702820       2/14/2012       9:59:28
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43145      6105704341       1/23/2012       19:11:19
43146      6105704341       4/5/2012        7:09:01
43147      6105706339       7/2/2012        15:16:09
43148      6105708217       1/11/2012       7:35:28
43149      6105730320       8/8/2012        7:05:27
43150      6105730320       8/16/2012       19:52:40
43151      6105730537       2/19/2012       19:28:20
43152      6105740622       1/29/2012       16:50:56
43153      6105740622       2/6/2012        16:58:47
43154      6105743284       7/2/2012        17:14:47
43155      6105749911       11/18/2011      12:14:37
43156      6105776779       9/22/2011       15:04:28
43157      6105850275       10/14/2011      12:47:02
43158      6105851245       10/25/2012      19:33:15
43159      6105851990       10/4/2011       13:11:01
43160      6105854570       11/7/2011       9:12:45
43161      6105873170       6/5/2012        14:53:18
43162      6105876577       11/25/2011      17:37:56
43163      6105970256       8/16/2012       7:50:57
43164      6105971840       9/22/2011       15:01:51
43165      6105971954       9/12/2011       13:40:22
43166      6105973139       1/31/2012       7:19:49
43167      6105973139       3/14/2012       19:27:45
43168      6105979413       10/29/2011      10:25:52
43169      6106036397       6/21/2012       10:02:11
43170      6106084506       4/25/2011       12:12:08
43171      6106130910       6/11/2012       7:16:47
43172      6106135705       10/1/2011       9:50:42
43173      6106203237       2/20/2012       7:17:46
43174      6106210166       9/22/2012       8:30:03
43175      6106210766       5/1/2012        17:38:48
43176      6106210766       5/13/2012       17:08:53
43177      6106210766       6/15/2012       16:36:25
43178      6106210959       9/22/2012       9:32:28
43179      6106216155       6/16/2012       7:47:59
43180      6106218035       4/5/2012        14:32:55
43181      6106219715       12/7/2011       17:55:45
43182      6106360273       9/21/2011       11:24:33
43183      6106360273       9/28/2011       10:56:02
43184      6106361595       3/1/2012        8:47:58
43185      6106365110       4/28/2012       8:03:59
43186      6106530295       6/18/2012       15:07:07
43187      6106530451       3/26/2012       7:28:08
43188      6106530451       4/4/2012        7:28:09
43189      6106530451       4/11/2012       13:17:44
43190      6106531311       4/1/2012        16:21:57
43191      6106531748       5/1/2012        8:16:09
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43192      6106532121       2/2/2012        7:17:14
43193      6106532121       2/13/2012       7:07:39
43194      6106532701       8/16/2012       19:53:05
43195      6106571027       4/22/2012       15:17:03
43196      6106571027       5/31/2012       14:59:29
43197      6106622737       10/10/2011      12:20:40
43198      6106758364       5/14/2012       7:01:19
43199      6106808611       9/27/2011       18:23:41
43200      6106981157       10/11/2011      16:50:23
43201      6106981157       11/23/2011      9:11:36
43202      6107169460       9/23/2011       18:40:49
43203      6107169511       1/12/2012       7:08:53
43204      6107218902       11/4/2011       7:02:52
43205      6107241419       10/19/2012      19:03:04
43206      6107304124       1/3/2012        17:20:26
43207      6107307201       7/17/2012       7:03:04
43208      6107391402       12/20/2011      7:18:51
43209      6107393211       9/27/2012       13:20:15
43210      6107394334       9/19/2011       7:33:41
43211      6107394337       10/1/2011       10:35:32
43212      6107396628       1/29/2012       16:48:21
43213      6107413714       9/26/2011       8:29:27
43214      6107415012       11/5/2011       10:26:19
43215      6107451985       5/27/2012       13:58:37
43216      6107516443       7/6/2012        14:44:56
43217      6107516780       12/5/2011       8:22:50
43218      6107518662       10/8/2011       10:50:54
43219      6107611570       12/9/2011       15:10:17
43220      6107612500       7/18/2012       7:04:46
43221      6107612500       8/7/2012        17:41:13
43222      6107621407       3/14/2012       7:06:21
43223      6107622977       7/3/2012        19:36:31
43224      6107623185       6/29/2012       17:49:52
43225      6107627299       5/4/2012        14:32:04
43226      6107628786       11/15/2011      16:01:30
43227      6107630232       9/26/2011       8:40:25
43228      6107630232       11/22/2011      19:15:53
43229      6107661008       5/6/2012        17:52:06
43230      6107661175       7/13/2012       18:32:46
43231      6107801067       1/17/2012       7:11:22
43232      6107802039       3/30/2012       16:05:06
43233      6107808416       10/23/2012      16:07:28
43234      6107815787       9/19/2012       7:55:42
43235      6108000263       3/15/2012       18:53:52
43236      6108000263       7/12/2012       7:01:46
43237      6108001676       9/24/2011       9:28:44
43238      6108001805       1/5/2012        13:55:34
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43239      6108001805       2/14/2012       9:52:21
43240      6108003333       6/23/2012       8:23:12
43241      6108004837       10/11/2012      7:57:34
43242      6108008788       8/9/2012        14:06:45
43243      6108021276       3/30/2011       8:10:32
43244      6108022676       11/7/2011       7:32:35
43245      6108029098       11/29/2011      7:34:18
43246      6108033030       2/28/2012       7:41:45
43247      6108034077       3/13/2012       14:05:51
43248      6108034197       10/10/2011      11:35:30
43249      6108034238       10/4/2011       13:07:44
43250      6108034735       11/14/2011      15:55:07
43251      6108035934       2/6/2012        16:45:09
43252      6108036771       7/10/2012       7:22:28
43253      6108036793       5/30/2012       12:37:12
43254      6108044358       2/6/2012        17:01:27
43255      6108046359       5/21/2012       7:02:34
43256      6108066306       2/17/2012       9:22:48
43257      6108091049       4/29/2012       18:14:11
43258      6108091049       4/30/2012       14:41:32
43259      6108093817       10/19/2011      7:21:27
43260      6108094513       1/5/2012        11:55:36
43261      6108097544       5/19/2012       9:28:45
43262      6108185135       8/7/2012        17:33:12
43263      6108187348       6/7/2012        18:37:38
43264      6108233161       12/5/2011       9:14:52
43265      6108239905       3/30/2012       7:24:53
43266      6108416185       11/3/2011       17:01:24
43267      6108421408       11/18/2011      13:28:47
43268      6108424704       9/19/2011       19:06:07
43269      6108444333       2/22/2012       7:13:53
43270      6108446384       12/1/2011       7:58:29
43271      6108447932       4/5/2012        9:35:51
43272      6108488159       3/15/2011       11:13:05
43273      6108505723       10/6/2011       16:32:07
43274      6108640310       10/4/2011       13:31:42
43275      6108880784       5/30/2012       16:53:10
43276      6108886298       11/21/2011      7:14:33
43277      6109050339       8/8/2012        16:10:02
43278      6109050710       5/30/2012       16:52:01
43279      6109051842       10/8/2011       10:58:38
43280      6109052277       10/11/2012      7:53:35
43281      6109052277       10/16/2012      7:26:06
43282      6109057211       9/19/2011       19:06:10
43283      6109086709       10/10/2011      11:40:36
43284      6109091791       6/15/2012       16:23:20
43285      6109146723       2/25/2012       11:00:32
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43286      6109312096       8/17/2011       19:18:21
43287      6109313161       10/7/2011       7:22:40
43288      6109315255       6/11/2012       17:53:51
43289      6109315811       2/20/2012       7:18:09
43290      6109454656       3/19/2012       7:06:25
43291      6109526770       10/19/2012      19:07:13
43292      6109553543       1/25/2012       9:26:24
43293      6109695710       10/7/2011       7:02:32
43294      6109699209       6/7/2012        14:49:55
43295      6109721913       7/14/2011       8:05:07
43296      6109724822       5/19/2012       9:27:35
43297      6109725258       2/11/2012       15:21:13
43298      6109728566       6/9/2012        14:40:01
43299      6109739273       3/20/2012       8:57:14
43300      6109862484       8/17/2012       7:02:20
43301      6109862765       9/24/2011       9:11:59
43302      6109862765       10/1/2011       10:28:11
43303      6109902706       2/28/2012       15:49:29
43304      6109965805       3/27/2012       15:05:23
43305      6122258518       3/12/2012       11:28:37
43306      6122265813       11/11/2011      13:48:03
43307      6122426714       9/8/2011        19:33:26
43308      6122428268       1/26/2012       10:04:31
43309      6122501071       10/25/2011      16:29:20
43310      6122511580       1/10/2012       15:13:45
43311      6122519473       1/31/2012       10:04:35
43312      6122672345       9/9/2011        7:48:27
43313      6122728080       11/14/2011      17:35:41
43314      6122966811       11/8/2011       13:42:46
43315      6122968071       12/1/2011       15:15:28
43316      6123450581       11/17/2011      15:50:07
43317      6123698950       7/25/2012       12:06:43
43318      6123870800       6/10/2012       11:34:33
43319      6123968577       2/11/2012       15:49:25
43320      6124145666       12/23/2011      15:23:55
43321      6125012954       9/21/2012       15:27:42
43322      6125584112       5/5/2011        13:09:24
43323      6125985323       6/16/2012       15:26:09
43324      6126183592       12/12/2011      16:25:24
43325      6127418978       3/13/2012       18:53:58
43326      6127472006       10/12/2012      21:27:07
43327      6128035581       9/20/2011       16:46:16
43328      6128503260       3/7/2012        18:32:06
43329      6128654111       3/26/2012       15:08:47
43330      6128679174       1/3/2012        11:03:13
43331      6142028437       3/16/2012       15:47:33
43332      6142035952       5/23/2012       16:35:36
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43333      6142052273       12/21/2011      10:15:53
43334      6142061520       10/22/2012      17:57:15
43335      6142066242       3/15/2012       18:56:22
43336      6142070675       3/12/2012       7:08:16
43337      6142075806       5/4/2012        18:27:57
43338      6142085042       10/13/2011      7:26:35
43339      6142143168       10/18/2011      7:16:11
43340      6142148752       8/23/2012       11:59:14
43341      6142185844       12/5/2011       9:10:34
43342      6142185896       3/23/2012       7:07:18
43343      6142185896       5/21/2012       7:05:05
43344      6142558018       4/15/2012       19:57:40
43345      6142558880       9/17/2011       9:53:46
43346      6142600076       4/23/2011       10:07:34
43347      6142601733       4/5/2012        15:47:48
43348      6142602055       5/18/2012       7:10:47
43349      6142602635       5/21/2012       7:14:20
43350      6142602690       10/1/2011       10:46:11
43351      6142604077       4/16/2012       7:17:26
43352      6142648853       1/13/2012       12:36:08
43353      6142661576       10/5/2012       12:16:37
43354      6142680192       2/20/2012       7:16:50
43355      6142702978       5/21/2012       7:22:58
43356      6142715517       9/13/2011       18:38:06
43357      6142823252       4/30/2012       15:06:56
43358      6142828799       8/24/2012       7:27:15
43359      6142843522       5/21/2012       8:47:01
43360      6142846782       2/6/2012        7:16:05
43361      6143010908       2/13/2012       7:17:15
43362      6143022121       11/17/2011      16:18:32
43363      6143126351       5/26/2012       14:35:18
43364      6143143306       11/19/2011      8:18:51
43365      6143152312       9/20/2011       16:40:00
43366      6143152312       10/3/2011       7:39:08
43367      6143154505       5/9/2011        16:53:13
43368      6143165880       12/17/2011      11:48:21
43369      6143169266       7/14/2011       15:44:14
43370      6143176751       2/6/2012        17:08:03
43371      6143232961       6/25/2011       8:07:07
43372      6143239769       9/19/2011       7:04:43
43373      6143239769       10/3/2011       7:03:50
43374      6143255552       9/19/2011       7:25:08
43375      6143255552       12/29/2011      14:17:30
43376      6143258051       10/19/2011      7:32:29
43377      6143293957       12/20/2011      17:05:08
43378      6143295382       6/5/2012        17:47:35
43379      6143303664       3/15/2012       19:03:13
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43380      6143320799       9/26/2012       7:10:44
43381      6143320799       10/10/2012      12:35:30
43382      6143321777       7/20/2012       19:49:03
43383      6143328432       5/14/2012       15:15:22
43384      6143329651       1/5/2012        12:02:26
43385      6143385797       10/4/2011       13:42:58
43386      6143486373       12/12/2011      16:20:38
43387      6143531450       5/30/2012       16:41:29
43388      6143532880       6/22/2012       7:09:21
43389      6143535358       11/30/2011      7:16:11
43390      6143543114       10/19/2011      13:00:12
43391      6143543577       8/30/2012       17:42:17
43392      6143545566       5/21/2012       7:47:08
43393      6143546157       6/19/2012       11:04:50
43394      6143548662       7/16/2012       7:16:12
43395      6143560773       8/31/2012       16:34:57
43396      6143606065       10/1/2012       8:14:23
43397      6143607353       12/29/2011      9:58:41
43398      6143607353       3/2/2012        18:45:43
43399      6143641777       7/14/2012       8:13:37
43400      6143704487       12/8/2011       12:11:21
43401      6143734307       6/7/2012        7:11:11
43402      6143741980       4/6/2012        15:41:52
43403      6143748202       6/26/2012       7:55:35
43404      6143748202       10/10/2012      12:42:22
43405      6143763652       1/26/2012       7:18:04
43406      6143770168       7/2/2011        8:23:49
43407      6143771483       11/26/2011      11:29:46
43408      6143775461       6/14/2012       16:19:43
43409      6143776637       6/4/2012        8:43:38
43410      6143778342       4/2/2012        7:08:23
43411      6143778850       5/21/2012       17:20:56
43412      6143779854       12/20/2011      19:30:02
43413      6143789035       11/25/2011      18:08:06
43414      6143974118       2/4/2012        8:23:51
43415      6143975472       5/27/2011       8:53:51
43416      6144021296       9/23/2011       18:55:52
43417      6144026138       1/24/2014       18:48:56
43418      6144030950       9/12/2011       13:45:23
43419      6144040138       11/4/2011       7:26:18
43420      6144043493       10/18/2011      12:13:52
43421      6144043617       3/30/2011       9:16:59
43422      6144044284       10/1/2011       10:29:26
43423      6144047877       10/5/2011       14:10:37
43424      6144051222       11/30/2011      15:04:13
43425      6144051291       12/1/2011       8:00:07
43426      6144192583       8/25/2012       11:01:06
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43427      6144324325       10/8/2011       9:24:45
43428      6144401683       9/10/2011       8:45:57
43429      6144402629       3/16/2012       10:01:23
43430      6144404977       9/21/2011       11:44:19
43431      6144409048       3/28/2011       15:19:17
43432      6144416991       3/12/2012       19:05:33
43433      6144462727       1/5/2012        13:56:37
43434      6144464396       4/3/2012        10:11:52
43435      6144466846       3/15/2014       8:05:18
43436      6144467460       7/15/2011       7:55:59
43437      6144488378       10/12/2011      11:54:42
43438      6144620788       6/20/2012       16:55:25
43439      6144647589       11/10/2011      7:28:15
43440      6144775242       10/20/2012      16:29:52
43441      6144778023       10/21/2011      13:33:14
43442      6144835914       4/18/2012       7:07:31
43443      6144843750       9/17/2011       9:30:03
43444      6144848774       10/11/2012      7:58:03
43445      6144967786       10/8/2011       9:23:49
43446      6144992795       6/7/2011        17:55:55
43447      6144999884       10/15/2011      9:08:42
43448      6145065102       10/17/2011      10:35:15
43449      6145075552       10/24/2011      7:02:15
43450      6145153263       3/10/2012       8:36:33
43451      6145157202       11/25/2011      17:34:57
43452      6145157500       12/23/2011      13:39:39
43453      6145158186       12/7/2011       13:54:20
43454      6145158313       9/29/2011       15:09:55
43455      6145167945       9/19/2011       19:37:28
43456      6145176748       10/17/2012      9:35:42
43457      6145358494       8/7/2012        17:42:46
43458      6145370279       3/29/2012       11:18:34
43459      6145370279       5/3/2012        7:09:24
43460      6145376824       9/29/2011       15:29:35
43461      6145379742       10/4/2011       13:44:39
43462      6145429405       12/10/2011      11:57:23
43463      6145516269       7/12/2011       11:16:23
43464      6145541160       4/1/2012        16:43:55
43465      6145577526       9/8/2011        19:48:44
43466      6145578110       11/16/2011      7:46:44
43467      6145579695       11/29/2011      15:54:04
43468      6145615907       1/12/2012       14:01:34
43469      6145616300       10/20/2011      15:19:56
43470      6145625468       1/3/2012        11:13:54
43471      6145638879       9/25/2012       15:01:05
43472      6145639678       10/20/2012      8:35:50
43473      6145713187       9/23/2011       18:58:00
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43474      6145721183       9/16/2012       17:15:55
43475      6145727460       10/12/2011      8:32:04
43476      6145788971       10/6/2011       16:21:09
43477      6145789272       12/27/2011      13:34:19
43478      6145803048       2/7/2012        7:05:15
43479      6145803848       2/9/2012        7:04:43
43480      6145805100       9/26/2011       7:51:26
43481      6145809560       5/3/2012        7:05:48
43482      6145809560       5/21/2012       7:32:22
43483      6145811938       11/5/2011       9:09:33
43484      6145818645       5/28/2012       8:48:47
43485      6145819419       7/9/2012        7:13:42
43486      6145824091       5/18/2012       15:45:10
43487      6145840200       3/21/2012       7:02:17
43488      6145841581       9/15/2011       7:18:17
43489      6145846606       10/17/2012      18:33:04
43490      6145846877       6/23/2012       8:22:42
43491      6145894156       11/28/2011      16:36:15
43492      6145895361       10/4/2011       13:09:10
43493      6145898047       1/12/2012       7:01:10
43494      6145936226       3/29/2011       15:59:57
43495      6145964539       3/12/2012       19:04:54
43496      6145983340       9/21/2012       18:46:19
43497      6145987057       8/7/2012        17:41:34
43498      6145988375       2/9/2012        7:14:23
43499      6145990519       2/4/2012        8:19:17
43500      6145993478       2/16/2012       7:07:02
43501      6145994430       7/20/2012       7:32:15
43502      6145997022       9/28/2011       10:50:21
43503      6146045250       1/9/2012        7:25:22
43504      6146074199       4/12/2012       18:16:56
43505      6146078997       10/11/2011      15:43:40
43506      6146078997       3/5/2012        7:11:55
43507      6146078997       6/12/2012       17:09:17
43508      6146079279       5/10/2011       19:08:48
43509      6146220417       2/28/2012       15:58:44
43510      6146220800       5/11/2012       18:30:32
43511      6146225522       3/22/2012       14:16:00
43512      6146232224       5/4/2012        7:25:57
43513      6146233399       9/3/2011        10:47:13
43514      6146233547       7/19/2012       7:57:50
43515      6146235836       9/28/2011       10:24:45
43516      6146252775       7/6/2012        14:57:16
43517      6146345981       1/20/2012       11:25:03
43518      6146381371       5/10/2012       14:53:59
43519      6146383915       9/22/2011       15:44:48
43520      6146570432       11/15/2011      15:13:38
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43521      6146571789       9/26/2011       7:51:23
43522      6146574638       2/16/2012       7:09:16
43523      6146682316       11/20/2011      11:07:29
43524      6146781991       5/26/2012       14:14:24
43525      6146786482       5/9/2012        8:28:06
43526      6146792588       12/27/2011      14:14:52
43527      6146793340       11/17/2011      16:22:16
43528      6146795787       12/17/2011      11:54:09
43529      6147043114       9/26/2012       14:31:03
43530      6147043138       3/21/2011       10:10:46
43531      6147175045       10/5/2011       14:29:41
43532      6147323389       3/7/2012        18:29:18
43533      6147357224       2/9/2012        7:03:36
43534      6147431092       9/18/2012       14:33:46
43535      6147436311       9/29/2011       15:11:20
43536      6147436625       7/16/2012       7:11:58
43537      6147438480       9/30/2011       10:15:50
43538      6147438480       10/5/2011       13:58:36
43539      6147438746       1/16/2012       17:08:38
43540      6147438981       5/22/2012       18:32:44
43541      6147456723       10/9/2012       19:59:02
43542      6147459877       3/1/2012        8:34:01
43543      6147472125       3/19/2012       19:15:31
43544      6147496480       7/18/2012       18:30:20
43545      6147722401       9/24/2011       9:03:13
43546      6147722907       4/16/2012       7:20:58
43547      6147723157       4/11/2012       19:28:46
43548      6147723716       9/22/2011       15:39:29
43549      6147724631       2/28/2012       15:52:26
43550      6147729149       10/24/2012      15:06:57
43551      6147744248       1/18/2012       16:50:53
43552      6147748667       9/13/2011       17:38:11
43553      6147749133       12/19/2011      7:29:34
43554      6147749133       1/10/2012       15:24:59
43555      6147787139       10/23/2012      10:48:34
43556      6147831380       1/12/2012       14:00:54
43557      6147836169       9/28/2012       14:18:37
43558      6147839340       9/28/2012       7:42:10
43559      6147958955       5/20/2011       17:52:57
43560      6148040550       11/23/2011      10:24:25
43561      6148043435       9/23/2011       11:34:04
43562      6148047023       2/15/2012       8:07:37
43563      6148047753       12/10/2011      14:46:41
43564      6148048062       10/24/2011      7:14:51
43565      6148052569       9/22/2012       8:57:04
43566      6148053372       5/23/2012       16:45:38
43567      6148053922       6/15/2012       8:37:58
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43568      6148055120       3/7/2012        18:28:05
43569      6148055382       3/28/2012       7:24:03
43570      6148055382       4/3/2012        16:05:35
43571      6148060085       12/9/2011       8:30:05
43572      6148060512       5/22/2012       18:37:52
43573      6148060521       11/30/2011      7:02:48
43574      6148063343       6/11/2011       8:31:12
43575      6148063343       9/21/2011       11:21:50
43576      6148065124       12/20/2011      12:13:23
43577      6148067194       10/1/2011       10:11:47
43578      6148085095       9/28/2011       11:11:51
43579      6148273802       10/1/2011       10:11:48
43580      6148322477       9/5/2012        7:11:21
43581      6148324178       3/13/2012       12:53:03
43582      6148326345       12/23/2011      15:25:31
43583      6148432825       9/16/2011       13:12:40
43584      6148434797       7/6/2012        16:50:04
43585      6148434799       12/31/2011      11:55:27
43586      6148435488       5/23/2012       14:42:10
43587      6148435617       6/21/2012       10:08:38
43588      6148861456       11/18/2011      13:28:15
43589      6148865983       5/4/2012        7:27:38
43590      6148936502       5/15/2012       19:07:10
43591      6149055320       12/6/2011       7:32:27
43592      6149151149       12/2/2011       15:21:02
43593      6149159277       1/27/2012       17:57:21
43594      6149179297       11/19/2011      8:35:55
43595      6149352726       1/14/2012       8:07:53
43596      6149352726       1/17/2012       17:36:40
43597      6149354660       3/19/2012       7:26:06
43598      6149370693       3/15/2012       7:02:35
43599      6149371245       4/12/2012       13:07:27
43600      6149371979       5/28/2011       10:13:56
43601      6149379027       10/15/2011      10:11:06
43602      6149379027       2/1/2012        18:28:11
43603      6149379120       11/19/2011      8:14:13
43604      6149408997       2/6/2012        16:45:58
43605      6149460355       6/12/2012       17:10:52
43606      6149462625       11/10/2011      7:23:33
43607      6149465303       3/30/2011       8:23:22
43608      6149465303       10/1/2011       10:21:21
43609      6149492610       5/2/2012        13:32:03
43610      6149610360       12/21/2011      9:53:56
43611      6149617522       11/26/2011      11:34:07
43612      6149621010       7/16/2012       19:25:59
43613      6149750804       8/16/2012       7:51:36
43614      6149750879       12/17/2011      13:36:23
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43615      6149757383       3/26/2012       18:25:36
43616      6149895329       2/16/2012       7:09:24
43617      6149895329       5/21/2012       7:04:00
43618      6149895329       5/21/2012       7:24:44
43619      6149897660       12/6/2011       7:22:35
43620      6152020155       11/14/2011      17:16:56
43621      6152025467       4/3/2012        10:42:42
43622      6152027312       12/7/2011       13:38:31
43623      6152027312       2/16/2012       8:41:39
43624      6152070847       2/21/2012       20:53:50
43625      6152072556       6/20/2012       16:53:04
43626      6152074784       9/21/2011       19:36:00
43627      6152076265       4/4/2014        10:10:14
43628      6152105100       3/26/2011       12:34:38
43629      6152105824       4/16/2011       15:09:43
43630      6152106700       7/13/2012       13:56:42
43631      6152106844       3/19/2012       7:21:00
43632      6152262626       6/19/2012       13:16:33
43633      6152435473       3/20/2012       17:41:37
43634      6152435473       9/8/2012        11:39:28
43635      6152439309       8/22/2012       11:23:45
43636      6152600149       1/28/2012       8:21:03
43637      6152603424       10/5/2012       12:40:42
43638      6152608068       9/20/2011       20:35:38
43639      6152683517       6/19/2012       15:43:28
43640      6152683517       7/5/2012        15:37:06
43641      6152755665       9/24/2012       13:20:36
43642      6152756717       3/15/2012       13:58:49
43643      6152758957       10/19/2011      8:03:24
43644      6152758975       7/3/2012        12:21:31
43645      6152759879       3/4/2012        12:34:23
43646      6152759879       5/2/2012        13:43:00
43647      6152786359       6/1/2011        12:11:10
43648      6152812952       2/26/2012       13:19:52
43649      6152890693       8/6/2012        16:27:03
43650      6152898360       9/19/2011       19:16:07
43651      6152898370       7/12/2012       13:09:03
43652      6152907735       2/20/2012       17:13:22
43653      6152930598       8/8/2011        12:10:17
43654      6152932330       6/15/2012       8:57:35
43655      6152932330       7/22/2012       12:14:01
43656      6152932621       7/29/2011       7:11:11
43657      6152934565       9/9/2011        18:13:05
43658      6152939994       10/11/2011      17:28:26
43659      6152940821       5/8/2012        12:32:04
43660      6152945438       10/10/2011      12:53:20
43661      6152945584       7/30/2012       18:40:42
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43662      6152947631       11/5/2011       11:32:37
43663      6152947705       5/14/2012       15:39:27
43664      6153054338       9/13/2011       7:19:33
43665      6153065375       10/1/2011       10:02:14
43666      6153065610       9/8/2011        17:52:56
43667      6153080915       3/19/2012       17:35:03
43668      6153083607       10/29/2011      11:49:55
43669      6153087117       5/16/2011       12:49:19
43670      6153087672       5/4/2012        14:52:50
43671      6153105913       7/16/2012       9:26:04
43672      6153108470       11/22/2011      18:49:13
43673      6153196067       1/17/2012       18:33:57
43674      6153202828       12/28/2011      11:06:14
43675      6153202828       5/21/2012       9:01:38
43676      6153259332       12/15/2011      8:40:43
43677      6153302417       10/13/2011      8:20:46
43678      6153303093       11/15/2011      15:38:42
43679      6153307809       10/25/2011      15:34:33
43680      6153308372       3/18/2011       9:38:23
43681      6153350688       10/31/2011      8:36:50
43682      6153352429       9/12/2011       14:24:14
43683      6153354572       7/13/2012       13:57:42
43684      6153363437       4/9/2012        17:51:52
43685      6153366246       4/3/2012        20:09:31
43686      6153368003       2/1/2012        8:31:03
43687      6153374199       1/12/2012       14:19:03
43688      6153376269       10/21/2011      13:27:41
43689      6153377521       11/10/2011      8:13:29
43690      6153394249       9/21/2012       15:29:20
43691      6153394249       10/11/2012      18:33:22
43692      6153395910       5/6/2012        18:13:44
43693      6153397249       10/1/2012       8:15:34
43694      6153470107       8/29/2012       11:01:19
43695      6153476230       10/19/2011      12:10:15
43696      6153476230       11/18/2011      13:34:16
43697      6153511850       12/7/2011       13:39:16
43698      6153516466       9/27/2012       16:45:05
43699      6153641466       5/23/2012       15:18:00
43700      6153645381       4/3/2012        18:25:36
43701      6153729389       1/3/2012        10:44:58
43702      6153745590       11/21/2011      8:29:57
43703      6153748471       1/20/2012       20:34:41
43704      6153748648       1/24/2012       20:11:02
43705      6153880408       2/18/2012       9:04:26
43706      6153883448       7/14/2011       16:32:08
43707      6153885747       10/6/2011       17:47:47
43708      6153886829       5/3/2012        8:10:10
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43709      6153886829       5/21/2012       8:18:59
43710      6153888083       2/10/2012       9:29:14
43711      6153891664       9/24/2011       9:47:45
43712      6153893706       8/2/2012        11:38:24
43713      6153896441       6/21/2012       18:51:02
43714      6153896755       9/16/2011       14:49:13
43715      6153942332       10/24/2011      8:07:59
43716      6153945736       9/27/2012       8:46:45
43717      6153973703       12/12/2011      16:23:03
43718      6153975749       9/13/2011       13:35:32
43719      6153975863       9/19/2011       19:17:29
43720      6154030975       9/5/2012        15:25:47
43721      6154035490       11/4/2011       9:00:29
43722      6154035490       12/15/2011      8:13:38
43723      6154038952       7/10/2012       11:54:37
43724      6154059169       5/1/2012        8:22:31
43725      6154059549       9/28/2011       10:32:22
43726      6154059585       11/18/2011      13:32:11
43727      6154060113       11/22/2011      18:43:38
43728      6154063071       6/21/2011       14:07:02
43729      6154140322       3/1/2014        15:05:34
43730      6154154399       3/15/2012       13:53:29
43731      6154162908       10/15/2012      16:11:47
43732      6154164039       10/19/2013      8:57:34
43733      6154183662       8/28/2012       12:00:16
43734      6154191222       12/7/2011       18:04:25
43735      6154192111       7/2/2012        17:09:04
43736      6154193851       10/17/2012      18:37:16
43737      6154197765       4/6/2012        15:57:41
43738      6154197765       4/18/2012       17:51:42
43739      6154197765       8/7/2012        17:44:10
43740      6154231650       5/3/2012        9:54:14
43741      6154232645       2/29/2012       17:33:18
43742      6154233923       5/14/2012       15:20:36
43743      6154240015       11/9/2011       8:46:23
43744      6154243736       11/29/2011      15:43:31
43745      6154248751       3/7/2012        10:01:25
43746      6154248751       5/21/2012       8:16:42
43747      6154249723       4/4/2012        18:52:48
43748      6154259701       12/2/2011       8:13:42
43749      6154268091       5/11/2011       17:02:33
43750      6154268115       3/25/2012       12:09:15
43751      6154275162       5/7/2012        8:14:11
43752      6154279618       4/3/2012        16:11:06
43753      6154282871       3/29/2012       12:51:05
43754      6154283201       12/24/2011      8:14:46
43755      6154288823       12/22/2011      9:53:04
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43756      6154288823       5/21/2012       8:15:11
43757      6154304080       9/23/2011       11:45:52
43758      6154380052       2/6/2012        16:59:54
43759      6154384076       9/29/2012       9:50:45
43760      6154397056       9/5/2012        15:25:37
43761      6154397769       12/1/2011       8:17:08
43762      6154406317       8/23/2011       19:06:47
43763      6154455678       12/6/2011       12:52:42
43764      6154487396       4/27/2012       18:20:33
43765      6154569706       8/16/2012       19:52:51
43766      6154740831       10/20/2011      15:38:54
43767      6154743571       4/15/2012       15:15:36
43768      6154744014       12/17/2011      11:38:04
43769      6154744014       7/28/2012       9:07:31
43770      6154744873       1/25/2012       20:29:56
43771      6154744873       2/28/2012       16:06:51
43772      6154744919       10/6/2011       10:25:04
43773      6154747022       9/19/2011       19:31:48
43774      6154749189       6/15/2012       8:54:14
43775      6154749189       6/26/2012       8:02:49
43776      6154749497       11/14/2011      17:29:42
43777      6154762743       10/8/2012       20:02:39
43778      6154766759       8/16/2012       9:27:52
43779      6154769060       9/1/2011        8:46:16
43780      6154775554       11/29/2011      15:03:51
43781      6154775639       9/28/2011       10:23:39
43782      6154790356       8/5/2011        18:46:32
43783      6154790501       3/26/2011       10:57:10
43784      6154792418       10/23/2012      16:23:33
43785      6154794266       10/24/2011      8:12:36
43786      6154798501       4/19/2012       20:23:13
43787      6154807800       10/5/2011       14:45:59
43788      6154811371       4/3/2012        20:13:55
43789      6154812012       9/20/2011       16:48:38
43790      6154812310       9/8/2011        18:54:22
43791      6154812575       1/13/2012       17:27:25
43792      6154813168       3/30/2012       16:18:24
43793      6154816246       4/24/2012       12:09:35
43794      6154820151       1/11/2012       8:54:58
43795      6154820375       5/6/2012        18:09:48
43796      6154822998       8/22/2012       11:12:23
43797      6154826554       9/27/2011       18:48:16
43798      6154826857       9/20/2012       8:48:10
43799      6154827418       10/5/2011       14:46:42
43800      6154830372       6/5/2012        14:45:51
43801      6154834154       7/23/2011       12:48:32
43802      6154834318       11/22/2011      19:36:51
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43803      6154835932       9/2/2011        12:39:53
43804      6154846895       3/9/2012        15:44:47
43805      6154849937       10/8/2012       20:00:54
43806      6154850403       10/10/2011      12:37:54
43807      6154850675       10/7/2011       8:07:55
43808      6154852507       11/1/2011       8:49:11
43809      6154852586       12/22/2011      9:09:37
43810      6154853875       5/10/2011       19:32:45
43811      6154857772       7/11/2011       8:22:27
43812      6154858901       4/13/2012       13:42:23
43813      6154858983       5/16/2012       16:49:06
43814      6154859005       12/20/2011      19:36:16
43815      6154859550       4/19/2012       20:09:34
43816      6154913470       4/18/2012       17:59:20
43817      6154914384       12/22/2011      8:31:34
43818      6154918881       11/27/2011      15:33:04
43819      6154951966       12/29/2011      11:09:58
43820      6154955700       11/4/2011       9:12:17
43821      6154955827       2/7/2012        20:20:57
43822      6154956340       3/27/2012       10:42:27
43823      6154956340       5/2/2012        13:06:33
43824      6154956713       4/25/2011       13:31:40
43825      6154960249       1/18/2012       9:51:50
43826      6154960671       9/15/2011       8:42:42
43827      6154968643       9/15/2011       7:36:43
43828      6154973094       7/14/2011       8:21:36
43829      6154973154       4/19/2012       20:15:15
43830      6154975749       2/14/2012       13:33:25
43831      6154975895       5/17/2011       9:40:20
43832      6154986400       10/4/2011       13:49:33
43833      6154987313       1/7/2012        9:56:14
43834      6154989974       9/3/2012        14:33:05
43835      6154990394       3/15/2012       18:57:01
43836      6154999903       7/13/2012       12:00:56
43837      6155003332       5/15/2012       19:15:06
43838      6155007752       7/5/2012        15:39:20
43839      6155008442       1/19/2012       18:30:19
43840      6155060758       3/21/2012       13:41:19
43841      6155061241       3/7/2012        9:43:07
43842      6155061628       9/19/2011       19:16:41
43843      6155062180       3/26/2011       12:24:27
43844      6155062869       4/26/2012       11:35:32
43845      6155062925       5/22/2012       18:40:24
43846      6155063326       4/13/2012       20:40:33
43847      6155063737       10/17/2011      8:35:27
43848      6155063937       8/29/2011       8:16:46
43849      6155065262       3/12/2012       20:38:16
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43850      6155067519       10/25/2011      16:20:56
43851      6155067519       4/23/2012       20:33:39
43852      6155069899       3/16/2012       16:08:48
43853      6155069948       3/23/2012       19:50:25
43854      6155079133       7/14/2012       8:25:58
43855      6155093599       11/18/2011      13:34:21
43856      6155120634       11/23/2011      9:51:49
43857      6155125605       7/15/2011       8:31:45
43858      6155128063       9/21/2011       19:36:00
43859      6155128681       11/11/2011      20:23:11
43860      6155134959       9/13/2012       15:21:46
43861      6155138390       6/9/2012        10:59:59
43862      6155160194       9/23/2011       18:47:48
43863      6155178545       10/1/2011       10:43:26
43864      6155215854       10/29/2011      11:49:52
43865      6155215854       11/15/2011      15:29:50
43866      6155226345       5/8/2012        12:40:48
43867      6155226345       5/21/2012       8:04:16
43868      6155226345       5/21/2012       8:19:01
43869      6155226345       6/8/2012        8:04:56
43870      6155227727       4/21/2012       16:17:40
43871      6155227727       10/16/2012      16:40:06
43872      6155250841       10/19/2011      8:04:44
43873      6155253437       9/8/2011        17:59:27
43874      6155257192       9/20/2012       8:44:49
43875      6155257331       11/3/2011       17:17:36
43876      6155257331       1/10/2012       12:47:59
43877      6155422276       9/26/2012       8:09:28
43878      6155424082       6/14/2012       15:53:23
43879      6155425486       4/20/2012       14:31:34
43880      6155455381       8/9/2012        14:02:24
43881      6155541916       11/19/2011      8:23:18
43882      6155541916       2/14/2012       15:19:28
43883      6155542912       6/7/2012        18:24:31
43884      6155543016       2/11/2012       15:35:09
43885      6155546396       10/15/2012      16:13:57
43886      6155549105       11/23/2011      14:42:38
43887      6155560743       4/3/2012        20:09:53
43888      6155569731       9/21/2011       19:35:47
43889      6155570002       2/9/2012        9:30:40
43890      6155572085       10/3/2011       8:09:24
43891      6155640552       5/15/2012       8:40:49
43892      6155663178       8/4/2011        8:16:14
43893      6155663410       7/18/2012       8:33:30
43894      6155667576       1/31/2012       10:08:35
43895      6155667576       5/24/2012       12:14:52
43896      6155668730       8/30/2012       9:45:43
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43897      6155680487       7/18/2012       18:31:09
43898      6155680711       10/4/2011       13:54:44
43899      6155681000       10/11/2012      7:50:17
43900      6155681183       3/13/2012       12:42:29
43901      6155684687       10/15/2011      9:56:31
43902      6155690087       4/20/2011       19:49:03
43903      6155690943       12/27/2011      14:36:31
43904      6155691297       11/14/2011      17:08:40
43905      6155691657       6/12/2012       8:29:42
43906      6155692686       10/19/2011      8:01:42
43907      6155693279       10/1/2012       8:15:04
43908      6155693352       9/12/2011       14:15:34
43909      6155693493       4/4/2012        8:07:57
43910      6155693493       5/22/2012       18:28:34
43911      6155695513       3/7/2012        18:43:32
43912      6155695554       3/12/2012       11:06:37
43913      6155699464       11/16/2011      19:54:33
43914      6155720073       12/20/2011      11:40:27
43915      6155730020       6/23/2012       8:35:22
43916      6155733444       5/30/2012       16:43:49
43917      6155734572       3/12/2012       11:19:20
43918      6155735192       6/17/2012       12:27:04
43919      6155735873       11/17/2011      16:46:12
43920      6155735877       12/3/2011       10:23:10
43921      6155736255       9/21/2011       19:46:06
43922      6155736287       7/27/2012       15:33:03
43923      6155736428       10/4/2011       13:52:26
43924      6155736615       3/19/2012       19:03:57
43925      6155736615       4/14/2012       9:01:32
43926      6155737243       9/29/2011       9:45:34
43927      6155737812       12/21/2011      10:18:10
43928      6155780369       1/5/2012        14:05:15
43929      6155780867       10/13/2011      8:30:38
43930      6155783401       9/23/2011       11:44:46
43931      6155783713       9/3/2012        14:53:55
43932      6155783719       9/22/2011       16:13:03
43933      6155784778       8/5/2011        18:48:20
43934      6155787670       1/3/2012        11:18:40
43935      6155787670       5/21/2012       8:15:26
43936      6155789055       12/20/2011      9:21:29
43937      6155798064       8/3/2012        12:31:39
43938      6155820328       7/30/2012       13:47:10
43939      6155820981       2/7/2012        20:24:49
43940      6155820981       6/2/2012        12:45:36
43941      6155821363       7/27/2012       20:38:37
43942      6155821588       5/4/2012        20:55:48
43943      6155822369       1/22/2014       14:06:00
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43944      6155822842       11/5/2011       10:00:20
43945      6155823263       9/14/2011       16:33:28
43946      6155824859       10/12/2012      16:58:45
43947      6155826170       11/18/2011      13:32:12
43948      6155826179       6/10/2012       14:35:51
43949      6155826179       7/19/2012       17:43:03
43950      6155826268       7/25/2011       17:20:59
43951      6155827152       2/14/2012       10:00:02
43952      6155829100       11/12/2011      9:36:25
43953      6155829194       3/8/2012        20:44:54
43954      6155829194       3/29/2012       11:34:13
43955      6155843771       12/28/2011      13:20:35
43956      6155843771       3/2/2012        19:14:19
43957      6155847956       1/31/2012       10:07:25
43958      6155856353       9/22/2011       15:26:24
43959      6155860217       11/3/2011       17:16:16
43960      6155862409       3/21/2012       13:49:24
43961      6155863235       9/19/2011       8:24:07
43962      6155863235       10/11/2011      16:11:38
43963      6155864213       6/7/2012        12:37:24
43964      6155865886       2/7/2012        8:06:48
43965      6155867566       11/26/2011      13:18:01
43966      6155867566       12/8/2011       19:48:48
43967      6155868677       9/29/2011       15:16:31
43968      6155870884       10/1/2011       10:03:09
43969      6155873366       2/18/2012       9:04:56
43970      6155890568       1/20/2012       11:33:26
43971      6155892364       3/7/2012        9:43:06
43972      6155892426       12/21/2011      18:45:34
43973      6155892684       9/19/2011       7:08:53
43974      6155894332       12/10/2011      12:24:32
43975      6155894859       10/15/2012      16:12:01
43976      6155894859       10/25/2012      19:39:48
43977      6155895613       9/12/2011       13:25:07
43978      6155896598       9/8/2011        19:48:58
43979      6155896640       9/20/2011       18:15:57
43980      6155898818       12/2/2011       8:32:06
43981      6155931230       12/5/2011       9:43:53
43982      6155932004       9/29/2011       15:54:25
43983      6155932137       9/14/2011       12:36:39
43984      6155932689       10/9/2012       11:44:27
43985      6155932795       5/7/2012        8:12:55
43986      6155932983       12/16/2011      16:29:31
43987      6155933793       5/6/2011        15:51:14
43988      6155935320       1/8/2012        13:22:34
43989      6155936248       4/1/2012        17:04:15
43990      6155936596       4/2/2012        8:59:14
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43991      6155936691       3/2/2012        18:46:46
43992      6155937321       7/7/2012        10:26:29
43993      6155939139       4/28/2012       8:12:13
43994      6155940734       7/14/2012       8:02:36
43995      6155941204       2/7/2012        20:19:48
43996      6155943206       11/18/2011      13:31:50
43997      6155945502       10/10/2011      11:56:26
43998      6155945503       12/1/2011       8:06:32
43999      6155948364       7/20/2011       15:03:33
44000      6155949808       5/21/2012       8:10:01
44001      6155962153       10/5/2011       14:08:51
44002      6155963217       11/4/2011       15:33:08
44003      6155964099       9/24/2011       9:17:31
44004      6155964869       4/4/2012        19:11:44
44005      6155967624       7/23/2011       12:48:11
44006      6155968582       4/7/2012        9:29:42
44007      6155968741       8/6/2012        16:28:33
44008      6155968894       3/26/2012       18:53:49
44009      6155969343       1/14/2012       8:27:07
44010      6155980262       9/20/2011       16:45:50
44011      6155980586       9/8/2011        19:30:41
44012      6155982303       9/27/2011       18:23:54
44013      6155983083       3/25/2012       12:07:36
44014      6155983577       10/4/2011       13:20:48
44015      6155984899       11/28/2011      11:26:44
44016      6156041639       8/13/2011       10:26:35
44017      6156042443       10/8/2011       11:37:23
44018      6156043388       11/5/2011       10:02:21
44019      6156045995       10/20/2011      15:43:20
44020      6156090950       9/27/2012       16:27:27
44021      6156093336       4/1/2012        16:07:05
44022      6156133776       9/26/2011       9:30:04
44023      6156134741       12/1/2011       15:04:24
44024      6156135285       10/19/2011      12:10:05
44025      6156137350       11/21/2011      8:15:36
44026      6156189449       10/14/2011      19:25:26
44027      6156241319       9/19/2012       8:03:14
44028      6156242855       4/20/2012       20:52:43
44029      6156243163       6/13/2012       8:05:19
44030      6156278899       10/18/2011      12:22:01
44031      6156313172       8/23/2012       11:52:41
44032      6156332761       9/8/2011        19:30:37
44033      6156338874       11/18/2011      12:54:41
44034      6156338976       7/2/2012        15:32:29
44035      6156358776       5/8/2012        12:42:19
44036      6156360771       5/11/2012       10:45:08
44037      6156363816       10/3/2011       8:12:42
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44038      6156364674       7/2/2012        17:24:37
44039      6156364674       7/6/2012        16:47:12
44040      6156365246       3/12/2012       11:07:25
44041      6156425053       12/21/2011      10:16:53
44042      6156531378       10/8/2012       20:06:13
44043      6156533769       9/10/2012       8:44:49
44044      6156535438       12/10/2011      12:19:49
44045      6156539109       7/24/2012       14:44:57
44046      6156554068       9/13/2011       17:53:48
44047      6156634360       6/16/2012       15:29:22
44048      6156680380       5/31/2012       15:09:02
44049      6156689912       9/16/2011       13:33:50
44050      6156702170       4/30/2012       14:36:29
44051      6156810690       5/25/2012       8:07:43
44052      6156813103       9/28/2011       11:12:40
44053      6156813546       2/3/2012        8:32:54
44054      6156817662       2/14/2012       15:10:04
44055      6156817802       4/14/2012       9:30:25
44056      6156817802       4/19/2012       20:11:53
44057      6156865264       5/17/2012       16:40:45
44058      6156865264       5/30/2012       16:48:56
44059      6156868314       3/29/2011       16:20:54
44060      6156869953       1/3/2012        17:11:06
44061      6156899769       5/7/2012        8:11:53
44062      6156911845       10/7/2012       12:41:26
44063      6156912933       4/2/2012        17:42:57
44064      6156922027       8/16/2011       17:44:28
44065      6156928985       1/11/2012       8:59:06
44066      6156935247       11/14/2011      17:05:33
44067      6156935247       11/28/2011      17:55:01
44068      6157070338       12/7/2011       15:14:58
44069      6157072487       7/13/2012       13:59:34
44070      6157073502       2/3/2012        20:14:33
44071      6157079142       10/7/2011       8:15:33
44072      6157080693       9/7/2012        15:43:16
44073      6157086901       10/18/2011      12:31:21
44074      6157102920       11/27/2011      15:32:21
44075      6157104322       4/14/2012       9:00:56
44076      6157130335       9/20/2012       20:57:44
44077      6157138511       9/25/2012       14:54:59
44078      6157139525       7/12/2011       12:21:40
44079      6157150314       1/8/2014        19:19:06
44080      6157153207       3/10/2011       16:39:02
44081      6157153207       9/24/2011       9:44:41
44082      6157153207       10/20/2011      16:23:30
44083      6157153495       4/9/2012        18:14:20
44084      6157196577       3/8/2012        7:03:56
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44085      6157201038       12/5/2011       9:43:30
44086      6157201038       12/9/2011       8:17:08
44087      6157201858       2/17/2012       9:17:26
44088      6157201938       3/28/2012       8:14:57
44089      6157202827       11/23/2011      9:37:23
44090      6157206073       10/31/2011      8:34:54
44091      6157206073       11/14/2011      15:06:32
44092      6157248291       12/10/2011      14:43:29
44093      6157302366       6/9/2012        10:33:25
44094      6157302965       10/24/2012      14:48:17
44095      6157381483       8/25/2011       17:00:12
44096      6157388464       4/23/2012       8:10:36
44097      6157398157       7/30/2011       8:34:41
44098      6157398408       1/6/2012        14:39:48
44099      6157532324       9/9/2011        17:59:42
44100      6157532630       1/4/2012        11:23:12
44101      6157534899       11/7/2011       9:35:37
44102      6157536332       1/20/2012       11:31:22
44103      6157537395       2/18/2012       9:04:46
44104      6157537906       3/20/2012       9:16:38
44105      6157538352       9/22/2011       15:23:17
44106      6157678954       6/27/2012       18:05:31
44107      6157721401       3/2/2012        18:54:03
44108      6157724070       2/14/2012       10:02:09
44109      6157726551       9/7/2012        15:51:37
44110      6157726992       1/9/2012        18:07:03
44111      6157726994       11/15/2011      20:09:00
44112      6157750543       12/17/2011      12:02:32
44113      6157753692       1/21/2012       8:39:58
44114      6157758641       2/14/2012       10:06:19
44115      6157793665       1/8/2012        13:21:55
44116      6157850069       7/25/2011       16:21:59
44117      6157855874       4/27/2012       18:19:22
44118      6157858573       1/24/2012       17:06:15
44119      6157858573       2/20/2012       17:11:34
44120      6157859792       1/8/2012        13:21:14
44121      6157882023       9/19/2011       8:11:40
44122      6157882731       10/13/2011      8:21:00
44123      6157883020       12/20/2011      17:11:14
44124      6157887259       8/8/2012        8:18:03
44125      6157888821       3/14/2012       19:31:59
44126      6157888821       4/10/2012       16:12:43
44127      6157925295       11/12/2011      9:38:58
44128      6157961710       4/12/2012       12:20:56
44129      6157969343       10/6/2011       17:53:43
44130      6157992694       4/2/2012        9:01:31
44131      6157992694       5/22/2012       18:21:38
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44132      6158040219       1/13/2012       17:28:30
44133      6158040253       8/6/2012        16:35:34
44134      6158040471       3/8/2012        9:22:44
44135      6158043541       2/24/2012       20:56:49
44136      6158043545       2/14/2012       15:45:01
44137      6158044185       1/9/2012        18:16:01
44138      6158094093       10/20/2012      16:37:34
44139      6158095019       7/26/2012       19:21:08
44140      6158096532       9/17/2011       10:21:08
44141      6158096532       10/29/2011      11:37:04
44142      6158097777       6/15/2012       16:23:43
44143      6158098980       11/29/2011      15:45:06
44144      6158099994       3/12/2012       11:19:37
44145      6158106085       5/26/2012       14:26:22
44146      6158126419       10/17/2011      8:09:21
44147      6158127839       1/16/2012       17:16:05
44148      6158128382       9/24/2012       13:11:26
44149      6158128707       5/14/2011       11:56:17
44150      6158154825       9/8/2011        19:30:41
44151      6158159726       12/24/2011      8:11:59
44152      6158181765       10/22/2011      12:32:49
44153      6158183185       3/14/2012       19:37:09
44154      6158184319       11/23/2011      9:12:04
44155      6158189006       11/23/2011      10:33:38
44156      6158283092       11/22/2011      19:30:41
44157      6158284158       9/20/2012       8:44:54
44158      6158285434       7/31/2012       15:39:36
44159      6158286361       12/10/2011      12:16:13
44160      6158286771       1/25/2012       20:29:38
44161      6158288408       10/6/2011       16:39:08
44162      6158289052       9/17/2011       10:05:09
44163      6158300140       12/10/2011      12:18:37
44164      6158301500       11/7/2011       9:27:46
44165      6158302490       6/23/2012       16:25:47
44166      6158305617       3/29/2012       16:33:26
44167      6158305617       5/31/2012       15:01:10
44168      6158381144       1/12/2012       14:35:19
44169      6158385535       10/5/2011       10:59:08
44170      6158386205       12/12/2011      12:20:54
44171      6158394203       4/12/2012       17:58:36
44172      6158531319       2/13/2012       18:30:56
44173      6158532841       10/15/2012      9:53:30
44174      6158699527       5/3/2012        8:07:15
44175      6158699650       1/12/2012       8:18:36
44176      6158706025       10/18/2012      16:39:43
44177      6158790042       9/20/2012       8:50:48
44178      6158796245       11/18/2011      13:05:06
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44179      6158797260       6/27/2012       12:07:30
44180      6158797588       11/23/2011      14:55:27
44181      6158812210       10/11/2011      17:28:07
44182      6158816442       10/7/2011       17:40:03
44183      6158868937       3/2/2012        9:25:16
44184      6158875437       5/25/2012       8:07:39
44185      6158876177       5/17/2012       11:51:08
44186      6158877348       12/16/2011      16:32:44
44187      6158886266       1/5/2012        12:02:40
44188      6158929365       9/4/2012        15:59:53
44189      6158929365       9/17/2012       8:40:17
44190      6158938702       10/20/2012      16:24:21
44191      6159009488       11/17/2011      14:34:51
44192      6159161279       3/22/2012       8:10:43
44193      6159252686       9/22/2011       16:13:13
44194      6159263002       10/12/2012      16:59:52
44195      6159340069       10/10/2011      11:58:11
44196      6159341963       9/27/2011       18:44:27
44197      6159342419       3/29/2012       16:32:58
44198      6159350841       9/3/2012        14:33:40
44199      6159393626       11/16/2011      20:04:32
44200      6159434155       12/2/2011       8:02:07
44201      6159434155       12/19/2011      8:16:02
44202      6159439821       10/12/2011      8:01:25
44203      6159445423       7/28/2012       9:01:49
44204      6159446727       9/6/2012        12:29:55
44205      6159454088       12/24/2011      8:07:09
44206      6159462352       1/6/2012        14:40:35
44207      6159466169       5/21/2012       8:35:47
44208      6159466667       4/26/2011       20:01:18
44209      6159476326       3/8/2012        9:13:11
44210      6159573143       12/10/2011      12:21:02
44211      6159578741       12/27/2011      14:16:36
44212      6159620467       12/3/2011       9:46:47
44213      6159622525       7/26/2012       19:15:16
44214      6159623661       3/13/2012       17:07:17
44215      6159678817       2/13/2012       18:47:49
44216      6159715337       3/13/2012       18:31:06
44217      6159715851       1/2/2012        12:09:35
44218      6159721149       8/8/2012        8:17:09
44219      6159723894       6/26/2012       16:14:57
44220      6159727661       10/12/2011      12:14:03
44221      6159727773       9/29/2011       15:53:05
44222      6159727773       10/28/2011      13:41:16
44223      6159728183       11/9/2011       8:20:37
44224      6159732569       11/28/2011      11:27:15
44225      6159732569       12/7/2011       15:13:46
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44226      6159739173       10/14/2011      12:52:37
44227      6159742300       12/29/2011      19:47:07
44228      6159742446       11/17/2011      16:08:52
44229      6159742549       10/22/2011      12:38:50
44230      6159743396       4/9/2012        13:46:10
44231      6159748496       8/30/2012       7:04:27
44232      6159750463       7/5/2012        15:35:20
44233      6159750463       9/20/2012       20:59:06
44234      6159770072       12/26/2011      9:05:38
44235      6159770249       1/9/2012        18:12:40
44236      6159771263       10/8/2011       11:52:54
44237      6159772654       11/28/2011      12:08:42
44238      6159774096       1/7/2012        9:54:02
44239      6159776510       11/29/2011      15:03:11
44240      6159778101       3/15/2012       19:07:38
44241      6159832140       3/13/2012       16:56:07
44242      6159950462       4/29/2011       20:23:42
44243      6159956783       5/30/2012       16:57:20
44244      6162042603       12/7/2011       13:53:09
44245      6162056757       10/1/2011       9:40:44
44246      6162069548       10/17/2012      18:29:32
44247      6162069965       12/7/2011       15:04:33
44248      6162128082       5/21/2012       7:55:29
44249      6162128082       5/21/2012       17:39:49
44250      6162171653       10/8/2012       7:01:42
44251      6162178671       5/25/2012       16:59:02
44252      6162180068       11/19/2011      8:10:58
44253      6162180168       1/7/2012        8:38:34
44254      6162328207       4/3/2012        10:17:22
44255      6162402765       12/18/2011      16:22:47
44256      6162408875       1/12/2012       14:15:30
44257      6162414739       2/28/2012       13:24:50
44258      6162457014       9/19/2012       7:53:09
44259      6162498107       11/26/2011      11:14:07
44260      6162500434       12/8/2011       12:25:23
44261      6162529978       6/16/2012       15:26:58
44262      6162554095       7/10/2012       7:22:54
44263      6162648656       10/25/2012      12:19:49
44264      6162720224       9/12/2012       15:01:39
44265      6162913628       9/26/2011       8:46:31
44266      6162917977       2/29/2012       7:14:29
44267      6162919256       6/22/2012       7:06:18
44268      6162919371       7/19/2012       17:56:07
44269      6162924607       4/28/2012       8:11:22
44270      6162951716       10/15/2011      10:17:34
44271      6162952815       10/17/2011      7:20:47
44272      6162980288       9/19/2012       7:52:49
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44273      6162984548       10/28/2011      14:14:43
44274      6162984548       11/12/2011      9:19:49
44275      6162994907       10/12/2011      11:34:10
44276      6162996279       12/5/2011       18:56:43
44277      6163040847       9/10/2012       7:34:53
44278      6163047321       11/15/2011      16:06:30
44279      6163049180       3/29/2012       16:41:50
44280      6163074130       2/29/2012       17:41:36
44281      6163084119       5/6/2012        18:05:29
44282      6163182244       1/5/2012        17:19:06
44283      6163186150       11/12/2011      10:12:17
44284      6163186150       2/3/2012        7:20:32
44285      6163188000       6/7/2012        14:34:16
44286      6163189081       12/3/2011       9:58:26
44287      6163222854       9/20/2011       16:35:32
44288      6163228407       10/27/2011      15:09:55
44289      6163228407       11/15/2011      16:08:45
44290      6163250645       9/1/2012        9:07:21
44291      6163296627       2/9/2012        7:17:32
44292      6163346198       2/13/2012       7:21:12
44293      6163347040       8/25/2012       11:00:53
44294      6163348987       11/17/2011      16:33:04
44295      6163376689       8/21/2012       13:49:09
44296      6163752377       8/8/2012        16:11:12
44297      6164026072       10/5/2011       13:58:38
44298      6164055455       1/5/2012        14:00:21
44299      6164058810       9/8/2012        11:43:10
44300      6164221465       3/20/2012       17:44:56
44301      6164272073       10/25/2011      16:17:20
44302      6164277151       5/6/2012        17:21:41
44303      6164301872       10/18/2011      12:53:24
44304      6164320754       10/11/2012      11:58:18
44305      6164324388       8/25/2012       11:02:04
44306      6164372127       7/2/2012        15:17:40
44307      6164372127       7/11/2012       17:20:13
44308      6164382117       8/27/2012       8:17:29
44309      6164433570       6/3/2011        7:02:08
44310      6164500774       3/10/2011       17:29:35
44311      6164502986       11/14/2011      16:13:41
44312      6164600507       10/19/2011      7:22:40
44313      6164603844       3/15/2012       7:01:31
44314      6164771338       11/8/2011       13:43:01
44315      6164772038       12/23/2011      14:43:22
44316      6164774033       11/30/2011      7:29:54
44317      6164829814       12/10/2011      12:39:09
44318      6164856782       11/14/2011      14:57:28
44319      6164858749       10/7/2011       7:19:17
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44320      6164995066       11/25/2011      17:36:26
44321      6165028198       3/23/2012       11:29:57
44322      6165100613       12/26/2011      14:56:58
44323      6165103496       9/13/2011       17:26:17
44324      6165107072       9/27/2012       7:32:42
44325      6165109224       3/21/2012       13:53:45
44326      6165109769       5/2/2012        13:23:46
44327      6165160043       1/7/2012        8:50:11
44328      6165165599       9/29/2011       15:24:05
44329      6165168825       11/12/2011      10:16:47
44330      6165169992       9/16/2011       12:53:39
44331      6165460505       9/2/2011        12:45:33
44332      6165460790       9/17/2011       9:22:20
44333      6165501764       10/10/2012      19:19:47
44334      6165503679       11/12/2011      9:50:24
44335      6165505001       7/30/2012       13:30:45
44336      6165506645       10/20/2011      15:23:21
44337      6165509722       9/26/2011       8:41:57
44338      6165572097       5/1/2012        14:04:22
44339      6165582534       9/9/2011        18:32:15
44340      6165586605       4/3/2012        16:10:32
44341      6165586605       6/28/2012       14:13:56
44342      6165607660       10/4/2011       13:15:40
44343      6165607660       10/18/2011      12:13:13
44344      6165661735       9/21/2011       19:34:15
44345      6165816149       9/27/2011       18:43:14
44346      6165816149       11/29/2011      15:40:38
44347      6165816491       10/22/2011      13:02:26
44348      6165816491       1/16/2012       17:09:51
44349      6165816719       6/27/2011       7:45:09
44350      6165891876       9/28/2011       10:17:21
44351      6165892894       10/25/2012      12:19:00
44352      6165895232       2/13/2012       7:12:30
44353      6165895259       10/21/2011      13:09:13
44354      6165896838       10/8/2011       9:40:30
44355      6165897816       2/3/2012        7:11:25
44356      6165898433       11/23/2011      10:22:32
44357      6166082396       10/3/2012       19:47:15
44358      6166102392       12/7/2011       13:56:50
44359      6166103643       5/8/2012        13:18:45
44360      6166171566       5/5/2012        8:36:29
44361      6166173684       1/12/2012       10:17:01
44362      6166330084       1/3/2012        11:10:16
44363      6166330836       2/4/2012        8:16:47
44364      6166330836       5/21/2012       7:24:26
44365      6166330917       3/28/2012       18:21:33
44366      6166331470       1/5/2012        17:27:10
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44367      6166331600       3/28/2011       15:09:22
44368      6166331600       10/14/2011      19:15:06
44369      6166334239       10/12/2011      7:29:16
44370      6166338279       2/16/2012       7:24:48
44371      6166338877       9/28/2012       14:25:20
44372      6166339636       3/21/2012       13:40:15
44373      6166341031       4/19/2012       14:33:03
44374      6166341031       10/5/2012       18:17:33
44375      6166344231       9/5/2012        7:09:51
44376      6166345894       11/17/2011      15:04:16
44377      6166350264       10/15/2011      10:15:01
44378      6166367546       9/14/2011       11:55:12
44379      6166389817       12/14/2011      13:39:38
44380      6166437773       9/24/2011       9:04:53
44381      6166482591       6/18/2012       7:48:51
44382      6166488710       4/30/2012       15:04:48
44383      6166488710       5/10/2012       16:08:23
44384      6166488710       6/29/2012       17:39:21
44385      6166488710       7/25/2012       12:11:14
44386      6166665803       12/28/2011      17:46:35
44387      6166850455       9/8/2011        17:55:09
44388      6166902191       9/26/2011       8:23:16
44389      6166902191       10/25/2011      16:13:06
44390      6166908041       9/9/2011        7:39:20
44391      6167065208       7/2/2012        15:16:33
44392      6167067419       11/28/2011      17:52:36
44393      6167068534       10/19/2012      19:02:32
44394      6167068702       1/12/2012       7:15:22
44395      6167068784       10/22/2012      17:55:15
44396      6167109014       9/7/2012        15:40:04
44397      6167173047       11/5/2011       11:10:28
44398      6167178487       2/25/2012       10:55:42
44399      6167199395       1/19/2012       17:52:23
44400      6167232617       10/14/2012      15:16:06
44401      6167245014       8/30/2012       7:48:31
44402      6167245949       11/12/2011      10:10:24
44403      6167249397       11/18/2011      13:22:38
44404      6167249940       5/17/2012       16:50:55
44405      6167264532       2/24/2011       11:31:09
44406      6167343883       9/21/2011       11:52:13
44407      6167450045       10/8/2011       10:58:09
44408      6167529154       11/3/2011       17:08:03
44409      6167550441       3/6/2012        12:40:33
44410      6167804408       12/21/2011      10:03:39
44411      6167956316       1/10/2012       15:24:46
44412      6167958848       11/27/2011      15:36:25
44413      6167995312       5/11/2012       18:33:13
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44414      6167995312       6/5/2012        7:13:48
44415      6167995312       6/29/2012       9:31:37
44416      6168085249       2/11/2012       11:01:13
44417      6168086235       2/20/2012       16:46:12
44418      6168088020       3/3/2012        8:48:59
44419      6168131304       1/20/2012       11:24:32
44420      6168137096       3/29/2012       16:37:51
44421      6168186387       1/12/2012       14:27:15
44422      6168199273       12/7/2011       17:59:59
44423      6168211529       10/5/2011       10:43:42
44424      6168213145       11/1/2011       7:57:20
44425      6168216455       3/14/2012       19:27:47
44426      6168227612       3/30/2012       16:21:07
44427      6168227612       6/26/2012       12:31:10
44428      6168228695       11/15/2011      15:25:39
44429      6168246323       11/28/2011      16:56:03
44430      6168246366       7/26/2012       11:53:29
44431      6168246366       9/22/2012       9:01:23
44432      6168247306       11/7/2011       8:02:20
44433      6168247681       10/21/2011      13:19:07
44434      6168264156       9/24/2011       9:36:47
44435      6168266729       9/20/2011       18:11:06
44436      6168268588       10/10/2011      11:40:40
44437      6168283734       2/8/2012        7:49:09
44438      6168288821       1/14/2012       8:07:25
44439      6168341886       7/11/2012       9:27:36
44440      6168344325       5/9/2012        7:38:12
44441      6168351703       3/17/2012       8:48:12
44442      6168351703       7/6/2012        14:44:31
44443      6168367830       12/21/2011      10:03:52
44444      6168369477       10/5/2011       14:25:42
44445      6168421046       3/28/2012       18:12:23
44446      6168431934       1/27/2012       17:51:28
44447      6168480659       9/27/2012       16:25:17
44448      6168480737       9/28/2011       10:23:00
44449      6168480737       11/4/2011       7:17:33
44450      6168560450       7/2/2012        17:14:43
44451      6168626751       5/2/2012        13:37:13
44452      6168627709       9/21/2011       11:46:39
44453      6168627972       10/15/2011      9:52:43
44454      6168818200       10/17/2011      7:09:12
44455      6168852507       1/29/2012       16:20:23
44456      6168854775       3/16/2012       15:46:39
44457      6168854775       3/27/2012       15:00:59
44458      6168863328       3/14/2012       7:14:53
44459      6168890151       11/28/2011      11:16:03
44460      6168892321       10/18/2012      16:30:22
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44461      6168908623       5/21/2012       8:43:50
44462      6168909541       8/2/2011        16:49:16
44463      6168933844       10/21/2011      12:29:24
44464      6168939288       3/7/2012        18:39:26
44465      6168940813       9/30/2013       19:59:36
44466      6168943988       12/23/2011      13:45:01
44467      6169010503       6/8/2012        16:56:04
44468      6169145871       9/6/2012        12:27:26
44469      6169146279       6/16/2012       8:43:17
44470      6169146631       3/21/2012       13:39:24
44471      6169151151       9/8/2011        17:59:12
44472      6169157114       2/17/2012       8:59:54
44473      6169161469       11/8/2011       14:21:57
44474      6169162132       7/11/2011       7:22:49
44475      6169163817       3/28/2012       18:09:40
44476      6169293317       8/20/2012       7:42:28
44477      6169293766       10/8/2011       10:50:29
44478      6169355503       9/26/2011       8:34:42
44479      6169495740       10/13/2012      9:14:58
44480      6169545914       4/2/2012        7:17:00
44481      6169942468       3/29/2012       16:40:27
44482      6172011480       8/8/2012        7:05:53
44483      6172016841       5/29/2012       17:01:38
44484      6172021182       1/9/2012        18:03:34
44485      6172021725       7/20/2012       14:50:32
44486      6172021725       8/11/2012       9:17:23
44487      6172021901       3/20/2012       17:34:40
44488      6172068323       6/23/2012       8:26:37
44489      6172126494       10/14/2011      12:39:59
44490      6172166201       2/18/2012       8:50:34
44491      6172166903       9/8/2011        19:46:03
44492      6172171340       10/17/2011      11:13:52
44493      6172307324       2/7/2012        7:12:42
44494      6172407433       7/3/2012        12:58:11
44495      6172575759       9/26/2011       8:29:44
44496      6172590740       2/7/2012        7:12:47
44497      6172597659       10/31/2011      7:19:53
44498      6172597675       3/7/2012        18:26:49
44499      6172700779       4/5/2012        15:50:31
44500      6172765691       2/29/2012       17:40:13
44501      6172810669       12/12/2011      12:13:22
44502      6172810669       1/13/2012       17:31:41
44503      6172832002       12/29/2011      11:20:00
44504      6172853081       10/8/2011       9:08:30
44505      6172859436       8/10/2011       18:17:58
44506      6172905477       8/16/2012       7:46:09
44507      6172931550       4/24/2012       11:51:35
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44508      6173041487       10/4/2011       13:44:32
44509      6173046020       11/21/2011      7:49:05
44510      6173047727       11/12/2011      9:46:24
44511      6173047784       10/20/2011      15:58:19
44512      6173066126       6/9/2012        10:43:01
44513      6173067449       10/17/2011      7:41:50
44514      6173080861       12/10/2011      14:32:58
44515      6173120600       4/10/2012       11:45:58
44516      6173126239       12/6/2011       14:47:21
44517      6173126548       11/21/2011      7:40:30
44518      6173127469       3/28/2012       7:16:11
44519      6173129673       9/24/2011       9:04:35
44520      6173188179       9/8/2011        17:49:59
44521      6173192728       9/19/2011       7:17:03
44522      6173192858       6/21/2011       13:45:06
44523      6173193025       11/23/2011      14:48:27
44524      6173194458       11/25/2011      18:04:10
44525      6173195014       7/3/2012        15:59:18
44526      6173196723       11/28/2011      11:17:13
44527      6173199825       3/13/2012       16:35:45
44528      6173311260       12/16/2011      15:26:57
44529      6173311981       12/17/2011      11:20:15
44530      6173314975       3/21/2012       13:43:40
44531      6173359066       8/3/2011        11:21:07
44532      6173474077       10/16/2012      16:34:48
44533      6173680270       7/30/2012       13:11:16
44534      6173721142       9/19/2011       7:21:05
44535      6173863824       9/19/2011       19:27:02
44536      6173882130       9/14/2011       7:01:57
44537      6173882130       10/19/2011      7:46:47
44538      6173884868       3/19/2012       7:03:39
44539      6173903155       4/9/2012        17:57:30
44540      6174076009       7/3/2012        7:09:55
44541      6174077621       1/10/2012       11:43:06
44542      6174077702       3/26/2012       18:33:47
44543      6174078912       1/16/2012       17:19:58
44544      6174127062       1/23/2012       7:01:39
44545      6174137643       1/3/2012        16:21:56
44546      6174158898       7/23/2012       15:13:26
44547      6174161805       8/4/2012        7:25:49
44548      6174165658       2/28/2012       13:24:21
44549      6174168541       8/8/2012        7:05:51
44550      6174169917       11/22/2011      19:04:31
44551      6174177994       5/11/2012       7:08:55
44552      6174483887       1/21/2012       8:17:54
44553      6174488195       9/27/2012       16:27:16
44554      6174498279       9/22/2011       15:01:48
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44555      6174552957       9/26/2011       8:14:28
44556      6174590016       6/18/2012       7:47:40
44557      6174592019       8/8/2012        16:04:38
44558      6174596393       7/11/2012       9:34:14
44559      6174612284       10/7/2011       7:13:31
44560      6174612284       10/15/2011      9:19:00
44561      6174801435       11/19/2011      8:34:55
44562      6175010151       1/25/2012       9:10:47
44563      6175013371       4/20/2012       14:12:37
44564      6175013403       6/12/2012       7:14:51
44565      6175015640       12/12/2011      7:15:14
44566      6175016869       12/16/2011      15:27:03
44567      6175106078       2/10/2012       7:18:53
44568      6175106425       1/5/2012        17:25:31
44569      6175106425       4/27/2012       7:39:26
44570      6175121405       4/18/2012       7:07:28
44571      6175122533       5/14/2012       7:08:17
44572      6175129948       10/12/2011      7:19:27
44573      6175134585       4/11/2012       7:07:45
44574      6175157251       9/25/2012       14:49:11
44575      6175158629       9/12/2011       13:54:40
44576      6175191493       9/19/2011       19:07:10
44577      6175385746       1/19/2012       7:23:01
44578      6175435670       1/6/2012        7:08:59
44579      6175435670       1/18/2012       16:48:36
44580      6175438649       7/18/2011       7:27:20
44581      6175486588       9/8/2011        18:42:15
44582      6175699360       1/18/2012       16:35:35
44583      6175866367       12/10/2011      12:40:38
44584      6175906357       10/12/2011      7:53:35
44585      6175920426       8/18/2011       8:14:23
44586      6175923975       10/17/2011      7:54:11
44587      6175924250       2/13/2012       7:01:42
44588      6175946152       9/8/2011        18:24:40
44589      6175951384       5/9/2011        17:22:10
44590      6175951384       9/15/2011       9:14:09
44591      6175952150       9/17/2011       9:13:10
44592      6175953932       11/28/2011      11:08:58
44593      6175957504       5/17/2012       7:02:46
44594      6176025856       12/13/2011      16:48:44
44595      6176331664       7/26/2012       12:16:24
44596      6176407761       6/12/2012       17:03:15
44597      6176424232       9/8/2011        19:26:49
44598      6176425273       1/7/2012        8:08:59
44599      6176454533       8/3/2012        7:48:04
44600      6176454533       9/28/2012       16:48:29
44601      6176458473       10/13/2012      9:15:11
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44602      6176533209       5/5/2011        13:09:51
44603      6176535812       9/30/2011       10:11:40
44604      6176535812       12/10/2011      14:32:43
44605      6176539552       3/29/2012       11:24:19
44606      6176693560       1/23/2012       19:37:29
44607      6176699246       1/19/2012       7:07:40
44608      6176716540       1/25/2012       9:10:45
44609      6176716540       2/10/2012       7:11:41
44610      6176719114       9/28/2012       16:56:18
44611      6176786793       11/15/2011      15:10:14
44612      6176800182       12/17/2011      11:45:57
44613      6176803394       11/9/2011       7:45:25
44614      6176805967       12/15/2011      8:29:36
44615      6176806520       10/5/2011       14:26:48
44616      6176826695       8/25/2011       16:29:51
44617      6176861965       10/10/2012      19:09:26
44618      6176868425       3/16/2012       10:36:05
44619      6176948051       10/17/2011      7:01:13
44620      6176991975       10/8/2011       10:31:26
44621      6176991975       11/28/2011      16:38:17
44622      6176995439       3/7/2012        18:47:24
44623      6176995465       3/22/2012       14:18:52
44624      6177498317       11/26/2011      12:23:42
44625      6177502429       9/8/2012        11:14:35
44626      6177505666       9/21/2011       11:21:59
44627      6177556272       6/4/2012        8:07:05
44628      6177559143       12/5/2011       18:21:38
44629      6177560204       8/3/2011        11:21:07
44630      6177560204       11/7/2011       7:56:15
44631      6177565089       5/12/2012       10:25:09
44632      6177638811       2/29/2012       17:55:11
44633      6177760528       10/8/2011       10:32:07
44634      6177802941       5/19/2012       15:52:47
44635      6177805144       6/22/2012       7:09:17
44636      6177805144       6/28/2012       14:13:31
44637      6177805844       6/21/2012       10:08:18
44638      6177808331       1/13/2012       17:11:32
44639      6177843235       12/2/2011       7:35:24
44640      6177850572       8/20/2012       18:36:13
44641      6177858529       3/21/2012       7:01:02
44642      6177926458       9/21/2011       11:22:07
44643      6177927072       10/5/2011       14:38:36
44644      6177945960       12/3/2011       9:36:35
44645      6177947490       6/13/2012       7:03:30
44646      6177974792       11/29/2011      15:22:12
44647      6177976652       4/4/2012        18:42:20
44648      6177991986       11/28/2011      11:44:10
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44649      6178034291       12/1/2011       14:48:44
44650      6178034482       2/6/2012        16:44:19
44651      6178034553       5/29/2012       7:07:00
44652      6178169998       10/17/2012      9:38:05
44653      6178170820       10/1/2011       9:24:15
44654      6178185486       11/25/2011      17:24:01
44655      6178202840       11/28/2011      17:33:40
44656      6178202993       10/31/2011      7:32:40
44657      6178207299       10/19/2011      7:21:31
44658      6178282579       2/16/2012       7:09:24
44659      6178288778       4/9/2012        17:44:50
44660      6178349192       7/30/2012       13:11:23
44661      6178351728       10/15/2011      9:45:39
44662      6178355639       12/27/2011      14:27:07
44663      6178383822       11/23/2011      14:29:06
44664      6178387861       2/2/2012        7:06:53
44665      6178387861       2/16/2012       7:02:56
44666      6178399233       10/1/2011       9:24:48
44667      6178399233       12/12/2011      16:27:17
44668      6178428278       3/15/2012       18:52:37
44669      6178490989       10/22/2011      12:18:48
44670      6178493493       7/22/2011       13:19:34
44671      6178511647       3/5/2012        13:18:00
44672      6178516607       10/20/2011      15:58:35
44673      6178518205       9/15/2011       7:12:25
44674      6178523859       12/2/2011       15:34:56
44675      6178524273       4/25/2012       9:23:27
44676      6178527732       9/22/2011       15:39:01
44677      6178584204       7/24/2012       14:39:29
44678      6178662222       9/19/2011       19:24:41
44679      6178663559       11/19/2011      8:15:35
44680      6178753603       10/24/2012      14:55:27
44681      6178757163       12/1/2011       7:49:01
44682      6178775623       12/27/2011      14:12:12
44683      6178809579       10/22/2011      12:52:59
44684      6178880936       8/18/2011       7:44:30
44685      6178883684       3/15/2012       14:04:19
44686      6178887354       2/17/2012       18:05:52
44687      6178887753       4/6/2012        15:37:12
44688      6178920234       5/19/2011       7:53:07
44689      6178932412       7/23/2012       13:16:32
44690      6178992263       3/22/2012       14:08:52
44691      6179016147       9/13/2011       17:18:09
44692      6179018817       12/14/2011      14:17:44
44693      6179059553       1/19/2012       18:34:04
44694      6179097904       10/1/2011       10:13:00
44695      6179098026       12/15/2011      8:25:56
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44696      6179106249       11/23/2011      10:01:25
44697      6179106402       9/24/2011       9:03:08
44698      6179106902       11/11/2011      13:30:16
44699      6179212685       5/18/2012       15:51:08
44700      6179213345       10/22/2011      12:53:04
44701      6179218210       10/10/2011      12:35:39
44702      6179219399       11/23/2011      14:28:46
44703      6179223704       11/26/2011      11:15:59
44704      6179351241       1/17/2012       7:25:40
44705      6179352748       7/11/2012       17:12:25
44706      6179380357       10/10/2011      12:12:47
44707      6179388630       10/14/2011      12:39:24
44708      6179389574       1/14/2012       13:18:33
44709      6179393475       7/9/2012        7:08:41
44710      6179439908       3/15/2012       13:52:58
44711      6179478517       12/6/2011       7:29:26
44712      6179534196       2/22/2012       7:09:00
44713      6179552622       1/6/2012        7:02:22
44714      6179562369       7/19/2012       17:29:48
44715      6179562668       12/19/2011      7:33:55
44716      6179595060       2/11/2012       10:59:01
44717      6179596348       11/17/2011      16:55:01
44718      6179597625       10/3/2011       7:22:02
44719      6179702138       1/13/2012       17:12:01
44720      6179706164       12/7/2011       15:02:26
44721      6179708605       6/18/2012       7:47:14
44722      6179800843       3/28/2012       18:17:45
44723      6179803188       5/11/2012       18:22:38
44724      6179803188       8/16/2012       19:50:08
44725      6179806102       12/30/2011      7:07:20
44726      6179806102       1/27/2012       17:44:22
44727      6179809366       4/12/2012       18:01:43
44728      6179810534       2/28/2012       15:57:21
44729      6179812260       7/5/2012        15:32:43
44730      6179990721       7/16/2012       7:01:47
44731      6182012425       6/22/2012       8:54:47
44732      6182012996       9/14/2011       12:10:43
44733      6182014778       5/21/2012       8:01:16
44734      6182016113       3/10/2011       16:27:29
44735      6182030794       5/28/2011       10:34:36
44736      6182037985       3/8/2012        9:12:13
44737      6182040357       11/3/2011       17:51:57
44738      6182046155       3/15/2012       13:48:22
44739      6182078861       2/20/2012       17:08:34
44740      6182102034       9/10/2011       9:15:58
44741      6182147337       7/12/2012       13:16:48
44742      6182148221       2/13/2012       8:05:31
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44743      6182181687       10/17/2011      8:54:04
44744      6182190755       11/10/2011      8:01:03
44745      6182232295       8/16/2011       17:58:53
44746      6182234202       1/18/2012       16:52:24
44747      6182372619       1/25/2012       20:24:35
44748      6182376543       10/27/2011      16:53:32
44749      6182463624       4/15/2012       17:19:33
44750      6182500810       10/11/2012      18:39:40
44751      6182503433       3/26/2012       18:28:26
44752      6182504988       11/8/2011       14:28:15
44753      6182505258       12/5/2011       9:31:45
44754      6182505459       9/6/2012        12:22:47
44755      6182505877       11/28/2011      18:04:20
44756      6182508207       11/15/2011      20:13:09
44757      6182509810       2/28/2012       16:07:17
44758      6182632688       9/23/2011       19:00:18
44759      6182638494       3/28/2012       17:06:53
44760      6182638747       12/31/2011      12:07:52
44761      6182638860       1/27/2012       20:00:18
44762      6182671715       9/13/2011       14:12:18
44763      6182920513       9/20/2011       16:52:47
44764      6182920599       7/11/2012       17:16:04
44765      6183011535       3/3/2012        8:20:44
44766      6183016254       9/16/2011       13:28:42
44767      6183032833       12/27/2011      13:43:13
44768      6183047539       9/26/2012       14:40:48
44769      6183060945       8/9/2011        12:45:11
44770      6183080047       1/4/2012        11:23:42
44771      6183091246       8/9/2012        14:01:20
44772      6183104678       10/8/2011       9:52:10
44773      6183104958       7/13/2012       13:58:47
44774      6183106462       4/6/2012        15:55:53
44775      6183106468       9/21/2011       19:35:10
44776      6183108737       2/14/2012       9:50:35
44777      6183131886       7/19/2012       8:31:45
44778      6183143724       11/8/2011       14:35:37
44779      6183151543       10/8/2011       11:30:07
44780      6183153297       12/23/2011      14:09:07
44781      6183154139       1/16/2012       17:07:56
44782      6183154139       1/26/2012       7:19:19
44783      6183154139       5/21/2012       7:24:16
44784      6183159254       11/26/2011      11:40:47
44785      6183162738       11/25/2011      18:20:34
44786      6183163074       9/8/2012        11:41:17
44787      6183163535       5/8/2012        12:38:49
44788      6183164375       1/10/2012       15:32:40
44789      6183164480       5/7/2011        15:05:23
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44790      6183170085       12/9/2011       8:17:00
44791      6183170973       3/3/2012        8:28:04
44792      6183173246       11/9/2011       8:02:59
44793      6183178470       9/19/2011       8:19:57
44794      6183192431       9/29/2011       15:49:48
44795      6183192431       10/15/2011      10:45:46
44796      6183221314       3/13/2012       18:40:43
44797      6183222834       9/1/2011        8:27:22
44798      6183224891       11/21/2011      8:11:49
44799      6183225826       12/7/2011       13:39:43
44800      6183229782       3/15/2012       19:32:18
44801      6183344912       9/8/2011        19:02:39
44802      6183350840       10/25/2011      15:30:10
44803      6183359280       6/25/2012       13:42:53
44804      6183398784       4/29/2011       20:08:19
44805      6183402381       7/11/2012       9:38:09
44806      6183452441       1/11/2012       8:49:06
44807      6183632608       9/8/2012        11:42:01
44808      6183636020       5/17/2012       16:56:48
44809      6183651956       5/2/2012        13:25:46
44810      6183653351       9/24/2012       18:53:30
44811      6183670187       10/5/2012       12:19:26
44812      6183672956       11/17/2011      16:08:25
44813      6183676482       10/5/2011       14:25:33
44814      6183815952       11/29/2011      15:03:05
44815      6183831055       3/10/2012       8:31:26
44816      6183831055       7/30/2012       13:34:32
44817      6183834888       5/25/2011       17:54:57
44818      6183836250       5/21/2012       8:16:52
44819      6183836250       5/21/2012       8:32:36
44820      6183836759       10/22/2011      13:07:52
44821      6183871253       9/13/2011       16:28:18
44822      6183871304       3/3/2012        8:52:46
44823      6183871964       5/14/2012       8:09:04
44824      6184025434       9/13/2012       15:16:52
44825      6184025434       9/26/2012       14:41:54
44826      6184065569       2/24/2011       11:18:14
44827      6184070849       1/13/2012       17:16:16
44828      6184092624       9/23/2011       11:44:46
44829      6184100183       12/27/2011      14:38:32
44830      6184201211       10/10/2012      13:01:28
44831      6184201297       2/8/2012        13:00:44
44832      6184202666       2/15/2012       8:06:18
44833      6184204587       10/18/2011      12:28:22
44834      6184206437       7/16/2012       19:38:45
44835      6184208800       10/12/2011      8:33:43
44836      6184394401       9/7/2012        15:53:35
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44837      6184438681       7/11/2012       17:15:30
44838      6184445570       9/12/2011       13:25:22
44839      6184445947       3/21/2012       13:49:12
44840      6184451438       8/6/2011        9:39:01
44841      6184473032       2/2/2012        16:30:32
44842      6184473936       10/16/2012      16:39:36
44843      6184475167       9/20/2011       15:14:08
44844      6184475356       5/15/2012       8:46:20
44845      6184475356       5/21/2012       8:19:18
44846      6184475356       6/23/2012       16:14:40
44847      6184476444       12/3/2011       9:13:52
44848      6184479700       7/11/2012       17:16:30
44849      6184991619       9/9/2011        17:49:35
44850      6184992493       9/1/2012        9:02:21
44851      6184992887       8/5/2011        18:39:39
44852      6184996066       10/12/2011      8:38:17
44853      6184997108       8/14/2012       11:38:53
44854      6184998658       5/30/2012       12:51:44
44855      6184999442       5/16/2012       16:56:13
44856      6185082082       5/8/2012        9:37:17
44857      6185090894       8/22/2011       8:06:18
44858      6185092989       1/5/2012        14:05:03
44859      6185092989       2/16/2012       8:33:10
44860      6185093382       3/8/2012        20:28:00
44861      6185132658       12/27/2011      13:29:45
44862      6185137088       7/2/2012        15:23:13
44863      6185142173       6/18/2011       15:31:08
44864      6185143941       9/22/2011       16:01:38
44865      6185145179       9/10/2011       9:09:39
44866      6185145579       5/8/2012        10:00:00
44867      6185161094       2/9/2012        9:30:33
44868      6185200183       5/14/2012       15:39:25
44869      6185210086       9/28/2011       14:32:20
44870      6185211806       11/4/2011       8:57:29
44871      6185212268       9/11/2012       15:15:14
44872      6185214682       12/23/2011      14:31:45
44873      6185215912       5/5/2011        13:19:12
44874      6185218018       9/4/2012        16:00:44
44875      6185218018       9/24/2012       12:53:49
44876      6185219094       9/17/2012       8:32:13
44877      6185250007       11/10/2011      8:05:08
44878      6185250007       11/28/2011      12:08:39
44879      6185270063       12/27/2011      14:22:36
44880      6185312254       11/17/2011      16:08:53
44881      6185312254       4/4/2012        19:04:52
44882      6185312423       10/4/2011       13:16:33
44883      6185313829       9/18/2012       14:18:09
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44884      6185319363       9/13/2011       16:19:34
44885      6185343431       8/14/2012       11:38:40
44886      6185344319       8/3/2011        11:51:09
44887      6185345630       10/18/2012      16:32:04
44888      6185349326       4/19/2012       15:18:42
44889      6185350170       9/20/2012       20:58:47
44890      6185350264       10/19/2011      8:02:18
44891      6185355228       3/10/2012       8:33:46
44892      6185400065       9/28/2011       11:12:20
44893      6185400418       10/5/2011       14:16:48
44894      6185400681       7/27/2011       17:39:05
44895      6185400852       10/5/2011       14:42:41
44896      6185402358       11/17/2011      14:28:00
44897      6185402972       9/20/2011       18:21:16
44898      6185407454       5/31/2012       15:00:31
44899      6185409383       5/17/2011       10:34:42
44900      6185413088       10/15/2011      9:29:01
44901      6185415237       9/27/2012       16:26:09
44902      6185501100       12/16/2011      15:43:26
44903      6185501541       11/17/2011      16:27:24
44904      6185501596       10/20/2011      15:43:11
44905      6185502060       1/19/2012       18:39:54
44906      6185502785       10/1/2011       9:51:31
44907      6185503910       10/19/2011      15:30:14
44908      6185503910       11/14/2011      17:04:04
44909      6185504378       9/15/2011       9:12:16
44910      6185537062       10/9/2012       20:01:07
44911      6185537288       9/13/2011       16:33:12
44912      6185542020       7/26/2012       12:18:59
44913      6185584897       3/22/2012       8:09:53
44914      6185595591       7/28/2012       9:06:13
44915      6185604076       10/22/2012      8:02:50
44916      6185700511       7/26/2012       19:21:09
44917      6185702053       2/14/2012       13:11:54
44918      6185710535       10/27/2011      16:47:36
44919      6185711418       4/3/2012        15:18:11
44920      6185712200       11/25/2011      17:42:21
44921      6185712944       1/17/2012       18:46:07
44922      6185714306       9/27/2012       16:26:06
44923      6185794269       8/16/2012       19:48:32
44924      6185798561       11/25/2011      18:22:48
44925      6185800079       10/6/2011       10:12:51
44926      6185802227       9/29/2011       15:21:19
44927      6185818223       9/30/2013       19:59:28
44928      6185819830       9/8/2011        18:01:57
44929      6185938101       8/20/2011       10:20:47
44930      6185991156       3/27/2012       10:35:31
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44931      6185993391       4/2/2012        9:02:17
44932      6185993391       4/15/2012       17:18:22
44933      6186061661       2/17/2012       9:21:50
44934      6186065042       6/7/2012        18:36:38
44935      6186103186       8/28/2012       11:54:56
44936      6186103849       8/20/2012       10:07:30
44937      6186104798       9/8/2011        19:52:41
44938      6186105477       12/27/2011      14:19:18
44939      6186140387       5/14/2012       15:41:18
44940      6186142569       9/20/2011       20:33:39
44941      6186146096       1/19/2012       18:40:00
44942      6186149945       4/15/2012       17:11:07
44943      6186153511       3/6/2012        13:16:27
44944      6186156507       5/1/2012        8:26:04
44945      6186159145       7/25/2012       20:41:48
44946      6186163735       9/27/2011       18:44:49
44947      6186232042       10/11/2011      17:25:43
44948      6186232909       1/27/2012       19:47:13
44949      6186238391       11/11/2011      20:21:01
44950      6186383662       2/21/2012       20:54:52
44951      6186384201       10/1/2012       8:15:45
44952      6186386833       3/19/2012       11:51:59
44953      6186387559       11/16/2011      10:19:11
44954      6186450932       9/19/2011       8:18:42
44955      6186450932       10/17/2011      8:48:16
44956      6186451212       10/15/2011      10:37:06
44957      6186548692       11/5/2011       9:59:12
44958      6186601315       10/11/2012      18:41:05
44959      6186700445       9/8/2011        18:12:55
44960      6186701040       4/3/2012        16:13:14
44961      6186703767       2/13/2012       18:43:10
44962      6186767270       6/13/2012       8:08:45
44963      6186811165       2/9/2012        14:30:12
44964      6186836014       5/3/2012        8:20:48
44965      6186960971       4/11/2012       13:18:08
44966      6186973139       3/12/2012       19:26:31
44967      6186978898       5/11/2012       10:00:46
44968      6186978898       5/22/2012       18:22:27
44969      6186980829       10/31/2011      8:16:16
44970      6186988516       1/19/2012       8:19:52
44971      6186991327       10/28/2011      13:35:28
44972      6187082311       5/26/2012       8:38:45
44973      6187090792       11/22/2011      19:50:16
44974      6187092388       1/12/2012       8:16:34
44975      6187092388       8/7/2012        19:54:17
44976      6187092388       9/20/2012       21:00:39
44977      6187092435       1/4/2012        11:06:21
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44978      6187092503       3/16/2012       16:34:54
44979      6187092901       11/17/2011      15:37:04
44980      6187096390       4/1/2012        17:05:53
44981      6187138469       9/10/2011       9:14:38
44982      6187273370       3/23/2012       14:30:23
44983      6187311984       10/22/2012      8:03:09
44984      6187510950       10/12/2011      8:10:44
44985      6187510951       5/4/2012        14:55:52
44986      6187511301       4/19/2012       20:09:11
44987      6187512274       8/23/2011       19:07:31
44988      6187720343       10/2/2012       8:35:45
44989      6187720808       4/25/2012       16:05:40
44990      6187721566       9/8/2011        19:51:09
44991      6187722882       12/29/2011      10:47:45
44992      6187725452       9/19/2012       8:03:27
44993      6187728331       8/8/2012        16:12:33
44994      6187729070       7/28/2011       10:27:07
44995      6187758387       12/7/2011       14:08:11
44996      6187795548       6/16/2012       15:31:03
44997      6187797083       9/3/2011        10:49:23
44998      6187802869       6/27/2012       18:05:34
44999      6187810292       5/23/2011       15:54:36
45000      6187811533       2/10/2012       9:27:25
45001      6187812418       3/17/2012       8:32:04
45002      6187817712       6/18/2012       8:05:50
45003      6187831190       3/28/2012       17:04:53
45004      6187894625       10/1/2011       10:01:07
45005      6187896381       3/27/2012       14:54:49
45006      6187929421       1/24/2012       20:10:46
45007      6187950563       10/25/2012      19:37:22
45008      6187952989       10/1/2011       9:59:33
45009      6187952989       10/4/2011       13:49:06
45010      6187954506       9/20/2011       16:45:17
45011      6187978502       4/27/2012       18:20:34
45012      6187978657       10/18/2011      13:02:02
45013      6187978657       11/14/2011      14:51:11
45014      6187980730       2/15/2012       11:25:49
45015      6187990050       3/8/2012        20:25:28
45016      6187998025       7/12/2012       19:52:51
45017      6187998025       7/19/2012       17:39:38
45018      6188064138       10/4/2011       13:24:28
45019      6188068272       2/16/2012       8:30:58
45020      6188068272       4/9/2012        18:18:27
45021      6188250769       10/15/2011      10:58:22
45022      6188304445       6/7/2012        16:02:42
45023      6188305885       3/27/2012       14:55:58
45024      6188380412       9/27/2011       18:39:53
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45025      6188385560       11/8/2011       14:30:52
45026      6188412364       8/8/2011        15:35:16
45027      6188828111       8/2/2011        18:19:36
45028      6188828111       12/23/2011      15:03:56
45029      6188828140       10/25/2011      16:24:09
45030      6188896561       11/15/2011      20:15:08
45031      6188897595       8/16/2012       19:48:26
45032      6189172698       1/23/2012       19:00:23
45033      6189173063       6/12/2012       17:13:05
45034      6189177919       10/15/2011      9:37:11
45035      6189177919       11/22/2011      18:52:26
45036      6189177919       2/2/2012        16:32:56
45037      6189202667       6/8/2012        19:42:29
45038      6189202667       7/30/2012       13:18:41
45039      6189206223       4/23/2011       10:18:08
45040      6189211375       9/28/2011       11:21:23
45041      6189228695       4/19/2012       20:09:51
45042      6189228697       9/20/2011       20:31:19
45043      6189230069       9/10/2011       8:35:08
45044      6189231162       6/27/2012       12:28:43
45045      6189232324       6/24/2011       12:08:35
45046      6189232659       9/29/2011       15:18:29
45047      6189233419       11/19/2011      8:30:08
45048      6189240467       8/22/2012       11:12:56
45049      6189240494       8/2/2012        18:56:55
45050      6189247095       3/21/2012       13:54:10
45051      6189251550       9/28/2011       11:12:21
45052      6189256114       9/28/2011       10:25:44
45053      6189256114       10/11/2011      17:17:07
45054      6189260698       1/10/2012       15:19:06
45055      6189260782       5/21/2012       8:15:37
45056      6189261361       9/15/2012       8:08:34
45057      6189261498       6/16/2012       8:29:40
45058      6189262304       7/25/2012       20:41:10
45059      6189263411       3/23/2012       19:54:00
45060      6189263455       4/4/2011        13:11:51
45061      6189264459       11/16/2011      10:21:24
45062      6189270965       6/18/2012       15:34:37
45063      6189271864       10/31/2011      9:29:12
45064      6189272457       9/19/2011       19:17:51
45065      6189273411       10/6/2012       8:50:19
45066      6189274810       2/6/2012        17:22:05
45067      6189277085       10/3/2012       19:56:28
45068      6189280193       4/19/2012       20:14:37
45069      6189280730       4/11/2012       11:29:43
45070      6189281405       10/18/2011      12:24:57
45071      6189281405       3/16/2012       16:03:08
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45072      6189283301       12/29/2011      14:12:54
45073      6189461119       10/10/2011      11:51:32
45074      6189461578       11/9/2011       8:16:54
45075      6189461710       11/1/2011       8:47:21
45076      6189463862       8/3/2011        11:43:10
45077      6189602552       9/19/2011       19:31:27
45078      6189690393       2/2/2012        16:41:15
45079      6189725618       5/24/2012       11:55:09
45080      6189738799       9/25/2012       15:01:09
45081      6189750530       10/11/2012      11:55:22
45082      6189751496       9/6/2012        12:33:08
45083      6189753954       8/2/2012        18:54:05
45084      6189755658       7/25/2012       12:06:42
45085      6189758551       2/15/2012       8:16:59
45086      6189776373       10/6/2011       16:44:29
45087      6189781863       10/19/2011      12:18:29
45088      6189784263       2/28/2012       16:07:25
45089      6189784717       10/4/2011       13:24:18
45090      6189784791       10/19/2011      8:01:48
45091      6189792519       10/5/2011       14:13:22
45092      6189798221       1/20/2012       11:33:52
45093      6189800695       11/3/2011       17:55:57
45094      6189803142       10/7/2011       8:03:04
45095      6189809203       12/27/2011      14:18:48
45096      6192005110       4/25/2012       18:36:22
45097      6192006554       9/6/2012        12:26:17
45098      6192006974       2/15/2012       21:04:54
45099      6192016715       5/28/2012       10:47:28
45100      6192031416       10/11/2011      17:45:37
45101      6192031928       9/26/2011       13:21:38
45102      6192039890       11/19/2011      10:35:44
45103      6192043344       9/17/2011       10:04:48
45104      6192063521       4/29/2012       18:25:13
45105      6192068580       7/14/2011       10:34:48
45106      6192081324       11/11/2011      13:27:32
45107      6192090050       9/19/2011       19:36:20
45108      6192104343       11/30/2011      13:10:20
45109      6192120083       6/12/2012       17:15:25
45110      6192120826       9/1/2011        15:27:13
45111      6192121214       1/19/2012       18:32:22
45112      6192188123       5/14/2012       15:23:31
45113      6192274184       10/22/2011      13:21:33
45114      6192277218       9/14/2011       21:39:47
45115      6192401293       9/17/2012       10:11:23
45116      6192406331       5/16/2012       16:51:59
45117      6192434705       11/8/2011       14:07:21
45118      6192434812       1/26/2012       10:33:00
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45119      6192442416       4/3/2012        20:14:01
45120      6192443828       10/3/2011       10:37:31
45121      6192447788       3/2/2012        9:22:05
45122      6192458186       7/27/2012       21:14:51
45123      6192460197       4/5/2012        21:51:21
45124      6192462851       5/25/2012       17:13:02
45125      6192465037       12/29/2011      10:52:21
45126      6192469425       11/30/2011      15:20:59
45127      6192470953       8/30/2012       10:51:00
45128      6192473688       10/4/2011       13:27:41
45129      6192475264       7/18/2011       10:06:02
45130      6192486897       5/23/2012       16:39:48
45131      6192486897       10/20/2012      10:35:14
45132      6192487925       4/3/2012        16:15:58
45133      6192491524       9/21/2011       12:00:58
45134      6192493987       3/12/2012       11:27:46
45135      6192494027       6/13/2012       20:01:34
45136      6192494418       10/15/2011      9:42:39
45137      6192508362       6/7/2012        12:49:47
45138      6192513900       3/23/2012       14:50:56
45139      6192520795       5/23/2012       15:28:01
45140      6192532327       8/1/2012        11:00:16
45141      6192533700       8/15/2011       8:13:16
45142      6192535552       10/22/2011      12:48:41
45143      6192536014       9/24/2011       9:29:41
45144      6192538413       9/15/2012       11:24:57
45145      6192616305       4/16/2012       10:09:28
45146      6192617661       11/15/2011      15:55:55
45147      6192618463       8/8/2012        16:15:06
45148      6192618669       10/10/2011      13:02:26
45149      6192740343       5/11/2012       18:38:09
45150      6192743752       7/13/2012       21:25:58
45151      6192743752       10/10/2012      13:05:17
45152      6192777945       6/4/2012        21:09:30
45153      6192794707       10/6/2011       17:59:15
45154      6192794707       11/8/2011       14:08:34
45155      6192794707       12/1/2011       21:25:46
45156      6192794777       9/27/2011       18:03:30
45157      6192881752       8/26/2011       17:55:03
45158      6192883729       1/11/2012       10:54:09
45159      6192883819       8/14/2012       11:54:35
45160      6192885481       6/25/2012       13:29:15
45161      6192886599       5/3/2012        21:15:48
45162      6192887272       12/20/2011      20:52:05
45163      6192887621       2/8/2012        12:54:46
45164      6192888533       10/28/2011      13:46:58
45165      6193015262       6/4/2012        21:07:29
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45166      6193015262       6/19/2012       12:07:32
45167      6193024883       2/25/2012       11:13:57
45168      6193073144       10/8/2011       10:20:57
45169      6193075823       9/21/2012       16:57:15
45170      6193093773       10/31/2011      10:01:29
45171      6193123520       10/14/2012      15:14:38
45172      6193125449       6/24/2011       12:29:51
45173      6193125822       3/13/2012       18:59:05
45174      6193131877       9/8/2011        19:37:51
45175      6193155977       9/14/2011       9:38:18
45176      6193185528       3/13/2012       18:52:13
45177      6193217306       1/16/2012       17:37:06
45178      6193227094       11/11/2011      13:51:39
45179      6193228365       9/21/2011       19:31:26
45180      6193345763       3/11/2011       17:04:15
45181      6193390683       11/18/2011      13:08:53
45182      6193394995       3/7/2012        18:34:16
45183      6193414390       7/19/2012       17:39:48
45184      6193426118       10/12/2012      21:27:52
45185      6193583538       2/3/2012        14:29:49
45186      6193652944       10/11/2012      12:15:11
45187      6193660468       4/28/2012       10:19:36
45188      6193664162       10/14/2011      13:33:49
45189      6193669025       12/2/2011       15:31:01
45190      6193689170       3/23/2012       19:55:40
45191      6193705092       9/13/2011       13:43:02
45192      6193709795       4/27/2012       21:52:23
45193      6193812155       6/11/2012       17:37:56
45194      6193814680       3/15/2012       19:03:02
45195      6193815912       6/29/2011       17:47:59
45196      6193819714       12/6/2011       14:44:31
45197      6193842784       9/28/2011       10:43:49
45198      6193842925       1/11/2012       10:57:17
45199      6193846566       3/6/2012        20:27:31
45200      6193959520       10/6/2011       17:02:05
45201      6193978964       10/31/2011      10:21:13
45202      6193978964       1/24/2012       17:25:51
45203      6193985646       10/12/2011      12:17:03
45204      6194007270       5/25/2012       17:13:25
45205      6194084948       6/10/2012       14:38:19
45206      6194087705       9/20/2011       20:49:47
45207      6194088884       10/5/2012       18:35:40
45208      6194089470       9/24/2011       10:05:31
45209      6194109072       5/1/2012        18:34:41
45210      6194142999       9/27/2011       18:20:21
45211      6194143963       5/24/2012       11:53:51
45212      6194143963       6/8/2012        10:16:53
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45213      6194157343       2/28/2012       16:21:04
45214      6194367016       10/22/2011      13:24:07
45215      6194367242       5/9/2012        7:36:15
45216      6194367409       11/12/2011      10:56:49
45217      6194369493       10/5/2011       14:21:51
45218      6194388637       10/22/2011      12:51:05
45219      6194503623       7/13/2012       14:04:36
45220      6194535410       9/29/2011       16:02:30
45221      6194543800       10/25/2011      16:39:22
45222      6194544006       10/8/2011       10:20:40
45223      6194561660       10/1/2012       21:34:23
45224      6194563733       7/28/2012       11:09:34
45225      6194626340       7/18/2012       14:49:44
45226      6194958235       9/13/2011       13:42:18
45227      6194959028       8/10/2011       18:01:01
45228      6195046951       9/8/2011        19:15:05
45229      6195047407       9/14/2011       21:36:53
45230      6195048377       10/8/2012       20:12:44
45231      6195076656       3/14/2012       19:49:07
45232      6195077916       11/30/2011      13:05:56
45233      6195174855       10/2/2012       12:59:48
45234      6195185270       11/26/2011      13:52:58
45235      6195202581       10/1/2011       10:55:21
45236      6195203417       1/8/2012        16:45:23
45237      6195204799       3/17/2012       11:51:08
45238      6195204799       3/26/2012       18:50:33
45239      6195205144       10/14/2013      15:19:38
45240      6195343519       6/5/2012        17:55:47
45241      6195343519       9/22/2012       12:17:22
45242      6195347246       12/23/2011      16:06:10
45243      6195406118       11/1/2011       11:25:30
45244      6195406118       11/7/2011       11:10:49
45245      6195408544       4/25/2012       18:36:06
45246      6195496686       8/21/2012       14:05:48
45247      6195498494       7/11/2012       17:24:26
45248      6195640602       7/2/2011        13:41:49
45249      6195653301       10/14/2011      13:33:34
45250      6195656632       5/29/2012       14:27:30
45251      6195657888       1/5/2012        14:10:01
45252      6195718827       5/11/2012       10:40:16
45253      6195725258       3/15/2012       13:48:02
45254      6195810629       2/6/2012        17:05:54
45255      6195813963       1/6/2012        12:54:42
45256      6195816917       3/2/2012        15:26:42
45257      6195816960       11/15/2011      20:11:28
45258      6195817381       7/23/2011       12:08:44
45259      6195879749       7/16/2012       14:25:21
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45260      6195922779       12/2/2011       14:22:16
45261      6196008625       10/18/2012      14:33:36
45262      6196009041       9/27/2012       16:43:24
45263      6196020031       8/9/2012        14:14:54
45264      6196064987       11/20/2011      11:12:28
45265      6196211462       4/15/2012       17:48:28
45266      6196319655       4/12/2012       18:10:00
45267      6196322062       10/3/2012       19:50:10
45268      6196323346       10/14/2011      12:59:48
45269      6196328087       9/28/2011       11:30:25
45270      6196343919       10/7/2011       10:18:56
45271      6196344305       7/9/2012        19:03:56
45272      6196344352       6/6/2012        21:20:16
45273      6196348341       11/17/2011      16:33:54
45274      6196348470       5/19/2012       10:57:57
45275      6196386116       5/25/2012       11:55:11
45276      6196460259       6/17/2011       16:01:13
45277      6196464901       2/11/2012       11:26:05
45278      6196476237       4/8/2011        19:02:10
45279      6196477374       9/28/2011       11:23:09
45280      6196495735       10/18/2011      19:18:25
45281      6196513793       4/23/2012       20:45:24
45282      6196540192       7/19/2011       17:33:03
45283      6196557422       6/9/2012        10:41:30
45284      6196558150       6/14/2012       21:29:15
45285      6196558464       6/22/2012       21:02:20
45286      6196650962       12/15/2011      21:43:39
45287      6196651353       12/1/2011       10:27:28
45288      6196652505       3/8/2012        20:35:41
45289      6196657501       11/28/2011      12:33:14
45290      6196669296       3/7/2012        10:18:13
45291      6196698323       3/5/2012        11:01:16
45292      6196698323       5/21/2012       9:01:49
45293      6196698323       5/21/2012       9:03:52
45294      6196698853       9/28/2011       11:28:40
45295      6196725867       9/12/2011       13:34:34
45296      6196726104       4/19/2012       20:13:15
45297      6196744044       10/26/2011      12:35:13
45298      6196747787       5/3/2012        10:14:20
45299      6196770521       2/13/2012       18:33:14
45300      6196770677       9/23/2011       19:07:54
45301      6196774668       10/28/2011      13:51:30
45302      6196774945       10/6/2011       17:03:10
45303      6196777384       9/20/2011       17:24:57
45304      6196840023       9/8/2011        19:15:09
45305      6196947933       11/22/2011      19:44:24
45306      6196999571       6/7/2012        18:33:33
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45307      6197019901       9/29/2011       15:28:23
45308      6197083339       2/25/2012       11:13:30
45309      6197094378       11/15/2011      20:19:29
45310      6197109159       2/11/2012       10:56:33
45311      6197158119       8/3/2012        16:35:56
45312      6197158225       8/21/2012       21:47:37
45313      6197197153       1/4/2012        11:29:50
45314      6197211476       11/22/2011      19:46:01
45315      6197214092       5/29/2012       17:08:08
45316      6197218397       6/18/2012       15:14:34
45317      6197218397       8/7/2012        21:54:32
45318      6197218800       1/16/2012       17:18:15
45319      6197219546       9/8/2011        18:20:01
45320      6197238026       4/13/2012       20:47:33
45321      6197261423       1/31/2012       10:06:07
45322      6197265750       3/14/2012       19:48:42
45323      6197278877       9/18/2012       21:29:02
45324      6197297825       6/25/2012       21:52:28
45325      6197305373       8/5/2011        17:42:26
45326      6197309669       5/20/2012       15:52:14
45327      6197330282       6/14/2012       21:16:12
45328      6197344130       2/14/2014       20:39:59
45329      6197353539       11/17/2011      16:51:44
45330      6197376760       3/14/2012       20:04:47
45331      6197390114       4/4/2012        14:04:45
45332      6197390114       5/2/2012        21:06:12
45333      6197432845       3/28/2012       12:38:08
45334      6197434177       3/13/2012       12:54:27
45335      6197462433       10/15/2012      16:28:43
45336      6197465578       12/1/2011       10:36:34
45337      6197465578       12/6/2011       13:18:32
45338      6197507424       5/6/2012        21:09:58
45339      6197509223       5/10/2012       21:19:41
45340      6197543163       2/6/2012        17:05:21
45341      6197543414       3/3/2012        10:40:54
45342      6197545795       10/16/2012      20:34:01
45343      6197554098       10/24/2011      14:56:12
45344      6197554812       8/29/2012       20:23:11
45345      6197554812       9/10/2012       21:09:29
45346      6197558327       9/27/2011       18:53:00
45347      6197564510       9/10/2012       7:35:04
45348      6197569982       9/14/2012       21:09:04
45349      6197574890       7/25/2012       12:09:12
45350      6197585205       10/18/2011      13:15:59
45351      6197588672       7/18/2012       18:27:27
45352      6197611596       7/6/2012        14:44:29
45353      6197721811       9/20/2012       20:59:59
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45354      6197727456       5/17/2012       12:16:53
45355      6197727780       10/19/2012      11:33:07
45356      6197781449       11/15/2011      20:11:14
45357      6197786301       1/26/2012       10:34:45
45358      6197787154       12/20/2011      19:40:24
45359      6197792132       1/23/2012       10:17:32
45360      6197873630       10/4/2011       14:00:47
45361      6197877854       6/20/2012       16:58:42
45362      6197887271       5/22/2012       21:31:14
45363      6197897021       10/20/2011      15:53:53
45364      6197913010       10/19/2011      12:33:59
45365      6197913010       11/19/2011      10:39:58
45366      6197929601       5/29/2012       17:26:39
45367      6197929601       6/27/2012       18:05:54
45368      6197936312       2/24/2012       20:58:52
45369      6197937625       5/22/2012       18:23:55
45370      6197937625       9/26/2012       14:34:20
45371      6197937924       7/27/2011       17:49:04
45372      6197938098       1/6/2012        13:06:09
45373      6197938098       2/13/2012       9:30:26
45374      6197939226       10/12/2012      21:29:55
45375      6197943575       10/11/2012      18:50:31
45376      6197947120       12/5/2011       10:26:25
45377      6197951645       10/11/2011      16:36:06
45378      6197990248       4/12/2012       14:19:23
45379      6198040614       12/8/2011       21:10:50
45380      6198042375       8/17/2012       21:22:01
45381      6198075556       10/5/2011       14:25:25
45382      6198081454       5/23/2012       16:32:11
45383      6198083231       9/20/2011       16:45:23
45384      6198085944       5/3/2012        21:15:30
45385      6198200670       3/2/2012        18:52:46
45386      6198202602       9/23/2011       19:07:38
45387      6198204277       10/25/2011      16:38:04
45388      6198220249       11/9/2011       10:28:04
45389      6198220959       2/20/2012       17:15:19
45390      6198226499       4/19/2012       14:39:06
45391      6198229896       1/17/2012       18:50:08
45392      6198291536       4/14/2012       10:21:11
45393      6198292475       12/9/2011       12:55:02
45394      6198384266       11/15/2011      15:53:32
45395      6198400596       2/2/2012        16:35:39
45396      6198408693       2/24/2012       21:49:10
45397      6198462389       4/11/2012       13:18:17
45398      6198474707       4/4/2012        14:05:22
45399      6198508216       1/7/2012        10:23:26
45400      6198522029       4/29/2012       17:56:47
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45401      6198525205       1/19/2012       18:43:49
45402      6198528787       3/1/2014        15:05:59
45403      6198628073       10/20/2012      16:24:26
45404      6198633051       9/21/2011       13:01:11
45405      6198649174       8/17/2011       18:59:28
45406      6198653008       9/14/2011       21:34:07
45407      6198661750       1/11/2012       10:54:45
45408      6198690333       3/10/2012       20:03:12
45409      6198696697       2/19/2012       21:46:25
45410      6198766031       10/13/2011      10:35:34
45411      6198766031       11/28/2011      18:13:12
45412      6198864210       9/26/2012       14:42:28
45413      6198864210       10/17/2012      18:32:38
45414      6198866203       11/16/2011      20:03:33
45415      6198880615       11/4/2011       10:31:42
45416      6198881216       10/18/2011      12:39:03
45417      6198886526       11/7/2011       11:03:25
45418      6198896008       12/21/2011      10:23:29
45419      6198901022       10/8/2011       10:30:17
45420      6198903057       4/4/2012        14:03:36
45421      6198905944       9/20/2011       20:39:16
45422      6198955052       10/26/2011      13:19:58
45423      6198955052       11/16/2011      20:02:55
45424      6199059823       12/21/2011      10:05:44
45425      6199170979       8/2/2012        21:29:40
45426      6199177168       11/16/2011      11:39:54
45427      6199250506       12/27/2011      14:24:49
45428      6199310566       11/5/2011       11:59:21
45429      6199317114       12/29/2011      19:43:15
45430      6199336746       3/28/2012       18:26:43
45431      6199442445       5/20/2011       18:14:20
45432      6199469706       4/24/2012       21:03:52
45433      6199471028       10/4/2011       13:29:04
45434      6199486972       10/15/2012      10:15:19
45435      6199523385       12/18/2011      16:44:21
45436      6199526466       10/12/2011      11:55:56
45437      6199528406       10/8/2011       12:22:43
45438      6199559902       5/8/2012        21:08:53
45439      6199572939       11/10/2011      14:57:43
45440      6199615670       11/20/2011      11:12:12
45441      6199666486       4/4/2012        14:04:11
45442      6199714801       1/3/2012        19:53:47
45443      6199716371       11/18/2011      13:13:57
45444      6199716439       11/11/2011      13:28:54
45445      6199717048       6/26/2012       16:22:05
45446      6199776081       9/29/2011       15:26:19
45447      6199805374       9/9/2011        18:38:13
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45448      6199806469       1/6/2012        14:55:26
45449      6199806725       11/17/2011      16:52:26
45450      6199810534       3/19/2012       19:21:43
45451      6199814787       12/9/2011       14:16:39
45452      6199853489       10/15/2011      10:37:00
45453      6199853813       3/15/2012       18:56:53
45454      6199853913       3/8/2012        9:19:48
45455      6199853913       3/17/2012       8:33:08
45456      6199870528       12/27/2011      14:17:18
45457      6199874924       10/12/2012      17:15:43
45458      6199886229       10/7/2011       10:38:19
45459      6199914539       2/6/2012        16:47:37
45460      6199920651       10/6/2011       17:11:11
45461      6199924894       3/27/2012       10:39:21
45462      6199930292       9/23/2011       19:06:05
45463      6199948320       11/12/2011      10:08:49
45464      6199959972       9/10/2011       12:34:18
45465      6199976529       7/9/2012        10:59:06
45466      6202007691       4/22/2012       15:35:40
45467      6202007691       4/23/2012       20:35:49
45468      6202007691       5/21/2012       8:19:31
45469      6202020484       11/28/2011      17:03:25
45470      6202023456       5/11/2012       18:12:32
45471      6202059550       9/21/2011       11:31:58
45472      6202059550       10/15/2011      9:33:45
45473      6202122028       10/5/2012       18:32:32
45474      6202129121       10/18/2011      12:59:44
45475      6202132526       6/12/2012       17:19:19
45476      6202142411       10/10/2011      12:46:21
45477      6202155555       8/3/2012        16:32:12
45478      6202159579       10/4/2011       13:45:27
45479      6202181346       3/30/2012       16:08:29
45480      6202181346       6/27/2012       12:21:09
45481      6202224847       1/27/2012       17:46:16
45482      6202281257       12/26/2011      9:28:47
45483      6202425306       4/3/2012        16:14:36
45484      6202425306       5/21/2012       8:30:38
45485      6202454566       11/14/2011      17:04:16
45486      6202454578       9/21/2011       19:34:33
45487      6202458005       11/30/2011      8:18:10
45488      6202490120       2/2/2012        19:18:55
45489      6202492826       11/12/2011      9:41:12
45490      6202492859       10/14/2011      12:59:19
45491      6202499013       9/8/2011        19:00:37
45492      6202528604       12/26/2011      20:24:03
45493      6202529550       11/3/2011       17:51:14
45494      6202531754       2/16/2014       16:26:29
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45495      6202534933       10/14/2011      13:25:47
45496      6202556107       6/14/2012       16:00:30
45497      6202605351       5/21/2011       11:17:12
45498      6202625102       10/16/2012      8:43:45
45499      6202627392       11/18/2011      13:02:39
45500      6202627392       12/29/2011      11:09:53
45501      6202627392       3/20/2012       17:44:07
45502      6202770339       2/7/2012        17:06:15
45503      6202823187       10/20/2011      21:10:33
45504      6202827136       10/21/2011      12:46:15
45505      6202829200       10/10/2011      12:39:24
45506      6202829200       10/18/2011      14:35:04
45507      6202909452       6/14/2012       15:56:45
45508      6203300062       10/28/2011      14:26:52
45509      6203300085       11/22/2011      19:41:32
45510      6203307017       5/27/2011       13:30:55
45511      6203307017       9/8/2011        19:49:01
45512      6203314574       11/29/2011      15:10:27
45513      6203314574       12/1/2011       15:39:10
45514      6203538826       9/27/2011       18:47:49
45515      6203538826       10/19/2011      12:11:03
45516      6203662480       10/14/2011      12:58:09
45517      6203747906       11/2/2011       13:56:22
45518      6203885739       11/12/2011      9:28:50
45519      6204323755       10/3/2012       19:49:19
45520      6204407069       10/11/2012      18:56:52
45521      6204417573       3/29/2012       16:45:14
45522      6204418465       7/9/2012        19:01:50
45523      6204418569       9/20/2011       16:46:09
45524      6204460585       11/25/2011      18:27:23
45525      6204461543       11/26/2011      12:00:39
45526      6204505005       7/26/2012       19:15:11
45527      6204687001       11/29/2011      15:40:10
45528      6204742179       11/21/2011      8:29:57
45529      6204743953       9/22/2011       16:09:11
45530      6204809545       8/7/2012        19:45:39
45531      6204809552       4/18/2012       17:50:29
45532      6204809552       5/18/2012       11:42:29
45533      6204817301       9/24/2012       18:54:30
45534      6205061308       11/16/2011      10:21:55
45535      6205153200       9/21/2012       18:41:46
45536      6205170663       7/27/2012       15:31:07
45537      6205464820       7/12/2011       12:13:09
45538      6206177172       4/2/2012        17:25:00
45539      6206391337       4/11/2012       11:29:52
45540      6206392388       9/28/2011       11:23:07
45541      6206392501       10/15/2012      9:55:35
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45542      6206394967       11/17/2011      16:31:26
45543      6206404249       10/11/2011      16:28:14
45544      6206408198       7/14/2011       16:19:35
45545      6206554049       1/24/2012       17:06:05
45546      6206605053       12/12/2011      11:53:31
45547      6206605402       4/21/2011       10:52:26
45548      6206642209       7/9/2012        8:53:11
45549      6206648564       11/30/2011      8:02:45
45550      6206801599       12/20/2011      17:29:03
45551      6206802095       6/9/2012        14:58:46
45552      6206820526       7/19/2012       17:39:06
45553      6206823112       12/10/2011      13:23:49
45554      6206870646       9/23/2011       11:46:59
45555      6206870696       9/23/2011       11:44:39
45556      6206873987       4/1/2012        17:21:50
45557      6206880153       1/17/2012       9:38:03
45558      6207044947       11/8/2011       14:36:32
45559      6207051240       5/8/2012        12:32:30
45560      6207175250       8/17/2012       8:27:27
45561      6207199645       3/30/2012       9:47:03
45562      6207550529       8/3/2012        16:31:44
45563      6207555857       4/30/2012       14:53:14
45564      6207556235       11/15/2011      15:39:23
45565      6207571058       3/17/2012       8:34:04
45566      6207576019       1/19/2012       18:39:48
45567      6207578202       5/2/2012        13:28:17
45568      6207781964       10/6/2011       17:51:21
45569      6207782584       11/11/2011      13:44:21
45570      6207782584       11/22/2011      18:44:13
45571      6207786776       5/3/2012        8:06:51
45572      6207790139       12/16/2011      15:41:42
45573      6207790139       6/7/2012        12:43:25
45574      6207791970       6/7/2012        18:24:47
45575      6207792258       8/3/2011        11:51:11
45576      6207940887       7/6/2012        16:53:09
45577      6207941704       9/17/2012       8:29:36
45578      6207942360       9/19/2011       8:20:03
45579      6208038564       8/13/2012       20:53:18
45580      6208042115       5/12/2011       10:13:41
45581      6208049207       10/10/2011      12:45:28
45582      6208401114       9/22/2011       16:02:18
45583      6208700513       9/28/2012       9:04:18
45584      6208708708       9/22/2011       15:18:28
45585      6208709109       12/30/2011      8:37:01
45586      6208777212       2/15/2012       11:26:11
45587      6208990145       9/8/2011        19:31:31
45588      6208995416       11/29/2011      15:01:17
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45589      6209107082       2/3/2012        20:10:50
45590      6209372921       10/11/2011      17:15:43
45591      6209602336       1/19/2012       18:29:51
45592      6209662496       3/22/2012       8:10:47
45593      6209880826       9/17/2012       8:36:04
45594      6209882520       10/6/2011       16:07:56
45595      6232010302       9/20/2012       14:44:54
45596      6232024018       2/28/2012       13:19:58
45597      6232024886       8/9/2012        21:57:11
45598      6232025259       8/7/2012        21:43:24
45599      6232025432       4/12/2012       18:00:15
45600      6232026822       3/23/2012       20:17:47
45601      6232031457       1/2/2012        9:09:51
45602      6232032710       10/3/2011       7:23:36
45603      6232033841       5/8/2012        12:45:39
45604      6232035227       4/5/2012        14:00:50
45605      6232035227       6/21/2012       18:53:24
45606      6232040703       5/5/2012        12:32:56
45607      6232040982       7/20/2012       15:05:06
45608      6232041124       10/25/2011      15:44:21
45609      6232042543       9/27/2011       15:32:45
45610      6232042543       10/29/2011      10:59:20
45611      6232042751       12/24/2011      9:21:36
45612      6232042931       5/10/2012       21:30:44
45613      6232043749       1/14/2012       9:16:28
45614      6232044079       10/18/2012      14:33:31
45615      6232047490       3/14/2012       19:48:01
45616      6232048167       3/21/2012       18:36:37
45617      6232048731       10/10/2011      13:09:19
45618      6232049537       10/14/2011      13:32:12
45619      6232050960       10/6/2011       17:56:13
45620      6232051276       4/29/2011       20:28:34
45621      6232052226       10/23/2012      18:56:45
45622      6232052496       4/10/2012       16:19:40
45623      6232054307       9/20/2011       18:43:00
45624      6232054814       11/3/2011       18:02:57
45625      6232055644       11/11/2011      13:22:18
45626      6232057545       12/5/2011       9:47:44
45627      6232057620       4/11/2012       11:36:58
45628      6232057782       7/3/2012        12:25:58
45629      6232058366       2/20/2012       16:56:15
45630      6232059449       4/18/2012       18:00:11
45631      6232060364       11/15/2011      15:50:10
45632      6232060489       10/12/2011      11:37:58
45633      6232061962       1/4/2012        11:08:38
45634      6232063672       12/2/2011       15:28:45
45635      6232063888       12/5/2011       18:18:59
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45636      6232065058       10/7/2011       10:26:29
45637      6232065072       5/25/2012       12:02:54
45638      6232065565       12/18/2011      17:16:43
45639      6232065694       7/12/2012       13:22:46
45640      6232067192       10/8/2011       12:13:15
45641      6232068817       10/12/2011      11:37:52
45642      6232094147       5/2/2012        21:05:37
45643      6232094975       11/26/2011      12:01:44
45644      6232101930       9/21/2012       15:57:32
45645      6232103236       10/21/2011      13:35:27
45646      6232103794       5/11/2012       18:36:31
45647      6232104514       2/17/2012       9:06:00
45648      6232105626       1/4/2012        11:26:49
45649      6232106297       9/23/2011       19:04:39
45650      6232155233       9/27/2011       18:51:25
45651      6232170378       10/1/2012       13:53:10
45652      6232173493       10/26/2011      12:27:20
45653      6232173493       12/10/2011      14:29:42
45654      6232183351       7/16/2012       14:30:26
45655      6232188550       3/31/2012       22:32:21
45656      6232210462       10/7/2012       13:12:52
45657      6232212080       4/19/2012       14:46:02
45658      6232212802       8/16/2012       19:49:17
45659      6232213945       6/26/2012       16:21:45
45660      6232214843       9/28/2012       14:16:51
45661      6232216089       6/18/2012       15:14:07
45662      6232217077       3/8/2012        9:16:05
45663      6232230537       9/13/2011       13:38:26
45664      6232243837       10/5/2011       14:18:48
45665      6232244052       10/14/2011      13:31:24
45666      6232244272       7/7/2012        10:07:46
45667      6232245056       6/7/2012        12:48:26
45668      6232251173       9/20/2011       18:38:32
45669      6232252966       3/21/2011       11:28:38
45670      6232253191       11/30/2011      15:30:17
45671      6232253504       5/9/2011        17:34:19
45672      6232253505       8/21/2012       21:47:45
45673      6232254307       9/28/2011       9:30:04
45674      6232254601       10/14/2011      13:00:50
45675      6232254601       11/3/2011       18:02:30
45676      6232254601       12/20/2011      17:18:50
45677      6232255612       6/29/2011       16:57:37
45678      6232255729       1/18/2012       11:17:02
45679      6232256692       6/24/2011       11:32:07
45680      6232259716       3/14/2012       14:11:56
45681      6232290928       4/16/2012       10:08:27
45682      6232296109       7/26/2011       10:03:01
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45683      6232299199       11/22/2011      19:43:49
45684      6232340132       8/21/2012       21:47:56
45685      6232365836       11/7/2011       9:40:32
45686      6232365836       11/15/2011      16:37:15
45687      6232365836       1/17/2012       18:35:59
45688      6232366181       12/18/2011      16:54:46
45689      6232372727       10/22/2011      12:46:13
45690      6232385247       9/4/2012        16:10:23
45691      6232397246       12/7/2011       14:19:22
45692      6232412383       9/10/2011       12:38:51
45693      6232413079       2/2/2012        20:59:34
45694      6232424441       7/2/2012        17:26:31
45695      6232424630       2/14/2012       16:42:34
45696      6232491053       3/23/2012       14:46:07
45697      6232510699       5/10/2011       19:38:37
45698      6232527004       10/3/2011       10:41:38
45699      6232562733       5/7/2011        15:25:17
45700      6232562946       11/22/2011      19:43:39
45701      6232563733       9/13/2011       13:38:08
45702      6232565590       9/23/2011       18:40:45
45703      6232569672       10/17/2011      10:30:58
45704      6232583955       10/21/2011      13:38:38
45705      6232588675       10/22/2012      17:51:58
45706      6232610083       10/8/2012       12:49:18
45707      6232610784       1/25/2012       20:31:43
45708      6232611623       8/7/2012        20:05:35
45709      6232614714       10/29/2011      11:54:34
45710      6232616669       11/25/2011      18:31:21
45711      6232618602       1/20/2012       14:14:48
45712      6232620688       8/7/2012        17:56:25
45713      6232621736       5/24/2012       12:29:18
45714      6232626713       10/5/2011       14:49:34
45715      6232711495       10/4/2011       13:24:42
45716      6232770201       11/7/2011       9:42:25
45717      6232975386       8/22/2012       11:14:46
45718      6232989712       4/20/2011       20:13:52
45719      6233021352       12/30/2011      12:49:12
45720      6233021592       8/21/2012       14:03:51
45721      6233021687       5/19/2012       10:58:39
45722      6233024521       2/14/2012       16:53:03
45723      6233026278       3/17/2012       11:35:43
45724      6233028762       6/29/2012       17:51:34
45725      6233080567       5/12/2012       10:21:35
45726      6233082343       5/22/2012       18:23:34
45727      6233084177       11/10/2011      14:38:51
45728      6233084299       1/3/2012        19:51:09
45729      6233086137       12/19/2011      9:11:28
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45730      6233130171       1/4/2012        11:23:40
45731      6233130510       5/7/2012        17:56:27
45732      6233131446       8/5/2011        18:09:48
45733      6233131731       5/18/2012       11:46:54
45734      6233131893       12/19/2011      9:11:29
45735      6233132214       9/20/2011       16:53:49
45736      6233132517       8/25/2012       11:18:46
45737      6233137817       11/9/2011       9:25:10
45738      6233138814       8/3/2011        12:32:46
45739      6233138943       9/9/2011        18:03:33
45740      6233260933       9/14/2011       21:28:57
45741      6233263065       10/16/2012      20:35:18
45742      6233263508       10/11/2012      18:50:00
45743      6233267715       1/12/2012       10:14:51
45744      6233269374       9/18/2013       15:11:18
45745      6233290292       3/8/2012        20:29:05
45746      6233291687       8/25/2012       11:18:12
45747      6233293800       1/17/2012       17:23:16
45748      6233293848       9/11/2012       21:23:29
45749      6233293980       3/13/2012       12:54:06
45750      6233294286       1/5/2012        14:08:46
45751      6233294957       10/3/2011       10:39:24
45752      6233295023       5/10/2012       21:34:04
45753      6233295586       12/21/2011      19:57:21
45754      6233296567       4/25/2012       21:21:56
45755      6233298248       9/13/2012       21:28:40
45756      6233298591       6/2/2012        12:49:38
45757      6233299404       11/1/2011       11:09:24
45758      6233299754       10/23/2012      18:55:59
45759      6233304216       12/7/2011       14:19:42
45760      6233307805       9/19/2012       21:28:41
45761      6233308956       2/13/2012       9:30:40
45762      6233320514       8/17/2012       21:25:40
45763      6233321574       6/15/2011       11:26:49
45764      6233322469       8/3/2012        12:33:02
45765      6233324059       2/13/2012       18:51:53
45766      6233324059       3/2/2012        19:04:42
45767      6233324068       12/13/2011      17:45:18
45768      6233328949       3/6/2012        16:09:32
45769      6233340092       5/4/2012        20:59:52
45770      6233364266       9/4/2012        21:53:16
45771      6233364390       10/1/2011       10:53:31
45772      6233365640       9/19/2012       21:27:10
45773      6233372332       1/30/2012       9:03:18
45774      6233372689       9/26/2011       13:26:49
45775      6233377439       9/24/2011       10:07:09
45776      6233401190       1/19/2012       18:43:25
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45777      6233406050       11/10/2011      14:44:20
45778      6233407014       5/14/2012       15:40:29
45779      6233407747       10/22/2011      13:17:46
45780      6233407960       1/3/2012        10:44:41
45781      6233407960       1/18/2012       10:34:08
45782      6233410711       3/29/2012       11:39:27
45783      6233412387       1/6/2012        14:44:33
45784      6233415974       10/6/2011       17:57:03
45785      6233418461       12/23/2011      16:04:05
45786      6233419590       9/7/2011        14:52:00
45787      6233493100       10/24/2011      14:16:28
45788      6233632786       7/14/2011       16:47:52
45789      6233637845       9/29/2011       15:56:54
45790      6233637845       2/28/2012       16:08:10
45791      6233770508       11/17/2011      16:32:47
45792      6233775936       4/4/2012        18:53:20
45793      6233856857       10/28/2011      14:08:12
45794      6233856857       11/25/2011      18:14:43
45795      6233856901       2/17/2012       9:05:47
45796      6233859978       10/20/2011      21:08:10
45797      6233868844       2/17/2012       9:40:37
45798      6233875759       10/20/2011      15:48:21
45799      6233969601       4/29/2012       17:48:03
45800      6233989274       3/31/2012       22:34:13
45801      6233992628       9/19/2011       19:18:57
45802      6233997214       9/29/2011       15:53:44
45803      6234140787       8/13/2011       10:34:55
45804      6234145658       10/20/2011      15:48:32
45805      6234145942       9/20/2011       18:40:46
45806      6234145981       11/29/2011      15:45:21
45807      6234146668       8/15/2012       21:41:37
45808      6234180520       9/28/2011       14:32:51
45809      6234184427       1/14/2012       9:16:43
45810      6234184427       3/26/2012       18:47:49
45811      6234184772       1/19/2012       18:31:58
45812      6234185977       9/23/2011       11:49:46
45813      6234185982       4/23/2012       20:36:28
45814      6234186606       10/8/2012       20:08:08
45815      6234187647       1/18/2012       10:31:20
45816      6234189470       12/6/2011       13:41:24
45817      6234189791       5/25/2012       11:54:57
45818      6234511963       6/20/2012       11:01:20
45819      6234512309       9/24/2012       19:08:35
45820      6234512471       10/3/2011       10:40:52
45821      6234515454       12/8/2011       19:46:51
45822      6234519282       10/21/2011      12:40:38
45823      6234519883       2/17/2012       18:23:50
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45824      6234550016       3/20/2012       19:59:20
45825      6234551074       11/26/2011      12:03:14
45826      6234551204       12/1/2011       10:22:15
45827      6234551365       9/19/2012       16:25:29
45828      6234662622       10/1/2012       21:36:06
45829      6234663210       10/17/2011      10:44:56
45830      6234664496       1/17/2012       18:39:49
45831      6234665723       11/5/2011       11:44:40
45832      6234665723       12/13/2011      19:16:02
45833      6234766361       9/20/2012       21:01:18
45834      6234766410       6/8/2012        17:01:32
45835      6234980764       10/4/2011       13:25:47
45836      6234985830       3/16/2012       15:55:16
45837      6234989743       7/9/2012        19:16:14
45838      6235120217       9/8/2011        18:45:37
45839      6235120217       10/17/2011      7:19:32
45840      6235120532       8/30/2012       10:48:32
45841      6235123597       9/22/2011       15:31:33
45842      6235128744       4/25/2012       18:41:44
45843      6235180821       4/22/2012       15:38:50
45844      6235180821       4/23/2012       20:36:05
45845      6235180821       9/10/2012       21:06:51
45846      6235185206       2/16/2012       9:22:35
45847      6235188920       9/18/2012       14:29:09
45848      6235214540       5/20/2011       18:13:26
45849      6235217221       6/8/2012        17:00:49
45850      6235217221       6/24/2012       13:48:05
45851      6235219380       10/9/2012       11:42:42
45852      6235231185       10/27/2011      16:10:05
45853      6235231766       10/3/2011       10:42:13
45854      6235237730       12/9/2011       14:07:28
45855      6235239964       10/8/2011       12:06:25
45856      6235479074       2/7/2012        20:21:32
45857      6235521269       6/11/2012       10:11:12
45858      6235529974       5/13/2012       18:04:10
45859      6235650341       1/4/2012        11:27:13
45860      6235652239       3/13/2012       18:33:09
45861      6235653397       7/27/2012       21:02:13
45862      6235656085       9/20/2011       20:48:01
45863      6235656228       9/20/2011       16:53:19
45864      6235700169       6/15/2012       15:47:39
45865      6235702122       11/28/2011      12:25:04
45866      6235702508       10/12/2011      11:54:07
45867      6235704395       12/28/2011      11:10:08
45868      6235707184       10/24/2011      14:14:24
45869      6235708095       12/7/2011       13:14:01
45870      6235709338       4/9/2012        18:18:38
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45871      6236060106       8/21/2012       21:46:46
45872      6236064560       4/20/2012       21:00:28
45873      6236065408       5/25/2012       12:02:47
45874      6236065424       5/11/2012       10:45:32
45875      6236066192       12/28/2011      20:49:26
45876      6236066967       2/3/2012        20:05:27
45877      6236280111       9/21/2011       11:38:35
45878      6236281271       12/26/2011      20:30:20
45879      6236281271       1/5/2012        14:08:25
45880      6236283484       1/9/2012        9:42:50
45881      6236285541       11/30/2011      15:00:04
45882      6236287609       7/20/2012       14:55:02
45883      6236287805       5/18/2012       15:49:13
45884      6236288042       6/5/2012        17:49:48
45885      6236288426       12/3/2011       10:25:31
45886      6236400178       2/6/2012        10:03:14
45887      6236407787       9/10/2012       10:24:36
45888      6236701738       4/10/2012       16:17:52
45889      6236702164       6/20/2012       16:59:23
45890      6236706837       9/24/2011       10:01:27
45891      6236709223       9/13/2011       18:09:03
45892      6236800927       4/23/2012       13:05:28
45893      6236871674       10/23/2012      10:34:38
45894      6236878332       10/21/2011      13:39:07
45895      6236884559       8/11/2012       12:30:52
45896      6236887409       8/1/2011        19:43:28
45897      6236924236       9/18/2012       21:30:15
45898      6236925099       8/17/2011       19:17:42
45899      6236931530       3/15/2012       19:19:12
45900      6236939376       4/23/2012       20:43:43
45901      6236942929       7/19/2012       17:33:38
45902      6236944591       12/26/2011      20:08:21
45903      6236945409       9/19/2011       19:18:35
45904      6236947414       3/13/2012       17:08:57
45905      6236958573       10/4/2011       13:30:09
45906      6236985090       1/6/2012        14:53:39
45907      6236985499       10/10/2011      12:57:46
45908      6236985868       10/4/2011       13:56:42
45909      6237033303       2/10/2012       9:24:32
45910      6237033803       1/12/2012       14:08:26
45911      6237034333       8/3/2012        16:23:30
45912      6237034407       1/3/2012        16:30:25
45913      6237036247       10/29/2011      11:01:33
45914      6237037578       11/28/2011      17:04:49
45915      6237075218       9/3/2012        14:35:47
45916      6237076261       10/10/2012      13:03:03
45917      6237346215       12/23/2011      14:21:09
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45918      6237388326       9/19/2011       19:35:32
45919      6237425428       5/15/2012       11:10:16
45920      6237552525       3/14/2012       14:13:20
45921      6237552627       4/30/2012       21:04:29
45922      6237552653       10/6/2011       16:58:35
45923      6237552849       6/25/2012       21:48:09
45924      6237553500       11/3/2011       18:01:23
45925      6237553628       4/11/2012       19:38:33
45926      6237605714       8/3/2012        12:41:07
45927      6237608692       10/4/2011       13:55:04
45928      6237646646       12/20/2011      9:25:07
45929      6237923146       6/16/2012       15:17:51
45930      6237923411       8/26/2011       17:52:32
45931      6238065781       9/14/2011       21:36:27
45932      6238069172       10/12/2012      16:50:05
45933      6238101255       5/29/2012       10:57:38
45934      6238102364       12/17/2011      11:40:12
45935      6238102364       2/3/2012        20:05:36
45936      6238103215       9/8/2011        19:54:07
45937      6238248691       12/9/2011       13:07:41
45938      6238268083       7/11/2011       12:19:00
45939      6238452461       10/29/2011      11:54:22
45940      6238502298       12/2/2011       15:11:04
45941      6238535074       2/28/2012       16:20:37
45942      6238536454       6/28/2012       12:35:01
45943      6238537261       10/10/2011      12:57:19
45944      6238662805       12/29/2011      14:15:01
45945      6238663611       11/21/2011      11:01:27
45946      6238668026       4/18/2011       19:44:08
45947      6238792096       12/18/2011      16:20:58
45948      6238894978       5/29/2012       10:52:23
45949      6238894978       6/5/2012        18:00:35
45950      6239100508       11/1/2011       11:36:50
45951      6239102980       9/19/2011       14:39:38
45952      6239103654       3/2/2012        9:15:20
45953      6239104629       11/22/2011      19:42:34
45954      6239107398       10/15/2011      11:08:34
45955      6239308684       5/31/2012       15:09:52
45956      6239804088       4/30/2012       21:02:23
45957      6239804329       7/10/2012       21:11:19
45958      6239804398       10/19/2012      11:31:14
45959      6239806465       10/22/2011      12:46:11
45960      6239807425       10/24/2011      14:18:27
45961      6239861176       3/26/2011       12:37:57
45962      6239862991       5/23/2012       16:31:43
45963      6239863230       3/6/2012        20:30:33
45964      6239865034       10/20/2012      10:32:49
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45965      6239868877       9/26/2012       13:02:51
45966      6262000450       6/7/2012        18:34:41
45967      6262005486       2/2/2012        20:59:56
45968      6262006927       7/11/2011       12:33:20
45969      6262008751       3/21/2012       18:37:32
45970      6262011730       2/10/2012       10:40:11
45971      6262011730       3/15/2012       19:38:28
45972      6262018550       11/26/2011      11:37:22
45973      6262019261       1/10/2012       15:22:36
45974      6262024220       1/12/2012       10:10:09
45975      6262026122       3/15/2012       13:52:14
45976      6262029044       5/7/2012        15:02:05
45977      6262032727       5/28/2012       10:52:45
45978      6262038717       9/19/2012       21:28:16
45979      6262097470       1/27/2012       21:55:13
45980      6262138546       5/16/2012       17:00:33
45981      6262146740       10/8/2011       10:16:12
45982      6262156125       1/4/2012        11:29:37
45983      6262158696       10/25/2011      16:39:55
45984      6262169101       2/21/2012       16:21:39
45985      6262173913       8/10/2012       10:27:27
45986      6262196949       5/31/2011       11:52:43
45987      6262211396       10/20/2011      16:38:58
45988      6262217700       4/4/2012        18:40:44
45989      6262227430       8/27/2012       15:01:41
45990      6262227880       11/10/2011      14:25:25
45991      6262240254       12/10/2011      13:59:02
45992      6262240254       12/24/2011      11:36:20
45993      6262241122       1/25/2012       20:39:43
45994      6262246930       1/4/2012        11:09:43
45995      6262266305       11/16/2011      11:08:30
45996      6262288500       9/26/2011       13:31:08
45997      6262300463       1/23/2012       10:15:15
45998      6262302008       12/14/2011      17:56:08
45999      6262302347       5/30/2012       12:44:39
46000      6262303496       2/2/2012        16:44:10
46001      6262303972       10/29/2011      11:03:19
46002      6262303977       8/15/2011       10:19:19
46003      6262305283       1/9/2012        10:29:42
46004      6262305349       4/26/2012       21:07:52
46005      6262308917       2/1/2012        8:26:39
46006      6262309701       11/2/2011       14:37:20
46007      6262323654       9/8/2011        19:55:59
46008      6262324200       4/19/2012       20:28:22
46009      6262325503       1/5/2012        14:11:22
46010      6262325503       3/14/2012       20:03:06
46011      6262326710       8/10/2012       10:23:57
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46012      6262327136       11/16/2011      20:02:41
46013      6262332455       10/12/2011      11:45:52
46014      6262338654       12/26/2011      20:11:07
46015      6262343587       1/16/2012       17:37:18
46016      6262346319       5/4/2012        15:26:46
46017      6262346586       4/6/2012        15:59:25
46018      6262347071       10/7/2011       17:44:05
46019      6262352409       11/14/2011      17:44:33
46020      6262354508       3/8/2012        20:31:14
46021      6262356681       5/18/2012       15:42:59
46022      6262408161       9/19/2011       15:01:46
46023      6262409805       4/4/2012        18:54:48
46024      6262425364       1/25/2012       18:22:02
46025      6262433265       3/2/2012        15:34:26
46026      6262433935       3/8/2012        20:42:33
46027      6262433986       2/24/2011       12:04:28
46028      6262445211       5/4/2012        18:28:41
46029      6262462355       4/13/2012       20:47:30
46030      6262464471       11/3/2011       18:07:43
46031      6262518758       7/9/2012        12:06:40
46032      6262520678       9/16/2011       15:18:28
46033      6262520876       9/12/2011       13:39:35
46034      6262523902       1/20/2012       20:32:06
46035      6262525409       11/9/2011       10:22:56
46036      6262527773       8/8/2012        10:03:27
46037      6262527773       9/21/2012       18:43:21
46038      6262534333       10/4/2011       13:27:38
46039      6262537545       9/8/2011        19:37:05
46040      6262550141       5/10/2012       15:07:32
46041      6262578006       8/9/2012        14:04:44
46042      6262602009       11/8/2011       14:46:31
46043      6262602576       12/16/2011      16:45:36
46044      6262602697       8/27/2012       14:44:57
46045      6262628211       5/6/2011        16:03:40
46046      6262628211       10/6/2011       17:59:48
46047      6262629586       9/23/2011       11:22:26
46048      6262640533       12/23/2013      16:52:27
46049      6262642280       10/17/2011      10:39:08
46050      6262721895       9/13/2011       18:31:23
46051      6262740725       12/26/2011      10:24:48
46052      6262740725       1/25/2012       20:33:34
46053      6262747337       5/18/2012       12:19:10
46054      6262772203       3/16/2012       16:05:38
46055      6262776477       8/21/2012       21:47:54
46056      6262777347       11/11/2011      20:14:13
46057      6262778583       3/7/2012        19:00:53
46058      6262788539       8/27/2011       10:52:48
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46059      6262838923       5/4/2012        18:15:07
46060      6262882189       1/23/2012       19:21:34
46061      6262973071       8/1/2012        20:13:58
46062      6262979385       5/31/2012       15:11:48
46063      6262979511       12/20/2011      19:41:10
46064      6262981396       10/11/2011      16:32:01
46065      6263151254       7/30/2012       13:45:24
46066      6263151254       8/8/2012        16:18:43
46067      6263153183       3/14/2012       14:22:23
46068      6263155999       11/17/2011      14:55:29
46069      6263185349       2/16/2014       16:24:30
46070      6263192830       5/9/2012        16:13:42
46071      6263198516       3/2/2012        19:06:07
46072      6263209847       11/7/2011       11:12:57
46073      6263240627       3/12/2012       19:38:44
46074      6263242621       4/21/2012       16:48:50
46075      6263242921       10/17/2012      12:45:33
46076      6263242993       4/13/2012       20:48:12
46077      6263243434       9/27/2011       18:53:18
46078      6263244517       2/18/2012       10:19:52
46079      6263271797       7/8/2012        13:32:59
46080      6263291477       10/24/2011      14:23:56
46081      6263298740       9/24/2011       10:12:50
46082      6263298740       10/8/2011       12:20:39
46083      6263409709       3/26/2011       11:12:14
46084      6263409709       11/11/2011      20:28:27
46085      6263430563       2/9/2012        20:39:25
46086      6263432698       8/8/2012        16:15:24
46087      6263473020       9/14/2011       21:37:44
46088      6263478230       11/17/2011      16:36:57
46089      6263487567       11/5/2011       11:59:35
46090      6263670541       9/17/2011       10:08:58
46091      6263673135       11/26/2011      13:45:46
46092      6263674830       5/8/2012        12:37:23
46093      6263676906       3/7/2012        18:34:58
46094      6263678539       12/6/2011       14:43:43
46095      6263679283       4/19/2012       20:19:44
46096      6263714073       3/15/2012       13:56:15
46097      6263714073       7/30/2012       13:42:31
46098      6263727522       6/25/2011       15:43:05
46099      6263733240       11/17/2011      14:52:37
46100      6263734315       7/14/2011       10:15:59
46101      6263735783       10/3/2011       10:36:34
46102      6263736271       7/20/2012       11:21:35
46103      6263740333       1/13/2012       10:38:56
46104      6263740333       1/25/2012       20:28:39
46105      6263740586       11/23/2011      14:44:34
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46106      6263743162       12/30/2011      12:48:09
46107      6263753503       11/29/2011      16:13:23
46108      6263761875       10/24/2012      21:13:08
46109      6263762147       12/7/2011       13:48:09
46110      6263762148       12/22/2011      21:02:09
46111      6263763441       3/2/2012        9:16:38
46112      6263768039       11/9/2011       10:28:57
46113      6263770134       10/14/2013      15:17:25
46114      6263773907       5/28/2012       10:48:38
46115      6263773914       5/22/2012       18:31:56
46116      6263776554       3/2/2012        18:54:58
46117      6263777508       2/13/2012       11:34:09
46118      6263782642       9/8/2011        19:14:35
46119      6263789948       11/14/2011      17:45:06
46120      6263832066       10/15/2011      11:15:58
46121      6263832134       9/21/2011       12:06:29
46122      6263846440       9/19/2011       19:21:51
46123      6263887814       12/20/2011      14:59:40
46124      6263906902       9/17/2011       10:09:09
46125      6263912311       12/23/2011      15:15:39
46126      6263912426       9/6/2011        12:26:19
46127      6263914302       10/24/2011      8:05:31
46128      6263916789       2/3/2012        14:28:04
46129      6263921722       11/25/2011      18:37:11
46130      6263925572       7/21/2012       10:33:10
46131      6263925857       10/15/2011      11:07:56
46132      6263926316       12/20/2011      15:11:38
46133      6263927704       5/14/2012       15:44:44
46134      6263928133       11/16/2011      10:51:56
46135      6263931462       8/9/2012        21:57:53
46136      6263932290       12/9/2011       15:44:44
46137      6263934305       10/24/2011      14:28:35
46138      6263939114       2/14/2012       16:43:57
46139      6263994827       8/16/2012       19:49:41
46140      6263999564       10/29/2011      11:05:54
46141      6264048312       4/21/2012       16:28:53
46142      6264048312       5/30/2012       16:59:49
46143      6264048983       4/1/2012        17:39:08
46144      6264075088       8/15/2012       21:41:52
46145      6264091058       11/4/2011       10:30:25
46146      6264091383       3/14/2012       14:46:45
46147      6264093243       10/19/2011      12:28:42
46148      6264094724       11/19/2011      10:41:57
46149      6264095227       10/8/2011       12:21:32
46150      6264095321       1/6/2012        12:53:32
46151      6264096090       11/28/2011      12:33:22
46152      6264097366       11/9/2011       10:15:03
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46153      6264108183       4/4/2012        18:40:33
46154      6264169979       12/6/2011       13:22:25
46155      6264176190       7/20/2012       14:53:49
46156      6264176355       9/9/2011        18:38:13
46157      6264192341       1/19/2012       18:33:05
46158      6264192713       10/10/2012      19:15:00
46159      6264210183       1/18/2012       10:15:23
46160      6264211626       3/2/2012        18:56:03
46161      6264212144       4/13/2012       13:25:14
46162      6264212373       12/17/2011      12:16:57
46163      6264214919       10/14/2011      13:06:03
46164      6264215814       12/6/2011       14:18:24
46165      6264226011       11/25/2011      17:59:09
46166      6264228994       11/9/2011       12:51:53
46167      6264233379       12/17/2011      12:17:03
46168      6264284577       2/14/2012       13:31:40
46169      6264286839       8/29/2012       20:22:54
46170      6264295256       10/10/2011      12:06:18
46171      6264296114       6/28/2011       18:27:56
46172      6264346240       4/15/2012       19:58:30
46173      6264349252       5/10/2012       15:07:05
46174      6264349709       11/11/2011      13:27:42
46175      6264356702       2/7/2012        16:41:45
46176      6264356780       11/28/2011      18:17:14
46177      6264357437       6/10/2012       14:38:12
46178      6264357505       5/9/2012        16:08:55
46179      6264357655       12/6/2011       13:43:59
46180      6264652797       5/3/2012        21:15:18
46181      6264658641       6/14/2012       21:30:23
46182      6264665494       2/25/2012       11:14:09
46183      6264666296       12/18/2011      16:26:37
46184      6264758244       7/25/2012       12:09:44
46185      6264759908       6/18/2012       15:31:30
46186      6264769148       9/10/2011       12:34:21
46187      6264807837       6/7/2012        18:26:23
46188      6264826668       1/11/2014       15:42:42
46189      6264831240       3/11/2011       17:01:38
46190      6264844364       9/21/2011       11:38:43
46191      6264854288       10/26/2011      12:29:25
46192      6264854288       4/16/2012       16:09:40
46193      6264857817       7/24/2012       20:34:04
46194      6264867687       3/8/2012        15:41:50
46195      6264878228       9/19/2011       19:28:14
46196      6264882325       3/27/2012       15:09:10
46197      6264882445       11/19/2011      10:37:16
46198      6264882445       1/18/2012       21:24:08
46199      6264883216       7/18/2011       11:19:53
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46200      6264884584       1/20/2012       20:36:34
46201      6264884703       4/11/2012       21:48:47
46202      6264886907       3/7/2012        18:35:40
46203      6264887356       6/7/2012        18:33:04
46204      6264887766       3/29/2012       11:23:17
46205      6264889335       10/4/2011       14:01:25
46206      6264940558       11/4/2011       10:14:47
46207      6264942654       9/19/2011       14:59:10
46208      6264942654       10/7/2011       10:29:52
46209      6264972647       10/7/2012       13:16:47
46210      6264972914       9/21/2012       16:12:11
46211      6264983197       7/3/2012        14:04:52
46212      6265020110       9/21/2011       19:36:21
46213      6265022639       10/1/2012       21:35:56
46214      6265066196       6/6/2012        21:23:10
46215      6265067881       12/15/2011      10:18:24
46216      6265129427       7/30/2012       13:44:37
46217      6265131438       11/28/2011      18:19:30
46218      6265234088       7/11/2012       17:23:13
46219      6265322266       5/25/2012       11:56:54
46220      6265330618       12/29/2011      19:09:31
46221      6265331033       11/28/2011      18:12:06
46222      6265332941       7/7/2012        10:28:58
46223      6265332941       7/23/2012       13:29:01
46224      6265338673       12/26/2011      20:35:01
46225      6265342807       11/11/2011      20:27:42
46226      6265361897       8/25/2012       11:20:08
46227      6265364297       4/11/2012       11:38:41
46228      6265364297       7/31/2012       21:04:34
46229      6265369925       9/5/2012        15:31:51
46230      6265390265       9/20/2011       16:56:30
46231      6265420449       12/15/2011      21:47:00
46232      6265480393       9/13/2011       13:43:51
46233      6265516578       11/22/2011      19:51:17
46234      6265518192       7/6/2012        16:57:43
46235      6265519077       7/25/2012       12:09:47
46236      6265604679       10/22/2012      17:52:45
46237      6265717706       5/24/2012       12:19:42
46238      6265796483       5/9/2012        21:41:44
46239      6265887172       10/6/2011       18:01:10
46240      6265902202       10/3/2011       10:42:46
46241      6265902202       10/6/2011       17:03:13
46242      6265903252       9/24/2011       10:09:56
46243      6265904421       10/24/2011      14:29:24
46244      6265921661       6/7/2012        18:25:54
46245      6265982048       10/22/2012      18:02:41
46246      6266026150       11/28/2011      17:07:59
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46247      6266026309       12/3/2011       10:33:03
46248      6266026316       8/17/2011       18:53:53
46249      6266146731       11/17/2011      16:51:45
46250      6266162249       4/30/2012       14:38:58
46251      6266255696       10/22/2011      13:23:23
46252      6266266804       8/7/2012        21:44:40
46253      6266270826       6/24/2012       11:34:27
46254      6266273649       4/22/2012       15:43:09
46255      6266365068       10/10/2011      12:59:22
46256      6266394172       12/4/2013       11:56:49
46257      6266417522       5/4/2012        18:28:42
46258      6266438608       8/13/2012       21:00:25
46259      6266441875       11/12/2011      10:51:49
46260      6266442217       10/5/2012       12:49:03
46261      6266528000       10/15/2011      11:06:59
46262      6266606144       8/4/2012        10:45:37
46263      6266608986       11/11/2011      13:29:10
46264      6266608986       1/23/2012       19:05:05
46265      6266642505       7/7/2012        10:08:59
46266      6266644095       2/24/2012       21:47:47
46267      6266655033       2/17/2012       18:24:34
46268      6266655033       2/28/2012       16:21:50
46269      6266657669       5/12/2012       10:23:33
46270      6266725203       6/7/2012        12:50:26
46271      6266725718       10/8/2012       12:52:30
46272      6266750146       3/16/2012       15:55:54
46273      6266750147       12/26/2011      20:38:07
46274      6266756090       9/19/2011       19:36:15
46275      6266769579       11/25/2011      18:36:50
46276      6266798060       11/17/2011      16:34:39
46277      6266881369       4/21/2012       16:48:13
46278      6266884914       3/28/2012       18:26:24
46279      6267031930       1/13/2012       17:19:09
46280      6267054465       9/20/2011       19:01:05
46281      6267054465       9/23/2011       11:26:07
46282      6267106713       12/22/2011      10:04:09
46283      6267151501       10/14/2011      13:02:53
46284      6267153807       9/19/2011       14:46:17
46285      6267153807       9/24/2011       10:04:49
46286      6267157485       10/15/2012      10:14:37
46287      6267203989       8/22/2012       11:15:00
46288      6267222296       4/11/2012       13:11:03
46289      6267222798       9/22/2011       15:34:33
46290      6267223116       3/23/2012       19:56:34
46291      6267332413       10/4/2011       13:59:24
46292      6267336236       3/17/2012       11:53:10
46293      6267557735       7/9/2012        19:03:53
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46294      6267565992       3/13/2012       12:54:12
46295      6267566964       5/11/2012       21:28:54
46296      6267577510       1/8/2012        16:45:38
46297      6267578761       8/15/2012       7:52:50
46298      6267800052       10/11/2011      17:46:58
46299      6267800202       11/26/2011      12:11:19
46300      6267865904       2/15/2012       21:04:40
46301      6267894733       10/1/2011       10:57:49
46302      6268028214       9/13/2011       16:59:43
46303      6268065999       3/19/2012       19:28:35
46304      6268068038       12/23/2011      16:06:34
46305      6268077717       5/7/2012        14:58:35
46306      6268082030       11/5/2011       10:34:03
46307      6268082279       9/30/2011       10:03:12
46308      6268082279       10/15/2011      10:44:59
46309      6268082279       11/2/2011       14:17:20
46310      6268186512       9/3/2011        11:02:57
46311      6268187938       10/4/2011       13:59:00
46312      6268203085       11/22/2011      19:47:47
46313      6268203153       9/22/2012       12:21:53
46314      6268242643       2/7/2012        20:26:20
46315      6268245117       10/22/2011      13:19:54
46316      6268247393       6/30/2011       10:41:06
46317      6268250611       2/15/2012       21:03:10
46318      6268253875       8/1/2012        20:31:13
46319      6268256039       12/5/2011       18:44:20
46320      6268256995       3/31/2012       22:36:24
46321      6268257576       10/1/2012       13:40:47
46322      6268260206       11/25/2011      18:36:24
46323      6268261914       10/14/2011      13:05:16
46324      6268279178       3/26/2012       18:32:48
46325      6268311028       2/29/2012       17:28:11
46326      6268311028       4/12/2012       14:23:27
46327      6268315205       2/24/2012       20:57:33
46328      6268331902       3/15/2012       14:02:55
46329      6268337744       7/23/2011       14:10:19
46330      6268402706       5/26/2012       14:41:53
46331      6268409561       6/1/2012        10:44:06
46332      6268411732       8/3/2011        12:06:40
46333      6268481083       9/27/2012       16:30:03
46334      6268481492       10/1/2012       13:40:29
46335      6268481655       11/10/2011      14:45:24
46336      6268481799       3/15/2012       14:05:49
46337      6268488901       4/27/2012       21:06:05
46338      6268620848       1/5/2012        14:09:17
46339      6268621084       9/15/2012       11:24:26
46340      6268621255       1/25/2012       18:22:02
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46341      6268628375       8/22/2012       21:44:52
46342      6268642376       4/1/2011        13:02:01
46343      6268649113       12/12/2011      12:30:44
46344      6268900021       10/19/2011      12:35:32
46345      6268907853       9/25/2012       14:59:54
46346      6268908746       8/8/2011        13:24:03
46347      6268930306       10/1/2011       10:55:56
46348      6268934027       9/19/2011       19:36:33
46349      6268935729       1/10/2012       21:34:11
46350      6269052266       5/5/2012        12:31:28
46351      6269053945       12/14/2011      17:55:53
46352      6269054509       4/13/2012       20:47:25
46353      6269054599       7/21/2012       10:33:38
46354      6269220334       5/7/2011        15:36:08
46355      6269230260       12/12/2011      12:30:32
46356      6269230495       6/9/2012        15:08:28
46357      6269230495       7/30/2012       18:49:31
46358      6269230722       10/4/2011       13:28:38
46359      6269230851       5/17/2012       17:04:15
46360      6269230851       6/25/2012       13:55:15
46361      6269234125       12/20/2011      14:58:27
46362      6269237540       11/23/2011      14:45:35
46363      6269238070       6/7/2012        18:25:51
46364      6269264842       5/15/2012       19:03:44
46365      6269264990       10/8/2011       12:32:34
46366      6269265136       5/18/2012       16:05:13
46367      6269415322       10/24/2011      12:41:58
46368      6269450195       5/14/2012       15:47:00
46369      6269450800       1/14/2012       10:59:13
46370      6269455889       5/2/2012        21:09:19
46371      6269754074       9/24/2012       19:11:27
46372      6269755988       11/7/2011       11:18:32
46373      6269758214       9/4/2012        16:10:53
46374      6269912087       4/17/2012       11:24:32
46375      6269912649       4/9/2012        13:40:19
46376      6269997650       2/4/2012        13:24:08
46377      6302010205       10/15/2011      10:56:07
46378      6302015226       8/9/2011        13:00:07
46379      6302017108       5/23/2012       15:17:40
46380      6302020527       8/20/2012       18:43:31
46381      6302021430       7/25/2012       20:40:48
46382      6302025458       6/6/2011        17:21:39
46383      6302025523       8/20/2012       10:00:22
46384      6302026721       9/29/2011       15:50:31
46385      6302051526       9/26/2011       9:38:11
46386      6302071637       2/1/2012        8:15:42
46387      6302093350       6/12/2012       17:12:46
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46388      6302155917       1/3/2012        11:18:29
46389      6302175232       10/5/2012       12:18:23
46390      6302176219       3/16/2012       10:03:16
46391      6302201999       9/19/2011       8:08:40
46392      6302202132       10/13/2011      8:21:56
46393      6302203978       9/14/2011       15:27:30
46394      6302295219       9/8/2011        19:34:58
46395      6302298655       7/6/2012        14:50:44
46396      6302299902       2/29/2012       17:31:51
46397      6302359170       6/24/2011       12:05:52
46398      6302405729       4/19/2012       20:16:38
46399      6302408199       8/3/2012        12:40:40
46400      6302470206       10/20/2011      16:18:44
46401      6302541981       3/10/2011       16:34:46
46402      6302546154       10/4/2011       13:12:56
46403      6302561803       1/18/2012       16:52:00
46404      6302635441       12/10/2011      12:24:12
46405      6302705116       10/18/2011      13:00:58
46406      6302705186       1/9/2012        18:40:17
46407      6302708126       3/16/2012       16:02:52
46408      6302708780       7/23/2012       15:20:40
46409      6302722133       9/22/2012       9:14:56
46410      6302727591       10/6/2011       16:36:34
46411      6302729053       8/19/2011       12:05:42
46412      6302735226       1/13/2012       17:42:05
46413      6302870741       11/18/2011      12:54:47
46414      6303272435       9/24/2011       9:26:54
46415      6303277792       12/18/2011      16:19:24
46416      6303283229       7/13/2012       14:02:55
46417      6303306331       10/15/2011      10:44:33
46418      6303306768       10/19/2011      12:09:53
46419      6303306847       3/16/2012       10:04:47
46420      6303306847       5/21/2012       8:16:56
46421      6303332392       9/20/2011       20:42:00
46422      6303366379       1/18/2012       10:35:17
46423      6303387904       2/24/2012       20:51:59
46424      6303396906       10/15/2011      10:06:24
46425      6303400460       2/24/2011       11:50:42
46426      6303462059       4/4/2012        18:51:58
46427      6303624760       10/17/2012      18:31:27
46428      6303636271       2/10/2012       9:20:36
46429      6303705134       9/20/2011       16:45:00
46430      6303793654       5/4/2012        18:12:05
46431      6303794911       12/27/2011      13:32:28
46432      6303798639       12/12/2011      12:18:19
46433      6303831686       11/23/2011      14:55:30
46434      6303839326       4/26/2012       17:32:02
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46435      6303861864       10/10/2011      12:42:28
46436      6303924871       3/14/2012       19:46:58
46437      6303960739       7/11/2012       17:21:59
46438      6303987997       11/17/2011      14:13:30
46439      6304000036       4/11/2012       11:35:57
46440      6304002380       3/29/2012       12:30:37
46441      6304005600       7/13/2012       18:35:44
46442      6304008015       1/8/2012        13:24:37
46443      6304019468       11/7/2011       8:13:05
46444      6304054836       8/22/2012       11:14:20
46445      6304054836       9/28/2012       16:51:43
46446      6304059588       8/16/2012       19:53:39
46447      6304085187       3/29/2012       16:44:08
46448      6304171812       9/27/2011       18:47:50
46449      6304175663       11/29/2011      15:02:59
46450      6304175663       1/16/2012       8:27:41
46451      6304180990       10/8/2011       11:41:44
46452      6304231775       7/9/2012        8:58:05
46453      6304277899       10/16/2012      20:29:23
46454      6304294057       4/6/2012        15:42:30
46455      6304338720       8/7/2012        19:47:13
46456      6304412973       8/17/2012       8:29:33
46457      6304525339       11/17/2011      14:17:02
46458      6304528682       10/5/2012       18:32:01
46459      6304530559       9/12/2011       14:25:55
46460      6304576027       5/28/2012       9:00:27
46461      6304576989       10/3/2012       8:03:58
46462      6304577428       5/20/2011       18:05:56
46463      6304578813       10/24/2011      8:03:41
46464      6304610714       9/19/2011       19:34:26
46465      6304618195       4/4/2011        13:00:02
46466      6304642671       1/6/2012        13:03:16
46467      6304704684       2/3/2012        20:05:10
46468      6304760135       11/23/2011      14:39:06
46469      6304793051       1/5/2012        17:28:37
46470      6304795236       9/28/2011       11:20:39
46471      6304840828       12/2/2011       15:04:05
46472      6304845141       4/26/2012       11:35:47
46473      6304870968       9/21/2011       11:31:21
46474      6305048846       8/9/2012        14:10:35
46475      6305061969       8/3/2012        16:25:35
46476      6305080071       9/24/2011       9:50:44
46477      6305144276       9/13/2011       13:48:16
46478      6305180961       12/20/2011      19:25:28
46479      6305180961       1/12/2012       14:17:37
46480      6305186411       2/11/2012       15:12:06
46481      6305187190       10/19/2011      8:07:36
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46482      6305233121       10/29/2011      11:48:58
46483      6305323097       7/21/2012       10:45:44
46484      6305369376       11/14/2011      17:06:19
46485      6305400071       9/28/2012       16:52:29
46486      6305441846       10/10/2012      12:43:53
46487      6305467501       3/28/2012       18:23:42
46488      6305506577       11/15/2011      15:42:26
46489      6305507062       3/27/2012       15:05:20
46490      6305507063       9/20/2011       20:33:27
46491      6305508883       4/30/2012       21:05:21
46492      6305616590       3/7/2012        18:57:57
46493      6305701889       9/5/2012        15:08:53
46494      6305897562       11/8/2011       14:38:37
46495      6306055876       12/16/2011      15:54:39
46496      6306078276       11/5/2011       10:18:06
46497      6306130033       5/25/2011       17:56:44
46498      6306150723       5/8/2012        17:48:32
46499      6306159948       1/14/2012       13:21:59
46500      6306186637       3/20/2012       9:29:35
46501      6306186850       8/3/2012        12:34:27
46502      6306215201       10/3/2012       8:05:37
46503      6306320721       5/5/2012        12:31:04
46504      6306361083       8/15/2012       12:23:32
46505      6306392549       10/5/2011       14:15:32
46506      6306563546       11/3/2011       17:57:02
46507      6306568018       5/23/2012       16:47:59
46508      6306606434       2/7/2012        20:24:16
46509      6306643481       9/26/2011       9:39:15
46510      6306647847       10/11/2011      16:20:25
46511      6306649984       12/23/2011      14:20:23
46512      6306673260       7/20/2012       15:05:10
46513      6306704710       3/30/2012       9:56:28
46514      6306708485       2/19/2012       19:46:22
46515      6306730666       5/30/2012       12:51:41
46516      6306735027       10/17/2012      9:43:38
46517      6306740012       10/10/2011      12:42:45
46518      6306753844       6/28/2012       8:03:22
46519      6306778042       2/14/2012       13:22:30
46520      6306883909       12/10/2011      14:44:14
46521      6306966345       9/20/2011       19:28:01
46522      6306994230       9/8/2011        19:52:37
46523      6306995673       9/30/2011       12:28:04
46524      6306997298       12/23/2011      20:45:03
46525      6307010467       4/4/2012        8:07:59
46526      6307092450       10/3/2012       10:23:24
46527      6307099010       7/24/2012       14:46:58
46528      6307155538       5/18/2012       12:23:48
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46529      6307305026       3/1/2012        8:51:32
46530      6307427731       11/14/2011      14:58:58
46531      6307427731       5/21/2012       8:14:23
46532      6307428508       1/26/2012       9:57:44
46533      6307463382       10/10/2011      11:54:14
46534      6307476977       8/31/2012       16:30:12
46535      6307489056       10/6/2012       8:54:04
46536      6307506322       9/29/2011       15:22:35
46537      6307650001       9/14/2011       19:38:53
46538      6307651168       12/10/2011      13:21:07
46539      6307651766       3/25/2012       12:02:53
46540      6307654338       4/11/2012       11:33:25
46541      6307706599       8/8/2012        16:13:10
46542      6307779627       1/18/2012       16:51:49
46543      6307798951       12/26/2011      20:33:36
46544      6307800086       1/10/2012       15:20:47
46545      6307809088       9/21/2011       11:31:40
46546      6307816204       7/3/2012        12:21:12
46547      6307884503       11/14/2011      17:23:07
46548      6307884503       5/31/2012       15:07:43
46549      6307885442       11/25/2011      18:14:05
46550      6308006297       10/5/2011       14:16:00
46551      6308020719       3/12/2012       19:11:01
46552      6308021184       10/5/2011       14:18:45
46553      6308021647       12/5/2011       18:33:54
46554      6308022116       2/10/2012       9:27:03
46555      6308023225       3/7/2012        18:33:02
46556      6308025350       11/28/2011      12:12:52
46557      6308027019       3/23/2012       14:45:12
46558      6308028501       4/1/2012        17:15:14
46559      6308038233       9/17/2011       9:43:32
46560      6308060713       12/28/2011      8:42:13
46561      6308061138       8/21/2012       13:51:56
46562      6308066070       3/22/2012       14:23:51
46563      6308081088       11/14/2011      17:28:41
46564      6308090404       12/7/2013       20:18:23
46565      6308097215       9/17/2011       10:24:28
46566      6308165153       9/19/2011       8:14:13
46567      6308165153       10/6/2011       10:15:20
46568      6308247830       9/22/2011       16:12:10
46569      6308258225       11/18/2011      13:25:33
46570      6308258289       12/5/2011       18:12:53
46571      6308354008       11/29/2011      15:24:34
46572      6308357720       5/14/2012       15:21:02
46573      6308410983       7/24/2012       14:42:25
46574      6308460058       7/20/2012       8:46:11
46575      6308490004       9/21/2011       11:54:41
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46576      6308490009       12/7/2011       13:30:48
46577      6308498039       2/10/2012       17:02:34
46578      6308534747       9/12/2011       14:14:47
46579      6308541633       9/21/2011       19:35:11
46580      6308626673       12/17/2011      11:37:31
46581      6308639589       9/29/2011       15:16:08
46582      6308813812       5/21/2012       8:54:25
46583      6308853376       12/20/2011      15:08:59
46584      6308861053       10/7/2011       17:39:52
46585      6308867586       7/20/2012       14:52:57
46586      6308908265       10/1/2011       11:02:53
46587      6309014427       6/21/2012       10:04:59
46588      6309014903       8/24/2012       11:09:51
46589      6309033092       9/10/2011       8:41:01
46590      6309037493       1/2/2012        8:08:49
46591      6309037493       2/21/2012       20:53:43
46592      6309089567       7/10/2012       11:58:53
46593      6309351590       3/11/2011       16:43:23
46594      6309357978       12/2/2011       8:09:06
46595      6309367833       5/7/2012        17:56:17
46596      6309404818       9/13/2011       13:49:25
46597      6309454524       9/2/2011        13:09:15
46598      6309456872       3/16/2012       10:04:02
46599      6309561305       9/14/2011       12:21:55
46600      6309650231       3/26/2012       18:28:11
46601      6309650838       9/24/2012       18:54:27
46602      6309654593       10/22/2011      12:41:26
46603      6309917155       8/25/2012       11:10:12
46604      6309952329       9/19/2011       19:15:46
46605      6309990826       3/30/2012       9:48:39
46606      6309993841       4/1/2012        17:14:35
46607      6312058433       4/24/2012       11:51:21
46608      6312058433       5/15/2012       19:04:31
46609      6312058433       5/21/2012       7:07:30
46610      6312058433       5/21/2012       7:33:15
46611      6312058433       6/20/2012       16:57:22
46612      6312086186       11/23/2011      14:28:26
46613      6312203605       9/23/2011       18:39:36
46614      6312206143       4/17/2012       9:40:47
46615      6312207382       10/20/2012      8:34:52
46616      6312207771       3/21/2012       7:07:19
46617      6312355629       3/13/2012       18:38:42
46618      6312523896       3/22/2012       14:08:57
46619      6312589657       5/16/2012       16:45:23
46620      6312589658       3/1/2012        8:41:53
46621      6312644856       9/3/2012        14:37:39
46622      6312752081       6/3/2011        7:28:43
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46623      6312753752       12/15/2011      8:26:17
46624      6312847718       3/26/2012       18:52:16
46625      6312941514       4/18/2012       7:10:57
46626      6312944721       10/20/2012      16:35:45
46627      6312950119       4/9/2012        7:11:33
46628      6312950203       1/3/2012        16:21:11
46629      6312956252       12/21/2011      10:03:00
46630      6313005504       7/21/2012       10:34:37
46631      6313128275       11/16/2011      7:59:52
46632      6313167400       10/11/2011      15:48:51
46633      6313279539       11/5/2011       9:07:52
46634      6313329108       3/10/2011       15:45:46
46635      6313352276       9/12/2011       12:57:09
46636      6313389659       10/12/2012      17:05:17
46637      6313554980       10/10/2011      12:09:35
46638      6313556878       8/13/2012       7:36:24
46639      6313559157       3/15/2011       11:32:48
46640      6313559811       5/4/2012        14:16:19
46641      6313563042       10/10/2012      12:41:54
46642      6313653822       6/23/2012       16:17:35
46643      6313657335       2/11/2012       15:20:55
46644      6313657335       3/2/2012        18:54:53
46645      6313752414       4/7/2012        9:39:30
46646      6313758159       9/22/2011       15:39:01
46647      6313790323       7/24/2012       7:36:01
46648      6313791653       10/10/2011      11:33:57
46649      6313831331       10/31/2011      7:11:05
46650      6313833163       3/29/2012       17:15:55
46651      6313847204       3/14/2012       19:26:37
46652      6313988118       10/27/2011      16:16:58
46653      6314131148       12/17/2011      12:02:03
46654      6314131148       4/23/2012       7:09:13
46655      6314137550       2/15/2012       11:38:49
46656      6314139965       11/28/2011      16:32:02
46657      6314157238       8/27/2012       8:19:32
46658      6314184369       1/21/2012       8:17:48
46659      6314334245       10/6/2011       17:15:19
46660      6314562728       9/20/2011       16:32:40
46661      6314638366       3/10/2011       16:04:19
46662      6314660330       3/15/2011       12:30:08
46663      6314664847       11/12/2011      9:07:13
46664      6314873308       2/6/2012        16:44:53
46665      6314877955       8/5/2011        18:36:43
46666      6315041148       6/1/2012        9:08:46
46667      6315048887       3/19/2012       17:38:29
46668      6315126520       9/13/2011       7:16:41
46669      6315128996       9/21/2011       19:28:11
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46670      6315137571       6/5/2012        7:09:01
46671      6315141239       6/21/2012       10:08:20
46672      6315227557       4/12/2012       17:54:31
46673      6315250093       11/11/2011      13:30:05
46674      6315253145       3/20/2012       17:34:51
46675      6315259270       7/2/2012        15:13:15
46676      6315537005       3/29/2011       16:07:19
46677      6315537412       10/6/2011       17:35:01
46678      6315537412       1/14/2012       8:20:55
46679      6315603500       4/4/2012        7:08:34
46680      6315608799       3/3/2012        8:32:57
46681      6315617038       8/8/2012        16:09:51
46682      6315751461       3/15/2012       18:52:35
46683      6315752446       7/30/2012       13:47:52
46684      6315753869       12/9/2011       7:56:25
46685      6315757081       10/12/2012      17:01:30
46686      6315789943       5/29/2012       17:01:34
46687      6315791496       3/20/2012       8:56:27
46688      6315795659       5/1/2012        17:35:57
46689      6315799641       10/18/2012      7:05:43
46690      6316053633       10/5/2012       12:22:25
46691      6316056919       6/11/2011       8:23:39
46692      6316244595       5/21/2012       7:58:17
46693      6316244595       7/19/2012       17:36:03
46694      6316396060       6/21/2012       10:09:41
46695      6316450099       7/9/2012        12:05:46
46696      6316627411       10/17/2011      7:13:19
46697      6316627418       4/30/2012       15:04:48
46698      6316628834       10/10/2012      19:09:08
46699      6316641337       7/14/2012       8:02:25
46700      6316724445       7/30/2012       13:33:47
46701      6316726589       3/10/2012       8:36:50
46702      6316727313       10/7/2011       7:14:35
46703      6316781916       8/15/2012       7:53:06
46704      6316805053       1/12/2012       14:11:17
46705      6316809329       9/27/2011       18:09:38
46706      6316879655       10/4/2011       13:04:30
46707      6317023199       9/21/2012       18:39:16
46708      6317159840       11/9/2011       7:27:40
46709      6317425243       9/8/2011        19:27:59
46710      6317426133       5/28/2012       7:59:50
46711      6317428586       1/5/2012        17:25:31
46712      6317470064       5/3/2012        7:01:11
46713      6317485374       3/28/2012       18:09:11
46714      6317643809       7/23/2012       12:59:42
46715      6317644158       7/9/2012        7:08:45
46716      6317672309       9/9/2011        18:41:03
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46717      6317742778       7/27/2012       15:31:13
46718      6317933946       11/19/2011      8:19:10
46719      6317962441       3/10/2011       18:10:20
46720      6317962441       10/12/2011      12:11:20
46721      6318052958       6/18/2012       15:33:00
46722      6318307985       2/22/2012       7:08:38
46723      6318309177       1/10/2012       17:37:07
46724      6318345920       10/6/2011       16:36:16
46725      6318354938       8/20/2011       9:46:41
46726      6318380062       3/30/2012       16:09:44
46727      6318388251       11/14/2013      15:51:50
46728      6318388623       10/13/2011      7:07:27
46729      6318393929       5/14/2011       11:54:08
46730      6318483870       3/31/2012       8:08:57
46731      6318676425       11/26/2011      12:20:08
46732      6318719595       5/18/2012       15:43:27
46733      6318735175       8/3/2011        12:18:45
46734      6318773934       2/24/2011       14:03:44
46735      6318795427       1/18/2012       9:44:31
46736      6318802007       4/10/2012       11:46:06
46737      6318854042       7/26/2012       11:50:33
46738      6318856003       9/14/2011       15:10:23
46739      6318895143       5/21/2012       7:17:34
46740      6318963154       6/19/2012       15:23:03
46741      6318968636       6/29/2012       17:45:41
46742      6319014866       10/15/2012      16:18:21
46743      6319014867       10/15/2011      8:48:29
46744      6319019964       10/12/2012      16:51:39
46745      6319023457       12/17/2011      11:52:41
46746      6319024911       12/12/2011      12:15:38
46747      6319025522       10/25/2011      15:02:06
46748      6319028384       3/1/2012        8:32:19
46749      6319028384       4/11/2012       19:36:27
46750      6319051254       10/11/2011      15:45:08
46751      6319058745       5/16/2012       16:45:22
46752      6319126420       2/29/2012       7:11:38
46753      6319213406       7/23/2011       11:42:01
46754      6319213406       12/10/2011      8:05:57
46755      6319214001       9/14/2011       21:35:30
46756      6319218016       4/10/2012       16:19:19
46757      6319261418       5/21/2012       7:33:53
46758      6319262110       3/31/2012       8:09:20
46759      6319352735       12/2/2011       15:03:04
46760      6319432262       10/20/2011      15:57:59
46761      6319433107       10/29/2011      11:35:07
46762      6319435981       12/2/2011       15:13:36
46763      6319497070       5/18/2012       15:43:48
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46764      6319514495       8/30/2011       16:10:40
46765      6319604606       7/16/2012       19:42:43
46766      6319604606       10/22/2012      17:53:41
46767      6319616510       10/1/2011       9:24:08
46768      6319724956       5/25/2012       12:03:31
46769      6319740403       11/23/2011      9:08:26
46770      6319742460       5/3/2012        10:12:26
46771      6319882476       9/8/2011        19:50:22
46772      6319885904       9/29/2011       15:31:09
46773      6362080044       8/6/2012        15:20:34
46774      6362080533       1/25/2012       20:31:16
46775      6362082690       9/11/2012       15:14:24
46776      6362083163       10/8/2012       20:05:32
46777      6362083163       10/17/2012      18:31:10
46778      6362083186       5/8/2012        17:30:18
46779      6362083816       9/16/2011       13:25:37
46780      6362084953       6/7/2012        12:38:10
46781      6362088008       9/26/2012       14:40:52
46782      6362089434       9/21/2011       11:58:20
46783      6362120840       11/19/2011      8:19:28
46784      6362121672       10/17/2011      8:32:31
46785      6362191479       7/23/2012       13:24:49
46786      6362192639       3/20/2012       9:17:51
46787      6362192657       3/23/2012       14:44:42
46788      6362192657       5/21/2012       8:26:47
46789      6362192657       5/21/2012       17:47:29
46790      6362211755       9/15/2011       9:09:09
46791      6362214350       11/5/2011       10:14:38
46792      6362218589       8/23/2012       11:52:21
46793      6362219057       10/2/2012       12:55:06
46794      6362223518       12/21/2011      9:55:42
46795      6362267850       5/11/2012       10:42:25
46796      6362324285       1/27/2012       17:46:15
46797      6362325288       2/21/2012       20:49:28
46798      6362325706       3/20/2012       17:42:52
46799      6362326735       10/24/2012      14:46:55
46800      6362328694       7/28/2012       8:47:04
46801      6362347424       1/10/2012       15:17:24
46802      6362347553       9/26/2011       9:37:21
46803      6362352024       10/29/2011      11:39:30
46804      6362356267       3/13/2012       16:54:50
46805      6362368966       4/10/2012       11:39:40
46806      6362590508       8/15/2012       12:28:19
46807      6362596044       3/28/2012       18:13:49
46808      6362780869       1/4/2012        11:24:09
46809      6362790275       11/22/2011      19:39:47
46810      6362880925       6/14/2012       15:59:00
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46811      6362881523       2/21/2012       9:44:50
46812      6362885966       11/28/2011      17:53:43
46813      6362888119       10/17/2011      8:03:22
46814      6362888119       2/17/2012       18:33:38
46815      6362900018       11/4/2011       8:38:08
46816      6362900827       2/2/2012        16:34:12
46817      6362901131       9/27/2012       16:23:26
46818      6362903480       5/4/2012        18:19:15
46819      6362935080       2/28/2012       15:55:05
46820      6362936683       11/15/2011      20:09:14
46821      6362953559       9/4/2012        15:44:28
46822      6362956688       6/5/2012        19:53:17
46823      6362966903       4/11/2012       19:37:30
46824      6363228069       10/11/2011      17:31:28
46825      6363228069       10/21/2011      13:35:19
46826      6363450360       8/20/2012       10:10:23
46827      6363451009       12/23/2011      16:02:32
46828      6363451545       5/21/2012       8:40:01
46829      6363451545       5/21/2012       17:45:30
46830      6363451545       8/22/2012       11:22:03
46831      6363573425       8/16/2012       19:54:34
46832      6363573808       12/7/2011       17:56:37
46833      6363583808       11/8/2011       14:34:23
46834      6363588714       3/20/2012       9:29:36
46835      6363593615       2/2/2012        16:32:11
46836      6363595667       1/9/2012        18:43:36
46837      6363599095       3/15/2012       13:49:24
46838      6363733340       7/12/2012       19:59:24
46839      6363733373       7/23/2011       14:08:38
46840      6363772284       12/29/2011      11:12:36
46841      6363846192       9/13/2011       14:32:20
46842      6363882064       1/6/2012        14:33:04
46843      6363882180       10/12/2011      8:18:05
46844      6363885686       4/15/2012       17:11:18
46845      6363885686       5/14/2012       8:04:36
46846      6363885686       5/21/2012       8:19:26
46847      6363951074       6/5/2012        14:44:02
46848      6363994151       1/4/2012        11:07:38
46849      6363996166       10/24/2011      7:26:02
46850      6364323313       11/29/2011      16:11:51
46851      6364472120       9/7/2012        15:53:21
46852      6364481034       11/14/2011      17:30:49
46853      6364485573       8/21/2012       14:03:49
46854      6364599150       6/30/2012       15:57:16
46855      6364654706       9/20/2011       20:33:46
46856      6364655448       12/10/2011      14:43:37
46857      6364661009       2/7/2012        20:23:20
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                                    #:12849

46858      6364661367       9/9/2011        17:57:01
46859      6364662268       8/30/2012       17:42:58
46860      6364840278       3/14/2011       17:14:40
46861      6364853566       10/3/2012       19:52:04
46862      6364899956       3/9/2012        9:14:06
46863      6364970773       9/20/2012       20:58:14
46864      6364972079       8/30/2012       17:45:43
46865      6364972994       11/11/2011      13:45:39
46866      6364975025       3/22/2012       14:23:27
46867      6365241599       4/4/2011        15:06:56
46868      6365418821       1/17/2012       17:36:53
46869      6365418821       1/20/2012       20:27:46
46870      6365440487       9/14/2011       9:49:43
46871      6365441164       11/25/2011      17:48:04
46872      6365750417       12/22/2011      9:51:42
46873      6365751249       1/3/2014        17:42:00
46874      6365752800       9/12/2011       13:26:27
46875      6365757053       9/12/2011       13:22:30
46876      6365779000       9/27/2011       18:05:25
46877      6365779000       1/8/2012        12:49:43
46878      6365785989       10/10/2011      12:39:31
46879      6365799604       4/9/2012        19:39:35
46880      6365799837       12/7/2011       13:41:19
46881      6365841523       2/6/2012        17:16:59
46882      6365842935       7/13/2012       18:52:19
46883      6365849719       1/26/2012       9:57:44
46884      6366336458       11/18/2011      12:54:05
46885      6366348177       3/26/2011       12:28:07
46886      6366750223       11/18/2011      12:25:42
46887      6366759191       9/14/2011       11:57:57
46888      6366928106       3/6/2012        16:02:10
46889      6366977227       8/3/2012        16:31:19
46890      6366978730       1/26/2012       9:57:56
46891      6366984481       3/27/2012       11:06:57
46892      6366995570       11/16/2011      10:19:46
46893      6366996291       10/28/2011      14:18:24
46894      6366996973       12/24/2011      8:05:44
46895      6367341204       4/25/2011       13:29:48
46896      6367444179       11/28/2011      11:26:48
46897      6367445744       8/29/2011       17:03:16
46898      6367449309       6/28/2012       8:05:04
46899      6367449534       1/11/2012       9:06:39
46900      6367518325       1/10/2012       12:42:37
46901      6367955585       1/11/2012       8:52:04
46902      6367956753       1/11/2012       16:38:07
46903      6368876141       5/29/2012       17:07:14
46904      6369709236       10/1/2011       10:40:21
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46905      6412021823      9/24/2011        9:45:02
46906      6412035233      7/9/2012         19:07:17
46907      6412035233      7/23/2012        13:15:36
46908      6412049647      10/5/2012        18:33:42
46909      6412105129      3/12/2012        11:09:57
46910      6412188291      9/13/2011        17:54:53
46911      6412201624      10/25/2012       12:15:31
46912      6412206743      11/25/2011       18:25:16
46913      6412249073      11/2/2011        14:13:26
46914      6412299089      3/23/2012        11:15:47
46915      6412299089      4/30/2012        17:33:36
46916      6412299089      5/13/2012        17:39:16
46917      6412311607      11/19/2011       8:55:22
46918      6412752034      12/29/2011       19:32:23
46919      6412780249      1/23/2012        19:16:49
46920      6412780249      7/25/2012        20:42:09
46921      6412780503      5/21/2012        8:16:38
46922      6412951005      12/28/2011       8:55:08
46923      6412952087      7/13/2012        17:17:59
46924      6413443002      2/18/2012        9:09:39
46925      6413446366      5/21/2012        8:23:32
46926      6413446366      5/21/2012        17:44:47
46927      6413730242      7/27/2012        15:25:33
46928      6413733598      10/4/2011        13:24:22
46929      6413734154      2/6/2012         17:17:04
46930      6413736315      2/9/2012         9:31:26
46931      6413736315      5/6/2012         18:10:17
46932      6413738130      11/28/2011       11:29:26
46933      6414141000      10/15/2011       10:49:13
46934      6414144386      7/9/2012         19:13:46
46935      6414144386      7/13/2012        14:04:23
46936      6414144667      11/27/2011       15:33:36
46937      6414145766      6/17/2011        15:15:50
46938      6414149494      9/8/2011         19:31:37
46939      6414200673      5/7/2011         15:10:40
46940      6414201570      8/8/2012         16:12:47
46941      6414208433      7/26/2012        19:21:16
46942      6414265801      4/20/2012        20:58:12
46943      6414269329      9/30/2011        10:21:03
46944      6414269329      10/11/2011       16:16:16
46945      6414269469      9/20/2011        16:31:53
46946      6414269666      3/22/2012        8:02:24
46947      6414511692      11/5/2011        11:19:10
46948      6414553221      9/16/2011        13:34:46
46949      6414568406      12/10/2011       14:50:06
46950      6414851607      9/8/2011         19:48:18
46951      6414851711      4/14/2012        9:29:15
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46952      6414856453      7/27/2012        13:11:52
46953      6414858210      12/28/2011       20:46:08
46954      6415043016      3/31/2012        17:43:54
46955      6415122115      5/4/2012         20:53:55
46956      6415124443      10/22/2011       13:12:44
46957      6415212733      10/8/2011        11:41:17
46958      6415215495      4/20/2012        20:56:49
46959      6415906708      10/3/2012        10:22:31
46960      6416380256      11/23/2011       9:36:01
46961      6416608895      9/10/2012        8:44:53
46962      6416800956      9/30/2011        10:21:25
46963      6416803806      6/15/2012        16:24:10
46964      6416806073      2/6/2012         20:28:40
46965      6416847693      12/12/2011       16:24:16
46966      6416913088      12/10/2011       9:37:28
46967      6416915321      10/22/2011       13:11:13
46968      6416916656      4/5/2012         13:56:45
46969      6416918706      10/11/2012       18:43:04
46970      6416919601      4/15/2012        17:22:21
46971      6417154166      1/20/2012        19:42:24
46972      6417504393      10/7/2012        13:06:48
46973      6417514836      9/22/2011        15:20:31
46974      6417516912      10/4/2011        13:51:52
46975      6417517779      10/10/2011       12:46:06
46976      6417770427      10/15/2011       10:56:30
46977      6417771066      7/13/2012        7:46:39
46978      6417771509      10/31/2011       10:13:52
46979      6417773388      1/12/2012        14:33:45
46980      6417773536      7/3/2012         16:00:17
46981      6417773536      7/18/2012        18:35:49
46982      6417773536      8/30/2012        17:48:32
46983      6417775769      8/13/2011        12:01:46
46984      6417775769      10/4/2011        13:48:41
46985      6417778427      10/18/2011       12:21:24
46986      6417778711      7/16/2012        9:26:06
46987      6417811269      12/26/2011       20:26:26
46988      6417929580      9/28/2012        14:37:37
46989      6417990371      9/20/2011        20:41:59
46990      6417991949      10/7/2011        8:08:54
46991      6417992110      10/5/2012        18:25:23
46992      6417993096      3/15/2012        19:32:21
46993      6417999159      9/28/2011        10:34:07
46994      6418146299      11/19/2011       8:59:30
46995      6418310042      7/11/2012        9:44:05
46996      6418447609      9/8/2011         18:48:42
46997      6418447705      2/14/2012        15:27:42
46998      6418601050      7/6/2012         16:47:22
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46999      6418601050      9/11/2012        15:14:12
47000      6418913881      12/3/2011        9:13:23
47001      6418919861      9/19/2011        19:14:18
47002      6418952057      3/30/2012        9:44:11
47003      6418955149      8/24/2011        12:36:26
47004      6418957926      1/25/2012        20:30:58
47005      6419036637      3/8/2012         20:32:51
47006      6419038035      5/18/2012        16:00:43
47007      6419038457      9/24/2012        13:07:49
47008      6419038838      10/8/2011        10:01:14
47009      6419198629      12/28/2011       17:54:46
47010      6419231075      12/13/2011       17:40:32
47011      6419310441      8/19/2011        12:24:56
47012      6419805676      9/5/2012         10:37:24
47013      6419807085      5/23/2011        15:55:32
47014      6419901753      11/1/2011        8:12:35
47015      6419904837      1/27/2012        18:01:31
47016      6419904943      6/27/2011        18:34:53
47017      6419905438      12/6/2011        13:37:00
47018      6419906280      7/11/2012        17:16:18
47019      6419908163      5/6/2012         18:31:59
47020      6419909262      12/28/2011       20:45:26
47021      6462071016      5/22/2012        18:26:36
47022      6462076790      1/18/2012        11:03:11
47023      6462353243      7/18/2012        18:23:55
47024      6462353243      8/11/2012        9:21:24
47025      6462353243      9/28/2012        16:35:42
47026      6462386774      2/8/2012         7:34:32
47027      6462465629      1/12/2012        14:24:10
47028      6462519984      11/18/2011       12:51:12
47029      6462557041      12/17/2011       11:57:17
47030      6462560050      8/2/2012         19:12:26
47031      6462568090      5/21/2012        8:52:44
47032      6462616150      10/5/2011        14:32:09
47033      6462619513      2/7/2012         7:08:00
47034      6462674454      11/4/2011        7:03:10
47035      6462692571      7/9/2012         19:05:35
47036      6462869095      10/2/2012        12:54:33
47037      6463003692      10/5/2012        18:23:06
47038      6463188633      11/14/2011       16:04:24
47039      6463227981      11/2/2011        7:05:10
47040      6463230926      5/16/2012        16:53:07
47041      6463233117      9/14/2011        11:07:02
47042      6463272767      12/3/2011        8:50:50
47043      6463292632      1/5/2012         11:56:03
47044      6463391330      11/18/2011       13:28:53
47045      6463393432      5/2/2012         13:39:43
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47046      6463442418      11/16/2011       7:59:15
47047      6463449977      10/3/2012        19:53:28
47048      6463451083      3/27/2012        14:52:13
47049      6463513694      12/2/2011        7:32:23
47050      6463555195      12/21/2011       10:03:01
47051      6463586685      5/22/2012        11:16:21
47052      6463634063      2/28/2012        15:58:17
47053      6463697272      3/30/2012        16:43:59
47054      6463745670      10/13/2011       7:13:31
47055      6463745809      4/20/2012        13:58:00
47056      6463770575      12/29/2011       9:59:08
47057      6463771848      3/23/2012        19:10:48
47058      6463872233      9/8/2011         19:41:18
47059      6464008172      2/13/2012        7:15:13
47060      6464021117      7/30/2012        13:47:51
47061      6464101923      5/11/2012        12:18:27
47062      6464161196      2/17/2012        18:08:27
47063      6464174668      9/15/2011        7:34:29
47064      6464312204      9/12/2011        13:55:49
47065      6464314666      10/27/2011       15:18:33
47066      6464799502      3/16/2012        10:33:48
47067      6464899841      2/17/2012        8:57:49
47068      6465082142      10/3/2012        19:57:53
47069      6465233763      1/23/2012        19:45:41
47070      6465419522      7/30/2012        13:14:23
47071      6465419570      4/10/2012        15:58:03
47072      6465419570      5/1/2012         8:12:03
47073      6465467892      3/21/2012        7:11:12
47074      6465915650      5/15/2012        7:58:08
47075      6465915650      10/9/2012        7:41:58
47076      6465971540      11/19/2011       8:08:36
47077      6466232471      9/22/2011        15:58:44
47078      6466674903      3/9/2012         7:08:17
47079      6466700576      1/12/2012        14:10:57
47080      6466716571      6/7/2012         18:23:00
47081      6466840634      1/30/2012        7:02:41
47082      6467012924      3/27/2012        7:03:58
47083      6467012924      4/4/2012         18:33:47
47084      6467036668      9/9/2011         18:36:48
47085      6467303288      7/23/2012        11:55:09
47086      6467303686      6/21/2012        18:57:14
47087      6467322598      6/20/2012        16:49:51
47088      6467737524      10/29/2011       11:29:34
47089      6467850349      10/15/2012       16:09:32
47090      6467967476      10/10/2011       12:14:48
47091      6467971508      12/23/2011       13:50:39
47092      6468269811      3/10/2011        17:37:19
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47093      6468373899      7/11/2012        15:53:24
47094      6468429278      9/24/2011        9:30:06
47095      6468520317      11/15/2011       16:21:42
47096      6469124653      2/2/2012         7:05:14
47097      6469191631      10/8/2012        7:17:48
47098      6469328895      6/15/2012        8:57:51
47099      6469386362      8/25/2012        11:12:29
47100      6502010235      10/7/2011        8:14:39
47101      6502012479      11/4/2011        10:22:38
47102      6502017988      7/22/2012        16:00:09
47103      6502073615      12/17/2011       12:15:37
47104      6502158588      10/11/2013       18:28:50
47105      6502180173      4/3/2012         16:03:42
47106      6502197928      7/16/2012        19:55:16
47107      6502198191      7/12/2012        13:26:38
47108      6502431341      5/5/2012         12:23:52
47109      6502551682      1/11/2012        11:03:56
47110      6502556203      1/31/2012        10:24:48
47111      6502692691      2/3/2012         14:31:07
47112      6502708391      6/25/2011        15:41:15
47113      6502710407      6/16/2012        10:14:57
47114      6502786586      3/28/2011        15:48:47
47115      6502795412      7/14/2012        10:14:26
47116      6502833063      2/29/2012        17:36:54
47117      6502836346      3/7/2012         18:37:43
47118      6502837385      2/14/2012        10:10:38
47119      6502900897      7/29/2011        20:30:32
47120      6502960457      9/27/2011        18:56:56
47121      6502960457      10/17/2011       11:02:04
47122      6502964333      10/15/2011       11:13:58
47123      6503024381      9/15/2011        10:41:32
47124      6503025855      5/9/2012         14:35:29
47125      6503031329      10/4/2011        13:29:41
47126      6503364124      3/16/2012        16:05:07
47127      6503809893      1/3/2012         11:27:33
47128      6503882544      12/21/2011       10:29:01
47129      6503888521      7/29/2011        20:21:30
47130      6504001297      9/11/2012        15:11:48
47131      6504171511      10/5/2011        14:24:25
47132      6504171511      11/11/2011       20:31:14
47133      6504178907      9/12/2012        15:19:59
47134      6504268099      10/19/2012       11:30:39
47135      6504303839      6/12/2012        10:30:11
47136      6504400746      12/16/2011       15:50:50
47137      6504441280      1/9/2012         18:49:19
47138      6504512985      1/13/2012        17:15:50
47139      6504544937      8/30/2012        17:32:54
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47140      6504545532      6/27/2012        17:54:51
47141      6504545532      9/26/2012        15:31:39
47142      6504659198      5/5/2012         12:26:04
47143      6504685590      9/21/2012        18:53:37
47144      6504834480      11/17/2011       16:53:48
47145      6504835654      2/29/2012        17:58:54
47146      6504900017      9/20/2011        20:39:15
47147      6505155916      7/5/2012         15:43:09
47148      6505182071      9/16/2011        13:38:06
47149      6505182323      1/25/2012        18:22:50
47150      6505184170      10/12/2011       11:58:52
47151      6505203181      12/27/2011       14:41:21
47152      6505331390      7/23/2012        13:32:16
47153      6505548151      2/19/2012        21:45:55
47154      6505750501      9/21/2011        12:04:02
47155      6505802883      10/14/2011       13:06:00
47156      6506301333      11/12/2011       11:06:32
47157      6506303159      9/6/2011         13:04:27
47158      6506303159      10/10/2011       12:59:45
47159      6506303401      10/3/2012        10:22:01
47160      6506304612      1/11/2012        10:58:42
47161      6506306702      4/27/2012        11:47:03
47162      6506306810      2/3/2012         14:40:28
47163      6506692490      6/7/2012         12:39:45
47164      6506692969      9/20/2011        20:52:03
47165      6506693401      9/20/2011        16:59:40
47166      6506707195      5/3/2012         10:15:38
47167      6506780772      5/7/2012         17:55:33
47168      6506784823      8/12/2011        11:53:19
47169      6506784832      9/9/2011         18:37:45
47170      6507043111      9/27/2012        13:27:08
47171      6507142038      9/21/2011        12:03:29
47172      6507143837      6/22/2012        10:43:54
47173      6507163092      4/13/2012        20:42:50
47174      6507163846      4/24/2012        21:05:38
47175      6507167033      6/5/2012         18:02:07
47176      6507168629      7/19/2011        17:05:06
47177      6507201403      9/13/2011        13:42:32
47178      6507404766      12/1/2011        10:38:38
47179      6507430339      10/4/2011        14:00:01
47180      6507588270      6/13/2012        20:01:14
47181      6507591711      1/16/2012        12:13:26
47182      6507663254      6/25/2012        21:48:23
47183      6507710314      11/21/2011       10:53:47
47184      6507710560      8/18/2011        11:04:13
47185      6507711379      11/29/2011       16:13:34
47186      6507713473      10/22/2012       10:27:33
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47187      6507715591      10/4/2011        13:58:39
47188      6507715872      10/7/2011        10:17:39
47189      6507717236      2/13/2012        18:51:29
47190      6507717625      5/17/2012        12:22:51
47191      6507718941      3/15/2012        19:00:42
47192      6507760996      12/28/2011       13:25:09
47193      6507767345      8/10/2012        10:25:07
47194      6507841389      10/24/2012       15:25:32
47195      6507931836      10/10/2011       12:09:14
47196      6507934447      9/22/2011        15:38:13
47197      6507992794      10/1/2011        10:55:59
47198      6508145439      11/27/2011       15:37:06
47199      6508146225      5/31/2012        15:10:31
47200      6508266002      3/5/2012         11:06:58
47201      6508343201      10/18/2011       12:42:08
47202      6508343464      10/17/2012       12:45:36
47203      6508634916      11/11/2011       13:52:15
47204      6508675387      2/13/2012        11:41:40
47205      6508675387      2/20/2012        17:17:54
47206      6508681406      12/8/2011        21:08:23
47207      6508681406      2/17/2012        10:48:18
47208      6508688296      1/11/2012        11:00:25
47209      6509066634      4/11/2012        11:31:33
47210      6509210123      5/20/2012        15:55:10
47211      6509210682      9/24/2012        18:58:27
47212      6509211439      8/28/2012        11:55:44
47213      6509212050      9/27/2011        18:54:47
47214      6509212412      12/27/2011       14:43:11
47215      6509212412      1/9/2012         18:21:13
47216      6512108511      8/17/2011        19:15:26
47217      6512108511      9/30/2011        10:02:16
47218      6512108511      10/8/2011        11:47:55
47219      6512123614      7/20/2011        13:51:42
47220      6513197415      5/8/2012         12:33:13
47221      6513289575      5/22/2012        18:41:23
47222      6513296018      2/21/2012        21:26:47
47223      6513438808      9/21/2011        19:31:03
47224      6513536813      7/19/2012        17:37:27
47225      6513733463      11/17/2011       16:02:09
47226      6513872889      3/12/2012        11:13:45
47227      6514280597      1/19/2012        18:41:58
47228      6514283343      1/25/2012        20:29:59
47229      6514298129      7/28/2012        11:11:58
47230      6514343124      10/6/2011        17:01:42
47231      6514925224      9/24/2012        19:10:38
47232      6515875145      3/13/2012        18:40:56
47233      6517074692      7/23/2011        12:58:52
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47234      6517241585      7/23/2012        13:05:41
47235      6517242023      4/18/2012        8:11:34
47236      6517750006      11/16/2011       8:02:35
47237      6517958596      5/16/2012        7:15:30
47238      6518082943      3/27/2012        10:42:39
47239      6518082943      5/2/2012         13:07:22
47240      6518153936      10/19/2011       12:00:43
47241      6519556590      2/20/2012        8:51:21
47242      6519835642      10/6/2012        9:01:03
47243      6602020723      9/19/2011        19:12:53
47244      6602020963      10/7/2011        8:16:21
47245      6602020963      2/15/2012        8:18:44
47246      6602020963      5/21/2012        8:16:11
47247      6602023543      10/6/2011        16:36:09
47248      6602023655      12/7/2011        13:31:04
47249      6602150973      6/6/2012         8:21:39
47250      6602166687      9/6/2011         12:17:42
47251      6602169161      11/7/2011        8:12:12
47252      6602169615      12/27/2011       14:38:25
47253      6602210041      10/4/2011        13:20:12
47254      6602210364      10/15/2011       10:41:51
47255      6602210378      5/21/2012        8:16:33
47256      6602211640      9/10/2011        9:17:35
47257      6602211640      11/21/2011       8:32:53
47258      6602211640      12/26/2011       20:03:49
47259      6602212232      9/22/2011        16:03:13
47260      6602216358      2/20/2012        17:12:24
47261      6602216816      3/29/2012        16:46:23
47262      6602216816      4/12/2012        12:34:29
47263      6602218296      12/10/2011       13:35:01
47264      6602218319      8/30/2012        9:43:35
47265      6602291104      6/9/2012         10:32:33
47266      6602293039      12/6/2011        13:27:15
47267      6602330383      8/7/2012         19:44:51
47268      6602332424      10/18/2011       12:28:45
47269      6602345399      7/16/2011        8:56:24
47270      6602381574      2/3/2012         20:10:56
47271      6602382426      7/6/2012         16:47:31
47272      6602385070      9/26/2011        9:36:18
47273      6602385070      10/3/2011        8:23:43
47274      6602385070      2/21/2012        17:56:24
47275      6602386075      6/30/2012        8:23:10
47276      6602386537      4/21/2011        12:30:16
47277      6602386987      3/26/2012        15:00:30
47278      6602386987      6/23/2012        16:14:10
47279      6602387451      1/3/2012         11:18:39
47280      6602475848      12/26/2011       20:04:11
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47281      6602699886      10/10/2011       12:48:41
47282      6602814659      11/9/2011        7:33:29
47283      6602814659      3/8/2012         9:28:39
47284      6602871372      7/2/2012         17:25:32
47285      6602875502      12/27/2011       14:39:37
47286      6602922595      2/7/2012         20:19:00
47287      6603220517      12/30/2011       8:51:26
47288      6603291879      10/10/2012       12:47:52
47289      6603420344      10/27/2011       16:45:29
47290      6603425616      1/3/2012         11:19:16
47291      6603426819      4/20/2012        14:43:17
47292      6603427285      3/14/2014        10:07:25
47293      6603428420      6/14/2012        20:46:48
47294      6603498891      10/29/2011       11:41:11
47295      6603499912      7/21/2011        13:42:20
47296      6603514881      11/30/2011       15:26:00
47297      6603531075      7/16/2012        19:50:46
47298      6604140888      10/27/2011       16:06:20
47299      6604156073      7/25/2012        20:40:57
47300      6604251970      4/4/2012         8:21:57
47301      6604251970      4/26/2012        11:40:44
47302      6604410253      10/10/2011       12:40:44
47303      6604412086      1/9/2012         8:16:52
47304      6604412086      1/25/2012        9:20:05
47305      6604830235      9/3/2011         11:33:41
47306      6604830631      10/6/2012        8:53:02
47307      6604831088      12/7/2011        15:17:43
47308      6604927752      4/18/2012        9:07:08
47309      6604927752      5/21/2012        8:18:48
47310      6605253135      8/29/2011        12:24:42
47311      6605255250      10/8/2011        11:54:20
47312      6605257240      6/12/2012        8:31:36
47313      6605371814      4/14/2012        8:57:10
47314      6605372806      1/18/2012        16:52:20
47315      6605375533      4/23/2011        10:26:11
47316      6605630111      1/7/2012         9:37:03
47317      6605720810      10/5/2011        10:59:46
47318      6606053010      1/13/2012        17:16:17
47319      6606198565      12/28/2011       20:43:38
47320      6606210304      9/26/2012        15:25:40
47321      6606310445      10/15/2011       9:34:09
47322      6606310912      8/1/2012         20:11:15
47323      6606515669      10/23/2012       16:08:27
47324      6606544256      9/13/2012        15:21:54
47325      6606729249      10/20/2012       8:17:07
47326      6606762387      11/21/2011       8:26:44
47327      6606767969      9/10/2011        9:11:14
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47328      6606769472      9/12/2011        14:10:38
47329      6607231719      4/16/2011        15:20:19
47330      6607231719      10/28/2011       14:19:21
47331      6607344480      12/18/2011       17:03:12
47332      6607526110      11/23/2011       9:36:57
47333      6608151411      10/3/2012        19:51:43
47334      6608154772      9/21/2012        18:52:07
47335      6608335785      9/8/2012         11:40:30
47336      6608337056      2/11/2012        11:21:13
47337      6608337909      12/13/2011       17:10:50
47338      6608338485      6/18/2012        15:11:27
47339      6608339757      8/30/2012        17:41:45
47340      6608680101      9/19/2012        16:25:03
47341      6608681167      9/9/2011         18:13:11
47342      6608859713      5/18/2012        12:07:49
47343      6608860328      9/20/2011        20:31:35
47344      6608860529      8/13/2012        20:53:32
47345      6608883976      3/31/2012        8:19:27
47346      6609091029      7/6/2012         16:58:37
47347      6609093147      10/22/2011       12:43:45
47348      6609530801      10/12/2011       8:08:51
47349      6609732094      10/3/2012        19:52:07
47350      6609887525      10/18/2012       16:31:33
47351      6609982504      12/21/2011       19:49:19
47352      6612004052      6/21/2012        18:54:20
47353      6612004516      10/27/2011       18:22:29
47354      6612004835      10/20/2012       10:34:43
47355      6612008490      5/9/2012         16:09:06
47356      6612008678      2/10/2012        10:40:53
47357      6612010593      1/3/2012         19:52:24
47358      6612016937      3/6/2012         15:53:11
47359      6612017426      5/30/2012        16:59:32
47360      6612020158      9/17/2012        10:03:08
47361      6612020960      9/27/2011        18:41:36
47362      6612022894      10/5/2012        18:15:08
47363      6612022920      12/7/2011        13:46:47
47364      6612024288      6/23/2012        10:37:13
47365      6612024545      2/1/2012         13:37:16
47366      6612024545      2/8/2012         12:55:31
47367      6612029366      4/23/2012        20:48:37
47368      6612030380      10/8/2011        12:23:59
47369      6612030923      11/14/2011       17:50:01
47370      6612037972      4/27/2012        21:09:05
47371      6612042878      9/27/2011        18:21:25
47372      6612048215      5/23/2012        16:39:46
47373      6612048286      6/6/2012         10:22:55
47374      6612050594      9/13/2011        17:09:19
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47375      6612050838      1/30/2012        10:17:12
47376      6612053155      12/28/2011       20:48:32
47377      6612053225      3/31/2012        22:37:37
47378      6612054846      8/30/2012        17:32:04
47379      6612055298      4/26/2012        21:08:23
47380      6612082111      11/11/2011       20:12:28
47381      6612082386      8/9/2012         21:57:17
47382      6612082562      8/20/2012        18:47:00
47383      6612085785      11/14/2011       17:46:54
47384      6612094117      2/24/2012        21:46:36
47385      6612100439      2/10/2012        10:39:16
47386      6612121528      6/6/2012         21:21:07
47387      6612123614      4/23/2012        20:37:53
47388      6612129904      10/11/2011       17:49:34
47389      6612138803      3/19/2012        19:26:29
47390      6612194008      9/22/2011        15:37:55
47391      6612293354      2/3/2012         20:06:09
47392      6612295037      6/28/2012        14:24:06
47393      6612295941      4/6/2012         15:46:33
47394      6612298991      8/2/2012         19:11:49
47395      6612299333      10/14/2011       13:37:45
47396      6612333847      12/29/2011       10:05:10
47397      6612334281      11/14/2011       17:49:38
47398      6612334561      2/28/2012        13:21:14
47399      6612336208      5/25/2012        11:56:54
47400      6612336974      5/6/2012         21:08:38
47401      6612361967      9/17/2012        10:05:54
47402      6612362940      12/18/2011       16:39:44
47403      6612366384      5/23/2012        16:53:49
47404      6612385118      9/21/2011        11:39:24
47405      6612466699      9/29/2011        10:03:33
47406      6612468684      12/16/2011       16:44:39
47407      6612468684      12/26/2011       20:40:18
47408      6612475063      11/11/2011       20:17:38
47409      6612647069      8/1/2012         10:58:18
47410      6612682420      3/21/2012        18:38:21
47411      6612682558      4/20/2012        14:10:42
47412      6612693147      3/19/2012        12:03:21
47413      6613000211      2/3/2012         20:06:41
47414      6613011142      10/1/2012        21:35:10
47415      6613015488      5/16/2012        11:58:12
47416      6613015488      6/24/2012        13:49:53
47417      6613015488      6/27/2012        12:23:06
47418      6613015488      6/29/2012        17:52:53
47419      6613016537      1/18/2012        16:56:17
47420      6613018625      11/16/2011       10:10:41
47421      6613018727      4/4/2011         14:25:19
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47422      6613020970      1/5/2012         14:10:46
47423      6613022928      2/3/2012         14:28:07
47424      6613025906      2/8/2012         13:05:23
47425      6613028618      3/31/2012        22:36:28
47426      6613028724      3/6/2012         15:54:54
47427      6613028724      3/14/2012        19:38:48
47428      6613029242      11/3/2011        18:06:45
47429      6613037049      3/22/2012        14:04:35
47430      6613038873      10/16/2012       20:34:03
47431      6613043765      1/17/2012        18:34:51
47432      6613045343      11/11/2011       13:50:25
47433      6613058082      9/26/2011        13:19:56
47434      6613058813      7/27/2012        14:10:15
47435      6613095915      3/7/2012         18:34:08
47436      6613097106      8/21/2012        21:50:25
47437      6613104962      2/18/2012        10:23:41
47438      6613108640      12/26/2011       20:34:01
47439      6613127053      3/28/2012        18:17:06
47440      6613130594      11/16/2011       20:03:25
47441      6613133515      10/21/2011       13:42:53
47442      6613133857      12/29/2011       11:18:34
47443      6613162772      6/23/2012        15:58:03
47444      6613170190      1/9/2012         18:47:50
47445      6613171505      9/8/2011         19:13:25
47446      6613174415      7/30/2012        21:32:43
47447      6613175226      11/21/2011       10:59:09
47448      6613175734      5/13/2011        11:20:12
47449      6613175791      10/6/2011        17:59:44
47450      6613191431      9/19/2011        19:37:20
47451      6613199715      1/19/2012        18:40:53
47452      6613300055      12/26/2011       10:20:15
47453      6613301089      11/18/2011       13:11:44
47454      6613314444      10/20/2011       20:56:26
47455      6613320030      8/14/2012        20:54:14
47456      6613329631      4/2/2012         17:36:43
47457      6613331049      9/13/2011        13:45:20
47458      6613336782      12/10/2011       14:31:46
47459      6613400824      4/3/2012         20:17:45
47460      6613404139      4/19/2012        20:13:17
47461      6613411804      9/15/2011        9:03:42
47462      6613412525      6/16/2012        10:10:54
47463      6613412525      8/6/2012         16:31:24
47464      6613415298      4/10/2012        11:45:29
47465      6613417963      12/30/2011       12:52:22
47466      6613425977      1/3/2012         16:32:59
47467      6613428291      1/5/2012         12:09:28
47468      6613431868      9/14/2011        21:25:33
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47469      6613434670      10/6/2011        17:01:23
47470      6613438163      8/11/2012        12:30:53
47471      6613439089      10/17/2011       10:39:02
47472      6613439180      11/1/2011        20:17:34
47473      6613440440      2/6/2012         10:05:34
47474      6613442655      1/27/2012        12:04:00
47475      6613451099      3/15/2012        14:20:54
47476      6613453906      6/11/2012        18:13:06
47477      6613453906      10/12/2012       21:26:36
47478      6613454370      5/7/2012         14:58:24
47479      6613459118      9/20/2011        20:51:18
47480      6613464373      4/23/2012        20:38:11
47481      6613467332      10/8/2011        10:19:32
47482      6613468463      9/18/2012        14:21:22
47483      6613481730      2/10/2012        10:35:14
47484      6613487570      5/5/2011         13:26:37
47485      6613493204      11/29/2011       15:14:24
47486      6613496377      4/4/2012         18:44:50
47487      6613501133      9/24/2011        10:10:46
47488      6613501216      3/31/2012        22:35:31
47489      6613502442      7/16/2012        19:41:22
47490      6613502442      8/7/2012         21:42:09
47491      6613505294      9/9/2011         18:06:33
47492      6613614029      4/9/2012         13:51:56
47493      6613642404      6/9/2012         11:06:08
47494      6613643308      11/16/2011       11:00:08
47495      6613693082      5/10/2012        15:06:24
47496      6613693300      5/23/2012        14:48:29
47497      6613693818      1/24/2012        17:25:48
47498      6613694934      12/23/2011       14:28:03
47499      6613708437      7/13/2012        14:05:15
47500      6613710707      8/11/2012        12:25:10
47501      6613716101      4/29/2012        18:01:54
47502      6613731714      4/10/2012        15:57:06
47503      6613732229      7/30/2012        13:41:35
47504      6613762628      6/29/2012        17:46:52
47505      6613765014      3/2/2012         19:18:46
47506      6613767018      3/11/2011        16:59:54
47507      6613782507      1/3/2012         19:52:47
47508      6613784139      4/9/2012         18:20:35
47509      6613785940      3/14/2012        14:13:52
47510      6613786275      11/30/2011       8:14:43
47511      6613786327      9/19/2012        16:26:27
47512      6613788803      9/1/2011         15:21:02
47513      6613792533      3/3/2012         10:37:55
47514      6613793333      7/13/2013        12:59:31
47515      6613940129      3/12/2012        19:34:56
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47516      6614001144      4/27/2012        21:52:11
47517      6614003121      1/6/2012         14:43:53
47518      6614005131      10/28/2011       14:33:42
47519      6614063571      2/17/2012        18:25:04
47520      6614065285      10/29/2011       12:01:50
47521      6614271837      10/24/2012       15:00:55
47522      6614273647      3/18/2011        11:58:56
47523      6614276783      5/11/2012        12:36:24
47524      6614279024      5/1/2012         10:18:52
47525      6614279069      7/19/2012        17:40:31
47526      6614279185      3/8/2014         11:35:59
47527      6614279442      11/26/2011       12:05:05
47528      6614279442      12/26/2011       20:12:21
47529      6614284206      9/16/2011        13:08:32
47530      6614310846      3/12/2012        19:14:00
47531      6614315257      12/15/2011       10:16:28
47532      6614315556      2/28/2012        15:56:31
47533      6614317134      5/23/2011        16:21:48
47534      6614331495      8/14/2012        11:40:34
47535      6614334238      9/22/2012        12:20:56
47536      6614336860      11/23/2011       9:40:24
47537      6614337177      5/7/2012         21:42:02
47538      6614350366      11/4/2011        10:29:19
47539      6614441455      6/16/2012        10:16:03
47540      6614441672      10/12/2012       17:00:59
47541      6614442547      12/1/2011        15:32:55
47542      6614442582      6/13/2012        10:30:02
47543      6614442975      5/23/2012        16:53:11
47544      6614443264      5/21/2012        18:00:38
47545      6614447132      3/5/2012         11:02:35
47546      6614449233      3/19/2012        19:27:52
47547      6614668559      10/13/2012       11:43:48
47548      6614669241      3/15/2012        19:05:46
47549      6614669322      10/6/2011        18:01:20
47550      6614680346      12/6/2011        13:44:26
47551      6614722116      6/30/2012        11:12:32
47552      6614722362      12/7/2011        15:24:46
47553      6614723356      3/6/2012         21:13:50
47554      6614724361      11/15/2011       20:09:38
47555      6614725267      7/13/2012        18:31:20
47556      6614726226      9/19/2011        14:42:14
47557      6614728422      5/13/2012        18:14:36
47558      6614728655      8/14/2012        21:03:41
47559      6614773604      1/5/2012         14:10:34
47560      6614781141      11/17/2011       14:47:24
47561      6614782273      9/14/2011        12:43:10
47562      6614808344      2/10/2012        20:44:26
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                                   #:12864

47563      6614872466      9/14/2011        21:27:11
47564      6614875474      11/23/2011       14:46:31
47565      6614878012      12/5/2011        18:18:30
47566      6614878267      8/29/2013        17:41:46
47567      6614925566      9/23/2013        21:30:52
47568      6614925718      9/14/2012        10:53:41
47569      6614928250      5/18/2012        15:49:46
47570      6614929176      2/24/2012        20:58:35
47571      6614929841      5/10/2012        14:52:15
47572      6614965392      10/20/2011       20:59:46
47573      6614967099      7/19/2012        10:32:11
47574      6614967294      12/22/2011       14:34:30
47575      6615106079      12/7/2011        17:46:45
47576      6615243844      1/23/2012        19:22:13
47577      6615268592      7/13/2012        21:01:19
47578      6615268842      1/17/2012        18:49:56
47579      6615268842      8/2/2012         18:58:06
47580      6615470358      4/9/2012         17:55:19
47581      6615472048      10/7/2011        10:36:59
47582      6615472959      8/6/2012         16:19:54
47583      6615473456      12/27/2011       14:24:51
47584      6615476314      3/21/2012        18:34:09
47585      6615476455      4/20/2011        20:23:27
47586      6615477133      1/31/2012        10:12:18
47587      6615478356      10/31/2011       10:18:42
47588      6615478356      12/10/2011       14:30:02
47589      6615479283      4/4/2012         14:02:19
47590      6615490027      2/15/2012        11:20:51
47591      6615491232      8/9/2013         12:05:07
47592      6615499390      9/6/2012         12:35:30
47593      6615570970      3/20/2012        17:33:00
47594      6615572134      10/7/2012        13:13:44
47595      6615575786      6/14/2012        21:30:36
47596      6615653265      10/20/2011       15:55:19
47597      6615654244      11/10/2011       14:32:20
47598      6615753430      10/10/2011       13:17:15
47599      6615753430      11/16/2011       10:09:57
47600      6615754127      10/10/2011       12:03:24
47601      6615772832      9/13/2011        18:13:03
47602      6615782068      10/19/2012       11:31:52
47603      6615787174      12/20/2011       19:27:44
47604      6615789153      12/5/2011        18:41:07
47605      6615864712      10/12/2011       11:44:36
47606      6615867548      10/13/2011       10:38:17
47607      6615993359      11/29/2011       16:13:05
47608      6615995206      12/29/2011       21:38:16
47609      6615997702      1/10/2012        20:54:32
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                                   #:12865

47610      6615998110      10/18/2011       13:07:58
47611      6616008644      3/13/2012        18:34:28
47612      6616074077      8/16/2011        18:21:44
47613      6616076372      9/21/2011        19:31:50
47614      6616079433      9/27/2012        16:43:23
47615      6616092262      10/10/2012       19:15:51
47616      6616094944      5/29/2012        10:58:28
47617      6616095968      9/24/2011        10:02:09
47618      6616097876      1/5/2012         14:11:05
47619      6616099416      9/14/2011        21:37:18
47620      6616150371      3/30/2012        21:47:43
47621      6616181851      1/26/2012        10:33:34
47622      6616182278      7/24/2012        21:28:00
47623      6616193052      10/3/2011        10:33:30
47624      6616198882      9/8/2011         19:57:31
47625      6616199695      12/21/2011       19:57:43
47626      6616232160      12/2/2011        8:29:01
47627      6616334216      9/28/2011        11:28:43
47628      6616443333      3/19/2012        11:49:25
47629      6616453463      7/28/2012        11:13:30
47630      6616703095      3/21/2012        18:39:35
47631      6616749765      3/15/2012        14:05:12
47632      6616757038      1/23/2012        19:04:36
47633      6616757889      6/9/2012         14:48:08
47634      6616795039      4/4/2011         14:42:01
47635      6616990112      8/24/2012        21:03:34
47636      6616990219      6/19/2012        12:07:18
47637      6616997494      10/20/2012       10:36:22
47638      6616998795      9/8/2011         19:37:32
47639      6617031817      4/24/2012        21:03:44
47640      6617063188      12/15/2011       21:51:01
47641      6617067602      2/25/2012        11:12:43
47642      6617068415      2/4/2012         13:17:49
47643      6617090066      6/7/2012         21:32:17
47644      6617097359      9/8/2011         19:13:02
47645      6617130492      10/19/2012       11:29:50
47646      6617131182      10/23/2012       16:02:38
47647      6617136781      5/29/2012        17:08:35
47648      6617141171      9/13/2011        14:39:34
47649      6617148624      8/30/2012        10:50:55
47650      6617173663      2/17/2012        18:14:28
47651      6617175802      8/8/2012         16:17:58
47652      6617177357      4/18/2012        10:08:13
47653      6617178034      10/8/2011        12:27:32
47654      6617179500      6/23/2012        16:32:14
47655      6617179826      7/27/2012        21:55:13
47656      6617185611      8/17/2012        21:23:42
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47657      6617185625      9/19/2011        19:21:06
47658      6617185654      5/7/2012         21:37:37
47659      6617189138      10/31/2011       10:24:50
47660      6617189851      6/21/2012        15:29:01
47661      6617286012      10/18/2011       13:14:01
47662      6617286012      10/25/2011       15:48:55
47663      6617286617      6/13/2012        10:22:23
47664      6617287841      11/28/2011       12:06:35
47665      6617330283      1/23/2012        19:22:09
47666      6617331798      1/18/2012        16:56:40
47667      6617331823      4/1/2012         17:43:55
47668      6617338852      9/8/2011         18:22:07
47669      6617338948      1/5/2012         21:19:44
47670      6617471555      7/5/2012         10:44:41
47671      6617475419      8/20/2012        18:46:17
47672      6617475419      8/30/2012        17:39:24
47673      6617478608      3/15/2012        13:55:41
47674      6617482667      9/30/2011        10:09:05
47675      6617484054      3/14/2012        14:22:16
47676      6617485947      5/14/2012        10:21:12
47677      6617487782      11/29/2011       15:19:42
47678      6617501073      10/8/2011        10:19:34
47679      6617509327      4/30/2012        15:00:22
47680      6617534942      9/9/2011         18:09:09
47681      6617536225      8/1/2012         11:01:21
47682      6617537650      8/16/2012        19:55:59
47683      6617540701      11/18/2011       13:14:08
47684      6617540701      12/29/2011       19:09:58
47685      6617540763      9/14/2011        21:37:30
47686      6617540857      10/25/2012       19:52:50
47687      6617541730      12/18/2011       17:12:41
47688      6617554882      10/1/2012        13:38:27
47689      6617662382      9/23/2011        19:05:46
47690      6617784999      5/23/2012        15:29:18
47691      6617785383      3/6/2012         20:28:12
47692      6617787265      6/20/2012        16:58:41
47693      6617787766      11/15/2011       20:17:32
47694      6617948843      10/8/2011        10:17:01
47695      6618021255      4/9/2012         13:52:17
47696      6618026736      3/29/2012        16:49:50
47697      6618028145      4/26/2012        21:21:09
47698      6618036736      2/16/2012        11:25:22
47699      6618038504      3/1/2012         17:37:04
47700      6618038504      6/15/2012        15:47:46
47701      6618039944      11/23/2011       14:47:30
47702      6618050566      10/9/2012        11:41:32
47703      6618053005      12/3/2011        10:34:44
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47704      6618053499      1/3/2012         15:31:32
47705      6618056804      12/16/2011       16:45:45
47706      6618058528      4/23/2012        13:08:12
47707      6618083896      1/23/2012        19:23:22
47708      6618085834      9/16/2011        13:08:35
47709      6618087367      6/23/2012        16:31:03
47710      6618088111      10/23/2012       16:12:45
47711      6618090919      1/5/2012         17:32:06
47712      6618091164      3/3/2012         10:36:55
47713      6618095661      11/26/2011       13:49:55
47714      6618098942      5/1/2012         10:15:58
47715      6618099100      12/30/2011       20:55:26
47716      6618108301      10/13/2011       10:32:50
47717      6618165719      12/20/2013       13:54:52
47718      6618166171      6/5/2012         18:02:11
47719      6618169694      3/13/2012        12:55:28
47720      6618170805      1/11/2012        11:02:32
47721      6618170851      3/28/2012        12:38:55
47722      6618172157      1/30/2012        10:14:27
47723      6618172218      3/7/2012         19:00:52
47724      6618174829      5/29/2012        17:17:01
47725      6618177693      9/19/2011        14:49:56
47726      6618299640      3/15/2012        19:37:43
47727      6618528314      5/17/2012        12:23:21
47728      6618528944      12/5/2011        18:43:03
47729      6618583198      9/24/2012        13:16:29
47730      6618584083      9/27/2011        18:20:48
47731      6618586077      4/1/2011         12:46:06
47732      6618597651      2/16/2012        11:24:43
47733      6618599516      9/26/2012        14:43:05
47734      6618606049      2/24/2012        20:59:09
47735      6618637094      3/11/2011        17:01:42
47736      6618652817      8/3/2012         12:41:01
47737      6618653031      12/21/2011       10:25:41
47738      6618653217      8/25/2011        18:32:13
47739      6618656767      11/22/2011       19:45:29
47740      6618742204      9/20/2011        20:40:24
47741      6618747255      10/5/2011        14:49:59
47742      6618747315      3/15/2012        19:37:49
47743      6618747862      5/19/2012        16:04:17
47744      6618749179      9/13/2011        17:20:34
47745      6618749498      2/1/2012         18:45:01
47746      6618776977      5/5/2011         13:24:47
47747      6618781310      12/28/2011       21:13:44
47748      6618869603      5/3/2012         21:16:03
47749      6618883849      2/2/2012         21:01:09
47750      6619003709      3/7/2012         10:07:08
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47751      6619003986      8/29/2012        11:04:40
47752      6619007970      10/3/2012        10:21:06
47753      6619008889      5/10/2012        14:44:43
47754      6619028970      10/10/2012       13:05:39
47755      6619032416      9/23/2011        18:50:47
47756      6619104973      2/21/2012        20:56:00
47757      6619124641      8/22/2011        10:20:41
47758      6619125825      3/10/2011        18:02:26
47759      6619127283      10/14/2011       13:35:35
47760      6619127283      11/15/2011       16:41:39
47761      6619127358      10/10/2011       12:59:07
47762      6619127481      11/3/2011        18:06:10
47763      6619160710      1/6/2012         14:54:07
47764      6619160710      5/26/2012        15:14:49
47765      6619160986      7/30/2012        18:50:18
47766      6619160992      3/14/2012        14:22:15
47767      6619166699      3/22/2012        14:32:11
47768      6619167333      10/10/2011       12:06:52
47769      6619167477      3/7/2012         9:40:59
47770      6619168734      2/6/2012         17:24:14
47771      6619169160      9/8/2011         19:12:59
47772      6619172263      9/19/2011        14:46:49
47773      6619172305      9/28/2011        10:41:22
47774      6619174740      1/8/2012         16:53:58
47775      6619175355      11/21/2011       11:00:27
47776      6619176222      5/12/2012        10:55:59
47777      6619176222      10/12/2012       21:31:34
47778      6619328621      2/28/2012        13:09:08
47779      6619447042      11/5/2011        11:54:18
47780      6619447793      5/27/2012        13:49:50
47781      6619647195      3/2/2012         18:54:09
47782      6619652290      12/24/2011       11:30:24
47783      6619720288      10/7/2011        10:28:58
47784      6619720899      10/1/2011        11:02:35
47785      6619741990      1/14/2012        15:36:19
47786      6619743648      12/20/2011       15:10:32
47787      6619749118      6/9/2012         15:12:53
47788      6619780562      12/2/2011        14:36:43
47789      6619786672      5/22/2012        11:38:35
47790      6619788800      10/11/2011       16:35:30
47791      6619798355      8/2/2012         10:17:35
47792      6619921045      2/14/2012        10:11:32
47793      6619921222      10/20/2011       20:55:17
47794      6619922652      1/21/2012        11:18:19
47795      6619923031      11/11/2011       20:32:04
47796      6619923509      10/10/2011       12:59:26
47797      6619924577      3/15/2012        14:04:06
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47798      6619924722      3/14/2012        19:48:29
47799      6622024522      11/17/2011       14:32:31
47800      6622071653      12/16/2011       15:39:30
47801      6622071710      2/21/2012        9:48:57
47802      6622072540      12/26/2011       15:24:52
47803      6622073723      7/27/2012        15:32:58
47804      6622073969      6/19/2012        8:33:39
47805      6622074019      1/16/2012        8:15:18
47806      6622074019      2/6/2012         17:16:57
47807      6622074327      9/8/2011         19:48:42
47808      6622074497      6/22/2012        21:00:36
47809      6622075056      11/19/2011       8:25:53
47810      6622076848      1/11/2012        9:00:04
47811      6622078457      10/17/2011       8:12:26
47812      6622079814      3/20/2012        17:50:40
47813      6622079814      6/27/2012        18:00:59
47814      6622093526      9/10/2012        8:44:02
47815      6622124623      3/6/2012         17:22:10
47816      6622130129      5/21/2012        8:09:19
47817      6622130129      9/24/2012        12:54:35
47818      6622132567      10/27/2011       16:07:23
47819      6622132567      11/17/2011       15:30:52
47820      6622133793      1/3/2012         16:57:58
47821      6622136527      3/8/2012         20:31:43
47822      6622137377      12/5/2011        8:46:38
47823      6622137490      1/27/2012        17:45:29
47824      6622137705      9/20/2011        16:45:03
47825      6622139011      6/18/2011        15:29:59
47826      6622163355      3/2/2012         19:03:29
47827      6622166461      9/22/2011        15:20:05
47828      6622169124      10/25/2012       19:31:39
47829      6622234064      11/30/2011       15:40:30
47830      6622244051      10/13/2012       8:57:48
47831      6622245023      11/15/2011       15:32:14
47832      6622297575      4/6/2012         15:58:14
47833      6622297816      4/10/2012        15:49:51
47834      6622301197      9/21/2012        18:50:29
47835      6622302680      8/16/2011        18:04:26
47836      6622303018      3/6/2012         17:23:00
47837      6622312083      6/19/2012        15:37:20
47838      6622313460      12/17/2011       12:08:18
47839      6622317841      6/13/2012        8:03:05
47840      6622318967      3/10/2012        8:53:58
47841      6622420450      6/19/2012        8:36:04
47842      6622514391      9/30/2011        10:19:10
47843      6622515667      7/11/2011        8:22:19
47844      6622517200      7/5/2012         10:36:24
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47845      6622518535      8/20/2012        18:55:56
47846      6622552895      8/3/2012         16:25:11
47847      6622553086      2/7/2012         20:25:43
47848      6622553142      12/16/2011       15:40:45
47849      6622553549      12/16/2011       16:18:37
47850      6622555063      2/20/2012        17:11:59
47851      6622556380      10/16/2012       16:44:55
47852      6622556612      4/16/2012        16:04:08
47853      6622556814      4/5/2012         20:09:15
47854      6622557560      1/17/2012        18:33:10
47855      6622557894      9/21/2012        15:37:22
47856      6622559101      9/12/2011        14:26:21
47857      6622601969      3/24/2012        10:33:25
47858      6622669399      10/25/2012       19:50:06
47859      6622678307      12/21/2011       20:00:02
47860      6622679770      9/27/2012        8:42:51
47861      6622750982      7/24/2012        14:45:48
47862      6622752260      1/17/2012        17:25:20
47863      6622789494      5/7/2011         15:17:01
47864      6622791504      12/17/2011       11:35:08
47865      6622793351      3/28/2012        17:06:56
47866      6622793499      2/14/2012        16:49:51
47867      6622793935      10/22/2011       12:35:48
47868      6622794281      12/16/2011       15:39:02
47869      6622795736      11/26/2011       13:37:16
47870      6622795903      12/15/2011       8:37:33
47871      6622796810      7/18/2012        18:25:50
47872      6622797116      3/23/2012        14:45:49
47873      6622799070      5/17/2012        12:10:13
47874      6622880076      9/12/2011        13:28:48
47875      6622881533      8/18/2011        8:08:06
47876      6622883397      12/2/2011        15:10:01
47877      6622888050      12/27/2011       14:39:02
47878      6622889736      9/27/2012        16:24:11
47879      6622921879      12/20/2011       15:04:30
47880      6622924127      7/12/2012        19:52:41
47881      6622925042      2/15/2012        8:06:19
47882      6622927446      12/24/2011       8:20:10
47883      6622927464      11/9/2013        9:41:26
47884      6622955582      10/12/2011       8:15:27
47885      6622956585      4/21/2012        8:32:59
47886      6622969100      12/16/2011       16:31:18
47887      6622990860      2/14/2012        13:09:51
47888      6622991240      2/3/2012         20:11:22
47889      6622992873      11/7/2011        9:28:54
47890      6622995403      2/10/2012        20:38:22
47891      6622995651      6/20/2012        17:03:31
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47892      6622995651      8/9/2012         14:16:39
47893      6622996653      4/30/2012        15:05:25
47894      6622999598      10/15/2011       10:52:18
47895      6622999792      10/6/2011        16:46:09
47896      6622999845      2/7/2012         16:50:23
47897      6623029762      10/3/2011        8:21:25
47898      6623030099      1/10/2012        15:33:42
47899      6623037061      5/5/2011         13:19:33
47900      6623038898      12/7/2011        14:11:09
47901      6623046367      3/15/2012        19:30:03
47902      6623060081      9/12/2011        13:20:45
47903      6623060514      10/11/2011       17:25:50
47904      6623063187      11/15/2011       15:34:12
47905      6623070850      3/2/2012         19:16:37
47906      6623080611      8/11/2012        9:25:32
47907      6623088536      12/23/2011       14:17:15
47908      6623088808      6/27/2012        18:05:31
47909      6623088886      2/15/2012        8:03:53
47910      6623120677      12/13/2011       17:36:58
47911      6623134687      11/25/2011       18:26:59
47912      6623137214      2/9/2012         20:35:44
47913      6623137321      9/10/2012        8:38:59
47914      6623138253      11/5/2011        11:29:42
47915      6623138253      1/8/2012         13:09:58
47916      6623139684      11/28/2011       18:04:22
47917      6623156694      5/30/2012        16:49:48
47918      6623159570      10/12/2011       12:15:43
47919      6623159919      5/6/2012         18:24:33
47920      6623160497      9/24/2012        13:10:09
47921      6623161227      3/9/2012         9:12:55
47922      6623163659      11/16/2011       20:06:47
47923      6623164086      6/17/2011        15:16:06
47924      6623164774      1/16/2012        17:13:41
47925      6623165184      10/24/2012       14:48:33
47926      6623166021      3/14/2012        14:08:17
47927      6623168308      12/28/2011       17:59:50
47928      6623168817      3/2/2012         19:00:41
47929      6623169518      9/9/2011         17:56:57
47930      6623171882      10/26/2011       12:11:46
47931      6623178042      9/14/2012        8:05:49
47932      6623190900      5/14/2012        15:20:19
47933      6623210116      11/9/2011        8:48:34
47934      6623210438      12/12/2011       12:22:55
47935      6623210762      9/26/2011        9:41:15
47936      6623218245      10/20/2012       8:16:47
47937      6623218264      12/9/2011        8:16:35
47938      6623220781      5/21/2012        8:09:14
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47939      6623221484      6/11/2012        17:36:10
47940      6623222479      8/2/2012         18:57:31
47941      6623227511      10/5/2012        18:34:39
47942      6623227896      6/27/2012        12:21:02
47943      6623229140      1/10/2012        15:19:54
47944      6623229875      9/8/2011         19:32:48
47945      6623260413      9/21/2012        18:45:27
47946      6623260436      7/18/2012        16:16:31
47947      6623260553      8/1/2012         8:28:14
47948      6623298696      7/13/2012        14:03:21
47949      6623415693      9/13/2011        13:59:26
47950      6623415693      9/19/2011        19:32:54
47951      6623416240      12/16/2011       15:48:43
47952      6623469169      9/10/2011        9:13:12
47953      6623469437      3/30/2012        10:14:29
47954      6623469604      10/1/2012        13:49:25
47955      6623470991      5/14/2012        15:21:00
47956      6623474275      9/27/2012        8:41:22
47957      6623477772      7/12/2012        13:16:04
47958      6623478047      4/3/2012         16:12:25
47959      6623521450      7/26/2012        12:19:09
47960      6623523086      12/30/2011       8:36:08
47961      6623523428      11/12/2011       9:32:09
47962      6623524485      7/28/2012        8:28:11
47963      6623524886      3/12/2012        16:52:44
47964      6623529413      5/28/2012        9:34:14
47965      6623573513      9/29/2011        15:16:11
47966      6623578797      1/9/2012         18:43:02
47967      6623578924      7/30/2012        13:35:09
47968      6623610441      3/13/2012        18:40:37
47969      6623610441      6/27/2012        18:01:40
47970      6623642901      8/13/2011        12:07:34
47971      6623724400      4/12/2012        17:59:06
47972      6623793279      8/25/2012        11:15:59
47973      6623793332      10/7/2011        8:12:16
47974      6623807252      7/13/2012        16:59:12
47975      6623807252      9/18/2012        14:21:45
47976      6623853622      1/16/2012        8:28:57
47977      6623868936      11/17/2011       14:14:17
47978      6623903633      10/11/2011       17:20:06
47979      6623923779      9/19/2011        8:28:44
47980      6623924374      11/1/2011        8:48:56
47981      6623927743      5/15/2012        19:14:52
47982      6623927743      6/1/2012         9:17:46
47983      6623928249      3/15/2012        19:31:18
47984      6623941512      3/16/2012        15:53:17
47985      6623941600      12/16/2011       15:39:27
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47986      6623945722      12/3/2011        9:21:16
47987      6623961342      2/6/2012         17:02:53
47988      6623961981      10/15/2011       9:37:50
47989      6623961981      10/29/2011       10:55:46
47990      6623971325      7/26/2012        12:16:39
47991      6623971479      9/26/2011        9:27:48
47992      6623971479      10/10/2011       11:51:02
47993      6623973675      12/17/2011       11:33:15
47994      6623975762      12/17/2011       12:09:44
47995      6623979022      1/23/2012        19:14:23
47996      6624012587      3/26/2012        14:34:35
47997      6624013454      8/17/2011        18:50:33
47998      6624018287      9/16/2011        13:14:45
47999      6624023109      9/1/2011         8:20:49
48000      6624024019      6/6/2011         17:20:06
48001      6624026083      3/2/2012         19:03:38
48002      6624027567      5/14/2012        15:43:29
48003      6624027567      5/21/2012        8:33:57
48004      6624027567      5/21/2012        8:59:06
48005      6624039508      10/24/2011       8:06:12
48006      6624040074      1/23/2012        18:59:35
48007      6624040185      12/23/2011       15:48:33
48008      6624042588      3/2/2012         19:02:46
48009      6624153196      12/21/2011       19:56:12
48010      6624153202      4/3/2012         20:14:10
48011      6624156856      10/19/2012       9:50:12
48012      6624158189      9/19/2012        16:22:19
48013      6624158270      3/13/2012        12:44:51
48014      6624161025      10/2/2012        8:42:54
48015      6624161628      4/28/2012        8:28:52
48016      6624161628      5/21/2012        8:03:50
48017      6624163779      8/8/2012         16:07:23
48018      6624164191      10/12/2011       8:36:05
48019      6624165344      11/9/2011        8:01:57
48020      6624165501      6/27/2012        12:17:08
48021      6624167902      12/22/2011       8:26:32
48022      6624170205      12/24/2011       8:02:58
48023      6624174543      6/6/2012         14:24:18
48024      6624174569      3/26/2012        18:42:43
48025      6624179367      11/21/2011       8:28:45
48026      6624183347      8/8/2011         15:30:17
48027      6624184587      12/15/2011       8:38:34
48028      6624185545      11/3/2011        17:18:12
48029      6624193383      11/14/2011       17:08:35
48030      6624194050      8/25/2012        10:55:53
48031      6624194412      10/4/2011        13:53:51
48032      6624196232      8/31/2011        10:19:39
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48033      6624198105      5/11/2012        18:35:41
48034      6624201372      3/1/2012         8:49:57
48035      6624202946      10/13/2011       8:25:21
48036      6624205301      9/14/2012        8:06:40
48037      6624205891      10/5/2011        14:40:54
48038      6624206592      7/5/2012         10:42:16
48039      6624229324      11/14/2011       14:46:39
48040      6624238679      9/8/2012         11:09:47
48041      6624250063      7/26/2012        19:14:59
48042      6624252473      10/11/2011       17:22:38
48043      6624256952      11/10/2011       8:11:42
48044      6624350903      8/6/2012         14:59:30
48045      6624350904      1/19/2012        18:40:19
48046      6624363599      10/15/2011       10:33:37
48047      6624365483      12/16/2011       15:40:23
48048      6624365606      7/23/2011        14:03:27
48049      6624367698      12/17/2011       12:09:15
48050      6624440238      3/10/2012        8:57:59
48051      6624473570      12/20/2011       19:35:08
48052      6624523231      3/26/2012        18:27:41
48053      6624539118      5/14/2012        8:07:25
48054      6624713214      12/9/2011        13:07:18
48055      6624875061      7/29/2013        17:13:11
48056      6624875694      9/10/2012        8:44:34
48057      6624875868      9/5/2012         15:20:35
48058      6624875868      10/15/2012       16:12:26
48059      6624881670      12/26/2011       9:31:36
48060      6624910302      3/23/2012        14:42:19
48061      6624913876      11/16/2013       14:58:37
48062      6625016779      7/21/2012        10:47:39
48063      6625019904      3/15/2012        14:01:01
48064      6625075901      12/17/2011       12:04:59
48065      6625078233      12/21/2011       10:16:49
48066      6625150191      10/1/2011        9:53:58
48067      6625150331      11/29/2011       16:10:54
48068      6625180123      1/23/2012        19:15:52
48069      6625245519      8/16/2012        19:48:24
48070      6625388355      11/26/2011       13:08:36
48071      6625388414      12/23/2011       15:48:13
48072      6625391213      8/13/2012        20:53:45
48073      6625421880      1/17/2012        18:34:21
48074      6625423240      7/3/2012         13:28:11
48075      6625423655      9/28/2011        11:12:13
48076      6625423721      4/10/2012        16:12:25
48077      6625424403      1/20/2012        19:31:23
48078      6625425868      5/7/2012         8:16:33
48079      6625430549      10/12/2011       8:05:14
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48080      6625436399      6/9/2011         10:40:33
48081      6625441383      7/3/2013         9:57:32
48082      6625442199      9/12/2012        15:00:52
48083      6625442372      10/8/2012        20:05:10
48084      6625444856      3/9/2012         15:47:54
48085      6625445366      1/27/2012        18:00:32
48086      6625445404      10/20/2011       15:36:12
48087      6625445670      9/2/2011         11:30:11
48088      6625490916      10/6/2011        17:52:04
48089      6625491073      2/26/2012        13:20:28
48090      6625491930      1/16/2012        8:18:57
48091      6625493743      9/28/2011        11:16:41
48092      6625496999      9/19/2011        19:32:18
48093      6625497976      9/16/2011        14:40:24
48094      6625541021      1/17/2014        19:48:53
48095      6625542691      12/20/2011       15:03:04
48096      6625545141      2/21/2012        20:52:58
48097      6625607308      10/12/2012       17:16:56
48098      6625607619      12/23/2011       15:48:29
48099      6625615349      5/23/2012        16:56:29
48100      6625616142      11/18/2011       13:32:35
48101      6625672603      3/8/2012         9:19:31
48102      6625672603      5/6/2012         18:11:40
48103      6625672603      5/21/2012        17:43:48
48104      6625672651      9/8/2011         19:52:24
48105      6625672890      3/14/2012        19:45:41
48106      6625677565      9/22/2011        16:08:29
48107      6625713807      10/1/2011        10:50:57
48108      6625717017      1/9/2012         18:42:38
48109      6625741176      4/26/2011        20:10:36
48110      6625748697      7/14/2011        16:35:15
48111      6625820198      2/21/2012        20:54:12
48112      6625827995      3/19/2011        10:38:13
48113      6625874557      3/29/2011        16:19:44
48114      6625874609      3/27/2012        15:04:40
48115      6625882734      1/6/2012         12:17:59
48116      6625882734      7/13/2012        17:14:00
48117      6625882734      8/18/2012        8:42:43
48118      6625887034      10/15/2012       16:20:49
48119      6625888045      7/26/2012        11:55:08
48120      6625889461      3/15/2012        13:56:14
48121      6625906186      10/5/2012        18:33:03
48122      6625985747      9/29/2011        15:50:11
48123      6626032064      12/21/2011       19:54:40
48124      6626033149      4/18/2011        19:46:00
48125      6626033868      11/1/2011        8:50:42
48126      6626034003      11/23/2011       9:42:12
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48127      6626034027      3/14/2012        19:32:17
48128      6626035629      10/13/2012       9:09:10
48129      6626035782      8/23/2011        19:14:05
48130      6626037172      3/16/2012        16:02:51
48131      6626039469      6/7/2012         12:44:18
48132      6626039816      6/20/2012        16:52:26
48133      6626039865      9/26/2013        8:39:13
48134      6626070403      3/16/2012        16:32:16
48135      6626071889      10/13/2011       8:40:26
48136      6626072038      11/9/2011        8:04:58
48137      6626072684      10/3/2012        19:57:05
48138      6626075120      8/10/2011        19:07:11
48139      6626075304      2/17/2012        18:31:39
48140      6626076788      4/5/2012         13:56:48
48141      6626078707      9/1/2012         8:57:01
48142      6626090923      10/15/2011       10:52:53
48143      6626091119      9/16/2011        13:01:31
48144      6626092247      9/9/2011         18:25:38
48145      6626092803      8/25/2012        10:56:48
48146      6626093950      10/25/2011       15:35:19
48147      6626094727      2/21/2012        20:54:23
48148      6626095728      1/27/2012        18:00:20
48149      6626097027      9/11/2012        15:14:50
48150      6626103789      12/18/2011       16:34:48
48151      6626131445      9/3/2012         14:33:04
48152      6626142640      12/20/2011       15:02:35
48153      6626143717      8/9/2011         13:47:52
48154      6626143960      3/10/2011        18:26:24
48155      6626164695      8/20/2012        10:04:56
48156      6626171644      12/23/2011       14:59:51
48157      6626171811      2/2/2012         10:55:57
48158      6626175000      2/17/2012        9:34:32
48159      6626283190      10/1/2011        10:45:00
48160      6626329026      4/20/2012        20:46:58
48161      6626337036      12/3/2011        9:27:39
48162      6626339976      4/7/2012         9:10:24
48163      6626401115      10/23/2012       16:01:18
48164      6626402854      11/9/2011        8:05:11
48165      6626405042      7/11/2011        8:13:11
48166      6626408753      10/7/2011        8:15:18
48167      6626409057      9/10/2012        8:44:57
48168      6626414236      1/5/2012         12:04:54
48169      6626416962      10/20/2012       8:18:53
48170      6626417039      7/21/2012        10:49:06
48171      6626417903      9/21/2012        15:55:46
48172      6626430129      12/17/2011       12:08:25
48173      6626435588      9/9/2011         17:57:26
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48174      6626438513      12/18/2011       16:32:04
48175      6626438848      4/4/2012         18:37:25
48176      6626451288      12/19/2011       8:14:52
48177      6626451592      11/19/2011       8:59:37
48178      6626453431      6/21/2012        10:04:07
48179      6626454592      9/9/2011         18:15:54
48180      6626456609      10/12/2012       17:02:52
48181      6626460881      4/29/2011        20:20:43
48182      6626471936      10/15/2012       16:06:47
48183      6626471942      12/18/2011       17:24:00
48184      6626488894      3/25/2011        8:52:53
48185      6626560037      8/16/2012        9:29:55
48186      6626606178      4/15/2012        17:12:30
48187      6626640260      6/11/2012        8:19:53
48188      6626640808      12/12/2011       12:27:01
48189      6626640937      1/9/2012         18:42:31
48190      6626641183      6/24/2012        13:47:15
48191      6626643058      1/11/2012        16:23:03
48192      6626655785      1/3/2012         16:59:53
48193      6626680251      4/4/2012         18:37:48
48194      6626715470      2/8/2012         13:10:45
48195      6626715491      8/28/2012        11:54:56
48196      6626783896      8/17/2011        18:50:07
48197      6626786310      10/20/2012       16:22:30
48198      6626870505      1/3/2012         10:47:57
48199      6626870549      5/16/2012        16:49:49
48200      6626871581      9/11/2012        15:02:55
48201      6626872220      9/30/2011        10:01:11
48202      6626880144      4/12/2012        17:58:52
48203      6626949031      2/11/2012        15:09:57
48204      6626951529      11/10/2011       8:08:39
48205      6626955457      5/14/2012        8:07:31
48206      6627017040      12/20/2011       15:02:56
48207      6627017652      9/29/2011        15:32:22
48208      6627051135      10/31/2011       8:23:27
48209      6627058695      12/5/2011        8:44:37
48210      6627058695      12/22/2011       9:46:37
48211      6627062082      11/16/2011       20:04:09
48212      6627064164      2/28/2012        16:03:40
48213      6627100469      3/12/2012        19:24:50
48214      6627105031      11/30/2011       12:50:00
48215      6627146642      3/16/2012        16:30:14
48216      6627194548      11/2/2011        14:15:12
48217      6627197045      3/13/2012        12:45:18
48218      6627197881      1/20/2012        11:31:03
48219      6627210693      12/3/2011        9:21:49
48220      6627213990      12/26/2011       9:06:59
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48221      6627217120      3/14/2012        14:11:55
48222      6627217120      6/18/2012        15:12:43
48223      6627390588      10/20/2011       15:35:08
48224      6627393803      1/19/2012        8:20:30
48225      6627398598      4/7/2012         9:32:38
48226      6627452515      3/15/2012        19:33:27
48227      6627500572      8/30/2011        12:53:31
48228      6627501028      10/23/2012       16:00:58
48229      6627501598      3/16/2012        10:18:55
48230      6627508096      8/20/2011        9:00:17
48231      6627600419      1/24/2012        17:19:27
48232      6627604596      5/7/2012         8:10:18
48233      6627606020      2/28/2012        13:41:43
48234      6627638660      9/18/2012        14:18:01
48235      6627638660      10/9/2012        20:03:46
48236      6627690041      11/25/2011       17:51:18
48237      6627692770      1/10/2012        18:13:38
48238      6627929030      9/26/2012        20:35:44
48239      6627940599      7/11/2012        9:38:34
48240      6628013407      1/19/2012        18:42:03
48241      6628014909      10/11/2011       16:15:07
48242      6628017286      3/5/2012         10:55:40
48243      6628030989      5/11/2012        18:40:35
48244      6628031719      8/7/2012         19:56:25
48245      6628033256      11/15/2011       15:43:11
48246      6628034193      5/30/2012        9:19:59
48247      6628034514      9/20/2011        16:48:29
48248      6628034863      9/10/2011        9:09:48
48249      6628034864      9/13/2011        16:31:32
48250      6628036582      6/22/2012        8:07:46
48251      6628037386      4/13/2012        13:40:14
48252      6628037473      10/6/2012        8:33:58
48253      6628037977      10/8/2011        11:57:53
48254      6628038515      5/21/2012        8:31:27
48255      6628039454      1/7/2012         9:35:46
48256      6628081748      11/17/2011       16:48:26
48257      6628084952      10/14/2012       15:12:11
48258      6628093054      7/13/2012        14:02:35
48259      6628095320      10/14/2011       13:27:40
48260      6628123252      2/13/2012        8:18:36
48261      6628123493      10/12/2011       8:32:40
48262      6628123493      12/20/2011       19:24:01
48263      6628129146      4/20/2012        20:48:45
48264      6628160281      1/20/2012        20:32:22
48265      6628160379      5/2/2011         17:57:48
48266      6628165578      11/7/2011        8:09:04
48267      6628168532      12/19/2011       8:14:11
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48268      6628169641      6/16/2012        15:31:05
48269      6628200330      7/13/2012        17:19:44
48270      6628200855      8/30/2011        17:28:34
48271      6628200856      10/4/2011        13:50:53
48272      6628201027      2/10/2012        9:30:51
48273      6628201762      10/10/2011       11:56:56
48274      6628206106      2/14/2012        16:52:12
48275      6628206196      11/1/2011        8:37:43
48276      6628207153      9/20/2012        20:57:36
48277      6628208032      1/20/2012        11:46:50
48278      6628221463      12/18/2011       17:04:27
48279      6628221463      1/10/2012        11:49:00
48280      6628221733      12/20/2011       9:20:17
48281      6628221733      1/17/2012        18:33:12
48282      6628221733      2/2/2012         16:30:52
48283      6628221801      11/28/2011       17:02:02
48284      6628221874      2/13/2012        18:48:24
48285      6628223991      11/22/2011       18:28:59
48286      6628224329      10/11/2012       11:54:48
48287      6628225221      9/15/2012        8:22:28
48288      6628225975      1/28/2012        9:49:23
48289      6628226255      12/10/2011       13:18:28
48290      6628250731      9/13/2011        17:48:00
48291      6628321014      9/19/2011        19:13:40
48292      6628326434      5/2/2012         13:16:00
48293      6628327261      6/27/2011        8:16:29
48294      6628328053      3/21/2012        8:06:36
48295      6628359726      10/25/2011       16:24:08
48296      6628370662      11/11/2011       20:03:34
48297      6628375165      12/2/2011        15:25:52
48298      6628541439      9/10/2012        8:42:55
48299      6628710530      8/13/2011        12:06:16
48300      6628710594      1/23/2012        8:35:07
48301      6628713366      12/15/2011       8:37:37
48302      6628714452      9/29/2011        15:49:50
48303      6628715513      1/23/2012        19:16:15
48304      6628716244      12/16/2011       15:46:15
48305      6628718436      4/5/2012         13:50:15
48306      6628718668      4/29/2012        17:34:01
48307      6628718988      12/16/2011       15:38:49
48308      6628737203      1/16/2012        17:13:40
48309      6628737453      1/23/2012        19:00:03
48310      6628821243      8/30/2012        9:43:20
48311      6628828201      9/28/2011        11:22:52
48312      6628828201      10/10/2011       12:48:48
48313      6628891251      7/11/2012        19:16:56
48314      6628892159      12/24/2011       8:04:51
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48315      6628893679      11/5/2011        10:10:37
48316      6628895491      2/25/2012        11:07:19
48317      6628910883      6/30/2012        8:26:55
48318      6628918777      7/20/2011        14:30:07
48319      6628918868      3/10/2011        16:34:27
48320      6628918920      9/27/2011        18:39:20
48321      6628970966      12/29/2011       11:10:06
48322      6628973117      9/13/2011        13:34:14
48323      6628973260      10/3/2011        8:21:17
48324      6628973678      2/6/2012         10:10:07
48325      6628975353      12/15/2011       8:37:41
48326      6628976555      5/29/2012        17:26:32
48327      6628977253      10/14/2011       12:52:03
48328      6628977906      2/29/2012        17:23:16
48329      6628979109      11/3/2011        17:24:52
48330      6628979799      10/10/2011       12:44:25
48331      6629020357      7/23/2012        13:26:21
48332      6629021455      3/2/2012         9:25:03
48333      6629022100      10/16/2012       20:29:08
48334      6629022267      9/28/2011        10:33:56
48335      6629022515      11/18/2011       12:55:46
48336      6629022767      9/24/2012        19:19:26
48337      6629023356      2/29/2012        17:23:35
48338      6629023798      9/15/2011        8:45:18
48339      6629024894      4/26/2011        20:19:44
48340      6629025014      12/26/2011       20:01:42
48341      6629026171      5/9/2012         16:13:11
48342      6629026367      12/17/2011       12:11:47
48343      6629026477      11/14/2011       17:21:46
48344      6629028196      1/7/2012         9:20:32
48345      6629028285      10/20/2011       16:22:35
48346      6629028909      10/9/2012        20:04:05
48347      6629028971      12/18/2011       17:41:04
48348      6629077957      3/29/2012        17:40:59
48349      6629100474      3/1/2012         8:38:19
48350      6629311720      4/25/2012        16:11:39
48351      6629341877      7/21/2012        10:47:12
48352      6629341917      4/9/2012         13:34:16
48353      6629342351      11/3/2011        17:59:02
48354      6629344582      9/22/2012        9:43:37
48355      6629344633      11/7/2011        9:31:02
48356      6629344893      9/21/2011        11:33:11
48357      6629344894      10/14/2011       13:21:45
48358      6629345721      5/1/2012         17:28:47
48359      6629346008      2/28/2012        16:03:52
48360      6629346704      10/15/2012       10:18:43
48361      6629346726      3/15/2012        13:58:51
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48362      6629346832      4/10/2012        16:04:05
48363      6629349498      1/18/2012        16:52:24
48364      6629349731      7/19/2012        17:45:10
48365      6629349916      1/20/2012        11:46:42
48366      6714888579      12/16/2011       16:01:59
48367      6782000917      6/15/2012        8:50:48
48368      6782003429      1/17/2012        18:32:00
48369      6782006095      7/30/2012        13:16:50
48370      6782007274      6/8/2012         7:30:22
48371      6782009906      10/18/2012       16:34:09
48372      6782013565      5/21/2012        7:02:25
48373      6782017691      3/21/2011        9:51:37
48374      6782079311      10/5/2011        14:29:53
48375      6782156066      3/14/2012        19:43:04
48376      6782157305      10/8/2011        11:22:17
48377      6782159000      8/3/2012         16:22:42
48378      6782216699      4/16/2012        8:02:51
48379      6782217125      12/1/2011        8:05:40
48380      6782217125      12/18/2011       17:06:36
48381      6782238047      11/15/2011       16:17:03
48382      6782271934      10/29/2011       10:42:14
48383      6782297305      6/13/2012        7:08:32
48384      6782305781      9/8/2011         19:41:05
48385      6782305877      5/25/2012        16:59:45
48386      6782307146      9/8/2011         19:42:09
48387      6782311710      8/25/2012        11:06:29
48388      6782324106      9/22/2012        8:56:13
48389      6782326622      10/6/2011        16:06:57
48390      6782326622      11/23/2011       14:50:36
48391      6782327834      9/26/2012        7:06:41
48392      6782337225      2/15/2012        7:59:14
48393      6782337980      3/12/2012        19:07:31
48394      6782338172      9/16/2011        14:02:09
48395      6782338924      4/10/2012        11:46:39
48396      6782340953      4/20/2012        14:03:56
48397      6782340953      7/19/2012        17:37:33
48398      6782341323      3/9/2012         7:10:48
48399      6782341323      5/21/2012        7:04:21
48400      6782341323      5/21/2012        7:25:42
48401      6782341323      7/3/2012         19:34:51
48402      6782343403      12/6/2011        14:33:44
48403      6782344119      10/12/2011       7:53:58
48404      6782344648      3/16/2012        15:50:08
48405      6782351259      6/16/2012        15:10:58
48406      6782351514      11/7/2011        9:10:12
48407      6782351695      3/2/2012         18:41:24
48408      6782373727      1/18/2012        10:28:31
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48409      6782376532      10/7/2011        7:01:17
48410      6782376591      12/18/2011       17:08:07
48411      6782377804      1/25/2012        9:19:53
48412      6782438579      5/12/2012        10:36:06
48413      6782439942      9/10/2011        8:28:20
48414      6782452605      10/12/2011       7:53:34
48415      6782466059      11/18/2011       12:17:44
48416      6782469800      4/5/2012         14:29:27
48417      6782517339      7/30/2012        18:36:45
48418      6782528200      11/29/2011       16:15:39
48419      6782528354      1/18/2012        10:35:58
48420      6782548797      8/15/2013        7:10:16
48421      6782557532      5/29/2012        7:04:07
48422      6782627518      11/9/2011        7:34:13
48423      6782662909      2/17/2012        9:13:16
48424      6782667939      1/13/2012        17:34:35
48425      6782668492      8/1/2011         19:04:39
48426      6782670523      4/5/2012         15:43:49
48427      6782675514      7/16/2012        19:32:58
48428      6782708781      9/12/2011        12:57:55
48429      6782737901      3/28/2011        15:20:44
48430      6782742152      9/8/2011         18:32:12
48431      6782742159      4/9/2012         13:54:55
48432      6782815555      11/12/2011       10:00:05
48433      6782832184      9/19/2011        19:29:36
48434      6782833259      9/30/2011        10:16:20
48435      6782923523      3/10/2011        17:27:55
48436      6782949323      4/10/2012        16:00:02
48437      6782962039      9/8/2011         18:05:03
48438      6782968890      2/10/2012        7:15:00
48439      6783001996      9/27/2011        18:10:46
48440      6783006478      10/20/2011       15:28:50
48441      6783006970      10/5/2011        14:31:22
48442      6783084358      9/10/2013        19:27:16
48443      6783134756      10/26/2011       13:30:03
48444      6783142338      11/29/2011       16:18:14
48445      6783143744      3/15/2012        19:27:18
48446      6783149999      3/21/2012        13:36:14
48447      6783156788      9/30/2011        9:51:20
48448      6783157001      2/13/2012        18:24:07
48449      6783158989      10/8/2011        10:39:09
48450      6783165401      9/10/2011        8:51:46
48451      6783168770      4/2/2012         17:31:58
48452      6783169818      5/30/2012        16:42:12
48453      6783226074      9/24/2011        10:02:17
48454      6783226583      6/4/2011         9:52:00
48455      6783236513      7/31/2012        7:04:25
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48456      6783258864      2/17/2012        9:12:47
48457      6783260224      9/28/2011        10:50:02
48458      6783263032      5/11/2011        16:48:33
48459      6783266526      10/17/2011       7:47:26
48460      6783271388      4/11/2012        19:30:05
48461      6783273080      3/15/2012        19:24:18
48462      6783273683      9/27/2011        15:19:08
48463      6783280203      11/14/2011       15:41:10
48464      6783280269      12/26/2011       8:58:10
48465      6783287054      6/29/2012        17:49:41
48466      6783288676      5/15/2012        7:46:55
48467      6783300219      1/7/2012         9:14:57
48468      6783308160      9/29/2011        15:06:35
48469      6783308213      2/8/2012         7:35:21
48470      6783308537      10/15/2011       9:54:36
48471      6783308581      7/21/2011        14:04:02
48472      6783308748      9/19/2011        7:05:49
48473      6783308918      1/17/2012        18:31:28
48474      6783327602      9/29/2012        10:14:05
48475      6783329694      2/13/2012        18:21:01
48476      6783333780      12/28/2011       7:01:31
48477      6783337539      3/26/2012        18:22:52
48478      6783337613      12/14/2011       14:45:56
48479      6783340153      6/27/2012        12:10:18
48480      6783340328      3/10/2011        15:27:20
48481      6783341716      2/2/2012         7:19:24
48482      6783344089      4/9/2012         18:07:13
48483      6783344188      6/25/2012        13:40:45
48484      6783344188      6/28/2012        14:14:02
48485      6783344974      4/19/2012        14:58:56
48486      6783346105      5/1/2012         14:04:21
48487      6783347191      10/24/2012       14:42:46
48488      6783347837      2/20/2012        16:48:39
48489      6783348398      2/17/2012        18:25:50
48490      6783348946      10/29/2011       11:20:09
48491      6783349574      7/23/2011        12:10:59
48492      6783401823      5/22/2012        18:27:28
48493      6783402038      2/19/2012        19:17:08
48494      6783408001      10/8/2011        9:23:14
48495      6783430270      11/5/2011        9:25:55
48496      6783431141      1/21/2012        9:09:31
48497      6783466706      12/23/2011       14:48:30
48498      6783473559      1/26/2012        7:17:58
48499      6783473559      3/7/2012         18:40:02
48500      6783494169      10/31/2011       7:12:09
48501      6783496996      3/12/2012        11:11:25
48502      6783501906      12/2/2011        15:07:46
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48503      6783503205      1/12/2012        7:16:44
48504      6783506268      6/18/2011        15:22:38
48505      6783508243      5/7/2011         14:33:49
48506      6783535034      9/6/2012         12:19:10
48507      6783535594      5/8/2012         17:13:56
48508      6783539586      11/15/2011       15:10:26
48509      6783573332      8/26/2011        17:44:16
48510      6783573333      10/20/2011       16:15:04
48511      6783581178      10/17/2011       7:37:20
48512      6783588235      5/17/2012        11:42:09
48513      6783589536      10/8/2011        10:36:30
48514      6783589824      11/23/2011       9:23:36
48515      6783589824      5/12/2012        8:41:29
48516      6783602222      10/1/2011        10:28:31
48517      6783602455      8/27/2011        11:24:48
48518      6783606551      7/14/2011        16:02:48
48519      6783607742      12/12/2011       16:33:02
48520      6783608803      10/5/2012        18:21:22
48521      6783609021      12/20/2011       7:15:34
48522      6783609021      2/8/2012         7:34:44
48523      6783609564      9/28/2012        7:44:28
48524      6783610322      12/1/2011        8:13:39
48525      6783612449      11/29/2011       16:09:31
48526      6783612474      9/12/2011        13:06:17
48527      6783619778      11/14/2011       16:43:23
48528      6783619778      11/28/2011       11:54:57
48529      6783619778      1/18/2012        9:49:12
48530      6783624077      10/11/2012       7:58:06
48531      6783627983      9/27/2012        16:39:49
48532      6783628660      7/3/2012         7:09:19
48533      6783657752      6/1/2012         9:06:23
48534      6783657779      3/20/2012        17:39:05
48535      6783679079      10/12/2011       11:33:23
48536      6783679132      4/16/2012        15:41:52
48537      6783679514      9/22/2011        15:48:43
48538      6783680442      5/4/2012         18:27:12
48539      6783680573      1/30/2012        7:08:20
48540      6783680846      9/16/2011        14:07:51
48541      6783681026      1/4/2012         10:59:29
48542      6783681032      3/14/2012        7:08:12
48543      6783681237      9/14/2011        16:13:19
48544      6783681568      3/30/2012        7:56:06
48545      6783683581      1/29/2012        16:19:03
48546      6783683581      2/9/2012         7:04:41
48547      6783685411      11/26/2011       11:24:33
48548      6783687453      9/29/2011        15:41:41
48549      6783687453      1/23/2012        19:11:41
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48550      6783687478      9/13/2012        7:42:08
48551      6783719807      10/21/2011       13:18:38
48552      6783722740      10/3/2012        19:52:01
48553      6783722740      10/15/2012       16:11:16
48554      6783724969      10/7/2012        12:59:13
48555      6783725782      10/26/2011       12:55:37
48556      6783728276      9/23/2011        11:37:33
48557      6783737375      6/29/2012        9:30:39
48558      6783738608      7/14/2011        15:57:43
48559      6783740576      3/28/2011        15:17:27
48560      6783788922      10/1/2011        10:11:46
48561      6783816689      12/7/2011        13:41:53
48562      6783824961      10/18/2012       16:30:42
48563      6783864109      12/22/2011       9:19:36
48564      6783867400      12/14/2011       12:53:48
48565      6783870667      10/19/2012       19:01:21
48566      6783890961      4/1/2012         16:10:27
48567      6783926422      9/13/2011        7:10:31
48568      6783928640      2/20/2012        7:03:51
48569      6783949669      9/8/2011         17:54:48
48570      6783962839      9/13/2011        17:42:24
48571      6784097768      10/10/2011       11:46:00
48572      6784125185      11/10/2011       7:12:13
48573      6784125500      11/22/2011       18:25:25
48574      6784145520      10/25/2012       19:42:03
48575      6784167132      11/15/2011       16:15:01
48576      6784208159      10/20/2012       8:12:51
48577      6784257776      3/30/2012        16:05:49
48578      6784270688      10/12/2011       12:02:19
48579      6784273400      11/3/2011        17:01:45
48580      6784274413      3/12/2012        16:52:16
48581      6784274413      5/8/2012         7:15:57
48582      6784275507      6/25/2011        8:32:33
48583      6784283734      10/12/2011       7:43:43
48584      6784287633      9/8/2011         19:25:25
48585      6784289206      10/9/2012        19:59:47
48586      6784291470      9/21/2012        18:47:02
48587      6784291470      10/15/2012       16:15:59
48588      6784295999      10/12/2011       7:31:45
48589      6784310266      10/21/2011       13:09:08
48590      6784312464      9/13/2011        17:47:38
48591      6784315707      10/29/2011       11:30:08
48592      6784318625      7/7/2012         10:01:03
48593      6784370517      3/25/2011        8:13:20
48594      6784373123      2/11/2012        15:03:37
48595      6784375069      2/15/2012        7:56:17
48596      6784378790      3/27/2012        14:59:01
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48597      6784383296      1/27/2012        9:56:53
48598      6784385394      4/21/2012        8:03:23
48599      6784385453      10/29/2011       9:53:01
48600      6784386482      3/28/2012        10:21:12
48601      6784388075      11/14/2011       14:24:28
48602      6784389351      2/17/2012        18:18:00
48603      6784389618      2/7/2012         7:10:27
48604      6784474642      12/23/2011       14:27:20
48605      6784496919      11/1/2011        8:34:13
48606      6784505594      12/20/2011       11:37:22
48607      6784515097      5/21/2012        17:39:45
48608      6784574837      3/13/2012        11:16:27
48609      6784578360      12/9/2011        13:17:05
48610      6784583046      10/6/2011        16:09:33
48611      6784586257      3/6/2012         15:44:11
48612      6784586257      3/14/2012        19:28:18
48613      6784586257      9/24/2012        18:50:15
48614      6784622266      6/18/2012        8:00:00
48615      6784624775      7/9/2012         7:11:09
48616      6784625415      1/25/2012        9:10:53
48617      6784626337      3/11/2011        16:34:00
48618      6784627655      10/22/2012       7:13:45
48619      6784630188      10/14/2011       13:17:27
48620      6784630948      10/19/2011       7:43:52
48621      6784630948      1/22/2012        12:16:50
48622      6784630948      5/21/2012        7:24:14
48623      6784632062      11/17/2011       15:18:20
48624      6784635368      11/10/2011       7:22:00
48625      6784637814      4/21/2012        16:12:49
48626      6784644316      11/18/2011       12:46:58
48627      6784644416      1/3/2012         11:03:06
48628      6784644487      3/14/2012        14:16:53
48629      6784649114      7/11/2012        9:37:24
48630      6784649765      3/25/2012        11:31:05
48631      6784678293      5/23/2011        15:46:15
48632      6784679578      12/12/2011       12:16:13
48633      6784680338      1/14/2012        8:03:33
48634      6784685652      6/5/2012         17:48:40
48635      6784685652      6/8/2012         19:42:15
48636      6784687565      3/6/2012         15:47:17
48637      6784692522      10/10/2011       11:47:52
48638      6784693586      1/18/2012        16:48:41
48639      6784695523      11/17/2011       16:45:51
48640      6784696155      12/6/2011        14:08:32
48641      6784698088      11/14/2011       14:09:55
48642      6784710827      12/9/2011        7:58:46
48643      6784711537      5/10/2012        13:05:47
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48644      6784715906      2/11/2012        15:02:46
48645      6784721016      6/18/2012        8:01:52
48646      6784723508      2/22/2012        7:01:49
48647      6784723721      9/13/2011        17:47:10
48648      6784724719      10/13/2012       9:05:48
48649      6784728910      3/12/2012        19:18:18
48650      6784729332      9/12/2012        7:43:13
48651      6784729332      10/22/2012       18:06:13
48652      6784729443      12/9/2011        15:15:34
48653      6784764039      3/30/2011        8:36:23
48654      6784780246      10/17/2011       7:40:57
48655      6784781587      6/20/2012        16:50:33
48656      6784781957      8/2/2012         11:36:03
48657      6784781957      9/6/2012         12:21:50
48658      6784785353      5/1/2012         17:34:34
48659      6784786597      1/18/2012        10:05:43
48660      6784788472      6/20/2012        16:51:00
48661      6784788651      5/30/2012        16:54:51
48662      6784789857      7/15/2011        7:05:45
48663      6784789857      9/10/2011        8:59:08
48664      6784800839      10/23/2012       15:52:02
48665      6784804308      9/19/2011        19:29:25
48666      6784805983      12/18/2011       17:34:13
48667      6784810755      1/9/2012         7:07:43
48668      6784850708      5/29/2012        17:04:53
48669      6784859325      9/13/2011        15:19:10
48670      6784859325      9/19/2011        19:27:14
48671      6784880058      11/3/2011        17:15:37
48672      6784881738      10/14/2011       12:46:20
48673      6784882315      2/2/2012         7:07:19
48674      6784883043      3/9/2012         7:05:10
48675      6784883346      11/21/2011       7:23:29
48676      6784884058      11/2/2011        7:12:37
48677      6784888546      6/25/2012        13:21:45
48678      6784896424      8/29/2012        10:59:49
48679      6784911915      4/5/2012         7:14:56
48680      6784922104      10/31/2011       7:19:28
48681      6784922333      3/14/2011        17:07:46
48682      6784958360      11/23/2011       14:34:58
48683      6784978995      5/10/2011        19:19:31
48684      6784990285      8/30/2012        17:33:32
48685      6784990782      5/25/2012        8:08:50
48686      6784990976      2/25/2012        10:56:29
48687      6784990986      8/13/2011        9:39:47
48688      6784991511      6/28/2012        14:20:09
48689      6784991744      4/21/2012        8:16:41
48690      6784992156      4/29/2012        17:00:44
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48691      6784993034      1/16/2012        17:09:08
48692      6784993110      11/12/2011       10:09:48
48693      6784995456      6/2/2012         13:02:05
48694      6784996471      9/14/2012        7:01:02
48695      6784997359      10/11/2011       17:03:05
48696      6784997831      12/11/2011       12:27:13
48697      6784997935      3/16/2012        15:49:57
48698      6784998019      7/20/2011        13:33:59
48699      6784998043      7/18/2012        18:24:49
48700      6784998778      9/23/2011        7:09:36
48701      6784999027      4/10/2012        16:11:35
48702      6784999777      12/13/2011       18:48:04
48703      6785004026      10/14/2011       12:40:05
48704      6785005655      5/11/2012        18:23:34
48705      6785020003      12/22/2011       9:53:51
48706      6785026324      3/3/2012         8:23:35
48707      6785076500      2/18/2012        8:53:46
48708      6785076893      9/21/2012        18:49:06
48709      6785079186      7/30/2012        13:14:21
48710      6785080875      5/23/2012        14:50:01
48711      6785080989      4/11/2012        11:07:37
48712      6785082001      2/2/2012         7:12:21
48713      6785082316      8/2/2012         11:29:33
48714      6785082824      12/3/2011        9:01:44
48715      6785082866      12/27/2011       14:29:55
48716      6785084892      9/22/2012        9:21:50
48717      6785085191      5/16/2012        16:59:47
48718      6785085640      8/31/2012        16:25:48
48719      6785087379      6/15/2012        16:37:05
48720      6785089014      4/20/2012        14:04:04
48721      6785089688      12/20/2011       11:45:17
48722      6785103153      2/17/2012        18:05:38
48723      6785108983      3/28/2012        18:17:47
48724      6785160705      12/27/2011       14:15:27
48725      6785163053      9/10/2011        9:04:17
48726      6785164745      9/21/2011        11:27:32
48727      6785165548      10/20/2012       16:18:30
48728      6785165575      8/3/2012         16:34:52
48729      6785168928      5/15/2012        19:07:55
48730      6785169260      9/24/2011        9:12:39
48731      6785170367      9/6/2012         12:38:56
48732      6785172125      1/4/2012         11:11:31
48733      6785174424      1/21/2012        8:17:40
48734      6785175591      9/22/2011        15:54:49
48735      6785189675      12/18/2011       16:19:12
48736      6785201724      10/1/2011        10:11:49
48737      6785206686      3/14/2012        19:44:12
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48738      6785207837      9/24/2012        19:00:10
48739      6785209101      9/22/2012        9:01:32
48740      6785211058      11/29/2011       15:20:35
48741      6785211905      5/15/2012        19:01:17
48742      6785216713      10/7/2012        12:47:02
48743      6785216959      7/9/2012         7:20:46
48744      6785219355      10/29/2011       11:26:01
48745      6785220891      9/27/2011        18:11:13
48746      6785225640      10/17/2011       7:27:50
48747      6785227282      9/14/2011        7:09:01
48748      6785227546      6/27/2011        7:46:32
48749      6785227584      12/7/2011        13:16:45
48750      6785233425      9/21/2012        18:44:45
48751      6785236572      10/8/2011        11:24:45
48752      6785239262      10/12/2012       16:44:07
48753      6785247707      11/15/2011       16:02:16
48754      6785249198      4/14/2012        9:16:31
48755      6785251178      12/16/2011       16:16:30
48756      6785254188      10/5/2011        14:07:28
48757      6785259340      9/21/2012        16:03:05
48758      6785263020      8/6/2012         15:57:28
48759      6785263020      8/25/2012        8:25:17
48760      6785310731      11/3/2011        17:13:03
48761      6785310749      3/17/2012        8:56:17
48762      6785311887      6/16/2012        15:13:38
48763      6785311889      11/18/2011       13:31:25
48764      6785313358      12/27/2011       14:28:49
48765      6785320021      11/11/2011       7:51:19
48766      6785320082      5/17/2011        9:27:42
48767      6785320097      11/19/2011       8:06:38
48768      6785324333      8/20/2012        18:40:13
48769      6785397257      10/10/2011       11:35:22
48770      6785424928      1/21/2012        8:17:30
48771      6785428997      4/11/2012        13:18:39
48772      6785441174      10/28/2011       13:22:49
48773      6785442231      6/8/2012         7:26:58
48774      6785443446      11/9/2011        7:25:46
48775      6785445621      10/5/2012        12:15:06
48776      6785446122      9/26/2012        7:09:52
48777      6785447633      11/14/2011       16:19:42
48778      6785448523      11/11/2011       13:34:17
48779      6785449582      10/15/2011       8:50:21
48780      6785480667      12/16/2011       15:48:35
48781      6785481974      8/10/2012        7:31:49
48782      6785487307      11/17/2011       16:24:10
48783      6785487333      9/11/2012        7:48:20
48784      6785488498      9/15/2011        7:21:15
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48785      6785488591      6/18/2012        7:55:41
48786      6785494261      12/7/2011        15:06:32
48787      6785494326      12/5/2011        18:48:24
48788      6785494602      9/26/2012        14:39:49
48789      6785498706      5/6/2012         17:31:24
48790      6785499767      10/12/2012       16:45:40
48791      6785570948      6/30/2012        15:42:19
48792      6785572795      10/12/2012       16:58:45
48793      6785573349      10/21/2011       13:07:27
48794      6785578480      1/26/2012        7:18:31
48795      6785585607      8/10/2012        7:32:21
48796      6785587900      9/19/2011        19:30:34
48797      6785594744      11/29/2011       15:35:34
48798      6785702599      6/4/2012         21:13:23
48799      6785711328      9/28/2011        9:11:33
48800      6785713615      9/8/2011         19:45:13
48801      6785723188      3/14/2012        19:50:56
48802      6785723188      5/2/2012         13:20:11
48803      6785723600      10/1/2011        9:32:44
48804      6785740000      10/12/2011       11:53:13
48805      6785750837      3/18/2011        10:20:48
48806      6785752716      10/5/2011        14:26:03
48807      6785753663      11/29/2011       15:34:18
48808      6785756633      12/9/2011        15:24:43
48809      6785757150      12/18/2011       17:46:23
48810      6785757167      1/6/2012         7:01:58
48811      6785760040      7/19/2012        17:36:41
48812      6785760040      8/3/2012         16:22:20
48813      6785762068      10/28/2013       7:07:12
48814      6785769340      10/21/2011       12:35:03
48815      6785771935      11/29/2011       16:23:25
48816      6785776754      10/5/2012        12:26:22
48817      6785778761      3/6/2012         15:42:40
48818      6785789603      11/4/2011        7:21:13
48819      6785807342      10/25/2012       19:35:51
48820      6785808743      4/10/2012        11:34:04
48821      6785843207      12/22/2011       7:12:32
48822      6785881276      9/24/2011        9:39:15
48823      6785882236      8/11/2012        9:35:14
48824      6785883549      4/14/2012        9:14:19
48825      6785884344      12/29/2011       10:52:15
48826      6785884433      11/15/2011       16:17:47
48827      6785885165      5/22/2012        18:32:35
48828      6785885851      10/11/2011       15:48:39
48829      6785887573      10/20/2011       15:20:42
48830      6785889501      10/27/2011       15:04:20
48831      6785913752      11/23/2011       15:03:19
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48832      6785918180      9/2/2011         12:45:26
48833      6785918872      12/28/2011       7:04:52
48834      6785918872      1/12/2012        14:13:11
48835      6785919183      1/18/2012        16:54:50
48836      6785921798      3/10/2011        17:31:45
48837      6785923539      10/1/2012        13:41:00
48838      6785928882      5/6/2012         17:13:41
48839      6785952577      10/12/2012       16:35:34
48840      6785952577      10/20/2012       16:20:00
48841      6785957342      6/11/2012        7:04:56
48842      6785957342      8/28/2012        7:29:07
48843      6785958827      10/10/2011       11:38:29
48844      6785959657      10/13/2011       7:22:11
48845      6785960839      3/15/2012        7:10:53
48846      6785960839      4/5/2012         14:21:58
48847      6785960947      6/9/2012         10:47:57
48848      6785960947      8/25/2012        11:04:20
48849      6785963150      1/13/2012        17:11:46
48850      6785963150      6/9/2012         10:23:48
48851      6785964330      8/13/2012        7:46:09
48852      6785965848      11/14/2011       16:48:03
48853      6785966934      5/4/2012         18:28:04
48854      6785980709      11/4/2011        7:02:46
48855      6785981681      10/11/2012       11:58:25
48856      6785982273      12/28/2011       13:13:22
48857      6785982697      10/6/2011        16:29:59
48858      6785982697      10/15/2011       9:17:41
48859      6785983210      9/19/2011        7:32:44
48860      6785983840      5/21/2012        7:43:44
48861      6785983938      10/29/2011       10:27:53
48862      6786001089      11/7/2011        9:10:30
48863      6786001238      10/20/2011       15:57:29
48864      6786001238      5/26/2012        14:20:00
48865      6786002413      4/16/2012        7:09:42
48866      6786002420      4/4/2012         7:12:12
48867      6786003021      4/3/2012         17:58:20
48868      6786003877      5/10/2011        19:12:21
48869      6786004294      9/24/2012        12:48:17
48870      6786004626      6/15/2012        16:43:49
48871      6786005232      12/6/2011        7:21:14
48872      6786005285      6/12/2012        17:19:25
48873      6786006112      5/31/2012        15:06:38
48874      6786006827      1/4/2012         10:59:46
48875      6786007061      12/15/2011       8:29:00
48876      6786009322      3/26/2012        18:33:55
48877      6786009768      8/30/2011        17:10:06
48878      6786009990      3/2/2012         18:58:03
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48879      6786020684      12/15/2011       8:38:37
48880      6786023900      4/24/2012        18:10:40
48881      6786036662      10/15/2011       10:28:49
48882      6786077226      4/21/2012        16:14:05
48883      6786085193      2/8/2012         7:48:47
48884      6786085694      10/23/2012       10:50:05
48885      6786088176      11/4/2011        15:34:00
48886      6786089064      9/27/2012        7:35:26
48887      6786126747      3/25/2012        11:31:33
48888      6786130196      10/13/2012       11:43:00
48889      6786132198      6/24/2012        13:44:58
48890      6786143289      12/20/2011       17:25:55
48891      6786164485      10/1/2011        10:28:41
48892      6786171897      10/20/2011       15:32:14
48893      6786172476      7/9/2011         8:39:07
48894      6786172602      5/24/2012        7:15:56
48895      6786174247      12/15/2011       7:58:09
48896      6786177102      11/17/2011       13:32:31
48897      6786177384      2/4/2012         8:26:46
48898      6786177384      2/17/2012        8:57:40
48899      6786180767      11/18/2011       13:28:39
48900      6786219741      12/19/2011       8:09:24
48901      6786221472      2/2/2012         18:54:14
48902      6786221603      1/4/2012         11:11:27
48903      6786221926      12/28/2011       20:45:54
48904      6786282519      4/4/2012         18:41:33
48905      6786287297      10/6/2011        17:26:27
48906      6786292686      6/1/2011         11:49:15
48907      6786298530      8/23/2012        11:47:04
48908      6786301408      9/3/2011         10:48:50
48909      6786302330      8/31/2012        16:28:40
48910      6786332775      2/8/2012         7:33:49
48911      6786337967      5/7/2011         13:53:17
48912      6786339490      1/10/2012        15:26:42
48913      6786340958      8/21/2012        14:00:46
48914      6786379034      1/18/2012        16:50:00
48915      6786402556      11/16/2011       9:34:35
48916      6786403857      10/20/2012       12:52:39
48917      6786413646      5/22/2012        18:48:25
48918      6786422162      7/9/2011         8:12:47
48919      6786443530      11/12/2011       9:48:17
48920      6786501177      10/11/2012       12:00:34
48921      6786506022      9/29/2011        15:03:48
48922      6786510190      9/13/2011        7:06:20
48923      6786518874      2/20/2012        17:01:42
48924      6786567481      3/6/2012         16:02:03
48925      6786630356      12/15/2011       8:17:10
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48926      6786631131      10/31/2011       7:19:48
48927      6786631690      9/29/2011        15:36:50
48928      6786631827      1/9/2012         18:23:13
48929      6786632393      1/23/2012        19:08:26
48930      6786632508      8/13/2012        8:37:59
48931      6786633305      7/6/2012         14:46:18
48932      6786634267      10/13/2011       7:24:06
48933      6786636732      9/14/2011        7:08:52
48934      6786638552      6/13/2012        7:08:46
48935      6786638570      1/11/2012        7:33:29
48936      6786638598      9/24/2011        9:03:55
48937      6786650194      2/14/2012        9:54:19
48938      6786652707      8/22/2012        11:09:16
48939      6786653609      4/13/2012        13:30:55
48940      6786654684      3/12/2012        19:03:12
48941      6786654684      3/15/2012        19:01:20
48942      6786655623      9/8/2011         18:47:42
48943      6786656492      1/16/2012        7:16:41
48944      6786680141      12/16/2011       16:14:27
48945      6786681579      12/2/2013        12:34:58
48946      6786684253      3/27/2012        15:05:27
48947      6786684636      10/13/2011       7:29:19
48948      6786689225      1/23/2012        18:57:39
48949      6786728493      4/24/2012        12:25:18
48950      6786728585      9/7/2012         15:39:20
48951      6786737093      3/7/2012         7:11:37
48952      6786771712      8/28/2012        7:25:41
48953      6786772878      10/11/2011       15:44:44
48954      6786773445      3/27/2012        15:32:53
48955      6786774466      11/8/2011        14:13:46
48956      6786776798      12/24/2011       12:33:39
48957      6786777455      8/18/2012        8:59:10
48958      6786815069      1/25/2012        20:30:43
48959      6786815613      7/23/2011        12:40:31
48960      6786830142      11/11/2011       7:52:49
48961      6786830142      1/19/2012        7:46:36
48962      6786834845      9/10/2011        8:52:58
48963      6786834845      10/5/2011        13:58:48
48964      6786835029      12/18/2011       16:54:24
48965      6786837387      2/18/2012        8:56:31
48966      6786857505      11/7/2011        8:30:23
48967      6786870649      1/11/2012        16:26:17
48968      6786876429      11/4/2011        7:23:55
48969      6786876936      11/26/2011       12:49:07
48970      6786899746      7/20/2012        14:51:55
48971      6786899887      2/6/2012         7:14:45
48972      6786971175      10/3/2012        19:51:54
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48973      6786972636      7/9/2011         8:03:05
48974      6786978571      9/10/2011        8:23:11
48975      6786980625      11/19/2011       8:07:25
48976      6786981983      1/5/2012         13:56:35
48977      6786982044      10/28/2011       13:30:27
48978      6786982641      12/21/2011       11:18:15
48979      6786984569      2/28/2012        16:12:19
48980      6786984665      12/24/2011       12:02:20
48981      6786985562      12/17/2011       11:52:24
48982      6786985877      10/10/2012       12:41:10
48983      6786985903      6/18/2012        15:21:24
48984      6786986466      11/3/2011        17:14:41
48985      6786987105      3/2/2012         18:59:22
48986      6786988229      10/2/2012        7:33:08
48987      6786988416      2/28/2012        15:52:26
48988      6786989300      12/17/2011       12:02:15
48989      6786991620      2/21/2012        9:41:27
48990      6786993311      10/16/2012       7:29:12
48991      6786994742      9/16/2011        14:29:09
48992      6786995900      10/6/2011        16:08:50
48993      6786996138      1/16/2012        17:23:37
48994      6786996138      5/21/2012        7:03:16
48995      6786996138      6/25/2012        13:34:40
48996      6787021226      12/27/2011       14:28:00
48997      6787029757      2/21/2012        10:47:42
48998      6787041091      2/29/2012        7:09:08
48999      6787041865      5/26/2014        10:19:51
49000      6787043442      2/9/2012         7:06:31
49001      6787046039      11/25/2011       18:19:38
49002      6787073131      4/11/2012        19:33:46
49003      6787073883      7/14/2011        15:54:08
49004      6787085530      3/19/2012        19:09:23
49005      6787177551      10/21/2011       12:33:51
49006      6787177551      1/27/2012        17:43:39
49007      6787178004      8/12/2011        7:23:19
49008      6787178141      9/30/2011        10:17:37
49009      6787191342      11/5/2011        9:01:12
49010      6787195841      1/29/2012        16:31:07
49011      6787221122      9/24/2012        18:48:40
49012      6787273294      1/23/2012        18:52:16
49013      6787273295      12/7/2011        15:02:09
49014      6787324333      4/29/2012        18:16:40
49015      6787324333      4/30/2012        14:43:53
49016      6787324333      5/2/2012         13:20:50
49017      6787324376      10/31/2011       8:48:40
49018      6787324660      5/15/2014        17:12:32
49019      6787325040      7/3/2012         13:02:41
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49020      6787325058      8/2/2011         18:03:14
49021      6787327051      9/30/2011        10:13:07
49022      6787327576      1/11/2012        7:31:43
49023      6787327651      9/19/2011        19:24:53
49024      6787328414      4/21/2011        10:21:54
49025      6787336213      4/18/2012        7:14:11
49026      6787337313      12/19/2011       11:24:48
49027      6787358959      9/12/2011        13:03:52
49028      6787398670      12/10/2011       12:59:46
49029      6787480260      9/24/2012        18:49:43
49030      6787480854      3/19/2012        19:16:36
49031      6787480926      10/19/2011       7:30:09
49032      6787493685      1/10/2012        18:14:11
49033      6787496297      4/29/2012        16:49:46
49034      6787540515      7/13/2012        18:27:10
49035      6787540671      5/23/2012        16:24:17
49036      6787541057      8/3/2013         12:06:14
49037      6787541276      5/4/2012         14:43:26
49038      6787542853      4/4/2011         13:21:47
49039      6787543194      6/7/2012         18:27:20
49040      6787543238      3/19/2012        17:40:39
49041      6787543893      10/4/2011        13:07:22
49042      6787544405      10/5/2011        14:06:20
49043      6787546757      2/25/2012        10:59:20
49044      6787546810      3/19/2012        19:39:26
49045      6787548382      8/1/2011         19:38:14
49046      6787548382      8/2/2011         16:57:56
49047      6787548767      12/1/2011        8:15:42
49048      6787548767      1/6/2012         14:45:23
49049      6787550177      7/11/2012        17:18:30
49050      6787550288      11/23/2011       9:09:45
49051      6787550512      5/5/2012         8:25:17
49052      6787550730      9/12/2012        7:44:28
49053      6787550751      7/18/2012        18:22:41
49054      6787550793      3/21/2012        7:10:34
49055      6787550877      1/26/2012        7:29:12
49056      6787550877      5/21/2012        7:03:28
49057      6787550896      3/16/2012        15:58:21
49058      6787553218      11/5/2011        11:11:16
49059      6787553422      9/14/2011        7:05:30
49060      6787555197      5/19/2011        8:03:53
49061      6787555439      4/21/2012        8:07:13
49062      6787557454      6/5/2012         7:06:04
49063      6787557579      9/21/2011        19:33:39
49064      6787557882      3/15/2012        18:52:19
49065      6787558393      2/13/2012        18:26:45
49066      6787558393      6/1/2012         9:00:15
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49067      6787567200      1/27/2012        17:52:44
49068      6787588917      12/7/2011        13:53:27
49069      6787600398      4/6/2012         15:47:52
49070      6787601187      3/1/2012         8:48:28
49071      6787601927      2/17/2012        18:19:30
49072      6787602605      2/13/2012        18:20:42
49073      6787603477      5/3/2012         7:13:59
49074      6787606243      9/22/2011        15:40:51
49075      6787608347      2/25/2012        17:05:17
49076      6787609489      11/22/2011       19:09:58
49077      6787609778      9/7/2012         15:48:14
49078      6787611504      9/7/2012         15:49:41
49079      6787615437      2/10/2012        7:07:14
49080      6787617221      1/17/2012        7:11:19
49081      6787617320      11/29/2011       15:20:25
49082      6787630687      9/1/2012         9:22:11
49083      6787632527      1/4/2012         20:18:39
49084      6787632898      4/23/2012        7:05:58
49085      6787637143      8/13/2012        7:42:20
49086      6787641102      5/23/2012        14:58:33
49087      6787645560      2/29/2012        7:18:20
49088      6787645560      3/7/2012         18:30:41
49089      6787645560      5/21/2012        17:37:31
49090      6787672335      2/16/2012        7:08:39
49091      6787674638      9/25/2012        14:50:31
49092      6787675336      10/5/2011        10:44:19
49093      6787676538      12/3/2011        9:56:51
49094      6787679035      2/24/2012        20:55:07
49095      6787680205      6/5/2012         19:52:47
49096      6787681480      9/19/2011        19:29:27
49097      6787681592      5/11/2012        18:24:34
49098      6787681607      4/13/2012        13:47:40
49099      6787682827      4/11/2012        7:17:36
49100      6787683262      9/23/2011        18:31:23
49101      6787684144      12/27/2011       14:27:43
49102      6787685015      3/14/2012        7:06:44
49103      6787685015      9/15/2012        8:02:37
49104      6787685319      6/15/2012        8:37:36
49105      6787685924      4/10/2012        15:59:12
49106      6787689548      9/24/2012        12:50:03
49107      6787690125      10/6/2011        17:18:30
49108      6787690430      9/21/2011        19:29:05
49109      6787701627      2/20/2012        16:50:36
49110      6787702621      10/12/2011       7:55:53
49111      6787702879      9/24/2011        9:14:59
49112      6787703166      3/6/2012         12:36:58
49113      6787703655      5/8/2012         7:11:22
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49114      6787705214      11/16/2011       8:53:57
49115      6787705859      11/28/2011       11:10:02
49116      6787708173      6/9/2012         14:59:58
49117      6787708494      2/7/2012         7:19:29
49118      6787709598      1/19/2012        18:22:58
49119      6787720773      12/17/2011       11:55:53
49120      6787721059      10/10/2011       12:14:00
49121      6787722088      9/26/2011        7:57:32
49122      6787728711      9/19/2011        7:32:32
49123      6787731815      6/20/2012        16:56:46
49124      6787761089      8/8/2011         14:47:39
49125      6787761770      12/26/2011       9:16:31
49126      6787761770      5/14/2012        15:28:50
49127      6787762390      9/24/2011        9:17:34
49128      6787767868      10/19/2011       7:33:21
49129      6787777583      9/26/2012        7:11:29
49130      6787781938      10/19/2011       7:44:56
49131      6787786244      10/25/2011       15:58:32
49132      6787792587      7/12/2012        19:49:38
49133      6787799100      9/8/2011         17:40:32
49134      6787800350      6/9/2012         10:48:34
49135      6787860038      2/24/2011        11:15:12
49136      6787874833      2/24/2011        11:53:10
49137      6787875056      2/10/2012        7:11:50
49138      6787885301      8/25/2012        11:04:18
49139      6787890000      11/5/2011        9:33:48
49140      6787890000      11/26/2011       12:39:50
49141      6787890199      9/28/2012        16:38:28
49142      6787890806      1/9/2012         18:31:55
49143      6787891249      11/12/2011       10:11:56
49144      6787892024      4/23/2012        7:03:00
49145      6787892904      8/8/2012         7:01:16
49146      6787893088      11/30/2011       7:16:36
49147      6787893753      11/8/2011        13:44:47
49148      6787895589      2/14/2012        9:54:41
49149      6787895674      3/7/2012         18:37:25
49150      6787896863      9/28/2011        10:05:05
49151      6787897284      12/29/2011       18:47:45
49152      6787897284      1/5/2012         12:10:33
49153      6787898261      1/27/2012        17:56:01
49154      6787898557      1/4/2012         11:17:02
49155      6787899610      5/31/2012        7:02:22
49156      6787900110      9/14/2011        15:11:59
49157      6787903887      1/28/2012        8:27:37
49158      6787906506      9/18/2012        14:23:23
49159      6787907345      10/25/2012       12:10:30
49160      6787912234      4/21/2012        17:01:43
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49161      6787912296      3/16/2012        10:21:16
49162      6787912296      3/26/2012        18:21:35
49163      6787912296      4/21/2012        16:13:22
49164      6787912522      3/24/2012        10:22:17
49165      6787912530      5/28/2011        9:56:14
49166      6787912827      9/14/2011        7:04:49
49167      6787916182      10/21/2011       12:26:51
49168      6787916274      5/7/2011         14:29:21
49169      6787918174      7/24/2012        7:36:11
49170      6787918224      1/28/2012        9:40:54
49171      6787918936      2/14/2012        9:40:02
49172      6787919172      5/10/2012        14:46:56
49173      6787919619      11/11/2011       7:56:05
49174      6787936226      3/18/2012        12:26:26
49175      6787937995      2/1/2012         8:29:10
49176      6787937995      2/6/2012         17:16:35
49177      6787938174      1/11/2012        7:35:20
49178      6787938286      3/8/2012         20:26:00
49179      6787946907      8/6/2012         11:45:18
49180      6787946909      7/23/2012        13:15:41
49181      6787948349      12/8/2011        12:37:52
49182      6787949620      12/26/2013       7:06:16
49183      6787949961      10/17/2011       7:00:40
49184      6787963385      5/28/2012        8:11:10
49185      6787963844      8/25/2011        16:38:35
49186      6787990317      12/7/2011        18:13:13
49187      6787990609      4/1/2012         17:17:26
49188      6787994409      12/5/2011        8:25:06
49189      6787996977      5/3/2012         7:26:57
49190      6788222689      1/13/2012        17:37:13
49191      6788228920      3/16/2012        10:49:42
49192      6788228920      5/21/2012        7:26:09
49193      6788232605      1/9/2012         18:38:07
49194      6788232943      12/2/2011        7:48:03
49195      6788266318      10/15/2011       9:58:41
49196      6788267635      8/16/2012        7:45:52
49197      6788303104      2/20/2012        17:00:29
49198      6788305211      4/30/2012        15:04:44
49199      6788305885      12/21/2011       11:00:32
49200      6788306958      12/8/2011        19:39:50
49201      6788308687      8/19/2011        11:55:53
49202      6788309000      10/8/2011        9:18:19
49203      6788309000      11/15/2011       16:47:57
49204      6788323114      12/16/2011       16:04:42
49205      6788323407      7/5/2012         15:27:05
49206      6788325478      9/1/2012         9:22:20
49207      6788363565      5/30/2012        9:19:24
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49208      6788363565      8/12/2012        13:44:39
49209      6788364973      2/18/2012        8:33:59
49210      6788368117      12/27/2011       14:00:54
49211      6788378792      10/23/2012       16:04:54
49212      6788480537      2/25/2012        10:37:02
49213      6788481991      9/22/2011        15:12:25
49214      6788489729      10/1/2011        10:25:11
49215      6788489729      10/19/2011       7:55:18
49216      6788489729      12/9/2011        14:57:04
49217      6788496531      7/19/2012        17:30:56
49218      6788496741      8/2/2012         11:36:28
49219      6788496741      9/24/2012        14:34:48
49220      6788501368      10/27/2011       15:18:11
49221      6788506612      10/26/2011       12:02:20
49222      6788510044      9/8/2012         11:19:35
49223      6788510363      10/4/2011        13:06:16
49224      6788511520      4/26/2012        13:56:24
49225      6788511788      2/16/2012        7:26:25
49226      6788513802      1/4/2012         10:57:40
49227      6788514038      7/13/2011        11:41:00
49228      6788516051      5/23/2011        15:38:45
49229      6788516561      3/26/2011        10:38:52
49230      6788518137      3/26/2012        18:38:35
49231      6788524224      9/14/2011        11:10:47
49232      6788527775      5/25/2012        17:01:21
49233      6788529666      6/25/2012        13:56:08
49234      6788551240      4/14/2012        9:33:27
49235      6788552007      5/19/2012        8:06:06
49236      6788552007      5/21/2012        7:10:56
49237      6788552264      1/10/2012        18:10:27
49238      6788552264      1/17/2012        18:44:02
49239      6788560459      10/27/2011       16:31:18
49240      6788577481      8/1/2012         8:33:10
49241      6788577481      8/21/2012        13:58:41
49242      6788579370      6/16/2012        7:47:58
49243      6788580885      5/9/2011         16:52:12
49244      6788601710      1/2/2012         7:25:06
49245      6788634121      10/5/2011        14:38:43
49246      6788634998      1/12/2012        14:13:15
49247      6788637200      4/5/2012         9:32:22
49248      6788638475      3/28/2012        16:53:03
49249      6788665125      3/14/2011        17:11:14
49250      6788665810      12/23/2011       15:23:40
49251      6788730072      11/30/2011       14:46:16
49252      6788766157      10/13/2012       9:08:54
49253      6788767326      4/27/2012        11:43:55
49254      6788767890      10/12/2012       16:37:23
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49255      6788779147      9/20/2011        16:32:27
49256      6788785241      6/20/2012        7:54:39
49257      6788786572      11/8/2011        14:11:15
49258      6788787739      9/13/2011        7:21:00
49259      6788797942      10/11/2012       18:43:41
49260      6788825202      2/18/2012        8:56:34
49261      6788837374      3/23/2012        19:44:54
49262      6788860285      10/3/2012        7:13:22
49263      6788860792      8/6/2012         16:09:27
49264      6788861575      9/16/2011        13:20:50
49265      6788862089      1/5/2012         11:57:13
49266      6788864562      12/20/2011       12:40:05
49267      6788864699      9/21/2011        13:12:23
49268      6788865677      12/3/2011        8:51:34
49269      6788865834      11/19/2011       8:35:58
49270      6788865886      10/19/2012       19:06:50
49271      6788866081      9/8/2011         19:30:13
49272      6788866273      8/17/2011        19:10:41
49273      6788866854      10/29/2011       11:23:31
49274      6788868588      7/14/2011        8:58:39
49275      6788869344      12/5/2011        18:22:39
49276      6788869442      5/17/2012        16:43:47
49277      6788869758      1/5/2012         17:19:11
49278      6788870165      10/18/2012       7:09:59
49279      6788870913      9/22/2011        9:03:18
49280      6788871023      4/15/2012        16:43:58
49281      6788871128      9/13/2011        7:22:01
49282      6788871217      3/16/2012        10:17:13
49283      6788871775      3/5/2012         7:03:14
49284      6788872825      9/30/2011        10:16:44
49285      6788872825      3/12/2012        19:05:47
49286      6788873699      1/16/2012        17:10:20
49287      6788873749      10/26/2011       12:42:01
49288      6788873749      11/12/2011       9:19:08
49289      6788873952      11/29/2011       16:06:52
49290      6788874557      12/23/2011       15:44:20
49291      6788874755      12/1/2011        8:00:14
49292      6788878444      9/28/2011        10:22:00
49293      6788878486      1/12/2012        14:03:56
49294      6788879922      9/13/2011        7:04:22
49295      6788879923      9/22/2011        15:58:21
49296      6788917063      11/7/2011        8:35:31
49297      6788917070      7/23/2012        15:30:15
49298      6788919270      1/5/2012         11:58:19
49299      6788919418      9/12/2011        13:46:47
49300      6788919452      12/21/2011       9:51:46
49301      6788955092      10/5/2011        14:17:13
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49302      6788956219      10/5/2011        14:03:07
49303      6788957921      1/17/2012        7:10:28
49304      6788968685      2/1/2012         18:35:01
49305      6788978688      10/4/2011        13:35:03
49306      6788979733      6/16/2012        15:06:31
49307      6788980207      11/17/2011       15:42:44
49308      6788985838      1/5/2012         12:00:04
49309      6789004571      2/20/2012        7:15:42
49310      6789005178      10/26/2011       12:13:03
49311      6789073527      3/14/2012        19:28:55
49312      6789073683      12/14/2011       17:52:31
49313      6789078784      5/21/2012        7:05:20
49314      6789080009      11/25/2011       18:16:38
49315      6789080210      3/16/2012        16:07:44
49316      6789081331      1/24/2012        17:15:11
49317      6789085157      8/30/2012        7:08:40
49318      6789133763      3/29/2012        12:01:54
49319      6789134903      2/16/2012        7:02:00
49320      6789135894      2/15/2012        7:56:17
49321      6789135946      8/20/2012        7:40:56
49322      6789136877      4/10/2012        11:45:54
49323      6789139222      4/6/2012         15:54:05
49324      6789139243      10/19/2012       9:54:28
49325      6789139516      10/5/2012        12:22:20
49326      6789139773      10/29/2011       11:31:30
49327      6789141648      2/22/2012        7:08:00
49328      6789142185      10/22/2011       12:32:27
49329      6789142471      2/7/2012         20:23:43
49330      6789142567      10/1/2011        10:30:39
49331      6789143490      3/28/2012        18:12:32
49332      6789144438      1/24/2012        9:59:31
49333      6789144451      4/6/2012         15:53:44
49334      6789144451      5/21/2012        7:30:44
49335      6789145497      9/22/2011        15:53:48
49336      6789146131      7/27/2011        17:08:12
49337      6789147022      5/22/2012        18:47:47
49338      6789148006      3/4/2012         12:29:43
49339      6789148006      3/5/2012         7:03:11
49340      6789148701      9/22/2012        9:25:52
49341      6789149913      1/27/2012        7:22:53
49342      6789180383      9/24/2012        19:03:43
49343      6789180885      2/10/2012        16:22:07
49344      6789180885      5/21/2012        8:16:04
49345      6789180911      10/1/2011        9:40:52
49346      6789186205      9/12/2011        13:54:49
49347      6789186669      9/21/2012        15:33:38
49348      6789208313      4/18/2012        7:10:52
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49349      6789231996      2/13/2012        18:23:47
49350      6789234956      12/20/2011       7:14:36
49351      6789235078      3/24/2012        9:49:21
49352      6789235548      3/21/2012        7:06:52
49353      6789237095      7/16/2012        19:35:51
49354      6789250320      5/8/2012         17:14:52
49355      6789251959      9/10/2011        8:56:43
49356      6789251959      11/14/2011       14:16:33
49357      6789251959      12/20/2011       17:18:14
49358      6789251959      12/29/2011       18:13:13
49359      6789256219      10/20/2011       16:04:14
49360      6789258959      10/11/2011       16:56:26
49361      6789270584      7/5/2012         7:49:54
49362      6789270645      12/2/2011        7:32:47
49363      6789270696      10/6/2011        17:22:22
49364      6789271503      1/12/2012        14:36:54
49365      6789274133      6/12/2012        17:05:29
49366      6789275200      1/5/2012         17:22:07
49367      6789278496      11/26/2011       13:05:05
49368      6789331021      10/25/2012       19:33:13
49369      6789331039      11/23/2011       9:12:41
49370      6789331416      12/16/2011       16:13:48
49371      6789331439      1/14/2012        8:20:41
49372      6789332220      8/3/2011         12:18:59
49373      6789332338      9/8/2011         19:24:02
49374      6789332562      12/26/2011       9:19:25
49375      6789333230      5/5/2012         8:17:38
49376      6789334132      4/10/2012        16:07:15
49377      6789334137      10/18/2011       7:12:21
49378      6789334685      10/17/2012       18:29:48
49379      6789335576      12/12/2011       16:29:12
49380      6789336334      9/25/2012        14:49:44
49381      6789336688      10/13/2011       7:28:16
49382      6789337114      3/21/2012        7:14:48
49383      6789337577      2/14/2012        9:37:58
49384      6789337759      2/21/2012        9:30:55
49385      6789338113      9/8/2011         19:27:16
49386      6789338665      8/20/2012        18:49:50
49387      6789339702      4/11/2012        7:14:14
49388      6789342873      9/3/2011         11:18:06
49389      6789358579      8/18/2012        8:34:52
49390      6789358971      7/12/2012        7:00:42
49391      6789363981      1/18/2012        16:48:28
49392      6789364930      10/14/2011       13:09:41
49393      6789365906      4/3/2012         18:11:21
49394      6789368144      1/16/2012        17:26:53
49395      6789388019      9/22/2011        15:11:31
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49396      6789388019      10/8/2011        9:30:47
49397      6789390432      12/29/2011       19:16:20
49398      6789397876      6/8/2012         17:00:10
49399      6789399703      10/28/2011       14:07:07
49400      6789436689      12/14/2011       14:00:26
49401      6789490040      3/14/2012        7:10:37
49402      6789490570      11/26/2011       12:43:07
49403      6789491665      2/28/2012        15:58:05
49404      6789491665      3/17/2012        8:41:43
49405      6789491840      11/5/2011        11:04:50
49406      6789492292      3/25/2012        11:38:52
49407      6789492528      1/6/2012         14:38:08
49408      6789493107      4/6/2012         15:17:08
49409      6789493577      2/13/2012        18:20:39
49410      6789493782      10/26/2011       12:59:16
49411      6789494275      6/9/2012         15:11:02
49412      6789498662      5/22/2012        18:34:57
49413      6789530545      4/26/2012        8:03:45
49414      6789530587      4/25/2012        9:33:41
49415      6789531053      6/18/2012        15:18:09
49416      6789560692      1/11/2012        8:48:35
49417      6789562370      3/26/2012        18:34:52
49418      6789640627      10/22/2011       13:16:13
49419      6789677020      12/16/2011       15:29:57
49420      6789720218      1/9/2012         18:36:12
49421      6789724526      5/16/2012        16:52:24
49422      6789728458      1/31/2012        7:13:04
49423      6789736068      10/22/2011       13:04:24
49424      6789737408      11/3/2011        17:03:46
49425      6789737750      11/30/2011       14:44:08
49426      6789737961      12/27/2011       14:28:27
49427      6789738167      1/18/2012        10:58:21
49428      6789739789      7/12/2012        7:05:39
49429      6789749259      10/17/2012       9:46:39
49430      6789750015      3/16/2012        15:49:05
49431      6789752050      9/15/2012        8:05:53
49432      6789771334      10/6/2011        16:16:39
49433      6789775392      1/11/2012        7:39:55
49434      6789776409      9/24/2011        9:37:34
49435      6789778699      10/17/2012       9:37:56
49436      6789778796      10/17/2011       7:40:55
49437      6789779722      6/16/2012        15:10:51
49438      6789784376      10/7/2011        17:36:23
49439      6789796222      9/26/2011        8:15:40
49440      6789823001      12/23/2011       14:01:58
49441      6789825413      8/11/2011        10:54:38
49442      6789828658      9/26/2012        14:44:41
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49443      6789832160      6/1/2011         11:45:31
49444      6789832971      9/28/2012        17:04:08
49445      6789838218      4/6/2012         15:51:38
49446      6789838509      1/10/2012        15:10:56
49447      6789839013      4/25/2012        9:25:12
49448      6789843249      8/7/2012         21:54:17
49449      6789861041      10/29/2011       10:31:02
49450      6789861938      3/14/2012        19:24:39
49451      6789863348      7/18/2012        7:02:14
49452      6789863479      10/10/2011       12:19:15
49453      6789868443      2/17/2012        9:10:20
49454      6789880287      10/12/2012       16:44:57
49455      6789880380      1/5/2012         14:02:36
49456      6789884868      9/17/2011        9:57:42
49457      6789884868      10/1/2011        10:26:44
49458      6789889558      3/2/2012         18:58:07
49459      6789898641      10/6/2011        16:22:04
49460      6789898641      12/5/2011        9:10:49
49461      6789899267      12/2/2011        8:07:26
49462      6789923835      9/15/2012        8:03:19
49463      6789926979      11/9/2011        7:57:07
49464      6789937779      3/14/2012        19:31:54
49465      6789939362      5/10/2012        14:56:05
49466      6789943534      1/20/2012        14:23:03
49467      6789951938      10/20/2012       16:20:20
49468      6789970094      9/20/2011        16:37:40
49469      6789973398      3/28/2012        7:25:57
49470      6789974202      5/3/2012         7:15:21
49471      6789974589      1/23/2012        7:06:59
49472      6812036103      2/13/2012        7:08:01
49473      6822017560      9/22/2011        16:04:05
49474      6822030781      4/23/2012        20:41:10
49475      6822032321      5/21/2012        17:42:33
49476      6822032807      8/30/2012        17:42:54
49477      6822033021      9/12/2011        14:21:17
49478      6822034209      5/31/2012        8:07:51
49479      6822036121      7/30/2012        18:47:51
49480      6822037117      12/8/2011        9:55:50
49481      6822038627      3/23/2012        14:24:20
49482      6822039248      10/1/2011        10:40:38
49483      6822039631      10/1/2011        10:41:37
49484      6822212192      9/19/2011        19:18:05
49485      6822214368      12/6/2011        13:28:12
49486      6822215503      10/23/2012       18:50:18
49487      6822216032      1/13/2012        17:27:56
49488      6822217278      10/4/2011        13:17:34
49489      6822255695      10/18/2011       13:09:02
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49490      6822257435      9/27/2011        18:40:52
49491      6822271577      12/17/2011       12:06:04
49492      6822273855      8/16/2012        9:32:43
49493      6822279136      4/21/2011        12:04:41
49494      6822293814      9/7/2012         15:42:33
49495      6822293953      8/10/2011        19:33:21
49496      6822341850      5/14/2012        8:10:40
49497      6822345169      2/10/2012        9:19:20
49498      6822348605      10/25/2011       15:28:54
49499      6822349774      3/3/2012         8:59:31
49500      6822377887      11/17/2011       15:31:21
49501      6822399492      11/12/2011       10:28:37
49502      6822418569      12/12/2011       12:19:03
49503      6823510848      2/9/2012         14:30:23
49504      6823517814      9/22/2011        15:19:36
49505      6823650429      6/2/2012         13:04:19
49506      6823653259      1/27/2012        11:49:53
49507      6823653438      9/17/2011        10:24:39
49508      6823654523      8/6/2011         9:23:55
49509      6823655442      5/4/2012         20:59:57
49510      6823656013      9/12/2011        14:19:15
49511      6823672204      1/7/2012         9:30:46
49512      6823677566      9/16/2011        13:33:53
49513      6823678625      2/26/2012        13:19:36
49514      6823678934      11/14/2011       14:52:09
49515      6824331888      7/6/2012         16:53:33
49516      6824333807      9/27/2012        16:33:10
49517      6824338805      1/11/2012        16:30:14
49518      6824338805      1/17/2012        18:46:05
49519      6824594545      9/12/2011        14:16:29
49520      6824596029      4/12/2012        18:06:48
49521      6824597474      9/1/2012         9:22:39
49522      6824654695      3/16/2012        16:31:16
49523      6824657132      5/29/2012        10:50:10
49524      6824720426      5/26/2012        14:26:16
49525      6824725138      12/22/2011       8:23:52
49526      6824726198      1/13/2012        17:18:10
49527      6824729283      11/29/2011       15:42:54
49528      6825210178      9/9/2011         18:27:57
49529      6825210178      9/19/2011        19:16:19
49530      6825210312      5/22/2012        18:42:47
49531      6825213775      1/18/2012        9:55:15
49532      6825214143      1/12/2012        14:07:41
49533      6825214933      9/19/2012        8:01:26
49534      6825215721      1/27/2012        18:04:47
49535      6825217328      10/24/2012       15:22:15
49536      6825219484      10/28/2011       14:17:00
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49537      6825219484      2/9/2012         9:42:34
49538      6825219626      9/24/2011        9:19:23
49539      6825513162      8/23/2011        19:05:39
49540      6825513466      5/15/2012        8:41:24
49541      6825515716      9/23/2011        18:45:24
49542      6825516617      9/21/2011        19:30:24
49543      6825523737      11/7/2011        9:38:53
49544      6825524215      2/16/2012        8:27:22
49545      6825524949      1/9/2012         18:41:35
49546      6825527763      3/10/2011        17:53:09
49547      6825529753      9/19/2011        19:15:27
49548      6825531123      6/26/2012        8:02:47
49549      6825531434      1/25/2012        20:36:00
49550      6825531919      10/15/2011       10:35:51
49551      6825535099      10/15/2012       16:21:15
49552      6825542537      5/25/2011        17:51:09
49553      6825544324      9/22/2011        15:42:33
49554      6825545146      3/26/2012        18:43:30
49555      6825547166      10/5/2011        14:43:02
49556      6825548745      12/22/2011       9:11:06
49557      6825548840      6/28/2011        9:42:14
49558      6825548925      12/27/2011       14:20:34
49559      6825548932      3/15/2012        19:06:23
49560      6825548932      3/28/2012        18:13:57
49561      6825549768      7/9/2011         8:54:58
49562      6825561275      12/9/2011        8:03:36
49563      6825570859      5/18/2012        15:47:15
49564      6825579005      10/1/2011        10:38:32
49565      6825579912      9/13/2012        15:21:12
49566      6825580501      10/12/2011       8:01:20
49567      6825580781      7/16/2012        9:27:06
49568      6825587147      10/7/2012        13:07:39
49569      6825590311      3/2/2012         18:46:30
49570      6825601284      9/12/2011        14:19:28
49571      6825603684      2/29/2012        17:23:23
49572      6825606770      2/7/2012         20:19:47
49573      6825606962      3/15/2012        13:47:57
49574      6825610006      5/15/2012        8:45:31
49575      6825610102      9/14/2011        10:09:32
49576      6825618236      7/21/2012        10:29:05
49577      6825646144      9/27/2012        16:24:47
49578      6825970096      2/3/2012         20:11:09
49579      6825970158      3/2/2012         9:24:27
49580      6825970226      9/27/2012        8:34:35
49581      6825970321      4/5/2012         13:49:18
49582      6825974556      4/13/2012        20:40:14
49583      6825975962      5/11/2012        10:42:19
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49584      6825976275      2/6/2012         9:57:44
49585      6825976360      1/11/2012        8:47:59
49586      6826674041      10/5/2011        14:42:48
49587      6826675535      4/9/2012         19:36:51
49588      7012059106      9/10/2011        9:16:30
49589      7012100596      9/19/2011        19:14:12
49590      7012120000      9/15/2011        9:04:42
49591      7012138454      9/19/2011        8:33:16
49592      7012149227      2/11/2012        11:26:20
49593      7012190690      10/24/2012       14:50:19
49594      7012406558      11/19/2011       8:28:05
49595      7013181094      9/22/2011        16:07:51
49596      7013302048      10/18/2011       12:15:56
49597      7013411089      1/20/2012        11:34:49
49598      7013508363      5/25/2012        17:06:46
49599      7013602304      2/9/2012         9:39:01
49600      7013610457      9/20/2011        17:13:16
49601      7013610457      10/29/2011       10:26:38
49602      7013615175      10/19/2011       12:09:58
49603      7013889805      10/3/2011        8:27:20
49604      7014006266      8/8/2011         15:35:59
49605      7014262564      9/24/2011        9:42:32
49606      7014265785      9/29/2011        15:17:53
49607      7014268384      11/14/2011       15:21:38
49608      7015003288      9/24/2012        13:00:50
49609      7015091434      10/10/2012       19:21:24
49610      7015167169      12/13/2011       18:48:10
49611      7015501749      2/20/2012        16:56:18
49612      7015704642      11/14/2011       17:21:13
49613      7015784258      10/5/2013        15:45:10
49614      7016409093      7/20/2012        8:45:56
49615      7017303414      10/19/2011       8:05:42
49616      7017405063      1/25/2012        20:34:00
49617      7017416126      9/8/2011         18:00:28
49618      7017930912      4/4/2012         18:39:59
49619      7017994588      12/6/2011        12:41:53
49620      7018456979      11/11/2011       20:18:43
49621      7022027136      1/16/2012        17:18:28
49622      7022029562      1/23/2012        10:15:33
49623      7022032748      12/15/2011       10:18:53
49624      7022032748      2/9/2012         14:32:49
49625      7022039573      10/10/2011       13:02:54
49626      7022046690      12/20/2011       19:40:42
49627      7022050561      4/29/2011        20:33:42
49628      7022054099      3/22/2012        14:05:02
49629      7022054426      2/3/2012         14:31:41
49630      7022079747      5/17/2012        17:00:34
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49631      7022107367      12/17/2011       12:18:37
49632      7022175670      1/17/2012        13:35:32
49633      7022175670      1/30/2012        10:17:42
49634      7022175670      5/25/2012        17:05:11
49635      7022180409      9/13/2011        13:42:00
49636      7022184437      8/2/2012         18:59:05
49637      7022184552      9/16/2011        15:17:23
49638      7022184622      12/17/2011       12:15:07
49639      7022188724      9/20/2011        16:57:51
49640      7022195162      9/12/2011        13:36:51
49641      7022199564      10/16/2012       16:40:53
49642      7022322259      6/6/2012         15:24:53
49643      7022324935      8/11/2012        9:27:11
49644      7022330242      7/11/2012        17:27:10
49645      7022352577      4/1/2012         17:37:15
49646      7022356611      12/5/2011        18:29:34
49647      7022358926      10/4/2011        13:28:32
49648      7022361971      8/25/2011        17:14:27
49649      7022363128      2/11/2012        11:23:51
49650      7022366549      6/15/2012        15:48:31
49651      7022370785      10/19/2012       11:30:38
49652      7022386133      1/26/2012        10:05:04
49653      7022388634      9/3/2012         14:28:26
49654      7022393363      10/12/2011       11:53:01
49655      7022394847      10/11/2011       16:42:55
49656      7022413281      4/4/2012         14:00:53
49657      7022413963      10/6/2011        17:58:03
49658      7022416640      5/15/2012        8:40:21
49659      7022450197      11/21/2011       10:40:28
49660      7022451544      1/27/2012        21:54:55
49661      7022454933      9/24/2012        18:56:42
49662      7022499383      5/20/2011        18:20:43
49663      7022500587      7/19/2011        18:06:54
49664      7022504783      11/16/2011       8:44:47
49665      7022650764      12/23/2011       13:31:50
49666      7022650764      1/9/2012         10:35:15
49667      7022650764      1/23/2012        19:23:03
49668      7022652390      10/8/2012        12:46:44
49669      7022663924      5/31/2012        9:15:39
49670      7022665649      10/22/2011       12:47:20
49671      7022677265      3/21/2012        18:37:21
49672      7022678755      12/17/2011       12:18:06
49673      7022713517      7/16/2012        9:39:23
49674      7022714646      10/22/2012       18:03:02
49675      7022717377      7/10/2012        21:11:28
49676      7022723457      11/2/2011        14:32:48
49677      7022725607      4/25/2012        15:50:00
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49678      7022726062      10/14/2011       13:35:27
49679      7022727088      10/15/2011       11:04:28
49680      7022728978      9/22/2012        12:15:33
49681      7022738281      9/22/2011        16:18:08
49682      7022738798      8/13/2012        21:01:52
49683      7022738914      11/4/2011        10:22:20
49684      7022742587      9/19/2011        19:38:40
49685      7022752905      6/19/2012        13:16:33
49686      7022752905      8/23/2012        11:58:32
49687      7022773658      2/20/2012        13:56:57
49688      7022774099      9/28/2011        11:32:14
49689      7022787034      8/29/2013        10:14:52
49690      7022787237      9/8/2011         19:57:30
49691      7022788651      6/18/2012        10:38:26
49692      7022788651      7/3/2012         19:38:50
49693      7022790875      7/11/2012        17:17:37
49694      7022812044      10/9/2012        20:05:15
49695      7022812348      4/9/2012         18:20:11
49696      7022815600      5/7/2012         21:36:27
49697      7022851288      10/3/2011        10:48:46
49698      7022851554      4/25/2012        18:44:08
49699      7022854842      10/8/2012        12:50:03
49700      7022863699      5/23/2012        15:22:38
49701      7022865252      4/20/2011        20:21:30
49702      7022869717      3/6/2012         16:07:25
49703      7022874865      10/15/2011       11:10:41
49704      7022875069      10/1/2012        21:35:15
49705      7022900199      4/3/2012         20:12:23
49706      7022902929      9/13/2011        18:15:22
49707      7022905404      5/25/2012        17:13:37
49708      7022907140      3/28/2012        12:37:33
49709      7022908815      10/24/2011       14:26:38
49710      7022920921      3/1/2012         17:32:58
49711      7022923320      9/28/2012        14:18:32
49712      7022923616      3/31/2012        22:33:56
49713      7022923956      2/1/2012         13:33:34
49714      7022926636      11/19/2011       10:41:14
49715      7022929104      10/1/2011        10:55:36
49716      7022966913      6/24/2012        11:34:15
49717      7023001574      3/15/2012        14:02:55
49718      7023006981      1/11/2012        10:56:54
49719      7023012538      4/6/2012         15:46:52
49720      7023014160      6/6/2011         17:37:23
49721      7023016973      7/19/2012        17:34:41
49722      7023017424      5/9/2012         14:34:48
49723      7023018172      2/11/2012        11:27:11
49724      7023018840      6/7/2012         18:25:46
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49725      7023026225      3/2/2012         18:52:58
49726      7023026503      8/16/2012        19:49:02
49727      7023030308      7/16/2012        14:31:08
49728      7023031432      9/28/2012        17:00:19
49729      7023062580      10/18/2012       16:39:04
49730      7023064634      3/12/2012        11:25:15
49731      7023065201      9/29/2011        15:56:24
49732      7023067262      1/12/2012        10:13:30
49733      7023067371      2/20/2012        16:58:11
49734      7023089246      9/1/2012         11:47:59
49735      7023191787      12/26/2011       20:12:17
49736      7023212180      11/21/2011       10:46:04
49737      7023241056      3/14/2012        20:02:30
49738      7023241332      10/19/2011       12:05:29
49739      7023244953      4/28/2012        10:27:55
49740      7023250179      10/29/2011       11:41:50
49741      7023250881      9/20/2011        16:57:24
49742      7023250881      3/5/2012         11:05:22
49743      7023251495      2/9/2012         14:32:47
49744      7023252474      3/8/2012         15:37:43
49745      7023254674      9/13/2011        14:39:42
49746      7023259431      6/25/2012        13:29:22
49747      7023267307      6/17/2011        16:01:22
49748      7023270178      10/19/2011       12:04:48
49749      7023270582      10/18/2011       17:59:16
49750      7023270582      12/29/2011       11:18:38
49751      7023272293      6/29/2012        10:58:09
49752      7023274521      10/7/2011        10:35:24
49753      7023275708      10/12/2012       21:28:43
49754      7023279083      12/23/2011       16:11:10
49755      7023281790      9/22/2011        15:40:24
49756      7023282410      2/14/2012        10:11:50
49757      7023286333      9/26/2011        13:28:39
49758      7023286333      10/19/2011       12:30:29
49759      7023327268      5/14/2011        12:10:24
49760      7023327268      12/29/2011       18:07:04
49761      7023328986      2/16/2012        11:24:39
49762      7023350485      6/12/2012        17:15:18
49763      7023353077      10/13/2011       10:39:55
49764      7023358080      2/4/2012         13:14:44
49765      7023361158      10/9/2012        20:02:46
49766      7023363621      7/17/2012        21:55:19
49767      7023364208      10/15/2012       16:24:18
49768      7023364388      10/8/2012        20:07:59
49769      7023368017      9/26/2012        7:14:03
49770      7023381454      3/26/2012        15:09:06
49771      7023381814      10/28/2011       13:48:04
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49772      7023388842      8/28/2012        21:55:57
49773      7023390968      2/20/2012        14:02:23
49774      7023391359      9/13/2011        18:22:04
49775      7023392116      1/12/2012        14:10:04
49776      7023392166      2/21/2012        16:22:48
49777      7023394536      11/23/2011       14:47:10
49778      7023398219      9/24/2011        10:05:47
49779      7023399415      9/8/2011         19:57:25
49780      7023401465      9/21/2012        19:03:18
49781      7023405843      4/2/2012         17:45:57
49782      7023433131      10/6/2011        9:23:37
49783      7023484794      11/12/2011       10:56:45
49784      7023484794      11/17/2011       16:00:09
49785      7023488516      11/2/2011        14:34:38
49786      7023488516      11/15/2011       20:11:45
49787      7023489881      3/5/2012         11:04:17
49788      7023490746      7/27/2012        15:27:01
49789      7023492890      11/15/2011       15:55:32
49790      7023498590      9/19/2011        19:19:48
49791      7023498773      9/26/2012        15:21:45
49792      7023499807      12/24/2011       12:29:17
49793      7023510684      2/21/2012        20:55:53
49794      7023527070      1/14/2012        13:22:18
49795      7023534357      4/18/2012        18:04:09
49796      7023536285      2/7/2012         20:23:00
49797      7023539245      3/30/2012        21:46:37
49798      7023539839      11/23/2011       10:47:46
49799      7023541333      9/22/2011        16:17:29
49800      7023542747      10/21/2011       12:55:55
49801      7023544033      6/27/2012        18:02:13
49802      7023550363      6/4/2012         21:07:47
49803      7023551085      4/23/2012        20:36:46
49804      7023552319      12/28/2011       17:47:27
49805      7023555986      8/13/2012        20:55:19
49806      7023557791      4/5/2012         14:38:54
49807      7023558158      3/13/2012        18:52:38
49808      7023558158      3/21/2012        18:38:09
49809      7023589282      9/20/2011        20:50:16
49810      7023589557      2/11/2012        11:23:36
49811      7023663235      3/8/2012         20:35:19
49812      7023663424      1/21/2012        11:19:39
49813      7023707990      10/15/2011       11:11:07
49814      7023707990      11/5/2011        10:33:21
49815      7023709006      2/12/2012        16:08:08
49816      7023715999      11/3/2011        18:05:43
49817      7023716449      3/14/2012        14:22:22
49818      7023717558      12/21/2011       10:06:42
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                                   #:12912

49819      7023723632      8/29/2012        20:18:22
49820      7023725576      10/3/2011        10:33:12
49821      7023725919      10/8/2011        12:30:24
49822      7023728254      12/26/2011       20:10:54
49823      7023728912      10/29/2011       11:59:07
49824      7023733027      9/30/2011        10:08:40
49825      7023741301      2/14/2012        10:10:23
49826      7023741895      8/2/2011         19:08:54
49827      7023750332      7/15/2011        18:00:42
49828      7023750639      1/17/2012        18:50:09
49829      7023760733      5/25/2011        17:59:05
49830      7023761342      12/27/2011       14:25:54
49831      7023765474      8/9/2012         14:14:30
49832      7023766394      3/7/2012         19:00:55
49833      7023794535      1/3/2012         16:44:26
49834      7023823858      11/11/2011       20:31:08
49835      7023990813      10/6/2011        17:01:57
49836      7024004434      3/6/2012         16:59:13
49837      7024012407      2/15/2012        14:38:03
49838      7024012512      11/16/2011       20:03:10
49839      7024015108      9/27/2012        13:26:35
49840      7024018175      12/12/2011       12:31:22
49841      7024018722      10/22/2011       12:48:15
49842      7024032049      8/31/2011        10:15:37
49843      7024034717      1/30/2012        10:13:25
49844      7024034875      10/21/2011       12:56:30
49845      7024036870      1/16/2012        21:06:46
49846      7024039824      10/24/2011       14:30:29
49847      7024061128      9/23/2011        11:22:32
49848      7024061572      7/2/2011         9:01:35
49849      7024080330      3/13/2012        12:48:16
49850      7024080366      12/10/2011       14:53:16
49851      7024082054      2/19/2012        20:08:31
49852      7024082696      2/14/2012        10:04:19
49853      7024087834      8/28/2012        21:54:36
49854      7024088183      6/18/2012        7:51:11
49855      7024098949      1/18/2012        16:44:43
49856      7024103855      12/2/2011        14:19:55
49857      7024103855      12/26/2011       20:10:34
49858      7024103855      1/11/2012        10:55:02
49859      7024104168      1/8/2012         16:47:25
49860      7024154385      1/19/2012        18:44:30
49861      7024154913      9/19/2012        16:24:30
49862      7024159618      9/29/2011        16:01:14
49863      7024159618      10/17/2011       11:00:17
49864      7024163375      10/1/2012        21:37:01
49865      7024166624      7/17/2012        21:56:28
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49866      7024168429      8/28/2012        11:56:35
49867      7024176313      3/2/2012         19:06:26
49868      7024177866      4/12/2012        14:25:47
49869      7024178515      7/11/2012        17:23:44
49870      7024178587      5/31/2012        15:14:15
49871      7024179695      10/8/2011        12:29:03
49872      7024184018      12/9/2011        21:51:43
49873      7024186029      2/28/2012        13:08:26
49874      7024192740      11/21/2011       10:34:11
49875      7024192740      9/5/2012         15:28:09
49876      7024196832      1/17/2012        13:31:32
49877      7024203476      10/15/2011       11:16:23
49878      7024204880      2/16/2012        9:20:41
49879      7024205177      10/20/2011       20:56:44
49880      7024206967      2/26/2012        13:23:18
49881      7024232386      9/27/2012        16:33:23
49882      7024235280      9/8/2011         19:54:47
49883      7024236013      10/10/2011       13:21:18
49884      7024260308      5/24/2012        12:19:30
49885      7024261552      7/6/2012         20:19:09
49886      7024266027      5/16/2012        16:53:03
49887      7024266027      6/5/2012         13:57:28
49888      7024275421      5/29/2012        10:53:14
49889      7024276731      11/16/2011       20:08:41
49890      7024278885      6/15/2012        15:48:13
49891      7024278968      6/9/2012         14:49:34
49892      7024281281      1/3/2012         19:52:19
49893      7024283484      3/31/2012        22:36:37
49894      7024380662      5/11/2012        18:40:12
49895      7024390687      9/10/2011        12:45:32
49896      7024392039      10/19/2012       19:06:12
49897      7024392421      9/9/2011         18:38:42
49898      7024394610      6/16/2012        10:10:03
49899      7024395055      6/23/2012        16:17:06
49900      7024398883      9/29/2011        15:57:24
49901      7024431848      1/30/2012        10:15:18
49902      7024432277      4/22/2012        15:40:57
49903      7024438519      10/11/2012       12:15:18
49904      7024453759      10/8/2011        12:20:13
49905      7024455007      4/22/2012        15:45:03
49906      7024458098      9/16/2011        15:10:54
49907      7024459535      10/5/2011        14:21:08
49908      7024480503      1/13/2012        17:19:06
49909      7024494925      1/10/2012        21:34:03
49910      7024496585      10/3/2012        19:51:04
49911      7024600804      5/28/2011        10:43:48
49912      7024601404      6/15/2011        11:28:39
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49913      7024601404      10/10/2011       12:03:29
49914      7024603787      7/13/2012        18:30:50
49915      7024611121      10/31/2011       10:04:02
49916      7024611121      11/21/2011       10:52:04
49917      7024613109      3/15/2012        19:00:06
49918      7024621544      11/22/2011       18:56:15
49919      7024621544      8/4/2012         10:16:55
49920      7024622022      7/20/2011        14:04:50
49921      7024652184      5/9/2012         8:03:04
49922      7024653609      9/8/2011         19:55:18
49923      7024654033      8/17/2011        19:19:57
49924      7024655451      5/5/2012         12:31:29
49925      7024666333      6/30/2012        11:08:05
49926      7024668392      4/11/2012        11:39:04
49927      7024669056      10/24/2011       14:19:54
49928      7024669059      9/23/2011        11:49:26
49929      7024671451      7/16/2012        19:49:14
49930      7024674698      7/23/2012        15:37:18
49931      7024678863      10/7/2011        10:32:33
49932      7024695468      12/2/2011        14:19:08
49933      7024699533      7/2/2011         13:47:35
49934      7024699794      1/10/2012        15:39:11
49935      7024721829      12/6/2011        13:45:01
49936      7024724457      10/1/2012        13:39:42
49937      7024726368      2/21/2012        20:51:56
49938      7024751273      10/8/2011        12:31:19
49939      7024775386      2/11/2012        15:13:35
49940      7024780137      1/5/2012         21:17:31
49941      7024799718      7/9/2012         19:03:45
49942      7024803104      11/12/2011       11:06:59
49943      7024808762      9/9/2011         18:32:15
49944      7024816166      11/3/2011        18:04:13
49945      7024816417      12/23/2011       15:16:21
49946      7024817344      2/24/2011        12:03:35
49947      7024817554      10/4/2011        14:01:37
49948      7024818667      8/31/2012        16:41:20
49949      7024818727      10/13/2011       10:37:43
49950      7024826325      10/13/2012       11:45:33
49951      7024850052      2/17/2012        18:39:55
49952      7024850665      10/10/2011       13:03:09
49953      7024859871      4/13/2012        13:49:20
49954      7024871619      10/9/2012        20:05:40
49955      7024872529      5/4/2012         15:30:01
49956      7024881392      3/28/2012        12:38:57
49957      7024886495      9/14/2011        12:39:44
49958      7024888967      5/7/2012         21:43:19
49959      7024891213      4/4/2012         14:03:38
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49960      7024901710      8/20/2012        10:13:51
49961      7024901829      10/11/2011       17:40:12
49962      7024916950      4/9/2012         13:53:06
49963      7024932404      10/20/2011       16:37:19
49964      7024939880      9/29/2011        16:02:59
49965      7024960940      3/8/2012         20:29:56
49966      7024969800      4/3/2012         20:10:27
49967      7024981457      11/15/2011       20:19:16
49968      7024987168      3/19/2012        19:25:56
49969      7024990088      3/28/2012        12:37:41
49970      7024996604      6/7/2011         18:03:38
49971      7024998236      4/29/2012        17:57:57
49972      7025011858      10/3/2011        8:22:45
49973      7025014453      9/15/2011        8:41:23
49974      7025016977      3/23/2012        19:56:09
49975      7025016977      4/23/2012        20:37:33
49976      7025019335      10/26/2011       13:21:10
49977      7025020453      7/31/2012        21:07:46
49978      7025021040      4/16/2012        15:52:55
49979      7025021962      7/11/2012        17:26:39
49980      7025024595      12/24/2011       11:36:45
49981      7025024777      9/10/2011        12:46:43
49982      7025026212      10/20/2011       16:39:53
49983      7025026836      12/24/2011       11:36:17
49984      7025027099      12/5/2011        18:57:15
49985      7025028202      10/10/2011       12:08:24
49986      7025028388      3/20/2012        20:05:20
49987      7025028914      8/10/2011        18:14:38
49988      7025029025      12/18/2011       17:32:02
49989      7025029025      1/23/2012        10:18:24
49990      7025029025      3/7/2012         19:03:01
49991      7025036267      7/14/2012        10:07:06
49992      7025045974      6/11/2012        10:04:00
49993      7025051103      1/12/2012        10:16:31
49994      7025051231      3/21/2012        18:38:47
49995      7025056328      12/28/2011       20:51:44
49996      7025067037      5/25/2012        17:13:27
49997      7025100954      9/26/2012        15:28:35
49998      7025101726      9/18/2012        21:30:25
49999      7025101953      9/28/2012        14:16:05
50000      7025102008      10/16/2012       20:30:49
50001      7025103397      12/20/2011       20:57:34
50002      7025107598      10/9/2012        11:41:26
50003      7025131138      6/11/2012        10:04:05
50004      7025132358      6/30/2012        11:05:32
50005      7025146184      9/16/2011        13:40:58
50006      7025170489      11/5/2011        10:32:55
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50007      7025171155      9/22/2013        12:44:43
50008      7025171709      3/9/2012         15:49:04
50009      7025171878      1/18/2012        16:44:41
50010      7025172451      11/28/2011       11:32:17
50011      7025172514      10/24/2011       14:53:42
50012      7025174237      10/19/2012       19:12:31
50013      7025174698      11/4/2011        10:22:07
50014      7025178034      12/15/2011       21:43:49
50015      7025210132      11/15/2011       16:41:27
50016      7025210839      3/20/2012        20:03:19
50017      7025212210      3/6/2012         20:31:51
50018      7025214397      4/24/2012        18:17:33
50019      7025215571      1/8/2012         13:16:44
50020      7025232634      4/16/2011        15:42:58
50021      7025233422      4/21/2012        16:53:05
50022      7025240209      6/22/2012        10:38:47
50023      7025246117      6/21/2011        14:13:52
50024      7025247320      4/11/2012        20:50:00
50025      7025254304      10/20/2011       15:40:34
50026      7025257578      9/19/2012        21:28:27
50027      7025257704      3/5/2012         11:02:22
50028      7025259817      11/19/2011       10:41:01
50029      7025259994      2/9/2012         14:30:46
50030      7025262552      10/7/2011        10:30:12
50031      7025263398      11/28/2011       18:16:39
50032      7025266522      1/27/2012        21:56:43
50033      7025281047      5/17/2012        16:43:43
50034      7025288108      12/1/2011        15:07:26
50035      7025289260      7/9/2012         10:56:26
50036      7025334914      8/10/2011        19:53:27
50037      7025338046      10/13/2011       10:40:46
50038      7025385415      9/8/2011         19:37:49
50039      7025396771      7/2/2012         15:29:32
50040      7025403936      8/13/2012        11:02:22
50041      7025404481      9/26/2012        13:06:28
50042      7025405050      5/21/2012        8:54:34
50043      7025408100      6/9/2012         15:00:10
50044      7025409954      9/12/2011        13:33:21
50045      7025411229      7/19/2012        17:40:00
50046      7025411879      4/12/2012        18:00:47
50047      7025421892      12/22/2011       8:47:46
50048      7025422242      12/8/2011        19:40:40
50049      7025422759      10/23/2012       16:03:39
50050      7025423726      10/10/2012       12:41:27
50051      7025424685      12/18/2011       17:52:51
50052      7025426262      11/23/2011       10:48:48
50053      7025427065      6/13/2012        10:25:49
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50054      7025427146      11/18/2011       13:36:43
50055      7025427223      2/6/2012         10:04:38
50056      7025427999      7/18/2011        10:15:33
50057      7025428364      6/21/2012        10:19:31
50058      7025428654      3/19/2012        12:03:50
50059      7025428654      3/26/2012        18:48:56
50060      7025428899      7/2/2011         13:52:38
50061      7025440011      10/14/2011       13:29:33
50062      7025444005      4/9/2012         17:57:06
50063      7025444967      5/9/2012         16:06:25
50064      7025447317      8/30/2012        10:50:20
50065      7025536492      3/13/2012        18:59:08
50066      7025536492      3/19/2012        19:28:09
50067      7025538732      2/21/2012        21:24:37
50068      7025563122      12/7/2011        14:22:16
50069      7025567052      11/19/2011       10:40:02
50070      7025571109      12/21/2011       19:19:51
50071      7025574639      8/15/2011        10:20:12
50072      7025575789      6/21/2012        18:57:37
50073      7025610381      5/19/2012        10:59:33
50074      7025614561      5/17/2012        12:14:13
50075      7025618899      1/25/2012        9:37:21
50076      7025619946      3/12/2012        19:31:51
50077      7025639081      2/24/2012        21:49:51
50078      7025694399      11/15/2011       16:45:34
50079      7025696066      7/3/2012         16:00:58
50080      7025696165      1/13/2012        17:29:37
50081      7025730745      7/18/2011        11:21:30
50082      7025731682      3/19/2012        11:51:04
50083      7025733285      1/3/2012         16:34:20
50084      7025736979      9/29/2011        15:26:44
50085      7025736979      11/5/2011        11:50:57
50086      7025738322      2/7/2012         20:21:45
50087      7025740299      12/20/2011       19:28:06
50088      7025743540      12/5/2011        10:12:40
50089      7025750212      9/26/2012        13:03:22
50090      7025750450      3/3/2012         10:41:35
50091      7025752989      12/1/2011        10:27:58
50092      7025754355      11/26/2011       13:49:03
50093      7025759304      12/6/2011        14:18:54
50094      7025761237      5/10/2012        21:20:24
50095      7025761237      6/12/2012        17:15:29
50096      7025762828      8/10/2012        10:25:48
50097      7025763143      10/10/2011       12:04:43
50098      7025763143      10/18/2011       12:37:37
50099      7025763943      1/11/2012        11:03:27
50100      7025777519      10/6/2011        17:02:09
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                                   #:12918

50101      7025795647      11/3/2011        18:06:32
50102      7025800475      10/3/2011        10:44:22
50103      7025802625      2/9/2012         14:31:29
50104      7025806517      2/17/2012        18:24:14
50105      7025812459      9/27/2012        16:18:40
50106      7025817236      10/5/2011        14:23:39
50107      7025830016      1/13/2012        12:27:37
50108      7025832836      10/15/2011       11:11:57
50109      7025838174      7/17/2012        21:56:13
50110      7025872871      1/20/2012        11:35:03
50111      7025872871      1/27/2012        18:06:22
50112      7025872943      12/21/2011       10:26:49
50113      7025874475      7/13/2011        12:03:15
50114      7025877900      2/11/2012        11:25:07
50115      7025880004      8/3/2012         16:33:39
50116      7025882933      6/12/2012        17:07:51
50117      7025888900      8/7/2012         20:14:52
50118      7025891467      10/5/2011        14:49:40
50119      7025891467      10/13/2011       10:36:48
50120      7025891939      3/16/2012        10:10:03
50121      7025911863      6/19/2012        15:23:51
50122      7025917977      4/1/2012         17:40:15
50123      7025918275      2/29/2012        17:38:56
50124      7025954373      11/8/2011        14:39:22
50125      7025962650      1/3/2012         19:53:00
50126      7026010713      10/11/2012       12:15:15
50127      7026041752      9/27/2012        13:30:02
50128      7026045161      1/11/2012        11:03:06
50129      7026060772      5/8/2012         15:50:22
50130      7026061284      10/9/2012        20:02:48
50131      7026064675      9/17/2011        10:11:07
50132      7026068086      12/7/2011        18:12:42
50133      7026090666      3/19/2012        11:50:26
50134      7026090666      5/21/2012        18:00:58
50135      7026090666      8/13/2012        11:03:22
50136      7026092325      1/17/2012        20:54:22
50137      7026093487      9/6/2011         12:25:08
50138      7026094298      11/4/2011        15:31:34
50139      7026096790      9/10/2011        12:40:46
50140      7026096856      12/21/2011       10:22:12
50141      7026100105      4/18/2012        18:01:39
50142      7026104576      1/5/2012         14:00:34
50143      7026108342      11/12/2011       11:04:17
50144      7026124016      9/11/2012        21:24:09
50145      7026124021      10/3/2012        19:57:44
50146      7026125884      8/25/2011        17:17:34
50147      7026126527      9/26/2011        13:28:12
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50148      7026126527      10/4/2011        13:28:11
50149      7026128671      12/9/2011        21:51:37
50150      7026129038      9/3/2012         14:59:54
50151      7026193114      4/29/2012        18:00:51
50152      7026220483      4/3/2012         20:17:33
50153      7026222403      12/18/2011       16:50:25
50154      7026228608      2/29/2012        17:38:04
50155      7026241280      12/8/2011        21:10:39
50156      7026242353      4/2/2012         17:36:19
50157      7026243876      6/14/2012        21:30:55
50158      7026245141      10/24/2011       14:53:25
50159      7026245141      4/24/2012        12:45:53
50160      7026245189      9/20/2011        17:00:02
50161      7026249747      4/4/2012         14:03:33
50162      7026249747      9/3/2012         14:58:39
50163      7026280621      7/27/2011        17:03:57
50164      7026282492      4/12/2012        18:01:13
50165      7026284969      5/30/2012        16:59:35
50166      7026284969      10/22/2012       18:02:14
50167      7026301932      12/5/2011        18:41:26
50168      7026303422      3/29/2012        11:43:31
50169      7026305635      4/7/2012         12:21:01
50170      7026351860      9/28/2011        10:39:00
50171      7026352554      9/20/2011        20:49:12
50172      7026356828      5/10/2012        21:30:23
50173      7026356858      3/14/2011        17:32:23
50174      7026380564      8/23/2012        12:01:08
50175      7026397129      1/3/2012         19:45:52
50176      7026425310      6/20/2012        11:02:15
50177      7026445095      9/15/2011        10:45:52
50178      7026661072      5/22/2012        18:31:39
50179      7026664710      9/14/2011        21:25:07
50180      7026667201      9/27/2011        18:52:48
50181      7026667640      10/4/2011        13:29:30
50182      7026720513      11/15/2011       16:43:20
50183      7026722703      11/16/2011       20:03:14
50184      7026724489      4/4/2012         14:03:28
50185      7026730599      4/4/2012         18:41:16
50186      7026771609      10/27/2011       16:10:37
50187      7026837585      4/11/2012        19:28:38
50188      7026837710      12/5/2011        18:18:51
50189      7026842733      10/26/2011       12:29:24
50190      7026865542      2/15/2012        21:03:36
50191      7026865921      12/16/2011       15:55:14
50192      7026869774      1/23/2012        19:21:55
50193      7026880301      2/15/2012        21:03:50
50194      7026883556      11/12/2013       13:03:14
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50195      7026890409      11/9/2011        10:31:11
50196      7026890602      5/18/2012        16:06:09
50197      7026891393      12/18/2011       17:52:56
50198      7026891414      4/12/2012        18:00:42
50199      7026891690      5/16/2012        11:58:21
50200      7026891755      7/16/2012        19:54:50
50201      7026891834      7/14/2011        8:24:29
50202      7026892502      6/30/2011        10:42:31
50203      7026892939      11/30/2011       12:53:58
50204      7026895183      3/26/2012        18:52:42
50205      7026895683      6/26/2012        16:21:48
50206      7026896406      1/27/2012        18:08:07
50207      7026896504      5/26/2012        15:16:07
50208      7026896506      8/25/2012        11:22:08
50209      7026898475      11/16/2011       20:08:38
50210      7026898530      4/3/2012         16:16:01
50211      7027126928      6/9/2012         15:10:21
50212      7027159459      10/12/2011       11:55:23
50213      7027160204      2/24/2012        21:45:52
50214      7027160848      1/12/2012        10:11:48
50215      7027224050      7/27/2012        15:27:17
50216      7027224640      8/13/2012        11:02:59
50217      7027277795      9/24/2012        12:56:38
50218      7027279040      11/5/2011        9:57:57
50219      7027383180      6/9/2012         14:49:05
50220      7027388681      10/6/2011        16:39:01
50221      7027411138      12/6/2011        13:23:40
50222      7027411426      5/24/2011        16:22:56
50223      7027415814      8/9/2012         14:14:45
50224      7027415840      8/18/2011        10:41:58
50225      7027416264      6/7/2012         21:22:20
50226      7027419198      5/16/2012        16:58:41
50227      7027421001      9/21/2012        16:12:21
50228      7027421605      2/6/2012         17:24:27
50229      7027425121      10/17/2011       10:39:47
50230      7027426404      4/12/2012        18:31:27
50231      7027433187      2/20/2012        14:02:47
50232      7027433187      10/18/2012       16:44:17
50233      7027485793      8/11/2013        13:45:16
50234      7027505454      2/13/2012        11:34:43
50235      7027505454      7/6/2012         16:55:36
50236      7027506414      10/1/2011        10:08:31
50237      7027508142      8/12/2012        13:46:47
50238      7027525250      11/14/2011       17:46:58
50239      7027525589      12/2/2011        14:36:43
50240      7027525624      7/7/2012         10:10:06
50241      7027527787      3/9/2012         15:44:52
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1071 of 1863 Page ID
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50242      7027527787      3/22/2012        14:36:52
50243      7027552009      11/14/2011       15:30:00
50244      7027562782      10/13/2012       11:42:17
50245      7027593768      8/7/2012         17:58:46
50246      7027593768      8/15/2012        21:43:37
50247      7027596134      2/4/2012         13:14:05
50248      7027596474      10/3/2012        10:23:40
50249      7027599141      11/21/2011       10:39:16
50250      7027623401      9/28/2011        11:29:21
50251      7027626263      12/23/2011       16:13:27
50252      7027626286      9/26/2011        13:32:42
50253      7027626286      10/27/2011       16:15:20
50254      7027641405      10/10/2011       13:03:43
50255      7027641479      12/19/2011       11:22:05
50256      7027644265      3/2/2012         18:52:30
50257      7027646180      4/13/2012        13:45:54
50258      7027646417      1/6/2012         14:55:07
50259      7027670505      12/12/2011       12:34:15
50260      7027678169      5/23/2012        15:24:16
50261      7027713806      6/22/2012        21:01:45
50262      7027713819      3/8/2012         20:36:18
50263      7027713955      4/16/2012        10:13:51
50264      7027715668      9/26/2012        13:04:06
50265      7027720754      2/24/2011        14:37:33
50266      7027722757      10/15/2012       16:16:32
50267      7027724257      4/1/2012         17:49:18
50268      7027725313      10/6/2011        17:07:29
50269      7027726982      11/11/2011       13:30:06
50270      7027726982      5/2/2012         13:54:20
50271      7027727462      2/28/2012        13:41:56
50272      7027727849      7/28/2011        10:10:54
50273      7027728797      5/2/2011         18:23:09
50274      7027732624      10/6/2011        17:00:00
50275      7027732870      10/20/2011       15:15:50
50276      7027737043      8/29/2011        18:25:33
50277      7027739822      1/12/2012        10:07:59
50278      7027760972      11/14/2011       14:55:13
50279      7027820518      9/8/2011         19:12:50
50280      7027821564      4/17/2012        11:28:21
50281      7027821588      7/26/2012        19:27:08
50282      7027822123      8/20/2012        18:47:50
50283      7027826703      1/27/2012        12:04:07
50284      7027826721      5/12/2011        10:36:17
50285      7027827354      9/14/2011        12:40:06
50286      7027828588      7/17/2012        21:55:11
50287      7027829071      11/28/2011       12:30:21
50288      7027852325      8/18/2012        10:51:20
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50289      7027852332      2/4/2012         13:14:42
50290      7027853720      2/4/2012         13:13:56
50291      7027872054      2/17/2012        18:38:17
50292      7027872576      7/3/2012         12:27:10
50293      7027872576      10/5/2012        18:35:41
50294      7027880559      1/14/2012        13:31:43
50295      7027882205      10/13/2013       18:02:32
50296      7027882213      11/17/2011       14:57:26
50297      7027883363      2/15/2012        11:20:02
50298      7027884759      10/15/2011       11:09:13
50299      7027884759      11/19/2011       10:41:36
50300      7027885173      4/9/2011         14:08:33
50301      7027885703      1/17/2012        13:31:24
50302      7027885703      2/2/2012         21:00:32
50303      7027888844      9/14/2011        10:32:45
50304      7027898451      4/13/2012        20:47:43
50305      7027898451      7/13/2012        12:18:27
50306      7027899572      11/17/2011       14:53:42
50307      7027899746      9/20/2011        20:38:38
50308      7027970513      2/17/2012        18:14:18
50309      7027970846      1/17/2012        13:31:04
50310      7028040951      10/3/2011        10:35:39
50311      7028060435      8/17/2012        10:07:38
50312      7028064536      9/30/2011        10:25:23
50313      7028067548      6/4/2012         21:10:59
50314      7028067799      12/7/2011        16:25:14
50315      7028069399      7/20/2012        15:00:21
50316      7028076042      12/5/2011        18:52:47
50317      7028077187      10/13/2011       10:31:24
50318      7028077929      4/28/2012        10:20:55
50319      7028077929      8/6/2012         14:03:05
50320      7028085573      10/20/2011       15:21:44
50321      7028085573      11/17/2011       16:41:10
50322      7028086076      5/14/2012        10:16:00
50323      7028086777      7/13/2012        14:01:19
50324      7028093288      12/10/2011       14:02:27
50325      7028093862      9/21/2011        11:39:30
50326      7028094805      2/6/2012         17:05:30
50327      7028097006      4/5/2012         14:02:56
50328      7028101052      3/15/2012        14:03:32
50329      7028101509      10/10/2011       13:04:52
50330      7028126962      3/5/2012         7:54:51
50331      7028132331      6/7/2012         12:48:40
50332      7028132406      5/14/2012        10:11:54
50333      7028133485      1/5/2012         17:24:25
50334      7028136459      4/16/2012        15:52:49
50335      7028137904      3/16/2012        10:09:07
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50336      7028138529      3/8/2012         20:26:00
50337      7028139946      7/31/2012        15:45:20
50338      7028180068      12/21/2011       10:33:51
50339      7028238688      10/11/2011       16:42:45
50340      7028239064      3/16/2012        16:05:41
50341      7028239345      6/16/2012        15:35:57
50342      7028239946      6/8/2012         10:14:44
50343      7028243253      2/15/2012        21:02:45
50344      7028243411      7/12/2012        20:02:14
50345      7028244130      6/20/2012        16:54:51
50346      7028244949      12/14/2011       18:04:33
50347      7028245085      10/21/2011       12:55:35
50348      7028246107      9/8/2011         18:21:03
50349      7028247900      9/21/2012        15:57:53
50350      7028248611      7/23/2012        11:54:05
50351      7028459985      9/22/2012        12:21:09
50352      7028581176      10/13/2011       10:30:47
50353      7028587262      5/14/2011        12:22:56
50354      7028600664      1/17/2012        18:36:42
50355      7028600664      1/25/2012        20:33:02
50356      7028606329      9/1/2011         15:37:12
50357      7028607072      1/4/2012         11:29:17
50358      7028607611      7/28/2012        11:12:50
50359      7028608965      10/14/2011       13:34:01
50360      7028609112      9/30/2011        10:08:22
50361      7028753425      9/10/2011        12:40:05
50362      7028826240      9/26/2011        13:20:44
50363      7028826240      2/2/2012         16:44:25
50364      7028828172      10/1/2012        13:55:53
50365      7028830527      2/7/2012         16:37:22
50366      7028830900      5/7/2012         9:13:15
50367      7028830900      5/21/2012        9:02:06
50368      7028831963      9/13/2011        18:34:58
50369      7028833576      1/25/2012        9:24:49
50370      7028835464      3/18/2011        11:49:25
50371      7028835889      9/27/2011        18:56:38
50372      7028836058      9/6/2012         21:14:33
50373      7028838511      6/5/2012         17:59:55
50374      7028841886      12/20/2011       19:41:15
50375      7028842135      9/12/2011        14:27:51
50376      7028844867      5/9/2012         16:10:00
50377      7028845633      2/3/2012         14:39:10
50378      7028845814      9/19/2012        21:28:55
50379      7028856055      5/14/2011        12:16:13
50380      7028857974      4/5/2012         14:01:47
50381      7028859169      5/7/2012         21:40:12
50382      7029171058      3/25/2012        12:14:09
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                                   #:12924

50383      7029173399      10/6/2012        11:00:28
50384      7029275361      9/26/2011        13:27:09
50385      7029276108      12/18/2011       16:18:47
50386      7029276643      11/17/2011       16:34:02
50387      7029278283      7/30/2012        13:22:23
50388      7029279058      6/27/2012        18:05:48
50389      7029852273      11/30/2011       13:06:15
50390      7029947951      6/5/2012         18:01:25
50391      7029948995      1/21/2012        11:11:42
50392      7032008125      12/21/2011       10:12:55
50393      7032008998      10/27/2011       16:36:37
50394      7032019855      4/24/2012        18:09:15
50395      7032030367      9/28/2012        17:02:15
50396      7032034036      6/11/2012        17:56:44
50397      7032091333      9/28/2011        10:50:46
50398      7032163460      12/20/2011       12:11:23
50399      7032173926      2/24/2012        17:16:09
50400      7032269068      10/22/2011       12:58:35
50401      7032442930      10/5/2011        14:09:52
50402      7032443948      4/18/2012        7:03:40
50403      7032823311      1/12/2012        14:14:10
50404      7032823641      10/25/2012       19:35:28
50405      7032826798      6/19/2012        15:42:03
50406      7032964174      2/20/2012        17:03:43
50407      7032972357      4/29/2012        17:00:40
50408      7032975184      3/28/2012        18:30:00
50409      7033004313      10/12/2011       7:18:39
50410      7033004735      3/21/2012        13:40:15
50411      7033007240      8/25/2012        8:32:32
50412      7033007325      8/18/2011        8:24:48
50413      7033108196      6/1/2012         9:00:12
50414      7033142620      11/30/2011       7:11:52
50415      7033147907      12/14/2011       17:59:52
50416      7033273615      11/30/2011       7:12:10
50417      7033362106      10/14/2011       19:15:26
50418      7033382702      10/10/2011       11:37:31
50419      7033388110      9/28/2012        7:43:19
50420      7033388110      10/5/2012        12:13:32
50421      7033419001      10/23/2012       10:55:36
50422      7033445425      6/9/2012         14:43:38
50423      7033448975      4/5/2012         14:34:17
50424      7033472351      1/9/2012         7:24:04
50425      7033507604      10/10/2012       12:53:57
50426      7033574143      7/26/2012        19:26:55
50427      7033575630      10/6/2011        16:32:32
50428      7033575957      9/23/2011        7:10:49
50429      7033575957      10/5/2011        14:04:36
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                                   #:12925

50430      7033705683      6/1/2012         9:05:41
50431      7033712070      3/25/2011        9:10:28
50432      7033712775      3/15/2012        19:06:00
50433      7033809718      10/31/2011       7:19:34
50434      7033894844      7/11/2011        7:08:23
50435      7033952146      12/31/2011       11:46:20
50436      7033985362      12/23/2011       15:29:18
50437      7033987773      8/22/2012        11:09:51
50438      7033988418      12/31/2011       12:02:55
50439      7033991377      1/9/2012         18:36:05
50440      7034001446      2/7/2012         17:04:24
50441      7034008425      4/22/2012        15:09:08
50442      7034011245      11/25/2011       17:56:50
50443      7034033762      5/24/2012        7:08:16
50444      7034033866      11/17/2011       16:38:49
50445      7034052212      8/16/2012        7:45:56
50446      7034080883      11/4/2011        7:24:06
50447      7034080909      9/30/2011        9:50:41
50448      7034088220      3/30/2012        16:16:41
50449      7034091547      10/6/2011        16:24:34
50450      7034099554      4/23/2012        7:08:29
50451      7034190777      4/4/2012         18:47:15
50452      7034312551      8/22/2012        11:12:39
50453      7034318475      3/21/2011        11:23:11
50454      7034445117      8/24/2012        7:35:35
50455      7034474879      9/8/2011         18:41:55
50456      7034700847      3/13/2012        7:07:57
50457      7034700847      4/30/2012        14:41:27
50458      7034700847      6/15/2012        16:40:09
50459      7034703808      9/20/2011        16:32:44
50460      7034703808      5/21/2012        7:21:39
50461      7034706250      10/20/2012       16:25:29
50462      7034741816      12/15/2011       7:53:02
50463      7034742223      8/9/2013         11:53:15
50464      7034770684      6/20/2012        7:55:03
50465      7034912587      9/22/2011        15:42:03
50466      7034985575      4/2/2012         7:56:48
50467      7034992424      7/18/2012        18:36:32
50468      7034992424      8/29/2012        11:19:13
50469      7035013173      12/12/2011       16:32:38
50470      7035015566      6/26/2012        8:40:36
50471      7035016028      9/23/2011        18:59:34
50472      7035052067      12/4/2011        11:39:49
50473      7035086253      11/30/2011       15:19:47
50474      7035094324      10/15/2011       10:18:59
50475      7035173782      8/31/2012        16:25:51
50476      7035319585      12/2/2011        21:08:04
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                                   #:12926

50477      7035542117      12/29/2011       9:59:33
50478      7035654324      10/26/2011       12:58:40
50479      7035656851      9/23/2011        18:43:20
50480      7035680841      6/6/2012         7:16:38
50481      7035685639      3/24/2012        10:24:57
50482      7035686022      2/17/2012        18:08:39
50483      7035686593      4/25/2012        18:36:43
50484      7035770814      10/24/2011       8:15:44
50485      7035774060      7/26/2012        19:12:53
50486      7035810039      10/12/2011       11:35:38
50487      7035820160      2/28/2012        15:56:38
50488      7035822878      4/5/2012         7:13:25
50489      7035822878      4/10/2012        15:58:36
50490      7035827055      10/15/2011       10:23:53
50491      7035827055      3/16/2012        16:00:17
50492      7035827583      3/7/2012         18:36:56
50493      7035829008      11/17/2011       14:10:04
50494      7035852365      9/28/2012        16:56:46
50495      7035858109      9/22/2011        15:08:28
50496      7035860120      1/10/2012        15:17:46
50497      7035862574      7/12/2012        19:52:23
50498      7035867611      3/19/2012        19:01:41
50499      7035867616      1/13/2012        17:15:27
50500      7035867879      10/3/2011        7:41:54
50501      7035870565      12/20/2011       17:19:27
50502      7035874346      10/18/2012       16:41:06
50503      7035890520      4/12/2012        12:14:24
50504      7035890609      7/14/2011        15:35:50
50505      7035895649      1/13/2012        17:32:37
50506      7035931445      8/10/2012        7:31:12
50507      7035939557      3/28/2012        18:16:25
50508      7035951504      5/5/2012         8:01:16
50509      7035973784      4/13/2012        13:33:53
50510      7035973784      4/18/2012        7:01:55
50511      7035982703      12/1/2011        15:24:56
50512      7035983517      4/3/2012         16:05:53
50513      7035984824      1/11/2012        16:28:57
50514      7035990964      8/13/2011        11:20:03
50515      7035992822      2/7/2012         16:54:28
50516      7035999789      9/26/2011        8:19:37
50517      7036221318      5/3/2012         7:25:59
50518      7036224347      9/21/2011        19:33:45
50519      7036224775      4/18/2012        8:10:07
50520      7036224775      9/21/2012        18:55:19
50521      7036237154      9/22/2012        8:45:51
50522      7036255580      9/8/2011         19:27:27
50523      7036259635      1/6/2012         14:38:55
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50524      7036262334      11/5/2011        9:53:14
50525      7036274334      3/23/2012        19:11:07
50526      7036276747      9/20/2012        21:00:32
50527      7036297493      10/1/2011        10:33:45
50528      7036297493      1/13/2012        7:31:54
50529      7036551227      2/22/2012        7:12:44
50530      7036553075      5/25/2012        8:15:54
50531      7036555899      5/4/2012         14:47:28
50532      7036558992      9/9/2011         7:44:23
50533      7036559540      8/6/2012         14:51:34
50534      7036560771      9/13/2011        18:34:23
50535      7036746573      6/28/2012        14:15:59
50536      7036755786      9/16/2011        14:22:43
50537      7036759453      9/21/2011        11:44:19
50538      7036770490      12/11/2011       12:21:19
50539      7036775127      9/17/2011        10:01:58
50540      7036828085      10/22/2011       12:19:35
50541      7037312004      10/1/2012        8:20:36
50542      7037639444      7/18/2012        7:03:51
50543      7037639883      7/20/2012        7:30:05
50544      7037639986      8/14/2012        11:48:50
50545      7037723502      6/9/2011         10:37:40
50546      7037727111      7/27/2012        15:39:37
50547      7037727111      9/7/2012         11:52:08
50548      7037746970      12/16/2011       16:04:33
50549      7037746970      4/23/2012        7:13:28
50550      7037746970      5/31/2012        15:06:29
50551      7037851178      1/5/2012         14:00:23
50552      7037862229      4/9/2012         7:15:19
50553      7037864407      12/2/2011        8:37:13
50554      7037865861      7/19/2012        7:57:07
50555      7037866703      1/18/2012        10:31:05
50556      7037897603      9/9/2011         7:28:25
50557      7037982454      9/28/2012        16:52:54
50558      7037988392      1/19/2012        18:33:34
50559      7037988599      1/11/2012        7:43:27
50560      7038011906      4/28/2012        8:09:45
50561      7038350378      1/7/2012         9:14:12
50562      7038390067      5/16/2012        16:58:09
50563      7038390940      10/9/2012        12:29:26
50564      7038434512      3/26/2011        10:43:53
50565      7038500291      3/28/2012        16:46:08
50566      7038500752      1/31/2012        7:15:24
50567      7038503116      2/13/2012        18:39:28
50568      7038535661      1/6/2012         14:46:36
50569      7038551597      4/25/2011        10:53:39
50570      7038555855      1/5/2012         11:58:27
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1078 of 1863 Page ID
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50571      7038610350      3/14/2012        14:30:20
50572      7038611661      1/18/2012        16:38:33
50573      7038611661      5/1/2012         17:24:42
50574      7038627518      5/8/2012         7:06:42
50575      7038627611      1/3/2012         11:00:30
50576      7038631314      9/24/2012        14:35:19
50577      7038640444      11/17/2011       16:29:20
50578      7038640613      3/12/2012        19:18:02
50579      7038645044      11/23/2011       9:30:44
50580      7038646342      12/28/2011       7:01:18
50581      7038671396      11/23/2011       10:18:45
50582      7038673875      5/21/2012        8:39:54
50583      7038676541      11/23/2011       10:21:31
50584      7038680717      3/7/2012         18:41:13
50585      7038681294      2/24/2011        14:01:20
50586      7038682421      9/18/2012        14:15:00
50587      7038683026      2/11/2012        15:25:53
50588      7038684421      7/11/2011        12:34:57
50589      7038685474      5/20/2011        17:53:12
50590      7038690648      7/5/2012         7:46:56
50591      7038693330      5/1/2012         17:59:57
50592      7038699959      12/28/2011       8:49:39
50593      7038890772      7/25/2012        12:03:56
50594      7038948123      5/22/2012        18:44:26
50595      7038951506      6/9/2012         10:51:34
50596      7038951506      9/1/2012         9:21:53
50597      7038951656      5/15/2012        19:15:07
50598      7038953340      9/29/2011        15:29:36
50599      7038953972      12/9/2011        7:55:00
50600      7038955592      3/28/2012        18:20:06
50601      7038959234      8/2/2011         18:40:09
50602      7038966872      1/24/2012        17:09:56
50603      7038982710      9/17/2012        7:38:33
50604      7038984737      6/23/2012        8:30:51
50605      7038990681      2/13/2012        18:37:22
50606      7038996436      8/16/2011        17:29:08
50607      7038998186      7/15/2012        10:39:17
50608      7039010792      10/2/2012        12:49:00
50609      7039011031      10/17/2012       18:33:17
50610      7039191010      1/3/2012         11:16:41
50611      7039198854      12/12/2011       12:11:33
50612      7039261889      1/11/2012        16:25:45
50613      7039261937      5/1/2012         14:06:14
50614      7039262359      10/10/2012       19:19:53
50615      7039286392      6/30/2012        8:07:05
50616      7039287687      2/28/2012        16:02:42
50617      7039304325      4/9/2012         7:09:34
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50618      7039304325      5/21/2012        7:05:51
50619      7039322584      10/14/2011       12:44:17
50620      7039394325      9/16/2011        12:54:41
50621      7039394325      9/22/2011        15:02:20
50622      7039438899      4/14/2012        8:51:35
50623      7039441040      11/18/2011       13:37:03
50624      7039457282      9/8/2011         18:44:51
50625      7039534125      4/30/2012        15:05:38
50626      7039535949      3/7/2012         18:48:52
50627      7039636966      9/20/2011        19:26:53
50628      7039647482      5/21/2012        8:48:03
50629      7039670440      11/7/2011        7:32:08
50630      7039690133      10/14/2011       19:16:16
50631      7039755067      12/16/2011       15:37:03
50632      7039755067      6/9/2012         14:59:00
50633      7039758160      11/9/2011        7:50:07
50634      7039811181      2/11/2012        15:33:08
50635      7039866119      6/8/2012         7:30:38
50636      7039867081      12/6/2011        7:18:18
50637      7039867899      8/13/2011        9:35:40
50638      7039868346      10/5/2012        12:22:14
50639      7039868378      1/26/2012        7:26:02
50640      7039869063      11/28/2011       17:38:20
50641      7039869326      1/20/2012        11:26:29
50642      7039869489      9/19/2011        19:03:44
50643      7039875278      8/15/2012        7:56:44
50644      7039875724      10/5/2012        12:49:03
50645      7039893518      5/14/2012        15:26:54
50646      7039895235      12/9/2011        16:01:47
50647      7042003139      10/8/2011        10:54:46
50648      7042004226      12/26/2011       8:53:53
50649      7042005678      4/17/2012        9:25:24
50650      7042007473      9/21/2011        11:48:54
50651      7042011539      9/14/2012        7:08:02
50652      7042013930      10/19/2012       19:09:19
50653      7042016392      10/12/2011       7:49:06
50654      7042017598      3/6/2012         16:00:56
50655      7042020561      10/11/2011       16:06:24
50656      7042022684      9/24/2012        13:02:49
50657      7042022940      8/25/2011        16:37:29
50658      7042028809      5/10/2012        16:08:52
50659      7042060235      3/1/2012         8:47:12
50660      7042071860      9/25/2012        14:40:13
50661      7042073170      12/24/2011       7:02:08
50662      7042076093      11/21/2011       7:38:35
50663      7042080459      10/20/2011       16:03:33
50664      7042088834      9/21/2011        11:47:42
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50665      7042089433      2/16/2012        7:12:04
50666      7042104430      6/2/2012         13:17:49
50667      7042104502      1/19/2012        7:15:06
50668      7042109559      10/18/2011       12:51:04
50669      7042137472      12/13/2011       17:26:19
50670      7042140937      10/12/2011       7:52:44
50671      7042140937      10/24/2011       7:22:33
50672      7042140937      12/20/2011       19:19:10
50673      7042158171      7/13/2012        18:27:11
50674      7042158296      11/18/2011       13:31:05
50675      7042159351      7/21/2011        13:34:33
50676      7042184183      1/13/2012        12:36:44
50677      7042193209      12/7/2011        17:48:09
50678      7042208152      9/13/2011        15:44:11
50679      7042208973      12/22/2011       8:33:47
50680      7042212601      12/7/2011        13:39:36
50681      7042214505      10/8/2011        10:51:49
50682      7042218911      2/10/2012        17:01:15
50683      7042221795      8/16/2012        19:45:04
50684      7042221854      1/12/2012        7:09:59
50685      7042227835      11/22/2011       19:30:07
50686      7042228500      4/9/2012         18:10:07
50687      7042228904      10/3/2011        7:43:39
50688      7042229081      12/20/2011       7:14:03
50689      7042229081      1/6/2012         14:47:25
50690      7042242597      10/19/2012       9:44:54
50691      7042244049      1/3/2012         11:15:07
50692      7042244049      1/17/2012        18:42:11
50693      7042244690      10/15/2011       9:50:47
50694      7042244847      10/11/2011       16:08:12
50695      7042246731      12/27/2011       13:41:25
50696      7042246788      12/21/2011       10:09:42
50697      7042247955      4/16/2012        15:48:55
50698      7042248238      5/8/2012         9:26:24
50699      7042307198      10/29/2011       11:50:57
50700      7042309527      1/13/2012        17:38:26
50701      7042310641      11/28/2011       18:01:48
50702      7042311927      11/1/2011        8:32:47
50703      7042313953      3/7/2012         18:29:16
50704      7042315439      10/22/2011       12:30:11
50705      7042318040      4/11/2012        13:18:28
50706      7042319281      5/3/2012         7:26:49
50707      7042320285      11/19/2011       8:15:50
50708      7042321515      5/16/2012        16:46:46
50709      7042321779      8/30/2012        7:03:32
50710      7042324941      10/8/2011        10:47:15
50711      7042363122      12/16/2013       7:01:28
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50712      7042365924      1/18/2012        16:47:35
50713      7042367050      8/9/2012         13:59:48
50714      7042367840      9/10/2011        8:17:57
50715      7042368697      2/17/2012        9:10:17
50716      7042390382      1/27/2012        7:17:47
50717      7042391479      3/26/2012        18:25:26
50718      7042396651      10/10/2011       12:11:23
50719      7042399884      3/29/2012        12:09:47
50720      7042406453      6/23/2012        16:22:03
50721      7042412978      5/12/2012        8:43:42
50722      7042414100      11/26/2011       12:43:46
50723      7042419223      9/21/2011        11:26:23
50724      7042441749      5/8/2012         7:12:06
50725      7042441749      5/16/2012        16:52:46
50726      7042441768      6/19/2012        15:39:24
50727      7042441820      1/31/2012        7:09:09
50728      7042450119      11/8/2011        13:48:42
50729      7042451800      10/13/2011       7:09:52
50730      7042458342      11/7/2011        7:57:16
50731      7042458696      3/6/2012         15:49:15
50732      7042520077      2/15/2012        7:56:13
50733      7042520704      12/21/2011       10:44:28
50734      7042521278      12/16/2011       15:32:06
50735      7042521890      1/27/2012        17:33:17
50736      7042524480      1/23/2012        7:22:37
50737      7042524480      2/13/2012        18:26:37
50738      7042528347      1/4/2012         10:57:50
50739      7042528667      3/24/2012        10:22:50
50740      7042530028      1/27/2012        17:45:26
50741      7042530396      1/31/2012        7:07:34
50742      7042530779      11/18/2011       12:35:19
50743      7042530909      6/21/2012        10:00:14
50744      7042533893      8/18/2012        8:54:58
50745      7042535000      12/14/2011       18:06:16
50746      7042535157      10/18/2011       12:54:07
50747      7042541848      2/16/2012        7:05:22
50748      7042547868      6/30/2012        8:25:56
50749      7042614280      9/21/2011        19:29:22
50750      7042614520      9/23/2011        11:35:58
50751      7042644244      1/4/2012         11:20:19
50752      7042673130      8/30/2012        17:47:43
50753      7042673415      7/19/2011        17:17:56
50754      7042673917      3/29/2012        11:30:09
50755      7042674532      9/30/2011        9:54:33
50756      7042674866      9/20/2011        16:39:20
50757      7042674999      5/21/2012        8:39:48
50758      7042675288      6/18/2012        7:50:28
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50759      7042676697      7/19/2012        7:57:06
50760      7042677133      9/23/2011        18:55:50
50761      7042677764      11/8/2011        13:52:34
50762      7042682042      1/3/2012         19:40:06
50763      7042682676      11/3/2011        17:12:36
50764      7042684530      2/10/2012        17:02:43
50765      7042710493      3/7/2012         18:31:19
50766      7042710598      9/30/2011        10:13:45
50767      7042718377      2/13/2012        18:21:22
50768      7042718543      3/6/2012         15:55:54
50769      7042718543      3/29/2012        16:29:16
50770      7042734105      12/17/2011       12:00:15
50771      7042739120      3/22/2012        17:49:31
50772      7042774339      12/16/2011       15:26:48
50773      7042774339      5/21/2012        7:02:36
50774      7042775104      6/13/2012        19:59:59
50775      7042777156      10/12/2012       16:47:12
50776      7042801202      12/24/2011       7:05:52
50777      7042806598      3/13/2012        18:35:05
50778      7042810209      10/22/2012       17:54:44
50779      7042811045      7/13/2012        16:53:50
50780      7042812723      7/13/2011        11:24:56
50781      7042812723      10/17/2011       8:25:07
50782      7042814451      8/8/2012         16:10:01
50783      7042816178      10/6/2011        16:15:07
50784      7042816178      12/21/2011       18:39:38
50785      7042817772      9/6/2011         12:45:08
50786      7042818257      11/15/2011       16:01:30
50787      7042831295      4/11/2012        10:54:43
50788      7042842390      9/30/2011        10:13:53
50789      7042842501      9/10/2011        9:01:29
50790      7042870145      3/7/2012         7:09:41
50791      7042870583      1/10/2012        12:32:28
50792      7042871671      5/25/2012        17:08:47
50793      7042874250      5/26/2012        14:32:16
50794      7042876524      12/9/2011        8:00:00
50795      7042878286      2/28/2012        16:00:55
50796      7042879744      4/9/2012         7:08:43
50797      7042886125      7/3/2012         13:03:11
50798      7042910405      10/16/2012       16:33:14
50799      7042910405      10/22/2012       17:49:00
50800      7042924706      9/23/2011        18:40:54
50801      7042928103      7/5/2012         7:47:38
50802      7042929131      10/4/2011        13:15:54
50803      7042931819      10/6/2011        16:17:09
50804      7042934824      4/19/2012        7:22:54
50805      7042934824      5/21/2012        7:31:05
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50806      7042935686      9/19/2011        19:30:06
50807      7042937155      3/15/2012        7:06:44
50808      7042937571      12/22/2011       8:57:53
50809      7042937571      1/23/2012        18:57:37
50810      7042940056      10/26/2011       11:49:21
50811      7042943363      10/25/2012       19:32:58
50812      7042944868      3/20/2012        17:34:45
50813      7042975575      12/28/2011       13:09:05
50814      7042983696      5/21/2012        7:03:22
50815      7042988180      6/5/2012         17:48:19
50816      7042994342      5/16/2012        16:59:28
50817      7042994948      8/2/2012         18:49:51
50818      7042995017      10/10/2011       12:19:22
50819      7042996384      6/23/2012        8:31:36
50820      7043003967      9/14/2012        7:08:54
50821      7043003967      9/24/2012        19:02:25
50822      7043004570      3/28/2012        18:18:11
50823      7043008577      1/5/2012         17:22:01
50824      7043009038      3/19/2012        7:13:13
50825      7043009038      4/1/2012         16:27:06
50826      7043009038      6/15/2012        16:40:03
50827      7043013767      10/20/2012       16:27:21
50828      7043016691      5/17/2012        16:50:53
50829      7043018838      1/19/2012        7:07:31
50830      7043022020      11/26/2011       12:18:49
50831      7043024484      9/22/2011        15:56:37
50832      7043026048      7/2/2011         9:00:57
50833      7043030076      11/10/2011       7:21:58
50834      7043050516      4/23/2012        7:11:20
50835      7043051605      3/30/2012        16:03:32
50836      7043052404      8/9/2011         12:42:17
50837      7043057286      11/18/2011       12:53:39
50838      7043057286      4/12/2012        13:07:43
50839      7043075977      12/29/2011       10:56:32
50840      7043081667      10/3/2012        19:54:17
50841      7043081776      12/31/2011       11:42:07
50842      7043086053      2/21/2012        17:37:03
50843      7043090373      4/19/2012        15:03:43
50844      7043091102      4/20/2011        20:02:43
50845      7043154866      1/3/2012         11:00:40
50846      7043154866      1/17/2012        7:21:56
50847      7043200652      12/30/2011       7:08:33
50848      7043203964      11/22/2011       19:26:43
50849      7043206169      11/27/2011       15:26:42
50850      7043208678      12/15/2011       8:25:45
50851      7043220508      1/18/2012        16:38:24
50852      7043227613      1/31/2012        7:11:52
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50853      7043227613      2/15/2012        7:59:40
50854      7043230314      8/19/2012        11:50:59
50855      7043239411      2/13/2012        7:18:44
50856      7043455409      10/3/2012        7:03:31
50857      7043455608      10/3/2011        7:26:44
50858      7043457952      10/25/2012       12:21:20
50859      7043458506      10/17/2011       11:52:46
50860      7043491082      10/11/2011       15:49:50
50861      7043491427      9/13/2011        13:45:57
50862      7043491514      11/28/2011       17:32:48
50863      7043493440      6/28/2012        7:06:21
50864      7043498461      3/15/2012        18:55:21
50865      7043498691      5/4/2012         7:28:38
50866      7043511175      8/20/2012        7:46:34
50867      7043521488      3/28/2012        17:01:21
50868      7043610007      10/8/2011        11:06:57
50869      7043610008      10/28/2011       14:05:55
50870      7043614637      3/27/2012        14:51:39
50871      7043618753      10/6/2011        16:32:30
50872      7043631163      1/27/2012        17:45:22
50873      7043636037      1/10/2012        15:29:41
50874      7043638249      9/14/2011        11:14:54
50875      7043694691      8/20/2011        8:46:38
50876      7043694710      7/12/2012        7:08:36
50877      7043901573      5/13/2012        16:47:34
50878      7044001673      8/13/2011        9:38:16
50879      7044003382      10/26/2011       12:48:00
50880      7044009962      3/10/2012        8:40:15
50881      7044016456      1/3/2012         17:23:01
50882      7044017163      4/5/2012         7:12:27
50883      7044020873      10/5/2011        14:32:41
50884      7044023871      10/25/2011       15:03:19
50885      7044024420      9/4/2012         15:37:02
50886      7044025241      8/25/2012        8:34:20
50887      7044025564      10/19/2012       19:04:12
50888      7044026390      1/17/2012        18:32:34
50889      7044027882      1/11/2012        7:22:53
50890      7044029297      6/5/2012         19:53:18
50891      7044082340      9/23/2011        11:11:07
50892      7044085257      7/8/2012         13:31:06
50893      7044085765      3/26/2012        18:20:53
50894      7044087117      2/10/2012        7:20:01
50895      7044193676      1/18/2012        10:02:36
50896      7044199910      9/14/2011        16:26:01
50897      7044211604      4/10/2012        11:34:41
50898      7044214539      1/10/2012        18:13:35
50899      7044216208      9/23/2011        18:52:50
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50900      7044250481      12/17/2011       11:45:40
50901      7044252097      1/18/2012        10:01:38
50902      7044256543      11/17/2011       16:42:45
50903      7044257248      7/13/2012        11:34:00
50904      7044258388      7/7/2013         14:05:27
50905      7044260414      7/11/2012        9:33:29
50906      7044300256      1/29/2012        16:23:28
50907      7044302607      1/26/2012        7:22:02
50908      7044303906      2/9/2012         7:23:18
50909      7044305383      7/30/2012        13:24:32
50910      7044305780      7/21/2011        13:35:01
50911      7044306261      5/5/2011         13:12:54
50912      7044330799      10/10/2011       11:43:11
50913      7044330799      3/12/2012        19:06:05
50914      7044333345      12/23/2011       14:57:05
50915      7044334096      10/5/2011        14:48:02
50916      7044382740      10/19/2011       8:00:20
50917      7044383490      7/11/2012        17:20:49
50918      7044490277      12/6/2011        7:24:00
50919      7044490643      4/4/2012         7:28:59
50920      7044490775      10/14/2012       15:13:13
50921      7044490776      4/12/2012        18:11:21
50922      7044492354      12/29/2011       11:02:46
50923      7044493132      10/14/2011       12:43:53
50924      7044493132      10/27/2011       16:26:33
50925      7044493216      10/18/2011       16:30:29
50926      7044494866      9/22/2011        15:48:25
50927      7044494881      10/8/2011        9:07:13
50928      7044495406      2/11/2012        15:04:08
50929      7044496592      10/12/2011       11:50:56
50930      7044497158      7/11/2011        7:10:25
50931      7044497504      2/25/2012        10:34:54
50932      7044498828      1/25/2012        9:15:01
50933      7044498828      2/7/2012         7:08:28
50934      7044499103      10/11/2011       17:11:01
50935      7044499623      9/17/2011        9:54:28
50936      7044499853      1/29/2012        16:25:01
50937      7044500039      5/16/2012        16:59:39
50938      7044500039      6/11/2012        17:55:41
50939      7044500924      10/5/2011        14:04:52
50940      7044502504      1/11/2012        16:26:09
50941      7044513924      11/18/2011       13:30:52
50942      7044539378      5/16/2012        7:08:50
50943      7044562453      10/8/2011        10:59:19
50944      7044603139      3/11/2011        16:25:18
50945      7044605863      8/1/2012         8:30:24
50946      7044607193      1/28/2012        9:38:45
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50947      7044607623      12/20/2011       19:31:33
50948      7044608818      7/25/2012        12:04:36
50949      7044650926      3/14/2012        14:33:15
50950      7044655532      12/23/2011       13:44:58
50951      7044660177      2/15/2012        8:07:42
50952      7044663552      10/9/2012        7:29:33
50953      7044664347      2/6/2012         7:12:24
50954      7044668677      12/8/2011        19:37:07
50955      7044669872      7/9/2012         7:10:43
50956      7044676644      6/27/2012        17:51:48
50957      7044707640      8/24/2011        11:48:37
50958      7044707676      12/29/2011       14:14:41
50959      7044736063      9/8/2011         17:45:31
50960      7044738600      6/8/2011         18:29:59
50961      7044738600      9/3/2011         11:04:07
50962      7044750044      12/8/2011        12:08:53
50963      7044752489      9/13/2011        19:37:43
50964      7044755530      10/6/2011        16:03:18
50965      7044755601      7/13/2012        18:33:09
50966      7044771069      6/21/2011        13:45:06
50967      7044773268      11/16/2011       8:00:31
50968      7044773268      11/28/2011       11:18:43
50969      7044776349      12/18/2011       16:52:35
50970      7044777926      12/3/2011        9:56:28
50971      7044778094      5/28/2012        8:38:45
50972      7044778094      6/23/2012        16:22:38
50973      7044779361      12/15/2011       8:24:46
50974      7044886945      11/7/2011        9:12:08
50975      7044887090      1/8/2012         12:52:58
50976      7044888909      7/3/2012         7:07:52
50977      7044888909      10/19/2012       9:51:02
50978      7044901412      4/2/2012         7:09:41
50979      7044901607      7/21/2012        10:09:59
50980      7044901694      3/28/2012        18:09:22
50981      7044901828      1/27/2012        7:19:31
50982      7044902354      1/23/2012        19:06:11
50983      7044903624      9/8/2011         19:24:49
50984      7044903986      1/12/2012        7:01:46
50985      7044905124      7/27/2012        15:24:05
50986      7044908547      4/14/2012        8:52:55
50987      7044909258      11/15/2011       16:02:38
50988      7044909372      11/11/2011       7:49:39
50989      7044912195      11/2/2011        7:20:24
50990      7044914597      7/9/2012         7:16:50
50991      7044917360      11/23/2011       10:17:38
50992      7044921098      12/6/2011        14:21:34
50993      7044921509      7/9/2012         18:59:10
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50994      7044921857      1/3/2012         11:14:03
50995      7044922952      9/8/2011         17:40:30
50996      7044923231      11/9/2011        7:31:24
50997      7044923273      8/17/2011        18:38:08
50998      7044923730      12/14/2011       13:06:51
50999      7044925306      3/25/2012        11:48:43
51000      7044927012      12/20/2011       19:30:54
51001      7044927152      1/13/2012        17:11:29
51002      7044928184      12/21/2011       10:03:41
51003      7044929141      7/26/2012        11:52:44
51004      7044929581      3/9/2012         7:04:01
51005      7044929619      11/4/2011        7:12:56
51006      7044931604      12/22/2011       8:45:11
51007      7044932167      1/2/2012         7:11:07
51008      7044932167      5/21/2012        7:02:55
51009      7044932167      5/21/2012        7:23:18
51010      7044932490      10/14/2011       12:40:31
51011      7044934729      7/11/2012        17:27:37
51012      7044934921      10/5/2011        14:04:06
51013      7044935327      9/16/2011        13:21:43
51014      7044935398      5/3/2012         7:15:50
51015      7044935462      10/24/2011       7:27:53
51016      7044935806      12/17/2011       11:58:44
51017      7044936950      3/23/2012        19:46:12
51018      7044938387      9/8/2011         19:45:16
51019      7044938680      11/17/2011       16:03:55
51020      7044938977      10/6/2011        9:34:46
51021      7044960222      3/14/2014        15:07:59
51022      7044970611      8/11/2012        9:20:40
51023      7044973614      11/23/2011       14:31:10
51024      7044985468      2/3/2012         7:16:48
51025      7044991839      3/13/2012        18:37:30
51026      7044992758      3/7/2012         18:32:53
51027      7044997273      9/23/2011        11:30:21
51028      7044997559      12/12/2011       12:08:42
51029      7044997559      12/23/2011       14:50:22
51030      7045001202      1/25/2012        9:02:15
51031      7045003593      2/25/2012        10:26:49
51032      7045004209      10/20/2011       16:37:22
51033      7045004576      6/21/2012        10:13:17
51034      7045005695      2/22/2012        7:02:21
51035      7045009330      12/15/2011       8:26:21
51036      7045024109      12/3/2011        9:46:19
51037      7045028440      11/19/2011       8:40:55
51038      7045060716      1/20/2012        11:43:03
51039      7045062494      1/6/2012         7:12:42
51040      7045062909      9/19/2011        19:30:10
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51041      7045065166      11/27/2011       15:26:27
51042      7045071050      8/9/2012         14:09:08
51043      7045071898      4/27/2012        7:05:03
51044      7045072484      3/15/2012        19:25:46
51045      7045168099      12/23/2011       13:40:24
51046      7045168293      9/23/2011        18:59:37
51047      7045169809      1/23/2012        18:58:05
51048      7045171961      9/21/2011        19:29:46
51049      7045172315      2/7/2012         20:22:31
51050      7045174908      10/12/2011       7:55:08
51051      7045195548      1/13/2012        7:31:47
51052      7045198314      10/17/2011       11:06:04
51053      7045243613      12/29/2011       18:23:39
51054      7045245422      12/7/2011        13:23:22
51055      7045246543      3/15/2012        19:03:31
51056      7045248481      10/7/2011        7:24:50
51057      7045249323      8/25/2012        11:09:40
51058      7045249790      9/27/2011        18:04:12
51059      7045300045      9/28/2011        10:13:17
51060      7045302010      2/6/2012         17:08:52
51061      7045303221      9/26/2012        14:35:36
51062      7045334410      4/21/2012        8:07:51
51063      7045369090      3/23/2012        19:49:32
51064      7045604918      1/5/2012         17:28:25
51065      7045604918      2/28/2012        7:54:48
51066      7045606048      6/16/2012        7:46:46
51067      7045607654      3/19/2012        7:07:21
51068      7045622869      12/17/2011       12:02:22
51069      7045623435      1/27/2012        17:41:43
51070      7045623441      12/10/2011       12:10:28
51071      7045642277      11/18/2011       12:47:13
51072      7045750134      12/28/2011       7:21:13
51073      7045753490      5/1/2012         17:37:55
51074      7045760062      9/19/2011        7:06:32
51075      7045766388      9/28/2011        11:11:49
51076      7045767442      11/25/2011       18:10:48
51077      7045776666      9/8/2011         19:44:37
51078      7045783988      10/14/2011       12:49:16
51079      7045787158      1/27/2012        17:33:57
51080      7045912842      10/13/2011       7:23:52
51081      7046005596      3/8/2012         7:14:50
51082      7046005596      4/18/2012        17:48:04
51083      7046008697      10/4/2011        13:37:17
51084      7046045495      12/31/2011       11:59:58
51085      7046045910      9/21/2011        11:41:09
51086      7046052256      3/1/2012         8:37:35
51087      7046052678      10/24/2012       15:02:33
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51088      7046053047      3/7/2012         18:30:51
51089      7046054935      1/24/2012        9:56:29
51090      7046056360      12/10/2011       12:08:40
51091      7046056909      9/7/2011         14:46:14
51092      7046058208      10/15/2012       9:48:13
51093      7046058359      11/14/2011       16:54:29
51094      7046058443      4/2/2012         17:30:43
51095      7046058475      10/8/2011        10:41:36
51096      7046058764      3/15/2012        18:55:00
51097      7046060216      7/13/2012        18:31:35
51098      7046060731      6/29/2011        16:36:20
51099      7046061869      3/29/2012        11:30:50
51100      7046062017      4/23/2012        7:13:32
51101      7046062734      12/23/2011       15:22:57
51102      7046063220      4/18/2012        18:03:46
51103      7046064222      7/15/2011        17:18:57
51104      7046065915      10/10/2011       11:38:41
51105      7046066145      11/22/2011       19:29:21
51106      7046068202      5/1/2012         17:37:19
51107      7046068978      9/28/2011        9:13:26
51108      7046069918      11/5/2011        10:48:05
51109      7046070401      8/23/2012        11:47:31
51110      7046073360      11/18/2011       12:50:33
51111      7046078147      7/6/2012         14:36:56
51112      7046090511      4/1/2012         16:41:01
51113      7046096033      12/3/2011        9:12:27
51114      7046121788      11/10/2011       7:24:15
51115      7046152918      10/5/2011        14:07:37
51116      7046154202      1/5/2012         12:00:54
51117      7046155361      12/1/2011        7:49:20
51118      7046156240      9/30/2011        9:57:17
51119      7046156787      5/29/2012        17:03:33
51120      7046156787      9/27/2012        16:28:50
51121      7046158385      1/10/2012        18:12:04
51122      7046164743      6/21/2012        18:17:18
51123      7046169643      10/19/2012       13:26:30
51124      7046176166      1/26/2012        10:21:13
51125      7046181154      4/9/2012         7:21:50
51126      7046200135      12/19/2011       7:34:23
51127      7046203020      6/18/2012        15:18:37
51128      7046204699      4/5/2012         15:54:46
51129      7046207490      6/8/2012         7:25:42
51130      7046215221      1/13/2012        7:14:46
51131      7046222161      10/29/2011       10:41:22
51132      7046229862      11/4/2011        7:14:14
51133      7046318105      11/9/2013        9:26:01
51134      7046343781      10/7/2011        7:22:35
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51135      7046343868      5/19/2012        8:11:49
51136      7046345332      12/19/2011       7:37:02
51137      7046483266      8/14/2012        11:42:34
51138      7046483646      1/6/2012         14:49:47
51139      7046484722      12/5/2011        18:09:50
51140      7046485074      1/4/2012         11:17:48
51141      7046485481      2/20/2012        16:50:59
51142      7046485945      12/20/2011       7:09:19
51143      7046486454      10/10/2011       12:27:22
51144      7046487022      10/17/2011       7:01:38
51145      7046488044      9/27/2011        18:26:51
51146      7046489879      9/21/2012        15:25:59
51147      7046492425      4/3/2012         16:09:06
51148      7046492425      6/28/2012        14:15:06
51149      7046493226      2/4/2012         8:18:51
51150      7046493226      7/2/2012         17:00:07
51151      7046494341      5/19/2012        16:06:39
51152      7046494421      1/20/2012        14:24:53
51153      7046494847      4/5/2012         15:48:01
51154      7046495027      1/17/2012        7:10:33
51155      7046496329      1/6/2012         14:35:29
51156      7046496433      8/31/2012        16:32:42
51157      7046496551      7/13/2012        7:44:43
51158      7046510865      10/3/2011        7:49:00
51159      7046511489      11/7/2011        8:28:12
51160      7046511489      2/11/2012        11:05:30
51161      7046511968      6/23/2012        15:59:30
51162      7046515020      6/15/2012        8:45:10
51163      7046516898      3/21/2012        7:14:14
51164      7046518718      12/6/2011        7:34:49
51165      7046518978      9/10/2011        8:57:54
51166      7046570309      1/12/2012        14:00:56
51167      7046570526      11/10/2011       7:28:04
51168      7046573710      1/29/2012        17:23:01
51169      7046576706      11/5/2011        9:43:00
51170      7046585211      9/9/2011         7:25:25
51171      7046587074      2/8/2012         7:35:08
51172      7046742736      10/5/2011        14:06:29
51173      7046742878      2/14/2012        16:39:25
51174      7046745264      11/30/2011       14:45:40
51175      7046750597      12/27/2011       13:30:08
51176      7046751898      10/5/2012        18:29:22
51177      7046780874      12/21/2011       10:08:04
51178      7046789964      9/6/2012         12:30:55
51179      7046820717      8/18/2011        8:18:17
51180      7046821148      9/20/2011        16:32:02
51181      7046824462      1/11/2012        7:25:40
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1091 of 1863 Page ID
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51182      7046824786      9/19/2011        19:07:32
51183      7046827929      7/2/2012         15:17:46
51184      7046829740      7/3/2012         13:01:27
51185      7046850951      4/24/2012        11:53:29
51186      7046857117      10/5/2011        14:36:24
51187      7046897301      9/28/2012        16:49:04
51188      7046902162      1/7/2012         8:08:52
51189      7046905428      8/17/2012        7:04:46
51190      7046914081      3/26/2011        10:33:05
51191      7046915465      10/11/2012       7:54:14
51192      7046920712      1/14/2012        8:17:47
51193      7046921508      2/14/2012        16:36:11
51194      7046925103      12/5/2011        18:53:09
51195      7046925709      3/19/2012        19:08:13
51196      7046928260      10/12/2011       7:53:30
51197      7046929558      4/19/2012        7:23:15
51198      7046929604      9/30/2011        10:11:46
51199      7046986530      3/29/2012        16:30:22
51200      7046987658      11/15/2011       16:05:10
51201      7046990018      4/25/2012        9:38:24
51202      7046998354      4/30/2012        17:24:19
51203      7046998804      3/12/2012        19:04:39
51204      7047010389      12/29/2011       9:59:07
51205      7047014352      1/29/2012        17:15:10
51206      7047014814      2/14/2012        9:45:45
51207      7047014814      5/7/2012         7:14:56
51208      7047017313      9/24/2012        19:01:04
51209      7047018209      11/29/2011       16:14:33
51210      7047019627      3/12/2012        19:17:37
51211      7047019627      8/3/2012         7:51:15
51212      7047078060      4/15/2012        15:14:48
51213      7047078247      5/23/2012        14:52:45
51214      7047078860      4/17/2012        9:40:47
51215      7047120149      10/10/2012       12:39:48
51216      7047120182      10/19/2011       15:10:54
51217      7047120221      9/24/2011        9:16:21
51218      7047120693      11/4/2011        7:13:30
51219      7047120842      12/29/2011       19:15:57
51220      7047120842      4/10/2012        15:59:33
51221      7047122332      9/10/2011        8:59:31
51222      7047122693      10/20/2011       15:26:46
51223      7047126150      4/21/2012        8:35:01
51224      7047126258      10/15/2011       10:12:33
51225      7047126812      3/26/2012        7:27:55
51226      7047127448      6/16/2012        15:11:22
51227      7047127616      10/23/2012       10:30:56
51228      7047129706      7/12/2012        7:01:47
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51229      7047130307      9/28/2011        10:03:00
51230      7047130778      9/28/2012        7:40:14
51231      7047131734      6/4/2012         8:27:19
51232      7047132332      4/12/2012        13:03:30
51233      7047132750      3/21/2012        13:47:22
51234      7047133242      5/29/2012        17:11:35
51235      7047133382      9/21/2011        11:30:12
51236      7047134242      2/13/2012        18:45:36
51237      7047134625      11/12/2011       10:09:50
51238      7047134662      4/17/2012        9:23:52
51239      7047134765      10/6/2011        16:10:34
51240      7047134926      2/25/2012        10:36:41
51241      7047135346      7/30/2012        13:31:06
51242      7047135446      3/17/2012        8:26:36
51243      7047136645      4/13/2012        13:27:49
51244      7047138123      10/12/2011       12:02:06
51245      7047138123      11/7/2011        8:01:37
51246      7047180882      9/13/2011        17:27:28
51247      7047184943      9/28/2011        11:06:49
51248      7047190949      10/3/2012        19:54:25
51249      7047245631      1/19/2012        7:20:17
51250      7047246619      4/25/2011        11:31:24
51251      7047249714      8/11/2012        9:37:34
51252      7047264748      4/24/2012        11:51:44
51253      7047265683      5/15/2012        7:45:47
51254      7047268217      7/3/2012         19:36:15
51255      7047283422      9/29/2011        15:02:48
51256      7047338153      3/27/2012        15:00:59
51257      7047338160      4/4/2012         18:45:57
51258      7047338903      1/10/2012        15:10:13
51259      7047347394      1/8/2012         12:52:58
51260      7047377467      6/7/2012         18:22:54
51261      7047379451      4/25/2014        9:35:43
51262      7047407869      5/9/2012         7:36:36
51263      7047421484      3/12/2012        19:20:51
51264      7047470146      4/11/2012        10:53:45
51265      7047470492      4/16/2012        15:42:30
51266      7047494279      9/26/2011        8:44:09
51267      7047494564      7/12/2012        19:58:40
51268      7047541676      3/29/2012        17:26:40
51269      7047541963      10/19/2011       7:37:57
51270      7047561604      11/5/2011        9:05:54
51271      7047566057      6/23/2012        8:43:06
51272      7047705934      5/29/2012        7:11:13
51273      7047708107      12/5/2011        18:24:20
51274      7047718612      3/5/2012         7:05:08
51275      7047719856      12/10/2011       12:50:35
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1093 of 1863 Page ID
                                   #:12943

51276      7047736130      3/23/2012        19:48:19
51277      7047737675      2/17/2012        18:10:31
51278      7047749404      8/25/2012        11:08:45
51279      7047758408      3/23/2012        19:48:10
51280      7047765200      8/30/2012        17:44:20
51281      7047766025      3/17/2012        8:27:16
51282      7047768284      11/7/2011        7:48:58
51283      7047770347      11/17/2011       15:00:05
51284      7047770821      1/16/2012        17:24:42
51285      7047772257      8/25/2012        8:28:49
51286      7047772273      9/16/2011        14:10:28
51287      7047772366      1/6/2012         14:49:52
51288      7047772681      9/8/2011         18:40:15
51289      7047772808      6/12/2012        17:09:29
51290      7047773164      2/13/2012        18:37:59
51291      7047773455      2/17/2012        9:06:32
51292      7047773770      11/16/2011       7:55:32
51293      7047773966      8/12/2011        9:38:01
51294      7047775845      12/27/2011       14:13:52
51295      7047776754      9/11/2012        7:44:47
51296      7047778721      2/22/2012        7:01:59
51297      7047779580      9/23/2011        18:55:49
51298      7047780792      1/2/2012         7:08:45
51299      7047780792      5/21/2012        7:03:03
51300      7047788620      3/8/2012         7:16:20
51301      7047788799      1/4/2012         11:20:17
51302      7047791380      9/24/2011        9:40:46
51303      7047797149      1/9/2012         18:04:34
51304      7047805732      9/27/2012        16:28:32
51305      7047854770      10/17/2011       8:21:22
51306      7047856402      11/21/2011       10:35:32
51307      7047870283      10/15/2011       10:30:06
51308      7047870673      9/19/2011        19:29:14
51309      7047872513      3/14/2012        7:15:02
51310      7047910828      4/15/2012        16:52:10
51311      7047910828      8/31/2012        16:34:12
51312      7047911493      8/16/2012        19:52:36
51313      7047911808      11/30/2011       15:09:03
51314      7047913452      2/13/2012        18:42:52
51315      7047915859      10/22/2012       17:57:15
51316      7047917002      4/20/2012        13:58:40
51317      7047918403      9/10/2011        8:53:17
51318      7047919359      10/16/2012       7:23:26
51319      7047948609      3/15/2012        19:23:21
51320      7047962907      9/20/2011        18:09:59
51321      7047965523      7/2/2012         17:00:17
51322      7047966399      6/23/2012        16:24:51
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51323      7047986024      7/5/2012         7:43:37
51324      7047986336      7/23/2012        11:53:05
51325      7047986413      1/21/2012        8:10:11
51326      7047987385      11/4/2011        7:23:02
51327      7047989022      1/20/2012        11:27:21
51328      7047989022      2/11/2012        10:42:06
51329      7047989500      9/27/2012        16:21:32
51330      7047989500      10/10/2012       12:46:28
51331      7048041755      5/18/2012        7:07:35
51332      7048044473      1/5/2012         17:26:07
51333      7048044473      1/16/2012        15:48:52
51334      7048048475      12/23/2011       7:15:11
51335      7048060654      3/25/2012        11:48:15
51336      7048081464      4/11/2012        19:33:52
51337      7048130268      9/13/2011        7:07:33
51338      7048132999      10/14/2011       12:48:44
51339      7048137925      11/17/2011       14:01:45
51340      7048138132      2/11/2012        15:30:47
51341      7048138503      3/5/2012         7:09:22
51342      7048138503      3/19/2012        7:07:42
51343      7048139006      8/31/2011        10:20:16
51344      7048190188      3/19/2012        17:36:29
51345      7048190188      5/21/2012        7:04:56
51346      7048190188      5/21/2012        7:29:39
51347      7048190188      8/4/2012         7:35:51
51348      7048190760      9/8/2011         19:29:24
51349      7048191721      11/16/2011       9:39:23
51350      7048193123      1/5/2012         17:19:56
51351      7048259442      5/16/2012        7:12:37
51352      7048307246      10/5/2012        12:25:25
51353      7048379338      1/17/2012        18:32:16
51354      7048391164      8/9/2011         12:38:52
51355      7048405591      7/12/2012        19:49:11
51356      7048405591      7/20/2012        7:33:41
51357      7048408969      3/6/2012         15:43:04
51358      7048408969      8/14/2012        11:38:06
51359      7048409700      11/14/2011       16:02:54
51360      7048539134      11/14/2011       16:06:32
51361      7048580108      1/19/2012        18:28:02
51362      7048580146      5/21/2012        7:02:08
51363      7048580545      4/13/2012        13:28:19
51364      7048580702      11/25/2011       17:27:21
51365      7048581305      12/28/2011       7:06:23
51366      7048582262      10/21/2011       14:28:26
51367      7048582883      10/11/2011       15:43:01
51368      7048586959      1/12/2012        7:04:16
51369      7048601229      10/4/2011        13:15:10
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51370      7048601353      10/10/2011       11:35:16
51371      7048601377      11/23/2011       14:31:41
51372      7048603789      3/20/2012        9:25:47
51373      7048606735      9/17/2011        9:27:14
51374      7048606788      12/27/2011       14:13:41
51375      7048777150      7/22/2012        15:56:14
51376      7048808966      3/16/2012        16:01:44
51377      7048812100      6/6/2012         13:59:49
51378      7048814264      9/23/2011        7:03:30
51379      7048814503      6/13/2012        7:03:16
51380      7048841876      12/18/2011       16:46:46
51381      7048845315      4/19/2012        15:03:17
51382      7048845475      8/7/2012         17:46:24
51383      7048845986      4/29/2012        16:41:11
51384      7048867007      1/18/2012        16:47:40
51385      7048867122      5/29/2012        17:09:55
51386      7048867122      10/5/2012        18:28:44
51387      7048867956      12/21/2011       10:10:24
51388      7048868683      3/27/2012        7:10:04
51389      7048880085      10/8/2011        9:07:57
51390      7048900708      10/8/2011        10:35:00
51391      7048903022      7/20/2011        13:31:39
51392      7048903911      12/29/2011       9:58:51
51393      7048904931      1/11/2012        7:22:06
51394      7048905121      11/21/2011       7:32:02
51395      7048905435      8/30/2011        17:11:13
51396      7048906657      1/22/2014        13:47:20
51397      7048906797      11/2/2011        16:22:13
51398      7048908364      10/26/2011       8:14:26
51399      7048910967      12/23/2011       13:50:06
51400      7048912227      8/8/2011         14:46:09
51401      7048914418      5/20/2012        15:29:01
51402      7048914822      1/5/2012         11:56:39
51403      7048917890      5/29/2012        17:10:54
51404      7048918509      1/11/2012        16:18:26
51405      7048918509      3/22/2012        14:10:24
51406      7048918718      1/2/2012         7:17:43
51407      7048918718      2/13/2012        7:03:08
51408      7048983563      11/23/2011       10:15:27
51409      7048983563      12/12/2011       16:17:32
51410      7048985862      10/3/2012        19:55:55
51411      7048986188      12/14/2011       17:56:05
51412      7048989716      2/17/2012        9:14:15
51413      7049009834      9/19/2011        7:24:47
51414      7049020386      3/13/2012        18:28:35
51415      7049021385      12/15/2011       8:25:58
51416      7049022156      11/18/2011       13:27:54
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51417      7049025630      5/9/2011         16:42:56
51418      7049040158      3/7/2012         18:29:10
51419      7049041689      12/3/2011        9:56:42
51420      7049047540      10/3/2011        7:47:16
51421      7049047540      11/27/2011       15:30:03
51422      7049049011      1/4/2012         11:31:45
51423      7049050022      9/19/2011        19:08:55
51424      7049053069      12/2/2011        7:40:36
51425      7049053985      8/2/2012         18:49:25
51426      7049060092      5/26/2012        14:14:31
51427      7049061127      10/1/2011        10:28:49
51428      7049061990      10/10/2011       12:32:25
51429      7049066234      2/11/2012        15:05:25
51430      7049068902      3/12/2012        19:06:11
51431      7049069417      1/10/2012        15:29:36
51432      7049071964      10/23/2012       16:12:55
51433      7049072639      1/6/2012         14:49:37
51434      7049077315      9/24/2012        19:05:05
51435      7049079827      12/5/2011        18:25:37
51436      7049107928      10/3/2011        7:15:51
51437      7049131568      5/26/2012        8:28:54
51438      7049147278      12/9/2011        16:00:52
51439      7049150069      5/31/2012        15:06:29
51440      7049178024      3/2/2012         7:02:05
51441      7049188854      2/2/2012         19:15:31
51442      7049198599      10/21/2011       13:19:10
51443      7049200115      5/21/2012        17:31:41
51444      7049200115      10/9/2012        7:31:58
51445      7049200175      10/22/2011       12:26:26
51446      7049200175      2/2/2012         18:53:24
51447      7049200240      8/14/2012        8:01:08
51448      7049208061      5/10/2012        14:56:42
51449      7049231179      11/4/2011        7:22:39
51450      7049232270      8/2/2011         18:05:55
51451      7049232876      9/28/2011        10:49:36
51452      7049233087      12/15/2011       8:25:20
51453      7049233388      9/21/2011        19:29:55
51454      7049233388      10/4/2011        13:44:45
51455      7049233388      1/9/2012         7:10:21
51456      7049234044      12/20/2011       17:15:08
51457      7049234389      5/19/2012        9:43:22
51458      7049234599      9/21/2011        11:46:08
51459      7049234783      9/17/2011        9:53:44
51460      7049234783      1/16/2012        17:22:05
51461      7049235486      8/22/2012        11:11:08
51462      7049235743      11/10/2011       7:26:47
51463      7049236013      12/27/2011       14:31:38
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51464      7049236633      2/21/2012        9:30:39
51465      7049239273      4/28/2012        8:20:42
51466      7049239523      11/30/2011       15:11:12
51467      7049239614      11/28/2011       11:43:01
51468      7049286118      11/10/2011       7:07:11
51469      7049295428      9/13/2011        17:22:48
51470      7049298215      9/12/2013        7:14:33
51471      7049299506      11/4/2011        7:05:14
51472      7049306327      4/23/2012        7:18:16
51473      7049309123      12/18/2011       17:05:33
51474      7049366906      3/21/2012        7:03:34
51475      7049375285      6/15/2012        16:34:55
51476      7049427484      7/23/2011        13:47:47
51477      7049532091      2/6/2012         7:12:33
51478      7049535131      6/15/2012        16:42:02
51479      7049535150      10/22/2011       12:22:54
51480      7049536319      3/16/2012        15:51:41
51481      7049536319      10/22/2012       17:56:49
51482      7049570535      1/11/2014        15:40:35
51483      7049572532      3/7/2012         18:58:41
51484      7049573010      3/9/2012         7:12:37
51485      7049574939      10/16/2012       7:22:13
51486      7049578461      10/20/2011       16:25:32
51487      7049579613      3/2/2012         18:59:08
51488      7049607182      1/20/2012        11:40:03
51489      7049643196      3/10/2012        8:36:37
51490      7049649035      8/2/2012         18:49:05
51491      7049652526      9/8/2011         19:25:03
51492      7049659333      10/18/2011       7:16:52
51493      7049680333      10/8/2011        11:07:23
51494      7049681770      7/16/2012        7:14:34
51495      7049682981      12/21/2011       9:51:43
51496      7049683070      2/16/2012        7:05:49
51497      7049741294      4/15/2012        17:05:27
51498      7049741988      2/24/2012        17:20:37
51499      7049746549      12/27/2011       14:32:45
51500      7049748322      11/14/2011       16:37:26
51501      7049750809      12/23/2011       7:04:32
51502      7049753204      9/8/2011         18:33:08
51503      7049759682      7/26/2012        11:58:05
51504      7049852423      10/23/2012       16:13:34
51505      7049898477      3/15/2012        18:53:00
51506      7049957933      1/19/2012        8:46:18
51507      7049964341      6/6/2012         7:14:55
51508      7049964903      11/30/2011       15:37:51
51509      7049992075      12/18/2011       16:46:55
51510      7049993499      10/5/2012        18:28:58
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51511      7049995726      11/26/2011       12:16:34
51512      7049997006      10/20/2011       16:14:07
51513      7049998358      12/10/2011       12:46:08
51514      7062002229      11/15/2011       15:08:03
51515      7062014961      3/13/2012        11:00:15
51516      7062015440      12/15/2011       7:42:51
51517      7062021659      10/13/2011       7:28:42
51518      7062023461      12/27/2011       14:26:28
51519      7062026154      11/5/2011        9:41:04
51520      7062029348      10/12/2012       16:51:37
51521      7062029840      9/23/2011        11:36:54
51522      7062041198      12/19/2011       7:41:01
51523      7062060002      3/12/2012        16:52:36
51524      7062065680      8/11/2011        10:56:22
51525      7062068105      7/13/2012        18:31:38
51526      7062069007      12/3/2011        8:56:06
51527      7062070626      11/5/2011        9:01:23
51528      7062073710      9/17/2012        7:43:57
51529      7062177270      5/21/2012        7:22:34
51530      7062182155      11/10/2011       7:06:22
51531      7062182799      12/22/2011       7:44:55
51532      7062184044      8/6/2012         14:52:32
51533      7062185090      10/25/2011       15:54:13
51534      7062186172      11/22/2011       19:08:24
51535      7062187789      9/26/2012        7:17:18
51536      7062189069      10/3/2011        7:38:20
51537      7062212314      6/11/2011        8:51:24
51538      7062243631      8/20/2012        18:41:18
51539      7062245083      9/8/2011         18:40:31
51540      7062247966      10/6/2011        16:22:57
51541      7062292673      3/30/2012        16:10:37
51542      7062317207      2/13/2012        18:24:27
51543      7062332939      9/24/2011        9:11:53
51544      7062333971      7/12/2011        11:33:26
51545      7062382505      11/5/2011        11:19:46
51546      7062397032      10/1/2012        8:18:14
51547      7062424922      9/22/2011        15:52:58
51548      7062440608      10/1/2011        9:45:33
51549      7062442119      9/23/2011        11:32:37
51550      7062442324      3/19/2012        7:08:55
51551      7062443575      1/13/2012        17:14:38
51552      7062443610      10/8/2011        9:21:57
51553      7062444174      3/14/2012        14:30:24
51554      7062444356      10/1/2012        13:41:06
51555      7062444478      8/20/2011        9:44:06
51556      7062470327      10/13/2011       7:27:39
51557      7062479321      11/30/2011       8:06:25
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51558      7062481376      6/12/2012        7:21:57
51559      7062485864      9/26/2011        8:42:23
51560      7062486404      2/6/2012         17:06:20
51561      7062488590      1/16/2012        17:23:05
51562      7062522367      7/24/2012        7:29:26
51563      7062547311      5/17/2012        16:39:37
51564      7062552225      1/7/2012         8:38:28
51565      7062556517      2/11/2012        15:04:36
51566      7062587652      11/3/2011        17:39:52
51567      7062587813      11/28/2011       17:48:02
51568      7062588571      11/22/2011       18:34:57
51569      7062606231      7/9/2012         19:12:19
51570      7062607671      3/27/2012        7:58:48
51571      7062630697      9/1/2011         8:00:14
51572      7062631301      3/23/2012        19:48:51
51573      7062631322      7/18/2012        18:28:09
51574      7062631406      10/18/2011       12:26:02
51575      7062633553      5/29/2012        7:03:06
51576      7062640717      8/14/2012        8:01:19
51577      7062641648      10/2/2012        12:54:27
51578      7062642768      9/13/2011        18:01:02
51579      7062644639      2/6/2012         7:15:49
51580      7062663373      10/17/2011       7:06:43
51581      7062664417      6/25/2012        13:20:57
51582      7062665199      9/13/2011        7:13:03
51583      7062665912      4/21/2012        8:23:53
51584      7062669329      1/26/2012        9:57:50
51585      7062670807      11/15/2011       15:07:42
51586      7062676393      6/12/2012        7:15:02
51587      7062678889      2/25/2012        10:27:56
51588      7062730564      11/2/2011        7:05:21
51589      7062734837      10/19/2011       7:32:51
51590      7062802866      9/8/2011         19:44:12
51591      7062809231      10/29/2011       10:31:43
51592      7062842047      11/17/2011       15:10:22
51593      7062847088      2/13/2012        18:21:01
51594      7062860874      10/4/2011        13:06:24
51595      7062864022      10/13/2012       8:52:05
51596      7062884233      5/30/2012        16:52:38
51597      7062884233      6/29/2012        17:47:47
51598      7062891764      9/19/2011        19:32:25
51599      7062892392      12/27/2011       14:14:40
51600      7062893558      8/21/2012        14:00:01
51601      7062899649      5/11/2012        18:12:49
51602      7062903953      6/8/2012         7:31:58
51603      7062940192      3/23/2012        11:01:46
51604      7062941751      1/16/2012        17:07:41
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51605      7062944417      7/25/2012        12:03:02
51606      7062945305      10/20/2011       16:02:50
51607      7062946148      6/2/2012         12:52:48
51608      7062946283      1/7/2012         8:27:13
51609      7062949092      7/11/2011        7:06:24
51610      7062971520      8/2/2012         18:52:35
51611      7062971629      1/24/2012        10:01:56
51612      7062971629      5/31/2012        17:46:38
51613      7062978183      9/27/2011        18:27:07
51614      7062991795      1/19/2012        17:58:50
51615      7062993938      4/26/2014        8:06:10
51616      7063020810      12/12/2011       16:20:53
51617      7063021406      9/21/2011        11:24:09
51618      7063026280      1/20/2012        14:41:27
51619      7063027985      3/26/2012        7:28:02
51620      7063045016      3/8/2012         9:26:40
51621      7063046678      6/3/2011         8:04:49
51622      7063047296      12/6/2011        13:24:28
51623      7063057811      3/5/2012         7:13:32
51624      7063062097      10/7/2011        7:09:43
51625      7063069790      5/20/2014        13:50:37
51626      7063069802      1/16/2012        17:24:34
51627      7063071117      5/23/2012        16:42:51
51628      7063072110      1/20/2012        19:27:23
51629      7063087633      1/4/2012         11:03:46
51630      7063138856      10/9/2012        7:41:57
51631      7063156694      12/27/2011       13:44:57
51632      7063157065      4/2/2012         7:14:24
51633      7063157907      10/14/2011       12:57:09
51634      7063180552      11/26/2011       11:32:15
51635      7063189384      4/30/2012        14:26:21
51636      7063190269      3/28/2012        18:21:51
51637      7063193558      12/7/2011        15:02:36
51638      7063254930      5/6/2012         17:21:07
51639      7063261184      11/25/2011       17:45:04
51640      7063267693      8/9/2012         14:00:01
51641      7063296212      11/18/2011       12:45:07
51642      7063321039      8/16/2012        19:52:15
51643      7063323350      1/31/2012        7:28:11
51644      7063323350      3/15/2012        7:20:05
51645      7063323608      1/17/2012        7:18:09
51646      7063324845      5/5/2012         12:32:21
51647      7063327129      9/12/2011        14:08:53
51648      7063327319      1/7/2012         8:17:04
51649      7063327776      3/30/2011        8:59:35
51650      7063328358      10/3/2011        8:26:00
51651      7063329798      5/21/2012        7:34:44
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51652      7063330091      5/12/2012        10:35:02
51653      7063337108      4/16/2012        16:01:02
51654      7063384757      2/26/2012        13:25:27
51655      7063385180      4/21/2012        16:31:47
51656      7063389523      12/29/2011       18:02:59
51657      7063398677      1/23/2012        19:12:03
51658      7063401883      12/6/2011        14:03:03
51659      7063405004      7/28/2012        8:55:51
51660      7063406423      12/14/2011       13:41:59
51661      7063408729      5/15/2012        19:15:21
51662      7063421577      9/18/2012        14:17:35
51663      7063449520      12/18/2011       16:40:37
51664      7063461148      4/10/2014        17:41:24
51665      7063461682      11/10/2011       7:20:25
51666      7063463099      5/7/2012         7:08:59
51667      7063466551      9/12/2011        13:46:55
51668      7063471127      12/12/2011       16:15:57
51669      7063471453      6/16/2012        7:40:52
51670      7063503151      3/20/2012        17:43:24
51671      7063511044      1/23/2012        7:12:21
51672      7063511400      9/29/2011        15:12:14
51673      7063511401      3/2/2012         18:41:28
51674      7063511473      12/6/2011        7:36:05
51675      7063511569      8/23/2011        17:40:08
51676      7063511833      7/14/2011        15:48:44
51677      7063513002      8/31/2011        10:21:54
51678      7063513025      11/22/2011       18:23:45
51679      7063514032      11/9/2011        7:30:01
51680      7063514756      9/29/2011        15:38:54
51681      7063515321      12/9/2011        15:52:21
51682      7063515597      9/23/2011        11:34:00
51683      7063517010      1/12/2012        7:09:07
51684      7063517303      9/22/2011        15:05:56
51685      7063517303      10/8/2011        9:19:30
51686      7063518965      11/12/2011       10:24:08
51687      7063528234      10/1/2012        8:17:28
51688      7063586591      10/1/2011        9:49:05
51689      7063589518      2/8/2012         12:49:23
51690      7063609296      3/2/2012         7:03:09
51691      7063609296      3/15/2012        7:09:12
51692      7063609296      6/22/2012        7:06:11
51693      7063611802      10/5/2012        12:22:24
51694      7063622197      7/30/2011        8:38:57
51695      7063663922      7/15/2011        8:01:16
51696      7063713529      2/28/2012        13:30:04
51697      7063713963      12/5/2011        9:16:47
51698      7063716679      7/6/2012         16:44:30
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51699      7063723086      5/21/2012        17:20:59
51700      7063723326      12/20/2011       17:27:31
51701      7063725583      5/22/2012        18:48:38
51702      7063726501      6/9/2012         14:51:40
51703      7063734374      11/26/2011       11:35:46
51704      7063865377      9/17/2011        9:14:55
51705      7063865377      10/13/2011       7:12:04
51706      7063911086      11/5/2011        9:04:49
51707      7063913975      5/20/2011        17:49:20
51708      7063930329      11/19/2011       8:42:53
51709      7063934022      2/28/2012        16:03:46
51710      7063935679      4/27/2012        18:20:16
51711      7063936289      9/17/2012        7:35:36
51712      7063940804      12/7/2011        13:53:30
51713      7063940804      5/1/2012         8:14:59
51714      7063944945      10/7/2011        8:06:15
51715      7063944945      1/6/2012         15:03:03
51716      7063993265      9/28/2011        10:58:54
51717      7063995866      8/8/2012         16:09:42
51718      7064002140      9/9/2011         7:31:51
51719      7064011996      9/27/2012        16:25:41
51720      7064011996      10/17/2012       18:29:51
51721      7064013988      7/13/2011        11:00:04
51722      7064015037      9/22/2011        15:51:59
51723      7064016504      3/13/2012        16:45:37
51724      7064017350      5/19/2011        8:07:09
51725      7064020916      1/26/2012        7:20:10
51726      7064025506      11/7/2011        8:00:25
51727      7064055191      11/14/2011       16:16:18
51728      7064059975      1/12/2012        8:05:12
51729      7064090870      4/2/2012         16:59:18
51730      7064091539      10/20/2012       16:20:49
51731      7064097485      11/12/2011       10:22:44
51732      7064100319      9/13/2011        17:29:07
51733      7064107492      7/13/2011        11:45:07
51734      7064108814      5/6/2011         15:46:27
51735      7064140825      10/1/2011        10:24:58
51736      7064140825      10/11/2011       16:57:48
51737      7064212868      11/29/2011       16:05:13
51738      7064215686      2/25/2012        10:49:10
51739      7064244664      8/23/2012        11:47:12
51740      7064245908      1/17/2012        7:20:46
51741      7064246018      1/6/2012         11:00:25
51742      7064281060      11/30/2011       7:04:10
51743      7064284932      7/28/2012        8:45:43
51744      7064295541      11/18/2011       13:29:23
51745      7064295657      10/7/2012        12:47:18
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51746      7064425597      9/21/2012        15:55:26
51747      7064425785      9/10/2011        8:59:20
51748      7064425785      9/26/2011        8:28:32
51749      7064530648      11/8/2011        13:50:27
51750      7064556869      10/3/2012        19:46:25
51751      7064558326      9/10/2011        8:19:55
51752      7064597613      9/30/2011        10:12:19
51753      7064598122      3/13/2012        18:57:54
51754      7064616977      11/19/2011       8:08:20
51755      7064631903      10/2/2012        12:53:55
51756      7064635482      10/17/2012       9:37:47
51757      7064639726      5/7/2012         17:55:20
51758      7064641014      10/10/2012       19:04:18
51759      7064641921      7/11/2011        7:21:53
51760      7064643558      9/6/2012         12:28:23
51761      7064647417      3/14/2012        19:44:48
51762      7064660237      10/22/2012       7:01:18
51763      7064660859      7/9/2012         19:09:28
51764      7064660859      8/22/2012        11:19:39
51765      7064661527      12/1/2011        7:57:30
51766      7064661958      6/11/2012        7:16:00
51767      7064661958      6/15/2012        16:41:09
51768      7064662746      10/17/2012       9:41:53
51769      7064663070      8/2/2012         11:37:03
51770      7064663590      3/16/2012        10:11:03
51771      7064663745      3/27/2012        15:01:49
51772      7064664039      5/20/2012        15:31:50
51773      7064714202      3/12/2012        19:20:53
51774      7064733569      8/16/2012        7:49:39
51775      7064734615      10/1/2011        10:21:11
51776      7064736530      6/30/2011        8:45:22
51777      7064741441      10/23/2012       16:05:06
51778      7064743378      1/23/2012        19:13:19
51779      7064746278      5/22/2012        16:18:17
51780      7064760020      12/23/2011       14:01:00
51781      7064762749      7/11/2011        7:20:30
51782      7064830063      1/19/2012        7:31:50
51783      7064834924      10/1/2011        9:37:50
51784      7064838061      5/10/2012        13:12:25
51785      7064901105      11/1/2011        8:15:33
51786      7064903297      2/6/2012         7:07:58
51787      7064903592      3/20/2012        17:45:43
51788      7064907600      9/28/2012        14:19:45
51789      7064910577      2/17/2012        9:25:04
51790      7064915041      11/22/2011       18:26:50
51791      7064916348      3/28/2012        16:46:33
51792      7064916415      10/15/2011       10:12:33
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51793      7064918921      5/10/2011        18:50:29
51794      7064950023      10/10/2011       12:24:01
51795      7064954476      10/13/2011       7:15:21
51796      7064956146      9/28/2012        7:35:28
51797      7064961581      10/11/2011       16:55:24
51798      7064964847      8/16/2012        7:53:57
51799      7064983928      10/11/2012       12:02:31
51800      7064985184      11/17/2011       16:43:00
51801      7064985999      6/18/2011        15:14:11
51802      7064987994      12/16/2011       16:16:51
51803      7064988439      11/7/2011        8:27:14
51804      7064988439      2/9/2012         7:13:35
51805      7064991069      2/9/2012         7:10:07
51806      7064997569      11/18/2011       12:36:06
51807      7064999235      10/26/2011       12:00:55
51808      7065025232      9/23/2011        18:52:49
51809      7065065324      3/2/2012         7:15:51
51810      7065082427      3/11/2012        15:27:29
51811      7065083074      8/9/2012         14:00:14
51812      7065083074      10/15/2012       10:00:35
51813      7065083074      10/22/2012       17:48:48
51814      7065088011      10/18/2012       16:33:53
51815      7065088458      7/25/2012        11:54:00
51816      7065121606      2/3/2012         7:25:15
51817      7065135048      5/31/2012        15:05:52
51818      7065155762      10/10/2012       12:32:54
51819      7065180169      10/9/2012        19:58:53
51820      7065184787      3/16/2012        15:49:17
51821      7065185438      7/25/2011        17:38:48
51822      7065259121      3/7/2012         18:40:16
51823      7065260741      5/14/2012        15:16:10
51824      7065267379      9/24/2011        9:39:36
51825      7065274595      9/19/2011        7:29:05
51826      7065274595      10/18/2011       12:54:05
51827      7065316304      3/12/2012        7:05:29
51828      7065361871      10/10/2012       12:56:04
51829      7065364330      10/25/2011       15:33:41
51830      7065364519      9/13/2011        7:12:25
51831      7065367780      3/5/2012         8:09:55
51832      7065371599      12/26/2011       9:01:41
51833      7065375674      1/17/2012        18:42:24
51834      7065376979      7/18/2011        10:52:15
51835      7065378324      8/10/2012        7:28:09
51836      7065404527      3/14/2012        7:02:41
51837      7065408866      10/6/2011        16:01:58
51838      7065503211      10/10/2011       11:55:09
51839      7065503644      9/8/2011         18:02:58
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51840      7065623482      6/30/2012        8:19:18
51841      7065640032      3/30/2012        16:50:53
51842      7065641387      4/24/2012        18:00:30
51843      7065648250      11/10/2011       17:22:49
51844      7065664827      10/27/2011       16:35:15
51845      7065701527      12/23/2011       15:33:16
51846      7065704205      8/25/2011        18:12:03
51847      7065731819      11/28/2011       11:55:01
51848      7065770710      5/4/2012         20:53:53
51849      7065774809      12/29/2011       19:05:49
51850      7065774939      11/14/2011       16:55:05
51851      7065807610      4/24/2012        12:17:28
51852      7065810294      6/9/2012         10:30:32
51853      7065812358      10/20/2011       15:24:02
51854      7065812423      6/2/2012         12:41:37
51855      7065813197      11/18/2011       12:44:55
51856      7065816679      6/25/2011        8:18:13
51857      7065817907      3/12/2012        7:14:06
51858      7065872597      10/10/2011       11:53:12
51859      7065874368      1/9/2012         7:08:56
51860      7065901769      11/2/2011        14:04:04
51861      7065932625      3/25/2011        9:17:34
51862      7065933132      9/24/2012        18:52:48
51863      7065934526      3/13/2012        12:44:49
51864      7065934526      3/19/2012        11:47:16
51865      7065938112      1/10/2012        12:27:09
51866      7065940560      8/29/2011        13:23:19
51867      7065941893      10/24/2011       8:13:27
51868      7065946345      9/27/2011        18:22:46
51869      7065946803      10/8/2011        10:56:57
51870      7065990241      11/22/2011       19:11:38
51871      7065990449      1/4/2012         11:46:24
51872      7065992758      9/20/2011        17:58:44
51873      7065993082      10/18/2012       7:01:49
51874      7065993292      5/21/2011        10:27:51
51875      7065997301      3/12/2012        7:14:44
51876      7065997444      12/18/2011       16:26:37
51877      7066013375      2/29/2012        7:17:13
51878      7066043570      1/11/2012        16:22:35
51879      7066043784      11/14/2011       17:06:20
51880      7066043784      12/1/2011        8:04:18
51881      7066043784      1/6/2012         14:40:16
51882      7066123757      5/24/2012        12:06:10
51883      7066124216      3/24/2012        10:12:10
51884      7066140227      5/16/2012        7:12:24
51885      7066142670      9/8/2011         19:43:47
51886      7066143296      11/19/2011       8:15:23
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51887      7066143563      9/3/2012         14:42:09
51888      7066144935      9/8/2011         19:43:29
51889      7066145424      6/16/2012        7:34:32
51890      7066146291      6/6/2011         17:03:56
51891      7066154430      12/20/2011       12:46:18
51892      7066162970      5/17/2012        16:31:37
51893      7066167786      5/17/2012        16:39:01
51894      7066171262      6/28/2012        7:05:42
51895      7066175215      9/20/2011        17:05:08
51896      7066185331      3/19/2012        17:40:28
51897      7066189615      4/24/2012        12:03:22
51898      7066211973      11/1/2011        8:17:26
51899      7066219076      9/27/2011        18:36:49
51900      7066231727      8/1/2012         8:33:11
51901      7066231727      8/15/2012        7:55:27
51902      7066231727      10/3/2012        19:54:14
51903      7066270195      7/9/2012         19:04:44
51904      7066271707      5/14/2012        15:26:55
51905      7066273250      3/7/2012         7:04:55
51906      7066275740      9/21/2011        11:24:10
51907      7066278948      12/5/2011        18:04:53
51908      7066314892      8/12/2013        19:39:37
51909      7066315295      10/15/2012       9:57:15
51910      7066319168      10/8/2011        10:57:22
51911      7066330016      12/30/2011       7:13:48
51912      7066397032      3/25/2012        11:42:59
51913      7066397888      1/2/2012         7:12:35
51914      7066622052      3/15/2012        18:54:35
51915      7066629917      6/21/2012        10:00:06
51916      7066641969      10/15/2011       10:26:18
51917      7066643085      11/22/2011       19:26:37
51918      7066690760      2/20/2012        16:47:38
51919      7066690760      3/2/2012         18:57:03
51920      7066691326      2/17/2012        9:09:39
51921      7066693862      8/21/2012        13:57:24
51922      7066695410      5/4/2012         18:18:30
51923      7066695481      10/5/2011        14:29:11
51924      7066696999      10/4/2011        13:14:40
51925      7066697109      6/9/2012         11:09:05
51926      7066697573      7/27/2012        12:31:52
51927      7066698488      11/25/2011       18:13:00
51928      7066721638      6/5/2012         17:48:38
51929      7066760089      4/13/2012        13:11:57
51930      7066760578      9/2/2011         10:46:40
51931      7066761393      9/14/2011        9:26:42
51932      7066763342      9/24/2011        9:14:24
51933      7066764314      9/23/2011        11:29:29
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51934      7066764314      3/26/2012        7:08:48
51935      7066766746      8/3/2012         7:48:15
51936      7066766867      2/4/2012         7:21:24
51937      7066803894      2/9/2012         7:07:08
51938      7066803937      12/29/2011       10:01:04
51939      7066810967      3/12/2012        19:16:18
51940      7066818433      12/19/2011       7:20:43
51941      7066911428      5/22/2012        18:32:46
51942      7066916787      5/6/2012         17:42:05
51943      7066916787      5/21/2012        7:32:48
51944      7066990340      9/5/2012         7:12:49
51945      7067141114      9/21/2011        11:41:10
51946      7067262757      11/14/2011       14:09:51
51947      7067263744      10/6/2011        17:28:54
51948      7067285808      8/29/2012        11:16:02
51949      7067286634      11/26/2011       12:30:58
51950      7067288019      8/20/2012        18:42:22
51951      7067410246      8/16/2012        19:46:07
51952      7067413771      2/17/2012        18:08:35
51953      7067550138      11/18/2011       12:44:44
51954      7067554583      9/8/2011         19:16:49
51955      7067558717      11/12/2011       9:13:24
51956      7067618917      10/27/2011       15:01:12
51957      7067637373      9/21/2012        18:45:00
51958      7067638240      2/18/2012        9:04:29
51959      7067658172      11/21/2011       7:12:08
51960      7067662168      11/25/2011       18:20:28
51961      7067662504      10/31/2011       8:14:29
51962      7067662504      11/18/2011       12:26:07
51963      7067663236      9/27/2011        18:02:49
51964      7067666353      10/9/2012        19:58:46
51965      7067669076      2/24/2012        17:19:33
51966      7067674385      3/4/2012         12:31:01
51967      7067677052      10/22/2012       10:26:57
51968      7067678931      11/30/2011       7:15:52
51969      7067680953      12/15/2011       8:19:16
51970      7067683524      10/20/2011       15:29:55
51971      7067683745      10/14/2011       12:42:37
51972      7067683746      12/10/2011       11:57:45
51973      7067685515      5/23/2011        15:29:01
51974      7067685987      12/10/2011       13:16:37
51975      7067687624      8/6/2012         14:39:45
51976      7067732862      10/18/2012       14:39:10
51977      7067778889      9/22/2012        8:49:40
51978      7067814740      11/28/2011       17:50:39
51979      7067992327      12/31/2011       12:14:14
51980      7067993461      9/27/2011        18:06:42
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51981      7067997902      10/8/2011        10:40:20
51982      7068090934      6/27/2011        7:12:56
51983      7068092824      5/22/2012        18:26:09
51984      7068141129      1/21/2012        8:06:03
51985      7068149550      4/19/2012        7:34:22
51986      7068149550      10/11/2012       8:00:02
51987      7068161034      8/18/2011        7:57:17
51988      7068161034      5/21/2012        7:22:01
51989      7068163508      4/15/2012        16:26:24
51990      7068163855      4/16/2012        15:46:00
51991      7068163855      4/20/2012        13:44:50
51992      7068170963      9/29/2011        15:45:02
51993      7068171511      10/12/2012       16:36:32
51994      7068178474      9/24/2012        12:59:44
51995      7068180550      3/19/2012        19:39:57
51996      7068190383      1/7/2012         8:37:55
51997      7068192301      1/9/2012         18:32:20
51998      7068192301      5/26/2012        14:37:12
51999      7068199510      10/5/2012        18:18:14
52000      7068255237      5/11/2011        16:44:57
52001      7068256521      10/24/2011       7:24:51
52002      7068258303      3/2/2012         18:42:52
52003      7068294093      4/17/2012        9:19:16
52004      7068313601      1/19/2012        18:34:46
52005      7068332840      7/19/2011        16:01:02
52006      7068337306      9/14/2011        9:29:39
52007      7068339287      7/2/2011         8:18:23
52008      7068340027      3/13/2012        18:36:10
52009      7068343881      5/18/2012        7:10:48
52010      7068355540      12/18/2011       18:03:43
52011      7068369021      3/8/2012         7:05:59
52012      7068443240      3/6/2012         16:00:13
52013      7068443446      9/28/2011        10:23:49
52014      7068446750      2/11/2012        15:25:54
52015      7068448262      11/8/2011        14:14:27
52016      7068458556      9/4/2012         16:05:35
52017      7068472417      10/6/2011        17:22:36
52018      7068472417      1/17/2012        7:10:39
52019      7068479938      2/10/2012        7:19:01
52020      7068501127      5/15/2012        7:56:55
52021      7068514045      10/31/2011       7:07:51
52022      7068514125      3/28/2011        15:09:02
52023      7068514381      10/15/2011       9:17:19
52024      7068515707      6/30/2012        8:06:26
52025      7068517590      3/14/2012        7:12:06
52026      7068675961      10/20/2012       8:05:12
52027      7068702252      12/18/2011       17:50:31
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52028      7068703388      10/17/2011       7:15:12
52029      7068705905      9/20/2011        16:36:31
52030      7068705986      7/9/2012         19:08:08
52031      7068707921      12/22/2011       9:19:26
52032      7068707921      1/6/2012         14:35:31
52033      7068710793      9/14/2011        11:31:21
52034      7068713235      10/20/2011       16:03:17
52035      7068717685      9/20/2012        7:04:23
52036      7068719040      4/24/2012        12:22:54
52037      7068721153      7/10/2012        7:25:54
52038      7068721170      10/20/2011       16:00:13
52039      7068721170      12/10/2011       14:34:35
52040      7068721713      9/2/2011         13:06:26
52041      7068726616      1/17/2012        17:06:03
52042      7068728017      9/22/2011        15:18:06
52043      7068728501      6/29/2012        17:48:50
52044      7068728501      7/9/2012         19:06:15
52045      7068729396      7/24/2012        7:33:42
52046      7068786887      12/1/2011        15:18:02
52047      7068868107      12/24/2011       7:04:10
52048      7068880996      10/14/2011       13:08:11
52049      7068881223      1/25/2012        9:22:16
52050      7068891440      4/22/2012        15:48:41
52051      7068891512      8/2/2012         11:36:04
52052      7068897189      8/1/2011         19:35:41
52053      7068897824      7/26/2012        12:00:48
52054      7068898057      8/31/2011        10:20:47
52055      7068971686      3/17/2012        8:43:39
52056      7068973224      12/9/2011        15:28:42
52057      7069106464      7/10/2012        7:31:14
52058      7069109201      4/10/2012        12:05:16
52059      7069340738      9/5/2012         7:16:50
52060      7069361900      4/11/2012        7:13:08
52061      7069364259      5/26/2012        14:28:49
52062      7069365095      10/6/2011        17:24:30
52063      7069365880      8/27/2011        9:56:11
52064      7069366044      10/19/2011       7:37:32
52065      7069368067      9/10/2011        8:56:40
52066      7069368067      10/5/2011        14:03:43
52067      7069455454      9/21/2012        16:02:01
52068      7069490888      3/25/2012        11:30:56
52069      7069490888      3/30/2012        16:04:04
52070      7069495876      10/15/2012       16:09:01
52071      7069513646      9/29/2011        15:15:45
52072      7069513646      10/5/2011        14:10:42
52073      7069514784      12/2/2011        15:15:59
52074      7069516100      8/2/2012         11:36:47
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52075      7069516487      2/7/2012         16:50:23
52076      7069516698      9/29/2011        15:36:24
52077      7069518044      4/12/2012        12:27:54
52078      7069519154      7/30/2012        13:24:34
52079      7069571124      10/7/2011        7:04:01
52080      7069610928      7/13/2012        18:34:27
52081      7069614349      10/5/2011        14:02:14
52082      7069621208      10/10/2011       12:11:14
52083      7069621247      9/16/2011        12:51:47
52084      7069621447      9/19/2011        7:20:29
52085      7069621447      10/11/2011       16:48:10
52086      7069688462      10/14/2011       13:15:53
52087      7069690806      5/6/2012         17:30:23
52088      7069692537      9/28/2011        10:04:57
52089      7069692641      9/7/2011         14:24:18
52090      7069693537      2/17/2012        9:21:13
52091      7069694235      12/23/2011       7:06:38
52092      7069737503      1/10/2012        15:11:11
52093      7069739880      10/4/2011        13:09:57
52094      7069745386      3/11/2011        16:31:46
52095      7069752869      5/11/2011        16:52:44
52096      7069753876      11/14/2011       16:49:58
52097      7069754325      3/13/2012        18:37:41
52098      7069755749      12/7/2011        14:47:15
52099      7069770160      12/23/2011       13:45:19
52100      7069770809      12/17/2011       11:45:42
52101      7069777315      11/3/2011        17:01:32
52102      7069780459      1/6/2012         14:48:32
52103      7069781189      3/24/2012        10:30:23
52104      7069788098      9/22/2011        15:18:35
52105      7069790025      10/15/2011       9:06:22
52106      7069790440      9/21/2012        15:32:17
52107      7069790527      3/16/2012        16:08:25
52108      7069804534      10/7/2012        13:00:11
52109      7069808338      9/23/2011        18:58:26
52110      7069809076      10/26/2011       11:50:18
52111      7069822337      10/4/2011        13:34:08
52112      7069822821      2/13/2012        18:24:26
52113      7069822821      6/6/2012         9:41:09
52114      7069823295      6/27/2012        17:56:50
52115      7069831970      1/10/2012        15:24:18
52116      7069849514      2/9/2012         7:10:09
52117      7069873727      12/27/2011       14:37:46
52118      7069880867      3/14/2012        19:52:26
52119      7069880897      1/7/2012         8:40:04
52120      7069881053      3/15/2012        19:03:39
52121      7069881560      10/18/2012       7:03:56
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52122      7069882364      7/18/2012        18:24:04
52123      7069883616      9/20/2011        16:33:05
52124      7069885137      6/24/2011        11:59:40
52125      7069890312      8/7/2012         17:51:02
52126      7069929022      10/11/2012       18:39:33
52127      7069960266      3/2/2012         18:40:37
52128      7069964348      4/9/2012         17:48:01
52129      7069980377      9/22/2011        15:57:37
52130      7069980377      12/22/2011       7:35:27
52131      7072065093      10/9/2012        11:45:03
52132      7072086096      5/3/2012         21:18:40
52133      7072172493      4/4/2012         18:40:37
52134      7072231423      10/7/2011        10:38:27
52135      7072232912      4/19/2012        20:24:33
52136      7072233260      9/14/2011        21:26:13
52137      7072233771      7/18/2012        14:48:07
52138      7072252583      1/12/2012        10:10:32
52139      7072276618      7/12/2012        19:55:06
52140      7072286180      11/19/2011       10:36:46
52141      7072287037      8/24/2012        21:06:15
52142      7072340103      10/7/2011        10:18:23
52143      7072349191      10/8/2011        12:13:54
52144      7072352364      11/30/2011       15:20:53
52145      7072365418      11/26/2011       12:11:10
52146      7072396519      3/13/2012        18:59:10
52147      7072398015      2/14/2012        10:09:38
52148      7072416585      6/30/2012        15:57:49
52149      7072450522      5/17/2012        11:48:14
52150      7072454290      3/14/2012        20:03:02
52151      7072454682      10/8/2011        12:16:45
52152      7072465004      10/8/2011        12:28:02
52153      7072604699      4/2/2012         12:52:33
52154      7072671348      12/5/2011        18:19:31
52155      7072720774      2/3/2012         14:42:32
52156      7072802768      5/26/2012        14:43:41
52157      7072802908      5/22/2012        18:46:42
52158      7072803243      10/11/2012       11:56:54
52159      7072807297      1/27/2012        17:50:08
52160      7072871971      10/11/2011       16:43:23
52161      7072872131      2/18/2012        10:21:03
52162      7072872288      6/9/2012         15:38:33
52163      7072903344      1/24/2012        17:26:36
52164      7072935459      10/4/2011        13:10:33
52165      7072940350      11/14/2011       15:30:27
52166      7072970015      10/20/2011       20:57:01
52167      7072970669      4/20/2012        14:11:17
52168      7072970669      6/18/2012        10:42:24
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52169      7072971289      2/29/2012        17:30:35
52170      7073010371      8/28/2012        21:55:27
52171      7073015533      3/13/2012        18:34:45
52172      7073016699      11/19/2011       10:45:42
52173      7073078331      7/31/2012        21:05:42
52174      7073100403      7/9/2012         19:03:44
52175      7073109016      4/10/2012        15:55:02
52176      7073156865      9/15/2011        10:40:45
52177      7073157465      10/19/2011       12:31:00
52178      7073190324      4/5/2012         13:58:13
52179      7073190703      9/16/2011        13:08:56
52180      7073193563      4/11/2012        13:14:58
52181      7073227402      1/9/2012         18:21:36
52182      7073264563      11/15/2011       15:56:59
52183      7073276270      7/25/2012        12:00:00
52184      7073276309      10/10/2011       12:03:53
52185      7073287817      9/29/2012        10:10:37
52186      7073305955      9/27/2011        18:04:20
52187      7073312797      12/10/2011       12:33:10
52188      7073316935      5/10/2012        14:52:16
52189      7073321568      1/19/2012        10:18:20
52190      7073324359      9/16/2011        13:08:50
52191      7073327013      2/15/2012        14:57:39
52192      7073336446      9/10/2011        12:38:28
52193      7073344428      12/6/2011        14:46:20
52194      7073378644      9/16/2011        13:41:04
52195      7073379643      1/18/2012        21:24:53
52196      7073421307      9/18/2012        14:29:39
52197      7073428254      7/30/2012        18:49:49
52198      7073429447      9/26/2011        13:32:14
52199      7073429991      11/18/2011       13:36:32
52200      7073440260      7/2/2012         15:08:37
52201      7073491478      9/21/2012        15:31:20
52202      7073492822      9/20/2011        16:55:10
52203      7073541136      11/12/2011       10:01:39
52204      7073570917      9/13/2011        13:42:50
52205      7073626664      4/5/2012         13:54:24
52206      7073626903      4/6/2012         16:18:13
52207      7073649859      10/7/2012        13:14:31
52208      7073652565      9/7/2012         15:45:29
52209      7073658334      2/9/2012         20:47:24
52210      7073673388      12/7/2011        16:29:36
52211      7073675456      8/9/2011         13:19:27
52212      7073729072      2/18/2012        8:49:58
52213      7073731976      3/8/2012         20:31:28
52214      7073844091      5/6/2012         18:21:20
52215      7073844091      5/21/2012        8:18:57
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52216      7073844776      5/23/2012        14:48:51
52217      7073849496      10/8/2011        12:16:28
52218      7073863962      8/31/2011        11:09:48
52219      7073869541      6/21/2012        10:19:55
52220      7073913442      11/16/2011       10:11:58
52221      7073931089      9/19/2012        21:29:23
52222      7073931315      3/1/2012         17:37:36
52223      7073969147      7/13/2012        18:37:17
52224      7074078671      1/16/2012        17:37:27
52225      7074107796      9/3/2012         15:00:19
52226      7074139027      8/11/2011        10:28:47
52227      7074167468      2/28/2012        16:22:49
52228      7074253365      9/12/2011        13:34:28
52229      7074395442      9/21/2012        15:58:44
52230      7074396534      12/19/2011       9:10:14
52231      7074505101      12/20/2011       19:27:05
52232      7074505215      9/8/2012         11:46:31
52233      7074505872      3/29/2012        16:35:23
52234      7074507098      9/19/2011        14:56:39
52235      7074507777      9/21/2011        13:51:41
52236      7074546248      9/24/2011        10:06:00
52237      7074546957      10/20/2011       15:55:23
52238      7074572049      8/28/2012        21:57:02
52239      7074600194      9/26/2011        13:28:52
52240      7074619045      10/1/2012        13:38:24
52241      7074726878      1/8/2012         16:53:00
52242      7074727746      10/11/2012       18:42:28
52243      7074728513      11/2/2011        14:08:20
52244      7074772629      6/7/2012         12:48:42
52245      7074772970      12/20/2011       20:53:32
52246      7074776595      1/19/2012        18:32:19
52247      7074785684      9/13/2011        18:30:42
52248      7074786867      4/25/2012        21:22:32
52249      7074798978      12/28/2011       20:50:08
52250      7074808767      10/17/2011       10:04:26
52251      7074813267      3/26/2012        18:32:38
52252      7074837211      12/24/2011       11:32:49
52253      7074837762      1/3/2012         15:39:50
52254      7074843702      5/31/2012        15:02:46
52255      7074846996      8/6/2012         16:33:32
52256      7074852797      7/20/2012        7:30:27
52257      7074944530      9/30/2011        10:09:23
52258      7074955716      11/3/2011        18:06:57
52259      7074955797      2/29/2012        18:01:18
52260      7074961161      8/11/2012        12:29:56
52261      7074965454      11/4/2011        10:12:15
52262      7074967024      9/24/2011        10:05:34
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                                   #:12964

52263      7074967024      1/11/2012        11:02:46
52264      7074969291      4/23/2012        20:44:54
52265      7074969512      10/19/2012       11:34:54
52266      7074988030      9/14/2011        9:47:32
52267      7074988889      2/11/2012        11:27:25
52268      7074997729      11/16/2011       10:53:45
52269      7075086543      2/8/2012         13:05:14
52270      7075146848      5/11/2012        10:47:53
52271      7075148602      11/28/2011       17:05:21
52272      7075149153      5/24/2012        12:30:20
52273      7075297735      9/7/2012         15:55:54
52274      7075363339      4/16/2012        10:09:26
52275      7075365313      1/8/2012         16:48:52
52276      7075404264      9/13/2011        17:08:06
52277      7075486978      12/18/2011       16:28:58
52278      7075611617      9/19/2011        19:19:59
52279      7075637006      9/20/2011        20:39:56
52280      7075637815      7/9/2012         19:03:46
52281      7075672688      9/27/2011        18:56:55
52282      7075674889      6/26/2012        16:20:29
52283      7075675086      7/9/2012         10:54:05
52284      7075746619      11/16/2011       20:08:10
52285      7075808296      12/2/2011        15:30:09
52286      7075915207      5/17/2012        16:58:18
52287      7075926619      4/23/2012        20:44:20
52288      7075960363      8/24/2012        11:11:18
52289      7076016673      8/9/2012         21:59:22
52290      7076166012      9/27/2011        18:53:38
52291      7076166160      4/19/2012        14:39:57
52292      7076211073      8/11/2012        12:25:49
52293      7076212152      10/15/2011       11:15:16
52294      7076232133      3/22/2012        14:02:47
52295      7076232149      10/22/2011       12:51:48
52296      7076232418      4/4/2012         18:41:13
52297      7076233145      2/17/2012        10:44:23
52298      7076235018      7/18/2012        14:50:33
52299      7076235960      3/26/2012        14:54:42
52300      7076245902      9/27/2011        17:46:29
52301      7076245902      11/22/2011       19:01:19
52302      7076283727      4/23/2012        8:14:19
52303      7076377462      10/9/2012        12:48:57
52304      7076413319      4/14/2012        10:25:23
52305      7076413948      9/26/2012        13:06:16
52306      7076524952      10/3/2011        10:40:56
52307      7076550296      5/30/2012        12:58:58
52308      7076551085      11/4/2011        10:22:24
52309      7076551500      4/14/2012        10:23:46
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                                   #:12965

52310      7076551500      10/12/2012       21:29:49
52311      7076552182      6/15/2011        11:29:48
52312      7076555170      4/7/2012         12:19:42
52313      7076556109      7/23/2012        13:10:57
52314      7076565482      11/18/2011       13:19:32
52315      7076712417      2/3/2012         20:14:06
52316      7076712417      2/21/2012        20:56:17
52317      7076714153      3/16/2012        16:05:46
52318      7076714693      9/18/2012        14:20:41
52319      7076760977      4/25/2012        18:37:16
52320      7076940221      10/26/2011       12:36:06
52321      7076940221      11/11/2011       20:17:51
52322      7076941113      11/15/2011       20:17:30
52323      7076946561      2/17/2012        18:39:09
52324      7076948200      3/21/2012        13:39:06
52325      7076963144      2/29/2012        17:36:55
52326      7077030970      4/15/2012        17:54:25
52327      7077032897      10/18/2012       16:39:49
52328      7077032935      1/17/2012        18:50:01
52329      7077033843      9/23/2011        19:05:34
52330      7077037794      5/30/2012        16:50:47
52331      7077038284      8/14/2012        11:41:18
52332      7077038723      3/28/2012        12:40:08
52333      7077039850      9/8/2011         19:38:01
52334      7077048635      10/23/2012       16:12:43
52335      7077049492      6/15/2012        16:53:12
52336      7077121462      4/15/2012        17:52:25
52337      7077123246      9/29/2012        10:02:39
52338      7077123797      3/5/2012         11:03:38
52339      7077124774      11/8/2011        14:44:56
52340      7077125145      7/12/2012        13:24:30
52341      7077127566      4/10/2012        15:54:49
52342      7077182107      10/19/2011       12:26:57
52343      7077189032      12/9/2011        15:48:18
52344      7077207012      7/11/2012        17:23:39
52345      7077582328      7/11/2012        17:17:12
52346      7077586700      2/15/2012        14:38:13
52347      7077610100      9/18/2012        14:30:20
52348      7077619492      3/5/2012         10:58:32
52349      7077742036      2/17/2012        18:15:06
52350      7077742561      2/24/2012        21:48:45
52351      7077743688      6/16/2012        10:10:43
52352      7077744300      3/7/2012         18:26:28
52353      7077994119      9/20/2011        20:51:24
52354      7078032218      7/9/2012         19:18:07
52355      7078032997      4/23/2012        20:37:10
52356      7078127882      7/9/2011         10:09:45
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52357      7078129758      8/9/2012         14:13:50
52358      7078131141      3/30/2012        16:19:46
52359      7078138018      11/25/2011       18:01:58
52360      7078138018      3/6/2012         12:48:48
52361      7078152792      4/26/2012        17:45:56
52362      7078157537      10/10/2011       12:59:09
52363      7078410191      8/19/2011        12:30:31
52364      7078410420      4/4/2012         14:10:55
52365      7078410420      8/28/2012        21:55:30
52366      7078417014      12/20/2011       15:11:48
52367      7078432807      3/7/2012         10:03:14
52368      7078436610      7/26/2012        19:16:58
52369      7078438047      11/19/2011       10:34:22
52370      7078452177      7/11/2011        12:37:47
52371      7078453820      9/20/2011        16:55:59
52372      7078494963      6/25/2012        21:49:44
52373      7078498808      12/27/2011       14:42:57
52374      7078631252      6/29/2012        10:58:41
52375      7078882755      5/14/2012        15:23:53
52376      7079345449      11/21/2011       10:53:09
52377      7079347743      3/1/2012         21:54:58
52378      7079516404      1/23/2012        10:15:36
52379      7079516904      5/5/2011         13:27:02
52380      7079518740      8/30/2012        17:39:08
52381      7079537573      5/22/2012        18:48:38
52382      7079548885      9/20/2011        16:57:28
52383      7079719400      8/23/2012        11:46:34
52384      7079729213      10/10/2011       12:58:49
52385      7079729920      12/7/2011        16:34:00
52386      7079752482      10/22/2012       18:01:56
52387      7079801471      10/4/2011        13:26:38
52388      7079805741      3/15/2012        18:59:39
52389      7082030717      10/1/2011        10:47:49
52390      7082032182      10/3/2011        8:06:26
52391      7082034727      11/1/2011        8:52:10
52392      7082038149      9/11/2012        15:13:12
52393      7082046537      1/12/2012        14:31:43
52394      7082057229      5/17/2012        16:55:55
52395      7082058182      3/30/2012        16:18:17
52396      7082099717      3/26/2012        18:45:06
52397      7082123817      3/28/2012        17:12:06
52398      7082188181      12/29/2011       19:30:29
52399      7082203186      9/24/2011        9:46:09
52400      7082270900      9/8/2011         18:04:49
52401      7082274441      7/18/2012        8:32:53
52402      7082283878      10/3/2011        8:22:32
52403      7082286685      6/20/2012        17:00:40
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52404      7082289210      7/12/2012        19:53:02
52405      7082381681      6/22/2012        20:55:59
52406      7082441090      2/6/2012         17:00:16
52407      7082443266      2/21/2012        9:33:15
52408      7082444471      4/13/2012        13:19:20
52409      7082445596      2/20/2012        8:48:53
52410      7082449559      1/27/2012        11:58:06
52411      7082480137      6/18/2012        9:17:42
52412      7082480460      9/29/2011        15:47:20
52413      7082501606      10/20/2011       15:35:03
52414      7082501849      3/21/2011        11:50:00
52415      7082502861      9/18/2012        14:18:43
52416      7082505560      3/17/2012        9:01:39
52417      7082507510      3/3/2012         8:28:43
52418      7082533371      9/3/2012         14:33:33
52419      7082539010      11/3/2011        11:59:58
52420      7082569323      1/4/2012         11:24:53
52421      7082574796      2/11/2012        10:48:14
52422      7082577780      5/1/2012         17:44:15
52423      7082592432      10/14/2011       13:27:16
52424      7082592432      10/21/2011       12:43:36
52425      7082592439      4/11/2012        11:34:40
52426      7082593948      4/15/2012        17:11:45
52427      7082619715      4/21/2012        8:36:40
52428      7082622105      11/17/2011       16:56:26
52429      7082622862      11/16/2011       20:06:28
52430      7082623665      10/17/2011       8:10:23
52431      7082638501      9/27/2012        16:22:24
52432      7082676520      5/4/2012         15:19:11
52433      7082682128      2/2/2012         16:37:42
52434      7082683891      9/19/2011        19:34:39
52435      7082685229      9/16/2011        13:28:37
52436      7082692631      3/19/2011        10:41:48
52437      7082713151      10/8/2011        11:36:10
52438      7082720916      1/19/2012        8:10:52
52439      7082750939      10/3/2011        8:14:34
52440      7082751102      10/1/2011        9:57:22
52441      7082757218      10/28/2011       13:41:33
52442      7082758569      9/29/2011        15:51:57
52443      7082758569      1/12/2012        14:33:13
52444      7082801199      5/9/2012         9:03:18
52445      7082871776      6/7/2012         12:42:37
52446      7082882796      9/22/2011        15:27:18
52447      7082882930      9/13/2011        17:57:12
52448      7082883696      9/16/2011        13:15:14
52449      7082884164      10/10/2011       12:44:06
52450      7082884268      5/3/2012         8:16:30
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52451      7082889928      10/21/2011       13:26:55
52452      7082891251      12/18/2011       16:31:53
52453      7082892454      4/2/2012         17:13:51
52454      7082895282      8/8/2012         8:20:22
52455      7082895775      11/15/2011       16:53:42
52456      7082897272      9/17/2011        10:21:46
52457      7082899924      8/20/2012        18:54:08
52458      7082960820      1/19/2012        18:40:50
52459      7082964523      5/8/2012         17:18:00
52460      7082964523      5/21/2012        8:19:01
52461      7082968876      11/15/2011       20:06:26
52462      7082993948      4/28/2012        8:34:42
52463      7082994857      11/5/2011        11:24:24
52464      7082998334      11/10/2011       8:05:38
52465      7082999780      9/24/2012        14:38:30
52466      7083071045      3/13/2012        12:42:11
52467      7083073589      11/17/2011       15:38:32
52468      7083085691      5/16/2012        8:03:35
52469      7083235445      10/29/2011       11:46:06
52470      7083236396      3/15/2012        19:09:13
52471      7083236880      10/23/2012       10:55:30
52472      7083237022      10/21/2011       13:34:02
52473      7083238343      9/22/2012        9:39:19
52474      7083280780      4/11/2012        19:36:56
52475      7083360069      5/17/2012        11:59:35
52476      7083368222      10/18/2011       19:04:45
52477      7083434078      9/22/2012        9:43:30
52478      7083510640      6/5/2012         17:49:25
52479      7083512147      11/5/2011        11:19:27
52480      7083512928      10/11/2011       16:28:18
52481      7083513811      2/15/2012        8:14:48
52482      7083516029      11/26/2011       13:02:02
52483      7083516664      4/10/2012        16:19:25
52484      7083516882      2/13/2012        8:10:51
52485      7083518496      9/21/2012        15:30:26
52486      7083519499      11/10/2011       8:09:12
52487      7083551388      10/11/2012       11:54:20
52488      7083590170      12/21/2011       10:18:51
52489      7083590239      12/7/2011        13:52:57
52490      7083595398      10/25/2011       15:37:52
52491      7083596599      12/27/2011       14:36:25
52492      7083597153      4/13/2012        20:45:30
52493      7083599019      3/8/2012         20:26:00
52494      7083623349      6/20/2012        11:01:09
52495      7083623471      3/26/2012        18:43:41
52496      7083624109      7/2/2012         17:23:32
52497      7083635093      9/18/2012        14:27:44
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52498      7083690212      10/4/2011        13:51:42
52499      7083691143      11/12/2011       9:36:14
52500      7083691534      10/12/2012       16:56:27
52501      7083692399      1/6/2012         12:46:44
52502      7083695805      3/23/2012        14:36:05
52503      7083699618      12/10/2011       9:42:22
52504      7083722598      12/26/2011       9:33:42
52505      7083726667      2/15/2012        8:06:22
52506      7083729942      12/2/2011        8:09:54
52507      7083729942      4/27/2012        12:05:03
52508      7083739981      9/20/2011        16:46:26
52509      7083741829      4/9/2012         13:44:20
52510      7083742514      2/13/2012        18:32:07
52511      7083742940      7/31/2012        15:40:40
52512      7083744677      10/23/2012       10:31:58
52513      7083745810      3/19/2012        19:23:30
52514      7083749381      9/26/2012        8:10:55
52515      7084074893      8/4/2012         8:08:20
52516      7084074896      6/30/2011        8:58:48
52517      7084080331      10/11/2011       16:20:01
52518      7084086515      10/15/2012       16:21:56
52519      7084151190      5/24/2012        11:56:47
52520      7084151190      6/26/2012        8:02:58
52521      7084155519      6/18/2012        15:11:55
52522      7084214056      12/23/2011       13:27:56
52523      7084252654      10/12/2012       16:56:59
52524      7084264673      5/21/2012        8:01:06
52525      7084268942      1/6/2012         15:56:11
52526      7084390482      11/14/2011       17:12:01
52527      7084391285      9/27/2011        18:17:37
52528      7084391304      12/20/2011       15:09:45
52529      7084392286      11/15/2011       20:08:18
52530      7084394133      5/15/2012        19:15:34
52531      7084397353      10/5/2011        14:39:05
52532      7084398162      10/3/2011        8:17:05
52533      7084417570      9/23/2011        18:47:39
52534      7084419727      4/1/2012         17:04:51
52535      7084444444      9/19/2011        19:05:15
52536      7084444444      3/26/2012        15:10:59
52537      7084460512      7/25/2012        20:40:49
52538      7084462891      9/13/2011        13:34:30
52539      7084466417      7/23/2012        15:47:19
52540      7084669355      6/8/2012         8:10:27
52541      7084669587      2/9/2012         9:31:25
52542      7084766734      2/13/2012        8:13:12
52543      7084916036      3/25/2012        12:10:07
52544      7084916109      11/5/2011        10:07:28
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52545      7084918474      5/16/2012        17:04:42
52546      7084975835      6/20/2011        14:19:16
52547      7084978639      11/15/2011       16:32:47
52548      7085103717      6/28/2011        9:45:27
52549      7085105137      11/15/2011       16:32:56
52550      7085107022      6/7/2012         12:38:51
52551      7085134447      2/21/2012        20:53:24
52552      7085141678      6/20/2011        14:17:56
52553      7085156423      3/15/2012        19:06:25
52554      7085168978      10/19/2012       9:48:05
52555      7085271315      11/15/2011       20:14:49
52556      7085271754      1/19/2012        8:27:10
52557      7085272117      10/22/2011       12:36:04
52558      7085272805      9/13/2011        16:19:11
52559      7085360217      9/28/2011        10:27:01
52560      7085360399      4/23/2012        8:10:53
52561      7085360992      12/26/2011       20:24:34
52562      7085363390      12/23/2011       14:15:22
52563      7085391279      4/25/2012        9:49:11
52564      7085395357      11/26/2011       13:18:56
52565      7085395926      6/29/2012        9:40:56
52566      7085396774      4/14/2012        9:01:33
52567      7085396774      5/25/2012        17:09:57
52568      7085436636      8/17/2012        8:25:21
52569      7085437408      12/22/2011       9:44:28
52570      7085486462      2/13/2012        18:47:17
52571      7085604888      11/11/2011       20:03:16
52572      7085673022      7/14/2011        9:30:20
52573      7085674979      8/20/2011        10:27:19
52574      7085741953      4/7/2012         9:11:19
52575      7085742345      8/20/2012        18:36:23
52576      7085742468      10/16/2012       16:39:57
52577      7085749069      2/8/2012         12:52:51
52578      7085822729      12/23/2011       15:04:42
52579      7085909298      12/23/2011       15:06:47
52580      7085953232      7/3/2012         12:25:57
52581      7085955618      10/20/2012       16:30:30
52582      7085957851      10/5/2011        14:40:52
52583      7085958459      7/30/2011        8:36:42
52584      7086016476      10/24/2012       14:58:03
52585      7086069252      1/11/2012        16:23:27
52586      7086069252      1/16/2012        20:19:02
52587      7086121468      8/21/2012        14:01:31
52588      7086125058      12/20/2011       9:24:07
52589      7086125058      1/11/2012        8:50:26
52590      7086125214      9/17/2011        9:46:25
52591      7086126045      4/27/2012        9:43:32
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52592      7086126430      9/23/2011        18:48:35
52593      7086127277      9/16/2011        13:28:48
52594      7086128242      2/8/2012         13:07:24
52595      7086235174      8/11/2011        12:08:33
52596      7086256263      4/23/2012        20:34:26
52597      7086298801      10/15/2011       9:31:32
52598      7086425000      11/18/2011       12:54:44
52599      7086457045      5/14/2011        15:08:43
52600      7086463269      5/25/2012        17:09:58
52601      7086463454      3/20/2012        17:49:04
52602      7086468031      8/1/2012         20:13:21
52603      7086532090      4/7/2012         9:32:32
52604      7086536025      9/27/2011        18:15:23
52605      7086546719      11/4/2011        8:45:14
52606      7086547891      5/12/2012        10:43:05
52607      7086548318      6/7/2012         12:42:06
52608      7086550192      4/10/2012        15:44:18
52609      7086552792      3/21/2011        11:43:28
52610      7086556566      8/3/2012         12:36:10
52611      7086556730      6/8/2012         8:10:20
52612      7086631374      10/1/2012        13:47:17
52613      7086631423      7/30/2012        13:37:56
52614      7086631910      1/7/2012         9:40:31
52615      7086632663      4/28/2012        8:16:02
52616      7086682036      9/13/2011        17:50:24
52617      7086704872      11/26/2011       13:17:23
52618      7086749983      9/27/2011        18:11:57
52619      7086917737      11/15/2011       16:35:08
52620      7086917737      12/9/2011        16:08:32
52621      7086922843      2/11/2012        11:19:06
52622      7086925210      11/8/2013        8:54:40
52623      7086925291      10/22/2011       13:12:13
52624      7086992271      11/15/2011       15:44:56
52625      7087025339      10/6/2011        17:08:42
52626      7087050635      3/19/2011        10:42:03
52627      7087052805      9/13/2011        16:11:57
52628      7087103835      9/3/2012         14:32:56
52629      7087151752      10/27/2011       15:58:15
52630      7087155226      11/1/2011        8:13:33
52631      7087177478      11/16/2011       19:59:43
52632      7087177652      10/4/2011        13:18:29
52633      7087177672      11/4/2011        8:55:50
52634      7087240121      6/15/2012        16:52:18
52635      7087240268      10/12/2011       8:38:37
52636      7087240507      10/31/2011       8:20:12
52637      7087244859      1/17/2012        9:42:28
52638      7087248378      7/6/2012         14:50:00
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52639      7087285748      10/21/2011       12:48:47
52640      7087336686      12/9/2011        8:04:12
52641      7087339192      10/17/2012       9:43:27
52642      7087381619      1/16/2012        17:30:39
52643      7087386303      5/11/2012        18:30:29
52644      7087436935      1/8/2012         13:10:48
52645      7087437849      12/2/2011        8:17:55
52646      7087438470      6/14/2012        20:46:55
52647      7087523742      5/18/2012        11:47:11
52648      7087523936      4/13/2012        13:39:37
52649      7087525479      9/21/2012        15:55:49
52650      7087547753      12/27/2011       14:39:16
52651      7087670168      9/19/2011        19:15:36
52652      7087684426      5/19/2012        9:35:17
52653      7087691650      11/12/2011       10:43:16
52654      7087692095      8/25/2012        11:16:06
52655      7087692115      4/21/2011        12:02:39
52656      7087695876      7/30/2012        13:39:40
52657      7087746986      3/27/2012        15:05:54
52658      7087749295      1/19/2012        18:36:05
52659      7087801476      6/26/2012        8:03:26
52660      7087818063      9/20/2011        16:50:16
52661      7087851713      8/2/2012         18:56:26
52662      7087853682      9/24/2012        19:17:14
52663      7087855427      1/23/2012        8:27:30
52664      7087855427      10/3/2012        19:49:31
52665      7087859772      9/11/2012        15:08:59
52666      7087895202      2/2/2012         16:34:07
52667      7088042696      10/11/2011       16:29:38
52668      7088059717      9/27/2012        8:42:04
52669      7088133455      11/14/2011       17:33:09
52670      7088221062      1/20/2012        11:34:25
52671      7088221062      1/27/2012        12:01:26
52672      7088254814      10/5/2011        14:11:02
52673      7088258453      1/21/2014        8:44:04
52674      7088297389      10/28/2011       13:30:32
52675      7088331535      11/18/2011       13:25:43
52676      7088332072      3/25/2012        12:03:15
52677      7088332590      9/23/2011        18:47:44
52678      7088333013      5/20/2012        15:38:06
52679      7088339844      12/23/2011       14:41:11
52680      7088566487      1/8/2012         13:15:09
52681      7088602062      12/31/2011       12:07:39
52682      7088701107      10/10/2011       11:56:14
52683      7088701107      10/17/2011       8:42:13
52684      7088701107      11/14/2011       17:16:57
52685      7088702493      8/7/2012         19:48:40
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52686      7088702613      6/16/2012        8:38:19
52687      7088703086      10/5/2011        14:42:45
52688      7088904369      3/23/2011        20:13:09
52689      7088904694      10/8/2011        9:53:52
52690      7088905143      3/23/2012        11:36:37
52691      7088907096      10/5/2012        18:23:40
52692      7088908343      10/24/2012       15:03:06
52693      7088909618      10/15/2011       10:33:18
52694      7088909618      11/15/2011       20:07:25
52695      7089212211      12/10/2011       9:12:08
52696      7089212965      7/14/2011        16:20:51
52697      7089252575      4/23/2012        20:35:17
52698      7089256434      3/14/2012        14:06:39
52699      7089279185      1/31/2012        10:10:24
52700      7089281099      9/30/2011        10:19:27
52701      7089281099      10/18/2011       12:59:44
52702      7089281099      12/5/2011        11:00:22
52703      7089282182      7/11/2012        17:13:47
52704      7089326752      10/11/2012       18:40:01
52705      7089417336      11/14/2011       17:03:33
52706      7089417336      12/23/2011       13:16:19
52707      7089450143      2/11/2012        15:07:48
52708      7089455741      9/15/2011        9:16:09
52709      7089539449      9/14/2011        11:56:27
52710      7089547959      12/26/2011       19:59:36
52711      7089547959      5/22/2012        18:40:05
52712      7089553007      1/23/2012        19:16:27
52713      7089553551      12/16/2011       16:24:33
52714      7089555370      2/2/2012         16:41:05
52715      7089652209      6/18/2012        15:13:33
52716      7089690489      9/21/2012        16:00:26
52717      7089690833      9/23/2011        18:48:54
52718      7089692811      7/27/2012        13:27:26
52719      7089695047      10/28/2011       14:22:44
52720      7089696030      9/14/2011        10:11:25
52721      7089796422      9/13/2012        15:21:04
52722      7089856359      10/16/2012       20:32:47
52723      7089902698      10/18/2012       16:45:21
52724      7122024667      10/5/2011        14:40:25
52725      7122044692      5/14/2012        8:06:03
52726      7122047699      7/12/2011        11:44:35
52727      7122047771      11/23/2011       14:38:48
52728      7122047780      1/7/2012         9:20:23
52729      7122048586      7/22/2011        12:53:03
52730      7122048718      3/15/2012        14:00:05
52731      7122048718      3/30/2012        16:18:28
52732      7122093380      12/29/2011       19:28:23
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52733      7122101910      9/27/2011        18:48:56
52734      7122103531      1/20/2012        19:27:30
52735      7122104489      1/6/2012         15:01:29
52736      7122105040      8/6/2012         16:35:13
52737      7122121055      11/4/2011        8:38:01
52738      7122152385      10/1/2011        10:42:50
52739      7122152385      10/24/2011       8:05:22
52740      7122155252      10/8/2011        9:54:19
52741      7122290708      8/12/2011        11:01:42
52742      7122300720      10/4/2011        13:17:08
52743      7122427935      8/23/2011        19:21:19
52744      7122496515      7/16/2012        9:33:18
52745      7122536301      3/28/2012        18:17:02
52746      7122540930      7/3/2012         12:25:44
52747      7122592457      12/5/2011        10:03:29
52748      7122670280      3/27/2012        15:04:37
52749      7122697775      10/12/2011       12:10:09
52750      7122912123      1/3/2012         10:58:51
52751      7122980511      10/13/2011       8:35:11
52752      7122982403      5/30/2012        16:58:23
52753      7123010590      6/5/2012         17:58:04
52754      7123012321      7/2/2012         17:08:53
52755      7123014267      7/23/2012        15:21:13
52756      7123044472      8/16/2012        9:25:54
52757      7123044954      8/30/2012        9:45:05
52758      7123044972      9/22/2011        15:07:07
52759      7123070028      3/25/2011        9:49:23
52760      7123081351      12/18/2011       17:26:25
52761      7123084869      7/13/2012        18:28:49
52762      7123092576      3/2/2012         19:03:27
52763      7123092576      3/7/2012         18:31:48
52764      7123095517      10/29/2011       10:54:32
52765      7123095517      11/18/2011       12:27:37
52766      7123095627      4/27/2012        12:28:45
52767      7123098524      9/26/2012        15:25:39
52768      7123104002      8/13/2012        20:51:26
52769      7123141991      10/12/2011       8:15:30
52770      7123144605      12/5/2011        9:39:54
52771      7123149179      2/10/2012        20:33:58
52772      7123149524      10/19/2011       12:01:10
52773      7123265795      10/3/2012        20:01:55
52774      7123268378      3/26/2012        14:59:25
52775      7123268378      3/29/2012        16:32:50
52776      7123333950      3/7/2012         18:33:12
52777      7123334684      4/23/2012        20:42:40
52778      7123391176      2/21/2012        20:53:29
52779      7123467987      7/24/2012        20:31:03
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52780      7123550880      3/23/2012        11:21:56
52781      7123551619      5/7/2012         17:56:23
52782      7123552228      2/9/2012         9:37:49
52783      7123584804      12/19/2011       8:06:53
52784      7123702937      5/2/2012         13:28:31
52785      7123892906      11/5/2011        11:33:20
52786      7124412661      11/1/2011        8:12:58
52787      7124445669      2/21/2012        17:52:02
52788      7124800403      11/22/2011       19:34:35
52789      7124903887      9/7/2012         15:52:51
52790      7124908801      12/18/2011       17:06:20
52791      7125201954      4/15/2012        15:16:00
52792      7125203015      9/20/2011        16:46:34
52793      7125400897      7/16/2011        9:09:40
52794      7125415479      12/7/2011        14:08:31
52795      7125415479      12/27/2011       14:36:18
52796      7125415593      9/23/2011        11:44:48
52797      7125419956      3/13/2012        14:06:15
52798      7125419958      3/12/2012        16:52:07
52799      7125606038      9/10/2011        8:31:43
52800      7125744375      3/26/2011        11:03:57
52801      7125772860      2/13/2012        8:05:07
52802      7125777059      2/3/2012         20:15:19
52803      7125778465      5/5/2011         13:20:49
52804      7125778924      9/20/2011        20:43:14
52805      7126354145      10/16/2012       20:29:30
52806      7127899818      6/29/2012        9:44:39
52807      7128303998      7/21/2011        13:42:48
52808      7128308736      11/30/2011       8:13:26
52809      7128309820      1/25/2012        9:22:51
52810      7132018384      9/21/2011        19:30:34
52811      7132021998      8/13/2012        20:52:55
52812      7132023173      10/18/2011       13:06:49
52813      7132023905      9/24/2012        12:53:57
52814      7132025426      5/1/2012         8:23:51
52815      7132046425      9/1/2012         9:22:44
52816      7132054446      10/28/2011       13:31:43
52817      7132060451      6/25/2011        7:57:36
52818      7132064868      1/7/2012         9:30:34
52819      7132066418      9/7/2011         14:46:49
52820      7132087094      9/12/2011        14:19:41
52821      7132088471      9/13/2011        17:49:56
52822      7132131092      3/26/2012        18:42:51
52823      7132131355      10/19/2011       12:11:24
52824      7132131529      10/1/2011        10:40:12
52825      7132131708      7/9/2011         8:25:40
52826      7132139432      8/13/2011        10:01:06
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52827      7132269871      1/24/2012        20:07:35
52828      7132270970      3/3/2012         9:01:01
52829      7132270970      3/13/2012        18:51:33
52830      7132313783      12/22/2011       8:32:28
52831      7132316736      1/5/2012         17:28:52
52832      7132317542      11/29/2011       15:42:12
52833      7132317549      12/23/2011       15:08:57
52834      7132317558      12/26/2011       9:31:27
52835      7132318428      10/6/2011        17:45:23
52836      7132318872      11/5/2011        11:36:30
52837      7132350598      9/19/2011        19:14:30
52838      7132401298      5/14/2012        15:36:19
52839      7132402658      12/6/2011        13:24:29
52840      7132403487      10/10/2011       12:51:38
52841      7132407389      10/3/2011        8:26:27
52842      7132407403      5/2/2012         13:15:43
52843      7132408108      3/26/2011        11:03:36
52844      7132456510      12/6/2011        12:58:25
52845      7132480010      2/20/2012        17:11:58
52846      7132484743      2/2/2012         16:31:17
52847      7132494257      9/20/2011        16:45:58
52848      7132494733      9/20/2011        18:34:33
52849      7132496827      6/2/2011         11:19:00
52850      7132520824      3/26/2012        18:29:24
52851      7132521036      6/13/2012        20:00:21
52852      7132521036      6/19/2012        15:48:10
52853      7132522639      3/16/2012        15:54:06
52854      7132525349      8/2/2012         11:39:34
52855      7132526930      10/17/2011       8:16:05
52856      7132528722      5/17/2012        11:42:48
52857      7132530012      9/8/2011         18:54:46
52858      7132533687      1/20/2012        20:29:30
52859      7132535172      10/4/2011        13:54:18
52860      7132539777      1/19/2012        18:40:10
52861      7132542669      9/15/2011        9:17:04
52862      7132545094      2/29/2012        17:31:46
52863      7132562641      8/6/2012         16:37:17
52864      7132569015      10/1/2012        8:15:07
52865      7132573890      12/28/2011       8:40:12
52866      7132573890      3/29/2012        16:40:54
52867      7132593215      3/20/2012        9:16:55
52868      7132595383      10/25/2011       16:21:13
52869      7132595772      11/17/2011       14:25:50
52870      7132596096      12/21/2011       19:49:09
52871      7132596364      4/7/2012         9:35:00
52872      7132613066      2/1/2014         15:15:47
52873      7132613152      6/21/2012        10:15:27
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52874      7132613673      10/12/2011       8:32:38
52875      7132691384      1/10/2012        18:12:22
52876      7132692928      10/12/2011       8:45:09
52877      7132693038      5/24/2012        12:36:02
52878      7132694475      10/10/2012       19:22:46
52879      7132695047      9/15/2011        8:42:45
52880      7132699762      12/9/2011        8:16:20
52881      7132774253      10/15/2011       10:45:31
52882      7132774361      4/1/2012         16:11:08
52883      7132774607      10/7/2011        8:08:25
52884      7132774880      10/28/2011       13:37:39
52885      7132832201      5/3/2012         8:09:38
52886      7132832749      4/11/2012        13:18:50
52887      7132834477      9/19/2011        8:18:07
52888      7132910735      9/21/2012        15:54:38
52889      7132912059      12/16/2011       15:43:00
52890      7132914777      5/21/2012        8:13:40
52891      7132915064      3/16/2012        16:39:41
52892      7132915163      1/24/2012        17:07:32
52893      7132919740      11/11/2011       20:21:24
52894      7132926870      10/25/2011       15:30:42
52895      7132940226      10/8/2011        10:06:40
52896      7132940496      9/29/2011        15:21:48
52897      7132943145      6/13/2012        8:05:26
52898      7132943563      12/29/2011       19:36:09
52899      7132945320      10/3/2012        8:04:40
52900      7132947559      5/9/2012         16:13:05
52901      7132947559      10/16/2012       20:25:04
52902      7132948747      10/18/2012       8:08:12
52903      7132948845      2/6/2012         17:20:24
52904      7132960316      12/29/2011       19:36:36
52905      7132985532      5/16/2012        9:27:49
52906      7132990225      11/25/2011       17:50:23
52907      7132990547      10/22/2011       12:40:23
52908      7132991489      6/29/2012        9:42:06
52909      7132991489      7/5/2012         15:33:05
52910      7133019985      2/2/2012         16:32:31
52911      7133027269      11/17/2011       14:21:13
52912      7133031540      5/17/2012        16:57:42
52913      7133033154      2/13/2012        18:47:30
52914      7133040949      9/13/2011        18:00:53
52915      7133043647      3/26/2012        15:10:48
52916      7133044879      12/7/2011        14:23:58
52917      7133048657      2/28/2012        13:17:42
52918      7133048834      6/12/2012        8:30:20
52919      7133053252      5/23/2012        14:47:20
52920      7133058437      9/21/2011        11:35:39
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52921      7133062045      9/8/2011         19:50:48
52922      7133062240      5/11/2012        18:34:27
52923      7133063265      1/18/2012        16:40:46
52924      7133066519      12/27/2011       14:37:47
52925      7133069493      9/21/2012        18:41:42
52926      7133069538      3/28/2011        15:31:26
52927      7133140933      1/13/2012        17:27:33
52928      7133146953      9/17/2011        9:45:37
52929      7133194323      9/24/2011        9:48:07
52930      7133195091      10/7/2011        8:14:46
52931      7133195893      10/25/2011       16:20:30
52932      7133197946      10/31/2013       9:33:50
52933      7133198837      4/12/2012        12:20:36
52934      7133200063      1/20/2012        14:19:08
52935      7133200417      2/6/2012         20:28:58
52936      7133203080      8/6/2012         15:03:13
52937      7133289469      11/5/2011        11:31:17
52938      7133289834      10/28/2011       14:23:31
52939      7133363465      11/22/2011       19:50:08
52940      7133363799      5/22/2012        18:35:58
52941      7133390116      3/13/2012        18:32:00
52942      7133390613      5/21/2012        17:51:05
52943      7133443846      6/21/2012        10:05:15
52944      7133444958      11/11/2011       20:18:57
52945      7133444980      8/10/2012        8:22:27
52946      7133445874      10/26/2011       13:05:23
52947      7133445874      3/14/2012        19:56:47
52948      7133447981      9/13/2011        13:29:54
52949      7133450709      8/22/2012        11:13:02
52950      7133493142      9/6/2012         12:24:06
52951      7133494499      8/9/2011         13:19:36
52952      7133494499      10/18/2011       12:28:11
52953      7133519323      10/3/2011        8:14:26
52954      7133550337      2/8/2012         12:49:47
52955      7133550457      10/25/2012       12:27:44
52956      7133631468      5/26/2012        8:40:01
52957      7133634981      1/23/2012        8:23:12
52958      7133661465      11/5/2011        10:20:35
52959      7133661761      6/23/2012        16:15:35
52960      7133662105      3/26/2012        15:10:34
52961      7133662460      12/26/2011       20:03:27
52962      7133672742      1/17/2012        18:35:30
52963      7133673682      4/28/2012        8:28:55
52964      7133673884      9/19/2011        19:31:27
52965      7133674099      9/17/2011        9:42:40
52966      7133675114      1/20/2012        11:32:10
52967      7133677599      2/2/2012         18:59:04
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52968      7133677661      10/19/2012       19:04:06
52969      7133679864      2/10/2012        20:39:46
52970      7133712266      1/13/2012        17:26:17
52971      7133716280      5/14/2011        11:59:54
52972      7133732282      8/14/2012        11:39:21
52973      7133736066      3/14/2012        19:33:21
52974      7133739070      5/21/2012        8:13:35
52975      7133745549      12/28/2011       20:44:07
52976      7133761306      3/5/2012         8:16:30
52977      7133764099      4/19/2012        20:28:10
52978      7133769789      8/8/2011         15:31:47
52979      7133769789      9/20/2011        18:20:51
52980      7133769789      9/26/2011        9:30:49
52981      7133774122      7/5/2012         10:40:52
52982      7133778053      3/12/2012        11:21:14
52983      7133781804      5/25/2012        17:10:26
52984      7133820317      9/20/2012        21:00:31
52985      7133828621      3/28/2012        8:18:19
52986      7133841388      3/18/2014        12:45:01
52987      7133844475      4/23/2012        20:40:59
52988      7133844545      8/30/2012        17:44:53
52989      7133844722      4/6/2012         15:40:02
52990      7133845165      10/16/2012       16:40:01
52991      7133845302      5/29/2012        17:05:41
52992      7133845768      10/8/2011        11:37:51
52993      7133845965      7/23/2012        13:08:37
52994      7133845965      8/3/2012         12:39:07
52995      7133846647      7/26/2012        19:20:40
52996      7133850961      3/28/2012        18:25:14
52997      7133851239      7/31/2012        15:41:50
52998      7133854431      2/2/2012         16:40:42
52999      7133854431      5/21/2012        8:16:03
53000      7133857734      10/18/2012       16:39:49
53001      7133915768      9/13/2011        13:53:52
53002      7133923480      2/7/2012         8:07:08
53003      7133925006      9/24/2011        9:24:03
53004      7133926746      4/4/2012         18:49:20
53005      7133926931      8/25/2012        11:14:47
53006      7133972500      6/9/2012         10:31:48
53007      7133975109      1/10/2012        15:18:28
53008      7133988398      6/4/2012         8:18:45
53009      7133988889      5/16/2012        9:27:47
53010      7133988889      5/21/2012        8:04:26
53011      7133988889      5/21/2012        8:19:21
53012      7134017365      5/23/2012        16:47:24
53013      7134029438      2/28/2012        15:54:42
53014      7134029790      11/18/2011       13:29:08
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53015      7134080047      10/13/2012       8:57:53
53016      7134080449      4/4/2012         18:53:05
53017      7134080449      4/14/2012        9:27:57
53018      7134080449      6/8/2012         16:56:43
53019      7134086844      6/12/2012        8:00:42
53020      7134091291      9/30/2011        9:51:39
53021      7134092159      11/30/2011       8:12:26
53022      7134097417      8/31/2012        16:29:30
53023      7134098095      1/30/2012        8:05:12
53024      7134098095      2/6/2012         17:20:34
53025      7134099681      6/1/2012         9:17:25
53026      7134101303      1/13/2012        12:29:43
53027      7134102200      6/27/2012        18:00:06
53028      7134102200      7/12/2012        19:52:48
53029      7134102200      7/30/2012        18:46:43
53030      7134121572      4/26/2012        11:38:35
53031      7134122653      8/3/2011         12:31:44
53032      7134124755      10/12/2011       8:05:05
53033      7134169936      9/14/2012        8:05:18
53034      7134170009      11/23/2011       10:28:44
53035      7134170580      5/10/2012        15:04:46
53036      7134170753      6/25/2012        13:46:59
53037      7134170753      9/26/2012        15:28:14
53038      7134178942      3/7/2012         9:45:54
53039      7134272101      3/27/2012        14:55:06
53040      7134279168      5/24/2012        11:54:35
53041      7134292004      1/24/2012        17:05:15
53042      7134292004      3/12/2012        19:09:31
53043      7134292004      9/27/2012        16:40:38
53044      7134293694      10/11/2012       18:40:21
53045      7134306822      10/18/2011       13:03:00
53046      7134379597      8/12/2012        13:45:49
53047      7134383740      12/9/2011        8:31:56
53048      7134430639      10/13/2011       8:25:55
53049      7134433285      11/25/2011       18:24:49
53050      7134435572      7/14/2012        8:11:58
53051      7134435927      12/7/2011        17:51:46
53052      7134437081      10/27/2011       16:52:24
53053      7134439904      1/4/2012         11:04:25
53054      7134440346      11/16/2011       20:06:54
53055      7134446077      6/24/2011        11:31:32
53056      7134460723      3/6/2012         17:13:25
53057      7134461243      2/7/2012         20:20:47
53058      7134461243      6/29/2012        17:45:06
53059      7134463482      4/1/2011         11:36:19
53060      7134464025      12/6/2011        7:27:46
53061      7134464987      10/1/2011        10:38:30
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53062      7134466490      9/23/2011        19:03:01
53063      7134470914      12/2/2011        15:27:46
53064      7134472929      12/30/2011       17:06:21
53065      7134473407      11/19/2011       8:54:10
53066      7134476014      6/9/2012         10:36:36
53067      7134477493      11/15/2011       20:07:09
53068      7134490833      2/12/2012        15:44:58
53069      7134491897      9/30/2011        10:05:16
53070      7134491953      11/14/2011       17:29:29
53071      7134493035      11/15/2011       16:24:31
53072      7134493352      10/12/2011       8:18:21
53073      7134493356      1/16/2012        8:24:20
53074      7134495908      7/29/2011        20:22:16
53075      7134498424      12/20/2011       19:21:17
53076      7134498584      10/3/2011        8:18:14
53077      7134520296      2/10/2012        9:26:45
53078      7134529463      9/20/2011        16:44:59
53079      7134549924      5/23/2011        16:04:21
53080      7134560240      7/21/2011        14:15:43
53081      7134580683      7/18/2011        11:10:06
53082      7134592994      9/28/2011        10:30:18
53083      7134596743      12/26/2011       20:07:01
53084      7134597014      7/9/2012         19:13:34
53085      7134597753      9/13/2011        18:05:23
53086      7134598160      12/18/2011       16:53:21
53087      7134598326      5/10/2011        19:27:41
53088      7134599329      5/3/2012         8:18:55
53089      7134599889      12/3/2011        9:20:48
53090      7134710197      3/6/2012         20:29:11
53091      7134712943      9/8/2011         19:50:10
53092      7134717954      6/16/2012        15:15:45
53093      7134719557      3/2/2012         19:02:25
53094      7134720222      12/15/2011       8:47:23
53095      7134740766      12/23/2011       14:32:39
53096      7134761893      3/7/2012         9:42:49
53097      7134762235      11/10/2011       8:09:20
53098      7134785899      7/2/2012         17:09:06
53099      7134785899      7/6/2012         16:55:16
53100      7134786249      11/2/2011        13:58:30
53101      7134786249      11/18/2011       13:25:08
53102      7134786529      5/3/2012         8:12:49
53103      7134786956      7/30/2012        13:35:02
53104      7134788181      9/21/2011        11:58:07
53105      7134789151      11/9/2011        8:29:18
53106      7134789290      1/12/2012        14:05:26
53107      7134801137      10/5/2011        14:46:17
53108      7134805505      7/23/2011        14:00:24
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53109      7134805771      8/29/2012        11:12:32
53110      7134830073      11/19/2011       8:53:53
53111      7134859498      11/26/2011       12:00:36
53112      7134921105      7/15/2011        17:40:39
53113      7134931055      10/27/2011       16:40:29
53114      7134934322      12/21/2011       10:17:02
53115      7134934322      3/9/2012         9:13:55
53116      7134934322      5/21/2012        8:16:28
53117      7134934542      12/26/2011       19:59:16
53118      7134939570      11/19/2011       9:02:05
53119      7134940039      12/17/2011       12:06:37
53120      7134942520      10/10/2011       12:38:55
53121      7134980567      3/14/2012        14:46:48
53122      7134980931      5/21/2012        8:15:57
53123      7134982722      9/19/2011        8:14:35
53124      7134984056      10/3/2011        8:26:22
53125      7134984136      11/17/2011       16:50:17
53126      7134984772      5/28/2012        8:59:38
53127      7134990472      4/19/2012        14:33:07
53128      7135021067      2/20/2012        17:08:49
53129      7135026498      11/17/2011       16:31:34
53130      7135032157      10/26/2011       13:32:29
53131      7135038601      9/22/2011        15:19:42
53132      7135040015      2/29/2012        17:31:52
53133      7135041902      10/6/2012        8:53:57
53134      7135044887      10/26/2011       13:02:12
53135      7135050934      9/28/2011        10:25:32
53136      7135052285      4/1/2011         12:52:11
53137      7135054109      1/27/2012        18:03:37
53138      7135056564      10/1/2011        9:56:17
53139      7135057593      5/3/2012         8:14:24
53140      7135057828      7/16/2012        9:26:16
53141      7135058078      9/12/2011        14:15:45
53142      7135058286      2/28/2012        13:18:59
53143      7135143131      2/6/2012         16:59:59
53144      7135144211      6/8/2012         19:42:20
53145      7135146599      11/18/2011       13:33:01
53146      7135158227      2/8/2012         13:08:26
53147      7135173413      9/19/2011        19:15:07
53148      7135175122      11/22/2011       18:44:36
53149      7135176009      10/22/2011       13:08:40
53150      7135177331      7/9/2012         8:49:56
53151      7135178219      1/26/2012        10:14:44
53152      7135178484      4/23/2011        10:31:41
53153      7135182052      10/13/2012       9:18:08
53154      7135182933      11/11/2011       20:22:07
53155      7135183052      5/11/2011        17:03:01
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53156      7135184705      5/24/2012        20:06:07
53157      7135300660      6/6/2012         8:16:52
53158      7135301385      3/26/2012        14:31:36
53159      7135307607      7/30/2012        13:17:54
53160      7135307920      2/28/2012        13:18:57
53161      7135308907      7/11/2012        9:38:07
53162      7135394633      9/10/2011        9:09:31
53163      7135395754      2/2/2012         16:40:30
53164      7135395768      3/19/2012        11:43:02
53165      7135397141      10/24/2011       8:05:47
53166      7135397718      1/27/2012        17:47:22
53167      7135400848      8/17/2011        18:49:56
53168      7135429433      12/6/2011        13:29:10
53169      7135431308      10/27/2011       16:53:21
53170      7135431978      10/9/2012        11:47:21
53171      7135452269      5/7/2012         8:17:01
53172      7135453613      1/7/2012         9:21:50
53173      7135454304      11/12/2011       10:38:10
53174      7135457765      12/18/2011       17:00:40
53175      7135483830      4/27/2012        9:43:43
53176      7135487529      7/31/2012        15:40:17
53177      7135500319      12/19/2011       8:19:32
53178      7135503074      9/29/2011        15:16:15
53179      7135530038      1/5/2012         17:29:32
53180      7135533476      3/6/2012         16:02:49
53181      7135533576      9/8/2011         18:12:33
53182      7135579773      12/27/2011       13:54:31
53183      7135601003      6/23/2012        16:15:29
53184      7135603207      10/6/2011        16:34:40
53185      7135608959      12/12/2011       16:38:37
53186      7135621356      9/1/2011         8:21:13
53187      7135622318      6/6/2012         8:20:29
53188      7135624720      7/15/2011        17:41:38
53189      7135626411      9/23/2011        11:42:47
53190      7135628388      9/27/2011        18:48:52
53191      7135660403      12/21/2011       19:48:14
53192      7135660483      12/12/2011       16:29:28
53193      7135691119      1/5/2012         12:06:30
53194      7135698143      11/9/2011        8:02:02
53195      7135766049      11/11/2011       20:21:10
53196      7135820609      9/3/2012         14:54:16
53197      7135824979      12/1/2011        8:01:51
53198      7135825701      3/26/2011        12:21:40
53199      7135829993      10/22/2011       12:36:24
53200      7135840859      10/22/2011       13:12:22
53201      7135843428      6/24/2011        12:15:44
53202      7135845437      7/3/2012         13:26:27
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53203      7135847192      5/4/2012         14:51:45
53204      7135851286      9/13/2011        13:37:30
53205      7135851544      7/15/2011        17:44:14
53206      7135851976      11/28/2011       17:00:02
53207      7135856990      10/5/2011        14:14:23
53208      7135911435      12/7/2011        13:31:53
53209      7135912833      8/7/2012         17:42:00
53210      7135913003      3/23/2012        14:26:26
53211      7135913425      5/31/2012        15:13:21
53212      7135942981      3/27/2012        15:51:20
53213      7135945161      5/17/2012        16:40:08
53214      7135945161      5/21/2012        8:04:39
53215      7135948349      11/10/2011       8:09:07
53216      7135983809      10/3/2011        8:12:25
53217      7135987232      10/28/2011       13:34:10
53218      7136240786      1/23/2012        19:47:47
53219      7136283192      5/9/2012         8:37:27
53220      7136322646      10/31/2011       8:30:30
53221      7136322897      10/16/2012       8:48:20
53222      7136349084      10/13/2011       8:25:27
53223      7136471614      7/11/2012        9:42:47
53224      7136533862      5/31/2012        17:47:53
53225      7136575504      6/27/2012        12:06:08
53226      7136579200      4/20/2011        20:00:53
53227      7136585018      4/4/2011         14:16:32
53228      7136585018      9/8/2011         19:50:31
53229      7136585357      5/17/2012        16:55:04
53230      7136585438      1/28/2012        8:15:12
53231      7136585768      5/6/2012         18:24:35
53232      7136585768      6/15/2012        16:38:29
53233      7136704584      12/7/2011        13:27:02
53234      7136706020      3/20/2012        17:42:59
53235      7136706978      10/20/2011       16:20:27
53236      7136774344      10/15/2011       10:44:13
53237      7136779074      8/11/2011        9:30:35
53238      7136779126      11/4/2011        15:31:12
53239      7136790657      3/30/2012        9:42:39
53240      7136790657      4/22/2012        15:25:12
53241      7136790657      6/23/2012        8:34:48
53242      7136793824      7/21/2011        13:41:30
53243      7136794481      4/20/2012        14:07:26
53244      7136799322      8/13/2012        8:36:17
53245      7136799540      1/24/2012        17:20:48
53246      7136890289      10/14/2011       12:58:49
53247      7137020723      6/29/2011        17:07:10
53248      7137022926      9/15/2011        9:13:20
53249      7137024951      9/22/2011        15:23:09
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53250      7137028617      11/5/2011        11:20:02
53251      7137037225      12/1/2011        15:02:19
53252      7137052663      12/20/2011       19:29:00
53253      7137055205      5/16/2011        12:41:08
53254      7137240458      10/19/2012       19:09:51
53255      7137244367      5/9/2012         16:13:44
53256      7137247064      5/18/2012        15:41:19
53257      7137252412      12/29/2011       14:22:51
53258      7137252412      5/23/2012        16:49:12
53259      7137253834      5/17/2012        11:51:30
53260      7137254942      12/27/2011       14:35:15
53261      7137266090      11/26/2011       13:22:25
53262      7137266293      6/11/2012        8:16:39
53263      7137321064      9/8/2011         19:34:10
53264      7137321257      2/13/2012        8:03:43
53265      7137321632      11/15/2011       16:26:31
53266      7137322500      1/3/2012         16:35:40
53267      7137322973      9/13/2012        15:22:23
53268      7137327814      5/23/2012        14:46:27
53269      7137327988      4/18/2012        17:52:02
53270      7137329089      9/20/2011        16:48:23
53271      7137540957      2/18/2012        8:48:14
53272      7137750063      9/17/2011        9:48:59
53273      7137754175      10/11/2011       16:24:13
53274      7137754175      10/24/2011       8:16:53
53275      7137754175      11/15/2011       16:36:01
53276      7137914969      10/11/2012       11:49:38
53277      7138057453      4/15/2012        15:15:49
53278      7138067712      2/12/2012        15:48:27
53279      7138067712      2/25/2012        11:09:13
53280      7138161865      11/28/2011       12:20:20
53281      7138164793      5/4/2012         18:27:11
53282      7138175824      10/7/2012        13:03:59
53283      7138176079      12/16/2011       16:18:49
53284      7138176768      5/17/2012        12:07:38
53285      7138176773      5/14/2012        15:39:09
53286      7138185452      6/6/2012         8:22:03
53287      7138185452      6/11/2012        17:34:35
53288      7138187073      1/25/2012        9:18:52
53289      7138187447      1/2/2012         8:16:58
53290      7138189102      11/8/2011        14:38:13
53291      7138200295      3/22/2012        14:01:48
53292      7138201376      3/25/2012        12:03:01
53293      7138201580      3/21/2012        8:07:03
53294      7138205005      4/5/2012         14:36:35
53295      7138205445      12/18/2011       16:47:20
53296      7138205445      1/18/2012        9:52:10
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53297      7138207195      10/10/2011       11:52:53
53298      7138207328      7/16/2012        9:37:22
53299      7138233672      5/17/2011        9:35:53
53300      7138233905      9/10/2011        9:15:33
53301      7138250227      9/19/2012        16:21:55
53302      7138256419      4/2/2012         17:34:40
53303      7138261312      8/11/2011        10:11:55
53304      7138267836      2/14/2012        10:07:34
53305      7138269135      3/1/2012         8:39:57
53306      7138280882      1/11/2012        9:05:19
53307      7138291066      3/20/2012        9:17:18
53308      7138294588      12/1/2011        15:26:58
53309      7138297570      1/9/2012         18:41:57
53310      7138342207      5/27/2012        13:56:27
53311      7138344309      8/7/2012         17:52:14
53312      7138344671      9/20/2012        7:01:05
53313      7138351066      12/17/2011       12:05:40
53314      7138355337      10/14/2011       13:27:38
53315      7138357110      2/13/2012        8:03:19
53316      7138357265      2/29/2012        17:31:44
53317      7138358860      10/11/2011       17:34:20
53318      7138378388      7/9/2011         8:47:00
53319      7138378402      12/12/2011       12:24:47
53320      7138378824      9/20/2011        16:46:37
53321      7138385777      1/13/2012        8:10:10
53322      7138386128      9/24/2011        9:42:23
53323      7138386332      12/23/2011       16:02:36
53324      7138395685      11/18/2011       13:24:22
53325      7138396415      4/5/2012         14:25:33
53326      7138396797      11/17/2011       14:33:57
53327      7138510247      12/26/2011       9:05:48
53328      7138513939      11/14/2011       17:20:29
53329      7138514358      9/8/2011         19:51:34
53330      7138515060      9/25/2012        14:56:35
53331      7138518544      9/13/2011        13:37:22
53332      7138540572      10/15/2011       10:47:39
53333      7138548866      10/6/2011        16:56:00
53334      7138551794      5/28/2012        8:58:22
53335      7138556416      3/13/2012        12:49:05
53336      7138570887      9/22/2011        15:19:10
53337      7138574504      10/11/2011       17:34:32
53338      7138577428      9/27/2012        16:23:32
53339      7138582094      12/28/2011       8:37:59
53340      7138583666      7/29/2011        20:21:15
53341      7138585607      12/31/2011       11:51:16
53342      7138587946      7/2/2012         19:03:41
53343      7138591593      6/9/2011         11:01:16
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53344      7138591731      3/16/2012        16:08:21
53345      7138592560      5/23/2012        15:18:22
53346      7138593372      10/16/2012       8:45:04
53347      7138596254      12/5/2011        18:37:42
53348      7138596341      4/14/2012        9:28:44
53349      7138597112      5/10/2011        19:26:18
53350      7138650732      10/4/2011        13:47:32
53351      7138656893      7/23/2012        15:31:36
53352      7138702934      10/15/2011       10:53:55
53353      7138703624      10/5/2012        12:28:01
53354      7138707207      10/11/2011       16:29:31
53355      7138731407      9/19/2011        8:11:38
53356      7138751087      3/30/2011        11:05:54
53357      7138752445      9/14/2011        16:40:10
53358      7138755906      8/16/2012        9:26:01
53359      7138756301      12/2/2011        15:26:27
53360      7138757715      8/27/2011        10:28:27
53361      7138758687      10/8/2011        9:57:00
53362      7138765090      9/23/2011        11:19:55
53363      7138782738      7/2/2012         15:02:17
53364      7138782738      9/18/2012        14:26:31
53365      7138826408      6/21/2012        10:05:08
53366      7138826408      10/10/2012       19:21:18
53367      7138826613      11/22/2011       19:38:55
53368      7138826753      9/23/2011        11:40:20
53369      7138828055      9/13/2011        13:48:25
53370      7138846241      5/20/2012        15:39:53
53371      7138846430      9/12/2011        13:19:25
53372      7138847554      4/3/2012         20:15:26
53373      7138852968      2/7/2012         8:07:36
53374      7138853514      1/20/2012        11:30:46
53375      7138856297      9/8/2011         19:02:25
53376      7138856309      5/22/2012        11:53:02
53377      7138929546      9/30/2011        10:22:14
53378      7138929546      10/28/2011       14:24:41
53379      7138941344      1/26/2012        10:00:42
53380      7138942665      3/7/2012         9:45:41
53381      7138945641      7/11/2011        8:21:59
53382      7138946459      9/20/2011        18:17:55
53383      7138946459      10/8/2011        11:49:06
53384      7138948862      5/30/2012        16:56:24
53385      7138971700      11/4/2011        8:45:11
53386      7138984516      6/26/2012        16:15:40
53387      7138989141      3/15/2012        13:49:19
53388      7138990146      9/19/2011        19:13:31
53389      7138991125      11/25/2011       18:24:21
53390      7138992405      9/29/2012        10:16:16
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53391      7138993845      10/11/2011       17:24:17
53392      7138994822      11/21/2011       8:24:19
53393      7138994822      2/21/2012        9:33:25
53394      7138996433      2/26/2012        13:21:42
53395      7138996433      5/29/2012        10:51:36
53396      7138998324      10/12/2011       8:01:42
53397      7139067498      9/22/2011        15:28:55
53398      7139079035      5/21/2012        8:26:32
53399      7139220005      5/4/2012         18:20:54
53400      7139220005      7/30/2012        13:36:43
53401      7139220261      12/20/2011       19:24:43
53402      7139220827      3/25/2012        12:09:19
53403      7139248616      7/13/2012        18:35:34
53404      7139270004      9/13/2011        17:50:02
53405      7139277797      10/10/2011       11:57:12
53406      7139280899      5/18/2012        12:07:29
53407      7139335707      6/1/2011         12:07:49
53408      7139335707      9/19/2011        19:12:57
53409      7139337015      9/23/2011        19:03:28
53410      7139337893      6/25/2011        8:42:30
53411      7139338397      10/6/2011        16:37:26
53412      7139338734      9/8/2011         19:00:51
53413      7139339707      11/25/2011       17:42:15
53414      7139339893      12/23/2011       13:24:29
53415      7139339893      5/21/2012        8:14:55
53416      7139355988      9/10/2011        8:31:26
53417      7139356760      5/19/2012        9:31:40
53418      7139356760      5/21/2012        8:25:00
53419      7139407318      10/3/2011        8:09:16
53420      7139411334      2/4/2012         8:14:51
53421      7139444672      1/18/2012        16:53:24
53422      7139602296      2/10/2012        20:41:49
53423      7139602296      3/6/2012         16:02:29
53424      7139602296      4/14/2012        9:22:18
53425      7139602413      10/8/2011        11:42:18
53426      7139602413      10/22/2011       12:41:36
53427      7139603687      10/21/2011       13:25:45
53428      7139603687      11/18/2011       13:32:28
53429      7139624765      10/9/2012        20:03:23
53430      7139625046      10/7/2011        8:11:18
53431      7139653373      8/1/2011         19:43:57
53432      7139669664      10/7/2011        8:04:49
53433      7139722362      5/16/2012        17:03:40
53434      7139722639      5/15/2012        8:47:32
53435      7139722689      11/15/2011       15:36:12
53436      7139722689      12/26/2011       20:20:47
53437      7139772205      5/9/2011         17:23:30
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53438      7139796495      2/1/2012         8:40:58
53439      7139859689      5/21/2012        8:27:07
53440      7139859689      5/21/2012        17:48:08
53441      7139924583      1/19/2012        8:24:55
53442      7139926542      11/26/2011       11:50:32
53443      7142003057      10/22/2011       12:51:14
53444      7142006201      4/7/2012         12:21:33
53445      7142006485      9/28/2011        10:41:14
53446      7142006500      3/28/2012        18:16:58
53447      7142067326      10/13/2011       10:39:55
53448      7142067894      7/11/2012        15:55:53
53449      7142068113      3/31/2012        18:10:18
53450      7142069929      12/21/2011       19:57:40
53451      7142109155      1/17/2012        18:37:44
53452      7142130099      1/31/2012        10:06:11
53453      7142133703      12/30/2011       12:46:34
53454      7142207571      4/20/2012        14:11:34
53455      7142226574      3/31/2011        19:57:17
53456      7142227742      9/21/2011        19:36:33
53457      7142229901      12/16/2011       16:17:22
53458      7142249925      3/21/2012        18:39:19
53459      7142255205      11/11/2011       13:29:57
53460      7142279886      3/14/2012        19:39:22
53461      7142314418      6/8/2012         10:14:25
53462      7142323341      11/29/2011       16:13:10
53463      7142344065      10/9/2012        20:00:29
53464      7142345849      11/11/2011       20:15:14
53465      7142350859      11/7/2011        11:23:22
53466      7142355506      5/23/2012        15:27:54
53467      7142355802      1/4/2012         11:09:55
53468      7142357126      10/16/2012       20:35:20
53469      7142359290      10/20/2011       15:51:49
53470      7142404013      10/31/2011       10:24:19
53471      7142405979      11/11/2011       20:16:08
53472      7142445303      10/29/2011       12:00:16
53473      7142449840      5/11/2012        12:19:54
53474      7142483683      5/8/2012         12:45:11
53475      7142483683      7/9/2012         19:17:20
53476      7142484245      5/15/2012        19:11:12
53477      7142495178      10/20/2011       16:36:54
53478      7142510326      12/21/2011       10:05:49
53479      7142603455      11/15/2011       20:11:04
53480      7142611817      12/21/2011       10:05:56
53481      7142616327      10/8/2011        10:16:44
53482      7142616327      12/5/2011        18:19:33
53483      7142620632      8/28/2012        12:02:18
53484      7142622869      9/19/2011        19:36:42
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53485      7142623399      11/2/2011        14:33:41
53486      7142627526      4/6/2012         19:30:46
53487      7142644836      1/19/2012        10:17:10
53488      7142645197      9/17/2011        10:07:17
53489      7142647887      1/20/2012        19:33:40
53490      7142677520      4/2/2012         12:56:46
53491      7142690969      7/20/2012        15:00:39
53492      7142693680      5/20/2011        18:19:11
53493      7142697026      4/17/2012        11:25:50
53494      7142713736      6/17/2011        15:53:52
53495      7142714693      2/8/2014         14:56:28
53496      7142728013      11/26/2011       13:58:23
53497      7142728013      5/20/2012        15:57:24
53498      7142736021      5/3/2012         21:19:22
53499      7142739687      1/26/2014        13:46:11
53500      7142805213      5/30/2012        12:49:09
53501      7142871190      1/13/2012        17:19:58
53502      7142908500      10/17/2011       10:43:12
53503      7142925855      4/7/2012         12:19:48
53504      7142926116      4/5/2012         14:28:23
53505      7142927365      11/21/2011       10:55:42
53506      7142990677      5/25/2012        17:12:47
53507      7142991206      2/26/2012        13:22:23
53508      7142991922      10/1/2011        11:02:43
53509      7143009344      11/2/2011        14:30:35
53510      7143058708      6/24/2012        13:59:20
53511      7143066947      12/26/2011       20:34:45
53512      7143072522      6/20/2012        16:54:43
53513      7143076563      2/3/2012         20:14:12
53514      7143084625      6/28/2012        14:23:51
53515      7143089434      9/19/2012        21:29:54
53516      7143094047      4/13/2012        20:43:10
53517      7143128360      1/24/2012        17:25:32
53518      7143132475      9/10/2012        21:08:33
53519      7143139132      9/24/2012        13:15:50
53520      7143150584      2/24/2011        14:39:29
53521      7143151498      9/19/2011        19:21:37
53522      7143151697      6/28/2012        14:26:44
53523      7143153745      10/28/2011       13:53:11
53524      7143153745      11/29/2011       16:13:50
53525      7143158699      8/10/2011        19:54:04
53526      7143158699      2/6/2012         10:23:04
53527      7143158729      8/14/2012        20:52:21
53528      7143164860      8/15/2012        21:43:27
53529      7143168296      1/31/2012        10:24:56
53530      7143169492      1/25/2012        20:32:14
53531      7143171055      2/7/2012         16:38:42
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53532      7143172621      7/20/2011        15:09:01
53533      7143175470      11/26/2011       13:56:40
53534      7143179487      1/25/2012        18:22:08
53535      7143185748      9/8/2012         11:46:26
53536      7143187393      4/4/2012         18:50:12
53537      7143197073      9/19/2011        14:47:20
53538      7143219686      11/21/2011       10:38:26
53539      7143227933      8/6/2012         14:00:46
53540      7143228740      10/5/2011        14:50:46
53541      7143231265      9/15/2011        10:40:42
53542      7143231265      10/5/2011        14:23:14
53543      7143236965      3/14/2012        19:48:23
53544      7143238985      7/10/2013        11:15:31
53545      7143239363      2/28/2012        15:55:37
53546      7143256892      1/24/2012        9:56:38
53547      7143259200      7/28/2011        10:23:02
53548      7143264686      9/21/2011        19:36:34
53549      7143267795      5/16/2012        16:52:00
53550      7143297616      12/29/2011       19:10:13
53551      7143298489      5/17/2012        11:51:45
53552      7143299030      4/3/2012         20:12:35
53553      7143301797      10/25/2012       12:31:54
53554      7143308008      4/29/2012        17:51:43
53555      7143351412      12/5/2011        18:18:47
53556      7143356261      9/10/2011        12:35:40
53557      7143373205      3/20/2012        20:02:09
53558      7143373205      6/11/2012        17:41:16
53559      7143389817      2/10/2012        10:37:48
53560      7143410718      3/21/2012        18:39:12
53561      7143410723      10/1/2011        11:00:08
53562      7143410755      5/26/2012        14:27:47
53563      7143410779      7/17/2012        12:26:50
53564      7143413227      5/5/2012         12:23:50
53565      7143413970      1/19/2012        10:20:18
53566      7143413970      6/13/2012        10:23:42
53567      7143415397      11/22/2011       19:49:10
53568      7143415606      9/16/2011        13:41:02
53569      7143416028      10/15/2012       16:14:39
53570      7143416419      12/14/2011       17:55:21
53571      7143416790      11/1/2011        12:08:23
53572      7143416837      7/2/2012         17:31:00
53573      7143419915      11/17/2011       15:57:59
53574      7143426024      7/29/2011        20:18:21
53575      7143453358      3/16/2012        15:56:46
53576      7143456029      8/16/2012        14:29:32
53577      7143484188      12/24/2011       12:08:24
53578      7143487160      10/19/2012       11:30:10
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53579      7143504243      4/9/2012         18:20:59
53580      7143510103      2/18/2012        10:15:30
53581      7143514056      12/17/2011       12:16:46
53582      7143529587      4/2/2012         12:57:26
53583      7143529745      8/22/2012        21:46:07
53584      7143564297      1/14/2012        11:04:46
53585      7143605856      7/5/2012         15:37:32
53586      7143605856      7/16/2012        14:28:19
53587      7143605856      7/25/2012        20:43:08
53588      7143605954      10/9/2012        11:38:31
53589      7143637481      10/10/2011       12:03:55
53590      7143647981      12/28/2011       11:08:21
53591      7143660008      12/17/2011       11:29:17
53592      7143660008      5/21/2012        7:22:46
53593      7143662924      11/21/2011       10:55:40
53594      7143667751      2/24/2011        14:39:08
53595      7143690375      6/11/2012        17:40:58
53596      7143713498      3/2/2012         18:53:58
53597      7143761429      3/29/2012        16:49:26
53598      7143762548      12/16/2011       16:43:48
53599      7143763585      6/13/2012        10:23:03
53600      7143765260      10/25/2011       16:40:56
53601      7143768348      9/19/2011        14:49:56
53602      7143815596      12/19/2011       11:21:14
53603      7143817642      9/23/2011        11:26:35
53604      7143860426      6/13/2011        14:43:32
53605      7143862880      8/10/2011        18:12:53
53606      7143868775      3/7/2012         18:46:48
53607      7143885115      4/18/2012        10:08:00
53608      7143898680      6/25/2012        21:47:55
53609      7143906075      8/2/2012         11:31:50
53610      7143911773      9/28/2011        11:34:04
53611      7143922987      5/7/2012         21:39:25
53612      7143924744      9/21/2012        18:45:43
53613      7143929722      10/12/2011       12:00:21
53614      7143932069      9/8/2011         19:56:19
53615      7143932208      2/24/2012        20:57:30
53616      7143936693      2/1/2012         13:32:50
53617      7143944097      1/27/2012        17:49:17
53618      7143945842      4/12/2012        18:28:18
53619      7143950680      9/21/2011        19:31:45
53620      7143950780      2/24/2012        20:52:51
53621      7143951405      10/4/2011        13:27:17
53622      7143952078      7/3/2012         16:00:45
53623      7143952308      9/15/2011        10:40:44
53624      7143961653      12/26/2011       20:34:34
53625      7143967804      3/14/2012        14:13:55
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53626      7143968193      5/4/2012         18:24:18
53627      7143969376      9/28/2011        10:46:55
53628      7143972795      9/14/2011        21:32:28
53629      7143975590      11/22/2011       19:47:52
53630      7143978104      9/10/2011        12:33:55
53631      7143981613      10/17/2012       12:49:23
53632      7144004443      11/10/2011       14:27:43
53633      7144014344      10/20/2011       15:53:08
53634      7144017345      11/15/2011       20:12:37
53635      7144024497      12/20/2011       19:40:26
53636      7144027244      9/13/2011        16:53:17
53637      7144029215      3/7/2012         18:45:56
53638      7144039812      9/14/2011        21:38:52
53639      7144042325      5/10/2012        16:10:45
53640      7144094131      1/23/2012        19:22:46
53641      7144097725      3/12/2012        19:33:00
53642      7144146611      11/30/2011       15:03:48
53643      7144147580      4/9/2012         13:42:01
53644      7144149395      9/14/2011        12:42:48
53645      7144172993      1/2/2012         10:04:32
53646      7144176703      7/13/2012        21:27:15
53647      7144177983      8/8/2012         16:09:07
53648      7144201516      4/18/2012        10:09:50
53649      7144202241      1/17/2012        18:38:03
53650      7144206726      7/25/2012        12:00:43
53651      7144208310      4/4/2012         14:09:44
53652      7144210692      6/12/2012        10:33:02
53653      7144215077      11/16/2011       20:02:24
53654      7144251640      6/2/2011         11:37:41
53655      7144431515      11/4/2011        10:26:58
53656      7144431515      11/30/2011       15:34:05
53657      7144489622      8/13/2012        20:55:18
53658      7144540110      4/3/2012         20:20:43
53659      7144540136      9/24/2011        10:11:11
53660      7144541708      2/1/2012         13:33:52
53661      7144542590      7/10/2012        21:11:05
53662      7144542965      1/16/2012        12:06:48
53663      7144585056      3/28/2012        12:40:59
53664      7144585056      3/31/2012        22:33:40
53665      7144649082      12/6/2011        13:53:58
53666      7144671720      5/31/2011        11:53:45
53667      7144680747      8/17/2012        10:08:21
53668      7144680747      10/19/2012       19:05:44
53669      7144693639      9/19/2011        14:50:08
53670      7144694718      11/16/2011       20:08:06
53671      7144699852      9/24/2011        10:10:42
53672      7144705553      2/8/2012         13:15:31
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53673      7144705553      2/28/2012        13:37:48
53674      7144709169      11/3/2011        17:28:07
53675      7144724425      10/5/2011        14:24:43
53676      7144724455      9/22/2011        15:35:42
53677      7144737122      1/23/2012        19:21:36
53678      7144833400      7/30/2012        18:40:19
53679      7144833400      8/13/2012        20:55:06
53680      7144833400      8/21/2012        21:47:24
53681      7144835924      1/18/2012        21:25:39
53682      7144864823      10/22/2011       12:47:50
53683      7144865438      10/17/2011       11:13:26
53684      7144877371      1/2/2012         10:06:50
53685      7144887291      5/8/2012         12:47:41
53686      7144891650      6/16/2012        15:36:01
53687      7144922669      5/17/2011        10:30:29
53688      7144924700      10/11/2011       17:40:47
53689      7144925287      11/14/2011       15:21:33
53690      7144925574      7/17/2012        21:56:21
53691      7144926005      1/23/2012        19:21:36
53692      7144932042      6/29/2012        17:52:43
53693      7144932564      6/11/2012        18:09:32
53694      7144956612      6/14/2012        12:39:08
53695      7144957575      2/15/2012        11:16:44
53696      7144957575      5/2/2012         21:05:58
53697      7144957718      3/14/2012        19:39:54
53698      7144958447      4/12/2012        18:00:30
53699      7144958806      10/28/2011       14:36:07
53700      7144977236      9/21/2011        19:36:34
53701      7144992234      5/30/2012        12:37:05
53702      7144993138      12/30/2011       12:46:39
53703      7144994502      10/17/2011       11:11:23
53704      7144995651      9/8/2011         19:55:59
53705      7145015130      2/28/2012        15:56:34
53706      7145016329      4/18/2012        10:05:54
53707      7145047781      10/4/2011        14:00:21
53708      7145049202      5/8/2012         21:09:53
53709      7145129743      1/21/2012        11:16:29
53710      7145141722      3/12/2012        11:13:21
53711      7145141771      3/22/2012        14:06:18
53712      7145199348      5/8/2012         21:07:28
53713      7145274020      8/25/2012        11:19:22
53714      7145484062      4/2/2012         17:39:38
53715      7145488854      6/29/2011        17:54:23
53716      7145520876      9/27/2012        16:31:51
53717      7145522714      11/19/2011       10:33:28
53718      7145525652      2/17/2012        10:43:07
53719      7145526650      1/27/2012        20:07:56
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53720      7145536887      7/9/2012         19:18:12
53721      7145536887      7/12/2012        19:55:07
53722      7145612078      9/29/2011        15:58:43
53723      7145613368      11/23/2011       9:56:58
53724      7145615844      11/11/2011       20:15:56
53725      7145737549      12/26/2011       20:41:24
53726      7145740368      1/6/2012         14:43:22
53727      7145746676      9/20/2011        20:49:18
53728      7145807327      10/24/2011       14:45:29
53729      7145807327      11/25/2011       18:33:31
53730      7145830191      5/11/2012        10:47:59
53731      7145831135      10/7/2011        10:41:43
53732      7145831474      5/20/2011        18:21:19
53733      7145835355      10/3/2011        10:37:20
53734      7145852200      9/27/2011        18:21:16
53735      7145852202      4/20/2012        13:57:33
53736      7145861206      9/22/2012        12:21:37
53737      7145862966      5/23/2012        16:32:34
53738      7145880268      12/27/2011       14:43:12
53739      7145890578      11/15/2011       20:12:37
53740      7145893325      11/9/2011        10:36:14
53741      7145893641      1/8/2012         16:54:21
53742      7145916462      9/20/2011        19:01:07
53743      7145916462      10/4/2011        14:01:51
53744      7145916654      5/28/2011        10:42:49
53745      7145956579      7/18/2012        18:37:36
53746      7145957214      1/10/2012        20:54:31
53747      7145957214      7/26/2012        19:24:28
53748      7145973682      5/9/2012         21:05:46
53749      7145987377      11/2/2011        14:34:29
53750      7145990708      1/10/2012        15:38:23
53751      7145992972      8/18/2011        10:59:38
53752      7145996991      1/20/2012        20:31:08
53753      7146000173      2/2/2012         16:35:26
53754      7146001205      11/18/2011       13:08:52
53755      7146006261      9/26/2011        13:24:23
53756      7146039791      12/10/2011       14:52:24
53757      7146043297      9/6/2012         12:25:25
53758      7146051678      7/12/2011        12:39:20
53759      7146052864      3/23/2011        20:21:42
53760      7146053215      8/6/2012         16:33:07
53761      7146056180      11/12/2011       11:06:31
53762      7146061579      11/26/2011       13:57:42
53763      7146062688      4/4/2012         18:41:20
53764      7146063737      5/10/2011        19:42:24
53765      7146091842      10/4/2011        14:02:20
53766      7146100134      1/18/2012        16:45:59
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53767      7146100513      7/6/2012         14:43:32
53768      7146102728      12/18/2011       16:39:36
53769      7146121488      8/2/2011         17:26:29
53770      7146126241      5/26/2012        15:16:11
53771      7146127727      10/26/2011       12:35:43
53772      7146129558      4/10/2012        21:59:30
53773      7146134439      1/23/2012        10:16:10
53774      7146141586      3/2/2012         15:30:56
53775      7146148309      6/6/2012         21:20:41
53776      7146158095      4/16/2012        10:10:46
53777      7146168988      12/12/2011       12:01:07
53778      7146180008      9/8/2011         18:40:57
53779      7146182341      4/3/2012         16:03:16
53780      7146184996      11/9/2011        10:37:51
53781      7146185366      8/16/2012        14:28:11
53782      7146204372      9/29/2011        15:25:43
53783      7146220741      9/14/2011        21:40:08
53784      7146230037      10/1/2011        10:57:30
53785      7146230037      10/7/2011        10:42:39
53786      7146235162      8/16/2011        18:22:35
53787      7146240286      3/19/2011        10:48:38
53788      7146252062      12/6/2011        13:19:53
53789      7146252165      2/2/2012         20:59:30
53790      7146255007      1/30/2012        21:49:37
53791      7146315269      7/10/2012        21:11:26
53792      7146317069      10/13/2011       10:41:30
53793      7146317406      9/21/2011        19:36:40
53794      7146400926      10/17/2011       10:58:02
53795      7146401758      4/2/2012         17:35:45
53796      7146430274      5/21/2012        18:01:16
53797      7146431404      2/9/2012         20:33:47
53798      7146433230      12/9/2011        13:34:09
53799      7146441841      5/8/2012         10:08:25
53800      7146502104      4/22/2012        15:12:58
53801      7146503875      1/3/2012         19:46:17
53802      7146504486      4/22/2012        15:42:11
53803      7146507454      1/3/2012         19:53:06
53804      7146511072      9/14/2011        21:27:32
53805      7146513390      6/20/2012        11:01:28
53806      7146518052      5/4/2012         18:25:28
53807      7146518052      10/12/2012       21:30:09
53808      7146547605      10/17/2011       10:57:25
53809      7146568945      9/13/2011        17:00:51
53810      7146570162      6/11/2012        10:04:23
53811      7146582028      12/27/2011       14:37:15
53812      7146584771      1/3/2012         16:26:35
53813      7146585472      3/26/2012        18:48:05
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53814      7146587524      12/15/2011       21:43:15
53815      7146588125      10/11/2011       17:31:53
53816      7146614255      9/1/2011         15:37:22
53817      7146619432      11/17/2011       16:36:39
53818      7146732223      4/15/2012        17:55:21
53819      7146792394      3/12/2012        16:52:45
53820      7146793002      11/5/2011        10:38:43
53821      7146798282      3/2/2012         18:53:43
53822      7146833090      7/11/2011        12:32:59
53823      7146834145      1/25/2012        20:34:17
53824      7146844566      12/20/2011       14:59:09
53825      7146844999      7/22/2012        12:16:51
53826      7146860079      3/19/2012        19:06:51
53827      7146860988      9/8/2011         19:12:32
53828      7146862650      9/13/2012        15:18:14
53829      7146863418      9/21/2012        15:57:48
53830      7146867011      12/26/2011       10:22:05
53831      7146869855      11/30/2011       12:59:04
53832      7146970149      10/9/2012        20:05:43
53833      7146970970      11/11/2011       20:13:59
53834      7147093236      4/23/2012        13:15:46
53835      7147131885      3/28/2011        15:49:13
53836      7147133679      3/26/2011        12:44:28
53837      7147153330      1/17/2012        18:51:03
53838      7147166327      4/9/2012         17:57:01
53839      7147169109      9/6/2012         12:26:24
53840      7147170950      5/3/2012         10:14:52
53841      7147177747      5/1/2012         10:21:36
53842      7147180677      12/2/2011        14:40:49
53843      7147183062      11/15/2011       16:39:57
53844      7147193020      6/3/2014         16:40:28
53845      7147194347      8/25/2012        11:19:13
53846      7147197000      1/27/2012        17:50:09
53847      7147197976      5/3/2012         21:16:15
53848      7147201354      2/28/2012        16:09:18
53849      7147205860      7/20/2012        14:56:13
53850      7147205883      12/9/2011        13:29:02
53851      7147206336      4/20/2012        14:38:05
53852      7147210482      7/19/2011        17:06:47
53853      7147214754      9/19/2011        19:22:50
53854      7147215042      5/28/2012        10:42:10
53855      7147215043      5/23/2012        15:29:12
53856      7147215889      11/3/2011        17:32:45
53857      7147219310      10/11/2011       17:47:31
53858      7147221154      4/21/2012        10:07:09
53859      7147222096      7/18/2011        11:24:15
53860      7147231561      10/4/2011        14:00:49
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53861      7147244175      5/2/2012         21:04:52
53862      7147250788      2/14/2012        10:04:20
53863      7147260112      9/3/2012         14:43:57
53864      7147260112      10/25/2012       19:41:16
53865      7147262843      10/6/2011        18:05:42
53866      7147279515      11/3/2011        12:00:24
53867      7147282319      10/1/2011        10:56:06
53868      7147283902      7/20/2011        14:08:33
53869      7147284410      3/2/2012         19:18:27
53870      7147286548      9/27/2011        18:55:45
53871      7147326687      12/10/2011       14:31:11
53872      7147330095      12/30/2011       20:55:03
53873      7147352652      7/2/2012         15:35:44
53874      7147370063      7/29/2011        20:17:38
53875      7147370063      1/23/2012        19:21:50
53876      7147370763      4/19/2012        20:13:57
53877      7147374258      12/23/2011       16:07:11
53878      7147374824      7/30/2011        11:02:15
53879      7147454759      5/31/2012        10:09:14
53880      7147474901      9/15/2011        10:52:30
53881      7147570480      9/8/2011         19:56:00
53882      7147573189      4/18/2011        19:58:27
53883      7147575631      5/19/2012        10:56:23
53884      7147603555      5/16/2012        11:57:14
53885      7147603834      5/1/2012         17:32:36
53886      7147674265      6/12/2012        17:13:29
53887      7147689127      6/24/2011        11:39:36
53888      7147828426      12/29/2011       10:55:29
53889      7147850500      10/15/2011       11:16:28
53890      7147856393      9/23/2011        11:50:08
53891      7147856393      12/12/2011       12:30:53
53892      7147867421      8/6/2012         16:38:30
53893      7147878169      12/18/2011       17:58:27
53894      7147884576      11/29/2011       15:08:36
53895      7147886843      6/28/2012        14:16:36
53896      7147910699      6/9/2012         14:48:04
53897      7147910926      7/27/2012        14:07:56
53898      7147913790      8/17/2012        21:25:37
53899      7147914457      8/11/2012        12:24:25
53900      7147914761      3/12/2012        19:33:36
53901      7147917655      5/31/2012        15:02:10
53902      7147933907      11/15/2011       20:12:54
53903      7147957316      11/5/2011        10:27:42
53904      7147958383      10/14/2011       19:30:50
53905      7147976679      1/13/2012        10:39:52
53906      7147978402      8/11/2012        12:25:48
53907      7147979318      1/23/2012        10:14:12
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53908      7148000598      7/27/2012        21:13:53
53909      7148050239      3/14/2012        14:14:00
53910      7148050239      8/17/2012        21:24:01
53911      7148050347      9/12/2012        14:59:34
53912      7148152757      2/3/2012         20:13:59
53913      7148181519      3/19/2012        19:25:27
53914      7148188044      6/15/2012        15:45:55
53915      7148200836      4/8/2011         19:05:59
53916      7148228582      12/10/2011       12:35:27
53917      7148240291      4/18/2012        10:05:19
53918      7148309500      2/24/2012        20:58:04
53919      7148373822      10/26/2011       12:36:37
53920      7148527007      10/8/2012        20:04:23
53921      7148527100      4/1/2014         13:18:12
53922      7148544529      10/11/2011       16:43:04
53923      7148565222      10/4/2011        13:28:23
53924      7148605456      4/28/2012        10:16:35
53925      7148628122      3/26/2012        18:26:37
53926      7148631175      9/16/2011        13:07:56
53927      7148633729      10/4/2011        14:02:17
53928      7148642116      9/23/2011        18:52:20
53929      7148642160      10/3/2011        10:33:35
53930      7148656707      12/28/2011       11:07:44
53931      7148666705      9/28/2011        11:06:37
53932      7148694870      6/13/2011        14:38:09
53933      7148698700      8/23/2011        18:27:32
53934      7148735166      7/2/2012         15:35:56
53935      7148756244      4/19/2012        14:48:49
53936      7148785427      8/23/2011        19:30:02
53937      7148786057      2/13/2012        18:36:36
53938      7148802617      3/14/2012        19:41:57
53939      7148809108      10/11/2011       17:45:06
53940      7148830522      6/6/2011         17:38:07
53941      7148839415      3/15/2012        19:06:38
53942      7148845545      8/3/2011         12:35:59
53943      7148849454      10/5/2011        14:24:45
53944      7149075099      6/18/2012        15:15:52
53945      7149145626      3/20/2012        20:02:14
53946      7149145626      3/23/2012        19:55:23
53947      7149152295      5/29/2012        10:53:58
53948      7149163425      3/21/2011        11:32:33
53949      7149179485      10/25/2011       15:49:08
53950      7149246357      1/10/2012        20:54:01
53951      7149250727      1/17/2012        20:53:54
53952      7149264257      5/7/2011         15:40:34
53953      7149264962      12/5/2011        18:43:17
53954      7149265023      1/18/2012        16:57:37
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53955      7149282873      11/16/2011       11:02:12
53956      7149310235      8/22/2012        21:46:22
53957      7149310844      5/9/2012         21:03:39
53958      7149312462      6/12/2012        17:16:09
53959      7149313717      11/2/2011        14:34:00
53960      7149319299      3/15/2012        19:21:27
53961      7149321288      4/13/2012        13:27:18
53962      7149321288      5/14/2012        10:19:18
53963      7149325500      10/11/2011       16:41:05
53964      7149338078      3/27/2012        14:57:23
53965      7149365689      7/27/2013        11:10:18
53966      7149443355      8/2/2011         19:14:13
53967      7149483473      5/2/2012         21:09:34
53968      7149551178      5/13/2011        11:52:31
53969      7149662496      10/24/2011       14:52:14
53970      7149794642      4/27/2012        17:24:01
53971      7149800528      10/17/2011       11:09:59
53972      7149803949      3/2/2012         19:07:01
53973      7149810884      1/3/2012         16:29:34
53974      7149814257      12/9/2011        13:03:55
53975      7149814454      10/14/2011       13:34:38
53976      7149816395      9/28/2011        11:32:18
53977      7149849522      4/21/2012        16:51:34
53978      7149849552      11/29/2011       15:49:20
53979      7149864213      3/16/2012        10:28:10
53980      7149864503      11/23/2011       14:46:35
53981      7149971692      11/5/2011        10:37:18
53982      7152072117      10/15/2011       10:37:40
53983      7152078323      12/14/2011       13:03:59
53984      7152120344      10/23/2012       10:40:11
53985      7152123906      6/25/2012        13:48:19
53986      7152124045      10/9/2012        11:37:10
53987      7152149798      5/30/2012        16:50:19
53988      7152156021      1/20/2012        19:50:11
53989      7152162616      8/20/2011        10:26:53
53990      7152164301      7/28/2012        9:07:40
53991      7152185557      10/20/2011       16:18:28
53992      7152200254      11/5/2011        11:18:07
53993      7152200417      1/10/2012        18:05:00
53994      7152228849      11/17/2011       15:31:01
53995      7152228849      12/13/2011       16:57:24
53996      7152228849      12/20/2011       11:46:49
53997      7152501747      6/15/2011        11:22:57
53998      7152525865      8/30/2011        16:36:26
53999      7152711492      10/20/2011       15:47:09
54000      7152713096      11/14/2011       17:15:19
54001      7152810817      10/5/2011        14:39:04
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54002      7152811430      3/9/2012         9:11:12
54003      7152812338      5/20/2012        15:39:39
54004      7152815912      7/12/2011        11:39:03
54005      7152816850      8/23/2011        19:17:59
54006      7152819500      1/23/2012        19:24:50
54007      7152819901      4/19/2012        15:18:31
54008      7152927280      9/24/2012        19:09:47
54009      7152970603      8/3/2011         11:55:09
54010      7153050673      10/25/2011       15:32:55
54011      7153083631      2/9/2012         20:42:50
54012      7153098584      11/12/2011       10:42:03
54013      7153301114      7/27/2012        13:18:43
54014      7153385277      9/13/2012        15:21:22
54015      7153403720      1/14/2012        8:00:59
54016      7153472909      3/15/2012        14:00:43
54017      7153474648      9/10/2011        9:05:29
54018      7153702804      7/25/2012        20:38:17
54019      7153702804      8/3/2012         12:36:52
54020      7153797941      9/22/2011        16:07:16
54021      7153799046      9/21/2011        11:30:54
54022      7153830174      11/18/2011       12:26:40
54023      7153830174      1/25/2012        9:08:11
54024      7154105058      12/10/2011       14:47:52
54025      7154105059      9/8/2011         18:03:49
54026      7154105067      3/21/2012        9:11:43
54027      7154121163      12/29/2011       10:47:54
54028      7154162599      8/13/2011        12:07:44
54029      7154219427      1/18/2012        10:20:48
54030      7154327302      10/3/2011        8:23:17
54031      7154329218      4/15/2012        17:18:50
54032      7154393403      9/13/2012        15:16:19
54033      7154413370      2/6/2012         17:02:55
54034      7154560766      11/23/2011       9:52:38
54035      7154575400      11/18/2011       13:25:16
54036      7154954782      7/16/2012        19:38:56
54037      7155055152      4/27/2012        7:12:08
54038      7155290325      10/15/2011       10:56:11
54039      7155364856      4/13/2012        20:41:12
54040      7155444161      9/22/2012        9:39:30
54041      7155480413      3/25/2012        12:02:46
54042      7155517521      11/28/2011       12:17:53
54043      7155563131      8/14/2012        11:38:34
54044      7155582129      11/4/2011        9:09:58
54045      7155595525      8/2/2012         18:56:04
54046      7155600284      8/31/2012        16:37:26
54047      7155707735      9/20/2011        18:36:32
54048      7155736194      9/17/2011        9:34:46
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54049      7155744203      10/21/2011       12:40:05
54050      7155792549      11/23/2011       9:36:01
54051      7155796546      3/30/2012        16:53:00
54052      7155816227      12/28/2011       8:43:39
54053      7155817932      10/12/2011       8:01:54
54054      7155843639      2/11/2012        10:52:38
54055      7155860490      2/18/2012        9:11:10
54056      7155870183      8/1/2012         20:13:02
54057      7155874654      3/29/2012        11:46:26
54058      7156100600      6/15/2012        8:55:24
54059      7156101271      1/7/2012         8:27:31
54060      7156161976      4/2/2012         9:01:13
54061      7156161976      5/21/2012        8:17:46
54062      7156174017      11/21/2011       8:34:50
54063      7156304916      3/13/2012        12:50:35
54064      7156422418      5/9/2012         16:13:02
54065      7156713319      4/22/2012        15:28:51
54066      7156800744      10/25/2012       19:50:30
54067      7156874537      9/27/2012        16:32:41
54068      7156993807      9/8/2012         11:42:58
54069      7156994443      12/1/2011        8:23:02
54070      7157033933      2/28/2012        13:11:49
54071      7157640052      10/13/2011       8:21:28
54072      7157919208      4/27/2012        9:42:21
54073      7158291015      12/31/2011       12:04:00
54074      7158465425      6/18/2012        15:12:23
54075      7158510884      7/26/2011        9:50:12
54076      7158510884      9/19/2011        8:23:29
54077      7158515244      11/8/2011        14:00:48
54078      7158622713      6/18/2012        9:24:16
54079      7158642821      9/30/2011        10:06:53
54080      7158645950      1/23/2012        19:42:17
54081      7158915208      10/19/2012       19:11:27
54082      7158920121      11/5/2011        11:42:02
54083      7158927600      12/26/2011       20:02:33
54084      7158947068      3/7/2012         18:32:15
54085      7158963042      3/7/2012         10:13:54
54086      7158969491      5/9/2012         9:01:08
54087      7158973902      3/21/2011        10:49:30
54088      7159220021      5/8/2012         12:47:23
54089      7159220021      6/7/2012         16:35:56
54090      7159220429      3/14/2012        14:09:57
54091      7159233834      9/21/2011        11:44:27
54092      7159238607      8/5/2011         17:50:02
54093      7159238607      8/17/2011        18:49:46
54094      7159273153      2/17/2012        9:40:15
54095      7159280045      12/2/2011        8:09:54
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54096      7159382066      1/17/2012        18:35:36
54097      7159444200      10/16/2012       20:35:41
54098      7159660504      2/14/2012        16:41:12
54099      7159662020      10/1/2011        10:51:00
54100      7159664261      7/13/2012        11:36:45
54101      7159771247      1/20/2012        19:36:20
54102      7162003352      3/7/2012         18:26:35
54103      7162021011      11/21/2011       7:12:54
54104      7162057495      4/12/2012        17:54:39
54105      7162082868      8/8/2012         16:04:55
54106      7162257275      5/10/2012        14:43:55
54107      7162257275      5/17/2012        7:07:44
54108      7162280815      6/5/2012         7:04:12
54109      7162281529      4/20/2012        13:39:59
54110      7162287200      10/5/2012        18:14:50
54111      7162359231      7/25/2012        12:10:58
54112      7162380141      11/23/2011       10:00:02
54113      7162383259      4/19/2012        14:49:48
54114      7162392670      1/24/2012        10:46:55
54115      7162393737      9/26/2012        14:31:07
54116      7162441225      3/29/2012        16:36:47
54117      7162470058      1/8/2012         12:48:47
54118      7162470327      10/18/2012       7:05:55
54119      7162535559      10/23/2012       10:27:25
54120      7162798077      5/29/2012        17:01:23
54121      7162809860      12/20/2011       17:00:27
54122      7162980000      2/11/2012        15:03:13
54123      7163074417      12/5/2011        18:11:34
54124      7163086709      11/15/2011       15:01:57
54125      7163105192      11/9/2011        7:27:32
54126      7163164596      7/7/2012         10:12:27
54127      7163166278      4/11/2012        10:49:03
54128      7163166676      2/28/2012        15:48:10
54129      7163355090      6/28/2012        14:13:23
54130      7163356874      1/18/2012        16:46:34
54131      7163382827      9/12/2012        7:40:50
54132      7163385388      3/7/2012         18:26:53
54133      7163481640      4/6/2012         15:48:16
54134      7163484061      1/7/2012         8:39:15
54135      7163484153      12/21/2011       10:03:26
54136      7163526092      6/27/2011        7:45:48
54137      7163527478      12/22/2011       8:26:03
54138      7163527521      9/7/2012         15:37:11
54139      7163528962      9/26/2012        15:16:22
54140      7163597321      1/3/2012         10:56:06
54141      7163618622      1/11/2012        16:18:23
54142      7163723105      12/7/2011        13:53:35
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54143      7163788515      10/20/2012       16:35:57
54144      7163801811      2/24/2011        14:01:35
54145      7163805283      12/29/2011       17:55:39
54146      7163810706      1/5/2012         11:55:02
54147      7163810706      7/6/2012         16:50:24
54148      7163811568      10/24/2012       14:54:54
54149      7163811946      11/23/2011       14:47:57
54150      7163813246      3/14/2012        19:26:08
54151      7163813246      5/21/2012        7:26:00
54152      7163920135      1/4/2012         11:06:24
54153      7163926832      12/27/2011       14:14:42
54154      7163927482      7/30/2012        13:15:02
54155      7164002555      7/3/2012         15:57:26
54156      7164003091      1/11/2012        7:21:51
54157      7164008430      10/22/2012       7:06:54
54158      7164102888      10/4/2011        13:04:43
54159      7164103081      6/18/2012        15:16:48
54160      7164105342      5/17/2012        16:43:28
54161      7164172333      12/9/2011        15:48:43
54162      7164180934      6/16/2012        15:09:37
54163      7164182062      1/11/2012        7:33:02
54164      7164257681      11/14/2011       15:52:15
54165      7164322939      12/31/2011       11:41:57
54166      7164324626      10/26/2011       12:39:15
54167      7164324626      5/21/2012        7:22:01
54168      7164324796      10/14/2011       13:19:39
54169      7164380187      11/3/2011        17:59:27
54170      7164441586      4/1/2011         10:52:52
54171      7164443054      11/1/2011        7:55:09
54172      7164443561      11/9/2011        7:45:05
54173      7164444617      11/8/2011        14:09:14
54174      7164463555      5/28/2011        10:03:45
54175      7164463864      11/5/2011        9:10:15
54176      7164507593      8/20/2012        7:44:10
54177      7164509070      1/11/2012        7:22:17
54178      7164509228      4/5/2012         7:08:53
54179      7164627552      3/28/2012        16:44:21
54180      7164651114      1/5/2012         11:56:24
54181      7164652213      8/6/2012         15:42:53
54182      7164654116      7/20/2011        14:51:44
54183      7164655247      10/15/2011       8:33:56
54184      7164719431      8/9/2011         13:37:48
54185      7164727935      1/4/2012         11:11:54
54186      7164789407      10/26/2011       8:15:38
54187      7164802319      1/23/2012        19:05:13
54188      7164890988      4/13/2012        13:48:23
54189      7164992244      7/21/2011        7:50:36
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54190      7164992550      9/24/2012        12:51:09
54191      7164992964      3/16/2012        15:47:20
54192      7165076711      7/14/2012        8:06:41
54193      7165100719      7/9/2012         12:07:08
54194      7165102287      7/12/2012        7:05:06
54195      7165106306      1/16/2012        7:14:42
54196      7165125194      3/14/2012        19:40:59
54197      7165146550      11/1/2011        7:55:02
54198      7165234529      4/29/2011        19:59:31
54199      7165316463      7/23/2012        15:28:59
54200      7165318831      10/8/2011        10:31:28
54201      7165333495      3/10/2012        8:36:56
54202      7165360590      4/9/2012         18:11:37
54203      7165366545      11/9/2011        7:26:26
54204      7165366906      10/10/2011       12:28:23
54205      7165367183      8/16/2012        7:51:00
54206      7165443731      2/8/2012         7:26:17
54207      7165444771      11/12/2011       9:45:58
54208      7165456073      1/4/2012         11:12:26
54209      7165483559      8/30/2012        7:06:42
54210      7165530772      3/15/2012        7:01:58
54211      7165532938      11/28/2011       11:16:49
54212      7165535053      3/1/2012         8:31:30
54213      7165538082      2/20/2012        17:05:27
54214      7165606060      9/14/2011        16:10:48
54215      7165630686      10/4/2011        13:04:51
54216      7165632288      1/27/2012        7:12:12
54217      7165632288      5/21/2012        7:03:30
54218      7165632855      9/28/2011        10:49:26
54219      7165632908      12/12/2011       16:16:59
54220      7165633628      10/25/2012       12:08:51
54221      7165634722      1/4/2012         11:11:44
54222      7165635323      8/23/2012        11:51:55
54223      7165635362      9/8/2011         18:24:39
54224      7165639678      1/5/2012         12:09:59
54225      7165639678      3/8/2012         7:04:56
54226      7165706565      6/18/2012        7:57:27
54227      7165736106      12/10/2011       12:40:25
54228      7165781388      12/23/2011       7:14:06
54229      7165783908      2/13/2012        7:12:16
54230      7165784518      10/22/2011       12:53:15
54231      7165785059      10/3/2012        19:58:28
54232      7165785111      12/2/2011        7:34:47
54233      7165785557      1/23/2012        7:01:36
54234      7165786216      10/19/2012       19:01:50
54235      7165786388      6/27/2012        12:00:58
54236      7165786688      10/2/2012        7:33:08
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54237      7165790210      10/3/2012        19:45:58
54238      7165794399      7/2/2012         17:14:37
54239      7165796295      12/9/2011        7:31:40
54240      7165810035      5/19/2012        9:36:56
54241      7165925480      1/16/2012        17:07:46
54242      7165972560      5/7/2012         7:08:41
54243      7165972863      7/11/2012        17:18:08
54244      7165974495      5/22/2012        18:32:29
54245      7166020953      7/9/2012         19:04:38
54246      7166021565      10/24/2011       7:01:07
54247      7166022097      10/26/2011       13:30:17
54248      7166022740      7/3/2012         19:34:16
54249      7166022821      3/7/2012         18:26:50
54250      7166022821      3/23/2012        19:10:52
54251      7166022821      5/21/2012        7:29:49
54252      7166022854      12/7/2011        17:44:46
54253      7166024053      7/19/2012        17:34:50
54254      7166024858      4/12/2012        12:24:29
54255      7166025956      5/21/2012        7:22:09
54256      7166027103      6/30/2012        8:26:27
54257      7166027187      3/7/2012         18:26:50
54258      7166027926      8/23/2012        11:57:31
54259      7166028606      1/5/2012         17:19:26
54260      7166030356      3/12/2012        19:37:59
54261      7166031210      8/22/2012        11:16:36
54262      7166032157      9/17/2012        7:42:47
54263      7166033074      5/11/2012        12:08:28
54264      7166036344      9/13/2011        14:46:04
54265      7166038067      5/26/2012        14:21:41
54266      7166038910      5/21/2012        7:22:11
54267      7166039469      9/12/2011        13:43:28
54268      7166048529      2/21/2012        9:37:36
54269      7166055606      12/28/2011       7:01:36
54270      7166070492      3/21/2012        7:15:40
54271      7166094656      4/6/2012         16:02:38
54272      7166222423      12/24/2011       11:40:40
54273      7166281171      10/3/2011        7:48:47
54274      7166282198      4/25/2012        9:23:29
54275      7166495083      11/22/2011       19:05:31
54276      7166811312      7/20/2012        7:41:13
54277      7166949707      11/12/2011       9:47:07
54278      7166983308      4/26/2012        7:58:49
54279      7167080759      5/13/2011        11:22:45
54280      7167150925      9/19/2012        7:51:04
54281      7167152674      12/30/2011       7:09:17
54282      7167152674      5/21/2012        7:39:33
54283      7167153669      9/15/2011        7:34:11
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54284      7167154148      2/18/2012        8:50:52
54285      7167154172      2/14/2012        16:34:52
54286      7167157800      1/11/2012        7:32:40
54287      7167157800      7/3/2012         7:11:32
54288      7167158515      3/14/2011        17:13:53
54289      7167159876      10/22/2011       12:53:32
54290      7167257103      9/20/2011        16:33:33
54291      7167852660      1/23/2012        7:11:17
54292      7167853566      5/21/2012        7:29:46
54293      7167853566      5/21/2012        7:30:03
54294      7167855752      12/27/2011       14:26:56
54295      7167857370      9/13/2011        18:33:27
54296      7167914910      11/19/2011       8:16:44
54297      7167961524      7/11/2012        9:35:23
54298      7167967520      7/3/2012         7:12:21
54299      7167997375      11/2/2011        7:13:37
54300      7168011959      10/10/2012       19:09:51
54301      7168015260      2/25/2012        10:27:02
54302      7168041795      9/26/2011        8:35:22
54303      7168042946      12/27/2011       14:26:58
54304      7168045907      3/21/2012        13:36:01
54305      7168072665      10/10/2011       12:10:10
54306      7168079771      10/1/2012        13:41:08
54307      7168127537      9/27/2012        16:30:24
54308      7168128754      8/13/2011        9:56:01
54309      7168169849      10/27/2011       15:02:12
54310      7168181435      1/24/2012        9:55:39
54311      7168181527      7/2/2012         16:59:57
54312      7168181782      9/15/2011        7:13:24
54313      7168285419      8/11/2012        9:31:51
54314      7168299844      11/23/2011       14:28:52
54315      7168300029      5/17/2011        9:21:29
54316      7168306759      9/8/2011         19:51:11
54317      7168332358      10/15/2011       8:34:28
54318      7168607844      9/29/2011        15:29:57
54319      7168630162      7/6/2012         14:39:35
54320      7168634379      11/17/2011       13:32:41
54321      7168635014      12/23/2011       14:41:58
54322      7168638786      10/23/2012       16:03:49
54323      7168638991      3/29/2012        11:13:33
54324      7168646254      2/28/2012        7:40:25
54325      7168647436      9/19/2011        19:23:20
54326      7168689518      9/8/2011         18:24:46
54327      7168700352      3/7/2012         18:27:37
54328      7168707260      3/26/2012        18:52:35
54329      7168707479      5/16/2012        16:52:30
54330      7168910671      3/10/2011        17:33:06
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54331      7169011964      2/17/2012        8:54:34
54332      7169030647      12/3/2011        8:51:59
54333      7169031306      6/12/2012        17:18:27
54334      7169034791      3/3/2012         8:32:12
54335      7169037173      1/21/2012        8:01:31
54336      7169040336      3/7/2012         18:47:27
54337      7169071774      9/27/2012        16:26:47
54338      7169074094      11/23/2011       9:08:45
54339      7169080802      10/26/2011       8:15:32
54340      7169122154      8/12/2011        8:23:59
54341      7169124309      8/17/2012        7:06:13
54342      7169137477      9/17/2011        9:50:12
54343      7169139068      3/15/2012        19:23:02
54344      7169302188      1/19/2012        7:07:25
54345      7169305756      11/23/2011       14:28:52
54346      7169309886      1/27/2012        17:34:00
54347      7169310116      12/12/2011       16:16:25
54348      7169313200      10/17/2011       7:13:29
54349      7169398367      1/19/2012        18:25:08
54350      7169399046      1/5/2012         17:19:17
54351      7169401382      7/16/2012        19:47:48
54352      7169401594      8/2/2012         18:52:42
54353      7169404642      12/2/2011        15:03:29
54354      7169407119      6/3/2011         7:27:08
54355      7169468629      2/20/2012        7:03:19
54356      7169487431      4/19/2012        7:16:50
54357      7169488608      10/20/2011       15:58:22
54358      7169489130      10/6/2011        7:53:51
54359      7169489130      10/14/2011       12:39:56
54360      7169489559      3/10/2011        17:30:21
54361      7169510012      1/4/2012         11:11:24
54362      7169510518      6/4/2012         8:19:18
54363      7169512191      9/26/2012        14:40:25
54364      7169543918      3/13/2012        18:32:20
54365      7169576050      11/30/2011       15:06:55
54366      7169690565      10/5/2011        14:39:58
54367      7169696656      8/8/2011         12:14:13
54368      7169825699      9/20/2012        20:59:30
54369      7169829311      7/13/2012        18:31:17
54370      7169866571      10/27/2011       16:17:39
54371      7169891706      11/14/2011       14:14:50
54372      7169900182      11/25/2011       17:23:59
54373      7169900203      9/21/2011        11:22:09
54374      7169900597      10/10/2012       19:09:38
54375      7169900765      10/12/2011       7:19:22
54376      7169901882      12/10/2011       12:40:19
54377      7169908231      12/29/2011       10:53:17
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54378      7169909447      9/8/2011         18:32:00
54379      7169909515      11/23/2011       9:09:00
54380      7169975357      6/23/2012        16:17:45
54381      7169984332      3/16/2012        15:57:14
54382      7169985169      11/4/2011        7:21:50
54383      7172013701      8/18/2012        8:56:25
54384      7172018403      9/19/2011        19:28:43
54385      7172029360      3/29/2012        16:31:56
54386      7172033203      3/13/2012        18:28:04
54387      7172034336      10/4/2011        13:35:36
54388      7172035465      10/12/2013       8:53:23
54389      7172037920      4/13/2012        13:36:26
54390      7172154666      12/20/2011       7:06:39
54391      7172179844      2/13/2012        18:24:02
54392      7172226538      10/14/2011       12:39:25
54393      7172227090      12/14/2011       12:58:59
54394      7172228101      11/1/2011        8:02:31
54395      7172260487      11/25/2011       17:27:19
54396      7172261621      3/10/2012        8:24:13
54397      7172289410      12/6/2011        14:31:50
54398      7172504089      3/27/2012        14:51:24
54399      7172504138      4/30/2012        14:48:14
54400      7172506130      11/15/2011       15:20:52
54401      7172507305      10/8/2011        9:12:17
54402      7172520741      12/20/2011       17:42:04
54403      7172521123      9/18/2012        14:22:22
54404      7172535059      9/6/2012         12:21:15
54405      7172693748      7/13/2011        11:23:20
54406      7172699684      10/11/2011       15:57:19
54407      7172711293      10/31/2011       7:46:43
54408      7172712999      2/17/2012        18:26:02
54409      7172714053      5/14/2012        15:15:47
54410      7172719632      3/19/2012        19:12:44
54411      7172778512      9/12/2011        13:12:33
54412      7172778597      2/1/2012         8:05:48
54413      7172785622      6/7/2012         18:22:53
54414      7172864260      12/18/2011       17:59:22
54415      7172867635      11/23/2011       14:37:09
54416      7173038948      3/21/2011        10:38:07
54417      7173040264      4/21/2011        9:29:28
54418      7173068153      9/10/2011        8:25:04
54419      7173092308      2/28/2012        16:01:41
54420      7173096845      3/10/2011        16:04:39
54421      7173149180      10/25/2012       19:42:19
54422      7173151206      2/6/2012         7:17:00
54423      7173151260      7/16/2012        19:36:17
54424      7173152777      9/13/2011        18:37:00
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54425      7173154007      6/12/2012        17:09:36
54426      7173180125      10/11/2012       18:34:00
54427      7173180645      3/15/2012        19:03:19
54428      7173180862      10/10/2011       12:10:39
54429      7173183967      1/13/2012        17:21:16
54430      7173184177      2/3/2012         7:07:52
54431      7173184366      9/19/2011        7:24:44
54432      7173186128      12/29/2011       10:59:15
54433      7173188481      10/4/2011        13:35:59
54434      7173189526      3/16/2012        15:47:27
54435      7173189979      10/1/2011        10:14:18
54436      7173191050      2/14/2012        9:55:13
54437      7173192917      2/16/2012        7:05:00
54438      7173197837      4/12/2012        12:16:14
54439      7173214044      4/4/2012         7:06:26
54440      7173270100      8/20/2012        18:53:28
54441      7173278254      9/27/2011        18:21:40
54442      7173292379      2/11/2012        11:00:03
54443      7173292379      6/24/2012        11:29:39
54444      7173303984      8/24/2011        12:16:49
54445      7173305450      5/6/2011         15:51:07
54446      7173305454      1/8/2012         13:05:19
54447      7173305662      9/29/2011        15:41:52
54448      7173306229      9/21/2012        18:51:31
54449      7173307591      11/18/2011       13:24:16
54450      7173309024      10/31/2011       7:45:15
54451      7173312045      1/16/2012        7:03:45
54452      7173322443      6/2/2012         12:54:12
54453      7173325965      10/27/2011       15:13:03
54454      7173328216      3/30/2011        8:40:44
54455      7173329181      4/4/2011         13:37:05
54456      7173330514      5/23/2012        15:27:08
54457      7173330514      6/5/2012         17:48:38
54458      7173334446      11/17/2011       16:15:07
54459      7173337481      10/1/2011        10:25:09
54460      7173398676      6/27/2011        7:39:02
54461      7173413249      11/29/2011       16:09:36
54462      7173416247      3/13/2012        7:07:51
54463      7173418113      10/20/2011       15:20:59
54464      7173427213      12/9/2011        15:51:19
54465      7173428669      5/23/2012        14:52:24
54466      7173429908      6/11/2012        7:10:11
54467      7173434635      1/14/2012        8:16:06
54468      7173434635      3/14/2012        19:40:38
54469      7173434954      5/9/2012         16:12:37
54470      7173436532      11/7/2011        7:21:45
54471      7173437154      7/11/2012        17:14:00
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54472      7173437335      11/18/2011       12:47:20
54473      7173443519      9/24/2011        9:13:54
54474      7173480466      10/5/2012        18:19:44
54475      7173480913      12/21/2011       10:33:53
54476      7173485663      4/7/2012         9:05:50
54477      7173488479      5/20/2011        17:36:44
54478      7173500715      1/11/2012        7:44:50
54479      7173506826      10/3/2012        7:01:50
54480      7173570129      9/10/2011        9:04:01
54481      7173600144      1/18/2012        16:49:20
54482      7173600295      11/5/2011        9:16:35
54483      7173606509      10/13/2012       9:08:58
54484      7173632099      11/23/2011       14:49:35
54485      7173642596      12/13/2013       15:01:43
54486      7173646625      6/14/2012        15:49:06
54487      7173676268      10/5/2011        10:45:17
54488      7173716993      9/27/2011        18:35:51
54489      7173716993      1/5/2012         13:56:01
54490      7173765541      12/7/2011        18:16:48
54491      7173769568      7/12/2011        11:16:16
54492      7173772741      4/7/2012         9:40:05
54493      7173777344      8/20/2011        9:30:29
54494      7173777487      10/19/2012       19:06:50
54495      7173791674      9/27/2012        16:26:49
54496      7173791846      9/20/2011        16:42:38
54497      7173792424      2/2/2012         7:12:42
54498      7173793926      11/23/2011       9:58:07
54499      7173794061      12/7/2011        14:00:00
54500      7173796192      11/14/2011       16:39:01
54501      7173803650      5/14/2012        15:25:45
54502      7173808334      5/11/2012        7:09:25
54503      7173808416      8/3/2012         7:26:21
54504      7173808416      9/20/2012        7:02:56
54505      7173815065      4/18/2012        7:14:13
54506      7173818593      10/20/2012       8:12:22
54507      7173818686      3/29/2011        16:11:30
54508      7173835219      12/18/2011       17:03:38
54509      7173835307      6/28/2012        14:13:17
54510      7173850471      7/11/2012        17:14:51
54511      7173855986      12/17/2011       11:57:44
54512      7173868329      2/1/2012         18:27:12
54513      7173895649      12/17/2011       11:49:38
54514      7173953549      11/11/2011       16:52:18
54515      7173955506      3/16/2012        10:14:52
54516      7173956669      6/7/2012         18:35:59
54517      7173958353      3/14/2014        8:10:15
54518      7173986071      7/3/2012         7:11:30
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54519      7174045127      2/24/2012        17:07:52
54520      7174050994      10/5/2011        14:28:41
54521      7174055135      4/3/2012         16:06:50
54522      7174058163      6/23/2012        16:20:56
54523      7174062338      11/16/2013       14:49:57
54524      7174141368      2/21/2012        17:32:35
54525      7174144456      9/21/2012        18:49:01
54526      7174193434      1/9/2012         18:02:57
54527      7174195483      2/13/2012        7:04:42
54528      7174195682      3/19/2012        7:11:15
54529      7174199432      12/1/2011        7:57:41
54530      7174212719      7/28/2012        8:43:29
54531      7174214483      11/17/2011       16:15:41
54532      7174217664      7/13/2012        18:27:33
54533      7174218433      12/22/2011       7:47:38
54534      7174240348      5/26/2012        14:31:09
54535      7174241868      5/30/2012        16:53:58
54536      7174242366      11/18/2011       13:28:41
54537      7174243055      9/19/2011        7:22:15
54538      7174243531      9/21/2012        18:44:02
54539      7174244574      9/28/2011        10:49:33
54540      7174245411      12/29/2011       18:51:48
54541      7174246827      12/19/2011       7:17:19
54542      7174247029      11/8/2011        8:18:02
54543      7174247736      10/4/2011        13:47:23
54544      7174248719      10/10/2011       12:11:28
54545      7174249712      2/17/2012        18:15:55
54546      7174253256      5/9/2012         8:09:54
54547      7174254886      9/13/2012        7:44:57
54548      7174332582      10/23/2012       11:02:22
54549      7174340051      2/1/2012         8:19:41
54550      7174340065      6/29/2011        17:06:32
54551      7174340065      11/11/2011       16:51:54
54552      7174340065      1/6/2012         14:57:37
54553      7174344442      5/30/2012        12:37:29
54554      7174344556      10/11/2011       15:53:25
54555      7174348718      9/20/2011        18:02:58
54556      7174370752      1/9/2012         18:23:01
54557      7174373929      8/20/2012        18:47:48
54558      7174408172      4/26/2012        8:13:58
54559      7174409189      5/23/2012        16:44:50
54560      7174438000      4/2/2012         17:09:01
54561      7174463970      8/22/2012        11:17:54
54562      7174484482      11/8/2011        14:15:39
54563      7174485458      12/7/2011        13:24:11
54564      7174492841      8/14/2012        8:00:37
54565      7174514404      10/2/2012        7:33:21
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54566      7174615068      4/28/2012        8:01:43
54567      7174682728      4/10/2012        11:39:19
54568      7174682728      4/21/2012        16:30:38
54569      7174682939      9/27/2012        16:27:13
54570      7174710757      9/8/2012         11:02:28
54571      7174716999      9/19/2011        19:25:21
54572      7174717948      1/23/2012        14:39:16
54573      7174757878      9/20/2011        18:02:57
54574      7174757878      11/12/2011       10:20:49
54575      7174800956      9/26/2012        14:38:28
54576      7174808589      6/16/2012        15:14:05
54577      7174901493      6/25/2012        13:35:20
54578      7174903378      6/7/2012         18:29:57
54579      7174904315      11/18/2011       13:28:55
54580      7174951043      5/14/2012        7:12:34
54581      7174951043      5/20/2012        15:25:18
54582      7174951043      7/17/2012        7:09:14
54583      7174953898      5/26/2012        8:34:42
54584      7174963814      10/10/2011       12:11:20
54585      7174975750      5/14/2012        7:10:40
54586      7175022030      8/10/2011        18:27:08
54587      7175030910      1/4/2012         11:07:28
54588      7175042482      10/3/2012        9:21:39
54589      7175047318      11/5/2011        11:03:35
54590      7175122224      8/20/2012        7:44:14
54591      7175133445      11/17/2011       16:42:46
54592      7175133590      1/6/2012         14:32:45
54593      7175142938      6/27/2012        18:05:01
54594      7175149707      9/29/2012        9:48:03
54595      7175158062      6/12/2012        17:11:46
54596      7175171120      5/22/2012        11:39:50
54597      7175213709      6/5/2012         13:54:08
54598      7175218891      10/21/2011       12:32:25
54599      7175249546      9/23/2011        11:35:00
54600      7175328276      9/10/2011        8:42:39
54601      7175380580      7/25/2012        12:05:24
54602      7175380969      11/30/2011       14:45:31
54603      7175381569      8/23/2012        19:07:02
54604      7175381995      9/19/2011        19:05:16
54605      7175382708      9/19/2011        7:22:41
54606      7175382708      10/6/2011        16:05:47
54607      7175385283      10/4/2011        13:13:40
54608      7175386005      7/5/2012         7:43:41
54609      7175420051      10/6/2011        9:24:16
54610      7175420529      10/25/2012       19:36:36
54611      7175421249      11/18/2011       13:36:41
54612      7175421519      12/23/2011       13:42:35
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54613      7175421519      4/9/2012         17:46:15
54614      7175421978      5/2/2012         13:10:21
54615      7175421978      5/15/2012        7:52:58
54616      7175421978      5/30/2012        12:40:18
54617      7175425208      12/14/2011       13:03:29
54618      7175528590      5/11/2011        16:49:44
54619      7175549127      9/29/2012        9:59:16
54620      7175549332      10/25/2011       16:48:41
54621      7175549776      10/20/2011       15:20:58
54622      7175571271      1/4/2012         15:01:21
54623      7175571271      1/13/2012        17:15:47
54624      7175571271      5/18/2012        15:56:36
54625      7175659910      9/1/2012         9:07:34
54626      7175714575      9/26/2011        8:44:34
54627      7175714575      10/26/2011       12:54:06
54628      7175721460      11/29/2011       16:09:14
54629      7175724721      10/18/2011       12:58:49
54630      7175726199      5/25/2012        17:09:24
54631      7175757536      5/1/2012         17:36:44
54632      7175757551      12/14/2011       18:06:32
54633      7175761963      10/10/2011       12:31:18
54634      7175763156      9/24/2011        9:14:55
54635      7175766506      2/18/2012        8:42:20
54636      7175769142      1/8/2012         13:05:04
54637      7175775310      9/22/2012        9:32:41
54638      7175775310      10/19/2012       9:45:24
54639      7175782374      11/30/2011       7:17:15
54640      7175784348      9/8/2011         19:42:38
54641      7175784511      7/15/2011        7:55:06
54642      7175792418      1/27/2012        17:54:52
54643      7175796404      4/11/2012        7:09:14
54644      7175853508      8/24/2011        12:06:48
54645      7175860612      6/27/2012        17:50:48
54646      7175863351      6/12/2012        17:04:55
54647      7175866825      4/11/2012        19:35:31
54648      7175867342      1/13/2012        17:11:36
54649      7175921470      3/14/2012        19:29:24
54650      7175928941      4/1/2012         16:02:25
54651      7175929487      9/13/2011        17:19:36
54652      7175983146      9/30/2011        9:53:45
54653      7175992561      11/21/2011       7:30:41
54654      7175998552      3/14/2012        19:40:51
54655      7176025901      10/20/2012       8:02:20
54656      7176063767      9/8/2011         19:24:40
54657      7176065818      5/4/2012         7:27:56
54658      7176069831      7/5/2012         15:32:09
54659      7176080277      12/23/2011       7:14:48
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54660      7176080277      1/9/2012         18:03:23
54661      7176081435      9/24/2012        18:48:57
54662      7176081658      12/10/2011       12:54:02
54663      7176081931      9/24/2011        9:04:59
54664      7176081931      10/15/2011       9:55:27
54665      7176084212      6/29/2011        16:36:00
54666      7176089984      10/18/2012       7:19:45
54667      7176097655      1/6/2012         14:36:26
54668      7176122571      8/9/2012         14:01:19
54669      7176140754      1/10/2012        18:05:04
54670      7176149541      12/23/2011       7:01:34
54671      7176151042      7/26/2011        10:30:54
54672      7176151256      7/23/2012        15:13:55
54673      7176151972      12/2/2011        7:40:32
54674      7176153234      6/16/2012        8:42:42
54675      7176154268      10/20/2011       15:57:22
54676      7176236589      5/8/2012         7:15:34
54677      7176236589      5/23/2012        15:28:18
54678      7176239250      4/21/2012        16:33:02
54679      7176239250      9/4/2012         16:05:00
54680      7176291789      4/18/2012        7:08:40
54681      7176348217      1/3/2012         11:13:19
54682      7176348217      5/4/2012         14:26:28
54683      7176360595      1/17/2012        7:10:09
54684      7176399719      10/22/2012       17:47:31
54685      7176399721      4/14/2012        9:10:11
54686      7176447474      3/20/2012        17:39:58
54687      7176448916      11/12/2011       9:21:59
54688      7176459232      4/9/2012         18:08:46
54689      7176490827      9/23/2011        18:31:20
54690      7176494092      8/6/2012         15:52:28
54691      7176494456      3/25/2012        12:08:12
54692      7176494476      9/19/2011        7:37:07
54693      7176500677      7/14/2011        15:51:07
54694      7176505837      3/3/2012         8:42:34
54695      7176505837      3/16/2012        15:49:39
54696      7176505848      11/7/2011        7:21:01
54697      7176543644      10/20/2012       16:24:58
54698      7176544350      9/21/2012        18:54:25
54699      7176545002      9/26/2012        14:37:59
54700      7176580724      6/7/2012         18:27:13
54701      7176582026      9/8/2011         18:23:41
54702      7176582027      9/22/2011        15:39:07
54703      7176586402      2/1/2012         18:32:19
54704      7176594168      11/8/2011        14:24:24
54705      7176664362      3/16/2012        10:30:18
54706      7176664362      3/28/2012        18:12:59
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54707      7176680222      12/31/2011       12:14:10
54708      7176682350      1/19/2012        18:27:31
54709      7176682407      8/25/2012        8:28:19
54710      7176683451      9/21/2012        15:35:43
54711      7176690006      8/13/2012        7:27:56
54712      7176691194      5/19/2011        7:58:20
54713      7176692560      10/15/2011       9:53:17
54714      7176696488      7/19/2012        7:54:40
54715      7176696719      9/19/2011        14:53:13
54716      7176699568      6/7/2012         16:36:39
54717      7176732594      10/28/2011       13:27:17
54718      7176732594      12/1/2011        8:15:41
54719      7176732594      4/11/2012        11:03:08
54720      7176732594      5/21/2012        7:06:14
54721      7176735988      9/22/2011        15:11:58
54722      7176765162      10/15/2011       8:56:06
54723      7176767543      10/10/2011       12:35:32
54724      7176795502      9/21/2011        19:29:03
54725      7176795731      9/27/2011        18:28:59
54726      7176818194      5/25/2012        12:01:09
54727      7176818935      10/26/2011       12:59:52
54728      7176827424      5/8/2012         9:06:21
54729      7176828414      3/8/2012         9:45:25
54730      7176832571      10/14/2011       13:13:21
54731      7176835507      2/20/2012        7:12:29
54732      7176838317      7/14/2011        15:59:42
54733      7176861922      10/22/2012       18:09:31
54734      7177011060      5/10/2012        16:09:54
54735      7177012217      7/14/2012        8:07:16
54736      7177012284      2/29/2012        7:05:18
54737      7177017308      3/19/2012        17:37:00
54738      7177017308      4/4/2012         18:44:15
54739      7177017949      10/1/2011        10:22:41
54740      7177019563      3/22/2012        7:47:40
54741      7177123823      4/21/2012        16:13:39
54742      7177134203      1/12/2014        16:16:23
54743      7177136083      2/11/2012        10:37:28
54744      7177157155      12/18/2011       16:55:41
54745      7177231945      4/16/2011        14:52:37
54746      7177257346      5/25/2011        17:18:17
54747      7177258536      10/3/2011        7:22:20
54748      7177258536      12/15/2011       7:58:22
54749      7177520675      8/6/2012         16:15:30
54750      7177528461      6/5/2012         7:12:09
54751      7177563170      12/7/2011        17:45:51
54752      7177566013      1/28/2012        8:03:29
54753      7177580864      6/29/2012        17:49:01
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54754      7177791525      7/12/2012        7:00:49
54755      7177799705      10/1/2012        8:18:04
54756      7177799944      6/12/2012        7:11:27
54757      7177921617      3/10/2012        9:00:56
54758      7177995860      7/13/2011        11:44:50
54759      7177998041      9/19/2011        19:23:31
54760      7178020398      1/5/2012         13:57:55
54761      7178025508      7/16/2012        7:11:00
54762      7178057115      11/22/2011       19:02:28
54763      7178057115      12/6/2011        7:34:48
54764      7178059088      11/12/2011       9:19:09
54765      7178083524      10/7/2011        7:02:11
54766      7178099437      10/5/2011        14:02:07
54767      7178130107      5/14/2012        7:01:02
54768      7178130700      6/29/2012        9:30:27
54769      7178132161      11/19/2011       8:49:31
54770      7178132673      10/17/2011       7:13:39
54771      7178133517      9/27/2012        16:28:29
54772      7178142581      7/27/2012        15:32:36
54773      7178160590      12/28/2011       13:24:05
54774      7178170597      3/28/2012        7:29:09
54775      7178173631      8/28/2012        7:28:44
54776      7178176308      9/22/2011        15:34:30
54777      7178177511      9/8/2011         17:40:01
54778      7178178608      4/11/2012        13:18:23
54779      7178178608      4/17/2012        9:40:42
54780      7178183229      10/25/2011       16:03:56
54781      7178197787      3/23/2012        19:47:05
54782      7178241138      5/21/2012        8:41:25
54783      7178241288      6/14/2012        16:01:18
54784      7178245922      3/13/2012        18:52:56
54785      7178245942      11/30/2011       7:29:51
54786      7178250713      9/22/2011        15:17:20
54787      7178251805      10/17/2011       7:47:09
54788      7178262333      6/27/2012        12:11:05
54789      7178294637      9/20/2011        15:00:17
54790      7178300383      2/14/2012        15:20:10
54791      7178305592      3/8/2012         7:19:51
54792      7178305592      5/11/2012        18:34:00
54793      7178308056      2/14/2012        15:33:13
54794      7178412169      7/11/2012        9:35:47
54795      7178414718      9/21/2011        19:42:58
54796      7178553325      10/6/2011        16:18:23
54797      7178557171      2/21/2012        17:48:17
54798      7178581117      9/11/2012        7:42:09
54799      7178587117      3/19/2012        19:08:45
54800      7178587372      6/11/2011        8:28:52
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54801      7178600355      1/4/2012         11:11:52
54802      7178601709      1/17/2012        17:35:05
54803      7178605141      5/7/2011         13:57:45
54804      7178735101      12/7/2011        13:53:30
54805      7178738778      6/15/2012        8:51:43
54806      7178751031      8/24/2012        7:37:47
54807      7178751965      5/10/2011        19:12:39
54808      7178803493      10/16/2012       7:25:45
54809      7178816446      11/9/2011        7:56:12
54810      7178819646      11/26/2011       12:20:30
54811      7178853153      9/14/2011        11:45:02
54812      7178876667      9/15/2011        7:21:13
54813      7178876795      1/12/2012        14:04:18
54814      7178877636      7/19/2012        17:31:47
54815      7178879241      2/21/2012        9:32:10
54816      7178879808      9/22/2012        8:59:19
54817      7178912313      9/3/2012         14:44:41
54818      7179031860      9/19/2011        19:05:51
54819      7179105367      9/11/2012        7:47:47
54820      7179106672      5/21/2012        17:30:46
54821      7179162519      3/6/2012         15:42:12
54822      7179163592      8/17/2012        7:03:51
54823      7179168986      9/10/2012        7:39:09
54824      7179175813      10/25/2012       19:36:22
54825      7179190072      11/11/2011       14:35:12
54826      7179190105      3/16/2012        15:49:07
54827      7179190141      9/14/2011        16:47:31
54828      7179190341      9/8/2011         19:23:11
54829      7179265438      11/22/2011       18:40:04
54830      7179265921      3/24/2012        9:59:39
54831      7179395260      11/23/2011       10:18:33
54832      7179408944      3/7/2012         18:41:12
54833      7179452336      3/3/2012         8:19:47
54834      7179454284      7/14/2012        8:17:02
54835      7179510871      1/7/2012         9:01:53
54836      7179532721      10/31/2011       7:14:17
54837      7179616935      6/7/2012         14:32:00
54838      7179650167      8/14/2012        15:30:01
54839      7179684004      9/8/2011         19:25:23
54840      7179777144      10/6/2011        17:37:48
54841      7179777315      8/14/2012        11:49:41
54842      7179778947      5/23/2012        14:52:38
54843      7179797215      9/25/2012        14:40:42
54844      7179797215      10/19/2012       9:43:53
54845      7179798589      10/14/2011       13:36:18
54846      7179912713      2/6/2012         17:07:18
54847      7179942775      10/11/2011       15:43:46
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54848      7179945692      10/25/2012       19:44:52
54849      7179946250      9/24/2011        9:09:48
54850      7179947066      12/1/2011        15:21:15
54851      7179949412      8/3/2012         7:51:27
54852      7182131866      5/29/2012        17:04:52
54853      7182192579      4/12/2012        14:54:26
54854      7182195365      3/15/2012        7:27:02
54855      7182350870      3/23/2012        19:46:50
54856      7182493348      9/14/2011        9:36:33
54857      7183062207      2/28/2012        16:02:22
54858      7183270689      10/24/2012       14:43:32
54859      7183409512      7/28/2012        8:42:42
54860      7183744932      11/16/2011       9:04:46
54861      7184198625      8/23/2012        11:46:05
54862      7184274096      10/6/2012        8:54:33
54863      7184507202      5/15/2012        7:57:14
54864      7184833892      1/8/2012         12:54:56
54865      7184965754      9/19/2011        19:23:33
54866      7185065127      1/4/2012         12:20:15
54867      7185068614      12/18/2011       17:46:17
54868      7185138063      12/20/2011       19:20:28
54869      7185138063      5/23/2012        16:42:00
54870      7185140754      11/18/2011       12:38:45
54871      7185304909      12/20/2011       19:21:45
54872      7185416209      11/18/2011       12:49:06
54873      7185512856      4/18/2012        7:07:13
54874      7185987309      9/26/2011        8:28:13
54875      7186070403      5/25/2011        16:50:30
54876      7186079246      11/5/2011        9:50:57
54877      7186370429      10/21/2011       13:00:24
54878      7186794066      12/14/2011       17:49:53
54879      7186877876      9/18/2012        21:28:55
54880      7186901689      9/21/2012        14:58:30
54881      7186906602      10/22/2011       12:53:53
54882      7187176947      12/14/2011       18:00:21
54883      7187810623      11/1/2011        8:26:59
54884      7187812939      11/29/2011       15:25:55
54885      7188085737      9/15/2012        8:28:16
54886      7188093565      10/18/2012       8:08:28
54887      7188095270      5/21/2012        7:47:24
54888      7188407436      6/7/2012         18:27:28
54889      7188407436      6/15/2012        16:36:50
54890      7188648644      10/27/2011       16:59:40
54891      7188875373      2/13/2012        18:47:38
54892      7189024989      7/28/2012        8:56:48
54893      7189027523      3/30/2012        16:02:57
54894      7189156494      11/7/2011        7:21:18
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54895      7189162350      12/12/2011       12:14:02
54896      7189249984      10/3/2011        7:14:59
54897      7189268222      9/28/2011        10:04:31
54898      7189288640      10/3/2011        7:21:57
54899      7189647194      6/21/2012        18:42:34
54900      7189714594      7/13/2012        18:33:20
54901      7189741671      9/24/2011        9:17:08
54902      7192001461      10/13/2011       7:17:53
54903      7192005681      3/26/2011        12:40:11
54904      7192007808      5/7/2012         7:22:32
54905      7192008434      4/13/2012        20:41:55
54906      7192010881      3/6/2012         15:52:00
54907      7192011272      10/21/2011       13:37:28
54908      7192011272      11/15/2011       15:48:14
54909      7192012374      3/13/2012        18:52:09
54910      7192012518      2/1/2012         9:43:20
54911      7192014373      9/14/2011        10:20:44
54912      7192014586      4/26/2012        17:34:21
54913      7192054357      9/12/2011        14:29:10
54914      7192071606      11/19/2011       9:03:51
54915      7192080091      3/7/2012         18:44:51
54916      7192092204      4/3/2012         20:16:44
54917      7192092843      10/14/2011       13:30:50
54918      7192099131      12/2/2011        14:15:22
54919      7192103625      12/17/2011       11:19:34
54920      7192104921      4/9/2012         18:18:57
54921      7192107147      10/4/2011        13:55:47
54922      7192109263      10/12/2011       12:15:04
54923      7192136414      12/10/2011       14:50:12
54924      7192141434      12/23/2011       14:35:29
54925      7192141504      10/8/2011        10:10:31
54926      7192142428      5/5/2012         8:01:06
54927      7192144392      9/15/2012        11:18:42
54928      7192147831      7/9/2011         9:02:53
54929      7192161475      5/22/2012        18:23:06
54930      7192166665      9/21/2012        15:57:37
54931      7192167045      5/8/2012         21:08:19
54932      7192170441      9/13/2012        15:17:45
54933      7192172671      10/12/2011       9:01:58
54934      7192175022      9/7/2012         15:44:10
54935      7192176389      10/25/2011       15:40:53
54936      7192179009      9/20/2011        20:48:06
54937      7192179305      3/8/2012         9:17:42
54938      7192212292      10/8/2011        12:09:28
54939      7192213882      1/13/2012        17:29:15
54940      7192255223      5/23/2011        16:10:50
54941      7192259747      9/19/2011        14:54:06
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54942      7192259747      10/8/2011        12:11:18
54943      7192290234      5/21/2012        9:03:20
54944      7192290234      5/21/2012        9:06:05
54945      7192296468      5/26/2012        14:23:38
54946      7192297346      12/13/2011       18:24:21
54947      7192297499      4/24/2012        18:17:18
54948      7192299827      10/20/2011       15:47:17
54949      7192313325      4/5/2012         14:37:38
54950      7192315463      11/19/2011       8:21:32
54951      7192322624      9/1/2012         9:22:47
54952      7192325429      9/28/2011        10:24:03
54953      7192326508      11/3/2011        17:27:01
54954      7192326575      10/15/2011       9:43:19
54955      7192327093      1/10/2012        18:03:43
54956      7192327684      9/10/2011        9:02:59
54957      7192330752      1/19/2012        18:23:54
54958      7192334411      1/14/2012        9:17:38
54959      7192372403      9/29/2011        15:54:49
54960      7192381968      10/26/2011       13:17:31
54961      7192383040      10/17/2011       7:31:58
54962      7192383960      10/5/2011        14:20:26
54963      7192386696      8/13/2012        20:54:38
54964      7192403680      10/13/2011       10:36:13
54965      7192404041      3/29/2012        11:39:32
54966      7192406298      11/10/2011       14:21:07
54967      7192431530      8/24/2011        12:39:05
54968      7192437581      10/4/2011        13:55:06
54969      7192437581      12/22/2011       9:53:59
54970      7192445034      11/28/2011       17:09:14
54971      7192445633      10/5/2011        11:05:59
54972      7192460142      11/26/2011       12:03:41
54973      7192460142      1/8/2012         15:27:29
54974      7192460742      11/28/2011       12:24:06
54975      7192461521      2/25/2012        10:43:04
54976      7192481137      8/24/2012        11:09:02
54977      7192481137      8/25/2012        10:58:25
54978      7192483601      1/18/2012        10:12:54
54979      7192488799      11/18/2011       13:34:56
54980      7192500091      5/9/2012         21:38:18
54981      7192503367      2/16/2012        9:22:39
54982      7192510594      3/28/2012        11:07:04
54983      7192510594      3/31/2012        17:59:59
54984      7192521251      8/24/2012        11:08:03
54985      7192521772      7/10/2012        21:11:54
54986      7192532696      5/23/2012        16:56:07
54987      7192580143      11/15/2011       20:15:36
54988      7192710955      12/27/2011       9:10:59
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54989      7192711041      4/9/2012         13:38:50
54990      7192711501      10/21/2011       13:30:26
54991      7192713938      10/27/2011       16:58:06
54992      7192714070      7/9/2012         9:10:44
54993      7192715068      2/28/2012        16:13:34
54994      7192717747      10/8/2011        10:09:40
54995      7192721862      4/16/2012        9:03:11
54996      7192872388      7/29/2011        7:09:31
54997      7192874753      6/5/2012         18:00:07
54998      7192875353      11/1/2011        11:39:40
54999      7192876336      12/24/2011       9:21:19
55000      7192878603      10/24/2012       21:12:12
55001      7192879791      9/13/2011        14:20:30
55002      7192898043      10/3/2011        10:40:50
55003      7192898175      3/16/2012        15:59:58
55004      7192898799      9/19/2011        14:55:25
55005      7192898799      9/27/2011        18:52:13
55006      7192907407      10/24/2012       21:12:51
55007      7192908665      5/21/2012        9:04:56
55008      7192910656      6/24/2012        13:59:13
55009      7192914095      10/13/2012       9:01:22
55010      7192931910      12/6/2011        12:53:18
55011      7192980202      1/4/2012         11:08:38
55012      7192980202      1/9/2012         18:46:43
55013      7192980365      8/15/2012        21:43:24
55014      7192981142      8/2/2012         18:51:41
55015      7192986250      9/5/2012         15:21:46
55016      7193061944      12/28/2011       11:09:29
55017      7193066842      5/22/2012        18:30:38
55018      7193068845      2/2/2012         20:59:24
55019      7193068845      6/23/2012        16:29:19
55020      7193068845      7/2/2012         17:09:51
55021      7193069146      12/12/2011       12:28:38
55022      7193069829      5/9/2012         16:05:34
55023      7193100304      7/31/2012        7:12:08
55024      7193100469      6/29/2011        17:44:03
55025      7193101371      3/26/2012        14:45:11
55026      7193101681      3/12/2012        11:23:24
55027      7193103138      2/1/2012         9:45:07
55028      7193103324      8/23/2012        11:55:10
55029      7193108367      6/6/2012         15:02:34
55030      7193136769      9/10/2011        9:02:59
55031      7193147210      10/18/2012       7:15:26
55032      7193204136      3/21/2012        9:11:45
55033      7193206836      9/14/2011        12:37:53
55034      7193209783      7/9/2012         19:15:46
55035      7193211889      12/20/2011       19:26:37
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55036      7193212557      6/18/2012        15:29:02
55037      7193212916      6/7/2012         18:36:25
55038      7193213924      9/8/2011         19:54:39
55039      7193218168      11/30/2011       13:02:22
55040      7193219160      8/8/2012         10:05:27
55041      7193234114      6/14/2012        21:29:34
55042      7193256681      11/22/2011       19:43:34
55043      7193259296      6/15/2012        9:06:53
55044      7193313356      9/10/2011        9:17:49
55045      7193326403      3/25/2012        12:11:42
55046      7193342208      5/19/2012        9:44:55
55047      7193344677      2/29/2012        17:58:42
55048      7193346833      12/20/2011       11:51:12
55049      7193372636      9/14/2012        10:49:56
55050      7193376758      7/16/2012        9:36:29
55051      7193381774      12/13/2013       14:56:54
55052      7193382386      12/20/2011       19:39:12
55053      7193430334      1/9/2012         18:18:21
55054      7193441730      1/11/2012        16:39:30
55055      7193443463      11/12/2011       10:46:42
55056      7193443548      3/14/2012        14:21:38
55057      7193512346      10/25/2011       16:37:00
55058      7193516628      3/14/2012        7:06:52
55059      7193517473      10/28/2011       14:33:18
55060      7193519112      11/11/2011       14:36:43
55061      7193527701      10/25/2011       15:44:19
55062      7193550286      10/23/2012       18:55:52
55063      7193555600      8/5/2011         18:33:46
55064      7193556822      1/30/2012        9:06:08
55065      7193556822      5/18/2012        16:06:29
55066      7193571510      2/13/2012        9:32:20
55067      7193580293      3/16/2012        11:15:38
55068      7193580826      3/28/2012        18:25:34
55069      7193581052      11/26/2011       12:02:59
55070      7193581052      4/23/2012        20:40:30
55071      7193581441      5/5/2012         8:08:50
55072      7193592880      4/5/2012         14:37:50
55073      7193592880      6/22/2012        10:41:38
55074      7193593835      8/30/2011        17:31:15
55075      7193596465      12/29/2011       19:05:43
55076      7193600462      9/20/2011        18:40:31
55077      7193600463      10/6/2011        10:30:11
55078      7193602967      10/19/2011       12:00:36
55079      7193605224      9/10/2011        9:18:36
55080      7193606888      9/2/2011         13:09:41
55081      7193608560      8/15/2012        21:41:32
55082      7193690113      10/5/2011        14:47:36
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55083      7193692094      12/15/2011       9:02:54
55084      7193692980      2/2/2012         11:01:12
55085      7193694638      12/28/2011       11:09:23
55086      7193694638      1/11/2012        9:03:40
55087      7193694638      4/16/2012        10:08:21
55088      7193699663      9/27/2011        18:17:11
55089      7193712939      1/18/2012        10:33:37
55090      7193714712      11/15/2011       20:10:08
55091      7193718444      1/26/2012        10:10:52
55092      7193759210      3/12/2012        19:31:21
55093      7193759864      3/26/2012        14:47:42
55094      7193886818      3/28/2012        14:33:43
55095      7193928337      5/6/2012         21:18:34
55096      7194046451      5/4/2012         18:23:31
55097      7194064343      4/30/2012        14:58:52
55098      7194066750      9/25/2012        14:47:22
55099      7194067305      9/17/2011        10:33:30
55100      7194069864      9/10/2011        9:03:38
55101      7194292143      3/24/2012        10:07:58
55102      7194325065      4/23/2011        10:38:06
55103      7194325065      10/11/2011       16:32:06
55104      7194325168      9/19/2011        14:52:14
55105      7194325168      9/30/2011        10:07:00
55106      7194333354      2/6/2012         10:16:31
55107      7194333354      5/7/2012         9:12:45
55108      7194334827      12/14/2011       17:59:55
55109      7194334900      9/7/2011         14:34:24
55110      7194339557      9/21/2012        16:15:03
55111      7194348231      9/24/2012        14:38:52
55112      7194400797      5/23/2012        14:48:10
55113      7194401053      2/2/2012         21:01:26
55114      7194593371      7/19/2011        16:57:33
55115      7194594562      11/11/2011       20:29:13
55116      7194597933      9/13/2011        18:09:10
55117      7194606140      9/13/2011        16:45:30
55118      7194641610      6/24/2012        13:58:54
55119      7194641689      9/29/2011        15:17:37
55120      7194646912      5/21/2012        9:03:50
55121      7194654523      3/6/2012         20:30:59
55122      7194686765      3/26/2012        18:47:13
55123      7194689443      5/30/2012        16:59:04
55124      7194773399      8/22/2012        11:14:48
55125      7194800706      12/8/2011        9:51:43
55126      7194802138      11/11/2011       20:09:58
55127      7194802867      11/30/2011       15:23:15
55128      7194820337      11/15/2011       20:16:19
55129      7194824069      11/11/2011       13:49:32
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55130      7194825986      9/13/2011        18:07:22
55131      7194849082      1/6/2014         10:49:23
55132      7194849142      9/11/2012        21:25:02
55133      7194862441      10/10/2011       12:02:32
55134      7194917093      12/1/2011        10:24:51
55135      7194919216      5/18/2012        12:16:15
55136      7194926692      9/14/2011        21:35:22
55137      7194927066      2/1/2012         9:44:51
55138      7194927666      1/10/2012        20:52:19
55139      7194943048      2/27/2014        9:02:49
55140      7194949060      12/26/2011       20:33:04
55141      7194990023      5/21/2012        9:05:14
55142      7194998709      10/11/2011       17:36:01
55143      7195021660      11/11/2011       20:10:37
55144      7195021889      10/11/2011       17:38:36
55145      7195026331      5/26/2011        10:15:18
55146      7195105933      4/20/2012        20:49:21
55147      7195223223      7/25/2012        12:08:19
55148      7195420006      9/12/2011        13:32:26
55149      7195536674      9/11/2012        15:15:32
55150      7195572665      3/10/2012        9:30:40
55151      7195643822      1/16/2012        17:38:38
55152      7195658405      8/25/2012        10:58:30
55153      7195659383      12/27/2011       9:28:49
55154      7195681642      4/12/2012        12:24:00
55155      7195681642      5/21/2012        9:03:58
55156      7195681642      7/13/2012        17:21:47
55157      7195684413      4/10/2012        16:19:28
55158      7195685604      10/20/2012       10:36:18
55159      7195690192      5/9/2012         16:12:45
55160      7195732828      10/14/2011       13:01:04
55161      7195748268      6/6/2012         15:06:16
55162      7195802797      4/26/2011        20:23:44
55163      7195806075      5/5/2012         12:31:20
55164      7195806629      12/7/2011        13:42:03
55165      7195881061      7/21/2011        14:24:02
55166      7195883631      9/18/2012        21:28:42
55167      7195883631      9/22/2012        9:19:04
55168      7195883631      10/9/2012        20:05:01
55169      7195884486      11/16/2011       10:40:20
55170      7195884651      5/17/2012        16:36:00
55171      7195885506      10/28/2011       14:31:38
55172      7195885506      12/1/2011        15:32:23
55173      7195888413      9/27/2011        18:37:31
55174      7196402155      4/25/2011        15:02:22
55175      7196406260      9/28/2011        9:33:15
55176      7196418453      2/20/2012        17:14:48
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55177      7196418453      3/14/2012        19:37:32
55178      7196419040      10/15/2011       11:02:38
55179      7196451106      9/14/2012        21:07:56
55180      7196451547      11/15/2011       20:10:31
55181      7196466037      12/7/2011        14:20:07
55182      7196466067      6/24/2012        13:49:05
55183      7196466359      3/13/2012        14:06:11
55184      7196467396      10/10/2011       12:56:55
55185      7196484413      9/19/2011        19:19:34
55186      7196486982      10/11/2011       17:36:00
55187      7196502361      9/23/2011        11:48:21
55188      7196513343      6/14/2012        15:55:36
55189      7196513985      11/30/2011       15:31:21
55190      7196516876      10/14/2011       13:31:49
55191      7196592908      10/27/2011       16:08:10
55192      7196593801      9/25/2012        14:58:43
55193      7196612391      10/4/2011        13:26:11
55194      7196712231      7/3/2012         12:26:04
55195      7196716537      6/11/2012        18:08:05
55196      7196801564      4/16/2011        15:28:06
55197      7196856829      10/24/2011       14:39:14
55198      7196863155      8/17/2011        19:17:41
55199      7196863861      9/19/2011        14:37:07
55200      7196864865      12/20/2011       19:40:03
55201      7196864948      10/17/2011       9:09:36
55202      7196880196      9/27/2012        16:28:56
55203      7196885292      9/21/2012        15:30:53
55204      7196887886      11/29/2011       16:12:26
55205      7196914314      9/3/2012         14:54:31
55206      7197402029      10/8/2011        12:07:44
55207      7197602220      6/28/2012        9:02:20
55208      7197618992      2/17/2012        9:40:49
55209      7197663921      10/21/2011       12:51:35
55210      7197665117      4/10/2012        12:06:03
55211      7197665152      4/17/2012        9:28:24
55212      7197665152      4/27/2012        21:04:34
55213      7197781321      7/15/2011        17:52:53
55214      7197781857      10/7/2011        9:50:17
55215      7197783185      4/10/2012        16:05:16
55216      7197784667      3/12/2012        19:30:44
55217      7197786303      10/25/2011       16:36:17
55218      7197786887      10/2/2012        12:59:12
55219      7197787279      12/23/2011       15:14:00
55220      7197787300      9/13/2011        14:15:06
55221      7197787932      5/30/2012        12:43:33
55222      7197789046      5/3/2012         9:51:26
55223      7198215312      12/21/2011       10:05:15
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55224      7198380252      3/23/2012        14:28:05
55225      7198391037      5/9/2012         16:12:24
55226      7198493346      12/6/2011        13:40:20
55227      7198493941      8/21/2012        13:54:27
55228      7198499113      1/18/2012        10:13:14
55229      7198499385      7/11/2012        17:24:38
55230      7198500580      10/3/2012        9:20:11
55231      7198594792      5/6/2012         18:39:10
55232      7198598217      10/17/2011       9:09:16
55233      7198598217      11/15/2011       15:48:13
55234      7198960797      10/2/2012        12:59:14
55235      7198961000      8/1/2012         9:05:57
55236      7199304129      9/3/2012         14:52:35
55237      7199308778      9/24/2012        14:39:29
55238      7199632353      10/15/2012       12:01:42
55239      7199632654      11/10/2011       14:25:19
55240      7199632654      5/26/2012        14:42:30
55241      7199641326      7/23/2012        13:28:01
55242      7199940041      9/27/2011        18:49:49
55243      7199940067      1/16/2012        12:04:15
55244      7199941268      11/29/2011       15:45:58
55245      7199941375      3/19/2012        12:02:04
55246      7199941890      9/28/2011        9:31:30
55247      7199943074      12/22/2011       9:53:39
55248      7199943498      4/21/2012        16:27:38
55249      7199943783      8/2/2011         18:56:39
55250      7199943934      1/17/2012        17:22:57
55251      7199945079      9/12/2011        14:27:24
55252      7199945120      3/13/2012        18:36:19
55253      7199945900      8/10/2012        9:33:08
55254      7199947256      6/2/2012         13:16:54
55255      7199949438      4/23/2012        13:05:25
55256      7202016688      9/9/2011         18:10:11
55257      7202025572      6/14/2012        20:47:13
55258      7202031274      4/16/2012        15:52:35
55259      7202031678      5/17/2011        9:47:12
55260      7202050740      6/26/2012        16:16:21
55261      7202066465      7/9/2012         9:10:39
55262      7202069534      10/7/2011        9:52:02
55263      7202074464      12/18/2011       17:05:47
55264      7202086652      1/14/2012        9:18:34
55265      7202091543      10/3/2011        10:41:11
55266      7202093399      12/1/2011        8:02:51
55267      7202103055      10/1/2011        10:05:38
55268      7202106468      10/4/2011        13:25:30
55269      7202107057      10/10/2012       12:40:59
55270      7202124465      2/15/2012        11:16:12
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55271      7202126445      2/13/2012        18:31:46
55272      7202127141      7/27/2011        17:52:53
55273      7202127478      4/22/2012        15:36:22
55274      7202129777      10/1/2012        13:51:53
55275      7202152275      8/20/2012        21:30:16
55276      7202178114      2/10/2012        17:11:12
55277      7202181255      11/2/2011        14:06:21
55278      7202185714      11/9/2011        9:20:46
55279      7202205338      1/20/2012        11:34:46
55280      7202205901      1/5/2012         14:08:27
55281      7202248078      1/6/2012         13:09:07
55282      7202261915      10/12/2011       7:56:13
55283      7202268140      10/3/2012        9:28:40
55284      7202275964      8/3/2011         12:00:45
55285      7202278950      2/14/2012        12:52:02
55286      7202292032      11/25/2011       17:56:01
55287      7202292645      12/18/2011       17:12:19
55288      7202293938      7/30/2012        13:40:36
55289      7202297449      10/13/2011       9:36:39
55290      7202298206      8/27/2012        14:47:43
55291      7202298607      5/17/2012        12:22:11
55292      7202310542      9/9/2011         18:05:03
55293      7202321249      10/15/2012       9:56:29
55294      7202328192      1/30/2012        21:51:22
55295      7202332803      2/20/2012        17:21:13
55296      7202334654      4/6/2012         15:58:10
55297      7202338524      9/21/2012        18:57:39
55298      7202344217      8/27/2012        14:48:31
55299      7202347098      3/30/2012        10:22:56
55300      7202359847      8/8/2012         16:14:32
55301      7202360707      1/25/2012        20:25:53
55302      7202366557      11/30/2011       12:50:23
55303      7202373286      1/10/2012        18:10:21
55304      7202382017      1/23/2012        9:07:17
55305      7202387783      3/8/2012         15:40:42
55306      7202406839      11/28/2011       11:30:50
55307      7202406839      12/23/2011       16:04:39
55308      7202406839      1/17/2012        9:46:38
55309      7202406839      4/11/2012        13:06:28
55310      7202407331      2/25/2012        11:14:11
55311      7202408133      10/24/2012       21:14:15
55312      7202431600      7/27/2012        15:36:05
55313      7202433063      9/23/2011        11:49:35
55314      7202443499      4/24/2012        18:13:00
55315      7202444197      7/19/2011        17:34:20
55316      7202445472      8/16/2012        9:31:22
55317      7202446269      7/27/2011        17:43:18
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55318      7202496159      3/14/2012        14:41:27
55319      7202496192      9/6/2012         21:13:45
55320      7202497399      6/28/2012        14:16:29
55321      7202506565      10/22/2011       12:44:48
55322      7202510457      2/10/2012        9:32:34
55323      7202513409      1/20/2012        15:03:25
55324      7202519830      12/1/2011        10:31:50
55325      7202524354      11/7/2011        9:42:09
55326      7202534144      3/12/2012        19:12:19
55327      7202535153      6/26/2012        16:11:42
55328      7202544755      10/26/2011       13:33:31
55329      7202544755      12/26/2011       20:32:28
55330      7202555329      9/8/2011         18:14:25
55331      7202557323      3/26/2012        14:43:09
55332      7202557822      10/27/2011       16:58:48
55333      7202564004      7/11/2012        9:40:46
55334      7202572854      2/2/2012         21:00:56
55335      7202572854      4/15/2012        17:41:17
55336      7202574234      1/27/2012        18:05:52
55337      7202574234      5/21/2012        9:03:42
55338      7202607717      8/7/2012         20:06:18
55339      7202616554      11/15/2011       20:10:43
55340      7202618431      3/23/2012        19:42:06
55341      7202619947      6/22/2012        20:58:12
55342      7202663565      12/17/2011       12:13:47
55343      7202668371      4/16/2012        16:08:13
55344      7202668953      8/7/2012         20:05:33
55345      7202669738      4/30/2012        14:38:04
55346      7202699047      4/26/2011        20:23:32
55347      7202707337      11/12/2011       9:43:04
55348      7202709269      3/15/2012        19:19:02
55349      7202721147      2/20/2012        17:14:50
55350      7202725062      5/21/2012        9:03:02
55351      7202727886      1/11/2012        16:24:07
55352      7202730137      10/24/2011       14:13:44
55353      7202730563      7/27/2011        17:42:52
55354      7202734413      9/10/2012        9:18:23
55355      7202736001      9/19/2011        14:51:56
55356      7202739799      3/5/2012         10:57:11
55357      7202750363      2/25/2012        10:43:22
55358      7202750424      9/1/2012         9:05:16
55359      7202751487      7/18/2011        9:07:19
55360      7202752771      10/17/2012       18:37:53
55361      7202757918      2/24/2011        11:59:43
55362      7202757937      5/9/2012         21:38:28
55363      7202758303      9/10/2011        9:18:29
55364      7202760100      10/15/2011       9:41:42
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55365      7202760527      7/17/2012        12:25:47
55366      7202762699      1/13/2012        17:44:26
55367      7202765217      4/3/2012         15:18:11
55368      7202765713      2/20/2012        9:17:34
55369      7202768095      7/26/2011        10:45:37
55370      7202768243      3/21/2011        11:17:04
55371      7202768406      3/15/2011        12:07:23
55372      7202768753      5/10/2012        15:05:12
55373      7202769271      11/23/2011       14:58:35
55374      7202776673      3/5/2012         11:01:10
55375      7202777842      9/13/2012        21:28:55
55376      7202783488      10/17/2011       9:13:38
55377      7202784521      9/15/2011        9:19:36
55378      7202785465      2/29/2012        17:36:49
55379      7202785996      10/10/2011       12:01:55
55380      7202785997      11/21/2011       10:49:08
55381      7202788289      8/10/2011        19:27:34
55382      7202789324      10/3/2011        10:39:24
55383      7202805576      7/2/2012         17:09:31
55384      7202805576      7/10/2012        21:11:10
55385      7202806904      3/22/2012        8:02:56
55386      7202844565      1/17/2012        9:49:05
55387      7202855920      1/16/2012        17:35:52
55388      7202859780      1/17/2012        18:48:33
55389      7202897149      5/17/2012        17:04:00
55390      7202903442      6/18/2012        9:23:01
55391      7202906384      1/6/2012         15:00:46
55392      7202909015      4/5/2012         14:28:10
55393      7202914739      1/24/2012        20:09:07
55394      7202927961      8/2/2012         18:57:43
55395      7202960771      9/5/2012         15:27:35
55396      7202964604      10/8/2011        12:08:19
55397      7202964838      8/20/2012        10:12:13
55398      7202966212      5/4/2012         18:23:07
55399      7202971139      7/6/2012         14:52:23
55400      7202971530      10/13/2011       9:35:15
55401      7202974006      5/21/2012        9:01:30
55402      7202974006      6/22/2012        10:40:01
55403      7202975984      3/13/2012        12:53:04
55404      7202976968      11/21/2011       10:50:19
55405      7202978438      6/7/2011         18:12:00
55406      7202978552      6/15/2012        9:06:52
55407      7202979552      6/20/2012        16:53:30
55408      7202979900      10/31/2011       9:04:45
55409      7202981832      6/23/2012        10:38:22
55410      7202983186      1/29/2012        16:43:20
55411      7202986473      4/30/2012        9:08:52
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55412      7202986805      10/6/2011        16:59:16
55413      7202987945      8/29/2012        11:14:10
55414      7202989856      2/15/2012        21:02:10
55415      7202989932      3/21/2012        9:12:15
55416      7202990607      11/26/2011       12:00:36
55417      7203002004      7/6/2012         14:42:54
55418      7203008293      7/5/2012         10:38:06
55419      7203014661      2/13/2012        18:50:03
55420      7203015521      3/10/2011        17:58:39
55421      7203091463      8/29/2012        20:19:18
55422      7203091837      6/5/2012         19:50:05
55423      7203093789      8/7/2012         17:56:25
55424      7203096347      2/21/2012        9:36:47
55425      7203149961      8/8/2012         16:14:55
55426      7203153381      5/30/2012        12:58:31
55427      7203171169      4/13/2012        13:24:29
55428      7203180153      9/20/2012        14:43:07
55429      7203185281      12/3/2011        9:31:27
55430      7203187243      4/27/2012        9:47:03
55431      7203189168      1/27/2012        18:09:26
55432      7203205732      11/1/2011        11:10:41
55433      7203208300      5/18/2012        15:49:24
55434      7203223120      10/12/2012       16:50:09
55435      7203224430      11/5/2011        11:48:03
55436      7203224515      8/14/2012        11:39:39
55437      7203224515      8/20/2012        18:46:12
55438      7203225326      10/31/2011       9:33:57
55439      7203233778      1/3/2012         16:39:19
55440      7203237185      5/10/2012        14:51:53
55441      7203238412      11/15/2011       20:10:20
55442      7203243177      7/18/2012        14:47:18
55443      7203270333      10/18/2011       13:09:10
55444      7203271167      4/30/2012        21:04:46
55445      7203271170      9/15/2011        9:20:16
55446      7203271848      10/23/2012       10:55:38
55447      7203276019      6/6/2012         21:21:21
55448      7203276361      5/13/2012        18:03:49
55449      7203278888      12/20/2011       11:50:08
55450      7203291267      10/22/2011       13:18:12
55451      7203292040      9/14/2011        21:24:05
55452      7203292574      10/14/2011       13:22:19
55453      7203299325      8/22/2011        20:36:44
55454      7203299351      11/1/2011        11:08:46
55455      7203299604      3/7/2012         9:42:07
55456      7203311201      3/19/2012        19:24:19
55457      7203319202      11/30/2011       14:59:45
55458      7203319570      8/21/2012        14:03:58
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55459      7203319570      9/11/2012        15:10:57
55460      7203330810      12/28/2011       20:41:04
55461      7203338964      9/21/2012        16:11:32
55462      7203353551      1/23/2012        18:58:54
55463      7203354607      1/17/2012        18:49:00
55464      7203357343      9/19/2011        14:37:06
55465      7203357896      3/27/2012        15:11:37
55466      7203380174      10/12/2011       9:09:08
55467      7203380472      9/6/2012         21:13:32
55468      7203381825      9/10/2012        9:17:34
55469      7203382388      4/19/2012        20:28:01
55470      7203383484      4/10/2012        11:43:36
55471      7203387577      2/28/2012        15:55:03
55472      7203391289      12/8/2011        11:10:24
55473      7203391906      3/9/2012         15:45:35
55474      7203397706      6/7/2012         21:18:07
55475      7203400920      7/10/2012        21:09:41
55476      7203430207      10/1/2012        21:36:31
55477      7203430341      7/5/2012         10:43:42
55478      7203452355      12/31/2011       12:09:17
55479      7203459930      2/7/2012         16:38:58
55480      7203507492      3/12/2012        19:18:20
55481      7203520849      10/12/2011       9:04:08
55482      7203631461      11/18/2011       13:34:37
55483      7203636055      6/25/2012        13:28:19
55484      7203640438      3/14/2012        19:37:45
55485      7203642137      10/3/2011        10:39:27
55486      7203642917      9/6/2012         12:25:12
55487      7203647373      1/13/2012        10:41:39
55488      7203648000      8/16/2012        9:27:37
55489      7203649319      9/8/2012         11:44:11
55490      7203649319      9/14/2012        21:09:39
55491      7203650049      12/23/2011       15:12:34
55492      7203650185      9/19/2011        14:53:38
55493      7203651572      8/15/2012        21:41:38
55494      7203651658      2/29/2012        17:58:35
55495      7203657086      2/9/2012         9:39:06
55496      7203658605      9/6/2011         12:19:55
55497      7203659695      1/18/2012        11:05:09
55498      7203660311      8/25/2012        10:57:57
55499      7203661110      11/25/2011       18:31:25
55500      7203661129      7/26/2011        9:57:07
55501      7203662379      7/23/2012        15:22:47
55502      7203666045      5/18/2012        15:47:26
55503      7203669033      3/13/2012        18:52:05
55504      7203669033      5/21/2012        9:01:40
55505      7203669468      2/15/2012        21:02:13
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55506      7203715068      3/12/2012        16:52:24
55507      7203774194      8/22/2012        11:24:04
55508      7203777060      11/9/2011        9:23:15
55509      7203777060      12/27/2011       14:40:30
55510      7203778303      9/30/2011        12:38:21
55511      7203820894      2/3/2012         20:05:40
55512      7203824006      7/11/2012        17:16:59
55513      7203824006      7/20/2012        14:59:40
55514      7203829300      3/2/2012         9:26:33
55515      7203829657      10/27/2011       16:10:24
55516      7203829657      12/20/2011       9:24:31
55517      7203831611      2/2/2012         20:59:26
55518      7203832061      5/1/2012         17:29:41
55519      7203849755      3/29/2011        16:34:00
55520      7203857550      4/27/2012        9:49:00
55521      7203858448      9/20/2011        16:53:14
55522      7203858578      7/2/2012         15:26:26
55523      7203859906      10/29/2011       11:52:13
55524      7203987032      11/15/2011       20:10:03
55525      7204040579      6/11/2011        9:31:48
55526      7204042211      9/21/2011        19:47:19
55527      7204042620      5/2/2012         13:16:29
55528      7204043690      8/15/2012        12:24:47
55529      7204044322      12/6/2011        14:41:44
55530      7204045036      4/19/2012        20:12:15
55531      7204046053      10/16/2012       20:30:16
55532      7204047542      12/3/2011        9:32:13
55533      7204048017      2/10/2012        9:32:17
55534      7204048080      4/16/2011        15:33:44
55535      7204048674      12/21/2011       19:51:40
55536      7204048674      5/21/2012        9:01:39
55537      7204048894      9/22/2011        15:31:52
55538      7204126271      4/17/2012        9:38:55
55539      7204214017      9/19/2011        19:18:31
55540      7204214187      11/15/2011       20:10:14
55541      7204220085      9/14/2012        21:09:02
55542      7204221596      10/4/2011        13:24:44
55543      7204221596      4/24/2012        19:20:24
55544      7204222818      11/17/2011       16:50:38
55545      7204228418      9/10/2012        9:17:54
55546      7204229230      9/21/2011        13:44:55
55547      7204229329      1/6/2012         16:08:36
55548      7204252929      10/21/2011       13:36:48
55549      7204255008      3/9/2012         21:14:44
55550      7204271599      1/10/2012        15:21:53
55551      7204273143      11/19/2011       10:38:33
55552      7204273315      1/13/2012        17:44:46
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55553      7204290489      8/7/2012         17:44:29
55554      7204292341      10/10/2011       12:02:31
55555      7204294238      9/14/2011        21:24:08
55556      7204294531      3/30/2012        16:14:34
55557      7204294544      9/28/2011        9:31:06
55558      7204296221      5/12/2011        10:41:02
55559      7204296221      1/3/2012         19:51:29
55560      7204297516      10/27/2011       16:57:34
55561      7204297988      11/28/2011       12:21:51
55562      7204298310      12/15/2011       9:03:52
55563      7204313321      9/14/2012        10:51:52
55564      7204343550      2/13/2012        18:49:56
55565      7204343623      4/21/2011        12:33:28
55566      7204344301      2/14/2012        10:09:04
55567      7204344657      1/18/2012        10:13:22
55568      7204344799      8/13/2012        20:59:53
55569      7204346042      9/6/2011         12:59:45
55570      7204346091      5/30/2012        16:58:39
55571      7204346809      6/8/2011         19:04:46
55572      7204346889      3/14/2012        14:12:31
55573      7204348110      8/20/2012        21:30:09
55574      7204348311      9/29/2011        15:56:45
55575      7204348881      2/10/2012        20:42:21
55576      7204349281      4/14/2012        9:31:30
55577      7204350105      8/17/2012        9:31:22
55578      7204350992      7/11/2011        9:13:04
55579      7204350992      12/29/2011       19:06:46
55580      7204353010      11/17/2011       14:39:09
55581      7204353628      11/12/2011       10:39:28
55582      7204356975      11/26/2011       13:44:31
55583      7204359919      3/9/2012         9:14:24
55584      7204360982      12/13/2011       17:41:42
55585      7204361993      11/8/2011        14:03:32
55586      7204362441      9/19/2011        19:18:33
55587      7204364262      9/19/2011        19:35:21
55588      7204365336      8/13/2012        9:08:13
55589      7204365336      8/16/2012        19:48:58
55590      7204365513      11/1/2011        11:32:45
55591      7204366164      1/5/2012         14:04:28
55592      7204366164      1/13/2012        17:26:11
55593      7204367447      9/23/2011        11:20:24
55594      7204368409      9/24/2012        14:39:44
55595      7204380033      10/28/2011       13:43:32
55596      7204385194      2/17/2012        9:20:05
55597      7204470112      11/16/2011       20:07:59
55598      7204470616      8/3/2012         12:44:09
55599      7204471987      1/8/2012         15:21:20
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55600      7204472394      2/14/2012        16:43:03
55601      7204473075      5/7/2012         21:38:57
55602      7204473219      11/14/2011       16:28:15
55603      7204474920      10/14/2013       15:09:42
55604      7204475013      4/19/2012        20:12:34
55605      7204475044      9/29/2011        15:24:11
55606      7204475373      1/20/2012        11:31:34
55607      7204476576      10/10/2012       19:14:36
55608      7204478013      11/10/2011       14:37:55
55609      7204479671      3/30/2012        9:46:49
55610      7204480033      9/14/2012        21:07:46
55611      7204480115      5/25/2012        17:15:45
55612      7204481962      12/29/2011       19:06:00
55613      7204482593      12/28/2011       11:09:38
55614      7204488816      9/28/2012        16:39:29
55615      7204686313      10/29/2011       10:58:45
55616      7204688508      9/29/2011        15:55:02
55617      7204701773      1/5/2012         12:06:25
55618      7204702044      9/29/2011        15:24:52
55619      7204702725      11/16/2011       20:07:31
55620      7204705072      1/10/2012        15:21:48
55621      7204706991      7/14/2011        16:49:56
55622      7204708532      10/7/2011        9:48:24
55623      7204721989      9/24/2011        9:28:07
55624      7204809028      11/15/2011       20:10:49
55625      7204901963      10/20/2011       16:33:25
55626      7204901963      11/20/2011       11:10:24
55627      7204906929      7/3/2012         12:21:52
55628      7204951232      1/10/2012        15:23:53
55629      7204951232      1/16/2012        17:19:45
55630      7204951369      3/11/2012        15:59:26
55631      7204952269      1/28/2014        9:05:51
55632      7204952624      1/20/2012        20:36:08
55633      7204952651      6/6/2011         17:29:02
55634      7204953577      6/24/2012        13:58:39
55635      7204953584      11/11/2011       20:26:07
55636      7204953695      1/23/2012        19:20:28
55637      7204954747      8/13/2012        20:53:53
55638      7204954747      10/7/2012        13:17:11
55639      7204956295      3/30/2012        10:23:11
55640      7204956914      1/4/2012         11:08:31
55641      7204957471      9/20/2011        16:53:18
55642      7204968146      6/9/2012         11:01:55
55643      7205192107      5/17/2012        12:22:45
55644      7205198085      9/20/2011        16:54:41
55645      7205199048      10/14/2011       13:01:46
55646      7205199170      4/24/2012        12:43:14
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55647      7205306524      5/10/2012        14:51:50
55648      7205322183      11/10/2011       14:40:46
55649      7205322183      11/18/2011       13:34:42
55650      7205324543      4/2/2012         17:35:29
55651      7205441294      5/3/2012         9:52:27
55652      7205564782      5/11/2012        18:36:14
55653      7205602187      9/19/2012        21:32:01
55654      7205605546      10/20/2011       15:51:43
55655      7205611292      10/6/2011        16:58:28
55656      7205689622      1/27/2012        9:54:18
55657      7205691719      5/13/2012        17:27:20
55658      7205691865      3/13/2012        17:09:03
55659      7205695167      1/10/2012        15:21:16
55660      7205695467      10/3/2011        10:39:41
55661      7205794311      6/14/2012        15:59:40
55662      7205797637      1/12/2012        10:07:10
55663      7205798218      2/7/2012         20:21:52
55664      7206200021      4/18/2011        19:53:17
55665      7206200517      9/15/2011        9:02:16
55666      7206202173      11/28/2011       12:24:59
55667      7206202183      11/30/2011       13:01:51
55668      7206202533      9/21/2011        12:01:01
55669      7206203046      9/7/2012         15:43:55
55670      7206204995      5/12/2012        10:45:32
55671      7206209198      1/18/2012        10:13:09
55672      7206209198      1/30/2012        8:08:59
55673      7206210196      9/16/2012        17:16:20
55674      7206210455      7/6/2012         16:54:21
55675      7206211665      1/13/2012        17:44:40
55676      7206211902      1/27/2012        9:40:46
55677      7206214369      1/30/2012        9:03:25
55678      7206214369      8/7/2012         20:06:41
55679      7206218440      7/23/2012        15:13:53
55680      7206218713      9/14/2012        10:52:32
55681      7206218713      9/28/2012        16:45:01
55682      7206218804      11/15/2011       15:48:46
55683      7206218953      1/11/2012        9:03:35
55684      7206219602      2/15/2012        21:01:57
55685      7206219870      11/12/2011       9:41:26
55686      7206219889      9/29/2011        15:51:01
55687      7206283018      10/4/2011        13:56:32
55688      7206284521      5/22/2012        18:30:32
55689      7206284645      6/28/2012        9:02:31
55690      7206284804      12/7/2011        13:08:36
55691      7206286225      3/14/2012        19:47:46
55692      7206286231      9/27/2011        18:58:20
55693      7206287054      8/15/2012        21:41:46
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55694      7206289397      10/11/2011       17:39:01
55695      7206289477      10/8/2011        12:10:21
55696      7206289662      12/1/2011        15:32:41
55697      7206290420      10/25/2012       12:30:42
55698      7206294087      5/21/2012        9:02:31
55699      7206294087      5/21/2012        9:05:58
55700      7206294087      5/21/2012        17:54:06
55701      7206294087      9/11/2012        15:10:53
55702      7206294087      9/28/2012        16:45:06
55703      7206294311      9/20/2011        16:55:11
55704      7206295803      11/2/2011        14:29:18
55705      7206297664      12/7/2011        13:51:25
55706      7206299060      11/25/2011       18:25:06
55707      7206411015      2/9/2012         20:33:12
55708      7206411100      1/16/2012        17:35:31
55709      7206411100      2/8/2012         13:13:10
55710      7206700377      2/14/2012        16:52:57
55711      7206750258      6/21/2012        18:57:53
55712      7206754853      12/3/2011        10:27:12
55713      7206754984      5/8/2012         21:05:42
55714      7206849968      6/21/2011        13:54:09
55715      7206900080      12/20/2011       15:06:43
55716      7206900080      1/5/2012         14:09:02
55717      7206900367      3/15/2012        14:05:39
55718      7206900979      7/20/2012        11:27:36
55719      7206904564      4/20/2012        13:48:29
55720      7206905148      11/10/2011       14:24:11
55721      7206906730      6/15/2012        16:52:50
55722      7206907064      7/24/2012        20:33:12
55723      7206907279      1/10/2012        20:55:05
55724      7207468510      10/11/2011       16:34:50
55725      7207630196      12/7/2011        14:56:26
55726      7207630653      6/5/2012         18:00:49
55727      7207631724      4/2/2012         9:05:13
55728      7207636154      5/4/2012         20:55:54
55729      7207637949      5/31/2012        9:15:35
55730      7207710775      1/9/2012         18:45:40
55731      7207750790      8/15/2012        21:42:48
55732      7207751611      4/25/2012        21:26:41
55733      7207752219      10/10/2012       12:39:34
55734      7208100267      4/18/2012        9:07:47
55735      7208101575      11/14/2011       17:54:05
55736      7208370076      6/12/2012        9:05:20
55737      7208375364      2/3/2012         20:02:03
55738      7208375364      2/14/2012        16:52:23
55739      7208377323      10/13/2011       9:36:33
55740      7208379027      9/14/2012        10:50:04
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55741      7208381844      8/8/2012         16:16:09
55742      7208387793      5/14/2012        10:15:20
55743      7208404377      10/17/2011       9:10:02
55744      7208411923      11/1/2011        11:05:48
55745      7208413963      9/21/2012        15:30:47
55746      7208422456      8/6/2012         16:29:23
55747      7208544305      8/24/2012        11:08:51
55748      7208544305      8/25/2012        11:18:34
55749      7208555234      10/11/2012       18:57:04
55750      7208555352      7/22/2011        13:03:00
55751      7208555382      7/30/2012        13:21:13
55752      7208555734      12/1/2011        15:08:51
55753      7208771049      11/2/2011        13:57:25
55754      7208781043      11/14/2011       15:24:11
55755      7208781637      6/8/2011         19:04:30
55756      7208787487      1/12/2012        7:03:03
55757      7208821140      9/1/2012         9:11:00
55758      7208821523      2/6/2012         10:03:34
55759      7208824595      6/20/2012        9:10:30
55760      7208824595      7/6/2012         14:52:30
55761      7208825975      5/1/2012         17:54:03
55762      7208826417      12/18/2011       17:12:11
55763      7208827587      5/21/2012        21:15:05
55764      7208847440      9/20/2011        16:53:11
55765      7208857784      7/13/2012        12:09:17
55766      7209229008      9/23/2011        19:10:22
55767      7209331198      10/24/2011       8:17:14
55768      7209334237      3/13/2012        16:37:54
55769      7209337653      9/10/2012        21:08:48
55770      7209338246      2/9/2012         9:34:11
55771      7209340640      9/5/2012         15:22:01
55772      7209351884      4/14/2012        9:30:45
55773      7209358197      3/22/2012        14:02:13
55774      7209365896      12/17/2011       11:39:18
55775      7209365926      1/25/2012        20:31:41
55776      7209367385      9/18/2012        21:29:58
55777      7209372369      5/17/2011        9:47:03
55778      7209383370      2/20/2012        9:15:54
55779      7209400236      9/25/2012        14:47:40
55780      7209401291      4/11/2014        15:47:46
55781      7209401291      4/24/2014        10:11:33
55782      7209403095      10/23/2012       18:56:12
55783      7209405203      10/22/2011       13:17:57
55784      7209405498      10/20/2012       16:33:48
55785      7209493583      10/17/2011       9:14:37
55786      7209493677      9/8/2011         18:13:02
55787      7209498426      10/6/2012        8:27:24
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55788      7209498795      8/30/2012        17:43:09
55789      7209515233      8/9/2012         14:04:17
55790      7209753901      8/8/2012         16:14:54
55791      7209793114      12/13/2011       18:21:23
55792      7209820948      12/7/2011        14:56:13
55793      7209823256      1/6/2012         14:43:02
55794      7209829981      12/3/2011        9:30:20
55795      7209843509      10/7/2012        13:12:40
55796      7209843743      11/7/2011        9:43:20
55797      7209851522      3/5/2012         11:00:11
55798      7209871206      9/9/2011         18:28:20
55799      7209880644      3/29/2012        16:47:41
55800      7209886963      4/20/2012        20:53:33
55801      7209981425      1/12/2012        14:08:52
55802      7209982716      12/9/2011        13:43:06
55803      7209984808      6/13/2012        9:09:37
55804      7209986716      8/8/2012         16:14:31
55805      7209988899      10/6/2011        17:54:34
55806      7209992995      9/20/2011        20:36:10
55807      7242050352      1/12/2012        14:11:22
55808      7242051640      10/17/2011       11:19:08
55809      7242070793      10/29/2011       11:32:07
55810      7242082830      5/24/2012        7:05:23
55811      7242084866      2/3/2012         20:08:44
55812      7242088893      10/5/2011        14:35:41
55813      7242170219      10/6/2011        17:17:51
55814      7242171958      9/24/2011        9:12:46
55815      7242173518      9/19/2012        7:57:44
55816      7242173518      9/28/2012        7:34:57
55817      7242175034      9/21/2012        15:28:23
55818      7242199859      11/18/2011       13:28:51
55819      7242318635      2/21/2012        10:45:15
55820      7242347160      11/18/2011       12:47:34
55821      7242347160      12/19/2011       7:22:26
55822      7242381879      10/1/2012        8:20:11
55823      7242447460      12/7/2011        13:17:28
55824      7242493100      1/8/2012         12:54:36
55825      7242539155      1/18/2012        16:49:56
55826      7242550543      10/12/2011       11:53:36
55827      7242551059      11/17/2011       16:43:51
55828      7242635383      6/26/2012        7:56:16
55829      7242637110      4/5/2012         14:21:46
55830      7242725165      11/18/2011       13:31:00
55831      7242725169      12/29/2011       14:46:49
55832      7242881091      11/9/2011        7:49:43
55833      7242881624      8/1/2011         19:12:16
55834      7242890969      2/24/2011        11:22:53
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55835      7242901728      8/14/2012        11:47:30
55836      7242901729      10/20/2012       16:20:25
55837      7242907197      2/14/2012        15:30:32
55838      7242952779      11/29/2011       16:07:23
55839      7243013489      5/3/2012         7:06:41
55840      7243014737      5/27/2011        8:53:14
55841      7243027699      5/14/2011        11:48:19
55842      7243091034      1/6/2012         7:01:47
55843      7243095934      11/18/2011       13:28:43
55844      7243096149      8/30/2012        7:02:05
55845      7243096239      9/26/2012        14:35:16
55846      7243098633      9/13/2011        7:08:12
55847      7243122545      11/3/2011        17:07:05
55848      7243126058      9/29/2011        15:02:59
55849      7243220023      3/7/2012         18:32:30
55850      7243226482      10/1/2011        9:37:21
55851      7243226482      12/5/2011        18:48:57
55852      7243227878      2/6/2012         16:46:15
55853      7243280699      10/5/2011        14:01:46
55854      7243281712      3/28/2012        7:24:16
55855      7243282361      12/30/2011       16:56:37
55856      7243282686      6/25/2012        13:19:28
55857      7243283046      12/7/2011        13:08:03
55858      7243283129      7/25/2011        16:29:55
55859      7243283134      8/22/2012        11:10:05
55860      7243283159      3/1/2012         8:41:47
55861      7243283285      2/16/2012        7:06:58
55862      7243284910      5/15/2012        19:01:36
55863      7243288118      11/28/2011       11:11:00
55864      7243316895      12/9/2011        7:57:47
55865      7243490203      9/19/2011        19:07:08
55866      7243501004      11/30/2011       7:08:43
55867      7243510481      5/18/2012        16:09:58
55868      7243598172      8/30/2012        17:38:04
55869      7243664092      9/17/2012        7:33:40
55870      7243721479      9/30/2011        9:55:56
55871      7243884330      12/5/2011        9:17:34
55872      7243884330      1/6/2012         7:14:33
55873      7243884523      9/15/2011        7:39:49
55874      7244073073      2/13/2012        7:12:58
55875      7244135822      6/22/2012        7:06:34
55876      7244136941      11/30/2011       14:51:01
55877      7244137785      6/11/2012        16:59:28
55878      7244138380      3/12/2012        19:18:15
55879      7244157366      2/13/2012        18:37:46
55880      7244157366      3/28/2012        10:17:50
55881      7244158920      11/9/2011        7:39:38
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55882      7244170026      12/10/2011       14:41:34
55883      7244170060      11/17/2011       16:40:39
55884      7244171085      10/26/2011       12:37:07
55885      7244171415      10/3/2012        19:50:20
55886      7244171584      10/14/2011       12:44:19
55887      7244171770      1/19/2012        7:25:18
55888      7244172673      10/11/2012       18:44:05
55889      7244173697      12/7/2011        17:59:49
55890      7244173942      11/1/2011        8:19:36
55891      7244173963      10/5/2011        14:00:17
55892      7244174443      8/19/2012        11:55:00
55893      7244174443      10/5/2012        18:38:20
55894      7244216375      11/12/2011       9:45:18
55895      7244216757      3/25/2011        9:18:33
55896      7244221952      5/16/2012        16:47:23
55897      7244256803      10/5/2011        14:30:40
55898      7244335544      10/14/2011       13:16:54
55899      7244344312      1/18/2012        16:46:15
55900      7244344871      11/26/2011       12:47:40
55901      7244344871      2/4/2012         8:23:03
55902      7244488992      11/17/2011       13:32:07
55903      7244540568      8/13/2012        7:35:05
55904      7244540592      9/21/2012        18:49:24
55905      7244564728      10/27/2011       16:34:12
55906      7244649328      4/11/2012        19:29:48
55907      7244661467      4/2/2012         7:13:05
55908      7244662160      1/31/2012        7:14:33
55909      7244663384      9/12/2011        13:04:42
55910      7244670854      12/21/2011       9:48:49
55911      7244690525      11/28/2011       11:39:52
55912      7244690665      1/5/2012         17:25:44
55913      7244692033      1/11/2012        7:41:21
55914      7244722166      1/14/2012        13:24:12
55915      7244722166      6/5/2012         13:57:43
55916      7244723766      2/28/2012        13:27:54
55917      7244725825      9/29/2011        15:05:41
55918      7244725825      10/10/2011       12:15:52
55919      7244931734      11/25/2011       18:11:40
55920      7244932795      7/18/2011        10:53:23
55921      7244933279      9/26/2012        15:24:01
55922      7244935635      10/5/2011        14:32:19
55923      7244938826      5/4/2012         18:17:06
55924      7244944197      8/7/2012         17:31:53
55925      7244947010      5/21/2012        7:03:11
55926      7244947747      12/24/2011       7:08:39
55927      7244949119      12/20/2011       9:30:43
55928      7244949816      10/18/2012       7:19:42
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55929      7244961018      10/10/2011       12:16:42
55930      7244961018      11/28/2011       17:34:31
55931      7244961984      5/18/2012        15:44:30
55932      7244969219      10/17/2012       12:48:13
55933      7244969219      10/23/2012       10:52:29
55934      7245035334      10/18/2011       12:44:26
55935      7245040013      9/29/2012        9:57:45
55936      7245063832      2/15/2012        11:58:29
55937      7245108645      8/28/2012        7:28:07
55938      7245133514      1/9/2012         7:22:54
55939      7245138277      4/19/2012        14:47:31
55940      7245138277      5/2/2012         21:08:44
55941      7245138558      9/22/2012        9:34:29
55942      7245139757      1/26/2012        7:30:28
55943      7245160646      9/23/2011        11:34:21
55944      7245163291      11/17/2011       14:12:40
55945      7245168687      11/4/2011        7:06:44
55946      7245180376      10/5/2012        12:20:51
55947      7245180469      9/21/2011        19:32:23
55948      7245184481      9/30/2011        10:19:01
55949      7245184481      10/11/2011       15:42:05
55950      7245186838      9/19/2011        19:03:04
55951      7245186981      8/23/2012        11:37:37
55952      7245189170      4/4/2012         18:47:00
55953      7245189313      11/28/2011       17:44:35
55954      7245243099      4/13/2012        13:34:46
55955      7245310532      2/14/2012        16:45:33
55956      7245311568      11/19/2011       8:53:05
55957      7245311720      12/23/2011       15:39:12
55958      7245311720      1/18/2012        16:49:54
55959      7245412360      11/29/2011       15:20:39
55960      7245414977      9/23/2011        18:41:35
55961      7245449218      1/9/2012         18:09:44
55962      7245449218      4/2/2012         7:59:38
55963      7245492835      10/4/2011        13:56:01
55964      7245494658      2/15/2012        8:01:11
55965      7245494978      12/16/2011       15:29:21
55966      7245495668      8/21/2012        13:56:02
55967      7245496880      11/14/2011       16:06:20
55968      7245506867      11/19/2011       8:35:48
55969      7245530379      12/20/2011       19:31:08
55970      7245532281      10/3/2011        7:29:09
55971      7245543353      9/24/2011        9:31:39
55972      7245548053      10/31/2011       7:21:43
55973      7245548114      11/7/2011        9:14:18
55974      7245570163      11/18/2011       12:53:48
55975      7245576367      6/15/2012        8:45:20
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55976      7245577665      4/9/2012         7:05:53
55977      7245579959      3/28/2012        16:43:41
55978      7245617551      6/7/2012         14:48:11
55979      7245619076      9/22/2011        15:00:51
55980      7245622534      11/1/2011        8:22:14
55981      7245628482      8/29/2012        10:55:37
55982      7245702272      11/23/2011       9:16:53
55983      7245702855      7/11/2012        17:27:28
55984      7245704335      11/10/2011       7:16:48
55985      7245708556      12/27/2011       14:12:17
55986      7245790868      3/24/2012        9:59:42
55987      7245790868      5/21/2012        7:29:44
55988      7245793028      11/17/2011       16:18:51
55989      7245960049      11/26/2011       13:04:04
55990      7245994796      8/8/2012         16:05:54
55991      7245994806      9/10/2011        8:57:53
55992      7246027177      5/11/2012        7:06:57
55993      7246027177      6/5/2012         7:07:10
55994      7246101476      11/28/2011       12:02:56
55995      7246102319      3/15/2012        19:23:36
55996      7246106814      11/1/2011        8:18:22
55997      7246107172      5/25/2012        17:08:17
55998      7246143033      9/19/2011        7:29:56
55999      7246148213      3/13/2012        18:35:36
56000      7246300765      9/28/2011        10:04:07
56001      7246303294      6/18/2012        7:58:30
56002      7246305477      9/21/2011        19:42:51
56003      7246306175      8/24/2011        7:28:45
56004      7246402685      9/24/2011        9:08:30
56005      7246404402      12/7/2011        13:31:09
56006      7246409012      9/10/2011        8:24:51
56007      7246500053      9/20/2011        16:34:45
56008      7246501952      2/17/2012        18:06:11
56009      7246502762      11/28/2011       11:43:22
56010      7246502762      12/13/2011       19:15:29
56011      7246510107      6/9/2012         10:47:38
56012      7246510584      11/23/2011       10:00:46
56013      7246512762      12/20/2011       9:29:12
56014      7246519002      2/11/2012        10:38:51
56015      7246649267      1/2/2012         7:18:56
56016      7246741901      9/15/2011        7:18:12
56017      7246786589      1/13/2012        17:11:59
56018      7246789578      4/16/2012        16:02:34
56019      7246789758      6/8/2012         16:59:27
56020      7246793118      10/31/2011       7:20:55
56021      7246811844      6/12/2012        17:03:46
56022      7246816918      10/17/2011       7:40:28
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56023      7246818938      5/26/2012        8:43:11
56024      7246819684      12/5/2011        9:07:31
56025      7246837378      9/21/2011        19:28:36
56026      7246851457      4/12/2012        14:54:33
56027      7246994857      11/28/2011       11:18:42
56028      7247055646      1/14/2012        13:28:18
56029      7247055646      7/3/2012         7:11:40
56030      7247095909      1/5/2012         17:20:21
56031      7247100565      2/8/2012         7:41:22
56032      7247107326      11/29/2011       15:25:08
56033      7247144193      4/16/2012        15:41:57
56034      7247145347      3/27/2012        7:01:20
56035      7247145347      4/6/2012         15:42:00
56036      7247147413      6/11/2012        7:02:17
56037      7247148186      9/28/2012        16:41:22
56038      7247148734      7/30/2012        13:32:48
56039      7247322073      7/28/2012        8:35:46
56040      7247340179      10/19/2012       19:01:48
56041      7247343216      3/16/2012        16:03:03
56042      7247349474      8/9/2012         14:02:20
56043      7247470085      12/18/2011       17:06:55
56044      7247470120      9/27/2012        7:30:03
56045      7247576376      10/25/2011       15:11:50
56046      7247591548      3/8/2012         20:33:54
56047      7247599692      10/14/2012       15:16:20
56048      7247624531      4/10/2012        11:49:53
56049      7247625275      9/13/2011        7:18:01
56050      7247712434      3/30/2012        16:12:02
56051      7247713178      12/15/2011       8:30:50
56052      7247713178      12/20/2011       17:00:22
56053      7247713361      4/3/2012         10:02:34
56054      7247771447      12/5/2011        8:29:11
56055      7247775574      10/15/2011       10:24:39
56056      7247876895      10/23/2012       16:04:36
56057      7247878754      9/28/2012        16:41:27
56058      7247879962      9/29/2011        15:05:42
56059      7247970721      10/15/2011       8:57:17
56060      7247975304      11/14/2011       14:14:31
56061      7247975639      12/29/2011       19:25:25
56062      7247975916      9/9/2011         7:41:57
56063      7247976747      6/18/2011        15:09:52
56064      7247977549      3/5/2012         7:11:36
56065      7247993958      4/6/2012         15:41:02
56066      7248096437      12/9/2011        7:48:21
56067      7248132116      3/20/2012        8:56:52
56068      7248132116      4/12/2012        12:56:21
56069      7248132855      11/25/2011       18:10:08
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56070      7248134839      9/27/2012        7:45:43
56071      7248156291      9/10/2011        8:58:47
56072      7248156973      1/12/2012        14:00:39
56073      7248156973      5/26/2012        8:45:44
56074      7248158465      5/7/2012         7:17:32
56075      7248164335      11/23/2011       10:11:38
56076      7248167013      9/14/2011        11:11:35
56077      7248224193      11/7/2011        7:26:10
56078      7248224584      12/18/2011       17:09:35
56079      7248224584      2/18/2012        9:07:40
56080      7248255424      5/6/2012         17:58:06
56081      7248258045      10/3/2011        7:25:14
56082      7248258898      12/17/2011       12:00:40
56083      7248260856      9/21/2011        11:46:49
56084      7248331013      10/16/2012       16:33:06
56085      7248331097      9/29/2011        15:03:46
56086      7248331733      12/15/2011       7:59:41
56087      7248344687      3/21/2012        13:37:25
56088      7248361987      7/16/2012        7:01:18
56089      7248406426      10/4/2011        13:31:37
56090      7248408352      4/25/2012        13:18:31
56091      7248561130      11/28/2011       17:33:23
56092      7248565133      9/6/2012         12:31:28
56093      7248586162      7/7/2012         10:00:57
56094      7248589850      3/26/2012        7:16:43
56095      7248595257      5/11/2012        12:10:38
56096      7248595788      3/21/2012        13:36:09
56097      7248754987      5/21/2012        7:48:22
56098      7248755064      9/25/2012        14:44:28
56099      7248758044      7/15/2012        10:39:40
56100      7248800007      10/29/2011       10:07:39
56101      7248803605      11/18/2011       13:30:16
56102      7248822408      3/26/2012        7:05:27
56103      7248822408      4/4/2012         18:43:25
56104      7248822539      7/20/2011        13:37:24
56105      7248827620      11/16/2011       9:20:17
56106      7248828679      10/20/2011       16:03:49
56107      7248866514      1/29/2012        16:23:38
56108      7248896597      10/26/2011       12:43:36
56109      7249022144      8/15/2011        9:23:43
56110      7249100062      7/11/2012        9:34:20
56111      7249101570      3/19/2012        19:08:59
56112      7249141513      10/13/2011       7:07:50
56113      7249252000      11/23/2011       14:35:47
56114      7249310018      1/12/2012        7:02:52
56115      7249312941      12/23/2011       13:52:19
56116      7249443264      9/16/2011        13:17:42
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56117      7249446282      10/1/2011        10:17:03
56118      7249448208      4/18/2012        7:11:00
56119      7249449172      4/22/2012        15:10:07
56120      7249449172      5/21/2012        7:06:02
56121      7249533178      12/5/2011        8:53:31
56122      7249536673      11/28/2011       17:33:01
56123      7249537391      5/17/2012        16:43:52
56124      7249537478      10/5/2011        14:06:37
56125      7249538327      8/21/2012        13:58:41
56126      7249542225      3/8/2012         7:12:54
56127      7249544512      9/21/2011        11:47:15
56128      7249545519      5/16/2012        16:52:46
56129      7249545780      10/27/2011       16:30:04
56130      7249549661      3/30/2012        16:34:30
56131      7249610466      10/16/2012       16:34:40
56132      7249615640      9/29/2011        15:10:57
56133      7249616029      9/19/2011        19:04:52
56134      7249616241      11/12/2011       10:12:24
56135      7249630000      2/14/2012        16:45:50
56136      7249630848      1/29/2012        16:24:03
56137      7249632623      3/20/2012        17:36:46
56138      7249634642      1/10/2012        15:25:52
56139      7249634642      3/6/2012         12:37:05
56140      7249636217      10/23/2012       16:08:08
56141      7249638734      6/5/2012         19:47:10
56142      7249638734      6/21/2012        18:17:58
56143      7249680217      12/30/2011       17:20:41
56144      7249688725      11/11/2011       7:50:40
56145      7249701647      9/21/2012        18:40:15
56146      7249705026      9/19/2011        7:12:33
56147      7249705854      10/3/2012        19:47:40
56148      7249706519      12/23/2011       14:23:14
56149      7249715682      9/5/2012         7:13:39
56150      7249716584      7/30/2012        13:14:36
56151      7249723144      10/23/2012       16:14:21
56152      7249726602      7/26/2012        19:13:38
56153      7249729797      9/10/2011        8:18:49
56154      7249741067      10/1/2011        10:17:16
56155      7249774038      11/30/2011       14:42:26
56156      7249775754      9/21/2012        15:35:45
56157      7249806286      11/2/2011        7:08:51
56158      7249807261      2/17/2012        9:02:19
56159      7249841302      1/13/2012        7:15:21
56160      7249843106      11/14/2011       16:30:29
56161      7249863511      11/14/2011       16:36:19
56162      7249865012      11/9/2011        7:25:44
56163      7249872043      11/26/2011       12:27:46
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56164      7249890288      9/6/2012         7:02:28
56165      7249898525      9/22/2011        15:51:37
56166      7249915654      5/1/2012         8:12:36
56167      7249917275      4/16/2012        16:00:05
56168      7249917556      10/5/2011        14:36:08
56169      7249917727      12/9/2011        7:57:04
56170      7249928897      5/13/2012        14:26:27
56171      7249940553      10/15/2011       9:16:34
56172      7249940554      3/3/2012         8:21:08
56173      7249961341      12/29/2011       10:53:06
56174      7249961341      1/13/2012        7:15:11
56175      7249961341      5/4/2012         14:49:03
56176      7249961341      5/21/2012        7:32:21
56177      7249965104      3/2/2012         7:17:07
56178      7249981239      10/28/2011       14:09:16
56179      7272048854      11/22/2011       18:25:39
56180      7272071445      10/6/2011        16:14:50
56181      7272071446      10/29/2011       11:21:46
56182      7272075177      10/2/2012        7:32:56
56183      7272152594      12/9/2011        7:31:10
56184      7272176639      11/3/2011        17:44:52
56185      7272227589      5/22/2012        11:16:21
56186      7272260273      9/21/2011        11:23:36
56187      7272260911      6/18/2012        15:33:58
56188      7272262754      9/19/2011        19:24:32
56189      7272267450      3/24/2012        9:54:08
56190      7272355458      9/20/2011        16:41:01
56191      7272367137      12/21/2011       10:56:27
56192      7272375044      1/7/2012         8:20:21
56193      7272375375      11/30/2011       14:46:49
56194      7272376794      11/28/2011       11:37:42
56195      7272377343      6/27/2012        17:49:59
56196      7272380571      11/25/2011       17:34:07
56197      7272386619      1/12/2012        14:23:19
56198      7272391464      10/12/2011       11:41:04
56199      7272391464      10/17/2011       7:52:12
56200      7272392896      9/19/2011        19:03:00
56201      7272433062      1/5/2012         14:01:49
56202      7272440924      11/28/2011       17:35:58
56203      7272441742      2/16/2012        7:23:57
56204      7272441742      3/15/2012        19:21:37
56205      7272444517      8/2/2012         18:49:46
56206      7272444585      5/31/2012        17:46:29
56207      7272474965      9/12/2011        13:53:18
56208      7272538998      11/26/2011       12:59:15
56209      7272549835      9/29/2011        15:04:34
56210      7272675318      6/21/2011        13:54:02
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56211      7272710250      9/28/2011        10:49:02
56212      7272714162      11/17/2011       15:23:55
56213      7272718264      10/16/2012       7:26:16
56214      7272719318      11/4/2011        7:05:33
56215      7272772916      12/21/2011       10:12:23
56216      7272772916      1/5/2012         11:56:21
56217      7272773354      7/18/2012        18:23:07
56218      7272778827      10/5/2011        14:02:16
56219      7272786240      5/11/2012        18:05:00
56220      7272803311      3/25/2012        11:45:57
56221      7272860189      5/18/2012        11:55:05
56222      7272881334      6/30/2011        8:42:09
56223      7272881334      9/24/2011        9:36:24
56224      7272907378      9/3/2011         10:45:43
56225      7272907378      9/22/2011        15:49:09
56226      7273196361      1/6/2012         14:39:01
56227      7273202238      9/7/2011         14:23:30
56228      7273205997      7/30/2012        18:44:05
56229      7273206609      9/13/2011        14:53:50
56230      7273263140      6/23/2012        8:42:49
56231      7273263358      10/1/2012        8:18:52
56232      7273264220      5/28/2012        8:45:39
56233      7273264248      8/3/2012         16:29:43
56234      7273264701      8/15/2012        7:52:01
56235      7273265162      9/22/2011        15:05:30
56236      7273265230      3/10/2011        17:32:38
56237      7273310368      12/10/2011       14:32:03
56238      7273422176      8/1/2012         9:07:23
56239      7273422232      2/17/2012        9:12:25
56240      7273422232      5/14/2012        15:29:25
56241      7273422913      7/2/2012         17:02:46
56242      7273423696      10/17/2011       7:03:47
56243      7273480526      10/5/2012        12:47:01
56244      7273480744      10/4/2011        13:06:16
56245      7273486742      3/14/2012        19:41:24
56246      7273593587      1/4/2012         11:11:56
56247      7273594646      12/15/2011       8:26:55
56248      7273596350      7/30/2012        14:45:42
56249      7273641357      4/5/2012         7:12:12
56250      7273641357      4/13/2012        13:19:13
56251      7273643146      3/19/2012        19:16:03
56252      7273643617      11/22/2011       19:22:44
56253      7273644152      4/16/2012        15:44:10
56254      7273646004      9/19/2011        19:09:38
56255      7273647207      6/18/2012        15:09:32
56256      7273648761      12/15/2011       8:28:50
56257      7273648761      5/21/2012        7:02:42
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56258      7273857630      9/3/2012         14:27:14
56259      7273857630      9/21/2012        15:26:19
56260      7273862829      1/9/2012         7:04:58
56261      7273890669      10/6/2011        16:06:04
56262      7273890864      11/29/2011       16:07:43
56263      7273894098      9/28/2011        10:52:04
56264      7273895080      6/27/2012        12:10:14
56265      7274033560      5/22/2012        18:28:27
56266      7274080110      3/22/2012        7:48:55
56267      7274101436      6/14/2012        16:02:43
56268      7274120408      9/9/2011         7:34:25
56269      7274158996      2/13/2012        7:03:52
56270      7274173675      10/4/2011        13:36:42
56271      7274179671      6/6/2012         7:17:13
56272      7274187609      9/19/2011        19:06:29
56273      7274201530      12/28/2011       13:23:21
56274      7274202730      3/2/2012         18:39:51
56275      7274202916      5/23/2012        15:06:46
56276      7274206044      12/20/2011       17:14:11
56277      7274206704      10/1/2011        10:35:12
56278      7274206894      7/23/2012        13:17:14
56279      7274207351      2/15/2012        8:10:37
56280      7274207351      2/28/2012        15:51:47
56281      7274208386      1/17/2012        7:17:37
56282      7274212098      11/23/2011       10:21:10
56283      7274214109      1/12/2012        14:11:16
56284      7274222793      10/14/2011       13:09:25
56285      7274235635      4/29/2011        19:56:49
56286      7274235949      10/20/2011       16:20:47
56287      7274243285      10/13/2011       7:22:16
56288      7274247100      4/12/2012        12:14:21
56289      7274249594      10/12/2011       12:00:42
56290      7274305519      10/31/2011       8:47:13
56291      7274340527      10/18/2011       12:00:41
56292      7274340567      1/3/2012         19:40:26
56293      7274376581      3/6/2012         16:59:20
56294      7274378471      9/20/2011        17:10:23
56295      7274379750      11/25/2011       17:38:46
56296      7274397291      6/7/2012         18:27:03
56297      7274399684      9/27/2012        16:26:02
56298      7274527911      1/17/2012        7:17:31
56299      7274528635      11/17/2011       16:18:46
56300      7274531605      1/13/2012        12:24:15
56301      7274550357      7/30/2011        8:43:00
56302      7274553879      10/24/2011       7:05:26
56303      7274556020      8/15/2011        8:08:36
56304      7274558721      1/10/2012        15:16:41
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56305      7274571145      9/21/2011        19:29:21
56306      7274573633      11/15/2011       15:52:33
56307      7274573633      12/27/2011       14:41:37
56308      7274578033      9/22/2012        9:01:39
56309      7274580448      9/5/2012         7:13:32
56310      7274587620      10/17/2012       18:28:51
56311      7274592371      9/10/2011        8:53:55
56312      7274592929      6/28/2012        7:02:38
56313      7274594668      3/2/2012         18:43:59
56314      7274595115      8/28/2012        7:25:59
56315      7274596385      6/15/2012        16:35:39
56316      7274607141      1/19/2012        7:11:48
56317      7274705479      9/18/2012        14:13:59
56318      7274707175      3/1/2012         11:56:42
56319      7274798063      1/11/2012        7:33:43
56320      7274798063      1/18/2012        16:36:01
56321      7274798184      11/8/2011        14:14:13
56322      7274807366      9/8/2012         11:20:01
56323      7274810691      10/1/2011        9:28:23
56324      7274810932      2/13/2012        7:18:57
56325      7274822298      11/15/2011       16:09:48
56326      7274827138      2/17/2012        9:24:31
56327      7274830728      11/28/2011       11:46:28
56328      7274832182      9/17/2011        10:01:54
56329      7274840425      9/14/2011        16:05:24
56330      7274842280      1/11/2012        16:36:40
56331      7274842495      5/13/2011        11:16:54
56332      7274845983      7/19/2012        17:42:20
56333      7274848054      11/28/2011       11:11:50
56334      7274848235      10/8/2011        9:08:57
56335      7274854142      10/6/2011        17:16:43
56336      7274854229      9/29/2011        15:40:28
56337      7274856077      6/21/2012        10:13:59
56338      7274856126      9/23/2011        18:57:19
56339      7274856573      6/27/2012        17:58:05
56340      7274856612      8/25/2012        11:00:54
56341      7274873748      9/21/2011        11:42:42
56342      7274885816      3/2/2012         18:43:23
56343      7274887015      11/17/2011       14:01:03
56344      7274889072      8/25/2012        11:13:32
56345      7274922037      7/23/2012        15:18:31
56346      7274929511      2/13/2012        18:40:26
56347      7274951842      9/24/2012        12:49:13
56348      7275051069      5/18/2012        15:42:51
56349      7275058788      9/22/2011        15:11:49
56350      7275058788      10/11/2011       17:02:43
56351      7275122024      3/10/2012        8:50:47
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56352      7275126072      7/15/2011        17:22:54
56353      7275142024      1/7/2012         8:08:55
56354      7275143047      6/1/2012         8:59:22
56355      7275152467      11/18/2011       12:52:14
56356      7275180601      10/13/2011       7:06:29
56357      7275202167      9/14/2011        11:38:55
56358      7275202755      11/15/2011       15:07:00
56359      7275202755      12/3/2011        8:58:02
56360      7275202877      10/7/2012        12:44:06
56361      7275203315      3/17/2012        8:29:53
56362      7275203490      11/30/2011       7:21:33
56363      7275205294      4/16/2012        7:11:15
56364      7275206446      8/30/2011        16:16:53
56365      7275206691      11/29/2011       15:26:51
56366      7275206691      2/14/2012        9:55:31
56367      7275344952      11/14/2011       16:39:08
56368      7275428992      7/12/2011        11:24:21
56369      7275429275      11/22/2011       19:23:55
56370      7275436815      7/6/2012         14:39:27
56371      7275437322      8/17/2012        7:14:11
56372      7275437721      4/24/2012        12:08:05
56373      7275439070      6/28/2012        14:25:33
56374      7275439448      5/22/2012        18:18:04
56375      7275506238      11/22/2011       19:19:50
56376      7275511841      9/8/2011         18:42:26
56377      7275511999      3/29/2011        17:05:13
56378      7275575024      5/5/2012         12:30:38
56379      7275575461      1/21/2012        8:03:06
56380      7275576585      10/19/2012       11:34:26
56381      7275577205      5/8/2012         16:58:07
56382      7275578395      9/9/2011         18:21:10
56383      7275578898      9/12/2011        13:57:41
56384      7275602566      12/7/2011        15:05:30
56385      7275603319      1/5/2012         13:58:50
56386      7275634155      8/28/2012        7:23:49
56387      7275634369      9/1/2011         8:02:52
56388      7275641317      9/12/2011        13:47:30
56389      7275641317      11/7/2011        7:56:23
56390      7275641469      4/18/2012        7:13:53
56391      7275641626      10/31/2011       8:53:15
56392      7275642141      10/5/2011        14:29:47
56393      7275642339      5/6/2012         17:13:47
56394      7275643677      1/8/2012         13:08:07
56395      7275643701      4/11/2012        19:40:58
56396      7275644488      9/20/2011        17:59:20
56397      7275646105      3/28/2012        18:18:44
56398      7275647750      5/21/2012        17:28:27
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56399      7275647801      2/14/2012        16:49:09
56400      7275648306      3/13/2012        18:27:49
56401      7275648488      11/11/2011       7:52:08
56402      7275653145      7/14/2012        8:17:44
56403      7275653166      4/16/2012        7:22:25
56404      7275658240      2/17/2012        8:56:23
56405      7275659835      6/26/2012        7:58:52
56406      7275991880      10/17/2012       9:41:54
56407      7275999391      5/21/2012        8:16:26
56408      7276120015      5/12/2012        10:26:25
56409      7276124888      10/4/2011        13:08:02
56410      7276142361      6/5/2012         13:57:51
56411      7276231082      3/1/2012         8:46:28
56412      7276231082      3/26/2012        18:38:11
56413      7276231082      10/11/2012       18:44:31
56414      7276231493      10/5/2012        18:39:27
56415      7276232709      6/29/2012        9:30:45
56416      7276233470      8/10/2012        7:27:18
56417      7276235216      2/28/2012        15:59:44
56418      7276235216      5/21/2012        7:04:11
56419      7276235216      5/21/2012        7:25:21
56420      7276235339      10/1/2011        10:16:27
56421      7276235479      9/28/2011        10:03:37
56422      7276235517      3/12/2012        19:04:30
56423      7276236927      3/19/2012        19:16:50
56424      7276237660      11/23/2011       14:31:06
56425      7276317623      5/30/2012        12:55:29
56426      7276377863      7/28/2011        10:15:12
56427      7276378043      10/12/2011       7:42:26
56428      7276389914      10/6/2011        16:19:40
56429      7276411047      9/8/2011         19:46:50
56430      7276411211      12/21/2011       10:29:01
56431      7276414144      12/5/2011        18:32:10
56432      7276414320      2/7/2012         16:55:45
56433      7276417673      12/18/2011       16:51:33
56434      7276433250      10/12/2012       16:35:30
56435      7276437334      5/15/2012        18:59:43
56436      7276439996      8/27/2011        11:24:58
56437      7276441203      2/15/2012        8:08:21
56438      7276442247      3/2/2012         18:52:26
56439      7276443964      11/26/2011       12:49:08
56440      7276444820      7/26/2012        19:25:49
56441      7276451608      12/13/2011       17:15:59
56442      7276452116      7/11/2012        17:26:22
56443      7276452219      8/9/2011         12:31:39
56444      7276452345      10/5/2012        12:32:15
56445      7276453022      2/21/2012        10:45:43
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56446      7276457277      12/21/2011       11:27:06
56447      7276470738      1/27/2012        17:33:17
56448      7276473038      3/19/2012        7:01:22
56449      7276473038      3/24/2012        9:50:29
56450      7276567115      9/21/2011        11:52:06
56451      7276569498      10/25/2011       16:03:20
56452      7276569498      1/11/2012        7:31:39
56453      7276569498      2/14/2012        16:37:13
56454      7276570125      10/5/2012        18:21:28
56455      7276572270      3/28/2012        7:17:47
56456      7276572270      7/30/2012        13:25:12
56457      7276572707      4/23/2012        7:02:58
56458      7276573182      3/1/2012         8:37:52
56459      7276573897      4/19/2012        7:20:03
56460      7276574239      5/22/2012        11:02:08
56461      7276574885      10/22/2011       12:56:53
56462      7276576090      2/20/2012        17:04:27
56463      7276576090      3/4/2012         12:32:42
56464      7276576285      12/5/2011        18:06:52
56465      7276576887      6/3/2011         7:12:32
56466      7276679304      2/14/2012        9:54:11
56467      7276781378      8/4/2011         8:01:32
56468      7276783605      3/29/2012        16:42:04
56469      7276783605      4/9/2012         17:50:36
56470      7276784427      4/10/2012        12:04:34
56471      7276784742      3/16/2012        10:17:09
56472      7276785051      3/27/2012        14:51:49
56473      7276789349      2/4/2012         8:16:39
56474      7276862728      7/13/2012        18:33:35
56475      7276868902      9/17/2011        9:27:27
56476      7276879355      10/18/2011       12:08:46
56477      7276879945      5/14/2012        15:46:28
56478      7277098971      9/19/2011        19:24:21
56479      7277100226      3/15/2012        13:47:55
56480      7277100816      12/21/2011       19:23:55
56481      7277100816      1/20/2012        19:32:41
56482      7277290061      9/28/2012        16:43:15
56483      7277421334      10/8/2011        9:34:39
56484      7277422296      1/8/2012         13:24:35
56485      7277425562      1/26/2012        10:24:00
56486      7277428922      7/10/2012        7:25:29
56487      7277429689      6/25/2012        13:19:10
56488      7277431459      12/29/2011       10:53:48
56489      7277431459      2/20/2012        17:06:00
56490      7277433035      11/8/2011        14:10:54
56491      7277434308      3/7/2012         9:43:50
56492      7277438818      3/19/2012        19:15:14
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56493      7277439200      1/23/2012        18:54:09
56494      7277442060      12/1/2011        14:32:50
56495      7277444696      9/21/2012        15:24:37
56496      7277445899      10/17/2011       7:47:55
56497      7277447759      10/12/2011       11:33:18
56498      7277489158      7/31/2012        7:12:34
56499      7277681092      6/11/2012        18:17:15
56500      7277683250      10/29/2011       11:26:18
56501      7277683250      12/1/2011        7:54:28
56502      7277684145      12/21/2011       10:54:24
56503      7277684329      9/28/2012        16:43:04
56504      7277685849      10/5/2012        18:26:54
56505      7277715063      9/27/2012        16:23:47
56506      7277723039      10/26/2011       13:05:47
56507      7277735824      9/12/2011        13:59:42
56508      7277761355      5/11/2012        7:24:36
56509      7277765400      2/9/2012         7:14:09
56510      7277765591      8/11/2012        9:20:33
56511      7277892866      4/20/2012        14:25:32
56512      7277984964      10/10/2011       12:42:44
56513      7278042124      7/5/2012         15:43:11
56514      7278043545      11/18/2011       13:23:48
56515      7278044987      10/4/2011        13:33:07
56516      7278080132      2/15/2012        8:06:51
56517      7278080544      12/14/2011       13:37:30
56518      7278085476      10/1/2011        10:34:32
56519      7278088933      12/17/2011       12:02:23
56520      7278155443      11/15/2011       15:12:37
56521      7278155947      6/11/2012        7:20:59
56522      7278310197      4/19/2012        7:34:12
56523      7278310197      7/5/2012         15:42:13
56524      7278313409      8/6/2012         16:34:49
56525      7278313875      8/8/2012         16:11:00
56526      7278314455      9/13/2011        15:13:09
56527      7278314743      7/28/2012        8:49:55
56528      7278316528      9/27/2011        18:26:06
56529      7278410183      9/20/2011        16:44:48
56530      7278462035      10/17/2012       18:33:50
56531      7278512097      3/29/2012        11:26:58
56532      7278512975      3/17/2012        8:28:10
56533      7278512983      11/28/2011       11:39:24
56534      7278513490      9/24/2012        12:58:45
56535      7278514053      10/18/2012       7:06:19
56536      7278580151      4/13/2012        13:34:29
56537      7278598217      10/7/2012        12:51:44
56538      7278598217      10/20/2012       16:20:45
56539      7278716760      10/3/2012        7:02:05
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56540      7279027976      9/20/2011        18:08:16
56541      7279027976      12/10/2011       14:42:37
56542      7279062673      9/24/2011        9:33:47
56543      7279067098      3/25/2012        11:30:36
56544      7279197359      9/9/2011         7:23:09
56545      7279197560      12/6/2011        14:26:54
56546      7279530062      2/11/2012        10:41:33
56547      7279530547      4/12/2012        14:53:13
56548      7279535247      4/3/2012         16:08:29
56549      7279535361      9/27/2011        18:09:06
56550      7279671582      3/16/2012        10:17:10
56551      7279671582      5/21/2012        7:26:04
56552      7279920967      9/3/2012         14:31:26
56553      7279925125      5/10/2011        18:48:36
56554      7312121614      12/7/2011        15:15:08
56555      7312122258      12/27/2011       14:36:47
56556      7312122872      11/18/2011       13:32:02
56557      7312127283      7/11/2012        17:15:32
56558      7312129996      9/20/2011        16:45:48
56559      7312173553      12/8/2011        19:40:05
56560      7312174289      7/20/2012        14:53:07
56561      7312174416      12/14/2011       12:59:03
56562      7312230790      5/4/2012         18:12:01
56563      7312239486      12/27/2011       14:35:49
56564      7312254385      4/16/2012        16:04:46
56565      7312257169      12/30/2011       9:20:46
56566      7312341395      5/27/2012        14:02:15
56567      7312341395      5/29/2012        10:51:16
56568      7312671359      3/20/2012        17:50:47
56569      7312675866      9/17/2011        9:42:43
56570      7312678615      3/25/2012        12:04:34
56571      7312861808      10/18/2012       16:52:32
56572      7312936573      9/27/2012        16:30:52
56573      7312938508      5/6/2012         18:06:12
56574      7312939706      8/14/2012        11:51:30
56575      7313070060      9/23/2011        8:34:08
56576      7313070130      10/21/2011       12:44:49
56577      7313250187      4/9/2012         18:17:17
56578      7313250409      3/29/2012        16:33:11
56579      7313321546      10/20/2011       16:23:46
56580      7313329011      9/11/2012        15:13:01
56581      7313330100      3/21/2011        10:42:51
56582      7313344095      9/28/2011        11:12:50
56583      7313344941      8/1/2012         20:12:54
56584      7313347273      12/14/2011       18:00:56
56585      7313347766      12/18/2011       16:49:57
56586      7313349025      12/26/2011       20:16:11
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56587      7313349553      10/4/2011        13:47:33
56588      7313351844      3/20/2012        9:30:10
56589      7313351894      1/17/2012        9:41:17
56590      7313363178      2/9/2012         9:47:53
56591      7313368963      7/11/2012        9:38:07
56592      7313450335      11/11/2011       13:44:57
56593      7313451299      1/18/2012        16:51:14
56594      7313451421      4/20/2012        13:45:06
56595      7313451421      6/11/2012        17:36:03
56596      7313588547      10/5/2011        14:41:50
56597      7313631062      9/29/2012        10:10:08
56598      7313638313      5/5/2012         8:12:07
56599      7313770378      12/21/2011       9:59:31
56600      7313776576      11/19/2011       9:06:36
56601      7313778092      6/4/2011         10:35:24
56602      7313778092      1/18/2012        20:19:55
56603      7313778262      11/14/2011       17:21:06
56604      7313940046      12/23/2011       14:41:37
56605      7313942023      12/31/2011       11:49:39
56606      7313947475      11/7/2011        8:10:21
56607      7313948487      3/12/2012        19:27:13
56608      7314130883      10/19/2011       15:30:59
56609      7314132033      2/16/2012        8:34:45
56610      7314132437      9/20/2011        16:51:04
56611      7314133815      12/30/2011       8:35:34
56612      7314133997      12/23/2011       14:02:10
56613      7314136383      9/6/2012         12:32:18
56614      7314139747      1/18/2012        16:40:45
56615      7314145832      12/5/2011        8:41:28
56616      7314146635      3/19/2012        17:35:16
56617      7314147507      9/10/2011        9:16:58
56618      7314153176      2/13/2012        8:13:58
56619      7314153956      8/18/2012        8:44:23
56620      7314158413      10/12/2011       8:01:54
56621      7314159333      12/30/2011       8:33:41
56622      7314182901      12/3/2011        9:21:39
56623      7314262747      12/12/2011       12:26:33
56624      7314263236      4/21/2012        8:33:07
56625      7314263651      8/8/2012         16:03:24
56626      7314263833      5/16/2012        17:03:12
56627      7314312844      11/23/2011       9:47:02
56628      7314314244      8/6/2012         16:25:07
56629      7314320962      9/27/2012        16:30:19
56630      7314322821      3/14/2012        19:35:08
56631      7314349104      3/13/2012        11:38:26
56632      7314381694      9/29/2011        15:50:08
56633      7314385560      1/3/2012         19:41:56
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56634      7314385560      3/7/2012         18:44:34
56635      7314385564      11/14/2011       14:54:48
56636      7314390824      9/8/2011         19:51:25
56637      7314391696      10/11/2012       12:09:21
56638      7314392706      8/8/2012         8:20:12
56639      7314392995      11/22/2011       19:41:00
56640      7314397033      2/9/2012         9:36:35
56641      7314397997      5/19/2012        8:16:39
56642      7314412080      7/14/2012        8:09:29
56643      7314430866      12/20/2011       12:39:38
56644      7314440025      9/21/2011        11:53:37
56645      7314441765      8/25/2011        16:59:19
56646      7314452311      1/13/2012        17:28:27
56647      7314455992      12/17/2011       11:37:48
56648      7314457237      4/4/2012         18:49:09
56649      7314457976      5/16/2012        16:57:15
56650      7314458836      8/17/2012        8:19:26
56651      7314460340      6/20/2012        16:52:38
56652      7314461878      9/23/2011        11:38:57
56653      7314461878      1/10/2012        18:07:08
56654      7314463266      9/14/2011        12:16:19
56655      7314468241      8/23/2012        11:53:17
56656      7314468241      10/15/2012       10:06:52
56657      7314468505      8/24/2012        11:08:02
56658      7314535792      8/7/2012         18:01:48
56659      7314600111      7/16/2012        19:51:43
56660      7314600923      11/14/2011       14:48:40
56661      7314606551      2/10/2012        9:20:24
56662      7314784195      9/27/2012        16:23:10
56663      7314871335      10/12/2012       16:58:29
56664      7314872029      10/11/2012       12:04:11
56665      7314872400      12/24/2011       8:12:42
56666      7314872400      1/11/2012        16:29:53
56667      7314874384      10/21/2011       12:46:00
56668      7314874939      8/11/2012        9:23:36
56669      7314875847      11/22/2011       19:37:09
56670      7314877304      2/3/2012         20:15:27
56671      7314878009      8/29/2011        17:03:26
56672      7314878009      9/19/2011        19:15:58
56673      7314878269      9/30/2011        10:00:58
56674      7314879488      5/21/2011        10:57:50
56675      7315010358      9/20/2011        16:44:33
56676      7315010885      8/3/2012         12:28:35
56677      7315130707      2/17/2012        9:15:20
56678      7315141755      1/27/2012        18:02:39
56679      7315147747      6/20/2011        14:18:51
56680      7315147829      5/29/2012        17:26:21
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56681      7315149351      10/10/2011       11:50:42
56682      7315185148      11/18/2011       13:05:33
56683      7315186068      8/11/2012        9:24:06
56684      7315186334      11/17/2011       14:15:02
56685      7315187633      2/9/2012         20:30:25
56686      7315187711      5/30/2012        16:57:15
56687      7315188515      9/16/2011        14:51:48
56688      7315350873      10/1/2012        8:16:49
56689      7315350873      10/18/2012       16:38:09
56690      7315352690      10/15/2011       10:52:34
56691      7315359172      10/7/2011        8:16:35
56692      7315490530      7/9/2012         19:00:36
56693      7315714974      5/7/2012         8:15:54
56694      7315716764      2/21/2012        17:59:47
56695      7315719730      1/16/2012        17:15:17
56696      7315892580      5/12/2012        8:50:01
56697      7315923850      12/29/2011       14:18:27
56698      7315923851      11/23/2011       14:51:06
56699      7315999158      6/26/2012        16:16:16
56700      7316075339      9/28/2012        17:05:13
56701      7316075697      4/12/2012        17:59:02
56702      7316077731      8/18/2012        8:39:07
56703      7316085144      11/9/2011        8:23:08
56704      7316085396      2/16/2012        8:36:21
56705      7316085418      9/10/2012        8:45:28
56706      7316085591      9/24/2012        13:12:58
56707      7316091286      9/27/2012        16:30:40
56708      7316091329      10/4/2011        13:45:44
56709      7316093670      2/21/2012        11:19:35
56710      7316093938      10/24/2011       8:12:15
56711      7316094549      6/7/2012         12:37:55
56712      7316095671      2/20/2012        16:52:53
56713      7316095671      5/21/2012        8:16:18
56714      7316095726      8/14/2012        20:45:01
56715      7316096674      12/2/2011        8:22:08
56716      7316097401      11/1/2011        8:48:08
56717      7316101211      11/12/2011       10:37:50
56718      7316103776      2/18/2012        9:08:38
56719      7316103835      6/13/2012        8:07:28
56720      7316107612      4/12/2012        18:32:11
56721      7316120208      10/10/2011       12:36:42
56722      7316120969      8/25/2012        8:15:02
56723      7316122292      9/21/2011        19:34:36
56724      7316123064      8/26/2011        18:25:22
56725      7316123064      9/26/2011        9:36:14
56726      7316123064      1/11/2012        9:04:48
56727      7316123667      5/22/2012        18:42:53
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56728      7316124431      3/28/2012        14:33:39
56729      7316124753      2/8/2012         13:00:53
56730      7316125251      4/13/2012        13:47:38
56731      7316125614      2/14/2012        9:50:39
56732      7316125614      3/1/2012         8:39:12
56733      7316125614      5/8/2012         12:32:25
56734      7316128225      1/16/2012        8:17:41
56735      7316130092      4/22/2012        15:35:42
56736      7316131174      6/20/2012        16:59:48
56737      7316133677      12/18/2011       16:22:16
56738      7316135108      10/5/2011        14:42:11
56739      7316140583      1/3/2012         16:31:21
56740      7316140599      7/14/2011        8:14:30
56741      7316140744      8/23/2011        19:09:55
56742      7316140744      9/17/2011        9:37:24
56743      7316141317      9/20/2011        16:45:53
56744      7316142807      3/15/2012        18:59:08
56745      7316144161      2/4/2012         8:16:26
56746      7316145115      1/2/2012         8:16:58
56747      7316145115      5/21/2012        8:01:33
56748      7316145451      9/29/2011        15:51:22
56749      7316162909      4/21/2011        12:40:47
56750      7316169242      6/17/2012        12:26:50
56751      7316170574      7/30/2012        15:19:11
56752      7316182346      8/8/2011         15:29:50
56753      7316460587      7/14/2012        8:28:38
56754      7316762509      2/13/2012        8:07:24
56755      7316935711      6/9/2012         10:59:48
56756      7316943048      10/17/2012       18:30:30
56757      7316945588      10/10/2011       12:50:30
56758      7316959705      10/10/2011       12:52:21
56759      7317071324      11/29/2011       15:03:19
56760      7317071396      7/20/2011        13:51:30
56761      7317275584      9/24/2012        19:09:36
56762      7317276573      5/16/2011        12:37:09
56763      7317800215      11/26/2011       11:57:18
56764      7317800215      2/15/2012        13:23:39
56765      7317802620      10/13/2011       8:24:29
56766      7317805233      11/5/2011        11:38:44
56767      7317807525      2/14/2012        16:49:57
56768      7317980021      10/3/2011        8:21:02
56769      7317986106      8/10/2011        17:42:49
56770      7318034270      3/5/2012         8:17:23
56771      7318034270      4/16/2012        16:06:37
56772      7318038183      12/22/2011       9:48:48
56773      7318039305      10/22/2012       17:58:14
56774      7318039335      3/3/2012         8:52:18
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56775      7318190402      10/19/2011       12:16:03
56776      7318190402      11/14/2011       17:13:45
56777      7318190402      5/11/2012        12:26:33
56778      7318194379      8/17/2012        8:18:42
56779      7318194687      10/8/2011        9:33:32
56780      7318197681      9/8/2011         18:47:58
56781      7318796313      8/16/2012        9:29:44
56782      7318796313      9/1/2012         9:25:56
56783      7318828550      1/5/2012         17:23:17
56784      7318829092      11/18/2011       12:26:11
56785      7318829558      5/4/2012         20:58:52
56786      7319672809      5/26/2012        15:15:49
56787      7319888178      9/12/2011        14:18:17
56788      7319952868      6/21/2011        14:04:49
56789      7322070937      12/24/2011       7:22:45
56790      7322072245      9/25/2012        14:43:22
56791      7322072290      12/20/2011       12:34:21
56792      7322077789      8/23/2012        11:51:41
56793      7322077908      11/22/2011       19:26:55
56794      7322078298      7/30/2012        13:29:06
56795      7322130389      11/3/2011        17:04:30
56796      7322134708      2/16/2012        7:20:09
56797      7322134825      3/29/2012        11:29:37
56798      7322163971      9/26/2012        15:18:38
56799      7322211576      9/1/2012         9:16:05
56800      7322211576      10/20/2012       16:28:13
56801      7322281026      9/4/2012         15:42:35
56802      7322320765      9/19/2011        7:03:43
56803      7322334789      9/11/2012        15:12:47
56804      7322336505      3/3/2012         8:49:58
56805      7322337116      10/28/2011       13:58:24
56806      7322337116      12/6/2011        14:21:28
56807      7322364568      12/7/2011        15:13:55
56808      7322368087      1/3/2012         11:10:37
56809      7322375325      12/7/2011        14:15:11
56810      7322375839      5/8/2012         7:14:27
56811      7322399504      5/11/2012        18:33:49
56812      7322455921      10/7/2011        17:30:01
56813      7322590882      12/10/2011       14:40:22
56814      7322598310      11/18/2011       13:28:26
56815      7322615274      9/12/2011        14:06:34
56816      7322615274      9/21/2011        11:29:42
56817      7322619087      1/6/2012         7:10:36
56818      7322661306      3/19/2012        19:10:18
56819      7322661306      4/3/2012         15:55:14
56820      7322662483      9/8/2011         18:33:06
56821      7322662500      9/25/2012        14:44:49
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56822      7322665218      9/24/2012        13:02:49
56823      7322671365      10/5/2012        18:18:15
56824      7322672142      8/29/2011        7:34:27
56825      7322725553      11/18/2011       13:31:38
56826      7322771802      8/30/2012        17:43:48
56827      7322771918      9/13/2011        17:30:48
56828      7322774913      10/5/2011        14:03:47
56829      7322775435      5/7/2012         7:24:50
56830      7322777528      10/17/2011       7:49:48
56831      7322777574      4/1/2012         16:22:58
56832      7322778517      11/17/2011       13:55:10
56833      7322778828      3/23/2012        19:10:50
56834      7322798019      10/27/2011       16:29:52
56835      7322798019      12/10/2011       12:56:16
56836      7322984247      7/3/2012         12:21:09
56837      7322995358      3/16/2012        10:38:45
56838      7323001016      5/29/2012        17:25:22
56839      7323007441      11/25/2011       17:36:38
56840      7323064432      12/18/2011       16:51:53
56841      7323069662      1/8/2014         7:06:12
56842      7323091669      5/25/2012        17:16:20
56843      7323093036      2/6/2012         17:08:04
56844      7323094440      11/16/2011       8:35:55
56845      7323182057      10/29/2011       11:21:53
56846      7323187606      10/22/2012       17:49:01
56847      7323188117      3/9/2012         7:11:23
56848      7323188683      3/6/2012         17:00:35
56849      7323200790      3/29/2012        12:07:40
56850      7323229868      1/9/2012         7:14:34
56851      7323302358      6/11/2011        8:49:42
56852      7323313221      10/3/2011        7:25:46
56853      7323317864      9/28/2011        10:55:58
56854      7323318248      11/29/2011       16:07:53
56855      7323371012      1/29/2012        16:48:15
56856      7323392053      1/28/2012        8:07:06
56857      7323475150      1/27/2012        17:43:44
56858      7323621648      4/11/2012        7:09:00
56859      7323621955      9/21/2011        19:43:14
56860      7323833266      11/25/2011       17:34:23
56861      7323972294      1/23/2012        19:13:01
56862      7323976056      9/27/2011        15:22:32
56863      7324034489      3/19/2012        19:39:57
56864      7324039857      12/15/2011       8:31:58
56865      7324066212      2/8/2012         7:35:34
56866      7324069652      9/22/2011        15:47:05
56867      7324069692      1/5/2012         11:57:37
56868      7324101956      10/17/2011       7:21:29
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56869      7324101969      3/26/2011        10:51:01
56870      7324231546      6/5/2012         19:48:22
56871      7324238270      11/19/2011       8:06:22
56872      7324292563      7/13/2012        18:33:07
56873      7324297998      4/24/2012        12:19:48
56874      7324335498      7/10/2012        7:22:44
56875      7324339261      9/20/2011        16:34:33
56876      7324390073      8/17/2013        14:50:43
56877      7324706667      12/9/2011        7:59:05
56878      7324708338      12/28/2011       7:20:04
56879      7324767216      11/26/2011       11:17:57
56880      7324769305      3/10/2011        16:30:58
56881      7324769656      4/24/2012        12:04:30
56882      7324853313      12/7/2011        15:09:55
56883      7324855906      11/28/2011       17:49:38
56884      7324858651      6/21/2012        18:50:09
56885      7324858651      7/3/2012         7:09:10
56886      7324913226      12/2/2013        12:33:56
56887      7324925960      3/12/2012        7:16:57
56888      7325000114      10/18/2012       7:11:30
56889      7325000128      10/22/2011       12:28:09
56890      7325000653      9/16/2011        12:57:44
56891      7325008162      8/2/2012         11:35:27
56892      7325012262      8/11/2011        11:26:17
56893      7325016487      10/12/2011       7:39:55
56894      7325030265      10/5/2011        14:38:01
56895      7325108614      5/16/2012        7:15:48
56896      7325128221      12/10/2011       13:06:17
56897      7325137310      6/29/2012        17:44:16
56898      7325337510      3/20/2012        9:25:30
56899      7325337510      7/26/2012        11:51:45
56900      7325341500      4/3/2012         15:54:41
56901      7325341500      4/11/2012        10:46:52
56902      7325350195      7/3/2012         7:07:34
56903      7325390941      9/24/2011        9:29:27
56904      7325399111      10/4/2011        13:38:00
56905      7325476859      9/23/2011        18:42:13
56906      7325526303      1/8/2012         12:43:47
56907      7325567801      12/29/2011       11:04:19
56908      7325673943      6/9/2012         14:42:03
56909      7325676691      9/27/2011        18:42:34
56910      7325706135      9/19/2011        19:12:14
56911      7325800566      5/26/2012        14:44:42
56912      7325801629      2/21/2012        17:45:05
56913      7325810997      11/29/2011       15:22:36
56914      7325814454      3/13/2012        10:55:02
56915      7325814885      3/8/2014         9:13:25
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56916      7325868073      2/6/2012         16:47:24
56917      7325890980      4/3/2012         18:05:22
56918      7325893019      9/22/2011        15:49:00
56919      7325939484      5/17/2012        7:09:22
56920      7325971302      10/18/2011       12:58:10
56921      7325972060      11/3/2011        17:49:52
56922      7325997417      10/14/2011       12:48:31
56923      7326002433      9/28/2012        16:51:11
56924      7326005206      11/28/2011       16:54:32
56925      7326008046      8/29/2013        17:43:49
56926      7326008069      3/28/2012        14:33:27
56927      7326048912      7/26/2012        19:22:28
56928      7326048912      8/11/2012        9:21:35
56929      7326093002      1/13/2012        7:32:14
56930      7326095887      3/21/2012        13:48:27
56931      7326102470      11/3/2011        17:12:50
56932      7326109274      5/26/2012        14:37:13
56933      7326161168      3/28/2012        7:21:41
56934      7326168727      8/30/2012        7:49:53
56935      7326200523      5/28/2012        8:09:40
56936      7326202045      1/17/2012        18:38:12
56937      7326210493      3/9/2012         15:44:46
56938      7326210493      4/7/2012         9:39:38
56939      7326214115      9/9/2011         7:47:55
56940      7326422641      1/26/2012        7:21:44
56941      7326424425      10/4/2011        13:10:32
56942      7326425742      1/20/2012        19:38:05
56943      7326440054      11/1/2011        8:20:56
56944      7326443672      2/19/2012        19:29:14
56945      7326461200      1/3/2012         16:24:19
56946      7326461200      3/12/2012        19:15:27
56947      7326486049      10/3/2011        7:16:43
56948      7326620075      9/21/2011        19:29:10
56949      7326644936      10/5/2011        14:35:13
56950      7326681101      12/27/2011       14:34:29
56951      7326682191      1/30/2012        7:08:02
56952      7326683819      4/17/2012        9:20:24
56953      7326704913      1/2/2012         7:10:09
56954      7326705945      1/9/2012         18:09:30
56955      7326707460      1/16/2012        17:23:37
56956      7326735982      6/19/2012        15:36:24
56957      7326748980      5/21/2012        7:13:13
56958      7326750023      1/9/2012         18:27:42
56959      7326753134      3/14/2012        19:33:43
56960      7326821269      11/3/2011        17:09:00
56961      7326822974      10/20/2012       8:05:45
56962      7326823931      8/25/2012        11:10:16
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56963      7326829030      2/16/2012        7:16:28
56964      7326829737      4/13/2012        13:30:02
56965      7326841170      1/13/2012        17:15:02
56966      7326843081      11/28/2011       11:53:11
56967      7326853525      12/5/2011        9:22:36
56968      7326855315      5/9/2012         7:33:27
56969      7326859594      11/15/2011       16:51:30
56970      7326880866      11/1/2011        8:15:22
56971      7326906719      2/29/2012        17:44:44
56972      7326930232      1/4/2012         10:59:04
56973      7326931014      12/29/2011       9:57:33
56974      7326931330      7/18/2011        10:55:11
56975      7326932623      2/6/2012         17:15:07
56976      7326932737      9/13/2011        18:38:14
56977      7326934404      3/16/2012        15:49:09
56978      7326936251      3/13/2012        18:38:23
56979      7326937601      3/16/2012        10:24:24
56980      7327101101      8/8/2012         16:11:44
56981      7327102701      12/15/2011       8:31:56
56982      7327107038      1/12/2012        14:02:12
56983      7327108378      3/16/2012        16:01:09
56984      7327134903      11/17/2011       16:23:43
56985      7327180710      11/23/2011       14:34:47
56986      7327188548      9/20/2011        16:32:46
56987      7327319228      5/11/2012        12:17:59
56988      7327319228      5/21/2012        7:33:14
56989      7327353701      9/27/2012        16:23:10
56990      7327424844      11/7/2011        9:16:12
56991      7327496115      9/7/2012         15:48:20
56992      7327544086      10/23/2012       10:38:10
56993      7327577338      7/31/2012        7:08:25
56994      7327579484      5/19/2012        9:39:09
56995      7327594671      6/24/2012        13:57:35
56996      7327621853      6/23/2012        15:56:58
56997      7327628613      7/20/2012        7:34:00
56998      7327636115      1/8/2012         13:07:58
56999      7327680808      10/12/2011       7:48:54
57000      7327681752      6/12/2012        17:03:44
57001      7327682803      1/27/2012        17:59:22
57002      7327685805      11/29/2011       7:35:07
57003      7327688008      3/13/2012        18:27:17
57004      7327688008      3/19/2012        17:36:24
57005      7327716626      4/21/2012        16:13:27
57006      7327716898      2/21/2012        9:29:07
57007      7327717920      3/14/2012        19:43:12
57008      7327731416      10/19/2012       19:13:43
57009      7327734394      10/5/2011        14:01:46
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57010      7327738766      5/10/2012        14:55:47
57011      7327780349      6/25/2011        8:35:26
57012      7327782013      9/17/2012        7:49:26
57013      7327783612      1/11/2012        7:50:45
57014      7327784139      9/29/2011        15:35:17
57015      7327913252      5/30/2012        16:55:54
57016      7328013908      10/13/2012       9:05:47
57017      7328014258      12/1/2011        15:20:20
57018      7328017924      10/3/2012        7:03:16
57019      7328034468      9/29/2011        15:11:43
57020      7328035340      3/6/2012         17:11:40
57021      7328223142      10/15/2011       10:12:51
57022      7328223387      8/7/2012         19:40:23
57023      7328228373      8/18/2012        8:57:07
57024      7328241350      4/2/2012         16:56:32
57025      7328295337      10/8/2011        10:51:03
57026      7328296965      1/5/2012         11:59:49
57027      7328410247      2/25/2012        10:35:42
57028      7328412674      1/27/2012        17:59:58
57029      7328415267      3/30/2012        9:45:38
57030      7328535995      9/19/2011        19:07:32
57031      7328571903      1/5/2012         11:55:10
57032      7328595129      9/27/2012        7:48:18
57033      7328595318      12/20/2011       12:27:24
57034      7328598077      2/15/2012        8:02:33
57035      7328598090      7/10/2012        7:23:17
57036      7328772517      12/5/2011        8:28:38
57037      7328773661      10/8/2011        11:22:33
57038      7328774559      2/22/2012        7:04:39
57039      7328775062      10/19/2012       9:54:09
57040      7328776408      7/13/2012        18:33:06
57041      7328779104      6/27/2012        12:02:24
57042      7328779479      11/12/2011       10:25:04
57043      7328779906      9/23/2011        11:32:08
57044      7328779991      9/25/2012        14:52:35
57045      7328823402      1/4/2012         15:01:00
57046      7328876061      11/23/2011       14:34:08
57047      7328895027      1/24/2012        9:57:59
57048      7328905233      9/29/2011        15:09:50
57049      7328905233      3/15/2012        7:12:55
57050      7328951122      1/10/2012        15:15:35
57051      7328951147      10/8/2011        9:41:33
57052      7328951412      4/4/2012         18:57:17
57053      7328951412      7/9/2012         19:05:42
57054      7328952020      3/13/2012        16:47:49
57055      7328953598      8/8/2012         7:11:16
57056      7329000200      11/19/2011       8:50:32
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57057      7329000214      10/25/2011       15:08:45
57058      7329000214      11/11/2011       14:34:30
57059      7329000855      7/5/2012         7:49:51
57060      7329006419      6/2/2012         13:15:54
57061      7329007466      2/25/2012        10:31:17
57062      7329007661      5/21/2012        7:36:37
57063      7329008057      8/29/2012        10:58:31
57064      7329009243      10/6/2011        17:16:15
57065      7329101805      4/18/2012        17:49:13
57066      7329101959      10/9/2012        19:58:06
57067      7329102173      7/20/2012        15:04:40
57068      7329103286      2/21/2012        10:47:35
57069      7329103436      3/13/2012        18:36:31
57070      7329171366      3/16/2012        9:54:16
57071      7329210887      3/16/2012        16:18:40
57072      7329254373      3/13/2012        11:18:05
57073      7329259249      3/21/2014        7:06:00
57074      7329477931      5/14/2012        15:31:12
57075      7329482338      4/16/2012        7:18:09
57076      7329484304      7/2/2012         17:29:29
57077      7329484498      10/4/2011        13:12:46
57078      7329485648      3/14/2012        19:44:31
57079      7329486296      5/28/2011        9:59:38
57080      7329489553      7/16/2012        19:37:56
57081      7329489654      3/26/2012        18:37:21
57082      7329637175      10/31/2011       7:18:27
57083      7329662837      9/13/2011        7:20:36
57084      7329663043      3/30/2012        16:12:02
57085      7329663795      10/1/2011        9:45:54
57086      7329663796      2/20/2012        7:08:36
57087      7329664781      9/19/2011        19:06:15
57088      7329778275      10/13/2011       8:22:57
57089      7329780186      10/11/2012       12:04:17
57090      7329780555      11/21/2011       8:33:12
57091      7329780555      6/11/2012        17:33:44
57092      7329793578      10/6/2011        17:35:53
57093      7329795003      10/15/2012       10:03:39
57094      7329795006      11/14/2011       14:14:02
57095      7329842097      1/17/2012        18:27:44
57096      7329848619      1/23/2012        7:16:09
57097      7329864974      1/13/2012        17:36:19
57098      7329915462      9/14/2012        7:05:25
57099      7329918256      10/4/2011        13:13:02
57100      7329961435      3/25/2012        11:31:10
57101      7342161284      8/31/2011        10:38:16
57102      7342177607      3/19/2012        7:02:05
57103      7342179152      2/28/2012        7:42:20
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57104      7342179152      3/27/2012        15:01:20
57105      7342184367      10/15/2012       16:18:00
57106      7342186567      10/12/2011       11:40:10
57107      7342186651      8/21/2012        13:55:58
57108      7342239141      10/1/2012        8:21:02
57109      7342311186      8/10/2011        7:09:06
57110      7342395264      3/19/2012        7:10:35
57111      7342502946      4/16/2012        15:58:33
57112      7342553476      12/30/2011       7:07:55
57113      7342556333      10/8/2011        9:39:48
57114      7342599811      12/11/2011       12:19:14
57115      7342620449      1/29/2012        16:47:27
57116      7342621173      5/29/2012        7:10:59
57117      7342623478      3/31/2012        17:06:30
57118      7342623693      10/15/2011       10:11:42
57119      7342712160      9/8/2011         18:43:48
57120      7342722078      7/27/2012        15:20:54
57121      7342725714      11/25/2011       17:29:14
57122      7342725714      3/12/2012        7:27:36
57123      7342728515      3/15/2012        19:03:32
57124      7342766225      10/20/2011       17:36:50
57125      7342773047      1/7/2012         8:20:37
57126      7342861574      9/22/2011        15:06:13
57127      7342861639      9/24/2012        18:49:00
57128      7342862006      6/20/2012        16:55:19
57129      7342862006      7/13/2012        18:26:35
57130      7342862006      10/17/2012       9:47:06
57131      7342862526      12/30/2011       7:04:25
57132      7342864674      1/5/2012         14:02:24
57133      7342991032      9/28/2012        7:34:18
57134      7342991705      12/29/2011       10:00:02
57135      7342991728      3/28/2012        18:30:03
57136      7342996011      2/28/2012        15:58:08
57137      7342996393      10/31/2011       8:50:33
57138      7342996419      10/18/2011       12:11:46
57139      7342996740      11/29/2011       16:15:13
57140      7343010444      5/18/2012        15:43:15
57141      7343015522      9/13/2012        7:44:58
57142      7343019150      10/10/2012       19:11:57
57143      7343062659      5/11/2011        16:51:03
57144      7343066655      10/17/2012       18:39:11
57145      7343202490      4/21/2012        16:34:52
57146      7343207263      9/30/2011        9:54:35
57147      7343209048      4/29/2012        16:55:26
57148      7343236885      10/11/2012       18:32:49
57149      7343291828      10/20/2011       15:24:39
57150      7343293252      5/7/2012         17:55:14
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57151      7343303582      9/1/2011         8:03:08
57152      7343309925      5/3/2012         7:02:10
57153      7343340037      10/13/2011       7:21:11
57154      7343340045      10/20/2012       16:30:18
57155      7343343125      9/15/2011        7:42:00
57156      7343346482      3/13/2012        18:59:02
57157      7343346538      8/31/2011        11:12:42
57158      7343346538      10/4/2011        13:33:01
57159      7343346583      7/14/2011        16:15:21
57160      7343348055      2/20/2012        16:59:50
57161      7343348116      9/21/2011        11:22:42
57162      7343348358      12/19/2011       7:31:47
57163      7343348358      12/26/2011       8:55:08
57164      7343411918      10/19/2011       7:40:47
57165      7343448510      10/14/2011       13:13:49
57166      7343448510      11/16/2011       7:49:51
57167      7343476268      6/30/2012        8:18:47
57168      7343476268      7/16/2012        19:48:40
57169      7343476268      8/8/2012         16:06:36
57170      7343478728      4/21/2011        8:24:05
57171      7343478728      9/12/2011        13:55:13
57172      7343532484      4/4/2012         7:16:29
57173      7343637953      8/25/2012        11:04:04
57174      7343639202      8/1/2012         8:32:34
57175      7343651541      2/20/2012        7:04:05
57176      7343652364      7/30/2012        18:43:12
57177      7343681328      10/11/2011       17:00:21
57178      7343683255      6/7/2012         7:05:07
57179      7343894337      10/24/2011       7:04:28
57180      7343959769      4/1/2012         16:47:16
57181      7343959769      5/31/2012        17:46:28
57182      7344298375      10/1/2011        10:14:03
57183      7344444138      8/16/2012        19:53:08
57184      7344444138      9/4/2012         15:43:06
57185      7344444905      10/18/2012       16:29:31
57186      7344445782      10/27/2011       16:25:03
57187      7344446553      10/6/2012        8:27:18
57188      7344448566      4/16/2012        15:55:23
57189      7344448635      10/23/2012       16:12:48
57190      7344690862      12/11/2011       12:18:55
57191      7344766126      10/5/2011        14:10:09
57192      7344789678      10/25/2012       19:34:02
57193      7344976401      11/5/2011        11:11:46
57194      7345020140      6/12/2012        17:09:28
57195      7345028061      6/26/2012        7:59:18
57196      7345126907      11/26/2011       12:43:20
57197      7345161156      8/4/2012         8:11:58
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57198      7345249380      4/2/2012         17:07:09
57199      7345366422      6/26/2012        21:15:47
57200      7345520976      8/14/2012        17:03:08
57201      7345521519      7/5/2012         15:28:45
57202      7345600544      3/21/2012        13:38:50
57203      7345644569      12/21/2011       9:53:06
57204      7345644569      5/21/2012        7:23:12
57205      7345644694      8/8/2012         7:05:14
57206      7345644812      9/30/2011        10:13:19
57207      7345644893      2/7/2012         17:14:36
57208      7345760773      10/4/2011        13:40:18
57209      7345761289      7/13/2012        11:10:39
57210      7345782303      6/21/2012        18:49:51
57211      7345787349      9/28/2011        10:11:27
57212      7345788861      4/3/2012         15:55:52
57213      7346042628      9/27/2012        16:22:45
57214      7346047325      10/23/2012       10:44:55
57215      7346048209      3/13/2012        18:40:29
57216      7346125181      10/17/2011       11:36:57
57217      7346203304      3/16/2012        16:16:35
57218      7346204497      11/28/2011       17:37:31
57219      7346206340      7/30/2011        8:43:42
57220      7346254760      2/17/2012        18:15:38
57221      7346259489      2/16/2012        7:14:26
57222      7346293089      9/23/2011        18:53:06
57223      7346293443      4/11/2012        19:34:26
57224      7346293443      7/13/2012        18:31:59
57225      7346293450      3/15/2012        19:24:15
57226      7346293670      1/13/2012        12:36:06
57227      7346341153      10/8/2011        10:20:42
57228      7346341153      10/22/2011       12:47:27
57229      7346341759      3/15/2012        19:00:43
57230      7346351436      10/21/2011       14:52:36
57231      7346354146      1/19/2012        7:13:03
57232      7346450874      6/11/2012        17:57:25
57233      7346463451      12/27/2011       14:14:32
57234      7346521754      10/5/2011        14:36:25
57235      7346522559      9/29/2011        15:29:48
57236      7346527819      9/27/2012        7:32:50
57237      7346572896      3/16/2012        10:11:16
57238      7346574727      9/15/2012        8:01:04
57239      7346576490      6/5/2012         14:44:36
57240      7346581094      7/30/2012        18:43:39
57241      7346584710      11/21/2011       8:07:54
57242      7346743226      7/12/2012        19:56:08
57243      7346744861      10/7/2011        7:05:47
57244      7346745437      8/30/2012        17:41:40
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57245      7346800721      4/25/2012        9:26:09
57246      7346805398      3/15/2012        7:04:11
57247      7346805398      7/18/2012        18:23:20
57248      7346860078      10/8/2011        9:20:47
57249      7346860078      12/5/2011        18:04:19
57250      7346860466      3/20/2012        8:58:02
57251      7346860676      3/4/2012         12:30:02
57252      7346861475      5/16/2012        17:00:05
57253      7346861475      5/21/2012        7:07:41
57254      7346861475      5/21/2012        7:33:37
57255      7346862376      9/6/2011         13:16:14
57256      7346862566      12/23/2011       13:43:06
57257      7346864743      11/5/2011        11:05:30
57258      7346865598      10/8/2011        9:11:07
57259      7346869660      2/2/2012         11:06:00
57260      7346869986      9/26/2012        15:17:38
57261      7346931652      11/21/2011       7:40:22
57262      7346934477      9/16/2011        13:16:59
57263      7346950001      12/16/2011       16:02:22
57264      7346951409      12/21/2011       18:43:34
57265      7347091056      3/9/2012         7:02:35
57266      7347098175      9/21/2011        19:29:00
57267      7347099901      3/23/2012        19:48:58
57268      7347164577      12/15/2011       8:18:43
57269      7347168070      3/13/2012        18:30:37
57270      7347169395      7/9/2012         7:15:50
57271      7347175813      10/19/2012       9:52:40
57272      7347175826      9/19/2011        7:27:33
57273      7347177390      5/29/2012        17:11:40
57274      7347178806      9/21/2012        18:49:07
57275      7347305500      3/23/2012        7:16:28
57276      7347305656      7/3/2012         15:57:45
57277      7347305656      7/12/2012        7:11:44
57278      7347319412      9/13/2011        15:43:17
57279      7347401839      10/29/2011       10:31:51
57280      7347402947      9/5/2012         7:13:34
57281      7347404271      6/15/2012        16:43:04
57282      7347408318      3/13/2012        18:58:30
57283      7347494200      10/11/2012       18:46:28
57284      7347521727      8/3/2012         16:35:44
57285      7347529611      12/20/2011       19:29:48
57286      7347558851      10/22/2011       12:26:01
57287      7347570475      4/15/2012        17:00:02
57288      7347577992      3/13/2012        16:40:12
57289      7347707218      4/21/2011        8:53:38
57290      7347716908      11/11/2011       7:52:56
57291      7347719762      12/21/2011       10:11:49
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57292      7347722361      1/11/2012        16:20:47
57293      7347723442      8/8/2012         16:06:46
57294      7347723568      3/16/2012        15:47:21
57295      7347724850      2/15/2012        8:10:28
57296      7347724932      4/29/2012        16:38:52
57297      7347757310      5/7/2012         7:08:55
57298      7347761129      9/27/2012        16:23:18
57299      7347781502      10/27/2011       16:28:54
57300      7347782115      3/13/2012        7:08:16
57301      7347782115      3/20/2012        17:34:33
57302      7347784073      9/12/2011        14:03:46
57303      7347785042      10/26/2011       12:17:07
57304      7347785805      11/17/2011       16:41:08
57305      7347960371      6/23/2012        8:43:40
57306      7347997044      10/10/2011       11:35:37
57307      7347997369      3/13/2012        16:40:29
57308      7347997402      10/15/2011       10:15:53
57309      7347997761      7/9/2012         12:06:22
57310      7347997844      4/24/2012        18:06:05
57311      7348129257      2/20/2012        13:59:26
57312      7348129257      8/4/2012         10:23:22
57313      7348186216      2/17/2012        18:16:04
57314      7348189522      3/25/2012        11:46:06
57315      7348192024      3/2/2012         18:42:26
57316      7348192024      8/6/2012         16:01:01
57317      7348192875      3/21/2012        13:40:04
57318      7348298199      5/22/2012        18:26:08
57319      7348298701      12/24/2011       7:03:44
57320      7348298883      4/5/2012         15:49:12
57321      7348299534      3/31/2012        8:11:33
57322      7348333286      3/15/2012        19:02:21
57323      7348338278      10/10/2011       12:34:29
57324      7348452069      8/25/2011        17:54:06
57325      7348832754      1/4/2012         11:15:55
57326      7348839982      9/8/2011         19:29:07
57327      7348903701      5/20/2012        15:27:53
57328      7349046285      3/29/2012        16:45:25
57329      7349047578      9/26/2011        8:19:35
57330      7349150550      12/16/2011       16:07:26
57331      7349253270      4/12/2012        18:21:14
57332      7349256313      9/20/2012        7:02:48
57333      7349454290      9/10/2012        7:33:43
57334      7349612170      2/7/2012         7:15:28
57335      7349615222      8/11/2011        9:23:07
57336      7349615816      3/28/2012        14:32:26
57337      7349718975      12/8/2011        11:51:57
57338      7349729285      10/20/2012       16:36:52
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57339      7349851017      6/11/2012        18:15:31
57340      7402025683      10/1/2011        10:31:38
57341      7402057665      11/17/2011       16:38:53
57342      7402070664      3/12/2012        19:05:26
57343      7402077344      1/30/2012        7:58:50
57344      7402132220      10/29/2011       10:14:57
57345      7402137890      7/26/2012        11:53:16
57346      7402150868      11/1/2011        8:33:03
57347      7402152111      12/28/2011       18:18:58
57348      7402167035      9/8/2011         19:38:55
57349      7402191647      10/8/2012        7:02:48
57350      7402192403      10/6/2011        16:19:08
57351      7402199552      6/25/2012        13:32:19
57352      7402210012      3/28/2012        18:21:54
57353      7402211998      6/29/2012        9:36:16
57354      7402217622      5/21/2012        17:22:03
57355      7402217622      7/18/2012        7:09:02
57356      7402224834      9/17/2011        9:28:44
57357      7402225580      11/7/2011        7:30:14
57358      7402235636      10/11/2012       18:31:41
57359      7402253222      9/19/2011        19:24:47
57360      7402255944      3/30/2012        16:07:31
57361      7402262345      2/9/2012         7:21:58
57362      7402376495      12/5/2011        9:51:52
57363      7402379089      3/29/2012        16:42:00
57364      7402380949      9/26/2011        8:50:48
57365      7402412818      5/16/2012        7:11:30
57366      7402432244      2/8/2012         7:34:50
57367      7402442238      2/3/2012         7:03:29
57368      7402495442      10/28/2011       14:09:45
57369      7402504000      6/19/2012        15:39:26
57370      7402504446      2/6/2012         7:16:27
57371      7402513244      10/18/2011       12:15:27
57372      7402529538      10/10/2011       12:26:58
57373      7402557717      8/25/2011        17:52:55
57374      7402602630      10/22/2012       7:02:52
57375      7402620192      9/21/2011        11:26:22
57376      7402620192      10/19/2011       7:58:42
57377      7402621300      9/24/2011        9:31:42
57378      7402625264      12/26/2011       9:23:26
57379      7402630342      9/17/2011        10:13:07
57380      7402630342      9/21/2011        11:50:15
57381      7402702852      11/8/2011        14:13:21
57382      7402721583      1/11/2012        7:31:56
57383      7402749661      8/23/2012        11:36:54
57384      7402758634      12/29/2011       9:59:22
57385      7402758634      1/5/2012         12:10:14
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57386      7402778398      10/14/2011       13:09:03
57387      7402796203      6/7/2012         15:13:04
57388      7402799470      9/21/2012        15:26:37
57389      7402814154      10/11/2012       18:35:47
57390      7402814186      2/17/2012        18:27:54
57391      7402817153      2/22/2012        7:00:46
57392      7402819720      1/11/2012        7:39:45
57393      7402819720      5/21/2012        7:24:03
57394      7402854935      10/29/2011       11:16:09
57395      7402855333      10/7/2011        17:28:02
57396      7402885751      3/18/2011        9:19:12
57397      7402948456      11/22/2011       19:50:01
57398      7402949317      7/21/2012        10:48:57
57399      7402964355      1/12/2012        14:27:38
57400      7402973502      1/2/2012         12:01:54
57401      7403102772      12/13/2011       17:00:17
57402      7403173353      5/6/2012         17:27:02
57403      7403176517      9/29/2011        15:42:00
57404      7403257565      7/19/2011        16:13:09
57405      7403345653      2/9/2012         7:04:46
57406      7403349285      9/27/2011        18:08:14
57407      7403349285      12/28/2011       13:28:49
57408      7403361619      4/18/2012        7:10:45
57409      7403368831      2/11/2012        10:54:02
57410      7403369329      12/4/2011        12:04:36
57411      7403381145      8/29/2012        10:58:00
57412      7403388774      5/18/2012        16:10:33
57413      7403390102      9/26/2011        8:44:49
57414      7403390102      10/14/2011       12:48:21
57415      7403393576      8/4/2012         7:59:41
57416      7403399932      11/21/2011       7:53:58
57417      7403399932      1/10/2012        18:07:37
57418      7403408538      8/14/2012        8:30:50
57419      7403410444      1/8/2014         7:02:29
57420      7403411831      10/5/2011        13:58:51
57421      7403414648      9/14/2012        7:07:59
57422      7403416171      3/16/2012        9:54:07
57423      7403502499      2/17/2012        9:08:18
57424      7403502499      3/3/2012         8:13:19
57425      7403502499      4/11/2012        10:42:29
57426      7403504777      2/6/2012         17:09:25
57427      7403522741      3/14/2012        19:42:23
57428      7403525387      6/14/2012        20:48:21
57429      7403571890      5/20/2012        15:35:47
57430      7403576767      11/21/2011       7:19:12
57431      7403579086      10/21/2011       12:35:15
57432      7403594469      7/13/2012        11:10:46
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57433      7403601642      5/17/2011        9:22:11
57434      7403602754      6/27/2011        7:21:09
57435      7403603873      7/11/2011        7:10:21
57436      7403610029      5/22/2012        11:42:34
57437      7403612802      9/20/2012        7:07:34
57438      7403632132      11/15/2011       15:11:22
57439      7403705545      12/20/2011       19:33:00
57440      7403708767      10/20/2012       8:09:07
57441      7403739311      12/20/2011       12:13:53
57442      7403815372      5/12/2012        10:33:23
57443      7403815653      6/12/2012        17:06:12
57444      7403956195      1/9/2012         7:09:46
57445      7403962025      7/13/2012        11:07:54
57446      7404037563      6/5/2012         19:52:45
57447      7404052984      9/17/2011        10:13:12
57448      7404077475      2/22/2012        7:01:03
57449      7404078475      8/30/2012        7:50:16
57450      7404078550      11/17/2011       16:17:31
57451      7404122054      7/21/2012        10:17:01
57452      7404122851      5/18/2012        15:56:36
57453      7404150147      11/4/2011        7:12:35
57454      7404155912      11/30/2011       15:04:14
57455      7404160158      3/10/2012        8:29:01
57456      7404160221      9/28/2012        16:39:23
57457      7404163624      2/11/2012        10:39:32
57458      7404165209      6/12/2012        10:27:40
57459      7404166887      9/28/2012        16:35:36
57460      7404167246      12/5/2011        8:15:48
57461      7404168825      10/5/2011        13:58:58
57462      7404170057      10/15/2011       10:20:16
57463      7404183549      8/18/2012        8:32:05
57464      7404188270      4/10/2012        11:47:36
57465      7404210124      9/9/2011         7:51:23
57466      7404242538      1/23/2012        7:16:28
57467      7404244737      8/31/2011        10:26:19
57468      7404343076      2/14/2012        9:37:09
57469      7404382072      9/29/2011        15:29:59
57470      7404385852      8/9/2012         13:57:25
57471      7404388960      9/19/2011        7:05:45
57472      7404417677      3/2/2012         18:39:55
57473      7404417794      3/12/2012        19:15:52
57474      7404417794      5/21/2012        7:25:40
57475      7404417794      8/20/2012        18:48:53
57476      7404441053      11/19/2011       8:36:12
57477      7404441384      5/13/2012        17:22:39
57478      7404443136      5/19/2012        9:37:31
57479      7404478022      10/11/2012       18:45:22
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57480      7404551184      3/7/2012         7:14:09
57481      7404551422      2/11/2012        15:05:05
57482      7404614390      9/21/2012        15:26:27
57483      7404614891      1/9/2012         7:06:42
57484      7404640177      10/10/2011       11:48:09
57485      7404640742      10/14/2011       13:19:06
57486      7404641254      3/27/2012        15:34:53
57487      7404641929      1/31/2012        7:27:32
57488      7404645004      8/16/2012        19:51:30
57489      7404649779      10/4/2011        13:51:45
57490      7404758288      5/6/2011         15:40:03
57491      7404790356      5/6/2011         15:48:18
57492      7404821367      9/23/2011        7:06:13
57493      7404911025      2/16/2012        7:15:47
57494      7404918578      6/16/2012        15:25:23
57495      7404971126      4/15/2012        15:14:25
57496      7404975659      12/9/2011        7:34:52
57497      7405010603      7/26/2012        19:17:32
57498      7405023901      12/26/2011       9:15:33
57499      7405027386      9/13/2011        13:47:56
57500      7405038418      3/22/2012        14:15:22
57501      7405045086      2/14/2012        9:44:16
57502      7405062001      1/13/2012        17:36:22
57503      7405063202      9/13/2011        17:47:32
57504      7405073106      1/3/2012         10:59:27
57505      7405073887      10/22/2012       17:47:56
57506      7405078330      6/1/2011         12:08:27
57507      7405080109      9/30/2011        9:54:51
57508      7405091147      9/14/2012        7:02:12
57509      7405092775      5/9/2012         7:36:23
57510      7405092786      10/11/2012       12:00:10
57511      7405093439      7/27/2012        15:20:41
57512      7405138588      9/13/2011        15:29:42
57513      7405139516      4/25/2011        11:46:39
57514      7405163002      10/28/2011       13:23:16
57515      7405174228      4/15/2012        16:57:11
57516      7405250164      9/24/2011        9:02:48
57517      7405250164      10/26/2011       11:54:13
57518      7405251879      10/5/2012        12:16:58
57519      7405256582      12/19/2011       7:34:23
57520      7405337259      12/31/2011       11:56:50
57521      7405411305      10/27/2011       15:18:31
57522      7405411305      11/17/2011       15:14:10
57523      7405476811      9/28/2012        16:42:42
57524      7405688609      1/18/2012        10:05:13
57525      7405688609      4/26/2012        8:13:16
57526      7405720001      9/9/2011         7:31:06
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57527      7405723105      4/23/2012        8:09:26
57528      7405723473      9/8/2011         19:38:58
57529      7405771436      2/14/2012        15:09:50
57530      7405772187      8/29/2012        11:16:28
57531      7405772380      12/18/2011       16:50:40
57532      7405812375      8/30/2012        7:50:03
57533      7405841975      10/22/2011       12:22:56
57534      7405842909      10/11/2012       11:58:37
57535      7405862258      11/30/2011       7:20:33
57536      7405867441      1/30/2012        7:17:52
57537      7405880232      11/17/2011       16:38:04
57538      7405903113      12/21/2011       10:13:05
57539      7405904355      3/19/2012        17:39:13
57540      7405905241      11/28/2011       11:56:05
57541      7405910924      11/18/2011       13:29:51
57542      7405960845      11/12/2011       9:27:05
57543      7406021497      8/6/2012         16:22:30
57544      7406023005      5/30/2012        12:50:59
57545      7406033990      3/21/2012        7:11:38
57546      7406035037      2/17/2012        18:10:42
57547      7406035470      8/15/2012        7:49:01
57548      7406035470      9/18/2012        14:14:24
57549      7406038582      11/11/2011       7:46:54
57550      7406041977      4/21/2012        8:26:50
57551      7406058852      7/16/2012        7:10:22
57552      7406065385      8/6/2012         11:43:47
57553      7406065801      12/9/2011        14:10:41
57554      7406065918      1/13/2012        7:16:03
57555      7406104465      6/27/2012        18:04:12
57556      7406107322      5/2/2012         13:12:20
57557      7406122280      3/3/2012         8:51:51
57558      7406230719      9/19/2011        19:26:16
57559      7406243535      10/11/2011       17:01:09
57560      7406243535      5/21/2012        7:21:56
57561      7406306694      11/7/2011        7:37:43
57562      7406324436      1/25/2012        9:12:47
57563      7406324562      6/1/2012         8:57:42
57564      7406325730      9/29/2012        9:43:19
57565      7406328487      2/24/2012        17:12:08
57566      7406370222      8/3/2012         16:30:02
57567      7406414420      7/2/2012         15:01:00
57568      7406414420      7/17/2012        7:10:26
57569      7406414420      8/30/2012        17:45:29
57570      7406444182      3/28/2012        10:38:32
57571      7406447074      7/20/2011        13:36:02
57572      7406450951      10/26/2011       12:57:25
57573      7406451578      2/24/2011        11:09:49
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57574      7406452980      10/18/2011       12:13:22
57575      7406454687      2/28/2012        13:25:18
57576      7406454719      11/15/2011       15:24:47
57577      7406454887      9/29/2011        15:03:04
57578      7406458430      5/10/2012        13:15:24
57579      7406459133      2/6/2012         7:26:06
57580      7406459255      10/12/2011       7:26:00
57581      7406459255      11/14/2011       16:03:02
57582      7406459878      4/10/2012        16:10:37
57583      7406469713      2/20/2012        7:14:40
57584      7406485341      3/26/2012        18:39:00
57585      7406489634      1/29/2012        16:21:06
57586      7406489634      3/2/2012         18:41:09
57587      7406490181      1/14/2012        8:18:36
57588      7406495051      10/5/2012        12:15:06
57589      7406499426      11/23/2011       9:16:32
57590      7406564027      6/27/2012        12:16:20
57591      7406735803      6/28/2012        14:26:11
57592      7406782816      8/18/2011        8:23:05
57593      7406782816      9/20/2011        17:14:11
57594      7406800505      5/17/2012        7:07:04
57595      7406801628      9/17/2012        7:34:54
57596      7406802682      7/2/2012         15:09:53
57597      7406803214      5/19/2012        9:24:39
57598      7406835018      9/20/2011        17:24:13
57599      7406842086      8/11/2011        9:01:29
57600      7406889766      10/13/2011       7:23:46
57601      7406943190      4/17/2012        9:22:42
57602      7407010819      4/12/2012        18:03:59
57603      7407014902      6/21/2012        10:14:26
57604      7407018217      10/29/2011       10:19:10
57605      7407019436      10/3/2011        7:26:59
57606      7407030172      6/6/2012         7:13:24
57607      7407031643      9/28/2012        14:20:27
57608      7407037009      11/7/2011        7:40:12
57609      7407040130      9/19/2011        19:27:59
57610      7407040564      2/13/2012        7:23:48
57611      7407040564      5/21/2012        7:25:01
57612      7407042922      10/7/2011        7:22:47
57613      7407046837      10/17/2012       9:42:13
57614      7407047171      9/13/2011        7:05:16
57615      7407047655      9/10/2011        8:30:32
57616      7407051448      5/19/2012        16:05:45
57617      7407061877      12/20/2011       19:30:26
57618      7407062124      11/19/2011       8:35:24
57619      7407071264      9/27/2012        7:36:09
57620      7407073508      9/13/2012        7:38:01
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57621      7407100428      12/20/2011       19:33:03
57622      7407103477      5/10/2012        14:54:28
57623      7407254171      6/27/2012        17:50:32
57624      7407274651      10/25/2011       15:10:57
57625      7407275178      1/14/2012        8:13:06
57626      7407275179      10/5/2011        14:30:06
57627      7407279586      5/23/2012        14:58:44
57628      7407391744      12/20/2011       19:38:19
57629      7407391744      12/27/2011       14:22:11
57630      7407397204      9/17/2011        9:53:51
57631      7407455826      3/13/2012        18:29:48
57632      7407514620      1/10/2012        18:11:38
57633      7407515085      8/22/2012        11:10:59
57634      7407517096      6/18/2011        15:14:27
57635      7407517314      10/18/2012       16:43:29
57636      7407777648      7/27/2012        15:28:46
57637      7407920360      10/29/2011       10:26:51
57638      7407940750      9/21/2012        18:51:28
57639      7408021732      6/14/2012        16:02:25
57640      7408030445      11/17/2011       16:44:20
57641      7408033461      3/28/2012        7:28:23
57642      7408048471      10/14/2011       13:17:02
57643      7408083653      10/19/2011       7:52:40
57644      7408086587      1/9/2012         7:22:18
57645      7408150778      11/3/2011        17:37:34
57646      7408150778      1/5/2012         13:58:43
57647      7408162579      6/21/2012        18:19:14
57648      7408166358      4/6/2012         15:48:33
57649      7408168841      8/8/2012         16:10:47
57650      7408173316      4/3/2012         10:10:45
57651      7408190226      12/7/2011        13:34:18
57652      7408211188      12/10/2011       14:23:22
57653      7408211472      9/13/2011        17:27:47
57654      7408212299      9/28/2011        10:19:51
57655      7408214078      12/15/2011       8:16:53
57656      7408214718      4/4/2012         18:57:14
57657      7408232662      9/1/2012         8:46:21
57658      7408245679      1/28/2012        8:27:50
57659      7408245679      6/9/2012         14:40:03
57660      7408271037      9/24/2011        9:41:46
57661      7408272504      8/31/2012        16:35:39
57662      7408273508      4/12/2012        17:55:10
57663      7408275585      5/16/2012        17:03:23
57664      7408278280      12/24/2011       7:04:00
57665      7408278280      1/17/2012        7:10:00
57666      7408278280      5/28/2012        8:18:02
57667      7408279069      11/23/2011       9:12:45
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57668      7408279069      12/18/2011       16:53:07
57669      7408351719      8/11/2012        9:36:03
57670      7408370149      1/20/2012        14:26:59
57671      7408525271      10/8/2011        11:01:25
57672      7408531007      9/27/2012        16:27:13
57673      7408560918      10/14/2011       13:15:12
57674      7408565122      9/21/2012        15:33:01
57675      7408565199      12/29/2011       11:04:12
57676      7408587643      10/3/2012        19:53:52
57677      7408588374      8/20/2012        18:48:58
57678      7408588750      4/2/2012         17:30:47
57679      7408588969      4/15/2012        15:14:43
57680      7408623344      6/16/2012        7:47:46
57681      7408676308      3/6/2012         15:55:10
57682      7408762482      3/16/2012        16:01:00
57683      7408762792      2/20/2012        7:20:27
57684      7408762792      3/5/2012         7:52:14
57685      7408762792      5/21/2012        7:04:24
57686      7408778231      10/19/2012       13:26:15
57687      7408910435      10/11/2011       16:01:08
57688      7408910435      10/17/2011       11:23:32
57689      7409611645      9/21/2011        11:45:48
57690      7409615846      10/22/2011       13:07:06
57691      7409617082      9/28/2011        10:05:42
57692      7409619620      10/25/2012       19:24:35
57693      7409619638      6/12/2012        17:11:34
57694      7409619926      10/12/2011       12:00:07
57695      7409619926      10/21/2011       12:37:28
57696      7409701059      11/28/2011       11:55:46
57697      7409732624      10/18/2011       12:02:05
57698      7409733755      5/4/2012         14:24:46
57699      7409739907      1/16/2012        17:10:15
57700      7409748302      10/17/2011       7:41:01
57701      7409749302      7/9/2011         8:27:48
57702      7409750434      3/19/2012        7:18:05
57703      7409750434      6/26/2012        8:00:35
57704      7409815906      12/7/2011        14:38:34
57705      7409880132      9/19/2011        19:12:05
57706      7409880283      3/13/2012        18:35:18
57707      7542041130      11/5/2011        9:25:00
57708      7542041139      9/19/2011        19:06:32
57709      7542042452      9/20/2011        17:14:32
57710      7542042823      5/29/2012        7:09:35
57711      7542042823      6/8/2012         17:00:09
57712      7542042823      8/28/2012        7:29:31
57713      7542042919      6/16/2012        15:24:58
57714      7542044883      9/22/2011        15:45:19
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57715      7542045489      9/23/2011        18:39:20
57716      7542046172      12/6/2011        7:44:45
57717      7542047688      3/23/2012        11:04:20
57718      7542047901      9/21/2012        18:44:18
57719      7542140332      9/22/2011        15:56:15
57720      7542140332      10/3/2011        7:45:17
57721      7542140332      10/11/2011       16:01:30
57722      7542141244      9/30/2011        9:59:35
57723      7542142719      1/24/2012        17:14:14
57724      7542143308      11/22/2011       19:02:31
57725      7542143728      10/5/2011        14:31:14
57726      7542144463      1/9/2012         18:32:14
57727      7542145588      12/10/2011       12:05:21
57728      7542145855      3/14/2011        16:54:19
57729      7542149530      5/11/2012        7:05:22
57730      7542149937      9/24/2011        9:37:06
57731      7542149937      10/13/2011       7:13:48
57732      7542149937      3/8/2012         7:06:48
57733      7542240382      3/2/2012         18:57:48
57734      7542340653      10/3/2011        7:16:09
57735      7542341033      11/12/2011       10:11:25
57736      7542341033      12/18/2011       17:05:01
57737      7542342850      5/14/2012        15:32:16
57738      7542343564      4/10/2012        11:49:25
57739      7542347276      7/21/2012        10:17:58
57740      7542347285      5/5/2011         13:15:46
57741      7542347465      3/25/2012        11:42:59
57742      7542348174      6/26/2012        7:56:30
57743      7542349382      12/17/2011       12:06:38
57744      7542351265      10/19/2011       7:25:20
57745      7542352942      9/13/2011        7:16:02
57746      7542353645      10/19/2012       9:55:19
57747      7542353947      10/3/2012        7:02:53
57748      7542355180      10/20/2011       15:24:00
57749      7542358233      2/29/2012        7:03:48
57750      7542358233      4/4/2012         7:08:47
57751      7542358233      7/7/2012         10:11:54
57752      7542359694      10/18/2012       7:07:33
57753      7542423599      10/21/2011       12:23:17
57754      7542440290      2/2/2012         7:09:13
57755      7542440331      3/29/2012        18:52:49
57756      7542440351      9/23/2011        7:07:50
57757      7542440351      10/17/2011       7:22:00
57758      7542440598      10/8/2011        10:47:21
57759      7542441024      5/11/2012        18:30:26
57760      7542443125      11/3/2011        17:06:25
57761      7542444197      11/25/2011       18:08:06
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57762      7542444447      10/4/2011        13:11:00
57763      7542444827      10/11/2011       16:53:57
57764      7542444997      5/18/2012        11:56:00
57765      7542445601      2/21/2012        9:37:15
57766      7542445913      10/29/2011       10:36:17
57767      7542446818      9/19/2012        7:59:50
57768      7542446837      3/26/2012        7:04:01
57769      7542446837      5/21/2012        7:30:10
57770      7542448894      11/22/2011       19:22:40
57771      7542450137      3/31/2012        8:23:30
57772      7542450476      9/8/2011         18:37:03
57773      7542450550      5/31/2012        7:07:29
57774      7542450999      10/8/2011        9:30:35
57775      7542451224      9/15/2011        7:10:16
57776      7542451780      1/5/2012         13:56:16
57777      7542455436      9/14/2011        9:29:10
57778      7542457154      9/1/2012         8:50:09
57779      7542461661      7/11/2012        9:36:15
57780      7542463333      9/16/2011        14:25:27
57781      7542464035      9/8/2011         19:27:25
57782      7542464998      1/4/2012         12:28:24
57783      7542465250      12/29/2011       14:16:03
57784      7542465974      8/1/2011         19:12:24
57785      7542467607      4/18/2012        7:09:32
57786      7542643393      3/14/2012        7:08:42
57787      7542643393      8/2/2012         18:49:20
57788      7542731092      5/21/2012        7:30:05
57789      7542731696      3/28/2012        18:09:19
57790      7542731696      4/28/2012        8:18:02
57791      7542732181      3/15/2012        19:02:16
57792      7542818923      9/22/2011        15:46:21
57793      7542819090      8/13/2011        9:56:14
57794      7543662672      4/15/2012        19:57:42
57795      7543662802      3/7/2012         18:28:58
57796      7543668422      10/5/2012        18:31:37
57797      7543671458      12/9/2011        7:36:21
57798      7543671458      1/11/2012        16:26:36
57799      7543680030      3/15/2012        19:23:14
57800      7543680441      5/11/2012        18:30:24
57801      7543681035      10/10/2011       11:38:43
57802      7543681068      11/21/2011       7:13:26
57803      7543682621      3/12/2012        19:14:55
57804      7543682954      12/6/2011        14:24:43
57805      7543688181      10/11/2012       18:31:19
57806      7544220857      9/20/2011        16:43:46
57807      7544222001      12/10/2011       13:31:25
57808      7544222196      12/5/2011        8:59:16
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57809      7544222370      9/29/2011        15:36:10
57810      7544222813      10/18/2012       16:48:25
57811      7544223078      3/28/2012        18:21:31
57812      7544230115      12/2/2011        15:21:57
57813      7544230903      12/21/2011       19:06:41
57814      7544232046      10/10/2011       11:36:14
57815      7544232311      2/28/2012        13:26:01
57816      7544232782      4/7/2012         9:04:37
57817      7544232782      10/20/2012       16:25:26
57818      7544233714      3/14/2012        14:28:17
57819      7544234131      1/20/2012        19:34:38
57820      7544234402      2/20/2012        7:21:15
57821      7544234402      3/13/2012        18:38:45
57822      7544237800      9/13/2012        7:40:53
57823      7545813612      11/26/2011       12:51:32
57824      7547790803      9/22/2012        9:35:10
57825      7547794652      3/16/2012        9:54:16
57826      7572010597      5/17/2012        7:06:50
57827      7572012833      9/10/2011        12:47:39
57828      7572012879      9/1/2012         9:07:02
57829      7572014645      12/27/2011       13:51:02
57830      7572022026      3/21/2012        7:03:50
57831      7572022102      9/14/2011        16:20:56
57832      7572029774      10/18/2012       16:48:28
57833      7572143886      9/12/2012        15:00:48
57834      7572147479      7/5/2012         15:31:47
57835      7572148487      9/22/2011        15:02:55
57836      7572158280      9/29/2011        15:45:13
57837      7572182859      9/23/2011        18:42:51
57838      7572187992      12/16/2011       16:12:33
57839      7572188283      2/15/2012        8:03:55
57840      7572189857      1/23/2012        7:09:58
57841      7572270791      6/23/2012        16:12:17
57842      7572270913      12/1/2011        8:00:13
57843      7572277079      11/1/2011        8:20:32
57844      7572278627      9/8/2011         17:57:23
57845      7572278646      2/22/2012        7:06:56
57846      7572278988      2/2/2012         18:56:41
57847      7572280825      6/8/2012         16:58:33
57848      7572286143      6/21/2012        10:11:22
57849      7572286306      3/23/2012        19:11:24
57850      7572286938      11/25/2011       17:29:50
57851      7572288210      6/7/2012         14:41:39
57852      7572289642      7/6/2012         16:50:10
57853      7572324401      1/6/2012         14:46:20
57854      7572351274      3/7/2012         18:38:31
57855      7572352665      1/26/2012        10:14:55
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57856      7572352921      10/5/2011        14:34:48
57857      7572353075      12/23/2011       14:30:24
57858      7572353075      5/6/2012         17:28:29
57859      7572353381      9/27/2011        18:06:42
57860      7572353381      3/15/2012        7:20:00
57861      7572355397      2/1/2012         8:05:58
57862      7572356738      5/29/2012        17:10:09
57863      7572357058      7/28/2011        10:26:15
57864      7572358860      5/2/2012         13:33:35
57865      7572359547      4/21/2012        8:19:27
57866      7572360033      8/25/2012        11:05:04
57867      7572361041      8/20/2011        9:42:08
57868      7572362454      2/16/2012        7:18:01
57869      7572362561      5/15/2012        7:43:48
57870      7572367721      4/21/2012        8:36:13
57871      7572370406      9/12/2011        13:49:11
57872      7572372343      7/27/2012        12:34:29
57873      7572373373      10/10/2012       19:20:03
57874      7572374635      12/29/2011       10:00:18
57875      7572374671      10/5/2011        10:41:42
57876      7572374956      2/14/2012        16:37:07
57877      7572401666      7/16/2012        7:02:41
57878      7572401684      12/7/2011        13:34:31
57879      7572403589      9/8/2012         11:06:04
57880      7572403626      10/6/2012        8:43:54
57881      7572407033      3/20/2012        17:36:17
57882      7572407033      4/1/2012         16:28:03
57883      7572549822      10/8/2011        10:43:28
57884      7572567062      4/12/2012        18:14:38
57885      7572568640      12/19/2011       8:10:52
57886      7572638813      1/8/2012         12:50:58
57887      7572685085      8/18/2011        8:26:09
57888      7572685945      11/17/2011       16:23:48
57889      7572700855      4/11/2012        19:36:30
57890      7572703232      11/23/2011       10:50:36
57891      7572704762      2/20/2012        7:09:18
57892      7572705988      7/7/2012         10:16:33
57893      7572709617      3/29/2012        16:39:07
57894      7572722924      4/3/2012         16:09:42
57895      7572732192      2/11/2012        15:24:40
57896      7572735214      10/3/2011        7:26:38
57897      7572735214      3/27/2012        14:59:43
57898      7572748851      11/25/2011       17:38:48
57899      7572749709      8/18/2012        8:37:04
57900      7572754412      3/29/2012        16:28:51
57901      7572754617      9/21/2012        18:40:37
57902      7572772794      12/3/2011        9:55:31
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57903      7572775301      8/8/2011         15:00:01
57904      7572776875      2/20/2012        16:50:59
57905      7572778176      8/13/2012        7:32:40
57906      7572842519      1/29/2012        16:27:43
57907      7572852609      9/28/2012        7:33:54
57908      7572863016      5/23/2012        16:55:27
57909      7572874849      1/11/2012        7:28:11
57910      7572884134      10/12/2011       7:18:15
57911      7572888720      5/30/2012        12:36:38
57912      7572888783      10/12/2011       11:37:11
57913      7572893897      2/6/2012         7:22:59
57914      7572896158      7/20/2011        13:25:27
57915      7572896644      1/3/2012         19:43:00
57916      7572896644      1/17/2012        18:34:13
57917      7572896871      2/20/2012        7:14:22
57918      7572897434      6/12/2012        17:05:43
57919      7572898631      9/18/2012        14:16:56
57920      7572898631      9/27/2012        16:28:56
57921      7572898673      11/30/2011       8:07:46
57922      7572914875      1/29/2012        16:37:26
57923      7572921762      3/7/2012         7:14:34
57924      7572926143      5/11/2012        7:26:36
57925      7572926965      11/19/2011       8:46:26
57926      7572951166      3/22/2012        7:56:39
57927      7572956198      10/19/2011       7:45:03
57928      7573034424      12/19/2011       7:36:04
57929      7573034424      5/21/2012        7:02:40
57930      7573041075      11/1/2011        8:30:11
57931      7573041774      8/18/2012        8:58:43
57932      7573050110      3/21/2012        13:47:27
57933      7573050740      4/25/2012        18:36:27
57934      7573052437      1/18/2012        10:27:14
57935      7573056121      2/29/2012        7:17:40
57936      7573097707      2/3/2012         7:14:32
57937      7573098577      1/12/2012        14:11:01
57938      7573107870      10/12/2011       11:46:12
57939      7573108330      11/26/2011       11:34:51
57940      7573180087      8/3/2012         16:23:00
57941      7573191762      8/22/2012        11:16:24
57942      7573220528      3/10/2011        15:28:29
57943      7573232916      11/28/2011       17:40:04
57944      7573255655      9/14/2011        11:52:37
57945      7573275219      10/19/2011       7:44:11
57946      7573278858      10/15/2011       9:33:19
57947      7573281770      4/5/2012         7:13:25
57948      7573284728      10/21/2011       13:16:43
57949      7573285889      10/4/2011        13:44:51
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57950      7573310785      10/10/2011       12:21:00
57951      7573340562      3/8/2012         7:03:58
57952      7573341571      10/7/2011        7:24:54
57953      7573381961      6/20/2012        7:47:51
57954      7573381974      8/31/2012        16:34:09
57955      7573382808      8/8/2012         7:04:25
57956      7573384098      8/29/2012        11:06:28
57957      7573384235      9/28/2011        11:03:38
57958      7573384235      9/30/2011        10:16:55
57959      7573384820      4/7/2012         9:19:58
57960      7573385963      12/23/2011       15:44:32
57961      7573388269      4/28/2012        8:38:51
57962      7573391340      10/8/2011        11:17:21
57963      7573392241      5/22/2012        18:34:08
57964      7573395390      3/19/2012        7:26:13
57965      7573395390      9/2/2012         11:53:22
57966      7573395906      9/26/2012        7:07:09
57967      7573397924      2/28/2012        16:11:11
57968      7573398464      10/10/2012       19:11:45
57969      7573398764      7/30/2012        13:14:32
57970      7573399444      10/8/2011        9:26:55
57971      7573424693      10/12/2011       7:55:57
57972      7573428715      3/26/2012        18:19:06
57973      7573428715      3/30/2012        7:07:30
57974      7573430504      3/1/2012         8:41:41
57975      7573439964      12/29/2011       19:26:19
57976      7573447104      12/17/2011       12:15:16
57977      7573447898      4/4/2012         18:41:42
57978      7573519213      12/21/2011       10:34:10
57979      7573527079      4/14/2012        9:20:19
57980      7573530844      10/4/2011        13:39:41
57981      7573539379      10/1/2011        9:46:37
57982      7573548658      10/3/2011        7:07:40
57983      7573548658      10/10/2011       12:17:09
57984      7573549860      2/2/2012         18:47:02
57985      7573551282      4/16/2012        15:46:02
57986      7573551282      5/11/2012        18:31:59
57987      7573551627      10/20/2012       16:21:39
57988      7573553349      5/2/2012         13:35:39
57989      7573591595      3/16/2012        10:23:33
57990      7573596549      1/21/2012        8:17:36
57991      7573621965      4/27/2012        7:11:51
57992      7573626615      10/11/2011       15:49:50
57993      7573720869      9/14/2013        15:31:44
57994      7573722423      11/28/2011       11:12:54
57995      7573722423      12/9/2011        13:32:57
57996      7573722423      3/30/2012        16:15:01
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57997      7573727275      10/25/2011       15:10:51
57998      7573730246      7/13/2012        16:53:09
57999      7573742834      5/2/2012         21:04:13
58000      7573743319      9/27/2011        15:19:18
58001      7573743319      11/8/2011        14:49:23
58002      7573746683      9/9/2011         7:46:42
58003      7573748517      1/8/2012         12:55:56
58004      7573749538      12/7/2011        13:58:07
58005      7573750576      3/15/2012        19:05:35
58006      7573763181      9/22/2011        15:13:37
58007      7573764343      12/3/2011        9:11:58
58008      7573764349      10/10/2011       12:42:51
58009      7573831627      3/21/2012        13:47:32
58010      7573870111      6/5/2012         7:12:20
58011      7573870238      8/3/2012         7:50:49
58012      7573892186      1/12/2012        14:01:50
58013      7573892384      11/29/2011       15:30:15
58014      7573893388      10/10/2012       12:55:53
58015      7573896439      8/11/2013        13:37:33
58016      7573905672      6/5/2012         7:05:42
58017      7573950719      8/17/2012        7:10:06
58018      7573976337      11/10/2011       17:23:16
58019      7574010036      11/9/2011        7:46:46
58020      7574012140      10/1/2012        13:41:06
58021      7574017616      11/21/2011       7:30:22
58022      7574018386      3/7/2012         18:38:48
58023      7574034303      9/9/2011         7:28:08
58024      7574058575      8/29/2012        11:00:37
58025      7574060647      12/3/2011        9:59:54
58026      7574080212      8/1/2011         19:14:41
58027      7574080979      10/25/2011       16:49:59
58028      7574081310      12/9/2011        7:44:38
58029      7574125556      9/24/2012        18:58:53
58030      7574164966      3/7/2012         18:36:57
58031      7574340216      12/8/2011        12:31:54
58032      7574350049      9/9/2011         7:43:25
58033      7574356516      9/10/2011        8:12:53
58034      7574394882      9/13/2012        7:43:46
58035      7574394882      9/21/2012        18:51:54
58036      7574398017      9/21/2011        11:45:38
58037      7574490491      4/14/2012        8:52:27
58038      7574497650      1/18/2012        16:36:42
58039      7574498225      3/10/2012        8:23:35
58040      7574501367      9/8/2011         17:52:11
58041      7574690929      7/9/2011         8:05:39
58042      7574695161      5/4/2012         18:17:26
58043      7574696452      10/4/2011        13:04:59
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58044      7574700716      9/8/2011         19:43:49
58045      7574704108      7/21/2012        10:41:08
58046      7574706397      11/22/2011       18:31:44
58047      7574708727      12/7/2011        15:07:16
58048      7574721538      10/11/2011       16:10:59
58049      7574727875      1/4/2012         12:38:23
58050      7574785603      10/24/2012       14:46:19
58051      7575023977      1/9/2012         18:28:06
58052      7575083121      3/29/2012        17:22:15
58053      7575083604      6/27/2011        7:18:58
58054      7575084672      8/23/2012        19:05:25
58055      7575102447      6/28/2012        14:13:19
58056      7575132663      11/27/2011       15:27:56
58057      7575134745      3/6/2012         17:00:48
58058      7575134846      9/8/2011         19:45:19
58059      7575136011      11/18/2011       12:46:23
58060      7575137003      12/6/2011        7:34:47
58061      7575139300      9/21/2012        16:07:43
58062      7575139924      7/31/2012        7:08:06
58063      7575154749      4/11/2012        13:18:14
58064      7575175174      1/19/2012        18:33:34
58065      7575250137      3/2/2012         7:08:54
58066      7575255703      3/27/2012        7:12:16
58067      7575256632      9/27/2011        15:17:58
58068      7575280268      11/2/2011        7:05:13
58069      7575280407      10/14/2011       12:39:24
58070      7575283608      10/24/2011       7:07:07
58071      7575316601      2/4/2012         8:29:11
58072      7575316601      3/7/2012         7:17:29
58073      7575324474      12/22/2011       9:29:57
58074      7575356566      11/29/2011       7:39:29
58075      7575356633      12/23/2011       14:27:19
58076      7575362336      11/10/2011       7:13:16
58077      7575370328      8/28/2012        7:25:22
58078      7575371539      11/11/2011       7:49:21
58079      7575375347      9/1/2012         9:21:53
58080      7575376655      9/29/2012        10:12:44
58081      7575464596      9/22/2011        15:06:17
58082      7575464596      9/27/2011        18:22:57
58083      7575532094      1/8/2012         13:00:50
58084      7575532127      12/7/2011        18:18:47
58085      7575560586      4/12/2012        17:54:38
58086      7575561827      3/7/2012         18:40:29
58087      7575562327      10/6/2011        17:34:00
58088      7575562511      1/3/2012         11:15:28
58089      7575562511      1/18/2012        16:38:04
58090      7575567849      11/22/2011       18:38:25
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58091      7575600550      5/10/2012        14:44:37
58092      7575607147      11/21/2011       7:09:40
58093      7575607147      4/5/2012         15:52:08
58094      7575720833      12/9/2011        15:31:00
58095      7575725390      10/18/2012       7:02:38
58096      7575742279      8/2/2012         18:54:11
58097      7575742874      1/16/2012        17:12:01
58098      7575750236      11/25/2011       18:09:46
58099      7575756604      12/3/2011        9:03:11
58100      7575762565      9/26/2012        7:13:04
58101      7575767487      3/21/2012        7:11:39
58102      7575772150      3/1/2012         8:42:18
58103      7575800110      11/20/2011       11:04:45
58104      7575813814      4/2/2012         17:30:06
58105      7575814507      12/18/2011       16:46:08
58106      7575816733      6/1/2012         9:15:37
58107      7575820470      9/10/2011        8:54:17
58108      7575827665      8/9/2011         12:31:45
58109      7575828607      10/19/2011       8:19:02
58110      7575828843      11/16/2011       8:40:31
58111      7575891184      10/7/2011        17:33:48
58112      7575892915      2/20/2012        17:01:00
58113      7575898472      8/14/2012        11:39:23
58114      7575934743      3/26/2012        7:29:24
58115      7575945326      9/17/2012        7:35:42
58116      7575971435      9/4/2012         15:36:45
58117      7575975346      2/28/2012        15:49:52
58118      7575976665      11/26/2011       12:38:22
58119      7575978799      10/22/2011       13:12:50
58120      7576042104      11/12/2011       9:17:17
58121      7576043243      2/17/2012        18:28:49
58122      7576058436      6/13/2012        7:08:48
58123      7576088683      9/21/2011        19:32:31
58124      7576097118      5/26/2012        8:33:10
58125      7576130815      11/12/2011       9:45:49
58126      7576134182      9/20/2011        18:04:26
58127      7576134323      9/21/2012        19:02:05
58128      7576173962      10/4/2011        13:08:58
58129      7576177431      11/28/2011       11:18:08
58130      7576191484      10/20/2012       8:10:34
58131      7576193196      10/27/2011       16:25:02
58132      7576193196      11/18/2011       12:42:52
58133      7576193703      10/25/2011       16:48:38
58134      7576203613      10/26/2011       11:55:31
58135      7576204716      8/3/2011         12:18:30
58136      7576205951      2/26/2012        13:23:04
58137      7576209777      10/6/2011        17:20:12
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58138      7576214444      10/15/2011       10:14:14
58139      7576215632      8/31/2011        10:39:36
58140      7576300635      3/24/2012        9:49:19
58141      7576309544      11/12/2011       10:13:50
58142      7576339600      7/12/2012        19:48:35
58143      7576352571      9/19/2011        19:06:38
58144      7576362109      12/23/2011       15:23:27
58145      7576365677      11/16/2011       9:55:09
58146      7576368719      10/7/2011        7:20:32
58147      7576378816      12/20/2011       17:11:19
58148      7576397751      1/5/2012         14:07:48
58149      7576397751      1/20/2012        11:34:24
58150      7576397751      5/8/2012         12:42:45
58151      7576398356      1/30/2012        7:08:01
58152      7576410387      8/15/2012        7:56:58
58153      7576421459      1/18/2012        9:51:25
58154      7576428041      10/22/2012       7:10:38
58155      7576456450      12/12/2011       12:08:09
58156      7576457243      7/3/2012         7:13:26
58157      7576471834      2/13/2012        7:26:14
58158      7576478764      1/6/2012         14:32:16
58159      7576489426      4/29/2012        18:14:42
58160      7576501232      10/13/2011       7:23:40
58161      7576505189      1/27/2012        17:33:51
58162      7576517674      6/20/2012        7:50:27
58163      7576531191      12/17/2011       11:21:49
58164      7576536308      7/27/2012        15:29:34
58165      7576602107      10/7/2011        7:14:30
58166      7576602830      8/2/2012         18:49:55
58167      7576607659      9/24/2012        13:00:19
58168      7576608313      2/3/2012         7:07:32
58169      7576609559      11/4/2011        7:25:19
58170      7576633549      7/30/2012        13:29:57
58171      7576638385      11/5/2011        11:05:46
58172      7576721866      5/1/2012         17:25:01
58173      7576724767      2/14/2012        16:36:30
58174      7576726470      8/16/2012        19:52:21
58175      7576726580      1/16/2012        17:12:16
58176      7576750601      9/20/2011        16:36:30
58177      7576762130      10/23/2012       16:04:23
58178      7576762416      11/26/2011       12:58:59
58179      7576767720      10/20/2011       15:23:34
58180      7576791488      9/8/2011         19:42:04
58181      7576795585      10/17/2012       18:34:28
58182      7576815708      1/21/2012        8:11:27
58183      7576855262      3/10/2011        17:24:45
58184      7576922193      4/6/2012         16:09:21
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58185      7576928272      12/20/2011       17:28:26
58186      7576947014      12/21/2011       18:43:26
58187      7576947063      7/16/2012        19:35:18
58188      7576960015      9/19/2011        7:11:05
58189      7576960015      9/27/2011        18:29:18
58190      7576961388      9/24/2011        9:11:19
58191      7576966166      2/1/2012         18:27:56
58192      7577052872      6/21/2012        10:00:01
58193      7577055323      3/14/2012        7:04:43
58194      7577091591      7/22/2012        15:57:02
58195      7577091591      7/28/2012        8:43:10
58196      7577091756      12/24/2011       7:17:58
58197      7577092107      11/23/2011       10:21:32
58198      7577092365      10/22/2012       7:10:41
58199      7577093080      9/27/2012        16:24:25
58200      7577098292      5/21/2012        7:24:28
58201      7577101956      9/17/2012        7:47:37
58202      7577102350      9/15/2011        7:15:21
58203      7577102350      10/6/2011        17:16:19
58204      7577106247      1/5/2012         13:58:12
58205      7577108054      5/21/2012        17:26:40
58206      7577131039      10/18/2011       7:12:51
58207      7577138515      7/23/2011        13:54:53
58208      7577144192      9/20/2011        15:05:26
58209      7577145817      1/10/2012        18:08:25
58210      7577148527      10/21/2011       14:36:18
58211      7577149575      10/3/2012        19:50:19
58212      7577170208      4/10/2012        11:50:42
58213      7577179931      3/1/2012         8:48:02
58214      7577180745      4/26/2011        19:53:09
58215      7577181360      7/14/2011        16:01:57
58216      7577183710      10/17/2011       7:17:00
58217      7577184457      2/1/2012         8:26:43
58218      7577193719      12/1/2011        14:49:23
58219      7577194433      5/4/2012         14:25:39
58220      7577196022      9/20/2011        16:44:21
58221      7577196022      10/5/2011        14:38:15
58222      7577196022      10/15/2011       9:45:12
58223      7577241551      2/28/2012        13:26:33
58224      7577244463      4/3/2012         16:09:35
58225      7577244463      5/21/2012        7:05:37
58226      7577246086      10/17/2011       7:53:32
58227      7577250329      9/23/2011        7:02:33
58228      7577273891      9/21/2011        11:41:42
58229      7577290383      3/15/2012        19:02:49
58230      7577291004      9/21/2011        19:32:07
58231      7577297200      9/14/2011        14:46:33
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58232      7577351468      3/13/2012        11:29:11
58233      7577352092      9/22/2011        15:41:05
58234      7577358739      2/19/2012        19:21:34
58235      7577371221      5/30/2012        16:47:45
58236      7577371699      5/31/2012        17:48:54
58237      7577371699      6/25/2012        13:54:35
58238      7577371699      10/16/2012       7:32:22
58239      7577372747      5/3/2012         7:15:37
58240      7577373602      9/12/2012        7:40:44
58241      7577376737      10/23/2012       16:06:46
58242      7577390910      9/24/2011        9:36:42
58243      7577514670      11/14/2011       16:32:21
58244      7577525819      7/20/2011        14:17:21
58245      7577535125      3/2/2012         9:32:50
58246      7577536161      10/8/2011        10:35:19
58247      7577543899      7/13/2012        14:03:43
58248      7577610276      1/16/2012        17:22:34
58249      7577681763      7/18/2012        18:25:00
58250      7577681763      8/16/2012        19:52:51
58251      7577684365      9/12/2011        13:45:06
58252      7577685810      12/5/2011        8:55:31
58253      7577688370      9/13/2011        15:10:11
58254      7577696638      11/10/2011       7:26:17
58255      7577715831      9/19/2011        19:06:28
58256      7577741063      3/12/2012        19:16:50
58257      7577742172      5/13/2012        16:58:38
58258      7577750855      1/10/2012        15:27:10
58259      7577750855      1/13/2012        7:15:30
58260      7577751502      1/4/2012         11:32:58
58261      7577752163      3/8/2012         7:14:14
58262      7577772111      6/7/2012         18:21:13
58263      7577775440      9/12/2011        13:09:15
58264      7577778455      4/2/2012         7:11:51
58265      7577787788      8/17/2011        18:39:49
58266      7577791191      2/11/2012        10:42:29
58267      7577795363      1/27/2012        9:35:20
58268      7577847390      9/30/2012        15:11:52
58269      7578020073      11/8/2011        14:49:10
58270      7578020910      1/4/2012         11:18:13
58271      7578025880      9/28/2011        10:58:02
58272      7578028288      9/29/2011        15:37:51
58273      7578028470      12/2/2011        7:49:22
58274      7578036243      10/4/2011        13:16:14
58275      7578037389      10/18/2011       16:33:00
58276      7578037389      11/17/2011       16:04:45
58277      7578060062      6/8/2012         19:45:25
58278      7578120775      2/11/2012        10:58:38
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58279      7578122343      6/26/2012        16:13:31
58280      7578136409      11/8/2011        14:23:27
58281      7578140780      9/30/2011        9:56:47
58282      7578149691      11/23/2011       9:32:54
58283      7578161025      2/27/2012        17:06:28
58284      7578163565      3/13/2012        18:38:08
58285      7578167453      12/31/2011       11:55:47
58286      7578168971      1/25/2012        9:17:49
58287      7578193556      2/24/2012        17:07:52
58288      7578229888      11/16/2011       8:39:08
58289      7578314311      11/18/2011       13:22:59
58290      7578390085      3/14/2012        19:49:57
58291      7578708348      10/8/2011        11:06:33
58292      7578708348      11/30/2011       15:37:59
58293      7578716692      1/17/2012        7:16:43
58294      7578716692      1/27/2012        17:45:35
58295      7578762779      11/11/2011       13:37:13
58296      7578766783      2/11/2012        15:08:21
58297      7578767453      5/9/2012         8:00:55
58298      7578769799      9/12/2011        14:00:37
58299      7578801435      11/30/2011       15:16:32
58300      7578944044      7/16/2012        19:36:23
58301      7578972125      9/13/2011        16:16:33
58302      7578973667      12/18/2011       16:18:30
58303      7578976500      12/6/2011        14:09:09
58304      7578977992      12/7/2011        15:09:51
58305      7579269036      11/12/2011       10:16:02
58306      7579269491      2/13/2012        18:43:47
58307      7579274608      12/22/2011       9:22:51
58308      7579276400      4/16/2012        7:11:06
58309      7579444088      9/8/2011         19:39:02
58310      7579476750      9/12/2011        14:02:52
58311      7579476969      12/31/2011       11:45:19
58312      7579477717      9/15/2012        8:04:06
58313      7579713296      9/22/2012        9:31:08
58314      7579994106      4/1/2012         16:01:23
58315      7602006060      1/31/2012        10:12:44
58316      7602006398      9/29/2012        10:21:08
58317      7602006999      3/13/2012        18:51:19
58318      7602075600      1/24/2012        17:09:07
58319      7602094464      9/24/2011        10:05:12
58320      7602156123      10/15/2011       10:59:16
58321      7602174396      4/26/2012        17:45:48
58322      7602179265      12/17/2011       12:16:45
58323      7602180885      2/11/2012        15:50:26
58324      7602187430      7/27/2011        17:46:55
58325      7602193285      11/17/2011       16:01:53
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58326      7602194690      3/1/2012         17:36:19
58327      7602194690      3/20/2012        20:00:32
58328      7602200318      12/9/2011        21:55:50
58329      7602203735      8/16/2011        18:12:57
58330      7602206252      9/12/2011        14:33:35
58331      7602211563      3/2/2012         15:33:54
58332      7602211687      9/27/2011        18:58:15
58333      7602215998      10/10/2011       12:58:24
58334      7602219325      2/21/2012        17:41:58
58335      7602220877      1/25/2012        20:33:55
58336      7602222998      10/11/2012       18:37:48
58337      7602227092      8/29/2012        20:20:03
58338      7602231381      9/26/2011        13:28:51
58339      7602232686      3/14/2014        10:08:10
58340      7602236391      10/14/2011       14:50:07
58341      7602240359      7/11/2012        17:23:15
58342      7602247694      12/15/2011       10:21:13
58343      7602338989      10/7/2011        10:20:33
58344      7602344286      3/29/2012        11:43:17
58345      7602344286      5/20/2012        15:56:15
58346      7602344286      10/22/2012       18:01:49
58347      7602346253      5/4/2012         18:16:26
58348      7602348111      7/19/2011        17:04:07
58349      7602357173      11/14/2011       17:43:11
58350      7602359226      9/25/2012        14:48:02
58351      7602359751      9/8/2011         19:37:58
58352      7602381349      9/21/2011        12:06:37
58353      7602383403      1/11/2012        11:02:27
58354      7602386149      11/29/2011       15:51:15
58355      7602391011      10/4/2011        14:00:07
58356      7602391700      1/5/2012         21:16:30
58357      7602412076      9/13/2011        13:44:21
58358      7602500956      11/16/2011       20:09:53
58359      7602501981      9/27/2011        18:45:06
58360      7602501981      10/18/2011       12:27:17
58361      7602508166      5/16/2011        13:24:06
58362      7602508798      6/21/2012        18:54:39
58363      7602509193      7/23/2012        15:24:03
58364      7602561003      12/8/2011        21:11:59
58365      7602610499      3/12/2012        11:13:34
58366      7602650726      10/4/2011        13:59:40
58367      7602650780      6/13/2012        10:26:02
58368      7602651743      9/16/2011        15:14:02
58369      7602654021      4/24/2012        21:02:38
58370      7602654227      10/14/2011       13:37:03
58371      7602654227      5/7/2012         21:37:24
58372      7602654423      5/25/2012        11:56:52
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58373      7602659035      3/11/2011        16:58:01
58374      7602670787      8/14/2012        11:51:10
58375      7602670793      9/26/2012        15:29:52
58376      7602673665      7/25/2012        20:42:13
58377      7602674479      11/11/2011       20:30:08
58378      7602674967      1/6/2012         13:03:19
58379      7602675902      10/16/2013       12:31:41
58380      7602675977      9/28/2011        10:43:07
58381      7602676093      1/3/2012         19:52:17
58382      7602676129      8/5/2011         18:17:39
58383      7602696211      1/10/2012        20:55:40
58384      7602696490      12/7/2011        13:46:27
58385      7602701269      1/16/2012        17:38:08
58386      7602702756      10/22/2012       18:02:24
58387      7602704232      10/8/2012        20:08:20
58388      7602705161      10/10/2012       12:41:04
58389      7602705238      11/3/2011        18:05:32
58390      7602705695      2/28/2012        16:10:11
58391      7602705727      2/13/2012        18:52:04
58392      7602706114      1/9/2012         21:22:42
58393      7602706469      4/20/2012        20:50:27
58394      7602719925      9/13/2011        16:54:07
58395      7602725137      11/16/2011       19:53:26
58396      7602770003      11/28/2011       12:32:04
58397      7602770118      10/4/2013        21:23:09
58398      7602770255      12/10/2011       14:31:12
58399      7602772859      8/30/2012        10:48:54
58400      7602777888      4/26/2012        17:46:34
58401      7602854305      10/4/2011        14:02:04
58402      7602858336      8/16/2012        14:27:53
58403      7602886853      6/16/2012        15:34:36
58404      7602892558      1/18/2012        16:55:06
58405      7602960655      2/15/2014        15:26:39
58406      7602965830      1/6/2012         12:52:11
58407      7602968864      10/4/2011        13:30:32
58408      7602969133      2/1/2012         18:43:37
58409      7603007553      10/7/2011        10:13:38
58410      7603007969      4/23/2011        10:44:04
58411      7603012665      9/15/2011        10:58:36
58412      7603012878      7/19/2013        13:55:17
58413      7603151637      12/26/2011       10:26:29
58414      7603177344      12/18/2011       18:02:38
58415      7603317413      10/10/2011       13:00:06
58416      7603329077      1/13/2012        10:42:55
58417      7603330086      3/15/2012        13:56:09
58418      7603334263      9/19/2011        19:36:32
58419      7603516149      6/18/2012        15:30:41
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58420      7603622006      4/2/2012         17:36:01
58421      7603623383      9/10/2011        12:42:34
58422      7603623798      1/24/2012        17:10:34
58423      7603623798      2/1/2012         13:34:54
58424      7603687560      10/29/2011       11:07:12
58425      7603715157      4/25/2012        21:26:44
58426      7603730052      1/11/2012        16:24:35
58427      7603777192      10/8/2012        20:09:20
58428      7603826349      3/8/2012         20:42:16
58429      7603826437      7/27/2011        17:40:37
58430      7603848273      7/17/2012        21:56:16
58431      7603848273      8/10/2012        10:26:03
58432      7603910846      7/2/2012         15:30:15
58433      7603917137      2/7/2012         16:41:02
58434      7603917137      2/10/2012        20:36:32
58435      7603936438      9/12/2011        14:33:31
58436      7603968956      10/6/2011        18:00:26
58437      7603973434      3/23/2011        20:21:28
58438      7603990336      9/15/2011        10:46:28
58439      7603997012      2/14/2012        10:09:54
58440      7604012975      11/15/2011       20:16:51
58441      7604013338      10/18/2012       14:32:07
58442      7604014415      10/6/2011        16:49:46
58443      7604015203      10/21/2011       13:39:14
58444      7604029448      11/28/2011       17:56:36
58445      7604031225      12/18/2011       17:00:00
58446      7604034011      9/26/2011        13:25:00
58447      7604034438      5/19/2012        10:58:14
58448      7604037786      9/21/2011        19:31:42
58449      7604042968      11/1/2013        18:43:40
58450      7604061583      9/26/2011        13:31:03
58451      7604088422      10/5/2011        14:21:48
58452      7604090920      10/17/2012       18:38:47
58453      7604099219      12/17/2011       11:43:13
58454      7604099219      1/20/2012        20:31:24
58455      7604099565      11/12/2011       10:03:34
58456      7604122275      11/4/2011        10:25:35
58457      7604122275      1/16/2012        17:17:33
58458      7604127180      10/18/2012       16:38:28
58459      7604130335      9/20/2011        17:01:19
58460      7604131623      3/19/2012        19:07:21
58461      7604134894      8/16/2012        19:55:35
58462      7604136297      10/7/2012        13:17:40
58463      7604152061      10/7/2011        10:16:40
58464      7604152284      8/18/2012        10:53:43
58465      7604170108      10/3/2011        10:43:06
58466      7604190210      10/5/2011        14:31:46
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58467      7604199088      10/18/2012       16:45:28
58468      7604249708      4/9/2012         13:52:00
58469      7604249744      1/7/2012         10:23:25
58470      7604273820      6/4/2012         21:08:15
58471      7604296028      3/12/2012        19:14:09
58472      7604431370      11/11/2011       13:24:46
58473      7604435543      2/6/2012         10:05:04
58474      7604435645      11/3/2011        17:31:19
58475      7604451234      5/9/2012         21:05:07
58476      7604472084      11/27/2011       15:36:58
58477      7604473861      11/28/2011       18:19:21
58478      7604493092      11/9/2011        10:17:04
58479      7604498244      9/4/2012         16:01:08
58480      7604507304      1/11/2012        10:57:35
58481      7604558879      6/22/2012        10:40:55
58482      7604576712      4/15/2012        18:00:29
58483      7604577406      2/17/2012        10:46:50
58484      7604578568      10/7/2011        10:40:19
58485      7604580825      2/3/2012         14:40:18
58486      7604586977      7/13/2012        17:07:01
58487      7604587952      5/25/2012        11:55:26
58488      7604588531      10/26/2011       12:35:02
58489      7604601664      6/4/2012         10:02:12
58490      7604601709      9/30/2011        10:27:04
58491      7604641531      7/21/2011        14:29:27
58492      7604649376      8/18/2012        10:48:52
58493      7604680165      12/1/2011        10:37:10
58494      7604686176      12/7/2011        15:23:08
58495      7604736782      10/5/2011        14:53:51
58496      7604752310      9/6/2012         12:25:24
58497      7604814090      2/2/2012         21:00:00
58498      7604818275      8/11/2012        12:31:12
58499      7604830902      12/12/2011       16:26:35
58500      7604831814      9/19/2011        19:21:48
58501      7604846591      8/22/2012        21:45:34
58502      7604850730      11/9/2011        10:17:35
58503      7604856665      8/11/2012        12:31:07
58504      7604856977      9/19/2011        15:03:06
58505      7604858504      2/10/2012        20:37:22
58506      7604864733      4/27/2012        12:44:07
58507      7604864929      3/22/2012        14:08:22
58508      7604865351      3/29/2012        11:40:53
58509      7604867641      3/22/2012        14:32:24
58510      7604869325      6/22/2012        10:42:39
58511      7604869428      10/10/2011       13:18:09
58512      7604869428      11/4/2011        10:16:48
58513      7604905995      11/19/2011       10:36:06
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58514      7604906226      10/5/2011        14:52:59
58515      7604907379      4/4/2012         18:40:18
58516      7604908536      9/20/2012        21:00:16
58517      7604909712      2/8/2012         13:05:00
58518      7604978762      5/21/2011        11:18:05
58519      7604989560      3/29/2012        16:33:43
58520      7604989698      10/14/2011       13:36:36
58521      7605001294      10/29/2011       11:04:58
58522      7605009545      10/6/2011        16:46:40
58523      7605084848      8/3/2011         12:36:09
58524      7605086081      3/20/2012        20:03:50
58525      7605087147      1/6/2012         13:10:44
58526      7605087746      4/5/2012         14:28:39
58527      7605088024      2/3/2012         14:39:56
58528      7605146113      10/2/2012        13:01:09
58529      7605146148      10/12/2012       17:21:38
58530      7605181862      12/12/2011       16:26:05
58531      7605191885      10/18/2011       12:42:48
58532      7605209224      8/31/2012        16:32:03
58533      7605215583      12/2/2011        14:26:09
58534      7605215623      10/5/2011        14:40:44
58535      7605224955      11/16/2011       20:03:02
58536      7605241761      5/17/2012        12:22:42
58537      7605242427      3/24/2012        10:39:35
58538      7605243719      11/10/2011       14:57:52
58539      7605259037      4/6/2012         15:47:14
58540      7605292626      9/20/2011        20:49:23
58541      7605323642      9/5/2012         15:29:20
58542      7605325408      5/15/2012        11:10:48
58543      7605331424      8/10/2011        19:52:13
58544      7605331424      9/8/2011         19:38:23
58545      7605340379      3/8/2012         20:29:45
58546      7605341893      9/15/2011        10:58:29
58547      7605341909      9/14/2011        21:37:25
58548      7605343881      8/15/2011        10:13:53
58549      7605348606      10/8/2011        12:23:33
58550      7605358142      4/18/2012        18:01:26
58551      7605400613      11/30/2011       12:56:15
58552      7605404845      10/3/2012        10:28:07
58553      7605406627      6/25/2012        21:52:19
58554      7605411022      9/23/2011        18:52:17
58555      7605413607      4/4/2012         18:54:23
58556      7605419804      2/13/2012        18:32:31
58557      7605500363      3/4/2012         12:45:15
58558      7605505530      11/7/2011        9:43:33
58559      7605507160      2/20/2012        14:00:49
58560      7605521740      9/8/2011         19:55:11
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58561      7605521859      5/30/2012        12:58:25
58562      7605525587      1/25/2012        18:23:34
58563      7605525840      7/12/2012        19:54:22
58564      7605533681      5/6/2012         21:12:00
58565      7605534768      1/12/2012        14:09:26
58566      7605534768      1/17/2012        18:49:44
58567      7605535316      7/25/2012        20:43:30
58568      7605568728      11/15/2011       20:11:37
58569      7605606055      9/13/2012        15:20:02
58570      7605623200      2/28/2012        15:55:30
58571      7605623406      9/21/2012        16:11:59
58572      7605623414      1/25/2012        18:23:34
58573      7605623901      1/17/2012        18:49:11
58574      7605626348      7/14/2011        17:08:49
58575      7605742121      5/12/2012        10:50:07
58576      7605745020      8/8/2012         16:15:32
58577      7605774057      11/10/2011       14:56:29
58578      7605789046      1/6/2012         15:07:08
58579      7605789046      3/23/2012        19:54:45
58580      7605793754      5/12/2012        10:24:03
58581      7605793754      9/15/2012        11:25:51
58582      7605804319      10/7/2012        13:14:48
58583      7605838853      3/27/2012        10:33:56
58584      7605856845      12/29/2011       11:19:30
58585      7605860423      11/25/2013       16:13:46
58586      7605867733      10/29/2011       11:58:37
58587      7605878225      5/12/2011        11:08:51
58588      7605878293      9/8/2011         18:22:12
58589      7605900535      8/20/2012        10:03:12
58590      7605904416      12/3/2011        10:29:19
58591      7605904997      5/26/2012        14:15:45
58592      7605905946      6/19/2012        15:46:31
58593      7605906560      5/28/2012        10:46:07
58594      7605909110      6/26/2012        16:18:20
58595      7605962421      5/27/2012        13:57:20
58596      7605967837      9/14/2011        16:54:39
58597      7605967937      1/5/2012         21:20:05
58598      7605968019      9/27/2011        18:54:40
58599      7605968019      5/13/2012        18:09:11
58600      7605968705      7/6/2012         16:55:58
58601      7605969854      10/22/2011       12:49:46
58602      7605969903      8/17/2012        10:08:05
58603      7606001737      6/28/2012        12:37:21
58604      7606048144      10/3/2012        19:57:44
58605      7606050983      12/10/2011       12:32:12
58606      7606058176      12/1/2011        15:34:24
58607      7606059937      10/15/2012       16:14:29
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58608      7606059937      10/19/2012       11:30:49
58609      7606078448      12/5/2011        10:21:08
58610      7606081501      10/12/2011       11:58:10
58611      7606081501      10/21/2011       12:54:22
58612      7606081501      2/1/2012         18:43:48
58613      7606083454      10/11/2011       17:48:03
58614      7606083454      10/24/2011       14:33:19
58615      7606095390      7/5/2012         15:39:34
58616      7606095660      3/19/2012        19:26:56
58617      7606109458      4/15/2012        17:53:16
58618      7606161261      1/12/2012        14:32:25
58619      7606170449      9/14/2011        21:38:43
58620      7606177571      12/26/2011       20:30:32
58621      7606178337      11/10/2011       14:50:18
58622      7606199493      1/10/2012        20:56:06
58623      7606199769      7/3/2012         12:22:12
58624      7606199844      5/31/2012        10:13:58
58625      7606253021      10/28/2011       14:36:45
58626      7606284424      11/7/2011        8:02:49
58627      7606284683      11/15/2011       16:44:39
58628      7606284683      12/1/2011        15:13:03
58629      7606287151      9/3/2011         11:02:45
58630      7606289512      10/14/2011       13:05:17
58631      7606366361      5/7/2011         15:38:42
58632      7606376746      5/4/2012         20:56:44
58633      7606379140      12/20/2011       19:41:17
58634      7606410462      11/3/2011        18:05:51
58635      7606412567      9/21/2011        12:03:02
58636      7606414531      3/15/2012        14:17:26
58637      7606419580      1/25/2012        20:27:15
58638      7606419872      4/23/2012        13:07:06
58639      7606437768      9/23/2011        19:07:09
58640      7606438161      2/2/2012         20:59:54
58641      7606444342      3/21/2012        18:37:59
58642      7606460160      9/10/2011        12:42:21
58643      7606461153      11/14/2011       17:43:16
58644      7606461568      5/23/2012        16:39:30
58645      7606464950      9/14/2011        21:39:29
58646      7606466508      9/15/2011        10:41:56
58647      7606467140      9/15/2011        10:55:41
58648      7606505076      9/13/2011        18:31:12
58649      7606582998      7/25/2012        11:59:43
58650      7606583608      7/5/2012         15:34:13
58651      7606600155      9/30/2011        10:27:27
58652      7606602206      3/19/2012        19:25:43
58653      7606607197      5/25/2012        17:04:10
58654      7606609637      12/21/2011       10:05:08
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58655      7606620496      11/28/2011       12:26:16
58656      7606628856      11/15/2011       20:12:19
58657      7606628950      3/31/2012        18:13:59
58658      7606629346      8/29/2012        11:16:33
58659      7606683144      7/13/2012        18:37:36
58660      7606684769      9/3/2012         14:59:51
58661      7606697796      5/21/2012        17:03:41
58662      7606708931      9/30/2011        10:26:41
58663      7606721021      12/23/2011       14:25:02
58664      7606726362      3/29/2012        11:43:34
58665      7606729335      10/16/2012       20:34:13
58666      7606739468      1/17/2012        20:54:44
58667      7606746012      6/8/2012         10:13:45
58668      7606775153      9/23/2011        11:50:43
58669      7606775153      9/29/2011        15:57:13
58670      7606794501      9/21/2012        19:00:46
58671      7606801107      10/12/2011       11:55:21
58672      7606803980      3/7/2012         19:00:46
58673      7606805888      6/9/2012         15:09:53
58674      7606806868      12/31/2011       11:53:46
58675      7606807185      1/3/2012         19:52:30
58676      7606819686      7/10/2012        11:56:05
58677      7606841726      9/26/2012        15:30:56
58678      7606841765      10/4/2013        21:23:01
58679      7606842778      5/1/2012         17:51:28
58680      7606843141      1/16/2012        17:17:38
58681      7606843504      5/7/2012         17:55:36
58682      7606843870      8/29/2012        20:22:44
58683      7606849141      10/13/2012       11:45:28
58684      7606849196      5/10/2012        21:30:21
58685      7606849441      5/25/2012        11:55:34
58686      7606861792      7/16/2012        14:29:49
58687      7606866182      3/19/2011        10:49:12
58688      7606867550      10/22/2012       10:28:54
58689      7606868609      5/18/2012        12:23:59
58690      7606868873      4/20/2012        20:50:17
58691      7606885990      12/5/2011        10:13:43
58692      7606885990      3/12/2012        19:34:16
58693      7606933268      10/19/2011       12:31:20
58694      7606936861      7/28/2012        11:12:41
58695      7606943377      7/28/2011        10:11:17
58696      7606944055      6/7/2012         18:32:50
58697      7606945025      1/17/2012        20:54:36
58698      7606965412      12/30/2011       12:51:42
58699      7606967802      3/6/2012         20:31:38
58700      7606993604      4/20/2012        21:01:17
58701      7606994048      12/18/2011       17:24:25
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58702      7606994048      4/27/2012        21:57:00
58703      7606994078      2/21/2012        16:18:39
58704      7607021381      9/1/2012         11:47:42
58705      7607021548      11/11/2011       20:21:03
58706      7607074408      8/5/2012         16:53:57
58707      7607076807      4/4/2012         18:54:33
58708      7607078816      11/17/2011       16:34:06
58709      7607088004      9/11/2012        21:24:00
58710      7607088399      5/31/2012        10:12:57
58711      7607091155      12/23/2011       15:22:13
58712      7607091756      2/9/2012         20:48:34
58713      7607096102      3/17/2012        11:49:54
58714      7607096102      5/31/2012        15:11:05
58715      7607128629      9/25/2012        14:48:35
58716      7607128629      10/16/2012       16:31:27
58717      7607132429      11/29/2011       15:51:29
58718      7607156751      1/3/2012         19:46:39
58719      7607157901      1/17/2012        13:32:46
58720      7607161380      10/26/2011       12:32:03
58721      7607173612      7/25/2011        15:25:27
58722      7607177859      12/31/2011       12:12:02
58723      7607302132      9/4/2012         15:42:16
58724      7607550529      5/7/2012         21:39:11
58725      7607554617      9/12/2011        14:33:44
58726      7607666611      4/15/2012        17:50:29
58727      7607666874      5/14/2011        15:08:54
58728      7607717714      7/7/2012         10:28:39
58729      7607743746      9/23/2011        19:06:01
58730      7607770708      10/21/2011       13:39:39
58731      7607772321      10/18/2011       12:33:58
58732      7607773818      11/21/2011       10:45:46
58733      7607775565      9/21/2011        19:37:12
58734      7607805540      12/18/2011       17:19:51
58735      7607808466      8/14/2012        11:41:18
58736      7607897242      3/24/2012        10:10:05
58737      7607913707      9/28/2011        10:42:55
58738      7607913707      10/25/2011       16:41:38
58739      7607918550      10/2/2012        13:00:06
58740      7607922654      5/4/2012         20:57:20
58741      7607922796      11/16/2011       20:09:01
58742      7607924879      1/9/2012         21:23:18
58743      7607927059      11/18/2011       13:08:43
58744      7607928532      9/6/2011         12:25:18
58745      7607934463      10/21/2011       13:42:34
58746      7607934463      3/16/2012        10:28:06
58747      7607936612      3/25/2012        11:31:52
58748      7607993175      7/26/2012        11:57:05
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58749      7607997737      5/26/2012        14:44:26
58750      7608022010      10/5/2011        14:52:49
58751      7608087646      11/18/2011       13:35:01
58752      7608087657      8/6/2012         15:30:53
58753      7608087847      4/21/2012        10:04:31
58754      7608087847      4/26/2012        17:44:49
58755      7608150300      11/30/2011       15:41:43
58756      7608156198      10/12/2011       12:00:12
58757      7608158809      10/10/2011       13:05:26
58758      7608191318      4/3/2012         20:17:00
58759      7608192146      5/5/2012         12:24:19
58760      7608192984      8/13/2012        21:00:43
58761      7608213845      6/4/2012         21:10:40
58762      7608220148      12/1/2011        10:24:52
58763      7608310055      1/5/2012         12:09:04
58764      7608325945      9/30/2011        10:07:54
58765      7608354347      12/5/2011        18:42:34
58766      7608354511      8/8/2011         13:24:41
58767      7608440326      10/20/2011       20:56:39
58768      7608444857      4/18/2012        18:01:10
58769      7608451120      8/21/2012        13:56:15
58770      7608462602      5/18/2012        15:48:24
58771      7608511873      9/12/2012        15:20:16
58772      7608550656      9/9/2011         18:31:06
58773      7608772829      3/26/2012        15:06:53
58774      7608779293      4/11/2012        11:31:35
58775      7608810331      11/23/2011       15:00:19
58776      7608810816      8/31/2011        10:18:10
58777      7608811622      6/4/2012         10:06:21
58778      7608816822      6/26/2012        16:16:59
58779      7608818167      1/8/2012         16:50:36
58780      7608818204      9/8/2011         18:20:29
58781      7608830390      10/21/2011       13:45:39
58782      7608851438      1/8/2012         16:55:15
58783      7608851504      2/14/2012        10:03:17
58784      7608853812      12/18/2011       18:00:59
58785      7608854321      1/10/2012        20:56:07
58786      7608854480      7/16/2012        14:26:57
58787      7608855239      2/6/2012         17:04:49
58788      7608859112      12/30/2011       12:47:07
58789      7608864670      1/25/2012        20:27:37
58790      7608870579      3/9/2012         15:49:33
58791      7608875541      9/11/2012        15:11:53
58792      7608877735      7/9/2012         19:03:58
58793      7608879036      4/16/2012        10:17:23
58794      7608890104      3/29/2012        11:46:22
58795      7608892303      10/6/2011        16:53:00
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58796      7608898113      4/11/2012        11:37:33
58797      7608924039      2/15/2012        21:04:28
58798      7608983921      12/3/2011        9:24:38
58799      7608986914      3/8/2012         20:30:17
58800      7608990451      9/9/2011         18:06:52
58801      7608990563      10/8/2012        12:51:33
58802      7608992312      6/4/2011         10:59:40
58803      7608992601      4/19/2012        15:18:21
58804      7608993232      4/18/2012        10:08:58
58805      7608994875      9/3/2012         14:59:02
58806      7608995783      7/12/2012        19:55:29
58807      7608995951      1/17/2012        18:37:43
58808      7608997484      1/12/2012        10:17:30
58809      7608999034      2/3/2012         14:27:47
58810      7608999034      2/20/2012        16:57:40
58811      7609000637      11/30/2011       15:32:52
58812      7609006946      10/6/2011        18:02:55
58813      7609006946      12/18/2011       16:31:40
58814      7609020226      2/2/2012         16:36:08
58815      7609027794      2/11/2012        11:27:59
58816      7609052688      7/9/2012         10:57:29
58817      7609081111      8/22/2012        21:43:25
58818      7609086117      5/9/2012         14:37:51
58819      7609088268      2/3/2012         14:29:09
58820      7609120544      7/14/2011        10:12:23
58821      7609121860      7/11/2012        17:23:12
58822      7609127953      7/7/2012         10:32:38
58823      7609208341      10/6/2011        18:03:41
58824      7609208768      10/8/2011        12:19:10
58825      7609209417      11/16/2011       10:03:43
58826      7609270421      3/21/2012        18:36:53
58827      7609276605      11/16/2011       10:10:09
58828      7609278435      8/9/2012         21:58:30
58829      7609370530      12/29/2011       21:40:42
58830      7609490032      9/25/2012        15:22:39
58831      7609534071      10/20/2011       16:38:29
58832      7609534333      5/26/2011        10:17:03
58833      7609536346      5/24/2012        20:06:52
58834      7609536545      3/26/2011        11:12:09
58835      7609537225      9/20/2011        20:38:04
58836      7609537473      10/18/2011       12:31:07
58837      7609537473      11/1/2011        8:14:45
58838      7609537846      10/12/2011       12:00:38
58839      7609538193      4/14/2012        10:29:59
58840      7609566901      11/16/2011       20:02:44
58841      7609576261      2/20/2012        14:02:08
58842      7609603042      10/5/2012        18:27:28
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58843      7609631400      2/6/2012         17:24:53
58844      7609639550      1/3/2012         15:34:36
58845      7609640111      4/5/2012         14:38:44
58846      7609659923      3/13/2012        12:55:23
58847      7609721777      8/4/2012         10:30:09
58848      7609727360      4/20/2012        14:11:31
58849      7609728334      6/16/2012        15:18:30
58850      7609758530      2/2/2012         16:36:51
58851      7609770366      5/22/2012        16:18:08
58852      7609770388      1/12/2012        14:20:25
58853      7609771560      10/8/2012        12:52:12
58854      7609771639      3/12/2012        19:34:20
58855      7609771910      2/17/2012        18:15:35
58856      7609777831      3/24/2012        10:37:46
58857      7609778260      2/11/2014        20:41:29
58858      7609781067      9/14/2011        21:34:33
58859      7609819181      9/20/2011        17:01:30
58860      7609851376      12/6/2011        14:43:36
58861      7609855152      4/16/2012        16:10:17
58862      7609855152      5/5/2012         12:20:30
58863      7609855240      3/19/2012        19:07:00
58864      7609857212      9/14/2011        12:41:15
58865      7609858097      10/11/2012       11:58:12
58866      7609858605      10/24/2011       14:30:00
58867      7609870986      3/2/2012         19:06:40
58868      7609871656      3/25/2012        12:17:17
58869      7609879848      11/28/2011       18:16:33
58870      7609895138      6/22/2012        20:58:58
58871      7609897805      10/12/2011       11:56:23
58872      7609899953      8/7/2012         20:06:34
58873      7609924107      5/10/2011        19:41:32
58874      7609948449      11/11/2011       13:50:36
58875      7609956861      4/5/2012         21:49:07
58876      7622156244      9/29/2012        9:44:43
58877      7622181954      7/2/2012         15:34:08
58878      7623232298      10/24/2012       15:02:55
58879      7632275480      5/9/2012         16:06:50
58880      7632912310      10/12/2011       8:07:48
58881      7632912404      8/31/2011        10:47:08
58882      7633550347      3/30/2012        16:04:01
58883      7633703207      10/28/2011       13:36:41
58884      7634120069      2/15/2012        11:16:40
58885      7634383363      1/17/2012        17:02:25
58886      7634394759      4/18/2012        7:04:19
58887      7634428063      9/14/2011        7:09:48
58888      7634640637      10/25/2011       15:58:06
58889      7634967184      8/3/2012         16:25:58
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                                   #:13105

58890      7636706108      2/16/2012        8:34:22
58891      7636913577      10/18/2011       13:08:30
58892      7637423091      10/22/2011       13:07:51
58893      7652121295      6/25/2011        8:21:08
58894      7652126900      12/29/2011       14:36:18
58895      7652712193      11/9/2011        9:17:37
58896      7652730083      11/9/2011        8:11:15
58897      7653136519      5/21/2012        8:10:10
58898      7654010921      10/4/2011        13:51:32
58899      7654312054      8/13/2011        10:55:13
58900      7654312221      9/10/2012        21:06:54
58901      7654312221      9/19/2012        21:28:55
58902      7654611920      11/12/2011       9:31:32
58903      7654626760      3/20/2012        17:36:53
58904      7654691562      8/25/2012        8:26:16
58905      7654917769      12/29/2011       18:44:16
58906      7654999949      3/26/2012        7:06:42
58907      7655925394      9/19/2011        19:15:59
58908      7656176760      10/14/2011       13:26:30
58909      7656311479      11/11/2011       20:11:34
58910      7656490929      3/7/2012         18:52:42
58911      7657179784      1/4/2012         15:01:25
58912      7657200823      11/10/2011       14:38:05
58913      7657440137      11/30/2011       8:13:03
58914      7657493442      8/10/2013        16:45:43
58915      7659931047      10/20/2012       8:03:34
58916      7692039714      2/11/2012        11:12:53
58917      7692232257      9/28/2011        14:25:41
58918      7692233316      9/30/2011        10:02:18
58919      7692328646      12/15/2011       8:41:50
58920      7692334406      12/17/2011       11:34:11
58921      7692344944      5/1/2012         18:21:00
58922      7692440028      4/4/2012         18:53:14
58923      7692518226      3/29/2011        16:28:53
58924      7692571751      6/11/2012        17:33:44
58925      7693559823      7/2/2012         15:24:10
58926      7694561095      9/21/2012        19:03:27
58927      7697980545      1/18/2012        16:53:45
58928      7697982658      4/3/2012         20:15:09
58929      7697982904      1/6/2012         12:58:13
58930      7697984550      8/7/2012         17:54:20
58931      7697986508      2/7/2012         17:08:26
58932      7697987194      12/26/2011       20:04:07
58933      7697988515      5/10/2012        15:03:38
58934      7697988893      9/24/2012        13:07:31
58935      7699261720      11/15/2011       15:40:40
58936      7702060564      5/11/2012        18:09:22
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                                   #:13106

58937      7702350615      3/13/2012        18:42:16
58938      7702351720      9/24/2011        9:21:29
58939      7702351846      4/2/2012         7:17:17
58940      7702354423      7/14/2011        8:45:00
58941      7702355083      12/2/2011        15:15:12
58942      7702355566      10/11/2011       16:57:48
58943      7702355704      11/19/2011       8:16:00
58944      7702358587      10/15/2012       16:10:35
58945      7702382188      9/19/2011        7:17:06
58946      7702389995      6/8/2011         18:39:15
58947      7702410513      5/24/2012        12:01:54
58948      7702412960      3/19/2012        19:16:18
58949      7702415660      3/16/2012        15:49:43
58950      7702415660      5/21/2012        7:04:31
58951      7702415660      5/21/2012        7:26:04
58952      7702558362      3/19/2012        7:01:57
58953      7702558621      2/9/2012         7:26:38
58954      7702558634      6/5/2012         7:13:23
58955      7702559366      7/3/2012         19:29:58
58956      7702560389      7/20/2011        14:53:38
58957      7702560925      5/24/2012        12:00:24
58958      7702562022      10/8/2011        11:46:11
58959      7702562594      4/4/2011         12:02:28
58960      7702562630      8/18/2011        8:22:17
58961      7702563555      10/11/2011       14:35:42
58962      7702563555      12/1/2011        14:29:46
58963      7702564504      1/10/2012        12:40:37
58964      7702564504      1/17/2012        9:40:26
58965      7702565021      10/25/2011       16:11:38
58966      7702565072      8/13/2011        11:39:49
58967      7702565412      3/7/2012         18:47:46
58968      7702566375      9/19/2012        7:54:32
58969      7702567123      2/18/2012        8:36:27
58970      7702568048      9/23/2011        7:02:34
58971      7702569541      9/18/2012        14:25:39
58972      7702569558      10/5/2012        18:20:42
58973      7702620805      12/18/2011       17:08:59
58974      7702627166      4/24/2012        12:05:26
58975      7702627166      5/21/2012        7:05:57
58976      7702628260      9/21/2012        18:53:25
58977      7702654000      4/4/2012         18:45:25
58978      7702669959      10/3/2011        7:26:41
58979      7702748554      9/14/2012        7:01:39
58980      7702761191      9/29/2011        15:06:36
58981      7702761930      10/15/2011       10:27:59
58982      7702830446      3/4/2012         12:30:24
58983      7702865676      9/29/2011        15:35:28
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                                   #:13107

58984      7702868772      3/13/2012        11:09:27
58985      7702878028      1/6/2012         14:50:58
58986      7702890375      12/10/2011       12:52:39
58987      7702893920      10/10/2011       11:57:24
58988      7702895526      9/21/2011        11:44:05
58989      7702928584      2/26/2012        13:23:54
58990      7702928690      10/20/2011       15:18:43
58991      7702945370      2/1/2012         8:07:24
58992      7702947905      12/6/2011        14:26:32
58993      7702958092      10/8/2011        10:56:31
58994      7702959594      10/20/2012       8:03:02
58995      7702960391      1/18/2012        10:01:53
58996      7702962661      8/2/2012         18:49:52
58997      7702964033      12/11/2011       12:19:40
58998      7702964065      9/27/2012        7:30:03
58999      7702964107      1/13/2012        7:31:02
59000      7702982743      11/26/2011       12:57:50
59001      7702987463      1/11/2012        16:19:37
59002      7702988032      3/11/2012        15:08:35
59003      7702988032      5/26/2012        14:19:17
59004      7703011731      2/2/2012         7:12:23
59005      7703012572      5/5/2012         8:36:34
59006      7703012572      5/21/2012        7:32:28
59007      7703015879      8/31/2011        10:22:02
59008      7703016861      9/24/2012        19:00:37
59009      7703016861      10/10/2012       12:53:52
59010      7703016861      10/17/2012       18:33:13
59011      7703017250      9/19/2011        7:11:14
59012      7703017250      9/26/2011        8:10:27
59013      7703091575      5/3/2012         7:10:52
59014      7703091589      11/28/2011       17:35:13
59015      7703092935      10/1/2011        10:48:50
59016      7703095004      4/4/2012         18:59:16
59017      7703096632      10/11/2012       18:38:25
59018      7703100477      6/21/2012        18:56:41
59019      7703104970      10/15/2011       9:05:42
59020      7703105357      10/18/2012       7:04:59
59021      7703105663      6/15/2012        8:45:10
59022      7703108081      1/13/2012        7:21:49
59023      7703108438      9/19/2011        7:30:32
59024      7703120431      5/13/2012        16:52:12
59025      7703124861      4/29/2012        16:38:24
59026      7703127199      11/14/2011       16:44:11
59027      7703130234      12/21/2011       10:03:31
59028      7703137966      10/8/2011        11:23:28
59029      7703138139      3/15/2012        14:12:32
59030      7703146631      6/21/2011        13:57:26
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59031      7703156394      10/17/2011       8:16:52
59032      7703156395      12/24/2011       8:20:06
59033      7703162351      12/7/2011        13:07:46
59034      7703165994      8/1/2011         19:31:19
59035      7703170810      7/30/2011        8:10:03
59036      7703176943      9/22/2011        15:39:03
59037      7703180534      6/29/2012        17:40:23
59038      7703181064      8/9/2011         12:39:29
59039      7703181845      8/27/2011        11:33:09
59040      7703281262      1/6/2012         11:30:15
59041      7703281306      1/13/2012        7:30:52
59042      7703292274      5/13/2012        17:09:28
59043      7703293921      6/9/2012         10:31:29
59044      7703295854      7/16/2012        19:45:57
59045      7703299544      11/16/2011       8:40:28
59046      7703300234      11/16/2011       9:23:46
59047      7703300552      5/17/2012        7:02:02
59048      7703300552      5/21/2012        7:08:23
59049      7703307585      1/28/2012        8:13:03
59050      7703317653      1/12/2012        7:04:59
59051      7703318867      4/19/2012        7:20:05
59052      7703318867      5/1/2012         14:05:21
59053      7703318867      5/21/2012        7:06:42
59054      7703340101      10/4/2011        13:08:28
59055      7703340353      9/6/2011         12:41:59
59056      7703341802      7/18/2012        16:16:13
59057      7703341977      12/8/2011        12:03:11
59058      7703347166      9/8/2011         17:51:13
59059      7703347179      3/29/2011        16:10:17
59060      7703347179      9/20/2011        17:45:01
59061      7703355740      9/13/2011        17:44:05
59062      7703373923      4/12/2012        18:16:41
59063      7703376296      8/10/2011        17:52:13
59064      7703377227      9/22/2011        15:03:28
59065      7703449086      10/20/2011       16:02:57
59066      7703551315      5/4/2012         18:26:49
59067      7703552097      1/16/2012        7:04:52
59068      7703552097      2/6/2012         17:10:22
59069      7703552961      12/9/2011        7:57:16
59070      7703555080      9/8/2012         11:05:13
59071      7703558551      1/9/2012         18:36:21
59072      7703562669      5/31/2012        15:07:19
59073      7703562906      12/16/2011       16:18:27
59074      7703563799      12/19/2011       7:30:59
59075      7703566512      1/31/2012        7:13:27
59076      7703568535      12/29/2011       9:57:48
59077      7703613109      9/24/2011        9:13:10
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59078      7703616631      7/18/2012        18:22:44
59079      7703619063      1/29/2012        16:28:55
59080      7703625386      10/3/2011        7:14:05
59081      7703625413      8/16/2012        7:51:56
59082      7703629869      11/21/2011       7:29:18
59083      7703631928      10/1/2012        8:14:56
59084      7703633032      10/25/2011       15:52:29
59085      7703634984      1/19/2012        18:38:22
59086      7703636155      5/22/2012        18:47:46
59087      7703636271      4/27/2012        18:19:08
59088      7703637084      10/22/2012       17:57:41
59089      7703637291      8/19/2011        12:18:04
59090      7703646786      10/14/2011       12:49:29
59091      7703648018      7/5/2012         7:49:27
59092      7703648707      8/18/2011        7:45:04
59093      7703651533      7/24/2012        7:32:50
59094      7703653605      10/18/2012       16:30:04
59095      7703656229      6/23/2012        8:24:11
59096      7703667122      9/22/2012        8:54:38
59097      7703672579      11/4/2011        7:24:22
59098      7703675123      11/20/2011       11:06:20
59099      7703690005      9/18/2012        14:15:04
59100      7703691403      5/5/2012         8:01:09
59101      7703691403      6/4/2012         8:09:51
59102      7703691403      9/28/2012        16:40:12
59103      7703691494      12/31/2011       11:43:41
59104      7703693384      2/15/2012        8:13:09
59105      7703695398      10/19/2011       7:46:44
59106      7703695865      9/29/2012        9:52:52
59107      7703740082      3/16/2012        15:48:53
59108      7703740163      9/25/2012        14:42:41
59109      7703740328      1/2/2012         7:18:22
59110      7703740328      1/10/2012        15:16:46
59111      7703740328      4/24/2012        18:01:29
59112      7703741870      10/17/2011       7:30:35
59113      7703742103      6/4/2012         8:36:13
59114      7703742152      7/21/2012        10:09:55
59115      7703742924      5/29/2012        7:08:13
59116      7703743752      5/1/2012         14:05:11
59117      7703744615      1/17/2012        7:15:28
59118      7703744816      1/13/2012        17:23:44
59119      7703745696      10/20/2012       16:28:12
59120      7703746650      12/21/2011       10:16:04
59121      7703746742      5/15/2012        7:48:25
59122      7703747038      3/24/2012        9:46:21
59123      7703747355      3/30/2012        16:15:51
59124      7703748756      11/28/2011       11:17:30
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59125      7703755358      12/2/2011        15:16:24
59126      7703772483      10/17/2011       7:28:04
59127      7703775795      11/14/2011       16:05:24
59128      7703776527      8/10/2012        7:33:27
59129      7703778091      9/8/2011         19:29:07
59130      7703778693      9/13/2011        7:11:51
59131      7703802057      9/10/2011        8:58:47
59132      7703832183      5/11/2012        7:07:51
59133      7703832254      5/25/2011        16:50:42
59134      7703832749      12/24/2011       7:19:35
59135      7704018155      10/3/2011        7:13:54
59136      7704018155      12/12/2011       7:30:56
59137      7704019299      1/20/2012        11:25:03
59138      7704022276      1/6/2012         14:36:08
59139      7704026228      10/1/2011        9:46:47
59140      7704031036      4/4/2012         19:11:54
59141      7704033167      10/4/2011        13:06:16
59142      7704088471      9/12/2011        13:48:08
59143      7704598838      3/15/2012        18:54:04
59144      7704682227      4/21/2012        8:36:01
59145      7704683664      12/28/2011       13:12:12
59146      7704683977      5/18/2012        7:10:13
59147      7704683977      5/21/2012        7:08:34
59148      7704804020      3/14/2012        7:04:09
59149      7704805615      9/5/2012         7:13:35
59150      7704808181      8/18/2011        7:54:41
59151      7704900473      3/28/2012        18:21:27
59152      7704901942      9/28/2011        11:06:04
59153      7704904543      1/5/2012         12:01:48
59154      7704909894      9/30/2011        10:13:44
59155      7705006346      4/4/2012         18:36:04
59156      7705025185      9/30/2011        10:12:31
59157      7705034971      4/16/2012        15:50:09
59158      7705036076      3/23/2012        19:11:19
59159      7705083679      3/2/2012         18:43:16
59160      7705083786      4/18/2012        7:04:57
59161      7705083786      6/11/2012        7:04:21
59162      7705085361      1/20/2012        11:26:39
59163      7705108832      5/22/2012        18:18:42
59164      7705190639      7/24/2012        7:36:14
59165      7705270102      9/19/2011        7:15:18
59166      7705271353      5/17/2012        7:05:09
59167      7705273573      10/27/2011       16:34:40
59168      7705275204      1/25/2012        9:12:51
59169      7705277135      2/11/2012        15:07:58
59170      7705277594      11/10/2011       7:12:24
59171      7705304740      4/29/2012        16:57:50
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59172      7705307786      8/8/2011         14:47:28
59173      7705308098      4/13/2012        13:36:27
59174      7705309214      11/10/2011       7:12:41
59175      7705324746      7/26/2011        9:37:37
59176      7705400006      10/8/2011        9:22:20
59177      7705400006      12/21/2011       18:45:08
59178      7705400006      1/21/2012        8:11:07
59179      7705400006      2/15/2012        11:37:30
59180      7705407864      10/18/2012       7:04:12
59181      7705465424      5/5/2012         8:13:37
59182      7705465845      7/30/2012        13:47:30
59183      7705466546      5/12/2012        10:25:35
59184      7705471772      11/26/2011       12:18:11
59185      7705474615      3/10/2011        15:28:00
59186      7705474739      7/20/2011        13:46:55
59187      7705477343      3/28/2012        14:33:28
59188      7705486546      3/8/2012         7:12:25
59189      7705486571      7/11/2011        7:07:03
59190      7705486814      11/14/2011       16:44:36
59191      7705488973      8/13/2012        7:28:02
59192      7705576262      4/7/2012         9:17:03
59193      7705579766      5/21/2012        7:57:50
59194      7705612121      10/7/2011        7:03:23
59195      7705613710      9/20/2011        17:55:46
59196      7705720127      11/4/2011        15:27:00
59197      7705721638      10/13/2011       7:19:39
59198      7705722573      11/25/2011       17:33:48
59199      7705722573      5/7/2012         7:13:48
59200      7705722702      10/19/2013       8:29:09
59201      7705722864      8/17/2011        18:12:38
59202      7705723127      11/29/2011       7:24:36
59203      7705723221      8/25/2012        11:11:47
59204      7705723255      8/20/2012        18:49:37
59205      7705723931      9/14/2011        11:09:57
59206      7705724229      2/1/2012         8:16:05
59207      7705724614      10/29/2011       11:23:44
59208      7705724614      1/11/2012        7:31:03
59209      7705725359      10/24/2011       7:02:05
59210      7705725384      12/7/2011        17:54:19
59211      7705726365      11/5/2011        9:24:10
59212      7705728673      6/12/2012        7:20:57
59213      7705728673      6/19/2012        15:48:26
59214      7705729411      5/21/2012        17:21:22
59215      7705769718      4/4/2012         18:56:54
59216      7705773500      11/25/2011       18:18:42
59217      7705844167      8/20/2011        8:45:43
59218      7705844869      10/12/2011       11:36:36
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59219      7705845931      3/16/2012        15:48:31
59220      7705847158      10/20/2012       16:19:29
59221      7705950266      11/10/2011       7:01:30
59222      7705953942      10/10/2011       11:35:31
59223      7705955525      6/15/2012        16:36:09
59224      7705956615      3/30/2012        16:16:05
59225      7705961233      6/14/2012        7:07:16
59226      7705961233      6/30/2012        8:24:39
59227      7705963015      1/11/2012        7:31:58
59228      7705964158      6/11/2012        7:21:35
59229      7705964416      2/28/2012        15:56:48
59230      7705964505      9/4/2012         16:15:57
59231      7705972575      5/11/2012        18:12:10
59232      7705976386      1/11/2012        7:40:08
59233      7706011095      3/16/2012        16:23:47
59234      7706013075      12/1/2011        14:53:35
59235      7706014212      9/8/2011         18:52:55
59236      7706014799      11/30/2011       15:18:53
59237      7706022912      12/21/2011       19:18:49
59238      7706056697      5/17/2012        16:41:41
59239      7706081393      7/9/2011         8:14:45
59240      7706081866      9/26/2011        9:40:46
59241      7706082090      11/28/2011       16:38:18
59242      7706082836      1/8/2012         13:01:02
59243      7706083544      1/27/2012        17:41:51
59244      7706083685      3/8/2012         7:03:45
59245      7706083685      5/21/2012        7:04:15
59246      7706083685      5/21/2012        7:25:41
59247      7706086286      8/3/2011         11:34:26
59248      7706087188      9/16/2011        14:02:02
59249      7706088741      9/26/2012        15:17:55
59250      7706089438      11/27/2011       15:25:12
59251      7706167888      11/26/2011       12:31:37
59252      7706240862      3/27/2012        7:02:56
59253      7706307078      5/26/2012        8:41:22
59254      7706307620      7/26/2012        19:26:21
59255      7706309777      5/23/2012        16:44:49
59256      7706332818      6/9/2012         15:11:57
59257      7706340126      6/4/2012         8:27:23
59258      7706340880      11/22/2011       18:33:54
59259      7706341437      9/20/2011        16:32:15
59260      7706391284      7/23/2011        13:51:21
59261      7706392979      5/23/2012        14:50:29
59262      7706393681      9/14/2011        11:44:31
59263      7706399568      5/18/2012        7:12:20
59264      7706523472      12/7/2011        14:57:17
59265      7706526646      5/3/2012         7:23:10
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59266      7706529073      1/3/2012         10:57:28
59267      7706535761      10/11/2011       15:59:49
59268      7706538352      1/19/2012        8:08:43
59269      7706538352      2/6/2012         17:19:10
59270      7706540392      5/14/2012        15:29:24
59271      7706550596      10/12/2011       7:40:24
59272      7706551336      3/10/2011        15:26:19
59273      7706551886      11/18/2011       13:27:41
59274      7706553948      12/17/2011       11:48:24
59275      7706554121      9/29/2011        15:43:57
59276      7706554121      10/11/2011       17:11:23
59277      7706555398      3/30/2012        16:02:59
59278      7706569243      9/19/2011        19:09:56
59279      7706686093      6/4/2012         7:39:26
59280      7706686624      11/26/2011       11:39:01
59281      7706708243      12/20/2011       7:13:50
59282      7706708974      4/20/2012        13:57:46
59283      7706764248      1/6/2012         14:39:01
59284      7706800962      3/2/2012         18:57:37
59285      7706850188      5/9/2012         7:59:08
59286      7706854722      3/26/2012        7:14:00
59287      7706854995      1/9/2012         18:25:57
59288      7706864344      6/21/2012        18:45:57
59289      7706869148      8/8/2012         16:16:35
59290      7706869176      12/20/2011       7:16:03
59291      7706873463      12/17/2011       11:19:40
59292      7706878120      11/7/2011        8:23:14
59293      7706885088      1/16/2012        7:04:03
59294      7706889762      3/24/2012        9:56:21
59295      7706899082      12/21/2011       10:09:37
59296      7706899182      10/4/2011        13:36:28
59297      7706952815      5/29/2012        7:08:10
59298      7706953177      5/21/2012        7:44:10
59299      7706958535      11/18/2011       13:37:05
59300      7706959324      10/11/2011       14:56:44
59301      7706960360      9/20/2012        7:03:48
59302      7706967714      11/3/2011        17:01:41
59303      7706968198      3/15/2012        19:01:10
59304      7707091724      8/11/2012        9:17:01
59305      7707092299      6/16/2012        15:27:27
59306      7707092351      12/17/2011       12:13:06
59307      7707092576      10/10/2012       19:08:56
59308      7707101280      9/16/2011        13:20:10
59309      7707102442      5/23/2012        16:35:32
59310      7707103879      12/27/2011       14:27:34
59311      7707103879      1/19/2012        18:40:19
59312      7707109665      12/7/2011        13:53:42
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59313      7707109665      1/16/2012        7:17:45
59314      7707124933      8/8/2012         7:01:23
59315      7707128854      8/18/2012        8:37:53
59316      7707134014      10/5/2011        10:46:49
59317      7707134093      12/20/2011       7:02:39
59318      7707134232      9/26/2011        8:41:01
59319      7707137797      5/15/2012        19:01:46
59320      7707139914      1/18/2012        9:57:50
59321      7707142016      9/27/2011        18:35:02
59322      7707149814      7/2/2012         17:03:41
59323      7707151536      12/27/2011       14:18:14
59324      7707153222      9/8/2011         19:47:14
59325      7707155350      9/9/2011         7:34:39
59326      7707157685      6/25/2012        13:39:58
59327      7707158027      9/15/2011        7:42:35
59328      7707225999      6/27/2012        12:10:16
59329      7707229725      1/11/2012        16:21:20
59330      7707285152      10/5/2012        12:25:42
59331      7707285412      9/27/2011        18:26:55
59332      7707285436      5/30/2012        16:47:23
59333      7707337895      10/15/2011       9:53:34
59334      7707447151      7/25/2012        11:55:12
59335      7707553827      10/5/2011        14:29:25
59336      7707554543      5/10/2012        14:46:46
59337      7707570076      9/10/2011        8:27:41
59338      7707571114      5/19/2011        7:53:11
59339      7707575060      9/16/2011        12:52:08
59340      7707575362      7/27/2011        17:08:27
59341      7707579291      8/15/2012        7:56:32
59342      7707696601      11/12/2011       10:17:56
59343      7707711050      8/20/2012        18:41:33
59344      7707712171      10/6/2011        9:34:25
59345      7707713054      9/4/2012         16:07:21
59346      7707713497      5/19/2012        16:02:55
59347      7707714057      4/16/2012        15:45:28
59348      7707714475      3/18/2011        9:10:03
59349      7707719825      3/21/2012        7:02:40
59350      7707719825      4/18/2012        17:48:05
59351      7707719918      6/7/2012         16:36:50
59352      7707736507      9/21/2012        15:32:37
59353      7707781670      5/14/2012        15:25:15
59354      7707781670      5/17/2012        7:03:15
59355      7707781908      3/8/2012         9:35:00
59356      7707782710      9/15/2011        7:18:49
59357      7707783732      4/29/2012        17:13:33
59358      7707802057      7/13/2012        7:44:36
59359      7707802273      10/6/2012        8:54:36
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59360      7707803124      12/27/2011       14:31:24
59361      7707809644      7/17/2012        7:10:59
59362      7707877009      4/17/2012        9:33:21
59363      7707892984      2/17/2012        8:56:23
59364      7707893835      10/20/2011       15:58:01
59365      7707894252      12/1/2011        7:48:20
59366      7707895067      10/14/2011       13:10:28
59367      7707895068      10/11/2011       16:02:10
59368      7708072199      3/22/2012        14:12:36
59369      7708079623      9/22/2011        15:18:12
59370      7708079623      10/5/2011        14:34:24
59371      7708202767      11/29/2011       16:09:08
59372      7708207293      11/16/2011       9:10:35
59373      7708207293      11/28/2011       11:46:53
59374      7708207293      12/2/2011        8:37:36
59375      7708234140      12/9/2011        7:42:48
59376      7708236159      11/17/2011       15:00:39
59377      7708236939      3/19/2012        19:12:52
59378      7708237021      11/17/2011       14:12:48
59379      7708252505      3/16/2012        10:33:28
59380      7708266804      10/3/2011        7:45:02
59381      7708268365      11/10/2011       7:01:27
59382      7708268485      5/21/2012        7:21:43
59383      7708271814      3/26/2011        10:41:27
59384      7708271814      12/10/2011       12:57:00
59385      7708272506      10/12/2011       7:38:21
59386      7708289670      9/20/2011        17:36:43
59387      7708339820      1/27/2012        11:59:52
59388      7708374645      7/30/2012        13:12:07
59389      7708375442      11/3/2011        17:33:57
59390      7708375442      1/12/2012        7:18:59
59391      7708375721      10/3/2012        19:58:38
59392      7708375721      10/9/2012        7:38:06
59393      7708375800      6/7/2012         18:27:26
59394      7708418718      1/9/2012         18:30:25
59395      7708424035      12/2/2011        7:39:01
59396      7708426392      9/15/2011        7:36:33
59397      7708426392      10/29/2011       10:26:01
59398      7708427340      12/13/2011       18:02:56
59399      7708432095      7/23/2012        13:02:51
59400      7708432450      6/24/2011        11:45:00
59401      7708434695      1/10/2012        12:43:40
59402      7708438320      10/28/2011       12:40:32
59403      7708454613      10/15/2011       9:38:44
59404      7708454640      5/16/2012        16:54:28
59405      7708454758      3/5/2012         7:09:54
59406      7708456362      12/18/2011       16:16:58
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59407      7708457463      4/21/2012        16:33:44
59408      7708460170      6/8/2012         7:30:27
59409      7708513200      4/3/2012         10:07:46
59410      7708513369      1/18/2012        16:35:18
59411      7708513637      5/15/2012        7:44:41
59412      7708515009      10/12/2012       16:44:53
59413      7708530208      9/14/2011        11:01:50
59414      7708530208      10/17/2011       11:08:18
59415      7708531258      4/10/2014        17:50:25
59416      7708531258      4/28/2014        7:12:54
59417      7708534309      5/21/2012        7:02:19
59418      7708548089      4/4/2012         7:03:30
59419      7708553667      2/4/2012         8:08:43
59420      7708553974      10/21/2011       12:21:57
59421      7708554470      6/8/2012         19:42:43
59422      7708558024      9/26/2011        8:47:17
59423      7708558078      5/12/2012        10:53:43
59424      7708558078      9/14/2012        7:12:31
59425      7708558810      3/21/2011        10:13:35
59426      7708562471      11/14/2011       16:59:16
59427      7708564241      1/23/2012        7:17:48
59428      7708566350      3/30/2012        7:03:05
59429      7708618335      9/3/2012         14:47:50
59430      7708626635      11/17/2011       15:18:20
59431      7708626808      9/26/2011        8:04:57
59432      7708627083      7/19/2011        17:16:25
59433      7708642577      5/21/2011        10:23:35
59434      7708643997      3/8/2012         7:03:46
59435      7708643997      5/21/2012        7:04:23
59436      7708646379      11/8/2011        14:09:21
59437      7708646627      11/18/2011       12:18:55
59438      7708647916      12/4/2011        11:38:23
59439      7708648485      5/23/2012        15:09:08
59440      7708654177      9/29/2012        9:57:46
59441      7708654273      4/2/2012         7:16:58
59442      7708654315      6/9/2012         15:11:23
59443      7708656665      4/4/2011         12:23:32
59444      7708657205      9/8/2011         18:35:47
59445      7708659358      1/3/2012         16:58:25
59446      7708659986      12/5/2011        8:15:25
59447      7708659986      5/4/2012         7:32:37
59448      7708662464      11/17/2011       14:07:07
59449      7708665435      7/2/2012         17:13:20
59450      7708666619      10/3/2011        7:23:55
59451      7708668009      10/11/2011       16:07:31
59452      7708668357      5/16/2012        16:47:48
59453      7708668884      5/19/2012        9:21:02
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59454      7708669104      12/20/2011       19:32:49
59455      7708669739      8/25/2012        8:08:27
59456      7708669762      10/8/2011        11:13:58
59457      7708686063      5/11/2011        16:47:45
59458      7708689353      11/10/2011       7:26:24
59459      7708696572      3/10/2012        8:29:10
59460      7708704191      9/20/2011        16:42:38
59461      7708704514      9/27/2011        18:25:43
59462      7708704936      4/27/2012        7:12:31
59463      7708707909      12/20/2011       15:10:13
59464      7708710956      9/19/2011        7:23:11
59465      7708715161      7/14/2011        15:49:13
59466      7708719294      9/13/2011        17:28:47
59467      7708730009      12/31/2011       11:55:25
59468      7708731324      2/11/2012        11:03:28
59469      7708732842      10/12/2012       16:54:52
59470      7708732862      1/18/2012        16:47:18
59471      7708733058      1/14/2012        13:25:11
59472      7708733453      12/2/2011        15:18:35
59473      7708733517      8/7/2012         17:50:10
59474      7708734580      8/15/2011        8:13:35
59475      7708734825      3/14/2012        7:11:50
59476      7708735793      2/11/2012        11:11:27
59477      7708735823      9/21/2011        13:17:01
59478      7708735894      9/15/2011        7:44:41
59479      7708736897      6/27/2012        12:10:50
59480      7708738040      9/28/2012        7:39:40
59481      7708738640      3/6/2012         16:58:07
59482      7708738759      10/10/2011       12:21:31
59483      7708738996      5/6/2011         15:36:02
59484      7708739702      9/17/2011        9:21:12
59485      7708739803      8/28/2012        7:26:57
59486      7708739834      9/13/2012        7:33:55
59487      7708739864      2/9/2012         20:35:46
59488      7708739984      9/2/2011         10:49:01
59489      7708751124      6/17/2011        15:07:29
59490      7708756693      2/24/2011        11:36:57
59491      7708756875      2/16/2012        7:15:02
59492      7708757357      1/7/2012         9:08:00
59493      7708757978      3/27/2012        15:01:36
59494      7708758260      6/8/2011         18:28:31
59495      7708759082      4/16/2012        7:23:05
59496      7708764098      4/13/2012        20:44:59
59497      7708809604      9/20/2011        17:40:33
59498      7708811266      10/8/2011        10:47:07
59499      7708821437      9/17/2011        10:14:11
59500      7708821816      12/2/2011        7:43:10
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59501      7708823124      10/14/2011       13:08:54
59502      7708823827      3/2/2012         19:11:55
59503      7708824374      9/21/2011        19:33:16
59504      7708825972      2/17/2012        8:57:57
59505      7708825972      3/16/2012        15:49:59
59506      7708827014      10/25/2012       19:42:54
59507      7708827122      11/17/2011       16:16:40
59508      7708827407      1/19/2012        7:11:22
59509      7708827407      6/6/2012         13:31:06
59510      7708827880      5/12/2014        8:48:16
59511      7708828040      10/22/2011       12:32:48
59512      7708829459      3/2/2012         18:57:54
59513      7708829867      10/3/2012        7:04:29
59514      7708833170      5/30/2012        9:01:44
59515      7708837164      8/31/2012        16:36:07
59516      7708839541      11/2/2011        7:07:38
59517      7708852173      8/16/2011        16:38:25
59518      7708852664      9/28/2011        10:51:01
59519      7708853062      9/30/2011        10:14:54
59520      7708855965      9/13/2011        7:08:38
59521      7708856375      7/25/2012        12:01:12
59522      7708858841      6/23/2012        15:57:08
59523      7708911600      5/12/2011        9:41:06
59524      7708912781      5/25/2012        17:09:05
59525      7708918967      8/8/2012         16:05:55
59526      7708949342      12/2/2011        15:18:15
59527      7708951721      9/8/2011         19:39:00
59528      7708952028      2/28/2012        15:57:33
59529      7708952501      11/12/2011       9:09:22
59530      7708952597      4/30/2012        14:29:02
59531      7708952597      9/29/2012        9:53:17
59532      7708952771      8/26/2011        17:35:03
59533      7708953721      9/21/2011        11:44:44
59534      7708953793      9/21/2012        16:01:50
59535      7708953846      8/31/2012        16:36:15
59536      7708953859      10/29/2011       11:20:20
59537      7708953985      8/8/2012         7:05:14
59538      7708954055      10/26/2011       13:01:38
59539      7708954563      10/24/2011       7:06:30
59540      7708955480      9/20/2011        16:33:41
59541      7708956849      12/10/2011       12:05:01
59542      7708958001      1/30/2012        7:04:28
59543      7708958001      5/13/2012        16:50:56
59544      7708958102      11/12/2011       10:09:54
59545      7708960107      1/28/2012        9:43:59
59546      7708960210      10/8/2012        7:11:42
59547      7708961366      9/4/2012         16:02:30
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59548      7708961466      5/10/2011        19:14:53
59549      7708961807      11/5/2011        10:40:37
59550      7708961837      9/6/2012         12:27:10
59551      7708963003      1/17/2012        18:31:54
59552      7708963753      3/30/2012        16:02:55
59553      7708963753      4/4/2012         18:56:45
59554      7708964418      5/20/2011        17:48:05
59555      7708965695      3/13/2012        18:40:27
59556      7708966997      9/8/2012         11:06:34
59557      7708967821      9/13/2011        7:07:37
59558      7708969928      3/23/2012        19:46:57
59559      7708969980      3/28/2012        16:55:39
59560      7708990255      3/14/2012        19:31:02
59561      7708990525      10/1/2011        10:25:33
59562      7708990772      3/5/2012         7:50:00
59563      7708991087      2/24/2011        11:25:10
59564      7708991087      9/12/2011        13:07:45
59565      7708991313      7/15/2011        17:23:40
59566      7708993262      9/13/2011        17:40:26
59567      7708994186      1/24/2012        17:16:53
59568      7708994343      5/11/2012        7:25:17
59569      7708994531      12/26/2011       9:22:25
59570      7708994699      2/6/2012         16:46:22
59571      7708994699      5/29/2012        17:12:25
59572      7708994793      11/25/2013       7:50:27
59573      7708997380      4/18/2012        7:05:19
59574      7708999865      9/16/2011        14:19:06
59575      7709000107      7/30/2012        18:43:28
59576      7709005461      11/7/2011        7:45:35
59577      7709050789      4/28/2012        8:08:41
59578      7709050873      2/28/2012        7:51:39
59579      7709051271      10/8/2011        10:53:07
59580      7709052480      11/21/2011       7:29:50
59581      7709052480      12/5/2011        8:56:58
59582      7709055885      7/7/2012         10:02:18
59583      7709062286      11/18/2011       12:47:24
59584      7709063246      9/26/2012        15:16:16
59585      7709064104      3/26/2012        18:23:42
59586      7709064995      10/11/2011       16:32:08
59587      7709066939      5/21/2012        7:11:41
59588      7709068081      9/20/2011        17:56:30
59589      7709068081      9/23/2011        7:07:32
59590      7709100582      8/30/2012        17:40:42
59591      7709105762      3/12/2012        19:07:06
59592      7709106473      4/2/2012         7:07:42
59593      7709106780      11/7/2011        7:25:50
59594      7709121270      11/20/2011       11:09:39
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59595      7709121546      8/8/2011         15:04:34
59596      7709122201      11/14/2011       14:17:55
59597      7709122218      8/1/2012         9:07:08
59598      7709122761      5/9/2011         16:56:51
59599      7709124408      3/20/2012        9:02:14
59600      7709127913      7/12/2012        13:08:50
59601      7709128179      10/5/2011        14:03:01
59602      7709128183      10/1/2012        8:11:20
59603      7709401986      3/28/2012        12:34:10
59604      7709406742      9/29/2011        15:04:35
59605      7709409191      9/10/2011        8:15:36
59606      7709490449      7/25/2012        12:04:01
59607      7709612006      1/16/2012        17:10:25
59608      7709838068      9/17/2011        9:26:57
59609      7709900044      3/13/2012        7:07:58
59610      7709903163      9/12/2011        13:11:40
59611      7709905404      2/13/2012        7:03:50
59612      7722005795      5/9/2012         7:59:22
59613      7722015010      3/1/2012         11:44:55
59614      7722041093      10/10/2011       11:43:03
59615      7722041733      4/4/2012         19:11:24
59616      7722043806      5/21/2012        7:08:29
59617      7722043806      5/21/2012        7:35:04
59618      7722044159      5/3/2012         7:08:18
59619      7722050406      1/23/2012        7:09:47
59620      7722090465      3/16/2012        10:15:27
59621      7722091869      10/3/2011        7:17:11
59622      7722092377      5/18/2012        7:06:11
59623      7722142758      3/27/2012        14:51:57
59624      7722154827      10/13/2011       7:23:27
59625      7722156074      11/3/2011        17:01:37
59626      7722159166      10/4/2011        13:33:26
59627      7722241234      4/13/2012        13:18:15
59628      7722247804      4/10/2012        16:08:06
59629      7722330949      12/27/2011       14:35:19
59630      7722335129      9/23/2011        11:34:43
59631      7722335129      10/20/2011       15:23:50
59632      7722338555      9/21/2012        16:06:04
59633      7722338766      9/22/2011        15:47:41
59634      7722379111      10/20/2011       15:22:06
59635      7722400038      12/19/2011       7:39:19
59636      7722404529      9/28/2011        10:05:27
59637      7722609076      10/21/2011       12:25:39
59638      7722631548      10/5/2012        18:26:58
59639      7722850813      2/28/2012        13:27:27
59640      7722857094      10/24/2012       14:42:47
59641      7722913051      5/11/2012        7:08:57
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                                   #:13121

59642      7722935653      3/28/2012        7:25:27
59643      7723210789      3/1/2012         11:45:36
59644      7723211450      6/24/2011        12:04:52
59645      7723214049      10/14/2011       12:48:54
59646      7723214157      11/9/2011        8:51:33
59647      7723215319      5/22/2012        11:34:00
59648      7723239396      9/20/2012        7:06:07
59649      7723240114      10/18/2011       12:03:27
59650      7723240473      11/18/2011       12:36:28
59651      7723325632      10/10/2011       11:42:32
59652      7723327892      10/29/2011       11:29:30
59653      7723328611      7/16/2012        19:43:09
59654      7723410346      9/24/2011        9:30:17
59655      7723411890      9/19/2011        19:27:56
59656      7723417550      10/4/2011        13:16:01
59657      7723417550      11/23/2011       9:34:09
59658      7723424429      9/29/2011        15:49:03
59659      7723427150      10/14/2011       12:43:29
59660      7723427884      3/15/2011        11:39:03
59661      7723491766      9/19/2011        7:11:58
59662      7723536395      4/30/2012        15:05:43
59663      7723594389      3/15/2012        13:47:09
59664      7723598514      9/17/2012        7:41:23
59665      7723598614      9/16/2011        13:23:31
59666      7723608186      9/16/2011        12:59:34
59667      7723609648      8/8/2012         16:10:05
59668      7723612062      8/1/2012         9:07:13
59669      7723613066      7/16/2012        19:44:07
59670      7723613660      12/12/2011       16:28:32
59671      7723614442      7/19/2011        17:17:53
59672      7723615071      6/28/2012        14:25:28
59673      7723615237      2/18/2012        8:43:31
59674      7723615317      4/5/2012         14:21:12
59675      7723615530      10/24/2013       9:08:49
59676      7723615743      3/27/2012        14:59:03
59677      7723615980      2/18/2012        8:34:17
59678      7723803689      6/23/2012        16:17:46
59679      7723806348      3/5/2012         7:10:27
59680      7724181132      1/4/2012         11:15:28
59681      7724182907      10/4/2011        13:32:10
59682      7724183439      10/7/2011        7:25:52
59683      7724465950      12/1/2011        15:21:57
59684      7724533015      12/8/2011        12:20:57
59685      7724536604      2/16/2012        7:05:02
59686      7724755256      10/19/2012       19:01:31
59687      7724800216      12/5/2011        18:06:13
59688      7724853618      4/25/2011        11:57:25
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59689      7724862021      3/19/2012        17:38:48
59690      7725011751      6/29/2012        17:42:02
59691      7725012678      4/17/2012        9:30:03
59692      7725012678      5/3/2012         7:08:46
59693      7725012678      5/19/2012        16:03:45
59694      7725013779      5/8/2012         7:11:06
59695      7725014316      1/10/2012        15:14:29
59696      7725014779      9/23/2011        18:38:55
59697      7725015445      3/19/2012        17:38:33
59698      7725192904      9/4/2012         15:42:01
59699      7725280781      7/18/2012        7:08:24
59700      7725283340      8/18/2011        8:26:38
59701      7725283340      3/12/2012        19:36:31
59702      7725301805      10/26/2011       11:51:33
59703      7725321760      5/6/2011         15:42:21
59704      7725322152      10/8/2011        11:22:55
59705      7725323572      1/27/2012        7:24:03
59706      7725389419      10/5/2011        14:29:22
59707      7725594549      11/3/2011        17:47:00
59708      7725594549      12/8/2011        19:43:19
59709      7725595870      10/8/2011        10:33:30
59710      7725790248      8/24/2011        12:15:58
59711      7725791613      12/1/2011        15:16:53
59712      7725795642      10/3/2012        7:09:12
59713      7725795642      10/8/2012        7:06:26
59714      7725799735      1/11/2012        7:31:04
59715      7725849265      9/6/2011         12:41:48
59716      7726070064      12/20/2011       7:02:57
59717      7726070064      2/6/2012         16:44:51
59718      7726071799      9/19/2011        19:09:14
59719      7726180196      11/7/2011        7:44:58
59720      7726180249      2/8/2012         7:26:21
59721      7726180249      5/21/2012        7:03:46
59722      7726261651      11/18/2011       13:30:40
59723      7726263361      12/7/2011        18:12:45
59724      7726263408      8/30/2012        7:05:44
59725      7726263491      9/3/2012         14:43:29
59726      7726264396      10/13/2012       9:01:51
59727      7726265248      5/13/2012        17:27:54
59728      7726266694      5/26/2012        14:34:50
59729      7726266898      6/24/2012        11:31:36
59730      7726266898      8/7/2012         17:52:11
59731      7726266992      3/6/2012         12:49:22
59732      7726311476      1/11/2012        7:50:25
59733      7726316036      5/18/2012        15:45:14
59734      7726317668      12/23/2011       14:24:23
59735      7726332332      9/25/2012        14:42:51
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59736      7726342055      11/14/2011       16:46:31
59737      7726342940      8/9/2011         13:32:33
59738      7726343513      3/2/2012         18:58:21
59739      7726343629      2/25/2012        10:49:36
59740      7726343933      10/1/2011        10:31:04
59741      7726343933      10/14/2011       12:48:27
59742      7726347577      4/1/2011         11:05:35
59743      7726436239      3/16/2012        16:07:32
59744      7726436239      4/2/2012         17:29:51
59745      7726461816      10/25/2011       15:08:35
59746      7726461816      12/10/2011       11:58:01
59747      7726461842      10/4/2011        13:07:57
59748      7726722211      9/30/2011        10:15:58
59749      7726789577      2/8/2012         13:00:55
59750      7726789693      11/19/2011       8:13:29
59751      7726923301      11/16/2011       7:59:05
59752      7727080886      5/17/2012        16:38:01
59753      7727081509      1/10/2012        15:40:43
59754      7727083698      4/24/2012        12:26:00
59755      7727130959      5/21/2012        7:23:13
59756      7727138244      2/9/2012         7:24:54
59757      7728014988      3/10/2011        17:24:19
59758      7728017870      10/15/2012       9:51:56
59759      7728120339      5/25/2012        17:01:37
59760      7728123552      2/25/2012        10:54:28
59761      7728123552      5/21/2012        7:25:11
59762      7728126147      4/3/2012         15:58:50
59763      7728127980      7/30/2011        8:06:41
59764      7728128982      6/5/2012         7:10:12
59765      7728285924      9/21/2012        16:15:53
59766      7728286578      1/4/2012         12:23:39
59767      7728286748      10/17/2011       7:34:37
59768      7728287405      11/15/2011       15:08:41
59769      7728287570      6/25/2011        8:30:58
59770      7728288015      3/7/2012         7:13:41
59771      7728288202      3/13/2012        18:36:58
59772      7728340559      11/6/2013        7:04:43
59773      7728341639      6/23/2012        8:23:59
59774      7728343427      10/11/2012       18:34:56
59775      7728345077      11/2/2011        7:11:10
59776      7728348257      10/15/2012       10:15:51
59777      7728348656      9/22/2012        9:34:18
59778      7728348656      9/28/2012        16:43:40
59779      7728820061      5/1/2012         8:05:37
59780      7728821131      11/9/2011        7:50:59
59781      7729135434      5/1/2012         17:32:48
59782      7729191698      2/20/2012        7:21:42
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59783      7729244014      12/6/2011        7:35:50
59784      7729401117      2/14/2012        9:54:40
59785      7729401117      3/13/2012        7:14:55
59786      7729401572      10/8/2011        10:55:46
59787      7729402108      9/19/2011        7:22:39
59788      7729402108      10/12/2011       7:25:15
59789      7729402168      3/13/2012        16:53:30
59790      7729403393      9/6/2012         12:27:30
59791      7729403828      4/30/2012        15:06:06
59792      7729403828      5/11/2012        18:39:44
59793      7729407001      3/14/2012        7:02:25
59794      7729711701      2/13/2012        19:11:05
59795      7729712058      6/13/2012        7:08:47
59796      7729714472      3/10/2011        16:32:02
59797      7729719606      11/5/2011        9:26:58
59798      7729793757      9/21/2011        11:22:53
59799      7729852055      11/8/2011        8:14:45
59800      7729853990      1/12/2012        14:13:16
59801      7729854672      5/13/2012        17:11:08
59802      7729854892      10/17/2012       18:28:42
59803      7732032333      11/9/2011        8:54:11
59804      7732092861      11/15/2011       20:08:08
59805      7732096426      10/7/2012        13:00:28
59806      7732098574      5/13/2012        17:35:18
59807      7732098643      7/23/2012        15:32:19
59808      7732137132      1/26/2012        10:00:33
59809      7732162240      12/15/2011       8:46:08
59810      7732162630      1/10/2012        18:06:02
59811      7732164833      2/18/2012        8:45:46
59812      7732166385      10/20/2011       15:38:54
59813      7732168181      11/16/2011       20:04:49
59814      7732200543      12/21/2011       9:58:56
59815      7732202051      12/20/2011       9:22:06
59816      7732204737      2/17/2012        18:20:24
59817      7732209238      2/13/2012        8:03:07
59818      7732209389      1/11/2012        8:56:25
59819      7732251437      10/24/2011       8:05:54
59820      7732251530      5/24/2012        11:54:27
59821      7732252367      8/9/2012         14:12:54
59822      7732254015      2/17/2012        9:17:08
59823      7732254696      1/5/2012         17:29:26
59824      7732254804      12/29/2011       19:27:25
59825      7732254854      8/16/2012        9:25:51
59826      7732264667      11/10/2011       17:24:39
59827      7732267373      4/29/2012        17:47:02
59828      7732301777      3/1/2012         8:52:44
59829      7732302977      1/25/2012        20:28:31
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59830      7732304751      2/29/2012        17:35:22
59831      7732307473      9/17/2011        9:36:24
59832      7732307745      11/26/2011       13:21:52
59833      7732308953      11/16/2011       19:54:02
59834      7732309532      9/1/2012         9:03:38
59835      7732365981      8/4/2011         8:19:54
59836      7732369429      10/19/2012       9:49:16
59837      7732400587      8/6/2012         16:28:02
59838      7732400991      5/8/2012         17:28:55
59839      7732403412      5/31/2012        8:06:52
59840      7732406974      9/16/2011        13:25:14
59841      7732408261      4/24/2012        12:11:03
59842      7732408463      7/12/2011        11:42:47
59843      7732409232      10/7/2011        8:18:31
59844      7732420526      2/28/2012        15:52:48
59845      7732437565      12/5/2011        8:38:24
59846      7732511048      7/15/2011        17:37:52
59847      7732511055      9/21/2011        11:57:39
59848      7732517351      12/13/2011       18:17:35
59849      7732519617      6/7/2012         15:49:00
59850      7732552425      10/25/2011       16:19:19
59851      7732553658      10/7/2012        13:01:16
59852      7732553917      9/16/2011        13:30:39
59853      7732556651      2/6/2012         17:19:22
59854      7732559130      7/19/2012        8:29:52
59855      7732559935      1/13/2012        17:28:05
59856      7732567860      9/19/2012        8:03:04
59857      7732568634      9/29/2011        15:45:52
59858      7732568634      5/21/2012        8:14:03
59859      7732591176      10/15/2012       10:10:12
59860      7732602807      10/23/2012       10:32:56
59861      7732631343      2/9/2012         20:30:40
59862      7732631899      12/20/2011       9:23:41
59863      7732639048      5/2/2012         13:26:28
59864      7732639280      9/27/2011        18:03:28
59865      7732660090      9/30/2011        10:19:54
59866      7732660625      6/21/2012        18:52:28
59867      7732697901      5/23/2012        15:28:56
59868      7732721831      9/13/2011        17:56:00
59869      7732722473      2/28/2012        16:05:31
59870      7732728656      11/16/2011       8:02:32
59871      7732774875      10/10/2012       12:37:15
59872      7732803351      2/13/2012        8:18:36
59873      7732896079      10/6/2012        9:01:09
59874      7732898321      4/26/2012        11:38:13
59875      7732904660      1/24/2012        10:18:16
59876      7732943783      12/5/2011        18:35:32
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59877      7732944102      11/29/2011       15:56:55
59878      7732946500      9/21/2011        11:34:10
59879      7732947348      12/11/2011       12:22:53
59880      7732970076      11/12/2011       9:37:18
59881      7732971166      6/20/2012        9:07:53
59882      7732971565      9/15/2011        8:38:35
59883      7732972017      1/10/2012        18:04:50
59884      7732975532      9/27/2011        18:40:32
59885      7732975997      10/15/2011       10:45:10
59886      7732977200      11/1/2011        8:41:54
59887      7732978480      9/19/2011        19:14:50
59888      7732992502      5/18/2012        11:42:12
59889      7732992502      5/23/2012        16:37:21
59890      7732994067      3/28/2012        8:15:08
59891      7732994644      5/14/2012        8:11:30
59892      7733011616      5/23/2012        14:59:23
59893      7733012112      11/15/2011       15:44:11
59894      7733013871      10/7/2012        13:09:30
59895      7733019822      12/28/2011       8:45:30
59896      7733068703      7/27/2012        13:10:34
59897      7733069974      10/19/2011       12:09:58
59898      7733071163      6/19/2012        13:17:02
59899      7733077456      10/3/2011        8:19:03
59900      7733077456      11/14/2011       17:09:56
59901      7733101480      8/8/2012         16:12:32
59902      7733102001      12/29/2011       19:33:08
59903      7733103154      3/26/2012        18:45:33
59904      7733103842      3/28/2012        18:23:47
59905      7733104222      10/8/2011        11:31:57
59906      7733107310      6/26/2012        8:02:05
59907      7733137867      10/7/2011        8:09:12
59908      7733146872      12/1/2011        15:39:41
59909      7733160268      9/24/2011        9:45:13
59910      7733169893      5/18/2012        16:10:29
59911      7733171159      5/14/2012        15:21:58
59912      7733171476      10/29/2011       10:53:45
59913      7733183589      1/10/2012        12:44:42
59914      7733192194      11/22/2011       18:47:53
59915      7733192694      6/27/2012        12:21:02
59916      7733195113      11/17/2011       16:28:51
59917      7733199325      10/3/2011        8:07:17
59918      7733200872      8/14/2012        20:56:08
59919      7733207619      5/4/2012         14:51:25
59920      7733220004      10/12/2011       8:15:32
59921      7733228305      12/23/2011       14:18:14
59922      7733229879      2/1/2012         18:41:28
59923      7733265175      4/4/2011         13:37:23
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59924      7733265387      4/11/2012        11:34:58
59925      7733291585      11/11/2011       13:47:36
59926      7733296593      7/3/2012         12:25:03
59927      7733296593      7/17/2012        12:28:32
59928      7733296995      5/9/2011         17:27:32
59929      7733297612      9/24/2011        9:45:56
59930      7733307711      2/13/2012        8:13:04
59931      7733314381      9/23/2011        18:48:16
59932      7733316619      5/31/2012        8:10:23
59933      7733318688      10/9/2012        20:00:54
59934      7733319686      6/30/2012        15:54:50
59935      7733319816      10/21/2011       14:40:36
59936      7733323575      11/23/2011       9:40:20
59937      7733323575      5/25/2012        17:03:14
59938      7733325790      11/5/2011        10:05:59
59939      7733328134      12/20/2011       19:37:51
59940      7733396900      9/26/2011        8:43:13
59941      7733418530      11/12/2011       9:38:04
59942      7733432704      9/8/2011         18:10:40
59943      7733442183      3/21/2012        13:51:59
59944      7733442676      5/15/2012        19:02:43
59945      7733445179      1/27/2012        11:58:08
59946      7733445691      6/28/2012        8:04:35
59947      7733446877      9/10/2011        9:09:45
59948      7733448322      8/20/2012        18:38:14
59949      7733448407      11/19/2011       8:59:56
59950      7733448954      8/9/2012         14:17:50
59951      7733490652      9/21/2012        16:08:30
59952      7733495070      9/21/2012        18:42:17
59953      7733496800      2/6/2012         10:14:14
59954      7733508952      11/23/2011       14:56:17
59955      7733541158      3/16/2012        10:29:20
59956      7733544307      10/15/2011       10:38:42
59957      7733544307      11/26/2011       11:45:13
59958      7733550080      9/28/2011        10:31:25
59959      7733550287      10/8/2011        12:03:52
59960      7733559424      10/8/2011        11:53:40
59961      7733660055      2/9/2012         20:30:50
59962      7733661139      12/21/2011       10:17:57
59963      7733662084      1/11/2012        8:48:02
59964      7733662084      2/2/2012         16:38:54
59965      7733664310      5/30/2012        12:41:15
59966      7733665025      10/9/2012        20:01:11
59967      7733675421      5/20/2011        18:11:44
59968      7733679825      8/23/2012        11:40:07
59969      7733681375      10/8/2011        11:55:53
59970      7733684027      7/11/2011        8:20:11
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59971      7733684095      9/23/2011        19:02:23
59972      7733684778      12/12/2011       16:39:22
59973      7733686579      1/3/2012         19:42:57
59974      7733696403      11/11/2011       13:41:21
59975      7733700281      1/7/2012         9:21:05
59976      7733702857      9/10/2013        19:29:39
59977      7733729510      10/3/2011        8:06:17
59978      7733826821      1/7/2012         8:31:01
59979      7733826930      10/20/2012       16:30:26
59980      7733827362      10/25/2011       16:20:04
59981      7733835118      5/11/2012        18:12:08
59982      7733835139      11/12/2011       9:13:05
59983      7733860358      12/26/2011       20:07:31
59984      7733861379      11/15/2011       15:41:33
59985      7733861564      12/9/2011        8:27:50
59986      7733861564      4/3/2012         20:15:36
59987      7733861708      6/30/2012        15:39:28
59988      7733863306      12/24/2011       8:05:31
59989      7733868585      5/21/2012        8:28:43
59990      7733870045      6/20/2012        17:03:23
59991      7733870045      7/3/2012         16:00:45
59992      7733871240      3/13/2012        12:43:08
59993      7733873048      2/11/2012        15:42:16
59994      7733923954      3/9/2012         9:14:09
59995      7733962092      7/21/2012        10:45:10
59996      7733966605      6/10/2012        14:36:47
59997      7733966984      11/5/2011        10:07:42
59998      7733966984      5/13/2012        17:34:00
59999      7733968749      7/3/2012         19:37:25
60000      7733977420      6/16/2012        8:51:44
60001      7733979582      3/20/2012        9:28:02
60002      7733980601      10/5/2011        14:13:26
60003      7733985123      9/20/2011        20:46:33
60004      7734010378      1/4/2012         11:21:16
60005      7734030506      2/12/2012        15:53:03
60006      7734031162      9/20/2011        16:44:32
60007      7734031813      10/31/2011       9:17:29
60008      7734032234      1/25/2012        9:36:44
60009      7734033602      11/17/2011       15:31:51
60010      7734034375      9/12/2011        13:25:40
60011      7734035135      1/16/2012        17:15:41
60012      7734035502      2/3/2012         20:18:37
60013      7734051580      9/9/2011         17:50:18
60014      7734052744      2/10/2012        9:23:32
60015      7734055329      10/4/2011        13:50:12
60016      7734058453      12/10/2011       8:59:01
60017      7734064982      1/28/2012        9:44:12
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                                   #:13129

60018      7734066640      6/14/2012        20:47:29
60019      7734072475      4/17/2012        9:25:26
60020      7734072931      3/14/2012        19:46:37
60021      7734074024      9/10/2011        9:14:44
60022      7734076179      3/19/2012        11:55:25
60023      7734077477      11/28/2011       12:17:16
60024      7734077767      9/3/2012         14:33:53
60025      7734084526      12/29/2011       11:06:07
60026      7734086449      10/20/2011       15:37:29
60027      7734087210      7/16/2012        9:38:06
60028      7734087961      10/21/2011       16:03:27
60029      7734100618      1/27/2012        12:01:39
60030      7734104656      12/28/2011       20:44:00
60031      7734127958      9/29/2012        10:04:16
60032      7734128529      3/27/2012        15:52:35
60033      7734140130      1/6/2012         14:58:46
60034      7734144124      5/31/2012        15:01:07
60035      7734146144      1/18/2012        16:52:10
60036      7734163589      2/18/2012        9:11:23
60037      7734180088      4/10/2012        16:03:18
60038      7734182267      9/8/2011         18:59:56
60039      7734182267      6/4/2012         8:42:57
60040      7734182267      6/17/2012        12:26:45
60041      7734185110      9/11/2012        15:12:43
60042      7734188146      5/8/2012         12:39:15
60043      7734189388      3/10/2011        17:50:43
60044      7734189983      7/20/2012        8:51:50
60045      7734195551      10/16/2012       20:29:31
60046      7734207854      10/8/2011        9:50:00
60047      7734250886      1/12/2012        8:12:22
60048      7734251173      11/1/2011        8:38:43
60049      7734251725      9/24/2011        9:44:52
60050      7734252312      5/23/2012        15:17:31
60051      7734253329      11/21/2011       10:48:10
60052      7734254545      7/20/2012        14:51:45
60053      7734255199      8/30/2012        17:32:34
60054      7734256523      4/15/2014        10:33:03
60055      7734258936      11/11/2011       19:59:45
60056      7734260018      7/19/2012        17:58:48
60057      7734260381      2/20/2012        16:53:18
60058      7734265876      8/18/2013        20:05:12
60059      7734266985      9/13/2011        17:56:34
60060      7734268302      2/16/2012        8:31:09
60061      7734300629      12/3/2011        9:22:12
60062      7734301685      4/18/2012        18:03:16
60063      7734301701      6/28/2012        14:15:14
60064      7734304144      10/20/2011       16:24:35
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                                   #:13130

60065      7734305751      5/5/2012         8:36:14
60066      7734311282      11/11/2011       20:01:47
60067      7734315165      4/24/2012        12:12:08
60068      7734315836      8/8/2012         8:16:36
60069      7734316362      6/5/2012         17:59:02
60070      7734319816      11/8/2011        14:30:26
60071      7734330771      6/23/2012        8:53:59
60072      7734370973      12/18/2011       16:49:03
60073      7734370973      7/16/2012        9:28:14
60074      7734379917      10/15/2011       10:49:53
60075      7734399528      10/3/2012        8:04:31
60076      7734400728      10/24/2011       7:27:45
60077      7734401272      3/29/2012        11:38:27
60078      7734401272      4/18/2012        8:14:37
60079      7734401289      11/11/2011       14:35:34
60080      7734402383      9/29/2011        15:21:36
60081      7734405557      1/6/2012         14:51:23
60082      7734411839      8/5/2011         17:54:05
60083      7734412823      10/5/2011        14:39:57
60084      7734413114      1/18/2012        20:22:11
60085      7734414155      8/3/2012         16:32:00
60086      7734414877      3/16/2012        10:30:40
60087      7734417488      9/14/2011        16:34:31
60088      7734419462      10/5/2011        14:24:35
60089      7734431271      5/11/2011        16:56:36
60090      7734432551      5/12/2011        10:23:20
60091      7734432896      12/24/2011       8:10:48
60092      7734434209      7/7/2012         10:36:01
60093      7734436923      6/30/2011        8:55:22
60094      7734471081      1/6/2012         14:33:10
60095      7734471301      9/27/2011        18:44:49
60096      7734471482      9/26/2012        8:09:44
60097      7734472285      5/25/2012        17:09:47
60098      7734473926      10/25/2011       16:24:36
60099      7734476380      9/1/2011         8:22:23
60100      7734476423      5/19/2012        9:32:47
60101      7734477794      12/26/2011       20:17:28
60102      7734478964      12/21/2011       10:14:57
60103      7734503222      9/29/2011        15:23:42
60104      7734540707      9/8/2011         19:50:25
60105      7734542768      10/4/2011        13:22:44
60106      7734544564      11/3/2011        17:25:22
60107      7734561143      6/9/2012         10:33:04
60108      7734568614      7/14/2011        16:33:16
60109      7734569611      10/7/2011        8:16:28
60110      7734569880      2/20/2012        8:48:50
60111      7734570057      6/16/2012        15:30:43
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60112      7734570076      8/19/2011        12:24:49
60113      7734570705      3/26/2011        12:24:13
60114      7734576055      2/3/2012         20:16:17
60115      7734578981      7/16/2012        19:51:14
60116      7734583412      8/29/2012        11:02:18
60117      7734584080      3/12/2012        19:11:29
60118      7734703387      9/19/2011        19:14:17
60119      7734743252      1/8/2012         13:23:44
60120      7734746242      7/6/2012         14:41:22
60121      7734749310      1/8/2012         13:23:48
60122      7734749893      8/31/2012        16:30:04
60123      7734756419      2/21/2012        17:59:01
60124      7734801063      6/14/2012        16:05:35
60125      7734805102      5/29/2012        17:05:44
60126      7734843137      5/18/2012        12:07:55
60127      7734848720      12/29/2011       19:03:28
60128      7734905108      4/21/2011        12:22:41
60129      7734905905      11/11/2011       20:05:54
60130      7734908652      10/10/2011       11:54:52
60131      7734912611      12/16/2011       15:42:38
60132      7734914488      1/11/2012        16:30:45
60133      7734918438      1/25/2012        20:37:04
60134      7734918959      10/29/2011       11:49:47
60135      7734942620      3/10/2012        8:58:13
60136      7734943837      8/5/2011         18:47:00
60137      7734943932      4/4/2011         13:34:15
60138      7734947446      5/5/2012         8:38:39
60139      7734949344      11/14/2011       17:22:43
60140      7734953833      10/30/2013       8:31:01
60141      7734954010      8/29/2012        11:02:33
60142      7734957719      4/21/2012        16:39:56
60143      7734958582      9/6/2012         12:33:14
60144      7734990350      12/17/2011       12:02:59
60145      7734991162      6/5/2012         17:54:07
60146      7734991162      6/23/2012        16:27:47
60147      7734991282      6/29/2011        17:36:24
60148      7734991282      9/14/2011        9:46:52
60149      7734991282      10/21/2011       14:48:57
60150      7734993011      3/19/2012        11:52:28
60151      7734998587      5/16/2012        17:03:45
60152      7735010222      12/14/2011       17:53:43
60153      7735010678      11/17/2011       15:29:41
60154      7735013074      4/14/2012        13:57:12
60155      7735014442      11/28/2011       12:12:02
60156      7735016004      8/20/2012        10:08:34
60157      7735017319      1/6/2012         15:03:22
60158      7735017603      9/8/2011         18:08:10
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60159      7735030074      9/23/2011        19:02:32
60160      7735030124      2/20/2012        17:21:36
60161      7735030486      2/7/2012         20:23:29
60162      7735036128      11/14/2011       17:20:18
60163      7735039559      6/14/2012        20:54:52
60164      7735044653      12/17/2011       12:10:28
60165      7735049530      9/9/2011         17:51:40
60166      7735051569      10/31/2011       8:46:17
60167      7735052217      1/23/2012        13:57:54
60168      7735052344      2/8/2012         12:57:41
60169      7735071023      2/7/2012         20:23:47
60170      7735071358      12/9/2011        8:27:43
60171      7735073998      9/26/2012        14:36:06
60172      7735074955      5/17/2012        16:35:22
60173      7735075827      5/9/2012         16:13:15
60174      7735079520      1/16/2012        17:30:53
60175      7735079904      9/13/2012        15:22:20
60176      7735079935      7/30/2012        13:19:37
60177      7735100076      12/20/2011       17:12:46
60178      7735108242      10/26/2013       15:06:58
60179      7735108242      12/7/2013        20:19:29
60180      7735109831      12/18/2011       16:17:06
60181      7735120426      2/8/2012         12:58:22
60182      7735120944      3/13/2012        12:49:03
60183      7735124385      10/25/2011       15:33:38
60184      7735126834      10/25/2012       12:15:40
60185      7735128429      8/20/2011        8:47:55
60186      7735139745      10/3/2011        8:22:51
60187      7735160721      9/13/2011        16:20:03
60188      7735168284      2/10/2012        9:22:03
60189      7735168778      12/20/2011       15:09:15
60190      7735168778      5/14/2012        15:44:07
60191      7735168778      5/21/2012        8:19:19
60192      7735170105      3/17/2012        8:59:45
60193      7735171850      10/6/2011        16:36:00
60194      7735174827      10/22/2011       12:42:15
60195      7735175095      11/23/2011       10:31:36
60196      7735178664      8/4/2012         8:01:17
60197      7735179124      7/14/2011        16:20:00
60198      7735203533      11/15/2011       15:29:33
60199      7735261353      9/24/2011        9:50:16
60200      7735261521      9/4/2012         16:00:22
60201      7735268622      12/20/2011       19:35:23
60202      7735268622      3/15/2012        18:59:01
60203      7735268779      9/17/2011        10:21:50
60204      7735278118      5/31/2012        15:01:16
60205      7735278938      4/9/2012         13:47:24
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60206      7735278938      6/7/2012         12:46:05
60207      7735278962      11/3/2011        17:16:02
60208      7735279055      9/30/2011        9:57:16
60209      7735310759      8/23/2011        19:19:06
60210      7735317264      5/7/2011         15:06:15
60211      7735318800      1/27/2012        17:46:45
60212      7735329751      2/28/2012        13:03:20
60213      7735401014      7/28/2012        9:01:25
60214      7735407487      6/7/2012         12:38:56
60215      7735407829      4/6/2012         15:43:56
60216      7735409011      8/14/2012        11:50:05
60217      7735409019      8/15/2012        12:24:10
60218      7735409939      9/19/2011        19:31:26
60219      7735430074      10/11/2011       17:30:10
60220      7735430711      3/17/2012        8:55:31
60221      7735430711      5/16/2012        16:55:39
60222      7735435503      9/19/2011        19:31:56
60223      7735437631      4/7/2012         9:29:53
60224      7735439972      9/21/2012        15:55:52
60225      7735440788      6/29/2012        17:49:51
60226      7735444213      6/19/2012        15:43:24
60227      7735447845      4/18/2012        17:50:25
60228      7735448156      4/9/2012         13:32:39
60229      7735448300      12/20/2011       9:24:03
60230      7735448351      7/6/2012         16:46:51
60231      7735468979      9/28/2011        10:36:30
60232      7735471153      10/23/2012       18:50:18
60233      7735471517      1/11/2012        16:23:45
60234      7735472772      12/9/2011        8:06:08
60235      7735505180      11/14/2011       15:15:21
60236      7735507393      8/13/2012        20:53:31
60237      7735511182      11/7/2011        8:19:51
60238      7735517180      5/16/2012        16:51:10
60239      7735517993      6/8/2012         8:07:25
60240      7735520665      5/17/2012        12:01:15
60241      7735523256      10/27/2011       16:46:51
60242      7735525117      11/1/2011        8:52:05
60243      7735530427      1/5/2012         17:30:41
60244      7735541476      8/25/2011        17:00:12
60245      7735566737      1/12/2012        14:18:38
60246      7735567780      10/17/2011       8:37:37
60247      7735568000      3/14/2012        19:35:41
60248      7735568083      12/28/2011       8:45:02
60249      7735576692      3/7/2012         18:55:44
60250      7735578781      5/15/2012        8:44:08
60251      7735579303      11/19/2011       8:26:49
60252      7735581106      8/4/2011         8:05:47
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60253      7735581318      12/12/2011       16:23:23
60254      7735585107      11/9/2011        8:02:43
60255      7735585141      11/25/2011       18:24:49
60256      7735588741      3/27/2012        7:05:18
60257      7735592918      10/9/2012        20:00:35
60258      7735592918      10/25/2012       12:15:00
60259      7735595171      12/26/2011       20:28:10
60260      7735595511      9/3/2012         14:35:18
60261      7735597135      4/18/2012        17:49:56
60262      7735629308      2/28/2012        13:16:02
60263      7735629852      9/8/2011         19:31:23
60264      7735631851      9/19/2011        19:12:40
60265      7735632114      2/2/2012         16:32:18
60266      7735634785      9/17/2011        9:43:43
60267      7735670185      2/3/2012         8:41:14
60268      7735671973      3/8/2012         20:26:48
60269      7735673166      10/15/2012       16:21:54
60270      7735673358      1/20/2012        11:46:45
60271      7735678547      12/21/2011       19:54:57
60272      7735678800      6/22/2012        20:57:30
60273      7735679241      9/13/2011        17:47:53
60274      7735692765      4/12/2012        18:21:10
60275      7735715472      10/18/2012       8:07:51
60276      7735717226      5/5/2011         13:22:00
60277      7735718040      9/12/2011        12:59:22
60278      7735718440      9/7/2011         14:43:34
60279      7735732946      9/13/2011        16:13:22
60280      7735733572      7/31/2012        15:37:38
60281      7735733572      10/16/2012       20:36:07
60282      7735735974      8/30/2012        17:45:52
60283      7735736016      10/27/2011       16:00:55
60284      7735747757      3/2/2012         19:14:19
60285      7735752973      4/7/2012         9:40:37
60286      7735770674      1/30/2012        8:11:29
60287      7735770916      2/7/2012         20:23:59
60288      7735774882      11/15/2011       20:16:02
60289      7735776869      7/27/2012        15:25:26
60290      7735801599      8/29/2012        11:11:29
60291      7735807908      2/21/2012        9:45:09
60292      7735808323      9/14/2011        12:19:36
60293      7735842145      12/18/2011       17:44:42
60294      7735875302      9/10/2011        8:34:59
60295      7735876090      4/12/2012        17:57:50
60296      7735879042      4/23/2012        8:24:11
60297      7735925480      6/11/2012        18:03:24
60298      7735928618      5/4/2012         15:09:34
60299      7735930450      7/23/2012        15:31:36
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1285 of 1863 Page ID
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60300      7735931004      3/25/2012        12:00:02
60301      7735931544      12/29/2011       11:11:58
60302      7735934858      9/13/2011        17:52:32
60303      7735939389      9/27/2011        18:13:10
60304      7735951364      10/15/2011       10:52:38
60305      7735952784      9/6/2011         12:55:19
60306      7735955213      10/24/2011       8:12:33
60307      7735959797      2/9/2012         20:34:50
60308      7735960992      1/9/2012         8:14:54
60309      7735964706      9/23/2011        11:19:32
60310      7735964887      8/1/2011         19:21:53
60311      7735977709      3/1/2014         15:08:05
60312      7735986354      2/3/2012         20:17:36
60313      7736000594      10/5/2011        14:39:44
60314      7736002276      10/9/2012        20:04:30
60315      7736002439      5/22/2012        11:32:32
60316      7736002439      5/25/2012        17:02:58
60317      7736002707      10/8/2011        11:45:23
60318      7736007420      1/19/2012        18:42:36
60319      7736007420      6/16/2012        15:30:49
60320      7736007689      12/31/2011       12:04:30
60321      7736008130      9/10/2011        9:14:48
60322      7736008391      9/28/2011        10:12:59
60323      7736009211      5/27/2011        9:02:36
60324      7736030548      10/13/2011       8:21:03
60325      7736035278      7/29/2011        20:20:33
60326      7736039982      10/12/2011       12:13:36
60327      7736063694      10/5/2011        14:44:23
60328      7736067107      8/14/2012        11:38:20
60329      7736068351      3/15/2012        19:07:54
60330      7736068362      2/13/2012        18:29:18
60331      7736102524      8/13/2011        10:23:24
60332      7736103858      5/7/2012         8:19:59
60333      7736120134      4/11/2012        19:36:49
60334      7736120406      12/28/2013       14:57:44
60335      7736120811      11/8/2011        14:38:16
60336      7736140987      5/20/2011        17:58:51
60337      7736142594      9/23/2011        11:47:47
60338      7736142906      2/11/2012        11:21:19
60339      7736152742      10/7/2011        8:14:19
60340      7736155291      4/25/2012        9:43:17
60341      7736156203      9/20/2011        16:45:57
60342      7736156603      1/3/2012         19:50:58
60343      7736156934      5/4/2012         20:57:30
60344      7736157247      7/25/2013        20:31:27
60345      7736157521      9/27/2011        15:28:30
60346      7736158785      5/4/2012         14:54:01
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60347      7736158810      11/7/2011        9:28:18
60348      7736161163      4/17/2012        9:26:21
60349      7736161947      3/23/2012        14:44:01
60350      7736165234      4/7/2012         9:11:12
60351      7736165234      4/19/2012        15:09:20
60352      7736165930      12/31/2011       11:48:32
60353      7736169356      10/24/2011       8:14:06
60354      7736178090      5/17/2012        17:03:32
60355      7736191242      8/10/2012        8:25:25
60356      7736192156      9/17/2011        9:44:51
60357      7736200581      9/21/2011        11:56:06
60358      7736206351      10/10/2012       19:15:07
60359      7736207146      11/8/2011        14:29:46
60360      7736213014      9/10/2011        9:17:17
60361      7736216093      4/28/2012        8:08:21
60362      7736218480      5/21/2012        8:57:17
60363      7736222215      12/15/2011       8:19:55
60364      7736271000      12/29/2011       18:58:47
60365      7736271820      9/24/2011        9:48:43
60366      7736271880      1/14/2012        8:09:16
60367      7736276964      1/20/2012        11:46:39
60368      7736279793      2/3/2012         8:37:22
60369      7736289265      6/27/2012        12:17:41
60370      7736291088      2/3/2012         8:37:37
60371      7736291088      2/17/2012        9:16:02
60372      7736291252      2/10/2012        20:34:17
60373      7736299146      12/2/2011        15:26:34
60374      7736302483      10/10/2011       12:47:26
60375      7736302483      10/17/2011       8:11:11
60376      7736302633      6/13/2012        8:05:25
60377      7736303777      11/9/2011        8:29:16
60378      7736304745      10/9/2012        11:43:28
60379      7736361952      4/17/2012        9:38:01
60380      7736400572      1/9/2012         18:42:12
60381      7736401310      5/23/2012        16:24:21
60382      7736401408      12/10/2011       12:23:40
60383      7736404056      10/14/2011       12:59:12
60384      7736425451      12/28/2011       13:19:12
60385      7736427020      10/25/2011       16:33:25
60386      7736427839      11/11/2011       20:02:58
60387      7736470136      1/3/2012         11:17:31
60388      7736470136      1/29/2012        17:11:37
60389      7736474206      12/1/2011        15:27:50
60390      7736475491      5/22/2012        11:33:23
60391      7736480419      11/7/2011        8:05:26
60392      7736530953      5/29/2012        17:05:59
60393      7736534030      10/11/2011       17:31:42
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60394      7736535157      8/13/2011        10:21:42
60395      7736536634      8/13/2012        8:29:04
60396      7736537186      9/21/2011        19:31:11
60397      7736538708      2/3/2012         20:03:37
60398      7736539880      5/8/2012         17:25:19
60399      7736551466      9/14/2011        19:38:56
60400      7736554356      7/20/2012        19:49:42
60401      7736555212      1/13/2012        17:23:25
60402      7736555265      9/21/2011        11:32:04
60403      7736556335      1/5/2012         17:29:35
60404      7736562900      5/22/2012        11:57:21
60405      7736568221      10/18/2012       8:05:31
60406      7736569287      1/7/2012         9:33:54
60407      7736569809      10/11/2011       17:15:39
60408      7736570404      11/15/2011       20:08:47
60409      7736571072      10/19/2011       12:21:28
60410      7736584319      3/7/2012         18:31:17
60411      7736584609      3/12/2012        16:53:00
60412      7736585724      11/29/2011       15:38:57
60413      7736585826      1/5/2012         17:28:47
60414      7736617362      9/15/2011        9:02:35
60415      7736636737      12/9/2011        8:12:14
60416      7736637086      7/27/2012        15:33:03
60417      7736637515      9/19/2011        19:12:52
60418      7736637877      6/6/2012         8:21:33
60419      7736638419      10/24/2012       15:15:08
60420      7736639303      7/26/2012        12:18:56
60421      7736645485      9/17/2011        9:38:14
60422      7736645485      10/12/2011       8:38:02
60423      7736645628      2/9/2012         20:30:51
60424      7736645691      10/5/2011        14:13:36
60425      7736649607      10/7/2011        8:14:32
60426      7736649607      10/20/2011       15:40:10
60427      7736683327      4/23/2012        20:50:35
60428      7736683479      11/20/2011       11:08:32
60429      7736685321      10/20/2011       15:34:36
60430      7736685585      11/30/2011       8:03:38
60431      7736711938      12/5/2011        18:58:15
60432      7736712274      11/30/2011       7:09:35
60433      7736712874      4/15/2012        17:13:21
60434      7736730696      1/26/2012        9:57:53
60435      7736730893      9/2/2013         16:24:36
60436      7736734181      12/17/2011       11:24:01
60437      7736736004      1/4/2012         11:05:44
60438      7736736919      9/26/2011        9:47:39
60439      7736738421      11/28/2011       11:27:54
60440      7736763768      5/12/2012        13:52:00
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60441      7736764435      11/17/2011       14:29:50
60442      7736764483      3/1/2012         8:52:04
60443      7736765907      5/7/2011         15:40:33
60444      7736775189      9/3/2012         14:35:31
60445      7736777577      1/14/2012        8:27:37
60446      7736779919      12/11/2011       12:24:30
60447      7736782576      10/11/2011       17:16:46
60448      7736786422      10/14/2011       13:27:32
60449      7736786457      10/5/2012        12:40:41
60450      7736787573      9/22/2012        9:38:20
60451      7736787770      5/14/2011        11:57:03
60452      7736790417      8/8/2012         8:16:56
60453      7736791908      5/27/2011        17:07:00
60454      7736791993      8/29/2012        20:18:53
60455      7736792515      4/12/2012        12:20:34
60456      7736794422      7/23/2012        13:08:34
60457      7736794868      12/20/2011       19:35:57
60458      7736796803      1/25/2012        20:33:38
60459      7736797624      3/24/2012        9:46:57
60460      7736797708      10/29/2011       11:44:18
60461      7736798079      5/16/2012        16:50:09
60462      7736800719      10/11/2011       17:25:26
60463      7736805542      10/6/2011        17:40:54
60464      7736808503      9/28/2012        16:38:27
60465      7736812994      1/17/2012        20:26:04
60466      7736816552      2/28/2012        13:17:28
60467      7736816640      8/23/2011        18:14:07
60468      7736822147      1/19/2012        8:06:31
60469      7736836005      10/22/2011       12:37:47
60470      7736908475      4/5/2012         13:57:47
60471      7736911616      10/11/2011       16:15:12
60472      7736918835      3/8/2012         20:44:42
60473      7736984125      11/17/2011       14:13:28
60474      7736985227      7/20/2012        15:05:52
60475      7736985309      3/12/2012        11:22:06
60476      7736990040      10/3/2012        19:52:34
60477      7736990213      10/25/2012       12:26:53
60478      7736990294      9/19/2011        19:34:42
60479      7736991779      4/2/2012         17:43:11
60480      7736994654      10/19/2011       8:16:31
60481      7736994654      11/15/2011       20:19:08
60482      7736996053      12/7/2011        13:36:01
60483      7736997528      10/18/2011       12:59:11
60484      7737010020      12/30/2011       8:43:12
60485      7737010351      9/8/2011         19:48:53
60486      7737013737      7/11/2011        8:20:46
60487      7737013873      1/18/2012        20:21:32
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60488      7737018196      12/24/2011       8:19:20
60489      7737018371      10/3/2011        8:14:16
60490      7737018398      9/13/2011        13:33:08
60491      7737033867      2/6/2012         10:00:23
60492      7737036316      10/14/2012       15:12:00
60493      7737036524      11/9/2011        8:10:55
60494      7737037610      10/19/2011       8:04:19
60495      7737037969      2/24/2012        20:52:19
60496      7737040090      5/21/2012        9:04:13
60497      7737041733      10/3/2011        8:22:50
60498      7737043532      5/23/2012        16:51:01
60499      7737044618      1/13/2012        8:05:46
60500      7737045352      6/25/2012        13:26:24
60501      7737047587      2/7/2012         8:09:38
60502      7737047587      2/14/2012        16:41:14
60503      7737048691      6/16/2012        8:48:47
60504      7737060325      12/6/2011        12:58:55
60505      7737068179      9/21/2011        19:34:30
60506      7737069027      6/11/2012        8:16:42
60507      7737069686      9/26/2011        9:44:30
60508      7737070077      8/31/2012        16:38:39
60509      7737071589      10/5/2012        18:20:42
60510      7737072498      1/16/2012        17:33:28
60511      7737074425      10/22/2013       13:34:49
60512      7737078899      11/5/2011        10:46:09
60513      7737088382      7/16/2012        9:38:29
60514      7737090127      7/10/2012        11:59:17
60515      7737090342      9/27/2011        18:13:15
60516      7737090414      9/26/2011        9:30:32
60517      7737091422      9/27/2011        18:47:22
60518      7737091785      4/4/2012         8:20:16
60519      7737091862      1/17/2012        18:45:05
60520      7737092656      7/26/2012        19:21:39
60521      7737094340      9/8/2011         19:32:13
60522      7737094771      10/22/2011       12:43:04
60523      7737097635      10/9/2012        20:03:05
60524      7737102487      5/2/2012         13:29:22
60525      7737108122      4/13/2012        13:41:33
60526      7737120146      10/21/2011       16:02:42
60527      7737121109      11/15/2011       16:25:11
60528      7737123070      9/25/2012        14:45:32
60529      7737123121      10/19/2011       15:29:25
60530      7737123370      6/5/2012         19:49:16
60531      7737126044      10/23/2012       18:49:57
60532      7737127437      10/5/2011        14:43:13
60533      7737128010      5/14/2012        8:06:23
60534      7737128067      4/24/2012        12:10:10
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60535      7737128067      7/13/2012        17:07:59
60536      7737151631      6/2/2012         13:09:10
60537      7737164035      11/19/2011       9:07:34
60538      7737164327      12/12/2011       16:36:59
60539      7737168334      11/16/2011       9:52:33
60540      7737168637      8/30/2012        9:46:57
60541      7737169472      6/16/2012        15:32:35
60542      7737173632      5/8/2012         12:33:36
60543      7737181852      3/2/2012         9:09:44
60544      7737192076      10/24/2012       15:04:10
60545      7737195508      9/24/2012        18:56:02
60546      7737199258      2/9/2012         9:45:45
60547      7737240882      12/31/2011       12:06:43
60548      7737248814      9/30/2011        10:03:47
60549      7737248814      10/20/2011       15:34:44
60550      7737261374      7/24/2012        14:37:25
60551      7737261919      12/7/2011        14:08:29
60552      7737264087      1/5/2012         15:09:20
60553      7737266173      8/3/2012         12:41:22
60554      7737266625      9/15/2012        8:23:32
60555      7737269421      2/17/2012        18:20:34
60556      7737271750      10/4/2011        13:17:45
60557      7737277235      10/8/2011        10:03:13
60558      7737279230      10/16/2012       8:44:28
60559      7737326758      8/15/2012        12:28:50
60560      7737329958      8/17/2012        8:27:13
60561      7737331505      1/9/2012         8:15:42
60562      7737331621      10/18/2011       18:59:09
60563      7737336397      1/26/2012        9:58:27
60564      7737396347      9/14/2011        12:12:01
60565      7737422535      12/21/2011       19:55:00
60566      7737422535      3/14/2012        19:34:51
60567      7737423457      1/10/2012        15:19:37
60568      7737424429      10/4/2011        13:50:46
60569      7737424981      1/27/2012        9:43:58
60570      7737428585      10/12/2011       8:19:12
60571      7737429475      9/22/2011        16:10:20
60572      7737429747      5/11/2012        12:26:19
60573      7737440231      6/21/2012        10:19:48
60574      7737441325      12/21/2011       10:44:39
60575      7737449056      1/12/2012        14:17:04
60576      7737461422      7/27/2011        17:30:26
60577      7737469576      11/1/2011        8:13:22
60578      7737471290      4/9/2012         13:47:45
60579      7737471591      3/14/2012        19:35:03
60580      7737472303      4/10/2012        11:42:38
60581      7737472985      10/14/2011       13:30:46
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60582      7737492592      7/30/2012        13:35:00
60583      7737493413      4/3/2012         20:16:08
60584      7737502515      10/18/2011       12:24:07
60585      7737502515      11/16/2011       20:11:47
60586      7737509730      9/14/2011        12:03:53
60587      7737518519      7/3/2012         15:58:39
60588      7737542099      9/26/2011        9:28:31
60589      7737546514      7/17/2013        18:43:55
60590      7737549133      3/15/2012        18:56:57
60591      7737549133      5/21/2012        8:16:52
60592      7737549259      12/3/2013        11:20:44
60593      7737549654      1/11/2012        16:22:13
60594      7737549681      1/4/2012         20:14:54
60595      7737566437      9/12/2011        14:18:16
60596      7737566655      10/14/2011       13:28:09
60597      7737568033      4/26/2012        11:37:39
60598      7737573330      8/8/2013         15:30:34
60599      7737590825      4/9/2011         13:37:51
60600      7737595431      12/29/2011       11:07:57
60601      7737596155      7/2/2012         15:04:22
60602      7737664306      11/18/2011       12:29:15
60603      7737664794      11/1/2011        8:39:33
60604      7737688855      1/25/2012        9:22:57
60605      7737768220      10/13/2011       8:22:37
60606      7737789029      1/20/2012        20:27:53
60607      7737807164      12/23/2011       15:11:38
60608      7737873328      8/24/2012        18:10:41
60609      7737873956      9/23/2011        11:14:31
60610      7737876077      4/17/2012        9:36:54
60611      7737878272      12/14/2011       18:01:52
60612      7737879483      5/2/2011         18:09:18
60613      7737907253      3/6/2012         20:30:25
60614      7737907424      11/8/2011        13:59:57
60615      7737916152      10/22/2011       13:11:01
60616      7737916601      4/26/2012        17:33:24
60617      7737917659      11/25/2011       17:42:40
60618      7737931157      2/11/2012        11:21:17
60619      7737932108      9/28/2012        16:41:36
60620      7737938913      11/9/2011        8:29:04
60621      7737980211      5/21/2012        8:14:19
60622      7737986298      10/15/2011       10:47:10
60623      7737990861      2/21/2012        9:34:20
60624      7737994367      1/8/2012         13:12:08
60625      7737995892      5/17/2011        9:39:47
60626      7738023547      3/21/2012        13:53:59
60627      7738027688      1/13/2012        17:27:48
60628      7738027688      3/30/2012        10:07:52
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                                   #:13142

60629      7738072348      12/19/2011       8:03:15
60630      7738080463      9/28/2011        10:33:15
60631      7738080567      12/18/2011       16:21:40
60632      7738084037      3/26/2012        15:00:08
60633      7738088635      5/13/2011        11:37:10
60634      7738092179      7/9/2011         8:23:51
60635      7738092429      10/31/2011       9:16:20
60636      7738120013      6/18/2012        15:33:39
60637      7738120188      3/10/2011        17:43:46
60638      7738123718      10/31/2011       9:17:02
60639      7738124362      8/9/2012         14:02:21
60640      7738125073      9/19/2011        19:14:40
60641      7738125315      6/14/2012        15:59:27
60642      7738128699      5/23/2012        15:00:25
60643      7738141077      3/8/2012         9:36:15
60644      7738146525      1/18/2012        9:51:32
60645      7738147289      10/24/2011       8:15:49
60646      7738147899      5/5/2012         8:30:59
60647      7738149500      3/24/2012        10:33:17
60648      7738150464      8/16/2012        19:54:06
60649      7738160707      3/23/2012        14:45:22
60650      7738161411      6/9/2012         15:09:26
60651      7738161411      7/30/2012        18:40:20
60652      7738161633      1/24/2012        17:23:41
60653      7738161633      7/21/2012        10:50:00
60654      7738162070      11/19/2011       8:59:14
60655      7738163910      1/8/2012         13:15:29
60656      7738166838      9/23/2011        11:12:51
60657      7738169180      10/8/2012        20:06:40
60658      7738179729      9/28/2011        11:19:59
60659      7738179978      10/29/2011       10:49:35
60660      7738182684      9/17/2011        9:39:53
60661      7738188307      12/10/2011       14:11:18
60662      7738221214      11/5/2011        10:05:00
60663      7738222000      10/24/2012       15:13:31
60664      7738222003      10/28/2011       13:34:18
60665      7738222819      3/30/2012        16:17:28
60666      7738238401      4/5/2012         13:57:06
60667      7738240470      9/8/2011         19:32:25
60668      7738240881      9/18/2012        14:19:22
60669      7738241105      6/27/2012        12:06:15
60670      7738245402      1/30/2012        8:10:21
60671      7738246454      1/25/2012        20:25:15
60672      7738247937      12/23/2011       15:50:49
60673      7738262492      10/29/2011       10:43:18
60674      7738272016      9/5/2012         15:24:34
60675      7738276287      9/23/2011        11:41:55
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60676      7738276488      10/3/2011        8:23:25
60677      7738276575      5/5/2012         8:10:02
60678      7738281129      9/10/2011        8:41:04
60679      7738291232      6/6/2012         8:19:38
60680      7738293023      11/1/2011        8:47:01
60681      7738293416      11/23/2011       14:42:47
60682      7738293497      6/20/2012        17:00:57
60683      7738417420      8/9/2012         14:12:58
60684      7738426714      9/26/2011        9:39:11
60685      7738426714      10/24/2011       8:10:34
60686      7738426883      12/10/2011       12:16:26
60687      7738429536      11/2/2011        14:13:23
60688      7738442255      10/8/2011        11:41:42
60689      7738443632      10/15/2012       16:21:32
60690      7738446954      3/16/2012        15:48:43
60691      7738448871      11/3/2011        11:59:33
60692      7738475771      5/12/2012        8:48:17
60693      7738476686      4/25/2011        13:51:44
60694      7738483711      9/23/2011        18:48:25
60695      7738484207      4/5/2012         13:58:37
60696      7738507827      1/20/2012        20:28:07
60697      7738513683      3/6/2012         15:48:55
60698      7738513855      12/27/2011       14:19:21
60699      7738517619      9/3/2012         14:33:58
60700      7738518225      8/13/2012        20:53:52
60701      7738536218      8/2/2012         11:37:09
60702      7738537374      10/7/2011        8:14:16
60703      7738589519      11/17/2011       14:14:10
60704      7738609002      3/22/2012        8:07:05
60705      7738655283      6/5/2012         14:46:56
60706      7738679153      10/3/2011        8:08:14
60707      7738701161      12/20/2011       17:19:58
60708      7738701529      11/15/2011       20:08:07
60709      7738704316      12/29/2011       14:11:10
60710      7738704482      12/5/2011        8:38:17
60711      7738705259      5/21/2012        8:10:30
60712      7738705523      5/15/2012        8:40:33
60713      7738707223      5/11/2012        18:39:27
60714      7738707223      5/18/2012        16:11:03
60715      7738708008      11/20/2011       11:08:48
60716      7738709373      10/10/2012       12:56:12
60717      7738754915      10/3/2011        8:19:39
60718      7738760817      2/14/2012        16:51:21
60719      7738761295      1/3/2012         19:48:18
60720      7738761376      1/9/2012         18:12:38
60721      7738765673      2/10/2012        20:41:32
60722      7738767505      4/1/2011         11:33:41
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60723      7738768298      11/5/2011        10:08:55
60724      7738768942      11/14/2011       17:09:08
60725      7738769296      9/23/2011        11:17:41
60726      7738772184      8/17/2011        18:49:28
60727      7738778604      5/10/2012        15:03:31
60728      7738778604      5/29/2012        17:06:15
60729      7738779541      3/7/2012         18:42:36
60730      7738797979      3/22/2012        14:27:04
60731      7738825430      11/14/2011       17:17:01
60732      7738850472      4/25/2011        12:53:38
60733      7738852927      10/24/2011       7:27:43
60734      7738855460      2/9/2012         20:37:00
60735      7738858176      4/3/2012         15:18:28
60736      7738858915      3/7/2012         9:45:02
60737      7738860528      3/10/2011        16:34:23
60738      7738860631      10/15/2011       9:35:31
60739      7738928498      4/19/2012        20:14:22
60740      7738951166      9/24/2012        19:07:15
60741      7738954208      11/14/2011       17:05:38
60742      7738954398      5/3/2012         8:17:27
60743      7738954594      3/2/2012         9:36:23
60744      7738959125      9/20/2011        16:47:04
60745      7738959297      9/20/2011        16:49:20
60746      7738968244      9/13/2011        16:11:28
60747      7738993983      1/24/2012        17:22:39
60748      7738994422      9/19/2011        19:17:49
60749      7739028240      5/17/2012        12:01:05
60750      7739028240      5/21/2012        8:04:30
60751      7739028240      5/21/2012        8:19:56
60752      7739082202      5/13/2012        14:27:58
60753      7739084815      6/2/2012         12:47:32
60754      7739103310      3/26/2011        12:28:33
60755      7739107852      4/5/2012         16:22:21
60756      7739109015      5/7/2012         17:55:10
60757      7739193138      11/23/2011       14:57:50
60758      7739208198      11/16/2011       9:46:48
60759      7739300252      10/16/2012       16:40:19
60760      7739302053      4/10/2012        12:04:57
60761      7739310828      3/14/2012        19:35:36
60762      7739314607      8/20/2012        18:45:36
60763      7739316113      11/7/2011        10:59:45
60764      7739344920      10/13/2011       8:24:52
60765      7739347115      5/21/2012        17:46:23
60766      7739347115      6/7/2012         18:30:05
60767      7739347582      12/27/2011       14:20:29
60768      7739348415      4/18/2012        8:08:10
60769      7739348415      5/21/2012        8:18:12
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60770      7739349388      1/25/2012        9:22:51
60771      7739363286      11/18/2011       13:33:05
60772      7739365340      11/19/2011       9:06:31
60773      7739367415      10/22/2011       12:38:37
60774      7739367816      4/9/2012         13:45:49
60775      7739375490      1/11/2012        8:53:25
60776      7739406396      1/27/2012        18:04:45
60777      7739407070      10/12/2011       8:41:18
60778      7739411433      9/25/2012        15:18:01
60779      7739412942      11/20/2011       11:06:01
60780      7739413590      3/11/2011        16:52:55
60781      7739413902      2/17/2012        9:18:11
60782      7739432946      8/30/2012        9:48:20
60783      7739461086      9/8/2011         19:30:48
60784      7739462556      3/14/2012        20:00:17
60785      7739468588      6/22/2012        20:57:39
60786      7739469812      10/27/2011       16:01:16
60787      7739481753      12/19/2011       8:15:26
60788      7739495657      12/16/2011       16:24:48
60789      7739495657      4/9/2012         13:45:45
60790      7739517078      9/28/2012        16:44:26
60791      7739520655      1/7/2012         8:27:41
60792      7739529225      12/7/2011        14:12:42
60793      7739529958      2/9/2012         9:35:35
60794      7739530904      5/7/2012         8:18:59
60795      7739546048      3/12/2012        11:20:45
60796      7739546768      11/16/2011       10:37:48
60797      7739548069      7/3/2012         12:19:21
60798      7739578114      11/3/2011        17:57:21
60799      7739579781      9/11/2012        15:12:55
60800      7739604941      11/16/2011       20:05:19
60801      7739627540      3/6/2012         20:29:44
60802      7739627540      5/21/2012        8:02:38
60803      7739627970      2/28/2012        13:03:53
60804      7739634009      10/1/2011        10:50:23
60805      7739636664      3/29/2012        12:50:06
60806      7739636996      10/14/2011       13:25:59
60807      7739639788      10/10/2012       12:48:47
60808      7739641140      5/30/2012        12:51:42
60809      7739642212      1/7/2012         8:27:22
60810      7739642415      3/2/2012         18:49:47
60811      7739643608      3/10/2011        16:27:03
60812      7739645453      8/14/2012        11:39:25
60813      7739645601      7/16/2012        9:35:22
60814      7739649138      9/3/2012         14:32:59
60815      7739649138      9/24/2012        19:09:44
60816      7739669648      7/17/2012        12:27:40
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60817      7739685209      11/3/2011        17:57:52
60818      7739686418      7/24/2012        20:32:56
60819      7739690684      8/17/2012        8:18:33
60820      7739700617      10/5/2011        14:42:41
60821      7739701024      8/3/2012         12:28:40
60822      7739703391      1/6/2012         15:00:13
60823      7739710205      9/13/2011        13:33:02
60824      7739714405      2/24/2011        11:54:02
60825      7739717225      4/19/2012        14:40:09
60826      7739721672      10/13/2011       8:34:29
60827      7739779331      1/11/2012        8:50:28
60828      7739779416      11/28/2011       11:36:21
60829      7739791938      11/22/2011       19:33:38
60830      7739804141      3/7/2012         9:44:42
60831      7739810895      9/18/2012        14:28:26
60832      7739813174      7/18/2011        11:08:31
60833      7739814035      2/14/2012        10:06:20
60834      7739817811      6/15/2012        16:23:47
60835      7739830923      9/22/2011        15:20:58
60836      7739830980      5/16/2011        12:37:31
60837      7739836621      3/19/2012        19:23:08
60838      7739841159      12/12/2011       11:54:28
60839      7739842126      8/25/2012        11:16:02
60840      7739849690      2/3/2014         13:53:34
60841      7739881041      5/2/2012         13:07:41
60842      7739883580      10/28/2011       14:27:39
60843      7739883640      12/15/2011       8:23:11
60844      7739883957      1/13/2012        17:28:51
60845      7739885804      3/13/2012        18:41:29
60846      7739886110      9/25/2012        14:46:26
60847      7739887455      1/12/2012        8:18:29
60848      7739928371      7/31/2012        15:36:35
60849      7739970552      1/11/2012        8:55:31
60850      7739978411      2/10/2012        20:39:58
60851      7739989059      2/2/2012         18:59:11
60852      7742001901      2/14/2012        15:11:17
60853      7742007302      4/5/2012         7:09:02
60854      7742081170      2/7/2012         16:45:29
60855      7742082186      2/7/2012         17:15:08
60856      7742086579      9/15/2012        8:11:21
60857      7742122216      7/30/2012        13:11:47
60858      7742124832      12/1/2011        14:48:41
60859      7742180192      8/28/2012        12:04:41
60860      7742183140      10/14/2011       13:06:10
60861      7742185363      3/15/2012        19:22:39
60862      7742303729      3/21/2011        11:01:28
60863      7742320720      9/22/2011        15:39:02
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60864      7742323485      9/11/2012        7:48:47
60865      7742325161      7/25/2012        11:52:38
60866      7742326968      2/28/2012        15:48:26
60867      7742327142      2/16/2012        7:09:31
60868      7742328039      3/1/2012         8:41:45
60869      7742382918      6/11/2012        7:06:49
60870      7742386520      1/12/2012        14:00:40
60871      7742389604      8/25/2012        11:02:09
60872      7742397651      12/21/2011       9:48:44
60873      7742401248      11/28/2011       17:37:26
60874      7742401533      3/16/2012        15:46:51
60875      7742401533      3/28/2012        18:09:05
60876      7742403507      7/30/2012        18:45:34
60877      7742406060      4/9/2012         18:07:54
60878      7742406872      12/17/2011       11:46:01
60879      7742408032      10/5/2011        14:14:44
60880      7742420178      4/20/2012        13:57:39
60881      7742420895      3/8/2014         11:36:44
60882      7742421179      6/14/2012        15:56:13
60883      7742422290      10/10/2011       12:13:45
60884      7742424290      9/15/2012        8:06:37
60885      7742424371      3/20/2012        8:56:12
60886      7742424371      5/21/2012        7:04:53
60887      7742424371      5/21/2012        7:29:36
60888      7742424462      10/8/2011        10:28:09
60889      7742426065      3/2/2012         18:54:35
60890      7742426239      10/6/2012        8:54:49
60891      7742427192      2/10/2012        7:04:38
60892      7742429354      10/26/2011       18:44:50
60893      7742448627      6/15/2012        16:34:53
60894      7742485388      7/3/2012         15:57:47
60895      7742485675      1/17/2012        16:49:13
60896      7742490377      3/1/2012         8:32:07
60897      7742491513      1/17/2012        7:15:59
60898      7742530977      12/5/2011        18:11:39
60899      7742531085      8/25/2012        11:01:24
60900      7742534804      3/8/2012         9:44:57
60901      7742536478      2/16/2012        7:09:25
60902      7742538040      2/9/2012         7:04:21
60903      7742570674      1/31/2012        7:08:11
60904      7742596034      12/16/2011       15:56:12
60905      7742596876      1/5/2012         12:09:54
60906      7742599579      10/17/2011       7:59:04
60907      7742624995      1/18/2012        16:46:59
60908      7742634055      11/30/2011       7:01:25
60909      7742635838      5/16/2012        7:01:49
60910      7742641705      6/23/2012        16:18:46
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60911      7742650161      11/28/2011       17:39:03
60912      7742660642      11/7/2011        7:18:14
60913      7742660642      5/11/2012        18:22:41
60914      7742692904      3/22/2012        7:47:54
60915      7742722319      4/12/2012        12:18:06
60916      7742741231      3/30/2011        9:17:06
60917      7742741811      9/19/2011        7:13:59
60918      7742742703      10/23/2012       16:06:34
60919      7742743723      2/22/2012        7:01:14
60920      7742743723      3/21/2012        13:36:39
60921      7742747002      12/29/2011       10:53:36
60922      7742747002      1/12/2012        14:11:05
60923      7742747335      5/4/2012         14:15:17
60924      7742766166      11/23/2011       9:59:36
60925      7742766166      2/6/2012         17:09:48
60926      7742772526      4/4/2012         18:42:17
60927      7742798708      1/18/2012        16:35:24
60928      7742802700      10/16/2012       7:25:50
60929      7742842137      3/6/2012         16:55:29
60930      7742851716      3/28/2012        18:08:37
60931      7742874398      1/12/2014        16:18:33
60932      7742890157      1/12/2012        7:02:02
60933      7743170386      2/17/2012        18:15:26
60934      7743191943      12/7/2011        13:53:51
60935      7743191943      2/11/2012        15:21:34
60936      7743193295      10/6/2012        8:24:32
60937      7743197697      11/2/2011        7:14:35
60938      7743197697      3/14/2012        14:24:46
60939      7743284408      8/8/2012         16:04:39
60940      7743603390      12/17/2011       13:27:19
60941      7743603846      9/19/2011        19:04:25
60942      7743605948      8/28/2012        11:57:12
60943      7743606416      1/14/2012        8:02:02
60944      7743650202      10/22/2011       12:53:34
60945      7743658709      9/12/2012        7:40:44
60946      7743860874      5/29/2012        17:01:28
60947      7743861814      2/13/2012        7:26:57
60948      7743863099      2/17/2012        18:24:55
60949      7743863266      2/7/2012         16:45:31
60950      7743863413      7/18/2012        7:03:41
60951      7743865004      8/25/2012        11:01:14
60952      7743865213      10/20/2011       15:57:22
60953      7743865213      11/25/2011       18:04:05
60954      7743866697      8/4/2011         7:40:50
60955      7744080618      12/28/2011       7:01:31
60956      7744170493      7/9/2012         12:06:11
60957      7744378312      9/19/2012        7:56:04
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60958      7744378696      3/15/2011        11:13:44
60959      7744511713      12/7/2011        17:44:51
60960      7744514105      5/18/2012        11:49:34
60961      7744518213      3/28/2011        15:05:36
60962      7744518597      11/11/2011       13:30:15
60963      7744518952      2/11/2012        11:08:34
60964      7744520107      5/10/2012        14:43:26
60965      7744520735      9/8/2011         19:39:13
60966      7744524955      12/7/2011        13:54:42
60967      7744524955      12/10/2011       14:20:09
60968      7744525901      9/22/2011        15:38:51
60969      7744526706      6/30/2012        8:02:56
60970      7744541024      4/21/2011        9:51:08
60971      7744541369      9/14/2011        7:01:59
60972      7744542105      7/23/2012        13:01:30
60973      7744820094      6/20/2012        16:55:22
60974      7744872890      11/3/2011        17:01:50
60975      7744874023      5/5/2012         8:14:01
60976      7744882546      4/18/2012        7:07:23
60977      7744882546      6/18/2012        15:06:21
60978      7744886177      11/19/2011       8:33:50
60979      7744887100      12/7/2011        13:53:21
60980      7744887650      1/9/2012         7:07:28
60981      7745219638      9/28/2012        16:53:55
60982      7745260713      5/5/2012         12:32:02
60983      7745260853      3/7/2012         9:49:01
60984      7745261412      4/21/2012        8:12:23
60985      7745261530      3/29/2012        16:36:20
60986      7745264869      3/29/2012        16:36:41
60987      7745266986      3/29/2012        16:36:55
60988      7745269310      6/28/2012        14:13:31
60989      7745357745      10/18/2011       17:59:21
60990      7745450936      3/7/2012         18:37:13
60991      7745737499      9/10/2012        7:28:54
60992      7746346679      7/3/2012         19:34:09
60993      7746412942      12/14/2011       17:56:21
60994      7746414483      3/29/2012        16:36:32
60995      7746446756      8/17/2011        18:28:12
60996      7746447236      9/22/2012        8:46:28
60997      7746703560      9/30/2011        10:11:55
60998      7746703560      10/26/2011       12:39:10
60999      7746960020      11/26/2011       12:20:50
61000      7746962232      3/14/2012        19:50:01
61001      7747667708      11/23/2011       9:08:51
61002      7748100814      12/12/2011       16:20:30
61003      7748362219      9/17/2011        9:12:53
61004      7748887188      9/12/2011        13:58:26
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61005      7748887494      3/27/2012        15:10:05
61006      7748887538      5/18/2012        15:43:14
61007      7749224003      9/17/2011        9:13:39
61008      7749290879      8/22/2012        11:16:55
61009      7749305348      1/11/2012        7:22:22
61010      7749305385      6/5/2012         13:58:10
61011      7749305940      4/5/2012         14:30:40
61012      7749552344      9/26/2012        14:31:08
61013      7749559564      5/23/2012        16:34:26
61014      7749559564      6/16/2012        7:47:55
61015      7749910382      10/29/2011       10:34:32
61016      7749910783      11/5/2011        9:15:25
61017      7752002669      3/12/2012        19:34:06
61018      7752002700      9/21/2011        11:38:05
61019      7752094827      11/2/2011        14:12:21
61020      7752170183      12/23/2011       13:36:52
61021      7752198736      3/26/2011        12:48:02
61022      7752203161      12/21/2011       10:02:26
61023      7752205816      3/10/2011        18:01:10
61024      7752206233      12/22/2011       14:32:50
61025      7752210069      4/5/2012         13:54:18
61026      7752213326      6/23/2012        16:30:54
61027      7752214276      11/7/2011        11:19:32
61028      7752239027      11/16/2011       8:00:35
61029      7752240445      12/9/2011        21:58:24
61030      7752251013      8/9/2012         21:58:00
61031      7752251763      4/30/2012        21:05:40
61032      7752255544      2/13/2012        18:44:22
61033      7752255544      2/21/2012        9:45:23
61034      7752255544      6/9/2012         15:02:21
61035      7752259262      6/6/2012         21:22:53
61036      7752290176      8/31/2011        11:09:37
61037      7752290176      1/20/2012        11:35:43
61038      7752290678      3/19/2012        19:05:10
61039      7752290932      11/15/2011       20:09:40
61040      7752291357      9/26/2011        13:20:37
61041      7752295096      7/15/2011        17:55:07
61042      7752324093      8/28/2012        21:56:01
61043      7752326390      8/6/2012         16:31:25
61044      7752327601      2/2/2012         21:01:53
61045      7752327601      2/10/2012        20:43:19
61046      7752331764      10/11/2011       17:43:02
61047      7752402282      11/8/2011        14:48:01
61048      7752402402      1/12/2012        14:06:05
61049      7752404194      3/26/2011        12:21:53
61050      7752404943      4/9/2012         13:51:54
61051      7752406019      12/18/2011       16:23:50
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61052      7752408455      10/10/2011       12:06:53
61053      7752471394      11/14/2011       15:36:42
61054      7752471394      11/22/2011       18:58:30
61055      7752471394      3/16/2012        10:27:52
61056      7752478218      9/29/2011        15:58:38
61057      7752500459      10/27/2011       17:00:31
61058      7752503528      12/27/2011       14:25:01
61059      7752503714      9/10/2011        12:44:07
61060      7752505817      7/14/2011        16:51:19
61061      7752535034      8/30/2013        14:16:26
61062      7752870717      7/23/2012        15:23:08
61063      7752877731      9/9/2011         18:11:58
61064      7752878103      9/10/2012        21:06:53
61065      7752915430      8/16/2011        18:20:09
61066      7752915957      10/17/2012       12:58:08
61067      7752931136      9/24/2011        10:04:54
61068      7752941414      7/19/2012        17:34:28
61069      7752961316      9/21/2011        11:37:01
61070      7752976061      6/4/2012         10:05:13
61071      7753030098      9/13/2011        18:13:08
61072      7753030777      9/21/2011        19:36:25
61073      7753030784      11/11/2011       20:13:56
61074      7753031214      7/13/2012        18:30:12
61075      7753035767      10/29/2011       11:10:43
61076      7753035767      11/14/2011       15:40:10
61077      7753036564      5/9/2012         21:04:14
61078      7753038508      10/1/2012        21:34:30
61079      7753038661      12/10/2011       12:24:22
61080      7753044920      7/18/2011        11:23:36
61081      7753048667      12/14/2011       18:07:56
61082      7753120569      12/29/2011       19:37:50
61083      7753138300      1/10/2012        15:38:27
61084      7753138703      11/22/2011       19:47:10
61085      7753138905      9/26/2011        13:32:03
61086      7753138952      1/27/2012        11:56:47
61087      7753155601      8/14/2012        21:02:04
61088      7753158687      8/20/2012        18:46:19
61089      7753159271      9/10/2012        10:24:28
61090      7753159293      3/26/2012        18:52:51
61091      7753159299      8/11/2012        12:29:09
61092      7753160693      8/17/2011        19:21:24
61093      7753161464      1/16/2014        13:16:27
61094      7753367296      9/22/2011        16:23:25
61095      7753367296      12/12/2011       16:44:41
61096      7753380268      10/19/2011       12:31:47
61097      7753381989      6/2/2012         12:51:18
61098      7753381989      6/12/2012        17:08:50
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61099      7753382681      5/19/2012        10:56:53
61100      7753386661      8/13/2012        20:54:27
61101      7753401448      8/3/2011         12:38:04
61102      7753402148      10/11/2011       17:46:50
61103      7753402148      10/27/2011       18:21:34
61104      7753403085      12/26/2011       20:08:56
61105      7753403682      4/26/2011        20:31:18
61106      7753404337      9/12/2011        13:39:08
61107      7753427227      10/19/2011       7:25:12
61108      7753435571      6/11/2012        10:03:30
61109      7753438805      5/2/2012         21:06:53
61110      7753460060      12/2/2011        14:44:25
61111      7753460964      5/16/2012        17:00:30
61112      7753506320      10/13/2011       10:33:21
61113      7753514406      4/29/2012        18:04:32
61114      7753516361      1/29/2012        16:22:37
61115      7753517524      9/24/2011        9:35:48
61116      7753517524      10/7/2011        7:02:43
61117      7753518512      7/9/2012         10:58:07
61118      7753519232      12/5/2011        18:43:05
61119      7753549336      6/27/2012        17:55:02
61120      7753760218      9/28/2012        16:36:44
61121      7753760268      10/8/2011        12:29:07
61122      7753764657      11/14/2011       15:40:31
61123      7753780948      4/2/2012         12:57:36
61124      7753781776      1/12/2012        14:38:46
61125      7753781988      9/27/2011        18:58:52
61126      7753782798      8/28/2012        12:01:00
61127      7753782807      10/21/2011       12:52:03
61128      7753784099      10/8/2011        10:18:58
61129      7753786210      9/20/2011        20:50:06
61130      7753786849      9/14/2011        21:40:02
61131      7753787925      1/6/2012         13:07:50
61132      7753789666      12/18/2011       17:40:49
61133      7753792343      10/7/2011        10:28:31
61134      7753793356      7/5/2012         15:39:37
61135      7753793747      1/20/2012        20:31:48
61136      7753796035      10/22/2011       12:17:44
61137      7753796035      9/17/2012        10:04:52
61138      7753796737      12/23/2011       14:25:04
61139      7753796891      8/15/2011        10:53:21
61140      7753796893      10/6/2011        17:01:50
61141      7753798051      7/15/2011        10:25:49
61142      7753799731      9/30/2011        10:26:40
61143      7753855028      4/6/2012         16:23:14
61144      7753930059      5/22/2012        18:31:44
61145      7753970737      8/30/2012        17:33:56
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61146      7754430572      8/19/2011        12:16:51
61147      7754431103      4/17/2012        11:27:31
61148      7754435197      11/12/2011       11:03:08
61149      7754459946      2/2/2012         16:45:16
61150      7754507169      2/17/2012        18:24:03
61151      7754535533      2/24/2012        21:49:53
61152      7754555024      12/21/2011       19:53:10
61153      7754824549      11/16/2011       20:03:34
61154      7754827721      9/14/2012        10:50:45
61155      7755131894      3/2/2012         19:05:28
61156      7755132596      9/12/2011        14:40:43
61157      7755135398      11/12/2011       11:05:15
61158      7755137373      6/11/2012        18:10:49
61159      7755138413      10/11/2011       17:40:19
61160      7755304445      9/28/2011        14:32:57
61161      7755305656      2/24/2011        14:40:26
61162      7755375039      10/18/2011       13:13:11
61163      7755442523      3/17/2012        11:50:47
61164      7755445020      9/20/2011        16:57:08
61165      7755446907      7/23/2011        12:09:43
61166      7755604399      3/8/2012         15:40:39
61167      7755757486      7/30/2012        13:44:40
61168      7756218418      10/1/2012        13:38:41
61169      7756222310      10/1/2011        10:56:03
61170      7756222310      10/10/2011       13:02:49
61171      7756361988      11/16/2011       20:02:37
61172      7756710113      4/26/2012        21:20:58
61173      7756710140      4/7/2012         12:15:19
61174      7756710703      10/12/2012       16:44:54
61175      7756712100      6/21/2012        18:44:58
61176      7756712100      8/28/2012        11:56:55
61177      7756909057      9/19/2011        14:44:20
61178      7756909057      10/4/2011        13:59:15
61179      7757200905      3/8/2012         20:45:17
61180      7757203717      11/9/2011        10:40:08
61181      7757208790      7/7/2012         10:09:49
61182      7757212382      9/21/2012        18:53:46
61183      7757212382      10/1/2012        21:36:19
61184      7757215333      11/11/2011       13:27:54
61185      7757215572      4/12/2012        18:10:20
61186      7757220036      12/5/2011        18:18:37
61187      7757411471      2/3/2012         14:31:21
61188      7757414113      9/26/2012        14:42:53
61189      7757418627      10/22/2011       12:49:19
61190      7757420558      4/22/2012        15:41:27
61191      7757423310      7/10/2012        21:09:55
61192      7757533191      7/13/2012        21:17:54
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61193      7757624986      2/17/2012        18:14:09
61194      7757627001      10/10/2011       12:05:28
61195      7757628682      9/8/2011         18:21:42
61196      7757640898      7/5/2012         10:46:02
61197      7757714802      10/3/2012        19:50:24
61198      7757720221      5/2/2012         21:05:51
61199      7757721028      12/2/2011        14:48:13
61200      7757722647      4/10/2012        15:57:00
61201      7757724216      8/7/2012         21:57:15
61202      7757727076      10/14/2011       13:37:28
61203      7757727779      4/5/2012         14:29:13
61204      7757810576      6/7/2012         21:28:57
61205      7757814594      10/5/2012        18:21:36
61206      7757904798      7/3/2012         12:27:11
61207      7758131856      10/18/2012       16:33:04
61208      7758135591      12/18/2011       16:23:51
61209      7758152597      5/21/2012        17:58:00
61210      7758154795      8/3/2012         12:30:48
61211      7758157012      7/21/2011        14:24:30
61212      7758157012      7/22/2011        13:04:13
61213      7758300618      10/14/2011       13:36:47
61214      7758304332      8/8/2012         16:08:39
61215      7758353561      11/2/2011        14:28:50
61216      7758425475      12/5/2011        18:42:56
61217      7758429148      2/3/2012         14:36:04
61218      7758431002      3/29/2012        16:49:07
61219      7758436340      10/8/2012        12:51:12
61220      7758438377      10/1/2011        10:04:55
61221      7758461235      7/6/2012         16:48:42
61222      7758462562      10/28/2011       14:38:47
61223      7758468904      7/12/2012        13:12:23
61224      7758481936      11/30/2011       12:53:27
61225      7758481936      12/19/2011       11:24:02
61226      7758484834      2/6/2012         17:25:32
61227      7758485457      1/3/2012         15:39:25
61228      7758578590      10/24/2012       21:15:37
61229      7759103637      12/22/2011       10:07:29
61230      7759109071      4/10/2012        12:00:55
61231      7759548032      1/6/2012         15:07:03
61232      7759805781      8/13/2012        11:04:03
61233      7759805781      9/28/2012        16:45:25
61234      7759807592      2/11/2012        10:55:04
61235      7759978994      3/15/2012        14:02:48
61236      7759979552      11/19/2011       10:42:04
61237      7792068277      2/4/2014         19:58:42
61238      7792214237      9/28/2012        16:49:12
61239      7792791116      10/11/2012       11:55:00
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61240      7792791984      9/28/2011        11:18:05
61241      7792795585      9/25/2012        14:57:46
61242      7793488615      4/4/2012         18:38:03
61243      7794235529      2/17/2012        18:22:13
61244      7794350739      2/10/2012        20:34:11
61245      7794354975      9/29/2011        15:47:11
61246      7794359846      2/15/2012        8:03:14
61247      7794560390      11/16/2011       10:31:27
61248      7794569515      1/16/2012        17:14:05
61249      7795372613      9/8/2012         11:21:16
61250      7797700705      10/13/2011       8:36:30
61251      7797722096      11/15/2011       15:10:05
61252      7812151861      5/16/2012        16:52:30
61253      7812151861      5/21/2012        7:07:34
61254      7812151861      5/21/2012        7:33:50
61255      7812154396      8/10/2011        7:01:09
61256      7812198330      1/12/2012        14:00:50
61257      7812236985      6/18/2012        15:17:19
61258      7812439219      12/5/2011        9:16:06
61259      7812440412      9/21/2011        11:22:29
61260      7812442919      9/15/2011        7:21:23
61261      7812442989      6/4/2012         8:19:14
61262      7812443067      10/15/2011       9:45:06
61263      7812443091      5/4/2012         7:25:49
61264      7812448739      1/9/2012         18:28:18
61265      7812492139      10/3/2011        7:44:01
61266      7812499921      10/10/2011       11:48:14
61267      7812529968      4/11/2012        19:30:50
61268      7812546910      4/11/2012        7:07:28
61269      7812546910      4/18/2012        7:07:38
61270      7812671207      8/13/2012        7:45:37
61271      7813081809      5/23/2012        16:40:40
61272      7813087381      8/22/2012        11:17:00
61273      7813089653      12/15/2011       8:26:27
61274      7813092560      9/27/2011        18:22:09
61275      7813164599      12/29/2011       19:11:11
61276      7813221210      2/28/2012        7:47:42
61277      7813302926      5/17/2012        7:07:25
61278      7813462081      12/3/2011        9:34:28
61279      7813462491      11/14/2011       16:58:01
61280      7813463477      5/6/2011         15:36:31
61281      7813464641      3/29/2012        17:15:35
61282      7813500355      11/5/2011        9:09:02
61283      7813538655      7/30/2012        13:27:16
61284      7813549827      2/28/2012        15:48:42
61285      7813636455      11/29/2011       16:05:20
61286      7813665969      9/20/2011        16:40:52
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61287      7813665969      11/2/2011        7:23:40
61288      7813676867      10/10/2011       12:14:01
61289      7814200559      2/11/2012        15:21:16
61290      7814202184      1/19/2012        7:14:57
61291      7814205190      9/8/2011         19:23:15
61292      7814390513      4/11/2012        13:17:24
61293      7814752048      11/21/2011       7:19:42
61294      7814752117      11/12/2011       9:07:54
61295      7814758819      12/3/2011        9:33:25
61296      7814758819      2/18/2012        8:50:38
61297      7814846868      9/1/2012         8:37:41
61298      7814848668      3/28/2012        18:18:04
61299      7814921350      10/20/2012       8:01:09
61300      7814922657      10/5/2012        12:13:21
61301      7815073558      1/20/2012        11:38:26
61302      7815181674      9/30/2011        9:51:34
61303      7815216064      3/20/2012        17:45:37
61304      7815216535      1/11/2012        16:33:17
61305      7815219376      2/10/2012        7:11:37
61306      7815219376      7/13/2012        18:25:55
61307      7815340614      11/2/2011        7:13:38
61308      7815342253      5/31/2012        14:57:21
61309      7815358995      4/5/2012         14:30:42
61310      7815358995      5/21/2012        7:33:58
61311      7815526143      5/19/2012        8:17:44
61312      7815561290      12/19/2011       7:33:43
61313      7815561290      1/23/2012        19:41:39
61314      7815580046      12/29/2011       10:53:36
61315      7815580235      9/27/2011        18:22:27
61316      7815580852      10/4/2011        13:31:29
61317      7815586516      1/23/2012        18:51:12
61318      7815586632      6/5/2012         17:47:04
61319      7815720980      3/17/2012        8:36:26
61320      7815882143      2/14/2012        9:37:24
61321      7815883715      10/29/2011       11:11:02
61322      7815899474      9/10/2011        8:30:42
61323      7816082316      11/28/2011       17:51:49
61324      7816083783      11/11/2011       7:54:16
61325      7816083783      11/19/2011       8:02:03
61326      7816088040      9/6/2012         12:19:08
61327      7816300943      3/10/2012        8:50:19
61328      7816300943      6/23/2012        16:21:51
61329      7816324236      7/2/2012         15:09:50
61330      7816325950      10/17/2011       11:12:52
61331      7816325983      3/16/2012        9:54:29
61332      7816327107      11/28/2011       17:38:12
61333      7816545669      4/5/2012         16:00:02
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61334      7816546298      5/20/2011        17:39:10
61335      7816546422      9/20/2011        17:05:34
61336      7817066056      9/7/2011         14:38:05
61337      7817066792      1/27/2012        7:12:14
61338      7817081919      12/27/2011       14:12:09
61339      7817153250      9/4/2012         15:35:57
61340      7817243016      11/5/2011        10:43:56
61341      7817261011      1/4/2012         10:58:14
61342      7817277429      5/29/2012        7:02:28
61343      7817279286      10/5/2011        14:26:55
61344      7817606226      10/15/2012       9:46:35
61345      7817606325      10/9/2012        7:29:28
61346      7817899218      12/6/2011        14:27:01
61347      7817992971      4/21/2011        9:51:09
61348      7818310690      2/21/2012        17:32:00
61349      7818310690      5/21/2012        7:04:03
61350      7818442572      12/3/2011        9:33:05
61351      7818444868      4/10/2012        16:19:17
61352      7818446514      11/16/2011       7:47:28
61353      7818541129      6/2/2012         12:53:00
61354      7818565206      11/23/2011       14:48:13
61355      7818585128      6/4/2012         8:19:22
61356      7818643968      1/11/2012        16:25:47
61357      7818649681      10/27/2011       16:17:14
61358      7818880592      12/24/2011       7:17:28
61359      7818990183      8/11/2012        9:17:26
61360      7819010155      3/30/2012        7:18:44
61361      7819011899      12/1/2011        7:49:05
61362      7819130072      11/26/2011       12:19:55
61363      7819131580      4/12/2012        12:24:21
61364      7819133210      10/12/2011       7:54:33
61365      7819133980      10/10/2011       12:09:33
61366      7819133980      1/10/2012        11:43:01
61367      7819137807      3/23/2012        19:11:28
61368      7819137807      10/5/2012        12:22:59
61369      7819220143      10/6/2011        17:14:22
61370      7819223193      4/20/2012        14:12:48
61371      7819293683      3/2/2012         18:39:57
61372      7819749632      7/25/2012        12:01:46
61373      7819759087      2/9/2012         7:04:06
61374      7819850271      1/4/2012         10:58:35
61375      7852020045      11/11/2011       20:19:28
61376      7852071466      3/13/2012        12:49:09
61377      7852077045      10/12/2011       8:13:36
61378      7852094547      12/12/2011       12:17:55
61379      7852094547      3/13/2012        17:07:22
61380      7852105803      7/9/2012         8:55:53
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61381      7852105850      5/11/2012        9:59:28
61382      7852109414      5/4/2012         18:20:35
61383      7852130933      11/16/2011       20:05:08
61384      7852131451      8/8/2012         16:07:28
61385      7852134986      7/18/2012        18:30:47
61386      7852141648      9/13/2011        13:36:57
61387      7852142856      3/21/2012        8:09:52
61388      7852142856      5/30/2012        12:55:31
61389      7852151439      11/18/2011       13:31:49
61390      7852154106      12/17/2011       12:12:00
61391      7852154729      12/18/2011       18:10:01
61392      7852157371      5/26/2012        15:15:54
61393      7852180242      5/1/2012         17:47:35
61394      7852209658      11/30/2011       8:07:01
61395      7852216947      2/1/2012         8:10:07
61396      7852218969      11/10/2011       8:14:47
61397      7852261334      8/19/2011        12:25:13
61398      7852262449      9/21/2012        15:56:15
61399      7852265583      3/8/2012         20:25:34
61400      7852300039      11/28/2011       12:07:10
61401      7852308402      6/27/2012        12:21:27
61402      7852410391      1/20/2012        19:48:25
61403      7852484208      12/16/2011       15:57:33
61404      7852492394      5/18/2012        16:01:07
61405      7852499779      1/25/2012        9:08:24
61406      7852501894      11/22/2011       19:36:40
61407      7852501894      1/4/2012         11:47:54
61408      7852506064      1/18/2012        16:53:55
61409      7852624300      8/29/2012        11:14:35
61410      7852800608      9/4/2012         16:00:27
61411      7852809014      3/5/2012         11:03:54
61412      7852880392      10/15/2011       10:50:04
61413      7853042233      11/28/2011       12:17:19
61414      7853071557      11/18/2011       12:54:40
61415      7853124057      10/15/2011       10:33:21
61416      7853137023      10/15/2011       9:32:20
61417      7853175858      11/21/2011       10:37:47
61418      7853200650      10/16/2012       20:26:54
61419      7853237136      9/9/2011         17:51:56
61420      7853410976      3/13/2012        18:41:47
61421      7853411869      12/7/2011        14:48:52
61422      7853423986      10/15/2011       10:41:13
61423      7853425014      7/30/2012        13:36:07
61424      7853425018      11/11/2011       20:01:40
61425      7853425259      1/12/2012        14:07:13
61426      7853464701      10/6/2011        17:40:34
61427      7853464744      8/20/2012        18:36:45
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61428      7853752208      1/9/2012         8:19:13
61429      7853755659      9/14/2011        16:49:04
61430      7853759035      3/26/2012        18:37:10
61431      7853831065      12/7/2011        15:13:26
61432      7853834539      11/11/2011       13:13:51
61433      7853835136      10/3/2011        8:05:46
61434      7853836540      10/4/2011        13:19:34
61435      7853838460      12/22/2011       9:10:07
61436      7853930691      11/12/2011       10:20:24
61437      7854083315      12/27/2011       14:19:16
61438      7854089989      6/9/2012         10:37:08
61439      7854105419      9/21/2011        19:45:25
61440      7854160388      3/10/2012        8:24:03
61441      7854182760      5/2/2012         13:25:46
61442      7854184314      7/15/2011        17:40:50
61443      7854187345      5/20/2012        15:45:18
61444      7854187906      7/20/2012        14:59:06
61445      7854217205      4/18/2012        8:16:41
61446      7854380703      9/12/2011        13:29:18
61447      7854388536      10/25/2012       19:48:11
61448      7854388785      3/2/2012         7:10:17
61449      7854582245      7/19/2012        17:32:10
61450      7854772643      12/16/2011       16:23:18
61451      7854772643      5/21/2012        8:15:20
61452      7854775176      9/21/2011        11:57:14
61453      7854775176      10/6/2011        16:35:39
61454      7854779666      2/15/2012        8:05:06
61455      7855014784      10/22/2012       18:09:49
61456      7855061262      7/26/2012        11:55:09
61457      7855063560      11/21/2011       8:08:35
61458      7855129101      4/10/2012        16:12:37
61459      7855349683      2/29/2012        17:51:32
61460      7855349683      3/17/2012        8:53:30
61461      7855410671      8/16/2011        16:53:19
61462      7855501862      6/19/2012        15:42:25
61463      7855504956      7/11/2012        9:42:54
61464      7855504975      2/8/2012         12:53:55
61465      7855540551      10/25/2011       16:19:42
61466      7855541123      10/3/2012        20:01:37
61467      7855545852      1/23/2012        19:17:44
61468      7855549459      3/21/2012        13:41:03
61469      7855549459      4/12/2012        12:20:19
61470      7855549459      5/21/2012        8:18:01
61471      7855549917      3/6/2012         12:59:28
61472      7855601919      4/11/2012        11:33:44
61473      7855627962      12/30/2011       8:06:39
61474      7855772742      9/8/2012         11:10:04
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61475      7855773461      4/16/2012        16:04:00
61476      7855774734      8/3/2012         16:30:29
61477      7855777422      7/30/2012        13:47:14
61478      7855805095      9/22/2011        16:09:07
61479      7855805095      10/6/2011        17:45:49
61480      7855808068      11/15/2011       16:21:55
61481      7856083891      11/26/2011       13:37:11
61482      7856088872      7/3/2012         13:25:22
61483      7856140632      12/29/2011       14:27:07
61484      7856140886      8/30/2012        9:45:33
61485      7856141118      10/22/2012       8:01:34
61486      7856143417      9/8/2011         19:08:23
61487      7856143810      7/30/2011        8:53:36
61488      7856300037      7/9/2012         19:00:53
61489      7856337521      10/17/2012       18:31:21
61490      7856393329      3/29/2012        12:31:02
61491      7856402899      5/22/2012        11:53:31
61492      7856405484      11/11/2011       20:03:22
61493      7856431709      12/27/2011       14:39:33
61494      7856560473      12/17/2011       12:09:38
61495      7856560473      1/19/2012        18:31:27
61496      7856577173      8/16/2012        19:54:35
61497      7857126022      3/11/2012        15:25:37
61498      7857273845      7/18/2012        18:25:45
61499      7857378012      8/18/2012        8:59:37
61500      7857607568      9/12/2011        14:16:47
61501      7857615594      12/1/2011        15:28:28
61502      7857615807      2/28/2012        13:03:11
61503      7857616335      10/3/2011        7:11:32
61504      7857870165      3/21/2012        8:08:23
61505      7857870326      9/28/2012        9:04:27
61506      7858065278      7/30/2013        16:22:00
61507      7858068591      8/5/2012         16:53:00
61508      7858176001      8/26/2011        17:49:47
61509      7858443908      9/17/2011        9:38:57
61510      7858450023      10/11/2011       16:28:01
61511      7858454298      1/20/2012        20:32:23
61512      7858457874      7/30/2012        13:37:35
61513      7859691372      10/10/2011       11:52:39
61514      7859691372      5/2/2012         13:46:07
61515      7859695546      9/15/2011        8:53:32
61516      7859790710      3/13/2012        16:54:29
61517      7859791487      7/6/2012         14:42:10
61518      7859797055      9/17/2011        10:19:04
61519      7862000480      9/13/2011        17:46:36
61520      7862006292      2/20/2012        16:59:30
61521      7862008953      10/1/2011        9:34:08
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61522      7862010990      9/24/2011        9:03:48
61523      7862011933      5/21/2012        17:28:08
61524      7862012046      4/10/2012        15:33:39
61525      7862012046      5/21/2012        7:30:47
61526      7862012936      4/4/2012         7:28:22
61527      7862013813      10/16/2012       7:24:55
61528      7862025353      9/13/2011        15:00:17
61529      7862050061      1/19/2012        7:22:53
61530      7862050061      2/15/2012        8:02:53
61531      7862050061      5/21/2012        7:24:59
61532      7862050061      8/24/2012        7:31:39
61533      7862051491      2/18/2012        8:39:58
61534      7862081799      4/10/2012        11:51:44
61535      7862082267      11/28/2011       16:54:04
61536      7862084678      11/17/2011       16:25:16
61537      7862102397      11/25/2011       17:37:51
61538      7862105083      3/29/2012        16:41:54
61539      7862105083      5/21/2012        7:05:15
61540      7862105514      7/9/2011         8:36:02
61541      7862105678      2/2/2012         7:16:55
61542      7862106416      5/10/2012        14:54:08
61543      7862107082      10/17/2011       7:43:58
61544      7862108107      12/29/2011       19:22:16
61545      7862163420      11/14/2011       14:21:02
61546      7862164835      7/25/2012        11:54:52
61547      7862174730      1/19/2012        18:37:42
61548      7862175259      11/14/2011       16:12:24
61549      7862175871      10/12/2011       8:24:44
61550      7862177509      10/10/2011       12:30:51
61551      7862178596      7/18/2012        18:30:41
61552      7862188621      3/19/2012        19:08:55
61553      7862189720      1/19/2012        18:39:28
61554      7862196198      3/27/2012        19:27:53
61555      7862198542      11/15/2011       15:12:00
61556      7862199452      5/30/2012        12:45:32
61557      7862220850      7/19/2011        17:44:08
61558      7862221520      1/3/2012         16:52:29
61559      7862221724      10/6/2011        16:05:50
61560      7862223720      10/25/2012       19:43:14
61561      7862224868      1/16/2012        7:18:56
61562      7862225578      10/5/2013        15:44:15
61563      7862226008      11/23/2011       9:26:08
61564      7862226620      9/29/2011        15:37:59
61565      7862227482      4/16/2012        15:48:18
61566      7862227482      4/24/2012        11:55:44
61567      7862227996      3/30/2012        16:02:47
61568      7862228247      3/21/2012        7:03:55
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61569      7862228247      4/5/2012         14:32:41
61570      7862229734      5/17/2011        9:21:12
61571      7862231594      11/19/2011       8:39:09
61572      7862234371      10/14/2011       12:46:15
61573      7862237666      9/8/2011         17:44:59
61574      7862239143      5/21/2011        10:59:28
61575      7862262468      3/1/2012         8:44:13
61576      7862262802      3/20/2012        8:57:05
61577      7862265047      4/28/2012        8:38:33
61578      7862265206      4/10/2012        11:51:45
61579      7862266656      10/20/2012       16:38:16
61580      7862267573      10/6/2011        16:13:58
61581      7862270176      7/20/2012        14:57:55
61582      7862270546      2/21/2012        9:37:18
61583      7862272166      10/11/2012       11:58:25
61584      7862272363      10/31/2011       8:52:51
61585      7862273736      9/19/2011        19:04:56
61586      7862293829      10/4/2011        13:31:53
61587      7862300245      3/16/2012        16:01:20
61588      7862305740      10/3/2011        7:25:12
61589      7862314410      9/19/2011        19:26:39
61590      7862317476      11/17/2011       15:24:46
61591      7862318505      3/29/2012        11:18:17
61592      7862318505      6/16/2012        15:20:38
61593      7862318727      9/2/2011         12:46:26
61594      7862325280      5/5/2012         8:26:41
61595      7862327494      12/2/2011        7:35:14
61596      7862327884      5/13/2012        17:07:15
61597      7862340032      12/10/2011       14:23:48
61598      7862340996      12/5/2011        9:17:46
61599      7862341335      5/12/2012        8:40:53
61600      7862341344      10/18/2011       12:50:31
61601      7862341619      5/14/2011        11:50:08
61602      7862341658      1/27/2012        7:25:53
61603      7862341658      3/28/2012        18:08:38
61604      7862341959      11/5/2011        10:40:08
61605      7862341959      11/28/2011       11:10:50
61606      7862341959      3/19/2012        17:37:20
61607      7862342112      3/6/2012         12:41:46
61608      7862342621      9/20/2012        7:03:47
61609      7862344111      2/28/2012        7:56:18
61610      7862346174      2/28/2012        13:26:05
61611      7862347229      11/28/2011       16:34:10
61612      7862347247      1/5/2012         17:19:46
61613      7862348247      2/2/2012         7:06:45
61614      7862348247      3/11/2012        15:09:24
61615      7862348247      6/4/2012         8:21:36
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61616      7862349587      9/8/2011         19:47:21
61617      7862367796      11/3/2011        17:00:59
61618      7862367935      12/14/2011       17:59:58
61619      7862367977      4/14/2012        9:21:52
61620      7862368117      12/29/2011       18:58:23
61621      7862369989      7/3/2012         12:48:21
61622      7862371050      3/25/2012        11:30:42
61623      7862375549      1/3/2012         11:10:07
61624      7862376488      3/22/2012        7:54:13
61625      7862376943      1/27/2012        7:24:19
61626      7862377868      11/18/2011       12:18:42
61627      7862379830      3/30/2011        8:17:12
61628      7862379830      10/7/2011        7:01:31
61629      7862392402      5/12/2012        10:25:30
61630      7862393844      12/29/2011       18:56:27
61631      7862393932      9/10/2011        8:53:29
61632      7862399485      5/7/2012         7:07:04
61633      7862451892      3/30/2012        7:09:59
61634      7862460000      11/19/2011       8:53:34
61635      7862460000      11/29/2011       16:14:23
61636      7862469901      5/14/2012        15:14:49
61637      7862471050      5/30/2012        12:38:21
61638      7862471050      6/8/2012         7:28:54
61639      7862476913      6/29/2012        9:39:16
61640      7862509248      7/16/2012        19:32:44
61641      7862509257      5/23/2012        15:28:29
61642      7862512451      6/7/2012         7:04:28
61643      7862512451      10/23/2012       16:05:41
61644      7862515864      10/20/2011       15:28:16
61645      7862516577      8/30/2012        17:47:55
61646      7862522711      12/12/2011       16:30:13
61647      7862523295      4/6/2012         15:16:03
61648      7862524783      6/24/2012        11:30:32
61649      7862532441      4/25/2012        15:46:25
61650      7862532981      9/26/2012        15:17:01
61651      7862533056      2/6/2012         17:12:26
61652      7862535212      10/15/2011       9:48:47
61653      7862535919      9/10/2011        8:24:08
61654      7862538570      7/13/2012        11:08:39
61655      7862550006      9/27/2011        18:33:52
61656      7862550949      11/3/2011        17:14:27
61657      7862552611      8/3/2011         12:23:03
61658      7862552611      1/13/2012        17:38:45
61659      7862552611      2/4/2012         8:32:55
61660      7862553214      9/13/2011        17:33:12
61661      7862555673      2/24/2011        11:21:30
61662      7862559216      3/30/2011        8:36:23
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61663      7862560621      9/8/2011         19:45:24
61664      7862569155      3/19/2012        7:21:13
61665      7862593087      4/18/2012        17:57:39
61666      7862593826      9/12/2011        13:07:38
61667      7862595108      8/2/2012         11:26:09
61668      7862597757      3/13/2012        18:38:46
61669      7862601815      2/17/2012        18:17:13
61670      7862602223      12/5/2011        8:18:03
61671      7862602223      5/9/2012         8:07:38
61672      7862602379      3/28/2012        7:29:23
61673      7862602515      7/13/2012        7:37:04
61674      7862603978      9/27/2011        18:05:48
61675      7862604122      3/10/2011        15:45:42
61676      7862604814      10/11/2011       15:45:23
61677      7862605220      3/21/2011        10:04:53
61678      7862605488      8/5/2011         18:31:02
61679      7862607153      2/24/2011        11:11:13
61680      7862607796      3/15/2012        19:03:31
61681      7862608142      8/26/2011        18:13:10
61682      7862608996      3/1/2012         8:49:21
61683      7862611046      10/19/2011       7:45:07
61684      7862614350      9/25/2012        14:42:17
61685      7862616523      9/13/2011        18:36:35
61686      7862619999      1/3/2012         11:11:13
61687      7862620220      3/18/2011        9:20:19
61688      7862620588      1/19/2012        18:38:30
61689      7862620831      9/14/2011        16:28:54
61690      7862622205      12/26/2011       9:11:48
61691      7862623366      11/16/2011       7:48:53
61692      7862625298      1/23/2012        19:13:32
61693      7862625688      4/7/2012         9:22:08
61694      7862626159      9/24/2011        9:42:20
61695      7862626159      10/8/2011        10:53:27
61696      7862628072      10/18/2011       12:04:35
61697      7862632381      9/17/2011        10:12:41
61698      7862632535      8/14/2012        11:47:03
61699      7862638232      3/26/2012        18:41:13
61700      7862638646      6/28/2012        14:19:19
61701      7862667111      12/27/2011       14:27:52
61702      7862672418      3/16/2012        10:14:54
61703      7862672673      10/27/2011       16:24:33
61704      7862672673      11/23/2011       10:12:33
61705      7862672721      1/6/2012         14:32:26
61706      7862677238      10/13/2011       7:27:15
61707      7862677791      6/15/2012        8:56:26
61708      7862677791      8/8/2012         16:18:08
61709      7862694434      3/22/2012        7:59:35
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61710      7862696696      8/30/2012        17:48:41
61711      7862697581      10/15/2011       10:19:49
61712      7862706238      3/4/2012         12:31:55
61713      7862706484      3/14/2012        19:44:49
61714      7862706484      6/23/2012        16:19:55
61715      7862709442      4/7/2012         9:06:32
61716      7862712362      3/9/2012         7:15:17
61717      7862719764      9/21/2011        11:26:39
61718      7862730165      12/21/2011       9:48:14
61719      7862730454      6/21/2012        10:00:17
61720      7862732491      12/7/2011        13:40:54
61721      7862735184      10/22/2011       12:25:11
61722      7862735184      11/17/2011       15:13:19
61723      7862736391      10/17/2011       7:58:28
61724      7862736672      12/4/2011        11:38:39
61725      7862738239      8/30/2012        17:44:50
61726      7862738418      12/9/2011        7:46:03
61727      7862742405      5/23/2012        14:52:38
61728      7862742828      5/17/2011        9:26:01
61729      7862743198      3/19/2012        19:08:40
61730      7862743940      10/19/2011       7:34:48
61731      7862770840      5/25/2012        17:01:20
61732      7862771145      10/3/2012        19:58:56
61733      7862771184      7/19/2012        17:31:41
61734      7862771396      1/17/2012        7:14:12
61735      7862771653      5/26/2012        8:51:14
61736      7862772415      12/23/2011       15:31:51
61737      7862772748      5/16/2012        16:46:32
61738      7862772811      10/4/2011        13:05:34
61739      7862775151      4/10/2012        16:07:48
61740      7862778033      1/10/2012        15:28:37
61741      7862778565      9/20/2012        7:08:49
61742      7862778595      1/18/2012        10:37:22
61743      7862781724      9/21/2011        19:33:20
61744      7862782777      10/4/2011        13:40:46
61745      7862782828      11/25/2011       18:11:03
61746      7862785940      11/17/2011       13:55:14
61747      7862789988      6/15/2012        8:45:15
61748      7862802838      8/18/2012        8:44:42
61749      7862803805      9/17/2011        9:57:15
61750      7862803805      2/1/2012         18:30:41
61751      7862805196      11/19/2011       8:08:45
61752      7862806564      12/12/2011       12:14:01
61753      7862808606      9/12/2012        7:45:53
61754      7862812332      5/2/2012         13:13:11
61755      7862816237      10/10/2011       11:37:58
61756      7862818798      5/19/2012        16:02:46
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61757      7862819965      2/21/2012        9:39:56
61758      7862823956      9/26/2012        14:45:18
61759      7862824160      10/6/2011        17:22:04
61760      7862828396      10/14/2011       13:07:22
61761      7862830904      3/30/2012        16:05:47
61762      7862832028      5/22/2012        18:35:25
61763      7862832285      7/13/2011        11:37:44
61764      7862833087      12/17/2011       11:20:20
61765      7862851400      5/3/2012         7:17:22
61766      7862852668      5/23/2012        15:27:20
61767      7862855239      11/14/2011       16:46:45
61768      7862856275      10/11/2011       17:13:21
61769      7862856909      8/2/2011         18:17:30
61770      7862857291      1/17/2012        18:28:29
61771      7862858345      12/30/2011       16:51:55
61772      7862858734      8/30/2012        17:37:53
61773      7862863762      1/17/2012        16:52:26
61774      7862865009      12/1/2011        14:59:37
61775      7862865978      10/14/2011       12:44:42
61776      7862866460      1/16/2012        17:28:07
61777      7862867812      4/30/2012        17:15:49
61778      7862868551      3/16/2012        10:10:28
61779      7862870166      1/18/2012        10:01:42
61780      7862870393      12/3/2011        9:10:11
61781      7862870426      9/8/2011         17:40:37
61782      7862870729      11/8/2011        14:11:11
61783      7862871119      3/14/2012        19:28:28
61784      7862871586      10/29/2011       10:38:52
61785      7862872067      10/19/2011       7:27:02
61786      7862872676      10/11/2011       17:09:12
61787      7862872744      10/22/2011       13:03:03
61788      7862873090      10/6/2011        17:37:04
61789      7862874911      10/15/2011       10:26:24
61790      7862876058      4/20/2012        14:03:17
61791      7862876058      8/8/2012         16:06:26
61792      7862877191      12/23/2011       7:09:10
61793      7862877512      10/10/2011       11:46:19
61794      7862877669      11/28/2011       16:54:11
61795      7862878145      10/11/2012       18:33:17
61796      7862878844      6/30/2012        15:58:54
61797      7862879510      3/11/2011        16:37:05
61798      7862900203      12/10/2011       13:06:53
61799      7862900239      5/13/2011        11:17:28
61800      7862900507      11/17/2011       16:44:53
61801      7862900822      3/19/2012        19:14:55
61802      7862901095      1/6/2012         14:38:33
61803      7862901685      10/8/2011        9:11:55
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61804      7862902112      11/10/2011       7:01:11
61805      7862902142      9/27/2012        16:28:57
61806      7862902838      11/10/2011       7:17:17
61807      7862904227      8/6/2012         16:36:46
61808      7862905609      10/11/2012       18:31:50
61809      7862905710      8/3/2012         16:23:20
61810      7862907027      10/4/2011        13:11:10
61811      7862907771      10/8/2011        10:34:33
61812      7862907917      11/22/2011       18:36:10
61813      7862908577      3/5/2012         7:13:17
61814      7862908577      3/19/2012        17:37:18
61815      7862908868      10/3/2011        7:14:21
61816      7862910367      1/11/2012        7:34:12
61817      7862911189      9/1/2011         8:35:14
61818      7862911297      9/18/2012        14:14:55
61819      7862911891      10/29/2011       10:38:53
61820      7862912082      10/1/2011        9:46:37
61821      7862913565      6/30/2011        8:34:50
61822      7862914274      9/16/2011        12:54:42
61823      7862914508      5/4/2012         14:21:46
61824      7862916975      9/26/2011        8:33:36
61825      7862944091      8/30/2012        7:03:12
61826      7862944130      3/26/2012        7:05:46
61827      7862944405      10/6/2011        16:07:51
61828      7862944976      11/28/2011       12:04:00
61829      7862945332      3/30/2012        7:35:06
61830      7862945926      9/23/2011        18:56:16
61831      7862948470      7/28/2011        10:15:47
61832      7862953371      1/30/2012        7:25:27
61833      7862953371      2/6/2012         16:59:40
61834      7862958870      8/31/2011        10:20:25
61835      7862983896      10/24/2011       7:16:05
61836      7862984543      10/12/2011       11:53:20
61837      7862984789      1/19/2012        18:26:58
61838      7862986323      9/26/2011        8:45:56
61839      7862987665      1/12/2012        14:29:37
61840      7862990000      10/24/2011       14:19:21
61841      7862991682      10/4/2011        13:12:37
61842      7862996336      7/23/2012        11:54:31
61843      7862997656      4/2/2012         7:09:42
61844      7862997838      9/29/2011        15:04:26
61845      7863008808      4/4/2012         19:00:18
61846      7863012653      5/18/2012        15:46:52
61847      7863015439      5/4/2012         7:33:47
61848      7863018093      12/18/2011       16:46:59
61849      7863023412      5/21/2012        7:04:33
61850      7863025202      3/5/2012         7:55:23
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61851      7863025338      9/22/2011        15:59:58
61852      7863029124      6/6/2011         17:07:51
61853      7863033044      3/30/2012        7:09:24
61854      7863033084      5/23/2012        16:56:08
61855      7863033189      11/28/2011       17:41:38
61856      7863035269      9/21/2011        12:07:40
61857      7863035741      10/8/2011        9:19:25
61858      7863036623      5/10/2012        14:55:12
61859      7863060960      12/1/2011        14:55:35
61860      7863061252      9/14/2011        11:52:34
61861      7863062454      12/9/2011        15:12:50
61862      7863063035      9/27/2012        16:28:24
61863      7863063868      1/19/2012        7:08:15
61864      7863063888      12/10/2011       12:08:00
61865      7863065686      9/8/2011         17:48:13
61866      7863066502      12/19/2011       7:41:29
61867      7863066851      3/16/2012        10:21:27
61868      7863068437      7/30/2012        13:11:19
61869      7863068833      4/9/2012         18:11:05
61870      7863080058      1/11/2012        16:32:59
61871      7863080335      4/18/2012        7:07:32
61872      7863080709      4/25/2011        9:49:25
61873      7863081110      10/4/2011        13:41:36
61874      7863086488      5/14/2011        11:36:43
61875      7863089343      2/29/2012        7:10:49
61876      7863089343      5/21/2012        7:25:16
61877      7863089638      1/17/2012        7:15:51
61878      7863123104      11/30/2011       14:47:21
61879      7863125395      2/3/2012         7:08:09
61880      7863126874      12/11/2011       12:15:16
61881      7863126949      7/19/2012        17:32:00
61882      7863128240      2/4/2012         8:07:27
61883      7863128292      2/17/2012        18:08:27
61884      7863128509      10/26/2011       11:52:28
61885      7863128733      11/23/2011       9:58:05
61886      7863141842      9/16/2011        13:17:15
61887      7863141843      3/28/2012        18:10:35
61888      7863142157      6/18/2012        7:53:32
61889      7863142157      6/21/2012        18:49:00
61890      7863142998      9/13/2011        17:25:30
61891      7863144299      5/18/2012        15:39:26
61892      7863144861      10/25/2011       15:07:28
61893      7863151752      3/19/2012        7:20:44
61894      7863156914      12/13/2011       17:26:19
61895      7863157182      9/20/2011        17:05:59
61896      7863158522      12/20/2011       17:28:02
61897      7863162174      10/4/2011        13:06:57
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61898      7863165065      9/21/2011        11:43:17
61899      7863165764      2/21/2012        17:34:40
61900      7863167226      5/29/2012        7:11:51
61901      7863173237      9/14/2011        7:01:33
61902      7863173359      1/10/2012        12:28:40
61903      7863173373      11/17/2011       13:32:52
61904      7863173934      2/14/2012        16:36:59
61905      7863174149      11/30/2011       7:03:14
61906      7863174590      3/16/2012        15:49:16
61907      7863176169      9/24/2011        9:35:53
61908      7863178647      2/15/2012        12:04:05
61909      7863178970      6/19/2012        7:53:35
61910      7863184042      9/12/2012        7:45:59
61911      7863184444      8/13/2012        7:33:55
61912      7863186348      9/26/2011        7:53:55
61913      7863186348      11/9/2011        7:30:10
61914      7863186483      2/7/2012         7:10:47
61915      7863188384      10/8/2011        9:07:51
61916      7863189025      4/29/2012        18:16:00
61917      7863191262      11/5/2011        11:13:56
61918      7863191413      6/6/2012         7:17:29
61919      7863192175      9/8/2011         17:50:48
61920      7863192261      10/20/2011       16:27:27
61921      7863192879      9/21/2012        18:40:27
61922      7863193044      4/27/2012        18:19:18
61923      7863197206      5/26/2012        8:41:15
61924      7863197529      7/5/2012         15:36:31
61925      7863197805      10/12/2011       7:29:34
61926      7863198341      4/18/2012        7:04:44
61927      7863198368      9/27/2011        18:08:03
61928      7863198545      11/5/2011        9:27:07
61929      7863198869      10/24/2011       7:06:21
61930      7863250894      7/16/2012        19:47:41
61931      7863260145      10/15/2011       9:49:58
61932      7863260908      3/16/2012        15:46:26
61933      7863261535      2/28/2012        16:12:17
61934      7863261706      9/14/2011        11:33:54
61935      7863262322      12/8/2011        12:24:05
61936      7863262802      10/17/2011       7:10:00
61937      7863262823      5/13/2011        11:16:41
61938      7863263009      6/9/2012         10:30:47
61939      7863263373      9/27/2011        18:02:54
61940      7863265178      8/17/2011        19:00:03
61941      7863265412      6/16/2012        15:21:56
61942      7863265601      9/19/2011        7:09:42
61943      7863266485      7/18/2012        7:13:54
61944      7863279213      2/1/2012         18:32:27
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61945      7863290521      8/11/2012        9:29:09
61946      7863299689      7/24/2012        7:28:58
61947      7863299979      4/2/2012         17:40:32
61948      7863330158      3/16/2012        15:49:37
61949      7863330284      10/14/2011       12:43:41
61950      7863330698      6/8/2012         7:26:58
61951      7863330698      7/25/2012        11:56:36
61952      7863332695      3/11/2011        16:40:36
61953      7863333371      4/14/2012        9:19:12
61954      7863333850      12/26/2011       8:59:35
61955      7863334305      12/18/2011       17:10:39
61956      7863334637      7/5/2012         15:32:21
61957      7863334853      3/9/2012         7:09:54
61958      7863334935      10/1/2012        8:12:48
61959      7863335219      8/1/2012         8:33:11
61960      7863337211      8/16/2011        17:40:52
61961      7863338228      12/23/2011       14:43:48
61962      7863339948      10/25/2012       12:24:56
61963      7863370125      10/1/2011        9:31:07
61964      7863370125      10/10/2012       12:46:16
61965      7863370582      9/20/2011        18:07:39
61966      7863370625      7/20/2012        15:03:28
61967      7863372265      11/1/2011        8:15:24
61968      7863375420      9/17/2011        9:52:54
61969      7863375595      10/21/2011       12:24:33
61970      7863380190      6/28/2012        17:42:01
61971      7863385064      7/21/2012        10:34:15
61972      7863390129      4/15/2012        15:14:43
61973      7863390129      6/27/2012        18:04:52
61974      7863390570      1/10/2012        18:10:22
61975      7863391208      3/13/2012        18:57:50
61976      7863391208      10/19/2012       19:13:22
61977      7863391512      11/30/2011       7:25:38
61978      7863391512      2/7/2012         17:11:14
61979      7863392867      10/15/2011       8:36:43
61980      7863393208      10/6/2011        16:09:32
61981      7863428138      10/22/2011       12:18:04
61982      7863430656      9/23/2011        7:04:22
61983      7863430946      5/23/2011        15:18:43
61984      7863431985      9/7/2012         15:40:59
61985      7863432814      12/26/2011       8:53:51
61986      7863432917      9/19/2011        7:12:56
61987      7863435932      3/31/2012        17:28:46
61988      7863436203      12/18/2011       17:56:43
61989      7863436204      1/13/2012        17:11:39
61990      7863436268      10/10/2012       19:09:08
61991      7863437376      11/29/2011       16:06:12
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61992      7863438878      8/5/2011         18:31:13
61993      7863439577      10/10/2012       19:05:43
61994      7863441044      11/17/2011       13:40:15
61995      7863442111      8/9/2011         12:37:46
61996      7863442734      4/16/2012        15:42:32
61997      7863442736      12/7/2011        14:21:18
61998      7863443187      1/9/2012         18:12:02
61999      7863443187      5/18/2012        15:57:46
62000      7863443539      10/15/2011       9:44:08
62001      7863445419      10/12/2011       7:38:13
62002      7863448916      2/18/2012        8:37:50
62003      7863461682      1/12/2012        14:28:29
62004      7863465444      8/25/2012        11:10:53
62005      7863465818      11/28/2011       11:58:54
62006      7863468497      9/19/2011        19:11:58
62007      7863468799      9/13/2011        7:22:57
62008      7863469619      8/31/2011        10:21:43
62009      7863469920      4/7/2012         9:22:35
62010      7863486373      10/14/2011       12:49:00
62011      7863487599      5/26/2012        14:14:14
62012      7863498746      2/3/2012         7:03:09
62013      7863500274      9/30/2011        10:18:29
62014      7863505280      12/30/2011       7:49:56
62015      7863506179      2/3/2012         7:05:10
62016      7863514740      3/8/2012         9:45:00
62017      7863515379      6/21/2012        18:43:15
62018      7863523545      9/29/2011        15:30:03
62019      7863524207      3/26/2012        18:14:53
62020      7863527420      8/16/2012        19:51:09
62021      7863527681      7/12/2012        19:52:00
62022      7863529012      3/12/2012        19:18:20
62023      7863529949      11/25/2011       17:26:41
62024      7863550518      7/14/2011        7:55:45
62025      7863551204      5/2/2012         13:24:45
62026      7863551204      5/11/2012        18:25:49
62027      7863551483      3/27/2012        7:04:08
62028      7863551714      4/4/2012         19:02:44
62029      7863551714      5/21/2012        7:30:26
62030      7863552206      2/28/2012        16:00:04
62031      7863554752      10/5/2012        12:21:39
62032      7863555050      9/8/2011         18:24:42
62033      7863557532      10/28/2011       13:54:33
62034      7863559014      8/25/2013        13:52:55
62035      7863559143      6/19/2012        13:16:36
62036      7863559909      10/13/2011       7:24:29
62037      7863561522      10/1/2012        13:47:52
62038      7863563041      7/19/2012        17:37:23
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62039      7863563162      11/30/2011       7:04:36
62040      7863563759      11/30/2011       14:47:51
62041      7863563830      11/1/2011        8:02:14
62042      7863563830      11/18/2011       12:48:31
62043      7863563830      3/2/2012         18:58:04
62044      7863566896      10/1/2011        10:18:00
62045      7863567875      4/30/2012        14:31:11
62046      7863567875      5/31/2012        15:07:12
62047      7863571800      3/27/2012        14:51:47
62048      7863572425      9/13/2011        17:19:20
62049      7863574891      10/13/2011       7:19:56
62050      7863575790      12/3/2011        9:01:09
62051      7863576680      12/24/2011       7:20:45
62052      7863576938      9/29/2011        15:11:31
62053      7863577969      1/11/2012        7:47:43
62054      7863579769      3/17/2012        8:46:35
62055      7863620262      10/24/2012       14:56:10
62056      7863621548      2/2/2012         19:01:30
62057      7863622128      10/21/2011       13:08:53
62058      7863622834      11/23/2011       9:11:17
62059      7863622941      3/16/2012        10:22:19
62060      7863623763      4/27/2012        7:06:41
62061      7863629568      1/6/2012         9:32:30
62062      7863629584      4/21/2012        16:34:17
62063      7863660324      1/11/2012        7:32:08
62064      7863662299      7/21/2012        10:21:48
62065      7863663172      10/4/2011        13:40:19
62066      7863663341      9/15/2011        7:41:34
62067      7863664471      10/5/2012        18:18:18
62068      7863666691      3/13/2012        11:17:59
62069      7863668241      9/14/2011        11:16:02
62070      7863669477      7/19/2011        16:23:13
62071      7863683615      9/19/2011        19:07:31
62072      7863684533      10/28/2011       14:06:59
62073      7863686360      12/17/2011       11:23:49
62074      7863686360      4/10/2012        15:59:31
62075      7863687440      9/13/2012        7:38:57
62076      7863688459      10/12/2011       7:51:33
62077      7863700560      1/4/2012         11:11:34
62078      7863700805      11/17/2011       16:18:23
62079      7863701357      10/21/2011       12:27:10
62080      7863701895      6/27/2012        12:10:22
62081      7863703313      10/4/2011        13:08:29
62082      7863704491      11/10/2011       7:25:03
62083      7863705350      10/13/2011       7:27:51
62084      7863706132      10/5/2011        14:06:16
62085      7863706461      2/4/2012         8:21:39
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62086      7863707064      10/17/2011       11:06:59
62087      7863707646      2/25/2012        10:36:15
62088      7863707878      1/2/2012         7:07:41
62089      7863709135      10/5/2012        18:16:20
62090      7863719815      1/10/2012        15:15:05
62091      7863741101      12/6/2011        7:45:38
62092      7863744770      3/28/2012        18:13:04
62093      7863744849      1/16/2012        17:22:56
62094      7863744849      2/4/2012         8:05:29
62095      7863750304      9/12/2011        13:49:43
62096      7863750387      9/16/2011        13:24:57
62097      7863750419      8/11/2012        9:35:15
62098      7863760844      7/2/2012         15:31:27
62099      7863763955      10/8/2011        10:49:26
62100      7863780765      6/8/2012         7:30:47
62101      7863782767      10/6/2011        17:34:08
62102      7863783729      2/20/2012        16:46:40
62103      7863783839      11/28/2011       17:52:06
62104      7863784385      5/23/2012        16:56:30
62105      7863790040      9/8/2011         18:43:03
62106      7863791173      4/16/2012        15:48:04
62107      7863792159      1/11/2012        7:42:33
62108      7863792553      4/16/2012        7:23:14
62109      7863800861      9/24/2011        9:12:31
62110      7863800953      10/1/2012        13:39:57
62111      7863801057      12/2/2011        7:33:11
62112      7863801305      9/24/2011        9:32:09
62113      7863801924      7/20/2012        7:31:57
62114      7863801932      9/21/2011        11:25:57
62115      7863801932      11/30/2011       14:47:20
62116      7863803263      10/10/2011       12:16:18
62117      7863803872      4/21/2012        8:08:12
62118      7863805189      10/15/2012       16:09:29
62119      7863805189      10/19/2012       19:01:42
62120      7863805339      5/26/2012        14:35:11
62121      7863806200      9/13/2011        7:04:02
62122      7863807160      4/6/2012         15:40:44
62123      7863807161      12/10/2011       12:46:40
62124      7863807161      1/17/2012        17:06:31
62125      7863809292      9/21/2012        18:49:47
62126      7863809686      5/1/2012         8:20:03
62127      7863809957      5/25/2011        16:49:54
62128      7863823260      1/3/2012         11:10:16
62129      7863824689      8/8/2012         16:09:36
62130      7863841577      11/26/2011       12:16:18
62131      7863855086      11/30/2011       15:09:51
62132      7863856222      11/30/2011       7:12:42
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62133      7863856756      7/20/2012        7:33:50
62134      7863859105      8/21/2012        13:48:25
62135      7863874043      12/6/2011        7:31:36
62136      7863874044      12/28/2011       17:47:50
62137      7863890003      10/19/2012       19:07:41
62138      7863890137      12/19/2011       7:28:20
62139      7863890137      1/5/2012         17:25:46
62140      7863891589      1/17/2012        18:31:18
62141      7863891686      9/27/2012        16:27:16
62142      7863891808      10/8/2011        9:18:10
62143      7863892035      10/8/2011        11:23:22
62144      7863892238      4/11/2012        19:33:59
62145      7863892471      10/7/2012        12:52:45
62146      7863892554      6/7/2012         7:11:52
62147      7863893001      12/21/2011       10:11:50
62148      7863893001      1/7/2012         8:39:03
62149      7863893771      11/30/2011       15:05:33
62150      7863897010      12/10/2011       11:53:33
62151      7863899661      3/26/2012        18:53:02
62152      7863902245      12/24/2011       12:42:33
62153      7863903868      12/17/2011       11:46:24
62154      7863905688      10/31/2011       7:20:31
62155      7863943706      12/7/2011        13:11:46
62156      7863950295      9/9/2011         7:38:58
62157      7863953245      9/22/2011        15:07:26
62158      7863953392      2/4/2012         8:11:16
62159      7863959646      5/15/2012        19:15:35
62160      7863974133      6/13/2012        7:03:45
62161      7863974945      11/8/2011        14:11:56
62162      7863979829      11/17/2011       13:47:29
62163      7863983789      8/30/2012        17:41:29
62164      7863993376      6/21/2012        18:56:18
62165      7863993962      4/21/2012        8:34:53
62166      7863994229      10/3/2011        7:09:19
62167      7863995925      1/14/2012        13:19:34
62168      7863996934      9/26/2012        7:07:43
62169      7863997013      6/8/2011         18:47:15
62170      7864022518      9/8/2011         19:27:45
62171      7864025021      11/30/2011       7:21:54
62172      7864025084      10/21/2011       13:17:52
62173      7864027319      9/8/2011         18:33:30
62174      7864027827      9/21/2011        11:40:07
62175      7864028877      3/16/2012        10:17:12
62176      7864029662      10/19/2012       19:02:52
62177      7864054041      5/19/2012        16:06:38
62178      7864060297      1/9/2012         18:23:22
62179      7864060853      8/3/2012         16:28:26
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62180      7864062640      9/8/2011         19:44:57
62181      7864063810      10/10/2011       11:42:48
62182      7864064577      12/20/2011       7:08:24
62183      7864064657      7/20/2011        13:33:56
62184      7864064787      5/17/2012        11:52:28
62185      7864065739      10/24/2011       7:01:53
62186      7864124596      1/20/2012        11:41:20
62187      7864128413      12/19/2011       8:10:41
62188      7864134463      11/7/2011        9:12:01
62189      7864134624      12/23/2011       15:41:19
62190      7864134624      1/17/2012        18:31:11
62191      7864161506      12/30/2011       7:14:23
62192      7864161613      12/26/2011       9:15:57
62193      7864162062      9/27/2012        7:30:51
62194      7864162580      3/15/2012        18:54:27
62195      7864162695      11/28/2011       11:16:08
62196      7864164582      9/8/2011         19:27:24
62197      7864170426      7/16/2011        8:18:54
62198      7864172239      7/24/2012        7:35:43
62199      7864176130      11/23/2011       14:28:15
62200      7864177456      1/13/2012        17:11:29
62201      7864192099      4/15/2012        19:57:36
62202      7864195205      1/12/2012        14:12:31
62203      7864195230      12/23/2011       15:29:21
62204      7864195557      8/13/2012        7:29:36
62205      7864195749      10/4/2011        13:16:02
62206      7864198556      8/20/2012        18:50:00
62207      7864199156      7/14/2011        15:31:39
62208      7864199351      10/12/2011       7:53:19
62209      7864222010      9/15/2012        8:15:30
62210      7864223508      10/1/2011        10:31:48
62211      7864232239      6/4/2011         9:59:56
62212      7864260203      2/2/2012         7:18:26
62213      7864260344      2/8/2012         7:34:31
62214      7864262393      10/26/2011       12:09:16
62215      7864263531      6/21/2011        13:56:16
62216      7864265092      12/6/2011        7:18:55
62217      7864265988      4/4/2012         18:47:39
62218      7864267074      5/8/2012         9:26:17
62219      7864267968      10/19/2011       12:09:30
62220      7864267968      5/8/2012         17:16:01
62221      7864268051      12/5/2011        17:20:08
62222      7864268448      12/23/2013       16:05:07
62223      7864269324      10/5/2011        13:59:27
62224      7864273245      10/2/2012        7:37:21
62225      7864273640      9/19/2011        19:24:00
62226      7864273690      4/4/2012         18:34:40
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62227      7864274006      9/16/2011        13:21:16
62228      7864275935      12/1/2011        14:56:11
62229      7864287429      8/26/2011        17:57:26
62230      7864318140      3/20/2012        17:45:28
62231      7864364178      9/27/2012        7:31:57
62232      7864366474      8/3/2011         12:09:36
62233      7864394480      9/13/2011        7:17:13
62234      7864397455      12/21/2011       19:23:47
62235      7864397555      3/12/2012        19:22:13
62236      7864398423      5/21/2012        7:20:45
62237      7864398844      10/1/2012        13:47:38
62238      7864431098      5/17/2012        12:04:04
62239      7864431593      1/19/2012        7:31:20
62240      7864435065      12/9/2011        7:46:25
62241      7864435503      7/26/2012        19:17:17
62242      7864436228      11/9/2011        7:25:35
62243      7864437916      11/29/2013       9:31:20
62244      7864438498      9/8/2012         11:21:31
62245      7864438577      10/11/2011       16:54:42
62246      7864438791      7/2/2012         14:59:54
62247      7864439694      7/31/2012        7:06:42
62248      7864444350      9/21/2012        18:51:33
62249      7864444671      5/15/2012        7:50:22
62250      7864445468      10/18/2011       12:55:07
62251      7864445493      11/30/2011       7:19:12
62252      7864446430      11/30/2011       7:08:02
62253      7864446644      1/10/2012        15:27:55
62254      7864447688      1/3/2012         11:03:23
62255      7864447915      5/23/2012        14:45:01
62256      7864447969      10/8/2011        11:19:07
62257      7864448862      10/7/2011        7:03:43
62258      7864449136      6/14/2012        15:55:55
62259      7864470052      11/23/2011       14:32:21
62260      7864473509      5/9/2011         16:53:26
62261      7864477436      2/6/2012         16:44:56
62262      7864478442      7/11/2012        17:17:59
62263      7864478629      7/10/2012        7:31:11
62264      7864495819      12/23/2011       13:45:24
62265      7864499834      9/26/2011        8:43:01
62266      7864540756      4/3/2012         16:05:35
62267      7864540766      3/8/2012         7:05:42
62268      7864545714      10/19/2012       19:03:01
62269      7864573576      3/3/2012         8:46:28
62270      7864573917      10/10/2012       12:54:05
62271      7864576118      11/8/2011        13:43:02
62272      7864680057      1/8/2012         12:50:39
62273      7864681615      6/4/2012         8:44:04
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62274      7864683047      8/6/2012         14:34:20
62275      7864699198      1/8/2012         12:50:04
62276      7864699198      1/23/2012        7:14:38
62277      7864700960      3/6/2012         15:43:15
62278      7864704326      10/7/2011        7:17:28
62279      7864706169      4/12/2012        18:03:13
62280      7864706941      11/28/2011       17:38:02
62281      7864707968      7/13/2011        11:36:16
62282      7864707976      5/29/2012        17:18:50
62283      7864788227      3/15/2012        19:02:35
62284      7864788263      10/20/2011       16:31:02
62285      7864790681      8/7/2013         8:48:18
62286      7864862857      10/18/2012       16:48:19
62287      7864862975      5/18/2012        15:38:14
62288      7864862975      6/19/2012        15:41:04
62289      7864862975      9/26/2012        14:36:09
62290      7864863695      9/25/2012        14:49:21
62291      7864865044      12/20/2011       19:28:19
62292      7864865346      3/25/2012        11:30:34
62293      7864865346      4/2/2012         7:22:58
62294      7864865346      7/30/2012        18:51:19
62295      7864865456      4/3/2012         16:05:45
62296      7864865469      6/9/2012         14:57:36
62297      7864865469      10/15/2012       10:04:48
62298      7864866647      12/30/2011       7:04:51
62299      7864870248      4/30/2012        14:33:06
62300      7864870361      2/10/2012        7:14:47
62301      7864870713      10/17/2011       7:13:29
62302      7864871861      3/19/2012        12:01:43
62303      7864872283      8/22/2012        11:16:16
62304      7864872891      3/14/2012        19:40:10
62305      7864874841      10/26/2011       8:14:30
62306      7864877106      10/19/2011       8:18:10
62307      7864877106      12/10/2011       14:40:41
62308      7864877771      12/5/2011        18:11:28
62309      7864878588      11/11/2011       7:49:50
62310      7864879633      8/3/2012         7:52:06
62311      7864884769      3/4/2012         12:28:33
62312      7864885205      10/4/2011        13:16:10
62313      7864885420      2/7/2012         7:06:52
62314      7864885420      3/29/2012        16:38:34
62315      7864885565      12/7/2011        14:56:08
62316      7864885685      3/16/2012        10:43:08
62317      7864888252      7/13/2012        16:49:19
62318      7864889383      3/2/2012         18:56:54
62319      7864939136      10/14/2011       12:41:49
62320      7864991309      12/29/2011       19:12:10
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62321      7864991332      10/20/2012       16:20:57
62322      7864991514      3/29/2012        17:16:48
62323      7864994493      5/7/2012         7:12:18
62324      7864995291      7/9/2011         8:41:13
62325      7864995343      3/2/2012         7:05:54
62326      7864997001      5/2/2012         13:26:12
62327      7864997740      6/20/2012        16:57:02
62328      7864999657      6/7/2012         18:37:21
62329      7864999953      3/25/2012        11:37:59
62330      7865062807      11/10/2011       7:26:47
62331      7865064192      11/21/2011       7:32:17
62332      7865065085      9/17/2011        9:17:33
62333      7865079131      6/6/2012         7:12:10
62334      7865121040      2/14/2012        9:58:44
62335      7865122174      9/28/2011        10:05:37
62336      7865122368      12/28/2011       18:24:45
62337      7865141745      10/25/2012       12:09:19
62338      7865155364      9/21/2011        19:33:05
62339      7865155618      12/5/2011        18:03:16
62340      7865155877      3/15/2011        11:30:34
62341      7865157766      10/25/2011       16:15:26
62342      7865157953      2/26/2012        13:16:45
62343      7865214381      8/24/2011        11:50:24
62344      7865217996      7/11/2012        9:43:36
62345      7865219226      10/20/2011       15:26:25
62346      7865219256      3/18/2011        9:01:28
62347      7865219754      12/20/2011       7:03:32
62348      7865231340      4/16/2012        15:46:07
62349      7865232358      11/14/2011       14:32:54
62350      7865233364      10/17/2011       7:13:46
62351      7865233428      10/5/2012        18:21:23
62352      7865233504      11/12/2011       10:01:19
62353      7865233512      6/27/2012        12:12:10
62354      7865236022      10/25/2011       15:19:58
62355      7865236773      8/19/2011        12:18:56
62356      7865236821      2/1/2012         8:04:48
62357      7865236998      7/12/2012        19:58:09
62358      7865239423      3/19/2012        7:14:27
62359      7865239635      1/17/2012        18:41:33
62360      7865256288      6/11/2011        8:38:47
62361      7865257690      6/18/2012        15:09:27
62362      7865258515      1/26/2012        7:35:07
62363      7865259372      5/14/2012        15:19:10
62364      7865371848      9/20/2011        16:33:29
62365      7865371918      9/8/2011         19:24:30
62366      7865374802      12/18/2011       17:05:02
62367      7865375232      3/22/2012        14:13:12
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62368      7865396454      3/1/2012         8:49:03
62369      7865398294      5/8/2012         7:03:55
62370      7865398829      1/5/2012         13:59:31
62371      7865414075      10/3/2012        19:53:25
62372      7865414193      9/28/2012        16:43:23
62373      7865414597      9/13/2011        7:16:52
62374      7865414733      5/26/2012        14:20:10
62375      7865414733      6/5/2012         7:05:04
62376      7865415497      3/15/2011        11:18:06
62377      7865416445      1/27/2012        17:51:32
62378      7865416659      11/8/2011        14:20:15
62379      7865416828      5/14/2012        15:32:21
62380      7865417351      12/3/2011        9:47:43
62381      7865430020      7/2/2012         17:20:20
62382      7865430020      7/9/2012         7:07:39
62383      7865456693      12/1/2011        8:14:42
62384      7865467361      10/26/2011       11:49:09
62385      7865468288      12/29/2011       18:44:50
62386      7865468308      8/20/2012        18:50:47
62387      7865472593      1/4/2012         10:59:25
62388      7865473238      2/15/2012        11:23:51
62389      7865474435      10/15/2011       9:03:03
62390      7865478083      3/12/2012        7:25:10
62391      7865533438      5/1/2012         17:33:09
62392      7865536312      5/22/2012        18:19:20
62393      7865542252      5/11/2012        12:14:29
62394      7865546356      10/11/2012       11:59:23
62395      7865546872      4/4/2011         13:10:50
62396      7865547560      9/19/2012        7:53:51
62397      7865547560      10/24/2012       14:52:56
62398      7865548095      10/22/2011       13:07:35
62399      7865560902      9/7/2011         14:46:12
62400      7865568692      4/13/2012        13:16:10
62401      7865569832      10/15/2012       9:58:04
62402      7865646697      12/23/2011       13:57:32
62403      7865647141      1/18/2012        9:57:16
62404      7865648732      9/10/2011        9:01:22
62405      7865660768      10/14/2011       12:44:26
62406      7865661556      12/10/2011       12:53:31
62407      7865861327      11/18/2011       12:14:45
62408      7865865414      1/17/2012        18:41:04
62409      7865873116      11/29/2011       16:15:28
62410      7865877115      11/30/2011       7:17:42
62411      7865877145      8/1/2012         8:30:52
62412      7865877161      1/16/2012        17:28:20
62413      7865879624      9/16/2011        13:24:38
62414      7865970968      12/20/2011       9:25:45
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62415      7865971769      11/10/2011       7:28:40
62416      7865971850      1/28/2012        9:43:58
62417      7865971850      2/22/2012        7:07:26
62418      7865971850      6/11/2012        17:58:13
62419      7865972459      1/19/2012        18:26:12
62420      7865972723      4/3/2012         15:57:48
62421      7865972890      12/21/2011       9:51:26
62422      7865973582      5/21/2012        7:50:54
62423      7865973774      12/23/2011       15:28:35
62424      7865976133      7/30/2012        18:35:46
62425      7865976493      4/16/2012        15:42:17
62426      7865976515      10/20/2011       15:24:49
62427      7865976588      10/15/2012       16:10:58
62428      7865977379      2/13/2012        18:45:44
62429      7865977379      3/23/2012        19:12:56
62430      7865978341      10/11/2011       17:00:39
62431      7865978966      1/24/2012        17:16:10
62432      7866194160      6/11/2012        17:48:44
62433      7866194510      9/13/2011        17:35:35
62434      7866194721      9/10/2011        8:49:52
62435      7866195487      9/9/2011         7:48:30
62436      7866196716      5/13/2011        11:16:28
62437      7866197213      10/18/2011       12:53:06
62438      7866237866      9/7/2012         15:36:52
62439      7866240162      1/27/2012        7:24:27
62440      7866240378      2/17/2012        9:07:42
62441      7866240623      12/6/2011        7:24:16
62442      7866247364      1/13/2012        17:38:42
62443      7866247597      11/17/2011       16:18:07
62444      7866248045      1/24/2012        10:41:07
62445      7866249201      8/30/2011        16:23:16
62446      7866629625      10/22/2011       12:28:54
62447      7866634587      9/24/2012        18:53:14
62448      7866635920      10/3/2012        19:48:08
62449      7866636681      12/8/2011        19:37:58
62450      7866639749      6/24/2012        13:51:24
62451      7866830191      9/26/2011        8:01:26
62452      7866836673      12/6/2011        7:43:25
62453      7866836673      1/9/2012         18:35:30
62454      7866837650      2/9/2012         7:24:35
62455      7866838250      2/2/2012         7:09:11
62456      7866839016      10/10/2011       12:19:59
62457      7866933666      12/7/2011        18:08:39
62458      7866933718      11/14/2011       15:58:10
62459      7867041153      11/2/2011        7:04:17
62460      7867042161      10/4/2011        13:39:30
62461      7867042436      10/1/2011        10:25:18
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62462      7867042436      12/7/2011        13:35:49
62463      7867044226      5/9/2011         16:37:09
62464      7867047788      6/5/2012         19:52:47
62465      7867096569      9/18/2012        14:17:21
62466      7867121336      5/25/2012        17:15:16
62467      7867122028      12/9/2011        13:57:06
62468      7867122168      9/8/2011         17:52:43
62469      7867122172      1/23/2012        18:56:11
62470      7867122876      10/11/2011       17:01:40
62471      7867123898      7/20/2011        14:41:32
62472      7867124361      7/12/2012        19:51:01
62473      7867124404      12/16/2011       15:35:40
62474      7867124721      9/7/2012         15:38:00
62475      7867126406      2/4/2012         8:20:19
62476      7867128771      1/5/2012         12:00:22
62477      7867151396      4/19/2012        7:20:10
62478      7867154259      9/21/2011        19:33:20
62479      7867154377      9/7/2012         15:49:20
62480      7867154576      1/9/2012         7:16:47
62481      7867155523      1/12/2012        7:15:09
62482      7867156043      9/29/2011        15:30:57
62483      7867158650      7/20/2012        7:36:44
62484      7867158990      4/23/2011        10:05:48
62485      7867183451      9/13/2011        17:34:19
62486      7867185072      10/10/2011       11:37:50
62487      7867187858      10/4/2011        13:43:17
62488      7867188177      12/20/2011       7:05:29
62489      7867189644      12/7/2011        15:05:57
62490      7867189694      1/10/2012        15:15:07
62491      7867280391      9/13/2011        15:05:52
62492      7867281359      9/21/2012        18:44:39
62493      7867285138      10/17/2011       11:29:51
62494      7867285363      3/13/2012        10:58:13
62495      7867285363      5/11/2012        18:31:29
62496      7867382234      10/11/2011       16:50:16
62497      7867384045      1/24/2012        10:00:24
62498      7867384141      7/19/2012        17:37:01
62499      7867522287      11/17/2011       15:24:39
62500      7867522765      3/15/2012        13:46:49
62501      7867681128      1/25/2012        9:25:14
62502      7867681187      12/9/2011        15:18:20
62503      7867683109      10/6/2011        16:15:42
62504      7867683678      9/6/2012         12:30:40
62505      7867684943      9/13/2011        15:32:09
62506      7867686626      10/11/2011       15:58:52
62507      7867687617      11/7/2011        7:23:28
62508      7867687617      11/18/2011       13:29:14
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62509      7867688701      9/21/2012        18:44:02
62510      7867689180      1/4/2012         15:00:56
62511      7867971906      7/12/2012        7:04:32
62512      7867972452      2/28/2012        15:59:03
62513      7867975435      5/18/2012        7:01:40
62514      7867976737      10/15/2011       10:32:35
62515      7868371978      1/6/2012         14:36:58
62516      7868381957      11/22/2011       19:12:56
62517      7868386411      11/21/2011       7:39:12
62518      7868387142      11/18/2011       13:29:10
62519      7868388011      9/13/2011        7:11:25
62520      7868389678      8/21/2012        13:55:59
62521      7868534488      12/8/2011        19:43:44
62522      7868535261      10/6/2011        16:28:45
62523      7868537341      9/19/2011        7:16:22
62524      7868539691      2/15/2012        8:07:42
62525      7868591516      3/19/2012        17:39:55
62526      7868591516      3/23/2012        19:10:12
62527      7868591972      4/19/2012        7:19:01
62528      7868593754      11/2/2013        15:48:06
62529      7868632902      12/9/2011        14:21:45
62530      7868730937      5/11/2012        18:07:18
62531      7868731416      10/5/2011        13:59:58
62532      7868732778      10/4/2011        13:08:51
62533      7868736002      5/13/2012        16:59:16
62534      7868736060      5/22/2012        18:27:38
62535      7868737781      12/5/2011        9:10:14
62536      7868775722      9/21/2011        11:43:06
62537      7868779662      10/17/2011       11:11:45
62538      7868779698      6/21/2012        10:13:53
62539      7868793004      1/13/2012        12:37:01
62540      7868793771      10/31/2011       7:45:57
62541      7868794698      12/21/2011       10:54:27
62542      7868796887      7/13/2011        11:36:41
62543      7868971971      9/1/2012         9:16:24
62544      7868976667      10/16/2012       7:22:21
62545      7869084609      10/12/2011       11:47:24
62546      7869250579      11/21/2011       7:20:09
62547      7869251333      10/13/2011       7:09:17
62548      7869251468      8/3/2012         16:30:05
62549      7869252741      10/22/2011       12:19:34
62550      7869255386      8/16/2012        19:52:03
62551      7869255386      9/4/2012         15:42:25
62552      7869421331      9/14/2011        16:10:10
62553      7869530353      2/13/2012        18:39:42
62554      7869553308      1/23/2012        7:16:55
62555      7869700042      11/15/2011       16:18:00
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62556      7869700311      1/7/2012         9:06:32
62557      7869700311      1/12/2012        7:08:34
62558      7869700428      4/12/2012        18:31:25
62559      7869700605      12/20/2011       7:14:34
62560      7869702359      10/20/2011       15:25:30
62561      7869702605      3/5/2012         7:03:11
62562      7869703252      11/18/2011       13:27:43
62563      7869703393      10/8/2011        11:15:27
62564      7869704670      4/11/2012        10:52:35
62565      7869705718      2/17/2012        8:55:43
62566      7869707310      11/3/2011        17:40:46
62567      7869707730      11/21/2011       7:40:17
62568      7869708693      1/18/2012        16:48:25
62569      7869708984      8/23/2012        11:51:55
62570      7869726762      11/9/2011        8:01:10
62571      7869727395      12/6/2011        14:30:32
62572      7869753086      3/10/2012        8:26:18
62573      7869753286      10/29/2011       11:31:46
62574      7869753815      1/20/2012        14:52:07
62575      7869754376      7/13/2011        10:59:30
62576      7869756494      4/16/2012        7:03:57
62577      7869758429      12/16/2011       15:56:43
62578      7869759263      1/9/2012         18:05:11
62579      7869759315      3/20/2012        9:03:03
62580      7869850020      10/12/2011       7:43:50
62581      7869850186      6/20/2012        16:50:11
62582      7869850614      5/5/2012         8:06:02
62583      7869850614      10/5/2012        18:27:51
62584      7869851524      11/17/2011       16:15:28
62585      7869853540      12/21/2013       8:07:35
62586      7869855230      9/19/2012        7:50:40
62587      7869856975      1/5/2012         12:00:36
62588      7869857178      12/2/2011        15:19:52
62589      7869857729      5/11/2012        18:30:11
62590      7869914185      1/6/2012         14:32:25
62591      7869916319      3/3/2012         8:13:24
62592      7869917342      11/15/2011       15:12:18
62593      7869918185      10/15/2012       16:15:56
62594      7869992309      2/14/2012        16:37:30
62595      7869992381      11/30/2011       14:49:30
62596      7869993179      11/14/2011       16:34:48
62597      7869999996      12/26/2011       8:58:30
62598      7872025215      9/15/2011        9:17:01
62599      7872099007      1/27/2012        17:59:43
62600      7872175430      4/1/2014         7:32:43
62601      7872286813      11/9/2013        10:21:15
62602      7872323164      3/23/2011        20:13:56
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                                   #:13184

62603      7872328024      9/21/2012        18:44:34
62604      7872343378      9/14/2011        21:30:47
62605      7872469495      9/29/2012        9:49:33
62606      7872909907      2/7/2012         7:14:52
62607      7872989851      12/13/2011       17:50:53
62608      7872993068      1/30/2012        7:04:16
62609      7873083379      7/26/2011        10:22:26
62610      7873105337      2/17/2012        10:47:29
62611      7873412922      4/15/2012        16:58:16
62612      7873462806      10/18/2011       7:14:36
62613      7873563939      11/20/2011       11:05:30
62614      7873569137      9/21/2011        13:02:35
62615      7873639456      3/1/2012         11:41:59
62616      7873656752      2/3/2012         20:10:00
62617      7873683434      8/7/2012         18:01:42
62618      7873684808      11/16/2011       8:00:42
62619      7873741418      6/29/2012        17:43:57
62620      7873756875      10/17/2011       11:47:35
62621      7873809738      2/21/2012        17:31:59
62622      7873817407      1/17/2012        18:41:34
62623      7873846317      12/21/2011       10:02:38
62624      7873847166      7/20/2011        14:27:51
62625      7874075395      3/19/2012        7:15:33
62626      7874100808      10/12/2011       12:11:02
62627      7874122030      4/11/2012        7:14:08
62628      7874143058      3/14/2012        14:09:17
62629      7874149922      11/16/2011       7:53:33
62630      7874153787      9/13/2011        7:06:54
62631      7874201528      3/13/2012        17:00:58
62632      7874206879      9/26/2011        8:30:46
62633      7874245903      9/22/2012        9:38:42
62634      7874322194      11/5/2011        9:15:08
62635      7874444434      6/23/2012        16:17:43
62636      7874472779      9/22/2011        15:49:52
62637      7874473644      11/28/2011       12:07:14
62638      7874495226      7/20/2011        13:26:30
62639      7874584782      10/21/2011       13:18:31
62640      7874608919      1/5/2012         17:25:42
62641      7874621674      11/12/2011       9:05:20
62642      7874646460      2/6/2012         17:06:23
62643      7874676371      1/20/2012        11:43:32
62644      7874861261      9/13/2011        18:31:56
62645      7875104377      8/31/2012        16:33:14
62646      7875107199      10/16/2013       12:34:52
62647      7875107831      1/19/2012        7:24:02
62648      7875252563      9/8/2011         19:28:28
62649      7875258978      11/17/2011       16:43:36
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62650      7875300612      1/18/2012        9:57:18
62651      7875335222      10/25/2011       15:52:14
62652      7875364910      11/17/2011       13:31:25
62653      7875367409      9/19/2011        7:23:44
62654      7875432038      1/24/2012        17:10:53
62655      7875603859      5/1/2012         8:16:03
62656      7875853886      3/31/2012        17:56:13
62657      7875903344      11/5/2011        10:11:34
62658      7875977560      3/26/2012        18:23:12
62659      7875989561      3/2/2012         7:09:56
62660      7875994357      6/22/2012        7:09:20
62661      7876022465      5/16/2012        7:01:52
62662      7876051517      7/24/2012        14:38:09
62663      7876051872      8/31/2011        9:51:26
62664      7876081411      2/8/2012         7:26:10
62665      7876130131      10/1/2011        9:23:19
62666      7876190808      12/18/2011       16:35:25
62667      7876199853      9/14/2011        16:33:16
62668      7876447499      10/10/2012       12:42:09
62669      7876611927      11/5/2011        11:03:58
62670      7876621563      5/22/2012        11:41:51
62671      7877178703      8/21/2012        13:52:38
62672      7877446669      9/10/2011        8:59:49
62673      7877461979      8/13/2012        7:36:41
62674      7877642737      6/7/2012         18:29:21
62675      7877886595      2/9/2012         9:31:52
62676      7878425713      9/13/2011        7:09:29
62677      7878505798      10/12/2011       7:52:05
62678      7878825638      1/25/2012        9:33:52
62679      7878943190      11/17/2011       13:32:41
62680      7879236745      4/9/2012         13:33:30
62681      7879480452      5/23/2012        16:40:02
62682      7879513610      2/13/2012        7:23:50
62683      7879516978      11/15/2011       15:17:35
62684      7879620788      1/8/2012         12:49:14
62685      7879748193      7/18/2012        18:24:52
62686      7879969014      10/21/2011       12:30:29
62687      7879984750      10/19/2012       11:32:25
62688      8012005616      12/26/2011       20:08:51
62689      8012007395      4/11/2012        13:05:27
62690      8012012666      9/22/2011        16:16:15
62691      8012017144      11/4/2011        9:20:07
62692      8012017386      9/21/2011        11:36:57
62693      8012017386      10/7/2011        9:49:15
62694      8012054041      7/25/2012        20:39:50
62695      8012059022      9/8/2011         19:56:06
62696      8012091758      3/2/2012         15:28:13
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62697      8012256804      8/9/2012         14:18:19
62698      8012267448      10/10/2011       12:54:35
62699      8012268764      5/25/2012        9:08:13
62700      8012274806      4/13/2012        13:41:06
62701      8012300978      11/18/2011       13:34:27
62702      8012302867      9/13/2011        13:38:23
62703      8012312308      3/6/2012         20:30:55
62704      8012317357      7/20/2011        14:00:33
62705      8012323178      10/10/2011       12:56:13
62706      8012327589      5/24/2012        12:31:02
62707      8012329568      9/10/2011        9:18:38
62708      8012430190      7/18/2012        18:27:09
62709      8012433730      11/5/2011        11:47:23
62710      8012444402      11/26/2011       13:55:19
62711      8012445362      11/5/2011        10:24:39
62712      8012459661      1/17/2012        20:51:31
62713      8012593629      3/3/2012         10:42:31
62714      8012593632      1/11/2012        8:56:12
62715      8012653630      11/11/2011       13:23:35
62716      8012896165      11/12/2011       10:50:29
62717      8012896780      1/11/2012        16:24:29
62718      8013002862      5/9/2012         21:04:27
62719      8013006370      3/21/2012        13:52:29
62720      8013017802      9/21/2011        12:01:06
62721      8013090581      4/3/2012         18:29:56
62722      8013102627      5/2/2012         13:18:14
62723      8013176945      2/4/2012         13:11:37
62724      8013181358      8/30/2012        17:32:40
62725      8013182100      12/1/2011        10:33:56
62726      8013183990      1/11/2012        10:57:17
62727      8013184685      9/8/2011         19:53:52
62728      8013195552      12/5/2011        18:17:01
62729      8013197282      9/8/2011         19:35:11
62730      8013199610      1/5/2012         14:09:03
62731      8013308642      2/7/2012         20:26:52
62732      8013308642      2/16/2012        11:25:09
62733      8013360067      1/28/2012        9:36:50
62734      8013360959      9/20/2011        20:37:11
62735      8013471736      7/12/2011        12:32:16
62736      8013474507      10/31/2011       9:04:07
62737      8013474527      2/13/2012        9:31:37
62738      8013474527      5/21/2012        9:03:45
62739      8013475889      7/14/2011        9:04:28
62740      8013475943      8/19/2011        12:25:52
62741      8013477499      10/4/2011        13:24:27
62742      8013477643      12/23/2011       20:42:25
62743      8013477946      3/21/2012        9:14:03
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62744      8013477946      4/28/2012        9:16:04
62745      8013478025      12/31/2011       12:16:06
62746      8013490193      4/4/2012         18:55:19
62747      8013496115      10/1/2011        10:54:26
62748      8013584632      3/13/2012        12:46:04
62749      8013584632      7/5/2012         10:44:02
62750      8013585620      10/18/2011       12:39:50
62751      8013586328      5/15/2012        19:02:46
62752      8013586341      11/30/2011       12:51:17
62753      8013588164      7/18/2012        18:36:30
62754      8013608642      2/4/2012         13:14:07
62755      8013620466      6/9/2012         14:47:21
62756      8013681603      9/8/2011         19:05:42
62757      8013764608      10/7/2011        9:51:04
62758      8013767668      12/5/2011        9:46:38
62759      8013806757      10/7/2011        9:49:30
62760      8013806925      6/12/2012        9:03:58
62761      8013808862      4/13/2012        13:42:21
62762      8013862652      5/6/2012         21:21:00
62763      8013866930      3/28/2012        12:34:36
62764      8013884785      11/7/2011        11:04:57
62765      8013888440      5/11/2011        17:05:10
62766      8013891261      10/15/2012       16:28:09
62767      8013891378      6/6/2012         15:00:01
62768      8013900925      10/3/2012        9:20:16
62769      8013904207      6/8/2012         19:43:28
62770      8013905418      1/16/2012        20:23:40
62771      8013905865      10/11/2011       17:35:04
62772      8013908327      9/21/2011        12:02:12
62773      8013954795      11/29/2013       9:40:59
62774      8014001764      3/25/2012        12:11:29
62775      8014004347      3/16/2012        16:08:48
62776      8014009180      2/4/2012         13:12:31
62777      8014009230      7/13/2011        11:59:22
62778      8014009899      11/27/2011       15:34:46
62779      8014032087      3/15/2012        19:09:17
62780      8014035657      2/20/2012        17:14:00
62781      8014035958      10/5/2012        12:50:23
62782      8014036724      12/27/2011       14:41:27
62783      8014036791      3/15/2012        13:48:09
62784      8014044459      1/17/2012        18:36:43
62785      8014046073      10/5/2011        14:47:54
62786      8014102094      8/10/2013        16:45:03
62787      8014136652      11/11/2011       20:11:15
62788      8014139755      3/14/2012        14:12:34
62789      8014140882      11/26/2011       12:04:34
62790      8014145014      12/10/2011       12:30:24
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62791      8014145364      10/28/2011       13:44:01
62792      8014250246      8/7/2012         17:44:41
62793      8014254937      2/10/2012        20:36:09
62794      8014259754      10/10/2011       12:02:07
62795      8014270072      3/2/2012         19:18:38
62796      8014270957      12/15/2011       9:03:43
62797      8014271527      8/12/2011        11:19:43
62798      8014271898      3/25/2012        11:31:59
62799      8014272570      11/2/2011        14:05:41
62800      8014274566      3/21/2012        13:52:30
62801      8014274568      3/24/2012        10:07:17
62802      8014275546      10/29/2013       14:31:37
62803      8014275601      7/6/2012         14:42:58
62804      8014277729      4/1/2011         13:25:24
62805      8014278065      2/15/2012        11:27:05
62806      8014307058      3/28/2012        14:33:41
62807      8014337058      11/14/2011       17:37:10
62808      8014401515      9/8/2011         19:34:52
62809      8014489266      12/16/2011       15:49:39
62810      8014554077      10/4/2011        13:25:22
62811      8014557852      9/13/2011        18:07:36
62812      8014580602      6/23/2012        10:38:33
62813      8014585538      3/28/2012        12:36:52
62814      8014585542      12/10/2011       14:51:06
62815      8014587272      5/23/2012        16:55:40
62816      8014587272      6/26/2012        21:17:50
62817      8014587758      5/14/2012        15:46:54
62818      8014714059      1/12/2012        10:11:17
62819      8014715049      1/8/2012         15:38:47
62820      8014718158      3/26/2011        11:08:51
62821      8014725071      5/2/2012         13:16:48
62822      8014731520      12/21/2011       10:05:55
62823      8014738075      9/7/2011         14:34:10
62824      8014739612      1/11/2012        16:31:35
62825      8014993914      9/14/2011        16:52:27
62826      8014994908      5/16/2012        16:51:36
62827      8015022478      3/2/2012         9:15:22
62828      8015029036      8/28/2012        12:00:49
62829      8015126369      9/22/2011        16:15:43
62830      8015126369      11/28/2011       18:09:43
62831      8015126398      1/19/2012        18:43:04
62832      8015129522      6/24/2011        11:33:21
62833      8015130463      1/27/2012        18:06:14
62834      8015130463      2/1/2012         18:41:51
62835      8015138214      2/11/2012        15:47:31
62836      8015140110      1/20/2012        11:52:46
62837      8015145973      5/23/2012        16:32:02
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62838      8015188369      2/3/2012         20:02:15
62839      8015206469      10/11/2011       16:32:14
62840      8015208848      5/28/2012        9:14:12
62841      8015209589      9/21/2011        19:47:28
62842      8015290103      12/24/2011       9:20:18
62843      8015290684      9/14/2011        10:23:16
62844      8015406062      2/26/2012        13:29:02
62845      8015409573      8/21/2012        13:50:53
62846      8015413140      4/30/2012        15:06:48
62847      8015413140      5/9/2012         21:06:32
62848      8015415830      12/17/2011       11:39:50
62849      8015480209      9/3/2012         14:36:05
62850      8015480363      3/8/2012         21:08:13
62851      8015481429      10/18/2011       12:33:24
62852      8015482080      3/14/2012        19:47:44
62853      8015482156      5/21/2012        9:04:00
62854      8015485154      4/9/2012         13:38:36
62855      8015485708      10/8/2011        12:09:08
62856      8015487301      10/22/2011       12:46:04
62857      8015488250      9/27/2011        18:51:32
62858      8015497273      7/24/2012        20:32:05
62859      8015506557      11/27/2011       15:36:42
62860      8015544473      3/28/2012        18:15:47
62861      8015547989      10/3/2012        19:57:17
62862      8015566051      7/2/2011         13:56:00
62863      8015584505      6/16/2012        9:28:25
62864      8015587802      10/17/2011       9:14:00
62865      8015588374      3/12/2012        19:12:18
62866      8015588374      3/16/2012        15:55:09
62867      8015589126      10/28/2011       14:32:32
62868      8015589264      9/29/2011        15:23:46
62869      8015589284      9/9/2011         18:04:31
62870      8015589284      9/21/2011        19:31:12
62871      8015604033      10/27/2011       16:14:51
62872      8015609170      12/28/2011       11:06:13
62873      8015617182      9/29/2011        15:55:58
62874      8015642679      10/25/2011       15:41:29
62875      8015643853      3/23/2012        19:54:10
62876      8015648277      2/7/2012         20:25:45
62877      8015648460      9/26/2011        9:14:27
62878      8015770305      5/10/2012        21:30:54
62879      8015770632      12/7/2011        15:20:14
62880      8015771844      3/29/2012        16:35:16
62881      8015774667      8/1/2012         9:06:10
62882      8015776880      12/5/2011        18:39:54
62883      8015777947      12/27/2011       14:23:00
62884      8015778288      12/23/2011       14:23:01
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62885      8015779883      9/27/2011        18:51:29
62886      8015849939      5/1/2012         18:30:53
62887      8015921146      1/31/2012        10:11:08
62888      8015921146      4/19/2012        14:36:33
62889      8015971072      9/28/2012        14:31:47
62890      8015975212      12/22/2011       9:17:22
62891      8015975654      2/15/2012        11:16:22
62892      8015979541      3/22/2012        14:02:43
62893      8015980631      1/7/2012         9:04:55
62894      8016023097      7/16/2012        9:36:40
62895      8016023386      3/2/2012         9:26:44
62896      8016024762      7/17/2012        12:31:13
62897      8016028806      3/12/2012        19:12:20
62898      8016029025      7/18/2012        14:47:02
62899      8016030008      9/26/2011        9:15:45
62900      8016030008      12/27/2011       14:40:17
62901      8016030008      1/10/2012        18:05:31
62902      8016030359      9/13/2011        13:38:01
62903      8016031384      2/16/2012        9:20:26
62904      8016032648      10/11/2012       18:36:27
62905      8016032712      2/11/2012        15:12:46
62906      8016035813      12/6/2011        13:39:08
62907      8016036512      10/3/2012        19:49:50
62908      8016036536      3/21/2012        13:52:29
62909      8016037489      10/19/2012       10:01:14
62910      8016038081      11/12/2011       10:48:35
62911      8016042190      1/13/2012        10:41:13
62912      8016043862      12/2/2011        15:28:47
62913      8016044721      9/23/2011        19:05:04
62914      8016044910      12/1/2011        15:32:39
62915      8016045558      11/25/2011       18:31:09
62916      8016046733      3/20/2012        9:21:47
62917      8016047053      10/13/2011       9:35:16
62918      8016047390      1/13/2012        17:18:30
62919      8016047465      3/16/2012        10:07:07
62920      8016048280      11/14/2011       17:34:05
62921      8016048846      12/9/2011        12:49:04
62922      8016083257      9/21/2011        19:36:14
62923      8016089880      10/18/2011       13:10:27
62924      8016154300      3/19/2012        19:24:39
62925      8016159704      10/11/2011       17:25:08
62926      8016162057      9/14/2012        21:09:25
62927      8016162057      9/21/2012        18:42:34
62928      8016162602      7/9/2011         9:03:15
62929      8016169962      12/23/2011       16:04:14
62930      8016230347      3/7/2012         18:44:50
62931      8016233281      10/16/2012       16:30:48
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62932      8016233649      5/17/2011        9:46:33
62933      8016284144      9/19/2011        14:37:12
62934      8016287731      8/29/2012        20:23:01
62935      8016289352      12/21/2011       19:57:29
62936      8016310534      2/21/2012        20:50:28
62937      8016312346      1/23/2012        19:19:12
62938      8016312426      1/6/2012         15:03:31
62939      8016318607      10/7/2011        9:49:44
62940      8016330065      12/29/2011       19:05:49
62941      8016330065      5/11/2012        21:28:02
62942      8016334099      6/19/2012        12:00:54
62943      8016334557      6/5/2012         15:39:23
62944      8016341297      1/20/2012        20:35:44
62945      8016346996      9/18/2012        21:30:18
62946      8016357150      10/7/2012        13:11:36
62947      8016357150      10/13/2012       9:14:29
62948      8016359757      1/17/2012        9:48:46
62949      8016360959      12/26/2011       20:09:25
62950      8016369647      1/3/2012         19:45:30
62951      8016370635      9/10/2011        9:02:51
62952      8016371035      11/8/2011        14:40:33
62953      8016371167      3/13/2012        12:53:21
62954      8016371376      12/18/2011       16:29:25
62955      8016373298      10/2/2012        10:07:47
62956      8016375553      8/24/2012        21:03:55
62957      8016376971      9/14/2011        21:28:27
62958      8016377769      2/24/2011        12:01:35
62959      8016378368      4/11/2012        11:30:36
62960      8016381696      9/19/2011        14:55:29
62961      8016382292      10/6/2012        9:48:03
62962      8016384060      10/6/2011        16:58:19
62963      8016385840      2/28/2012        16:07:52
62964      8016385845      4/25/2011        14:50:11
62965      8016389138      7/11/2011        9:11:29
62966      8016411436      10/11/2011       17:38:30
62967      8016411527      10/13/2011       9:34:25
62968      8016411527      10/22/2011       13:18:35
62969      8016432960      12/26/2011       9:34:54
62970      8016443058      10/8/2011        12:08:08
62971      8016451756      12/5/2011        18:42:06
62972      8016452621      7/30/2012        13:20:54
62973      8016455929      4/24/2012        12:43:44
62974      8016459890      9/23/2011        18:49:21
62975      8016512354      4/25/2012        9:49:46
62976      8016525773      9/23/2013        21:30:36
62977      8016527325      6/4/2012         21:06:53
62978      8016527988      8/4/2011         9:20:02
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62979      8016528775      4/25/2012        21:23:49
62980      8016529212      6/29/2012        17:52:07
62981      8016541140      2/28/2012        13:19:29
62982      8016541461      8/29/2012        11:13:57
62983      8016542972      4/4/2012         18:53:25
62984      8016544506      7/12/2011        11:50:46
62985      8016544997      1/3/2012         11:23:53
62986      8016546618      10/15/2012       16:14:04
62987      8016547191      11/7/2011        9:40:13
62988      8016547350      2/10/2012        20:42:07
62989      8016548462      8/17/2012        21:23:04
62990      8016567091      6/9/2011         11:03:37
62991      8016568172      1/10/2012        12:31:21
62992      8016568968      1/13/2012        12:33:39
62993      8016572297      9/17/2012        9:01:03
62994      8016572460      12/20/2011       19:39:57
62995      8016578443      9/21/2011        19:29:45
62996      8016600461      6/14/2012        16:08:47
62997      8016609330      12/10/2011       13:05:29
62998      8016613696      7/26/2012        19:16:01
62999      8016617341      12/29/2011       19:05:51
63000      8016618446      5/5/2012         12:31:17
63001      8016618761      2/25/2012        10:43:06
63002      8016630513      2/8/2012         13:02:24
63003      8016635317      6/21/2012        18:44:30
63004      8016635814      9/17/2011        10:27:53
63005      8016638488      1/16/2012        17:25:02
63006      8016643840      9/18/2012        21:29:57
63007      8016649681      3/10/2012        9:32:14
63008      8016649729      2/18/2012        9:13:36
63009      8016680022      8/23/2012        12:01:09
63010      8016684849      4/3/2012         20:12:08
63011      8016686243      9/20/2011        16:53:23
63012      8016688678      4/5/2012         14:01:10
63013      8016693298      6/1/2011         12:14:43
63014      8016711162      10/6/2011        17:00:42
63015      8016711162      10/21/2011       13:38:41
63016      8016717173      3/2/2012         9:26:41
63017      8016717173      5/21/2012        9:03:45
63018      8016719648      10/7/2011        9:50:17
63019      8016737246      9/13/2011        16:45:26
63020      8016741146      3/7/2012         18:45:00
63021      8016743296      9/23/2011        18:49:27
63022      8016745032      1/26/2012        10:11:43
63023      8016745651      5/31/2012        9:15:40
63024      8016746212      9/11/2012        21:23:48
63025      8016747212      3/15/2012        14:02:37
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63026      8016749429      11/9/2011        9:17:36
63027      8016751576      10/11/2012       18:36:21
63028      8016752337      9/8/2011         19:35:02
63029      8016757704      11/5/2011        11:47:12
63030      8016801763      8/14/2012        21:00:53
63031      8016802299      10/16/2012       20:33:25
63032      8016802626      3/13/2012        18:33:02
63033      8016806412      5/4/2012         21:00:06
63034      8016806958      1/23/2012        19:20:30
63035      8016807118      12/28/2011       11:06:13
63036      8016808278      6/27/2012        12:28:13
63037      8016809681      9/27/2011        18:50:08
63038      8016809902      9/28/2012        9:08:55
63039      8016827775      5/4/2012         15:27:27
63040      8016864401      9/26/2012        13:04:43
63041      8016864811      1/24/2012        17:08:10
63042      8016871618      11/21/2011       10:49:09
63043      8016873264      9/13/2012        21:29:07
63044      8016873268      2/24/2012        20:52:24
63045      8016873268      5/5/2012         12:22:41
63046      8016874079      9/16/2011        13:06:39
63047      8016875500      1/12/2012        10:06:37
63048      8016875500      5/4/2012         18:23:10
63049      8016877046      7/30/2012        13:20:30
63050      8016880834      9/1/2011         15:29:23
63051      8016881228      11/14/2011       17:35:29
63052      8016881990      11/4/2011        9:01:32
63053      8016881991      10/24/2011       14:40:02
63054      8016883540      10/23/2012       16:02:10
63055      8016884266      10/11/2011       16:33:31
63056      8016884590      4/5/2012         15:44:25
63057      8016889510      9/22/2011        16:16:29
63058      8016903145      9/28/2011        9:31:15
63059      8016914424      10/6/2011        16:55:58
63060      8016945774      9/12/2011        14:35:23
63061      8016946171      7/25/2011        17:46:31
63062      8016952112      3/5/2012         11:00:14
63063      8016952674      4/8/2011         18:59:43
63064      8016953880      12/10/2011       13:47:31
63065      8016960865      4/16/2012        9:02:35
63066      8016962011      9/28/2012        16:44:37
63067      8016962128      10/8/2011        10:08:25
63068      8016965974      11/12/2011       9:44:14
63069      8016967833      6/18/2012        15:33:25
63070      8016981344      5/5/2012         12:22:57
63071      8016983262      12/7/2011        13:16:19
63072      8016986965      10/1/2011        10:05:10
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63073      8016998928      1/11/2012        10:59:18
63074      8017021290      10/10/2012       19:14:37
63075      8017024059      11/30/2011       15:30:42
63076      8017027882      2/4/2012         13:16:35
63077      8017068166      9/28/2011        9:30:04
63078      8017076990      5/22/2012        18:23:38
63079      8017078717      6/2/2012         12:49:57
63080      8017081358      4/26/2011        20:24:08
63081      8017082473      10/8/2011        12:11:15
63082      8017082473      10/11/2011       16:33:10
63083      8017083702      5/30/2012        9:20:44
63084      8017083703      9/18/2012        21:32:00
63085      8017083973      6/5/2012         17:59:59
63086      8017108022      9/21/2011        19:31:17
63087      8017121283      9/22/2011        15:29:36
63088      8017121941      11/7/2011        7:38:53
63089      8017122513      10/14/2011       13:00:11
63090      8017128992      8/9/2012         14:04:14
63091      8017178411      12/17/2011       12:12:37
63092      8017185242      9/26/2011        9:15:59
63093      8017211911      9/20/2011        18:37:23
63094      8017216126      6/27/2012        12:22:28
63095      8017228726      12/18/2011       18:10:51
63096      8017251188      1/5/2012         14:08:00
63097      8017251516      10/15/2011       9:43:40
63098      8017255950      11/16/2011       20:07:23
63099      8017260065      5/29/2012        10:58:06
63100      8017264389      4/3/2012         16:14:53
63101      8017267526      9/10/2011        12:36:51
63102      8017352411      7/24/2012        14:47:26
63103      8017353199      9/20/2011        18:41:58
63104      8017353379      10/29/2011       11:01:37
63105      8017354263      10/1/2012        9:48:21
63106      8017354263      10/8/2012        9:14:30
63107      8017357727      6/8/2012         17:01:27
63108      8017453664      11/10/2011       14:44:49
63109      8017500921      9/12/2011        14:26:59
63110      8017502446      4/18/2012        9:08:13
63111      8017502731      9/1/2011         13:14:44
63112      8017503807      3/12/2012        11:11:20
63113      8017505514      4/25/2012        21:36:44
63114      8017508896      12/1/2011        15:31:30
63115      8017508934      10/14/2013       15:10:01
63116      8017554327      6/16/2012        15:17:34
63117      8017559514      9/15/2011        9:04:14
63118      8017559514      9/26/2011        9:13:36
63119      8017591294      12/29/2011       19:06:41
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63120      8017591525      9/24/2012        19:18:37
63121      8017592134      2/10/2012        20:35:56
63122      8017594015      9/29/2011        15:23:49
63123      8017595012      9/8/2011         19:35:03
63124      8017595215      1/12/2012        14:19:35
63125      8017596022      3/13/2012        18:52:32
63126      8017596763      9/19/2012        21:28:34
63127      8017597815      11/14/2011       15:18:18
63128      8017598082      1/3/2012         11:23:53
63129      8017598341      8/20/2012        21:30:17
63130      8017598481      10/5/2011        14:48:40
63131      8017598481      10/8/2011        10:09:47
63132      8017599723      7/21/2012        10:31:40
63133      8017627065      10/27/2011       16:57:13
63134      8017681239      10/6/2011        17:01:06
63135      8017746675      11/15/2011       16:36:37
63136      8017838371      9/27/2011        18:49:37
63137      8017910567      3/8/2012         20:29:04
63138      8017917399      11/25/2011       18:31:08
63139      8017926883      1/18/2012        16:54:56
63140      8017939997      1/18/2012        16:54:47
63141      8017967400      3/13/2012        12:53:05
63142      8018030052      8/13/2011        12:14:48
63143      8018030255      6/6/2012         21:21:19
63144      8018031838      1/8/2012         16:44:51
63145      8018032423      8/27/2011        10:37:38
63146      8018032471      6/18/2012        9:20:28
63147      8018039620      3/21/2012        9:12:10
63148      8018078848      4/19/2012        14:46:52
63149      8018078848      5/4/2012         20:56:02
63150      8018089838      3/8/2012         20:44:50
63151      8018090814      9/13/2011        18:08:48
63152      8018090920      3/26/2012        14:47:42
63153      8018094148      1/8/2012         15:30:29
63154      8018096508      3/27/2012        10:31:36
63155      8018098583      3/27/2012        10:31:34
63156      8018099123      9/1/2012         9:28:16
63157      8018099985      10/14/2011       13:00:03
63158      8018140127      8/30/2011        16:40:37
63159      8018140487      5/15/2012        19:02:44
63160      8018141441      11/15/2011       15:48:08
63161      8018141894      1/19/2012        18:32:06
63162      8018141894      5/21/2012        9:03:50
63163      8018143485      11/10/2011       14:43:44
63164      8018147165      9/22/2012        9:40:17
63165      8018156272      10/1/2012        21:36:00
63166      8018156508      9/12/2011        13:29:26
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63167      8018194943      12/9/2011        14:07:08
63168      8018198054      1/17/2012        18:29:25
63169      8018224708      11/22/2011       19:43:05
63170      8018240119      1/23/2012        9:09:31
63171      8018288229      2/6/2012         17:03:56
63172      8018303862      9/19/2011        14:53:09
63173      8018308209      11/17/2011       14:44:12
63174      8018311286      9/20/2011        18:41:40
63175      8018311286      1/10/2012        18:10:01
63176      8018311424      1/5/2012         14:08:57
63177      8018312520      9/26/2012        13:02:17
63178      8018312520      10/11/2012       18:41:28
63179      8018319899      4/26/2012        11:22:36
63180      8018344310      9/27/2011        18:50:43
63181      8018350010      4/11/2012        11:36:50
63182      8018354963      9/14/2012        21:07:46
63183      8018357312      11/16/2011       10:39:16
63184      8018357788      4/11/2012        20:49:50
63185      8018360565      7/9/2011         9:02:19
63186      8018369604      1/8/2012         15:30:53
63187      8018371169      4/25/2012        9:49:49
63188      8018371963      11/4/2011        9:21:15
63189      8018372634      10/20/2011       20:55:32
63190      8018373379      4/23/2012        13:18:33
63191      8018422477      10/21/2011       12:49:17
63192      8018425438      12/31/2011       12:01:28
63193      8018427233      7/9/2012         19:16:21
63194      8018502412      6/18/2011        15:35:08
63195      8018510651      6/19/2012        12:05:53
63196      8018540149      7/19/2011        16:58:59
63197      8018540591      1/23/2012        9:08:25
63198      8018540886      9/19/2011        14:36:08
63199      8018562331      9/14/2011        21:29:58
63200      8018565400      10/29/2011       11:52:42
63201      8018565823      7/5/2012         10:43:37
63202      8018569068      11/4/2011        9:18:57
63203      8018575334      5/22/2012        18:44:22
63204      8018578248      10/6/2011        16:59:16
63205      8018578248      3/6/2012         17:26:47
63206      8018598529      1/23/2012        19:02:45
63207      8018599874      7/13/2012        14:04:43
63208      8018609383      11/11/2011       14:36:20
63209      8018646980      9/21/2011        11:36:57
63210      8018666863      10/28/2011       14:32:11
63211      8018675363      12/16/2011       15:49:28
63212      8018702073      11/11/2011       13:49:21
63213      8018703864      9/27/2012        16:41:37
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63214      8018708409      2/28/2012        13:20:20
63215      8018708597      8/25/2012        10:58:20
63216      8018757371      3/14/2012        14:12:36
63217      8018792175      6/11/2012        10:11:32
63218      8018849820      7/16/2012        19:52:47
63219      8018853139      10/1/2012        9:48:28
63220      8018853693      6/22/2012        10:38:28
63221      8018882005      9/28/2012        16:44:39
63222      8018893968      3/12/2012        19:37:31
63223      8018912230      4/5/2012         20:09:47
63224      8018913236      11/5/2011        10:22:10
63225      8018917142      5/22/2012        11:35:16
63226      8018918270      3/9/2012         9:14:18
63227      8018918325      2/11/2014        9:26:55
63228      8018970284      10/4/2011        13:26:16
63229      8018979185      1/14/2012        9:16:49
63230      8018982399      1/14/2012        13:31:34
63231      8018982399      5/12/2012        10:46:56
63232      8018983416      10/8/2011        12:11:17
63233      8019038016      9/30/2011        10:24:59
63234      8019100412      11/8/2011        14:03:15
63235      8019105197      4/22/2012        15:36:55
63236      8019108699      1/9/2012         18:18:36
63237      8019137567      12/11/2011       12:26:10
63238      8019138462      10/3/2011        10:30:29
63239      8019153926      11/11/2011       13:22:56
63240      8019159513      9/12/2012        15:19:47
63241      8019165882      9/14/2011        21:36:19
63242      8019166586      3/13/2012        12:54:06
63243      8019166586      9/25/2012        15:22:07
63244      8019181473      12/29/2011       19:38:44
63245      8019183968      7/6/2012         14:51:25
63246      8019204898      6/21/2012        18:44:38
63247      8019205282      10/16/2012       16:31:33
63248      8019209641      9/24/2012        13:13:26
63249      8019212312      1/8/2012         15:26:31
63250      8019283266      4/11/2012        13:18:24
63251      8019283297      4/20/2012        20:49:13
63252      8019289225      10/4/2011        13:56:46
63253      8019311439      9/24/2011        9:52:28
63254      8019317228      8/19/2011        12:06:42
63255      8019317348      5/9/2012         21:06:56
63256      8019412127      1/27/2012        11:54:34
63257      8019415251      1/8/2012         15:37:15
63258      8019415713      11/5/2011        10:25:10
63259      8019417620      5/11/2012        12:33:03
63260      8019491200      6/28/2012        14:23:04
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63261      8019491200      7/31/2012        21:04:54
63262      8019534213      5/7/2012         9:12:50
63263      8019534486      7/16/2012        19:33:21
63264      8019535497      3/19/2012        12:02:09
63265      8019537667      12/18/2011       17:10:52
63266      8019790485      11/16/2011       10:48:24
63267      8019791443      10/24/2012       15:05:11
63268      8019793112      4/16/2012        9:03:28
63269      8019794636      1/23/2012        19:20:07
63270      8019890063      7/9/2012         9:10:36
63271      8019958077      3/29/2012        16:46:50
63272      8022385541      6/25/2012        13:21:52
63273      8022389254      1/19/2012        18:33:57
63274      8022389518      11/11/2011       13:39:50
63275      8022492933      12/10/2011       12:39:01
63276      8022495159      3/23/2012        7:06:35
63277      8022499037      8/17/2011        18:39:11
63278      8022580899      6/19/2012        7:58:19
63279      8022729693      5/19/2012        8:09:57
63280      8022745003      10/15/2011       10:29:29
63281      8022748012      1/7/2012         9:00:45
63282      8022792411      1/18/2012        16:38:06
63283      8022797719      2/1/2012         8:16:15
63284      8022798646      8/21/2012        13:57:35
63285      8022805673      9/26/2011        8:51:01
63286      8022826225      10/7/2011        7:21:40
63287      8022826780      12/9/2011        13:41:56
63288      8022829010      10/6/2012        8:43:20
63289      8022829824      11/1/2011        8:27:48
63290      8022886433      2/13/2012        7:15:32
63291      8023094892      10/25/2011       16:16:15
63292      8023109388      4/12/2012        18:05:44
63293      8023160203      12/3/2011        9:57:54
63294      8023161475      10/26/2011       12:09:36
63295      8023234984      10/1/2012        8:14:07
63296      8023249604      6/11/2012        8:16:49
63297      8023380957      10/17/2011       8:22:34
63298      8023435157      9/19/2011        7:24:14
63299      8023435751      9/27/2011        18:25:59
63300      8023438596      4/10/2012        11:52:17
63301      8023452603      5/17/2012        11:51:50
63302      8023456722      2/4/2012         7:22:30
63303      8023490470      1/30/2012        7:05:42
63304      8023490470      5/5/2012         8:17:44
63305      8023492723      5/21/2012        7:37:56
63306      8023494050      10/7/2011        17:26:45
63307      8023496443      9/17/2011        9:15:03
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63308      8023536968      1/24/2012        17:16:56
63309      8023553748      11/5/2011        11:09:01
63310      8023556354      9/8/2011         19:24:10
63311      8023567895      10/1/2011        10:14:40
63312      8023568114      9/21/2011        19:33:27
63313      8023702609      11/14/2011       16:17:27
63314      8023730023      9/20/2011        16:44:02
63315      8023730023      9/23/2011        18:57:44
63316      8023775859      3/24/2012        10:12:51
63317      8023932422      6/8/2012         7:24:12
63318      8024983906      5/25/2012        8:15:58
63319      8025036654      10/12/2011       7:30:18
63320      8025051510      1/13/2012        17:21:22
63321      8025244401      10/20/2012       8:14:22
63322      8025356035      10/15/2012       16:09:39
63323      8025587338      12/21/2011       9:54:25
63324      8025795058      6/2/2012         12:42:08
63325      8025799960      10/31/2011       8:51:10
63326      8025799960      11/17/2011       16:55:25
63327      8025951367      11/25/2011       18:12:22
63328      8025951367      12/20/2011       19:20:47
63329      8026736477      8/8/2011         14:51:08
63330      8026815492      4/27/2012        7:41:00
63331      8026831789      2/21/2012        10:46:04
63332      8026884748      3/20/2012        9:27:43
63333      8026884748      4/1/2012         16:22:27
63334      8026884748      10/11/2012       18:52:10
63335      8027302697      12/6/2011        7:27:04
63336      8027303246      10/12/2012       16:50:46
63337      8027303246      10/23/2012       15:58:07
63338      8027304358      9/29/2011        15:10:04
63339      8027307394      1/20/2012        14:19:39
63340      8027331260      7/26/2012        12:15:43
63341      8027332375      10/18/2011       7:15:43
63342      8027334341      3/2/2012         7:17:48
63343      8027335234      12/17/2011       11:45:34
63344      8027335400      9/24/2012        12:51:03
63345      8027335400      10/2/2012        7:29:24
63346      8027336147      3/21/2012        13:35:55
63347      8027338588      9/30/2011        9:53:23
63348      8027338850      12/31/2011       11:55:25
63349      8027528634      5/25/2012        17:08:02
63350      8027607874      3/13/2012        7:08:00
63351      8027607874      6/23/2012        8:37:21
63352      8027821497      11/5/2011        9:42:44
63353      8027824803      9/8/2011         19:23:55
63354      8027826363      11/1/2011        8:02:16
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63355      8027829984      10/20/2011       15:20:33
63356      8027930306      5/18/2012        15:56:27
63357      8027937660      9/26/2011        7:56:48
63358      8027937660      10/31/2011       7:38:28
63359      8029171095      1/18/2012        16:35:27
63360      8029225823      12/27/2011       14:27:06
63361      8029225823      3/23/2012        7:07:05
63362      8032008823      2/11/2012        10:43:44
63363      8032013106      3/28/2012        18:19:45
63364      8032013106      4/11/2012        7:16:56
63365      8032016676      10/11/2011       17:10:51
63366      8032016676      11/3/2011        17:48:49
63367      8032017352      7/27/2012        15:30:38
63368      8032017932      9/28/2011        10:52:19
63369      8032018304      1/12/2012        7:11:29
63370      8032060026      11/14/2011       16:48:30
63371      8032067182      5/29/2012        17:11:25
63372      8032070808      2/28/2012        15:51:52
63373      8032072798      9/12/2011        13:11:05
63374      8032094598      10/15/2011       9:02:49
63375      8032096502      12/22/2011       7:16:03
63376      8032097187      4/7/2012         9:23:56
63377      8032098565      9/12/2011        13:15:31
63378      8032098940      2/20/2012        16:51:08
63379      8032107556      10/10/2011       11:37:50
63380      8032107556      12/9/2011        15:06:42
63381      8032128589      1/20/2012        11:29:06
63382      8032159400      2/28/2012        16:14:33
63383      8032217046      2/3/2012         7:16:09
63384      8032217047      5/23/2012        16:42:46
63385      8032218776      9/28/2011        10:47:49
63386      8032250130      7/23/2012        11:53:18
63387      8032290824      5/11/2012        18:24:10
63388      8032355080      11/5/2011        11:06:19
63389      8032356237      10/24/2012       15:08:57
63390      8032360038      4/22/2012        15:06:41
63391      8032360237      12/18/2011       16:53:10
63392      8032361246      4/21/2012        16:31:09
63393      8032361519      9/29/2012        9:48:05
63394      8032362421      5/12/2012        10:55:09
63395      8032362784      9/21/2011        19:29:05
63396      8032364142      10/14/2011       12:48:57
63397      8032366323      3/4/2012         12:33:06
63398      8032377611      11/2/2011        7:08:40
63399      8032380315      8/11/2012        9:33:23
63400      8032385819      7/21/2011        7:21:07
63401      8032386146      1/16/2012        17:27:42
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63402      8032386645      7/22/2012        12:14:26
63403      8032396952      8/7/2012         17:51:31
63404      8032409342      12/20/2011       19:23:25
63405      8032423201      2/11/2012        15:30:25
63406      8032430672      3/16/2012        10:13:44
63407      8032430740      4/24/2012        18:00:46
63408      8032432262      11/12/2011       10:20:18
63409      8032432733      4/1/2011         10:43:40
63410      8032461621      12/21/2011       10:02:53
63411      8032462091      7/23/2012        15:28:46
63412      8032463083      9/14/2011        16:11:36
63413      8032508043      5/4/2012         7:26:20
63414      8032575353      3/15/2012        18:54:05
63415      8032576394      5/19/2011        8:06:34
63416      8032602018      2/17/2012        18:08:19
63417      8032602629      10/8/2011        9:31:26
63418      8032605229      11/7/2011        7:20:30
63419      8032607128      10/17/2012       18:33:23
63420      8032610026      11/26/2011       12:28:12
63421      8032610553      12/23/2011       15:24:57
63422      8032611393      11/29/2011       16:07:56
63423      8032612308      2/11/2012        15:24:13
63424      8032615913      3/6/2012         15:55:40
63425      8032617026      9/13/2011        15:11:40
63426      8032617119      6/5/2012         19:50:22
63427      8032618943      9/20/2011        16:34:17
63428      8032690285      11/10/2011       7:03:03
63429      8032691850      4/21/2011        11:49:00
63430      8032692585      2/20/2012        7:10:33
63431      8032693026      11/4/2011        7:03:40
63432      8032693706      12/9/2011        14:30:50
63433      8032695947      9/13/2011        17:29:04
63434      8032697348      8/23/2012        11:51:15
63435      8032697348      9/3/2012         14:30:08
63436      8032697836      9/7/2012         15:40:05
63437      8032697836      9/15/2012        8:05:19
63438      8032701365      8/9/2011         12:35:39
63439      8032704400      3/27/2012        14:52:38
63440      8032706077      7/15/2012        10:39:27
63441      8032706699      9/30/2011        12:24:08
63442      8032706996      5/19/2012        8:19:34
63443      8032707003      10/20/2011       16:04:07
63444      8032707316      2/13/2012        7:09:11
63445      8032707722      3/21/2012        13:48:11
63446      8032711591      11/30/2011       7:07:11
63447      8032715561      9/17/2011        9:51:14
63448      8032726175      11/30/2011       14:43:44
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63449      8032729979      9/22/2011        15:55:15
63450      8032807044      7/28/2012        8:46:11
63451      8032807331      5/6/2012         17:24:37
63452      8032807331      7/23/2012        13:13:53
63453      8032871343      12/7/2011        14:44:01
63454      8032889605      9/15/2011        7:36:46
63455      8032900483      10/5/2011        14:54:12
63456      8032900483      10/10/2011       12:09:12
63457      8032901987      11/8/2013        9:00:20
63458      8032904209      2/14/2012        15:20:16
63459      8032925023      2/11/2012        10:43:47
63460      8032928257      3/27/2012        14:58:17
63461      8032936866      12/29/2011       18:55:33
63462      8032951729      8/18/2012        8:30:05
63463      8032952298      6/21/2012        10:10:57
63464      8032957258      12/29/2011       18:51:22
63465      8032959298      10/20/2011       16:17:41
63466      8033000893      10/11/2011       15:49:08
63467      8033001212      2/28/2012        15:59:43
63468      8033002754      3/2/2012         7:05:01
63469      8033003847      11/28/2011       11:44:03
63470      8033003847      1/5/2012         17:26:05
63471      8033008242      3/24/2012        9:51:01
63472      8033008270      1/17/2012        17:12:11
63473      8033009872      9/6/2012         12:30:51
63474      8033009872      10/7/2012        12:52:51
63475      8033084044      9/16/2011        12:52:49
63476      8033086806      10/15/2011       10:14:01
63477      8033087789      7/30/2012        13:11:24
63478      8033089456      6/23/2012        8:29:51
63479      8033150126      11/19/2011       8:16:12
63480      8033150126      1/28/2012        8:12:12
63481      8033161537      9/8/2011         17:50:30
63482      8033162227      3/28/2012        18:17:51
63483      8033163379      11/3/2011        17:10:27
63484      8033163379      3/19/2012        7:05:40
63485      8033166275      10/17/2011       11:09:18
63486      8033166366      7/21/2012        10:39:42
63487      8033167030      10/2/2012        12:54:16
63488      8033170687      9/21/2012        18:49:21
63489      8033186634      6/21/2011        13:58:14
63490      8033187977      4/10/2012        11:51:28
63491      8033194771      5/23/2012        16:36:32
63492      8033198484      1/23/2012        7:24:46
63493      8033199634      3/16/2012        15:50:06
63494      8033201418      12/13/2011       17:23:58
63495      8033209104      9/6/2012         12:34:46
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63496      8033220888      7/11/2012        9:37:58
63497      8033311905      8/6/2012         16:22:20
63498      8033316116      10/8/2011        9:26:50
63499      8033348196      4/4/2012         7:18:29
63500      8033348454      10/23/2012       15:59:35
63501      8033356316      11/18/2011       12:46:32
63502      8033358471      12/23/2011       7:13:54
63503      8033376253      11/18/2011       13:29:51
63504      8033412894      6/15/2012        8:57:32
63505      8033460294      11/26/2011       12:40:12
63506      8033460353      5/16/2012        16:52:43
63507      8033460439      9/10/2011        8:27:26
63508      8033472687      1/13/2012        7:17:30
63509      8033472911      4/23/2012        7:01:33
63510      8033472911      4/25/2012        9:33:55
63511      8033476135      12/1/2011        15:19:00
63512      8033478598      11/23/2011       9:23:08
63513      8033478598      1/11/2012        7:46:57
63514      8033481973      7/30/2012        18:44:51
63515      8033484192      4/21/2012        8:16:43
63516      8033485846      9/28/2011        10:49:00
63517      8033496589      5/21/2012        7:40:00
63518      8033497011      2/11/2012        10:36:24
63519      8033515465      9/16/2011        13:20:59
63520      8033516313      10/24/2011       7:16:26
63521      8033518868      2/2/2012         11:08:59
63522      8033600588      6/21/2012        18:47:13
63523      8033602467      4/4/2012         18:47:15
63524      8033604352      8/9/2012         14:00:46
63525      8033608815      12/1/2011        14:48:52
63526      8033611631      12/20/2011       9:30:25
63527      8033611755      10/2/2012        12:50:27
63528      8033612832      12/19/2011       18:35:45
63529      8033616562      9/24/2012        12:50:42
63530      8033617886      9/8/2011         19:24:53
63531      8033671616      7/11/2012        17:19:10
63532      8033671753      9/12/2011        13:54:46
63533      8033672124      9/28/2011        11:08:34
63534      8033672315      1/9/2012         7:07:43
63535      8033673180      9/13/2011        17:40:38
63536      8033673271      7/2/2011         8:11:45
63537      8033691741      9/15/2012        8:17:57
63538      8033701583      3/20/2012        9:21:38
63539      8033701764      11/15/2011       16:13:58
63540      8033701765      10/10/2011       12:25:05
63541      8033703259      4/25/2011        10:22:34
63542      8033703663      12/9/2011        13:21:28
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63543      8033704181      11/5/2011        9:44:29
63544      8033704308      10/2/2012        7:31:23
63545      8033705039      7/21/2011        14:04:12
63546      8033705722      9/27/2011        18:04:26
63547      8033709247      3/15/2012        7:18:21
63548      8033714169      9/16/2011        12:52:18
63549      8033727489      1/20/2012        19:42:39
63550      8033746992      7/21/2011        14:03:28
63551      8033792011      7/2/2011         8:57:24
63552      8033812543      9/24/2012        18:49:34
63553      8033816317      2/21/2012        9:29:10
63554      8033835221      12/21/2011       10:52:13
63555      8033836079      10/20/2011       15:57:26
63556      8033836988      10/3/2012        9:24:30
63557      8033837596      7/14/2012        8:20:29
63558      8033839594      7/21/2012        10:23:38
63559      8033840125      7/30/2012        13:26:28
63560      8033872106      11/15/2011       15:14:43
63561      8033876205      11/8/2011        14:20:55
63562      8033891521      8/25/2012        8:28:57
63563      8033892720      9/7/2012         15:38:38
63564      8033894756      10/10/2011       12:31:27
63565      8033899333      12/7/2011        13:17:18
63566      8033899333      12/20/2011       17:10:26
63567      8033899566      2/8/2012         7:37:07
63568      8033916344      3/5/2012         7:13:13
63569      8033942343      10/6/2012        8:28:39
63570      8033976085      8/25/2012        11:11:38
63571      8033976949      11/23/2011       14:32:44
63572      8033977455      7/13/2012        16:56:26
63573      8034035220      10/1/2011        10:23:12
63574      8034041372      9/19/2011        19:07:11
63575      8034042424      10/4/2011        13:36:28
63576      8034042551      3/24/2012        9:55:15
63577      8034047208      3/16/2012        10:17:27
63578      8034049139      10/25/2011       15:52:10
63579      8034060266      12/1/2011        7:52:05
63580      8034062273      9/3/2011         11:22:24
63581      8034063860      6/17/2012        12:25:42
63582      8034064849      12/14/2011       13:06:56
63583      8034098299      5/20/2011        17:48:52
63584      8034099659      4/9/2012         7:16:43
63585      8034099659      4/15/2012        16:41:54
63586      8034101502      10/5/2011        14:32:57
63587      8034109232      2/6/2012         16:47:34
63588      8034120114      4/10/2012        16:07:45
63589      8034124357      3/14/2012        19:24:43
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63590      8034129481      10/11/2011       17:09:39
63591      8034133624      12/6/2011        13:00:24
63592      8034140301      10/28/2011       13:21:33
63593      8034146405      3/21/2012        7:05:07
63594      8034148661      4/12/2012        18:03:12
63595      8034150349      12/29/2011       19:13:44
63596      8034150759      11/12/2011       9:05:29
63597      8034153690      4/15/2012        16:43:18
63598      8034167005      3/13/2012        7:08:11
63599      8034170269      3/14/2011        17:04:26
63600      8034203024      2/6/2012         17:01:01
63601      8034203024      2/15/2012        8:13:19
63602      8034204010      3/28/2012        10:15:36
63603      8034206599      7/13/2011        11:41:46
63604      8034209597      9/26/2011        8:23:18
63605      8034224247      11/11/2011       13:35:51
63606      8034226721      11/5/2011        10:42:08
63607      8034260448      12/21/2011       9:48:11
63608      8034270126      9/12/2012        15:19:05
63609      8034270899      5/12/2012        10:24:54
63610      8034271510      9/12/2011        13:59:39
63611      8034272352      12/21/2011       18:46:09
63612      8034275046      12/20/2011       17:06:30
63613      8034275527      3/2/2012         18:52:33
63614      8034275527      3/9/2012         7:08:02
63615      8034279442      3/7/2012         18:29:21
63616      8034319801      12/14/2011       14:19:51
63617      8034395113      9/29/2012        9:46:50
63618      8034397482      5/9/2012         8:09:10
63619      8034398023      2/29/2012        7:04:34
63620      8034398507      6/9/2012         14:55:20
63621      8034398785      1/13/2012        7:14:31
63622      8034432013      12/31/2011       11:56:07
63623      8034432013      1/13/2012        17:12:17
63624      8034435326      9/6/2012         12:28:51
63625      8034441308      2/11/2012        15:32:59
63626      8034454648      1/11/2012        7:28:40
63627      8034457133      12/21/2011       10:11:49
63628      8034457612      10/3/2011        7:16:04
63629      8034462802      3/16/2012        10:31:11
63630      8034463664      10/5/2011        14:25:55
63631      8034464106      12/14/2011       13:04:33
63632      8034466195      12/21/2011       10:11:03
63633      8034468610      5/15/2012        18:58:02
63634      8034468651      1/5/2012         13:57:35
63635      8034469959      9/1/2012         9:15:54
63636      8034470455      4/28/2012        8:38:40
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                                   #:13206

63637      8034474288      10/15/2012       16:09:11
63638      8034479690      11/16/2011       20:04:30
63639      8034480695      5/21/2012        8:52:56
63640      8034485812      6/18/2012        8:07:04
63641      8034486410      10/15/2011       9:10:25
63642      8034488557      9/28/2012        16:42:46
63643      8034508186      11/10/2011       7:13:27
63644      8034545533      3/27/2012        15:36:23
63645      8034560200      11/18/2011       12:49:38
63646      8034574389      9/15/2012        8:15:33
63647      8034603049      9/19/2011        7:26:29
63648      8034603292      1/9/2012         18:09:55
63649      8034603292      7/7/2012         10:16:31
63650      8034606173      5/18/2012        7:11:13
63651      8034606173      5/21/2012        7:35:04
63652      8034630526      1/6/2012         7:09:42
63653      8034630855      10/10/2011       12:25:56
63654      8034632733      9/21/2011        11:45:24
63655      8034632733      10/4/2011        13:08:22
63656      8034632963      4/13/2012        13:31:21
63657      8034633040      11/29/2011       15:28:26
63658      8034638395      9/4/2012         15:43:48
63659      8034638601      9/24/2011        9:30:54
63660      8034638743      7/25/2012        12:13:20
63661      8034638743      8/12/2012        13:45:11
63662      8034643883      1/27/2012        19:44:44
63663      8034644978      4/2/2012         8:10:05
63664      8034646144      3/14/2012        7:02:34
63665      8034650443      4/12/2012        18:05:17
63666      8034662037      7/22/2011        13:30:38
63667      8034662700      5/10/2012        14:53:46
63668      8034662700      5/21/2012        7:22:42
63669      8034663001      10/11/2011       16:46:21
63670      8034663098      10/15/2012       16:18:13
63671      8034663532      9/29/2011        15:39:36
63672      8034663532      12/30/2011       17:01:29
63673      8034665446      7/13/2012        11:09:13
63674      8034665481      8/25/2012        11:11:11
63675      8034665957      8/8/2011         15:38:33
63676      8034666007      9/23/2011        11:33:18
63677      8034666367      3/8/2014         8:07:27
63678      8034667458      8/29/2011        9:01:24
63679      8034669085      11/23/2011       10:23:33
63680      8034671346      4/21/2012        16:30:52
63681      8034671839      2/14/2012        15:26:25
63682      8034673747      6/27/2012        12:15:44
63683      8034673885      5/28/2011        9:58:13
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63684      8034674938      12/21/2011       9:52:36
63685      8034682314      2/1/2014         15:14:04
63686      8034683009      4/2/2012         17:40:21
63687      8034685077      2/14/2012        16:45:11
63688      8034687070      2/11/2012        11:03:56
63689      8034687070      9/1/2012         9:12:01
63690      8034762205      12/17/2011       11:50:57
63691      8034771544      11/19/2011       8:35:40
63692      8034774229      9/19/2011        19:29:39
63693      8034777869      3/21/2012        13:49:03
63694      8034790585      9/8/2011         19:41:57
63695      8034791538      2/24/2012        17:19:28
63696      8034793720      4/9/2012         18:06:51
63697      8034795256      10/23/2012       16:12:52
63698      8034795386      12/7/2011        13:37:02
63699      8034796970      2/25/2012        10:44:38
63700      8034798657      3/7/2012         18:28:57
63701      8034798657      10/17/2012       18:45:13
63702      8034799003      10/1/2011        10:33:18
63703      8034864016      1/9/2012         18:22:39
63704      8034865222      11/21/2011       7:27:51
63705      8034865488      10/4/2011        13:15:51
63706      8034870692      11/7/2011        8:25:02
63707      8034870692      12/2/2011        15:06:05
63708      8034875574      10/15/2012       16:10:06
63709      8034931676      3/27/2012        15:03:21
63710      8034932343      10/3/2011        7:46:29
63711      8034932343      10/11/2011       16:02:44
63712      8034964079      12/16/2011       15:57:43
63713      8034966594      9/3/2012         14:37:49
63714      8035073268      6/29/2011        17:21:37
63715      8035081197      9/16/2011        12:52:25
63716      8035083405      5/23/2012        16:23:17
63717      8035083532      9/13/2011        7:19:07
63718      8035090151      10/10/2012       12:43:13
63719      8035094661      2/2/2012         7:18:00
63720      8035131497      9/8/2011         17:53:04
63721      8035136879      3/3/2012         8:47:04
63722      8035136879      3/15/2012        19:05:00
63723      8035139166      2/14/2012        16:45:36
63724      8035174708      9/23/2011        18:59:11
63725      8035176627      9/26/2011        8:44:56
63726      8035178439      12/7/2011        15:04:04
63727      8035180663      4/4/2011         13:40:49
63728      8035187627      8/1/2012         9:07:54
63729      8035188317      8/3/2011         12:09:18
63730      8035213804      3/9/2012         7:11:51
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63731      8035217559      6/21/2012        18:47:39
63732      8035225544      11/8/2011        14:23:54
63733      8035241402      9/6/2012         12:28:48
63734      8035246161      12/18/2011       16:41:49
63735      8035247027      10/5/2011        13:58:37
63736      8035248325      9/23/2011        7:10:17
63737      8035263511      11/8/2011        14:18:11
63738      8035266953      3/15/2011        11:26:38
63739      8035284493      10/15/2012       16:11:40
63740      8035287720      10/17/2011       11:06:39
63741      8035297914      4/24/2012        19:19:38
63742      8035371700      8/19/2012        12:01:34
63743      8035423182      9/26/2011        7:58:36
63744      8035428361      10/17/2012       18:34:55
63745      8035430817      5/31/2012        7:02:35
63746      8035460311      10/31/2011       7:11:47
63747      8035461412      1/9/2012         18:30:17
63748      8035461412      1/20/2012        11:26:58
63749      8035466006      3/17/2012        8:37:43
63750      8035468293      7/27/2012        12:46:39
63751      8035468349      5/19/2012        9:27:48
63752      8035469357      7/27/2012        20:39:11
63753      8035496292      10/4/2011        13:40:10
63754      8035498061      10/21/2011       14:36:04
63755      8035499081      5/2/2012         13:23:06
63756      8035499826      8/11/2012        9:27:29
63757      8035530711      9/10/2011        8:59:49
63758      8035531285      5/23/2012        16:24:18
63759      8035542135      10/7/2011        7:21:21
63760      8035545085      11/14/2011       14:11:55
63761      8035545085      9/29/2012        9:55:24
63762      8035547613      3/3/2012         8:38:46
63763      8035549240      5/22/2012        11:27:01
63764      8035549288      11/21/2011       7:07:00
63765      8035560154      6/9/2012         14:50:58
63766      8035564360      7/12/2011        11:28:34
63767      8035566887      9/20/2011        17:28:48
63768      8035568997      9/19/2011        19:08:43
63769      8035569679      9/20/2011        16:41:02
63770      8035650539      9/28/2011        10:22:13
63771      8035651690      12/9/2011        15:01:36
63772      8035651961      5/3/2012         8:11:06
63773      8035652210      12/19/2011       7:25:29
63774      8035656586      4/9/2012         18:12:52
63775      8035659694      4/22/2012        15:48:39
63776      8035690681      4/16/2012        15:45:25
63777      8035711545      11/19/2011       8:45:20
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63778      8035711545      12/10/2011       14:36:10
63779      8035713841      9/4/2012         15:37:12
63780      8035721185      1/29/2012        16:44:45
63781      8035801254      10/8/2011        10:48:31
63782      8035829888      9/23/2011        7:07:40
63783      8035860055      6/6/2012         13:04:22
63784      8035867748      9/24/2012        18:51:23
63785      8035874437      1/19/2012        7:19:17
63786      8036001656      3/23/2012        7:01:08
63787      8036001656      5/21/2012        7:05:00
63788      8036002097      12/26/2011       9:19:54
63789      8036004920      12/9/2011        15:27:19
63790      8036007796      10/12/2011       7:20:17
63791      8036019386      10/19/2012       9:54:38
63792      8036046461      1/24/2012        10:28:05
63793      8036066680      12/8/2011        19:39:28
63794      8036077942      7/26/2012        12:24:23
63795      8036077942      9/2/2012         11:52:50
63796      8036083354      5/27/2011        8:46:38
63797      8036084816      2/7/2012         7:05:39
63798      8036085407      10/4/2011        13:10:02
63799      8036085407      10/17/2011       7:47:41
63800      8036085407      12/26/2011       9:16:26
63801      8036085407      2/16/2012        7:24:03
63802      8036094289      7/19/2011        17:45:59
63803      8036109030      6/23/2012        8:46:10
63804      8036140408      12/10/2011       13:11:53
63805      8036145285      11/25/2011       17:29:40
63806      8036148629      11/26/2011       12:47:04
63807      8036221050      9/13/2011        17:45:39
63808      8036271292      11/21/2011       7:05:48
63809      8036271395      10/26/2011       8:15:57
63810      8036271395      1/6/2012         14:49:03
63811      8036272160      1/4/2012         11:00:52
63812      8036290546      7/30/2012        13:32:31
63813      8036290669      8/18/2012        8:36:36
63814      8036298821      4/30/2012        15:05:53
63815      8036342052      1/14/2012        13:27:13
63816      8036347882      1/17/2012        7:22:39
63817      8036347882      2/21/2012        9:30:04
63818      8036400236      10/20/2011       16:08:21
63819      8036401633      1/6/2012         10:06:56
63820      8036405913      5/12/2012        10:37:34
63821      8036405913      10/5/2012        12:17:03
63822      8036453105      4/3/2012         15:55:52
63823      8036453105      5/1/2012         14:06:03
63824      8036453237      10/15/2012       9:58:52
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63825      8036453311      12/29/2011       18:47:51
63826      8036456786      1/12/2012        14:02:39
63827      8036460347      1/30/2012        7:08:16
63828      8036460347      3/2/2012         19:11:06
63829      8036531061      4/22/2012        15:22:34
63830      8036645113      8/23/2012        11:35:38
63831      8036645525      10/6/2011        16:14:38
63832      8036646782      6/7/2011         17:49:01
63833      8036647977      3/13/2012        18:58:41
63834      8036647977      5/21/2012        7:04:28
63835      8036647977      5/21/2012        7:19:59
63836      8036647977      5/21/2012        7:25:33
63837      8036647977      7/27/2012        12:28:03
63838      8036651092      3/19/2012        7:17:12
63839      8036651092      3/23/2012        19:44:49
63840      8036657054      8/6/2012         11:43:31
63841      8036659130      3/13/2012        16:53:32
63842      8036692264      1/7/2012         8:13:59
63843      8036696156      3/22/2012        7:47:15
63844      8036712123      10/14/2011       12:45:49
63845      8036715189      5/14/2012        15:25:31
63846      8036717340      5/10/2012        14:45:23
63847      8036733183      5/26/2012        8:50:38
63848      8036733352      4/16/2012        15:44:33
63849      8036734741      12/10/2011       13:48:43
63850      8036734896      11/17/2011       16:42:50
63851      8036739509      5/6/2012         17:26:33
63852      8036739734      5/22/2012        18:48:39
63853      8036820476      12/10/2011       14:41:18
63854      8036821667      1/9/2012         18:27:31
63855      8036825911      12/31/2011       11:41:32
63856      8036868896      6/24/2012        13:57:24
63857      8036871502      11/12/2011       10:25:33
63858      8036871771      10/24/2011       7:20:38
63859      8036872092      3/20/2012        17:37:23
63860      8037059526      11/7/2011        7:58:21
63861      8037070141      10/19/2011       7:46:46
63862      8037071283      10/27/2011       16:30:15
63863      8037073747      1/8/2012         12:48:08
63864      8037076028      11/21/2011       7:44:10
63865      8037078297      2/28/2012        16:02:19
63866      8037078333      9/19/2011        19:29:21
63867      8037090775      9/15/2012        8:15:44
63868      8037090775      9/24/2012        18:49:02
63869      8037091059      12/18/2011       16:17:35
63870      8037187008      1/9/2012         18:03:51
63871      8037187386      11/29/2011       16:15:41
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63872      8037187513      4/29/2012        17:08:29
63873      8037188425      4/30/2012        17:08:24
63874      8037196704      12/7/2011        13:30:33
63875      8037206180      6/14/2012        16:00:37
63876      8037276909      6/23/2012        16:12:06
63877      8037277535      11/18/2011       12:38:35
63878      8037277940      8/10/2011        7:06:16
63879      8037290279      1/17/2012        18:28:52
63880      8037290637      9/21/2011        11:27:39
63881      8037290637      10/15/2011       9:13:55
63882      8037290741      9/16/2011        13:13:09
63883      8037296326      1/9/2012         18:28:11
63884      8037304924      11/23/2011       9:24:59
63885      8037305044      10/17/2011       7:54:14
63886      8037305246      7/23/2012        15:28:04
63887      8037308166      10/13/2012       9:08:33
63888      8037308579      12/20/2011       17:11:09
63889      8037350281      6/16/2012        7:40:24
63890      8037414346      10/4/2011        13:40:59
63891      8037437898      3/20/2012        17:36:54
63892      8037470440      12/3/2011        8:50:46
63893      8037472175      10/23/2012       10:34:26
63894      8037590374      2/28/2012        15:59:56
63895      8037590882      2/10/2012        16:58:56
63896      8037595259      3/16/2012        15:48:38
63897      8037604734      10/24/2012       14:55:34
63898      8037605310      12/26/2011       8:58:06
63899      8037608005      10/20/2011       15:20:50
63900      8037609274      9/1/2012         9:07:41
63901      8037611737      3/19/2012        19:08:34
63902      8037613538      3/13/2012        12:52:52
63903      8037628097      7/21/2012        10:42:37
63904      8037628390      10/22/2011       13:04:27
63905      8037628906      12/20/2011       19:33:21
63906      8037670359      4/4/2012         7:13:45
63907      8037670398      4/11/2012        10:54:34
63908      8037670398      5/21/2012        7:05:43
63909      8037673754      2/24/2011        13:59:50
63910      8037678159      5/9/2012         8:28:21
63911      8037678235      8/17/2011        19:08:58
63912      8037750523      8/6/2011         9:07:26
63913      8037768189      5/6/2012         17:46:17
63914      8037955014      10/22/2011       13:05:12
63915      8037955863      6/25/2012        13:21:05
63916      8037959198      3/6/2012         15:45:37
63917      8038040272      9/24/2012        18:50:29
63918      8038040505      9/22/2011        15:17:53
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63919      8038044173      2/17/2012        9:09:39
63920      8038045342      9/24/2012        13:19:50
63921      8038104558      11/18/2011       13:23:40
63922      8038107025      3/1/2012         11:42:17
63923      8038107310      5/16/2012        7:07:13
63924      8038318090      12/19/2011       7:40:10
63925      8038371810      10/3/2011        7:48:53
63926      8038373155      9/21/2012        18:46:22
63927      8038420105      11/8/2011        13:45:52
63928      8038421275      3/9/2012         7:05:13
63929      8038422900      10/17/2012       9:30:42
63930      8038422970      7/23/2012        13:19:04
63931      8038423169      2/14/2012        15:26:56
63932      8038423954      2/14/2012        15:39:12
63933      8038424790      1/16/2012        7:04:33
63934      8038429167      10/10/2012       12:31:46
63935      8038479415      2/22/2012        7:08:06
63936      8038600040      5/4/2012         7:32:01
63937      8038600938      11/25/2011       17:39:19
63938      8038601774      1/13/2012        17:22:15
63939      8038605845      10/19/2012       9:50:46
63940      8038731993      7/12/2011        12:17:24
63941      8038733375      11/22/2011       18:40:09
63942      8038736390      8/31/2011        10:22:49
63943      8038738483      12/6/2011        7:30:46
63944      8038971021      9/20/2011        16:37:33
63945      8038990446      9/27/2011        18:29:50
63946      8038995452      11/19/2011       8:14:01
63947      8039172370      1/23/2012        18:58:10
63948      8039173962      4/9/2012         17:49:18
63949      8039174955      12/7/2011        13:41:17
63950      8039176988      10/29/2011       10:22:34
63951      8039202706      11/25/2011       17:38:33
63952      8039202706      5/21/2012        7:22:40
63953      8039205051      11/22/2011       19:25:04
63954      8039205095      10/31/2011       7:10:53
63955      8039205906      2/13/2012        7:23:13
63956      8039209941      1/14/2012        13:18:58
63957      8039242037      11/25/2011       18:12:35
63958      8039248615      3/20/2012        9:21:32
63959      8039280193      12/15/2013       12:14:01
63960      8039346218      1/28/2012        8:10:30
63961      8039402198      10/29/2011       10:33:12
63962      8039422240      11/1/2011        8:34:33
63963      8039423855      3/13/2012        18:30:16
63964      8039424530      11/28/2011       17:47:09
63965      8039442637      10/19/2011       8:17:15
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                                   #:13213

63966      8039442637      11/15/2011       15:20:45
63967      8039442637      12/1/2011        7:56:56
63968      8039603152      3/14/2012        19:42:38
63969      8039603403      5/22/2012        16:19:39
63970      8039609755      10/8/2011        9:23:07
63971      8039609755      12/20/2011       19:35:09
63972      8039689530      10/14/2011       13:13:30
63973      8039719398      3/11/2011        16:28:06
63974      8039720436      9/1/2012         9:21:52
63975      8039790630      9/30/2011        9:59:40
63976      8039791196      12/12/2011       16:34:23
63977      8039791606      9/1/2011         7:58:06
63978      8039795679      3/23/2012        7:12:51
63979      8039798525      11/11/2011       13:39:03
63980      8039798526      11/7/2011        9:09:48
63981      8039813050      6/6/2011         16:59:24
63982      8039814376      5/10/2011        18:51:24
63983      8039814376      9/26/2011        8:45:15
63984      8039843460      1/5/2012         12:02:29
63985      8039846217      12/2/2011        14:34:35
63986      8039849766      5/23/2012        15:28:29
63987      8042003777      6/18/2012        7:48:23
63988      8042008204      6/17/2011        15:11:40
63989      8042109099      6/29/2012        17:44:13
63990      8042125047      3/15/2012        7:10:03
63991      8042140526      9/21/2013        16:12:49
63992      8042148082      6/25/2012        13:26:45
63993      8042160127      9/26/2011        8:19:13
63994      8042180157      7/3/2012         7:05:56
63995      8042183795      1/27/2012        17:54:05
63996      8042187394      10/10/2012       19:04:18
63997      8042188186      11/25/2011       18:06:35
63998      8042188590      6/1/2012         8:58:59
63999      8042189727      9/13/2011        14:58:20
64000      8042189837      5/22/2012        18:20:37
64001      8042214530      1/6/2012         14:48:37
64002      8042298722      9/17/2011        10:14:44
64003      8042372347      1/13/2012        7:19:32
64004      8042374155      3/24/2012        9:51:02
64005      8042374895      10/15/2012       16:16:10
64006      8042385503      9/8/2012         11:14:50
64007      8042386123      4/25/2012        9:24:51
64008      8042390148      4/9/2012         17:48:25
64009      8042393539      11/15/2011       15:21:38
64010      8042395588      5/11/2012        18:25:49
64011      8042411908      11/4/2011        7:06:01
64012      8042432245      3/23/2012        19:13:10
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                                   #:13214

64013      8042432778      10/26/2011       13:01:32
64014      8042434153      5/27/2011        8:46:24
64015      8042438756      2/11/2012        10:46:38
64016      8042440707      10/4/2011        13:31:26
64017      8042441624      10/11/2012       18:32:17
64018      8042442382      5/11/2012        7:09:25
64019      8042461456      5/25/2012        8:14:06
64020      8042461456      6/15/2012        8:51:41
64021      8042461555      9/17/2011        9:20:31
64022      8042470373      9/19/2011        8:14:04
64023      8042470373      9/29/2011        15:18:06
64024      8042474471      8/3/2011         11:17:21
64025      8042475696      1/4/2012         12:21:35
64026      8042477422      10/10/2011       11:47:30
64027      8042478425      8/30/2012        17:45:23
64028      8042478616      9/26/2011        8:00:43
64029      8042483845      12/15/2011       9:20:50
64030      8042488021      7/19/2012        7:51:16
64031      8042489087      9/20/2011        18:09:31
64032      8042527733      12/28/2011       7:22:08
64033      8042532797      2/15/2012        11:34:10
64034      8042532797      5/11/2012        18:05:19
64035      8042533203      12/27/2011       13:36:25
64036      8042533203      4/12/2012        17:56:27
64037      8042534310      10/31/2011       7:15:21
64038      8042534310      11/30/2011       7:05:14
64039      8042535742      7/18/2012        7:13:16
64040      8042554348      12/9/2011        7:41:33
64041      8042556485      12/23/2011       15:41:58
64042      8042556651      9/8/2011         18:26:32
64043      8042557189      12/10/2011       13:01:02
64044      8042557908      3/14/2012        19:24:38
64045      8042631370      11/30/2011       7:03:00
64046      8042631544      10/17/2012       18:34:20
64047      8042749036      5/25/2012        8:16:00
64048      8042775122      10/10/2011       11:46:50
64049      8042831682      3/5/2012         7:04:07
64050      8042831682      5/21/2012        7:38:54
64051      8042832640      9/15/2012        8:27:10
64052      8042834160      1/30/2012        7:16:54
64053      8042916832      12/17/2011       11:22:08
64054      8042965808      12/23/2011       13:52:47
64055      8042968185      3/30/2012        16:03:04
64056      8043000790      1/5/2012         11:55:20
64057      8043006445      11/16/2011       7:54:02
64058      8043009746      8/16/2012        19:57:26
64059      8043013112      8/8/2012         7:12:05
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                                   #:13215

64060      8043014093      8/8/2011         14:56:31
64061      8043016402      5/4/2012         14:24:00
64062      8043018755      5/30/2012        12:47:48
64063      8043019502      12/5/2011        18:29:58
64064      8043019664      9/28/2011        10:19:58
64065      8043042009      5/10/2011        19:23:17
64066      8043045544      7/23/2012        13:17:23
64067      8043050777      9/8/2011         19:29:35
64068      8043061778      12/19/2011       7:28:11
64069      8043065257      3/9/2012         7:12:03
64070      8043068725      10/3/2012        7:05:27
64071      8043073808      11/17/2011       14:08:01
64072      8043077495      9/19/2011        7:13:35
64073      8043077495      12/19/2011       7:36:31
64074      8043079200      6/5/2012         17:48:28
64075      8043079691      2/20/2012        8:42:24
64076      8043147201      12/10/2011       14:22:54
64077      8043163574      4/5/2012         15:42:17
64078      8043164694      9/25/2012        14:51:21
64079      8043180145      9/22/2011        15:58:25
64080      8043182267      2/28/2012        15:51:54
64081      8043182267      3/7/2012         18:29:59
64082      8043182750      9/27/2011        18:35:50
64083      8043186575      1/26/2012        7:26:02
64084      8043250323      8/30/2012        17:30:47
64085      8043250697      10/18/2012       16:41:02
64086      8043250744      6/8/2012         12:33:53
64087      8043323937      3/26/2012        18:24:59
64088      8043328209      1/3/2012         11:12:02
64089      8043329932      11/18/2011       13:30:46
64090      8043343318      9/30/2011        9:59:17
64091      8043343634      6/20/2012        16:52:14
64092      8043347402      7/14/2011        15:14:21
64093      8043357758      3/24/2012        9:56:22
64094      8043359119      5/21/2012        7:13:11
64095      8043375097      9/26/2012        14:39:53
64096      8043379671      12/31/2011       11:58:55
64097      8043380033      5/25/2012        8:11:24
64098      8043399638      5/14/2012        15:15:23
64099      8043471805      9/28/2012        7:38:12
64100      8043503752      8/8/2012         7:02:32
64101      8043506507      5/30/2012        12:45:39
64102      8043578697      3/14/2012        7:05:51
64103      8043586345      9/21/2012        18:45:07
64104      8043630295      11/23/2011       15:02:33
64105      8043633966      4/6/2012         15:48:18
64106      8043661479      12/28/2011       7:27:44
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1366 of 1863 Page ID
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64107      8043662408      2/15/2012        8:06:58
64108      8043701176      12/28/2011       16:31:34
64109      8043707120      7/15/2011        7:59:34
64110      8043709802      7/5/2012         7:51:51
64111      8043819014      3/13/2012        18:39:59
64112      8043826907      4/24/2012        12:23:44
64113      8043851084      9/20/2011        16:32:14
64114      8043865785      11/11/2011       14:34:23
64115      8043868445      9/3/2012         14:27:53
64116      8043869588      9/8/2011         18:43:18
64117      8043960266      3/23/2012        19:12:31
64118      8043972503      2/17/2012        18:08:34
64119      8043980856      3/16/2012        15:57:58
64120      8043981331      11/30/2011       15:14:40
64121      8043981385      10/20/2012       8:11:28
64122      8043981435      2/6/2012         7:13:44
64123      8043982250      6/7/2011         17:51:09
64124      8043983765      11/3/2011        17:01:06
64125      8043997541      9/21/2011        19:43:07
64126      8044002913      1/6/2012         15:55:32
64127      8044025646      9/13/2012        7:37:21
64128      8044058389      4/9/2012         19:16:31
64129      8044058609      12/2/2011        15:15:53
64130      8044260222      6/19/2012        13:16:24
64131      8044265567      11/5/2011        10:15:17
64132      8044266124      1/16/2012        17:12:20
64133      8044324794      7/5/2012         15:30:53
64134      8044335854      10/3/2012        7:04:16
64135      8044363969      7/19/2012        17:43:58
64136      8044366760      10/25/2011       15:59:41
64137      8044366760      6/11/2012        17:46:35
64138      8044371791      8/28/2012        7:29:44
64139      8044372762      8/9/2012         13:58:05
64140      8044373427      7/18/2012        7:07:59
64141      8044374752      5/15/2012        19:15:25
64142      8044377089      5/20/2012        15:32:00
64143      8044377089      5/21/2012        17:35:43
64144      8044391282      9/24/2011        9:39:26
64145      8044391282      12/14/2011       13:33:33
64146      8044391897      3/2/2012         7:02:32
64147      8044395848      5/23/2012        14:50:15
64148      8044483069      9/21/2011        11:41:17
64149      8044501290      5/26/2012        8:52:23
64150      8044502791      10/17/2011       7:28:54
64151      8044616268      12/12/2011       16:19:34
64152      8044675059      11/2/2011        7:07:06
64153      8044725806      5/21/2012        17:28:47
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                                   #:13217

64154      8044750898      8/30/2012        7:48:51
64155      8044753481      12/14/2011       17:51:23
64156      8044754414      2/22/2012        7:09:45
64157      8044756874      8/25/2012        11:10:02
64158      8044758691      1/3/2012         10:58:18
64159      8044791029      10/3/2011        7:27:21
64160      8044795703      10/11/2012       11:58:29
64161      8044799973      11/23/2011       14:29:22
64162      8044810953      8/20/2011        9:53:57
64163      8044811236      10/20/2012       8:08:53
64164      8044840826      1/11/2012        7:46:09
64165      8044845399      12/23/2011       7:15:13
64166      8044845399      6/16/2012        15:23:31
64167      8044849234      4/1/2014         12:14:51
64168      8044902720      10/20/2011       15:16:50
64169      8044903217      3/7/2012         18:30:11
64170      8044903270      10/8/2011        9:43:56
64171      8044908444      11/27/2011       15:29:21
64172      8044976060      1/9/2012         7:20:42
64173      8044976944      7/3/2012         7:09:31
64174      8045019523      9/28/2012        16:43:52
64175      8045019800      11/26/2011       12:27:36
64176      8045023220      3/30/2011        8:16:11
64177      8045023512      12/20/2011       9:30:17
64178      8045025649      5/18/2012        7:10:54
64179      8045027536      10/4/2011        13:37:34
64180      8045031693      9/14/2011        19:30:40
64181      8045033049      10/3/2011        7:11:53
64182      8045036977      10/17/2011       8:00:26
64183      8045039130      11/10/2011       7:22:28
64184      8045039618      11/4/2011        7:08:58
64185      8045046272      4/4/2012         7:08:17
64186      8045127166      12/9/2011        8:00:27
64187      8045136715      11/18/2011       13:30:20
64188      8045137916      8/31/2011        10:20:15
64189      8045141642      8/20/2012        18:43:04
64190      8045149389      9/8/2011         17:57:03
64191      8045170277      1/17/2012        7:23:22
64192      8045177647      11/28/2011       12:03:38
64193      8045360663      4/12/2012        18:03:11
64194      8045367673      10/1/2011        10:03:36
64195      8045390784      9/10/2011        8:58:49
64196      8045430120      12/21/2011       10:03:24
64197      8045431689      6/18/2012        7:57:24
64198      8045432346      5/23/2012        14:43:33
64199      8045434745      3/28/2011        15:14:59
64200      8045435316      11/5/2011        10:55:36
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64201      8045436946      3/22/2012        7:59:26
64202      8045516138      5/17/2012        16:38:57
64203      8045516138      5/21/2012        7:07:43
64204      8045516138      5/21/2012        7:33:31
64205      8045516138      7/9/2012         7:09:24
64206      8045516138      10/18/2012       16:33:43
64207      8045647614      8/30/2012        17:44:45
64208      8045647614      9/22/2012        9:35:06
64209      8045720639      2/28/2012        16:02:17
64210      8045723667      12/19/2011       7:25:06
64211      8045801232      11/12/2011       9:09:31
64212      8045860320      3/20/2012        17:45:55
64213      8045865843      8/2/2011         18:16:38
64214      8045869284      9/29/2012        9:47:24
64215      8045904366      6/9/2012         15:12:37
64216      8045905803      1/23/2012        19:10:18
64217      8045915373      6/15/2012        16:43:50
64218      8045916482      1/9/2012         7:25:55
64219      8045916830      8/31/2012        16:34:41
64220      8045918427      12/29/2011       10:58:14
64221      8045929597      9/8/2011         19:28:23
64222      8046053665      2/25/2012        10:51:47
64223      8046055635      3/13/2012        18:36:54
64224      8046055790      5/25/2012        17:05:56
64225      8046145340      11/11/2011       7:46:38
64226      8046151197      1/23/2012        19:09:37
64227      8046153478      6/9/2012         14:40:11
64228      8046155143      1/21/2012        8:28:54
64229      8046177815      12/18/2011       17:52:11
64230      8046178477      12/15/2011       8:27:26
64231      8046178477      5/14/2012        7:09:17
64232      8046178477      5/21/2012        7:07:23
64233      8046178477      6/18/2012        7:48:12
64234      8046178901      4/22/2012        15:11:11
64235      8046401419      5/31/2012        14:56:39
64236      8046403298      11/16/2011       7:53:57
64237      8046411505      9/8/2011         19:29:48
64238      8046413911      9/14/2011        11:26:46
64239      8046417198      3/14/2012        7:11:52
64240      8046419395      3/10/2012        8:25:52
64241      8046471869      11/23/2011       15:02:53
64242      8046471875      12/31/2011       11:55:43
64243      8046472372      1/5/2012         12:01:54
64244      8046473842      6/1/2012         8:55:17
64245      8046479087      9/17/2011        9:29:00
64246      8046512977      6/22/2012        7:46:32
64247      8046519930      10/8/2011        11:50:16
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                                   #:13219

64248      8046528632      3/5/2012         7:57:43
64249      8046541234      2/16/2012        7:06:25
64250      8046586055      8/3/2011         12:18:51
64251      8046658795      9/21/2011        11:52:11
64252      8046832291      9/26/2011        7:58:52
64253      8046871237      9/14/2011        7:04:20
64254      8046871246      3/2/2012         18:41:05
64255      8046875143      1/20/2012        11:44:10
64256      8046879527      9/20/2011        16:53:24
64257      8046909056      10/10/2011       12:31:12
64258      8046917329      12/10/2011       14:38:02
64259      8046919334      10/22/2012       7:10:23
64260      8047122767      8/18/2012        8:26:57
64261      8047122916      11/30/2011       7:27:44
64262      8047124650      6/20/2012        7:49:29
64263      8047125469      3/13/2012        16:41:31
64264      8047148652      11/1/2011        8:28:24
64265      8047148983      7/21/2011        7:16:54
64266      8047157035      11/26/2011       11:16:43
64267      8047206677      12/28/2011       7:05:36
64268      8047208010      9/17/2011        9:20:54
64269      8047211554      1/26/2014        13:42:31
64270      8047213672      10/6/2011        16:03:55
64271      8047217940      9/19/2011        19:11:49
64272      8047241691      1/21/2012        8:20:25
64273      8047244338      9/28/2011        10:50:40
64274      8047258381      1/23/2012        19:11:53
64275      8047316062      7/20/2011        14:48:49
64276      8047546476      12/23/2011       14:38:07
64277      8047611107      1/14/2012        12:27:57
64278      8047611160      2/13/2012        7:14:40
64279      8047613669      4/4/2011         12:54:05
64280      8047679543      11/25/2011       17:23:26
64281      8047679543      12/22/2011       9:19:15
64282      8047874886      2/18/2012        8:56:12
64283      8048141304      11/12/2011       10:25:20
64284      8048148694      12/9/2011        15:31:05
64285      8048151581      5/13/2012        17:11:44
64286      8048151581      5/21/2012        7:07:22
64287      8048151581      5/21/2012        7:33:06
64288      8048153692      5/13/2012        17:06:19
64289      8048154361      11/14/2011       16:25:54
64290      8048159832      1/27/2012        7:15:00
64291      8048225835      1/31/2012        7:08:04
64292      8048226375      10/8/2011        9:38:54
64293      8048246771      10/8/2011        10:52:43
64294      8048322388      12/14/2011       18:00:24
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64295      8048325234      10/20/2011       15:58:54
64296      8048325438      11/22/2011       19:30:05
64297      8048330131      11/19/2011       8:39:49
64298      8048330168      1/11/2012        7:26:25
64299      8048330176      10/10/2011       11:49:48
64300      8048330510      11/26/2011       12:27:07
64301      8048337118      9/27/2012        7:47:40
64302      8048357926      10/19/2012       19:07:51
64303      8048360997      10/23/2012       15:58:08
64304      8048363564      12/21/2011       10:10:12
64305      8048364539      5/4/2012         7:33:14
64306      8048366597      12/26/2011       8:56:02
64307      8048375152      6/5/2012         19:47:48
64308      8048406142      2/28/2012        16:15:28
64309      8048407414      7/16/2011        8:49:23
64310      8048408530      2/13/2012        18:27:16
64311      8048520022      4/26/2012        13:44:18
64312      8048675693      9/29/2011        15:11:54
64313      8048680800      10/8/2011        12:05:27
64314      8048685061      10/19/2011       12:08:39
64315      8048685393      9/19/2011        7:11:52
64316      8048688190      6/1/2012         9:18:06
64317      8048697771      10/3/2011        7:02:49
64318      8048698636      1/29/2014        7:02:07
64319      8048784654      10/29/2011       11:30:02
64320      8048787841      10/7/2013        7:03:57
64321      8048884699      10/15/2011       9:44:43
64322      8048885046      12/20/2011       19:33:34
64323      8048962053      10/8/2012        7:14:04
64324      8048962093      10/11/2012       7:55:46
64325      8048962589      10/14/2011       13:16:08
64326      8048981836      9/8/2011         19:42:26
64327      8048984292      11/12/2011       9:37:15
64328      8049010063      10/8/2011        10:56:04
64329      8049011411      10/3/2011        7:04:20
64330      8049013650      9/19/2011        7:30:19
64331      8049013650      12/12/2011       12:14:07
64332      8049014011      6/11/2012        17:00:05
64333      8049014244      3/2/2012         18:57:01
64334      8049017736      4/13/2012        13:16:08
64335      8049017736      4/23/2012        7:04:55
64336      8049019215      11/23/2011       9:58:30
64337      8049080851      5/14/2012        7:09:46
64338      8049080851      5/21/2012        7:07:24
64339      8049083111      4/5/2012         7:07:38
64340      8049083500      9/24/2011        9:29:47
64341      8049090397      8/14/2012        11:48:57
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                                   #:13221

64342      8049092356      12/18/2011       16:37:40
64343      8049092408      6/5/2012         19:47:45
64344      8049095093      9/10/2011        8:46:30
64345      8049095561      12/20/2011       9:31:49
64346      8049098507      4/15/2012        16:47:33
64347      8049098825      2/25/2012        10:51:05
64348      8049099054      8/20/2012        7:49:36
64349      8049147546      1/20/2012        11:30:16
64350      8049191180      1/11/2012        16:28:07
64351      8049192145      9/9/2011         7:42:53
64352      8049192993      9/20/2011        16:40:47
64353      8049192993      1/11/2012        16:35:22
64354      8049201992      2/14/2012        16:49:03
64355      8049202762      9/30/2011        10:00:31
64356      8049202762      12/12/2011       16:21:34
64357      8049205853      1/6/2012         14:55:52
64358      8049211992      6/27/2012        12:03:51
64359      8049212145      8/25/2012        11:01:18
64360      8049220152      2/10/2012        7:17:22
64361      8049222476      5/20/2012        15:35:38
64362      8049250045      6/21/2012        10:00:19
64363      8049264161      2/1/2012         8:09:22
64364      8049267606      2/15/2012        8:07:45
64365      8049312252      2/24/2011        11:36:53
64366      8049313541      8/1/2011         19:10:14
64367      8049374421      10/5/2011        14:48:23
64368      8049377873      11/14/2011       14:24:17
64369      8049380384      10/27/2011       16:34:49
64370      8049382167      10/4/2011        13:40:46
64371      8049432298      4/21/2012        8:20:27
64372      8049438064      9/26/2012        14:38:44
64373      8049556380      5/21/2012        7:59:55
64374      8049556562      4/7/2012         9:01:42
64375      8049556625      9/20/2011        16:32:37
64376      8049712152      8/16/2012        19:46:09
64377      8049712152      9/24/2012        19:03:42
64378      8049721456      9/13/2011        17:19:46
64379      8049809121      5/11/2012        7:07:59
64380      8049809121      5/21/2012        7:07:16
64381      8049828515      12/23/2011       14:47:21
64382      8049829814      10/3/2011        7:50:49
64383      8049867712      1/5/2012         17:18:58
64384      8049944102      6/18/2012        15:06:58
64385      8049948550      9/24/2011        9:32:38
64386      8052001713      10/1/2011        11:01:14
64387      8052007026      10/20/2012       16:38:38
64388      8052048643      4/25/2012        18:40:31
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                                   #:13222

64389      8052070677      9/26/2012        13:07:09
64390      8052074850      5/14/2012        10:17:05
64391      8052081408      1/6/2012         13:03:03
64392      8052086977      3/13/2012        18:40:39
64393      8052104366      7/23/2011        13:27:16
64394      8052104477      9/20/2011        19:30:01
64395      8052122921      8/10/2011        19:52:18
64396      8052154093      12/12/2011       12:18:54
64397      8052176608      1/26/2012        10:37:00
64398      8052188216      6/15/2012        15:49:13
64399      8052282634      5/11/2012        18:29:19
64400      8052346212      12/15/2011       10:20:41
64401      8052364586      8/23/2012        21:06:43
64402      8052369098      12/19/2011       11:26:25
64403      8052455454      5/2/2011         18:22:50
64404      8052456994      2/16/2012        11:25:28
64405      8052484209      8/16/2011        18:12:19
64406      8052497291      10/25/2011       16:14:41
64407      8052521277      5/25/2012        17:16:37
64408      8052535201      5/3/2012         21:14:07
64409      8052538167      12/21/2011       20:00:46
64410      8052586052      11/19/2011       10:37:19
64411      8052600195      10/11/2011       16:40:11
64412      8052605487      10/14/2011       13:37:13
64413      8052640217      3/22/2012        14:02:56
64414      8052641891      8/19/2012        11:53:41
64415      8052649461      4/7/2012         12:22:41
64416      8052664868      10/22/2012       18:09:19
64417      8052684829      6/9/2011         11:11:42
64418      8052809313      12/22/2011       20:59:36
64419      8052848739      8/5/2011         18:58:45
64420      8052851112      10/5/2012        12:21:17
64421      8052851618      8/3/2012         16:33:44
64422      8052906801      2/25/2012        11:14:20
64423      8052907584      11/16/2011       20:02:26
64424      8052907609      7/19/2011        18:06:24
64425      8052910410      10/20/2011       16:35:33
64426      8052912585      4/2/2012         17:45:13
64427      8052913949      8/20/2011        10:10:59
64428      8052917830      2/9/2012         14:30:45
64429      8052950247      5/28/2012        10:52:46
64430      8052960390      10/20/2011       20:55:59
64431      8052960776      7/7/2012         10:08:58
64432      8052980476      4/16/2012        15:42:13
64433      8053001084      11/29/2011       16:21:09
64434      8053002174      3/15/2012        13:47:28
64435      8053025439      1/25/2012        18:24:47
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                                   #:13223

64436      8053025687      10/29/2011       11:59:53
64437      8053026389      1/26/2012        10:03:41
64438      8053040613      10/5/2012        12:44:06
64439      8053043971      10/16/2012       16:40:58
64440      8053045150      9/19/2011        19:37:23
64441      8053047591      11/17/2011       14:46:36
64442      8053051623      2/20/2012        12:58:45
64443      8053051623      3/5/2012         10:57:35
64444      8053051894      11/14/2011       14:08:19
64445      8053100010      9/19/2011        14:59:38
64446      8053101286      10/4/2011        13:30:01
64447      8053101286      5/3/2012         10:14:27
64448      8053123019      1/25/2012        20:41:34
64449      8053123250      3/19/2012        12:04:35
64450      8053125131      5/17/2012        11:41:00
64451      8053125131      5/31/2012        10:10:00
64452      8053125202      10/6/2011        17:58:11
64453      8053150521      10/4/2011        13:29:06
64454      8053151669      8/29/2012        20:23:41
64455      8053155787      9/30/2011        10:27:21
64456      8053158918      9/4/2012         16:01:14
64457      8053171145      4/23/2012        20:50:26
64458      8053201007      9/14/2011        21:25:28
64459      8053203043      9/14/2012        21:10:14
64460      8053360817      10/10/2012       12:41:34
64461      8053363478      2/1/2012         13:39:52
64462      8053364472      8/7/2012         21:44:47
64463      8053366325      11/29/2011       15:17:26
64464      8053381593      9/14/2011        21:29:11
64465      8053386804      12/27/2011       14:42:28
64466      8053389887      2/20/2012        9:16:33
64467      8053400866      8/7/2012         21:57:14
64468      8053408305      8/26/2011        18:35:30
64469      8053408305      10/24/2011       14:36:48
64470      8053417375      10/10/2011       13:03:53
64471      8053450994      10/31/2011       10:04:44
64472      8053501255      11/26/2011       12:06:36
64473      8053502711      4/26/2012        17:45:19
64474      8053548823      10/10/2011       13:18:05
64475      8053548823      10/15/2011       11:04:55
64476      8053676249      5/6/2012         21:14:40
64477      8053902545      4/20/2012        20:50:36
64478      8053905611      12/27/2011       14:42:28
64479      8054008970      11/18/2011       13:26:49
64480      8054027649      9/27/2012        16:34:01
64481      8054033548      6/16/2012        15:35:42
64482      8054039284      10/11/2011       17:44:17
Case 2:13-cv-01170-DMG-E Document 375-1 Filed 09/10/21 Page 1374 of 1863 Page ID
                                   #:13224

64483      8054060649      10/24/2012       14:51:40
64484      8054060861      4/26/2012        21:19:04
64485      8054062860      7/19/2011        17:09:03
64486      8054063556      8/9/2012         14:13:43
64487      8054068321      2/11/2012        10:55:01
64488      8054069487      11/19/2011       10:45:02
64489      8054071066      4/9/2012         13:55:25
64490      8054074728      10/7/2011        17:37:34
64491      8054078624      4/26/2011        20:31:38
64492      8054153191      4/20/2012        20:50:13
64493      8054217369      8/6/2012         16:38:10
64494      8054219994      1/5/2012         12:07:32
64495      8054232619      12/19/2011       11:17:30
64496      8054235604      9/5/2012         15:29:11
64497      8054313773      9/13/2011        18:12:09
64498      8054335728      4/3/2012         16:16:02
64499      8054335782      9/22/2011        16:19:42
64500      8054347485      8/22/2012        11:15:05
64501      8054402531      8/11/2011        12:30:55
64502      8054403585      4/4/2012         18:40:35
64503      8054436894      7/27/2012        14:03:48
64504      8054447667      4/9/2012         13:40:13
64505      8054484603      12/29/2011       11:18:11
64506      8054484603      2/7/2012         16:41:20
64507      8054521556      11/26/2011       14:01:35
64508      8054580689      1/17/2012        18:37:07
64509      8054583982      9/4/2012         21:51:44
64510      8054648225      12/20/2011       15:13:09
64511      8054782696      3/19/2012        11:50:47
64512      8054782696      3/26/2012        15:08:54
64513      8054788881      10/4/2011        13:59:28
64514      8054789861      10/8/2011        12:33:47
64515      8054874799      6/4/2012         21:10:27
64516      8055014212      5/10/2012        15:06:57
64517      8055091685      2/10/2012        10:40:09
64518      8055121465      9/24/2011        10:11:26
64519      8055121465      10/14/2011       13:36:38
64520      8055123024      9/28/2012        16:57:34
64521      8055124504      3/1/2012         21:54:13
64522      8055124504      3/7/2012         18:37:32
64523      8055126207      5/10/2011        19:47:13
64524      8055358755      1/3/2012         11:27:31
64525      8055358755      1/27/2012        12:06:11
64526      8055408126      11/28/2011       11:32:15
64527      8055505499      9/17/2012        10:05:05
64528      8055512518      2/7/2012         20:26:39
64529      8055701920      2/16/2012        11:24:31
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                                   #:13225

64530      8055704068      11/16/2011       20:09:55
64531      8055871640      7/16/2012        14:25:16
64532      8055880498      12/26/2011       20:34:15
64533      8055880498      1/19/2012        18:44:02
64534      8055884921      11/14/2011       17:53:12
64535      8056021459      3/26/2012        15:07:01
64536      8056079015      9/26/2011        13:19:18
64537      8056079228      4/5/2012         14:02:19
64538      8056100257      3/8/2012         15:37:27
64539      8056101744      9/3/2012         14:57:18
64540      8056106012      10/24/2011       14:47:26
64541      8056120326      1/12/2012        14:21:00
64542      8056121137      12/28/2011       20:50:46
64543      8056127021      3/14/2012        19:39:44
64544      8056127776      11/26/2011       13:56:40
64545      8056167486      12/3/2011        10:07:05
64546      8056178934      10/15/2012       16:24:44
64547      8056188951      12/19/2011       11:26:03
64548      8056250644      12/28/2011       20:46:38
64549      8056253180      9/28/2012        14:18:18
64550      8056364320      6/29/2012        17:52:55
64551      8056366559      6/21/2012        18:53:54
64552      8056373596      5/5/2012         12:25:42
64553      8056405602      1/27/2012        18:09:27
64554      8056439909      3/8/2012         20:46:03
64555      8056518243      3/26/2012        18:50:17
64556      8056519505      1/5/2012         14:11:51
64557      8056519750      9/5/2012         15:22:15
64558      8056570508      10/20/2011       20:56:09
64559      8056803811      7/13/2012        21:27:14
64560      8056968636      9/5/2012         15:28:49
64561      8056981804      1/30/2012        10:14:49
64562      8057045345      9/27/2012        13:30:14
64563      8057045497      10/5/2012        18:20:37
64564      8057058798      12/10/2011       14:54:48
64565      8057087559      3/30/2011        8:37:39
64566      8057092097      2/4/2012         13:13:17
64567      8057142210      1/6/2012         14:43:27
64568      8057142212      1/18/2012        10:02:31
64569      8057143617      10/24/2012       21:13:35
64570      8057145969      12/18/2011       16:55:57
64571      8057178575      9/20/2011        20:50:12
64572      8057205386      4/2/2012         12:52:31
64573      8057227530      5/20/2012        15:56:15
64574      8057227530      5/21/2012        18:00:56
64575      8057229676      10/15/2012       10:08:40
64576      8057290881      4/2/2012         12:53:45
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                                   #:13226

64577      8057291041      4/23/2012        20:43:41
64578      8057365887      9/29/2011        15:27:18
64579      8057460042      10/10/2011       12:57:13
64580      8057461016      2/28/2012        13:10:57
64581      8057462878      12/18/2011       17:45:26
64582      8057463211      10/5/2011        14:25:15
64583      8057464809      10/15/2012       16:28:31
64584      8057469999      9/12/2011        13:39:55
64585      8057469999      9/23/2011        11:52:37
64586      8057480065      5/11/2012        12:34:28
64587      8057489194      10/22/2011       12:48:28
64588      8057489761      6/9/2012         15:38:08
64589      8057489761      10/25/2012       12:12:44
64590      8057544156      5/17/2012        17:04:05
64591      8057545372      12/22/2011       10:04:11
64592      8057572353      6/14/2012        15:52:16
64593      8057572419      10/23/2012       21:00:45
64594      8057581914      10/24/2011       14:21:55
64595      8057608204      9/20/2011        20:40:18
64596      8057661150      9/23/2011        19:07:13
64597      8057914104      5/26/2012        14:28:06
64598      8057916336      4/4/2012         18:54:22
64599      8057916336      7/13/2012        18:37:20
64600      8057944043      6/11/2012        10:03:35
64601      8057945702      11/7/2011        11:02:17
64602      8057946676      11/11/2011       14:37:12
64603      8057972484      5/23/2012        16:54:31
64604      8057980462      10/29/2011       12:02:36
64605      8058018356      5/26/2011        10:22:57
64606      8058079497      7/30/2011        10:10:04
64607      8058134348      12/2/2011        14:19:19
64608      8058135924      6/6/2012         10:20:27
64609      8058158918      12/1/2011        15:32:55
64610      8058161424      6/2/2012         12:50:53
64611      8058161459      9/8/2011         19:55:39
64612      8058162464      11/21/2011       10:44:32
64613      8058168121      2/10/2012        10:40:50
64614      8058222796      2/3/2012         20:22:05
64615      8058228851      11/21/2011       10:45:57
64616      8058235737      7/11/2012        17:17:47
64617      8058244669      6/11/2012        10:11:34
64618      8058244669      6/28/2012        14:27:05
64619      8058351549      7/25/2012        12:10:18
64620      8058353147      10/15/2011       10:09:48
64621      8058353627      11/5/2011        10:28:57
64622      8058357025      5/23/2012        16:39:21
64623      8058440831      1/6/2012         14:45:07
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                                   #:13227

64624      8058443007      10/8/2011        12:33:03
64625      8058443994      9/6/2012         21:14:11
64626      8058445068      1/18/2012        21:23:36
64627      8058445309      3/26/2012        18:32:16
64628      8058445309      4/11/2012        11:32:33
64629      8058578347      11/21/2011       10:57:03
64630      8058610467      10/10/2011       13:03:18
64631      8058631568      8/1/2012         20:14:58
64632      8058686552      6/13/2012        10:25:59
64633      8058686836      4/5/2012         18:28:59
64634      8058686836      5/1/2012         17:54:27
64635      8058688812      9/13/2011        18:40:06
64636      8058689158      4/16/2011        15:35:02
64637      8058783787      7/14/2011        17:05:13
64638      8058861210      3/12/2012        19:32:18
64639      8058868143      8/10/2012        10:23:12
64640      8058897044      8/6/2011         13:05:07
64641      8058899652      10/22/2012       18:02:41
64642      8058904194      3/13/2012        18:52:58
64643      8058907307      1/18/2012        16:55:39
64644      8058994541      2/13/2012        11:38:48
64645      8059010833      11/14/2011       17:47:43
64646      8059047641      4/11/2012        11:33:09
64647      8059048426      11/8/2011        14:42:31
64648      8059049656      8/13/2012        20:49:24
64649      8059049884      9/7/2012         15:58:09
64650      8059061219      2/25/2012        11:13:08
64651      8059071126      4/7/2012         12:23:38
64652      8059079526      2/3/2012         20:13:58
64653      8059148247      4/11/2012        11:32:26
64654      8059252284      12/7/2011        17:56:42
64655      8059442774      5/19/2012        9:43:49
64656      8059448811      7/16/2012        19:54:17
64657      8059539278      10/25/2012       19:30:17
64658      8059752679      2/28/2012        13:21:39
64659      8059759828      1/16/2012        12:10:54
64660      8059901332      3/20/2012        20:00:33
64661      8059906794      11/21/2011       10:44:03
64662      8062012605      8/11/2011        12:10:12
64663      8062015325      10/24/2011       8:08:53
64664      8062021862      9/8/2011         18:52:38
64665      8062025974      10/31/2011       7:09:28
64666      8062029295      12/30/2013       8:14:12
64667      8062050363      3/6/2012         16:02:57
64668      8062052311      4/16/2012        8:19:04
64669      8062052311      4/21/2012        16:52:54
64670      8062061148      3/10/2012        8:34:23
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64671      8062152903      10/15/2011       10:36:14
64672      8062156083      10/8/2011        12:07:13
64673      8062208449      8/17/2011        18:40:05
64674      8062208699      12/6/2011        14:11:11
64675      8062236638      2/25/2012        11:01:36
64676      8062236969      3/23/2012        11:09:09
64677      8062311177      6/7/2012         18:30:27
64678      8062312399      11/5/2011        10:12:46
64679      8062314869      9/8/2011         19:51:04
64680      8062316745      5/25/2012        12:02:15
64681      8062319762      9/20/2011        20:32:00
64682      8062361324      4/17/2012        9:35:10
64683      8062391129      1/16/2012        15:51:00
64684      8062391882      6/27/2012        19:51:34
64685      8062393594      12/18/2011       16:40:06
64686      8062393664      9/11/2012        15:09:33
64687      8062393664      10/3/2012        19:49:15
64688      8062396250      12/6/2011        13:51:46
64689      8062398629      10/5/2012        18:33:00
64690      8062399826      3/2/2012         9:23:05
64691      8062401004      4/26/2012        21:19:48
64692      8062402904      10/8/2011        11:37:26
64693      8062412852      3/27/2012        8:42:26
64694      8062416837      3/22/2012        14:00:38
64695      8062418470      10/5/2011        14:13:57
64696      8062523478      10/1/2012        8:17:12
64697      8062523898      3/8/2012         9:21:59
64698      8062524572      7/20/2011        14:55:19
64699      8062524897      11/4/2011        9:14:27
64700      8062527489      9/30/2011        10:21:21
64701      8062528922      9/8/2011         19:51:40
64702      8062550510      12/5/2011        9:37:29
64703      8062550510      12/21/2011       11:07:08
64704      8062740401      12/20/2011       19:36:27
64705      8062812641      9/11/2012        15:15:31
64706      8062823072      12/17/2011       11:32:21
64707      8062826933      10/10/2012       19:21:43
64708      8062828112      9/26/2012        8:11:38
64709      8062828112      10/16/2012       20:32:40
64710      8062830044      3/15/2012        19:08:02
64711      8062830187      5/16/2011        12:40:30
64712      8062833962      7/14/2012        8:02:35
64713      8062836926      3/16/2012        16:08:27
64714      8062838793      9/10/2011        9:13:27
64715      8062900295      9/8/2011         19:51:51
64716      8062900546      4/7/2012         9:12:35
64717      8062901977      9/10/2011        9:06:03
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64718      8062905944      11/29/2011       15:40:46
64719      8062906322      11/10/2011       14:37:59
64720      8062906974      3/19/2012        11:57:38
64721      8062922769      10/27/2011       16:02:15
64722      8062922769      11/11/2011       13:44:08
64723      8062925543      9/17/2011        9:36:38
64724      8062926741      5/13/2012        18:00:02
64725      8062928188      10/3/2012        8:06:32
64726      8063001081      7/12/2012        19:48:39
64727      8063001084      7/6/2012         16:57:27
64728      8063002981      10/20/2011       16:20:27
64729      8063005428      4/20/2012        14:33:22
64730      8063005766      4/3/2012         20:13:58
64731      8063007969      5/22/2012        18:28:31
64732      8063160720      11/11/2011       20:05:39
64733      8063161024      2/12/2012        15:44:24
64734      8063164393      11/15/2011       20:06:02
64735      8063164582      10/11/2011       17:29:57
64736      8063164879      9/8/2011         19:30:19
64737      8063167063      10/13/2011       8:39:01
64738      8063170416      4/20/2012        20:48:03
64739      8063170416      5/23/2012        15:00:00
64740      8063173834      8/11/2011        12:06:56
64741      8063173834      9/8/2011         19:49:25
64742      8063176159      10/3/2012        19:56:29
64743      8063177679      2/7/2012         8:02:47
64744      8063177849      4/20/2012        20:48:13
64745      8063178497      9/8/2011         19:48:49
64746      8063178800      9/14/2011        16:37:22
64747      8063299831      11/14/2011       14:48:54
64748      8063325399      11/22/2011       19:37:35
64749      8063337419      2/25/2012        11:01:52
64750      8063347589      11/16/2011       20:06:31
64751      8063355116      5/28/2011        10:33:36
64752      8063355216      2/14/2012        15:26:22
64753      8063355557      10/12/2012       21:29:43
64754      8063356412      2/9/2012         9:36:05
64755      8063356881      3/16/2012        11:10:04
64756      8063361632      1/18/2012        20:22:07
64757      8063361632      5/20/2012        15:42:47
64758      8063361632      5/21/2012        17:47:05
64759      8063362545      10/8/2011        12:04:23
64760      8063363096      9/20/2011        18:29:41
64761      8063365786      10/17/2011       8:53:15
64762      8063368243      7/25/2012        20:40:55
64763      8063409550      5/19/2011        8:12:00
64764      8063414411      5/18/2012        11:46:25
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                                   #:13230

64765      8063418431      5/13/2012        17:36:20
64766      8063468491      4/30/2012        14:54:09
64767      8063670999      8/16/2012        19:52:54
64768      8063682232      3/13/2012        18:32:41
64769      8063737510      12/30/2013       8:20:07
64770      8063820043      7/10/2012        21:13:07
64771      8063820820      9/20/2012        20:59:01
64772      8063822047      12/30/2011       16:55:22
64773      8063823976      12/21/2011       11:27:15
64774      8063859023      8/31/2011        10:06:41
64775      8063884633      9/19/2011        8:27:05
64776      8063887939      8/2/2011         18:19:25
64777      8063921234      10/8/2011        11:51:12
64778      8063951834      2/6/2012         17:21:42
64779      8064011115      10/24/2012       15:11:20
64780      8064011924      6/21/2012        10:15:34
64781      8064014663      5/21/2012        17:48:23
64782      8064017301      10/12/2012       17:13:30
64783      8064019257      9/26/2011        9:41:16
64784      8064019524      11/5/2011        11:21:38
64785      8064180903      11/25/2011       17:49:09
64786      8064216508      7/19/2012        17:37:58
64787      8064216586      2/17/2012        9:16:32
64788      8064218229      10/5/2011        14:16:37
64789      8064335422      3/21/2012        13:49:55
64790      8064336599      2/2/2012         16:37:16
64791      8064337308      11/23/2011       14:55:45
64792      8064383070      4/5/2012         14:36:13
64793      8064387759      10/1/2011        10:44:40
64794      8064412023      5/2/2011         18:04:14
64795      8064412138      11/21/2011       8:06:44
64796      8064412899      12/20/2011       11:45:28
64797      8064413903      12/1/2011        8:19:44
64798      8064413903      6/8/2012         8:08:48
64799      8064414704      2/29/2012        17:52:17
64800      8064416802      10/14/2011       13:28:02
64801      8064417549      9/22/2011        15:20:50
64802      8064419950      9/26/2011        9:28:55
64803      8064440935      1/19/2012        17:44:33
64804      8064445944      3/22/2012        7:50:25
64805      8064447556      2/3/2012         20:02:24
64806      8064448850      9/9/2011         18:21:55
64807      8064451310      10/10/2011       12:44:58
64808      8064452713      12/21/2011       18:43:22
64809      8064452940      11/10/2011       8:09:02
64810      8064457844      2/6/2012         17:00:30
64811      8064661838      10/22/2011       12:38:08
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                                   #:13231

64812      8064663658      8/13/2012        8:32:09
64813      8064667297      1/6/2012         12:48:12
64814      8064704677      9/14/2011        12:26:32
64815      8064738384      12/22/2011       9:42:38
64816      8064738780      9/7/2012         15:52:22
64817      8064739842      4/1/2011         12:37:29
64818      8064772473      3/5/2012         8:07:20
64819      8064772554      7/14/2011        8:29:59
64820      8064941789      8/6/2012         16:37:43
64821      8065170717      11/15/2011       15:43:26
64822      8065176108      8/3/2011         12:23:48
64823      8065188672      12/17/2011       11:34:44
64824      8065189713      9/20/2011        18:24:00
64825      8065189812      6/3/2011         8:13:46
64826      8065352401      3/19/2012        11:52:49
64827      8065354341      11/18/2011       13:00:20
64828      8065440805      7/3/2012         12:24:36
64829      8065440953      12/27/2011       14:21:32
64830      8065441272      9/16/2011        14:56:01
64831      8065441895      10/6/2011        16:58:22
64832      8065443698      6/5/2012         17:53:00
64833      8065446270      10/8/2011        11:30:26
64834      8065447499      9/8/2011         18:10:27
64835      8065448989      12/6/2011        14:33:55
64836      8065448991      1/24/2012        20:08:38
64837      8065449988      8/13/2011        10:15:48
64838      8065482343      4/20/2012        20:49:05
64839      8065486837      11/19/2011       9:00:49
64840      8065492418      2/29/2012        17:25:40
64841      8065495835      9/20/2011        16:53:24
64842      8065495835      10/10/2011       12:02:09
64843      8065496385      5/31/2012        8:08:19
64844      8065496424      9/13/2011        13:49:30
64845      8065592090      12/26/2011       19:59:20
64846      8065594496      4/16/2012        16:05:32
64847      8065594869      11/12/2011       9:40:17
64848      8065595339      11/3/2011        18:00:42
64849      8065595739      5/6/2012         18:09:46
64850      8065596446      12/20/2011       17:14:26
64851      8065596823      11/28/2011       12:16:40
64852      8065597525      11/15/2011       15:29:23
64853      8065597674      4/15/2012        17:16:45
64854      8065597674      6/5/2012         19:53:18
64855      8065704931      6/4/2011         10:45:19
64856      8065770626      9/20/2011        20:43:53
64857      8065772445      3/8/2012         20:26:42
64858      8065772445      7/28/2012        8:48:00
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64859      8065773248      1/6/2012         14:33:20
64860      8065773387      1/11/2012        8:50:29
64861      8065775337      3/29/2011        16:20:36
64862      8065775570      9/28/2011        11:14:14
64863      8065776290      7/23/2012        15:14:04
64864      8065840995      10/9/2012        20:04:17
64865      8065843079      7/19/2012        17:32:01
64866      8065845475      4/6/2012         15:42:25
64867      8065845745      7/11/2012        17:26:28
64868      8065847360      8/3/2011         11:44:10
64869      8065847596      2/3/2012         20:02:39
64870      8065847596      10/11/2012       18:41:14
64871      8065982829      12/10/2011       13:26:35
64872      8066263986      10/2/2012        8:35:21
64873      8066265401      6/8/2011         18:55:40
64874      8066265493      5/17/2012        17:03:22
64875      8066265646      1/4/2012         11:22:00
64876      8066266871      2/3/2012         20:09:16
64877      8066320269      8/3/2011         11:43:15
64878      8066320329      9/19/2011        8:15:50
64879      8066321765      1/10/2012        18:03:05
64880      8066321766      3/12/2012        19:10:57
64881      8066323629      10/13/2011       8:24:35
64882      8066323629      10/31/2011       8:06:30
64883      8066324713      8/20/2011        10:27:07
64884      8066324713      9/26/2011        9:30:50
64885      8066329224      9/21/2011        19:35:10
64886      8066542173      10/24/2011       8:15:52
64887      8066542173      12/1/2011        15:02:05
64888      8066621997      5/7/2011         15:27:03
64889      8066627748      12/18/2011       17:25:11
64890      8066628257      10/19/2011       12:09:38
64891      8066633595      9/19/2012        8:04:23
64892      8066636884      8/6/2012         13:17:01
64893      8066639929      10/10/2011       11:54:31
64894      8066639929      10/18/2011       12:23:40
64895      8066641079      4/20/2012        13:44:47
64896      8066724512      11/17/2011       16:48:08
64897      8066735068      3/7/2012         9:34:01
64898      8066735073      4/4/2012         8:21:44
64899      8066739694      5/21/2011        10:56:48
64900      8066745055      9/23/2011        19:03:14
64901      8066747842      7/16/2012        19:49:16
64902      8066761472      3/29/2012        16:33:31
64903      8066767093      1/12/2012        14:16:28
64904      8066769429      11/10/2011       17:28:05
64905      8066774164      5/3/2012         8:06:09
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64906      8066774281      10/10/2011       12:40:03
64907      8066791127      10/13/2011       8:25:28
64908      8066791127      11/18/2011       13:24:58
64909      8066797414      9/1/2011         8:21:07
64910      8066810226      6/18/2012        15:22:48
64911      8066818612      9/22/2012        9:06:05
64912      8066831331      10/28/2011       13:37:41
64913      8066831471      9/29/2012        10:05:12
64914      8066834932      5/20/2011        18:09:09
64915      8066850067      7/19/2011        16:48:00
64916      8066850857      3/14/2012        14:06:39
64917      8066851903      3/28/2012        10:44:41
64918      8066851903      4/19/2012        14:31:36
64919      8066851903      6/7/2012         12:44:06
64920      8066854633      10/5/2011        14:11:39
64921      8066903211      1/13/2012        17:26:22
64922      8067020177      9/4/2012         15:44:43
64923      8067020514      9/20/2011        20:42:41
64924      8067020782      9/15/2012        8:07:16
64925      8067291066      5/21/2011        10:54:32
64926      8067296055      8/9/2011         13:44:15
64927      8067296155      4/21/2011        11:19:58
64928      8067296467      9/24/2012        18:34:54
64929      8067296993      1/3/2012         16:31:41
64930      8067591257      2/16/2012        8:31:31
64931      8067731761      5/12/2012        10:53:59
64932      8067732482      10/19/2011       12:16:25
64933      8067735617      10/20/2011       15:38:31
64934      8067754283      11/10/2011       8:04:45
64935      8067776960      10/13/2011       8:22:42
64936      8067779275      9/27/2012        8:34:00
64937      8067779311      3/8/2012         9:13:13
64938      8067779375      10/20/2012       16:38:18
64939      8067780986      9/19/2011        8:14:23
64940      8067785145      9/23/2011        11:13:36
64941      8067788929      3/27/2012        15:50:25
64942      8067811205      2/10/2012        20:35:22
64943      8067811206      12/17/2011       12:02:35
64944      8067813010      9/9/2011         18:01:52
64945      8067816870      11/5/2011        10:00:11
64946      8067819218      4/29/2012        18:20:26
64947      8067819218      4/30/2012        14:34:20
64948      8067863382      10/21/2011       13:28:56
64949      8067863705      1/5/2012         14:03:16
64950      8067874878      7/25/2012        20:39:26
64951      8067875477      8/7/2012         17:44:12
64952      8067891836      2/16/2012        8:40:23
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64953      8067892552      5/20/2011        18:04:44
64954      8067907342      2/9/2012         9:39:01
64955      8067909542      6/24/2011        11:21:31
64956      8068312949      4/5/2012         13:56:38
64957      8068314704      3/13/2012        18:32:01
64958      8068315640      10/19/2012       19:04:18
64959      8068316654      11/4/2011        9:09:36
64960      8068316912      6/2/2012         13:06:58
64961      8068316912      10/11/2012       18:49:54
64962      8068695727      5/9/2011         17:18:15
64963      8068812521      9/22/2011        15:19:25
64964      8068812851      3/6/2012         15:48:42
64965      8068814576      2/28/2012        7:44:06
64966      8068849970      3/14/2012        19:34:14
64967      8068862850      1/13/2012        17:17:32
64968      8068910140      11/16/2011       9:46:51
64969      8068914760      11/7/2011        9:20:16
64970      8068917346      3/11/2012        15:26:50
64971      8068930245      11/17/2011       16:28:33
64972      8068930483      11/12/2011       10:35:23
64973      8068930595      11/11/2011       14:35:43
64974      8068930656      10/8/2011        11:45:05
64975      8068930656      10/15/2011       9:27:12
64976      8068935451      4/23/2011        10:25:58
64977      8069281584      8/30/2012        17:45:43
64978      8069283723      8/16/2012        19:48:23
64979      8069289651      11/19/2011       8:29:07
64980      8069308469      10/14/2011       13:22:40
64981      8069308922      8/1/2012         8:35:48
64982      8069309889      7/15/2011        17:40:44
64983      8069399041      5/3/2012         8:17:01
64984      8082037623      10/12/2011       11:59:57
64985      8082037623      10/27/2011       15:07:28
64986      8082172971      6/8/2012         13:55:36
64987      8082180976      11/29/2011       15:58:36
64988      8082183212      4/19/2012        14:54:45
64989      8082307567      12/13/2011       18:53:30
64990      8082327954      3/26/2012        15:09:07
64991      8082339215      10/25/2011       16:47:12
64992      8082387724      5/27/2012        14:03:33
64993      8082560636      4/29/2011        20:48:34
64994      8082563717      5/23/2011        16:26:40
64995      8082586439      6/4/2012         21:08:38
64996      8082766332      9/20/2011        20:43:31
64997      8082766455      5/19/2012        10:58:06
64998      8082800348      9/12/2012        15:21:35
64999      8082810893      5/29/2012        14:25:08
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65000      8082814556      9/19/2012        21:28:33
65001      8082833190      2/20/2012        17:16:28
65002      8082947197      9/11/2012        15:12:28
65003      8082983763      5/19/2012        10:57:40
65004      8083159403      8/4/2011         19:22:31
65005      8083306174      10/24/2011       8:07:37
65006      8083445295      9/1/2011         15:27:12
65007      8083448827      1/10/2012        20:57:20
65008      8083450899      8/9/2012         21:58:07
65009      8083452528      4/22/2012        15:46:31
65010      8083456581      3/14/2012        14:16:50
65011      8083468143      3/1/2012         12:47:51
65012      8083476834      1/20/2012        15:54:50
65013      8083481362      3/23/2011        20:19:45
65014      8083515866      10/6/2011        17:57:39
65015      8083516662      8/20/2012        18:37:35
65016      8083524179      11/22/2011       19:09:14
65017      8083549511      4/1/2012         16:08:38
65018      8083661859      4/11/2012        13:09:17
65019      8083663364      3/24/2012        10:56:47
65020      8083664153      7/14/2011        17:11:24
65021      8083756554      10/11/2011       16:11:48
65022      8083855034      9/12/2011        13:52:40
65023      8083882201      6/11/2011        9:31:54
65024      8083917895      2/17/2012        18:09:05
65025      8083937281      2/21/2012        20:52:25
65026      8083947661      3/12/2012        19:32:48
65027      8083947661      4/18/2012        17:53:28
65028      8083973714      3/26/2012        18:48:05
65029      8084295081      2/2/2012         7:13:11
65030      8084301778      1/30/2012        13:37:04
65031      8084301778      3/1/2012         17:37:40
65032      8084434162      11/29/2011       15:52:58
65033      8084630740      1/23/2012        13:50:47
65034      8084630741      7/27/2012        14:17:59
65035      8084699307      6/1/2012         21:46:10
65036      8084895429      5/13/2012        18:25:02
65037      8084898491      3/6/2012         13:29:26
65038      8084977319      11/22/2011       19:21:59
65039      8085515941      11/29/2011       15:52:50
65040      8085570061      9/25/2012        14:57:51
65041      8085574581      11/22/2011       19:02:05
65042      8085577165      5/26/2012        14:43:08
65043      8085590814      7/14/2011        17:11:17
65044      8085617165      4/1/2012         16:19:02
65045      8085617443      7/30/2012        18:48:38
65046      8086319584      2/1/2012         18:45:57
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65047      8086330981      3/22/2012        14:35:09
65048      8086347820      9/8/2011         19:57:50
65049      8086350878      1/27/2012        19:48:57
65050      8086402249      5/1/2012         18:34:37
65051      8086514715      7/13/2011        11:21:51
65052      8086736136      1/23/2012        13:50:50
65053      8086796540      12/27/2011       14:26:40
65054      8086993154      9/13/2012        15:19:27
65055      8087562218      10/24/2011       14:37:26
65056      8087691717      9/3/2012         14:37:19
65057      8087693858      2/1/2012         13:40:41
65058      8087693858      4/1/2012         17:57:07
65059      8087697620      10/5/2012        18:18:50
65060      8087796488      4/26/2012        13:52:03
65061      8087805049      11/17/2011       15:29:13
65062      8087806450      7/31/2012        15:39:24
65063      8087808581      7/31/2012        15:45:44
65064      8087820559      9/26/2012        15:22:51
65065      8087827034      10/24/2012       15:20:18
65066      8087831991      4/1/2012         17:57:13
65067      8088407394      10/12/2012       17:18:28
65068      8088540608      8/21/2012        21:48:52
65069      8088540608      10/24/2012       21:14:40
65070      8088616720      6/5/2012         16:03:42
65071      8088641720      10/27/2011       18:23:30
65072      8088740062      5/20/2012        15:58:43
65073      8088955260      1/20/2012        20:30:09
65074      8088955260      4/26/2012        21:10:07
65075      8088961697      10/4/2011        13:31:09
65076      8089272708      12/7/2011        14:24:05
65077      8089276766      5/23/2012        15:04:30
65078      8089375732      9/20/2012        14:44:31
65079      8089377763      8/7/2012         17:58:45
65080      8089380586      12/28/2011       16:31:44
65081      8089534741      5/8/2012         15:51:28
65082      8089890880      8/1/2012         20:11:25
65083      8089902752      7/6/2012         14:57:33
65084      8089904921      1/25/2012        18:29:03
65085      8102105136      8/24/2011        12:06:47
65086      8102105416      5/31/2012        15:13:07
65087      8102106624      12/9/2013        18:52:11
65088      8102108116      11/8/2011        14:11:37
65089      8102109220      9/28/2011        11:02:41
65090      8102236725      12/10/2011       12:57:43
65091      8102419205      3/13/2012        18:36:12
65092      8102472790      10/1/2011        10:32:14
65093      8102473967      4/26/2012        11:34:50
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65094      8102652655      10/1/2011        10:27:29
65095      8102653009      12/27/2011       14:27:52
65096      8102653428      3/29/2012        16:38:53
65097      8102653851      3/26/2012        7:22:53
65098      8102656121      6/11/2012        17:03:05
65099      8102780991      2/10/2012        16:52:32
65100      8102782807      11/28/2011       16:30:50
65101      8102800395      9/12/2011        13:45:24
65102      8102800395      9/20/2011        17:08:54
65103      8102824478      7/15/2011        7:24:26
65104      8102826009      6/7/2012         18:27:28
65105      8102826715      10/28/2011       7:07:39
65106      8102881047      9/29/2011        15:33:07
65107      8102881047      10/25/2011       15:05:27
65108      8102881047      12/3/2011        9:46:57
65109      8102882109      6/16/2012        15:25:55
65110      8102932372      2/22/2012        7:08:00
65111      8102936910      3/24/2012        10:16:57
65112      8103001535      1/8/2012         12:58:31
65113      8103007931      11/29/2011       15:20:31
65114      8103052437      7/26/2012        12:16:04
65115      8103082487      9/23/2011        11:27:07
65116      8103083912      8/8/2012         16:05:18
65117      8103085542      2/11/2012        15:02:36
65118      8103085935      10/15/2011       10:01:17
65119      8103086616      3/13/2012        18:34:59
65120      8103087871      12/22/2013       10:34:34
65121      8103088680      5/6/2012         17:27:20
65122      8103088845      9/19/2011        19:04:49
65123      8103095470      10/14/2011       13:15:48
65124      8103096242      4/5/2012         14:32:24
65125      8103097042      9/21/2011        11:25:21
65126      8103333960      11/30/2011       15:39:28
65127      8103336240      8/31/2012        16:35:30
65128      8103340400      7/30/2012        18:41:03
65129      8103341447      10/15/2012       10:16:32
65130      8103361080      8/23/2012        11:36:30
65131      8103361600      10/4/2011        13:33:39
65132      8103361709      3/7/2012         18:28:28
65133      8103361709      3/21/2012        13:37:30
65134      8103363435      8/22/2012        11:18:59
65135      8103365744      3/20/2012        17:40:04
65136      8103366036      12/10/2011       12:55:18
65137      8103368018      9/14/2012        7:01:07
65138      8103368882      2/24/2011        11:39:26
65139      8103369379      9/21/2011        19:33:11
65140      8103369449      9/25/2012        14:49:48
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65141      8103369449      10/7/2012        12:46:20
65142      8103386796      4/17/2012        9:30:40
65143      8103389902      3/13/2012        18:34:47
65144      8103473316      2/14/2012        13:17:02
65145      8103481714      4/26/2012        11:35:08
65146      8103489090      1/17/2012        7:21:58
65147      8103577645      10/15/2012       10:05:04
65148      8103577767      7/26/2012        11:58:24
65149      8103578923      9/26/2011        8:14:40
65150      8103584223      1/13/2012        7:24:28
65151      8103586715      9/30/2011        10:14:31
65152      8103940254      3/13/2012        18:35:05
65153      8103940254      9/24/2012        13:04:07
65154      8103946426      7/15/2013        8:28:16
65155      8103971394      9/16/2011        13:18:57
65156      8103971513      10/12/2011       8:00:33
65157      8103976849      2/2/2012         16:43:22
65158      8103976852      11/18/2011       12:17:22
65159      8103992894      4/9/2012         18:08:11
65160      8103997000      8/13/2012        20:56:51
65161      8104043361      9/13/2011        17:31:48
65162      8104108072      11/30/2011       7:30:21
65163      8104170878      4/5/2012         14:21:28
65164      8104223805      3/22/2012        7:56:50
65165      8104231661      1/9/2012         18:33:05
65166      8104232605      5/28/2012        8:18:09
65167      8104234652      12/6/2011        14:06:08
65168      8104238755      9/21/2011        11:29:11
65169      8104295464      12/3/2011        9:56:11
65170      8104346211      8/3/2011         11:19:30
65171      8104411099      9/17/2011        9:25:25
65172      8104411613      9/15/2012        8:06:53
65173      8104412027      10/14/2011       12:56:55
65174      8104417923      9/10/2011        8:29:11
65175      8104445027      4/29/2012        16:49:01
65176      8104491831      3/13/2012        11:07:30
65177      8104494926      8/18/2012        8:45:15
65178      8104497285      9/20/2011        16:31:33
65179      8104499823      9/12/2012        7:47:50
65180      8104587492      9/2/2011         12:35:41
65181      8104587657      4/9/2012         18:09:31
65182      8104791555      1/12/2012        7:09:43
65183      8104792485      3/15/2012        19:23:09
65184      8104792721      2/14/2012        15:23:51
65185      8105130445      9/24/2012        19:09:47
65186      8105138007      3/5/2012         7:07:08
65187      8105150819      7/20/2012        19:49:01
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65188      8105153948      10/18/2012       7:09:37
65189      8105156904      11/28/2011       17:47:41
65190      8105161377      9/21/2011        19:34:11
65191      8105161672      12/23/2011       13:51:49
65192      8105167513      8/1/2012         8:24:36
65193      8105255106      10/20/2011       15:23:04
65194      8105311432      8/2/2011         16:55:48
65195      8105432112      6/4/2011         9:26:39
65196      8105433219      2/28/2012        16:10:27
65197      8105699539      3/31/2014        15:28:15
65198      8105801919      6/9/2012         14:37:38
65199      8105809581      2/20/2012        7:07:55
65200      8105809605      7/30/2012        13:28:15
65201      8105809631      9/28/2011        11:00:52
65202      8105809878      9/15/2011        7:46:54
65203      8105971138      7/11/2012        17:18:14
65204      8105999325      11/18/2011       13:30:03
65205      8106100319      1/30/2012        7:06:28
65206      8106108592      9/1/2012         9:20:34
65207      8106109115      9/24/2012        19:16:20
65208      8106183361      8/18/2011        7:44:33
65209      8106183361      1/28/2012        8:06:55
65210      8106185500      10/26/2011       12:41:18
65211      8106185804      11/30/2011       7:15:51
65212      8106316600      10/5/2011        14:41:10
65213      8106500282      6/28/2012        14:19:53
65214      8106508196      6/19/2012        15:35:48
65215      8106890065      12/29/2011       11:17:41
65216      8106940561      2/20/2012        7:07:55
65217      8107016532      4/1/2012         16:46:26
65218      8107017802      1/5/2012         13:55:57
65219      8107051041      12/21/2011       9:47:59
65220      8107123952      2/16/2014        16:29:36
65221      8107286712      10/17/2011       8:27:12
65222      8107288975      9/10/2012        7:33:20
65223      8107302110      4/27/2012        7:11:43
65224      8107307070      12/7/2011        13:07:52
65225      8107663366      8/16/2012        19:50:13
65226      8107663559      10/11/2011       14:57:46
65227      8107663809      9/24/2012        13:02:08
65228      8107720939      7/11/2012        9:39:37
65229      8107726325      11/12/2011       9:53:51
65230      8108131340      9/14/2012        7:05:19
65231      8108141766      10/6/2011        16:17:08
65232      8108142778      10/20/2011       20:55:17
65233      8108143291      3/7/2012         18:29:53
65234      8108148568      12/24/2011       7:16:03
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65235      8108203017      1/21/2012        8:08:41
65236      8108345088      10/17/2012       9:28:39
65237      8108345119      9/5/2012         7:17:14
65238      8108356640      9/20/2011        20:42:22
65239      8108356875      10/10/2011       11:34:45
65240      8108369758      11/12/2011       10:10:45
65241      8108370348      8/8/2011         14:58:08
65242      8108371444      8/20/2012        7:51:53
65243      8108371667      6/16/2012        15:26:41
65244      8108412909      10/24/2012       14:57:34
65245      8108416965      11/5/2011        9:50:43
65246      8108418496      10/8/2011        10:57:07
65247      8108443639      3/29/2012        11:29:32
65248      8108446445      4/6/2012         16:07:21
65249      8108538867      8/21/2012        13:50:09
65250      8108581048      6/30/2012        8:06:06
65251      8108581405      1/8/2012         12:46:38
65252      8108581479      1/4/2012         11:11:37
65253      8108585094      5/18/2012        15:39:59
65254      8108690350      12/22/2011       7:08:35
65255      8108749003      1/6/2012         15:04:12
65256      8108757146      9/21/2012        18:44:51
65257      8108757589      7/22/2012        12:18:41
65258      8108879209      9/12/2011        14:06:16
65259      8109197650      6/8/2012         16:55:11
65260      8109226909      1/5/2012         11:58:39
65261      8109226909      1/13/2012        17:13:35
65262      8109376028      10/1/2012        13:43:24
65263      8109377173      9/13/2011        18:37:36
65264      8109377482      8/6/2012         14:27:47
65265      8109377567      5/11/2012        18:40:22
65266      8109377630      7/18/2012        18:23:16
65267      8109377912      7/2/2011         8:11:36
65268      8109378284      3/21/2012        7:11:16
65269      8109385840      3/15/2012        7:14:01
65270      8109551133      11/17/2011       15:17:07
65271      8109562511      5/7/2011         14:23:33
65272      8109562779      9/19/2012        7:55:51
65273      8109565022      10/14/2011       13:18:18
65274      8109565062      5/25/2012        17:15:33
65275      8109565221      7/20/2012        14:57:04
65276      8109565602      8/14/2012        11:41:34
65277      8109565914      10/17/2012       14:01:58
65278      8109622469      7/2/2012         15:10:27
65279      8109622720      8/10/2012        7:28:47
65280      8109651513      3/6/2012         12:54:58
65281      8109654401      4/20/2012        14:01:38
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65282      8109654401      5/21/2012        7:05:54
65283      8109655502      12/29/2011       11:01:49
65284      8109863744      7/20/2012        7:36:53
65285      8109864599      10/24/2012       14:42:34
65286      8109865933      6/16/2012        15:06:27
65287      8122041520      2/11/2012        10:43:45
65288      8122293890      3/20/2012        17:44:44
65289      8122413601      5/31/2012        15:14:25
65290      8123220111      7/13/2011        12:01:06
65291      8123502403      10/8/2011        10:03:56
65292      8123507591      10/11/2011       16:50:37
65293      8123748776      11/16/2011       11:25:12
65294      8124532619      9/24/2012        13:04:46
65295      8124533311      7/18/2011        8:15:51
65296      8124939153      9/20/2011        16:33:29
65297      8125081033      9/21/2011        11:40:19
65298      8125529132      2/20/2012        17:05:49
65299      8125691021      8/15/2012        12:27:00
65300      8126037818      11/8/2011        13:59:43
65301      8126082035      6/9/2012         10:29:41
65302      8126312527      10/25/2011       16:42:51
65303      8126312527      11/30/2011       15:35:14
65304      8126916034      6/8/2012         16:56:31
65305      8127606649      7/18/2012        18:23:07
65306      8127640448      8/30/2012        17:41:20
65307      8127747048      10/26/2011       12:12:55
65308      8127864920      12/9/2011        15:48:50
65309      8129639317      9/22/2011        15:15:08
65310      8129897784      12/22/2011       9:21:23
65311      8132052566      5/13/2011        11:23:30
65312      8132053374      5/19/2012        8:19:40
65313      8132103172      9/27/2012        16:27:58
65314      8132103325      11/10/2011       7:13:42
65315      8132105698      5/11/2012        12:30:20
65316      8132150801      3/13/2012        18:30:40
65317      8132156870      10/10/2012       12:46:07
65318      8132157077      2/11/2012        11:06:55
65319      8132158083      12/18/2011       18:00:32
65320      8132172446      11/23/2011       14:48:58
65321      8132173707      4/1/2012         16:10:12
65322      8132353648      11/7/2011        7:28:43
65323      8132357813      12/6/2011        7:37:32
65324      8132358212      2/14/2012        15:19:26
65325      8132358722      12/7/2011        14:38:50
65326      8132415990      4/3/2012         17:57:20
65327      8132440210      8/5/2011         18:31:36
65328      8132441452      10/17/2011       11:32:53
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65329      8132441758      2/28/2012        16:02:24
65330      8132453483      8/3/2012         7:27:07
65331      8132453483      8/10/2012        7:32:20
65332      8132458411      10/24/2011       7:02:43
65333      8132605818      6/29/2012        17:49:50
65334      8132607015      9/12/2011        13:45:11
65335      8132607015      9/30/2011        9:53:49
65336      8132637700      5/29/2012        17:12:11
65337      8132676190      10/26/2011       12:00:56
65338      8132678169      7/20/2011        14:54:50
65339      8132701527      9/22/2011        16:08:59
65340      8132704914      5/14/2012        7:10:34
65341      8132704914      5/26/2012        14:31:00
65342      8132705082      1/14/2012        13:20:57
65343      8132705602      12/23/2011       15:27:30
65344      8132705602      2/6/2012         16:46:12
65345      8132706916      12/24/2011       7:17:11
65346      8132709049      3/28/2012        18:21:56
65347      8132709713      9/3/2012         15:04:29
65348      8132982437      1/16/2012        16:02:14
65349      8132983843      9/26/2011        8:23:47
65350      8132985895      9/26/2012        7:15:44
65351      8132988483      11/9/2011        7:48:16
65352      8132998656      4/15/2012        15:14:43
65353      8132998656      9/18/2012        14:31:32
65354      8133092925      5/9/2012         7:34:15
65355      8133092925      5/21/2012        7:32:56
65356      8133106068      11/18/2011       13:23:54
65357      8133120759      11/15/2011       15:15:58
65358      8133120759      5/14/2012        15:33:02
65359      8133122731      9/26/2011        8:01:26
65360      8133123552      7/26/2012        19:13:35
65361      8133123552      8/19/2012        12:03:53
65362      8133123579      10/5/2012        18:36:55
65363      8133124119      1/16/2012        17:07:33
65364      8133124119      1/23/2012        19:08:43
65365      8133126003      10/29/2011       11:20:34
65366      8133126470      4/2/2012         17:38:01
65367      8133126579      12/14/2011       13:06:17
65368      8133138900      8/10/2012        7:32:51
65369      8133150051      1/16/2012        17:22:29
65370      8133178734      11/19/2011       8:16:40
65371      8133179572      5/5/2012         8:19:59
65372      8133181216      9/13/2011        17:58:15
65373      8133181776      11/10/2011       7:13:39
65374      8133235096      11/12/2011       10:22:05
65375      8133252206      10/15/2011       10:24:29
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65376      8133252691      9/6/2012         12:30:02
65377      8133252857      10/12/2011       7:25:01
65378      8133252948      4/1/2012         16:01:00
65379      8133252966      6/7/2012         18:32:06
65380      8133253593      3/8/2012         7:06:59
65381      8133254201      3/7/2012         18:41:33
65382      8133254201      5/21/2012        7:25:41
65383      8133255868      9/1/2012         9:20:21
65384      8133256802      3/26/2012        18:23:06
65385      8133258847      12/21/2011       9:52:52
65386      8133266334      5/8/2012         9:31:11
65387      8133268142      11/16/2011       9:55:46
65388      8133338330      9/19/2011        7:25:59
65389      8133338330      10/7/2011        7:21:43
65390      8133353995      9/28/2011        10:54:38
65391      8133358322      1/18/2012        9:47:17
65392      8133404745      3/16/2012        16:08:39
65393      8133404857      9/13/2011        7:16:42
65394      8133405352      11/15/2011       16:05:00
65395      8133405352      1/10/2012        15:25:34
65396      8133457432      11/22/2011       18:27:31
65397      8133470177      10/27/2011       16:29:15
65398      8133470715      10/21/2011       12:58:47
65399      8133522021      5/1/2012         8:04:25
65400      8133522021      6/15/2012        8:51:37
65401      8133524671      8/17/2012        10:05:55
65402      8133527434      2/21/2012        9:26:40
65403      8133528128      3/19/2012        19:08:59
65404      8133557066      8/17/2011        19:07:33
65405      8133593010      10/18/2011       12:01:32
65406      8133593349      5/18/2012        15:39:13
65407      8133614392      4/21/2012        16:16:12
65408      8133623452      2/3/2012         7:08:37
65409      8133633249      9/23/2011        11:34:31
65410      8133633249      10/3/2011        7:27:19
65411      8133633249      10/11/2011       16:54:10
65412      8133634119      3/11/2011        16:22:42
65413      8133677265      8/11/2012        9:43:14
65414      8133682116      5/24/2012        7:06:44
65415      8133689598      6/11/2012        17:51:59
65416      8133690235      11/3/2011        17:01:19
65417      8133692392      10/21/2011       12:27:58
65418      8133693533      9/26/2012        7:07:10
65419      8133699267      12/12/2011       16:39:55
65420      8133761714      3/15/2012        7:03:49
65421      8133761866      10/12/2011       8:26:58
65422      8133775461      12/17/2011       11:49:27
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65423      8133776068      8/2/2012         11:26:57
65424      8133777801      5/31/2012        15:05:44
65425      8133800858      7/14/2011        15:32:49
65426      8133802469      7/12/2012        19:49:07
65427      8133804036      9/16/2011        13:22:29
65428      8133812581      7/20/2012        14:56:29
65429      8133820110      12/27/2011       14:30:59
65430      8133820329      5/10/2012        14:47:02
65431      8133820329      5/16/2012        16:46:07
65432      8133828777      2/9/2012         7:05:39
65433      8133840244      5/13/2012        16:44:48
65434      8133840325      11/29/2011       15:33:04
65435      8133851290      5/14/2011        11:39:26
65436      8133858743      12/28/2011       13:14:08
65437      8133883003      5/20/2012        15:17:57
65438      8133891105      8/10/2011        7:05:45
65439      8133892066      12/23/2011       7:15:44
65440      8133892066      1/9/2012         18:24:01
65441      8133892617      5/19/2012        16:06:02
65442      8133892617      6/5/2012         7:14:11
65443      8133892864      9/15/2011        7:15:23
65444      8133892864      5/4/2012         14:18:31
65445      8133893314      9/26/2011        8:31:07
65446      8133897718      5/23/2012        14:53:11
65447      8133906969      7/13/2012        11:07:52
65448      8133906974      5/18/2012        12:05:24
65449      8133909773      9/23/2011        18:57:24
65450      8133912824      1/11/2012        7:47:29
65451      8133915623      3/21/2012        13:48:12
65452      8133917158      10/8/2011        10:51:05
65453      8133939056      5/31/2012        14:59:13
65454      8133941422      11/4/2011        7:13:43
65455      8134013258      1/4/2012         10:57:54
65456      8134013383      7/19/2011        16:36:36
65457      8134014051      5/21/2011        10:23:37
65458      8134014223      10/8/2011        9:33:39
65459      8134014223      10/12/2011       11:31:28
65460      8134030220      2/17/2012        18:07:15
65461      8134031687      6/7/2012         18:27:53
65462      8134038239      8/12/2012        13:45:03
65463      8134045460      12/23/2011       14:02:13
65464      8134047204      9/12/2011        13:52:28
65465      8134048565      3/2/2012         18:45:41
65466      8134048745      9/10/2011        8:09:22
65467      8134049110      3/10/2011        18:25:25
65468      8134055335      1/14/2012        8:02:45
65469      8134055710      5/23/2012        16:24:12
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65470      8134057356      10/6/2011        17:26:09
65471      8134079417      12/23/2011       14:27:13
65472      8134080287      5/13/2012        17:16:12
65473      8134098714      9/25/2012        14:50:00
65474      8134099457      8/3/2012         16:29:01
65475      8134100326      1/5/2012         11:57:47
65476      8134102521      12/11/2011       12:22:53
65477      8134103228      1/6/2012         7:10:32
65478      8134103251      9/15/2012        8:03:16
65479      8134104129      10/8/2011        9:38:55
65480      8134107272      1/11/2012        7:41:26
65481      8134108422      3/27/2012        14:59:45
65482      8134120111      10/6/2011        17:27:49
65483      8134129663      1/29/2012        17:10:22
65484      8134161524      11/29/2011       16:17:20
65485      8134163023      6/18/2012        7:49:44
65486      8134166864      9/24/2011        9:29:59
65487      8134175328      3/16/2012        16:16:59
65488      8134202292      9/20/2011        18:00:44
65489      8134206275      9/24/2011        9:17:07
65490      8134208587      5/9/2012         7:38:40
65491      8134208587      5/15/2012        19:01:06
65492      8134264606      4/21/2012        16:14:40
65493      8134266929      7/7/2012         9:57:38
65494      8134284432      5/21/2012        8:01:15
65495      8134310486      2/20/2012        17:18:52
65496      8134361005      10/27/2011       16:33:40
65497      8134363602      10/16/2012       7:24:52
65498      8134389362      5/28/2012        8:09:39
65499      8134409623      12/22/2011       7:32:20
65500      8134422532      5/10/2012        14:55:45
65501      8134429316      12/9/2011        15:51:13
65502      8134460247      7/11/2012        9:38:01
65503      8134462245      3/11/2012        15:11:10
65504      8134462677      12/7/2011        18:03:14
65505      8134467885      4/1/2012         16:12:40
65506      8134469812      10/15/2011       9:08:27
65507      8134472357      8/30/2012        17:36:53
65508      8134472501      7/14/2011        15:50:51
65509      8134472978      9/19/2011        19:27:41
65510      8134473595      1/13/2012        7:20:34
65511      8134475402      11/23/2011       10:02:03
65512      8134476727      3/8/2012         9:25:58
65513      8134476960      10/13/2011       7:27:00
65514      8134477484      9/22/2012        9:33:45
65515      8134477885      7/26/2012        19:19:34
65516      8134478565      1/18/2012        10:01:44
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65517      8134478624      8/9/2011         12:42:06
65518      8134479407      10/18/2011       12:43:26
65519      8134510361      2/20/2012        17:07:19
65520      8134514873      1/5/2012         17:26:11
65521      8134514952      10/5/2012        18:15:16
65522      8134515862      11/11/2011       7:55:27
65523      8134515957      10/17/2011       8:24:09
65524      8134515957      12/5/2011        8:34:24
65525      8134518229      12/26/2011       9:24:51
65526      8134531064      12/16/2011       16:10:10
65527      8134533199      8/30/2012        17:48:01
65528      8134533459      1/29/2012        16:24:20
65529      8134542751      8/30/2012        17:36:30
65530      8134542751      10/17/2012       18:28:56
65531      8134545164      3/24/2012        10:12:05
65532      8134546885      5/14/2012        15:32:46
65533      8134547714      10/11/2011       15:50:13
65534      8134547813      12/20/2011       19:30:20
65535      8134555931      6/27/2012        17:56:03
65536      8134580840      5/23/2012        16:55:20
65537      8134580921      1/27/2012        7:12:00
65538      8134581899      9/11/2012        7:46:37
65539      8134582994      3/7/2012         18:28:11
65540      8134586303      9/13/2011        18:33:53
65541      8134587845      10/22/2012       17:57:09
65542      8134640643      3/15/2012        19:03:11
65543      8134644071      1/25/2012        9:06:01
65544      8134644071      1/30/2012        7:17:19
65545      8134668585      3/21/2011        11:27:39
65546      8134680253      12/12/2011       16:29:45
65547      8134687999      10/4/2011        13:44:03
65548      8134692523      12/21/2011       10:03:33
65549      8134694128      5/23/2012        16:35:33
65550      8134694813      4/11/2012        13:16:49
65551      8134694813      9/2/2012         11:52:30
65552      8134709003      4/30/2012        15:04:59
65553      8134717913      1/13/2012        17:23:55
65554      8134750315      11/8/2011        14:10:16
65555      8134768737      5/30/2012        12:51:35
65556      8134776497      6/15/2012        8:51:02
65557      8134784076      1/6/2012         14:46:22
65558      8134785384      9/5/2012         7:13:38
65559      8134798550      3/16/2012        15:49:50
65560      8134801949      2/7/2012         8:07:40
65561      8134802062      10/25/2011       16:17:03
65562      8134809911      11/12/2011       10:14:21
65563      8134812073      9/22/2011        15:18:07
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65564      8134812634      10/11/2011       16:51:28
65565      8134825998      8/14/2012        11:46:57
65566      8134842384      9/15/2011        7:22:25
65567      8134846444      10/12/2011       8:27:38
65568      8134848038      7/27/2012        15:21:49
65569      8134848110      9/16/2011        13:17:17
65570      8134860670      8/23/2012        11:34:40
65571      8134930398      7/30/2011        8:51:26
65572      8134942402      12/29/2011       11:15:50
65573      8134943301      11/21/2011       7:49:47
65574      8134945381      1/10/2012        15:27:51
65575      8134946769      9/29/2011        15:04:43
65576      8134947530      5/29/2012        17:11:34
65577      8134953279      1/27/2012        17:33:36
65578      8135001505      1/4/2012         10:57:42
65579      8135002823      5/3/2012         7:03:42
65580      8135007674      10/17/2012       18:35:28
65581      8135034992      6/7/2011         17:52:18
65582      8135038600      6/7/2012         16:35:34
65583      8135039876      9/20/2011        18:03:58
65584      8135046593      5/9/2012         7:40:42
65585      8135049294      1/24/2012        9:55:47
65586      8135049294      2/11/2012        15:03:29
65587      8135052134      12/12/2011       16:31:45
65588      8135055555      9/19/2011        19:02:15
65589      8135060225      7/28/2011        10:16:27
65590      8135061350      11/10/2011       7:05:10
65591      8135061475      4/25/2011        11:34:39
65592      8135061579      3/27/2012        14:52:56
65593      8135061579      4/10/2012        16:09:13
65594      8135063490      10/5/2011        14:29:35
65595      8135064657      9/16/2011        13:15:56
65596      8135069164      8/1/2011         19:13:28
65597      8135069308      7/9/2012         19:05:48
65598      8135069876      2/24/2011        14:32:49
65599      8135145758      10/7/2011        7:22:49
65600      8135160043      4/12/2012        17:56:45
65601      8135161113      9/27/2011        18:27:00
65602      8135163229      10/13/2011       7:23:15
65603      8135163496      8/31/2012        16:24:49
65604      8135165445      4/11/2012        7:15:47
65605      8135166436      8/16/2011        17:09:32
65606      8135166594      1/11/2012        7:44:17
65607      8135167286      11/4/2011        7:13:25
65608      8135168051      10/11/2011       16:49:22
65609      8135168185      10/29/2011       11:13:47
65610      8135168259      10/7/2011        7:26:41
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65611      8135169191      7/11/2012        9:37:26
65612      8135169758      11/30/2011       14:46:28
65613      8135232766      5/17/2012        7:05:11
65614      8135264720      8/25/2011        16:15:01
65615      8135265732      10/17/2012       9:46:50
65616      8135268053      10/10/2011       11:38:21
65617      8135275465      12/5/2011        18:11:11
65618      8135277052      3/29/2012        16:40:05
65619      8135277994      9/12/2011        13:46:50
65620      8135280352      5/19/2011        8:01:46
65621      8135281075      5/16/2012        16:59:55
65622      8135312071      10/27/2011       16:18:33
65623      8135312517      5/1/2012         14:05:09
65624      8135314782      7/27/2012        15:31:13
65625      8135315219      4/11/2012        7:10:49
65626      8135315361      5/13/2012        16:44:49
65627      8135320682      12/21/2011       10:53:14
65628      8135320852      2/22/2012        7:03:34
65629      8135329474      2/28/2012        7:58:15
65630      8135416931      12/29/2011       18:44:43
65631      8135452133      3/10/2011        17:23:42
65632      8135454520      9/8/2011         19:45:21
65633      8135455957      6/28/2012        14:15:08
65634      8135469095      11/17/2011       16:42:23
65635      8135620764      10/6/2011        17:28:34
65636      8135621464      9/9/2011         7:34:05
65637      8135622329      9/8/2011         19:46:08
65638      8135625617      9/28/2011        10:10:02
65639      8135626268      11/9/2011        7:29:37
65640      8135629612      11/15/2011       16:06:49
65641      8135978363      11/23/2011       14:31:31
65642      8135983926      3/7/2012         7:14:30
65643      8136008710      5/11/2012        18:31:20
65644      8136100754      5/11/2011        16:54:16
65645      8136100996      6/2/2012         12:53:48
65646      8136251799      11/23/2011       14:30:41
65647      8136253076      11/10/2011       7:19:29
65648      8136504810      3/5/2012         7:11:42
65649      8136506614      6/1/2011         11:53:42
65650      8136507137      4/25/2011        11:33:24
65651      8136757362      10/21/2011       13:14:39
65652      8136757362      11/16/2011       9:21:44
65653      8136790187      2/13/2012        18:27:31
65654      8136792592      1/13/2012        12:33:34
65655      8136796654      11/17/2011       16:17:49
65656      8136796720      4/4/2011         11:51:36
65657      8136797089      10/17/2011       8:20:06
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65658      8136798799      11/11/2011       13:34:23
65659      8136799011      9/14/2011        16:21:47
65660      8136900238      1/12/2012        7:01:34
65661      8136907278      9/20/2011        16:42:34
65662      8136952488      6/7/2011         17:50:39
65663      8136956669      3/23/2012        7:04:41
65664      8137035060      12/6/2011        14:23:48
65665      8137043660      9/8/2011         19:40:54
65666      8137047447      3/20/2012        9:15:01
65667      8137074746      5/17/2012        7:03:03
65668      8137130425      4/12/2012        18:31:35
65669      8137137073      6/28/2012        7:01:14
65670      8137137698      5/18/2012        15:38:04
65671      8137137698      5/21/2012        7:08:16
65672      8137145976      10/8/2011        11:02:29
65673      8137165116      7/12/2012        15:51:34
65674      8137165657      1/14/2012        13:23:54
65675      8137169819      5/25/2012        17:08:36
65676      8137274502      9/8/2011         17:42:02
65677      8137275052      9/13/2011        17:29:39
65678      8137276232      11/14/2011       16:35:58
65679      8137276232      11/30/2011       15:14:14
65680      8137280688      3/14/2012        19:24:29
65681      8137282993      10/8/2012        7:12:47
65682      8137283396      12/21/2011       9:53:33
65683      8137289177      9/3/2012         14:45:55
65684      8137312158      8/8/2012         7:10:53
65685      8137314438      5/11/2011        16:47:47
65686      8137314919      9/28/2011        10:04:39
65687      8137320214      10/25/2011       16:10:48
65688      8137322665      8/16/2012        19:52:19
65689      8137323386      3/14/2012        19:33:24
65690      8137328806      12/29/2011       19:11:25
65691      8137351689      9/22/2011        15:14:54
65692      8137355126      5/23/2011        15:37:08
65693      8137355799      12/17/2011       11:55:33
65694      8137356143      8/6/2012         14:44:11
65695      8137359022      10/19/2011       7:55:32
65696      8137359022      11/18/2011       12:39:37
65697      8137359349      3/14/2012        19:24:26
65698      8137515494      3/30/2012        7:02:45
65699      8137519738      10/20/2012       16:25:36
65700      8137539732      3/11/2012        15:09:28
65701      8137581790      11/26/2011       11:12:27
65702      8137605148      1/30/2012        7:12:18
65703      8137631951      8/15/2013        7:20:02
65704      8137631955      10/21/2011       13:08:06
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65705      8137635101      4/1/2012         16:05:25
65706      8137641100      10/19/2011       7:43:11
65707      8137644040      9/19/2011        7:08:53
65708      8137644114      4/18/2012        17:56:36
65709      8137644914      6/29/2012        9:44:26
65710      8137647029      5/5/2012         8:02:04
65711      8137653558      5/7/2012         7:07:58
65712      8137653558      5/21/2012        7:32:58
65713      8137668955      11/26/2011       12:08:36
65714      8137670573      12/15/2011       8:09:49
65715      8137673969      6/7/2012         7:10:34
65716      8137676933      3/16/2012        10:02:38
65717      8137676933      8/31/2012        16:26:21
65718      8137700744      5/7/2012         7:22:12
65719      8137702001      10/6/2011        16:16:38
65720      8137702691      2/29/2012        7:11:38
65721      8137703368      10/5/2011        14:32:28
65722      8137704408      3/25/2012        11:45:44
65723      8137704408      5/23/2012        14:42:31
65724      8137704498      3/20/2012        8:58:34
65725      8137708002      11/15/2011       15:09:22
65726      8137708002      2/13/2012        18:23:09
65727      8137708190      4/22/2012        15:03:04
65728      8137740091      11/18/2011       13:30:20
65729      8137742489      12/9/2011        13:44:31
65730      8137758836      7/3/2012         19:35:55
65731      8137778012      7/23/2011        12:24:43
65732      8137778022      7/9/2011         8:40:41
65733      8137813808      6/20/2012        17:04:21
65734      8137813866      11/7/2011        8:33:53
65735      8137816430      4/29/2012        16:47:34
65736      8137840368      8/20/2011        9:56:39
65737      8137846715      11/2/2011        7:00:55
65738      8137848740      10/8/2011        10:56:30
65739      8137852731      2/25/2012        10:52:03
65740      8137854622      12/15/2011       8:32:55
65741      8137856379      9/8/2012         11:02:30
65742      8137859732      10/11/2011       16:56:33
65743      8137859732      5/3/2012         7:16:20
65744      8137866003      12/14/2011       14:48:22
65745      8137866282      4/2/2012         7:07:56
65746      8137868404      11/21/2011       7:13:54
65747      8137869293      10/17/2011       7:46:59
65748      8137870119      10/7/2011        7:03:30
65749      8137871334      6/7/2012         18:28:07
65750      8137871479      3/14/2011        16:56:48
65751      8137876999      5/13/2012        17:03:36
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65752      8137878643      9/17/2011        9:49:52
65753      8137879805      3/7/2012         18:38:10
65754      8137896260      12/22/2011       9:32:33
65755      8137896435      1/5/2012         14:04:47
65756      8137898131      2/17/2012        18:32:28
65757      8137931134      11/23/2011       14:30:58
65758      8138023508      2/13/2012        18:23:23
65759      8138023546      9/8/2011         19:44:31
65760      8138027054      8/11/2011        11:28:40
65761      8138100209      11/17/2011       15:03:07
65762      8138100279      3/25/2011        8:15:03
65763      8138100279      12/13/2011       17:23:27
65764      8138102389      10/25/2011       16:14:09
65765      8138105722      10/10/2012       19:15:55
65766      8138106087      12/26/2011       8:56:57
65767      8138107397      9/19/2011        7:14:39
65768      8138171275      1/11/2012        7:35:15
65769      8138171930      4/1/2011         10:45:25
65770      8138172172      5/17/2012        16:40:00
65771      8138177013      11/26/2011       13:04:16
65772      8138381111      9/21/2011        11:42:31
65773      8138386298      9/15/2011        7:42:14
65774      8138412877      11/28/2011       11:42:22
65775      8138412877      6/9/2012         14:39:38
65776      8138419380      7/23/2012        13:19:56
65777      8138419840      4/16/2012        15:56:13
65778      8138420770      7/20/2012        14:54:40
65779      8138427054      3/30/2011        10:19:16
65780      8138429489      4/5/2012         14:34:29
65781      8138439029      3/28/2011        15:10:47
65782      8138467789      1/6/2012         9:37:54
65783      8138501080      1/14/2012        8:02:55
65784      8138501374      5/31/2012        7:04:00
65785      8138501742      10/22/2011       12:39:33
65786      8138501801      10/12/2011       11:31:27
65787      8138502590      12/23/2011       13:42:28
65788      8138502590      2/17/2012        18:17:02
65789      8138503005      12/16/2011       16:01:41
65790      8138503015      12/9/2011        7:53:30
65791      8138505502      2/11/2012        15:23:14
65792      8138505591      4/10/2012        12:04:29
65793      8138505591      5/10/2012        16:08:16
65794      8138506246      10/1/2011        10:12:22
65795      8138574989      5/23/2012        15:13:23
65796      8138578018      6/30/2012        15:54:54
65797      8138633528      9/26/2012        7:13:08
65798      8138633575      4/3/2012         15:53:54
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65799      8138636539      12/21/2011       9:55:21
65800      8138924019      9/12/2012        7:49:02
65801      8138924019      9/21/2012        18:40:47
65802      8138929820      11/23/2011       10:26:54
65803      8139000524      3/13/2012        18:35:43
65804      8139002017      9/23/2011        11:35:07
65805      8139002658      10/27/2011       15:06:05
65806      8139004210      6/7/2012         7:04:30
65807      8139004465      11/14/2011       14:06:39
65808      8139005240      1/9/2012         18:07:49
65809      8139008138      12/22/2011       9:24:45
65810      8139009536      2/17/2012        9:09:19
65811      8139009536      5/8/2012         9:13:06
65812      8139009804      4/21/2012        8:04:17
65813      8139095808      7/22/2011        13:33:05
65814      8139432509      9/17/2011        9:57:19
65815      8139432543      7/2/2012         17:19:03
65816      8139512743      4/27/2012        7:14:46
65817      8139513251      1/17/2012        18:30:14
65818      8139514120      3/16/2012        10:42:28
65819      8139516865      10/6/2011        16:12:38
65820      8139520083      9/3/2012         14:45:09
65821      8139570645      9/20/2012        7:11:35
65822      8139651966      12/6/2011        14:23:36
65823      8139654612      10/13/2012       8:54:11
65824      8139655020      12/10/2011       14:21:08
65825      8139655184      5/21/2012        7:44:18
65826      8139655184      5/21/2012        17:29:27
65827      8139655563      9/26/2011        8:18:33
65828      8139657785      12/19/2011       8:11:23
65829      8139658068      9/20/2011        16:44:41
65830      8139661885      1/3/2012         10:56:57
65831      8139662150      11/14/2011       14:11:09
65832      8139662150      11/28/2011       11:11:11
65833      8139662150      12/20/2011       19:23:32
65834      8139662381      10/13/2011       7:30:36
65835      8139670770      9/20/2011        20:30:46
65836      8139676342      9/12/2011        13:46:43
65837      8139679632      9/19/2011        19:28:24
65838      8139909249      9/23/2011        18:59:28
65839      8139925555      9/28/2012        7:35:47
65840      8139955749      2/8/2012         7:35:04
65841      8139975587      1/28/2012        9:39:04
65842      8139975654      10/13/2011       7:15:15
65843      8139975654      12/19/2011       7:35:46
65844      8142152382      3/2/2012         9:30:33
65845      8142153081      7/11/2012        17:18:50
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65846      8142153125      6/20/2012        16:56:32
65847      8142153603      8/25/2012        8:25:00
65848      8142155183      12/7/2011        13:11:42
65849      8142159224      6/18/2012        15:23:59
65850      8142184464      10/3/2012        19:46:54
65851      8142185680      2/8/2012         7:27:59
65852      8142187630      11/17/2011       16:48:02
65853      8142187760      11/30/2011       15:14:21
65854      8142187817      10/19/2012       9:54:45
65855      8142188652      10/16/2012       16:40:48
65856      8142189347      12/30/2011       16:53:12
65857      8142222222      5/16/2012        16:59:04
65858      8142279670      12/1/2011        15:21:46
65859      8142323055      5/21/2012        17:30:38
65860      8142336081      6/7/2011         17:51:48
65861      8142412136      1/18/2012        16:36:48
65862      8142415154      5/19/2012        16:05:00
65863      8142426039      4/21/2012        8:11:02
65864      8142441293      10/11/2011       15:55:49
65865      8142445584      12/1/2011        15:18:37
65866      8142469732      10/3/2011        7:25:02
65867      8142481819      9/9/2011         7:49:27
65868      8142482124      10/4/2011        13:31:13
65869      8142485112      11/1/2011        8:37:39
65870      8142488461      1/14/2012        13:24:21
65871      8142493725      3/15/2012        19:06:04
65872      8142542775      9/24/2012        12:58:17
65873      8142547920      8/27/2011        11:34:35
65874      8142625863      5/25/2012        17:05:00
65875      8142703270      11/17/2011       15:19:13
65876      8142825366      4/11/2012        19:30:32
65877      8142829451      11/14/2011       14:13:00
65878      8142829707      9/14/2011        16:09:56
65879      8142887124      9/12/2011        12:59:31
65880      8142887124      9/29/2011        15:09:40
65881      8142895990      2/17/2012        18:22:03
65882      8143128261      7/24/2012        9:05:50
65883      8143161194      1/10/2012        18:09:49
65884      8143196090      6/30/2012        8:17:16
65885      8143231402      7/19/2012        17:38:01
65886      8143235586      8/12/2011        9:49:46
65887      8143237233      9/19/2011        7:30:03
65888      8143271202      2/8/2012         7:40:05
65889      8143274860      8/2/2012         18:49:31
65890      8143307359      5/18/2012        7:02:29
65891      8143307896      6/27/2011        7:36:46
65892      8143310121      12/3/2011        8:56:05
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65893      8143310852      2/14/2012        9:45:56
65894      8143312613      7/23/2011        11:31:18
65895      8143316396      10/10/2011       12:33:56
65896      8143319161      11/23/2011       14:50:45
65897      8143319655      5/27/2012        13:47:36
65898      8143319845      7/23/2011        11:43:33
65899      8143352586      10/3/2011        7:24:48
65900      8143404700      3/12/2012        19:02:56
65901      8143404700      3/15/2012        19:01:35
65902      8143407106      3/2/2012         7:10:12
65903      8143409868      5/5/2012         8:03:39
65904      8143410440      10/4/2011        13:13:45
65905      8143411829      5/5/2012         8:05:40
65906      8143412430      7/16/2012        7:06:42
65907      8143604301      2/2/2012         18:57:30
65908      8143813412      6/27/2012        12:01:13
65909      8143840065      10/26/2011       11:49:08
65910      8143843568      10/20/2012       8:06:07
65911      8143843568      10/25/2012       19:42:31
65912      8143843616      8/11/2012        9:28:38
65913      8143843644      1/8/2012         12:53:00
65914      8143843940      4/7/2012         9:10:35
65915      8143864311      10/8/2011        11:07:09
65916      8143867482      8/28/2012        7:29:16
65917      8143868238      5/19/2012        9:26:57
65918      8143880112      3/19/2012        17:38:08
65919      8143898319      1/26/2012        7:27:57
65920      8143898319      2/1/2012         8:29:17
65921      8143898365      4/20/2012        14:23:47
65922      8143898458      12/3/2011        9:53:56
65923      8143899474      2/20/2012        17:02:15
65924      8143924362      9/8/2011         18:42:49
65925      8143926571      9/13/2011        15:03:04
65926      8143928617      11/11/2011       7:48:37
65927      8143972499      2/22/2012        8:56:44
65928      8143979599      3/15/2012        18:55:22
65929      8144030924      9/8/2011         18:34:05
65930      8144032986      2/28/2012        15:51:28
65931      8144036696      10/11/2012       18:45:48
65932      8144038637      1/12/2012        7:08:58
65933      8144141836      8/23/2012        11:37:41
65934      8144148110      12/5/2011        9:09:49
65935      8144182052      4/5/2012         14:20:04
65936      8144184596      12/7/2011        13:28:50
65937      8144189466      9/25/2012        14:52:30
65938      8144210295      3/13/2012        11:05:15
65939      8144211831      10/7/2011        7:12:20
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65940      8144217194      2/20/2012        17:08:02
65941      8144219525      11/12/2011       10:19:42
65942      8144313754      10/20/2012       8:12:31
65943      8144345568      12/28/2011       13:05:24
65944      8144402324      9/26/2012        15:22:19
65945      8144412318      11/15/2011       16:15:25
65946      8144499881      2/11/2012        15:05:05
65947      8144502424      10/5/2011        14:28:51
65948      8144505212      7/18/2012        18:24:29
65949      8144605710      11/12/2011       10:25:06
65950      8144605710      12/9/2011        7:33:27
65951      8144620104      5/25/2012        16:59:03
65952      8144643577      6/9/2012         15:00:01
65953      8144769017      10/4/2011        13:07:14
65954      8144769017      10/18/2011       12:47:19
65955      8144769035      10/5/2011        14:25:41
65956      8144834425      12/6/2011        14:05:51
65957      8144837069      11/18/2011       13:28:34
65958      8144875182      9/21/2011        19:33:55
65959      8144900373      1/21/2012        8:05:13
65960      8144909238      2/4/2012         8:17:28
65961      8144940627      10/23/2012       10:36:49
65962      8144943934      3/21/2011        10:45:39
65963      8145025368      6/19/2012        15:42:20
65964      8145046760      4/5/2012         7:09:42
65965      8145052022      11/26/2011       11:26:51
65966      8145054228      10/5/2011        14:02:13
65967      8145065774      5/13/2011        11:16:53
65968      8145065793      9/5/2012         7:15:47
65969      8145123743      8/17/2011        18:32:47
65970      8145150111      3/26/2012        18:34:49
65971      8145150673      1/11/2012        7:38:20
65972      8145153931      11/3/2011        17:45:26
65973      8145153931      7/16/2012        19:45:46
65974      8145162913      6/5/2012         14:00:33
65975      8145166014      6/30/2012        15:59:51
65976      8145204234      7/20/2012        7:38:16
65977      8145204610      5/10/2012        14:47:41
65978      8145209990      1/18/2012        10:22:28
65979      8145213798      4/14/2012        9:33:46
65980      8145254430      3/27/2012        15:34:57
65981      8145283958      7/7/2012         10:14:02
65982      8145288920      5/6/2012         17:57:09
65983      8145479638      11/25/2011       17:31:24
65984      8145534020      1/20/2012        14:30:54
65985      8145537369      10/3/2012        19:47:06
65986      8145582912      9/12/2011        13:50:11
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65987      8145583824      11/16/2011       7:52:32
65988      8145586591      12/9/2011        14:12:06
65989      8145661560      9/19/2011        7:23:38
65990      8145662951      8/3/2012         7:51:34
65991      8145664244      11/23/2011       14:52:13
65992      8145666328      7/20/2012        7:33:59
65993      8145667166      3/22/2012        14:21:20
65994      8145713733      11/29/2011       15:21:31
65995      8145717863      11/3/2011        17:01:11
65996      8145723510      10/7/2011        7:18:03
65997      8145727103      7/23/2012        15:18:26
65998      8145744553      11/28/2011       11:47:36
65999      8145745909      12/10/2011       12:43:08
66000      8145773978      10/24/2011       7:01:33
66001      8145778953      5/17/2011        9:15:52
66002      8145903509      8/8/2012         16:10:34
66003      8145916306      2/11/2012        10:40:03
66004      8145918382      7/9/2012         12:08:10
66005      8145921811      8/7/2012         17:48:07
66006      8145922889      12/21/2011       9:53:51
66007      8145924912      11/17/2011       16:17:44
66008      8145967546      10/18/2011       11:56:59
66009      8145990504      9/8/2011         18:32:00
66010      8145993819      5/25/2011        17:06:43
66011      8145995665      9/8/2011         18:39:57
66012      8145998579      1/14/2012        8:03:06
66013      8146020975      12/14/2011       17:58:37
66014      8146022035      5/30/2012        16:56:00
66015      8146023988      11/14/2011       16:01:27
66016      8146031359      1/23/2012        18:56:21
66017      8146096083      3/15/2012        19:28:09
66018      8146170974      5/13/2012        16:57:02
66019      8146191965      2/14/2012        13:38:20
66020      8146331082      11/14/2011       16:00:18
66021      8146362460      7/21/2012        10:20:59
66022      8146598806      7/5/2012         15:26:57
66023      8146599103      9/15/2011        7:21:58
66024      8146613261      9/21/2012        18:47:43
66025      8146615626      8/2/2012         18:49:53
66026      8146711171      3/12/2012        7:06:04
66027      8146712838      8/14/2012        11:47:22
66028      8146715551      1/4/2012         15:01:58
66029      8146885854      4/5/2012         14:23:30
66030      8146912618      7/2/2012         15:33:39
66031      8146915477      3/22/2012        7:51:06
66032      8147011387      2/21/2012        10:54:31
66033      8147062322      3/23/2012        19:13:09
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66034      8147065572      5/11/2012        18:33:23
66035      8147300195      5/20/2012        15:22:57
66036      8147300195      5/21/2012        17:25:17
66037      8147303325      6/19/2012        15:23:42
66038      8147305123      1/4/2012         10:58:50
66039      8147305123      1/17/2012        18:39:17
66040      8147308995      1/12/2012        14:26:41
66041      8147460032      11/18/2011       13:22:31
66042      8147461335      1/28/2012        9:42:38
66043      8147466838      3/13/2012        18:34:57
66044      8147467879      11/12/2011       10:11:05
66045      8147468636      1/19/2012        7:11:44
66046      8147469634      12/29/2011       9:59:54
66047      8147580743      10/8/2011        9:39:00
66048      8147585607      7/21/2011        14:01:18
66049      8147611312      11/5/2011        9:43:04
66050      8147615030      10/21/2011       13:04:33
66051      8147619734      3/7/2012         9:54:24
66052      8147620318      1/6/2012         14:56:22
66053      8147621638      10/10/2011       11:37:50
66054      8147621734      11/9/2011        7:32:00
66055      8147623193      10/13/2011       7:09:47
66056      8147627631      3/26/2012        18:20:26
66057      8147627638      5/18/2012        15:52:02
66058      8147629244      4/4/2012         18:40:23
66059      8147693804      7/7/2012         10:02:46
66060      8147710629      9/23/2011        7:09:56
66061      8147718816      12/3/2011        8:53:54
66062      8147719632      7/23/2011        12:10:24
66063      8147798967      9/16/2011        12:56:47
66064      8147900976      5/26/2012        14:28:49
66065      8147902533      11/14/2011       16:00:37
66066      8147903788      12/23/2011       15:26:12
66067      8147908605      10/28/2011       7:07:05
66068      8147909872      11/19/2011       9:15:45
66069      8148060710      12/10/2011       14:20:48
66070      8148064690      7/3/2012         15:57:46
66071      8148534405      12/5/2011        9:54:06
66072      8148538119      3/13/2012        18:27:58
66073      8148735217      6/30/2012        8:13:20
66074      8148815545      12/26/2011       9:19:53
66075      8148819559      10/31/2011       7:12:21
66076      8148822292      1/4/2012         11:14:22
66077      8148827143      10/18/2012       16:48:12
66078      8148827791      11/17/2011       16:14:43
66079      8148895091      2/1/2012         18:34:59
66080      8148973248      11/16/2011       7:55:02
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66081      8149233491      3/30/2012        16:06:29
66082      8149237784      5/20/2012        15:13:45
66083      8149237784      5/21/2012        7:47:16
66084      8149316852      5/10/2012        14:45:22
66085      8149323621      3/12/2012        7:22:38
66086      8149329385      4/10/2012        16:00:46
66087      8149339049      5/14/2011        11:38:49
66088      8149342933      5/16/2012        16:47:21
66089      8149345735      2/20/2012        7:24:14
66090      8149353612      9/16/2011        12:53:13
66091      8149373679      2/1/2012         18:32:53
66092      8149484866      8/5/2013         10:19:45
66093      8149520244      9/28/2011        10:17:28
66094      8149522627      11/14/2011       14:15:53
66095      8149524409      10/23/2012       16:07:50
66096      8149527067      9/12/2011        13:48:31
66097      8149527404      3/28/2012        7:17:03
66098      8149529192      3/23/2012        7:12:52
66099      8149648970      10/8/2011        10:49:42
66100      8149695997      12/23/2011       7:03:36
66101      8149774303      12/10/2011       12:13:15
66102      8152079223      10/11/2012       18:42:36
66103      8152101808      10/24/2012       15:16:13
66104      8152122868      9/20/2012        20:58:38
66105      8152125194      10/28/2011       14:24:24
66106      8152130101      10/19/2011       11:59:28
66107      8152130556      6/11/2011        9:22:42
66108      8152132100      8/13/2012        20:52:20
66109      8152171421      10/14/2011       12:54:09
66110      8152174435      10/8/2011        11:43:30
66111      8152181915      9/28/2012        9:04:37
66112      8152186989      1/19/2012        18:39:45
66113      8152187345      11/29/2011       16:19:50
66114      8152190519      9/8/2012         11:10:33
66115      8152191696      9/27/2012        16:36:49
66116      8152229074      9/27/2011        18:12:11
66117      8152360126      2/1/2012         18:39:59
66118      8152360553      8/30/2011        12:53:25
66119      8152367903      7/3/2012         12:25:50
66120      8152381002      1/12/2012        14:05:22
66121      8152430028      3/23/2012        14:43:33
66122      8152452188      9/25/2012        15:17:48
66123      8152455901      9/12/2012        15:00:54
66124      8152520471      10/3/2012        19:57:13
66125      8152522656      10/26/2011       13:01:54
66126      8152525070      9/21/2011        11:52:28
66127      8152525070      10/4/2011        13:17:26
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66128      8152571721      1/5/2012         14:03:15
66129      8152572633      10/10/2011       12:40:33
66130      8152577082      6/16/2012        8:40:06
66131      8152582630      9/20/2011        18:44:19
66132      8152582630      9/24/2011        9:27:16
66133      8152583293      12/22/2011       9:11:29
66134      8152583293      5/26/2012        8:54:32
66135      8152589540      5/9/2012         16:05:58
66136      8152606021      10/10/2011       12:50:26
66137      8152608642      9/13/2011        13:27:45
66138      8152623377      6/20/2012        16:53:14
66139      8152626658      9/24/2011        9:19:03
66140      8152727482      11/30/2011       15:41:20
66141      8152745234      9/19/2011        19:32:56
66142      8152747901      8/30/2011        12:52:50
66143      8152748205      5/17/2012        16:57:36
66144      8152769741      9/21/2012        18:45:41
66145      8152776764      5/13/2012        17:32:45
66146      8152777840      11/15/2011       20:18:57
66147      8152808337      5/23/2012        15:20:31
66148      8152808716      12/23/2011       20:44:38
66149      8152809344      9/20/2011        18:12:33
66150      8152893443      9/21/2011        11:52:50
66151      8152893639      10/31/2011       9:12:17
66152      8152896564      1/2/2012         12:01:06
66153      8152950349      9/21/2012        18:55:27
66154      8152951763      11/4/2011        15:31:37
66155      8152952190      3/2/2012         18:55:06
66156      8152957940      9/10/2013        19:35:35
66157      8152992144      3/2/2012         9:09:43
66158      8152992691      11/19/2011       8:21:43
66159      8152994334      12/15/2011       8:42:03
66160      8152994885      5/18/2012        16:04:30
66161      8153025089      9/5/2012         15:25:35
66162      8153025117      10/17/2011       8:44:30
66163      8153028494      7/5/2012         15:32:01
66164      8153037174      9/22/2012        9:17:11
66165      8153190157      12/21/2011       9:55:35
66166      8153190157      12/26/2011       20:20:15
66167      8153192281      5/4/2012         18:22:43
66168      8153193004      10/17/2011       8:03:01
66169      8153213203      4/1/2012         17:21:47
66170      8153252039      2/11/2012        11:16:30
66171      8153253476      8/30/2012        17:37:59
66172      8153256233      10/3/2012        20:07:23
66173      8153265105      1/19/2012        18:39:28
66174      8153269993      2/14/2012        16:50:19
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66175      8153412213      10/22/2011       13:15:19
66176      8153417336      2/17/2012        18:08:57
66177      8153418566      2/10/2012        20:38:09
66178      8153424070      11/11/2011       20:08:21
66179      8153425077      9/23/2011        19:09:37
66180      8153426212      11/22/2011       19:40:03
66181      8153434773      7/27/2011        17:53:45
66182      8153510945      9/1/2012         9:05:17
66183      8153514923      1/17/2012        18:32:54
66184      8153516168      10/17/2012       20:51:58
66185      8153539081      1/18/2012        9:51:37
66186      8153542984      2/9/2012         9:35:01
66187      8153544153      11/11/2011       20:03:14
66188      8153751069      9/24/2011        9:48:55
66189      8153821220      7/20/2012        14:58:18
66190      8153829215      11/11/2011       19:59:09
66191      8153831424      9/2/2011         11:19:07
66192      8153883595      10/6/2011        16:47:28
66193      8153886923      12/16/2011       15:44:08
66194      8153886923      12/26/2011       20:01:59
66195      8153913685      3/5/2012         10:55:35
66196      8154013030      11/4/2011        8:39:56
66197      8154016410      10/20/2011       16:30:11
66198      8154016410      11/23/2011       15:03:28
66199      8154044183      11/5/2011        11:19:44
66200      8154051947      3/13/2012        12:48:25
66201      8154054942      5/7/2012         8:16:16
66202      8154057552      3/19/2012        19:21:46
66203      8154092075      5/20/2011        18:10:43
66204      8154125215      9/26/2011        9:29:01
66205      8154141743      5/24/2012        11:54:15
66206      8154195111      8/5/2011         18:46:23
66207      8154401160      10/28/2011       13:31:15
66208      8154407371      10/17/2012       18:31:33
66209      8154411390      10/13/2011       8:36:51
66210      8154417087      11/23/2011       14:56:33
66211      8154649073      12/19/2011       11:21:31
66212      8154717271      5/21/2012        8:27:31
66213      8154743645      12/29/2011       11:08:47
66214      8154743953      2/3/2012         20:14:15
66215      8154745583      10/5/2011        14:17:32
66216      8154810113      3/29/2011        16:19:39
66217      8154821268      10/21/2011       12:47:27
66218      8154824297      2/16/2012        7:17:09
66219      8154830384      10/13/2011       8:43:07
66220      8154940089      9/21/2011        19:35:47
66221      8154942543      4/5/2012         14:00:30
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66222      8154990513      12/5/2011        9:27:54
66223      8154993141      9/26/2011        9:32:51
66224      8155012539      6/2/2012         13:07:04
66225      8155012888      12/22/2011       10:19:56
66226      8155014938      5/23/2012        15:01:40
66227      8155031522      6/19/2012        15:36:50
66228      8155050167      10/25/2011       16:27:29
66229      8155050167      1/11/2012        16:23:10
66230      8155052369      5/15/2012        19:10:28
66231      8155052887      5/31/2012        17:47:33
66232      8155054203      9/28/2011        11:15:12
66233      8155054203      10/20/2011       16:25:15
66234      8155057564      9/16/2011        13:00:56
66235      8155081466      7/9/2012         12:07:29
66236      8155087726      4/17/2012        9:37:14
66237      8155092441      1/20/2012        20:28:49
66238      8155099320      9/21/2011        19:35:43
66239      8155143407      4/2/2012         9:05:09
66240      8155147986      10/10/2011       11:53:46
66241      8155172502      11/11/2011       20:03:22
66242      8155173440      10/11/2011       16:23:11
66243      8155190035      11/18/2011       13:24:42
66244      8155190050      9/28/2012        9:04:34
66245      8155190088      9/27/2012        8:38:27
66246      8155191041      9/3/2012         14:35:08
66247      8155193841      8/13/2012        20:58:04
66248      8155194539      10/10/2012       12:44:11
66249      8155195634      9/9/2011         18:22:33
66250      8155197922      5/14/2012        15:21:21
66251      8155206772      1/26/2012        10:10:43
66252      8155207726      8/26/2011        18:25:58
66253      8155209817      2/13/2012        18:48:37
66254      8155280185      8/18/2012        8:59:52
66255      8155280777      8/13/2011        12:00:42
66256      8155298975      9/19/2012        8:01:45
66257      8155304611      12/17/2011       12:12:04
66258      8155307235      10/12/2011       8:01:18
66259      8155317206      4/6/2012         15:55:09
66260      8155400077      11/9/2011        8:02:57
66261      8155404090      3/15/2012        18:58:37
66262      8155404964      11/15/2011       16:28:23
66263      8155405516      10/31/2011       9:16:35
66264      8155409578      9/12/2011        13:24:04
66265      8155413305      2/14/2012        9:45:39
66266      8155413305      5/21/2012        8:02:23
66267      8155413305      6/11/2012        17:33:20
66268      8155415953      11/2/2011        14:13:23
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66269      8155416088      3/11/2011        16:48:49
66270      8155417617      12/10/2011       14:49:54
66271      8155419236      6/8/2012         8:07:08
66272      8155419266      5/25/2012        17:09:26
66273      8155433131      2/7/2012         20:23:35
66274      8155433131      2/13/2012        18:43:46
66275      8155437740      3/2/2012         9:13:30
66276      8155446194      3/16/2012        10:17:45
66277      8155449585      3/16/2012        10:05:39
66278      8155461573      2/21/2012        20:53:39
66279      8155463250      6/27/2012        12:16:03
66280      8155463668      10/29/2011       11:40:25
66281      8155464227      9/29/2011        15:20:41
66282      8155464763      9/17/2011        10:25:01
66283      8155469725      1/20/2012        19:28:16
66284      8155492849      3/29/2012        11:33:43
66285      8155493262      2/29/2012        17:52:10
66286      8155494106      10/6/2011        16:50:51
66287      8155496000      11/15/2011       16:52:31
66288      8155577987      3/19/2011        10:39:31
66289      8155579018      2/10/2012        9:31:04
66290      8155602605      2/10/2012        16:22:08
66291      8155666450      3/20/2012        17:50:20
66292      8155734014      9/23/2011        19:03:17
66293      8155736449      12/28/2011       20:43:54
66294      8155737900      8/14/2012        20:59:47
66295      8155792794      5/20/2012        15:48:39
66296      8155820192      1/9/2012         7:21:04
66297      8155847829      11/22/2011       19:41:44
66298      8155875132      12/26/2011       20:20:05
66299      8155922495      11/1/2011        8:37:46
66300      8155928101      9/21/2012        15:29:24
66301      8156000264      9/27/2011        18:14:57
66302      8156002649      9/6/2012         12:23:54
66303      8156012739      9/8/2011         18:58:02
66304      8156014074      11/28/2011       11:24:29
66305      8156014634      9/2/2011         13:07:33
66306      8156018339      3/30/2012        10:23:17
66307      8156031575      1/4/2012         11:22:44
66308      8156033291      12/3/2011        9:31:59
66309      8156033291      5/11/2012        12:31:20
66310      8156033717      3/17/2012        9:00:52
66311      8156083313      1/3/2012         19:44:39
66312      8156083844      11/23/2011       9:39:49
66313      8156084715      11/7/2011        9:31:29
66314      8156085278      12/19/2011       8:19:16
66315      8156086802      3/21/2012        8:06:30
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66316      8156087156      9/27/2011        18:11:57
66317      8156211628      11/28/2011       16:56:47
66318      8156247180      10/18/2013       16:09:31
66319      8156247180      10/19/2013       8:51:07
66320      8156301421      12/5/2011        18:13:16
66321      8156301868      12/14/2011       13:13:21
66322      8156306635      11/12/2011       9:33:24
66323      8156328555      11/18/2011       13:32:17
66324      8156412219      12/20/2011       17:13:26
66325      8156515222      11/14/2011       17:24:59
66326      8156546146      1/11/2012        8:50:47
66327      8156611125      5/11/2012        10:38:32
66328      8156611219      3/22/2012        17:57:28
66329      8156611219      3/23/2012        19:56:46
66330      8156648251      6/16/2012        15:06:13
66331      8156668175      10/21/2011       13:32:04
66332      8156668673      1/4/2012         11:04:11
66333      8156683455      3/9/2012         15:47:34
66334      8156689342      2/11/2012        15:08:58
66335      8156704194      12/6/2011        13:27:23
66336      8156704992      5/14/2012        15:36:30
66337      8156709324      9/17/2012        8:36:04
66338      8156718500      8/23/2011        18:11:37
66339      8156738658      10/29/2011       10:43:25
66340      8156740392      1/23/2012        19:15:47
66341      8156748152      10/22/2011       12:37:28
66342      8156771128      2/21/2012        11:20:25
66343      8156772426      10/12/2012       16:56:20
66344      8156856426      7/6/2012         16:54:10
66345      8156859221      9/20/2012        20:59:05
66346      8156901737      6/8/2011         18:51:05
66347      8156934161      5/22/2012        11:53:50
66348      8157012358      10/20/2012       16:21:43
66349      8157128481      5/8/2012         12:32:24
66350      8157128481      9/27/2012        7:39:31
66351      8157135754      10/1/2011        10:50:03
66352      8157138626      1/5/2012         14:07:11
66353      8157144067      10/6/2011        16:47:32
66354      8157144067      3/26/2012        18:53:50
66355      8157159028      2/17/2012        18:13:27
66356      8157184176      1/7/2012         8:30:42
66357      8157185163      10/20/2011       16:35:16
66358      8157185163      11/22/2011       18:55:30
66359      8157185163      11/29/2011       16:20:58
66360      8157189926      2/28/2012        16:18:41
66361      8157210188      6/5/2012         19:54:07
66362      8157210188      6/11/2012        8:21:53
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66363      8157210623      9/15/2011        8:44:56
66364      8157217715      1/14/2012        8:25:13
66365      8157327446      1/9/2012         18:14:58
66366      8157354298      10/3/2012        10:32:39
66367      8157355854      2/29/2012        17:33:52
66368      8157427087      1/16/2012        17:31:32
66369      8157511764      5/13/2011        11:36:26
66370      8157519911      8/1/2011         19:42:59
66371      8157572617      10/17/2012       18:31:53
66372      8157615441      4/5/2012         16:18:23
66373      8157627675      10/15/2011       9:31:20
66374      8157652209      5/12/2012        10:38:48
66375      8157660668      3/25/2012        12:07:47
66376      8157685904      10/8/2011        11:26:24
66377      8157687521      10/13/2011       8:34:13
66378      8157807147      1/11/2012        8:46:22
66379      8157807503      11/2/2011        14:20:45
66380      8157864910      9/23/2011        11:13:08
66381      8157901422      1/8/2012         13:11:21
66382      8157901422      5/21/2012        8:15:33
66383      8157909155      2/15/2012        11:18:53
66384      8157909678      11/4/2011        9:11:13
66385      8157912646      3/14/2011        17:17:45
66386      8157934744      1/18/2012        9:53:46
66387      8157937070      9/29/2011        15:48:37
66388      8157950148      4/5/2012         13:49:23
66389      8158145998      12/12/2011       16:38:18
66390      8158221692      12/1/2011        8:05:39
66391      8158222262      11/12/2011       10:32:54
66392      8158223610      11/10/2011       8:09:12
66393      8158224867      4/23/2011        10:21:09
66394      8158235523      10/10/2012       12:43:47
66395      8158300210      12/5/2011        8:38:17
66396      8158301605      4/10/2012        16:03:13
66397      8158304225      11/12/2011       10:42:01
66398      8158304314      6/20/2011        14:16:19
66399      8158305365      5/11/2011        16:58:40
66400      8158307052      8/3/2011         11:41:42
66401      8158470452      10/25/2011       16:28:04
66402      8158479204      2/6/2012         17:21:53
66403      8158479275      10/8/2012        20:00:56
66404      8158714358      10/15/2011       10:50:11
66405      8158717845      5/17/2012        16:56:47
66406      8158782537      4/30/2012        15:06:30
66407      8158782537      8/9/2012         14:16:44
66408      8158789853      9/20/2011        18:23:27
66409      8158830631      1/11/2012        8:46:24
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66410      8158834557      12/23/2011       14:38:36
66411      8158834898      10/5/2012        18:26:09
66412      8158894148      2/7/2012         17:12:06
66413      8159010243      8/18/2012        9:04:27
66414      8159017269      11/1/2011        8:12:41
66415      8159017269      11/17/2011       16:30:34
66416      8159042929      8/31/2012        16:37:18
66417      8159049745      3/1/2012         8:41:14
66418      8159103586      8/1/2012         8:35:38
66419      8159122359      4/11/2012        11:33:50
66420      8159141039      10/10/2011       11:55:48
66421      8159146193      1/24/2012        10:33:30
66422      8159147971      11/28/2011       12:17:14
66423      8159193999      3/14/2012        14:19:41
66424      8159196774      6/6/2012         8:19:59
66425      8159220102      11/14/2011       17:19:09
66426      8159224171      2/10/2012        20:35:41
66427      8159224194      4/18/2011        19:38:05
66428      8159310511      4/14/2012        9:24:59
66429      8159318873      5/17/2012        16:55:26
66430      8159445440      9/20/2012        8:49:24
66431      8159543515      4/29/2012        18:24:17
66432      8159550600      9/20/2011        16:45:22
66433      8159639514      1/3/2012         11:18:30
66434      8159706159      3/29/2012        16:32:15
66435      8159730302      9/29/2011        15:47:13
66436      8159734077      10/17/2011       8:03:41
66437      8159734077      11/11/2011       20:21:22
66438      8159739296      11/17/2011       14:28:19
66439      8159739296      3/16/2012        16:01:56
66440      8159739637      10/7/2011        8:15:33
66441      8159752808      10/26/2011       13:06:54
66442      8159771000      2/19/2012        19:35:52
66443      8159771677      12/5/2011        9:35:33
66444      8159771877      4/2/2012         14:44:12
66445      8159781275      9/14/2012        8:06:23
66446      8159789393      10/20/2011       16:29:16
66447      8159790167      12/3/2011        10:20:34
66448      8159794433      10/19/2011       7:53:48
66449      8159799996      2/17/2012        9:00:19
66450      8159883482      10/11/2011       16:28:39
66451      8159923717      3/30/2012        9:55:06
66452      8159930595      11/25/2011       17:46:32
66453      8159932690      8/29/2012        11:11:40
66454      8159942042      12/7/2011        13:13:06
66455      8159942226      9/20/2011        18:15:29
66456      8159942366      10/12/2011       8:34:08
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66457      8159972573      11/23/2011       10:02:41
66458      8159972573      2/21/2012        20:54:25
66459      8162004839      1/4/2012         11:05:52
66460      8162040315      11/22/2011       19:40:56
66461      8162047113      11/3/2011        17:16:21
66462      8162066758      10/26/2011       12:09:48
66463      8162067088      10/15/2011       10:41:36
66464      8162131079      2/8/2012         12:53:56
66465      8162131853      8/30/2012        17:33:48
66466      8162134134      5/25/2012        8:09:11
66467      8162136959      10/5/2011        14:39:57
66468      8162137643      6/29/2011        16:43:05
66469      8162170388      2/10/2012        20:36:26
66470      8162176932      11/28/2011       11:48:34
66471      8162233231      2/17/2012        9:16:51
66472      8162233231      2/28/2012        15:53:25
66473      8162442106      10/21/2011       13:21:36
66474      8162445265      3/30/2012        9:44:09
66475      8162445265      8/1/2012         8:36:45
66476      8162448597      7/16/2012        19:32:29
66477      8162480649      3/14/2012        14:06:36
66478      8162550034      10/12/2011       8:33:59
66479      8162554133      11/28/2011       17:02:47
66480      8162554568      3/12/2012        19:11:27
66481      8162555502      9/24/2011        9:19:00
66482      8162566452      3/18/2011        9:04:32
66483      8162580725      9/12/2011        14:23:15
66484      8162582727      11/26/2011       13:08:36
66485      8162600662      1/3/2012         19:43:57
66486      8162600886      3/14/2012        19:32:05
66487      8162605054      11/21/2011       8:22:36
66488      8162612492      6/15/2012        16:51:18
66489      8162614157      6/27/2012        17:53:45
66490      8162621789      4/2/2012         8:59:21
66491      8162627563      12/20/2011       17:25:14
66492      8162630196      2/14/2012        15:28:27
66493      8162632122      5/15/2012        19:01:37
66494      8162732878      9/1/2012         9:22:40
66495      8162734786      12/29/2011       19:46:09
66496      8162771299      10/22/2012       8:01:53
66497      8162774530      3/16/2012        10:06:30
66498      8162777076      9/21/2011        19:30:41
66499      8162779484      4/20/2012        14:08:26
66500      8162782144      9/26/2012        15:24:56
66501      8162840052      12/16/2011       15:43:12
66502      8162841651      3/14/2012        19:34:03
66503      8162846492      12/23/2011       20:45:52
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66504      8162860052      4/21/2012        8:35:57
66505      8162860866      5/15/2012        8:39:38
66506      8162866303      9/25/2012        15:14:59
66507      8162868841      10/15/2011       9:41:30
66508      8162882821      3/18/2012        12:26:57
66509      8162883069      3/13/2012        12:50:41
66510      8162883069      3/28/2012        18:14:36
66511      8162883512      12/10/2011       12:15:51
66512      8162941067      3/15/2012        13:58:02
66513      8162946373      5/30/2012        16:46:02
66514      8162946529      4/20/2012        14:30:00
66515      8162949207      1/23/2012        8:29:08
66516      8163011903      1/11/2012        16:37:18
66517      8163057102      8/3/2011         11:56:23
66518      8163091023      9/13/2011        13:37:46
66519      8163092323      11/4/2011        8:41:53
66520      8163094678      9/15/2011        9:19:22
66521      8163160424      6/15/2012        16:38:23
66522      8163166150      7/10/2012        12:03:06
66523      8163166949      12/19/2011       8:12:04
66524      8163169579      8/15/2012        12:25:35
66525      8163322273      10/4/2011        13:52:30
66526      8163322336      10/22/2011       12:32:49
66527      8163325715      9/12/2011        13:26:30
66528      8163328208      1/17/2012        9:38:02
66529      8163328208      3/13/2012        18:42:18
66530      8163329687      11/13/2013       12:57:41
66531      8163371486      7/20/2012        8:46:39
66532      8163375917      3/25/2012        12:09:18
66533      8163378293      10/8/2011        11:51:09
66534      8163419004      3/21/2012        13:40:56
66535      8163444403      1/9/2012         8:21:05
66536      8163444403      9/19/2012        7:59:17
66537      8163444599      4/26/2012        17:33:03
66538      8163492429      4/17/2012        9:27:59
66539      8163492574      1/27/2012        12:00:18
66540      8163492574      5/14/2012        15:21:24
66541      8163499482      9/9/2011         18:00:39
66542      8163499614      3/6/2012         13:03:30
66543      8163510080      10/22/2011       12:21:29
66544      8163517125      12/20/2011       9:22:18
66545      8163591784      3/22/2012        8:04:33
66546      8163598072      1/18/2012        16:51:44
66547      8163598540      2/1/2012         8:29:22
66548      8163599684      11/14/2011       17:20:53
66549      8163599732      9/13/2011        14:12:29
66550      8163652429      11/8/2011        14:30:19
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66551      8163653662      10/12/2011       8:17:47
66552      8163727034      9/30/2011        10:09:43
66553      8163770642      9/29/2012        10:04:34
66554      8163775925      11/17/2011       15:32:33
66555      8163798263      3/29/2012        11:45:09
66556      8163821129      12/12/2011       11:53:32
66557      8163822798      6/14/2012        16:05:39
66558      8163852025      10/23/2012       19:03:02
66559      8163918592      9/20/2011        16:47:51
66560      8163920315      12/10/2011       14:25:52
66561      8163922360      8/11/2012        9:38:39
66562      8163924981      1/13/2012        17:26:05
66563      8163924981      2/4/2012         8:35:03
66564      8163928233      2/28/2012        16:18:22
66565      8163943812      1/19/2012        8:06:25
66566      8163998014      10/4/2011        13:45:32
66567      8164013037      10/13/2011       8:29:25
66568      8164050453      10/17/2011       10:58:36
66569      8164050794      10/12/2011       8:01:22
66570      8164195672      11/4/2011        8:51:53
66571      8164195672      12/28/2011       20:44:21
66572      8164199377      7/20/2012        15:00:39
66573      8164371024      12/28/2011       8:43:41
66574      8164375791      8/25/2011        18:10:35
66575      8164387088      12/23/2011       14:39:41
66576      8164424725      9/25/2012        15:14:45
66577      8164462848      4/15/2012        17:10:51
66578      8164466990      12/13/2011       17:57:31
66579      8164467920      9/24/2012        14:39:26
66580      8164565351      11/28/2011       18:04:27
66581      8164572717      2/18/2012        8:44:15
66582      8164575424      5/15/2012        18:59:25
66583      8164575813      10/12/2011       12:16:27
66584      8164629190      1/25/2012        20:26:40
66585      8164629973      10/22/2012       8:08:48
66586      8164822789      9/14/2013        15:36:37
66587      8165007520      5/7/2012         17:55:14
66588      8165062542      10/24/2011       8:04:25
66589      8165076179      3/1/2012         8:38:35
66590      8165100188      10/15/2011       10:41:33
66591      8165100445      7/21/2011        14:16:13
66592      8165165593      10/14/2011       13:22:03
66593      8165169098      11/11/2011       20:24:57
66594      8165169228      3/17/2012        8:52:00
66595      8165172224      5/5/2011         13:22:43
66596      8165172775      4/21/2012        16:18:17
66597      8165188814      10/8/2011        10:08:11
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66598      8165189810      2/29/2012        17:51:05
66599      8165207791      5/15/2012        19:11:50
66600      8165219343      11/29/2011       15:07:29
66601      8165227597      4/13/2012        13:36:23
66602      8165229921      8/7/2012         17:43:57
66603      8165293846      3/9/2012         9:18:08
66604      8165294014      4/4/2012         8:09:05
66605      8165367057      12/18/2011       17:00:41
66606      8165470593      3/27/2012        15:11:33
66607      8165471168      10/13/2011       8:20:48
66608      8165502418      10/10/2012       12:46:46
66609      8165502968      2/21/2012        20:52:37
66610      8165505595      1/10/2012        15:35:28
66611      8165581004      7/25/2012        12:13:50
66612      8165591761      3/28/2012        10:45:46
66613      8165607820      9/20/2012        8:47:09
66614      8165723768      10/18/2012       16:36:30
66615      8165782324      5/9/2012         8:38:03
66616      8165824460      10/12/2011       8:11:51
66617      8165857660      11/15/2011       16:34:50
66618      8165881049      9/14/2012        7:12:31
66619      8165881131      10/8/2011        11:56:42
66620      8165893386      9/21/2011        11:52:34
66621      8165895333      8/16/2012        19:53:17
66622      8165907080      2/9/2012         20:44:05
66623      8165911615      10/16/2012       20:27:52
66624      8165916229      12/2/2011        15:28:10
66625      8165916344      8/30/2012        17:45:18
66626      8166060041      5/2/2012         13:42:46
66627      8166060116      5/12/2012        13:56:07
66628      8166061752      5/15/2012        8:43:17
66629      8166062045      4/7/2012         9:40:31
66630      8166062722      5/26/2011        17:52:10
66631      8166062853      9/13/2011        14:12:59
66632      8166062955      5/2/2012         13:15:31
66633      8166064737      12/23/2011       14:19:51
66634      8166120099      1/11/2012        16:29:45
66635      8166123859      3/16/2012        15:52:28
66636      8166127216      1/17/2012        9:47:32
66637      8166162880      9/13/2012        15:20:39
66638      8166453843      10/6/2011        10:13:33
66639      8166453843      10/14/2011       12:54:32
66640      8166466553      7/30/2011        8:38:28
66641      8166513026      3/14/2012        14:17:01
66642      8166517030      12/18/2011       16:18:18
66643      8166518228      10/11/2011       17:26:00
66644      8166651808      1/28/2012        9:49:56
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66645      8166653434      1/23/2012        8:21:45
66646      8166653434      2/11/2012        10:48:35
66647      8166654639      11/8/2011        14:29:41
66648      8166659060      2/21/2012        11:17:20
66649      8166682709      5/23/2012        14:59:52
66650      8166682722      10/16/2012       16:38:18
66651      8166685281      10/1/2012        13:49:07
66652      8166689310      1/17/2012        18:47:22
66653      8166739205      9/15/2011        8:44:42
66654      8166739214      9/14/2011        11:56:19
66655      8166739469      11/17/2011       16:26:59
66656      8166792935      11/5/2011        10:11:04
66657      8166823611      8/19/2011        12:24:51
66658      8166826380      8/1/2012         20:13:31
66659      8166829748      5/30/2012        16:56:19
66660      8166866474      6/14/2012        16:03:59
66661      8166941093      3/8/2012         20:37:21
66662      8166943031      9/18/2012        14:27:22
66663      8166982303      5/21/2012        8:28:52
66664      8166994553      9/23/2011        11:40:22
66665      8166998043      11/7/2011        8:12:41
66666      8166998765      2/4/2012         8:37:58
66667      8167037210      11/2/2011        14:24:37
66668      8167037210      2/14/2012        9:49:50
66669      8167039362      3/14/2012        14:06:46
66670      8167144769      3/23/2012        19:53:24
66671      8167163321      1/18/2012        10:11:12
66672      8167166197      11/23/2011       14:43:13
66673      8167166917      4/24/2012        12:37:16
66674      8167167399      5/30/2012        16:49:02
66675      8167168109      8/13/2012        20:51:17
66676      8167192656      9/19/2011        19:32:02
66677      8167210575      5/1/2014         8:09:21
66678      8167241924      10/10/2012       19:08:10
66679      8167244023      11/26/2011       13:16:46
66680      8167261850      9/27/2011        20:12:14
66681      8167262898      11/14/2011       17:23:13
66682      8167266340      11/28/2011       16:59:58
66683      8167267104      2/2/2012         16:30:29
66684      8167268090      9/7/2011         14:32:36
66685      8167281504      6/17/2011        15:27:16
66686      8167285355      3/16/2012        10:43:21
66687      8167287080      12/18/2011       17:12:27
66688      8167292957      12/26/2011       14:56:43
66689      8167297976      2/10/2012        9:30:47
66690      8167298898      3/13/2012        12:49:24
66691      8167384069      6/30/2011        8:33:59
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66692      8167395318      4/26/2012        8:04:59
66693      8167398403      11/8/2011        14:27:50
66694      8167398557      10/19/2011       8:02:16
66695      8167523847      7/12/2012        13:11:29
66696      8167528970      1/25/2012        9:23:21
66697      8167528970      2/7/2012         20:21:11
66698      8167564394      8/13/2012        8:19:46
66699      8167567632      11/11/2011       20:04:59
66700      8167693816      11/28/2011       18:05:11
66701      8167782214      9/12/2011        14:16:42
66702      8167782214      9/14/2011        16:31:41
66703      8167857177      12/20/2011       17:20:34
66704      8167861642      11/7/2011        9:33:16
66705      8167866249      1/31/2012        10:19:38
66706      8167977130      9/10/2011        8:37:56
66707      8167993881      9/16/2011        14:59:04
66708      8168010071      7/18/2012        18:31:43
66709      8168019155      12/20/2011       12:00:58
66710      8168019155      2/17/2012        9:03:18
66711      8168030248      9/8/2011         19:51:43
66712      8168070263      12/29/2011       18:39:18
66713      8168071301      5/16/2012        16:50:19
66714      8168075390      3/13/2012        18:40:34
66715      8168077454      2/29/2012        17:25:14
66716      8168089132      9/22/2012        9:15:29
66717      8168095144      12/26/2011       20:06:05
66718      8168107251      9/17/2011        10:24:55
66719      8168127615      12/29/2011       11:16:26
66720      8168128887      10/8/2012        8:08:23
66721      8168206686      10/3/2011        8:09:47
66722      8168206686      12/27/2011       13:37:26
66723      8168240119      7/6/2012         16:57:32
66724      8168240259      5/17/2012        17:04:09
66725      8168244475      10/19/2012       19:10:25
66726      8168247706      4/15/2012        17:28:25
66727      8168380589      9/23/2011        18:47:47
66728      8168388066      10/14/2011       13:30:51
66729      8168389151      10/26/2011       12:23:32
66730      8168533217      5/15/2012        19:02:07
66731      8168639101      5/23/2012        15:27:36
66732      8168639101      6/1/2012         9:17:50
66733      8168639953      12/5/2011        9:30:04
66734      8168680961      2/16/2012        8:27:22
66735      8168686734      4/30/2012        15:06:38
66736      8168686734      5/11/2012        18:40:38
66737      8168720026      3/8/2012         20:32:59
66738      8168720026      4/3/2012         20:15:18
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66739      8168728831      6/18/2012        15:12:16
66740      8168765742      1/27/2012        11:51:16
66741      8168772287      1/18/2012        10:09:24
66742      8168781637      11/16/2011       20:05:01
66743      8168963674      6/5/2012         17:57:45
66744      8168987452      4/25/2012        9:43:26
66745      8168987453      6/7/2012         18:25:01
66746      8169161589      10/6/2012        8:53:40
66747      8169290775      1/16/2012        17:14:20
66748      8169291166      10/19/2011       12:20:17
66749      8169353363      10/12/2011       8:35:59
66750      8169860816      3/2/2012         18:47:05
66751      8169860816      10/8/2012        20:05:12
66752      8172011834      1/26/2012        10:07:54
66753      8172013556      1/11/2012        16:22:23
66754      8172025072      10/7/2011        8:16:15
66755      8172047204      1/7/2012         8:32:08
66756      8172047684      5/17/2012        16:55:23
66757      8172047714      5/21/2012        8:20:15
66758      8172047742      12/20/2011       19:25:47
66759      8172047883      5/19/2011        8:21:01
66760      8172048016      12/15/2011       8:22:44
66761      8172048016      2/10/2012        9:29:14
66762      8172048565      1/3/2012         19:42:31
66763      8172048886      1/19/2012        18:31:02
66764      8172048906      1/10/2012        12:30:01
66765      8172094672      3/5/2012         13:09:19
66766      8172097846      8/18/2012        8:44:19
66767      8172098318      3/19/2012        19:20:38
66768      8172098406      11/16/2011       10:25:15
66769      8172108180      2/14/2012        16:50:05
66770      8172108664      9/19/2011        8:23:46
66771      8172109062      3/24/2012        10:04:23
66772      8172109062      3/29/2012        16:43:32
66773      8172109975      10/11/2011       16:14:36
66774      8172170906      9/8/2011         18:08:05
66775      8172170906      10/4/2011        13:19:07
66776      8172171160      3/2/2012         18:47:48
66777      8172171817      5/22/2012        18:43:17
66778      8172172959      8/22/2012        11:21:19
66779      8172173701      3/9/2012         9:15:29
66780      8172190749      7/9/2012         8:56:46
66781      8172231456      10/11/2011       16:14:07
66782      8172236350      11/22/2011       18:46:03
66783      8172255451      2/14/2012        13:11:11
66784      8172255871      10/20/2011       15:45:39
66785      8172258199      10/22/2011       12:39:10
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66786      8172265225      7/10/2012        11:53:14
66787      8172268059      7/31/2012        15:37:20
66788      8172281956      7/9/2011         8:54:33
66789      8172285097      10/22/2011       12:42:34
66790      8172285097      12/20/2011       17:28:06
66791      8172296570      8/16/2011        16:52:37
66792      8172303069      6/30/2012        15:56:28
66793      8172303311      10/5/2012        18:16:36
66794      8172303997      9/21/2011        11:33:28
66795      8172307626      1/16/2012        17:16:26
66796      8172307783      4/29/2012        17:24:54
66797      8172309272      7/2/2011         9:10:36
66798      8172309476      4/13/2012        20:39:50
66799      8172309695      10/14/2011       13:26:22
66800      8172309934      2/15/2012        8:15:58
66801      8172312340      3/8/2012         20:31:43
66802      8172319400      6/19/2012        13:18:27
66803      8172319400      10/19/2012       11:34:46
66804      8172332117      6/29/2012        9:40:36
66805      8172333191      10/1/2011        10:39:53
66806      8172334497      7/31/2012        15:38:08
66807      8172337847      3/29/2012        11:38:56
66808      8172338740      5/13/2012        17:42:44
66809      8172339461      5/17/2012        16:56:38
66810      8172357537      10/17/2011       8:46:06
66811      8172357542      9/21/2012        18:41:06
66812      8172392122      7/23/2012        13:23:07
66813      8172393565      3/6/2012         15:49:17
66814      8172395076      7/23/2011        14:01:58
66815      8172405443      11/22/2011       19:33:09
66816      8172405966      1/9/2012         18:42:44
66817      8172406210      12/10/2011       14:44:27
66818      8172408399      10/4/2011        13:46:25
66819      8172438849      9/29/2012        9:50:47
66820      8172439984      11/22/2011       19:37:01
66821      8172473646      9/12/2011        13:21:03
66822      8172476185      7/26/2012        19:21:34
66823      8172479037      11/23/2011       9:44:03
66824      8172532033      6/13/2012        20:00:45
66825      8172535338      10/1/2012        13:49:42
66826      8172535804      12/21/2011       10:29:33
66827      8172538972      4/21/2012        8:30:33
66828      8172581025      9/23/2011        11:45:00
66829      8172581042      10/6/2011        17:44:49
66830      8172581266      9/21/2011        11:34:42
66831      8172621095      1/9/2012         8:08:19
66832      8172621607      10/17/2011       8:08:44
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66833      8172622753      10/17/2012       18:37:59
66834      8172628132      1/16/2012        17:15:30
66835      8172629071      11/14/2011       14:59:42
66836      8172661889      2/28/2012        13:19:05
66837      8172662205      8/29/2012        20:22:18
66838      8172664439      5/24/2012        12:36:03
66839      8172666126      9/28/2012        16:47:38
66840      8172666726      10/12/2012       17:02:13
66841      8172667111      11/5/2011        11:27:39
66842      8172667184      8/5/2011         18:04:36
66843      8172668090      10/1/2011        9:58:54
66844      8172668090      10/8/2011        11:27:14
66845      8172693195      7/15/2011        8:30:11
66846      8172693858      9/9/2011         17:52:57
66847      8172694129      6/10/2011        8:24:06
66848      8172694287      3/9/2012         15:47:44
66849      8172695120      10/1/2012        13:52:52
66850      8172697031      5/8/2012         17:28:13
66851      8172697424      7/25/2012        20:45:56
66852      8172699476      10/8/2011        11:41:13
66853      8172710726      10/7/2011        8:15:26
66854      8172792610      10/18/2012       16:37:36
66855      8172878751      12/5/2011        17:19:34
66856      8172917876      3/20/2012        17:42:22
66857      8172918890      5/23/2012        16:49:14
66858      8172963594      4/30/2012        15:06:49
66859      8172967699      7/22/2011        13:35:04
66860      8172980265      1/13/2012        12:25:53
66861      8172981419      12/18/2011       16:58:11
66862      8172982070      9/22/2011        15:31:11
66863      8172982072      10/6/2011        17:38:33
66864      8172982521      3/30/2011        10:50:50
66865      8172982933      3/19/2012        11:54:50
66866      8172982933      3/29/2012        16:45:02
66867      8172986685      2/16/2012        8:28:07
66868      8172987112      11/15/2011       20:07:13
66869      8173001769      5/14/2012        15:37:55
66870      8173004158      7/9/2012         19:00:12
66871      8173017330      5/22/2012        18:42:26
66872      8173018096      9/21/2011        11:59:31
66873      8173044550      5/21/2012        8:16:25
66874      8173044585      2/3/2012         8:36:32
66875      8173045374      10/13/2011       8:36:11
66876      8173056187      12/18/2011       16:08:55
66877      8173056722      11/16/2011       8:04:47
66878      8173072360      10/3/2012        20:02:19
66879      8173074406      4/23/2012        20:40:58
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66880      8173077119      10/3/2011        8:16:09
66881      8173077143      5/17/2012        12:08:35
66882      8173079591      10/18/2011       12:19:24
66883      8173080216      2/7/2012         16:45:04
66884      8173081292      10/7/2011        8:04:31
66885      8173081874      9/12/2011        14:21:03
66886      8173082515      4/13/2012        13:39:39
66887      8173083784      5/22/2012        18:30:18
66888      8173122297      8/4/2011         8:10:16
66889      8173127064      1/13/2012        17:27:42
66890      8173129707      6/21/2012        18:42:55
66891      8173139588      1/14/2012        8:02:49
66892      8173171889      11/12/2011       9:37:06
66893      8173191137      10/6/2011        17:50:44
66894      8173191542      10/14/2011       13:25:55
66895      8173191568      6/8/2012         17:00:35
66896      8173192064      7/14/2011        8:28:06
66897      8173199351      8/23/2011        18:06:50
66898      8173204860      10/26/2011       12:21:33
66899      8173205214      10/6/2011        17:51:05
66900      8173206229      4/9/2012         17:54:05
66901      8173208056      9/21/2012        18:56:05
66902      8173209324      1/24/2012        20:15:12
66903      8173230330      3/27/2012        15:04:28
66904      8173230788      10/8/2011        9:48:32
66905      8173234114      12/19/2011       8:12:47
66906      8173234658      9/29/2011        15:18:19
66907      8173234658      10/20/2011       16:21:46
66908      8173235277      5/29/2012        17:15:11
66909      8173235473      10/7/2011        8:10:49
66910      8173236259      1/17/2012        18:45:31
66911      8173236794      10/27/2011       15:57:51
66912      8173237152      10/31/2011       8:23:52
66913      8173237707      7/30/2012        13:34:30
66914      8173238011      9/26/2011        9:37:36
66915      8173238662      12/7/2011        13:16:59
66916      8173238790      3/31/2012        17:56:49
66917      8173239167      10/10/2011       12:43:05
66918      8173239374      1/4/2012         20:42:37
66919      8173239374      2/3/2012         14:39:06
66920      8173239633      9/17/2011        9:42:13
66921      8173334094      4/11/2012        20:41:56
66922      8173334263      11/15/2011       15:32:53
66923      8173334315      7/12/2012        13:26:50
66924      8173338608      10/10/2011       11:52:31
66925      8173339245      6/19/2012        13:18:37
66926      8173432092      4/4/2011         14:04:19
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66927      8173435185      6/18/2012        9:24:00
66928      8173435185      6/27/2012        18:04:40
66929      8173449007      12/28/2011       16:31:01
66930      8173491207      5/6/2011         15:53:41
66931      8173501743      5/11/2012        10:48:13
66932      8173507587      4/13/2012        20:45:00
66933      8173508184      6/16/2012        15:06:48
66934      8173509787      5/11/2012        18:26:16
66935      8173530098      11/21/2011       8:12:49
66936      8173531578      5/23/2011        15:58:02
66937      8173531865      3/7/2012         9:53:21
66938      8173534134      5/14/2012        15:21:20
66939      8173534960      10/10/2011       12:39:45
66940      8173535212      1/14/2012        8:08:03
66941      8173535624      4/15/2012        17:16:14
66942      8173535712      9/24/2012        19:07:57
66943      8173538093      10/5/2011        14:42:59
66944      8173538652      10/27/2011       16:05:52
66945      8173572728      5/4/2012         18:19:19
66946      8173607093      11/21/2011       8:07:00
66947      8173612224      11/1/2011        8:46:28
66948      8173612916      2/6/2012         17:19:24
66949      8173667873      1/16/2012        17:30:25
66950      8173669389      3/10/2011        17:48:21
66951      8173676987      9/15/2011        8:49:00
66952      8173680102      10/6/2011        16:54:01
66953      8173681079      3/12/2012        11:16:16
66954      8173682458      10/5/2011        14:39:17
66955      8173682919      12/27/2011       14:37:06
66956      8173684117      3/21/2012        13:51:34
66957      8173688208      11/3/2011        17:56:29
66958      8173713615      4/21/2012        8:35:30
66959      8173714481      7/19/2011        17:26:13
66960      8173715399      1/12/2012        14:33:23
66961      8173715399      1/23/2012        19:18:20
66962      8173718782      10/8/2011        11:35:52
66963      8173719112      3/20/2012        17:40:15
66964      8173722642      3/4/2012         12:33:45
66965      8173724384      5/9/2012         8:38:56
66966      8173724632      11/11/2011       13:53:34
66967      8173729052      10/9/2012        20:00:42
66968      8173743577      4/16/2011        15:07:52
66969      8173743700      1/10/2012        15:32:24
66970      8173745651      11/18/2011       13:02:41
66971      8173747999      9/13/2011        14:06:51
66972      8173767501      7/9/2011         8:52:49
66973      8173767655      9/8/2011         18:01:17
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66974      8173767967      3/13/2012        12:54:16
66975      8173787632      11/28/2011       16:59:06
66976      8173912001      7/12/2011        12:28:42
66977      8173912713      10/16/2012       20:26:37
66978      8174012246      9/10/2011        9:08:40
66979      8174013480      3/26/2011        10:57:10
66980      8174014253      2/17/2012        9:14:51
66981      8174017631      12/26/2011       20:19:15
66982      8174019023      11/3/2011        17:19:37
66983      8174031683      7/12/2012        10:39:32
66984      8174031908      1/17/2012        17:25:20
66985      8174034598      12/29/2011       18:45:53
66986      8174035726      4/25/2012        9:44:43
66987      8174046747      4/22/2012        15:24:28
66988      8174048124      2/17/2012        9:33:12
66989      8174048730      9/20/2011        20:42:59
66990      8174048793      11/14/2011       17:04:25
66991      8174049058      8/12/2011        10:31:58
66992      8174080547      10/16/2012       16:40:47
66993      8174120764      6/22/2012        8:54:37
66994      8174123377      9/19/2011        19:32:34
66995      8174123570      12/21/2011       19:53:59
66996      8174123911      11/15/2011       16:28:35
66997      8174202331      1/10/2012        15:33:18
66998      8174202760      2/24/2011        14:25:39
66999      8174203088      9/13/2011        15:55:43
67000      8174222535      12/20/2011       15:07:28
67001      8174223358      11/8/2011        13:54:39
67002      8174224624      10/26/2011       12:09:47
67003      8174227805      7/12/2011        11:41:54
67004      8174372837      8/6/2012         15:19:46
67005      8174373588      1/6/2012         15:07:35
67006      8174374636      4/11/2012        19:32:25
67007      8174375616      11/17/2011       16:46:59
67008      8174410042      12/6/2011        14:13:42
67009      8174431322      5/24/2012        20:06:06
67010      8174431900      10/5/2011        14:16:20
67011      8174432282      1/30/2012        8:09:54
67012      8174434341      1/10/2012        18:13:46
67013      8174434718      11/18/2011       12:54:45
67014      8174434801      3/19/2012        17:38:48
67015      8174482554      3/14/2011        17:12:51
67016      8174483717      12/26/2011       20:06:12
67017      8174495562      8/31/2012        16:30:10
67018      8174497068      9/23/2011        11:22:14
67019      8174497068      10/11/2011       16:36:38
67020      8174497410      10/20/2011       16:20:08
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67021      8174499485      4/12/2012        12:32:38
67022      8174499529      4/19/2012        20:09:14
67023      8174545459      3/16/2012        16:36:39
67024      8174545930      12/5/2011        18:37:36
67025      8174546931      9/15/2011        8:37:59
67026      8174548580      5/21/2012        8:58:52
67027      8174551680      10/12/2011       8:16:31
67028      8174551998      9/9/2011         18:21:25
67029      8174553964      1/9/2012         18:40:09
67030      8174555587      11/16/2011       9:48:30
67031      8174556130      9/27/2011        18:48:58
67032      8174556130      11/14/2011       17:28:51
67033      8174558299      11/17/2011       14:14:17
67034      8174560373      9/26/2011        9:50:40
67035      8174562942      5/8/2012         7:14:04
67036      8174565703      10/26/2011       12:11:12
67037      8174567958      5/29/2012        17:05:51
67038      8174582940      8/21/2012        14:02:52
67039      8174705241      5/31/2012        14:56:45
67040      8174750127      1/3/2012         17:13:15
67041      8174752665      3/20/2012        9:28:26
67042      8174752709      12/20/2011       15:01:44
67043      8174755846      10/10/2012       12:56:24
67044      8174757050      5/19/2012        9:29:05
67045      8174758454      12/29/2011       19:32:09
67046      8174758454      3/28/2012        17:07:22
67047      8174777177      2/17/2012        9:05:07
67048      8174870703      10/13/2011       8:28:02
67049      8174871312      10/5/2011        14:14:06
67050      8174878866      8/22/2012        11:21:15
67051      8174879236      3/7/2012         18:54:56
67052      8174890260      3/6/2012         20:34:12
67053      8174894041      12/1/2011        8:07:29
67054      8174894041      5/21/2012        8:14:53
67055      8174894994      10/6/2011        17:48:55
67056      8174898091      4/15/2012        17:17:00
67057      8174914104      2/28/2012        15:56:31
67058      8174951639      10/10/2012       19:21:32
67059      8174951860      3/13/2012        12:50:20
67060      8174951903      8/24/2011        11:53:01
67061      8174953065      12/26/2011       9:04:04
67062      8174954362      3/12/2012        11:16:10
67063      8174955530      5/1/2012         17:45:17
67064      8174955656      5/15/2012        8:44:57
67065      8174957702      4/9/2012         13:36:46
67066      8174958052      4/10/2012        12:05:37
67067      8175001399      10/24/2011       8:05:21
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67068      8175001509      9/17/2011        9:44:24
67069      8175001985      10/11/2012       12:11:06
67070      8175002934      11/23/2011       10:28:07
67071      8175003440      10/21/2011       13:28:03
67072      8175003455      1/19/2012        18:39:53
67073      8175003570      1/17/2012        20:28:12
67074      8175003972      3/23/2012        14:24:21
67075      8175006683      11/7/2011        9:17:50
67076      8175008502      11/11/2011       13:21:18
67077      8175011277      10/17/2011       8:13:20
67078      8175015359      8/15/2012        12:27:23
67079      8175017094      5/9/2012         9:10:12
67080      8175019494      8/30/2012        17:38:00
67081      8175033142      12/16/2011       16:19:25
67082      8175033142      1/11/2012        16:29:30
67083      8175035194      5/19/2012        8:17:11
67084      8175035225      1/6/2012         14:40:35
67085      8175035686      3/26/2012        14:32:57
67086      8175045877      4/13/2012        20:38:46
67087      8175075193      5/23/2012        15:04:29
67088      8175079416      12/16/2011       15:44:35
67089      8175178287      11/17/2011       15:36:01
67090      8175178625      8/21/2012        14:01:48
67091      8175210635      8/9/2012         14:10:31
67092      8175211106      4/5/2012         14:37:25
67093      8175212376      8/1/2011         19:21:15
67094      8175212376      8/2/2011         18:40:09
67095      8175212376      9/19/2011        8:25:28
67096      8175214245      9/8/2011         19:32:24
67097      8175214992      10/25/2011       16:27:55
67098      8175214992      11/22/2011       19:37:14
67099      8175215344      9/29/2011        15:16:15
67100      8175219087      11/28/2011       11:26:43
67101      8175219553      10/7/2011        8:13:37
67102      8175222175      10/14/2011       13:27:02
67103      8175226643      11/17/2011       16:48:52
67104      8175262007      10/2/2012        8:38:09
67105      8175264089      3/14/2012        20:04:16
67106      8175264933      7/8/2012         13:33:28
67107      8175266249      8/20/2011        10:23:33
67108      8175266699      3/12/2012        16:52:42
67109      8175268643      11/15/2011       16:24:33
67110      8175268643      12/29/2011       11:05:44
67111      8175268697      12/29/2011       11:09:11
67112      8175268697      1/12/2012        14:05:09
67113      8175268697      2/21/2012        9:33:08
67114      8175280015      11/18/2011       13:33:29
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67115      8175287133      10/17/2011       8:54:23
67116      8175289512      4/5/2012         14:36:16
67117      8175326252      3/25/2012        12:02:06
67118      8175426995      5/4/2012         20:54:24
67119      8175428496      7/12/2012        13:09:38
67120      8175503694      6/12/2012        17:12:56
67121      8175503694      6/19/2012        15:40:04
67122      8175507306      12/10/2011       14:49:01
67123      8175561501      12/7/2011        14:13:47
67124      8175596680      9/29/2011        15:45:49
67125      8175642956      5/8/2012         12:33:45
67126      8175645938      2/10/2012        9:19:19
67127      8175655545      12/9/2011        16:05:46
67128      8175658017      1/3/2012         11:05:14
67129      8175659720      4/3/2012         10:36:50
67130      8175659898      1/6/2012         15:01:48
67131      8175659899      4/19/2012        15:18:37
67132      8175659899      5/30/2012        9:02:48
67133      8175663178      3/28/2012        18:23:42
67134      8175666378      2/11/2012        15:34:45
67135      8175780203      9/8/2011         19:50:13
67136      8175786477      12/6/2011        14:33:53
67137      8175786885      9/23/2011        19:02:51
67138      8175796218      10/12/2011       8:36:34
67139      8175818676      6/7/2012         18:23:48
67140      8175833333      3/2/2012         18:46:16
67141      8175833333      3/11/2012        15:26:20
67142      8175833333      5/18/2012        12:14:13
67143      8175844466      3/10/2011        16:36:02
67144      8175846075      4/20/2011        19:36:52
67145      8175848352      10/15/2011       11:04:41
67146      8175848487      9/16/2011        13:26:21
67147      8175848487      10/7/2011        8:06:45
67148      8175849074      1/11/2012        8:57:42
67149      8175970651      7/26/2012        19:19:46
67150      8175975800      9/15/2011        8:48:46
67151      8176001117      12/8/2011        20:51:17
67152      8176001720      6/16/2012        15:07:47
67153      8176004399      9/24/2011        9:25:42
67154      8176025788      7/15/2011        17:46:46
67155      8176026298      12/2/2011        15:28:06
67156      8176027271      11/16/2011       19:57:15
67157      8176069163      9/12/2011        13:22:10
67158      8176136670      9/21/2013        16:13:42
67159      8176147574      10/12/2011       8:19:50
67160      8176148598      10/7/2011        8:11:17
67161      8176150173      11/5/2011        11:38:19
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67162      8176151114      1/16/2012        17:33:58
67163      8176151998      11/16/2011       19:55:34
67164      8176156667      3/25/2011        8:46:54
67165      8176157091      10/20/2012       8:06:09
67166      8176157239      1/3/2012         11:18:39
67167      8176275407      2/13/2012        18:43:43
67168      8176279158      8/30/2012        17:44:51
67169      8176292707      10/19/2012       19:05:33
67170      8176297883      5/30/2012        12:41:57
67171      8176370542      10/5/2012        18:16:20
67172      8176370761      10/3/2012        19:52:22
67173      8176370816      9/1/2011         8:26:11
67174      8176371318      12/12/2011       12:25:41
67175      8176373034      7/5/2012         10:40:53
67176      8176375546      10/11/2012       11:49:27
67177      8176375664      10/10/2011       12:40:21
67178      8176377589      6/9/2012         10:34:33
67179      8176488634      10/5/2011        14:13:02
67180      8176530081      6/27/2012        12:28:09
67181      8176530588      9/19/2011        19:17:00
67182      8176550217      10/5/2011        14:40:30
67183      8176550407      1/13/2012        17:17:57
67184      8176550407      5/6/2012         18:09:33
67185      8176550656      3/21/2011        10:34:23
67186      8176552774      11/12/2011       9:34:55
67187      8176552774      4/16/2012        15:49:35
67188      8176553186      11/15/2011       16:26:04
67189      8176553538      11/11/2011       13:19:54
67190      8176554166      10/5/2011        14:15:16
67191      8176554361      9/16/2011        13:00:33
67192      8176555147      10/21/2011       13:27:56
67193      8176570743      12/20/2011       19:24:23
67194      8176572326      8/11/2011        9:32:20
67195      8176575068      9/21/2011        11:35:44
67196      8176575309      1/23/2012        8:24:24
67197      8176578309      6/15/2012        8:52:04
67198      8176579740      1/11/2012        16:29:51
67199      8176581776      4/5/2012         14:26:32
67200      8176583488      5/22/2012        18:42:24
67201      8176584055      4/13/2012        20:38:24
67202      8176584704      1/16/2012        17:30:56
67203      8176584740      10/25/2012       12:15:36
67204      8176585808      10/23/2012       15:59:56
67205      8176586642      10/10/2011       11:54:43
67206      8176587908      9/7/2011         14:32:22
67207      8176588949      8/11/2011        12:04:34
67208      8176588949      10/11/2011       17:21:13
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67209      8176595332      7/19/2011        16:50:25
67210      8176597986      2/11/2012        11:16:56
67211      8176598545      8/16/2012        19:52:52
67212      8176633569      4/16/2012        16:04:19
67213      8176635964      3/18/2011        10:31:17
67214      8176731050      9/8/2011         18:07:15
67215      8176732293      12/23/2011       20:42:33
67216      8176735035      6/24/2011        11:28:42
67217      8176735875      4/2/2012         17:33:00
67218      8176736328      11/11/2011       20:02:16
67219      8176738247      2/2/2012         16:42:12
67220      8176753828      10/8/2011        11:58:26
67221      8176755371      12/24/2011       8:03:19
67222      8176757314      7/25/2012        12:07:15
67223      8176758942      10/8/2012        20:09:50
67224      8176759300      11/15/2011       20:15:10
67225      8176762738      10/15/2012       16:20:42
67226      8176765150      11/15/2011       16:24:36
67227      8176791392      3/6/2012         20:29:48
67228      8176805844      4/25/2012        9:32:11
67229      8176805978      10/1/2012        13:47:08
67230      8176806527      3/25/2012        12:06:11
67231      8176808283      9/8/2011         18:56:31
67232      8176810327      11/28/2011       11:27:45
67233      8176813674      9/20/2011        20:32:51
67234      8176815318      8/29/2012        11:01:13
67235      8176815409      4/30/2012        17:32:57
67236      8176818837      1/13/2014        9:04:06
67237      8176821862      1/9/2012         18:15:21
67238      8176822634      2/29/2012        17:53:17
67239      8176824089      4/10/2012        11:53:32
67240      8176828062      3/3/2012         8:29:35
67241      8176834145      3/10/2011        17:43:28
67242      8176834253      1/19/2012        18:30:25
67243      8176838050      10/13/2011       8:39:57
67244      8176882620      5/21/2012        8:13:25
67245      8176887838      9/12/2011        13:27:19
67246      8176891257      2/14/2012        15:43:25
67247      8176896240      5/6/2011         16:00:59
67248      8176897327      11/11/2011       13:43:19
67249      8176898300      11/12/2011       10:25:28
67250      8176900201      10/12/2012       16:56:10
67251      8176900383      12/12/2011       12:18:16
67252      8176905176      9/28/2012        16:37:14
67253      8176908012      2/7/2012         17:16:44
67254      8176910620      1/26/2012        10:10:41
67255      8176913763      9/13/2012        15:16:34
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67256      8176921354      6/17/2011        15:35:10
67257      8176922869      3/2/2012         18:46:14
67258      8176923454      2/10/2012        9:23:31
67259      8176926307      6/16/2012        15:06:48
67260      8176940665      11/8/2011        14:27:33
67261      8176940919      9/28/2012        9:04:55
67262      8176941116      6/13/2011        8:30:47
67263      8176945085      4/3/2012         15:18:27
67264      8176948807      12/1/2011        15:02:15
67265      8176961267      11/5/2011        10:01:16
67266      8176963746      12/29/2011       18:59:16
67267      8176963991      5/17/2012        16:34:00
67268      8176965651      9/16/2011        14:58:57
67269      8176967694      3/13/2012        18:41:45
67270      8177037712      3/7/2012         18:43:36
67271      8177039792      9/29/2011        15:19:53
67272      8177048161      5/11/2012        10:41:00
67273      8177049136      9/8/2011         18:58:10
67274      8177049147      9/19/2011        19:33:20
67275      8177053816      4/19/2012        20:16:05
67276      8177056672      10/3/2011        8:13:15
67277      8177060110      12/27/2011       14:19:54
67278      8177062618      10/18/2011       18:54:47
67279      8177063195      12/16/2011       15:48:07
67280      8177064480      10/19/2011       12:16:14
67281      8177067530      5/21/2012        17:48:24
67282      8177070767      5/18/2012        15:40:35
67283      8177071930      7/6/2012         14:49:17
67284      8177071930      7/11/2012        17:15:51
67285      8177072790      10/3/2012        20:01:31
67286      8177073304      3/14/2011        17:02:37
67287      8177073990      10/4/2011        13:18:11
67288      8177077314      1/9/2012         18:41:16
67289      8177079471      9/20/2011        18:33:51
67290      8177079575      3/7/2014         8:28:43
67291      8177091905      6/13/2012        8:02:53
67292      8177131381      1/12/2012        14:31:09
67293      8177135541      7/23/2011        13:10:08
67294      8177140349      9/12/2011        14:19:13
67295      8177140729      10/8/2011        10:02:34
67296      8177143161      9/8/2011         18:53:52
67297      8177143453      10/7/2011        8:10:13
67298      8177143589      6/7/2012         16:37:12
67299      8177143632      5/7/2012         8:20:50
67300      8177145116      11/14/2011       17:20:33
67301      8177148256      1/23/2012        8:20:13
67302      8177149508      9/29/2011        15:53:07
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67303      8177150834      9/15/2012        8:07:01
67304      8177152012      9/21/2011        11:34:07
67305      8177155207      9/23/2011        19:03:01
67306      8177156914      2/28/2012        16:19:42
67307      8177159104      11/4/2011        8:38:43
67308      8177159626      5/14/2012        15:34:09
67309      8177166278      10/8/2011        10:00:35
67310      8177166729      1/12/2012        14:06:16
67311      8177167511      10/18/2013       16:11:25
67312      8177183477      11/16/2011       20:03:57
67313      8177186105      10/6/2011        16:52:59
67314      8177188926      7/28/2012        9:06:29
67315      8177197044      9/5/2012         15:24:31
67316      8177211470      9/2/2011         13:05:05
67317      8177212609      1/26/2012        10:09:33
67318      8177213313      10/22/2011       13:22:38
67319      8177214621      10/12/2012       16:58:47
67320      8177218739      3/30/2012        10:01:58
67321      8177231088      10/21/2013       12:22:39
67322      8177231401      10/11/2011       17:17:08
67323      8177237579      11/18/2011       13:33:23
67324      8177242568      2/28/2012        15:54:39
67325      8177242797      8/2/2012         11:39:06
67326      8177243323      9/24/2011        9:47:22
67327      8177243346      1/5/2012         14:02:57
67328      8177243503      12/19/2011       8:08:57
67329      8177244014      9/8/2011         19:50:43
67330      8177247500      3/15/2012        13:59:12
67331      8177273748      6/23/2012        8:53:22
67332      8177293348      10/8/2011        11:58:03
67333      8177293960      12/20/2011       17:16:53
67334      8177295749      9/15/2011        9:19:14
67335      8177297143      4/6/2012         15:55:10
67336      8177332106      9/28/2011        11:15:49
67337      8177334660      11/3/2011        17:50:46
67338      8177334854      12/26/2011       9:28:16
67339      8177336626      9/20/2011        18:37:08
67340      8177336640      2/28/2012        16:07:04
67341      8177341014      9/14/2011        12:35:43
67342      8177347510      9/8/2012         11:09:37
67343      8177393806      11/28/2011       17:01:53
67344      8177394210      12/23/2011       15:51:22
67345      8177396541      3/19/2012        17:41:59
67346      8177573237      6/13/2012        8:10:48
67347      8177573732      5/14/2012        15:21:05
67348      8177578346      3/19/2012        19:19:31
67349      8177603629      10/16/2012       20:29:36
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67350      8177701285      10/11/2011       16:29:22
67351      8177701304      5/21/2012        8:15:37
67352      8177701620      10/14/2011       13:22:55
67353      8177701749      11/23/2011       14:56:02
67354      8177703331      9/28/2011        11:14:28
67355      8177705538      12/7/2011        14:55:06
67356      8177706640      10/19/2011       8:02:26
67357      8177706870      10/23/2012       10:52:00
67358      8177716868      11/22/2011       19:33:40
67359      8177716868      1/3/2012         19:47:50
67360      8177731979      1/2/2012         9:10:56
67361      8177732707      9/10/2012        8:42:59
67362      8177735639      7/30/2012        13:20:27
67363      8177735640      4/20/2012        20:52:36
67364      8177735688      12/7/2011        17:45:28
67365      8177741563      12/30/2011       8:39:25
67366      8177745909      10/17/2012       9:43:33
67367      8177767050      9/3/2011         10:56:23
67368      8177767542      5/21/2012        17:42:10
67369      8177769454      9/21/2012        18:41:21
67370      8177769740      9/4/2012         15:44:40
67371      8177790337      12/26/2011       20:17:17
67372      8177810382      11/17/2011       16:26:56
67373      8177810511      10/5/2011        14:11:45
67374      8177811332      11/19/2011       9:00:56
67375      8177818168      5/29/2012        10:54:49
67376      8177818654      3/8/2012         9:45:13
67377      8177845028      6/21/2012        10:17:42
67378      8177891127      9/8/2011         18:49:56
67379      8177898298      9/26/2011        13:20:51
67380      8177898298      12/29/2011       11:16:14
67381      8177898298      1/12/2012        10:17:37
67382      8177911346      3/6/2012         17:27:57
67383      8177911424      3/10/2012        8:58:44
67384      8177917372      11/9/2011        8:31:06
67385      8177917567      10/20/2011       15:41:31
67386      8177931688      3/2/2012         18:50:12
67387      8177932819      11/28/2011       17:59:50
67388      8177933406      10/2/2012        8:36:38
67389      8177933478      10/17/2012       9:43:46
67390      8177934467      5/2/2011         18:08:19
67391      8177935783      12/3/2011        9:22:26
67392      8177937295      11/17/2011       14:37:12
67393      8177939546      10/5/2012        18:32:05
67394      8177970979      8/13/2012        20:58:30
67395      8177973451      12/29/2011       18:58:45
67396      8177983537      7/13/2011        11:53:18
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67397      8177983572      10/5/2012        12:42:14
67398      8177986942      8/6/2012         15:12:41
67399      8177987868      1/25/2012        9:08:28
67400      8177989061      10/8/2012        20:05:56
67401      8177989580      4/3/2012         20:10:22
67402      8177989580      5/21/2012        8:17:52
67403      8178003008      11/28/2011       12:14:12
67404      8178006518      9/17/2011        10:23:09
67405      8178008772      2/9/2012         9:36:23
67406      8178051968      5/31/2012        15:07:29
67407      8178053158      9/8/2011         18:57:30
67408      8178059331      8/19/2012        12:06:03
67409      8178073061      12/24/2011       8:03:44
67410      8178080729      9/27/2011        18:48:43
67411      8178082201      3/19/2012        19:21:23
67412      8178082590      11/10/2011       8:09:48
67413      8178082590      5/21/2012        8:01:13
67414      8178083006      12/6/2011        13:11:13
67415      8178083037      10/27/2011       16:46:47
67416      8178086055      5/30/2012        16:43:51
67417      8178126141      2/20/2012        8:41:04
67418      8178128008      11/15/2011       20:14:42
67419      8178128458      1/17/2012        9:48:06
67420      8178129015      7/30/2012        18:38:04
67421      8178129373      10/3/2012        19:51:48
67422      8178191238      6/29/2012        17:40:54
67423      8178195495      10/10/2012       19:13:42
67424      8178214500      1/16/2012        17:15:35
67425      8178215101      10/1/2011        10:47:10
67426      8178215368      6/22/2012        8:08:24
67427      8178218343      9/30/2011        10:21:47
67428      8178219588      9/8/2011         19:33:26
67429      8178224544      2/25/2012        10:39:17
67430      8178228323      10/6/2011        17:46:15
67431      8178324107      10/12/2011       8:36:53
67432      8178325041      9/17/2012        8:36:51
67433      8178326337      10/12/2011       7:20:32
67434      8178326534      6/5/2012         17:54:07
67435      8178327070      8/2/2011         18:34:29
67436      8178327346      5/14/2012        15:36:20
67437      8178329734      8/31/2011        10:47:23
67438      8178410432      10/29/2011       11:35:34
67439      8178412427      9/3/2012         14:33:38
67440      8178453135      3/30/2012        16:48:34
67441      8178454363      1/14/2012        13:21:26
67442      8178457612      3/13/2012        18:31:56
67443      8178458337      3/23/2012        11:19:03
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67444      8178465322      11/2/2011        14:05:18
67445      8178490168      1/4/2012         20:16:36
67446      8178494459      10/12/2011       8:18:49
67447      8178514798      9/8/2011         18:57:56
67448      8178515780      5/14/2012        15:38:09
67449      8178519957      12/2/2011        8:06:19
67450      8178519957      4/15/2012        17:10:21
67451      8178620063      1/16/2012        17:14:09
67452      8178621205      5/22/2012        11:32:24
67453      8178621205      6/23/2012        16:28:59
67454      8178621205      7/30/2012        13:18:16
67455      8178621874      6/11/2012        18:03:23
67456      8178623527      9/30/2011        10:04:02
67457      8178626407      9/27/2011        18:03:17
67458      8178631512      9/8/2011         18:57:06
67459      8178633232      1/5/2012         14:03:37
67460      8178706855      9/28/2012        16:43:49
67461      8178741484      6/18/2012        15:26:43
67462      8178741924      6/14/2012        16:18:47
67463      8178742537      10/16/2012       20:35:45
67464      8178751498      7/8/2012         13:34:01
67465      8178752192      10/11/2011       16:29:07
67466      8178752314      9/8/2011         18:04:41
67467      8178757910      12/16/2011       16:18:42
67468      8178776212      10/3/2011        8:09:44
67469      8178793940      5/2/2012         13:16:25
67470      8178794503      10/6/2012        8:33:22
67471      8178794975      4/9/2012         18:16:14
67472      8178799732      11/5/2011        11:32:25
67473      8178804895      2/11/2012        15:12:48
67474      8178804913      9/8/2011         19:30:32
67475      8178812214      10/3/2011        8:07:32
67476      8178812360      4/26/2012        11:35:41
67477      8178813072      7/27/2012        13:16:22
67478      8178813157      4/13/2012        13:42:29
67479      8178813157      5/6/2012         18:28:51
67480      8178814111      5/23/2012        15:00:20
67481      8178816015      11/28/2011       11:24:15
67482      8178816047      9/14/2011        12:13:45
67483      8178819805      6/13/2012        8:11:45
67484      8178850558      2/1/2012         8:30:27
67485      8178859885      3/31/2012        8:06:51
67486      8178880814      5/17/2012        16:41:20
67487      8178880814      6/13/2012        8:04:43
67488      8178890055      9/19/2011        19:34:32
67489      8178911712      10/17/2012       9:46:15
67490      8178911712      10/23/2012       16:10:09
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67491      8178912445      12/31/2011       12:06:46
67492      8178912722      11/9/2011        8:40:07
67493      8178916760      10/22/2011       12:50:48
67494      8178916773      10/11/2011       16:23:23
67495      8178916773      12/16/2011       16:28:22
67496      8178918871      12/3/2011        10:20:53
67497      8178941858      9/20/2011        20:32:07
67498      8178942363      10/22/2011       13:10:00
67499      8178942524      10/1/2012        13:47:19
67500      8178944276      9/23/2011        18:47:37
67501      8178944369      11/28/2011       12:21:02
67502      8178945622      3/25/2012        12:09:10
67503      8178946044      7/5/2012         10:43:32
67504      8178946044      7/11/2012        17:21:37
67505      8178961328      9/28/2011        11:21:18
67506      8178962184      9/19/2011        19:32:29
67507      8178963699      5/6/2012         18:18:10
67508      8178965177      9/19/2011        19:13:06
67509      8178966521      3/2/2012         19:00:45
67510      8178968289      5/9/2012         8:57:52
67511      8178970960      12/29/2011       11:09:13
67512      8178972550      3/27/2012        14:56:21
67513      8178972560      6/5/2012         17:48:00
67514      8178973699      1/13/2012        17:17:08
67515      8178978320      7/25/2012        12:05:34
67516      8178991078      11/18/2011       13:09:05
67517      8178991713      7/21/2011        14:05:58
67518      8178991897      2/29/2012        17:23:50
67519      8178991897      3/7/2012         18:42:57
67520      8178991905      3/28/2012        18:24:05
67521      8178992775      10/5/2012        12:28:04
67522      8178993861      10/4/2011        13:23:31
67523      8178994349      12/10/2011       13:30:29
67524      8178994550      4/29/2012        18:24:03
67525      8178994731      8/9/2011         12:57:48
67526      8178994767      3/6/2012         13:09:11
67527      8178995003      12/30/2011       8:39:35
67528      8179023769      6/22/2012        20:55:03
67529      8179023776      11/19/2011       9:06:58
67530      8179024059      9/20/2011        18:21:44
67531      8179024059      10/3/2011        8:08:19
67532      8179024073      5/31/2012        8:13:23
67533      8179027504      2/11/2012        11:16:41
67534      8179029227      11/14/2011       14:44:09
67535      8179029353      9/30/2011        10:00:49
67536      8179032769      11/15/2011       15:49:47
67537      8179033880      5/4/2012         18:13:19
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67538      8179036044      2/11/2012        15:33:36
67539      8179036768      3/22/2012        8:04:55
67540      8179053277      5/10/2012        13:26:09
67541      8179054024      5/1/2012         18:10:42
67542      8179056747      9/30/2011        10:19:35
67543      8179057686      8/7/2012         17:54:50
67544      8179059762      7/14/2011        16:37:12
67545      8179070320      1/24/2012        17:04:27
67546      8179073009      2/1/2012         8:43:49
67547      8179076763      8/12/2012        13:45:36
67548      8179077535      1/25/2012        20:25:05
67549      8179078934      2/24/2011        11:47:20
67550      8179080411      10/17/2011       7:33:22
67551      8179080411      5/22/2012        11:39:59
67552      8179081133      5/21/2012        8:54:12
67553      8179084580      1/17/2012        20:27:32
67554      8179086388      7/19/2012        17:56:55
67555      8179087054      7/23/2012        15:21:21
67556      8179092136      7/17/2012        12:29:17
67557      8179092917      8/14/2012        20:45:33
67558      8179093492      10/15/2011       10:38:04
67559      8179130177      1/9/2012         8:22:48
67560      8179132865      7/11/2011        7:10:21
67561      8179133050      9/16/2011        13:04:29
67562      8179135392      9/16/2011        13:28:33
67563      8179135517      9/19/2011        19:14:05
67564      8179150802      9/19/2011        19:17:16
67565      8179151555      5/26/2012        8:27:00
67566      8179154759      10/6/2011        16:39:41
67567      8179158440      2/21/2012        18:02:05
67568      8179170122      8/6/2012         16:32:39
67569      8179174115      9/30/2011        10:04:47
67570      8179175534      5/9/2011         17:26:21
67571      8179176033      2/3/2012         20:19:28
67572      8179177991      8/24/2012        11:04:55
67573      8179177991      8/25/2012        11:16:48
67574      8179177991      9/19/2012        8:01:09
67575      8179179483      11/3/2011        17:55:16
67576      8179195275      7/25/2012        20:41:56
67577      8179197171      8/13/2012        9:08:11
67578      8179229117      10/25/2011       16:25:09
67579      8179250893      9/26/2012        8:09:12
67580      8179251195      11/9/2011        8:49:02
67581      8179258906      9/1/2011         8:20:31
67582      8179259003      2/17/2012        18:24:17
67583      8179259003      3/19/2012        19:06:09
67584      8179293107      10/22/2012       18:00:44
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67585      8179299330      10/10/2011       11:45:15
67586      8179299330      11/29/2011       15:30:06
67587      8179299982      7/10/2012        11:58:13
67588      8179320629      4/29/2012        17:41:14
67589      8179331668      10/10/2011       12:40:17
67590      8179336387      7/30/2012        18:47:39
67591      8179338487      9/24/2012        18:56:05
67592      8179339785      8/23/2012        11:45:00
67593      8179370853      5/10/2011        19:26:03
67594      8179372809      10/18/2012       16:32:17
67595      8179380908      10/7/2012        13:06:00
67596      8179381124      8/29/2012        20:21:06
67597      8179386047      8/9/2012         14:10:59
67598      8179396884      7/19/2011        17:57:28
67599      8179446107      6/12/2012        8:28:55
67600      8179446282      10/8/2011        11:30:08
67601      8179447111      9/10/2011        9:13:59
67602      8179449666      1/26/2012        9:57:50
67603      8179460178      2/11/2012        15:11:14
67604      8179462013      9/19/2011        19:13:20
67605      8179462430      9/17/2011        10:23:35
67606      8179462481      11/16/2011       19:57:50
67607      8179469076      1/21/2012        8:35:50
67608      8179627727      11/17/2011       14:37:47
67609      8179641327      12/22/2011       9:02:16
67610      8179641430      6/21/2012        10:17:45
67611      8179642422      11/29/2011       16:10:08
67612      8179645348      11/16/2011       19:56:13
67613      8179648005      9/19/2011        19:33:48
67614      8179649489      10/18/2012       8:07:31
67615      8179653262      7/25/2012        20:42:21
67616      8179656994      4/3/2012         20:11:49
67617      8179660365      10/13/2011       8:28:02
67618      8179660365      10/24/2011       8:15:32
67619      8179660365      12/3/2011        9:22:57
67620      8179662280      9/22/2011        16:10:08
67621      8179751007      8/7/2012         17:43:46
67622      8179753647      12/16/2011       16:25:58
67623      8179759281      11/5/2011        11:18:15
67624      8179802751      5/10/2012        14:50:35
67625      8179803641      5/8/2012         9:37:05
67626      8179805475      11/16/2011       19:57:07
67627      8179861590      10/24/2011       8:07:41
67628      8179863152      11/19/2011       8:19:23
67629      8179863631      2/25/2012        11:07:49
67630      8179863678      9/14/2011        16:39:57
67631      8179864628      9/13/2011        17:59:26
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67632      8179864717      9/8/2011         19:48:55
67633      8179865084      10/17/2012       18:36:56
67634      8179865566      2/14/2012        10:00:12
67635      8179866111      9/15/2011        8:36:24
67636      8179867200      5/20/2012        15:38:26
67637      8179867200      6/5/2012         19:48:51
67638      8179867651      1/13/2012        12:26:15
67639      8179867846      10/1/2012        13:54:07
67640      8179869422      2/25/2012        11:05:50
67641      8179869554      10/11/2011       17:17:49
67642      8179875979      10/10/2011       12:47:28
67643      8179877685      8/15/2011        10:28:01
67644      8179878208      9/22/2011        16:01:43
67645      8179878330      5/21/2012        8:13:47
67646      8179883370      10/1/2012        13:47:16
67647      8179883370      10/22/2012       17:50:26
67648      8179883470      10/22/2011       12:40:52
67649      8179884819      6/5/2012         13:11:34
67650      8179885528      5/25/2012        17:03:31
67651      8179910370      3/2/2012         19:01:09
67652      8179911283      10/10/2011       11:53:15
67653      8179911615      10/10/2011       12:50:06
67654      8179917699      1/24/2012        17:19:32
67655      8179924434      9/21/2011        19:34:47
67656      8179927768      5/17/2012        12:10:45
67657      8179940509      7/2/2012         15:25:06
67658      8179940509      7/17/2012        12:29:36
67659      8179951632      12/14/2011       18:03:30
67660      8179955239      12/22/2011       9:42:06
67661      8179961309      10/1/2011        9:51:14
67662      8179968436      9/9/2011         18:01:41
67663      8179969894      6/7/2012         12:44:50
67664      8179991885      6/18/2012        9:16:46
67665      8179996483      9/15/2011        9:18:27
67666      8179998015      4/22/2012        15:35:50
67667      8182008171      3/15/2012        14:03:55
67668      8182018105      11/11/2011       13:51:20
67669      8182018105      11/23/2011       10:46:15
67670      8182018105      12/20/2011       19:27:27
67671      8182036328      5/23/2012        15:02:45
67672      8182039362      9/27/2011        18:54:08
67673      8182054530      4/18/2012        17:53:10
67674      8182056997      9/4/2013         18:53:42
67675      8182058669      10/8/2011        12:18:42
67676      8182072894      7/25/2011        17:36:22
67677      8182073071      9/14/2011        21:32:43
67678      8182094020      12/12/2011       12:32:00
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67679      8182096805      12/23/2011       16:09:03
67680      8182097497      8/6/2011         11:23:52
67681      8182099537      9/12/2011        14:35:23
67682      8182120886      5/6/2011         16:03:57
67683      8182194646      1/17/2012        20:53:32
67684      8182195844      5/11/2012        18:28:30
67685      8182199761      7/26/2012        19:27:02
67686      8182199761      8/20/2012        18:38:07
67687      8182240836      8/14/2012        21:04:01
67688      8182314883      1/3/2012         19:53:05
67689      8182332669      3/15/2012        19:20:51
67690      8182332932      2/13/2012        11:41:20
67691      8182333420      12/17/2011       11:44:15
67692      8182357895      8/14/2012        21:03:49
67693      8182387043      12/20/2011       14:59:33
67694      8182387416      11/14/2011       17:42:40
67695      8182399997      10/29/2011       11:06:47
67696      8182555505      8/24/2012        21:02:36
67697      8182558236      4/5/2012         15:43:46
67698      8182560214      5/18/2012        16:07:43
67699      8182560501      11/16/2011       10:51:50
67700      8182569445      10/28/2011       13:48:04
67701      8182569466      8/15/2012        12:30:32
67702      8182578963      5/23/2012        16:39:29
67703      8182594833      8/10/2011        19:36:45
67704      8182610218      11/29/2011       15:48:39
67705      8182618044      9/9/2011         18:38:04
67706      8182618704      2/21/2012        20:51:41
67707      8182630811      2/21/2012        21:25:42
67708      8182631492      12/17/2011       12:14:38
67709      8182634722      6/11/2012        18:13:56
67710      8182634722      7/23/2012        15:37:26
67711      8182637368      11/28/2011       11:36:35
67712      8182637552      12/10/2011       14:31:38
67713      8182660810      5/11/2012        10:49:17
67714      8182667411      1/6/2012         21:03:55
67715      8182674098      6/29/2012        17:53:05
67716      8182676801      10/14/2012       15:12:17
67717      8182679525      12/7/2011        13:47:12
67718      8182684768      10/8/2011        10:18:58
67719      8182684768      10/12/2011       12:16:19
67720      8182685147      6/29/2012        17:52:46
67721      8182685470      12/21/2011       19:57:44
67722      8182686304      9/20/2011        17:03:40
67723      8182692662      1/23/2012        10:12:12
67724      8182696992      9/17/2012        10:05:59
67725      8182696992      9/25/2012        14:48:34
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67726      8182701439      12/2/2011        14:41:57
67727      8182711403      9/12/2011        13:38:05
67728      8182720432      9/9/2011         18:33:31
67729      8182724671      6/12/2012        17:15:59
67730      8182725514      5/30/2012        16:51:04
67731      8182741346      9/8/2011         18:03:19
67732      8182744612      1/6/2012         14:59:23
67733      8182770761      6/11/2011        11:26:53
67734      8182772330      12/9/2011        14:43:53
67735      8182773822      9/13/2012        21:29:14
67736      8182777764      5/2/2012         21:07:21
67737      8182777959      5/1/2012         17:32:33
67738      8182778244      10/12/2011       12:01:06
67739      8182778661      9/8/2011         19:31:46
67740      8182810297      9/13/2011        18:21:30
67741      8182812106      10/5/2011        14:54:06
67742      8182825219      3/26/2012        18:48:45
67743      8182826013      9/26/2011        13:32:36
67744      8182843842      8/14/2012        11:54:22
67745      8182845260      12/27/2011       14:42:43
67746      8182848023      4/26/2011        20:37:49
67747      8182849950      2/7/2012         16:40:21
67748      8182871493      10/1/2011        10:11:22
67749      8182879506      3/19/2012        19:26:14
67750      8182885783      5/28/2012        10:49:24
67751      8182886576      9/27/2011        18:19:31
67752      8182900754      1/12/2012        14:38:26
67753      8182900863      11/2/2011        14:36:30
67754      8182900892      2/20/2012        14:00:31
67755      8182904695      4/9/2012         18:20:53
67756      8182906026      3/25/2012        12:14:47
67757      8182920254      10/17/2011       11:00:22
67758      8182925340      5/1/2012         17:32:21
67759      8182943768      5/18/2012        12:19:27
67760      8182944885      1/25/2012        20:27:12
67761      8182945265      9/26/2011        13:22:27
67762      8182972188      7/30/2012        13:22:07
67763      8182973066      3/26/2012        18:47:55
67764      8182973255      10/26/2013       15:09:00
67765      8182982164      7/14/2011        10:36:20
67766      8182992087      9/21/2011        19:31:42
67767      8182996093      9/26/2011        13:32:41
67768      8182996854      10/12/2011       11:42:06
67769      8183003102      10/22/2012       18:01:56
67770      8183007764      12/22/2011       10:14:13
67771      8183025072      4/5/2012         21:48:58
67772      8183034897      4/7/2012         12:12:42
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67773      8183035604      2/24/2012        20:59:07
67774      8183041640      1/13/2012        12:48:10
67775      8183073138      9/20/2011        16:58:13
67776      8183078040      7/14/2011        17:08:19
67777      8183100925      6/4/2012         10:03:42
67778      8183101902      8/29/2012        11:17:06
67779      8183103830      12/21/2011       10:27:23
67780      8183104411      1/3/2012         16:55:01
67781      8183104618      12/10/2011       14:54:11
67782      8183104979      9/8/2011         19:55:42
67783      8183105136      9/28/2011        10:46:46
67784      8183105272      10/17/2011       10:43:30
67785      8183106979      4/23/2012        13:12:25
67786      8183107615      11/26/2011       13:51:58
67787      8183107934      10/8/2011        10:14:06
67788      8183121453      12/2/2011        14:48:38
67789      8183124395      2/28/2012        13:10:26
67790      8183128281      3/8/2012         15:35:30
67791      8183146429      5/20/2012        15:57:10
67792      8183175402      1/24/2012        17:25:23
67793      8183179060      2/11/2012        11:28:00
67794      8183191880      11/30/2011       13:07:02
67795      8183198524      7/20/2011        15:06:09
67796      8183199556      8/29/2012        11:17:46
67797      8183216732      9/20/2011        20:37:58
67798      8183216984      2/9/2012         14:30:58
67799      8183218413      7/9/2012         19:16:24
67800      8183226590      3/22/2014        17:24:31
67801      8183241818      10/10/2012       12:49:49
67802      8183257639      9/9/2011         18:37:52
67803      8183267870      5/10/2012        21:33:55
67804      8183268094      6/24/2011        11:38:00
67805      8183268094      9/16/2011        15:19:36
67806      8183314033      10/1/2011        10:57:52
67807      8183326091      3/19/2011        10:46:05
67808      8183347189      6/16/2012        15:18:49
67809      8183357017      3/25/2012        12:17:56
67810      8183359833      8/26/2013        20:10:40
67811      8183392700      3/16/2012        15:57:12
67812      8183393807      11/30/2013       16:50:58
67813      8183395361      12/12/2011       16:44:54
67814      8183398578      8/9/2012         14:06:05
67815      8183550791      9/13/2011        14:29:38
67816      8183555914      11/28/2011       18:18:43
67817      8183570995      9/28/2012        14:16:39
67818      8183577432      1/25/2012        20:33:21
67819      8183578643      1/7/2012         10:18:01
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67820      8183578695      9/19/2011        14:46:54
67821      8183578923      2/15/2012        11:19:51
67822      8183589123      2/20/2012        17:16:23
67823      8183589551      11/23/2011       14:59:51
67824      8183589681      3/6/2012         20:34:31
67825      8183589681      3/13/2012        18:52:55
67826      8183597507      11/16/2011       10:51:52
67827      8183703333      9/25/2012        15:23:52
67828      8183715315      5/21/2012        17:57:30
67829      8183769452      1/25/2012        18:22:13
67830      8183769757      6/18/2012        10:39:50
67831      8183771443      9/7/2012         15:56:19
67832      8183771731      3/14/2012        19:39:41
67833      8183781213      10/6/2011        17:02:03
67834      8183781634      8/22/2012        11:25:46
67835      8183781634      9/7/2012         15:55:39
67836      8183786832      1/20/2012        20:37:03
67837      8183834452      7/19/2012        17:57:24
67838      8183838002      11/11/2011       20:17:31
67839      8183875433      6/22/2012        20:59:00
67840      8183875538      8/28/2012        21:54:45
67841      8183880386      2/17/2012        10:51:46
67842      8183885038      6/5/2012         19:55:13
67843      8183885878      11/26/2011       12:09:53
67844      8183887395      8/8/2012         16:15:10
67845      8183894080      9/12/2011        14:36:04
67846      8183895860      6/25/2011        15:52:37
67847      8183899881      10/1/2012        13:56:12
67848      8183910574      10/11/2012       11:54:59
67849      8183929695      12/10/2011       12:34:26
67850      8183952918      1/5/2012         17:24:44
67851      8183962140      2/13/2012        11:39:02
67852      8183962348      10/6/2011        17:04:12
67853      8183962549      9/29/2011        16:01:43
67854      8183976640      3/19/2012        11:47:36
67855      8183978902      9/20/2012        14:44:06
67856      8183990303      4/15/2012        17:50:15
67857      8183995924      7/10/2012        12:00:34
67858      8183997924      1/12/2012        10:20:20
67859      8183999232      10/7/2011        10:31:37
67860      8184002156      12/20/2011       19:40:41
67861      8184007602      10/1/2012        13:39:25
67862      8184026742      3/19/2012        19:28:56
67863      8184028527      12/10/2011       12:33:12
67864      8184042216      2/7/2012         20:27:00
67865      8184069767      1/6/2012         13:02:36
67866      8184141518      2/22/2012        7:16:20
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67867      8184145877      10/16/2012       20:30:24
67868      8184150941      5/23/2011        16:23:38
67869      8184157484      10/18/2011       12:37:25
67870      8184157753      11/8/2011        14:44:43
67871      8184157753      12/2/2011        14:43:12
67872      8184158637      6/11/2012        18:11:50
67873      8184159543      3/14/2012        20:04:27
67874      8184169012      11/4/2011        9:02:51
67875      8184199525      9/26/2011        13:24:52
67876      8184216830      3/14/2012        14:16:26
67877      8184217313      9/10/2011        12:38:08
67878      8184219104      6/4/2011         10:58:23
67879      8184225050      12/18/2011       16:27:07
67880      8184226814      1/17/2012        20:52:37
67881      8184250586      12/29/2011       11:14:55
67882      8184250586      1/12/2012        14:38:13
67883      8184252093      5/23/2012        15:04:16
67884      8184252807      6/9/2011         11:17:20
67885      8184253617      2/25/2012        10:44:31
67886      8184254740      5/5/2012         12:19:33
67887      8184255215      9/23/2011        11:51:26
67888      8184255916      4/16/2012        10:10:47
67889      8184259686      5/22/2012        18:44:07
67890      8184264924      3/23/2012        14:29:18
67891      8184269504      7/11/2011        12:13:59
67892      8184272723      11/15/2011       16:42:58
67893      8184277219      11/26/2011       13:54:28
67894      8184279648      10/20/2012       10:36:30
67895      8184280953      3/8/2012         20:31:40
67896      8184288375      1/24/2012        17:25:06
67897      8184289396      9/27/2012        13:23:56
67898      8184289396      10/5/2012        12:21:22
67899      8184292397      10/29/2011       11:58:27
67900      8184294505      2/20/2012        14:02:16
67901      8184296774      12/2/2011        14:48:52
67902      8184299864      1/26/2012        10:12:01
67903      8184304352      12/10/2011       12:32:38
67904      8184308448      10/5/2011        14:52:18
67905      8184309039      10/22/2011       12:49:02
67906      8184310609      6/20/2012        16:59:09
67907      8184335483      10/1/2011        11:02:30
67908      8184335735      1/24/2012        17:26:30
67909      8184343169      5/17/2012        16:59:10
67910      8184344747      2/14/2012        16:44:14
67911      8184370788      8/4/2011         19:32:02
67912      8184371268      4/4/2012         18:40:32
67913      8184373150      3/12/2012        16:52:14
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67914      8184373564      9/8/2011         19:55:26
67915      8184375744      10/10/2012       19:15:04
67916      8184385312      3/2/2012         19:04:58
67917      8184391827      10/29/2011       11:58:03
67918      8184393743      6/5/2012         18:49:30
67919      8184412559      10/26/2011       13:26:11
67920      8184412841      9/24/2011        10:12:43
67921      8184413664      1/10/2012        20:53:41
67922      8184418262      1/12/2012        14:37:09
67923      8184422218      1/24/2012        17:09:39
67924      8184424772      3/14/2012        19:39:00
67925      8184450652      4/11/2012        11:37:52
67926      8184450688      3/20/2012        20:04:12
67927      8184451182      2/20/2012        16:57:53
67928      8184452891      10/31/2011       10:09:36
67929      8184455057      8/1/2011         19:28:20
67930      8184458122      10/14/2011       13:37:05
67931      8184459832      5/5/2011         13:24:36
67932      8184471662      5/27/2011        17:18:10
67933      8184473620      12/17/2011       11:42:54
67934      8184476113      3/23/2012        19:42:34
67935      8184483912      6/29/2012        10:54:54
67936      8184484001      1/18/2012        10:01:49
67937      8184485263      5/18/2012        11:42:53
67938      8184485719      8/20/2012        21:33:27
67939      8184485719      8/25/2012        11:19:45
67940      8184486061      4/21/2012        16:51:10
67941      8184488496      5/4/2012         15:30:06
67942      8184504428      11/29/2011       15:50:47
67943      8184507682      9/23/2011        18:50:23
67944      8184509473      12/6/2011        13:22:08
67945      8184518181      8/17/2012        10:07:07
67946      8184543871      5/23/2012        16:52:24
67947      8184552590      3/6/2012         20:31:50
67948      8184552590      3/23/2012        14:29:59
67949      8184555422      3/4/2012         12:45:45
67950      8184556926      10/4/2011        14:02:05
67951      8184570038      8/31/2011        11:10:05
67952      8184570572      10/15/2012       10:14:56
67953      8184570765      12/12/2011       12:00:44
67954      8184585413      3/11/2011        17:01:46
67955      8184588313      5/17/2012        11:49:03
67956      8184588667      12/7/2011        14:24:09
67957      8184589185      9/29/2011        15:25:55
67958      8184592261      7/23/2012        15:23:19
67959      8184683762      6/28/2011        18:34:55
67960      8184690941      1/17/2014        19:55:27
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67961      8184696011      4/9/2011         14:07:01
67962      8184701666      8/7/2012         20:12:53
67963      8184702273      6/11/2012        17:39:07
67964      8184702509      11/23/2011       14:45:28
67965      8184707575      5/31/2012        15:02:23
67966      8184710685      10/1/2012        13:38:00
67967      8184710825      1/5/2012         14:10:40
67968      8184711073      10/15/2011       10:07:46
67969      8184711752      8/16/2011        18:12:57
67970      8184717648      7/18/2012        14:48:23
67971      8184766025      3/9/2012         15:50:12
67972      8184768332      4/1/2012         16:08:48
67973      8184801809      2/21/2012        16:19:02
67974      8184808402      4/18/2012        18:00:43
67975      8184823812      1/19/2012        18:43:54
67976      8184825681      6/16/2012        15:07:33
67977      8184841619      4/20/2012        13:56:57
67978      8184857551      5/23/2012        15:24:38
67979      8184861617      4/2/2012         12:51:52
67980      8184891637      9/1/2012         11:47:42
67981      8184891637      9/18/2012        14:29:19
67982      8184920600      7/19/2011        17:05:44
67983      8184938018      6/28/2012        14:24:15
67984      8184971256      6/8/2012         19:43:47
67985      8185106476      11/16/2011       10:15:38
67986      8185155352      10/14/2011       13:35:05
67987      8185155385      2/26/2012        13:15:24
67988      8185169255      11/17/2011       14:47:02
67989      8185170469      2/6/2012         17:27:18
67990      8185171611      10/1/2011        10:09:10
67991      8185171611      10/11/2011       16:37:19
67992      8185171611      6/29/2012        10:55:32
67993      8185171891      10/17/2011       10:39:52
67994      8185173389      5/3/2012         21:18:53
67995      8185173615      1/9/2012         18:48:26
67996      8185175104      6/25/2012        13:30:33
67997      8185176631      9/3/2012         14:57:29
67998      8185184557      10/10/2011       13:02:49
67999      8185191808      12/20/2011       19:41:23
68000      8185193902      10/14/2011       13:35:19
68001      8185217059      11/26/2011       13:45:38
68002      8185217330      3/8/2012         20:44:58
68003      8185231988      8/20/2012        10:03:33
68004      8185234784      5/15/2012        11:12:11
68005      8185235921      11/5/2011        10:31:37
68006      8185237793      10/14/2011       13:02:02
68007      8185238187      2/28/2012        16:08:54
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68008      8185240169      5/23/2012        16:40:41
68009      8185270348      5/22/2012        18:44:41
68010      8185328469      5/2/2011         18:19:37
68011      8185350046      6/11/2012        10:08:58
68012      8185350046      6/21/2012        10:20:32
68013      8185350460      1/18/2012        16:57:12
68014      8185355410      9/23/2011        19:05:22
68015      8185356889      9/30/2011        10:10:05
68016      8185507899      6/17/2012        12:27:33
68017      8185540591      10/16/2012       20:28:41
68018      8185542516      2/14/2012        17:03:04
68019      8185544776      7/10/2012        21:12:40
68020      8185640330      9/19/2012        21:28:33
68021      8185680090      1/21/2012        11:19:48
68022      8185680524      5/23/2012        16:53:04
68023      8185687161      10/12/2012       16:55:12
68024      8185687898      5/26/2012        14:43:43
68025      8185689890      11/8/2011        14:41:49
68026      8185689890      1/6/2012         12:52:17
68027      8185710407      12/31/2011       12:11:37
68028      8185713111      1/24/2012        17:08:35
68029      8185713366      9/18/2012        14:29:15
68030      8185716150      5/25/2012        11:57:03
68031      8185717514      9/8/2011         19:37:37
68032      8185719576      5/10/2012        13:49:16
68033      8185789242      10/19/2012       11:33:18
68034      8185796271      2/28/2012        13:10:04
68035      8185819245      1/10/2012        15:22:42
68036      8185820344      5/16/2012        16:58:25
68037      8185820495      3/15/2012        14:04:10
68038      8185820589      9/8/2012         11:13:38
68039      8185820723      12/19/2011       11:17:15
68040      8185820942      10/1/2012        21:34:15
68041      8185821630      9/8/2012         11:45:51
68042      8185881073      2/3/2012         20:13:40
68043      8185906198      9/8/2011         19:55:51
68044      8185990493      10/9/2012        20:05:31
68045      8185996077      2/7/2012         20:27:07
68046      8186013241      11/9/2011        10:40:16
68047      8186018328      6/11/2012        18:06:37
68048      8186019104      4/17/2012        11:27:14
68049      8186021305      4/15/2012        17:47:28
68050      8186022358      7/27/2012        21:53:35
68051      8186022548      5/16/2012        11:57:30
68052      8186022945      9/29/2011        15:27:02
68053      8186023548      11/21/2011       10:44:33
68054      8186026749      12/9/2011        13:26:32
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68055      8186026980      1/24/2012        17:27:13
68056      8186051211      8/27/2012        15:01:06
68057      8186058035      1/12/2012        14:37:23
68058      8186059585      12/24/2011       11:34:26
68059      8186059987      10/14/2011       13:36:03
68060      8186064943      10/20/2011       20:56:11
68061      8186065457      12/29/2011       19:08:44
68062      8186132358      10/4/2011        13:57:32
68063      8186141911      6/15/2012        16:39:14
68064      8186147658      8/28/2012        21:55:01
68065      8186181948      11/18/2011       12:54:03
68066      8186183469      5/4/2012         18:24:57
68067      8186205770      8/16/2012        14:27:55
68068      8186211461      11/9/2011        10:20:58
68069      8186212076      10/6/2011        18:04:03
68070      8186212091      4/3/2012         20:12:25
68071      8186212091      5/26/2012        10:10:54
68072      8186213535      2/11/2012        15:52:04
68073      8186216036      8/20/2012        18:47:24
68074      8186242782      10/26/2011       13:34:54
68075      8186255033      10/31/2011       10:07:46
68076      8186258844      11/15/2011       20:11:44
68077      8186260989      9/20/2011        20:40:12
68078      8186261136      3/1/2012         17:36:52
68079      8186261414      8/16/2011        18:20:22
68080      8186316563      4/19/2012        15:18:31
68081      8186318771      9/6/2012         21:14:49
68082      8186321011      1/9/2012         8:13:16
68083      8186326671      12/2/2011        15:33:01
68084      8186333768      5/22/2012        18:49:18
68085      8186334864      11/2/2011        14:10:10
68086      8186335341      5/4/2012         21:01:07
68087      8186335547      11/12/2011       11:07:21
68088      8186339817      6/21/2012        10:19:33
68089      8186340555      8/7/2012         21:41:57
68090      8186340556      3/9/2012         15:49:36
68091      8186340556      8/14/2012        21:01:52
68092      8186355850      9/28/2011        10:39:55
68093      8186361934      10/5/2011        14:52:57
68094      8186362907      1/4/2012         11:08:38
68095      8186364153      8/17/2012        10:06:01
68096      8186367573      9/16/2011        13:09:25
68097      8186407684      12/28/2011       20:47:22
68098      8186414425      10/27/2011       17:05:02
68099      8186414425      11/16/2011       20:09:14
68100      8186424260      7/30/2012        18:49:05
68101      8186424809      8/24/2012        11:05:16
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68102      8186424809      8/25/2012        11:21:49
68103      8186424999      9/7/2012         15:45:30
68104      8186445595      11/19/2011       10:37:59
68105      8186456352      10/5/2011        14:53:05
68106      8186480219      11/29/2011       15:49:06
68107      8186484767      1/6/2012         21:04:50
68108      8186511501      12/16/2011       16:05:28
68109      8186524172      7/27/2013        11:15:06
68110      8186532812      8/21/2012        13:55:10
68111      8186534499      6/6/2012         21:23:16
68112      8186538145      7/5/2012         10:40:27
68113      8186538577      4/18/2012        18:02:18
68114      8186538577      4/25/2012        21:35:39
68115      8186579206      3/7/2012         19:02:03
68116      8186603550      8/28/2012        21:54:37
68117      8186607198      8/14/2012        20:54:03
68118      8186607566      6/3/2011         17:08:26
68119      8186655213      7/20/2012        11:22:05
68120      8186655213      7/30/2012        13:22:52
68121      8186678166      8/31/2012        16:40:19
68122      8186680068      12/8/2011        21:09:54
68123      8186684219      9/19/2011        14:44:41
68124      8186691228      6/22/2012        10:42:49
68125      8186691424      4/16/2012        10:11:58
68126      8186693784      9/14/2011        12:39:41
68127      8186695112      10/25/2011       16:42:23
68128      8186748918      12/12/2011       16:42:25
68129      8186750040      4/4/2012         14:03:43
68130      8186751090      3/26/2011        12:40:47
68131      8186752093      5/15/2012        11:12:23
68132      8186752093      5/25/2012        11:59:15
68133      8186752508      1/8/2012         16:46:36
68134      8186753798      12/15/2011       21:49:04
68135      8186753798      2/7/2012         20:22:34
68136      8186754195      9/13/2011        14:39:51
68137      8186756619      3/31/2012        22:32:54
68138      8186793545      6/21/2012        18:53:56
68139      8186798261      2/24/2011        14:31:58
68140      8186819531      4/13/2012        20:42:17
68141      8186833752      5/3/2012         10:08:51
68142      8186914384      12/28/2011       21:11:02
68143      8186929242      10/19/2012       11:31:23
68144      8186949062      5/8/2012         21:30:11
68145      8187063748      12/16/2011       16:37:28
68146      8187144550      9/8/2011         18:21:36
68147      8187144550      9/14/2011        21:37:01
68148      8187146035      12/10/2011       14:30:28
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68149      8187203322      7/13/2011        12:09:24
68150      8187203852      9/19/2011        14:57:57
68151      8187207366      12/10/2011       14:52:50
68152      8187230739      5/22/2012        18:45:41
68153      8187233135      7/14/2011        10:35:50
68154      8187233928      11/27/2011       15:37:59
68155      8187235370      9/18/2012        14:21:10
68156      8187236024      7/26/2012        11:57:15
68157      8187236343      12/28/2011       20:51:43
68158      8187236833      11/9/2013        10:29:11
68159      8187262463      9/30/2011        10:26:42
68160      8187268124      9/8/2011         19:08:13
68161      8187269700      10/20/2011       15:53:59
68162      8187301935      11/30/2011       13:07:44
68163      8187306095      5/9/2012         16:08:33
68164      8187309390      10/6/2011        17:10:49
68165      8187383408      11/16/2011       10:18:10
68166      8187386520      10/10/2011       12:05:49
68167      8187386986      7/6/2012         16:58:45
68168      8187416466      1/18/2012        21:22:27
68169      8187418491      6/20/2012        16:59:07
68170      8187440170      11/3/2011        18:03:49
68171      8187440397      7/25/2011        18:12:27
68172      8187440397      3/26/2012        15:08:41
68173      8187441889      8/23/2012        11:44:03
68174      8187443041      12/28/2011       21:12:00
68175      8187466563      4/30/2012        15:05:00
68176      8187485627      9/8/2011         19:12:05
68177      8187490931      5/8/2012         12:47:35
68178      8187490931      5/23/2012        16:56:53
68179      8187492886      5/11/2012        10:43:43
68180      8187495981      11/19/2011       10:33:52
68181      8187496496      10/6/2011        17:58:49
68182      8187513828      10/16/2012       16:45:52
68183      8187701289      9/13/2012        21:29:34
68184      8187704098      7/31/2012        21:06:21
68185      8187706770      5/6/2012         17:36:24
68186      8187709755      11/15/2011       20:17:16
68187      8187938037      10/27/2011       17:03:19
68188      8187939550      9/20/2012        14:46:23
68189      8187939861      4/20/2012        14:43:01
68190      8187953131      7/18/2012        18:33:06
68191      8187953649      10/31/2011       10:23:25
68192      8187953660      10/4/2011        13:55:49
68193      8187959202      9/24/2011        10:04:46
68194      8187991749      6/20/2012        11:03:22
68195      8187992117      5/7/2012         21:39:54
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68196      8187992734      4/3/2012         16:05:05
68197      8187992754      3/15/2012        19:20:17
68198      8187994153      1/14/2012        11:00:44
68199      8187994716      11/22/2011       19:45:55
68200      8187996020      10/1/2012        21:34:18
68201      8187996020      10/25/2012       19:41:27
68202      8187996871      9/14/2012        21:08:23
68203      8187998558      1/3/2012         11:09:26
68204      8187998937      7/9/2012         19:16:55
68205      8188000174      5/30/2012        12:59:11
68206      8188000467      10/7/2011        8:11:14
68207      8188003251      10/1/2011        10:09:31
68208      8188004779      4/13/2012        13:48:09
68209      8188041071      9/21/2011        19:37:04
68210      8188049619      8/17/2012        21:23:53
68211      8188049619      9/26/2012        14:42:55
68212      8188049975      9/24/2012        19:09:56
68213      8188071422      12/15/2011       21:51:56
68214      8188083581      10/15/2011       11:18:27
68215      8188085503      12/20/2011       15:12:12
68216      8188089454      3/21/2012        18:35:31
68217      8188099938      10/22/2011       12:48:23
68218      8188120228      9/21/2011        12:04:15
68219      8188120727      9/8/2011         18:19:13
68220      8188143411      10/7/2011        10:38:53
68221      8188147166      5/8/2012         12:44:23
68222      8188147166      5/21/2012        17:57:02
68223      8188147166      6/26/2012        16:12:18
68224      8188234920      2/9/2012         20:46:58
68225      8188237547      5/4/2012         18:16:03
68226      8188240988      11/15/2011       20:17:24
68227      8188241049      12/19/2011       21:06:56
68228      8188241121      10/1/2011        10:58:39
68229      8188241292      9/13/2012        21:31:14
68230      8188241350      6/29/2012        17:47:00
68231      8188241539      5/14/2011        12:15:06
68232      8188250838      12/29/2011       19:08:13
68233      8188256400      3/13/2012        18:52:48
68234      8188267206      1/21/2012        11:17:59
68235      8188364766      10/12/2011       11:58:25
68236      8188367392      3/29/2012        16:35:53
68237      8188540595      10/25/2011       15:45:15
68238      8188545826      5/29/2012        10:58:49
68239      8188572978      6/20/2012        16:54:45
68240      8188577681      5/29/2012        17:17:15
68241      8188578337      1/10/2012        20:53:32
68242      8188593713      9/10/2012        21:07:54
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68243      8188599355      8/15/2011        10:15:26
68244      8188883394      8/13/2012        21:01:49
68245      8188900459      1/24/2014        19:13:05
68246      8189034790      9/19/2011        19:22:57
68247      8189121092      7/11/2012        17:24:16
68248      8189121956      11/28/2011       17:06:21
68249      8189150401      9/12/2011        13:38:44
68250      8189153093      8/14/2012        11:53:36
68251      8189153137      10/15/2011       11:13:35
68252      8189155661      6/28/2012        14:27:13
68253      8189156538      7/17/2012        21:55:31
68254      8189161946      11/18/2011       13:36:10
68255      8189162552      9/27/2012        16:43:24
68256      8189166005      6/2/2012         12:52:11
68257      8189168020      8/13/2012        20:55:16
68258      8189176435      5/6/2012         20:25:50
68259      8189192557      12/9/2011        14:29:39
68260      8189193935      1/10/2012        15:22:22
68261      8189194241      3/6/2012         15:54:56
68262      8189194371      4/23/2011        10:41:14
68263      8189194404      7/26/2012        19:16:33
68264      8189198842      4/9/2012         13:54:29
68265      8189266888      3/30/2012        21:41:25
68266      8189268129      9/21/2011        19:31:26
68267      8189342311      8/17/2012        10:08:35
68268      8189342323      9/26/2011        13:28:55
68269      8189352531      5/18/2012        16:06:21
68270      8189393025      11/18/2011       13:26:50
68271      8189395341      11/7/2011        11:14:51
68272      8189395723      5/21/2012        17:31:03
68273      8189397809      8/21/2012        14:05:22
68274      8189411826      10/23/2012       11:01:46
68275      8189416191      8/27/2012        14:46:53
68276      8189418594      11/2/2011        14:12:53
68277      8189424102      6/15/2011        11:29:53
68278      8189425023      4/20/2012        21:03:25
68279      8189425535      12/26/2011       20:34:53
68280      8189432526      3/1/2012         17:36:42
68281      8189432640      2/2/2012         16:36:41
68282      8189614028      5/6/2012         21:04:05
68283      8189615524      9/24/2012        18:56:42
68284      8189615541      3/14/2012        14:16:52
68285      8189632650      5/30/2012        16:58:35
68286      8189670890      9/15/2012        11:26:59
68287      8189677937      12/29/2011       19:39:48
68288      8189682778      9/29/2011        15:25:44
68289      8189683675      2/21/2012        16:20:28
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68290      8189683675      3/14/2012        14:15:00
68291      8189688191      5/19/2012        11:05:49
68292      8189700840      6/5/2012         18:00:49
68293      8189701212      10/18/2012       16:39:00
68294      8189708366      12/10/2011       14:00:34
68295      8189741114      12/26/2011       20:35:20
68296      8189841930      12/16/2013       13:34:39
68297      8189845090      9/16/2011        13:46:03
68298      8189845688      8/8/2012         10:05:12
68299      8189848416      7/27/2012        21:14:44
68300      8189932313      9/4/2012         21:51:22
68301      8282000202      10/17/2011       11:36:04
68302      8282000625      11/7/2011        7:34:55
68303      8282003379      9/9/2012         11:15:58
68304      8282010013      12/5/2011        18:07:30
68305      8282051146      9/24/2012        18:50:09
68306      8282051757      12/15/2011       8:25:15
68307      8282054356      3/3/2012         8:11:11
68308      8282060116      12/12/2011       16:32:04
68309      8282060447      10/21/2011       13:01:14
68310      8282060617      9/15/2011        7:51:02
68311      8282060764      9/17/2011        9:21:50
68312      8282061120      11/28/2011       11:52:26
68313      8282061558      9/26/2012        7:11:31
68314      8282061720      4/6/2012         16:10:02
68315      8282061773      6/14/2012        15:48:58
68316      8282062081      9/29/2011        15:11:55
68317      8282063733      11/29/2011       7:36:50
68318      8282069280      10/24/2011       7:21:57
68319      8282082199      8/31/2012        16:32:38
68320      8282083921      10/19/2012       19:01:16
68321      8282083958      3/19/2012        7:14:51
68322      8282150477      3/25/2011        9:22:33
68323      8282151818      12/5/2011        9:06:08
68324      8282155813      1/24/2012        9:56:27
68325      8282155925      9/26/2012        14:35:10
68326      8282157330      10/7/2011        7:14:45
68327      8282159534      12/7/2011        13:31:54
68328      8282159627      7/23/2011        11:36:47
68329      8282161182      12/13/2011       18:44:18
68330      8282161815      9/10/2011        8:01:52
68331      8282163592      9/21/2011        11:27:33
68332      8282163665      5/19/2012        9:22:40
68333      8282163665      6/15/2012        16:36:13
68334      8282164015      9/29/2011        15:15:04
68335      8282164510      6/18/2012        7:56:35
68336      8282168165      11/19/2011       8:43:23
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68337      8282168861      10/1/2011        9:28:37
68338      8282169159      3/15/2012        18:52:19
68339      8282169635      9/8/2012         11:07:21
68340      8282169636      10/6/2011        16:06:06
68341      8282171096      10/26/2011       13:27:57
68342      8282171161      11/19/2011       8:01:37
68343      8282173466      3/16/2012        16:21:43
68344      8282214000      8/15/2012        14:31:51
68345      8282215511      11/8/2011        13:49:05
68346      8282216355      1/23/2012        19:12:38
68347      8282217454      5/17/2012        7:10:38
68348      8282230467      6/12/2012        17:11:19
68349      8282260741      3/27/2012        15:37:01
68350      8282260810      3/11/2012        15:13:09
68351      8282265977      3/6/2012         15:46:52
68352      8282266456      2/17/2012        18:09:00
68353      8282266571      7/20/2012        15:01:26
68354      8282269516      1/9/2012         18:10:25
68355      8282281565      7/26/2012        19:17:14
68356      8282285875      10/18/2011       12:51:28
68357      8282287210      5/10/2012        14:48:05
68358      8282288684      8/17/2012        7:13:23
68359      8282300439      9/8/2011         19:46:57
68360      8282301621      11/28/2011       16:38:27
68361      8282301778      3/14/2012        7:02:26
68362      8282302173      1/13/2012        17:31:42
68363      8282303496      4/16/2012        7:14:34
68364      8282306759      12/23/2011       14:19:18
68365      8282307269      12/26/2011       9:10:55
68366      8282307376      1/11/2012        7:36:38
68367      8282316805      2/28/2012        7:47:10
68368      8282318349      9/20/2011        17:14:05
68369      8282336320      9/16/2011        14:35:05
68370      8282341289      11/5/2011        9:52:49
68371      8282342198      12/23/2011       14:27:33
68372      8282343145      5/30/2012        16:55:37
68373      8282346260      1/12/2012        14:15:23
68374      8282381115      12/20/2011       11:51:35
68375      8282381115      5/21/2012        8:15:06
68376      8282381944      5/10/2012        13:04:46
68377      8282382537      10/12/2011       7:33:17
68378      8282383807      10/3/2011        7:13:54
68379      8282385476      7/18/2012        18:27:53
68380      8282420716      7/5/2012         7:48:14
68381      8282421797      2/15/2012        8:07:44
68382      8282423567      11/4/2011        7:14:58
68383      8282425203      3/30/2012        16:26:11
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68384      8282425308      9/21/2011        19:33:32
68385      8282427602      7/7/2012         10:14:20
68386      8282428926      12/22/2011       8:39:43
68387      8282437870      1/10/2012        15:10:46
68388      8282437879      8/10/2011        7:05:45
68389      8282439622      7/7/2012         10:13:19
68390      8282440837      9/8/2011         17:44:55
68391      8282445400      11/15/2011       15:08:30
68392      8282447126      11/17/2011       13:31:57
68393      8282448403      11/9/2011        8:24:35
68394      8282450739      7/13/2012        11:20:35
68395      8282462314      12/21/2011       10:11:12
68396      8282462710      9/20/2011        14:56:56
68397      8282462975      6/20/2012        7:46:50
68398      8282462975      6/30/2012        15:41:31
68399      8282463316      9/21/2011        13:19:16
68400      8282463316      11/14/2011       14:18:17
68401      8282464231      4/22/2012        15:22:25
68402      8282465594      12/10/2011       13:08:55
68403      8282481519      12/21/2011       10:10:03
68404      8282561902      10/5/2011        14:05:54
68405      8282601735      2/11/2012        15:25:36
68406      8282615296      12/7/2011        14:40:57
68407      8282615339      3/9/2012         7:15:38
68408      8282659974      4/25/2011        10:52:10
68409      8282661650      9/5/2012         7:18:55
68410      8282704452      12/15/2011       8:25:46
68411      8282704466      9/3/2012         14:31:00
68412      8282738131      1/3/2012         11:14:37
68413      8282750536      10/3/2011        7:06:26
68414      8282753011      9/22/2011        15:48:18
68415      8282753282      1/28/2012        9:41:26
68416      8282755904      1/25/2012        9:05:02
68417      8282757690      11/22/2011       19:47:31
68418      8282759744      7/9/2012         19:06:27
68419      8282798861      11/3/2011        17:35:19
68420      8282800597      11/30/2011       7:15:41
68421      8282800908      4/12/2012        18:13:15
68422      8282804752      3/26/2012        18:24:55
68423      8282805737      9/9/2011         7:41:52
68424      8282806871      9/26/2011        8:44:10
68425      8282807927      12/20/2011       19:23:07
68426      8282841000      2/14/2012        9:44:15
68427      8282843152      2/29/2012        7:06:42
68428      8282843152      8/31/2012        16:27:02
68429      8282844440      9/27/2011        18:08:54
68430      8282844444      1/11/2012        7:32:21
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68431      8282847552      4/10/2012        11:47:12
68432      8282847553      9/27/2011        18:25:41
68433      8282890806      2/6/2012         7:12:04
68434      8282893212      9/26/2011        8:46:13
68435      8282895926      12/27/2011       13:58:16
68436      8282896153      10/18/2012       16:40:15
68437      8282897424      1/20/2012        11:41:30
68438      8282899008      8/16/2011        17:41:55
68439      8282899245      10/24/2011       7:06:43
68440      8282899787      1/23/2012        7:08:16
68441      8282908093      9/19/2011        19:10:26
68442      8282910498      4/24/2012        17:59:51
68443      8282911307      12/23/2011       15:46:12
68444      8282917219      6/9/2012         10:27:11
68445      8282919863      1/10/2012        12:45:17
68446      8282921191      2/2/2012         11:22:51
68447      8282921518      11/25/2011       17:40:51
68448      8282921618      11/18/2011       13:31:27
68449      8282927429      2/15/2012        7:58:36
68450      8283020260      4/25/2012        18:42:12
68451      8283022667      4/30/2012        14:46:24
68452      8283024927      10/13/2011       7:16:41
68453      8283025384      7/22/2011        13:29:43
68454      8283026338      2/22/2012        7:02:08
68455      8283027074      1/10/2012        15:13:53
68456      8283030383      6/27/2012        12:14:49
68457      8283030383      7/19/2012        17:37:23
68458      8283030455      1/25/2012        9:34:37
68459      8283039118      10/10/2012       19:10:58
68460      8283052848      10/14/2011       13:06:59
68461      8283052848      4/4/2012         7:08:08
68462      8283053957      5/30/2012        16:54:46
68463      8283058341      3/19/2012        19:02:04
68464      8283085224      10/14/2011       12:39:37
68465      8283086948      4/13/2012        13:12:28
68466      8283101834      3/12/2012        19:38:11
68467      8283102185      12/31/2011       12:01:39
68468      8283102185      7/13/2012        11:09:43
68469      8283103806      7/11/2011        7:12:45
68470      8283104897      4/2/2012         16:55:45
68471      8283137005      2/24/2011        14:02:03
68472      8283151793      11/18/2011       13:27:38
68473      8283167211      8/28/2012        7:27:50
68474      8283169640      9/27/2011        18:08:36
68475      8283171528      3/22/2012        7:50:29
68476      8283177135      1/19/2012        7:13:28
68477      8283178065      9/18/2012        14:32:37
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68478      8283179586      5/17/2012        11:52:59
68479      8283181830      1/16/2012        7:27:10
68480      8283186948      9/15/2011        7:41:30
68481      8283197931      3/7/2012         18:37:15
68482      8283207152      1/5/2012         12:02:16
68483      8283207152      1/17/2012        18:32:25
68484      8283293274      6/27/2011        7:20:11
68485      8283294763      10/23/2012       16:13:04
68486      8283296418      8/15/2012        7:50:10
68487      8283319665      12/27/2011       12:42:21
68488      8283340192      12/23/2011       15:34:38
68489      8283345100      4/9/2012         19:16:45
68490      8283345385      3/12/2012        19:38:08
68491      8283348419      10/17/2012       12:49:16
68492      8283351925      10/5/2012        18:15:00
68493      8283352096      1/11/2012        7:29:36
68494      8283372011      11/26/2011       12:36:46
68495      8283372011      12/27/2011       14:13:13
68496      8283372711      12/20/2011       17:13:10
68497      8283374587      1/18/2012        16:50:58
68498      8283375357      12/17/2011       11:54:59
68499      8283379334      1/12/2012        7:08:57
68500      8283380226      2/20/2012        16:50:54
68501      8283421189      10/15/2012       9:57:13
68502      8283421972      3/3/2012         8:20:03
68503      8283422273      10/8/2011        9:15:50
68504      8283422310      9/20/2011        16:30:46
68505      8283424950      8/6/2012         15:56:32
68506      8283429976      1/23/2012        18:56:02
68507      8283475242      7/3/2012         12:59:23
68508      8283611593      9/8/2011         19:42:24
68509      8283612665      5/25/2012        17:09:02
68510      8283613970      5/2/2012         13:36:52
68511      8283615401      12/26/2011       8:53:31
68512      8283617407      8/25/2011        17:53:10
68513      8283619249      8/5/2011         17:45:56
68514      8283695099      5/14/2012        15:28:00
68515      8283712937      4/9/2012         7:08:02
68516      8283713137      10/3/2012        19:52:47
68517      8283800102      9/20/2011        17:35:26
68518      8283801806      8/17/2012        7:09:04
68519      8283809252      5/30/2012        12:45:32
68520      8283811240      9/26/2011        8:23:55
68521      8283811240      10/7/2011        7:15:21
68522      8283812276      7/3/2012         15:57:50
68523      8283816191      12/23/2011       15:35:46
68524      8283816290      7/6/2012         14:57:30
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68525      8283819201      10/17/2011       7:52:01
68526      8283851710      11/28/2011       12:01:02
68527      8283852526      12/30/2011       7:08:38
68528      8283877625      9/21/2011        19:33:19
68529      8283880729      10/14/2013       7:56:26
68530      8283893585      1/6/2012         14:32:42
68531      8283896168      6/16/2012        15:26:45
68532      8283900123      2/28/2012        16:11:56
68533      8283900128      1/24/2012        10:26:31
68534      8283901107      12/7/2011        13:58:01
68535      8283901107      12/19/2011       8:11:29
68536      8283906231      9/9/2011         7:21:37
68537      8283907257      8/10/2012        7:31:46
68538      8283908273      6/30/2012        8:18:56
68539      8283908273      7/6/2012         16:49:57
68540      8283910500      1/5/2012         12:01:11
68541      8283990478      12/15/2011       8:25:04
68542      8284000265      1/16/2012        7:16:21
68543      8284003625      2/6/2012         17:08:36
68544      8284005197      10/4/2011        13:15:22
68545      8284006220      5/15/2012        19:05:08
68546      8284006220      5/21/2012        7:07:25
68547      8284007279      10/31/2011       7:14:49
68548      8284008731      3/15/2012        7:05:54
68549      8284030336      9/13/2011        15:28:36
68550      8284030336      1/12/2012        14:27:47
68551      8284032043      1/18/2012        10:05:49
68552      8284032829      5/8/2012         7:15:46
68553      8284032872      11/3/2011        11:59:04
68554      8284032872      12/15/2011       7:27:42
68555      8284035826      3/3/2012         8:19:57
68556      8284042270      3/20/2012        9:14:51
68557      8284060243      10/6/2011        16:19:18
68558      8284062368      10/26/2011       12:37:22
68559      8284066065      7/23/2012        13:28:51
68560      8284069265      9/4/2012         16:11:33
68561      8284087895      3/15/2012        19:01:59
68562      8284095020      10/3/2012        19:47:39
68563      8284130053      3/3/2012         8:38:43
68564      8284132051      5/7/2011         14:29:02
68565      8284133505      1/24/2012        9:57:45
68566      8284135824      12/3/2011        9:55:06
68567      8284136725      3/8/2012         7:12:21
68568      8284210213      4/1/2012         16:03:23
68569      8284212852      9/8/2011         19:56:13
68570      8284216115      1/8/2012         13:11:20
68571      8284216577      10/6/2011        16:17:47
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68572      8284216585      1/24/2012        17:11:49
68573      8284217245      3/7/2012         18:37:19
68574      8284218061      11/22/2011       19:17:01
68575      8284218585      9/22/2011        8:52:11
68576      8284219070      5/19/2012        16:05:45
68577      8284219097      12/13/2011       18:38:09
68578      8284219109      2/25/2012        10:49:07
68579      8284233713      5/7/2012         7:06:55
68580      8284292872      10/11/2012       18:38:12
68581      8284300546      4/18/2012        7:07:18
68582      8284335042      11/15/2011       16:06:18
68583      8284391612      10/4/2011        13:14:29
68584      8284393089      9/2/2011         12:41:40
68585      8284393535      10/8/2011        9:27:47
68586      8284393777      10/16/2012       7:23:24
68587      8284420083      8/31/2011        10:22:43
68588      8284424621      1/27/2012        17:57:28
68589      8284425092      10/17/2011       11:15:10
68590      8284427995      9/27/2011        18:31:02
68591      8284428639      9/22/2012        9:15:25
68592      8284437625      10/18/2012       16:30:06
68593      8284438107      12/29/2011       18:16:33
68594      8284461009      11/4/2011        9:18:29
68595      8284462264      12/3/2011        9:50:06
68596      8284462264      1/4/2012         11:44:52
68597      8284463287      10/8/2011        10:43:22
68598      8284463364      11/5/2011        11:07:47
68599      8284468902      9/1/2012         9:19:59
68600      8284469264      12/10/2011       14:20:59
68601      8284470260      12/11/2011       12:21:32
68602      8284470740      3/15/2012        19:03:49
68603      8284470882      10/17/2011       7:37:41
68604      8284471052      6/9/2012         10:23:08
68605      8284471762      10/14/2011       13:14:52
68606      8284472707      1/29/2012        17:04:29
68607      8284473160      1/30/2012        7:22:02
68608      8284474265      10/15/2011       9:48:00
68609      8284474943      3/11/2011        16:39:58
68610      8284475536      3/1/2012         11:52:47
68611      8284477221      7/30/2012        13:14:16
68612      8284477840      12/19/2011       7:26:13
68613      8284478295      12/12/2011       12:14:13
68614      8284479153      9/15/2011        7:52:28
68615      8284479896      7/23/2012        15:17:25
68616      8284480731      10/10/2011       12:15:12
68617      8284484982      12/28/2011       7:03:38
68618      8284484982      1/11/2012        7:24:25
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68619      8284485095      1/3/2012         19:40:16
68620      8284489894      7/30/2012        13:48:23
68621      8284497757      5/21/2012        17:27:08
68622      8284499340      7/28/2012        8:42:24
68623      8284502109      11/11/2011       13:34:42
68624      8284502676      9/2/2011         12:47:22
68625      8284504954      10/17/2012       9:41:10
68626      8284507872      3/15/2012        18:53:32
68627      8284507875      10/18/2011       12:00:54
68628      8284550613      8/3/2012         16:26:41
68629      8284550807      10/25/2011       15:17:43
68630      8284552382      4/3/2012         16:05:42
68631      8284575305      12/21/2011       10:05:05
68632      8284581008      12/10/2011       13:18:09
68633      8284581008      1/11/2012        7:40:53
68634      8284581008      5/29/2012        17:13:03
68635      8284581402      3/19/2012        7:22:30
68636      8284582494      10/7/2011        7:09:24
68637      8284582641      5/22/2012        18:48:07
68638      8284586755      11/12/2011       10:11:38
68639      8284587724      4/12/2012        12:14:22
68640      8284600269      5/29/2012        17:03:07
68641      8284600749      8/8/2012         7:10:59
68642      8284602607      4/10/2012        16:19:54
68643      8284605132      9/7/2012         15:49:55
68644      8284606001      1/21/2012        8:18:55
68645      8284606807      10/12/2012       16:40:09
68646      8284606961      6/23/2012        15:57:47
68647      8284608157      3/15/2011        12:38:55
68648      8284612291      11/7/2011        7:41:01
68649      8284617040      5/8/2012         17:15:46
68650      8284617198      8/20/2012        7:44:53
68651      8284642626      7/21/2011        7:02:35
68652      8284662590      10/19/2012       19:02:28
68653      8284671286      12/22/2011       9:01:39
68654      8284673265      4/12/2012        13:07:43
68655      8284673985      12/22/2011       8:46:33
68656      8284677308      4/18/2012        18:03:09
68657      8284677809      9/26/2011        8:32:34
68658      8284677809      10/10/2011       11:37:00
68659      8284678622      11/4/2011        7:25:51
68660      8284748607      3/12/2012        19:16:48
68661      8284748607      6/12/2012        17:10:01
68662      8284856052      11/22/2011       19:25:46
68663      8284858912      10/16/2012       16:33:04
68664      8284892022      8/23/2011        18:57:28
68665      8284894447      9/29/2013        12:08:35
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68666      8284897587      11/3/2011        17:37:57
68667      8284967233      5/22/2012        18:38:30
68668      8284974149      12/15/2011       8:27:35
68669      8284974149      12/27/2011       14:13:45
68670      8285029432      9/11/2012        7:46:49
68671      8285029432      9/19/2012        21:29:55
68672      8285055674      7/7/2012         10:20:13
68673      8285059300      2/11/2012        11:06:06
68674      8285061463      12/29/2011       18:48:06
68675      8285061601      10/5/2011        14:38:44
68676      8285062149      5/13/2012        17:17:25
68677      8285063099      9/26/2011        8:13:47
68678      8285063099      10/7/2011        7:16:36
68679      8285071921      4/12/2012        12:27:00
68680      8285071944      9/26/2012        15:17:22
68681      8285083641      10/11/2012       18:56:20
68682      8285083723      10/17/2012       18:28:37
68683      8285086146      12/19/2011       7:18:35
68684      8285140711      7/7/2012         10:00:42
68685      8285141549      9/14/2011        7:05:26
68686      8285147788      10/15/2011       10:26:26
68687      8285147788      10/25/2011       15:26:21
68688      8285255491      11/28/2011       16:35:06
68689      8285273900      11/15/2011       16:48:29
68690      8285277837      3/23/2012        7:13:55
68691      8285451181      10/27/2011       16:26:11
68692      8285451181      11/26/2011       12:41:33
68693      8285451181      12/28/2011       7:24:09
68694      8285453886      9/28/2011        10:17:11
68695      8285453886      10/10/2011       11:45:17
68696      8285456378      7/5/2012         15:29:36
68697      8285457736      10/17/2011       7:35:43
68698      8285457736      11/18/2011       13:27:35
68699      8285500973      12/19/2011       7:37:55
68700      8285501061      3/6/2012         15:41:05
68701      8285501061      8/4/2012         7:25:56
68702      8285501785      9/14/2011        11:54:59
68703      8285502157      9/14/2012        7:02:37
68704      8285502753      10/5/2012        18:28:44
68705      8285502860      4/22/2012        15:08:42
68706      8285502995      10/17/2012       18:29:49
68707      8285503926      4/9/2011         13:37:56
68708      8285505632      12/30/2011       7:08:08
68709      8285506452      2/13/2012        18:20:50
68710      8285506979      3/24/2012        9:49:56
68711      8285508597      8/5/2011         17:43:18
68712      8285510039      10/24/2011       7:01:56
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68713      8285513214      6/23/2012        16:17:44
68714      8285513771      2/6/2012         7:10:03
68715      8285515508      10/15/2012       9:52:07
68716      8285515913      1/9/2012         18:03:29
68717      8285519011      10/29/2011       10:34:09
68718      8285519658      10/28/2011       13:23:45
68719      8285533214      12/1/2011        15:15:34
68720      8285536603      10/10/2012       19:04:05
68721      8285536603      10/20/2012       16:19:08
68722      8285538661      11/19/2011       8:11:43
68723      8285539147      5/26/2012        8:33:31
68724      8285573093      11/12/2011       9:06:26
68725      8285573128      11/17/2011       16:14:32
68726      8285574255      4/3/2012         10:15:51
68727      8285579014      8/3/2012         16:28:55
68728      8285753963      3/12/2012        19:35:42
68729      8285772119      3/16/2012        10:34:32
68730      8285776109      10/3/2012        19:51:07
68731      8285776444      9/8/2011         19:40:24
68732      8285820421      1/7/2012         8:25:20
68733      8285820421      1/23/2012        7:09:28
68734      8285820421      5/21/2012        7:24:15
68735      8285821928      4/21/2012        9:14:53
68736      8285821928      5/21/2012        7:31:42
68737      8285822816      10/1/2012        13:41:08
68738      8285826334      2/25/2012        10:58:33
68739      8285826357      10/10/2011       12:11:43
68740      8285826357      10/14/2011       13:06:59
68741      8285939008      12/20/2011       19:32:39
68742      8285939581      12/2/2011        7:39:49
68743      8286062142      5/11/2012        7:06:26
68744      8286064970      12/14/2011       17:53:02
68745      8286066084      7/13/2012        7:39:34
68746      8286066095      10/11/2011       16:58:48
68747      8286066191      5/13/2011        11:22:51
68748      8286067234      1/11/2012        16:27:53
68749      8286068279      1/3/2012         10:58:55
68750      8286068689      10/3/2011        7:49:20
68751      8286069081      9/21/2011        11:49:10
68752      8286101330      8/17/2012        7:02:53
68753      8286121782      2/13/2012        18:23:25
68754      8286121782      3/12/2012        19:05:07
68755      8286125123      3/20/2012        9:23:15
68756      8286127171      7/27/2011        17:23:06
68757      8286252991      2/7/2012         16:45:04
68758      8286323588      12/20/2011       19:21:59
68759      8286400800      10/25/2011       15:22:53
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68760      8286403666      3/24/2012        9:49:28
68761      8286404223      9/3/2012         14:46:39
68762      8286405950      8/7/2012         17:50:13
68763      8286407221      10/18/2011       12:48:07
68764      8286408343      9/16/2011        12:52:19
68765      8286408832      10/5/2011        14:05:58
68766      8286408832      10/11/2011       16:11:09
68767      8286408832      11/28/2011       11:21:14
68768      8286448262      10/16/2012       16:37:28
68769      8286558048      1/19/2012        18:25:19
68770      8286742164      5/26/2011        17:51:06
68771      8286744342      11/19/2011       8:52:30
68772      8286910984      12/15/2011       8:24:48
68773      8286911494      1/18/2012        10:26:00
68774      8286911706      3/26/2012        18:21:02
68775      8286965533      12/10/2011       11:53:44
68776      8287021230      5/16/2012        16:56:03
68777      8287023092      10/2/2012        12:56:46
68778      8287023487      10/22/2011       12:22:13
68779      8287071478      2/10/2012        7:04:17
68780      8287071665      2/25/2012        10:31:59
68781      8287076613      9/12/2012        7:45:16
68782      8287077596      12/11/2011       12:21:22
68783      8287120379      1/19/2012        18:34:48
68784      8287121345      9/10/2011        8:49:35
68785      8287122979      2/17/2012        18:10:42
68786      8287129641      5/31/2012        15:04:04
68787      8287130570      12/10/2011       14:39:58
68788      8287133743      7/18/2011        7:17:41
68789      8287138331      11/22/2011       19:17:04
68790      8287195439      2/21/2012        17:38:03
68791      8287292982      3/28/2011        15:18:37
68792      8287336067      10/25/2011       16:05:58
68793      8287340699      1/12/2012        14:15:28
68794      8287342416      7/9/2012         19:10:39
68795      8287343372      4/15/2012        15:14:37
68796      8287345658      11/26/2011       11:46:42
68797      8287350645      9/21/2012        18:51:35
68798      8287351807      1/9/2012         7:05:49
68799      8287351807      5/21/2012        7:02:57
68800      8287353220      4/30/2012        14:26:01
68801      8287359337      10/8/2011        9:23:10
68802      8287366868      10/25/2011       15:24:05
68803      8287483460      9/29/2011        15:29:30
68804      8287484131      10/3/2012        19:54:23
68805      8287487180      10/11/2011       15:05:42
68806      8287487787      10/5/2011        14:08:33
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68807      8287488634      12/22/2011       8:55:20
68808      8287488975      1/9/2012         18:03:28
68809      8287489453      10/6/2011        17:28:01
68810      8287554377      8/20/2012        7:51:04
68811      8287643237      6/19/2012        15:41:55
68812      8287682947      6/15/2012        16:43:19
68813      8287689629      9/23/2011        7:03:01
68814      8287720270      12/13/2011       18:49:58
68815      8287724202      10/5/2012        18:15:44
68816      8287735045      6/9/2012         14:42:52
68817      8287738619      12/27/2011       14:33:21
68818      8287750675      8/19/2012        11:55:40
68819      8287752139      11/15/2011       15:14:17
68820      8287753109      8/20/2012        7:41:35
68821      8287753535      2/28/2012        13:33:27
68822      8287754124      9/28/2011        10:05:09
68823      8287754248      1/27/2012        9:55:48
68824      8287760113      5/26/2012        14:30:43
68825      8287760113      6/20/2012        7:47:19
68826      8287761107      3/15/2012        7:12:01
68827      8287761380      12/5/2011        8:33:35
68828      8287762270      1/9/2012         18:28:22
68829      8287766129      1/12/2012        7:04:42
68830      8287769096      9/18/2013        14:54:28
68831      8287769474      9/1/2011         8:35:02
68832      8287770789      11/26/2011       12:32:12
68833      8287773388      11/30/2011       15:20:31
68834      8287774195      12/8/2011        12:33:24
68835      8287774844      4/5/2012         15:57:57
68836      8287774858      10/4/2011        13:34:56
68837      8287777097      5/12/2012        8:43:31
68838      8287779947      11/14/2011       16:57:32
68839      8287788702      11/11/2011       14:35:02
68840      8287810823      10/3/2011        7:03:32
68841      8287812766      9/21/2012        18:47:47
68842      8287813373      5/23/2012        15:06:58
68843      8287819762      12/24/2011       7:01:55
68844      8287819762      1/14/2012        8:21:12
68845      8287881057      12/28/2011       17:47:20
68846      8287881597      3/10/2012        9:01:13
68847      8287887013      10/26/2011       8:14:27
68848      8287887737      6/16/2012        15:10:40
68849      8288030394      7/26/2012        19:14:34
68850      8288031614      6/9/2012         10:27:09
68851      8288032004      6/5/2012         7:27:42
68852      8288032405      10/6/2011        16:24:52
68853      8288034101      10/3/2012        19:54:43
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68854      8288034900      7/23/2012        15:17:43
68855      8288081377      12/30/2011       8:05:51
68856      8288081440      10/24/2013       7:05:00
68857      8288081931      4/26/2012        8:14:16
68858      8288086142      3/14/2012        19:29:00
68859      8288086244      1/3/2012         19:42:12
68860      8288086654      11/28/2011       17:32:06
68861      8288088876      7/18/2011        7:32:15
68862      8288171325      11/21/2011       7:14:26
68863      8288172962      6/18/2012        15:32:55
68864      8288172962      6/23/2012        15:56:31
68865      8288173027      3/2/2012         9:29:22
68866      8288326233      3/30/2012        16:02:23
68867      8288356152      10/10/2011       12:13:24
68868      8288500406      9/23/2011        18:33:49
68869      8288500438      8/3/2011         11:41:04
68870      8288506068      2/28/2012        15:57:15
68871      8288511255      2/10/2012        7:07:07
68872      8288511255      3/2/2012         18:56:55
68873      8288965712      7/13/2012        18:32:13
68874      8288965869      2/6/2012         17:11:56
68875      8288971066      3/12/2012        7:22:58
68876      8289190104      11/18/2011       13:31:14
68877      8289250654      12/7/2011        14:16:30
68878      8289251204      6/11/2011        8:09:31
68879      8289252519      12/1/2011        8:00:00
68880      8289253239      12/20/2011       19:34:42
68881      8289621911      7/12/2012        7:10:22
68882      8289627748      11/22/2011       18:27:55
68883      8289627748      11/26/2011       11:40:31
68884      8289629313      8/4/2012         7:27:23
68885      8289641773      9/27/2011        18:11:31
68886      8289645560      4/23/2011        10:08:30
68887      8289800062      10/29/2011       10:36:18
68888      8289800845      12/6/2011        14:22:59
68889      8289804162      8/17/2011        19:10:33
68890      8289890271      12/17/2011       11:52:42
68891      8289890702      10/22/2011       12:28:42
68892      8289891399      10/12/2012       16:51:34
68893      8289896741      1/8/2012         12:52:13
68894      8302009137      5/7/2012         8:16:29
68895      8302038959      10/17/2011       8:03:07
68896      8302145218      11/18/2011       12:22:37
68897      8302145710      10/6/2011        17:50:09
68898      8302145710      10/20/2011       16:30:21
68899      8302210581      5/30/2012        9:20:06
68900      8302215552      10/9/2012        20:06:23
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68901      8302217260      9/21/2012        18:43:59
68902      8302371273      3/13/2012        12:48:57
68903      8302373114      11/16/2011       9:49:26
68904      8302373485      1/21/2012        8:49:40
68905      8302373485      3/8/2012         20:26:51
68906      8302375243      9/8/2011         19:30:15
68907      8302376116      5/31/2012        15:01:08
68908      8302376116      6/18/2012        15:26:45
68909      8302376676      11/4/2011        8:55:16
68910      8302377761      4/5/2012         13:53:12
68911      8302551610      9/9/2011         18:24:27
68912      8302632058      12/1/2011        15:02:59
68913      8302650154      9/27/2012        8:41:21
68914      8302657442      10/24/2011       8:05:55
68915      8302657676      3/30/2012        10:18:54
68916      8302670180      4/10/2012        11:55:38
68917      8302750686      3/8/2012         20:26:11
68918      8302753021      1/4/2012         11:06:51
68919      8302780045      12/21/2011       18:41:33
68920      8302780554      7/24/2012        20:33:11
68921      8302791012      5/17/2012        16:41:23
68922      8302792485      10/18/2011       12:23:45
68923      8302792555      5/7/2012         8:22:49
68924      8302793658      7/28/2012        9:01:16
68925      8302795056      5/11/2012        18:27:40
68926      8302795056      7/19/2012        8:29:53
68927      8302795056      9/13/2012        7:40:02
68928      8302799035      5/1/2012         17:46:43
68929      8302856270      5/11/2012        14:41:42
68930      8302990645      9/27/2011        15:29:35
68931      8302999385      1/10/2012        15:32:14
68932      8303050772      12/17/2011       12:06:26
68933      8303053683      11/23/2011       14:40:29
68934      8303053985      10/4/2011        13:52:13
68935      8303058863      10/7/2012        13:00:38
68936      8303131141      1/17/2012        18:45:42
68937      8303138282      10/25/2011       15:34:30
68938      8303220233      12/19/2011       8:19:05
68939      8303221464      1/7/2012         9:35:58
68940      8303250601      8/5/2011         18:01:42
68941      8303250876      5/11/2012        12:27:17
68942      8303251089      3/12/2012        19:08:34
68943      8303251266      3/19/2012        19:01:58
68944      8303251266      3/27/2012        11:01:28
68945      8303251857      12/17/2011       11:33:31
68946      8303253397      5/2/2012         13:07:41
68947      8303253795      10/11/2011       17:33:06
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68948      8303255514      9/28/2011        11:20:19
68949      8303255856      1/4/2012         20:22:26
68950      8303258368      4/2/2012         20:07:43
68951      8303259042      7/26/2012        19:15:05
68952      8303259983      2/11/2012        11:16:39
68953      8303332019      10/11/2011       17:17:48
68954      8303332075      12/16/2011       16:20:02
68955      8303510018      2/17/2012        9:18:56
68956      8303510421      9/28/2012        14:27:52
68957      8303525581      6/20/2012        9:11:57
68958      8303526536      3/29/2012        17:36:44
68959      8303701398      9/29/2011        15:18:02
68960      8303701398      10/14/2011       13:22:57
68961      8303701938      1/16/2012        17:30:10
68962      8303701938      7/16/2012        9:31:08
68963      8303702338      6/28/2012        14:26:23
68964      8303703238      1/13/2012        17:28:12
68965      8303746607      10/11/2011       17:20:31
68966      8303773606      1/10/2012        15:32:18
68967      8303852090      12/17/2011       11:35:31
68968      8303852738      10/16/2012       16:40:41
68969      8303854129      6/11/2011        9:21:23
68970      8303856343      9/26/2012        17:11:11
68971      8303856343      10/9/2012        20:09:09
68972      8303871403      11/25/2011       18:27:23
68973      8303871412      7/14/2011        16:32:26
68974      8303871574      11/25/2011       17:46:33
68975      8303871574      12/24/2011       8:20:02
68976      8303913185      1/20/2012        11:47:11
68977      8303913956      9/10/2012        10:24:36
68978      8303915521      9/5/2012         15:20:39
68979      8304210209      10/15/2011       9:31:45
68980      8304210534      4/7/2012         9:31:51
68981      8304220019      5/17/2012        17:03:52
68982      8304224435      11/29/2011       16:18:23
68983      8304234631      6/22/2012        8:07:49
68984      8304234661      7/15/2011        17:34:06
68985      8304234757      3/23/2012        19:40:03
68986      8304237119      9/22/2011        15:25:51
68987      8304288070      10/25/2013       9:39:08
68988      8304330479      11/17/2011       16:47:33
68989      8304441099      9/16/2011        13:34:44
68990      8304446445      10/25/2012       12:16:09
68991      8304446875      10/10/2011       12:42:26
68992      8304460190      1/13/2012        8:03:43
68993      8304460190      4/3/2012         10:37:17
68994      8304489822      2/12/2012        15:43:45
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68995      8304563342      8/3/2012         12:29:07
68996      8304697503      2/8/2012         12:50:35
68997      8304699532      1/27/2012        18:00:38
68998      8304699778      9/27/2011        18:40:26
68999      8304699778      10/4/2011        13:18:13
69000      8304778514      4/21/2011        12:39:32
69001      8304818908      4/11/2012        20:38:30
69002      8304862552      10/12/2011       8:38:18
69003      8304882503      4/24/2012        12:10:33
69004      8304883087      11/17/2011       16:49:37
69005      8304883180      10/10/2012       19:12:52
69006      8304885104      5/11/2012        10:48:14
69007      8304885104      5/29/2012        10:55:50
69008      8304911118      1/14/2012        13:29:46
69009      8304917296      3/19/2012        19:21:55
69010      8305131686      12/23/2011       14:23:26
69011      8305132082      3/13/2012        17:05:04
69012      8305132082      5/21/2012        8:16:52
69013      8305133170      5/4/2012         14:54:45
69014      8305133601      6/18/2011        15:26:13
69015      8305135501      9/20/2011        18:23:04
69016      8305138184      1/13/2012        17:36:24
69017      8305156754      2/15/2012        8:14:46
69018      8305157490      4/18/2012        8:11:24
69019      8305159244      10/8/2011        11:51:32
69020      8305159377      9/6/2012         12:33:51
69021      8305159377      9/21/2012        18:41:45
69022      8305159377      10/3/2012        19:49:23
69023      8305341696      5/2/2012         13:13:40
69024      8305349893      12/1/2011        8:06:03
69025      8305561056      12/14/2011       18:02:39
69026      8305562131      5/4/2012         14:54:34
69027      8305566276      2/21/2012        17:59:23
69028      8305566758      10/18/2011       12:21:01
69029      8305570211      12/9/2011        13:16:07
69030      8305570552      9/27/2011        18:39:09
69031      8305570605      3/8/2012         9:11:59
69032      8305573804      5/27/2012        14:01:18
69033      8305600429      10/9/2012        20:03:03
69034      8305600429      10/25/2012       19:47:59
69035      8305600563      12/22/2011       9:42:55
69036      8305702006      9/12/2011        13:24:23
69037      8305703857      9/16/2011        14:59:12
69038      8305707367      10/18/2012       16:30:52
69039      8305708350      12/1/2011        8:02:02
69040      8306130207      10/13/2011       8:41:05
69041      8306132315      3/9/2012         9:12:05
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69042      8306134056      1/4/2012         11:04:15
69043      8306135127      10/21/2011       13:30:49
69044      8306137394      10/13/2011       8:31:28
69045      8306137875      11/5/2011        10:06:32
69046      8306245983      1/24/2012        17:05:38
69047      8306249106      5/1/2012         17:43:57
69048      8306379862      10/18/2011       12:26:44
69049      8306606375      10/29/2011       11:42:18
69050      8306606767      10/7/2011        8:06:00
69051      8306608305      5/31/2012        8:06:34
69052      8306608305      6/19/2012        15:45:08
69053      8306608585      9/29/2011        15:54:28
69054      8306881215      11/17/2011       16:48:18
69055      8306882440      10/5/2012        12:26:49
69056      8306886558      12/18/2011       17:06:59
69057      8307085473      4/9/2011         13:41:04
69058      8307342818      12/17/2011       12:02:29
69059      8307345628      5/23/2012        16:50:34
69060      8307392111      4/22/2012        15:32:02
69061      8307394555      5/19/2012        9:33:48
69062      8307395572      12/9/2011        8:02:17
69063      8307395572      2/26/2012        13:19:21
69064      8307410572      1/11/2012        8:56:48
69065      8307437350      9/19/2011        8:27:15
69066      8307653436      2/2/2012         11:11:05
69067      8307654479      5/6/2012         18:25:10
69068      8307655367      5/3/2012         8:10:32
69069      8307655367      5/14/2012        8:04:08
69070      8307655367      5/21/2012        8:04:31
69071      8307655367      5/21/2012        8:19:30
69072      8307656170      4/18/2012        17:58:59
69073      8307762438      12/2/2011        8:18:30
69074      8307763126      9/4/2012         15:44:29
69075      8307763738      5/28/2012        8:59:57
69076      8307766376      3/19/2012        11:54:15
69077      8307768968      10/11/2011       17:45:14
69078      8307769822      4/19/2012        20:14:59
69079      8308220109      1/18/2012        16:51:35
69080      8308220330      12/19/2011       8:13:50
69081      8308220330      1/27/2012        17:46:17
69082      8308221128      9/27/2011        18:42:39
69083      8308221358      3/23/2012        19:53:22
69084      8308221358      4/9/2012         17:53:41
69085      8308221358      5/21/2012        8:17:49
69086      8308221358      7/3/2012         12:28:07
69087      8308222610      3/13/2012        12:50:37
69088      8308222610      3/28/2012        8:16:17
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69089      8308222610      5/14/2012        8:13:20
69090      8308222610      9/8/2012         11:39:27
69091      8308224269      1/25/2012        9:21:15
69092      8308226966      10/28/2011       13:35:03
69093      8308328479      9/16/2011        12:51:49
69094      8308340328      10/26/2011       12:23:38
69095      8308371510      7/18/2012        8:33:03
69096      8308373624      10/23/2012       16:09:35
69097      8308541753      11/10/2011       8:07:17
69098      8308576184      1/18/2012        16:42:29
69099      8308657390      8/6/2011         9:23:20
69100      8308657390      9/8/2011         18:02:33
69101      8308721483      8/8/2012         8:18:22
69102      8308725430      1/11/2012        8:56:38
69103      8308725465      4/12/2012        12:22:48
69104      8308725465      5/31/2012        15:09:56
69105      8308726189      3/29/2012        16:34:47
69106      8308727033      3/9/2012         9:11:14
69107      8308727308      1/6/2012         14:57:56
69108      8308766660      12/8/2011        19:48:15
69109      8308766712      5/26/2012        14:39:21
69110      8308766759      10/11/2011       17:20:03
69111      8309282668      10/17/2011       9:09:51
69112      8309311175      9/19/2011        8:05:01
69113      8309314127      6/17/2011        15:17:22
69114      8309550507      4/27/2012        12:02:48
69115      8309552676      5/12/2012        10:20:21
69116      8309655700      6/5/2012         12:19:53
69117      8309682190      10/16/2012       8:46:22
69118      8309682620      7/12/2012        19:53:34
69119      8309688809      2/9/2012         20:44:50
69120      8309921415      1/27/2012        18:03:27
69121      8309984334      1/6/2012         12:50:38
69122      8312061228      7/11/2012        17:17:28
69123      8312062591      8/3/2012         16:26:28
69124      8312067105      11/15/2011       16:41:03
69125      8312067105      11/23/2011       14:44:46
69126      8312070546      9/4/2012         21:49:08
69127      8312071086      11/11/2011       20:12:23
69128      8312073521      3/26/2012        18:48:55
69129      8312076097      10/8/2011        12:27:50
69130      8312076847      5/7/2012         14:53:55
69131      8312100928      9/14/2011        21:27:04
69132      8312104790      8/16/2012        19:49:41
69133      8312124639      5/5/2012         12:29:11
69134      8312144072      3/5/2012         8:10:00
69135      8312146473      4/29/2012        18:02:41
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69136      8312233755      11/1/2013        18:36:29
69137      8312236598      8/27/2011        12:23:38
69138      8312244142      6/30/2011        10:35:14
69139      8312293634      5/10/2012        21:30:39
69140      8312298225      3/23/2012        19:57:13
69141      8312334512      9/6/2012         12:36:17
69142      8312334674      9/24/2011        10:05:18
69143      8312351929      7/6/2012         16:58:50
69144      8312356455      4/4/2012         18:56:10
69145      8312367475      3/23/2012        19:56:30
69146      8312402677      2/20/2012        17:17:14
69147      8312403956      9/19/2012        16:26:11
69148      8312407594      1/27/2012        18:08:04
69149      8312408976      11/17/2011       16:35:25
69150      8312457086      9/28/2012        14:18:21
69151      8312459883      1/3/2012         19:53:06
69152      8312471069      5/12/2011        11:04:18
69153      8312545134      7/26/2012        19:16:02
69154      8312547211      2/15/2012        14:38:02
69155      8312614489      4/16/2012        15:54:26
69156      8312616763      9/21/2011        11:37:05
69157      8312617844      5/23/2012        16:39:41
69158      8312623978      9/18/2012        21:29:12
69159      8312629087      8/13/2012        20:54:34
69160      8312643581      1/23/2012        10:16:36
69161      8312690382      11/3/2011        17:31:10
69162      8312691984      11/15/2011       20:17:22
69163      8312699383      12/26/2011       20:37:23
69164      8312775643      6/19/2012        12:01:51
69165      8312778063      7/25/2012        20:40:15
69166      8312972612      11/22/2011       18:58:44
69167      8313168092      3/27/2012        10:42:25
69168      8313205107      1/20/2012        20:31:31
69169      8313319041      5/6/2012         21:03:16
69170      8313319120      10/7/2011        10:13:43
69171      8313324284      5/14/2012        15:43:50
69172      8313455910      10/22/2012       10:29:03
69173      8313590702      11/29/2011       15:19:03
69174      8313831266      4/6/2012         15:46:14
69175      8313832541      12/24/2011       11:32:33
69176      8313833312      8/22/2012        21:46:30
69177      8313834480      5/7/2012         21:36:47
69178      8313834512      5/15/2012        19:10:59
69179      8314024634      5/10/2012        21:29:46
69180      8314026341      5/31/2012        17:48:01
69181      8314211731      2/25/2012        10:36:48
69182      8314281941      3/19/2012        11:49:36
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69183      8314285450      4/23/2012        20:44:10
69184      8314317901      10/4/2011        13:26:59
69185      8314358712      6/25/2012        13:30:53
69186      8314442759      5/23/2012        16:52:06
69187      8315123620      9/27/2011        20:15:18
69188      8315210125      10/23/2012       16:02:27
69189      8315217922      1/13/2012        17:18:57
69190      8315240525      5/23/2012        16:32:50
69191      8315252174      2/9/2012         20:37:50
69192      8315373873      5/10/2011        19:41:52
69193      8315374409      9/23/2011        19:07:23
69194      8315408516      1/20/2012        11:35:55
69195      8315783805      10/5/2011        14:52:08
69196      8315788336      1/6/2012         13:00:33
69197      8315788836      12/10/2011       12:31:00
69198      8315807389      12/7/2011        16:31:07
69199      8315807884      7/6/2012         14:43:26
69200      8315850741      11/16/2011       10:56:18
69201      8315858464      8/16/2012        19:55:00
69202      8315883263      10/15/2011       11:12:21
69203      8315886640      11/7/2011        11:03:35
69204      8315940684      9/19/2011        19:21:24
69205      8316006416      4/16/2012        15:42:44
69206      8316015479      12/23/2011       13:31:44
69207      8316133497      12/12/2011       16:43:46
69208      8316367367      7/13/2012        21:17:43
69209      8316639972      12/21/2011       10:34:25
69210      8316646652      12/26/2011       20:10:22
69211      8316646819      3/28/2012        18:14:43
69212      8316648369      7/28/2011        10:25:24
69213      8316648369      10/29/2011       12:01:30
69214      8316648760      2/7/2012         20:26:58
69215      8316820443      6/5/2012         17:55:14
69216      8317075936      2/13/2012        18:32:29
69217      8317101505      1/13/2012        17:30:32
69218      8317138175      9/27/2011        18:56:59
69219      8317266777      10/12/2012       16:55:21
69220      8317266777      10/22/2012       18:02:38
69221      8317372543      4/27/2012        21:52:27
69222      8317372571      9/16/2011        13:37:58
69223      8317374562      4/5/2012         14:03:53
69224      8317375369      1/16/2012        12:11:39
69225      8317377529      12/1/2011        14:42:13
69226      8317474434      10/13/2011       10:37:26
69227      8317474916      9/20/2011        18:59:39
69228      8317474916      9/28/2011        11:34:47
69229      8317502830      6/25/2011        15:47:43
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69230      8317505081      4/15/2012        18:05:59
69231      8317509153      10/12/2011       11:55:40
69232      8317560553      3/23/2012        14:50:05
69233      8317741215      10/13/2011       10:31:13
69234      8317741442      9/11/2012        15:12:27
69235      8317760229      12/20/2011       15:10:18
69236      8317760332      12/21/2011       19:59:21
69237      8317765539      11/22/2011       19:51:42
69238      8317766246      4/9/2012         17:56:06
69239      8317866891      9/21/2011        13:52:00
69240      8317866891      11/18/2011       13:26:50
69241      8317942062      4/2/2012         17:45:05
69242      8317942344      10/16/2012       16:30:56
69243      8317945588      4/26/2012        11:42:20
69244      8317945769      7/16/2011        9:11:01
69245      8317947465      2/24/2012        20:58:51
69246      8318011444      2/4/2012         13:14:44
69247      8318015734      9/12/2011        14:35:34
69248      8318090467      9/20/2011        20:51:13
69249      8318095458      10/22/2011       13:24:04
69250      8318186446      1/16/2012        17:19:25
69251      8318188650      8/3/2012         12:41:06
69252      8318219287      4/25/2012        21:24:08
69253      8318219287      6/11/2012        17:38:02
69254      8318219493      7/7/2012         10:51:53
69255      8318402221      3/8/2012         15:41:21
69256      8318403709      9/26/2011        13:30:56
69257      8318695153      9/13/2011        13:43:40
69258      8318699010      3/13/2012        12:55:37
69259      8319054911      2/10/2012        20:44:31
69260      8319178724      9/8/2011         18:16:28
69261      8319179797      10/11/2012       18:52:41
69262      8319208811      10/16/2012       20:28:22
69263      8319704762      5/20/2012        15:52:32
69264      8319984847      11/10/2011       17:31:17
69265      8319984847      1/3/2012         15:33:47
69266      8322023203      4/13/2012        13:37:49
69267      8322024164      9/30/2011        10:05:19
69268      8322024181      3/27/2012        15:06:19
69269      8322025226      10/12/2011       12:16:25
69270      8322025316      7/12/2012        15:51:51
69271      8322027949      5/19/2012        9:29:55
69272      8322028616      9/23/2011        19:03:48
69273      8322029196      6/15/2012        16:51:11
69274      8322029428      6/11/2012        17:35:55
69275      8322032148      10/26/2011       12:24:25
69276      8322032797      8/31/2011        11:00:06
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69277      8322039842      11/28/2011       17:03:25
69278      8322051737      2/25/2012        10:40:19
69279      8322051887      4/11/2012        20:37:00
69280      8322052051      3/6/2014         11:48:00
69281      8322052941      9/12/2011        13:26:10
69282      8322060100      5/25/2011        17:44:47
69283      8322060309      5/22/2012        18:39:52
69284      8322061225      12/21/2011       9:59:43
69285      8322061601      1/24/2012        17:20:08
69286      8322064553      8/2/2012         11:31:12
69287      8322064553      8/8/2012         16:07:19
69288      8322066606      10/15/2012       10:06:20
69289      8322067975      3/29/2012        11:46:20
69290      8322068459      10/19/2013       8:13:13
69291      8322068755      4/3/2012         20:13:45
69292      8322069166      6/25/2011        8:15:12
69293      8322070584      8/1/2012         8:28:25
69294      8322070980      7/20/2011        14:55:31
69295      8322072597      10/1/2012        8:40:23
69296      8322073569      2/20/2012        16:54:23
69297      8322073799      9/20/2011        16:48:24
69298      8322074002      7/17/2012        12:25:24
69299      8322074480      5/5/2011         13:18:07
69300      8322075859      9/21/2011        11:53:03
69301      8322077513      7/16/2012        9:38:35
69302      8322081043      11/5/2013        13:54:05
69303      8322082140      6/20/2011        14:16:24
69304      8322083515      11/22/2011       18:43:52
69305      8322085079      9/28/2011        14:32:25
69306      8322086234      4/4/2012         8:22:00
69307      8322086234      4/15/2012        19:58:05
69308      8322087893      5/12/2012        8:46:19
69309      8322088812      9/23/2011        18:47:11
69310      8322089301      12/15/2011       8:22:21
69311      8322090324      11/29/2011       15:01:11
69312      8322090431      9/10/2011        9:16:30
69313      8322123047      4/18/2012        17:58:44
69314      8322123618      7/8/2012         13:33:43
69315      8322125678      4/12/2012        18:25:09
69316      8322127289      2/8/2012         12:58:18
69317      8322127512      1/4/2012         20:10:07
69318      8322136822      12/23/2011       13:27:57
69319      8322136822      1/23/2012        19:18:59
69320      8322136822      6/23/2012        16:14:02
69321      8322137621      7/26/2012        19:14:32
69322      8322138042      12/17/2011       12:04:25
69323      8322139331      9/22/2011        15:24:15
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69324      8322148550      4/19/2012        15:17:37
69325      8322148550      8/22/2012        11:30:03
69326      8322148593      10/25/2012       19:48:08
69327      8322154089      3/15/2012        19:21:37
69328      8322158570      12/28/2011       17:54:51
69329      8322158603      4/21/2011        11:21:59
69330      8322159082      3/9/2012         9:14:56
69331      8322162459      10/22/2012       17:50:05
69332      8322163337      12/14/2011       14:47:24
69333      8322163579      5/24/2012        11:55:09
69334      8322164841      12/1/2011        8:17:14
69335      8322170643      8/10/2011        18:50:02
69336      8322176677      10/11/2011       17:28:18
69337      8322179319      8/13/2011        10:21:55
69338      8322210869      12/10/2011       13:47:09
69339      8322211190      10/4/2011        13:52:29
69340      8322214634      11/17/2011       15:41:24
69341      8322214683      4/7/2012         9:02:52
69342      8322214683      5/26/2012        8:43:26
69343      8322215432      2/13/2012        18:29:53
69344      8322215828      2/2/2012         11:40:28
69345      8322215841      2/13/2012        8:03:57
69346      8322217582      8/20/2012        10:01:07
69347      8322263741      3/13/2012        16:54:32
69348      8322263905      7/31/2012        15:36:39
69349      8322280698      3/13/2012        16:56:57
69350      8322282343      7/20/2011        14:55:30
69351      8322283050      9/19/2011        19:13:20
69352      8322284258      7/28/2012        9:05:46
69353      8322285722      5/9/2012         9:12:10
69354      8322287207      6/15/2012        16:51:20
69355      8322290732      3/23/2011        20:13:16
69356      8322291372      9/25/2012        14:55:40
69357      8322292508      7/21/2012        10:45:52
69358      8322295726      11/14/2011       17:02:36
69359      8322295919      8/17/2012        8:27:34
69360      8322296431      9/29/2011        15:20:27
69361      8322297925      6/21/2012        18:44:34
69362      8322309434      8/24/2012        11:10:07
69363      8322316712      1/6/2012         15:57:04
69364      8322316937      6/29/2011        17:41:18
69365      8322330176      2/26/2012        13:20:31
69366      8322330478      1/19/2012        8:08:25
69367      8322330478      6/26/2012        16:16:04
69368      8322331850      5/3/2012         8:16:53
69369      8322331850      5/21/2012        8:03:57
69370      8322333769      4/29/2012        17:30:22
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69371      8322333896      2/9/2012         9:34:28
69372      8322335385      1/10/2012        15:18:21
69373      8322337030      3/27/2012        14:54:54
69374      8322339361      7/11/2012        9:42:51
69375      8322339361      7/20/2012        15:05:03
69376      8322339952      7/20/2011        13:53:27
69377      8322353761      12/21/2011       9:56:37
69378      8322355487      3/20/2012        17:51:04
69379      8322356897      3/7/2012         18:33:42
69380      8322360357      5/17/2011        9:24:52
69381      8322360972      12/30/2011       17:17:27
69382      8322363076      9/28/2012        16:47:39
69383      8322365748      5/3/2012         8:15:26
69384      8322367700      5/29/2012        17:15:11
69385      8322381809      6/30/2012        15:56:02
69386      8322428071      9/27/2011        18:14:43
69387      8322440169      10/17/2012       18:31:27
69388      8322441032      8/20/2012        18:45:53
69389      8322441983      7/24/2012        14:37:25
69390      8322446817      11/12/2011       10:19:19
69391      8322451389      7/13/2012        14:03:36
69392      8322451542      3/16/2012        10:18:05
69393      8322453373      6/6/2012         8:17:54
69394      8322453893      11/23/2011       14:41:38
69395      8322454312      9/15/2011        9:07:22
69396      8322454320      12/28/2011       18:07:50
69397      8322455949      8/13/2012        20:51:23
69398      8322458731      12/31/2011       12:07:40
69399      8322458908      10/10/2011       12:01:10
69400      8322459640      5/23/2012        14:59:46
69401      8322470629      4/9/2011         13:37:31
69402      8322470815      10/8/2011        12:27:31
69403      8322471558      3/29/2012        16:43:22
69404      8322473551      5/22/2012        18:30:14
69405      8322474047      1/4/2012         11:21:06
69406      8322480655      9/21/2011        11:56:34
69407      8322483335      4/9/2011         13:47:48
69408      8322484011      5/11/2011        16:55:40
69409      8322484436      8/3/2011         11:43:27
69410      8322484436      9/10/2011        8:35:36
69411      8322487092      8/18/2012        9:06:12
69412      8322487153      4/16/2012        16:05:25
69413      8322490742      6/14/2012        12:39:27
69414      8322490742      6/19/2012        13:16:33
69415      8322501884      12/29/2011       18:22:48
69416      8322506254      3/31/2012        8:08:27
69417      8322506631      9/8/2011         18:57:26
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69418      8322508678      10/19/2011       12:14:32
69419      8322508895      11/14/2011       17:12:59
69420      8322508895      12/8/2011        12:20:11
69421      8322533664      4/20/2012        20:47:00
69422      8322537749      4/26/2011        20:02:01
69423      8322564022      10/26/2011       13:02:13
69424      8322571310      7/9/2012         12:07:42
69425      8322571310      9/26/2012        14:46:04
69426      8322571559      9/8/2011         19:48:54
69427      8322572265      12/12/2011       16:24:25
69428      8322576622      10/23/2012       10:39:40
69429      8322577388      11/15/2011       20:18:41
69430      8322579498      1/23/2012        8:24:05
69431      8322580292      1/13/2012        17:28:25
69432      8322583734      11/12/2011       9:39:34
69433      8322584022      9/15/2011        8:33:40
69434      8322586062      3/12/2012        19:28:08
69435      8322586899      5/20/2012        15:44:42
69436      8322591890      5/11/2012        18:10:14
69437      8322592437      4/4/2011         14:15:06
69438      8322596305      2/9/2012         9:32:51
69439      8322602760      10/4/2011        13:22:01
69440      8322609025      3/13/2012        18:58:43
69441      8322620847      6/4/2012         8:17:58
69442      8322621480      4/23/2012        20:50:15
69443      8322628724      12/26/2011       15:25:33
69444      8322640187      8/6/2011         9:50:27
69445      8322646473      8/20/2012        10:01:10
69446      8322650095      4/24/2012        18:12:37
69447      8322650119      10/19/2011       8:07:49
69448      8322650368      11/12/2011       10:44:25
69449      8322652539      12/23/2011       14:07:17
69450      8322652795      5/31/2012        15:01:25
69451      8322656627      12/16/2011       16:23:28
69452      8322657926      9/10/2011        8:36:12
69453      8322658074      9/20/2011        16:45:53
69454      8322658364      12/29/2011       11:15:30
69455      8322663300      11/18/2011       12:55:46
69456      8322667451      10/10/2011       11:55:56
69457      8322667837      12/29/2011       11:16:05
69458      8322671193      10/6/2011        17:52:09
69459      8322671968      6/20/2012        9:07:36
69460      8322673402      2/15/2012        8:05:12
69461      8322675398      7/21/2012        10:46:58
69462      8322675963      9/19/2012        16:22:59
69463      8322677075      3/27/2012        15:05:20
69464      8322677205      2/2/2012         16:38:59
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69465      8322678210      2/9/2012         20:30:19
69466      8322678376      11/14/2011       15:04:53
69467      8322679694      9/8/2011         19:52:35
69468      8322702900      5/19/2012        9:43:25
69469      8322722838      10/3/2011        8:12:06
69470      8322725251      9/8/2011         19:50:49
69471      8322727508      6/8/2012         17:01:20
69472      8322727508      8/8/2012         8:16:16
69473      8322728415      1/3/2012         19:50:10
69474      8322731381      5/2/2012         13:47:05
69475      8322734419      7/19/2012        8:29:07
69476      8322735391      12/28/2011       8:38:51
69477      8322735391      4/9/2012         18:14:46
69478      8322740845      5/30/2012        16:55:53
69479      8322743295      12/10/2011       13:19:05
69480      8322743954      12/9/2011        8:10:07
69481      8322751470      12/26/2011       20:02:01
69482      8322753486      9/15/2011        9:12:45
69483      8322754022      10/24/2011       8:05:49
69484      8322754022      11/8/2011        14:01:49
69485      8322754110      3/2/2012         18:49:52
69486      8322755994      1/16/2012        8:19:53
69487      8322756184      10/12/2011       8:01:58
69488      8322758538      10/2/2012        12:58:17
69489      8322761134      1/11/2012        16:29:42
69490      8322761207      11/29/2011       15:06:09
69491      8322762588      10/5/2011        14:18:41
69492      8322763521      4/25/2011        14:38:07
69493      8322765256      9/20/2011        16:50:48
69494      8322769926      1/25/2012        20:26:28
69495      8322771962      12/29/2011       18:10:17
69496      8322776709      9/19/2011        8:28:40
69497      8322780275      7/5/2012         20:02:11
69498      8322780511      12/26/2011       20:21:40
69499      8322795447      2/8/2012         12:53:23
69500      8322795447      2/13/2012        18:48:39
69501      8322795635      2/2/2012         19:13:20
69502      8322796342      2/3/2012         20:08:55
69503      8322797440      12/5/2011        9:43:45
69504      8322798205      9/9/2011         17:50:34
69505      8322799357      8/13/2011        11:57:38
69506      8322799815      6/20/2011        14:17:01
69507      8322821223      8/30/2012        9:47:50
69508      8322823155      6/16/2012        15:27:18
69509      8322823686      8/31/2012        16:39:34
69510      8322828573      9/22/2012        12:18:30
69511      8322829121      1/17/2012        9:46:01
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69512      8322829121      1/27/2012        18:05:21
69513      8322839045      6/16/2012        8:30:01
69514      8322839813      11/13/2013       12:53:37
69515      8322857437      5/12/2012        10:41:49
69516      8322862090      11/16/2011       20:07:03
69517      8322868122      5/20/2011        17:57:44
69518      8322872305      10/7/2012        12:43:00
69519      8322873454      9/7/2011         14:46:51
69520      8322874119      3/27/2012        14:56:30
69521      8322878267      1/2/2012         11:59:17
69522      8322878752      7/14/2011        9:34:48
69523      8322886345      10/27/2011       16:39:49
69524      8322893252      10/16/2012       16:37:48
69525      8322899886      10/24/2011       8:08:37
69526      8322920994      4/26/2012        11:38:30
69527      8322921447      2/11/2012        11:14:50
69528      8322923806      9/22/2011        16:05:11
69529      8322925409      8/31/2011        10:47:38
69530      8322925792      10/11/2011       16:24:48
69531      8322927837      9/16/2011        14:41:40
69532      8322928021      8/20/2012        18:56:51
69533      8322930351      8/25/2012        8:15:49
69534      8322930797      5/4/2012         15:22:41
69535      8322935778      7/14/2011        16:37:06
69536      8322937113      1/2/2012         8:08:09
69537      8322937523      3/30/2012        16:07:53
69538      8322939810      7/26/2012        12:18:37
69539      8322970143      11/11/2011       20:03:51
69540      8322971770      9/20/2011        16:49:49
69541      8322973994      10/5/2012        12:42:28
69542      8322975375      8/2/2012         11:30:51
69543      8322976324      4/2/2012         17:43:42
69544      8322978063      7/2/2011         9:19:05
69545      8322978245      10/24/2011       8:16:49
69546      8322982649      9/22/2011        15:22:52
69547      8322982771      5/2/2012         13:28:58
69548      8322985655      2/14/2012        10:01:41
69549      8322986359      11/18/2011       13:33:03
69550      8322987187      10/19/2011       12:12:20
69551      8322988363      8/23/2012        11:53:33
69552      8322988696      9/16/2011        13:32:30
69553      8322989694      3/10/2011        16:36:24
69554      8323051637      5/17/2012        16:57:42
69555      8323068600      12/28/2011       8:38:48
69556      8323097381      9/15/2011        9:09:00
69557      8323097867      9/29/2011        15:20:39
69558      8323100354      9/20/2012        8:47:37
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69559      8323100354      10/20/2012       16:32:54
69560      8323100559      11/22/2011       18:49:33
69561      8323105659      12/18/2011       16:23:15
69562      8323105853      5/27/2011        9:03:24
69563      8323108628      10/21/2011       13:34:37
69564      8323108754      1/9/2012         18:42:24
69565      8323108894      4/2/2012         9:03:40
69566      8323108920      4/5/2012         14:37:17
69567      8323140917      11/29/2011       15:00:51
69568      8323140917      2/8/2012         12:58:24
69569      8323141418      3/19/2012        19:02:21
69570      8323142024      3/12/2012        19:38:37
69571      8323142500      9/27/2012        16:23:51
69572      8323146910      1/4/2012         11:20:48
69573      8323182802      12/29/2011       11:05:27
69574      8323182839      6/27/2012        12:26:33
69575      8323183411      12/20/2011       19:38:29
69576      8323222380      8/24/2012        11:07:19
69577      8323223806      8/3/2012         12:31:37
69578      8323224367      1/27/2012        17:47:58
69579      8323224367      2/28/2012        16:18:51
69580      8323225584      5/1/2012         17:28:37
69581      8323225584      6/15/2012        8:54:53
69582      8323226092      11/3/2011        17:52:49
69583      8323258526      1/27/2014        12:58:56
69584      8323262996      12/26/2011       20:26:54
69585      8323264393      2/1/2012         8:30:02
69586      8323267577      1/19/2012        8:16:00
69587      8323297281      6/15/2012        16:45:03
69588      8323300846      6/19/2012        15:48:06
69589      8323301670      3/12/2012        19:26:59
69590      8323301691      9/30/2011        10:05:22
69591      8323301794      8/4/2012         8:12:53
69592      8323307791      12/16/2011       16:23:25
69593      8323308555      10/9/2012        11:47:47
69594      8323309190      1/16/2012        17:33:28
69595      8323312054      5/3/2012         8:07:06
69596      8323313931      11/22/2011       19:31:25
69597      8323316097      1/3/2012         11:04:27
69598      8323317746      12/9/2011        15:36:00
69599      8323321445      8/13/2012        21:00:13
69600      8323326749      2/24/2012        20:56:49
69601      8323343036      9/24/2012        13:24:46
69602      8323353094      10/8/2011        11:26:27
69603      8323353095      11/14/2011       15:04:55
69604      8323357742      10/28/2011       13:39:10
69605      8323382234      3/27/2012        15:06:59
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69606      8323383440      12/5/2011        8:45:04
69607      8323386378      1/20/2012        19:47:06
69608      8323388066      10/21/2011       13:26:07
69609      8323389830      4/22/2012        15:34:24
69610      8323394730      5/6/2012         18:13:05
69611      8323397167      9/26/2012        14:43:59
69612      8323401604      11/19/2011       8:23:38
69613      8323406821      1/16/2012        17:14:50
69614      8323406909      3/27/2012        14:54:37
69615      8323418182      1/10/2012        18:06:06
69616      8323431591      1/17/2012        18:44:28
69617      8323433595      5/31/2012        15:00:54
69618      8323434619      10/24/2012       14:48:30
69619      8323434677      12/15/2011       8:21:52
69620      8323435091      10/7/2011        8:07:33
69621      8323435091      10/21/2011       12:42:52
69622      8323435091      11/14/2011       14:50:35
69623      8323435288      3/5/2012         8:07:51
69624      8323436307      5/19/2012        8:15:51
69625      8323436681      10/10/2011       12:48:10
69626      8323437026      12/10/2011       13:31:17
69627      8323473200      10/10/2012       12:43:45
69628      8323474354      9/28/2011        11:15:36
69629      8323480936      12/18/2011       17:36:31
69630      8323487138      10/22/2011       13:11:46
69631      8323487237      12/2/2011        15:23:50
69632      8323487237      6/14/2012        15:53:11
69633      8323489294      12/23/2011       15:07:57
69634      8323500813      5/17/2012        16:35:21
69635      8323504771      9/12/2012        14:58:02
69636      8323506260      8/10/2011        19:19:46
69637      8323520231      1/25/2012        20:35:28
69638      8323520328      11/12/2011       9:38:42
69639      8323520343      8/8/2011         15:37:02
69640      8323522870      12/2/2011        15:24:04
69641      8323523406      11/4/2011        8:41:39
69642      8323524346      1/7/2012         9:44:02
69643      8323525540      10/2/2012        8:35:42
69644      8323526842      9/23/2011        18:46:52
69645      8323528803      10/7/2011        8:14:18
69646      8323530596      2/1/2012         18:45:25
69647      8323530875      12/9/2011        8:16:35
69648      8323530980      5/30/2012        12:53:59
69649      8323538134      9/19/2011        19:31:03
69650      8323586109      7/19/2012        17:45:25
69651      8323586381      4/18/2012        8:11:29
69652      8323586381      8/16/2012        19:53:52
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69653      8323592096      11/1/2011        8:10:02
69654      8323592862      8/18/2012        9:01:38
69655      8323594495      6/28/2012        8:04:54
69656      8323596109      10/12/2011       8:16:04
69657      8323611504      1/24/2012        17:20:10
69658      8323611504      2/10/2012        20:33:48
69659      8323614051      11/14/2011       15:03:31
69660      8323617608      6/24/2011        11:26:26
69661      8323622113      10/15/2011       10:52:47
69662      8323626510      7/14/2012        8:23:21
69663      8323637623      10/22/2012       17:50:16
69664      8323640622      9/8/2012         11:08:54
69665      8323640821      7/5/2012         10:40:59
69666      8323641007      9/20/2011        20:31:28
69667      8323641782      10/5/2012        18:38:52
69668      8323663532      7/6/2012         16:55:03
69669      8323663906      12/6/2011        12:59:25
69670      8323664189      3/16/2012        16:08:35
69671      8323666965      8/12/2011        11:04:05
69672      8323667010      2/20/2012        16:54:45
69673      8323671195      4/9/2012         18:15:22
69674      8323671195      5/1/2012         17:28:00
69675      8323671356      9/7/2011         14:32:41
69676      8323672750      3/8/2012         20:34:20
69677      8323672832      7/5/2012         15:44:18
69678      8323673383      9/28/2012        14:26:29
69679      8323673523      10/15/2011       10:33:16
69680      8323680122      10/5/2012        18:31:59
69681      8323686069      7/15/2011        17:39:52
69682      8323686441      3/2/2012         9:16:35
69683      8323686644      11/16/2011       20:04:40
69684      8323708143      7/30/2011        9:00:06
69685      8323711805      7/12/2012        19:48:34
69686      8323712796      7/5/2012         10:43:33
69687      8323715921      8/31/2011        11:02:54
69688      8323717777      10/20/2011       16:21:57
69689      8323720129      2/3/2012         8:41:20
69690      8323720597      7/18/2012        8:33:43
69691      8323723537      11/3/2011        17:54:48
69692      8323724646      12/10/2011       14:43:46
69693      8323726312      3/10/2011        18:26:32
69694      8323729619      10/18/2011       12:21:30
69695      8323729660      5/17/2012        17:04:03
69696      8323730828      3/28/2012        10:49:46
69697      8323733584      1/13/2012        17:28:50
69698      8323733865      4/21/2011        11:52:32
69699      8323734143      9/26/2012        8:11:42
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69700      8323734143      10/9/2012        20:01:20
69701      8323739908      4/7/2012         9:12:54
69702      8323747084      11/14/2011       17:04:19
69703      8323754202      9/17/2012        8:39:56
69704      8323755116      4/26/2012        11:35:49
69705      8323755116      5/16/2012        17:03:21
69706      8323755708      10/8/2012        8:14:36
69707      8323779011      3/19/2012        11:54:25
69708      8323779011      3/27/2012        15:11:39
69709      8323780127      6/12/2012        17:13:06
69710      8323783006      2/13/2012        8:08:23
69711      8323783006      4/14/2012        9:22:07
69712      8323800145      10/10/2011       12:36:51
69713      8323809002      12/22/2011       9:40:20
69714      8323814125      9/8/2011         18:00:16
69715      8323824189      2/6/2012         10:12:29
69716      8323824189      9/25/2012        14:57:13
69717      8323826793      1/18/2012        10:09:06
69718      8323826793      5/15/2012        8:39:30
69719      8323842477      9/20/2011        16:44:36
69720      8323842685      7/11/2012        17:23:00
69721      8323851149      1/19/2012        18:31:22
69722      8323851980      12/23/2011       14:15:35
69723      8323853940      12/21/2011       10:26:00
69724      8323856064      4/7/2012         9:12:43
69725      8323856748      2/24/2012        20:50:23
69726      8323868797      11/2/2011        14:13:16
69727      8323871699      9/8/2012         11:40:02
69728      8323872058      11/14/2011       17:30:18
69729      8323872058      6/18/2012        15:13:44
69730      8323878362      2/1/2012         8:12:57
69731      8323880666      10/5/2011        14:40:12
69732      8323881274      4/3/2012         20:14:31
69733      8323882715      12/6/2011        13:10:53
69734      8323883016      9/12/2011        12:57:23
69735      8323884203      5/23/2011        16:01:21
69736      8323884636      6/14/2012        20:47:25
69737      8323887189      9/13/2012        15:19:48
69738      8323888480      4/19/2012        20:15:57
69739      8323888480      6/5/2012         17:53:26
69740      8323888841      10/15/2011       10:51:19
69741      8323888841      11/11/2011       20:06:11
69742      8323894884      10/10/2011       11:54:04
69743      8323909079      1/11/2012        8:55:44
69744      8323927410      9/19/2011        19:13:31
69745      8323964780      9/29/2011        15:47:27
69746      8323964780      11/4/2011        8:41:18
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69747      8323965673      3/21/2012        13:41:22
69748      8323966048      1/18/2012        16:41:07
69749      8323966444      3/15/2012        18:57:44
69750      8323967895      10/24/2011       8:15:59
69751      8323968529      9/17/2011        10:19:28
69752      8323968967      10/18/2012       8:07:03
69753      8323969293      11/25/2011       17:46:37
69754      8323969841      6/1/2011         12:08:22
69755      8323970779      8/8/2012         8:17:03
69756      8323977316      11/5/2011        10:05:43
69757      8323982595      7/27/2012        15:35:02
69758      8323983015      3/9/2012         9:15:36
69759      8323983015      7/3/2012         12:24:59
69760      8323985029      11/18/2011       13:31:43
69761      8323985085      1/6/2012         14:59:23
69762      8323986534      8/13/2011        10:17:34
69763      8323988679      5/1/2012         17:47:06
69764      8324011824      3/15/2012        19:07:06
69765      8324012958      6/28/2012        21:48:25
69766      8324013615      10/5/2011        14:10:52
69767      8324014391      7/21/2011        13:36:18
69768      8324017881      9/17/2011        9:39:29
69769      8324018466      9/24/2011        9:47:21
69770      8324037139      8/8/2011         15:31:50
69771      8324039293      10/5/2011        14:38:48
69772      8324040542      1/5/2012         17:29:22
69773      8324045078      12/1/2011        15:27:58
69774      8324048782      10/4/2011        13:46:14
69775      8324053693      1/23/2012        8:24:25
69776      8324076856      11/2/2011        14:27:00
69777      8324137178      2/6/2012         9:58:52
69778      8324140001      3/14/2012        14:19:00
69779      8324140618      9/12/2011        14:26:40
69780      8324140768      9/8/2012         11:41:53
69781      8324141983      9/13/2011        16:09:21
69782      8324144534      3/12/2012        19:11:22
69783      8324145407      10/6/2011        16:49:39
69784      8324149990      9/20/2011        18:30:20
69785      8324164575      7/12/2012        20:00:21
69786      8324164863      9/16/2011        13:02:13
69787      8324171330      12/21/2011       10:18:45
69788      8324181852      6/9/2012         15:04:14
69789      8324186802      12/26/2011       20:21:03
69790      8324188822      8/2/2012         18:49:52
69791      8324191593      3/26/2011        12:24:31
69792      8324192706      9/13/2011        18:05:25
69793      8324195719      10/4/2011        13:49:59
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69794      8324196667      11/12/2011       9:41:12
69795      8324198422      4/18/2012        8:08:04
69796      8324198662      12/12/2011       12:21:07
69797      8324200646      7/9/2012         8:54:12
69798      8324201869      1/2/2012         12:08:21
69799      8324212119      12/16/2011       16:27:40
69800      8324214616      5/4/2012         18:11:32
69801      8324232339      1/6/2012         12:21:59
69802      8324233625      2/28/2012        16:03:50
69803      8324235025      5/2/2011         18:10:37
69804      8324235523      10/18/2012       16:49:03
69805      8324236013      1/28/2012        8:15:11
69806      8324239051      1/19/2012        18:42:05
69807      8324250066      9/23/2011        19:03:02
69808      8324250472      3/7/2012         18:41:38
69809      8324256789      3/23/2012        19:58:20
69810      8324279000      9/19/2011        19:35:08
69811      8324279685      10/15/2011       10:48:09
69812      8324280124      5/8/2012         12:41:51
69813      8324283169      12/14/2011       13:29:22
69814      8324285715      10/21/2011       13:23:06
69815      8324289317      9/21/2012        18:51:43
69816      8324310145      12/26/2011       20:29:21
69817      8324310145      5/21/2012        8:15:23
69818      8324317131      4/21/2011        11:05:40
69819      8324343671      8/7/2012         17:44:31
69820      8324344734      1/13/2012        17:26:27
69821      8324345304      11/14/2011       14:53:49
69822      8324345950      10/18/2011       13:07:06
69823      8324346803      5/20/2012        15:44:14
69824      8324355122      10/6/2011        17:43:28
69825      8324380562      6/21/2011        14:05:17
69826      8324383963      8/8/2012         8:16:33
69827      8324391146      7/9/2011         8:23:17
69828      8324393033      3/24/2012        10:30:59
69829      8324394706      7/18/2011        11:07:00
69830      8324396201      10/18/2012       8:04:39
69831      8324399241      5/11/2012        12:25:19
69832      8324399241      7/30/2012        13:17:14
69833      8324410778      9/21/2012        18:46:04
69834      8324413059      10/24/2011       8:03:59
69835      8324413059      3/27/2012        19:27:57
69836      8324415095      11/5/2013        13:47:58
69837      8324418365      12/6/2011        14:13:35
69838      8324419075      10/3/2012        19:52:33
69839      8324430305      7/28/2012        8:37:53
69840      8324430317      3/19/2012        19:20:44
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69841      8324433578      3/8/2012         20:39:09
69842      8324435032      3/27/2012        10:36:20
69843      8324435997      6/9/2012         10:25:49
69844      8324438818      9/14/2011        16:42:55
69845      8324440949      9/14/2011        12:06:04
69846      8324441793      10/6/2011        17:31:24
69847      8324442892      3/14/2012        20:04:34
69848      8324443467      9/8/2011         19:32:24
69849      8324446059      7/30/2012        18:38:59
69850      8324454654      10/7/2011        8:08:26
69851      8324458107      1/5/2012         12:02:41
69852      8324458548      11/25/2011       18:30:39
69853      8324491718      6/2/2012         13:17:07
69854      8324510787      10/25/2012       19:48:21
69855      8324512587      3/7/2012         18:42:46
69856      8324519388      1/18/2012        16:41:15
69857      8324522873      12/1/2011        8:17:41
69858      8324527460      1/27/2012        17:46:39
69859      8324527460      3/14/2012        19:46:13
69860      8324528264      11/30/2011       8:07:47
69861      8324535049      11/5/2011        11:33:59
69862      8324549323      11/12/2011       10:40:05
69863      8324551531      9/13/2011        13:48:25
69864      8324552137      2/13/2012        18:44:29
69865      8324555180      9/14/2011        21:25:22
69866      8324557356      11/16/2011       20:04:23
69867      8324558249      7/13/2012        17:15:27
69868      8324578790      1/6/2012         14:58:03
69869      8324585573      7/2/2012         17:31:47
69870      8324589962      5/3/2012         8:08:59
69871      8324617568      12/17/2011       11:34:46
69872      8324617730      3/21/2012        13:51:55
69873      8324653175      5/4/2012         18:21:19
69874      8324653238      5/6/2011         13:07:19
69875      8324653843      9/27/2012        16:24:05
69876      8324654542      2/21/2012        11:13:19
69877      8324654764      9/23/2011        11:45:22
69878      8324656660      6/22/2012        8:09:41
69879      8324657339      5/18/2012        11:41:50
69880      8324661021      3/23/2012        14:41:48
69881      8324661098      3/13/2012        18:31:27
69882      8324661650      3/26/2012        14:36:35
69883      8324661650      5/21/2012        8:03:07
69884      8324662093      5/21/2012        17:44:29
69885      8324662137      5/31/2012        8:11:32
69886      8324662768      7/20/2012        15:01:57
69887      8324662934      4/10/2012        16:19:55
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69888      8324663057      12/21/2011       10:15:04
69889      8324664889      4/5/2012         13:50:08
69890      8324665459      5/30/2012        12:40:35
69891      8324665495      2/2/2012         16:38:02
69892      8324669650      5/5/2012         8:30:04
69893      8324681147      5/23/2012        15:18:34
69894      8324681332      7/12/2012        13:09:56
69895      8324689500      1/17/2012        9:45:33
69896      8324689693      9/9/2011         18:01:33
69897      8324723626      2/16/2012        8:35:05
69898      8324723977      12/21/2011       9:56:06
69899      8324723977      12/26/2011       20:25:25
69900      8324732951      2/14/2012        13:52:48
69901      8324733450      12/12/2011       12:21:19
69902      8324742568      5/19/2012        16:08:18
69903      8324745163      12/15/2011       8:38:23
69904      8324747119      9/19/2011        19:12:48
69905      8324748483      4/11/2012        11:32:57
69906      8324750497      10/21/2011       12:46:23
69907      8324750809      11/21/2011       8:05:21
69908      8324750947      9/10/2011        9:05:25
69909      8324752306      7/11/2012        9:38:01
69910      8324755444      4/3/2012         10:25:34
69911      8324755557      9/20/2011        20:33:10
69912      8324756003      12/29/2011       14:14:27
69913      8324756003      4/1/2012         17:06:09
69914      8324756794      10/5/2012        18:23:58
69915      8324770615      1/6/2012         12:46:54
69916      8324771290      11/19/2011       9:08:35
69917      8324773659      1/3/2012         19:47:10
69918      8324807402      7/18/2013        8:25:17
69919      8324833765      1/4/2012         11:45:13
69920      8324840316      1/5/2012         12:02:38
69921      8324840599      9/9/2011         18:01:06
69922      8324880788      10/8/2012        8:11:21
69923      8324882204      3/6/2012         15:51:10
69924      8324882637      7/25/2012        12:07:06
69925      8324886753      10/4/2011        13:20:31
69926      8324888103      1/8/2012         13:17:52
69927      8324888911      5/10/2011        19:34:17
69928      8324898124      9/8/2011         18:57:39
69929      8324920579      3/23/2012        14:25:01
69930      8324921939      3/24/2012        10:02:53
69931      8324922157      11/2/2011        10:17:14
69932      8324924709      9/19/2011        19:13:17
69933      8324928581      1/23/2012        19:02:32
69934      8324928909      10/13/2011       8:24:19
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69935      8324930468      10/6/2011        17:40:15
69936      8324933757      3/20/2012        9:19:15
69937      8324934541      3/26/2012        15:00:38
69938      8324937665      9/27/2011        18:12:04
69939      8324940939      12/21/2011       10:15:12
69940      8324947077      3/23/2012        19:52:58
69941      8324948266      9/21/2012        18:55:17
69942      8324951609      10/13/2011       8:33:09
69943      8324953747      3/21/2012        8:06:53
69944      8324953757      9/30/2011        10:05:13
69945      8324953832      9/23/2011        11:46:35
69946      8324957065      10/20/2011       16:26:03
69947      8324958894      5/24/2012        12:35:36
69948      8324959668      8/16/2011        17:53:38
69949      8324964276      4/1/2011         12:13:04
69950      8324965339      10/4/2011        13:19:27
69951      8324965339      3/16/2012        16:32:42
69952      8324966015      5/27/2011        9:07:44
69953      8324967359      4/28/2012        9:21:34
69954      8324980570      9/26/2011        9:29:13
69955      8324981812      10/14/2011       13:30:28
69956      8324986850      3/27/2012        15:11:29
69957      8324988085      10/21/2011       13:27:26
69958      8325043234      10/10/2011       11:57:01
69959      8325070547      10/2/2012        8:38:22
69960      8325070547      10/9/2012        20:00:55
69961      8325079768      1/5/2012         17:22:52
69962      8325081834      4/10/2012        16:13:15
69963      8325097126      9/24/2012        14:38:12
69964      8325120176      1/4/2012         11:20:51
69965      8325121906      2/20/2012        16:45:08
69966      8325122222      11/7/2011        8:20:06
69967      8325122222      5/21/2012        8:14:22
69968      8325122222      6/11/2012        18:06:44
69969      8325133546      2/7/2012         8:09:28
69970      8325135922      4/11/2012        8:02:41
69971      8325138344      1/6/2012         14:32:54
69972      8325141123      3/16/2012        11:16:19
69973      8325148831      12/21/2011       19:55:43
69974      8325150329      10/10/2011       12:37:07
69975      8325150329      10/28/2011       13:31:01
69976      8325162953      2/10/2012        20:39:20
69977      8325180150      10/29/2011       11:54:57
69978      8325186931      3/23/2012        20:05:21
69979      8325187510      10/8/2011        10:05:59
69980      8325187626      3/14/2012        14:17:15
69981      8325193519      5/4/2012         15:11:23
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69982      8325194169      7/6/2012         14:51:49
69983      8325194589      10/6/2011        16:34:31
69984      8325196792      11/22/2011       18:47:51
69985      8325209540      6/9/2012         10:49:35
69986      8325241320      5/22/2012        18:29:25
69987      8325241635      6/28/2012        14:22:59
69988      8325244666      7/23/2012        13:27:08
69989      8325245707      2/2/2012         18:52:55
69990      8325249077      10/4/2011        13:22:35
69991      8325260212      9/29/2011        15:17:35
69992      8325260212      10/15/2011       9:23:44
69993      8325262338      5/5/2012         8:10:16
69994      8325264942      7/26/2012        19:22:39
69995      8325266538      11/8/2011        14:38:11
69996      8325267300      2/10/2012        20:39:30
69997      8325268087      1/30/2012        9:23:54
69998      8325268294      10/22/2012       8:03:57
69999      8325273678      11/21/2011       8:03:41
70000      8325273678      12/27/2011       14:19:32
70001      8325274258      9/6/2012         12:33:14
70002      8325274351      12/22/2011       9:44:45
70003      8325274434      1/17/2012        20:28:19
70004      8325274757      10/26/2011       12:17:41
70005      8325274757      11/29/2011       15:04:33
70006      8325277786      10/19/2011       8:01:47
70007      8325277906      10/15/2012       16:17:38
70008      8325283087      1/13/2012        8:06:32
70009      8325283240      12/5/2011        9:36:04
70010      8325283874      11/4/2011        8:56:40
70011      8325284017      3/28/2012        18:15:34
70012      8325284017      5/18/2012        15:49:08
70013      8325284272      10/17/2011       8:41:20
70014      8325288768      2/17/2012        9:18:13
70015      8325310904      3/2/2012         18:58:02
70016      8325314785      7/13/2012        14:03:24
70017      8325314862      6/16/2012        8:54:02
70018      8325334756      2/9/2012         20:43:43
70019      8325336714      1/16/2012        8:15:57
70020      8325370833      7/27/2012        13:08:32
70021      8325371759      5/15/2012        8:43:41
70022      8325374143      8/25/2011        18:09:34
70023      8325375913      9/17/2011        9:40:39
70024      8325411104      7/14/2011        16:32:02
70025      8325413108      7/26/2011        10:40:40
70026      8325413763      8/11/2012        9:40:20
70027      8325417728      7/27/2012        15:34:38
70028      8325419154      11/16/2011       10:20:24
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70029      8325421695      9/17/2011        10:20:16
70030      8325427109      5/8/2012         15:50:23
70031      8325450162      10/5/2011        14:45:17
70032      8325451110      11/28/2011       16:58:12
70033      8325452818      12/16/2011       15:38:57
70034      8325456162      11/16/2011       19:54:44
70035      8325457535      9/19/2011        19:14:20
70036      8325458674      11/21/2011       8:33:37
70037      8325463170      12/18/2011       16:09:42
70038      8325492065      9/30/2011        10:01:59
70039      8325494100      10/10/2011       12:50:00
70040      8325494990      5/2/2012         13:15:26
70041      8325495423      1/25/2012        20:25:42
70042      8325498772      2/9/2012         20:40:02
70043      8325525739      11/15/2011       15:37:06
70044      8325526189      7/11/2012        9:39:22
70045      8325526189      8/7/2012         17:54:05
70046      8325526189      10/19/2012       19:04:24
70047      8325563082      8/1/2012         20:11:15
70048      8325569650      11/17/2011       16:47:22
70049      8325610815      7/27/2011        17:30:33
70050      8325610815      1/16/2012        12:08:35
70051      8325612958      10/17/2012       9:43:33
70052      8325613046      2/29/2012        17:52:17
70053      8325616245      9/26/2012        15:29:37
70054      8325616970      9/8/2011         18:11:12
70055      8325632590      3/10/2012        9:01:16
70056      8325639214      5/23/2011        16:01:34
70057      8325660990      5/12/2011        10:20:49
70058      8325661208      10/25/2011       16:19:32
70059      8325663609      8/28/2012        11:55:34
70060      8325663820      8/25/2012        11:13:19
70061      8325666243      8/22/2012        11:23:42
70062      8325671994      12/26/2011       9:34:03
70063      8325672911      12/9/2011        8:01:50
70064      8325679461      8/9/2012         14:02:29
70065      8325731791      11/26/2011       11:47:06
70066      8325731791      2/21/2012        17:54:34
70067      8325731950      5/31/2012        15:09:50
70068      8325732803      12/23/2011       15:54:46
70069      8325733234      10/6/2011        17:49:34
70070      8325733423      12/9/2011        8:30:29
70071      8325734697      10/1/2011        9:51:16
70072      8325735876      8/6/2012         16:28:47
70073      8325736354      9/20/2012        8:49:13
70074      8325737699      4/3/2012         16:13:16
70075      8325760362      11/2/2011        14:01:57
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70076      8325760362      1/9/2012         8:11:24
70077      8325764533      3/6/2012         17:17:36
70078      8325764549      3/10/2012        8:53:43
70079      8325765007      3/20/2012        17:50:38
70080      8325769611      10/5/2011        14:39:46
70081      8325778373      9/16/2011        13:33:05
70082      8325780331      4/28/2012        8:12:00
70083      8325786075      6/7/2012         18:36:44
70084      8325792533      9/13/2012        21:31:02
70085      8325796227      8/20/2011        10:27:21
70086      8325796227      9/16/2011        13:03:06
70087      8325796260      3/1/2012         8:38:11
70088      8325798890      9/26/2011        9:28:43
70089      8325841406      6/25/2012        13:42:35
70090      8325841406      8/13/2012        8:28:41
70091      8325841804      7/12/2012        13:27:00
70092      8325844550      5/10/2012        13:40:54
70093      8325849254      1/11/2012        16:30:19
70094      8325883530      3/26/2012        15:10:49
70095      8325888173      11/14/2011       14:52:06
70096      8325888173      12/21/2011       10:15:03
70097      8325945446      7/14/2012        8:11:30
70098      8325946016      10/8/2011        11:33:35
70099      8325961223      5/15/2012        19:10:03
70100      8325962930      3/2/2012         18:46:17
70101      8325966232      5/30/2012        16:58:01
70102      8325966232      6/18/2012        15:13:55
70103      8325966238      9/21/2011        11:32:57
70104      8325967502      11/5/2011        11:30:34
70105      8325971663      10/21/2011       13:29:55
70106      8325975034      7/12/2011        12:27:36
70107      8325977482      3/13/2012        18:58:54
70108      8325978686      12/5/2011        9:35:20
70109      8326050769      4/22/2012        15:30:32
70110      8326052567      10/5/2012        18:16:38
70111      8326054929      9/8/2011         19:52:45
70112      8326061457      3/15/2012        19:09:14
70113      8326061487      4/9/2012         18:18:00
70114      8326064866      1/8/2012         13:15:32
70115      8326065411      2/3/2012         20:02:02
70116      8326066532      10/29/2011       11:35:35
70117      8326066640      10/15/2011       10:36:05
70118      8326071585      5/30/2012        12:53:57
70119      8326072951      9/8/2011         19:52:20
70120      8326073535      6/23/2012        8:48:00
70121      8326073716      9/30/2011        12:08:34
70122      8326073917      12/26/2011       20:15:51
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70123      8326073987      2/10/2012        9:30:50
70124      8326073987      2/28/2012        13:16:02
70125      8326074408      1/12/2012        14:18:23
70126      8326074477      10/3/2011        7:09:02
70127      8326077259      10/8/2011        11:31:33
70128      8326078948      10/19/2011       15:31:45
70129      8326079706      10/17/2011       8:06:03
70130      8326131085      10/7/2011        8:13:42
70131      8326131218      3/19/2012        11:42:46
70132      8326137212      10/22/2012       17:49:58
70133      8326137680      6/28/2012        17:42:21
70134      8326138281      6/23/2012        16:27:57
70135      8326180028      10/5/2011        14:39:01
70136      8326184840      1/4/2012         11:04:24
70137      8326185939      4/11/2012        11:36:30
70138      8326186966      10/18/2011       12:31:36
70139      8326187012      6/27/2012        12:16:39
70140      8326189657      10/19/2011       8:14:03
70141      8326200252      11/11/2011       20:25:47
70142      8326202625      3/20/2012        9:31:16
70143      8326203062      12/5/2011        18:39:08
70144      8326203942      3/13/2012        12:49:08
70145      8326208402      9/26/2012        8:11:24
70146      8326208951      1/13/2012        8:07:44
70147      8326208951      2/1/2012         8:13:10
70148      8326208951      5/11/2012        18:27:43
70149      8326208951      5/21/2012        8:19:11
70150      8326222141      11/19/2011       9:01:30
70151      8326223263      8/21/2012        14:02:59
70152      8326224381      11/14/2011       14:52:58
70153      8326239496      10/21/2011       13:26:23
70154      8326278059      10/1/2011        9:51:23
70155      8326284170      3/8/2014         8:04:35
70156      8326287628      1/27/2012        18:01:33
70157      8326295265      1/28/2014        8:39:55
70158      8326300142      12/21/2011       9:59:18
70159      8326300472      10/10/2012       13:02:00
70160      8326300831      11/15/2011       15:33:57
70161      8326301779      10/8/2011        10:03:57
70162      8326302553      2/12/2014        11:14:32
70163      8326302743      3/14/2012        14:07:40
70164      8326302743      10/15/2012       16:27:28
70165      8326302945      12/7/2011        14:08:38
70166      8326305479      2/28/2012        15:53:55
70167      8326309433      3/2/2012         19:15:38
70168      8326310012      2/3/2012         8:44:43
70169      8326310127      2/17/2012        9:04:37
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70170      8326315527      10/24/2011       8:08:53
70171      8326332282      2/11/2012        11:12:57
70172      8326335899      11/8/2011        14:30:15
70173      8326381864      9/8/2011         19:50:47
70174      8326382462      9/28/2012        14:30:28
70175      8326382661      8/2/2012         11:31:25
70176      8326383125      7/14/2012        8:24:02
70177      8326384261      4/4/2012         8:10:48
70178      8326385300      7/26/2012        19:15:04
70179      8326387068      12/5/2011        18:12:31
70180      8326389885      2/13/2012        8:11:42
70181      8326400731      11/9/2011        8:29:17
70182      8326401617      1/2/2012         8:11:11
70183      8326403316      11/29/2011       15:35:52
70184      8326404757      1/17/2012        9:36:35
70185      8326411979      6/21/2012        10:17:09
70186      8326414351      11/14/2011       17:25:25
70187      8326414351      11/29/2011       16:11:33
70188      8326415511      1/13/2012        17:17:53
70189      8326417172      3/21/2012        13:42:00
70190      8326421055      3/21/2011        11:48:56
70191      8326421143      2/3/2012         8:36:05
70192      8326421651      9/13/2011        17:55:01
70193      8326421689      4/1/2011         11:25:05
70194      8326424738      7/13/2012        18:28:28
70195      8326424738      9/27/2012        16:41:23
70196      8326425480      12/20/2011       9:23:54
70197      8326425882      7/26/2012        19:21:09
70198      8326426500      3/12/2012        19:08:55
70199      8326426500      3/20/2012        9:20:10
70200      8326426500      5/21/2012        8:17:06
70201      8326426500      7/16/2012        9:36:52
70202      8326430288      6/6/2012         8:19:32
70203      8326430288      7/5/2012         10:43:29
70204      8326431510      1/8/2012         13:16:01
70205      8326431812      12/26/2011       20:05:13
70206      8326433098      3/29/2012        12:45:04
70207      8326433150      9/15/2011        8:37:46
70208      8326433233      8/13/2012        20:58:55
70209      8326435447      10/11/2011       17:20:23
70210      8326436620      9/21/2011        11:31:38
70211      8326436620      10/13/2011       8:23:08
70212      8326462237      11/28/2011       8:30:19
70213      8326462318      2/3/2014         13:51:50
70214      8326464610      1/27/2012        20:07:20
70215      8326465567      11/14/2011       14:54:46
70216      8326468042      5/17/2011        9:39:30
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70217      8326468268      1/13/2012        8:07:51
70218      8326468407      12/27/2011       14:22:15
70219      8326469690      4/2/2012         17:42:11
70220      8326470533      3/26/2012        18:30:35
70221      8326470533      6/23/2012        16:15:25
70222      8326479255      12/6/2011        13:26:42
70223      8326510035      1/23/2012        19:17:57
70224      8326514321      4/4/2012         18:48:48
70225      8326514673      3/13/2012        18:32:07
70226      8326518938      10/6/2011        17:50:35
70227      8326542292      10/18/2011       13:08:11
70228      8326545824      9/24/2012        19:07:44
70229      8326548511      9/28/2011        10:23:48
70230      8326549086      10/17/2011       8:38:32
70231      8326549906      3/29/2012        11:36:13
70232      8326553590      5/14/2012        15:35:36
70233      8326557219      9/28/2011        11:20:01
70234      8326559369      3/15/2012        14:01:03
70235      8326559369      3/23/2012        19:53:57
70236      8326560126      2/17/2012        9:19:15
70237      8326560264      11/28/2011       11:27:44
70238      8326560399      5/21/2011        11:03:51
70239      8326560876      5/22/2012        18:41:38
70240      8326560993      8/30/2012        9:48:10
70241      8326561423      5/18/2012        15:40:58
70242      8326561797      7/11/2012        17:27:29
70243      8326562128      3/13/2012        12:49:10
70244      8326564031      3/27/2012        15:06:45
70245      8326566314      9/26/2011        9:29:46
70246      8326568384      10/15/2011       10:46:11
70247      8326568384      1/16/2012        17:31:30
70248      8326573245      11/8/2011        14:37:41
70249      8326575579      9/14/2012        8:09:03
70250      8326577055      12/21/2011       9:58:32
70251      8326591370      12/10/2011       14:49:39
70252      8326593951      10/11/2011       16:24:48
70253      8326594980      7/13/2012        13:55:26
70254      8326595769      1/6/2012         15:01:34
70255      8326597458      9/8/2011         18:06:51
70256      8326599099      9/23/2011        19:03:21
70257      8326604002      10/10/2011       11:52:29
70258      8326604168      12/20/2011       15:02:24
70259      8326608020      2/15/2012        13:02:05
70260      8326608457      6/22/2012        21:00:57
70261      8326610705      10/8/2012        20:04:44
70262      8326613885      2/16/2014        16:26:08
70263      8326614570      5/7/2012         8:12:58
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70264      8326616551      9/13/2012        15:21:42
70265      8326616551      9/26/2012        8:07:40
70266      8326617622      11/5/2011        9:59:43
70267      8326653633      2/10/2012        9:26:22
70268      8326656908      3/23/2012        11:11:39
70269      8326657307      8/29/2012        20:19:33
70270      8326658104      5/7/2012         17:56:23
70271      8326658126      9/21/2012        18:57:47
70272      8326680237      2/25/2012        11:06:26
70273      8326731201      7/30/2012        13:19:39
70274      8326731920      5/2/2011         18:04:04
70275      8326731988      7/16/2012        19:51:19
70276      8326736068      4/19/2012        14:33:36
70277      8326738680      12/17/2011       12:11:10
70278      8326754407      10/8/2011        11:30:08
70279      8326756498      9/14/2012        8:04:26
70280      8326770252      10/1/2011        9:54:06
70281      8326772689      1/6/2012         15:02:45
70282      8326810398      4/12/2012        13:14:55
70283      8326810677      1/6/2012         12:58:25
70284      8326811030      4/20/2012        14:31:30
70285      8326811375      10/12/2011       8:03:20
70286      8326830120      2/14/2012        16:49:29
70287      8326837232      12/19/2011       8:07:01
70288      8326838411      9/30/2011        10:02:30
70289      8326874090      4/11/2014        15:29:50
70290      8326874090      4/15/2014        11:04:57
70291      8326877653      3/25/2011        9:49:19
70292      8326890924      2/17/2012        9:05:28
70293      8326890924      3/28/2012        8:14:14
70294      8326893438      9/18/2012        14:26:23
70295      8326896651      2/6/2012         17:00:07
70296      8326899056      1/8/2012         13:18:19
70297      8326920266      10/6/2011        16:48:47
70298      8326920518      10/1/2011        10:03:46
70299      8326922150      4/13/2012        13:36:51
70300      8326924056      9/12/2011        14:16:53
70301      8326924441      5/20/2012        16:00:51
70302      8326927980      9/8/2011         19:34:37
70303      8326928297      10/1/2011        10:41:37
70304      8326928563      7/10/2012        11:52:57
70305      8326929197      10/22/2011       13:08:11
70306      8326933632      10/6/2012        8:34:15
70307      8326935002      3/1/2012         8:38:12
70308      8326935046      2/24/2012        20:57:09
70309      8327033183      11/21/2011       8:25:04
70310      8327037843      12/23/2011       14:17:01
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70311      8327037843      5/21/2012        8:14:56
70312      8327046360      11/14/2011       17:31:04
70313      8327048618      9/19/2011        19:33:31
70314      8327130259      6/22/2012        8:08:06
70315      8327130686      6/20/2011        14:19:44
70316      8327131019      8/11/2011        10:05:41
70317      8327132300      11/18/2011       13:24:20
70318      8327133652      12/5/2011        18:39:07
70319      8327133718      12/23/2011       14:09:05
70320      8327135563      4/13/2012        13:48:30
70321      8327151353      4/23/2012        20:40:11
70322      8327151719      8/21/2012        14:03:41
70323      8327151731      6/5/2012         19:49:03
70324      8327152483      10/18/2011       13:05:44
70325      8327152626      11/18/2011       13:31:37
70326      8327154332      6/16/2012        8:38:59
70327      8327154332      9/11/2012        15:09:33
70328      8327155262      10/13/2011       8:23:04
70329      8327155311      9/9/2011         7:34:00
70330      8327155333      7/22/2011        13:46:43
70331      8327157743      6/22/2012        8:10:31
70332      8327157974      9/29/2011        15:49:31
70333      8327158584      5/14/2012        15:28:24
70334      8327159929      1/13/2012        12:25:14
70335      8327210658      11/25/2011       18:28:46
70336      8327212182      9/12/2011        14:19:22
70337      8327213592      10/5/2011        14:12:25
70338      8327216719      10/3/2011        8:07:15
70339      8327217308      10/25/2011       16:26:34
70340      8327225069      8/29/2012        11:12:30
70341      8327227799      6/17/2011        15:33:04
70342      8327228565      9/13/2011        13:34:05
70343      8327230449      9/24/2012        13:12:07
70344      8327230688      7/28/2012        8:46:58
70345      8327234115      11/17/2011       16:46:44
70346      8327238343      2/20/2012        17:08:11
70347      8327238343      6/14/2012        20:46:51
70348      8327240449      6/18/2012        15:27:54
70349      8327241692      9/21/2011        11:32:11
70350      8327241692      9/26/2011        9:43:51
70351      8327241692      12/2/2011        15:22:51
70352      8327241722      4/12/2012        18:08:34
70353      8327242588      4/13/2012        20:38:32
70354      8327245209      2/1/2012         8:09:57
70355      8327247316      12/5/2011        10:59:38
70356      8327250403      7/20/2012        15:02:03
70357      8327256005      9/22/2011        15:38:58
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70358      8327258106      10/18/2011       12:18:46
70359      8327258211      10/10/2011       11:52:52
70360      8327258211      1/19/2012        8:49:24
70361      8327258909      4/25/2011        13:28:15
70362      8327259000      11/15/2011       20:08:42
70363      8327290908      8/10/2012        8:20:06
70364      8327291571      1/23/2012        8:23:42
70365      8327298507      1/27/2012        18:05:35
70366      8327299429      2/25/2012        10:40:33
70367      8327311847      12/21/2011       19:54:51
70368      8327317488      9/9/2011         18:26:52
70369      8327318910      6/24/2011        11:31:35
70370      8327318963      4/25/2011        12:59:13
70371      8327319664      5/11/2012        12:22:43
70372      8327380143      8/27/2012        8:20:46
70373      8327382586      3/24/2012        9:46:48
70374      8327411050      10/14/2011       12:56:33
70375      8327412816      3/9/2012         15:44:46
70376      8327413480      6/18/2012        9:17:51
70377      8327414820      11/14/2011       16:59:59
70378      8327414820      4/3/2012         20:20:14
70379      8327416695      8/13/2012        8:30:44
70380      8327418091      3/29/2012        17:40:24
70381      8327418091      5/29/2012        17:15:24
70382      8327440511      5/14/2011        12:00:17
70383      8327440630      10/11/2011       16:26:01
70384      8327441968      10/3/2012        19:48:24
70385      8327442690      11/7/2011        8:06:27
70386      8327443461      7/2/2012         15:25:10
70387      8327445338      8/22/2012        11:12:24
70388      8327446280      2/20/2012        7:08:17
70389      8327447200      2/24/2011        11:45:21
70390      8327448480      11/7/2011        9:24:42
70391      8327464170      3/2/2012         19:15:17
70392      8327466172      3/24/2012        9:59:57
70393      8327466598      1/10/2012        12:27:20
70394      8327469892      4/21/2012        16:40:57
70395      8327482513      11/18/2011       13:25:04
70396      8327484111      12/1/2011        15:29:15
70397      8327486815      8/5/2011         18:49:33
70398      8327522179      9/8/2012         11:42:12
70399      8327522879      12/30/2011       8:35:01
70400      8327523385      9/8/2011         19:52:18
70401      8327529295      9/19/2011        8:10:04
70402      8327542636      1/11/2012        8:54:14
70403      8327545742      4/3/2012         20:11:35
70404      8327545783      7/18/2012        8:33:40
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70405      8327547722      9/17/2011        9:42:25
70406      8327551130      12/13/2011       18:47:29
70407      8327552342      12/26/2011       14:56:52
70408      8327554008      10/12/2011       8:44:06
70409      8327555759      9/14/2011        19:36:34
70410      8327556089      10/25/2011       16:17:39
70411      8327558782      12/10/2011       14:25:22
70412      8327559299      11/10/2011       8:19:13
70413      8327580185      6/15/2012        14:21:52
70414      8327583180      4/5/2012         14:35:43
70415      8327584435      8/6/2012         15:00:22
70416      8327584484      10/25/2011       15:31:13
70417      8327587120      9/22/2011        16:09:20
70418      8327588919      1/19/2012        8:06:20
70419      8327588919      2/7/2012         8:02:24
70420      8327589096      7/29/2011        20:21:44
70421      8327589722      10/29/2011       10:51:16
70422      8327646421      11/8/2011        14:27:24
70423      8327661105      3/10/2012        8:52:02
70424      8327662834      10/18/2012       8:04:55
70425      8327662836      12/8/2011        19:46:27
70426      8327666652      10/22/2012       8:02:38
70427      8327677081      1/28/2012        9:51:21
70428      8327677085      7/2/2011         9:18:21
70429      8327677733      3/15/2011        12:06:42
70430      8327682137      4/15/2012        17:15:11
70431      8327682137      5/15/2012        19:09:52
70432      8327682457      10/13/2011       8:39:06
70433      8327684719      5/21/2012        8:02:40
70434      8327684790      8/16/2012        9:32:31
70435      8327686416      9/3/2011         10:57:17
70436      8327686965      2/10/2012        20:38:37
70437      8327687028      6/13/2012        8:05:18
70438      8327696500      5/5/2012         8:39:53
70439      8327696500      5/21/2012        8:04:03
70440      8327696500      7/2/2012         15:21:36
70441      8327711735      9/8/2011         19:52:35
70442      8327713420      10/1/2011        9:51:54
70443      8327715177      9/21/2011        11:53:01
70444      8327752678      7/13/2012        18:36:00
70445      8327753308      6/18/2012        15:27:00
70446      8327754441      12/28/2011       8:39:02
70447      8327755884      7/18/2012        18:27:35
70448      8327756000      7/23/2011        14:00:03
70449      8327756765      11/17/2011       15:38:21
70450      8327820890      6/29/2012        17:45:51
70451      8327823587      6/23/2012        16:15:11
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70452      8327841528      4/27/2012        9:46:21
70453      8327841528      5/21/2012        8:34:44
70454      8327850556      6/8/2012         16:57:08
70455      8327850638      7/12/2012        13:26:13
70456      8327850927      9/9/2011         18:00:44
70457      8327853085      12/19/2011       8:03:34
70458      8327854511      5/22/2012        11:57:54
70459      8327855156      1/25/2012        9:21:48
70460      8327856556      9/14/2011        16:41:24
70461      8327881904      8/17/2012        8:19:44
70462      8327883303      1/6/2012         14:39:05
70463      8327887277      5/25/2012        17:16:21
70464      8327888688      6/14/2012        19:49:42
70465      8327903698      7/14/2011        9:35:06
70466      8327906539      7/3/2012         12:21:15
70467      8327906979      4/30/2012        14:57:33
70468      8327907666      4/16/2012        16:05:09
70469      8327908068      10/17/2011       8:48:02
70470      8327940688      3/27/2012        15:06:41
70471      8327943786      9/17/2011        10:20:35
70472      8327946745      9/26/2011        9:31:56
70473      8327946745      10/1/2011        10:50:51
70474      8327947625      9/27/2011        18:38:06
70475      8327970823      6/21/2012        18:50:45
70476      8327976474      12/21/2011       10:00:22
70477      8327977310      8/25/2012        11:16:20
70478      8327978845      5/17/2012        16:55:06
70479      8327979686      2/24/2011        11:50:40
70480      8327982233      1/10/2012        15:33:36
70481      8327989261      7/23/2012        13:25:46
70482      8327992598      7/13/2012        13:57:57
70483      8328005558      3/23/2012        19:13:21
70484      8328140343      5/20/2011        17:58:32
70485      8328142874      6/1/2011         12:10:02
70486      8328144814      11/15/2011       15:36:47
70487      8328144814      4/24/2012        12:37:46
70488      8328145359      3/15/2011        11:48:17
70489      8328146399      10/8/2011        11:46:18
70490      8328146399      5/6/2012         18:07:58
70491      8328160207      5/23/2012        16:36:45
70492      8328160997      3/20/2012        17:43:42
70493      8328160997      3/28/2012        18:15:48
70494      8328161458      9/13/2011        18:01:10
70495      8328167769      10/1/2011        10:35:40
70496      8328168544      7/27/2011        17:29:56
70497      8328180158      10/16/2012       8:44:27
70498      8328187051      11/10/2011       8:09:10
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70499      8328188223      7/20/2011        14:55:30
70500      8328305411      4/16/2012        16:05:02
70501      8328370069      11/16/2011       8:13:20
70502      8328373544      12/10/2011       12:18:26
70503      8328376647      10/24/2011       8:11:47
70504      8328483310      9/19/2011        19:33:25
70505      8328486513      8/1/2011         19:19:41
70506      8328488095      10/3/2011        8:27:34
70507      8328489626      11/29/2011       15:38:54
70508      8328513988      4/9/2012         18:14:24
70509      8328580596      7/16/2012        19:38:35
70510      8328580765      10/15/2012       9:53:31
70511      8328580910      10/11/2011       17:21:00
70512      8328582233      10/12/2011       12:12:55
70513      8328582233      11/28/2011       18:00:45
70514      8328583012      9/23/2011        19:02:42
70515      8328584915      3/24/2012        9:59:59
70516      8328585518      4/12/2012        18:25:35
70517      8328590516      5/16/2012        9:24:48
70518      8328591443      5/5/2012         8:30:57
70519      8328596380      1/6/2012         15:03:24
70520      8328597168      1/16/2012        17:32:59
70521      8328598300      5/14/2012        15:22:57
70522      8328601039      7/13/2011        11:57:12
70523      8328602009      11/5/2011        10:07:04
70524      8328605455      1/30/2012        8:06:49
70525      8328605534      9/20/2011        20:42:05
70526      8328609310      4/12/2012        17:58:11
70527      8328609310      4/24/2012        11:57:27
70528      8328631779      5/18/2012        11:45:10
70529      8328632129      8/2/2012         11:41:00
70530      8328634024      4/10/2012        16:12:14
70531      8328634325      5/10/2012        15:03:57
70532      8328637798      1/10/2012        15:36:17
70533      8328638038      2/18/2012        9:12:08
70534      8328652453      5/21/2012        8:17:24
70535      8328654817      2/24/2011        11:53:48
70536      8328657148      2/13/2012        18:44:52
70537      8328670216      7/23/2011        14:01:14
70538      8328676125      11/7/2011        8:02:50
70539      8328679440      6/27/2012        17:53:38
70540      8328682861      11/21/2011       8:10:22
70541      8328682861      12/26/2011       20:03:20
70542      8328688259      9/10/2011        9:14:55
70543      8328689773      4/5/2012         13:58:50
70544      8328689773      4/12/2012        17:59:14
70545      8328750283      12/12/2011       11:54:29
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70546      8328751758      11/19/2011       8:25:38
70547      8328752254      6/23/2012        15:57:45
70548      8328752666      8/31/2011        11:01:15
70549      8328753171      5/11/2012        10:39:06
70550      8328755160      1/30/2012        8:14:00
70551      8328757290      10/19/2012       10:01:05
70552      8328762527      11/18/2011       12:27:44
70553      8328763388      2/20/2012        17:20:56
70554      8328763619      5/13/2011        11:31:41
70555      8328766534      3/14/2012        14:16:59
70556      8328766885      3/26/2011        12:22:37
70557      8328766885      9/20/2011        20:46:15
70558      8328767493      10/7/2011        8:17:38
70559      8328768222      7/25/2012        20:40:43
70560      8328771824      5/22/2012        18:28:32
70561      8328772520      9/10/2011        8:30:54
70562      8328772597      9/21/2011        19:30:40
70563      8328778011      4/21/2011        13:45:04
70564      8328779045      2/29/2012        17:23:08
70565      8328782670      4/12/2012        18:06:37
70566      8328783002      10/8/2011        11:42:43
70567      8328783545      5/7/2012         8:15:04
70568      8328784001      4/24/2012        18:15:55
70569      8328787617      4/23/2011        10:30:30
70570      8328801489      10/12/2011       8:32:56
70571      8328803144      1/13/2012        12:25:08
70572      8328803370      2/20/2012        8:53:47
70573      8328803709      2/13/2012        18:29:25
70574      8328803709      4/3/2012         18:15:34
70575      8328804714      9/14/2011        12:28:12
70576      8328804736      10/4/2011        13:47:05
70577      8328805057      10/5/2011        14:41:20
70578      8328805221      9/21/2011        19:35:17
70579      8328805341      3/13/2012        12:48:31
70580      8328806856      11/23/2013       8:27:30
70581      8328807320      4/16/2012        8:05:06
70582      8328808417      10/14/2011       12:53:10
70583      8328808504      4/26/2012        8:05:06
70584      8328810185      10/19/2011       12:10:44
70585      8328811989      8/23/2012        11:53:54
70586      8328812753      11/18/2011       13:24:21
70587      8328813810      12/27/2011       14:20:45
70588      8328815540      9/19/2011        8:18:21
70589      8328819544      11/17/2011       15:45:40
70590      8328819803      8/23/2012        11:52:36
70591      8328819814      1/16/2012        17:30:28
70592      8328819814      1/19/2012        18:30:06
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70593      8328820046      11/17/2011       16:29:04
70594      8328820994      9/8/2012         11:09:41
70595      8328821026      8/25/2012        10:57:32
70596      8328822775      10/14/2011       12:51:33
70597      8328823620      9/21/2011        11:59:43
70598      8328826571      3/23/2012        19:52:41
70599      8328826637      9/15/2011        9:13:14
70600      8328827798      1/19/2012        8:04:27
70601      8328828343      9/14/2011        12:39:28
70602      8328829112      5/6/2011         15:58:20
70603      8328830251      10/15/2012       16:11:58
70604      8328830787      2/21/2012        11:20:07
70605      8328834010      2/16/2012        8:33:04
70606      8328837648      3/17/2012        8:59:39
70607      8328837737      9/26/2011        8:04:36
70608      8328838056      11/29/2011       16:10:25
70609      8328838756      10/1/2011        9:51:04
70610      8328838802      5/12/2012        10:42:50
70611      8328842364      12/18/2011       16:50:25
70612      8328843030      8/2/2012         11:39:39
70613      8328845595      2/3/2012         20:05:48
70614      8328846221      12/26/2011       19:59:03
70615      8328846261      2/8/2012         12:54:08
70616      8328846354      9/21/2011        11:52:26
70617      8328846854      6/30/2012        8:09:34
70618      8328848332      12/22/2011       8:28:15
70619      8328848332      5/18/2012        12:11:59
70620      8328849901      12/17/2011       12:07:16
70621      8328852637      10/20/2011       16:18:42
70622      8328852688      2/21/2012        20:48:59
70623      8328853316      4/9/2012         18:15:02
70624      8328856026      10/14/2011       12:57:35
70625      8328856878      11/15/2011       16:28:47
70626      8328856878      1/18/2012        16:52:44
70627      8328857715      2/3/2012         20:15:41
70628      8328858502      11/12/2011       10:49:45
70629      8328858502      5/18/2012        11:45:14
70630      8328859247      1/11/2012        16:22:56
70631      8328867202      5/10/2012        15:01:42
70632      8328870680      6/16/2012        8:38:51
70633      8328871214      10/15/2011       10:44:27
70634      8328872028      9/19/2011        19:18:10
70635      8328874468      1/25/2012        20:36:35
70636      8328874541      3/29/2011        16:22:44
70637      8328875184      3/6/2012         20:32:17
70638      8328876222      9/20/2011        16:48:22
70639      8328877536      8/20/2012        21:34:19
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70640      8328881583      4/5/2012         14:25:28
70641      8328881831      12/7/2011        13:34:18
70642      8328881886      11/17/2011       14:29:04
70643      8328881936      9/9/2011         17:52:53
70644      8328882865      1/4/2012         12:16:11
70645      8328883290      12/17/2011       11:32:46
70646      8328884386      9/19/2011        8:10:10
70647      8328884929      5/12/2012        10:43:30
70648      8328885830      2/11/2012        11:12:59
70649      8328885832      11/15/2011       20:07:26
70650      8328885999      1/25/2012        20:28:17
70651      8328886183      6/9/2012         10:59:05
70652      8328886867      4/4/2012         18:39:09
70653      8328887623      5/31/2012        8:11:51
70654      8328887623      6/8/2012         8:08:19
70655      8328890673      10/18/2011       13:06:47
70656      8328890673      10/25/2011       15:38:01
70657      8328891817      10/17/2012       18:30:12
70658      8328891817      10/23/2012       10:31:15
70659      8328892924      12/17/2011       11:33:52
70660      8328894426      7/16/2011        9:06:04
70661      8328894426      9/20/2011        20:41:36
70662      8328896014      3/19/2012        19:02:33
70663      8328896484      8/15/2011        9:59:17
70664      8328897345      3/8/2012         9:14:05
70665      8328898582      3/13/2012        18:42:10
70666      8328899162      7/18/2012        18:31:28
70667      8328899976      2/17/2012        9:38:43
70668      8328900987      6/15/2012        16:37:27
70669      8328901618      5/22/2012        18:48:19
70670      8328902852      9/29/2011        15:49:19
70671      8328904034      2/8/2012         12:58:34
70672      8328904084      9/10/2012        8:40:31
70673      8328908028      12/9/2011        16:07:39
70674      8328908128      11/26/2011       13:21:05
70675      8328908472      12/17/2011       12:07:15
70676      8328908983      9/8/2011         18:48:50
70677      8328909450      8/30/2012        9:45:15
70678      8328910155      10/17/2011       8:36:14
70679      8328911654      3/24/2012        10:02:01
70680      8328911654      6/22/2012        8:08:04
70681      8328912046      1/20/2012        20:27:44
70682      8328913334      11/14/2011       17:06:55
70683      8328913548      3/29/2012        16:44:47
70684      8328914219      4/28/2012        8:30:30
70685      8328914301      2/10/2012        20:39:18
70686      8328916238      9/8/2011         19:49:22
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70687      8328917115      6/20/2012        16:59:56
70688      8328918450      10/22/2011       12:34:46
70689      8328918980      11/3/2011        17:49:19
70690      8328919916      2/6/2012         17:18:45
70691      8328920010      9/19/2012        8:02:47
70692      8328920895      9/16/2011        14:44:44
70693      8328924242      9/13/2011        16:20:49
70694      8328928036      10/15/2012       9:55:10
70695      8328928304      3/7/2012         9:47:29
70696      8328929415      10/24/2011       8:07:35
70697      8328930393      4/18/2012        8:13:28
70698      8328931270      3/7/2012         9:43:09
70699      8328934291      5/11/2012        18:12:53
70700      8328935576      1/13/2012        8:04:12
70701      8328936759      10/18/2011       12:31:20
70702      8328937629      1/11/2012        9:00:10
70703      8328937745      3/15/2011        12:04:14
70704      8328939199      11/15/2011       20:13:00
70705      8328940409      8/29/2012        11:12:38
70706      8328944818      10/3/2012        20:01:20
70707      8328947789      1/24/2012        17:22:24
70708      8328948563      9/30/2011        10:03:35
70709      8328948651      3/28/2012        18:23:01
70710      8328949559      12/28/2011       17:45:41
70711      8328960458      7/11/2012        9:40:32
70712      8328961604      5/6/2012         18:21:57
70713      8328961938      10/18/2012       16:36:39
70714      8328965889      4/10/2012        16:13:24
70715      8328966787      2/2/2012         16:38:21
70716      8328967068      11/17/2011       14:13:29
70717      8328968057      9/30/2011        10:19:28
70718      8328969745      9/19/2011        8:31:28
70719      8329210227      8/25/2012        10:55:35
70720      8329212748      5/17/2012        12:22:38
70721      8329213886      1/19/2012        18:42:33
70722      8329213886      1/28/2012        8:21:31
70723      8329214752      4/15/2012        17:17:36
70724      8329215290      12/22/2011       8:31:40
70725      8329215936      2/9/2012         20:30:50
70726      8329217810      2/11/2012        15:41:03
70727      8329219413      3/12/2012        20:38:38
70728      8329220879      11/12/2011       9:28:50
70729      8329221486      3/29/2012        16:46:15
70730      8329228284      9/1/2012         9:27:33
70731      8329228909      9/22/2011        16:10:55
70732      8329281873      3/10/2011        18:27:33
70733      8329286683      5/30/2012        12:41:47
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70734      8329485863      4/19/2012        14:41:27
70735      8329556198      8/20/2011        10:26:26
70736      8329556720      12/22/2011       8:30:25
70737      8329643273      3/12/2012        11:15:14
70738      8329643611      11/14/2011       14:48:25
70739      8329644208      9/8/2011         19:47:04
70740      8329644740      4/27/2012        9:43:55
70741      8329647241      9/4/2013         18:05:04
70742      8329649616      10/20/2011       15:38:32
70743      8329672122      5/23/2012        16:29:18
70744      8329673204      9/20/2011        18:16:39
70745      8329675119      3/31/2012        8:06:09
70746      8329675406      7/10/2012        12:04:04
70747      8329695046      11/18/2011       13:05:34
70748      8329695046      1/5/2012         14:03:22
70749      8329695421      9/26/2012        14:38:08
70750      8329699425      5/31/2012        9:17:30
70751      8329713534      12/12/2011       12:24:26
70752      8329713758      12/7/2011        15:21:00
70753      8329713758      2/10/2012        9:31:37
70754      8329714795      1/14/2012        13:21:34
70755      8329715567      1/12/2012        8:18:34
70756      8329715780      12/27/2011       14:21:10
70757      8329716517      10/28/2011       14:19:08
70758      8329717218      7/20/2011        13:49:46
70759      8329781779      7/23/2012        13:22:12
70760      8329781779      9/22/2012        9:37:53
70761      8329784503      10/5/2011        14:40:24
70762      8329840639      12/2/2011        8:29:14
70763      8329844703      10/10/2012       19:20:19
70764      8329844711      1/19/2012        8:21:49
70765      8329845052      10/8/2011        11:54:54
70766      8432003952      6/23/2012        16:23:08
70767      8432005504      11/22/2011       19:02:11
70768      8432050123      10/22/2011       13:04:37
70769      8432050255      12/10/2011       13:07:55
70770      8432061042      7/27/2012        15:31:36
70771      8432061042      9/1/2012         9:19:48
70772      8432064391      2/14/2012        16:45:22
70773      8432066590      10/6/2011        17:26:18
70774      8432068701      7/25/2012        12:02:45
70775      8432068988      2/4/2012         8:23:47
70776      8432069472      9/22/2012        8:53:44
70777      8432091336      7/31/2012        12:31:39
70778      8432093322      5/31/2012        7:05:11
70779      8432172389      6/24/2012        13:46:55
70780      8432173020      3/19/2012        17:40:04
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70781      8432179006      5/5/2012         8:17:36
70782      8432221487      11/16/2011       8:52:46
70783      8432226627      10/21/2011       13:11:12
70784      8432229210      8/25/2012        11:09:39
70785      8432229677      12/20/2011       19:28:52
70786      8432240147      7/30/2012        13:25:07
70787      8432240247      11/17/2011       16:20:13
70788      8432243437      9/13/2011        7:03:50
70789      8432248982      9/27/2011        18:22:31
70790      8432260300      10/7/2011        7:17:08
70791      8432263229      10/22/2011       13:03:52
70792      8432271367      9/8/2012         11:06:08
70793      8432273177      1/18/2012        16:37:09
70794      8432294760      12/20/2011       19:30:03
70795      8432295622      2/6/2012         16:45:56
70796      8432296038      8/11/2012        9:34:29
70797      8432297104      9/1/2012         9:15:21
70798      8432297767      3/29/2012        12:08:15
70799      8432298029      4/7/2012         9:26:52
70800      8432299188      9/20/2011        17:08:57
70801      8432302708      11/7/2011        7:52:57
70802      8432305115      5/10/2012        14:54:34
70803      8432353189      8/18/2012        8:44:54
70804      8432400810      5/21/2011        10:34:33
70805      8432400979      3/16/2012        15:46:47
70806      8432401757      11/17/2011       15:09:33
70807      8432406441      10/1/2011        10:18:45
70808      8432408125      10/15/2011       9:44:22
70809      8432413531      9/1/2012         8:44:23
70810      8432418076      5/8/2012         7:03:53
70811      8432441002      5/26/2012        14:20:45
70812      8432453804      5/21/2012        7:23:01
70813      8432454342      3/23/2012        10:51:11
70814      8432454530      9/10/2011        8:25:05
70815      8432457218      6/29/2012        17:48:36
70816      8432460266      2/28/2012        7:45:10
70817      8432460561      11/11/2011       7:52:32
70818      8432464132      10/21/2011       12:25:31
70819      8432464132      11/18/2011       13:22:37
70820      8432470531      2/13/2012        7:15:02
70821      8432471419      1/5/2012         11:57:15
70822      8432472830      3/14/2012        19:40:46
70823      8432500398      12/20/2011       9:25:58
70824      8432501932      9/23/2011        18:39:47
70825      8432515183      2/10/2012        7:06:14
70826      8432515183      5/21/2012        7:24:43
70827      8432516920      2/14/2012        16:36:40
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70828      8432516920      3/15/2012        19:02:56
70829      8432517841      4/4/2012         7:03:00
70830      8432517841      4/10/2012        11:39:20
70831      8432521408      12/29/2011       18:49:21
70832      8432536494      2/13/2012        18:21:44
70833      8432541550      10/10/2011       12:24:05
70834      8432548607      2/2/2014         11:36:44
70835      8432549926      12/9/2011        13:34:16
70836      8432549938      2/13/2012        18:27:26
70837      8432594426      3/23/2012        19:49:50
70838      8432594565      9/24/2011        9:39:35
70839      8432605479      9/25/2012        14:49:57
70840      8432605632      11/17/2011       16:24:28
70841      8432605848      2/7/2012         17:12:09
70842      8432607160      1/11/2012        7:39:53
70843      8432607711      1/25/2012        9:15:25
70844      8432630036      9/21/2011        11:45:21
70845      8432631843      2/15/2012        11:43:01
70846      8432632458      12/5/2011        18:24:43
70847      8432632652      10/11/2011       16:07:28
70848      8432632792      1/4/2012         11:31:44
70849      8432633562      10/20/2012       8:14:09
70850      8432635123      10/21/2011       16:02:28
70851      8432639266      6/15/2012        16:36:14
70852      8432648681      1/6/2012         13:03:47
70853      8432670585      8/18/2012        8:49:09
70854      8432671877      6/24/2012        13:56:33
70855      8432674049      10/5/2011        14:08:52
70856      8432691127      7/30/2011        8:11:35
70857      8432695987      9/14/2011        16:06:05
70858      8432703686      10/5/2012        18:18:27
70859      8432708150      12/30/2011       7:07:45
70860      8432708968      11/18/2013       7:09:12
70861      8432709296      9/29/2011        15:29:38
70862      8432709642      12/7/2011        13:51:19
70863      8432765502      3/10/2012        8:27:19
70864      8432768865      11/15/2011       15:18:52
70865      8432769660      7/20/2011        13:36:02
70866      8432831690      1/17/2012        17:03:18
70867      8432837763      11/28/2011       17:43:44
70868      8432881666      10/10/2011       12:31:05
70869      8432892099      9/23/2011        11:33:32
70870      8432900089      4/5/2012         16:00:52
70871      8432960295      10/14/2011       13:20:16
70872      8432961412      9/22/2012        9:02:00
70873      8432966918      10/14/2011       12:44:38
70874      8432967217      9/28/2011        10:50:54
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70875      8432980334      6/21/2012        18:42:20
70876      8432982342      12/30/2011       7:08:50
70877      8432985119      9/13/2011        17:45:32
70878      8433005556      5/2/2012         13:22:18
70879      8433008703      8/25/2012        11:01:17
70880      8433009608      6/27/2012        12:15:02
70881      8433016073      6/7/2011         12:09:21
70882      8433031247      10/24/2011       7:07:38
70883      8433033927      3/21/2011        10:12:02
70884      8433044960      9/19/2011        19:06:27
70885      8433070012      9/13/2011        17:25:56
70886      8433076215      11/4/2011        7:21:15
70887      8433120231      9/4/2012         16:03:46
70888      8433121084      10/15/2012       16:08:57
70889      8433121900      5/19/2012        8:22:23
70890      8433121900      5/25/2012        17:06:29
70891      8433122148      3/15/2012        7:12:51
70892      8433122212      4/9/2011         13:25:32
70893      8433125281      11/26/2011       12:36:07
70894      8433125565      10/25/2011       16:10:15
70895      8433128924      3/7/2012         18:29:27
70896      8433129637      7/27/2011        17:50:29
70897      8433129896      3/29/2012        11:25:07
70898      8433190183      9/26/2011        8:45:51
70899      8433192452      3/20/2012        17:36:14
70900      8433240522      10/5/2012        12:25:14
70901      8433240839      3/29/2012        11:16:48
70902      8433242482      2/10/2012        17:04:16
70903      8433255017      6/30/2012        15:39:52
70904      8433255216      12/16/2011       16:06:17
70905      8433256599      11/26/2011       12:33:28
70906      8433270383      5/16/2012        16:47:18
70907      8433271187      9/10/2011        8:43:13
70908      8433276379      4/11/2012        7:11:08
70909      8433279538      1/21/2012        8:10:42
70910      8433279597      11/17/2011       16:19:26
70911      8433293682      9/19/2011        19:30:16
70912      8433302506      3/31/2012        8:23:25
70913      8433303335      10/4/2011        13:08:37
70914      8433305966      10/5/2011        14:02:26
70915      8433306363      1/16/2012        17:20:00
70916      8433307464      3/19/2012        7:13:09
70917      8433370563      9/24/2011        9:17:09
70918      8433375792      5/16/2012        16:55:06
70919      8433375937      10/6/2011        16:13:13
70920      8433376324      1/29/2012        17:12:13
70921      8433377304      11/30/2011       7:10:50
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70922      8433377793      8/25/2012        11:10:12
70923      8433381543      6/21/2012        18:50:17
70924      8433382294      1/6/2012         14:36:49
70925      8433384191      5/5/2012         12:30:12
70926      8433385123      3/12/2012        7:10:46
70927      8433388072      3/1/2012         11:53:43
70928      8433388383      8/16/2011        16:39:38
70929      8433406536      7/20/2011        14:16:32
70930      8433406536      1/27/2012        17:54:28
70931      8433408876      3/13/2012        7:07:41
70932      8433408876      5/21/2012        7:25:50
70933      8433436196      3/13/2012        18:35:18
70934      8433438385      10/1/2011        10:20:06
70935      8433439455      9/20/2011        17:08:11
70936      8433441304      3/9/2012         7:03:04
70937      8433443100      12/23/2011       14:41:33
70938      8433446514      1/12/2012        7:04:33
70939      8433450162      10/17/2012       9:38:30
70940      8433450782      5/21/2012        7:06:37
70941      8433450782      5/21/2012        7:31:58
70942      8433452214      8/24/2011        12:07:05
70943      8433458487      8/16/2012        16:45:02
70944      8433560810      12/9/2011        7:49:57
70945      8433562973      10/25/2012       12:22:11
70946      8433567960      2/8/2012         7:35:16
70947      8433600929      1/31/2012        7:08:30
70948      8433600929      2/7/2012         7:12:23
70949      8433609196      1/5/2012         17:21:01
70950      8433609357      10/23/2012       10:29:44
70951      8433641053      10/17/2011       11:10:13
70952      8433673546      3/15/2012        19:24:42
70953      8433676942      5/21/2012        7:35:56
70954      8433677191      9/17/2011        10:01:45
70955      8433677258      12/26/2011       8:55:13
70956      8433677258      4/21/2012        16:32:46
70957      8433681184      2/15/2012        7:58:24
70958      8433685684      4/2/2012         17:03:03
70959      8433720563      3/6/2012         16:57:30
70960      8433722649      4/25/2012        9:33:40
70961      8433731928      2/24/2012        17:12:36
70962      8433733122      10/8/2011        9:20:49
70963      8433733859      10/18/2011       12:46:34
70964      8433734015      2/8/2012         7:34:24
70965      8433735442      1/14/2012        8:05:21
70966      8433735442      5/21/2012        8:43:57
70967      8433739785      11/8/2011        14:21:36
70968      8433776445      6/1/2012         9:04:03
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70969      8433851920      10/24/2012       14:43:18
70970      8433856988      2/28/2012        7:56:33
70971      8433939488      10/10/2011       12:10:48
70972      8434065314      3/14/2012        7:01:44
70973      8434085499      3/6/2012         17:01:39
70974      8434091341      3/29/2012        16:37:04
70975      8434091743      9/20/2011        16:48:54
70976      8434123346      9/15/2011        7:26:44
70977      8434127400      10/16/2012       16:43:27
70978      8434210262      10/22/2011       12:54:11
70979      8434210262      11/28/2011       11:48:05
70980      8434213403      3/27/2012        15:39:05
70981      8434222211      11/7/2011        7:24:14
70982      8434227599      1/5/2012         13:56:36
70983      8434228871      12/20/2011       19:31:54
70984      8434244481      8/31/2012        16:34:17
70985      8434245057      10/10/2011       11:45:34
70986      8434246937      9/10/2011        9:02:27
70987      8434247182      10/11/2011       17:13:42
70988      8434247828      1/24/2012        9:58:55
70989      8434248328      12/10/2011       14:47:48
70990      8434248366      7/13/2012        17:03:34
70991      8434250306      7/7/2012         10:16:20
70992      8434251482      12/20/2011       12:29:07
70993      8434255482      11/5/2011        9:24:53
70994      8434255482      11/12/2011       9:49:38
70995      8434257261      12/20/2011       19:21:22
70996      8434258409      10/14/2011       13:06:56
70997      8434331337      6/27/2012        17:49:25
70998      8434331337      7/2/2012         14:59:16
70999      8434331414      5/4/2012         7:26:29
71000      8434370196      3/24/2012        10:12:05
71001      8434373830      10/5/2012        12:15:49
71002      8434377764      6/18/2011        15:13:33
71003      8434377980      12/2/2011        7:35:13
71004      8434378012      11/3/2011        17:02:18
71005      8434391479      6/30/2012        8:07:22
71006      8434393001      10/5/2011        14:34:00
71007      8434393585      1/6/2012         14:32:43
71008      8434411565      11/17/2011       13:37:35
71009      8434413103      1/24/2012        17:14:52
71010      8434419381      10/10/2011       12:09:50
71011      8434422342      1/20/2012        11:25:52
71012      8434426663      4/4/2012         7:24:41
71013      8434427016      11/23/2011       10:11:45
71014      8434427229      2/16/2014        16:28:12
71015      8434428004      3/19/2012        17:40:55
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71016      8434461132      9/21/2011        19:33:46
71017      8434502109      11/5/2011        9:24:39
71018      8434503818      5/21/2012        7:21:15
71019      8434520009      3/31/2012        8:01:30
71020      8434520714      2/18/2012        8:33:47
71021      8434521649      9/19/2011        19:18:18
71022      8434522567      10/7/2012        12:47:55
71023      8434529462      3/6/2012         15:43:39
71024      8434530148      11/8/2011        14:15:28
71025      8434538522      3/16/2012        15:48:41
71026      8434539024      11/25/2011       18:09:30
71027      8434552525      1/27/2012        17:42:28
71028      8434555004      7/30/2012        13:12:22
71029      8434555810      5/12/2012        8:42:36
71030      8434573022      12/7/2011        13:24:09
71031      8434576091      10/12/2012       16:34:23
71032      8434581756      9/1/2012         9:19:05
71033      8434585409      12/24/2011       7:13:33
71034      8434586515      2/2/2012         7:07:37
71035      8434605387      8/14/2012        11:46:31
71036      8434605525      1/4/2012         11:01:38
71037      8434616502      8/5/2011         18:35:31
71038      8434657333      7/22/2011        13:24:51
71039      8434671272      2/16/2012        7:02:38
71040      8434677101      12/31/2011       11:45:43
71041      8434677885      4/6/2012         15:42:07
71042      8434678659      5/4/2012         18:16:55
71043      8434679336      5/16/2012        16:48:57
71044      8434680875      9/30/2011        9:55:16
71045      8434680875      12/19/2011       7:21:08
71046      8434684565      9/7/2012         15:47:20
71047      8434695098      3/26/2012        7:07:25
71048      8434698044      2/15/2012        8:02:32
71049      8434716195      10/5/2012        18:31:38
71050      8434720072      4/15/2012        16:52:43
71051      8434720817      3/2/2012         18:56:58
71052      8434721698      12/15/2011       7:20:52
71053      8434729509      2/7/2012         17:05:28
71054      8434753213      4/21/2012        8:11:20
71055      8434753213      10/20/2012       16:21:39
71056      8434753609      11/17/2011       16:14:11
71057      8434757709      10/25/2011       16:05:23
71058      8434759308      1/20/2012        14:16:36
71059      8434763341      10/10/2012       19:17:15
71060      8434780846      9/8/2011         19:27:11
71061      8434782147      4/28/2012        8:06:41
71062      8434785711      10/3/2011        7:26:04
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71063      8434785711      10/15/2011       9:05:22
71064      8434786844      10/13/2011       7:06:57
71065      8434787463      10/3/2011        7:26:51
71066      8434789870      9/13/2011        7:21:11
71067      8434890859      1/13/2014        9:11:45
71068      8434958082      6/9/2012         10:54:07
71069      8434962675      9/9/2011         7:40:18
71070      8434964155      9/8/2011         19:28:34
71071      8434965687      5/21/2012        7:25:21
71072      8434967119      7/7/2012         10:20:13
71073      8434969989      3/19/2012        7:12:47
71074      8434990034      9/22/2011        15:06:38
71075      8435035511      10/12/2012       16:57:19
71076      8435038226      5/10/2012        13:12:31
71077      8435044572      2/24/2012        17:08:55
71078      8435046415      1/4/2012         11:11:22
71079      8435047129      6/25/2012        13:56:18
71080      8435061657      10/11/2011       15:49:59
71081      8435093793      7/3/2012         12:57:30
71082      8435130969      1/16/2012        17:20:27
71083      8435133415      9/19/2011        19:02:30
71084      8435141249      9/21/2011        19:28:46
71085      8435145456      1/3/2012         10:57:33
71086      8435170413      3/29/2012        11:29:04
71087      8435171451      10/23/2012       10:36:14
71088      8435180549      7/15/2011        7:49:16
71089      8435182234      8/9/2011         12:41:48
71090      8435182800      7/12/2011        12:16:28
71091      8435188045      8/9/2012         14:06:11
71092      8435270832      12/16/2011       15:55:39
71093      8435301238      8/27/2011        9:52:44
71094      8435301571      12/22/2011       7:27:16
71095      8435301866      3/16/2012        10:01:17
71096      8435301866      3/21/2012        13:44:38
71097      8435303334      5/14/2012        15:25:06
71098      8435304112      9/23/2011        18:54:30
71099      8435308723      4/1/2011         11:33:04
71100      8435320163      3/17/2012        8:48:53
71101      8435320572      12/1/2011        15:12:03
71102      8435322119      1/9/2012         18:24:36
71103      8435327951      11/28/2011       17:42:22
71104      8435343429      3/2/2012         18:45:32
71105      8435347900      9/13/2011        7:04:18
71106      8435347974      12/10/2011       13:16:54
71107      8435347974      12/15/2011       9:21:44
71108      8435351461      9/19/2011        7:04:33
71109      8435351461      9/28/2011        10:52:50
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71110      8435366361      3/5/2012         7:53:29
71111      8435396194      10/5/2012        18:27:43
71112      8435424900      4/25/2012        15:48:38
71113      8435425891      8/6/2012         11:44:16
71114      8435426201      10/4/2011        13:05:13
71115      8435440181      1/7/2012         9:02:21
71116      8435500091      12/19/2011       7:31:26
71117      8435572244      9/24/2012        13:06:40
71118      8435606420      9/24/2012        19:00:21
71119      8435681171      9/24/2011        9:14:22
71120      8435681777      10/12/2011       7:57:43
71121      8435683949      7/14/2011        15:40:12
71122      8435684237      1/9/2012         18:32:56
71123      8435696744      2/3/2012         7:11:28
71124      8435750007      11/18/2011       13:28:03
71125      8435750117      12/9/2011        15:54:58
71126      8435751386      12/20/2011       19:30:48
71127      8435755047      12/15/2011       8:28:52
71128      8435755047      5/21/2012        7:02:47
71129      8435769277      9/14/2011        16:29:13
71130      8435933983      8/11/2012        9:21:14
71131      8435972118      12/5/2011        9:07:41
71132      8435975682      9/13/2011        17:27:03
71133      8435976048      11/26/2011       13:08:25
71134      8435976888      7/3/2012         15:59:39
71135      8435978554      10/23/2012       16:13:21
71136      8435978756      11/22/2011       18:27:36
71137      8435979914      10/19/2011       7:48:07
71138      8435979914      12/10/2011       12:44:33
71139      8435980259      11/17/2011       16:21:19
71140      8435983309      12/31/2011       12:01:23
71141      8435983591      5/23/2012        16:24:06
71142      8435984468      10/4/2011        13:38:04
71143      8435984521      9/13/2011        7:13:50
71144      8435986654      3/7/2012         18:28:01
71145      8435991537      11/28/2011       16:53:06
71146      8435991573      5/17/2012        7:06:06
71147      8435992321      9/7/2012         15:39:21
71148      8435994018      11/12/2011       9:11:03
71149      8435995145      1/23/2012        19:13:47
71150      8435996463      3/26/2012        7:21:22
71151      8435996879      11/17/2011       13:32:38
71152      8435997640      9/14/2011        10:53:43
71153      8435999770      9/13/2012        21:29:09
71154      8436010204      5/13/2012        16:46:01
71155      8436011031      3/21/2012        13:40:10
71156      8436011031      5/14/2012        15:18:41
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71157      8436017451      10/10/2011       11:37:15
71158      8436020241      10/13/2012       9:14:57
71159      8436022996      10/11/2012       18:44:00
71160      8436090337      2/1/2012         18:27:59
71161      8436091044      6/15/2012        16:44:01
71162      8436091275      4/21/2012        8:03:16
71163      8436091787      3/11/2012        15:09:34
71164      8436092085      8/17/2011        18:34:43
71165      8436096769      2/22/2012        7:18:59
71166      8436099224      9/20/2011        16:31:23
71167      8436101209      7/27/2012        12:33:21
71168      8436103544      6/2/2012         12:36:22
71169      8436104189      9/24/2012        18:51:03
71170      8436106718      5/14/2012        7:02:36
71171      8436107713      8/21/2012        13:56:05
71172      8436108622      11/15/2011       16:16:16
71173      8436109114      5/9/2012         8:09:37
71174      8436140520      2/8/2012         7:46:49
71175      8436157394      10/4/2011        13:33:01
71176      8436161453      12/8/2011        12:03:39
71177      8436162421      3/10/2012        8:38:19
71178      8436162421      4/6/2012         15:38:01
71179      8436162439      10/17/2011       7:18:34
71180      8436167145      3/13/2012        18:40:16
71181      8436171225      10/7/2011        7:22:13
71182      8436198760      9/3/2012         14:42:36
71183      8436210189      10/17/2011       7:16:07
71184      8436212358      3/26/2012        7:09:00
71185      8436242155      5/24/2012        7:10:57
71186      8436250274      9/24/2012        12:51:10
71187      8436250718      12/3/2011        8:55:59
71188      8436251496      10/27/2011       15:00:58
71189      8436251667      10/24/2012       14:52:50
71190      8436259687      7/27/2012        12:49:48
71191      8436288712      12/22/2011       8:59:38
71192      8436288730      10/8/2011        11:22:11
71193      8436354130      1/3/2012         11:10:05
71194      8436354130      5/25/2012        16:59:08
71195      8436362984      8/25/2012        8:26:09
71196      8436371664      6/15/2012        8:49:24
71197      8436377560      11/5/2011        11:00:03
71198      8436391552      10/23/2012       16:05:03
71199      8436392203      5/16/2012        17:00:08
71200      8436393683      6/23/2012        16:11:10
71201      8436397461      11/26/2011       12:35:26
71202      8436401643      10/15/2011       10:20:17
71203      8436404176      5/13/2012        17:05:44
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71204      8436407017      2/24/2012        17:08:56
71205      8436420511      9/19/2011        19:11:13
71206      8436420743      5/8/2012         9:05:14
71207      8436421622      10/12/2012       16:34:47
71208      8436427426      11/26/2011       12:38:24
71209      8436554455      9/21/2011        11:41:14
71210      8436557395      5/17/2012        16:45:38
71211      8436559076      8/19/2011        12:18:22
71212      8436706793      12/30/2011       17:01:50
71213      8436724954      3/23/2012        11:03:40
71214      8436724954      5/7/2012         7:03:56
71215      8436765128      11/17/2011       16:24:29
71216      8436807141      10/28/2011       14:01:53
71217      8436832103      9/23/2011        11:36:46
71218      8436836545      6/4/2012         8:10:00
71219      8436856048      5/23/2012        16:24:00
71220      8436856096      12/12/2011       7:46:19
71221      8436859623      1/19/2012        18:25:02
71222      8436870388      10/8/2011        11:16:58
71223      8436875045      3/19/2012        17:39:34
71224      8436876941      2/6/2012         17:01:21
71225      8436879824      3/9/2012         7:04:30
71226      8436931549      2/7/2012         7:17:24
71227      8436931566      10/12/2011       12:10:42
71228      8436941401      2/17/2012        9:09:11
71229      8436943495      10/11/2012       18:33:31
71230      8436947411      11/15/2011       16:06:56
71231      8436960683      10/3/2011        7:30:02
71232      8436960683      12/2/2011        15:18:04
71233      8436994255      1/28/2012        9:39:53
71234      8437039782      10/7/2012        12:49:28
71235      8437080980      5/22/2012        18:19:50
71236      8437092965      10/17/2011       7:12:17
71237      8437186385      10/23/2012       15:52:19
71238      8437227335      1/3/2012         11:13:03
71239      8437261438      10/10/2011       12:26:05
71240      8437275610      9/8/2011         18:30:08
71241      8437290431      9/27/2011        18:37:06
71242      8437290960      10/21/2011       14:37:41
71243      8437292740      3/14/2012        19:24:22
71244      8437297637      10/6/2011        16:22:37
71245      8437311970      9/30/2011        10:00:42
71246      8437311970      12/20/2011       19:29:43
71247      8437311970      6/15/2012        16:40:17
71248      8437350068      7/15/2011        17:14:22
71249      8437351000      5/13/2011        11:16:38
71250      8437354247      6/11/2012        16:59:46
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71251      8437422121      3/22/2012        7:59:51
71252      8437516350      12/28/2011       7:02:45
71253      8437533811      11/9/2011        7:25:32
71254      8437584387      5/10/2012        16:09:57
71255      8437615477      11/23/2011       10:01:15
71256      8437899257      7/28/2012        8:52:43
71257      8437899672      10/23/2012       15:59:22
71258      8438012776      9/10/2011        8:49:57
71259      8438015078      3/7/2012         18:40:39
71260      8438018558      5/21/2012        7:29:50
71261      8438103123      3/30/2012        16:21:47
71262      8438106602      6/13/2012        7:09:20
71263      8438107272      12/14/2011       14:48:33
71264      8438123496      9/3/2012         14:41:57
71265      8438126040      3/15/2011        11:27:18
71266      8438130868      8/24/2011        11:44:50
71267      8438138339      1/27/2012        10:10:54
71268      8438160807      10/8/2011        9:36:54
71269      8438193305      3/15/2012        19:28:09
71270      8438226343      1/5/2012         12:00:21
71271      8438229787      10/11/2011       16:48:25
71272      8438302713      1/17/2012        18:38:44
71273      8438332595      7/14/2011        15:41:18
71274      8438333555      10/10/2011       12:17:21
71275      8438415139      10/17/2012       9:38:44
71276      8438479457      2/16/2012        7:02:09
71277      8438479696      6/14/2012        15:56:22
71278      8438553614      2/6/2012         10:06:58
71279      8438553614      2/15/2012        11:20:20
71280      8438554963      9/20/2011        17:37:08
71281      8438558398      1/13/2012        17:12:44
71282      8438581898      12/15/2011       9:23:30
71283      8438584279      10/22/2011       12:53:44
71284      8438586104      12/30/2011       7:03:27
71285      8438601913      5/18/2012        16:10:32
71286      8438602241      8/6/2012         14:39:12
71287      8438602241      10/17/2012       18:27:42
71288      8438609840      3/26/2012        7:11:02
71289      8438610322      3/22/2012        7:52:39
71290      8438619090      10/14/2011       12:43:28
71291      8438620893      11/16/2011       8:47:45
71292      8438623821      12/17/2011       11:22:45
71293      8438627389      12/20/2011       7:09:21
71294      8438629595      11/5/2011        9:05:54
71295      8438643039      12/7/2011        13:56:10
71296      8438648367      7/15/2012        10:39:13
71297      8438648367      10/23/2012       11:02:42
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71298      8438700037      9/21/2011        11:41:54
71299      8438700168      9/24/2012        18:58:31
71300      8438708260      1/10/2012        18:06:36
71301      8438774546      9/21/2011        19:32:16
71302      8439019365      7/7/2012         10:18:00
71303      8439020650      7/18/2011        10:56:03
71304      8439024200      2/14/2012        9:56:04
71305      8439060692      11/9/2011        7:38:35
71306      8439064569      8/18/2011        7:45:02
71307      8439065637      10/15/2011       10:25:21
71308      8439065885      12/9/2011        7:56:00
71309      8439069995      10/28/2011       13:59:34
71310      8439087387      11/3/2011        17:12:48
71311      8439091227      2/11/2012        10:42:04
71312      8439260607      2/18/2012        8:50:24
71313      8439261514      10/5/2011        14:06:12
71314      8439263098      3/7/2012         18:37:25
71315      8439263321      11/7/2011        7:52:08
71316      8439264206      10/24/2012       14:41:52
71317      8439264296      1/14/2012        13:24:04
71318      8439266524      11/12/2011       9:45:05
71319      8439267701      1/3/2012         16:22:17
71320      8439330432      3/4/2012         12:31:59
71321      8439330525      7/21/2012        10:22:18
71322      8439330535      5/11/2012        12:14:54
71323      8439331047      10/15/2012       16:16:55
71324      8439332222      12/15/2011       8:34:33
71325      8439332222      3/27/2012        15:37:26
71326      8439335722      10/4/2011        13:39:01
71327      8439563754      11/30/2011       15:04:21
71328      8439571231      3/29/2012        16:30:54
71329      8439571231      5/1/2012         17:38:40
71330      8439571231      10/15/2012       16:26:52
71331      8439572634      10/17/2011       7:30:08
71332      8439572634      11/21/2011       7:02:22
71333      8439572634      12/5/2011        18:03:10
71334      8439913551      9/23/2011        7:10:38
71335      8439978233      11/30/2011       7:13:35
71336      8439979526      9/20/2011        16:50:37
71337      8452145570      8/12/2011        9:17:40
71338      8452206182      7/12/2012        19:50:01
71339      8452426967      2/15/2012        8:07:23
71340      8452450908      3/19/2012        7:09:10
71341      8452491665      6/5/2012         19:45:33
71342      8452649984      9/8/2011         18:35:03
71343      8452702633      12/9/2011        15:56:04
71344      8453895425      1/5/2012         12:09:48
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71345      8453899217      2/6/2012         7:11:02
71346      8453923658      9/4/2012         16:14:15
71347      8453998720      12/1/2011        15:15:02
71348      8454017236      3/6/2012         16:09:40
71349      8454019808      9/23/2011        18:52:53
71350      8454052109      1/12/2012        7:13:30
71351      8454173279      3/2/2012         18:57:09
71352      8454306011      9/23/2011        11:40:39
71353      8454670737      7/23/2012        15:16:45
71354      8454754348      3/22/2012        14:08:40
71355      8454921203      7/2/2012         17:05:39
71356      8454921203      7/16/2012        7:18:17
71357      8454943794      12/10/2011       14:32:07
71358      8455276332      4/27/2012        7:08:33
71359      8455422319      8/5/2011         18:38:55
71360      8455422557      9/13/2011        17:18:34
71361      8455494859      9/19/2011        19:26:32
71362      8455517568      11/29/2011       16:14:29
71363      8455598394      12/8/2011        19:42:51
71364      8455598878      10/10/2012       19:09:35
71365      8455687835      4/6/2012         20:21:56
71366      8455908090      10/17/2011       7:29:52
71367      8455911419      3/30/2011        8:10:36
71368      8455911560      1/27/2012        17:51:28
71369      8455941349      9/12/2011        13:42:57
71370      8455979560      6/25/2012        13:31:52
71371      8456121212      2/14/2012        9:57:19
71372      8456166794      10/24/2012       14:52:44
71373      8456298007      1/10/2012        11:43:29
71374      8456492967      8/2/2012         11:26:19
71375      8456499322      10/12/2011       8:11:49
71376      8456594874      10/23/2012       16:12:56
71377      8456599632      9/6/2012         12:27:43
71378      8456652780      3/14/2012        19:24:32
71379      8456653590      3/8/2012         9:24:03
71380      8456799993      9/27/2011        18:03:49
71381      8457011835      10/31/2011       8:50:11
71382      8457021905      6/12/2012        17:10:26
71383      8457059907      12/14/2011       17:56:18
71384      8457061262      4/26/2012        8:07:48
71385      8457069553      11/28/2011       11:48:47
71386      8457069553      2/6/2012         17:10:39
71387      8457070535      4/21/2012        16:29:51
71388      8457216861      1/11/2012        7:24:32
71389      8457426510      2/13/2012        7:20:50
71390      8457427015      3/20/2012        17:34:55
71391      8457645497      10/11/2011       16:47:14
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71392      8457646304      10/26/2011       12:38:51
71393      8457846836      4/30/2012        14:28:09
71394      8457846836      5/21/2012        7:32:15
71395      8457910171      8/23/2012        11:34:54
71396      8457968848      12/28/2011       11:08:22
71397      8457987201      12/10/2011       14:55:29
71398      8458000420      7/2/2012         17:12:13
71399      8458004599      7/9/2012         12:05:48
71400      8458005313      11/2/2011        7:29:14
71401      8458005313      2/21/2012        17:32:23
71402      8458006243      10/18/2012       16:34:17
71403      8458007895      9/30/2011        9:51:19
71404      8458634634      3/29/2012        11:13:45
71405      8458637391      6/14/2012        15:48:57
71406      8458910039      9/12/2011        13:42:39
71407      8458911197      9/15/2011        7:13:08
71408      8458916165      11/23/2011       14:48:09
71409      8459011619      2/15/2012        11:30:26
71410      8459015539      6/7/2012         7:08:05
71411      8459019516      6/27/2012        12:27:07
71412      8459135559      9/11/2012        7:45:00
71413      8459268351      3/30/2012        7:00:59
71414      8472121834      5/4/2012         18:21:41
71415      8472126361      11/11/2011       13:21:11
71416      8472129474      11/18/2011       12:28:48
71417      8472173619      9/24/2011        9:23:21
71418      8472190755      9/28/2011        14:25:24
71419      8472192152      5/26/2012        8:40:01
71420      8472192245      4/10/2012        16:15:03
71421      8472198965      9/23/2011        18:34:00
71422      8472202213      1/3/2012         11:04:54
71423      8472202213      5/10/2012        15:02:41
71424      8472263525      9/10/2011        9:09:18
71425      8472304596      4/1/2011         13:08:09
71426      8472394565      10/27/2011       16:49:32
71427      8472717863      9/24/2012        12:53:27
71428      8472745880      9/28/2011        11:18:06
71429      8472933732      9/8/2011         19:30:40
71430      8472934667      5/16/2011        12:36:19
71431      8472934737      3/20/2012        17:41:57
71432      8473127110      10/13/2011       8:38:44
71433      8473210118      10/6/2011        16:44:05
71434      8473222082      8/4/2012         8:07:34
71435      8473224567      10/31/2011       9:19:12
71436      8473226454      10/7/2011        8:03:30
71437      8473313212      12/27/2011       13:45:42
71438      8473313792      3/27/2012        15:00:57
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71439      8473364911      4/7/2012         9:33:57
71440      8473370934      12/21/2011       10:19:32
71441      8473370934      5/21/2012        8:15:07
71442      8473401880      10/15/2011       8:19:39
71443      8473430392      12/21/2011       19:56:23
71444      8473438716      4/21/2011        12:10:15
71445      8473449333      6/27/2011        8:18:01
71446      8473454305      10/25/2011       16:28:44
71447      8473455084      10/29/2011       11:36:31
71448      8473462419      4/10/2012        11:42:41
71449      8473469601      9/8/2011         18:57:48
71450      8473548273      2/24/2012        20:56:06
71451      8473548273      10/8/2012        20:10:56
71452      8473611437      6/27/2012        12:21:11
71453      8473662012      9/2/2011         13:03:20
71454      8473722131      5/2/2012         13:48:25
71455      8473726482      10/8/2012        8:09:05
71456      8473854571      8/8/2012         8:17:12
71457      8473858286      11/4/2011        9:10:27
71458      8473858996      5/15/2012        19:13:29
71459      8473879715      3/21/2012        13:51:36
71460      8474013546      9/3/2011         11:35:36
71461      8474016076      11/11/2011       20:23:01
71462      8474018212      11/29/2011       15:04:49
71463      8474019573      4/12/2012        18:06:58
71464      8474044369      10/6/2011        17:41:56
71465      8474044371      10/27/2011       15:57:45
71466      8474067623      3/11/2011        16:49:17
71467      8474067659      7/16/2012        19:39:09
71468      8474092589      4/15/2012        17:35:50
71469      8474092589      5/21/2012        8:18:10
71470      8474092589      10/9/2012        11:45:53
71471      8474144140      9/26/2011        9:40:03
71472      8474145986      10/6/2011        17:52:11
71473      8474451641      2/7/2012         16:48:42
71474      8474451659      7/24/2012        14:46:55
71475      8474451931      10/18/2011       13:05:42
71476      8474454148      1/9/2012         8:19:00
71477      8474454233      8/18/2012        9:06:09
71478      8474458449      11/10/2011       8:17:38
71479      8474458479      10/25/2011       16:31:05
71480      8474458479      11/15/2011       15:43:23
71481      8474458479      11/28/2011       12:18:09
71482      8474520736      12/2/2011        8:29:48
71483      8474544414      3/7/2012         18:42:06
71484      8474896514      3/29/2012        12:28:57
71485      8474898219      10/18/2012       8:05:36
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71486      8475024562      4/18/2011        19:52:05
71487      8475052947      6/2/2012         12:48:39
71488      8475059620      6/7/2012         12:44:49
71489      8475073525      8/23/2011        17:59:55
71490      8475145664      1/12/2012        8:07:26
71491      8475146420      9/29/2011        15:20:35
71492      8475253667      10/29/2011       10:43:13
71493      8475258012      11/23/2011       10:55:05
71494      8475283714      9/1/2012         9:05:16
71495      8475291393      10/2/2012        10:11:42
71496      8475292401      7/17/2012        12:29:28
71497      8475332884      11/4/2011        9:13:49
71498      8475531898      1/14/2012        8:11:05
71499      8475536720      2/2/2012         16:31:32
71500      8475600069      10/13/2011       10:30:51
71501      8475643000      9/19/2011        8:32:31
71502      8475715288      10/25/2012       19:48:45
71503      8475961067      4/5/2012         14:00:29
71504      8475961815      6/6/2011         17:24:37
71505      8476120815      11/14/2011       17:12:02
71506      8476129249      12/23/2011       16:05:49
71507      8476242021      3/30/2012        10:00:18
71508      8476242021      9/27/2012        8:43:44
71509      8476300786      11/17/2011       16:27:18
71510      8476300995      6/16/2012        8:40:09
71511      8476300995      9/29/2012        10:07:39
71512      8476303995      9/25/2012        15:19:30
71513      8476307049      3/20/2012        9:28:24
71514      8476307063      10/17/2012       12:54:01
71515      8476410156      7/9/2012         12:06:24
71516      8476446109      10/3/2012        19:57:34
71517      8476515728      10/3/2011        7:37:55
71518      8476521819      7/23/2012        15:21:26
71519      8476521819      8/14/2012        20:45:32
71520      8476527619      11/1/2011        8:52:18
71521      8476527680      4/20/2012        14:33:46
71522      8476527680      6/29/2012        17:44:27
71523      8476604648      3/11/2011        16:51:42
71524      8476681206      11/25/2011       17:53:58
71525      8476682684      6/2/2012         13:18:20
71526      8476685202      9/25/2012        15:32:51
71527      8476686177      4/12/2012        14:54:03
71528      8476826724      11/12/2011       10:33:50
71529      8476872750      11/28/2011       11:30:33
71530      8476877497      5/3/2012         8:07:39
71531      8476916303      2/2/2012         11:35:35
71532      8477022171      8/13/2011        10:15:04
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71533      8477084306      12/5/2011        8:42:29
71534      8477086548      11/10/2011       8:06:32
71535      8477123022      11/26/2011       13:22:14
71536      8477144396      4/1/2011         13:16:11
71537      8477322651      11/11/2011       14:35:40
71538      8477360184      8/23/2012        11:39:51
71539      8477368943      9/5/2012         15:22:47
71540      8477368943      10/10/2012       19:13:50
71541      8477418618      3/10/2012        9:31:02
71542      8477546891      12/20/2011       15:01:50
71543      8477560967      7/21/2011        14:12:54
71544      8477678277      5/8/2012         9:39:50
71545      8477695563      12/30/2011       8:38:38
71546      8477700959      8/6/2012         15:17:26
71547      8477707330      10/5/2011        14:44:54
71548      8477707926      9/19/2011        8:16:45
71549      8477707926      10/7/2011        8:05:04
71550      8477725681      11/19/2011       8:55:29
71551      8477727907      4/16/2011        15:14:46
71552      8477729629      11/19/2011       9:11:09
71553      8477743465      2/1/2012         9:45:06
71554      8477782086      12/19/2011       8:15:29
71555      8477913997      11/7/2011        9:31:34
71556      8477916881      10/15/2011       10:52:41
71557      8477917385      12/5/2011        9:29:39
71558      8477919847      5/23/2012        16:31:35
71559      8478094599      9/13/2011        14:09:04
71560      8478097354      1/7/2012         8:29:20
71561      8478098461      12/7/2011        14:08:43
71562      8478098461      12/20/2011       19:24:45
71563      8478124365      9/28/2012        14:25:56
71564      8478128127      4/20/2012        14:29:36
71565      8478154018      7/20/2011        13:48:30
71566      8478305581      2/13/2012        8:16:07
71567      8478332502      11/25/2011       17:46:56
71568      8478332502      4/12/2012        18:20:49
71569      8478407292      9/24/2011        9:26:49
71570      8478407292      10/5/2011        14:43:24
71571      8478409055      12/20/2011       7:02:08
71572      8478451320      11/9/2011        8:18:23
71573      8478456803      3/31/2012        17:39:51
71574      8478479978      9/16/2011        13:34:12
71575      8478482607      10/4/2011        13:20:41
71576      8478585633      12/1/2011        8:08:44
71577      8478672317      9/19/2011        8:15:22
71578      8478677859      11/3/2011        17:15:54
71579      8478713630      4/23/2012        8:08:09
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71580      8478737404      10/28/2011       14:25:37
71581      8478755085      8/20/2012        18:56:05
71582      8478779678      8/27/2011        12:00:35
71583      8478788385      4/9/2012         13:48:18
71584      8478908799      10/5/2011        14:12:15
71585      8478909305      12/11/2011       12:23:17
71586      8478944235      11/12/2011       9:41:21
71587      8478946034      3/7/2012         9:38:09
71588      8478946034      3/30/2012        16:17:04
71589      8478993466      4/3/2012         20:13:38
71590      8479030180      8/25/2012        11:15:21
71591      8479103929      10/15/2012       10:05:58
71592      8479120335      7/17/2012        12:28:18
71593      8479123308      10/17/2012       18:30:51
71594      8479133962      9/8/2011         19:30:53
71595      8479172065      3/16/2012        10:23:16
71596      8479172165      3/23/2012        7:07:15
71597      8479222678      11/14/2011       17:13:46
71598      8479224552      1/10/2012        18:12:29
71599      8479224552      5/8/2012         17:29:55
71600      8479242411      9/20/2011        18:31:01
71601      8479422339      9/9/2011         18:02:16
71602      8479425233      12/18/2011       16:08:25
71603      8479701668      10/15/2011       9:30:00
71604      8479874313      8/2/2012         18:57:29
71605      8479893398      9/10/2011        9:15:45
71606      8482035549      4/5/2012         9:33:29
71607      8482100533      9/20/2012        7:03:59
71608      8482197782      9/29/2011        15:44:16
71609      8482502842      1/21/2012        8:21:23
71610      8482503339      10/19/2012       9:51:53
71611      8482509730      9/17/2011        10:14:25
71612      8482991664      6/14/2012        16:01:29
71613      8482993947      3/19/2012        7:09:00
71614      8482993947      5/21/2012        7:04:59
71615      8483335659      11/5/2011        10:56:06
71616      8483911245      12/27/2011       14:29:06
71617      8484480005      10/15/2012       10:03:40
71618      8484481215      6/9/2011         10:30:04
71619      8484483703      11/16/2011       7:55:40
71620      8484485572      10/11/2011       17:08:33
71621      8484590351      3/2/2012         18:59:42
71622      8484593527      7/21/2011        7:40:39
71623      8484599069      10/4/2011        13:07:28
71624      8484671871      1/4/2012         11:14:43
71625      8484699657      5/5/2012         8:19:05
71626      8485254416      1/11/2012        16:35:30
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71627      8485256202      9/20/2011        20:45:11
71628      8485258272      9/4/2012         15:43:14
71629      8485650281      1/24/2012        10:25:42
71630      8489924495      11/5/2011        10:49:03
71631      8489926419      4/6/2012         16:08:17
71632      8489928322      1/4/2012         10:57:48
71633      8489929090      6/14/2012        16:03:04
71634      8502008459      11/14/2011       17:21:32
71635      8502065766      3/22/2012        14:23:58
71636      8502069764      3/21/2012        8:06:37
71637      8502072380      11/18/2011       12:57:42
71638      8502072495      10/23/2012       16:12:39
71639      8502074551      9/20/2012        8:48:34
71640      8502084024      2/10/2012        16:53:32
71641      8502084748      10/8/2011        11:59:24
71642      8502090608      4/24/2012        11:59:00
71643      8502090608      6/21/2012        18:52:05
71644      8502093842      11/15/2011       15:33:16
71645      8502103452      3/16/2012        10:11:08
71646      8502106202      10/28/2011       14:06:48
71647      8502107769      11/19/2011       8:44:55
71648      8502109160      12/3/2011        9:03:16
71649      8502120404      10/18/2012       7:17:54
71650      8502120672      10/6/2011        16:15:21
71651      8502125015      2/6/2012         17:16:30
71652      8502174023      5/18/2012        11:42:05
71653      8502183166      12/21/2011       11:09:41
71654      8502186438      9/20/2011        20:46:38
71655      8502188586      10/17/2012       18:36:36
71656      8502216883      2/7/2012         8:03:57
71657      8502216883      5/21/2012        8:15:55
71658      8502216883      7/6/2012         14:49:26
71659      8502251431      9/25/2012        15:18:02
71660      8502257270      2/4/2012         8:36:04
71661      8502261219      5/10/2012        14:55:57
71662      8502263556      9/20/2011        16:31:09
71663      8502323837      4/30/2012        14:35:22
71664      8502325392      2/24/2011        11:10:15
71665      8502401920      4/14/2012        8:59:48
71666      8502406055      7/9/2012         8:56:20
71667      8502407918      9/20/2012        8:45:32
71668      8502412943      10/8/2011        10:58:11
71669      8502416928      11/12/2011       10:11:03
71670      8502513739      1/11/2012        7:21:18
71671      8502515837      1/19/2012        18:36:29
71672      8502516137      5/22/2012        11:44:14
71673      8502558093      1/18/2012        10:21:14
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71674      8502582622      9/29/2012        9:41:54
71675      8502585529      10/13/2011       7:08:57
71676      8502591709      9/24/2012        19:13:07
71677      8502596399      11/17/2011       16:31:52
71678      8502611900      8/31/2012        16:37:26
71679      8502615591      9/22/2012        9:13:10
71680      8502616692      8/14/2012        11:51:51
71681      8502641615      9/14/2011        19:35:00
71682      8502644870      10/15/2012       16:08:01
71683      8502646092      7/7/2012         10:11:49
71684      8502647378      12/20/2011       17:35:46
71685      8502649249      6/8/2012         12:35:53
71686      8502663803      4/15/2012        16:41:08
71687      8502663803      10/1/2012        13:47:47
71688      8502720262      4/29/2012        18:21:08
71689      8502720399      12/12/2011       16:33:21
71690      8502726634      9/22/2011        15:23:18
71691      8502728776      2/18/2012        8:52:51
71692      8502729355      7/24/2013        9:03:34
71693      8502740881      3/16/2012        16:29:18
71694      8502747712      9/26/2012        14:36:17
71695      8502747866      6/28/2012        14:14:08
71696      8502764697      10/16/2012       20:29:13
71697      8502810852      9/21/2012        15:29:21
71698      8502843057      8/30/2012        17:33:47
71699      8502845269      5/11/2011        16:44:40
71700      8502846269      10/20/2011       16:08:44
71701      8502874341      4/13/2012        20:46:04
71702      8502880010      5/19/2011        8:06:55
71703      8502880220      5/30/2012        16:56:00
71704      8502913083      1/23/2012        8:31:51
71705      8502917313      10/9/2012        11:46:59
71706      8502917666      12/6/2011        14:31:09
71707      8502919305      12/24/2011       8:09:54
71708      8502929862      3/12/2012        11:09:57
71709      8502938087      5/21/2012        17:40:59
71710      8502940673      10/1/2011        10:12:16
71711      8502951207      9/27/2012        7:33:57
71712      8502952513      5/22/2012        18:18:29
71713      8502952513      5/29/2012        7:12:05
71714      8502952513      6/12/2012        17:10:54
71715      8503041872      9/27/2011        18:39:27
71716      8503052238      10/22/2011       13:11:33
71717      8503052779      11/19/2011       8:54:59
71718      8503053910      11/14/2011       17:23:47
71719      8503053910      12/7/2011        18:06:12
71720      8503135782      10/17/2011       8:35:47
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71721      8503138046      11/16/2011       19:54:57
71722      8503138049      6/13/2012        8:04:57
71723      8503138049      6/19/2012        15:37:52
71724      8503138554      8/2/2011         18:39:47
71725      8503166814      12/7/2011        17:51:18
71726      8503205106      7/5/2012         15:33:50
71727      8503210039      10/29/2011       10:47:02
71728      8503210348      3/13/2012        7:04:09
71729      8503214737      6/23/2012        8:37:10
71730      8503216011      9/16/2011        14:20:51
71731      8503217014      2/17/2012        18:09:02
71732      8503220073      10/13/2011       8:37:03
71733      8503226282      5/8/2012         12:48:47
71734      8503228176      9/21/2012        15:34:35
71735      8503229963      4/12/2012        17:54:52
71736      8503240224      10/24/2011       8:08:29
71737      8503242201      1/3/2012         19:48:40
71738      8503242201      4/20/2012        20:59:41
71739      8503333590      10/11/2011       17:28:02
71740      8503334274      9/12/2012        15:01:00
71741      8503390575      9/9/2011         7:45:18
71742      8503392246      5/4/2012         7:25:30
71743      8503393973      9/18/2012        14:24:33
71744      8503394719      10/21/2011       12:26:45
71745      8503398747      4/5/2012         14:32:48
71746      8503398747      8/22/2012        11:17:14
71747      8503411616      5/21/2012        8:16:43
71748      8503412929      4/9/2012         13:45:17
71749      8503414758      10/19/2011       12:18:14
71750      8503414758      11/14/2011       17:19:12
71751      8503416057      10/28/2011       14:20:39
71752      8503416640      12/23/2011       15:52:06
71753      8503417519      9/9/2011         18:27:42
71754      8503424599      3/14/2012        19:36:54
71755      8503456028      8/25/2012        8:24:04
71756      8503462330      9/3/2012         14:56:27
71757      8503462330      9/24/2012        18:53:33
71758      8503463118      5/25/2012        17:10:29
71759      8503464892      11/22/2011       19:38:51
71760      8503482428      12/7/2011        14:09:04
71761      8503567170      9/5/2012         15:20:29
71762      8503568814      12/26/2011       9:06:10
71763      8503581718      5/11/2012        18:10:59
71764      8503631618      3/17/2012        8:40:26
71765      8503635837      5/30/2012        16:45:26
71766      8503636167      9/12/2011        13:03:47
71767      8503636373      3/27/2012        15:01:36
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71768      8503638660      2/15/2012        8:00:10
71769      8503681133      4/27/2012        9:44:48
71770      8503681832      10/6/2012        8:32:49
71771      8503682362      5/20/2012        15:47:18
71772      8503684246      10/20/2012       8:18:05
71773      8503684708      11/2/2011        7:18:25
71774      8503751265      6/22/2012        21:00:55
71775      8503757023      5/18/2012        16:03:11
71776      8503757928      12/1/2011        7:48:43
71777      8503758133      10/19/2011       8:10:26
71778      8503766218      7/23/2012        15:21:14
71779      8503766533      4/20/2012        14:06:12
71780      8503771073      6/16/2012        15:32:02
71781      8503779300      12/9/2011        13:07:09
71782      8503803098      5/10/2012        16:08:30
71783      8503804170      9/18/2012        14:19:10
71784      8503806368      10/15/2011       10:42:28
71785      8503809269      12/15/2011       8:40:01
71786      8503811163      11/8/2011        14:40:40
71787      8503813113      5/16/2012        16:57:04
71788      8503818240      10/5/2011        14:41:30
71789      8503818528      5/15/2012        18:58:21
71790      8503826978      12/28/2011       20:43:28
71791      8503843369      2/6/2012         10:18:13
71792      8503844097      1/4/2012         11:04:56
71793      8503846137      12/27/2011       14:19:10
71794      8503900664      12/12/2011       11:54:21
71795      8503902694      9/1/2012         9:05:36
71796      8503933111      3/16/2012        16:41:11
71797      8503937252      11/23/2011       9:34:46
71798      8503937667      8/14/2012        11:50:07
71799      8503938284      10/18/2011       12:15:35
71800      8503982361      2/11/2012        10:45:20
71801      8503983563      9/28/2013        12:32:05
71802      8504014217      6/24/2012        13:58:28
71803      8504080519      9/28/2012        16:43:01
71804      8504088961      10/6/2011        16:03:26
71805      8504089944      2/17/2012        8:55:10
71806      8504182511      12/2/2011        15:08:23
71807      8504195498      9/19/2011        19:33:22
71808      8504207528      9/9/2011         18:17:59
71809      8504208564      7/21/2012        10:48:06
71810      8504281590      10/5/2011        14:17:26
71811      8504410060      2/22/2012        7:00:56
71812      8504434460      3/21/2012        13:43:43
71813      8504452686      11/4/2011        7:19:15
71814      8504458085      6/25/2011        8:33:10
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71815      8504458985      12/27/2011       14:29:33
71816      8504474728      12/8/2011        12:17:45
71817      8504474728      2/11/2012        15:10:23
71818      8504500405      9/19/2011        8:20:08
71819      8504500405      11/14/2011       15:15:19
71820      8504500646      5/12/2012        10:37:39
71821      8504500823      12/7/2011        13:25:43
71822      8504501314      10/5/2012        12:28:27
71823      8504501751      5/31/2012        15:01:30
71824      8504505222      9/28/2011        10:31:58
71825      8504507674      4/10/2012        11:38:02
71826      8504544073      9/28/2011        10:06:08
71827      8504544348      8/28/2012        11:57:52
71828      8504590907      8/10/2012        8:24:18
71829      8504596028      4/12/2012        18:07:26
71830      8504597662      5/17/2012        16:33:50
71831      8504598049      9/24/2011        9:20:34
71832      8504598514      10/21/2011       12:29:10
71833      8504598514      11/14/2011       14:14:40
71834      8504599686      4/19/2012        7:22:58
71835      8504599716      6/23/2012        8:44:19
71836      8504610718      3/16/2012        15:54:05
71837      8504617266      10/14/2011       12:54:50
71838      8504617268      10/21/2011       13:28:30
71839      8504647057      9/11/2012        7:44:13
71840      8504850616      12/20/2011       19:36:19
71841      8504866102      12/10/2011       13:18:29
71842      8504866397      3/21/2012        13:50:30
71843      8504866397      5/21/2012        8:02:56
71844      8504972326      10/3/2011        8:15:37
71845      8504975783      6/22/2012        20:59:49
71846      8504990162      9/30/2011        9:52:26
71847      8505015410      9/19/2011        8:31:49
71848      8505015824      12/8/2011        10:10:36
71849      8505020388      10/20/2012       16:32:38
71850      8505020851      9/18/2012        14:27:22
71851      8505029174      12/10/2011       12:17:16
71852      8505034865      3/6/2012         16:04:14
71853      8505090487      1/23/2012        18:55:38
71854      8505091108      3/15/2012        18:53:26
71855      8505091808      8/31/2011        11:15:19
71856      8505092401      2/24/2011        14:08:12
71857      8505100657      3/2/2012         7:04:11
71858      8505100657      5/21/2012        7:25:19
71859      8505101523      11/9/2011        7:26:31
71860      8505102493      1/7/2012         9:06:10
71861      8505102493      1/11/2012        7:33:08
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71862      8505105287      3/26/2011        10:52:15
71863      8505105365      1/2/2012         7:19:32
71864      8505105558      3/26/2012        19:28:10
71865      8505120440      11/10/2011       17:50:17
71866      8505126191      8/9/2011         12:56:32
71867      8505166762      9/21/2011        11:53:08
71868      8505190175      7/11/2012        9:33:32
71869      8505241798      3/13/2012        18:39:51
71870      8505247132      10/22/2011       13:07:21
71871      8505249161      11/8/2011        14:13:28
71872      8505249550      10/4/2011        13:09:46
71873      8505256525      6/7/2012         18:34:38
71874      8505272423      9/28/2011        10:23:20
71875      8505285787      10/1/2011        9:39:39
71876      8505286958      2/24/2012        17:09:01
71877      8505286958      3/20/2012        8:58:13
71878      8505289073      4/20/2012        13:57:44
71879      8505294897      2/9/2012         20:37:14
71880      8505296788      3/28/2012        18:15:15
71881      8505298916      3/25/2012        12:07:01
71882      8505300884      10/11/2011       17:28:39
71883      8505300884      10/25/2011       16:28:51
71884      8505416278      6/2/2011         11:18:38
71885      8505448012      3/23/2012        19:39:07
71886      8505449207      12/21/2011       11:15:26
71887      8505454828      12/7/2011        14:01:20
71888      8505495737      7/6/2012         16:58:24
71889      8505562585      1/11/2012        16:21:16
71890      8505564960      4/9/2012         17:57:56
71891      8505568952      12/9/2011        7:49:19
71892      8505570042      8/31/2012        10:37:02
71893      8505570944      12/27/2011       13:32:40
71894      8505573531      2/7/2012         8:01:21
71895      8505577368      5/17/2011        9:38:42
71896      8505577542      12/6/2011        13:38:25
71897      8505595273      11/28/2011       16:35:31
71898      8505595274      3/1/2012         11:57:53
71899      8505658163      12/20/2011       19:36:07
71900      8505660153      7/2/2012         15:01:28
71901      8505663166      9/23/2011        11:28:54
71902      8505663166      9/29/2011        15:29:53
71903      8505671397      1/17/2012        18:39:39
71904      8505674397      10/13/2012       9:06:18
71905      8505701977      9/20/2011        17:29:09
71906      8505701977      10/4/2011        13:40:08
71907      8505721397      6/19/2012        15:44:48
71908      8505721398      5/17/2012        16:53:28
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71909      8505859467      7/16/2011        9:06:01
71910      8505961743      4/30/2012        15:06:11
71911      8505966551      3/14/2012        19:46:32
71912      8505966551      3/20/2012        17:50:28
71913      8506021199      10/15/2012       16:12:54
71914      8506021610      8/14/2012        11:37:32
71915      8506022996      9/24/2012        19:07:44
71916      8506023206      1/6/2012         14:39:53
71917      8506025014      4/17/2012        9:31:31
71918      8506025781      12/15/2011       8:42:21
71919      8506025781      12/21/2011       19:54:02
71920      8506026233      3/26/2012        18:45:37
71921      8506030435      1/3/2012         11:18:40
71922      8506033804      9/27/2011        18:38:06
71923      8506056107      7/30/2011        8:58:36
71924      8506071529      10/1/2011        10:38:40
71925      8506071537      12/16/2011       16:29:36
71926      8506073276      1/18/2012        16:54:09
71927      8506074123      7/15/2011        17:41:16
71928      8506120901      3/20/2012        17:41:33
71929      8506231908      10/20/2011       15:34:53
71930      8506241727      10/7/2011        8:15:33
71931      8506245040      3/6/2012         16:58:04
71932      8506247918      5/1/2012         8:10:23
71933      8506252806      1/19/2012        8:14:35
71934      8506257954      11/7/2011        9:20:39
71935      8506257954      11/28/2011       11:22:30
71936      8506257954      1/27/2012        17:45:49
71937      8506280836      11/12/2011       10:31:54
71938      8506281109      7/17/2012        12:29:17
71939      8506281250      10/25/2012       19:50:22
71940      8506302119      9/19/2011        8:08:07
71941      8506302119      11/12/2011       10:35:09
71942      8506306975      11/18/2011       12:22:26
71943      8506373101      4/13/2012        20:41:09
71944      8506373868      10/22/2012       17:52:43
71945      8506374151      11/15/2011       20:08:52
71946      8506437611      3/13/2012        14:05:32
71947      8506437743      10/12/2012       17:02:46
71948      8506536521      6/25/2012        13:47:45
71949      8506536521      7/14/2012        8:12:30
71950      8506582561      12/12/2011       11:53:28
71951      8506610105      8/15/2012        7:52:51
71952      8506616817      6/8/2011         18:39:18
71953      8506731484      9/26/2012        14:37:43
71954      8506737521      10/14/2011       12:42:00
71955      8506737777      1/26/2012        7:30:21
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71956      8506737790      8/8/2012         7:05:12
71957      8506858697      9/7/2011         14:32:43
71958      8506861234      10/19/2011       12:15:12
71959      8506863130      1/17/2012        17:26:33
71960      8506864156      11/22/2011       19:34:09
71961      8506864156      11/28/2011       17:55:17
71962      8506869370      10/7/2011        8:09:58
71963      8506870660      3/29/2012        11:19:57
71964      8506870670      2/16/2012        8:29:16
71965      8506870670      5/22/2012        11:33:03
71966      8506931791      11/26/2011       13:32:02
71967      8506931868      10/5/2011        14:39:37
71968      8506935163      1/14/2012        13:22:34
71969      8506935163      2/8/2012         12:59:46
71970      8506935270      7/12/2012        19:48:16
71971      8506935270      8/3/2012         16:35:16
71972      8506935270      8/20/2012        18:37:52
71973      8506940173      1/12/2012        7:02:19
71974      8506986171      11/16/2011       7:49:00
71975      8507124447      5/12/2012        10:38:54
71976      8507124447      10/18/2012       16:46:11
71977      8507220467      12/17/2011       11:36:38
71978      8507230737      4/20/2012        14:43:23
71979      8507233981      8/16/2011        16:52:40
71980      8507288461      10/11/2011       16:53:42
71981      8507483244      6/27/2012        12:17:47
71982      8507483379      10/25/2011       16:30:25
71983      8507581014      1/13/2012        17:26:50
71984      8507585332      9/12/2011        14:12:27
71985      8507586827      10/7/2011        8:03:33
71986      8507587716      4/25/2011        14:30:02
71987      8507589016      9/27/2011        18:47:45
71988      8507589179      5/1/2012         8:21:01
71989      8507664368      3/12/2012        19:06:32
71990      8507664916      5/20/2011        17:38:18
71991      8507668810      1/12/2012        14:16:01
71992      8507680021      10/10/2011       12:39:47
71993      8507682354      9/11/2012        15:08:59
71994      8507691221      4/17/2013        9:19:20
71995      8507760503      4/15/2012        17:32:39
71996      8507760503      5/21/2012        8:18:09
71997      8507771971      3/6/2012         13:04:53
71998      8507778183      7/13/2011        11:46:40
71999      8507973256      11/28/2011       12:15:30
72000      8508100059      10/3/2011        8:16:24
72001      8508199942      6/27/2011        8:15:36
72002      8508321640      5/11/2012        18:36:04
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72003      8508431261      9/27/2011        18:26:06
72004      8508434747      11/5/2011        9:53:35
72005      8508490935      8/31/2012        16:38:20
72006      8508492339      9/21/2011        11:43:10
72007      8508495353      8/2/2012         18:49:52
72008      8508497636      9/27/2011        18:40:47
72009      8508556384      9/4/2012         15:37:02
72010      8508659009      11/5/2011        10:55:27
72011      8508661138      7/12/2011        11:43:43
72012      8508661138      10/14/2011       12:52:06
72013      8508663078      10/20/2012       16:22:53
72014      8508663788      10/10/2011       11:58:56
72015      8508690643      9/11/2012        13:23:19
72016      8508790122      12/8/2011        11:00:15
72017      8508962997      7/30/2012        13:35:17
72018      8508965290      8/18/2011        8:07:21
72019      8509023777      9/27/2012        16:32:43
72020      8509103120      10/27/2011       15:58:31
72021      8509339538      4/16/2012        15:57:00
72022      8509601750      10/5/2011        14:45:49
72023      8509745834      1/28/2012        8:19:48
72024      8509800586      12/18/2011       16:18:11
72025      8509803136      10/6/2011        16:12:43
72026      8509820950      11/3/2011        17:55:13
72027      8509821420      1/21/2012        8:36:44
72028      8509821687      11/3/2011        17:31:16
72029      8509823355      7/27/2012        20:40:14
72030      8509825223      12/22/2011       8:54:02
72031      8509829022      2/13/2012        18:27:50
72032      8509829022      7/31/2012        15:35:58
72033      8562034906      2/20/2012        17:01:40
72034      8562133122      5/10/2012        14:53:42
72035      8562173215      8/6/2012         16:19:52
72036      8562174791      9/15/2011        7:37:05
72037      8562177915      8/8/2012         16:05:55
72038      8562178973      1/10/2012        12:29:20
72039      8562178973      2/6/2012         17:08:24
72040      8562360658      9/22/2011        15:45:04
72041      8562362401      3/15/2012        7:11:17
72042      8562362688      7/22/2012        15:57:50
72043      8562363745      10/14/2011       13:08:42
72044      8562363806      10/3/2012        19:53:28
72045      8562366597      5/18/2012        15:46:39
72046      8562527790      11/2/2011        7:19:26
72047      8562529157      1/19/2012        7:30:44
72048      8562546888      9/23/2011        18:54:43
72049      8562641746      10/19/2012       9:50:43
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72050      8562642449      10/17/2011       7:51:14
72051      8562644322      9/26/2011        8:31:59
72052      8562655464      10/27/2011       16:21:52
72053      8562656560      10/12/2011       7:43:19
72054      8562659435      10/22/2011       12:31:13
72055      8562666481      9/19/2011        19:05:47
72056      8562753713      5/29/2012        7:05:00
72057      8562754196      3/6/2012         15:45:14
72058      8562759226      4/25/2012        18:36:23
72059      8562783480      4/14/2012        9:20:01
72060      8562784281      10/10/2011       12:26:18
72061      8562786002      2/6/2012         7:29:24
72062      8562791557      2/6/2012         7:28:50
72063      8562831543      10/5/2011        10:48:13
72064      8562837324      8/28/2012        7:24:09
72065      8562837368      5/11/2012        18:07:58
72066      8562854817      4/11/2012        19:29:35
72067      8562855023      9/12/2012        14:59:42
72068      8562872276      1/3/2012         10:59:31
72069      8562876052      9/15/2011        7:16:25
72070      8562877663      12/28/2011       18:08:25
72071      8562947594      10/4/2011        13:33:45
72072      8562963804      5/12/2012        13:26:36
72073      8562978185      1/12/2012        14:03:21
72074      8563047896      2/2/2012         7:15:41
72075      8563053349      4/18/2012        7:14:11
72076      8563053978      10/4/2011        13:36:18
72077      8563059323      10/22/2011       12:56:35
72078      8563083635      10/3/2011        7:03:40
72079      8563084980      12/22/2011       8:25:00
72080      8563086166      10/3/2011        7:40:19
72081      8563086373      9/9/2011         7:51:30
72082      8563088123      1/26/2012        10:18:51
72083      8563088952      10/17/2011       7:04:47
72084      8563089638      4/2/2012         17:39:36
72085      8563139579      12/28/2011       7:03:35
72086      8563139579      1/5/2012         11:56:15
72087      8563168866      9/19/2012        8:00:20
72088      8563168866      9/26/2012        14:31:12
72089      8563169811      9/29/2011        15:10:51
72090      8563320807      1/23/2012        18:53:52
72091      8563326787      9/8/2011         19:41:07
72092      8563329256      10/18/2012       16:48:41
72093      8563329552      1/2/2012         7:18:39
72094      8563329552      1/17/2012        7:19:19
72095      8563329552      5/21/2012        7:03:16
72096      8563329585      10/25/2012       19:36:47
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72097      8563458972      2/29/2012        7:16:56
72098      8563596803      12/1/2011        14:30:57
72099      8563613482      9/12/2011        13:53:12
72100      8563616234      10/27/2011       15:08:06
72101      8563620800      5/25/2012        8:11:36
72102      8563621217      4/29/2012        16:39:23
72103      8563641701      4/25/2012        9:33:38
72104      8563660904      5/5/2012         8:23:24
72105      8563666060      11/12/2011       9:27:41
72106      8563669060      10/6/2011        17:17:42
72107      8563669445      11/17/2011       13:52:24
72108      8563791397      9/25/2012        15:01:27
72109      8563795358      1/29/2012        16:21:40
72110      8563795358      6/23/2012        16:10:49
72111      8563817828      10/28/2011       14:06:10
72112      8563819893      4/9/2012         18:13:44
72113      8563830249      3/15/2012        18:52:42
72114      8563831308      10/22/2012       7:11:25
72115      8563832223      11/23/2011       9:30:26
72116      8563832712      1/9/2012         18:29:21
72117      8563832895      2/21/2012        10:46:17
72118      8563833227      5/4/2012         7:28:20
72119      8563835118      12/7/2011        14:35:15
72120      8563835945      3/12/2012        19:23:57
72121      8563839110      2/2/2012         18:48:09
72122      8563839292      12/1/2011        14:57:06
72123      8563921832      12/2/2011        15:22:11
72124      8563922976      4/24/2012        18:09:11
72125      8563925404      9/22/2011        15:42:55
72126      8563925489      9/4/2012         16:06:59
72127      8563927626      11/23/2011       10:24:10
72128      8563973987      3/11/2011        16:30:31
72129      8563978483      8/4/2012         7:30:20
72130      8564041828      4/4/2012         7:28:39
72131      8564048040      2/28/2012        16:13:26
72132      8564051111      12/27/2011       14:18:22
72133      8564051111      1/7/2012         8:38:45
72134      8564122689      6/23/2012        16:22:52
72135      8564171004      1/21/2012        8:07:26
72136      8564176667      9/27/2011        18:24:40
72137      8564193669      10/3/2012        7:08:31
72138      8564197877      3/27/2012        15:34:49
72139      8564253353      3/7/2012         18:38:49
72140      8564255249      8/16/2012        19:51:11
72141      8564267491      9/6/2011         12:43:21
72142      8564301618      12/20/2011       11:55:56
72143      8564302527      3/15/2012        19:27:00
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72144      8564309191      6/11/2011        8:18:05
72145      8564335074      8/13/2011        9:56:55
72146      8564358687      12/8/2011        12:30:37
72147      8564623044      9/13/2011        17:35:56
72148      8564624859      5/14/2012        15:29:41
72149      8564656168      5/17/2012        7:12:31
72150      8564657638      7/30/2012        13:26:34
72151      8564661825      1/10/2012        15:12:16
72152      8564663370      9/19/2011        7:07:11
72153      8564663370      10/5/2011        14:01:34
72154      8564663611      3/21/2011        10:53:33
72155      8564664195      8/3/2012         7:51:50
72156      8564666146      9/21/2011        11:41:20
72157      8564666715      6/30/2012        8:10:37
72158      8564667054      10/5/2011        14:01:29
72159      8564668790      10/11/2012       7:50:26
72160      8564707606      2/13/2012        7:09:33
72161      8564725552      1/7/2012         8:49:04
72162      8564738002      8/31/2012        16:27:30
72163      8564955549      1/18/2012        9:44:10
72164      8564981390      8/16/2012        19:52:43
72165      8564988017      1/8/2012         12:59:23
72166      8564988200      11/23/2011       9:07:57
72167      8565035723      12/29/2011       9:57:22
72168      8565036297      5/26/2012        8:42:53
72169      8565066509      9/24/2011        9:14:03
72170      8565203204      3/26/2012        18:34:15
72171      8565205663      4/24/2012        12:24:31
72172      8565205961      3/26/2012        18:22:13
72173      8565206912      7/12/2012        7:07:57
72174      8565223458      11/14/2011       14:17:17
72175      8565242599      1/31/2012        7:19:18
72176      8565341178      4/12/2012        18:01:56
72177      8565344418      3/16/2012        16:00:53
72178      8565346392      9/19/2011        7:06:37
72179      8565348907      10/8/2011        10:51:51
72180      8565350658      12/21/2011       10:45:31
72181      8565358637      5/11/2012        18:25:47
72182      8565358979      10/23/2012       16:04:46
72183      8565532838      12/18/2011       17:07:40
72184      8565622431      12/20/2011       9:29:17
72185      8565623991      11/7/2011        7:59:29
72186      8565626811      10/15/2012       10:24:06
72187      8565711248      10/29/2011       10:41:33
72188      8565716086      2/13/2012        7:08:17
72189      8565716997      10/28/2011       13:56:13
72190      8565757004      8/9/2012         13:58:29
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72191      8566250456      1/2/2012         12:03:18
72192      8566280216      10/25/2011       15:10:32
72193      8566285395      1/25/2012        8:59:50
72194      8566285395      3/1/2012         8:34:10
72195      8566286199      7/3/2012         7:08:45
72196      8566306424      10/1/2011        10:13:40
72197      8566306424      10/22/2011       12:19:26
72198      8566318068      11/26/2011       12:40:26
72199      8566318666      10/20/2011       15:22:08
72200      8566415033      1/18/2012        9:44:11
72201      8566551535      9/28/2011        11:02:22
72202      8566551535      10/25/2011       15:15:57
72203      8566557233      6/16/2012        15:25:16
72204      8566697786      6/16/2012        8:45:28
72205      8566761930      6/24/2012        13:57:18
72206      8566764674      10/1/2011        10:28:28
72207      8566858087      11/10/2011       7:08:01
72208      8566936265      1/29/2012        16:37:21
72209      8566936640      5/23/2011        15:39:26
72210      8567010086      11/17/2011       16:19:00
72211      8567011825      5/23/2012        16:23:41
72212      8567013059      1/6/2012         12:16:30
72213      8567013255      9/27/2011        18:27:59
72214      8567014553      3/23/2012        7:03:58
72215      8567018379      3/11/2011        16:24:38
72216      8567257220      1/3/2012         11:01:08
72217      8567261002      12/26/2011       9:19:20
72218      8567295453      1/9/2012         7:24:56
72219      8567295575      6/7/2012         14:33:56
72220      8567451222      7/15/2011        7:41:49
72221      8567458170      7/31/2012        7:06:00
72222      8567458173      6/9/2012         14:38:05
72223      8567704944      8/16/2012        19:57:26
72224      8567760272      5/21/2011        10:30:30
72225      8567766152      4/5/2012         7:03:34
72226      8568030056      8/20/2012        18:41:52
72227      8568034535      10/1/2011        10:29:09
72228      8568036507      5/16/2012        16:47:00
72229      8568036507      5/22/2012        18:19:04
72230      8568037587      7/11/2012        9:27:23
72231      8568130432      10/15/2013       7:20:14
72232      8568137108      1/6/2012         14:56:09
72233      8568161526      11/23/2011       14:51:26
72234      8568162986      10/5/2011        14:26:06
72235      8568168459      9/19/2011        7:08:02
72236      8568315472      10/23/2012       16:05:09
72237      8568326989      7/24/2012        14:38:33
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72238      8568428783      1/13/2012        17:24:20
72239      8568700826      3/13/2012        18:36:16
72240      8568707944      1/10/2012        15:11:07
72241      8568708661      10/22/2012       7:07:39
72242      8568826110      1/29/2012        16:58:45
72243      8568834846      10/24/2012       14:46:41
72244      8568837554      8/6/2011         9:09:06
72245      8568838004      7/30/2012        13:14:02
72246      8568839918      11/21/2011       7:05:52
72247      8568890099      1/10/2012        18:13:37
72248      8568892544      12/21/2011       18:44:57
72249      8568997613      8/1/2012         8:25:02
72250      8569040013      12/10/2011       12:00:45
72251      8569041733      9/23/2011        7:01:08
72252      8569045035      2/10/2012        7:17:02
72253      8569048939      3/14/2012        7:05:50
72254      8569048939      5/30/2012        16:53:35
72255      8569067514      3/16/2012        10:14:07
72256      8569069165      11/5/2011        9:31:39
72257      8569520162      4/21/2011        10:50:29
72258      8569521392      9/10/2012        7:31:08
72259      8569566335      12/23/2011       13:44:41
72260      8569569206      8/3/2012         16:22:16
72261      8569569213      5/7/2012         7:06:58
72262      8569743738      3/23/2012        10:55:40
72263      8569751180      12/18/2011       18:00:30
72264      8569796033      10/2/2012        12:54:21
72265      8569796995      10/16/2012       7:24:40
72266      8569813107      1/9/2012         18:31:06
72267      8569822074      9/13/2011        18:36:43
72268      8569825638      5/19/2012        16:07:09
72269      8569826496      12/5/2011        18:29:17
72270      8569860960      8/26/2011        18:13:28
72271      8569861935      2/28/2012        15:50:20
72272      8569861935      3/2/2012         18:55:02
72273      8569862005      10/12/2012       16:34:44
72274      8569930544      6/7/2012         18:23:11
72275      8569936817      10/18/2011       7:13:07
72276      8572044488      10/17/2011       7:56:06
72277      8572044855      12/22/2011       8:26:01
72278      8572055253      10/20/2011       15:16:01
72279      8572072541      4/18/2012        7:07:33
72280      8572075226      9/26/2011        8:28:24
72281      8572075792      9/6/2012         12:27:47
72282      8572076851      12/5/2011        9:48:24
72283      8572078794      4/11/2012        7:14:05
72284      8572122036      11/5/2011        10:44:22
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72285      8572122565      1/6/2012         7:08:48
72286      8572122565      3/23/2012        19:43:39
72287      8572122565      5/21/2012        7:04:53
72288      8572226499      3/23/2012        10:42:37
72289      8572229383      9/17/2011        9:50:18
72290      8572333679      6/18/2011        15:08:57
72291      8572340855      10/29/2011       11:11:22
72292      8572342797      11/3/2011        17:01:32
72293      8572360921      4/4/2012         18:34:01
72294      8572361816      9/7/2012         15:37:02
72295      8572362793      3/1/2012         8:41:49
72296      8572362968      10/17/2011       8:19:33
72297      8572364524      5/29/2012        17:18:27
72298      8572365156      3/18/2011        10:03:09
72299      8572365397      4/2/2012         7:19:50
72300      8572366225      2/17/2012        8:54:40
72301      8572368564      9/22/2011        15:38:59
72302      8572370553      12/15/2011       7:06:01
72303      8572370553      2/2/2012         10:59:39
72304      8572370992      12/23/2011       14:41:13
72305      8572372162      3/23/2012        7:07:02
72306      8572372162      4/27/2012        7:39:25
72307      8572372162      5/21/2012        7:31:59
72308      8572373021      1/28/2012        8:04:05
72309      8572373099      5/11/2012        18:05:02
72310      8572373460      7/12/2012        7:00:54
72311      8572375184      1/19/2012        18:25:10
72312      8572377585      12/14/2011       12:50:05
72313      8572378005      1/23/2012        18:51:30
72314      8572378005      5/21/2012        7:24:16
72315      8572417461      8/8/2011         14:28:39
72316      8572434368      7/23/2012        13:16:55
72317      8572472408      12/1/2011        7:49:01
72318      8572475330      3/16/2012        15:46:54
72319      8572477111      5/7/2012         18:52:02
72320      8572490729      1/23/2012        7:04:53
72321      8572494035      3/15/2012        7:07:48
72322      8572496624      4/6/2012         15:48:23
72323      8572497234      5/1/2012         8:11:57
72324      8572497880      2/11/2012        10:58:54
72325      8572510123      2/29/2012        17:39:36
72326      8572510222      4/12/2012        18:11:30
72327      8572510960      4/6/2012         15:48:15
72328      8572511824      3/30/2012        7:18:20
72329      8572512075      10/12/2011       7:18:06
72330      8572512156      3/28/2012        18:09:18
72331      8572513371      2/6/2012         7:07:55
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72332      8572514368      9/23/2011        18:53:29
72333      8572514803      9/28/2011        10:48:19
72334      8572515386      4/10/2012        11:33:09
72335      8572515592      1/12/2012        14:10:39
72336      8572516248      10/10/2011       12:09:50
72337      8572517111      1/21/2012        8:01:37
72338      8572517233      7/16/2012        19:42:25
72339      8572663360      9/1/2012         9:07:58
72340      8572772214      11/5/2011        10:44:25
72341      8572779949      1/25/2012        8:58:59
72342      8572779962      3/19/2012        17:37:10
72343      8572842173      6/4/2012         8:07:03
72344      8572944855      9/26/2012        15:16:15
72345      8572945553      6/11/2012        17:44:51
72346      8573120776      9/19/2011        19:04:46
72347      8573121026      1/3/2012         11:10:49
72348      8573125430      1/11/2012        7:32:58
72349      8573128011      8/30/2012        17:36:47
72350      8573128709      4/23/2012        7:20:07
72351      8573182288      12/28/2011       13:03:52
72352      8573184721      10/14/2011       13:11:25
72353      8573185004      3/31/2012        8:08:47
72354      8573340525      11/14/2011       14:12:09
72355      8573341900      4/6/2012         15:37:31
72356      8573341959      4/12/2012        17:54:27
72357      8573349394      2/6/2012         16:47:28
72358      8573505601      12/15/2011       8:25:01
72359      8573506391      8/25/2012        11:03:19
72360      8573837067      10/14/2011       13:06:36
72361      8573997318      10/5/2012        18:27:20
72362      8574137443      9/8/2011         19:27:01
72363      8574138148      11/23/2011       9:59:41
72364      8574139122      10/20/2012       16:36:05
72365      8574170777      11/9/2011        7:27:46
72366      8574171992      2/8/2014         8:20:28
72367      8574172874      6/20/2012        7:54:42
72368      8574174775      9/23/2011        7:04:09
72369      8574174775      1/3/2012         16:21:13
72370      8574175761      11/9/2011        7:43:23
72371      8574176185      5/18/2012        15:50:35
72372      8574176313      4/12/2012        12:24:47
72373      8574176640      12/5/2011        9:56:13
72374      8574178343      1/10/2012        17:37:29
72375      8574451292      5/26/2012        8:41:43
72376      8574455142      7/16/2011        8:34:19
72377      8574456803      10/11/2012       11:58:14
72378      8574926030      3/22/2012        7:54:50
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72379      8574926194      10/20/2012       8:35:01
72380      8575265355      5/8/2012         7:08:53
72381      8575265436      10/6/2011        16:01:24
72382      8575445432      2/2/2012         7:12:40
72383      8576156380      2/6/2012         7:15:16
72384      8576159963      10/1/2011        9:46:21
72385      8576547010      2/29/2012        7:11:40
72386      8576548011      3/25/2012        11:43:04
72387      8577192182      10/16/2012       16:42:14
72388      8577197044      5/11/2012        18:30:16
72389      8577536186      1/17/2012        18:40:29
72390      8577538286      8/23/2012        19:06:01
72391      8578698614      12/9/2011        15:49:21
72392      8578699582      10/17/2011       7:37:06
72393      8578881478      11/26/2011       11:15:25
72394      8578881856      11/5/2011        10:43:07
72395      8578882673      7/9/2012         7:08:51
72396      8578916831      4/11/2012        7:14:45
72397      8579191935      4/11/2012        13:16:39
72398      8579392688      8/1/2011         19:30:09
72399      8579392688      8/2/2011         17:35:56
72400      8579910130      9/26/2011        8:31:57
72401      8579910130      10/17/2011       7:04:49
72402      8579910130      12/14/2011       17:56:25
72403      8579912833      7/18/2012        7:12:48
72404      8579916312      7/13/2012        18:25:32
72405      8582005517      8/13/2012        11:00:09
72406      8582043152      1/11/2012        10:57:41
72407      8582050385      3/15/2012        19:20:46
72408      8582205388      12/29/2011       21:38:22
72409      8582229289      7/30/2012        18:40:25
72410      8582291385      6/6/2012         10:21:00
72411      8582311730      8/8/2012         10:04:49
72412      8582328554      5/25/2012        11:57:08
72413      8582329604      9/14/2011        21:33:55
72414      8582437123      9/14/2011        21:24:57
72415      8582454001      5/26/2012        10:11:34
72416      8582459998      9/23/2011        19:06:07
72417      8582795100      10/7/2011        10:15:05
72418      8583351053      9/9/2011         18:40:48
72419      8583358009      9/19/2011        19:37:19
72420      8583359807      12/15/2011       10:18:19
72421      8583359807      6/1/2012         10:39:11
72422      8583364927      3/14/2012        19:40:10
72423      8583365958      3/1/2012         17:36:34
72424      8583377222      10/25/2011       16:33:56
72425      8583441454      6/23/2012        10:39:35
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72426      8583446436      9/13/2012        21:30:41
72427      8583498647      10/19/2011       12:26:55
72428      8583499420      11/17/2011       14:59:31
72429      8583528104      4/5/2012         14:26:10
72430      8583534896      11/18/2011       13:35:57
72431      8583539981      6/8/2012         10:12:59
72432      8583807808      9/19/2012        21:28:21
72433      8583809805      9/8/2011         19:38:07
72434      8583958400      11/9/2011        10:20:44
72435      8584051356      2/17/2012        10:47:28
72436      8584053633      8/30/2012        10:49:50
72437      8584420708      10/23/2012       10:33:37
72438      8584501903      5/9/2012         14:38:47
72439      8584722116      9/24/2012        18:47:19
72440      8584842134      9/17/2011        10:28:30
72441      8585189154      10/18/2011       19:16:58
72442      8585683433      9/5/2012         15:23:52
72443      8585686751      12/22/2011       10:07:16
72444      8586032028      2/18/2012        10:20:41
72445      8586034725      9/20/2011        20:50:58
72446      8586103949      12/29/2011       19:31:47
72447      8586881735      10/13/2011       10:35:03
72448      8586883716      12/20/2011       19:27:32
72449      8586995776      7/31/2012        21:05:22
72450      8587174357      8/18/2011        11:03:14
72451      8587224081      12/8/2011        21:12:26
72452      8587293667      10/24/2011       14:33:01
72453      8587332511      5/4/2012         21:02:39
72454      8587350273      11/19/2011       8:53:02
72455      8587762359      10/1/2011        11:03:08
72456      8587841997      6/22/2012        20:55:28
72457      8588229613      11/18/2011       13:35:03
72458      8588293189      1/13/2012        10:39:12
72459      8588642084      10/17/2011       10:59:25
72460      8588642602      1/14/2012        13:23:24
72461      8588693778      9/21/2011        12:05:52
72462      8588770817      9/21/2011        19:37:10
72463      8588778986      5/9/2012         16:06:21
72464      8588778986      7/30/2012        13:21:43
72465      8589224584      7/18/2012        14:49:03
72466      8589226023      9/20/2011        18:42:59
72467      8589226023      10/12/2011       11:53:06
72468      8589229345      1/30/2012        10:15:15
72469      8589269886      12/9/2011        15:46:10
72470      8589431259      9/28/2011        11:34:43
72471      8592001497      5/10/2012        16:10:13
72472      8592007895      10/18/2012       7:08:21
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72473      8592008522      4/29/2012        16:39:36
72474      8592008869      12/7/2011        17:47:41
72475      8592009459      5/1/2012         17:25:36
72476      8592210967      8/16/2012        19:47:09
72477      8592214831      11/23/2011       10:27:38
72478      8592219388      2/10/2012        7:18:31
72479      8592279776      6/9/2012         14:50:55
72480      8592279776      7/23/2012        15:17:17
72481      8592299348      4/25/2012        18:35:15
72482      8592302824      12/31/2011       11:57:40
72483      8592306256      8/16/2011        17:34:47
72484      8592307557      7/19/2012        7:51:20
72485      8592398998      12/13/2011       18:07:41
72486      8592410522      2/14/2012        13:05:18
72487      8592480115      9/27/2012        16:24:27
72488      8592480125      10/4/2011        13:41:44
72489      8592480810      10/10/2011       11:42:25
72490      8592482895      10/24/2012       14:42:44
72491      8592484789      7/13/2012        11:20:16
72492      8592487532      9/23/2011        7:06:02
72493      8592487917      9/8/2011         17:51:44
72494      8592489533      3/18/2012        12:26:15
72495      8592489533      9/6/2012         12:38:58
72496      8592500415      8/7/2012         17:49:33
72497      8592500831      1/21/2012        8:04:44
72498      8592500831      5/23/2012        16:42:36
72499      8592502149      3/7/2012         18:29:41
72500      8592502201      11/2/2011        7:25:33
72501      8592503237      6/21/2012        18:48:56
72502      8592507346      9/12/2013        7:16:50
72503      8592651012      12/7/2011        14:53:04
72504      8592651111      5/1/2012         8:03:43
72505      8592700417      5/26/2012        8:44:32
72506      8592700941      4/12/2012        17:55:48
72507      8592704941      3/22/2012        14:11:52
72508      8592706057      10/11/2011       17:01:30
72509      8592707220      9/26/2011        8:02:34
72510      8592707220      10/25/2011       15:11:49
72511      8592707763      1/16/2012        17:09:27
72512      8592743716      9/27/2011        18:11:22
72513      8592743716      10/24/2011       7:29:22
72514      8592745076      12/20/2011       12:37:07
72515      8592745248      7/5/2012         7:52:42
72516      8592748653      7/18/2011        10:44:58
72517      8592832208      12/13/2011       17:20:11
72518      8592852480      8/16/2012        7:49:35
72519      8592853491      9/15/2011        7:22:18
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72520      8592856149      6/5/2012         19:51:25
72521      8592856149      6/16/2012        15:13:08
72522      8592858238      11/14/2011       16:28:24
72523      8592928939      6/4/2012         8:10:20
72524      8592984061      10/18/2012       16:30:17
72525      8592985022      9/7/2012         15:48:36
72526      8592989216      2/17/2012        18:07:14
72527      8592989303      9/1/2012         8:55:19
72528      8592989908      9/21/2012        18:47:48
72529      8593071953      5/30/2012        16:54:29
72530      8593073180      5/25/2011        17:17:22
72531      8593073537      10/12/2011       8:15:57
72532      8593074114      9/1/2012         8:53:42
72533      8593074768      1/11/2012        7:32:04
72534      8593075444      3/7/2012         18:35:17
72535      8593075831      3/21/2011        11:22:31
72536      8593121269      9/22/2011        15:13:25
72537      8593122113      1/25/2012        18:22:50
72538      8593191064      1/5/2012         17:18:56
72539      8593192704      1/4/2012         12:39:22
72540      8593193756      9/19/2011        19:08:26
72541      8593194981      11/14/2011       16:12:56
72542      8593196714      9/29/2011        15:45:09
72543      8593197574      1/19/2012        7:14:18
72544      8593197574      5/21/2012        7:24:08
72545      8593197621      11/5/2011        9:03:00
72546      8593216561      10/3/2011        7:48:29
72547      8593221009      5/31/2012        15:07:13
72548      8593225930      2/9/2012         7:10:08
72549      8593245841      10/11/2011       16:54:14
72550      8593246030      1/16/2012        7:06:49
72551      8593251062      4/10/2012        16:01:01
72552      8593253957      6/24/2012        13:44:08
72553      8593255480      11/22/2011       19:26:35
72554      8593256724      11/22/2011       18:34:30
72555      8593260343      10/5/2012        12:38:27
72556      8593260443      10/27/2011       16:26:56
72557      8593274308      9/27/2011        18:09:38
72558      8593274459      9/19/2011        19:28:36
72559      8593291236      7/30/2011        8:22:37
72560      8593291438      10/10/2012       19:10:04
72561      8593331211      1/18/2012        9:48:16
72562      8593331766      9/12/2011        12:57:59
72563      8593331766      10/18/2011       7:13:05
72564      8593331887      7/26/2012        12:24:06
72565      8593332405      3/14/2012        7:02:26
72566      8593332712      10/1/2011        10:12:04
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72567      8593336904      9/8/2011         18:42:35
72568      8593384081      2/25/2012        10:28:12
72569      8593392295      6/29/2012        17:43:23
72570      8593392350      1/27/2012        17:33:26
72571      8593393365      12/8/2011        12:37:03
72572      8593393438      7/15/2011        17:10:34
72573      8593394664      7/21/2012        10:18:58
72574      8593396003      1/27/2012        7:16:48
72575      8593396003      2/6/2012         16:58:48
72576      8593396599      7/20/2012        7:33:50
72577      8593402050      9/19/2011        19:29:53
72578      8593409555      3/7/2012         18:36:55
72579      8593409582      4/20/2012        14:00:57
72580      8593511457      8/16/2011        17:34:00
72581      8593512699      7/9/2012         19:10:01
72582      8593562278      10/15/2011       10:15:31
72583      8593581445      7/23/2012        13:14:53
72584      8593609547      8/30/2012        7:05:29
72585      8593683201      11/19/2011       8:12:46
72586      8593684506      8/21/2012        13:58:07
72587      8593684506      9/21/2012        18:45:52
72588      8593807652      11/4/2011        7:11:18
72589      8593820418      8/20/2011        8:45:00
72590      8593820800      9/16/2011        13:24:15
72591      8593823152      5/9/2012         7:39:04
72592      8593829186      9/25/2012        14:50:56
72593      8593829610      7/28/2011        10:04:17
72594      8593829623      9/8/2011         17:52:09
72595      8593880117      2/28/2012        15:59:26
72596      8593884016      12/29/2011       11:21:46
72597      8593980362      9/20/2011        17:09:06
72598      8593985126      5/23/2011        15:39:10
72599      8594012272      10/27/2011       15:05:55
72600      8594012413      5/14/2012        7:16:48
72601      8594025828      3/10/2011        15:45:06
72602      8594041396      3/1/2012         8:41:47
72603      8594092035      1/23/2012        18:54:10
72604      8594094881      5/11/2012        18:24:58
72605      8594095545      2/11/2012        15:26:57
72606      8594096420      3/26/2012        18:38:46
72607      8594201515      10/7/2011        7:16:14
72608      8594206429      11/23/2011       9:07:53
72609      8594208124      11/23/2011       9:28:24
72610      8594210899      10/5/2011        14:09:21
72611      8594213120      11/19/2011       8:12:25
72612      8594216773      1/29/2012        16:40:16
72613      8594217642      10/6/2011        17:16:02
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72614      8594219399      3/12/2012        19:21:42
72615      8594219604      4/4/2012         18:33:30
72616      8594322330      10/3/2012        19:46:52
72617      8594322881      5/20/2012        16:00:24
72618      8594325350      12/20/2011       11:51:29
72619      8594325418      4/1/2011         11:42:41
72620      8594325775      10/12/2011       7:44:49
72621      8594329084      12/12/2011       16:16:32
72622      8594330016      9/6/2012         12:20:08
72623      8594331900      9/10/2011        8:29:13
72624      8594331900      9/30/2011        9:59:23
72625      8594333237      11/29/2011       16:07:56
72626      8594334699      10/24/2011       7:13:54
72627      8594442625      5/30/2012        12:47:35
72628      8594453873      9/13/2011        15:01:05
72629      8594457450      3/26/2012        18:22:59
72630      8594457450      4/2/2012         17:30:41
72631      8594457450      5/26/2012        8:48:58
72632      8594457450      9/21/2012        18:55:18
72633      8594574827      2/14/2012        9:55:36
72634      8594575850      7/11/2012        17:19:06
72635      8594575870      5/27/2012        13:57:53
72636      8594579126      3/6/2012         12:58:19
72637      8594621460      2/21/2012        9:29:04
72638      8594625052      12/18/2011       16:28:49
72639      8594625168      5/25/2012        12:04:33
72640      8594689597      5/4/2012         7:26:39
72641      8594730144      4/16/2011        14:54:12
72642      8594733184      10/2/2012        7:33:16
72643      8594733196      8/20/2012        18:48:23
72644      8594733612      11/16/2011       8:46:31
72645      8594734037      6/7/2012         7:10:21
72646      8594734318      3/13/2012        11:08:12
72647      8594735105      7/6/2012         14:36:54
72648      8594735273      11/17/2011       15:12:13
72649      8594810305      12/29/2011       14:32:44
72650      8594812524      12/7/2011        13:53:21
72651      8594813891      5/1/2012         8:39:37
72652      8594813891      5/12/2012        10:53:30
72653      8594867652      9/20/2011        17:46:05
72654      8594895165      4/3/2012         18:02:03
72655      8594897621      10/9/2012        7:36:27
72656      8594922639      12/9/2011        16:00:29
72657      8594927738      1/5/2012         11:57:35
72658      8594943764      11/25/2011       18:11:24
72659      8594961082      9/15/2012        8:03:45
72660      8594961279      10/8/2011        11:03:04
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72661      8594961621      2/17/2012        8:57:48
72662      8594965541      12/24/2011       7:05:26
72663      8595090055      4/18/2012        7:06:41
72664      8595090448      11/17/2011       15:26:51
72665      8595093025      11/17/2011       16:40:03
72666      8595123471      11/19/2011       8:18:16
72667      8595129372      4/11/2012        19:33:46
72668      8595163773      9/24/2012        19:15:51
72669      8595168142      10/18/2012       7:02:04
72670      8595330003      10/7/2012        12:59:47
72671      8595331161      4/2/2012         9:06:49
72672      8595336654      10/24/2012       15:02:39
72673      8595337439      11/28/2011       11:12:42
72674      8595339081      9/8/2011         19:56:00
72675      8595339701      8/10/2011        18:43:05
72676      8595362214      2/6/2012         17:08:12
72677      8595365152      1/19/2012        7:46:00
72678      8595366302      10/19/2012       19:13:35
72679      8595367709      6/25/2012        13:21:43
72680      8595368099      1/28/2012        9:38:48
72681      8595377863      9/24/2011        9:42:16
72682      8595391468      5/8/2012         17:01:13
72683      8595394004      3/21/2012        13:38:08
72684      8595396064      7/12/2011        12:10:07
72685      8595523270      6/1/2011         12:01:43
72686      8595526489      4/4/2012         18:34:29
72687      8595526489      7/28/2012        8:57:57
72688      8595527073      2/11/2012        11:10:19
72689      8595528538      9/14/2012        7:05:14
72690      8595532105      12/14/2011       17:50:07
72691      8595535286      3/13/2012        18:28:06
72692      8595561997      1/8/2012         12:58:28
72693      8595750495      12/20/2011       17:08:59
72694      8595750949      1/6/2012         14:56:20
72695      8595765500      2/11/2012        10:37:34
72696      8595820010      10/22/2011       12:59:19
72697      8595820010      11/14/2011       15:52:18
72698      8595820010      12/23/2011       14:21:44
72699      8595829455      4/9/2011         13:24:27
72700      8595829814      9/23/2011        18:41:55
72701      8595832292      10/3/2012        19:46:36
72702      8595836023      6/25/2012        13:55:38
72703      8595837404      9/12/2011        13:53:39
72704      8595852595      5/1/2012         17:57:09
72705      8595853961      1/11/2012        7:40:08
72706      8595854217      8/8/2011         14:47:06
72707      8595855345      8/18/2012        8:46:09
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72708      8595857556      10/14/2011       12:49:37
72709      8595859956      9/12/2011        13:04:21
72710      8595884203      4/1/2012         16:31:19
72711      8595884224      8/1/2011         19:37:43
72712      8595886576      12/5/2011        8:57:53
72713      8595950127      10/11/2012       18:37:16
72714      8595950232      3/30/2012        7:09:25
72715      8595953095      12/20/2011       19:19:59
72716      8595957037      10/20/2011       15:26:07
72717      8595957728      9/16/2011        14:10:06
72718      8596080469      10/11/2011       15:40:54
72719      8596080513      2/26/2012        13:14:07
72720      8596080909      8/2/2012         11:45:55
72721      8596085587      9/20/2011        16:40:35
72722      8596094572      3/29/2012        16:39:02
72723      8596131622      9/27/2012        16:27:25
72724      8596197683      10/12/2011       7:41:34
72725      8596205543      3/13/2012        7:08:38
72726      8596217711      9/20/2011        16:38:14
72727      8596252508      10/18/2011       12:55:58
72728      8596252659      3/13/2012        7:04:40
72729      8596254051      3/22/2012        7:57:57
72730      8596254051      5/21/2012        7:05:05
72731      8596258004      9/24/2012        18:49:44
72732      8596280366      8/20/2012        18:36:15
72733      8596284368      10/14/2011       13:20:46
72734      8596284368      5/21/2012        7:21:50
72735      8596285351      7/27/2012        12:31:00
72736      8596288542      11/28/2011       16:31:42
72737      8596408489      5/15/2012        19:00:57
72738      8596409906      6/9/2012         10:47:06
72739      8596447857      3/6/2012         16:02:00
72740      8596522703      8/20/2012        7:40:38
72741      8596525197      10/10/2011       12:31:53
72742      8596537182      9/8/2011         19:45:45
72743      8596613670      11/17/2011       13:50:05
72744      8596616152      10/18/2011       12:12:49
72745      8596618291      3/13/2012        18:35:09
72746      8596618848      10/23/2012       16:04:36
72747      8596618862      10/10/2011       11:41:36
72748      8596619549      8/20/2011        9:42:52
72749      8596699072      9/13/2011        7:07:01
72750      8596847783      10/8/2011        9:18:26
72751      8596995080      10/17/2011       7:45:15
72752      8597070405      11/26/2011       13:01:34
72753      8597071464      3/24/2012        10:23:07
72754      8597071464      6/16/2012        15:27:21
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72755      8597071467      11/2/2011        7:02:29
72756      8597073966      11/21/2011       7:12:48
72757      8597074998      11/12/2011       10:18:51
72758      8597075533      3/27/2012        19:24:48
72759      8597076125      7/2/2012         15:19:18
72760      8597076225      11/23/2011       9:25:24
72761      8597077648      1/11/2012        16:28:06
72762      8597077837      5/13/2012        17:30:56
72763      8597079570      4/21/2011        8:45:15
72764      8597434845      6/1/2012         8:57:09
72765      8597490709      10/19/2011       7:46:40
72766      8597497762      12/29/2011       19:18:45
72767      8597502010      11/14/2011       16:45:16
72768      8597502010      11/21/2011       7:18:30
72769      8597504155      7/28/2012        8:39:32
72770      8597504509      7/30/2012        13:24:19
72771      8597508392      11/8/2011        13:42:23
72772      8597508786      1/29/2012        16:33:09
72773      8597530213      10/15/2011       10:16:37
72774      8597534433      4/13/2012        13:33:34
72775      8597536112      12/21/2011       10:45:50
72776      8597604146      4/19/2012        7:19:56
72777      8597604563      10/23/2012       10:35:39
72778      8597609293      8/9/2011         12:38:06
72779      8597716898      9/21/2011        11:41:53
72780      8597792225      5/3/2012         7:13:14
72781      8597793050      7/8/2012         13:31:59
72782      8597798135      4/12/2012        18:02:52
72783      8598014685      9/19/2011        19:27:03
72784      8598016755      10/25/2011       16:13:39
72785      8598018996      12/11/2011       12:20:35
72786      8598023788      10/26/2011       12:51:16
72787      8598024998      8/20/2012        18:48:50
72788      8598033615      9/26/2011        8:24:30
72789      8598035673      10/22/2011       12:56:19
72790      8598036041      11/1/2011        8:16:40
72791      8598036846      6/3/2011         7:03:36
72792      8598086266      10/6/2011        17:22:42
72793      8598143456      3/16/2012        15:50:46
72794      8598162998      4/9/2012         17:49:04
72795      8598163110      5/19/2012        8:12:54
72796      8598163110      9/24/2012        19:10:46
72797      8598258240      9/20/2011        17:04:04
72798      8598669025      9/27/2012        16:21:38
72799      8598820694      5/21/2012        7:24:25
72800      8598930707      7/19/2012        17:29:31
72801      8598934315      3/1/2012         8:44:21
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72802      8598935395      2/13/2012        18:40:08
72803      8598939286      10/4/2011        13:06:14
72804      8598939532      3/2/2012         18:52:54
72805      8599058090      1/16/2012        17:22:46
72806      8599070063      4/27/2012        7:51:11
72807      8599070753      3/20/2012        9:26:24
72808      8599074075      10/7/2012        12:51:18
72809      8599075445      7/13/2012        18:25:51
72810      8599077970      4/26/2012        8:11:42
72811      8599160578      2/2/2012         7:14:46
72812      8599481536      9/20/2011        15:13:09
72813      8599530057      8/17/2011        18:12:28
72814      8599541956      1/23/2012        14:41:11
72815      8599577163      1/20/2012        14:25:00
72816      8599578104      3/14/2012        19:24:40
72817      8599635781      3/30/2012        16:45:43
72818      8599674160      11/15/2011       16:15:25
72819      8599790193      11/18/2011       13:24:19
72820      8599791202      1/12/2012        14:24:13
72821      8599792031      9/9/2011         7:47:22
72822      8599792222      3/26/2012        7:07:29
72823      8599823213      4/12/2012        12:26:34
72824      8599823790      7/16/2011        8:50:16
72825      8599833129      10/14/2011       13:19:53
72826      8599915537      6/8/2012         7:30:25
72827      8599920605      5/15/2012        19:07:18
72828      8599922173      3/16/2012        15:48:37
72829      8602013171      9/27/2011        18:07:54
72830      8602084352      10/15/2011       9:52:18
72831      8602086136      9/29/2011        15:11:15
72832      8602088352      10/27/2011       15:08:32
72833      8602088352      11/29/2011       16:14:16
72834      8602088569      12/18/2011       16:55:20
72835      8602090576      9/26/2011        8:30:06
72836      8602090576      10/4/2011        13:32:39
72837      8602094614      9/19/2011        7:06:53
72838      8602123431      10/13/2011       7:19:41
72839      8602124058      11/5/2011        10:59:10
72840      8602124058      12/16/2011       15:27:48
72841      8602218965      7/27/2012        15:34:44
72842      8602304591      10/10/2011       11:47:56
72843      8602311439      9/8/2011         19:25:48
72844      8602355657      5/7/2012         17:54:58
72845      8602358118      10/20/2012       16:20:55
72846      8602372928      12/21/2011       10:12:19
72847      8602509886      9/26/2011        8:34:48
72848      8602509886      10/4/2011        13:45:01
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72849      8602680621      8/4/2012         7:29:26
72850      8602681726      1/10/2012        12:37:03
72851      8602682951      9/16/2012        17:14:33
72852      8602686693      7/7/2012         10:11:24
72853      8602686693      10/17/2012       18:34:10
72854      8602713608      4/24/2012        12:17:20
72855      8602715980      12/6/2011        14:48:27
72856      8602816173      5/11/2012        7:29:06
72857      8602819024      3/15/2012        7:10:42
72858      8602871974      7/29/2011        7:17:53
72859      8603014923      7/19/2012        17:57:05
72860      8603021368      11/12/2011       10:23:18
72861      8603029731      10/11/2011       17:03:44
72862      8603033397      9/19/2011        19:06:39
72863      8603035910      3/4/2012         12:38:12
72864      8603078432      12/21/2011       9:49:09
72865      8603079060      9/24/2011        9:05:44
72866      8603095331      1/4/2012         15:01:46
72867      8603096350      2/14/2012        16:48:29
72868      8603153804      12/19/2011       7:40:12
72869      8603186010      10/26/2011       11:55:30
72870      8603247762      10/10/2012       12:42:31
72871      8603291484      4/25/2012        16:00:06
72872      8603293905      9/20/2011        17:10:58
72873      8603311266      12/5/2011        18:30:16
72874      8603333845      2/6/2012         17:01:18
72875      8603334042      1/10/2012        15:11:06
72876      8603334326      1/3/2012         11:12:52
72877      8603334326      2/6/2012         7:53:38
72878      8603352530      10/17/2012       9:44:48
72879      8603565559      11/28/2011       17:38:49
72880      8603578794      6/29/2012        17:49:30
72881      8603720780      9/11/2012        15:15:34
72882      8603726521      12/16/2011       15:57:21
72883      8603731702      10/14/2012       15:12:52
72884      8603825283      9/21/2012        18:44:54
72885      8603849716      7/26/2012        19:13:47
72886      8604021577      9/8/2011         19:39:25
72887      8604024438      7/30/2012        13:26:13
72888      8604179457      9/15/2011        7:18:36
72889      8604207017      10/13/2011       7:15:38
72890      8604208443      11/8/2011        8:19:08
72891      8604282217      10/21/2011       14:36:16
72892      8604284723      12/14/2011       12:53:26
72893      8604596071      6/11/2012        18:08:34
72894      8604597812      7/30/2012        14:46:20
72895      8604598215      5/23/2012        15:04:37
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72896      8604602506      10/18/2012       16:30:42
72897      8604605210      2/15/2012        7:59:48
72898      8604614980      3/15/2012        18:53:57
72899      8604618263      5/16/2012        16:52:57
72900      8604623095      2/21/2012        9:32:22
72901      8604623095      6/12/2012        7:14:46
72902      8604625282      10/18/2011       16:28:39
72903      8604625598      2/17/2012        9:10:48
72904      8604656230      6/16/2012        8:53:14
72905      8604657988      10/23/2012       10:47:31
72906      8604669118      10/13/2011       7:25:33
72907      8604710541      6/15/2012        8:37:34
72908      8604715203      2/15/2012        8:09:27
72909      8604785964      10/5/2011        10:41:24
72910      8604881941      6/18/2012        9:18:04
72911      8604881941      6/23/2012        16:15:08
72912      8604885460      11/17/2011       13:55:16
72913      8604885460      7/23/2012        15:26:35
72914      8604903159      10/5/2011        14:08:34
72915      8605012018      12/10/2011       14:43:18
72916      8605012172      6/19/2012        7:58:20
72917      8605024930      10/17/2012       18:39:42
72918      8605082516      10/3/2011        7:07:25
72919      8605139257      9/23/2011        7:05:24
72920      8605144930      8/30/2011        16:23:21
72921      8605146377      2/15/2012        7:58:03
72922      8605180248      11/11/2011       16:49:04
72923      8605181638      10/12/2012       16:36:18
72924      8605188392      11/11/2011       13:40:23
72925      8605381478      7/28/2012        8:44:56
72926      8605384251      10/7/2011        7:11:52
72927      8605388848      2/14/2012        15:20:12
72928      8605529274      12/5/2011        18:29:24
72929      8605581457      6/28/2012        14:25:48
72930      8605594659      3/16/2012        11:06:44
72931      8605603228      12/20/2011       19:29:21
72932      8605739339      2/11/2012        10:58:32
72933      8605763885      7/6/2012         14:44:58
72934      8605764296      11/26/2011       12:36:53
72935      8605765338      10/4/2011        13:06:36
72936      8605783239      7/24/2012        7:33:00
72937      8605931896      3/28/2012        17:00:46
72938      8605956980      4/16/2012        15:56:43
72939      8605975329      9/19/2012        7:51:17
72940      8605979388      8/8/2012         16:11:46
72941      8606080457      3/13/2012        18:35:15
72942      8606088235      3/25/2012        11:49:31
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72943      8606142726      10/4/2011        13:36:39
72944      8606142781      9/24/2011        9:07:33
72945      8606142781      10/10/2011       12:15:03
72946      8606145508      10/2/2012        7:38:38
72947      8606176079      3/29/2012        12:18:32
72948      8606343465      12/10/2011       12:05:37
72949      8606397773      8/22/2012        11:16:13
72950      8606421969      11/8/2011        13:46:36
72951      8606551020      1/11/2012        7:23:44
72952      8606558965      12/13/2011       18:47:35
72953      8606719588      4/5/2012         14:25:10
72954      8606802241      9/24/2012        13:21:55
72955      8606808468      10/24/2011       7:10:50
72956      8606896155      9/19/2012        8:03:09
72957      8606906048      7/16/2012        7:57:10
72958      8607054405      7/12/2012        19:49:32
72959      8607055816      9/8/2011         17:50:15
72960      8607057464      3/28/2012        18:10:14
72961      8607062240      3/7/2012         18:30:04
72962      8607063164      10/4/2011        13:36:04
72963      8607073572      7/20/2011        13:33:22
72964      8607076948      12/29/2011       18:47:39
72965      8607106139      6/5/2012         14:03:42
72966      8607139245      7/19/2012        17:37:48
72967      8607168053      3/2/2012         18:56:58
72968      8607263312      9/29/2011        15:42:28
72969      8607297276      5/14/2012        15:29:53
72970      8607297276      5/17/2012        7:03:26
72971      8607514937      10/10/2011       12:13:05
72972      8607524235      2/14/2012        9:41:21
72973      8607530346      12/23/2011       13:44:04
72974      8607547175      10/4/2011        13:41:02
72975      8607547300      10/7/2011        7:04:39
72976      8607548369      6/19/2012        15:39:04
72977      8607599969      9/2/2011         12:42:16
72978      8607700219      12/28/2011       17:50:06
72979      8607700485      2/17/2012        9:08:14
72980      8607702741      8/7/2012         17:51:27
72981      8607703036      6/27/2012        12:03:33
72982      8607777324      5/14/2012        15:18:04
72983      8607783855      6/23/2012        15:59:46
72984      8607788502      3/14/2012        7:02:13
72985      8607789062      5/29/2012        17:08:50
72986      8607940316      3/15/2012        18:52:46
72987      8607946421      4/14/2012        9:19:06
72988      8607962283      9/19/2011        19:27:10
72989      8607962947      6/16/2012        15:22:57
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72990      8607971032      9/26/2012        8:11:54
72991      8607981111      2/22/2012        7:03:14
72992      8608060043      9/21/2012        18:52:30
72993      8608160993      1/18/2012        10:22:50
72994      8608161209      1/6/2012         14:32:29
72995      8608163735      10/25/2011       15:05:50
72996      8608165845      3/13/2012        7:09:47
72997      8608167760      11/19/2011       8:52:09
72998      8608197084      3/12/2012        19:15:15
72999      8608239435      11/18/2011       13:27:22
73000      8608298827      1/18/2012        9:57:46
73001      8608304776      12/12/2011       16:29:53
73002      8608307900      6/27/2012        18:04:53
73003      8608330244      5/30/2012        16:56:12
73004      8608331213      9/24/2012        19:03:59
73005      8608339012      10/12/2012       16:43:03
73006      8608346172      11/18/2011       13:28:56
73007      8608362544      10/12/2011       8:25:17
73008      8608409761      10/3/2011        7:41:15
73009      8608457123      8/8/2012         7:05:18
73010      8608490443      3/16/2012        15:59:17
73011      8608570452      6/20/2012        16:57:41
73012      8608571201      12/20/2011       19:32:35
73013      8608571721      1/12/2012        7:05:01
73014      8608572261      9/21/2012        19:03:14
73015      8608573125      3/25/2012        11:41:05
73016      8608574907      10/5/2011        14:05:16
73017      8608612933      12/19/2011       7:22:23
73018      8608613377      12/5/2011        18:22:08
73019      8608619241      4/4/2012         19:00:16
73020      8608677371      10/7/2011        7:18:34
73021      8608677371      10/21/2011       12:59:12
73022      8608690575      1/8/2012         12:45:04
73023      8608694225      1/12/2012        14:27:51
73024      8608694695      7/25/2011        16:23:56
73025      8608698837      8/16/2012        19:45:29
73026      8608699906      4/17/2012        9:19:58
73027      8608742666      12/16/2011       15:56:00
73028      8608742666      3/29/2012        12:02:07
73029      8608748569      10/18/2011       7:12:16
73030      8608773025      1/29/2012        16:27:42
73031      8608813262      4/12/2012        12:17:57
73032      8608813262      5/21/2012        7:31:13
73033      8608815194      9/8/2011         19:28:04
73034      8608816265      8/8/2011         12:17:44
73035      8608859717      9/23/2011        8:17:27
73036      8608881849      3/21/2012        13:54:46
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73037      8608881849      3/28/2012        18:10:21
73038      8608900846      4/29/2012        16:45:05
73039      8608904045      12/7/2011        14:38:10
73040      8608906650      10/14/2011       12:44:05
73041      8608907273      9/28/2012        16:48:57
73042      8608978681      5/25/2012        8:01:17
73043      8609066118      7/26/2012        19:17:31
73044      8609068575      4/1/2012         16:33:00
73045      8609089004      7/30/2012        13:16:02
73046      8609128494      6/9/2012         10:50:22
73047      8609129409      9/22/2011        15:01:20
73048      8609170073      1/28/2012        8:10:20
73049      8609170073      3/12/2012        19:05:38
73050      8609170073      5/21/2012        7:25:45
73051      8609170073      5/26/2012        14:29:41
73052      8609172090      5/8/2012         7:12:27
73053      8609173495      3/30/2012        16:12:37
73054      8609173608      5/8/2012         16:59:04
73055      8609174843      1/16/2012        7:13:41
73056      8609176043      8/16/2012        19:52:23
73057      8609178055      8/4/2011         7:41:33
73058      8609178707      4/7/2012         9:01:33
73059      8609182170      10/14/2011       12:43:49
73060      8609194483      12/27/2011       14:14:57
73061      8609217579      5/30/2012        9:19:56
73062      8609228471      8/25/2012        8:08:29
73063      8609381038      10/1/2011        9:39:38
73064      8609381220      11/27/2011       15:24:49
73065      8609383423      6/16/2012        7:50:59
73066      8609403980      4/10/2012        16:09:07
73067      8609421241      10/25/2012       19:46:44
73068      8609441092      9/28/2011        10:04:33
73069      8609442477      6/1/2012         9:06:55
73070      8609449780      6/30/2012        16:00:33
73071      8609490993      6/13/2012        7:15:42
73072      8609512624      4/13/2012        13:28:30
73073      8609518978      11/17/2011       15:11:23
73074      8609610431      10/22/2011       12:28:36
73075      8609615442      3/17/2012        8:36:16
73076      8609640327      5/17/2012        16:49:41
73077      8609655923      3/10/2012        8:48:17
73078      8609701334      9/10/2011        8:53:25
73079      8609770686      5/10/2011        19:17:39
73080      8609820199      4/16/2012        15:59:39
73081      8609821382      11/17/2011       15:13:31
73082      8609830019      10/22/2011       12:28:34
73083      8609830793      9/7/2012         15:48:33
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73084      8609834262      8/20/2012        18:50:24
73085      8609839358      4/12/2012        12:19:05
73086      8609842012      3/19/2012        19:17:32
73087      8609852331      7/18/2012        18:23:18
73088      8609853966      10/3/2012        19:53:01
73089      8609854079      8/13/2012        7:40:36
73090      8609855793      1/7/2012         10:33:40
73091      8609860094      11/4/2011        7:22:19
73092      8609872056      11/27/2011       15:30:54
73093      8609877055      10/10/2011       12:33:54
73094      8609924845      4/11/2012        7:09:59
73095      8609950690      2/28/2012        7:57:24
73096      8609955826      5/8/2012         9:27:10
73097      8609970611      12/5/2011        9:54:37
73098      8609971449      7/9/2012         12:07:33
73099      8622016423      7/3/2012         19:30:00
73100      8622016801      9/8/2011         18:32:00
73101      8622020725      9/13/2012        7:42:30
73102      8622021187      6/5/2012         13:53:48
73103      8622024257      1/17/2012        7:16:48
73104      8622059149      11/8/2011        8:18:43
73105      8622059149      11/14/2011       14:09:40
73106      8622059990      10/21/2011       12:25:56
73107      8622105304      9/21/2011        11:51:42
73108      8622151904      9/11/2012        7:44:59
73109      8622152649      10/19/2011       7:22:34
73110      8622153024      7/15/2011        7:17:43
73111      8622153581      10/23/2012       10:45:52
73112      8622154390      10/24/2012       15:00:21
73113      8622154714      9/21/2011        11:52:13
73114      8622159665      1/12/2012        7:11:23
73115      8622165348      11/16/2011       9:34:10
73116      8622183921      11/23/2011       14:32:55
73117      8622185219      2/7/2012         7:04:31
73118      8622185393      10/22/2011       12:28:55
73119      8622186608      11/23/2011       10:11:40
73120      8622188142      7/26/2012        19:23:19
73121      8622188850      3/16/2012        10:11:41
73122      8622188970      11/18/2011       12:18:57
73123      8622190152      5/22/2012        11:26:00
73124      8622201902      9/10/2013        19:27:18
73125      8622210634      8/24/2011        11:44:21
73126      8622242150      10/15/2012       10:05:15
73127      8622242534      9/22/2012        9:35:22
73128      8622242792      5/31/2012        15:06:40
73129      8622246463      12/12/2013       10:14:01
73130      8622249585      3/26/2012        18:21:42
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73131      8622261392      10/12/2012       16:37:13
73132      8622308669      7/5/2012         15:34:31
73133      8622324180      9/21/2012        15:36:47
73134      8622356640      3/7/2012         18:28:57
73135      8622359036      12/30/2011       17:01:41
73136      8622371981      9/15/2011        7:09:35
73137      8622372033      1/9/2012         18:06:30
73138      8622373307      10/7/2011        7:15:23
73139      8622376323      5/3/2012         7:06:55
73140      8622392505      3/14/2012        19:24:37
73141      8622393577      8/30/2012        17:41:16
73142      8622393600      9/8/2012         11:22:49
73143      8622393600      9/28/2012        16:41:47
73144      8622410181      4/14/2012        9:33:30
73145      8622420434      7/20/2012        7:35:55
73146      8622429421      12/21/2011       19:02:23
73147      8622460006      6/29/2012        9:38:24
73148      8622471226      5/24/2012        7:15:38
73149      8622492065      12/15/2011       8:26:33
73150      8622492608      9/18/2012        14:25:34
73151      8622492956      5/19/2012        9:44:18
73152      8622496814      9/8/2011         19:39:04
73153      8622504903      3/16/2012        10:10:43
73154      8622580619      7/13/2012        18:27:01
73155      8622622609      8/5/2011         17:42:49
73156      8622623324      3/22/2012        7:55:06
73157      8622623615      8/1/2012         8:31:28
73158      8622623620      6/16/2012        15:20:47
73159      8622627544      2/14/2012        9:57:08
73160      8622643807      6/13/2012        20:00:52
73161      8622645912      1/7/2012         8:19:06
73162      8622649171      5/8/2012         9:09:00
73163      8622664120      5/20/2012        15:52:46
73164      8622669416      9/29/2011        9:05:32
73165      8622905806      10/5/2012        18:19:41
73166      8623672143      3/23/2012        19:47:43
73167      8623672143      3/30/2012        16:02:55
73168      8623681906      3/18/2011        10:30:55
73169      8623686321      9/30/2011        9:58:17
73170      8623687515      8/3/2012         16:29:27
73171      8623689157      12/29/2011       19:26:56
73172      8623689157      5/21/2012        7:02:49
73173      8623714528      11/18/2011       12:42:43
73174      8623715661      9/20/2011        19:24:21
73175      8623979171      4/12/2012        12:25:37
73176      8624005412      11/5/2011        9:24:53
73177      8624145360      3/2/2012         18:42:53
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73178      8624320825      5/21/2012        17:36:00
73179      8624382955      12/30/2011       7:14:03
73180      8624383115      3/16/2012        15:47:03
73181      8624384244      10/4/2011        13:31:33
73182      8624386788      10/25/2011       16:03:08
73183      8624386913      7/2/2012         15:00:18
73184      8624386913      9/21/2012        16:05:57
73185      8624523556      9/13/2011        17:25:26
73186      8624528245      9/13/2012        7:37:26
73187      8624528363      1/19/2012        18:10:38
73188      8624528658      10/22/2012       7:11:41
73189      8625209411      10/18/2011       7:14:08
73190      8625711221      2/2/2012         7:17:35
73191      8625711488      1/24/2012        9:59:37
73192      8625713991      9/23/2011        11:34:08
73193      8625761926      9/26/2012        7:15:41
73194      8625761958      9/16/2011        13:12:04
73195      8625762074      5/7/2011         14:27:49
73196      8625762574      9/12/2011        13:15:05
73197      8625764149      11/28/2011       17:13:35
73198      8625769440      8/31/2011        10:20:45
73199      8625790269      5/1/2012         17:39:38
73200      8625883615      9/8/2011         19:29:37
73201      8625884030      1/10/2012        18:06:55
73202      8625965022      6/8/2012         12:33:28
73203      8625965565      3/25/2012        11:43:14
73204      8625965881      8/3/2012         16:23:52
73205      8626000660      12/20/2011       7:12:58
73206      8626001315      4/2/2012         7:23:09
73207      8626002142      8/3/2012         16:29:13
73208      8626003334      10/5/2011        14:30:33
73209      8626003766      12/1/2011        15:19:57
73210      8626005883      10/15/2011       9:06:30
73211      8626007077      12/6/2011        7:21:47
73212      8626007291      2/28/2014        9:44:39
73213      8626681562      5/21/2012        7:03:21
73214      8626683873      8/11/2011        10:57:10
73215      8626685510      9/23/2011        18:57:35
73216      8626686622      4/23/2011        10:08:50
73217      8626689877      8/2/2012         11:35:12
73218      8626860646      5/22/2012        11:28:22
73219      8626865504      3/28/2012        18:20:51
73220      8626868263      10/5/2011        14:00:39
73221      8627036249      2/13/2012        18:45:03
73222      8627540272      6/8/2012         16:58:34
73223      8627550474      9/13/2011        17:29:50
73224      8627552726      1/9/2012         18:12:17
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73225      8627552804      5/11/2012        18:34:22
73226      8627553921      2/28/2012        16:10:46
73227      8627726982      3/29/2012        16:39:34
73228      8628121258      4/15/2012        16:30:28
73229      8628233856      10/17/2011       9:21:47
73230      8628238915      3/6/2012         7:53:53
73231      8628238999      6/20/2012        7:47:58
73232      8628499000      3/13/2012        18:37:06
73233      8628812107      10/6/2011        16:16:05
73234      8628819826      10/3/2012        20:00:50
73235      8628883865      3/12/2012        16:52:15
73236      8628884459      6/16/2012        15:27:51
73237      8628884693      1/25/2014        9:08:48
73238      8629029931      3/1/2012         8:43:16
73239      8629440101      10/19/2012       9:43:09
73240      8629440551      10/11/2011       15:46:34
73241      8629442802      10/8/2011        9:38:15
73242      8629442802      2/1/2012         8:16:25
73243      8629442802      7/30/2012        13:13:17
73244      8629447651      7/12/2012        13:08:42
73245      8632010517      10/26/2011       11:51:40
73246      8632020426      12/17/2011       13:52:53
73247      8632026734      9/15/2012        8:18:03
73248      8632051552      1/8/2012         12:45:54
73249      8632051906      12/27/2011       14:30:49
73250      8632053282      9/16/2011        13:16:52
73251      8632056417      1/30/2012        7:03:21
73252      8632056417      2/8/2012         7:45:31
73253      8632056983      5/21/2012        7:22:06
73254      8632065336      9/18/2012        14:24:18
73255      8632067116      5/18/2012        7:12:19
73256      8632070418      6/6/2012         13:07:56
73257      8632070590      12/24/2011       7:10:56
73258      8632079141      7/5/2012         7:49:59
73259      8632120034      11/19/2011       8:38:18
73260      8632120415      4/1/2012         16:01:27
73261      8632120851      5/23/2012        16:23:22
73262      8632141008      5/14/2011        11:38:08
73263      8632143174      10/15/2011       10:14:16
73264      8632143534      9/20/2011        17:43:45
73265      8632144274      9/20/2011        16:39:31
73266      8632144502      4/4/2012         7:11:52
73267      8632146769      2/14/2012        13:22:33
73268      8632147606      9/24/2012        18:59:57
73269      8632148870      9/22/2011        15:10:53
73270      8632153278      12/21/2011       9:48:08
73271      8632154302      9/16/2011        12:59:54
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73272      8632155757      10/3/2011        7:35:49
73273      8632169613      2/11/2012        10:36:44
73274      8632214777      9/22/2012        9:11:16
73275      8632240615      6/27/2011        7:13:32
73276      8632242331      9/27/2011        18:11:41
73277      8632244342      2/28/2012        15:56:40
73278      8632244742      1/18/2012        10:48:31
73279      8632268378      3/24/2012        10:16:28
73280      8632268382      9/30/2011        10:16:37
73281      8632277382      5/11/2012        18:23:35
73282      8632284298      3/5/2012         8:14:13
73283      8632284298      5/18/2012        11:46:39
73284      8632284696      5/20/2011        17:39:26
73285      8632286040      11/8/2011        14:24:21
73286      8632286280      11/21/2011       7:16:02
73287      8632286750      9/24/2012        13:04:54
73288      8632330876      8/2/2013         12:53:59
73289      8632364043      1/28/2012        8:27:13
73290      8632364043      5/21/2012        7:24:27
73291      8632364429      9/27/2012        16:43:07
73292      8632368013      9/8/2011         19:23:09
73293      8632368021      11/15/2011       16:19:31
73294      8632368021      5/21/2012        7:02:14
73295      8632368739      3/26/2012        7:07:55
73296      8632411309      3/16/2012        10:24:16
73297      8632413812      4/2/2012         7:16:41
73298      8632413818      1/8/2012         13:08:28
73299      8632415730      10/7/2012        12:46:41
73300      8632417651      5/23/2012        16:45:01
73301      8632422238      7/11/2011        7:10:59
73302      8632423296      10/3/2012        19:50:48
73303      8632423781      1/6/2012         10:57:14
73304      8632426607      4/2/2012         17:31:09
73305      8632431559      1/12/2014        16:19:50
73306      8632432587      5/16/2012        16:53:05
73307      8632432969      8/30/2012        17:42:17
73308      8632448801      1/14/2012        13:20:37
73309      8632455544      1/9/2012         18:31:20
73310      8632458983      9/29/2012        9:45:20
73311      8632531129      4/16/2012        15:58:57
73312      8632531292      4/3/2012         18:01:31
73313      8632531774      12/7/2011        13:14:32
73314      8632532614      10/12/2011       11:58:42
73315      8632533207      7/26/2012        12:15:51
73316      8632558026      1/24/2012        10:01:26
73317      8632558912      5/1/2012         17:40:44
73318      8632559315      9/21/2012        15:57:02
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73319      8632559463      2/10/2012        9:24:21
73320      8632564110      11/29/2011       7:29:25
73321      8632564317      7/27/2011        17:27:31
73322      8632570163      9/13/2011        17:43:14
73323      8632581083      11/28/2011       16:30:18
73324      8632592076      2/6/2012         7:07:29
73325      8632597701      7/16/2011        8:48:48
73326      8632613052      12/31/2011       11:47:04
73327      8632636596      7/9/2012         12:07:05
73328      8632734242      5/13/2012        17:18:06
73329      8632740263      6/2/2012         12:59:06
73330      8632792791      3/12/2012        7:08:00
73331      8632809079      10/29/2011       9:54:48
73332      8632864808      1/18/2012        16:49:26
73333      8632869900      6/2/2012         13:03:09
73334      8632869900      7/18/2012        18:24:07
73335      8632873135      5/17/2012        16:50:38
73336      8632874885      11/21/2011       7:13:29
73337      8632875456      2/16/2012        7:15:43
73338      8632879479      7/19/2012        17:37:08
73339      8632886506      2/20/2012        16:46:31
73340      8632886506      2/28/2012        7:46:14
73341      8632886506      3/14/2012        7:13:16
73342      8632887956      6/28/2012        14:19:50
73343      8632890239      1/7/2012         8:24:02
73344      8633021536      9/8/2011         19:25:29
73345      8633042837      3/23/2012        7:03:55
73346      8633070804      4/26/2012        8:02:01
73347      8633070804      5/8/2012         7:06:50
73348      8633256541      5/1/2012         17:57:16
73349      8633267139      10/19/2012       9:52:54
73350      8633268168      5/20/2012        15:33:07
73351      8633276018      2/9/2012         7:28:20
73352      8633323668      2/13/2012        18:25:27
73353      8633680094      6/20/2012        16:55:43
73354      8633681261      11/18/2011       12:37:57
73355      8633681901      11/30/2011       7:14:04
73356      8633702426      10/6/2011        17:23:07
73357      8633703397      1/31/2012        7:08:51
73358      8633706573      1/19/2012        18:39:01
73359      8633812799      1/11/2012        8:54:44
73360      8633816557      9/14/2011        11:54:27
73361      8633818610      12/29/2011       9:58:44
73362      8633819437      3/31/2012        8:24:00
73363      8633819726      8/31/2012        16:27:46
73364      8633932397      7/30/2012        13:26:29
73365      8633936954      7/15/2012        10:39:02
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73366      8633975030      2/28/2012        15:52:13
73367      8633980286      3/12/2012        16:52:19
73368      8633980843      11/28/2011       17:39:13
73369      8633983801      7/2/2012         17:13:23
73370      8633990802      9/27/2011        18:02:45
73371      8633992758      10/17/2011       11:09:22
73372      8633999136      2/6/2012         7:25:54
73373      8634015003      2/17/2012        9:07:36
73374      8634015003      4/5/2012         7:09:03
73375      8634096524      4/22/2012        15:48:15
73376      8634096524      4/23/2012        7:25:31
73377      8634096601      3/24/2012        9:53:14
73378      8634096601      5/22/2012        18:25:12
73379      8634098099      12/2/2011        8:00:05
73380      8634098359      7/2/2012         17:12:18
73381      8634098913      12/6/2011        13:15:01
73382      8634099210      1/23/2012        7:24:54
73383      8634146781      10/5/2011        13:59:19
73384      8634147604      9/22/2011        15:53:51
73385      8634195131      5/18/2012        7:05:31
73386      8634195131      10/15/2012       16:09:27
73387      8634195397      5/17/2012        16:37:47
73388      8634195397      5/21/2012        7:33:55
73389      8634195738      9/13/2012        7:38:57
73390      8634196278      5/23/2012        14:41:23
73391      8634196288      3/24/2012        9:59:37
73392      8634203366      2/14/2012        9:52:00
73393      8634275135      3/20/2012        17:47:17
73394      8634275163      10/11/2012       18:32:07
73395      8634303682      11/22/2011       18:31:43
73396      8634304210      3/16/2012        10:17:24
73397      8634304231      12/1/2011        8:15:53
73398      8634306154      4/18/2012        7:13:04
73399      8634306154      8/22/2012        11:17:46
73400      8634308730      11/25/2011       18:05:25
73401      8634309117      2/10/2012        7:11:50
73402      8634401025      10/5/2013        16:38:39
73403      8634402307      2/17/2012        18:17:28
73404      8634403290      2/11/2012        15:20:56
73405      8634403573      3/3/2012         8:14:24
73406      8634406032      7/16/2012        19:35:18
73407      8634411034      6/13/2012        7:09:03
73408      8634411448      10/5/2012        18:22:16
73409      8634412663      5/16/2012        7:07:10
73410      8634432741      5/14/2011        11:39:28
73411      8634434029      6/21/2011        13:52:25
73412      8634434355      1/12/2012        14:22:08
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73413      8634436206      9/28/2011        10:36:58
73414      8634471156      2/28/2012        7:45:09
73415      8634474318      11/3/2011        17:11:50
73416      8634506516      5/26/2012        8:35:38
73417      8634509150      12/20/2011       7:10:57
73418      8634509927      9/21/2011        19:28:43
73419      8634511177      8/13/2011        10:54:24
73420      8634511701      8/25/2012        8:17:47
73421      8634512341      4/10/2012        16:19:39
73422      8634580452      12/21/2011       18:47:13
73423      8634580610      3/21/2012        13:47:42
73424      8634582260      9/1/2012         9:21:55
73425      8634671090      12/28/2011       8:16:47
73426      8634731650      8/20/2012        18:49:00
73427      8634840414      10/6/2011        17:27:20
73428      8634842022      3/21/2012        13:37:27
73429      8634842291      12/29/2011       19:15:17
73430      8634842656      9/24/2011        9:42:11
73431      8634944579      4/6/2012         15:51:23
73432      8635128818      3/21/2012        7:11:17
73433      8635129760      4/2/2012         9:05:24
73434      8635132221      11/30/2011       7:28:02
73435      8635132932      1/11/2012        7:45:08
73436      8635133562      10/30/2013       7:20:10
73437      8635136560      6/27/2012        18:05:30
73438      8635140878      9/13/2011        15:14:42
73439      8635210804      2/28/2012        7:46:24
73440      8635210804      8/4/2012         7:30:26
73441      8635210804      8/23/2012        19:06:30
73442      8635211777      10/17/2011       11:48:38
73443      8635213819      1/11/2012        16:21:15
73444      8635213819      1/18/2012        10:51:07
73445      8635216521      2/17/2012        18:18:33
73446      8635218805      5/18/2012        15:56:56
73447      8635280468      2/14/2012        16:37:43
73448      8635281963      8/2/2012         18:49:58
73449      8635282562      9/29/2012        9:57:07
73450      8635283896      6/21/2011        13:52:59
73451      8635284918      10/8/2011        9:33:56
73452      8635288237      5/18/2012        15:43:54
73453      8635288645      12/18/2011       17:14:48
73454      8635297357      7/20/2012        14:57:28
73455      8635297419      4/23/2012        7:20:50
73456      8635298181      6/21/2011        13:51:39
73457      8635321877      9/10/2012        7:39:04
73458      8635370624      5/21/2012        7:24:13
73459      8635571987      11/4/2011        7:26:25
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73460      8635575746      6/8/2012         7:24:41
73461      8635575787      7/11/2012        9:34:08
73462      8635575813      1/5/2012         11:55:16
73463      8635585129      3/23/2012        19:48:14
73464      8635590706      7/2/2011         8:07:27
73465      8635597684      10/25/2011       15:18:13
73466      8635597766      2/17/2012        9:01:38
73467      8635817533      9/21/2011        11:51:38
73468      8635832580      10/10/2012       12:55:37
73469      8635892210      10/15/2011       9:44:34
73470      8635892491      10/6/2011        17:20:00
73471      8635940409      6/1/2012         8:59:06
73472      8635955204      11/28/2011       11:55:48
73473      8635956435      2/28/2012        7:55:49
73474      8635957395      10/18/2011       12:45:36
73475      8635998316      10/15/2011       9:44:12
73476      8636025089      11/28/2011       16:52:36
73477      8636026288      12/7/2011        13:28:52
73478      8636051602      10/17/2011       7:04:57
73479      8636051690      4/9/2012         7:29:25
73480      8636053705      11/19/2011       8:33:14
73481      8636054313      1/12/2012        14:23:37
73482      8636054313      2/11/2012        11:01:27
73483      8636056232      4/10/2012        16:01:46
73484      8636059091      10/6/2011        16:34:02
73485      8636083782      2/2/2012         10:48:40
73486      8636084424      5/11/2012        18:40:34
73487      8636125757      10/7/2012        12:44:51
73488      8636125931      1/7/2012         8:58:25
73489      8636125931      2/28/2012        16:01:01
73490      8636125980      9/8/2011         19:23:54
73491      8636126248      1/14/2012        13:28:35
73492      8636126669      12/7/2011        15:11:12
73493      8636143840      9/22/2011        15:05:14
73494      8636143840      10/17/2011       7:32:31
73495      8636144257      7/30/2012        18:42:30
73496      8636186075      9/7/2011         14:45:45
73497      8636187667      7/31/2012        7:04:45
73498      8636322215      10/3/2012        9:20:37
73499      8636322758      11/12/2011       9:21:47
73500      8636340409      3/15/2012        18:54:57
73501      8636345810      4/5/2012         7:09:50
73502      8636348865      6/18/2012        15:25:12
73503      8636349986      4/25/2012        9:28:38
73504      8636408013      6/20/2012        16:51:17
73505      8636516072      4/7/2012         9:40:48
73506      8636517208      9/7/2012         15:48:17
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73507      8636519476      9/23/2011        11:27:54
73508      8636603737      12/26/2011       9:22:22
73509      8636610043      2/15/2012        7:59:06
73510      8636610287      6/28/2012        14:13:50
73511      8636611060      2/1/2012         18:29:17
73512      8636611802      5/25/2012        17:01:58
73513      8636619252      9/23/2011        18:58:10
73514      8636627309      9/28/2012        7:34:31
73515      8636628539      9/13/2011        17:40:40
73516      8636629928      12/2/2013        12:33:58
73517      8636668158      10/25/2012       19:37:11
73518      8636678755      2/13/2012        18:36:18
73519      8636696137      9/16/2011        13:14:48
73520      8636731969      3/10/2011        17:39:23
73521      8636735447      9/12/2011        13:49:50
73522      8636774911      5/21/2011        10:41:33
73523      8636775477      9/12/2011        13:14:38
73524      8636775491      9/4/2012         16:07:19
73525      8636777954      1/9/2012         18:27:51
73526      8636971434      1/5/2012         13:56:23
73527      8636973191      9/6/2011         12:44:46
73528      8636973508      10/12/2011       11:32:57
73529      8636973957      10/25/2012       12:19:56
73530      8636979545      7/8/2012         13:32:00
73531      8636981275      10/5/2012        12:26:45
73532      8636984950      5/18/2012        11:59:12
73533      8636985545      3/20/2012        9:21:35
73534      8637094229      1/25/2012        9:17:06
73535      8637096022      7/13/2012        18:25:38
73536      8637096037      10/10/2011       11:37:32
73537      8637096930      11/2/2011        7:13:08
73538      8637097320      6/20/2012        16:55:46
73539      8637124796      10/21/2011       12:25:57
73540      8637381907      10/6/2011        17:36:07
73541      8637816627      9/28/2011        10:05:42
73542      8637816978      11/29/2011       15:28:07
73543      8637817487      4/16/2012        7:14:44
73544      8637819058      4/5/2012         15:51:10
73545      8637973458      4/15/2012        15:15:17
73546      8637977900      10/6/2011        16:14:15
73547      8638014982      10/9/2012        7:34:54
73548      8638018250      5/21/2012        17:20:14
73549      8638082543      3/13/2012        18:36:01
73550      8638083584      4/27/2012        7:09:01
73551      8638086004      1/18/2012        16:37:10
73552      8638086577      10/15/2011       9:48:19
73553      8638086633      10/1/2011        10:12:24
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73554      8638120573      10/5/2011        14:29:45
73555      8638121250      10/11/2012       18:39:31
73556      8638121713      4/7/2012         9:01:43
73557      8638122958      8/9/2012         13:57:18
73558      8638122958      10/2/2012        7:29:46
73559      8638123030      11/18/2011       13:29:23
73560      8638126611      5/2/2012         13:31:57
73561      8638128025      1/6/2012         15:55:50
73562      8638329783      10/19/2012       19:03:40
73563      8638353078      11/17/2011       16:22:23
73564      8638353432      1/4/2012         11:13:41
73565      8638370558      9/1/2012         9:21:34
73566      8638381056      11/11/2011       13:35:15
73567      8638386191      1/30/2012        7:17:28
73568      8638388496      10/14/2011       12:51:11
73569      8638388696      1/17/2012        7:22:53
73570      8638388978      10/26/2011       12:57:11
73571      8638389769      12/5/2011        18:09:53
73572      8638441940      7/20/2011        13:26:18
73573      8638442083      10/29/2011       11:36:07
73574      8638520757      1/3/2012         10:57:27
73575      8638601751      9/8/2011         19:41:34
73576      8638734192      10/24/2011       7:19:22
73577      8638734192      12/9/2011        15:33:19
73578      8638734707      9/22/2011        15:40:17
73579      8638736415      11/19/2011       8:35:44
73580      8638736932      3/10/2011        17:36:13
73581      8638776343      11/2/2011        7:25:28
73582      8638777136      10/3/2011        7:14:36
73583      8638778518      5/28/2012        8:08:16
73584      8638779522      1/21/2012        8:07:12
73585      8638779643      1/10/2012        15:30:32
73586      8638779643      1/17/2012        18:28:00
73587      8638993990      10/20/2011       15:29:05
73588      8639340287      1/9/2012         18:07:54
73589      8639340748      3/27/2012        7:13:36
73590      8639341043      7/15/2011        17:26:57
73591      8639341250      3/27/2012        15:02:55
73592      8639341250      4/4/2012         18:41:56
73593      8639342287      7/13/2012        11:08:19
73594      8639342615      3/28/2012        16:45:12
73595      8639342626      9/19/2011        19:25:49
73596      8639344886      12/28/2011       7:02:43
73597      8639346188      12/15/2011       8:28:24
73598      8639346601      7/13/2012        7:43:13
73599      8639348676      9/12/2011        13:44:34
73600      8639349146      9/21/2012        18:41:55
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73601      8639349267      5/21/2012        17:21:57
73602      8639349664      9/24/2012        18:49:42
73603      8639441795      3/13/2012        18:29:41
73604      8639446622      10/28/2011       13:59:21
73605      8639900920      7/23/2011        12:42:32
73606      8639900920      9/19/2011        19:28:48
73607      8639901706      3/14/2012        19:26:21
73608      8639903279      8/2/2012         11:37:03
73609      8639903459      9/12/2012        7:44:58
73610      8639904080      1/30/2012        7:24:37
73611      8639904080      2/14/2012        9:44:48
73612      8639904080      5/21/2012        7:04:05
73613      8639906405      5/19/2012        16:06:17
73614      8639906871      12/5/2011        18:48:32
73615      8639907408      6/19/2012        15:23:46
73616      8639907928      8/8/2012         7:08:04
73617      8642000137      9/20/2011        17:49:03
73618      8642000137      9/28/2011        11:05:18
73619      8642000137      10/4/2011        13:31:56
73620      8642005954      7/13/2012        11:30:06
73621      8642007014      2/6/2012         17:15:30
73622      8642007100      8/29/2012        10:57:26
73623      8642007100      10/23/2012       16:04:16
73624      8642008502      8/1/2011         19:10:07
73625      8642009836      4/15/2012        16:43:00
73626      8642009836      7/13/2012        11:21:42
73627      8642010188      11/17/2011       16:24:08
73628      8642010230      6/26/2012        16:19:17
73629      8642010936      7/21/2012        10:22:26
73630      8642012689      5/21/2012        7:01:39
73631      8642013353      9/20/2011        16:36:54
73632      8642013777      10/11/2011       15:48:14
73633      8642013866      8/21/2012        13:58:42
73634      8642014731      8/25/2012        8:30:51
73635      8642015260      11/5/2011        9:06:47
73636      8642015650      9/10/2011        8:19:45
73637      8642018448      2/14/2012        9:55:25
73638      8642018448      2/17/2012        18:05:55
73639      8642019961      2/14/2012        15:39:58
73640      8642051811      8/18/2012        8:27:19
73641      8642052113      3/16/2012        15:57:31
73642      8642052150      2/25/2012        10:48:15
73643      8642052348      12/5/2011        9:15:23
73644      8642052801      11/29/2011       16:16:10
73645      8642054018      3/12/2012        11:20:26
73646      8642054085      2/17/2012        8:56:30
73647      8642054167      12/29/2011       19:12:14
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73648      8642055067      1/5/2012         14:02:44
73649      8642055754      3/15/2011        11:33:19
73650      8642056389      9/15/2012        8:05:55
73651      8642056448      11/12/2011       9:59:05
73652      8642056717      12/18/2011       16:36:37
73653      8642056982      11/23/2011       14:36:00
73654      8642058262      12/18/2011       17:06:16
73655      8642058496      12/27/2011       14:32:05
73656      8642058822      1/3/2012         16:53:44
73657      8642059619      5/29/2012        17:09:59
73658      8642085893      1/4/2012         10:57:26
73659      8642092103      6/25/2012        13:34:41
73660      8642097443      9/21/2012        15:35:12
73661      8642097901      10/5/2012        12:23:54
73662      8642137493      12/20/2011       9:28:06
73663      8642162959      10/10/2011       11:44:36
73664      8642191033      5/13/2012        16:57:48
73665      8642191139      11/5/2011        11:04:08
73666      8642191139      11/19/2011       8:33:32
73667      8642211454      12/5/2011        18:30:32
73668      8642212142      6/24/2012        11:31:13
73669      8642212810      10/6/2011        9:23:56
73670      8642213411      1/5/2012         17:21:37
73671      8642215219      11/26/2011       11:37:38
73672      8642215219      12/6/2011        7:25:21
73673      8642219734      10/12/2012       16:53:06
73674      8642301803      7/14/2011        15:44:15
73675      8642302552      2/6/2012         16:58:50
73676      8642303368      1/16/2012        17:23:14
73677      8642304193      11/5/2011        10:40:59
73678      8642369809      1/17/2012        18:28:52
73679      8642371966      10/19/2011       8:19:09
73680      8642374807      9/3/2012         14:46:24
73681      8642375408      1/5/2012         11:58:59
73682      8642381148      1/18/2012        16:50:11
73683      8642382105      10/1/2011        10:25:01
73684      8642384008      9/29/2011        15:42:05
73685      8642384008      12/20/2011       17:35:59
73686      8642386891      11/8/2011        14:19:12
73687      8642387474      10/11/2012       12:03:33
73688      8642387987      8/25/2012        11:11:06
73689      8642388296      8/7/2012         17:32:23
73690      8642389306      4/10/2012        16:19:03
73691      8642431005      6/19/2012        8:00:36
73692      8642455565      10/29/2011       10:33:56
73693      8642462963      9/1/2012         9:21:31
73694      8642468218      4/9/2012         18:07:13
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73695      8642470209      9/28/2011        10:17:13
73696      8642470209      12/7/2011        14:34:15
73697      8642470265      10/29/2011       11:13:21
73698      8642470436      1/8/2012         12:55:00
73699      8642474738      12/20/2011       11:50:37
73700      8642479915      10/1/2011        10:15:41
73701      8642525883      10/27/2011       15:04:54
73702      8642548148      12/23/2011       13:56:58
73703      8642630897      12/21/2011       9:52:47
73704      8642660798      12/6/2011        7:42:52
73705      8642663019      3/7/2012         18:40:03
73706      8642663881      9/26/2012        15:16:18
73707      8642665423      1/17/2012        17:10:20
73708      8642665592      9/14/2011        10:50:53
73709      8642665592      9/24/2011        9:28:33
73710      8642667148      2/6/2012         7:13:08
73711      8642668623      10/15/2011       9:09:07
73712      8642704997      5/21/2012        8:45:13
73713      8642705049      9/10/2011        8:55:11
73714      8642707175      9/20/2011        16:39:56
73715      8642750291      6/30/2012        8:16:12
73716      8642750773      10/24/2012       15:06:57
73717      8642751792      12/5/2011        8:32:00
73718      8642761885      9/27/2011        18:30:44
73719      8642764733      10/6/2011        17:32:26
73720      8642766657      2/13/2012        18:41:33
73721      8642791809      1/24/2012        17:14:53
73722      8642793053      12/15/2011       7:51:56
73723      8642798255      11/26/2011       12:47:23
73724      8642798531      10/20/2011       15:25:11
73725      8642800363      5/8/2012         17:11:36
73726      8642801887      9/20/2011        16:40:21
73727      8642802897      4/21/2011        8:28:25
73728      8642805156      10/7/2012        12:45:31
73729      8642831130      1/9/2012         18:07:38
73730      8642831219      7/14/2012        8:20:47
73731      8642832012      12/7/2011        13:17:52
73732      8642852100      12/2/2011        7:31:44
73733      8642852719      3/27/2012        7:58:53
73734      8642880569      1/24/2012        17:16:25
73735      8642883022      8/8/2011         15:01:59
73736      8642932293      2/16/2012        7:08:40
73737      8642933431      1/2/2012         7:10:15
73738      8642934037      12/23/2011       14:53:02
73739      8642934648      11/29/2011       15:20:34
73740      8642935252      10/22/2011       12:18:06
73741      8642935655      4/21/2012        8:20:30
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73742      8643031956      9/17/2011        9:57:43
73743      8643037035      5/8/2012         17:10:42
73744      8643045996      9/23/2011        18:53:19
73745      8643047808      7/19/2013        13:55:18
73746      8643132289      11/15/2011       15:20:42
73747      8643135114      8/21/2012        13:56:01
73748      8643136255      10/28/2011       7:12:11
73749      8643137241      9/2/2012         11:53:26
73750      8643141524      11/23/2011       10:15:56
73751      8643145843      6/30/2011        8:34:37
73752      8643145924      9/9/2011         7:36:39
73753      8643160541      2/13/2012        18:36:21
73754      8643161114      11/7/2011        7:43:23
73755      8643163867      10/1/2011        9:49:43
73756      8643165855      4/17/2012        9:41:04
73757      8643169462      9/21/2011        19:33:50
73758      8643200237      9/14/2011        19:26:12
73759      8643202982      1/3/2012         16:32:03
73760      8643203131      9/13/2011        18:32:12
73761      8643231237      12/23/2011       14:02:10
73762      8643232138      8/25/2012        8:35:13
73763      8643234823      11/17/2011       15:05:06
73764      8643237626      3/11/2012        15:10:47
73765      8643237731      2/28/2012        16:01:42
73766      8643241679      9/13/2011        15:18:19
73767      8643250463      10/17/2011       7:47:55
73768      8643251954      10/1/2012        8:11:56
73769      8643253357      10/1/2011        9:34:47
73770      8643253517      7/15/2011        17:31:33
73771      8643253641      5/14/2011        11:49:26
73772      8643253890      7/23/2012        15:26:01
73773      8643254046      1/6/2012         14:48:05
73774      8643254918      3/2/2012         18:55:20
73775      8643255632      2/29/2012        17:40:35
73776      8643255632      5/18/2012        12:04:58
73777      8643255960      7/6/2012         16:44:15
73778      8643257482      11/29/2011       16:08:34
73779      8643257758      3/12/2012        19:05:20
73780      8643258234      4/2/2012         7:19:33
73781      8643259108      12/20/2011       9:28:37
73782      8643259845      8/23/2012        11:34:39
73783      8643259867      4/10/2012        16:00:40
73784      8643276165      2/8/2012         7:34:36
73785      8643276165      2/20/2012        7:15:39
73786      8643285862      8/28/2012        7:30:27
73787      8643294105      12/27/2011       14:26:55
73788      8643294923      9/10/2011        8:52:59
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73789      8643296790      7/6/2012         14:45:04
73790      8643297714      9/1/2012         9:07:15
73791      8643300655      9/21/2012        18:47:39
73792      8643327055      2/26/2012        13:17:16
73793      8643372723      12/18/2011       16:55:17
73794      8643372795      3/27/2012        7:11:02
73795      8643401966      11/2/2011        7:04:13
73796      8643402660      9/18/2012        14:16:13
73797      8643411133      12/21/2011       10:14:17
73798      8643411409      9/28/2011        10:04:07
73799      8643442004      4/1/2012         16:01:54
73800      8643442818      10/19/2011       7:48:36
73801      8643460917      5/8/2012         7:15:36
73802      8643461259      11/17/2011       15:12:57
73803      8643463302      12/3/2011        9:07:18
73804      8643463405      1/13/2012        7:21:29
73805      8643464487      9/20/2011        16:39:58
73806      8643464541      1/10/2012        12:47:40
73807      8643464541      5/4/2012         14:48:49
73808      8643465225      9/16/2011        12:56:11
73809      8643465620      5/7/2012         7:21:34
73810      8643469521      8/24/2011        12:07:31
73811      8643469940      12/8/2011        11:21:30
73812      8643474158      3/10/2012        8:30:13
73813      8643496080      10/5/2011        14:29:40
73814      8643496129      2/7/2012         16:46:48
73815      8643497669      1/26/2012        7:21:42
73816      8643498299      6/1/2012         8:59:21
73817      8643499736      10/12/2012       16:57:20
73818      8643500698      3/13/2012        16:52:50
73819      8643501595      8/2/2012         18:49:28
73820      8643504602      9/3/2012         14:47:16
73821      8643506575      3/3/2012         8:34:31
73822      8643518540      1/6/2012         14:32:37
73823      8643519718      11/17/2011       13:35:02
73824      8643533346      2/11/2012        11:12:47
73825      8643534196      3/25/2012        11:45:43
73826      8643535348      5/16/2012        16:55:09
73827      8643535985      3/23/2012        19:58:00
73828      8643535985      4/4/2012         18:36:06
73829      8643536784      2/16/2012        7:19:28
73830      8643537050      10/23/2012       15:51:50
73831      8643537326      10/4/2011        13:07:23
73832      8643547552      7/5/2012         15:40:20
73833      8643547873      12/31/2011       11:56:52
73834      8643549318      1/19/2012        7:30:24
73835      8643560576      9/24/2011        9:17:14
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73836      8643561347      4/18/2012        7:02:48
73837      8643561355      7/23/2012        15:26:41
73838      8643561577      5/8/2012         7:08:47
73839      8643563773      9/27/2011        18:06:06
73840      8643566345      11/8/2011        14:22:27
73841      8643567035      2/28/2012        15:49:29
73842      8643567126      5/16/2012        17:02:47
73843      8643569500      2/11/2012        11:05:43
73844      8643570536      8/29/2011        11:46:40
73845      8643572821      11/8/2011        14:20:41
73846      8643572896      2/18/2012        8:42:56
73847      8643573942      11/14/2011       16:38:17
73848      8643578043      12/24/2011       7:21:41
73849      8643578811      10/11/2011       17:07:38
73850      8643579853      3/22/2012        7:55:25
73851      8643579853      4/27/2012        7:04:53
73852      8643579853      8/1/2012         8:31:48
73853      8643602099      3/10/2011        17:41:08
73854      8643606266      9/7/2011         14:26:24
73855      8643630930      5/9/2012         8:20:15
73856      8643634634      10/12/2011       7:44:47
73857      8643634986      4/11/2014        15:22:40
73858      8643637194      3/8/2012         7:05:36
73859      8643638918      8/1/2012         8:25:30
73860      8643654677      1/20/2012        14:50:23
73861      8643654795      3/15/2012        13:47:46
73862      8643674482      12/20/2011       19:22:49
73863      8643677919      7/11/2012        17:18:21
73864      8643712062      5/17/2012        7:07:41
73865      8643712062      5/21/2012        7:07:41
73866      8643712062      5/21/2012        7:33:32
73867      8643712578      12/17/2011       11:50:53
73868      8643712833      10/21/2011       12:35:47
73869      8643719387      1/17/2012        18:39:40
73870      8643719869      4/13/2012        13:31:46
73871      8643751298      8/16/2011        17:38:06
73872      8643764807      10/24/2012       14:43:02
73873      8643766237      8/12/2012        13:44:49
73874      8643766768      3/13/2012        16:53:02
73875      8643767944      12/7/2011        13:12:14
73876      8643770748      11/4/2011        7:11:41
73877      8643771933      3/19/2012        19:17:55
73878      8643785005      9/20/2011        17:10:17
73879      8643787434      6/25/2011        8:17:49
73880      8643804214      10/4/2011        13:43:56
73881      8643805368      2/8/2012         7:26:17
73882      8643806610      9/12/2011        12:57:50
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73883      8643811809      9/21/2011        11:41:37
73884      8643813711      8/9/2012         13:57:47
73885      8643821763      9/10/2011        8:51:17
73886      8643821931      10/18/2011       12:52:18
73887      8643826760      5/16/2012        7:11:57
73888      8643827642      12/5/2011        9:22:06
73889      8643827850      5/7/2012         7:12:58
73890      8643840641      10/19/2012       9:47:21
73891      8643846382      10/7/2012        12:56:54
73892      8643847195      9/8/2011         18:41:24
73893      8643850711      1/12/2012        7:19:00
73894      8643854055      9/13/2011        7:15:19
73895      8643854298      1/18/2012        16:46:40
73896      8643854866      6/9/2012         10:46:48
73897      8643855199      9/12/2011        13:04:06
73898      8643865124      11/12/2011       9:50:01
73899      8643865133      10/6/2011        17:21:02
73900      8643867030      5/4/2012         7:29:50
73901      8643867030      10/7/2012        12:56:10
73902      8643867497      7/23/2012        13:18:56
73903      8643869906      11/28/2011       17:45:43
73904      8643879016      4/28/2012        8:01:42
73905      8643890040      6/27/2012        12:04:23
73906      8643894511      1/8/2012         12:43:58
73907      8643954528      1/9/2012         7:11:56
73908      8643956465      3/14/2012        19:31:22
73909      8643959329      9/21/2012        18:49:44
73910      8643959869      8/25/2012        11:11:07
73911      8643963374      9/24/2012        13:00:53
73912      8643980399      10/7/2012        12:44:44
73913      8643980399      10/17/2012       9:38:57
73914      8643983441      1/12/2012        7:00:55
73915      8643986209      10/15/2012       16:17:19
73916      8643994391      3/21/2012        7:05:47
73917      8644049485      12/18/2011       17:04:41
73918      8644096053      11/8/2011        13:47:10
73919      8644141143      10/10/2011       12:48:36
73920      8644142588      9/21/2011        11:24:04
73921      8644148414      1/31/2012        7:11:56
73922      8644151184      9/25/2012        15:26:27
73923      8644151567      7/23/2011        13:52:36
73924      8644154998      10/8/2011        10:56:38
73925      8644156166      10/8/2011        10:42:18
73926      8644156210      8/3/2011         11:31:28
73927      8644159290      7/30/2011        8:48:04
73928      8644159347      7/23/2011        12:39:38
73929      8644172414      9/21/2011        11:46:00
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73930      8644172414      11/7/2011        7:26:38
73931      8644198146      12/10/2011       12:56:33
73932      8644213985      5/16/2012        7:12:05
73933      8644213985      6/11/2012        17:54:57
73934      8644231004      10/5/2012        12:26:22
73935      8644231651      9/4/2012         16:02:28
73936      8644232437      1/5/2012         11:55:10
73937      8644233019      2/24/2011        11:25:24
73938      8644234349      6/15/2012        8:45:12
73939      8644234780      9/21/2012        16:05:26
73940      8644235684      2/13/2012        18:37:42
73941      8644251685      5/11/2011        16:51:15
73942      8644252140      2/21/2012        9:40:19
73943      8644252778      10/23/2012       15:52:27
73944      8644257220      12/13/2011       18:12:00
73945      8644257922      5/11/2012        12:07:47
73946      8644262669      4/4/2012         18:47:25
73947      8644263023      5/14/2012        15:37:02
73948      8644263993      12/6/2011        13:19:08
73949      8644265997      5/15/2012        19:15:28
73950      8644266624      3/26/2012        7:41:15
73951      8644266836      9/16/2011        13:21:18
73952      8644296916      12/2/2011        15:17:02
73953      8644301895      9/23/2011        18:56:07
73954      8644303581      11/16/2011       8:41:55
73955      8644304906      1/27/2012        7:17:29
73956      8644305196      7/21/2012        10:25:21
73957      8644310377      3/15/2012        7:04:11
73958      8644314949      9/16/2011        13:21:53
73959      8644316698      11/14/2011       14:21:31
73960      8644317313      2/16/2012        7:02:50
73961      8644318080      5/23/2012        14:49:09
73962      8644318294      12/23/2011       14:32:02
73963      8644319168      2/29/2012        7:11:42
73964      8644342020      2/20/2012        16:51:39
73965      8644342453      12/31/2011       11:41:20
73966      8644360458      6/16/2012        15:26:19
73967      8644413453      9/15/2012        8:17:23
73968      8644443991      5/8/2012         16:59:24
73969      8644444521      1/13/2012        17:24:28
73970      8644510380      2/14/2012        16:36:53
73971      8644511951      9/22/2012        9:05:34
73972      8644513978      6/30/2012        15:42:43
73973      8644665109      11/29/2011       15:20:23
73974      8644770462      5/28/2012        8:06:00
73975      8644779498      3/13/2012        7:07:55
73976      8644779947      3/3/2012         8:36:11
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73977      8644789809      10/12/2012       17:05:57
73978      8644821733      6/9/2012         14:54:12
73979      8644835008      10/7/2012        12:55:49
73980      8644835008      10/17/2012       18:35:23
73981      8644842606      5/28/2012        8:53:25
73982      8644892058      10/15/2011       9:15:14
73983      8644895167      9/24/2012        12:59:08
73984      8644902071      4/20/2012        14:15:53
73985      8644902071      5/20/2012        15:23:40
73986      8644904433      7/25/2011        16:51:25
73987      8644906031      2/28/2012        15:52:21
73988      8644906031      3/8/2012         7:12:20
73989      8644906031      5/21/2012        7:25:47
73990      8644908751      9/19/2011        7:11:16
73991      8644910773      5/16/2012        16:59:02
73992      8644912149      9/21/2012        16:14:24
73993      8644916313      11/5/2011        9:01:15
73994      8644917398      11/19/2011       8:35:28
73995      8644918480      11/25/2011       17:38:31
73996      8644918820      12/6/2011        7:33:29
73997      8644918839      12/7/2011        13:16:36
73998      8644918996      11/17/2011       15:00:38
73999      8644941640      9/19/2011        19:24:09
74000      8644948690      9/9/2011         7:30:14
74001      8644948978      4/30/2012        17:14:39
74002      8644970202      7/12/2011        12:10:35
74003      8644972498      9/29/2011        15:04:14
74004      8644974921      12/27/2011       14:28:35
74005      8644977911      1/12/2012        7:04:27
74006      8644977911      5/21/2012        7:03:12
74007      8644988277      3/20/2012        9:00:52
74008      8645045220      11/5/2011        10:51:11
74009      8645047820      8/25/2012        8:26:42
74010      8645049117      9/25/2012        15:11:32
74011      8645049997      1/11/2012        16:34:54
74012      8645051400      10/19/2011       7:26:23
74013      8645057440      9/17/2011        9:53:59
74014      8645059916      2/6/2012         16:44:45
74015      8645060261      9/9/2011         7:44:28
74016      8645060903      9/14/2011        7:08:24
74017      8645082817      4/5/2012         7:06:08
74018      8645082963      9/26/2012        15:20:52
74019      8645086960      9/20/2011        17:05:35
74020      8645170820      8/17/2011        18:10:41
74021      8645175820      9/3/2011         11:21:57
74022      8645179405      3/2/2012         9:35:17
74023      8645251173      11/16/2011       9:36:17
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74024      8645252965      1/16/2012        17:24:25
74025      8645254256      10/12/2011       7:46:13
74026      8645255297      12/18/2011       16:52:15
74027      8645255297      1/9/2012         18:24:14
74028      8645256547      10/5/2012        12:38:43
74029      8645259277      3/23/2012        7:16:43
74030      8645259277      10/17/2012       18:42:11
74031      8645291402      2/18/2012        8:54:42
74032      8645292434      8/24/2011        11:43:41
74033      8645294253      11/30/2011       14:42:14
74034      8645294753      7/14/2011        15:31:53
74035      8645296101      10/15/2012       9:58:19
74036      8645298482      1/25/2012        9:01:29
74037      8645411652      5/23/2011        15:46:04
74038      8645414517      12/12/2011       16:33:32
74039      8645414907      10/13/2013       17:55:46
74040      8645415025      10/11/2011       17:00:21
74041      8645416157      2/3/2012         7:13:15
74042      8645424600      5/31/2012        15:05:40
74043      8645460811      5/18/2012        15:39:51
74044      8645461787      9/29/2011        15:09:19
74045      8645470197      10/18/2011       11:57:55
74046      8645510193      10/23/2012       10:30:11
74047      8645510531      6/2/2012         12:52:35
74048      8645515532      4/2/2012         7:18:59
74049      8645515851      2/6/2012         16:46:08
74050      8645517809      1/12/2012        14:28:46
74051      8645517915      1/29/2012        16:37:53
74052      8645531522      10/16/2012       16:33:02
74053      8645532455      9/22/2011        15:43:59
74054      8645535893      12/19/2011       7:36:31
74055      8645535893      1/5/2012         17:19:29
74056      8645538794      5/18/2012        16:09:56
74057      8645539004      8/23/2012        11:59:18
74058      8645539880      4/30/2012        14:47:25
74059      8645541007      9/30/2011        9:58:57
74060      8645542559      5/10/2011        18:48:45
74061      8645542916      4/12/2012        12:14:45
74062      8645543181      5/21/2012        7:20:09
74063      8645543181      5/21/2012        7:25:38
74064      8645546491      6/15/2012        8:50:04
74065      8645566770      10/19/2012       9:44:52
74066      8645571899      3/29/2012        16:38:12
74067      8645610172      11/28/2011       11:50:38
74068      8645611382      9/20/2011        17:10:18
74069      8645670095      3/29/2012        16:42:33
74070      8645670809      9/20/2011        18:06:53
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74071      8645672011      1/16/2012        17:27:08
74072      8645674076      1/26/2012        7:21:22
74073      8645676996      3/14/2012        19:53:27
74074      8645677432      7/26/2012        11:59:54
74075      8645696093      12/13/2011       16:57:54
74076      8645699222      3/19/2012        7:19:50
74077      8645800742      10/27/2011       16:22:19
74078      8645801592      11/18/2011       12:18:04
74079      8645822426      9/23/2011        11:36:13
74080      8645903715      10/8/2011        11:11:07
74081      8645904189      10/13/2012       8:55:47
74082      8645904419      4/1/2012         16:01:18
74083      8645932490      11/14/2011       16:35:53
74084      8645932928      9/22/2012        8:55:09
74085      8645938697      6/23/2012        16:24:13
74086      8645938894      12/31/2011       12:08:30
74087      8645938997      2/28/2012        16:00:26
74088      8645939596      6/17/2011        15:12:59
74089      8646020471      9/12/2011        13:47:35
74090      8646029040      9/20/2011        16:34:06
74091      8646029277      10/11/2011       17:09:00
74092      8646073474      12/5/2011        8:36:11
74093      8646076507      1/9/2012         18:29:26
74094      8646089346      2/20/2012        17:07:17
74095      8646097566      9/20/2011        16:39:57
74096      8646122252      2/18/2012        8:51:21
74097      8646122734      10/6/2011        16:01:31
74098      8646123599      7/11/2012        9:36:55
74099      8646124538      1/9/2012         18:04:09
74100      8646127007      1/13/2012        12:36:19
74101      8646127791      5/20/2012        15:21:19
74102      8646174398      10/8/2011        10:44:43
74103      8646177604      9/13/2011        17:47:20
74104      8646177880      7/10/2012        12:39:55
74105      8646179706      9/24/2012        12:48:53
74106      8646210722      10/10/2011       12:32:17
74107      8646212787      3/26/2012        7:05:03
74108      8646212926      4/26/2012        13:52:59
74109      8646214585      10/10/2011       11:41:49
74110      8646215881      9/15/2011        7:16:15
74111      8646216965      11/28/2011       17:48:50
74112      8646304983      1/9/2012         18:32:51
74113      8646306628      9/18/2012        14:17:31
74114      8646306810      10/4/2011        13:33:12
74115      8646307851      12/12/2011       16:34:25
74116      8646308561      3/12/2012        19:04:41
74117      8646309962      3/29/2012        11:30:13
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74118      8646317598      10/13/2012       8:56:30
74119      8646336725      2/6/2012         17:01:07
74120      8646344725      12/22/2011       9:39:16
74121      8646418557      1/18/2012        9:45:29
74122      8646427745      11/18/2011       12:12:17
74123      8646506961      10/19/2012       9:44:37
74124      8646507715      2/21/2012        9:27:47
74125      8646803561      5/14/2012        15:19:52
74126      8646806156      9/13/2011        17:42:56
74127      8646806920      9/28/2011        10:50:14
74128      8646838662      11/22/2011       19:12:33
74129      8646843617      8/25/2012        8:24:12
74130      8646845392      5/7/2012         7:05:56
74131      8646849018      3/21/2012        13:35:50
74132      8646849388      10/21/2011       13:05:48
74133      8646849763      12/20/2011       11:52:53
74134      8646849763      1/24/2012        10:22:36
74135      8647040476      9/1/2011         8:37:47
74136      8647045957      4/21/2012        8:03:47
74137      8647049396      4/4/2012         18:46:22
74138      8647060959      1/16/2012        17:21:48
74139      8647061407      10/27/2011       16:32:21
74140      8647062419      9/21/2011        11:48:48
74141      8647066268      11/29/2011       7:30:49
74142      8647067239      5/16/2012        16:52:29
74143      8647069529      10/13/2011       7:15:19
74144      8647069890      7/14/2012        8:06:32
74145      8647101103      1/28/2012        9:39:13
74146      8647102309      10/23/2012       10:36:46
74147      8647106834      3/2/2012         7:09:53
74148      8647109322      5/3/2012         7:17:24
74149      8647230680      4/4/2012         7:07:06
74150      8647231942      10/10/2011       12:25:00
74151      8647233107      12/27/2011       13:56:31
74152      8647236312      8/29/2012        11:15:39
74153      8647236911      1/6/2012         14:50:17
74154      8647352285      3/27/2012        14:53:14
74155      8647527421      8/29/2012        11:05:45
74156      8647602155      10/5/2011        14:37:24
74157      8647608562      11/21/2011       7:21:56
74158      8647640210      5/8/2012         7:12:03
74159      8647644497      5/19/2012        8:22:29
74160      8647644497      5/26/2012        14:20:14
74161      8647841264      4/3/2012         16:07:06
74162      8647841264      9/25/2012        15:09:06
74163      8647842358      9/10/2011        8:26:04
74164      8647848459      10/24/2011       7:22:32
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74165      8647870077      9/28/2011        10:51:24
74166      8647870686      11/4/2011        7:03:57
74167      8647871346      3/16/2012        10:14:49
74168      8647871467      9/24/2012        18:59:46
74169      8647871594      9/14/2011        7:09:11
74170      8647872729      1/27/2012        7:13:40
74171      8647872729      2/8/2012         7:34:18
74172      8647872817      12/26/2011       8:56:04
74173      8647874631      10/17/2011       7:32:51
74174      8647876459      4/6/2012         15:49:08
74175      8647876815      3/27/2012        15:34:45
74176      8648041015      3/29/2012        16:29:02
74177      8648090062      9/21/2012        18:44:24
74178      8648090663      12/23/2011       15:25:42
74179      8648093132      8/10/2011        7:08:51
74180      8648120834      9/21/2011        19:29:53
74181      8648121314      11/28/2011       16:29:02
74182      8648122492      9/16/2011        12:52:47
74183      8648127554      10/7/2012        12:57:42
74184      8648127554      10/15/2012       16:19:48
74185      8648128097      12/17/2011       11:57:23
74186      8648148001      3/21/2011        10:53:40
74187      8648148342      1/10/2012        18:07:03
74188      8648149590      7/19/2011        17:17:05
74189      8648348659      11/15/2011       15:11:11
74190      8648380433      3/21/2012        13:46:14
74191      8648381137      4/24/2012        12:25:10
74192      8648381465      9/24/2011        9:33:27
74193      8648382101      2/11/2012        15:23:56
74194      8648382101      10/17/2012       12:59:19
74195      8648441022      10/6/2011        16:11:16
74196      8648442980      7/26/2012        11:50:38
74197      8648500003      9/29/2011        15:03:28
74198      8648627729      11/18/2011       12:38:11
74199      8648683771      10/7/2011        7:10:43
74200      8648710314      5/8/2014         11:16:06
74201      8648710712      9/28/2012        16:46:10
74202      8648710834      8/21/2012        13:47:47
74203      8648713231      7/13/2011        11:52:45
74204      8648714668      3/30/2012        16:12:35
74205      8648714688      9/21/2011        11:41:43
74206      8648715027      9/20/2011        17:14:25
74207      8648720224      4/25/2012        15:52:28
74208      8648722886      2/11/2012        15:27:02
74209      8648724258      3/25/2011        8:14:18
74210      8648729741      5/7/2012         7:12:06
74211      8648760601      5/15/2012        19:16:02
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74212      8648840227      1/10/2012        15:31:48
74213      8648842261      2/9/2012         20:32:37
74214      8648843379      9/30/2011        9:56:40
74215      8648843417      8/24/2012        11:13:54
74216      8649014855      3/13/2012        12:50:21
74217      8649014855      3/16/2012        15:52:19
74218      8649030325      10/7/2012        12:56:12
74219      8649033660      1/18/2012        16:50:20
74220      8649038218      2/13/2012        18:36:00
74221      8649051685      4/19/2012        7:21:00
74222      8649051764      2/21/2012        9:27:38
74223      8649053518      9/8/2011         18:29:18
74224      8649054968      2/16/2012        7:15:29
74225      8649057892      8/17/2011        19:00:28
74226      8649060171      8/25/2011        16:35:43
74227      8649060514      4/11/2012        7:19:41
74228      8649060514      5/1/2012         8:20:11
74229      8649060643      10/20/2012       8:04:30
74230      8649061754      9/20/2011        16:43:32
74231      8649061917      9/24/2011        9:13:35
74232      8649074397      1/8/2012         13:04:27
74233      8649079807      8/9/2012         14:06:24
74234      8649082213      5/22/2012        11:40:47
74235      8649082297      10/5/2011        14:01:26
74236      8649086109      10/3/2011        7:06:13
74237      8649086109      10/6/2011        17:16:34
74238      8649086193      6/21/2012        15:27:40
74239      8649090148      10/22/2011       12:24:21
74240      8649090148      3/1/2012         11:46:19
74241      8649092662      5/24/2012        7:06:13
74242      8649101403      10/21/2011       13:15:37
74243      8649101747      4/15/2012        16:44:42
74244      8649150677      11/5/2011        9:07:26
74245      8649218242      7/11/2012        9:33:37
74246      8649231108      3/2/2012         7:12:35
74247      8649231879      4/5/2012         14:34:35
74248      8649232777      1/10/2012        12:41:40
74249      8649239913      8/11/2011        10:55:09
74250      8649329131      5/21/2012        7:19:15
74251      8649329131      5/21/2012        7:53:50
74252      8649335781      9/16/2011        13:38:53
74253      8649339708      9/23/2011        7:10:36
74254      8649339816      10/3/2011        7:48:46
74255      8649339816      11/28/2011       17:48:09
74256      8649341839      12/21/2011       10:09:56
74257      8649342695      3/20/2012        9:02:21
74258      8649346324      9/12/2011        13:15:21
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74259      8649347028      9/12/2011        14:04:35
74260      8649347292      10/5/2011        14:03:00
74261      8649399004      1/13/2012        17:11:52
74262      8649403978      9/13/2011        18:37:40
74263      8649404356      9/28/2011        10:05:05
74264      8649404432      3/23/2012        7:15:53
74265      8649406183      10/19/2011       7:46:16
74266      8649408130      7/28/2012        8:56:42
74267      8649408531      9/30/2011        10:17:45
74268      8649580614      9/6/2011         12:05:09
74269      8649581348      12/10/2011       12:52:51
74270      8649586170      11/9/2011        8:28:33
74271      8649780459      5/26/2012        8:51:26
74272      8649781416      9/7/2012         15:50:31
74273      8649781416      10/20/2012       16:21:45
74274      8649782598      10/18/2012       7:04:03
74275      8649783251      5/2/2012         13:12:32
74276      8649789098      8/22/2012        11:12:00
74277      8649791197      6/1/2012         9:05:15
74278      8649799110      7/30/2012        14:47:53
74279      8649799328      1/20/2012        11:40:02
74280      8649800351      3/29/2012        16:32:15
74281      8649802619      11/12/2011       9:48:21
74282      8649803602      1/4/2012         10:59:21
74283      8649805045      8/31/2012        16:32:39
74284      8649809638      3/9/2012         15:44:35
74285      8649809638      3/28/2012        18:10:13
74286      8649811550      12/6/2011        14:03:39
74287      8649813569      5/22/2012        11:28:16
74288      8649816993      12/18/2011       16:40:25
74289      8649818281      9/28/2012        16:52:16
74290      8649820080      7/16/2012        7:15:47
74291      8649822592      2/2/2012         18:52:08
74292      8649907158      10/28/2011       7:10:43
74293      8649907351      12/13/2011       17:12:03
74294      8649907351      4/15/2012        16:29:54
74295      8649916679      2/21/2012        10:57:07
74296      8649919674      12/23/2011       14:51:31
74297      8649920308      4/11/2012        13:16:52
74298      8649921521      7/18/2011        7:16:29
74299      8649921792      10/8/2011        10:05:57
74300      8649934011      1/11/2012        16:35:54
74301      8649934579      11/25/2011       17:32:46
74302      8649939065      11/14/2011       16:41:15
74303      8652029084      12/9/2011        7:43:19
74304      8652065379      6/23/2012        16:13:12
74305      8652066775      4/1/2012         16:38:24
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74306      8652067113      5/15/2012        7:46:11
74307      8652070562      7/13/2012        7:45:05
74308      8652083608      2/4/2012         8:30:52
74309      8652086072      10/17/2012       9:41:45
74310      8652090809      7/13/2012        16:54:27
74311      8652096725      2/8/2012         7:35:02
74312      8652098352      12/9/2011        7:45:22
74313      8652160288      8/8/2012         16:09:42
74314      8652165452      4/14/2012        9:15:38
74315      8652165452      5/11/2012        18:31:30
74316      8652166324      8/17/2011        19:06:34
74317      8652167814      11/17/2011       16:39:20
74318      8652232387      9/26/2011        8:35:31
74319      8652233031      7/14/2012        8:14:04
74320      8652234703      9/15/2011        7:16:49
74321      8652240934      9/8/2011         17:52:04
74322      8652283060      5/23/2012        15:26:49
74323      8652287871      11/3/2011        17:47:17
74324      8652302583      3/2/2012         7:01:46
74325      8652322527      3/2/2012         18:42:54
74326      8652352793      3/19/2012        7:15:48
74327      8652352793      6/21/2012        10:10:37
74328      8652359637      9/1/2012         8:49:00
74329      8652359637      10/18/2012       16:34:27
74330      8652362633      1/5/2012         17:20:47
74331      8652367187      9/15/2011        7:48:54
74332      8652371803      4/18/2012        8:08:05
74333      8652371836      7/20/2012        7:40:35
74334      8652372822      2/13/2012        18:24:21
74335      8652373753      11/14/2011       16:18:08
74336      8652373753      11/28/2011       17:34:48
74337      8652374536      4/29/2012        17:16:16
74338      8652376230      7/21/2012        10:12:17
74339      8652379555      1/23/2012        7:02:59
74340      8652424368      1/11/2012        7:48:01
74341      8652429532      7/29/2011        7:17:16
74342      8652431584      8/24/2011        12:18:23
74343      8652435143      12/23/2011       14:36:00
74344      8652437794      4/10/2012        16:11:05
74345      8652439955      9/20/2011        18:20:13
74346      8652445226      5/2/2012         13:11:55
74347      8652445226      5/21/2012        7:32:23
74348      8652447011      12/29/2011       14:18:36
74349      8652479177      10/8/2011        9:07:15
74350      8652502944      12/26/2011       9:14:01
74351      8652509088      8/8/2012         16:19:03
74352      8652534252      7/11/2012        17:25:51
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74353      8652542039      3/21/2012        13:49:06
74354      8652542562      10/1/2011        10:31:58
74355      8652545143      5/21/2012        7:49:27
74356      8652547865      11/12/2011       9:17:51
74357      8652551741      5/31/2012        17:49:15
74358      8652554840      3/7/2012         18:52:51
74359      8652555520      2/14/2012        16:45:09
74360      8652561884      5/16/2012        7:07:02
74361      8652566710      12/13/2011       17:20:20
74362      8652567055      11/10/2011       7:13:22
74363      8652567244      8/20/2011        8:33:35
74364      8652568059      10/13/2011       7:14:04
74365      8652569578      1/24/2012        17:17:57
74366      8652577535      9/26/2011        7:54:02
74367      8652580605      5/22/2012        18:38:59
74368      8652582245      10/8/2011        10:53:12
74369      8652586572      1/17/2012        18:29:50
74370      8652717367      3/23/2012        19:48:51
74371      8652741099      7/11/2012        17:18:28
74372      8652741388      8/15/2012        7:55:22
74373      8652743891      3/28/2012        7:26:23
74374      8652831543      10/20/2011       15:20:56
74375      8652831652      2/6/2012         7:23:45
74376      8652924709      1/18/2012        11:22:35
74377      8652929914      2/2/2012         7:05:25
74378      8652937559      1/9/2012         7:24:09
74379      8652938150      10/5/2011        14:33:01
74380      8652938421      5/9/2012         8:09:35
74381      8652960509      3/20/2012        17:35:23
74382      8652962203      7/15/2012        10:39:39
74383      8652962203      7/18/2012        18:35:46
74384      8652976955      9/29/2011        15:06:33
74385      8653005677      8/3/2012         19:56:29
74386      8653007367      4/20/2012        14:01:42
74387      8653041625      10/27/2011       15:04:29
74388      8653060051      10/15/2012       9:58:30
74389      8653063227      2/29/2012        7:10:38
74390      8653063227      5/21/2012        7:25:21
74391      8653075183      10/6/2011        16:18:30
74392      8653079933      9/27/2012        16:27:35
74393      8653134583      10/12/2012       16:33:35
74394      8653145736      5/18/2012        7:10:02
74395      8653149750      3/26/2012        18:34:32
74396      8653180172      9/12/2011        13:46:29
74397      8653181417      9/20/2012        7:12:27
74398      8653184070      10/23/2012       10:31:00
74399      8653184622      7/2/2011         8:42:40
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74400      8653186425      2/18/2012        9:12:53
74401      8653189749      11/18/2011       13:30:09
74402      8653215876      3/21/2012        13:47:21
74403      8653220819      10/3/2011        7:10:27
74404      8653230298      7/22/2012        12:14:44
74405      8653233164      11/5/2011        10:41:20
74406      8653234569      12/5/2011        18:28:58
74407      8653235484      3/29/2012        18:53:27
74408      8653235484      4/22/2012        15:19:15
74409      8653235484      7/26/2012        11:51:46
74410      8653236790      1/14/2012        8:13:31
74411      8653326001      4/20/2012        13:44:39
74412      8653350631      9/20/2011        19:24:37
74413      8653357712      5/28/2012        8:10:04
74414      8653561361      5/6/2012         17:37:07
74415      8653562768      2/14/2012        16:37:21
74416      8653601121      11/3/2011        17:33:54
74417      8653631365      10/20/2011       16:06:57
74418      8653632226      7/16/2012        19:35:52
74419      8653632755      9/21/2011        11:25:36
74420      8653635610      9/4/2012         16:02:35
74421      8653635621      7/7/2012         10:21:04
74422      8653635621      8/31/2012        16:28:40
74423      8653636738      10/25/2012       12:25:33
74424      8653639465      10/3/2012        7:03:47
74425      8653680151      10/7/2011        7:01:23
74426      8653680464      5/13/2012        17:14:37
74427      8653680541      9/22/2011        15:44:36
74428      8653682684      11/14/2011       16:23:46
74429      8653683647      8/22/2012        11:19:54
74430      8653685155      12/29/2011       18:38:31
74431      8653822790      6/13/2012        7:07:35
74432      8653824187      5/11/2012        12:21:35
74433      8653826064      7/21/2012        10:42:57
74434      8653842618      10/28/2011       14:12:19
74435      8653843591      2/10/2012        7:11:09
74436      8653847359      10/7/2012        12:56:44
74437      8653847387      4/20/2012        14:00:06
74438      8653850703      11/18/2011       13:24:23
74439      8653853104      11/14/2011       15:59:19
74440      8653854338      3/5/2012         7:03:58
74441      8653856082      10/7/2011        7:23:31
74442      8653869039      11/23/2011       14:54:27
74443      8653876008      1/18/2012        10:06:29
74444      8653876008      3/27/2012        14:53:25
74445      8653886277      10/13/2011       7:19:39
74446      8653942323      7/20/2012        8:46:48
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74447      8653994527      9/21/2011        19:29:58
74448      8654050166      10/5/2012        18:20:48
74449      8654050962      6/12/2012        17:11:37
74450      8654051993      8/30/2012        7:08:40
74451      8654057695      1/10/2012        15:24:21
74452      8654059673      9/8/2011         19:23:54
74453      8654061488      3/8/2012         7:08:00
74454      8654061871      4/29/2012        17:17:58
74455      8654062186      11/19/2011       8:33:31
74456      8654063076      9/17/2011        9:27:01
74457      8654067213      12/27/2011       14:27:47
74458      8654068227      10/25/2011       15:25:40
74459      8654377344      9/7/2011         14:26:28
74460      8654382294      5/1/2012         8:06:03
74461      8654410415      12/16/2011       15:28:57
74462      8654417938      1/20/2012        14:42:41
74463      8654540697      6/15/2012        16:36:38
74464      8654540909      9/13/2011        15:12:39
74465      8654541291      12/9/2011        13:37:35
74466      8654542594      11/5/2011        10:53:05
74467      8654542872      3/7/2012         18:37:03
74468      8654545486      10/25/2012       12:14:15
74469      8654546755      6/30/2012        8:13:19
74470      8654555389      5/11/2011        16:54:31
74471      8654555672      9/22/2012        9:31:59
74472      8654556532      4/5/2012         18:29:08
74473      8654558839      3/19/2012        19:15:42
74474      8654558839      5/21/2012        7:04:53
74475      8654558839      5/21/2012        7:29:42
74476      8654562080      2/21/2012        10:46:40
74477      8654567282      9/26/2011        8:02:42
74478      8654661877      12/7/2011        17:48:41
74479      8654665323      1/18/2012        10:00:03
74480      8654666691      10/19/2011       7:21:41
74481      8655181746      9/29/2013        12:10:31
74482      8655481725      10/5/2012        12:23:51
74483      8655562210      9/19/2011        19:27:36
74484      8655563456      9/8/2011         19:41:50
74485      8655606426      4/25/2012        9:40:24
74486      8655663667      12/17/2011       12:01:50
74487      8655663667      2/11/2012        15:08:47
74488      8655667950      9/20/2011        17:54:49
74489      8655826770      10/3/2011        7:25:04
74490      8655850091      11/28/2011       16:38:28
74491      8655852034      9/28/2012        7:36:03
74492      8655852973      2/7/2012         17:04:28
74493      8655854676      9/10/2012        7:39:17
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74494      8655857818      10/22/2011       13:02:58
74495      8655912090      9/2/2011         12:41:46
74496      8655993903      6/22/2012        7:48:28
74497      8655995039      5/13/2012        17:08:00
74498      8655995269      12/19/2011       7:30:20
74499      8656031504      4/29/2012        18:22:57
74500      8656034197      1/11/2012        16:28:24
74501      8656073950      9/30/2011        10:12:04
74502      8656075185      1/20/2012        11:25:10
74503      8656172658      2/21/2012        9:38:23
74504      8656173292      12/7/2011        14:18:15
74505      8656173408      1/13/2012        8:03:41
74506      8656173408      5/8/2012         17:33:44
74507      8656176741      11/23/2011       14:31:34
74508      8656372931      3/15/2012        18:55:10
74509      8656401248      7/2/2012         17:02:03
74510      8656401831      4/15/2012        16:49:49
74511      8656402922      9/8/2012         11:07:55
74512      8656403684      9/18/2012        14:21:51
74513      8656405132      5/4/2012         7:30:11
74514      8656406580      10/10/2011       11:35:12
74515      8656540719      10/5/2011        14:25:31
74516      8656543147      9/29/2011        15:30:29
74517      8656545924      12/11/2011       12:21:03
74518      8656547801      10/13/2011       7:19:31
74519      8656547801      5/21/2012        7:22:01
74520      8656549081      9/28/2011        11:02:33
74521      8656549248      1/21/2012        8:23:49
74522      8656593244      8/2/2012         11:27:48
74523      8656594827      6/28/2012        7:07:20
74524      8656595484      10/8/2011        11:01:26
74525      8656595625      5/25/2012        16:59:34
74526      8656599194      2/28/2012        16:16:44
74527      8656599198      3/15/2012        18:56:25
74528      8656601902      11/18/2011       12:45:42
74529      8656606636      8/8/2012         16:09:42
74530      8656607838      6/16/2012        8:42:10
74531      8656607937      5/25/2012        16:59:56
74532      8656609664      9/12/2012        7:49:18
74533      8656610579      12/9/2011        13:13:20
74534      8656611226      10/13/2012       9:02:16
74535      8656611331      8/20/2012        18:42:09
74536      8656611594      2/11/2012        10:42:20
74537      8656617351      5/21/2012        17:37:03
74538      8656619447      1/6/2012         14:47:00
74539      8656793726      1/25/2012        9:15:12
74540      8656797569      10/12/2011       12:07:14
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74541      8656801328      6/7/2012         18:26:13
74542      8656801735      10/6/2011        17:37:36
74543      8656801735      10/15/2011       10:32:49
74544      8656807269      8/31/2012        16:36:09
74545      8656843639      10/18/2012       7:03:20
74546      8656848349      3/23/2012        19:11:57
74547      8656899565      10/9/2012        7:32:19
74548      8656962261      10/3/2011        7:51:31
74549      8656968459      9/20/2011        16:37:06
74550      8657052369      10/10/2012       19:12:34
74551      8657058795      11/29/2011       16:07:03
74552      8657059286      3/3/2012         8:38:31
74553      8657121342      2/7/2012         16:57:56
74554      8657121806      10/5/2011        14:04:54
74555      8657127618      11/11/2011       16:50:17
74556      8657190192      2/7/2012         7:11:26
74557      8657197120      9/23/2011        18:53:43
74558      8657198724      3/15/2012        19:02:28
74559      8657402832      9/26/2011        8:45:26
74560      8657407110      8/8/2011         14:57:59
74561      8657409095      1/25/2012        9:10:56
74562      8657426303      12/1/2011        14:58:23
74563      8657480428      5/1/2012         17:40:14
74564      8657551187      10/24/2011       7:06:59
74565      8657651011      1/10/2012        18:12:02
74566      8657659389      10/25/2012       12:09:43
74567      8657712410      12/9/2011        15:02:05
74568      8657718061      6/6/2012         8:20:25
74569      8657733607      9/8/2012         11:14:41
74570      8657737280      1/10/2012        18:02:53
74571      8657737509      9/14/2011        11:26:17
74572      8657737553      4/5/2012         14:23:17
74573      8657737553      5/21/2012        7:50:02
74574      8657744565      9/12/2011        13:01:16
74575      8657895468      7/26/2012        19:14:02
74576      8657898279      9/23/2011        18:54:14
74577      8658044061      9/19/2011        19:25:09
74578      8658048158      8/2/2012         11:37:01
74579      8658048158      9/24/2012        18:53:05
74580      8658052298      10/13/2011       7:16:00
74581      8658052964      7/17/2012        7:01:42
74582      8658057317      9/29/2012        9:56:29
74583      8658058588      4/21/2012        16:31:39
74584      8658069300      3/9/2012         7:15:47
74585      8658092923      3/16/2012        10:17:12
74586      8658093763      11/30/2011       7:30:16
74587      8658500777      2/24/2011        11:09:42
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74588      8658507579      3/22/2012        8:09:40
74589      8658511155      7/11/2012        17:20:33
74590      8658515803      6/12/2012        17:19:28
74591      8658986399      11/15/2011       15:27:56
74592      8659197086      4/18/2012        17:55:32
74593      8659197800      10/12/2011       7:53:08
74594      8659246864      12/17/2011       11:19:41
74595      8659349344      9/7/2012         15:40:37
74596      8659360088      12/7/2011        15:08:53
74597      8659362424      2/20/2012        16:48:39
74598      8659363533      8/15/2012        7:52:48
74599      8659366512      3/30/2012        16:04:03
74600      8659519299      9/21/2011        11:44:41
74601      8659635231      10/27/2011       15:11:53
74602      8659730125      9/21/2012        19:05:19
74603      8659732743      10/16/2012       7:31:12
74604      8659736286      11/15/2011       16:11:59
74605      8659787936      5/12/2012        10:27:50
74606      8702004250      10/8/2011        11:37:54
74607      8702005672      11/8/2011        13:54:51
74608      8702029881      1/13/2012        17:39:48
74609      8702085859      10/11/2011       15:26:02
74610      8702086970      8/9/2012         14:02:03
74611      8702086970      8/14/2012        11:50:41
74612      8702120377      4/19/2012        20:14:19
74613      8702121510      12/27/2011       13:33:17
74614      8702122581      2/11/2012        10:47:42
74615      8702136418      5/12/2011        10:04:20
74616      8702173234      9/27/2011        18:13:35
74617      8702173234      11/3/2011        17:20:22
74618      8702201884      10/19/2012       19:11:32
74619      8702246866      11/21/2011       8:17:21
74620      8702256420      1/4/2012         12:42:08
74621      8702367392      2/21/2012        20:50:57
74622      8702501381      11/5/2011        11:32:27
74623      8702509902      9/20/2011        18:11:30
74624      8702533264      3/27/2012        11:05:45
74625      8702555403      1/20/2012        20:33:06
74626      8702605055      10/4/2011        13:47:21
74627      8702650110      6/16/2012        15:06:23
74628      8702650935      11/17/2011       15:30:24
74629      8702672663      12/27/2011       13:36:28
74630      8702672792      3/26/2012        18:28:42
74631      8702707942      9/26/2011        9:41:47
74632      8702738400      12/17/2011       11:32:28
74633      8702739604      9/29/2011        15:21:00
74634      8702751959      9/25/2012        14:47:09
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74635      8702758733      2/24/2012        20:54:28
74636      8702783165      1/9/2012         18:17:24
74637      8702783788      11/30/2011       14:56:30
74638      8702788293      5/16/2012        8:07:11
74639      8702789111      5/22/2012        18:41:05
74640      8702790901      4/24/2012        11:57:04
74641      8702792131      4/19/2012        20:11:29
74642      8702794962      10/20/2011       16:18:14
74643      8702840443      10/13/2011       8:20:47
74644      8702855318      7/13/2012        18:36:42
74645      8702910964      3/19/2012        19:03:39
74646      8702910964      4/4/2012         18:52:39
74647      8702911221      9/22/2011        15:22:50
74648      8702928464      1/5/2012         17:30:43
74649      8702928464      2/11/2012        15:11:38
74650      8702951647      9/13/2011        18:05:31
74651      8702990674      10/25/2012       19:47:34
74652      8702990840      5/7/2012         8:17:16
74653      8702991792      9/8/2011         18:52:42
74654      8702993993      12/5/2011        18:38:33
74655      8703049962      9/9/2011         18:21:37
74656      8703071871      4/29/2012        17:35:33
74657      8703074902      10/9/2012        20:05:00
74658      8703084251      7/27/2012        15:24:53
74659      8703107087      4/10/2012        11:57:37
74660      8703107087      5/21/2012        8:03:30
74661      8703120977      11/28/2011       12:16:15
74662      8703143305      4/23/2012        8:13:52
74663      8703160367      5/31/2012        8:13:24
74664      8703161103      9/30/2011        10:23:34
74665      8703161485      4/12/2012        12:35:14
74666      8703162831      1/6/2012         12:56:03
74667      8703164771      10/24/2011       8:13:18
74668      8703174697      10/27/2011       16:50:22
74669      8703179082      11/14/2011       14:43:43
74670      8703179232      10/31/2011       8:37:05
74671      8703181258      7/24/2012        20:32:57
74672      8703210927      12/18/2011       17:41:16
74673      8703240927      10/19/2012       9:47:53
74674      8703290969      11/17/2011       15:36:01
74675      8703291421      7/6/2012         14:40:42
74676      8703297724      11/17/2011       16:28:11
74677      8703298571      4/4/2012         8:05:06
74678      8703298600      4/5/2012         13:49:47
74679      8703310297      10/20/2011       16:27:04
74680      8703310430      10/20/2012       16:31:52
74681      8703310917      9/28/2011        10:37:10
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74682      8703311410      10/7/2011        8:13:13
74683      8703313044      4/18/2012        17:58:55
74684      8703313808      1/20/2012        11:32:44
74685      8703317327      9/14/2011        12:37:03
74686      8703317327      9/20/2011        20:42:58
74687      8703357589      2/25/2012        11:03:45
74688      8703358345      10/18/2012       16:31:04
74689      8703441348      5/6/2012         18:10:05
74690      8703502221      5/4/2012         20:53:55
74691      8703503461      12/1/2011        15:01:18
74692      8703504109      9/3/2012         14:51:07
74693      8703504850      1/20/2012        19:27:42
74694      8703515772      1/17/2012        18:33:56
74695      8703519362      9/21/2011        12:00:40
74696      8703519362      10/6/2011        16:43:10
74697      8703557473      12/5/2011        18:14:15
74698      8703620667      3/14/2012        14:40:07
74699      8703626641      8/17/2012        8:26:35
74700      8703626641      9/11/2012        15:08:50
74701      8703701628      2/14/2012        15:21:45
74702      8703702631      3/23/2012        14:25:12
74703      8703703686      7/27/2012        15:41:22
74704      8703703884      8/30/2012        10:48:35
74705      8703721010      1/3/2012         16:23:10
74706      8703730643      3/8/2012         20:27:44
74707      8703730928      8/3/2012         16:23:08
74708      8703773590      10/9/2012        11:43:28
74709      8703774196      7/5/2012         10:37:08
74710      8703774998      5/24/2012        12:17:38
74711      8703775089      10/12/2011       8:12:04
74712      8703783967      8/6/2011         9:23:22
74713      8703900164      10/28/2011       13:33:08
74714      8703901709      10/12/2012       17:02:46
74715      8703909152      12/1/2011        8:08:50
74716      8703909310      7/14/2011        16:30:13
74717      8703911897      9/14/2011        12:34:56
74718      8703942858      10/3/2012        10:27:35
74719      8703946808      3/31/2012        17:59:32
74720      8704038029      1/24/2012        17:19:29
74721      8704038425      9/30/2011        10:19:43
74722      8704055029      9/26/2012        8:11:43
74723      8704055029      10/15/2012       16:13:50
74724      8704057090      12/10/2011       13:28:03
74725      8704060239      4/23/2012        8:20:20
74726      8704080375      10/12/2011       8:01:10
74727      8704082052      5/8/2012         17:16:29
74728      8704150976      2/13/2012        8:15:43
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74729      8704151478      6/27/2012        12:06:43
74730      8704165056      1/14/2012        13:21:25
74731      8704168880      4/21/2012        16:26:11
74732      8704216492      2/13/2012        8:09:01
74733      8704405236      8/15/2012        12:27:46
74734      8704503990      11/5/2011        9:59:36
74735      8704506113      2/28/2012        16:07:13
74736      8704506245      3/7/2012         18:41:50
74737      8704507618      2/29/2012        17:32:53
74738      8704507760      1/10/2012        15:35:45
74739      8704686073      1/30/2012        8:11:11
74740      8704762374      10/13/2011       8:37:46
74741      8704763467      11/12/2011       10:41:28
74742      8704763467      11/22/2011       19:37:51
74743      8704763467      1/11/2012        8:54:25
74744      8704763467      5/21/2012        8:15:26
74745      8704840399      3/26/2012        14:59:17
74746      8704890894      2/7/2012         16:56:13
74747      8704895284      5/21/2012        8:57:50
74748      8704897773      11/26/2011       13:23:53
74749      8704945306      7/26/2012        19:26:15
74750      8704945741      9/22/2012        9:37:53
74751      8705000106      1/30/2012        8:01:37
74752      8705002042      12/6/2011        12:51:10
74753      8705004199      3/14/2012        19:35:37
74754      8705008550      9/15/2011        9:15:33
74755      8705010377      6/24/2011        11:27:22
74756      8705011905      8/20/2012        18:36:22
74757      8705012905      12/16/2011       15:42:43
74758      8705040336      2/11/2012        15:42:41
74759      8705100823      8/7/2012         17:55:09
74760      8705100974      1/3/2012         11:04:44
74761      8705129383      8/24/2011        11:57:32
74762      8705129707      10/19/2012       9:48:25
74763      8705142461      7/13/2012        18:29:44
74764      8705143241      6/7/2012         15:52:13
74765      8705146496      5/30/2012        16:56:01
74766      8705300355      9/7/2012         15:42:46
74767      8705301979      8/13/2011        10:30:23
74768      8705301979      12/20/2011       19:26:37
74769      8705302422      9/22/2011        15:20:03
74770      8705302990      8/24/2012        11:07:49
74771      8705303433      2/15/2012        8:14:45
74772      8705304362      12/17/2011       12:12:43
74773      8705307761      9/19/2011        8:30:46
74774      8705327383      4/11/2012        11:34:05
74775      8705360172      2/25/2012        11:01:15
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74776      8705367459      1/20/2012        11:47:08
74777      8705384520      10/24/2012       15:01:25
74778      8705387311      9/19/2011        19:31:55
74779      8705387395      9/20/2011        18:14:41
74780      8705387694      5/17/2012        12:05:13
74781      8705387997      8/31/2011        10:02:02
74782      8705439284      9/17/2011        10:19:25
74783      8705491668      1/9/2012         18:13:59
74784      8705491872      12/9/2011        16:03:29
74785      8705499039      8/19/2012        12:05:29
74786      8705500426      1/9/2012         8:31:49
74787      8705502146      12/3/2011        10:21:49
74788      8705503652      10/10/2011       11:57:58
74789      8705570228      9/20/2011        18:30:00
74790      8705571284      5/18/2012        16:10:47
74791      8705572998      11/26/2011       13:17:43
74792      8705574759      10/10/2011       11:52:34
74793      8705574802      8/3/2012         16:32:06
74794      8705577461      9/20/2011        20:42:11
74795      8705578068      12/29/2011       11:08:11
74796      8705652060      4/3/2012         16:11:01
74797      8705653177      9/19/2011        8:31:01
74798      8705653532      6/27/2012        19:51:36
74799      8705657453      9/26/2012        14:42:21
74800      8705730509      9/19/2011        8:21:28
74801      8705753222      11/21/2011       8:21:34
74802      8705773024      11/7/2011        8:10:06
74803      8705774982      11/11/2011       13:44:20
74804      8705824653      1/6/2012         14:50:52
74805      8705848616      10/11/2011       17:23:58
74806      8705881300      6/9/2011         10:39:22
74807      8705882461      9/21/2011        11:58:14
74808      8705882461      10/3/2011        8:22:00
74809      8705890822      12/23/2011       15:49:14
74810      8705891086      9/1/2012         9:03:34
74811      8705920753      5/22/2012        11:20:35
74812      8705921272      12/10/2011       13:28:28
74813      8705923344      1/13/2012        17:40:33
74814      8705984809      2/17/2012        18:11:20
74815      8705984809      5/4/2012         20:58:34
74816      8706020265      12/5/2011        8:45:21
74817      8706089061      1/11/2012        16:22:49
74818      8706130140      10/5/2011        14:12:15
74819      8706137987      8/14/2012        11:51:01
74820      8706151600      9/12/2011        13:21:31
74821      8706151600      12/13/2011       17:15:29
74822      8706233382      12/5/2011        18:48:47
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74823      8706234623      2/14/2012        16:50:02
74824      8706238048      9/21/2011        19:30:45
74825      8706238747      7/18/2012        18:25:51
74826      8706304010      11/15/2011       15:29:19
74827      8706329249      11/29/2011       15:05:43
74828      8706346488      11/7/2011        8:07:59
74829      8706361925      4/24/2012        12:11:25
74830      8706361945      3/26/2012        18:29:07
74831      8706361945      5/8/2012         12:41:13
74832      8706361945      6/12/2012        17:07:25
74833      8706472815      10/3/2011        7:30:54
74834      8706482193      11/10/2011       8:16:10
74835      8706486270      5/13/2012        17:37:25
74836      8706486948      12/20/2011       19:25:37
74837      8706488082      11/7/2011        9:27:22
74838      8706488408      11/28/2011       16:55:54
74839      8706488616      1/4/2012         11:06:35
74840      8706489230      5/6/2012         18:10:46
74841      8706542095      9/24/2012        12:55:22
74842      8706542352      9/14/2011        12:37:04
74843      8706543275      3/2/2012         9:14:28
74844      8706547137      2/11/2012        10:52:25
74845      8706547137      3/20/2012        9:19:30
74846      8706561032      10/11/2011       16:12:36
74847      8706563663      4/5/2012         14:25:50
74848      8706563758      10/15/2011       9:21:00
74849      8706597773      11/2/2011        14:13:35
74850      8706716454      5/22/2012        11:49:16
74851      8706721584      4/13/2012        13:37:19
74852      8706744193      11/15/2011       16:31:49
74853      8706744339      4/2/2012         20:07:47
74854      8706744369      3/27/2012        15:52:30
74855      8706747045      10/4/2011        13:16:39
74856      8706790036      12/23/2011       14:36:03
74857      8706810966      1/7/2012         9:53:59
74858      8706880366      8/2/2012         18:57:02
74859      8706889106      11/8/2011        14:35:02
74860      8706909096      9/21/2011        11:53:42
74861      8706924207      2/21/2012        20:50:30
74862      8707032619      1/27/2012        11:53:51
74863      8707033632      12/8/2011        19:48:07
74864      8707033894      10/22/2011       13:10:49
74865      8707034275      11/15/2011       16:30:55
74866      8707034278      10/25/2011       15:35:11
74867      8707038046      1/21/2012        8:41:21
74868      8707100313      11/17/2011       15:40:18
74869      8707150990      3/16/2012        15:54:15
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74870      8707180613      1/4/2012         20:15:53
74871      8707181188      10/15/2011       9:37:34
74872      8707181760      5/8/2012         17:16:14
74873      8707182137      7/12/2011        12:27:31
74874      8707182918      5/21/2012        8:13:35
74875      8707184441      5/1/2014         12:29:07
74876      8707188577      12/3/2011        10:10:55
74877      8707188938      9/27/2011        18:47:19
74878      8707189202      10/3/2011        8:06:50
74879      8707189425      12/28/2011       18:12:15
74880      8707189425      1/6/2012         14:50:51
74881      8707235522      9/26/2011        9:36:28
74882      8707238474      9/20/2011        16:45:53
74883      8707239666      10/12/2012       17:03:38
74884      8707239666      10/20/2012       16:31:08
74885      8707239936      11/7/2011        9:23:11
74886      8707400754      9/14/2011        12:36:57
74887      8707400754      9/23/2011        11:15:38
74888      8707404013      9/23/2011        11:45:16
74889      8707404520      9/24/2011        9:24:12
74890      8707406136      9/27/2011        20:13:21
74891      8707406220      10/15/2012       16:13:05
74892      8707510112      8/9/2012         14:11:57
74893      8707541910      6/2/2012         12:47:50
74894      8707591428      8/7/2012         19:46:53
74895      8707613532      10/12/2011       8:33:43
74896      8707617133      11/22/2011       18:45:07
74897      8707685010      1/18/2012        9:51:52
74898      8707840093      9/15/2011        8:54:56
74899      8707840217      10/1/2011        9:58:33
74900      8707840373      4/22/2012        15:49:21
74901      8707840784      7/31/2012        15:40:14
74902      8707840784      9/6/2012         12:23:38
74903      8707845100      11/5/2011        10:12:29
74904      8707945217      3/6/2014         11:19:30
74905      8708090150      9/20/2011        16:49:42
74906      8708102541      4/11/2012        11:30:15
74907      8708146767      7/20/2012        8:48:03
74908      8708148807      7/12/2011        12:28:59
74909      8708164623      5/11/2011        16:56:19
74910      8708165385      3/12/2012        20:38:14
74911      8708167868      1/8/2012         13:17:35
74912      8708188182      11/23/2011       14:40:28
74913      8708191854      8/6/2012         14:57:52
74914      8708191854      8/19/2012        12:04:39
74915      8708200683      11/17/2011       15:41:38
74916      8708200918      12/12/2011       11:55:04
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74917      8708201549      6/7/2012         18:33:50
74918      8708204446      10/7/2012        20:50:07
74919      8708205961      7/17/2012        12:28:15
74920      8708207989      2/16/2012        8:37:11
74921      8708207989      5/21/2012        8:16:13
74922      8708220162      10/7/2011        8:10:56
74923      8708261774      8/30/2011        12:20:08
74924      8708280224      10/26/2011       13:05:11
74925      8708282964      1/10/2012        15:35:49
74926      8708289452      1/16/2012        17:34:09
74927      8708303363      10/20/2012       16:23:23
74928      8708307650      3/21/2012        13:50:08
74929      8708307650      5/21/2012        8:02:55
74930      8708307650      5/21/2012        8:17:08
74931      8708311805      6/20/2012        9:11:38
74932      8708340480      3/27/2012        14:56:28
74933      8708342297      10/6/2011        17:44:02
74934      8708389053      10/4/2011        13:24:31
74935      8708440198      8/29/2012        20:20:48
74936      8708440708      3/29/2012        11:21:10
74937      8708445086      10/1/2011        10:49:41
74938      8708458899      11/14/2011       17:31:02
74939      8708473696      9/13/2012        15:17:35
74940      8708474187      1/3/2012         10:42:42
74941      8708474553      11/15/2011       20:07:54
74942      8708475359      1/28/2012        9:44:06
74943      8708537823      10/24/2011       8:11:19
74944      8708580582      10/15/2012       16:06:13
74945      8708620837      6/4/2011         10:32:26
74946      8708661233      11/2/2011        16:23:46
74947      8708665393      10/18/2012       16:45:25
74948      8708665601      11/21/2011       8:20:13
74949      8708667767      9/25/2012        15:15:22
74950      8708667767      10/15/2012       16:27:11
74951      8708722824      9/26/2011        9:30:42
74952      8708722824      10/11/2011       17:21:32
74953      8708722824      2/28/2012        16:19:03
74954      8708724306      7/13/2012        12:00:28
74955      8708729744      4/5/2012         14:26:58
74956      8708782194      10/5/2011        14:40:48
74957      8708822374      10/1/2011        10:45:23
74958      8708822579      6/5/2012         14:47:31
74959      8708822865      10/21/2011       13:30:46
74960      8708850243      4/10/2012        16:13:53
74961      8708974602      10/3/2011        8:25:21
74962      8708976355      9/8/2011         19:02:43
74963      8709040650      4/9/2011         13:50:00
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74964      8709045419      12/2/2011        15:09:32
74965      8709045995      11/14/2011       17:28:17
74966      8709047993      8/9/2012         14:03:07
74967      8709140239      1/31/2012        10:10:26
74968      8709140787      11/8/2011        14:32:38
74969      8709141159      4/28/2012        8:32:40
74970      8709141159      5/15/2012        18:58:50
74971      8709175246      1/5/2012         14:05:01
74972      8709177912      3/26/2012        18:42:41
74973      8709178771      4/9/2012         13:47:46
74974      8709181091      5/31/2012        15:10:10
74975      8709181518      7/27/2012        13:15:48
74976      8709185319      10/8/2012        20:02:34
74977      8709197633      3/19/2012        19:23:07
74978      8709251449      2/29/2012        17:51:29
74979      8709268807      9/15/2011        8:38:24
74980      8709300170      8/3/2011         12:23:34
74981      8709304480      7/6/2012         16:47:14
74982      8709400210      11/10/2011       8:01:50
74983      8709400328      10/11/2011       16:19:05
74984      8709401402      3/10/2012        8:51:13
74985      8709412296      3/16/2012        16:03:37
74986      8709416253      9/8/2011         19:29:12
74987      8709451043      12/18/2011       16:39:26
74988      8709465636      8/21/2012        14:01:36
74989      8709491311      1/24/2012        17:20:48
74990      8709491398      4/17/2012        9:24:14
74991      8709510735      9/13/2011        14:09:16
74992      8709530418      2/16/2012        8:27:53
74993      8709530418      3/29/2012        12:26:21
74994      8709530936      7/5/2012         10:46:27
74995      8709550393      11/11/2011       13:20:30
74996      8709558242      8/25/2012        10:55:26
74997      8709954295      5/21/2012        17:44:28
74998      8709955474      10/31/2011       8:23:11
74999      8709957013      9/8/2011         18:57:31
75000      9012013109      3/13/2012        12:48:54
75001      9012013489      3/1/2012         8:39:11
75002      9012019160      2/10/2012        9:20:44
75003      9012053052      10/28/2011       13:39:52
75004      9012054567      6/9/2012         11:00:22
75005      9012056588      11/2/2011        14:01:14
75006      9012058265      9/10/2011        9:14:19
75007      9012058269      6/17/2011        15:22:31
75008      9012102573      9/8/2011         19:51:32
75009      9012106721      3/14/2012        14:11:59
75010      9012109655      5/21/2012        17:46:31
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75011      9012121096      2/10/2012        9:23:25
75012      9012121371      12/29/2011       11:08:32
75013      9012126198      1/11/2012        16:38:47
75014      9012146179      11/17/2011       15:29:31
75015      9012146413      3/28/2012        8:21:26
75016      9012150286      11/3/2011        17:21:28
75017      9012154186      10/5/2011        14:38:56
75018      9012155975      9/22/2011        16:01:56
75019      9012157827      9/19/2011        8:14:36
75020      9012162521      11/30/2011       15:25:07
75021      9012164725      2/8/2012         13:00:20
75022      9012167926      2/21/2012        9:34:42
75023      9012181599      12/21/2011       10:18:52
75024      9012183629      10/8/2012        7:07:04
75025      9012184155      7/13/2012        18:29:08
75026      9012186408      11/22/2011       18:46:16
75027      9012186421      9/19/2011        19:15:40
75028      9012186851      4/18/2012        8:12:50
75029      9012188222      11/26/2011       11:50:34
75030      9012192173      12/16/2011       15:39:53
75031      9012193484      12/6/2011        7:16:19
75032      9012198174      11/30/2011       8:14:16
75033      9012198430      9/24/2012        18:53:34
75034      9012290810      10/5/2011        14:41:06
75035      9012291958      5/22/2012        18:39:15
75036      9012300708      10/1/2011        10:01:43
75037      9012307698      4/17/2012        9:30:54
75038      9012308641      4/16/2011        15:25:03
75039      9012310041      12/30/2013       8:09:59
75040      9012333116      10/12/2012       17:03:31
75041      9012336611      9/26/2011        9:41:06
75042      9012338322      10/24/2011       8:06:14
75043      9012364466      8/3/2012         16:24:18
75044      9012369576      7/18/2012        8:32:08
75045      9012369576      10/3/2012        19:56:11
75046      9012369934      3/29/2012        16:43:51
75047      9012373601      12/17/2011       12:05:22
75048      9012375139      10/4/2011        13:52:16
75049      9012393656      4/29/2012        17:28:05
75050      9012394538      9/8/2012         11:10:52
75051      9012395336      5/13/2012        17:37:27
75052      9012396609      10/9/2012        20:01:17
75053      9012396871      9/24/2012        13:10:21
75054      9012406623      9/28/2011        10:33:42
75055      9012408141      9/8/2011         19:33:58
75056      9012408711      3/24/2012        10:05:53
75057      9012460421      10/20/2012       16:33:24
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75058      9012461433      5/20/2012        15:37:46
75059      9012462210      5/22/2012        18:29:54
75060      9012466007      4/15/2012        17:15:51
75061      9012466601      6/30/2011        8:33:39
75062      9012467207      12/7/2011        14:14:29
75063      9012467478      7/19/2012        8:29:58
75064      9012543578      9/9/2011         18:22:13
75065      9012545582      7/18/2012        8:31:05
75066      9012554547      9/14/2011        19:36:11
75067      9012580553      3/2/2012         9:09:45
75068      9012581037      12/17/2011       11:35:09
75069      9012582856      5/12/2012        10:43:50
75070      9012586348      10/1/2011        10:12:10
75071      9012589393      10/3/2012        20:01:29
75072      9012627260      3/2/2012         9:16:27
75073      9012641594      8/31/2012        16:36:24
75074      9012643949      3/13/2012        14:06:00
75075      9012650770      12/22/2011       9:44:13
75076      9012652857      3/23/2011        20:12:18
75077      9012656177      6/14/2012        16:18:58
75078      9012671746      12/3/2011        9:28:31
75079      9012677441      6/21/2012        18:57:04
75080      9012677441      8/2/2012         19:12:32
75081      9012679522      6/23/2012        15:56:48
75082      9012688330      9/8/2011         19:51:37
75083      9012702049      7/12/2012        13:14:24
75084      9012702969      11/11/2011       13:40:45
75085      9012703172      11/4/2011        9:14:17
75086      9012703799      3/20/2012        17:42:23
75087      9012705562      9/21/2011        11:56:32
75088      9012705562      2/13/2012        18:44:21
75089      9012705835      11/16/2011       19:53:53
75090      9012707707      4/4/2012         18:48:56
75091      9012734054      11/28/2011       12:12:34
75092      9012736500      2/17/2012        18:11:32
75093      9012754627      9/28/2011        11:16:23
75094      9012754703      11/19/2011       8:19:47
75095      9012771272      10/8/2011        9:48:21
75096      9012772716      4/21/2012        16:44:43
75097      9012772716      5/21/2012        8:18:15
75098      9012774567      1/6/2012         14:33:05
75099      9012776114      12/28/2011       7:25:00
75100      9012776673      10/15/2011       10:46:56
75101      9012812269      9/19/2011        8:32:14
75102      9012814449      4/20/2012        14:42:19
75103      9012814607      11/23/2011       9:51:11
75104      9012814957      5/19/2012        9:32:52
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75105      9012814957      5/21/2012        8:26:17
75106      9012815231      8/16/2012        19:48:50
75107      9012816770      1/24/2012        20:12:52
75108      9012816966      4/11/2012        11:33:44
75109      9012817805      12/19/2011       8:08:16
75110      9012821046      1/17/2012        18:47:06
75111      9012823859      11/23/2011       9:43:35
75112      9012824136      10/5/2011        14:18:41
75113      9012824146      11/12/2011       10:35:35
75114      9012831252      5/2/2011         18:09:39
75115      9012832070      10/18/2011       13:02:48
75116      9012834838      7/9/2012         19:15:32
75117      9012835936      6/9/2012         10:31:41
75118      9012837412      12/20/2011       12:02:02
75119      9012837876      3/13/2012        11:21:16
75120      9012879030      12/21/2011       19:04:53
75121      9012883767      4/30/2012        14:53:30
75122      9012887300      6/14/2012        15:52:37
75123      9012887517      12/3/2011        9:23:06
75124      9012889582      8/30/2011        16:35:59
75125      9012891931      12/19/2011       8:21:14
75126      9012893357      10/15/2012       16:27:49
75127      9012894158      7/20/2011        13:53:07
75128      9012898040      12/10/2011       13:28:39
75129      9012921723      10/18/2012       16:36:49
75130      9012923384      11/14/2011       15:00:56
75131      9012924389      5/18/2012        16:00:25
75132      9012925415      12/17/2011       12:09:11
75133      9012926583      6/30/2012        8:22:11
75134      9012927434      12/21/2011       19:56:23
75135      9012973350      6/1/2012         9:12:34
75136      9012976341      9/15/2011        8:59:41
75137      9012977376      5/16/2012        8:04:40
75138      9012979116      7/5/2012         15:38:26
75139      9012994572      6/19/2012        8:36:45
75140      9012995589      10/10/2011       12:43:40
75141      9013039880      8/31/2012        16:38:48
75142      9013044440      1/21/2012        8:40:56
75143      9013045520      9/15/2012        8:19:54
75144      9013053670      10/18/2011       13:08:04
75145      9013107538      8/16/2012        19:54:07
75146      9013140121      3/8/2012         9:21:20
75147      9013140470      9/29/2011        15:22:40
75148      9013140488      4/3/2012         10:33:36
75149      9013141884      10/19/2012       19:04:43
75150      9013141999      10/17/2012       9:32:45
75151      9013142622      12/19/2011       8:03:28
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75152      9013143300      11/12/2011       9:28:58
75153      9013143824      10/19/2012       19:10:43
75154      9013146282      5/7/2012         8:10:16
75155      9013146282      5/13/2012        17:34:53
75156      9013148073      11/16/2011       20:03:54
75157      9013148482      11/3/2011        17:57:08
75158      9013151110      1/11/2012        8:55:19
75159      9013151313      8/9/2012         14:01:48
75160      9013151352      5/20/2011        18:05:17
75161      9013152763      4/20/2012        20:58:55
75162      9013153286      12/23/2011       16:01:44
75163      9013153316      9/20/2012        20:58:44
75164      9013154743      8/7/2012         17:52:21
75165      9013154944      9/21/2012        19:03:31
75166      9013155129      11/14/2011       17:10:12
75167      9013156139      1/3/2012         11:04:30
75168      9013156331      3/1/2012         8:51:11
75169      9013157278      4/30/2012        8:18:44
75170      9013158241      2/27/2014        9:18:41
75171      9013159432      4/10/2012        11:41:34
75172      9013196674      8/31/2012        16:30:23
75173      9013196676      9/8/2012         11:11:42
75174      9013198474      1/20/2012        20:34:42
75175      9013261569      3/16/2012        10:06:42
75176      9013310754      4/12/2012        12:20:22
75177      9013310754      9/11/2012        15:13:27
75178      9013346228      10/22/2011       13:08:58
75179      9013346269      1/26/2012        10:00:43
75180      9013348946      10/21/2011       13:21:33
75181      9013351365      12/26/2011       20:05:25
75182      9013354021      1/16/2012        17:28:22
75183      9013355424      9/26/2012        8:11:49
75184      9013358831      8/4/2012         8:00:48
75185      9013361273      9/20/2011        16:47:23
75186      9013361273      10/13/2011       8:33:42
75187      9013361456      4/12/2012        14:54:02
75188      9013362591      8/13/2011        10:25:57
75189      9013364714      2/7/2012         16:50:23
75190      9013366867      10/6/2011        16:45:30
75191      9013367626      9/26/2011        9:34:28
75192      9013370602      8/18/2011        8:02:49
75193      9013372021      2/9/2012         9:34:30
75194      9013372341      7/29/2011        20:24:41
75195      9013377447      10/5/2011        14:13:52
75196      9013377940      1/24/2012        20:15:28
75197      9013378556      11/28/2011       18:08:00
75198      9013379382      1/5/2012         17:22:13
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75199      9013379862      12/23/2011       20:44:39
75200      9013379862      2/24/2012        17:29:03
75201      9013382839      2/17/2012        18:21:34
75202      9013383075      5/30/2012        16:55:57
75203      9013383158      1/27/2012        17:46:59
75204      9013383309      10/11/2011       17:23:00
75205      9013383309      11/5/2011        10:11:49
75206      9013385064      5/18/2012        11:42:59
75207      9013388030      10/1/2011        10:47:50
75208      9013389445      9/15/2011        8:51:36
75209      9013400113      1/6/2012         12:19:21
75210      9013400599      5/8/2012         12:33:53
75211      9013400599      6/7/2012         18:24:29
75212      9013402337      12/7/2011        13:27:01
75213      9013404020      5/22/2012        11:32:10
75214      9013404961      3/6/2012         17:18:01
75215      9013407847      9/24/2012        14:38:58
75216      9013434181      9/22/2012        9:43:50
75217      9013434722      11/28/2011       17:58:56
75218      9013479370      1/6/2012         14:53:32
75219      9013514504      9/13/2012        15:17:02
75220      9013515703      5/21/2012        17:53:07
75221      9013516609      2/10/2012        17:02:34
75222      9013518165      12/27/2011       13:45:58
75223      9013518362      11/15/2011       15:31:14
75224      9013519602      3/21/2012        13:51:48
75225      9013544117      5/30/2012        12:57:25
75226      9013551342      9/19/2011        19:14:08
75227      9013559108      3/15/2012        19:07:42
75228      9013559196      9/19/2011        8:11:17
75229      9013560617      9/8/2011         19:48:19
75230      9013562206      3/31/2012        8:22:51
75231      9013590490      11/26/2011       11:59:30
75232      9013591283      9/19/2011        8:27:01
75233      9013593462      11/8/2011        14:28:34
75234      9013595068      1/12/2012        8:10:58
75235      9013597425      5/14/2012        8:05:53
75236      9013613249      9/24/2012        18:54:19
75237      9013613249      9/28/2012        16:39:18
75238      9013619594      1/4/2012         11:26:18
75239      9013625783      10/25/2011       16:33:48
75240      9013711509      10/17/2011       7:28:35
75241      9013717216      6/4/2012         8:17:19
75242      9013788273      10/3/2012        19:49:46
75243      9013833326      10/1/2012        13:59:57
75244      9013877708      12/29/2011       10:46:43
75245      9013879628      2/17/2012        9:04:00
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75246      9013898590      10/25/2011       16:20:46
75247      9013994237      5/29/2012        17:14:00
75248      9013994777      10/27/2011       16:00:50
75249      9013994777      1/13/2012        17:39:53
75250      9014060083      7/20/2011        13:37:35
75251      9014060088      5/6/2012         18:13:02
75252      9014060088      7/27/2012        13:22:34
75253      9014060796      10/29/2011       11:47:54
75254      9014060881      8/29/2012        20:20:25
75255      9014063414      5/15/2012        8:45:38
75256      9014063584      10/4/2011        13:18:31
75257      9014063699      3/28/2012        8:22:18
75258      9014066358      11/12/2011       10:28:55
75259      9014068849      11/21/2011       8:02:50
75260      9014068849      12/18/2011       16:10:04
75261      9014092547      12/26/2011       9:34:08
75262      9014093404      5/9/2014         10:23:57
75263      9014095993      2/28/2012        13:05:35
75264      9014097546      9/7/2012         15:41:14
75265      9014098706      10/7/2011        8:13:39
75266      9014120129      10/19/2012       19:14:27
75267      9014123492      9/13/2011        18:03:43
75268      9014124281      9/8/2011         18:10:49
75269      9014126431      10/18/2012       8:06:41
75270      9014129268      10/13/2012       9:14:10
75271      9014130591      1/3/2012         11:18:33
75272      9014130864      11/14/2011       14:43:15
75273      9014136947      6/5/2012         19:54:06
75274      9014137146      10/18/2012       16:37:39
75275      9014138125      1/30/2012        8:06:19
75276      9014138125      2/6/2012         17:21:14
75277      9014280409      9/12/2011        14:20:37
75278      9014284736      9/16/2011        13:25:57
75279      9014285339      10/15/2011       10:37:07
75280      9014285635      2/24/2012        20:54:19
75281      9014287257      7/11/2012        17:27:38
75282      9014289206      12/29/2011       19:03:39
75283      9014380330      10/8/2011        11:50:27
75284      9014510389      4/19/2012        14:43:11
75285      9014510389      5/23/2012        16:37:10
75286      9014511390      9/20/2011        18:26:49
75287      9014511390      11/18/2011       12:27:13
75288      9014511512      12/21/2011       10:17:04
75289      9014512865      2/21/2012        11:28:53
75290      9014610302      1/10/2012        15:20:42
75291      9014624116      3/9/2012         15:44:44
75292      9014624577      9/17/2012        8:29:56
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                                   #:13454

75293      9014634529      3/3/2012         8:27:23
75294      9014635962      9/23/2011        11:15:14
75295      9014638039      6/2/2011         11:16:29
75296      9014638606      5/30/2012        16:56:28
75297      9014639463      1/5/2012         14:06:00
75298      9014655939      10/7/2011        8:13:39
75299      9014748255      9/29/2012        9:51:59
75300      9014748973      2/13/2012        8:05:03
75301      9014749142      9/10/2011        9:04:27
75302      9014749751      4/29/2012        17:34:46
75303      9014811902      9/14/2011        16:35:45
75304      9014813221      9/27/2012        8:42:57
75305      9014814237      5/18/2012        15:41:04
75306      9014815503      1/4/2012         11:07:33
75307      9014816220      7/18/2012        18:25:11
75308      9014823391      10/8/2011        9:59:42
75309      9014826777      9/6/2011         12:54:30
75310      9014827354      11/3/2011        17:15:58
75311      9014830525      10/24/2011       8:03:37
75312      9014831855      9/19/2011        19:32:08
75313      9014833130      11/7/2011        9:37:49
75314      9014833130      12/7/2011        14:55:16
75315      9014838220      4/5/2012         10:16:02
75316      9014842444      7/18/2012        8:37:19
75317      9014842491      12/8/2011        9:58:57
75318      9014845186      7/13/2012        14:00:52
75319      9014853611      9/23/2011        11:41:52
75320      9014854417      5/29/2012        17:13:47
75321      9014854524      2/25/2012        11:03:41
75322      9014854524      6/16/2012        15:28:46
75323      9014861295      1/18/2012        9:51:49
75324      9014863177      10/6/2011        16:43:52
75325      9014864881      5/29/2012        17:13:48
75326      9014870698      9/12/2011        14:24:23
75327      9014870765      6/27/2011        8:10:20
75328      9014875338      3/8/2012         20:25:37
75329      9014876498      11/4/2011        8:38:45
75330      9014878138      11/29/2011       16:10:02
75331      9014879098      11/14/2011       17:06:15
75332      9014881201      9/23/2011        11:12:23
75333      9014881201      9/29/2011        15:23:46
75334      9014881201      10/24/2011       8:12:36
75335      9014882558      11/9/2011        8:50:14
75336      9014883338      3/8/2012         9:18:31
75337      9014887996      2/21/2012        20:53:18
75338      9014888405      6/5/2012         17:54:04
75339      9014892098      8/16/2012        19:47:54
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                                   #:13455

75340      9014894766      10/8/2011        9:49:16
75341      9014897287      9/19/2011        19:15:22
75342      9014898771      1/5/2012         17:22:13
75343      9014900301      1/19/2012        8:26:24
75344      9014901052      1/3/2012         11:05:43
75345      9014904458      9/29/2011        15:21:55
75346      9014909551      3/9/2012         15:47:44
75347      9014910774      11/17/2011       15:46:45
75348      9014914248      11/16/2011       19:57:12
75349      9014917837      9/28/2011        10:28:27
75350      9014919668      1/4/2014         10:07:15
75351      9014930935      4/23/2011        10:23:35
75352      9014942766      4/12/2012        18:30:57
75353      9014947742      7/22/2011        12:54:42
75354      9014959174      8/14/2012        20:58:41
75355      9014962252      5/18/2012        15:40:05
75356      9014962533      3/23/2012        11:28:58
75357      9014964576      5/19/2012        9:28:59
75358      9014966492      12/17/2011       11:36:25
75359      9014979117      5/21/2011        11:01:14
75360      9015020515      7/13/2012        17:11:06
75361      9015020903      9/16/2011        13:30:18
75362      9015022015      10/5/2011        14:49:35
75363      9015023623      10/10/2012       19:21:53
75364      9015025109      8/14/2012        20:57:35
75365      9015025504      8/1/2012         8:27:53
75366      9015027028      9/26/2011        9:39:00
75367      9015027028      10/10/2011       11:59:07
75368      9015027028      12/5/2011        18:38:28
75369      9015027749      9/23/2011        19:00:59
75370      9015027856      11/11/2011       20:04:55
75371      9015032245      9/3/2012         15:02:35
75372      9015032277      9/2/2011         13:08:04
75373      9015032394      11/2/2011        14:21:15
75374      9015032598      11/30/2011       8:10:58
75375      9015033336      10/5/2012        12:27:26
75376      9015035625      7/9/2012         19:14:57
75377      9015037404      9/2/2011         13:02:01
75378      9015038370      1/20/2012        11:32:14
75379      9015038951      9/8/2011         19:33:03
75380      9015039142      3/21/2012        13:40:16
75381      9015039582      3/19/2012        12:08:49
75382      9015157337      2/20/2012        16:54:56
75383      9015157635      11/12/2011       10:41:14
75384      9015158082      12/15/2011       8:20:15
75385      9015158366      9/28/2011        11:26:52
75386      9015171311      3/29/2012        11:35:44
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75387      9015173027      6/19/2012        15:42:54
75388      9015173027      6/26/2012        8:02:35
75389      9015173586      6/12/2012        17:07:42
75390      9015175459      9/12/2011        13:23:56
75391      9015179718      4/5/2012         16:15:58
75392      9015291922      1/9/2012         8:22:19
75393      9015500155      9/20/2012        20:57:37
75394      9015501829      3/6/2012         16:04:46
75395      9015501829      3/15/2012        13:51:37
75396      9015503484      11/17/2011       15:42:33
75397      9015504287      10/5/2011        14:12:30
75398      9015505599      5/23/2012        16:31:18
75399      9015505649      5/16/2012        16:55:58
75400      9015507539      3/2/2012         19:02:29
75401      9015508848      1/11/2012        16:22:24
75402      9015508927      12/31/2011       12:04:23
75403      9015522614      10/4/2011        13:18:15
75404      9015526262      3/13/2012        12:48:32
75405      9015527416      9/24/2011        9:45:27
75406      9015536371      9/19/2011        8:12:52
75407      9015536371      10/4/2011        13:21:38
75408      9015536371      10/28/2011       13:32:00
75409      9015536371      12/5/2011        18:36:48
75410      9015538012      10/24/2011       8:11:01
75411      9015538713      1/23/2012        8:29:11
75412      9015538713      3/19/2012        19:18:40
75413      9015625417      12/23/2011       15:07:08
75414      9015626142      10/31/2011       8:32:52
75415      9015627574      2/21/2012        20:49:26
75416      9015692920      8/29/2011        17:01:37
75417      9015700701      2/14/2012        15:27:13
75418      9015701665      9/21/2011        11:57:52
75419      9015703872      9/18/2012        14:19:51
75420      9015704301      6/15/2012        8:54:06
75421      9015704395      12/29/2011       19:36:07
75422      9015704395      5/21/2012        8:15:11
75423      9015705371      10/13/2011       8:37:56
75424      9015705577      11/5/2011        11:18:22
75425      9015707138      8/9/2012         14:10:34
75426      9015708190      12/14/2011       13:12:04
75427      9015708752      1/9/2012         8:13:07
75428      9015723043      3/6/2012         15:50:20
75429      9015723430      1/31/2012        10:02:56
75430      9015732902      7/17/2012        12:28:44
75431      9015736124      3/16/2012        10:04:33
75432      9015743918      1/27/2012        11:52:41
75433      9015749076      2/19/2012        20:26:12
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75434      9015749898      8/21/2012        14:02:26
75435      9015811035      4/13/2012        13:19:35
75436      9015813210      9/14/2011        12:34:48
75437      9015816691      11/8/2011        14:27:23
75438      9015817969      3/26/2012        18:28:05
75439      9015818631      2/13/2012        18:47:53
75440      9015905056      12/19/2011       7:35:12
75441      9015905810      4/28/2012        8:29:40
75442      9015907996      1/3/2012         11:02:17
75443      9015915011      7/16/2012        9:28:49
75444      9015927306      8/28/2012        11:59:43
75445      9015927448      9/24/2011        9:19:16
75446      9015927625      9/21/2011        19:34:41
75447      9015928854      1/24/2012        17:19:44
75448      9015929404      11/10/2011       14:52:11
75449      9015960172      9/3/2012         14:34:38
75450      9015960495      9/24/2011        9:25:23
75451      9015962294      3/22/2012        14:00:41
75452      9015963002      2/16/2012        8:27:28
75453      9015963398      10/11/2011       16:24:23
75454      9015963963      5/4/2012         20:54:17
75455      9015965583      8/11/2012        9:38:44
75456      9015965599      4/11/2012        12:47:43
75457      9015965637      10/1/2011        10:42:47
75458      9015967115      9/29/2011        15:50:58
75459      9015968320      12/6/2011        7:45:16
75460      9015969459      11/22/2011       19:34:26
75461      9015984675      9/20/2011        18:20:23
75462      9015984675      10/3/2011        8:18:57
75463      9015988151      10/31/2011       9:28:48
75464      9016016789      12/13/2011       17:20:28
75465      9016019733      5/30/2012        16:48:34
75466      9016031151      12/20/2011       19:35:17
75467      9016031151      4/24/2012        18:14:16
75468      9016050267      7/11/2012        9:38:14
75469      9016050929      12/14/2011       18:07:16
75470      9016054572      9/13/2011        13:30:00
75471      9016056360      3/30/2011        10:34:57
75472      9016058049      12/12/2011       12:26:36
75473      9016058049      1/16/2012        17:35:02
75474      9016061725      5/15/2012        19:12:01
75475      9016067419      6/23/2012        8:49:45
75476      9016191719      10/11/2011       16:29:44
75477      9016194244      1/4/2012         12:12:26
75478      9016199784      4/20/2012        20:48:46
75479      9016264288      1/9/2012         7:10:34
75480      9016264894      3/2/2012         18:53:25
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                                   #:13458

75481      9016281038      11/15/2011       15:45:32
75482      9016281302      3/27/2012        14:54:40
75483      9016283240      3/18/2011        10:42:05
75484      9016283282      11/25/2011       18:20:43
75485      9016286538      1/17/2012        20:28:38
75486      9016289049      3/15/2012        13:53:31
75487      9016289346      11/15/2011       15:34:29
75488      9016343955      1/4/2012         11:04:38
75489      9016345873      8/2/2012         18:54:35
75490      9016346843      8/8/2012         8:22:01
75491      9016431702      6/5/2012         17:59:35
75492      9016432888      12/16/2011       15:40:28
75493      9016433542      4/19/2012        20:14:32
75494      9016433978      10/29/2011       11:49:09
75495      9016435026      1/26/2012        10:01:59
75496      9016437588      6/7/2012         15:14:26
75497      9016438515      3/12/2012        19:25:48
75498      9016438711      1/3/2012         19:44:28
75499      9016439935      1/30/2012        8:15:47
75500      9016440291      10/9/2012        11:47:44
75501      9016440366      9/13/2012        15:21:14
75502      9016440706      8/1/2012         8:35:37
75503      9016443636      2/6/2012         17:19:14
75504      9016444325      6/13/2012        8:05:21
75505      9016444405      12/11/2011       12:24:57
75506      9016446587      11/14/2011       14:49:49
75507      9016446932      11/7/2011        7:42:03
75508      9016446947      11/8/2011        13:55:01
75509      9016447040      11/11/2011       20:24:17
75510      9016447563      4/2/2012         17:33:28
75511      9016447794      12/5/2011        8:50:33
75512      9016448096      12/19/2011       8:12:42
75513      9016448096      5/14/2012        8:04:05
75514      9016448096      5/21/2012        8:19:24
75515      9016448139      12/22/2011       9:10:18
75516      9016448398      11/11/2011       13:44:29
75517      9016471974      9/19/2011        8:19:46
75518      9016471974      9/23/2011        18:48:41
75519      9016476955      10/27/2011       16:05:04
75520      9016476955      11/14/2011       15:03:00
75521      9016477407      11/1/2011        8:11:39
75522      9016479795      9/21/2011        19:30:51
75523      9016493386      9/25/2012        15:27:14
75524      9016494283      3/13/2012        14:05:57
75525      9016496297      9/12/2012        15:11:16
75526      9016497384      1/23/2012        18:59:08
75527      9016500032      5/8/2012         12:32:54
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75528      9016500875      7/19/2011        16:46:41
75529      9016501596      10/1/2011        9:57:30
75530      9016502120      10/12/2011       12:06:27
75531      9016504297      7/2/2011         8:33:29
75532      9016505273      5/26/2012        14:22:39
75533      9016505928      1/9/2012         8:04:00
75534      9016509076      4/17/2012        9:34:51
75535      9016509485      4/3/2012         16:00:46
75536      9016526443      11/15/2011       15:29:48
75537      9016528076      2/9/2012         9:35:13
75538      9016528076      5/21/2012        8:16:02
75539      9016528291      12/26/2011       20:24:38
75540      9016539319      7/20/2012        8:47:52
75541      9016743639      6/13/2012        8:07:21
75542      9016743790      4/7/2012         9:31:37
75543      9016744066      9/19/2011        19:31:04
75544      9016744851      10/14/2011       12:54:36
75545      9016790392      8/6/2012         13:07:59
75546      9016791098      3/14/2012        14:10:21
75547      9016791525      12/29/2011       19:03:59
75548      9016795194      7/30/2012        13:18:13
75549      9016797077      11/10/2011       8:07:58
75550      9016798773      5/4/2012         20:54:44
75551      9016875224      8/8/2011         15:32:50
75552      9016877486      10/8/2011        9:58:37
75553      9016900504      10/15/2011       10:53:53
75554      9016901069      3/21/2012        9:13:48
75555      9016901170      10/11/2012       18:40:56
75556      9016901777      3/29/2012        18:53:55
75557      9016901876      10/7/2011        8:14:41
75558      9016904243      5/18/2012        12:09:47
75559      9016904578      9/28/2011        10:29:30
75560      9016904578      12/7/2011        13:34:21
75561      9016905071      7/12/2011        11:42:25
75562      9016905071      9/21/2011        11:55:13
75563      9016905076      10/31/2011       9:10:35
75564      9016905962      9/24/2011        9:48:57
75565      9016906247      11/16/2011       19:56:33
75566      9016907133      12/5/2011        8:43:33
75567      9016908569      12/22/2011       9:05:26
75568      9016909030      9/21/2011        19:30:26
75569      9016909513      11/29/2011       15:09:43
75570      9016911680      10/11/2012       11:54:32
75571      9016912877      12/5/2011        8:38:02
75572      9016912894      11/29/2011       16:19:02
75573      9016913656      5/25/2012        17:11:55
75574      9016914636      1/16/2012        17:31:21
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75575      9016915457      1/23/2012        19:15:02
75576      9016915481      6/8/2012         8:09:40
75577      9016916022      9/19/2011        8:28:32
75578      9016916022      1/13/2012        17:41:28
75579      9016916934      3/13/2012        12:42:31
75580      9016917216      3/27/2012        15:04:16
75581      9016918192      9/27/2011        18:43:57
75582      9016918684      4/9/2012         13:33:56
75583      9016919381      7/14/2011        16:22:00
75584      9016919677      12/28/2011       8:40:21
75585      9016919683      12/29/2011       19:36:41
75586      9016920887      2/29/2012        17:32:25
75587      9016920887      5/21/2012        8:16:25
75588      9017215317      8/1/2012         8:30:05
75589      9017340865      6/5/2012         17:56:46
75590      9017344268      7/15/2011        8:23:57
75591      9017345400      10/29/2011       11:52:44
75592      9017582915      4/12/2012        12:31:19
75593      9017862133      8/11/2011        10:05:59
75594      9017864789      10/25/2011       15:34:29
75595      9017915432      6/11/2012        18:01:15
75596      9017915886      4/1/2012         17:16:05
75597      9017918302      10/4/2011        13:23:38
75598      9018251098      11/15/2011       15:35:08
75599      9018257980      1/11/2012        16:37:14
75600      9018264115      9/26/2011        9:53:01
75601      9018264115      10/5/2011        14:18:06
75602      9018265055      9/23/2011        11:43:27
75603      9018265249      4/15/2012        17:19:24
75604      9018268029      11/22/2011       18:47:35
75605      9018270851      2/24/2011        14:31:00
75606      9018273316      7/13/2012        12:04:11
75607      9018275321      2/9/2012         20:35:39
75608      9018275665      11/11/2011       13:40:47
75609      9018284954      6/28/2012        14:16:19
75610      9018287615      5/17/2012        16:41:19
75611      9018307174      10/21/2011       12:46:10
75612      9018311718      3/25/2011        9:48:26
75613      9018316190      4/2/2012         9:05:10
75614      9018319243      2/25/2012        10:39:05
75615      9018321976      1/18/2012        10:11:59
75616      9018321976      1/25/2012        20:26:30
75617      9018327550      9/17/2012        8:36:16
75618      9018331379      12/20/2011       19:38:53
75619      9018334553      2/3/2012         20:08:15
75620      9018462610      10/23/2012       10:52:59
75621      9018463070      3/12/2012        16:52:59
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75622      9018468272      12/20/2011       19:23:59
75623      9018468975      10/15/2012       10:06:40
75624      9018468975      10/20/2012       16:22:26
75625      9018480428      5/17/2012        16:54:20
75626      9018484822      6/19/2012        15:43:38
75627      9018486220      10/10/2012       13:01:14
75628      9018493322      12/9/2011        16:08:01
75629      9018571005      2/9/2012         20:35:29
75630      9018579738      1/17/2012        18:47:19
75631      9018590563      11/15/2011       15:40:58
75632      9018590563      11/29/2011       15:06:31
75633      9018590563      7/12/2012        13:23:40
75634      9018591695      12/29/2011       18:58:59
75635      9018591695      2/18/2012        9:06:55
75636      9018591695      7/28/2012        9:16:46
75637      9018591711      12/21/2011       19:54:51
75638      9018592125      7/18/2012        18:31:39
75639      9018594250      8/31/2011        10:48:54
75640      9018594393      10/4/2011        14:03:43
75641      9018595237      7/13/2012        14:04:13
75642      9018595814      10/14/2012       15:11:58
75643      9018595946      8/18/2012        8:41:45
75644      9018596631      4/20/2012        14:08:17
75645      9018599331      1/25/2012        20:25:25
75646      9018599792      9/7/2012         15:42:34
75647      9018640159      9/15/2011        8:51:08
75648      9018641302      3/20/2012        9:29:45
75649      9018642246      10/17/2012       20:52:20
75650      9018643001      9/5/2012         15:26:30
75651      9018643171      3/27/2012        11:02:37
75652      9018643239      1/12/2012        14:05:16
75653      9018643355      6/30/2012        15:56:07
75654      9018643887      3/2/2012         9:36:26
75655      9018646544      6/7/2012         12:41:45
75656      9018647166      2/18/2012        8:44:40
75657      9018648199      10/21/2011       12:48:52
75658      9018648578      2/14/2012        16:50:57
75659      9018649028      10/17/2011       8:12:08
75660      9018649375      6/14/2012        12:38:37
75661      9018649649      4/11/2012        13:17:26
75662      9018649851      3/15/2012        19:09:17
75663      9018700137      11/10/2011       14:23:33
75664      9018700411      12/12/2011       11:53:04
75665      9018701300      2/24/2011        11:40:47
75666      9018701886      5/24/2012        12:16:37
75667      9018702465      11/4/2011        8:41:27
75668      9018703141      12/20/2011       19:37:23
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75669      9018705475      7/18/2012        18:32:51
75670      9018705525      5/1/2012         17:46:40
75671      9018713916      10/24/2012       15:16:30
75672      9018714307      7/15/2011        17:44:32
75673      9019073945      11/9/2011        8:31:06
75674      9019078821      11/26/2011       13:08:54
75675      9019211562      10/2/2012        8:35:27
75676      9019211688      6/19/2012        13:18:17
75677      9019211901      3/12/2012        16:52:43
75678      9019490750      9/10/2011        9:16:16
75679      9019491431      10/3/2011        8:17:09
75680      9019491431      1/6/2012         14:57:10
75681      9019491917      12/20/2011       19:37:26
75682      9019492933      5/21/2011        10:52:31
75683      9019493171      11/16/2011       9:56:30
75684      9019493291      1/6/2012         12:50:36
75685      9019493666      10/5/2011        14:18:45
75686      9019493745      4/4/2012         18:39:20
75687      9019493942      9/15/2011        8:33:40
75688      9019494954      9/28/2011        10:30:12
75689      9019495140      2/28/2012        15:53:20
75690      9019495335      9/29/2011        15:17:09
75691      9019496921      1/3/2012         10:26:29
75692      9019497219      9/21/2011        11:30:52
75693      9019497234      12/5/2011        18:12:18
75694      9019497282      11/2/2011        20:19:38
75695      9019497426      9/19/2011        8:07:57
75696      9019498864      1/5/2012         12:04:51
75697      9019499047      8/9/2012         14:11:56
75698      9032035759      3/5/2012         13:27:12
75699      9032046704      3/15/2012        19:07:39
75700      9032048082      2/13/2012        18:43:58
75701      9032048670      6/8/2012         16:57:03
75702      9032095552      1/14/2012        8:23:49
75703      9032098329      1/27/2012        18:02:28
75704      9032098558      12/26/2011       9:25:07
75705      9032098808      11/19/2011       8:27:09
75706      9032150983      2/21/2012        9:34:31
75707      9032150983      5/21/2012        8:16:21
75708      9032169295      6/2/2011         11:21:43
75709      9032175690      2/28/2012        16:05:39
75710      9032175690      9/21/2012        18:48:20
75711      9032178184      10/29/2011       11:46:17
75712      9032178889      1/7/2012         9:43:09
75713      9032179913      2/24/2012        20:54:30
75714      9032190096      4/7/2012         9:30:20
75715      9032191234      8/13/2012        20:53:53
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75716      9032201176      11/12/2011       9:29:39
75717      9032213789      10/29/2011       11:36:06
75718      9032276147      11/18/2011       13:33:28
75719      9032276823      1/23/2012        19:14:16
75720      9032278765      6/21/2012        10:16:56
75721      9032291024      12/21/2011       19:55:45
75722      9032291138      2/8/2012         13:01:15
75723      9032297766      6/25/2012        13:43:33
75724      9032298452      12/23/2011       16:00:44
75725      9032298912      1/18/2012        16:42:28
75726      9032299146      4/19/2012        14:44:36
75727      9032351323      10/25/2011       15:36:29
75728      9032355273      2/1/2012         8:11:42
75729      9032356523      10/1/2011        9:51:12
75730      9032356670      11/29/2011       15:04:46
75731      9032359939      9/30/2011        10:01:14
75732      9032359939      11/21/2011       8:25:00
75733      9032379296      6/7/2011         18:09:21
75734      9032384370      10/19/2012       10:01:23
75735      9032384795      7/20/2011        15:02:09
75736      9032387782      10/7/2011        8:12:02
75737      9032391623      12/26/2011       20:22:36
75738      9032401728      9/20/2011        16:44:28
75739      9032402034      7/9/2012         19:14:27
75740      9032407520      10/8/2011        11:46:18
75741      9032412026      6/10/2012        14:36:04
75742      9032412201      4/2/2012         17:36:03
75743      9032413471      11/26/2011       13:11:55
75744      9032413662      7/22/2011        13:45:09
75745      9032432124      1/2/2012         8:07:38
75746      9032434849      9/17/2011        9:36:41
75747      9032436580      2/21/2012        11:26:06
75748      9032440282      1/19/2012        8:11:39
75749      9032440972      12/27/2011       14:39:28
75750      9032441519      3/1/2014         15:10:16
75751      9032443205      12/5/2011        8:46:51
75752      9032445081      5/3/2012         8:12:49
75753      9032445724      4/26/2012        21:18:19
75754      9032449188      10/6/2011        16:50:00
75755      9032449355      10/27/2011       16:49:29
75756      9032449616      10/4/2011        13:53:22
75757      9032450806      5/3/2012         8:05:19
75758      9032450806      6/8/2012         8:08:42
75759      9032451428      7/22/2011        12:54:05
75760      9032454429      3/18/2011        9:32:56
75761      9032454460      9/14/2011        12:08:09
75762      9032455856      10/8/2012        20:04:33
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75763      9032456154      9/13/2012        15:21:32
75764      9032456494      10/14/2011       13:26:25
75765      9032458538      4/12/2012        17:59:08
75766      9032491359      9/15/2011        8:43:36
75767      9032493635      11/11/2011       13:21:17
75768      9032532961      10/13/2011       8:34:16
75769      9032533177      11/28/2011       17:02:40
75770      9032560046      9/25/2012        15:15:15
75771      9032575112      6/21/2012        18:51:59
75772      9032584391      9/12/2011        14:15:19
75773      9032584488      11/22/2011       19:33:48
75774      9032585466      1/8/2012         13:18:21
75775      9032613223      8/8/2012         8:16:51
75776      9032613223      8/21/2012        13:53:50
75777      9032613393      9/12/2012        15:11:30
75778      9032614982      5/16/2012        16:50:36
75779      9032615393      6/8/2012         8:08:00
75780      9032615604      4/13/2012        13:20:17
75781      9032624058      9/29/2011        15:19:23
75782      9032626291      3/14/2011        17:16:12
75783      9032626342      10/11/2012       18:40:49
75784      9032627698      11/22/2011       19:37:21
75785      9032627759      10/4/2011        13:17:02
75786      9032628560      10/4/2011        13:21:16
75787      9032628905      1/3/2012         19:44:09
75788      9032632168      9/19/2011        19:32:27
75789      9032632495      11/28/2011       12:14:33
75790      9032633047      8/13/2012        8:30:32
75791      9032633554      5/6/2012         18:11:08
75792      9032633653      10/22/2012       8:01:27
75793      9032634329      1/20/2012        11:46:43
75794      9032635113      4/30/2012        14:53:32
75795      9032635358      8/18/2012        8:59:49
75796      9032675204      7/18/2011        11:07:47
75797      9032677793      9/13/2011        13:33:45
75798      9032679342      12/8/2011        12:07:57
75799      9032681229      1/18/2012        10:09:29
75800      9032682993      6/27/2012        18:04:51
75801      9032683323      12/20/2011       15:03:36
75802      9032684354      12/24/2011       8:20:21
75803      9032686493      10/6/2011        16:52:02
75804      9032686850      1/9/2012         8:20:38
75805      9032710218      3/14/2012        14:21:05
75806      9032715449      9/19/2011        19:32:09
75807      9032715613      8/22/2012        11:14:31
75808      9032716305      11/17/2011       16:47:00
75809      9032745587      11/2/2013        15:49:54
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75810      9032747066      4/1/2012         16:11:11
75811      9032747066      9/10/2012        8:38:22
75812      9032749191      12/13/2011       17:57:10
75813      9032751399      12/27/2011       13:30:55
75814      9032753211      12/14/2011       13:13:22
75815      9032754709      9/22/2011        15:21:39
75816      9032754853      4/18/2011        19:44:54
75817      9032755150      10/18/2012       8:04:43
75818      9032756459      7/30/2012        18:38:15
75819      9032759440      9/12/2011        14:18:44
75820      9032760484      11/11/2011       20:24:46
75821      9032763058      10/10/2012       19:06:47
75822      9032763085      5/21/2012        8:25:06
75823      9032763319      7/13/2011        11:50:18
75824      9032764457      4/3/2012         20:10:52
75825      9032764708      10/4/2011        13:54:24
75826      9032765802      2/11/2012        15:45:54
75827      9032768074      9/15/2011        8:36:34
75828      9032768312      10/8/2012        20:06:17
75829      9032773239      10/15/2012       10:09:58
75830      9032774015      5/24/2012        20:06:40
75831      9032774015      6/20/2012        17:03:24
75832      9032775572      5/10/2012        13:29:28
75833      9032777883      10/5/2011        14:15:04
75834      9032777993      9/19/2011        19:31:05
75835      9032779357      1/10/2012        15:17:46
75836      9032780819      12/7/2011        14:15:57
75837      9032780819      12/29/2011       19:03:42
75838      9032781528      8/29/2012        20:21:13
75839      9032782827      11/5/2011        10:19:59
75840      9032783558      1/6/2012         14:57:25
75841      9032788194      3/31/2012        8:22:51
75842      9032788260      4/18/2011        19:50:36
75843      9032792462      9/28/2011        10:36:56
75844      9032792462      10/10/2011       12:00:37
75845      9032797895      11/21/2011       8:23:35
75846      9032803023      4/25/2012        16:14:01
75847      9032804172      3/21/2012        8:12:49
75848      9032831202      8/27/2011        12:04:02
75849      9032834656      12/20/2011       11:51:17
75850      9032834726      10/6/2011        17:43:08
75851      9032841595      9/8/2011         19:31:23
75852      9032850000      10/26/2011       12:18:17
75853      9032850772      3/23/2012        14:44:02
75854      9032853024      10/15/2012       16:12:44
75855      9032857555      5/14/2012        15:46:13
75856      9032873058      1/27/2012        17:46:26
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75857      9032882473      10/12/2011       8:09:41
75858      9032883170      9/8/2011         17:59:23
75859      9032883428      9/8/2011         18:56:33
75860      9032884977      1/12/2012        8:20:49
75861      9032885397      10/17/2012       18:31:30
75862      9032886093      2/16/2012        8:35:17
75863      9032886255      2/17/2012        18:22:38
75864      9032887006      9/15/2012        8:09:03
75865      9032888030      1/23/2012        19:01:21
75866      9032923628      10/2/2012        8:41:40
75867      9032926921      8/29/2012        11:13:38
75868      9032930084      5/16/2012        16:55:40
75869      9032930232      5/21/2012        8:55:17
75870      9032930232      5/21/2012        17:48:22
75871      9032931298      10/21/2011       12:38:11
75872      9032931298      1/18/2012        20:24:35
75873      9032931298      4/10/2012        15:48:57
75874      9032934100      8/3/2012         12:32:29
75875      9032936171      8/15/2012        12:27:27
75876      9032937722      3/29/2012        12:29:41
75877      9032938900      10/4/2011        13:54:37
75878      9033050623      2/2/2012         16:31:14
75879      9033050623      2/7/2012         20:23:39
75880      9033053562      5/1/2012         8:21:33
75881      9033053562      5/21/2012        8:18:43
75882      9033053578      11/3/2011        17:15:48
75883      9033054662      9/14/2011        12:36:38
75884      9033058487      3/27/2012        8:41:35
75885      9033058487      5/21/2012        8:17:24
75886      9033064259      9/28/2011        10:32:43
75887      9033064437      6/16/2012        15:16:39
75888      9033064444      11/15/2011       20:08:27
75889      9033064773      1/5/2012         14:07:33
75890      9033064773      1/13/2012        12:33:43
75891      9033067699      6/9/2012         10:36:14
75892      9033067699      7/16/2012        19:51:31
75893      9033121386      9/13/2012        15:16:54
75894      9033122948      5/14/2011        12:03:01
75895      9033122948      1/12/2012        14:31:14
75896      9033122948      1/30/2012        8:46:43
75897      9033125644      11/16/2011       8:28:34
75898      9033126893      10/8/2012        20:10:08
75899      9033129424      5/11/2012        18:36:04
75900      9033129997      4/22/2012        15:34:36
75901      9033158427      1/18/2012        16:42:41
75902      9033158780      4/26/2012        17:27:43
75903      9033161346      9/27/2012        8:39:16
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75904      9033161709      4/8/2011         18:56:08
75905      9033161709      7/19/2011        17:55:17
75906      9033169875      1/28/2012        9:46:34
75907      9033302403      11/22/2011       19:36:34
75908      9033303271      10/5/2012        12:38:50
75909      9033307257      9/29/2012        9:51:44
75910      9033311187      5/8/2012         17:26:20
75911      9033313640      2/13/2012        18:27:50
75912      9033317579      1/23/2012        8:30:12
75913      9033319074      10/8/2012        8:10:21
75914      9033319888      11/12/2011       10:39:39
75915      9033350511      1/19/2012        18:30:27
75916      9033356288      1/24/2012        17:04:12
75917      9033360372      11/9/2013        9:29:36
75918      9033376062      11/28/2011       11:23:06
75919      9033379152      5/12/2011        10:03:47
75920      9033382680      4/13/2012        20:38:37
75921      9033404815      11/25/2011       17:47:10
75922      9033405366      7/26/2011        9:48:41
75923      9033406167      5/21/2012        17:42:17
75924      9033406247      9/1/2012         9:27:22
75925      9033406328      9/27/2011        18:41:18
75926      9033407167      9/23/2011        11:46:57
75927      9033407167      10/11/2011       17:27:58
75928      9033407167      4/11/2012        20:19:22
75929      9033433963      12/6/2011        12:55:33
75930      9033436261      9/24/2012        18:55:10
75931      9033437458      3/15/2011        11:47:19
75932      9033439711      4/18/2011        19:45:43
75933      9033439734      12/20/2011       19:25:45
75934      9033439734      4/29/2012        17:28:29
75935      9033480050      2/14/2012        15:22:47
75936      9033481399      4/12/2012        12:35:03
75937      9033485315      10/5/2011        14:15:32
75938      9033486758      11/14/2011       14:44:36
75939      9033488730      4/13/2012        20:38:28
75940      9033521142      9/22/2011        16:07:53
75941      9033531155      10/23/2012       16:00:42
75942      9033534145      3/14/2012        14:09:04
75943      9033534988      9/19/2011        19:34:58
75944      9033537074      8/8/2012         16:07:35
75945      9033558042      12/6/2011        13:28:31
75946      9033579521      3/2/2012         19:01:08
75947      9033600797      1/20/2012        14:14:11
75948      9033607288      6/15/2012        8:44:37
75949      9033607898      8/8/2011         15:39:41
75950      9033608899      11/8/2011        14:35:20
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75951      9033634796      1/27/2012        9:36:52
75952      9033663677      10/15/2011       10:46:38
75953      9033712022      3/14/2012        19:34:17
75954      9033726492      6/18/2012        8:05:43
75955      9033726798      2/17/2012        18:21:39
75956      9033737817      5/8/2012         12:40:51
75957      9033752423      9/20/2012        20:58:05
75958      9033850056      10/21/2011       12:43:11
75959      9033869052      12/7/2011        13:30:47
75960      9033871069      11/14/2011       17:41:07
75961      9033871695      10/3/2011        8:07:46
75962      9033879047      2/3/2012         20:03:09
75963      9033880294      10/20/2011       15:38:38
75964      9033883501      5/24/2012        11:51:51
75965      9033886861      11/15/2011       15:35:08
75966      9033900068      2/15/2012        8:05:02
75967      9033900068      6/18/2012        8:04:22
75968      9033900620      9/19/2012        16:21:55
75969      9033902862      10/12/2012       17:20:27
75970      9033906576      4/11/2012        11:34:04
75971      9033907663      9/20/2011        18:28:30
75972      9033910399      2/2/2012         10:48:22
75973      9033911732      8/29/2012        11:01:56
75974      9033912126      5/22/2012        11:56:34
75975      9033912900      1/10/2012        15:33:50
75976      9033914021      5/27/2011        9:04:52
75977      9033918649      10/3/2011        8:11:05
75978      9033918649      12/27/2011       13:44:01
75979      9033919074      1/10/2012        18:08:43
75980      9033919363      12/3/2011        9:19:43
75981      9033921471      3/20/2012        9:31:06
75982      9033921778      12/5/2011        9:38:20
75983      9033931407      7/11/2012        17:26:15
75984      9033931661      2/3/2012         20:14:20
75985      9033940756      12/10/2011       13:19:44
75986      9033941700      12/27/2011       14:20:35
75987      9033944102      11/28/2011       11:24:06
75988      9033948709      12/7/2011        13:18:32
75989      9033991076      2/25/2012        10:39:21
75990      9033993151      10/15/2011       10:58:09
75991      9033993151      10/25/2011       15:26:55
75992      9033993151      1/23/2012        18:59:02
75993      9033996415      12/20/2011       19:25:08
75994      9034040573      10/12/2011       8:03:29
75995      9034071428      6/17/2012        12:27:04
75996      9034073486      10/12/2011       12:15:42
75997      9034078905      12/14/2011       13:01:15
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75998      9034132147      6/22/2012        8:54:44
75999      9034132355      9/21/2012        18:45:10
76000      9034136167      1/16/2012        17:15:31
76001      9034136417      9/16/2011        14:44:13
76002      9034212803      1/4/2012         11:04:52
76003      9034215530      10/7/2012        13:06:04
76004      9034216191      1/7/2012         8:34:46
76005      9034217481      7/6/2012         14:40:58
76006      9034221096      10/3/2011        8:07:21
76007      9034221234      10/1/2012        8:22:02
76008      9034225039      11/2/2011        14:14:32
76009      9034225132      2/9/2012         9:33:12
76010      9034226127      9/17/2012        8:36:49
76011      9034239806      10/11/2012       11:49:26
76012      9034241169      2/28/2012        7:48:35
76013      9034244247      5/23/2012        16:56:53
76014      9034244796      10/17/2012       12:52:57
76015      9034245928      9/27/2011        18:15:06
76016      9034248943      9/5/2012         15:23:14
76017      9034312410      5/21/2012        8:01:49
76018      9034312533      12/12/2011       12:24:04
76019      9034313798      2/29/2012        17:33:09
76020      9034313798      3/15/2012        19:09:16
76021      9034313798      5/21/2012        8:17:04
76022      9034315487      1/7/2012         9:40:37
76023      9034342509      10/17/2012       18:30:20
76024      9034346631      10/7/2011        8:15:09
76025      9034360673      1/12/2012        8:18:27
76026      9034361338      9/8/2011         18:11:35
76027      9034361732      8/16/2011        17:44:55
76028      9034361859      1/19/2012        18:31:31
76029      9034363812      9/12/2011        13:25:59
76030      9034364166      4/7/2012         9:37:39
76031      9034365344      12/20/2011       15:02:23
76032      9034386111      9/24/2011        9:17:50
76033      9034454148      6/18/2012        15:27:41
76034      9034458950      9/15/2012        8:22:40
76035      9034458989      6/21/2012        10:06:13
76036      9034490400      12/28/2011       11:09:36
76037      9034490400      1/27/2012        12:03:05
76038      9034490400      5/7/2012         21:38:23
76039      9034492598      8/1/2012         20:13:21
76040      9034497575      10/1/2011        10:35:43
76041      9034522210      1/16/2012        17:33:45
76042      9034523311      10/4/2011        13:51:41
76043      9034523311      11/4/2011        8:38:28
76044      9034524485      10/31/2011       8:44:13
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76045      9034524598      3/23/2012        14:45:21
76046      9034527701      5/21/2012        17:50:08
76047      9034528836      7/30/2012        13:19:52
76048      9034529255      9/8/2011         18:57:32
76049      9034565537      2/10/2012        9:24:37
76050      9034568775      1/13/2012        8:10:16
76051      9034580785      7/27/2011        17:30:20
76052      9034610852      3/15/2012        18:58:01
76053      9034610961      9/26/2012        8:07:02
76054      9034612225      5/28/2012        8:58:05
76055      9034612225      6/2/2012         12:45:32
76056      9034613928      5/22/2012        18:39:12
76057      9034618357      10/11/2012       18:42:32
76058      9034623012      4/26/2011        20:00:49
76059      9034664386      8/6/2011         9:23:45
76060      9034665592      2/3/2012         20:11:29
76061      9034665765      11/26/2011       11:53:31
76062      9034671023      11/21/2011       8:05:06
76063      9034674360      8/1/2012         8:35:35
76064      9034676671      11/3/2011        17:57:31
76065      9034679447      11/18/2011       12:56:29
76066      9034682043      11/14/2011       17:19:18
76067      9034682054      10/10/2011       12:41:28
76068      9034721051      11/17/2011       14:26:03
76069      9034743304      10/13/2011       8:26:25
76070      9034770607      6/26/2012        8:03:00
76071      9034770891      10/13/2011       8:27:13
76072      9034770942      9/8/2011         18:59:58
76073      9034774559      3/29/2011        16:23:07
76074      9034861187      3/13/2012        11:38:44
76075      9034861864      10/27/2011       15:59:02
76076      9034862459      12/7/2011        13:39:04
76077      9034864577      9/20/2011        16:52:28
76078      9034867264      12/15/2011       9:18:59
76079      9034878638      3/23/2012        14:25:03
76080      9034878651      1/31/2012        10:08:58
76081      9034900965      9/8/2012         11:50:32
76082      9034902306      12/24/2011       8:05:15
76083      9034902557      11/14/2011       16:57:58
76084      9034906611      3/4/2012         12:41:58
76085      9034909994      6/5/2012         17:57:37
76086      9034911665      10/5/2011        14:11:05
76087      9034911751      11/16/2011       20:04:32
76088      9034911840      6/25/2012        13:44:59
76089      9034930501      12/27/2011       14:20:02
76090      9034932107      5/21/2012        8:14:49
76091      9034933481      12/14/2011       12:54:17
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76092      9034933484      9/27/2011        18:14:25
76093      9034950801      9/27/2012        16:24:49
76094      9034952202      9/21/2011        12:00:46
76095      9034956131      8/21/2012        13:54:12
76096      9034970577      9/3/2012         14:53:35
76097      9034972650      3/7/2012         9:43:02
76098      9035044154      9/18/2012        14:27:38
76099      9035048902      9/28/2012        16:48:57
76100      9035061009      3/14/2012        19:45:29
76101      9035089783      5/1/2012         18:09:14
76102      9035170214      1/14/2012        8:23:07
76103      9035193629      1/10/2012        15:17:11
76104      9035206997      9/20/2011        16:46:08
76105      9035209195      3/28/2012        8:16:41
76106      9035209195      5/21/2012        8:17:28
76107      9035209195      9/26/2012        15:32:00
76108      9035216234      3/4/2012         12:36:17
76109      9035218486      5/22/2012        11:55:15
76110      9035218953      9/8/2011         19:52:13
76111      9035222722      9/19/2011        8:10:28
76112      9035300093      11/12/2011       10:36:50
76113      9035306232      8/23/2012        11:53:47
76114      9035394642      6/1/2011         12:14:09
76115      9035560262      1/10/2012        15:33:48
76116      9035562822      11/17/2011       16:49:56
76117      9035568676      11/18/2011       12:22:49
76118      9035568676      5/21/2012        8:14:21
76119      9035591336      2/6/2012         10:14:34
76120      9035630014      4/2/2012         8:56:07
76121      9035631226      9/22/2012        9:37:14
76122      9035631552      3/21/2012        13:52:36
76123      9035634975      10/29/2011       11:48:59
76124      9035634975      12/26/2011       9:32:29
76125      9035700497      3/8/2012         9:19:48
76126      9035705760      11/29/2011       16:19:33
76127      9035713198      12/20/2011       11:54:52
76128      9035713552      9/13/2011        17:53:07
76129      9035714079      5/13/2012        17:40:41
76130      9035717136      10/17/2011       8:30:20
76131      9035731406      3/15/2012        13:51:44
76132      9035747355      10/16/2012       20:29:42
76133      9035751338      3/2/2012         9:24:59
76134      9035757160      9/24/2012        12:54:23
76135      9035757160      10/5/2012        18:25:01
76136      9035760210      12/4/2011        11:54:59
76137      9035781352      10/1/2012        8:40:13
76138      9035867464      3/26/2012        18:42:06
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76139      9035886892      10/17/2011       8:36:27
76140      9036011828      9/8/2011         19:02:34
76141      9036012833      3/8/2012         20:33:08
76142      9036032557      7/11/2012        9:31:45
76143      9036034621      4/4/2012         8:11:55
76144      9036034661      11/12/2011       10:33:09
76145      9036171270      9/26/2011        9:29:13
76146      9036177972      2/6/2012         17:20:11
76147      9036243665      11/5/2011        10:02:16
76148      9036313249      2/6/2012         10:13:27
76149      9036319177      5/21/2012        17:41:01
76150      9036364254      3/19/2012        19:22:01
76151      9036403735      10/16/2012       20:32:48
76152      9036406418      10/1/2011        9:58:07
76153      9036415200      7/23/2011        12:47:52
76154      9036415200      3/1/2012         12:25:17
76155      9036460216      3/14/2012        14:46:54
76156      9036462311      8/25/2011        17:01:17
76157      9036462311      9/20/2011        16:47:55
76158      9036463280      7/12/2012        19:52:37
76159      9036471400      10/12/2011       8:20:51
76160      9036472377      10/15/2011       9:36:30
76161      9036472941      4/13/2012        20:44:24
76162      9036473793      4/15/2012        17:21:05
76163      9036504299      10/1/2012        8:38:51
76164      9036506024      6/28/2012        14:15:46
76165      9036506024      7/12/2012        19:53:55
76166      9036511000      11/8/2011        14:37:03
76167      9036513336      6/16/2012        8:39:48
76168      9036516619      1/17/2012        9:44:37
76169      9036587001      10/1/2011        10:49:43
76170      9036654297      12/30/2011       8:10:58
76171      9036813226      10/12/2011       12:13:43
76172      9036814663      7/30/2012        13:36:02
76173      9036896376      2/2/2012         16:30:40
76174      9036896376      2/10/2012        20:33:49
76175      9036896617      5/3/2012         8:05:11
76176      9036901229      8/9/2011         12:57:56
76177      9036918296      8/26/2011        18:26:19
76178      9036920768      4/16/2012        8:16:13
76179      9036920768      5/11/2012        18:12:07
76180      9037010375      1/4/2012         11:43:57
76181      9037010647      6/6/2012         8:21:09
76182      9037015460      1/12/2014        16:21:05
76183      9037016789      9/27/2011        15:31:07
76184      9037019361      8/23/2011        19:12:59
76185      9037055866      9/19/2011        19:15:40
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76186      9037058238      3/6/2012         13:24:57
76187      9037058352      7/9/2012         19:00:57
76188      9037058560      10/6/2011        16:53:31
76189      9037058560      10/20/2011       16:31:08
76190      9037059523      6/29/2012        17:44:13
76191      9037070316      8/30/2012        17:42:36
76192      9037074034      4/2/2012         17:32:44
76193      9037143842      6/21/2012        9:19:11
76194      9037145530      7/26/2011        9:50:53
76195      9037145555      1/23/2012        19:18:12
76196      9037148443      5/27/2012        14:02:37
76197      9037151409      11/14/2011       17:18:45
76198      9037152769      11/21/2011       8:04:04
76199      9037180493      11/16/2011       20:05:30
76200      9037204002      5/9/2012         8:46:52
76201      9037207319      11/30/2011       15:20:50
76202      9037207892      12/18/2011       17:43:18
76203      9037209772      7/21/2011        13:48:41
76204      9037213193      5/16/2012        8:04:50
76205      9037215688      8/10/2011        17:45:09
76206      9037223033      5/21/2012        17:42:18
76207      9037224389      8/30/2012        17:42:47
76208      9037231765      7/25/2013        20:32:25
76209      9037240978      7/14/2012        8:09:38
76210      9037241993      10/28/2011       14:15:57
76211      9037244268      5/19/2012        9:31:54
76212      9037245784      9/24/2012        19:12:17
76213      9037327470      7/16/2011        9:09:58
76214      9037328586      7/9/2012         8:51:02
76215      9037331694      1/24/2012        17:05:54
76216      9037332666      10/25/2011       15:31:39
76217      9037332666      11/19/2011       8:57:07
76218      9037332666      12/10/2011       12:19:53
76219      9037332666      12/27/2011       14:36:46
76220      9037336935      12/30/2011       16:55:22
76221      9037361246      1/7/2012         9:24:29
76222      9037367159      11/5/2011        9:59:33
76223      9037367655      8/13/2011        11:57:25
76224      9037381263      10/2/2012        8:35:56
76225      9037381680      11/16/2011       8:10:07
76226      9037387075      9/3/2012         14:35:29
76227      9037387382      9/20/2011        16:51:09
76228      9037389688      10/11/2011       16:22:04
76229      9037425119      2/4/2012         8:35:11
76230      9037429572      3/26/2011        10:57:20
76231      9037440370      8/8/2012         8:17:10
76232      9037442111      9/17/2011        9:45:40
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76233      9037442616      6/7/2012         18:33:54
76234      9037464302      2/20/2012        8:50:57
76235      9037464548      4/24/2012        11:57:04
76236      9037465469      9/26/2011        9:47:26
76237      9037469418      7/21/2011        14:13:24
76238      9037482616      1/11/2012        16:29:46
76239      9037482790      12/24/2011       8:04:36
76240      9037482790      1/9/2012         18:14:10
76241      9037483388      12/10/2011       13:33:56
76242      9037487375      12/21/2011       10:48:11
76243      9037527093      6/18/2012        15:26:59
76244      9037547202      8/14/2012        11:39:28
76245      9037547377      2/6/2012         10:09:23
76246      9037547377      4/16/2012        8:04:32
76247      9037718060      9/20/2011        18:21:59
76248      9037719431      11/16/2011       9:48:15
76249      9037719433      8/30/2012        9:47:43
76250      9037800911      1/27/2012        11:57:49
76251      9037802911      1/3/2012         11:09:39
76252      9037804155      11/4/2011        8:59:50
76253      9037804930      10/10/2011       12:40:53
76254      9037805464      10/10/2011       11:55:14
76255      9037805464      10/29/2011       11:45:46
76256      9037805464      5/14/2012        15:35:44
76257      9037805465      10/19/2011       12:16:35
76258      9037808676      12/26/2011       20:02:47
76259      9037900485      2/7/2012         8:03:27
76260      9037900683      1/6/2012         15:01:09
76261      9037902902      2/28/2012        16:04:10
76262      9037990627      1/4/2012         12:10:39
76263      9037998870      5/22/2012        18:41:02
76264      9038021090      9/21/2011        11:53:50
76265      9038022232      1/5/2012         12:03:31
76266      9038024131      3/12/2012        10:59:43
76267      9038029808      9/17/2011        9:41:10
76268      9038048322      4/29/2012        17:23:31
76269      9038053355      1/10/2012        12:35:43
76270      9038053461      3/16/2012        10:26:00
76271      9038059028      6/27/2012        12:02:21
76272      9038061479      7/20/2012        14:54:32
76273      9038061741      7/9/2011         8:53:24
76274      9038063394      2/7/2012         20:19:57
76275      9038064971      10/8/2011        11:43:09
76276      9038068995      1/13/2012        17:40:25
76277      9038069307      11/12/2011       9:35:54
76278      9038080614      9/27/2011        20:11:35
76279      9038083989      11/23/2011       9:47:04
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76280      9038083989      3/6/2012         17:21:15
76281      9038086158      3/25/2012        12:02:17
76282      9038086567      12/16/2011       16:19:22
76283      9038100161      6/17/2011        15:16:59
76284      9038120578      8/6/2011         9:23:23
76285      9038120578      1/9/2012         8:08:20
76286      9038122488      3/26/2012        18:44:57
76287      9038123127      1/3/2012         19:44:21
76288      9038158274      4/14/2012        9:24:24
76289      9038184081      9/9/2012         11:16:55
76290      9038184161      12/20/2011       19:37:39
76291      9038185302      11/26/2011       11:44:05
76292      9038186031      4/26/2012        11:35:25
76293      9038190722      12/17/2011       12:06:06
76294      9038193992      9/10/2012        8:44:26
76295      9038195311      12/23/2011       13:23:57
76296      9038196934      2/6/2012         17:16:39
76297      9038210757      8/18/2012        9:03:49
76298      9038210778      1/10/2012        15:17:37
76299      9038212726      10/10/2011       12:51:37
76300      9038214475      1/19/2012        17:45:34
76301      9038216457      12/26/2011       20:20:50
76302      9038240635      9/20/2011        20:32:59
76303      9038241350      12/1/2011        15:28:34
76304      9038243320      10/19/2011       8:06:27
76305      9038248375      8/20/2012        18:45:57
76306      9038260726      5/31/2012        8:04:37
76307      9038262353      6/12/2012        17:14:51
76308      9038263884      12/5/2011        9:35:32
76309      9038264187      3/15/2012        19:08:47
76310      9038300604      10/17/2011       8:14:54
76311      9038305251      12/20/2011       19:39:04
76312      9038418036      8/8/2011         15:40:57
76313      9038496871      1/18/2012        16:40:58
76314      9038510866      10/12/2012       17:15:25
76315      9038513391      7/28/2012        9:00:45
76316      9038513495      3/28/2012        8:17:18
76317      9038513899      9/14/2011        9:43:19
76318      9038515781      2/15/2012        8:14:35
76319      9038526300      9/29/2012        10:17:45
76320      9038708101      5/24/2012        11:50:29
76321      9038790138      9/23/2011        18:59:59
76322      9038790481      2/29/2012        17:33:32
76323      9038791944      11/30/2011       15:29:00
76324      9038791944      1/13/2012        12:30:04
76325      9038791944      5/3/2012         8:11:26
76326      9038807684      1/3/2012         11:18:37
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76327      9038808200      4/30/2012        17:33:54
76328      9038826656      10/11/2011       17:25:50
76329      9038900704      9/26/2012        14:36:36
76330      9039051514      10/25/2012       12:30:30
76331      9039059403      6/11/2012        17:33:21
76332      9039082245      11/18/2011       13:24:26
76333      9039083909      4/24/2012        12:10:05
76334      9039085735      1/13/2012        8:03:20
76335      9039109371      4/1/2012         17:08:27
76336      9039150076      7/16/2012        19:49:25
76337      9039160253      11/23/2011       10:37:12
76338      9039160517      10/16/2012       8:43:46
76339      9039171662      12/10/2011       12:25:46
76340      9039172039      6/15/2012        8:54:30
76341      9039172552      7/20/2011        13:55:00
76342      9039173385      9/20/2011        18:12:26
76343      9039175424      10/29/2011       11:37:38
76344      9039175491      9/20/2011        20:32:17
76345      9039180289      12/10/2011       13:39:19
76346      9039185393      6/5/2012         17:59:41
76347      9039202777      5/11/2012        18:33:56
76348      9039202804      9/27/2012        16:25:07
76349      9039203704      12/21/2011       9:59:29
76350      9039206084      1/17/2014        19:51:35
76351      9039260082      5/21/2011        10:57:25
76352      9039261177      5/25/2011        17:32:51
76353      9039262181      10/17/2012       18:31:54
76354      9039262424      10/17/2011       8:31:03
76355      9039262797      8/13/2011        10:26:08
76356      9039264606      2/14/2012        9:48:42
76357      9039269182      10/13/2011       8:25:59
76358      9039300237      2/9/2012         9:30:48
76359      9039300237      2/20/2012        8:47:58
76360      9039300817      9/21/2011        11:31:02
76361      9039301294      4/2/2012         17:17:45
76362      9039301409      2/17/2012        9:16:33
76363      9039304056      9/28/2012        16:44:23
76364      9039304897      7/19/2012        17:39:15
76365      9039313338      10/22/2011       13:12:04
76366      9039320809      5/13/2012        17:44:26
76367      9039328314      11/17/2011       15:41:38
76368      9039341672      9/22/2011        16:07:52
76369      9039382987      4/21/2012        8:12:12
76370      9039440048      9/20/2011        18:18:34
76371      9039442495      3/29/2012        16:45:47
76372      9039443400      12/29/2011       18:07:00
76373      9039443444      1/24/2012        17:23:09
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76374      9039446017      3/16/2012        11:24:01
76375      9039447035      10/20/2013       14:25:20
76376      9039460489      7/13/2012        14:02:01
76377      9039460633      9/21/2011        19:34:28
76378      9039464853      11/15/2011       15:37:47
76379      9039480795      12/20/2011       17:43:20
76380      9039481034      8/18/2012        8:42:34
76381      9039485786      2/6/2012         8:24:20
76382      9039485959      9/29/2011        15:49:07
76383      9039487759      11/9/2011        8:09:33
76384      9039487759      12/21/2011       10:28:44
76385      9039488872      5/25/2011        17:32:07
76386      9039489366      2/10/2012        9:24:46
76387      9039499075      3/12/2012        16:52:40
76388      9039525907      3/1/2012         8:38:22
76389      9039525933      3/19/2012        19:02:35
76390      9039529271      5/4/2012         20:55:25
76391      9039529271      5/21/2012        17:50:26
76392      9039529271      10/15/2012       16:22:44
76393      9039751455      8/6/2011         9:39:14
76394      9039751703      2/29/2012        17:33:27
76395      9039752282      1/16/2012        8:19:45
76396      9039840984      1/5/2012         17:28:42
76397      9039843846      1/7/2012         8:36:09
76398      9039853934      3/10/2012        8:36:13
76399      9039853939      3/7/2012         18:44:24
76400      9039870581      10/10/2011       12:44:17
76401      9039874585      9/9/2011         18:15:36
76402      9039879685      12/20/2011       12:10:51
76403      9042005532      11/5/2011        10:50:35
76404      9042005719      3/18/2012        12:26:51
76405      9042005821      6/1/2012         8:56:16
76406      9042010430      12/10/2011       14:39:46
76407      9042063712      2/11/2012        10:44:40
76408      9042071385      8/18/2012        8:52:11
76409      9042074375      10/11/2011       17:12:11
76410      9042078211      12/19/2011       7:38:18
76411      9042078460      1/23/2012        18:58:13
76412      9042088318      2/9/2012         7:13:36
76413      9042088945      3/17/2012        8:21:35
76414      9042145708      3/15/2012        7:10:12
76415      9042145708      3/21/2012        13:44:05
76416      9042145807      10/11/2012       18:43:43
76417      9042146407      8/15/2012        14:03:13
76418      9042195816      3/13/2012        7:08:15
76419      9042221100      5/8/2012         7:05:23
76420      9042224196      10/11/2012       7:54:13
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76421      9042261258      6/26/2012        8:00:23
76422      9042262301      9/11/2012        7:44:08
76423      9042264740      5/22/2012        18:18:54
76424      9042264943      11/19/2011       8:11:21
76425      9042264943      12/14/2011       17:58:12
76426      9042268196      10/24/2011       7:03:39
76427      9042268771      3/21/2012        13:48:59
76428      9042280288      9/19/2011        19:08:58
76429      9042282602      10/26/2011       12:45:08
76430      9042286667      4/11/2012        7:12:22
76431      9042288485      1/24/2012        17:11:17
76432      9042294241      6/1/2012         9:09:45
76433      9042294518      8/25/2012        11:03:48
76434      9042330567      9/14/2012        7:02:43
76435      9042333064      5/25/2012        8:16:46
76436      9042334961      3/13/2012        11:01:55
76437      9042336163      10/22/2012       17:54:28
76438      9042338815      1/12/2012        7:24:32
76439      9042340223      3/10/2012        8:29:49
76440      9042340223      4/18/2012        17:57:12
76441      9042340223      9/21/2012        18:58:09
76442      9042342111      4/23/2012        7:18:58
76443      9042342336      3/14/2012        19:39:57
76444      9042343677      1/7/2012         10:20:12
76445      9042345062      9/13/2011        17:45:47
76446      9042345449      12/10/2011       14:35:26
76447      9042345505      8/2/2012         19:12:13
76448      9042345558      8/1/2012         8:32:24
76449      9042346620      5/5/2012         8:27:21
76450      9042348041      11/29/2011       16:06:03
76451      9042353363      12/7/2011        15:12:28
76452      9042367054      1/10/2012        15:27:58
76453      9042367822      10/24/2012       14:44:14
76454      9042369594      7/30/2012        18:35:54
76455      9042369594      8/13/2012        7:32:41
76456      9042374044      2/16/2012        7:03:50
76457      9042378820      5/23/2012        15:26:53
76458      9042379672      5/15/2012        18:59:58
76459      9042382047      9/17/2011        10:12:12
76460      9042388429      12/17/2011       11:28:55
76461      9042402374      1/24/2012        9:57:13
76462      9042405818      10/14/2011       12:51:36
76463      9042406394      9/21/2011        19:32:22
76464      9042409023      6/4/2011         10:12:46
76465      9042480175      10/10/2011       12:25:27
76466      9042480894      5/23/2012        15:12:02
76467      9042481909      10/17/2012       18:27:34
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76468      9042504683      6/30/2012        8:07:21
76469      9042506287      5/6/2012         17:20:55
76470      9042523556      3/2/2012         18:54:22
76471      9042540126      1/12/2012        7:01:07
76472      9042541002      10/5/2011        14:05:26
76473      9042541680      10/4/2011        13:08:40
76474      9042546638      3/26/2012        7:16:31
76475      9042780720      11/5/2011        9:39:44
76476      9042881413      1/16/2012        7:24:46
76477      9042900348      8/29/2012        11:19:10
76478      9042940294      9/26/2012        15:17:00
76479      9042941311      11/3/2011        17:07:13
76480      9042946476      2/25/2012        17:11:01
76481      9042947297      6/27/2012        17:52:10
76482      9042948081      10/15/2011       10:15:27
76483      9042948835      5/11/2012        18:06:55
76484      9043020081      11/22/2011       19:24:57
76485      9043020735      11/29/2011       16:16:33
76486      9043033434      2/16/2012        7:27:11
76487      9043034779      6/23/2012        16:24:08
76488      9043040408      6/24/2012        11:29:44
76489      9043040408      6/29/2012        9:32:01
76490      9043045704      2/16/2012        7:19:17
76491      9043046458      1/5/2012         11:59:17
76492      9043056306      9/13/2012        7:33:57
76493      9043056629      12/29/2011       14:55:33
76494      9043058501      10/6/2012        8:37:10
76495      9043066776      10/14/2011       13:17:15
76496      9043071415      10/6/2011        16:31:39
76497      9043079470      6/15/2012        16:35:47
76498      9043121853      9/20/2011        16:31:35
76499      9043122600      2/2/2012         18:49:31
76500      9043128213      4/1/2012         16:29:18
76501      9043128213      4/12/2012        18:03:35
76502      9043128810      10/22/2011       12:26:34
76503      9043146758      10/10/2012       12:32:09
76504      9043149421      6/29/2011        17:27:08
76505      9043153906      6/29/2012        17:39:30
76506      9043158080      10/29/2011       10:35:54
76507      9043158080      11/17/2011       16:15:18
76508      9043160917      12/23/2011       14:53:06
76509      9043163796      11/15/2011       15:17:09
76510      9043165784      12/3/2011        9:07:15
76511      9043165888      3/14/2012        7:02:26
76512      9043168139      11/28/2011       11:45:42
76513      9043168720      10/15/2011       10:24:00
76514      9043180270      9/3/2011         10:47:46
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76515      9043181711      10/10/2011       12:19:54
76516      9043181711      1/10/2012        17:34:58
76517      9043183775      2/20/2012        17:04:47
76518      9043189568      9/28/2012        7:39:47
76519      9043189769      7/28/2013        14:57:04
76520      9043222952      12/9/2011        8:16:19
76521      9043226137      9/19/2011        7:16:36
76522      9043229504      10/26/2011       12:44:02
76523      9043250712      4/2/2012         7:06:51
76524      9043251437      7/19/2011        16:31:22
76525      9043252348      9/8/2011         17:50:03
76526      9043258142      12/9/2011        7:53:58
76527      9043274566      5/14/2012        15:46:17
76528      9043274566      5/24/2012        20:06:11
76529      9043285900      9/28/2013        12:30:16
76530      9043295711      9/19/2011        19:23:36
76531      9043296883      3/15/2012        7:09:25
76532      9043334134      10/15/2011       9:17:20
76533      9043336948      2/11/2012        11:03:07
76534      9043343791      12/10/2011       12:38:45
76535      9043344930      7/30/2011        8:34:30
76536      9043344930      11/14/2011       17:05:37
76537      9043346193      1/19/2012        18:34:40
76538      9043351308      11/29/2011       15:25:26
76539      9043351371      2/11/2012        15:08:32
76540      9043382135      6/13/2012        19:59:56
76541      9043388998      10/21/2011       13:15:09
76542      9043432227      7/13/2011        12:02:52
76543      9043432991      4/9/2012         7:05:34
76544      9043432991      4/13/2012        13:12:42
76545      9043434298      3/28/2012        18:21:03
76546      9043434962      2/13/2012        7:20:16
76547      9043436797      1/9/2012         7:01:36
76548      9043437244      1/30/2012        7:20:06
76549      9043438334      10/26/2011       12:52:04
76550      9043439361      10/27/2011       15:12:35
76551      9043473315      10/5/2011        14:06:27
76552      9043476497      11/2/2011        7:12:33
76553      9043479959      9/5/2012         7:17:20
76554      9043497809      10/17/2012       9:37:50
76555      9043520964      11/17/2011       13:31:00
76556      9043618373      10/2/2012        7:33:17
76557      9043643136      10/14/2011       13:11:16
76558      9043646113      4/25/2012        15:53:18
76559      9043646715      1/16/2012        17:26:09
76560      9043646971      7/23/2011        12:30:13
76561      9043648382      11/10/2011       7:12:54
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76562      9043651143      10/10/2011       11:44:26
76563      9043651143      11/23/2011       14:52:44
76564      9043709812      6/9/2012         14:53:32
76565      9043709989      8/13/2012        7:41:12
76566      9043734163      9/29/2011        15:36:18
76567      9043735006      1/13/2012        17:11:35
76568      9043760519      4/12/2012        18:02:28
76569      9043769652      6/20/2012        16:50:30
76570      9043772129      11/21/2011       7:27:31
76571      9043777556      1/8/2012         12:58:47
76572      9043777864      4/13/2012        13:17:54
76573      9043779136      9/27/2011        18:53:17
76574      9043801189      5/3/2012         7:07:20
76575      9043801189      5/21/2012        7:32:23
76576      9043821689      5/16/2012        16:54:45
76577      9043822778      10/1/2011        10:19:14
76578      9043822778      11/12/2011       9:56:33
76579      9043822778      12/20/2011       17:50:08
76580      9043823440      11/11/2011       7:54:28
76581      9043826566      10/5/2011        14:06:14
76582      9043828326      9/8/2011         18:42:34
76583      9043829508      7/3/2012         12:56:27
76584      9043832048      10/6/2011        17:29:10
76585      9043838546      2/25/2012        10:54:04
76586      9043839648      8/10/2011        7:08:39
76587      9043860986      2/14/2012        9:59:34
76588      9043861676      5/10/2012        14:53:47
76589      9043861676      5/21/2012        7:06:58
76590      9043868561      7/12/2012        19:57:42
76591      9043891138      5/22/2012        18:26:06
76592      9043922129      3/2/2012         7:11:26
76593      9043923848      2/17/2012        18:16:17
76594      9044008803      9/22/2011        15:43:25
76595      9044010338      9/21/2012        16:17:15
76596      9044011746      12/26/2011       8:58:57
76597      9044030055      7/11/2011        7:20:34
76598      9044033186      12/23/2011       15:45:57
76599      9044033758      1/18/2012        16:37:03
76600      9044046435      1/9/2012         18:04:53
76601      9044052014      3/29/2012        11:13:14
76602      9044052039      5/20/2012        15:23:43
76603      9044052886      6/16/2012        7:39:27
76604      9044052893      7/2/2011         9:03:54
76605      9044053065      1/4/2012         10:57:41
76606      9044053499      12/10/2011       12:08:55
76607      9044054657      3/23/2012        19:12:31
76608      9044055958      2/16/2012        7:24:01
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76609      9044058060      7/23/2012        13:21:07
76610      9044058592      1/6/2012         15:55:43
76611      9044058834      4/16/2012        16:02:38
76612      9044081751      10/5/2011        15:01:08
76613      9044082232      9/13/2011        17:18:59
76614      9044082582      9/24/2012        18:52:45
76615      9044125350      9/20/2012        20:57:45
76616      9044132074      12/31/2011       11:56:15
76617      9044140460      6/28/2012        14:26:17
76618      9044141907      3/27/2012        15:10:30
76619      9044151668      11/21/2011       7:31:49
76620      9044151668      12/20/2011       19:30:51
76621      9044157009      6/22/2012        7:07:35
76622      9044157044      5/10/2012        14:44:40
76623      9044157342      3/23/2012        19:45:07
76624      9044157817      10/5/2011        13:59:20
76625      9044165496      9/17/2012        8:33:35
76626      9044180325      5/3/2012         7:04:47
76627      9044182991      11/23/2011       9:57:22
76628      9044182991      12/23/2011       15:25:06
76629      9044184212      12/15/2013       12:16:00
76630      9044223553      10/15/2011       8:38:02
76631      9044224494      9/10/2011        8:48:47
76632      9044227676      3/16/2012        15:58:11
76633      9044240835      6/28/2012        17:42:18
76634      9044246844      5/23/2012        16:24:36
76635      9044284217      12/10/2011       12:03:26
76636      9044307309      10/15/2011       9:53:18
76637      9044341450      11/18/2011       12:36:09
76638      9044341460      1/27/2012        17:57:15
76639      9044342403      11/1/2011        8:26:07
76640      9044370319      3/29/2012        11:27:13
76641      9044371420      9/19/2011        19:02:27
76642      9044371754      12/17/2011       11:54:58
76643      9044371813      5/8/2012         9:18:06
76644      9044371914      10/2/2012        12:53:48
76645      9044380668      4/23/2012        7:25:02
76646      9044424765      1/18/2012        16:47:38
76647      9044440250      3/21/2012        13:46:01
76648      9044441522      1/29/2012        16:23:50
76649      9044442614      10/17/2012       18:28:36
76650      9044443606      10/11/2011       15:51:36
76651      9044443624      1/5/2012         17:26:20
76652      9044443642      10/20/2012       16:19:18
76653      9044444006      5/26/2012        14:30:23
76654      9044444602      4/24/2012        12:24:01
76655      9044444806      5/31/2012        14:57:22
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76656      9044445624      11/14/2011       16:39:37
76657      9044447171      12/29/2011       10:56:39
76658      9044447495      9/28/2012        16:37:12
76659      9044449599      10/8/2011        11:03:32
76660      9044449599      11/17/2011       16:15:10
76661      9044458054      9/19/2011        19:27:58
76662      9044458995      10/8/2011        9:44:17
76663      9044458995      11/30/2011       7:16:15
76664      9044460778      12/5/2011        8:29:49
76665      9044465768      11/9/2011        7:40:31
76666      9044467665      11/5/2011        11:17:03
76667      9044502197      10/3/2012        19:47:24
76668      9044502328      6/27/2012        17:58:07
76669      9044502990      10/6/2012        8:32:14
76670      9044512139      5/25/2012        17:15:53
76671      9044513565      9/17/2011        9:27:03
76672      9044516704      8/8/2012         16:05:30
76673      9044606011      6/9/2012         14:54:43
76674      9044630668      4/23/2011        10:06:54
76675      9044709505      9/26/2011        8:10:20
76676      9044723518      12/9/2011        16:00:59
76677      9044723830      11/28/2011       11:49:18
76678      9044726918      9/24/2011        9:04:11
76679      9044726981      11/1/2011        8:05:48
76680      9044762042      10/26/2011       12:47:11
76681      9044762487      11/2/2011        14:24:06
76682      9044762767      5/18/2012        15:51:49
76683      9044763916      9/18/2012        14:25:51
76684      9044765390      1/16/2012        17:10:43
76685      9044769615      1/8/2012         12:51:23
76686      9044775100      4/11/2012        19:34:18
76687      9044825292      10/7/2012        12:59:45
76688      9044827120      1/23/2012        7:12:20
76689      9044830025      3/10/2012        8:47:51
76690      9044830682      11/21/2011       7:34:30
76691      9044852040      2/29/2012        7:17:35
76692      9044853435      10/10/2012       19:09:10
76693      9044860419      7/10/2012        7:33:05
76694      9044879548      11/28/2011       11:12:39
76695      9044954259      9/25/2012        15:00:51
76696      9044971929      3/12/2012        19:17:34
76697      9044973562      9/5/2012         7:16:12
76698      9045013579      10/23/2012       16:06:50
76699      9045014790      9/13/2011        17:18:11
76700      9045019545      11/19/2011       8:02:10
76701      9045024198      1/4/2012         11:12:13
76702      9045028695      9/12/2012        7:47:34
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76703      9045048182      6/5/2012         17:53:49
76704      9045050585      9/25/2012        15:01:00
76705      9045054331      9/22/2011        15:45:10
76706      9045055650      7/18/2011        10:44:22
76707      9045058828      11/23/2011       14:59:03
76708      9045073698      7/23/2012        15:26:28
76709      9045085809      9/26/2012        15:24:05
76710      9045090930      5/23/2012        15:10:54
76711      9045146110      6/9/2012         10:28:22
76712      9045146110      8/25/2012        11:01:42
76713      9045146553      10/26/2011       12:37:12
76714      9045146871      3/3/2012         8:37:38
76715      9045146956      1/4/2012         11:13:41
76716      9045147355      3/7/2012         18:40:42
76717      9045148166      5/17/2012        7:14:14
76718      9045149329      10/2/2012        12:50:08
76719      9045170013      4/10/2012        15:33:51
76720      9045170098      10/15/2012       10:18:02
76721      9045170275      9/1/2012         8:46:03
76722      9045174437      3/28/2012        18:10:24
76723      9045176180      10/7/2011        7:21:47
76724      9045200434      10/25/2012       12:10:24
76725      9045200468      7/17/2012        7:07:18
76726      9045200705      7/24/2012        7:32:02
76727      9045202810      4/6/2012         16:04:22
76728      9045203814      2/13/2012        18:39:15
76729      9045208054      10/25/2012       12:21:06
76730      9045208990      2/2/2012         11:37:41
76731      9045209068      11/29/2011       15:20:34
76732      9045210289      12/1/2011        15:38:24
76733      9045211458      12/30/2011       12:49:14
76734      9045216456      9/7/2013         16:46:29
76735      9045218485      8/9/2011         13:39:16
76736      9045240156      5/3/2012         7:22:36
76737      9045247787      9/16/2012        17:14:08
76738      9045250276      5/14/2012        7:16:20
76739      9045250629      12/20/2011       7:08:41
76740      9045251102      8/2/2012         18:55:42
76741      9045251700      10/8/2011        11:12:44
76742      9045253371      5/4/2012         14:32:30
76743      9045253414      9/24/2012        12:49:06
76744      9045255030      11/30/2011       7:22:06
76745      9045255794      1/11/2012        16:19:04
76746      9045257228      6/15/2012        8:57:49
76747      9045259369      5/23/2012        16:55:57
76748      9045340245      1/23/2012        7:02:29
76749      9045345898      11/17/2011       15:05:49
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76750      9045345898      12/19/2011       7:20:37
76751      9045347060      4/12/2012        18:05:45
76752      9045347549      1/16/2012        7:13:07
76753      9045348279      9/24/2011        9:07:19
76754      9045362548      8/4/2012         7:29:55
76755      9045363689      11/30/2011       7:08:13
76756      9045367134      12/7/2011        14:03:13
76757      9045374967      9/19/2011        19:04:24
76758      9045378050      11/26/2011       11:21:17
76759      9045401045      1/12/2012        7:08:44
76760      9045404315      4/17/2012        9:20:44
76761      9045405348      6/29/2012        9:44:57
76762      9045407180      1/13/2012        17:25:55
76763      9045407749      2/11/2012        10:58:26
76764      9045408851      2/27/2014        7:03:05
76765      9045450517      1/9/2012         18:38:00
76766      9045487650      4/6/2012         16:13:31
76767      9045530481      9/19/2011        7:33:10
76768      9045530481      10/3/2011        7:52:02
76769      9045530951      12/22/2011       9:37:04
76770      9045530951      1/10/2012        15:16:09
76771      9045530951      4/5/2012         16:04:16
76772      9045531858      10/15/2011       9:00:41
76773      9045535073      9/8/2011         19:44:03
76774      9045539825      9/27/2011        18:32:03
76775      9045540364      12/5/2011        9:08:07
76776      9045540466      4/12/2012        18:02:17
76777      9045540714      3/23/2012        14:53:40
76778      9045542104      4/20/2012        14:01:54
76779      9045542592      10/16/2012       7:30:38
76780      9045544333      2/4/2012         8:06:18
76781      9045544333      6/27/2012        17:57:07
76782      9045545309      11/22/2011       19:25:40
76783      9045546105      11/4/2011        7:14:15
76784      9045546226      12/7/2011        14:42:54
76785      9045548677      4/24/2012        12:01:51
76786      9045562740      8/20/2012        7:49:50
76787      9045562740      9/28/2012        16:36:20
76788      9045564359      7/7/2012         10:18:43
76789      9045566655      6/9/2012         14:57:47
76790      9045629790      8/23/2011        18:43:02
76791      9045629790      12/9/2011        13:23:27
76792      9045629790      1/9/2012         18:25:56
76793      9045634565      11/1/2011        8:15:15
76794      9045637854      11/17/2011       13:32:30
76795      9045661580      1/29/2012        16:22:49
76796      9045662365      7/2/2012         15:16:19
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76797      9045662676      9/8/2011         19:42:26
76798      9045664123      9/20/2011        16:44:01
76799      9045680796      11/16/2011       9:09:42
76800      9045717505      6/7/2012         7:08:12
76801      9045763520      10/2/2012        12:48:54
76802      9045765327      1/19/2012        7:43:12
76803      9045832227      12/7/2011        14:54:04
76804      9045834111      10/19/2013       8:29:59
76805      9045835244      10/13/2011       7:19:35
76806      9045835262      2/16/2012        7:02:21
76807      9045891801      11/17/2011       16:51:09
76808      9045897247      2/6/2012         7:23:25
76809      9045898471      4/11/2012        10:50:31
76810      9045910646      2/26/2012        13:18:16
76811      9045912005      9/21/2011        19:32:11
76812      9045918771      9/10/2012        7:33:20
76813      9045919083      9/10/2011        8:30:06
76814      9045990085      11/8/2011        14:48:52
76815      9045991035      10/18/2012       7:04:46
76816      9045998575      8/18/2011        7:45:00
76817      9046002536      7/7/2012         9:57:46
76818      9046002682      10/23/2012       10:46:12
76819      9046074268      10/31/2011       7:25:05
76820      9046075103      3/31/2012        8:08:56
76821      9046080584      10/1/2012        8:21:53
76822      9046085646      2/4/2012         8:32:20
76823      9046085646      5/31/2012        7:12:58
76824      9046088081      5/3/2012         7:17:03
76825      9046089548      8/18/2011        8:16:08
76826      9046100830      10/26/2011       11:53:13
76827      9046101402      11/17/2011       15:10:35
76828      9046102471      5/17/2012        7:09:01
76829      9046121097      10/6/2012        8:43:53
76830      9046126644      3/12/2012        19:05:52
76831      9046131977      1/9/2012         18:08:44
76832      9046131977      3/21/2012        13:36:17
76833      9046133222      4/21/2011        8:28:16
76834      9046136254      11/5/2011        9:58:15
76835      9046141040      3/27/2012        14:52:49
76836      9046147495      2/24/2011        11:38:46
76837      9046161186      10/22/2011       12:55:37
76838      9046161229      4/7/2012         9:01:38
76839      9046163034      8/23/2011        19:01:42
76840      9046226820      10/5/2011        14:26:09
76841      9046227131      10/18/2011       11:59:53
76842      9046245268      9/26/2011        8:10:25
76843      9046250305      1/17/2012        17:24:15
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76844      9046251064      3/28/2012        12:37:37
76845      9046251373      9/14/2011        7:05:51
76846      9046251376      8/13/2011        9:53:40
76847      9046252085      10/26/2011       11:51:04
76848      9046256372      9/21/2012        18:47:20
76849      9046257074      10/11/2011       15:50:08
76850      9046257074      10/27/2011       15:09:30
76851      9046257074      12/1/2011        15:16:22
76852      9046268985      9/19/2011        7:25:21
76853      9046268985      3/12/2012        19:35:34
76854      9046276486      5/16/2012        7:12:52
76855      9046293282      9/13/2011        14:59:09
76856      9046296300      9/30/2012        15:11:54
76857      9046310224      1/9/2012         7:05:54
76858      9046312105      9/28/2011        10:08:07
76859      9046317159      3/16/2012        15:58:36
76860      9046319858      7/27/2012        15:38:50
76861      9046351128      5/21/2012        8:49:11
76862      9046352820      4/2/2012         7:16:00
76863      9046358163      9/27/2012        16:35:01
76864      9046358618      9/10/2011        8:48:59
76865      9046470063      6/6/2012         13:05:40
76866      9046511505      8/28/2012        7:26:59
76867      9046516184      3/15/2012        19:28:02
76868      9046517822      9/23/2011        18:56:45
76869      9046524242      9/20/2011        16:38:04
76870      9046552586      11/28/2011       17:42:44
76871      9046620420      7/18/2012        7:08:26
76872      9046692029      1/9/2012         7:17:28
76873      9046696161      12/22/2011       9:31:15
76874      9046720358      11/9/2011        7:43:16
76875      9046725389      12/5/2011        18:05:57
76876      9046726105      9/24/2011        9:41:26
76877      9046734941      10/5/2011        14:27:50
76878      9046744494      5/23/2012        16:40:45
76879      9046744939      1/2/2012         7:22:06
76880      9046747066      9/9/2011         7:26:11
76881      9046864224      7/19/2011        16:18:07
76882      9046877653      1/7/2012         8:40:32
76883      9046877654      10/6/2011        17:16:03
76884      9046996013      6/20/2012        7:50:59
76885      9046997322      2/28/2012        15:49:20
76886      9046998739      12/28/2011       7:27:45
76887      9047031059      3/11/2012        14:59:55
76888      9047034674      2/26/2012        13:15:56
76889      9047034817      11/3/2011        17:43:55
76890      9047035322      5/26/2012        14:20:28
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76891      9047047673      10/11/2011       15:53:19
76892      9047052998      5/11/2012        7:03:19
76893      9047057118      10/7/2011        7:03:42
76894      9047071874      10/5/2012        18:32:02
76895      9047083542      1/3/2012         19:41:25
76896      9047107473      11/21/2011       7:20:40
76897      9047108387      7/3/2012         7:10:54
76898      9047108595      6/18/2012        10:42:13
76899      9047108595      6/22/2012        21:02:01
76900      9047108985      9/8/2011         18:35:57
76901      9047133323      3/15/2012        19:04:54
76902      9047133924      10/29/2011       10:32:41
76903      9047137847      3/1/2012         8:32:53
76904      9047145208      10/4/2011        13:41:20
76905      9047183719      5/17/2012        16:33:19
76906      9047320170      7/14/2012        8:17:39
76907      9047380917      3/21/2012        13:42:58
76908      9047383735      10/18/2012       7:07:13
76909      9047421419      9/24/2011        9:36:47
76910      9047421419      10/25/2011       15:04:08
76911      9047421419      2/14/2012        15:21:15
76912      9047422419      4/2/2012         16:55:56
76913      9047426230      8/29/2012        11:09:09
76914      9047530500      2/13/2012        18:27:28
76915      9047534558      8/13/2012        7:40:12
76916      9047551617      9/24/2011        9:02:54
76917      9047552549      11/5/2011        11:04:15
76918      9047554142      7/10/2012        7:27:52
76919      9047555357      9/7/2011         14:38:19
76920      9047555599      6/18/2012        15:09:14
76921      9047556668      3/16/2012        16:15:25
76922      9047591374      11/11/2011       7:55:51
76923      9047623509      11/14/2011       16:15:42
76924      9047623509      11/18/2011       13:27:37
76925      9047653399      9/28/2013        12:27:52
76926      9047699022      7/9/2012         7:13:11
76927      9047699236      4/1/2012         16:05:37
76928      9047786235      11/16/2011       7:47:35
76929      9047909985      5/23/2012        16:24:03
76930      9047967022      9/22/2011        15:44:07
76931      9048032178      9/24/2012        13:04:05
76932      9048033406      9/13/2011        17:42:38
76933      9048033619      1/4/2012         11:18:59
76934      9048036283      2/17/2012        18:18:32
76935      9048036449      11/10/2011       7:12:45
76936      9048066770      10/1/2011        10:22:16
76937      9048133309      9/28/2011        10:04:21
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76938      9048136913      10/19/2011       7:59:15
76939      9048141282      5/1/2012         17:53:35
76940      9048149551      8/28/2012        7:26:15
76941      9048289437      7/30/2012        13:12:22
76942      9048289839      3/25/2012        11:55:47
76943      9048386782      8/6/2011         8:17:41
76944      9048591963      11/12/2011       10:00:26
76945      9048592689      2/10/2012        7:12:41
76946      9048594102      3/28/2012        18:11:16
76947      9048596426      11/28/2011       16:35:21
76948      9048597438      3/12/2012        7:13:05
76949      9048614158      10/5/2012        18:21:17
76950      9048634571      12/18/2011       17:08:06
76951      9048663009      7/31/2012        7:09:34
76952      9048665977      12/5/2011        8:54:14
76953      9048667739      10/13/2011       7:30:11
76954      9048668053      9/28/2012        7:40:43
76955      9048669277      9/10/2012        7:33:47
76956      9048669613      11/2/2011        7:27:57
76957      9048682020      2/13/2012        7:06:26
76958      9048686224      1/30/2012        7:15:34
76959      9048740523      10/13/2011       8:38:51
76960      9048742297      5/27/2011        8:55:18
76961      9048803116      9/15/2011        7:20:58
76962      9048812956      6/18/2012        7:48:24
76963      9048813036      5/14/2012        15:30:02
76964      9048813177      5/12/2012        8:40:35
76965      9048815030      5/23/2012        14:41:53
76966      9048816152      8/10/2012        7:31:06
76967      9048817766      11/26/2011       11:12:13
76968      9048850877      2/9/2012         7:07:20
76969      9048851639      8/16/2011        17:42:34
76970      9048856489      3/13/2012        16:52:30
76971      9048856801      12/7/2011        13:26:40
76972      9048858686      9/28/2012        16:48:22
76973      9048870088      4/2/2012         7:07:40
76974      9048870329      9/26/2012        8:09:07
76975      9048872880      1/18/2012        10:08:19
76976      9048873298      9/10/2012        7:42:45
76977      9048873653      10/5/2011        14:27:14
76978      9048876096      9/19/2011        19:24:48
76979      9048876471      9/21/2011        11:50:44
76980      9048879773      12/12/2011       16:35:01
76981      9048910215      9/13/2011        17:43:33
76982      9048910586      10/4/2011        13:36:15
76983      9048912762      5/16/2012        16:48:58
76984      9048914986      5/23/2012        15:14:41
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76985      9048943067      11/22/2011       19:03:43
76986      9048943171      5/6/2011         15:35:59
76987      9048945354      1/12/2012        7:02:21
76988      9048946377      8/11/2011        8:54:13
76989      9048992818      12/24/2011       7:04:11
76990      9048993755      4/29/2012        18:18:10
76991      9048993755      4/30/2012        14:32:35
76992      9049104651      7/19/2012        17:36:50
76993      9049238532      11/14/2011       16:07:19
76994      9049238532      1/14/2012        13:19:23
76995      9049239664      2/3/2012         7:11:48
76996      9049244344      1/26/2012        7:18:21
76997      9049244344      6/15/2012        16:40:12
76998      9049244690      10/9/2012        19:58:56
76999      9049244952      9/20/2011        17:36:52
77000      9049452222      11/21/2011       7:06:34
77001      9049452222      3/22/2012        14:16:55
77002      9049454228      4/5/2012         15:44:20
77003      9049555217      12/21/2011       10:13:11
77004      9049559590      5/3/2012         7:19:16
77005      9049621353      10/26/2011       12:00:21
77006      9049625256      12/10/2011       12:58:55
77007      9049821138      2/28/2012        13:25:28
77008      9049821993      9/14/2011        16:14:25
77009      9049930518      12/7/2011        14:00:26
77010      9049930973      9/23/2011        18:55:55
77011      9049932155      3/26/2012        7:07:40
77012      9049941947      5/22/2012        18:33:12
77013      9049942903      11/8/2011        13:47:58
77014      9062031112      10/12/2012       16:50:24
77015      9062214370      9/15/2012        8:20:11
77016      9062359689      8/1/2012         8:30:57
77017      9062364116      3/15/2012        13:47:34
77018      9062416676      7/7/2012         10:22:13
77019      9062800539      10/28/2011       14:13:25
77020      9062822720      10/10/2011       12:37:15
77021      9062823715      7/12/2012        7:01:01
77022      9062861641      5/2/2012         13:21:58
77023      9062902899      2/28/2012        16:03:43
77024      9063222448      11/28/2011       11:16:52
77025      9063613731      8/16/2012        7:52:43
77026      9063616116      4/1/2012         16:12:38
77027      9063645129      10/4/2011        13:22:08
77028      9063671145      5/1/2012         8:25:36
77029      9063672373      11/22/2011       18:51:33
77030      9063690932      3/30/2012        16:26:49
77031      9063706768      9/13/2011        17:54:10
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77032      9063900023      5/14/2012        7:14:32
77033      9063900023      5/19/2012        15:52:57
77034      9063950949      8/16/2012        19:46:53
77035      9063965975      9/8/2011         18:59:18
77036      9063969900      2/21/2012        20:54:45
77037      9063996564      7/24/2012        14:38:08
77038      9064200488      10/15/2011       10:15:49
77039      9064305005      1/18/2012        16:40:36
77040      9064405552      10/20/2012       16:29:57
77041      9065532757      12/10/2011       12:56:43
77042      9067480592      12/8/2011        9:53:45
77043      9072295937      9/8/2011         19:16:44
77044      9072448131      3/29/2012        11:43:42
77045      9072448131      4/19/2012        14:40:31
77046      9072520605      9/1/2012         11:50:43
77047      9072541554      11/4/2011        15:26:43
77048      9073015763      8/7/2012         20:07:03
77049      9073063645      10/24/2011       15:01:13
77050      9073063645      11/15/2011       16:47:18
77051      9073102877      7/6/2012         16:49:49
77052      9073105523      12/17/2011       12:19:54
77053      9073107534      7/15/2011        18:03:05
77054      9073153302      12/18/2011       17:12:43
77055      9073153302      7/6/2012         14:51:58
77056      9073155740      9/9/2011         18:41:05
77057      9073175900      6/1/2011         11:44:14
77058      9073500365      3/28/2011        15:50:05
77059      9073511587      3/19/2012        12:07:22
77060      9073602199      12/28/2011       20:48:49
77061      9073780011      1/17/2012        13:33:16
77062      9073781122      6/21/2012        18:17:40
77063      9073783774      2/24/2012        20:51:28
77064      9073785674      10/18/2011       12:43:23
77065      9073880058      9/8/2011         17:40:07
77066      9073982427      11/16/2011       20:10:00
77067      9075382180      8/24/2012        21:05:52
77068      9075987070      9/19/2012        16:22:44
77069      9076325674      6/5/2012         18:02:16
77070      9076547415      3/28/2012        18:12:36
77071      9076875253      12/29/2011       18:19:13
77072      9077155674      6/8/2012         13:55:32
77073      9077155674      9/1/2012         11:48:53
77074      9077157290      11/14/2011       15:47:09
77075      9077157639      11/3/2011        17:28:13
77076      9077202174      5/7/2011         15:40:33
77077      9077270452      1/19/2012        18:33:33
77078      9077274858      9/27/2012        16:43:08
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77079      9077274858      10/2/2012        12:49:00
77080      9077401330      9/8/2011         18:23:21
77081      9077504499      8/20/2012        18:47:02
77082      9077504499      8/25/2012        11:22:09
77083      9077640616      8/27/2011        12:24:24
77084      9078304589      4/21/2011        18:42:49
77085      9078416619      10/24/2011       14:51:42
77086      9078876007      4/5/2012         16:26:24
77087      9079473997      7/23/2012        15:24:09
77088      9079478696      7/16/2012        19:40:43
77089      9079786703      9/8/2011         18:52:15
77090      9079827188      3/16/2012        16:17:41
77091      9082021117      5/31/2012        14:56:43
77092      9082054491      6/8/2012         16:55:04
77093      9082059453      9/19/2011        19:07:49
77094      9082080163      12/16/2011       16:14:03
77095      9082200001      4/12/2012        12:17:26
77096      9082200563      11/9/2011        8:52:13
77097      9082201462      9/19/2012        7:55:58
77098      9082201687      9/23/2011        18:57:52
77099      9082203320      9/19/2011        7:15:41
77100      9082203320      10/6/2011        17:33:42
77101      9082203617      5/22/2012        18:32:23
77102      9082204368      10/4/2011        13:07:31
77103      9082205197      9/12/2011        14:03:50
77104      9082205341      1/21/2012        8:19:15
77105      9082205392      10/5/2012        12:23:13
77106      9082205417      7/16/2012        7:14:50
77107      9082205836      10/25/2012       19:44:35
77108      9082205916      9/28/2011        10:49:55
77109      9082207760      12/1/2011        8:13:07
77110      9082226282      9/10/2012        7:38:51
77111      9082270613      2/28/2012        16:03:07
77112      9082300092      2/6/2012         7:24:12
77113      9082300120      1/18/2012        16:35:01
77114      9082300145      5/7/2011         13:56:31
77115      9082306288      10/19/2012       19:03:07
77116      9082306629      7/11/2012        17:13:04
77117      9082392368      12/20/2011       17:19:46
77118      9082407718      7/20/2012        11:30:17
77119      9082422765      9/4/2012         16:02:53
77120      9082428800      4/1/2012         16:55:49
77121      9082444995      9/24/2011        9:30:10
77122      9082461862      12/1/2011        7:59:35
77123      9082471310      9/30/2011        9:55:41
77124      9082471310      1/23/2012        18:53:29
77125      9082475453      3/22/2012        7:50:23
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77126      9082475989      12/12/2011       16:32:49
77127      9082478463      3/15/2012        19:06:01
77128      9082481288      6/30/2012        15:41:54
77129      9082483010      10/12/2011       7:41:11
77130      9082511444      9/21/2012        18:44:17
77131      9082566754      9/8/2011         19:45:58
77132      9082651735      8/25/2012        8:31:34
77133      9082653053      5/14/2012        7:20:48
77134      9082657719      10/6/2011        17:15:41
77135      9082657719      10/18/2011       12:58:46
77136      9082657719      12/12/2011       16:15:47
77137      9082683558      4/26/2012        13:47:04
77138      9082757548      10/8/2011        9:33:13
77139      9082783753      10/1/2011        10:26:30
77140      9082789390      2/4/2012         8:31:59
77141      9082799156      11/7/2011        8:01:51
77142      9082830708      7/6/2012         16:51:58
77143      9082833975      7/30/2011        8:51:22
77144      9082836363      3/2/2012         19:13:05
77145      9082857541      9/29/2011        15:30:22
77146      9082906970      12/9/2011        15:30:39
77147      9082940607      9/9/2011         7:33:02
77148      9082947571      2/8/2012         7:45:32
77149      9082947571      2/13/2012        7:11:28
77150      9082952180      9/30/2011        9:50:38
77151      9082953441      3/23/2012        19:11:58
77152      9082954298      6/7/2012         18:31:58
77153      9082956265      9/7/2011         14:38:32
77154      9082958775      9/12/2011        13:11:49
77155      9082967600      8/6/2012         11:44:48
77156      9082968324      4/19/2012        14:59:36
77157      9082969379      4/4/2012         7:29:05
77158      9083037447      12/7/2011        13:16:06
77159      9083090813      10/11/2012       18:55:49
77160      9083097307      8/11/2011        9:03:08
77161      9083104901      10/27/2011       15:06:16
77162      9083107419      11/16/2011       7:48:44
77163      9083109629      7/19/2012        7:51:36
77164      9083130185      10/29/2011       10:37:43
77165      9083154594      4/12/2012        17:57:23
77166      9083161550      2/20/2012        7:02:26
77167      9083164298      12/16/2013       7:07:49
77168      9083192560      1/16/2012        17:22:16
77169      9083286893      8/16/2012        19:51:17
77170      9083294487      5/21/2011        10:31:23
77171      9083311338      6/29/2012        9:28:45
77172      9083338276      10/3/2011        7:29:47
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77173      9083376725      9/19/2011        7:18:34
77174      9083382458      11/11/2011       7:50:22
77175      9083420532      9/24/2011        9:12:33
77176      9083426375      9/26/2012        14:44:36
77177      9083427930      9/28/2012        7:38:45
77178      9083433203      12/29/2011       18:09:48
77179      9083436171      7/28/2012        8:50:49
77180      9083437595      11/29/2011       7:30:13
77181      9083438116      11/14/2011       14:08:18
77182      9083439631      5/23/2012        15:10:23
77183      9083440059      1/25/2012        9:16:29
77184      9083442647      8/1/2012         9:08:09
77185      9083442826      9/20/2011        16:39:03
77186      9083442826      10/1/2011        10:25:49
77187      9083447553      12/20/2011       19:31:52
77188      9083614529      2/11/2012        15:23:21
77189      9083617025      1/7/2012         8:46:25
77190      9083619343      12/20/2011       12:04:42
77191      9083703210      11/17/2011       16:25:20
77192      9083744002      9/7/2012         15:39:02
77193      9083775433      11/15/2011       16:19:51
77194      9083920782      4/18/2012        7:02:17
77195      9083923215      2/17/2012        9:24:53
77196      9083970275      6/30/2012        8:17:43
77197      9083971541      8/16/2012        7:55:32
77198      9083971678      8/16/2012        19:52:40
77199      9083971680      9/26/2012        14:38:12
77200      9083974513      7/31/2012        7:10:34
77201      9083976572      10/1/2011        9:27:48
77202      9083976614      12/3/2011        9:08:13
77203      9083979385      7/9/2012         19:11:03
77204      9083979385      8/2/2012         18:56:03
77205      9083994190      9/27/2011        18:25:21
77206      9083997388      11/4/2011        15:26:42
77207      9084005678      3/23/2012        19:48:43
77208      9084039588      7/13/2012        18:34:41
77209      9084055735      8/20/2012        18:43:28
77210      9084060325      10/31/2011       7:37:42
77211      9084132015      1/4/2012         11:04:13
77212      9084156320      6/20/2011        14:13:11
77213      9084160239      11/21/2011       7:25:26
77214      9084187157      2/11/2012        11:01:46
77215      9084203666      10/17/2011       7:56:14
77216      9084207131      6/27/2012        12:05:54
77217      9084221568      3/16/2012        15:47:42
77218      9084224090      9/8/2011         18:37:52
77219      9084224185      7/6/2012         14:46:08
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77220      9084224572      10/27/2011       16:25:28
77221      9084225267      10/9/2012        7:33:13
77222      9084228184      3/8/2012         7:15:00
77223      9084229109      2/11/2012        10:45:27
77224      9084229810      6/25/2011        8:23:18
77225      9084325635      1/17/2012        17:16:12
77226      9084333444      4/21/2011        9:34:52
77227      9084333444      12/9/2011        14:47:23
77228      9084421300      10/1/2012        13:47:46
77229      9084425088      1/12/2012        7:06:14
77230      9084441407      6/5/2012         7:04:21
77231      9084443300      9/1/2012         8:33:24
77232      9084479287      3/23/2012        10:52:45
77233      9084560897      3/29/2012        12:15:18
77234      9084561306      6/20/2012        7:57:20
77235      9084565091      4/13/2012        13:18:48
77236      9084567476      2/26/2012        13:25:35
77237      9084622136      10/10/2011       12:16:52
77238      9084624059      10/5/2011        14:26:17
77239      9084631047      9/19/2011        19:04:55
77240      9084632244      4/12/2012        12:26:21
77241      9084634286      6/4/2012         8:22:03
77242      9084639162      10/31/2011       7:25:24
77243      9084680303      12/21/2011       10:16:28
77244      9084686096      12/18/2011       16:23:07
77245      9084721276      3/13/2012        16:44:58
77246      9084773283      3/30/2012        16:07:12
77247      9084825808      10/19/2011       15:16:57
77248      9084899851      5/31/2012        14:56:44
77249      9084941669      6/5/2012         19:50:45
77250      9084990087      10/3/2011        7:49:57
77251      9084991343      6/19/2012        13:16:09
77252      9084993442      1/12/2012        7:17:20
77253      9084993688      7/3/2012         7:12:38
77254      9085006180      12/5/2011        11:08:08
77255      9085310031      1/10/2012        12:43:44
77256      9085312214      11/26/2011       11:12:16
77257      9085313758      3/6/2012         15:47:40
77258      9085313758      5/22/2012        11:19:59
77259      9085318028      12/22/2011       8:24:39
77260      9085460276      2/11/2012        11:05:04
77261      9085650992      2/28/2012        15:58:08
77262      9085650992      3/13/2012        7:02:57
77263      9085686859      10/20/2012       16:29:03
77264      9085765736      7/26/2012        12:00:30
77265      9085900858      9/29/2011        15:05:35
77266      9085914541      11/11/2011       20:30:17
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77267      9085960590      12/22/2011       10:01:10
77268      9085960590      1/27/2012        10:15:26
77269      9085961367      9/26/2013        8:36:22
77270      9086014403      10/4/2011        13:13:03
77271      9086014403      11/3/2011        17:47:01
77272      9086129393      10/14/2011       12:48:16
77273      9086162494      9/30/2011        9:56:33
77274      9086167108      10/27/2011       16:36:10
77275      9086169010      12/5/2011        9:15:01
77276      9086192957      9/20/2011        14:57:10
77277      9086250165      7/3/2012         7:10:17
77278      9086271966      2/14/2012        16:36:04
77279      9086357888      12/27/2011       14:35:04
77280      9086424127      3/19/2012        7:19:30
77281      9086443526      11/26/2011       13:05:58
77282      9086445562      11/14/2011       16:54:19
77283      9086445685      10/25/2011       16:10:39
77284      9086446675      10/26/2011       12:09:31
77285      9086446675      11/14/2011       16:45:34
77286      9086446867      10/20/2012       8:15:56
77287      9086448994      7/17/2012        7:09:23
77288      9086556516      9/28/2011        10:17:11
77289      9086564368      2/5/2012         12:23:34
77290      9086598486      5/26/2012        14:25:02
77291      9086598486      6/14/2012        15:57:54
77292      9086757193      12/12/2011       12:09:11
77293      9086921815      5/10/2012        14:59:15
77294      9086925356      10/6/2011        17:17:11
77295      9087208192      12/7/2011        13:44:22
77296      9087451615      2/22/2012        7:07:05
77297      9087642070      8/21/2012        14:00:11
77298      9087642108      8/16/2012        19:46:08
77299      9087642386      11/4/2011        7:14:17
77300      9087644716      6/11/2012        17:02:25
77301      9087645512      12/12/2011       7:15:08
77302      9087649791      10/18/2012       16:29:21
77303      9087830846      10/20/2011       15:26:07
77304      9087830846      11/28/2011       17:38:27
77305      9087833878      7/28/2012        8:42:29
77306      9087839564      11/9/2011        7:32:26
77307      9087839564      12/18/2011       17:06:46
77308      9087872723      12/7/2011        14:13:59
77309      9087875343      4/17/2012        9:34:16
77310      9087889790      11/28/2011       17:33:50
77311      9088036326      1/13/2012        17:32:23
77312      9088037400      10/26/2011       12:51:00
77313      9088037400      11/7/2011        8:30:09
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77314      9088092235      8/3/2012         7:26:56
77315      9088120600      1/5/2012         17:27:41
77316      9088121538      4/6/2012         15:17:43
77317      9088121861      8/24/2011        12:22:37
77318      9088122894      7/11/2011        7:22:13
77319      9088125218      8/23/2012        11:50:39
77320      9088126064      10/6/2011        17:37:51
77321      9088217738      7/2/2012         15:09:49
77322      9088381443      11/26/2011       12:30:50
77323      9088383088      8/22/2012        11:09:36
77324      9088386788      12/30/2011       7:06:33
77325      9088687932      11/11/2011       7:52:51
77326      9088756482      5/3/2012         7:08:35
77327      9088789107      3/10/2011        16:03:47
77328      9088789107      10/25/2011       15:18:45
77329      9088843318      9/23/2011        18:59:08
77330      9088843674      11/18/2011       13:31:08
77331      9088844341      6/29/2012        17:47:56
77332      9088844932      9/8/2011         19:42:32
77333      9088872484      5/4/2012         18:17:17
77334      9088874452      10/8/2011        10:44:45
77335      9088922264      3/23/2012        14:53:39
77336      9089060283      9/28/2011        10:19:58
77337      9089062547      5/30/2012        16:41:47
77338      9089062768      7/16/2011        8:16:30
77339      9089066633      10/10/2011       12:22:29
77340      9089066633      10/18/2011       12:01:35
77341      9089066633      2/20/2012        7:07:35
77342      9089068866      12/27/2011       13:31:12
77343      9089104478      7/23/2012        13:16:00
77344      9089109793      3/21/2011        10:38:09
77345      9089146209      10/18/2012       16:29:01
77346      9089174198      12/29/2011       18:16:12
77347      9089178556      9/10/2011        8:01:58
77348      9089225137      6/5/2012         17:47:43
77349      9089229818      6/18/2012        7:56:35
77350      9089301058      8/2/2011         18:09:30
77351      9089303124      9/13/2011        17:43:41
77352      9089304021      10/11/2011       14:55:01
77353      9089370322      3/11/2012        15:09:53
77354      9089375185      10/4/2011        13:16:27
77355      9089384700      9/19/2011        19:10:10
77356      9089389056      7/13/2012        18:25:45
77357      9089418467      7/9/2012         19:09:37
77358      9089433091      6/18/2012        15:18:48
77359      9089437106      5/13/2011        11:19:05
77360      9089438833      10/2/2012        7:34:19
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77361      9089639444      3/11/2011        16:39:48
77362      9089661908      5/25/2012        17:06:13
77363      9089667923      11/3/2011        17:09:35
77364      9089668598      9/8/2011         18:42:24
77365      9089678895      4/4/2012         7:08:05
77366      9092006252      10/1/2011        10:58:54
77367      9092008398      1/20/2012        20:32:02
77368      9092019761      4/19/2012        14:38:53
77369      9092022939      4/28/2012        10:24:38
77370      9092026272      4/23/2011        10:45:20
77371      9092038081      4/18/2011        19:59:30
77372      9092038502      1/27/2012        21:57:17
77373      9092050684      9/8/2012         11:12:18
77374      9092051030      9/11/2012        15:17:56
77375      9092051317      2/24/2012        20:58:13
77376      9092052360      12/6/2011        13:53:42
77377      9092056012      11/12/2011       11:02:18
77378      9092057089      6/21/2012        18:45:19
77379      9092059391      9/28/2012        14:17:11
77380      9092101277      9/17/2011        10:09:27
77381      9092102017      4/22/2012        15:43:09
77382      9092107191      1/13/2012        12:44:45
77383      9092109950      6/11/2011        11:29:04
77384      9092122659      10/11/2011       17:42:56
77385      9092122963      11/4/2011        10:22:46
77386      9092123315      10/6/2011        17:02:18
77387      9092123962      1/27/2012        18:06:53
77388      9092124096      6/5/2012         17:55:45
77389      9092129090      4/5/2012         14:29:25
77390      9092129090      4/12/2012        14:24:03
77391      9092130939      12/1/2011        10:38:14
77392      9092133924      6/19/2012        13:17:33
77393      9092133924      8/3/2012         12:43:46
77394      9092133924      8/22/2012        21:47:11
77395      9092144504      4/10/2012        11:44:27
77396      9092144504      8/25/2012        11:21:46
77397      9092147017      2/1/2012         13:34:30
77398      9092155120      3/17/2012        11:34:33
77399      9092155120      5/17/2012        12:22:49
77400      9092156293      7/11/2011        12:34:18
77401      9092170407      6/26/2012        16:22:04
77402      9092170634      8/25/2012        10:52:39
77403      9092172056      6/8/2012         8:07:16
77404      9092175680      11/18/2011       13:09:42
77405      9092178491      10/7/2012        13:11:38
77406      9092179925      12/20/2011       19:27:47
77407      9092225566      2/10/2012        20:36:09
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77408      9092228034      11/7/2011        11:20:35
77409      9092228300      9/23/2011        18:52:18
77410      9092228423      1/6/2012         15:05:48
77411      9092228983      10/17/2012       18:38:11
77412      9092232220      6/18/2012        15:14:51
77413      9092232398      9/13/2011        18:31:37
77414      9092245444      9/29/2011        15:27:15
77415      9092253039      4/29/2012        17:58:38
77416      9092262891      1/3/2012         15:35:19
77417      9092266340      9/27/2011        18:16:00
77418      9092266340      10/18/2011       13:06:52
77419      9092277750      7/11/2012        15:53:34
77420      9092278069      2/28/2012        16:10:57
77421      9092278069      3/7/2012         18:46:06
77422      9092280160      10/27/2011       17:04:23
77423      9092294318      3/30/2012        21:39:36
77424      9092310149      2/21/2012        21:26:49
77425      9092321802      11/28/2011       17:55:30
77426      9092321809      5/3/2012         21:14:49
77427      9092322039      1/25/2012        20:32:47
77428      9092322039      2/15/2012        21:02:36
77429      9092322658      6/20/2012        16:56:34
77430      9092323195      5/2/2012         13:29:32
77431      9092323233      9/21/2011        11:38:42
77432      9092323366      3/26/2012        15:08:39
77433      9092323378      5/4/2012         15:29:28
77434      9092323626      10/29/2011       11:10:51
77435      9092324065      9/20/2011        16:57:41
77436      9092326098      2/7/2012         16:37:30
77437      9092331747      12/5/2011        10:26:37
77438      9092331897      10/8/2011        12:28:00
77439      9092332981      4/18/2011        20:00:51
77440      9092333057      10/4/2011        14:00:45
77441      9092335017      5/28/2011        10:45:38
77442      9092335918      4/26/2012        21:22:40
77443      9092335931      3/27/2012        15:09:22
77444      9092339915      12/20/2011       19:27:58
77445      9092343453      5/9/2012         14:33:51
77446      9092351835      5/8/2012         21:09:12
77447      9092351978      10/24/2011       14:23:21
77448      9092352765      10/20/2011       20:57:24
77449      9092352989      12/2/2011        14:44:41
77450      9092352989      6/25/2012        21:50:13
77451      9092358758      9/15/2012        11:19:34
77452      9092358921      3/3/2012         10:40:55
77453      9092360004      3/6/2012         20:26:43
77454      9092360839      10/16/2012       16:27:43
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                                   #:13500

77455      9092360991      10/6/2011        17:58:32
77456      9092362824      3/20/2012        17:51:07
77457      9092364845      9/9/2011         18:37:08
77458      9092366835      5/15/2012        19:11:22
77459      9092369074      11/16/2011       20:09:26
77460      9092372488      5/20/2012        16:01:43
77461      9092372841      11/8/2011        14:05:47
77462      9092380617      10/6/2011        17:10:29
77463      9092381304      2/10/2012        10:37:38
77464      9092382656      2/1/2012         13:36:15
77465      9092387341      5/7/2012         21:42:54
77466      9092394532      1/5/2012         21:24:46
77467      9092397299      12/20/2011       20:51:09
77468      9092401750      2/6/2014         21:14:17
77469      9092408185      11/19/2011       10:38:07
77470      9092413408      12/7/2011        13:46:09
77471      9092418885      5/31/2012        10:12:41
77472      9092421810      11/3/2011        17:31:12
77473      9092422894      10/11/2011       16:42:05
77474      9092423319      3/26/2012        18:46:32
77475      9092423591      3/9/2012         15:48:58
77476      9092423773      8/26/2011        18:35:14
77477      9092423876      8/30/2012        17:38:25
77478      9092424437      10/5/2011        14:23:30
77479      9092424968      7/14/2011        17:08:18
77480      9092425981      12/10/2011       14:54:33
77481      9092430535      3/13/2012        16:43:51
77482      9092430790      8/11/2012        12:24:31
77483      9092432727      1/27/2012        21:55:31
77484      9092446237      4/20/2012        20:49:57
77485      9092446407      4/2/2012         17:45:20
77486      9092446412      1/23/2012        19:22:25
77487      9092447210      12/7/2011        16:25:11
77488      9092447280      3/26/2011        12:41:23
77489      9092448138      8/13/2012        20:55:16
77490      9092448429      3/10/2011        18:01:09
77491      9092448612      10/29/2011       12:03:23
77492      9092460459      12/18/2011       16:18:08
77493      9092460722      10/3/2011        10:33:50
77494      9092461133      9/2/2011         12:09:56
77495      9092462027      8/20/2011        10:11:48
77496      9092463132      8/2/2012         19:11:57
77497      9092463338      4/4/2012         18:40:36
77498      9092463460      3/22/2014        17:24:31
77499      9092463633      5/5/2012         12:25:05
77500      9092463841      3/14/2012        14:46:38
77501      9092465918      6/16/2012        10:12:30
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                                   #:13501

77502      9092476285      12/26/2011       20:15:06
77503      9092477903      4/25/2012        21:25:14
77504      9092511159      3/26/2012        14:53:48
77505      9092512248      10/21/2011       14:53:51
77506      9092512256      12/19/2011       11:19:47
77507      9092512256      9/1/2012         11:49:49
77508      9092513369      10/31/2011       10:18:32
77509      9092513369      11/17/2011       16:52:26
77510      9092516542      2/6/2012         17:05:47
77511      9092516585      11/30/2011       13:05:12
77512      9092519331      1/3/2012         11:25:37
77513      9092520483      4/12/2012        18:00:23
77514      9092520542      10/8/2011        12:16:12
77515      9092521845      5/7/2012         21:39:41
77516      9092522011      1/12/2012        14:20:07
77517      9092523832      2/2/2012         16:46:04
77518      9092526143      3/16/2012        10:09:06
77519      9092528288      10/12/2012       16:47:38
77520      9092528878      4/14/2012        10:20:32
77521      9092529163      8/16/2011        18:24:04
77522      9092529172      9/8/2011         18:19:45
77523      9092529248      1/12/2012        14:36:39
77524      9092529943      9/14/2011        10:33:42
77525      9092533713      1/3/2012         19:53:13
77526      9092539893      10/8/2012        20:03:31
77527      9092541291      3/24/2012        10:08:22
77528      9092541841      4/29/2012        18:03:15
77529      9092541841      4/30/2012        21:03:46
77530      9092576278      3/16/2012        10:08:20
77531      9092580662      5/1/2012         18:32:28
77532      9092581050      8/9/2012         14:04:43
77533      9092605017      5/9/2012         21:05:26
77534      9092607210      10/5/2011        14:24:19
77535      9092608105      9/21/2012        18:42:42
77536      9092609614      12/29/2011       19:39:56
77537      9092613599      5/12/2012        10:47:48
77538      9092617449      5/17/2011        10:38:53
77539      9092618158      10/5/2012        12:21:59
77540      9092618843      10/29/2011       11:57:04
77541      9092621389      1/5/2012         17:29:34
77542      9092625778      4/25/2012        16:27:59
77543      9092640415      9/27/2011        18:55:45
77544      9092640783      8/5/2011         18:11:21
77545      9092650027      1/19/2012        18:44:04
77546      9092651657      7/12/2012        19:55:06
77547      9092670764      4/19/2012        15:18:07
77548      9092680080      12/6/2011        13:49:02
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77549      9092681224      6/6/2012         21:20:10
77550      9092685311      1/10/2012        21:36:07
77551      9092685565      6/26/2012        16:22:07
77552      9092687955      5/11/2012        18:29:16
77553      9092688289      9/9/2011         18:37:14
77554      9092688677      5/23/2012        15:23:41
77555      9092689395      11/12/2011       11:00:43
77556      9092689395      1/4/2012         20:40:51
77557      9092689510      10/29/2011       11:09:45
77558      9092695347      7/6/2012         14:52:41
77559      9092699165      7/12/2012        19:54:36
77560      9092701246      5/11/2012        18:37:40
77561      9092701246      7/10/2012        21:13:06
77562      9092701910      6/18/2012        10:37:50
77563      9092701910      6/22/2012        20:58:39
77564      9092708730      11/11/2011       13:51:15
77565      9092708730      12/12/2011       16:25:45
77566      9092709099      11/10/2011       14:50:44
77567      9092720542      9/8/2011         18:22:27
77568      9092722696      3/8/2012         15:40:36
77569      9092727648      12/7/2011        15:22:12
77570      9092728754      1/9/2012         18:31:32
77571      9092729436      9/26/2011        13:19:29
77572      9092730450      11/11/2011       13:29:26
77573      9092731058      9/9/2011         18:39:46
77574      9092733421      12/16/2011       15:53:03
77575      9092733421      1/8/2012         16:47:20
77576      9092739847      10/22/2011       12:48:41
77577      9092750421      6/15/2011        11:29:00
77578      9092754331      1/3/2012         19:52:32
77579      9092755576      9/30/2011        10:09:13
77580      9092759665      2/29/2012        18:00:00
77581      9092759665      3/12/2012        11:32:04
77582      9092760544      10/3/2012        19:57:49
77583      9092760544      10/10/2012       19:09:04
77584      9092762254      9/1/2012         11:47:05
77585      9092770128      3/28/2012        18:26:08
77586      9092770252      2/9/2012         20:38:59
77587      9092770259      4/23/2012        13:11:18
77588      9092773641      11/8/2011        14:44:19
77589      9092775880      7/24/2012        14:47:59
77590      9092778359      5/4/2012         21:00:31
77591      9092778739      7/7/2012         10:30:45
77592      9092778975      9/28/2012        14:14:32
77593      9092780809      8/14/2012        11:40:26
77594      9092781293      1/18/2012        21:21:12
77595      9092781769      12/29/2011       19:41:24
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77596      9092782185      10/6/2011        17:01:36
77597      9092785660      2/14/2012        10:10:45
77598      9092785660      5/18/2012        16:05:19
77599      9092785827      9/9/2011         18:05:49
77600      9092786154      1/10/2014        13:31:24
77601      9092786181      2/2/2012         16:46:17
77602      9092795035      9/11/2012        15:11:59
77603      9092795513      9/1/2011         13:14:37
77604      9092798824      8/16/2011        18:21:15
77605      9092820383      5/2/2012         13:06:54
77606      9092825611      9/28/2011        10:39:57
77607      9092826891      11/30/2011       13:12:14
77608      9092879179      1/5/2012         11:58:25
77609      9092897712      2/21/2012        21:25:32
77610      9092898477      2/29/2012        17:38:34
77611      9092898477      8/6/2012         16:32:43
77612      9092923547      12/27/2011       14:42:53
77613      9092925407      11/23/2011       14:45:26
77614      9092925467      9/26/2011        13:20:41
77615      9092925545      12/7/2011        13:45:59
77616      9092927130      8/16/2011        17:05:33
77617      9092927264      9/14/2011        17:03:05
77618      9092970142      5/16/2012        17:01:09
77619      9092976616      4/29/2012        18:12:54
77620      9092976616      5/9/2012         21:04:09
77621      9092978150      8/14/2012        21:02:24
77622      9092978516      2/10/2012        20:44:30
77623      9093022295      3/20/2012        20:05:03
77624      9093053333      11/17/2011       14:45:24
77625      9093193305      4/11/2012        11:38:43
77626      9093193765      10/1/2011        10:11:22
77627      9093195277      5/29/2012        17:06:02
77628      9093196890      5/21/2012        17:59:59
77629      9093197271      12/10/2011       14:30:19
77630      9093199207      10/8/2011        10:17:14
77631      9093201786      1/31/2012        10:25:55
77632      9093227011      1/23/2012        10:19:22
77633      9093271598      11/4/2011        10:22:33
77634      9093296658      9/8/2012         11:46:39
77635      9093312386      5/3/2012         21:15:57
77636      9093312668      7/26/2012        11:56:49
77637      9093315268      11/26/2011       13:56:19
77638      9093316646      9/19/2011        14:48:23
77639      9093422851      9/28/2011        10:56:10
77640      9093422851      10/4/2011        13:34:58
77641      9093428447      10/15/2012       10:15:47
77642      9093495090      12/16/2011       15:52:13
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77643      9093541122      2/8/2012         12:57:56
77644      9093542795      3/18/2011        10:59:53
77645      9093580903      6/5/2012         17:49:11
77646      9093589820      9/22/2012        12:21:43
77647      9093620473      7/13/2012        14:01:32
77648      9093624083      10/5/2011        14:50:20
77649      9093624083      1/6/2012         14:43:50
77650      9093624083      4/3/2012         16:03:16
77651      9093624083      6/13/2012        10:25:43
77652      9093635555      4/17/2012        11:28:32
77653      9093635799      8/8/2012         16:15:27
77654      9093678905      9/13/2011        16:52:02
77655      9093740008      3/2/2012         15:26:51
77656      9093740215      11/7/2011        11:11:52
77657      9093741312      10/16/2012       16:30:43
77658      9093744520      5/7/2012         21:44:50
77659      9093747509      11/19/2011       9:12:38
77660      9093794466      11/8/2011        14:05:14
77661      9093794466      11/30/2011       12:55:46
77662      9093794466      3/15/2012        14:03:51
77663      9093798761      4/19/2012        20:12:33
77664      9093801649      9/28/2011        10:45:10
77665      9093802430      3/16/2012        16:06:16
77666      9093802430      8/16/2012        14:29:40
77667      9093802769      8/7/2012         21:55:08
77668      9093803716      12/28/2011       20:46:44
77669      9093806379      10/20/2011       16:39:11
77670      9093806936      7/15/2011        10:14:10
77671      9093809238      3/2/2012         19:05:41
77672      9093821052      8/31/2012        16:31:39
77673      9093821162      1/19/2012        7:29:08
77674      9093898678      3/22/2012        14:08:13
77675      9093956034      9/8/2012         11:12:33
77676      9093957098      7/30/2011        10:24:13
77677      9093979934      1/10/2012        15:23:12
77678      9094180825      5/1/2012         17:54:40
77679      9094180825      6/2/2012         13:18:33
77680      9094181584      9/20/2011        20:40:24
77681      9094181592      12/31/2011       12:16:46
77682      9094187612      3/16/2012        10:10:13
77683      9094190137      2/17/2012        18:14:57
77684      9094190158      11/5/2011        11:57:27
77685      9094190357      3/28/2012        14:33:50
77686      9094190357      4/23/2012        13:18:35
77687      9094190592      3/14/2012        14:14:25
77688      9094192361      10/18/2012       16:52:46
77689      9094192724      11/21/2011       10:39:33
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77690      9094193092      10/20/2012       10:34:49
77691      9094193705      4/19/2012        14:47:05
77692      9094193906      10/21/2011       13:41:45
77693      9094194040      3/27/2012        15:08:09
77694      9094194932      1/3/2012         11:26:10
77695      9094194932      3/1/2012         17:35:28
77696      9094196056      11/16/2011       10:14:30
77697      9094196969      9/27/2011        18:57:47
77698      9094199449      9/10/2011        12:46:01
77699      9094199790      3/17/2012        11:53:38
77700      9094282692      7/23/2012        15:36:45
77701      9094330770      10/25/2012       19:52:23
77702      9094344353      4/11/2012        21:49:23
77703      9094345092      9/2/2012         11:55:32
77704      9094346873      5/21/2012        18:00:00
77705      9094347055      7/27/2012        14:06:47
77706      9094347559      5/9/2012         21:05:17
77707      9094351987      10/24/2012       14:52:16
77708      9094356426      10/20/2011       16:40:40
77709      9094360246      11/25/2011       18:36:44
77710      9094370972      10/22/2011       12:50:30
77711      9094371846      10/17/2011       10:36:37
77712      9094371908      11/23/2011       14:46:28
77713      9094372850      2/3/2012         20:22:51
77714      9094373577      5/16/2012        11:59:44
77715      9094373577      6/5/2012         19:55:01
77716      9094374214      9/14/2011        21:26:15
77717      9094378066      8/5/2011         18:13:32
77718      9094378157      12/10/2011       14:54:20
77719      9094381315      1/25/2012        20:40:45
77720      9094386778      10/6/2011        17:02:07
77721      9094387345      1/23/2012        19:05:15
77722      9094400049      1/16/2012        17:18:43
77723      9094403780      10/17/2011       10:35:25
77724      9094404068      8/15/2012        21:43:53
77725      9094407306      1/26/2012        10:04:57
77726      9094462138      1/20/2012        20:31:06
77727      9094462138      5/8/2012         10:08:18
77728      9094465899      10/20/2011       15:50:29
77729      9094466443      6/11/2012        10:04:36
77730      9094501058      10/5/2011        14:51:49
77731      9094501414      7/18/2011        11:25:19
77732      9094506226      9/20/2011        16:55:51
77733      9094513713      3/6/2012         15:53:41
77734      9094520260      6/18/2012        15:30:04
77735      9094525086      10/28/2011       13:41:45
77736      9094552989      11/7/2011        11:21:54
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77737      9094553939      1/5/2012         12:09:05
77738      9094564155      12/10/2011       14:09:42
77739      9094564423      5/8/2012         21:06:01
77740      9094569774      2/7/2012         16:41:08
77741      9094599221      10/5/2011        14:49:37
77742      9094615501      11/10/2011       14:49:10
77743      9094619664      9/20/2012        21:01:56
77744      9094619664      10/24/2012       21:14:14
77745      9094711045      1/9/2012         18:49:28
77746      9094711721      11/25/2011       18:01:45
77747      9094711882      10/4/2011        13:29:45
77748      9094712997      9/7/2012         15:53:44
77749      9094713120      1/9/2012         10:26:23
77750      9094713277      4/11/2012        13:13:36
77751      9094728669      9/4/2012         16:11:56
77752      9094860798      2/21/2012        16:22:15
77753      9094861944      6/19/2012        12:01:50
77754      9094866266      1/7/2012         10:19:07
77755      9094866266      6/2/2012         13:11:27
77756      9094866688      10/27/2011       17:01:51
77757      9094868179      12/5/2011        10:13:38
77758      9094891037      8/2/2011         19:10:32
77759      9094893879      3/30/2012        21:45:39
77760      9094894064      7/20/2012        11:28:07
77761      9094898262      10/11/2011       17:44:16
77762      9094940265      12/18/2011       16:28:27
77763      9094955154      11/28/2011       18:11:46
77764      9094955181      2/16/2012        11:25:04
77765      9094955992      5/27/2012        14:04:01
77766      9094956437      11/1/2011        11:12:58
77767      9094956437      2/20/2012        17:21:56
77768      9094964087      2/15/2012        21:05:26
77769      9094964554      10/31/2011       10:26:04
77770      9094965365      10/20/2011       15:52:05
77771      9094967234      8/1/2011         19:48:45
77772      9094967234      10/10/2011       12:08:43
77773      9094967501      10/8/2011        10:23:04
77774      9094968859      10/3/2011        10:42:17
77775      9094968859      10/21/2011       12:52:58
77776      9094991400      6/5/2012         19:55:01
77777      9094991400      6/15/2012        15:49:02
77778      9094992145      2/24/2012        20:58:22
77779      9094993581      12/20/2011       19:27:35
77780      9094994516      3/17/2012        11:51:20
77781      9094996124      9/22/2011        15:32:03
77782      9094997025      5/29/2012        10:59:38
77783      9094997025      6/9/2012         14:49:45
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77784      9094998025      1/4/2012         11:35:48
77785      9094999485      7/14/2011        16:56:41
77786      9095032484      12/29/2011       19:42:09
77787      9095033305      4/30/2012        15:06:43
77788      9095033484      6/29/2012        17:46:39
77789      9095096676      11/8/2011        14:42:28
77790      9095100083      4/11/2012        19:38:34
77791      9095100083      5/7/2012         21:42:25
77792      9095102440      10/4/2011        14:01:14
77793      9095103141      2/14/2012        17:02:07
77794      9095181431      5/20/2012        15:53:33
77795      9095194988      9/19/2011        19:19:47
77796      9095198290      10/12/2011       11:40:37
77797      9095199184      6/27/2012        17:54:47
77798      9095200353      5/31/2011        11:54:09
77799      9095200609      10/17/2011       11:06:18
77800      9095201085      10/20/2011       16:41:25
77801      9095203125      9/30/2011        10:10:31
77802      9095203551      8/24/2012        21:03:48
77803      9095203763      5/26/2012        15:16:09
77804      9095207844      9/1/2012         11:50:25
77805      9095208003      5/10/2012        21:19:22
77806      9095208066      5/16/2012        16:51:45
77807      9095208914      9/8/2011         18:19:47
77808      9095220113      12/26/2011       20:10:54
77809      9095221363      5/6/2011         16:07:30
77810      9095221409      3/13/2012        18:33:57
77811      9095221409      3/16/2012        16:05:16
77812      9095242149      3/8/2012         15:35:31
77813      9095242163      12/7/2011        18:11:53
77814      9095245085      7/11/2012        17:23:25
77815      9095248586      8/7/2012         20:16:31
77816      9095252264      9/26/2011        13:24:58
77817      9095252264      10/10/2011       12:08:50
77818      9095253100      12/20/2011       19:40:24
77819      9095270906      12/27/2011       14:42:59
77820      9095275019      12/8/2011        20:54:51
77821      9095284686      9/8/2011         18:19:36
77822      9095285352      9/17/2011        10:31:06
77823      9095288899      4/18/2012        17:53:35
77824      9095324198      10/1/2011        10:08:52
77825      9095330327      8/7/2012         21:45:03
77826      9095331754      3/17/2012        11:40:54
77827      9095331897      1/9/2012         18:19:05
77828      9095343320      2/13/2012        18:51:16
77829      9095345027      2/16/2012        11:26:49
77830      9095347594      12/23/2011       15:19:59
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77831      9095347594      1/9/2012         18:49:58
77832      9095348182      9/19/2011        14:49:47
77833      9095349320      9/19/2011        19:35:16
77834      9095382305      12/10/2011       14:52:18
77835      9095383630      10/25/2012       19:40:52
77836      9095384418      2/14/2012        17:02:41
77837      9095393216      9/20/2011        20:49:36
77838      9095398559      1/19/2012        18:44:34
77839      9095398559      2/2/2012         16:46:08
77840      9095427312      7/2/2012         17:28:12
77841      9095432158      8/13/2011        12:22:43
77842      9095435246      9/14/2011        16:58:48
77843      9095435439      5/7/2012         21:40:42
77844      9095446053      9/19/2011        14:51:34
77845      9095446053      9/27/2011        18:21:12
77846      9095446768      10/16/2012       16:30:18
77847      9095452319      12/2/2011        15:29:56
77848      9095457501      3/22/2012        14:03:29
77849      9095490478      3/22/2012        14:07:08
77850      9095491910      7/11/2012        15:56:03
77851      9095491944      9/24/2012        19:19:43
77852      9095493714      9/8/2011         19:56:47
77853      9095495481      3/16/2012        10:31:09
77854      9095497640      8/1/2011         19:28:40
77855      9095530739      6/8/2011         19:11:03
77856      9095537200      3/7/2012         19:02:50
77857      9095544033      1/5/2012         21:21:17
77858      9095560596      5/7/2012         17:56:20
77859      9095569172      5/17/2011        10:30:44
77860      9095591240      10/31/2011       10:12:37
77861      9095592747      9/21/2011        12:03:13
77862      9095592747      10/12/2011       11:41:55
77863      9095592747      5/18/2012        16:07:38
77864      9095592797      1/18/2012        16:44:57
77865      9095593191      4/27/2012        11:47:11
77866      9095599333      12/19/2011       11:25:19
77867      9095604200      9/10/2011        12:38:19
77868      9095611015      10/7/2011        10:14:16
77869      9095611636      7/27/2012        21:53:00
77870      9095612358      4/1/2012         17:35:27
77871      9095614382      9/20/2011        18:50:25
77872      9095615254      9/26/2011        13:31:59
77873      9095615479      10/20/2011       16:36:43
77874      9095622731      12/12/2011       12:36:37
77875      9095626196      12/12/2011       12:00:45
77876      9095626670      12/10/2011       14:51:50
77877      9095629263      3/16/2012        10:27:33
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77878      9095630932      10/15/2011       10:55:28
77879      9095650206      11/2/2011        16:24:09
77880      9095655158      9/5/2012         15:28:40
77881      9095655634      1/13/2012        17:19:55
77882      9095655634      2/15/2012        11:21:17
77883      9095656883      7/13/2012        18:50:37
77884      9095674595      11/11/2011       13:51:53
77885      9095675598      5/26/2012        10:07:36
77886      9095676314      3/5/2012         10:59:49
77887      9095679698      3/26/2012        18:32:14
77888      9095683485      11/11/2011       20:12:58
77889      9095684394      4/16/2012        16:09:28
77890      9095687501      1/9/2012         18:21:05
77891      9095689200      11/30/2011       13:15:05
77892      9095693193      4/28/2012        10:38:12
77893      9095707389      1/19/2012        18:43:43
77894      9095707949      3/20/2012        20:04:22
77895      9095734952      1/16/2012        12:10:11
77896      9095737330      9/23/2011        11:24:39
77897      9095745226      2/7/2012         16:36:42
77898      9095745272      10/15/2011       11:13:32
77899      9095766500      12/29/2011       21:38:12
77900      9095781442      1/17/2012        13:34:33
77901      9095781442      2/3/2012         20:23:01
77902      9095782640      8/7/2012         21:44:21
77903      9095782743      9/8/2011         19:57:27
77904      9095786755      7/22/2011        13:04:44
77905      9095807151      7/20/2012        14:59:52
77906      9095812852      4/25/2012        21:24:36
77907      9095831128      11/2/2011        14:38:00
77908      9095833482      5/30/2012        17:00:05
77909      9095834478      4/1/2012         17:41:25
77910      9095835455      12/8/2011        20:59:43
77911      9095860745      2/6/2012         10:20:26
77912      9095865058      1/23/2012        19:04:34
77913      9095865855      6/26/2012        21:15:44
77914      9095877039      10/25/2011       16:41:12
77915      9095878423      8/28/2012        11:56:48
77916      9095879233      6/9/2012         14:48:59
77917      9095894288      12/20/2011       19:27:48
77918      9095894458      1/30/2012        10:15:03
77919      9096091792      10/3/2012        19:50:25
77920      9096094535      3/23/2012        19:42:51
77921      9096096869      5/16/2012        17:00:57
77922      9096099326      9/22/2011        16:19:19
77923      9096159603      7/28/2012        11:16:29
77924      9096303813      2/9/2012         9:42:39
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77925      9096304057      5/16/2012        16:52:00
77926      9096325389      2/13/2012        18:34:52
77927      9096331320      9/11/2012        15:12:08
77928      9096338808      9/24/2011        10:04:25
77929      9096338808      2/17/2012        18:39:57
77930      9096347146      7/10/2012        12:03:23
77931      9096362571      10/3/2011        10:35:46
77932      9096363675      8/29/2011        17:39:00
77933      9096369600      7/13/2011        12:08:14
77934      9096387057      3/5/2012         11:06:14
77935      9096413437      4/11/2012        11:27:28
77936      9096415259      9/14/2011        21:32:15
77937      9096417049      5/5/2012         12:20:24
77938      9096418513      6/9/2012         15:07:37
77939      9096419608      5/22/2012        18:47:34
77940      9096419608      8/20/2012        18:37:21
77941      9096419960      9/8/2011         19:38:21
77942      9096430313      10/10/2012       19:23:49
77943      9096437329      12/1/2011        15:36:21
77944      9096442357      2/13/2012        11:33:53
77945      9096443258      4/23/2012        20:46:23
77946      9096443853      4/26/2012        11:22:32
77947      9096445088      9/9/2011         18:09:53
77948      9096445088      11/18/2011       12:35:06
77949      9096446739      9/10/2011        12:43:14
77950      9096460289      12/21/2011       19:53:02
77951      9096460289      1/5/2012         17:31:30
77952      9096468387      9/20/2011        16:49:18
77953      9096476044      9/9/2011         18:08:48
77954      9096478872      8/6/2012         16:30:59
77955      9096480949      8/31/2012        16:40:57
77956      9096483260      3/28/2012        18:17:27
77957      9096484484      1/12/2012        10:09:24
77958      9096485066      7/15/2011        10:19:55
77959      9096485081      8/7/2012         21:43:51
77960      9096486451      10/1/2011        10:57:23
77961      9096487696      7/13/2012        18:30:22
77962      9096489243      4/15/2012        17:47:45
77963      9096533345      9/17/2011        10:09:51
77964      9096536929      10/11/2011       16:37:59
77965      9096537899      9/29/2011        15:27:30
77966      9096537899      10/20/2011       15:52:36
77967      9096537899      11/12/2011       10:05:09
77968      9096589913      5/17/2012        16:37:05
77969      9096591163      3/11/2011        16:58:27
77970      9096592594      5/14/2012        15:24:02
77971      9096593554      9/24/2011        10:02:20
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77972      9096595530      3/13/2012        18:53:29
77973      9096598463      9/13/2011        14:25:27
77974      9096599876      2/1/2012         13:38:56
77975      9096600741      2/6/2012         10:19:01
77976      9096601040      9/23/2011        18:50:24
77977      9096643412      11/9/2011        10:15:49
77978      9096704107      6/1/2012         10:43:45
77979      9096806286      10/8/2011        10:18:44
77980      9096808378      11/11/2011       20:30:41
77981      9096809115      4/10/2012        16:11:32
77982      9096841603      8/29/2012        20:20:21
77983      9096843142      1/16/2012        12:05:33
77984      9096846869      4/16/2012        15:54:22
77985      9096846869      4/23/2012        13:08:38
77986      9096850532      10/25/2012       12:31:48
77987      9096851581      9/27/2011        18:58:50
77988      9096851830      3/19/2012        19:27:00
77989      9096853085      4/27/2012        21:55:13
77990      9096853085      8/6/2012         14:01:17
77991      9096853431      3/23/2011        20:20:17
77992      9096853850      4/3/2012         20:13:36
77993      9096855003      11/21/2011       8:22:37
77994      9096855282      9/9/2011         18:10:29
77995      9096857840      9/20/2011        16:56:56
77996      9096857889      5/9/2012         21:05:38
77997      9096899135      2/11/2012        15:49:58
77998      9096931787      5/8/2012         18:10:20
77999      9096936952      7/9/2012         7:18:39
78000      9096939059      6/28/2012        12:35:12
78001      9096948003      7/30/2012        13:42:42
78002      9096978540      1/27/2012        9:46:28
78003      9096978781      9/19/2011        14:49:32
78004      9096979487      12/30/2011       20:56:50
78005      9096979549      11/3/2011        18:06:57
78006      9096979748      2/15/2012        11:20:36
78007      9097020287      9/19/2011        14:57:59
78008      9097020332      3/21/2012        18:35:36
78009      9097059186      11/11/2011       13:50:44
78010      9097060379      9/10/2011        12:34:46
78011      9097067407      9/8/2011         19:36:23
78012      9097082839      1/17/2012        18:49:19
78013      9097083062      2/20/2012        17:17:36
78014      9097083440      11/30/2011       15:02:52
78015      9097085036      9/30/2011        10:25:05
78016      9097089337      3/29/2012        18:53:10
78017      9097090106      10/4/2011        13:57:04
78018      9097090930      12/26/2011       10:26:31
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78019      9097092508      9/16/2011        13:09:07
78020      9097092508      9/28/2011        10:43:53
78021      9097097493      1/13/2012        10:44:40
78022      9097145745      8/13/2012        11:04:28
78023      9097173208      3/20/2012        17:32:57
78024      9097173581      8/8/2012         10:04:14
78025      9097173590      9/11/2012        21:25:31
78026      9097178870      4/15/2012        17:49:15
78027      9097207598      11/25/2011       18:34:35
78028      9097214678      10/5/2011        14:50:25
78029      9097217769      4/20/2011        20:15:52
78030      9097248583      7/19/2012        10:31:19
78031      9097248990      9/30/2011        10:11:20
78032      9097249537      3/26/2011        12:41:11
78033      9097255305      10/5/2011        14:53:54
78034      9097264145      11/16/2011       10:06:24
78035      9097281033      7/25/2011        18:11:36
78036      9097282297      6/17/2012        12:27:22
78037      9097282297      6/29/2012        17:40:24
78038      9097310528      11/18/2011       13:08:44
78039      9097313466      7/21/2012        10:33:43
78040      9097313466      8/18/2012        10:51:25
78041      9097313466      10/20/2012       10:38:42
78042      9097315240      5/4/2012         18:24:25
78043      9097320422      9/29/2011        15:28:56
78044      9097320532      10/20/2011       20:59:26
78045      9097320959      2/15/2012        14:37:31
78046      9097321184      10/2/2012        10:11:02
78047      9097329182      3/12/2012        19:38:01
78048      9097329481      9/28/2011        11:35:13
78049      9097329481      10/15/2011       10:10:09
78050      9097426040      10/19/2012       11:30:21
78051      9097436266      1/26/2012        10:03:17
78052      9097444162      8/24/2012        21:03:38
78053      9097463400      8/28/2012        21:55:22
78054      9097466871      2/15/2012        14:55:24
78055      9097467096      10/15/2011       11:12:52
78056      9097467627      1/14/2012        15:43:18
78057      9097472204      6/21/2012        18:45:34
78058      9097474404      4/24/2012        21:03:59
78059      9097474762      12/15/2011       21:44:54
78060      9097491507      8/6/2012         14:01:01
78061      9097493085      11/11/2011       20:16:18
78062      9097497888      9/21/2011        12:01:46
78063      9097532241      8/27/2012        15:03:08
78064      9097534029      11/30/2011       13:09:34
78065      9097537648      12/26/2011       20:15:01
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78066      9097539039      1/31/2012        10:12:34
78067      9097541678      10/18/2011       13:16:16
78068      9097541678      11/9/2011        10:39:30
78069      9097549586      1/10/2012        21:35:29
78070      9097581041      5/21/2011        11:14:36
78071      9097581041      4/26/2012        17:43:22
78072      9097625061      9/29/2011        16:00:35
78073      9097631980      9/14/2011        21:26:12
78074      9097665058      10/8/2011        10:16:29
78075      9097671513      12/23/2011       15:56:41
78076      9097679973      7/23/2011        12:09:07
78077      9097711806      3/15/2012        19:00:24
78078      9097715126      12/1/2011        15:11:58
78079      9097715389      9/22/2011        16:18:50
78080      9097717163      12/18/2011       17:04:51
78081      9097717163      12/23/2011       16:08:31
78082      9097718999      12/8/2011        21:10:38
78083      9097811238      8/3/2012         16:32:59
78084      9097820461      9/29/2011        15:59:06
78085      9097823859      10/7/2011        10:19:30
78086      9097828240      9/23/2011        11:50:26
78087      9097849789      8/21/2012        13:58:16
78088      9097849829      10/7/2012        12:49:12
78089      9098000122      12/5/2011        18:18:35
78090      9098002926      2/10/2012        10:37:07
78091      9098004192      3/6/2012         12:35:11
78092      9098007180      1/16/2012        12:06:00
78093      9098008406      12/6/2011        13:42:10
78094      9098014784      1/9/2012         18:48:45
78095      9098020691      9/12/2011        13:40:15
78096      9098023363      3/12/2012        19:34:33
78097      9098065416      9/26/2012        15:30:54
78098      9098065635      8/15/2011        10:18:17
78099      9098069456      9/19/2012        21:29:42
78100      9098091035      3/29/2012        11:40:24
78101      9098091035      4/30/2012        21:05:30
78102      9098091035      7/16/2012        19:53:53
78103      9098107191      12/15/2011       21:46:59
78104      9098108428      7/27/2012        21:14:07
78105      9098109859      7/13/2012        12:17:17
78106      9098166490      2/16/2012        11:26:39
78107      9098204475      12/6/2011        13:20:50
78108      9098209674      8/30/2012        17:39:02
78109      9098211116      9/27/2012        13:26:32
78110      9098213854      7/16/2012        14:26:16
78111      9098213890      4/15/2012        17:53:14
78112      9098216174      6/18/2012        15:16:06
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78113      9098270550      6/7/2012         16:15:49
78114      9098270598      9/13/2011        18:12:55
78115      9098274043      6/15/2011        11:27:31
78116      9098274326      9/26/2011        13:20:41
78117      9098275270      12/1/2011        10:26:55
78118      9098275357      1/21/2012        11:14:51
78119      9098310313      9/8/2011         18:20:08
78120      9098311207      10/5/2011        14:53:17
78121      9098316719      5/26/2011        10:24:14
78122      9098316719      9/29/2011        15:57:59
78123      9098352268      11/22/2011       19:51:35
78124      9098357935      11/12/2011       10:08:43
78125      9098377442      11/15/2011       15:36:55
78126      9098377563      4/30/2012        21:05:32
78127      9098380059      4/4/2012         18:55:52
78128      9098380343      5/9/2012         21:05:14
78129      9098383346      3/14/2011        17:17:12
78130      9098415000      9/28/2012        14:17:08
78131      9098415361      11/4/2011        10:15:24
78132      9098416095      3/26/2012        15:07:22
78133      9098418271      12/9/2011        14:29:54
78134      9098438685      7/9/2012         11:00:36
78135      9098442382      5/21/2012        18:00:58
78136      9098554730      11/3/2011        17:27:15
78137      9098557126      9/23/2011        11:53:28
78138      9098562455      10/10/2011       12:06:13
78139      9098735395      6/1/2012         10:40:10
78140      9098771876      9/12/2011        13:35:13
78141      9098946126      10/7/2012        13:15:24
78142      9098948869      4/30/2012        21:05:54
78143      9099000532      4/12/2012        14:19:14
78144      9099002176      7/18/2013        10:02:36
78145      9099002183      8/8/2011         16:05:01
78146      9099002704      2/14/2012        10:03:13
78147      9099005236      9/29/2011        16:03:12
78148      9099005236      10/22/2011       12:51:26
78149      9099005909      5/7/2012         21:43:08
78150      9099007268      3/30/2012        21:41:00
78151      9099008736      1/20/2012        20:31:51
78152      9099009188      2/2/2012         21:03:16
78153      9099009454      2/3/2012         20:13:13
78154      9099043240      6/4/2012         10:10:11
78155      9099044904      10/15/2011       10:06:33
78156      9099044904      4/19/2012        15:12:13
78157      9099045211      10/8/2011        10:22:39
78158      9099045587      10/23/2012       10:57:04
78159      9099081032      10/18/2012       16:38:43
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78160      9099086366      11/21/2011       11:00:48
78161      9099100359      9/16/2011        15:11:47
78162      9099100531      9/12/2011        14:40:57
78163      9099100916      10/3/2011        10:34:39
78164      9099103013      12/19/2011       11:18:15
78165      9099103261      4/9/2012         17:56:26
78166      9099106809      7/24/2012        14:42:00
78167      9099108961      1/31/2012        10:14:14
78168      9099130013      3/13/2012        12:47:17
78169      9099131101      12/24/2011       11:37:41
78170      9099132008      3/12/2012        19:13:34
78171      9099170537      5/24/2011        16:23:29
78172      9099172200      3/15/2012        18:59:35
78173      9099173117      1/9/2012         18:49:55
78174      9099199834      1/4/2012         20:42:48
78175      9099214864      10/1/2011        10:10:18
78176      9099214898      8/9/2011         13:11:09
78177      9099218385      8/20/2012        18:46:31
78178      9099219864      10/15/2011       10:03:12
78179      9099219864      11/17/2011       16:51:42
78180      9099229395      9/19/2011        15:01:43
78181      9099356445      9/11/2012        21:24:28
78182      9099368552      5/2/2011         18:22:12
78183      9099380870      11/26/2011       12:13:56
78184      9099382854      10/21/2011       13:21:35
78185      9099383955      10/29/2011       11:54:45
78186      9099521125      10/31/2011       10:12:58
78187      9099521273      11/22/2011       19:47:57
78188      9099530266      1/3/2012         16:58:47
78189      9099570983      6/29/2012        17:40:55
78190      9099571806      4/20/2012        13:56:51
78191      9099572206      10/7/2011        10:29:24
78192      9099579884      8/28/2012        12:06:22
78193      9099579977      1/7/2012         10:23:26
78194      9099613014      7/13/2011        12:09:52
78195      9099613183      2/15/2012        21:04:45
78196      9099613226      5/20/2011        18:14:23
78197      9099613699      6/14/2012        20:49:22
78198      9099639066      5/14/2012        15:46:59
78199      9099641450      4/30/2012        15:01:01
78200      9099649206      9/29/2012        10:02:19
78201      9099650076      5/24/2012        12:35:46
78202      9099655958      11/4/2011        10:19:52
78203      9099694439      5/14/2012        15:40:10
78204      9099717334      12/16/2011       16:44:37
78205      9099717334      1/16/2012        12:15:14
78206      9099717334      3/27/2012        15:09:17
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78207      9099725954      4/26/2012        21:09:01
78208      9099730536      3/14/2011        17:29:04
78209      9099731076      9/2/2012         11:55:22
78210      9099732202      9/26/2011        13:23:12
78211      9099732809      5/20/2012        15:58:32
78212      9099733291      10/11/2011       17:39:23
78213      9099739592      10/29/2011       12:03:07
78214      9099751122      12/23/2011       14:29:07
78215      9099751527      10/22/2012       10:31:53
78216      9099797323      5/8/2012         21:29:31
78217      9099915030      8/3/2012         16:33:08
78218      9099915831      10/4/2011        13:26:54
78219      9099929130      5/1/2012         17:52:07
78220      9099937302      10/6/2011        18:00:05
78221      9099940817      1/24/2012        17:10:44
78222      9099940817      4/28/2012        10:18:17
78223      9099941173      10/15/2012       16:15:28
78224      9099941321      4/4/2012         14:00:30
78225      9099945524      9/19/2011        19:36:26
78226      9099949066      6/18/2012        10:41:49
78227      9099969009      11/21/2011       11:00:14
78228      9099971801      5/22/2012        18:45:35
78229      9099972881      5/7/2012         14:53:38
78230      9099974186      5/7/2012         21:41:04
78231      9099976398      9/26/2011        13:22:55
78232      9099977979      3/8/2012         15:38:25
78233      9099977979      8/2/2012         18:58:27
78234      9099978574      12/3/2011        10:05:00
78235      9102002153      12/30/2011       9:10:23
78236      9102003610      2/10/2012        16:59:35
78237      9102005135      2/4/2012         8:06:18
78238      9102006195      12/27/2011       14:34:44
78239      9102008122      4/1/2011         10:40:09
78240      9102009591      1/5/2012         13:57:36
78241      9102027459      1/6/2012         14:39:41
78242      9102062246      3/26/2011        10:54:46
78243      9102067578      1/3/2012         16:33:10
78244      9102068277      8/16/2012        19:45:06
78245      9102068890      12/7/2011        13:53:22
78246      9102071739      8/20/2012        18:52:37
78247      9102145872      12/17/2011       11:54:36
78248      9102146894      4/3/2012         15:55:11
78249      9102149662      6/12/2012        17:10:49
78250      9102157022      8/1/2012         8:27:48
78251      9102157022      8/13/2012        7:35:16
78252      9102157065      10/10/2011       11:35:50
78253      9102173133      8/28/2012        7:27:36
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78254      9102175332      11/19/2011       8:49:08
78255      9102175754      8/20/2011        9:46:56
78256      9102201603      3/20/2012        9:21:49
78257      9102202431      2/17/2012        9:13:37
78258      9102206602      3/17/2012        8:48:21
78259      9102207056      7/20/2012        14:52:39
78260      9102209159      10/21/2011       13:05:04
78261      9102241258      8/14/2012        8:02:06
78262      9102241258      9/28/2012        16:42:18
78263      9102241679      11/7/2011        8:00:19
78264      9102246222      3/24/2012        10:22:10
78265      9102246881      12/16/2011       15:30:50
78266      9102247988      2/22/2012        7:09:46
78267      9102248467      11/15/2011       15:16:21
78268      9102248960      10/31/2011       7:13:30
78269      9102250261      9/26/2011        7:58:05
78270      9102250687      12/23/2011       13:51:29
78271      9102282721      8/15/2012        7:49:10
78272      9102284759      11/12/2011       10:24:22
78273      9102296173      9/26/2012        14:43:59
78274      9102297177      3/14/2012        19:42:42
78275      9102297260      6/5/2012         13:57:36
78276      9102298743      11/21/2011       7:03:20
78277      9102299290      10/27/2011       15:06:55
78278      9102299290      12/15/2011       8:27:22
78279      9102311594      6/16/2012        7:47:43
78280      9102311900      12/20/2011       9:29:55
78281      9102313423      7/16/2012        19:44:16
78282      9102314724      9/21/2011        11:42:11
78283      9102315540      5/21/2012        7:22:11
78284      9102316261      5/10/2011        18:47:41
78285      9102318795      1/12/2012        14:11:23
78286      9102319851      10/20/2011       15:26:48
78287      9102321439      11/4/2011        7:10:45
78288      9102335445      5/12/2012        10:31:12
78289      9102337824      5/20/2012        15:21:53
78290      9102342539      6/18/2012        9:21:57
78291      9102373180      5/18/2012        7:13:05
78292      9102374882      3/15/2011        12:18:02
78293      9102389144      11/28/2011       16:30:25
78294      9102389336      3/15/2014        8:18:08
78295      9102452227      10/17/2011       7:52:48
78296      9102492237      4/12/2012        18:03:13
78297      9102538079      4/12/2012        12:28:17
78298      9102575210      9/20/2011        20:36:21
78299      9102581967      1/11/2012        7:29:32
78300      9102583082      6/21/2012        10:11:29
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78301      9102583453      7/16/2012        19:37:06
78302      9102584832      6/28/2012        17:42:16
78303      9102586370      10/8/2013        7:10:03
78304      9102589319      10/22/2012       17:47:29
78305      9102601400      8/23/2012        11:49:53
78306      9102617065      9/12/2011        13:46:04
78307      9102617100      5/19/2012        9:43:14
78308      9102617568      9/26/2012        7:10:52
78309      9102621079      1/23/2012        19:05:41
78310      9102621079      8/30/2012        17:39:28
78311      9102625136      3/17/2012        8:36:02
78312      9102625727      9/19/2011        19:09:00
78313      9102628406      1/9/2012         7:03:40
78314      9102633688      12/6/2011        7:22:04
78315      9102640429      9/21/2011        19:32:49
78316      9102645045      3/31/2012        17:34:58
78317      9102651105      11/30/2011       8:09:31
78318      9102651261      12/9/2011        15:22:30
78319      9102651427      6/19/2012        7:56:52
78320      9102652021      8/2/2011         17:57:57
78321      9102659576      5/14/2012        15:18:21
78322      9102693300      1/18/2012        9:43:38
78323      9102693300      3/9/2012         7:08:34
78324      9102696779      2/2/2012         7:15:58
78325      9102710671      10/20/2011       15:26:42
78326      9102710671      5/21/2012        7:25:30
78327      9102712516      9/26/2012        14:36:21
78328      9102712767      9/17/2012        7:47:51
78329      9102713100      9/11/2012        7:47:23
78330      9102713830      3/15/2012        19:03:22
78331      9102714206      3/3/2012         8:16:45
78332      9102714289      10/25/2012       19:45:02
78333      9102714711      9/19/2011        7:24:55
78334      9102714711      10/20/2011       15:16:34
78335      9102715360      3/20/2012        9:25:29
78336      9102715656      9/29/2011        15:03:25
78337      9102715763      3/2/2012         18:40:22
78338      9102716640      9/20/2011        17:47:17
78339      9102718054      12/30/2011       7:12:31
78340      9102730517      12/13/2011       17:11:04
78341      9102731840      8/25/2012        11:02:54
78342      9102735523      7/6/2012         14:38:47
78343      9102735565      9/24/2011        9:05:19
78344      9102737074      2/20/2012        16:49:49
78345      9102737074      4/11/2012        7:18:36
78346      9102739628      2/7/2012         17:06:17
78347      9102742318      1/11/2012        16:20:25
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78348      9102744449      11/29/2011       16:07:10
78349      9102748080      12/1/2011        7:54:02
78350      9102793412      2/11/2012        11:08:11
78351      9102799401      1/5/2012         12:01:54
78352      9102800680      9/28/2012        16:50:30
78353      9102804584      1/13/2012        17:13:30
78354      9102805068      10/4/2011        13:10:32
78355      9102807573      9/23/2011        11:26:37
78356      9102822344      3/27/2012        15:10:24
78357      9102822344      6/7/2012         14:41:47
78358      9102842201      10/10/2011       11:45:04
78359      9102862094      9/28/2011        9:09:09
78360      9102865013      9/10/2011        8:26:40
78361      9102867037      6/25/2012        13:15:10
78362      9102867728      3/27/2012        15:36:26
78363      9102891153      1/6/2012         14:38:33
78364      9102901401      11/9/2011        7:33:57
78365      9102958000      12/1/2011        7:48:42
78366      9102970869      2/17/2012        9:10:34
78367      9102973039      1/17/2012        18:42:14
78368      9102973965      2/17/2012        18:18:03
78369      9102973965      4/24/2012        18:08:02
78370      9102974006      2/15/2012        7:56:05
78371      9102976170      3/22/2012        7:48:07
78372      9102976728      6/18/2012        7:56:57
78373      9102977257      5/19/2012        16:05:50
78374      9102979638      6/15/2012        8:58:38
78375      9103050375      3/13/2012        14:06:20
78376      9103050641      1/27/2012        17:47:31
78377      9103052794      2/10/2012        17:01:40
78378      9103052794      2/21/2012        9:41:08
78379      9103053129      8/3/2012         7:52:55
78380      9103056023      11/9/2011        7:53:52
78381      9103056284      10/26/2011       11:50:00
78382      9103056375      4/29/2012        18:24:40
78383      9103058126      2/11/2012        11:00:04
78384      9103059266      3/12/2012        19:15:40
78385      9103081359      10/11/2011       16:50:23
78386      9103081580      9/12/2011        13:47:47
78387      9103084650      6/13/2012        7:04:37
78388      9103084650      6/16/2012        15:23:28
78389      9103090109      9/20/2011        16:41:08
78390      9103152169      12/18/2011       17:20:09
78391      9103153837      5/23/2012        16:36:29
78392      9103154387      5/11/2012        18:04:45
78393      9103156576      2/11/2012        15:31:46
78394      9103156986      12/29/2011       18:53:53
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78395      9103158608      2/11/2012        15:07:03
78396      9103159081      9/10/2012        7:34:07
78397      9103167905      4/13/2012        13:47:25
78398      9103181243      9/8/2011         19:41:16
78399      9103182024      2/14/2012        9:37:31
78400      9103182308      11/23/2011       14:34:08
78401      9103182486      2/11/2012        11:00:01
78402      9103183149      1/13/2012        17:13:59
78403      9103183320      10/17/2011       8:18:36
78404      9103183320      10/26/2011       12:05:28
78405      9103183320      11/14/2011       16:49:33
78406      9103183508      7/16/2013        19:27:42
78407      9103184313      5/1/2012         8:13:32
78408      9103188738      6/5/2012         17:48:15
78409      9103205587      10/5/2011        14:33:20
78410      9103220306      10/31/2011       7:08:45
78411      9103225331      5/21/2012        7:24:31
78412      9103225331      5/29/2012        17:04:21
78413      9103300823      3/14/2012        14:46:10
78414      9103302319      12/17/2011       11:46:57
78415      9103306461      7/14/2012        8:06:32
78416      9103310711      4/7/2012         9:24:44
78417      9103311240      12/27/2011       14:32:20
78418      9103314093      8/29/2012        11:00:48
78419      9103314369      1/5/2012         12:02:23
78420      9103317164      9/17/2011        10:15:31
78421      9103317164      10/8/2011        9:14:19
78422      9103342153      11/26/2011       11:36:11
78423      9103345082      9/3/2011         11:03:41
78424      9103345129      4/13/2012        13:48:27
78425      9103347825      9/29/2011        15:09:59
78426      9103355098      6/11/2012        17:57:24
78427      9103362336      9/13/2011        17:21:49
78428      9103362948      8/23/2012        11:46:11
78429      9103368364      9/15/2012        8:10:12
78430      9103372336      6/5/2012         17:48:45
78431      9103372560      12/16/2011       16:10:53
78432      9103373671      3/27/2012        15:39:09
78433      9103403155      10/11/2011       17:09:17
78434      9103403969      7/6/2012         16:45:19
78435      9103404926      9/20/2011        18:11:58
78436      9103407573      12/10/2011       14:22:49
78437      9103521011      10/14/2011       12:48:08
78438      9103522872      10/6/2011        17:28:24
78439      9103523354      12/23/2011       13:47:50
78440      9103527383      10/22/2011       12:23:36
78441      9103587769      11/14/2011       16:08:49
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78442      9103662256      1/6/2012         14:48:51
78443      9103667060      11/18/2011       13:22:04
78444      9103669547      10/10/2012       19:10:55
78445      9103670761      5/14/2012        15:19:07
78446      9103672566      4/18/2012        17:48:34
78447      9103672633      12/20/2011       19:23:05
78448      9103677638      1/17/2012        17:18:58
78449      9103689006      10/22/2011       12:26:53
78450      9103723065      9/15/2011        7:18:27
78451      9103731469      7/21/2012        10:22:44
78452      9103735934      3/13/2012        11:08:18
78453      9103737799      11/23/2011       10:14:03
78454      9103738399      12/18/2011       17:30:27
78455      9103740323      6/10/2012        13:04:33
78456      9103740802      12/27/2011       14:32:09
78457      9103742531      9/25/2012        14:49:48
78458      9103744086      10/3/2011        7:01:33
78459      9103744700      12/1/2011        15:17:39
78460      9103746752      5/25/2012        17:01:28
78461      9103750772      2/11/2012        15:27:29
78462      9103750773      6/2/2012         12:37:34
78463      9103752283      5/23/2012        16:34:07
78464      9103752312      10/9/2012        7:29:44
78465      9103764813      11/18/2011       13:24:12
78466      9103795782      12/20/2011       9:31:20
78467      9103796439      1/13/2012        17:20:03
78468      9103797885      9/8/2011         17:56:10
78469      9103798152      2/24/2014        7:18:15
78470      9103811369      1/18/2012        9:44:59
78471      9103811369      1/23/2012        19:05:59
78472      9103811530      2/11/2012        10:38:17
78473      9103813459      7/23/2012        15:29:50
78474      9103813778      1/8/2012         13:02:58
78475      9103816617      4/22/2012        15:08:54
78476      9103817914      5/14/2012        15:17:25
78477      9103818926      11/17/2011       15:00:41
78478      9103824004      9/26/2012        7:09:55
78479      9103824004      10/15/2012       16:19:22
78480      9103824784      7/9/2012         19:06:21
78481      9103829242      4/5/2012         14:31:15
78482      9103845740      6/25/2012        13:34:16
78483      9103848628      12/14/2011       14:56:11
78484      9103850915      6/8/2012         16:59:10
78485      9103851109      9/6/2011         12:42:14
78486      9103851109      9/27/2011        18:07:42
78487      9103853332      10/5/2011        14:02:39
78488      9103855774      12/19/2011       7:33:09
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78489      9103855914      3/2/2012         7:08:46
78490      9103856024      12/20/2011       19:21:44
78491      9103856024      5/25/2012        16:59:03
78492      9103856749      9/20/2011        18:05:59
78493      9103884824      9/17/2012        7:38:10
78494      9103891348      3/23/2012        19:43:27
78495      9103918299      7/27/2011        17:23:41
78496      9103919570      2/4/2012         8:16:38
78497      9103980080      10/3/2011        8:06:57
78498      9103984643      10/10/2011       11:51:56
78499      9104095344      12/17/2011       12:09:15
78500      9104099030      9/19/2011        19:25:37
78501      9104164167      3/12/2012        19:23:28
78502      9104164167      4/13/2012        13:36:00
78503      9104177008      10/8/2011        11:16:52
78504      9104242502      10/17/2011       11:31:02
78505      9104295263      6/15/2012        16:36:07
78506      9104310741      10/17/2012       9:41:18
78507      9104312343      11/9/2011        7:56:41
78508      9104312472      1/9/2012         18:08:40
78509      9104314875      10/14/2011       12:45:07
78510      9104316239      11/3/2011        17:46:12
78511      9104318035      5/2/2012         13:36:35
78512      9104418278      3/14/2012        19:44:57
78513      9104419327      11/1/2011        8:24:15
78514      9104427284      2/21/2012        9:41:07
78515      9104451734      9/18/2012        14:14:33
78516      9104456775      10/27/2011       15:09:56
78517      9104458260      7/15/2013        8:43:55
78518      9104480209      2/6/2012         7:10:30
78519      9104480209      9/1/2012         8:50:37
78520      9104616043      2/11/2012        15:03:08
78521      9104616871      4/16/2012        15:45:36
78522      9104617212      4/4/2012         18:35:02
78523      9104638413      3/13/2012        18:37:27
78524      9104651280      1/13/2012        7:20:52
78525      9104653144      12/26/2011       20:06:49
78526      9104657059      2/13/2012        18:22:36
78527      9104657059      3/19/2012        19:09:59
78528      9104657059      5/21/2012        7:04:55
78529      9104657620      9/26/2011        7:57:54
78530      9104676562      8/23/2011        18:38:00
78531      9104700157      5/27/2012        13:48:43
78532      9104701336      6/23/2012        8:41:57
78533      9104701348      4/2/2012         7:03:35
78534      9104703531      10/15/2011       9:16:52
78535      9104705930      12/23/2011       7:14:00
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78536      9104705930      1/20/2012        11:46:14
78537      9104707877      10/18/2012       16:28:44
78538      9104708693      7/3/2012         12:58:19
78539      9104709959      10/21/2011       13:06:06
78540      9104711075      12/23/2011       13:50:33
78541      9104715395      12/19/2011       7:41:25
78542      9104717700      4/2/2012         7:15:08
78543      9104719115      10/25/2011       15:03:06
78544      9104741915      11/26/2011       12:55:27
78545      9104742028      1/3/2012         17:00:37
78546      9104743910      9/17/2011        9:31:44
78547      9104744134      1/9/2012         7:01:33
78548      9104744361      1/5/2012         13:59:31
78549      9104747074      1/5/2012         17:19:50
78550      9104749163      5/8/2012         7:13:44
78551      9104760158      5/4/2012         14:36:36
78552      9104760947      10/8/2011        10:27:11
78553      9104763234      11/9/2011        7:29:03
78554      9104768449      5/28/2012        8:06:56
78555      9104768519      2/18/2012        8:51:13
78556      9104769361      9/18/2012        14:24:58
78557      9104770142      11/20/2011       11:06:24
78558      9104770238      11/3/2011        17:05:35
78559      9104770321      8/2/2012         19:12:19
78560      9104785450      5/28/2012        8:17:55
78561      9104890026      10/14/2011       12:49:12
78562      9104894589      4/12/2012        12:14:16
78563      9104897880      10/5/2011        14:03:11
78564      9104945452      11/19/2011       8:47:32
78565      9104945915      12/27/2011       14:35:14
78566      9104945982      6/8/2012         7:24:41
78567      9104946118      12/6/2011        7:23:06
78568      9104946342      1/16/2012        17:29:02
78569      9104954253      3/26/2012        18:36:53
78570      9104954402      5/17/2012        7:06:03
78571      9104965250      11/14/2011       15:33:14
78572      9104965778      4/11/2012        7:07:38
78573      9104965780      3/24/2012        10:14:47
78574      9104966302      7/26/2011        7:09:10
78575      9104966598      6/1/2012         9:08:14
78576      9104966598      10/18/2012       7:13:07
78577      9104991424      5/18/2012        12:03:04
78578      9104993562      9/26/2012        7:11:49
78579      9105061148      12/1/2011        8:11:01
78580      9105061148      5/8/2012         7:09:12
78581      9105080288      5/3/2012         7:11:39
78582      9105082111      12/15/2011       8:24:49
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78583      9105082755      10/15/2011       9:07:42
78584      9105082755      11/2/2011        7:05:13
78585      9105082755      1/6/2012         10:00:54
78586      9105082755      6/15/2012        16:40:05
78587      9105083142      1/29/2012        17:06:55
78588      9105087657      8/17/2011        18:36:14
78589      9105088369      5/29/2012        7:06:16
78590      9105122009      9/21/2012        15:34:42
78591      9105122212      5/3/2012         7:11:40
78592      9105142265      8/4/2011         7:56:30
78593      9105148241      4/1/2012         16:45:35
78594      9105201773      1/8/2012         12:45:17
78595      9105204337      12/29/2011       11:04:25
78596      9105204507      7/26/2012        19:19:10
78597      9105210455      10/4/2011        13:37:23
78598      9105261982      8/24/2011        12:14:51
78599      9105265541      8/31/2011        10:40:03
78600      9105268420      1/24/2012        17:07:19
78601      9105270241      9/3/2012         14:44:31
78602      9105272853      9/8/2011         17:49:55
78603      9105273544      5/15/2012        19:07:38
78604      9105274872      7/13/2012        11:12:51
78605      9105275830      9/16/2011        12:54:13
78606      9105278143      10/17/2012       9:35:03
78607      9105279832      10/14/2011       13:13:30
78608      9105279832      11/1/2011        8:18:04
78609      9105280630      1/17/2012        18:43:34
78610      9105281629      1/2/2012         7:07:41
78611      9105284733      6/29/2011        16:32:40
78612      9105285721      5/14/2012        15:28:48
78613      9105285932      9/9/2011         7:37:26
78614      9105287295      2/6/2012         17:10:15
78615      9105340454      3/13/2012        18:34:44
78616      9105360322      10/10/2011       11:41:05
78617      9105368377      8/8/2012         7:05:32
78618      9105382227      8/23/2012        11:49:57
78619      9105401662      1/8/2012         13:04:37
78620      9105401715      1/5/2012         12:02:34
78621      9105406810      11/29/2011       15:52:58
78622      9105407465      9/1/2012         8:43:50
78623      9105409575      10/8/2011        10:53:01
78624      9105450802      2/8/2012         7:26:05
78625      9105454555      10/24/2011       7:24:36
78626      9105454638      2/17/2012        18:17:00
78627      9105454638      2/28/2012        15:51:27
78628      9105454638      10/19/2012       9:52:40
78629      9105459330      7/19/2012        17:37:37
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78630      9105460675      12/15/2011       8:26:02
78631      9105463925      1/11/2012        16:26:30
78632      9105465316      10/10/2011       12:12:05
78633      9105466538      11/30/2011       15:04:49
78634      9105474612      5/1/2012         17:59:49
78635      9105476163      12/21/2011       10:12:31
78636      9105476163      1/18/2012        16:50:29
78637      9105476898      7/12/2012        19:50:10
78638      9105477577      10/22/2011       13:18:00
78639      9105478775      2/22/2012        7:18:42
78640      9105481490      7/13/2012        16:51:31
78641      9105505635      10/5/2012        18:27:57
78642      9105514140      1/29/2012        17:00:13
78643      9105515942      10/8/2011        9:13:21
78644      9105541528      11/18/2011       12:35:38
78645      9105542935      3/7/2012         18:36:51
78646      9105682091      10/15/2011       8:27:52
78647      9105682311      7/26/2012        12:00:37
78648      9105682908      5/1/2012         8:38:59
78649      9105686210      10/5/2011        14:00:47
78650      9105689118      1/19/2012        18:25:27
78651      9105689490      12/23/2011       7:14:34
78652      9105718744      10/20/2012       8:03:15
78653      9105730264      12/15/2011       8:26:12
78654      9105730717      10/25/2012       19:33:51
78655      9105731238      11/23/2011       9:16:18
78656      9105731643      4/5/2012         9:24:51
78657      9105780997      12/9/2011        13:37:46
78658      9105783844      1/10/2012        15:13:13
78659      9105783844      1/13/2012        17:20:58
78660      9105785125      12/29/2011       19:23:54
78661      9105788242      12/27/2011       14:29:57
78662      9105788601      12/27/2011       14:31:58
78663      9105789950      5/2/2012         13:41:33
78664      9105800543      6/18/2012        15:07:40
78665      9105800909      8/16/2012        19:47:09
78666      9105803066      10/19/2011       11:59:15
78667      9105805081      5/21/2012        7:21:18
78668      9105830157      1/12/2012        14:13:42
78669      9105830157      5/21/2012        7:03:00
78670      9105830157      6/11/2012        17:52:43
78671      9105833642      7/27/2012        15:41:01
78672      9105834467      9/24/2012        12:51:53
78673      9105836188      10/22/2011       12:34:34
78674      9105837874      9/4/2012         16:03:41
78675      9105844906      8/1/2012         8:30:00
78676      9105844995      9/15/2012        8:13:37
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78677      9105845813      1/16/2012        17:27:40
78678      9105851505      4/5/2012         14:22:57
78679      9105851951      1/12/2012        14:13:50
78680      9105874411      3/14/2012        19:40:05
78681      9105875179      5/18/2012        12:04:34
78682      9105875322      11/8/2011        14:10:30
78683      9105875330      12/24/2011       7:25:59
78684      9105879922      7/13/2012        17:01:35
78685      9105904848      11/29/2011       16:06:32
78686      9105905829      11/4/2011        7:13:23
78687      9105906233      7/11/2012        17:18:28
78688      9105919484      1/2/2012         7:05:08
78689      9105993105      5/1/2012         17:25:22
78690      9105995707      4/7/2012         9:24:20
78691      9105997787      1/30/2012        7:04:07
78692      9105998212      10/17/2011       7:38:00
78693      9106031719      8/6/2011         9:17:14
78694      9106035285      5/6/2012         17:38:07
78695      9106035818      10/15/2011       10:27:24
78696      9106040585      3/20/2012        17:39:07
78697      9106082385      7/12/2012        19:56:15
78698      9106103133      9/8/2012         11:21:49
78699      9106105243      3/13/2012        16:45:16
78700      9106125590      11/18/2011       12:20:57
78701      9106160178      11/22/2011       19:16:55
78702      9106170548      1/18/2012        9:57:51
78703      9106172092      11/2/2011        7:21:20
78704      9106186001      7/6/2012         16:51:08
78705      9106187079      10/20/2012       16:18:45
78706      9106187419      2/20/2012        17:02:52
78707      9106191945      11/7/2011        8:28:44
78708      9106199190      12/17/2011       11:56:20
78709      9106204057      9/14/2011        16:08:36
78710      9106205839      11/7/2011        8:23:36
78711      9106207584      10/19/2011       7:46:58
78712      9106208357      9/22/2011        15:09:08
78713      9106208595      12/22/2011       8:35:17
78714      9106244686      4/1/2011         11:23:38
78715      9106251192      4/4/2012         18:43:20
78716      9106251464      12/18/2011       17:02:40
78717      9106255456      11/18/2011       12:16:24
78718      9106255933      3/7/2012         18:30:39
78719      9106256666      8/31/2012        16:27:09
78720      9106256670      9/17/2012        7:39:10
78721      9106332196      6/6/2012         13:07:54
78722      9106339211      8/6/2012         11:43:18
78723      9106339357      1/13/2012        17:12:19
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78724      9106358831      9/12/2011        13:00:20
78725      9106358894      12/6/2011        14:27:13
78726      9106384417      3/31/2012        17:28:36
78727      9106389253      6/14/2012        16:02:56
78728      9106391143      1/13/2012        12:22:55
78729      9106394251      10/8/2011        11:18:44
78730      9106401858      1/9/2012         18:04:48
78731      9106408091      10/26/2011       12:44:02
78732      9106408652      7/12/2012        19:49:32
78733      9106409277      9/20/2011        16:35:51
78734      9106442696      1/6/2012         15:00:58
78735      9106446061      3/26/2012        18:21:00
78736      9106448550      3/16/2012        10:02:21
78737      9106500660      1/24/2012        20:09:04
78738      9106501678      7/11/2011        7:17:03
78739      9106506586      4/12/2012        12:14:30
78740      9106506586      5/12/2012        8:45:45
78741      9106506586      5/21/2012        7:48:47
78742      9106507192      11/28/2011       17:49:25
78743      9106509628      12/5/2011        18:26:40
78744      9106580896      9/24/2012        18:50:00
78745      9106587980      11/22/2011       19:17:33
78746      9106701872      5/2/2012         13:10:26
78747      9106702007      9/27/2011        18:04:38
78748      9106702253      4/14/2012        9:10:54
78749      9106705776      6/2/2012         13:01:39
78750      9106706108      2/11/2012        15:03:47
78751      9106741955      1/11/2012        16:18:07
78752      9106850444      10/3/2012        7:03:08
78753      9106894137      11/21/2011       7:33:12
78754      9106898294      7/2/2012         17:29:10
78755      9106900906      10/26/2011       12:47:25
78756      9106903514      11/10/2011       7:02:49
78757      9106903751      1/21/2012        8:17:27
78758      9106913366      8/11/2012        9:37:30
78759      9106914707      10/14/2011       13:16:48
78760      9106946117      5/22/2012        11:39:47
78761      9106955939      10/18/2012       16:34:17
78762      9107033525      10/10/2012       19:09:28
78763      9107063336      12/13/2011       17:29:48
78764      9107090315      5/11/2012        14:41:10
78765      9107096016      10/25/2012       12:26:13
78766      9107099630      9/22/2011        15:17:14
78767      9107232038      6/29/2012        17:48:43
78768      9107238577      3/1/2012         8:35:17
78769      9107282195      3/13/2012        16:45:37
78770      9107283824      1/16/2012        17:10:12
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78771      9107285610      4/30/2012        15:06:09
78772      9107332017      2/21/2012        10:50:21
78773      9107332613      5/11/2012        14:41:38
78774      9107335643      1/9/2012         7:51:53
78775      9107335653      2/6/2012         17:08:17
78776      9107335653      9/24/2012        19:03:34
78777      9107336146      7/16/2011        8:19:51
78778      9107344658      12/22/2011       8:54:49
78779      9107345672      5/16/2012        16:54:02
78780      9107349590      2/3/2012         7:06:19
78781      9107363023      8/30/2012        7:47:50
78782      9107364260      12/15/2011       8:25:12
78783      9107367899      11/10/2011       7:14:44
78784      9107400115      8/11/2012        9:31:55
78785      9107400293      5/31/2012        7:02:29
78786      9107400715      11/16/2011       8:48:27
78787      9107401080      9/30/2011        9:52:07
78788      9107401353      8/4/2012         7:58:33
78789      9107404166      8/11/2011        10:55:34
78790      9107404528      11/30/2011       7:17:03
78791      9107404958      3/28/2012        16:46:54
78792      9107405008      9/19/2012        7:59:32
78793      9107409167      12/29/2011       11:04:38
78794      9107508584      7/25/2012        12:03:47
78795      9107513344      8/3/2012         16:22:55
78796      9107514597      4/15/2012        16:32:14
78797      9107514597      7/7/2012         10:08:01
78798      9107590977      2/14/2012        16:38:35
78799      9107591362      9/28/2012        16:39:49
78800      9107701142      12/5/2011        9:16:47
78801      9107740123      12/28/2011       18:25:55
78802      9107783378      9/20/2011        17:45:52
78803      9107834120      12/22/2011       9:32:00
78804      9107834423      10/20/2012       8:09:37
78805      9107851928      9/8/2011         19:28:57
78806      9107854780      12/28/2011       7:26:36
78807      9107854780      2/10/2012        16:58:52
78808      9107890114      3/16/2012        10:20:47
78809      9107956428      9/24/2012        18:50:35
78810      9107957705      7/26/2012        12:22:28
78811      9107970092      9/13/2011        7:22:35
78812      9107972907      8/10/2011        19:19:45
78813      9107973630      1/10/2012        12:27:23
78814      9108027453      6/12/2012        7:14:36
78815      9108027453      6/25/2012        13:31:57
78816      9108085893      4/6/2012         16:05:17
78817      9108178613      10/14/2011       13:15:21
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78818      9108186473      12/9/2011        14:47:36
78819      9108186864      11/21/2011       7:43:13
78820      9108187890      10/14/2011       13:15:17
78821      9108274364      9/26/2011        8:33:18
78822      9108277641      7/30/2011        8:15:58
78823      9108400962      1/6/2012         7:16:45
78824      9108404188      1/11/2012        16:28:07
78825      9108404578      1/9/2012         18:07:43
78826      9108405747      7/18/2012        7:13:24
78827      9108405747      8/8/2012         7:12:25
78828      9108432869      9/10/2011        8:25:58
78829      9108432869      9/22/2011        15:13:10
78830      9108495871      1/16/2012        17:21:23
78831      9108500815      1/5/2012         12:01:30
78832      9108504771      9/13/2011        7:12:55
78833      9108599062      1/29/2012        16:49:26
78834      9108723214      12/29/2011       19:20:46
78835      9108740328      3/29/2012        12:12:49
78836      9108743322      9/19/2011        19:03:02
78837      9108745128      9/21/2012        18:39:14
78838      9108745141      10/5/2012        18:15:49
78839      9108764107      2/25/2012        10:27:46
78840      9108764980      9/14/2011        12:43:19
78841      9108767316      8/16/2012        19:51:53
78842      9108769190      10/29/2011       10:38:07
78843      9108798099      10/18/2011       12:54:07
78844      9108798404      4/20/2012        14:12:11
78845      9108798404      5/21/2012        7:06:01
78846      9108798790      10/12/2011       11:54:45
78847      9108802841      11/11/2011       7:48:33
78848      9108846591      2/3/2012         7:20:51
78849      9108847980      10/24/2012       14:45:01
78850      9108900784      10/10/2012       12:31:38
78851      9108903827      9/19/2011        19:03:01
78852      9108906336      6/27/2012        17:56:22
78853      9108935696      5/11/2012        7:04:18
78854      9109043036      12/23/2011       15:22:54
78855      9109141002      1/23/2012        19:10:17
78856      9109160294      10/13/2011       7:23:15
78857      9109180287      9/6/2012         12:39:09
78858      9109182600      8/23/2012        19:06:28
78859      9109182644      11/21/2011       7:07:03
78860      9109182644      1/11/2012        7:34:40
78861      9109183030      12/27/2011       14:26:40
78862      9109183030      2/13/2012        18:36:08
78863      9109184109      2/17/2012        8:56:06
78864      9109188075      3/17/2012        8:18:41
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78865      9109189597      9/13/2012        7:43:29
78866      9109206470      12/15/2011       8:30:42
78867      9109222315      3/6/2014         11:16:09
78868      9109229053      5/23/2012        16:41:59
78869      9109229256      8/1/2011         19:37:09
78870      9109340580      11/28/2011       17:12:15
78871      9109345674      8/23/2012        11:51:49
78872      9109642378      5/15/2012        7:50:59
78873      9109642378      5/21/2012        7:33:20
78874      9109751924      6/19/2012        15:43:46
78875      9109752265      10/11/2011       15:45:04
78876      9109754221      9/27/2012        16:25:43
78877      9109770278      9/28/2011        9:14:49
78878      9109771246      4/28/2012        8:08:50
78879      9109773648      10/4/2011        13:41:58
78880      9109774701      8/10/2012        7:28:55
78881      9109775012      3/26/2012        14:56:19
78882      9109777921      9/26/2011        8:38:59
78883      9109780795      5/11/2012        18:32:21
78884      9109781897      5/10/2012        13:13:18
78885      9109784222      1/13/2012        12:31:44
78886      9109787041      12/18/2011       17:32:22
78887      9109787729      8/31/2011        11:12:34
78888      9109788642      2/6/2012         17:07:29
78889      9109851468      2/17/2012        9:09:43
78890      9109861133      5/6/2012         18:05:47
78891      9109861993      10/29/2011       9:53:01
78892      9109862753      9/23/2011        7:06:02
78893      9109877991      7/9/2011         8:09:49
78894      9109879690      11/25/2011       18:09:43
78895      9109883621      4/16/2012        7:22:41
78896      9109883638      8/13/2012        7:31:39
78897      9109887647      6/19/2012        7:50:52
78898      9109902385      2/11/2012        15:21:57
78899      9109902733      4/12/2012        18:18:34
78900      9109906977      5/3/2012         7:14:07
78901      9109920369      5/2/2012         13:19:51
78902      9109953026      5/23/2012        14:53:34
78903      9109954960      1/23/2012        19:08:42
78904      9109954992      9/28/2011        10:22:42
78905      9109955503      4/23/2012        7:02:41
78906      9109957420      9/25/2012        15:00:41
78907      9109957420      10/5/2012        18:14:30
78908      9109957576      11/12/2011       9:59:05
78909      9109957576      12/3/2011        9:43:15
78910      9109958583      10/27/2011       15:14:19
78911      9122101992      3/29/2012        12:11:26
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78912      9122200635      1/9/2012         18:07:04
78913      9122202863      8/25/2012        11:10:03
78914      9122204187      12/5/2011        9:07:31
78915      9122209347      10/8/2011        9:19:06
78916      9122221921      4/12/2012        18:02:56
78917      9122229847      2/21/2012        9:38:16
78918      9122232529      4/21/2011        8:45:27
78919      9122235807      4/15/2012        16:30:59
78920      9122243282      2/29/2012        17:41:59
78921      9122270444      10/11/2012       7:52:37
78922      9122274119      5/10/2012        14:54:09
78923      9122276152      4/16/2012        7:22:44
78924      9122280374      10/17/2011       7:32:24
78925      9122281626      11/17/2011       16:24:44
78926      9122289186      1/17/2012        17:07:59
78927      9122308003      9/27/2011        18:26:52
78928      9122308003      10/6/2011        16:07:09
78929      9122362013      2/6/2012         7:30:10
78930      9122375089      6/11/2012        7:16:18
78931      9122375417      9/3/2011         10:46:59
78932      9122376815      11/17/2011       13:35:47
78933      9122379354      9/21/2011        19:33:14
78934      9122400297      11/19/2011       8:33:13
78935      9122421035      8/15/2012        14:31:45
78936      9122421706      7/14/2012        8:17:31
78937      9122450316      9/13/2011        17:28:57
78938      9122451616      2/6/2012         17:08:37
78939      9122452866      11/5/2011        9:49:58
78940      9122454870      10/17/2012       18:35:54
78941      9122455508      8/3/2011         11:38:38
78942      9122457802      10/15/2012       16:16:01
78943      9122459535      10/6/2011        17:23:59
78944      9122460289      8/11/2012        9:23:07
78945      9122460700      4/12/2012        18:31:23
78946      9122461145      1/3/2012         11:01:14
78947      9122474640      4/4/2012         7:11:33
78948      9122476446      12/26/2011       9:23:44
78949      9122481433      6/9/2012         10:44:15
78950      9122484683      11/17/2011       15:15:49
78951      9122531106      6/24/2012        13:57:21
78952      9122531775      1/4/2012         12:22:20
78953      9122532473      10/6/2011        16:03:30
78954      9122538981      10/29/2011       10:41:12
78955      9122539292      9/21/2012        18:44:46
78956      9122560903      8/18/2011        8:26:19
78957      9122563490      8/31/2012        16:26:10
78958      9122564969      9/13/2012        7:43:02
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78959      9122581327      3/26/2012        18:38:03
78960      9122643844      3/2/2012         7:12:41
78961      9122690633      3/31/2012        8:14:45
78962      9122690719      12/8/2011        9:57:39
78963      9122691295      7/25/2011        16:32:30
78964      9122696301      10/25/2012       19:37:11
78965      9122718551      5/21/2012        8:01:21
78966      9122718682      9/19/2011        7:28:13
78967      9122719115      1/18/2012        16:48:33
78968      9122721523      3/15/2012        13:47:15
78969      9122722925      4/11/2012        13:17:00
78970      9122724985      10/5/2011        14:25:34
78971      9122762097      8/8/2011         15:02:24
78972      9122780450      11/17/2011       16:44:19
78973      9122781083      11/12/2011       10:23:30
78974      9122781529      10/3/2011        7:45:23
78975      9122784392      11/5/2011        9:50:53
78976      9122784703      3/24/2012        10:14:35
78977      9122812676      11/23/2011       14:30:13
78978      9122817266      6/9/2012         14:52:57
78979      9122826224      9/15/2012        8:16:56
78980      9122862793      8/12/2011        9:52:20
78981      9122883920      8/20/2011        8:35:12
78982      9122887687      3/12/2012        7:08:16
78983      9122925418      8/11/2012        9:34:47
78984      9122931772      3/14/2012        7:13:32
78985      9122940051      11/21/2011       7:34:36
78986      9122940051      12/5/2011        18:24:54
78987      9122940344      8/20/2012        18:51:43
78988      9122940344      8/23/2012        19:06:31
78989      9122940582      12/2/2011        15:17:00
78990      9122942603      3/15/2012        7:10:02
78991      9122947139      12/5/2011        18:07:10
78992      9122947205      10/19/2012       19:04:05
78993      9122948083      1/26/2012        10:21:13
78994      9122948817      7/21/2012        10:42:57
78995      9123069709      10/15/2011       10:26:32
78996      9123082049      9/22/2011        15:13:49
78997      9123082497      10/5/2011        14:06:26
78998      9123085933      9/21/2012        16:07:00
78999      9123089547      6/6/2012         7:10:49
79000      9123100839      9/20/2011        16:38:06
79001      9123130828      10/7/2011        7:26:38
79002      9123201199      7/5/2012         15:29:04
79003      9123202000      5/20/2011        17:39:27
79004      9123203350      11/23/2013       8:13:28
79005      9123205430      10/4/2011        13:15:46
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79006      9123209113      5/2/2012         13:37:11
79007      9123224907      3/6/2012         15:56:41
79008      9123233149      3/11/2012        15:08:18
79009      9123233409      9/16/2011        13:16:25
79010      9123236970      10/19/2011       7:22:29
79011      9123237177      12/7/2011        15:03:59
79012      9123341701      2/20/2012        16:49:55
79013      9123348711      11/17/2011       15:16:19
79014      9123372312      12/9/2011        8:17:46
79015      9123373977      11/22/2011       19:19:21
79016      9123392824      1/19/2012        18:26:17
79017      9123448423      10/11/2011       16:46:01
79018      9123466445      7/22/2011        13:26:56
79019      9123468237      11/19/2011       8:05:06
79020      9123472244      3/21/2012        7:13:39
79021      9123472394      5/8/2012         9:10:31
79022      9123735078      4/10/2012        11:34:53
79023      9123799937      9/20/2011        16:34:37
79024      9123812570      2/11/2012        15:02:36
79025      9123814211      1/18/2012        16:46:40
79026      9123875223      10/20/2012       16:19:23
79027      9123982957      10/6/2011        17:37:57
79028      9123983001      11/17/2011       16:45:43
79029      9123985019      2/19/2012        19:15:26
79030      9123985019      7/13/2012        11:11:58
79031      9123986077      3/20/2012        9:25:38
79032      9123989703      5/23/2011        15:31:01
79033      9123992429      7/19/2011        16:22:12
79034      9123992525      4/24/2012        12:23:05
79035      9123998753      11/18/2011       12:35:32
79036      9123998936      9/19/2011        19:30:24
79037      9124122753      1/17/2012        18:39:00
79038      9124124858      1/3/2012         11:17:21
79039      9124127274      10/5/2011        14:27:13
79040      9124147007      4/1/2012         16:11:01
79041      9124224109      11/5/2011        10:52:54
79042      9124231501      6/4/2012         8:30:33
79043      9124242978      10/5/2012        18:31:58
79044      9124250249      10/6/2012        8:48:02
79045      9124251173      3/10/2012        8:41:24
79046      9124259848      4/17/2012        9:29:02
79047      9124283354      11/25/2011       18:10:19
79048      9124321229      10/11/2011       16:50:09
79049      9124321229      10/28/2011       7:08:47
79050      9124328000      9/22/2012        9:33:58
79051      9124328868      11/9/2011        7:56:57
79052      9124332848      9/21/2011        19:32:54
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79053      9124334618      10/8/2011        11:09:40
79054      9124336941      11/10/2011       7:23:40
79055      9124410123      6/18/2011        15:11:25
79056      9124411226      12/9/2011        15:48:51
79057      9124671401      7/11/2012        17:24:13
79058      9124671401      9/28/2012        16:44:13
79059      9124678767      8/8/2012         16:09:31
79060      9124701014      4/25/2012        9:25:15
79061      9124701014      5/1/2012         14:05:27
79062      9124811937      12/9/2013        17:49:27
79063      9124811962      2/14/2012        9:37:08
79064      9124813330      9/25/2012        14:53:28
79065      9124813966      3/6/2012         17:01:09
79066      9124818860      12/9/2011        16:00:12
79067      9124840697      11/3/2011        17:08:52
79068      9124848979      6/8/2012         7:30:22
79069      9125066483      1/30/2012        7:12:23
79070      9125067869      8/15/2011        8:06:03
79071      9125067869      9/19/2011        19:26:03
79072      9125071146      9/23/2011        18:41:23
79073      9125071651      3/14/2012        14:47:03
79074      9125072939      10/20/2011       15:22:54
79075      9125073904      11/12/2011       10:10:16
79076      9125076083      8/21/2012        13:49:03
79077      9125079781      10/6/2011        17:31:27
79078      9125081497      1/12/2012        14:15:10
79079      9125083152      6/8/2011         19:01:13
79080      9125317964      8/3/2012         16:22:41
79081      9125364308      11/16/2011       7:47:49
79082      9125368598      6/14/2012        15:52:04
79083      9125390854      10/3/2011        7:11:15
79084      9125398329      3/10/2012        8:41:31
79085      9125412142      10/21/2011       12:26:13
79086      9125470241      12/14/2011       13:29:22
79087      9125478731      9/20/2011        17:27:32
79088      9125483323      10/26/2011       11:53:51
79089      9125489007      1/11/2012        16:28:32
79090      9125520682      11/28/2011       11:19:17
79091      9125523025      8/13/2012        7:36:07
79092      9125523222      9/17/2011        10:14:20
79093      9125523343      9/10/2011        8:12:35
79094      9125576256      3/16/2012        16:29:51
79095      9125700654      5/1/2012         8:11:44
79096      9125701179      8/1/2012         9:09:02
79097      9125710672      8/16/2012        19:46:47
79098      9125721122      5/22/2012        18:36:28
79099      9125724902      5/1/2012         17:33:39
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79100      9125852630      8/26/2011        18:12:41
79101      9125854056      1/6/2012         7:11:52
79102      9125905341      1/10/2012        12:32:12
79103      9125920908      11/29/2011       15:35:31
79104      9125921769      9/21/2012        19:05:45
79105      9125966263      9/7/2012         15:49:12
79106      9125967620      7/16/2012        19:26:22
79107      9125968070      8/9/2012         14:01:32
79108      9126043053      9/23/2011        7:10:56
79109      9126043879      9/15/2011        7:37:34
79110      9126044618      10/18/2012       16:36:01
79111      9126048384      12/1/2011        8:10:24
79112      9126048658      10/6/2011        17:20:03
79113      9126049211      10/15/2011       10:18:54
79114      9126102418      9/29/2011        15:44:22
79115      9126102418      10/6/2011        16:31:50
79116      9126142002      11/15/2011       16:00:54
79117      9126146168      10/15/2012       10:00:39
79118      9126147652      8/22/2012        11:08:39
79119      9126147962      9/30/2011        10:15:07
79120      9126170855      12/27/2011       13:36:26
79121      9126172007      9/13/2011        17:38:01
79122      9126180395      8/24/2011        12:06:41
79123      9126317786      9/24/2011        9:38:08
79124      9126319004      9/24/2012        18:52:36
79125      9126319085      1/28/2012        8:22:11
79126      9126550135      10/17/2011       11:13:05
79127      9126551445      3/7/2012         18:25:34
79128      9126552841      11/10/2011       7:28:43
79129      9126556249      10/1/2012        8:21:55
79130      9126556249      10/10/2012       19:04:13
79131      9126559430      4/4/2012         7:28:37
79132      9126569583      10/8/2011        12:29:33
79133      9126569583      1/27/2012        21:58:20
79134      9126569583      4/2/2012         12:56:35
79135      9126571752      8/6/2012         11:44:55
79136      9126579235      4/18/2012        7:09:11
79137      9126581419      5/21/2012        7:02:12
79138      9126582111      12/5/2011        9:14:27
79139      9126582391      11/2/2011        7:28:05
79140      9126586153      1/4/2012         12:25:03
79141      9126589601      3/16/2012        10:50:13
79142      9126591542      8/20/2012        18:42:50
79143      9126594445      4/5/2012         7:04:31
79144      9126594445      4/10/2012        16:07:33
79145      9126595264      9/26/2012        14:32:13
79146      9126597268      9/21/2011        19:44:15
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79147      9126597889      3/1/2012         8:32:10
79148      9126602730      8/31/2011        10:22:22
79149      9126602730      9/8/2011         19:45:37
79150      9126605554      9/7/2012         15:41:02
79151      9126607279      3/13/2012        18:35:13
79152      9126607279      3/23/2012        14:53:50
79153      9126609933      5/13/2012        14:27:06
79154      9126611068      10/14/2011       13:16:22
79155      9126613398      12/29/2011       18:55:59
79156      9126613580      10/7/2011        7:13:47
79157      9126614277      9/28/2011        11:03:26
79158      9126631129      2/11/2012        15:02:39
79159      9126631425      10/21/2011       12:37:41
79160      9126634093      4/28/2012        8:16:38
79161      9126636716      11/29/2011       15:26:53
79162      9126654180      4/1/2012         16:10:15
79163      9126654180      4/10/2012        16:19:02
79164      9126674127      10/5/2011        14:31:12
79165      9126675483      1/5/2012         17:27:29
79166      9126700032      9/13/2011        7:07:44
79167      9126742018      1/10/2012        18:10:35
79168      9126743950      10/20/2011       15:30:13
79169      9126744710      1/17/2012        18:41:39
79170      9126748520      2/2/2012         7:05:11
79171      9126755764      9/29/2011        15:04:16
79172      9126781181      12/26/2011       9:00:27
79173      9126781181      5/5/2012         8:07:07
79174      9126789534      3/24/2012        9:56:55
79175      9126824900      10/20/2011       16:05:52
79176      9126828299      4/19/2012        7:20:00
79177      9126900594      9/25/2012        14:41:00
79178      9126902726      1/12/2012        7:10:12
79179      9126955713      6/23/2012        8:37:18
79180      9126957885      11/14/2011       14:37:35
79181      9127040898      2/13/2012        7:11:34
79182      9127044663      9/21/2011        19:33:12
79183      9127045779      10/22/2012       18:00:04
79184      9127048580      12/7/2011        13:54:03
79185      9127049409      11/23/2011       9:35:10
79186      9127136038      6/8/2012         7:31:13
79187      9127138812      12/8/2011        12:39:56
79188      9127226933      1/27/2012        17:53:50
79189      9128059268      10/25/2012       19:42:39
79190      9128160093      9/22/2011        15:08:14
79191      9128161007      6/25/2012        13:20:52
79192      9128162756      9/4/2012         16:06:19
79193      9128167500      12/29/2011       10:54:56
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79194      9128167500      1/19/2012        18:25:59
79195      9128440583      4/30/2012        14:31:10
79196      9128440827      9/3/2012         14:48:51
79197      9128501316      5/20/2012        15:24:51
79198      9128565594      10/20/2011       15:58:53
79199      9128566868      10/23/2012       16:06:25
79200      9128569022      10/26/2011       11:52:43
79201      9129771722      10/10/2011       12:34:19
79202      9129778679      9/22/2011        15:08:42
79203      9129780428      12/17/2011       11:45:40
79204      9129781131      11/25/2011       18:14:51
79205      9129781593      10/27/2011       15:12:08
79206      9129788449      3/7/2012         18:37:13
79207      9129789991      9/24/2012        18:51:11
79208      9129800655      10/4/2011        13:40:07
79209      9129802891      12/2/2011        7:58:11
79210      9129804074      1/13/2012        17:21:18
79211      9129806262      1/16/2012        17:10:17
79212      9129806890      9/23/2011        11:28:01
79213      9129807410      10/25/2011       15:16:52
79214      9129809319      2/1/2012         8:08:58
79215      9129963238      4/25/2011        9:51:49
79216      9132050692      3/2/2012         9:09:48
79217      9132050908      2/25/2012        10:41:40
79218      9132067429      6/5/2012         17:54:21
79219      9132068333      11/25/2011       18:29:58
79220      9132068550      8/14/2012        11:50:36
79221      9132077235      11/14/2011       17:23:44
79222      9132078906      7/3/2012         12:25:19
79223      9132093690      12/22/2011       9:47:01
79224      9132198563      11/21/2011       8:39:18
79225      9132201228      2/7/2012         17:02:41
79226      9132263354      10/10/2011       12:40:52
79227      9132266371      3/10/2012        8:57:32
79228      9132321089      1/27/2012        17:45:45
79229      9132440513      12/26/2011       9:30:23
79230      9132441271      10/29/2011       11:39:28
79231      9132445298      4/10/2012        11:39:45
79232      9132446585      12/9/2011        8:29:03
79233      9132569466      7/11/2012        9:38:29
79234      9132569612      6/7/2012         12:40:41
79235      9132710079      12/7/2011        18:15:38
79236      9132716213      9/21/2012        15:54:33
79237      9132717843      2/29/2012        17:34:29
79238      9132718579      11/11/2011       14:35:54
79239      9132791634      11/15/2011       16:35:56
79240      9132875400      3/27/2012        7:11:01
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79241      9132877889      7/20/2012        14:55:22
79242      9133060410      9/29/2011        15:16:13
79243      9133063091      3/14/2012        19:30:20
79244      9133064748      7/11/2012        9:44:08
79245      9133066192      9/6/2011         12:56:08
79246      9133066234      10/14/2011       12:54:20
79247      9133066234      11/29/2011       16:11:47
79248      9133282363      1/18/2014        15:30:05
79249      9133348186      6/20/2012        17:04:18
79250      9133420309      3/29/2012        12:40:35
79251      9133609832      6/7/2012         18:33:44
79252      9133609945      8/13/2012        8:29:10
79253      9133701089      1/8/2012         13:17:50
79254      9133758481      9/3/2011         10:55:30
79255      9133786085      10/3/2012        8:06:26
79256      9134060364      6/21/2012        10:06:06
79257      9134064239      6/14/2012        15:56:41
79258      9134066332      9/20/2011        20:48:35
79259      9134068587      10/25/2011       16:51:42
79260      9134262892      10/10/2011       12:46:18
79261      9134847920      2/15/2012        13:25:16
79262      9134852202      8/1/2012         9:09:09
79263      9134858460      3/23/2012        14:24:51
79264      9134868222      5/18/2012        16:11:05
79265      9134891877      10/17/2012       9:44:54
79266      9135140272      7/24/2012        14:41:00
79267      9135155418      1/11/2012        16:23:56
79268      9135234604      9/24/2011        9:51:51
79269      9135260212      5/2/2011         18:03:05
79270      9135449374      9/24/2011        9:23:22
79271      9135472617      10/14/2011       13:22:27
79272      9135482812      1/31/2012        10:08:51
79273      9135485915      5/14/2012        15:34:11
79274      9135487887      1/24/2012        17:05:30
79275      9135496102      6/15/2012        16:37:04
79276      9135496372      1/17/2012        18:34:13
79277      9135496372      2/6/2012         17:01:58
79278      9135496586      1/6/2012         14:51:54
79279      9135587178      12/10/2011       13:47:14
79280      9135624772      4/13/2012        13:19:20
79281      9135624772      5/21/2012        8:03:31
79282      9135624772      5/21/2012        8:17:48
79283      9135628390      11/15/2013       9:28:28
79284      9135630240      12/1/2011        15:05:01
79285      9135632217      10/21/2011       12:37:44
79286      9135683969      7/27/2012        15:25:29
79287      9135688552      11/1/2011        8:51:56
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79288      9135688552      12/2/2011        8:33:28
79289      9135759484      3/13/2012        12:51:19
79290      9135968401      5/21/2012        8:26:07
79291      9136024194      2/9/2012         9:37:31
79292      9136026730      11/8/2011        14:27:04
79293      9136027438      8/21/2012        14:03:49
79294      9136027686      11/11/2011       13:18:48
79295      9136027754      10/6/2011        16:36:06
79296      9136027917      4/1/2012         17:28:37
79297      9136029857      10/6/2011        17:40:41
79298      9136098537      8/6/2012         15:16:04
79299      9136202563      2/14/2012        13:32:36
79300      9136206396      11/14/2011       14:44:10
79301      9136207505      11/18/2011       13:25:04
79302      9136332530      9/7/2012         15:54:30
79303      9136337236      7/26/2012        12:19:15
79304      9136360434      2/11/2012        11:18:53
79305      9136363650      10/8/2011        12:03:44
79306      9136694352      9/25/2012        14:46:27
79307      9136698446      12/7/2011        14:48:42
79308      9137026166      1/18/2012        16:40:47
79309      9137026657      11/23/2011       14:49:34
79310      9137074057      1/17/2012        18:47:59
79311      9137076152      3/1/2012         8:52:04
79312      9137081747      7/28/2012        8:49:47
79313      9137090805      5/19/2012        9:43:18
79314      9137102402      1/16/2012        17:33:44
79315      9137103497      2/2/2012         16:31:54
79316      9137107151      10/25/2011       15:35:52
79317      9137133333      11/14/2011       17:05:20
79318      9137133692      5/31/2012        8:13:57
79319      9137139967      9/8/2012         11:08:33
79320      9137314739      6/7/2012         15:18:19
79321      9137315373      2/8/2012         12:58:31
79322      9137421570      10/20/2012       10:34:09
79323      9137421572      3/26/2012        8:16:11
79324      9137421612      10/5/2011        14:40:57
79325      9137423170      12/12/2011       16:35:58
79326      9137493849      8/21/2012        14:01:51
79327      9137872648      10/5/2011        14:33:09
79328      9138272331      11/21/2011       8:14:50
79329      9138320253      10/22/2011       12:39:47
79330      9138322555      9/17/2011        10:16:12
79331      9138509793      8/31/2011        10:47:26
79332      9139017086      9/5/2012         15:25:46
79333      9139044361      12/12/2011       11:51:59
79334      9139044671      7/12/2012        13:12:40
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79335      9139077037      3/14/2012        14:21:00
79336      9139090825      3/7/2012         18:34:00
79337      9139095640      7/5/2012         15:36:29
79338      9139095640      8/2/2012         11:30:43
79339      9139152241      5/18/2012        11:51:30
79340      9139404677      1/4/2012         11:14:33
79341      9139404677      1/11/2012        7:36:02
79342      9139405047      7/27/2012        15:25:09
79343      9139443559      9/5/2012         15:08:53
79344      9139446101      5/14/2012        15:41:18
79345      9139447346      1/3/2012         19:46:51
79346      9139449424      4/4/2012         8:07:31
79347      9139449424      4/16/2012        15:50:25
79348      9139511107      2/11/2012        11:13:00
79349      9139991555      3/12/2012        11:15:29
79350      9139992058      6/19/2012        8:37:12
79351      9139992390      3/21/2012        13:40:32
79352      9139992622      2/15/2012        8:14:39
79353      9139995715      4/21/2011        11:52:46
79354      9139997555      12/13/2011       17:01:28
79355      9139998452      7/23/2012        13:06:14
79356      9139999275      6/12/2012        17:07:39
79357      9142903101      5/21/2011        10:36:12
79358      9143105318      3/26/2012        18:37:14
79359      9143298744      9/10/2011        8:58:00
79360      9143386730      11/12/2011       9:06:03
79361      9143469943      5/30/2012        12:36:19
79362      9143740279      9/19/2011        19:30:06
79363      9143823489      4/4/2012         18:46:30
79364      9143829236      8/16/2012        19:50:11
79365      9143938002      1/10/2012        20:56:17
79366      9143967707      10/20/2011       15:58:20
79367      9144092297      6/24/2011        12:04:57
79368      9144177291      8/14/2012        11:42:23
79369      9144190622      10/12/2011       7:52:00
79370      9144208179      9/13/2011        17:38:10
79371      9144262340      12/2/2011        15:34:52
79372      9144370822      1/19/2012        7:22:28
79373      9144391450      4/17/2012        9:30:00
79374      9144410408      3/23/2012        7:04:53
79375      9144474075      6/15/2012        8:51:36
79376      9144732053      3/7/2012         18:48:54
79377      9145053009      2/14/2012        10:02:35
79378      9145634575      2/7/2012         7:08:15
79379      9145729295      9/14/2011        9:24:46
79380      9145741135      11/17/2011       16:45:48
79381      9145741943      2/6/2012         16:45:05
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79382      9145741943      8/30/2012        17:40:14
79383      9146101489      4/6/2012         15:37:18
79384      9146101489      6/23/2012        16:08:33
79385      9147070051      10/19/2011       8:19:02
79386      9147143523      11/14/2011       16:49:01
79387      9147203658      9/19/2011        7:22:18
79388      9147335070      2/3/2012         7:15:53
79389      9147990461      10/8/2011        10:54:42
79390      9148267851      9/9/2011         7:32:11
79391      9148376922      11/17/2011       13:33:55
79392      9148437027      9/28/2011        10:27:02
79393      9148437027      10/14/2011       13:26:26
79394      9148437027      11/3/2011        17:19:26
79395      9149246004      5/22/2012        18:26:19
79396      9149247971      4/30/2012        14:50:29
79397      9149601811      7/2/2012         17:05:30
79398      9152029021      11/15/2011       20:16:29
79399      9152031186      5/18/2012        15:49:00
79400      9152031186      5/21/2012        9:02:18
79401      9152031186      5/21/2012        9:04:15
79402      9152032125      3/19/2012        11:47:47
79403      9152032125      6/18/2012        15:28:36
79404      9152037238      1/9/2012         18:46:04
79405      9152041126      11/7/2011        9:05:14
79406      9152044745      7/27/2012        21:12:19
79407      9152046000      12/23/2011       20:46:21
79408      9152048665      3/8/2012         15:44:43
79409      9152175464      6/7/2012         18:32:36
79410      9152178150      8/19/2011        12:26:34
79411      9152178839      1/23/2012        19:20:14
79412      9152190694      10/14/2011       13:00:07
79413      9152191902      9/8/2011         19:35:47
79414      9152196107      7/23/2012        11:55:19
79415      9152196616      4/12/2012        13:15:30
79416      9152220565      7/12/2013        10:37:22
79417      9152224235      6/9/2012         14:47:32
79418      9152261929      11/14/2011       17:33:18
79419      9152265591      10/3/2011        10:30:38
79420      9152265806      10/10/2011       12:54:24
79421      9152265806      11/28/2011       17:04:18
79422      9152271444      5/27/2012        13:56:55
79423      9152276594      1/24/2012        20:08:55
79424      9152278107      4/2/2012         14:55:39
79425      9152318150      11/14/2011       17:33:34
79426      9152318296      7/30/2012        13:20:31
79427      9152380636      10/8/2012        9:14:36
79428      9152380636      10/16/2012       20:32:57
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79429      9152382658      2/10/2012        9:32:11
79430      9152382793      9/9/2011         18:04:27
79431      9152382793      9/19/2011        14:52:20
79432      9152400433      5/14/2011        12:11:04
79433      9152400453      10/23/2012       10:43:47
79434      9152400575      4/23/2012        13:18:44
79435      9152400575      6/5/2012         19:45:18
79436      9152403120      11/12/2011       9:42:08
79437      9152403424      9/28/2011        9:30:56
79438      9152404292      3/19/2011        10:43:35
79439      9152404494      2/24/2011        14:20:40
79440      9152415794      7/27/2012        21:01:12
79441      9152417763      9/19/2011        19:35:49
79442      9152443143      9/26/2012        13:06:07
79443      9152499391      9/25/2012        14:49:04
79444      9152521430      2/11/2012        15:08:34
79445      9152523504      12/30/2011       12:45:54
79446      9152524169      5/21/2012        9:01:36
79447      9152526283      4/26/2012        11:43:34
79448      9152535801      10/12/2012       16:37:54
79449      9152536188      1/13/2012        17:29:25
79450      9152536217      12/17/2011       12:04:21
79451      9152536572      6/5/2012         17:54:29
79452      9152536572      6/22/2012        21:01:30
79453      9152537623      10/7/2011        9:47:16
79454      9152538108      7/20/2012        14:57:16
79455      9152538384      9/27/2011        18:50:14
79456      9152538384      10/11/2011       17:35:11
79457      9152539930      2/11/2012        15:13:10
79458      9152561978      9/8/2011         19:47:59
79459      9152562298      10/10/2012       12:49:28
79460      9152563214      4/5/2012         14:00:41
79461      9152566545      9/24/2012        19:09:00
79462      9152567546      1/4/2012         11:17:58
79463      9152568606      11/28/2011       12:21:18
79464      9152568988      5/7/2012         18:49:52
79465      9152588923      10/2/2012        12:58:51
79466      9152618593      2/10/2012        20:36:21
79467      9152693050      11/21/2011       10:50:35
79468      9152696958      11/28/2011       12:22:41
79469      9152697047      10/18/2011       19:14:56
79470      9152740856      12/24/2011       8:04:35
79471      9152741879      10/15/2012       16:27:57
79472      9152761352      2/25/2012        10:44:30
79473      9152763722      10/11/2011       16:05:38
79474      9152820976      8/2/2012         18:51:14
79475      9153071009      9/8/2012         11:44:07
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79476      9153092412      1/4/2012         11:08:42
79477      9153093531      10/8/2012        9:16:30
79478      9153132640      10/17/2012       18:37:54
79479      9153170544      10/2/2012        10:07:41
79480      9153196323      12/20/2011       19:26:48
79481      9153196779      9/21/2012        15:30:44
79482      9153197578      11/28/2011       11:30:10
79483      9153197754      2/15/2012        21:02:21
79484      9153280521      11/20/2011       11:11:01
79485      9153285252      6/20/2012        17:01:17
79486      9153287170      8/11/2011        10:22:15
79487      9153289673      7/26/2012        19:16:05
79488      9153290652      6/16/2012        9:27:17
79489      9153295093      7/27/2012        21:13:57
79490      9153296745      5/27/2012        13:56:46
79491      9153420069      10/11/2011       17:36:42
79492      9153423008      3/14/2012        19:47:30
79493      9153452451      9/30/2011        10:19:19
79494      9153452559      11/22/2011       18:53:04
79495      9153455712      1/8/2012         15:22:36
79496      9153456511      9/26/2011        9:16:51
79497      9153456511      10/22/2011       12:45:12
79498      9153457662      3/7/2012         18:59:43
79499      9153457703      9/26/2012        17:12:48
79500      9153458912      10/5/2011        14:48:11
79501      9153461488      1/6/2012         14:43:00
79502      9153461488      1/13/2012        17:29:33
79503      9153464564      2/1/2012         18:41:36
79504      9153465986      2/21/2012        20:55:03
79505      9153554919      3/30/2012        10:23:15
79506      9153555447      4/6/2012         15:49:24
79507      9153559720      4/16/2011        15:32:57
79508      9153559773      9/19/2012        16:25:26
79509      9153560000      2/21/2012        9:49:57
79510      9153560497      4/11/2012        19:38:31
79511      9153560775      12/7/2011        15:20:11
79512      9153564820      4/20/2012        13:48:19
79513      9153568709      12/29/2011       14:13:34
79514      9153568821      12/17/2011       12:14:16
79515      9153569995      3/2/2012         9:26:30
79516      9153736582      11/14/2011       17:32:50
79517      9153736582      1/13/2012        12:43:58
79518      9153739788      10/18/2011       13:08:35
79519      9153832242      10/26/2011       12:24:47
79520      9153834916      10/15/2011       11:02:41
79521      9153838997      7/19/2011        17:06:02
79522      9153839849      2/28/2012        15:55:20
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79523      9154012476      3/7/2012         9:42:22
79524      9154019564      3/16/2012        16:35:40
79525      9154071919      10/1/2012        21:36:23
79526      9154073074      9/13/2012        21:28:41
79527      9154073074      9/18/2012        21:30:02
79528      9154073387      12/1/2011        15:08:25
79529      9154073884      11/1/2011        11:04:41
79530      9154083576      8/15/2012        12:28:56
79531      9154120311      11/12/2011       10:45:57
79532      9154121047      2/29/2012        17:27:31
79533      9154121945      9/14/2012        21:09:15
79534      9154224321      2/17/2012        18:23:47
79535      9154225428      5/18/2012        11:58:17
79536      9154226022      10/18/2011       13:09:02
79537      9154226538      6/18/2012        15:14:26
79538      9154227365      4/15/2012        17:42:42
79539      9154333753      10/5/2011        14:20:15
79540      9154334641      8/3/2012         16:31:33
79541      9154335638      9/13/2011        13:38:14
79542      9154432614      4/3/2012         10:52:08
79543      9154432614      5/21/2012        9:03:59
79544      9154439770      9/20/2012        14:44:50
79545      9154491011      11/22/2011       19:33:03
79546      9154492138      9/21/2011        11:35:46
79547      9154499264      2/11/2012        15:47:02
79548      9154714338      10/21/2011       13:36:41
79549      9154715047      9/23/2011        11:49:31
79550      9154721578      10/8/2012        20:12:51
79551      9154728205      12/17/2011       11:39:55
79552      9154740382      2/8/2012         13:01:16
79553      9154745558      1/6/2012         14:53:42
79554      9154901838      11/3/2011        18:02:08
79555      9154912811      1/27/2012        18:07:02
79556      9154915787      10/3/2011        10:31:43
79557      9154941455      7/21/2012        10:31:47
79558      9154965280      5/21/2012        9:05:56
79559      9154976018      2/20/2012        16:55:19
79560      9154979212      12/8/2011        12:07:48
79561      9154979309      2/21/2012        9:49:54
79562      9155021741      9/23/2011        19:04:48
79563      9155026004      9/10/2012        21:04:32
79564      9155026823      3/13/2012        12:53:49
79565      9155030777      9/19/2011        19:18:17
79566      9155038797      2/7/2012         20:26:31
79567      9155043251      1/9/2012         18:45:57
79568      9155043546      10/16/2012       16:31:40
79569      9155044546      11/17/2011       14:44:14
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79570      9155044868      6/8/2012         9:16:01
79571      9155048991      10/24/2012       21:14:19
79572      9155250584      12/7/2011        13:44:31
79573      9155251315      5/3/2012         9:52:10
79574      9155252841      7/5/2012         10:38:34
79575      9155253077      1/3/2012         10:19:56
79576      9155261237      1/18/2012        16:44:18
79577      9155262992      12/26/2011       9:27:30
79578      9155263815      5/21/2012        9:03:29
79579      9155269235      9/25/2012        14:58:35
79580      9155269235      10/19/2012       19:12:07
79581      9155385200      3/28/2012        12:36:52
79582      9155392813      2/11/2012        15:47:28
79583      9155399069      2/28/2014        9:57:46
79584      9155401536      9/8/2011         19:34:59
79585      9155405945      3/16/2012        16:46:56
79586      9155453466      1/16/2012        17:19:34
79587      9155493781      4/3/2012         16:02:29
79588      9155497000      8/17/2012        9:32:41
79589      9155497648      8/7/2012         21:41:33
79590      9155850446      7/7/2012         10:53:32
79591      9155876628      12/17/2011       12:14:31
79592      9155885403      2/17/2012        18:38:30
79593      9155889394      5/21/2012        9:05:13
79594      9155889394      5/21/2012        17:55:18
79595      9156030018      12/1/2011        20:50:32
79596      9156037256      5/4/2012         21:00:11
79597      9156038235      11/15/2011       15:47:03
79598      9156136360      7/10/2012        21:09:59
79599      9156137748      2/2/2012         16:34:52
79600      9156139878      9/26/2012        14:43:15
79601      9156267110      1/13/2012        10:37:56
79602      9156267372      1/19/2012        18:32:07
79603      9156301279      4/4/2012         18:50:03
79604      9156302045      6/18/2012        9:19:55
79605      9156303678      7/5/2012         15:36:19
79606      9156305969      9/12/2012        15:19:22
79607      9156306810      11/22/2011       19:42:52
79608      9156333069      8/13/2011        10:34:23
79609      9156333469      11/14/2011       17:31:36
79610      9156335092      10/8/2012        9:14:46
79611      9156335946      4/27/2012        9:44:16
79612      9156370133      10/20/2011       16:18:28
79613      9156673651      12/26/2011       19:58:37
79614      9156674488      11/29/2011       16:20:36
79615      9156678217      1/28/2014        12:50:08
79616      9156911006      11/11/2011       13:22:24
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79617      9156911260      8/6/2013         15:26:28
79618      9156913683      8/29/2011        17:13:04
79619      9156914622      6/4/2012         9:36:02
79620      9156917733      10/3/2011        10:31:03
79621      9156919947      10/1/2011        10:04:44
79622      9156919947      11/5/2011        11:44:20
79623      9156942157      11/22/2011       18:53:37
79624      9156943196      12/6/2011        12:58:21
79625      9156943511      9/20/2011        20:36:46
79626      9156945981      3/24/2012        10:06:40
79627      9156949084      10/19/2011       12:23:59
79628      9157264444      9/20/2012        20:59:52
79629      9157264579      8/22/2012        21:44:07
79630      9157265042      10/12/2012       16:50:04
79631      9157270312      12/12/2011       12:28:17
79632      9157275370      11/15/2011       20:16:40
79633      9157279211      12/5/2011        18:18:10
79634      9157310745      9/10/2012        21:04:30
79635      9157311285      1/6/2012         12:58:17
79636      9157311659      2/3/2012         14:29:58
79637      9157317421      12/20/2011       19:36:12
79638      9157403876      10/1/2011        9:53:53
79639      9157406847      12/2/2011        14:21:52
79640      9157409374      6/15/2012        16:38:46
79641      9157409629      4/3/2012         18:29:19
79642      9157601815      3/14/2012        20:00:38
79643      9157650007      9/1/2012         9:28:14
79644      9157803597      1/9/2012         18:18:09
79645      9157991498      1/23/2012        19:19:42
79646      9158202709      6/7/2012         21:17:51
79647      9158204151      5/14/2012        10:21:03
79648      9158206269      7/14/2011        9:37:35
79649      9158207968      12/9/2011        14:30:46
79650      9158220055      1/3/2012         10:42:48
79651      9158439262      8/29/2012        20:19:19
79652      9158439880      2/10/2012        20:56:18
79653      9158501495      10/3/2011        10:30:42
79654      9158504434      12/20/2011       14:09:20
79655      9158505532      8/4/2011         9:20:23
79656      9158505545      7/6/2012         16:48:36
79657      9158508300      12/23/2011       14:23:33
79658      9158612158      4/12/2012        18:31:53
79659      9158613371      9/29/2011        15:55:32
79660      9158614567      11/26/2011       12:00:52
79661      9158619165      3/25/2012        12:13:29
79662      9158619165      5/21/2012        9:01:55
79663      9158673029      9/13/2011        18:07:00
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79664      9158674564      2/3/2012         20:20:35
79665      9158730236      5/10/2012        21:31:22
79666      9158735726      11/18/2011       13:34:42
79667      9158736027      1/9/2012         18:17:45
79668      9158736027      5/21/2012        9:03:36
79669      9158737841      3/8/2012         20:40:39
79670      9158738792      11/12/2011       10:48:10
79671      9158752005      3/26/2012        14:47:38
79672      9158756288      7/9/2012         9:10:42
79673      9158756288      8/13/2012        20:54:08
79674      9158759188      2/6/2012         10:16:33
79675      9158777343      1/12/2012        14:08:19
79676      9158868932      6/29/2012        9:34:19
79677      9158879417      8/10/2012        8:27:26
79678      9158921995      3/31/2012        9:42:00
79679      9159201722      10/8/2012        9:14:22
79680      9159203388      9/10/2011        9:19:09
79681      9159203768      9/14/2011        16:51:03
79682      9159206167      2/20/2012        17:14:21
79683      9159206840      9/6/2012         21:14:16
79684      9159209800      4/3/2012         10:50:55
79685      9159220021      7/6/2012         14:58:19
79686      9159220021      7/18/2012        18:37:15
79687      9159228132      9/8/2011         18:15:20
79688      9159228568      4/30/2012        21:02:20
79689      9159228667      12/28/2011       11:06:18
79690      9159269577      11/22/2011       19:42:25
79691      9159290373      2/14/2012        16:52:38
79692      9159291859      3/8/2012         20:29:11
79693      9159299981      9/29/2011        15:24:08
79694      9159299981      10/17/2011       9:10:04
79695      9159967087      10/10/2011       12:54:11
79696      9159994617      7/21/2012        10:50:18
79697      9162011817      10/5/2011        14:52:38
79698      9162019414      8/23/2012        21:07:39
79699      9162020283      9/8/2011         19:15:51
79700      9162021900      4/7/2012         12:17:20
79701      9162024229      10/5/2011        14:49:31
79702      9162027233      1/5/2012         14:11:35
79703      9162032839      10/20/2011       15:55:13
79704      9162043802      9/19/2012        16:26:38
79705      9162046531      1/5/2012         17:31:35
79706      9162074264      11/9/2011        10:36:03
79707      9162078078      7/25/2012        11:59:45
79708      9162078613      10/19/2011       12:04:11
79709      9162080956      3/28/2012        14:33:36
79710      9162080956      6/21/2012        18:57:57
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79711      9162084595      10/5/2011        14:22:56
79712      9162085180      11/22/2011       19:47:57
79713      9162087898      9/12/2011        13:39:41
79714      9162125923      5/14/2011        12:14:14
79715      9162128905      11/16/2011       20:09:55
79716      9162131701      1/12/2012        14:18:41
79717      9162148414      11/1/2011        11:17:47
79718      9162158019      3/7/2012         18:37:40
79719      9162166742      10/5/2011        14:50:21
79720      9162175279      9/19/2011        14:44:26
79721      9162200364      1/16/2012        12:05:22
79722      9162201350      11/18/2011       13:26:33
79723      9162201697      9/13/2011        18:11:48
79724      9162204181      8/11/2012        9:35:12
79725      9162232975      11/22/2011       18:59:02
79726      9162235768      10/1/2011        10:58:21
79727      9162235768      12/1/2011        10:26:49
79728      9162236582      10/22/2012       17:52:56
79729      9162238667      10/14/2011       13:11:17
79730      9162240508      7/6/2012         16:48:55
79731      9162244370      11/30/2011       15:01:34
79732      9162244667      8/3/2011         12:08:46
79733      9162248296      8/3/2012         16:25:57
79734      9162249297      10/4/2011        13:29:14
79735      9162251493      7/2/2012         15:28:47
79736      9162253860      12/17/2011       11:39:55
79737      9162257724      9/3/2012         15:05:29
79738      9162259409      3/26/2012        18:32:18
79739      9162260826      3/9/2012         15:46:39
79740      9162267831      4/3/2012         20:17:29
79741      9162267992      1/13/2012        12:34:27
79742      9162301335      10/22/2012       17:52:49
79743      9162304526      9/27/2011        18:03:24
79744      9162367253      1/16/2012        12:06:37
79745      9162368262      9/1/2012         11:51:43
79746      9162368421      3/26/2011        12:46:15
79747      9162368959      6/4/2011         10:57:02
79748      9162369232      10/8/2011        12:27:39
79749      9162486307      6/29/2012        10:57:01
79750      9162489435      4/5/2012         14:03:39
79751      9162516276      9/3/2012         14:43:57
79752      9162516276      10/16/2012       20:33:49
79753      9162541790      9/19/2012        21:29:50
79754      9162542551      10/6/2012        10:59:42
79755      9162543555      1/2/2014         17:32:56
79756      9162548840      10/12/2012       21:28:37
79757      9162549460      7/13/2011        11:21:29
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79758      9162549959      9/10/2012        10:25:39
79759      9162566130      11/1/2011        11:19:11
79760      9162566511      9/23/2011        11:52:47
79761      9162566716      11/20/2013       13:57:15
79762      9162567928      12/27/2011       14:25:53
79763      9162568000      12/1/2011        15:10:08
79764      9162569297      7/25/2012        12:09:04
79765      9162572189      3/7/2012         10:01:34
79766      9162572189      4/15/2012        17:47:40
79767      9162572189      4/18/2012        17:52:52
79768      9162614394      10/6/2011        17:13:01
79769      9162674658      5/21/2012        8:59:01
79770      9162677958      1/31/2012        10:12:53
79771      9162678700      5/14/2012        15:47:12
79772      9162679045      3/23/2012        14:24:20
79773      9162707493      6/25/2012        21:53:06
79774      9162710670      12/20/2011       15:10:56
79775      9162710670      4/26/2012        21:08:44
79776      9162711069      6/5/2012         15:41:37
79777      9162711877      9/29/2011        15:25:53
79778      9162714615      10/16/2012       16:40:41
79779      9162715856      4/27/2012        21:06:26
79780      9162716142      12/14/2011       18:05:04
79781      9162717285      9/30/2011        10:09:09
79782      9162718055      2/28/2012        15:55:37
79783      9162718337      2/18/2012        10:22:02
79784      9162719458      11/11/2011       13:28:53
79785      9162749691      8/30/2012        10:50:54
79786      9162756093      9/8/2011         19:15:25
79787      9162764617      8/20/2012        10:02:45
79788      9162768119      7/26/2012        19:16:22
79789      9162769379      6/11/2012        18:12:15
79790      9162811254      2/24/2011        12:02:27
79791      9162811254      10/8/2011        10:17:39
79792      9162831866      10/18/2011       14:34:01
79793      9162844533      10/5/2011        14:22:49
79794      9162869730      9/22/2011        16:20:19
79795      9162890155      9/2/2011         13:07:22
79796      9162890833      9/21/2011        19:36:18
79797      9162892360      7/5/2012         15:30:32
79798      9162893296      12/15/2011       10:21:21
79799      9162893837      8/21/2012        14:04:23
79800      9162893837      8/29/2012        11:17:47
79801      9162894174      10/17/2012       18:32:33
79802      9162894943      8/30/2012        10:50:20
79803      9162936291      4/30/2012        15:03:04
79804      9162952530      10/1/2012        13:40:43
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79805      9162960830      1/12/2012        14:04:28
79806      9162963599      12/9/2011        13:02:07
79807      9162969214      12/1/2011        15:11:09
79808      9163004169      11/12/2011       10:02:24
79809      9163005309      1/20/2012        11:37:53
79810      9163008343      5/14/2011        12:24:27
79811      9163008914      10/14/2011       13:35:30
79812      9163009463      1/17/2012        13:36:38
79813      9163027318      10/22/2012       10:31:21
79814      9163033314      1/9/2012         18:49:46
79815      9163033528      5/13/2011        11:49:28
79816      9163033860      3/26/2011        12:42:19
79817      9163072555      5/5/2011         13:26:50
79818      9163077918      11/28/2011       12:25:21
79819      9163079202      2/18/2012        10:16:22
79820      9163080038      10/3/2012        10:20:43
79821      9163080391      3/7/2012         10:04:05
79822      9163080391      7/21/2012        10:32:53
79823      9163080914      10/5/2012        18:21:07
79824      9163081660      10/25/2011       16:17:26
79825      9163083060      6/16/2012        10:07:38
79826      9163084149      9/14/2012        10:53:39
79827      9163084149      9/26/2012        14:43:02
79828      9163084627      10/6/2011        17:10:39
79829      9163085077      2/29/2012        17:28:17
79830      9163085077      6/15/2012        15:48:12
79831      9163085327      3/11/2011        17:02:17
79832      9163085327      3/28/2011        15:48:07
79833      9163087646      9/9/2011         18:11:07
79834      9163087664      10/22/2011       13:17:57
79835      9163088550      3/19/2012        12:06:55
79836      9163089144      9/20/2011        15:40:06
79837      9163089636      7/28/2011        10:22:40
79838      9163164072      1/3/2012         19:52:38
79839      9163168736      3/4/2012         12:44:52
79840      9163173389      5/23/2012        15:02:56
79841      9163174080      2/10/2012        20:43:45
79842      9163176989      11/17/2011       14:49:07
79843      9163177801      7/3/2012         12:26:42
79844      9163178002      9/13/2011        17:01:18
79845      9163200971      2/10/2012        10:40:12
79846      9163201406      8/13/2012        11:02:04
79847      9163205176      11/14/2011       17:45:50
79848      9163205176      11/23/2011       14:59:20
79849      9163206718      3/24/2012        10:39:09
79850      9163207126      8/7/2012         17:57:09
79851      9163208997      8/7/2012         21:42:20
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79852      9163209047      5/3/2012         21:18:24
79853      9163209632      2/6/2012         17:05:31
79854      9163338650      6/13/2012        20:01:16
79855      9163355710      10/5/2011        14:25:14
79856      9163358275      11/22/2011       19:00:45
79857      9163358468      3/2/2012         18:50:43
79858      9163423419      10/12/2011       11:58:05
79859      9163426108      7/16/2012        19:54:04
79860      9163426118      9/9/2011         18:37:21
79861      9163467152      9/9/2011         18:39:24
79862      9163467404      8/7/2012         21:44:42
79863      9163496128      8/6/2011         11:08:30
79864      9163496479      3/14/2012        19:38:03
79865      9163496744      8/18/2011        10:57:46
79866      9163501324      6/27/2012        17:55:02
79867      9163593934      3/30/2012        16:18:22
79868      9163678109      4/3/2012         16:04:06
79869      9163679511      7/27/2012        21:10:33
79870      9163700937      1/27/2012        18:07:21
79871      9163701250      3/26/2012        18:33:07
79872      9163702433      3/23/2012        19:42:49
79873      9163703973      12/15/2011       21:43:50
79874      9163703988      12/26/2011       20:14:38
79875      9163704409      11/7/2011        11:00:28
79876      9163705583      1/5/2012         14:11:17
79877      9163706478      9/21/2012        18:51:48
79878      9163709159      9/9/2011         18:39:51
79879      9163800908      10/21/2011       13:43:49
79880      9163801832      8/29/2012        11:04:30
79881      9163801898      12/21/2011       10:31:47
79882      9163809822      2/1/2012         13:36:10
79883      9163846764      1/18/2012        10:04:15
79884      9163884056      10/13/2012       11:45:09
79885      9163965795      4/4/2012         14:03:35
79886      9163967734      5/30/2012        12:35:08
79887      9163969934      1/12/2012        14:10:18
79888      9163972885      9/19/2011        14:57:26
79889      9163977796      4/6/2012         15:17:51
79890      9163980316      6/28/2012        12:38:06
79891      9163980391      10/4/2011        13:26:58
79892      9164004568      6/15/2012        15:49:36
79893      9164102871      9/20/2011        20:39:28
79894      9164104449      5/23/2012        15:27:54
79895      9164108262      7/24/2012        14:44:38
79896      9164109017      5/28/2012        10:49:37
79897      9164120764      10/10/2011       12:04:08
79898      9164120764      10/14/2011       13:02:42
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79899      9164121464      7/11/2012        17:27:38
79900      9164123405      11/9/2011        10:37:30
79901      9164128574      9/20/2011        20:38:39
79902      9164162959      10/5/2011        14:22:45
79903      9164178333      9/19/2012        21:27:32
79904      9164251782      5/22/2012        12:03:11
79905      9164253517      8/24/2012        21:04:43
79906      9164253517      8/25/2012        11:00:34
79907      9164390681      11/12/2011       11:02:24
79908      9164596671      4/16/2011        15:34:22
79909      9164596790      10/4/2011        13:58:14
79910      9164598690      2/6/2012         10:20:08
79911      9164599700      9/10/2012        21:07:27
79912      9164689944      9/20/2011        19:30:42
79913      9164700242      10/6/2011        18:05:45
79914      9164701496      8/28/2012        21:55:31
79915      9164702795      9/18/2012        14:30:01
79916      9164703336      5/4/2012         15:27:06
79917      9164703639      5/4/2012         15:28:40
79918      9164706254      10/9/2012        20:05:36
79919      9164707025      10/3/2011        10:47:15
79920      9164707025      10/18/2011       13:14:01
79921      9164707881      9/27/2011        18:52:46
79922      9164708646      11/18/2011       13:35:34
79923      9164708747      8/25/2011        17:17:10
79924      9164752510      1/14/2012        11:00:23
79925      9164754445      6/5/2012         17:55:35
79926      9164755366      2/16/2012        11:31:30
79927      9164755734      12/16/2011       15:52:15
79928      9164756389      10/9/2012        20:02:12
79929      9164756717      9/4/2012         21:50:50
79930      9164757002      5/9/2012         21:05:45
79931      9164760305      12/10/2011       14:08:33
79932      9164760772      11/18/2011       13:27:01
79933      9164767147      8/30/2011        17:43:08
79934      9164767147      5/4/2012         21:01:07
79935      9164767483      11/5/2011        11:59:18
79936      9164770403      9/4/2012         16:01:33
79937      9164779203      2/15/2012        21:03:27
79938      9164779203      4/4/2012         19:08:44
79939      9164781498      10/31/2011       10:11:52
79940      9164790347      6/29/2011        17:04:03
79941      9164948812      10/17/2012       12:46:33
79942      9164964239      10/3/2012        10:22:30
79943      9164984031      9/9/2011         18:32:07
79944      9164984031      9/24/2011        10:12:01
79945      9164984272      5/3/2012         10:11:07
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79946      9164984274      10/14/2011       13:06:16
79947      9164984306      10/14/2011       13:03:20
79948      9164984306      12/2/2011        14:38:17
79949      9165011391      8/28/2012        12:19:35
79950      9165012861      10/20/2011       20:56:16
79951      9165013237      5/24/2012        11:53:42
79952      9165017021      10/18/2011       12:36:49
79953      9165022443      11/15/2011       20:17:00
79954      9165025374      10/11/2011       17:40:59
79955      9165027406      8/29/2012        20:20:16
79956      9165041590      9/28/2011        10:47:27
79957      9165041590      10/26/2011       12:32:10
79958      9165041622      1/12/2012        14:21:36
79959      9165041641      9/22/2011        16:20:45
79960      9165046092      7/21/2012        10:53:55
79961      9165053292      10/8/2011        12:32:44
79962      9165053865      11/25/2011       18:00:19
79963      9165142386      2/24/2011        14:32:14
79964      9165170428      9/19/2011        14:40:54
79965      9165179000      3/16/2012        15:56:07
79966      9165179864      7/11/2012        17:17:43
79967      9165192417      1/5/2012         21:22:58
79968      9165193086      9/19/2011        14:43:33
79969      9165193086      11/23/2011       15:03:51
79970      9165193216      10/5/2012        12:20:03
79971      9165195650      3/15/2012        19:21:21
79972      9165195743      10/20/2011       15:56:45
79973      9165195865      9/21/2011        11:38:16
79974      9165196406      2/15/2012        11:21:36
79975      9165196406      2/24/2012        20:53:26
79976      9165196632      5/28/2011        10:47:38
79977      9165198635      6/21/2012        10:08:05
79978      9165199177      7/27/2012        15:27:36
79979      9165213149      9/30/2011        10:09:19
79980      9165248644      12/22/2011       14:34:11
79981      9165290680      8/17/2012        21:22:14
79982      9165295475      4/21/2012        16:28:56
79983      9165296072      3/14/2012        19:38:45
79984      9165296660      1/10/2012        15:23:02
79985      9165296823      9/14/2011        21:36:52
79986      9165342995      3/12/2012        11:27:50
79987      9165410455      5/3/2012         21:15:51
79988      9165442383      1/10/2012        18:11:39
79989      9165481887      6/15/2012        16:54:00
79990      9165483131      9/20/2011        18:49:14
79991      9165488952      6/7/2012         16:36:11
79992      9165494302      3/30/2012        21:45:50
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79993      9165497470      10/15/2011       11:08:39
79994      9165769814      3/12/2012        11:28:26
79995      9165809075      9/6/2011         13:06:09
79996      9165830315      11/16/2011       10:02:37
79997      9165831944      6/5/2014         15:43:28
79998      9165831958      3/21/2011        11:54:22
79999      9165832403      12/17/2011       11:45:20
80000      9165832704      4/7/2012         12:21:33
80001      9165832914      5/30/2012        12:43:49
80002      9165833265      10/18/2011       12:42:15
80003      9165851198      7/17/2012        12:33:14
80004      9165851198      7/30/2012        13:21:12
80005      9165856621      9/8/2011         19:55:23
80006      9165886843      12/20/2011       19:25:49
80007      9165887925      9/16/2011        13:09:25
80008      9165955291      11/19/2011       10:38:36
80009      9165955604      7/18/2012        14:47:42
80010      9165957250      10/17/2012       18:38:07
80011      9165957359      10/16/2012       16:29:38
80012      9165957563      9/17/2011        10:31:28
80013      9165958222      5/30/2012        12:43:55
80014      9165968034      10/11/2012       11:52:11
80015      9165994735      9/14/2011        21:25:28
80016      9165999995      7/18/2011        11:19:55
80017      9166002719      6/27/2012        12:23:50
80018      9166002719      7/18/2012        18:27:31
80019      9166012004      9/24/2012        19:18:17
80020      9166015654      9/21/2011        12:02:57
80021      9166042087      6/27/2011        18:35:06
80022      9166062881      9/24/2012        18:57:03
80023      9166064554      9/14/2011        21:37:04
80024      9166070253      10/29/2011       11:57:53
80025      9166072618      9/22/2011        15:32:29
80026      9166076278      10/5/2012        12:21:56
80027      9166130345      9/20/2011        18:48:39
80028      9166130347      7/24/2012        20:34:02
80029      9166130359      12/30/2011       12:46:20
80030      9166132890      7/30/2012        13:22:26
80031      9166133402      5/25/2012        17:15:33
80032      9166134561      9/16/2011        13:38:00
80033      9166135836      2/11/2012        11:24:58
80034      9166160993      11/28/2011       12:34:16
80035      9166166518      5/19/2012        10:57:54
80036      9166166695      4/4/2011         14:38:28
80037      9166166695      10/3/2011        10:35:55
80038      9166167968      5/21/2012        8:18:48
80039      9166171399      9/27/2011        18:55:04
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80040      9166171650      10/15/2012       16:05:17
80041      9166176045      9/27/2011        18:55:46
80042      9166176296      2/16/2012        11:25:38
80043      9166177829      12/9/2011        13:22:24
80044      9166179985      2/16/2012        11:27:55
80045      9166227346      5/22/2012        18:47:50
80046      9166278116      12/29/2011       19:42:19
80047      9166278166      9/20/2012        21:00:15
80048      9166279932      10/5/2011        14:23:52
80049      9166280605      10/9/2012        20:02:05
80050      9166286087      7/5/2012         15:36:12
80051      9166403324      9/29/2011        15:59:26
80052      9166403955      4/27/2012        11:43:20
80053      9166404111      4/12/2012        14:55:22
80054      9166405671      12/5/2013        21:30:50
80055      9166406716      4/23/2012        20:36:39
80056      9166471782      9/27/2011        18:18:59
80057      9166472191      9/9/2011         18:09:27
80058      9166620032      9/19/2011        19:14:51
80059      9166672900      1/8/2012         16:57:07
80060      9166674134      6/4/2012         21:10:15
80061      9166674815      4/19/2012        14:48:43
80062      9166675478      10/8/2012        20:04:09
80063      9166700531      5/28/2012        10:52:11
80064      9166703383      11/12/2011       10:59:19
80065      9166703697      7/25/2012        20:43:12
80066      9166705340      9/8/2011         19:56:37
80067      9166719922      9/14/2011        19:43:13
80068      9166738848      11/12/2011       10:03:23
80069      9166738848      11/18/2011       13:35:01
80070      9166766603      5/2/2012         21:05:08
80071      9166865830      12/31/2011       12:12:12
80072      9166907974      12/5/2011        10:15:33
80073      9166909859      6/4/2011         10:59:07
80074      9166982387      4/19/2012        20:25:45
80075      9166982663      1/27/2012        12:06:31
80076      9166984993      5/23/2012        16:39:08
80077      9166987565      12/21/2011       10:25:43
80078      9167043303      9/28/2011        11:30:10
80079      9167064233      10/29/2011       11:06:52
80080      9167064439      4/27/2012        21:09:18
80081      9167066308      5/18/2012        15:42:11
80082      9167066308      7/30/2012        18:49:32
80083      9167066362      10/1/2011        10:08:43
80084      9167066445      6/4/2012         21:07:53
80085      9167066531      1/4/2012         11:30:35
80086      9167069656      4/11/2012        11:38:59
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80087      9167069957      3/18/2011        10:46:14
80088      9167095506      4/10/2012        11:44:40
80089      9167123987      9/19/2011        19:20:26
80090      9167146155      6/13/2012        10:26:25
80091      9167151951      11/18/2011       13:08:33
80092      9167152790      6/13/2011        14:38:16
80093      9167154452      10/6/2011        18:00:23
80094      9167176553      12/30/2011       12:50:29
80095      9167180022      10/27/2011       16:08:12
80096      9167195634      7/27/2012        15:27:38
80097      9167195634      8/24/2012        11:05:18
80098      9167198226      8/17/2013        14:45:03
80099      9167199314      1/2/2014         17:25:49
80100      9167301471      12/29/2011       19:07:44
80101      9167302395      7/27/2011        17:51:40
80102      9167304493      10/13/2011       10:32:46
80103      9167305811      9/14/2011        21:33:39
80104      9167434641      8/12/2011        11:50:28
80105      9167437957      10/24/2011       14:47:49
80106      9167452333      7/18/2012        18:33:00
80107      9167475697      11/20/2011       11:10:42
80108      9167477750      1/4/2012         11:10:12
80109      9167479351      2/26/2012        13:30:34
80110      9167479885      11/15/2011       20:18:16
80111      9167523672      9/10/2012        10:23:18
80112      9167523759      10/21/2011       13:41:24
80113      9167526898      9/22/2011        15:37:20
80114      9167529952      6/16/2012        10:11:33
80115      9167532252      1/16/2012        17:39:32
80116      9167532830      3/27/2012        21:52:58
80117      9167533222      10/16/2012       20:33:44
80118      9167597356      1/14/2012        11:00:52
80119      9167599886      12/28/2011       20:51:15
80120      9167611247      10/19/2011       12:31:14
80121      9167640448      10/24/2011       14:30:08
80122      9167641608      12/5/2011        10:12:55
80123      9167681666      10/29/2011       11:55:24
80124      9167682049      10/6/2011        17:59:24
80125      9167682577      1/27/2012        17:49:17
80126      9167682631      9/1/2012         11:51:55
80127      9167695050      2/6/2012         17:05:45
80128      9167696350      7/25/2012        11:59:31
80129      9167700157      10/3/2011        10:49:56
80130      9167706457      9/20/2011        18:53:48
80131      9167967506      7/11/2012        15:56:52
80132      9167992950      4/10/2012        12:00:30
80133      9167993333      10/7/2011        10:40:15
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80134      9167995241      9/19/2011        15:02:56
80135      9168010678      11/16/2011       20:10:38
80136      9168011339      1/19/2012        10:20:21
80137      9168024335      1/23/2012        19:03:45
80138      9168066384      4/3/2012         20:17:45
80139      9168069332      8/7/2012         20:15:14
80140      9168070110      5/6/2012         21:21:00
80141      9168071148      11/8/2011        14:46:08
80142      9168072288      2/3/2012         14:29:26
80143      9168073983      3/26/2011        12:45:41
80144      9168075172      8/4/2012         10:21:39
80145      9168075172      9/11/2012        15:11:31
80146      9168075257      10/8/2012        20:10:07
80147      9168076567      11/14/2011       15:31:35
80148      9168076653      4/21/2012        16:28:34
80149      9168076850      12/19/2011       11:21:46
80150      9168077727      2/15/2012        21:04:27
80151      9168078032      10/7/2011        10:18:43
80152      9168078115      6/15/2012        15:46:35
80153      9168078222      6/28/2012        12:35:56
80154      9168078333      8/9/2011         13:20:18
80155      9168122516      3/3/2012         10:39:49
80156      9168210513      9/24/2011        10:03:45
80157      9168210513      11/11/2011       20:14:53
80158      9168211503      7/18/2012        18:37:12
80159      9168211769      3/8/2012         15:36:05
80160      9168212762      2/10/2012        20:42:45
80161      9168213143      9/14/2011        15:43:01
80162      9168213304      2/28/2012        13:10:47
80163      9168213347      11/15/2011       20:11:22
80164      9168214454      10/4/2011        13:28:28
80165      9168214529      5/26/2012        14:28:16
80166      9168214613      12/9/2011        14:07:08
80167      9168218573      10/16/2012       20:34:11
80168      9168218891      2/13/2012        18:32:59
80169      9168218976      6/7/2012         12:49:10
80170      9168219748      4/19/2012        14:36:55
80171      9168252194      10/4/2011        14:01:29
80172      9168255759      5/20/2012        16:01:53
80173      9168257931      5/30/2012        12:59:27
80174      9168261165      6/4/2012         10:05:44
80175      9168266067      1/3/2012         11:26:21
80176      9168326020      10/10/2011       13:02:04
80177      9168331645      6/8/2011         19:11:56
80178      9168331645      9/14/2011        17:03:49
80179      9168334602      5/24/2012        12:20:00
80180      9168340090      8/11/2012        12:25:46
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80181      9168351002      7/22/2011        13:52:31
80182      9168375482      1/20/2012        20:36:21
80183      9168379885      6/4/2012         21:08:21
80184      9168382213      10/11/2011       17:42:43
80185      9168429625      4/21/2012        16:49:13
80186      9168446132      12/19/2011       11:21:43
80187      9168560119      10/25/2011       16:39:52
80188      9168560716      1/8/2012         16:50:51
80189      9168566103      4/10/2012        15:55:44
80190      9168569125      5/15/2012        19:11:16
80191      9168626031      12/1/2011        10:31:23
80192      9168626275      6/11/2012        17:41:28
80193      9168628844      1/17/2012        18:36:44
80194      9168681854      10/26/2011       12:32:23
80195      9168682009      2/20/2012        12:58:48
80196      9168682009      4/19/2012        20:18:37
80197      9168683505      11/26/2011       13:48:33
80198      9168684429      2/8/2012         13:05:49
80199      9168687035      8/8/2012         16:09:25
80200      9168689593      3/21/2012        18:36:51
80201      9168689990      12/21/2011       20:00:04
80202      9168689990      3/8/2012         9:37:42
80203      9168696548      4/11/2012        13:18:38
80204      9168698521      4/18/2012        10:08:05
80205      9168718045      7/6/2012         16:46:30
80206      9168719200      8/1/2012         10:59:33
80207      9168890440      12/23/2011       15:19:09
80208      9168892622      2/4/2012         13:22:26
80209      9168894438      9/26/2011        13:22:49
80210      9168895649      11/9/2011        10:26:06
80211      9168895881      9/28/2012        16:45:45
80212      9168931303      5/23/2012        14:48:46
80213      9168937152      8/22/2012        21:46:02
80214      9168939433      2/4/2012         13:23:08
80215      9168974083      5/8/2012         10:09:49
80216      9168998520      9/19/2012        16:25:46
80217      9169044169      8/15/2012        21:42:18
80218      9169044219      7/16/2012        14:26:52
80219      9169044613      9/20/2012        14:43:14
80220      9169046616      8/31/2011        11:20:38
80221      9169046981      3/11/2011        16:59:10
80222      9169105309      5/2/2012         13:29:54
80223      9169105318      2/28/2012        13:23:21
80224      9169105678      10/7/2012        13:14:13
80225      9169120444      9/27/2011        18:43:17
80226      9169120444      10/6/2011        16:38:20
80227      9169120740      1/18/2012        10:15:30
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80228      9169121527      10/23/2012       18:56:39
80229      9169122049      9/23/2011        11:53:30
80230      9169122167      3/14/2012        14:23:00
80231      9169123479      2/11/2012        15:13:38
80232      9169123647      9/26/2011        13:31:45
80233      9169126165      7/14/2011        17:06:01
80234      9169126327      6/18/2012        10:39:28
80235      9169126327      6/29/2012        17:47:09
80236      9169126397      12/29/2011       11:17:52
80237      9169129136      11/21/2011       10:41:24
80238      9169129373      9/6/2012         21:14:03
80239      9169129503      2/17/2012        10:48:12
80240      9169326425      11/2/2011        14:08:27
80241      9169436025      7/30/2012        13:47:32
80242      9169438624      8/16/2012        19:47:42
80243      9169472127      10/4/2011        13:29:55
80244      9169477148      10/5/2011        14:51:35
80245      9169490043      8/8/2012         10:05:42
80246      9169490166      12/9/2011        13:02:57
80247      9169491510      11/25/2011       18:00:55
80248      9169491510      12/21/2011       10:06:02
80249      9169493852      2/29/2012        17:30:27
80250      9169496196      2/20/2012        16:58:43
80251      9169498233      10/17/2011       11:07:30
80252      9169498562      6/24/2011        12:28:33
80253      9169523574      2/2/2012         16:44:22
80254      9169557811      6/19/2012        12:06:30
80255      9169560784      6/13/2012        20:00:39
80256      9169561773      4/9/2011         14:11:01
80257      9169683940      4/2/2012         17:44:57
80258      9169690883      12/21/2011       10:01:34
80259      9169693762      11/12/2011       10:04:53
80260      9169694075      6/26/2012        16:17:25
80261      9169695405      9/24/2011        10:03:26
80262      9169695405      9/29/2011        10:02:21
80263      9169696168      8/3/2012         12:32:26
80264      9169698040      10/9/2012        20:05:12
80265      9169699614      10/17/2011       10:56:30
80266      9169905472      9/29/2011        15:28:21
80267      9169908047      10/5/2011        14:49:40
80268      9169924949      5/27/2011        17:17:25
80269      9169964249      4/12/2012        14:19:57
80270      9169964249      4/30/2012        14:39:29
80271      9169964955      9/8/2011         19:55:19
80272      9169965153      1/14/2012        11:04:47
80273      9169966978      10/4/2011        14:00:08
80274      9169972537      6/25/2012        13:30:29
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80275      9169974071      6/6/2012         10:20:53
80276      9172099649      8/22/2012        11:23:47
80277      9172099649      9/18/2012        21:29:01
80278      9172135374      10/5/2012        12:17:16
80279      9172167815      11/26/2011       11:52:59
80280      9172324460      11/29/2011       16:22:40
80281      9172573896      11/1/2011        8:35:26
80282      9172876285      11/17/2011       15:07:50
80283      9172924708      1/28/2012        8:25:09
80284      9173180330      9/23/2011        11:34:14
80285      9173309666      9/27/2011        18:22:48
80286      9173309666      10/4/2011        13:04:57
80287      9173495809      2/4/2012         8:11:20
80288      9173535924      7/13/2011        11:23:27
80289      9173700020      2/8/2012         7:34:27
80290      9173700368      2/14/2012        9:56:29
80291      9173780106      10/4/2011        13:10:50
80292      9174057608      5/4/2012         7:34:31
80293      9174076310      12/10/2011       14:32:07
80294      9174175397      1/12/2012        14:02:40
80295      9174388959      3/13/2012        7:01:37
80296      9174430126      9/4/2012         16:11:05
80297      9175006729      10/5/2011        14:03:54
80298      9175007615      8/17/2012        10:05:56
80299      9175138579      1/13/2012        7:31:28
80300      9175151781      5/8/2012         16:57:44
80301      9175237724      1/23/2012        7:14:43
80302      9175237724      2/13/2012        18:23:45
80303      9175280071      2/28/2012        15:57:08
80304      9175350881      11/23/2011       9:22:02
80305      9175350881      3/27/2012        7:03:51
80306      9175445920      2/2/2012         18:50:17
80307      9175470693      11/12/2011       9:05:35
80308      9175625324      10/7/2012        12:58:12
80309      9175626037      6/15/2012        8:47:05
80310      9175677474      5/24/2012        12:00:01
80311      9175694975      10/26/2011       12:11:56
80312      9175697707      5/21/2011        10:44:00
80313      9175734640      2/10/2012        9:32:32
80314      9175770907      1/3/2012         11:15:18
80315      9175770907      2/17/2012        8:57:25
80316      9175776090      8/12/2011        9:21:38
80317      9175860026      5/11/2011        16:53:18
80318      9176013375      9/12/2011        13:52:15
80319      9176020501      6/6/2012         8:20:06
80320      9176173782      4/24/2012        11:55:48
80321      9176205426      10/19/2011       8:22:15
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80322      9176205426      11/2/2011        7:27:52
80323      9176205426      1/3/2012         16:45:29
80324      9176272219      11/16/2011       8:00:04
80325      9176286099      9/19/2011        19:28:47
80326      9176458303      1/9/2012         18:21:41
80327      9176500214      3/23/2012        19:41:04
80328      9176522228      10/4/2011        13:07:10
80329      9176550023      4/11/2012        11:04:36
80330      9176557099      6/9/2011         11:02:08
80331      9176597113      4/10/2012        15:33:50
80332      9176628458      8/23/2012        11:45:31
80333      9176642706      12/19/2011       7:28:45
80334      9176692145      10/5/2011        14:33:51
80335      9176705426      10/3/2011        7:50:12
80336      9176796289      9/20/2011        20:43:26
80337      9176807384      9/13/2011        17:25:26
80338      9176976763      5/21/2011        10:35:05
80339      9177157153      6/9/2012         15:10:52
80340      9177158570      12/30/2011       7:09:11
80341      9177158570      1/6/2012         14:35:35
80342      9177490301      9/13/2011        17:23:32
80343      9177749812      12/18/2011       16:27:39
80344      9177768580      3/13/2012        18:35:38
80345      9178046679      9/19/2011        19:27:15
80346      9178063035      3/30/2012        16:03:11
80347      9178229486      4/11/2012        7:16:20
80348      9178256804      3/15/2011        11:13:33
80349      9178347848      10/4/2011        13:12:57
80350      9178410997      12/22/2011       9:38:01
80351      9178416561      8/1/2011         19:40:50
80352      9178432889      1/19/2012        7:15:06
80353      9178588172      10/21/2011       14:29:48
80354      9178801672      4/7/2012         9:09:26
80355      9178801672      7/27/2012        12:37:00
80356      9178815555      3/12/2012        19:20:15
80357      9178819312      11/17/2011       13:34:47
80358      9178925226      1/3/2012         10:59:34
80359      9179072977      10/5/2011        14:26:26
80360      9179407700      4/19/2012        7:19:57
80361      9179407700      7/18/2012        18:22:41
80362      9179712923      5/22/2012        11:17:14
80363      9179724164      10/4/2011        13:34:18
80364      9179755440      8/1/2011         19:12:05
80365      9182003503      9/16/2011        13:31:07
80366      9182004827      10/4/2011        13:23:04
80367      9182072412      1/26/2012        10:06:40
80368      9182077264      6/28/2012        14:22:30
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80369      9182083171      2/26/2012        13:18:57
80370      9182083373      10/11/2011       16:15:07
80371      9182083373      10/28/2011       14:23:11
80372      9182083373      11/28/2011       11:22:51
80373      9182083779      7/20/2012        14:57:46
80374      9182087245      11/26/2011       11:58:45
80375      9182145896      5/24/2012        12:18:27
80376      9182306261      12/27/2011       14:39:22
80377      9182313525      3/19/2012        11:47:20
80378      9182313525      4/11/2012        11:37:00
80379      9182314852      11/29/2011       15:00:50
80380      9182315339      1/5/2012         14:07:54
80381      9182315339      5/21/2012        8:15:32
80382      9182326905      2/17/2012        18:33:56
80383      9182352480      12/4/2013        11:54:02
80384      9182373535      6/1/2012         9:01:27
80385      9182444494      2/28/2012        13:06:03
80386      9182570570      5/11/2012        18:26:36
80387      9182606835      2/21/2012        9:48:59
80388      9182607061      10/27/2011       16:02:02
80389      9182607061      11/14/2011       14:48:11
80390      9182617483      8/5/2011         18:46:58
80391      9182617483      4/2/2012         17:42:28
80392      9182692444      9/24/2011        9:43:06
80393      9182693025      11/23/2011       10:34:24
80394      9182694739      1/25/2012        20:37:28
80395      9182695595      10/4/2011        13:47:08
80396      9182698473      6/23/2012        16:28:31
80397      9182713128      8/8/2012         16:08:05
80398      9182738118      9/20/2011        20:46:23
80399      9182738790      9/6/2011         12:56:12
80400      9182776371      3/16/2012        15:54:53
80401      9182820743      2/6/2012         17:22:05
80402      9182821234      11/23/2013       8:30:48
80403      9182821761      9/28/2012        16:48:54
80404      9182822680      2/17/2012        9:16:16
80405      9182823070      2/9/2012         20:35:36
80406      9182823070      6/18/2012        8:03:50
80407      9182826070      8/20/2012        10:01:46
80408      9182827325      9/21/2012        18:41:26
80409      9182842310      11/17/2011       13:32:36
80410      9182849212      6/8/2012         10:16:51
80411      9182878401      1/20/2012        14:20:52
80412      9182891386      11/23/2011       9:39:50
80413      9182975002      4/25/2012        9:49:08
80414      9182975295      1/17/2012        9:38:02
80415      9182975439      8/12/2012        13:45:50
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80416      9183027403      5/23/2012        16:31:11
80417      9183040010      6/21/2012        18:44:06
80418      9183040221      3/2/2014         10:29:17
80419      9183061667      10/21/2011       13:29:59
80420      9183133037      9/16/2011        14:51:18
80421      9183135938      4/13/2012        20:40:16
80422      9183136302      4/20/2011        20:08:15
80423      9183136484      12/20/2011       11:59:18
80424      9183138482      3/3/2014         20:29:34
80425      9183144919      9/20/2012        8:49:18
80426      9183152166      6/1/2011         12:13:27
80427      9183153512      10/8/2011        11:50:27
80428      9183159716      5/8/2012         17:16:29
80429      9183161059      5/2/2011         18:07:19
80430      9183161809      1/18/2012        10:24:27
80431      9183163762      9/20/2012        14:44:29
80432      9183167261      11/15/2011       20:07:08
80433      9183182044      2/19/2012        19:39:43
80434      9183190848      5/20/2012        15:38:44
80435      9183232386      10/14/2011       12:56:29
80436      9183235750      11/19/2011       9:00:39
80437      9183250635      10/13/2012       9:14:03
80438      9183274037      8/15/2012        12:22:20
80439      9183279853      10/4/2011        13:22:24
80440      9183291252      11/29/2011       15:10:26
80441      9183291252      12/6/2011        14:37:37
80442      9183321357      11/2/2011        14:16:27
80443      9183321357      11/15/2011       15:32:04
80444      9183326929      2/25/2012        10:42:55
80445      9183328541      5/23/2012        15:16:26
80446      9183360553      12/7/2011        15:16:15
80447      9183441658      10/12/2012       17:12:21
80448      9183443248      11/11/2011       19:59:13
80449      9183444313      3/12/2012        11:17:40
80450      9183461917      4/27/2012        18:21:03
80451      9183464323      3/20/2012        9:31:44
80452      9183465949      9/29/2011        15:17:42
80453      9183485808      10/14/2011       12:55:43
80454      9183489096      10/3/2011        8:12:30
80455      9183489979      8/11/2011        10:08:36
80456      9183528178      12/7/2011        14:08:56
80457      9183528178      12/20/2011       19:24:17
80458      9183601796      3/31/2012        17:45:08
80459      9183606388      5/4/2012         20:55:16
80460      9183606790      9/10/2012        7:45:26
80461      9183609239      9/9/2011         17:55:35
80462      9183613129      11/19/2011       9:09:18
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80463      9183614624      4/3/2012         15:59:05
80464      9183781882      12/7/2011        13:28:35
80465      9183782361      2/17/2012        18:22:38
80466      9183782598      9/1/2012         9:03:29
80467      9183787061      9/22/2011        16:12:05
80468      9183787061      10/4/2011        13:52:47
80469      9183787061      1/6/2012         12:25:08
80470      9183787362      3/6/2012         20:29:16
80471      9183787828      9/27/2012        8:34:32
80472      9183789172      12/29/2011       19:35:41
80473      9183789767      10/4/2011        13:46:06
80474      9183812007      12/17/2011       12:02:38
80475      9183848137      2/2/2012         19:17:58
80476      9183852705      8/6/2012         16:24:35
80477      9183971959      8/5/2011         18:06:30
80478      9183973390      1/3/2012         11:21:54
80479      9183993112      4/25/2011        14:05:13
80480      9184021027      1/27/2012        17:46:50
80481      9184021578      9/14/2011        11:56:10
80482      9184021884      11/11/2011       13:18:53
80483      9184022926      5/7/2012         17:56:19
80484      9184022994      2/4/2012         13:16:10
80485      9184025049      10/10/2012       12:49:20
80486      9184025139      4/10/2012        11:54:16
80487      9184025139      6/9/2012         15:02:19
80488      9184025365      10/8/2011        11:33:02
80489      9184026336      2/29/2012        17:33:11
80490      9184026336      3/25/2012        12:03:29
80491      9184028279      3/19/2012        11:52:55
80492      9184028746      10/6/2011        16:44:09
80493      9184028746      10/15/2011       10:45:17
80494      9184028746      11/4/2011        9:08:05
80495      9184060597      4/18/2011        19:45:41
80496      9184063506      9/26/2011        9:28:20
80497      9184065925      3/26/2012        18:43:19
80498      9184066371      9/9/2011         17:55:17
80499      9184073781      2/21/2012        16:19:18
80500      9184074651      11/26/2011       11:49:52
80501      9184075573      3/28/2012        10:41:21
80502      9184085259      8/8/2012         8:17:27
80503      9184086003      10/28/2011       13:34:26
80504      9184088858      2/12/2012        15:44:12
80505      9184135819      10/15/2012       10:06:47
80506      9184138681      10/19/2012       9:59:16
80507      9184211460      2/15/2012        13:24:48
80508      9184242468      11/15/2011       20:08:28
80509      9184288812      2/28/2012        13:33:33
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80510      9184296387      5/11/2012        10:00:30
80511      9184299707      10/10/2011       11:52:34
80512      9184306066      3/1/2012         12:34:08
80513      9184309913      5/20/2012        15:42:52
80514      9184401054      5/4/2012         20:54:18
80515      9184401217      1/17/2012        17:12:48
80516      9184402385      12/9/2011        15:34:55
80517      9184403342      2/6/2012         10:15:49
80518      9184406578      8/29/2012        11:01:30
80519      9184412170      9/15/2012        8:07:12
80520      9184412819      2/28/2012        16:06:53
80521      9184417074      2/8/2012         12:52:05
80522      9184417284      8/21/2012        14:01:53
80523      9184417808      9/21/2012        15:29:21
80524      9184487177      5/12/2012        10:46:22
80525      9184487963      11/26/2011       13:47:04
80526      9184488010      4/13/2012        13:20:30
80527      9184488010      5/6/2012         18:11:40
80528      9184533390      11/18/2011       13:37:19
80529      9184577457      8/9/2012         14:11:15
80530      9184702541      9/29/2011        9:52:26
80531      9184706168      11/29/2011       16:12:07
80532      9184900738      10/10/2011       12:43:19
80533      9184903661      12/28/2011       13:15:47
80534      9184976282      10/6/2011        17:41:53
80535      9185045504      11/12/2011       9:28:45
80536      9185100665      10/8/2011        10:07:31
80537      9185131577      12/20/2011       15:01:03
80538      9185190777      6/23/2012        8:52:09
80539      9185193731      11/8/2011        14:36:16
80540      9185194354      12/13/2011       16:59:09
80541      9185195006      5/7/2011         14:48:59
80542      9185198469      3/9/2012         15:47:42
80543      9185198469      5/4/2012         18:19:38
80544      9185199872      10/4/2011        13:51:59
80545      9185208751      11/11/2011       13:40:49
80546      9185208751      2/29/2012        17:54:46
80547      9185272411      10/17/2012       9:44:42
80548      9185275226      12/7/2011        13:31:31
80549      9185278349      11/16/2011       20:04:21
80550      9185302629      10/16/2012       12:03:12
80551      9185302639      12/7/2011        14:47:58
80552      9185302679      1/5/2012         14:05:15
80553      9185302679      7/23/2012        13:24:13
80554      9185302940      11/15/2011       20:13:09
80555      9185347141      8/29/2012        11:01:32
80556      9185571714      9/27/2012        16:32:49
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80557      9185579091      1/14/2012        13:28:36
80558      9185718468      7/31/2012        15:35:57
80559      9185744476      10/15/2011       10:55:43
80560      9185753784      9/26/2011        9:52:21
80561      9185754300      5/20/2011        18:03:14
80562      9185756187      1/18/2012        10:51:35
80563      9185756187      5/30/2012        16:57:56
80564      9185761334      5/9/2011         17:24:49
80565      9185768551      5/30/2012        12:56:46
80566      9185775108      9/9/2011         18:22:06
80567      9185775108      12/5/2011        9:37:29
80568      9185775293      9/3/2012         14:49:48
80569      9186056318      4/11/2012        11:36:56
80570      9186057554      12/23/2011       14:20:12
80571      9186063538      5/18/2012        15:41:00
80572      9186063581      3/6/2012         13:05:07
80573      9186063581      5/8/2012         17:19:38
80574      9186068785      9/27/2011        18:12:45
80575      9186068785      12/6/2011        14:12:02
80576      9186069360      9/8/2011         18:10:49
80577      9186077148      1/18/2012        16:52:44
80578      9186161055      11/5/2011        11:37:12
80579      9186162107      11/12/2011       9:29:32
80580      9186162728      10/5/2012        12:42:22
80581      9186162946      8/21/2012        14:01:27
80582      9186170368      11/11/2011       17:06:20
80583      9186170649      6/12/2012        17:14:10
80584      9186170949      9/8/2011         19:51:42
80585      9186171390      7/30/2012        13:17:24
80586      9186173933      11/12/2011       10:34:26
80587      9186177610      12/20/2011       19:36:26
80588      9186182440      1/6/2012         14:58:15
80589      9186192200      7/13/2012        18:52:17
80590      9186192200      7/23/2012        15:20:58
80591      9186292570      12/7/2011        14:54:44
80592      9186298244      11/11/2011       13:47:39
80593      9186302413      4/13/2012        20:38:30
80594      9186302881      6/11/2011        9:27:56
80595      9186306106      9/27/2012        16:30:59
80596      9186331264      11/18/2011       13:05:24
80597      9186337605      9/24/2011        9:19:51
80598      9186355165      5/17/2012        16:53:30
80599      9186355170      12/21/2011       9:57:29
80600      9186355338      2/24/2012        17:38:56
80601      9186355338      6/15/2012        16:44:00
80602      9186355707      2/28/2012        16:19:49
80603      9186365028      7/6/2012         16:46:59
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80604      9186368653      6/29/2011        17:29:16
80605      9186369906      9/13/2012        15:15:11
80606      9186372674      1/24/2012        10:42:34
80607      9186374847      12/29/2011       10:49:33
80608      9186377752      8/31/2011        10:47:39
80609      9186379591      9/20/2011        18:29:14
80610      9186387550      1/3/2012         11:05:47
80611      9186387550      1/18/2012        16:53:11
80612      9186388273      11/4/2011        8:38:30
80613      9186388393      3/29/2012        16:33:46
80614      9186404541      1/24/2012        17:19:28
80615      9186406244      10/11/2012       18:41:26
80616      9186408546      11/14/2011       14:56:48
80617      9186453777      12/26/2011       20:16:25
80618      9186456040      5/5/2012         12:23:21
80619      9186457381      10/10/2011       12:45:25
80620      9186476096      3/27/2012        10:35:00
80621      9186502011      5/20/2012        16:00:55
80622      9186502357      9/22/2011        15:26:24
80623      9186503001      9/26/2012        15:23:42
80624      9186503023      10/22/2011       13:11:34
80625      9186521044      9/14/2011        16:47:33
80626      9186521045      11/14/2011       17:28:32
80627      9186521375      8/14/2012        20:44:54
80628      9186521916      1/6/2012         14:41:28
80629      9186710352      9/29/2011        15:47:04
80630      9186714241      2/29/2012        17:25:43
80631      9186714241      3/9/2012         9:12:57
80632      9186714241      10/23/2012       10:32:32
80633      9186810543      5/18/2012        15:41:15
80634      9186810583      9/23/2011        11:46:39
80635      9186850849      9/21/2011        19:30:54
80636      9186894616      10/17/2012       9:36:44
80637      9186896102      6/13/2012        8:05:26
80638      9186918128      12/17/2011       12:09:13
80639      9186930948      12/21/2011       10:18:24
80640      9186931827      5/6/2011         15:59:19
80641      9186941971      8/22/2012        11:23:29
80642      9186942043      7/25/2012        20:41:18
80643      9186942391      6/28/2012        14:15:28
80644      9186942663      3/14/2012        19:45:11
80645      9186942959      8/1/2012         8:36:17
80646      9186943010      3/12/2012        19:30:06
80647      9186952235      9/14/2011        16:45:31
80648      9186953322      2/8/2012         13:00:55
80649      9186956292      9/13/2011        13:48:25
80650      9186982208      10/8/2012        20:09:55
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80651      9186982788      2/11/2012        15:40:14
80652      9186982858      10/5/2012        18:18:58
80653      9186984065      10/27/2011       16:06:16
80654      9187042557      12/7/2011        14:17:16
80655      9187043914      1/3/2012         19:49:39
80656      9187047102      12/29/2011       19:30:42
80657      9187068292      11/18/2011       12:22:43
80658      9187211391      12/7/2011        14:53:39
80659      9187213307      10/29/2011       11:44:56
80660      9187214387      4/6/2012         15:44:12
80661      9187219511      10/5/2011        14:47:50
80662      9187285058      1/27/2012        17:48:20
80663      9187290624      1/25/2012        9:23:29
80664      9187340331      10/20/2012       16:32:14
80665      9187340948      9/21/2011        19:34:41
80666      9187343660      11/19/2011       9:10:59
80667      9187344041      12/21/2011       18:51:30
80668      9187344154      9/20/2011        16:47:38
80669      9187348577      5/11/2012        18:35:17
80670      9187349889      11/14/2011       16:59:47
80671      9187400023      11/23/2011       10:28:17
80672      9187400708      3/2/2012         9:14:57
80673      9187404841      4/10/2012        11:53:45
80674      9187406586      6/2/2012         13:07:18
80675      9187524203      10/1/2011        10:37:31
80676      9187524203      1/20/2012        19:39:14
80677      9187527746      8/2/2012         11:38:32
80678      9187587884      10/21/2011       12:42:08
80679      9187593055      2/6/2012         10:07:06
80680      9187594336      11/8/2011        14:40:36
80681      9187603695      3/2/2012         18:46:20
80682      9187604904      2/9/2012         9:34:49
80683      9187608933      7/12/2012        19:59:03
80684      9187701344      7/3/2012         19:32:40
80685      9187720041      11/15/2011       15:40:17
80686      9187737372      9/16/2011        13:03:00
80687      9187737372      11/14/2011       17:13:04
80688      9187743286      4/11/2012        11:30:13
80689      9187746762      12/12/2011       16:37:27
80690      9187827391      2/24/2012        20:52:29
80691      9187914444      4/5/2012         13:57:44
80692      9187915886      3/26/2012        18:52:25
80693      9187978764      5/6/2011         20:36:34
80694      9187980896      1/20/2012        20:34:37
80695      9187985092      11/26/2011       13:13:57
80696      9188052574      2/20/2012        17:00:34
80697      9188082483      9/26/2011        9:33:59
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80698      9188082483      10/25/2011       16:26:11
80699      9188086315      3/19/2012        19:02:33
80700      9188087196      7/10/2012        11:58:01
80701      9188091459      1/17/2012        17:30:47
80702      9188099291      10/5/2011        14:18:43
80703      9188122469      12/21/2011       19:23:52
80704      9188124086      8/20/2012        18:39:46
80705      9188129637      9/8/2011         19:33:25
80706      9188133325      9/14/2011        16:39:56
80707      9188137017      12/27/2011       14:37:12
80708      9188143810      3/13/2012        18:41:36
80709      9188147295      12/11/2011       12:23:47
80710      9188150238      5/3/2012         7:15:50
80711      9188151297      6/5/2012         14:49:17
80712      9188159832      10/8/2011        12:01:53
80713      9188160668      9/8/2011         17:59:51
80714      9188161204      6/16/2012        8:36:31
80715      9188161381      1/25/2012        9:40:14
80716      9188161894      6/5/2012         14:00:33
80717      9188169482      9/9/2011         18:15:45
80718      9188202106      9/23/2011        11:44:53
80719      9188220848      8/3/2011         11:56:48
80720      9188223222      12/31/2011       12:03:53
80721      9188223765      9/7/2012         15:42:13
80722      9188290456      1/4/2012         11:21:13
80723      9188291477      8/14/2012        11:50:37
80724      9188295195      5/25/2011        17:54:21
80725      9188295678      1/27/2012        17:45:29
80726      9188302288      11/12/2011       9:31:29
80727      9188302288      12/20/2011       11:53:49
80728      9188306409      1/26/2012        10:00:32
80729      9188330717      6/1/2011         12:02:51
80730      9188330717      10/6/2011        16:39:25
80731      9188392708      8/16/2012        9:25:49
80732      9188396053      3/13/2012        18:40:21
80733      9188396053      3/16/2012        15:52:24
80734      9188396117      1/3/2012         16:31:47
80735      9188400019      11/29/2011       16:19:41
80736      9188430826      7/13/2012        18:53:05
80737      9188431776      1/3/2012         17:13:25
80738      9188431883      10/14/2011       13:25:21
80739      9188453330      3/14/2012        19:27:13
80740      9188480210      12/13/2011       16:48:31
80741      9188501256      12/10/2011       13:30:05
80742      9188503049      2/6/2012         17:20:31
80743      9188506008      10/10/2012       12:57:58
80744      9188507276      10/8/2011        9:50:30
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80745      9188509554      12/22/2011       9:40:04
80746      9188509639      9/26/2012        15:30:01
80747      9188512100      1/18/2012        9:56:34
80748      9188516832      12/20/2011       9:22:18
80749      9188517254      3/12/2012        19:29:38
80750      9188518221      6/15/2012        16:33:25
80751      9188519605      4/24/2012        12:38:58
80752      9188522983      11/8/2011        14:27:51
80753      9188525653      12/11/2011       12:25:23
80754      9188525883      9/22/2011        16:03:36
80755      9188527660      11/15/2011       20:07:31
80756      9188552150      4/20/2012        13:47:05
80757      9188552150      5/29/2012        10:55:14
80758      9188557291      11/28/2011       11:25:12
80759      9188559520      10/4/2011        13:21:34
80760      9188568890      2/9/2012         20:36:23
80761      9188579436      9/29/2011        15:46:06
80762      9188594911      10/18/2011       13:05:53
80763      9188643132      4/6/2012         15:44:47
80764      9188645566      11/8/2011        14:34:38
80765      9188682661      9/28/2012        16:39:23
80766      9188682661      10/17/2012       18:37:47
80767      9188684482      10/5/2011        14:40:59
80768      9188698989      12/17/2011       12:08:24
80769      9188699332      7/12/2012        13:19:11
80770      9188940300      9/23/2011        11:44:56
80771      9188948482      4/1/2012         16:06:33
80772      9188995316      5/18/2012        12:08:12
80773      9189020885      2/17/2012        9:15:02
80774      9189020885      5/17/2012        11:38:00
80775      9189021260      10/3/2012        19:55:47
80776      9189021859      8/8/2011         15:38:28
80777      9189027716      1/27/2012        18:04:06
80778      9189028065      9/16/2011        13:01:29
80779      9189028751      9/20/2011        18:29:11
80780      9189028751      10/26/2011       13:11:44
80781      9189028990      4/19/2012        20:11:58
80782      9189061986      11/14/2011       15:10:10
80783      9189062809      4/12/2012        12:34:31
80784      9189068346      10/10/2011       12:48:40
80785      9189149215      6/24/2011        11:31:05
80786      9189160159      7/23/2012        13:26:44
80787      9189163334      11/7/2011        9:22:03
80788      9189169908      6/26/2012        16:20:57
80789      9189192600      8/29/2012        11:01:24
80790      9189246335      11/18/2011       13:18:00
80791      9189311592      12/29/2011       19:04:32
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80792      9189319510      4/15/2012        17:19:56
80793      9189330423      2/10/2012        16:54:28
80794      9189331209      10/11/2012       18:36:07
80795      9189338512      5/17/2012        11:46:20
80796      9189338512      6/23/2012        16:15:33
80797      9189339977      5/29/2012        10:57:14
80798      9189359587      5/16/2012        9:27:12
80799      9189399115      10/25/2011       16:32:00
80800      9189449279      5/4/2012         20:59:33
80801      9189465060      10/14/2011       13:29:13
80802      9189466693      12/29/2011       19:01:17
80803      9189466693      1/25/2012        20:25:28
80804      9189468876      1/18/2012        16:53:03
80805      9189468876      4/10/2012        16:14:27
80806      9189480367      10/10/2011       12:40:52
80807      9189491185      10/6/2011        17:38:44
80808      9189510465      12/20/2011       11:59:00
80809      9189510669      3/7/2012         18:41:34
80810      9189511935      10/28/2011       13:36:35
80811      9189513275      12/17/2011       11:34:33
80812      9189519697      9/6/2011         12:18:04
80813      9189551415      1/7/2012         9:53:56
80814      9189552976      6/11/2012        18:18:31
80815      9189553545      12/26/2011       9:26:12
80816      9189554359      2/6/2012         17:02:38
80817      9189559459      9/9/2011         7:49:31
80818      9189649344      12/31/2011       12:15:47
80819      9189685047      9/18/2012        14:28:03
80820      9189718044      6/2/2012         13:06:48
80821      9189718295      2/21/2012        9:34:25
80822      9189718295      3/6/2012         16:04:46
80823      9189718464      10/5/2011        10:57:20
80824      9189784062      5/22/2012        18:41:06
80825      9189784267      1/18/2012        10:39:55
80826      9189830015      11/3/2011        17:16:57
80827      9189919500      3/26/2012        18:28:08
80828      9189919500      3/29/2012        16:43:49
80829      9192003176      8/30/2012        17:33:12
80830      9192003281      10/6/2011        16:30:49
80831      9192005912      8/28/2012        11:56:54
80832      9192012904      1/17/2012        18:28:45
80833      9192013065      2/28/2012        16:03:04
80834      9192018907      12/15/2011       8:25:01
80835      9192084449      6/7/2012         7:09:21
80836      9192098588      8/16/2012        19:53:10
80837      9192100170      9/29/2012        10:11:13
80838      9192101327      10/15/2011       9:51:34
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80839      9192102188      5/10/2011        18:52:53
80840      9192106284      10/12/2011       12:07:06
80841      9192153219      11/21/2011       7:25:02
80842      9192190931      12/29/2011       19:19:46
80843      9192190931      4/21/2012        16:14:44
80844      9192190931      5/21/2012        7:06:03
80845      9192196750      3/30/2012        9:46:56
80846      9192211068      12/3/2011        9:56:43
80847      9192211713      1/11/2012        7:28:11
80848      9192214103      12/15/2011       8:25:30
80849      9192214308      12/26/2011       8:59:59
80850      9192219183      9/24/2012        12:50:45
80851      9192219513      10/5/2011        14:34:16
80852      9192222028      8/24/2012        7:35:01
80853      9192225767      5/31/2012        14:56:44
80854      9192227799      10/11/2011       17:06:48
80855      9192228607      6/25/2012        13:21:02
80856      9192228937      6/29/2012        17:46:55
80857      9192231612      10/6/2011        16:13:50
80858      9192234436      8/14/2012        11:49:03
80859      9192238162      12/18/2011       16:54:23
80860      9192249041      10/3/2012        19:53:38
80861      9192254745      3/21/2012        13:42:02
80862      9192257161      2/22/2012        7:15:53
80863      9192257486      4/9/2012         17:48:57
80864      9192257687      8/7/2012         17:51:15
80865      9192259530      10/10/2011       12:16:25
80866      9192279242      8/9/2011         12:31:13
80867      9192357099      1/4/2012         10:59:45
80868      9192361834      12/18/2011       17:42:21
80869      9192365858      10/8/2011        10:40:53
80870      9192367121      8/15/2011        8:15:40
80871      9192367161      4/4/2012         18:37:43
80872      9192396623      4/11/2012        10:49:27
80873      9192402864      10/31/2011       7:47:36
80874      9192408579      6/9/2012         14:41:03
80875      9192474402      10/1/2011        10:56:23
80876      9192474607      12/15/2011       8:25:02
80877      9192475133      8/15/2012        7:53:01
80878      9192508129      10/20/2011       16:13:57
80879      9192511255      9/30/2011        9:58:15
80880      9192520125      12/2/2011        15:30:46
80881      9192520661      12/1/2011        14:54:24
80882      9192520729      10/3/2012        19:46:31
80883      9192521854      3/9/2012         7:04:59
80884      9192522392      12/15/2011       8:25:20
80885      9192523040      9/22/2011        15:01:31
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80886      9192523477      5/3/2012         7:08:39
80887      9192550337      11/25/2011       17:24:43
80888      9192599769      10/25/2011       16:09:42
80889      9192606737      9/3/2012         14:27:49
80890      9192609910      10/29/2011       11:12:57
80891      9192609990      12/13/2011       17:07:49
80892      9192621811      3/15/2012        7:02:30
80893      9192621811      10/20/2012       16:26:18
80894      9192625686      1/14/2012        8:03:35
80895      9192644118      10/6/2011        16:22:39
80896      9192644156      9/20/2011        16:33:28
80897      9192644405      10/7/2011        10:13:24
80898      9192645737      12/27/2011       14:10:53
80899      9192654343      2/29/2012        17:45:16
80900      9192685565      5/23/2012        16:46:49
80901      9192715215      12/21/2011       10:10:01
80902      9192715357      1/12/2012        14:13:06
80903      9192718731      5/21/2012        17:20:33
80904      9192722076      1/13/2012        17:13:33
80905      9192722166      5/22/2012        11:29:45
80906      9192734671      10/27/2011       16:35:02
80907      9192735946      11/8/2011        14:19:32
80908      9192738783      9/27/2011        18:49:19
80909      9192740537      12/29/2011       19:25:40
80910      9192748484      10/20/2011       16:36:02
80911      9192749438      8/30/2012        17:36:38
80912      9192749880      6/21/2012        18:56:43
80913      9192788686      7/12/2011        12:11:34
80914      9192788722      3/10/2012        8:27:36
80915      9192792825      9/13/2011        7:18:05
80916      9192794420      9/24/2011        9:05:34
80917      9192794420      10/31/2011       7:32:15
80918      9192803101      9/1/2012         8:55:11
80919      9192824702      6/28/2012        14:13:53
80920      9192827352      3/23/2012        7:14:58
80921      9192858828      12/10/2011       12:49:55
80922      9192859105      9/22/2011        15:52:08
80923      9192859105      1/5/2012         12:10:19
80924      9192884668      10/25/2011       15:03:28
80925      9192910691      9/16/2011        13:19:27
80926      9192911300      1/5/2012         14:00:09
80927      9192912446      11/17/2011       16:41:05
80928      9192912980      3/23/2012        14:51:01
80929      9192915932      1/26/2012        7:35:13
80930      9192916621      3/12/2012        19:23:18
80931      9192917846      6/18/2012        7:49:23
80932      9193022530      2/13/2012        18:42:29
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80933      9193022546      8/2/2013         13:02:04
80934      9193029207      10/7/2011        7:21:43
80935      9193084208      12/17/2011       11:56:46
80936      9193088340      11/1/2011        8:31:15
80937      9193095506      2/25/2012        10:59:30
80938      9193095506      3/2/2012         18:45:26
80939      9193096977      12/21/2011       11:06:33
80940      9193203554      12/22/2011       8:51:17
80941      9193203887      3/9/2012         7:07:42
80942      9193206917      6/5/2012         7:14:11
80943      9193237151      9/13/2012        7:41:53
80944      9193237151      9/21/2012        18:49:30
80945      9193239891      9/23/2011        18:54:55
80946      9193255912      12/20/2011       7:12:11
80947      9193270018      12/16/2011       15:38:48
80948      9193277479      3/13/2012        18:38:51
80949      9193324979      12/20/2011       19:20:45
80950      9193324979      1/16/2012        17:22:59
80951      9193328805      11/19/2011       8:19:11
80952      9193331127      6/30/2012        15:54:43
80953      9193332337      12/17/2011       11:48:46
80954      9193332337      4/30/2012        14:42:58
80955      9193332337      8/17/2012        7:06:30
80956      9193333900      6/15/2012        8:47:58
80957      9193336467      1/10/2012        15:12:42
80958      9193337073      12/7/2011        14:42:15
80959      9193337298      1/10/2012        18:03:43
80960      9193338355      1/14/2012        8:18:36
80961      9193339305      12/19/2011       7:37:10
80962      9193348759      10/15/2011       10:12:15
80963      9193376261      10/8/2011        11:20:37
80964      9193378261      11/15/2011       15:10:15
80965      9193399302      12/20/2011       7:06:31
80966      9193399302      1/6/2012         14:45:49
80967      9193406770      9/17/2011        9:15:22
80968      9193406770      10/4/2011        13:32:15
80969      9193442215      9/30/2011        10:18:09
80970      9193442215      10/11/2011       17:15:10
80971      9193443495      5/19/2012        8:04:54
80972      9193443977      10/28/2013       7:02:13
80973      9193449220      3/13/2012        16:44:13
80974      9193450602      10/26/2011       11:53:58
80975      9193452746      10/12/2011       7:52:24
80976      9193456137      10/5/2011        14:07:36
80977      9193456232      10/11/2012       18:44:34
80978      9193458517      11/5/2011        9:43:32
80979      9193487934      4/4/2012         7:05:02
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80980      9193490892      6/27/2012        12:25:24
80981      9193493730      3/19/2012        7:17:18
80982      9193493730      5/21/2012        7:29:43
80983      9193496682      1/11/2012        7:48:58
80984      9193497255      12/27/2011       13:36:53
80985      9193497714      10/10/2011       12:32:36
80986      9193497714      10/15/2011       9:18:07
80987      9193498430      11/17/2011       15:26:11
80988      9193499078      6/2/2012         12:41:22
80989      9193499632      11/10/2011       7:07:53
80990      9193560861      7/12/2012        19:49:12
80991      9193565903      9/17/2012        7:43:56
80992      9193581936      10/6/2011        16:20:10
80993      9193581936      10/25/2011       16:02:47
80994      9193583138      7/27/2012        12:40:50
80995      9193584413      12/29/2011       19:19:42
80996      9193585151      9/26/2012        14:31:30
80997      9193585402      1/27/2012        17:56:36
80998      9193588729      10/6/2011        16:21:30
80999      9193589020      9/21/2011        11:30:29
81000      9193589403      12/7/2011        14:04:39
81001      9193607751      10/25/2011       16:06:25
81002      9193666703      2/6/2012         7:23:43
81003      9193690506      3/25/2012        11:42:23
81004      9193692335      12/1/2011        7:50:29
81005      9193693955      10/24/2011       7:10:26
81006      9193694391      12/29/2011       19:24:52
81007      9193699938      9/16/2011        12:57:13
81008      9193700622      5/23/2012        16:33:52
81009      9193810534      8/31/2012        16:26:10
81010      9193818919      1/27/2012        12:07:27
81011      9193892728      8/15/2012        7:48:45
81012      9193894976      1/5/2012         14:03:06
81013      9193908253      8/20/2012        18:50:40
81014      9193940807      9/24/2011        9:10:34
81015      9193941212      12/20/2011       7:06:54
81016      9193944483      3/6/2012         15:58:29
81017      9193946624      8/11/2011        9:22:41
81018      9193946628      3/23/2012        11:04:52
81019      9193946926      10/19/2012       13:26:33
81020      9193951988      10/5/2012        18:38:46
81021      9193953145      10/25/2012       12:19:23
81022      9193956540      11/28/2011       11:16:46
81023      9193979641      2/17/2012        18:08:39
81024      9193983305      8/16/2011        16:38:53
81025      9193984385      2/15/2012        8:07:01
81026      9193988000      10/8/2011        9:32:59
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81027      9194071288      10/14/2011       13:14:12
81028      9194071317      10/5/2012        12:13:38
81029      9194071317      10/19/2012       9:43:35
81030      9194071734      9/6/2012         12:27:02
81031      9194123173      11/19/2011       8:10:34
81032      9194124346      10/5/2011        14:32:49
81033      9194129771      4/28/2012        8:03:40
81034      9194132401      3/13/2012        18:30:02
81035      9194133393      6/4/2012         8:29:53
81036      9194134324      2/28/2012        15:50:07
81037      9194134324      5/21/2012        7:04:09
81038      9194135338      9/23/2011        7:03:17
81039      9194136439      11/18/2011       13:30:26
81040      9194137749      10/28/2011       13:29:18
81041      9194176247      1/29/2012        16:37:43
81042      9194221505      9/13/2011        17:30:35
81043      9194222896      11/12/2011       9:17:45
81044      9194222896      3/25/2012        11:34:10
81045      9194223029      10/3/2011        7:08:55
81046      9194223541      9/6/2011         12:39:56
81047      9194227943      12/21/2011       10:03:42
81048      9194235099      10/2/2013        10:36:16
81049      9194237226      9/20/2011        17:07:44
81050      9194237442      7/17/2012        7:11:23
81051      9194239504      10/14/2011       13:18:25
81052      9194261852      12/18/2011       16:16:29
81053      9194263005      7/23/2011        12:12:50
81054      9194263914      1/13/2012        17:12:24
81055      9194264366      10/14/2011       13:10:56
81056      9194264366      3/28/2012        16:59:08
81057      9194266126      12/1/2011        7:51:56
81058      9194266974      10/7/2011        7:22:45
81059      9194268610      10/8/2011        10:42:43
81060      9194273190      10/14/2011       12:48:03
81061      9194273319      9/27/2011        15:13:56
81062      9194279302      5/11/2012        18:40:31
81063      9194283989      10/20/2011       15:32:46
81064      9194288757      5/23/2012        16:44:18
81065      9194336446      3/12/2012        19:38:14
81066      9194337636      1/11/2012        16:29:00
81067      9194402031      2/3/2012         7:15:12
81068      9194402113      12/2/2011        8:32:49
81069      9194402348      3/20/2012        17:45:25
81070      9194403790      7/20/2012        15:05:09
81071      9194403790      9/26/2012        7:17:10
81072      9194409222      8/5/2011         18:31:13
81073      9194415141      7/14/2011        15:56:51
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81074      9194415359      5/15/2012        19:07:31
81075      9194415359      5/19/2012        9:30:19
81076      9194415359      6/8/2012         16:59:10
81077      9194441892      5/8/2012         9:10:44
81078      9194485406      6/16/2012        15:26:12
81079      9194494088      3/13/2012        18:30:41
81080      9194495043      6/18/2012        15:17:39
81081      9194496007      4/12/2012        17:57:21
81082      9194498911      9/25/2012        14:44:13
81083      9194523838      2/20/2012        17:06:46
81084      9194545630      4/2/2012         17:35:03
81085      9194572615      6/1/2011         14:08:50
81086      9194572869      9/20/2011        17:25:11
81087      9194573216      9/12/2011        13:14:25
81088      9194645470      12/15/2011       8:25:21
81089      9194646849      8/9/2011         7:13:15
81090      9194648366      7/2/2012         15:33:27
81091      9194752976      3/16/2012        10:12:29
81092      9194753200      5/16/2012        17:00:00
81093      9194754747      9/11/2012        7:43:19
81094      9194754948      4/4/2012         19:01:27
81095      9194783207      10/22/2011       13:01:59
81096      9194785136      10/11/2011       16:00:39
81097      9194786447      4/29/2012        16:45:36
81098      9194787201      10/24/2012       14:45:29
81099      9194788201      7/23/2012        15:15:07
81100      9194826340      12/23/2011       13:50:44
81101      9194826839      9/19/2011        7:03:57
81102      9194826839      10/1/2011        10:19:44
81103      9194951604      5/17/2012        16:49:50
81104      9194951890      9/10/2011        8:58:22
81105      9194952048      9/2/2011         12:38:01
81106      9194952048      12/6/2011        14:33:37
81107      9194957624      8/29/2011        13:09:44
81108      9194957996      10/25/2012       19:42:41
81109      9194964882      4/12/2012        18:04:17
81110      9194976927      5/14/2012        15:26:17
81111      9194993452      9/21/2012        18:44:23
81112      9195029225      8/20/2011        8:41:15
81113      9195190750      12/24/2011       7:01:40
81114      9195190793      3/12/2012        7:18:04
81115      9195191469      12/18/2011       17:14:54
81116      9195191969      3/24/2012        10:16:28
81117      9195192507      10/20/2011       15:25:42
81118      9195192610      9/1/2011         8:16:39
81119      9195194809      12/20/2011       19:21:44
81120      9195194809      1/16/2012        7:18:37
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81121      9195195798      3/28/2012        7:18:54
81122      9195200281      11/15/2011       15:06:14
81123      9195203588      1/6/2012         14:45:31
81124      9195204254      2/28/2012        16:16:12
81125      9195210264      9/21/2011        11:25:31
81126      9195212768      11/12/2011       10:20:50
81127      9195213410      11/29/2011       7:37:13
81128      9195216564      9/29/2011        15:13:30
81129      9195216564      10/21/2011       12:23:58
81130      9195220800      4/2/2012         7:16:08
81131      9195222491      2/11/2012        15:32:00
81132      9195224214      11/17/2011       13:37:18
81133      9195228211      12/16/2011       15:38:43
81134      9195228211      5/21/2012        7:02:30
81135      9195228500      9/27/2013        16:20:51
81136      9195229634      11/29/2011       16:09:12
81137      9195234573      5/2/2012         13:43:40
81138      9195238604      3/6/2012         12:56:25
81139      9195241363      10/18/2011       12:55:24
81140      9195242764      2/11/2012        11:00:14
81141      9195242936      12/20/2011       7:02:58
81142      9195242936      8/23/2012        11:48:05
81143      9195244213      11/28/2011       11:17:58
81144      9195244213      1/16/2012        17:12:39
81145      9195245047      7/21/2012        10:10:04
81146      9195249525      6/14/2012        7:07:23
81147      9195309859      1/30/2012        7:15:26
81148      9195324878      6/16/2012        15:11:16
81149      9195326469      11/17/2011       16:42:59
81150      9195368890      6/15/2012        16:36:23
81151      9195391776      5/12/2012        10:34:10
81152      9195391776      7/11/2012        9:37:00
81153      9195394775      7/17/2012        7:02:53
81154      9195446945      12/7/2011        14:03:21
81155      9195456158      11/7/2011        7:18:01
81156      9195482908      12/23/2011       13:59:32
81157      9195533814      3/24/2012        10:19:07
81158      9195592611      2/1/2012         8:07:36
81159      9195595382      3/13/2012        7:07:49
81160      9195595554      1/23/2012        18:51:58
81161      9195598444      1/12/2012        7:10:01
81162      9195648348      6/18/2012        15:23:39
81163      9195817595      10/10/2011       12:31:23
81164      9195834414      2/8/2012         7:35:48
81165      9195861107      10/1/2012        13:47:47
81166      9195931320      3/12/2012        7:27:29
81167      9195933483      12/29/2011       10:57:51
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81168      9195934196      12/9/2011        15:48:51
81169      9195934403      3/27/2012        15:36:39
81170      9195937845      3/2/2012         18:57:48
81171      9195948293      12/17/2011       11:21:40
81172      9195979495      10/5/2011        14:06:25
81173      9195992810      9/14/2011        7:04:08
81174      9195995563      3/1/2012         8:36:07
81175      9195997000      12/15/2011       8:26:23
81176      9195998818      5/17/2012        16:39:10
81177      9195998820      4/3/2012         16:05:46
81178      9195999686      3/22/2012        14:14:35
81179      9196011443      11/5/2011        11:57:05
81180      9196011931      1/3/2012         19:38:43
81181      9196012210      9/27/2011        18:37:01
81182      9196014062      1/2/2012         7:04:54
81183      9196017971      1/19/2012        7:13:52
81184      9196020388      4/19/2012        7:30:15
81185      9196027366      9/11/2012        7:46:45
81186      9196043312      10/1/2011        9:29:10
81187      9196051797      5/21/2012        17:29:37
81188      9196061770      10/6/2011        16:25:34
81189      9196065767      1/23/2012        19:13:30
81190      9196066471      10/4/2011        13:06:56
81191      9196069887      1/20/2012        19:31:03
81192      9196073438      11/8/2011        13:47:03
81193      9196077878      12/9/2011        7:51:05
81194      9196085098      9/22/2011        15:01:13
81195      9196088349      1/29/2012        16:46:05
81196      9196090226      7/23/2011        13:25:42
81197      9196093969      9/22/2011        15:01:03
81198      9196095609      9/14/2011        16:18:54
81199      9196103449      9/18/2012        14:24:25
81200      9196103617      9/21/2011        11:42:54
81201      9196108253      1/3/2012         19:40:35
81202      9196109835      12/27/2011       14:33:03
81203      9196161473      11/29/2011       15:35:18
81204      9196162788      11/17/2011       16:20:13
81205      9196181416      10/12/2011       7:21:24
81206      9196183381      1/4/2012         11:21:02
81207      9196183560      2/28/2012        15:49:24
81208      9196199034      10/31/2011       7:32:01
81209      9196211383      12/7/2011        18:03:19
81210      9196217093      5/8/2012         7:04:29
81211      9196219617      5/2/2012         13:31:58
81212      9196222129      9/17/2012        7:34:05
81213      9196230968      10/17/2012       18:44:53
81214      9196249576      12/23/2011       7:14:23
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81215      9196259421      12/17/2011       11:59:15
81216      9196259585      6/21/2012        10:08:41
81217      9196270058      9/25/2012        15:31:43
81218      9196310937      11/29/2011       16:06:01
81219      9196334580      12/27/2011       14:27:44
81220      9196335228      9/19/2012        7:52:18
81221      9196337555      10/21/2011       13:03:14
81222      9196339909      12/23/2011       13:49:13
81223      9196339909      1/13/2012        7:17:10
81224      9196360376      9/28/2011        11:11:46
81225      9196370427      11/29/2011       7:26:06
81226      9196376553      11/12/2011       10:10:10
81227      9196377254      1/24/2012        17:14:14
81228      9196379233      4/11/2012        7:10:06
81229      9196381516      10/28/2011       14:03:17
81230      9196383071      1/31/2012        7:08:19
81231      9196385286      10/15/2011       9:04:45
81232      9196386056      11/9/2011        7:25:47
81233      9196387012      12/21/2011       10:04:28
81234      9196389027      12/16/2011       15:29:17
81235      9196389027      4/4/2012         18:57:44
81236      9196412477      2/6/2012         17:00:38
81237      9196414587      9/30/2011        10:18:00
81238      9196414778      4/1/2012         16:27:36
81239      9196416472      12/30/2011       7:45:32
81240      9196417149      10/10/2011       12:16:19
81241      9196417270      1/6/2012         13:05:11
81242      9196419763      1/29/2012        16:27:27
81243      9196486019      5/17/2012        11:59:46
81244      9196561032      12/28/2011       17:54:19
81245      9196568549      11/7/2011        9:16:42
81246      9196568834      1/10/2012        15:29:12
81247      9196676135      12/31/2011       12:00:29
81248      9196694302      11/2/2011        7:13:03
81249      9196696397      7/16/2012        19:45:29
81250      9196699704      9/22/2012        9:33:37
81251      9196717905      11/25/2011       17:28:53
81252      9196719590      11/18/2011       12:17:22
81253      9196720104      10/13/2011       7:25:16
81254      9196720794      1/10/2012        15:31:48
81255      9196723665      6/15/2012        16:41:59
81256      9196725705      10/18/2011       7:19:06
81257      9196729554      8/29/2012        10:55:30
81258      9196730283      9/15/2012        8:16:52
81259      9196730704      3/4/2012         12:40:50
81260      9196732380      4/14/2012        9:20:08
81261      9196735804      11/10/2011       7:24:57
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81262      9196850683      4/13/2012        13:12:56
81263      9196850683      5/11/2012        18:22:57
81264      9196850683      9/5/2012         7:10:21
81265      9196855290      12/22/2011       7:11:39
81266      9196905583      7/30/2012        13:13:33
81267      9196960341      3/14/2012        19:44:14
81268      9196961099      3/23/2012        19:12:25
81269      9196961989      9/6/2012         12:27:07
81270      9196962673      4/10/2012        11:37:12
81271      9196962874      11/8/2011        14:10:15
81272      9196964858      10/14/2013       8:42:22
81273      9196968123      3/16/2012        10:21:08
81274      9196972124      5/19/2012        9:24:01
81275      9196972830      9/29/2011        15:04:33
81276      9196972955      3/20/2012        17:39:10
81277      9196979097      9/10/2011        8:52:01
81278      9196979097      9/15/2011        7:47:23
81279      9196979195      12/29/2011       14:12:49
81280      9196983177      10/20/2011       15:22:35
81281      9196983807      11/21/2011       7:39:57
81282      9196983807      12/23/2011       15:35:21
81283      9196994328      10/5/2011        14:36:31
81284      9196995610      12/16/2011       15:37:17
81285      9196995948      1/11/2012        7:49:15
81286      9197028081      1/20/2012        11:45:54
81287      9197098833      12/22/2011       7:42:06
81288      9197106937      4/2/2012         7:06:37
81289      9197109236      11/17/2011       16:18:53
81290      9197142822      12/19/2011       7:20:55
81291      9197206409      10/14/2011       13:08:45
81292      9197207136      9/24/2011        9:06:38
81293      9197208061      9/27/2012        7:38:38
81294      9197209950      8/5/2011         18:38:18
81295      9197210911      2/4/2012         8:27:38
81296      9197214386      10/14/2011       13:13:06
81297      9197215140      8/30/2012        17:36:59
81298      9197216833      7/13/2012        14:02:17
81299      9197217565      9/23/2011        11:29:46
81300      9197231358      4/15/2012        16:30:42
81301      9197233800      3/13/2012        18:39:57
81302      9197235039      4/15/2012        15:15:17
81303      9197235945      8/31/2012        16:35:54
81304      9197241091      2/14/2012        16:47:49
81305      9197241827      6/21/2012        18:49:10
81306      9197251299      9/16/2011        12:54:21
81307      9197251299      11/28/2011       11:11:24
81308      9197294368      5/26/2012        8:49:27
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81309      9197297117      1/4/2012         11:20:46
81310      9197301816      10/29/2011       11:33:10
81311      9197301816      11/16/2011       9:35:53
81312      9197303786      7/2/2011         8:37:15
81313      9197306682      5/18/2012        15:46:25
81314      9197307054      8/31/2011        10:22:01
81315      9197382298      11/28/2011       17:49:53
81316      9197385449      6/27/2012        12:14:47
81317      9197386941      3/8/2012         9:30:19
81318      9197387599      5/13/2012        14:26:31
81319      9197387610      9/28/2011        10:58:30
81320      9197389760      10/25/2012       12:20:49
81321      9197400895      6/15/2012        8:51:29
81322      9197405219      3/7/2012         18:36:57
81323      9197411287      9/10/2012        7:35:06
81324      9197440240      11/26/2011       12:49:53
81325      9197446230      4/2/2012         17:38:19
81326      9197446462      10/4/2011        13:15:13
81327      9197495207      1/25/2012        10:51:20
81328      9197496216      9/10/2011        12:38:32
81329      9197497952      9/15/2011        7:43:49
81330      9197502201      8/20/2012        18:38:23
81331      9197534021      9/13/2011        17:38:55
81332      9197534177      1/6/2012         14:48:54
81333      9197536251      1/18/2012        10:51:32
81334      9197536588      11/17/2011       15:14:47
81335      9197537243      9/12/2011        13:02:36
81336      9197537532      5/13/2012        16:48:31
81337      9197537532      5/19/2012        15:52:53
81338      9197537532      7/23/2012        13:13:17
81339      9197537532      10/25/2012       19:43:35
81340      9197537755      8/20/2012        7:47:41
81341      9197576446      1/17/2012        18:29:15
81342      9197578492      12/27/2011       14:32:35
81343      9197579913      6/15/2012        16:41:48
81344      9197581124      10/20/2012       8:01:04
81345      9197581432      10/23/2012       15:58:59
81346      9197581831      6/11/2012        17:00:42
81347      9197581890      1/6/2012         14:37:42
81348      9197582100      2/11/2012        15:07:45
81349      9197584080      1/5/2012         12:01:18
81350      9197586563      6/24/2011        12:02:05
81351      9197605178      1/26/2012        7:35:13
81352      9197605573      9/15/2011        7:17:01
81353      9197607955      10/24/2012       15:00:00
81354      9197636369      1/29/2012        16:25:22
81355      9197637333      3/7/2012         18:50:18
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81356      9197701869      7/18/2011        10:54:13
81357      9197786826      6/7/2012         7:06:14
81358      9197800149      4/17/2012        9:22:16
81359      9197800188      11/11/2011       7:50:58
81360      9197800438      4/11/2012        19:33:49
81361      9197801358      1/28/2012        8:09:41
81362      9197916343      8/16/2012        19:50:38
81363      9197933559      12/13/2011       17:01:20
81364      9197935456      1/17/2012        7:15:53
81365      9197941576      10/4/2011        13:07:32
81366      9197952461      1/5/2012         12:02:09
81367      9197952461      1/11/2012        7:22:10
81368      9197954675      1/10/2012        12:27:02
81369      9197957580      11/27/2011       15:26:31
81370      9197959255      2/8/2012         7:32:19
81371      9197959389      5/23/2012        14:51:03
81372      9197963258      3/14/2011        17:07:07
81373      9197964080      5/23/2012        15:09:40
81374      9197980118      9/19/2011        19:09:40
81375      9197980731      10/19/2012       19:09:31
81376      9197980846      12/27/2011       14:27:55
81377      9197981083      1/27/2012        7:16:49
81378      9197982675      3/13/2012        18:38:58
81379      9197983639      10/6/2011        17:37:56
81380      9197984086      3/28/2012        14:32:26
81381      9197988469      7/26/2012        19:19:28
81382      9197988869      11/17/2011       14:07:30
81383      9197990934      5/8/2012         7:05:23
81384      9197996516      2/22/2012        7:08:15
81385      9197996670      10/10/2012       12:54:36
81386      9197996921      11/5/2011        9:03:22
81387      9198016030      5/21/2012        17:21:07
81388      9198017027      9/14/2012        7:08:05
81389      9198022101      12/6/2011        7:23:51
81390      9198066317      11/11/2011       7:52:26
81391      9198094532      12/15/2011       8:16:46
81392      9198151176      3/2/2012         18:43:46
81393      9198181914      10/27/2011       16:29:22
81394      9198193284      12/27/2011       14:32:03
81395      9198198120      2/13/2012        18:23:44
81396      9198198201      6/9/2012         10:46:50
81397      9198241771      10/8/2011        10:28:02
81398      9198244232      1/13/2012        17:22:19
81399      9198244647      1/3/2012         19:38:36
81400      9198248729      7/11/2012        9:34:19
81401      9198272262      1/8/2012         12:57:28
81402      9198276530      8/30/2012        7:49:17
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81403      9198300865      2/14/2012        16:45:20
81404      9198304870      10/25/2011       15:15:06
81405      9198307644      5/14/2012        15:18:26
81406      9198418542      10/12/2012       16:34:30
81407      9198418786      1/24/2012        17:16:36
81408      9198422862      12/9/2011        15:08:56
81409      9198426704      11/23/2011       9:21:58
81410      9198626208      9/21/2011        19:32:06
81411      9198627448      10/20/2011       15:19:28
81412      9198683768      12/1/2011        8:11:14
81413      9198686246      10/4/2011        13:32:20
81414      9198689493      10/23/2012       15:58:48
81415      9198797544      1/20/2012        11:46:20
81416      9198807624      10/16/2012       7:26:50
81417      9198808558      9/21/2011        19:32:22
81418      9198836404      12/20/2011       19:20:46
81419      9198837374      4/2/2012         7:03:45
81420      9198841285      3/16/2012        16:00:31
81421      9198856869      11/22/2011       19:23:03
81422      9198890839      1/4/2012         11:19:43
81423      9198897280      2/22/2014        11:09:09
81424      9198959023      8/7/2012         17:48:24
81425      9199021692      9/10/2012        7:38:43
81426      9199029120      11/30/2011       7:00:54
81427      9199029120      5/21/2012        7:02:27
81428      9199029277      1/18/2012        16:35:55
81429      9199029474      9/5/2012         15:21:40
81430      9199066289      10/8/2011        11:18:08
81431      9199099425      4/21/2012        16:12:46
81432      9199126928      5/22/2012        11:38:21
81433      9199171768      5/13/2012        16:49:58
81434      9199205976      6/27/2012        12:10:07
81435      9199209061      10/6/2011        17:39:26
81436      9199210412      12/5/2011        18:53:20
81437      9199220738      12/23/2011       15:36:21
81438      9199222140      11/29/2011       15:54:17
81439      9199225778      8/3/2011         12:20:50
81440      9199225778      3/16/2012        10:14:15
81441      9199234456      12/21/2011       10:11:07
81442      9199234958      10/3/2011        7:20:22
81443      9199282124      4/22/2012        15:07:39
81444      9199282124      6/15/2012        16:36:41
81445      9199282124      8/4/2012         7:26:36
81446      9199312951      7/23/2011        12:46:40
81447      9199313297      10/14/2011       13:11:31
81448      9199316900      12/29/2011       10:53:39
81449      9199336597      1/6/2012         14:40:20
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81450      9199391027      9/12/2011        14:01:22
81451      9199395670      4/4/2012         7:08:04
81452      9199399006      4/6/2012         15:51:02
81453      9199435505      12/26/2011       8:58:54
81454      9199436671      10/15/2011       10:32:58
81455      9199467655      1/3/2012         19:40:31
81456      9199490295      6/5/2012         13:54:29
81457      9199491884      10/1/2012        13:40:55
81458      9199492308      11/14/2011       16:55:13
81459      9199492763      11/5/2011        11:08:06
81460      9199492763      11/23/2011       14:51:52
81461      9199492797      9/23/2011        7:04:48
81462      9199495209      8/16/2012        19:46:47
81463      9199610803      12/17/2011       11:58:48
81464      9199614345      5/11/2012        12:21:40
81465      9199614727      10/3/2011        7:30:57
81466      9199715688      2/17/2012        18:20:22
81467      9199719253      12/23/2011       14:35:31
81468      9199866082      8/8/2012         7:07:47
81469      9199883989      5/13/2012        17:28:11
81470      9199950620      4/1/2012         17:04:53
81471      9199956818      1/18/2012        16:49:45
81472      9202033828      7/18/2012        18:25:48
81473      9202034434      6/19/2012        15:43:42
81474      9202036027      2/17/2012        9:18:49
81475      9202037732      5/21/2011        10:53:02
81476      9202038449      8/14/2012        11:50:52
81477      9202039197      2/7/2012         20:23:33
81478      9202050606      2/1/2012         18:37:37
81479      9202071988      7/25/2012        12:07:36
81480      9202078031      12/30/2011       8:34:38
81481      9202079166      8/4/2011         8:17:04
81482      9202104405      3/7/2012         9:45:07
81483      9202163415      12/9/2011        8:23:00
81484      9202166076      12/16/2011       15:27:59
81485      9202178216      1/23/2012        19:18:42
81486      9202290383      10/22/2011       12:43:08
81487      9202297568      1/28/2012        8:21:35
81488      9202297569      2/3/2012         8:35:35
81489      9202298719      7/12/2012        19:54:30
81490      9202380330      9/21/2012        18:41:46
81491      9202385425      7/31/2012        15:37:37
81492      9202421174      3/28/2011        15:38:06
81493      9202422176      1/6/2012         12:22:31
81494      9202426421      5/1/2012         8:39:18
81495      9202427465      4/19/2012        14:34:49
81496      9202427496      7/18/2012        8:34:50
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81497      9202427496      10/8/2012        20:05:45
81498      9202429618      3/12/2012        19:11:08
81499      9202438247      3/8/2012         7:03:42
81500      9202460652      11/17/2011       16:20:06
81501      9202482238      2/1/2012         18:40:01
81502      9202482660      5/23/2012        16:48:09
81503      9202517722      11/18/2011       13:02:25
81504      9202519641      1/13/2012        8:07:23
81505      9202519641      5/30/2012        16:58:43
81506      9202543956      2/24/2012        20:55:58
81507      9202548750      10/10/2011       11:54:57
81508      9202549559      6/1/2012         9:01:01
81509      9202561679      9/22/2011        15:24:08
81510      9202576784      6/8/2012         8:10:23
81511      9202645447      11/28/2011       11:59:29
81512      9202658566      4/26/2012        17:28:00
81513      9202659111      10/6/2011        16:34:23
81514      9202670585      9/3/2012         14:32:15
81515      9202683376      2/9/2012         20:30:40
81516      9202797502      9/10/2011        9:04:33
81517      9202842813      6/25/2012        13:27:41
81518      9202855649      3/19/2012        19:40:04
81519      9202857619      12/23/2011       14:19:23
81520      9202859242      10/5/2011        14:41:20
81521      9202860514      3/13/2012        12:45:34
81522      9202871652      3/7/2012         9:45:48
81523      9202871652      5/8/2012         12:39:45
81524      9202874987      3/15/2012        13:49:20
81525      9202879546      6/26/2012        8:04:09
81526      9202904017      3/1/2012         8:53:37
81527      9202920894      8/4/2012         8:03:30
81528      9202963686      9/3/2012         14:34:27
81529      9202964912      12/21/2011       18:50:06
81530      9202964967      8/4/2012         8:08:39
81531      9202964967      8/14/2012        20:58:17
81532      9203218439      12/15/2011       8:38:26
81533      9203330425      8/30/2012        9:43:32
81534      9203447430      8/30/2012        9:47:33
81535      9203561403      12/17/2011       11:35:02
81536      9203601429      8/11/2012        9:40:19
81537      9203621076      6/8/2012         16:57:13
81538      9203625172      9/20/2011        16:42:35
81539      9203665648      1/17/2012        18:33:53
81540      9203700058      1/18/2012        16:51:19
81541      9203700058      5/20/2012        15:39:52
81542      9203710364      3/4/2012         12:30:52
81543      9203734127      5/13/2012        17:47:15
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81544      9203740339      4/17/2012        9:41:01
81545      9203746139      1/4/2012         11:23:10
81546      9203770828      10/22/2011       13:16:44
81547      9203783880      8/23/2011        18:10:24
81548      9203822996      11/11/2011       20:20:43
81549      9203826266      9/13/2011        17:50:01
81550      9203827334      1/26/2012        10:30:35
81551      9204108253      11/12/2011       10:35:06
81552      9204128929      3/10/2011        16:36:10
81553      9204180089      8/9/2012         14:10:04
81554      9204221666      11/25/2011       17:52:50
81555      9204221813      12/3/2011        9:23:34
81556      9204277077      6/17/2012        12:26:50
81557      9204277978      9/19/2011        19:34:49
81558      9204348908      5/7/2012         8:21:03
81559      9204349359      2/20/2012        9:17:04
81560      9204504410      9/21/2011        13:24:17
81561      9204704456      9/24/2011        9:18:35
81562      9204716497      2/16/2012        11:29:26
81563      9204729423      4/14/2012        9:13:02
81564      9204729547      9/10/2011        9:15:45
81565      9204929698      9/29/2011        15:16:28
81566      9204935635      10/5/2012        12:42:35
81567      9205271940      12/5/2011        8:39:07
81568      9205398004      1/16/2012        8:25:55
81569      9205745104      10/12/2011       8:07:15
81570      9205901295      12/13/2011       18:36:24
81571      9206063619      10/25/2011       16:32:53
81572      9206150274      2/14/2012        15:37:51
81573      9206291384      8/29/2012        20:21:02
81574      9206292612      4/9/2012         18:11:25
81575      9206397638      10/5/2012        12:41:52
81576      9206500954      2/16/2012        8:37:39
81577      9206557659      2/3/2012         20:09:13
81578      9206761804      5/11/2012        18:27:03
81579      9206761841      5/21/2012        17:46:27
81580      9206811010      10/22/2011       12:41:25
81581      9206912067      7/18/2012        14:52:49
81582      9207130209      10/7/2011        8:04:36
81583      9207135135      9/26/2011        9:49:16
81584      9207136162      4/9/2012         13:38:02
81585      9207373691      9/4/2012         16:00:43
81586      9207374215      1/18/2012        10:12:42
81587      9207375129      4/23/2012        8:14:47
81588      9207379819      12/1/2011        8:05:37
81589      9207500032      9/9/2011         17:54:19
81590      9207501532      2/1/2012         8:44:40
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81591      9207632456      10/1/2012        8:39:33
81592      9207898069      10/5/2011        14:38:49
81593      9208381408      1/12/2012        14:33:21
81594      9208494639      6/20/2012        9:12:31
81595      9208518075      12/12/2011       16:35:50
81596      9208586061      10/8/2011        12:03:17
81597      9208586061      11/5/2011        11:18:02
81598      9208587884      10/10/2011       11:57:35
81599      9208605962      8/30/2012        17:43:02
81600      9208606556      12/28/2011       14:08:36
81601      9208896775      8/29/2012        20:21:00
81602      9209019245      1/11/2012        9:03:56
81603      9209045922      10/7/2012        13:01:32
81604      9209054263      1/19/2012        18:30:52
81605      9209054265      2/15/2012        8:16:15
81606      9209130000      3/29/2012        12:44:30
81607      9209170720      4/18/2012        17:58:03
81608      9209179318      6/21/2012        18:51:09
81609      9209182450      1/25/2012        9:22:23
81610      9209183836      12/2/2011        8:25:39
81611      9209605232      9/8/2012         11:43:01
81612      9209731869      9/13/2012        15:20:44
81613      9209790407      8/20/2012        18:54:49
81614      9209800380      9/9/2011         18:27:04
81615      9209881948      10/11/2011       16:17:50
81616      9209882335      8/18/2011        8:37:08
81617      9209882335      9/8/2011         19:48:38
81618      9209886076      10/20/2011       16:32:14
81619      9209886076      11/5/2011        9:59:14
81620      9252027038      1/10/2012        21:35:57
81621      9252030182      10/19/2011       12:06:43
81622      9252030783      9/19/2011        14:47:47
81623      9252066245      7/30/2012        18:49:13
81624      9252067160      12/28/2011       20:46:28
81625      9252067476      11/28/2011       12:26:27
81626      9252068500      3/15/2012        19:35:35
81627      9252068698      5/2/2012         21:10:12
81628      9252072916      11/21/2011       10:56:27
81629      9252074469      5/22/2012        18:31:27
81630      9252094954      4/11/2012        21:49:28
81631      9252195080      4/7/2012         12:21:59
81632      9252348056      11/17/2011       16:36:52
81633      9252370548      10/24/2011       14:23:55
81634      9252381287      3/13/2012        14:05:31
81635      9252381287      8/15/2012        21:49:20
81636      9252381579      3/1/2012         21:56:36
81637      9252384857      11/15/2011       15:53:23
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81638      9252385665      9/10/2012        21:04:48
81639      9252502080      12/1/2011        14:41:28
81640      9252553077      10/11/2012       11:52:21
81641      9252705368      10/11/2011       16:36:25
81642      9252734299      9/26/2011        13:22:23
81643      9252862954      9/19/2011        19:38:01
81644      9253033110      6/25/2011        15:49:50
81645      9253053614      11/23/2011       14:46:05
81646      9253056874      10/24/2011       14:58:32
81647      9253058016      9/13/2012        21:30:10
81648      9253214235      7/28/2012        11:13:25
81649      9253218365      10/5/2012        18:28:51
81650      9253231946      10/20/2011       16:42:36
81651      9253234654      8/14/2012        21:02:37
81652      9253252727      1/17/2012        18:37:06
81653      9253258336      4/16/2012        15:53:20
81654      9253384943      2/11/2012        15:49:42
81655      9253397294      7/11/2011        12:06:53
81656      9253397412      11/11/2011       13:52:45
81657      9253398723      1/9/2012         18:19:22
81658      9253483895      3/20/2012        20:01:00
81659      9253486131      5/10/2012        15:06:27
81660      9253541190      2/9/2012         20:33:11
81661      9253548164      9/23/2011        18:51:51
81662      9253835852      11/27/2011       15:36:22
81663      9253839862      9/15/2011        10:41:47
81664      9253958079      2/2/2012         21:00:14
81665      9253958315      11/11/2011       20:28:56
81666      9253992525      3/15/2012        19:19:48
81667      9254135553      2/15/2012        21:03:36
81668      9254320968      7/13/2012        13:55:32
81669      9254353541      10/10/2011       13:15:27
81670      9254354039      10/29/2011       12:00:05
81671      9254355557      9/14/2011        21:38:11
81672      9254357144      6/15/2012        15:43:22
81673      9254357966      1/31/2012        10:12:23
81674      9254359961      7/6/2012         16:57:50
81675      9254374530      4/19/2012        14:36:56
81676      9254377690      9/6/2012         12:25:47
81677      9254514121      10/6/2011        10:40:31
81678      9254577387      5/22/2012        18:45:38
81679      9254578806      5/19/2012        11:01:02
81680      9254708102      9/27/2012        16:34:55
81681      9254708946      1/16/2012        12:15:45
81682      9254708981      7/22/2012        12:17:05
81683      9254709710      10/4/2011        14:00:54
81684      9254971433      9/13/2011        13:45:47
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81685      9254972072      8/13/2011        12:31:01
81686      9254973992      5/25/2012        17:16:17
81687      9254974561      10/26/2011       13:20:19
81688      9254974637      1/10/2012        21:37:33
81689      9254974854      12/29/2011       10:52:22
81690      9254975109      12/1/2011        10:38:31
81691      9254977328      9/20/2011        17:02:38
81692      9254977328      11/8/2011        14:45:42
81693      9254977331      4/25/2012        16:23:40
81694      9254978831      6/11/2012        10:03:16
81695      9255480780      3/16/2012        15:57:00
81696      9255505278      8/30/2012        17:38:59
81697      9255651429      10/8/2012        12:49:57
81698      9255653161      8/23/2011        19:38:23
81699      9255653161      10/20/2011       20:59:58
81700      9255655210      4/2/2012         12:56:54
81701      9255655276      3/1/2012         21:56:15
81702      9255655622      1/6/2012         14:44:28
81703      9255659525      12/19/2011       21:04:29
81704      9255659892      1/6/2012         13:01:48
81705      9255701405      10/15/2011       11:14:30
81706      9255703886      11/4/2011        10:17:09
81707      9255770876      7/28/2012        11:15:59
81708      9255860314      9/14/2011        21:25:14
81709      9255941061      11/14/2011       15:42:44
81710      9255942082      10/19/2011       12:29:42
81711      9255943898      9/10/2011        12:40:25
81712      9255970997      7/3/2012         13:08:00
81713      9255971190      4/9/2012         13:54:09
81714      9255971949      11/16/2011       20:09:32
81715      9256289775      6/12/2012        17:15:55
81716      9256390666      3/13/2012        18:52:45
81717      9256393037      12/27/2011       14:24:16
81718      9256398775      5/26/2012        14:41:30
81719      9256428094      1/10/2012        15:22:22
81720      9256954677      5/5/2012         8:36:10
81721      9256981508      9/20/2011        17:03:00
81722      9256984818      12/7/2011        13:49:02
81723      9256986668      7/25/2012        12:09:05
81724      9256991583      4/6/2012         16:00:15
81725      9256998636      5/26/2012        10:10:03
81726      9257050366      6/29/2011        17:48:19
81727      9257051315      11/11/2011       13:29:49
81728      9257052970      8/21/2012        13:56:31
81729      9257265290      6/28/2012        12:35:51
81730      9257269053      9/19/2011        19:21:40
81731      9257269919      5/8/2012         21:08:36
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81732      9257271296      12/29/2011       21:37:48
81733      9257275676      7/9/2012         19:04:14
81734      9257276674      2/28/2012        15:56:26
81735      9257277491      8/9/2012         21:59:30
81736      9257277839      3/19/2012        12:05:07
81737      9257278218      9/20/2011        17:00:11
81738      9257278626      1/25/2012        18:22:02
81739      9257279890      12/18/2011       17:04:04
81740      9257520361      6/28/2012        21:48:46
81741      9257523341      2/1/2012         13:38:26
81742      9257523643      9/16/2011        13:37:30
81743      9257524740      11/23/2011       10:08:19
81744      9257525149      10/19/2011       12:31:44
81745      9257525149      11/18/2011       13:35:59
81746      9257525204      6/11/2012        18:19:01
81747      9257525849      12/2/2011        15:32:59
81748      9257526487      3/17/2012        11:34:47
81749      9257528007      8/5/2011         18:56:50
81750      9257598207      1/14/2012        15:44:19
81751      9257598911      10/5/2012        12:31:26
81752      9257651522      5/3/2012         21:19:25
81753      9257830928      2/10/2012        10:35:30
81754      9257833235      8/18/2012        10:53:59
81755      9257835471      3/29/2012        16:30:22
81756      9257846248      3/22/2012        14:07:36
81757      9257859412      9/14/2011        10:33:53
81758      9257873812      8/3/2012         12:30:55
81759      9257886889      1/3/2012         19:54:01
81760      9258121533      9/19/2011        14:52:37
81761      9258121533      9/27/2011        18:49:41
81762      9258121533      10/14/2011       13:00:24
81763      9258122650      11/12/2011       10:54:59
81764      9258124440      1/27/2012        17:51:28
81765      9258183699      4/26/2012        21:18:32
81766      9258226334      6/11/2012        18:11:07
81767      9258266417      1/24/2012        17:25:13
81768      9258268229      3/14/2012        19:38:14
81769      9258489044      1/12/2012        14:37:00
81770      9258524422      5/8/2012         21:08:00
81771      9258640525      11/23/2011       14:46:54
81772      9258644541      9/14/2011        21:27:35
81773      9258649274      5/30/2012        16:59:44
81774      9258723797      9/8/2011         18:22:27
81775      9258906276      10/24/2011       14:27:53
81776      9258908417      3/18/2012        12:27:21
81777      9258908417      4/12/2012        18:31:37
81778      9258950251      1/13/2012        17:47:49
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81779      9258997841      8/23/2012        11:57:01
81780      9259140033      10/11/2011       16:39:09
81781      9259151420      8/16/2012        19:55:55
81782      9259170394      11/26/2011       12:08:42
81783      9259356969      3/26/2011        12:42:06
81784      9259517172      9/22/2011        15:33:41
81785      9259517172      10/10/2011       12:58:25
81786      9259847609      4/4/2012         19:09:42
81787      9259849678      12/29/2011       19:41:11
81788      9282001546      1/31/2012        10:04:29
81789      9282003748      9/24/2011        10:01:28
81790      9282012079      7/25/2012        12:09:16
81791      9282012079      9/26/2012        17:15:00
81792      9282013745      10/11/2012       18:50:14
81793      9282021644      12/16/2011       15:50:30
81794      9282022680      1/3/2012         16:23:01
81795      9282051658      10/23/2012       10:33:42
81796      9282051683      9/28/2011        9:31:59
81797      9282060169      5/17/2012        16:58:25
81798      9282060787      6/28/2012        14:26:36
81799      9282061603      9/22/2011        16:16:06
81800      9282062443      9/13/2012        21:28:54
81801      9282062485      10/8/2011        12:08:13
81802      9282062812      3/26/2011        12:37:47
81803      9282065187      12/19/2011       9:11:49
81804      9282065309      12/18/2011       17:08:17
81805      9282066135      10/10/2011       12:56:35
81806      9282066719      12/9/2011        15:55:54
81807      9282067444      2/14/2012        16:52:30
81808      9282075000      9/14/2012        10:52:28
81809      9282076439      2/28/2012        13:07:37
81810      9282079140      8/5/2011         18:10:51
81811      9282080651      3/29/2012        16:34:35
81812      9282081137      1/16/2012        17:18:09
81813      9282082585      9/6/2012         21:14:24
81814      9282083598      6/30/2012        11:07:23
81815      9282086842      3/27/2012        10:43:00
81816      9282087108      7/13/2011        12:02:41
81817      9282087495      8/2/2012         18:51:37
81818      9282089124      1/6/2012         14:53:33
81819      9282089184      7/27/2011        17:42:22
81820      9282092024      9/13/2011        13:39:00
81821      9282101134      1/25/2012        20:31:44
81822      9282102005      1/20/2012        19:51:14
81823      9282105523      11/17/2011       16:33:27
81824      9282191664      11/4/2011        10:24:34
81825      9282191682      8/1/2011         19:24:46
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81826      9282191862      1/12/2012        14:19:25
81827      9282199343      10/22/2011       12:30:03
81828      9282199343      12/10/2011       13:04:14
81829      9282199364      10/3/2011        10:30:53
81830      9282199637      9/20/2011        16:56:06
81831      9282200321      9/26/2011        13:25:30
81832      9282212620      6/25/2012        13:28:52
81833      9282250813      3/19/2012        19:05:54
81834      9282251194      10/19/2011       12:22:56
81835      9282257155      9/13/2011        14:19:19
81836      9282257457      12/6/2011        13:15:20
81837      9282257929      1/3/2012         19:45:39
81838      9282276414      7/26/2012        19:16:18
81839      9282306472      6/29/2012        10:58:12
81840      9282340134      7/14/2011        16:53:08
81841      9282341077      9/28/2011        11:27:26
81842      9282346041      6/27/2011        18:39:08
81843      9282346221      5/22/2012        11:23:52
81844      9282401648      6/23/2012        16:16:02
81845      9282403683      7/9/2012         10:56:01
81846      9282425046      11/21/2011       10:35:04
81847      9282430751      4/26/2012        17:40:40
81848      9282431837      10/6/2011        16:59:08
81849      9282432440      9/29/2011        15:24:14
81850      9282451284      9/15/2011        9:20:41
81851      9282451877      3/30/2012        10:23:02
81852      9282458342      4/22/2012        15:36:32
81853      9282458342      4/23/2012        20:36:18
81854      9282461886      1/17/2012        18:48:38
81855      9282462110      1/4/2012         20:19:54
81856      9282466447      9/8/2011         19:53:49
81857      9282473954      10/1/2011        10:54:00
81858      9282541106      9/7/2011         14:52:55
81859      9282558101      7/27/2012        21:10:38
81860      9282575496      10/6/2011        16:59:38
81861      9282576713      10/12/2012       21:27:11
81862      9282579764      12/23/2011       14:21:35
81863      9282594695      10/3/2012        10:30:36
81864      9282615900      5/8/2012         12:43:52
81865      9282616062      8/9/2011         13:07:45
81866      9282617504      10/15/2012       16:28:02
81867      9282667295      10/5/2011        14:49:27
81868      9282668836      3/13/2012        12:53:04
81869      9282710245      2/29/2012        17:38:04
81870      9282712286      12/10/2011       13:49:46
81871      9282716397      5/7/2012         14:53:35
81872      9282734415      12/29/2011       18:31:15
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81873      9282744654      10/15/2011       10:01:30
81874      9282766410      12/7/2011        14:18:56
81875      9282779476      1/31/2012        10:23:17
81876      9282790755      10/3/2012        19:57:32
81877      9282792426      10/11/2011       16:33:54
81878      9282793858      6/21/2012        10:12:25
81879      9282795017      10/17/2011       11:01:09
81880      9282796075      4/5/2012         10:19:09
81881      9282870244      9/24/2011        10:06:51
81882      9282886187      4/11/2012        11:32:32
81883      9283001816      11/17/2011       15:51:21
81884      9283002016      8/4/2012         10:16:49
81885      9283005700      3/29/2012        12:56:21
81886      9283005940      12/28/2011       20:49:09
81887      9283007020      4/29/2011        20:27:52
81888      9283007958      6/15/2012        16:52:34
81889      9283008369      12/18/2011       16:39:02
81890      9283013619      4/1/2012         17:31:06
81891      9283018082      3/14/2011        17:24:41
81892      9283034185      10/22/2011       13:17:47
81893      9283034390      2/24/2012        20:57:26
81894      9283034390      6/4/2012         21:09:22
81895      9283036945      4/24/2012        12:43:02
81896      9283038251      8/20/2012        18:45:47
81897      9283044923      12/28/2011       20:49:22
81898      9283045394      10/10/2011       12:01:01
81899      9283048610      1/23/2012        7:17:13
81900      9283081777      9/30/2011        10:08:10
81901      9283084334      11/15/2011       20:16:32
81902      9283085547      11/10/2011       14:37:50
81903      9283086689      3/29/2012        12:56:12
81904      9283100526      8/29/2011        17:51:58
81905      9283104305      1/4/2012         11:15:58
81906      9283106141      11/17/2011       14:42:25
81907      9283107727      4/10/2012        21:57:29
81908      9283131013      10/21/2011       13:38:46
81909      9283132660      6/7/2012         18:36:26
81910      9283132682      7/27/2012        21:01:13
81911      9283132772      10/9/2012        20:05:22
81912      9283152395      10/23/2012       10:46:18
81913      9283152551      6/9/2012         15:13:05
81914      9283220173      12/20/2011       19:39:25
81915      9283220323      12/2/2011        14:31:17
81916      9283220515      10/5/2011        14:48:52
81917      9283220840      12/7/2011        14:19:44
81918      9283223936      3/21/2011        11:21:14
81919      9283224556      9/24/2012        19:08:32
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81920      9283225787      10/24/2011       14:15:04
81921      9283289828      10/22/2011       12:46:12
81922      9283289828      12/21/2011       19:04:46
81923      9283289828      6/19/2012        15:45:43
81924      9283455285      5/7/2011         10:35:00
81925      9283492457      10/5/2011        14:19:19
81926      9283492580      2/11/2012        10:53:19
81927      9283492586      12/20/2011       19:39:29
81928      9283492760      1/4/2012         11:08:22
81929      9283492884      4/10/2012        15:53:00
81930      9283493300      10/17/2012       18:31:48
81931      9283495328      1/11/2012        16:24:13
81932      9283495509      11/9/2011        9:17:54
81933      9283496169      1/6/2012         13:07:02
81934      9283497430      8/25/2012        10:58:14
81935      9283497869      9/13/2012        21:28:42
81936      9283499187      1/13/2012        17:29:27
81937      9283583750      11/16/2011       20:07:27
81938      9283669032      9/21/2012        18:52:34
81939      9283683251      1/30/2012        9:04:46
81940      9283683340      10/16/2012       16:29:09
81941      9283696131      2/29/2012        17:27:41
81942      9283698278      1/13/2012        10:41:34
81943      9283738147      3/13/2012        18:52:35
81944      9283777226      9/14/2012        10:51:37
81945      9283777630      8/20/2012        10:02:40
81946      9283790121      10/7/2011        10:26:06
81947      9283790835      8/25/2012        10:58:50
81948      9283804334      10/8/2011        12:08:34
81949      9283865755      9/27/2013        21:17:26
81950      9283885135      5/20/2012        15:49:39
81951      9283885589      4/2/2012         17:25:12
81952      9283999598      10/16/2012       20:33:29
81953      9284010065      8/27/2011        12:09:43
81954      9284011080      8/31/2012        10:40:27
81955      9284011168      8/7/2012         17:44:50
81956      9284011700      2/15/2012        21:02:14
81957      9284017474      2/15/2012        21:01:50
81958      9284019964      9/10/2011        12:32:33
81959      9284202599      12/21/2011       19:52:04
81960      9284290652      5/18/2012        15:41:35
81961      9284290779      9/8/2011         18:13:05
81962      9284290934      3/14/2012        14:21:33
81963      9284296190      2/2/2012         10:51:45
81964      9284297584      5/19/2012        15:52:19
81965      9284297835      5/11/2012        18:36:11
81966      9284298582      9/12/2011        14:28:41
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81967      9284299902      10/10/2012       12:49:24
81968      9284426350      2/21/2012        17:51:07
81969      9284442393      4/20/2012        14:09:02
81970      9284442757      2/14/2012        13:27:57
81971      9284446552      4/18/2012        18:00:43
81972      9284462922      4/9/2012         13:51:04
81973      9284467884      1/20/2012        19:44:26
81974      9284468018      1/27/2012        18:06:26
81975      9284469594      6/28/2012        14:22:41
81976      9284511604      3/6/2012         20:30:57
81977      9284511604      3/13/2012        18:33:27
81978      9284512229      3/12/2012        19:31:13
81979      9284512338      10/4/2011        13:40:33
81980      9284515798      7/12/2012        20:01:39
81981      9284516922      11/12/2011       9:41:25
81982      9284519669      4/5/2012         10:19:12
81983      9284580719      3/20/2012        20:04:58
81984      9284586973      2/7/2012         20:26:10
81985      9284600117      1/3/2012         16:57:48
81986      9284603669      6/15/2012        15:45:46
81987      9284603717      10/1/2011        10:54:48
81988      9284603717      10/5/2011        14:47:58
81989      9284862315      4/12/2012        18:26:20
81990      9284867729      7/6/2012         14:44:45
81991      9284880367      10/25/2012       19:41:19
81992      9284882823      10/9/2012        11:46:13
81993      9284990855      11/10/2011       14:42:01
81994      9284991916      9/26/2011        13:21:54
81995      9284995681      4/26/2011        20:23:36
81996      9284995831      2/15/2012        11:19:28
81997      9284997715      11/11/2011       13:22:29
81998      9285037818      11/4/2011        7:25:35
81999      9285300425      10/4/2011        13:59:33
82000      9285300905      10/3/2012        10:20:24
82001      9285300975      12/7/2011        15:20:31
82002      9285307884      9/8/2011         19:04:37
82003      9285334127      3/15/2012        19:19:07
82004      9285335625      3/28/2012        12:36:21
82005      9285335687      10/16/2012       20:27:40
82006      9285420502      4/5/2012         14:01:16
82007      9285423180      6/25/2012        13:57:30
82008      9285425356      7/20/2011        15:05:07
82009      9285428018      3/8/2012         20:29:30
82010      9285428240      12/1/2011        8:12:28
82011      9285428861      11/2/2011        14:30:43
82012      9285501990      2/25/2012        11:10:33
82013      9285501998      11/28/2011       12:23:16
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82014      9285502420      4/4/2011         14:17:52
82015      9285510174      5/16/2012        11:55:43
82016      9285510227      8/10/2011        17:59:20
82017      9285513393      4/5/2012         14:27:48
82018      9285804611      8/21/2012        21:50:07
82019      9285806108      7/7/2012         10:53:53
82020      9285806108      7/21/2012        10:15:25
82021      9285809697      10/31/2011       10:01:23
82022      9285811255      9/30/2011        10:06:55
82023      9285811367      7/5/2012         10:44:18
82024      9285811387      6/27/2012        12:28:50
82025      9285811567      10/11/2011       17:38:11
82026      9285817861      10/5/2011        14:48:59
82027      9285870265      3/10/2011        18:01:05
82028      9285941988      9/23/2011        11:48:30
82029      9285941988      10/22/2011       13:18:19
82030      9285944015      9/22/2011        16:15:29
82031      9285945174      10/27/2011       16:56:48
82032      9285945201      3/2/2012         9:26:53
82033      9285945235      5/1/2012         18:30:43
82034      9285945870      9/21/2011        12:01:51
82035      9285947881      4/12/2012        12:54:37
82036      9285949012      3/9/2012         21:14:29
82037      9286001617      12/5/2011        9:48:41
82038      9286001720      10/25/2011       15:43:54
82039      9286002035      12/18/2011       16:33:33
82040      9286003790      6/23/2012        16:29:30
82041      9286063011      9/8/2011         19:54:09
82042      9286064180      1/25/2012        20:32:11
82043      9286065124      8/14/2012        11:52:49
82044      9286067009      6/2/2011         11:29:36
82045      9286073055      9/10/2011        9:17:38
82046      9286073735      3/13/2012        18:52:36
82047      9286138163      7/2/2012         15:26:05
82048      9286148474      7/30/2012        13:20:12
82049      9286149205      7/11/2012        15:53:30
82050      9286149474      6/8/2011         19:01:45
82051      9286272887      9/16/2011        15:07:04
82052      9286322506      8/23/2012        21:05:36
82053      9286364831      12/17/2011       12:13:51
82054      9286402354      11/17/2011       16:51:11
82055      9286422818      3/6/2012         15:51:51
82056      9286422819      12/7/2011        13:45:37
82057      9286424692      3/19/2012        11:48:07
82058      9286424693      5/6/2012         18:36:08
82059      9286516218      9/23/2011        11:20:34
82060      9286518375      9/24/2012        18:56:28
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82061      9286750156      7/19/2012        17:39:58
82062      9286750610      11/26/2011       13:38:51
82063      9286750842      9/29/2011        15:25:06
82064      9286751265      10/6/2011        17:55:11
82065      9286757897      9/20/2012        14:43:09
82066      9286758391      2/13/2012        18:32:01
82067      9286790060      5/9/2012         21:40:53
82068      9286992197      9/8/2011         19:34:59
82069      9286992387      12/15/2011       8:31:45
82070      9286995408      10/6/2011        17:30:54
82071      9286996614      6/16/2012        15:33:32
82072      9286998015      11/1/2011        11:27:40
82073      9287103040      1/19/2012        10:15:53
82074      9287106150      1/11/2012        11:00:19
82075      9287106654      12/6/2011        14:42:12
82076      9287131672      1/19/2012        13:53:44
82077      9287152020      10/7/2011        10:27:37
82078      9287152750      3/15/2011        12:07:38
82079      9287276418      5/9/2012         21:04:38
82080      9287505245      3/17/2012        11:52:28
82081      9287506182      10/29/2011       10:28:26
82082      9287508010      3/8/2012         20:40:20
82083      9287510093      11/14/2011       16:45:22
82084      9287850060      5/7/2012         21:35:57
82085      9287850388      12/5/2011        10:22:17
82086      9287928030      12/9/2011        13:55:30
82087      9287928030      12/20/2011       17:00:10
82088      9287970174      8/13/2011        12:14:32
82089      9287970575      1/6/2012         15:33:56
82090      9287971599      12/6/2013        21:19:35
82091      9287972724      5/31/2012        15:01:47
82092      9287972933      9/13/2011        14:16:08
82093      9287974191      9/29/2011        15:24:14
82094      9287974809      10/7/2012        13:12:09
82095      9287974843      3/15/2012        14:15:10
82096      9287977120      6/10/2012        14:37:51
82097      9287979545      12/26/2011       20:30:27
82098      9288121265      6/29/2011        17:43:33
82099      9288122516      7/9/2012         12:08:08
82100      9288143641      3/6/2012         20:26:17
82101      9288145324      11/8/2011        14:03:44
82102      9288148773      10/2/2012        12:58:53
82103      9288149179      1/10/2012        12:45:59
82104      9288213000      3/3/2012         9:04:44
82105      9288303287      4/10/2012        16:05:02
82106      9288309067      12/29/2011       14:21:24
82107      9288469703      11/15/2011       16:36:56
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82108      9288480949      10/17/2012       18:38:08
82109      9288480959      1/9/2012         9:46:12
82110      9288482902      9/13/2011        18:08:42
82111      9288487608      12/5/2011        9:49:31
82112      9288489532      8/16/2012        14:29:19
82113      9288489973      2/17/2012        9:19:27
82114      9288533148      10/31/2011       10:02:19
82115      9288534583      1/9/2012         18:18:01
82116      9288539332      9/29/2011        15:56:27
82117      9288539332      11/2/2011        14:29:32
82118      9288539880      10/21/2011       13:36:54
82119      9288636180      9/28/2011        10:37:54
82120      9288636180      10/12/2011       11:36:59
82121      9288647766      7/17/2012        12:30:17
82122      9288648218      6/14/2012        20:47:55
82123      9288909399      3/13/2012        14:06:18
82124      9288974770      10/11/2012       18:50:39
82125      9288976059      6/16/2012        15:18:07
82126      9288990864      8/22/2012        21:43:56
82127      9288994618      3/24/2012        10:34:28
82128      9288997002      4/7/2012         12:18:58
82129      9288998553      7/16/2012        19:40:19
82130      9288999948      8/17/2012        21:21:16
82131      9289163780      2/28/2012        16:21:05
82132      9289196149      8/15/2012        12:29:05
82133      9289208736      10/19/2012       19:06:01
82134      9289250304      5/22/2012        18:44:24
82135      9289253224      5/29/2012        17:16:06
82136      9289253259      3/13/2012        18:33:04
82137      9289255607      1/24/2012        17:08:23
82138      9289255607      5/25/2012        17:03:47
82139      9289257920      10/28/2011       13:43:52
82140      9289415136      4/19/2012        20:12:23
82141      9289415212      2/15/2012        14:04:04
82142      9289511087      11/11/2011       14:34:44
82143      9289512397      1/8/2012         15:27:07
82144      9289516140      5/26/2012        15:16:02
82145      9289610125      9/19/2011        19:18:34
82146      9289650190      8/30/2012        17:32:21
82147      9289651821      9/30/2011        10:24:06
82148      9289653727      10/20/2011       15:47:47
82149      9289654353      9/19/2011        14:52:58
82150      9289654422      3/26/2012        18:47:25
82151      9289654992      9/14/2011        12:38:18
82152      9289655607      12/16/2011       16:37:04
82153      9289656444      12/12/2011       12:30:13
82154      9289658799      3/26/2011        12:36:31
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82155      9289659102      5/28/2012        10:44:18
82156      9289702107      10/12/2011       11:36:10
82157      9289702344      5/30/2012        12:57:09
82158      9289783980      7/9/2012         19:15:36
82159      9312001537      1/6/2012         12:58:34
82160      9312003063      7/30/2012        18:37:56
82161      9312017135      5/22/2012        16:19:39
82162      9312050082      10/4/2011        13:45:32
82163      9312058286      5/11/2012        10:39:33
82164      9312069733      4/15/2012        17:17:47
82165      9312096432      11/19/2011       9:07:39
82166      9312097179      5/21/2012        7:04:41
82167      9312097179      5/21/2012        7:26:09
82168      9312097619      9/22/2012        9:16:20
82169      9312101475      3/13/2012        12:49:06
82170      9312107629      10/8/2011        11:51:31
82171      9312108285      5/22/2012        18:29:32
82172      9312121189      11/17/2011       16:47:15
82173      9312122606      7/2/2012         17:06:31
82174      9312124101      4/5/2012         14:35:29
82175      9312154141      11/8/2011        14:01:42
82176      9312170492      4/11/2012        19:38:12
82177      9312174548      10/16/2012       20:27:29
82178      9312174655      11/16/2011       8:33:57
82179      9312178533      10/19/2011       12:01:31
82180      9312178533      11/21/2011       10:51:22
82181      9312179748      8/16/2011        18:05:36
82182      9312201197      3/8/2012         20:31:54
82183      9312207884      9/8/2012         11:10:54
82184      9312208339      2/3/2012         14:27:31
82185      9312208339      2/11/2012        15:49:30
82186      9312225017      11/9/2011        8:29:16
82187      9312227267      9/8/2011         18:59:37
82188      9312238082      9/14/2011        11:55:58
82189      9312240187      6/12/2012        17:14:13
82190      9312242694      6/22/2012        20:55:43
82191      9312245671      6/7/2011         18:05:11
82192      9312245671      10/8/2011        11:39:46
82193      9312249878      10/4/2011        13:18:34
82194      9312370726      7/3/2012         13:24:26
82195      9312372721      9/6/2012         12:24:24
82196      9312372737      11/7/2011        9:34:06
82197      9312372737      11/11/2011       13:47:43
82198      9312375504      10/5/2011        14:15:05
82199      9312390243      10/26/2011       13:14:47
82200      9312392756      4/1/2011         11:02:58
82201      9312396764      9/19/2011        19:32:25
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82202      9312397906      10/15/2012       9:53:58
82203      9312399833      12/13/2011       18:25:20
82204      9312423402      5/21/2012        8:02:19
82205      9312429141      5/21/2012        8:04:39
82206      9312444301      12/15/2011       8:24:54
82207      9312465219      10/5/2011        14:15:28
82208      9312470563      3/8/2012         9:35:15
82209      9312473812      12/29/2011       19:04:51
82210      9312475592      2/14/2012        16:38:11
82211      9312478011      10/3/2011        8:08:44
82212      9312491653      9/5/2012         15:25:38
82213      9312525322      5/9/2012         8:39:01
82214      9312567052      9/21/2011        11:53:34
82215      9312590172      9/26/2012        8:07:56
82216      9312596388      2/25/2012        10:37:19
82217      9312603637      11/11/2011       19:59:17
82218      9312607879      9/8/2011         19:50:57
82219      9312612380      11/16/2011       10:37:27
82220      9312612380      11/29/2011       15:10:45
82221      9312612380      1/16/2012        8:25:31
82222      9312619003      8/21/2012        13:52:11
82223      9312656729      5/21/2012        8:06:21
82224      9312657079      12/6/2011        13:31:44
82225      9312675319      10/5/2012        18:40:33
82226      9312678269      10/6/2011        16:40:47
82227      9312679540      9/22/2011        16:01:38
82228      9312731476      11/26/2011       13:17:46
82229      9312732057      5/2/2011         18:02:41
82230      9312734276      3/2/2012         9:36:32
82231      9312738287      8/31/2012        16:39:23
82232      9312781600      2/3/2012         8:32:40
82233      9312781600      2/9/2012         20:31:04
82234      9312781693      12/12/2011       16:22:03
82235      9312790664      2/16/2012        8:29:32
82236      9312792076      9/19/2011        19:17:44
82237      9312792871      5/7/2012         17:56:14
82238      9312792871      5/13/2012        14:28:19
82239      9312841959      5/11/2012        18:27:05
82240      9312841959      10/10/2012       19:07:29
82241      9312847467      3/17/2012        8:31:53
82242      9312849267      10/20/2011       16:24:20
82243      9312861337      6/23/2012        16:14:11
82244      9312862533      10/10/2011       11:56:04
82245      9312923226      9/5/2012         15:20:38
82246      9313020577      5/9/2012         16:12:02
82247      9313022782      1/25/2012        20:25:13
82248      9313024030      10/12/2012       16:37:56
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82249      9313067624      4/9/2012         13:42:09
82250      9313068935      12/21/2011       10:16:35
82251      9313069428      2/11/2012        15:13:45
82252      9313074282      4/16/2011        15:05:43
82253      9313076434      3/4/2012         12:35:39
82254      9313080021      6/6/2011         17:19:28
82255      9313081195      3/15/2012        18:58:48
82256      9313082381      9/16/2011        14:43:43
82257      9313090261      9/9/2011         18:24:35
82258      9313096582      9/26/2011        9:30:00
82259      9313097395      10/5/2011        14:42:43
82260      9313097491      10/4/2011        13:23:27
82261      9313098768      12/28/2011       17:53:09
82262      9313099138      6/5/2012         17:54:44
82263      9313120019      10/31/2013       9:43:29
82264      9313140349      3/27/2012        11:02:28
82265      9313140909      12/23/2011       13:14:19
82266      9313161222      12/21/2011       9:56:16
82267      9313195600      9/2/2011         11:31:52
82268      9313197596      11/12/2011       10:38:45
82269      9313199010      4/29/2011        20:02:52
82270      9313203404      12/9/2011        16:08:52
82271      9313203668      12/16/2011       16:18:33
82272      9313321968      10/1/2011        9:58:50
82273      9313323171      1/25/2012        9:20:10
82274      9313323171      2/16/2012        8:32:54
82275      9313323245      10/7/2011        8:09:53
82276      9313344808      3/13/2012        7:06:25
82277      9313345217      6/8/2012         8:06:35
82278      9313350734      2/25/2012        11:06:22
82279      9313372294      8/6/2012         15:19:41
82280      9313372564      1/8/2012         13:17:07
82281      9313372564      5/8/2012         9:42:43
82282      9313372564      5/21/2012        8:18:58
82283      9313378821      10/6/2011        17:47:32
82284      9313379554      10/12/2011       12:19:13
82285      9313381030      4/19/2012        20:11:57
82286      9313385664      11/9/2011        8:55:18
82287      9313780272      10/23/2012       16:08:01
82288      9313780665      10/7/2012        13:06:42
82289      9313784616      10/10/2012       19:14:39
82290      9313784750      9/17/2011        10:17:41
82291      9313784904      10/10/2012       12:48:39
82292      9313789182      9/27/2011        18:39:09
82293      9313789182      10/13/2011       8:33:19
82294      9313789723      8/25/2012        11:17:46
82295      9313789723      9/15/2012        8:10:19
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82296      9313884844      5/9/2012         8:42:49
82297      9313971379      7/26/2011        9:55:46
82298      9313971559      9/29/2012        10:03:47
82299      9313971732      10/4/2011        13:47:56
82300      9313973156      10/15/2011       10:45:29
82301      9313978125      10/8/2011        10:05:49
82302      9314003493      10/11/2012       18:40:30
82303      9314092058      9/8/2011         18:56:28
82304      9314092547      7/27/2011        17:29:21
82305      9314096690      9/10/2011        9:11:37
82306      9314340473      1/23/2012        7:15:53
82307      9314340733      7/23/2011        13:02:26
82308      9314340733      9/13/2011        18:05:10
82309      9314364317      3/2/2012         9:16:41
82310      9314365234      12/21/2011       19:51:28
82311      9314449371      10/23/2012       10:59:02
82312      9314449465      10/22/2011       12:18:21
82313      9314460543      4/29/2012        17:20:03
82314      9314460867      4/29/2012        17:18:21
82315      9314462357      5/26/2012        14:38:52
82316      9314462436      6/19/2012        8:34:40
82317      9314464930      12/27/2013       20:43:58
82318      9314466396      2/29/2012        17:26:08
82319      9314466885      3/22/2012        14:00:29
82320      9314490661      5/23/2012        14:59:33
82321      9314724435      1/9/2012         8:22:23
82322      9314729207      8/9/2012         14:11:28
82323      9314770344      12/13/2011       18:34:00
82324      9314775114      3/23/2012        19:50:06
82325      9314780848      4/16/2012        15:50:44
82326      9314785056      12/17/2011       11:31:49
82327      9314785311      2/28/2012        16:05:18
82328      9314785311      3/12/2012        19:11:25
82329      9314785420      8/29/2012        20:19:02
82330      9314785420      10/20/2012       16:23:37
82331      9314785857      10/8/2011        11:29:43
82332      9314947329      5/18/2012        12:11:13
82333      9315050778      1/25/2012        20:38:36
82334      9315106940      9/30/2011        10:05:00
82335      9315108945      2/2/2012         11:31:02
82336      9315290829      8/30/2012        9:48:12
82337      9315293718      1/27/2012        20:07:46
82338      9315326012      10/11/2012       12:15:02
82339      9315340006      10/12/2011       8:38:34
82340      9315365640      11/28/2011       12:20:56
82341      9315388469      12/29/2011       11:06:01
82342      9315427019      1/5/2012         14:07:57
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82343      9315440370      10/11/2011       16:17:28
82344      9315440400      3/2/2012         19:02:53
82345      9315474146      10/18/2011       12:59:17
82346      9315619119      7/2/2012         15:17:37
82347      9315727304      3/14/2012        19:33:21
82348      9315751391      9/8/2011         19:31:40
82349      9315801822      5/27/2012        13:50:59
82350      9315805507      5/1/2012         8:40:10
82351      9315811933      12/29/2011       19:02:27
82352      9315812441      7/29/2011        20:16:42
82353      9315815951      1/9/2012         18:43:24
82354      9316070680      12/1/2011        15:04:32
82355      9316103120      1/25/2012        20:29:24
82356      9316224478      10/4/2011        13:45:36
82357      9316224552      2/13/2012        18:47:18
82358      9316231160      12/16/2011       16:22:37
82359      9316238075      4/11/2012        19:32:03
82360      9316243118      11/25/2011       18:30:47
82361      9316246109      3/15/2012        19:06:03
82362      9316247739      6/20/2012        9:05:58
82363      9316249004      8/9/2012         14:12:55
82364      9316252251      12/20/2011       15:05:31
82365      9316252254      10/18/2011       13:06:00
82366      9316252254      12/7/2011        13:39:55
82367      9316252256      11/21/2011       8:37:25
82368      9316252306      12/9/2011        14:13:52
82369      9316262761      9/8/2011         19:49:39
82370      9316266402      7/19/2012        17:57:03
82371      9316273026      3/25/2012        12:03:24
82372      9316273419      9/29/2011        15:48:11
82373      9316279244      1/27/2012        11:58:48
82374      9316281453      9/8/2011         19:34:15
82375      9316283600      4/19/2012        20:28:21
82376      9316288134      5/13/2011        11:38:23
82377      9316288308      5/6/2012         18:06:03
82378      9316288657      3/19/2012        19:21:17
82379      9316289857      12/18/2011       16:34:46
82380      9316291575      8/8/2012         8:17:03
82381      9316295959      7/26/2011        10:39:37
82382      9316297134      9/28/2011        10:26:09
82383      9316297134      11/7/2011        9:19:53
82384      9316365199      9/20/2011        18:32:40
82385      9316365199      10/29/2011       10:49:47
82386      9316370769      9/19/2012        8:02:34
82387      9316376868      3/24/2012        10:33:21
82388      9316376868      3/28/2012        18:22:54
82389      9316377393      9/17/2011        9:44:52
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82390      9316382738      9/16/2011        13:33:51
82391      9316384410      1/17/2012        16:49:20
82392      9316386474      5/4/2012         20:53:50
82393      9316390068      3/30/2012        16:18:11
82394      9316399568      5/16/2012        8:07:53
82395      9316440410      10/13/2011       8:40:41
82396      9316442445      5/21/2012        8:57:58
82397      9316444241      1/18/2012        16:51:20
82398      9316445188      8/6/2011         9:42:48
82399      9316447357      5/11/2012        10:42:30
82400      9316447357      5/21/2012        8:19:09
82401      9316750384      3/16/2012        15:52:10
82402      9316751012      5/24/2012        20:07:28
82403      9316752477      9/1/2012         9:27:14
82404      9316752717      2/17/2012        9:02:40
82405      9316910825      10/23/2012       10:45:01
82406      9316914494      7/25/2012        20:40:54
82407      9316988109      12/9/2011        16:07:47
82408      9316989996      8/29/2011        8:14:17
82409      9317031684      10/14/2011       13:29:32
82410      9317036682      12/7/2011        13:19:57
82411      9317036808      11/18/2011       13:34:16
82412      9317039426      11/18/2011       13:25:53
82413      9317040213      9/3/2011         10:55:20
82414      9317041472      4/9/2012         18:14:17
82415      9317041966      1/25/2012        20:28:24
82416      9317044819      9/22/2012        9:12:11
82417      9317047982      10/7/2011        8:11:24
82418      9317220165      10/5/2011        14:11:41
82419      9317224536      7/28/2012        8:48:00
82420      9317282129      1/26/2012        10:08:08
82421      9317435732      8/16/2012        19:47:47
82422      9317870305      9/24/2011        9:47:49
82423      9317873122      4/11/2012        13:18:33
82424      9317873231      11/11/2011       20:03:47
82425      9317876913      9/19/2011        19:31:23
82426      9317878019      11/7/2011        9:19:11
82427      9317970064      4/7/2012         9:32:31
82428      9317970144      10/22/2012       18:04:52
82429      9317973347      8/30/2012        9:48:35
82430      9317975562      11/16/2011       8:01:36
82431      9317979447      9/10/2011        9:14:36
82432      9318010830      10/14/2011       12:54:22
82433      9318011182      12/11/2011       12:22:53
82434      9318013369      11/10/2011       8:09:36
82435      9318014217      5/11/2012        18:13:33
82436      9318016528      5/13/2011        11:28:46
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82437      9318021261      1/31/2012        10:28:21
82438      9318082198      1/13/2012        17:16:44
82439      9318082457      7/23/2011        12:49:12
82440      9318084811      3/29/2012        16:42:55
82441      9318086584      10/8/2011        11:46:10
82442      9318090025      1/13/2012        17:15:56
82443      9318547098      9/27/2011        18:40:06
82444      9318814328      7/29/2011        20:22:24
82445      9319330581      9/11/2012        15:12:48
82446      9319334810      6/22/2012        20:56:59
82447      9319521900      2/11/2012        10:47:43
82448      9319521985      8/2/2012         18:56:04
82449      9319529302      4/4/2012         8:15:16
82450      9319790307      3/6/2012         16:05:24
82451      9319800037      9/12/2011        13:22:52
82452      9319801554      2/17/2012        18:33:25
82453      9319804357      12/31/2011       12:15:51
82454      9319806171      10/13/2011       8:36:18
82455      9319808406      10/8/2011        10:01:19
82456      9319822901      2/14/2012        16:41:13
82457      9319822901      4/20/2012        20:48:50
82458      9319822901      5/26/2012        14:36:36
82459      9319823547      11/11/2011       20:25:50
82460      9319932361      1/13/2012        17:26:59
82461      9319934430      12/22/2011       9:43:37
82462      9319935410      12/26/2011       19:59:32
82463      9319935410      5/17/2012        11:51:10
82464      9319935889      10/14/2011       13:30:17
82465      9319936266      9/26/2011        9:39:55
82466      9319941125      9/28/2012        14:30:59
82467      9319949880      10/12/2011       8:04:18
82468      9319963579      8/20/2012        18:43:46
82469      9319969440      9/20/2011        16:45:10
82470      9362006011      10/25/2011       15:28:52
82471      9362010164      7/11/2011        8:19:28
82472      9362011161      10/1/2011        10:42:45
82473      9362011161      1/16/2012        17:30:56
82474      9362015324      5/6/2012         18:18:27
82475      9362016324      5/10/2012        15:03:37
82476      9362016324      5/21/2012        8:19:13
82477      9362016457      12/7/2011        13:16:24
82478      9362018245      8/31/2011        10:49:06
82479      9362018448      9/18/2012        14:19:28
82480      9362019051      1/17/2012        9:38:41
82481      9362031183      11/8/2011        14:01:11
82482      9362031183      1/4/2012         11:26:05
82483      9362031644      1/18/2012        9:55:20
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82484      9362034260      4/17/2012        9:27:11
82485      9362035404      2/21/2012        17:55:12
82486      9362036078      9/26/2012        14:41:37
82487      9362036078      10/9/2012        20:01:25
82488      9362036633      1/4/2014         13:48:51
82489      9362040544      1/7/2012         8:27:32
82490      9362042801      9/29/2011        15:15:55
82491      9362080353      1/22/2014        14:13:53
82492      9362082195      3/21/2012        13:51:29
82493      9362082965      9/28/2011        10:28:58
82494      9362087404      6/27/2012        12:17:51
82495      9362120133      5/25/2011        17:47:05
82496      9362122269      7/10/2012        12:03:58
82497      9362151079      9/26/2011        9:47:35
82498      9362151286      9/20/2011        18:47:03
82499      9362152959      9/8/2011         18:56:37
82500      9362211240      3/16/2012        11:11:51
82501      9362223859      6/7/2011         18:03:55
82502      9362230804      6/9/2012         14:44:24
82503      9362251009      8/20/2012        18:43:33
82504      9362251205      4/23/2012        20:33:07
82505      9362290039      10/27/2011       16:08:06
82506      9362301029      11/15/2011       20:07:59
82507      9362309128      9/7/2012         15:38:48
82508      9362320650      12/21/2011       19:05:39
82509      9362325696      9/19/2011        19:32:37
82510      9362329976      11/5/2011        9:59:21
82511      9362341000      3/17/2012        8:31:16
82512      9362392184      2/12/2012        15:44:09
82513      9362393113      9/20/2012        20:58:05
82514      9362396060      6/5/2012         17:49:18
82515      9362403616      5/30/2012        12:55:23
82516      9362407200      10/8/2011        10:03:01
82517      9362450718      11/16/2011       10:21:15
82518      9362453371      4/9/2012         18:15:59
82519      9362532544      10/11/2012       11:53:25
82520      9362647249      2/7/2012         20:19:59
82521      9363281579      4/20/2011        20:01:51
82522      9363295176      6/18/2012        15:26:04
82523      9363324265      12/20/2011       11:48:37
82524      9363324799      12/26/2011       9:29:24
82525      9363325747      9/9/2011         18:16:45
82526      9363327601      5/21/2011        10:58:08
82527      9363331200      1/4/2012         11:04:26
82528      9363331546      11/25/2011       17:46:26
82529      9363332082      7/23/2011        14:01:10
82530      9363337315      2/13/2012        18:48:00
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82531      9363337466      3/7/2012         18:33:49
82532      9363338766      4/18/2012        17:50:11
82533      9363342409      4/15/2012        17:11:57
82534      9363344238      3/28/2011        15:35:57
82535      9363344643      2/9/2012         9:33:12
82536      9363345903      10/10/2011       11:59:57
82537      9363462680      4/12/2012        12:32:46
82538      9363462680      5/5/2012         8:10:35
82539      9363462983      8/1/2011         19:42:48
82540      9363467070      2/20/2012        8:55:14
82541      9363467418      10/27/2011       16:05:29
82542      9363467875      10/8/2012        8:17:22
82543      9363480085      12/2/2011        8:05:07
82544      9363480944      9/11/2012        15:15:27
82545      9363488786      9/17/2011        10:23:02
82546      9363488786      9/27/2011        18:15:22
82547      9363555152      10/19/2012       19:05:27
82548      9363915455      12/6/2011        13:26:03
82549      9363919354      9/21/2012        15:55:46
82550      9363919869      10/22/2011       13:16:41
82551      9363989976      9/28/2012        16:39:06
82552      9364022193      5/20/2011        18:01:39
82553      9364027157      10/10/2011       12:49:43
82554      9364027656      12/20/2011       12:34:54
82555      9364044260      11/29/2011       15:39:01
82556      9364047936      9/23/2011        11:16:16
82557      9364047936      1/19/2012        18:40:52
82558      9364048414      3/12/2012        11:08:49
82559      9364049391      3/19/2012        19:21:17
82560      9364141623      3/9/2012         15:44:43
82561      9364143248      6/15/2012        8:58:37
82562      9364144057      5/3/2012         8:07:50
82563      9364145859      9/21/2011        11:53:53
82564      9364193832      9/15/2011        9:08:31
82565      9364330281      10/12/2012       16:49:07
82566      9364336934      4/5/2012         16:10:03
82567      9364337854      1/12/2012        14:32:35
82568      9364339305      5/30/2012        12:52:48
82569      9364355044      10/5/2012        12:18:07
82570      9364362442      8/16/2012        19:52:51
82571      9364421734      9/20/2011        18:31:51
82572      9364421772      3/27/2012        15:05:07
82573      9364430030      3/31/2012        8:18:21
82574      9364436565      12/31/2011       12:06:48
82575      9364448501      9/16/2011        14:44:24
82576      9364449088      11/9/2011        8:01:38
82577      9364457761      8/23/2012        11:44:21
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82578      9364458686      11/10/2011       8:19:12
82579      9364460303      9/29/2011        15:48:33
82580      9364460303      10/6/2011        16:55:38
82581      9364460303      11/25/2011       17:44:01
82582      9364466499      10/31/2011       8:44:01
82583      9364468972      9/28/2012        16:47:39
82584      9364469194      8/8/2011         12:51:24
82585      9364470563      7/13/2011        11:53:25
82586      9364620942      10/1/2011        9:54:28
82587      9364657690      12/5/2011        8:37:26
82588      9364880332      8/3/2012         16:24:46
82589      9364880860      1/14/2012        13:22:56
82590      9364888142      9/21/2012        18:41:43
82591      9364945168      6/20/2012        9:03:48
82592      9364991559      1/17/2014        19:51:59
82593      9364991775      3/12/2012        19:09:02
82594      9364991775      3/16/2012        15:52:18
82595      9364992076      9/19/2011        19:31:54
82596      9364993268      10/15/2011       10:33:20
82597      9364994438      12/5/2011        9:53:19
82598      9364995526      4/18/2012        18:03:37
82599      9364995767      11/8/2011        14:33:01
82600      9364996641      11/4/2011        8:56:33
82601      9364997273      9/25/2012        15:14:59
82602      9364997285      6/15/2012        8:57:47
82603      9364997324      5/13/2012        17:34:46
82604      9364997324      5/21/2012        8:04:33
82605      9364997506      6/12/2012        8:01:14
82606      9364999091      10/29/2011       10:47:41
82607      9364999464      8/4/2012         8:08:25
82608      9364999530      10/4/2011        13:54:45
82609      9365200244      5/1/2012         18:12:12
82610      9365201808      5/19/2012        9:43:36
82611      9365204322      4/4/2012         18:53:25
82612      9365206448      4/12/2012        18:22:28
82613      9365208300      2/21/2012        17:55:57
82614      9365209063      11/16/2011       10:25:56
82615      9365242354      10/22/2011       13:16:09
82616      9365250169      5/25/2012        8:08:58
82617      9365250169      6/14/2012        20:54:33
82618      9365374078      2/8/2012         12:58:06
82619      9365374078      2/16/2012        8:31:16
82620      9365455257      4/1/2012         16:06:57
82621      9365593757      4/25/2012        9:43:40
82622      9365725373      5/1/2012         18:13:34
82623      9365727963      11/7/2011        8:06:44
82624      9365770008      1/7/2012         9:42:09
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82625      9365770067      6/11/2012        8:17:24
82626      9365771134      11/22/2011       19:39:27
82627      9365774361      5/29/2012        10:49:38
82628      9365776138      1/20/2012        11:49:13
82629      9365777382      4/9/2012         17:49:48
82630      9365815259      2/2/2012         16:42:20
82631      9365819872      11/15/2011       20:06:27
82632      9365852720      6/16/2012        8:52:14
82633      9365852720      9/21/2012        18:40:43
82634      9365852775      5/8/2012         12:32:55
82635      9365889227      10/20/2011       15:44:09
82636      9366151790      3/8/2012         20:26:26
82637      9366155524      10/1/2011        10:46:51
82638      9366155572      9/17/2011        9:41:47
82639      9366351198      8/25/2011        18:14:33
82640      9366351198      9/13/2011        17:59:49
82641      9366351765      3/29/2012        11:18:45
82642      9366353793      9/20/2011        16:48:17
82643      9366353793      2/13/2012        18:44:01
82644      9366357766      2/17/2012        9:16:28
82645      9366417489      8/3/2012         12:37:04
82646      9366417619      12/6/2011        14:40:08
82647      9366450315      3/29/2012        16:44:07
82648      9366450315      5/23/2012        14:46:11
82649      9366450315      6/30/2012        15:56:04
82650      9366454228      10/15/2011       9:32:21
82651      9366454642      10/5/2012        18:17:25
82652      9366455373      10/19/2012       19:11:40
82653      9366458209      9/24/2012        19:12:24
82654      9366458462      10/6/2012        8:35:21
82655      9366477476      10/16/2012       16:35:55
82656      9366482139      10/6/2011        17:50:19
82657      9366486658      7/9/2012         8:58:15
82658      9366492021      1/16/2012        17:33:03
82659      9366520642      12/12/2011       16:37:52
82660      9366521340      9/9/2011         18:26:58
82661      9366522860      10/5/2011        14:11:50
82662      9366523545      5/11/2012        10:48:29
82663      9366526611      1/28/2012        8:21:25
82664      9366614648      2/14/2012        10:00:07
82665      9366616751      9/21/2012        16:09:51
82666      9366621891      1/14/2012        13:30:41
82667      9366627635      10/14/2011       12:52:06
82668      9366629546      12/8/2011        12:09:17
82669      9366719697      2/11/2012        15:44:43
82670      9366722309      11/14/2011       15:10:20
82671      9366723296      9/4/2012         16:09:52
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82672      9366723415      3/19/2012        17:35:21
82673      9366724219      2/13/2012        18:29:07
82674      9366762444      12/29/2011       11:07:38
82675      9366764101      12/20/2011       19:35:39
82676      9366764492      10/19/2011       12:19:02
82677      9366764492      11/28/2011       18:03:41
82678      9366764719      11/25/2011       18:28:58
82679      9366766699      7/28/2011        10:06:01
82680      9366893594      9/26/2011        9:48:20
82681      9366893594      10/4/2011        13:50:15
82682      9366893991      3/28/2012        18:22:54
82683      9366895449      10/8/2011        11:14:56
82684      9366895477      9/29/2011        15:20:30
82685      9366896519      2/13/2012        18:55:04
82686      9366897777      9/22/2011        15:25:13
82687      9366971004      3/29/2012        12:50:28
82688      9366972661      11/18/2011       12:29:43
82689      9366975215      10/20/2011       15:45:30
82690      9367146364      11/8/2011        13:58:57
82691      9367149394      11/26/2011       11:59:06
82692      9367180741      11/9/2011        8:36:10
82693      9367182790      5/18/2012        12:24:17
82694      9367184296      5/15/2012        8:41:00
82695      9367186321      8/15/2012        14:40:44
82696      9367187538      9/24/2011        9:21:31
82697      9367187939      9/22/2011        16:09:02
82698      9367270694      12/10/2011       13:46:29
82699      9367766452      10/10/2012       12:36:46
82700      9367767165      8/18/2012        9:01:00
82701      9367769109      12/7/2011        14:26:19
82702      9367770184      10/29/2011       10:48:29
82703      9368275394      5/21/2012        8:13:32
82704      9368280303      3/13/2012        12:44:17
82705      9368287002      8/24/2012        11:02:36
82706      9368288103      6/8/2012         12:37:12
82707      9368289142      7/13/2012        18:33:50
82708      9368289142      10/17/2012       13:54:51
82709      9368708662      8/8/2012         16:12:51
82710      9369331893      1/18/2012        16:51:16
82711      9369331938      4/3/2012         20:13:32
82712      9369332099      5/5/2012         8:27:41
82713      9369332618      4/20/2012        20:51:48
82714      9369333398      9/21/2011        19:46:08
82715      9369336053      2/3/2012         8:37:01
82716      9369336473      12/3/2011        10:19:39
82717      9369336731      10/26/2011       13:16:15
82718      9372045253      10/18/2012       16:48:12
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82719      9372051463      11/9/2011        7:54:09
82720      9372053684      11/1/2011        8:18:22
82721      9372053910      11/9/2011        7:43:59
82722      9372061546      11/28/2011       16:54:54
82723      9372076932      11/15/2011       15:05:29
82724      9372077530      1/8/2012         12:48:29
82725      9372079439      1/10/2012        18:04:42
82726      9372101528      1/3/2012         19:40:15
82727      9372128149      12/28/2011       17:53:27
82728      9372130564      3/13/2012        18:35:12
82729      9372130631      3/7/2012         9:59:20
82730      9372130967      3/18/2011        8:59:05
82731      9372131637      11/7/2011        7:24:35
82732      9372131637      11/19/2011       8:09:39
82733      9372140567      12/20/2011       12:05:29
82734      9372155598      2/7/2012         17:05:19
82735      9372168235      9/10/2011        8:51:54
82736      9372170997      10/24/2011       7:07:25
82737      9372172220      11/22/2011       19:29:19
82738      9372172535      1/27/2012        19:44:19
82739      9372175460      4/7/2012         9:08:49
82740      9372181063      4/4/2012         18:54:24
82741      9372183347      12/26/2011       9:14:14
82742      9372189123      4/4/2011         12:03:42
82743      9372194612      4/21/2012        8:08:04
82744      9372198768      3/20/2012        17:35:49
82745      9372321983      5/13/2012        14:27:43
82746      9372383288      7/20/2012        7:35:31
82747      9372384664      3/29/2012        16:40:39
82748      9372384950      10/20/2011       16:14:40
82749      9372389605      9/12/2011        13:47:26
82750      9372410376      5/17/2012        7:05:26
82751      9372413856      10/8/2011        10:54:04
82752      9372416194      3/1/2012         8:41:50
82753      9372416194      3/7/2012         18:37:10
82754      9372422366      3/6/2012         15:58:31
82755      9372423112      3/6/2012         15:56:49
82756      9372441571      9/15/2012        8:16:01
82757      9372445339      10/11/2011       17:09:19
82758      9372445693      3/15/2012        19:24:32
82759      9372448400      12/26/2011       8:57:34
82760      9372452320      4/4/2012         18:41:25
82761      9372453071      6/14/2012        15:51:08
82762      9372459153      3/15/2012        7:20:44
82763      9372483990      9/28/2011        11:09:04
82764      9372487668      5/24/2012        12:06:34
82765      9372488823      1/9/2012         7:24:47
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82766      9372488823      2/16/2012        7:18:24
82767      9372489455      9/28/2011        10:50:15
82768      9372606082      10/10/2012       12:35:08
82769      9372667416      3/23/2012        11:35:10
82770      9372668732      3/1/2012         8:48:26
82771      9372674057      4/6/2012         15:53:56
82772      9372674057      5/21/2012        7:21:26
82773      9372693502      12/21/2011       11:00:44
82774      9372694127      12/7/2011        15:04:08
82775      9372700612      4/28/2012        8:06:21
82776      9372702256      6/15/2012        16:44:25
82777      9372702715      5/13/2012        16:53:08
82778      9372702898      9/24/2011        9:10:59
82779      9372703893      11/21/2011       7:13:54
82780      9372704976      9/21/2011        11:40:06
82781      9372708574      5/5/2011         13:09:55
82782      9372714510      2/7/2012         17:01:54
82783      9372723116      10/3/2012        19:53:31
82784      9372794510      9/1/2012         9:16:09
82785      9372848629      3/13/2012        18:27:41
82786      9372865776      10/3/2012        9:24:01
82787      9372871223      9/14/2011        19:27:57
82788      9373015025      5/21/2012        7:37:08
82789      9373016941      7/7/2012         10:12:02
82790      9373017130      4/21/2012        16:32:33
82791      9373017319      3/19/2012        19:08:55
82792      9373018418      12/5/2011        9:22:19
82793      9373018617      10/5/2011        14:27:36
82794      9373018617      12/20/2011       11:46:13
82795      9373018909      5/17/2012        11:56:21
82796      9373019695      2/20/2012        7:14:56
82797      9373019695      3/6/2012         15:42:16
82798      9373020721      5/19/2012        16:03:38
82799      9373052106      3/3/2012         8:17:50
82800      9373052108      7/23/2012        15:19:06
82801      9373055633      3/29/2012        17:25:59
82802      9373057894      10/6/2011        16:08:29
82803      9373059583      3/13/2012        16:42:54
82804      9373076918      3/7/2012         18:41:23
82805      9373084036      10/3/2011        7:29:20
82806      9373086408      4/4/2012         18:44:25
82807      9373086408      4/15/2012        16:46:10
82808      9373294842      12/5/2011        9:07:45
82809      9373363074      9/9/2011         7:40:41
82810      9373366299      1/14/2012        13:25:01
82811      9373446692      5/19/2012        9:20:57
82812      9373447746      5/22/2012        11:26:45
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82813      9373447919      3/27/2012        8:02:03
82814      9373525112      9/13/2011        15:33:15
82815      9373568765      11/14/2011       14:14:35
82816      9373603950      12/29/2011       14:12:56
82817      9373604200      12/10/2011       11:59:13
82818      9373605281      5/3/2012         7:25:38
82819      9373609707      9/24/2011        9:13:39
82820      9373612213      10/8/2011        10:55:19
82821      9373614737      7/11/2012        9:34:54
82822      9373614889      11/12/2011       10:00:15
82823      9373616708      12/5/2011        8:32:01
82824      9373670642      4/9/2012         17:49:16
82825      9373671362      10/15/2011       10:23:10
82826      9373671362      11/14/2011       16:40:38
82827      9373676760      3/8/2012         9:31:53
82828      9373677036      9/24/2012        18:50:35
82829      9373677845      5/8/2012         9:06:56
82830      9373695125      3/14/2012        7:08:40
82831      9373710591      3/19/2012        7:12:32
82832      9373716701      1/31/2012        7:08:03
82833      9373717685      3/17/2012        8:21:25
82834      9373801083      4/22/2012        15:05:17
82835      9373892392      1/10/2012        12:27:22
82836      9373970273      10/5/2011        14:00:27
82837      9373971384      9/19/2011        7:27:22
82838      9373971777      4/6/2012         15:17:34
82839      9373973910      7/7/2012         10:17:15
82840      9373975663      4/18/2012        7:06:20
82841      9373976962      11/30/2011       15:17:38
82842      9373977096      8/27/2011        9:49:25
82843      9373977755      6/21/2011        13:52:39
82844      9373977973      9/29/2011        15:12:54
82845      9374032619      1/9/2012         18:04:56
82846      9374033141      12/10/2011       14:37:26
82847      9374033333      9/21/2011        11:21:52
82848      9374035654      7/15/2011        17:24:10
82849      9374036515      1/12/2012        14:14:10
82850      9374036719      9/16/2011        14:01:44
82851      9374036743      4/11/2012        19:40:51
82852      9374037118      6/21/2012        18:49:37
82853      9374055935      1/13/2012        12:23:05
82854      9374055935      7/13/2012        18:32:11
82855      9374058566      3/19/2012        19:39:26
82856      9374072459      9/21/2011        11:24:17
82857      9374075847      12/15/2011       7:36:54
82858      9374084094      4/25/2012        9:39:30
82859      9374084094      5/8/2012         7:06:44
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82860      9374089981      10/14/2011       13:14:06
82861      9374091383      10/31/2011       8:51:51
82862      9374091955      10/25/2012       12:24:42
82863      9374092142      11/21/2011       7:02:21
82864      9374094766      9/21/2012        18:40:14
82865      9374095093      10/17/2011       7:24:39
82866      9374167509      1/27/2012        17:54:55
82867      9374179199      1/7/2012         9:10:13
82868      9374182727      8/24/2012        7:28:52
82869      9374225390      11/30/2011       14:45:28
82870      9374231452      9/17/2011        9:28:40
82871      9374306960      5/4/2012         18:14:44
82872      9374412430      6/27/2012        17:55:07
82873      9374413460      10/5/2011        14:03:01
82874      9374419198      3/23/2012        19:43:49
82875      9374430979      12/7/2011        13:26:39
82876      9374500252      12/21/2011       10:04:10
82877      9374501298      12/11/2011       12:19:59
82878      9374503118      11/11/2011       13:39:38
82879      9374503400      8/1/2012         8:29:57
82880      9374503865      9/29/2011        15:36:01
82881      9374504659      6/11/2012        16:58:57
82882      9374504750      1/29/2012        16:33:20
82883      9374507091      3/30/2012        7:16:15
82884      9374507186      1/12/2012        14:11:22
82885      9374511086      1/12/2012        14:16:04
82886      9374511097      9/19/2011        7:15:21
82887      9374511116      10/22/2011       12:28:25
82888      9374512608      3/27/2012        15:38:01
82889      9374519535      10/10/2011       12:21:27
82890      9374604422      8/10/2012        7:30:12
82891      9374671757      1/9/2012         18:37:22
82892      9374705032      6/8/2012         7:21:41
82893      9374740827      9/19/2012        7:55:43
82894      9374741313      12/1/2011        8:11:08
82895      9374741547      10/8/2011        11:08:04
82896      9374741547      10/15/2011       9:45:10
82897      9374745668      2/28/2012        7:52:41
82898      9374751707      12/20/2011       19:20:55
82899      9374770267      1/13/2012        7:28:52
82900      9374770846      9/29/2011        15:30:20
82901      9374779616      2/11/2012        15:02:50
82902      9374788086      12/1/2011        10:36:02
82903      9374794084      5/14/2012        15:19:51
82904      9374882036      12/30/2011       8:04:14
82905      9374893069      12/3/2011        9:48:39
82906      9374896616      1/25/2012        9:28:41
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82907      9375025165      7/30/2011        8:14:55
82908      9375080376      10/6/2011        17:21:45
82909      9375081510      9/1/2012         9:20:46
82910      9375081699      10/23/2012       10:45:42
82911      9375100466      1/19/2012        7:52:46
82912      9375159187      12/5/2011        18:09:37
82913      9375159816      10/11/2011       17:05:23
82914      9375169085      9/27/2012        7:31:42
82915      9375201649      9/14/2012        7:08:45
82916      9375202686      12/16/2011       15:29:07
82917      9375203668      12/12/2011       16:19:04
82918      9375206369      11/4/2011        7:04:07
82919      9375207392      12/23/2011       13:47:06
82920      9375207592      3/10/2011        17:30:00
82921      9375207951      7/22/2011        13:27:47
82922      9375208339      3/25/2012        11:50:58
82923      9375208543      9/16/2011        12:59:57
82924      9375208913      9/13/2011        7:14:43
82925      9375209381      9/3/2012         14:39:21
82926      9375225313      11/5/2011        9:23:40
82927      9375225780      7/30/2011        8:46:03
82928      9375225977      9/28/2011        10:23:01
82929      9375246668      7/9/2012         18:56:56
82930      9375272646      11/22/2011       18:26:41
82931      9375278616      3/12/2012        19:03:08
82932      9375291422      12/29/2011       9:58:44
82933      9375366687      7/18/2012        7:13:40
82934      9375388084      3/16/2012        10:23:19
82935      9375451007      9/22/2011        15:55:09
82936      9375460260      11/19/2011       8:18:23
82937      9375461793      10/6/2012        8:42:20
82938      9375465201      10/22/2012       7:04:09
82939      9375465201      10/25/2012       19:42:30
82940      9375466383      3/26/2012        18:21:26
82941      9375521059      12/8/2011        19:43:58
82942      9375521184      10/10/2011       11:44:25
82943      9375540338      10/11/2012       7:51:34
82944      9375546677      11/8/2011        14:15:21
82945      9375588308      2/13/2012        18:55:18
82946      9375591057      5/31/2012        7:05:15
82947      9375591498      3/19/2012        17:38:56
82948      9375591519      3/12/2012        7:21:36
82949      9375593053      5/10/2012        15:01:28
82950      9375594104      8/30/2012        17:43:51
82951      9375594104      9/25/2012        14:50:00
82952      9375594276      5/3/2012         7:22:02
82953      9375595395      10/28/2011       14:09:37
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82954      9375596857      1/2/2012         7:17:41
82955      9375599155      11/30/2011       7:29:04
82956      9375599155      5/18/2012        16:05:37
82957      9375599322      10/13/2011       7:19:19
82958      9375599517      11/25/2011       17:34:54
82959      9375640923      10/8/2011        11:16:49
82960      9375640923      12/10/2011       14:20:19
82961      9375642316      5/30/2012        16:41:44
82962      9375644261      9/16/2011        13:18:39
82963      9375708238      5/14/2012        7:05:46
82964      9375708795      10/13/2011       7:15:32
82965      9375800220      6/16/2012        15:13:38
82966      9375800220      6/20/2012        16:49:15
82967      9375800857      8/30/2011        17:05:07
82968      9375801035      2/6/2012         7:28:34
82969      9375804677      10/7/2011        7:02:06
82970      9375805883      9/30/2011        9:55:42
82971      9375806230      2/28/2012        15:51:06
82972      9375806340      3/2/2012         7:17:17
82973      9375806340      7/16/2012        19:48:44
82974      9375807123      10/8/2011        9:24:53
82975      9376054289      6/19/2012        15:39:00
82976      9376054401      9/12/2011        13:54:11
82977      9376057852      8/16/2012        7:52:50
82978      9376074396      10/22/2012       7:15:46
82979      9376108857      10/11/2011       14:29:23
82980      9376133417      12/5/2011        8:56:15
82981      9376135422      1/3/2012         11:13:12
82982      9376157097      8/11/2012        9:35:10
82983      9376180139      6/28/2012        14:25:35
82984      9376180814      7/23/2012        13:04:53
82985      9376181708      9/20/2011        17:28:30
82986      9376189067      7/20/2012        7:35:41
82987      9376210050      1/13/2012        17:12:45
82988      9376240377      10/3/2012        19:51:34
82989      9376265170      5/15/2012        19:15:26
82990      9376268002      11/12/2011       9:56:21
82991      9376269883      10/26/2011       12:02:12
82992      9376300182      8/11/2011        9:25:39
82993      9376380943      11/17/2011       13:33:00
82994      9376383105      5/15/2012        19:09:03
82995      9376383514      5/9/2012         7:39:09
82996      9376384947      1/5/2012         11:58:47
82997      9376388639      12/7/2011        15:02:31
82998      9376400505      7/26/2012        11:50:44
82999      9376488186      7/15/2011        17:18:48
83000      9376541795      1/19/2012        18:26:34
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83001      9376574448      1/18/2012        16:35:24
83002      9376610167      12/13/2011       18:30:46
83003      9376681401      4/5/2012         14:34:35
83004      9376683795      1/12/2012        7:03:08
83005      9376686049      10/18/2012       7:03:24
83006      9376725905      4/5/2012         15:59:11
83007      9376728918      9/16/2011        14:09:53
83008      9376730097      7/30/2011        8:12:22
83009      9376732871      12/10/2011       12:45:41
83010      9376734478      4/10/2012        11:50:09
83011      9376741903      9/17/2011        9:26:46
83012      9376773925      12/8/2011        12:25:02
83013      9376811074      10/5/2011        14:08:56
83014      9376812103      10/24/2012       14:45:51
83015      9376812741      8/22/2012        11:16:19
83016      9376818014      10/10/2011       12:16:43
83017      9376898158      10/28/2011       14:11:39
83018      9376943384      7/23/2012        15:18:34
83019      9376943685      10/25/2012       19:42:06
83020      9377075610      1/9/2012         7:22:55
83021      9377080401      1/6/2012         14:32:15
83022      9377100161      11/5/2011        9:37:23
83023      9377180187      9/17/2011        10:15:47
83024      9377183376      3/9/2012         7:05:37
83025      9377185578      12/30/2011       17:02:14
83026      9377186718      9/12/2011        13:01:35
83027      9377187622      11/4/2011        7:19:50
83028      9377189416      9/26/2011        8:07:50
83029      9377252458      7/24/2012        7:34:43
83030      9377255589      8/8/2012         16:04:26
83031      9377255589      8/23/2012        11:45:23
83032      9377255589      10/8/2012        20:07:44
83033      9377260893      1/12/2012        14:00:35
83034      9377266146      3/3/2012         8:13:26
83035      9377282396      10/28/2011       7:10:30
83036      9377282396      5/3/2012         7:14:25
83037      9377283751      12/14/2011       14:51:13
83038      9377285288      9/8/2011         17:57:36
83039      9377320358      11/25/2011       17:29:32
83040      9377320358      2/13/2012        7:03:44
83041      9377320695      5/21/2012        17:24:28
83042      9377334475      4/9/2012         7:16:05
83043      9377338169      3/21/2012        13:39:11
83044      9377505032      5/14/2012        15:47:25
83045      9377512090      8/9/2012         13:59:47
83046      9377515799      8/1/2011         19:13:46
83047      9377515799      8/2/2011         18:11:32
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83048      9377631503      8/21/2012        13:58:02
83049      9377631781      5/26/2012        14:30:12
83050      9377632911      1/8/2012         13:00:49
83051      9377632911      4/16/2012        16:00:27
83052      9377682549      9/17/2011        9:26:34
83053      9377767482      3/28/2011        15:43:01
83054      9377767684      2/2/2012         7:15:23
83055      9377769120      9/3/2012         14:59:08
83056      9377790121      9/16/2011        14:15:22
83057      9377790121      10/12/2011       11:36:05
83058      9377790192      10/19/2012       19:08:25
83059      9377791358      11/5/2011        11:56:27
83060      9377791921      3/22/2012        7:50:07
83061      9377791921      3/27/2012        7:06:27
83062      9377796877      1/14/2012        13:19:37
83063      9377799720      8/24/2011        12:12:03
83064      9377890183      6/28/2012        7:10:44
83065      9377890183      8/7/2012         18:00:04
83066      9377893238      2/16/2012        7:06:31
83067      9377895191      1/6/2012         14:36:40
83068      9377897563      1/18/2012        10:30:50
83069      9377981074      11/15/2011       15:09:56
83070      9377981403      9/12/2011        13:53:20
83071      9377989417      12/5/2011        18:24:48
83072      9378231815      5/29/2012        17:11:49
83073      9378251977      2/21/2012        9:28:26
83074      9378259227      3/15/2012        19:02:07
83075      9378298948      5/5/2012         8:15:37
83076      9378298948      5/17/2012        16:46:07
83077      9378310133      12/14/2011       13:18:05
83078      9378310983      10/8/2011        11:39:25
83079      9378380385      5/8/2012         7:16:30
83080      9378385732      8/13/2012        7:45:41
83081      9378386036      2/11/2012        11:09:21
83082      9378388448      3/8/2012         7:05:59
83083      9378388504      1/16/2012        17:11:51
83084      9378448413      6/6/2012         7:15:04
83085      9378448427      9/25/2012        14:40:57
83086      9378690059      1/24/2012        17:11:15
83087      9378692065      5/20/2011        17:51:37
83088      9378694879      5/9/2012         7:41:17
83089      9378750308      5/12/2012        10:53:42
83090      9378769421      11/1/2011        7:58:22
83091      9378769421      11/16/2011       8:58:40
83092      9378769421      12/8/2011        19:38:08
83093      9378786621      3/7/2012         18:41:43
83094      9378920355      9/8/2011         17:53:15
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83095      9379015671      1/11/2012        16:34:47
83096      9379019613      9/12/2011        13:34:22
83097      9379022505      12/31/2011       12:14:10
83098      9379025869      12/18/2011       18:09:06
83099      9379033641      9/19/2011        19:10:24
83100      9379251248      8/6/2012         16:19:34
83101      9379260285      10/11/2012       7:54:27
83102      9379264117      9/17/2011        9:52:31
83103      9379351458      4/11/2012        19:29:11
83104      9379355369      8/5/2011         18:34:40
83105      9379358285      9/20/2011        17:18:53
83106      9379359481      1/8/2012         12:55:47
83107      9379440407      9/26/2011        8:30:32
83108      9379440798      6/5/2012         7:11:43
83109      9379441385      9/8/2011         19:38:46
83110      9379747178      12/29/2011       14:31:38
83111      9392420422      1/11/2012        7:41:06
83112      9393254322      10/22/2012       17:53:19
83113      9396458493      4/11/2012        11:27:40
83114      9402000176      11/8/2011        14:27:40
83115      9402063257      10/5/2011        14:13:07
83116      9402064081      2/17/2012        9:05:33
83117      9402064081      5/21/2012        8:16:09
83118      9402065998      2/20/2012        16:54:37
83119      9402067249      10/8/2011        11:35:11
83120      9402068072      10/17/2011       8:07:34
83121      9402101298      3/23/2012        20:13:13
83122      9402105244      2/11/2012        15:43:36
83123      9402105744      2/13/2012        18:28:39
83124      9402108862      3/26/2011        10:54:53
83125      9402120180      9/27/2011        18:48:16
83126      9402120303      8/30/2012        17:33:52
83127      9402242025      9/24/2012        13:07:35
83128      9402242025      10/17/2012       18:30:46
83129      9402286954      1/19/2012        8:06:34
83130      9402288270      5/21/2012        8:15:33
83131      9402291732      7/12/2012        13:26:19
83132      9402291751      5/31/2012        15:13:37
83133      9402291751      7/18/2012        18:35:58
83134      9402299889      3/2/2012         9:26:19
83135      9402303584      10/17/2011       8:32:14
83136      9402306567      12/17/2011       12:03:36
83137      9402307726      10/18/2012       16:45:20
83138      9402308237      5/28/2012        8:59:26
83139      9402314541      10/31/2011       9:15:38
83140      9402316060      11/3/2011        17:22:51
83141      9402317377      2/1/2012         8:29:56
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83142      9402317377      2/6/2012         17:03:58
83143      9402355176      9/28/2011        10:25:40
83144      9402551898      3/13/2012        12:51:55
83145      9402578161      4/12/2012        14:54:10
83146      9402578654      7/25/2012        12:07:35
83147      9402579564      1/27/2014        13:00:02
83148      9402579650      12/21/2011       10:46:31
83149      9402841369      8/5/2011         17:59:15
83150      9402843503      1/31/2012        10:19:56
83151      9402846009      8/8/2011         15:42:22
83152      9402933952      12/7/2011        14:09:09
83153      9402977109      10/19/2011       15:56:53
83154      9403000353      5/21/2012        8:01:38
83155      9403003152      3/20/2012        9:31:41
83156      9403003152      7/6/2012         16:59:16
83157      9403006309      7/18/2012        14:49:57
83158      9403008652      1/30/2012        8:03:10
83159      9403008652      2/9/2012         9:35:32
83160      9403008652      2/16/2012        8:37:56
83161      9403122382      5/21/2012        17:46:35
83162      9403202110      2/2/2012         10:48:59
83163      9403277284      4/4/2012         8:05:51
83164      9403285162      8/20/2012        18:44:04
83165      9403372175      11/14/2011       17:17:58
83166      9403373952      1/27/2012        18:00:29
83167      9403661930      1/24/2012        17:06:41
83168      9403666117      4/18/2011        19:43:08
83169      9403670838      6/14/2012        16:08:39
83170      9403673675      4/21/2012        16:53:08
83171      9403677236      10/29/2011       11:44:27
83172      9403679917      10/25/2011       15:41:10
83173      9403682837      9/14/2011        9:38:22
83174      9403683350      12/23/2011       13:23:37
83175      9403687719      11/4/2011        9:13:56
83176      9403687719      5/9/2012         9:03:03
83177      9403688335      9/19/2011        19:16:37
83178      9403720806      10/17/2011       8:28:43
83179      9403722561      9/28/2012        17:05:29
83180      9403890794      7/23/2011        13:10:00
83181      9403891025      8/6/2012         16:25:01
83182      9403891025      10/18/2012       16:31:11
83183      9403891719      1/10/2012        15:35:44
83184      9403893203      8/17/2012        8:28:08
83185      9403893245      7/30/2012        18:47:54
83186      9403896657      1/27/2012        11:53:35
83187      9403897460      12/30/2011       8:38:50
83188      9403897460      4/11/2012        11:34:29
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83189      9403899447      10/6/2011        16:41:30
83190      9403902897      9/19/2011        19:17:21
83191      9403905896      8/16/2011        18:05:13
83192      9403908192      3/14/2012        14:06:32
83193      9403908433      4/6/2012         15:54:31
83194      9403908433      4/11/2012        11:27:02
83195      9403908735      1/6/2012         12:59:06
83196      9403909286      5/18/2012        12:11:00
83197      9403909999      12/2/2011        8:17:57
83198      9403912240      9/24/2011        9:48:13
83199      9403916646      8/16/2012        9:25:49
83200      9403917175      10/7/2012        13:06:05
83201      9403935560      8/9/2011         12:54:42
83202      9403935761      9/1/2012         9:27:03
83203      9403936733      11/23/2011       14:41:09
83204      9403952802      2/17/2012        18:34:33
83205      9403955440      5/25/2012        12:02:50
83206      9403956758      3/29/2012        16:37:00
83207      9403957179      12/20/2011       15:05:28
83208      9403959562      8/31/2011        11:01:36
83209      9403959562      9/19/2011        8:11:56
83210      9403959562      10/6/2011        16:39:19
83211      9403959617      10/8/2012        8:11:19
83212      9404423952      9/24/2011        9:46:22
83213      9404424259      4/20/2012        20:48:49
83214      9404428231      7/30/2011        8:54:10
83215      9404428816      1/20/2012        20:29:44
83216      9404440948      3/23/2012        11:08:58
83217      9404450268      10/18/2011       12:16:59
83218      9404451176      9/21/2011        11:52:37
83219      9404451255      9/16/2012        17:15:45
83220      9404459059      7/5/2012         10:40:42
83221      9404459923      3/14/2012        14:38:16
83222      9404473413      5/16/2012        8:03:52
83223      9404473434      4/10/2012        11:35:06
83224      9404477808      1/31/2012        10:08:45
83225      9404524310      10/4/2011        13:47:30
83226      9404530808      7/18/2012        8:36:54
83227      9404539339      7/12/2012        19:59:32
83228      9404566716      5/17/2012        12:23:01
83229      9404654665      4/9/2012         13:37:58
83230      9404655428      10/16/2012       20:26:28
83231      9404655834      12/16/2011       15:39:57
83232      9404655923      8/24/2012        11:13:12
83233      9404656740      9/17/2012        8:41:41
83234      9404731231      8/14/2012        20:57:05
83235      9404731373      11/29/2011       15:41:06
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83236      9404750174      12/18/2011       16:52:08
83237      9405217319      9/27/2012        8:39:23
83238      9405367527      5/29/2012        17:13:38
83239      9405367527      6/5/2012         17:52:59
83240      9405367527      8/14/2012        11:38:01
83241      9405663703      11/16/2011       19:55:35
83242      9405771328      1/14/2012        8:10:33
83243      9405771328      3/19/2012        19:23:09
83244      9405774212      1/24/2012        17:19:32
83245      9405946139      3/11/2012        15:35:44
83246      9405950423      8/25/2012        11:17:37
83247      9405952194      9/19/2011        19:15:54
83248      9405955938      3/26/2012        18:28:54
83249      9405957639      10/24/2011       8:17:21
83250      9405976823      12/7/2011        18:00:51
83251      9405978596      10/5/2011        14:45:53
83252      9406007802      3/10/2012        8:51:08
83253      9406129518      1/25/2012        20:26:13
83254      9406132473      9/22/2012        8:33:17
83255      9406134508      11/3/2011        17:15:59
83256      9406134531      4/11/2012        12:51:11
83257      9406135170      11/19/2011       8:23:07
83258      9406260594      10/10/2011       12:51:31
83259      9406310352      11/18/2011       13:33:24
83260      9406311292      3/14/2012        14:18:11
83261      9406315054      3/1/2012         8:39:56
83262      9406327010      10/12/2011       12:06:30
83263      9406329551      1/11/2012        16:29:35
83264      9406329818      5/19/2012        9:39:28
83265      9406329818      5/25/2012        17:02:42
83266      9406360314      7/26/2012        11:54:14
83267      9406364433      9/26/2011        9:31:53
83268      9406365202      8/21/2012        14:01:52
83269      9406421032      12/26/2011       20:29:35
83270      9406825045      9/21/2011        11:52:30
83271      9407278339      10/14/2011       12:58:56
83272      9407334154      5/14/2011        12:00:04
83273      9407334599      9/14/2011        11:57:01
83274      9407354422      9/13/2011        17:53:59
83275      9407354987      2/9/2012         20:32:48
83276      9407363298      10/6/2011        16:52:54
83277      9407367818      8/29/2012        11:12:52
83278      9407368618      11/14/2011       17:03:13
83279      9407650993      1/5/2012         12:02:39
83280      9407656513      5/3/2012         8:06:04
83281      9407820972      4/11/2012        12:43:59
83282      9407828637      6/19/2012        13:18:26
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83283      9407831191      3/15/2012        14:01:01
83284      9407837782      10/5/2012        12:48:45
83285      9407837880      7/2/2012         17:31:44
83286      9408391074      1/23/2012        8:35:16
83287      9408391131      1/19/2012        18:15:30
83288      9408599555      6/14/2012        12:39:29
83289      9408672276      6/9/2012         15:12:45
83290      9408676898      5/3/2012         8:10:13
83291      9408820504      8/23/2012        11:53:13
83292      9408866401      11/8/2011        14:28:44
83293      9408866467      4/20/2012        14:04:33
83294      9408867768      12/18/2011       16:52:03
83295      9409029077      3/14/2012        19:32:03
83296      9409231154      4/12/2012        12:20:06
83297      9412040441      10/5/2012        12:16:29
83298      9412044011      10/29/2011       10:35:46
83299      9412044011      11/15/2011       16:10:36
83300      9412048702      11/11/2011       13:36:04
83301      9412196409      5/21/2012        17:21:54
83302      9412230714      1/19/2012        18:27:25
83303      9412239616      6/27/2011        7:17:19
83304      9412250800      7/2/2012         15:18:30
83305      9412259389      5/22/2012        18:25:30
83306      9412320109      10/5/2012        18:22:36
83307      9412324882      4/2/2012         7:36:29
83308      9412328331      3/20/2012        17:38:44
83309      9412328331      6/14/2012        16:01:19
83310      9412346285      11/11/2011       7:56:04
83311      9412349164      1/29/2012        16:25:08
83312      9412371650      3/26/2012        14:36:09
83313      9412376444      10/7/2011        7:18:50
83314      9412377200      2/14/2012        13:15:00
83315      9412377476      2/20/2012        17:01:24
83316      9412387979      2/16/2012        7:16:28
83317      9412564876      8/9/2012         14:01:18
83318      9412586806      4/18/2012        10:07:59
83319      9412689632      10/5/2011        14:37:29
83320      9412760690      3/4/2012         12:32:14
83321      9412764977      9/1/2011         8:19:40
83322      9412846678      9/14/2011        21:29:20
83323      9412860740      11/26/2011       12:22:53
83324      9412862525      5/27/2012        13:45:43
83325      9412865880      9/21/2012        18:47:24
83326      9412868341      5/15/2012        19:15:28
83327      9412869883      6/8/2012         7:30:16
83328      9412965696      1/29/2012        16:33:02
83329      9413010781      2/28/2012        7:55:08
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83330      9413016118      1/5/2012         11:55:29
83331      9413016743      2/6/2012         7:07:04
83332      9413016743      5/21/2012        7:24:52
83333      9413066926      11/17/2011       16:20:03
83334      9413130577      7/19/2012        7:56:49
83335      9413130631      5/6/2012         17:19:24
83336      9413204032      5/26/2012        8:41:11
83337      9413213026      10/20/2011       16:17:27
83338      9413217020      11/10/2011       17:23:31
83339      9413218773      9/26/2011        8:42:30
83340      9413236023      7/16/2012        7:05:10
83341      9413282622      11/21/2011       7:31:08
83342      9413282654      12/24/2011       7:22:41
83343      9413304608      2/20/2012        17:02:15
83344      9413500843      7/5/2012         15:41:27
83345      9413509630      3/23/2012        7:11:54
83346      9413742692      10/17/2011       7:24:26
83347      9413742692      1/9/2012         7:24:05
83348      9413770139      10/27/2011       16:30:49
83349      9413770139      11/23/2011       15:02:32
83350      9413912881      3/28/2012        14:34:03
83351      9414002667      11/17/2011       16:14:14
83352      9414003431      11/30/2011       7:26:52
83353      9414057005      3/22/2012        8:09:06
83354      9414161820      5/22/2012        16:17:03
83355      9414162270      3/15/2012        19:23:47
83356      9414164029      8/8/2012         7:11:59
83357      9414166788      8/10/2012        7:31:43
83358      9414415899      5/11/2012        12:16:55
83359      9414417075      11/1/2011        8:06:13
83360      9414418380      1/12/2012        14:06:49
83361      9414418380      2/1/2012         8:03:16
83362      9414453329      9/28/2011        10:55:03
83363      9414474635      9/30/2011        10:12:37
83364      9414476406      9/26/2012        7:11:25
83365      9414476944      4/1/2012         16:43:45
83366      9414488052      3/14/2012        19:42:51
83367      9414625042      2/14/2012        12:51:59
83368      9414652372      3/2/2012         18:56:29
83369      9414653116      10/20/2011       15:17:23
83370      9414653584      10/3/2011        7:13:13
83371      9414655066      7/13/2012        18:27:11
83372      9414656420      8/16/2012        19:50:17
83373      9414672147      10/13/2011       7:18:34
83374      9414672147      10/28/2011       13:30:29
83375      9414672147      1/11/2012        7:42:52
83376      9414672235      1/12/2012        14:24:03
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83377      9414672401      12/28/2011       7:24:36
83378      9414675975      9/20/2011        16:33:32
83379      9414676087      10/3/2011        7:10:57
83380      9414676087      10/13/2011       7:14:20
83381      9414676087      10/29/2011       10:36:09
83382      9414683491      3/27/2012        15:37:48
83383      9414836572      2/21/2012        20:50:34
83384      9415043184      2/13/2012        18:42:56
83385      9415043405      4/29/2012        17:14:55
83386      9415252326      11/21/2011       7:07:13
83387      9415265880      3/6/2012         16:00:52
83388      9415265880      5/21/2012        7:04:23
83389      9415265880      5/21/2012        7:25:50
83390      9415277396      2/17/2012        18:29:36
83391      9415279473      9/19/2011        19:09:58
83392      9415361748      10/27/2011       15:04:26
83393      9415363014      9/12/2011        13:51:15
83394      9415363177      6/29/2012        17:48:39
83395      9415364946      12/30/2013       7:04:25
83396      9415365966      6/15/2012        8:50:01
83397      9415366240      3/13/2012        16:54:15
83398      9415366680      12/2/2011        7:35:29
83399      9415367151      11/12/2011       9:05:15
83400      9415367955      11/21/2011       8:35:01
83401      9415368938      3/24/2012        10:23:40
83402      9415390064      5/12/2012        10:37:37
83403      9415390064      5/30/2012        12:49:21
83404      9415392531      5/11/2012        18:06:57
83405      9415396214      12/2/2011        8:14:27
83406      9415442797      1/31/2012        7:12:56
83407      9415443482      8/9/2012         14:07:15
83408      9415448831      5/13/2012        17:06:27
83409      9415650194      10/8/2011        10:26:59
83410      9415651124      11/5/2011        9:52:45
83411      9415652102      9/20/2011        18:11:05
83412      9415652767      10/31/2011       7:07:42
83413      9415654044      1/6/2012         14:47:01
83414      9415654599      2/29/2012        7:06:33
83415      9415654599      6/9/2012         14:50:15
83416      9415655173      1/27/2012        9:39:07
83417      9415656311      6/5/2012         14:05:48
83418      9415657311      10/14/2011       13:18:37
83419      9415657311      2/14/2012        13:35:36
83420      9415658161      3/2/2012         19:11:03
83421      9415800060      9/28/2012        16:55:50
83422      9415800420      10/15/2011       9:03:42
83423      9415800718      4/4/2012         18:44:28
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83424      9415800718      5/21/2012        7:05:43
83425      9415802131      9/24/2011        9:13:04
83426      9415807887      1/3/2012         7:13:58
83427      9415853635      3/15/2012        7:21:20
83428      9415860276      6/4/2011         9:58:13
83429      9415860387      10/27/2011       16:25:51
83430      9415865103      3/12/2012        7:20:42
83431      9415871782      4/27/2012        18:20:10
83432      9415874669      5/10/2012        14:43:59
83433      9415874669      5/21/2012        7:33:00
83434      9415921475      2/6/2012         17:10:32
83435      9415921546      12/16/2011       15:29:17
83436      9415921983      12/18/2011       16:50:37
83437      9415923323      7/23/2011        12:35:04
83438      9415923815      2/21/2012        9:27:45
83439      9415924286      12/24/2011       7:03:52
83440      9415928764      10/14/2011       13:20:37
83441      9416157443      6/18/2012        15:07:41
83442      9416232729      1/16/2012        17:22:01
83443      9416233263      1/27/2012        17:52:22
83444      9416233747      12/30/2011       16:53:13
83445      9416235955      3/12/2012        7:05:33
83446      9416237124      6/9/2012         14:52:07
83447      9416237143      10/15/2012       9:50:34
83448      9416504476      12/8/2011        10:03:12
83449      9416612265      9/26/2012        14:41:25
83450      9416614918      9/28/2011        10:56:22
83451      9416614918      11/3/2011        17:42:58
83452      9416617639      7/23/2012        13:17:20
83453      9416619187      12/7/2011        14:43:46
83454      9416619989      12/21/2011       11:38:54
83455      9416811136      8/16/2012        7:55:53
83456      9416811525      11/28/2011       11:49:52
83457      9416811723      1/29/2012        16:24:29
83458      9416811799      11/9/2011        7:54:02
83459      9416811937      11/12/2011       9:20:48
83460      9416850548      3/26/2012        18:34:51
83461      9416851741      10/4/2011        13:12:19
83462      9416854049      10/6/2011        16:12:15
83463      9416856316      11/30/2011       7:15:11
83464      9416856316      12/1/2011        8:01:12
83465      9416857808      2/4/2012         8:08:48
83466      9416857883      5/21/2012        7:23:02
83467      9417041136      9/23/2011        18:54:28
83468      9417130615      1/19/2012        18:23:29
83469      9417160150      10/18/2012       7:02:39
83470      9417261711      10/20/2012       16:27:23
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83471      9417265374      10/17/2011       8:17:44
83472      9417265374      10/28/2011       7:05:10
83473      9417265374      4/1/2012         16:04:52
83474      9417265669      3/22/2012        7:57:34
83475      9417267949      12/7/2011        13:53:27
83476      9417303777      5/1/2012         17:36:52
83477      9417305710      5/4/2012         7:28:53
83478      9417353025      11/5/2011        11:00:37
83479      9417370280      4/25/2011        10:53:36
83480      9417400704      10/20/2011       16:17:49
83481      9417522305      1/13/2012        17:11:29
83482      9417632229      9/9/2011         7:31:13
83483      9417632743      9/20/2012        7:01:23
83484      9417632743      10/22/2012       7:04:36
83485      9417639059      12/10/2011       12:39:26
83486      9417730396      4/20/2012        14:30:34
83487      9417732384      12/26/2011       9:19:06
83488      9417796212      9/22/2012        8:38:02
83489      9417803938      3/16/2012        15:58:26
83490      9417868373      4/18/2012        17:48:37
83491      9418069385      10/20/2011       15:23:38
83492      9418098727      7/12/2011        12:17:25
83493      9418122755      10/4/2011        13:09:10
83494      9418150005      11/1/2011        8:24:39
83495      9418221074      1/20/2012        19:28:58
83496      9418221593      9/3/2012         14:45:07
83497      9418221868      3/16/2012        10:02:43
83498      9418221983      5/13/2011        11:07:50
83499      9418223473      3/22/2012        14:20:15
83500      9418223788      11/23/2011       14:35:12
83501      9418224118      10/27/2011       16:39:45
83502      9418224829      5/4/2012         18:16:32
83503      9418225559      10/27/2011       16:40:07
83504      9418750807      1/24/2012        17:14:45
83505      9418751111      3/14/2012        7:02:35
83506      9418752232      9/16/2011        13:25:07
83507      9418757474      1/20/2012        20:30:54
83508      9418791028      3/19/2012        19:39:29
83509      9418791327      2/28/2012        7:43:55
83510      9418791825      7/16/2012        19:47:52
83511      9418792336      9/24/2012        19:00:37
83512      9418793362      2/14/2012        15:37:40
83513      9418795787      10/12/2011       11:56:05
83514      9418944761      9/9/2011         7:43:43
83515      9419154083      5/21/2012        17:39:27
83516      9419155323      6/21/2012        18:42:53
83517      9419166192      1/11/2012        7:27:08
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83518      9419293927      7/25/2012        11:55:22
83519      9419296015      12/5/2011        9:51:39
83520      9419296704      3/2/2012         19:11:20
83521      9419930343      11/11/2011       13:32:22
83522      9492000325      2/21/2012        20:55:30
83523      9492047896      10/18/2012       14:33:55
83524      9492097763      2/2/2012         21:00:53
83525      9492122604      5/18/2012        16:06:04
83526      9492123731      3/18/2011        12:03:06
83527      9492281786      5/5/2012         12:23:54
83528      9492288994      7/11/2012        17:18:54
83529      9492309599      9/29/2011        16:00:11
83530      9492335922      10/6/2011        17:01:59
83531      9492356567      6/11/2012        18:12:40
83532      9492358852      6/23/2012        16:16:17
83533      9492416218      11/22/2011       18:49:52
83534      9492440174      3/7/2012         18:35:46
83535      9492441890      11/16/2011       20:09:32
83536      9492449888      2/15/2012        21:03:43
83537      9492466089      10/22/2011       12:50:47
83538      9492577115      4/6/2012         15:59:58
83539      9492739641      8/6/2012         15:38:27
83540      9492740396      2/6/2012         10:06:06
83541      9492740396      5/1/2012         17:33:00
83542      9492741975      5/9/2012         16:12:20
83543      9492798517      2/20/2012        17:22:02
83544      9492824914      7/12/2012        13:27:29
83545      9492879721      4/24/2012        12:14:16
83546      9492894510      5/7/2012         21:39:44
83547      9492909911      10/14/2011       13:34:04
83548      9492914741      5/25/2012        17:13:14
83549      9492915543      11/3/2011        18:05:22
83550      9492930886      9/27/2011        18:20:54
83551      9492930886      1/8/2012         16:54:35
83552      9492938107      7/23/2012        15:35:20
83553      9492949710      10/27/2011       18:23:17
83554      9492957097      7/17/2012        12:27:10
83555      9493002263      5/25/2012        11:55:18
83556      9493022888      12/28/2011       11:10:44
83557      9493038394      5/21/2011        11:18:02
83558      9493072197      11/25/2011       18:01:49
83559      9493075289      12/12/2011       16:25:55
83560      9493097944      7/18/2012        18:33:17
83561      9493106907      2/17/2012        10:44:26
83562      9493223272      10/28/2011       14:33:30
83563      9493255112      1/5/2012         17:31:38
83564      9493559495      5/3/2012         21:14:27
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83565      9493577979      12/14/2011       21:49:49
83566      9493578175      1/25/2012        20:39:44
83567      9493750442      7/2/2012         15:30:16
83568      9493756253      10/14/2011       13:33:08
83569      9493780609      8/21/2012        21:48:45
83570      9493943192      9/19/2011        19:37:40
83571      9493951992      2/2/2012         21:02:18
83572      9494005689      7/6/2012         14:44:34
83573      9494137716      9/22/2011        15:34:59
83574      9494195603      1/24/2012        17:10:32
83575      9494217126      11/17/2011       16:53:26
83576      9494337963      11/5/2011        11:50:56
83577      9494392885      1/6/2012         12:54:22
83578      9494549315      12/26/2011       10:24:51
83579      9494564791      5/17/2012        17:04:13
83580      9494603217      10/10/2011       12:06:52
83581      9494633299      2/24/2012        17:34:58
83582      9494635663      3/15/2012        19:35:59
83583      9494664950      11/7/2011        11:00:00
83584      9494666964      3/10/2011        17:59:05
83585      9494789248      3/11/2011        17:01:54
83586      9495003489      11/4/2011        10:22:26
83587      9495009257      6/28/2012        14:17:16
83588      9495054117      1/9/2012         10:30:58
83589      9495219623      9/13/2012        15:24:34
83590      9495338353      3/13/2012        12:46:36
83591      9495471716      10/21/2011       14:52:36
83592      9495477106      9/26/2011        13:19:05
83593      9495665262      10/22/2011       13:19:02
83594      9496105551      4/4/2012         14:04:03
83595      9496306698      9/21/2011        19:36:17
83596      9496310997      7/10/2012        21:11:06
83597      9496374111      4/22/2012        15:44:16
83598      9496444771      1/25/2012        18:22:00
83599      9496480260      12/22/2011       10:09:23
83600      9496770283      9/20/2011        16:56:17
83601      9496776013      9/19/2012        21:29:22
83602      9496776441      12/7/2011        14:09:02
83603      9496777406      11/17/2011       14:20:12
83604      9496778730      5/27/2012        14:04:41
83605      9496805281      10/1/2011        10:57:44
83606      9496807094      6/26/2012        12:28:44
83607      9496809264      1/5/2012         21:33:47
83608      9496898939      9/10/2011        12:45:30
83609      9496978833      8/11/2012        12:29:57
83610      9497354515      7/26/2011        10:10:27
83611      9497357987      2/14/2012        10:10:57
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83612      9497357987      3/14/2012        19:39:10
83613      9497358787      9/8/2011         19:13:34
83614      9497420246      9/17/2011        10:32:52
83615      9497434490      1/18/2012        16:56:22
83616      9498135021      5/18/2012        15:41:56
83617      9498139147      9/9/2011         18:10:18
83618      9498361288      8/11/2011        10:47:02
83619      9498364024      9/26/2011        20:11:19
83620      9498366840      6/30/2012        11:10:10
83621      9498420967      3/11/2011        17:02:39
83622      9498427555      9/19/2011        19:37:46
83623      9498879991      9/8/2012         11:45:07
83624      9498914509      6/12/2012        17:15:54
83625      9499030660      4/5/2012         13:54:29
83626      9499038385      4/21/2012        16:48:47
83627      9499230026      1/20/2012        11:36:41
83628      9499230101      6/4/2012         21:09:50
83629      9499295326      9/12/2011        13:37:47
83630      9499339873      10/22/2011       13:22:44
83631      9499396259      6/9/2012         15:06:00
83632      9499406264      9/13/2011        13:37:10
83633      9499454099      1/11/2012        10:57:16
83634      9499734040      9/26/2011        13:32:03
83635      9512013321      2/6/2012         10:21:52
83636      9512017384      9/10/2012        10:25:27
83637      9512021553      12/16/2011       15:53:50
83638      9512022028      2/29/2012        17:31:08
83639      9512024069      9/1/2011         15:36:03
83640      9512025570      11/11/2011       20:15:19
83641      9512031328      10/22/2012       10:32:22
83642      9512033247      12/20/2011       11:41:25
83643      9512035099      10/15/2011       11:14:42
83644      9512036158      10/1/2012        13:58:08
83645      9512040206      10/1/2011        11:03:00
83646      9512045316      10/19/2012       19:12:53
83647      9512053678      3/1/2012         17:35:39
83648      9512054020      7/5/2012         10:44:52
83649      9512054927      12/10/2011       12:35:40
83650      9512057761      1/13/2012        17:29:49
83651      9512058154      8/24/2011        12:04:14
83652      9512066443      12/3/2011        10:36:15
83653      9512069307      11/14/2011       17:50:43
83654      9512073252      3/14/2012        19:49:26
83655      9512073281      1/9/2012         21:22:30
83656      9512077700      3/26/2011        12:49:57
83657      9512079976      4/19/2012        20:26:41
83658      9512088088      2/17/2012        10:46:07
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83659      9512088529      1/13/2012        10:39:41
83660      9512100385      3/8/2012         15:37:26
83661      9512100619      5/6/2011         16:04:42
83662      9512104175      1/11/2012        16:40:22
83663      9512104443      4/4/2012         18:40:42
83664      9512106035      11/10/2011       14:31:39
83665      9512106678      1/4/2012         11:11:13
83666      9512106849      11/4/2011        10:22:25
83667      9512109006      5/2/2012         21:10:08
83668      9512109131      2/9/2012         20:47:27
83669      9512109899      3/15/2012        19:38:15
83670      9512120782      1/23/2012        10:19:34
83671      9512124147      9/19/2011        19:20:01
83672      9512127651      7/16/2012        14:26:59
83673      9512129005      2/11/2012        15:54:42
83674      9512129290      1/13/2012        12:34:21
83675      9512131605      5/14/2012        15:41:59
83676      9512141538      8/20/2012        21:34:12
83677      9512141894      10/6/2011        17:05:11
83678      9512143250      12/2/2011        14:48:32
83679      9512148371      3/2/2012         9:25:09
83680      9512173058      3/2/2012         15:27:12
83681      9512175634      9/13/2011        17:09:29
83682      9512183591      6/14/2012        21:31:06
83683      9512185773      11/18/2011       13:35:28
83684      9512192612      4/19/2012        20:13:25
83685      9512198828      9/13/2011        16:47:41
83686      9512201377      2/28/2012        13:21:18
83687      9512202539      1/18/2012        16:56:47
83688      9512202568      9/19/2011        14:40:18
83689      9512202609      3/9/2012         15:47:15
83690      9512204068      12/1/2011        10:28:05
83691      9512204249      5/16/2012        17:00:06
83692      9512204816      2/18/2012        10:15:21
83693      9512209326      7/16/2012        14:25:57
83694      9512217296      3/14/2012        19:48:34
83695      9512240395      11/5/2011        12:00:37
83696      9512240791      8/23/2012        11:56:26
83697      9512240795      9/27/2012        16:34:22
83698      9512241692      6/23/2012        10:42:10
83699      9512242451      4/4/2012         18:54:43
83700      9512243654      8/1/2012         10:59:00
83701      9512245688      3/19/2011        10:50:08
83702      9512276291      12/26/2011       20:33:45
83703      9512276291      1/9/2012         18:47:17
83704      9512279901      6/28/2012        14:16:44
83705      9512295107      8/13/2012        11:04:17
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83706      9512295691      5/19/2012        10:56:13
83707      9512297922      10/11/2011       16:37:42
83708      9512299865      1/3/2012         16:24:03
83709      9512304251      3/12/2012        19:14:21
83710      9512307411      4/12/2012        14:21:12
83711      9512310933      10/19/2011       12:27:55
83712      9512313893      11/30/2011       15:41:45
83713      9512314595      2/6/2012         10:19:13
83714      9512317419      7/31/2012        21:05:26
83715      9512322571      10/22/2012       17:53:00
83716      9512325988      8/2/2012         11:31:58
83717      9512330023      10/24/2011       14:30:55
83718      9512334108      4/23/2012        20:46:09
83719      9512338801      9/13/2011        14:39:21
83720      9512344112      11/17/2011       14:45:51
83721      9512346328      10/17/2012       18:46:01
83722      9512355213      5/17/2012        17:00:05
83723      9512361914      5/25/2012        11:57:23
83724      9512364356      1/14/2012        11:01:15
83725      9512364356      1/30/2012        10:18:35
83726      9512367220      9/19/2011        19:38:51
83727      9512371636      12/24/2011       11:30:07
83728      9512372853      11/25/2011       18:38:11
83729      9512374071      3/8/2012         20:29:44
83730      9512389855      7/27/2012        14:04:03
83731      9512396519      11/18/2011       13:13:24
83732      9512399126      5/14/2012        15:44:24
83733      9512406279      12/23/2011       13:33:01
83734      9512406775      9/24/2012        18:56:51
83735      9512408572      11/5/2011        12:00:30
83736      9512409332      4/5/2012         21:52:41
83737      9512412248      4/21/2011        18:37:32
83738      9512412248      9/19/2011        19:36:49
83739      9512435147      12/28/2011       11:10:28
83740      9512471100      7/24/2012        20:29:10
83741      9512471100      9/21/2012        15:05:05
83742      9512491708      3/26/2012        15:06:39
83743      9512492323      9/20/2011        17:04:05
83744      9512492673      12/21/2011       19:52:48
83745      9512492861      6/9/2012         14:48:58
83746      9512492872      5/30/2012        16:51:15
83747      9512503179      7/13/2012        21:25:05
83748      9512506883      4/5/2012         21:52:05
83749      9512509045      9/14/2011        17:00:53
83750      9512509140      11/14/2011       15:33:35
83751      9512509866      12/7/2011        17:57:33
83752      9512518828      10/27/2011       16:13:19
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83753      9512519519      1/4/2012         11:09:31
83754      9512523373      10/11/2011       15:25:26
83755      9512524413      3/5/2012         11:06:27
83756      9512540896      12/20/2011       19:27:35
83757      9512541162      12/26/2011       20:13:29
83758      9512541626      3/13/2012        18:52:52
83759      9512544165      10/18/2012       14:33:38
83760      9512566213      11/22/2011       19:46:35
83761      9512580088      10/18/2012       16:32:58
83762      9512581135      9/24/2012        13:15:24
83763      9512585179      3/19/2012        19:26:09
83764      9512588902      2/7/2012         16:40:11
83765      9512588902      2/13/2012        11:38:13
83766      9512590970      10/20/2011       16:39:29
83767      9512591560      4/1/2012         17:42:20
83768      9512593995      3/2/2012         19:20:34
83769      9512597555      9/24/2012        13:15:09
83770      9512597555      10/9/2012        20:07:10
83771      9512607532      12/6/2011        14:19:37
83772      9512608235      11/3/2011        18:08:37
83773      9512610105      12/7/2011        14:21:37
83774      9512610404      4/10/2012        21:58:17
83775      9512647869      9/21/2012        15:57:44
83776      9512654404      9/14/2011        21:33:20
83777      9512658146      10/22/2012       17:53:00
83778      9512659467      9/16/2011        15:19:50
83779      9512691847      5/1/2012         18:33:55
83780      9512695660      1/3/2012         19:45:33
83781      9512710014      5/3/2012         21:16:38
83782      9512711448      8/24/2013        12:55:39
83783      9512751700      9/28/2011        10:42:08
83784      9512752210      12/7/2011        15:21:37
83785      9512820281      5/8/2012         21:27:13
83786      9512824000      11/11/2011       20:15:50
83787      9512824141      11/5/2011        11:59:30
83788      9512832890      11/12/2011       11:06:38
83789      9512833508      10/15/2011       10:05:08
83790      9512833531      6/11/2012        17:42:27
83791      9512834914      5/1/2012         10:19:02
83792      9512837284      8/7/2012         17:58:06
83793      9512849675      8/16/2011        18:22:45
83794      9512850285      10/14/2011       13:35:09
83795      9512851932      8/15/2011        10:54:12
83796      9512853979      10/5/2011        14:24:57
83797      9512855734      10/5/2011        14:52:49
83798      9512867827      10/31/2011       10:19:53
83799      9512871944      2/9/2012         20:47:39
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83800      9512878870      4/3/2012         16:17:10
83801      9512880046      5/11/2012        18:37:37
83802      9512884090      9/8/2011         19:09:39
83803      9512885899      8/7/2012         20:23:00
83804      9512892949      6/6/2012         10:20:52
83805      9512892980      12/29/2011       10:52:22
83806      9512937770      8/24/2013        12:38:46
83807      9512939768      5/19/2012        10:59:53
83808      9512941118      10/25/2011       16:39:26
83809      9512941121      9/21/2011        19:31:43
83810      9512952351      12/6/2011        14:33:07
83811      9512964636      11/8/2011        14:39:08
83812      9513068946      8/1/2012         20:14:23
83813      9513069706      4/24/2012        21:04:39
83814      9513100849      7/15/2011        10:36:17
83815      9513101591      2/7/2012         20:21:56
83816      9513107648      10/16/2012       20:28:47
83817      9513121744      11/10/2011       14:45:04
83818      9513123969      2/13/2012        18:35:33
83819      9513127338      8/31/2011        11:10:38
83820      9513127338      9/8/2011         19:14:42
83821      9513128050      3/29/2012        16:36:00
83822      9513128769      5/26/2012        10:14:27
83823      9513134422      10/12/2012       17:00:07
83824      9513134561      6/14/2012        16:08:11
83825      9513134561      10/6/2012        10:51:09
83826      9513143553      10/10/2011       13:22:31
83827      9513149973      11/10/2011       14:48:11
83828      9513151794      5/8/2012         12:44:08
83829      9513153047      8/17/2011        19:21:37
83830      9513165028      6/25/2012        21:52:27
83831      9513173939      12/14/2011       18:07:24
83832      9513185100      10/29/2011       12:03:38
83833      9513186213      9/18/2012        14:30:20
83834      9513187119      12/23/2011       13:34:12
83835      9513210801      12/1/2011        10:35:06
83836      9513220167      7/17/2012        21:56:18
83837      9513225541      6/7/2012         18:33:07
83838      9513230308      11/7/2011        11:04:29
83839      9513233992      10/24/2011       14:52:13
83840      9513234655      11/19/2013       10:10:13
83841      9513236499      9/19/2012        21:31:36
83842      9513238238      10/5/2011        14:50:14
83843      9513267984      6/8/2011         19:05:15
83844      9513291336      7/23/2011        14:09:13
83845      9513292888      9/19/2011        19:20:01
83846      9513330633      11/28/2011       12:26:35
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83847      9513331221      10/21/2011       12:52:17
83848      9513331872      9/19/2011        14:41:51
83849      9513331872      1/10/2012        15:38:05
83850      9513334441      8/17/2011        19:22:14
83851      9513338467      6/21/2011        14:15:08
83852      9513338571      5/30/2012        12:44:07
83853      9513340766      7/23/2012        11:54:07
83854      9513341607      12/29/2011       19:42:38
83855      9513341930      9/13/2011        14:21:59
83856      9513345612      4/4/2012         18:56:08
83857      9513346983      4/18/2011        19:57:21
83858      9513349340      4/20/2012        14:12:00
83859      9513453209      9/21/2012        18:58:45
83860      9513453893      11/15/2011       20:16:58
83861      9513453917      10/20/2011       15:47:11
83862      9513455684      4/21/2012        16:29:48
83863      9513458121      10/19/2011       12:07:48
83864      9513458980      9/4/2012         15:59:59
83865      9513459412      10/3/2011        10:44:31
83866      9513459734      5/30/2012        16:58:53
83867      9513467458      3/16/2012        10:08:30
83868      9513467555      7/18/2011        11:22:53
83869      9513470287      12/29/2011       11:15:18
83870      9513470545      11/1/2011        11:23:40
83871      9513470545      12/5/2011        18:20:39
83872      9513473340      10/10/2012       13:05:08
83873      9513473545      3/20/2012        20:00:28
83874      9513474299      10/1/2012        13:39:08
83875      9513676519      3/22/2012        14:31:49
83876      9513677089      9/26/2013        11:05:43
83877      9513677386      12/8/2011        21:11:54
83878      9513715039      6/28/2012        12:37:12
83879      9513773328      10/17/2011       11:12:11
83880      9513781540      10/10/2012       12:40:44
83881      9513782414      10/13/2011       10:32:26
83882      9513782725      1/4/2012         11:09:02
83883      9513783623      1/13/2012        17:30:24
83884      9513784258      6/5/2012         19:54:39
83885      9513785347      6/19/2012        15:46:31
83886      9513786004      12/7/2011        14:57:54
83887      9513786839      5/2/2012         21:08:01
83888      9513787860      1/8/2012         16:52:33
83889      9513788719      10/4/2011        13:30:59
83890      9513788920      6/19/2012        13:17:28
83891      9513850860      9/19/2012        16:24:14
83892      9513850860      10/8/2012        12:49:57
83893      9513850926      10/19/2011       12:35:14
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83894      9513853337      1/5/2012         21:19:54
83895      9513857174      12/26/2011       20:34:47
83896      9513859200      12/26/2011       20:14:41
83897      9513859930      4/26/2012        11:24:13
83898      9513924010      9/4/2012         21:53:31
83899      9513926834      12/7/2011        13:47:30
83900      9513929948      10/24/2011       14:25:44
83901      9514032648      12/9/2011        12:58:34
83902      9514157770      4/2/2012         12:57:20
83903      9514272591      9/8/2011         19:37:57
83904      9514276636      10/14/2011       14:49:56
83905      9514279548      10/3/2011        10:35:55
83906      9514366819      4/1/2012         17:36:22
83907      9514401064      6/30/2012        11:10:50
83908      9514401855      11/28/2011       17:09:31
83909      9514403159      9/8/2011         18:16:50
83910      9514420054      2/10/2012        10:35:49
83911      9514421402      8/26/2011        17:55:27
83912      9514423643      1/31/2012        10:24:27
83913      9514425719      2/3/2012         20:14:10
83914      9514427125      12/29/2011       19:08:31
83915      9514427373      1/25/2012        20:32:36
83916      9514427407      5/7/2012         14:54:50
83917      9514427544      9/14/2011        17:04:28
83918      9514428881      1/7/2012         10:33:45
83919      9514428881      5/2/2012         13:56:21
83920      9514436233      6/18/2012        15:30:33
83921      9514436939      5/16/2011        13:16:17
83922      9514438087      3/6/2012         15:52:57
83923      9514439943      11/5/2011        10:40:10
83924      9514450654      5/29/2012        17:16:54
83925      9514450654      6/15/2012        15:46:18
83926      9514450654      10/3/2012        19:57:21
83927      9514452107      11/30/2011       12:58:59
83928      9514456537      4/20/2011        20:23:06
83929      9514458639      9/14/2011        21:30:21
83930      9514458824      7/19/2011        18:06:00
83931      9514524168      4/16/2012        10:15:05
83932      9514524795      5/18/2012        11:58:46
83933      9514526175      10/31/2011       10:12:54
83934      9514526413      2/20/2012        13:58:22
83935      9514540452      1/13/2012        10:42:34
83936      9514543325      9/24/2011        10:12:09
83937      9514547273      3/14/2011        17:33:21
83938      9514730315      3/10/2011        18:01:41
83939      9514735678      9/12/2011        14:33:52
83940      9514796129      3/19/2012        19:39:41
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83941      9514796129      3/28/2012        18:16:58
83942      9514868137      12/19/2011       11:22:39
83943      9514868137      3/17/2012        11:50:22
83944      9514882264      4/12/2012        14:25:40
83945      9514882264      5/7/2012         15:01:47
83946      9514884153      10/11/2011       17:41:41
83947      9514887173      8/8/2012         10:05:20
83948      9514892198      9/5/2012         15:28:05
83949      9514897271      12/19/2011       11:21:28
83950      9514897271      3/17/2012        11:40:36
83951      9514899193      8/3/2012         16:36:50
83952      9514899815      1/18/2012        16:44:14
83953      9514899815      5/18/2012        12:17:26
83954      9514901256      12/2/2011        15:31:09
83955      9514901677      4/21/2011        18:35:11
83956      9514902654      4/2/2012         12:52:45
83957      9514905399      10/28/2011       13:51:25
83958      9514908873      10/10/2012       13:05:02
83959      9514925443      9/15/2011        10:40:47
83960      9514928669      10/11/2012       18:57:54
83961      9514961246      9/20/2011        17:03:51
83962      9514961246      10/3/2011        10:48:33
83963      9515000675      10/31/2011       10:19:34
83964      9515000889      5/23/2012        14:49:13
83965      9515001407      8/1/2011         19:28:33
83966      9515002424      12/23/2011       15:16:44
83967      9515002424      1/27/2012        17:50:25
83968      9515003518      1/16/2012        17:39:19
83969      9515004066      1/6/2012         14:45:20
83970      9515006298      11/29/2011       16:13:55
83971      9515006885      9/19/2011        14:51:07
83972      9515008965      11/11/2011       20:31:50
83973      9515009319      10/20/2011       16:37:24
83974      9515141192      2/7/2012         16:40:47
83975      9515141606      2/13/2012        11:37:18
83976      9515146574      12/7/2011        16:31:19
83977      9515152824      12/23/2011       15:19:20
83978      9515155050      10/3/2012        19:57:41
83979      9515157236      10/17/2011       10:40:51
83980      9515159092      3/25/2012        12:18:22
83981      9515159972      3/19/2012        19:21:43
83982      9515203811      6/23/2012        10:37:04
83983      9515205204      10/3/2011        10:47:09
83984      9515221458      8/10/2012        10:23:50
83985      9515224802      8/20/2012        21:31:43
83986      9515228522      1/3/2012         15:38:29
83987      9515229482      8/2/2012         19:10:33
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83988      9515252688      11/17/2011       16:37:20
83989      9515253340      8/8/2013         15:12:43
83990      9515267733      1/27/2012        21:55:04
83991      9515290310      9/30/2011        10:09:21
83992      9515296161      1/4/2012         11:31:38
83993      9515298986      11/16/2011       10:11:32
83994      9515299575      10/1/2011        10:07:59
83995      9515299877      9/13/2012        21:30:50
83996      9515307269      10/24/2012       21:16:52
83997      9515314810      11/25/2011       17:57:31
83998      9515315726      8/19/2012        12:06:41
83999      9515316078      11/18/2011       12:32:40
84000      9515317446      10/24/2011       14:25:22
84001      9515322449      10/10/2011       12:06:48
84002      9515323175      12/5/2011        18:41:51
84003      9515326833      5/17/2012        16:43:47
84004      9515329839      11/14/2011       17:39:41
84005      9515339468      8/2/2012         11:42:01
84006      9515349392      9/27/2011        18:54:43
84007      9515349392      11/8/2011        14:44:46
84008      9515364905      8/21/2012        21:47:00
84009      9515367146      8/1/2012         20:30:54
84010      9515367267      12/18/2011       17:18:46
84011      9515368187      8/1/2012         20:12:09
84012      9515368346      9/8/2012         11:12:48
84013      9515368754      4/19/2012        20:24:11
84014      9515413449      12/28/2011       11:09:13
84015      9515413449      5/11/2012        12:36:31
84016      9515416285      10/25/2011       16:39:16
84017      9515432153      9/27/2011        18:52:55
84018      9515435767      8/20/2012        21:33:53
84019      9515436757      12/20/2011       15:11:15
84020      9515438900      4/25/2012        21:23:01
84021      9515444737      6/27/2012        17:54:17
84022      9515446143      3/8/2012         20:36:51
84023      9515448335      3/27/2012        14:57:40
84024      9515449420      9/13/2011        17:08:56
84025      9515449593      9/21/2011        12:04:53
84026      9515452717      4/22/2012        15:49:52
84027      9515453813      4/13/2012        13:26:01
84028      9515458003      5/2/2012         13:17:23
84029      9515509727      7/30/2012        13:21:02
84030      9515509779      7/11/2012        17:17:42
84031      9515512515      10/13/2011       10:32:57
84032      9515512662      12/7/2011        17:53:40
84033      9515513427      2/14/2012        10:11:40
84034      9515517076      1/8/2012         15:24:06
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84035      9515524219      2/24/2012        20:57:47
84036      9515534543      12/16/2011       16:43:29
84037      9515667228      2/17/2012        18:15:35
84038      9515670852      12/23/2011       15:17:53
84039      9515671288      10/4/2011        13:31:01
84040      9515674268      4/28/2012        10:20:04
84041      9515700111      10/24/2012       14:51:59
84042      9515700329      10/7/2012        13:16:53
84043      9515701325      8/29/2012        20:19:59
84044      9515702069      4/18/2012        18:02:10
84045      9515702257      2/6/2012         10:04:10
84046      9515708501      10/5/2012        12:22:15
84047      9515709378      2/24/2012        20:59:02
84048      9515756178      12/1/2011        10:29:53
84049      9515756297      10/8/2011        10:25:26
84050      9515757502      10/8/2011        12:31:23
84051      9515757724      2/9/2012         14:34:24
84052      9515790106      9/2/2011         11:32:49
84053      9515790299      12/5/2011        18:49:11
84054      9515798113      2/11/2012        11:23:26
84055      9515810777      12/8/2011        20:48:40
84056      9515813436      11/15/2011       20:10:55
84057      9515815824      7/17/2012        12:26:15
84058      9515816520      10/17/2011       10:50:40
84059      9515816917      2/11/2012        15:13:36
84060      9515817756      9/4/2012         16:01:14
84061      9515819442      9/18/2012        14:30:20
84062      9515875394      1/9/2012         18:19:24
84063      9515883417      6/15/2011        11:30:50
84064      9515913207      4/23/2012        20:37:59
84065      9516233099      4/14/2012        8:56:23
84066      9516235026      6/16/2012        15:07:10
84067      9516236960      9/8/2011         19:54:50
84068      9516340320      11/12/2011       11:00:17
84069      9516340320      5/2/2012         13:30:05
84070      9516341241      3/31/2012        22:33:37
84071      9516344586      10/14/2011       14:50:07
84072      9516348314      4/18/2012        17:53:17
84073      9516348352      1/23/2012        10:12:24
84074      9516400633      9/20/2012        14:46:34
84075      9516408535      8/3/2012         16:33:01
84076      9516408878      6/17/2011        15:58:07
84077      9516420577      10/1/2012        21:35:15
84078      9516426181      7/13/2012        18:30:56
84079      9516602289      12/7/2011        16:32:23
84080      9516602656      1/7/2012         10:19:18
84081      9516623034      9/4/2012         21:53:28
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84082      9516623034      9/19/2012        21:32:15
84083      9516627905      6/28/2012        14:17:15
84084      9516629089      11/7/2011        11:18:54
84085      9516632317      9/12/2012        15:19:59
84086      9516650798      7/13/2012        14:01:20
84087      9516652684      5/5/2012         12:24:45
84088      9516759493      4/22/2012        15:43:17
84089      9516812847      3/1/2012         17:36:10
84090      9516910692      9/23/2011        11:54:19
84091      9516912263      1/18/2012        16:45:48
84092      9516925703      10/1/2011        11:01:19
84093      9516926696      1/23/2012        10:13:21
84094      9516942748      9/9/2011         18:36:19
84095      9516942805      9/20/2011        18:52:05
84096      9516942805      9/23/2011        11:54:18
84097      9517040007      12/10/2011       14:05:24
84098      9517042420      10/28/2011       13:47:03
84099      9517042874      11/3/2011        18:03:20
84100      9517043846      11/14/2011       17:39:57
84101      9517044805      4/18/2012        17:53:09
84102      9517045085      1/16/2012        12:08:51
84103      9517045086      1/8/2012         16:48:42
84104      9517049030      10/18/2012       16:44:18
84105      9517049412      1/10/2012        18:10:22
84106      9517073136      12/29/2011       19:42:59
84107      9517196515      10/5/2011        14:53:30
84108      9517221287      3/15/2012        18:59:48
84109      9517226202      8/25/2011        18:30:33
84110      9517228951      6/11/2012        10:08:17
84111      9517290121      5/20/2011        18:17:45
84112      9517299404      8/7/2012         20:14:13
84113      9517321323      8/29/2011        18:23:57
84114      9517321619      9/13/2011        14:31:48
84115      9517321769      4/9/2012         17:56:38
84116      9517321788      5/29/2012        17:16:12
84117      9517322574      8/22/2012        21:44:05
84118      9517323701      1/10/2012        20:55:45
84119      9517323840      5/5/2012         12:28:59
84120      9517324540      3/2/2012         18:50:58
84121      9517324655      10/12/2012       21:26:25
84122      9517326150      4/25/2012        21:35:47
84123      9517326229      4/16/2011        15:44:52
84124      9517326514      9/26/2012        13:05:10
84125      9517330679      12/8/2011        20:48:00
84126      9517333610      12/30/2011       12:53:54
84127      9517339923      7/30/2012        13:21:42
84128      9517416091      10/1/2012        21:35:21
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84129      9517417639      9/27/2011        18:54:47
84130      9517417639      11/5/2011        10:28:34
84131      9517418670      5/19/2011        21:34:20
84132      9517421255      5/14/2012        15:24:17
84133      9517426267      9/23/2011        19:05:24
84134      9517426440      8/31/2012        16:31:57
84135      9517431664      8/25/2012        11:21:00
84136      9517432982      4/22/2012        15:49:52
84137      9517435280      2/7/2012         16:38:23
84138      9517437769      5/27/2011        17:17:17
84139      9517466215      8/31/2012        16:40:54
84140      9517502333      7/20/2012        15:02:23
84141      9517503061      9/24/2012        13:25:54
84142      9517516324      11/21/2011       11:00:34
84143      9517563551      1/9/2012         18:47:36
84144      9517567036      7/9/2011         10:09:46
84145      9517568112      1/16/2012        17:19:51
84146      9517573103      11/15/2011       15:55:36
84147      9517646705      1/20/2012        20:31:50
84148      9517750940      12/26/2011       21:54:56
84149      9517751703      2/19/2012        20:11:19
84150      9517753145      5/23/2012        16:33:01
84151      9517754767      6/22/2012        20:58:57
84152      9517755319      12/23/2011       13:42:12
84153      9517755831      12/21/2011       19:59:46
84154      9517756508      3/28/2011        15:49:10
84155      9517757733      12/20/2011       19:41:03
84156      9517907346      3/23/2012        19:56:58
84157      9517908384      11/12/2011       11:07:07
84158      9517952297      12/5/2011        10:19:19
84159      9517953571      2/9/2012         14:32:18
84160      9517963835      10/25/2011       16:39:29
84161      9517965831      2/6/2012         17:24:28
84162      9517965934      8/25/2012        11:00:15
84163      9517967549      4/21/2012        10:08:13
84164      9517967852      11/16/2011       20:10:26
84165      9517969698      10/11/2012       18:37:06
84166      9518011473      2/28/2012        13:23:50
84167      9518051788      10/17/2011       10:33:42
84168      9518053248      11/8/2011        14:48:02
84169      9518053891      4/23/2012        13:13:59
84170      9518054513      4/30/2012        14:39:32
84171      9518075363      11/7/2013        11:02:15
84172      9518080451      8/25/2012        11:20:51
84173      9518091053      11/29/2011       15:14:08
84174      9518098815      6/3/2011         17:11:01
84175      9518135646      10/13/2011       10:33:46
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84176      9518139658      5/22/2012        11:39:39
84177      9518180807      12/15/2011       10:16:33
84178      9518211623      4/2/2012         12:55:33
84179      9518211623      4/16/2012        10:09:30
84180      9518211623      7/3/2012         14:03:29
84181      9518211923      5/29/2012        11:00:12
84182      9518232083      4/2/2012         17:44:33
84183      9518233702      8/3/2012         16:36:56
84184      9518244558      6/6/2012         21:20:41
84185      9518306750      10/7/2011        10:18:43
84186      9518333867      6/14/2012        16:08:44
84187      9518335402      2/25/2012        10:46:19
84188      9518338650      6/18/2011        15:38:55
84189      9518343104      5/9/2011         17:43:56
84190      9518344392      2/9/2012         14:35:07
84191      9518344392      3/15/2012        19:00:40
84192      9518376835      9/21/2011        11:37:47
84193      9518379929      10/3/2012        19:50:42
84194      9518500848      9/19/2012        21:28:18
84195      9518501540      3/15/2012        13:48:10
84196      9518503175      12/26/2011       20:14:15
84197      9518505257      2/7/2012         20:23:00
84198      9518526008      10/8/2011        12:16:36
84199      9518584858      3/10/2012        8:35:13
84200      9518587443      10/15/2011       10:06:11
84201      9518670171      12/10/2011       14:53:25
84202      9518671269      1/18/2014        15:31:19
84203      9518672904      7/15/2011        17:58:08
84204      9518678092      10/17/2012       18:45:50
84205      9518700375      1/16/2012        12:06:00
84206      9518803207      1/6/2012         15:04:14
84207      9518808369      9/28/2011        11:27:13
84208      9518929339      3/18/2011        11:53:28
84209      9518938847      1/27/2012        12:03:59
84210      9518977354      10/22/2011       13:22:31
84211      9518979232      10/6/2011        18:05:44
84212      9518979232      5/11/2012        18:38:16
84213      9519020863      11/29/2011       16:21:27
84214      9519021863      10/7/2011        10:17:49
84215      9519029465      2/3/2012         20:14:00
84216      9519050244      10/13/2011       9:34:24
84217      9519061949      3/3/2012         10:40:39
84218      9519061963      3/12/2012        11:10:58
84219      9519064125      2/2/2012         21:01:33
84220      9519064432      2/11/2012        10:58:08
84221      9519065863      10/4/2011        13:30:35
84222      9519077428      9/26/2012        14:37:20
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84223      9519564868      5/17/2012        17:00:01
84224      9519565095      10/24/2012       21:15:02
84225      9519566258      11/18/2011       12:32:30
84226      9519566758      9/14/2011        16:57:34
84227      9519566758      9/21/2011        19:31:31
84228      9519566850      4/6/2012         15:59:43
84229      9519566914      5/7/2012         21:41:57
84230      9519567375      5/7/2012         15:01:33
84231      9519568516      6/15/2012        16:39:27
84232      9519651645      1/27/2012        18:08:47
84233      9519654615      8/30/2012        17:38:22
84234      9519655701      9/19/2011        19:36:37
84235      9519658993      1/24/2012        17:09:09
84236      9519664620      11/30/2011       13:04:50
84237      9519665500      11/15/2011       16:00:12
84238      9519665890      10/15/2011       11:14:01
84239      9519667922      11/22/2011       19:48:53
84240      9519704612      9/17/2011        10:09:08
84241      9519709235      5/28/2012        10:48:58
84242      9519732914      9/19/2011        14:51:18
84243      9519902181      4/13/2012        20:48:19
84244      9519904504      5/18/2012        12:20:20
84245      9519927026      8/30/2012        17:38:52
84246      9519928087      10/13/2011       10:33:42
84247      9519928813      10/6/2011        18:00:37
84248      9519997526      9/14/2011        21:31:36
84249      9522126057      9/21/2011        19:30:12
84250      9522503168      9/26/2011        9:52:02
84251      9523807431      12/20/2011       15:10:00
84252      9524655205      1/12/2012        14:16:58
84253      9524657766      7/12/2012        19:54:09
84254      9527381315      6/22/2012        20:58:14
84255      9529941940      3/25/2012        11:47:05
84256      9542000344      8/24/2011        11:43:42
84257      9542000854      3/13/2012        18:34:53
84258      9542002120      2/28/2012        13:03:47
84259      9542002318      10/1/2011        10:13:50
84260      9542004203      7/16/2012        19:46:26
84261      9542005079      10/8/2011        9:17:07
84262      9542055658      5/23/2012        15:26:58
84263      9542134710      10/8/2011        11:14:25
84264      9542134710      11/3/2011        17:45:56
84265      9542134824      11/7/2011        7:29:33
84266      9542134840      3/14/2012        19:42:38
84267      9542137147      9/3/2012         14:28:14
84268      9542142521      3/13/2012        18:37:33
84269      9542143284      10/10/2012       19:09:32
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84270      9542148721      9/28/2012        17:05:18
84271      9542180792      9/27/2012        16:27:22
84272      9542260231      10/22/2011       12:26:53
84273      9542261064      10/13/2011       7:09:06
84274      9542261732      9/22/2011        15:12:24
84275      9542261837      4/3/2012         10:03:00
84276      9542263177      7/11/2011        7:22:40
84277      9542263500      12/21/2011       9:52:36
84278      9542328658      8/25/2011        17:49:29
84279      9542329157      10/8/2012        20:08:30
84280      9542340962      10/23/2012       16:24:23
84281      9542349099      9/16/2011        12:53:04
84282      9542350664      3/12/2012        19:06:49
84283      9542352234      10/17/2012       18:35:29
84284      9542406281      7/12/2012        19:51:12
84285      9542408795      5/20/2012        15:25:20
84286      9542420671      9/19/2011        7:14:04
84287      9542434058      10/10/2011       11:40:19
84288      9542434082      9/24/2011        9:14:03
84289      9542436943      4/6/2012         15:37:16
84290      9542439029      9/19/2011        7:27:22
84291      9542439029      10/13/2011       7:26:20
84292      9542439029      12/29/2011       18:17:14
84293      9542439618      9/28/2011        10:50:41
84294      9542451413      11/17/2011       16:23:17
84295      9542451847      7/14/2011        15:50:06
84296      9542452419      10/15/2011       10:26:57
84297      9542455128      10/3/2012        7:04:13
84298      9542456855      10/5/2012        18:27:56
84299      9542456988      2/11/2012        15:04:02
84300      9542457491      11/1/2011        8:17:19
84301      9542457550      9/9/2011         7:47:34
84302      9542457694      6/16/2012        8:41:50
84303      9542458244      6/11/2012        17:45:59
84304      9542458285      6/28/2012        7:04:55
84305      9542458478      8/25/2011        17:49:44
84306      9542458478      10/4/2011        13:40:18
84307      9542459364      11/14/2011       16:38:16
84308      9542496634      12/20/2011       19:34:45
84309      9542497410      5/16/2011        19:28:45
84310      9542532397      2/3/2012         7:07:37
84311      9542532397      2/14/2012        9:59:22
84312      9542532831      12/7/2011        13:54:16
84313      9542532831      8/25/2012        11:02:57
84314      9542541301      7/14/2011        15:37:00
84315      9542544746      10/8/2011        9:12:37
84316      9542570452      1/19/2012        7:47:23
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84317      9542576450      8/11/2011        9:27:26
84318      9542577747      11/9/2011        7:31:29
84319      9542581807      12/3/2011        8:53:32
84320      9542582948      4/3/2012         10:16:17
84321      9542587808      9/19/2011        7:19:24
84322      9542588368      11/16/2011       8:40:33
84323      9542601688      3/6/2012         12:40:40
84324      9542608315      10/8/2011        10:53:37
84325      9542608527      9/8/2011         19:40:19
84326      9542619486      7/25/2012        12:03:59
84327      9542638257      9/20/2011        17:16:54
84328      9542639487      9/22/2011        15:46:42
84329      9542669003      6/7/2012         7:18:38
84330      9542669199      11/28/2011       17:39:42
84331      9542669243      4/11/2012        19:30:08
84332      9542740772      11/18/2011       12:18:13
84333      9542742948      8/21/2012        13:50:59
84334      9542744497      1/11/2012        7:41:22
84335      9542744696      5/4/2012         14:42:44
84336      9542745684      9/18/2012        14:17:16
84337      9542746637      1/29/2012        16:30:37
84338      9542747128      8/31/2011        10:19:43
84339      9542747568      2/11/2012        10:36:45
84340      9542748811      4/9/2012         7:05:20
84341      9542748811      5/30/2012        12:48:39
84342      9542748811      6/18/2012        15:20:06
84343      9542749077      8/12/2012        13:45:25
84344      9542749294      2/9/2012         7:03:43
84345      9542751612      3/16/2012        10:13:35
84346      9542757126      11/23/2011       9:57:49
84347      9542757284      10/5/2011        14:37:52
84348      9542798623      9/17/2012        12:07:31
84349      9542880146      6/23/2012        16:20:14
84350      9542883797      5/4/2012         7:29:47
84351      9542885904      10/14/2011       13:14:08
84352      9542886358      6/8/2012         19:41:58
84353      9542888401      10/24/2011       7:02:52
84354      9542888479      12/2/2011        7:50:19
84355      9542901122      11/17/2011       15:29:02
84356      9542906815      9/9/2011         7:51:54
84357      9542906815      11/19/2011       8:41:30
84358      9542920131      3/16/2012        16:01:59
84359      9542921276      6/4/2012         8:29:27
84360      9542921442      3/29/2012        16:39:54
84361      9542925602      9/10/2011        8:27:49
84362      9542927679      9/20/2011        16:32:08
84363      9542941388      9/19/2011        7:17:42
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84364      9542941388      9/28/2011        11:10:06
84365      9542956035      10/4/2011        13:10:26
84366      9542961555      9/22/2011        15:15:33
84367      9542962606      9/22/2011        15:55:04
84368      9542962964      5/11/2011        16:55:23
84369      9542966613      10/8/2011        9:42:00
84370      9542968995      8/16/2012        19:51:31
84371      9542970616      1/18/2012        9:50:01
84372      9542972573      11/17/2011       16:15:20
84373      9542972814      12/20/2011       19:22:12
84374      9542973169      8/30/2011        17:10:01
84375      9542974009      6/7/2012         18:20:59
84376      9542975367      2/28/2012        16:02:30
84377      9542975618      4/4/2012         18:49:50
84378      9542977668      8/5/2011         17:39:43
84379      9542977668      10/15/2011       10:17:16
84380      9542979010      10/18/2011       12:50:26
84381      9542986221      10/19/2011       8:16:44
84382      9542989205      10/3/2011        7:20:56
84383      9542989554      12/19/2011       7:23:01
84384      9542989811      9/28/2011        11:01:52
84385      9543033771      9/12/2011        13:51:46
84386      9543059296      2/9/2012         7:16:10
84387      9543178565      3/14/2012        7:02:19
84388      9543190728      7/9/2012         8:48:55
84389      9543195300      6/30/2012        8:24:59
84390      9543252769      2/7/2012         20:19:51
84391      9543262251      12/29/2011       18:39:12
84392      9543264592      11/2/2011        7:18:09
84393      9543280649      12/28/2011       17:44:39
84394      9543284773      5/14/2012        15:26:29
84395      9543301279      1/2/2012         12:04:27
84396      9543303082      10/4/2011        13:42:43
84397      9543304280      6/19/2012        15:40:53
84398      9543304851      3/23/2012        19:10:40
84399      9543360955      11/7/2011        7:16:58
84400      9543366341      6/9/2012         14:56:06
84401      9543454744      4/11/2012        13:18:37
84402      9543477594      1/12/2012        14:01:09
84403      9543478906      1/18/2012        9:48:57
84404      9543483081      10/3/2011        7:33:22
84405      9543696440      10/10/2011       11:47:57
84406      9543802243      10/3/2012        19:46:49
84407      9543819826      2/28/2012        16:02:27
84408      9543838107      7/5/2012         15:36:50
84409      9543898143      12/2/2013        12:27:54
84410      9543910345      10/5/2011        13:59:48
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84411      9543910379      10/1/2011        10:15:38
84412      9543911051      11/14/2011       14:29:54
84413      9543911478      1/23/2012        18:56:02
84414      9543912060      11/23/2011       9:08:04
84415      9543912060      2/17/2012        8:58:22
84416      9543913067      9/22/2012        9:34:54
84417      9543932106      5/28/2012        8:14:27
84418      9543932205      10/25/2011       15:19:29
84419      9543934749      8/13/2012        7:36:47
84420      9543940056      10/22/2012       7:08:31
84421      9543940338      2/21/2012        9:40:24
84422      9543940673      1/16/2012        17:08:20
84423      9543941819      1/16/2012        7:05:25
84424      9543943318      2/2/2012         7:14:00
84425      9543945820      4/7/2012         9:09:33
84426      9543946503      10/5/2011        14:32:19
84427      9543947200      9/10/2011        9:01:31
84428      9543948115      9/7/2011         14:38:30
84429      9543949363      11/26/2011       12:26:43
84430      9543949901      3/29/2012        11:15:23
84431      9543972518      12/29/2011       18:09:50
84432      9544010164      4/11/2012        7:10:26
84433      9544040392      11/23/2011       9:25:49
84434      9544040580      1/19/2012        7:22:56
84435      9544044509      10/15/2011       9:56:57
84436      9544044509      1/29/2012        15:52:39
84437      9544106471      8/19/2011        12:18:40
84438      9544107202      9/14/2011        10:52:01
84439      9544151921      11/29/2013       9:27:28
84440      9544152075      9/19/2011        19:05:31
84441      9544321250      3/26/2012        18:37:55
84442      9544399881      3/10/2012        8:29:17
84443      9544399881      3/27/2012        15:02:59
84444      9544440268      10/12/2012       16:40:10
84445      9544441187      9/8/2011         19:28:15
84446      9544441304      4/11/2012        7:14:43
84447      9544441304      5/21/2012        7:05:48
84448      9544441304      6/15/2012        16:35:49
84449      9544441304      7/2/2012         15:11:41
84450      9544443212      5/25/2012        17:08:14
84451      9544447157      6/23/2012        15:55:36
84452      9544447820      9/8/2011         19:23:27
84453      9544451890      12/9/2011        7:53:20
84454      9544453991      3/8/2012         7:06:36
84455      9544453991      5/21/2012        7:04:17
84456      9544455158      10/11/2011       16:01:15
84457      9544458046      10/1/2012        13:44:20
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84458      9544464201      4/2/2012         7:46:29
84459      9544486818      8/8/2012         16:18:23
84460      9544489399      11/15/2011       15:23:59
84461      9544495861      6/14/2012        15:48:55
84462      9544610329      1/18/2012        16:35:31
84463      9544611900      9/2/2011         12:40:19
84464      9544615215      4/5/2012         15:50:02
84465      9544617098      10/18/2012       7:10:48
84466      9544619875      10/7/2011        7:25:22
84467      9544641508      12/28/2011       18:10:30
84468      9544643558      11/29/2011       16:06:12
84469      9544645747      9/12/2011        13:57:08
84470      9544645985      10/29/2011       11:16:01
84471      9544645993      7/26/2012        11:50:36
84472      9544647221      2/10/2012        7:16:51
84473      9544647654      7/17/2012        7:07:26
84474      9544648244      7/27/2011        17:38:04
84475      9544648244      3/13/2012        16:35:41
84476      9544648948      5/25/2011        16:48:34
84477      9544649911      9/1/2012         9:20:30
84478      9544651166      10/12/2011       7:34:30
84479      9544651787      4/16/2012        15:46:46
84480      9544653553      3/21/2012        13:54:00
84481      9544655820      12/28/2011       7:27:21
84482      9544656539      8/27/2011        9:21:30
84483      9544657685      7/15/2011        17:23:21
84484      9544658798      10/1/2011        10:22:00
84485      9544658944      12/16/2011       16:07:55
84486      9544715778      10/25/2012       12:09:33
84487      9544716511      11/18/2011       12:50:41
84488      9544785336      3/26/2012        18:37:10
84489      9544785623      2/24/2011        11:38:09
84490      9544790437      10/5/2011        14:03:12
84491      9544790437      10/17/2011       7:12:03
84492      9544790467      6/5/2012         7:05:23
84493      9544790467      6/16/2012        7:42:17
84494      9544792084      3/15/2012        19:00:56
84495      9544792582      6/5/2012         19:51:40
84496      9544792820      2/1/2012         18:33:29
84497      9544794740      9/21/2011        11:48:18
84498      9544796379      9/17/2011        9:49:48
84499      9544797134      12/19/2011       7:25:43
84500      9544807966      2/25/2012        10:55:10
84501      9544830964      11/15/2011       15:15:04
84502      9544836445      9/19/2011        7:08:28
84503      9544838723      11/23/2011       14:33:34
84504      9544940390      4/5/2012         14:20:58
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                                   #:13650

84505      9544943310      9/28/2011        10:04:26
84506      9544943705      1/27/2012        9:32:05
84507      9544947363      3/21/2012        13:47:28
84508      9544948553      6/9/2012         15:12:11
84509      9544950742      6/15/2012        8:41:07
84510      9544963000      4/21/2012        8:36:08
84511      9544964975      4/24/2012        12:04:05
84512      9544965052      7/2/2012         18:51:53
84513      9544965528      3/15/2012        19:00:46
84514      9544965870      11/29/2011       16:06:40
84515      9544966276      9/26/2011        8:22:08
84516      9545015607      12/13/2011       17:06:18
84517      9545019904      11/7/2011        8:33:58
84518      9545043217      10/11/2011       16:49:31
84519      9545043217      10/18/2011       7:14:05
84520      9545128795      1/18/2012        9:43:55
84521      9545130127      9/21/2011        11:28:58
84522      9545135266      12/12/2011       12:06:19
84523      9545135992      1/6/2012         13:04:32
84524      9545139104      9/29/2011        15:43:41
84525      9545139291      10/14/2011       13:17:27
84526      9545139888      6/22/2012        7:12:59
84527      9545156642      11/22/2011       18:23:34
84528      9545156682      5/11/2012        7:27:17
84529      9545156934      9/10/2011        8:27:46
84530      9545159505      10/25/2011       15:03:28
84531      9545202046      9/8/2011         18:31:37
84532      9545291338      10/17/2012       9:40:05
84533      9545294453      12/9/2011        15:22:46
84534      9545294786      9/13/2011        17:19:56
84535      9545314828      11/7/2011        7:27:42
84536      9545317311      10/2/2012        7:35:59
84537      9545343039      10/10/2011       12:21:36
84538      9545345934      12/17/2011       11:21:42
84539      9545346033      12/1/2011        8:12:15
84540      9545346140      6/16/2012        8:44:32
84541      9545346968      4/3/2012         10:10:33
84542      9545360182      4/5/2012         14:30:33
84543      9545369438      12/23/2011       15:28:46
84544      9545369438      10/10/2012       19:15:44
84545      9545400799      9/12/2011        13:57:49
84546      9545403878      4/4/2012         18:46:01
84547      9545403879      10/7/2011        7:22:11
84548      9545409026      2/13/2012        18:45:23
84549      9545432591      10/25/2012       12:11:25
84550      9545433147      9/20/2011        16:33:09
84551      9545481199      12/7/2011        14:37:08
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84552      9545481529      7/16/2012        7:08:44
84553      9545481900      10/14/2011       13:17:38
84554      9545481999      1/25/2012        9:13:09
84555      9545484162      10/1/2012        8:12:22
84556      9545484189      9/10/2011        9:00:17
84557      9545485341      2/6/2012         7:12:40
84558      9545485899      5/16/2012        17:02:43
84559      9545486012      9/8/2011         17:59:11
84560      9545487072      4/19/2012        7:29:55
84561      9545487336      5/3/2012         7:14:09
84562      9545489062      1/14/2012        13:20:04
84563      9545489633      8/14/2012        11:47:16
84564      9545489709      2/11/2012        10:40:53
84565      9545490721      9/15/2011        7:21:18
84566      9545490733      10/25/2011       16:01:00
84567      9545493429      4/29/2012        16:43:42
84568      9545493906      10/17/2011       8:18:16
84569      9545494834      5/19/2012        9:37:39
84570      9545494840      6/29/2012        9:37:31
84571      9545495793      7/14/2012        8:07:44
84572      9545497157      9/1/2011         8:34:28
84573      9545498317      10/24/2011       7:24:07
84574      9545499458      4/24/2012        12:07:35
84575      9545511559      4/5/2012         14:31:01
84576      9545515155      12/20/2011       19:33:48
84577      9545525345      4/11/2012        19:30:46
84578      9545527329      7/9/2012         7:16:35
84579      9545530389      10/7/2011        7:16:47
84580      9545533511      4/16/2012        7:17:01
84581      9545533511      5/2/2012         13:22:56
84582      9545547894      9/10/2011        8:11:00
84583      9545575720      10/3/2011        7:50:38
84584      9545575720      11/5/2011        11:16:09
84585      9545582371      9/29/2011        15:36:45
84586      9545583737      7/13/2011        11:23:35
84587      9545584619      2/17/2012        18:20:53
84588      9545585158      2/28/2012        7:41:53
84589      9545588555      12/1/2011        8:12:57
84590      9545590968      1/19/2012        7:38:36
84591      9545591869      3/7/2012         7:17:28
84592      9545592363      9/21/2012        18:53:03
84593      9545600199      4/24/2012        12:20:45
84594      9545603725      11/14/2011       16:55:26
84595      9545605162      10/28/2011       13:54:36
84596      9545605931      5/23/2012        16:55:15
84597      9545607118      9/8/2011         19:24:36
84598      9545620549      10/29/2011       11:16:53
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84599      9545622483      11/22/2011       19:04:54
84600      9545626862      9/14/2011        7:09:53
84601      9545626862      12/9/2011        15:51:38
84602      9545628781      2/1/2012         8:17:01
84603      9545733656      11/16/2011       8:55:41
84604      9545735696      9/21/2011        11:47:19
84605      9545735696      2/3/2012         7:21:40
84606      9545880953      6/5/2012         19:47:44
84607      9545881410      1/4/2012         12:21:13
84608      9545881680      3/6/2012         17:11:46
84609      9545882032      10/15/2011       10:12:35
84610      9545882303      5/9/2012         8:14:09
84611      9545883966      10/25/2012       19:32:21
84612      9545884085      11/14/2011       16:54:42
84613      9545884712      7/6/2012         16:51:41
84614      9545884965      6/29/2012        17:49:56
84615      9545885978      9/8/2011         17:54:57
84616      9545887766      2/18/2012        8:50:57
84617      9545888294      9/20/2011        16:39:01
84618      9545888901      6/18/2012        15:07:17
84619      9545889510      12/9/2011        15:56:02
84620      9545910838      5/3/2012         7:07:26
84621      9545910868      4/10/2012        16:06:47
84622      9545911464      1/9/2012         18:33:21
84623      9545911621      11/4/2011        7:18:50
84624      9545917776      12/2/2011        7:44:05
84625      9545922019      12/27/2011       14:32:43
84626      9545925302      12/16/2011       12:53:39
84627      9545931127      10/14/2011       13:23:37
84628      9545933598      11/17/2011       16:22:30
84629      9545933619      7/16/2012        7:11:36
84630      9545981627      6/1/2011         11:44:30
84631      9545982978      4/1/2011         11:55:03
84632      9545985650      10/12/2011       7:37:53
84633      9545990673      10/13/2011       7:25:37
84634      9546003465      9/7/2012         15:46:31
84635      9546005995      5/17/2012        7:03:13
84636      9546005995      5/21/2012        7:33:45
84637      9546008288      11/14/2011       16:13:24
84638      9546017399      2/24/2011        11:32:26
84639      9546017626      10/1/2011        9:35:03
84640      9546017778      12/18/2011       17:12:53
84641      9546017890      4/12/2012        14:55:25
84642      9546040395      6/9/2012         11:08:09
84643      9546044811      10/5/2012        12:22:27
84644      9546045059      12/5/2011        9:09:04
84645      9546045230      10/18/2011       12:43:24
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                                   #:13653

84646      9546045763      3/28/2012        18:25:48
84647      9546047000      9/28/2012        7:34:35
84648      9546048548      12/1/2011        15:16:41
84649      9546070387      1/17/2012        18:30:08
84650      9546070387      7/16/2012        19:37:04
84651      9546070478      7/30/2012        13:25:35
84652      9546078884      6/8/2012         7:31:31
84653      9546079154      9/28/2011        10:54:59
84654      9546079345      9/21/2012        15:28:20
84655      9546081088      5/29/2012        17:13:23
84656      9546081983      5/31/2012        15:00:01
84657      9546083824      2/11/2012        11:04:49
84658      9546083871      1/23/2012        7:12:50
84659      9546086413      10/10/2012       12:58:28
84660      9546088061      6/21/2012        18:19:24
84661      9546105939      11/15/2011       15:11:41
84662      9546107607      11/26/2011       13:01:03
84663      9546108254      4/18/2012        17:56:21
84664      9546121764      9/23/2011        11:38:25
84665      9546121764      10/4/2011        13:14:24
84666      9546126866      5/25/2012        8:12:20
84667      9546145700      9/21/2012        18:41:11
84668      9546146011      10/4/2011        13:08:27
84669      9546146154      9/21/2011        11:40:00
84670      9546147158      1/29/2012        16:20:14
84671      9546147518      9/15/2011        7:17:18
84672      9546157296      10/17/2011       7:11:36
84673      9546157314      9/27/2011        18:11:17
84674      9546158017      3/30/2012        16:06:55
84675      9546242626      1/17/2012        18:40:42
84676      9546242718      9/8/2011         19:24:44
84677      9546242926      1/9/2012         7:14:54
84678      9546245248      9/15/2011        7:10:48
84679      9546245571      11/12/2011       10:24:00
84680      9546245967      11/14/2011       16:23:50
84681      9546245967      3/7/2012         18:51:14
84682      9546255347      8/8/2012         16:06:45
84683      9546255422      10/25/2012       19:33:02
84684      9546259652      12/7/2011        13:44:02
84685      9546282810      12/20/2011       19:21:35
84686      9546290167      2/25/2012        10:58:35
84687      9546290709      5/1/2012         17:42:21
84688      9546296247      11/8/2011        13:44:05
84689      9546296857      8/27/2011        11:36:37
84690      9546299911      9/10/2011        9:01:29
84691      9546299916      8/9/2012         14:08:46
84692      9546299916      10/11/2012       12:05:58
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84693      9546321998      6/21/2011        13:52:07
84694      9546322144      2/28/2012        15:49:18
84695      9546324210      11/23/2011       14:49:42
84696      9546324531      8/3/2012         7:25:59
84697      9546380103      7/19/2012        7:51:03
84698      9546380168      12/8/2011        11:31:30
84699      9546381436      8/6/2012         14:41:21
84700      9546381524      7/25/2012        11:56:21
84701      9546381524      8/2/2012         11:29:20
84702      9546381531      1/12/2012        14:26:48
84703      9546382300      11/18/2011       12:38:18
84704      9546382625      9/28/2011        10:07:07
84705      9546384127      2/11/2012        11:06:55
84706      9546388627      2/6/2012         7:27:47
84707      9546426092      6/27/2012        18:04:12
84708      9546426449      9/13/2011        18:39:19
84709      9546432032      4/11/2012        19:28:42
84710      9546435653      9/20/2012        7:04:01
84711      9546435653      10/13/2012       9:03:57
84712      9546436798      4/18/2012        17:55:32
84713      9546439226      1/11/2012        7:28:53
84714      9546442983      11/10/2011       7:02:08
84715      9546463288      5/11/2012        7:29:44
84716      9546467397      11/26/2011       12:32:56
84717      9546471016      3/14/2012        19:24:25
84718      9546473870      3/27/2012        14:52:28
84719      9546477679      9/13/2011        17:37:50
84720      9546492540      10/12/2011       8:29:13
84721      9546493215      11/16/2011       9:23:35
84722      9546494998      12/18/2011       17:09:47
84723      9546495344      10/1/2011        10:38:34
84724      9546495828      5/23/2012        14:52:39
84725      9546500662      5/9/2012         8:05:13
84726      9546503343      3/27/2012        7:03:14
84727      9546517530      3/10/2012        8:30:23
84728      9546528631      9/29/2011        15:04:09
84729      9546528716      10/29/2011       10:39:38
84730      9546553609      12/6/2011        14:06:41
84731      9546559195      9/10/2011        8:14:20
84732      9546571335      1/16/2012        17:08:53
84733      9546573034      1/31/2012        7:03:30
84734      9546587379      8/17/2012        7:06:09
84735      9546598723      10/6/2011        16:08:01
84736      9546610129      10/11/2011       17:09:13
84737      9546610282      11/21/2011       7:34:15
84738      9546611480      2/17/2012        18:17:47
84739      9546613355      10/7/2011        7:22:41
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84740      9546613355      10/12/2011       11:31:17
84741      9546613356      9/29/2011        15:39:59
84742      9546613356      10/17/2011       7:53:46
84743      9546614278      3/26/2012        18:34:24
84744      9546616181      5/11/2012        7:09:25
84745      9546621468      12/20/2011       19:19:40
84746      9546622946      11/3/2011        17:08:16
84747      9546625221      2/4/2012         8:44:16
84748      9546625569      5/22/2012        18:47:39
84749      9546627628      3/10/2012        9:01:12
84750      9546631838      7/13/2012        7:45:19
84751      9546633110      7/28/2011        10:15:40
84752      9546633579      10/12/2011       7:27:51
84753      9546634011      9/29/2011        15:30:52
84754      9546634043      7/12/2012        7:09:29
84755      9546634672      8/2/2012         11:28:08
84756      9546636726      1/20/2012        11:30:16
84757      9546636726      3/17/2012        10:39:36
84758      9546651962      1/3/2012         11:10:20
84759      9546653303      10/21/2011       12:36:59
84760      9546655176      3/16/2012        10:10:27
84761      9546656346      10/17/2012       18:35:19
84762      9546672645      10/12/2012       16:34:02
84763      9546672654      4/26/2012        13:38:43
84764      9546674122      9/26/2011        8:15:42
84765      9546674122      11/17/2011       16:22:27
84766      9546675368      4/9/2012         18:10:12
84767      9546675683      9/8/2012         11:08:26
84768      9546681202      3/26/2012        19:22:31
84769      9546683858      3/2/2012         18:56:30
84770      9546733775      10/10/2012       12:44:46
84771      9546735525      7/16/2012        7:16:48
84772      9546738784      9/16/2011        13:17:16
84773      9546739487      3/7/2012         7:11:29
84774      9546757641      10/15/2012       16:11:02
84775      9546757868      1/31/2012        7:08:13
84776      9546788790      10/3/2012        19:59:22
84777      9546817090      3/21/2012        13:35:50
84778      9546826025      2/1/2012         8:16:42
84779      9546827766      4/18/2012        7:06:48
84780      9546827766      5/21/2012        7:06:14
84781      9546837638      12/9/2011        15:52:31
84782      9546842047      7/19/2012        17:38:05
84783      9546847776      11/28/2011       17:32:53
84784      9546848538      12/13/2011       17:36:45
84785      9546872284      9/8/2011         19:26:48
84786      9546872434      9/24/2012        12:51:52
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84787      9546872901      7/11/2011        7:04:10
84788      9546873534      12/19/2011       7:25:45
84789      9546876094      3/14/2012        19:40:19
84790      9546876268      9/19/2011        19:29:39
84791      9546876757      10/18/2012       16:29:53
84792      9546924363      12/22/2011       8:25:02
84793      9546952466      11/30/2011       14:52:09
84794      9546960805      9/21/2011        11:41:37
84795      9546962857      12/29/2011       19:16:01
84796      9546963838      11/14/2011       14:16:44
84797      9546964051      5/17/2012        16:37:59
84798      9546964753      3/6/2012         12:45:40
84799      9546964861      3/12/2012        7:10:37
84800      9546965328      10/19/2011       7:47:14
84801      9546966536      11/9/2011        7:43:43
84802      9546966536      5/21/2012        7:22:19
84803      9546966589      3/20/2012        9:26:26
84804      9546966827      1/4/2012         11:13:46
84805      9546966981      10/1/2011        11:01:03
84806      9546969731      3/2/2012         18:59:43
84807      9546993473      9/13/2012        7:40:55
84808      9547012770      9/21/2012        15:35:17
84809      9547012773      10/10/2012       19:04:48
84810      9547071726      3/7/2012         18:37:21
84811      9547073555      10/11/2011       16:59:36
84812      9547080214      2/20/2012        16:47:54
84813      9547080442      7/30/2011        8:38:53
84814      9547083017      9/28/2012        16:43:25
84815      9547083190      9/21/2011        11:41:38
84816      9547083239      10/14/2011       13:14:27
84817      9547083319      10/13/2012       9:02:20
84818      9547083724      7/21/2011        7:21:11
84819      9547083724      9/17/2011        9:21:59
84820      9547084689      11/22/2011       19:25:13
84821      9547084689      12/2/2011        15:22:15
84822      9547085038      10/21/2011       12:33:17
84823      9547085141      6/28/2012        14:12:54
84824      9547085264      10/25/2011       16:00:43
84825      9547085296      12/12/2011       12:22:22
84826      9547086332      9/12/2012        7:50:18
84827      9547087752      4/21/2012        16:52:23
84828      9547089071      9/27/2011        18:32:57
84829      9547089131      3/27/2012        15:36:48
84830      9547091119      9/27/2011        18:09:00
84831      9547091518      7/2/2012         15:31:18
84832      9547094207      12/10/2011       12:54:45
84833      9547095653      3/15/2011        12:28:16
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84834      9547098041      12/8/2011        12:01:44
84835      9547098550      10/17/2012       9:35:24
84836      9547276918      3/7/2012         18:36:55
84837      9547291464      3/10/2012        8:39:32
84838      9547293237      1/7/2012         8:27:16
84839      9547296088      9/20/2012        7:08:14
84840      9547317878      2/13/2012        7:24:30
84841      9547321876      4/15/2012        16:40:05
84842      9547321876      5/1/2012         8:16:15
84843      9547322122      8/15/2012        7:49:47
84844      9547323390      3/14/2012        19:40:05
84845      9547325688      7/7/2012         9:58:18
84846      9547345356      8/24/2011        11:43:51
84847      9547400473      12/17/2011       13:46:38
84848      9547446152      12/1/2011        14:56:44
84849      9547446739      5/20/2011        17:40:57
84850      9547561031      1/14/2012        13:28:08
84851      9547561146      9/25/2012        15:26:26
84852      9547562867      11/22/2011       18:27:30
84853      9547564145      10/6/2011        16:21:41
84854      9547565793      10/10/2011       12:35:55
84855      9547591108      9/8/2011         18:23:35
84856      9547703259      11/28/2011       17:45:11
84857      9547735171      10/6/2011        16:17:50
84858      9547736526      11/26/2011       11:31:09
84859      9547754051      2/28/2012        7:44:48
84860      9547754051      7/31/2012        7:12:00
84861      9547781739      8/14/2012        15:29:35
84862      9547785441      6/2/2012         13:17:23
84863      9547786201      7/12/2012        19:52:49
84864      9547930271      12/20/2011       19:32:46
84865      9547930824      10/26/2011       12:00:12
84866      9547930916      7/26/2012        11:53:30
84867      9547931166      12/2/2011        7:56:29
84868      9547932031      9/28/2012        14:18:36
84869      9547932794      10/29/2011       11:22:21
84870      9547933790      1/11/2012        7:44:16
84871      9547938127      10/12/2011       8:24:51
84872      9547938488      5/26/2012        14:25:51
84873      9547938537      9/8/2011         19:29:50
84874      9547939637      11/18/2011       12:12:08
84875      9547939783      10/26/2011       11:57:21
84876      9547939800      10/29/2011       10:27:41
84877      9547981840      9/27/2011        18:08:49
84878      9547986365      6/26/2012        16:21:16
84879      9548012059      10/3/2011        7:06:51
84880      9548013331      2/11/2012        15:07:58
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84881      9548013622      3/26/2012        7:18:27
84882      9548017028      11/17/2011       16:14:51
84883      9548020430      10/19/2011       7:54:02
84884      9548027555      1/21/2012        11:20:02
84885      9548028195      11/10/2011       7:26:15
84886      9548032120      8/16/2011        16:32:07
84887      9548036837      9/19/2011        7:16:54
84888      9548036837      1/18/2012        11:16:15
84889      9548038428      9/19/2012        7:55:45
84890      9548055144      1/31/2012        7:01:44
84891      9548058035      8/14/2012        8:01:33
84892      9548058035      9/14/2012        21:10:19
84893      9548059124      9/22/2011        15:43:55
84894      9548059124      10/10/2011       12:23:49
84895      9548064924      1/27/2012        17:33:17
84896      9548098496      5/23/2011        15:41:13
84897      9548098654      12/29/2011       9:57:40
84898      9548156004      11/7/2011        7:18:49
84899      9548166783      10/17/2012       18:36:43
84900      9548168624      3/8/2014         8:15:38
84901      9548169622      8/1/2012         8:26:16
84902      9548176624      12/19/2011       7:25:54
84903      9548186153      10/4/2011        13:43:11
84904      9548186721      11/18/2011       13:29:33
84905      9548187337      9/9/2011         7:44:51
84906      9548187887      6/27/2012        17:55:27
84907      9548189000      8/6/2012         15:40:29
84908      9548189204      9/13/2012        7:39:55
84909      9548213216      10/17/2012       18:33:26
84910      9548213497      12/17/2011       11:31:32
84911      9548214957      12/18/2011       16:24:16
84912      9548216292      7/13/2012        18:25:25
84913      9548220117      3/13/2012        7:08:24
84914      9548220210      7/9/2011         8:41:48
84915      9548221004      8/31/2011        10:21:30
84916      9548222307      10/3/2011        7:14:32
84917      9548223257      4/14/2012        9:34:42
84918      9548223638      9/6/2012         12:31:31
84919      9548224884      2/25/2012        10:53:21
84920      9548227171      10/3/2012        9:21:22
84921      9548227383      9/19/2011        19:07:47
84922      9548228821      5/12/2012        10:28:43
84923      9548229282      10/6/2011        16:10:28
84924      9548251145      9/27/2012        7:32:45
84925      9548251583      9/19/2012        7:55:28
84926      9548256109      3/13/2012        18:34:42
84927      9548256422      10/6/2012        8:47:34
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84928      9548264279      11/18/2011       13:22:41
84929      9548264511      1/11/2012        16:26:51
84930      9548264968      7/16/2011        8:21:36
84931      9548265319      6/25/2012        13:24:07
84932      9548266437      10/8/2011        10:30:02
84933      9548266967      9/13/2011        17:26:49
84934      9548267629      2/11/2012        11:01:46
84935      9548290445      8/30/2012        17:39:22
84936      9548291861      3/13/2012        16:54:20
84937      9548298586      10/27/2011       16:32:27
84938      9548298586      12/14/2011       17:59:02
84939      9548298794      7/12/2012        10:34:03
84940      9548302040      8/28/2012        7:30:15
84941      9548319267      5/9/2011         16:36:40
84942      9548390524      6/7/2012         7:06:22
84943      9548394098      10/10/2012       19:19:18
84944      9548394469      5/31/2012        15:06:44
84945      9548395504      11/28/2011       16:52:37
84946      9548397938      1/19/2012        18:28:30
84947      9548492211      6/7/2012         18:23:16
84948      9548513959      12/1/2011        15:18:59
84949      9548515231      1/30/2012        7:11:57
84950      9548516542      12/6/2011        14:20:37
84951      9548540292      9/8/2011         19:29:28
84952      9548540770      6/4/2012         9:35:21
84953      9548541478      10/11/2012       7:56:15
84954      9548544104      10/7/2011        7:04:16
84955      9548561356      9/1/2012         9:15:57
84956      9548563535      3/14/2012        19:37:12
84957      9548564739      11/30/2011       7:22:18
84958      9548579581      9/14/2011        9:28:04
84959      9548579581      9/21/2011        19:29:03
84960      9548617160      8/16/2012        19:46:28
84961      9548617393      3/20/2012        9:00:27
84962      9548618808      1/5/2012         17:19:58
84963      9548618899      5/21/2012        7:24:05
84964      9548619532      6/29/2012        17:49:50
84965      9548640212      9/28/2011        10:48:00
84966      9548640391      1/12/2012        14:12:53
84967      9548640391      2/6/2012         17:11:13
84968      9548640683      3/23/2012        19:10:32
84969      9548648882      1/4/2012         11:12:59
84970      9548650037      9/8/2011         18:35:14
84971      9548650381      12/18/2011       17:10:38
84972      9548651132      10/26/2011       11:54:37
84973      9548651685      8/13/2012        7:35:26
84974      9548652047      3/7/2012         18:27:44
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84975      9548652228      8/20/2011        9:39:16
84976      9548652446      2/24/2011        11:27:52
84977      9548653893      9/28/2011        10:13:20
84978      9548654776      5/23/2012        14:50:01
84979      9548657134      10/4/2011        13:37:51
84980      9548657367      4/23/2012        7:16:53
84981      9548657953      8/15/2012        7:49:56
84982      9548658385      2/24/2011        11:21:56
84983      9548659562      10/1/2011        10:14:34
84984      9548659761      7/30/2012        13:29:38
84985      9548676637      11/4/2011        7:22:32
84986      9548676816      9/21/2011        11:40:43
84987      9548678431      3/28/2012        18:12:28
84988      9548678990      5/2/2012         13:22:11
84989      9548684789      8/6/2012         15:54:52
84990      9548711285      1/16/2012        17:11:48
84991      9548731289      12/5/2011        9:19:23
84992      9548816158      12/22/2011       9:29:29
84993      9548816158      2/10/2012        16:58:37
84994      9548820148      9/13/2012        7:35:32
84995      9548820248      5/2/2012         13:21:35
84996      9548820343      10/17/2011       8:23:02
84997      9548822858      3/7/2012         18:41:17
84998      9548827205      10/6/2011        16:10:01
84999      9548920509      12/2/2011        7:35:49
85000      9548927480      10/2/2012        12:48:49
85001      9548927480      10/15/2012       16:17:47
85002      9548956596      6/12/2012        17:10:24
85003      9548959983      3/16/2012        15:51:25
85004      9548997385      12/9/2011        15:48:49
85005      9549074355      6/15/2012        8:45:10
85006      9549075328      11/28/2011       11:57:32
85007      9549078684      4/2/2012         17:38:06
85008      9549145799      10/24/2011       7:14:22
85009      9549146954      6/1/2012         8:59:07
85010      9549148503      11/9/2011        7:31:15
85011      9549148503      5/21/2012        7:02:08
85012      9549204559      10/10/2011       11:35:49
85013      9549311403      11/29/2011       16:06:55
85014      9549315136      9/30/2011        12:08:33
85015      9549316261      10/11/2012       7:53:07
85016      9549317288      9/21/2011        19:33:59
85017      9549317783      2/2/2012         19:21:30
85018      9549319128      11/7/2011        7:47:37
85019      9549342661      9/19/2012        7:52:18
85020      9549342787      11/17/2011       15:06:15
85021      9549343299      7/23/2011        12:24:49
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85022      9549344568      3/29/2012        16:32:04
85023      9549344599      2/11/2012        11:01:28
85024      9549345294      12/29/2011       18:54:20
85025      9549347796      2/10/2012        7:07:49
85026      9549348020      10/6/2011        16:20:33
85027      9549348020      5/5/2012         8:37:27
85028      9549371014      11/23/2011       14:35:44
85029      9549373348      4/13/2012        20:38:21
85030      9549377399      9/27/2011        18:31:30
85031      9549378349      9/24/2011        9:30:33
85032      9549408694      3/30/2012        16:12:53
85033      9549408694      10/5/2012        18:16:13
85034      9549408701      6/21/2012        18:42:32
85035      9549715106      8/25/2012        8:20:30
85036      9549930996      4/18/2012        17:48:01
85037      9549930996      5/1/2012         17:33:59
85038      9549930996      8/7/2012         17:48:13
85039      9549932996      11/17/2011       16:21:49
85040      9549933460      11/15/2011       16:13:19
85041      9549934271      12/10/2011       13:04:08
85042      9549935311      10/31/2011       7:27:15
85043      9549935701      12/20/2011       19:28:59
85044      9562003066      6/5/2012         17:58:06
85045      9562008250      3/4/2012         12:42:03
85046      9562009147      6/8/2012         16:56:47
85047      9562009400      9/5/2012         15:27:17
85048      9562032428      1/16/2012        17:34:28
85049      9562034800      3/16/2012        15:52:28
85050      9562049479      10/1/2011        10:42:38
85051      9562055781      1/4/2012         11:23:23
85052      9562060439      4/23/2012        20:41:14
85053      9562065102      10/1/2012        13:49:52
85054      9562068762      2/24/2012        20:54:36
85055      9562071298      2/11/2012        11:16:11
85056      9562073916      11/29/2011       15:57:00
85057      9562075326      10/8/2011        11:31:49
85058      9562075461      12/7/2011        14:09:15
85059      9562076744      11/14/2011       14:40:21
85060      9562078029      5/17/2011        9:44:25
85061      9562078136      4/23/2012        20:50:02
85062      9562078292      8/13/2012        20:51:43
85063      9562081428      10/10/2011       12:50:06
85064      9562120077      11/29/2011       15:36:55
85065      9562127200      10/1/2011        10:40:57
85066      9562194102      9/21/2012        18:58:05
85067      9562195285      3/14/2012        19:34:00
85068      9562196303      2/6/2012         17:18:49
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85069      9562201004      9/12/2011        14:15:02
85070      9562202815      2/6/2012         10:02:22
85071      9562205023      9/26/2012        14:42:29
85072      9562205916      12/27/2011       9:29:42
85073      9562208823      5/11/2012        18:33:58
85074      9562209173      5/17/2012        11:44:01
85075      9562210812      6/27/2011        8:18:06
85076      9562211268      12/26/2011       15:28:49
85077      9562214042      8/19/2011        12:00:53
85078      9562223766      10/13/2011       8:21:09
85079      9562224616      5/11/2012        10:48:32
85080      9562225533      7/9/2012         12:07:26
85081      9562226222      12/29/2011       19:34:41
85082      9562228708      2/11/2012        11:20:05
85083      9562229356      9/28/2011        10:31:29
85084      9562229551      8/20/2012        10:08:51
85085      9562236904      3/8/2012         20:38:48
85086      9562273289      10/3/2011        8:25:05
85087      9562319593      5/20/2012        16:00:43
85088      9562351860      6/6/2011         17:21:45
85089      9562357238      9/20/2011        16:52:12
85090      9562358056      3/17/2012        8:54:58
85091      9562358056      6/7/2012         12:44:16
85092      9562363506      12/21/2011       18:48:51
85093      9562375020      10/25/2012       12:15:42
85094      9562397010      4/19/2012        14:32:35
85095      9562402377      12/20/2011       14:57:48
85096      9562406630      9/13/2012        15:21:25
85097      9562407640      9/17/2011        9:41:59
85098      9562407721      10/24/2012       14:51:17
85099      9562408924      12/30/2011       8:42:35
85100      9562409165      9/10/2012        8:43:34
85101      9562416430      6/21/2012        18:44:06
85102      9562416430      7/2/2012         15:04:44
85103      9562428941      3/17/2012        8:59:54
85104      9562428952      3/16/2012        11:13:37
85105      9562429946      7/2/2011         8:35:55
85106      9562442751      6/23/2012        8:22:52
85107      9562442751      10/1/2012        13:59:42
85108      9562443082      2/6/2012         10:01:52
85109      9562444338      1/23/2012        18:59:39
85110      9562444459      10/23/2012       19:03:05
85111      9562444573      9/8/2012         11:23:09
85112      9562453321      10/10/2011       11:57:37
85113      9562456114      7/16/2013        19:28:37
85114      9562460003      2/3/2012         20:02:13
85115      9562460003      4/9/2012         17:51:44
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85116      9562460660      6/14/2012        20:55:00
85117      9562465404      10/25/2011       16:19:09
85118      9562466048      1/7/2012         9:20:27
85119      9562496441      3/24/2012        10:00:43
85120      9562512169      11/19/2011       9:09:08
85121      9562513373      1/4/2012         20:15:17
85122      9562515241      1/10/2012        18:12:20
85123      9562560532      9/10/2011        9:13:28
85124      9562564620      1/10/2014        13:19:25
85125      9562630295      9/24/2011        9:21:03
85126      9562640465      4/5/2012         14:35:54
85127      9562667031      1/24/2012        17:20:57
85128      9562667310      9/14/2011        16:38:33
85129      9562667697      3/22/2012        8:07:05
85130      9562669006      4/10/2012        20:56:48
85131      9562763271      5/7/2012         8:15:50
85132      9562763271      5/21/2012        8:04:17
85133      9562799960      3/13/2012        14:06:08
85134      9562800681      6/9/2012         15:00:34
85135      9562801971      8/15/2012        12:28:45
85136      9562804446      3/27/2012        14:56:18
85137      9562804902      5/29/2012        10:55:26
85138      9562812332      12/23/2011       15:51:51
85139      9562813369      1/17/2012        20:25:48
85140      9562818407      8/8/2012         16:18:19
85141      9562818803      10/3/2011        8:23:32
85142      9562858190      11/23/2011       14:39:55
85143      9562859011      1/7/2012         9:34:07
85144      9562859190      3/19/2012        17:41:42
85145      9562860337      9/20/2012        8:44:49
85146      9562860509      12/10/2011       13:33:53
85147      9562863246      10/12/2011       12:11:19
85148      9562867131      1/13/2012        12:25:50
85149      9562867705      9/29/2011        15:51:17
85150      9562868650      5/25/2011        17:55:18
85151      9562869042      9/7/2012         15:50:54
85152      9562899102      8/1/2012         11:02:21
85153      9562923517      7/23/2012        13:06:31
85154      9562923665      9/15/2011        8:43:27
85155      9562929824      10/20/2012       16:23:16
85156      9563072042      12/26/2011       20:20:49
85157      9563091259      11/17/2011       14:35:46
85158      9563092399      1/20/2012        14:41:16
85159      9563101784      9/6/2012         12:24:15
85160      9563120245      10/25/2011       16:21:33
85161      9563124338      7/20/2012        8:49:59
85162      9563125663      7/3/2012         13:24:58
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85163      9563126901      2/14/2012        16:41:49
85164      9563130188      5/21/2012        17:46:04
85165      9563136208      1/14/2012        8:23:40
85166      9563141165      3/16/2012        10:05:55
85167      9563142151      12/27/2011       14:21:23
85168      9563144813      9/27/2011        18:38:19
85169      9563146412      1/25/2012        20:28:42
85170      9563147312      3/22/2012        8:01:13
85171      9563147312      4/9/2012         13:33:27
85172      9563147495      10/16/2012       20:26:48
85173      9563193576      4/29/2011        20:24:35
85174      9563195019      3/16/2012        16:08:11
85175      9563195063      1/25/2012        20:35:19
85176      9563195318      9/24/2011        9:09:27
85177      9563196458      2/24/2012        17:29:19
85178      9563198047      11/22/2011       19:37:08
85179      9563198891      5/16/2012        9:27:31
85180      9563214769      4/20/2012        13:47:14
85181      9563241220      11/30/2011       8:06:20
85182      9563242263      4/6/2012         15:54:33
85183      9563242417      8/14/2012        11:50:04
85184      9563242562      8/8/2012         16:12:49
85185      9563244281      10/12/2011       8:32:31
85186      9563245066      12/6/2011        12:52:52
85187      9563245686      4/18/2012        8:10:06
85188      9563252100      11/18/2011       12:29:25
85189      9563252358      4/25/2012        21:36:29
85190      9563253837      1/18/2012        16:41:28
85191      9563265200      5/23/2012        16:30:34
85192      9563303022      1/6/2012         12:46:22
85193      9563304572      10/12/2012       17:09:52
85194      9563305063      12/17/2011       12:10:34
85195      9563305063      1/11/2012        8:50:29
85196      9563307043      3/8/2012         20:44:56
85197      9563307043      5/28/2012        8:54:55
85198      9563307043      6/18/2012        15:14:06
85199      9563309291      4/19/2012        20:17:10
85200      9563330303      10/18/2011       12:23:47
85201      9563330570      3/5/2012         8:08:14
85202      9563330570      7/2/2012         17:06:50
85203      9563336299      4/5/2012         20:09:01
85204      9563337129      2/17/2012        9:32:33
85205      9563338160      10/9/2012        11:43:21
85206      9563338160      10/15/2012       16:23:30
85207      9563338535      4/16/2012        8:09:33
85208      9563338693      4/19/2012        20:22:53
85209      9563349544      9/22/2011        15:20:02
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85210      9563349544      12/5/2011        18:36:15
85211      9563370750      8/9/2012         14:02:09
85212      9563375908      4/9/2012         18:14:58
85213      9563376121      1/18/2012        11:16:54
85214      9563420626      3/3/2012         8:29:25
85215      9563423998      7/13/2011        11:54:15
85216      9563424115      3/4/2012         12:35:54
85217      9563424652      6/7/2012         16:37:59
85218      9563425386      6/10/2011        8:24:43
85219      9563432969      3/11/2012        15:26:27
85220      9563434337      8/28/2012        12:01:49
85221      9563462555      12/7/2011        15:16:52
85222      9563519824      10/1/2011        10:36:02
85223      9563519825      10/10/2011       11:50:20
85224      9563547651      8/25/2012        10:57:18
85225      9563552196      5/31/2012        15:08:15
85226      9563582983      8/29/2012        20:20:57
85227      9563630431      1/3/2012         19:43:17
85228      9563631146      3/16/2012        15:54:29
85229      9563635753      10/24/2011       8:12:53
85230      9563671132      10/25/2012       12:26:08
85231      9563690237      2/28/2012        13:17:14
85232      9563694191      9/21/2012        15:55:25
85233      9563695196      11/30/2011       15:26:43
85234      9563696467      1/30/2012        8:11:28
85235      9563699267      1/4/2012         11:21:05
85236      9563713623      12/12/2011       16:35:44
85237      9563717713      6/11/2012        18:04:08
85238      9563724790      10/15/2012       16:12:07
85239      9563732547      9/5/2012         15:24:27
85240      9563737017      9/11/2012        15:10:20
85241      9563738566      10/20/2012       8:06:12
85242      9563760894      2/3/2012         8:38:51
85243      9563767988      1/11/2012        8:58:39
85244      9563768123      4/2/2012         17:13:20
85245      9563849241      8/31/2012        16:37:08
85246      9564000381      7/2/2012         15:23:49
85247      9564002042      5/7/2012         17:55:01
85248      9564006711      12/18/2011       17:41:50
85249      9564014236      10/8/2011        9:47:49
85250      9564015873      12/17/2011       11:32:23
85251      9564016821      9/16/2011        13:33:04
85252      9564017379      2/24/2011        11:49:46
85253      9564021238      6/14/2012        15:54:14
85254      9564025132      10/3/2012        19:49:14
85255      9564141986      1/6/2012         14:57:41
85256      9564145044      1/24/2012        17:20:03
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85257      9564145981      12/21/2011       19:48:14
85258      9564147534      4/13/2012        13:21:21
85259      9564323354      10/16/2012       8:48:11
85260      9564324080      8/8/2012         16:07:36
85261      9564325037      5/1/2012         17:54:26
85262      9564325259      4/2/2012         9:00:09
85263      9564365737      9/6/2011         12:52:50
85264      9564373695      12/9/2011        8:06:52
85265      9564375108      10/3/2011        8:13:24
85266      9564452265      6/23/2012        15:57:53
85267      9564453442      7/9/2012         19:12:50
85268      9564453442      9/26/2012        15:26:26
85269      9564453915      12/15/2011       8:20:08
85270      9564454065      9/19/2011        8:32:11
85271      9564454314      4/10/2012        16:13:19
85272      9564454446      8/2/2011         17:00:10
85273      9564459566      10/8/2011        11:31:12
85274      9564459979      4/3/2012         16:13:15
85275      9564510132      3/27/2012        14:56:11
85276      9564511812      10/25/2012       12:28:28
85277      9564516088      8/16/2012        19:57:32
85278      9564516292      12/24/2011       8:12:48
85279      9564516807      9/21/2011        19:33:25
85280      9564549205      3/28/2012        10:42:41
85281      9564554215      3/4/2012         12:43:31
85282      9564554745      1/17/2012        20:28:02
85283      9564570771      12/28/2011       8:45:05
85284      9564573580      1/17/2012        9:37:29
85285      9564573668      11/10/2011       8:12:00
85286      9564586500      10/1/2011        9:53:51
85287      9564588042      12/17/2011       11:35:58
85288      9564589673      9/14/2011        16:35:06
85289      9564591302      4/2/2012         9:05:00
85290      9564596942      6/23/2012        8:24:36
85291      9564601008      1/12/2012        14:17:50
85292      9564605400      9/24/2012        13:09:52
85293      9564607718      11/22/2011       18:42:51
85294      9564607772      5/25/2012        17:10:26
85295      9564629644      1/11/2012        8:58:29
85296      9564631956      12/10/2011       12:26:00
85297      9564633304      6/10/2011        8:21:45
85298      9564635604      3/13/2012        18:42:30
85299      9564655790      1/17/2012        9:48:35
85300      9564661297      11/30/2011       15:25:49
85301      9564662905      9/22/2012        9:38:44
85302      9564664363      1/24/2012        17:24:24
85303      9564666285      8/11/2012        9:43:30
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85304      9564669567      7/18/2011        11:07:44
85305      9564679153      8/15/2012        12:27:38
85306      9564720395      9/19/2011        8:29:57
85307      9564720395      12/28/2011       17:59:54
85308      9564721035      4/13/2012        13:22:01
85309      9564726426      2/13/2012        8:11:57
85310      9564727512      10/18/2011       12:18:18
85311      9564739694      5/1/2012         18:13:34
85312      9564757339      10/10/2012       12:56:47
85313      9564837976      6/6/2012         14:54:29
85314      9564890891      5/2/2012         13:28:10
85315      9564891128      1/25/2012        20:37:55
85316      9564896096      3/13/2012        12:50:18
85317      9564909168      8/15/2012        12:26:49
85318      9564918608      8/3/2011         11:36:16
85319      9564930858      3/12/2012        11:30:04
85320      9564987637      2/3/2012         8:31:09
85321      9564996916      3/28/2012        17:09:08
85322      9565000380      2/20/2012        8:55:49
85323      9565005830      2/17/2012        9:34:16
85324      9565026261      9/28/2012        16:38:34
85325      9565080346      3/17/2012        8:53:40
85326      9565084258      3/25/2012        12:02:16
85327      9565086804      9/29/2011        15:22:44
85328      9565086804      10/8/2011        12:00:09
85329      9565154835      11/7/2011        8:06:36
85330      9565178757      6/1/2011         12:10:56
85331      9565324084      9/20/2011        18:16:42
85332      9565326290      12/23/2011       13:15:04
85333      9565326290      1/19/2012        18:40:09
85334      9565326373      12/9/2011        13:25:59
85335      9565326738      3/14/2012        14:10:59
85336      9565327000      11/29/2011       15:41:55
85337      9565327724      8/2/2012         11:45:23
85338      9565328227      3/25/2012        12:05:05
85339      9565331140      6/28/2012        8:03:44
85340      9565337029      8/30/2011        17:29:14
85341      9565337276      11/15/2011       15:33:50
85342      9565337333      12/10/2011       14:46:49
85343      9565339139      9/13/2011        18:02:57
85344      9565339380      5/23/2012        15:16:04
85345      9565341187      12/7/2011        14:54:02
85346      9565341795      1/12/2012        14:19:01
85347      9565342762      12/16/2011       16:23:57
85348      9565344278      5/4/2012         18:13:26
85349      9565344278      5/17/2012        16:41:41
85350      9565344278      5/21/2012        8:04:33
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85351      9565344278      7/19/2012        17:33:30
85352      9565344664      8/11/2011        10:03:08
85353      9565346336      4/10/2012        11:54:37
85354      9565353046      8/2/2012         18:57:25
85355      9565354319      12/23/2011       15:51:46
85356      9565363514      6/1/2012         9:01:52
85357      9565363954      12/26/2011       9:06:26
85358      9565364583      3/13/2012        18:51:35
85359      9565366960      9/15/2012        8:10:11
85360      9565371522      4/5/2012         14:26:45
85361      9565372664      11/18/2011       13:32:21
85362      9565378023      11/27/2011       15:33:50
85363      9565431280      11/25/2011       17:46:42
85364      9565431852      8/15/2011        10:21:55
85365      9565431852      9/22/2011        16:08:42
85366      9565436788      9/20/2012        20:59:15
85367      9565458277      10/20/2011       15:51:48
85368      9565459886      9/28/2012        9:07:04
85369      9565470353      6/16/2012        8:52:35
85370      9565512671      12/1/2011        15:08:10
85371      9565513359      11/30/2011       8:06:57
85372      9565600972      11/8/2011        14:36:54
85373      9565603423      2/29/2012        17:51:04
85374      9565604839      9/5/2012         15:25:43
85375      9565607205      6/22/2012        8:09:14
85376      9565610242      4/11/2012        13:17:53
85377      9565620126      2/6/2012         17:16:40
85378      9565621481      1/2/2012         8:11:51
85379      9565625310      4/20/2012        14:08:06
85380      9565625310      5/25/2012        17:03:13
85381      9565628741      9/8/2011         18:02:41
85382      9565630676      10/21/2011       13:27:19
85383      9565632320      9/27/2012        8:34:17
85384      9565635621      10/22/2011       13:08:08
85385      9565637493      8/8/2011         15:34:14
85386      9565638160      9/27/2012        16:31:53
85387      9565641545      1/20/2012        15:03:05
85388      9565663868      5/4/2012         20:55:22
85389      9565663870      8/25/2012        10:57:22
85390      9565691190      10/7/2011        8:04:58
85391      9565691621      3/21/2012        8:09:18
85392      9565692441      11/25/2011       18:29:46
85393      9565693015      2/7/2012         20:20:43
85394      9565695249      1/6/2012         12:18:16
85395      9565696993      9/9/2011         17:52:13
85396      9565698719      5/14/2012        15:46:24
85397      9565698719      6/14/2012        16:19:58
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85398      9565702541      1/8/2012         13:16:26
85399      9565703029      12/12/2011       16:37:59
85400      9565704280      12/20/2011       9:20:38
85401      9565723024      10/8/2011        9:44:11
85402      9565736154      9/24/2012        18:54:09
85403      9565773689      3/23/2012        14:27:05
85404      9565791515      7/13/2012        11:36:35
85405      9565791858      11/15/2011       15:33:27
85406      9565794485      3/9/2012         9:16:12
85407      9565794600      6/5/2012         17:53:47
85408      9565889871      6/15/2011        11:23:35
85409      9565893057      10/9/2012        20:01:33
85410      9565895749      3/13/2012        12:42:23
85411      9565895749      3/23/2012        14:26:42
85412      9565896473      10/2/2012        8:40:53
85413      9565896634      12/16/2011       16:19:43
85414      9565899758      10/5/2012        18:25:58
85415      9565899934      9/29/2012        10:05:03
85416      9565901858      1/6/2012         12:49:30
85417      9565927263      10/21/2011       13:28:15
85418      9565928980      4/21/2012        8:12:41
85419      9565929175      10/29/2011       11:41:26
85420      9565997965      9/12/2012        15:11:28
85421      9566073375      10/24/2012       15:16:54
85422      9566077074      10/10/2011       11:53:55
85423      9566077074      10/22/2011       13:13:21
85424      9566078014      8/7/2012         17:43:08
85425      9566221937      3/19/2012        11:53:30
85426      9566221940      10/17/2011       11:06:04
85427      9566243724      2/14/2012        13:29:00
85428      9566245548      7/21/2012        10:30:55
85429      9566246541      5/5/2012         12:31:26
85430      9566246626      9/14/2011        16:37:37
85431      9566247228      10/13/2011       8:28:55
85432      9566247747      1/27/2012        18:01:59
85433      9566248216      11/18/2011       13:31:57
85434      9566249316      10/7/2011        8:12:09
85435      9566286983      2/29/2012        17:33:05
85436      9566286983      3/24/2012        10:25:47
85437      9566354312      12/5/2011        10:06:22
85438      9566354793      4/18/2012        17:50:38
85439      9566354952      12/16/2011       16:18:24
85440      9566354953      3/14/2012        14:06:31
85441      9566355352      12/6/2011        13:35:58
85442      9566356671      12/23/2011       14:02:31
85443      9566358825      5/8/2012         21:09:34
85444      9566359697      9/4/2012         15:44:27
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85445      9566380012      9/19/2011        19:14:01
85446      9566393420      10/6/2011        17:48:16
85447      9566394174      3/13/2012        16:57:50
85448      9566396035      10/16/2012       20:33:05
85449      9566402040      7/3/2012         13:26:48
85450      9566402062      10/24/2012       14:47:45
85451      9566408349      4/5/2012         14:00:28
85452      9566409396      9/20/2011        20:35:27
85453      9566450412      9/21/2012        18:56:30
85454      9566450431      4/3/2012         20:11:03
85455      9566450496      2/17/2012        18:11:38
85456      9566451224      10/15/2011       9:33:36
85457      9566451640      4/19/2012        20:22:13
85458      9566476497      12/27/2011       14:36:30
85459      9566480079      10/17/2012       18:31:56
85460      9566488595      10/19/2011       12:15:24
85461      9566503104      8/30/2012        17:42:04
85462      9566507633      10/8/2012        8:11:41
85463      9566509880      10/5/2011        14:40:44
85464      9566552825      7/23/2012        15:14:57
85465      9566558942      11/19/2011       9:06:54
85466      9566559475      10/4/2011        13:41:27
85467      9566810385      9/19/2011        19:13:28
85468      9566818358      6/2/2012         13:16:45
85469      9566841680      10/5/2011        14:15:24
85470      9566845053      9/10/2012        8:42:50
85471      9566869485      3/20/2012        17:43:04
85472      9566938044      9/19/2011        8:06:03
85473      9566938662      9/24/2011        9:24:01
85474      9566938662      10/3/2011        8:23:23
85475      9567208028      7/23/2011        14:02:18
85476      9567216013      4/9/2012         17:51:23
85477      9567216876      9/14/2011        10:01:27
85478      9567353168      1/18/2012        10:11:21
85479      9567355515      10/6/2011        16:20:21
85480      9567393591      11/28/2011       11:59:50
85481      9567395049      10/8/2011        11:32:14
85482      9567397381      11/14/2011       17:27:41
85483      9567397381      12/27/2011       14:01:46
85484      9567403341      2/12/2012        15:48:58
85485      9567426778      5/16/2012        16:56:41
85486      9567444046      2/9/2012         20:32:51
85487      9567445024      12/6/2011        14:37:03
85488      9567445545      8/6/2011         9:46:47
85489      9567449929      11/17/2011       14:37:52
85490      9567461474      9/8/2011         19:49:53
85491      9567466701      12/24/2011       8:09:45
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85492      9567467101      7/19/2012        8:32:17
85493      9567544128      12/17/2011       12:09:10
85494      9567544128      4/4/2012         8:17:51
85495      9567549498      6/11/2011        9:24:29
85496      9567559181      2/13/2012        18:44:36
85497      9567560141      1/14/2012        8:22:07
85498      9567564763      9/13/2011        13:37:49
85499      9567567212      9/16/2011        13:01:30
85500      9567569496      1/26/2012        9:57:33
85501      9567580248      7/16/2011        8:31:08
85502      9567632169      2/15/2012        12:56:17
85503      9567634041      12/21/2011       10:19:16
85504      9567639733      7/11/2011        8:19:17
85505      9567710320      3/12/2012        11:07:55
85506      9567710320      3/28/2012        18:14:35
85507      9567711661      9/19/2011        19:14:22
85508      9567712082      12/23/2011       14:19:40
85509      9567713204      9/24/2011        9:25:20
85510      9567713204      10/1/2011        10:48:57
85511      9567714024      12/14/2011       12:58:29
85512      9567715886      2/6/2012         10:11:38
85513      9567716185      3/27/2012        15:51:37
85514      9567717208      12/3/2011        9:20:33
85515      9567717484      3/16/2012        16:30:41
85516      9567740325      3/15/2012        18:57:45
85517      9567741747      10/11/2013       9:37:47
85518      9567742808      3/10/2011        17:46:46
85519      9567743146      12/23/2011       14:22:30
85520      9567744289      11/30/2011       14:55:45
85521      9567745120      5/18/2012        11:44:38
85522      9567745242      4/4/2012         8:10:05
85523      9567745756      3/2/2012         18:50:18
85524      9567748798      2/21/2012        20:50:50
85525      9567748857      1/10/2012        18:05:19
85526      9567749076      11/14/2011       14:45:25
85527      9567750861      11/8/2011        14:29:46
85528      9567751710      10/23/2012       10:32:24
85529      9567752031      2/26/2012        13:28:09
85530      9567752031      3/26/2012        15:00:09
85531      9567752497      4/20/2012        14:07:07
85532      9567753055      12/21/2011       10:16:20
85533      9567753932      8/8/2012         16:07:04
85534      9567754022      7/16/2012        9:34:53
85535      9567755117      5/25/2012        8:25:34
85536      9567758320      5/24/2012        11:51:44
85537      9567767433      8/29/2012        11:18:04
85538      9567783599      6/22/2012        8:54:12
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85539      9567783599      10/22/2012       8:10:58
85540      9567787027      4/9/2012         13:53:21
85541      9567811524      3/16/2012        10:25:58
85542      9567845959      12/3/2011        9:14:21
85543      9567890842      8/17/2011        18:40:09
85544      9567894119      10/10/2011       12:00:36
85545      9567897967      9/3/2012         14:51:39
85546      9567930569      1/17/2012        20:27:02
85547      9567932777      7/12/2012        19:53:02
85548      9567935567      12/28/2011       20:45:06
85549      9567939866      3/22/2012        14:27:29
85550      9568020292      9/8/2011         18:11:16
85551      9568020794      4/9/2012         14:00:37
85552      9568024167      9/13/2011        13:56:04
85553      9568024167      10/10/2011       11:53:35
85554      9568028988      10/8/2011        9:44:33
85555      9568215849      12/9/2011        8:18:23
85556      9568215849      2/21/2012        17:54:55
85557      9568215849      6/8/2012         16:56:18
85558      9568217870      4/14/2012        8:58:46
85559      9568218673      4/21/2012        16:53:10
85560      9568323362      6/9/2012         15:05:25
85561      9568323741      10/16/2012       16:35:52
85562      9568380656      10/15/2012       10:10:33
85563      9568442365      5/5/2011         13:18:27
85564      9568444288      9/14/2011        12:14:33
85565      9568445555      7/9/2012         19:00:19
85566      9568447173      9/27/2012        16:25:11
85567      9568575392      9/24/2011        9:20:00
85568      9568622407      4/18/2012        18:03:44
85569      9568672018      2/28/2012        16:18:44
85570      9568672144      7/21/2012        10:11:06
85571      9568672144      8/16/2012        19:57:57
85572      9568676011      10/6/2011        16:42:01
85573      9568733829      4/13/2012        20:44:56
85574      9568849343      1/5/2012         14:04:50
85575      9568902085      3/23/2012        14:36:00
85576      9568907494      8/29/2012        20:18:34
85577      9568907729      10/22/2012       18:00:01
85578      9568908263      5/7/2011         15:07:01
85579      9568908308      4/25/2012        9:47:53
85580      9568908525      1/17/2012        17:21:48
85581      9569046868      1/18/2012        10:22:49
85582      9569048231      9/23/2011        19:03:24
85583      9569052340      9/3/2012         14:56:11
85584      9569054682      5/11/2012        18:27:52
85585      9569075707      7/9/2012         19:14:28
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85586      9569077321      9/27/2012        8:41:09
85587      9569085440      3/14/2012        19:42:34
85588      9569097472      9/29/2011        15:47:44
85589      9569269477      2/6/2012         17:03:34
85590      9569490144      6/1/2011         12:11:10
85591      9569494801      6/7/2012         18:36:51
85592      9569496069      9/21/2011        19:34:56
85593      9569496730      10/18/2011       12:18:15
85594      9569496730      12/7/2011        13:30:51
85595      9569601914      6/19/2012        8:35:57
85596      9569607635      1/26/2012        10:12:03
85597      9569608361      10/22/2012       18:09:33
85598      9569611498      5/15/2012        19:02:03
85599      9569611718      6/2/2012         13:09:16
85600      9569666596      9/12/2011        14:14:05
85601      9569666844      1/23/2012        18:59:51
85602      9569703883      1/27/2012        18:03:20
85603      9569705708      11/12/2011       9:29:09
85604      9569706554      4/3/2012         18:14:48
85605      9569707497      1/25/2012        9:37:24
85606      9569708128      3/29/2012        11:19:57
85607      9569708128      4/10/2012        16:03:18
85608      9569708128      4/16/2012        15:50:25
85609      9569708128      5/21/2012        8:03:45
85610      9569708128      5/21/2012        8:34:42
85611      9569708896      1/4/2012         11:05:07
85612      9569750603      1/5/2012         14:07:13
85613      9569751227      1/27/2014        13:01:01
85614      9569754272      3/2/2012         9:23:42
85615      9569756262      9/20/2012        20:59:10
85616      9569849712      1/13/2012        8:08:46
85617      9569902511      10/4/2011        13:07:23
85618      9702002577      3/21/2012        13:42:45
85619      9702012334      10/24/2011       14:38:39
85620      9702012334      11/8/2011        14:02:22
85621      9702016561      1/18/2012        16:43:58
85622      9702017454      12/20/2011       17:40:28
85623      9702082035      10/14/2011       13:32:28
85624      9702093569      2/6/2012         10:16:38
85625      9702098938      9/26/2011        9:14:39
85626      9702099405      9/14/2011        21:24:03
85627      9702130361      5/10/2012        21:29:16
85628      9702130615      5/14/2012        15:21:04
85629      9702130615      5/25/2012        17:10:48
85630      9702132022      11/23/2011       10:31:18
85631      9702139124      5/1/2012         9:37:46
85632      9702149532      10/7/2011        9:49:40
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85633      9702152149      8/30/2012        17:38:16
85634      9702186654      3/13/2012        17:09:44
85635      9702187281      7/30/2012        13:25:35
85636      9702219287      1/16/2012        12:09:00
85637      9702226869      9/19/2011        14:54:51
85638      9702311295      3/25/2011        9:08:36
85639      9702311314      3/3/2012         9:04:51
85640      9702324968      9/13/2011        13:48:11
85641      9702341098      3/19/2012        11:48:03
85642      9702341098      5/21/2012        9:01:46
85643      9702341098      5/21/2012        9:03:39
85644      9702341098      5/26/2012        14:26:36
85645      9702371318      9/27/2011        18:49:29
85646      9702502531      2/28/2012        13:19:32
85647      9702602974      10/26/2011       12:44:56
85648      9702746254      10/28/2011       13:59:36
85649      9702746254      11/21/2011       7:18:26
85650      9702754888      11/9/2011        10:21:08
85651      9702756008      9/19/2011        14:37:11
85652      9702819621      9/27/2011        18:52:20
85653      9702865903      10/18/2012       7:06:31
85654      9702901650      12/2/2011        14:29:48
85655      9703008145      6/24/2011        11:33:02
85656      9703012778      1/8/2012         15:27:34
85657      9703024892      9/11/2012        21:06:11
85658      9703080766      11/19/2011       9:13:04
85659      9703080927      7/14/2011        16:50:15
85660      9703081195      12/31/2011       11:52:27
85661      9703083355      3/23/2012        19:40:22
85662      9703083543      11/5/2011        10:25:16
85663      9703084966      7/24/2012        20:33:37
85664      9703085768      3/1/2012         9:04:38
85665      9703086385      3/16/2012        16:46:30
85666      9703087888      9/16/2011        13:06:16
85667      9703089579      1/30/2012        9:04:48
85668      9703105986      5/21/2012        9:04:11
85669      9703107591      11/25/2011       18:26:46
85670      9703109424      11/23/2011       10:33:02
85671      9703109424      1/3/2012         11:20:33
85672      9703137587      5/9/2012         16:13:26
85673      9703138557      12/5/2011        9:49:09
85674      9703140210      9/22/2011        16:15:32
85675      9703140210      10/10/2011       12:00:51
85676      9703145504      3/12/2012        19:31:16
85677      9703190793      8/8/2012         9:07:22
85678      9703190795      3/9/2012         9:19:23
85679      9703193318      8/15/2011        9:04:20
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85680      9703197302      8/6/2011         9:53:27
85681      9703245396      11/16/2011       9:06:37
85682      9703249780      7/12/2012        13:15:55
85683      9703331205      6/26/2012        16:16:21
85684      9703477427      11/22/2011       18:53:52
85685      9703550043      4/23/2012        13:16:34
85686      9703559317      11/14/2011       17:35:28
85687      9703612422      5/21/2012        9:05:47
85688      9703668302      5/7/2012         9:13:06
85689      9703668461      1/16/2012        20:23:23
85690      9703669864      11/18/2011       13:05:40
85691      9703701527      3/5/2012         10:56:58
85692      9703703387      3/20/2012        9:32:19
85693      9703703387      4/30/2012        15:06:41
85694      9703704045      10/3/2012        20:05:59
85695      9703715729      8/9/2011         13:07:50
85696      9703737388      1/19/2012        18:43:22
85697      9703737572      8/3/2011         11:57:35
85698      9703762711      3/22/2012        14:05:57
85699      9703766666      5/25/2012        17:03:48
85700      9703795598      7/17/2012        12:33:04
85701      9703795598      8/8/2012         9:08:12
85702      9703800224      3/26/2012        18:30:49
85703      9703804775      7/10/2012        11:55:08
85704      9703804775      9/26/2012        14:43:07
85705      9703809673      9/19/2011        14:53:31
85706      9703809673      9/24/2011        9:27:24
85707      9703809673      5/21/2012        9:03:36
85708      9703881044      1/18/2012        9:56:36
85709      9703881123      9/11/2012        15:16:13
85710      9703881123      9/14/2012        10:49:56
85711      9703883193      3/14/2012        14:21:39
85712      9703883847      5/29/2012        17:07:41
85713      9703884914      10/22/2012       10:27:00
85714      9703885548      8/16/2011        16:59:44
85715      9703893540      9/27/2011        18:15:08
85716      9703895790      7/2/2011         9:24:47
85717      9703901242      8/13/2012        20:53:56
85718      9703902221      6/18/2012        15:29:12
85719      9703930233      12/29/2011       19:00:01
85720      9703930233      1/20/2012        20:27:49
85721      9703940163      9/27/2011        18:03:16
85722      9703960907      5/26/2012        14:27:02
85723      9704020068      10/4/2011        13:56:41
85724      9704021850      7/12/2012        13:26:31
85725      9704024249      7/14/2011        16:48:02
85726      9704025487      2/14/2012        10:09:10
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85727      9704037527      1/18/2012        10:31:36
85728      9704050154      9/10/2011        9:18:33
85729      9704050154      9/22/2011        16:15:23
85730      9704052150      1/20/2012        19:32:28
85731      9704053439      10/19/2011       8:20:28
85732      9704053832      4/21/2012        16:27:33
85733      9704054099      9/9/2011         18:40:27
85734      9704059940      2/13/2014        14:42:38
85735      9704068066      9/22/2011        16:15:55
85736      9704120888      10/22/2011       12:45:32
85737      9704121710      7/3/2012         12:26:46
85738      9704123831      2/21/2012        20:51:19
85739      9704126292      8/3/2012         12:35:26
85740      9704126674      11/11/2011       20:25:49
85741      9704127728      10/7/2011        9:50:44
85742      9704129297      9/5/2012         15:21:46
85743      9704179094      2/21/2012        20:50:58
85744      9704185077      3/27/2012        11:09:31
85745      9704242134      4/19/2012        20:12:19
85746      9704242134      5/21/2012        9:03:57
85747      9704243618      12/6/2011        13:40:11
85748      9704248112      1/21/2012        9:05:07
85749      9704248112      3/8/2012         9:23:46
85750      9704261024      4/23/2012        13:05:26
85751      9704269531      1/17/2012        18:36:01
85752      9704339804      9/8/2011         18:15:13
85753      9704434013      2/2/2012         16:38:38
85754      9704434013      2/7/2012         20:18:35
85755      9704435538      12/14/2011       17:59:27
85756      9704437353      11/2/2011        14:30:40
85757      9704458116      11/4/2011        9:21:20
85758      9704628155      4/13/2012        13:24:21
85759      9704702526      10/1/2011        10:52:07
85760      9704716479      2/18/2012        8:58:49
85761      9704810122      10/11/2012       11:56:10
85762      9704852668      6/6/2011         17:27:19
85763      9704855198      12/28/2011       20:49:29
85764      9704855198      2/6/2012         17:24:07
85765      9704855326      1/19/2012        18:42:45
85766      9704855342      10/1/2012        13:57:50
85767      9704859162      9/8/2011         18:14:36
85768      9705158006      10/6/2011        16:59:22
85769      9705158284      10/7/2011        9:52:08
85770      9705180288      5/17/2012        11:45:07
85771      9705180288      5/21/2012        9:04:08
85772      9705180643      5/13/2012        18:02:18
85773      9705180996      10/25/2012       12:17:02
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85774      9705182968      10/12/2011       12:15:52
85775      9705187939      8/4/2012         10:17:25
85776      9705293231      3/11/2012        15:59:23
85777      9705315995      12/23/2011       20:46:53
85778      9705316515      11/14/2011       15:05:38
85779      9705316515      2/1/2012         18:42:33
85780      9705340722      9/19/2011        14:52:49
85781      9705341047      4/18/2012        9:08:27
85782      9705391134      9/30/2011        10:24:19
85783      9705450281      10/18/2011       12:32:31
85784      9705450332      1/13/2012        10:46:10
85785      9705451114      9/30/2011        10:07:11
85786      9705459369      1/10/2012        18:13:57
85787      9705603357      8/11/2011        10:23:20
85788      9705608744      12/21/2011       9:55:47
85789      9705682938      10/20/2011       20:58:16
85790      9705701749      10/20/2011       20:55:38
85791      9705703189      2/28/2012        13:20:38
85792      9705703487      3/23/2012        11:06:32
85793      9705710259      11/21/2011       10:35:48
85794      9705710644      10/14/2011       13:31:57
85795      9705761887      12/14/2011       14:47:27
85796      9705800063      9/8/2011         18:14:14
85797      9705800913      10/8/2011        12:11:09
85798      9705804212      7/14/2011        9:38:24
85799      9705805845      4/3/2012         16:03:03
85800      9705806379      6/5/2012         17:59:46
85801      9705807321      10/8/2011        12:09:43
85802      9705809367      10/1/2011        10:04:30
85803      9705811796      1/6/2012         13:08:54
85804      9705814950      10/29/2011       11:01:13
85805      9705820055      7/26/2012        11:56:35
85806      9705897480      3/31/2012        9:41:55
85807      9705908103      10/8/2011        10:12:32
85808      9705938220      12/6/2011        14:33:54
85809      9705961510      10/11/2011       16:30:51
85810      9705961678      1/16/2012        12:09:00
85811      9705964327      8/1/2011         19:45:24
85812      9705965470      1/5/2012         14:08:20
85813      9705969088      8/23/2011        19:24:32
85814      9705990562      2/18/2012        9:13:36
85815      9705992178      11/15/2011       15:48:02
85816      9705992506      4/1/2012         17:33:39
85817      9705992506      4/9/2012         18:19:32
85818      9705994048      11/2/2011        14:21:38
85819      9705995069      9/14/2011        21:30:00
85820      9705995600      8/8/2012         16:08:28
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85821      9705996087      10/4/2011        13:45:29
85822      9705996087      10/18/2011       12:59:37
85823      9705996087      5/17/2012        16:53:50
85824      9705996209      7/13/2012        13:59:47
85825      9705998078      2/9/2012         9:34:19
85826      9705998676      2/21/2012        20:50:48
85827      9705998676      2/28/2012        16:07:55
85828      9705998676      10/8/2012        7:12:08
85829      9705998785      12/22/2011       9:18:33
85830      9705999380      9/6/2012         12:34:32
85831      9705999380      9/11/2012        21:23:54
85832      9706182155      8/7/2012         17:44:59
85833      9706184461      3/23/2012        14:47:16
85834      9706184461      5/21/2012        9:01:43
85835      9706184461      5/21/2012        9:03:53
85836      9706185703      10/10/2011       12:57:01
85837      9706187334      9/19/2011        16:19:12
85838      9706187334      10/5/2011        11:04:54
85839      9706188446      9/15/2011        9:05:39
85840      9706199498      9/19/2012        16:25:39
85841      9706199598      3/2/2012         18:51:50
85842      9706202279      2/6/2012         17:18:56
85843      9706203876      9/19/2012        21:28:35
85844      9706235610      4/19/2012        14:46:28
85845      9706249648      9/19/2012        21:28:36
85846      9706249884      11/22/2011       19:42:06
85847      9706293462      7/12/2011        12:32:18
85848      9706299164      10/7/2011        9:49:45
85849      9706315068      2/9/2012         9:39:20
85850      9706315068      5/2/2012         21:04:06
85851      9706405361      2/9/2012         9:33:51
85852      9706462737      3/25/2012        12:13:02
85853      9706732001      7/22/2012        12:16:21
85854      9706733212      5/10/2011        19:38:35
85855      9706735616      6/11/2012        9:10:51
85856      9706820766      8/6/2012         15:24:32
85857      9706831540      4/30/2012        21:05:18
85858      9706894018      4/21/2012        9:05:53
85859      9706900660      8/1/2011         19:24:07
85860      9706901099      10/8/2011        12:06:38
85861      9706901299      11/16/2011       10:42:01
85862      9706905170      10/18/2011       12:33:42
85863      9706912405      3/7/2012         18:44:55
85864      9706913162      7/16/2012        19:33:40
85865      9706914927      9/20/2011        16:54:24
85866      9706917683      5/18/2012        11:47:29
85867      9706918858      2/17/2012        18:23:27
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85868      9706923958      11/1/2011        11:32:05
85869      9707080002      12/10/2011       13:49:00
85870      9707082240      12/6/2011        14:41:53
85871      9707087990      9/20/2011        20:37:00
85872      9707123481      11/17/2011       16:46:38
85873      9707291397      5/9/2012         21:03:17
85874      9707396684      1/20/2012        14:41:23
85875      9707655075      10/8/2012        20:03:03
85876      9707684380      3/15/2012        19:19:13
85877      9707696426      3/21/2011        11:10:36
85878      9707697597      3/31/2012        9:41:19
85879      9707750443      2/10/2012        20:42:38
85880      9707787905      8/7/2012         20:06:06
85881      9707788310      7/3/2012         12:21:20
85882      9707789295      5/8/2012         17:41:34
85883      9707799276      7/26/2012        12:25:43
85884      9707993613      8/19/2011        12:06:50
85885      9707997722      10/8/2011        12:17:15
85886      9708171025      9/14/2011        21:28:42
85887      9708197974      1/11/2012        16:31:44
85888      9708464569      9/21/2012        16:10:37
85889      9708468588      10/19/2011       13:00:25
85890      9709012004      11/29/2011       15:13:46
85891      9709014676      1/17/2012        9:43:43
85892      9709015364      5/6/2012         18:39:24
85893      9709046304      12/9/2011        13:48:39
85894      9709305029      3/19/2012        19:05:45
85895      9709464927      3/8/2012         9:45:18
85896      9709465951      11/25/2011       17:55:14
85897      9709469163      6/13/2012        9:10:58
85898      9709485661      10/4/2011        13:55:25
85899      9709487645      11/19/2011       9:05:16
85900      9709487814      5/14/2012        15:47:18
85901      9709786195      6/8/2012         12:36:42
85902      9709789732      3/5/2012         11:01:18
85903      9709808996      7/3/2012         19:32:48
85904      9709808996      8/7/2012         10:50:08
85905      9709859989      10/3/2012        9:20:08
85906      9709869992      11/9/2011        9:21:16
85907      9709871647      9/28/2012        9:08:06
85908      9709871647      10/9/2012        20:05:14
85909      9709872789      1/3/2012         10:19:50
85910      9709873988      1/11/2012        9:04:44
85911      9709884178      10/19/2011       16:19:15
85912      9712078847      10/1/2011        10:10:22
85913      9712088033      9/13/2012        15:19:22
85914      9712090215      5/25/2012        17:12:35
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85915      9712090443      1/31/2012        10:13:12
85916      9712122015      7/11/2012        17:24:11
85917      9712175019      2/20/2012        13:59:55
85918      9712190250      7/20/2011        14:04:06
85919      9712226074      6/21/2012        18:54:05
85920      9712228936      11/11/2011       20:28:15
85921      9712262715      7/16/2012        19:26:39
85922      9712262893      7/6/2012         14:44:16
85923      9712263809      2/24/2011        14:38:07
85924      9712271198      9/13/2011        13:45:54
85925      9712275621      9/8/2011         19:56:38
85926      9712352426      5/4/2012         18:14:58
85927      9712370970      4/21/2012        16:50:44
85928      9712370970      5/8/2012         21:08:28
85929      9712378829      6/5/2012         19:46:09
85930      9712379108      1/24/2012        17:09:47
85931      9712379518      7/10/2012        11:55:53
85932      9712379518      8/7/2012         21:55:38
85933      9712379643      12/27/2011       14:42:18
85934      9712396179      12/6/2011        14:44:57
85935      9712399769      4/24/2012        21:05:38
85936      9712401445      4/25/2012        18:36:11
85937      9712401727      11/4/2011        15:34:35
85938      9712402462      12/18/2011       17:24:44
85939      9712403231      6/26/2012        21:15:59
85940      9712409470      1/7/2012         10:20:17
85941      9712414315      10/3/2012        19:50:40
85942      9712419859      11/15/2011       20:11:57
85943      9712708861      5/7/2012         21:40:36
85944      9712750813      7/20/2012        15:02:37
85945      9712754379      1/10/2012        15:39:50
85946      9713223087      9/28/2011        10:39:36
85947      9713380022      6/25/2012        13:57:22
85948      9713380345      9/19/2011        19:22:04
85949      9713380432      6/30/2011        10:35:39
85950      9713381289      3/8/2012         15:42:52
85951      9713381949      10/4/2011        13:58:19
85952      9713403058      9/13/2011        18:10:23
85953      9713444160      4/13/2012        13:26:14
85954      9713447868      12/10/2011       12:36:29
85955      9713881299      3/6/2012         16:07:35
85956      9713881334      11/12/2011       10:06:49
85957      9713881917      9/19/2011        14:50:00
85958      9713881919      10/11/2011       16:38:04
85959      9713882986      11/15/2011       15:53:08
85960      9713883582      10/6/2011        17:08:28
85961      9713885895      2/2/2012         21:01:54
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85962      9713888168      3/2/2012         15:29:35
85963      9713889304      9/15/2011        10:58:47
85964      9714001172      12/18/2011       18:01:10
85965      9714044666      5/24/2012        12:19:23
85966      9714046841      2/10/2012        20:58:40
85967      9714048661      6/14/2012        15:55:23
85968      9715332358      9/3/2012         14:40:00
85969      9715332622      1/28/2014        12:49:57
85970      9715703290      9/1/2011         15:25:41
85971      9715704423      11/11/2011       13:52:00
85972      9715704423      1/20/2012        20:36:32
85973      9716789753      5/16/2012        16:58:27
85974      9718320832      2/11/2012        10:53:57
85975      9718320833      2/21/2012        20:50:50
85976      9722014736      1/17/2012        20:27:56
85977      9722014822      10/11/2011       17:32:18
85978      9722015431      6/7/2012         12:40:42
85979      9722015945      10/18/2011       18:58:40
85980      9722016995      9/8/2011         19:24:02
85981      9722017830      2/17/2012        18:11:03
85982      9722018006      12/12/2011       12:17:44
85983      9722018700      7/30/2012        13:19:16
85984      9722018700      10/23/2012       10:58:10
85985      9722072856      12/17/2011       12:11:20
85986      9722136555      7/14/2012        8:09:32
85987      9722137965      3/28/2012        18:24:08
85988      9722138407      9/20/2011        20:34:16
85989      9722158843      4/12/2012        12:20:34
85990      9722159453      5/11/2012        10:44:53
85991      9722170609      2/3/2012         20:10:52
85992      9722170654      5/8/2012         9:40:27
85993      9722175044      10/15/2012       9:54:40
85994      9722175453      9/22/2011        16:12:07
85995      9722175894      11/9/2011        8:29:10
85996      9722175942      11/7/2011        9:21:03
85997      9722175942      12/21/2011       19:56:48
85998      9722302677      6/16/2012        15:17:15
85999      9722467466      12/29/2011       19:37:19
86000      9722469211      12/16/2011       15:42:53
86001      9722510855      9/10/2011        9:16:47
86002      9722681789      6/27/2012        18:01:12
86003      9722681971      7/15/2011        8:27:52
86004      9722682383      12/3/2011        9:25:31
86005      9722683174      12/28/2011       13:35:50
86006      9722684939      9/26/2011        9:45:58
86007      9722730875      1/25/2012        20:28:27
86008      9722794540      12/23/2011       20:44:17
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86009      9722838428      1/28/2012        9:50:59
86010      9723020840      10/2/2012        8:40:22
86011      9723024360      9/21/2011        11:58:49
86012      9723024731      3/28/2012        18:13:09
86013      9723024774      2/3/2012         20:02:56
86014      9723024820      12/7/2011        14:08:37
86015      9723025216      6/2/2011         11:16:55
86016      9723026306      9/28/2012        16:43:43
86017      9723027005      5/22/2012        11:37:16
86018      9723027005      8/8/2012         16:08:25
86019      9723027896      5/16/2011        12:55:02
86020      9723104208      10/27/2011       15:58:50
86021      9723106193      1/6/2012         14:32:53
86022      9723220424      3/8/2012         20:27:27
86023      9723220916      3/21/2011        10:33:16
86024      9723224979      8/13/2012        20:51:46
86025      9723300930      2/15/2012        11:26:01
86026      9723334519      3/2/2012         18:47:30
86027      9723339974      10/5/2011        14:41:40
86028      9723417643      5/1/2012         17:44:10
86029      9723420976      4/10/2012        15:49:44
86030      9723423884      3/30/2012        16:09:58
86031      9723428051      5/17/2011        10:29:30
86032      9723428812      2/11/2012        10:46:50
86033      9723429531      10/24/2011       8:05:48
86034      9723429797      8/5/2011         18:04:15
86035      9723438727      5/17/2011        9:43:13
86036      9723451164      9/14/2011        16:45:51
86037      9723455164      1/27/2012        17:46:23
86038      9723511560      12/20/2011       19:38:17
86039      9723520030      8/16/2011        17:45:32
86040      9723523494      5/5/2011         13:18:53
86041      9723556099      10/4/2011        13:47:41
86042      9723580027      11/30/2011       8:04:23
86043      9723639105      7/7/2012         10:23:00
86044      9723653261      5/19/2012        9:34:18
86045      9723653261      6/27/2012        17:53:10
86046      9723654322      5/29/2012        17:25:00
86047      9723692579      9/26/2011        9:37:53
86048      9723699541      1/22/2012        12:17:06
86049      9723747270      9/13/2011        13:31:27
86050      9723747692      9/24/2012        19:08:10
86051      9723748348      4/2/2012         17:44:04
86052      9723748348      6/18/2012        15:14:00
86053      9723748391      1/17/2012        9:37:58
86054      9723748391      8/16/2012        19:52:57
86055      9723755028      8/24/2011        11:53:41
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86056      9723756189      10/13/2011       8:26:57
86057      9723756310      12/21/2011       10:07:05
86058      9723757631      9/20/2011        18:25:25
86059      9723886644      2/2/2012         16:39:35
86060      9723886644      2/8/2012         13:02:14
86061      9723981652      10/18/2012       8:05:19
86062      9724002884      12/27/2011       14:36:27
86063      9724002884      1/9/2012         18:13:59
86064      9724008606      2/24/2012        20:56:35
86065      9724009929      5/8/2012         9:50:32
86066      9724085853      12/10/2011       12:17:52
86067      9724088410      5/12/2011        10:13:09
86068      9724151022      3/22/2012        8:06:07
86069      9724151835      12/20/2011       12:03:18
86070      9724154693      10/14/2011       13:25:22
86071      9724154696      1/19/2012        18:14:47
86072      9724157279      10/17/2012       18:36:03
86073      9724157570      4/10/2012        16:19:48
86074      9724646640      4/25/2012        9:45:29
86075      9724648077      11/29/2011       15:36:07
86076      9724670039      4/19/2012        20:16:37
86077      9724801654      3/14/2012        19:37:01
86078      9724801654      3/26/2012        18:30:07
86079      9724802069      1/6/2012         12:19:14
86080      9724802124      3/6/2012         15:50:50
86081      9724802124      7/5/2012         15:34:25
86082      9724802557      11/26/2011       13:30:46
86083      9724802557      3/16/2012        16:36:29
86084      9724802655      11/28/2011       12:19:35
86085      9724804497      12/28/2011       8:43:46
86086      9724804928      12/10/2011       13:27:54
86087      9724814052      10/4/2011        13:21:57
86088      9724890305      10/5/2012        12:38:44
86089      9724893679      9/19/2011        19:13:34
86090      9724894972      1/6/2012         11:50:54
86091      9724895426      9/20/2011        18:28:59
86092      9724899054      5/19/2012        9:28:55
86093      9725050106      10/19/2011       12:22:38
86094      9725050967      7/30/2012        13:37:22
86095      9725133389      10/1/2012        13:51:05
86096      9725133995      1/7/2012         9:20:20
86097      9725136993      11/18/2011       13:32:04
86098      9725142242      8/29/2011        9:19:29
86099      9725229614      6/29/2011        17:40:39
86100      9725230108      9/28/2012        9:09:13
86101      9725231872      9/20/2011        20:47:49
86102      9725236598      6/9/2012         15:00:30
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86103      9725239632      9/8/2011         19:52:17
86104      9725331609      3/14/2012        19:47:14
86105      9725331708      9/24/2012        18:55:13
86106      9725333884      4/4/2012         18:51:14
86107      9725338513      8/6/2012         16:37:43
86108      9725338667      7/9/2012         8:58:13
86109      9725339083      2/11/2012        15:47:00
86110      9725363898      3/6/2012         20:29:18
86111      9725673069      10/7/2011        8:10:18
86112      9725673069      10/22/2011       13:16:13
86113      9725675646      9/12/2011        14:20:14
86114      9725715779      6/17/2011        15:29:09
86115      9725716511      10/25/2011       15:39:55
86116      9725717699      4/10/2012        12:05:36
86117      9726038033      6/19/2012        15:36:30
86118      9726070378      12/21/2011       10:18:29
86119      9726070812      7/19/2012        8:32:43
86120      9726075124      9/13/2011        15:56:27
86121      9726211264      9/22/2012        12:18:49
86122      9726390701      9/26/2011        9:39:15
86123      9726391020      10/8/2011        9:52:42
86124      9726394381      10/8/2011        9:44:57
86125      9726530066      10/13/2011       8:26:35
86126      9726554073      1/8/2012         13:11:29
86127      9726554376      3/13/2012        18:40:29
86128      9726704563      4/21/2012        16:43:16
86129      9726709858      5/4/2012         14:51:15
86130      9726721170      9/23/2011        11:41:54
86131      9726722675      8/1/2012         8:35:36
86132      9726722975      2/17/2012        8:54:42
86133      9726727863      1/30/2012        8:10:54
86134      9726799974      7/23/2012        13:27:31
86135      9726893165      4/11/2012        11:28:05
86136      9726931535      9/3/2012         14:53:55
86137      9726932545      10/7/2011        8:18:03
86138      9726933199      12/26/2011       9:08:57
86139      9726935260      11/14/2011       17:05:18
86140      9726935260      3/6/2012         16:02:50
86141      9726935260      4/19/2012        20:16:08
86142      9726938188      12/10/2011       12:14:50
86143      9726977200      9/20/2011        18:31:44
86144      9726978082      6/4/2012         8:32:50
86145      9727045962      5/11/2012        10:48:25
86146      9727046248      4/11/2012        11:33:49
86147      9727048571      11/29/2011       16:11:29
86148      9727048924      11/7/2011        8:10:30
86149      9727049695      11/23/2011       10:28:08
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86150      9727049843      1/17/2012        18:44:24
86151      9727400260      9/30/2012        15:13:45
86152      9727409151      11/17/2011       14:25:35
86153      9727411752      10/20/2012       16:32:26
86154      9727415471      2/6/2012         17:21:29
86155      9727422527      12/17/2011       12:02:32
86156      9727423550      3/27/2012        10:34:59
86157      9727428128      4/4/2012         18:38:49
86158      9727429972      7/6/2012         16:53:10
86159      9727437407      11/7/2011        9:33:30
86160      9727463804      9/17/2011        10:02:11
86161      9727469887      11/1/2011        8:39:44
86162      9727481428      10/7/2012        13:00:30
86163      9727481627      3/16/2012        10:03:45
86164      9727483477      12/1/2011        8:17:02
86165      9727484078      3/23/2012        20:09:16
86166      9727487565      3/14/2012        19:59:21
86167      9727487633      10/24/2012       14:47:58
86168      9727540332      11/18/2011       13:24:38
86169      9727544728      9/19/2011        19:14:20
86170      9727544895      3/19/2012        19:20:07
86171      9727545133      4/11/2012        20:38:04
86172      9727572327      8/29/2012        11:12:32
86173      9727620954      2/19/2012        21:15:30
86174      9727620954      6/6/2012         14:31:02
86175      9727622596      2/2/2012         10:55:22
86176      9727626845      3/8/2012         20:26:25
86177      9727626845      3/20/2012        9:16:01
86178      9727626845      10/5/2012        18:32:24
86179      9727627725      5/1/2012         8:11:33
86180      9727628315      8/31/2012        16:29:29
86181      9727653035      9/17/2011        10:23:03
86182      9727653035      10/14/2011       13:21:40
86183      9727680719      11/14/2011       15:06:49
86184      9727685911      3/12/2012        19:09:33
86185      9727861010      5/18/2012        12:09:53
86186      9727865527      1/9/2012         18:39:59
86187      9727933958      11/28/2011       11:21:36
86188      9727955785      2/20/2012        17:13:22
86189      9728017248      4/22/2012        15:26:46
86190      9728018123      11/30/2011       8:16:02
86191      9728018211      12/21/2011       9:55:58
86192      9728018211      1/9/2012         18:38:57
86193      9728042696      7/29/2013        18:26:56
86194      9728043075      10/11/2012       18:36:54
86195      9728048025      9/21/2011        11:41:26
86196      9728053112      8/20/2012        18:38:20
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86197      9728056665      1/14/2012        13:22:58
86198      9728056884      9/22/2011        15:23:35
86199      9728056897      12/10/2011       14:44:44
86200      9728056900      2/24/2012        20:54:24
86201      9728056900      6/28/2012        17:42:22
86202      9728140819      1/23/2012        19:15:14
86203      9728142521      10/14/2011       13:24:08
86204      9728144255      12/15/2011       8:22:30
86205      9728145249      7/28/2012        9:03:40
86206      9728157178      3/13/2012        18:40:42
86207      9728157788      1/5/2012         12:03:18
86208      9728159199      1/10/2012        15:17:22
86209      9728162801      11/8/2011        14:30:15
86210      9728166794      12/29/2011       18:27:04
86211      9728166794      6/2/2012         13:05:33
86212      9728168483      11/21/2011       8:39:55
86213      9728213796      9/19/2011        19:34:17
86214      9728219616      11/19/2011       9:13:18
86215      9728226462      2/7/2012         20:23:35
86216      9728242995      12/1/2011        8:02:48
86217      9728244345      3/12/2012        19:38:33
86218      9728245945      12/30/2011       17:12:46
86219      9728247645      9/26/2011        9:33:44
86220      9728247645      10/19/2011       12:10:45
86221      9728249437      2/17/2012        18:22:44
86222      9728251017      11/28/2011       16:58:02
86223      9728251174      3/30/2012        10:01:09
86224      9728259136      11/25/2011       17:23:27
86225      9728259436      12/10/2011       13:39:46
86226      9728291591      8/25/2012        10:54:19
86227      9728321583      1/25/2012        9:23:25
86228      9728325828      12/29/2011       10:05:06
86229      9728325828      3/2/2012         18:55:14
86230      9728327408      5/23/2012        15:19:07
86231      9728329099      10/18/2011       13:02:52
86232      9728340077      2/16/2012        8:40:09
86233      9728350102      5/1/2012         17:43:43
86234      9728356781      9/28/2011        10:36:25
86235      9728357866      11/29/2011       15:08:13
86236      9728362347      11/8/2011        14:35:28
86237      9728364188      9/18/2012        14:26:32
86238      9728364699      9/20/2011        18:19:02
86239      9728385176      6/19/2012        15:44:46
86240      9728387230      10/1/2011        9:57:16
86241      9728388143      7/28/2012        8:38:00
86242      9728391015      10/1/2011        10:50:20
86243      9728492286      1/17/2012        18:45:38
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86244      9728492851      4/11/2012        19:37:25
86245      9728497630      9/14/2011        10:36:58
86246      9728542140      12/3/2011        9:16:23
86247      9728710342      5/11/2012        10:39:09
86248      9728771742      11/1/2011        8:15:10
86249      9728775069      9/26/2011        9:37:58
86250      9728804236      8/28/2012        11:53:33
86251      9728809234      10/24/2011       8:05:45
86252      9728907717      9/8/2011         17:59:30
86253      9728908399      1/19/2012        8:26:29
86254      9728910136      12/21/2011       10:22:45
86255      9728912653      2/10/2012        9:25:48
86256      9728914950      12/12/2011       12:22:41
86257      9728962268      1/18/2012        9:52:55
86258      9728964189      10/10/2011       12:49:02
86259      9728965624      8/9/2012         14:16:38
86260      9728970496      12/21/2011       19:53:40
86261      9728971637      6/27/2012        18:05:33
86262      9728971637      9/2/2012         11:54:44
86263      9728971785      11/11/2011       13:13:41
86264      9728983541      6/28/2012        8:06:45
86265      9728985827      3/17/2012        10:58:56
86266      9729001234      10/17/2011       8:38:28
86267      9729001571      4/12/2012        12:31:27
86268      9729001643      3/8/2012         20:32:37
86269      9729001643      5/4/2012         20:54:04
86270      9729007037      6/10/2011        8:21:21
86271      9729007431      1/10/2012        11:42:52
86272      9729040707      10/14/2011       13:21:43
86273      9729161174      12/17/2011       11:38:44
86274      9729161897      1/19/2012        8:28:48
86275      9729210590      10/6/2011        16:50:52
86276      9729212193      10/6/2011        16:38:20
86277      9729212454      10/14/2011       13:28:52
86278      9729212555      10/14/2011       12:58:21
86279      9729213246      5/10/2011        19:32:23
86280      9729214559      2/26/2012        13:15:17
86281      9729215595      10/2/2012        8:35:48
86282      9729221907      10/3/2011        8:17:44
86283      9729221907      2/15/2012        12:51:30
86284      9729226124      10/8/2011        12:01:05
86285      9729228382      3/14/2012        14:17:52
86286      9729352108      6/1/2011         12:07:54
86287      9729483957      3/11/2011        16:53:23
86288      9729510032      9/18/2012        14:17:52
86289      9729536494      7/16/2012        19:50:30
86290      9729553439      9/29/2011        15:16:07
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86291      9729553596      10/21/2011       13:22:34
86292      9729556572      4/23/2012        20:46:55
86293      9729630787      5/21/2012        17:42:25
86294      9729650026      10/23/2012       16:09:58
86295      9729655307      4/29/2012        17:40:44
86296      9729658309      11/14/2011       14:54:40
86297      9729658562      9/13/2011        13:48:47
86298      9729659413      7/21/2011        14:13:29
86299      9729711879      11/7/2011        9:34:31
86300      9729718176      1/7/2012         8:36:24
86301      9729740371      12/17/2011       11:39:00
86302      9729740554      10/9/2012        20:01:02
86303      9729747324      4/13/2012        20:39:22
86304      9729770250      6/19/2012        15:43:30
86305      9729772580      2/24/2011        12:04:42
86306      9729774573      7/20/2012        8:52:19
86307      9729774800      9/20/2011        16:45:09
86308      9729775197      6/5/2012         17:56:42
86309      9729776792      10/28/2011       14:17:32
86310      9729776792      12/21/2011       9:55:48
86311      9729780714      1/3/2012         11:06:12
86312      9729781621      5/16/2012        16:55:57
86313      9729785324      10/21/2011       12:45:45
86314      9729786953      10/13/2011       8:39:43
86315      9729788894      11/11/2011       13:45:16
86316      9729788894      1/3/2012         11:05:12
86317      9729849216      3/23/2012        19:57:58
86318      9729894217      1/20/2012        20:33:55
86319      9729896672      12/7/2011        17:57:49
86320      9729898856      10/21/2011       13:33:44
86321      9729975055      10/20/2011       16:29:22
86322      9729980363      12/29/2011       19:27:29
86323      9729982420      12/26/2011       20:07:43
86324      9729987595      10/5/2012        18:25:26
86325      9729989235      3/14/2012        14:17:09
86326      9729989235      5/21/2012        8:16:59
86327      9729993472      11/22/2011       19:35:09
86328      9729993755      8/24/2012        11:01:06
86329      9732040329      2/17/2012        9:02:20
86330      9732041027      6/27/2012        17:56:44
86331      9732042371      1/19/2012        18:37:43
86332      9732042927      3/23/2012        19:09:47
86333      9732048021      2/8/2012         7:40:25
86334      9732071097      4/30/2012        14:26:43
86335      9732074376      7/20/2012        14:50:27
86336      9732101064      12/29/2011       11:17:40
86337      9732162787      11/29/2011       15:31:48
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86338      9732164678      5/2/2012         13:24:50
86339      9732169733      9/28/2011        10:03:36
86340      9732191450      10/25/2011       16:09:51
86341      9732191496      7/11/2011        7:03:21
86342      9732193609      8/27/2011        11:23:47
86343      9732203283      5/7/2012         7:06:12
86344      9732208528      2/1/2012         8:17:13
86345      9732220011      12/18/2011       16:07:50
86346      9732223500      7/5/2012         7:43:22
86347      9732232394      4/21/2011        8:14:06
86348      9732232394      11/11/2011       7:46:51
86349      9732235954      4/4/2012         18:58:15
86350      9732237401      5/19/2012        16:07:09
86351      9732290561      6/7/2012         14:55:52
86352      9732292511      9/24/2012        12:47:44
86353      9732340440      8/12/2011        9:39:11
86354      9732340611      7/26/2012        19:14:30
86355      9732462368      1/9/2012         18:35:15
86356      9732487317      10/5/2012        18:23:13
86357      9732773083      3/29/2012        16:37:56
86358      9732775432      1/10/2012        15:13:55
86359      9732778403      11/5/2011        9:31:01
86360      9732779653      7/6/2012         14:45:10
86361      9732779765      4/5/2012         14:32:49
86362      9732800244      4/18/2012        7:01:53
86363      9732800662      5/26/2012        8:33:46
86364      9732801171      10/28/2011       13:57:05
86365      9732801278      3/29/2012        17:28:00
86366      9732801783      2/20/2012        17:05:53
86367      9732801819      10/28/2011       13:22:52
86368      9732802523      9/21/2011        19:32:14
86369      9732804039      5/29/2012        7:07:05
86370      9732805280      10/27/2011       16:26:38
86371      9732805655      11/5/2011        9:07:26
86372      9732805927      12/31/2011       12:02:35
86373      9732807497      5/26/2012        14:17:29
86374      9732809897      3/26/2012        7:17:27
86375      9732872926      2/8/2012         7:29:31
86376      9732892833      12/22/2011       7:13:02
86377      9732966565      2/11/2012        15:19:28
86378      9733036496      10/12/2011       7:23:31
86379      9733069110      12/21/2011       11:36:22
86380      9733234384      9/21/2012        18:51:39
86381      9733237514      10/5/2011        14:28:21
86382      9733321868      4/11/2012        7:11:37
86383      9733323540      5/18/2012        15:43:06
86384      9733331779      1/7/2012         8:54:36
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                                   #:13690

86385      9733360461      9/29/2011        15:11:53
86386      9733360461      10/13/2011       7:25:32
86387      9733360652      2/6/2012         17:01:03
86388      9733361268      10/22/2012       17:49:38
86389      9733362398      3/9/2012         7:08:08
86390      9733365111      10/28/2011       13:22:28
86391      9733367156      11/28/2011       11:16:54
86392      9733367597      9/15/2011        7:15:37
86393      9733367597      9/28/2011        10:55:22
86394      9733367938      10/24/2011       7:28:36
86395      9733420408      6/28/2012        14:20:23
86396      9733421393      11/30/2011       14:44:38
86397      9733423030      12/27/2011       14:30:03
86398      9733425591      1/13/2012        17:35:33
86399      9733427695      11/23/2011       14:37:04
86400      9733429769      5/11/2012        12:15:07
86401      9733561868      5/15/2012        19:00:41
86402      9733562299      12/11/2011       12:22:37
86403      9733683527      10/11/2012       7:51:52
86404      9733683527      10/15/2012       16:08:56
86405      9733803378      1/18/2012        10:51:01
86406      9733804835      5/18/2012        11:53:21
86407      9733805921      4/10/2012        16:00:25
86408      9733807220      9/29/2011        15:12:30
86409      9733807337      12/18/2011       17:56:24
86410      9733807466      11/12/2011       9:13:20
86411      9733808444      6/3/2011         7:01:48
86412      9733809766      3/25/2012        11:56:00
86413      9733881831      12/28/2011       7:24:42
86414      9733883255      9/22/2011        15:01:28
86415      9733883734      8/18/2012        8:58:17
86416      9733884113      9/15/2012        8:16:31
86417      9733884216      10/10/2011       11:42:35
86418      9733889644      11/23/2011       14:49:12
86419      9733889996      4/12/2012        14:54:36
86420      9733903955      10/5/2011        14:29:04
86421      9733914224      1/24/2012        17:13:19
86422      9733914842      12/11/2011       12:20:14
86423      9733915106      9/19/2011        19:30:01
86424      9733916529      9/24/2011        9:31:14
86425      9733917276      3/21/2012        7:12:09
86426      9733917433      3/14/2012        7:16:10
86427      9733917877      4/4/2012         18:48:01
86428      9733921031      11/23/2011       9:27:27
86429      9733921177      2/10/2012        7:04:13
86430      9733921223      9/26/2012        15:24:07
86431      9733924416      9/14/2012        7:05:13
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86432      9733924506      3/29/2012        16:39:22
86433      9733926152      12/2/2011        7:35:43
86434      9733930001      10/16/2012       7:27:26
86435      9733930009      12/6/2011        14:30:06
86436      9733931510      11/25/2011       17:33:20
86437      9733932629      10/7/2011        7:17:48
86438      9733933816      12/17/2011       11:58:54
86439      9733934275      8/31/2012        16:26:00
86440      9733935698      7/7/2012         10:02:01
86441      9733938753      3/25/2012        11:52:10
86442      9734053766      11/14/2011       16:52:13
86443      9734054855      10/12/2011       11:54:49
86444      9734057904      8/4/2011         7:42:42
86445      9734058130      1/8/2012         13:08:31
86446      9734058242      12/29/2011       10:59:21
86447      9734058278      5/26/2012        8:25:26
86448      9734058857      11/7/2011        7:27:58
86449      9734130460      11/11/2011       7:55:10
86450      9734137409      10/8/2011        10:37:10
86451      9734139124      6/16/2012        15:20:24
86452      9734157608      9/17/2011        9:26:57
86453      9734180347      8/11/2011        8:18:14
86454      9734182853      9/10/2012        7:32:37
86455      9734184280      7/2/2012         10:33:53
86456      9734186596      10/24/2011       7:23:14
86457      9734201569      1/27/2012        17:57:05
86458      9734204554      12/21/2011       9:48:48
86459      9734235101      10/4/2011        13:45:41
86460      9734247303      8/23/2012        11:46:55
86461      9734247732      6/13/2012        7:08:50
86462      9734321034      9/26/2011        8:15:11
86463      9734321034      10/3/2011        7:42:49
86464      9734324178      10/16/2012       7:30:54
86465      9734329210      12/1/2011        7:48:47
86466      9734425858      9/24/2011        9:41:18
86467      9734443240      8/16/2011        17:38:56
86468      9734444607      1/14/2012        13:20:57
86469      9734446407      5/20/2012        15:34:49
86470      9734446926      10/14/2011       13:15:32
86471      9734446973      3/13/2012        7:04:51
86472      9734449617      9/24/2011        9:08:59
86473      9734451414      2/21/2012        9:39:35
86474      9734455700      1/8/2012         13:03:01
86475      9734458760      3/27/2012        14:59:27
86476      9734459790      11/17/2011       16:45:16
86477      9734601400      5/21/2012        8:47:12
86478      9734602104      2/24/2012        17:14:07
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86479      9734603236      10/22/2012       18:04:18
86480      9734606081      11/25/2011       17:33:23
86481      9734608934      8/31/2012        16:25:47
86482      9734620167      11/17/2011       16:22:55
86483      9734645213      10/11/2011       16:19:22
86484      9734648408      9/22/2011        15:11:20
86485      9734744193      9/13/2011        17:33:03
86486      9734744879      12/29/2011       18:54:17
86487      9734761159      8/20/2012        7:42:46
86488      9734777952      1/6/2012         14:33:15
86489      9734790543      10/8/2011        11:12:59
86490      9734793115      11/17/2011       15:27:31
86491      9734876880      8/11/2011        8:47:42
86492      9734890195      4/6/2012         15:49:21
86493      9734890195      6/21/2012        18:47:05
86494      9734890490      5/29/2012        17:12:41
86495      9734898067      10/1/2011        10:29:13
86496      9734898067      4/20/2012        14:21:49
86497      9735084293      10/4/2011        13:06:24
86498      9735084966      3/14/2012        19:56:21
86499      9735085443      10/21/2011       12:39:52
86500      9735085443      11/8/2011        14:36:06
86501      9735089144      7/20/2012        7:33:56
86502      9735107773      3/15/2012        7:07:57
86503      9735108580      6/11/2012        7:12:18
86504      9735109397      6/18/2012        15:24:11
86505      9735175519      5/12/2012        10:37:36
86506      9735175519      7/3/2012         7:12:22
86507      9735176696      9/9/2011         7:50:14
86508      9735184973      1/12/2012        14:00:20
86509      9735301891      9/11/2012        7:48:30
86510      9735340439      10/11/2011       16:09:15
86511      9735343452      3/9/2012         7:13:03
86512      9735345793      9/30/2011        9:54:53
86513      9735456235      2/16/2012        7:15:32
86514      9735570117      5/17/2011        17:33:26
86515      9735573471      5/17/2012        16:46:42
86516      9735575674      12/21/2011       10:44:46
86517      9735576380      3/12/2012        19:23:12
86518      9735635992      10/13/2011       7:10:04
86519      9735636080      2/29/2012        17:41:59
86520      9735636080      5/21/2012        7:04:10
86521      9735700025      1/19/2012        7:08:39
86522      9735723751      9/19/2011        7:18:23
86523      9735729751      9/28/2012        16:38:41
86524      9735737002      12/19/2011       7:21:14
86525      9735737313      1/23/2012        7:18:53
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86526      9735737313      7/3/2012         7:12:23
86527      9735737399      2/29/2012        7:10:53
86528      9735737665      10/14/2011       13:15:24
86529      9735739252      4/11/2012        10:53:09
86530      9735739505      9/17/2011        9:22:53
86531      9735739539      11/9/2011        8:26:00
86532      9735803184      5/19/2012        9:26:55
86533      9735803184      5/21/2012        7:52:33
86534      9735803184      5/21/2012        7:53:55
86535      9735805195      12/16/2011       15:59:01
86536      9735805877      5/6/2011         15:36:17
86537      9735833188      12/1/2011        8:10:11
86538      9735923950      11/28/2011       17:46:21
86539      9735925070      9/12/2011        13:05:51
86540      9735925100      9/29/2011        15:10:19
86541      9735925173      8/2/2011         18:06:29
86542      9735926078      3/13/2012        7:13:10
86543      9735927344      6/22/2012        7:09:14
86544      9735927452      9/8/2011         19:29:55
86545      9735927612      11/3/2011        17:44:57
86546      9735927844      9/9/2011         7:51:35
86547      9735928041      3/6/2012         15:59:08
86548      9735928315      9/25/2012        15:09:12
86549      9735928443      3/31/2012        8:04:34
86550      9735928500      7/12/2012        15:51:02
86551      9736008325      1/20/2012        19:45:20
86552      9736092488      5/5/2012         8:05:44
86553      9736092488      6/27/2012        17:58:09
86554      9736092861      9/19/2011        19:26:08
86555      9736093472      11/8/2011        14:13:50
86556      9736094231      10/14/2011       12:46:41
86557      9736094545      9/27/2012        16:25:48
86558      9736097527      5/23/2012        15:14:07
86559      9736098160      6/9/2012         10:29:12
86560      9736099139      11/18/2011       13:30:52
86561      9736107455      4/19/2012        7:18:02
86562      9736198990      9/21/2012        15:27:13
86563      9736324712      4/6/2012         16:00:53
86564      9736344813      6/18/2012        7:53:35
86565      9736416635      10/21/2011       14:36:38
86566      9736419496      7/16/2012        19:36:53
86567      9736504344      4/21/2012        16:17:28
86568      9736504670      10/17/2012       18:35:23
86569      9736507703      5/24/2012        12:11:04
86570      9736516340      7/20/2011        13:58:33
86571      9736516482      5/10/2012        14:46:14
86572      9736516531      5/17/2012        7:13:00
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86573      9736517422      5/19/2012        8:06:13
86574      9736520357      12/2/2011        7:42:30
86575      9736521458      10/29/2011       11:23:46
86576      9736526247      12/29/2011       19:16:23
86577      9736531090      12/23/2011       7:11:08
86578      9736536905      1/8/2012         13:07:06
86579      9736537926      10/8/2011        11:20:08
86580      9736538148      11/17/2011       16:42:20
86581      9736538638      8/21/2012        13:49:32
86582      9736665805      2/25/2012        10:53:09
86583      9736682608      11/26/2011       12:33:55
86584      9736683365      5/18/2012        15:44:13
86585      9736687390      5/16/2012        7:07:15
86586      9736688139      4/27/2012        7:07:57
86587      9736705151      10/18/2012       16:48:19
86588      9736870290      1/3/2012         19:42:10
86589      9736877880      5/21/2012        8:41:56
86590      9736894113      8/25/2012        8:33:02
86591      9736984372      5/3/2012         7:03:20
86592      9736991219      11/15/2011       16:19:53
86593      9737046491      11/2/2011        7:10:57
86594      9737049686      9/16/2011        14:08:13
86595      9737049693      7/16/2012        19:36:49
86596      9737149631      10/7/2011        7:11:24
86597      9737154909      2/11/2012        15:28:39
86598      9737156801      7/19/2012        17:30:05
86599      9737158720      7/14/2011        16:03:03
86600      9737159306      12/31/2011       11:43:22
86601      9737188352      9/7/2012         15:49:30
86602      9737222232      7/14/2011        15:45:36
86603      9737225305      9/13/2011        17:29:33
86604      9737231478      3/16/2012        10:22:27
86605      9737238803      1/26/2012        10:24:44
86606      9737257789      5/5/2011         13:09:50
86607      9737522001      6/22/2012        7:07:55
86608      9737522302      10/10/2012       12:46:23
86609      9737578823      9/28/2011        9:14:07
86610      9737579644      10/2/2012        7:33:49
86611      9737601827      9/8/2011         19:46:44
86612      9737653961      10/6/2012        8:48:09
86613      9737674993      9/27/2011        18:28:16
86614      9737676664      10/8/2011        10:58:35
86615      9737676933      3/7/2012         18:36:38
86616      9737680241      11/8/2011        14:24:10
86617      9737695774      12/28/2011       18:14:32
86618      9737696235      10/20/2011       16:15:58
86619      9737766794      7/16/2012        19:32:44
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86620      9737897172      9/12/2012        7:48:49
86621      9737897172      9/26/2012        14:38:48
86622      9738005317      4/6/2012         16:08:44
86623      9738007966      12/8/2011        9:46:48
86624      9738008066      9/24/2012        14:35:51
86625      9738010503      5/19/2012        16:05:29
86626      9738012372      10/1/2012        8:19:59
86627      9738078426      12/10/2011       14:41:51
86628      9738090149      9/8/2011         19:26:02
86629      9738495364      10/25/2011       15:05:16
86630      9738497404      11/27/2011       15:26:52
86631      9738498512      9/10/2011        8:08:55
86632      9738511995      11/18/2011       12:19:19
86633      9738516894      4/5/2012         14:24:59
86634      9738517413      9/26/2012        7:11:31
86635      9738557934      3/28/2012        7:28:13
86636      9738557961      6/29/2012        17:43:57
86637      9738558381      1/23/2012        18:56:57
86638      9738561688      8/15/2011        8:00:31
86639      9738621854      1/18/2012        10:26:24
86640      9738659191      12/30/2013       17:08:47
86641      9738666970      10/15/2011       10:13:31
86642      9738683364      11/7/2011        7:39:26
86643      9738684321      11/12/2011       10:19:15
86644      9738687905      5/21/2012        7:23:08
86645      9738701430      5/18/2012        15:39:25
86646      9738702570      3/10/2011        15:27:20
86647      9738705043      10/13/2011       7:26:13
86648      9738733421      2/3/2012         7:09:52
86649      9738735060      12/20/2011       12:42:50
86650      9738738615      7/23/2012        13:19:31
86651      9738760656      9/20/2011        17:07:22
86652      9738761723      7/20/2011        14:40:57
86653      9738764358      1/20/2012        11:43:39
86654      9738764913      2/6/2012         17:10:06
86655      9738790633      9/27/2011        18:33:33
86656      9738790747      11/29/2011       15:55:24
86657      9738791316      9/10/2012        7:41:00
86658      9738798719      9/24/2012        18:52:15
86659      9738852084      11/30/2011       7:29:05
86660      9738852687      9/20/2011        19:24:07
86661      9738858943      8/4/2011         8:09:36
86662      9738862855      1/9/2012         7:14:09
86663      9738962161      6/20/2012        16:50:53
86664      9738964758      1/31/2012        7:02:31
86665      9738966045      4/1/2012         16:54:31
86666      9739022366      10/1/2012        13:42:39
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86667      9739029932      10/3/2012        19:59:17
86668      9739030224      4/24/2012        18:07:30
86669      9739032419      8/15/2012        7:47:56
86670      9739034377      10/4/2011        13:08:58
86671      9739034377      5/18/2012        15:53:29
86672      9739037582      12/20/2011       19:23:08
86673      9739037582      1/17/2012        18:32:09
86674      9739082466      6/18/2012        15:21:39
86675      9739107074      7/2/2012         17:30:10
86676      9739192334      9/19/2011        7:32:23
86677      9739200014      4/18/2011        19:36:55
86678      9739300140      4/5/2012         7:12:56
86679      9739300140      4/19/2012        7:21:34
86680      9739300329      1/7/2012         9:00:30
86681      9739301586      5/5/2012         8:26:31
86682      9739302962      5/21/2012        7:06:16
86683      9739302962      5/21/2012        7:31:40
86684      9739303881      7/11/2012        19:17:24
86685      9739304275      12/15/2011       7:56:10
86686      9739304842      8/30/2012        17:44:59
86687      9739304957      9/26/2012        14:39:55
86688      9739308977      12/8/2011        10:33:41
86689      9739309103      10/8/2011        9:40:36
86690      9739311996      9/28/2011        9:24:57
86691      9739312711      10/17/2011       8:21:07
86692      9739327665      5/25/2012        12:03:44
86693      9739345031      9/27/2012        16:39:06
86694      9739371805      4/15/2012        16:58:09
86695      9739410155      5/23/2012        15:04:45
86696      9739430081      6/12/2012        7:20:52
86697      9739431629      4/3/2012         18:06:43
86698      9739450527      12/10/2011       14:24:24
86699      9739453078      3/25/2012        11:34:03
86700      9739455595      10/8/2011        10:44:45
86701      9739457932      9/9/2011         7:30:54
86702      9739518500      10/18/2011       12:14:32
86703      9739519169      2/11/2012        15:06:15
86704      9739534636      4/29/2012        16:49:28
86705      9739553804      10/18/2012       7:16:02
86706      9739558914      7/9/2012         19:06:20
86707      9739559513      10/11/2012       7:58:10
86708      9739559845      9/26/2012        7:07:41
86709      9739600644      9/17/2012        7:50:39
86710      9739609734      1/19/2012        7:15:24
86711      9739609811      1/16/2012        7:26:21
86712      9739644077      12/20/2011       15:00:55
86713      9739682484      12/11/2011       12:22:31
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86714      9739689996      3/2/2012         18:40:53
86715      9739784007      11/17/2011       16:42:49
86716      9739808928      9/27/2012        16:25:46
86717      9739851425      6/7/2012         18:28:16
86718      9739852933      9/8/2011         18:41:15
86719      9739862903      7/7/2012         10:15:47
86720      9739866565      11/14/2011       16:55:07
86721      9739866565      4/2/2012         7:03:29
86722      9739866790      3/26/2012        18:41:00
86723      9739868983      8/22/2012        11:10:41
86724      9739875235      12/15/2011       8:28:16
86725      9739875235      1/16/2012        17:22:08
86726      9739914624      9/28/2012        14:18:47
86727      9739918824      1/27/2012        17:58:39
86728      9739970050      3/7/2012         18:30:36
86729      9739973635      1/7/2012         9:06:43
86730      9782013415      1/19/2012        18:34:16
86731      9782040845      5/16/2012        7:01:50
86732      9782043605      9/8/2011         19:28:44
86733      9782089667      4/12/2012        18:11:40
86734      9782101999      2/11/2012        10:58:39
86735      9782104462      12/31/2011       11:56:08
86736      9782230476      3/23/2012        10:53:30
86737      9782233741      10/27/2011       16:17:40
86738      9782233741      11/25/2011       17:24:12
86739      9782237094      8/20/2012        18:37:23
86740      9782274029      3/14/2012        19:26:13
86741      9782276216      12/23/2011       7:01:46
86742      9782276275      2/10/2012        7:11:46
86743      9782309798      3/31/2012        8:00:59
86744      9782309798      6/30/2012        8:11:20
86745      9782350928      6/23/2012        16:11:20
86746      9782358212      10/9/2012        19:57:46
86747      9782394205      9/29/2012        9:42:06
86748      9782571063      2/8/2012         7:26:21
86749      9782708044      6/18/2012        7:58:06
86750      9782778411      5/21/2012        7:58:13
86751      9783046920      11/18/2011       12:36:56
86752      9783049290      12/29/2011       14:05:03
86753      9783050673      7/3/2012         15:59:13
86754      9783178222      4/4/2014         7:04:21
86755      9783190115      12/10/2011       12:39:56
86756      9783195921      9/22/2012        9:20:34
86757      9783251666      5/19/2012        15:52:20
86758      9783278872      7/9/2012         12:07:03
86759      9783279374      4/26/2012        13:52:33
86760      9783282343      7/3/2012         12:58:02
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86761      9783283557      1/3/2012         7:02:02
86762      9783284268      11/25/2011       18:04:23
86763      9783284415      3/7/2012         18:47:01
86764      9783287376      8/3/2011         11:17:53
86765      9783289405      12/28/2011       7:21:46
86766      9783320855      6/23/2012        16:08:52
86767      9783324429      4/12/2012        14:21:18
86768      9783353972      8/30/2012        17:39:35
86769      9783353972      9/20/2012        7:01:46
86770      9783358885      11/11/2011       7:56:01
86771      9783491799      8/29/2012        10:55:55
86772      9783498081      10/10/2012       12:30:56
86773      9783604269      11/17/2011       13:34:27
86774      9783605715      9/21/2011        19:28:21
86775      9783641667      2/17/2012        8:54:40
86776      9783759639      10/12/2011       7:19:34
86777      9783759639      12/5/2011        8:20:36
86778      9783761512      10/29/2011       9:56:49
86779      9783766356      8/18/2012        8:28:08
86780      9783775155      2/9/2012         7:04:16
86781      9783823162      7/11/2012        9:27:09
86782      9783828438      5/2/2012         13:19:08
86783      9783900800      2/2/2012         7:05:51
86784      9783901579      11/19/2011       8:35:17
86785      9783902335      1/13/2012        7:25:01
86786      9783905757      4/12/2012        12:55:05
86787      9783906280      10/12/2011       11:31:00
86788      9783906802      2/22/2012        7:08:23
86789      9783906980      5/3/2012         7:10:34
86790      9783909452      10/18/2012       7:00:52
86791      9783974011      11/3/2011        17:34:59
86792      9783978501      9/26/2011        8:01:12
86793      9783981816      6/27/2011        7:21:53
86794      9783993130      5/11/2012        12:08:18
86795      9784011817      10/20/2012       8:01:07
86796      9784071275      8/31/2012        16:32:58
86797      9784132066      5/16/2012        17:03:46
86798      9784134422      12/28/2011       18:25:18
86799      9784136560      3/7/2012         18:46:56
86800      9784215179      7/9/2012         7:08:33
86801      9784215674      9/16/2011        12:52:26
86802      9784232580      2/18/2012        8:50:52
86803      9784237356      9/21/2011        11:22:24
86804      9784248546      8/13/2012        7:40:42
86805      9784330000      3/28/2012        18:09:07
86806      9784573422      3/15/2012        7:15:54
86807      9784573507      10/8/2011        9:08:14
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86808      9784573709      2/2/2012         7:05:40
86809      9784573734      3/26/2012        18:40:56
86810      9784573734      6/11/2012        18:17:26
86811      9784575426      7/7/2012         10:10:46
86812      9784576479      10/8/2011        9:08:17
86813      9784655100      7/18/2012        18:28:36
86814      9784676246      4/7/2012         9:01:48
86815      9784676306      4/26/2012        7:58:57
86816      9784676692      2/20/2012        16:59:36
86817      9784677154      11/17/2011       16:38:51
86818      9784760550      3/22/2012        7:47:54
86819      9784790917      6/8/2012         16:58:18
86820      9784900549      11/16/2011       8:35:22
86821      9784919127      3/15/2012        19:00:54
86822      9784964268      1/17/2012        18:28:08
86823      9785011943      9/26/2011        8:07:08
86824      9785011943      11/12/2011       9:46:43
86825      9785034040      8/3/2012         16:27:14
86826      9785049133      9/16/2011        15:04:36
86827      9785053064      10/5/2011        13:58:20
86828      9785142331      9/23/2011        11:27:52
86829      9785499312      2/1/2012         8:16:16
86830      9785510414      7/19/2011        17:40:27
86831      9785510414      11/28/2011       11:19:26
86832      9785510658      7/2/2012         17:12:04
86833      9785528065      5/18/2012        11:57:31
86834      9785528065      5/21/2012        7:34:33
86835      9785528934      5/18/2012        15:39:05
86836      9785529106      8/23/2012        19:05:34
86837      9785529760      12/10/2011       11:54:00
86838      9785662346      9/25/2012        14:49:20
86839      9785904142      6/12/2012        7:21:35
86840      9785904939      12/9/2011        14:57:25
86841      9785908550      9/3/2012         14:31:45
86842      9786012003      12/7/2011        14:34:39
86843      9786012544      9/29/2011        15:29:53
86844      9786012985      2/14/2012        16:45:18
86845      9786013716      7/28/2012        8:54:28
86846      9786020806      5/18/2012        15:50:59
86847      9786020806      6/16/2012        15:20:32
86848      9786022302      2/6/2012         17:06:29
86849      9786061232      12/28/2011       7:01:41
86850      9786061232      1/26/2012        7:27:32
86851      9786063219      5/7/2012         17:55:58
86852      9786065062      4/25/2012        9:23:46
86853      9786065642      1/9/2012         18:21:54
86854      9786066026      9/19/2011        7:28:41
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86855      9786066503      11/1/2011        7:55:08
86856      9786090403      11/17/2011       15:02:23
86857      9786188737      8/30/2012        17:36:54
86858      9786480101      10/12/2012       16:34:31
86859      9786481156      5/11/2012        12:09:22
86860      9786528280      11/4/2013        7:04:35
86861      9786605614      7/13/2012        11:08:47
86862      9787013010      9/21/2011        19:28:12
86863      9787023010      5/28/2012        8:37:40
86864      9787281018      5/11/2012        18:40:16
86865      9787282493      6/12/2012        17:03:46
86866      9787292217      9/9/2011         18:05:10
86867      9787292752      3/16/2012        9:54:32
86868      9787292752      5/4/2012         14:15:51
86869      9787580475      11/7/2011        9:17:09
86870      9787588440      10/20/2011       15:30:41
86871      9787610083      11/17/2011       15:01:55
86872      9787641465      8/22/2012        11:08:48
86873      9787647043      9/19/2011        19:10:40
86874      9787666906      11/22/2011       18:23:02
86875      9787713539      7/21/2012        10:34:55
86876      9787713539      7/25/2012        12:02:04
86877      9787715468      10/5/2011        14:38:44
86878      9787715468      10/8/2011        9:16:39
86879      9787903371      6/5/2012         19:45:54
86880      9787909656      2/10/2012        20:37:53
86881      9788040626      3/16/2012        15:46:30
86882      9788041999      9/15/2011        7:11:11
86883      9788044727      5/12/2012        10:37:34
86884      9788045135      6/5/2012         7:04:35
86885      9788045791      2/14/2012        9:43:19
86886      9788045791      6/6/2012         13:54:23
86887      9788070759      9/8/2011         19:39:20
86888      9788071548      9/21/2011        19:28:33
86889      9788076641      9/29/2011        15:04:15
86890      9788083123      6/7/2012         7:08:15
86891      9788089230      5/19/2012        8:17:45
86892      9788097406      1/28/2012        8:03:26
86893      9788100333      9/29/2012        9:45:00
86894      9788151558      3/28/2012        7:23:03
86895      9788282196      1/16/2012        15:53:59
86896      9788282904      4/24/2012        18:07:02
86897      9788285133      10/22/2011       12:28:51
86898      9788285366      11/18/2011       13:21:54
86899      9788330078      1/18/2012        16:39:56
86900      9788338272      9/29/2011        15:29:52
86901      9788361880      9/30/2011        10:11:35
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86902      9788461821      9/12/2012        7:45:55
86903      9788464656      10/15/2011       9:44:48
86904      9788466046      10/15/2011       9:52:36
86905      9788474041      3/1/2012         8:32:11
86906      9788528387      2/6/2012         16:47:13
86907      9788551339      10/8/2011        10:31:56
86908      9788554886      1/3/2012         16:21:31
86909      9788555454      7/31/2012        7:11:29
86910      9788556629      11/26/2011       11:14:59
86911      9788571674      10/7/2011        7:01:41
86912      9788579052      3/12/2012        19:19:45
86913      9788668661      10/31/2011       7:27:49
86914      9788680873      12/26/2011       9:10:40
86915      9788688105      9/29/2012        9:53:26
86916      9788703133      8/11/2011        11:18:45
86917      9788705007      1/10/2012        15:09:41
86918      9788707739      1/5/2012         17:19:27
86919      9788751976      2/21/2012        10:40:24
86920      9788761317      11/3/2011        17:34:17
86921      9788770936      11/23/2011       15:01:34
86922      9788840456      7/2/2012         17:13:33
86923      9788852695      5/16/2012        7:15:22
86924      9788888112      6/7/2012         7:08:04
86925      9788950638      6/25/2012        13:27:18
86926      9788951866      3/14/2012        19:26:23
86927      9788952315      3/20/2012        17:44:29
86928      9789021117      7/18/2012        18:28:14
86929      9789024114      9/21/2011        19:32:34
86930      9789025865      1/5/2012         17:25:30
86931      9789026966      8/2/2012         11:28:21
86932      9789302095      7/14/2012        8:13:17
86933      9789302095      9/8/2012         11:14:34
86934      9789305017      11/28/2011       17:31:52
86935      9789444485      11/23/2011       9:59:13
86936      9789444919      10/7/2011        7:14:14
86937      9789679165      6/23/2012        16:17:42
86938      9789686008      8/6/2012         16:20:54
86939      9789737544      1/7/2012         8:08:27
86940      9789739033      9/15/2011        7:12:27
86941      9789941219      7/13/2012        18:32:12
86942      9789945938      12/2/2011        15:33:30
86943      9789947294      6/8/2012         7:26:57
86944      9789948806      5/11/2012        18:22:56
86945      9789956749      4/4/2012         7:02:17
86946      9789957411      7/19/2012        7:48:58
86947      9792010670      1/13/2012        12:43:08
86948      9792011611      10/12/2011       8:36:27
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86949      9792016378      4/18/2012        17:52:04
86950      9792016768      11/21/2011       8:05:53
86951      9792016768      1/4/2012         11:05:05
86952      9792022369      9/30/2011        10:02:25
86953      9792022955      12/18/2011       17:21:34
86954      9792030532      10/25/2012       12:15:53
86955      9792030678      4/14/2012        9:23:47
86956      9792031572      10/19/2011       12:09:53
86957      9792033298      9/13/2011        13:49:23
86958      9792033298      9/19/2011        19:31:12
86959      9792036705      1/20/2012        20:33:58
86960      9792036705      2/6/2012         17:02:28
86961      9792037286      3/14/2012        19:57:02
86962      9792038866      2/24/2011        14:23:42
86963      9792043387      12/23/2011       14:26:39
86964      9792043680      9/24/2011        9:51:32
86965      9792048358      10/22/2011       13:12:00
86966      9792048908      12/31/2011       12:04:58
86967      9792121155      11/26/2011       13:09:39
86968      9792153222      6/22/2012        8:09:56
86969      9792153574      5/26/2012        14:36:29
86970      9792154077      10/19/2012       10:01:02
86971      9792156724      3/26/2012        19:51:42
86972      9792157569      10/21/2011       13:21:54
86973      9792157708      1/8/2012         13:21:19
86974      9792168346      11/5/2011        11:17:54
86975      9792203636      1/5/2012         14:03:01
86976      9792205777      2/10/2012        17:01:49
86977      9792214843      4/14/2012        9:34:38
86978      9792246510      7/23/2011        11:54:10
86979      9792293303      10/3/2011        8:07:29
86980      9792293787      12/30/2011       16:52:04
86981      9792296082      9/26/2011        9:27:21
86982      9792342354      4/4/2011         14:51:08
86983      9792360627      6/25/2011        8:37:47
86984      9792364117      1/17/2012        9:44:18
86985      9792364623      10/4/2011        13:26:59
86986      9792415214      5/19/2012        8:16:37
86987      9792480828      2/20/2012        17:12:30
86988      9792480828      3/6/2012         13:25:11
86989      9792483053      8/1/2012         8:29:11
86990      9792501022      4/15/2012        15:15:28
86991      9792501022      5/22/2012        16:18:41
86992      9792552992      5/21/2011        10:59:11
86993      9792553801      11/25/2011       17:43:50
86994      9792557488      10/11/2011       17:15:39
86995      9792559594      12/5/2011        9:26:33
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86996      9792559594      7/13/2012        18:34:31
86997      9792559594      7/27/2012        13:55:39
86998      9792575212      10/15/2011       10:50:12
86999      9792579255      3/15/2012        19:09:38
87000      9792925689      10/11/2012       18:43:32
87001      9792926947      12/5/2011        9:39:02
87002      9792929461      10/15/2011       9:33:18
87003      9793186254      9/19/2011        19:13:38
87004      9793190064      11/4/2011        9:00:50
87005      9793196209      12/21/2011       19:48:48
87006      9793196655      5/1/2012         17:26:37
87007      9793199829      6/4/2012         8:42:47
87008      9793207149      2/17/2012        9:14:56
87009      9793240453      9/16/2011        13:29:00
87010      9793246220      2/8/2012         12:51:21
87011      9793247238      12/1/2011        8:01:55
87012      9793247295      1/27/2012        17:46:21
87013      9793306662      11/26/2011       13:21:04
87014      9793320095      2/13/2012        8:06:57
87015      9793320095      5/21/2012        8:02:23
87016      9793320162      6/1/2012         9:00:25
87017      9793323649      12/28/2011       13:22:05
87018      9793374277      9/13/2011        16:22:50
87019      9793588361      9/14/2011        12:08:13
87020      9793737349      5/26/2012        14:23:28
87021      9793883071      4/24/2012        11:59:26
87022      9793883535      11/28/2011       17:54:36
87023      9793885500      8/20/2012        10:09:02
87024      9793885701      2/6/2012         17:18:50
87025      9794021224      8/13/2011        12:07:51
87026      9794023689      5/24/2012        11:50:57
87027      9794023931      9/29/2011        15:20:30
87028      9794024809      11/11/2011       13:43:08
87029      9794025623      9/20/2012        20:58:09
87030      9794026625      10/22/2011       13:09:13
87031      9794027396      9/19/2011        19:14:30
87032      9794029026      3/29/2012        16:33:50
87033      9794029177      11/16/2011       20:05:51
87034      9794060473      6/22/2012        8:09:12
87035      9794171054      6/7/2011         18:05:40
87036      9794173927      2/24/2012        20:49:55
87037      9794174054      12/20/2011       19:25:00
87038      9794177147      2/2/2012         16:33:11
87039      9794177387      9/16/2011        13:27:12
87040      9794179510      12/20/2011       15:03:22
87041      9794179510      1/12/2012        14:05:53
87042      9794183913      3/29/2012        16:33:29
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87043      9794183913      6/26/2012        16:14:20
87044      9794183913      8/31/2012        16:38:02
87045      9794221117      11/21/2011       8:25:26
87046      9794221160      5/15/2012        8:40:30
87047      9794221160      5/21/2012        8:19:25
87048      9794221304      4/18/2012        8:08:15
87049      9794221304      5/21/2012        8:03:42
87050      9794222334      2/24/2012        20:51:32
87051      9794222334      10/8/2012        8:18:09
87052      9794222841      1/25/2012        20:31:28
87053      9794223553      3/4/2012         12:36:20
87054      9794226116      3/16/2012        15:53:47
87055      9794227211      3/27/2012        15:04:44
87056      9794228205      4/5/2012         13:57:11
87057      9794228548      7/18/2012        18:32:03
87058      9794228655      2/21/2012        20:48:32
87059      9794228878      2/17/2012        9:00:26
87060      9794290549      9/12/2011        13:25:52
87061      9794362961      10/22/2011       12:40:45
87062      9794364594      3/15/2012        19:32:49
87063      9794501217      11/5/2011        10:02:48
87064      9794501864      11/30/2011       8:08:10
87065      9794506282      9/29/2011        15:16:52
87066      9794512183      10/20/2011       15:39:42
87067      9794512330      1/14/2012        13:30:56
87068      9794513951      11/4/2011        8:38:42
87069      9794530581      2/3/2012         20:08:18
87070      9794530583      2/15/2012        8:18:43
87071      9794530868      2/3/2012         20:17:46
87072      9794720065      9/13/2011        13:55:40
87073      9794805603      12/5/2011        8:42:46
87074      9794811782      7/29/2011        20:20:19
87075      9794816812      7/27/2011        17:52:36
87076      9794819198      3/7/2012         10:10:40
87077      9794824156      4/10/2012        16:02:54
87078      9794827338      3/27/2012        10:35:58
87079      9794921220      9/19/2011        8:25:08
87080      9794923922      3/30/2012        10:13:07
87081      9794924162      9/12/2011        13:19:27
87082      9794925572      7/31/2012        15:45:26
87083      9794925914      10/19/2011       12:15:31
87084      9794926398      10/14/2011       12:53:28
87085      9794926398      11/14/2011       17:03:48
87086      9795259464      5/17/2012        16:33:57
87087      9795308919      5/25/2012        8:17:14
87088      9795333560      11/4/2011        9:08:53
87089      9795337837      5/11/2012        18:27:56
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87090      9795338966      8/1/2012         20:12:17
87091      9795339226      3/7/2012         18:43:53
87092      9795409631      9/23/2011        11:15:14
87093      9795426169      10/5/2011        14:13:05
87094      9795491198      12/9/2011        8:02:58
87095      9795498007      12/21/2011       18:44:57
87096      9795510777      5/23/2012        14:59:45
87097      9795571315      4/2/2012         17:42:49
87098      9795571685      1/23/2012        19:16:05
87099      9795579404      8/7/2012         18:00:28
87100      9795616133      9/14/2011        11:57:19
87101      9795712401      7/5/2012         10:41:02
87102      9795714523      2/2/2014         11:40:39
87103      9795715100      9/29/2011        15:15:53
87104      9795742252      2/29/2012        17:25:45
87105      9795746833      3/12/2012        11:06:42
87106      9795747417      12/18/2011       16:46:28
87107      9795748412      9/1/2012         9:05:37
87108      9795748458      10/11/2011       17:22:46
87109      9795748458      10/22/2011       12:39:48
87110      9795750207      10/14/2011       13:26:02
87111      9795750339      3/20/2012        17:42:47
87112      9795754240      11/17/2011       13:58:25
87113      9795755707      10/25/2012       12:15:29
87114      9795756167      9/13/2012        15:26:18
87115      9795756434      10/17/2012       9:32:53
87116      9795757382      9/19/2011        8:17:30
87117      9795757949      10/15/2011       10:37:30
87118      9795758923      11/15/2011       15:36:38
87119      9795759151      10/22/2012       18:05:47
87120      9795833931      6/21/2012        18:43:18
87121      9795837245      9/27/2011        18:48:03
87122      9795837332      9/9/2011         17:53:45
87123      9795837832      8/7/2012         17:54:32
87124      9795871638      12/30/2011       12:46:09
87125      9795872145      10/14/2011       13:25:27
87126      9795873382      10/23/2012       16:07:45
87127      9795953614      10/29/2011       11:41:13
87128      9795955956      3/30/2011        10:32:10
87129      9795956069      12/24/2011       12:42:06
87130      9795996080      10/15/2012       9:54:50
87131      9796180520      2/28/2012        13:11:18
87132      9796180660      1/11/2012        8:48:45
87133      9796180758      10/7/2011        8:05:41
87134      9796273098      5/17/2012        16:55:35
87135      9796275518      10/1/2011        10:37:41
87136      9796275670      3/25/2012        12:06:02
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87137      9796278265      10/12/2011       12:10:22
87138      9796377100      11/30/2011       15:24:53
87139      9796450594      12/6/2011        13:03:54
87140      9796450596      7/16/2012        19:51:12
87141      9796610217      3/14/2012        14:07:49
87142      9796610535      4/2/2012         17:33:44
87143      9796611967      10/11/2011       16:21:39
87144      9796611984      9/19/2011        19:15:25
87145      9796616047      7/13/2011        11:10:25
87146      9796651149      11/26/2011       11:40:33
87147      9796651748      11/7/2011        9:27:32
87148      9796651881      4/24/2012        12:09:15
87149      9796652699      10/6/2011        17:44:21
87150      9796655229      7/19/2011        16:49:41
87151      9796655678      5/25/2012        17:11:03
87152      9796761238      9/19/2011        8:05:31
87153      9797020848      7/19/2011        18:00:18
87154      9797091019      4/11/2012        19:31:30
87155      9797092053      10/9/2012        20:00:48
87156      9797092807      9/14/2011        9:49:23
87157      9797093445      10/22/2012       17:51:12
87158      9797094515      2/6/2012         17:00:06
87159      9797160067      11/30/2011       8:02:36
87160      9797161015      3/20/2012        17:41:26
87161      9797324346      10/19/2012       19:11:14
87162      9797327346      7/11/2011        8:22:26
87163      9797332278      11/2/2013        15:45:52
87164      9797394470      11/29/2011       15:43:01
87165      9797397368      2/3/2012         20:17:11
87166      9797398076      11/9/2011        8:17:12
87167      9797398622      6/23/2012        8:48:57
87168      9797581209      11/11/2011       14:36:11
87169      9797584162      3/14/2012        19:33:20
87170      9797772267      12/26/2011       20:23:33
87171      9797933175      1/22/2014        14:09:38
87172      9798202310      10/11/2011       17:23:22
87173      9798204985      10/17/2011       8:13:31
87174      9798240058      6/29/2012        17:45:55
87175      9798241025      11/14/2011       16:54:41
87176      9798241414      10/27/2011       16:41:01
87177      9798241511      9/19/2011        19:15:57
87178      9798246899      5/21/2012        8:13:39
87179      9798246899      5/21/2012        8:16:38
87180      9798484255      3/8/2012         9:14:03
87181      9798487770      10/27/2011       16:02:42
87182      9798647158      4/3/2012         16:11:05
87183      9798647253      2/14/2012        10:07:20
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87184      9798775664      1/17/2012        9:44:17
87185      9798778633      10/6/2011        16:49:51
87186      9798859537      11/23/2011       14:40:57
87187      9799420030      11/7/2011        9:20:05
87188      9799420069      5/5/2012         8:09:15
87189      9799420613      10/28/2011       14:24:15
87190      9799667369      8/10/2012        8:21:37
87191      9799970222      11/12/2011       10:28:52
87192      9799971444      8/24/2012        11:08:13
87193      9799971444      8/25/2012        10:57:00
87194      9799972539      10/17/2011       8:35:10
87195      9799973131      3/15/2012        13:48:21
87196      9799979295      9/29/2011        15:19:15
87197      9802006460      10/15/2011       10:32:53
87198      9802087621      8/2/2012         18:49:55
87199      9802131508      1/27/2012        17:57:59
87200      9802160561      9/10/2011        8:14:46
87201      9802194295      2/28/2012        16:03:29
87202      9802292191      6/5/2012         7:11:29
87203      9802297037      6/16/2012        15:09:55
87204      9802299093      1/27/2012        7:18:20
87205      9802299093      5/21/2012        7:24:33
87206      9802303233      3/21/2012        13:43:17
87207      9802303972      10/5/2012        18:20:00
87208      9802306276      1/14/2012        13:28:09
87209      9802309179      5/6/2012         18:00:48
87210      9802330874      1/25/2012        9:13:25
87211      9802346601      8/20/2011        10:26:43
87212      9802411454      10/29/2011       10:26:28
87213      9802416185      9/23/2011        7:08:49
87214      9802418196      2/14/2012        16:37:39
87215      9802418316      4/4/2012         7:25:58
87216      9802530562      3/15/2012        7:19:10
87217      9802543087      11/18/2011       13:37:05
87218      9802544717      10/7/2011        7:10:08
87219      9802545919      8/8/2012         16:10:53
87220      9802546383      10/23/2012       16:04:38
87221      9802546752      2/10/2012        7:11:42
87222      9802583098      7/9/2012         19:09:34
87223      9802638429      3/29/2012        17:20:25
87224      9802751833      1/24/2012        17:15:12
87225      9802752599      2/6/2012         7:26:29
87226      9802955094      3/15/2012        19:05:43
87227      9802971551      9/29/2011        15:40:30
87228      9803077216      10/24/2012       15:07:01
87229      9803223898      6/21/2012        10:03:56
87230      9803225988      2/25/2012        10:36:47
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87231      9803226004      1/12/2012        7:08:29
87232      9803280783      5/18/2012        15:58:50
87233      9803281082      10/2/2012        7:39:35
87234      9803283893      5/16/2012        16:55:01
87235      9803284287      9/6/2012         13:38:49
87236      9803292658      10/6/2011        17:25:14
87237      9803296742      8/25/2011        17:52:46
87238      9803298668      3/25/2011        8:21:36
87239      9803957103      3/14/2012        7:02:38
87240      9804282932      10/5/2011        13:59:21
87241      9804290955      8/16/2012        19:52:44
87242      9804291195      3/16/2012        16:16:39
87243      9804751964      11/16/2011       11:14:06
87244      9804756441      2/6/2012         16:47:31
87245      9805210568      11/8/2011        13:46:35
87246      9805212647      1/12/2012        7:06:20
87247      9805216368      10/26/2011       11:51:54
87248      9805216368      11/18/2011       12:16:31
87249      9805226879      4/19/2012        7:26:26
87250      9805227621      12/22/2011       8:55:50
87251      9805814723      10/19/2012       19:02:26
87252      9805817899      1/12/2012        14:11:16
87253      9806210278      10/25/2012       12:12:57
87254      9806210292      4/6/2012         15:48:13
87255      9806226377      5/19/2012        8:10:44
87256      9807214392      12/6/2011        7:41:08
87257      9807217221      5/19/2012        8:07:59
87258      9807224975      11/11/2011       7:55:24
87259      9807225817      10/17/2012       18:28:19
87260      9852120360      6/11/2012        17:02:46
87261      9852327635      6/25/2011        8:05:10
87262      9852469579      9/24/2012        13:07:31
87263      9852582091      5/16/2011        13:17:22
87264      9852590644      8/3/2011         11:54:02
87265      9852645239      4/5/2012         14:33:16
87266      9853204609      1/13/2012        17:43:04
87267      9853515329      6/9/2012         15:00:05
87268      9853607829      8/17/2011        19:09:49
87269      9853731259      2/16/2012        8:33:06
87270      9854134150      12/7/2011        17:55:06
87271      9855146761      9/20/2011        18:24:04
87272      9855148825      12/28/2011       20:43:37
87273      9855156577      6/18/2012        15:22:24
87274      9855165489      6/20/2012        17:04:38
87275      9855185550      6/15/2012        16:44:38
87276      9855703404      12/13/2011       17:09:57
87277      9855703494      9/26/2012        14:41:09
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87278      9856379125      10/6/2011        16:35:29
87279      9856404909      11/18/2011       13:30:48
87280      9856659279      8/11/2011        10:08:33
87281      9856883262      6/16/2012        15:30:04
87282      9857103658      7/15/2011        8:18:42
87283      9857140678      9/13/2011        16:12:28
87284      9857880514      12/2/2011        15:24:45
87285      9857885768      4/16/2012        16:05:03
87286      9857885768      5/25/2012        17:02:27
87287      9857886800      4/4/2012         8:14:18
87288      9857893214      6/11/2012        17:03:01
87289      9858590596      8/26/2011        17:42:41
87290      9859816840      6/23/2012        16:26:09
87291      9892054187      11/10/2011       7:24:17
87292      9892056102      12/23/2011       14:31:10
87293      9892056130      9/14/2011        16:07:54
87294      9892057546      5/10/2011        19:11:43
87295      9892138787      5/9/2012         16:11:35
87296      9892139869      3/19/2012        7:10:26
87297      9892254398      1/17/2012        7:19:51
87298      9892330965      3/4/2012         12:33:40
87299      9892333432      9/26/2011        8:42:23
87300      9892361022      3/16/2012        10:11:57
87301      9892399395      4/26/2011        20:02:21
87302      9892464696      10/24/2012       14:55:38
87303      9892523649      11/25/2011       17:30:29
87304      9892540596      6/15/2012        16:42:32
87305      9892541526      12/29/2011       18:46:58
87306      9892543131      9/24/2011        9:11:28
87307      9892548721      10/20/2012       16:19:58
87308      9892557463      6/21/2011        13:54:05
87309      9892558308      12/5/2011        18:21:52
87310      9892749453      8/13/2012        7:46:14
87311      9892771184      1/27/2012        17:45:17
87312      9892775443      10/27/2011       15:16:30
87313      9892800617      9/27/2011        18:04:54
87314      9892846281      7/26/2012        11:53:06
87315      9892867003      9/20/2011        16:31:29
87316      9892867336      2/29/2012        7:07:38
87317      9892867336      3/20/2012        17:46:04
87318      9892867336      5/13/2012        16:59:45
87319      9892867581      12/17/2011       11:40:06
87320      9892880500      10/21/2011       13:21:19
87321      9892939335      11/30/2011       7:12:29
87322      9892950870      10/15/2011       9:50:49
87323      9892953595      9/19/2011        19:06:04
87324      9892955659      9/23/2011        18:41:28
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87325      9893055894      10/20/2011       15:24:20
87326      9893066220      3/21/2012        13:37:42
87327      9893066707      10/9/2012        7:34:52
87328      9893066707      10/19/2012       19:09:45
87329      9893070345      11/16/2011       7:50:13
87330      9893070345      11/19/2011       8:38:45
87331      9893073304      1/8/2012         12:57:01
87332      9893130689      9/21/2011        19:32:08
87333      9893130885      9/10/2011        8:28:56
87334      9893132384      1/6/2012         14:35:22
87335      9893175430      4/11/2012        7:17:21
87336      9893250799      7/28/2011        10:11:21
87337      9893251555      9/24/2011        9:10:41
87338      9893276632      12/5/2011        11:09:27
87339      9893278512      9/21/2011        19:29:17
87340      9893296160      7/19/2011        17:48:26
87341      9893299054      6/8/2012         19:41:56
87342      9893301078      2/20/2012        17:00:03
87343      9893301258      3/24/2012        10:16:53
87344      9893301645      9/16/2011        14:34:06
87345      9893302620      8/30/2011        16:17:42
87346      9893304104      6/15/2012        16:23:42
87347      9893304104      6/27/2012        18:04:57
87348      9893304104      7/9/2012         7:20:11
87349      9893304150      10/11/2011       15:49:03
87350      9893322393      8/24/2013        12:42:47
87351      9893322606      11/12/2011       9:59:14
87352      9893324212      7/9/2012         19:08:04
87353      9893351255      3/22/2012        7:52:43
87354      9893500065      11/17/2011       16:55:49
87355      9893505859      2/28/2014        7:37:19
87356      9893507018      10/18/2011       12:50:53
87357      9893527480      7/16/2012        19:38:21
87358      9893703540      4/11/2012        7:18:48
87359      9893900441      10/9/2012        7:30:52
87360      9893972242      1/18/2012        16:41:40
87361      9893972242      1/31/2012        10:07:32
87362      9893972242      7/3/2012         19:37:09
87363      9893976452      2/11/2012        10:38:03
87364      9893978992      5/16/2012        16:48:40
87365      9894001993      6/15/2012        16:41:42
87366      9894009502      8/1/2012         8:33:34
87367      9894134109      11/28/2011       17:37:33
87368      9894136516      2/13/2012        7:23:52
87369      9894136722      2/1/2012         18:31:02
87370      9894139482      8/2/2011         18:05:32
87371      9894150369      12/17/2011       13:59:51
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87372      9894180266      9/21/2012        18:51:25
87373      9894283009      10/12/2011       11:30:57
87374      9894361640      1/10/2014        13:34:26
87375      9894442477      4/3/2012         10:01:01
87376      9894481030      10/16/2012       7:26:01
87377      9894641056      9/19/2011        7:18:20
87378      9894647061      3/13/2012        18:52:05
87379      9894647061      3/26/2012        18:30:48
87380      9894647113      4/30/2012        14:44:41
87381      9894647459      3/16/2012        16:01:35
87382      9894664780      4/2/2012         16:48:30
87383      9894755029      7/5/2012         15:35:55
87384      9894820317      9/8/2011         19:26:58
87385      9894820565      4/26/2012        8:03:50
87386      9894820906      11/8/2011        14:20:15
87387      9894820906      2/28/2012        13:26:12
87388      9894820961      10/11/2012       12:00:58
87389      9894821759      10/23/2012       16:07:06
87390      9894827767      12/29/2011       18:54:08
87391      9894861632      9/21/2011        11:42:31
87392      9894930967      1/5/2012         17:19:21
87393      9894935075      10/6/2012        8:47:23
87394      9894943402      9/13/2012        7:41:38
87395      9895010034      4/9/2012         18:09:44
87396      9895063390      10/11/2011       16:01:57
87397      9895065010      12/21/2011       18:44:46
87398      9895065472      1/5/2012         13:56:22
87399      9895065472      2/16/2012        7:03:50
87400      9895139652      4/13/2012        13:16:12
87401      9895280922      3/24/2012        9:49:33
87402      9895459467      8/2/2012         18:47:44
87403      9895514067      11/29/2011       16:08:26
87404      9895531809      1/3/2012         19:39:13
87405      9895728034      10/13/2011       7:22:40
87406      9895762020      2/2/2012         20:59:13
87407      9895907030      11/16/2011       8:41:12
87408      9896007238      12/7/2011        17:52:42
87409      9896077344      8/1/2011         19:37:13
87410      9896077344      8/2/2011         16:54:47
87411      9896077960      5/18/2012        16:09:53
87412      9896141688      10/3/2012        7:02:33
87413      9896151330      1/27/2012        17:58:30
87414      9896192636      6/29/2012        9:29:53
87415      9896197070      9/28/2011        10:48:15
87416      9896210721      1/13/2012        17:32:51
87417      9896210721      5/23/2012        16:41:49
87418      9896212707      12/26/2011       8:58:38
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87419      9896216146      10/8/2011        11:04:44
87420      9896216146      12/20/2011       11:52:42
87421      9896219241      5/25/2011        17:14:19
87422      9896271646      8/30/2011        16:22:19
87423      9896307157      10/14/2013       8:12:27
87424      9896312743      10/22/2011       12:24:34
87425      9896319211      1/6/2012         14:48:20
87426      9896319211      1/16/2012        17:24:57
87427      9896319211      6/9/2012         10:28:30
87428      9896407032      11/19/2011       9:00:59
87429      9896570940      12/27/2011       14:27:02
87430      9896662298      12/23/2011       15:29:06
87431      9896662475      1/19/2012        7:39:07
87432      9896668058      8/17/2012        7:02:10
87433      9896702714      8/28/2012        7:28:41
87434      9896832724      4/12/2012        18:31:03
87435      9896832724      6/15/2012        16:33:27
87436      9897010679      3/29/2012        17:29:12
87437      9897088720      8/1/2011         19:06:28
87438      9897088992      10/25/2011       16:01:57
87439      9897106790      12/20/2011       19:20:38
87440      9897144797      10/11/2011       15:11:18
87441      9897144843      9/14/2013        15:31:32
87442      9897172797      12/16/2011       15:31:16
87443      9897216550      1/18/2014        15:25:22
87444      9897217779      10/7/2011        7:20:42
87445      9897451855      3/14/2012        7:06:00
87446      9897455465      12/7/2011        13:20:32
87447      9897511712      10/12/2011       7:58:31
87448      9897637798      9/30/2011        9:50:29
87449      9897639992      4/11/2012        7:11:42
87450      9897800019      9/15/2011        7:46:39
87451      9897976168      3/7/2012         18:37:49
87452      9897986631      9/28/2011        11:04:19
87453      9897986631      10/10/2011       12:25:21
87454      9897986631      3/20/2012        17:37:59
87455      9898083432      2/11/2012        15:27:23
87456      9898206280      10/11/2012       18:39:41
87457      9898206859      3/21/2012        13:36:28
87458      9898209639      7/7/2012         10:11:52
87459      9898345817      5/9/2012         21:06:55
87460      9898541169      12/24/2011       7:28:48
87461      9898544479      7/6/2012         16:56:54
87462      9898600103      8/8/2012         16:12:17
87463      9898606008      5/16/2012        16:47:12
87464      9898606168      12/28/2011       7:31:16
87465      9898630547      9/27/2012        7:30:28
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87466      9898737428      11/22/2011       19:22:17
87467      9898825269      9/26/2012        7:11:28
87468      9898839169      2/21/2012        10:39:54
87469      9898927301      8/8/2012         16:06:50
87470      9899079787      4/4/2012         7:28:09
87471      9899120788      5/3/2012         7:16:22
87472      9899124120      10/22/2012       7:08:04
87473      9899125656      9/10/2012        7:43:28
87474      9899157713      1/19/2012        18:27:18
87475      9899166527      6/11/2011        8:32:45
87476      9899424647      10/14/2011       12:51:18
87477      9899442927      11/28/2011       16:34:22
87478      9899445169      8/3/2011         12:18:36
87479      9899445169      1/19/2012        7:32:46
87480      9899487397      3/15/2012        7:07:43
87481      9899488176      5/1/2012         8:14:08
87482      9899488176      10/19/2012       19:13:17
87483      9899488206      3/6/2012         15:55:11
87484      9899488552      9/8/2012         11:42:37
87485      9899540912      2/1/2012         18:29:45
87486      9899630633      11/15/2011       15:17:01
87487      9899710709      4/13/2012        20:39:18
87488      9899803956      12/29/2011       11:22:55
87489      9899804758      2/21/2012        9:34:57
87490      9899928519      3/22/2012        7:56:42
87491      3146201695      7/11/2011        8:18:16
87492      3146201695      7/15/2011        8:25:40
87493      3146201695      7/19/2011        17:57:20
